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Name                Address1                              Address2                        Address3   Address4               City            State   Zip
HAYES, JAMES T      PO BOX 32                             171 FEHER DR                                                      MONTROSE         MI     48457‐0032
HAYES, JAMES T      620 HUBER DR                                                                                            LIZTON           IN     46149‐9600
HAYES, JAMES T      PO BOX 65                                                                                               LIZTON           IN     46149‐0065
HAYES, JAMES W      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA     23510‐2212
                                                          STREET, SUITE 600
HAYES, JANET K      PO BOX 681043                                                                                           RIVERSIDE       MO      64168‐1043
HAYES, JAY A        7500 BOULDER BLUFF DR APT 10                                                                            JENISON         MI      49428‐8946
HAYES, JAY D        9809 KNOLL CREEK CV                                                                                     FORT WAYNE      IN      46804‐5241
HAYES, JAY D        18613 W VOGEL AVE                                                                                       WADDELL         AZ      85355‐4428
HAYES, JEANETTE     5636 GREER AVE                                                                                          ST LOUIS        MO      63120‐1605
HAYES, JEFF L       1968 TIMBERWOOD CROSSING DR                                                                             FLORISSANT      MO      63031‐7515
HAYES, JEFFREY L    2824 5TH AVE                                                                                            FORT WORTH      TX      76110‐3005
HAYES, JENNIE M     APT 337                               24500 METROPOLITAN PARKWAY                                        CLINTON TWP     MI      48035‐2029
HAYES, JERALD M     207A W OLEANDER ST                    CLUSTER 3 BOX #14                                                 SOUTH PADRE     TX      78597
                                                                                                                            ISLAND
HAYES, JERALD R     11114 BORGMAN AVE                                                                                       BELLEVILLE      MI      48111‐5206
HAYES, JEREMIAH T   705 TERRACE LAKE DR                                                                                     BREA            CA      92821‐2847
HAYES, JERRALL L    2014 LEXINGTON RD                                                                                       PLEASANT HILL   MO      64080‐2000
HAYES, JERRELL L.
HAYES, JERRY        5015 E OUTER DR APT J111                                                                                DETROIT         MI      48234
HAYES, JERRY A      21605 S ORE RD                                                                                          PLEASANT HILL   MO      64080‐9172
HAYES, JERRY C      1837 17TH ST                                                                                            WYANDOTTE       MI      48192‐3623
HAYES, JERRY D      2020 DENSON AVE                                                                                         BEDFORD         IN      47421‐4027
HAYES, JERRY F      1515 18TH ST                                                                                            BEDFORD         IN      47421‐4109
HAYES, JERRY L      2304 SKYLARK DR                                                                                         ARLINGTON       TX      76010‐8112
HAYES, JERRY M      1373 NUTWOOD DR                                                                                         CENTERVILLE     OH      45458‐5109
HAYES, JESSE        120 N EDITH ST APT 202                                                                                  PONTIAC         MI      48342‐2574
HAYES, JESSE J      2169 CEDAR FOREST RD                                                                                    RONDA           NC      28670‐9107
HAYES, JESSIE
HAYES, JEWELL L     8861 E 900 S                                                                                            UPLAND          IN      46989‐9400
HAYES, JIMMEY L     211 RAINBOW DR 11198                                                                                    LIVINGSTON      TX      77399
HAYES, JIMMY D      WILLIAMSON CHE D                      16903 RED OAK DR STE 220                                          HOUSTON         TX      77090‐3916
HAYES, JOAN J       1601 DILL AVE APT 1016                                                                                  LINDEN          NJ      07036‐1776
HAYES, JOAN L       11000 S SUNCOAST BLVD                 SITE 20                                                           HOMOSASSA       FL      34446‐5048
HAYES, JOCIE        354 ROBBIE LN                                                                                           FLINT           MI      48505‐2100
HAYES, JOE D        30102 ANNAPOLIS TER                                                                                     INKSTER         MI      48141‐2856
HAYES, JOE T        8214 CREEKSIDE CIR S                                                                                    CORDOVA         TN      38016‐5116
HAYES, JOHN         BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD      OH      44067
                                                          PROFESSIONAL BLDG
HAYES, JOHN         6213 STATE ROAD 54 W                                                                                    SPRINGVILLE      IN     47462‐5141
HAYES, JOHN A       PO BOX 403                                                                                              OKLAHOMA CITY    OK     73101‐0403
HAYES, JOHN B       MCKENNA & CHIDO                       436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH       PA     15219
                                                          SUITE 500
HAYES, JOHN C       PO BOX 84                                                                                               NEW HOPE         VA     24469‐0084
HAYES, JOHN D       GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                      PITTSBURGH       PA     15219

HAYES, JOHN D       2443 BAYWOOD ST                                                                                         DAYTON          OH      45406‐1408
HAYES, JOHN G       45 MAPLE DR                                                                                             NEWARK          DE      19713‐1078
HAYES, JOHN J       12201 HYTHE ST                                                                                          MORENO VALLEY   CA      92557‐6984
HAYES, JOHN J       325 B HERITAGE VILLAGE                                                                                  SOUTHBURY       CT      06488
HAYES, JOHN L       1601 FORT AVE                                                                                           MUSCLE SHOALS   AL      35661‐1309
HAYES, JOHN M       247 FOREST PARK LN                                                                                      BRANSON         MO      65616‐8186
HAYES, JOHN M       732 RIDGE RD                                                                                            ONTARIO         NY      14519‐9108
HAYES, JOHN R       9852 MARKLEY RD 184                                                                                     LAURA           OH      45337
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Name                  Address1                       Address2              Address3         Address4               City            State   Zip
HAYES, JOHN R         25899 MULBERRY LN                                                                            NOVI             MI     48374‐2350
HAYES, JOHN R         PO BOX 54                                                                                    CARP LAKE        MI     49718
HAYES, JOHN R         PO BOX 1534                                                                                  PIGEON FORGE     TN     37868‐1534
HAYES, JOHN T         4108 SIMMENTAL LN                                                                            LUTTS            TN     38471‐5335
HAYES, JOHN T         12015 E PLEASANT LAKE RD                                                                     MANCHESTER       MI     48158‐8503
HAYES, JOHN W         8865 S 100 E                                                                                 MARKLEVILLE      IN     46056‐9717
HAYES, JOHN W         1241 RUE WILLETTE BLVD                                                                       YPSILANTI        MI     48198‐7555
HAYES, JOHNNIE        3101 HIGHWAY 146 S APT 3128                                                                  LA PORTE         TX     77571‐6504
HAYES, JOHNNIE L      PO BOX 4304                                                                                  KANSAS CITY      KS     66104‐0304
HAYES, JOHNNY M       2284 ALCOVY STATION RD                                                                       COVINGTON        GA     30014‐0736
HAYES, JOHNNY M       PO BOX 5711                                                                                  ALBANY           GA     31706‐5711
HAYES, JOHNNY N       1645 LOTUS AVE SE                                                                            GRAND RAPIDS     MI     49506‐4403
HAYES, JOHNNY R       2374 CLUB HOUSE RD                                                                           MOBILE           AL     36605
HAYES, JOHNNY S       PO BOX 2091                                                                                  POCONO SUMMIT    PA     18346‐2091
HAYES, JOSEPH C       1383 MELBOURNE RD                                                                            VIENNA           OH     44473‐9693
HAYES, JOSEPH G       1711 TREEN ST                                                                                LOGANSPORT       IN     46947‐1122
HAYES, JOSEPH R       8111 POTOMAC                                                                                 CENTER LINE      MI     48015‐1649
HAYES, JOSEPH R       375 DANBURY DR                                                                               CHEEKTOWAGA      NY     14225‐2127
HAYES, JOSEPH T       1914 S HAMLIN AVE                                                                            CHICAGO           IL    60623‐2436
HAYES, JOSEPH W       37972 TRALEE TRL                                                                             NORTHVILLE       MI     48167‐9030
HAYES, JOSEPHUS       16925 SORRENTO ST                                                                            DETROIT          MI     48235‐4260
HAYES, JOYCE          722 PLEASANT SHORES                                                                          GLADWIN          MI     48624‐9467
HAYES, JUDITH K       PO BOX 494                                                                                   CHESAPEAKE       OH     45619‐0494
HAYES, JUDITH M       217 TERRACE ST                                                                               FLUSHING         MI     48433‐2124
HAYES, JUDITH R       2105 N DIXON RD                                                                              KOKOMO           IN     46901‐1731
HAYES, JULIA          2450 KROUSE RD 455                                                                           OWOSSO           MI     48867‐8113
HAYES, JULIA H        124 E RICHARDSON AVE                                                                         LANGHORNE        PA     19047‐2824
HAYES, JULIAN L       7778 ARTHUR STREET                                                                           MASURY           OH     44438‐1510
HAYES, KAMATRICE R    2913 GREEN RIDGE ST                                                                          FORT WORTH       TX     76133‐7245
HAYES, KAREN K        242 GUINEVERE RDG                                                                            CHESHIRE         CT     06410‐1542
HAYES, KAREN M        W9132 COUNTY ROAD C                                                                          CAMBRIDGE        WI     53523
HAYES, KATE L         123‐I ORCHARD APTS.                                                                          CRANBURY         NJ     08512
HAYES, KATHLEEN       3777 LAMTON RD                                                                               DECKER           MI     48426
HAYES, KATHLEEN A     5319 SANDALWOOD CT                                                                           GRAND BLANC      MI     48439‐4270
HAYES, KATHLEEN K     905 GOSHAWK DR                                                                               NORMAN           OK     73072
HAYES, KAY            611 5TH AVE NE                                                                               CONOVER          NC     28613‐1622
HAYES, KAY L          3352 PINE VILLA CT                                                                           GRAND BLANC      MI     48439‐7938
HAYES, KAY LORRAINE   6035 GROVE AVE                                                                               GRAND BLANC      MI     48439‐5045
HAYES, KELLEY J       1624 CAT MOUNTAIN TRL                                                                        KELLER           TX     76248‐6846
HAYES, KELVIN R       77 WILMETTE LN                                                                               YOUNGSTOWN       OH     44505‐4933
HAYES, KELVIN RAY     77 WILMETTE LN                                                                               YOUNGSTOWN       OH     44505‐4933
HAYES, KEN W          2105 N DIXON RD                                                                              KOKOMO           IN     46901‐1731
HAYES, KENNETH R      1821 N CLINTON ST                                                                            SAGINAW          MI     48602‐4822
HAYES, KENNETH R      5821 LONG HWY                                                                                EATON RAPIDS     MI     48827‐8004
HAYES, KENNETH T      2195 LAKE LOUISA RD                                                                          HIAWASSEE        GA     30546‐4324
HAYES, KEON D         15 PARKHURST ST                                                                              PONTIAC          MI     48342‐2629
HAYES, KERRY          4643 NEWBERRY TER                                                                            SAINT LOUIS      MO     63113‐2412
HAYES, KEVIN D        5380 WOODFIELD DR N                                                                          CARMEL           IN     46033‐9154
HAYES, KEVIN E        103 PENNSYLVANIA AVE                                                                         NEW CASTLE       DE     19720‐6426
HAYES, KEVIN P        8309 VASSAR RD                                                                               GRAND BLANC      MI     48439
HAYES, KIM T          9370 M 33                                                                                    ATLANTA          MI     49709‐8990
HAYES, KURTIS L       10301 JIMENEZ ST                                                                             LAKE VIEW TER    CA     91342‐6927
HAYES, LAIFAYETTE     617 W AUSTIN                                                                                 FLINT            MI     48505‐2621
HAYES, LAIFAYETTE     617 W AUSTIN AVE                                                                             FLINT            MI     48505‐2621
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Name                Address1                            Address2                       Address3   Address4               City               State Zip
HAYES, LAMONTE      2019 WEAVER ST                                                                                       DAYTON              OH 45408‐2516
HAYES, LARRY        GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW             MI 48604‐2602
                                                        260
HAYES, LARRY R      1398 PRATT DR                                                                                        LAPEER             MI   48446‐2933
HAYES, LARRY W      11509 E 75TH ST                                                                                      RAYTOWN            MO   64138
HAYES, LATEISHA V   48210 JAMES DR                                                                                       SHELBY TOWNSHIP    MI   48317‐2416
HAYES, LAWRENCE F   9800 S BYRON RD                                                                                      DURAND             MI   48429‐8907
HAYES, LEE A        11550 HYNE RD                                                                                        BRIGHTON           MI   48114‐8103
HAYES, LEE R        4306 MIDWAY AVE                                                                                      DAYTON             OH   45417‐1316
HAYES, LENORA       2246 BRIGHTON AVE                                                                                    KANSAS CITY        MO   64127
HAYES, LENORA       702 THOMAS POINT DR.                                                                                 FORTVILLE          IN   46040
HAYES, LENWOOD L    4740 S SHIELDS AVE                                                                                   CHICAGO            IL   60609‐4529
HAYES, LEO S        304 MARIGOLD CIR                                                                                     WESTLAND           MI   48185‐9633
HAYES, LEOLA E      16363 TROTTER LN                                                                                     LINDEN             MI   48451‐8975
HAYES, LEON A       6938 ALTER RD                                                                                        HUBER HEIGHTS      OH   45424‐3137
HAYES, LEON W       PO BOX 135                                                                                           WINDER             GA   30680‐0135
HAYES, LEONARD J    2717 REVERE AVE                                                                                      DAYTON             OH   45420‐1721
HAYES, LEONARD L    2778 VARSITY DR                                                                                      BEAVERCREEK        OH   45431‐8577
HAYES, LESLIE L     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510‐2212
                                                        STREET, SUITE 600
HAYES, LESTER D     4612 WILLOW COVE BLVD APT B4                                                                         ALLEN PARK         MI   48101‐3238
HAYES, LEWIS R      972 AVANTI WAY                                                                                       NORTH FORT MYERS   FL   33917‐2997

HAYES, LILLIAN E    PO BOX 2113                                                                                          WALNUT CREEK       CA   94595‐0113
HAYES, LILLIAN M    5097 N LINDEN RD                                                                                     FLINT              MI   48504‐1149
HAYES, LINDA D      2517 PINGREE ST                                                                                      DETROIT            MI   48206‐2495
HAYES, LINDA L      3210 MILLERS OAK LANE                                                                                SUGAR LAND         TX   77498‐4875
HAYES, LINDA L      690 OAKWOOD RD                                                                                       ORTONVILLE         MI   48462‐8589
HAYES, LINDA S      26088 FEATHERSOUND DR                                                                                PUNTA GORDA        FL   33955‐4709
HAYES, LINDA S      3608 MANCHESTER RD                                                                                   ANDERSON           IN   46012‐3923
HAYES, LOLA J       4332 BUCHANAN ST                                                                                     GARY               IN   46408
HAYES, LONNIE       6471 SUNSET LN                                                                                       INDIANAPOLIS       IN   46260‐4634
HAYES, LORAINE
HAYES, LORAINE M    19914 WHITCOMB                                                                                       DETROIT            MI   48235‐1837
HAYES, LORENE       2114 S 13TH AVE                                                                                      BROADVIEW          IL   60155‐3132
HAYES, LORN D       2926 SILVERHILL DR                                                                                   WATERFORD          MI   48329‐4424
HAYES, LORRAINE F   120 E MAPLE ST                                                                                       VASSAR             MI   48768‐1325
HAYES, LORRAINE F   120 MAPLE                                                                                            VASSAR             MI   48768‐1325
HAYES, LOTTIE B     306 WATERFORD ROAD                                                                                   BREMEN             GA   30110‐3972
HAYES, LOUIS        3783 MAXWELL ST                                                                                      DETROIT            MI   48214‐1181
HAYES, LOUIS W      31 TOM LEGGETT RD                                                                                    SEMINARY           MS   39479‐9234
HAYES, LYNN C       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510‐2212
                                                        STREET, SUITE 600
HAYES, MABEL        21372 MULBERRY CT                                                                                    FARMINGTON HILLS   MI   48336‐4107

HAYES, MABLE J      5 FLUMET CT                                                                                          FLORISSANT         MO   63034‐2423
HAYES, MACKENZIE    13162 HIGHWAY 38                                                                                     EVARTS             KY   40828‐6341
HAYES, MALCOLM D    6216 LOWRIDGE DR APT 103                                                                             CANAL WINCHESTER   OH   43110‐9458

HAYES, MARCELLA I   2712 WEST TWICKINGHAM DR                                                                             MUNCIE             IN   47302‐8749
HAYES, MARCELLA I   2712 W TWICKINGHAM DR                                                                                MUNCIE             IN   47304‐6515
HAYES, MARCUS S     3225 RAYNELL ST                                                                                      LANSING            MI   48911
HAYES, MARGARET T   308 LAWNDALE ST APT 3                                                                                GRAYLING           MI   49738‐1844
HAYES, MARGARET T   308 LAWNDALE #3                                                                                      GRAYLING           MI   49738‐1844
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Name                      Address1                     Address2              Address3         Address4               City            State   Zip
HAYES, MARIE              268 VEVAY DR E                                                                             MASON            MI     48854‐9234
HAYES, MARIE H            719 SE 18TH ST                                                                             OCALA            FL     34471‐5212
HAYES, MARILYN J          2732 PARKLAWN DR                                                                           DAYTON           OH     45440‐1551
HAYES, MARILYN J          15820 CARLISLE ST                                                                          DETROIT          MI     48205‐1439
HAYES, MARILYN R          4999 NORTON RD                                                                             GROVE CITY       OH     43123‐8801
HAYES, MARK B             11996 KENTUCKY HWY 672                                                                     PRINCETON        KY     42445
HAYES, MARK T             2150 E NORTH UNION RD                                                                      BAY CITY         MI     48706‐9210
HAYES, MARTHA P           28675 FRANKLIN RD #309                                                                     SOUTHFIELD       MI     48034‐1604
HAYES, MARTIN R           PO BOX 9022                  CO GM BANGALORE                                               WARREN           MI     48090‐9022
HAYES, MARVIN C           9824 CADILLAC DR                                                                           LAKE             MI     48632‐8853
HAYES, MARY A             1540 WITTMER RD.                                                                           MANSFIELD        OH     44903‐9431
HAYES, MARY C             14404 WINSTON                                                                              REDFORD          MI     48239‐3374
HAYES, MARY E             38 VAN GORDER                                                                              BUFFALO          NY     14214‐2818
HAYES, MARY E             1616 W AVENUE K10                                                                          LANCASTER        CA     93534‐8824
HAYES, MARY E             38 VAN GORDER ST                                                                           BUFFALO          NY     14214‐2818
HAYES, MARY F             625 ANDERSON ST                                                                            GREENCASTLE      IN     46135‐1833
HAYES, MARY F             625 E ANDERSON                                                                             GREENCASTLE      IN     46135‐1833
HAYES, MARY SUE A         675 MOSSY OAK AVE                                                                          BATON ROUGE      LA     70810‐4850
HAYES, MARY T             2015 TARAMACK RD                                                                           ANDERSON         IN     46011
HAYES, MARY W             2493 ERIE CHURCH RD                                                                        BEDFORD          IN     47421‐7608
HAYES, MATTHEW GERALD     4701 FOREST EDGE DR                                                                        BROOKLYN         OH     44144‐3160
HAYES, MATTIE L           4916 CENTRAL AVE                                                                           ANDERSON         IN     46013‐4837
HAYES, MAURICE L          ROUTE 2 BOX 1679                                                                           WHEATLAND        MO     65779‐9706
HAYES, MAURICE L          RR 2 BOX 1679                                                                              WHEATLAND        MO     65779‐9706
HAYES, MAVIS A            282 CHERRY LANE                                                                            INKSTER          MI     48141‐1499
HAYES, MAX G              2004 S VASSAR RD                                                                           BURTON           MI     48519‐1346
HAYES, MAX L              1533 WISCONSIN AVE                                                                         FLINT            MI     48506‐3572
HAYES, MELISSA D.         1016 COPEMAN BOULEVARD                                                                     FLINT            MI     48504‐7326
HAYES, MELVIN N           6647 INGLEWOOD RD                                                                          HOLLAND          OH     43528‐9578
HAYES, MICHAEL A          6149 COVENTRY DR                                                                           SWARTZ CREEK     MI     48473‐8851
HAYES, MICHAEL A          9931 WALNUT DR APT 103                                                                     KANSAS CITY      MO     64114‐4321
HAYES, MICHAEL C          14455 RIPLEY RD                                                                            LINDEN           MI     48451‐9044
HAYES, MICHAEL D          12620 VASOLD RD                                                                            FREELAND         MI     48623‐9290
HAYES, MICHAEL G          520 6 MILE RD                                                                              WHITMORE LAKE    MI     48189‐9235
HAYES, MICHAEL J          6109 RHONE DR                                                                              CHARLOTTE        NC     28226‐8904
HAYES, MICHAEL J          16022 HICKORY WELL DR                                                                      SAN ANTONIO      TX     78247
HAYES, MICHAEL J          4742 PALMETTO ST                                                                           COLUMBUS         OH     43228‐1815
HAYES, MICHAEL J          5087 O NEALL RD                                                                            WAYNESVILLE      OH     45068‐9124
HAYES, MICHAEL L          G3278 AUGUSTA ST                                                                           FLINT            MI     48532‐5112
HAYES, MICHAEL L          2702 MALLERY ST                                                                            FLINT            MI     48504‐7367
HAYES, MICHAEL LAWRENCE   2702 MALLERY ST                                                                            FLINT            MI     48504‐7367
HAYES, MICHAEL P          4647 CALIFORNIA RD                                                                         ORCHARD PARK     NY     14127‐3137
HAYES, MINNIE             2338 72ND STREET                                                                           BYRON CENTER     MI     49315‐9412
HAYES, MINNIE             2338 72ND ST SW                                                                            BYRON CENTER     MI     49315‐9412
HAYES, MORRIS F           641 N HARDIN HTS                                                                           HARRODSBURG      KY     40330‐9234
HAYES, MYRTLE             1704 AMHERST ST                                                                            PIQUA            OH     45356‐2704
HAYES, MYRTLE             1704 AMHERST AVENUE                                                                        PIQUA            OH     45356‐2704
HAYES, NANCY L            5124 OLD COLONY ROAD                                                                       OWOSSO           MI     48867‐9729
HAYES, NAOMI G            1103 SOUTHMOOR DR APT B                                                                    ARLINGTON        TX     76010‐5828
HAYES, NED                1332 LONGACRE DR                                                                           CINCINNATI       OH     45240‐2331
HAYES, NINA M             7553 W CARO RD BOX 41                                                                      REESE            MI     48757
HAYES, NOLIE E            2718 S 11TH ST                                                                             IRONTON          OH     45638‐2707
HAYES, NORA R             519 WOODSON DR                                                                             JACKSON          MS     39206‐2232
HAYES, NORBERT E          14835 OCEANA AVE                                                                           ALLEN PARK       MI     48101‐1856
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Name                Address1                      Address2              Address3         Address4               City               State Zip
HAYES, NORBERT E    14835 OCEANA                                                                                ALLEN PK            MI 48101‐1856
HAYES, NORMA A      365 STEWART AVE APT A17                                                                     GARDEN CITY         NY 11530‐4532
HAYES, NORMA I      10191 CENTRAL DR                                                                            ST HELEN            MI 48656‐8208
HAYES, NORMAN E     2164 FIRESTONE CT                                                                           OVIEDO              FL 32765‐5837
HAYES, ODDIE D      21408 ERBEN ST                                                                              SAINT CLAIR SHORES MI 48081‐3120

HAYES, OLAN H       2612 S TACOMA AVE                                                                           MUNCIE            IN   47302‐4601
HAYES, OLIVER L     2336 FILLMORE AVE                                                                           BUFFALO           NY   14214‐2102
HAYES, OLLEN M      311 CARDINAL DR                                                                             MC MINNVILLE      TN   37110‐1541
HAYES, OMAH P       761 DOVER GLEN DR                                                                           ANTIOCH           TN   37013‐1863
HAYES, OMER W       140 STILLWATER ST                                                                           WEST MILTON       OH   45383‐1425
HAYES, OPHA R       12911 N 110TH AVE                                                                           EVART             MI   49631‐8365
HAYES, OPHA R       12911 110TH AVE                                                                             EVART             MI   49631‐8365
HAYES, ORA BELLE    1027 GRAYSTONE DR                                                                           DAYTON            OH   45427‐2138
HAYES, OSCAR        167 SHERMAN ST                                                                              SABINA            OH   45169‐1438
HAYES, OTIS O       2425 ST HWY 147                                                                             STEWART           TN   37175
HAYES, OTIS O       9940 HIGHWAY 147                                                                            STEWART           TN   37175‐7032
HAYES, OZIE L       2725 W MIRA DR                                                                              QUEEN CREEK       AZ   85242
HAYES, PALMIRA      3421 E. 59TH #105                                                                           KANSAS CITY       MO   64130‐1009
HAYES, PALMIRA      5847 WALROND AVE                                                                            KANSAS CITY       MO   64130‐3921
HAYES, PAMELA C     COLE LAW OFFICE               PO BOX 1028                                                   KENNEBUNK         ME   04043‐1028
HAYES, PAMELA K     365 COLUMBIA RD                                                                             HAMILTON          OH   45013‐3684
HAYES, PAMELA K.    365 COLUMBIA RD                                                                             HAMILTON          OH   45013‐3684
HAYES, PATRICIA     3002 GIPSIE LN                                                                              HOUSTON           TX   77051
HAYES, PATRICIA L   5818 WILMINGTON PIKE #456                                                                   DAYTON            OH   45459
HAYES, PATRICIA O   3940 OAKWOOD RD                                                                             ORTONVILLE        MI   48462‐9758
HAYES, PATRICIA T   10941 LINN CT                                                                               LA GRANGE         IL   60525‐7311
                                                                                                                HIGHLANDS
HAYES, PAUL         6801 S CALHOUN ST                                                                           FORT WAYNE        IN   46807‐3708
HAYES, PAUL C       217 TERRACE ST                                                                              FLUSHING          MI   48433‐2124
HAYES, PAUL D       124 APRIL DR                                                                                MULVANE           KS   67110‐1002
HAYES, PAUL R       582 CLIFTON RD                                                                              FRENCHBURG        KY   40322‐8219
HAYES, PAUL R       582 CLIFTON RD.                                                                             FRENCHBURG        KY   40322‐8219
HAYES, PAULA J.     9370 M 33                                                                                   ATLANTA           MI   49709‐8990
HAYES, PAULINE      8513 PEACHWOOD DRIVE                                                                        CENTERVILLE       OH   45458‐3249
HAYES, PAULINE      2725 CRESCENT HILL LANE                                                                     INDIANAPOLIS      IN   46228‐3121
HAYES, PEGGY W      37 MIAMI AVE                                                                                FREDERICKTOWN     OH   43019‐9013
HAYES, PERCY J      5138 KENSINGTON AVE                                                                         SAINT LOUIS       MO   63108‐1012
HAYES, PERRY D      PO BOX 172                                                                                  ALBANY            IN   47320‐0172
HAYES, PETER D      200 KEDRON PKWY APT 133E                                                                    SPRING HILL       TN   37174
HAYES, PETER D      APT 133E                      200 KEDRON PARKWAY                                            SPRING HILL       TN   37174‐7462
HAYES, PHILIP R     25033 AVON CT                                                                               NOVI              MI   48374‐3166
HAYES, PHILLIP D    7553 W CARO RD                                                                              REESE             MI   48757‐9224
HAYES, PHILLIP E    7841 W 460 S                                                                                RUSSIAVILLE       IN   46979‐9118
HAYES, PHYLLIS J    6067 KING ARTHUR DR                                                                         SWARTZ CREEK      MI   48473‐8808
HAYES, QUINCY J     PO BOX 283                                                                                  FOXWORTH          MS   39483
HAYES, QUINCY J     PO BOX 430635                                                                               PONTIAC           MI   48343‐0635
HAYES, RANDELL R    3126 MCLEAN RD                                                                              FRANKLIN          OH   45005‐4766
HAYES, RASHAWN L    413 NEAL AVE                                                                                DAYTON            OH   45405‐4418
HAYES, RAYMOND L    13331 ALMETZ ST                                                                             SYLMAR            CA   91342‐1833
HAYES, RAYMOND R    1021 UNION AVE                                                                              SAGINAW           MI   48602‐5556
HAYES, REAT T       2600 WALNUT RD                                                                              SAREPTA           LA   71071‐2469
HAYES, REGINALD A   4121 SHENANDOAH DR                                                                          DAYTON            OH   45417‐1154
HAYES, RETA F       6416 W SHAW BUTTE DR                                                                        GLENDALE          AZ   85304‐2427
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Name               Address1                       Address2                             Address3   Address4               City            State   Zip
HAYES, RICHARD C   5883 DAWN RIDGE DR                                                                                    TROY             MI     48098‐5117
HAYES, RICHARD E   P.O. BOX 73                                                                                           CRAB ORCHARD     KY     40419‐0073
HAYES, RICHARD E   PO BOX 73                                                                                             CRAB ORCHARD     KY     40419‐0073
HAYES, RICHARD K   3450 BENTWILLOW LN                                                                                    YOUNGSTOWN       OH     44511‐2503
HAYES, RICHARD L   13841 BALDWIN RD                                                                                      CHESANING        MI     48616‐9593
HAYES, RICK A      44 MILL CREEK RD                                                                                      NILES            OH     44446‐3208
HAYES, RICKIE R    35841 PALMER RD                                                                                       WESTLAND         MI     48186‐4235
HAYES, RICKY L     PO BOX 1347                                                                                           FLINT            MI     48501‐1347
HAYES, RICKY L     13647 PINEHURST ST                                                                                    DETROIT          MI     48238‐2233
HAYES, RITA        1375 LAND BREEZE CT                                                                                   HENDERSON        NV     89014‐8844
HAYES, ROBERT A
HAYES, ROBERT D    490 STONES RIVER LN                                                                                   MURFREESBORO    TN      37128‐6119
HAYES, ROBERT E    10076 AYLEBURY DR                                                                                     SOUTH LYON      MI      48178‐9565
HAYES, ROBERT E    8140 E 279TH ST                                                                                       ARCADIA         IN      46030‐9511
HAYES, ROBERT E    531 S 21ST ST                                                                                         SAGINAW         MI      48601‐1534
HAYES, ROBERT E    6192 CALKINS RD                                                                                       FLINT           MI      48532‐3204
HAYES, ROBERT E    19301 SUSSEX ST                                                                                       DETROIT         MI      48235‐2050
HAYES, ROBERT I    6660 FRANKLIN RD                                                                                      BLOOMFIELD      MI      48301‐2923
HAYES, ROBERT J    3818 MINTON RD                                                                                        ORION           MI      48359‐1554
HAYES, ROBERT L    5936 COBURN AVE                                                                                       INDIANAPOLIS    IN      46228‐1226
HAYES, ROBERT L    2228 SHIRLEY ST                                                                                       PRESCOTT        MI      48756‐9357
HAYES, ROBERT L    2501 SIBLEY ST                                                                                        SAINT CHARLES   MO      63301‐1362
HAYES, ROBERT L    6420 ACRE RD                                                                                          MARRERO         LA      70072‐3350
HAYES, ROBERT O    226 RIDGE AVE                                                                                         CRYSTAL LAKE    IL      60014‐3452
HAYES, ROBERT R    15A BETSY ROSS LN                                                                                     WHITING         NJ      08759‐1869
HAYES, RODNEY      650 E COLUMBIA AVE                                                                                    PONTIAC         MI      48340‐2045
HAYES, RODNEY V    27125 KING RD                                                                                         BROWNSTOWN      MI      48174‐9423
HAYES, ROGER D     1792 SW 23RD TER                                                                                      OKEECHOBEE      FL      34974
HAYES, ROGER E     13945 SAN JOSE                                                                                        REDFORD         MI      48239‐2946
HAYES, ROGER G     11185 E POTTER RD                                                                                     DAVISON         MI      48423‐8154
HAYES, RONALD      208 W BEVERLY AVE                                                                                     PONTIAC         MI      48340‐2623
HAYES, RONALD E    HC 74 BOX 605                                                                                         MONTICELLO      KY      42633‐9611
HAYES, RONALD E    308 CHERYL CT                                                                                         EATON           OH      45320‐1601
HAYES, RONALD L    12303 BENTON RD                                                                                       GRAND LEDGE     MI      48837‐9789
HAYES, RONALD W    3015 MEISNER AVE                                                                                      FLINT           MI      48506‐2427
HAYES, RONDA D     4235 MERRIMAC AVE                                                                                     DAYTON          OH      45405‐2320
HAYES, RONNIE L    2740 WELSHCREST DR                                                                                    ANTIOCH         TN      37013‐1922
HAYES, ROSA L      6202 SALLY COURT                                                                                      FLINT           MI      48505‐2527
HAYES, ROSA L      6202 SALLY CT                                                                                         FLINT           MI      48505‐2527
HAYES, ROSE ANN    LAKIN LAW FIRM THE             P O BOX 27, 251 OLD ST. LOUIS ROAD                                     WOOD RIVER      IL      62095‐0027
HAYES, ROSE V      411 HOSPITAL DR                                                                                       OAKDALE         LA      71463‐3040
HAYES, ROY E       9598 W LAUDERDALE RD                                                                                  COLLINSVILLE    MS      39325‐8970
HAYES, ROY E       301 MARKET ST APT B                                                                                   LOCKPORT        NY      14094‐3066
HAYES, ROY K       7053 HOLLYGLEN DR                                                                                     ELMIRA          MI      49730‐9296
HAYES, ROY L       HC 59 BOX 83                                                                                          CABINS          WV      26855‐9509
HAYES, ROY O       16 EMILIA CIR                                                                                         ROCHESTER       NY      14606‐4606
HAYES, RUSSEL L    2745 W STATE ROAD 28                                                                                  TIPTON          IN      46072‐9789
HAYES, RUSSELL     3180 DILLON RD                                                                                        FLUSHING        MI      48433‐9762
HAYES, RUTH W      106 EAST PLUM                  P.O.BOX 312                                                            VAN BUREN       IN      46991
HAYES, RUTH W      PO BOX 312                     106 EAST PLUM                                                          VAN BUREN       IN      46991‐0312
HAYES, RUTHIE L    24230 PIERCE ST                                                                                       SOUTHFIELD      MI      48075‐3008
HAYES, SAMUEL      1793 DREMAN AVE.                                                                                      CINCINNATI      OH      45223‐2702
HAYES, SAMUEL A    7029 E COUNTY ROAD 550 S                                                                              MUNCIE          IN      47302‐8404
HAYES, SANDY L     5110 PRATT RD                                                                                         METAMORA        MI      48455‐9609
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Name                 Address1                              Address2                      Address3   Address4               City              State   Zip
HAYES, SANDY LYNN    5110 PRATT RD                                                                                         METAMORA           MI     48455‐9609
HAYES, SARAH R.      3396 DEVONWOOD HLS NE APT B                                                                           GRAND RAPIDS       MI     49525‐6828
HAYES, SARAH R.      3396 B DEVONWOOD HILLS NE                                                                             GRAND RAPIDS       MI     49525‐6828
HAYES, SAVAGE R      42398 EDENBROOKE DR                                                                                   CANTON             MI     48187‐3913
HAYES, SCOTT J       601 E SHERWOOD RD                                                                                     WILLIAMSTON        MI     48895‐9436
HAYES, SCOTT M       37 OLD FARM CIR                                                                                       PITTSFORD          NY     14534‐3005
HAYES, SCOTT R       6578 GAINES FERRY RD                                                                                  FLOWERY BR         GA     30542‐3836
HAYES, SEAN D        9 HUNTER CV                                                                                           BYRAM              MS     39272‐6405
HAYES, SEVELLA L     APT 120                               980 NORTH COUNTRYSIDE DRIVE                                     PALATINE            IL    60067‐1937
HAYES, SHARON        4175 PINEPORT                                                                                         BRIDGEPORT         MI     48722‐9505
HAYES, SHARON        4175 PINEPORT RD                                                                                      BRIDGEPORT         MI     48722‐9505
HAYES, SHARON K      27 JULIANA DR                                                                                         DANVILLE            IL    61832‐8440
HAYES, SHARON L      8676 OLD ORCHARD RD S E                                                                               WARREN             OH     44484‐3051
HAYES, SHERE R       5807 CHERRYWOOD APT 2005                                                                              WEST BLOOMFIELD    MI     48322

HAYES, SHIRLEY       305 ROYAL AVE                                                                                         WALHALLA          SC      29691
HAYES, SHIRLEY B     2202 SPRINGDALE DR                                                                                    SNELLVILLE        GA      30078
HAYES, SHIRLEY MAE   524 KIRK ST                                                                                           BALDWYN           MS      38824‐2601
HAYES, STANLEY E     PO BOX 292                                                                                            LOCKPORT          NY      14095‐0292
HAYES, STEVEN W      7745 WAGON WHEEL DR                                                                                   GOLETA            CA      93117‐1006
HAYES, SUSAN M       742 SUNSET DRIVE                                                                                      LANSING           MI      48917
HAYES, SUSIE         1602 KAMMER AVE                                                                                       DAYTON            OH      45417‐1542
HAYES, SYLVESTER     PO BOX 5117                                                                                           PINE BLUFF        AR      71611
HAYES, SYLVIA M      3645 N CHESTER AVE                                                                                    INDIANAPOLIS      IN      46218‐1412
HAYES, TED A         140 SAWMILL RIDGE RD                                                                                  JAMESTOWN         TN      38556‐6161
HAYES, TED R         13500 N RANCHO VISTOSO BLVD APT 31                                                                    ORO VALLEY        AZ      85755‐5953

HAYES, TERRANCE J    8110 CRAWFORD CREEK RD                                                                                BELFAST           NY      14711
HAYES, TERRENCE L    5080 N US HIGHWAY 24 E                                                                                HUNTINGTON        IN      46750‐9505
HAYES, TERRY G       607 1/2 CHESTNUT ST                                                                                   ANDERSON          IN      46012
HAYES, THERESA A     19 ELMORE ST                                                                                          TROTWOOD          OH      45426‐3603
HAYES, THOMAS A      APT B                                 1736 BROWNSTONE BOULEVARD                                       TOLEDO            OH      43614‐1368
HAYES, THOMAS C      1420 PACELLI ST                                                                                       SAGINAW           MI      48638‐6559
HAYES, THOMAS D      31 HAMILTON DR                                                                                        LOCKPORT          NY      14094‐5518
HAYES, THOMAS E      41 S MANOR CT                                                                                         WALL TOWNSHIP     NJ      07719‐3650
HAYES, THOMAS F      2708 SENATE LN                                                                                        KOKOMO            IN      46902‐3027
HAYES, THOMAS G      13351 S GOLDEN MEADOW DR                                                                              PLAINFIELD        IL      60585‐8551
HAYES, THOMAS G      650 HOPKINS RD                                                                                        WILLIAMSVILLE     NY      14221‐2434
HAYES, THOMAS G      297 WINTERHAVEN LN                                                                                    BROWNSVILLE       TX      78526‐9526
HAYES, THOMAS M      114 RANDALL TER                                                                                       HAMBURG           NY      14075‐5313
HAYES, THOMAS R      3050 INDIAN TRL                                                                                       RACINE            WI      53402‐1138
HAYES, THOMAS W      3593 FRANDOR PL                                                                                       SAGINAW           MI      48603‐7233
HAYES, THOMAS W      298 CARNOUSTIE                                                                                        HIGHLAND          MI      48357‐4752
HAYES, THOMAS W      37389 GOLFVIEW DR                                                                                     STERLING HTS      MI      48312‐2268
HAYES, THURMAN L     2331 ELLSWORTH DR                                                                                     CLARKSVILLE       TN      37043‐2037
HAYES, TIMOTHY D     271 W BROADWAY ST                                                                                     GREENWOOD         IN      46142‐3515
HAYES, TIMOTHY R     5400 LEIGH AVE                                                                                        GADSDEN           AL      35903
HAYES, TIMOTHY S     3731 BERRYWOOD DR                                                                                     DAYTON            OH      45424‐4865
HAYES, TOMMIE K      1815 LAWN AVE                                                                                         CINCINNATI        OH      45237‐6123
HAYES, TOMMY O       408 BIRCHWOOD DR                                                                                      SANDUSKY          OH      44870‐7320
HAYES, TRENIA        MCBRAYER MCGINNIS LESLIE & KIRKLAND   PO BOX 347                                                      GREENUP           KY      41144‐0347

HAYES, TREVIN A      7105 FRANKLIN MADISON RD                                                                              MIDDLETOWN        OH      45042‐1106
HAYES, TYLER L       410 COUNTY ROAD 130                                                                                   ADDISON           AL      35540‐3571
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HAYES, VANESSA           1038 BRIARWOOD RD                                                                                MANSFIELD         OH     44907‐2356
HAYES, VERA              15879 LAKE HILLS DR                                                                              NORTHPORT         AL     35475‐3955
HAYES, VERNON G          4620 ROCK OAK PKWY                                                                               CLARENCE          NY     14031
HAYES, VERNON T          4037 E 69TH ST                                                                                   KANSAS CITY       MO     64132‐1658
HAYES, VICKIE L          129 WATERBURY CT                                                                                 WESTLAND          MI     48186‐5282
HAYES, VINCENT L         559 FROST AVE                                                                                    ROCHESTER         NY     14611‐3551
HAYES, VIRGINIA          PETERS MURDAUGH PARKER ELTZROTH &   PO BOX 457                                                   HAMPTON           SC     29924‐0457
                         DETRICK
HAYES, VIRGINIA          FLOYD LAW FIRM                      PO BOX 14607                                                 SURFSIDE BEACH    SC     29587‐4607
HAYES, VIRGINIA
HAYES, VIRGINIA E        6245 FEDER RD                                                                                    COLUMBUS         OH      43228‐9538
HAYES, VIRGINIA L        725 BETHLEHAM RD                                                                                 HORTON           AL      35980‐9720
HAYES, VIRGINIA S        503 E WHEELER ST                                                                                 KOKOMO           IN      46902‐2241
HAYES, VONNA N           5400 MCALPINE FARM RD                                                                            CHARLOTTE        NC      28226‐7321
HAYES, WALTER C          3518 SAMANTHA DR                                                                                 BUFORD           GA      30519‐7300
HAYES, WALTER F          5339 FERN AVE                                                                                    GRAND BLANC      MI      48439‐4321
HAYES, WALTER FREDRICK   5339 FERN AVE                                                                                    GRAND BLANC      MI      48439‐4321
HAYES, WALTER J          9926 MORNINGSIDE DR                                                                              LEESBURG         FL      34788‐3653
HAYES, WAVA C            2505 ANSON RD                                                                                    DALLAS           TX      75235‐3701
HAYES, WAYNE             PO BOX 71                                                                                        GRAY HAWK        KY      40434‐0071
HAYES, WAYNE T           PO BOX 20353                                                                                     DAYTON           OH      45420‐0353
HAYES, WENDELL E         PO BOX 295                                                                                       SUNBRIGHT        TN      37872‐0295
HAYES, WILLIAM           PORTER & MALOUF PA                  4670 MCWILLIE DR                                             JACKSON          MS      39206‐5621
HAYES, WILLIAM A         1195 ROSE CENTER RD                                                                              FENTON           MI      48430‐8528
HAYES, WILLIAM A         132 ROBIN LN                                                                                     COUDERSPORT      PA      16915‐8045
HAYES, WILLIAM A         5440 E COMMONS DR                                                                                MOORESVILLE      IN      46158‐6795
HAYES, WILLIAM A         15880 REEDMERE AVE                                                                               BEVERLY HILLS    MI      48025‐5672
HAYES, WILLIAM A         2351 FAIRPORT RD                                                                                 WATERFORD        MI      48329‐3935
                                                                                                                          TOWNSHIP
HAYES, WILLIAM A         1327 N FOUNTAIN GREEN RD                                                                         BEL AIR          MD      21015‐2505
HAYES, WILLIAM B         PO BOX 108                                                                                       FRANKLINTON      NC      27525‐0108
HAYES, WILLIAM D         6728 165TH PL                                                                                    TINLEY PARK      IL      60477‐1732
HAYES, WILLIAM J         2347 E 3RD AVE                                                                                   PORT ANGELES     WA      98362‐9011
HAYES, WILLIAM J         602 TERRACE LN                                                                                   YPSILANTI        MI      48198‐3090
HAYES, WILLIAM J         1651 WINSLOW RD                                                                                  ATTICA           MI      48412‐9707
HAYES, WILLIAM J         6595 RENIE RD                                                                                    BELLVILLE        OH      44813‐9030
HAYES, WILLIAM L         1705 CREEKSTONE DR                                                                               COLUMBIA         TN      38401‐6718
HAYES, WILLIAM L         7595 SOUTH HOLLOW POINT                                                                          FLORAL CITY      FL      34436‐2941
HAYES, WILLIAM R         1834 ENGLEWOOD DR                                                                                BAY CITY         MI      48708‐6948
HAYES, WILLIAM S         9317 MONICA DR                                                                                   DAVISON          MI      48423‐2862
HAYES, WILLIAM W         4830 BRIARWOOD AVE APT 6                                                                         ROYAL OAK        MI      48073‐1328
HAYES, WILLIE            WYSOKER GLASSNER & WEINGARTNER      340 GEORGE ST                                                NEW BRUNSWICK    NJ      08901‐2011
HAYES, WILLIE            30409 HICKORY DR                                                                                 FLAT ROCK        MI      48134‐1683
HAYES, WILLIE D          923 DEVON AVE                                                                                    YOUNGSTOWN       OH      44505‐3846
HAYES, WILLIE E          5438 THUNDERBIRD PASS                                                                            GRAND BLANC      MI      48439‐9191
HAYES, WILLIE ERVIN      5438 THUNDERBIRD PASS                                                                            GRAND BLANC      MI      48439‐9191
HAYES, WILLIE G          4160 TURNBRIDGE DR                                                                               HOLT             MI      48842‐1857
HAYES, WILLIE J          6364 JULIAN ST                                                                                   DETROIT          MI      48204‐3339
HAYES, WILLIE J          4848 SEYBURN ST                                                                                  DETROIT          MI      48214‐1091
HAYES, WILLIE L          1321 DEFOREST AVE                                                                                FORD HTS         IL      60411‐3040
HAYES, WILMA J           5629 TOWNSHIP ROAD 103                                                                           MOUNT GILEAD     OH      43338
HAYES, WINSTON M         PO BOX 754                                                                                       LOUISVILLE       MS      39339‐0754
HAYES, ZACHARY P         879 BACK CREEK RD                                                                                ASHEBORO         NC      27205
HAYES,AVAJEAN F          2517 YOLANDA DR                                                                                  DAYTON           OH      45417‐4467
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Name                             Address1                       Address2                    Address3                Address4               City            State   Zip
HAYES‐BERRY, MAVIS               3458 BEXVIE AVE                                                                                           COLUMBUS         OH     43227‐3766
HAYES‐JOSEPH, CHARLEEN D         10194 S 186TH LN                                                                                          GOODYEAR         AZ     85338‐4908
HAYES‐LEMMERZ INTERNATIONAL      MIKE WEBER                     26290 W 8 MILE RD           HLI SOUTHFIELD                                 SOUTHFIELD       MI     48033‐3650
HAYES‐LEMMERZ INTERNATIONAL      MIKE WEBER                     HLI SOUTHFIELD              26290 W EIGHT MILE RD                          BLOOMSBURG       PA     17815
HAYES‐SMITH, BARBARA A           6357 WEYBRIDGE DR                                                                                         TROTWOOD         OH     45426
HAYESLIP, RICHARD L              13317 ALLEGAN ST                                                                                          WHITTIER         CA     90605‐3201
HAYEST, EDMUND J                 680 JUNIPER LN                                                                                            BRUNSWICK        OH     44212‐4700
HAYEZ LEMMERZ INTERNATIONAL      15300 CENTENNIAL DR                                                                                       NORTHVILLE       MI     48168‐8687
HAYFORD BRIDGE ROAD OU3 ESCROW   UMB BANK NA CORP TRUST DIV     2 S BROADWAY STE 435                                                       SAINT LOUIS      MO     63102
HAYFORD, DEBORAH J               125 1/2 W PLUMER ST                                                                                       TOLEDO           OH     43605‐3327
HAYFORD, JAMES S                 125 1/2 W PLUMER ST                                                                                       TOLEDO           OH     43605‐3327
HAYFORD, JR.,VYRL W              66165 ROBBINS LAKE RD                                                                                     JONES            MI     49061‐8715
HAYGEN, EDNA M                   11116 CADILLAC                                                                                            WARREN           MI     48089‐2480
HAYGIN GONZALES                  4600 PUMPKIN VINE DR                                                                                      KOKOMO           IN     46902‐2821
HAYGOOD ALFRED L (495846)        BELLUCK & FOX LLP              546 5TH AVE #4                                                             NEW YORK         NY     10036‐5000
HAYGOOD JR, RALPH L              7807 CR 772                                                                                               WEBSTER          FL     33597‐6035
HAYGOOD, ALFRED L                BELLUCK & FOX LLP              546 5TH AVE # 4                                                            NEW YORK         NY     10036‐5000
HAYGOOD, ARTHUR                  25218 HOOVER RD APT 302                                                                                   WARREN           MI     48089‐1121
HAYGOOD, CAROLYN J               3938 CENTRAL AVE                                                                                          INDIANAPOLIS     IN     46205‐2631
HAYGOOD, DINA M                  7000 GREELEY AVE                                                                                          KANSAS CITY      KS     66109‐2513
HAYGOOD, GALVESTON               4102 WESTWIND DR                                                                                          ARLINGTON        TX     76017‐3321
HAYGOOD, GREGORY W               P O BOX 31501                                                                                             JACKSON          MS     39206‐9206
HAYGOOD, GREGORY W               4617 VILLAGE DR                                                                                           JACKSON          MS     39206‐3350
HAYGOOD, JAMES O                 PO BOX 172                                                                                                INGALLS          IN     46048‐0172
HAYGOOD, MARK L                  5118 SEMINOLE STREET                                                                                      DETROIT          MI     48213‐2990
HAYGOOD, MARY                    1278 E 90TH ST                                                                                            CLEVELAND        OH     44108‐3315
HAYGOOD, MICHAEL L               APT 208                        4843 WESTCHESTER DRIVE                                                     YOUNGSTOWN       OH     44515‐2559
HAYGOOD, MICHAEL L               PO BOX 36729                                                                                              GROSSE POINTE    MI     48236‐0729
HAYGOOD, SARAH E.                8066 HARTWELL                                                                                             DETROIT          MI     48228‐2741
HAYGOOD, SARAH E.                8066 HARTWELL ST                                                                                          DETROIT          MI     48228‐2741
HAYHOE, DAVID A                  9266 N COCHRAN RD                                                                                         GRAND LEDGE      MI     48837‐9435
HAYHURST, GARY                   PO BOX 129                                                                                                IDAMAY           WV     26576‐0129
HAYHURST, SIERRA                 RR 1 BOX 249B                                                                                             MANNINGTON       WV     26582‐9546
HAYHURST, WILLIAM D              419 BONHAM RD                                                                                             JOPPA            MD     21085‐4013
HAYHURST, WILLIAM DANA           419 BONHAM RD                                                                                             JOPPA            MD     21085‐4013
HAYLES, JAMES D                  1201 N PRAIRIE LN                                                                                         RAYMORE          MO     64083‐9524
HAYLES, L D                      7501 N CENTRAL ST                                                                                         GLADSTONE        MO     64118‐1618
HAYLES, LOYD T                   331 COUNTRY CLUB BLVD                                                                                     SLIDELL          LA     70458‐1369
HAYLES, MARILYN R                225 GROVER RD                                                                                             TOMS RIVER       NJ     08753‐6215
HAYLES, ROBERT                   300 DUELL ST                                                                                              ENUMCLAW         WA
HAYLETT TODD                     4137 FAIRVIEW RD                                                                                          COLUMBIA         TN     38401‐1357
HAYLETT, DAVID J                 6919 RIDGE RD                                                                                             LOCKPORT         NY     14094‐9436
HAYLETT, SHANNON D               4137 FAIRVIEW RD                                                                                          COLUMBIA         TN     38401‐1357
HAYLETT, THERESA M               3721 SUSAN ST                                                                                             WELLSTON         MI     49689‐9525
HAYLETT, TODD M                  4137 FAIRVIEW RD                                                                                          COLUMBIA         TN     38401‐1357
HAYLETTE, ROGER W                700 HELOON DR                                                                                             CLINTON          NY     13323
HAYMAKER, MARY E                 183 SMOCK DR                   ROOM 204 EAST                                                              GREENWOOD        IN     46143‐2438
HAYMAKER, MARY L                 7647 W ROAD 350 N                                                                                         BARGERSVILLE     IN     46106‐9339
HAYMAN CO                        PO BOX 7777                                                                                               TROY             MI     48007‐7777
HAYMAN MANAGEMENT CO             5700 CROOKS RD STE 400                                                                                    TROY             MI     48098‐2825
HAYMAN MANAGEMENT CO             ATTN: KATHLEEN H KLAUS, ESQ    MADDIN HAUSER WARTELL ROTH & 28400 NORTHWESTERN                            SOUTHFIELD       MI     48034
                                                                HELLER PC                    HIGHWAY 3RD FL
HAYMAN, ALAN W                   11110 W GATES ST                                                                                          BRUCE TWP        MI     48065‐4372
HAYMAN, ARCHIE L                 PO BOX 3837                                                                                               FLINT            MI     48502‐0837
                          09-50026-mg              Doc 7123-18    Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
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Name                      Address1                           Address2                         Address3                     Address4               City             State   Zip
HAYMAN, ARTHUR C          232 N MONROE ST                                                                                                         WILMINGTON        DE     19801‐2348
HAYMAN, CARL L            7202 PROSPECT AVE                                                                                                       KANSAS CITY       MO     64132‐1806
HAYMAN, JANE M            11110 W GATES ST                                                                                                        BRUCE TWP         MI     48065‐4372
HAYMAN, LEEVAN            5915 TRAMMELL RD APT AA3                                                                                                MORROW            GA     30260
HAYMAN, LILLIE B          14101 BLACKBERRY CRK #14101                                                                                             BURTON            MI     48519‐1918
HAYMAN, RALPH L           797 ASHWOOD ST                                                                                                          ORANGE PARK       FL     32065‐6201
HAYMAN, ROSIE L           4400 W 13TH AVE                                                                                                         PINEBLUFF         AR     71603‐2306
HAYMAN, ROY C             4430 SAINT JAMES CT APT 6                                                                                               FLINT             MI     48532‐4260
HAYMAN, THOMAS G          107 W 23RD ST                                                                                                           WILMINGTON        DE     19802‐4123
HAYMAN, WALLACE E         6128 WHITE DEER RD                                                                                                      DELMAR            DE     19940‐3142
HAYMAN, WILLIAM R         1667 COUNTY ROAD 5800                                                                                                   WILLOW SPRINGS    MO     65793‐9299
HAYMARKET WORLDWIDE INC   16842 VON KARMAN AVE STE 125                                                                                            IRVINE            CA     92606‐4934
HAYMER, HERLINDA          11505 LATONKA TRAIL,                                                                                                    ST. LOUIS         MO     63033
HAYMER, JESSE J           11505 LATONKA TRL                                                                                                       FLORISSANT        MO     63033‐7520
HAYMES, CARL F            INSURGENTES SUR #576, 8 PISO       DF* 03100                                                     MEXICO
HAYMES, DELZA             5860 HIGHVIEW BLDG 3 APT 10                                                                                             MILFORD          OH      45150
HAYMES, RAYMOND H         225 BIG HORN DR UNIT 6                                                                                                  BOULDER CITY     NV      89005‐1420
HAYMON FIELDS             7818 HOOVER RD                                                                                                          INDIANAPOLIS     IN      46260‐3550
HAYMON, ARCHIE A          8342 JEFFERSON AVE                                                                                                      SAINT LOUIS      MO      63114‐6208
HAYMON, EVA JEAN          6628 CAROL LEE DR                                                                                                       SAINT LOUIS      MO      63134‐1566
HAYMON, LEE W             630 E MARENGO AVE                                                                                                       FLINT            MI      48505‐3377
HAYMON, RABON             1401 COUNTY RD., #844                                                                                                   LOGAN            AL      35098
HAYMON, SADIE             364 GEHRIG CIR                                                                                                          BOLINGBROOK      IL      60440‐1828
HAYMOND BRIAN KEITH       HAYMOND, BRIAN KEITH               1502 W HWY 54 SUITE 201                                                              DURHAM           NC      27707
HAYMOND SMITH             1008 GRAND VIEW ST                                                                                                      PARKERSBURG      WV      26101
HAYMORE MICHELE           PO BOX 565                                                                                                              OAKLEY           UT      84055
HAYMORE, WILLIE J         6183 PERSHING AVE                                                                                                       SAINT LOUIS      MO      63112‐1107
HAYMOUR, DOROTHY          58 EAST JEFFERSON                                                                                                       QUINCY           MI      49082
HAYMOUR, WAFA R           58 E JEFFERSON ST                                                                                                       QUINCY           MI      49082‐1138
HAYNAL, ELMER B           6726 WHITTEMORE RD                                                                                                      WHITTEMORE       MI      48770‐9769
HAYNAL, FRANKLIN R        11118 BARE DR                                                                                                           CLIO             MI      48420‐1577
HAYNALI, CAROLYN A.       7579 HIDDEN TRACE DR                                                                                                    WESTCHESTER      OH      45069
HAYNALI, PHILIP A         11258 DIEHL LAKE DR                                                                                                     BERLIN CENTER    OH      44401‐9662
HAYNE, DOUGLAS M          701 RENSHAW ST                                                                                                          ROCHESTER        MI      48307‐2659
HAYNE, PATRICIA C         1464 HILLCREST AVE APT 12                                                                                               NILES            OH      44446‐3762
HAYNE, PATRICIA C         1464 HILLCREST DRIVE               APT 12                                                                               NILES            OH      44446‐4446
HAYNE, STEVEN T
HAYNER, DAVID M           11604 N COUNTY LINE RD                                                                                                  WHEELER           MI     48662‐9717
HAYNER, LARRY L           2278 MAYFIELD RD                                                                                                        SAGINAW           MI     48602‐3522
HAYNER, LEWIS J           3266 WOLVERINE DR                                                                                                       TROY              MI     48083‐5746
HAYNER, THELMA A          1218 BRIDGE ST                                                                                                          PORTLAND          MI     48875‐1512
HAYNER, THELMA A          1218 E BRIDGE ST                                                                                                        PORTLAND          MI     48875‐1512
HAYNES AND BOONE LLP      ATTY FOR AIRGAS, INC.              ATT: JONATHAN HOOK, ESQ.          1221 AVENUE OF THE                                 NEW YORK          NY     10020‐1007
                                                                                               AMERICAS 26TH FL
HAYNES AND BOONE LLP      ATTY FOR AIRGAS, INC.              ATT: PATRICK L. HUGHES & PETER C. 1221 MCKINNEY, SUITE 2100                          HOUSTON           TX     77010
                                                             RUGGERO
HAYNES AND BOONE LLP      ATTY FOR EXXON MOBIL CORPORATION   ATTN: CHARLES A. BECKMAN &        1221 MCKINNEY, SUITE 2100                          HOUSTON           TX     77010
                                                             BROOKS HAMILTON
HAYNES AND BOONE, LLP     ATTY OFR EXXON MOBIL CORPORATION   ATTN: MATTHEW E. RUSSELL, ESQ.    1221 AVENUE OF THE                                 NEW YORK          NY     10020‐1007
                                                                                               AMERICAS, 26TH FL
HAYNES AND BOONE, LLP     ATTY FOR CEVA LOGISTICS            ATTN: JUDITH ELKIN                1221 AVENUE OF THE                                 NEW YORK          NY     10020‐1007
                                                                                               AMERICAS, 26TH FLOOR
HAYNES ARNOLD             HAYNES, ARNOLD                     STATE FARM                        PO BOX 2371                                        BLOOMINGTON       IL     61702‐2371
HAYNES AUTOMOTIVE, INC.   813 BURLINGTON AVE                                                                                                      LOGANSPORT        IN     46947‐4702
                                   09-50026-mg            Doc 7123-18       Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                               Address1                             Address2                        Address3   Address4               City            State Zip
HAYNES BILLY L (407222)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA 23510
                                                                        STREET, SUITE 600
HAYNES BOBBY                       4209 LEERDA ST                                                                                         FLINT           MI   48504‐2180
HAYNES BRIAN                       HAYNES, BRIAN                        22260 HAGGERTY RD STE 250                                         NORTHVILLE      MI   48167‐8985
HAYNES CARL W (409516)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                                        STREET, SUITE 600
HAYNES CHARLES ANDREW              HAYNES, CHARLES ANDREW               5015 SOUTHPARK DR STE 250                                         DURHAM          NC   27713‐7736
HAYNES CLARICE                     40432 ORANGELAWN AVE                                                                                   PLYMOUTH        MI   48170‐6604
HAYNES DON                         200 E MAIN ST                                                                                          MARKS           MS   38646‐1317
HAYNES DONALD                      PO BOX 483                                                                                             MADISONVILLE    TN   37354‐0483
HAYNES ELWOOD L (405695)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                                        STREET, SUITE 600
HAYNES ENGINEERING &               11700 METRO AIRPORT CENTER DR STE                                                                      ROMULUS         MI   48174‐1404
MANUFACTURING INC                  106
HAYNES ENGINEERING & MFG INC       11700 METRO AIRPORT CTR DR STE       106                                                               ROMULUS         MI   48174‐1456
HAYNES ENGINEERING & MFG INC       ATTN: CORPORATE OFFICER/AUTHORIZED   11700 METRO AIRPORT CENTER DR                                     ROMULUS         MI   48174‐1404
                                   AGENT                                STE 106
HAYNES GEORGE (479252)             BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH   44067
                                                                        PROFESSIONAL BLDG
HAYNES III, MARK J                 843 N RIVERSIDE AVE                                                                                    SAINT CLAIR     MI   48079‐4264
HAYNES INTERNATIONAL INC           35082 EAGLE WAY                                                                                        CHICAGO         IL   60678‐0001
HAYNES JR, ALBERT                  PO BOX 363                                                                                             SAGINAW         MI   48606‐0363
HAYNES JR, CLINTON                 1606 FISHER AVE                                                                                        SPEEDWAY        IN   46224‐5634
HAYNES JR, DALE R                  90 YOHA DR                                                                                             MANSFIELD       OH   44907‐2861
HAYNES JR, JOHNELL                 3310 MCCLURE WOODS CT                                                                                  DULUTH          GA   30096‐8507
HAYNES JR, JOSEPH P                14003 CREEKVIEW DR                                                                                     SOMERVILLE      OH   45064‐9640
HAYNES JR, OLIVER H                3819 E STEEPLECHASE WAY APT A                                                                          WILLIAMSBURG    VA   23188‐7831
HAYNES JR, PATRICK                 500 N CONKLIN RD                                                                                       LAKE ORION      MI   48362‐1816
HAYNES JR, ROY D                   PO BOX 347                                                                                             BALL GROUND     GA   30107‐0347
HAYNES JR, WILLIAM D               PO BOX 53431                                                                                           ATLANTA         GA   30355‐1431
HAYNES JR, WILLIAM R               1357 KING RICHARD PKWY                                                                                 W CARROLLTON    OH   45449‐2301
HAYNES JR, WILLIE                  3040 OLD ROBINSON RD                                                                                   LOUISVILLE      MS   39339‐9099
HAYNES JR, WILLIE                  2041 AITKEN AVE                                                                                        FLINT           MI   48503‐4212
HAYNES KEITH LAYROCK               C/O WEITZ AND LUXENBERG PC           700 BROADWAY                                                      NEW YORK CITY   NY   10003
HAYNES LENA (ESTATE OF) (513834)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH   44067
                                                                        PROFESSIONAL BLDG
HAYNES MECHANICAL SYSTEMS          DEPT 155                                                                                               DENVER          CO   80271‐0155
HAYNES NARDI (459121)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                                        STREET, SUITE 600
HAYNES NELSON                      HAYNES, CATHY                        PO BOX 1377                                                       OKLAHOMA CITY   OK   73101‐1377
HAYNES NELSON                      HAYNES, NELSON                       PO BOX 1377                                                       OKLAHOMA CITY   OK   73101‐1377
HAYNES NELSON                      HAYNES, THOMAS L                     PO BOX 1377                                                       OKLAHOMA CITY   OK   73101‐1377
HAYNES ROGER                       ICO THE LANIER LAW FIRM P C          6810 FM 1960 WEST                                                 HOUSTON         TX   77069
HAYNES ROGER (485701)              LANIER LAW FIRM                      6810 FM 1960 WEST SUITE 1550                                      HOUSTON         TX   77069
HAYNES SR, MICHAEL L               3330 STADIUM DR                                                                                        KANSAS CITY     MO   64128‐2365
HAYNES SR, ROBERT L                859 GREENFIELD ST SE                                                                                   ATLANTA         GA   30315‐1509
HAYNES SR, TERRY M                 1202 MILL VALLEY CT                                                                                    OXFORD          MI   48371‐6051
HAYNES SR., CEDRIC J               162 FEDERAL ST NW                                                                                      WARREN          OH   44483‐3224
HAYNES TERRY SR                    1202 MILL VALLEY CT                                                                                    OXFORD          MI   48371‐6051
HAYNES VALEEN (429070)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                                        STREET, SUITE 600
HAYNES WILLIAM (660193)            CLAPPER & PATTI                      2330 MARINSHIP WAY STE 140                                        SAUSALITO       CA   94965‐2847
HAYNES WYNN                        110 SUNSET DR                                                                                          FITZGERALD      GA   31750‐8436
HAYNES, ADAM R                     1787 WASHINGTON RD.                                                                                    UNION CITY      OH   45390‐5390
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Name                    Address1                       Address2                      Address3   Address4               City            State   Zip
HAYNES, ADDIE M         5959 YOUNG CROSSING RD                                                                         LOUISVILLE       MS     39339
HAYNES, ALAN E          2730 EDGEFIELD DR                                                                              WATERFORD        MI     48328‐3204
HAYNES, ALBERT          3806 OLD FEDERAL HILL RD                                                                       JARRETTSVILLE    MD     21084‐1632
HAYNES, ALVIN D         2007 E 130TH ST                                                                                COMPTON          CA     90222‐2105
HAYNES, ANDY R          336 VIGILANT ST                                                                                FORISTELL        MO     63348‐1167
HAYNES, ANNIE B         3073 SHATTUCK APT #4                                                                           SAGINAW          MI     48603
HAYNES, ARCHIE          GUY WILLIAM S                  PO BOX 509                                                      MCCOMB           MS     39649‐0509
HAYNES, ARLENE E        4399 EL MONTE ST                                                                               SAGINAW          MI     48638
HAYNES, ARNOLD          STATE FARM                     PO BOX 2371                                                     BLOOMINGTON       IL    61702‐2371
HAYNES, ARNOLD
HAYNES, ARTHUR J        2409 N D ST                                                                                    ELWOOD          IN      46036‐1648
HAYNES, ARTHUR L        4042 WISNER ST                                                                                 SAGINAW         MI      48601‐4248
HAYNES, BARBARA         1995 COUNTY ROAD 461                                                                           POPLAR BLUFF    MO      63901‐7615
HAYNES, BARBARA A       2897 E 800 N                                                                                   ALEXANDRIA      IN      46001‐9219
HAYNES, BARBARA Z       3879 17TH ST                                                                                   ECORSE          MI      48229‐1341
HAYNES, BELINDA J       4020 S JACKSON DR APT 201                                                                      INDEPENDENCE    MO      64057‐1994
HAYNES, BELINDA J       2831 BARROWS ROAD                                                                              COLUMBUS        OH      43232‐4782
HAYNES, BENNY           4439 LOUISE ST                                                                                 SAGINAW         MI      48603‐4139
HAYNES, BENNY D         235 PATT LN                                                                                    POWELL          TN      37849‐7503
HAYNES, BERNARD D       509 WURLITZER DR                                                                               N TONAWANDA     NY      14120‐2328
HAYNES, BERNICE         514 COPEMAN BLVD                                                                               FLINT           MI      48503‐1116
HAYNES, BETTY J         3070 KING RD                                                                                   SAGINAW         MI      48601‐5830
HAYNES, BETTY J         9380 N LEWIS RD                                                                                CLIO            MI      48420‐9780
HAYNES, BETTY J         9380 LEWIS RD                                                                                  CLIO            MI      48420
HAYNES, BETTY L         246 METRO BLVD                                                                                 ANDERSON        IN      46016
HAYNES, BILLY E         15028 KAY CIR                                                                                  MONROE          MI      48161‐3712
HAYNES, BILLY E         800 S BRENTWOOD ST                                                                             OLATHE          KS      66061‐4909
HAYNES, BILLY L         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510‐2212
                                                       STREET, SUITE 600
HAYNES, BOBBY L         4209 LEERDA ST                                                                                 FLINT           MI      48504‐2180
HAYNES, BOBBY LEE       4209 LEERDA ST                                                                                 FLINT           MI      48504‐2180
HAYNES, BOBBY N         1800 MORGAN ST                                                                                 SAGINAW         MI      48602‐5234
HAYNES, BONDENA         18405 E 1650 RD                                                                                STOCKTON        MO      65785‐7362
HAYNES, BONNIE          51 MICHIGAN AVE                                                                                PONTIAC         MI      48342‐2736
HAYNES, BRENDA E        1257 KENSINGTON AVE                                                                            BUFFALO         NY      14215‐1711
HAYNES, BRUCE A         5507 CAMPBELL ST                                                                               SANDUSKY        OH      44870‐9304
HAYNES, BRUCE E         5411 SE PIUTE DR                                                                               LATHROP         MO      64465‐8176
HAYNES, CARILYN         # 126                          12054 GRAND HAVEN STREET                                        HAMTRAMCK       MI      48212‐2133
HAYNES, CARL W          C/O GLASSER AND GLASSER        CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510‐2212
                                                       STREET, SUITE 600
HAYNES, CAROLYN L       1301 W 21ST ST                                                                                 ANNISTON        AL      36201‐3001
HAYNES, CAROLYN S       8109 E 100TH ST                                                                                KANSAS CITY     MO      64134‐1741
HAYNES, CAROLYN S       810 S 9TH ST                                                                                   ELWOOD          IN      46036‐2366
HAYNES, CATHY           MERRITT & ASSOCIATES PC        PO BOX 1377                                                     OKLAHOMA CITY   OK      73101‐1377
HAYNES, CEDRIC B        424 LAKE DOCKERY DR                                                                            BYRAM           MS      39272
HAYNES, CEDRIC L        251 PAWNEE CT                                                                                  GIRARD          OH      44420‐3657
HAYNES, CHARLES         13550 WASHINGTON ST UNIT 4A                                                                    THORNTON        CO      80241‐1009
HAYNES, CHARLES A       4619 BELCOURT DR                                                                               DAYTON          OH      45418‐2103
HAYNES, CHARLES D       160 DEER CREEK TRL                                                                             HOSCHTON        GA      30548‐2118
HAYNES, CHARLES E       1735 COUNTY ROAD 1354                                                                          VINEMONT        AL      35179‐8172
HAYNES, CHARLES T       286 MAGNOLIA ST                                                                                ROCHESTER       NY      14611‐3706
HAYNES, CHONTA T        17904 CACHET ISLE DR                                                                           TAMPA           FL      33647‐2702
HAYNES, CHRISTINA A     6682 ELWOOD ST                                                                                 YOUNGSTOWN      OH      44515‐2111
HAYNES, CHRISTOPHER J   342 GRANT ST                                                                                   GALION          OH      44833‐1817
                            09-50026-mg             Doc 7123-18    Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                        Address1                         Address2              Address3         Address4               City            State Zip
HAYNES, CHRISTOPHER S
HAYNES, CLARA               1240 S AVERS AVE                                                                               CHICAGO         IL    60623‐1325
HAYNES, CLARA J.            1088 N. STEWART                                                                                MANSFIELD       OH    44905‐1550
HAYNES, CLARA J.            1088 STEWART RD N                                                                              MANSFIELD       OH    44905‐1550
HAYNES, CLARENCE E          3448 FOREST MANOR AVE                                                                          INDIANAPOLIS    IN    46218‐1560
HAYNES, CLARICE J           40432 ORANGELAWN AVE                                                                           PLYMOUTH        MI    48170‐6604
HAYNES, CLARICE JO ANNE     40432 ORANGELAWN AVE                                                                           PLYMOUTH        MI    48170‐6604
HAYNES, CLEO                16912 ENDORA RD                                                                                CLEVELAND       OH    44112‐1519
HAYNES, CLIFFORD E          316 RIDGE RD                                                                                   LANCING         TN    37770‐2802
HAYNES, CLINTON             4342 LUCKY CT                                                                                  INDIANAPOLIS    IN    46203‐6245
HAYNES, CLINTON A           G8509 CLIO ROAD                                                                                MOUNT MORRIS    MI    48458
HAYNES, CLYDE               1524 W 9TH ST                                                                                  JACKSONVILLE    FL    32209‐5410
HAYNES, CLYDE S             3838 WAVERLY HILLS RD                                                                          LANSING         MI    48917‐4378
HAYNES, CORIENA E           1571 BERKLEY DR                                                                                HOLT            MI    48842‐1878
HAYNES, CORIENA ELIZABETH   1571 BERKLEY DR                                                                                HOLT            MI    48842‐1878
HAYNES, CORNELIUS           44 REDWOOD DR                                                                                  SAGINAW         MI    48601‐4137
HAYNES, CORTEZ B            2831 BARROWS RD                                                                                COLUMBUS        OH    43232‐4782
HAYNES, CRAIG B             966 CASTLEBAR DR                                                                               NORTH           NY    14120‐2914
                                                                                                                           TONAWANDA
HAYNES, CRAIG BERNARD       966 CASTLEBAR DR                                                                               NORTH            NY   14120‐2914
                                                                                                                           TONAWANDA
HAYNES, CYNTHIA A           501 TURNER RD APT 315                                                                          GRAPEVINE       TX    76051‐7244
HAYNES, CYNTHIA M           1202 MILL VALLEY CT                                                                            OXFORD          MI    48371‐6051
HAYNES, D E                 11130 FM 2953                                                                                  NOCONA          TX    76255‐0990
HAYNES, DANA S              12807 TWYLA LN                                                                                 HARTLAND        MI    48353‐2225
HAYNES, DANNY H             7340 KESSLING ST                                                                               DAVISON         MI    48423‐2450
HAYNES, DANNY HANS          7340 KESSLING ST                                                                               DAVISON         MI    48423‐2450
HAYNES, DAVID A             7837 ANKER DR                                                                                  GALION          OH    44833‐9714
HAYNES, DAVID M             4206 MASON RD                                                                                  SANDUSKY        OH    44870‐9336
HAYNES, DAVID P             171 N MAPLE DR                                                                                 WILLIAMSVILLE   NY    14221‐7220
HAYNES, DEBRA K
HAYNES, DELBERT L           206 RIVERVIEW DR                                                                               ELKVIEW         WV    25701
HAYNES, DELBERT L           206 RIVERVIEW WAY                                                                              ELKVIEW         WV    25071‐9617
HAYNES, DELBERT L           HC 36 BOX 64                                                                                   CHARLESTON      WV    25306‐9706
HAYNES, DELLA               511 NORTH 2ND STREET                                                                           HUGO            OK    74743‐3413
HAYNES, DELLA               511 N 2ND ST                                                                                   HUGO            OK    74743
HAYNES, DEWITT              GUY WILLIAM S                    PO BOX 509                                                    MCCOMB          MS    39649‐0509
HAYNES, DEXTER C            7245 STATE ROUTE 56 SE                                                                         MT STERLING     OH    43143‐9558
HAYNES, DIANA L             6806 ELWYNNE DR.                 APT 2                                                         CINCINNATI      OH    45236
HAYNES, DOCINE              591 WASHINGTON DR                                                                              JONESBORO       GA    30238‐8512
HAYNES, DOLLY               VARAS & MORGAN                   PO BOX 886                                                    HAZLEHURST      MS    39083‐0886
HAYNES, DONALD A            6475 BIRCHVIEW DR                                                                              SAGINAW         MI    48609‐7006
HAYNES, DONALD B            3204 CANADAY DR                                                                                ANDERSON        IN    46013‐2213
HAYNES, DONALD G            2021 CRESCENT DR                                                                               BAY CITY        MI    48706‐9406
HAYNES, DONETA J            311 E TAYLOR ST                                                                                SIMS            IN    46986‐9656
HAYNES, DORISTENE           2834 GATSBY CT                                                                                 LANSING         MI    48906‐3669
HAYNES, DOROTHY L.          4019 E JOHNSON CIR                                                                             CHAMBLEE        GA    30341‐1614
HAYNES, DOYLE B             2390 HAVILAND CT                                                                               MANSFIELD       OH    44903‐6927
HAYNES, DUANE E             19810 W 901 RD                                                                                 COOKSON         OK    74427
HAYNES, DWAYNE W            12308 GREENLEA CHASE W                                                                         OKLAHOMA CITY   OK    73170‐6012
HAYNES, E VIRGINIA          1118 SOUTH 750 WEST                                                                            RUSSIAVILLE     IN    46979‐9738
HAYNES, EDNA M              124 W MANSFIELD AVE                                                                            PONTIAC         MI    48340‐2658
HAYNES, EDWARD              519 S 27TH ST                                                                                  SAGINAW         MI    48601‐6420
HAYNES, EDWARD G            15486 W BEECHER RD                                                                             HUDSON          MI    49247‐9764
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Name                  Address1                        Address2                       Address3   Address4               City              State   Zip
HAYNES, EDWARD H      1317 N BRIARFIELD DR                                                                             LANSING            MI     48910‐5185
HAYNES, EDWIN K       8270 SE 171ST MCALPIN ST                                                                         LADY LAKE          FL     32162
HAYNES, ELAINE D      2509 LANCASTER DR                                                                                SUN CITY CENTER    FL     33573‐6524
HAYNES, ELISE P       3819 E STEEPLECHASE WAY APT A                                                                    WILLIAMSBURG       VA     23188
HAYNES, ELIZABETH L   7220 N EASTERN AVE                                                                               KANSAS CITY        MO     64119‐5359
HAYNES, ELIZABETH T   103 SWANEE LANE                                                                                  WOODSTOCK          GA     30188‐0188
HAYNES, ELIZABETH T   103 SWANEE LN                                                                                    WOODSTOCK          GA     30188‐2497
HAYNES, ELSIE J       7535 IRISH ROAD                                                                                  MILLINGTON         MI     48746‐9592
HAYNES, ELSIE J       7535 IRISH RD                                                                                    MILLINGTON         MI     48746‐9592
HAYNES, ELWOOD L      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA     23510‐2212
                                                      STREET, SUITE 600
HAYNES, EMIND         6255 TWILIGHT DR 111                                                                             ZEPHYRHILLS       FL      33540
HAYNES, ESSIE O       5140 SABRINA LN                                                                                  WARREN            OH      44483‐1278
HAYNES, EUGENE        565 WHITE CITY CIR                                                                               TRACY CITY        TN      37387‐4415
HAYNES, EUGENE S      404 W MARCIA AVE                                                                                 INDEPENDENCE      MO      64050‐1270
HAYNES, EVA C         C/O LINDA JAMES                 926 W POST RD                                                    ANDERSON          IN      46012
HAYNES, EVA C         926 W POST RD                   C/O LINDA JAMES                                                  ANDERSON          IN      46012‐2756
HAYNES, EVON          1691 DURANGO DR                                                                                  DEFIANCE          OH      43512
HAYNES, FLOSSIE M     820 INGLESIDE DR                                                                                 PLANO             TX      75075‐2575
HAYNES, FLOYD E       18405 E 1650 RD                                                                                  STOCKTON          MO      65785‐7362
HAYNES, FOREST C      931 W 19TH ST APT 7                                                                              COSTA MESA        CA      92627‐4141
HAYNES, FRANCIS I     9339 SAINT ANGELAS WAY                                                                           SYLVANIA          OH      43560‐8976
HAYNES, FRANK H       1784 CREST STREET                                                                                HASLETT           MI      48840‐8283
HAYNES, FRANK H       1784 CREST ST                                                                                    HASLETT           MI      48840‐8283
HAYNES, FRED C        3600 OAK MANOR LN APT 9                                                                          LARGO             FL      33774‐1213
HAYNES, FRED C        APT 9                           3600 OAK MANOR LANE                                              LARGO             FL      33774‐1213
HAYNES, FREDDIE R     2607 CALBERT DR                                                                                  INDIANAPOLIS      IN      46219‐1528
HAYNES, FREDDRICK G   1509 CREEKSTONE DR                                                                               COLUMBIA          TN      38401‐6717
HAYNES, G E           44 MORTON DR                                                                                     AMHERST           NY      14226‐3338
HAYNES, GARY A        14130 W MAIN ST                                                                                  DALEVILLE         IN      47334‐9758
HAYNES, GENEVIEVE     332 RUMSTICK RD                                                                                  BARRINGTON        RI      02806‐4935
HAYNES, GEORGE        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD        OH      44067
                                                      PROFESSIONAL BLDG
HAYNES, GEORGE D      26159 POORBOY RD                                                                                 WARSAW            MO      65355‐5047
HAYNES, GEORGE W      4829 GENERAL SQUIER RD                                                                           DRYDEN            MI      48428‐9622
HAYNES, GERALD D      2444 WHISPERING WAY                                                                              INDIANAPOLIS      IN      46239‐9713
HAYNES, GORDON M      165 S OPDYKE RD LOT 43                                                                           AUBURN HILLS      MI      48326‐3146
HAYNES, GREGORY K     13 HACKNEY DR                                                                                    BEAR              DE      19701‐2210
HAYNES, GREGORY S     439 PINNACLE DRIVE                                                                               RAYMORE           MO      64083‐8579
HAYNES, GREGSTON      516 BURLING STREET                                                                               PUNTA GORDA       FL      33950
HAYNES, GWENDOLYN L   7918 JOSHUA TREE CT                                                                              ARLINGTON         TX      76002‐4767
HAYNES, HAROLD G      9686 OSBURN RD                                                                                   SHREVEPORT        LA      71129‐9768
HAYNES, HERMAN T      5006 WILLIAMSTOWN BLVD                                                                           LAKELAND          FL      33810‐3707
HAYNES, HODGES        3339 WESTBROOK ST                                                                                SAGINAW           MI      48601‐6986
HAYNES, ILLBERTA J    5200 CLEVES WARSAW #1                                                                            CINCINNATI        OH      45238‐3836
HAYNES, IRENE M       8270 SE 171ST MCALPIN ST                                                                         THE VILLAGES      FL      32162‐8334
HAYNES, ISAAC         1740 DODSON DR SW                                                                                ATLANTA           GA      30311‐3730
HAYNES, ISAIAH        3309 CIRCLE DR                                                                                   FLINT             MI      48507‐1819
HAYNES, IVA M         7871 W COUNTY RD 275 N                                                                           SHIRLEY           IN      47384‐9648
HAYNES, JACK K        35 SPYGLASS PT                                                                                   NEWNAN            GA      30263‐5941
HAYNES, JAMES D       1172 GENESEE RD                                                                                  ARCADE            NY      14009‐9712
HAYNES, JAMES D       5610 N. MAIN ST.                                                                                 DAYTON            OH      45415
HAYNES, JAMES E       225 ELIZABETH LAKE ROAD                                                                          PONTIAC           MI      48341‐1012
HAYNES, JAMES T       7435 NOWHERE RD                                                                                  HULL              GA      30646‐2521
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Name                  Address1                          Address2                       Address3     Address4               City            State   Zip
HAYNES, JAMES W       120 WILLOW LAKE DR                                                                                   OXFORD           MI     48371‐6376
HAYNES, JANET         4330 HAMLIN WAY                                                                                      WIMAUMA          FL     33598‐4502
HAYNES, JANICE F      RR 2 BOX 223                                                                                         WANETTE          OK     74878‐9765
HAYNES, JEFFREY A     8651 JAFFA COURT EAST DR APT 35                                                                      INDIANAPOLIS     IN     46260‐5331
HAYNES, JEFFREY M     851 W DEXTER TRL                                                                                     MASON            MI     48854‐9615
HAYNES, JERRY B       6047 JERRY LEE DR                                                                                    MILFORD          OH     45150‐2212
HAYNES, JESSE R       3636 N PARKER AVE                                                                                    INDIANAPOLIS     IN     46218‐1258
HAYNES, JIMMY C       219 WOODLAND DRIVE                                                                                   BUFFALO          NY     14223‐1640
HAYNES, JIMMY R       PO BOX 35456                                                                                         CLEVELAND        OH     44135‐0456
HAYNES, JOAN B        C/O CATHY THURSTON                1 AMERICAN SQUARE              SUITE 2000                          INDIANAPOLIS     IN     46282
HAYNES, JOANN M       2244 EVANS RD                                                                                        CLEARWATER       FL     33763‐1016
HAYNES, JOHN          GUY WILLIAM S                     PO BOX 509                                                         MCCOMB           MS     39649‐0509
HAYNES, JOHN E        539 PHEASANT RUN DR                                                                                  ARNOLD           MO     63010‐2313
HAYNES, JOHNELL       3823 ROD PL                                                                                          LAWRENCEVILLE    GA     30044‐3367
HAYNES, JOHNIE L      13935 WOODMONT AVE                                                                                   DETROIT          MI     48227‐1323
HAYNES, JOLNEE P      1357 KING RICHARD PKWY                                                                               DAYTON           OH     45449‐2301
HAYNES, JONATHAN      MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK      AR     72201‐2107
HAYNES, JOSEPH S      470 DALLAS TRT                                                                                       COVINGTON        GA     30014
HAYNES, JOSEPHINE     3339 WESTBROOK ST                                                                                    SAGINAW          MI     48601‐6986
HAYNES, JOSEPHINE L   1803 AUSTIN RD                                                                                       KOKOMO           IN     46901‐1982
HAYNES, JOYCE A       PO BOX 295                                                                                           MOUNT MORRIS     MI     48458‐0295
HAYNES, JOYCE J       7520 N EASTERN AVE                                                                                   KANSAS CITY      MO     64158‐1302
HAYNES, JUDY A        948 EMERSON AVE                                                                                      PONTIAC          MI     48340‐3229
HAYNES, KEITH A       547 BENNINGTON AVE                                                                                   YOUNGSTOWN       OH     44505‐3401
HAYNES, KENNETH E     3518 MELODY LN                                                                                       SAGINAW          MI     48601‐5631
HAYNES, KENNETH G     1112 BROCKWAY ST                                                                                     SAGINAW          MI     48602‐2260
HAYNES, KENNETH L     6835 MEADOW LN                                                                                       BYRNES MILL      MO     63051‐1229
HAYNES, KENNETH L     12419 OSCEOLA AVE                                                                                    CLEVELAND        OH     44108‐4055
HAYNES, KIMBERLY A    4503 IVY CT                                                                                          CLARKSTON        MI     48348‐1437
HAYNES, L C           PO BOX 1182                                                                                          SAGINAW          MI     48606‐1182
HAYNES, L J           PO BOX 3516                                                                                          SAGINAW          MI     48605‐3516
HAYNES, LANNY R       2900 N APPERSON WAY LOT 19                                                                           KOKOMO           IN     46901‐1460
HAYNES, LARRY         244 GRANT ST APT 6                                                                                   BUFFALO          NY     14213
HAYNES, LAVERNE       143 LONGWOOD PLACE DR W                                                                              HATTIESBURG      MS     39402‐4414
HAYNES, LEAH A        10001 S KILDARE AVE                                                                                  OAK LAWN          IL    60453‐4102
HAYNES, LEE C         5343 CLEVELAND AVE                                                                                   KANSAS CITY      MO     64130‐4009
HAYNES, LELAN C       1511 S BURLINGTON DR                                                                                 MUNCIE           IN     47302‐2710
HAYNES, LENA          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD       OH     44067
                                                        PROFESSIONAL BLDG
HAYNES, LEONARD L     PO BOX 11                                                                                            NEW RICHMOND    OH      45157‐0011
HAYNES, LEROY         GUY WILLIAM S                     PO BOX 509                                                         MCCOMB          MS      39649‐0509
HAYNES, LEROY         808 N COLUMBUS AVE                                                                                   LOUISVILLE      MS      39339‐2306
HAYNES, LILLIE BELL   1890 FISCHER DRIVE                                                                                   SAGINAW         MI      48601‐5763
HAYNES, LINCOLN       5917 CANDLEWOOD LN                                                                                   SHREVEPORT      LA      71119‐6303
HAYNES, LINDA A       PO BOX 1378                                                                                          LIBERTY         MO      64069‐1378
HAYNES, LINDA J       118 MAIN PL                                                                                          EULESS          TX      76040‐5473
HAYNES, LORAY         3518 MELODY LN                                                                                       SAGINAW         MI      48601‐5631
HAYNES, LORENE        932 KENSINGTON AVE                                                                                   FLINT           MI      48503
HAYNES, LUCILLE
HAYNES, LURLENE N     ROUTE 2 BOX 86B                                                                                      NEWBERN         TN      38059‐9616
HAYNES, LYNN R        3121 EASTGATE ST                                                                                     BURTON          MI      48519‐1552
HAYNES, MADISON       651 LENOX AVE                                                                                        PONTIAC         MI      48340‐3016
HAYNES, MANUEL T      1760 SCENIC OAK LN                                                                                   MUSKEGON        MI      49445‐1695
HAYNES, MARC P        1009 PIKE STREET                                                                                     SAINT CHARLES   MO      63301‐2905
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HAYNES, MARGIE E       4‐B CAMELOT COURT APT 601                                                                          FAIRFIELD         OH     45014‐7310
HAYNES, MARGIE E       4B CAMELOT CT APT 601                                                                              FAIRFIELD         OH     45014‐7310
HAYNES, MARGUERITE J   127 STARKEY LN                                                                                     ELKTON            MD     21921‐6931
HAYNES, MARIA E        1503 CHESTERFIELD DR                                                                               ANDERSON          IN     46012‐4437
HAYNES, MARILYN K      G8509 N CLIO RD                                                                                    MOUNT MORRIS      MI     48458
HAYNES, MARION J       318 OAKWOOD LANE                                                                                   PERRY             MI     48872
HAYNES, MARJORIE F     4184 BLACKFOOT DR SW                                                                               GRANDVILLE        MI     49418‐1723
HAYNES, MARK S         PO BOX 181154                                                                                      FAIRFIELD         OH     45018
HAYNES, MARSHALL F     PO BOX 175                                                                                         FRENCH VILLAGE    MO     63036‐0175
HAYNES, MARY D         225 ELIZABETH LAKE RD                                                                              PONTIAC           MI     48341‐1012
HAYNES, MARY I         19207 MONTROSE                                                                                     DETROIT           MI     48235‐2310
HAYNES, MARY L         3700 TAHOE DR                                                                                      WARREN            MI     48091‐3923
HAYNES, MATILDA        5917 CANDLEWOOD LN                                                                                 SHREVEPORT        LA     71119‐6303
HAYNES, MELODY         4420 US HIGHWAY 45 N                                                                               HENDERSON         TN     38340‐4015
HAYNES, MICHAEL D      169 N MAPLE DR                                                                                     WILLIAMSVILLE     NY     14221‐7220
HAYNES, MICHAEL J      7726 QUAIL RUN WEST                                                                                KENTWOOD          MI     49508
HAYNES, MICHAEL W      5325 S GENESEE RD                                                                                  GRAND BLANC       MI     48439‐7961
HAYNES, MINNIE L       300 FUDGE AVE                                                                                      EATON             OH     45320‐1001
HAYNES, MINNIE L       300 FUDGE AVENUE                                                                                   EATON             OH     45320‐1001
HAYNES, NANCY L        1280 OAKLAWN DR.                                                                                   PONTIAC           MI     48341
HAYNES, NARDI          GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA     23510‐2212
                                                     STREET, SUITE 600
HAYNES, NARVINA        2421 BELLEVUE AVE                                                                                  COLUMBUS         OH      43207‐2808
HAYNES, NELSON         MERRITT & ASSOCIATES PC       PO BOX 1377                                                          OKLAHOMA CITY    OK      73101‐1377
HAYNES, NICHOLAS D     18665 ROSELAWN ST                                                                                  DETROIT          MI      48221‐2117
HAYNES, NINA L         399 MELROSE LN                                                                                     MOUNT MORRIS     MI      48458‐8924
HAYNES, NINA L         399 MELROSE LANE                                                                                   MOUNT MORRIS     MI      48458‐8924
HAYNES, NORMAN E       839 W 29TH ST                                                                                      INDIANAPOLIS     IN      46208‐5011
HAYNES, ORVILLE        693 BLUECREST DR                                                                                   FAIRBURN         GA      30213‐7900
HAYNES, PATRICIA A     3825 BELL STATION RD                                                                               CIRCLEVILLE      OH      43113‐9518
HAYNES, PATRICIA A     5091 PARKWOOD PL                                                                                   SANTA BARBARA    CA      93111‐1826
HAYNES, PAUL C         1025 COPELAND RD                                                                                   SPARTA           TN      38583‐5705
HAYNES, PAUL R         318 OAKWOOD LN                                                                                     PERRY            MI      48872‐9186
HAYNES, PEARL          3806 OLD FEDERAL HILL RD                                                                           JARRETTSVILLE    MD      21084‐1632
HAYNES, PHILOMENA S    2105 AMBER SPGS                                                                                    MESQUITE         TX      75181
HAYNES, PHYLLIS J      C/O WESLEYAN HEALTH           CARE CENTER                   729 W 35TH ST                          MARION           IN      46953
HAYNES, PRESTON J      4309 E 173RD ST                                                                                    CLEVELAND        OH      44128‐3308
HAYNES, RALEIGH        5642 14TH ST                                                                                       DETROIT          MI      48208‐1605
HAYNES, RALPH          PORTER & MALOUF PA            4670 MCWILLIE DR                                                     JACKSON          MS      39206‐5621
HAYNES, RALPH E        2949 E CUNNINGTON LN                                                                               KETTERING        OH      45420‐3862
HAYNES, RALPH L        311 N LENFESTY AVE                                                                                 MARION           IN      46952‐6202
HAYNES, REGINA LYNN    12011 STAHELIN AVE                                                                                 DETROIT          MI      48228‐1347
HAYNES, REGINALD J     4239 OLIVE ST                                                                                      KANSAS CITY      MO      64130‐1236
HAYNES, REX A          4877 GENERAL SQUIER RD                                                                             DRYDEN           MI      48428‐9622
HAYNES, RHONDALE E     357 POPLAR GROVE CT                                                                                SPRINGBORO       OH      45066‐9174
HAYNES, RICHARD W      2467 WAILEA BEACH DR                                                                               BANNING          CA      92220‐7507
HAYNES, RICKY D        3719 SILVER AVE                                                                                    KANSAS CITY      KS      66106‐2716
HAYNES, RITA E         239 W COLUMBIA AVE                                                                                 BELLEVILLE       MI      48111‐2777
HAYNES, RITA F         PO BOX 5414                                                                                        GAINESVILLE      GA      30504‐0414
HAYNES, ROBERT G       3236 W WILSON RD                                                                                   CLIO             MI      48420‐1957
HAYNES, ROBERT H       4610 ORVIS DR                                                                                      NEWPORT          MI      48166‐9655
HAYNES, ROBERT K       5432 W COUNTY ROAD 300 N                                                                           MIDDLETOWN       IN      47356‐9434
HAYNES, ROBERT M       5131 US 68 NORTH                                                                                   BELLEFONTAINE    OH      43311
HAYNES, ROBERT M       7942 CLAIBORNE ST                                                                                  HOUSTON          TX      77078
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HAYNES, ROBERT N          1518 E PARK ROW DR                                                                                ARLINGTON        TX     76010‐4624
HAYNES, ROBIN K           16100 SHELDON RD                                                                                  BROOK PARK       OH     44142‐3710
HAYNES, ROGER             LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                     HOUSTON          TX     77069
HAYNES, RONALD G          1001 W NORTHRUP ST                                                                                LANSING          MI     48911‐3642
HAYNES, RONALD J          7724 RIVERSIDE DR                                                                                 SAINT HELEN      MI     48656‐9661
HAYNES, RONALD L          5190 W DODGE RD                                                                                   CLIO             MI     48420‐8563
HAYNES, ROSE E            14 MELVILLE LN                                                                                    WILLINGBORO      NJ     08046‐2911
HAYNES, ROSEMARY          2514 AUDRI LANE                                                                                   KOKOMO           IN     46901‐7080
HAYNES, ROXANNE           340 TOWNLINE RD. #151                                                                             NORWALK          OH     44857
HAYNES, ROY D             PO BOX 347                                                                                        BALL GROUND      GA     30107‐0347
HAYNES, ROY T             2875 NORTON LAWN                                                                                  ROCHESTER HLS    MI     48307‐4431
HAYNES, RUSSELL B         916 BRADLEY DR                                                                                    ATHENS           TX     75751‐2956
HAYNES, RUSSELL REX
HAYNES, RUTH N            11527 W PEORIA BAPTIST VILLAGE   COOK HEALTH CARE CENTER                                          YOUNGTOWN       AZ      85363
HAYNES, SAMUEL J          947 PARK LN APT B                                                                                 MIDDLETOWN      OH      45042‐3446
HAYNES, SANDRA K          39 SYLVAN                                                                                         PONTIAC         MI      48341‐2053
HAYNES, SARAH             614 W RANSOM ST                                                                                   KALAMAZOO       MI      49007‐3358
HAYNES, SARAH L           10616 MELLOW MDWS APT 46D                                                                         AUSTIN          TX      78750‐1243
HAYNES, SCHREBA           104 DRENNAN LN                                                                                    LA VERGNE       TN      37086‐2034
HAYNES, SCOTT E           201 LELA LN                                                                                       BUCKNER         MO      64016‐7700
HAYNES, SHELLY            146 KENOSHA                                                                                       GRAND RAPIDS    MI      49507
HAYNES, SHERRY L          9289 EMILY DR.                                                                                    DAVISON         MI      48423‐2868
HAYNES, SHERRY L          110 MATHISON RD                                                                                   TRAVERSE CITY   MI      49605‐1062
HAYNES, SHIRLEY           10719 E 100 S                                                                                     MARION          IN      46953‐9698
HAYNES, SHIRLEY A         1319 SHADOWOOD TRL                                                                                MARIETTA        GA      30066‐3981
HAYNES, SHIRLEY A         PO BOX 94149                                                                                      CLEVELAND       OH      44101‐6149
HAYNES, SPIVA J           3070 KING RD                                                                                      SAGINAW         MI      48601‐5830
HAYNES, STANLEY M         10104 KY HIGHWAY 185                                                                              BOWLING GREEN   KY      42101‐9330
HAYNES, STANLEY MICHAEL   10104 KY HIGHWAY 185                                                                              BOWLING GREEN   KY      42101‐9330
HAYNES, STEPHEN K         1617 CURDES AVENUE                                                                                FORT WAYNE      IN      46805‐2618
HAYNES, SUSAN M           4246 VALLEY VIEW RD APT 3                                                                         EDINA           MN      55424‐1956
HAYNES, SUZANNE C         9339 SAINT ANGELAS WAY                                                                            SYLVANIA        OH      43560‐8976
HAYNES, T B               1202 MILL VALLEY CT                                                                               OXFORD          MI      48371‐6051
HAYNES, THOMAS A          385 LUTZKE RD                                                                                     SAGINAW         MI      48609‐6936
HAYNES, THOMAS L          MERRITT & ASSOCIATES PC          PO BOX 1377                                                      OKLAHOMA CITY   OK      73101‐1377
HAYNES, TIANA DOMONIQUE   3213 COMANCHE AVE                                                                                 FLINT           MI      48507‐4308
HAYNES, TIMOTHY M         1552 RED OAK LN                                                                                   BRENTWOOD       TN      37027‐1816
HAYNES, TIMOTHY M         1552 RED OAK LANE                                                                                 BRENTWOOD       TN      37027‐1816
HAYNES, VALEEN            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA      23510‐2212
                                                           STREET, SUITE 600
HAYNES, VELMA M           308 W 22ND ST                                                                                     ANDERSON        IN      46016‐4211
HAYNES, VELMA M           W3182 COUNTRY AIRE DR                                                                             CAMPBELLSPORT   WI      53010‐2267
HAYNES, VELMA M           7730 CORBIN DR                                                                                    CANTON          MI      48187‐1816
HAYNES, VELMA M           308 WEST 22ND STREET                                                                              ANDERSON        IN      46016‐4211
HAYNES, VELMA M           W.3182 COUNTRY AIRE DR.                                                                           CAMPBELLSPORT   WI      53010‐2267
HAYNES, VELMA M           500 CHOTA VIEW WAY                                                                                LOUDON          TN      37774
HAYNES, VELMON D          144 N SHIELDS LN APT J5                                                                           NATCHEZ         MS      39120‐4100
HAYNES, VERLA F           7730 BENSON ROAD                                                                                  CARROLL         OH      43112‐9790
HAYNES, VERNON OLIS       9380 NORTH LEWIS ROAD                                                                             CLIO            MI      48420‐9780
HAYNES, VICKEY L          7724 RIVERSIDE DR                                                                                 SAINT HELEN     MI      48656‐9661
HAYNES, VIRGINIA J        137 PARKWAY                                                                                       DAVISON         MI      48423
HAYNES, WALTER L          2415 HAMMEL ST                                                                                    SAGINAW         MI      48601‐2444
HAYNES, WALTER R          7245 STATE ROUTE 56 SE                                                                            MT STERLING     OH      43143‐9558
HAYNES, WILLIAM           CLAPPER & PATTI                  2330 MARINSHIP WAY STE 140                                       SAUSALITO       CA      94965‐2847
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Name                           Address1                            Address2                      Address3   Address4               City            State   Zip
HAYNES, WILLIAM A              7403 S DEXTER WAY                                                                                   CENTENNIAL       CO     80122‐2422
HAYNES, WILLIAM E              305 MOORE AVE                                                                                       BUFFALO          NY     14223‐1616
HAYNES, WILLIAM L              170 HAMPSTEAD MNR                                                                                   FAYETTEVILLE     GA     30214‐3463
HAYNES, WILLIAM R              601 MARKET ST                                                                                       CHATTANOOGA      TN     37402
HAYNES, WILLIE                 1800 MORGAN ST                                                                                      SAGINAW          MI     48602‐5234
HAYNES, WILLIE L               2041 AITKEN AVE                                                                                     FLINT            MI     48503‐4212
HAYNES, WILLIE LEE             2041 AITKEN AVE                                                                                     FLINT            MI     48503‐4212
HAYNES, WILLKIE D              2910 TATHAM RD                                                                                      SAGINAW          MI     48601‐7066
HAYNES,TIMOTHY M               1552 RED OAK LN                                                                                     BRENTWOOD        TN     37027
HAYNIE & ASSOCIATES            1465 TED DUNHAM AVE                                                                                 BATON ROUGE      LA     70802‐4364
HAYNIE & ASSOCIATES INC        PO BOX 52129                                                                                        LAFAYETTE        LA     70505‐2129
HAYNIE BROOKS                  475 4TH AVE                                                                                         PONTIAC          MI     48340‐2016
HAYNIE DAVID                   DBA PRECISION TOOL& DESIGN LLC      PO BOX 52                                                       HEFLIN           LA     71039‐0052
HAYNIE GENE M (402215)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                                   STREET, SUITE 600
HAYNIE JACQUELYN R             1108 NILES VIENNA RD                                                                                VIENNA          OH      44473‐9526
HAYNIE, BARBARA D              4647 STATE ROUTE 82                                                                                 NEWTON FALLS    OH      44444‐9511
HAYNIE, BARBARA W              886 RIDGE RD                                                                                        VIENNA          OH      44473‐9735
HAYNIE, BRIAN F                876 WOODS RD                                                                                        BEAR            DE      19701‐2107
HAYNIE, CHARLES D              1419 STEUART ST                                                                                     BALTIMORE       MD      21230‐5364
HAYNIE, CHARLES D              5421 KEEPORT DR APT 3                                                                               PITTSBURGH      PA      15236‐3005
HAYNIE, CHARLES DEAN           1419 STEUART STREET                                                                                 BALTIMORE       MD      21230‐5364
HAYNIE, DAVID E                4647 STATE ROUTE 82                                                                                 NEWTON FALLS    OH      44444‐9511
HAYNIE, DONNA J                2314 MEADOW HAVEN DR                                                                                HUNTINGTON      WV      25704‐9484
HAYNIE, GENE M                 GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510‐2212
                                                                   STREET, SUITE 600
HAYNIE, GREGORY D              2962 ARLINGTON DR                                                                                   SAGINAW         MI      48601‐6980
HAYNIE, HERBERT GARFIELD       LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                      BIRMINGHAM      MI      48009‐5394
HAYNIE, HOWARD G               4991 CREEK RUN RD                                                                                   VIENNA          OH      44473‐9745
HAYNIE, HOWARD G               962 JERRY DR                                                                                        HUBBARD         OH      44425
HAYNIE, IRENE                  17933 WINDFLOWER DR                                                                                 SOUTHFIELD      MI      48076‐2083
HAYNIE, IRENE                  28305 FRANKLIN ROAD                 APT B307                                                        SOUTHFIELD      MI      48034‐5554
HAYNIE, JACQUELYN R            PO BOX 185                                                                                          VIENNA          OH      44473‐0185
HAYNIE, JAMES R                4664 STATE ROUTE 82                                                                                 NEWTON FALLS    OH      44444‐9511
HAYNIE, JANICE L               5200 28TH ST N                      LOT 500                                                         ST PETERSBURG   FL      33714‐2592
HAYNIE, JUNE E                 4509 14TH ST W #704                                                                                 BRADENTON       FL      34207‐1429
HAYNIE, K SHANA
HAYNIE, LORETTA U              1952 IRENE AVE NE                                                                                   WARREN          OH      44483‐3533
HAYNIE, LORETTA U              1952 IRENE N.E.                                                                                     WARREN          OH      44483‐3533
HAYNIE, LORI J                 338 ELMWOOD DR                                                                                      HUBBARD         OH      44425‐1607
HAYNIE, LORI JEAN              338 ELMWOOD DR                                                                                      HUBBARD         OH      44425‐1607
HAYNIE, MICHAEL J              294 E RIDGE DR                                                                                      BROOKLYN        MI      49230‐9048
HAYNIE, MICHAEL JOE            294 EAST RIDGE DRIVE                                                                                BROOKLYN        MI      49230‐9048
HAYNIE, REACIE M               1776 MACK RD                                                                                        SAGINAW         MI      48601‐6836
HAYNIE, RICHARD L              2605 E SPUNKMEYER WAY                                                                               FORT MOHAVE     AZ      86426‐6331
HAYNIE, ROBERT D               647 BENEDICT LEAVITT ROAD                                                                           LEAVITTSBURG    OH      44430‐9755
HAYNIE, ROSE M                 1153 WESTBURY CIR APT 2                                                                             LANSING         MI      48917‐8992
HAYNIE, ROSE M                 1153 WESTBURY CIRCLE                APT. 2                                                          LANSING         MI      48917
HAYNIE, SHARON H               347 MORRISON AVE                                                                                    NEWTON FALLS    OH      44444‐1430
HAYNIE, WALTER E               1108 NILES VIENNA RD                                                                                VIENNA          OH      44473‐9526
HAYNIE, WILLIAM F              4981 MAPLE DR. SE                                                                                   VIENNA          OH      44473‐4473
HAYNIE, WILLIAM F              4981 MAPLE ST                                                                                       VIENNA          OH      44473‐9632
HAYNOR GERALD A                HAYNOR, GERALD A                    PO BOX 3197                                                     SAGINAW         MI      48605‐3197
HAYNOR GERALD A ‐ 2ND ACTION   HAYNOR ‐ 2ND ACTION, GERALD A       1024 N MICHIGAN AVE                                             SAGINAW         MI      48602‐4325
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Name                             Address1                             Address2                            Address3                Address4                 City             State   Zip
HAYNOR, ROBERT W                 3740 KINGSWOOD DR                                                                                                         KETTERING         OH     45429‐4320
HAYNSWORTH MARION MCKAY &        GUERARD                              75 BEATTIE PLACE                                                                     GREENVILLE        SC     29601
HAYNSWORTH SINKLER BOYD, P.A.    ATTY FOR SOUTH CAROLINA AUTOMOBILE   ATTN: WILLIAM H. SHORT, JR., ESQ.   POST OFFICE BOX 11889                            COLUMBIA          SC     29211‐1889
                                 DEALERS ASSOCIATION
HAYOSH, JESSICA L                2823 S WESTNEDGE AVE                                                                                                      KALAMAZOO        MI      49008‐2435
HAYOSH, MARY A                   22511 VAN ST                                                                                                              ST CLAIR SHRS    MI      48081‐3901
HAYOSH, MARYANNE                 22511 VAN                                                                                                                 ST CLAIR SHRS    MI      48081‐3901
HAYOSTEK, ALTON J                2037 LAUREL LAKE DR                                                                                                       MONTEAGLE        TN      37356‐5022
HAYOSTEK, JOSEPH E               2440 MANSFIELD WASHINGTON RD         C/O STACY L CARRINGTON                                                               MANSFIELD        OH      44903‐8879
HAYOT CYNTHIA                    3809 TRADITIONS DR                                                                                                        OLYMPIA FIELDS   IL      60461‐1577
HAYOT SEVERINE                   56 AVENUE A HUYSMANS                                                                             1050 BRUXELLES BELGIUM
HAYRE, MARGARET M                5120 WEST 11TH STREET                                                                                                     TULSA            OK      74127‐4127
HAYRE, MARGARET M                5120 W 11TH ST                                                                                                            TULSA            OK      74127‐7515
HAYRYNEN, DORIS B                N 7745 EVERGREEN DR                                                                                                       CHRISTMAS        MI      49862‐8951
HAYRYNEN, DORIS B                N7745 EVERGREEN DR                                                                                                        CHRISTMAS        MI      49862‐8951
HAYRYNEN, JACOB E                N7745 EVERGREEN DR                                                                                                        CHRISTMAS        MI      49862‐8951
HAYS & SONS COMPLETE RSTRTN      ATTN: GEORGE DAVIDSON                1300 S HOYT AVE                                                                      MUNCIE           IN      47302‐3116
HAYS CHEVROLET                   2917 VINE ST                                                                                                              HAYS             KS      67601‐1929
HAYS COUNTY TAX ASSESSOR         102 N LBJ, COURTHOUSE ANNEX                                                                                               SAN MARCOS       TX      78666
HAYS COUNTY TAX ASSESSOR         COURTHOUSE ANNEX                     102 LBJ DRIVE                                                                        SAN MARCOS       TX      78666
HAYS DANIEL (445130)             KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                                        CLEVELAND        OH      44114
                                                                      BOND COURT BUILDING
HAYS DC                          5252 BALBOA AVE STE 1002                                                                                                  SAN DIEGO        CA      92117‐7011
HAYS DON                         HAYS, DON                            34635 HWAY 16                                                                        WOODLAND         CA      95695
HAYS FAMILY LIMITED PARTNESHIP   7517 HIGHLAND AVE SW                                                                                                      WARREN           OH      44481‐8644
HAYS HUDSON                      THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                                          HOUSTON          TX      77017
HAYS III, JOHN A                 1969 LIVE OAK TRL                                                                                                         WILLIAMSTON      MI      48895‐9344
HAYS JR, CHARLES J               143 COUNTRY CLUB DR                                                                                                       LANSDALE         PA      19446‐1457
HAYS JR, GLEN W                  2393 WAVERLY DR                                                                                                           LOVELAND         CO      80538‐5371
HAYS MAUD                        HAYS, MAUD                           5055 WILSHIRE BLVD STE 300                                                           LOS ANGELES      CA      90036‐6101
HAYS MISTY                       HAYS, MISTY                          EVANS & BAILEY                      359 NORTH BROADWAY                               TUPELO           MS      38804
                                                                                                          STREET
HAYS OSCAR ESTATE OF COURTNEY    2832 KENFORD ROAD                                                                                                         WATERFORD         MI     48329‐2923
KATHLEEN
HAYS SR, BARRY W                 1008 JEFFREY RD DARLEY WOODS                                                                                              WILMINGTON       DE      19810
HAYS SR, KENNETH R               433 N HARTFORD AVE                                                                                                        YOUNGSTOWN       OH      44509‐1722
HAYS WARREN J & DORIS M          7517 HIGHLAND AVE SW                                                                                                      WARREN           OH      44481‐8644
HAYS, AGNES L                    5056 WALDEN AVE #5056                                                                                                     FORT WORTH       TX      76132
HAYS, ALAN E                     1153 PANAMA AVE                      LOTT 666                                                                             MOUNT MORRIS     MI      48458
HAYS, ALMA I.                    9705 HICKORY HOLLOW RD LOT 49                                                                                             LEESBURG         FL      34788‐9364
HAYS, ANTHONY
HAYS, BERNA L                    1330 NORTH SIDNEY AVENUE             APT B6                                                                               STERLING         CO      80751
HAYS, BESSIE ALICE               105 MAPLEWOOD R#2                                                                                                         ROSCOMMON        MI      48653‐8518
HAYS, BILLIE A                   4513 N O ST                                                                                                               FORT SMITH       AR      72904‐6609
HAYS, BOBBY D                    PO BOX 551                                                                                                                BIG SANDY        TN      38221‐0551
HAYS, BOBBY W                    2025 WANDA AVE                                                                                                            NORWOOD          OH      45212‐3011
HAYS, BRYAN A                    3809 FLINTWOOD TRL                                                                                                        FORT WORTH       TX      76137‐1360
HAYS, BRYAN ALAN                 3809 FLINTWOOD TRL                                                                                                        FORT WORTH       TX      76137‐1360
HAYS, CARL                       1819 EBBTIDE LN                                                                                                           DALLAS           TX      75224‐4113
HAYS, CAROL                      1006 E NORTH MAIN ST                                                                                                      RICHMOND         MO      64085‐2905
HAYS, CHARLES E                  2179 S VASSAR RD                                                                                                          DAVISON          MI      48423‐2376
HAYS, CHARLES R                  133 FARNEN RD                                                                                                             MONTGOMERY CY    MO      63361‐4001
HAYS, CHERYL S                   2495 CANYON CREEK RD                                                                                                      ESCONDIDO        CA      92025
HAYS, CHRISTINA M                207 RAYMOND DR                                                                                                            O FALLON         MO      63366‐1348
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Name                Address1                        Address2                       Address3   Address4               City              State Zip
HAYS, CYNTHIA J     47809 SKYVIEW DR                                                                                 E LIVERPOOL        OH 43920‐9651
HAYS, DANIEL        KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                     CLEVELAND          OH 44114
                                                    BOND COURT BUILDING
HAYS, DAVID B       911 WOODLAND DR                                                                                  MCKEESPORT        PA   15133‐3733
HAYS, DAVID J       2308 N CARRIAGE LN                                                                               MUNCIE            IN   47304‐9008
HAYS, DAVID R       1819 NW 20TH ST                                                                                  CAPE CORAL        FL   33993‐4925
HAYS, DENORIS L     9803 EASTON AVE                                                                                  CLEVELAND         OH   44104‐5425
HAYS, DON           34635 STATE HIGHWAY 16                                                                           WOODLAND          CA   95695‐9371
HAYS, DONALD F      639 ALPINE CT                                                                                    ROCHESTER HILLS   MI   48309‐2435
HAYS, DONNA         22667 REVERE ST                                                                                  ST CLAIR SHRS     MI   48080‐2883
HAYS, DORIS L       5274 COOLEY LAKE RD                                                                              WATERFORD         MI   48327‐2817
HAYS, DOUGLAS R     7846 SPIETH RD                                                                                   LITCHFIELD        OH   44253‐9728
HAYS, EBONY M       2042 BRENT DR                                                                                    SHREVEPORT        LA   71108‐2212
HAYS, EDNA          2354 CASTLERIDGE CT                                                                              TUCKER            GA   30084‐3903
HAYS, EDNA E        2354 CASTLERIDGE CT                                                                              TUCKER            GA   30084‐3903
HAYS, EDNA M        3201 RIVER PARK DR APT 755                                                                       FORT WORTH        TX   76116‐9516
HAYS, EDWARD        322 OTTER CREEK DR              C/O JILL I ENGEL                                                 VENICE            FL   34292‐2398
HAYS, ELFRIEDE      6109 AVOCET CIR                                                                                  HOBART            IN   46342‐6938
HAYS, EMERY V       6704 WILBURN RD                                                                                  WILBURN           AR   72179‐9735
HAYS, ETHEL G       7320 WALNUT ST                                                                                   KANSAS CITY       MO   64114‐1445
HAYS, ETHEL G       7320 WALNUT                                                                                      KANSAS CITY       MO   64114‐1445
HAYS, ETHEL O       11517 IRENE DRIVE                                                                                WARREN            MI   48093‐2562
HAYS, ETHEL O       11517 IRENE AVE                                                                                  WARREN            MI   48093‐2562
HAYS, FLORENCE A    4611 HANNAFORD ST                                                                                DAYTON            OH   45439‐2719
HAYS, FRANK J       2354 CASTLERIDGE CT                                                                              TUCKER            GA   30084‐3903
HAYS, FREDERICK L   301 CLEARVIEW DRIVE                                                                              PLEASANT HILL     MO   64080‐1801
HAYS, GARLAND D     975 COUNTY ROAD 258                                                                              FORT PAYNE        AL   35967‐7085
HAYS, GARY L        43396 STATE ROUTE 154                                                                            LISBON            OH   44432‐8334
HAYS, GARY P        231 LIGHTHOUSE TER                                                                               FRANKLIN          TN   37064‐6773
HAYS, GERALD L      165 S OPDYKE RD LOT 138                                                                          AUBURN HILLS      MI   48326‐3169
HAYS, GERALD L      LOT 138                         165 SOUTH OPDYKE ROAD                                            AUBURN HILLS      MI   48326‐3169
HAYS, HAZELINE      3521 DRY RUN ROAD                                                                                CHILLICOTHE       OH   45601‐9445
HAYS, HELEN E       120 W ADAMS AVE APT 317                                                                          KIRKWOOD          MO   63122‐4084
HAYS, J S           1832 LAKESIDE LN                                                                                 INDIANAPOLIS      IN   46229‐9750
HAYS, JACK R        79 MULBERRY ST                                                                                   DAVISON           MI   48423
HAYS, JAMES M       4535 JOHNSVILL‐BROOKVILLE RD                                                                     BROOKVILLE        OH   45309‐5309
HAYS, JAMES M       4535 JOHNSVILLE BROOKVILLE RD                                                                    BROOKVILLE        OH   45309‐9305
HAYS, JAMES R       207 RAYMOND DR                                                                                   O FALLON          MO   63366‐1348
HAYS, JENNIFER J    2509 LAKE DR                                                                                     ANDERSON          IN   46012‐1824
HAYS, JERRY R       2009 RIDGEFIELD CT                                                                               ROCHESTER HILLS   MI   48306‐4046
HAYS, JESSIE D      4810 HITTLE DR                                                                                   INDIANAPOLIS      IN   46239‐1717
HAYS, JIM H         1215 SHELBY AVE                                                                                  ALEXANDRIA        IN   46001‐2546
HAYS, JOHN T        1788 RIDGE RD                                                                                    WHITE LAKE        MI   48383‐1784
HAYS, JONATHAN V    911 CENTRAL AVE 273                                                                              ALBANY            NY   12206
HAYS, JULIE J       496 SHIRLLEY ANN DRIVE                                                                           CENTREVILLE       OH   45458‐5458
HAYS, JULIE J       496 SHIRLEY ANN DR                                                                               CENTERVILLE       OH   45458‐4034
HAYS, KARLYN E      69134 HIGHWAY 50                                                                                 TIPTON            MO   65081‐3127
HAYS, KATHRYN M     1630 SKIERS ALY                                                                                  LAPEER            MI   48446‐8415
HAYS, KELLY D       1630 SKIERS ALY                                                                                  LAPEER            MI   48446‐8415
HAYS, KENNETH M     11707 LAWNDALE AVE                                                                               KANSAS CITY       MO   64137‐2709
HAYS, KIM E         PO BOX 86                                                                                        FARLEY            MO   64028‐0086
HAYS, LALIA Y       1360 BIRCHWOOD DR                                                                                COLUMBUS          OH   43228‐9726
HAYS, LANNY R       803 RACE ST                                                                                      FRANKTON          IN   46044
HAYS, LARRY J       7401 PECK RD                                                                                     RAVENNA           OH   44266‐9797
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Name                         Address1                            Address2                      Address3   Address4               City               State   Zip
HAYS, LISA L                 4129 EAGLE WATCH WAY                                                                                DAYTON              OH     45424
HAYS, LUTHER M               445 BALSAM CT                                                                                       MARCO ISLAND        FL     34145‐3804
HAYS, MAE A                  1618 E LATOKA                                                                                       SPRINGFIELD         MO     65804
HAYS, MARILYN L              1600 FAIRWAY CT                                                                                     PLEASANT HILL       MO     64080‐1013
HAYS, MARVIN D               PO BOX 17458                                                                                        WINSTON SALEM       NC     27116‐7458
HAYS, MARY J                 267 RUE ORLEANS                                                                                     BONNE TERRE         MO     63628‐9233
HAYS, MARY L                 8025 ST. RT. #7                                                                                     ROGERS              OH     44455‐9735
HAYS, MELVIN K               HC 73 BOX 707                                                                                       ARNOLDSBURG         WV     25234‐9523
HAYS, MICHAEL R              5164 JIMTOWN RD                                                                                     E PALESTINE         OH     44413
HAYS, MICHAEL R              5986 ANGLERS DR                                                                                     ORTONVILLE          MI     48462‐9507
HAYS, MINERVA IRENE          1112 BLACKTHORN ROAD                                                                                LOUISVILLE          KY     40299
HAYS, MISTY                  EVANS & BAILEY                      359 N BROADWAY ST                                               TUPELO              MS     38804‐3925
HAYS, NANCY M                PO BOX 2371                                                                                         AVALON              CA     90704‐2371
HAYS, NORMAN C               329 HAWLEY ST                                                                                       LOCKPORT            NY     14094‐2729
HAYS, RALPH W                2206 EBY AVE                                                                                        FORT WAYNE          IN     46802‐6730
HAYS, RAYMOND L              6851 E COUNTY ROAD 100 N                                                                            AVON                IN     46123‐9398
HAYS, RAYMOND T              2495 CANYON CREEK RD                                                                                ESCONDIDO           CA     92025
HAYS, RICHARD L              8724 SW STATE ROUTE 7                                                                               BLUE SPRINGS        MO     64014‐5718
HAYS, ROBERT G               2947 NIGHTINGALE ST                                                                                 ROCHESTER HILLS     MI     48309‐3420
HAYS, ROBERT H               361 OPEL ST                                                                                         RIVERDALE           GA     30274‐3410
HAYS, ROBERT M               11661 SPARKS DAVIS RD                                                                               KEITHVILLE          LA     71047‐7549
HAYS, ROGER A                1212 DOUD DR                                                                                        KOKOMO              IN     46902‐5807
HAYS, ROSALEE                2400 SCARLETT LANE                                                                                  CONYERS             GA     30013
HAYS, SANDRA                 1788 RIDGE ROAD                                                                                     WHITE LAKE          MI     48383‐1784
HAYS, SHARON B               4209 BARRET AVE                                                                                     PLANT CITY          FL     33566‐9555
HAYS, SHARON BATTLES         4209 BARRET AVE                                                                                     PLANT CITY          FL     33566
HAYS, SHIRLEY A              42024 GREENWOOD DR                                                                                  CANTON              MI     48187‐3615
HAYS, SHIRLEY J              2504 BEECHCRAFT ST                                                                                  PLANO               TX     75025‐6013
HAYS, STEVEN D               43633 GOLDBERG DR                                                                                   STERLING HEIGHTS    MI     48313‐1870
HAYS, TERRY L                780 W HIGH ST                                                                                       WASHINGTONVIL       OH     44490‐9604
HAYS, TERRY L                780 HIGH ST                                                                                         WASHINGTONVILLE     OH     44490‐9604

HAYS, THELMA M               5976 HIGHLAND RD                                                                                    HIGHLAND HEIGHTS   OH      44143‐2012

HAYS, TRUDY A                7292 108TH ST                                                                                       FLUSHING           MI      48433
HAYS, TYSON F                1003 MITCHELL AVE                                                                                   RICHMOND           MO      64085‐1455
HAYS, VALETA J               5911 ELIZABETH NICOLE LN APT 3802   THE VILLAS BY THE LAKE                                          FORT WORTH         TX      76119‐8885
HAYS, VIRGINIA B             4008 MCKINLEY AVE                                                                                   ANDERSON           IN      46013‐5051
HAYS, VIVIAN B               165 S OPDYKE RD LOT 138                                                                             AUBURN HILLS       MI      48326‐3169
HAYS, WARREN J               7517 HIGHLAND AVE SW                                                                                WARREN             OH      44481‐8644
HAYS, WILLIAM C              413 LELAND ST                                                                                       FLUSHING           MI      48433‐1342
HAYS, WILLIAM E              2480 E HILL RD                                                                                      GRAND BLANC        MI      48439‐5064
HAYS, WILLIAM S              6629 OWLS HEAD DR APT H                                                                             INDIANAPOLIS       IN      46217‐8760
HAYS, WILLIAM S              69516 HIGHWAY 50                                                                                    TIPTON             MO      65081‐3119
HAYSE ALFRED F JR (401942)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510
                                                                 STREET, SUITE 600
HAYSE, ALFRED F              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                                 STREET, SUITE 600
HAYSE, DAVID C               7237 KINGS CROSS ST                                                                                 AVON                IN     46123‐8402
HAYSE, JOSEPHINE             1117 HEATHERWOOD DRIVE                                                                              INDIANAPOLIS        IN     46241
HAYSE, ONA I                 5866 CHEROKEE DRIVE                                                                                 MILTON              FL     32570‐6514
HAYSE, PATRICIA              RT 3 BOX 366                                                                                        BLOOMFIELD          IN     47424‐9580
HAYSE, PATRICIA              7098 S MOUTAIN SPRINGS DR                                                                           BLOOMFIELD          IN     47424‐5603
HAYSE, RUSSELL A             6277 W 600 N                                                                                        MC CORDSVILLE       IN     46055‐9516
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Name                      Address1                       Address2                     Address3   Address4               City               State   Zip
HAYSE, TONY A             2592 S BO MAR LN                                                                              GREENFIELD          IN     46140‐2577
HAYSELDEN, AUDREY L       3331 WEATHERED ROCK CIR                                                                       KOKOMO              IN     46902
HAYSER, JAMES E           18 MELROSE TER                                                                                ELIZABETH           NJ     07208‐1706
HAYSLETT JR, MARVEL D     HC 61 BOX 51A                                                                                 WILEYVILLE          WV     26581‐9704
HAYSLETT, AMBER L         5560 LAKEVIEW RD                                                                              CORTLAND            OH     44410‐9555
HAYSLETT, JAMES C         5398 LAKEVIEW RD                                                                              CORTLAND            OH     44410‐9513
HAYSLETT, KIMBERLY S      APT 4C                         525 WEST CUMBERLAND STREET                                     LEWISBURG           OH     45338‐8910
HAYSLETT, MARLENE K       41386 SCHADDEN RD                                                                             ELYRIA              OH     44035‐2223
HAYSLETT, MICHAEL J       5560 LAKEVIEW RD                                                                              CORTLAND            OH     44410‐9555
HAYSLETT, RODNEY          8619 E MARKET ST                                                                              WARREN              OH     44484‐2347
HAYSLETT, STEVEN L        2414 JOHN R RD APT 101                                                                        TROY                MI     48083‐2582
HAYSLETT, WILLIAM H       92 COUNTY LINE RD                                                                             BUCHANAN            VA     24066‐2549
HAYSLIP CHARLES           305 RIVERWOOD BLVD                                                                            KUTTAWA             KY     42055
HAYSLIP, ALICE M          99 A STREET                                                                                   WILMINGTON          OH     45177‐1369
HAYSLIP, ALICE M          99 A ST                                                                                       WILMINGTON          OH     45177‐1369
HAYSLIP, BETTY J          20 CLINCHFIELD CT                                                                             NEW LEBANON         OH     45345‐1523
HAYSLIP, GREGORY A        PO BOX 60800                                                                                  ROCHESTER           NY     14606‐0800
HAYSLIP, JAMES W          4776 STATE ROUTE 350                                                                          CLARKSVILLE         OH     45113‐9418
HAYSLIP, JASON M          78 EASTLAND AVE                                                                               ROCHESTER           NY     14618‐1030
HAYSLIP, MARGARET         4776 STATE ROUTE 350                                                                          CLARKSVILLE         OH     45113
HAYSLIP, PAUL A           503 ELK RUN                                                                                   SHELTON             CT     06484‐2844
HAYSLIP, PHILIP C         7838 TICK NECK ROAD                                                                           PASADENA            MD     21122‐2263
HAYSLIP, ROBERT A         99 A ST                                                                                       WILMINGTON          OH     45177‐1369
HAYSLIP, SIMONE M         14308 BIDWELL AVE                                                                             CLEVELAND           OH     44111‐1453
HAYSSEN INC               225 SPARTANGREEN BLVD                                                                         DUNCAN              SC     29334‐9425
HAYTEE NORMAN             1520 JENNY LINN DR                                                                            HENDERSON           NV     89014‐7539
HAYTER, BARBARA A         35250 FREEDOM RD APT 209                                                                      FARMINGTON HILLS    MI     48335‐4056

HAYTER, DARYL L           17744 GLENMORE                                                                                REDFORD            MI      48240‐2158
HAYTER, SHIRLEY L         1020 E NYE HWY                                                                                CHARLOTTE          MI      48813‐9144
HAYTER, TASHEMA MONNISE   APT 538                        7710 HOLLISWOOD COURT                                          CHARLOTTE          NC      28217‐3135
HAYTH II, RONALD G        1431 MALLARD DR                                                                               BURTON             MI      48509
HAYTH, JOSEPH J           2412 SUWANEE POINTE DR                                                                        LAWRENCEVILLE      GA      30043‐1329
HAYTH, JOSEPH JAMES       2412 SUWANEE POINTE DR                                                                        LAWRENCEVILLE      GA      30043‐1329
HAYTH, RONALD G           1431 MALLARD DR                                                                               BURTON             MI      48509‐1560
HAYTH, ROY C              5 CEDAR RUN LN APT 10                                                                         LAKE ST LOUIS      MO      63367‐2708
HAYTH, ROY C.             5 CEDAR RUN LN APT 10                                                                         LAKE ST LOUIS      MO      63367‐2708
HAYTH, SHERRY L           1431 MALLARD DR 72                                                                            BURTON             MI      48509
HAYTH, WILLIAM T          4 HIGH VIEW ST                                                                                CALIFON            NJ      07830‐4123
HAYTHAM FAYYAD            PO BOX 9022                    C/O GM KOREA                                                   WARREN             MI      48090‐9022
HAYTHAM OBEID             2123 MORRIS AVE                                                                               BURTON             MI      48529‐2179
HAYTHAM OBEID             1478 PROPER AVE                                                                               BURTON             MI      48529‐2046
HAYTHORN, DONA M          1000 ANDREW ST. APT 202                                                                       MUNHALL            PA      15120
HAYTO, JAMES E            4427 PALM AVE                                                                                 LORAIN             OH      44055‐3552
HAYTO, PAMELA J           4427 PALM AVE                                                                                 LORAIN             OH      44055‐3552
HAYTON JR, CHARLES E      10207 FRANCES RD                                                                              FLUSHING           MI      48433‐9221
HAYTON, GARY R            2606 MUIRFIELD DR                                                                             WESTLAND           MI      48186‐5491
HAYTON, JAMES D           2022 MICHIGAN AVE                                                                             LIMA               NY      14485‐9522
HAYTON, JOHN D            7229 BRILLS LAKE RD                                                                           JACKSON            MI      49201‐9618
HAYTON, JOHN D            23 BRANDI ST                                                                                  BELLEVILLE         MI      48111
HAYTON, MARYANNE          23 BRANDI STREET                                                                              BELLEVILLE         MI      48111‐6154
HAYTON, MARYANNE          7229 BRILLS LAKE RD                                                                           JACKSON            MI      49201‐9618
HAYTON, ROBERT B          4325 E 29TH ST LOT 71                                                                         DES MOINES         IA      50317‐8863
HAYWALD, CLIFFORD V       5415 HANLEY                                                                                   WATERFORD          MI      48327‐2562
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Name                            Address1                          Address2                          Address3   Address4               City               State   Zip
HAYWALD, DENNIS L               408 PINECLIFF CT                                                                                      WATERFORD           MI     48327‐1794
HAYWALD, HELEN P                408 PINECLIFF CT                                                                                      WATERFORD           MI     48327‐1794
HAYWALD, VERLIN L               4837 SANDPIPER DR                                                                                     SAINT JAMES CITY    FL     33956‐2812
HAYWARD BRUFF JR                8303 E 6 MILE CREEK RD            PO BOX 205                                                          NEW LOTHROP         MI     48460‐9734
HAYWARD BRYANT                  90 BROOKVIEW PL                                                                                       OXFORD              GA     30054‐4155
HAYWARD CHEVROLET               PO BOX 1846                                                                                           FREMONT             CA     94538‐0184
HAYWARD CHEVROLET CADILLAC      RICHARD HAYWARD                   1 MAIN AVE                                                          TILLAMOOK           OR     97141‐2315
HAYWARD DELBERT A (ESTATE OF)   MOTLEY RICE                       312 SOUTH MAIN STREET ‐ P O BOX                                     PROVIDENCE           RI    02940
(481783)                                                          6067, SUITE 402
HAYWARD DUNN                    215 LEOTA BLVD                                                                                        WATERFORD          MI      48327‐3633
HAYWARD FARLEY                  9312 CORNELL ST                                                                                       TAYLOR             MI      48180‐3475
HAYWARD FERGUSON                285 EVERGREEN RD                                                                                      FITZGERALD         GA      31750‐7456
HAYWARD GILL                    12 CHERRYWOOD CT                                                                                      SAINT PETERS       MO      63376‐6663
HAYWARD GREGG                   34 E BALBACH AVE                                                                                      NEW CASTLE         DE      19720‐4027
HAYWARD HADLEY JR               142 CARR ST                                                                                           PONTIAC            MI      48342‐1767
HAYWARD HALE                    200 PLATTE AVE                                                                                        EDGERTON           MO      64444‐9185
HAYWARD HAYNES                  LPL FINANCIAL                     6200 FOREST HILLS DR                                                AUSTIN             TX      78746
HAYWARD JR, ARTHUR P            978 OTTLAND SHRS                                                                                      LAKE ODESSA        MI      48849‐9475
HAYWARD JR, DONALD              6500 LYMAN AVE                                                                                        DOWNERS GROVE      IL      60516‐2917
HAYWARD JR, HAROLD H            239 ROCK SPRINGS DR                                                                                   NEW BRAUNFELS      TX      78130‐3071
HAYWARD MARPLE                  HC 72 BOX 57                                                                                          IRELAND            WV      26376‐9518
HAYWARD MC GOUGH                34275 GLOUSTER CIR                                                                                    FARMINGTN HLS      MI      48331‐1517
HAYWARD MILLER                  18903 SANTA BARBARA DR                                                                                DETROIT            MI      48221‐2151
HAYWARD RUSHING                 5738 FERRELL DR                                                                                       SHREVEPORT         LA      71129‐5130
HAYWARD SEYMORE JR              1818 VALLEY LN                                                                                        FLINT              MI      48503‐4517
HAYWARD SMITH                   378 FURNACE ST                                                                                        ELYRIA             OH      44035‐5065
HAYWARD THOMAS                  C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY, STE 600                                          HOUSTON            TX      77007
                                BOUNDAS, LLP
HAYWARD TILLAMOOK CHEVROLET     1 MAIN AVE                                                                                            TILLAMOOK          OR      97141‐2315
HAYWARD TURNER                  533 KELLEY CT                                                                                         FORT WORTH         TX      76120‐1701
HAYWARD WILLIAMS                5401 HILLEN RD                                                                                        BALTIMORE          MD      21239‐3614
HAYWARD WOODS                   479 PARKCLIFFE AVE                                                                                    YOUNGSTOWN         OH      44511
HAYWARD, ALBERT O               13115 HUBBARD LAKE RD                                                                                 HUBBARD LAKE       MI      49747‐9540
HAYWARD, ANGELA W               6222 COLONIAL GARDEN DR                                                                               HUNTERSVILLE       NC      28078‐1236
HAYWARD, AUDREY                 15679 SIGWALT DR                                                                                      CLINTON TWP        MI      48038‐3631
HAYWARD, BEEBE C                717 OAKMONT CIR                                                                                       FRUIT HEIGHTS      UT      84037‐1742
HAYWARD, BEULAH                 2700 SHIMMONS RD LOT 179                                                                              AUBURN HILLS       MI      48326‐2050
HAYWARD, BEULAH                 2700 SHIMMONS ROAD                #179                                                                AUBURN HILLS       MI      48326‐2050
HAYWARD, BRAD A                 13718 STROTHEIDE RD NE                                                                                BELDING            MI      48809‐9303
HAYWARD, CALVIN E               6208 W 62ND TER                                                                                       MISSION            KS      66202
HAYWARD, CHRISTOPHER J.         262 BETTY ST                                                                                          ORTONVILLE         MI      48462‐8828
HAYWARD, DANIEL E               404 LUCE AVE                                                                                          FLUSHING           MI      48433‐1717
HAYWARD, DAVID L                4086 7 MILE RD                                                                                        BAY CITY           MI      48706‐9425
HAYWARD, DAWN                   11799 PLAINS RD                                                                                       EATON RAPIDS       MI      48827‐9750
HAYWARD, DEAN W                 1430 SCHAFER DR                                                                                       BURTON             MI      48509‐1547
HAYWARD, DEAN W                 6484 STONEHEARTH PASS                                                                                 GRAND BLANC        MI      48439‐9000
HAYWARD, DEANDRE                KIMMEL & SILVERMAN PC             501 SILVERSIDE RD STE 118                                           WILMINGTON         DE      19809‐1376
HAYWARD, DELBERT A              MOTLEY RICE                       321 S MAIN ST                     STE 200                           PROVIDENCE         RI      02903‐7109
HAYWARD, DIANNE                 4355 SASHABAW RD                                                                                      WATERFORD          MI      48329‐1957
HAYWARD, DONALD K               PO BOX 462                                                                                            HILLMAN            MI      49746‐0462
HAYWARD, DONALD L               17886 CRYSTAL RIVER DR                                                                                MACOMB             MI      48042‐2383
HAYWARD, EARL D                 11251 N US HIGHWAY 129                                                                                BRANFORD           FL      32008‐7180
HAYWARD, EDWARD E               12555 DORWOOD RD                                                                                      BURT               MI      48417‐2358
HAYWARD, ELIZABETH C            5994 RED FEATHER DR                                                                                   BAY CITY           MI      48706‐3490
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HAYWARD, FLETCHER B            13717 MCGUIRE ST                                                                                 TAYLOR             MI     48180‐4469
HAYWARD, FOSTER                5955 SHULTE AVE                                                                                  SAINT LOUIS        MO     63136‐4921
HAYWARD, FRED C                6222 COLONIAL GARDEN DR                                                                          HUNTERSVILLE       NC     28078‐1236
HAYWARD, GORDON L              12521 RAILROAD RD                                                                                CLIO               MI     48420‐8231
HAYWARD, GREGORY M             849 S LINCOLN RD                                                                                 BAY CITY           MI     48708‐9667
HAYWARD, GREGORY MICHAEL       849 S LINCOLN RD                                                                                 BAY CITY           MI     48708‐9667
HAYWARD, HAROLD                15679 SIGWALT DR                                                                                 CLINTON TWP        MI     48038‐3631
HAYWARD, HAROLD H              1165 N COATS RD                                                                                  OXFORD             MI     48371‐3103
HAYWARD, HAROLD J              1675 FAIR OAK DR                                                                                 ROCHESTER HILLS    MI     48309‐2508
HAYWARD, HOWARD R              31683 CARLISLE PKWY                                                                              WAYNE              MI     48184‐1941
HAYWARD, JANE A                6370 APPOLD DR                                                                                   OSCODA             MI     48750‐9228
HAYWARD, JEAN L                PO BOX 25                                                                                        BREEDSVILLE        MI     49027‐0025
HAYWARD, JERRY F               55 RANDALL DR                                                                                    TAYLORS            SC     29687‐6328
HAYWARD, JOHN D                8112 EATON CT                                                                                    INDIANAPOLIS       IN     46239‐1516
HAYWARD, JOHN E                2639 W BLACKMORE RD                                                                              MAYVILLE           MI     48744‐9765
HAYWARD, JOHN F                1374 COUNTY ROAD 23                                                                              RANBURNE           AL     36273‐3013
HAYWARD, JOHNNIE M             14224 STRATHMORE AVE                                                                             E CLEVELAND        OH     44112‐3256
HAYWARD, KEITH D               2441 CHERYL ANN DR                                                                               BURTON             MI     48519‐1329
HAYWARD, LARRY L               2700 SHIMMONS RD LOT 103                                                                         AUBURN HILLS       MI     48326‐2037
HAYWARD, LEROY E               706 W FRANK ST                                                                                   CARO               MI     48723‐1426
HAYWARD, LEROY W               5578 LUM RD                                                                                      ATTICA             MI     48412‐9384
HAYWARD, LOIS J                14119 PATTERSON DR                                                                               SHELBY TOWNSHIP    MI     48315‐4292
HAYWARD, MARGARET M            1430 SCHAFER DR                                                                                  BURTON             MI     48509‐1547
HAYWARD, MARION J              537 PIKE RD                                                                                      FARWELL            MI     48622‐9424
HAYWARD, MARJORIE A            2420 OAK NOLL                                                                                    AUBURN HILLS       MI     48326
HAYWARD, MARJORIE A            2420 OAKNOLL ST                                                                                  AUBURN HILLS       MI     48326‐3133
HAYWARD, OMAGENE               114 COUNTY ROAD 1021                                                                             CUNNINGHAM         KY     42035‐9410
HAYWARD, RICHARD               4508 S HUGHES AVE                                                                                FORT WORTH         TX     76119
HAYWARD, RICHARD K             4805 HESS RD                                                                                     VASSAR             MI     48768‐8909
HAYWARD, ROGER D               1564 N BLOCK RD                                                                                  REESE              MI     48757‐9334
HAYWARD, ROGER DON             1564 N BLOCK RD                                                                                  REESE              MI     48757‐9334
HAYWARD, ROGER L               2222 MACLAREN DR                                                                                 HIGHLAND           MI     48357‐3632
HAYWARD, RONALD C              6900 N RIVER HWY                                                                                 GRAND LEDGE        MI     48837‐9378
HAYWARD, RONALD J              PO BOX 781                                                                                       PENDLETON          OR     97801‐0781
HAYWARD, SALLY                 PO BOX 376                                                                                       BIRCH RUN          MI     48415‐0376
HAYWARD, SANDRA K              2799 ANGELUS CIR                                                                                 WATERFORD          MI     48329‐2503
HAYWARD, TAMARA L              2837 WALING WOODS DR                                                                             HIGHLAND           MI     48356‐2170
HAYWARD, THOMAS W              22554 REMINGTON CT                                                                               ELKHART            IN     46514
HAYWARD, WALTER A              2663 S LACEY LAKE RD                                                                             BELLEVUE           MI     49021‐9489
HAYWARD, WAYNE K               310 LANSING ST                                                                                   EATON RAPIDS       MI     48827‐1028
HAYWARD, WAYNE L               13250 OYSTER LAKE RD                                                                             HOLLY              MI     48442‐8300
HAYWARD, WAYNE LYNN            13250 OYSTER LAKE RD                                                                             HOLLY              MI     48442‐8300
HAYWARD, WOODROW I             1733 BRANDYWINE DR                                                                               BLOOMFIELD         MI     48304‐1111
HAYWARD, WOODROW III           1733 BRANDYWINE DR                                                                               BLOOMFIELD         MI     48304‐1111
HAYWOOD BULLOCK                11926 233RD ST                                                                                   JAMAICA            NY     11411‐2230
HAYWOOD CONNIE                 GOLISH, ROBERT                    601 CALIFORNIA ST STE 1400                                     SAN FRANCISCO      CA     94108‐2819
HAYWOOD CONNIE                 HAYWOOD, CONNIE                   601 CALIFORNIA ST STE 1400                                     SAN FRANCISCO      CA     94108‐2819
HAYWOOD COUNTY                 1 N WASHINGTON AVE                                                                               BROWNSVILLE        TN     38012‐2554
HAYWOOD COUNTY TAX COLLECTOR   PO BOX 30548                                                                                     CHARLOTTE          NC     28230‐0548
HAYWOOD CROSSING & STATION     135 HAYWOOD CROSSING RD                                                                          GREENVILLE         SC     29607‐4393
APARTMENTS
HAYWOOD GLOVER                 4308 DUMFRIES CIR                                                                                LANSING           MI      48911‐2573
HAYWOOD GREENWOOD JR           3945 APT 34 W JOLLY RD                                                                           LANSING           MI      48911
HAYWOOD HARRIS                 6991 BROOKMILL RD                                                                                BALTIMORE         MD      21215‐1334
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HAYWOOD III, GILLIAM     1929 KENDRICK STREET                                                                              SAGINAW             MI 48602‐1128
HAYWOOD III, GILLIAM     1309 LAMSON STREET                                                                                SAGINAW             MI 48601‐3455
HAYWOOD JOHNSON          2038 DARON PL                                                                                     FLINT               MI 48505‐1002
HAYWOOD JR, HAROLD J     PO BOX 92                                                                                         GOODRICH            MI 48438‐0092
HAYWOOD JR, HENRY        634 LAFAYETTE RD                                                                                  CLARKSVILLE         TN 37042
HAYWOOD JR, OSCAR        11532 PATRICK DR                                                                                  SEBEWAING           MI 48759‐9771
HAYWOOD JR, THOMAS       729 E YORK AVE                                                                                    FLINT               MI 48505‐2265
HAYWOOD KAREN            HAYWOOD, KAREN                    5055 WILSHIRE BLVD STE 300                                      LOS ANGELES         CA 90036‐6101
HAYWOOD LAWHORNE         1704 QUEENS RD                                                                                    KINSTON             NC 28501‐2862
HAYWOOD LILACHI          HAYWOOD, LILACHI                  745 W 4TH AVE STE 300                                           ANCHORAGE           AK 99501‐2157
HAYWOOD M JOHNSON        2038 DARON PL                                                                                     FLINT               MI 48505‐1002
HAYWOOD MC ELRATH        23605 DEZIEL ST                                                                                   SAINT CLAIR SHORES MI 48082‐1122

HAYWOOD MORGAN SR        C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                       HOUSTON            TX   77007
                         BOUNDAS LLP
HAYWOOD NICHOLS          33 BURBAGE CT                                                                                     BALTIMORE         MD    21236‐2558
HAYWOOD PATTERSON        1251 CURWOOD CT SE                                                                                KENTWOOD          MI    49508‐4620
HAYWOOD SIMPSON          THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX    77017
HAYWOOD STEVEN           1959 COUNTY ROAD 135                                                                              SUCCESS           AR    72470‐8068
HAYWOOD TINSLEY          1532 OWEN ST                                                                                      SAGINAW           MI    48601‐2850
HAYWOOD WILBURN          1902 ROCKBROOK COURT                                                                              SNELLVILLE        GA    30078‐6421
HAYWOOD WRIGHT           31342 BRIDGEGATE DRIVE                                                                            WESLEY CHAPEL     FL    33545‐8221
HAYWOOD'S AUTO SERVICE   1495 DOWNS RD                                                                                     MOUNT OLIVE       AL    35117
HAYWOOD, ALAN T          2114 AINSWORTH ST                                                                                 FLINT             MI    48532‐3901
HAYWOOD, ALTON C         8311 PLAINVIEW AVE                                                                                DETROIT           MI    48228
HAYWOOD, BELVIA          100 DETROIT BLVD S                                                                                LAKE ORION        MI    48362‐1912
HAYWOOD, BETTIE O        9518 SANDUSKY AVE                                                                                 CLEVELAND         OH    44105‐2361
HAYWOOD, BEVERLY J.      223 E 53RD ST                                                                                     ANDERSON          IN    46013‐1718
HAYWOOD, BEVERLY SUE     P O BOX 5                                                                                         LESLIE            MI    49251‐0005
HAYWOOD, BEVERLY SUE     PO BOX 5                                                                                          LESLIE            MI    49251‐0005
HAYWOOD, BRENDA A        COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                         HOUSTON           TX    77002‐1751
HAYWOOD, CHARLES W       66 GELLMORE LN                                                                                    ACWORTH           GA    30101‐5942
HAYWOOD, CONNIE          GIRARD GIBBS & DEBARTOLOMEO LLP   601 CALIFORNIA ST STE 1400                                      SAN FRANCISCO     CA    94108‐2819
HAYWOOD, DONALD W        321 FITZNER DR                                                                                    DAVISON           MI    48423‐1947
HAYWOOD, EARL L          945 W MUSKEGON DR                                                                                 GREENFIELD        IN    46140‐7247
HAYWOOD, EMILY LYNN      8915 MAPLEWOOD AVE                                                                                CLARKSTON         MI    48348‐3433
HAYWOOD, EMMA L          1511 PARKER DR APT A                                                                              CHARLOTTE         NC    28209‐6290
HAYWOOD, ETTA E          G‐1274 E HARVARD AVE                                                                              FLINT             MI    48505
HAYWOOD, EVELYN M        208 CANE CREEK ROAD                                                                               HOHENWALD         TN    38462‐5347
HAYWOOD, FANNIE M        4352 W EUCLID ST                                                                                  DETROIT           MI    48204‐2443
HAYWOOD, FRANK A         3664 W HAMILTON ST                                                                                HARRISON          MI    48625‐9750
HAYWOOD, FRANK ARTHUR    3664 W HAMILTON ST                                                                                HARRISON          MI    48625‐9750
HAYWOOD, FRED O          3606 LAPEER RD                                                                                    FLINT             MI    48503‐4502
HAYWOOD, GEORGE          8915 MAPLEWOOD AVE                                                                                CLARKSTON         MI    48348‐3433
HAYWOOD, JACKIE          8915 MAPLEWOOD AVENUE                                                                             CLARKSTON         MI    48348‐3433
HAYWOOD, JAMES E         3440 MAURA CT                                                                                     INDIANAPOLIS      IN    46235‐2223
HAYWOOD, JAMES V         3487 MILLS ACRES ST                                                                               FLINT             MI    48506‐2171
HAYWOOD, JEAN M          1585 N OXFORD RD                                                                                  OXFORD            MI    48371‐2533
HAYWOOD, JEANETTE P      2103 ALFREDO AVE                                                                                  THE VILLAGES      FL    32159‐9479
HAYWOOD, JOHN A          PO BOX 38                                                                                         LINDEN            MI    48451‐0038
HAYWOOD, JOHN R          PO BOX 638                                                                                        DAVISON           MI    48423‐0638
HAYWOOD, JUDY J          448 HIGHTOWER DR                                                                                  DEBARY            FL    32713‐4541
HAYWOOD, KELLY R         2712 HEATHER WOOD LN APT 305                                                                      ARLINGTON         TX    76006‐3406
HAYWOOD, LAMERLE J       2539 BRENTFORD PL                                                                                 DECATUR           GA    30032‐5622
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Name                          Address1                             Address2                     Address3   Address4               City               State   Zip
HAYWOOD, LE'KITA              4725 HICKORY WAY                                                                                    ANTIOCH             TN     37013‐5617
HAYWOOD, LEE R                N2197 COUNTY ROAD A                                                                                 FORT ATKINSON       WI     53538‐9156
HAYWOOD, LILACHI              3050 BROOKVIEW ST                                                                                   ANCHORAGE           AK     99504
HAYWOOD, LILACHI              BUTLER REX LAMONT & ASSOCIATES INC   745 W 4TH AVE STE 300                                          ANCHORAGE           AK     99501‐2157

HAYWOOD, LOIS E               609 N MORTON ST LOT 71                                                                              SAINT JOHNS        MI      48879
HAYWOOD, MARIE                3705 BRAMBLETON PL                                                                                  FOREST HILL        TX      76119‐6765
HAYWOOD, MARY A               73 ANDOVER AVE                                                                                      BUFFALO            NY      14215‐2709
HAYWOOD, MELANIE R            4725 HICKORY WAY                                                                                    ANTIOCH            TN      37013‐5617
HAYWOOD, MILLARD F            8215 PLAIN CITY GEORGESVILLE RD NE                                                                  PLAIN CITY         OH      43064‐8969
HAYWOOD, MINNIE M             3510 RUE FORET APT 6                                                                                FLINT              MI      48532‐2835
HAYWOOD, MYRTLE               PO BOX 807                                                                                          LOYALO             KY      40854
HAYWOOD, PAMELA F             PO BOX 337                                                                                          GREENWOOD          LA      71033‐0337
HAYWOOD, PATRICIA M           618 CLAYTON                                                                                         RECTOR             AR      72461
HAYWOOD, RICHARD L            909 ADDISON ST 1                                                                                    FLINT              MI      48505
HAYWOOD, ROBERT BLAINE        10010 FULTON ST E                                                                                   ADA                MI      49301‐8925
HAYWOOD, ROBERT L             2539 BRENTFORD PL                                                                                   DECATUR            GA      30032‐5622
HAYWOOD, RODNEY A             23 DELAWARE AVE APT 203B                                                                            PENNS GROVE        NJ      08069‐1354
HAYWOOD, RODNEY ALLEN         23 DELAWARE AVE APT 203B                                                                            PENNS GROVE        NJ      08069‐1354
HAYWOOD, RONALD J             7035 ROSEWOOD DR                                                                                    FLUSHING           MI      48433‐2280
HAYWOOD, ROSE A               5119 W 66TH TER                                                                                     SHAWNEE MISSION    KS      66208‐1464

HAYWOOD, ROSE B               3812 EVERGREEN PKWY                                                                                 FLINT               MI     48503‐4534
HAYWOOD, ROSETTA
HAYWOOD, RUTH A               2875 SILVERSTONE LN                                                                                 WATERFORD          MI      48329‐4536
HAYWOOD, SAMUEL N             18621 SORRENTO ST                                                                                   DETROIT            MI      48235‐1322
HAYWOOD, SARAH E              1373 EAST BLVD                                                                                      CLEVELAND          OH      44106
HAYWOOD, SHARI A              2928 GAMMA LN                                                                                       FLINT              MI      48506‐1834
HAYWOOD, SHARI ANN            2928 GAMMA LN                                                                                       FLINT              MI      48506‐1834
HAYWOOD, SHELLEY              309 E LORADO AVE                                                                                    FLINT              MI      48505‐2164
HAYWOOD, SHELLY SUE           COON & ASSOCS BRENT                  917 FRANKLIN ST STE 210                                        HOUSTON            TX      77002‐1751
HAYWOOD, SID D                10010 FULTON ST E                                                                                   ADA                MI      49301‐8925
HAYWOOD, SID D.               10010 FULTON ST E                                                                                   ADA                MI      49301‐8925
HAYWOOD, THOMAS A             21253 YONTZ RD LOT 96                THREE SEASONS MOBILE COURT                                     BROOKSVILLE        FL      34601‐1654
HAYWOOD, VIRGINIA M           13865 SEAVIEW WAY                                                                                   ANACORTES          WA      98221‐8558
HAYWOOD, WALKER D             358 SCENIC HWY                                                                                      LAWRENCEVILLE      GA      30045‐5673
HAYWOOD, WILIE                GUY WILLIAM S                        PO BOX 509                                                     MCCOMB             MS      39649‐0509
HAYWOOD, WILLIAM E            6009 CAYCE LN                                                                                       COLUMBIA           TN      38401‐7001
HAYWOOD, WILLIAM G            3268 HIGHWAY 219                                                                                    WALLINS CREEK      KY      40873‐9007
HAYWORTH, BARRY L             4015 CRUMPS RD                                                                                      PORTAGE            MI      49002‐1901
HAYWORTH, DAVID L             231 W HARRIMAN AVE                                                                                  BARGERSVILLE       IN      46106‐8910
HAYWORTH, DONALD F            5416 N OAK RIDGE RD                                                                                 MORGANTOWN         IN      46160‐8869
HAYWORTH, EILEEN              560 PICUDA COURT                                                                                    CINCINNATI         OH      45238‐5209
HAYWORTH, EILEEN              560 PICUDA CT                                                                                       CINCINNATI         OH      45238‐5209
HAYWORTH, JOHN S              328 N IRVINGTON AVE                                                                                 INDIANAPOLIS       IN      46219‐5718
HAYWORTH, MARION A            7755 ROSA DR                                                                                        INDIANAPOLIS       IN      46237‐8608
HAYWORTH, STEVEN L            28727 WINTERGREEN                                                                                   FARMINGTON HILLS   MI      48331‐3018

HAYWORTH, THOMAS C            1714 TOWE STRING RD                                                                                 INDIANAPOLIS        IN     46217‐4667
HAYWORTH, VICTOR M            4050 HAZELWOOD ST                                                                                   DETROIT             MI     48204‐2410
HAZ‐MAT RESPONSE INC          1203C S PARKER ST                                                                                   OLATHE              KS     66061‐4200
HAZ‐MAT RESPONSE INC          1203 S PARKER ST #C                                                                                 OLATHE              KS     66061
HAZARD EXPRESS COMPANY        PO BOX 1599                                                                                         HAZARD              KY     41702‐1599
HAZARD LABEL ADVISORIES INC   2230 GLENDENNING RD                                                                                 KALAMAZOO           MI     49001‐4115
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Name                            Address1                       Address2                          Address3   Address4               City             State   Zip
HAZARD MILDRED                  PO BOX 105                                                                                         NORTH NORWICH     NY     13814‐0105
HAZARD, BETHANY A               2553 SWAYZE ST                                                                                     FLINT             MI     48503‐3352
HAZARD, EDWARD L                1713 W CINNABAR AVE                                                                                PHOENIX           AZ     85021‐2050
HAZARD, GARY D                  14068 PLACID DR                                                                                    HOLLY             MI     48442‐8308
HAZARD, GERALD A                7428 CANTERBURY DR                                                                                 LAMBERTVILLE      MI     48144‐9726
HAZARD, GERALD ALVIN            7428 CANTERBURY DR                                                                                 LAMBERTVILLE      MI     48144‐9726
HAZARD, HERMAN I                2225 KANSAS AVE                                                                                    SAGINAW           MI     48601‐5530
HAZARD, JAMES L                 2809 FIELDING ST                                                                                   FLINT             MI     48503‐3072
HAZARD, MARK V.                 8709 N CHESTNUT AVE            APT 303                                                             KANSAS CITY       MO     64156‐2978
HAZARD, MARTINA I               6370 E COLDWATER RD                                                                                FLINT             MI     48506‐1214
HAZARD, SAM W                   BOONE ALEXANDRA                205 LINDA DR                                                        DAINGERFIELD      TX     75638‐2107
HAZARDOUS SUBSTANCE SUPERFUND   EPA REGION II SUPERFUND BR     290 BROADWAY 17TH FL                                                NEW YORK          NY     10007
HAZARI MONESH                   805 WINDIGO LN                                                                                     OTSEGO            MI     49078‐1535
HAZE L MCCLARY                  13 STAL MAR CIR                                                                                    ROCHESTER         NY     14624
HAZE MORRISON                   3685 ROWLAND RD                                                                                    VASSAR            MI     48768‐9551
HAZE R MORRISON                 3685 ROWLAND RD                                                                                    VASSAR            MI     48768‐9551
HAZEBROOK JR, ROBERT B          PO BOX 325                                                                                         VESTABURG         MI     48891‐0325
HAZEKAMP, RUTH                  2275 WHISPER COVE .                                                                                GRAND RAPIDS      MI     49508‐3780
HAZEL A CANOUN                  ALBERT C CANOUN                599 WALNUT AVE                                                      WALNUT CREEK      CA     94598
HAZEL A JODEIT                  46 DUPONT AVE                                                                                      TONAWANDA         NY     14150‐7723
HAZEL A STUDEBAKER              5401 NEWELL DR                                                                                     KETTERING         OH     45440
HAZEL A YOUNG                   1521 BISCAYNE DR                                                                                   TOLEDO            OH     43612‐4002
HAZEL ACCORSINI                 100 SUMMER ST APT 204                                                                              HOLLISTON         MA     01746‐2264
HAZEL ADAMCZYK                  4258 NIAGARA ST                                                                                    WAYNE             MI     48184‐2259
HAZEL AITKENS                   229 BROOKLYN AVE                                                                                   HOUMA             LA     70364‐3052
HAZEL AKERS                     1446 BYRON AVE                                                                                     YPSILANTI         MI     48198‐3109
HAZEL ALEXANDER                 16906 LIPTON AVE                                                                                   CLEVELAND         OH     44128‐3622
HAZEL ALICE B                   HAZEL, ALICE B                 101 MULBERRY STREET EAST PO BOX                                     HAMPTON           SC     29924
                                                               457
HAZEL ALLEN                     5311 STAUGHTON DR                                                                                  INDIANAPOLIS     IN      46226‐2255
HAZEL AMUNDSON                  2548 W SPRING CREEK RD                                                                             BELOIT           WI      53511‐8440
HAZEL ANDERSON                  132 NORTHSIDE CHURCH RD                                                                            LUCEDALE         MS      39452‐5130
HAZEL ANTCLIFF                  10665 GALAXY DR NE                                                                                 ROCKFORD         MI      49341‐9757
HAZEL ARMSTRONG                 8230 COUNTY ROAD T                                                                                 LIBERTY CENTER   OH      43532‐9735
HAZEL ARNETT                    2404 HILLDALE BLVD                                                                                 ARLINGTON        TX      76016‐1917
HAZEL ARNOLD                    2624 WOODBRIDGE AVE                                                                                CLEVELAND        OH      44109‐2166
HAZEL ARNOLD                    1166 BOOTH RD SW APT 906                                                                           MARIETTA         GA      30008‐3513
HAZEL ATKIN                     396 MELROSE LN                                                                                     MOUNT MORRIS     MI      48458‐8924
HAZEL ATKINSON‐WILLIS           120 TUDOR RD                                                                                       CHEEKTOWAGA      NY      14215‐2924
HAZEL AUGHENBAUGH               130 PATRICIA AVE LOT 2                                                                             DUNEDIN          FL      34698‐8106
HAZEL AUSTIN                    PO BOX 514                                                                                         CHESANING        MI      48616‐0514
HAZEL B HARTFORD                1444 PRIMROSE AVE                                                                                  TOLEDO           OH      43612‐4027
HAZEL B MCCLAIN                 3530 JERREE ST                                                                                     LANSING          MI      48911‐2632
HAZEL B ROY                     PO BOX 42                                                                                          RAYMONDVILLE     NY      13678‐0042
HAZEL BADEN                     PO BOX 343                                                                                         BARGERSVILLE     IN      46106‐0343
HAZEL BAILEY                    2910 S LEATON RD APT 40                                                                            MT PLEASANT      MI      48858‐7389
HAZEL BAJOREK                   22355 METAMORA LANE                                                                                BEVERLY HILLS    MI      48025‐3613
HAZEL BAJOREK                   22355 METAMORA LN              C/O RONALD J BAJOREK                                                BEVERLY HILLS    MI      48025‐3613
HAZEL BALLMAN                   PO BOX 382                                                                                         LYNCHBURG        OH      45142‐0382
HAZEL BANES                     8039 CAMARGO RD                                                                                    CINCINNATI       OH      45243‐2201
HAZEL BARKER                    PO BOX 564                                                                                         CALLAHAN         FL      32011‐0564
HAZEL BARNHART                  APT 201B                       122 WELCOME WAY BOULEVARD                                           INDIANAPOLIS     IN      46214‐3092
HAZEL BARR                      2081 COBRA CT                                                                                      CANTON           MI      48188‐6308
HAZEL BARTO                     5007 STATE ROUTE 46                                                                                CORTLAND         OH      44410‐9607
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Name               Address1                      Address2              Address3         Address4               City             State   Zip
HAZEL BEAUDRY      3296 BROOKGATE DR                                                                           FLINT             MI     48507‐3209
HAZEL BEETS        470 E POPLAR ST                                                                             OLATHE            KS     66061‐3349
HAZEL BEIGHLEY     28262 POST HOLLOW LN                                                                        LONE ROCK         WI     53556‐5065
HAZEL BENNETT      4885 SPRING MEADOW DR                                                                       CLARKSTON         MI     48348‐5155
HAZEL BERRY        2948 VICKSBURG ST                                                                           DETROIT           MI     48206‐2355
HAZEL BERRY        1409 DALE DR                                                                                LEXINGTON         KY     40517‐3311
HAZEL BISHOP       106 VIEW ST                                                                                 BLACK MOUNTAIN    NC     28711‐3024
HAZEL BISSELL      2142 CHERRY TREE LN                                                                         PEACHTREE CITY    GA     30269‐2978
HAZEL BLACK        5045 SAINT CLAIR ST                                                                         DETROIT           MI     48213‐3346
HAZEL BLACK        97 DOGWOOD LN                                                                               AUBURN            GA     30011‐2815
HAZEL BLACKMON     7806 BELL TOWER LN                                                                          FAIRBURN          GA     30213‐3020
HAZEL BLOOM        530 MILLER DR                                                                               MEDINA            OH     44256‐1624
HAZEL BLOSS        201 N VERNON RD                                                                             CORUNNA           MI     48817‐9531
HAZEL BODA         2450 OLD MACKINAW RD                                                                        CHEBOYGAN         MI     49721‐9310
HAZEL BOEHRINGER   3484 PARIS DR                                                                               MORAINE           OH     45439‐1222
HAZEL BONEBRAKE    1100 BELCHER RD S LOT 112                                                                   LARGO             FL     33771‐3351
HAZEL BOONE        PO BOX 1095                                                                                 FITZGERALD        GA     31750‐1095
HAZEL BOURNE       950 WOODWINDS DR                                                                            COOKEVILLE        TN     38501‐4084
HAZEL BOX          1627 MILLERS COURT                                                                          NOBLESVILLE       IN     46060‐1674
HAZEL BOYETT       1611 SHERWOOD OAKS DR SW                                                                    DECATUR           AL     35603‐4467
HAZEL BOYETTE      436 HARMONY CIR                                                                             JOHNSON CITY      TN     37615‐2794
HAZEL BOYLE        2648 COREY ST                                                                               WATERFORD         MI     48328‐2722
HAZEL BOZEN        9137 S TROY AVE                                                                             EVERGREEN PK       IL    60805‐1629
HAZEL BRAY         324 E CRAGMONT DR                                                                           INDIANAPOLIS      IN     46227‐2143
HAZEL BREEDLOVE    PO BOX 102                                                                                  ROCKWOOD          TN     37854‐0102
HAZEL BROCK        12262 MANNING PL                                                                            MEDWAY            OH     45341‐9620
HAZEL BROTHERS     2041 FRANCE LN                                                                              CHEBOYGAN         MI     49721‐9408
HAZEL BROWN        4437 AVERY ST                                                                               DETROIT           MI     48208‐2743
HAZEL BROWN        143 CULLMAN RD                                                                              COLUMBUS          OH     43207‐3063
HAZEL BROWN        3170 MEADOW LN NE                                                                           WARREN            OH     44483‐2634
HAZEL BROWN        PO BOX 5411                                                                                 FLINT             MI     48505‐0411
HAZEL BROWN        3928 LOR RON ST                                                                             KENT              OH     44240‐6430
HAZEL BROWN        20 N BEAVER ST APT 84                                                                       JORDAN            NY     13080‐9544
HAZEL BROWN        6001 SPRINGBORO PIKE                                                                        DAYTON            OH     45449‐3251
HAZEL BRYANT       1607 HARVEST HILL LN                                                                        ARLINGTON         TX     76016‐1421
HAZEL BUCHANAN     5551 HICKS ROAD                                                                             BLAIRSVILLE       GA     30512
HAZEL BUFORD       1745 PHILADELPHIA AVE SE                                                                    GRAND RAPIDS      MI     49507‐2253
HAZEL BURDEN       2226 LINCOLN AVE                                                                            SAGINAW           MI     48601‐3340
HAZEL BURDETT      821 N PARKVIEW CIR                                                                          MOORE             OK     73170‐1113
HAZEL BURGESS      6352 MCKENZIE DR                                                                            FLINT             MI     48507‐3889
HAZEL BURKS        4965 BEACON HILL RD                                                                         COLUMBUS          OH     43228‐1297
HAZEL BURLESON     12538 MCDOUGALL ST                                                                          DETROIT           MI     48212‐2263
HAZEL BURTON       3910 NORLEDGE DR                                                                            DAYTON            OH     45414‐5031
HAZEL BUTLER       PO BOX 26                                                                                   FITZGERALD        GA     31750‐0026
HAZEL CAMPBELL     9228 GRANT 58                                                                               REDFIELD          AR     72132‐8570
HAZEL CAMPBELL     104 BALDWIN AVE                                                                             WINCHESTER        KY     40391‐2208
HAZEL CAMPBELL     1362 E HIGHWOOD RD                                                                          BEAVERTON         MI     48612‐9432
HAZEL CAMPBELL     33688 WIDENER VALLEY RD                                                                     DAMASCUS          VA     24236‐2956
HAZEL CARIS        3409 BARBEE DR                                                                              DAYTON            OH     45406‐1106
HAZEL CARLTON      5722 N STATE ROAD 39                                                                        LIZTON            IN     46149‐9530
HAZEL CARLTON      13070 SIMMS ST                                                                              DETROIT           MI     48205‐3264
HAZEL CARNES       21 COLLINS ST                                                                               CABOT             AR     72023‐2803
HAZEL CARR         4327 W BUCKINGHAM CT                                                                        ANDERSON          IN     46013‐4467
HAZEL CARRIER      12343 ADAMS ST                                                                              MOUNT MORRIS      MI     48458‐3208
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Name                       Address1                        Address2              Address3         Address4               City               State   Zip
HAZEL CAUDELL              PO BOX 143                                                                                    REDFIELD            AR     72132‐0143
HAZEL CHAMBERLAIN          7400 46TH AVE N LOT 132                                                                       ST PETERSBURG       FL     33709‐2547
HAZEL CHAMBERS             1851 BROWN STATION RD                                                                         BEDFORD             IN     47421‐7585
HAZEL CHATMAN              PO BOX 273                      3802 TAYLOR                                                   CARROLLTON          MI     48724‐0273
HAZEL CLARK                29 MEADOW RD                                                                                  NEW CASTLE          DE     19720‐1513
HAZEL CLARK‐FULLER         4833 E HERITAGE CIR                                                                           MUNCIE              IN     47303‐2695
HAZEL CLARKE               7183 N BRAY RD                                                                                MOUNT MORRIS        MI     48458‐8989
HAZEL CLEFFMAN             PO BOX 675                                                                                    LAPEER              MI     48446‐0675
HAZEL CLINE                2124 GAY DR                                                                                   KETTERING           OH     45420‐1405
HAZEL COATS                3443 W 2ND ST                                                                                 DAYTON              OH     45417‐1747
HAZEL COCHRAN              130 COTTSFORD DR SW                                                                           ATLANTA             GA     30331‐8376
HAZEL COLEMAN              4 EDGAR CIR                                                                                   ORCHARD PARK        NY     14127‐1602
HAZEL COLLINS              2292 N MORELAND AVE                                                                           INDIANAPOLIS        IN     46222‐4850
HAZEL COMBS                1508 LAMBERTON ST                                                                             MIDDLETOWN          OH     45044‐6416
HAZEL CONRAD               31502 HARTFORD DR                                                                             WARREN              MI     48088‐7309
HAZEL COOK                 1299 S SHIAWASSEE                                                                             OWOSSO              MI     48867
HAZEL CORBIN               4 E ALEXANDRINE ST APT 828                                                                    DETROIT             MI     48201‐2041
HAZEL COUNSEL              121 W MCCLELLAN ST                                                                            FLINT               MI     48505‐4072
HAZEL COX                  15075 LINCOLN ST APT 336                                                                      OAK PARK            MI     48237‐1259
HAZEL CRAFT                PO BOX 96                       103 S 1ST ST                                                  WEST LEBANON        IN     47991‐0096
HAZEL CREE                 8628 SOUTH 125 EAST                                                                           GALVESTON           IN     46932
HAZEL CRONK                201 N ELMS RD                                                                                 FLUSHING            MI     48433‐1829
HAZEL CURTIS               641 CAMBRIDGE DR                                                                              MIDDLETOWN          OH     45042
HAZEL CYPRET               680 3RD AVE                                                                                   PONTIAC             MI     48340‐2008
HAZEL D FIFE               19 S OUTER DR                                                                                 VIENNA              OH     44473‐9777
HAZEL D NORRIS             283 CHANDLER ST                                                                               DETROIT             MI     48202‐2826
HAZEL DALTON               15 SAINT LAURENCE DR                                                                          FLORISSANT          MO     63031‐3834
HAZEL DANIELS              6689 GRIFFORE DR                                                                              SAGINAW             MI     48604‐9718
HAZEL DAUPHINAIS           28260 ELDORADO PL                                                                             LATHRUP VILLAGE     MI     48076‐2620
HAZEL DAVIS                2025 N 40TH ST                                                                                KANSAS CITY         KS     66104‐3527
HAZEL DAVIS                5060 ESTA DR                                                                                  FLINT               MI     48506‐1573
HAZEL DEHAVEN‐ BLACKBURN   2251 VIENNA PKWY                                                                              DAYTON              OH     45459‐1380
HAZEL DEMOINES             11122 N MACKINAW HWY                                                                          CARP LAKE           MI     49718‐9503
HAZEL DEWEY                5075 RIVER RD                   APT 22                                                        FAIRFIELD           OH     45014
HAZEL DIFFIN               12903 ALMA RD BOX 37                                                                          BURT                MI     48417
HAZEL DIXON                466 MIRABILE LN                                                                               BALTIMORE           MD     21224‐2132
HAZEL DODSON               61 CROY AVE                                                                                   CHEEKTOWAGA         NY     14215‐1310
HAZEL DOMBROWSKI           15500 GRANGE RD                                                                               MONTGOMERY          MI     49255‐9749
HAZEL DOTSON               881 SHADY LN                                                                                  FAIRFIELD           OH     45014‐2743
HAZEL DOUGLAS              130 LARKSPUR LN                                                                               LOCUST GROVE        VA     22508‐5161
HAZEL DRAKE                1184 US ROUTE 68 S                                                                            XENIA               OH     45385‐7629
HAZEL DUNMIRE              2421 W STRUB RD                                                                               SANDUSKY            OH     44870‐7223
HAZEL DUNN                 PO BOX 186                                                                                    MIDLAND             MD     21542‐0186
HAZEL DYE                  4943 FENN RD                                                                                  MEDINA              OH     44256‐5601
HAZEL DYE                  336 N SECTION ST                                                                              SOUTH LEBANON       OH     45065‐1125
HAZEL E DAVIS              205 WRIGHT AVE                                                                                SYRACUSE            NY     13211‐1637
HAZEL ECHOLS               5520 SHANON VW                                                                                DOUGLASVILLE        GA     30135‐1272
HAZEL EDWARDS              24421 E 740 RD                                                                                WAGONER             OK     74467‐7579
HAZEL ELLIS                28803 GREENING ST                                                                             FARMINGTON HILLS    MI     48334

HAZEL ELLISON              3326 ELMERS DR                                                                                SAGINAW            MI      48601‐6983
HAZEL ENGSTROM             10655 BYRON RD                                                                                BYRON              MI      48418‐9105
HAZEL ENGSTROM             1139 RANSOM DR                                                                                FLINT              MI      48507‐4217
HAZEL ERBY                 41 SOUTH CENTRAL AVENUE                                                                       CLAYTON            MO      63105
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Name                                  Address1                       Address2                       Address3   Address4               City             State   Zip
HAZEL ERBY                            42 SOUTH CENTRAL AVENUE                                                                         CLAYTON           MO     63105
HAZEL ETCHISON                        RR 7 BOX 104                                                                                    ANDERSON          IN     46017
HAZEL ETHRIDGE                        228 KING ARTHUR DR                                                                              LAWRENCEVILLE     GA     30045‐4701
HAZEL ETRIS                           PO BOX 1513                                                                                     LILBURN           GA     30048‐1513
HAZEL EVERLY                          121 KRONOS LOOP                                                                                 CENTERTOWN        KY     42328‐9747
HAZEL EWELL                           2697 PAMELA AVENUE LOT 1                                                                        DOVER             PA     17315
HAZEL F BROCK                         12262 MANNING PLACE                                                                             MEDWAY            OH     45341
HAZEL F EZELL                         1709 HOLLOW LN                                                                                  TUSCALOOSA        AL     35406
HAZEL FARMER CLOUSE                   3843 RABURN RD                                                                                  BLAIRSVILLE       GA     30512‐5205
HAZEL FENDER                          929 L ST                                                                                        BEDFORD           IN     47421‐2533
HAZEL FERGUSON                        6810 PATRIOT LN                                                                                 BELLEVILLE        MI     48111‐4260
HAZEL FERGUSON                        700 E MCCREIGHT AVE APT 317                                                                     SPRINGFIELD       OH     45503‐3451
HAZEL FIFE                            19 SOUTH OUTER DRIVE                                                                            VIENNA            OH     44473‐9777
HAZEL FITCH                           25 AVENAL RD                                                                                    BALTIMORE         MD     21221‐7004
HAZEL FITZ                            4002 CANOE CREEK RD                                                                             SAINT CLOUD       FL     34772‐9109
HAZEL FLANERY RISER & BETTY FLANERY   1201 MEADOWLARK AVE                                                                             MIAMI SPRINGS     FL     33166
BARLEY
HAZEL FLOWERS                         19769 RUTHERFORD ST RING                                                                        DETROIT          MI      48235
HAZEL FORD                            8152 S KING DR                                                                                  CHICAGO          IL      60619‐4912
HAZEL FOSTER                          941 WOOD RIVER RD                                                                               DALLAS           TX      75232‐2051
HAZEL FOSTER                          5472 BROMWICK DR                                                                                TROTWOOD         OH      45426‐1914
HAZEL FOWLER                          263 W BEALEY AVE                                                                                COOLIDGE         AZ      85228‐3909
HAZEL FRAZIER                         2224 CA‐D‐ORO DR                                                                                SARASOTA         FL      34238
HAZEL FRENCE                          7646 CARTER RD                                                                                  BENTLEY          MI      48613‐9618
HAZEL FRENCH                          2036 FLAMINGO WAY                                                                               FRANKLIN         IN      46131‐7971
HAZEL FULTON                          4301 W SANDPIPER DR                                                                             MUNCIE           IN      47304‐2847
HAZEL FYFE                            5809 BRANCH RD                                                                                  FLINT            MI      48506‐1383
HAZEL GAGE                            300 W PIER DR APT 149                                                                           SAULT SAINTE     MI      49783‐1872
                                                                                                                                      MARIE
HAZEL GARWICK                         4838 APPLETREE LN                                                                               BAY CITY         MI      48706‐9260
HAZEL GASS                            2404 HACKER DR                                                                                  JOLIET           IL      60435‐1759
HAZEL GIBBS                           14300 WHITCOMB ST                                                                               DETROIT          MI      48227‐2207
HAZEL GIBSON                          HC 71 BOX 78                                                                                    WHARNCLIFFE      WV      25651‐9702
HAZEL GILBERT                         412 HIBISCUS DR                                                                                 LAKE WALES       FL      33898‐5308
HAZEL GILBERT                         3308 CLEARVIEW AVE                                                                              MORAINE          OH      45439‐1110
HAZEL GOINS                           901 S 16TH ST                                                                                   MONROE           LA      71202‐2435
HAZEL GOODPASTER                      11834 S 800 W 35                                                                                MARION           IN      46952‐9508
HAZEL GORDON                          310 PEEKS CROSSING DR                                                                           SENOIA           GA      30276‐1778
HAZEL GRAY                            PO BOX 70156                                                                                    LANSING          MI      48908‐7156
HAZEL GRAY                            5912 KRISTEN DR                                                                                 JACKSON          MS      39211‐2832
HAZEL GRIER                           312 BRINTON AVE                                                                                 TRENTON          NJ      08618‐2806
HAZEL GROSS                           2623 HWY 219                                                                                    WALLINS CREEK    KY      40873
HAZEL GUIGEAR                         6179 SUGARLOAF DR                                                                               GRAND BLANC      MI      48439‐9159
HAZEL H NELSON TTEE                   HAZEL NELSON TRUST UA          1700 BEN FRANKLIN DR UNIT 5D                                     SARASOTA         FL      34236
HAZEL H NELSON TTEE                   1700 BEN FRNAKLIN DR UNIT 5D                                                                    SARASOTA         FL      34236
HAZEL HABERMEHL                       1015 CHURCH ST.                                                                                 FLINT            MI      48502
HAZEL HAFFNER                         9363 MARLBOROUGH AVE                                                                            ALLEN PARK       MI      48101‐1404
HAZEL HAGAN                           2413 HARKINS RD                                                                                 WHITE HALL       MD      21161‐8948
HAZEL HAGLER                          411 KNOPS NOB RD                                                                                MOORESVILLE      NC      28115‐2493
HAZEL HAMILTON                        5851 LAFAYETTE ST                                                                               CLAYTON          IN      46118‐9486
HAZEL HANNA                           5390 TRUMPETER BLVD                                                                             NORTH ROYALTON   OH      44133‐5280
HAZEL HARROLD                         5185 BERMUDA LN                                                                                 FLINT            MI      48505‐1009
HAZEL HART                            635 PLEASANT RDG                                                                                LAKE ORION       MI      48362‐3822
HAZEL HART                            2122 E VERMONTVILLE HWY                                                                         CHARLOTTE        MI      48813‐9734
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Name                    Address1                            Address2                   Address3         Address4                 City              State Zip
HAZEL HARVEY            2560 W LA PALMA AVE APT 126                                                                              ANAHEIM            CA 92801
HAZEL HARVEY            14321 HICKS LAKE DR                                                                                      EVART              MI 49631‐8335
HAZEL HEDRICK           1866 HOGAN DR                                                                                            KOKOMO             IN 46902‐5083
HAZEL HEINZELMAN        924 STOCKER AVENUE                                                                                       FLINT              MI 48503‐3060
HAZEL HENDERSON         PO BOX 65                                                                                                TWIN CITY          GA 30471‐0065
HAZEL HENDERSON         PO BOX 23131                                                                                             OKLAHOMA CITY      OK 73123‐2131
HAZEL HENMAN            24956 BOWMAN RD                                                                                          DEFIANCE           OH 43512‐8994
HAZEL HERALD            1006 LAKESIDE DR                                                                                         JACKSON            KY 41339‐7489
HAZEL HEWITT            282 CROSS ST                                                                                             MIDDLETOWN         CT 06457‐3146
HAZEL HILDEBRAND        413 LINDA AVE                                                                                            LINTHICUM HEIGHTS MD 21090‐1727

HAZEL HILL              313 CHESTNUT ST                                                                                          FLUSHING           MI   48433‐1707
HAZEL HILLIE            540 HOWLAND AVE                                                                                          PONTIAC            MI   48341‐2766
HAZEL HODGE             420 LOKEYS RIDGE RD                                                                                      BETHLEHEM          GA   30620‐2539
HAZEL HOLBROOK          PO BOX 321                                                                                               TUCKER             GA   30085‐0321
HAZEL HOLBROOK          4482 LAWRENCEVILLE HWY                                                                                   TUCKER             GA   30084‐3703
HAZEL HOLIFIELD         8299 SEYMOUR RD                                                                                          GAINES             MI   48436‐9799
HAZEL HOWARD            3810 HICKORY HILL DR                                                                                     SOMERSET           KY   42503‐9107
HAZEL HOWES             APT 214                              3728 THUNDER RIDGE ROAD                                             BETTENDORF         IA   52722‐1222
HAZEL HRUSH             78 S DENISE AVE                                                                                          COATS              NC   27521‐9421
HAZEL HUBBARD           364 CHEYENNE CIR                                                                                         LEXINGTON          TN   38351‐1438
HAZEL HUBBARD           3275 HAMMERBERG RD                                                                                       FLINT              MI   48507‐3257
HAZEL HUCK              308 SIXPENCE LN                                                                                          EULESS             TX   76039‐3731
HAZEL HUIE              PO BOX 36                                                                                                SULPHUR BLUFF      TX   75481‐0036
HAZEL HUMPHREYS         717 THRUSH AVE                                                                                           SAINT LOUIS        MO   63147‐2426
HAZEL HUNTZINGER        1853 CONNER ST                                                                                           NOBLESVILLE        IN   46060‐3013
HAZEL HUSCHKA           1508 W 3RD AVE                                                                                           BRODHEAD           WI   53520‐1810
HAZEL HUTCHINSON        141 W CLYDESDALE ST                                                                                      MOUNT MORRIS       MI   48458‐8886
HAZEL IHRKE             724 N MADISON ST                                                                                         LAPEER             MI   48446‐2034
HAZEL INGRAM            950 FAIRWAY DR                                                                                           DUNCANVILLE        TX   75137‐4612
HAZEL INVESTMENTS LTD   C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT       2 RAFFLES LINK   MARINA BAYFRONT
                        LIMITED                                                                         SINGAPORE 039392
HAZEL IVEY              12081 MENDOTA ST                                                                                         DETROIT            MI   48204‐1825
HAZEL J WALKER          26836 VAN BUREN RD                                                                                       DEARBORN HEIGHTS   MI   48127‐1077

HAZEL JACKSON           868 MEADOW RIDGE DR                                                                                      CINCINNATI         OH   45245‐1848
HAZEL JACKSON           719 HIATT AVE                                                                                            WILMINGTON         OH   45177‐1401
HAZEL JENKINS           PO BOX 76                                                                                                LENNON             MI   48449‐0076
HAZEL JENKINS           10245 KRAMER ST                                                                                          DETROIT            MI   48204‐2645
HAZEL JENNINGS          2806 MEADOW CREEK RD                                                                                     GALAX              VA   24333‐4668
HAZEL JOHNS             8309 NE 34TH ST                                                                                          SPENCER            OK   73084‐3107
HAZEL JOHNSON           1900 MAGNOLIA DR                                                                                         MACON              MS   39341‐2166
HAZEL JOHNSON           3939 W CONCORDIA AVE                                                                                     MILWAUKEE          WI   53216‐3622
HAZEL JOHNSON           5170 S STATE ROAD 39                                                                                     LEBANON            IN   46052‐9722
HAZEL JOHNSON           2310 BRADFORD DR                                                                                         FLINT              MI   48507‐4404
HAZEL JOHNSON           7222 MONROE AVE                                                                                          HAMMOND            IN   46324‐1912
HAZEL JOLLY             2929 E NEWBURG RD                                                                                        CARLETON           MI   48117‐9717
HAZEL JONES             25900 EUCLID AVE APT 410                                                                                 EUCLID             OH   44132‐2739
HAZEL JONES             2675 OSWOOD DR                                                                                           TUCKER             GA   30084‐2840
HAZEL JR, DONALD B      33004 PENNBROOKE PKWY                                                                                    LEESBURG           FL   34748‐8197
HAZEL K BOGAN           223 CARRIAGE HILLS DR                                                                                    JACKSON            MS   39212
HAZEL KAGEL             2440 HUNTER AVE                     APT 9D                                                               BRONX              NY   10475‐5662
HAZEL KAGEL ‐ IRA       2440 HUNTER AVE                     APT 9D                                                               BRONX              NY   10475‐5662
HAZEL KAMNA             2350 N TERRY ST SPC 2                                                                                    EUGENE             OR   97402‐6431
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Name                               Address1                        Address2                    Address3              Address4               City            State   Zip
HAZEL KEEN                         371 PLANTATION DR                                                                                        RICHLANDS        VA     24641
HAZEL KELCH                        3325 CASTLE RD                                                                                           NORTH BRANCH     MI     48461‐8764
HAZEL KELLEY                       2408 WINONA ST                                                                                           FLINT            MI     48504
HAZEL KEMMERY                      2210 W MADISON ST                                                                                        SANDUSKY         OH     44870‐2024
HAZEL KEMP                         5360 LIN HILL DR                C/O RONNIE C. WILCOX                                                     SWARTZ CREEK     MI     48473‐8868
HAZEL KENNEDY                      9110 E 63RD ST APT 327                                                                                   RAYTOWN          MO     64133‐4888
HAZEL KEPNER                       1519 NW 800TH RD                                                                                         URICH            MO     64788‐8145
HAZEL KIMBROUGH                    10205 S SANGAMON ST                                                                                      CHICAGO           IL    60643‐2320
HAZEL KIMMEL                       544 N SAGINAW ST APT 301                                                                                 LAPEER           MI     48446‐2339
HAZEL KING                         1213 HARVEY ST                                                                                           BELOIT           WI     53511‐4615
HAZEL KING                         10059 ORANGELAWN ST                                                                                      DETROIT          MI     48204‐2555
HAZEL KLUG                         269 S PROSPECT AVE                                                                                       CLARENDON HLS     IL    60514‐1441
HAZEL KNISELY                      843 SARASOTA AVE                                                                                         PONTIAC          MI     48340‐2369
HAZEL KOETTER                      356 STOVE RD                                                                                             BEDFORD          IN     47421‐6585
HAZEL KOLBE                        2390 35TH AVE                                                                                            SEARS            MI     49679‐8108
HAZEL KOMINDO                      131 TYLER ST                                                                                             SATSUMA          FL     32189‐2837
HAZEL KOONTZ                       300 S BRYAN RD                  HERITAGE SQUARE N‐17                                                     MISSION          TX     78572
HAZEL KRAATZ                       146 FAWN DRIVE                                                                                           WHITMORE LAKE    MI     48189‐9106
HAZEL KREUZ                        3 WEBB CREEK PLACE                                                                                       THE WOODLANDS    TX     77382
HAZEL KUYKENDALL                   1213 PONDVIEW CIR                                                                                        COOKEVILLE       TN     38506‐7344
HAZEL L CADD                       80 W MANSFIELD AVE                                                                                       PONTIAC          MI     48340‐2656
HAZEL L CLINE                      2124 GAY DR                                                                                              KETTERING        OH     45420‐1405
HAZEL L DONALDSON                  4201 SWEETBRIAR                                                                                          SAGINAW          MI     48603‐2069
HAZEL L MARTIN                     1100 BELCHER RD S LOT 112                                                                                LARGO            FL     33771
HAZEL L SMITH PERSONAL             HAZEL L SMITH                   C/O BRAYTON PURCELL         222 RUSH LANDING RD                          NOVATO           CA     94948‐6169
REPRESENTATIVE FOR DAVID E SMITH
HAZEL L THOMPSON                   3357 WINWOOD DR                                                                                          FLINT           MI      48504‐1250
HAZEL L WILLIAMS                   2914 COOLEY DR                                                                                           LANSING         MI      48911‐1670
HAZEL L WYATT                      1062 GENESEE                                                                                             ROCHESTER       NY      14611‐4106
HAZEL LA BARGE                     4207 BERWICK DR                                                                                          LAKE WALES      FL      33859‐5709
HAZEL LANE                         937 STATE ROUTE 302                                                                                      ASHLAND         OH      44805‐9577
HAZEL LASKODY                      5510 MEADOWCREEK CIR NE         NE                                                                       HARTVILLE       OH      44632‐9736
HAZEL LAWSON                       12 MEADOW BROOK DR                                                                                       CORBIN          KY      40701‐6530
HAZEL LAWTER                       3930 OTIS DR                                                                                             DAYTON          OH      45416‐1934
HAZEL LEDERHOUSE                   2058 YOUNGSTOWN WILSON RD                                                                                RANSOMVILLE     NY      14131‐9633
HAZEL LEE                          1411 DEWEY ST                                                                                            ANDERSON        IN      46016‐3122
HAZEL LEE                          1947 4TH OAK ST                                                                                          PRESCOTT        MI      48756‐9674
HAZEL LEE JAMES FAM REV TR         C/O HAZEL LEE JAMES             807 DORMON ST                                                            SPRINGDALE      AR      72762
HAZEL LENKIEWICZ                   11785 AL HIGHWAY 169                                                                                     SALEM           AL      36874‐2693
HAZEL LEWIS                        638 N 6TH ST                                                                                             MIDDLETOWN      IN      47356‐1016
HAZEL LEWIS                        15228 BURTON ST                                                                                          VAN NUYS        CA      91402‐4439
HAZEL LILLY                        402 21ST AVE SW                                                                                          LANETT          AL      36863‐2132
HAZEL LOCKETT                      6618 INDIANA AVE                                                                                         KANSAS CITY     MO      64132‐1224
HAZEL LODEN                        33337 KENTUCKY CT                                                                                        LIVONIA         MI      48170‐3558
HAZEL LONG                         305 KENTUCKY AVE                                                                                         CLINTON         TN      37716‐4823
HAZEL LOWMAN                       37300 ROYAL OAK LN              ROYAL OAK NURSING CENTER                                                 DADE CITY       FL      33525‐5230
HAZEL LYNN BRANDENBURG             810 CONTINENTAL CT #4                                                                                    VANDALIA        OH      45377‐‐ 12
HAZEL M BOURNE                     950 WOODWINDS DRIVE                                                                                      COOKEVILLE      TN      38501‐4084
HAZEL M CALDWELL                   581 WHARTON ST                                                                                           YPSILANTI       MI      48198‐8014
HAZEL M FOSTER                     5472 BROMWICK DR                                                                                         TROTWOOD        OH      45426
HAZEL M MCCOMBS                    C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                                HOUSTON         TX      77007
                                   BOUNDAS LLP
HAZEL M ROBINSON                   19330 HUNTINGTON RD                                                                                      DETROIT          MI     48219‐2744
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Name                           Address1                          Address2                     Address3                  Address4                 City               State Zip
HAZEL M ROSE REVOCABLE TRUST   HAZEL M ROSE TTEE                 WILLIAM T ROSE TTEE          U/A DTD 08/07/03 PO BOX                            RIO RANCHO          NM 87174‐5062
                                                                                              45062
HAZEL M SIMMS                  TOD LINDA M ORTIZ AND             SHIRLEY M STIVERS            240 CHESTNUT DR                                    WRIGHTSTOWN        NJ   08562‐1625
HAZEL M SMILEY                 2824 KENMORE AVE                                                                                                  DAYTON             OH   45420‐2232
HAZEL M THOMPSON               1485 OLD FARMINGTON RD                                                                                            LEWISBURG          TN   37091‐2201
HAZEL MAHAN                    1920 J ST                                                                                                         BEDFORD            IN   47421‐4243
HAZEL MANN                     1108 DOVER DR                                                                                                     COLUMBIA           TN   38401‐8892
HAZEL MARCUM                   2538 NORMAN ST                                                                                                    DETROIT            MI   48209‐1066
HAZEL MARQUARDT                12234 TONAWANDA CREEK RD                                                                                          AKRON              NY   14001‐9651
HAZEL MARTINDALE               6051 GORDON RD                                                                                                    WATERFORD          MI   48327‐1739
HAZEL MARTY                    200 N GORDY ST APT 2‐2                                                                                            EL DORADO          KS   67042‐1939
HAZEL MASSEY                   3944 CHURCH ST                                                                                                    WILLOUGHBY         OH   44094‐6204
HAZEL MATHEWS                  15316 HOCKING BLVD                                                                                                BROOK PARK         OH   44142‐2918
HAZEL MATHIS                   1166 E CARPENTER RD                                                                                               FLINT              MI   48505‐2306
HAZEL MAY                      336 N MAIN ST APT 302                                                                                             DAVISON            MI   48423‐1456
HAZEL MAYNARD                  3505 N LANEWOOD DR                                                                                                MUNCIE             IN   47304‐1844
HAZEL MC DONALD                1242 E YORK AVE                                                                                                   FLINT              MI   48505‐2335
HAZEL MCARTHUR                 5507 GREENWICH DR                                                                                                 ARLINGTON          TX   76018‐2331
HAZEL MCCLAIN                  3530 JERREE ST                                                                                                    LANSING            MI   48911‐2632
HAZEL MCCLINTON                5505 MARJA ST                                                                                                     FLINT              MI   48505‐2596
HAZEL MEDJESKY                 210 WELCOME WAY BLVD W APT 103C                                                                                   INDIANAPOLIS       IN   46214‐2953
HAZEL MENDOZA                  5295 AUSTIN HWY                                                                                                   FALLON             NV   89406‐9701
HAZEL MERRIWEATHER             16 ACADEMY RD                                                                                                     BUFFALO            NY   14211‐2622
HAZEL MERRY                    3008 S SHAWNEE DR APT 132                                                                                         BEDFORD            IN   47421‐5281
HAZEL METLEN                   ROBERT W PHILLIPS                 SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD        PO BOX 521               EAST ALTON         IL   62024
                                                                 ANGELIDES & BARNERD LLC
HAZEL MIDDLEBROOKS             20150 AUDREY ST                                                                                                   DETROIT            MI   48235‐1651
HAZEL MILKA                    5350 BRADLEY RD                                                                                                   GREGORY            MI   48137‐9536
HAZEL MILLEN                   210 W DRAHNER RD APT 135                                                                                          OXFORD             MI   48371‐5087
HAZEL MILLER                   3104 RUGER AVE                                                                                                    JANESVILLE         WI   53546‐1936
HAZEL MILLER                   4 FAY ST                                                                                                          CLARKSTON          MI   48346‐4110
HAZEL MISER                    2017 W 3RD ST                                                                                                     NEWTON             KS   67114‐5114
HAZEL MITCHELL                 PO BOX 532                                                                                                        DURAND             MI   48429‐0532
HAZEL MIX                      3346 SAPPHIRE LN                                                                                                  FORT GRATIOT       MI   48059‐4234
HAZEL MOORE‐MALOY              36838 BUTTERNUT RIDGE RD                                                                                          ELYRIA             OH   44039‐8536
HAZEL MORRISON                 315 S WASHINGTON ST                                                                                               CHESTERFIELD       IN   46017‐1628
HAZEL MOSES                    64 WHITE PLAINS AVE                                                                                               ELMSFORD           NY   10523‐2723
HAZEL MOST                     304 N CORNING ST                  BOX 632                                                                         FARWELL            MI   48622
HAZEL MOTTERS                  1017 6TH AVE SW                                                                                                   DECATUR            AL   35601‐2928
HAZEL MUNDY                    20728 ANTHONY RD                                                                                                  NOBLESVILLE        IN   46062‐9780
HAZEL MUNRO                    1491 W LANSING RD                                                                                                 MORRICE            MI   48857‐9799
HAZEL MURRAY                   2995 E LAFAYETTE ST                                                                                               DETROIT            MI   48207‐3826
HAZEL NELSON                   2385 MELROSE AVE                                                                                                  COLUMBUS           OH   43211‐1739
HAZEL NELSON                   PO BOX 7503                                                                                                       BLOOMFIELD HILLS   MI   48302‐7503
HAZEL NIXON                    BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS         OH   44236
HAZEL OLSON                    G‐5175 W BRISTOL RD                                                                                               FLINT              MI   48507
HAZEL OLSON                    PO BOX 7                                                                                                          NORTHVILLE         MI   48167‐0007
HAZEL OUILETTE                 114 E ERIE ST APT 10                                                                                              JEFFERSON          OH   44047‐1449
HAZEL OWENS                    100 W MCCREIGHT AVE                                                                                               SPRINGFIELD        OH   45504
HAZEL OWENS                    20233 PATTON ST                                                                                                   DETROIT            MI   48219‐1429
HAZEL PACE                     1000 GOLDEN POND DR                                                                                               RUSSELLVILLE       AR   72802‐8763
HAZEL PACHECO                  678 HARLAN ST                                                                                                     PLAINFIELD         IN   46168‐1318
HAZEL PAGE                     1120 SW ISAAC LN                                                                                                  MOUNTAIN HOME      ID   83647
HAZEL PARTON                   3312 FRANCES LN                                                                                                   KOKOMO             IN   46902‐9709
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Name                          Address1                         Address2                   Address3       Address4               City             State   Zip
HAZEL PATRICK                 6511 BRILLIANT WAY                                                                                DAYTON            OH     45459‐1918
HAZEL PATTON                  744 CLAIR ST                                                                                      INKSTER           MI     48141‐1002
HAZEL PAXTON                  7191 JORDAN RD                                                                                    WOODLAND          MI     48897‐9606
HAZEL PEARCE                  G4196 THOM ST                                                                                     BURTON            MI     48509
HAZEL PECK                    5099 UNION SPRING ST                                                                              FLOWERY BRANCH    GA     30542
HAZEL PEER                    2463 S 400 W TRLR 22                                                                              HARTFORD CITY     IN     47348‐9790
HAZEL PHILLIPS                331 OAKLAND ST                                                                                    TRENTON           NJ     08618‐3511
HAZEL PICKENS                 4567 HUNT RD                                                                                      ADRIAN            MI     49221‐9241
HAZEL PIESKO                  12738 GERA RD                                                                                     BIRCH RUN         MI     48415‐9476
HAZEL PIRIAK                  PO BOX 874                                                                                        SALEM             OH     44460‐0874
HAZEL PITTS                   3505 SUNFLOWER ST                                                                                 NORMAN            OK     73072‐2906
HAZEL PLEINESS                266 DAFFODIL DR                                                                                   FRUITLAND PARK    FL     34731‐6754
HAZEL POORTVLIET              725 BALDWIN ST.                  ROOM 168                                                         JENISON           MI     49428
HAZEL POPHAM                  3154 TONEY DR                                                                                     DECATUR           GA     30032‐6712
HAZEL POPP                    198 CLAIR AVE                                                                                     NORTH             NY     14120‐4805
                                                                                                                                TONAWANDA
HAZEL POSEY                   346 E MORGAN ST                                                                                   KNIGHTSTOWN       IN     46148‐1037
HAZEL PREWITT                 3008 S COUNTY ROAD 1300 E                                                                         CROTHERSVILLE     IN     47229‐9755
HAZEL PRICE                   3524 RAIBLE AVE                                                                                   ANDERSON          IN     46011‐4730
HAZEL PRUETER                 3910 WADSWORTH RD                                                                                 SAGINAW           MI     48601‐9676
HAZEL PUTMAN                  3102 PROSPECT ELKTON RD                                                                           PROSPECT          TN     38477‐6228
HAZEL R CARUTHERS REV TRUST   HAZEL R CARUTHERS AND STEVEN V   HAZEL R CARUTHERS REV TR   425 S ELM RD                          LAKELAND          FL     33801
                              CARUTHERS TTEES
HAZEL R DOUGLAS               130 LARKSPUR LANE                                                                                 LOCUST GROVE     VA      22508‐5161
HAZEL R PITTS                 264 RICHMOND AVE S                                                                                LEHIGH ACRES     FL      33936
HAZEL R WATSON                44 CLINTON ST                                                                                     YOUNGSTOWN       OH      44506‐1122
HAZEL RABE                    10860 BURT RD                                                                                     BIRCH RUN        MI      48415‐9340
HAZEL RABY                    3424 PIPESTONE DR                                                                                 BATON ROUGE      LA      70814‐5237
HAZEL RALEIGH                 5026 W LAKE RD                                                                                    CLIO             MI      48420‐8207
HAZEL REDIGER                 2537 N UNION RD                                                                                   DAYTON           OH      45426‐3427
HAZEL REED                    1330 N MCKINLEY RD                                                                                FLUSHING         MI      48433‐9419
HAZEL REHEARD                 625 SE 651                                                                                        KNOB NOSTER      MO      65336‐2206
HAZEL REMAGEN                 1216 W EMERSON ST                                                                                 PARAGOULD        AR      72450‐4138
HAZEL RENDLE                  5555 BEN DAVIS RD                                                                                 PITTSVILLE       MD      21850‐2062
HAZEL REYNOLDS                1116 CENTER AVE                                                                                   JANESVILLE       WI      53546‐2405
HAZEL RHODES                  PO BOX 84                                                                                         CARAWAY          AR      72419‐0084
HAZEL RICHARDSON              147 N RIVER CT APT 427                                                                            MOUNT CLEMENS    MI      48043‐1970
HAZEL RICHARDSON              13407 S 500 W                                                                                     GALVESTON        IN      46932‐8505
HAZEL ROARK                   1795 W BUFFALO RD                                                                                 WEST JEFFERSON   NC      28694‐9398
HAZEL ROBERTS                 2291 FARMER ST APT 214                                                                            SAGINAW          MI      48601‐4667
HAZEL ROBERTS                 818 DAVIDSON RIVER RD                                                                             PISGAH FOREST    NC      28768‐8917
HAZEL ROBINSON                19330 HUNTINGTON RD                                                                               DETROIT          MI      48219‐2744
HAZEL ROBINSON                8953 CURTIS RD                                                                                    HALE             MI      48739‐9227
HAZEL ROMAN                   19 ERIE ST                                                                                        TONAWANDA        NY      14150‐3803
HAZEL ROSE                    1990 MAHOGANY DR                                                                                  LAS CRUCES       NM      88001‐2450
HAZEL ROSE                    871 CINCINNATI BATAVIA PIKE                                                                       CINCINNATI       OH      45245‐1330
HAZEL ROSS                    10437 PUTTYGUT RD                                                                                 CASCO            MI      48064‐1611
HAZEL ROWE                    35750 BETTENCOURT ST APT 27                                                                       NEWARK           CA      94560‐1049
HAZEL ROY                     PO BOX 42                                                                                         RAYMONDVILLE     NY      13678‐0042
HAZEL ROZELL                  4101 CRANE RD                                                                                     TIPP CITY        OH      45371‐3008
HAZEL RUEHLE                  7232 COOLIDGE                                                                                     CENTER LINE      MI      48015‐1003
HAZEL RUSSELL                 601 W STEWART AVE                                                                                 FLINT            MI      48505‐3286
HAZEL RUSSELL                 1003 LELAND ST APT 426                                                                            DETROIT          MI      48207‐4711
HAZEL RUSSELL                 940 NEWBY ST                                                                                      MITCHELL         IN      47446‐6139
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Name                         Address1                             Address2                Address3                Address4                 City             State   Zip
HAZEL S BURDETT              821 N PARKVIEW CIR                                                                                            MOORE             OK     73170‐1113
HAZEL S DEHAVEN‐ BLACKBURN   2251 VIENNA PKWY                                                                                              DAYTON            OH     45459
HAZEL SACK                   PO BOX 199                                                                                                    BETHEL            PA     19507‐0199
HAZEL SADLER                 131 GLENVIEW ST                                                                                               UPTON             MA     01568‐1219
HAZEL SALTERS                1227 UNDERWOOD AVE SE                                                                                         GRAND RAPIDS      MI     49506‐3265
HAZEL SANBURN                8880 HIGHLAND DR                                                                                              FREELAND          MI     48623‐9703
HAZEL SANDHOFF               1510 AUTUMN RD                                                                                                SPRING HILL       FL     34608‐5223
HAZEL SAUNDERS               12154 MOLETTE ST                                                                                              NORWALK           CA     90650‐6663
HAZEL SCHANEY                PO BOX 789                                                                                                    GRAHAM            WA     98338
HAZEL SCHELLER               18215 MAPLEBORO AVE                                                                                           MAPLE HEIGHTS     OH     44137‐2722
HAZEL SCHERER                1374 HUNTER RD                                                                                                OKEECHOBEE        FL     34974‐0252
HAZEL SCHUBERT               1104 VANDERBILT RD                                                                                            MANSFIELD         OH     44904‐9596
HAZEL SCHWARCK               5824 COLONY DR N                                                                                              SAGINAW           MI     48638‐5715
HAZEL SCULLY
HAZEL SEITTERS               5403 XAVIER CT                                                                                                RICHARDSON        TX     75082‐4953
HAZEL SERVICES LTD           C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT     2 RAFFLES LINK MARINA   SINGAPORE 039392
                             LIMITED                                                      BAYFRONT
HAZEL SHELNUTT               3690 EVANS MILL RD                                                                                            LITHONIA         GA      30038‐3403
HAZEL SHEPHERD               PO BOX 767                                                                                                    MONROE           GA      30655‐0767
HAZEL SHIPSKI                3010 STABLER ST                                                                                               LANSING          MI      48910‐3024
HAZEL SHOEMAKER              513 S MAIN ST                                                                                                 INA              IL      62846‐1129
HAZEL SIMMET                 2517 MAPLEWOOD AVE                                                                                            SAGINAW          MI      48601‐3941
HAZEL SIMPSON                120 S MAIN ST APT 3                                                                                           OWENTON          KY      40359‐3080
HAZEL SKIDMORE               1909 ASHLEY WOOD DR APT I                                                                                     WESTFIELD        IN      46074‐8677
HAZEL SLATON                 12246 EAGLE RD                                                                                                NEW LEBANON      OH      45345‐9122
HAZEL SLAWTER                3730 BENNETT AVE                                                                                              FLINT            MI      48506‐3106
HAZEL SLUGA                  8305 THORNBIRD DRIVE                                                                                          N RICHLND HLS    TX      76180‐1635
HAZEL SMITH                  271 NEW PROSPECT RD                                                                                           ARAGON           GA      30104‐2459
HAZEL SMITH                  G3390 MACKIN RD                                                                                               FLINT            MI      48504‐3281
HAZEL SMITH                  16195 HOWARD DR                                                                                               MACOMB           MI      48042‐5725
HAZEL SMITH                  1380 BALTIMORE SOMERSET RD NE        ROUTE #1                                                                 BALTIMORE        OH      43105‐9717
HAZEL SMITH                  836 PARK AVE                                                                                                  KENNETT SQUARE   PA      19348‐3616
HAZEL SOUTH                  2729 DULUTH HIGHWAY 120                                                                                       DULUTH           GA      30096‐4019
HAZEL SPANGENBERG            1455 STURDEVANT RD                                                                                            KIMBALL          MI      48074‐2918
HAZEL SPENCE                 APT 312                              2385 CEDAR PARK DRIVE                                                    HOLT             MI      48842‐3111
HAZEL SPENCER                2700 SHIMMONS RD LOT 63                                                                                       AUBURN HILLS     MI      48326‐2004
HAZEL SPRAGGINS              215 S ALMA AVE                                                                                                KANKAKEE         IL      60901‐3303
HAZEL STAFFORD               611 ASHBROOKE CT                                                                                              ST CHARLES       IL      60175‐5636
HAZEL STAMM                  2305 E 8TH ST                                                                                                 ANDERSON         IN      46012‐4303
HAZEL STANLEY                4340 DIVISION ST                                                                                              WAYLAND          MI      49348‐9781
HAZEL STANLEY                RT 3 BOX 464                                                                                                  CONWAY           SC      29526
HAZEL STEVENS                10406 CENTERLINE ROAD                                                                                         ONAWAY           MI      49765‐8755
HAZEL STEWART                34 MEADOW WOOD DR                                                                                             ROCHESTER HLS    MI      48307‐3082
HAZEL STINSON                7 LAMBETH RD                                                                                                  BURLINGTON       NJ      08016‐2907
HAZEL STINSON                1125 FAIRFAX ST                                                                                               FLINT            MI      48505‐2905
HAZEL STOUT                  1915 SOUTH M STREET                                                                                           ELWOOD           IN      46036
HAZEL STRAUN                 40 JOHN AVE                                                                                                   BRISTOL          CT      06010‐4450
HAZEL STUDEBAKER             5401 NEWELL DR                                                                                                KETTERING        OH      45440‐2850
HAZEL THOMAS                 7137 MYERS DR                                                                                                 DAVISON          MI      48423‐2366
HAZEL THOMPSON               31000 SCHOOLCRAFT RD                                                                                          LIVONIA          MI      48150‐2025
HAZEL THOMPSON               PO BOX 277                                                                                                    SELMA            IN      47383‐0277
HAZEL THOMPSON               1485 OLD FARMINGTON RD                                                                                        LEWISBURG        TN      37091‐2201
HAZEL THOMPSON               3357 WINWOOD DR                                                                                               FLINT            MI      48504‐1250
HAZEL THORN                  PO BOX 311                                                                                                    SWARTZ           LA      71281‐0311
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Name                 Address1                              Address2               Address3      Address4               City               State   Zip
HAZEL THORNTON       537 E DEWEY ST                                                                                    FLINT               MI     48505‐4210
HAZEL TILLMAN        249 MCLEAN ST                                                                                     HIGHLAND PARK       MI     48203‐3311
HAZEL TODD           2021 BLAINE ST APT 325                                                                            DETROIT             MI     48206‐2256
HAZEL TRAUB          10421 N MERIDIAN RD                   C/O ROSE MARIE DAVID                                        MERRILL             MI     48637‐9637
HAZEL TROMBLY        4222 HUNTERS CIR W                                                                                CANTON              MI     48188‐2363
HAZEL TROSS          2200 DULANEY VALLEY RD                                                                            TIMONIUM            MD     21093‐2821
HAZEL TUBBS          6 HAMRICK TER                                                                                     HOUSTON             MO     65483‐1929
HAZEL TURMAN         4900 FAIRFIELD AVE                                                                                FAIRFIELD           OH     45014‐2702
HAZEL TURNER         10091 DODGE RD                                                                                    OTISVILLE           MI     48463‐9765
HAZEL TYLER          APT A117                              11315 GRANDVIEW ROAD                                        KANSAS CITY         MO     64137‐1425
HAZEL V RILEY TTEE   WINSTON S RILEY & HAZEL V RILEY REV   5177 W ELLSWORTH RD                                         ANN ARBOR           MI     48103
                     TRUST
HAZEL VAN PELT       1513 GEIGER RD                                                                                    STARKE             FL      32091‐4312
HAZEL VAUGHN         803 TAYWOOD RD                                                                                    ENGLEWOOD          OH      45322‐1824
HAZEL VEAL           3205 GRANDIFLORA PL                                                                               POWDER SPRINGS     GA      30127‐6011
HAZEL VERONICA       5476 S FARMERS DR                                                                                 BLOOMINGTON        IN      47403‐8920
HAZEL VESTER         4900 S PROCTOR RD                                                                                 MUNCIE             IN      47302‐8968
HAZEL WALKER         26836 VAN BUREN RD                                                                                DEARBORN HEIGHTS   MI      48127‐1077

HAZEL WALLACE        3319 SHOWS RD                                                                                     GEORGIANA          AL      36033‐4819
HAZEL WALTER         7404 OAKMONT DR                                                                                   LAKE WORTH         FL      33467‐1337
HAZEL WARBINGTON     5695 GROVE PLACE XING SW                                                                          LILBURN            GA      30047‐8600
HAZEL WARD           1456 COUNTY ROAD 1142                                                                             CUMBY              TX      75433‐6311
HAZEL WARD           321 MAPLE DR                                                                                      NEWTON FALLS       OH      44444‐1910
HAZEL WARD           335 LOCUST AVE                                                                                    WASHINGTON         PA      15301‐3307
HAZEL WARD           86 PINE GROVE RD                                                                                  NOTTINGHAM         PA      19362‐9034
HAZEL WASHINGTON     PO BOX 585                                                                                        SHEPHERDSTOWN      WV      25443‐0585
HAZEL WEAVER         1860 LEXINGTON PKWY                                                                               INKSTER            MI      48141‐1512
HAZEL WEIR           20175 SAN JUAN DR                                                                                 DETROIT            MI      48221‐1224
HAZEL WENDT          526 DAUNER HAUS ST                                                                                FENTON             MI      48430‐1591
HAZEL WEST           2079 CLEARVIEW DR                                                                                 BELLBROOK          OH      45305‐1518
HAZEL WEYANT         312 CRANBERRY BEACH BLVD                                                                          WHITE LAKE         MI      48386‐1996
HAZEL WHEELER        322 VINE ST                                                                                       FAIRBORN           OH      45324‐3228
HAZEL WHITE          10375 FARYS MILL RD                                                                               GLOUCESTER         VA      23061‐2918
HAZEL WIGFIELD       910 JEFFERSON AVE                                                                                 JEANNETTE          PA      15644‐2711
HAZEL WILLIAMS       260 N JOHNSVILLE BROOKVILLE RD                                                                    NEW LEBANON        OH      45345‐9154
HAZEL WILLIAMS       2914 COOLEY DR                                                                                    LANSING            MI      48911‐1670
HAZEL WILLIFORD      264 RICHMOND AVE S                                                                                LEHIGH ACRES       FL      33936‐7501
HAZEL WILLIS         808 RIVERSIDE CIR                                                                                 CELINA             TN      38551‐4218
HAZEL WILSON         126 N CHILLICOTHE ST                  PO BOX 23                                                   SOUTH CHARLESTON   OH      45368‐9744

HAZEL WILSON         2576 VERNOR RD                                                                                    LAPEER             MI      48446‐8329
HAZEL WILSON         61 SHERWOOD ESTATES LN APT 56                                                                     HANNIBAL           MO      63401‐7000
HAZEL WILSON         14642 HAWICK MANOR LN                                                                             PINEVILLE          NC      28134‐6405
HAZEL WILSON         655 SANCTUARY RD                                                                                  NAPLES             FL      34120‐4838
HAZEL WINFIELD       5 END ST                                                                                          TROTWOOD           OH      45426‐3301
HAZEL WINSTON        11105 WAHRMAN ST                                                                                  ROMULUS            MI      48174‐3812
HAZEL WOODRING       5230 NE HIGHWAY H                     C/O GARY S WOODRING                                         TURNEY             MO      64493‐2549
HAZEL WOODS          1814 W FACTORY AVE                                                                                MARION             IN      46952‐2423
HAZEL WOODSIDE       18 LAKESHORE DR                                                                                   BELLEVILLE         IL      62220‐2828
HAZEL WREN           924 QUEEN ST                                                                                      MILFORD            MI      48381‐1777
HAZEL WRIGHT         2965 BURLINGTON DR                                                                                SAGINAW            MI      48601‐6982
HAZEL WRIGHT         PO BOX 476                                                                                        KEARNY             AZ      85237‐0108
HAZEL YEARBY         2522 MOUNT ELLIOTT AVE                                                                            FLINT              MI      48504‐2879
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Name                     Address1                         Address2            Address3         Address4               City              State   Zip
HAZEL ZIMMER             4342 W 63RD ST                                                                               BROOKLYN           OH     44144‐2838
HAZEL, ARDITH S          1291 OAK TERRACE DR              APT 213                                                     TRAVERSE CITY      MI     49686‐5061
HAZEL, ARDITH S          1291 OAK TERRACE DR APT 213                                                                  TRAVERSE CITY      MI     49686‐5061
HAZEL, BRUCE J           PO BOX 1269                                                                                  BASTROP            TX     78602‐1269
HAZEL, CARL M            62 PEDRO CT                                                                                  FORT MYERS         FL     33912‐2117
HAZEL, CLIFFORD C        7865 NESSEN RD                                                                               KARLIN             MI     49643‐9419
HAZEL, DARRELL E         PO BOX 572                                                                                   BOWLING GREEN      KY     42102‐0572
HAZEL, DARRELL EUGENE    PO BOX 572                                                                                   BOWLING GREEN      KY     42102‐0572
HAZEL, DEAN S            2574 OAKDALE DR                                                                              WATERFORD          MI     48329‐3658
                                                                                                                      TOWNSHIP
HAZEL, DEBORAH A         7221 ALGER DR                                                                                DAVISON           MI      48423‐2377
HAZEL, GLEN A            PO BOX 3                                                                                     FRIENDSVILLE      TN      37737‐0003
HAZEL, IRVIN E           6601 W RIDGEWOOD DR                                                                          PARMA             OH      44129‐5433
HAZEL, JAMES D           7206 KALKASKA DR                                                                             DAVISON           MI      48423‐2386
HAZEL, JAMES E           922 PRINCETON RD                                                                             BERKLEY           MI      48072‐3031
HAZEL, JAMES E           8256 ROUND LAKE RD                                                                           LAINGSBURG        MI      48848‐9479
HAZEL, JAMES EDWARD      8256 ROUND LAKE RD                                                                           LAINGSBURG        MI      48848‐9479
HAZEL, JERRY A           11474 LA SALLE ST                                                                            BROCKWAY          MI      48097‐2939
HAZEL, JERRY W           1128 NANCE FORD ROAD SOUTHWEST                                                               HARTSELLE         AL      35640‐3714
HAZEL, JOANNE M          6653 S BETSIE RIVER RD                                                                       INTERLOCHEN       MI      49643‐9508
HAZEL, JOHN B            4297 STAUNTON DR                                                                             SWARTZ CREEK      MI      48473‐8215
HAZEL, JOHN E            5218 GRIFFIN ROAD                                                                            LEWISTON          MI      49756‐8579
HAZEL, JOHN E            5218 GRIFFIN RD                                                                              LEWISTON          MI      49756‐8579
HAZEL, LEE               SHANNON LAW FIRM                 100 W GALLATIN ST                                           HAZLEHURST        MS      39083‐3007
HAZEL, LEE J             3718 JORDAN LAKE ST                                                                          LAKE ODESSA       MI      48849‐9422
HAZEL, LOREN G           18467 CINDER ROAD R#1                                                                        INTERLOCHEN       MI      49643
HAZEL, MALCOLM B         19031 FILMORE ST                                                                             SOUTHFIELD        MI      48075‐1704
HAZEL, PATRICK MICHAEL   PO BOX 328                                                                                   BROWN CITY        MI      48416‐0328
HAZEL, RAYMOND W         49 LONG DR                                                                                   DANVILLE          AL      35619‐6360
HAZEL, RICHARD A         1015 WASHINGTON BLVD                                                                         LAKE ODESSA       MI      48849‐1073
HAZEL, RICHARD L         4864 BARNES RD                                                                               MILLINGTON        MI      48746‐9663
HAZEL, RICHARD L         11014 N JENNINGS RD                                                                          CLIO              MI      48420‐1570
HAZEL, RICHARD W         2 ELIZABETH AVE APT 21                                                                       MASSENA           NY      13662
HAZEL, ROBERT E          4693 THURLBY RD                                                                              MASON             MI      48854‐9698
HAZEL, RODNEY            5415 TEAKWOOD DR                                                                             SWARTZ CREEK      MI      48473‐9427
HAZEL, RONALD K          11600 MCCAUGHNA RD                                                                           BYRON             MI      48418‐9118
HAZEL, ROYAL M           9356 HUBBARD RD                                                                              DAVISON           MI      48423‐9370
HAZEL, SALLY J           735 HAMILTON CT                                                                              ROCHESTER HILLS   MI      48307‐4536
HAZEL, SANDRA J          RT 1 BOX 18467 CINDER RD                                                                     INTERLOCHEN       MI      49643
HAZEL, THOMAS M          7137 MYERS DR                                                                                DAVISON           MI      48423‐2366
HAZEL, THOMAS R          6653 S BETSIE RIVER RD                                                                       INTERLOCHEN       MI      49643‐9508
HAZEL, TIMOTHY J         5105 LIPPINCOTT BLVD                                                                         BURTON            MI      48519‐1255
HAZEL, TIMOTHY JOSEPH    5105 LIPPINCOTT BLVD                                                                         BURTON            MI      48519‐1255
HAZEL, TONYA W           1697 N 500 E                                                                                 ANDERSON          IN      46012‐9435
HAZEL, VANCE A           1042 MOBILE LN                                                                               BEDFORD           VA      24523‐6046
HAZEL, WARREN J          111 DEURO DR                                                                                 NIAGARA FALLS     NY      14304‐3039
HAZEL, WILLIAM J         6744W SMITH LAKE DR                                                                          MANISTIQUE        MI      49854‐9561
HAZEL, WINSTON H         479 E 95TH ST                                                                                BROOKLYN          NY      11212‐2501
HAZELBAKER, BILL K       11600 S HONEYCREEK RD                                                                        DALEVILLE         IN      47334‐8804
HAZELBAKER, BILL KEITH   11600 S HONEYCREEK RD                                                                        DALEVILLE         IN      47334‐8804
HAZELBAKER, BRANDON K    709 N 1000 W                                                                                 FARMLAND          IN      47340‐9035
HAZELBAKER, GEORGE W     7633 WASHINGTON PARK DR                                                                      DAYTON            OH      45459‐3620
HAZELBAKER, IVA G        106 E MADISON ST                                                                             ALEXANDRIA        IN      46001‐1637
HAZELBAKER, JAMES B      2096 MARK AVE                                                                                PRESCOTT          AZ      86301‐1027
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Name                           Address1                          Address2                        Address3   Address4               City             State   Zip
HAZELBAKER, MARY M             127 JOHNSON HOLLOW RD                                                                               FAYETTE CITY      PA     15438
HAZELBAKER, NORMAN G           3520 S DITMER RD                                                                                    LAURA             OH     45337‐8741
HAZELBAKER, NORMAN G           3520 DITMER RD                                                                                      LAURA             OH     45337‐8741
HAZELBAKER, SHAWN ALLEN        738 CARFORD PIKE                                                                                    GREENFIELD        OH     45123‐1525
HAZELCREST LODGE               256 CUSHING CORNER ROAD                                                                             FREEDOM           NH     03836
HAZELENE POLK                  155 WILLARD ST                                                                                      PONTIAC           MI     48342‐3075
HAZELET, DAVID T               89 GLENHAVEN DR                                                                                     AMHERST           NY     14228‐1853
HAZELETT, DON E                273 E WRIGHTWOOD AVE                                                                                GLENDALE HTS       IL    60139‐2626
HAZELETT, DONA B               8009 S 87TH AVE                                                                                     JUSTICE            IL    60458‐1448
HAZELETT, GARY L               8261 TOEPFER RD                                                                                     WARREN            MI     48089‐2935
HAZELETT, KATHRYN M            12381 HOOKER RD                                                                                     HONOR             MI     49640‐9706
HAZELETT, KIRK D               10516 YODER RD                                                                                      ROANOKE           IN     46783‐9613
HAZELETT, OLA                  7000 W 72ND ST                                                                                      CHICAGO            IL    60638‐5909
HAZELETT, TERESA K             PO BOX 2154                                                                                         NEW TAZEWELL      TN     37824‐2154
HAZELETT, WILLIAM G            180 W LONGFELLOW AVE                                                                                PONTIAC           MI     48340‐1832
HAZELGROVE, CHARLES A          7613 RIDDLE AVE                                                                                     BALTIMORE         MD     21224‐1948
HAZELHURST JOAN                APT 1122                          8580 WOODWAY DRIVE                                                HOUSTON           TX     77063‐2465
HAZELHURST JR, EDWIN J         3505 W SHELL POINT RD                                                                               RUSKIN            FL     33570‐3034
HAZELHURST RICHARD (491207)    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH     44067
                                                                 PROFESSIONAL BLDG
HAZELIP, BOBBY H               6911 ARBOREAL DR                                                                                    DALLAS           TX      75231‐8129
HAZELKORN, KATHE T             773 BELVEDERE AVE SE                                                                                WARREN           OH      44484‐4325
HAZELL, DANNY A                4633 HANOVER AVE                                                                                    PORTAGE          MI      49002‐2237
HAZELL, EMANUEL C              9720 57TH AVE APT 11DD                                                                              FLUSHING         NY      11368‐3579
HAZELL, EMANUEL C              97‐20 57TH AVENUE                 APARTMENT 11DD                                                    FLUSHING         NY      11368‐3550
HAZELL, JAMES E                11181 RUNYAN LAKE RD                                                                                FENTON           MI      48430‐2453
HAZELL, JAMES M                121 CREEKWOOD CIR                                                                                   LINDEN           MI      48451‐8935
HAZELL, RICHARD W              1867 SCOTCH PINE DR                                                                                 DAYTON           OH      45432‐1855
HAZELL, STEFANI L              25 VILLA RIDGE DR                                                                                   DALLAS           GA      30157‐6735
HAZELRIG, DUKE RANDY           HOLLIS & WRIGHT                   FINANCIAL CENTER ‐ 505 NORTH                                      BIRMINGHAM       AL      35203
                                                                 20TH STREET ‐ SUITE 1750
HAZELRIGG AUTOMOTIVE CENTER    2120 W VISTA ST                                                                                     SPRINGFIELD      MO      65807‐5918
HAZELRIGG, ALAN B              30103 SANDERS LN                                                                                    COLE CAMP        MO      65325‐2852
HAZELRIGG, DARRELL C           8610 WINCHESTER AVE                                                                                 KANSAS CITY      MO      64138‐2865
HAZELRIGG, JOHN A              217 SE BRENTWOOD DR                                                                                 LEES SUMMIT      MO      64063‐3259
HAZELRIGG, MICHAEL D           2874 HWY 160                                                                                        HINDMAN          KY      41822‐9054
HAZELRIGG, MICHAEL D           2874 HIGHWAY 160 S                                                                                  HINDMAN          KY      41822‐9054
HAZELRIGG, MILDRED E           4519 LONGFELLOW AVE                                                                                 DAYTON           OH      45424‐5952
HAZELRIGG, MILTON M            731 E STATE ST                                                                                      MOUNTAIN GROVE   MO      65711‐1830

HAZELRIGG, STANLEY D           2004 E 9TH ST                                                                                       SEDALIA          MO      65301‐6416
HAZELRIGG, TERRENCE L          117 SE MOUNT VERNON DR                                                                              BLUE SPRINGS     MO      64014‐5407
HAZELRIGS, JOHN G              1421 FAIRHAVEN DR                                                                                   MANSFIELD        TX      76063‐3768
HAZELTINE, BEVERLY A           1006 21ST ST TRLR 94                                                                                BRODHEAD         WI      53520‐2082
HAZELTINE, DANIEL F            9070 N COUNTY ROAD H                                                                                EDGERTON         WI      53534‐8895
HAZELTINE, JAMES E             13542 CAMPBELLSVILLE RD                                                                             LYNNVILLE        TN      38472‐8167
HAZELTINE, JULIE M             10047 W WHEELER RD                                                                                  EVANSVILLE       WI      53536
HAZELTINE, SHIRLEY A           1326 HAWTHORNE AVE                                                                                  JANESVILLE       WI      53545‐1814
HAZELTON MEMORIAL TOURNAMENT   35 MARIE ST                                                                                         MASSENA          NY      13662‐1106
HAZELTON, BRENDA R             1004 ARBROAK WAY                                                                                    LAKE ORION       MI      48362‐2500
HAZELTON, DANIEL L             20609 VAN ANTWERP ST                                                                                HARPER WOODS     MI      48225‐1403
HAZELTON, DAVID C              459 E WILLIAMS ST                                                                                   CORUNNA          MI      48817
HAZELTON, DAVID P              6600 GREEN PARK DR                                                                                  CENTERVILLE      OH      45459‐2843
HAZELTON, DONALD R             20242 RD E 16                                                                                       CONTINENTAL      OH      45831
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HAZELTON, ELLEN W             708 SINCLAIR                                                                                     MIDLAND          TX     79705‐8917
HAZELTON, ELLEN W             708 SINCLAIR AVE                                                                                 MIDLAND          TX     79705‐8917
HAZELTON, FLORENCE C          832 BIRD BAY WAY                 UNIT 113                                                        VENICE           FL     34285
HAZELTON, GARY J              5532 E ALYSSA CT                                                                                 WHITE LAKE       MI     48383‐4001
HAZELTON, JAMES R             7929 ADAMS ST                                                                                    DARIEN            IL    60561‐5003
HAZELTON, JENNIE A            19847 ROAD E16 ROUTE 1                                                                           CONTINENTAL      OH     45831‐9655
HAZELTON, JOHN R              1615 MAPLE TER UNIT 1L                                                                           LISLE             IL    60532‐2545
HAZELTON, LAWRENCE J          19847 ROAD E16 ROUTE 1                                                                           CONTINENTAL      OH     45831
HAZELTON, LESIA L             7348 BANCROFT RD                                                                                 BANCROFT         MI     48414‐9783
HAZELTON, MARJORIE            20421 STATE RT 15                                                                                CONTINENTAL      OH     45831‐9634
HAZELTON, MARJORIE            20421 STATE ROUTE 15                                                                             CONTINENTAL      OH     45831‐9634
HAZELTON, MARK A              20421 STATE ROUTE 15 223                                                                         CONTINENTAL      OH     45831
HAZELTON, ROBERT G            740 E MAIN ST                                                                                    LEIPSIC          OH     45856‐1439
HAZELTON, STACEY              1150 HUNTER CT                                                                                   MILFORD          MI     48381‐3180
HAZELWOOD & WEBER LLC         200 N 3RD ST                                                                                     SAINT CHARLES    MO     63301‐2813
HAZELWOOD ARMIDD L (490530)   NICHOLL LAW OFFICES PETER T      36 SOUTH CHARLES ST                                             BALTIMORE        MD     21201
HAZELWOOD CORP                3010 DR ANDREW J BROWN AVE                                                                       INDIANAPOLIS     IN     46205‐4027
HAZELWOOD NELDA               PO BOX 70                                                                                        STANTON          TX     79782‐0070
HAZELWOOD, ALICE M            5331 W N00S                                                                                      MARION           IN     46953
HAZELWOOD, ARMIDD L           NICHOLL LAW OFFICES PETER T      36 SOUTH CHARLES ST                                             BALTIMORE        MD     21201
HAZELWOOD, BARRY W            422 ELK MILLS RD                                                                                 ELKTON           MD     21921‐3822
HAZELWOOD, BEVERLY S          384 BLACKBURN HOLLOW RD                                                                          PULASKI          TN     38478‐7055
HAZELWOOD, BRIAN L            7735 REYNOLDS RD                                                                                 CAMBY            IN     46113‐9271
HAZELWOOD, CARL G             PO BOX 1048                                                                                      LANCASTER        OH     43130‐0048
HAZELWOOD, CHRISTY JO         1320 NE 22ND ST                                                                                  MOORE            OK     73160‐6421
HAZELWOOD, CHRISTY JO         1320 N E 22ND                                                                                    MOORE            OK     73160‐6421
HAZELWOOD, DAVID C            4979 HENDRICKSON RD                                                                              FRANKLIN         OH     45005‐9701
HAZELWOOD, GARY L             4550 W SANILAC RD                                                                                SNOVER           MI     48472‐9705
HAZELWOOD, JACK L             6903 CHAUNCEY DR                                                                                 INDIANAPOLIS     IN     46221‐4813
HAZELWOOD, JAMES W            110 JEFFERSON VLY                                                                                COATESVILLE      IN     46121‐8936
HAZELWOOD, KEITH C            13412 HUNTINGTON ST                                                                              FONTANA          CA     92336
HAZELWOOD, RALPH              2690 HAMILTON MASON RD                                                                           HAMILTON         OH     45011‐5358
HAZELWOOD, RAY L              2391 STEVEN DR                                                                                   CORONA           CA     92879
HAZELWOOD, TIMOTHY
HAZELWOOD, VERNON             384 BLACKBURN HOLLOW RD                                                                          PULASKI          TN     38478‐7055
HAZELY, CHARLES J             5122 RIDGEWOOD ST                                                                                DETROIT          MI     48204‐4804
HAZELY, NELLIE E              25610 GRAND CONCOURSE ST                                                                         SOUTHFIELD       MI     48075‐1749
HAZELY, TIMOTHY A             27436 PIERCE ST                                                                                  SOUTHFIELD       MI     48076‐7409
HAZELY, WENDELL J             25610 GRAND CONCOURSE ST                                                                         SOUTHFIELD       MI     48075‐1749
HAZEM EZZAT                   6205 COUNTRY RIDGE DR                                                                            TROY             MI     48098‐5375
HAZEMY, JAMES                 27671 S RIVER RD                                                                                 HARRISON TWP     MI     48045‐2175
HAZEN HAROLD (626563)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                               STREET, SUITE 600
HAZEN HARRISON                202 YORKTOWN RD                                                                                  CLARKSVILLE     TN      37042‐3631
HAZEN HOLEY                   PMB299684‐3590 ROUND BOTTOM RD                                                                   CINCINNATI      OH      45244
HAZEN JOHN L                  6500 ELKRUN CT                                                                                   CLARKSTON       MI      48348‐2812
HAZEN JR, ROBERT L            1218 OAKDALE DR                                                                                  ANDERSON        IN      46011‐1149
HAZEN KRITZMAN                5019 BAKER RD                                                                                    BRIDGEPORT      MI      48722‐9533
HAZEN LAURIE                  HAZEN, LAURIE                    30 E BUTLER AVE                                                 AMBLER          PA      19002
HAZEN MOTOR COMPANY           STEVEN HUBER                     10 CENTRAL AVE S                                                HAZEN           ND      58545
HAZEN MOTOR COMPANY           10 CENTRAL AVE S                                                                                 HAZEN           ND      58545
HAZEN POWDER PARTS            1339 HIGHWAY 63 N                FMLY CAPSTAN INLAND                                             HAZEN           AR      72064‐8133
HAZEN SCHMITT                 445 LAKESHORE DR                                                                                 COLUMBIAVILLE   MI      48421‐9728
HAZEN SMITH JR                3619 HAYES TOWER RD                                                                              GAYLORD         MI      49735‐9612
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Name                    Address1                         Address2                      Address3       Address4                City              State Zip
HAZEN TEC LLC           SHERRY FREE‐108                  RT. 1 BOX 214‐E               STATE HWY 11   DONGGUAN, GUANGDONG
                                                                                                      CHINA (PEOPLE'S REP)
HAZEN THORKELSSON
HAZEN TRANSPORT         BRIAN PECZYNSKI                  27050 WICK RD                                                        TAYLOR            MI    48180‐3015
HAZEN TRANSPORT INC     27050 WICK RD                                                                                         TAYLOR            MI    48180‐3099
HAZEN WARD              8310 W 88TH ST                                                                                        INDIANAPOLIS      IN    46278‐1120
HAZEN WARNER JR         10801 DITCH RD                                                                                        CHESANING         MI    48616‐9746
HAZEN WILCOX            9220 W OP AVE                                                                                         KALAMAZOO         MI    49009‐8440
HAZEN, ALINE A          PO BOX 506                                                                                            PARISHVILLE       NY    13672‐0506
HAZEN, ALVIN L          12448 E GREENFIELD RD                                                                                 LANSING           MI    48917‐8615
HAZEN, BOBBY D          16213 MOORE PARK RD                                                                                   MACOMB            MI    48044‐1149
HAZEN, BRIAN H          2713 BROADMOOR DR                                                                                     ROCHESTER HILLS   MI    48309‐1350
HAZEN, CHARLES C        23900 LONGACRE ST                                                                                     FARMINGTON        MI    48335‐3328
HAZEN, DENNIS           1144 PEAVY RD                                                                                         HOWELL            MI    48843‐8854
HAZEN, ED               BUSH JOHN C                      1600 E FLORIDA AVE STE 203                                           HEMET             CA    92544‐8638
HAZEN, FAY G            105 LENOX DR                                                                                          COLUMBIA          TN    38401‐7203
HAZEN, FLOYD E          2045 130TH AVE                                                                                        HOPKINS           MI    49328‐8508
HAZEN, FRANK A          2268 POLO PARK DR                                                                                     DAYTON            OH    45439‐3267
HAZEN, FRANK E          4203 N VASSAR RD                                                                                      FLINT             MI    48506‐1732
HAZEN, GARY L           2860 RANIERI DR                                                                                       TROY              MI    48085‐1115
HAZEN, GUY S            214 WESTWOOD DR                                                                                       BEDFORD           IN    47421‐3938
HAZEN, HAROLD           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA    23510‐2212
                                                         STREET, SUITE 600
HAZEN, HARVEY G         503 N FORREST ST                                                                                      WAYLAND            MI   49348‐1119
HAZEN, HELEN J          11310 TEBEAU DR                                                                                       SPARTA             MI   49345‐8446
HAZEN, ISABEL           505 CINNAMON RIDGE                                                                                    LAKE ORION         MI   48362‐3317
HAZEN, JACK A           964 STATE HIGHWAY 23                                                                                  S NEW BERLIN       NY   13843‐3176
HAZEN, JOHN F           921 CHURCH ST                                                                                         PLYMOUTH           MI   48170‐1643
HAZEN, JOHN F           921 CHURCH STREET                                                                                     PLYMOUTH           MI   48170‐1643
HAZEN, JOHN L           6500 ELKRUN CT                                                                                        CLARKSTON          MI   48348‐2812
HAZEN, KEITH M          838 STEVENS CREEK LN                                                                                  FORSYTH            IL   62535‐9712
HAZEN, KENNETH E        3183 16TH ST                                                                                          HOPKINS            MI   49328‐9717
HAZEN, LLOYD G          392 WEST KENNETT ROAD                                                                                 PONTIAC            MI   48340‐1639
HAZEN, LLOYD G          392 W KENNETT RD                                                                                      PONTIAC            MI   48340‐1639
HAZEN, MARIA
HAZEN, MARLIN E         32 BURRITT RD                                                                                         HILTON            NY    14468‐9768
HAZEN, MATTHEW G        662 E TENNYSON AVE                                                                                    PONTIAC           MI    48340‐2958
HAZEN, MATTHEW GORDON   662 E TENNYSON AVE                                                                                    PONTIAC           MI    48340‐2958
HAZEN, MICHELLE LYNN    392 W KENNETT RD                                                                                      PONTIAC           MI    48340‐1639
HAZEN, MORTON           14273 SKIPPER CT                                                                                      CARMEL            IN    46033
HAZEN, NEAL J           1558 LINCOLN AVE                                                                                      LAKEWOOD          OH    44107‐4437
HAZEN, PAUL D           3610 FARMERS CREEK RD                                                                                 METAMORA          MI    48455‐9103
HAZEN, PHILLIP L        1213 MOHAWK AVE                                                                                       FLINT             MI    48507‐1928
HAZEN, PHILLIP LOUIS    1213 MOHAWK AVE                                                                                       FLINT             MI    48507‐1928
HAZEN, RODNEY           9650 GIBBS RD                                                                                         CLARKSTON         MI    48348‐1504
HAZEN, RONALD P         PO BOX 656                                                                                            PRUDENVILLE       MI    48651‐0656
HAZEN, STEVEN D         1900 NE 24TH ST                                                                                       BLUE SPRINGS      MO    64029‐9615
HAZEN, THURMAN T        50 GLENBROOK RD APT 7A                                                                                STAMFORD          CT    06902
HAZEN, WADE S           476 SUNDOWN DR                                                                                        GRAND JUNCTION    CO    81504‐6121
HAZEN, WANDA            2615 FOWLER ST                                                                                        ANDERSON          IN    46012‐3715
HAZEN, WILFRED J        3228 RISEDORPH AVE                                                                                    FLINT             MI    48506‐3049
HAZEN, WILMA K          1150 STONEHENGE RD                                                                                    FLINT             MI    48532‐3223
HAZENTEC LC             SHERRY FREE‐108                  RT. 1 BOX 214‐E               STATE HWY 11   DONGGUAN, GUANGDONG
                                                                                                      CHINA (PEOPLE'S REP)
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Name                          Address1                           Address2                        Address3   Address4               City              State   Zip
HAZER, JAMES E                PO BOX 1487                        136 WESTWOOD LANE                                                 STEELVILLE         MO     65565‐1487
HAZEWSKI DONALD (466834)      ANGELOS PETER G LAW OFFICE         1300 N MARKET ST STE 212                                          WILMINGTON         DE     19801‐1813
HAZEWSKI, ANNA S              2301 S MILLBEND DR APT 1101                                                                          THE WOODLANDS      TX     77380‐1756
HAZEWSKI, ANNA S              2301 SOUTH MILLBEND DR. APT 1101                                                                     THE WOODLANDS      TX     77380‐1756
HAZEWSKI, DONALD              ANGELOS PETER G LAW OFFICE         1300 N MARKET ST STE 212                                          WILMINGTON         DE     19801‐1813
HAZI, LINDA S                 2601 OLD HICKORY COURT                                                                               HERMITAGE          PA     16148‐6148
HAZIM GHALLOZI                5871 BALFOUR AVE                                                                                     ALLEN PARK         MI     48101‐2801
HAZIME, MAHMOUD               6305 YINGER AVE                                                                                      DEARBORN           MI     48126‐2027
HAZINAKIS ROBERT A (475792)   MAZUR & KITTEL PLLC                1490 FIRST NATIONAL BUILDING                                      DETROIT            MI     48226
HAZINAKIS, ROBERT A           MAZUR & KITTEL PLLC                1490 FIRST NATIONAL BUILDING                                      DETROIT            MI     48226
HAZLE ROZZELL                 1963 WINFIELD PARK DR                                                                                GREENFIELD         IN     46140‐2904
HAZLE, MARY L                 2431 COUNTY ROAD 72                                                                                  DANVILLE           AL     35619‐8430
HAZLE, STUART A               1795 W CENTERLINE RD                                                                                 SAINT JOHNS        MI     48879‐9275
HAZLEGROVE JR, RAYMOND C      1541 ELRINO ST                                                                                       BALTIMORE          MD     21224‐6139
HAZLET ESTES                  6518 ROCK HOUSE HOLLOW RD                                                                            LYLES              TN     37098‐2024
HAZLETON, TOMAS J.            1117 COOPER STREET                                                                                   WOODBURY           NJ     08096‐3077
HAZLETT ERNEST M (439120)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510
                                                                 STREET, SUITE 600
HAZLETT ROBERT W (429071)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510
                                                                 STREET, SUITE 600
HAZLETT WILLIAM B (413695)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510
                                                                 STREET, SUITE 600
HAZLETT, ANNA L.              112 TWP 1031                                                                                         NOVA              OH      44859
HAZLETT, CARL L               402 W ROLLING HILLS                                                                                  CONROE            TX      77304‐1209
HAZLETT, CARL L               402 ROLLING HILLS DR                                                                                 CONROE            TX      77304‐1209
HAZLETT, CAROLE L             7576 PALMER GLEN CIR                                                                                 SARASOTA          FL      34240‐7828
HAZLETT, CHARLES K            454 E CHURCH ST APT 122                                                                              WINTERSVILLE      OH      43953‐3714
HAZLETT, DEBORAH G            3236 DOVE DR SW                                                                                      WARREN            OH      44481‐9205
HAZLETT, DEBORAH G            3236 DOVE DR                                                                                         WARREN            OH      44481‐9205
HAZLETT, DOROTHY              2501 KEYSTONE CLUB DR. #455                                                                          DAYTON            OH      45439‐4223
HAZLETT, ERNEST M             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA      23510‐2212
                                                                 STREET, SUITE 600
HAZLETT, JAMES A              6088 OLD BRICKSTORE RD                                                                               GREENSBORO        NC      27455
HAZLETT, JOHN T               16551 192ND STREET                                                                                   LEXINGTON         OK      73051‐5526
HAZLETT, LARRY F              29454 E HIGHWAY 28                                                                                   HARVEY            AR      72841‐8816
HAZLETT, MARY F               4343 QUEEN AVE                                                                                       FRANKLIN          OH      45005‐1147
HAZLETT, MARY F               4343 QUEEN AVE.                                                                                      FRANKLIN          OH      45005‐1147
HAZLETT, MICHAEL H            1336 S POST RD                                                                                       INDIANAPOLIS      IN      46239‐9632
HAZLETT, MICHAEL R            2424 WESTWOOD DR                                                                                     ROCHESTER HILLS   MI      48306‐3171
HAZLETT, PHYLLIS R            36987 W 63RD ST                                                                                      CAMDEN            MO      64017‐9119
HAZLETT, RICHARD D            2622 ROY ST                                                                                          YOUNGSTOWN        OH      44509‐1204
HAZLETT, RICHARD L            4282 CLOVER DR                                                                                       RAVENNA           OH      44266‐9316
HAZLETT, ROBERT E             508 W MAIN ST                                                                                        ELKLAND           PA      16920‐1010
HAZLETT, ROBERT W             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA      23510‐2212
                                                                 STREET, SUITE 600
HAZLETT, RONALD               SUTTER & ENSLEIN                   1598 KANAWHA BLVD EAST, SUITE                                     CHARLESTON        WV      25311
HAZLETT, ROY E                4346 QUEEN AVE                                                                                       FRANKLIN          OH      45005‐1148
HAZLETT, THOMAS R             3127 S 56TH AVE                                                                                      SHELBY            MI      49455‐9761
HAZLETT, WILLIAM B            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA      23510‐2212
                                                                 STREET, SUITE 600
HAZLETT, WILLIAM J            3177 MERIDIAN PARK DR              APT 312                                                           GREENWOOD         IN      46142
HAZLEWOOD, DONALD R           445 GLEN LILY RD                                                                                     BOWLING GREEN     KY      42101‐2873
HAZLEWOOD, SIDNEY L           4251 AUSTIN STREET                                                                                   SARASOTA          FL      34233‐4034
HAZLEY, ANTHONY               1218 W 1ST ST                                                                                        DAYTON            OH      45402‐6631
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Name                                 Address1                           Address2                        Address3   Address4                 City              State   Zip
HAZLINSKY, JOSEPH T                  5166 DUFFIELD RD                                                                                       SWARTZ CREEK       MI     48473‐8601
HAZLINSKY, JOSEPH THOMAS             PO BOX 469                                                                                             HIGGINS LAKE       MI     48627‐0469
HAZLIP, FRANK                        GUY WILLIAM S                      PO BOX 509                                                          MCCOMB             MS     39649‐0509
HAZMASTERS ENVIRONMENTAL
HAZMAT ENVIRONMENTAL GROUP INC       60 COMMERCE DR                                                                                         BUFFALO           NY      14218‐1040
HAZMET/HARRISON TWP                  25318 AFTON ST                                                                                         HARRISON TWP      MI      48045‐3100
HAZRA DAVID                          APT H                              5520 DARBY DAN DRIVE                                                INDIANAPOLIS      IN      46237‐7388
HAZRA, DAVID                         5520 DARBY DAN DR APT H                                                                                INDIANAPOLIS      IN      46237‐7388
HAZUDA EDWARD                        3356 S LEAVITT RD SW                                                                                   WARREN            OH      44481‐9197
HAZUKA FRANK (445134)                BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD        OH      44067
                                                                        PROFESSIONAL BLDG
HAZUKA, ERNEST J                    6801 PECK RD                                                                                            LEXINGTON         MI      48450‐8302
HAZZARD, ALBERT J                   1515 PELICAN PATH                                                                                       THE VILLAGES      FL      32162
HAZZARD, IVA B                      2671 KUHLMAN DR                                                                                         SAGINAW           MI      48603‐3032
HAZZARD, JANINE ELISE               1564 HERRINGTON RD APT 2233                                                                             LAWRENCEVILLE     GA      30043‐7950
HAZZARD, MARK S                     9766 COURTLAND DR NE                                                                                    ROCKFORD          MI      49341‐9776
HAZZARD, MARY A                     2219 N. CAROLINA                                                                                        SAGINAW           MI      48602‐3870
HAZZARD, MARY A                     2219 N CAROLINA ST                                                                                      SAGINAW           MI      48602‐3870
HAZZARD, MAXIE L                    105 SCONIERS ST                                                                                         ENTERPRISE        AL      36330‐3145
HAZZARD, MAXWELL B                  69 MANCHESTER RD SW                                                                                     WYOMING           MI      49548‐1141
HAZZARD, MICHAEL                    1564 HERRINGTON RD APT 2233                                                                             LAWRENCEVILLE     GA      30043‐7950
HAZZARD, NORMA L                    61 HOLLY ST SW                                                                                          WYOMING           MI      49548‐4270
HAZZARD, NORMA L                    61 HOLLY                                                                                                WYOMING           MI      49548‐4270
HAZZARD, RUTH O                     1509 COLUMBUS RD                                                                                        BURLINGTON        NJ      08016‐3419
HAZZARD, STEPHEN J                  2514 N 87TH TER                                                                                         SCOTTSDALE        AZ      85257‐1843
HAZZARD, WILLIAM C                  2893 REGAS DR W                                                                                         ATLANTIC BCH      FL      32233‐7013
HAZZIE OWENS                        4550 NUTTY OAK DR                                                                                       MEMPHIS           TN      38141
HAZZOURI EDWARD                     211 S 7TH AVE                                                                                           SCRANTON          PA      18505‐1037
HB FULLER COMPANY                   1200 WILLOW LAKE BLVD                                                                                   SAINT PAUL        MN      55110‐5146
HB FULLER/WARREN                    13650 E. TEN MILE ROAD                                                                                  WARREN            MI      48089
HB POLICE DEPT.                                                         17371 GOTHARD ST                                                                      CA      92647
HB ROBERTS JR                       PO BOX 5203                                                                                             CHARLOTTESVILLE   VA      22905
HB STUBBS COMPANY                   27027 MOUND RD                                                                                          WARREN            MI      48092‐2615
HB STUBBS/WARREN                    27027 MOUND RD                                                                                          WARREN            MI      48092‐2615
HB TURBO                            1005 GEORGIA AVE                                                                                        DEER PARK         TX      77536‐2519
HBA HUTCHINSON BRASIL AUTOMOTIVE LT ESTR DO BARREIRO S/N DISTRITO IND                                              EXTREMA MG 37640 000
                                                                                                                   BRAZIL
HBD INDUSTRIES INC                   1301 W SANDUSKY AVE                                                                                    BELLEFONTAINE     OH      43311
HBPO                                 1050 WILSHIRE DR STE 300                                                                               TROY              MI      48084‐1526
HBPO BETEILIGUNGS GMBH               1050 WILSHIRE DR STE 300                                                                               TROY              MI      48084‐1526
HBPO NORTH AMERICA                   1050 WILSHIRE DR STE 300                                                                               TROY              MI      48084‐1526
HBROWN, WILLIAM                      4977 N EAGLE VILLAGE RD                                                                                MANLIUS           NY      13104‐8420
HBRTHRS 000264 08 20 2007
HBRTHRS 000266 08 20 2007
HBRTHRS 000269 08 20 2007
HBRTHRS 000296 09 18 2007
HBRTHRS 002284 12 10 2007
HBRTHRS 00332V 06 06 2008
HBRTHRS 00381V 06 23 2008
HBRTHRS 00395V 06 18 2008
HBRTHRS 274VMA 10 22 2007
HBRTHRS 391 10 16 2007
HBSC
HBSC                                 1441 SCHILLING PLACE                                                                                   SALINAS            CA     93901
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Name                               Address1                             Address2                         Address3                   Address4                  City               State   Zip
HBSC                               26525 N. RIVERWOODS BLVD                                                                                                   METTAWA              IL    60045
HBW LLC                            C\O W & H REALTY CO                  7014 FOXGLOVE DR                                                                      CHARLOTTE           NC     28226‐9797
HC BECK                            JAMES GETTMAN                        1807 ROSS AVE STE 500                                                                 DALLAS              TX     75201‐8006
HC MINGHAM‐SMITH LIMITED
HC MINGHAM‐SMITH LIMITED           ATTN: CONTRACTS ADMINISTRATOR        33 ARTHUR RD.                                               WOKINGHAM BERKSHIRE
                                                                                                                                    RG41 2SS GREAT BRITAIN
HC QUERETARO SA DE CV              JAVIER DIAZ                          HITCHI CABLE INDIANA             AV MANANTIALES NO 18                                 ROCHESTER HILLS     MI     48309
                                                                                                         PARQUE IN
HC QUERETARO SA DE CV              AV MANANTIALES NO 18 PARQUE IND                                                                  QUERETARO QA 76240
                                                                                                                                    MEXICO
HCA INC                            PO BOX 26125                                                                                                               LANSING             MI     48909‐6125
HCA INC                            5300 PLAINS RD                                                                                                             EATON RAPIDS        MI     48827‐9650
HCA INC                            ROBERT ANDERSON                      PO BOX 26125                                                                          LANSING             MI     48909‐6125
HCA, INC.                          ROBERT ANDERSON                      PO BOX 26125                                                                          LANSING             MI     48909‐6125
HCA, INC.                          ATTN: ROBERT E. MCCARTHY             D/B/A ANDERSON COONSULTING       5300 PLAINS RD.                                      EATON RAPIDS        MI     48827
                                                                        ASSOC
HCA‐HEALTHONE LLC                  720 S COLORADO BLVD                  STE 220A                                                                              DENVER              CO     80246‐1981
HCARE PHARMACY                     PO BOX 510                                                                                                                 WARREN              MI     48090‐0510
HCC AUTO SERVICE                   641 KENNEDY BLVD                                                                                                           BAYONNE             NJ     07002‐2725
HCCM AUTOMOTIVE COMPANY LIMITED    JOSEPH HENDRICK                      3112 W HIGHWAY 74                                                                     MONROE              NC     28110‐8437
PARTNERSHIP
HCFA LABORATORY PROGRAM            PO BOX 70948                                                                                                               CHARLOTTE           NC     28272‐0948
HCI HOLDING BV                     ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 444                                                                            BUTLER              WI     53007‐0444
                                   AGENT
HCL AMERICA INC                    C/O DLA PIPER LLP (US)               ATTN VINCENT J ROLDAN            1251 AVE OF THE AMERICAS                             NEW YORK            NY     10020
HCL CONSULTING LTD                 100 W BIG BEAVER RD STE 200                                                                                                TROY                MI     48084‐5283
HCL CONSULTING LTD                 330 POTRERO AVE                                                                                                            SUNNYVALE           CA     94085‐4113
HCL TECHNOLOGIES AMERICA INC       330 POTRERO AVE                                                                                                            SUNNYVALE           CA     94085‐4113
HCL TECHNOLOGIES AMERICA INC       100 W BIG BEAVER RD STE 200                                                                                                TROY                MI     48084‐5283
HCM/MTE ASSOCIATES, INC.           H. CARTER MYERS                      777 MYERS DR                                                                          CHARLOTTESVILLE     VA     22901‐1139
HCSPAY LLC                         SURGEN LLC                           300 GALLERIA OFFICECENTRE S208                                                        SOUTHFIELD          MI     48034
HCSPAY LLC                         SURGEN LLC                           3675 E DEPOT ST                                                                       FREMONT             IN     46737
HCSPAY LLC                         BOSE MCKINNEY AND EVANS LLP          2700 FIRST INDIANA PLAZA 135                                                          INDIANAPOLIS        IN     46204
                                   ATTORNEYS AT LAW                     NORTH PENNSYLVANIA STREET
HD ADCOCK AND ASSOCIATES           80 TILLMAN ST STE 204                                                                                                      MEMPHIS             TN     38111‐2701
HD BROWN ENTERPRISES LTD           23 BEVERLY ST EAST                                                                               ST GEORGE CANADA ON N0E
                                                                                                                                    1N0 CANADA
HD FACILITIES MAINTENANCE LTD      2323 PARK AVE                                                                                                              CINCINNATI         OH      45206‐2711
HD STUDIOS                         23689 INDUSTRIAL PARK DR                                                                                                   FARMINGTON HILLS   MI      48335‐2857

HD SUPPLY                          501 WEST CHURCH STREET                                                                                                     ORLANDO             FL     32805
HD SUPPLY                          GENE KENDALL                         PO BOX 2273                                                                           ORLANDO             FL     32802‐2273
HD SUPPLY                          ATTN: CORPORATE OFFICER/AUTHORIZED   501 WEST CHURCH STREET                                                                ORLANDO             FL     32805
                                   AGENT
HD SUPPLY ELECTRICAL LTD           6779 CRESCENT DR                                                                                                           NORCROSS            GA     30071‐2934
HD SUPPLY INC                      6779 CRESCENT DR                                                                                                           NORCROSS            GA     30071‐2934
HD SUPPLY INC                      501 W CHURCH ST                                                                                                            ORLANDO             FL     32805
HD SUPPLY WATERWORKS LTD           8615 E 33RD ST                                                                                                             INDIANAPOLIS        IN     46226‐6527
HDC VEHICLE SERVICES               7100 HIGH LIFE DR                                                                                                          HOUSTON             TX     77066‐3713
HDH AUTOMOTIVE DBA HENDERSON CAR                                        1717 N MAIN ST                                                                                            NC     27262
CARE CENTER
HDR ENGINEERING                    8404 INDIAN HILLS DRIVE                                                                                                    OMAHA               NE     68114
HDR ENGINEERING                    ATTN: DICK BELL                      8404 INDIAN HILLS DRIVE                                                               OMAHA               NE     68114
HDR ENGINEERING INC                PO BOX 3480                                                                                                                OMAHA               NE     68103‐0480
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Name                         Address1                             Address2                      Address3   Address4                    City               State Zip
HE DANBY/ZIONSVILLE          4671 NORTHWESTERN DR                                                                                      ZIONSVILLE          IN 46077‐9248
HE HAIXIANG                  2200 BENJAMIN FRANKLIN PKWY APT                                                                           PHILADELPHIA        PA 19130‐3614
                             S1108
HE HOLDINGS INC. (DEFENSE)   ATTN: ADAM O. EMMERICH,              51 WEST 52ND STREET                                                  NEW YORK           NY   10019
                             ESQ.WACHTELL, LIPTON, ROSEN AND KATZ

HE HOLDINGS INC. (DEFENSE)   ATTN: CHRISTOPH L. HOFFMANC/O        141 SPRING ST                                                        LEXINGTON          MA   02421‐7860
                             RAYTHEON COMPANY
HE HOLDINGS, INC.            7200 HUGHES TERRACE                                                                                       LOS ANGELES        CA   90045
HE HONG                      PO BOX 2871                          18 SHUANGQUING ROAD HAIDLAN              BEIJING 10085 CHINA CHINA

HE JIE                       1012 LAKESTONE LN                                                                                         AURORA             IL   60504‐6436
HE KENNY                     HE, GANG                             5055 WILSHIRE BLVD STE 300                                           LOS ANGELES        CA   90036‐6101
HE KENNY                     HE, KENNY                            5055 WILSHIRE BLVD STE 300                                           LOS ANGELES        CA   90036‐6101
HE LENNON INC                23920 FREEWAY PARK DR                                                                                     FARMINGTON HILLS   MI   48335‐2816

HE PINGAN                    317 DIVISION ST APT 76                                                                                    ANN ARBOR          MI   48104
HE SERVICES CO               5117 S DORT HWY                                                                                           FLINT              MI   48507
HE SERVICES CO               225 E MORLEY DR                                                                                           SAGINAW            MI   48601‐9482
HE SIJUN                     14123 GLENWOOD DR                                                                                         SHELBY TOWNSHIP    MI   48315‐5424
HE VANNATTER/WALLACE         102 ARNOLD STREET                                                             WALLACEBURG ON N8A 3P4
                                                                                                           CANADA
HE YUESHENG                  4894 AQUADUCT DRIVE                                                                                       GREENWOOD          IN   46142‐7533
HE ZHE                       1044 LINCOLN HIGHLANDS DR                                                                                 CORAOPLIS          PA   15108‐7745
HE, CHUAN                    50256 LIVINGSTON DR                                                                                       NORTHVILLE         MI   48168‐6707
HE, GANG                     KROHN & MOSS ‐ CA,                   5055 WILSHIRE BLVD STE 300                                           LOS ANGELES        CA   90036‐6101
HE, HUA                      1902 DUNDEE ROAD                                                                                          ROCKVILLE          MD   20850‐3135
HE, HUA                      1902 DUNDEE RD                                                                                            ROCKVILLE          MD   20850‐3135
HE, JIE                      1012 LAKESTONE LN                                                                                         AURORA             IL   60504‐6436
HE, KENNY                    KROHN & MOSS ‐ CA,                   5055 WILSHIRE BLVD STE 300                                           LOS ANGELES        CA   90036‐6101
HE, PINGAN                   317 S DIVISION ST #76                                                                                     ANN ARBOR          MI   48104
HE, SIJUN                    14123 GLENWOOD DR                                                                                         SHELBY TWP         MI   48315‐5424
HE, SONG                     19 LEE                                                                                                    IRVINE             CA   92620‐6202
HE, XIN                      1044 DOWNING ST APT 1008                                                                                  DENVER             CO   80218‐2962
HE, XIN                      16787 YELLOWSTONE DR                                                                                      NORTHVILLE         MI   48168‐6845
HE, YONGSHENG                38209 PLUMHOLLOW DR                                                                                       STERLING HTS       MI   48312‐1252
HE, YUANZHAN                 1942 FLEETWOOD DR                                                                                         TROY               MI   48098‐2558
HE, YUANZHAN Y               1942 FLEETWOOD DR                                                                                         TROY               MI   48098‐2558
HE‐DOYLE QUN                 APT 506                              509 EAST UNIVERSITY DRIVE                                            ROCHESTER          MI   48307‐2161
HE‐DOYLE, QUN                509 E UNIVERSITY DR APT 506                                                                               ROCHESTER          MI   48307‐2161
HEABERLIN, FRED J            324 HOLLY RD                                                                                              ADRIAN             PA   16210‐3214
HEACOCK EDWARD               2987 POPLAR AVE BLDG 28                                                                                   LEESBURG           FL   34748
HEACOCK JR, WILLIAM T        3819 9TH ST                                                                                               NORTH BEACH        MD   20714‐3075
HEACOCK, ANNIE D             3760 SHAW RD                                                                                              KINGSTON           MI   48741‐9504
HEACOCK, CHRISTIE M          11680 MILFORD RD                                                                                          HOLLY              MI   48442‐8901
HEACOCK, CHRISTIE M.         11680 MILFORD RD                                                                                          HOLLY              MI   48442‐8901
HEACOCK, DONALD W            6593 GABERDIEL TRL                                                                                        GRAYLING           MI   49738‐8090
HEACOCK, DOUGLAS L           11680 MILFORD RD                                                                                          HOLLY              MI   48442‐8901
HEACOCK, GINGER L            1267 AVENUE A LOT 84                                                                                      BATTLE CREEK       MI   49037‐7673
HEACOCK, JAMIE L             9562 STATE ROUTE 314                                                                                      MANSFIELD          OH   44904
HEACOCK, JEANETTE            13355 CHIPPEWA TRL                                                                                        JOHANNESBURG       MI   49751‐9610
HEACOCK, KENNETH S           1133 KANE RD                                                                                              STOCKBRIDGE        MI   49285‐9612
HEACOCK, NORMA J             103 PARK VILLAGE                                                                                          SHELBY             OH   44875‐1878
HEACOCK, NORMA J             103 PARK VIG.                                                                                             SHELBY             OH   44875‐1070
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Name                              Address1                          Address2                           Address3           Address4               City               State   Zip
HEACOCK, PHILLIP D                8585 LAVERE RD                                                                                                 HALE                MI     48739‐9214
HEACOCK, RICHARD J                671 BENT OAK DRIVE                                                                                             LAKE ST LOUIS       MO     63367‐1452
HEACOCK, ROGER D                  11415 BIG LAKE RD                                                                                              DAVISBURG           MI     48350‐3549
HEACOX HARTMAN MATTAINI KOSHMRL   550 HAMM BUILDING                 408 ST. PETER STREET                                                         SAINT PAUL          MN     55102
COSGRIFF
HEACOX, GARY D                    6479 COLONIAL DR                                                                                               LOCKPORT           NY      14094‐6122
HEACOX, MARK J                    895 CIMARRON OVAL                                                                                              AURORA             OH      44202
HEACOX, MICHAEL W                 410 S 5TH ST                                                                                                   EVANSVILLE         WI      53536‐1218
HEAD ACOUSTICS INC                6964 KENSINGTON RD                                                                                             BRIGHTON           MI      48116‐8334
HEAD AUDREY                       6325 LEMONWOOD DR                                                                                              COLORADO SPRINGS   CO      80918‐3236

HEAD AUTO SALES                   ATTN: GENE HEAD                   210 W MORGAN ST                                                              KOKOMO             IN      46901‐2253
HEAD DANIEL                       HEAD, DANIEL                      22824 S. PROSPECT                                                            CLEVELAND          MO      64734
HEAD DAVID                        2228 CYPRESS HOLLOW CT                                                                                         SAFETY HARBOR      FL      34695‐5517
HEAD GLENN                        5180 STONE CREEK DR                                                                                            PLEASANT HILL      IA      50327‐2304
HEAD HUBERT A (429072)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA      23510
                                                                    STREET, SUITE 600
HEAD JAMES                        8174 PEACEFUL LN                                                                                               SHREVEPORT         LA      71107‐8828
HEAD JAMES H (445135)             CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                             CLEVELAND          OH      44115
                                  GAROFOLI                          FL
HEAD JR, HERBERTH E               42600 CHERRY HILL RD APT 132                                                                                   CANTON             MI      48187‐3784
HEAD OF OPERATIONS SG PRIVATE     SOCIETE GENERALE BANK & TRUST     1 RAFFLES QUAY #35‐01 NORTH        SINGAPORE 048583                          SINGAPORE          WY      04858
BANKING                           SINGAPORE                         TOWER
HEAD START                        ATTN: BRENDA WAKEFIELD            1201 4TH ST                                                                  BAY CITY           MI      48708‐6023
HEAD VICTOR (445136)              BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                NORTHFIELD         OH      44067
                                                                    PROFESSIONAL BLDG
HEAD WILLIAM                      3885 FAVERSHAM RD                                                                                              CLEVELAND          OH      44118‐3773
HEAD WILLIAM                      HEAD, WILLIAM                     3885 FAVERSHAM RD                                                            CLEVELAND          OH      44118
HEAD, ALBERT W                    140 DUNNING KEEP                                                                                               COVINGTON          GA      30016‐1742
HEAD, ALVERNA J                   6394 JARVIS RD                                                                                                 SARASOTA           FL      34241‐5611
HEAD, ARLIN J                     179 N CLARK RD                                                                                                 DANSVILLE          MI      48819‐9713
HEAD, BARBARA A                   6241 E HOLLAND RD                                                                                              SAGINAW            MI      48601‐9405
HEAD, BECKY J                     7197 MISSION HILLS DR                                                                                          YPSILANTI          MI      48197‐9556
HEAD, BENJAMIN S                  1200 EARHART ROAD #307                                                                                         ANN ARBOR          MI      48105
HEAD, BERDINA M                   101 MONTICELLO CT                                                                                              KOKOMO             IN      46902‐9319
HEAD, BERTHA R                    313 HOLLY CREEK DR                                                                                             CHATSWORTH         GA      30705‐5425
HEAD, BOBBY D                     9318 VAN BUREN ST                                                                                              SAINT HELEN        MI      48656‐9631
HEAD, CALVIN W                    3102 WEST 53D STREET                                                                                           ANDERSON           IN      46011
HEAD, CARLTON F                   25 HEARTHSTONE DR                                                                                              STOCKBRIDGE        GA      30281‐2801
HEAD, CAROLYN M                   5324 WENTWORTH ST                                                                                              FORT WORTH         TX      76132‐2341
HEAD, CHARLES D                   1226 HILLSHIRE ROAD                                                                                            DUNDALK            MD      21222‐1243
HEAD, CHARLES D                   37465 CARSON ST                                                                                                FARMINGTN HLS      MI      48331‐3703
HEAD, CHARLES H                   1226 HILLSHIRE RD                                                                                              BALTIMORE          MD      21222‐1243
HEAD, CHARLES J                   3494 SADDLEBROOK DR                                                                                            LOGANVILLE         GA      30052‐9103
HEAD, CHRISTINE L                 WILLOW TREE APARTMENT F3          160 HELENA CR                                                                BALDWIN            GA      30511
HEAD, CHRISTINE L                 260 MIDNIGHT ST                   APT D3                                                                       BALDWIN            GA      30511‐1736
HEAD, CLARA J                     PO BOX 433                                                                                                     TAWAS CITY         MI      48764‐0433
HEAD, CLARA M                     PO BOX 796                                                                                                     WAYNESVILLE        OH      45068‐0796
HEAD, CLARENCE E                  10203 GRAHAM DR                                                                                                CLARKSTON          MI      48348‐2425
HEAD, CRAIG D                     14322 BRENTWOOD ST                                                                                             LIVONIA            MI      48154‐4548
HEAD, CRAIG DOUGLAS               14322 BRENTWOOD ST                                                                                             LIVONIA            MI      48154‐4548
HEAD, DANIEL                      22824 S PROSPECT AVE                                                                                           CLEVELAND          MO      64734‐9234
HEAD, DANIEL                      22824 S. PROSPECT                                                                                              CLEVELAND          MO      64734
HEAD, DAVID A                     1256 KERWIN LN                                                                                                 MANTECA            CA      95336‐6414
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Name                    Address1                          Address2                          Address3   Address4               City             State Zip
HEAD, DAVID C           2995 S HIGHWAY W                                                                                      WINFIELD          MO 63389‐2026
HEAD, DEBORAH K         10203 GRAHAM DR                                                                                       CLARKSTON         MI 48348‐2425
HEAD, DEBRA A           1606 GATEWAY BLVD APT 12                                                                              BELOIT            WI 53511
HEAD, DELMA J           10923 HWY A                                                                                           WHITEWATER        WI 53190‐3615
HEAD, DIANNE C          212 ESSEX DR                                                                                          ORMOND BEACH      FL 32176‐3707
HEAD, DONALD A          303 SMITH ST APT 817                                                                                  CLIO              MI 48420‐1364
HEAD, DONALD ALLEN      303 SMITH ST APT 817                                                                                  CLIO              MI 48420‐1364
HEAD, DONALD G          19053 FORTUNA DR S                                                                                    CLINTON TOWNSHIP MI 48038‐2240

HEAD, DOROTHY R         PO BOX 365                                                                                            XENIA              OH   45385‐0365
HEAD, ELAINE F          1063 SHEFFIELD DR                                                                                     AVON               IN   46123‐8059
HEAD, ELLA G            1865 E CALSTOCK ST                                                                                    CARSON             CA   90746‐2906
HEAD, EUGENE            1246 LAMBETH WAY SE                                                                                   CONYERS            GA   30013‐1754
HEAD, FAYE D            753 GLENCROSS DR APT 406                                                                              JACKSON            MS   39206‐2556
HEAD, FRANK D           7197 MISSION HILLS DR                                                                                 YPSILANTI          MI   48197‐9556
HEAD, FRANKIE           4558 HADLEY ST                                                                                        FORT WORTH         TX   76117‐3609
HEAD, FRANKIE           4558 HADLEY                                                                                           FT WORTH           TX   76117‐3609
HEAD, FREDERICK D       6241 HOLLAND ROAD R4.                                                                                 SAGINAW            MI   48601
HEAD, GENE A            7745 VISGER AVE                                                                                       WATERFORD          MI   48329‐1067
HEAD, GERALD L          1980 CREST RD                                                                                         CINCINNATI         OH   45240‐2060
HEAD, GERALD N          1470 NADEAU RD                                                                                        MIKADO             MI   48745‐8717
HEAD, GLENDA S          8104 JONES CREEK RD S                                                                                 BLAIRSVILLE        GA   30512‐5138
HEAD, GORDON R          PO BOX 318                                                                                            SWARTZ CREEK       MI   48473‐0318
HEAD, HAROLD F          9098 COBBLESTONE CIR                                                                                  PLYMOUTH           MI   48170‐5710
HEAD, HARRIETT B        5078 FIELD RD                                                                                         CLIO               MI   48420‐8269
HEAD, HERBERT W         6394 JARVIS RD                                                                                        SARASOTA           FL   34241‐5611
HEAD, HOWARD            1485 MILL ACRES DR SW                                                                                 ATLANTA            GA   30311‐3215
HEAD, HUBERT A          C/O GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510‐2212
                                                          STREET, SUITE 600
HEAD, IMOGENE           736 GROUSE CIR                                                                                        HIAWASSEE          GA   30546‐4644
HEAD, J D               1063 SHEFFIELD DR                                                                                     AVON               IN   46123‐8059
HEAD, JACK B            977 BELVEDERE DR APT B                                                                                LEBANON            OH   45036‐8603
HEAD, JAMES A           1111 S LAKE PLEASANT RD APT 1                                                                         ATTICA             MI   48412‐9633
HEAD, JAMES A           1111 LAKE PLEASANT RD             APT 1                                                               ATTICA             MI   48412
HEAD, JAMES D           105 WAYNE PL                                                                                          SHARPSVILLE        IN   46068‐9238
HEAD, JAMES D           730 ROCHESTER ST                                                                                      LAKE ORION         MI   48362‐2862
HEAD, JAMES H           8172 S SHOREVIEW DR                                                                                   TRAFALGAR          IN   46181‐8810
HEAD, JAMES H           CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                     CLEVELAND          OH   44115
                        GAROFOLI                          FL
HEAD, JAMES L           367 KAY DR                                                                                            WINDER             GA   30680‐3160
HEAD, JAMES M           35 ROANOKE LN                                                                                         ROCHESTER HILLS    MI   48309‐1422
HEAD, JAMES R           PO BOX 200353                                                                                         CARTERSVILLE       GA   30120‐9006
HEAD, JAMES R           136 N RHYNE RD                                                                                        NORTH WILKESBORO   NC   28659‐8410

HEAD, JANET             1500 E. 193RD #E‐202                                                                                  EUCLID             OH   44117
HEAD, JEFFREY L         220 PLEASANT DR                                                                                       COLUMBIA           TN   38401‐4932
HEAD, JERRY W           1706 GUMMER AVE.                                                                                      DAYTON             OH   45403‐3457
HEAD, JILL L            3306 TREE SUMMIT PKWY AY                                                                              DULUTH             GA   30096
HEAD, JOHN A            8455 HIGHWAY E                                                                                        EDGERTON           MO   64444‐9048
HEAD, JOHN F            928 PRESCOTT ST                                                                                       FORT MYERS BEACH   FL   33931‐2216

HEAD, JOHN W            6514 W 78TH TER                                                                                       OVERLAND PARK      KS   66204‐3115
HEAD, JR., THORNTON J   205 CRESTVIEW DR                                                                                      ARLINGTON          TX   76018‐1064
HEAD, JR.,THORNTON J    205 CRESTVIEW DR                                                                                      ARLINGTON          TX   76018‐1064
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Name                    Address1                          Address2                       Address3   Address4               City               State   Zip
HEAD, JUDITH            E5431 COUNTY ROAD BB                                                                               MENOMONIE           WI     54751
HEAD, KENNETH W         4756 COUNTRY LN APT 204                                                                            CLEVELAND           OH     44128‐5843
HEAD, L'DONNA N         2731 TAOS DR                                                                                       MIAMISBURG          OH     45342
HEAD, LEILANI S         6904 SAYLE ST                                                                                      GREENVILLE          TX     75402‐5558
HEAD, LEILANI S.        2315 SHERATON DRIVE                                                                                CARROLLTON          TX     75007‐5734
HEAD, LESTER R          712 WALTON RD NW                                                                                   MONROE              GA     30656‐1593
HEAD, LEVI C            144 ROPER RD                                                                                       SHADY DALE          GA     31085‐3216
HEAD, LEWIS D           PO BOX 7                                                                                           JERSEY              GA     30018‐0007
HEAD, LIZZIE B.         P. O. BOX 162                                                                                      JERSEY              GA     30018‐0162
HEAD, LIZZIE B.         PO BOX 162                                                                                         JERSEY              GA     30018‐0162
HEAD, LOIS B            5317 PATTON CIR                                                                                    TYLER               TX     75704‐2001
HEAD, LORETTA M         928 PRESCOTT ST                                                                                    FORT MYERS BEACH    FL     33931‐2216

HEAD, MARIAN J          36812 TARA AVE                                                                                     ZEPHYRHILLS        FL      33542‐1978
HEAD, MARIE W           1485 MILL ACRES DR SW                                                                              ATLANTA            GA      30311‐3215
HEAD, MARION N          1428 PALMNOLD CIR E                                                                                FORT WORTH         TX      76120‐4704
HEAD, MARJORIE J        18 TILLINGHAST ST                                                                                  NEWARK             NJ      07108‐1719
HEAD, MARVIN L          PO BOX 596                                                                                         LAKESIDE           AZ      85929‐0596
HEAD, MARY L            7260 HARVARD AVE                                                                                   MOUNT MORRIS       MI      48458‐2143
HEAD, MICHAEL L         BOX 236                                                                                            JERSEY             GA      30018
HEAD, MURL D            PO BOX 44                                                                                          SHARPSVILLE        IN      46068‐0044
HEAD, MURL DAVID        PO BOX 44                                                                                          SHARPSVILLE        IN      46068‐0044
HEAD, NEAL F            2204 PRIMROSE AVE                                                                                  FORT WORTH         TX      76111‐1419
HEAD, NEAL W            4558 HADLEY ST                                                                                     FORT WORTH         TX      76117‐3609
HEAD, NORMAN R          309 N PINE ST                                                                                      ROANOKE            TX      76262‐6637
HEAD, OPAL L            ROUTE 1                                                                                            MOSS               TN      38575
HEAD, OTIS H            2909 N EARLY ST                                                                                    KANSAS CITY        KS      66101‐1125
HEAD, RHONDA R          4440 DANNY R WIMBERLY DR APT 22                                                                    SHREVEPORT         LA      71119
HEAD, RICHARD A         4415 HENDERSON RD                                                                                  STANDISH           MI      48658‐9478
HEAD, ROBERT D          17623 S MERRIOTT RD                                                                                PLEASANT HILL      MO      64080‐7569
HEAD, ROLAND C          PO BOX 2205                                                                                        ZEPHYRHILLS        FL      33539‐2205
HEAD, RONALD F          6725 BUNCOMBE RD APT 159                                                                           SHREVEPORT         LA      71129
HEAD, RONALD F          4241 GREENBRIAR DR                                                                                 SHREVEPORT         LA      71109‐6326
HEAD, RONALD FRANKLIN   4241 GREENBRIAR DRIVE                                                                              SHREVEPORT         LA      71109‐6326
HEAD, RONALD L          8851 WEBSTER RD                                                                                    STRONGSVILLE       OH      44136‐1719
HEAD, RONALD L.         8851 WEBSTER RD                                                                                    STRONGSVILLE       OH      44136‐1719
HEAD, RUBY M            1740 ESTEES RD                    RT 1                                                             RUTLEDGE           GA      30663‐9801
HEAD, RUBY M            1740 ESTES RD                     RT 1                                                             RUTLEDGE           GA      30663‐2838
HEAD, SANDRA J          100 DEERFIELD CT APT 1                                                                             PRUDENVILLE        MI      48651‐9203
HEAD, SANDRA J          144 DEERFIELD COURT               APT 1                                                            PRUDENVILLE        MI      48651
HEAD, SHARON            24243 WEATHERVANE CT                                                                               NOVI               MI      48374‐3078
HEAD, SHIRLEY J         16870 ANDERSON DR                                                                                  SOUTHGATE          MI      48195‐3914
HEAD, STEVE W           500 STOVER RD                                                                                      WEST ALEXANDRIA    OH      45381‐9302

HEAD, STEVE WINFRED     500 STOVER RD                                                                                      WEST ALEXANDRIA    OH      45381‐9302

HEAD, TATE              944 COUNTY LINE RD                                                                                 CUMMING            GA      30040‐5414
HEAD, THOMAS            18656 SE 18TH ST                                                                                   SILVER SPRINGS     FL      34488‐6483
HEAD, TOMMY F           2156 N BOSART AVE                                                                                  INDIANAPOLIS       IN      46218‐3836
HEAD, VICTOR            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH      44067
                                                          PROFESSIONAL BLDG
HEAD, WALTER E          266 PARK ST                                                                                        MONTROSE            MI     48457‐9789
HEAD, WALTER H          PO BOX 433                                                                                         TAWAS CITY          MI     48764‐0433
HEAD, WAYNE H           465 EDINBOROUGH ST                                                                                 TEMPERANCE          MI     48182‐1092
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Name                         Address1                         Address2                           Address3      Address4               City            State   Zip
HEAD, WILBERT L              806 LANE STREET                                                                                          GRIFFIN          GA     30223
HEAD, WILLIAM                3885 FAVERSHAM RD                                                                                        CLEVELAND        OH     44118‐3773
HEAD, WILLIAM C              1680 FRONTIER TRL                                                                                        MANSFIELD        OH     44905‐2940
HEAD, WILLIAM LOY            320 OKLAWAHA DR                                                                                          RIVERVIEW        FL     33569
HEAD, WILLIAM R              1729 GALLINAS ROAD NORTHEAST                                                                             RIO RANCHO       NM     87144‐2510
HEAD, WILLIAM W              434 EDWARDS DR NE                                                                                        MARIETTA         GA     30060‐1428
HEAD, WILMA                  106 JONATHAN CT                                                                                          SHELBYVILLE      TN     37160‐3062
HEADAPOHL, RAMON R           2 MIDSHIPS LN                                                                                            SALEM            SC     29676‐4430
HEADD, JOE R                 134 E MUSKEGON ST                                                                                        CEDAR SPRINGS    MI     49319‐9503
HEADD, JONATHAN              14384 LONGACRE ST                                                                                        DETROIT          MI     48227‐1359
HEADD, PATRICIA P            134 E MUSKEGON ST                                                                                        CEDAR SPRINGS    MI     49319‐9503
HEADD, PHYLLIS               3259 NORTH SHERMAN BOULEVARD                                                                             MILWAUKEE        WI     53216‐3546
HEADEN, CLEMENTINE           164 W 141ST ST APT 3H # 172                                                                              NEW YORK         NY     10030‐1817
HEADEN, CLEMENTINE           164‐172 WEST 141ST ST            #3H                                                                     NEW YORK         NY     10030‐1814
HEADEN, LEON J               PO BOX 12265                                                                                             MERRILLVILLE     IN     46411‐2265
HEADEN, LEON J               PO BOX 12096                                                                                             MERRILLVILLE     IN     46411‐2096
HEADFORD STUART (471028)     EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR ,                                         NEW HAVEN        CT     06510
                                                              265 CHURCH STREET
HEADFORD, STUART             EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                          NEW HAVEN        CT     06508‐1866
                                                              265 CHURCH STREET
HEADING JR, HOWARD L         209 TWENTY FIRST STREET                                                                                  BAY CITY        MI      48706
HEADING JR, HOWARD L         121 MARSAC ST                                                                                            BAY CITY        MI      48708
HEADING, EDWARD R            11223 HORTON RD                                                                                          HOLLY           MI      48442‐8405
HEADINGTON, JOHN R           6679 MALLARD CT RT 4                                                                                     ORIENT          OH      43146
HEADLEE CHARLES R (429073)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA      23510
                                                              STREET, SUITE 600
HEADLEE, CHARLES R           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK          VA     23510
                                                              STREET, SUITE 600
HEADLEE, DENNIS A            5523 DONATELLO DR‐92                                                                                     FORT WAYNE      IN      46818‐9220
HEADLEE, EMMA L              5855 APACHE DRIVE                                                                                        LAKE WORTH      FL      33463‐6949
HEADLEE, LINDA S             10047 N COUNTY ROAD 550 E                                                                                PITTSBORO       IN      46167‐9257
HEADLEE, RONALD A            850 CONTINENTAL DR                                                                                       WATERVILLE      OH      43566‐1204
HEADLEE, RUSSELL E           10623 N COUNTY ROAD 400 E                                                                                PITTSBORO       IN      46167‐9216
HEADLEE, TERRY W             6811 RAVENSWOOD RD                                                                                       KIMBALL         MI      48074‐2907
HEADLEY EDWIN K (439121)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA      23510
                                                              STREET, SUITE 600
HEADLEY HARRY W (360442)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK          VA     23510
                                                              STREET, SUITE 600
HEADLEY III, LEWIS           C/O THE LIPMAN LAW FIRM          5915 PONCE DE LEON BLVD SUITE 44                                        CORAL GABLES     FL     33146
HEADLEY JOHN                 APT D                            12252 PASEO LUCIDO                                                      SAN DIEGO        CA     92128‐6237
HEADLEY LEWIS W (500507)     (NO OPPOSING COUNSEL)
HEADLEY ORA                  571 TEESDALE DR                                                                                          HAINES CITY      FL     33844‐6346
HEADLEY PHILIP               HEADLEY, PHILIP                  STATE FARM INSURANCE               PO BOX 2371                          BLOOMINGTON      IL     61702
HEADLEY ROY L                THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD            SUITE 44                             CORAL GABLES     FL     33146
HEADLEY ROY L                C/O MCKENNA & CHIODO             436 BOULEVARD OF THE ALLIES ‐                                           PITTSBURGH       PA     15219
                                                              SUITE 500
HEADLEY ROY L (507013)       (NO OPPOSING COUNSEL)
HEADLEY, ALLEN A             2471 W RIVER RD                                                                                          NEWTON FALLS    OH      44444‐8402
HEADLEY, DARWIN L            4730 LAURIE LN                                                                                           LANSING         MI      48910‐5395
HEADLEY, DAVID B             11588 ROAD 20                                                                                            CORTEZ          CO      81321‐8738
HEADLEY, DORA                5748 MIDWAY RD                                                                                           WEATHERFORD     TX      76085
HEADLEY, EARL                5748 MIDWAY RD                                                                                           WEATHERFORD     TX      76085‐3800
HEADLEY, EDWIN K             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA      23510‐2212
                                                              STREET, SUITE 600
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Name                        Address1                          Address2                        Address3   Address4               City            State   Zip
HEADLEY, GARY J             180 SAINT ANDREWS                                                                                   CORTLAND         OH     44410‐8720
HEADLEY, GORDON E           6551 E 550 S                                                                                        ELWOOD           IN     46036‐8522
HEADLEY, HARRY W            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA     23510
                                                              STREET, SUITE 600
HEADLEY, HUBERT W           601 WATERS EDGE CT                                                                                  HAWK POINT      MO      63349‐3218
HEADLEY, ISABELLA I         2471 W RIVER RD                                                                                     NEWTON FALLS    OH      44444‐8402
HEADLEY, JACKIE W           1410 S I ST                                                                                         ELWOOD          IN      46036‐2359
HEADLEY, JEFFERY A          1173B NAVAHO DR                                                                                     LEBANON         OH      45036‐8746
HEADLEY, JEFFREY A          735 FIELDVIEW DR                                                                                    GRAND LEDGE     MI      48837‐9193
HEADLEY, JOANNE M           12 CLAYTON PARK DR                                                                                  GLEN MILLS      PA      19342‐1527
HEADLEY, JOHN A             PO BOX 496                                                                                          BROOKFIELD      OH      44403‐0496
HEADLEY, JUDITH A           5800 FOREST HILLS BLVD APT E102                                                                     COLUMBUS        OH      43231‐2944
HEADLEY, JUDY               2654 MIDLAND RIDGE DR                                                                               SAINT LOUIS     MO      63114‐1233
HEADLEY, LEONARD C          401 BLOSSOM DR                                                                                      SEBRING         FL      33876‐6193
HEADLEY, LUCINDA T          180 ST. ANDREWS                                                                                     CORTLAND        OH      44410‐8720
HEADLEY, LUCINDA T          180 SAINT ANDREWS                                                                                   CORTLAND        OH      44410‐8720
HEADLEY, LYNN A             8175 ISLAND VIEW DR                                                                                 NEWAYGO         MI      49337‐8234
HEADLEY, MARY J             1414 S BRITTON ST                                                                                   MARION          IN      46953‐1708
HEADLEY, PAUL G             152 EAST 300 SOUTH                                                                                  CRAWFORDSVLLE   IN      47933‐7104
HEADLEY, PEARL              5669 CO RD 42 WEST                                                                                  JEMISON         AL      35085
HEADLEY, PHILIP             STATE FARM INSURANCE              PO BOX 2371                                                       BLOOMINGTON     IL      61702‐2371
HEADLEY, PHILIP
HEADLEY, PHILIP M           5260 GLENWAY DR                                                                                     BRIGHTON         MI     48116‐7725
HEADLEY, ROY L              MCKENNA & CHIDO                   436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH       PA     15219
                                                              SUITE 500
HEADLEY, SAMUEL L           39001 EDGEBROOK RD                                                                                  LAQUEY          MO      65534‐8514
HEADLEY, VIOLA P            3400 STONEBRIDGE RD                                                                                 DAYTON          OH      45419‐1240
HEADLEY, WILLIAM D          6193 PARKDALE DR                                                                                    COLUMBUS        OH      43229‐1982
HEADLEY, WILLIAM J          1714 E STOLL RD                                                                                     LANSING         MI      48906‐1072
HEADLEY, WILMA M            50 JENNIFER DR                                                                                      GLEN CARBON     IL      62034‐3056
HEADLEY‐PERDUE KIRK         1137 OLD FORT DR                                                                                    TALLAHASSEE     FL      32301‐4663
HEADLINE MEDIA MANAGEMENT   C/O LOU OPPENHEIM                 888 7TH AVE STE 503                                               NEW YORK        NY      10106‐0501
HEADLY, MARGARET A          1300 N COUNTY ROAD 800 W                                                                            YORKTOWN        IN      47396‐8001
HEADLY, MICHAEL G           13296 MINK LN                                                                                       WESTFIELD       IN      46074‐8460
HEADNUT CELIA               HEADNUT, CELIA                    PO BOX 413                                                        BUNA            TX      77612
HEADNUT, CELIA              PO BOX 413                                                                                          BUNA            TX      77612‐0413
HEADRICK ANNA               761 CHUMBLEY RD                                                                                     DAWSONVILLE     GA      30534‐2145
HEADRICK DAVID (445137)     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH      44067
                                                              PROFESSIONAL BLDG
HEADRICK DONALD (445138)    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH      44067
                                                              PROFESSIONAL BLDG
HEADRICK I I, HAROLD L      3357 GERMAN RD                                                                                      COLUMBIAVILLE   MI      48421‐8990
HEADRICK, ALBERT C          546 SNOWY RD                                                                                        LIVINGSTON      KY      40445‐8594
HEADRICK, BARBARA E         45 WALNUTWOOD DR                                                                                    DAVISON         MI      48423‐8137
HEADRICK, BLAIR R           8389 MANCHESTER DR                                                                                  GRAND BLANC     MI      48439‐9560
HEADRICK, DANIEL L          45 WALNUTWOOD DR                                                                                    DAVISON         MI      48423‐8137
HEADRICK, DAVID             BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD      OH      44067
                                                              PROFESSIONAL BLDG
HEADRICK, DAVID L           9888 BLACK HORSE RUN RD                                                                             FORT MILL       SC      29707‐9506
HEADRICK, DONALD            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD      OH      44067
                                                              PROFESSIONAL BLDG
HEADRICK, ELWANDA           869 E BENNETT                                                                                       FERNDALE         MI     48220‐2640
HEADRICK, GEORGE L          7117 SWAN CREEK RD                                                                                  SAGINAW          MI     48609‐5341
HEADRICK, HARRY D           1670 N WAHBEE AVE                                                                                   INDIAN RIVER     MI     49749‐9730
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Name                               Address1                         Address2                        Address3   Address4                  City               State   Zip
HEADRICK, INA S                    172 RIVIERA DR                                                                                        NEWPORT             TN     37821‐5606
HEADRICK, JOHN W                   5519 CANONSBURG RD                                                                                    GRAND BLANC         MI     48439‐9133
HEADRICK, JOSEPH L                 8334 SAINT FRANCIS CT                                                                                 DAYTON              OH     45458‐2760
HEADRICK, JOSHUA C                 1602 THOMAS DR                                                                                        HOSCHTON            GA     30548‐3617
HEADRICK, LARY A                   1894 GRAY RD                                                                                          LAPEER              MI     48446‐9027
HEADRICK, LYNETTE R                4146 HACKBERRY RD                                                                                     BRIDGEPORT          MI     48722‐9504
HEADRICK, MARK E                   1602 THOMAS DR                                                                                        HOSCHTON            GA     30548‐3617
HEADRICK, MARY M                   4399 SAINT MARTINS DR                                                                                 FLINT               MI     48507‐3728
HEADRICK, OPAL N                   3509 CELESTIAL WAY                                                                                    NORTH FT MEYERS     FL     33903‐1410
HEADRICK, RICHARD M                7176 HOUGHTON DR                                                                                      DAVISON             MI     48423‐2336
HEADRICK, RICHARD V                348 W WOLF AVE                                                                                        ELKHART             IN     46516
HEADRICK, ROBERT T                 9095 NOBLET RD                                                                                        DAVISON             MI     48423‐8792
HEADRICK, ROBERT T                 172 RIVIERA DRIVE                                                                                     NEWPORT             TN     37821‐5606
HEADRICK, ROBERT T.                9095 NOBLET RD                                                                                        DAVISON             MI     48423‐8792
HEADRICK, ROSA M                   5938 OLIVE AVE                                                                                        NORTH RIDGEVILLE    OH     44039‐1832

HEADS, HERBERT E                   4235 SOUTHWOODS DR                                                                                    HOWELL              MI     48843‐9407
HEADS, JOHN S                      2617 BELLHURST DR                                                                                     DUNEDIN             FL     34698‐6502
HEADSETS DOT COM                   ONE DANIEL BURNHAM COURT #400C                                              SAN FRANCISCO CA 94109
                                                                                                               CANADA
HEADWATERS GMC                      DAVID JACKSON                   304 1ST AVE W                                                        THREE FORKS        MT      59752
HEADWATERS GMC                      304 1ST AVE W                                                                                        THREE FORKS        MT      59752
HEADWATERS GMC, BUICK & PONTIAC, IN PO BOX 2369                                                                                          LIVINGSTON         MT      59047‐4713

HEADWATERS GMC, BUICK & PONTIAC,   DAVID JACKSON                    1376 US HIGHWAY 10 W                                                 LIVINGSTON         MT      59047‐9009
INC.
HEADWATERS GMC, BUICK & PONTIAC,   PO BOX 2369                                                                                           LIVINGSTON         MT      59047‐4713
INC.
HEADWORTH, FRANCIS J               7786 E VESTABURG RD                                                                                   VESTABURG          MI      48891‐9465
HEADY JR, JAMES R                  24038 BOSTON ST                                                                                       DEARBORN           MI      48124‐3202
HEADY OWEN (468723)                KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                        CLEVELAND          OH      44114
                                                                    BOND COURT BUILDING
HEADY, ARTHUR W                    APT 302                          1720 CHOUTEAU AVENUE                                                 SAINT LOUIS        MO      63103‐3139
HEADY, BERNICE C                   1435 HARTWIG DR                                                                                       TROY               MI      48085‐1253
HEADY, BRUCE D                     6701 EDWARDS RD.                                                                                      BELLEVILLE         MI      48111‐1135
HEADY, CHARLES N                   450 BLACKBURN ST                                                                                      ENGLEWOOD          FL      34223‐2502
HEADY, EVERETT R                   4434 HOLT RD                                                                                          HOLT               MI      48842‐1673
HEADY, GEORGE G                    6345 S 300 W                                                                                          LEBANON            IN      46052‐9424
HEADY, HAROLD                      515 N ST                                                                                              BEDFORD            IN      47421‐2121
HEADY, JAMES R                     33211 FRANKLIN ST                                                                                     WAYNE              MI      48184‐1822
HEADY, JERRY R                     43110 JOY RD                                                                                          PLYMOUTH           MI      48170‐4135
HEADY, KATHERINE E                 1338 S C ST                                                                                           ELWOOD             IN      46036‐1911
HEADY, KATHERINE E.                1338 S C ST                                                                                           ELWOOD             IN      46036‐1911
HEADY, MARALYN                     2101 NORTON LN                                                                                        BEDFORD            IN      47421‐4522
HEADY, MARALYN                     2101 NORTON LANE                                                                                      BEDFORD            IN      47421‐4522
HEADY, MARGARETTE                  1720 CHOUTEAU AVE.               APT. 302                                                             ST. LOUIS          MO      63103
HEADY, OWEN                        KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                         CLEVELAND          OH      44114
                                                                    BOND COURT BUILDING
HEADY, PATRICIA                    2328 GREEN MEADOW DR                                                                                  NEWPORT            MI      48166‐9196
HEADY, PATRICIA                    144 WASHINGTON AVE                                                                                    BEACON             NY      12508‐3537
HEADY, ROBERT E                    841 MOUND RD                                                                                          BOURBON            MO      65441‐6116
HEADY, ROGER T                     452 SPROUT BROOK RD                                                                                   GARRISON           NY      10524‐7468
HEADY, SAMUEL J                    1062 UDELL                                                                                            INDIANAPOLIS       IN      46208
HEADY, THOMAS ANDREW               2706 N C ST                                                                                           ELWOOD             IN      46036
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Name                         Address1                        Address2              Address3         Address4               City              State   Zip
HEADY, THOMAS ANDREW         62 E OAK ST                                                                                   ORESTES            IN     46063
HEADY, VAN A                 17420 THOMAS LANE RD                                                                          SMITHVILLE         MO     64089‐8634
HEADY, VIRGINIA S            5750 ELAINE ST                                                                                INDIANAPOLIS       IN     46224‐3027
HEADY, WILLIAM E             499 ENGLEWOOD DR                                                                              ABBEVILLE          AL     36310‐7829
HEAFNER CYNTHIA              2201 E HIGHWAY 218                                                                            MONROE             NC     28110‐7032
HEAFNER MOTORS, INC.         HENRY HEAFNER                   935 HIGHWAY 6 W                                               BATESVILLE         MS     38606‐8900
HEAFNER MOTORS, INC.         935 HIGHWAY 6 W                                                                               BATESVILLE         MS     38606‐8900
HEAGIE, WILLIAM A            99 WINWOOD CIR                                                                                SOMERS             CT     06071‐1423
HEAGLE, ALAN D               5239 BALDWIN RD                                                                               HOLLY              MI     48442‐9321
HEAGLE, ELIZABETH A          12391 RAY RD                                                                                  GAINES             MI     48436‐8917
HEAGLE, JEFFERY L            1308 S PEARCE ST                                                                              OWOSSO             MI     48867‐4304
HEAGLE, JERRY L              PO BOX 426                                                                                    VERNON             MI     48476‐0426
HEAGLE, JOYCE J              1308 S PEARCE ST                                                                              OWOSSO             MI     48867‐4304
HEAGLE, JOYCE J              1308 PEARCE ST                                                                                OWOSSO             MI     48867‐4304
HEAGLE, WILLIAM L            102 WILSHIRL DR                                                                               N SYRACUSE         NY     13212‐2145
HEAGY, ERNEST                235 E 48TH ST                                                                                 ANDERSON           IN     46013‐4763
HEAGY, THOMAS C              9038 N COUNTY ROAD 600 W                                                                      MIDDLETOWN         IN     47356‐9482
HEAGY, TIMOTHY P             1613 HILL ST                                                                                  ANDERSON           IN     46012‐2425
HEAKIN, INABELLE L           134 N MEADOWBROOK DR                                                                          LEAVITTSBURG       OH     44430‐9522
HEAKIN, SUZANNE H            4115 LEAVITT DR NW                                                                            WARREN             OH     44485‐1104
HEAKINS, DAVID A             9427 E OLLA AVE                                                                               MESA               AZ     85212‐1407
HEAKINS, HELEN C             9427 E OLLA AVE                                                                               MESA               AZ     85212‐1407
HEAL JR, HENRY T             6391 RICHFIELD RD                                                                             FLINT              MI     48506‐2209
HEAL, CHARLES W              5960 CREEKVIEW DR                                                                             CLARENCE CENTER    NY     14032‐9734
HEAL, LOIS E                 8820 BRADFORD RD                                                                              EATON RAPIDS       MI     48827‐9584
HEAL, LOVIS G.               5774 BEATTIE AVE                                                                              LOCKPORT           NY     14094‐6604
HEAL, LYNDA J                2500 W HOLMES RD                                                                              LANSING            MI     48911‐2408
HEAL, PHILLIP G              1707 W 12TH ST                                                                                ANDERSON           IN     46016‐3001
HEAL, RICHARD D              236 PARK AVE                                                                                  LOCKPORT           NY     14094‐2636
HEAL, TERRY L                2500 W HOLMES RD                                                                              LANSING            MI     48911‐2408
HEAL, WILLIAM C              2381 COUNTY ROAD 292                                                                          BELLEVUE           OH     44811‐9472
HEALAN JR, GERALD W          317 LINCOLN AVE                                                                               MOUNT MORRIS       MI     48458‐3120
HEALAN, CORA L               317 LINCOLN AVE.                                                                              MT. MORRIS         MI     48458‐3120
HEALAN, WILLIAM F            163 CARL CEDAR HILL RD                                                                        WINDER             GA     30680‐7253
HEALD COLLEGE                7 SIERRA GATE PLZ                                                                             ROSEVILLE          CA     95678‐6602
HEALD, DENNIS R              3756 PUEBLO CT SW                                                                             GRANDVILLE         MI     49418‐1951
HEALD, JOHN A                2145 CRYSTAL DR                                                                               FRANKFORT          MI     49635‐9212
HEALD, NANCY E               2 CONSTITUTION DR                                                                             MICHIGAN CITY      IN     46360‐3300
HEALD, RICHARD A             9 BURGESS RD                                                                                  WORCESTER          MA     01609‐1643
HEALD, ROBERT C              1514 RAINTREE LN                                                                              CLEBURNE           TX     76033‐7948
HEALD, ROGER A               1655 W BROADWAY HWY                                                                           CHARLOTTE          MI     48813‐9594
HEALEY CHEVROLET, INC.       DWIGHT HEALEY                   410 FISHKILL AVE                                              BEACON             NY     12508‐1256
HEALEY CHEVROLET, INC.       410 FISHKILL AVE                                                                              BEACON             NY     12508‐1256
HEALEY FIRE PROTECTION INC   134 NORTHPOINTE DR                                                                            ORION              MI     48359‐1863
HEALEY FIRE PROTECTION INC
HEALEY FIRE/ORION            134 NORTHPOINTE DR                                                                            ORION             MI      48359‐1863
HEALEY JR, CHARLES F         842 E FOREST AVE                                                                              YPSILANTI         MI      48198‐3821
HEALEY SEAN                  781 TOWNSEND RD                                                                               GROTON            MA      01450‐1144
HEALEY TRISTEN               HEALEY, TRISTEN                 21 LAKEVIEW AVENUE                                            NATICK            MA      01760
HEALEY, ANGELUS V            121 GRATIOT CT                                                                                SAGINAW           MI      48602
HEALEY, BETTY M              610 OHIO ST                                                                                   LIMA              OH      45804‐1150
HEALEY, BROOXIE M            106 ELM DRIVE                                                                                 EDWARDSVILLE      IL      62025‐5314
HEALEY, CLIFFORD J           5301 W CARPENTER RD                                                                           FLINT             MI      48504‐1028
HEALEY, DANIEL M             1410 MARSHALLDALE DR                                                                          ARLINGTON         TX      76013‐3664
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Name                                 Address1                         Address2                        Address3                     Address4               City               State   Zip
HEALEY, DIANA S                      3215 N CENTRAL ST                                                                                                    KINGMAN             AZ     86401‐3604
HEALEY, DORIS                        824 HARRISON ST                                                                                                      ANDERSON            IN     46012‐4414
HEALEY, EDWARD D                     1980 CHALMERS DR W                                                                                                   ROCHESTER HILLS     MI     48309‐1851
HEALEY, GENEIVE I                    220 ST IVES N                                                                                                        LANSING             MI     48906‐1512
HEALEY, GENEIVE I                    220 SAINT IVES N                                                                                                     LANSING             MI     48906‐1512
HEALEY, JANET D                      842 E FOREST AVE                                                                                                     YPSILANTI           MI     48198‐3821
HEALEY, JOHN J                       234 SHERMAN AVE                                                                                                      ROSELLE PARK        NJ     07204‐2316
HEALEY, JUDITH M                     2856 SHAKESPEAR LANE                                                                                                 AVON                OH     44011‐1952
HEALEY, JULIA I                      7601 KENDRICK CROSSING LN                                                                                            LOUISVILLE          KY     40291‐5030
HEALEY, KARL                         50069 ROANOKE AVE UNIT 302                                                                                           CANTON              MI     48187
HEALEY, KARL                         3388 BROOKLYN DRIVE                                                                                                  CANTON              MI     48188‐8100
HEALEY, LAWRENCE E                   WEST MORLAND MANOR               ATTN BUSINESS OFFICE            2480 S GRAND BLVD                                   GREENSBURG          PA     15601
HEALEY, MARTIN                       1045 BUNKER DR                                                                                                       FAIRLAWN            OH     44333‐3001
HEALEY, MARY                         708 OAKLAND AVE                                                                                                      BIRMINGHAM          MI     48009‐5755
HEALEY, NANCY G                      1890 HARDIN LN                                                                                                       POWELL              OH     43065‐9639
HEALEY, NORMAN T                     5140 BALZER ST                                                                                                       LANSING             MI     48911‐3529
HEALEY, RICHARD A                    3418 RED OAK DR                                                                                                      BOWLING GREEN       KY     42104‐0819
HEALEY, RICHARD J                    231 WATER ST                                                                                                         FRAMINGHAM          MA     01701‐3416
HEALEY, ROBERT J                     22690 HABER DR                                                                                                       FAIRVIEW PARK       OH     44126‐2928
HEALEY, SEAN                         781 TOWNSEND RD                                                                                                      GROTON              MA     01450‐1144
HEALEY, TRISTEN                      21 LAKEVIEW AVE                                                                                                      NATICK              MA     01760‐4252
HEALEY, VERE L                       332 WEATHERFORD                                                                                                      KING                NC     27021
HEALEY, WILLIAM S                    7801 OLD MARSH RD                                                                                                    WEST PALM BEACH     FL     33418‐7546

HEALTH & HOSPITAL CORPORATION OF     DEPT OF FOOD SAFETY              3840 N SHERMAN DR LOWER LEVEL                                                       INDIANAPOLIS        IN     46226
MARION COUNTY
HEALTH ACTION COUNCIL OF NORTHEAST   6133 ROCKSIDE RD STE 210                                                                                             INDEPENDENCE       OH      44131‐2242
OHIO
HEALTH ALLIANCE MEDICAL PLANS INC    102 E MAIN ST STE 200            PO BOX 6003                                                                         URBANA              IL     61801
ATTN MARSHA EVERSOLE
HEALTH ALLIANCE PLAN                 2850 W GRAND BLVD                                                                                                    DETROIT             MI     48202‐2643
HEALTH ALLIANCE PLAN                 ATTN RECEIVABLES DEPT            2850 W GRAND BLVD                                                                   DETROIT             MI     48202‐2643
HEALTH ALLIANCE PLAN (HAP)           KAREN O'SULLIVAN                 2850 W GRAND BLVD                                                                   DETROIT             MI     48202‐2643
HEALTH ALLIANCE PLAN OF MICHIGAN     2850 W GRAND BLVD                                                                                                    DETROIT             MI     48202‐2643
HEALTH ALLIANCE PLAN‐MICHIGAN        ATTN: FRAN PARKER                2850 W GRAND BLVD                                                                   DETROIT             MI     48202‐2692
HEALTH AMERICA PENNSYLVANIA EF       PGH COMMERCIAL                   FIVE GATEWAY CTR                2575 INTERSTATE DR 11/4/06                          PITTSBURGH          PA     15222

HEALTH ASSURANCE
HEALTH ATOZ                          ATTN KOU THAO                    WINDSOR CORPORATE PARK STE 160 50 MILLSTONE ROAD BLDG                               EAST WINDSOR        NJ     08520
                                                                                                     200
HEALTH CARE LOGISTICS INC            PO BOX 25                                                                                                            CIRCLEVILLE        OH      43113‐0025
HEALTH CARE OPTIONS INC              3901 W 86TH ST STE 270                                                                                               INDIANAPOLIS       IN      46268‐1797
HEALTH CARE PLAN INC                 UNIVERA HEALTHCARE WNY           205 PARK CLUB LN                DBA UNIVERA HEALTHCARE                              BUFFALO            NY      14221‐5239
                                                                                                      CNY INC
HEALTH CARE POLICY ROUNDTABLE        1015 15TH ST NW STE 1200                                                                                             WASHINGTON          DC     20005‐2607
HEALTH CARE SERVICE CORP A           MUTUAL LEGAL RESERVE CO DBA      1515 W 22ND ST                                                                      OAK BROOK           IL     60523
HEALTH CARE SERVICE CORPORATION      JIM BARONE                       300 E. RANDOLPH ST                                                                  CHICAGO             IL     60601
(HCSC)
HEALTH CARE/CIRCLEVI                 PO BOX 25                                                                                                            CIRCLEVILLE        OH      43113‐0025
HEALTH CHOICE MANAGE                 2500 WILSHIRE BLVD STE 1110                                                                                          LOS ANGELES        CA      90057‐4316
HEALTH DELIVERY MANA                 PO BOX 88273                                                                                                         CHICAGO            IL      60680‐1273
HEALTH DIMENSIONS IN                 39303 COUNTRY CLUB DR STE A26                                                                                        FARMINGTON HILLS   MI      48331‐3482

HEALTH ED                            ATTN: KRISTIN PATTON             100 WALNUT AVE # 407                                                                CLARK               NJ     07066‐1293
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Name                                Address1                         Address2                         Address3           Address4                   City               State   Zip
HEALTH EFFECTS INSTITUTE            DANIEL GREENBAUM, PRESIDENT      101 FEDERAL ST STE 500                                                         BOSTON              MA     02110‐1817
HEALTH EFFECTS INSTITUTE INC        141 PORTLAND ST STE 7300                                                                                        CAMBRIDGE           MA     02139
HEALTH FIT/BLOOMINGT                3600 AMERICAN BLVD W STE 560     ATTN: LINDA MACK                                                               BLOOMINGTON         MN     55431‐4446
HEALTH FITNESS CORP                 1650 W 82ND ST STE 1100                                                                                         MINNEAPOLIS         MN     55431‐1475
HEALTH FITNESS CORPORATIO           NW 7254                          P.O. BOX 1450                                                                  MINNEAPOLIS         MN     55485‐54
HEALTH FITNESS CORPORATION          PO BOX 1450                                                                                                     MINNEAPOLIS         MN     55485‐7254
HEALTH FITNESS CORPORATION          1650 W 82ND ST STE 1100                                                                                         MINNEAPOLIS         MN     55431‐1475
HEALTH INSURANCE PLAN OF GREATER    55 WATER ST                                                                                                     NEW YORK            NY     10087‐5036
NEW YORK
HEALTH INTERNATIONAL                9305 E VIA DE VENTURA                                                                                           SCOTTSDALE          AZ     85258‐3423
HEALTH LINE                         300 BUNTING RD ROYAL CT PLZ UN                                                       ST CATHERINES ON L2M 7X3
                                                                                                                         CANADA
HEALTH NET NORTHERN CALIFORNIA      HEALTH NET OF CALIFORNIA INC     21650 OXNARD ST FL 25                                                          WOODLAND HILLS     CA      91367‐7824
HEALTH NET SOUTHERN CALIF           BANK OF AMERICA                  21650 OXNARD ST FL 25                                                          WOODLAND HILLS     CA      91367‐7824
HEALTH NOW                          1701 NORTH ST                                                                                                   ENDICOTT           NY      13760‐5553
HEALTH PARTNERS                     ATTN: MARCIE GEISENHAVER         1335 S LINDEN RD # F                                                           FLINT              MI      48532‐3420
HEALTH PORT                         PO BOX 409740                                                                                                   ATLANTA            GA      30384‐9740
HEALTH PORT                         PO BOX 409875                                                                                                   ATLANTA            GA      30384‐9875
HEALTH SOLUTIONS HARRIS             564 FOX HILLS DR S                                                                                              BLOOMFIELD HILLS   MI      48304‐1316
HEALTH SOLUTIONS INC                11400 CRONRIDGE DR STE E                                                                                        OWINGS MILLS       MD      21117‐2227
HEALTH SOLUTIONS INC                564 FOX HILLS DR S               PO BOX 1086                                                                    BLOOMFIELD HILLS   MI      48304‐1316
HEALTH SOURCE PHYS T                1447 E GRAND RIVER AVE                                                                                          PORTLAND           MI      48875‐1631
HEALTH SYSTEM SERVIC                6867 WILLIAMS RD                                                                                                NIAGARA FALLS      NY      14304‐2993
HEALTH SYSTEMS INTERNATIONAL LLC    PO BOX 881                                                                                                      INDIANAPOLIS       IN      46206‐0881
HEALTH TEAM SVC II                  ATTN: KATHY ZIMMER               131 UNIVERSITY DR                                                              PONTIAC            MI      48342‐2369
HEALTH WISE SEAFOOD WORLD           ATTN: RON COBB                   1472 E SCHUMACHER ST                                                           BURTON             MI      48529‐1622
HEALTHAMERICA PENNSYLVANIA INC      PO BOX 850054173                                                                                                PHILADELPHIA       PA      19178‐0001
HEALTHAMERICA PENNSYLVANIA INC      3721 TECPORT DR                                                                                                 HARRISBURG         PA      17111‐1200
HEALTHCARE ENVIRONMENTAL            PO BOX 822197                                                                                                   PHILADELPHIA       PA      19182‐2197
HEALTHCARE FINANCIAL SERVICES       PO BOX 587                                                                                                      JACKSON            MS      39205‐0587
HEALTHCARE MIDWEST P                PO BOX 67000                                                                                                    DETROIT            MI      48267‐02
HEALTHCARE PROVIDERS COPY SERVICE   7800 GLENROY RD                                                                                                 MINNEAPOLIS        MN      55439‐3122

HEALTHCARE RECOVERIES               PO BOX 36380                                                                                                    LOUISVILLE          KY     40233‐6380
HEALTHCARE TECHNOLIGIES             PO BOX 315                                                                                                      SWARTZ CREEK        MI     48473‐0315
HEALTHCARE TECHNOLOGIES OF MID‐     PO BOX 315                                                                                                      SWARTZ CREEK        MI     48473‐0315
MICHIGAN INC
HEALTHCARE WASTE SOLUTIONS BR       4357 FERGUSON DR STE 100                                                                                        CINCINNATI         OH      45245‐1684
HEALTHCHECK SYSTEMS INC             431 A AVE U                                                                                                     BROOKLYN           NY      11223
HEALTHFIRST HEALTH PLAN INC         8247 DEVEREUX DR STE 103                                                                                        MELBOURNE          FL      32940‐8227
HEALTHFIRST MEDCL GR                13440 IMPERIAL HWY                                                                                              SANTA FE SPRINGS   CA      90670‐4820
HEALTHNET INC                       3401 E RAYMOND ST                                                                                               INDIANAPOLIS       IN      46203‐4744
HEALTHNOW NEW YORK INC              257 W GENESEE ST                                                                                                BUFFALO            NY      14202
HEALTHONE CLINIC SER                PO BOX 198957                                                                                                   ATLANTA            GA      30384‐8957
HEALTHONE CLINIC SERVICES           720 S COLORADO BLVD STE 220A                                                                                    GLENDALE           CO      80246‐1981
HEALTHPARTNERS CENTER FOR HEALTH    8170 33RD AVE S                                                                                                 MINNEAPOLIS        MN      55425‐4516
PROMOTION
HEALTHPARTNERS CLASSIC              GINA HURD MEMBERSHIP ACCTG       8170 33RD AVE S                                                                MINNEAPOLIS        MN      55425‐4516
HEALTHPLUS MICHIGAN INC             DBA HEALTHPLUS OPTIONS INC       PO BOX 1700                      2050 S LINDEN RD                              FLINT              MI      48501‐1700
HEALTHPLUS OF MICHIGAN              LOUANN HINTON                    2050 S. LINDEN ROAD                                                            FLINT              MI      48532
HEALTHPOINTE                        16702 VALLEY VIEW AVE                                                                                           LA MIRADA          CA      90638‐5824
HEALTHPOINTE MEDICAL GROUP INC      16702 VALLEY VIEW AVE            DBA SOUTHERN CALIF ORTHO SPORT                                                 LA MIRADA          CA      90638‐5824
HEALTHPORT                          PO BOX 409875                                                                                                   ATLANTA            GA      30384‐9875
HEALTHQUEST OF BURTON               ATTN: SILVIO COZZETTO            G4150 S SAGINAW ST                                                             BURTON             MI      48529‐1651
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Name                                Address1                         Address2                   Address3   Address4               City            State   Zip
HEALTHSOURCE CHIROPR                90 ERIE CANAL DRIVE                                                                           ROCHESTER        NY     14626
HEALTHSOUTH CITYVIEW                PO BOX 952131                                                                                 DALLAS           TX     75395‐0001
HEALTHSOUTH REHAB HO                PO BOX 602093                                                                                 CHARLOTTE        NC     28260‐2093
HEALTHTRAX                          2345 MAIN ST                                                                                  GLASTONBURY      CT     06033‐2211
HEALTHTRAX INTERNATIONAL INC        2345 MAIN ST                                                                                  GLASTONBURY      CT     06033‐2211
HEALTHWAYS HEALTHTRENDS INC         6629 W CENTRAL AVE                                                                            TOLEDO           OH     43617
HEALTHWAYS INC                      6629 W CENTRAL AVE                                                                            TOLEDO           OH     43617
HEALTHY BALANCE WELLNESS CTR        ATTN: LORI ANDERSON              1201 5TH ST                                                  BEDFORD          IN     47421‐2303
HEALTHY IMAGES                      ATTN: DIANE COTTON               6525 2ND AVE                                                 DETROIT          MI     48202‐3006
HEALTON, ROGER A                    13497 S 400 W                                                                                 KOKOMO           IN     46901‐7681
HEALY & BAILLIE                     29 BROADWAY                                                                                   NEW YORK         NY     10006
HEALY AUTOMOTIVE SERVICE LLC                                         24 JOHN RINGO RD                                                              NJ     08551
HEALY BARRY                         HEALY, BARRY                     420 GERMAN ST                                                SMETHPORT        PA     16749
HEALY BESSIE (413208)               SIMMONS FIRM                     PO BOX 559                                                   WOOD RIVER        IL    62095‐0559
HEALY JOHN J (441144)               ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                     WILMINGTON       DE     19801‐1813
HEALY JR, ARTHUR A                  1562 COLUMBIA RD                                                                              VALLEY CITY      OH     44280‐9324
HEALY JR, IRVING F                  6439 ANDERSONVILLE RD                                                                         WATERFORD        MI     48329‐1412
HEALY KEVIN                         219 VIA PROMESA                                                                               PASO ROBLES      CA     93446‐1832
HEALY LINDA                         10302 DEHMEL RD                                                                               BIRCH RUN        MI     48415‐9733
HEALY THOMAS (ESTATE OF) (476893)   BELLUCK & FOX LLP                546 5TH AVE #4                                               NEW YORK         NY     10036‐5000
HEALY, ALAN D                       1349 LITTLE TRAVERSE BAY DR 13                                                                PETOSKEY         MI     49770
HEALY, BARRY                        420 GERMAN ST                                                                                 SMETHPORT        PA     16749‐1542
HEALY, BERNARD J                    405 N BELNORD AVE                                                                             BALTIMORE        MD     21224‐1204
HEALY, BERNICE A                    12409 E BRISTOL RD                                                                            DAVISON          MI     48423‐9114
HEALY, BERNICE A                    12409 EAST BRISTOL ROAD                                                                       DAVISON          MI     48423‐9114
HEALY, BESSIE                       SIMMONS FIRM                     PO BOX 559                                                   WOOD RIVER        IL    62095‐0559
HEALY, BILL CRYSTAL INC             14 MAIN STREET                                                                                CLINTON          NJ     08809‐1328
HEALY, BRENDA                       14310 SEMINOLE DRIVE                                                                          BALK SPRINGS     TX     75180
HEALY, BYRON J                      2514 38TH ST SW                                                                               GRAND RAPIDS     MI     49519‐3126
HEALY, CARL G                       11190 PRIOR RD                                                                                SAINT CHARLES    MI     48655‐8534
HEALY, CARL W                       1139 COVE ROAD                                                                                WALES            MI     48027‐2905
HEALY, CHRIS C                      21915 ROEHRIG RD                                                                              DEFIANCE         OH     43512‐1221
HEALY, CHRIS CARL                   21915 ROEHRIG RD                                                                              DEFIANCE         OH     43512‐1221
HEALY, CINDY E                      144 FOREST KNOLL DR                                                                           ELKTON           MD     21921
HEALY, CLIFFORD A                   PO BOX 1532                                                                                   LONDON           KY     40743‐1532
HEALY, DAVID A                      2539 PARKER BLVD                                                                              TONAWANDA        NY     14150‐4529
HEALY, DAVID B                      215 E CAVANAUGH RD                                                                            LANSING          MI     48910‐5398
HEALY, EARL V                       30261 COUNTY ROAD 390                                                                         GOBLES           MI     49055‐9136
HEALY, EILEEN M                     352 NEFF RD                                                                                   GROSSE POINTE    MI     48230‐1645
HEALY, ELIZABETH A                  443 DAVISON RD APT 10                                                                         LOCKPORT         NY     14094‐4007
HEALY, ERIN A                       37884 JEFFERSON AVE                                                                           HARRISON         MI     48045‐4000
                                                                                                                                  TOWNSHIP
HEALY, HEIDI K                      114 BUSBRIDGE COVE                                                                            POOLER           GA     31322‐9655
HEALY, JAMES P                      7220 BLUEBILL ST                                                                              CLAY             MI     48001‐4104
HEALY, JENNIFER L                   2811 WAYNEWOOD DR                                                                             FORT WAYNE       IN     46809‐2626
HEALY, JERRIE F                     13361 S BUDD RD                                                                               BURT             MI     48417‐9419
HEALY, JERRIE F                     13361 BUDD RD                                                                                 BURT             MI     48417‐9419
HEALY, JOHN J                       3012 44TH ST                                                                                  LONG IS CITY     NY     11103
HEALY, JOHN J                       35036 CARL AVE                                                                                ZEPHYRHILLS      FL     33541‐2175
HEALY, JOHN J                       ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                     WILMINGTON       DE     19801‐1813
HEALY, JOHN P                       33 MEADOW COVE RD                                                                             PITTSFORD        NY     14534‐3350
HEALY, JUSTIN C                     489 E MAPLEHURST ST                                                                           FERNDALE         MI     48220‐1351
HEALY, KENNETH C                    771 COUGHLAN ST                                                                               AUBURN HILLS     MI     48326‐3805
HEALY, LAURENCE D                   1044 WEEDEN RD                                                                                CARO             MI     48723‐9583
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Name                         Address1                         Address2                Address3               Address4               City               State   Zip
HEALY, LESLEY M              60534 PENNINGTON WAY DR                                                                                ROCHESTER           MI     48306
HEALY, LINDA M               10302 DEHMEL RD                                                                                        BIRCH RUN           MI     48415‐9733
HEALY, LOIS E                201 E CAVANAUGH                                                                                        LANSING             MI     48910‐5398
HEALY, MARTIN J              PO BOX 2141                                                                                            MARIETTA            GA     30061‐2141
HEALY, MYRON D               9491 DENTON HILL RD                                                                                    FENTON              MI     48430‐8416
HEALY, NANCY J               1713 WILBER ST                                                                                         SOUTH BEND          IN     46628‐3255
HEALY, PATRICK J             37 COOLIDGE ST                                                                                         HAVERSTRAW          NY     10927‐1035
HEALY, PHILIP J              2024 BYRD ST                                                                                           DEARBORN            MI     48124‐4104
HEALY, RANDALL D             10302 DEHMEL RD                                                                                        BIRCH RUN           MI     48415‐9733
HEALY, RANDALL DEAN          10302 DEHMEL RD                                                                                        BIRCH RUN           MI     48415‐9733
HEALY, RICHARD G             6148 EASTKNOLL DR APT 269                                                                              GRAND BLANC         MI     48439‐5044
HEALY, RONALD J              144 FOREST KNOLL DR                                                                                    ELKTON              MD     21921‐7414
HEALY, ROSEMARY P            11311 FIELD CIRCLE                                                                                     SPOTSYLVANIA        VA     22551‐4636
HEALY, STEVEN C              476 S WILHELM ST                                                                                       HOLGATE             OH     43527‐9746
HEALY, TERRENCE M
HEALY, THOMAS                BELLUCK & FOX LLP                645 5TH AVE #4                                                        NEW YORK           NY      10036‐5000
HEALY, THOMAS J              17943 CHAMBERLAIN RD                                                                                   GRAFTON            OH      44044‐9262
HEALY, TODD A                706 SACKETT ST APT 1L                                                                                  BROOKLYN           NY      11217
HEALY‐HARE, JANET R          PO BOX 227                                                                                             GETZVILLE          NY      14068‐0227
HEAMAN JAMES P               10070 BYRON RD                                                                                         HOWELL             MI      48855‐9341
HEAMAN, MICHAEL W            2973 CRESTWOOD CT                                                                                      LAKE ORION         MI      48359‐1582
HEANEY THOMAS                HEANEY, MICHELLE                 KAHN & ASSOCIATES LLC   1751 LINCOLN HIGHWAY                          NORTH VERSAILLES   PA      15137

HEANEY THOMAS                HEANEY, THOMAS                   1751 LINCOLN HIGHWAY                                                  NORTH VERSAILLES    PA     15137

HEANEY THOMAS & MICHELLE &   KAHN AND ASSOCIATES              55 PUBLIC SQ STE 650                                                  CLEVELAND          OH      44113‐1909
HEANEY, DONALD J             11 PARKWAY VW                                                                                          HILTON             NY      14468‐9526
HEANEY, DONALD L             1448 SCHOOL LN                                                                                         BENSALEM           PA      19020‐4146
HEANEY, JOHN S               1251 HAWTHORNE AVE                                                                                     YPSILANTI          MI      48198‐5943
HEANEY, MARIANNA M           3276 MEADOW RDG                                                                                        REDDING            CT      06896‐3228
HEANEY, MICHELLE             KAHN & ASSOCIATES LLC            1751 LINCOLN HIGHWAY                                                  NORTH VERSAILLES   PA      15137

HEANEY, ROBERT J             1491 HEATHER RIDGE DR                                                                                  NEWTOWN             PA     18940‐3731
HEANEY, THOMAS               KAHN & ASSOCIATES LLC            1751 LINCOLN HIGHWAY                                                  NORTH VERSAILLES    PA     15137

HEANY, DAVID W               4630 N KENWOOD AVE                                                                                     KANSAS CITY        MO      64116‐1852
HEANY, DAVID WAYNE           4630 N KENWOOD AVE                                                                                     KANSAS CITY        MO      64116‐1852
HEANY, FRANCES L             9075 W STONE RD                                                                                        FOWLER             MI      48835‐9720
HEANY, JAMES E               6672 CREYTS RD                                                                                         DIMONDALE          MI      48821‐9408
HEANY, JOHN W                9075 W STONE RD                                                                                        FOWLER             MI      48835‐9720
HEANY, PAMELA R              1279 RAE ST                                                                                            MOUNT MORRIS       MI      48458‐1728
HEAP ANTHONY H               305 MEMORIAL DR ROOM 418A                                                                              CAMBRIDGE          MA      02139
HEAP, ANTHONY H              2969 LESLIE PARK CIR                                                                                   ANN ARBOR          MI      48105‐9255
HEAP, VIOLET                 8478 COLGATE ST                                                                                        HONEOYE            NY      14471
HEAPE NANCY                  2650 PIERCE BRENNEN CT                                                                                 LAWRENCEVILLE      GA      30043‐1319
HEAPE ROBERT                 35 RIVER OAKS CIR E                                                                                    BUFFALO GROVE      IL      60089‐8804
HEAPHY, GARY E               3509 BURWOOD LN                                                                                        HIGHLAND           MI      48357‐3028
HEAPHY, MAUREEN S            6511 DUBLIN DR                                                                                         STANWOOD           MI      49346‐9133
HEAPS TODD                   14938 WINGED BLUFF LN                                                                                  DRAPER             UT      84020‐5723
HEAPS, E K                   1401 W HOLLY ST APT 201          C/O DAVID K HEAPS                                                     BELLINGHAM         WA      98225‐2951
HEAPS, GEORGE R              2105 PURDY RD                                                                                          BAD AXE            MI      48413‐7809
HEAPS, HAROLD A              643 PCR 732                                                                                            PERRYVILLE         MO      63775‐8580
HEAPS, KAREN E               1944 WICK CAMPBELL RD                                                                                  HUBBARD            OH      44425‐2870
HEAPS, LORRAINE G            15144 PLUMMER ST                                                                                       SEPULVEDA          CA      91343‐3437
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Name                              Address1                        Address2                          Address3   Address4                City             State   Zip
HEAPS, MARY K                     1545 BERKLEY ST SW                                                                                   DECATUR           AL     35603‐3176
HEAPS, RONALD N                   111 W 5TH ST                                                                                         LOS ANGELES       CA     90013‐1417
HEARD                             PO BOX 9600                                                                                          TEXARKANA         TX     75505‐9600
HEARD ALBERT JR                   HEARD, ALBERT                   110 E KALISTE SALOOM RD STE 101                                      LAFAYETTE         LA     70508‐8509
HEARD CHEVROLET CORPORATION       GRONEK & LATHAM LLP             390 N ORANGE AVENUE SUITE 600 P                                      ORLANDO           FL     32801
ORLANDO BILL                                                      O BOX 3353
HEARD EDWARD                      9111 NORTH FWY                                                                                       HOUSTON           TX     77037‐2038
HEARD ENTERPRISES INC BILL        NO ADVERSE PARTY
HEARD I I I, HAROLD               26620 W 6 MILE RD                                                                                    REDFORD          MI      48240‐2318
HEARD III, HAROLD                 26620 W 6 MILE RD                                                                                    REDFORD          MI      48240‐2318
HEARD JAQUELINE                   353 WEST COLONIAL HIGHWAY                                                                            HAMILTON         VA      20158‐9002
HEARD JERRY                       413 OLD AMERICUS RD                                                                                  VIENNA           GA      31092‐7601
HEARD JOHN (ESTATE OF) (464475)   DUFFY & ASSOCS JOHN J           23823 LORAIN RD                                                      NORTH OLMSTED    OH      44070
HEARD JR, AARON                   4850 S LAKE PARK AVE APT 2002                                                                        CHICAGO          IL      60615‐2074
HEARD JR, CLARENCE                27432 BEACON SQ                                                                                      FARMINGTN HLS    MI      48336‐1626
HEARD JR, EDDIE                   4673 ELYSIAN WAY                                                                                     HUBER HEIGHTS    OH      45424‐2877
HEARD JR, HAL                     49122 ANDOVER CT                                                                                     CANTON           MI      48187‐1120
HEARD JR, SIDNEY L                7912 S DORCHESTER AVE                                                                                CHICAGO          IL      60619‐3409
HEARD KAY                         HEARD, KAY                      5901 CEDAR LAKE RD S                                                 MINNEAPOLIS      MN      55416‐1488
HEARD KENNETH                     HEARD, KENNETH                  1434 KENILWORTH DRIVE                                                ATLANTA          GA      30310
HEARD LB                          1116 W 85TH ST                                                                                       LOS ANGELES      CA      90044‐3416
HEARD SR, WILLIE R                1498 BREWER BLVD SW                                                                                  ATLANTA          GA      30310‐4620
HEARD'S GARAGE                    2701 CRUZEN ST                                                                                       NASHVILLE        TN      37211‐2155
HEARD, AARON                      5164 RIVIERA DR                                                                                      TOLEDO           OH      43611‐1667
HEARD, ALBERT                     DALTON LAW FIRM                 110 E KALISTE SALOOM RD STE 101                                      LAFAYETTE        LA      70508‐8509
HEARD, ALFRED                     23022 COURTLAND AVE                                                                                  EASTPOINTE       MI      48021‐1934
HEARD, ALICE                      720 ERNROE DRIVE                                                                                     DAYTON           OH      45408‐1508
HEARD, ALICE                      720 ERNROE DR                                                                                        DAYTON           OH      45408‐1508
HEARD, ALISHA                     1403 N 63RD PL                                                                                       KANSAS CITY      KS      66102‐1102
HEARD, BARBARA J                  C/O CALVIN D HEARD              P.O.BOX 26384                                                        TROTWOOD         OH      45426‐5426
HEARD, BARBARA J                  PO BOX 26384                    C/O CALVIN D HEARD                                                   TROTWOOD         OH      45426‐0384
HEARD, BILLY J                    16600 GREENLAWN ST                                                                                   DETROIT          MI      48221‐4912
HEARD, BILLY R                    1645 SHORTLINE DR                                                                                    LAPEER           MI      48446‐8400
HEARD, BOBBY D                    4425 CROSBY CT                                                                                       WHITE LAKE       MI      48386‐1108
HEARD, CALVIN                     1118 WILLIAMSON CIR                                                                                  PONTIAC          MI      48340‐3315
HEARD, CATHERINE M                108 HIGHLAND RDG                                                                                     HENDERSONVILLE   TN      37075‐8523
HEARD, CHARLES J                  6531 GILMAN ST                                                                                       GARDEN CITY      MI      48135‐2280
HEARD, CHARLES S                  5609 LAKE CYRUS WAY                                                                                  HOOVER           AL      35244‐4188
HEARD, CHARLES SIDNEY             5609 LAKE CYRUS WAY                                                                                  HOOVER           AL      35244‐4188
HEARD, CHRISTOPHER                3476 FLAT SHOALS RD                                                                                  CONCORD          GA      30206‐3134
HEARD, CHRISTOPHER L              23854 KENSINGTON STREET                                                                              TAYLOR           MI      48180‐3443
HEARD, DANNY K                    PO BOX 8267                                                                                          MESA             AZ      85214‐8267
HEARD, DELORES F                  140 CRISLER ST                                                                                       CANTON           GA      30114‐3116
HEARD, DENNIS M                   2115 MONTGOMERY ST                                                                                   SAGINAW          MI      48601‐4176
HEARD, DENVER W                   151 CME CHURCH RD.                                                                                   HARTWELL         GA      30643
HEARD, DONALD R                   1211 PREAKNESS DR                                                                                    ALPHARETTA       GA      30022‐2710
HEARD, EARL R                     28615 PARDO ST                                                                                       GARDEN CITY      MI      48135
HEARD, EDWARD                     25 VANDERBILT PL                                                                                     O FALLON         IL      62269‐2669
HEARD, EDWARD L                   22 S ATHOL AVE                                                                                       BALTIMORE        MD      21229
HEARD, EDWARD L                   502 N LAKEWOOD AVE                                                                                   BALTIMORE        MD      21205‐2634
HEARD, ELBERT H                   985 LAPOINT RD                                                                                       LINN CREEK       MO      65052‐2010
HEARD, ERIC D                     20 ZIRCON PLACE                                                              CHATHAM ON N7M 5Y9
                                                                                                               CANADA
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Name                Address1                       Address2             Address3         Address4               City            State Zip
HEARD, ERIC D       20 ZIRCON PL                                                         CHATHAM ON CANADA N7M‐
                                                                                         5Y9
HEARD, ERIC L       1509 WIND RIDGE AVE                                                                         BOWLING GREEN   KY    42104‐1058
HEARD, EUGENE E     37797 BUTTERNUT RIDGE RD                                                                    ELYRIA          OH    44039‐8463
HEARD, FELIX        15743 PLAZA SOUTH DR                                                                        TAYLOR          MI    48180
HEARD, FRANKLIN D   1911 S 4TH AVE                                                                              MAYWOOD         IL    60153‐3322
HEARD, GARY W       1405 RENEE DR                                                                               PLAINFIELD      IN    46168
HEARD, GENEVA B     2973 ROCKWOOD RD                                                                            EAST POINT      GA    30344‐3942
HEARD, GEORGE       4882 EASTLAWN ST                                                                            DETROIT         MI    48215‐2149
HEARD, GEORGE       4882 EASTLAWN                                                                               DETROIT         MI    48215‐2149
HEARD, GEORGE C     PO BOX 421                                                                                  DAPHNE          AL    36526‐0421
HEARD, GRADY L      4695 N CHURCH LN SE APT 6108                                                                SMYRNA          GA    30080‐7074
HEARD, GREGORY E    5314 MONESSEN CT                                                                            LAS VEGAS       NV    89141
HEARD, GREGORY E    8721 RUPP FARM DR                                                                           WEST CHESTER    OH    45069
HEARD, HARVEY C     24200 LATHRUP BLVD APT 211                                                                  SOUTHFIELD      MI    48075‐2858
HEARD, JAMES C      18235 BIRMINGHAM HWY                                                                        ALPHARETTA      GA    30004‐2433
HEARD, JASON        62 WORTHINGTON CT                                                                           CLAYTON         NC    27527‐5396
HEARD, JERRY L      10615 GREENWOOD SCHOOL RD      PO BOX 429                                                   CENTRAL LAKE    MI    49622
HEARD, JIMMIE L     4936 CAROLINE DR APT 19                                                                     CLEVELAND       OH    44128‐5305
HEARD, JOANN        1732 ACADEMY PL                                                                             DAYTON          OH    45406‐4601
HEARD, JOANN B      1405 HIGHWAY 49                                                                             FLORA           MS    39071‐9443
HEARD, JOHN         DUFFY & ASSOCS JOHN J          23823 LORAIN RD                                              NORTH OLMSTED   OH    44070
HEARD, JOHN B       6014 6TH AVE                                                                                LOS ANGELES     CA    90043
HEARD, JOHN M       2507 AGUSTINA DR                                                                            WARREN          MI    48091‐3914
HEARD, JOHN W       140 CRISLER ST                                                                              CANTON          GA    30114‐3116
HEARD, JOHNNIE L    16260 FAIRFAX ST                                                                            SOUTHFIELD      MI    48075‐3069
HEARD, KEMBA N      212 W WASHINGTON ST APT 2002                                                                CHICAGO         IL    60606
HEARD, KENNETH      1434 KENILWORTH DR SW                                                                       ATLANTA         GA    30310‐3944
HEARD, L B          1116 W 85TH ST                                                                              LOS ANGELES     CA    90044‐3416
HEARD, LAURIE       19571 MCINTYRE ST                                                                           DETROIT         MI    48219‐5511
HEARD, LELA M       6308 MIDWAY DR                                                                              MORO            IL    62067
HEARD, LEONARD      3220 MARTHAROSE CT                                                                          FLINT           MI    48504‐1277
HEARD, LINDA J      14366 FORRER ST                                                                             DETROIT         MI    48227‐2147
HEARD, LORETTA      16517 CHERRYLAWN                                                                            DETROIT         MI    48221‐2932
HEARD, MARVIN A     PO BOX 4194                                                                                 CANTON          GA    30114‐0206
HEARD, MATTIE F.    4655 LAKE TRAIL DR APT 1B                                                                   LISLE           IL    60532
HEARD, MELISSA M    1616 CARRIAGE ST                                                                            MIDDLETOWN      OH    45044‐6504
HEARD, NATHANIEL    90 FOX ST                                                                                   BUFFALO         NY    14212‐1106
HEARD, NELSON M     1722 NORTH AVE NW                                                                           ATLANTA         GA    30318‐6441
HEARD, NORA NELL    861 BEECHER ST APT 416                                                                      CINCINNATI      OH    45206‐1572
HEARD, PHYLLIS R    4721 OLD LAKE RD                                                                            JACKSON         MS    39212‐5851
HEARD, RALEIGH      8144 GREEN TREE DR                                                                          ELKRIDGE        MD    21075‐6225
HEARD, RICHARD L    PO BOX 40                                                                                   WINDER          GA    30680‐0040
HEARD, RICKY G      10634 LAKE TAHOE DR                                                                         FORT WAYNE      IN    46804‐6913
HEARD, ROBERT       3476 FLAT SHOALS RD                                                                         CONCORD         GA    30206‐3134
HEARD, ROBERT L     PO BOX 1268                                                                                 MONROE          GA    30655‐1268
HEARD, ROBERT M     16517 CHERRYLAWN ST                                                                         DETROIT         MI    48221‐2932
HEARD, RONNY L      1661 HORSESHOE DR                                                                           ORTONVILLE      MI    48462‐9123
HEARD, RUBY A       2096 VERBENA ST NW                                                                          ATLANTA         GA    30314‐1558
HEARD, RUNELLE T    675 S EVELYN PL NW                                                                          ATLANTA         GA    30318‐6449
HEARD, SANDRA A     5209 TILTON DR 20E                                                                          EVANS           GA    30809
HEARD, SANDRA B     218 GREELEY LANE                                                                            YOUNGSTOWN      OH    44505‐4862
HEARD, SANDRA B     218 GREELEY LN                                                                              YOUNGSTOWN      OH    44505‐4862
HEARD, SHIRLEY A    1118 WILLIAMSON CIR                                                                         PONTIAC         MI    48340‐3315
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Name                          Address1                         Address2                      Address3   Address4                 City            State   Zip
HEARD, SHIRLEY M              3170 S ELECTRIC ST                                                                                 DETROIT          MI     48217‐1133
HEARD, STATEN F               5209 TILTON DR                                                                                     EVANS            GA     30809‐7077
HEARD, STEVEN T               4009 ARNST WAY                                                                                     SPRING HILL      TN     37174‐9265
HEARD, SUSAN                  62 WORTHINGTON CT                                                                                  CLAYTON          NC     27527‐5396
HEARD, TERRANCE               3502 HENDERSON PARK RESERVE                                                                        ATLANTA          GA     30341
HEARD, THEODIS                4695 N CHURCH LN SE APT 15103                                                                      SMYRNA           GA     30080‐5022
HEARD, VARNER M               2330 BONNYBROOK WAY                                                                                EAST POINT       GA     30344‐1041
HEARD, VERYLE                 11643 ROSEMONT                                                                                     DETROIT          MI     48228‐1132
HEARD, WESLEY D               PO BOX 200632                                                                                      ARLINGTON        TX     76006‐0632
HEARD, WILLIAM K              2829 RICKMAN RD                                                                                    LIVINGSTON       TN     38570‐5811
HEARD, XAVIER
HEARIN, DONALD D              5420 OAK CHASE DR                                                                                  ANTIOCH         TN      37013‐4246
HEARING, ROGER M              18963 PELKEY ST                                                                                    DETROIT         MI      48205‐2270
HEARIT JR, CHARLES W          4784 DOREY DR                                                                                      BAY CITY        MI      48706‐2661
HEARIT, MARY ELLEN            APT 24                           1457 EAST POND DRIVE                                              OKEMOS          MI      48864‐2374
HEARL JOHNSON JR              2717 W I240 SERVICE RD           APT D                                                             OKLAHOMA CITY   OK      73159
HEARL L JOHNSON JR            2717 W. I 240 SERVICE RD.                                                                          OKLAHOMA CITY   OK      73159
HEARL WRIGHT                  3151 MAIL RD                                                                                       WESTMINSTER     MD      21157‐7731
HEARL, MARY A                 5454 RUSHMORE PASS                                                                                 GRAND BLANC     MI      48439‐9148
HEARLD TWEEDY                 4349 FLUCOM RD                                                                                     DE SOTO         MO      63020‐3502
HEARLD, JOHN W                704 ROSELAWN DR                                                                                    IONIA           MI      48846‐1155
HEARLD, PHILLIP A             8033 Q AVE E                                                                                       SCOTTS          MI      49088‐9710
HEARLD, SCOTT A               5863 SOUTHWARD AVE                                                                                 WATERFORD       MI      48329‐1579
HEARN GROUP INC, THE          59 INTERSTATE DR                                                                                   WENTZVILLE      MO      63385‐4599
HEARN JAMES K SR (626564)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA      23510
                                                               STREET, SUITE 600
HEARN JR, JAMES J             458 MELROSE LN                                                                                     SEBASTIAN       FL      32958‐4984
HEARN JR, JOHNNY E            PO BOX 470585                                                                                      SAINT LOUIS     MO      63147‐7585
HEARN JR, MEDIE               1860 S BASSETT ST                                                                                  DETROIT         MI      48217‐1647
HEARN PONTIAC BUICK LIMITED   MR. H. POPHAM                    1050 THE QUEENSWAY                       ETOBICOKE ON M8Z 1P7
                                                                                                        CANADA
HEARN SR, HERMAN B            19431 SUNSET ST                                                                                    DETROIT         MI      48234‐2049
HEARN WILLIE MAE              HEARN, WILLIE MAE                4084 BOBO LANE                                                    MEMPHIS         TN      38118‐4997
HEARN, ADDIE G                PO BOX 212                                                                                         ELLENWOOD       GA      30294‐0212
HEARN, BARBARA                217 HOSTETTER ST                                                                                   BUCKNER         MO      64016‐9724
HEARN, BARBARA                217 HOSTETTER                                                                                      BUCKNER         MO      64016‐9724
HEARN, BARBARA A              4B CLAUDETTE DR                                                                                    LEWISBURG       TN      37091
HEARN, BESSIE S               10020 LAUDER ST                                                                                    DETROIT         MI      48227‐2462
HEARN, CHARLIE E              608 WYOMING AVE                                                                                    PONTIAC         MI      48341‐2567
HEARN, DANIEL C               6712 LAGO RANCHERO DR                                                                              NORMAN          OK      73026‐3520
HEARN, DONALD L               12999 DEER PATH LN                                                                                 HARTLAND        MI      48353‐3017
HEARN, DONDREAGO L            837 CARVER ST                                                                                      JACKSON         MS      39203
HEARN, EDGAR                  217 HOSTETTER ST                                                                                   BUCKNER         MO      64016‐9724
HEARN, EUVA L                 1063 N LEAVITT RD                                                                                  LEAVITTSBURG    OH      44430‐9644
HEARN, FRANK                  8010 NW 15TH AVE                                                                                   MIAMI           FL      33147‐5332
HEARN, FRANK                  2182 HEMLOCK DR                                                                                    ANN ARBOR       MI      48108‐2520
HEARN, JAMES                  1453 E DELAVAN AVE               LOWER                                                             BUFFALO         NY      14215‐3903
HEARN, JAMES J                7005 THUNDERBIRD DR                                                                                ARLINGTON       TX      76002‐3420
HEARN, JAMES K                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA      23510
                                                               STREET, SUITE 600
HEARN, JANE A                 417 HAMILTON ST                                                                                    WORCESTER       MA      01604‐1921
HEARN, JOAN P                 4 TOPEKA RD                                                                                        CHELMSFORD      MA      01824‐4524
HEARN, JOEL C                 14422 WOODLAND AVE                                                                                 ORLAND PARK     IL      60462‐2455
HEARN, JOHN W                 13222 210AVE E                                                                                     BONNEY LAKE     WA      98391
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Name                        Address1                         Address2             Address3         Address4               City          State   Zip
HEARN, JOSHUA D             12125 WINTERSET DR                                                                            FLORISSANT     MO     63033‐7331
HEARN, LEO E                10395 ATABERRY DR                                                                             CLIO           MI     48420‐1904
HEARN, LEROY                866 CR‐16                                                                                     WINONA         MS     38967
HEARN, MARGARET R           1860 BASSETT                                                                                  DETROIT        MI     48217‐1647
HEARN, MARGARET R           1860 S BASSETT ST                                                                             DETROIT        MI     48217‐1647
HEARN, MARIE G              718 N MONTEREY ST APT 311                                                                     ALHAMBRA       CA     91801
HEARN, MARY                 2228 CHIPPEWA ST                                                                              FLINT          MI     48505‐4330
HEARN, ODESSA               2221 CHIPPEWA ST                                                                              FLINT          MI     48505‐4329
HEARN, PABLO C              146 WAYWOOD DR                                                                                JACKSON        MS     39212‐2240
HEARN, PAULINE              5560 MANISTIQUE ST                                                                            DETROIT        MI     48224‐2924
HEARN, REBECCA              AYRES R JACK JR LAW OFFICES OF   4350 BELTWAY DR                                              ADDISON        TX     75001‐3703
HEARN, RICARDO M            5116 SCENIC WAY                                                                               OXFORD         MI     48371‐6248
HEARN, ROBERT L             15307 E STATE FAIR ST                                                                         DETROIT        MI     48205
HEARN, ROBERT L             505 ENGLISH OAK COURT                                                                         WHITTAKER      MI     48190
HEARN, ROBERT V             41415 GLYME ST                                                                                NOVI           MI     48375‐4267
HEARN, ROY                  9713 E 77TH TER                                                                               RAYTOWN        MO     64138‐1736
HEARN, SANDRA               30404 COUSINO DR                                                                              WARREN         MI     48092‐1915
HEARN, SANDRA I             2554 W 16TH ST #150                                                                           YUMA           AZ     85364
HEARN, SUSAN D              809 GREENLAWN AVE NW                                                                          WARREN         OH     44483‐2128
HEARN, TERRY S              5412 NW 84TH TER APT 224                                                                      KANSAS CITY    MO     64154‐1460
HEARN, THOMAS A             12125 WINTERSET DR                                                                            FLORISSANT     MO     63033‐7331
HEARN, THOMAS ANTHONY       12125 WINTERSET DR                                                                            FLORISSANT     MO     63033‐7331
HEARN, WILLIE MAE           4084 BOBO LN                                                                                  MEMPHIS        TN     38118‐4997
HEARN‐REDON, KATHERINE A    930 SANDPIPER TRAIL SOUTHEAST                                                                 WARREN         OH     44484‐2486
HEARNDON, PEARLINE E        19428 HUNTINGTON RD                                                                           DETROIT        MI     48219‐2165
HEARNE, JAMES D             250 ALPINE TRL                                                                                KINGSPORT      TN     37663‐2994
HEARNE, JUDITH A            1522 JACKSON AVENUE                                                                           MEMPHIS        TN     38107‐4403
HEARNE, ROBERT R            21214 STATE ROUTE 18                                                                          DEFIANCE       OH     43512‐9780
HEARNE, VIRGINIA            7015 S CLERMONT ST                                                                            CENTENNIAL     CO     80122‐2137
HEARNS BESSIE               10020 LAUDER ST                                                                               DETROIT        MI     48227‐2462
HEARNS JR, WILLIE           27157 NOTRE DAME ST                                                                           INKSTER        MI     48141‐2533
HEARNS, BARBARA A           789 CALDER AVE                                                                                YPSILANTI      MI     48198‐6190
HEARNS, BRANDON CHRISTIAN   APT 12                           7 EASTVIEW DRIVE                                             WATERVLIET     NY     12189‐1677
HEARNS, CARL D              253 HICKORY RD                                                                                RIDEGLAND      MS     39157
HEARNS, DARIUS A            3331 WHITAKER DR                                                                              MELVINDALE     MI     48122‐2022
HEARNS, KENNETH M           169 MYRON ST                                                                                  ORTONVILLE     MI     48462‐8824
HEARNS, MABLE               27157 NOTRE DAME                                                                              INKSTER        MI     48141‐2533
HEARNS, MARLENE A           2448 WOODLAND TRL                                                                             FLINT          MI     48507‐3858
HEARNS, MATT E              6995 LIMERICK LN                                                                              TROY           MI     48098‐2136
HEARNS, PECOLIA             4503 COOLIDGE ST                                                                              WAYNE          MI     48184‐2252
HEARNS, PHYLLIS M           149 LAKE TARPON DR                                                                            PALM HARBOR    FL     34684‐1423
HEARNS, SAMUEL L            2448 WOODLAND TRL                                                                             FLINT          MI     48507‐3858
HEARNS, THELMA L            818 N FIVE LAKES RD                                                                           ATTICA         MI     48412
HEARNTON, MARY              1407 DICKEY STREET                                                                            CORINTH        MS     38834‐6226
HEARNTON, MARY              1407 DICKEY ST                                                                                CORINTH        MS     38834‐6226
HEARON, GEORGE S            8910 DEXTER AVE                                                                               DETROIT        MI     48206‐1926
HEARON, ROBERT C            2417 S COUNTY ROAD 125 W                                                                      DANVILLE       IN     46122‐8243
HEARRON, EDWARD             9501 OVERCROSS STREET                                                                         SHREVEPORT     LA     71106‐7655
HEARSCH, ARLENE K           40672 LENOX PARK DR                                                                           NOVI           MI     48377‐2348
HEARST CORP                 FRANK BENNACK JR.                300 W. 57TH ST.      43RD FLOOR                              NEW YORK       NY     10019
HEARST CORP                 MOTOR INFORMATION SYSTEMS        PO BOX 651518                                                CHARLOTTE      NC     28265‐1518
HEARST CORP                 214 WEST TRADE ST                                                                             CHARLOTTE      NC     28202
HEARST CORP                 227 WEST TRADE STREET                                                                         CHARLOTTE      NC     28202
HEARST CORP, THE            1301 W LONG LAKE RD STE 300                                                                   TROY           MI     48098‐6349
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Name                                 Address1                             Address2              Address3         Address4                 City              State   Zip
HEARST CORPORATION                   ALFREDO GATTO                        214 WEST TRADE ST.                                              CHARLOTTE          NC     28202
HEARST CORPORATION                   PO BOX 8271                                                                                          RED OAK             IA    51591‐1271
HEARST CORPORATION, THE              1301 W LONG LAKE RD                  STE 300                                                         TROY               MI     48098‐6349
HEARST LTD                           C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT   2 RAFFLES LINK   MARINA BAYFRONT
                                     LTD                                                                         SINGAPORE 039392
HEARST, CLARENCE C                   3205 RAMBLEWOOD CIR APT 911                                                                          ARLINGTON         TX      76014‐4549
HEARST, DARNELL A                    6472 WASHINGTON ST                                                                                   ROMULUS           MI      48174‐1742
HEARST, DELORES D                    6472 WASHINGTON ST                                                                                   ROMULUS           MI      48174‐1742
HEARST, MATTHEW C                    7520 NE 85TH TER                                                                                     KANSAS CITY       MO      64157‐9691
HEARST, MATTHEW C                    7520 NORTHEAST 85TH TERRACE                                                                          KANSAS CITY       MO      64157‐9691
HEARST, TERRY O                      1427 PALACE AVE                                                                                      SAINT PAUL        MN      55105‐2556
HEARST, TRACIE A                     40 W ELM ST                                                                                          PETERSBURG        MI      49270‐9558
HEARST, WILLIE YVONNE                2855 OLD CARRIAGE DR SW                                                                              MARIETTA          GA      30060‐5321
HEART & STROKE FOUNDATION            1 MEDA STREET                                                               SAINT THOMAS CANADA ON
                                                                                                                 N5P 1W4 CANADA
HEART CHEVROLET LTD.                 FREDERICK DERISE                   1249 ULSTER AVE                                                   KINGSTON          NY      12401‐1527
HEART CHEVROLET LTD.                 1249 ULSTER AVE                                                                                      KINGSTON          NY      12401‐1527
HEART INTERFACE/KENT                 21440 68TH AVENUE SOUTH                                                                              KENT              WA      98032
HEART NIAGARA
HEART OF AMERICA UNITED WAY          1080 WASHINGTON ST                                                                                   KANSAS CITY       MO      64105‐2216
HEART OF FLORIDA UNITED WAY          1940 TRAYLOR BLVD                                                                                    ORLANDO           FL      32804‐4714
HEART OF ILLINOIS UNITED WAY         509 W HIGH ST                                                                                        PEORIA            IL      61606‐1924
HEART OF MARYLAND CLASSIC CHEVY CLUB 13050 PENN SHOP RD                                                                                   MOUNT AIRY        MD      21771‐4517

HEART OF NEW HAMPSHIRE ADVENTURE     PO BOX 500                                                                                           RUMNEY            NH      03266‐0500

HEART OF OHIO COUNCIL               BOY SCOUTS OF AMERICA               PO BOX 368                                                        ASHLAND           OH      44805‐0368
HEART OF WEST MICHIGAN UNITED       118 COMMERCE AVE SW                                                                                   GRAND RAPIDS      MI      49503‐4106
HEART RESEARCH                      ST PAUL MEDICAL FOUNDATION          5909 HARRY HINES BLVD                                             DALLAS            TX      75390‐0001
HEART, LIZA                         145 S CHESTNUT ST                                                                                     KENT              OH      44240‐3401
HEARTBARGER, DALLAS L               4370 KINGS CROSS WAY                                                                                  HOSCHTON          GA      30548‐1669
HEARTBEAT CITY, LLC                 JAMES STUBBINGS                     15081 COMMERCIAL DR                                               SHELBY TOWNSHIP   MI      48315‐3933
HEARTE INTERNATIONAL COMPANY        20925 BONITA ST                                                                                       CARSON            CA      90746‐3604
HEARTH, DENNIS D                    7661 S SNAKE RDG                                                                                      NEWAYGO           MI      49337‐8186
HEARTH, DENNIS DEAN                 7661 S SNAKE RDG                                                                                      NEWAYGO           MI      49337‐8186
HEARTH, GARY W                      2589 MAIN ST                                                                                          NEWAYGO           MI      49337‐9273
HEARTH, RICHARD H                   7466 MAIN ST # 3                                                                                      NEWAYGO           MI      49337
HEARTHA DRAKE                       341 LITTLE ROCK RD                                                                                    DE KALB           MS      39328‐7270
HEARTLAND AREA ACCESSORIES INC.
HEARTLAND AUTOMOTIVE                422 N MAIN ST                                                                                         ROANOKE           IL      61561‐7574
HEARTLAND AUTOMOTIVE LLC            BRADLEY SATHER                      501 38TH ST S                                                     FARGO             ND      58103‐1114
HEARTLAND AUTOMOTIVE LLC            501 38TH ST S                                                                                         FARGO             ND      58103‐1114
HEARTLAND AVIATION INC
HEARTLAND CHEVROLET BUICK‐PONTIAC‐G 400 E HIGHWAY ST                                                                                      HOLDENVILLE        OK     74848‐4015

HEARTLAND CHEVROLET BUICK‐PONTIAC‐   400 E HIGHWAY ST                                                                                     HOLDENVILLE        OK     74848‐4015
GMC TRUCK
HEARTLAND CHEVROLET PONTIAC BUICK    2944 HWY 62 W                                                                                        BOONVILLE          IN     47601

HEARTLAND CHEVROLET, INC.            TEDD POTTS                         501 N STATE ROUTE 291                                             LIBERTY           MO      64068‐1045
HEARTLAND CHEVROLET, INC.            501 N STATE ROUTE 291                                                                                LIBERTY           MO      64068‐1045
HEARTLAND COMMUNITY COLLEGE          1500 W RAAB RD                                                                                       NORMAL            IL      61761‐9446
HEARTLAND CROSSING CHEVROLET, INC.   GARY PEDIGO                        13895 N STATE ROAD 67                                             CAMBY             IN      46113‐8623
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Name                                  Address1                              Address2                         Address3           Address4               City            State   Zip
HEARTLAND EXPRESS INC OF IOWA         2777 HEARTLAND DR                                                                                                CORALVILLE        IA    52241‐2731
HEARTLAND FILM FESTIVAL INC           200 S MERIDIAN ST STE 220                                                                                        INDIANAPOLIS     IN     46225‐1074
HEARTLAND HAND & SPI                  PO BOX 411703                                                                                                    KANSAS CITY      MO     64141‐1703
HEARTLAND HOME HEALT                  DEPT L 1801                                                                                                      COLUMBUS         OH     43260‐0001
HEARTLAND HOME HEALTH CARE            ATTN: BETHANY BENNETT                 1321 S LINDEN RD # B                                                       FLINT            MI     48532‐3440
HEARTLAND HOSPICE SVC                 ATTN: TERRY SWANSON                   1321 S LINDEN RD # B                                                       FLINT            MI     48532‐3440
HEARTLAND INDUSTRIAL PARTNERS LP      JANICE PHILLIPS X272                  500 W 7TH ST                     MASCO INDUSTRIES                          AUBURN           IN     46706‐2006
HEARTLAND INDUSTRIAL PARTNERS LP      JANICE PHILLIPS X272                  MASCO INDUSTRIES                 500 W 7TH STREET                          PORTLAND         IN
HEARTLAND INDUSTRIAL PARTNERS LP      KURT KRONZ                            13001 ATHENS AVE                                                           VANDERBILT       MI     49795
HEARTLAND INDUSTRIAL PARTNERS LP      REBECCA WORDEN                        LAKE ERIE PRODUCTS DIV           12955 INKSTER RD                          DES MOINES        IA
HEARTLAND INDUSTRIAL PARTNERS LP      VICKI SWEARINGEN                      3310 WILLIAM RICHARDSON DR                                                 SOUTH BEND       IN     46628‐9747
HEARTLAND INDUSTRIAL SOLUTIONSLLC     932 LIGORIO AVE                                                                                                  CINCINNATI       OH     45218‐1523

HEARTLAND INSTITUTE                   19 S LA SALLE ST STE 903                                                                                         CHICAGO         IL      60603‐1427
HEARTLAND MEDIA GROUP                 4871 ELM RUN                                                                                                     FARWELL         MI      48622‐9612
HEARTLAND MOTOR COMPANY               DANIEL DRIPPS                         STATE HWY 28 & IOWA AVE                                                    MORRIS          MN      56267
HEARTLAND MOTOR COMPANY               STATE HWY 28 & IOWA AVE                                                                                          MORRIS          MN      56267
HEARTLAND NEW HOLLAND INC             5729 W STATE ROAD 38                                                                                             PENDLETON       IN      46064‐8742
HEARTLAND ORTH. CENTER                10730 NALL AVE STE 200                                                                                           OVERLAND PARK   KS      66211‐1285
HEARTLAND PARK RACEWAY LLC            PO BOX 19228                                                                                                     TOPEKA          KS      66619‐0228
HEARTLAND PHYSICIANS COPY SERVICE     2601 NE REMINGTON CT                                                                                             BLUE SPRINGS    MO      64014‐6520

HEARTLAND REHABILITA                  540 KINGSLEY AVE                                                                                                 ORANGE PARK     FL      32073‐4830
HEARTLAND REHABILITATIONSERVICES OF   HEARTLAND REHABILITATION SERVI DEPT L‐                                                                           COLUMBUS        OH      43260‐0001
OHIO INC                              2807
HEARTLAND SPECIALTY                   PO BOX 414179                                                                                                    KANSAS CITY     MO      64141‐4179
HEARTLAND SPINE & SP                  PO BOX 25885                                                                                                     OKLAHOMA CITY   OK      73125‐0885
HEARTLAND TIRE & SERVICE              17311 KENRICK AVE                                                                                                LAKEVILLE       MN      55044‐7311
HEARTLAND/OAK B                       1200 HARGER RD STE 203                                                                                           OAK BROOK       IL      60523‐1816
HEARTNEY, EVELYN P                    8125 112TH ST APT 210                                                                                            SEMINOLE        FL      33772‐4652
HEARTSFIELD, WILLIAM                  3400 FOLEY RD                                                                                                    PERRY           FL      32348
HEARTWELL, DEAN F                     2421 N THOMAS RD                                                                                                 FAIRGROVE       MI      48733‐9500
HEARUSA                               PO BOX 406153                                                                                                    ATLANTA         GA      30384‐6153
HEARUSA INC                           PO BOX 406153                                                                                                    ATLANTA         GA      30384‐6153
HEARVEY, LESLIE                       1101 N SHERWOOD DR                                                                                               MARION          IN      46952‐1502
HEARY, MARY E                         8954 PEARL ST                          C/O STEVEN HEARY                                                          BOSTON          NY      14025‐9671
HEARY, SR.,ANTHONY T                  93 NICHOLS ST                                                                                                    LOCKPORT        NY      14094‐4813
HEARY, THOMAS B                       6290 SHIMER DR                                                                                                   LOCKPORT        NY      14094
HEARY, WALTER M                       8954 PEARL ST                                                                                                    BOSTON          NY      14025‐9671
HEASLET LINDA                         7425 WHITEGATE AVENUE                                                                                            RIVERSIDE       CA      92506‐5463
HEASLEY CHARLES J                     HEASLEY, CHARLES J                     2325 GRANT BUILDING 310 GRANT                                             PITTSBURGH      PA      15219
                                                                             STREET
HEASLEY JERRY                         1919 HOLLY LN                                                                                                    PAMPA           TX      79065‐4017
HEASLEY JR, WILLIAM E                 2011 CARIBBEAN RD                                                                                                SEBRING         FL      33872‐4054
HEASLEY, EVA ROSE                     3967 KARL RD APT 120                                                                                             COLUMBUS        OH      43224‐6104
HEASLEY, WILLIAM C                    2648 OSAKA DR                                                                                                    CLEARWATER      FL      33764‐1027
HEASLIP, LAWRENCE R                   1148 WOODLOW ST                                                                                                  WATERFORD       MI      48328‐1358
HEASLIP, RYAN J
HEASLIP, THOMAS C                     1249 SHERWOOD AVE                                                                                                N TONAWANDA     NY      14120‐3526
HEASLIP, THOMAS CHARLES               1249 SHERWOOD AVE                                                                                                N TONAWANDA     NY      14120‐3526
HEASTON, BERT A                       12390 S. GARDEN ROAD                                                                                             EXCLSOR SPRGS   MO      64024
HEASTON, BRUCE A                      9220 EMERICK RD W                                                                                                WEST MILTON     OH      45383‐9664
HEASTON, STEVEN N                     7845 N 650 E                                                                                                     OSSIAN          IN      46777‐8909
HEASTY, JOHN N                        PO BOX 405                                                                                                       LAKE CITY       MI      49651‐0405
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Name                              Address1                          Address2                      Address3   Address4               City               State   Zip
HEASTY, NANCY RAE                 7611 N 45 1/2 RD                                                                                  MANTON              MI     49663‐9108
HEAT & WARMTH FUND                ATTN DEBBIE DIVINY                1212 GRISWOLD ST                                                DETROIT             MI     48226
HEAT SYS/FARMINGDALE              1938 NEW HWY                                                                                      FARMINGDALE         NY     11735‐1204
HEAT TECHNOLOGY INC               106 PRATTS JUNCTION RD            PO BOX 430                                                      STERLING            MA     01564‐2304
HEAT TREATING SERVICES            UNLIMITED INC                     PO BOX 1889                                                     SIMPSONVILLE        SC     29681‐1889
HEAT TREATING SVC                 ATTN: SUNNIL JAIN                 915 CESAR E CHAVEZ AVE                                          PONTIAC             MI     48340‐2374
HEATER LOUISE L (429074)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510
                                                                    STREET, SUITE 600
HEATER, ANNA P.                   1041 NASH AVE                                                                                     YPSILANTI          MI      48198‐6208
HEATER, DONNA J                   5010 STEPHANY DRIVE                                                                               ANDERSON           IN      46017‐9719
HEATER, EDWARD EUGENE             MOODY EDWARD O                    801 W 4TH ST                                                    LITTLE ROCK        AR      72201‐2107
HEATER, ELDON G                   9691 S 300 W                                                                                      FAIRMOUNT          IN      46928‐9729
HEATER, JACQUELINE J              10706 65TH AVE SE                                                                                 STEWARTVILLE       MN      55976‐8128
HEATER, JEAN M                    6719 COUNTRY LN                                                                                   BELLEVILLE         MI      48111‐4435
HEATER, JEAN MARIE                6719 COUNTRY LN                                                                                   BELLEVILLE         MI      48111‐4435
HEATER, JUDITH E                  606 FARMERSVILLE PK                                                                               GERMANTOWN         OH      45327‐9538
HEATER, LINDA G                   31712 OLD K.C. ROAD                                                                               PAOLA              KS      66071
HEATER, LOUISE L                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510‐2212
                                                                    STREET, SUITE 600
HEATER, MARY H                    1140 SHARE AVE                                                                                    YPSILANTI          MI      48198‐6489
HEATER, MARY HELEN                1140 SHARE AVE                                                                                    YPSILANTI          MI      48198‐6489
HEATER, MILDRED O                 1059 BROOKS ST                                                                                    BATESVILLE         AR      72501‐3333
HEATER, MILDRED O                 1059 BROOKS ST.                                                                                   BATESVILLE         AR      72501‐3333
HEATER, OMER H                    1012 N 10TH ST                                                                                    ELWOOD             IN      46036‐1046
HEATER, RICHARD D                 1140 SHARE AVE                                                                                    YPSILANTI          MI      48198‐6489
HEATER, RICHARD DENNIS            1140 SHARE AVE                                                                                    YPSILANTI          MI      48198‐6489
HEATER, ROBERT J                  899 SOUTH GROVE STREET                                                                            YPSILANTI          MI      48198‐6372
HEATER, ROBERT JAMES              899 SOUTH GROVE STREET                                                                            YPSILANTI          MI      48198‐6372
HEATER, WILMA S                   33 DART RD                                                                                        CRAIGSVILLE        WV      26205‐8779
HEATH A MENDEZ                    602 W 500 N                                                                                       DECATUR            IN      46733‐9515
HEATH ABSOLAM DAVID (ESTATE OF)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510
(640559)                                                            STREET, SUITE 600
HEATH ALEXANDER                   308 W HEIGHTS DR                                                                                  WEST MONROE         LA     71292‐6348
HEATH CATHERINE                   760 SUMMIT VIEW COURT                                                                             CORONA              CA     92882‐8705
HEATH CECIL J SR (626565)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510
                                                                    STREET, SUITE 600
HEATH CONSULTANTS, INC.           BOYD GOODMAN                      9030 MONROE RD                                                  HOUSTON            TX      77061‐5229
HEATH DONNA                       3276 STATE ROUTE 7                                                                                ANDOVER            OH      44003‐9622
HEATH FRED (500178)               COON BRENT W                      PO BOX 4905                                                     BEAUMONT           TX      77704‐4905
HEATH GILBERTSON                  4018 SANDHILL DR                                                                                  JANESVILLE         WI      53546‐4362
HEATH HALLEAD                     12 SOUTHLAWN CT                                                                                   SAGINAW            MI      48602‐1817
HEATH HOFFMAN                     2128 WINDEMERE AVE                                                                                FLINT              MI      48503‐2241
HEATH III, HOOPER M               350 W MAIN ST                                                                                     ELKTON             MD      21921‐5213
HEATH J MCDANIEL                  610 E PEARL ST                                                                                    MIAMISBURG         OH      45342
HEATH JAMES H (429075)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510
                                                                    STREET, SUITE 600
HEATH JERRY A                     APT 114                           214 NORTH PROSPECT STREET                                       BURLINGTON         VT      05401‐1613
HEATH JR, BENJAMIN F              539 CASSVILLE RD                                                                                  KOKOMO             IN      46901‐5902
HEATH JR, CHARLES C               1413 S GREENFIELD CIR                                                                             LAKE CHARLES       LA      70605‐5309
HEATH JR, DANIEL C                1916 YOULL ST APT 1                                                                               NILES              OH      44446‐4022
HEATH JR, HARRY                   25070 WOODRIDGE DR                APT 63108                                                       FARMINGTON HILLS   MI      48335

HEATH JR, JAMES E                 118 ONEIDA TRL                                                                                    ALBRIGHTSVILLE      PA     18210‐3645
HEATH JR, LARRY H                 524 STREAMWOOD IVY TRL                                                                            SUWANEE             GA     30024‐6485
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HEATH JULIA                   256 N SPRING GARDEN ST                                                                                  AMBLER           PA     19002‐4220
HEATH L TAYLOR                4249 EDISON ST                                                                                          DAYTON           OH     45417
HEATH MENDEZ                  602 W 500 N                                                                                             DECATUR          IN     46733‐9515
HEATH MURIEL M (481784)       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA     23510
                                                                 STREET, SUITE 600
HEATH PHELPH (635916)         ZAMLER, MELLEN & SHIFFMAN          23077 GREENFIELD RD STE 557                                          SOUTHFIELD      MI      48075‐3727
HEATH QUILICHINI, FARRELL G   205 EASTVIEW DRIVE                                                                                      PARKERSBURG     WV      26104‐6104
HEATH RICH                    2355 N STATE HIGHWAY 360 APT 824                                                                        GRAND PRAIRIE   TX      75050‐8717
HEATH RICHARDS                243 BALSAM CT.                                                                                          SPRINGDALE      OH      45246
HEATH ROBERT (445141)         CLIMACO LEFKOWITZ PECA WILCOX &    1228 EUCLID AVE , HALLE BLDG 9TH                                     CLEVELAND       OH      44115
                              GAROFOLI                           FL
HEATH RUSSELL OR PATRICIA     PO BOX 1134                                                                                             ANDOVER         OH      44003
HEATH SR., GEORGE E           134 ORVILLE DR                                                                                          TOLEDO          OH      43612‐3529
HEATH SR., GEORGE EUGENE      134 ORVILLE DR                                                                                          TOLEDO          OH      43612‐3529
HEATH TOWNSHIP                ANN EDING TREASURER                PO BOX 241                                                           HAMILTON        MI      49419‐0241
HEATH WILLIAMS                3214 CATHOLIC VALLEY RD                                                                                 GLEN ROCK       PA      17327‐7658
HEATH'S AUTO                  525 AMY AVE                                                                                             ROUND LAKE      MN      56167‐9741
HEATH'S SERVICE INC.          83 BRIDGE ST                                                                                            LAMBERTVILLE    NJ      08530‐2116
HEATH, ABSOLAM DAVID          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA      23510‐2212
                                                                 STREET, SUITE 600
HEATH, ADELE H                9 WALSH WAY                                                                                             MORRIS PLAINS    NJ     07950‐1916
HEATH, ADOLPHUS
HEATH, ADOLPHUS L             19143 MALLINA ST                                                                                        DETROIT         MI      48236‐2023
HEATH, ALAN B                 1315 S STEEL RD                                                                                         MERRILL         MI      48637‐9521
HEATH, ALAN W                 12083 SW HIGHWAY 484                                                                                    DUNNELLON       FL      34432‐6429
HEATH, ALICE M                1712 JEFFERSON ST                                                                                       ANDERSON        IN      46016‐2015
HEATH, ALICE M                1713 JEFFERSON ST                                                                                       ANDERSON        IN      46016‐2014
HEATH, AMOS J                 12 HILLPOINT ST                                                                                         TROTWOOD        OH      45426‐3606
HEATH, ANSON S                8951 N MARTINDALE ST                                                                                    DETROIT         MI      48204‐2392
HEATH, ANTONIO T              28910 BEECHNUT ST                                                                                       INKSTER         MI      48141‐1110
HEATH, ARGIE L                PO BOX 713                                                                                              DOVER           NC      28526‐0713
HEATH, ARTEMIS                903 S OLDEN AVE APT 1                                                                                   TRENTON         NJ      08610‐5151
HEATH, ARTHUR M               25 VAN BRACKLE RD                                                                                       HOLMDEL         NJ      07733‐1725
HEATH, ARVIN S                12794 ROSEMARY ST                                                                                       DETROIT         MI      48213‐1448
HEATH, BELINDA S              818 BRAE BROOK DR                                                                                       FORT WAYNE      IN      46804‐6704
HEATH, BERLE R                2511 FAIRWAY DR                                                                                         SUGAR LAND      TX      77478‐4014
HEATH, BETTY L                511 BRICKYARD RD                                                                                        DANVILLE        IL      61832‐7703
HEATH, BETTY M                1901 E SEMINARY DR UNIT 304                                                                             FORT WORTH      TX      76119‐5999
HEATH, BETTY S                2219 KIRKWOOD RD                                                                                        ALBANY          GA      31721
HEATH, BETTY S                707 HOLLAND DR SW                                                                                       DECATUR         AL      35601‐4729
HEATH, BOB L                  5313 W 1650 N                                                                                           ELWOOD          IN      46036‐9246
HEATH, BOBBY W                7163 JENNINGS RD                                                                                        SWARTZ CREEK    MI      48473‐8887
HEATH, BONNIE E               2722 APACHE DR                                                                                          ANDERSON        IN      46012‐1402
HEATH, CAROL E                150 TRENTWOOD DR                                                                                        CROSSVILLE      TN      38558‐6582
HEATH, CARYLE J               12185 BUENOS CT                                                                                         PUNTA GORDA     FL      33955‐2237
HEATH, CECIL J                GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA      23510‐2212
                                                                 STREET, SUITE 600
HEATH, CHARLENE F             10335 N 500 W                                                                                           FRANKTON        IN      46044‐9435
HEATH, CHARLES E              2238 KNAPP ST                                                                                           YOUNGSTOWN      OH      44505‐4314
HEATH, CHARLES G              100 LOBLOLLY ST                                                                                         EMERALD ISLE    NC      28594‐2827
HEATH, CHARLES W              2135 E 800 S                                                                                            LA FONTAINE     IN      46940‐8922
HEATH, CHERYL R               342 DERBY LN                                                                                            FRANKLIN        TN      37069
HEATH, CHRISTOPHE M           3685 CHESTERFIELD DR                                                                                    LAPEER          MI      48446‐8902
HEATH, CHRISTY                2782 EVERGLADE AVE                                                                                      CLOVIS          CA      93619‐7405
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Name                      Address1                          Address2                           Address3   Address4               City            State   Zip
HEATH, CLARENCE Q         14009 PENROD ST                                                                                        DETROIT          MI     48223‐3545
HEATH, CLARENCE QUENTIN   14009 PENROD ST                                                                                        DETROIT          MI     48223‐3545
HEATH, CYNTHIA K          2035 FAIRFAX AVE                                                                                       LAS CRUCES       NM     88001‐1514
HEATH, DANIEL J           6200 CANMOOR DR                                                                                        TROY             MI     48098‐1886
HEATH, DANIEL K           4745 E 600 N                                                                                           ALEXANDRIA       IN     46001‐8899
HEATH, DARLENE C          9847 BLOOMHILL DR                                                                                      HOLLY            MI     48442‐8556
HEATH, DARYLL G           950 E ‐ 52 S                                                                                           GREENTOWN        IN     46936
HEATH, DAVID E            5083 S MOUNT PLEASANT RD                                                                               PORTLAND         IN     47371‐7202
HEATH, DAVID W            4026 HEATHERVIEW ROAD                                                                                  LOUISVILLE       KY     40218‐3782
HEATH, DOMINICK J         2863 SOUTH HADLEY ROAD                                                                                 ORTONVILLE       MI     48462‐9283
HEATH, DONALD A           3641 MANDALAY DR                                                                                       DAYTON           OH     45416‐1121
HEATH, DONALD W           1905 ROCKCREEK LN                                                                                      FLINT            MI     48507‐2274
HEATH, DORIS
HEATH, DOROTHY H          4725 PINEDALE AVE                                                                                      CLARKSTON       MI      48346‐3756
HEATH, EDNA               26051 REDWING LANE                                                                                     MILLSBORO       DE      19966
HEATH, EDWIN R            5710 ELLENDALE DR                                                                                      LANSING         MI      48911‐5030
HEATH, EDYTHE             1428 WHITMORE NW                                                                                       GRAND RAPIDS    MI      49504‐2450
HEATH, EDYTHE             1428 WHITMORE AVE NW                                                                                   GRAND RAPIDS    MI      49504‐2450
HEATH, ELBERT E           1085 E 240 N                                                                                           ANDERSON        IN      46012‐9638
HEATH, ELDRIDGE E         308 VALLEYWOOD DR                                                                                      DICKSON         TN      37055‐3107
HEATH, ELIZABETH          678 HARBOR IS                                                                                          CLEARWATER      FL      33767‐1803
HEATH, ELIZABETH R        6600 POPLAR SPRINGS DR APT C104                                                                        MERIDIAN        MS      39305‐1175
HEATH, ELWOOD E           1029 SYMMES AVE                                                                                        HAMILTON        OH      45015‐1644
HEATH, EVELYN M           11489 SW 82ND COURT RD                                                                                 OCALA           FL      34481‐3566
HEATH, EVERETT W          23010 THORNHILL COURT                                                                                  DEER PARK       IL      60010‐6708
HEATH, EVON E             2004 SPRING MEADOW CIR                                                                                 SPRING HILL     TN      37174‐9273
HEATH, FARRELL G          205 EASTVIEW DR                                                                                        PARKERSBURG     WV      26104‐8432
HEATH, FRANCIS            CHALOUPKA HOLYOKE HOFMEISTER      PO BOX 2424                                                          SCOTTSBLUFF     NE      69363‐2424
                          SNYDER & CHALOUPKA
HEATH, FRANK FLOYD
HEATH, FRANKLIN D         10041 COUNTY ROAD 214                                                                                  TRINITY         AL      35673‐5217
HEATH, FRED               COON BRENT W                      PO BOX 4905                                                          BEAUMONT        TX      77704‐4905
HEATH, FRED               C/O THE LIPMAN LAW FIRM           5915 PONCE DE LEON BLVD SUITE 44                                     CORAL GABLES    FL      33146
HEATH, FREDDIE            15283 COUZENS AVE                                                                                      EASTPOINTE      MI      48021‐2232
HEATH, FREDERICK P        PO BOX 421                                                                                             BROWNSVILLE     KY      42210‐0421
HEATH, FREDERICK PAUL     PO BOX 421                                                                                             BROWNSVILLE     KY      42210‐0421
HEATH, FREDRICK V         22240 SCOTT DR                                                                                         RICHTON PARK    IL      60471‐1047
HEATH, FREDRICK V         22240 SCOTT DRIVE                                                                                      RICHTON PARK    IL      60471‐1047
HEATH, GABRIEL WILLIAM    10525 RUNYAN LAKE PT                                                                                   FENTON          MI      48430‐2441
HEATH, GARY E             7630 E 86TH ST                    CASTLETON HEALTHCARE CENTRE                                          INDIANAPOLIS    IN      46256‐1212
HEATH, GARY L             6721 HAMPTON DR                                                                                        CINCINNATI      OH      45236
HEATH, GARY W             43 SUTHERLAND AVE                                                                                      NAPOLEON        OH      43545‐9273
HEATH, GENELLE L          12083 SW HIGHWAY 484                                                                                   DUNNELLON       FL      34432‐6429
HEATH, GEORGE T           7102 CALKINS RD                                                                                        FLINT           MI      48532‐3008
HEATH, GERALD E           11743 DIXIE RD                                                                                         CENTRAL POINT   OR      97502‐9303
HEATH, GERALD W           3805 INDIAN TRL                                                                                        CHINA           MI      48054‐2002
HEATH, GREGORY D          4355 ALTIVO LANE                                                                                       CORONA          CA      92883‐7330
HEATH, GREGORY D          8555 EDELWEISS DR                                                                                      CORONA          CA      92883
HEATH, GREGORY M          1251 S ANNABELLE ST                                                                                    DETROIT         MI      48217‐1246
HEATH, HELEN A            APT#102                           1460 RENTON ROAD                                                     PITTSBURGH      PA      15239
HEATH, HOWARD D           651 CUNNINGHAM RD                                                                                      SPRING CITY     TN      37381‐5602
HEATH, II,JOHN T          117 DALTON AVE                                                                                         CARLISLE        OH      45005‐1308
HEATH, JACQUELINE         57 CADY ST                                                                                             ROCHESTER       NY      14608
HEATH, JAMES A            10555 MOSS BRANCH RD                                                                                   BON AQUA        TN      37025‐3143
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HEATH, JAMES C         PO BOX 235                                                                                      BANCROFT         MI     48414‐0235
HEATH, JAMES E         10600 S MCVETY RD                                                                               FALMOUTH         MI     49632‐9781
HEATH, JAMES H         310 EAGLE BLUFF DR                                                                              OAKWOOD           IL    61858
HEATH, JAMES H         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                       STREET, SUITE 600
HEATH, JAMES L         806 LYNNFIELD DR                                                                                ARLINGTON       TX      76014‐3014
HEATH, JEAN F          23010 THORNHILL CT                                                                              DEER PARK       IL      60010‐6708
HEATH, JEAN M          40 HILLTOP RD                                                                                   EWING           NJ      08638‐1404
HEATH, JEANNE R        7415 MCFARLAND ROAD                                                                             INDIANAPOLIS    IN      46227‐7959
HEATH, JEFFERY J       2056 W WILSON RD                                                                                CLIO            MI      48420‐1604
HEATH, JEFFERY JAY     2056 W WILSON RD                                                                                CLIO            MI      48420‐1604
HEATH, JEFFREY D       333 S MURRAY HILL RD                                                                            COLUMBUS        OH      43228‐1947
HEATH, JEFFREY D       3872 LONG MEADOW                                                                                ORION TWP       MI      48359
HEATH, JEFFREY D       1540 CROCKETT CT                                                                                XENIA           OH      45385‐4258
HEATH, JEFFREY DEAN    333 S MURRAY HILL RD                                                                            COLUMBUS        OH      43228‐1947
HEATH, JOHN B          248 BENNINGTON DR                                                                               ROCHESTER       NY      14616
HEATH, JOHNNY V        114 REVELLA ST                                                                                  ROCHESTER       NY      14609‐3710
HEATH, JOSEPH B        PO BOX 421039                                                                                   INDIANAPOLIS    IN      46242‐1039
HEATH, JOSEPH P        496 STATE ST                                                                                    MEDINA          NY      14103‐9701
HEATH, JOSEPH R        4701 EATON ST                                                                                   ANDERSON        IN      46013‐2737
HEATH, JOSEPH W        610 MADISON ST                                                                                  FRANKTON        IN      46044‐9784
HEATH, JOYCE A         1710 SOUTH WESTWOOD DRIVE                                                                       SAGINAW         MI      48638‐4657
HEATH, JUANITA         806 LYNNFIELD DR                                                                                ARLINGTON       TX      76014‐3014
HEATH, KAREN           4725 PINEDALE AVE                                                                               CLARKSTON       MI      48346‐3756
HEATH, KENNETH A       6282 MARMADUKE AVE                                                                              SAINT LOUIS     MO      63139‐2614
HEATH, KENNETH C       25509 NORFOLK ST                                                                                DEARBORN HTS    MI      48125‐1126
HEATH, KILA K          18428 LINDSAY ST                                                                                DETROIT         MI      48235‐3039
HEATH, KIMBERLY
HEATH, KING D          3725 SATELLITE BLVD                                                                             ELLENWOOD       GA      30294‐1140
HEATH, LARRY E         22891 SHELTON TRL                                                                               ATLANTA         MI      49709‐9688
HEATH, LARRY R         2559 DELAMAINE DRIVE                                                                            GROVE CITY      OH      43123‐3123
HEATH, LAWRENCE
HEATH, LAWRENCE I      14580 CORAM ST                                                                                  DETROIT         MI      48205‐1962
HEATH, LEE A           7084 SHORELINE DR                                                                               DELTON          MI      49046‐6402
HEATH, LENA            612 ALLERTON AVE                C/O BETH ABRAHAM HEALTH                                         BRONX           NY      10467‐7404
HEATH, LEROY K         4186 E 1100 S                                                                                   MARKLEVILLE     IN      46056‐9405
HEATH, LEROY L         303 ZOERB AVE                                                                                   CHEEKTOWAGA     NY      14225‐4837
HEATH, LEROY LEO       303 ZOERB AVE                                                                                   CHEEKTOWAGA     NY      14225‐4837
HEATH, LINDA S         10555 MOSS BRANCH RD                                                                            BON AQUA        TN      37025‐3143
HEATH, LLOYD E         PO BOX 57                                                                                       SWARTZ          LA      71281‐0057
HEATH, LUCILLE M       548‐B CAMBRIDGE AVENUE                                                                          ELYRIA          OH      44035‐6470
HEATH, LYNN P          3125 BIRCH RUN                                                                                  ADRIAN          MI      49221‐1134
HEATH, MADONNA J       C/O BETH HAMBLEN                600 DOGWOOD TRACE                                               MARTINVILLE     IN      46151
HEATH, MARION T        6122 VICTORIA LN                                                                                KEITHVILLE      LA      71047‐9149
HEATH, MARION THOMAS   6122 VICTORIA LN                                                                                KEITHVILLE      LA      71047‐9149
HEATH, MARK A          1684 THREE FORKS FLATROCK RD                                                                    OAKLAND         KY      42159‐9750
HEATH, MARK A          4264 DOBBIN CIR                                                                                 DAYTON          OH      45424‐8128
HEATH, MARK ALAN       1684 THREE FORKS FLATROCK RD                                                                    OAKLAND         KY      42159‐9750
HEATH, MARTA L         21655 CHIPMUNK TRAILE                                                                           WOODHAVEN       MI      48183
HEATH, MARTIN T        5510 HOUSTON RD                                                                                 EATON RAPIDS    MI      48827‐9503
HEATH, MARTY L         1023 TERRACEWOOD DR                                                                             ENGLEWOOD       OH      45322‐2457
HEATH, MARVIN          1366 N MERLIN TER                                                                               CRYSTAL RIVER   FL      34429‐5727
HEATH, MARVIN D        1116 LAYTON RD                                                                                  ANDERSON        IN      46011‐1528
HEATH, MARY K          10782 PIONEER RD                                                                                EAGLE           MI      48822‐9795
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HEATH, MARY N              1366 N MERLIN TER                                                                                       CRYSTAL RIVER     FL     34429‐5727
HEATH, MATTHEW J           10651 PEERLESS ST                                                                                       DETROIT           MI     48224‐1159
HEATH, MELVIN D            96 COULTER CT                                                                                           LAPEER            MI     48446‐7739
HEATH, MERL                500 RICHARD ALLEN BLVD SW APT 319                                                                       ATLANTA           GA     30331‐4215
HEATH, MICHEAL B           904 WHISPERING PINES TRL SW                                                                             DECATUR           AL     35603‐3200
HEATH, MICHELLE A          1441 SAND PIPER DR                                                                                      GRAND BLANC       MI     48439‐7246
HEATH, MICHELLE ADRIENNE   1441 SAND PIPER DR                                                                                      GRAND BLANC       MI     48439‐7246
HEATH, MILTON H            5214 E FRANCES RD                                                                                       MOUNT MORRIS      MI     48458‐9751
HEATH, MURIEL M            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA     23510‐2212
                                                               STREET, SUITE 600
HEATH, NANCY               1148 SECTION ST                                                                                         PLAINFIELD       IN      46168‐1743
HEATH, NEWELL              1800 MAPLE GROVE RD                                                                                     HASTINGS         MI      49058‐8744
HEATH, NICK C              5150 MILLER RD                                                                                          BUCKLEY          MI      49620‐9420
HEATH, NORA I              280 E HICKORY                                                                                           MONTROSE         MI      48457‐9418
HEATH, NORA I              280 HICKORY ST                                                                                          MONTROSE         MI      48457‐9418
HEATH, NORMAN T            2782 EVERGLADE AVE                                                                                      CLOVIS           CA      93619‐7405
HEATH, OPAL J              10600 S MCVETY RD                                                                                       FALMOUTH         MI      49632‐9781
HEATH, PAMELA J            1700 EDSON ROAD                                                                                         HARRISON         MI      48625‐9128
HEATH, PAMELA J            1700 EDSON RD                                                                                           HARRISON         MI      48625‐9128
HEATH, PETER W             6877 NORTHPOINT CT                                                                                      TROY             MI      48085‐1209
HEATH, PHELPH              ZAMLER, MELLEN & SHIFFMAN           23077 GREENFIELD RD STE 557                                         SOUTHFIELD       MI      48075‐3727
HEATH, PRISCILLA K         5578 NANTUCKET RD                                                                                       TROTWOOD         OH      45426
HEATH, RALPH D             6244 N TUXEDO ST                                                                                        INDIANAPOLIS     IN      46220‐4444
HEATH, RALPH W             641 ROBINSON RD                                                                                         CEDARTOWN        GA      30125‐4380
HEATH, RAYMOND J           40 N EASTWAY DR                                                                                         PONTIAC          MI      48342‐2929
HEATH, RICHARD L           9986 HALL RD                                                                                            BARKER           NY      14012‐9674
HEATH, ROBERT              CLIMACO LEFKOWITZ PECA WILCOX &     1228 EUCLID AVE, HALLE BLDG 9TH                                     CLEVELAND        OH      44115
                           GAROFOLI                            FL
HEATH, ROBERT              LYDY & MOAN ATTORNEYS AT LAW        THE PACESETTER BUILDING 4930                                        SYLVANIA         OH      43560
                                                               HOLLAND‐SYLVANIA ROAD
HEATH, ROBERT B            N6816 LAKE DR                                                                                           WHITEWATER       WI      53190‐4132
HEATH, ROBERT C            5102 ELAINE DR                                                                                          TOLEDO           OH      43613‐2423
HEATH, ROGER E             320 N HUBBARD ST #220762            PINE RIVER CORR FACILITY                                            SAINT LOUIS      MI      48880
HEATH, ROLLIN M            35659 BONNEVILLE DR                                                                                     STERLING HTS     MI      48312‐3901
HEATH, RONALD A            PO BOX 61                                                                                               BARTLETT         OH      45713‐0061
HEATH, ROY W               1225 ADAMS RD                                                                                           PONCA CITY       OK      74604
HEATH, RUSSEL A            104 ASHTON DR                                                                                           CAMPBELLSVILLE   KY      42718‐8247
HEATH, RUSSEL V            5354 W. 62ND ST.                                                                                        INDIANAPOLIS     IN      46268
HEATH, RUTH E              5313 W 1650 N                                                                                           ELWOOD           IN      46036‐9246
HEATH, SAMUEL R            437 W WOODRUFF AVE                                                                                      HAZEL PARK       MI      48030‐3226
HEATH, SANDRA K            601 SENECA MANOR DR #A13M                                                                               ROCHESTER        NY      14621
HEATH, SCOTT D             2400 OLD OAK TRL                                                                                        BROOKSVILLE      FL      34604
HEATH, SHANNON             2805 W ROSEMONT ST                                                                                      TYLER            TX      75702‐2726
HEATH, SHARON K            PO BOX 29                                                                                               HARRAH           OK      73045‐0029
HEATH, SHARON L            2536 EDGEBROOK DR                                                                                       TOLEDO           OH      43613‐1213
HEATH, TEDDIE L            PO BOX 605                                                                                              TECUMSEH         OK      74873‐0605
HEATH, THEODORE W          4898 W 7 1/2 MILE RD                                                                                    IRONS            MI      49644‐8691
HEATH, THOMAS D            1827 E 600 S                                                                                            ANDERSON         IN      46013‐9555
HEATH, VERONICA            1237 LINCOLN AVE                                                                                        BELOIT           WI      53511‐4330
HEATH, WALKER L            190 TYLER ST                                                                                            HIGHLAND PARK    MI      48203‐3263
HEATH, WALTER E            10945 CHRISTINE WAY                                                                                     TUJUNGA          CA      91042‐1246
HEATH, WAYNE               3062 EASTLAND BLVD APT 110                                                                              CLEARWATER       FL      33761‐4145
HEATH, WEEMS A             2859 PAYNE RD                                                                                           NORCROSS         GA      30071‐2718
HEATH, WENDELL E           226 WHITAKER AVE                                                                                        HAMILTON         OH      45011
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HEATH, WILLIAM G           13064 CANANDAIGUA RD                                                                         HUDSON           MI     49247‐9524
HEATH, WILLIAM G           6255 TELEGRAPH RD LOT 24                                                                     ERIE             MI     48133‐9419
HEATH, WILLIAM GUY         6255 TELEGRAPH RD LOT 24                                                                     ERIE             MI     48133‐9419
HEATH, WILLIAM R           678 HARBOR IS                                                                                CLEARWATER       FL     33767‐1803
HEATH, WILLIE L            740 PASLEY AVE SE                                                                            ATLANTA          GA     30316‐2158
HEATH, YEVETTE M           6000 W 70TH ST APR 1901                                                                      SHREVEPORT       LA     71129‐2533
HEATH, YEVETTE MARIE       6000 W 70TH APT 1901                                                                         SHREVEPORT       LA     71129‐2533
HEATH, YVETTE              1237 LINCOLN AVE                                                                             BELOIT           WI     53511‐4330
HEATH,ANDREW J             9409 E 84TH ST                                                                               RAYTOWN          MO     64138‐3312
HEATH,MARTY L              1023 TERRACEWOOD DR                                                                          ENGLEWOOD        OH     45322‐2457
HEATH‐HOPKINS, BETTY C     P O BOX 1311                                                                                 SOMERSET         KY     42502‐1311
HEATH‐HOPKINS, BETTY C     PO BOX 1311                                                                                  SOMERSET         KY     42502‐1311
HEATH‐MAYHLE, SHARON K     145 APPLE HILL RD                                                                            WAYNESBURG       PA     15370‐9324
HEATHCLIFF FAGIN           9929 RAINER PASS                                                                             FORT WAYNE       IN     46804‐3952
HEATHCO, CLARENCE E        8439 W OHIO ST                                                                               INDIANAPOLIS     IN     46234‐2641
HEATHCO, CRAIG E           2137 E RUTLAND LN                                                                            MARTINSVILLE     IN     46151‐5972
HEATHCO, MARILYN M         1411 W MAIN ST                                                                               CARMEL           IN     46032‐1441
HEATHCOAT, DOROTHY J       700 MEDLOCK RD                                                                               BATESVILLE       AR     72501‐7963
HEATHCOAT, E C             1139 W MCLEAN AVE                                                                            FLINT            MI     48507‐3623
HEATHCOATE, KENNETH W      5768 W 100 N                                                                                 TIPTON           IN     46072‐8503
HEATHCOCK, ALBERT G        301 SAGE TREE CT                                                                             LEXINGTON        SC     29073‐7421
HEATHCOTE, DAVID S         604 LAUREL OAK DR                                                                            VALENCIA         PA     16059‐8783
HEATHCOTE, IDA S           5504 E GALBRAITH RD APT 33                                                                   CINCINNATI       OH     45236‐2836
HEATHE FOX                 15390 LINCOLN RD                                                                             CHESANING        MI     48616‐9728
HEATHER                    HEATHER QUIROGA               1320 CHASE ST STE 8                                            ALGONQUIN         IL    60102‐9668
HEATHER A CARDINAL         2415 N LONG LAKE RD                                                                          FENTON           MI     48430‐8839
HEATHER A KISH             1112 CENTER AVE APT 12                                                                       BAY CITY         MI     48708‐6184
HEATHER A MC GILL          54483 COMET                                                                                  UTICA            MI     48316‐1608
HEATHER A PIERETTI         151 JAMES ST APT 314          ST CATHARINES, ON L2R 5C4,
HEATHER A THOMPSON         331 FUNSTON AVE                                                                              NEW CARLISLE    OH      45344‐1334
HEATHER A VANWERT          1017 N LINCOLN ST                                                                            BAY CITY        MI      48708‐6158
HEATHER A WARNER           37 WAINWRIGHT DR.                                                                            RIVERSIDE       OH      45431
HEATHER A WRIGHT           2415 BYERS RIDGE DR                                                                          MIAMISBURG      OH      45342
HEATHER ADAMS              719 RIDGEWOOD RD                                                                             ROCHESTER HLS   MI      48306‐2651
HEATHER ADAMS              1301 DONALDSON AVE                                                                           PERU            IN      46970‐8704
HEATHER ALANDER            PO BOX 144                                                                                   SWARTZ CREEK    MI      48473‐0144
HEATHER ALBERT             70462 MELLEN RD                                                                              BRUCE TWP       MI      48065‐4471
HEATHER ALLEN              2126 BRUCE AVE                                                                               LANSING         MI      48915‐1167
HEATHER ALLINGER           3155 SOUTH TERM STREET                                                                       BURTON          MI      48529‐1019
HEATHER ANDRESS            3755 FARMERS CREEK ROAD                                                                      METAMORA        MI      48455‐9729
HEATHER ANGER              2422 W WEBSTER RD                                                                            ROYAL OAK       MI      48073‐3739
HEATHER B ALLINGER         3155 S TERM ST                                                                               BURTON          MI      48529‐1019
HEATHER B BELL             4034 CORINTH BLVD                                                                            DAYTON          OH      45410
HEATHER BAILEY             2175 STOCKWELL RD APT 1314                                                                   BOSSIER CITY    LA      71111‐5764
HEATHER BENDURE            PO BOX 15610                                                                                 DETROIT         MI      48215‐0610
HEATHER BURGESS            124 N COURT ST                                                                               LAPEER          MI      48446‐2212
HEATHER C CARPENTER        18713 WOODRUFF ST                                                                            SMITHVILLE      MO      64089‐9096
HEATHER C FAULKNER         640 HARPWOOD DR                                                                              FRANKLIN        OH      45005
HEATHER C SCOTT            187 AUSTIN CT                                                                                PEARL CITY      HI      96782
HEATHER C THOMPSON         1321 PARK AVE                                                                                EATON           OH      45320
HEATHER C WILSON           6497 SHAFFER RD NW                                                                           WARREN          OH      44481‐9475
HEATHER CAMPBELL‐JOHNSON   2113 ROCKWELL ST                                                                             ALTON           IL      62002‐4664
HEATHER CARDINAL           2415 N LONG LAKE RD                                                                          FENTON          MI      48430‐8839
HEATHER CARPENTER          18713 WOODRUFF ST                                                                            SMITHVILLE      MO      64089‐9096
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Name                               Address1                       Address2                         Address3   Address4                City              State   Zip
HEATHER CARPENTER                  480 E. LOMAR AVE.                                                                                  CARLISLE           OH     45005‐3380
HEATHER CHARTERS                   3536 W BROCKER RD                                                                                  METAMORA           MI     48455‐9330
HEATHER COCHRAN                    4380 SEBRING DR                                                                                    WHITE LAKE         MI     48383‐1383
HEATHER CUNDIFF                    4128 ARLENE DR                                                                                     FLINT              MI     48532‐4604
HEATHER D BLANDFORD                5910 W WAUTOMA BEACH ROAD                                                                          HILTON             NY     14468‐9127
HEATHER D CAMPBELL                 775 N GREECE RD APT 775                                                                            ROCHESTER          NY     14626
HEATHER D FERGUSON                 9959 JULIE DR                                                                                      YPSILANTI          MI     48197‐8286
HEATHER D NAPIER                   PO BOX 443                                                                                         LEWISBURG          OH     45338‐0443
HEATHER D TAYLOR                   1100 MAPLE ST                                                                                      WILMINGTON         DE     19805‐4310
HEATHER D THOMAS                   549 CHERRY STONE CT APT D                                                                          MIAMISBURG         OH     45342‐‐ 33
HEATHER DELONG                     353 RED OAK LN                                                                                     ROCHESTER HILLS    MI     48307‐1552
HEATHER DOYON                      5960 S BRYAN                                                                                       WHITE LAKE         MI     48383‐4005
HEATHER DUGGER                     136 GRISSOM RD                                                                                     WILLIAMS           IN     47470‐9686
HEATHER E BOYD                     9083 HEATHER LANE                                                                                  CENTERVILLE        OH     45458
HEATHER E PELSZYNSKI               718 CENTRAL AVE                                                                                    TILTON              IL    61833‐7910
HEATHER EAKIN                      6704 BUNKER HILL DR                                                                                LANSING            MI     48906‐9135
HEATHER EDWARDS                    139 MAPLEVIEW DR                                                                                   TONAWANDA          NY     14150‐7801
HEATHER EMERY                      11491 AMALFI CRT                                                           WINDSOR ON N8P1S6
                                                                                                              CANADA
HEATHER F WEST                     1012 MORSE AVE                                                                                     DAYTON            OH      45420
HEATHER FINFROCK                   2852 116TH ST                                                                                      TOLEDO            OH      43611‐2840
HEATHER FRIEND                     1074 LONE OAK DR                                                                                   MASON             MI      48854‐8713
HEATHER GAJDOSIK                   3813 BUCKINGHAM DRIVE                                                                              JANESVILLE        WI      53546‐8852
HEATHER GATSON                     1421 AVALON CT APT 5                                                                               FORT WAYNE        IN      46825‐2382
HEATHER GOEB                       1421 IRWIN DR                                                                                      WATERFORD         MI      48327‐2026
HEATHER GOMEZ                      772 KIMBERLY APT 101                                                                               LAKE ORION        MI      48362‐2968
HEATHER GREENE                     303 STONEHAM DR                                                                                    HOCKESSIN         DE      19707‐1418
HEATHER GROSS                      12137 SEYMOUR RD                                                                                   MONTROSE          MI      48457‐9783
HEATHER HASCHKE                    3230 STELLAR DR                                                                                    JANESVILLE        WI      53548‐8568
HEATHER HATFIELD
HEATHER HECKLER                    8749 WILLIAMSPORT DR                                                                               WHITE LAKE        MI      48386‐4385
HEATHER HEIMSOTH                   APT 201                        812 EAST LANGSFORD ROAD                                             LEES SUMMIT       MO      64063‐2951
HEATHER HOLT                       200 BASELINE ROAD EAST                                                                             BOWMANVILLE               L1C1A
HEATHER HORBATT                    1254 TIMBER RIDGE CT                                                                               MILFORD           MI      48380‐3662
HEATHER HORNE                      PO BOX 572                                                                                         LAGRANGE          OH      44050‐0572
HEATHER I KOOGLER                  127 GREENE LAKE CT                                                                                 XENIA             OH      45385‐1501
HEATHER J GRAVLIN                  99 LIND AVE                                                                                        SYRACUSE          NY      13211‐1820
HEATHER J GRUBB‐SMITH              2245 CHIANTI PL UNIT 718                                                                           PALM HARBOR       FL      34683
HEATHER J JENSEN                   48 ADELA CIR                                                                                       ROCHESTER         NY      14624
HEATHER J QUEEN                    2893 TOMMY LEE COOK RD                                                                             NEWNAN            GA      30263
HEATHER JARVIS                     16945 N STATE ROAD 9                                                                               SUMMITVILLE       IN      46070‐9517
HEATHER JONES                      1312 KINGS COACH CIR                                                                               GRAND BLANC       MI      48439‐7628
HEATHER K EVANS                    212 3RD AVE N STE 201          BAIN, CLEETON,DESELMS, & ZELLE                                      NASHVILLE         TN      37201‐1692
HEATHER KALTVED AND MORRISON AND   1502 W NC HIGHWAY 54 STE 201                                                                       DURHAM            NC      27707‐5572
POSTLETHWAIT HUGGINS
HEATHER KING                       617 ORCHARD VIEW DR                                                                                MAUMEE            OH      43537‐2981
HEATHER KISH                       16100 TURNER RD                                                                                    LANSING           MI      48906‐1892
HEATHER KOCZARA                    117 LINDEN AVE                                                                                     ROYAL OAK         MI      48073‐3427
HEATHER L CIBELLA                  5051 EAGLE CREEK RD.                                                                               LEAVITTSBURG      OH      44430‐9768
HEATHER L EDMONDS                  4915 BLOOMFIELD DR                                                                                 TROTWOOD          OH      45426‐‐ 16
HEATHER L FRISBY                   716 S RIVERVIEW AVE                                                                                MIAMISBURG        OH      45342‐3032
HEATHER L FRISBY                   716 SOUTH RIVERVIEW AVENUE                                                                         MIAMISBURG        OH      45342‐3032
HEATHER L GLAVIES                  320 CENTRAL PARKWAY AVE SE                                                                         WARREN            OH      44483‐6211
HEATHER L GOEB                     1421 IRWIN DR                                                                                      WATERFORD         MI      48327‐2026
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Name                                   Address1                         Address2              Address3                   Address4               City           State   Zip
HEATHER L GOULD                        5835 ANSPAUGH RD                                                                                         NEW CARLISLE    OH     45344‐9518
HEATHER L GRIDLEY                      15 BLACK PEPPER COURT                                                                                    SPRINGBORO      OH     45066‐1034
HEATHER L HOOKER                       9798 IVAN DR LOT 20                                                                                      YPSILANTI       MI     48197‐8213
HEATHER L KAUL                         ATTN LEE BROWN                   THE BROWN LAW FIRM    750 ST PAUL STREET SUITE                          DALLAS          TX     75020
                                                                                              1680
HEATHER L KAUL AS NEXT FRIEND OF AMY   ATTN LEE BROWN                   THE BROWN LAW FIRM    750 ST PAUL STREET SUITE                          DALLAS          TX     75201
KAUL A MINOR                                                                                  1680
HEATHER L LOTT                         4472 LENROSE AVE                                                                                         FLINT          MI      48532‐4338
HEATHER L MENDOZA                      122 W STRATHMORE AVE                                                                                     PONTIAC        MI      48340‐2774
HEATHER L PENNELL                      406 NORTH MECCA ST                                                                                       CORTLAND       OH      44410
HEATHER L RYALS                        1203 N VAN BUREN ST                                                                                      BAY CITY       MI      48708‐6079
HEATHER L SLAWSON                      2425 JACKSON ST                                                                                          BELOIT         WI      53511‐5740
HEATHER L SOUSA                        3631 RUBY DR                                                                                             NEW CARLISLE   OH      45344‐9504
HEATHER L STUHLEMMER                   903 BOWEN ST                                                                                             DAYTON         OH      45410‐2515
HEATHER L ZIMMERMAN                    14502 FIRETHORNE PATH                                                                                    FORT WAYNE     IN      46814‐8910
HEATHER LANZI                          3116 ASHBERRY LN                                                                                         SHELBY TWP     MI      48316‐1024
HEATHER LATHAM                         4705 KARA CT                                                                                             COMMERCE       MI      48382‐1089
                                                                                                                                                TOWNSHIP
HEATHER LENNON                         1880 INFIRMARY RD                                                                                        DAYTON         OH      45418‐1730
HEATHER LOSSING                        586 FERNHURST CT                                                                                         LAKE ORION     MI      48362‐1416
HEATHER LUNDER                         16402 CLARKSON DR                                                                                        FRASER         MI      48026‐3585
HEATHER LYNN                           315 GRAND RIVER DR                                                                                       ADRIAN         MI      49221‐8794
HEATHER M ALANDER                      PO BOX 144                                                                                               SWARTZ CREEK   MI      48473‐0144
HEATHER M BUCHER                       1110 COLWICK DR                                                                                          DAYTON         OH      45420
HEATHER M CHARTERS                     3536 W BROCKER RD                                                                                        METAMORA       MI      48455‐9330
HEATHER M CINNAMON                     1623 CORINTHIAN DR               APT 1714                                                                FLORENCE       KY      41042‐7419
HEATHER M FALLIS                       9310 STATE ROUTE 380                                                                                     WILMINGTON     OH      45177‐8362
HEATHER M FRISBIE                      4361 MOZART AVE                                                                                          DAYTON         OH      45424
HEATHER M KISH                         16100 TURNER RD                                                                                          LANSING        MI      48906‐1892
HEATHER M MARTIN                       51 HEMLOCK                                                                                               FRANKLIN       OH      45005‐1720
HEATHER M MORRISON                     469 PROSPECT ST                                                                                          WARREN         PA      16363
HEATHER M SCHLYTTER‐MCKELLAR           12123 WHITE LAKE RD                                                                                      FENTON         MI      48430‐2564
HEATHER M STIRLING                     104 OAKDALE PLACE                                                                                        CORTLAND       OH      44410
HEATHER M WATTS                        212 HAMILTON AVE.                                                                                        DAYTON         OH      45403
HEATHER MARKHAM
HEATHER MAY                            165 TREVOR LN                                                                                            SPRINGBORO     OH      45066‐8304
HEATHER MCELROY                        34 COUNTRY LANE                                                                                          RAINBOW CITY   AL      35906
HEATHER MCGEE                          127 HEARTHWOOD CIR                                                                                       IRMO           SC      29063‐8576
HEATHER MCGROGAN                       17503 ZUBRICK RD                                                                                         ROANOKE        IN      46783‐8749
HEATHER MCNIEL                         1006 W 1ST ST                    RR# 5                                                                   TAWAS CITY     MI      48763‐9565
HEATHER MICHALAK                       7811 24 MILE RD                                                                                          SHELBY TWP     MI      48316‐2509
HEATHER N SANDERS                      197 BEAM DR                                                                                              FRANKLIN       OH      45005‐2003
HEATHER N WATTS                        143 W. WOODBURY DR.                                                                                      DAYTON         OH      45415
HEATHER NARDUCCI                       2554 SHADY SHORES RD                                                                                     LUPTON         MI      48635‐9637
HEATHER PEURASAARI                     240 REDFIELD CT                                                                                          CANTON         MI      48188‐1566
HEATHER POLITE‐SCOTT                   10206 BLACKBERRY CREEK DR.                                                                               BURTON         MI      48519
HEATHER POWELL                         5923 HOLMES HWY                                                                                          EATON RAPIDS   MI      48827‐9553
HEATHER R BURRESS                      7627 SHADY WATER LN                                                                                      DAYTON         OH      45459‐3686
HEATHER R BUTCHER                      2213 NORWAY DRIVE                                                                                        DAYTON         OH      45439‐2627
HEATHER R HOLMES                       1179 BRIGHTWATER CIR APT 12                                                                              MILFORD        OH      45150
HEATHER R MICHAEL                      48 NORTH LIBERTY                                                                                         CAMDEN         OH      45311‐1114
HEATHER R PENWELL                      59 BALTIMORE ST                                                                                          DAYTON         OH      45404‐1950
HEATHER RANDOLPH                       4919 BALLARD RD                                                                                          LANSING        MI      48911‐2942
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Name                              Address1                             Address2            Address3         Address4               City               State Zip
HEATHER RAULERSON                 21121 PARKER ST                                                                                  FARMINGTON HILLS    MI 48336‐5159

HEATHER RITTENHOUSE               21455 BANNER SCHOOL RD                                                                           DEFIANCE           OH   43512‐8707
HEATHER ROCK                      3120 OVERLOOK DR NE                                                                              WARREN             OH   44483‐5620
HEATHER S KILVINGTON              1121 N JACKSON ST                                                                                BAY CITY           MI   48708‐5919
HEATHER SAMSON                    369 SHORT STREET                                                                                 BISHOP             CA   93514
HEATHER SANDERS                   197 BEAM DRIVE                                                                                   FRANKLIN           OH   45005‐2003
HEATHER SCALF                     47282 ROCKWOOD DR                                                                                MACOMB             MI   48044‐5413
HEATHER SCHLYTTER‐MCKELLAR        12123 WHITE LAKE RD                                                                              FENTON             MI   48430‐2564
HEATHER SCHROEDER                 9075 ROUND LAKE RD                                                                               LAINGSBURG         MI   48848‐9494
HEATHER SEABAUGH                  5802 S BEND DR                                                                                   FORT WAYNE         IN   46804‐3049
HEATHER SEDELMAIER                12479 W GREENFIELD RD                                                                            LANSING            MI   48917‐8614
HEATHER SHEPPARD                  1845 HOPEDALE DR                                                                                 TROY               MI   48085‐3335
HEATHER SHURTER                   5457 MAPLEWOOD MEADOWS AVE                                                                       GRAND BLANC        MI   48439‐3508
HEATHER SHUTES                    4580 TOLES RD                                                                                    MASON              MI   48854‐9725
HEATHER SIMMONS                   15439 FARMBROOK ESTATES DR                                                                       MACOMB             MI   48044‐1930
HEATHER SINCLAIR                  108 ABINGDON WAY                                                                                 GREENVILLE         SC   29615‐2307
HEATHER SLEIGHT                   8440 EAST EATON HIGHWAY                                                                          MULLIKEN           MI   48861‐9641
HEATHER SLEMON                    5964 TEMPLE DR                                                                                   PLANO              TX   75093‐8721
HEATHER SMALL                     20161 ORLEANS ST                                                                                 DETROIT            MI   48203‐1355
HEATHER SMITH                     PO BOX 204                                                                                       BURGHILL           OH   44404‐0204
HEATHER SPENCER                   1719 3RD ST                                                                                      BAY CITY           MI   48708‐6211
HEATHER STEWART                   15989 CRYSTAL DOWNS E                                                                            NORTHVILLE         MI   48168‐9637
HEATHER T LENNON                  1880 INFIRMARY RD                                                                                DAYTON             OH   45418
HEATHER T MCKINNEY                4808 PIERPONT DR                                                                                 TROTWOOD           OH   45426‐1949
HEATHER TANG                      461 S SQUIRREL RD                                                                                AUBURN HILLS       MI   48326‐3859
HEATHER TAYLOR                    1100 MAPLE ST                                                                                    WILMINGTON         DE   19805‐4310
HEATHER TEFFT                     PO BOX 234                           204 E ELM                                                   CONTINENTAL        OH   45831‐0234
HEATHER VENNER                    564 DORCHESTER WAY                                                                               MILFORD            MI   48381‐2790
HEATHER VINCENT                   401 NE COLDWATER DR.                                                                             GRAIN VALLEY       MO   64029
HEATHER VU                        46453 CRYSTAL DOWNS W                                                                            NORTHVILLE         MI   48168‐8483
HEATHER WASZCZENKO                7728 MACEDAY LAKE RD                                                                             WATERFORD          MI   48329‐1028
HEATHER WHITE                     9963 CHARLOTTE HWY                                                                               PORTLAND           MI   48875‐8410
HEATHER WINKELMAN                 2284 N FAIRVIEW LN                                                                               ROCHESTER HILLS    MI   48306‐3930
HEATHER WOODEN                    THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES   22ND FLOOR                              BALTIMORE          MD   21201

HEATHER WRIGHT
HEATHER WYATT                     3606 KISKADEE DR                                                                                 EAST LANSING       MI   48823‐8666
HEATHER WYCIECHOWSKI              5284 TERRITORIAL RD                                                                              GRAND BLANC        MI   48439‐1915
HEATHER, KIM J                    6442 RAY RD                                                                                      SWARTZ CREEK       MI   48473‐9122
HEATHER, LUCILLE M                G 4201 CHERYL DR                                                                                 FLINT              MI   48506
HEATHERLY EARNEST (459908)        DUFFY & ASSOCS JOHN J                23823 LORAIN RD                                             NORTH OLMSTED      OH   44070
HEATHERLY MARTIN BRYAN JENNINGS   JENNINGS MARTIN BRYAN HEATHERLY      25 MOLLY LN                                                 CANDLER            NC   28715
HEATHERLY TAMMY                   2229 MASTERS DR                                                                                  JONESBORO          AR   72404‐6850
HEATHERLY, ALLEN W                2518 GOTHAM WAY                                                                                  VALRICO            FL   33596
HEATHERLY, ALMA L                 5900 JASMINE DR                                                                                  DAYTON             OH   45449
HEATHERLY, DAVID R                1295 CREEKSIDE WAY NORTH                                                                         SEVIERVILLE        TN   37876
HEATHERLY, DOROTHY V              39 W QUARRY ST.                      APT 5                                                       NEWTON FALLS       OH   44444‐1638
HEATHERLY, DOROTHY V              39 W QUARRY ST APT 5                                                                             NEWTON FALLS       OH   44444‐1638
HEATHERLY, EARNEST                DUFFY & ASSOCS JOHN J                23823 LORAIN RD                                             NORTH OLMSTED      OH   44070
HEATHERLY, EARNEST J              1232 HOUSEL CRAFT RT. 2                                                                          BRISTOLVILLE       OH   44402
HEATHERLY, GLORIA G               PO BOX 3314                                                                                      WARREN             OH   44485‐0314
HEATHERLY, JAMES F                81 QUINBY LN                                                                                     DAYTON             OH   45432‐3413
HEATHERLY, JAMES F                81 QUINBY LANE                                                                                   DAYTON             OH   45432‐3413
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Name                                Address1                       Address2              Address3         Address4                 City            State   Zip
HEATHERLY, MILDRED J                1232 HOUSEL CRAFT                                                                              BRISTOLVILLE     OH     44402‐9603
HEATHERLY, PATRICIA R               35 CATHERINE CT                                                                                GERMANTOWN       OH     45327‐9302
HEATHERLY, PAUL J                   403 S CUMBERLAND AVE                                                                           LA FOLLETTE      TN     37766‐3737
HEATHERLY, WILLIAM D                PO BOX 3314                                                                                    WARREN           OH     44485‐0314
HEATHFIELD, ROBERT W                6750 W NOBLE PRAIRIE WAY                                                                       FLORENCE         AZ     85232‐6830
HEATHMAN, ANITA                     1008 OAK POINTE DR             C/O SALLY ELLIOTT                                               WATERFORD        MI     48327‐1625
HEATHMAN, CHARLOTTE E               885 S FOX HILL DR                                                                              SPANISH FORK     UT     84660‐2808
HEATHMAN, GLORIA J                  PO BOX 141                                                                                     DANSVILLE        MI     48819‐0141
HEATHMAN, GREGORY T                 255 HURONDALE DR                                                                               WHITE LAKE       MI     48386‐2530
HEATHMAN, JAMES A                   3615 MARK RD                                                                                   WATERFORD        MI     48328‐2338
HEATHMAN, JANIE O                   1820 MAPLEWOOD ST NE                                                                           WARREN           OH     44483‐4172
HEATHMAN, ROGER D                   PO BOX 141                                                                                     DANSVILLE        MI     48819‐0141
HEATHMAN‐PENINGER, DEBORAH A        5772 BELLSHIRE LN                                                                              CLARKSTON        MI     48346‐4743
HEATHORN NORMAN                     820 ALADDIN AVE                                                                                SAN LEANDRO      CA     94577‐4306
HEATHROW OFFICE BLDG CORP           C\O LA SALLE PARTNERS          PO BOX 71350                                                    CHICAGO           IL    60694‐1350
HEATINGS, ANDREWS                   C/O PEKIN INSURANCE            2505 COURT STREET                                               PEKIN             IL    61558‐0001
HEATLEY, LAWRENCE G                 622 N COURT ST                                                                                 HOWELL           MI     48843‐1611
HEATLEY, MICHAEL                    600 WADES BRANCH RD                                                                            CENTERVILLE      TN     37033‐3864
HEATLEY, PATRICIA                   12515 MCGREGOR BLVD UNIT 10                                                                    FORT MYERS       FL     33919‐3188
HEATLEY, RONALD H                   3650 BOY SCOUT RD                                                                              BAY CITY         MI     48706‐1334
HEATLEY, RUBY M                     3653 RUTHERFORD DR                                                                             SPRING HILL      TN     37174‐2177
HEATLY‐ESKRIDGE                     3705 W MEMORIAL RD STE 310                                                                     OKLAHOMA CITY    OK     73134‐1506
HEATON CHEVROLET‐OLDSMOBILE‐GEO, IN 125 W ADAMS ST                                                                                 PITTSFIELD        IL    62363‐1418

HEATON CHEVROLET‐OLDSMOBILE‐GEO,    PETER HEATON                   125 W ADAMS ST                                                  PITTSFIELD       IL     62363‐1418
INC.
HEATON CHEVROLET‐OLDSMOBILE‐GEO,    125 W ADAMS ST                                                                                 PITTSFIELD       IL     62363‐1418
INC.
HEATON JR, ANDREW                   63 LOU ANN DR                                                                                  DEPEW           NY      14043‐1211
HEATON JR, DUANE M                  4261 GRANGE HALL RD 64                                                                         HOLLY           MI      48442
HEATON JR, DUANE M                  508 E ELLEN ST                                                                                 FENTON          MI      48430‐2123
HEATON JR, RAY                      19531 MUNSEY CT                                                                                KATY            TX      77449‐3967
HEATON JR, ROBERT D                 310 SANDY CT                                                                                   BOWLING GREEN   KY      42101‐7254
HEATON JR, ROBERT DENSEL            310 SANDY CT                                                                                   BOWLING GREEN   KY      42101‐7254
HEATON MICHALE                      2287 SHELLY LANE                                                                               CLARKSTON       WA      99403
HEATON WILLIAM                      PO BOX 158                                                                                     LYON            MS      38645‐0158
HEATON, BARBARA L                   230 ZELKOVA DR                                                                                 FAYETTEVILLE    GA      30215‐2529
HEATON, BILLY W                     1317 INLET DR                                                                                  AZLE            TX      76020‐5501
HEATON, CHARLES                     229 BILL NAVE LOOP                                                                             ELIZABETHTON    TN      37643‐5575
HEATON, CLARENCE E                  PO BOX 524                                                                                     NASHVILLE       MI      49073‐0524
HEATON, CLYDE L                     17728 E KIRKWOOD DR                                                                            CLINTON TWP     MI      48038‐1214
HEATON, FRANCIS W                   6525 HURON CHURCH LINE RD                                             WINDSOR ON N9A6Z‐6
                                                                                                          CANADA
HEATON, HELEN R                     19 W HIGH ST                                                                                   MOORESVILLE     IN      46158‐1641
HEATON, JAMES L                     4402 SHERMAN DR                                                                                MARSHALL        TX      75672‐2542
HEATON, JAMES LARRY                 4402 SHERMAN DR                                                                                MARSHALL        TX      75672‐2542
HEATON, JAMES W                     6 WIMBERLY WAY                                                                                 CONROE          TX      77385‐3441
HEATON, JASON L                     530 HONEYSUCKLE LN                                                                             LONGVIEW        TX      75605‐6759
HEATON, JASON LYNN                  7625 STRICKLAND SPRINGS RD                                                                     MARSHALL        TX      75672‐1934
HEATON, JEFFREY N                   10325 GLYNN                                                                                    WHITE LAKE      MI      48386‐2207
HEATON, JEFFREY NORMAN              10325 GLYNN                                                                                    WHITE LAKE      MI      48386‐2207
HEATON, JONAS JR C                  G3504 BRANCH RD                                                                                FLINT           MI      48506‐2078
HEATON, JUANITA C                   1322 HOOD AVE                                                                                  MIDDLETOWN      OH      45044‐7527
HEATON, KARANN M                    508 E ELLEN ST                                                                                 FENTON          MI      48430‐2123
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Name                         Address1                              Address2                       Address3             Address4               City             State   Zip
HEATON, MARY E               90 E LAKE DR                                                                                                     BRASELTON         GA     30517
HEATON, MATTHEW M            80 SUNSET DR LOT 19                                                                                              BLUFFTON          IN     46714‐1230
HEATON, MICHAEL C            1007 CROCKET LN                       P. O. BOX 252                                                              FRIENDSVILLE      TN     37737‐2013
HEATON, MICHAEL R            80 SUNSET DR LOT 17                                                                                              BLUFFTON          IN     46714‐1230
HEATON, NORMA J              38943 PLUMBROOK DRIVE                                                                                            FARMINGTN HLS     MI     48331‐2970
HEATON, PETER B              604 E WASHINGTON ST 3                                                                                            PITTSFIELD         IL    62363
HEATON, ROBERT D             3395 W 200 S                                                                                                     WINCHESTER        IN     47394‐8548
HEATON, ROBERT L             3989 BEATTY DR                                                                                                   DAYTON            OH     45416‐2203
HEATON, RODNEY W             128 N FRONT ST                                                                                                   THORNTOWN         IN     46071‐1120
HEATON, RONALD L             41608 HIGHWAY K                                                                                                  VANDALIA          MO     63382‐5406
HEATON, ROSANNA B.           ATTN ACCOUNTS RECEIVABLE              BEVERLY LIVING CENTER          2701 LYN‐MAR DRIVE                          MUNCIE            IN     47304
HEATON, SAMUEL R             45595 LONES RD                                                                                                   LISBON            OH     44432‐9526
HEATON, SELMA R              PO BOX 6                                                                                                         EMLYN             KY     40730‐0006
HEATON, SHIRLEY A            3965 LA COSTA ISLAND CT                                                                                          PUNTA GORDA       FL     33950‐8152
HEATON, WILLIAM D            3564 RABBIT RUN TRAIL                                                                                            ADAMS             TN     37010‐8012
HEATON, WILLIAM S            19407 70TH AVE RT. 1                                                                                             MARION            MI     49665
HEATON,JAMES W               6 WIMBERLY WAY                                                                                                   THE WOODLANDS     TX     77385‐3441
HEATOR, PEGGY L              3699 OCEAN BEACH RD                                                                                              CLARKLAKE         MI     49234
HEATTEK INC                  W1285 INDUSTRIAL DR                   PO BOX 347                                                                 IXONIA            WI     53036‐9439
HEATWAVE LABS INC            195 AVIATION WAY STE 100                                                                                         WATSONVILLE       CA     95076‐2059
HEATWOLE, LOIS               6601 SLACKS RD                                                                                                   ELDERSBURG        MD     21784‐6245
HEAVEN, RAYMOND E            6305 STONEY RIDGE DR                                                                                             AUSTINTOWN        OH     44515‐5582
HEAVEN, RONALD G             506 HARLAN ST                                                                                                    PLAINFIELD        IN     46168‐1316
HEAVENER CAROL A (662158)    ANGELOS PETER G LAW OFFICES           60 WEST BROAD ST                                                           BETHLEHEM         PA     18018
HEAVENER JIMMY               50 TIMBER RIDGE DR                                                                                               ALMO              KY     42020‐9256
HEAVENER, ARLING R           3100 E MAIN ST                                                                                                   BENTON HARBOR     MI     49022
HEAVENER, BILLY H            23531 HIGHWAY 4 E                                                                                                RIPLEY            MS     38663‐2260
HEAVENER, BLAINE A           PO BOX 9022                           C/O ADAM OPEL IPC: T2‐05                                                   WARREN            MI     48090‐9022
HEAVENER, BOBBY              PO BOX 174                                                                                                       QULIN             MO     63961‐0174
HEAVENER, BONNIE J           551 COUNTY ROAD 545                                                                                              RIPLEY            MS     38663‐8849
HEAVENER, BRENDA             PO BOX 322                                                                                                       NORTH BENTON      OH     44449‐0322
HEAVENER, CAROL A            ANGELOS PETER G LAW OFFICES           60 WEST BROAD ST                                                           BETHLEHEM         PA     18018‐5737
HEAVENER, DEBRA A            PO BOX 9022                           C/O ADAM OPEL, IPC:R2‐08                                                   WARREN            MI     48090‐9022
HEAVENER, EDWARD L           86422 N BAY RD                                                                                                   SCIO              OH     43988‐9788
HEAVENER, JACQUELINE G       622 VICTORIA AVE                                                                                                 FLINT             MI     48507‐1731
HEAVENER, JERRY J            3902 AYRSHIRE DR                                                                                                 YOUNGSTOWN        OH     44511‐1124
HEAVENER, JIMMY R            50 TIMBER RIDGE DR                                                                                               ALMO              KY     42020‐9256
HEAVENER, LEO                GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                               SAGINAW           MI     48604‐2602
                                                                   260
HEAVENER, MARY N             3100 E MAIN ST                                                                                                   BENTON HARBOR     MI     49022
HEAVENER, PAUL W             35235 LEON ST                                                                                                    LIVONIA           MI     48150‐5625
HEAVENRICH III, MAX P        6783 BIANCO                           LOT 87                                                                     LANSON            MI     49706
HEAVENRICH III, MAX P        6783 BIANCO                                                                                                      ALANSON           MI     49706‐8209
HEAVENRIDGE, HERBERT N       18714 COMSTOCK ST                                                                                                LIVONIA           MI     48152‐2858
HEAVEY, MARY M               345 E HARRIET AVE                                                                                                PALISADES PARK    NJ     07650‐1912
HEAVILIN, ELEANOR W          6357 N AKRON DR                                                                                                  ALEXANDRIA        IN     46001‐8639
HEAVILIN, ELEANOR W          6357 N. AKRON DR.                                                                                                ALEXANDRIA        IN     46001‐8639
HEAVILON, WILLIAM J          2657 S MCCLURE ST                                                                                                INDIANAPOLIS      IN     46241‐5717
HEAVIN, PAUL E               7834 E COUNTY ROAD 200 N                                                                                         COATESVILLE       IN     46121‐8992
HEAVIN, PHILIP E             34144 JEWELL DR                                                                                                  STERLING HTS      MI     48312‐5200
HEAVINGHAM EARL L (466969)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                NORFOLK           VA     23510
                                                                   STREET, SUITE 600
HEAVINGHAM, EARL L           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                NORFOLK           VA     23510‐2212
                                                                   STREET, SUITE 600
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Name                                  Address1                         Address2                         Address3   Address4               City               State   Zip
HEAVNER, BRIAN C                      3420 HOAGLAND BLACKSTUB RD                                                                          CORTLAND            OH     44410‐9381
HEAVNER, CLAUDIA L                    9884 WILLIAMS RD                                                                                    DIAMOND             OH     44412‐9729
HEAVNER, DARREL L                     5603 RT 303 NW                                                                                      WINDHAM             OH     44288
HEAVNER, EARL W                       2826 TOWNLINE RD                                                                                    ROSE CITY           MI     48654‐9720
HEAVNER, HERMAN L                     4685 HICKORY LINCOLNTON HWY                                                                         NEWTON              NC     28658‐9732
HEAVNER, RENEE D                      955 RIVERVIEW DR                                                                                    LEAVITTSBURG        OH     44430‐9534
HEAVNER, ROGER E                      12078 MARSH HEN LN                                                                                  TEGA CAY            SC     29708‐7224
HEAVNER, TINA L                       12078 MARSH HEN LN                                                                                  TEGA CAY            SC     29708‐7224
HEAVNER, TINA LEE                     12078 MARSH HEN LN                                                                                  TEGA CAY            SC     29708‐7224
HEAVNER, WILLIAM J                    PO BOX 110                                                                                          CAMERON             MO     64429‐0110
HEAVNER,HANDEGAN & SCOTT              ACT OF S JOYNER 97SC3364         PO BOX 835                                                         DECATUR              IL    62525‐0835
HEAVRIN, BARBARA                      6036 N COUNTY ROAD Y                                                                                MILTON              WI     53563‐8914
HEAVY & GENERAL CONSTRUCTION          700 RAYMOND BLVD                                                                                    NEWARK              NJ     07105‐2909
INTERNATIONAL LABORERS UNION
HEAZLIT, ROBERT F                     6254 CRAMLANE DR                                                                                    CLARKSTON          MI      48346‐2405
HEBA, MATTHEW F                       11614 FORDHAM RD                                                                                    GARFIELD HTS       OH      44125‐3538
HEBARD, LOIS M                        6800 S GRANITE AVE APT 405                                                                          TULSA              OK      74136‐7082
HEBB JR, EDWIN E                      22801 ALEXANDRINE ST                                                                                DEARBORN           MI      48124‐1003
HEBB MARK S SR (188798) ‐ HEBB MARK   BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG , 233 EAST                                     JACKSONVILLE       FL      32202
                                      MCCLAMMA & YEGELWEL P.A.         BAY STREET
HEBB, JOHN J                          226 HILLTOP DR                                                                                      DAYTON             OH      45415‐1219
HEBB, MARK                            BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG, 233 EAST                                      JACKSONVILLE       FL      32202
                                      MCCLAMMA & YEGELWEL P.A.         BAY STREET
HEBB, MILFORD D                       1155 COLUMBIA ROAD                                                                                  VALLEY CITY        OH      44280‐9760
HEBBALE, K V                          3428 CLEVELAND DR                                                                                   TROY               MI      48083‐5696
HEBBARD, ERMA                         230 W LAKE ST                                                                                       SOUTH LYON         MI      48178‐1377
HEBBARD, ERMA                         230 WEST LAKE STREET                                                                                SOUTH LYON         MI      48178‐1377
HEBBELER, ETHEL L                     104 DOOLIN STREET                                                                                   LEMONT             IL      60439‐6499
HEBBELER, JAMES L                     104 DOOLIN STREET                                                                                   LEMONT             IL      60439‐6499
HEBBEN, LEROY L                       29543 N SEAWAY CT                                                                                   HARRISON TWP       MI      48045‐2771
HEBBLE, DARRYL J                      121 NORTH 8TH STREET                                                                                DECATUR            IN      46733‐1501
HEBBLE, DARRYL J                      121 N 8TH ST                                                                                        DECATUR            IN      46733‐1501
HEBBLE, ROBERT D                      9790 66TH ST LOT 278                                                                                PINELLAS PARK      FL      33782‐2814
HEBBLETHWAITE, KENNETH L              PO BOX 573                                                                                          HARDIN             MO      64035‐0573
HEBDA, FRANK B                        8138 WOODLAWN AVE                                                                                   MUNSTER            IN      46321‐1715
HEBDA, FRANK B                        8138 WOODLAWN                                                                                       MUNSTER            IN      46321‐1715
HEBDA, KIRK E                         PO BOX 82511                                                                                        ROCHESTER          MI      48308‐2511
HEBDA, LINDA J                        108 STURTEVANT ST                                                                                   MANTON             MI      49663‐9701
HEBDA, MARK K                         4002 LONGMEADOW DR                                                                                  TRENTON            MI      48183‐3957
HEBDEN JR, JAMES R                    22298 NEARBROOK CT                                                                                  FARMINGTON HILLS   MI      48335‐5450

HEBDEN, JAMES R                       8140 TOWNSHIP LINE RD APT 4101                                                                      INDIANAPOLIS        IN     46260‐5829
HEBDEN, JOAN A                        7692 TONAWANDA CREEK RD                                                                             LOCKPORT            NY     14094‐9042
HEBDEN, KATHLEEN O                    22298 NEARBROOK CT                                                                                  FARMINGTON HILLS    MI     48335

HEBDEN, MARTHA ANN M                  6266 DORSETT SHOALS RD LOT 143   PINELAKE M.H.P.                                                    DOUGLASVILLE       GA      30135‐4651
HEBEBRAND, KENNETH L                  4112 RANDALL DR                                                                                     BRUNSWICK          OH      44212‐1616
HEBEKEUSER JACKIE                     1300 HICKORY VALLEY LN                                                                              OWOSSO             MI      48867‐8744
HEBEKEUSER, DONNA J                   5073 EAST N RIDGE RD                                                                                CHESANING          MI      48616
HEBEKEUSER, DONNA J                   5073 N RIDGE RD                                                                                     CHESANING          MI      48616‐9607
HEBEKEUSER, JACQUELINE K              1300 HICKORY VALLEY LN                                                                              OWOSSO             MI      48867‐8744
HEBEKEUSER, MARIAN R                  6517 E M‐21                                                                                         CORUNNA            MI      48817
HEBEKEUSER, MICHAEL E                 8086 FRANCES RD                                                                                     OTISVILLE          MI      48463‐9422
HEBEKEUSER, NORMA L                   4413 PARK PL APT 8               APT #2                                                             FLINT              MI      48532‐4245
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Name                       Address1                         Address2                Address3     Address4               City               State   Zip
HEBEKEUSER, ROBERT E       GENERAL DELIVERY                 C/O ROBERT HEBEKEUSER                                       GRAND MARAIS        MI     49839
HEBEKEUSER, ROBERT E       GENERAL DELIVERY                                                                             GRAND MARAIS        MI     49839‐9999
HEBEL JR, NICK J           300 LIME ST                                                                                  DUPO                 IL    62239‐1030
HEBEL, BETTIJANE H         3725 N SQUIRREL RD                                                                           AUBURN HILLS        MI     48326‐3942
HEBEL, BRENDA L            45 ROSETTA CT                                                                                AUBURN HILLS        MI     48326‐2964
HEBEL, BRIAN R             15385 VALERIE DR                                                                             MACOMB              MI     48044‐2477
HEBEL, KENNETH E           45 ROSETTA CT                                                                                AUBURN HILLS        MI     48326‐2964
HEBEL, PHILIP G            41186 BERNARD DR                                                                             STERLING HTS        MI     48313‐3404
HEBEL, PHILIP G.           41186 BERNARD DR                                                                             STERLING HTS        MI     48313‐3404
HEBEL, STEWART E           642 WEXFORD RD                                                                               JANESVILLE          WI     53546‐1910
HEBELER JR, ALBERT L       651 CHRISTIANA ST                                                                            N TONAWANDA         NY     14120‐5607
HEBELER, ALAN H            279 LAKESIDE ROAD                                                                            ANGOLA              NY     14006‐9648
HEBELER, DARIK R           6721 WALKER RD                                                                               OVID                MI     48866‐9659
HEBELER, DENNIS K          16550 E STREET RD                                                                            MONTROSE            MI     48457‐9330
HEBELER, DONALD L          5811 COUNTY FARM RD                                                                          SAINT JOHNS         MI     48879‐8218
HEBELER, GLAIDA M          18605 KRISTI RD E                                                                            LIBERTY             MO     64068‐8453
HEBELER, MARY LOU          5721 WALKER RD                                                                               OVID                MI     48855‐9559
HEBELER, MELISSA J         6721 WALKER RD                                                                               OVID                MI     48866‐9659
HEBELER, MELISSA M         6363 FARAGHER RD                                                                             OVID                MI     48866‐9663
HEBELER, MICHAEL W         5302 FEIGLE RD                                                                               LOCKPORT            NY     14094‐9291
HEBEN, DARIA M             10081 HOBART RD                                                                              WILLOUGHBY          OH     44094‐9723
HEBENSTREIT, HELEN M       813 N WASHINGTON AVE                                                                         ROYAL OAK           MI     48067‐1737
HEBENSTREIT, ROBERT J      4130 BROWN RD                                                                                INDIANAPOLIS        IN     46226‐4420
HEBER AGUILAR              11621 CAPRI DR                                                                               GARDEN GROVE        CA     92841‐2610
HEBER HANSEN               617 S WASHINGTON ST                                                                          HASTINGS            MI     49058‐2149
HEBER L WILLIAMSON         PO BOX 114                                                                                   SINKING SPRINGS     OH     45172‐0114
HEBER N AGUILAR            8462 GARDEN VIEW AVE.                                                                        SOUTH GATE          CA     90280
HEBER WILLHOITE            801 ALPINE DR                                                                                ANDERSON            IN     46013‐5003
HEBER WILLIAMSON           PO BOX 114                                                                                   SINKING SPRING      OH     45172‐0114
HEBER, RICHARD J           234 TAYLOR AVE                                                                               NEWTON FALLS        OH     44444‐1536
HEBERER JR, C W            1923 PRESWOOD DR                                                                             HIXSON              TN     37343‐4125
HEBERER, CHARLES L         2096 CASTLEWAY DR NE                                                                         ATLANTA             GA     30345‐3914
HEBERGER, LOUIS J          4814 MOUNT AIRY RD                                                                           SYLVANIA            OH     43560‐2628
HEBERLE, ANNA M            2145 RIO CIR                                                                                 SPRING HILL         FL     34608‐4975
HEBERLE, ANNA M            2145 RIO CIRCLE                                                                              SPRING HILL         FL     34608
HEBERLE, ESTHER            871 MATTHEWS ST                                                                              BRISTOL             CT     06010‐8506
HEBERLE, JOAN D            MESSER & ASSOCIATES HOWARD       310 GRANT ST STE 530                                        PITTSBURGH          PA     15219‐2201
HEBERLE, ROBERT R
HEBERLEIN, DENNIS E        3009 BRISTOL CHMPN TWNLN RD NW                                                               BRISTOLVILLE       OH      44402‐9666
HEBERLIE, CHRISTOPHER W    9716 BAHR RD                                                                                 STE GENEVIEVE      MO      63670‐8462
HEBERLING JR, GEORGE H     3683 E PINON CT                                                                              GILBERT            AZ      85234‐3103
HEBERLING, BEVERLY F       20906 SKYLER DR                                                                              NORTH FORT MYERS   FL      33917

HEBERLING, BEVERLY F       20906 SKILER DRIVE                                                                           NORTH FORT MYERS    FL     33917‐3917

HEBERLING, CAROL E         3113 WASHINGTON AVE APT 327                                                                  ALTON              IL      62002‐5479
HEBERLING, CHRISTOPHER M   2908 MARIA DR                                                                                KILLEEN            TX      76549‐3003
HEBERLING, JANE L          298 S BOULDER CT                                                                             GILBERT            AZ      85296‐1951
HEBERLING, JANET B         6678 TWITCHELL RD                                                                            ANDOVER            OH      44003‐9488
HEBERLING, JON M           20906 SKYLER DRIVE                                                                           NORTH FORT MYERS   FL      33917‐3917

HEBERLING, KENNETH B       426 W HUDSON AVE                                                                             ROYAL OAK           MI     48067‐3122
HEBERLING, KRISTOPHER S    8923 EDGEWOOD PARK DR                                                                        COMMERCE            MI     48382‐4445
                                                                                                                        TOWNSHIP
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HEBERLING, MARGARET G      8923 EDGEWOOD PARK DR                                                                          COMMERCE         MI 48382‐4445
                                                                                                                          TOWNSHIP
HEBERLING, PAUL D          298 S BOULDER CT                                                                               GILBERT         AZ   85296‐1951
HEBERLING, RICHARD L       8178 JOB GREENVILLE RD                                                                         KINSMAN         OH   44428‐9527
HEBERSHAM, ALICE           ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                             NEW YORK        NY   10006‐1638
HEBERT                     170 PLAYERS CIR STE 100                                                                        SOUTHLAKE       TX   76092‐6947
HEBERT ALBIN               600 E MAIN ST                                                                                  NEW ROADS       LA   70760‐3642
HEBERT AMY                 HEBERT, AMY                    111 PARK WEST DR                                                SCOTT           LA   70583‐8902
HEBERT ANNA                241 N HANLON ST                                                                                WESTLAND        MI   48185‐3658
HEBERT BRITTNEE            HEBERT, BRITTNE                306 SUNNY LN                                                    LAFAYETTE       LA   70506
HEBERT DONALD E (355271)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA   23510
                                                          STREET, SUITE 600
HEBERT GLENN E (346597)    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA   23510
                                                          STREET, SUITE 600
HEBERT GRETA               HEBERT, GRETA                  PO BOX 11590                                                    ALEXANDRIA      LA   71315‐1590
HEBERT GRETA               HEBERT, WILLIAM SR             PO BOX 11590                                                    ALEXANDRIA      LA   71315‐1590
HEBERT GRETA               SAFECO INSURANCE COMPANY       PO BOX 11590                                                    ALEXANDRIA      LA   71315‐1590
HEBERT JR, BERNARD L       4237 QUANICASSEE RD                                                                            FAIRGROVE       MI   48733‐9739
HEBERT JR, JOSEPH H        9455 LACKLAND RD                                                                               OVERLAND        MO   63114‐3633
HEBERT JR, ROY E           935 N GREECE RD                                                                                ROCHESTER       NY   14626‐1020
HEBERT KELLY               HEBERT, KELLY                  228 DEERFIELD RD                                                ALLENSTOWN      NH   03275
HEBERT MARISSA             HEBERT, MARISSA
HEBERT RAY                 98 WAYSIDE DR                                                                                  HOUMA           LA   70360‐6100
HEBERT ROBERT              130 DONNA RD                                                                                   LAKE CHARLES    LA   70607‐8610
HEBERT RONALD              7731 OFFICE PARK BLVD                                                                          BATON ROUGE     LA   70809‐7602
HEBERT SCHLEIFER           800 PALISADE AVE               APT I403                                                        FORT LEE        NJ   07024
HEBERT THOMAS              203 BRIARGATE WALK CIR                                                                         LAFAYETTE       LA   70503‐3050
HEBERT'S GARAGE, INC.      227 W MILLS AVE                                                                                BREAUX BRIDGE   LA   70517‐4818
HEBERT, AMY                DALTON & ASSOCIATES LLC        111 PARK WEST DR                                                SCOTT           LA   70583‐8902
HEBERT, BETTY L            117 LAKEVIEW DR                                                                                LEESBURG        FL   34788‐2764
HEBERT, BRITTNE            306 SUNNY LN                                                                                   LAFAYETTE       LA   70506‐6334
HEBERT, CAROL              7420 GLEN TERRA DR                                                                             LANSING         MI   48917‐9639
HEBERT, CLAIRE A           109 CHURCH ST APT 407                                                                          EAST TAWAS      MI   48730‐1165
HEBERT, COLIN M            6899 LYLE LN                                                                                   BRIGHTON        MI   48116‐7451
HEBERT, DEBRA H            3046 TAM O SHANTER LANE                                                                        MISSOURI CITY   TX   77459‐3115
HEBERT, DONALD             270 WHITE POND RD                                                                              STORMVILLE      NY   12582‐5720
HEBERT, DONALD E           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA   23510‐2212
                                                          STREET, SUITE 600
HEBERT, EUGENE F           1108 JOSEPH ST                                                                                 BAY CITY        MI   48706‐5509
HEBERT, GEORGE             17895 AVENIDA CORDILLERA                                                                       SAN DIEGO       CA   92128‐1501
HEBERT, GLENN E            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA   23510‐2212
                                                          STREET, SUITE 600
HEBERT, GREGORY J          5681 BROADWAY ST                                                                               INDIANAPOLIS    IN   46220‐3072
HEBERT, GRETA              3735 NORTH BAYOU               DES GLAISES                                                     MOREAUVILLE     LA   71355
HEBERT, GRETA              BOLEN PARKER & BRENNER LTD     PO BOX 11590                                                    ALEXANDRIA      LA   71315‐1590
HEBERT, INEZ J             4482 S PARSONS AVE                                                                             FREMONT         MI   49412‐9702
HEBERT, JAMES J            1104 DOWNER AVE                                                                                LANSING         MI   48912‐4430
HEBERT, JAMES L            2718 BRANCH RD                                                                                 FLINT           MI   48506‐2919
HEBERT, JENNIFER A         2319 BURNS ST                                                                                  LAKELAND        FL   33801‐2513
HEBERT, JOAN A             346 NORTH HARWINTON AVE                                                                        TERRYVILLE      CT   06786‐4103
HEBERT, JOAN A             346 N HARWINTON AVE                                                                            TERRYVILLE      CT   06786‐4103
HEBERT, JOHN M             8157 MOCKINGBIRD LN                                                                            EATON RAPID     MI   48827‐8088
HEBERT, JOHN W             2609 99TH AVE                                                                                  OAKLAND         CA   94605‐4810
HEBERT, JOSEPH L           9245 FRANCES RD                                                                                OTISVILLE       MI   48463‐8404
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Name                                 Address1                           Address2             Address3         Address4                  City               State Zip
HEBERT, KELLY                        228 DEERFIELD RD                                                                                   ALLENSTOWN          NH 03275‐2609
HEBERT, KELLY
HEBERT, KENNETH L                    4404 WILLOW BEND RD SE                                                                             DECATUR            AL    35603‐5313
HEBERT, LAWRENCE A                   241 N HANLON ST                                                                                    WESTLAND           MI    48185‐3658
HEBERT, LEO J                        649 STATE RD                       PO BOX 43                                                       VASSAR             MI    48768‐9249
HEBERT, LEO R                        1732 MAGNOLIA AVE                                                                                  LADY LAKE          FL    32159‐2137
HEBERT, LORETTA M                    3355 BRENTWAY DR                                                                                   BAY CITY           MI    48706‐3323
HEBERT, LOUIS F                      20916 RHODES RD                                                                                    INTERLOCHEN        MI    49643‐9601
HEBERT, MARY M                       38 VAN DUYN DR                                                                                     EWING              NJ    08618‐1018
HEBERT, MICHAEL B                    6517 DEER RIDGE DR                                                                                 CLARKSTON          MI    48348‐2805
HEBERT, MICHAEL J                    117 LAKEVIEW DR                                                                                    LEESBURG           FL    34788‐2764
HEBERT, MICHAEL L                    21144 CROSS CREEK DR                                                                               SANTA CLARITA      CA    91350
HEBERT, PEGGY M                      2175 AMY ST                                                                                        BURTON             MI    48519‐1107
HEBERT, RANDY J                      10281 CEDAR POINT DR                                                                               WHITE LAKE         MI    48386‐2974
HEBERT, RAYMOND L                    19 SPRAGUE ST                                                                                      GREENVILLE         RI    02828
HEBERT, ROBERT H                     27 ELMWOOD AVE                                                                                     CHERRY VALLEY      MA    01611‐3318
HEBERT, ROBERT K                     PO BOX 361                                                                                         BRISTOL            CT    06011‐0361
HEBERT, ROBERT L                     321 BOURQUE RD                                                                                     LAFAYETTE          LA    70506‐9311
HEBERT, ROBERT M                     3676 MIDDLEBURY LN                                                                                 BLOOMFIELD HILLS   MI    48301‐3361
HEBERT, ROBERT N                     4211 EASTLAWN AVE                                                                                  WAYNE              MI    48184‐1816
HEBERT, RONALD L                     5592 HOLLOW CORNERS RD                                                                             DRYDEN             MI    48428‐9759
HEBERT, RONALD W                     1166 N FARLEY RD                                                                                   ESSEXVILLE         MI    48732‐9774
HEBERT, SHARON B                     PO BOX 7565                                                                                        MACON              GA    31209‐7565
HEBERT, THOMAS A                     7536 BROOKDALE CT                                                                                  BRIGHTON           MI    48116‐4739
HEBERT, TODD D
HEBERT, WILLIAM
HEBERT, WILLIAM JR                   BOLEN PARKER & BRENNER LTD         PO BOX 11590                                                    ALEXANDRIA         LA    71315‐1590
HEBERT, WILLIAM SR                   BOLEN PARKER & BRENNER LTD         PO BOX 11590                                                    ALEXANDRIA         LA    71315‐1590
HEBERTO AYALA                        7724 161ST ST                                                                                      TINLEY PARK        IL    60477‐1583
HEBERTO GUERRA                       1111 WINDSOR ST                                                                                    FLINT              MI    48507‐4261
HEBERTS STEAK RANCH                  ROUTE 37                                                                                           MASSENA            NY    13662
HEBESTREIT, RUBY M                   19157 PINE LEDGE DR                                                                                BROWNSTOWN         MI    48193‐7588
HEBI THB INTERNATIONAL ELECTRIC CO   NO 215 E OF QIBIN AVE                                                    HEBI HENAN, 45803 CHINA

HEBI THB INTERNATIONAL ELECTRIC CO   NO 215 E OF QIBIN AVE              QIBIN DISTRICT                        HEBI HENAN 458030 CHINA
                                                                                                              (PEOPLE'S REP)
HEBI THB INTERNATIONAL ELECTRIC CO   215# QIBIN RD QIBIN DISTRICT                                             HEBI, HENAN PR 458030
LTD                                                                                                           CHINA
HEBL, DAVID L                        1616 VERMONT ST                                                                                    SAGINAW            MI    48602‐1742
HEBL, RICHARD D                      969 NYLON ST                                                                                       SAGINAW            MI    48604‐2171
HEBL, ROBERT O                       11070 DAISY LN                                                                                     SAGINAW            MI    48609‐9441
HEBL, THOMAS M                       1215 CRESTLANE DR                                                                                  SAGINAW            MI    48601‐9338
HEBLE, GERARD W                      31747 INDIAN CREEK DR                                                                              MUSCODA            WI    53573‐5517
HEBLER, BERNARD F                    871 HEBLER LN                                                                                      RANDLEMAN          NC    27317‐7782
HEBLON, SUSEN C                      2115 GRAND AVE                                                                                     MERIDIAN           MS    39301‐6652
HEBNER, BLAKE E                      2005 S BRENTWOOD PL                                                                                ESSEXVILLE         MI    48732‐1409
HEBNER, DORIS A                      3570 E PINECREST DR                                                                                GLADWIN            MI    48624‐7936
HEBNER, THELMA                       10305 W PRAIRIE HILLS CIR                                                                          SUN CITY           AZ    85351‐1947
HEBRANK, BARBARA A                   JOSEPH A MARIA PC (914) 684‐0333
HEBRANK, RICHARD
HEBREO, DENIS C                      3033 E HILLSIDE DR                                                                                 WEST COVINA        CA    91791‐3470
HEBREW UNIVERSITY, ISRAEL            (HEBREW UNIVERSITY OF JERUSALEM,
                                     ISRAEL ‐ HUJI)
HEBRON JR, CLARENCE A                8669 ETHANS GLEN TER                                                                               JACKSONVILLE        FL   32256‐9072
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Name                                 Address1                      Address2                  Address3     Address4                 City            State Zip
HEBSCH, DONALD F                     PO BOX 1635                                                                                   SEABROOK         NH 03874‐1635
HEBSTREIT, RAYMOND M                 112 ALLEN RD                                                                                  GLEN BURNIE      MD 21061‐1613
HEC HOLDINGS, INC.                   INTERCOMPANY
HECEI, BRIAN L                       1620 RUIE RD                                                                                  N TONAWANDA     NY   14120‐1942
HECEI, RAYMOND R                     295 CLARK ST                                                                                  KENMORE         NY   14223‐1303
HECEY, DONALD R                      1107 HAVERSTON RD                                                                             LYNDHURST       OH   44124‐1440
HECHAVARRIA, WALDO                   867 E 181 SR #A                                                                               BRONX           NY   10460
HECHE, STACEY L                      8231 E 400 N                                                                                  PIERCETON       IN   46562‐9310
HECHE, STACEY LEA                    8231 E 400 N                                                                                  PIERCETON       IN   46562‐9310
HECHENG VEHICLE PARTS (TAICANG) CO   NO 105 SHANGHAI EAST RD                                              TAICANG JIANGSU, 21540
                                                                                                          CHINA
HECHINGER, CHARLES R                 4483 STACY CT                                                                                 CLIO            MI   48420‐9408
HECHINGER, FREDRICK O                10582 KAREN DR                                                                                INDIANAPOLIS    IN   46234‐9076
HECHINGER, GARY L                    722 ABERDEEN DR                                                                               INDIANAPOLIS    IN   46241‐1804
HECHLER, FRIEDRICH E                 114 KOENIG RD                                                                                 TONAWANDA       NY   14150‐7404
HECHLER, KLAUS                       14 TIGER TRL                                                                                  FAIRMONT        WV   26554
HECHLER, WILLIAM J                   700 ORCHARD DR                                                                                DAYTON          OH   45419‐1949
HECHLIK, EDWARD C                    4333 N RACOON TRL                                                                             LINCOLN         MI   48742‐9607
HECHT DAWN                           4 SUNNY MEADOWS CT                                                                            SAINT CHARLES   MO   63303‐4431
HECHT JR, DONALD L                   126 OLD NORTHWEST BRIDGE RD                                                                   JACKSONVILLE    NC   28540‐8781
HECHT JR, DONALD LEE                 135 OLD NORTHWEST BRIDGE RD                                                                   JACKSONVILLE    NC   28540‐8781
HECHT SIMONE                         EISLEBENERWEG 17                                                     80993 MUNCHEN GERMANY
HECHT, BELINDA D                     PO BOX 6074                                                                                   KOKOMO          IN   46904‐6074
HECHT, BERNARD A                     3480 WESTBURY                                                                                 KETTERING       OH   45409‐1246
HECHT, BERNARD A                     3480 WESTBURY RD                                                                              KETTERING       OH   45409‐1246
HECHT, BILLIE J                      3658 3 MILE RD                                                                                BAY CITY        MI   48706‐9218
HECHT, BRAD A                        1116 N FOREST DR                                                                              KOKOMO          IN   46901‐1859
HECHT, BRUCE H                       4139 E HILL RD                                                                                GRAND BLANC     MI   48439‐7956
HECHT, DAVID A                       16046 SILVERWOOD DR                                                                           FENTON          MI   48430‐9113
HECHT, DAVID E                       2630 CORUNNA RD APT 3                                                                         FLINT           MI   48503
HECHT, DENNIS R                      9501 HILL RD                                                                                  SWARTZ CREEK    MI   48473‐1064
HECHT, DENNIS ROBERT                 9501 HILL RD                                                                                  SWARTZ CREEK    MI   48473‐1064
HECHT, DONALD C                      3696 ELMWOOD CT                                                                               VASSAR          MI   48768‐9452
HECHT, DONALD L                      1715 WOODRAIL AVE                                                                             COLUMBIA        MO   65203‐0947
HECHT, EDWARD E                      5325 HESS ROAD                                                                                VASSAR          MI   48768‐9114
HECHT, EUGENE R                      8180 BRADLEY RD                                                                               SAGINAW         MI   48601‐9432
HECHT, GERALD R                      7660 JUNCTION RD                                                                              FRANKENMUTH     MI   48734‐9536
HECHT, HARRY J                       3658 3 MILE RD                                                                                BAY CITY        MI   48706‐9218
HECHT, HARVEY W                      5677 PINETREE DR #25                                                                          MILLINGTON      MI   48746‐9458
HECHT, JANET M                       4516 MAIN ST                                                                                  MILLINGTON      MI   48746
HECHT, JANIS S                       1069 QUAIL RUN DR                                                                             DAYTON          OH   45458‐9625
HECHT, JOHN W                        PO BOX 1186                                                                                   LOCKPORT        NY   14095‐1186
HECHT, JUANITA M                     1947 W HAVENS ST                                                                              KOKOMO          IN   46901
HECHT, KARIN L                       16046 SILVERWOOD DR                                                                           FENTON          MI   48430‐9113
HECHT, KARIN LISELOTTE               16046 SILVERWOOD DR                                                                           FENTON          MI   48430‐9113
HECHT, KENNETH R                     8315 W SAGINAW RD                                                                             VASSAR          MI   48768‐9476
HECHT, LAURA V                       1520 PERINO LN                                                                                SAN MARTIN      CA   95046‐9733
HECHT, MERLE A                       7800 NEMCO WAY                APT 226                                                         BRIGHTON        MI   48116‐9462
HECHT, MICHAEL A                     7093 FRANKLIN MADISON RD                                                                      MIDDLETOWN      OH   45042‐1105
HECHT, NICK RAYMOND                  7455 S 500 E                                                                                  COLUMBIA CITY   IN   46725‐9249
HECHT, PATRICIA A                    136 ROCKVIEW TERRACE                                                                          ROCHESTER       NY   14606‐1915
HECHT, PATRICIA M                    2900 N APPERSONWAY            TRAILER 243                                                     KOKOMO          IN   46901
HECHT, PATRICIA M                    TRLR 243                      2900 NORTH APPERSON WAY                                         KOKOMO          IN   46901‐1487
HECHT, RONALD L                      7455 S 500 E                                                                                  COLUMBIA CITY   IN   46725‐9249
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Name                     Address1                               Address2                        Address3   Address4               City              State   Zip
HECHT, S M               1593 RIVER RD APT D1                                                                                     SAINT CLAIR        MI     48079‐3544
HECHT, SCOTT             23336 E 5TH PL UNIT 104                                                                                  AURORA             CO     80018‐1616
HECHT, THOMAS E          261 MANSFIELD CUTOFF                                                                                     CRYSTAL FALLS      MI     49920‐8760
HECHT, THOMAS L          4209 W STATE ROUTE 55                                                                                    TROY               OH     45373‐9240
HECHT,THOMAS L           4209 W STATE ROUTE 55                                                                                    TROY               OH     45373‐9240
HECHTMAN DDS             55 N POND DR STE 3                                                                                       WALLED LAKE        MI     48390‐3080
HECIMOVICH, GEORGE       210 WILLARD PL                                                                                           WESTMONT            IL    60559‐1451
HECIMOVICH, STEVEN J     5810 N PROMISING LN                                                                                      MILTON             WI     53563‐8453
HECK ADOLPH H (409179)   GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510
                                                                STREET, SUITE 600
HECK DONALD A (355208)   GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510
                                                                STREET, SUITE 600
HECK GEORGE E            THE LIPMAN LAW FIRM                    5915 PONCE DE LEON BLVD         STE 44                            CORAL GABLES       FL     33146
HECK GEORGE E            C/O MCKENNA & CHIODO                   436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH         PA     15219
                                                                SUITE 500
HECK GEORGE E (507014)   (NO OPPOSING COUNSEL)
HECK JR, JOSEPH E        32205 CAMBRIDGE DR                                                                                       WARREN             MI     48093‐6181
HECK LINDA               C/O LAW OFFICES OF ERNEST J BAUER JR   1966 N HIGHWAY 190                                                COVINGTON          LA     70433‐5158
                         LLC
HECK LINDA               HECK, LINDA                            534 E BOSTON ST                                                   COVINGTON         LA      70433‐2943
HECK MAYNARD             727 ALLEN ST                                                                                             FERNDALE          MI      48220‐3201
HECK OLIVER (445143)     BEVAN & ASSOCIATES                     10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH      44067
                                                                PROFESSIONAL BLDG
HECK, AARON              2659 MELCOMBE CIR APT 309                                                                                TROY               MI     48084‐3461
HECK, ADOLPH H           GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510‐2212
                                                                STREET, SUITE 600
HECK, ALYNA
HECK, BEATRICE B         1117 W BUDER AVE                                                                                         FLINT             MI      48507‐3611
HECK, BEATRICE B         1117 W BUDER                                                                                             FLINT             MI      48507‐3611
HECK, BONNIE S           981 WESTWOOD DR                                                                                          MONROE            MI      48161‐1887
HECK, CECELIA E.         13803 BROUGHAM                                                                                           STERLING HGTS     MI      48312‐4301
HECK, CHRISTEL I         6568 LAWNWOOD AVE                                                                                        PARMA HEIGHTS     OH      44130‐2834
HECK, CLARENCE J         1146 JEFFERSON ST                                                                                        RACINE            WI      53404‐2818
HECK, CLARENCE R         3585 CASTLETON LN                                                                                        BRUNSWICK         OH      44212‐4916
HECK, DELORES M          6645 GRASSLAND                                                                                           WEST BLOOMFIELD   MI      48324‐2746

HECK, DONALD A           GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510‐2212
                                                                STREET, SUITE 600
HECK, DONALD D           16551 NW 80TH AVE                                                                                        FANNING SPRINGS    FL     32693‐7558
HECK, DONALD E           13333 LINDA VISTA ST                                                                                     BELLEVILLE         MI     48111‐2277
HECK, GEORGE E           MCKENNA & CHIDO                        436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH         PA     15219
                                                                SUITE 500
HECK, GERHARD M          1984 CANTERBURY ROAD                                                                                     WESTLAKE          OH      44145‐3224
HECK, GRACE M            510 HICKORY DR                                                                                           GREENFIELD        IN      46140‐8840
HECK, HOMER E            2588 DERBY WAY                         C/O ANNA THELMA HECK                                              SEVIERVILLE       TN      37876‐7926
HECK, IRENE              822 W EIGHT STREET                                                                                       MONROE            MI      48161
HECK, JAMES A            7 ELMORE ST                                                                                              TROTWOOD          OH      45426‐3603
HECK, JAMES E            215 UNIVERSAL DR                                                                                         SAINT PETERS      MO      63376‐4424
HECK, JAMES U            9052 FRANCES RD                                                                                          FLUSHING          MI      48433‐8846
HECK, JAMES ULYESS       9052 FRANCES RD                                                                                          FLUSHING          MI      48433‐8846
HECK, JAMES V            321 HAMMOCK TER                                                                                          VENICE            FL      34293‐1014
HECK, JESSE              880 BUCKHORN DR                                                                                          LAKE ORION        MI      48362‐2830
HECK, JOHN J             2 HAMLET RD                                                                                              LEVITTOWN         PA      19056‐1310
HECK, KATHRYN J          120 ANKARA AVE                                                                                           BROOKVILLE        OH      45309‐1319
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Name                        Address1                       Address2                         Address3   Address4                City              State   Zip
HECK, LARRY D               3195 SCHOOL DR                                                                                     MORRIS              IL    60450‐8497
HECK, LARRY DALE            3195 SCHOOL DR                                                                                     MORRIS              IL    60450‐8497
HECK, LAWRENCE R            253 S.HEINCKE RD.T                                                                                 MIAMISBURG         OH     45342
HECK, LINDA                 BAUER ERNEST J JR              1966 N HIGHWAY 190 STE A                                            COVINGTON          LA     70433
HECK, LINDA                 GRAHAM HARRY C III             534 E BOSTON ST                                                     COVINGTON          LA     70433
HECK, LINDA B               PO BOX 90513                                                                                       LAKELAND           FL     33804‐0513
HECK, LLOYD G               8068 WILLOW LN                                                                                     WARREN             MI     48093‐1635
HECK, MABEL A               7131 CHEROKEE DRIVE                                                                                SHAWNEE MISSION    KS     66208‐3144

HECK, MARGARET M            2317 WOODBURN AVENUE                                                                               MIDDLETOWN        OH      45042‐2459
HECK, MARILYN               APT 316                        34601 ELMWOOD STREET                                                WESTLAND          MI      48185‐3080
HECK, MARILYN               34601 ELMWOOD ST APT 316                                                                           WESTLAND          MI      48185‐3080
HECK, MILDRED IRENE         3331 SHANNON RD                                                                                    BURTON            MI      48529‐1830
HECK, MILLARD D             512 DIVIDING RIDGE RD                                                                              SPEEDWELL         TN      37870‐7337
HECK, OLEN                  1290 JONES RIDGE RD                                                                                SPEEDWELL         TN      37870‐7126
HECK, OLEN R                RR #3                                                                                              SPEEDWELL         TN      37870
HECK, OLIVER                BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                        NORTHFIELD        OH      44067
                                                           PROFESSIONAL BLDG
HECK, PAUL M                6614 CHIRCO CT                                                                                     SHELBY TWP        MI      48316‐3414
HECK, RANDY S               10355 GRAND BLANC RD                                                                               GAINES            MI      48436‐9772
HECK, RANDY STEVEN          10355 GRAND BLANC RD                                                                               GAINES            MI      48436‐9772
HECK, ROBERT J              9471 PALM ISLAND CIR                                                                               N FT MYERS        FL      33903‐5263
HECK, RONALD L              626 S. RIVERVIEW                                                                                   MIAMISBURG        OH      45342‐3030
HECK, RONALD L              626 S RIVERVIEW AVE                                                                                MIAMISBURG        OH      45342‐3030
HECK, ROSEMARIE             4792 W LINCOLN RD                                                                                  ANDERSON          IN      46011‐1418
HECK, SHARON L              425 N 17TH ST                                                                                      SEBRING           OH      44672‐1209
HECK, THOMAS H              17229 PARK LN                                                                                      FRASER            MI      48026‐3825
HECK, WILLIAM E             19512 HIGHWAY 71 S                                                                                 GREENWOOD         AR      72936‐8003
HECKAMAN, JACK M            2372 GALLANT FOX WAY                                                                               SAINT JOHNS       MI      48879‐8168
HECKAMAN, JACQUELINE ANN    1639 VERNERLEE LN                                                                                  SOUTH BEND        IN      46635‐1950
HECKARD, BEN L              157 SCOTT ST                                                                                       WISNER            LA      71378‐4537
HECKARD, KAYLA T            2600 OLIVER RD                                                                                     MONROE            LA      71201‐2848
HECKARD, ROBERT E           5 WILLOW OAK ST                                                                                    ELON COLLEGE      NC      27244‐9105
HECKARD, WILLIE J           2020 BURTON AVE                                                                                    HOLT              MI      48842‐1311
HECKART, BRIAN K            1360 INVERNESS FARMS RD                                                                            MARTINSVILLE      IN      46151‐7250
HECKART, TERESA K           9729 STELLAR VIEW AVE                                                                              LAS VEGAS         NV      89117‐3683
HECKATHORN, LEWIS J         46 CENTER AVE                                                                                      CHEEKTOWAGA       NY      14227‐1502
HECKATHORN, SHIRLEY         434 PROSPECT AVE                                                                                   EAST AURORA       NY      14052‐2324
HECKBER, JAROD M            3539 E 1100 N                                                                                      OSSIAN            IN      46777‐9737
HECKE, MARY                 11014 KAW DRIVE                                                                                    EDWARDSVILLE      KS      66111‐1166
HECKE, MARY                 11014 KAW DR                                                                                       EDWARDSVILLE      KS      66111‐1166
HECKEL JR, HAROLD ANTHONY   8535 AIRPORT HWY                                                                                   HOLLAND           OH      43528‐8650
HECKEL SHARON               HECKEL, SHARON                 GALLERIA FINANCIAL CENTER 5065                                      HOUSTON           TX      77056
                                                           WESTHEIMER STE 722
HECKEL, AARON C             7745 GOLDENROD CT                                                                                  BRIGHTON          MI      48116‐8269
HECKEL, AARON C.            7745 GOLDENROD CT                                                                                  BRIGHTON          MI      48116‐8269
HECKEL, CLAUDETTE R         8535 AIRPORT HWY                                                                                   HOLLAND           OH      43528
HECKEL, KATHLEEN M          407 W CHARLTON AVE                                                                                 SPOKANE           WA      99208‐7246
HECKEL, NELLIE L            1144 WATER VIEW LN                                                                                 O FALLON          MO      63366‐1475
HECKEL, PATRICIA K          2873 SANIBEL LN                                                                                    LAMBERTVILLE      MI      48144‐9471
HECKEL, ROBERT D            5460 HILLIER DR                                                                                    CLIO              MI      48420‐8519
HECKEL, SHARON              54 CR # 4532                                                                                       DAYTON            TX      77535
HECKELMANN, HARTMUT         MR HARTMUT HECKELMANN          AHRFELDSTR 50                               45136 ESSEN GERMANY
HECKELMANN, HARTMUT         AHRFELDSTR 50                                                              45136 ESSEN GERMANY
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Name                               Address1                        Address2                         Address3                      Address4               City            State Zip
HECKEMA, ROBERT F                  2992 N 30TH ST                                                                                                        KALAMAZOO        MI 49048‐9211
HECKENDORN, GERALD W               1788 LOWOOD TRL                                                                                                       LEONARD          MI 48367‐2645
HECKENLIVELY, TIFFANY
HECKER ROBERT                      HECKER, ROBERT                  100 JOHNSON BLVD                                                                                      RI   02916
HECKER ROGER E (429076)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                           NORFOLK         VA   23510
                                                                   STREET, SUITE 600
HECKER, AUDREY W                   VANDERBILT TOWERS # 1 STE 612   1 BLUEBILL AVENUE                                                                     NAPLES          FL   34108
HECKER, CAROL A                    10057 CASANES AVE                                                                                                     DOWNEY          CA   90240‐3502
HECKER, CHARLES R                  4327 WALBRIDGE TRL                                                                                                    DAYTON          OH   45430‐1828
HECKER, ERICH                      4343 LEE HWY APT 606                                                                                                  ARLINGTON       VA   22207‐3243
HECKER, JIMMIE L                   5905 TILLERY RD SE                                                                                                    FAUCETT         MO   64448‐9129
HECKER, JIMMIE LEE                 5905 TILLERY RD SE                                                                                                    FAUCETT         MO   64448‐9129
HECKER, JOHN D                     PO BOX 2428 PMB 7316                                                                                                  PENSACOLA       FL   32513‐2428
HECKER, JOHN D                     PMB 7316                        P O BOX 2428                                                                          PENSACOLA       FL   32513‐2428
HECKER, MARK W                     7492 CORINTH COURT RD                                                                                                 FARMDALE        OH   44417‐9764
HECKER, MICHAEL J                  1536 INDIAN VALLEY RD R                                                                                               NOVATO          CA   94947
HECKER, PHYLLIS                    P.O. BOX 640                                                                                                          VAN BUREN       MO   63965‐0640
HECKER, PHYLLIS                    RR 1 BOX 243                                                                                                          ELLSINORE       MO   63937‐9725
HECKER, ROGER E                    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                           NORFOLK         VA   23510‐2212
                                                                   STREET, SUITE 600
HECKER, SAMUEL F                   RR 1 BOX 243                                                                                                          ELLSINORE       MO   63937‐9725
HECKER, VERONICA, WRONGFUL DEATH   C/O HAROWITZ & TIGERMAN LLP     450 SANSOME ST, 3RD FL                                                                SAN FRANCISCO   CA   94111‐3311
HEIR
HECKER, WILLIAM R                  11416 NW 113TH ST                                                                                                     CHIEFLAND       FL   32626‐8070
HECKERD, THOMAS W                  281 WOOD ST                                                                                                           MANSFIELD       OH   44903‐2221
HECKERMAN ARTHUR                   5300 HAMILTON AVE APT 1701                                                                                            CINCINNATI      OH   45224‐3165
HECKERT, BARBARA S                 PO BOX 521                                                                                                            GALVESTON       IN   46932‐0521
HECKERT, CAROL S                   354 CARMELAIRE CT                                                                                                     CARMEL          IN   46032‐2166
HECKERT, DAVID W                   APT 3                           1404 NORTH 4TH STREET                                                                 BERTHOUD        CO   80513‐1045
HECKERT, DOUGLAS W                 2308 HUCKLEBERRY AVE                                                                                                  PRESCOTT        MI   48756‐9364
HECKERT, EDITH M                   39545 ROCKSPRINGS RD                                                                                                  POMEROY         OH   45769‐9739
HECKERT, JAMES H                   4111 WYCLIFF AVE                                                                                                      DALLAS          TX   75219‐3005
HECKERT, JIMMY A                   39545 ROCKSPRINGS RD                                                                                                  POMEROY         OH   45769‐9739
HECKERT, JOY D                     524 OXFORD CT                                                                                                         BELTON          MO   64012‐2866
HECKERT, JOY D                     524 OXFORD CT.                                                                                                        BELTON          MO   64012‐866
HECKERT, S D                       ELLEM LAW OFFICE                914 MARKET STREET,SUITE 207,PO                                                        PARKERSBURG     WV   26102‐0322
                                                                   BOX 322
HECKERT, S D                       ELLEM LAW OFFICE                PO BOX 322                       914 MARKET STREET SUITE 207                          PARKERSBURG     WV   26102‐0322

HECKERTHORN, WILLIAM H             582 CRESCENT PL                                                                                                       GRAYLING        MI   49738‐9088
HECKERTHORNE, ALLEN H              8626 S LAKEVIEW RIDGE TRL                                                                                             TRAVERSE CITY   MI   49684‐7543
HECKET HARRY (639370)              BRAYTON PURCELL                 PO BOX 6169                                                                           NOVATO          CA   94948‐6169
HECKET, HARRY                      BRAYTON PURCELL                 PO BOX 6169                                                                           NOVATO          CA   94948‐6169
HECKETHORN MANUFACTURING CO INC    2005 FORREST ST                                                                                                       DYERSBURG       TN   38024‐3683

HECKETHORN MFG, DIV.               LARRY THARPE X260               PO BOX 310                                                                            HAMILTON        AL   35570‐0310
HECKETHORN/DYERSBURG               2005 FORREST ST                                                                                                       DYERSBURG       TN   38024‐3683
HECKLER, BENJAMIN A                5130 TALMADGE RD                                                                                                      TOLEDO          OH   43623‐2147
HECKLER, BENJAMIN AUSTIN           5130 TALMADGE RD                                                                                                      TOLEDO          OH   43623‐2147
HECKLER, BETTY L                   7850 CHATHAM RD                                                                                                       MEDINA          OH   44256‐9169
HECKLER, HEATHER                   8749 WILLIAMSPORT DR                                                                                                  WHITE LAKE      MI   48386‐4385
HECKLER, LEONARD J                 7850 CHATHAM RD                                                                                                       MEDINA          OH   44256‐9169
HECKLER, SARAH L                   23600 NORTHLINE RD              C/O MEDILODGE OF TAYLOR                                                               TAYLOR          MI   48180‐4620
HECKLER, SARAH L                   C/O MEDILODGE OF TAYLOR         23600 N LINE RD                                                                       TAYLOR          MI   48180
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Name                              Address1                         Address2                      Address3   Address4               City           State   Zip
HECKMAN & NARDONE INC             PO BOX 27603                                                                                     LANSING         MI     48909‐0603
HECKMAN DAVID                     HECKMAN, DAVID                   106 W DOUGLAS AVE STE 923                                       WICHITA         KS     67202‐3311
HECKMAN GEORGE H JR (ESTATE OF)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA     23510
(663898)                                                           STREET, SUITE 600
HECKMAN HAROLD S (429077)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA     23510
                                                                   STREET, SUITE 600
HECKMAN JR, DAVID D               17047 KINLOCH                                                                                    REDFORD         MI     48240‐2431
HECKMAN M EDWARD (629555)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA     23510
                                                                   STREET, SUITE 600
HECKMAN, ALBINA G                 2416 WORLD PARKWAY BLVD APT 42                                                                   CLEARWATER     FL      33763‐2026
HECKMAN, ANDREW M                 4593 PERSIMMON DR                                                                                SAGINAW        MI      48603‐5223
HECKMAN, BRADLEY A                12919 JAMI DR                                                                                    KANSAS CITY    MO      64166‐1077
HECKMAN, BRADLEY ALLEN            12919 JAMI DR                                                                                    KANSAS CITY    MO      64166‐1077
HECKMAN, CAROLYN S                8240 5 POINTS ROAD                                                                               INDIANAPOLIS   IN      46259
HECKMAN, CHARLES E                3515 HIGH POINT CT                                                                               DAYTON         OH      45440‐3569
HECKMAN, CHARLES R                348 HOWLAND WILSON RD SE                                                                         WARREN         OH      44484‐2530
HECKMAN, DARRIN R                 14688 W PARKS RD                                                                                 FOWLER         MI      48835‐8211
HECKMAN, DERRICK EDWARD           10910 W JASON RD                                                                                 FOWLER         MI      48835‐9225
HECKMAN, DEWAYNE L                3720 MAIN DR                                                                                     DRYDEN         MI      48428‐9769
HECKMAN, EDWARD L                 5710 HUBBARDSTON RD                                                                              HUBBARDSTON    MI      48845‐9703
HECKMAN, FRANCIS G                PO BOX 146                                                                                       PEWAMO         MI      48873‐0146
HECKMAN, FREDERICK P              6988 N RIVERVIEW DR                                                                              KALAMAZOO      MI      49004‐9675
HECKMAN, GEORGE D                 4285 S KESSLER FREDERICK RD                                                                      WEST MILTON    OH      45383‐9793
HECKMAN, GEORGE H                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA      23510‐2212
                                                                   STREET, SUITE 600
HECKMAN, HAROLD R                 35 WESTBROOK LN                                                                                  TROY           OH      45373‐2403
HECKMAN, HAROLD S                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA      23510‐2212
                                                                   STREET, SUITE 600
HECKMAN, JAMES G                  W 2401 WEST US 2                                                                                 SAINT IGNACE    MI     49781
HECKMAN, JOHN H                   9771 LA CRESTA CIR                                                                               HUNTINGTON      CA     92646‐6027
                                                                                                                                   BEACH
HECKMAN, JOSEPH                   2235 WILD DUNES CIR                                                                              KATY           TX      77450‐8693
HECKMAN, LAWRENCE G               1701 SUMAN AVENUE                                                                                DAYTON         OH      45403‐3138
HECKMAN, LAWRENCE G               1701 SUMAN AVE                                                                                   DAYTON         OH      45403‐3138
HECKMAN, M EDWARD                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA      23510‐2212
                                                                   STREET, SUITE 600
HECKMAN, MARK R                   24512 LEXINGTON AVE                                                                              EASTPOINTE     MI      48021‐1306
HECKMAN, NORMAN E                 537 EVERETT TRL                                                                                  HALE           MI      48739‐9120
HECKMAN, PAUL L                   6591 PIED PIPER PRKWY                                                                            HILLSBORO      OH      45133‐5133
HECKMAN, RAMON J                  1013 MILTON BLVD                                                                                 NEWTON FALLS   OH      44444‐9792
HECKMAN, ROBERT E                 78 DONALD DR                                                                                     NORTH          NY      14120‐4203
                                                                                                                                   TONAWANDA
HECKMAN, ROBERT J                 601 CASSEL HILLS CT                                                                              VANDALIA       OH      45377‐3158
HECKMAN, RUSSELL A                9980 MIDDLETON RD                                                                                OVID           MI      48866‐9578
HECKMAN, SHIRLEY C                1503 PINEWINDS DR APT 202                                                                        RALEIGH        NC      27603‐5707
HECKMAN, STEVEN P                 2074 SIMON CT                                                                                    SPRINGFIELD    OH      45503‐1813
HECKMAN, STEWART E                2605 PIKE CREEK RD                                                                               WILMINGTON     DE      19808‐3609
HECKMAN, TED R                    500 N HENDRICKS AVE                                                                              MARION         IN      46952‐2320
HECKMAN, WILLIAM F                2222 HILTS RD                                                                                    GLADWIN        MI      48624‐9233
HECKMAN, WILLIAM J                511 S HIGHAM ST                                                                                  PEWAMO         MI      48873‐9797
HECKMANN, THOMAS R                6537 MEADOWRIDGE DR                                                                              SANTA ROSA     CA      95409‐5817
HECKMANN, WILLIAM R               6815 KENBYRNE CT                                                                                 CINCINNATI     OH      45239‐5634
HECKO, ALBERT H                   512 BASELINE RD                                                                                  GRAND ISLAND   NY      14072‐2502
HECKO, HARLOW E                   361 WORTHINGTON ST                                                                               MARCO ISLAND   FL      34145
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Name                                 Address1                          Address2                      Address3     Address4               City            State   Zip
HECKO, HARLOW E                      251 GLENBRIAR CIR                                                                                   DAYTONA BEACH    FL     32114‐7150
HECKROTH, LARRY L                    2597 W DICKERSON RD                                                                                 UNIONVILLE       MI     48767‐9745
HECKROTH, TIMOTHY R                  RR 1 BOX 40                                                                                         PETERSON          IA    51047
HECKSEL, JOSEPH J                    7980 BENTLEY HWY                                                                                    EATON RAPIDS     MI     48827‐9308
HECKSTALL ERNEST (456566)            BILMS KEVIN P                     430 CRAWFORD ST STE 202                                           PORTSMOUTH       VA     23704‐3813
HECKSTALL, ERNEST                    BILMS KEVIN P                     430 CRAWFORD ST STE 202                                           PORTSMOUTH       VA     23704‐3813
HECKY, DAVID S                       6 CHERBOURG CT                                                                                      LAKE ST LOUIS    MO     63367‐1022
HECMANCZUK, VIVIAN I                 6509 INKSTER RD                                                                                     GARDEN CITY      MI     48135‐2542
HECNY TRANSPORTATION                 2158 S LYNHURST DR                INTERNATIONAL AIRPORT                                             INDIANAPOLIS     IN     46241‐4716
HECO INC                             3509 S BURDICK ST                                                                                   KALAMAZOO        MI     49001‐4835
HECO INDUSTRIAL SERVICE GROUPS       3509 S BURDICK ST                                                                                   KALAMAZOO        MI     49001‐4835
HECO INDUSTRIAL SERVICE GROUPS INC   3509 S BURDICK ST                                                                                   KALAMAZOO        MI     49001‐4835

HECOCK, WILLIAM G                    510 HARTFORD DR                                                                                     ELYRIA          OH      44035‐2906
HECOX, BLANCHE A                     48 EAST GARDNER STREET                                                                              SPARTA          MI      49345‐1518
HECOX, JOHN M                        12 N VISTA                                                                                          AUBURN HILLS    MI      48326‐1417
HECOX, KEITH R                       257 S CRAWFORD RD                                                                                   TWINING         MI      48766‐9798
HECOX, LOIS L                        5288 TUBBS RD                                                                                       WATERFORD       MI      48327
HECT, DONALD L                       6125 JACKPINE TRL                                                                                   ALGER           MI      48610‐9460
HECTOR
HECTOR A MATA                        319 ANDY AVE                                                                                        PORTAGE         MI      49002‐0442
HECTOR A VAZQUEZ                     27 PENNELS DR                                                                                       ROCHESTER       NY      14626‐4918
HECTOR ALLENDE                       15903 DOVER CLIFF DR                                                                                LUTZ            FL      33548‐6197
HECTOR ALVARADO                      2019 CLARA MATHIS RD                                                                                SPRING HILL     TN      37174‐2543
HECTOR ALVARADO                      BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.     OH      44236
HECTOR ANDRADE                       1616 FOLKSTONE RD NE                                                                                ATLANTA         GA      30329‐1307
HECTOR ARROYO                        8310 E 50 S                                                                                         GREENTOWN       IN      46936‐1428
HECTOR ASENCIO                       819 EUGENE ST                                                                                       YPSILANTI       MI      48198‐6168
HECTOR BERNARD                       99 GUADALAJARA DR                                                                                   TOMS RIVER      NJ      08757‐6205
HECTOR BERNARD                       743 3RD AVE                                                                                         PONTIAC         MI      48340‐2013
HECTOR BLANCO‐CESPEDES               710 FOX AVE                                                                                         YPSILANTI       MI      48198‐6196
HECTOR BUENO                         6813 CRANVILLE CT                                                                                   CLARKSTON       MI      48348‐4578
HECTOR BURGOS                        133 CORNWALL AVE                                                                                    TRENTON         NJ      08618‐3319
HECTOR CABILDO                       438 S SYBALD ST                                                                                     WESTLAND        MI      48186‐3858
HECTOR CANALES                       406 W 13TH ST                                                                                       SAN JUAN        TX      78589‐2053
HECTOR CARDENAS                      4445 LOWELL AVE                                                                                     LOS ANGELES     CA      90032‐1212
HECTOR CASTRO                        914 N VENDOME ST                                                                                    LOS ANGELES     CA      90026‐2863
HECTOR CEJA                          PO BOX 2452                                                                                         SAGINAW         MI      48605‐2452
HECTOR CINTRON SR                    1030 DETTLING RD                                                                                    WILMINGTON      DE      19805‐1029
HECTOR COLON                         6854 BROOKHOLLOW DR SW                                                                              WARREN          OH      44481‐8634
HECTOR COLON JR                      1353 MULBERRY RUN                                                                                   MINERAL RIDGE   OH      44440‐9437
HECTOR CORONADO                      APT 6                              7021 MADISON STREET                                              WEST NEW YORK   NJ      07093‐1866
HECTOR D SOTO                        19083 HARMAN ST                                                                                     MELVINDALE      MI      48122‐1605
HECTOR DELGADO                       2495 AJ DR                                                                                          EAGLE PASS      TX      78852‐4428
HECTOR DURAN                         2650 PAGANINI AVE                                                                                   SAN JOSE        CA      95122‐1323
HECTOR E RODRIGUEZ                   12517 LIGHTCATCHER WAY                                                                              BURLESON        TX      76028‐3068
HECTOR E VALERO                      7408 QUAIL POINT LN                                                                                 ARLINGTON       TX      76002‐3487
HECTOR ESTRADA MADRID                ROBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD           PO BOX 521                          EAST ALTON      IL      62024
                                     GIANARIS ANGELIDES & BARNERD LLC

HECTOR FLECHA                        BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.     OH      44236
HECTOR FLORES                        1948 LUNENBURG DR                                                                                   SAINT PETERS    MO      63376‐8168
HECTOR FLORES                        PO BOX 63056                                                                                        LOS ANGELES     CA      90063‐0056
HECTOR GARCIA                        518 COUNTRY LN                                                                                      GRAND PRAIRIE   TX      75052‐6319
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Name                         Address1                         Address2                     Address3            Address4               City             State   Zip
HECTOR GARCIA                1050 WINDSOR ST                                                                                          FLINT             MI     48507‐4239
HECTOR GATICA                5820 ELLENDALE DR                                                                                        LANSING           MI     48911‐5033
HECTOR GEDDES                10125 GEDDES RD                                                                                          SAGINAW           MI     48609‐9205
HECTOR GONZALEZ              15300 E 49TH ST                                                                                          KANSAS CITY       MO     64136‐1113
HECTOR GONZALEZ              PO BOX 5141                                                                                              BALTIMORE         MD     21224‐0141
HECTOR GONZALEZ              312 A 17TH STREET                APT 3                                                                   EASTON            PA     18042
HECTOR H PIOVAN              21905 CHASTER RD                                                                                         LAKE FOREST       CA     92630‐2506
HECTOR HERNANDEZ             1262 FLICKINGER AVE                                                                                      SAN JOSE          CA     95131‐2813
HECTOR HERNANDEZ             1474 PEBBLE BEACH DR                                                                                     PONTIAC           MI     48340‐1366
HECTOR HERRERA
HECTOR J LOREDO              147 CHERRY WAY                                                                                           HAYWARD           CA     94541‐1902
HECTOR JALOMO                3532 KINGSBURY AVE                                                                                       RICHLAND HILLS    TX     76118‐5744
HECTOR JIMENEZ               1630 PILCHARD CT                                                                                         POINCIANA         FL     34759‐4732
HECTOR JIMENEZ               BARON & BUDD PC                  THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                          DALLAS            TX     75219‐4281
HECTOR JR, LOUIS G           53557 LUANN DR                                                                                           SHELBY TWP        MI     48316‐2611
HECTOR LUNA JR               13676 COUWLIER AVE                                                                                       WARREN            MI     48089‐3323
HECTOR M ZAYAS               114 DILION CT                                                                                            NO. BRUNSWICK     NJ     08902
HECTOR MALACARA              5514 KATHERINE CT                                                                                        SAGINAW           MI     48603‐3623
HECTOR MARTINEZ              1902 COLLINGWOOD AVE                                                                                     SAGINAW           MI     48601‐3617
HECTOR MATA                  319 ANDY AVE                                                                                             PORTAGE           MI     49002‐0442
HECTOR MATOS                 236 W ANN ARBOR AVE                                                                                      PONTIAC           MI     48340‐1804
HECTOR MCKINNON              N 10153 I‐3 RD                                                                                           STEPHENSON        MI     49887
HECTOR MELENDEZ              1444 DERBYSHIRE ST SE                                                                                    GRAND RAPIDS      MI     49508‐2544
HECTOR MONT                  13061 MINNETONKA DR                                                                                      LINDEN            MI     48451‐9428
HECTOR MORALES               511 WASHINGTON ST                                                                                        BRISTOL           PA     19007‐3910
HECTOR MORENO                5435 W RAMONA AVE                                                                                        FRESNO            CA     93722‐7123
HECTOR MORI                  1128 PARKHILL AVE                                                                                        SAGINAW           TX     76179‐3412
HECTOR ORTIZ                 13126 SUNSET DR                                                                                          SUNFIELD          MI     48890‐9075
HECTOR OTERO                 120 ELGAR PL APT 9D # 09                                                                                 BRONX             NY     10475‐5141
HECTOR OVALLE                7766 OAKHILL PARK DR                                                                                     SAN ANTONIO       TX     78249‐4454
HECTOR PADRON                17051 NE 35TH AVE APT 102                                                                                NORTH MIAMI       FL     33160‐3001
                                                                                                                                      BEACH
HECTOR PARAMO                42 CENTRAL AVE                                                                                           JERSEY CITY      NJ      07306‐2218
HECTOR PARDO                 22096 BRUNSWICK DR                                                                                       WOODHAVEN        MI      48183‐1585
HECTOR PENA                  5059 WINSTON DR                                                                                          SWARTZ CREEK     MI      48473‐1224
HECTOR PERAZZO               PO BOX 30                                                                                                SUMMIT           NY      12175‐0030
HECTOR PEREZ                 PO BOX 492                                                                                               NEW YORK         NY      10032‐0500
HECTOR PEREZ                 5416 BLUEBERRY RD                                                                                        HARRISON         MI      48625‐9653
HECTOR PEREZ                 C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS       OH      44236
HECTOR PIOVAN                21905 CHASTER RD                                                                                         LAKE FOREST      CA      92630‐2506
HECTOR POMPA                 2214 BEAVER ST                                                                                           DEARBORN         MI      48128‐1407
HECTOR PRAT                  717 E 182ND ST                                                                                           BRONX            NY      10457‐1847
HECTOR RAIGOSA               4908 WOOD CREEK DR                                                                                       CARMEL           IN      46033‐5963
HECTOR RAMIREZ               939 CLEVELAND AVE                                                                                        LINCOLN PARK     MI      48146‐2726
HECTOR RAMIREZ               6965 BULWER ST                                                                                           DETROIT          MI      48210‐2827
HECTOR RAMOS                 551 N HUNTINGTON ST                                                                                      SAN FERNANDO     CA      91340‐1916
HECTOR REBOREDO              1737 CHRISTIANS CIRCLE                                                                                   HARLINGEN        TX      78550‐2834
HECTOR RICE FAMILY, LP       955 CROCKETT ST                                                                                          EL PASO          TX      79922‐1363
HECTOR RICO FAMILY LIMITED   955 CROCKETT ST                                                                                          EL PASO          TX      79922‐1363
PARTNERSHIP
HECTOR RICO FAMILY, LP       955 CROCKETT ST                                                                                          EL PASO           TX     79922‐1363
HECTOR RIVERA                73 SANDER ST                                                                                             ROCHESTER         NY     14605‐1667
HECTOR RODRIGUEZ             3505 PALMER ST                                                                                           LANSING           MI     48910‐4424
HECTOR RODRIGUEZ             12517 LIGHTCATCHER WAY                                                                                   BURLESON          TX     76028‐3068
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Name                  Address1                       Address2              Address3         Address4               City              State   Zip
HECTOR ROMAN          2228 CONDOR ST                                                                               GRAND PRAIRIE      TX     75052‐2280
HECTOR ROMO           1520 LA SALLE CT                                                                             JANESVILLE         WI     53546‐2455
HECTOR S MURILLO      105 PADEN DR                                                                                 GADSDEN            AL     35903
HECTOR SALMERON       755 W. GROVEWOOD ST                                                                          B.OOMINGTON        CA     92316‐2165
HECTOR SANCHEZ        6416 GREENWOOD ST                                                                            SHAWNEE MISSION    KS     66216‐2137

HECTOR SANDOVAL       56 SUGAR PINE RD                                                                             ROCHESTER HILLS   MI      48309‐2230
HECTOR SANTILLAN      4961 E LECKIE LN                                                                             SAGINAW           MI      48603‐9630
HECTOR SANTOS         2023 LAKEVIEW RD                                                                             SPRING HILL       TN      37174‐2300
HECTOR SANTOS         1558 LIBERTY DR                                                                              HOLLISTER         CA      95023‐5690
HECTOR SERRANO        84 WILKES ST                                                                                 BEACON            NY      12508‐2010
HECTOR SOLIS          PO BOX 104                                                                                   LEIPSIC           OH      45856‐0104
HECTOR SOTELO         9405 CHARWOOD DR                                                                             OKLAHOMA CITY     OK      73139‐8616
HECTOR SOTO           17429 PARK ST                                                                                MELVINDALE        MI      48122‐1212
HECTOR TODD           129 WOODWARD AVE                                                                             BUFFALO           NY      14214‐2311
HECTOR TORRES         2482 SHETLAND LN                                                                             POLAND            OH      44514‐1555
HECTOR TREJO          13947 VAN NUYS BLVD                                                                          ARLETA            CA      91331‐4543
HECTOR VALDEZ JR      455 ARDELEAN DR                                                                              OWOSSO            MI      48867‐1017
HECTOR VALERO         7408 QUAIL POINT LN                                                                          ARLINGTON         TX      76002‐3487
HECTOR VASQUEZ        26723 VAN BUREN RD                                                                           DEARBORN HTS      MI      48127‐1016
HECTOR VAZQUEZ        1009 MCKAVETT DR                                                                             BURLESON          TX      76028‐9305
HECTOR VELAZQUEZ      42749 WILMINGTON DR                                                                          STERLING HTS      MI      48313‐2674
HECTOR VILLALON       102 CATHERINE ST                                                                             GREEN SPRINGS     OH      44836‐9614
HECTOR VILLANUEVA     5208 HIGH ISLAND DR                                                                          ARLINGTON         TX      76017‐1998
HECTOR VILLANUEVA     4177 HILLBROOK CT                                                                            MOORPARK          CA      93021‐3713
HECTOR ZAYAS          PO BOX 372596                                                                                CAYEY             PR      737
HECTOR, CAROL C       1205 CHESTER ST                                                                              EATON RAPIDS      MI      48827
HECTOR, ROBERT A      5395 BIRCH ISLAND DR                                                                         BARRYTON          MI      49305‐9355
HECTOR, RONALD C      5173 BAZZETTA ROAD                                                                           CORTLAND          OH      44410‐9519
HECTOR, RONALD C      5173 HOAGLAND BLACKSTUB RD                                                                   CORTLAND          OH      44410‐9519
HECTOR, SANDRA P      5173 HOAGLAND BLACKSTUB RD                                                                   CORTLAND          OH      44410‐9519
HECTOR, SANDRA P      5173 BAZETTA ROAD                                                                            CORTLAND          OH      44410‐9519
HECTOR, SUSAN
HECTOR, TERRAL T      16121 ASHTON AVE                                                                             DETROIT           MI      48219‐4103
HECTOR, TRACEY L      5536 ARBOR BAY CT                                                                            BRIGHTON          MI      48116‐7781
HEDBERG CHARLES       1198 DOVER DR                                                                                MEDINA            OH      44256‐4085
HEDBERG, HARRY G      8009 ROUTE 819                                                                               GREENSBURG        PA      15601‐5601
HEDBERG, HARRY G      8009 STATE ROUTE 819                                                                         GREENSBURG        PA      15601‐7507
HEDBERG, MARIBETH A   2495 KEWANNA LN                                                                              BEAVERCREEK       OH      45434‐6946
HEDBERG, NILS R       2331 BENEDICT LN                                                                             SHELBY TWP        MI      48316‐2005
HEDBERG, OIVA F       79 CLINTON WRIGHT LN                                                                         CROSSVILLE        TN      38572‐6816
HEDBERG, RICHARD A    2495 KEWANNA LN                                                                              BEAVERCREEK       OH      45434‐6946
HEDBERG, WAYNE O      2551 CATON FARM RD                                                                           JOLIET            IL      60435‐1367
HEDBLAD, ALMA L       3216 MCKITRICK                                                                               MELVINDALE        MI      48122‐1113
HEDBLOM, ANNETTE M    1829 TREE LINE RD                                                                            FLOWER MOUND      TX      75028‐8231
HEDBLOM, HARRY L      50523 SHELBY RD                                                                              SHELBY TOWNSHIP   MI      48317‐1244
HEDDA WIEGEL          ALBRECHT‐DUERER‐STR. 4C                                                                      KULMBACH          DE      95326
HEDDEN JR, EDWARD A   253 CLAMER RD                                                                                EWING             NJ      08628‐3203
HEDDEN, ANN H         839 KEY ST                                                                                   CHARLOTTE         NC      28208‐2229
HEDDEN, ANN H         839 KEY STREET                                                                               CHARLOTTE         NC      28208‐2229
HEDDEN, ARCHIE J      5403 AMBER COVE WAY                                                                          FLOWERY BRANCH    GA      30542‐5739
HEDDEN, CLYDE D       839 KEY ST                                                                                   CHARLOTTE         NC      28208‐2229
HEDDEN, DENNIS F      3040 HAVASU DR                                                                               SPRING HILL       TN      37174‐8268
HEDDEN, DONALD A      3617 SHADY BEND DR                                                                           INDEPENDENCE      MO      64052‐2858
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Name                                   Address1                          Address2                        Address3   Address4               City               State   Zip
HEDDEN, GEORGE O                       2228 GOSHAWK CT                                                                                     NAPLES              FL     34105‐2553
HEDDEN, HORACE B                       10553 WESTBROOK RD                                                                                  BROOKVILLE          OH     45309‐9246
HEDDEN, LEO M                          PO BOX 11315                                                                                        TERRE HAUTE         IN     47801‐1315
HEDDEN, MICHAEL J                      7020 DEEPWATER POINT ROAD                                                                           WILLIAMSBURG        MI     49690‐9248
HEDDEN, SHARON K                       599 COUNTY ROAD 3935                                                                                LADONIA             TX     75449‐5211
HEDDEN, STEVE R                        1413 W WASHINGTON ST                                                                                ATHENS              AL     35611‐2941
HEDDEN, STEVEN T                       6322 LERNER WAY                                                                                     LANSING             MI     48911‐6005
HEDDEN, VIRGINIA L                     6322 LERNER WAY                                                                                     LANSING             MI     48911‐6005
HEDDEN, WILLIAM A                      165 HIDDEN TRL                                                                                      FRANKLIN            NC     28734‐3907
HEDDENDORF RONALD                      529 OLD MILL ROAD                                                                                   MILLERSVILLE        MD     21108‐1327
HEDDENS JR, WAYNE I                    6199 BASS BEACH DR                                                                                  LAKEVIEW            MI     48850‐9128
HEDDENS, MICHAEL D                     908 JEFFERSON ST                                                                                    THREE RIVERS        MI     49093‐1047
HEDDERLY HOWARD (445144)               BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD          OH     44067
                                                                         PROFESSIONAL BLDG
HEDDERLY, HOWARD                       BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD         OH      44067
                                                                         PROFESSIONAL BLDG
HEDDERMAN, ROBERT T                    10 WEST ST                                                                                          WINDSOR LOCKS       CT     06096
HEDDI, GLADYS                          27616 WINDSOR                                                                                       GARDEN CITY         MI     48135‐2271
HEDDING, DALE P                        12712 VIA CATHERINA DR                                                                              GRAND BLANC         MI     48439‐1528
HEDDING, MELINDA M                     63 LAURELWOOD DR                                                                                    NIANTIC             CT     06357‐2014
HEDDING, MURIEL                        3805 CLINTONVILLE RD                                                                                WATERFORD           MI     48329‐2418
HEDDING, N R                           3805 CLINTONVILLE RD                                                                                WATERFORD           MI     48329‐2418
                                                                                                                                           TOWNSHIP
HEDDINGER BRUCE (ESTATE OF) (510181)   ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                        BALTIMORE          MD      21202
                                                                         CHARLES CENTER 22ND FLOOR
HEDDINGER, BRUCE                       ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                         BALTIMORE          MD      21202
                                                                         CHARLES CENTER 22ND FLOOR
HEDDLE, CHARLES G                      34514 SPRING VALLEY DR                                                                              WESTLAND           MI      48185‐9456
HEDDLESTON, PHILIP H                   1501 LARAMIE DRIVE                                                                                  DAYTON             OH      45432‐3253
HEDEEN, DONALD G                       831 JONATHAN LN                                                                                     BLOOMFIELD         MI      48302‐2916
HEDEEN, LAURA M                        5 FAIRLAKE LN                                                                                       GROSSE POINTE      MI      48236‐4102
                                                                                                                                           SHORES
HEDEEN, LEE B                          38060 DELTA ST                                                                                      CLINTON TWP         MI     48036‐1705
HEDEEN, MARY C                         4541 W PRATT AVE                                                                                    LINCOLNWOOD         IL     60712
HEDEEN, N A                            831 JONATHAN LN                                                                                     BLOOMFIELD HILLS    MI     48302‐2916
HEDER, DOUGLAS R                       8060 S 68TH ST                                                                                      FRANKLIN            WI     53132‐8200
HEDERICH, DAVID
HEDERICH, DAVID B                      3968 HIGHPOINT DRIVE                                                                                UNIONTOWN          OH      44685‐7935
HEDGE BRYAN                            2079 BRIDLEWOOD BLVD                                                                                OBETZ              OH      43207
HEDGE PAUL J (439122)                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA      23510
                                                                         STREET, SUITE 600
HEDGE, ALTON E                         124 WILLIAMS HILL RD                                                                                SIX MILE RUN        PA     16679‐9244
HEDGE, ARNOLD R                        2478 STATE HIGHWAY 1704                                                                             OLIVE HILL          KY     41164‐8342
HEDGE, BONNIE K                        38853 WINGATE DR                                                                                    CLINTON TOWNSHIP    MI     48038

HEDGE, BRYAN R                         2079 BRIDLEWOOD BOULEVARD                                                                           OBETZ              OH      43207‐5233
HEDGE, DELBERT L                       134 W STATE ROAD 234                                                                                JAMESTOWN          IN      46147‐9083
HEDGE, DONALD F                        PO BOX 4                                                                                            WHITTAKER          MI      48190‐0004
HEDGE, DONALD FRANCIS                  PO BOX 4                                                                                            WHITTAKER          MI      48190‐0004
HEDGE, DOUGLAS D                       508 SUGAR LN                                                                                        CLEVER             MO      65631‐6578
HEDGE, ERNIE                           PO BOX 7105                                                                                         APPLETON           WI      54912‐7067
HEDGE, FRANK W                         401 E 5TH AVE                                                                                       ROSELLE            NJ      07203‐1430
HEDGE, JACK L                          3355 OCEANLINE DR BOX 9                                                                             INDIANAPOLIS       IN      46214
HEDGE, JAMES A                         PO BOX 123                                                                                          WINFIELD           MO      63389‐0123
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Name                       Address1                         Address2                        Address3   Address4               City              State   Zip
HEDGE, KATHRYN H           2148 LEIBY OSBORNE NW                                                                              SOUTHINGTON        OH     44470‐9510
HEDGE, MATTHEW L           47519 LIBERTY DR                                                                                   SHELBY TOWNSHIP    MI     48315‐4530
HEDGE, PAUL J              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510‐2212
                                                            STREET, SUITE 600
HEDGE, ROBERT G            883 RIDGE RD                                                                                       WILLIAMS          IN      47470‐8865
HEDGE, ROBERTA W           15001 BURNHAVEN DR UNIT 308                                                                        BURNSVILLE        MN      55306‐6242
HEDGECOCK, CHARLES B       4540 ARROWHEAD DR SE                                                                               DECATUR           AL      35603‐5142
HEDGECOCK, JEANETTE M      719 E 3RD ST                                                                                       BELVIDERE         IL      61008‐4525
HEDGECOCK, LAURIE J        1200 MANOR DR                                                                                      JANESVILLE        WI      53548‐1415
HEDGECOCK, SHERRAN L       4802 N 124TH CT                                                                                    KANSAS CITY       KS      66109‐3809
HEDGECOTH, NEDRA A         505 ROHR LN                                                                                        ENGLEWOOD         OH      45322‐5322
HEDGECOTH, RONALD          500 SHEETS ST                                                                                      UNION             OH      45322‐3125
HEDGECOTH, RONALD E        505 ROHR LN                                                                                        ENGLEWOOD         OH      45322‐2003
HEDGECRAFT, NANCY G        2212 LARITA LN                                                                                     ANDERSON          IN      46017‐9518
HEDGECRAFT, PATRICIA M     4410 PITT ST                                                                                       ANDERSON          IN      46013‐2446
HEDGECRAFT, STEPHEN A      2212 LARITA LN                                                                                     ANDERSON          IN      46017‐9518
HEDGEPATH, JOHN D          2588 LYNTZ RD                                                                                      WARREN            OH      44481
HEDGEPETH, GEORGE D        274 COUNTY ROAD 611                                                                                LAWLEY            AL      36793‐4106
HEDGEPETH, WILL B          PO BOX 3659                                                                                        CENTER LINE       MI      48015‐0659
HEDGER, DANNY J            12940 N WATERS EDGE DR                                                                             CAMBY             IN      46113‐9590
HEDGER, DAVID L            2981 DAISY CT                                                                                      KETTERING         OH      45420‐3428
HEDGER, DAVID L            2981 DAISY CT.                                                                                     KETTERING         OH      45420‐3428
HEDGER, FLORA C            5270 WAKEFIELD ROAD                                                                                GRAND BLANC       MI      48439‐9186
HEDGER, KIMBERLY A         4331 N OAK RD                                                                                      DAVISON           MI      48423‐9301
HEDGER, LENDON T           17943 E M‐134 #70                                                                                  DE TOUR VILLAGE   MI      49725
HEDGER, LEO D              4331 N OAK RD                                                                                      DAVISON           MI      48423‐9301
HEDGER, LEO D              PO BOX 29                                                                                          BARBEAU           MI      49710‐0030
HEDGER, LYNN C             34241 RICHARD ST                                                                                   WAYNE             MI      48184‐2428
HEDGER, MARGARET M         3364 CHARLOTTE DR                                                                                  BRIGHTON          MI      48114‐8655
HEDGER, RICHARD A          111 N 34TH ST                                                                                      BELLEVILLE        IL      62226‐6255
HEDGER, THOMAS C           46794 MEADOWVIEW DR                                                                                SHELBY TWP        MI      48317‐4155
HEDGES ARTHUR P (481215)   KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                     CLEVELAND         OH      44114
                                                            BOND COURT BUILDING
HEDGES ELEMENTARY SCHOOL   176 HEDGES ST                                                                                      MANSFIELD         OH      44902‐2032
HEDGES JR, CLARENCE E      400 WOODPECKER LN UNIT A                                                                           MURRELLS INLET    SC      29576‐7695
HEDGES JR, HARRY C         623 REDBUD BLVD S                                                                                  ANDERSON          IN      46013‐1173
HEDGES, ARTHUR P           KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                      CLEVELAND         OH      44114
                                                            BOND COURT BUILDING
HEDGES, DIANA R            59 SENECA SPRINGS DR                                                                               TRINITY           AL      35673‐5818
HEDGES, DONALD L           3517 W 30TH ST                                                                                     MUNCIE            IN      47302‐4944
HEDGES, DONNA J            711 CIRCLE DRIVE                                                                                   LONDON            OH      43140‐8916
HEDGES, DONNA J            711 CIRCLE DR                                                                                      LONDON            OH      43140‐8916
HEDGES, DUANE M            959 WHISPERING RIDGE LN                                                                            SAINT PETERS      MO      63376‐5523
HEDGES, EDWARD L           1209 SALSBURY ST                                                                                   NORMAN            OK      73069‐6801
HEDGES, FERRELL E          59 SENECA SPRINGS DR                                                                               TRINITY           AL      35673‐5818
HEDGES, GARY R             37823 LADUE ST                                                                                     CLINTON TWP       MI      48036‐2921
HEDGES, GENEVIEVE L        411 WARM SPGS AVE                                                                                  MARTINSBURG       WV      25401‐3829
HEDGES, GENEVIEVE L        411 WARM SPRINGS AVE                                                                               MARTINSBURG       WV      25404‐3829
HEDGES, GEORGE I           7688 LITTLE RICHMOND RD                                                                            DAYTON            OH      45427
HEDGES, GLORIA J           4624 DARTFORD RD.                                                                                  INGLEWOOD         OH      45322
HEDGES, JOHN               BRAYTON PURCELL                  PO BOX 6169                                                       NOVATO            CA      94948‐6169
HEDGES, JOHN T             6 GREENACRE CT                                                                                     BROWNSBURG        IN      46112‐1301
HEDGES, JOSHUA J           5264 MARINER DR                                                                                    HUBER HEIGHTS     OH      45424‐5912
HEDGES, MARY A             1098 NE INDEPENDENCE AVE         APT 204                                                           LEES SUMMIT       MO      64086
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Name                                 Address1                           Address2                      Address3   Address4                  City             State   Zip
HEDGES, MARY A                       1098 NE INDEPENDENCE AVE APT 204                                                                      LEES SUMMIT       MO     64086‐5898
HEDGES, MARY T                       697 BUCK RUN LN                                                                                       GREENTOWN         IN     46936‐9624
HEDGES, MICHAEL R                    132 S MAIN ST                                                                                         COVINGTON         OH     45318
HEDGES, OPAL F                       6900 LENOX VILLAGE DR              APT221                                                             NASHVILLE         TN     37211‐7290
HEDGES, OPAL F                       3800 SAM BONEY DRIVE APT 213                                                                          NASHVILLE         TN     37211
HEDGES, RACHEL L                     2209 ANJOU CT                                                                                         KOKOMO            IN     46902‐2901
HEDGES, RUTH C                       7146 BAY POINT CT                                                                                     INDIANAPOLIS      IN     46214‐1358
HEDGES, RUTH C                       910 BURR OAK DR                                                                                       INDIANAPOLIS      IN     46217‐4339
HEDGES, TROY G                       312 MONTAGUE WAY                                                                                      RIO LINDA         CA     95673‐3312
HEDGES, WILLIAM E                    971 DIAMOND RDG                                                                                       JEFFERSON CITY    MO     65109‐6851
HEDGLEN, ARLEEN                      5783 CAMBROOK LN                                                                                      WATERFORD         MI     48329‐1517
HEDGLEN, ROGER N                     415 E GREEN ST                                                                                        FRANKLINTON       NC     27525‐1408
HEDGLEY JR, GEORGE R                 209 S 20TH AVE                                                                                        MAYWOOD            IL    60153‐1465
HEDGLEY JR, GEORGE R                 209 SOUTH 20TH AVENUE                                                                                 MAYWOOD            IL    60153‐1465
HEDGLEY, GEORGE T                    21470 WINCHESTER ST                                                                                   SOUTHFIELD        MI     48076‐4838
HEDGLIN, DANNY GERALD                SHANNON LAW FIRM                   100 W GALLATIN ST                                                  HAZLEHURST        MS     39083‐3007
HEDGLIN, FRED A.                     650 HAZELTON ST                                                                                       MASURY            OH     44438‐1155
HEDGLIN, FRED A.                     650 HAZELTON                                                                                          MASURY            OH     44438‐1155
HEDGLIN, KATHY A                     410 HOBART ROAD                                                                                       LEAVITTSBURG      OH     44430‐9672
HEDGLIN, RONALD W                    7774 KNICKERBOCKER DR NE                                                                              WARREN            OH     44484‐1420
HEDGLIN, WALTER L                    3730 APPLE VALLEY DR                                                                                  HOWARD            OH     43028‐9327
HEDI LOHR                            1449 TRIPODI CIR                                                                                      NILES             OH     44446‐3564
HEDI SCHMID                          HE▀STR.30                                                                                             MUNICH
HEDIEI ANTONIO AND ALETTA CATERINA   VIA ARNO ITR NI 4                                                           80035 NOLA NA ITALIA

HEDIGER, CAROL M                     1821 MIAMI AVE                                                                                        FAIRBORN         OH      45324‐3013
HEDIGER, ELIZABETH A                 1707 FOREST HILLS DR                                                                                  SAINT CHARLES    MO      63303‐3510
HEDIGER,CAROL M                      1821 MIAMI AVE                                                                                        FAIRBORN         OH      45324‐3013
HEDIN CHESTER C (439123)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA      23510
                                                                        STREET, SUITE 600
HEDIN, CHESTER C                     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA     23510‐2212
                                                                        STREET, SUITE 600
HEDIN, ERLINDA                       2451 WEBSTER STREET                                                                                   LANSING          MI      48911‐4558
HEDIN, GERALD W                      1524 HOLBROOK DR                                                                                      HOLT             MI      48842‐1896
HEDIN, JANET R                       376 S AURELIUS RD                                                                                     MASON            MI      48854‐8715
HEDIN, MICHAEL P                     2392 GUNN RD                                                                                          HOLT             MI      48842‐1042
HEDIN, PAUL W                        10703 ROUND LAKE DR                                                                                   MECOSTA          MI      49332‐9794
HEDINGER'S AUTO SERVICE              321 S WILDER ST                                                                                       GREENSBURG       IN      47240‐2320
HEDLAND JR., WILIAM C.               RR 1 BOX 231D                                                                                         EDINBURG         PA      16116
HEDLAND, BRENDA L                    811 COOLIDGE ST                                                                                       NEW CASTLE       PA      16101‐1515
HEDLAND, JEFFREY S                   RR 1                                                                                                  PULASKI          PA      16143
HEDLAND, MARGARET                    191 SPRINGDALE ACRES LN                                                                               PULASKI          PA      16143‐6143
HEDLAND, WILLIAM C                   RR 1                                                                                                  PULASKI          PA      16143
HEDLER, RANDY M                      100 EAST GALAXY DRIVE                                                                                 WOODLAWN         IL      62898‐1112
HEDLER, RANDY M                      PO BOX 234                                                                                            WOODLAWN         IL      62898‐0234
HEDLESTON, JACK L                    2606 ALLISTER CIR                                                                                     MIAMISBURG       OH      45342‐5849
HEDLEY CADILLAC OLDS INC             12 CATHEDRAL CT                                                                                       CLIFTON PARK     NY      12065‐2910
HEDLEY SKAINS JR                     7214 RENDON NEW HOPE RD                                                                               FORT WORTH       TX      76140‐9757
HEDLEY, BELINDA                      1376 LOCKE ST                                                                                         PONTIAC          MI      48342‐1948
HEDLEY, BELINDA E                    1376 LOCKE ST                                                                                         PONTIAC          MI      48342‐1948
HEDLEY, ELLEN M                      1376 LOCKE ST                                                                                         PONTIAC          MI      48342‐1948
HEDLEY, GWENDREN                     PO BOX 827                                                                                            ROOSEVELTOWN     NY      13683‐0827
HEDLEY, GWENDREN                     P.O. BOX 827                                                                                          ROOSEVELTOWN     NY      13683‐0827
HEDLEY, LARRY J                      1376 LOCKE ST                                                                                         PONTIAC          MI      48342‐1948
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Name                                    Address1                         Address2                       Address3   Address4               City               State   Zip
HEDLEY, RICHARD K                       PO BOX 11                                                                                         OLCOTT              NY     14126‐0011
HEDLICH, WOLFGANG E                     6811 PENNY LN                                                                                     KALAMAZOO           MI     49009‐7505
HEDLUND CHEVROLET, INC.                 512 S WHITCOMB AVE                                                                                TONASKET            WA     98855
HEDLUND JR, RODGER H                    1090 COVINGTON PLACE DR                                                                           ROCHESTER HLS       MI     48309‐3728
HEDLUND, ALICE I                        N. 49557 TRACY VALLEY RD                                                                          OSSEO               WI     54758
HEDLUND, DAVID E                        12110 24TH ST E                                                                                   EDGEWOOD            WA     98372‐1975
HEDLUND, FRANCES H                      41191 CARDINAL FLOWER DRIVE                                                                       MURRIETA            CA     92562‐2017
HEDLUND, JAMES P                        4796 BELL OAK RD                                                                                  WEBBERVILLE         MI     48892‐9754
HEDLUND, RODGER H                       1090 COVINGTON PLACE DRIVE                                                                        ROCHESTER HLS       MI     48309‐3728
HEDLUND, RONALD B                       15447 CRYSTAL LAKE DR                                                                             NORTH FORT MYERS    FL     33917‐5626

HEDMAN, HOWARD D                        16326 EDGEWOOD DR                                                                                 LIVONIA             MI     48154‐2228
HEDMARK, JANIS                          WATTS LAW FIRM                   555 N CARANCAHUA ST STE 1400                                     CORPUS CHRISTI      TX     78478‐0801
HEDMARK, MILAN
HEDQUIST, JEAN E                        905 E 29TH ST                                                                                     S SIOUX CITY       NE      68776‐3300
HEDRICH JR, JOSEPH                      8785 LILAC LN                                                                                     FARWELL            MI      48622‐8742
HEDRICH, CARL J                         3973 NEW RD                                                                                       AUSTINTOWN         OH      44515‐4628
HEDRICH, JAMES K                        7213 STANLEY RD                                                                                   FLUSHING           MI      48433‐9001
HEDRICH, JOHN                           2345 N 11 MILE RD                                                                                 LINWOOD            MI      48634‐9756
HEDRICH, LARRY J                        1506 S FENMORE RD                                                                                 MERRILL            MI      48637‐8705
HEDRICH, RICHARD A                      14242 NICHOLS RD                                                                                  MONTROSE           MI      48457‐9413
HEDRICH, ROBERT M                       12275 W SHARON RD                                                                                 OAKLEY             MI      48649‐9718
HEDRICH, TINA M                         2345 N 11 MILE RD                                                                                 LINWOOD            MI      48634‐9756
HEDRICH, WILLIAM T                      17530 FRANDSCHE RD                                                                                CHESANING          MI      48616‐9565
HEDRICH, WILLIAM THOMAS                 17530 FRANDSCHE RD                                                                                CHESANING          MI      48616‐9565
HEDRICK & JORDAN CO LPA                 124 E 3RD ST STE 300                                                                              DAYTON             OH      45402‐2177
HEDRICK ASSOCIATES                      424 PLYMOUTH AVE NE                                                                               GRAND RAPIDS       MI      49505‐6028
HEDRICK AUTO, INC                       BRETT HEDRICK                    730 O ST                                                         SANGER             CA      93657‐3136
HEDRICK CHRISTOPHER                     HEDRICK, CHRISTOPHER             PO BOX 407                                                       HUNTINGTON         WV      25708‐0407
HEDRICK FREIDMAN (ESTATE OF) (626566)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA      23510
                                                                         STREET, SUITE 600
HEDRICK GAIL E RICHARD L & GENE T NO    2856 W CARLETON RD LOT 16                                                                         HILLSDALE           MI     49242‐9354
16 LOT
HEDRICK II, ROGER L                     9780 N 900E                                                                                       DUBOIS             IN      47527‐9637
HEDRICK INDUSTRIES                      15 YORKSHIRE ST                  STE 302                                                          ASHEVILLE          NC      28803‐7784
HEDRICK INDUSTRIES                      JEFFREY GOODMAN                  7 YORKSHIRE ST STE 102                                           ASHEVILLE          NC      28803‐2798
HEDRICK INDUSTRIES                      7 YORKSHIRE ST                                                                                    ASHEVILLE          NC      28803
HEDRICK JR, DELBERT                     7187 S 250 E                                                                                      MARKLEVILLE        IN      46056‐9772
HEDRICK LAWRENCE R (451340)             SIMMONS FIRM                     PO BOX 559                                                       WOOD RIVER         IL      62095‐0559
HEDRICK MARION                          4365 STATE ROUTE 32 EAST                                                                          CRAWFORDSVILLE     IN      47933
HEDRICK WILLIE (627036)                 ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                       BALTIMORE          MD      21202
                                                                         CHARLES CENTER 22ND FLOOR
HEDRICK'S BUICK PONTIAC GMC             730 O ST                                                                                          SANGER             CA      93657‐3136
HEDRICK'S CHEVROLET                     961 W SHAW AVE                                                                                    CLOVIS             CA      93612‐3203
HEDRICK, ALVIN J                        1026 MARKHAM RD                                                                                   ELKTON             KY      42220‐9716
HEDRICK, BETTY W                        4572 VILLAGE DR                                                                                   JACKSON            MS      39206‐3357
HEDRICK, BEVERLY R                      130 BALDWIN AVE                                                                                   FINDLAY            OH      43840‐2202
HEDRICK, BILLY F                        3051 BERGER RD                                                                                    MOUNT VERNON       OH      43050
HEDRICK, BOBBIE J                       438 W HERITAGE DR                                                                                 CUYAHOGA FALLS     OH      44223‐3770
HEDRICK, BRUCE A                        7800 TAMRA DR                                                                                     RENO               NV      89506‐8641
HEDRICK, CALVIN R                       7448 CENTRAL ST APT 7                                                                             WESTLAND           MI      48185‐2556
HEDRICK, CALVIN ROSS                    7448 CENTRAL ST APT 7                                                                             WESTLAND           MI      48185‐2556
HEDRICK, CLARA M                        952 S BALLENGER                                                                                   FLINT              MI      48532‐3821
HEDRICK, DALLAS A                       2519 BAILEY RD                                                                                    FOREST HILL        MD      21050‐1213
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HEDRICK, DAN L           24648 CORDILLERA DR                                                                           CALABASAS             CA     91302‐2511
HEDRICK, DAVID W         10520 NOTESTINE RD                                                                            FORT WAYNE            IN     46835‐9475
HEDRICK, DEBRA L         27 CARROLL CR                                                                                 WEST COLUMBIA         SC     29170‐2012
HEDRICK, DONALD          VARAS & MORGAN                PO BOX 886                                                      HAZLEHURST            MS     39083‐0886
HEDRICK, DORIS L         2844 S COUNTY ROAD 550 W                                                                      COATESVILLE           IN     46121‐9211
HEDRICK, DORIS L         2844 S. COUNTY RD 550 W                                                                       COATESVILLE           IN     46121‐9211
HEDRICK, DOUGLAS J       11313 HILL RD                                                                                 SWARTZ CREEK          MI     48473‐8577
HEDRICK, EDWARD F        2558 GALEWOOD ST                                                                              DAYTON                OH     45420‐3580
HEDRICK, EILEEN K        3716 CADWALLADER‐SONK                                                                         CORTLAND              OH     44410‐9412
HEDRICK, ELEANOR L       H C 71 BOX 162                                                                                AUGUSTA               WV     26704‐9531
HEDRICK, ELEANOR L       HC 71 BOX 162                                                                                 AUGUSTA               WV     26704‐9531
HEDRICK, ELIZABETH I     5006 ROAD #162                                                                                ANTWERP               OH     45813
HEDRICK, EVELYN E        HOMEVIEW CENTRE OF FRANKLIN   4359 10TH 800TH ST                                              PARIS                  IL    61944
HEDRICK, EVELYN E        651 S STATE ST                HOMEVIEW CENTRE OF FRANKLIN                                     FRANKLIN              IN     46131‐2552
HEDRICK, FAIRY M         1310 36TH AV NE                                                                               HICKORY               NC     28601‐8207
HEDRICK, FREIDMAN        GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                     NORFOLK               VA     23510‐2212
                                                       STREET, SUITE 600
HEDRICK, GARY B          1100 OREGON BLVD                                                                              WATERFORD            MI      48327‐3357
HEDRICK, GARY W          12111 KLINGER ST                                                                              HAMTRAMCK            MI      48212‐2754
HEDRICK, GENE R          2404 S WEBSTER ST                                                                             KOKOMO               IN      46902‐3307
HEDRICK, GERALD D        2511 S ELBA RD                                                                                LAPEER               MI      48446‐9745
HEDRICK, GUY R           3280 JOHNSON RD                                                                               SALINE               MI      48176‐9687
HEDRICK, HAZEL M         1866 HOGAN DR                                                                                 KOKOMO               IN      46902‐5083
HEDRICK, HELEN           412 COLUMBIA AVE                                                                              WILLIAMSTOWN         WV      26187
HEDRICK, HELEN A.        62 GRAND BLVD                                                                                 SHELBY               OH      44875‐1327
HEDRICK, HOWARD F        5687 BOYD RD                                                                                  GROVE CITY           OH      43123‐9761
HEDRICK, HOWARD F        1065 GEORGESVILLE RD                                                                          COLUMBUS             OH      43228
HEDRICK, IDAMAY R        922 HATTIE DR                                                                                 ANDERSON             IN      46013‐1636
HEDRICK, JACK B          362 S WINDING DR                                                                              WATERFORD            MI      48328‐3567
HEDRICK, JAMES E         SHANNON LAW FIRM              100 W GALLATIN ST                                               HAZLEHURST           MS      39083‐3007
HEDRICK, JAMES R         5630 LEESVILLE RD                                                                             BEDFORD              IN      47421‐7308
HEDRICK, JAMES V         2558 GALEWOOD ST                                                                              DAYTON               OH      45420‐3580
HEDRICK, JANICE L        820 E VAILE AVE H                                                                             KOKOMO               IN      46901
HEDRICK, JERRY C         45 WOOLSEY RD                                                                                 STEELVILLE           MO      65565‐3502
HEDRICK, JOSEPH R        8610 SCHOOL ST                                                                                MORTON GROVE         IL      60053‐2919
HEDRICK, LARRY S         709 COLLINGWOOD CT                                                                            DAVISON              MI      48423‐1710
HEDRICK, LARRY STEPHEN   709 COLLINGWOOD COURT                                                                         DAVISON              MI      48423‐1710
HEDRICK, LATICIA M       7648 SOUTHPOINT DR.                                                                           CAMDEN               MO      64017‐9131
HEDRICK, LAWRENCE R      SIMMONS FIRM                  PO BOX 559                                                      WOOD RIVER           IL      62095‐0559
HEDRICK, LEONARD K       HC 59 BOX 267                                                                                 PETERSBURG           WV      26847‐9503
HEDRICK, LISA A          31 WHITE DR                                                                                   FERGUSON             MO      63135‐1169
HEDRICK, LISA ANN        31 WHITE DR                                                                                   FERGUSON             MO      63135‐1169
HEDRICK, LUCY M          385 ST RT 309                                                                                 GALION               OH      44833
HEDRICK, MARIE T         420 NATTULL DR                                                                                BEAR                 DE      19701‐4912
HEDRICK, MERIL L         5302 MEADOWLARK LN                                                                            ANDERSON             IN      46011‐1439
HEDRICK, MICHAEL G       230 N 950 E                                                                                   GREENTOWN            IN      46936‐9527
HEDRICK, ONA G           HC 72 BOX 202‐A                                                                               FRANKLIN             WV      26807
HEDRICK, PAULINE F       5100 HEDRICK RD                                                                               BLAIRSVILLE          GA      30512‐1067
HEDRICK, RICHARD         4427 KNOLLTON RD                                                                              INDIANAPOLIS         IN      46228‐3049
HEDRICK, ROBERT C        23619 TALBOT ST                                                                               SAINT CLAIR SHORES   MI      48082‐2560

HEDRICK, ROBERT L        16242 M 68                                                                                    ONAWAY               MI      49765‐8892
HEDRICK, ROBERT W        908 SLATE DR                                                                                  BRUNSWICK            OH      44212‐6273
HEDRICK, RONALD A        5802 WINSTON DR                                                                               INDIANAPOLIS         IN      46226‐2328
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Name                          Address1                         Address2                      Address3      Address4               City              State   Zip
HEDRICK, ROSE                 8217 CLARIDGE CT                                                                                    NORTH ROYALTON     OH     44133‐7214
HEDRICK, TERRY A              512 BENTON RD                                                                                       SALEM              OH     44460‐2033
HEDRICK, THOMAS C             6911 EDGEWATER DR                                                                                   NEW PORT RICHEY    FL     34652‐1506
HEDRICK, VINA                 230 N 950 E                                                                                         GREENTOWN          IN     46936‐9527
HEDRICK, WARNER E             11950 LAKEVIEW CIR                                                                                  ROLLA              MO     65401‐7410
HEDRICK, WILLIAM G            300 LAURELDALE LN                                                                                   GRANTS PASS        OR     97527‐4544
HEDRICK, WILLIE               ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                          BALTIMORE          MD     21202
                                                               CHARLES CENTER 22ND FLOOR
HEDRICK, WILLIE D             SHANNON LAW FIRM                 100 W GALLATIN ST                                                  HAZLEHURST        MS      39083‐3007
HEDRINGTON, RICHARD J         808 MARVIN ST                                                                                       SOUTH BELOIT      IL      61080‐2247
HEDSON MALDONADO              21024 NEW HAMPSHIRE AVE                                                                             TORRANCE          CA      90502‐1945
HEDSON, WILLIAM               633 1/2 LEONARD ST                                                                                  BROOKLYN          NY      11222‐2905
HEDSTROM FRANCIS J (667780)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA      23510
                                                               STREET, SUITE 600
HEDSTROM SHANNON              22 GLEN RD                                                                                          HOPKINTON         MA      01748‐2345
HEDSTROM, FRANCIS J           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA      23510‐2212
                                                               STREET, SUITE 600
HEDTKE, COLLEEN R             15023 MITCHELL BEND CT                                                                              GRANBURY          TX      76048‐9603
HEDWIG BENDIK                 1102 HILLTOP ST                                                                                     JEFFERSON HILLS   PA      15025‐3523
HEDWIG DREILICH               5994 OLD ALLEGAN RD                                                                                 HAMILTON          MI      49419
HEDWIG GLAUER                 2880 SEASONS BLVD                                                                                   SARASOTA          FL      34240‐8236
HEDWIG GLOWACZ                33433 SCHOENHERR RD APT 206                                                                         STERLING HTS      MI      48312‐6366
HEDWIG GUOSLKY                27127 BARKANTINE DR              RIVER VILLAGE                                                      MILLSBORO         DE      19966‐4526
HEDWIG HULTEN                 27 SUNNYDALE AVE                                                                                    BRISTOL           CT      06010‐7354
HEDWIG LONGSTRETH             1412 HARBERSON RD                                                                                   BALTIMORE         MD      21228‐1116
HEDWIG NEIBERT                416 SEATON AVE                                                                                      ROSELLE PARK      NJ      07204‐1518
HEDWIG OLDAK                  3738 FIFE LN                                                                                        WEST BLOOMFIELD   MI      48323‐1709

HEDWIG SCHMID                 HE▀STRA▀E 30                                                                                        M▄NCHEN                   80799
HEDWIG SIGMUND                184 KING AVE                                                                                        YONKERS           NY      10704‐3508
HEDWIG SOBOTKA                2825 COURTLAND PL                                                                                   SAGINAW           MI      48603‐3185
HEDWIG TICICH                 18699 CLEAR VIEW TER                                                                                MINNETONKA        MN      55345‐6084
HEDWIG WITKOWSKI              10181 CLARKSHIRE CT              CENTENNIAL VILLAGE                                                 SOUTH LYON        MI      48178‐9824
HEDWIG ZUBERBUEHLER           1743 W LUTHER RD                                                                                    JANESVILLE        WI      53545‐1911
HEDY CARMELL                  9200 W VERNOR HWY APT 215                                                                           DETROIT           MI      48209‐1463
HEDY GLYNN                    10501 EMILIE LN UNIT 4104                                                                           ORLAND PARK       IL      60467‐8856
HEDY SCHLEEHAUF               137 BREEZEWOOD DR                                                                                   ORCHARD PARK      NY      14127‐4859
HEDY SMITH                    5815 LEMAY ST                                                                                       DETROIT           MI      48213‐3426
HEDY WILDER ASSOC INC PSP     HEDY WILDER ASSOC INC            PROFIT SHARING PLAN           PO BOX 1135                          TOBYHANNA         PA      18466
HEE KIM                       14104 S LOCUST ST                                                                                   OLATHE            KS      66062‐2016
HEE RO                        808 SUPERIOR DR                                                                                     TROY              MI      48084‐1630
HEE‐WAN LEE                   PIET‐MONDRIAN STR.64
HEEBSH, JAMES D               3461 FAIRWOOD ST                                                                                    LAMBERTVILLE      MI      48144‐9647
HEED, NORMA H                 3168 TARPON DR 102                                                                                  LAS VEGAS         NV      89120
HEEDONG PARK                  6052 PLANTATION DR                                                                                  GRAND BLANC       MI      48439
HEEFNER, MURL J               PO BOX 426                                                                                          CRESTLINE         OH      44827
HEEG, BRIAN G                 5557 MASON RD                                                                                       FOWLERVILLE       MI      48836‐8995
HEEG, GLADYS E                5557 W MASON RD                                                                                     FOWLERVILLE       MI      48835‐8995
HEEG, STANLEY G               5557 W MASON RD                                                                                     FOWLERVILLE       MI      48836‐8995
HEEGER, DENNIS M              5681 SHARON AVE                                                                                     SHELBY TOWNSHIP   MI      48317‐1239
HEEHS III, ERNEST D           646 HARWOOD CV                                                                                      MEMPHIS           TN      38120‐3004
HEEKE, RUSSELL P              3379 SHANE DR                                                                                       BAY CITY          MI      48706‐1236
HEEKE, RUSSELL P              6143 EMERALD DR                                                                                     GRAND BLANC       MI      48439‐7809
HEEKIN JR, EMMETT J           955 BAYWOOD DR                                                                                      NEWPORT BEACH     CA      92660‐7150
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Name                                   Address1                           Address2                  Address3   Address4                 City                 State   Zip
HEEKIN, CATHY J                        20918 N 70TH AVE                                                                                 GLENDALE              AZ     85308‐9423
HEELAN JOHN W (400738)                 ANGELOS PETER G LAW OFFICE         115 BROADWAY FRNT 3                                           NEW YORK              NY     10006‐1638
HEELAN JR, RUSSELL E                   2490 LUTHER BAILEY RD                                                                            SENOIA                GA     30276‐2971
HEELAN, J F                            34 HAYES AVE                                                                                     COLONIA               NJ     07067‐1304
HEELAN, JOHN W                         ANGELOS PETER G LAW OFFICE         115 BROADWAY FRNT 3                                           NEW YORK              NY     10006‐1638
HEELEY, ERNEST W                       800 RAVEN DR                                                                                     GREENWOOD             MO     64034‐9225
HEEMSTRA TIM                           HEEMSTRA, TIM                      88 N BROOKSIDE ST.                                            CHANDLER              AZ     85225
HEEMSTRA, CHARLES                      907 KENNETH ST SW                                                                                WYOMING               MI     49509‐3553
HEEMSTRA, DAVID A                      719 COLRAIN ST SW                                                                                WYOMING               MI     49509‐2964
HEEMSTRA, ESTHER R                     3406 WATERFORD CT NE                                                                             GRAND RAPIDS          MI     49525
HEEMSTRA, FREDERICK A                  3406 WATERFORD CT NE                                                                             GRAND RAPIDS          MI     49525‐2641
HEEMSTRA, GEORGE F                     325 COMSTOCK BLVD NE                                                                             GRAND RAPIDS          MI     49505
HEEMSTRA, ROBERT D                     3205 ALPINE ST                                                                                   KALAMAZOO             MI     49004‐1869
HEEMSTRA, TIM                          88 N BROOKSIDE ST                                                                                CHANDLER              AZ     85225‐5443
HEENAN BLAIKIE                         1001 DEMAISONNEUVE BLVD WEST       NUMBER 1400                          MONTREAL CANADA PQ H3A
                                                                                                               3C8 CANADA
HEENAN JR, PETER S                     846 FRANK ST                                                                                     FLINT                MI      48504‐4859
HEENAN JR, PETER SHANNON               846 FRANK ST                                                                                     FLINT                MI      48504‐4859
HEENAN, BARBARA A                      27 STIMENS DR APT 4                                                                              MANSFIELD            OH      44907‐6502
HEENAN, BARBARA A                      27 STIMENS RD #4                                                                                 MANSFIELD            OH      44907‐6502
HEENAN, DANIEL G                       23107 N ROSEDALE CT                                                                              SAINT CLAIR SHORES   MI      48080‐2612

HEENAN, LORRY A                        709 MEADOW LN                                                                                    RAYMORE              MO      64083‐8416
HEENAN, M S                            1215 BENNETT ST                                                                                  JANESVILLE           WI      53545‐1877
HEENAN, PATRICK J                      8161 TROTTERS CHASE                                                                              CINCINNATI           OH      45249‐1588
HEENAN, RICHARD F                      27 S BRISTOL AVE                                                                                 LOCKPORT             NY      14094‐4223
HEENEY, DOUGLAS M                      2116 LUWANNA DR                                                                                  LANSING              MI      48910‐4828
HEEP ZELBA LEON (ESTATE OF) (663899)   GOLDENBERG, MILLER, HELLER &       PO BOX 959                                                    EDWARDSVILLE         IL      62025‐0959
                                       ANTOGNOLI
HEEP, ZELBA LEON                       GOLDENBERG, MILLER, HELLER &       PO BOX 959                                                    EDWARDSVILLE          IL     62025‐0959
                                       ANTOGNOLI
HEEP, ZELBA LEON                       C/O GOLDEBERG HELLER ANTOGNOLI &   2227 ST STATE ROUTE 157                                       EDWARDSVILLE          IL     62025
                                       ROWLAND PC
HEER, JOACHIM F                        108 MAYFIELD AVE                                                                                 TONAWANDA            NY      14150‐9219
HEER, RICHARD C                        1591 MOLL ST                                                                                     N TONAWANDA          NY      14120‐2215
HEER, RICHARD CLARKE                   1591 MOLL ST                                                                                     N TONAWANDA          NY      14120‐2215
HEERDINK, PAULA M                      3625 FRANDOR PL                                                                                  SAGINAW              MI      48603‐7233
HEERDT, HOWARD M                       4780 INDEPENDENCE DR                                                                             BRADENTON            FL      34210‐1917
HEERDT, KENNETH G                      71 BRONX DR                                                                                      CHEEKTOWAGA          NY      14227‐3245
HEERDT, KENNETH GARLAND                71 BRONX DR                                                                                      CHEEKTOWAGA          NY      14227‐3245
HEERDT, PAUL R                         4789 INDEPENDENCE DR                                                                             BRADENTON            FL      34210‐1919
HEERDT, RONALD R                       1210 COMO PARK BLVD                                                                              DEPEW                NY      14043‐4249
HEERDT, RONALD R                       60 SOUTHPOINT DR                                                                                 LANCASTER            NY      14086‐3332
HEERDT, RONALD ROBERT                  1210 COMO PARK BLVD                                                                              DEPEW                NY      14043‐4249
HEERDT, STEVEN H                       123 MARYWOOD DR                                                                                  DEPEW                NY      14043‐4215
HEERDT, STEVEN HOWARD                  123 MARYWOOD DR                                                                                  DEPEW                NY      14043‐4215
HEEREMA RONALD                         48 DEAN RD                                                                                       WAYLAND              MA      01778‐5024
HEEREN, HELEN B                        2105 RAYBROOK ST SE UNIT 4049                                                                    GRAND RAPIDS         MI      49546‐7763
HEEREN, KIM H                          16 MOHAWK AVE                                                                                    ROCKAWAY             NJ      07866
HEERKENS, RONALD G                     2928 N 53RD AVE                                                                                  PHOENIX              AZ      85031‐3911
HEERMANN VIRGINIA                      HEERMANN, VIRGINIA                 3163 N. STATE ROUTE 71                                        OTTAWA               IL      61350
HEERMANN, VIRGINIA                     3163 N STATE ROUTE 71                                                                            OTTAWA               IL      61350‐9409
HEERN, WILLIAM                         GUY WILLIAM S                      PO BOX 509                                                    MCCOMB               MS      39649‐0509
HEERS, FRANCES A                       894 E HIGH ST                                                                                    LOCKPORT             NY      14094‐5305
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Name                            Address1                          Address2                        Address3   Address4               City              State   Zip
HEERS, RICHARD G                30 MARSHALL ST                                                                                      HOLLISTON          MA     01746‐1470
HEERWAGEN, DELLA H              1701 EAGLE TRACE BOULEVARD                                                                          PALM HARBOR        FL     34685‐3313
HEESTAND, BRYAN S               3404 MCCRACKEN RD                                                                                   SALEM              OH     44460‐9415
HEESTAND, CARY D                4630 KIRK RD                                                                                        AUSTINTOWN         OH     44515‐5401
HEET GREGORY                    C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                                     EDWARDSVILLE        IL    62025
HEET, CAROLYN M                 5985 JUDITH DR                                                                                      HAMILTON           OH     45011‐2205
HEETER ROBERT (492027)          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH     44067
                                                                  PROFESSIONAL BLDG
HEETER, BLAINE F                3520 CLAYTON RD                                                                                     BROOKVILLE        OH      45309‐9307
HEETER, CHARLENE J              1539 TABOR AVE APT A                                                                                KETTERING         OH      45420‐2160
HEETER, CLIFFORD                2599 GALEWOOD STREET                                                                                DAYTON            OH      45420‐3579
HEETER, DAVID L                 1458 RIVERBEND DR                                                                                   DEFIANCE          OH      43512‐6878
HEETER, DENNIS L                2387 ALLYSON DR SE                                                                                  WARREN            OH      44484
HEETER, GEORGE H                8922 MEADOWLARK DR                                                                                  FRANKLIN          OH      45005‐4229
HEETER, JANET B                 42 11TH ST                                                                                          NILES             OH      44446‐4316
HEETER, KATHRYN K               8922 MEADOWLARK DR                                                                                  FRANKLIN          OH      45005‐4229
HEETER, LILLIAN E               1915 DELMAR DRIVE                                                                                   SPRINGFIELD       OH      45503‐6405
HEETER, STACY E                 1458 RIVERBEND DR                                                                                   DEFIANCE          OH      43512‐6878
HEETER, TERRY L                 5241 KING GRAVES RD                                                                                 VIENNA            OH      44473‐9703
HEETER, WILLIAM H               402 HANFORD ST                                                                                      COLUMBUS          OH      43206‐3618
HEETHUIS, GERALD H              442 WHITE PINE BLVD                                                                                 LANSING           MI      48917‐8820
HEEWOOK LEE                     5620 STONEHAVEN BLVD                                                                                OAKLAND           MI      48306‐4938
                                                                                                                                    TOWNSHIP
HEFELE, JOHN J                  22017 N VENADO DR                                                                                   SUN CITY WEST      AZ     85375‐2089
HEFELI, ANTHONY L               6442 S LA CROSSE AVE                                                                                CHICAGO            IL     60638‐5820
HEFENIEDER JR, WILLIAM A        2355 PEMBROKE RD                                                                                    BIRMINGHAM         MI     48009‐5829
HEFFEL, DAVID C                 6257 S 26TH ST                                                                                      MILWAUKEE          WI     53221‐4834
HEFFEL, PETER C                 1400 FOREST HILL AVE                                                                                SOUTH MILWAUKEE    WI     53172‐3529

HEFFELBOWER, JERRY A            5244 MARTIN RD                                                                                      WOODLAND          MI      48897‐9719
HEFFELBOWER, LORNA JANE         10930 MARKLAND RD                                                                                   HOLLY             MI      48442‐8611
HEFFELBOWER, ROBERT L           3723 E SHORE DR                                                                                     STANTON           MI      48888‐9185
HEFFELBOWER, ROGER E            2184 22 MILE RD                                                                                     SEARS             MI      49679‐9507
HEFFELFINGER HARRY H (440034)   ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                                  BETHLEHEM         PA      18018
HEFFELFINGER RICHARD (453903)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH      44067
                                                                  PROFESSIONAL BLDG
HEFFELFINGER, DAVID M           6986 PALO ALTO RD                                                                                   SEQUIM            WA      98382‐9064
HEFFELFINGER, HARRY             ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                                  BETHLEHEM         PA      18018‐5737
HEFFELFINGER, JAMES E           2201 ANGIE LN                                                                                       ANDERSON          IN      46017‐9795
HEFFELFINGER, MARYLYN           305 GAME DR.                                                                                        MONROE FALLS      OH      44262‐1705
HEFFELFINGER, MARYLYN           305 GAME DR                                                                                         MUNROE FALLS      OH      44262‐1705
HEFFELFINGER, PAUL R            2933 S SCHENLEY AVE                                                                                 YOUNGSTOWN        OH      44511‐2103
HEFFELFINGER, RICHARD           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH      44067
                                                                  PROFESSIONAL BLDG
HEFFELMIRE, CAROLYN J           27915 N COUNTY LINE RD                                                                              SHERIDAN           IN     46069‐9392
HEFFELMIRE, SHARON              2388 SHERIDAN ROAD                                                                                  NOBLESVILLE        IN     46062
HEFFER, DIANA S.                6693 SUFFIELD LN                                                                                    WARRENTON          VA     20187‐7267
HEFFER, LARRY G                 15710 BUCK LN                                                                                       MONTCLAIR          VA     22025‐1826
HEFFERAN, AUSTIN J              915 W CLAY ST                                                                                       DANVILLE           IL     61832‐4308
HEFFERAN, MARY M                1214 BOYNTON CT                                                                                     JANESVILLE         WI     53545‐1928
HEFFERIN EDWARD M               C/O GOLDBERG PERSKY & WHITE PC    1030 FIFTH AVE                                                    PITTSBURGH         PA     15219
HEFFERNAN DONALD L (409517)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510
                                                                  STREET, SUITE 600
HEFFERNAN JAMES P               11734 HEDGEFIELD LN                                                                                 SAINT LOUIS       MO      63126‐3066
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Name                          Address1                       Address2                      Address3   Address4               City              State   Zip
HEFFERNAN JILL B              11734 HEDGEFIELD LN                                                                            SAINT LOUIS        MO     63126‐3066
HEFFERNAN KEVIN               7300 WAYNE AVE APT 507                                                                         MIAMI BEACH        FL     33141
HEFFERNAN WANDA               8369 CAPEL DR                                                                                  PASADENA           MD     21122‐4828
HEFFERNAN, BILLY K            3075 W 400 S                                                                                   ANDERSON           IN     46011‐9448
HEFFERNAN, BRENDA K           161 FREDRICK DR.                                                                               OXFORD             MI     48371‐4741
HEFFERNAN, BRENDA K           161 FREDERICK DR                                                                               OXFORD             MI     48371‐4741
HEFFERNAN, DAVID L            8142 FOX HOLLOW RD                                                                             GOODRICH           MI     48438‐9235
HEFFERNAN, DONALD J           1239 TREASCH DR                                                                                CUYAHOGA FALLS     OH     44221‐5244
HEFFERNAN, DONALD L           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                             STREET, SUITE 600
HEFFERNAN, JAMES M            125 AUTUMN OAKS BLVD                                                                           NEW CASTLE        IN      47362‐2791
HEFFERNAN, JUDITH A           39 FAIRWAY RD APT 3B                                                                           NEWARK            DE      19711‐5658
HEFFERNAN, LAWRENCE G         5939 BRIARWOOD CT                                                                              CLARKSTON         MI      48346‐3176
HEFFERNAN, MAE Z              6 KNIGHT LANE                                                                                  TERRYVILLE        CT      06786‐5700
HEFFERNAN, MARK D             2209 W STATE ROUTE 571                                                                         TIPP CITY         OH      45371‐9113
HEFFERNAN, RONALD W           2 SWEET VERNAL CT                                                                              ROCHESTER         NY      14623‐3624
HEFFERNAN, TAB M              3628 PADDOCK RD                                                                                PLAINFIELD        IN      46168‐7765
HEFFERNAN, VIVIAN L           C/O VIVIAN HEFFERNAN           BRISTOL CROSSINGS, LLC                                          BRISTOL           CT      06010
HEFFERNAN, WILLIAM L          728 E JUNIPER DR                                                                               PALATINE          IL      60074‐3759
HEFFERON, RICHARD T           4225 HARTLAND RD                                                                               GASPORT           NY      14067‐9301
HEFFERON, TERESA D            4 AUSTIN TERRACE CT C                                                                          SAINT CHARLES     MO      63303
HEFFINGTON, BONNIE J          220 E CENTERWAY ST                                                                             JANESVILLE        WI      53545
HEFFKEN, EVON A               APT 605                        929 PORTLAND AVENUE                                             MINNEAPOLIS       MN      55404‐1241
HEFFLE, KATHRYN               3029 N YARBOROUGH DRIVE        APT 4                                                           EL PASO           TX      79925
HEFFLE, RONALD A              3029 N YARBROUGH DR APT 4                                                                      EL PASO           TX      79925‐4747
HEFFLER, KENNETH A            7401 FAIT AVE                                                                                  BALTIMORE         MD      21224‐3132
HEFFLER, MARY V               1711 HIGHWAY 17 S UNIT 831                                                                     SURFSIDE BEACH    SC      29575‐4445
HEFFLIN, HARVEY J             116 W CENTENNIAL AVE                                                                           MUNCIE            IN      47303‐2935
HEFFLIN, ROBERT W             1125 DARLENE ROAD                                                                              FOREST HILL       MD      21050‐2730
HEFFLIN, ROBERT W             1125 DARLENE RD                                                                                FOREST HILL       MD      21050‐2730
HEFFLINGER, VIRGINIA L        1575 S CLINTON                                                                                 DEFIANCE          OH      43512‐3263
HEFFNER DALE M                HEFFNER, DALE M                1060 1ST AVE STE 400                                            KING OF PRUSSIA   PA      19406‐1336
HEFFNER EDWARD L (343410)     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA      23510
                                                             STREET, SUITE 600
HEFFNER JAMES W (339755)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510
                                                             STREET, SUITE 600
HEFFNER LAWRENCE E (402202)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510
                                                             STREET, SUITE 600
HEFFNER MARGARET              9025 HINES RD                                                                                  BALTIMORE         MD      21234‐1307
HEFFNER WILLIAM H (429078)    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA      23510
                                                             STREET, SUITE 600
HEFFNER, ALICE M              25 FAIRWAY DR                                                                                  YARDLEY           PA      19067‐1646
HEFFNER, ANN M                408 N 4TH ST                                                                                   TIPP CITY         OH      45371‐1805
HEFFNER, CLARINE              1500 PEACHCREST DR                                                                             LAWRENCEVILLE     GA      30043‐2873
HEFFNER, DONALD J             PO BOX 49                                                                                      ORTONVILLE        MI      48462‐0049
HEFFNER, DONALD L             1007 NILA GAY CT                                                                               MIAMISBURG        OH      45342‐3432
HEFFNER, DUANE D              8334 CINDER HILL RD                                                                            MANCELONA         MI      49659‐9187
HEFFNER, EDWARD L             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA      23510‐2212
                                                             STREET, SUITE 600
HEFFNER, EVELYN T             5225 WILSON LN APT 1124                                                                        MECHANICSBURG     PA      17055‐6664
HEFFNER, FRANCIS E            2529 BINBROOKE DR                                                                              TROY              MI      48084‐1003
HEFFNER, HOLLY B              154 PROVINCETOWN CT                                                                            APTOS             CA      95003
HEFFNER, JAMES C              2667 MARY JANE DR                                                                              GIRARD            OH      44420‐3122
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Name                                 Address1                         Address2                      Address3   Address4               City               State Zip
HEFFNER, JAMES W                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510‐2212
                                                                      STREET, SUITE 600
HEFFNER, JOHN                        13171 ROAD 126                                                                                   PAULDING           OH   45879‐9444
HEFFNER, JOHN J                      3700 JOY RD                                                                                      METAMORA           MI   48455‐9315
HEFFNER, LAWRENCE E                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                                      STREET, SUITE 600
HEFFNER, LOIS E                      246 N TIPPECANOE DR                                                                              TIPP CITY          OH   45371‐1328
HEFFNER, MARGUERITE L                36585 HOLIDAY CIRCLE W APT 1                                                                     CLINTON TWP        MI   48035‐1252
HEFFNER, MARILYN J                   711 N 12TH ST                                                                                    MIAMISBURG         OH   45342‐1963
HEFFNER, MARY J                      715 RIVERSIDE DR                                                                                 LINDEN             MI   48451‐8957
HEFFNER, RONALD C                    PO BOX 343                                                                                       KOKOMO             IN   46903‐0343
HEFFNER, STEPHEN A                   4689 MERRICK DR                                                                                  DRYDEN             MI   48428‐9369
HEFFNER, STEVEN K                    19851 MINTDALE RD                                                                                STURGIS            MI   49091‐9243
HEFFNER, TERRY A                     711 N 12TH ST                                                                                    MIAMISBURG         OH   45342
HEFFNER, WILLIAM H                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                                      STREET, SUITE 600
HEFFORD, MARY R                      8238 KALTZ                                                                                       CENTER LINE        MI   48015‐1755
HEFFRON, ALICIA                      12923 STARS DR.                                                                                  NOBLESVILLE        IN   46060
HEFFRON, DAVID P                     13142 S TALLMAN RD                                                                               EAGLE              MI   48822‐9620
HEFFRON, JOHN F                      2014 EVERETT AVE                                                                                 YOUNGSTOWN         OH   44514‐1022
HEFFRON, ROBERT J                    6115 FONDA LAKE DR                                                                               BRIGHTON           MI   48116‐9526
HEFFRON, ROBERT J                    5934 FONDA LAKE DR #2                                                                            BRIGHTON           MI   48116‐6575
HEFFRON, STEVEN P                    3845 PARNELL AVE RR2                                                                             ADA                MI   49301
HEFFRON, TIMOTHY J                   37760 BAYWOOD DR                                                                                 FARMINGTON HILLS   MI   48335‐3608

HEFFRON, TOM
HEFFS AUTOMOTIVE INC                 9051 WATSON RD # 188                                                                             SAINT LOUIS        MO   63126
HEFKE, EDSON P                       63 BEV CIR                                                                                       BROCKPORT          NY   14420‐1230
HEFKO, HELEN                         1148 SCOVILLE NORTH RD.                                                                          VIENNA             OH   44473‐9540
HEFLEN, JANE E                       664 RUNNING BROOK WAY                                                                            MANSFIELD          OH   44903‐7578
HEFLER, RANDY L                      1539 E LINDA LN                                                                                  GILBERT            AZ   85234‐1046
HEFLEY KIM                           PO BOX 224                                                                                       FARNSWORTH         TX   79033‐0224
HEFLEY, OMEGA B                      123 MORNINGSTAR DR                                                                               MALVERN            AR   72104‐8982
HEFLIN RONALD (ESTATE OF) (471418)   SIMMONS FIRM                     PO BOX 521                                                      EAST ALTON         IL   62024‐0519
HEFLIN TEXACO SERVICE CENTER         1476 ROSS ST                                                                                     HEFLIN             AL   36264‐7013
HEFLIN WILLINGHAM                    6430 WASHINGTON AVE                                                                              HUBBARD            OH   44425‐2469
HEFLIN, ADAM G                       7819 NW ROANRIDGE RD APT J                                                                       KANSAS CITY        MO   64151‐5212
HEFLIN, ADAM GARY                    7819 NW ROANRIDGE RD APT J                                                                       KANSAS CITY        MO   64151‐5212
HEFLIN, ALICE T                      29 FOREST STREET                                                                                 MONTCLAIR          NJ   07042‐3550
HEFLIN, ALICE T                      29 FOREST ST                                                                                     MONTCLAIR          NJ   07042‐3550
HEFLIN, BONNIE I                     2207 MOHR DR                                                                                     KOKOMO             IN   46902‐2511
HEFLIN, BRENDA                       5547 BENGIE CT                                                                                   HUBER HEIGHTS      OH   45424‐6822
HEFLIN, DAVID L                      705 MAIN ST                                                                                      ELWOOD             IN   46036‐1955
HEFLIN, DEREK L                      733 ERNROE DR                                                                                    DAYTON             OH   45408‐1507
HEFLIN, ELIOT R                      400 VERONA RD                                                                                    DAYTON             OH   45417‐1331
HEFLIN, ERIC                         226 E 51ST ST                                                                                    ANDERSON           IN   46013‐4811
HEFLIN, GENTRY J                     738 LA SALLE DR                                                                                  DAYTON             OH   45408‐1523
HEFLIN, GEORGE L                     108 BRIDLE RIDGE RD                                                                              IRMO               SC   29063‐9705
HEFLIN, JAMES L                      88 W LAKESIDE DR                 SBEAC                                                           NORTH              IN   46962‐8502
                                                                                                                                      MANCHESTER
HEFLIN, JERRY D                      23718 W FAIRWAY DR                                                                               WOODHAVEN          MI   48183‐3168
HEFLIN, KAREN D                      178 N COUNTY ROAD 300 W                                                                          KOKOMO             IN   46901
HEFLIN, KIM C                        4312 DROWFIELD DR                                                                                DAYTON             OH   45426
HEFLIN, LAWRENCE                     7171 FIELDING ST                                                                                 YPSILANTI          MI   48197‐1782
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Name                                   Address1                       Address2                        Address3       Address4               City            State Zip
HEFLIN, LISA D
HEFLIN, MARK D                         4744 W 1350 S                                                                                        GALVESTON       IN    46932‐8502
HEFLIN, MICHAEL                        4090 W STATE ROAD 32                                                                                 ANDERSON        IN    46011‐1534
HEFLIN, PATRICIA A                     4638 N 94TH ST                                                                                       OMAHA           NE    68134‐3010
HEFLIN, PATRICIA G                     1110 W BOULEVARD                                                                                     KOKOMO          IN    46902‐6101
HEFLIN, PAUL E                         11191 DAYTON FARMERSVILLE RD                                                                         FARMERSVILLE    OH    45325‐8254
HEFLIN, PENNY T                        4090 W STATE ROAD 32                                                                                 ANDERSON        IN    46011‐1534
HEFLIN, PHILIP M                       7171 FIELDING ST                                                                                     YPSILANTI       MI    48197‐1782
HEFLIN, RAMONA L                       336 ESTONIA DR                                                                                       NEW LEBANON     OH    45345‐5345
HEFLIN, RAMONA L                       335 ESTONIA DR                                                                                       NEW LEBANON     OH    45345‐1312
HEFLIN, RONALD                         SIMMONS FIRM                   PO BOX 521                                                            EAST ALTON      IL    62024‐0519
HEFLIN, RONALD L                       3 N SUNRISE AVE A                                                                                    DAYTON          OH    45426
HEFLIN, SANDRA R                       7682 RT 46                                                                                           CORTLAND        OH    44410
HEFLIN, SHEILA A                       450 CHURCH ST                                                                                        BOAZ            AL    35956‐2903
HEFLIN, SYLVIA J                       8905 EVERGREEN AVE APT 112                                                                           INDIANAPOLIS    IN    46240‐2071
HEFLIN, TIMOTHY                        1710 ZARTMAN RD                                                                                      KOKOMO          IN    46902
HEFLIN, WILLIAM E                      5547 BENGIE CT                 C/O BRENDA J HEFLIN                                                   HUBER HEIGHTS   OH    45424‐6822
HEFLING, WANDA M                       1603 MEITZLER                                                                                        TILTON          IL    61832‐8180
HEFLING, WANDA M                       1603 MEITZLER ST                                                                                     DANVILLE        IL    61832‐8180
HEFNER ANTHONY (445146)                BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD      OH    44067
                                                                      PROFESSIONAL BLDG
HEFNER BRUCE                           11856 MEADOWBROOK LN                                                                                 HARTLAND         MI   48353‐2021
HEFNER HARVEY G (468396)               MOTLEY RICE                    PO BOX 1792                                                           MT PLEASANT      SC   29465‐1792
HEFNER TROY E                          GOLDENBERG, MILLER, HELLER &   2227 SOUTH STATE ROUTE 157      P.O. BOX 959                          EDWARDSVILLE     IL   62025
                                       ANTOGNOLI
HEFNER VAUGHN G (ESTATE OF) (340155)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                           NORFOLK          VA   23510
                                                                      STREET, SUITE 600
HEFNER'S AUTO REPAIR                   502 N CENTER ST                                                                                      MESA            AZ    85201‐5005
HEFNER, ANTHONY                        BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                          NORTHFIELD      OH    44067
                                                                      PROFESSIONAL BLDG
HEFNER, BRUCE M                        11856 MEADOWBROOK LN                                                                                 HARTLAND        MI    48353‐2021
HEFNER, CYNTHIA D                      9790 ROLLING GREENS DR                                                                               PINCKNEY        MI    48169‐8800
HEFNER, D R                            2710 BROWN AVE                                                                                       POPLAR BLUFF    MO    63901‐2004
HEFNER, DANIEL AUSTIN                  9101 BRIDGE LAKE ROAD                                                                                CLARKSTON       MI    48348‐2572
HEFNER, DARLENE ANN                    313 MARKET ST                                                                                        BELLE VERNON    PA    15012
HEFNER, DARLENE ANN                    313 MARKET ST                                                                                        BELLE VERNON    PA    15012‐1242
HEFNER, DONALD K                       6412 HERON PARK WAY                                                                                  CLARKSTON       MI    48346‐4803
HEFNER, ELDRED A                       11 MAIN EXTENDED                                                                                     MILLEDGEVILLE   TN    38359
HEFNER, ELVIS J                        2560 HALLMAN AVE                                                                                     WATERFORD       MI    48328‐2700
HEFNER, FRANKLIN D                     6823 HIGHWAY N                                                                                       QULIN           MO    63961‐9278
HEFNER, GAIL                           22225 CABERFAE HWY                                                                                   WELLSTON        MI    49689‐9541
HEFNER, GERALDINE L                    209 JONES RD                                                                                         SHAWNEE         OK    74801‐8612
HEFNER, HARVEY G                       MOTLEY RICE                    PO BOX 1792                                                           MT PLEASANT     SC    29465‐1792
HEFNER, JASON A.                       4604 MARIMAK DR                                                                                      LAFAYETTE       IN    47905
HEFNER, JOE E                          8376 VANDEN DR                                                                                       WHITE LAKE      MI    48386‐2552
HEFNER, JOHN                           101 ROYAL GLEN BLVD                                                                                  MURFREESBORO    TN    37128‐3721
HEFNER, JOLENE S                       2880 TEMPLETON RD                                                                                    LEAVITTSBURG    OH    44430‐9433
HEFNER, JOSEPH                         1908 W THOMAN ST                                                                                     SPRINGFIELD     MO    65803‐1968
HEFNER, KENNETH W                      5159 SASHABAW RD                                                                                     CLARKSTON       MI    48346‐3868
HEFNER, LELAN J                        1701 BRYANT AVE, #8                                                                                  EDWARDSVILLE    IL    62025‐2500
HEFNER, LENA                           2560 HALLMAN                                                                                         WATERFORD       MI    48328‐2700
HEFNER, LENA                           2560 HALLMAN AVE                                                                                     WATERFORD       MI    48328‐2700
HEFNER, LOUISE                         4024 FRENCH OAK LN                                                                                   ST CHARLES      MO    63304‐1419
HEFNER, MARION D                       1220 S ROOSEVELT ST                                                                                  HARRISBURG      IL    62946‐2938
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Name                     Address1                            Address2                      Address3   Address4               City            State   Zip
HEFNER, MARK A           3898 FAWN DR                                                                                        ROCHESTER        MI     48306‐1031
HEFNER, MICHAEL O        9790 ROLLING GREENS DR                                                                              PINCKNEY         MI     48169‐8800
HEFNER, PAUL E           11010 HIGHLAND RD #7‐A                                                                              WHITE LAKE       MI     48386
HEFNER, PAUL R           313 MARKET ST                                                                                       BELLE VERNON     PA     15012‐1242
HEFNER, ROBERT B         1002A GREENLEAF RD                                                                                  ROCHESTER        NY     14612‐1957
HEFNER, ROBERT J         289 ELDON DR NW                                                                                     WARREN           OH     44483‐1343
HEFNER, RONALD W         101 MILL CREEK RD                                                                                   NILES            OH     44446‐3209
HEFNER, TROY E           GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                      EDWARDSVILLE      IL    62025‐0959
                         ANTOGNOLI
HEFNER, TROY E           C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                          EDWARDSVILLE     IL     62025
                         ROWLAND PC
HEFNER, VAUGHN G         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                             STREET, SUITE 600
HEFNER, WILLIAM H        9 SPRINGHAVEN RD                                                                                    WHEELING        WV      26003‐6021
HEFT EUGENE H (630497)   ANGELOS PETER G LAW OFFICES          60 WEST BROAD ST                                               BETHLEHEM       PA      18018
HEFT, BEVERLY J          6400 FORESTVIEW DR                                                                                  OAK FOREST      IL      60452‐1515
HEFT, CRYSTAL            331 SCIO VILLAGE CT UNIT 172                                                                        ANN ARBOR       MI      48103‐9146
HEFT, EUGENE H           ANGELOS PETER G LAW OFFICES          60 WEST BROAD ST                                               BETHLEHEM       PA      18018‐5737
HEFT, HELEN V            1680 EDSEL DR.                                                                                      TRENTON         MI      48183‐1893
HEFT, HELEN V            1680 EDSEL ST                                                                                       TRENTON         MI      48183‐1893
HEFT, JOANNE P           4098 GREEN ST                                                                                       SAGINAW         MI      48638‐6618
HEFT, JOANNE P           4098 GREEN STREET                                                                                   SAGINAW         MI      48638
HEFT, LEONARD J          7809 S RUTHERFORD                                                                                   BURBANK         IL      60459
HEFT, LORRAINE H         13401 N RANCHO VISTOSO BLVD UNIT 249                                                                ORO VALLEY      AZ      85755‐5775

HEFT, MARY JO            8889 CHESTNUT RUN DR                                                                                SHELBY TWP      MI      48317‐1732
HEFT, NORMAN E           24905 CROCKER BOULEVARD                                                                             HARRISON TWP    MI      48045‐1937
HEFT, RONALD A           3733 DAVENPORT RD                                                                                   METAMORA        MI      48455‐9749
HEFT, WILLIAM F          29081 US HIGHWAY 19 N LOT 121                                                                       CLEARWATER      FL      33761‐2432
HEFTER, MARTIN           140 WILLOW LAKE DR                                                                                  OXFORD          MI      48371‐6376
HEFTI, ALBERT C          1527 CLOVER LN                                                                                      JANESVILLE      WI      53545‐1370
HEFTY, ADAM E            263 MOHAWK RD                                                                                       JANESVILLE      WI      53545‐2282
HEFTY, ADAM G            3313 SPAULDING AVE                                                                                  JANESVILLE      WI      53546‐4397
HEFTY, JAMES R           6315 TIMBERLAND DR                                                                                  DIMONDALE       MI      48821‐9755
HEFTY, MARLENE           44 S SUMAC DR                                                                                       JANESVILLE      WI      53545‐2177
HEFTY, ROBERT E          644 ROUTE 6A                                                                                        YARMOUTH PORT   MA      02675‐2039
HEFTY, THOMAS A          1601 HARRISON WAY                                                                                   SPRING HILL     TN      37174‐2670
HEGADORE, KAY F          16638 WHITEHEAD RD                                                                                  LAGRANGE        OH      44050‐9583
HEGADORN, GERALD D       PO BOX 193                                                                                          HOLLEY          NY      14470
HEGADORN, GERALD D       5655 BROCKPORT SPENCERPORT RD                                                                       BROCKPORT       NY      14420
HEGARTY KATHERINE        173 BRIDGE RD                                                                                       FLORENCE        MA      01062‐1012
HEGARTY, ARLEIGH M       3624 WHITE TRILLIUM DR E                                                                            SAGINAW         MI      48603‐1939
HEGARTY, JAMES S         46048 CHATSWORTH DR                                                                                 BELLEVILLE      MI      48111‐1217
HEGARTY, JAMES STEPHEN   46048 CHATSWORTH DR                                                                                 BELLEVILLE      MI      48111‐1217
HEGDE, ANISH             PO BOX 9022                         C/O GM KOREA                                                    WARREN          MI      48090‐9022
HEGE JR., DAVID C        6075 WOODRIDGE LN                                                                                   GRAND BLANC     MI      48439‐9048
HEGE, ANN E              4176 W POINTE DR                                                                                    WATERFORD       MI      48329‐4634
HEGE, DONALD
HEGEDUS MAUREEN          HEGEDUS, MAUREEN                    55 PUBLIC SQ STE 650                                            CLEVELAND       OH      44113‐1909
HEGEDUS MAUREEN          KAHN AND ASSOCIATES LLC             55 PUBLIC SQ STE 650                                            CLEVELAND       OH      44113‐1909
HEGEDUS, CLIFFORD        12556 CHERRY LN                                                                                     GRAND LEDGE     MI      48837‐8979
HEGEDUS, DEANNA L.       101 SPRUCE POINT DR                                                                                 EATONTON        GA      31024‐7411
HEGEDUS, GARY L          413 W BROWNING AVE                                                                                  HAZEL PARK      MI      48030‐1014
HEGEDUS, HELEN G         68 ROMAINE AVE                                                                                      BOARDMAN        OH      44512‐3301
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Name                           Address1                         Address2               Address3       Address4                  City               State   Zip
HEGEDUS, JERRY A               4445 ASHLAND AVE                                                                                 NORWOOD             OH     45212‐3257
HEGEDUS, LASZLO                104 MCCANN RD                                                                                    NEWARK              DE     19711‐6627
HEGEDUS, MALVINA A             9231 INDEPENDENCE BLVD.          APT #613                                                        PARMA HEIGHTS       OH     44130
HEGEDUS, MALVINA A             9231 INDEPENDENCE BLVD APT 613                                                                   PARMA HEIGHTS       OH     44130‐4731
HEGEDUS, MARGARET              8540 SW 202ND TER                                                                                DUNNELLON           FL     34431‐5254
HEGEDUS, MARGARET              8540 S W 202 TERRACE                                                                             DUNNELLON           FL     34431‐5254
HEGEDUS, MARY                  427 WASHINGTON AVE                                                                               LINDEN              NJ     07036‐2863
HEGEDUS, MAUREEN               KAHN & ASSOCIATES                55 PUBLIC SQ STE 650                                            CLEVELAND           OH     44113‐1909
HEGEDUS, MICHAEL T             3428 LUCERNE AVE                                                                                 PARMA               OH     44134‐2634
HEGEDUS, STEVEN J              407 35TH ST                                                                                      SUNSET BEACH        NC     28468‐4117
HEGEL, KENNETH A               11400 PORTER PIKE                                                                                OAKLAND             KY     42159‐8718
HEGELMANN, ARNOLD V            7607 WILLIAMS RD                                                                                 LANSING             MI     48911‐3044
HEGELMANN, ERICK A             7607 WILLIAMS RD                                                                                 LANSING             MI     48911‐3044
HEGELMEYER, SUE A              1753 IRVINE RD                                                                                   RICHMOND            KY     40475
HEGEMAN, MILTON R              148 SANTA PAULA AVE                                                                              SANTA BARBARA       CA     93111‐2140
HEGENAUER, GERALD P            4404 ALVARADO DR                                                                                 BAY CITY            MI     48706‐2516
HEGENAUER, GERALD W            5600 MARY CT                                                                                     SAGINAW             MI     48603‐3641
HEGENAUER, JACK J              801 LAKE DR                                                                                      SIX LAKES           MI     48886‐9781
HEGENAUER, JOHN R              303 N HENRY ST                                                                                   BAY CITY            MI     48706‐4741
HEGENAUER, MARK R              24582 67TH AVE                                                                                   LAWTON              MI     49065
HEGENBART, BETTY L             3117 LAMPLIGHTER LN                                                                              KOKOMO              IN     46902‐8126
HEGENER, MICHAEL F             1250 HEREFORD CT                                                                                 CANTON              MI     48187‐4676
HEGENSCH/ST HGTS               6255 CENTER DR                                                                                   STERLING HTS        MI     48312‐2667
HEGENSCHEIDT MFD CORPORATION   6225 CENTER DR                                                                                   STERLING HEIGHTS    MI     48312
HEGENSCHEIDT‐MFD CORP          6255 CENTER DR                                                                                   STERLING HEIGHTS    MI     48312‐2667
HEGENSCHEIDT/TROY              1070 LIVERNOIS RD                                                                                TROY                MI     48083‐2710
HEGER, ANGELINE                4380 LAURA LN                                                                                    WHITE LAKE          MI     48383‐1680
HEGER, EVELYN S                2576 E MILLER RD                                                                                 MIDLAND             MI     48640‐8933
HEGER, FRANCIS J               815 ALPINE DR                                                                                    JANESVILLE          WI     53546‐1749
HEGER, MARY S                  27094 SANDY HILL LN APT 25                                                                       NEW HUDSON          MI     48165‐9604
HEGER, MATTHEW J               1138 IRWIN DR                                                                                    WATERFORD           MI     48327‐2021
HEGER, MICHAEL M               2855 S TOWERLINE RD                                                                              WHITTEMORE          MI     48770‐9441
HEGER, NATALIE M               4380 LAURA LANE                                                                                  WHITE LAKE          MI     48383‐1688
HEGER, ROBERT E                509 S CRANBROOK CROSS RD                                                                         BLOOMFIELD HILLS    MI     48301‐3434
HEGER, THOMAS G                4380 LAURA LN                                                                                    WHITE LAKE          MI     48383‐1688
HEGER, WILLIAM J               PO BOX 203                                                                                       PAOLA               KS     66071
HEGG, HARRY L                  5438 RUSHMORE PASS                                                                               GRAND BLANC         MI     48439‐9148
HEGGAN, DAVID R                1305 W LAKE RD                                                                                   CLIO                MI     48420‐8807
HEGGAN, DAVID RUSSELL          1305 W LAKE RD                                                                                   CLIO                MI     48420‐8807
HEGGAN, JENNIFER K             13230 N SAGINAW RD                                                                               CLIO                MI     48420‐1010
HEGGAN, JENNIFER K             G‐13230 N. SAGINAW RD                                                                            CLIO                MI     48420
HEGGAN, MARK A                 136 LODGE HALL RD                                                                                NOLENSVILLE         TN     37135‐7444
HEGGAN, RUSSELL                2473 E TOBIAS RD                                                                                 CLIO                MI     48420‐7924
HEGGARTY, ELIZABETH A          340 IDAHO AVE N                                                                                  GOLDEN VALLEY       MN     55427‐4935
HEGGARTY, ELIZABETH ANN        340 IDAHO AVE N                                                                                  GOLDEN VALLEY       MN     55427‐4935
HEGGE, ANNE                    328 E UNION ST                                                                                   ROCKTON              IL    61072‐2241
HEGGE, MERLIN S                PO BOX 363                                                                                       ORFORDVILLE         WI     53576‐0363
HEGGEMANN AEROSPACE AG         ZEPPELINRING 1‐6                                                       BUREN D‐33142 GERMANY
HEGGEMANN AEROSPACE AG         ZEPPELINRING 2‐6                                                       BUEREN NW 33142 GERMANY

HEGGEMEIER, WILBUR A           5541 PEONY RD                                                                                    COULTERVILLE       IL      62237‐2307
HEGGENDORN, DOROTHY E          8712 N MAGNOLIA AVE #16                                                                          SANTEE             CA      92071‐4544
HEGGENSTALLER, JACK C          PO BOX 1791                                                                                      POULSBO            WA      98370‐0250
HEGGER, HARVEY B               5806 PARK DR                                                                                     TROY               MO      63379‐5030
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Name                       Address1                        Address2                        Address3   Address4                    City               State   Zip
HEGGIE, EVELYN             111 WADE AVE                                                                                           DICKSON             TN     37055‐2445
HEGGIE, MARK E             LOT 12                          14 LAKE STREET                                                         FROSTPROOF          FL     33843‐3548
HEGGINS CHARLES            THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD         STE 44                                 CORAL GABLES        FL     33146
HEGGOOD, MATTHEW
HEGGS, ALLEN
HEGINBOTHAM, JOAN M        33069 PEBBLEBROOK DR                                                                                   NORTH RIDGEVILLE   OH      44039‐6344

HEGINBOTHAM, VIRGINIA L    4718 REGINALD DR                                                                                       WICHITA FALLS      TX      76308‐4518
HEGINBOTHAM, WAYNE R       33069 PEBBLEBROOK DR                                                                                   NORTH RIDGEVILLE   OH      44039‐6344

HEGINBOTTOM II, ROBERT J   PO BOX 172                                                                                             SPRING HILL        TN      37174‐0172
HEGINBOTTOM, GRANT         5662 SNOW CREEK RD                                                                                     SANTA FE           TN      38482‐3151
HEGINBOTTOM, IMOGENE       5662 SNOW CREEK ROAD                                                                                   SANTA FE           TN      38482‐3151
HEGLAR, CAROL A            1310 LISCUM DR                                                                                         DAYTON             OH      45418‐1924
HEGLAS, MARJORIE R         4433 W PASADENA AVE                                                                                    FLINT              MI      48504‐2341
HEGLAS, MARJORIE R         3070 CAMELOT DR                                                                                        FLINT              MI      48507‐3464
HEGLE, MARIE JEANNE        850 COTE DE TERREBONNE                                                     TERREBONNE QC CANADA J6Y‐
                                                                                                      1H7
HEGLE, PAUL R              8737 CARROLLWOOD CV N                                                                                  CORDOVA            TN      38016
HEGLE, SONYA D             1904 BRIDGE AVE APT 107                                                                                ALBERT LEA         MN      56007‐2090
HEGLER EARL (492028)       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD         OH      44067
                                                           PROFESSIONAL BLDG
HEGLER, GARY G             609 E LIBERTY ST                                                                                       CHESANING          MI      48616‐1706
HEGLER, ROBERT L           30720 LUND AVE                                                                                         WARREN             MI      48093‐8019
HEGLER, SHIRLEY            205 KIRKLEY ST                                                                                         GASTONIA           NC      28056‐9109
HEGLER, ULYSSES SAMPSON    COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                                HOUSTON            TX      77002‐1751
HEGLUND, ALLEN L           8102B DELAWARE ST                                                                                      OSCODA             MI      48750‐2242
HEGLUND, NANNIE RUTH       14 S SHORE RD                                                                                          ELKTON             MD      21921‐8158
HEGLUND, NANNIE RUTH       14 S. SHORE ROAD                                                                                       ELKTON             MD      21921‐8158
HEGMAN, ROBERT A           3305 FOOTHILLS CT                                                                                      ORION              MI      48359‐1586
HEGMON, RICHARD L          2056 WOVEN HEART DR                                                                                    HOLT               MI      48842‐1093
HEGWOOD, EVELYN V          2430 WILDER RD                                                                                         METAMORA           MI      48455‐9353
HEGWOOD, GARY L            6310 DENTON RD                                                                                         BELLEVILLE         MI      48111‐1015
HEGWOOD, MACIE V           5876 SINROLL RD                                                                                        ORTONVILLE         MI      48462‐9509
HEGWOOD, MICHAEL T         82 RIVIERA TER                                                                                         WATERFORD          MI      48328‐3463
HEGWOOD, PAUL W            3679 NORTH HIGHWAY M65                                                                                 CURRAN             MI      48728
HEGWOOD, TEOLA J           6933 SCARLET RIDGE DR                                                                                  BRENTWOOD          TN      37027‐8824
HEGWOOD, TEOLA J           5754 AMALIE DR                                                                                         NASHVILLE          TN      37211‐5993
HEGYI DARLENE              HEGYI, DARLENE                  22260 HAGGERTY RD STE 250                                              NORTHVILLE         MI      48167‐8985
HEGYI, FREDERICK A         PO BOX 53                                                                                              MORRICE            MI      48857‐0053
HEGYI, MARIA               509 WALKER AVE                                                                                         W TRENTON          NJ      08628‐2821
HEH ETRHE                  EHAEH                           EHA                             HEA        EAHA                        EHA
HEH, JEFFREY R             249 HOLMES RD                                                                                          ROCHESTER           NY     14626‐3641
HEHERH WWF                 WFWGFW22                                                                                               EFEFFEEF
HEHIR, MICHAEL P           1306 BRIDGE WATER CIR                                                                                  HOSCHTON           GA      30548‐3728
HEHL, CAROL L              6935 LANGLE CT                                                                                         CLARKSTON          MI      48346‐1440
HEHL, FRED T               6935 LANGLE CT                                                                                         CLARKSTON          MI      48346‐1440
HEHMAN, LOIS D             3404 E 71ST ST                                                                                         INDIANAPOLIS       IN      46220‐3711
HEHMAN, ROBERT D           200 E LOS MANGOS                                                                                       GREEN VALLEY       AZ      85614‐2243
HEHMEYER, CARMON C         23171 NAGEL RD                                                                                         DEFIANCE           OH      43512‐9633
HEHMEYER, JEFFREY S        23171 NAGEL RD                                                                                         DEFIANCE           OH      43512‐9633
HEHN MARKUS                KASTEN─CKERWEG 6                74172 NECKARSULM‐DAHENFELD
HEHN MARKUS                KASTENAECKERWEG 6                                                          74172 NECKARSULM
                                                                                                      DAHENFELD GERMANY
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HEHN, BETTY L              6742 W ST JOE HWY                                                                            LANSING           MI     48917‐9646
HEHN, BETTY L              6742 W ST JOSEPH HWY                                                                         LANSING           MI     48917‐9646
HEHN, DEAN H               PO BOX 678                                                                                   LEWISTON          MI     49756‐0678
HEHN, GREGORY A            3504 LOON LAKE CT                                                                            LINDEN            MI     48451‐9440
HEHNLY, AGNES K            2674 YORK RD W                 BOX 86                                                        YORK              NY     14592‐0086
HEHNLY, AGNES K            PO BOX 86                      2674 YORK RD W                                                YORK              NY     14592‐0086
HEHNLY, ROBERT S           4210 ROLLING OAKS DR                                                                         WINTER HAVEN      FL     33880‐1648
HEHR, JAMES W              231 BANKO DR                                                                                 DEPEW             NY     14043‐1229
HEHR, JANET R              26980 GARY AVE.                                                                              EUCLID            OH     44132‐2019
HEHR, JANET R              26980 GARY AVE                                                                               EUCLID            OH     44132‐2019
HEHRER, BONNIE J.          2A BLOSSOM DR                                                                                NORWALK           OH     44857
HEHRER, MYRA               434 N 1ST ST                                                                                 ELSIE             MI     48831‐9637
HEHRER, WILLIAM A          8601 WOODWORTH RD                                                                            OVID              MI     48866‐9466
HEHS, WILLIAM A            131 N CRANBROOK RD                                                                           BLOOMFIELD        MI     48301‐2719
HEI LONG BEACH LLC         DBA HILTON LONG BEACH & EXEC   701 W OCEAN BLVD                                              LONG BEACH        CA     90831‐3100
HEIB, EGON                 11555 VANKAL AVE                                                                             LAWTON            MI     49065‐7677
HEIB, HERMANN              4439 ANNELO DR                                                                               GREENWOOD         IN     46142‐9070
HEIBECK, RONALD S          1223 LAVALLE CT                                                                              SAINT JOHNS       MI     48879‐2497
HEIBECK, SHIRLEE M         333 WOODSIDE ROAD                                                                            ROYAL OAK         MI     48073‐2609
HEIBEL, MARGARET M         2623 146TH AVE                                                                               BYRON CENTER      MI     49315‐9121
HEIBERG, ANDREA J          3496 E VAUGHN AVE                                                                            GILBERT           AZ     85234‐4245
HEICHEL JR, ROSS A         4165 W HASKELL LAKE RD                                                                       HARRISON          MI     48625‐8542
HEICHEL, ADAM C            4840 JAMM RD                                                                                 ORION             MI     48359‐2217
HEICHEL, CARL W            6629 BLAKE DR                                                                                CASEVILLE         MI     48725‐9784
HEICHEL, CAROLYN X         2051 TIMBERWOOD DR                                                                           NASHVILLE         TN     37215‐5007
HEICHEL, CAROLYN XANDERS   2051 TIMBERWOOD DRIVE                                                                        NASHVILLE         TN     37215‐5007
HEICHEL, CHARLES D         5951 SEYMOUR LAKE RD                                                                         OXFORD            MI     48371‐4153
HEICHEL, DAN R             513 ROSS RD                                                                                  BELLVILLE         OH     44813‐9043
HEICHEL, DAVID V           4242 42 S. RD., RT 9                                                                         LEXINGTON         OH     44904
HEICHEL, DONALD C          3030 DAVISON LAKE RD                                                                         ORTONVILLE        MI     48462‐9513
HEICHEL, ELIZABETH G       3325 AIRPORT RD                                                                              WATERFORD         MI     48329‐3013
HEICHEL, GERALD R          3505 E LAKE DR                                                                               METAMORA          MI     48455‐8725
HEICHEL, JACK W            873 GLASPIE RD                                                                               OXFORD            MI     48371‐5024
HEICHEL, JEFFREY S         274 CANDACE CT                                                                               TROY              MI     48098‐7100
HEICHEL, KATHLEEN S        513 ROSS RD                                                                                  BELLVILLE         OH     44813‐9043
HEICHEL, KATHLEEN S        513 ROSS ROAD                                                                                BELLVILLE         OH     44813
HEICHEL, MATTHEW W         2511 MUELLER RD                                                                              ORION             MI     48359‐1557
HEICHEL, PAMELA S          5276 BREEZE HILL PL                                                                          TROY              MI     48098‐2721
HEICHEL, PATRICIA E        1874 KARLUK STREET                                                                           NORTH PORT        FL     34287‐3722
HEICHEL, RONALD W          2511 MUELLER RD                                                                              ORION             MI     48359‐1557
HEICHEL‐PARKS, PATSY       6670 OAKRIDGE DR                                                                             WATERFORD         MI     48329‐1245
HEICHELBECH, DANIEL A      728 STILL POND RD                                                                            COLUMBIA          TN     38401‐5553
HEICHELBECH, DAVID N       1801 OREILLY CIR                                                                             SPRING HILL       TN     37174‐9509
HEICHELBECH, EDGAR J       7715 CHELSEA CT                                                                              HAMILTON          OH     45011‐8038
HEICHELBECH, HAROLD A      RR 4 BOX 209B                                                                                HENDERSONVILLE    NC     28739‐9403
HEICHELBECH, JAMES P       4257 WEIDNER RD                                                                              SHELBY            OH     44875‐9029
HEICHELBECH, JOHN L        3893 HENRY RD LOT 23                                                                         PLYMOUTH          OH     44865‐9634
HEICHELBECH, JON S         744 ROCKY CRK W                                                                              BEDFORD           IN     47421‐8503
HEICHELBECH, JON STANLEY   744 ROCKY CRK W                                                                              BEDFORD           IN     47421‐8503
HEICHELBECH, JUDITH A      744 ROCKY CRK W                                                                              BEDFORD           IN     47421‐8503
HEICHELBECH, MARY L.       3893 HENRY RD                  PLOT #28                                                      PLYMOUTH          OH     44865
HEICHERT, JUDITH A         8417 VIRGINIA RD                                                                             BLOOMINGTON       MN     55438‐1349
HEICK DIE CASTING CORP                                    6550 W. DIVERSEY                                                                 IL    60635
HEICK DIE/CHICAGO          6550 W DIVERSEY AVE                                                                          CHICAGO            IL    60707‐2313
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Name                             Address1                         Address2                        Address3              Address4                 City                 State   Zip
HEICK, ROGER L                   33666 WARREN RD                                                                                                 WESTLAND              MI     48185‐2749
HEICKLEN, LINDA J                2807 GRASSELLI AVE                                                                                              LINDEN                NJ     07036‐3519
HEICO COMPANIES LLC, THE         GEORGE HUERTA                    DAVIES MOLDING CO.              350 EAST KEHOE BLVD                            CHARLESTON            SC     29405
HEICO HOLDING INC.               GEORGE HUERTA                    DAVIES MOLDING CO.              350 EAST KEHOE BLVD                            CHARLESTON            SC     29405
HEID JOHN (422200) ‐ HEID JOHN   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                  NORTHFIELD            OH     44067
                                                                  PROFESSIONAL BLDG
HEID SHARON (640560)             STE 163W                         1 RICHMOND SQUARE                                                              PROVIDENCE           RI      02906‐5172
HEID, BARBARA J                  3157 MAC AVE                                                                                                    FLINT                MI      48506‐2123
HEID, FLOYD R                    G3196 MAC AVE                                                                                                   FLINT                MI      48506
HEID, FRANK H                    78860 MEMPHIS RIDGE RD                                                                                          RICHMOND             MI      48062‐3005
HEID, JAMES S                    1401 BONSAL ST                                                                                                  BALTIMORE            MD      21224‐5934
HEID, JOHN                       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                                   NORTHFIELD           OH      44067
                                                                  PROFESSIONAL BLDG
HEID, JOHN V                     633 CAULEY PL                                                                                                   DAYTON               OH      45431‐2701
HEID, LEO L                      6410 KENWOOD AVE                                                                                                BALTIMORE            MD      21237‐1828
HEID, MADELINE N                 APT 115                          2000 PARK CREEK LANE                                                           CHURCHVILLE          NY      14428‐9634
HEID, MICHAEL S                  43 STODDARD AVE                                                                                                 DAYTON               OH      45405‐4737
HEID, RALPH E                    2123 SW AUGUSTA TRCE                                                                                            PALM CITY            FL      34990‐4786
HEID, RICHARD A                  7030 CLAYBECK DR.                                                                                               DAYTON               OH      45424‐2917
HEID, ROBERT R                   5504 HOPKINS RD                                                                                                 FLINT                MI      48506‐1593
HEID, SHARON                     DEATON LAW FIRM                  1 RICHMOND SQ STE 134C                                                         PROVIDENCE           RI      02906‐5166
HEIDA, LINDA S                   4105 KEKAULIKE LN                                                                                               PRINCEVILLE          HI      96722
HEIDA, REGINA H                  3284 SENECA ST APT 5                                                                                            WEST SENECA          NY      14224‐4911
HEIDA, REGINA H                  3284 SENECA ST                   APT 5                                                                          WEST SENECA          NY      14224‐4911
HEIDA, WILLIAM C                 738 E BLACKMORE RD                                                                                              MAYVILLE             MI      48744‐9638
HEIDA, WILLIAM R                 1240 CLARK PARK RD                                                                                              MAYVILLE             MI      48744‐9796
HEIDACKER, RALPH C               28453 QUAIL HOLLOW RD                                                                                           FARMINGTON HILLS     MI      48331‐2752

HEIDACKER, WALTER C              833 LONE PINE RD                                                                                                BLOOMFIELD HILLS      MI     48302‐2428
HEIDBREDER HARTMUT               MUENSTERMANNSWEG 20              33332 GUETERSLOH
HEIDBRIDER, EDDIE A              PO BOX 404T                                                                                                     CAYUGA                IN     47928
HEIDBRINK JR, ERVIN J            24661 EDGEWOOD DR                                                                                               STURGIS               MI     49091‐9330
HEIDBRINK, HELEN E               1561 SEA SWALLOW DR                                                                                             LAKE HAVASU CITY      AZ     86403‐4617
HEIDBRINK, ROBERT J              6744 BUDDY MILLER DR                                                                                            ALVATON               KY     42122‐9610
HEIDE DARGA                      22903 BROOKDALE BLVD                                                                                            SAINT CLAIR SHORES    MI     48082‐2137

HEIDE FLINT                      HEIDE, FLINT                     5641 HOUSMAN AVE                                                               PUEBLO                CO     81004‐9709
HEIDE I DOMINIC                  13217 WILLOW POINT DR                                                                                           FREDERICKSBURG        VA     22408‐0238
HEIDE KLEIN                      REUDERNER STRASSE 18             72644 OBERBOIHINGEN
HEIDE KLEIN                      REUDERNER STRASSE 18                                                                   72644 OBERBOIHINGEN
                                                                                                                        GERMANY
HEIDE, DAVID J                   15270 PHILOMENE BLVD                                                                                            ALLEN PARK            MI     48101‐2052
HEIDE, DOROTHY R                 6810 ROSEMONT AVE                                                                                               DETROIT               MI     48228‐5405
HEIDE, FLINT                     5641 HOUSMAN AVE                                                                                                PUEBLO                CO     81004‐9709
HEIDE, JEFFREY A                 26563 SOUTH JACOB DRIVE                                                                                         CHANNAHON             IL     60410‐5493
HEIDE, JOSEPH S                  6810 ROSEMONT AVE                                                                                               DETROIT               MI     48228‐5405
HEIDE, MARY ELLEN                8800 MACOMB ST #213                                                                                             GROSSE ILE            MI     48138‐1985
HEIDEBREICHT CHEVROLET           64200 VAN DYKE RD                                                                                               WASHINGTON            MI     48095‐2577
                                                                                                                                                 TOWNSHIP
HEIDEBREICHT, INC.               KURT HEIDEBREICHT                64200 VAN DYKE RD                                                              WASHINGTON            MI     48095‐2577
                                                                                                                                                 TOWNSHIP
HEIDEBREICHT, PAULA A            1032 FITZPATRICK RD                                                                                             NASHVILLE             TN     37214‐3957
HEIDEBREICHT, UNA M              1200 WRIGHT AVE                  MASONIC PATHWAYS                                                               ALMA                  MI     48801‐1133
HEIDEBRINK, CRAIG R              644 SHATTUCK RD                                                                                                 SAGINAW               MI     48604‐2369
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Name                         Address1                      Address2                  Address3                     Address4                  City             State Zip
HEIDECKER LEOPOLD            EYSLERGASSE 53                                                                       A 1130 WEIN AUSTRIA
HEIDECKER SIGRUN             EYSLERGASSE 53                                                                       A‐1130 WIEN AUSTRIA
HEIDEL JR, WILLIAM F         21 YARMOUTH LANE                                                                                               NORTH EAST       MD    21901‐4700
HEIDEL, ARLENE A             5176 BLOSS DR                                                                                                  SWARTZ CREEK     MI    48473‐8875
HEIDEL, CARL W               600 CAMPBELL BLVD                                                                                              GETZVILLE        NY    14068‐1004
HEIDEL, DANIEL R             661 DALEVIEW AVENUE                                                                                            DAYTON           OH    45405‐5144
HEIDEL, DAVID W              5380 WYNDEMERE COMMON SQ                                                                                       SWARTZ CREEK     MI    48473‐8911
HEIDEL, GARY D               118 FERNDALE AVE                                                                                               TONAWANDA        NY    14217‐1045
HEIDEL, GERALD T             6638 41ST STREET CIR E                                                                                         SARASOTA         FL    34243‐7929
HEIDEL, GERALDINE M          1201 ADAMS RD                                                                                                  BURTON           MI    48509‐2359
HEIDEL, HAROLD J             11709 LEGACY WOODS DR                                                                                          FREDERICKSBURG   VA    22407‐3701
HEIDEL, HENRY D              5176 BLOSS DR                                                                                                  SWARTZ CREEK     MI    48473‐8875
HEIDEL, HOWARD A             1280 MOSSWOOD CT                                                                                               INDIALANTIC      FL    32903‐4005
HEIDEL, JAMES M              1201 ADAMS RD 1D                                                                                               BURTON           MI    48509
HEIDEL, JANET Y              5124 MERIT DR                                                                                                  FLINT            MI    48506‐2127
HEIDEL, LEE A                3818 FRASER ST                                                                                                 FLINT            MI    48532‐3839
HEIDEL, MARILYN LOUISE       107 SE 12TH PL                                                                                                 CAPE CORAL       FL    33990‐1746
HEIDEL, PATRICIA J           7932 ST.MONICA DRIVE                                                                                           BALTIMORE        MD    21222‐3535
HEIDEL, PATRICIA J           7932 SAINT MONICA DR                                                                                           BALTIMORE        MD    21222‐3535
HEIDEL, TIMOTHY P            1703 RIVERWOOD TRL                                                                                             KINGS MILLS      OH    45034‐9772
HEIDEL, WILLIAM H            7137 MOUNT JULIET DR                                                                                           DAVISON          MI    48423‐2361
HEIDELBERG & WOODLIFF        CAPITAL TOWERS 17TH FL        PO BOX 23040              125 S CONGRESS ST STE 1700                             JACKSON          MS    39225‐3040

HEIDELBERG & WOODLIFF PA     PO BOX 2340                                                                                                    JACKSON          MS    39225
HEIDELBERG COLLEGE           BUSINESS OFFICE               310 E MARKET ST                                                                  TIFFIN           OH    44883‐2434
HEIDELBERG LAW FIRM PLLC     301 W PINE BLDG                                                                                                HATTIESBURG      MS    39401
HEIDELBERG USA               1000 GUTENBERG DR NW                                                                                           KENNESAW         GA    30144‐7028
HEIDELBERG USA COMPANY       1000 GUTENBERG DR NW                                                                                           KENNESAW         GA    30144‐7028
HEIDELBERG USA INC           1000 GUTENBERG DR NW                                                                                           KENNESAW         GA    30144‐7028
HEIDELBERG USA, INC.         KIM BROWN                     1000 GUTENBERG DR NW                                                             KENNESAW         GA    30144‐7028
HEIDELBERG, ARLISS           COLOM LAW FIRM                605 2ND AVE N                                                                    COLUMBUS         MS    39701‐4513
HEIDELBERG, ARLISS CHARLES   LIPMAN DAVID M                5901 SW 74TH ST STE 304                                                          MIAMI            FL    33143‐5163
HEIDELBERG, C J              COLOM LAW FIRM                605 2ND AVE N                                                                    COLUMBUS         MS    39701‐4513
HEIDELBERG, JAMES V          5922 ADELAIDE DR                                                                                               TOLEDO           OH    43613‐1108
HEIDELBERG, RASSIE           COLOM LAW FIRM                605 2ND AVE N                                                                    COLUMBUS         MS    39701‐4513
HEIDELBERG, THOMAS E         4654 W ERIE RD                                                                                                 TEMPERANCE       MI    48182‐9726
HEIDELBERG, TRINA            65 FRIENDSHIP RD                                                                                               LAUREL           MS    39443
HEIDELBERG, WILLIAM R        2420 PINELLAS DR                                                                                               PUNTA GORDA      FL    33983‐3116
HEIDELDRT, ANDREA            BOX 795                                                                                                        CROSS CITY       FL    32628
HEIDELDRT, ANDREA            PO BOX 795                    BOX 795                                                                          CROSS CITY       FL    32628
HEIDEMAN (SCHULTZ), MARY T   5485 WOODLAND RD                                                                                               MINNETONKA       MN    55345‐5657
HEIDEMAN ROSS (DECEASED)     HEIDEMAN, CYNTHIA             892 MAIN STREET                                                                  BUFFALO          NY    14202
HEIDEMAN, DOROTHY K          11480 LAKESHORE RD                                                                                             LYNDONVILLE      NY    14098‐9699
HEIDEMAN, GRACE M            174 WATERS EDGE CIR                                                                                            BURLINGTON       WI    53105‐9188
HEIDEMAN, JAMES M            2133 TERRAPIN BRANCH RD                                                                                        MT PLEASANT      TN    38474‐1962
HEIDEMAN, LORETTA E          10316 MILLERS RD                                                                                               LYNDONVILLE      NY    14098‐9781
HEIDEMAN, ROBERT J           4889 COUNTY ROAD H H                                                                                           KEWASKUM         WI    53040
HEIDEMAN, ROBERT L           229 W PIPER AVE                                                                                                FLINT            MI    48505‐2691
HEIDEMAN, THOMAS D           6654 SHEETRAM RD                                                                                               LOCKPORT         NY    14094‐9538
HEIDEMANN, BERTHA G.         1404 SE 35TH TER                                                                                               CAPE CORAL       FL    33904‐4283
HEIDEMANN, BERTHA G.         3905 S.E. 15TH PLACE          APT 1                                                                            CAPE CORAL       FL    33904
HEIDEMANN, BESSIE M          9760 LAKE RD                                                                                                   BARKER           NY    14012‐9636
HEIDEMANN, GERHARD           11465 IRVINGTON DR                                                                                             WARREN           MI    48093‐2610
HEIDEMANN, KATHLEEN M        1326 W TOWNLINE RD                                                                                             PHELPS           NY    14532‐9301
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Name                            Address1                         Address2                        Address3   Address4                  City                 State Zip
HEIDEMANN, NANCY L              728 BELGRADE AVE                                                                                      NORTH MANKATO         MN 56003‐3600
HEIDEMANN, WILLIAM R            C/O WILLIAM ROSS L HEIDEMANN     2807 ALLEN ST # 763                                                  DALLAS                TX 75204
HEIDEMARIE KRAFT                BRANTENHOLZCHEN 21                                                          51643 GUMMERSBACH
                                                                                                            GERMANY
HEIDEN JACOB                    1855 WIXOM TRL                                                                                        MILFORD              MI   48381‐2461
HEIDEN, ALLEN F                 117 W MONROE ST                                                                                       DUNDEE               MI   48131‐1234
HEIDEN, BARBARA L               7376 LAKE LAKOTA PL                                                                                   INDIANAPOLIS         IN   46217‐7083
HEIDEN, BENNIE E                310 EAST MAIN BOX 492                                                                                 WESTPHALIA           MI   48894
HEIDEN, DELMA A                 PO BOX 321                                                                                            PENDLETON            IN   46064‐0321
HEIDEN, EDWARD M                1708 GANGWAY LOOP                                                                                     RUSKIN               FL   33570‐2750
HEIDEN, ETHERINE E              36836 MARGARETA ST                                                                                    LIVONIA              MI   48152‐2893
HEIDEN, GERALD D                2210 QUAIL RUN                   C/O GERALD E HEIDEN                                                  ALEXANDRIA           IN   46001‐7907
HEIDEN, GERALD E                2210 QUAIL RUN                                                                                        ALEXANDRIA           IN   46001‐7907
HEIDEN, JEFFREY L               3815 W TOWNSEND RD                                                                                    SAINT JOHNS          MI   48879‐9595
HEIDEN, MICHAEL B               1997 OVERLAND DR                                                                                      CHAPEL HILL          TN   37034‐4026
HEIDEN, RONALD H                335 GLEN WOODS TRAIL                                                                                  GAYLORD              MI   49735‐8146
HEIDEN, STEVEN L                1016 GRENOBLE CIR                                                                                     LANSING              MI   48917‐4811
HEIDENBERGER, DONALD G          197 CIRCLE DR                                                                                         FLUSHING             MI   48433‐1580
HEIDENBERGER, GEORGIANNA J      15414 BEALFRED DR                                                                                     FENTON               MI   48430‐1713
HEIDENBERGER, JAMES E           1065 JAMES ST                                                                                         VASSAR               MI   48768‐1543
HEIDENESCHER, ROBERT J          8544 SENECA HWY                                                                                       MORENCI              MI   49256‐9541
HEIDENGA, J M                   377 BRANDYWYNE DR NW                                                                                  COMSTOCK PARK        MI   49321‐9134
HEIDENHAIN CORP                 333 E STATE PKWY                                                                                      SCHAUMBURG           IL   60173‐5337
HEIDENHAIN CORPORATION          335 ADMIRAL UNIT 11                                                         MISSISSAUGA ON L5T 2N2
                                                                                                            CANADA
HEIDENREIC, MINNIE              9785 YOUNGMAN RD BOX 224                                                                              LAKEVIEW             MI   48850‐9466
HEIDENREICH ALBERT W (429079)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK              VA   23510
                                                                 STREET, SUITE 600
HEIDENREICH, A. EVELYN          305 LELAND ST                                                                                         FLUSHING             MI   48433
HEIDENREICH, ALBERT W           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK              VA   23510‐2212
                                                                 STREET, SUITE 600
HEIDENREICH, ANN A              312 LELAND ST                                                                                         FLUSHING             MI   48433‐1748
HEIDENREICH, FRANCES C          6633 53RD AVE EAST, C119                                                                              BRADENTON            FL   34203
HEIDENREICH, IVAN R             1156 DOGWOOD CT                                                                                       MARTINSVILLE         IN   46151‐9134
HEIDENREICH, JAMES A            107 SLOBODA AVE                                                                                       MANSFIELD            OH   44906‐1353
HEIDENREICH, JAMES ARVIN        107 SLOBODA AVE                                                                                       MANSFIELD            OH   44906‐1353
HEIDENREICH, JASON              5816 TURNEY RD                                                                                        GARFIELD HTS         OH   44125‐4471
HEIDENREICH, JEANNE M           4360 MAPLEWOOD MEADOWS AVE                                                                            GRAND BLANC          MI   48439‐8799
HEIDENREICH, JEANNE MARIE       4360 MAPLEWOOD MEADOWS AVE                                                                            GRAND BLANC          MI   48439‐8799
HEIDENREICH, KATHLEEN T         645 KOSTMAYER AVE APT 103                                                                             SLIDELL              LA   70458‐4951
HEIDENREICH, MARILYN D          431 REMINGTON BOULEVARD                                                                               BOLINGBROOK          IL   60440‐4918
HEIDENREICH, NORMA M            1850 FAIRWAY DR SPC 73                                                                                CHINO HILLS          CA   91709‐2212
HEIDENREICH, WILLIAM G          10651 QUIMBY DR                                                                                       PORT RICHEY          FL   34668‐3078
HEIDENREICH, WILLY              26125 SAN ROSA DR                                                                                     SAINT CLAIR SHORES   MI   48081‐3838

HEIDEPRIEM, DAVID P             2983 S STATE ROUTE 66                                                                                 DEFIANCE             OH   43512‐6852
HEIDER DENNIS (445149)          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD           OH   44067
                                                                 PROFESSIONAL BLDG
HEIDER FRIEDRICH                HAYDNGASSE 22                                                               A 7131 HALBTURN AUSTRIA
HEIDER JACK (445150)            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD           OH   44067
                                                                 PROFESSIONAL BLDG
HEIDER KATHLEEN                 2405 EDINGAL DRIVE                                                                                    BAKERSFIELD          CA   93311‐8547
HEIDER OSCAR (445151)           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD           OH   44067
                                                                 PROFESSIONAL BLDG
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Name                           Address1                         Address2                       Address3   Address4                City              State   Zip
HEIDER, BEVERLY O              3109 SHERMAN ST                                                                                    ANDERSON           IN     46016‐5921
HEIDER, CAROL L                535 MILITARY RD                                                                                    BUFFALO            NY     14207‐1749
HEIDER, DENNIS                 BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD         OH     44067
                                                                PROFESSIONAL BLDG
HEIDER, DENNIS J               2550 LOMBARD AVE                                                                                   JANESVILLE        WI      53545‐2226
HEIDER, GERALD J               236 E 30TH ST                                                                                      KANSAS CITY       MO      64108‐3213
HEIDER, JACK                   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH      44067
                                                                PROFESSIONAL BLDG
HEIDER, JEROME A               17 ALLEGANY AVE                                                                                    KENMORE            NY     14217‐2008
HEIDER, JOHN D                 17986 HANNA ST                                                                                     MELVINDALE         MI     48122‐1423
HEIDER, LOIS A                 N68W13125 RANCH RD                                                                                 MENOMONEE FALLS    WI     53051‐5256

HEIDER, LOIS A                 N68 W13125 RANCH RD                                                                                MEN. FALLS        WI      53051‐5256
HEIDER, MATHIAS E              11333 S CHAMPLAIN AVE                                                                              CHICAGO           IL      60628‐5121
HEIDER, OSCAR                  BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH      44067
                                                                PROFESSIONAL BLDG
HEIDER, RICK L                 3627 WOODGLEN WAY                                                                                  ANDERSON          IN      46011‐1675
HEIDER, ROGER K                3137 GREENBRIAR RD                                                                                 ANDERSON          IN      46011‐2301
HEIDER, SUZAN K                1884 CULLEOKA HWY                                                                                  CULLEOKA          TN      38451‐2710
HEIDER, SUZAN KAYE             1884 CULLEOKA HWY                                                                                  CULLEOKA          TN      38451‐2710
HEIDER, THEODORE A             1697 OLD WINDMILL TRL                                                                              VALLEY CITY       OH      44280‐9497
HEIDER, WILLIAM G              4107 MARSHALL AVE                                                                                  LORAIN            OH      44053‐2631
HEIDERER, FRED G               2504 MADRID ST                                                                                     JACKSONVILLE      FL      32250‐6066
                                                                                                                                  BEACH
HEIDERMAN, PAUL W              13649 CARNEY RD                                                                                    AKRON              NY     14001‐9648
HEIDEROSE & JOERGEN KOELLNER   C/O JOERGEN KOELLNER             TALTITZER WEG 22                          08527 PLAUEN GERMANY
HEIDGER, JAMES L               4438 SPICEBUSH DR                                                                                  SAGINAW           MI      48603‐2468
HEIDGER, KAY M                 6040 ACADEMY DR                                                                                    SAGINAW           MI      48604‐9501
HEIDGER, ROBERT B              10593 SE 174TH LOOP                                                                                SUMMERFIELD       FL      34491‐8944
HEIDI BLISS                    3142 HIDDEN TIMBER DR                                                                              ORION             MI      48359‐1584
HEIDI BREWER                   525 WOLVERTON DR                                                                                   FORT WAYNE        IN      46825‐4159
HEIDI BURNHAM                  2642 N 100 E                                                                                       WABASH            IN      46992‐9013
HEIDI CARL                     PO BOX 25                                                                                          JACKSON CTR       PA      16133‐0025
HEIDI CHRISTLIEB               3720 MEANDER RESERVE CIR                                                                           CANFIELD          OH      44406‐8020
HEIDI CRIST                    8858 ORCHARD LAKE RD                                                                               HOLLAND           OH      43528‐9200
HEIDI EWING                    4181 E CARPENTER RD                                                                                FLINT             MI      48506‐1092
HEIDI GARREN                   9105 TWP. RD. 263                                                                                  BERGHOLZ          OH      43908
HEIDI HERMAN                   4001 COUNTYLINE RD                                                                                 NEWTON FALLS      OH      44444
HEIDI HILLMAN                  756 S GLENHURST DR                                                                                 BIRMINGHAM        MI      48009‐2935
HEIDI HOLBROOK                 2504 HEADLAND DR                                                                                   SAINT CHARLES     MO      63301‐1460
HEIDI J ROMERO                 16210 ORANGE ST. APT B                                                                             HESPERIA          CA      92345
HEIDI KNIERBEIN                3581 ORCHARD DR                                                                                    METAMORA          MI      48455‐8918
HEIDI L BENTZ                  105 TOPSFIELD FARM CIRCLE                                                                          UNION             OH      45322
HEIDI L CHRISTLIEB             3720 MEANDER RESERVE CIR                                                                           CANFIELD          OH      44406‐8020
HEIDI L DASHNAW                18 DONALD DRIVE                                                                                    N TONAWANDA       NY      14120‐4203
HEIDI L DERMER                 6720 E ENCANTO ST UNIT 81                                                                          MESA              AZ      85205
HEIDI L PERRIN                 2087 TARYN LN                                                                                      NESBIT            MS      38655‐9533
HEIDI M ADAMS                  14 GOODWOOD RD                                                                                     ROCKY MOUNT       MO      65072‐3305
HEIDI M HELFRICH               P.O. BOX 231                                                                                       LIVONIA           NY      14487‐0231
HEIDI M KENNEDY                6771 SHAKER RD                                                                                     FRANKLIN          OH      45005
HEIDI M SOULES                 2133 WEST SIDE DRIVE                                                                               ROCHESTER         NY      14624‐2007
HEIDI MACINTYRE                201 ARTHUR ST                                                                                      PLYMOUTH          MI      48170‐1118
HEIDI MAGYAR                   6411 TYRRELL RD                                                                                    LAINGSBURG        MI      48848‐8774
HEIDI MANCHESTER               26740 CIGAR LN                                                                                     WESLEY CHAPEL     FL      33544‐1519
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Name                             Address1                         Address2                        Address3   Address4                  City             State Zip
HEIDI MATSCHL                    SPAZENHOFSTRA▀E 10               4020 LINZ
HEIDI MATSCHL                    SPAZENHOFSTRASSE 10              4020 LINZ
HEIDI MCCORMACK                  303 PARK AVENUE S., 1071                                                                              NEW YORK          NY   10010
HEIDI MCLAIN                     2505 N WUTHERING HILLS DR                                                                             JANESVILLE        WI   53546‐3425
HEIDI MCLANE
HEIDI MCNAUGHTON                 8800 BEARDSLEE RD                                                                                     PERRY             MI   48872‐9748
HEIDI MERSMANN                   SETTELER DAMM 50                                                            49525 LENGERICH GERMANY

HEIDI NEVEN, TTEE                DJD 2009 IRREVOCABLE TRUST       25 FRANKLIN BLVD. #3F                                                LONG BEACH       NY    11561
HEIDI OLDENKAMP                  13122 ROSSELO AVE                                                                                     WARREN           MI    48088‐3145
HEIDI PERRIN                     2087 TARYN LN                                                                                         NESBIT           MS    38651‐9533
HEIDI PHETTEPLACE                4048 STATE ROAD 39                                                                                    MINERAL POINT    WI    53565‐8836
HEIDI R CULLEN                   9869 JOAN CIR                                                                                         YPSILANTI        MI    48197‐8296
HEIDI RIZZO
HEIDI SCHULT, ESQ. GREGORY FOR   99 GARNSEY ROAD                                                                                       PITTSFORD         NY   14534
CONRAIL, HARRIS BEACH PLLC
HEIDI SIMMONS                    18486 MARTINSVILLE RD                                                                                 BELLEVILLE        MI   48111‐8701
HEIDI SMITH                      820 S BUTTERFIELD RD                                                                                  MUNCIE            IN   47303
HEIDI STALLINGS                  3712 SAGE WAY                                                                                         OCEANSIDE         CA   92057
HEIDI STEIB                      HARBIGSTRASSE 8                                                             86836
                                                                                                             GRABEN/LAGERLECHFELD
                                                                                                             GERMANY
HEIDI STRATTON                   4016 S TROY AVE                                                                                       MARION            IN   46953‐9391
HEIDI SWARTSTROM                 9110 NICHOLS RD                                                                                       GAINES            MI   48436‐9790
HEIDI VALLEJO                    320 RAISIN ST                                                                                         DEERFIELD         MI   49238‐9706
HEIDI VOLKERT                    RHEINTALSTR. 15                                                             55130 MAINZ GERMANY
HEIDI WAGNER                     306 LAWNDALE AVE                                                                                      KANSAS CITY      MO    64123‐2008
HEIDI WESTRICK                   13948 APT B FRUIT RIDGE RD                                                                            DEFIANCE         OH    43512
HEIDI WILLENER                   10509 E 60TH TER                                                                                      RAYTOWN          MO    64133‐3974
HEIDI, JOHN J                    506 HEMINGWAY DR                                                                                      COLUMBIA         TN    38401‐5310
HEIDIE JOHNSON                   1080 PHILLIPS RD                                                                                      SMITHS GROVE     KY    42171‐9337
HEIDINGSFELD, WILLIAM R          5312 WOODBRIDGE LN S                                                                                  GREENFIELD       WI    53221‐3234
HEIDL, DREU                      9519 BARROWS RD                                                                                       HURON            OH    44839‐9331
HEIDL, JAMES A                   602 FITCHVILLE RIVER RD NORTH                                                                         NEW LONDON       OH    44851
HEIDL, JAMES A                   APT 151                          4620 VENICE HEIGHTS BOULEVARD                                        SANDUSKY         OH    44870‐1684
HEIDL, LINDA M                   APT 151                          4620 VENICE HEIGHTS BOULEVARD                                        SANDUSKY         OH    44870‐1684
HEIDL, LINDA M                   602 FITCHVILLE RIVER RD N                                                                             NEW LONDON       OH    44851
HEIDLEBAUGH, GENE H              7220 W COPENHAGEN ST                                                                                  DUNNELLON        FL    34433‐5302
HEIDLEBAUGH, GENE H              6935 TOWNSHIP RD 49                                                                                   LEXINGTON        OH    44904
HEIDLEBAUGH, RICK L              1509 JACOBS RD                                                                                        COLUMBIA         TN    38401‐1358
HEIDLEBAUGH, ROBERT V            5827 S STATE ROAD 75                                                                                  JAMESTOWN        IN    46147‐9296
HEIDLEBAUGH, SHERRY L            812 HILLDALE CIR                                                                                      MILFORD          MI    48381‐2345
HEIDLER, JAMES J                 6350 WHEELER ST                                                                                       PHILADELPHIA     PA    19142‐2923
HEIDLER, JOHN E                  6992 LANCASTER LAKE CT APT 90                                                                         CLARKSTON        MI    48346
HEIDLER, RICHARD D               34023 MAJESTIC ST                                                                                     WESTLAND         MI    48185‐2311
HEIDORN JR, FREDERICK K          PO BOX 238774                                                                                         PORT ORANGE      FL    32123‐8774
HEIDORN, HELEN M                 269 GREENING LN                                                                                       ONTARIO          NY    14519‐8860
HEIDORN, JEAN A.                 896 EAGLEHURST RD                                                                                     TOMS RIVER       NJ    08753‐7920
HEIDORN, KENNETH E               324 LAKESIDE RD.                                                                                      PENHOOK          VA    24137‐4137
HEIDORN, KEVIN A                 108 ROCKY LN                                                                                          REIDSVILLE       NC    27320
HEIDORN, LAURA                   1213 ROYAL OAK DR                                                                                     WINTER SPRINGS   FL    32708‐4310
HEIDORN, WILLIAM A               5420 WILLOW SPRINGS RD                                                                                LA GRANGE        IL    60525‐7013
                                                                                                                                       HIGHLANDS
HEIDRICH JR., NICHOLAS B         7104 MCCOY ST                                                                                         SHAWNEE           KS   66227‐2641
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Name                                Address1                           Address2                      Address3   Address4                  City            State Zip
HEIDRICH, DONALD G                  3076 KIRKWOOD PL                                                                                      BAY CITY         MI 48706‐2310
HEIDRICK & STRUGGLES INC            1133 PAYSPHERE CIR                                                                                    CHICAGO           IL 60674‐0011
HEIDRICK & STRUGGLES SINGAPOREPTE   7 TEMASEK BOULEVARD #20‐01         SUNTEC TOWER ONE 038987                  SINGAPORE 038987
LTD                                                                                                             SINGAPORE
HEIDRUN HOPP                        SPECHTWEG 2B                                                                41379 BRUEGGEN GERMANY

HEIDRUN MELANDRI                    ROMERSTR 34                                                                 47249 DUISBURG GERMANY
HEIDT ROBERT                        HEIDT, ROBERT                      810 S CASINO CENTER BLVD                                           LAS VEGAS       NV   89101‐6719
HEIDT, PRISCILLA R.                 4472 W GARRISON RD                                                                                    OWOSSO          MI   48867‐9268
HEIDT, THOMAS E                     6474 W DAVIS RD                                                                                       FREE SOIL       MI   49411‐9723
HEIDT, WILLIAM D                    898 JUNCO DR                                                                                          COLUMBUS        IN   47203‐1368
HEIDTKE, KATHERINE H                5428 VILLAGE DRIVE                 KETTLE HEIGHTS                                                     WEST BEND       WI   53095‐9220
HEIDTMAN                            PAT SLADICH                        4400 COUNTY ROAD 59                                                BUTLER          IN   46721‐9746
HEIDTMAN MASTER                     PAT SLADICH                        19850 GIBRALTAR ROAD                                               GIBRALTAR       MI   48173
HEIDTMAN STEEL                      PAT SLADICH                        19850 GIBRALTAR RD.                                                GIBRALTAR       MI   48173
HEIDTMAN STEEL PRODUCTS INC         2401 FRONT ST                                                                                         TOLEDO          OH   43605‐1145
HEIDTMAN STEEL PRODUCTS INC         21895 NETWORK PL                                                                                      CHICAGO         IL   60673‐1218
HEIDTMAN, DOROTHY M                 12301 STANLEY RD                                                                                      COLUMBIAVILLE   MI   48421‐8804
HEIDTMAN, JACK                      9350 RIVER DR                                                                                         LINDEN          MI   48451‐8763
HEIDTMAN, RANDALL J                 5066 HOLLOWAY DR                                                                                      COLUMBIAVILLE   MI   48421
HEIDTMANN, EDITH R                  129 NEW HANOVER AVE                                                                                   MERIDEN         CT   06451‐6248
HEIDY & THOMAS MOSIMANN             VERTRETEN DURCH: THOMAS MOSIMANN   LEDERERGASSE 34                          4020 LINZ AUSTRIA

HEIEN, DIANA                        APT 6507                           300 WEST OCEAN BOULEVARD                                           LONG BEACH      CA   90802‐7959
HEIEN, STEPHEN G                    APT E211                           333 1ST STREET                                                     SEAL BEACH      CA   90740‐6607
HEIER LUKE                          N3538 RIVER DR                                                                                        MEDFORD         WI   54451‐9682
HEIER, CARL A                       27350 LAWNWOOD ST                                                                                     ROSEVILLE       MI   48066‐3078
HEIER, ISABELLE J                   4212 COLUMBUS AVE                                                                                     ANDERSON        IN   46013‐5018
HEIER, KAREN                        3453 BAY ST                                                                                           NATIONAL CITY   MI   48748‐9649
HEIER, KURT A                       8295 LEDGEWOOD CT                                                                                     FENTON          MI   48430‐9352
HEIER, NORMAN E                     8230 DEERPATH RD                                                                                      PETOSKEY        MI   49770‐8665
HEIER, RICHARD A                    1540 W HUNING                                                                                         SHOW LOW        AZ   85901‐4510
HEIERMAN, DEBORAH                   6279 LAKE WALDON DR                                                                                   CLARKSTON       MI   48346‐2283
HEIERMAN, SHEILA M                  817 VICTORIA DR                                                                                       KELLER          TX   76248‐2851
HEIFER INTERNATIONAL                PO BOX 8058                                                                                           LITTLE ROCK     AR   72203‐8058
HEIFER PROJECT INTERNATIONAL        1 WORLD AVE                                                                                           LITTLE ROCK     AR   72202‐2863
HEIFNER, JOHN F                     12406 N 125 W                                                                                         ALEXANDRIA      IN   46001‐8529
HEIFNER, KENNETH A                  14726 N 300 W                                                                                         SUMMITVILLE     IN   46070‐9335
HEIFNER‐MALLOWS, SUSAN K            211 MAXANNA DR                                                                                        ANNISTON        AL   36206
HEIGER JR, EDWARD                   2807 10TH ST                                                                                          BALTIMORE       MD   21219‐1605
HEIGES, SUSAN M                     8650 EDERER RD                                                                                        SAGINAW         MI   48609‐9506
HEIGHES JR, ARNOLD V                18908 ORLEANS PL                                                                                      WOODHAVEN       MI   48183‐4330
HEIGHLAND, JASON                    1544 N GUNNELL RD                                                                                     EATON RAPIDS    MI   48827‐9373
HEIGHT, JOHN F                      4911 FRANLOU AVE                                                                                      DAYTON          OH   45432‐3119
HEIGHT, LILLIE                      555 GORDON ST                      APT 424                                                            ASHBURN         GA   31714
HEIGHT, LILLIE MAE                  555 S GORDON ST APT 424                                                                               ASHBURN         GA   31714
HEIGHT, RICHARD                     25 AVENUE C                                                                                           BAYONNE         NJ   07002‐3417
HEIGHT, TOM A                       2102 MOOREVILLE RD                                                                                    MILAN           MI   48160‐9519
HEIGHT, VALERIA F                   2011 GETTYSBURG LN                                                                                    COLUMBIA        TN   38401‐6816
HEIGHT, VALERIA FAYE                2011 GETTYSBURG LN                                                                                    COLUMBIA        TN   38401‐6816
HEIGHTON CARL E JR (429080)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA   23510
                                                                       STREET, SUITE 600
HEIGHTON, CARL E                    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA   23510‐2212
                                                                       STREET, SUITE 600
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HEIGHTON, DOROTHY K                70 DAISY CT                                                                                    TIPP CITY         OH     45371‐2962
HEIGHTS CHIRO PHYSIC               7480 TROY PIKE                                                                                 HUBER HEIGHTS     OH     45424‐2663
HEIGHTS CHIROPRACTIC               7480 TROY PIKE                                                                                 HUBER HEIGHTS     OH     45424‐2663
HEIGHTS FINANCE CORPORATION        1460 N FARNSWORTH AVE APT 2                                                                    AURORA             IL    60505‐1772
HEIGHTS INC.                       18821 E VALLEY HWY                                                                             KENT              WA     98032‐1219
HEIGL, MARILYN L                   5362 MURPHY RD                                                                                 LOCKPORT          NY     14094‐9277
HEIGL, RAYMOND L                   325 W ADAMS ST                                                                                 PITTSFIELD         IL    62363‐1301
HEIGL, RAYMOND L                   325 WEST ADAMS STREET                                                                          PITTSFIELD         IL    62363‐1301
HEIGL, THERESA                     219 LOU ANN DR                                                                                 DEPEW             NY     14043‐1247
HEIKE
HEIKE ECKEL‐HERKEN                 KOENIGSTEINERSTRASSE 34A        D‐65619 HOFHEIM AM TS.
HEIKE HENNRICH                     BELVEDEIESTRASSE 74                                                   50933 KOELN GERMANY
HEIKE KRACHT                       GRO▀ENBAUMER STR. 250           45479 M▄LHEIM
HEIKE RIEDER                       2735 EASTLAND DR                                                                               GRAND PRAIRIE     TX     75052‐0736
HEIKE SIMON                        MEISTERSINGERSTRASSE 25                                               95444 BAYREUTH GERMANY
HEIKE WOLFGARTEN                   S▄DERENDE 9                                                                                    21763
                                                                                                                                  NEUENKIRCHEN
HEIKE WOLFGARTEN                   SUEDERENDE 9                                                                                   21763
                                                                                                                                  NEUENKIRCHEN
HEIKE'S AUTO SERVICE               419 MAIN ST                                                                                    WAYNE            NE      68787‐1926
HEIKE, FLORA                       16335 BENMAR DR                                                                                ROSEVILLE        MI      48066‐2001
HEIKELL, STANLEY E                 11276 JEWETT AVE                                                                               WARREN           MI      48089‐1844
HEIKES ADVANCED AUTO CARE          422 S SHERIDAN ST                                                                              FERGUS FALLS     MN      56537‐3014
HEIKES, LORENA                     2713 VERA CRUZ DR.                                                                             VILLA HILLS      KY      41017‐1070
HEIKKILA, ARNE E                   2251 SPRINGPORT RD APT 376                                                                     JACKSON          MI      49202‐1444
HEIKKILA, DAWN M                   KONA LN, LOT 18                                                                                ISHPEMING        MI      49849
HEIKKILA, MARK J                   6741 LANMAN DR                                                                                 WATERFORD        MI      48329‐2935
HEIKKINEN, DAVID J                 13 CHAMPLAIN AVE                                                                               LEWISTON         ME      04240‐5216
HEIKKINEN, DORIS M                 32001 CHERRY HILL RD APT 205                                                                   WESTLAND         MI      48186‐7916
HEIKKINEN, HELEN W                 12401 GAYTON RD APT 219                                                                        RICHMOND         VA      23238‐2292
HEIKKINEN, PETER S                 32165 MEADOWBROOK ST                                                                           LIVONIA          MI      48154‐3575
HEIKKINEN, RONALD K                7391 NICHOLS RD                                                                                FLUSHING         MI      48433‐9262
HEIKKINEN, WILLIAM R               RR BOX 106                                                                                     KEWEENAW BAY     MI      49908
HEIKO BADEN                        BEHRINGERSTR.3                                                                                 SCHNEVERDINGEN   DE      29640
HEIKO BUERGER                      RUDOLF‐THAUER‐WEG 20                                                  61231 BAD NAUHEIM
                                                                                                         GERMANY
HEIKO FISCHER                      RINGSTRASSE 21                                                        96176 PFARRWEISACH
                                                                                                         GERMANY
HEIKO HALBERSTADT                  RERRENRATHER STR 405                                                  50937 COLOGNE GERMANY
HEIKO KNAAK                        ERNST‐CASSEL‐STR. 25            51067 K╓LN/COLOGNE
HEIKO RUELKE                       UNTERULSENBACH 24 B             D‐09102 WILHERMSDORF                                           WILHERMSDORF      DE     91452
HEIKO R▄LKE                        UNTERULSENBACH 24 B             D‐09102 WILHERMSDORF                                           WILHERMSDORF      DE     91452
HEIKO WINTER                       OSTERSTRA▀E 133                 20255 HAMBURG
HEIKO ZACHAEUS                     CAINSDORFER STRASSE 70                                                08112 WILKAU‐HASSLAU
                                                                                                         GERMANY
HEIKO ZACHAEUS                     CAINSDORFER STRASSE 70          08112 WILKAU ‐ HASSLAU
HEIKO ZACH─US                      CAINSDORFER STRASSE 70          08112 WILKAU‐HASSLAU
HEIL DONALD JR                     HEIL, DONALD                    3 SUMMIT PARK DR STE 100                                       INDEPENDENCE     OH      44131‐2598
HEIL SR, RONALD M                  15 GLEN DR                                                                                     PENNSVILLE       NJ      08070‐2525
HEIL WINDERMERE STORAGE & MOVING   PO BOX 46768                                                                                   CLEVELAND        OH      44146‐0768
CO
HEIL, ANNA L                       3225 SOUTHDALE DR APT 8                                                                        KETTERING        OH      45409‐1131
HEIL, BRENDA J                     1719 GUMMER AVE.                                                                               DAYTON           OH      45403‐5403
HEIL, BRIAN T                      11301 FAWN VALLEY TRL                                                                          FENTON           MI      48430‐4010
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Name                          Address1                        Address2                      Address3   Address4                City              State   Zip
HEIL, GARY W                  341 MELANIE DR                                                                                   FRANKLIN           OH     45005‐1538
HEIL, GARY W                  4500 HARBISON ST                                                                                 DAYTON             OH     45439‐2752
HEIL, GEORG                   PO BOX 9022                                                                                      WARREN             MI     48090‐9022
HEIL, HELEN A                 90 N EASTER ISLAND CIR                                                                           ENGLEWOOD          FL     34223‐6225
HEIL, JOHN                    3023 SHELLEY LYNN DR                                                                             FAIRLAWN           OH     44333‐3400
HEIL, JOHN A                  3660 W CENTRAL AVE                                                                               TOLEDO             OH     43606‐1303
HEIL, JOHN ALLEN              3660 W CENTRAL AVE                                                                               TOLEDO             OH     43606‐1303
HEIL, JOHN F                  438 DALHART AVE                                                                                  ROMEOVILLE          IL    60446‐1318
HEIL, LARRY C                 4555 S MISSION RD #725                                                                           TUCSON             AZ     85746
HEIL, LAWRENCE A              510 WAYSIDE DR                                                                                   DAYTON             OH     45440‐5440
HEIL, MARCIA L                7672 REMMICK LN                                                                                  HUBER HEIGHTS      OH     45424‐2155
HEIL, NORMA J                 4802 CYPRESS CREEK LANE                                                                          KALAMAZOO          MI     49004‐3715
HEIL, RALPH F                 15 CHALMERS CT                                                                                   CINCINNATI         OH     45218‐1007
HEIL, RICHARD A               3500 HAROLD ST                                                                                   LANSING            MI     48910‐4480
HEIL, SANDRA K                6421 W MORRIS ST                                                                                 INDIANAPOLIS       IN     46241‐1826
HEIL, SEAN A                  13637 OAK VALLEY DR                                                                              PLATTE CITY        MO     64079‐7828
HEIL, SEAN A                  308 E 21ST ST                                                                                    KEARNEY            MO     64060‐7605
HEIL, THEODORE F              4914 TARTAN HILL RD                                                                              PERRY HALL         MD     21128‐9665
HEIL, WOLFGANG A              1244 CHERRY LN                                                                                   UNIONTOWN          OH     44685‐7749
HEILAND, CARL H               4752 TAMPA ST                                                                                    PHILADELPHIA       PA     19120‐4622
HEILAND, RICHARD L            6218 BLUE ASH RD                                                                                 DAYTON             OH     45414‐2802
HEILAND, ROBERT J             2202 SPRING WATER DR                                                                             LAS VEGAS          NV     89134‐5101
HEILAND, WILLIAM J            3207 HUMMELL RD                                                                                  SHELBY             OH     44875‐9097
HEILAND, WILLIAM T            2842 LAWNDALE RD                                                                                 FINKSBURG          MD     21048‐1522
HEILBORN, DANIEL J            1300 GREEN AVE                                                                                   BAY CITY           MI     48708‐6324
HEILBORN, KAREN A             280 NORTH COLONY DRIVE          APT # 1B                                                         SAGINAW            MI     48638
HEILBRON DAVID M              2140 VISTAZO ST E                                                                                TIBURON            CA     94920‐1929
HEILBRONN, GREGORY M          4481 PERSIMMON DR                                                                                SAGINAW            MI     48603‐1154
HEILBRONN, JONATHON M         11212 STANLEY RD                                                                                 FLUSHING           MI     48433‐9344
HEILEMAN, NORMAN G            3003 BAUER RD                                                                                    JENISON            MI     49428‐9445
HEILEMANN, KATHLEEN           3 KENELM ROAD CLIFTON‐ON‐TEME                                            WORCESTER UNITED
                                                                                                       KINGDOM WR66DW
HEILEMANN, RALPH W            APT 209                         1422 SOUTH 92ND STREET                                           MILWAUKEE          WI     53214‐4241
HEILEMANN, WALTER O           84 OCTOBER LN                                                                                    AMHERST            NY     14228‐1317
HEILENBACH, JAMES W           231 LAWTON RD                                                                                    RIVERSIDE          IL     60546‐2336
HEILER JARED                  2400 PARKLAND DR NE UNIT 243                                                                     ATLANTA            GA     30324‐3591
HEILER JR, CHARLES J          764 FIELDS RD                                                                                    DANSVILLE          MI     48819‐9793
HEILER SOFTWARE CORP          29193 NORTHWESTERN HWY                                                                           SOUTHFIELD         MI     48034‐1011
HEILER SOFTWARE CORPORATION
HEILER SOFTWARE CORPORATION   645 GRISWOLD ST STE 1888        PENOBSCOT BUILDING                                               DETROIT            MI     48226‐8005
HEILER, DONALD N              290 SANDALWOOD DR                                                                                ROCHESTER          NY     14616‐1330
HEILER, LORETTA T             177 E DANSVILLE RD                                                                               DANSVILLE          MI     48819‐9632
HEILER, SHARON L              1708 DREXEL RD                                                                                   LANSING            MI     48915‐1211
HEILER, WILLIAM G             1900 BERRY RD                                                                                    CARO               MI     48723
HEILIG DEBORAH                HEILIG, DEBORAH                 19810 WEST CATAWBA AVENUE                                        CORNELIUS          NC     28031
                                                              SUITE E
HEILIG MICHAEL J (645092)     ZAMLER, MELLEN & SHIFFMAN       23077 GREENFIELD RD STE 557                                      SOUTHFIELD         MI     48075‐3727
HEILIG PROPERTIES INC
HEILIG, ADAM HENRY            1748 E PREVO RD                                                                                  LINWOOD            MI     48634‐9446
HEILIG, ANN                   764 LA MORENO DR                                                                                 HEMET              CA     92545‐1554
HEILIG, ANN                   764 LA MORENA DR                                                                                 HEMET              CA     92545‐1554
HEILIG, BONNIE F              524 MARQUETTE DR                                                                                 ROCHESTER HILLS    MI     48307‐2463
HEILIG, DEBBIE
HEILIG, DEBORAH               MAURIELLO LAW OFFICES PC        19810 W CATAWBA AVE STE E                                        CORNELIUS          NC     28031‐4057
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HEILIG, ED
HEILIG, JAMES           8031 HILL ST                                                                                  SOUTH BRANCH   MI    48761‐9727
HEILIG, JOSEPH M        56276 TROON N                                                                                 SHELBY TWP     MI    48316‐5053
HEILIG, LEROY J         17270 HUNT RD                                                                                 HILLMAN        MI    49746‐8468
HEILIG, MEGHAN          5301 NE 57TH ST                                                                               KANSAS CITY    MO    64119‐2433
HEILIG, MICHAEL J       ZAMLER, MELLEN & SHIFFMAN     23077 GREENFIELD RD STE 557                                     SOUTHFIELD     MI    48075‐3727
HEILIG, PAUL J          11450 DUNN RD                                                                                 RILEY          MI    48041‐1404
HEILIG, RAYMOND J       764 LA MORENA DR                                                                              HEMET          CA    92545‐1554
HEILIG, STEVEN R        2316 KNOB CREEK RD                                                                            COLUMBIA       TN    38401‐1423
HEILIG, TYLER
HEILIG, WILLIAM B       3011 LAPEER ST                                                                                SAGINAW        MI    48601‐6325
HEILIGER, ALBERT F      4616 W SALISBURY DR                                                                           GLADWIN        MI    48624‐8643
HEILIGER, JUSTIN M      1551 W FOREST LN                                                                              MARION         IN    46952‐9810
HEILIGER, KAREN K       1107 HOUSER LN                                                                                BLANCHARD      OK    73010‐9201
HEILMAN, ARVIL J        PO BOX 90                                                                                     GRAND MARAIS   MI    49839‐0090
HEILMAN, BETTY J        6318 ROSECREST DRIVE                                                                          DAYTON         OH    45414‐2868
HEILMAN, CALVIN A       2138 NEGAUNEE DR SE                                                                           GRAND RAPIDS   MI    49506‐5319
HEILMAN, CARL R         3800 AGUALINDA BLVD APT 101                                                                   CAPE CORAL     FL    33914‐5501
HEILMAN, CHARLES J      706 SHALLOW RIDGE CT                                                                          ABINGDON       MD    21009‐3016
HEILMAN, DALE F         2235 BOY SCOUT RD                                                                             INDIAN RIVER   MI    49749‐9531
HEILMAN, DAVID C        1813 TIMBER CT                                                                                KOKOMO         IN    46902‐5066
HEILMAN, DORIS M        115 MAIN ST                                                                                   DEFIANCE       OH    43512‐2313
HEILMAN, JANYTH J       1813 TIMBER CT                                                                                KOKOMO         IN    46902
HEILMAN, JOHN A         1761 MAUMEE DR                                                                                DEFIANCE       OH    43512‐2548
HEILMAN, JOHN ALAN      1761 MAUMEE DR                                                                                DEFIANCE       OH    43512‐2548
HEILMAN, LONNIE J       471 S STAGE RD                                                                                IONIA          MI    48846‐9725
HEILMAN, LOREN P        930 UNION ST                                                                                  PORTLAND       MI    48875‐1321
HEILMAN, LYLE D         110 FOREST ST RT #2                                                                           NAPOLEON       OH    43545
HEILMAN, REGIS F        5067 LINDERMER AVE                                                                            BETHEL PARK    PA    15102‐2815
HEILMAN, ROBERT H       855 BLAINE AVE                                                                                JANESVILLE     WI    53545‐1733
HEILMAN, THOMAS J       3300 JEFFERSON AVE                                                                            CINCINNATI     OH    45220
HEILMAN, THOMAS P       531 HANDY DR                                                                                  BAY CITY       MI    48706‐4292
HEILMANN, ANDREW G      176 WILSON LAKE ROAD                                                                          MOORESVILLE    NC    28117‐8468
HEILMANN, GERHARD M     39142 LYNDON ST                                                                               LIVONIA        MI    48154‐4723
HEILMANN, MICHAEL D     15 OLYMPUS DR.                                                                                NAPERVILLE     IL    60540
HEILMANN, MICHAEL D     APT 3A                        15 OLYMPUS DRIVE                                                NAPERVILLE     IL    60540‐7945
HEILMEIER GEORGE H      17612 WOODS EDGE DR                                                                           DALLAS         TX    75287‐7546
HEILSHORN, ALAN R       1782 WOODHURST DR                                                                             DEFIANCE       OH    43512‐3444
HEILSHORN, BRENDA L.    19584 SCHICK RD                                                                               DEFIANCE       OH    43512‐8526
HEILSHORN, DONALD J     156 CLEVELAND AVE                                                                             DEFIANCE       OH    43512‐3402
HEILSHORN, ERIC R       40 LAKEVIEW DR                                                                                DEFIANCE       OH    43512‐9056
HEILSHORN, MICHAEL J    1451 RIVERBEND DR                                                                             DEFIANCE       OH    43512‐6978
HEILSHORN, ORVILLE R    1123 SCHULTZ ST                                                                               DEFIANCE       OH    43512‐2946
HEILSHORN, RICHARD P    18108 RR 5                                                                                    DEFIANCE       OH    43512
HEILSHORN, ROBERT D     15127 ROAD 179                                                                                OAKWOOD        OH    45873‐9059
HEILSTEDT, BARBARA J    6100 CAMBRIDGE ST                                                                             DEARBORN HTS   MI    48127‐2802
HEILSTEDT, GERALD F     6100 CAMBRIDGE ST                                                                             DEARBORN HTS   MI    48127‐2802
HEIM DATA SYSTEMS INC   PO BOX N                                                                                      BELMAR         NJ    07719
HEIM JR, JOHN C         16335 WOODVALE BLVD                                                                           SPRING LAKE    MI    49456‐1456
HEIM PAUL               1018 DEL RIO DR                                                                               THE VILLAGES   FL    32159‐5665
HEIM ROBERT             958 PARKVIEW DR                                                                               HOLY CROSS     IA    52053‐9772
HEIM, ALAN L            85 SKYCREST DR                                                                                ROCHESTER      NY    14616‐1413
HEIM, ALBERT J          7549 PINE ST                                                                                  TAYLOR         MI    48180‐2205
HEIM, BETTY J           N E 10 LAKE CHEROKEE                                                                          LONGVIEW       TX    75603
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Name                      Address1                       Address2            Address3         Address4               City             State   Zip
HEIM, BRIAN J             3387 ROSEWOOD LN                                                                           OSHKOSH           WI     54904
HEIM, CHARLES E           240 S MEADOW DR                                                                            N TONAWANDA       NY     14120‐4859
HEIM, DARLENE B           490 NORTH AVE                                                                              NO TONAWANDA      NY     14120‐1724
HEIM, DUANE F             8435 N HURD RD                                                                             EDGERTON          WI     53534‐9760
HEIM, EVELYN R            5181 CONKLIN RD                                                                            LOWELL            MI     49331‐9268
HEIM, FRANK B             1609 NORTH RD SE                                                                           WARREN            OH     44484‐2906
HEIM, GEORGE J            4301 BEACH RIDGE RD                                                                        N TONAWANDA       NY     14120‐9576
HEIM, HUBERT J            1016 FITTING AVE                                                                           LANSING           MI     48917‐2286
HEIM, IRMA A              6369 JOHN DALY ST                                                                          TAYLOR            MI     48180‐1059
HEIM, J G                 2992 HILLCREST DR                                                                          WEST BRANCH       MI     48661‐9377
HEIM, JERRY M             322 N COUNTY ROAD 25 W                                                                     NEW CASTLE        IN     47362‐9702
HEIM, JOHN D              235 PAVEMENT RD                                                                            LANCASTER         NY     14086‐9567
HEIM, JOHN F              235 PAVEMENT RD                                                                            LANCASTER         NY     14086‐9567
HEIM, KENNETH D           435 PINEVIEW DR NE                                                                         WARREN            OH     44484‐1470
HEIM, LARRY J             723 COLORADO ST                                                                            MARYSVILLE        MI     48040‐1223
HEIM, NELVA A             1251 BAKER DR                                                                              INDEPENDENCE      MO     64055‐4121
HEIM, NELVA A             714 WEST CHARLES                                                                           INDEPENDENCE      MO     64055
HEIM, PATRICIA B          1609 NORTH RD SE                                                                           WARREN            OH     44484‐2906
HEIM, RAYMOND F           5954 TONAWANDA CREEK RD                                                                    LOCKPORT          NY     14094‐7932
HEIM, RICHARD A           3914 GRAVE RUN RD                                                                          MILLERS           MD     21102‐2218
HEIM, RICHARD L           25 W WARRICK ST                                                                            KNIGHTSTOWN       IN     46148‐1147
HEIM, ROBBIE L            5530 GREAT LAKES DR APT B                                                                  HOLT              MI     48842‐8657
HEIM, ROBERT              UNO POX 1674                                                                               NEW ORLEANS       LA     70148‐0001
HEIM, STEVE               7334 ANTEBELLUM DR                                                                         FORT WAYNE        IN     46815‐6436
HEIM, TERRY J             4266 MARTUS RD                                                                             NORTH BRANCH      MI     48461‐8809
HEIM, WALTER              O‐391 RANSOM                                                                               GRANDVILLE        MI     49418
HEIMAN BECKY              HEIMAN, BECKY                  149 STATE ST                                                DOUSMAN           WI     53118
HEIMAN III, ALBERT W      717 ERNIE LU AVE                                                                           ANDERSON          IN     46013‐3657
HEIMAN JR, A W            717 ERNIE LU AVE                                                                           ANDERSON          IN     46013‐3657
HEIMAN, BECKY             1575 W PORTVIEW DR APT 203                                                                 PRT WASHINGTON    WI     53074‐2620
HEIMAN, CALVIN L          6832 KAY BOER DR                                                                           JENISON           MI     49428‐8133
HEIMAN, DEAN E            201 HILLTOP TRL W                                                                          FORT ATKINSON     WI     53538‐2514
HEIMAN, DIANE E           238 WEST AVE                                                                               LOCKPORT          NY     14094‐4241
HEIMAN, EUGENE J          705 E BRIAR RIDGE DR                                                                       BROOKFIELD        WI     53045‐6056
HEIMAN, FRANKLIN C        42133 E EDWARD DR                                                                          CLINTON TWP       MI     48038‐1713
HEIMAN, FREDRICK J        5195 MILL WHEEL DR                                                                         GRAND BLANC       MI     48439‐4254
HEIMAN, GERALD H          19 CHURCH ST                                                                               DANSVILLE         NY     14437‐1513
HEIMAN, GERALD H          19 CHURCH STREET                                                                           DANSVILLE         NY     14437‐1513
HEIMAN, JOSHUA D          218 LAKE ST                                                                                OTISVILLE         MI     48463‐7702
HEIMAN, MARY L            3016 WYNDHAM DR.                                                                           FLUSHING          MI     48433
HEIMAN, MICHAEL C         2756 FIVE POINTS HARTFORD RD                                                               FOWLER            OH     44418‐9755
HEIMAN, MICHAEL D         1028 CORNELIA ST                                                                           JANESVILLE        WI     53545‐1664
HEIMAN, MICHAEL K         5068 CARRIAGE LN                                                                           LOCKPORT          NY     14094
HEIMAN, PHILIP A          238 WEST AVE                                                                               LOCKPORT          NY     14094‐4241
HEIMAN, ROBERT R          2569 FOXGROVE DR                                                                           HIGHLAND          MI     48356‐2470
HEIMAN, SUSAN E           5195 MILL WHEEL DR                                                                         GRAND BLANC       MI     48439‐4254
HEIMANN JR, BENJAMIN E    3487 NW STATE ROAD 116‐90                                                                  MARKLE            IN     46770‐9718
HEIMANN, BRENDA L         194 DARDENNE DR                                                                            SAINT CHARLES     MO     63301‐6129
HEIMANN, DANIEL M         19 XAVIER RD                                                                               CLARENCE          NY     14031‐2019
HEIMANN, PATRICIA A       7016 MARLAC DR                                                                             HAZELWOOD         MO     63042‐3077
HEIMANN, PETER G          516 RIVER OAKS DR                                                                          MILFORD           MI     48381‐1039
HEIMANN, ROBERT E         1606 CHICKASAW DR                                                                          ENID              OK     73703‐7722
HEIMANN, ROBERT S         194 DARDENNE DR                                                                            SAINT CHARLES     MO     63301‐6129
HEIMANN, ROBERT STANLEY   194 DARDENNE DR                                                                            SAINT CHARLES     MO     63301‐6129
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Name                          Address1                          Address2                        Address3   Address4               City            State Zip
HEIMANN, ROSCOE W             84 S SUMAC DR                                                                                       JANESVILLE       WI 53545‐2178
HEIMANN, SUSAN J              5472 SW ALGER AVE APT 15                                                                            BEAVERTON        OR 97005‐4135
HEIMANN, SUSAN J              11644 SW TALLWOOD DR                                                                                PORTLAND         OR 97223
HEIMARK, DENNIS M             2533 WESLEY AVE                                                                                     JANESVILLE       WI 53545‐5704
HEIMARK, DENNIS MICHAEL       2533 WESLEY AVE                                                                                     JANESVILLE       WI 53545‐5704
HEIMARK, DOROTHY M            7018 ASHWOOD LANE                                                                                   WIND LAKE        WI 53185‐2169
HEIMARK, DOROTHY M            7018 ASHWOOD LN                                                                                     WIND LAKE        WI 53185‐2169
HEIMARK, JESSICA L            2533 WESLEY AVE                                                                                     JANESVILLE       WI 53545‐5704
HEIMBACH, RUTH E              1135 W MAUMEE ST APT 4                                                                              ADRIAN           MI 49221‐1944
HEIMBAUCH, DONALD W           32160 JOY RD                                                                                        LIVONIA          MI 48150‐3837
HEIMBAUCH, NANCY              TRLR 159                          41021 OLD MICHIGAN AVENUE                                         CANTON           MI 48188‐2725
HEIMBAUCH, NANCY              41021 OLD MICHIGAN AVE TRLR 159                                                                     CANTON           MI 48188‐2725
HEIMBERGER, MATTHEW J         4524 EASTWOOD DR                                                                                    AUBURN           MI 48611‐9606
HEIMBUCH, ROGER A             11198 PATTY ANN LN                                                                                  BRUCE TWP        MI 48065‐5300
HEIMBUECHER, LYN A            1949 E STROOP RD                                                                                    DAYTON           OH 45429
HEIMER, BETH A                PO BOX 1405                                                                                         FARIBAULT        MN 55021
HEIMERICH, MELINDA H          1503 SKY VALLEY CT                                                                                  DACULA           GA 30019
HEIMERICKS, MARY E            9532 MARGO ANN LANE                                                                                 WOODSON TERRACE MO 63134‐3943

HEIMERICKS, RALPH W           9532 MARGO ANN LN                                                                                   SAINT LOUIS       MO   63134‐3943
HEIMERL JR, CHARLES M         6171 RANCH VIEW DR N                                                                                EAST AMHERST      NY   14051‐2093
HEIMERMAN, BRIAN              5855 NORTHRIDGE CIR                                                                                 WATERFORD         MI   48327‐1870
HEIMERMAN, BRIAN              1821 VINE ST                                                                                        HOLLYSPRINGS      NC   27540‐7452
HEIMLICH RICHARD D (626567)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                STREET, SUITE 600
HEIMLICH, DONALD O            515 GRAND ST                                                                                        GALION            OH   44833‐2441
HEIMLICH, JOHN F              169 E ELM ST                                                                                        MOUNT GILEAD      OH   43338‐1314
HEIMLICH, MICHELE R           3896 SNODGRASS RD                                                                                   MANSFIELD         OH   44903‐8928
HEIMLICH, RICHARD D           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510‐2212
                                                                STREET, SUITE 600
HEIMOS DAVID M                230 S BEMISTON AVE STE 1200                                                                         CLAYTON           MO   63105‐1912
HEIMSOTH, KIRBY K             PO BOX 363                                                                                          GARDEN CITY       MO   64747‐0363
HEIMSOTH, KRISTINA R          1204 MAGNOLIA DR                                                                                    GREENWOOD         MO   64034‐9212
HEIMSOTH, MELVIN W            401 NE ORCHARD DR                                                                                   LEES SUMMIT       MO   64063‐2406
HEIMSTEAD JR, MERTEN K        6409 RENWICK CIR                                                                                    TAMPA             FL   33647‐1173
HEIN CRESSEL G (419699)       KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                     CLEVELAND         OH   44114
                                                                BOND COURT BUILDING
HEIN I I I, WILLIAM T         11100 GUYN DR                                                                                       BRIGHTON          MI   48114‐9243
HEIN III, WILLIAM T           11100 GUYN DR                                                                                       BRIGHTON          MI   48114‐9243
HEIN JEANINIE S               21298 ENDSLEY AVE                                                                                   ROCKY RIVER       OH   44116‐2231
HEIN JR, FRANK J              1001 AUGUSTA DR                                                                                     SUN CITY CENTER   FL   33573‐5452
HEIN, ALBERT L                330 SOUTH CLARE AVENUE                                                                              HARRISON          MI   48625‐9486
HEIN, ALVIN E                 3853 N 84 ST                                                                                        MILWAUKEE         WI   53222‐2807
HEIN, ANDREW F                28511 TIFFIN DR                                                                                     CHESTERFIELD      MI   48047‐6205
HEIN, AUDREY S                1414 15TH ST                                                                                        BARABOO           WI   53913‐1383
HEIN, BARBARA E               3838 DAVISON LAKE RD                                                                                ORTONVILLE        MI   48462‐9532
HEIN, BONNIE M                221 TIMBERLINE RD                                                                                   CARROLL           IA   51401‐3221
HEIN, BRIAN J                 3053 ROHRER RD                                                                                      WADSWORTH         OH   44281‐8315
HEIN, CARL L                  11093 HOME SHORE DR                                                                                 PINCKNEY          MI   48169‐9562
HEIN, CHARLES J               10382 WILDWOOD DR                                                                                   ZIONSVILLE        IN   46077‐8508
HEIN, CRESSEL                 KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                      CLEVELAND         OH   44114
                                                                BOND COURT BUILDING
HEIN, DAVID E                 11755 PARK DR                                                                                       LENNON            MI   48449‐9307
HEIN, DELORES                 21122 SUMMERFIELD DR                                                                                MACOMB            MI   48044
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HEIN, DONALD R          947 HEIN AVE                                                                              LANSING            MI     48911‐4836
HEIN, EDMUND            PO BOX 3123                                                                               BONITA SPRINGS     FL     34133‐3123
HEIN, ELSE              G4225 MILLER RD APT 190                                                                   FLINT              MI     48507
HEIN, EMMAJANE          335 MEADOW STREET                                                                         SHELTON            CT     06484‐2117
HEIN, ERNEST            BOONE ALEXANDRA                205 LINDA DR                                               DAINGERFIELD       TX     75638‐2107
HEIN, GEORGETTE E       1656 E SANDY LN                                                                           COTTONWOOD         AZ     86326‐4972
HEIN, GEORGETTE E       1656 SANDY LN.                                                                            COTTONWOOD         AZ     86326‐4972
HEIN, GREGORY A         28511 TIFFIN DR                                                                           CHESTERFIELD       MI     48047‐6205
HEIN, GRETCHEN L        52704 DOVER RD                                                                            CALUMET            MI     49913‐9328
HEIN, HAROLD J          103 NUNNEHI TRL                                                                           VONORE             TN     37885‐6716
HEIN, HENRY F           896 PINE AVE                                                                              WEST ISLIP         NY     11795‐2609
HEIN, HERB              4225 MILLER RD # 190                                                                      FLINT              MI     48507
HEIN, JANICE D          645 CURWOOD ROAD                                                                          OWASSO             MI     48867
HEIN, JOSEPH E          1303 CHERRY HILLS DR                                                                      SUN CITY CENTER    FL     33573‐5142
HEIN, JOSEPH F          3640 PRAIS ST                                                                             STEVENS POINT      WI     54481‐2357
HEIN, JUSTINE M         11093 HOME SHORE DR                                                                       PINCKNEY           MI     48169‐9562
HEIN, KEITH D           1002 EUGENIA DR                                                                           MASON              MI     48854‐2006
HEIN, KEVIN P           389 TANBARK DR                                                                            DIMONDALE          MI     48821
HEIN, KURT B            816 WEYBRIDGE LN                                                                          KELLER             TX     76248‐8714
HEIN, LAWRENCE D        4062 S PINE DELL DR                                                                       LANSING            MI     48911‐6129
HEIN, LILLIAN E         11967 SHENANDOAH DR # 1311                                                                SOUTH LYON         MI     48178
HEIN, MARGARET E        4035 WILSHIRE LN                                                                          JANESVILLE         WI     53546‐2006
HEIN, MARLO D           950 HEATHER LAKE DR                                                                       CLARKSTON          MI     48348‐3650
HEIN, MARY L            330 SOUTH CLARE AVENUE                                                                    HARRISON           MI     48625‐9486
HEIN, MATTHEW S         2520 N 131ST ST                                                                           KANSAS CITY        KS     66109‐3327
HEIN, MICHAEL D         13852 DEVONSHIRE LANE                                                                     GRAND HAVEN        MI     49417‐8523
HEIN, NANCY J           41254 BAYHAVEN DR                                                                         HARRISON           MI     48045‐1433
                                                                                                                  TOWNSHIP
HEIN, NORMA J           30729 MAYFLOWER ST                                                                        ROSEVILLE         MI      48066‐1439
HEIN, NORMAN G          3644 SUMMERTOWN HWY                                                                       SUMMERTOWN        TN      38483‐5141
HEIN, NORMAN L          34583 FOUNTAIN BLVD                                                                       WESTLAND          MI      48185‐9435
HEIN, ORVILLE K         5140 MARSHALL RD                                                                          DAYTON            OH      45429‐5814
HEIN, PAUL D            221 SANDSTONE DR                                                                          MARQUETTE         MI      49855‐5200
HEIN, RAY W             438 E MAIN ST                                                                             OWOSSO            MI      48867‐3139
HEIN, ROBERT L          3219 W PROVINCIAL LN                                                                      BELOIT            WI      53511‐8849
HEIN, ROBERT V          1519 HUNTERS GLN                                                                          ZIONSVILLE        IN      46077‐3828
HEIN, RONALD P          8638 WINTERGREEN ST                                                                       LANSING           MI      48917‐8801
HEIN, RONALD R          38126 WALNUT ST                                                                           ROMULUS           MI      48174‐1041
HEIN, RUTH              40 LAUREL LAKE DRIVE                                                                      HUDSON            OH      44236‐2158
HEIN, TIMOTHY G         550 LAGUNA CT                                                                             WOLVERINE LAKE    MI      48390‐2005
HEIN, WILLIAM R         7306 OSAGE DR                                                                             BAYONET POINT     FL      34667‐2237
HEINBAUGH, ADA ELAINE   5888 LAKE CIRCLE DR.                                                                      FAIRFIELD         OH      45014‐4447
HEINBAUGH, WALTER L     6199 MORRIS RD                                                                            HAMILTON          OH      45011
HEINBUCK, GEORGIA J     5150 REMINGTON DR                                                                         LAPEER            MI      48446‐8062
HEINBUCK, HARLEY        6193 WOODCOCK CT                                                                          WASHINGTON        MI      48094‐2890
HEINBUCK, HAROLD        5150 REMINGTON DR                                                                         LAPEER            MI      48446‐8062
HEINCELMAN, RAYMOND G   1800 WOOLEY ROAD                                                                          OXFORD            MI      48371‐3320
HEINDL JR, ARTHUR J     5081 FALLS RD                                                                             LEWISBURG         OH      45338‐9766
HEINDL LUDWIG           N╓RDLICHE STADTMAUERSTR. 10B                                                              ERLANGEN                  91054
HEINDL LUDWIG           N╓RDLICHE STADTMAUERSTR. 10B   91054 ERLANGEN
HEINDL, KIMBERLY M      4499 HARRISON ST                                                                          LEWISBURG         OH      45338‐9745
HEINDL, THOMAS R        90 YATES ST                                                                               ROCHESTER         NY      14609‐2227
HEINDRYCKX, WALTER H    26829 W CARNEGIE PARK DR                                                                  SOUTHFIELD        MI      48034‐6169
HEINE ALLEN             902 S 7TH AVE                                                                             WAUCHULA          FL      33873‐3310
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Name                          Address1                         Address2            Address3         Address4                 City               State Zip
HEINE STEPHEN L (463872)      SIMMONS FIRM                     PO BOX 559                                                    WOOD RIVER           IL 62095‐0559
HEINE, AUDREY M               9950 BARDMOOR CT                                                                               NORTH FORT MYERS    FL 33903‐9047

HEINE, BEATRICE J.            26 DEER RIDGE CT                                                                               GETZVILLE          NY   14068‐1292
HEINE, BEVERLY J              704 WINDSOR DR                                                                                 LODI               CA   95240‐5232
HEINE, CARMELIA L             7 MICHAEL CIR APT 107                                                                          JOHNSTOWN          NY   12095‐1850
HEINE, CHRISTINE A            7495 E COMBS RD                                                                                MERRITT            MI   49667‐9735
HEINE, CHRSITINE A            7495 E COMBS RD                                                                                MERRITT            MI   49667‐9735
HEINE, CYNTHIA L              322 E SCOTT ST                                                                                 GRAND LEDGE        MI   48837‐1736
HEINE, DARREL K               11058 BARE DR                                                                                  CLIO               MI   48420‐1538
HEINE, DARREL K.              11058 BARE DR                                                                                  CLIO               MI   48420‐1538
HEINE, EDWARD A               7495 E COMBS RD                                                                                MERRITT            MI   49667‐9735
HEINE, FLORENCE M             4922 LOUD DAM RD                                                                               GLENNIE            MI   48737‐9423
HEINE, HEIDI S                6507 N HULSTATT DR                                                                             MILTON             WI   53563‐8507
HEINE, JAMES A                3330 WESTMINSTER RD                                                                            JANESVILLE         WI   53546‐9651
HEINE, JOHN P                 1050 THAYER ROAD                                                                               ORTONVILLE         MI   48462‐8932
HEINE, JOHN W                 1666 OUELETTE AVE 103                                                 WINDSOR ON CANADA N8X‐
                                                                                                    4V2
HEINE, LEIGHANN               8546 PALOMA CRK                                                                                SAN ANTONIO        TX   78249
HEINE, NICHOLAS J             12904 COCOPLUM CT                                                                              FORT WAYNE         IN   46814‐8892
HEINE, NICHOLAS JAMES         12904 COCOPLUM CT                                                                              FORT WAYNE         IN   46814‐8892
HEINE, PAUL L                 64 COUNTRY FIELD DR                                                                            CAMDEN             DE   19934‐1772
HEINE, RALPH J                13026 LANARK PL                                                                                FORT WAYNE         IN   46814‐8848
HEINE, RICHARD J              9584 PHILLIPS RD                                                                               HOLLAND            NY   14080‐9648
HEINE, RICHARD JOSEPH         9584 PHILLIPS RD                                                                               HOLLAND            NY   14080‐9648
HEINE, STEPHEN L              SIMMONS FIRM                     PO BOX 559                                                    WOOD RIVER         IL   62095‐0559
HEINE, VERONICA H             PO BOX 474                                                                                     HEREFORD           AZ   85615‐0474
HEINE, WALTER A               2474 E LAKE RD                                                                                 CLIO               MI   48420‐2604
HEINECKE, BRENT C             2323 GROVE PARK RD                                                                             FENTON             MI   48430‐1441
HEINECKE, CARL                4913 FAIR ELMS AVE                                                                             WESTERN SPRGS      IL   60558‐1712
HEINECKE, HILDEGARDE M        15731 19 MILE RD.                                                                              CLINTON TOWNSHIP   MI   48038

HEINECKE, RONALD E            15 BROWNSHADE DR                                                                               GLEN BURNIE        MD   21061‐3362
HEINEKEN USA INC              360 HAMILTON AVE                                                                               WHITE PLAINS       NY   10601
HEINEKEN USA, INC.            CHRIS ZELLIN                     360 HAMILTON AVE.                                             WHITE PLAINS       NY   10601
HEINEL, BERNICE               5 ALCOTT DR                                                                                    WILMINGTON         DE   19808‐3701
HEINEL, LARRY H               2323 HAMMOND PL                                                                                WILMINGTON         DE   19808‐4538
HEINEMAN, ARTHUR R            19214 WAKENDEN                                                                                 REDFORD            MI   48240‐1445
HEINEMAN, CHARLES E           PO BOX 5060                                                                                    MANSFIELD          OH   44901‐5060
HEINEMAN, EUNICE E            8744 E CRESTWOOD WAY                                                                           SCOTTSDALE         AZ   85250‐6766
HEINEMAN, LISA A              4077 DACK AVE                                                                                  GRAND ISLAND       NE   68803‐1115
HEINEMAN, MICHAEL W           393 WILDFLOWER LN                                                                              LAPEER             MI   48446‐7655
HEINEMAN, PAUL E              3443 RICHMOND ST                                                                               WATERFORD          MI   48328‐1421
HEINEMAN, SHIRLEY E           303 SKYLINE DR                                                                                 COHUTTA            GA   30710‐9353
HEINEMAN, TERRANCE L          3391 TERRY ST                                                                                  SAGINAW            MI   48604‐1725
HEINEMAN‐C‐HUGHES, SUSAN M.   583 W GLEN DR                                                                                  BOARDMAN           OH   44512‐1943
HEINEMAN‐C‐HUGHES, SUSAN M.   583 WEST GLEN DR                                                                               BOARDMAN           OH   44512‐1943
HEINEMANN DENNIS G            3007 CHARLOTTE ST                                                                              THOUSAND OAKS      CA   91320‐4448
HEINEMANN, DAVID W            132 S PATTON AVE                                                                               ARLINGTON HTS      IL   60005‐1656
HEINEMANN, DENNIS G           3007 CHARLOTTE ST                                                                              THOUSAND OAKS      CA   91320‐4448
HEINEMANN, JEAN A             4808 PAVALION DR                                                                               KOKOMO             IN   46901‐3651
HEINEMANN, JEANNE H.          104 OLD RTE 518 E                                                                              LAMBERTVILLE       NJ   08530‐2619
HEINEMANN, JEANNE H.          104 OLD 518‐E                                                                                  LAMBERTVILLE       NJ   08530‐2619
HEINEMANN, JOHN C             5030 CEDAR SPRINGS DR APT 201                                                                  NAPLES             FL   34110‐3312
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Name                             Address1                            Address2                       Address3   Address4               City             State   Zip
HEINEMANN, SANDY S               3113 STATE ROAD 580 LOT 286                                                                          SAFETY HARBOR     FL     34695‐5923
HEINEMEIER, THOMAS               54221 VERONA PARK DR                                                                                 MACOMB            MI     48042‐5799
HEINEN TRAVER                    HEINEN, TRAVER                      124 SECOND AVE NE                                                HILLSBORO         ND     58045‐4512
HEINEN, ANNIE M.                 2405 SOUTH 165TH ST                                                                                  OMAHA             NE     68130‐1636
HEINEN, ANNIE M.                 2405 S 165TH ST                                                                                      OMAHA             NE     68130‐1636
HEINEN, MARK L                   3303 N 154TH TER                                                                                     BASEHOR           KS     66007‐9515
HEINEN, ROSE                     BIFFERATO GENTILOTTI & BIDEN        PO BOX 2165                                                      WILMINGTON        DE     19899‐2165
HEINEN, RUSSEL H                 2712 CATALINA DR                                                                                     ANDERSON          IN     46012‐4706
HEINEN, TRAVER                   503 COLUMBIA AVE 4                                                                                   MORRIS            MN     56267
HEINEN, VELMA CHANTAL
HEINER
HEINER STEFFEN                   1316 RESERVOIR RD                                                                                    BELLEFONTAINE    OH      43311‐2765
HEINES, RICHARD F                460 ARBOR DRIVE                                                                                      ORTONVILLE       MI      48462
HEINES,RICHARD F                 460 ARBOR DRIVE                                                                                      ORTONVILLE       MI      48462
HEINEY, CHARLES K                8520 ASH DR                                                                                          NINEVEH          IN      46164‐9164
HEINEY, DONALD L                 PO BOX 2051                                                                                          ANDERSON         IN      46018‐2051
HEINEY, LINDA M                  2116 AMY ST                                                                                          BURTON           MI      48519‐1108
HEINEY, MONA CHARLENE            2957 S CONSERVATION CLUB RD                                                                          MORGANTOWN       IN      46160‐9375
HEINEY, ROBERT                   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW          MI      48604‐2602
                                                                     260
HEINI, EVA E                     PO BOX 63                           38 GUSTER LN                                                     TRANSFER          PA     16154‐0063
HEINICH IVENS                    IGELWEG 8                           D‐25421 PINEBERG
HEINICKE, CHARLES E              226 N MAIN ST                                                                                        KENT CITY         MI     49330‐9111
HEINICKE, DAVID W                746 COVELL AVE NW                                                                                    GRAND RAPIDS      MI     49504‐4846
HEINICKE, LORRAINE M             17 HARRIGAN RD                                                                                       HOPEWELL          NY     12533‐5928
                                                                                                                                      JUNCTION
HEINIG, EDWARD E                 4938 W WILLOW HWY                                                                                    LANSING          MI      48917‐1559
HEINIG, STEVEN E                 4247 E KINSEL HWY                                                                                    CHARLOTTE        MI      48813‐9742
HEINIG, WILLARD C                7016 LANGE RD                                                                                        FOWLERVILLE      MI      48836‐9258
HEINIGER, JERRY D                4409 MOUNDS RD                                                                                       ANDERSON         IN      46017‐1840
HEINIGER, JON T                  237 KOLSONS LANDING DR                                                                               SOMERSET         KY      42503
HEINING, FRANK J                 1956 KAREN AVE                                                                                       SAINT CLAIR      MI      48079‐5563
HEINING, FRANK JOSEPH            1956 KAREN AVE                                                                                       SAINT CLAIR      MI      48079‐5563
HEININGER HOLDINGS, LLC, D/B/A   JEFFREY V. HEININGER                2222 QUEEN ST                                                    BELLINGHAM       WA      98229‐4753
HEININGER AUTOMOTIVE
HEINISH JR, GEORGE               12224 THE BLF                                                                                        STRONGSVILLE     OH      44136‐3521
HEINITSH E WOODSON               3528 KENT ST                                                                                         FLINT            MI      48503‐4510
HEINITSH WOODSON                 3528 KENT ST                                                                                         FLINT            MI      48503‐4510
HEINITZ, DELORES                 18149 GRATIOT RD                                                                                     HEMLOCK          MI      48626‐8609
HEINITZ, MICHAEL R               18149 GRATIOT RD                                                                                     HEMLOCK          MI      48626‐8609
HEINITZ, ROBERT M                18149 GRATIOT RD                                                                                     HEMLOCK          MI      48626‐8609
HEINKE, KATHLEEN M               7192 THUNDERING HERD PL                                                                              DAYTON           OH      45415‐1267
HEINL, CATHERINE M               5118 DOLORES DR                                                                                      PITTSBURGH       PA      15227‐3604
HEINLE JANE M ESTATE OF          222 AVON RD                                                                                          TONAWANDA        NY      14150‐8406
HEINLE JR, HENRY G               PO BOX 1334                                                                                          POLK CITY        FL      33868‐1334
HEINLE, GARY K                   168 ZIMMERMAN BLVD                                                                                   KENMORE          NY      14223‐1020
HEINLE, SCOTT K                  14435 WOODMOUNT DR                                                                                   BROOKFIELD       WI      53005‐2345
HEINLEIN                         1414 MIDLAND RD                     C.L. HEINLEIN REPORTING                                          SAGINAW          MI      48638‐4330
HEINLEIN AWNING CO               1023 S FRANKLIN ST                                                                                   SAGINAW          MI      48601‐2516
HEINLEIN JAMES (463559)          COHAN LAWRENCE R                    1900 DELANCEY PLACE , 1710                                       PHILADELPHIA     PA      19103
                                                                     SPRUCE ST
HEINLEIN JR, EDWARD J            460 MIMOSA BEACH DR                                                                                  CLIMAX SPRINGS   MO      65324‐2412
HEINLEIN, BARBARA S              3012 PALMER ST                                                                                       LANSING          MI      48910‐2921
HEINLEIN, DELBERT J              2868 DURUSSEL DR                                                                                     REESE            MI      48757‐9330
                                  09-50026-mg              Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                              Address1                          Address2                           Address3   Address4                  City              State Zip
HEINLEIN, DOROTHY E               P O BOX 297                                                                                               MARDELA SPRINGS    MD 21837‐0297

HEINLEIN, DOROTHY E               PO BOX 297                                                                                                MARDELA SPRINGS   MD   21837‐0297

HEINLEIN, ELMER R                 255 MAYER RD APT 355                                                                                      FRANKENMUTH       MI   48734‐1370
HEINLEIN, GREGORY J               2868 DURUSSEL ROA                 D                                                                       REESE             MI   48757
HEINLEIN, JAMES                   COHAN LAWRENCE R                  1900 DELANCEY PLACE, 1710 SPRUCE                                        PHILADELPHIA      PA   19103
HEINLEIN, SANDRA E                26 LAUREN KNOLL COURT                                                                                     BALDWIN           MD   21013‐9656
HEINLEIN, THERESA M               9395 FARRIER RD                                                                                           HILLMAN           MI   49746‐8760
HEINLEIN, THOMAS G                3133 VILLAGE CIR DR                                                                                       ANN ARBOR         MI   48108
HEINLEIN, THOMAS GERALD           3133 VILLAGE CIR DR                                                                                       ANN ARBOR         MI   48108
HEINLEN, BERA                     1020 WARWICK PLACE                                                                                        DAYTON            OH   45419‐3725
HEINMILLER, RUBY P                15671 S HILLSIDE ST APT 2300                                                                              OLATHE            KS   66062‐7094
HEINMOELLER, KARL W               315 KENNELY RD UNIT B25                                                                                   SAGINAW           MI   48609‐6712
HEINO PAJUR                       9513 STELZER RD                                                                                           HOWELL            MI   48855‐9388
HEINO, ARLEN T                    16902 SURREY ST                                                                                           LIVONIA           MI   48154‐2759
HEINO, ROGER E                    9870 CIMA MESA RD                                                                                         JUNIPER HILLS     CA   93543‐3634
HEINOLD & FELLER TIRE             1707 LINCOLNWAY                                                                                           VALPARAISO        IN   46383‐5831
HEINOLD, CATHERINE U              8 KILMER CT                                                                                               CINNAMINSON       NJ   08077‐4085
HEINOLD, PAUL B                   206 FORBES AVE                                                                                            TONAWANDA         NY   14150‐4704
HEINONEN, CLARENCE A              1306 SOMERSET AVE                                                                                         GROSSE POINTE     MI   48230‐4422
HEINONEN, ELWOOD H                11752 MORAN ST                                                                                            HAMTRAMCK         MI   48212‐4118
HEINONEN, GARY W                  2504 CROFTHILL DR                                                                                         AUBURN HILLS      MI   48326‐3517
HEINONEN, NANCY M                 2908 SPRING OAK CT                                                                                        PALM HARBOR       FL   34684
HEINONEN, RAYMOND J               1660 OLD M28                                                                                              TROUT CREEK       MI   49967‐9472
HEINONEN, RAYMOND JOHN            1009 RIO DR                                                                                               GRAND BLANC       MI   48439‐8381
HEINRICH & GUDRUN JAKOBI          ZUR HOHE 4                                                                      35066 FRANKENBERG
                                                                                                                  GERMANY
HEINRICH AND HILDEGARD ASCHHOFF   EHELEUTE                          DAIMLERRING 8A                                59269 BECKUM GERMANY
HEINRICH AND MARITA MENGEL        REISBERGSTRASSE 10                                                              35119 ROSENTHAL GERMANY

HEINRICH AND URSULA RICHARDT      SCHULGASSE 1                                                                    34628 WILLINGSHAUSEN
                                                                                                                  GERMANY
HEINRICH ASCHHOFF                 DAIMLERRING 8A                    59269 BECKUM                       GERMANY
HEINRICH BERG                     75 DELAWARE AVE                                                                                           ROCHESTER         NY   14623‐1023
HEINRICH BRAUN                    SCHANNENBACHER WEG 10                                                           64625 BENSHEIM GERMANY
HEINRICH BUCK                     338 GEORGE URBAN BLVD                                                                                     CHEEKTOWAGA       NY   14225‐3127
HEINRICH CHEVROLET CORP.          CHARLES HEINRICH                  5775 S TRANSIT RD                                                       LOCKPORT          NY   14094‐5811
HEINRICH CHEVROLET CORP.          5775 S TRANSIT RD                                                                                         LOCKPORT          NY   14094‐5811
HEINRICH CHEVROLET CORPORATION    5775 S TRANSIT RD                                                                                         LOCKPORT          NY   14094‐5811
HEINRICH DETTMANN                 1753 ROYAL PALM WAY EAST LAKE                                                                             HOLLYWOOD         FL   33020
HEINRICH EHRENBRUCH               W╓PSER STEINKUHLE 3               D‐27305 BRUCHHAUSEN‐VILSEN
HEINRICH ENTERPRISES INC          4080 MILLER RD                                                                                            FLINT             MI   48507
HEINRICH GILLET GMBH              TENNECO                           LUITPOLDSTR 83                                EDENKOBEN 67480 GERMANY

HEINRICH GILLET GMBH & CO KG      LUITPOLDSTR 83                                                                  EDENKOBEN RP 67480
                                                                                                                  GERMANY
HEINRICH GLEIM                    205 GEORGE ST                                                                                             NORTH SYRACUSE    NY   13212‐1311
HEINRICH GRIMM                    QUANTENBERG 39                                                                  40822 METTMANN GERMANY
                                                                                                                  (DE)
HEINRICH HESS                     311 PRYOR AVE                                                                                             TONAWANDA         NY   14150‐7432
HEINRICH HOEGERLE                 9 FAIRCHILD PL                                                                                            BUFFALO           NY   14216‐2724
HEINRICH HOLZINGER                1205 ELIDA ST                                                                                             JANESVILLE        WI   53545‐1807
HEINRICH JACK B (456107)          WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                         NEW YORK          NY   10038
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Name                              Address1                         Address2                         Address3            Address4                    City           State Zip
HEINRICH JAKOBI                   ZUR H╓HE 4                       35066 FRANKENBERG
HEINRICH JOHN B (176643)          BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG , 233 EAST                                                   JACKSONVILLE    FL   32202
                                  MCCLAMMA & YEGELWEL P.A.         BAY STREET
HEINRICH JR, CARL T               412 OAKVIEW DR                                                                                                    KETTERING      OH    45429‐2820
HEINRICH KANTHAK                  ALSBACHER STRASSE 39             64242 SEEHEIM‐JUGENHEIM
HEINRICH KROBBACH                 USINGER STR. 6                   D‐60389 FRANKFURT
HEINRICH KURTZ                    48135 MANORWOOD DR                                                                                                NORTHVILLE      MI   48168‐8479
HEINRICH MORWEISER                ODENWALDSTRA E 32                                                                     D‐76661 PHILIPPSBURG
                                                                                                                        GERMANY
HEINRICH NEUBERGER                AUSSENLIEGENDE GEBOUDE 7                                                              55270 ENGELSTADT
                                                                                                                        GERMANY
HEINRICH OBERLACK                 PFANNENSTRASSE 15                                                                     41516 GREVENBROICH
                                                                                                                        GERMANY
HEINRICH OBERLACK                 PFANNESTR. 15                                                                                                     GREVENBROICH         41516
HEINRICH OBERLACK                 PFANNENSTR. 15                   41516 GREVENBROICH
HEINRICH PFIRSCHING               JOHANNES NENNING                 DORF 90                                              6764 LECH AUSTRIA
HEINRICH REICHERT                 28265 WALKER AVE                                                                                                  WARREN          MI   48092‐2542
HEINRICH RID                      AM STAUSEE 19                    D‐87763 LAUTRACH
HEINRICH RYNKO                    C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                                        HOUSTON         TX   77007
                                  BOUNDAS LLP
HEINRICH SAHRMANN                 STOLZINGSTRASSE 116                                                                   95445 BAYREUTH GERMANY
HEINRICH SCH▄TZ                   SEIFERSTETTERSTRASSE 27                                                               D 86899 LANDSBERG
                                                                                                                        GERMANY
HEINRICH TEUSCHEL                 FINKENWEG 25                                                                                                      WIESLOCH        DE   68169
HEINRICH U IRENE TEUSCHEL         FINKENWEG 25                                                                          D‐69168 WIESLOCH GERMANY

HEINRICH U MARTHA EHRENBRUCH      WOEPSER STEINKUHLE 3                                                                  D‐27305 BRUCHHAUSEN‐
                                                                                                                        VILSEN GERMAN
HEINRICH U. EDITH KANTHAK         ALSBACHER STRA▀E 39
HEINRICH U. EDITH KANTHAK         ALSBACHER STRASSE 39                                                                                                              DE
HEINRICH U. MARTHA EHRENBRUCH     W╓PSER STEINKUHLE 3              D‐27305 BRUCHHAUSEN‐VILSEN
HEINRICH U. MARTHA EHRENBRUCH     WOEPSER STEINKUHLE 3             D‐27305 BRUCHHAUSEN‐VILSEN
HEINRICH UND BARBARA BRANDT       ZU DEN VIER FLOETHEN 12                                                                                           METTMANN             40822
HEINRICH UND HILDEGARD ASCHHOFF   DAIMLERRING 8 A                                                                                                   BECKUM          DE   59269
HEINRICH UND HILDEGARD ASCHHOFF   DAIMLERRING 8A
HEINRICH UND HILDEGARD ASCHHOFF   DAIMLERRING 8A                   59269 BECKUM
HEINRICH WAGNER                   3 MEAD AVE                                                                                                        MIDDLESEX       NJ   08846‐2340
HEINRICH WEINGART                 BENDERSTR. 50                                                                         D‐40625 DUESSELDORF
                                                                                                                        GERMANY
HEINRICH WEINGART                 BENDERSTR. 50                    D‐40625 DUESSELDORF
HEINRICH WEISS                    AARGAUISCHE KANTONALBANK         ISFS / ERICH BUSER               BAHNHOFSTRASSE 58   CH‐5000 AARAU
                                                                                                                        SWITZERLAND
HEINRICH, AGNES                   14415 ULYSSES DR                                                                                                  HUDSON         FL    34667‐1297
HEINRICH, ALICE E                 482 S BRYAR ST                                                                                                    WESTLAND       MI    48186‐3833
HEINRICH, ALICE E                 482 BRYAR                                                                                                         WESTLAND       MI    48186‐3833
HEINRICH, BRUCE M                 8589 COOLEY BEACH DR                                                                                              WHITE LAKE     MI    48386‐4318
HEINRICH, CARL M                  2409 FRUIT ST                                                                                                     CLAY           MI    48001‐4808
HEINRICH, CHARLOTTE K             12505 RUGGS LAKE RD                                                                                               EVERETT        WA    98208
HEINRICH, DAVID                   5934 KINGFISHER LN                                                                                                CLARKSTON      MI    48346‐2943
HEINRICH, DENNIS H                1115 CHESTER RD APT 3                                                                                             LANSING        MI    48912‐4827
HEINRICH, DONALD J                10 MUSTANG DR                                                                                                     O FALLON       MO    63366‐2988
HEINRICH, DONNA M                 168 MILL SPGS                                                                                                     COATESVILLE    IN    46121‐8947
HEINRICH, ELDON M                 953 SYMMES RD                                                                                                     FAIRFIELD      OH    45014‐1841
HEINRICH, ELEANOR E               15100 GROVE RD                                                                                                    LANSING        MI    48906‐9301
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Name                            Address1                             Address2                        Address3   Address4                 City              State   Zip
HEINRICH, ELIZABETH M.          11603 WHISPER DEW                                                                                        SAN ANTONIO        TX     78230‐3533
HEINRICH, ERNESTINE Y           1756 HANES RD                                                                                            DAYTON             OH     45432‐2447
HEINRICH, GERALD W              5709 CRANSTON ST                                                                                         PORTAGE            MI     49002‐2223
HEINRICH, GLENN JR H            22671 PLEASANT VALLEY RD                                                                                 HILLMAN            MI     49746‐8501
HEINRICH, H R                   809 W BAKER AVE                                                                                          CLAWSON            MI     48017‐1465
HEINRICH, JACK B                OSHEA ROBERT LAW OFFICES OF          1818 MARKET ST STE 3520                                             PHILADELPHIA       PA     19103‐3636
HEINRICH, JACK B                WEITZ & LUXENBERG P.C.               180 MAIDEN LANE                                                     NEW YORK           NY     10038
HEINRICH, JAMES B               250 FIVEPINES CT                                                                                         CLAYTON            OH     45315‐9636
HEINRICH, JAMES D               7335 MADISON AVE                                                                                         STANWOOD           MI     49346‐8347
HEINRICH, JIMMIE D              1538 S VIRGINIA AVE                                                                                      MARION             IN     46953‐1048
HEINRICH, JOHN B                BROWN TERRELL HOGAN ELLIS            804 BLACKSTONE BLDG, 233 EAST                                       JACKSONVILLE       FL     32202
                                MCCLAMMA & YEGELWEL P.A.             BAY STREET
HEINRICH, JULIE A               180 E PINEVIEW DR                                                                                        SAGINAW           MI      48609‐9420
HEINRICH, KENNETH O             3163 BIRCHWOOD AVE SW                                                                                    WYOMING           MI      49548‐1023
HEINRICH, LARRY B               3663 CANYON DR                                                                                           SAGINAW           MI      48603
HEINRICH, LAURA                 530 D GRAND ST APT7A                                                                                     NEW YORK          NY      10013
HEINRICH, LISA A                3663 CANYON DR                                                                                           SAGINAW           MI      48603‐1963
HEINRICH, MARK J                2033 AVONSTOKE RD                                                                                        ROCHESTER HILLS   MI      48307‐3701
HEINRICH, PAMELA S              412 OAKVIEW DR                                                                                           KETTERING         OH      45429‐2820
HEINRICH, PAUL                  11491 VINSON LN                                                                                          EMMETT            MI      48022‐2512
HEINRICH, PAUL                  30812 BLAIRMOOR DR                                                                                       MADISON HEIGHTS   MI      48071‐2182

HEINRICH, PAUL F                958 WILTSHIRE CT                                                                                         SALINE             MI     48176‐1086
HEINRICH, PAULA                 BEASLEY DAVID J                      1214 E ROBINSON ST                                                  ORLANDO            FL     32801‐2116
HEINRICH, PAULINE               13845 AUTUMN DRIVE                   P.O. BOX 121                                                        ONAWAY             MI     49765‐0121
HEINRICH, PAULINE               PO BOX 121                           13845 AUTUMN DRIVE                                                  ONAWAY             MI     49765‐0121
HEINRICH, ROBERT P              2128 S 59TH ST                                                                                           WEST ALLIS         WI     53219‐1549
HEINRICH, SEBASTIAN             12745 S SAGINAW ST                   ST 806                                                              GRAND BLANC        MI     48439‐2438
HEINRICH, WILLIAM I             1249 CLOVERWOOD DR                                                                                       WEBSTER            NY     14580‐9402
HEINRICH, WILLIS W              18661 LIVESTOCK RD APT 2                                                                                 BELLE FOURCHE      SD     57717‐6930
HEINRICH‐JACOBY/ELSA‐GINDLER‐   TEPLITZER STRASSE 9                                                             14193 BERLIN GERMANY
STIFTUNG
HEINRICHS, DONALD J             7451 SHELBYVILLE RD                                                                                      INDIANAPOLIS      IN      46259‐9768
HEINRICHS, LINDA L              7451 SHELBYVILLE RD                                                                                      INDIANAPOLIS      IN      46259
HEINRICHS, MARGARET             120 ODELL AVE                        C/O MICHAEL MALOTZ                                                  YONKERS           NY      10701‐1408
HEINRICHS, MARTHA A             621 E CARLISLE AVE                                                                                       MILWAUKEE         WI      53217‐4833
HEINRICHS, RUSSELL              P O BOX 61                                                                                               WILD ROSE         WI      54984
HEINRICHS, WILLIAM D            5623 NW 82ND ST                                                                                          KANSAS CITY       MO      64151‐5115
HEINRICY, JOHN W                8850 TIPSICO LAKE RD                                                                                     HOLLY             MI      48442‐8942
HEINRICY, JOHN W                201 STONEBROOKE CT                                                                                       ROYAL OAK         MI      48067‐3279
HEINRITZ, JAMES M               262 COMDEN DR                                                                                            SIX LAKES         MI      48886‐8707
HEINROCKET INC                  ATTN: CORPORATE OFFICER/AUTHORIZED   8850 TIPSICO LAKE RD                                                HOLLY             MI      48442‐8946
                                AGENT
HEINS WAYNE D (493831)          GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA     23510
                                                                     STREET, SUITE 600
HEINS WILLIAM W (355031)        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA     23510
                                                                     STREET, SUITE 600
HEINS, DALLAS R                 805 N BLOCK RD                                                                                           REESE             MI      48757‐9355
HEINS, DANIEL L                 20617 MISSOURI CITY RD                                                                                   LIBERTY           MO      64068‐8543
HEINS, DONNA G                  3020 COLQUITT RD APT 1105                                                                                SHREVEPORT        LA      71118
HEINS, GREGORY F                30104 APPLE GROVE WAY                                                                                    FLAT ROCK         MI      48134
HEINS, JANET D                  230 MICHAEL RD                                                                                           LAPEER            MI      48446‐9486
HEINS, PAULINE K                7812 WEST 90TH TERRACE                                                                                   OVERLAND PARK     KS      66212‐2108
HEINS, ROBERT D                 8910 KINLOCH                                                                                             REDFORD           MI      48239‐1827
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Name                                 Address1                       Address2                      Address3         Address4                  City                 State Zip
HEINS, RONALD O                      482 RICHMOND DR                                                                                         HOPE                  MI 48628‐9723
HEINS, WAYNE D                       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                              NORFOLK               VA 23510
                                                                    STREET, SUITE 600
HEINS, WILLIAM W                     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                              NORFOLK              VA   23510‐2212
                                                                    STREET, SUITE 600
HEINSELMAN, CREGG A                  PO BOX 455                                                                                              NILES                OH   44446‐0455
HEINSELMAN, DAVID P                  191 IDAHO RD                                                                                            YOUNGSTOWN           OH   44515‐2621
HEINSELMAN, DAVID P.                 191 IDAHO RD                                                                                            YOUNGSTOWN           OH   44515‐2621
HEINSELMAN, E A                      1511 RAVINE CT                                                                                          NILES                OH   44446‐3745
HEINSLER, DORIS M                    2260 LAKE AVE.                 BLDG 4                        APT.#4303                                  ROCHESTER            NY   14612
HEINSOHN, MARGURETTE E               9441 NE 30TH CIR                                                                                        VANCOUVER            WA   98662‐7819
HEINTICH ERICH & ASTRID PFIRSCHING   WERNER V CREMER                VEREIDIGTER BUCHPRUFER        SCHIFFERSTR 29   60584 FRANKFURT AM MAIN
                                                                    STEUERBERATER                                  GERMANY
HEINTSKILL, JULIE                    2433 MIDLAND RD                                                                                         BAY CITY             MI   48706‐9469
HEINTSKILL, RICHARD F                2003 S JACKSON ST                                                                                       BAY CITY             MI   48708‐8713
HEINTSKILL, ROBERT J                 881 N SCHEURMANN RD                                                                                     ESSEXVILLE           MI   48732
HEINTSKILL, THOMAS A                 703 W JOHN ST                                                                                           BAY CITY             MI   48706‐4283
HEINTZ, BARRY T                      18224 ELDER DR                                                                                          CONKLIN              MI   49403‐9574
HEINTZ, BARRY TOLAN                  18224 ELDER DR                                                                                          CONKLIN              MI   49403‐9574
HEINTZ, EARL F                       316 N MAIN ST                                                                                           EATON RAPIDS         MI   48827‐1034
HEINTZ, GARY D                       29 APPALOOSA CT                                                                                         WENTZVILLE           MO   63385‐4514
HEINTZ, GEORGE E                     7243 SPIETH RD                                                                                          MEDINA               OH   44256‐8956
HEINTZ, JOHN H                       4978 W CROSSINGS                                                                                        SAGINAW              MI   48603‐8710
HEINTZ, JOHN T                       3650 DALE RD                                                                                            SAGINAW              MI   48603‐3130
HEINTZ, JOHN THOMAS                  3650 DALE RD                                                                                            SAGINAW              MI   48603‐3130
HEINTZ, MARK P                       892 CHATHAM DR                                                                                          MILFORD              MI   48381‐2783
HEINTZ, MARTIN M                     11158 E ATHERTON RD                                                                                     DAVISON              MI   48423‐9200
HEINTZ, MILDRED J                    316 N MAIN ST                                                                                           EATON RAPIDS         MI   48827‐1034
HEINTZ, NORMAN D                     500 W 28TH ST LOT 79                                                                                    YUMA                 AZ   85364
HEINTZ, ROBERT A                     8240 ROXBOROUGH LOOP                                                                                    GAINESVILLE          VA   20155‐3207
HEINTZ, ROBERT E                     914 LAKECREST DR                                                                                        SENECA               SC   29672‐7096
HEINTZ, ROBERT S                     38 LOCUST AVE                                                                                           DUMONT               NJ   07628‐3515
HEINTZELMAN, ALBERT A                211 JOLIET AVE                                                                                          HOUGHTON LAKE        MI   48629‐9158
HEINTZELMAN, ARNOLD L                2970 PLEASANT GROVE RD                                                                                  LANSING              MI   48910‐2302
HEINTZELMAN, BARBARA J               104 SANDIA DR                                                                                           CLOVIS               NM   88101‐4211
HEINTZELMAN, CECIL W                 4635 DEEPWOOD CT SW                                                                                     WYOMING              MI   49519‐4917
HEINTZELMAN, DALE L                  2749 RUSSELL DR                                                                                         WAYLAND              MI   49348‐9327
HEINTZELMAN, DOROTHY T               28125 ROY ST                                                                                            SAINT CLAIR SHORES   MI   48081‐1631

HEINTZELMAN, GERALD H                1308 BRICES CREEK RD                                                                                    NEW BERN             NC   28562‐9002
HEINTZELMAN, GLENEDEN A              90 NETTIE AVE                                                                                           LANSING              MI   48906‐2314
HEINTZELMAN, GLENN T                 15940 ELMIRA ST                                                                                         LANSING              MI   48906‐1156
HEINTZELMAN, JANICE E                3705 DUNBAR AVE SW                                                                                      WYOMING              MI   49509‐3902
HEINTZELMAN, JOEL A                  482 S CANAL RD                                                                                          EATON RAPIDS         MI   48827‐9313
HEINTZELMAN, KERMIT N                805 OLD SCARBOROUGH LN                                                                                  GARNER               NC   27529‐5146
HEINTZELMAN, LUCY E                  31172 HARTWICK DR                                                                                       WARREN               MI   48088‐7311
HEINTZELMAN, QUINTON L               303 NARCISSUS DR                                                                                        INDIANAPOLIS         IN   46227‐2600
HEINTZELMAN, ROB                     4326 21ST ST                                                                                            DORR                 MI   49323‐9570
HEINTZELMAN, ROBERT L                4326 21ST ST                                                                                            DORR                 MI   49323‐9570
HEINTZELMAN, ROBERTA K               664 PINNACLE CT                                                                                         MESQUITE             NV   89027‐3315
HEINTZELMAN, SANDRA M                3133 COOPER RD                                                                                          IONIA                MI   48846
HEINTZELMAN, THURMAN C               PO BOX 228                                                                                              SAINT HELEN          MI   48656‐0228
HEINTZELMAN, THURMAN C               9870 GROVER ST PO BOX228                                                                                ST HELEN             MI   48656‐9303
HEINTZELMAN, VINA                    482 SOUTH CANAL ROAD                                                                                    EATON RAPIDS         MI   48827‐9313
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Name                            Address1                            Address2                        Address3                  Address4                  City               State   Zip
HEINTZLEMAN JR, MARK P          1557 W PARK AVE                                                                                                         NILES               OH     44446‐1126
HEINY PATRICIA                  36909 N TERRY DR W                                                                                                      LAKE VILLA           IL    60046‐8261
HEINY, ARZA D                   PO BOX 282                                                                                                              OKEECHOBEE          FL     34973‐0282
HEINY, BRAD A                   19991 STATE ROAD 37 N                                                                                                   NOBLESVILLE         IN     45060‐8588
HEINY, DAVID L                  3072 SOUTH STATE ROAD 13                                                                                                LAPEL               IN     46051‐9740
HEINY, JERRY D                  19991 STATE ROAD 37 N                                                                                                   NOBLESVILLE         IN     46060‐8588
HEINY, JOSEPH C                 789 E HARRISON ST                                                                                                       MARTINSVILLE        IN     46151‐1202
HEINY, LAWRENCE V               PO BOX 666                                                                                                              LAPEL               IN     46051‐0666
HEINY, LOIS L                   2600 W JEFFERSON ST. APT 2505                                                                                           KOKOMO              IN     46901
HEINY, LOUISE M                 329 BURR OAK CT                                                                                                         SPRING HILL         TN     37174‐7503
HEINY, MARK A                   885 WATERMEAD DR                                                                                                        NOBLESVILLE         IN     46062‐8690
HEINY, R K                      329 BURR OAK CT                                                                                                         SPRING HILL         TN     37174‐7503
HEINY, R KENT                   329 BURR OAK CT                                                                                                         SPRING HILL         TN     37174‐7503
HEINY, RUTH S                   683 SUNSET DR                                                                                                           NOBLESVILLE         IN     46060‐1226
HEINZ & EHRENGARD LEENEN        DUNANTSTR 141                                                                                 47906 KEMPEN GERMANY
HEINZ & HELGA GUTH              BAHNHOFSTRASSE 29
HEINZ & HELGA GUTH              BAHNHOFSTRASSE 29                   31542 BAD NENNDORF
HEINZ ALBRECHT                  1825 S CALLE MONTANOSA                                                                                                  GREEN VALLEY        AZ     85622‐1608
HEINZ AND IRMGARD HECKER        ST GEORGENER STR 7                                                                            78048 VILLINGEN‐
                                                                                                                              SCHWENNINGEN GERMANY
HEINZ ANGENVORTH                2795 MARISSA WAY                                                                                                        SHELBY TOWNSHIP     MI     48316‐1297
HEINZ ASSOCIATES INC            444 N NORTHWEST HWY                                                                                                     PARK RIDGE          IL     60068
HEINZ ASSOCIATES INC AS SOLE    BENEFICIARY TRUST 24611             LASALLE NATIONAL BANK TRUSTEE   444 N NORTHWEST HWY STE                             PARK RIDGE          IL     60068
                                                                                                    160
HEINZ BALZUWEIT                 PO BOX 97                                                                                                               VANDALIA           OH      45377‐0097
HEINZ BLATTNER                  VON‐KETTELER‐STR. 6                                                                                                     OBERHAUSEN‐                68794
                                                                                                                                                        RHEINHAUSEN
HEINZ BLECKING                  ANGERMUNDER STRASSE 290                                                                                                 DUISBURG                   47269
HEINZ BOCK                      5562 DRIFTWOOD AVE                                                                                                      LA PALMA            CA     90623‐1821
HEINZ BODEN                     1097 PALM HARBOR DR                                                                                                     LEESBURG            FL     34748‐6755
HEINZ BRENDEN                   DORFSTR 16                                                                                    51580 REICHSHOF GERMANY

HEINZ BRUNS                     DR. SCHEIDSTR 3                                                                               D‐83700 ROTTACH EGERN
                                                                                                                              GERMANY
HEINZ C PRECHTER BIPOLAR RESE   301 E LIBERTY ST STE 400                                                                                                ANN ARBOR          MI      48104‐2266
HEINZ DIPIETRO                  3705 RED GROVE ROAD                                                                                                     MIDDLE RIVER       MD      21220‐3022
HEINZ DITZEL                    ANTON‐BURGER WEG 81                                                                           60599 FRANKFURT GERMANY

HEINZ DITZEL                    ANTON‐BURGER WEG 81                 60599 FRANKFURT MAIN
HEINZ FERBER                    HUGO‐HAASE‐STRASSE 4                                                                          90427 NUERNBERG GERMANY

HEINZ FRANK                     BRUCHHAEUSERSTR.57                  68723 SCHWETZINGEN
HEINZ FREY                      13206 BERESFORD DR                                                                                                      STERLING HEIGHTS    MI     48313‐4120
HEINZ G DORR
HEINZ GEORG TIESLER             ANNEMARIE‐NUTZHORN‐WEG 2            30900 WEDEMARK
HEINZ GEORG TIESLER             ANNEMARIE‐NUTZHORN‐WEG 2            30900                                                                               WEDEMARK            DE
HEINZ GIESERS                   LOBICHENSTR 11                                                                                07422 BAD BLANKENBURG
                                                                                                                              GERMANY
HEINZ GRAPENTIN                 50032 LUDWIG CT                                                                                                         SHELBY TOWNSHIP     MI     48317‐6346
HEINZ GRIES‐SITTUNG             WADENHOF 2                                                                                    56330 KOBEIN‐GONDORF
                                                                                                                              GERMANY
HEINZ GUTH                      BAHNHOFSTR 29                                                                                 31542 BAD NENNDORF
                                                                                                                              GERMANY
HEINZ GUTH                      BAHNHOFSTRA▀E 29
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Name                    Address1                          Address2                    Address3            Address4                  City            State Zip
HEINZ GUTH              BAHNHOFSTRASSE 29                 31542 BAD NENNDORF
HEINZ HAEBERLI          MEIERHOFRAIN 23                                                                                             WAEDENSWIL            8820
HEINZ HAHN              PO BOX 212                                                                                                  MASSENA          NY   13662‐0212
HEINZ HAUK              RUDOLF‐VIRCHOW‐STRASSE 3                                                          D‐67122 ALTRIP GERMANY
HEINZ HEGGLIN           AARGAUISCHE KANTONALBANK          ISFS / ERICH BUSER          BAHNHOFSTRASSE 58   CH‐5000 AARAU
                                                                                                          SWITZERLAND
HEINZ HEINISCH          STHAMERSTR.50                     22397 HAMBURG                                                             HAMBURG               22397
HEINZ HEINISCH          STHAMERSTR 50                     22397 HAMBURG                                   HAMBURG 22397 GERMANY
HEINZ HIRSCH            HAUPTSTRASSE 78                                                                   86482 AYSTETTEN GERMANY

HEINZ ICKERT            943 SW 10TH AVE                                                                                             BOCA RATON      FL    33486‐5469
HEINZ J OFFENBECHER     PO BOX 3022                                                                                                 ALLIANCE        OH    44601‐7022
HEINZ KANTHAK           ALSBACHER STR. 39                 64342 SEEHEIM‐JUGENHEIM     GERMANY
HEINZ KANTHAK           ALSBACHERSTRA▀E 39                D‐64342 SEEHEIM‐JUGENHEIM
HEINZ KIRCHHOLTES       M╓NKESWEG 27                      D‐40670 MEERBUSCH           GERMANY
HEINZ KIRCHHOLTES       MOENKESWEG 27                                                                     D‐40670 MEERBUSCH
                                                                                                          GERMANY
HEINZ KIRCHUER          AW HUEHLEU FALDER 12                                                              50735 KOZLN GERMANY
HEINZ KNACKSTEDT        1234 TIMBER HAWK TRAIL                                                                                      CENTERVILLE     OH    45458
HEINZ KOCH              10355 GREENTRAIL DR N                                                                                       BOYNTON BEACH   FL    33436‐4409
HEINZ KRUEGER           LAURENTIUSSTR. 7                  BONN 53123                  GERMANY
HEINZ KRUEGER           LAURENTIUSSTR. 7                  53123 BONN                  GERMANY
HEINZ LAMBERTZ          2107 PALMA SOLA BLVD LOT 22                                                                                 BRADENTON       FL    34209‐4837
HEINZ LOEFFLER          9228 SE 125TH LOOP                                                                                          SUMMERFIELD     FL    34491‐9742
HEINZ M THOMAS          2735 FILLMORE ST                                                                                            EUGENE          OR    97405
HEINZ MAIER             1450 MOUNT SHASTA AVE                                                                                       MILPITAS        CA    95035‐6933
HEINZ MARKERT           6215 DORCHESTER RD                                                                                          LOCKPORT        NY    14094‐5903
HEINZ MASSINGER         HEINZ MASSINGER                   364 BIG BROOK RD                                                          INDIAN LAKE     NY    12842‐1104
HEINZ MISSLING          OBERDORFSTRASSE 20                                                                37520 OSTERODE GERMANY
HEINZ NEUHAUS           LOTHRINGER STR.24                                                                                           BREMEN                28211
HEINZ OFFENBECHER       PO BOX 3022                                                                                                 ALLIANCE        OH    44601‐7022
HEINZ P HEINEN
HEINZ PALENTYN          6091 COLD SPRING TRL                                                                                        GRAND BLANC      MI   48439‐7923
HEINZ PETER RHEINGANS   SANDBERG 29                                                                       D‐47809 KREFELD GERMANY
HEINZ PICHLER           KARL‐LANG‐STRASSE 23                                                              65307 BAD SCHWALBACH
                                                                                                          GERMANY
HEINZ PICHLER           KARL‐LANG‐STRASSE 23              65307 BAD SCHWALBACH
HEINZ REHFELDT          147 WEST CROSSFOX TRAIL                                                                                     CAMDENTON       MO    65020‐4043
HEINZ REIMER            1048 YORKSHIRE RD                                                                                           GROSSE POINTE   MI    48230‐1450
                                                                                                                                    PARK
HEINZ REKER             20045 S GREAT OAKS CIR                                                                                      CLINTON TWP      MI   48036‐2441
HEINZ RIEK              OBERBERGISCHE STR 52                                                              42285 WUPPERTAL GERMANY

HEINZ ROESSLER          SEBASTIANSTR 5                                                                    D‐52066 AACHEN, GERMANY

HEINZ ROESSLER          SEBASTIANSTR. 5                   D‐52066 AACHEN
HEINZ R╓▀LER            SEBASTIANSTR. 5                   D‐52066 AACHEN
HEINZ S BURKERT         7722 HASBROOK AVE                                                                                           PHILADELPHIA     PA   19117
HEINZ SCHMID            BLUMENWEG 3
HEINZ SCHROEDEL         6154 WEYBRIDGE DR                                                                                           DAYTON          OH    45426‐1440
HEINZ SCHWARM           PO BOX 154                                                                                                  FRANKENMUTH     MI    48734‐0154
HEINZ STEIERT           154 OLDE POINT RD                                                                                           HAMPSTEAD       NC    28443‐2386
HEINZ SWIRGSDIN         1805 ONTARIO DR                                                                                             JANESVILLE      WI    53545‐0639
HEINZ THUM              2711 S MAYBROOK AVE                                                                                         INDEPENDENCE    MO    64057‐1267
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Name                           Address1                       Address2            Address3         Address4                   City              State Zip
HEINZ TIESLER                  WEDEMARK                                                                                       WEDEMARK           DE
HEINZ TRAPP                    RIEDSTRASSE 38                 D‐78467             KONSTANZ
HEINZ TRAPP                    DR STEINHUBEL & V BUTTLAR      LOEFFELSTRASSE 44                    70597 STUTTGART GERMANY
                               RECHTSANWALTE
HEINZ TSCHAN                   JUNKERGASSE 28                 CH‐3011 BERN
HEINZ TSCHAN                   JUNKERNGASSE 28                                                     CH‐3011 BERN SWITZERLAND

HEINZ U. HELGA GUTH            BAHNHOFSTRASSE 29
HEINZ UND ANNA ROSA BLATTNER   VON‐KETTELER‐STR. 6                                                                            OBERHAUSEN‐             68794
                                                                                                                              RHEINHAUSEN
HEINZ UND ELISABETH RECKER     LUKASSTRA▀E 8                  41751 VIERSEN
HEINZ UND ELISABETH RECKER     LUKASSTRASSE 8                 41751 VIERSEN
HEINZ UND ELISABETH RECKER     LUKASSTR. 8                    41751 VIERSEN
HEINZ UND ELISABETH RECKER     LUKASSTR. 8                                                         41751 VIERSEN GERMANY
HEINZ VILLAIN                  4371 CRAIGDARRAGH AVE                                                                          SPRING HILL       FL    34606‐6925
HEINZ W BODEN                  1097 PALM HARBOR DR                                                                            LEESBURG          FL    34748‐6755
HEINZ WAGNER                   1640 ITAWAMBA TRL                                                                              LONDON            OH    43140‐8738
HEINZ WALLERATH                1 SAN CARLOS ST                                                                                BELLEVILLE        MI    48111‐2925
HEINZ WALTER                   ROMERRING 28                                                        BERG 76768 GERMANY
HEINZ WALTER KEMPER            LAGERSTR.14                                                         D‐64297 DARMSTADT
                                                                                                   GERMANY
HEINZ WELSCHOFF                1820 NE 56TH CT                                                                                FORT LAUDERDALE    FL   33308‐2407
HEINZ WENGERTER                2424 CENTRAL AVE                                                                               WESTFIELD          NJ   07090‐2205
HEINZ ZEPP                     12060 ODELL RD                                                                                 LINDEN             MI   48451‐9485
HEINZ ZOCH                     ALTER KESSELSTAEDTER WEG 16    63477 MAINTAL       GERMANY
HEINZ ZWECKBRONNER             ANNE‐FRANK‐STR. 43                                                  86156 AUGSBURG GERMANY

HEINZ, ARTHUR N                3633 S 157TH ST                                                                                NEW BERLIN        WI    53151‐5103
HEINZ, BARBARA                 15304 RILLHURST DR                                                                             CULPEPER          VA    22701‐9767
HEINZ, BETTY R                 8268 TUCKER ROAD # R2                                                                          EATON RAPAIDS     MI    48827
HEINZ, BETTY R                 8268 TUCKER RD # R2                                                                            EATON RAPIDS      MI    48827
HEINZ, CARL E                  8268 TUCKER RD R 2                                                                             EATON RAPIDS      MI    48827
HEINZ, CHARLES R               1222 WILLIAMS AVE                                                                              BOWLING GREEN     KY    42104‐4651
HEINZ, CHERYL D                2449 KINNEVILLE ROAD                                                                           LESLIE            MI    49251
HEINZ, CHERYL DIANE            2449 KINNEVILLE RD                                                                             LESLIE            MI    49251‐9360
HEINZ, CLARA T                 1035 HAMPSTEAD RD                                                                              ESSEXVILLE        MI    48732‐1907
HEINZ, CONSTANCE E             1104 N KNIGHT RD                                                                               ESSEXVILLE        MI    48732‐8600
HEINZ, CONSTANCE E             1906 TACKLE ST                                                                                 ESSEXVILLE        MI    48732‐1529
HEINZ, DENNIS C                1035 HAMPSTEAD RD                                                                              ESSEXVILLE        MI    48732‐1907
HEINZ, DONALD F                11762 CLUBMOSS DR                                                                              FREELAND          MI    48623
HEINZ, EDMUND                  6044 OLD HICKORY DRIVE                                                                         BAY CITY          MI    48706‐9068
HEINZ, EMIL                    1408 WILLIAMS RD                                                                               PLANT CITY        FL    33565‐2457
HEINZ, FERDINAND S             1035 HAMPSTEAD ROAD                                                                            ESSEXVILLE        MI    48732‐1907
HEINZ, FRANK J                 11257 ALLAN RD                                                                                 NEW LOTHROP       MI    48460‐9747
HEINZ, FRANK R                 425 W SALZBURG RD                                                                              AUBURN            MI    48611‐9553
HEINZ, GEORGE                  GUY WILLIAM S                  PO BOX 509                                                      MCCOMB            MS    39649‐0509
HEINZ, HARRY C                 10630 ROLLER COASTER RD                                                                        LISBON            OH    44432‐9508
HEINZ, IRENE H                 49359 MARQUETTE CT                                                                             SHELBY TOWNSHIP   MI    48315‐3957
HEINZ, JAMES J                 712 MCDONNELL ST                                                                               ESSEXVILLE        MI    48732‐1216
HEINZ, JEFFREY                 PO BOX 13689                                                                                   FORT PIERCE       FL    34979
HEINZ, JEFFREY J               1101 S RAUCHOLZ RD                                                                             HEMLOCK           MI    48626
HEINZ, JOSEPH                  11195 KADER DR                                                                                 PARMA             OH    44130‐7244
HEINZ, JOSHUA R                1947 WOODHAVEN DRIVE                                                                           FORT WAYNE        IN    46819‐1053
HEINZ, JUNE M                  330 GOLF DR                                                                                    IOLA              WI    54945‐9795
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Name                              Address1                        Address2                 Address3    Address4                  City               State   Zip
HEINZ, LEONA                      95 TELEGRAPH RD                                                                                MIDDLEPORT          NY     14105‐9638
HEINZ, LISA B                     1100 LEDDY RD                                                                                  SAGINAW             MI     48609‐9608
HEINZ, MARION E                   6252 CORWIN RD                                                                                 LOCKPORT            NY     14094‐5902
HEINZ, MARK F                     3654 BOWEN RD                                                                                  TOLEDO              OH     43613‐4825
HEINZ, MARK J                     1897 TAMARAK WAY                                                                               ERIE                CO     80516‐7973
HEINZ, PATRICIA M                 26 BEATRICE AVE                                                                                BUFFALO             NY     14207‐1622
HEINZ, RANDOLPH                   461 N PINE RD                                                                                  BAY CITY            MI     48708‐9187
HEINZ, RICHARD E                  3159 HOUSEL CRAFT RD                                                                           BRISTOLVILLE        OH     44402‐9640
HEINZ, RICHARD EDWARD             3159 HOUSEL CRAFT RD                                                                           BRISTOLVILLE        OH     44402‐9640
HEINZ, ROBBIN M                   2121 4 1/2 MILE ROAD                                                                           RACINE              WI     53402
HEINZ, ROBERT A                   10401 ANDREWS AVE                                                                              ALLEN PARK          MI     48101‐1296
HEINZ, ROBERT A                   2924 THUNDERBIRD DR                                                                            BAY CITY            MI     48706‐3122
HEINZ, ROBERT C                   12351 ALTIS CT                                                                                 STRONGSVILLE        OH     44149‐3250
HEINZ, ROBERT H                   1408 E BROWN RD                                                                                FREEPORT            MI     49325‐9650
HEINZ, ROBERT L                   1191 E 900 N                                                                                   OSSIAN              IN     46777‐9346
HEINZ, STEPHANIE                  22012 W BRANDON ST                                                                             FARMINGTON HILLS    MI     48336‐3831

HEINZ, STEVEN A                   2121 4 1/2 MILE RD                                                                             RACINE              WI     53402‐1708
HEINZ, USA                        PO BOX 57                                                                                      PITTSBURGH          PA     15230‐0057
HEINZ‐CHRISTIAN FRUEND            ERNST‐SIEVERS‐STRASSE 107       D‐49078 OSNABRUECK       GERMANY
HEINZ‐CHRISTIAN FR▄ND             ERNST‐SIEVERS‐STRASSE 107                                                                      OSNABR▄CK                  49078
HEINZ‐CHRISTIAN FR▄ND             ERNST‐SIEVERS‐STRASSE 107       D‐49078 OSNABR▄CK
HEINZ‐DETLEF HOHR                 REICHWEINSTRASSE 23                                                  47441 MOERS GERMANY
HEINZ‐DETLEF H╓HR                 REICHWEINSTRA▀E 23              47441 MOERS              GERMANY
HEINZ‐GUENTER BLECKING            ANGERMUNDERSTR. 290             47269 DUISBURG                                                 DUISBURG
HEINZ‐GUENTER BLECKING            ANGERMUNDER STR. 290                                                 DUISBURG 47269 GERMANY
HEINZ‐HERMANN HARTIG              BURGSTRASSE 3                                                        29553 WICHMANNSBURG
                                                                                                       GERMANY
HEINZ‐J. STEPPER                  KOEHLERSTR. 1                   D‐91334 HEMHOFEN         GERMANY
HEINZ‐JOACHIM ELBE                HANS B╓HM ZEILE 32              14165 BERLIN             GERMANY
HEINZ‐JOSEF NUESSGENS & BETTINA   IM WINDWINKEL 7                                                      DE‐53773 HENNEF GERMANY
NUESSGEN
HEINZ‐JOSEF N▄SSGENS              IM WINDWINKEL 7                 DE‐53773 HENNEF                                                HENNEF              DE     53773
HEINZ‐JUERGEN KIRSCH              WELSCHER HEIDE 4 B                                                   51429 BERGISCH GLADBACH
                                                                                                       GERMANY
HEINZ‐JUERGEN SCHULZ              HELENENSTR. 20                                                       44793 BOCHUM GERMANY
HEINZ‐OTTO PEGEL                  WALDWINKEL 5                    31688 NIENST─DT
HEINZ‐OTTO PEGEL                  WALDWINKEL 5                                                                                   NIENSTAEDT         DE      31688
HEINZE JR, WILLIAM L              104 S NELSON ST                                                                                POTTERVILLE        MI      48876‐8773
HEINZE, CAROL A                   1160 S. MCCORD RD.              APT L1                                                         HOLLAND            OH      43528
HEINZE, CAROL A                   APT L1                          1160 SOUTH MCCORD ROAD                                         HOLLAND            OH      43528‐9110
HEINZE, CHRISTOPHER S             10712 E 25TH TER S                                                                             INDEPENDENCE       MO      64052‐3316
HEINZE, JAMES L                   20406 AUTUMN CT                                                                                SUN CITY W         AZ      85375‐5459
HEINZE, JAMES L                   20406 N AUTUMN CT                                                                              SUN CITY WEST      AZ      85375‐5459
HEINZE, JANICE M                  1423 FIELD STREET                                                                              DETROIT            MI      48214‐2321
HEINZE, JANICE M                  C/O ADULT WELL BEING SERVICES   1423 FIELD STREET                                              DETROIT            MI      48214
HEINZE, PHILIP A                  11240 CLINTON TRL # 1                                                                          SUNFIELD           MI      48890
HEINZE, RICHARD D                 4570 E GRESHAM HWY                                                                             POTTERVILLE        MI      48876‐8766
HEINZE, RICHARD D.                4570 E GRESHAM HWY                                                                             POTTERVILLE        MI      48876‐8766
HEINZE, RODNEY L                  539 N PEASE RD                                                                                 VERMONTVILLE       MI      49096‐9515
HEINZE, TREVOR
HEINZELMAN, HAZEL                 6238 N DARLENE AVE                                                                             BURTON              MI     48519‐1332
HEINZELMAN, JOHN M                3689 W 300 S                                                                                   MARION              IN     46953‐9728
HEINZELMAN, TIMOTHY P             PO BOX 373                      405 MARY LOU DRIVE                                             SWEETSER            IN     46987‐0373
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Name                        Address1                     Address2                  Address3   Address4               City               State   Zip
HEINZELMAN, WILLIAM         36390 JOANNE ST                                                                          LIVONIA             MI     48150‐3404
HEINZEN, HELEN B            1 COLONY POINT DR APT 3C                                                                 PUNTA GORDA         FL     33950
HEINZERLING, DONALD L       536 E 8TH ST                                                                             PORT CLINTON        OH     43452‐2013
HEINZEROTH RICHARD          2136 12TH STREET                                                                         ROCKFORD             IL    61104
HEINZL JR, WILLIAM J        1010 BALD ROCK RD                                                                        ALBANY              KY     42602‐8448
HEINZL, HERBERT H           1515 RIDGELAND AVENUE                                                                    BERWYN               IL    60402‐1446
HEINZMAN, DENNIS W          211 OONOGA WAY                                                                           LOUDON              TN     37774‐3033
HEINZMAN, FRANK A           3405 YORK RD                                                                             ROCHESTER HLS       MI     48309‐3950
HEINZMAN, LEONA L           1801 MITTEN RD                                                                           BOWLING GREEN       IN     47833‐8259
HEINZMAN, LYNN E            25520 CORNELL RD                                                                         ARCADIA             IN     46030‐9612
HEINZMAN, RANDY L           2800 DURUSSEL DR                                                                         REESE               MI     48757‐9330
HEINZMAN, RONALD N          5627 W SPRING KNOLL DR                                                                   BAY CITY            MI     48706‐5615
HEINZMAN, SHIRLEY A         413 S MAPLE ST                                                                           GREENTOWN           IN     46936‐1650
HEINZMAN, VICKI A           235 E GENESEE ST                                                                         FRANKENMUTH         MI     48734‐1135
HEINZMANN, ANTOINETTE       29 SHEILA LN                                                                             FRANKLIN            MA     02038‐3238
HEINZMANN, F R              29 SHELIA LN                                                                             FRANKLIN            MA     02038‐3238
HEINZMANN, MARTIN           14 POST SIDE LN                                                                          PITTSFORD           NY     14534‐9411
HEIPLE ROGER                2991 MOHAWK LN                                                                           ROCHESTER HILLS     MI     48306‐3834
HEIPLE, CORY J              4660 HUMMEL DR NW                                                                        WARREN              OH     44483‐1610
HEIPLE, GLADYS A.           6615 SLEEPY HOLLOW                                                                       HOLLY               MI     48442‐8215
HEIPLE, JOHN S              4660 HUMMEL DR NW                                                                        WARREN              OH     44483‐1610
HEIPLE, SADIE L             142 R UPPER RD                                                                           STOYSTOWN           PA     15563‐8187
HEIPLE, SHAWNA L            824 PERKINSWOOD BLVD SE                                                                  WARREN              OH     44484‐4471
HEIRIGS, LEONARD L          102 FAIRWOOD CIR                                                                         HOT SPRINGS         AR     71913‐2601
HEIS, NORMA M               3748 W 114TH ST                                                                          CHICAGO              IL    60655‐3410
HEIS, ROBERT R              680 S RIVERVIEW AVE                                                                      MIAMISBURG          OH     45342‐3030
HEISCHBERG, PATRICIA R      688 SW TREASURE CV                                                                       PORT SAINT LUCIE    FL     34986‐3438
HEISCHMAN, DIANA I          1330 BRUSHY FORK RD                                                                      SUGAR GROVE         OH     43155‐9789
HEISCHMAN, MICHAEL          1330 BRUSHY FORK RD                                                                      SUGAR GROVE         OH     43155‐9789
HEISE JR, KENNETH O         1254 FAHLANDER DR N                                                                      COLUMBUS            OH     43229‐5104
HEISE, AUDRA E              5850 CAPE CORAL LN                                                                       HILLIARD            OH     43026‐8453
HEISE, DAVID J              1141 HUNTERS CHASE DR                                                                    FRANKLIN            TN     37064‐5714
HEISE, EUNICE V             223 S IRONWOOD ST                                                                        GILBERT             AZ     85296‐1629
HEISE, GALE T               15945 FLORENCE ST                                                                        LANSING             MI     48906‐1160
HEISE, GUSTAV J             4606 WAYNICK DR                                                                          BRITTON             MI     49229‐9431
HEISE, HEINZ E              380 GARDNERS ROW                                                                         APPLETON            WI     54915‐1157
HEISE, MARION D             901 SEMINOLE BLVD APT 244                                                                LARGO               FL     33770‐7446
HEISE, PAUL K               2107 WOLCOTT ST                                                                          JANESVILLE          WI     53546‐5456
HEISE, PAULINE M            15945 FLORENCE ST                                                                        LANSING             MI     48906‐1160
HEISE, ROBERT L             5038 N HENKE RD                                                                          MILTON              WI     53563‐9783
HEISE, ROGER H              32270 MACOMB SETTLEMENT RD                                                               CLAYTON             NY     13624
HEISE, ROGER HARRY          32270 MACOMB SETTLEMENT RD                                                               CLAYTON             NY     13624‐2284
HEISE, STEVE W              1421 BARHAM AVE                                                                          JANESVILLE          WI     53548‐1505
HEISE, TANYA                PO BOX 892                                                                               LIBERTY             MO     64069‐0892
HEISEL, ADAM J              30125 BOCK ST                                                                            GARDEN CITY         MI     48135‐2306
HEISEL, BETTY L             6191 HUNTERS DR                                                                          FARMINGTON          NY     14425‐1121
HEISEL, JULIE A             31260 SUNSET DR                                                                          FRANKLIN            MI     48025‐2231
HEISEL, MICHAEL L           31260 SUNSET DR                                                                          FRANKLIN            MI     48025‐2231
HEISEL, PAUL K              7900 LOWER 139TH CT                                                                      APPLE VALLEY        MN     55124‐7344
HEISEL, RICHARD W           281 N CAMINO DEL VATE                                                                    GREEN VALLEY        AZ     85614‐3133
HEISEL, ROBERT A            9096 WESTLAKE DR                                                                         GREENDALE           WI     53129‐1092
HEISER AUTOMOTIVE GROUP     CHRIS J. DULLA, PRESIDENT    7550 N 76TH ST                                              MILWAUKEE           WI     53223‐4508
HEISER AUTOMOTIVE GROUP     ATTENTION: PRESIDENT         1700 W SILVER SPRING DR                                     GLENDALE            WI     53209‐4421
HEISER CHEVROLET CADILLAC   ATTENTION: SECRETARY         1700 W SILVER SPRING DR                                     GLENDALE            WI     53209‐4421
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HEISER CHEVROLET CADILLAC             1700 W SILVER SPRING DR                                                                         GLENDALE         WI 53209‐4421
HEISER CHEVROLET CADILLAC OF WEST B   2620 W WASHINGTON ST                                                                            WEST BEND        WI 53095‐2108

HEISER CHEVROLET CADILLAC OF WEST     ATTN: PRESIDENT                 2620 W WASHINGTON ST                                            WEST BEND       WI   53095‐2108
BEND, INC.
HEISER CHEVROLET CADILLAC OF WEST     STEPHEN SADEK                   2620 W WASHINGTON ST                                            WEST BEND       WI   53095‐2108
BEND, INC.
HEISER CHEVROLET CADILLAC OF WEST     2620 W WASHINGTON ST                                                                            WEST BEND       WI   53095‐2108
BEND, INC.
HEISER CHEVROLET, INC.                SAM SCAFFIDI                    10200 W ARTHUR AVE                                              WEST ALLIS      WI   53227‐2005
HEISER CHEVROLET, INC.                10200 W ARTHUR AVE                                                                              WEST ALLIS      WI   53227‐2005
HEISER ENTERPRISES INC                C\O LCH INSURANCE AGENCY        181 FAIRWAY LOOP DR                                             POTTSBORO       TX   75076‐4575
HEISER, CAROLYN                       5982 IDE RD                                                                                     NEWFANE         NY   14108‐1011
HEISER, CHARLES M                     1457 VALLEY DRIVE                                                                               LAPEER          MI   48446‐1464
HEISER, CHARLES P                     1549 E ATHERTON RD 155                                                                          FLINT           MI   48507
HEISER, DALE H                        4427 WINDIATE PARK DR                                                                           WATERFORD       MI   48329‐1268
HEISER, DONALD W                      5038 AUKER DR                                                                                   FLINT           MI   48507‐4502
HEISER, ELMER L                       9213 BEECH AVE                                                                                  BROOKLYN        OH   44144‐2664
HEISER, ELNORA M                      PO BOX 1034                                                                                     RUSSELLVILLE    KY   42276‐3034
HEISER, HELEN L                       342 PINE ST                                                                                     LOCKPORT        NY   14094‐4929
HEISER, JAMES F                       1005 N PARK FOREST DR APT B                                                                     MARION          IN   46952‐1763
HEISER, JAMES S                       13439 45TH ST NE                                                                                SAINT MICHAEL   MN   55376‐1083
HEISER, JANICE A                      372 WEATHERSFIELD DR.                                                                           KETTERING       OH   45440‐4448
HEISER, JOHN L                        6035 S TRANSIT RD LOT 254                                                                       LOCKPORT        NY   14094‐7104
HEISER, JUDITH A                      1805 TWIN CAVES DRIVE                                                                           LEWISBLURG      TN   37091‐6272
HEISER, KENARD L                      PO BOX 12                                                                                       OKEMOS          MI   48805‐0012
HEISER, KENNETH P                     PO BOX 156                                                                                      FOSTORIA        MI   48435‐0156
HEISER, KRISTA A                      21607 RIO COLORADO                                                                              SAN ANTONIO     TX   78259‐2632
HEISER, LESLIE G                      12015 GRIFFIN RD                                                                                RILEY           MI   48041‐1816
HEISER, LETA J                        1457 VALLEY DR                                                                                  LAPEER          MI   48446
HEISER, MABLE                         3484 N RODGERS AVE                                                                              HARRISON        MI   48625
HEISER, MICHELE R                     3176 N TERM ST # G                                                                              FLINT           MI   48506
HEISER, PATRICIA J                    1000 WATERVLIET AVE                                                                             DAYTON          OH   45420‐2718
HEISER, RICHARD D                     2900 34TH AVE S APT 1237                                                                        FARGO           ND   58104‐5185
HEISER, ROBERT C                      4104 LIMERICK CT                                                                                SEBASTIAN       FL   32958‐8551
HEISER, SHIRLEY JEAN                  615 ROLLING HILLS LN                                                                            LAPEER          MI   48446‐2886
HEISER,DAVID J                        2727 BONNELL AVE SE                                                                             GRAND RAPIDS    MI   49506
HEISEY JR, WILLARD                    1330 S ST RT 48                                                                                 LUDLOW FALLS    OH   45339‐8754
HEISEY JR, WILLARD                    1330 S STATE ROUTE 48                                                                           LUDLOW FALLS    OH   45339‐8754
HEISEY SR, GLENN E                    117 DEIDRICH ST                                                                                 EUSTIS          FL   32726‐4322
HEISEY SR, GLENN E                    117 DIEDRICH ST                                                                                 EUSTIS          FL   32726‐2726
HEISEY, BERNEDA S                     502 WOODLEA CT                  C/O SARAH S BRANHAM                                             ASHEVILLE       NC   28806‐4804
HEISEY, CYNTHIA                       4157 ALEESA DR SE                                                                               WARREN          OH   44484‐2917
HEISEY, DONALD E                      307 W FIRST ST                                                                                  BLEVINS         AR   71825‐9003
HEISEY, GERALD L                      4904 CAROLINA CIR                                                                               MCKINNEY        TX   75071‐6452
HEISEY, RONALD L                      PO BOX 208                                                                                      LAURA           OH   45337‐0208
HEISHMAN, WILDA M                     676 WELLTOWN RD                                                                                 WINCHESTER      VA   22603‐4545
HEISLER WILBERT J (355082)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA   23510
                                                                      STREET, SUITE 600
HEISLER, BEVERELY J                   3051 S KELSO RD                                                                                 PITTSFORD       MI   49271‐9645
HEISLER, ELAINE                       1407 SKIPPER DR APT 202                                                                         WATERFORD       MI   48327‐2490
HEISLER, GEORGE K                     233 TRAILS END                                                                                  AURORA          OH   44202‐9345
HEISLER, JOSEPH A                     1000 URLIN AVE APT 1014                                                                         COLUMBUS        OH   43212‐3332
HEISLER, KEVIN P                      911 PRISTINE AVE                                                                                ANGOLA          IN   46703‐6500
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Name                         Address1                         Address2                      Address3   Address4               City               State   Zip
HEISLER, MAUREEN             16420 ALISO DR                                                                                   FONTANA             CA     92337‐7453
HEISLER, MURRAY W            1116 WEST 7TH STREET #126                                                                        COLUMBIA            TN     38401
HEISLER, MURRAY W            5601 DUNCAN RD LOT 139                                                                           PUNTA GORDA         FL     33982
HEISLER, PATRICIA D          5326 WEST ERIE AVENUE                                                                            LORAINE             OH     44053
HEISLER, PATRICIA D          5326 W ERIE AVE                                                                                  LORAIN              OH     44053‐1342
HEISLER, PAULA J             7691 BRIDGE RD                                                                                   WATERFORD           MI     48329‐1005
HEISLER, RONALD              3030 WINGATE DR SE APT 3D                                                                        KENTWOOD            MI     49512‐8026
HEISLER, STEVEN              18377 SUNSET ST                                                                                  LIVONIA             MI     48152‐4332
HEISLER, TOMMY               117 FURBEE DR S                                                                                  MASON               OH     45040‐2148
HEISLER, WAYNE D             HC 1 BOX 596                                                                                     TRINITY CENTER      CA     96091‐9708
HEISLER, WILBERT J           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                              STREET, SUITE 600
HEISLEY TIRE & BRAKE INC     5893 HEISLEY RD                                                                                  MENTOR             OH      44060‐1831
HEISLEY TIRE & BRAKE INC     5893 HEISLEY RD                                                                                  MENTOR             OH      44060‐1831
HEISNER, BETTY J             440 210 COUNTY RD                                                                                SYLVANIA           AL      35988
HEISNER, JACK O              15051 ARCHER AVE TRLR 8                                                                          LOCKPORT           IL      60441‐2209
HEISNER, MALAH E             2914 MAPLE ST                                                                                    MICHIGAN CITY      IN      46360‐7065
HEISS SR., KENNETH S         333 N JEFFERSON ST                                                                               DANVILLE           IN      46122‐1141
HEISS, DONNA                 34 AMY DR                                                                                        TONAWANDA          NY      14150‐6102
HEISS, ELAINE L              15382 CEDAR SPRINGS AVE                                                                          CEDAR SPRINGS      MI      49319‐8605
HEISS, JOSEPHINE V           1125 ROBBINS                                                                                     GRAND HAVEN        MI      49417
HEISS, JOYCE P               13001 112TH AVE                                                                                  GRAND HAVEN        MI      49417‐8751
HEISS, LEONARD E             532 TERRACE PLZ                                                                                  WILLOWICK          OH      44095‐4202
HEISS, MARTHA J              1175 EMERSON STREET APT 14                                                                       LAKE ODESSA        MI      48849
HEISS, MARY A                1840 DRENIK DR                                                                                   WICKLIFFE          OH      44092‐1512
HEISS, ROBERT A              502 SPRING HILL DR                                                                               SMYRNA             TN      37167‐8100
HEISSERER, COLINE M          1311 D BRENDA KAY DR             WEST COURT MANOR                                                CAPE GIRARDAU      MO      63703
HEISSERER, COLINE M          1311 BRENDA KAY CT APT D         WEST COURT MANOR                                                CAPE GIRARDEAU     MO      63703‐6520
HEISSNER, ROBERT             13828 W US HIGHWAY 14                                                                            EVANSVILLE         WI      53536‐8431
HEIST OTHO DANIEL (429081)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510
                                                              STREET, SUITE 600
HEIST, ANA R                 2336 DOGWOOD ST                                                                                  SIMI VALLEY         CA     93065‐2613
HEIST, GREGORY S             45212 BROWNELL ST                                                                                UTICA               MI     48317‐5225
HEIST, JAMES E               340 RAYNES DR                                                                                    CALEDONIA           MI     49316‐9647
HEIST, JAMES R               3906 18TH ST                                                                                     DORR                MI     49323‐9551
HEIST, OTHO DANIEL           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                              STREET, SUITE 600
HEIST, RALPH M               5293 OAKES RD                    RT 1                                                            CLAYTON            OH      45315‐8933
HEISTAND, DELBERT G          2800 S WISE RD                                                                                   MT PLEASANT        MI      48858‐9468
HEISTAND, JAMES E            5950 JUNIPER AA LN                                                                               RAPID RIVER        MI      49878‐9267
HEISTAND, PATSY R            20401 CONTINENTAL DR                                                                             LAGO VISTA         TX      78645‐7504
HEISTER JAMES                11550 GUN CLUB RD                                                                                EPWORTH            IA      52045‐9665
HEISTER, JOSEPH J            1210 WASHINGTON BLVD                                                                             BIRMINGHAM         MI      48009‐4158
HEISTER, JUANITA K           363 WALDORF DR                                                                                   AUBURNDALE         FL      33823‐5836
HEISTER, JUANITA K           363 WALDORF DRIVE                                                                                AUBURNDALE         FL      33823‐3823
HEISTER, PATRICIA A          25 BLACK WILLOW CT N                                                                             HOMOSASSA          FL      34446‐4984
HEISTERBERG, LEROY E         12108 W 60TH ST                                                                                  SHAWNEE            KS      66216‐2006
HEISTERMAN JR, JACK          737 EAST AVE SE                                                                                  WARREN             OH      44484‐4216
HEISTERMAN, DONALD G         3464 MILL GREEN RD                                                                               STREET             MD      21154‐1724
HEISZ, CLAY M                1612 E WELLS ST APT 3                                                                            PRAIRIE DU CHIEN   WI      53821
HEISZ, RAYMOND O             5980 N LILLY LN                                                                                  MILTON             WI      53563‐9452
HEISZ, RICKY L               4644 N LAURA DR                                                                                  JANESVILLE         WI      53548‐8690
HEISZ, ROBERT J              4002 N COON ISLAND RD                                                                            EVANSVILLE         WI      53536‐8600
HEIT, CHARLES E              6990 W 20 RD                                                                                     MESICK             MI      49668‐9545
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Name                    Address1                          Address2                        Address3   Address4               City              State   Zip
HEIT, GERALD J.         2130 ANOKA ST                                                                                       FLINT              MI     48532‐4403
HEIT, GLADYS            1235 W CASS AVE                                                                                     FLINT              MI     48505‐1302
HEIT, JANICE S          2173 E JUDD RD                                                                                      BURTON             MI     48529‐2404
HEIT, MARK W            886 WHISPERWOOD TRL                                                                                 FENTON             MI     48430‐2276
HEIT, ROBERT L          206 PEARL ST                                                                                        CHESANING          MI     48616‐1246
HEIT, ROBIN D           8718 LOREN RD                                                                                       VASSAR             MI     48768‐9681
HEIT, ROBIN DALE        8718 LOREN RD                                                                                       VASSAR             MI     48768‐9681
HEITCHLER, ALVIN L      3832 HAZELETT DRIVE                                                                                 WATERFORD          MI     48328‐4032
HEITCHUE, DONALD P      2327 CLAWSON AVE                                                                                    ROYAL OAK          MI     48073‐3798
HEITERT, MARY E         695 BLACKBIRD DR                                                                                    FLORISSANT         MO     63031‐2256
HEITFIELD, KATHRYN L    19 LANDIS CIR                                                                                       HAMILTON           OH     45013‐9665
HEITFIELD, MARIE M      115 KNAPP DR APT 603                                                                                HAMILTON           OH     45013‐1259
HEITFIELD, MARIE M      115 KNAPP DR                      APT 603                                                           HAMILTON           OH     45013‐1259
HEITGRASS, RALPH E      7220 S YALE AVE                   APT 107                                                           TULSA              OK     74136‐6383
HEITHAUS, BETTY M       5001 LITTLE RIVER RD APT E207     COVENANT TOWERS                                                   MYRTLE BEACH       SC     29577‐2457
HEITHAUS, RICHARD A     605 SEMINOLE POINT ROAD                                                                             FAIR PLAY          SC     29643‐3040
HEITHAUS, TIMOTHY R     660 BAY GROVE RD                                                                                    LOGANVILLE         GA     30052‐6627
HEITHOFF, KEN J         3208 S PRESCOTT AVE                                                                                 BLUE SPRINGS       MO     64015
HEITIC ELI (635135)     KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                     CLEVELAND          OH     44114
                                                          BOND COURT BUILDING
HEITIC, ELI             KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                      CLEVELAND         OH      44114
                                                          BOND COURT BUILDING
HEITJAN, BERNARD F      31435 ROSSLYN AVE                                                                                   GARDEN CITY       MI      48135‐1345
HEITJAN, MARIE          568 RASKOB                                                                                          PONTIAC           MI      48340‐3037
HEITJAN, MICHAEL E      20309 MELVIN ST                                                                                     LIVONIA           MI      48152‐1830
HEITJAN, PAUL C         826 N WASHINGTON ST                                                                                 LAPEER            MI      48446‐1958
HEITJAN, SUSAN M        C/O KALKASKA MEM. HEALTH CENTER   419 S. CORAL ST                                                   KALKASKA          MI      49464
HEITKAMP, GERALD        GUY WILLIAM S                     PO BOX 509                                                        MCCOMB            MS      39649‐0509
HEITKAMP, KYLE
HEITKAMP, WILLIAM       GUY WILLIAM S                     PO BOX 509                                                        MCCOMB            MS      39649‐0509
HEITKE, GEOFF G         5713 NUTONE ST                                                                                      FITCHBURG         WI      53711‐5415
HEITMAN, DAWN R         R429 COUNTY ROAD 12                                                                                 NAPOLEON          OH      43545‐7690
HEITMAN, DENNIS D       1160 PORTALAN DR                                                                                    GREENFIELD        IN      46140‐9645
HEITMAN, GERALD W       RR 1 BOX 2220                                                                                       PATTON            MO      63662‐9727
HEITMAN, JASON G        398 ARBOR DR                                                                                        CARMEL            IN      46032‐5813
HEITMAN, LARRY L        207 S BIRCH AVE                                                                                     PLATTSBURG        MO      64477‐1401
HEITMAN, PETER W        1461 MORGAN CT                                                                                      STEAMBOAT         CO      80487‐1788
                                                                                                                            SPRINGS
HEITMAN, ROBERT F       3251 SEISHOLTZVILLE RD                                                                              BARTO             PA      19504‐9039
HEITMANN, KATHLEEN A    2387 CHELSEA CT                                                                                     TROY              MI      48084‐1311
HEITMANN, MICHAEL C     53142 OAK GRV                                                                                       SHELBY TOWNSHIP   MI      48315‐2005
HEITMANN, RICHARD V     1865 GARDEN CT                                                                                      LANGHORNE         PA      19047‐1745
HEITMEYER, ARTHUR C     465 ANTHONY AVE                                                                                     OTTAWA            OH      45875‐9629
HEITMEYER, DAVID A      23271 ROAD O                                                                                        CLOVERDALE        OH      45827‐9305
HEITMEYER, DIANA        1726 E GLASTONBERRY RD                                                                              TOLEDO            OH      43613‐2338
HEITMEYER, FREDRICK L   PO BOX 537                                                                                          KALIDA            OH      45853‐0537
HEITMEYER, JO A         3550 W WALTON BLVD                                                                                  WATERFORD         MI      48329‐4263
HEITMEYER, KEITH A      114 SUNSET DR                                                                                       FORT JENNINGS     OH      45844‐9529
HEITMEYER, RICHARD N    1726 E GLASTONBERRY RD                                                                              TOLEDO            OH      43613‐2338
HEITMEYER, ROGER D      1009 EF HUDSON RD NW                                                                                ASH               NC      28420‐2125
HEITMEYER, WILLIAM J    15422 STATE ROUTE 66                                                                                CLOVERDALE        OH      45827‐9246
HEITOR CARNEIRO         9 PLEASANT ST                                                                                       MILFORD           MA      01757‐2412
HEITSMAN, DALE E        1900 MINERAL POINT AVE                                                                              JANESVILLE        WI      53548‐3473
HEITSMAN, DONALD E      1436 TYLER ST                                                                                       JANESVILLE        WI      53545‐4939
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Name                                Address1                       Address2              Address3       Address4               City           State   Zip
HEITSMAN, DUANE E                   2585 W DEER PATH TRL                                                                       JANESVILLE      WI     53545‐8969
HEITZ AUTOMOTIVE TESTING INC        6 MOORES MILL RD                                                                           PENNINGTON      NJ     08534
HEITZ DAVID                         1421 S ALLEN RD                                                                            SAINT CLAIR     MI     48079‐2608
HEITZ MARY ANN                      HEITZ, MARY ANN                346 PARK ST STE 200                                         BIRMINGHAM      MI     48009‐3436
HEITZ, ALFRED                       1007 E BOGART RD APT 3C                                                                    SANDUSKY        OH     44870‐6406
HEITZ, DANIEL H                     3199 FOUR ROD RD                                                                           EAST AURORA     NY     14052‐9564
HEITZ, JOHN S                       1337 THISTLEWOOD RD                                                                        HOUSTON         DE     19954‐2557
HEITZ, MICHAEL D                    BOONE ALEXANDRA                205 LINDA DR                                                DAINGERFIELD    TX     75638‐2107
HEITZ, RALPH C                      3500 LAKE BLVD #222                                                                        OCEANSIDE       CA     92056‐4600
HEITZ, RICHARD F                    218 MURPHY DR                                                                              ROMEOVILLE       IL    60446‐1742
HEITZ, RUTH C                       2626 FALCON POINTE                                                                         GD RAPIDS       MI     49544‐7542
HEITZ, WILLIAM J                    RR 1 BOX 245                                                                               MC LEANSBORO     IL    62859‐9761
HEITZ, WILMAREA S                   690 STATE ST                   RM 141                                                      FRANKLIN        IN     46131
HEITZEG, WILLIAM F                  2215 LONDONDERRY RD                                                                        ANN ARBOR       MI     48104‐2805
HEITZENRATER JR, HARRY R            3171 W LAKE RD                                                                             WILSON          NY     14172‐9729
HEITZENRATER, EUGENE L              2887 DARTMOOR DR NE                                                                        WARREN          OH     44483‐4309
HEITZENRATER, SCOTT W               3389 PARK MEADOW DR                                                                        ORION           MI     48362‐2071
HEITZENRODER, JOANNE N              PO BOX 308                                                                                 HOCKESSIN       DE     19707‐0308
HEITZHAUS, DOUGLAS H                1023A WISH CIR                                                                             EAST AURORA     NY     14052‐9653
HEITZMAN'S RADIATOR & GLASS WORKS   20 N 3RD ST                                                                                SHAMOKIN        PA     17872‐5102

HEITZMAN'S RADIATOR AND GLASS                                      45 N 2ND ST                                                                 PA     17872
WORKS, INC.
HEITZMAN'S RADIATOR AND GLASS       45 N 2ND ST                                                                                SHAMOKIN        PA     17872
WORKS, INC.
HEITZMAN, DANIEL J                  PO BOX 12                                                                                  CONTINENTAL    OH      45831‐0012
HEITZMAN, DOUGLAS B                 20215 ROAD C20                                                                             CONTINENTAL    OH      45831‐9651
HEITZMAN, ELLA M                    8185 EAST WIDENER ROAD                                                                     NEW CARLISLE   OH      45344‐7607
HEITZMAN, ELLA M                    8185 WIDENER RD                                                                            NEW CARLISLE   OH      45344‐7607
HEITZMAN, GERTRUDE O                630 W GINGHAMSBURG‐FRED                                                                    TIPP CITY      OH      45371‐9202
HEITZMAN, JAMES L                   4964 PYRMONT RD                                                                            LEWISBURG      OH      45338‐9761
HEITZMAN, JEAN W                    3300 NORTHFIELD RD                                                                         DAYTON         OH      45415‐1517
HEITZMAN, MARILYN L                 8045 WIDENER RD                                                                            NEW CARLISLE   OH      45344‐7606
HEITZMAN, MARILYN L                 8045 EAST WIDENER RD                                                                       NEW CARLISLE   OH      45344
HEITZMAN, MARK E                    279 WIESEN LN                                                                              MORAINE        OH      45418‐2946
HEITZMAN, MARY L                    4165 RASOR DR                                                                              TROY           OH      45373‐9543
HEITZMAN, MATTHEW J                 7727 DAYTON FARMERSVILLE RD                                                                DAYTON         OH      45418‐1313
HEIZER AEROSSPACE                   8750 PEVELY INDUSTRIAL DR                                                                  PEVELY         MO      63070‐1919
HEIZER, CHARLES E                   2776 VALLEY VIEW DRIVE                                                                     FAIRBORN       OH      45324‐5324
HEIZER, CHARLES E                   2776 VALLEYVIEW DR                                                                         FAIRBORN       OH      45324‐2248
HEIZER, DAVID A                     2000 ERICKMAN LN                                                                           XENIA          OH      45385‐5385
HEIZER, DAVID C                     19860 TWENTY NINE MILE                                                                     RAY            MI      48096
HEIZER, ESLEY M                     70MCVEY PL.                                                                                SPRINGBORO     OH      45066‐1124
HEIZER, ESLEY M                     70 MCVEY PL                                                                                SPRINGBORO     OH      45066‐1124
HEIZER, ESLEY MARVIN                70 MCVEY PL                                                                                SPRINGBORO     OH      45066‐1124
HEIZER, JOANNE G                    174 COOPER LN                                                                              XENIA          OH      45385‐2703
HEIZER, JOANNE G                    174 COOPER LANE                                                                            XENIA          OH      45385‐2703
HEIZER, JUDITH A                    3375 PARKBROOK DR                                                                          GROVE CITY     OH      43123‐4810
HEIZER, KENNETH M                   2332 WESTLAWN DR                                                                           KETTERING      OH      45440‐2036
HEIZER, LINDA J                     2000 ERICKMAN LN                                                                           XENIA          OH      45385‐8917
HEIZER, PAULA                       PO BOX 1899                                                                                SPRING HILL    TN      37174‐1899
HEIZER, PAULINE H                   7128 TWINVIEW DR                                                                           FRANKLIN       OH      45005‐3964
HEIZER, SALLY J                     PO BOX 96                                                                                  FOREST         IN      46039‐0096
HEIZER, WILLIAM A                   3706 LITTLE YORK RD                                                                        DAYTON         OH      45414‐2457
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Name                      Address1                         Address2                         Address3   Address4               City               State Zip
HEIZER, ZOLLIE G          8318 HENDRICKSON RD                                                                                 MIDDLETOWN          OH 45044‐8918
HEJIE LIN                 3479 MARK AVE                    WINDSOR ON N9E 2X3               CANADA
HEJKA, DELPHINE M         26250 PLEASANT VALLEY                                                                               FARMINGTON HILLS   MI    48331‐4140

HEJKA, MICHAEL A          8222 WORMER ST                                                                                      DEARBORN HTS       MI    48127‐1355
HEJKA, PATRICK J          49443 AU LAC DR E                                                                                   CHESTERFIELD       MI    48051‐3817
HEJKA, THADDEUS A         22122 AUDETTE ST                                                                                    DEARBORN           MI    48124
HEJL JR, JOSEPH A         48398 NEWCASTLE CT                                                                                  SHELBY TOWNSHIP    MI    48315‐4287
HEJL, JOHN G              8220 W RIDGE DR                                                                                     BROADVIEW HTS      OH    44147‐1033
HEJL, ROSEMARIE A         5338 HARVEST LN                                                                                     TOLEDO             OH    43623‐2225
HEJL, ROSEMARIE ANNA      5338 HARVEST LN                                                                                     TOLEDO             OH    43623‐2225
HEJLIK, JOYCE L           262 DEER CT                                                                                         INCLINE VILLAGE    NV    89451‐9540
HEJMANOWSKI, PATRICIA M   90 WEIMAR ST                                                                                        BUFFALO            NY    14206‐3539
HEJNA, GREGORY            11101 S WESTWOOD DR                                                                                 PALOS HILLS        IL    60465‐2722
HEJNAL, MARGARET E        P O BOX 936                                                                                         LAKE CITY          MI    49651‐1936
HEJNAL, MARGARET E        PO BOX 936                                                                                          LAKE CITY          MI    49651‐1936
HEJNOSZ, J LOUISE         1239 WATKINS CV                                                                                     EASTPOINT          FL    32328‐3122
HEJRA, MARY L             1746 WALNUT LN                                                                                      ROCKY RIVER        OH    44116‐2309
HEKKALA, LINDA L          21 BROOKLINE STREET              BOX 366                                                            PEPPERELL          MA    01463‐1128
HEKKER, DAVID L           5845 DIX DR NE 13                                                                                   BELMONT            MI    49306
HEKMAN, FREDERICK A       2295 TANGLEWOOD CT                                                                                  HOLLAND            MI    49424
HEKMAN, JOHN F            135 JANET STREET SOUTHEAST                                                                          GRAND RAPIDS       MI    49548‐3225
HEKMAN, JOHN F.           135 JANET STREET SOUTHEAST                                                                          GRAND RAPIDS       MI    49548‐3225
HEKMAN, MICHAEL T         5610 WEST R AVE R 2                                                                                 SCHOOLCRAFT        MI    49087
HEKNEBY, OYSTEIN G        9874 HILLCREST ST                                                                                   LIVONIA            MI    48150‐2920
HEKOWCZYK, GEORGE         1712 ABEYTA CT                                                                                      LOVELAND           CO    80538‐3705
HEKSEM JOCELYN            215 PARIS AVE                                                                                       LANSING            MI    48910‐3063
HEKSEM, JOCELYN D         215 PARIS AVE                                                                                       LANSING            MI    48910‐3063
HEKTER GREG               HEKTER, GREG                     120 WEST MADISON STREET , 10TH                                     CHICAGO            IL    60602
                                                           FLOOR
HEKTER, GREG              KROHN & MOSS ‐ IL                120 WEST MADISON STREET, 10TH                                      CHICAGO             IL   60602
                                                           FLOOR
HELAINE BAKER             8126 DUOMO CIRCLE                                                                                   BOYNTON BEACH      FL    33472
HELAINE G HULSMAN         109 E RUTGERS AVE                                                                                   PONTIAC            MI    48340‐2753
HELAIRE, OLEVIA           6114 MASTERS DR                                                                                     SHREVEPORT         LA    71129‐4118
HELAK, ALFRED A           103 N SEINE DR                                                                                      CHEEKTOWAGA        NY    14227‐2421
HELAK, DAVID M            118 CATHEDRAL DR                                                                                    WEST SENECA        NY    14224‐2367
HELAK, STANLEY F          66 LANCASTER AVE                                                                                    LANCASTER          NY    14086‐2914
HELANA NIEMI              3508 SPICER DR                                                                                      SAGINAW            MI    48603‐1759
HELBECK, ALICE V          114 CARSON ST                                                                                       MONROEVILLE        PA    15146‐3110
HELBER, ALLAN A           5641 FAIRFIELD ST SE                                                                                LANCASTER          OH    43130‐8852
HELBER, BONNIE S.         4619 BASHAM LA                                                                                      SUNBURY            OH    43074‐9621
HELBER, BONNIE S.         4619 BASHAM LN                                                                                      SUNBURY            OH    43074‐9621
HELBER, DANIEL J          3952 INLAND DR                                                                                      BAY CITY           MI    48706‐2009
HELBER, RALPH W           7534 TRILLIUM BLVD                                                                                  SARASOTA           FL    34241‐5204
HELBERG JR, ROBERT        125 LACOUR LN                                                                                       PERRY              FL    32348‐4750
HELBERG, GREGORY H        7101 LINDSEY GROVE RD NE                                                                            CEDAR RAPIDS       IA    52402‐7462
HELBERG, MICHAEL R        5371 COOLEY LAKE RD                                                                                 WATERFORD          MI    48327‐3013
HELBERT, GARY L           1956 S R 511 R 6                                                                                    ASHLAND            OH    44805
HELBIG, ANGIE M           3282 WASHINGTON SOUTH RD                                                                            MANSFIELD          OH    44903‐7337
HELBIG, EARL G            88 MASONIC HOME RD APT R306                                                                         CHARLTON           MA    01507‐3303
HELBIG, ELEANORE R        1202 REDMAN AVE                                                                                     MANSFIELD          OH    44905‐2226
HELBIG, JAMIE             WEIMER JOSEPH S                  975 TWO CHATHAM CENTER                                             PITTSBURGH         PA    15219
HELBIG, RONALD
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Name                       Address1                           Address2               Address3    Address4                  City             State Zip
HELBIG, SHERYL A           2210 LOS ARROW DRIVE                                                                            DAYTON            OH 45439‐3020
HELBING, BRUCE C           2 GREENWOOD ROAD                                                                                WILMINGTON        DE 19804‐2651
HELBING, CAROL             2 GREENWOOD ROAD                                                                                WILMINGTON        DE 19804‐2651
HELBING, JAMES A           6161 HAZELHATCH DR                                                                              INDIANAPOLIS      IN 46228‐1130
HELBURN, FREDERICK G       100 E GREYHOUND PASS                                                                            CARMEL            IN 46032‐1041
HELCHER, CAROLYN M         3300 TAM‐O‐SHANTER PL                                                                           GROVE CITY        OH 43123
HELCHER, LEONARD E         4475 MARKET PLACE                                                                               FLINT             MI 48506‐1596
HELCK, RICHARD C           2205 N JACKSON ST                                                                               DANVILLE           IL 61832‐1564
HELCO, MICHAEL J           3130 WILDWOOD DR                                                                                MC DONALD         OH 44437
HELCO, VALERIE S           3130 WILDWOOD DR                                                                                MC DONALD         OH 44437
HELD ELEANOR               2 FAWN LN                                                                                       WARREN            NJ 07059‐5558
HELD JR, MELVILLE B        112 N 200 EAST BOX 458                                                                          FARMINGTON        UT 84025
HELD PAUL                  7135 NORTHMONT CT                                                                               BLACKLICK         OH 43004‐9102
HELD'S AUTO CENTER         621 2ND ST                                                                                      KENYON            MN 55946‐1335
HELD, ANDREA               16065 WELLWOOD RD                                                                               TIPTON            MI 49287‐9631
HELD, ARVID A              N6609 ROUND MEADOW RD                                                                           LADYSMITH         WI 54848‐9623
HELD, BETTY                1127 N SUNNYSLOPE DR UNIT 102                                                                   RACINE            WI 53406‐6339
HELD, DAVID R              6470 MAHONING AVE NE                                                                            ALLIANCE          OH 44601‐8223
HELD, EUGENE F             3801 GRANT AVENUE                                                                               DAYTON            OH 45431‐1991
HELD, FREDERICK            1062 FAYETTEVILLE COXTON RD                                                                     WILLIAMS          IN 47470‐9640
HELD, FREDERICK J          101 E WOOD ST                                                                                   YALE              MI 48097‐3449
HELD, GARY L               12054 BELLEVILLE RD                                                                             BELLEVILLE        MI 48111‐3164
HELD, GREGORY J            1620 W COLE RD                                                                                  FREMONT           OH 43420‐8991
HELD, JAMES                4522 OAKMONT CT                                                                                 SHELBY TWP        MI 48317‐4030
HELD, JOHN E               3187 BLOOMFIELD SHORE DR                                                                        W BLOOMFIELD      MI 48323‐3505
HELD, LAWRENCE J           5 HELEN ST                                                                                      CHEEKTOWAGA       NY 14227‐1720
HELD, LOUIS F              200 LAUREL LAKE DR APT W244                                                                     HUDSON            OH 44236‐2171
HELD, NANCY J.             715 SOUTH HOLLAND‐SYLVANIA RD      LOT 75                                                       TOLEDO            OH 43615
HELD, NANCY J.             715 S HOLLAND SYLVANIA RD LOT 75                                                                TOLEDO            OH 43615‐6369
HELD, ROBERT C             6679 E ALEXANDRIA PIKE                                                                          COLD SPRING       KY 41076‐9187
HELD, ROBERT E             1908 EDGEWOOD DR                                                                                DEFIANCE          OH 43512‐3627
HELD, RONALD J             1708 E BANTA RD                                                                                 INDIANAPOLIS      IN 46227‐4802
HELD, RUSSELL K            7591 N US HIGHWAY 131                                                                           MANTON            MI 49663‐9148
HELD, SANDRA               7357 FAR HILL DR                                                                                COLORADO SPRINGS CO 80922

HELD, THOMAS L             2347 ELMWOOD AVE                                                                                BERWYN            IL   60402‐2421
HELD‐ESCAMILLA, ASTRID M   1301 PARKRIDGE DR                                                                               LADYSMITH         WI   54848‐2808
HELDENBRAND, ESTHER J      C/O DANA L KARL                    1416 DERUSSEY RD                                             COLLINS           OH   44826‐9720
HELDENBRAND, ESTHER J      1416 DERUSSEY RD                   C/O DANA L KARL                                              COLLINS           OH   44826‐9720
HELDENBRAND, JAMES E       38603 SUMMERS ST                                                                                LIVONIA           MI   48154‐4924
HELDENBRAND, MARILYN L     146 LOCKWOOD ST                                                                                 GLADWIN           MI   48624‐8069
HELDENBRAND, RAYMOND E     11393 STATE HIGHWAY 6                                                                           WINSTON           MO   64689‐9182
HELDENBRAND, RICHARD E     7830 HALEY RD                                                                                   WHITE LAKE        MI   48383‐2033
HELDENBURG ADVANCED AUTO   881 US HIGHWAY 19 S                                                                             LEESBURG          GA   31763‐5066
HELDER, VICTORIA L         3986 MCINTYRE CT SW                                                                             GRANDVILLE        MI   49418‐1738
HELDERMAN, MARGARET E      CONSULATE HEALTHCARE               8132 HUDSON AVE                                              HUDSON            FL   34667
HELDERMAN, MARGARET E      8132 HUDSON AVE                    CONSULATE HEALTHCARE                                         HUDSON            FL   34667‐8571
HELDEROP JR, DICK          3595 19 MILE RD                                                                                 BARRYTON          MI   49305‐9458
HELDEROP, OTTO W           1808 PRESCOTT DR                                                                                BILLINGS          MT   59105‐4720
HELDEROP, WANDA M          3595 19 MILE RD                                                                                 BARRYTON          MI   49305‐9458
HELDMAIER ANNA             IM BRAUNKIEL 14                                                       D‐73776 ALTBACH GERMANY

HELDMAIER, ANDREAS         SCHARNHAUSER STR 56                                                   D‐73760 OSTFILDERN
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Name                         Address1                           Address2                      Address3               Address4               City               State Zip
HELDMAN LLOYD E (360938)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK             VA 23510
                                                                STREET, SUITE 600
HELDMAN MICHAEL K (474464)   GEORGE & SIPES                     151 N DELAWARE ST STE 1700                                                  INDIANAPOLIS       IN   46204‐2503
HELDMAN, CRAIG C             12369 TIMBER LINE DR SE                                                                                        ALTO               MI   49302‐9329
HELDMAN, LLOYD E             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA   23510‐2212
                                                                STREET, SUITE 600
HELDMAN, MARTIN E            338 STONEYBROOK GROVE DR                                                                                       GREENWOOD          IN   46142‐2113
HELDMAN, MARY S              5200 SUMMERFIELD XING                                                                                          GREENWOOD          IN   46143‐7942
HELDMAN, MICHAEL K           GEORGE & SIPES                     151 N DELAWARE ST STE 1700                                                  INDIANAPOLIS       IN   46204‐2503
HELDMAN, RENA V              6360 ELMDALE RD., APT#703                                                                                      BROOK PARK         OH   44142
HELDRETH I I, ROBERT E       653 GLENWOOD AVE                                                                                               OWOSSO             MI   48867‐4615
HELDT, HELEN Y               2770 S 126TH ST                                                                                                NEW BERLIN         WI   53151‐4018
HELDT, JAMES W               44810 KEMP ST                                                                                                  STERLING HEIGHTS   MI   48314‐1577
HELDT, JOHN R                300 THE WOODS                                                                                                  BEDFORD            IN   47421‐9378
HELDT, LINDA A               7706 GRANITE                                                                                                   WASHINGTON         MI   48094‐2841
HELDT, LINDA ANN             7706 GRANITE                                                                                                   WASHINGTON         MI   48094‐2841
HELDT, MARTY R               PO BOX 193                                                                                                     LAKEVILLE          MI   48366‐0193
HELDWEIN, BERNARD G          225 ORCHARD PARK RD                C/O LAURA HELDWEIN                                                          WEST SENECA        NY   14224‐2630
HELEMA WATTERS               W852EE ROAD                        APT 602                                                                     DE PERE            WI   54115
HELEN & GERALD TSUPROS       17166 ALSEA HWY                                                                                                ALSEA              OR   97324
HELEN & KURT SALM            11 WESTVIEW DRIVE APT A                                                                                        BLOOMFIELD         CT   06002
HELEN A BERG                 673 SALLY CIRCLE                                                                                               WADSWORTH          OH   44281‐4613
HELEN A BORCHARDT            5029 MERGANSER DR                                                                                              CORPUS CHRISTI     TX   78413
HELEN A BRANNOCK             3324 COUNTY LINE RD                                                                                            WEST FARMINGTON    OH   44491

HELEN A CURRIE               1109 MICHELLE DR S.W.                                                                                          WARREN             OH   44485‐3324
HELEN A EIDENSHINK ISELY     681 NE STUART ST                                                                                               JENSEN BEACH       FL   34957
HELEN A FRANKLIN             367 W DELASON AVE                                                                                              YOUNGSTOWN         OH   44511
HELEN A HAMILTON             129 VALLEY CIRCLE                                                                                              WARREN             OH   44484
HELEN A LYNCH                236 UNION DR                                                                                                   SULPHUR            OK   73086‐9811
HELEN A MEIER                439 RHEA AVE                                                                                                   HAMILTON           OH   45013‐2945
HELEN A SEALS                25350 WAYCROSS                                                                                                 SOUTHFIELD         MI   48033‐6142
HELEN A WELKER               305 GARSON AVE                                                                                                 ROCHESTER          NY   14609‐6232
HELEN A WITKOP               7250 NAGUIB AMIN ST                                                                                            HICKORY            NC   28602‐9543
HELEN A WRIGHT               JACKSON B WRIGHT, DECEASED         C/O MCKENNA & ASSOCIATES PC   436 BOULEVARD OF THE                          PITTSBURGH         PA   15219‐1331
                                                                                              ALLIES ‐ STE 500
HELEN A ZUPKO                69 RIFFLE ST.                                                                                                  STRUTHERS          OH   44471
HELEN A. WOLNIAK             20014 EVERETT LANE                                                                                             MOKENA             IL   60448
HELEN AARON                  2144 N DELPHOS ST                                                                                              KOKOMO             IN   46901‐1665
HELEN ABBOTT                 116 FM 2488                                                                                                    COVINGTON          TX   76636‐4561
HELEN ABBOTT                 10 PERKINS AVE                                                                                                 WILMINGTON         DE   19809‐1722
HELEN ABDUALLAH              2608 WHEELER ST                                                                                                INDIANAPOLIS       IN   46218‐2834
HELEN ABERNATHY              17809 SWELL RD                                                                                                 ATHENS             AL   35613
HELEN ABERNATHY              53 LEISURE LN                                                                                                  ANDERSON           IN   46013‐1062
HELEN ABNER                  7505 SALEM RD                                                                                                  LEWISBURG          OH   45338‐7703
HELEN ABRAHAM                3117 STEVENSON ST                                                                                              FLINT              MI   48504‐3246
HELEN ADAIR                  3424 N RIDGEWOOD DR                                                                                            MIDWEST CITY       OK   73110‐3742
HELEN ADAMS                  534 S JEFFERSON ST                                                                                             KNIGHTSTOWN        IN   46148‐1329
HELEN ADAMS                  1317 WINFIELD DR                                                                                               SWARTZ CREEK       MI   48473‐9709
HELEN ADAMS                  12114 VOLPE DR                                                                                                 STERLING HEIGHTS   MI   48312‐5324
HELEN ADAMS                  1714 WOODLIN DR                                                                                                FLINT              MI   48504‐3603
HELEN ADDIE                  PO BOX 11092                                                                                                   KANSAS CITY        KS   66111
HELEN ADKINS                 3094 HAROLD DR                                                                                                 COLUMBIAVILLE      MI   48421‐8915
HELEN ADKINS                 37 E CHARLOTTE ST                                                                                              ECORSE             MI   48229‐1754
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HELEN AFFELT              7751 COUNTRY COVE CT                                                                                         CITRUS HEIGHTS    CA     95610‐3974
HELEN AGLI                123 DIBBLE HOLLOW LN                                                                                         WINDSOR LOCKS     CT     06096‐2731
HELEN AIKENS              3332 E 112TH ST                                                                                              CLEVELAND         OH     44104‐5708
HELEN AKERS               2058 WOODCUTTER CT                                                                                           SPRING HILL       FL     34606‐3751
HELEN ALBERTELLI          86 FAIRCREST RD                                                                                              ROCHESTER         NY     14623‐4143
HELEN ALDRICH             13707 DALLAS DR RM 340                                                                                       HUDSON            FL     34667‐7140
HELEN ALDRIDGE            2011 M RECTOR AVE                                                                                            MUNCIE            IN     47303
HELEN ALEXANDER           116 CHERRYHILL DR                                                                                            DAVISON           MI     48423‐9128
HELEN ALEXAS              426 E WHEELING ST #H‐4                                                                                       WASHINGTON        PA     15301
HELEN ALFORD              818 E BALTIMORE BLVD                                                                                         FLINT             MI     48505‐3522
HELEN ALIEKSAITES         626 NORTHRUP AVE                                                                                             KANSAS CITY       KS     66101‐3302
HELEN ALLEN               3300 W 44TH ST                                                                                               CLEVELAND         OH     44109‐1074
HELEN ALLEN               1401 E TUCKER BLVD                                                                                           ARLINGTON         TX     76010‐5939
HELEN ALLEN               2817 MINERAL SPRINGS RD                                                                                      BOYDTON           VA     23917‐4440
HELEN ALLEN               1920 DELANCEY DR                                                                                             NORMAN            OK     73071‐3817
HELEN ALLISON             4752 BLACK SWAN DR                                                                                           SHAWNEE           KS     66216‐1235
HELEN ALLRED              7845 LA MONA CIR                                                                                             BUENA PARK        CA     90620‐2334
HELEN ALPINE              120 VILLAGE DR                                                                                               SEVEN HILLS       OH     44131‐5709
HELEN ALTHOFF             # 127                          8830 WALTHER BOULEVARD                                                        PARKVILLE         MD     21234‐9020
HELEN ALVAREZ             APT 207                        901 CEDAR AVENUE                                                              NIAGARA FALLS     NY     14301‐1146
HELEN ANCANS              1721 LENORA TER NW                                                                                           GRAND RAPIDS      MI     49504‐4944
HELEN ANDERS              PO BOX 539                                                                                                   WASKOM            TX     75692‐0539
HELEN ANDERSON            2711 WRIGHT WAY                                                                                              ANDERSON          IN     46011‐9036
HELEN ANDERSON            G‐3252 N TERM ST                                                                                             FLINT             MI     48506
HELEN ANDERSON            6785 SWAN CREEK RD                                                                                           SAGINAW           MI     48609‐7040
HELEN ANDERSON            12650 VALLEY VUE LN            C/O WILLIAM PROSSER SR                                                        DE SOTO           MO     63020‐6510
HELEN ANDRIASCHKO         23601 MASCH AVE                                                                                              WARREN            MI     48091‐4731
HELEN ANN HAGOOD          ACCT OF ANDREW S HAGOOD        59 BRANDY CT                                                                  SAINT CHARLES     MO     63303‐5052
HELEN ANNE ABAJIAN TTEE   1391 HARMONY DR                                                                                              PORT CHARLOTTE    FL     33952‐2706
HELEN ANNE SWEITZER       ATTN ROBERT W PHILLIPS         SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD PO BOX                          EAST ALTON         IL    62024
                                                         ANGELIDES & BARNERD LLC    521
HELEN ANTCZAK             83 DOVE TREE LN                                                                                              ROCHESTER        NY      14626‐4714
HELEN ANTOL               7826 POLK ST                                                                                                 TAYLOR           MI      48180‐2550
HELEN ARAMBAGES           22738 SAXONY AVE                                                                                             EASTPOINTE       MI      48021‐1844
HELEN ARAUJO              377 CASCADE PL                                                                                               ROCHESTER        NY      14609‐1537
HELEN ARBUCKLE            21 S LINCOLN RD                                                                                              BAY CITY         MI      48708‐9131
HELEN ARMBRUSTER          1838 ELKRIDGE CT                                                                                             HIGHLAND         MI      48356‐2478
HELEN ARMINIO             216 N 17TH ST                                                                                                BLOOMFIELD       NJ      07003‐5923
HELEN ARMSTRONG           6902 E 113TH ST                                                                                              KANSAS CITY      MO      64134‐3317
HELEN ARNAUT              5479 MEAD ST                                                                                                 DEARBORN         MI      48126‐3019
HELEN ARNHART             3214 PHOENIX DR                                                                                              MUSKOGEE         OK      74403‐6203
HELEN ARNOLD              PO BOX 213                                                                                                   ALBANY           IN      47320‐0213
HELEN ARNOLD              250 WASHINGTON AVE                                                                                           CAMDEN           TN      38320‐1130
HELEN ARNWINE             5622 UNIVERSITY AVE APT 16                                                                                   SAN DIEGO        CA      92105‐2324
HELEN ARRAND              2227 BLACKTHORN DR                                                                                           BURTON           MI      48509‐1203
HELEN ARTHER              301 E PIERSON RD                                                                                             FLINT            MI      48505‐3311
HELEN ARTINO              396 OAK AVENUE                                                                                               RIVER EDGE       NJ      07661‐1119
HELEN ASKEW               10000 W RIDGEWOOD DR APT 403                                                                                 PARMA HEIGHTS    OH      44130‐4054
HELEN ASSELIN             421 W ORANGE ST                                                                                              ALTAMONTE        FL      32714‐2413
                                                                                                                                       SPRINGS
HELEN ATKINSON            3376 WALNUT ST                                                                                               EAST TAWAS        MI     48730‐9451
HELEN AUDRIA              1874 WELLINGTON DR                                                                                           LANGHORNE         PA     19047‐1310
HELEN AUGELLO             22 E CREST DR                                                                                                ROCHESTER         NY     14606‐4738
HELEN AUGUST              17345 EDGEWATER DR                                                                                           PORT CHARLOTTE    FL     33948‐2343
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HELEN AULT                        11217 DONKEY FLT                                                                                        HELOTES             TX     78023‐4281
HELEN AURAND                      1119 KINGS CARRIAGE RD                                                                                  GRAND BLANC         MI     48439‐8715
HELEN AVIGNE                      6421 CADILLAC ST                                                                                        GARDEN CITY         MI     48135‐1604
HELEN AZEVEDO                     2275 HILLSBURY RD                                                                                       WESTLAKE VILLAGE    CA     91361‐3533

HELEN B BRYANT                    138 N.E. FATIMA TERRANCE                                                                                PORT ST LUCIE      FL      34983
HELEN B EAKINS                    5540 FAIRFIELD DRIVE                                                                                    WAYNESVILLE        OH      45068
HELEN B FREEMAN                   WEITZ & LUXENBERG PC               700 BROADWAY                                                         NEW YORK CITY      NY      10003
HELEN B HATHAWAY                  1134 SHADOWRIDGE DR                                                                                     NILES              OH      44446‐3559
HELEN B HUFFMAN                   531 CHAUCER RD                                                                                          DAYTON             OH      45431‐2010
HELEN B LYTLE                     18602 MICA DR                                                                                           SUN CITY WEST      AZ      85375
HELEN B MORROW                    19437 BURGESS                                                                                           DETROIT            MI      48219‐1873
HELEN B REYNOLDS                  1394 HOUSEL CRAFT RD.,N.E.                                                                              CORTLAND           OH      44410‐9512
HELEN B TURNER                    901 PALLISTER ST APT 1013                                                                               DETROIT            MI      48202‐2676
HELEN B WASHINGTON                7052 GLADHURST RD                                                                                       MAGNOLIA           MS      39652
HELEN B YONCHAK                   883 VALLEY VIEW DR NE                                                                                   BROOKFIELD         OH      44403‐9654
HELEN B. PRUDEN TTEE FBO HELEN    2551 NE 35TH ST                                                                                         LIGHTHOUSE POINT   FL      33064
PRUDEN
HELEN BAAL                        2A HUNTERS WOODS BLVD                                                                                   CANFIELD           OH      44406‐8763
HELEN BABBITT                     17329 EASTLAND ST                                                                                       ROSEVILLE          MI      48066‐2018
HELEN BACHAKES                    PO BOX 320425                                                                                           FLINT              MI      48532‐0008
HELEN BACHMANN                    609 S COLUMBUS ST                                                                                       FREDERICKSBURG     TX      78624‐5217
HELEN BACHORIK                    138 TORREY PINES DR                                                                                     TOMS RIVER         NJ      08757‐5722
HELEN BAER                        924 W CABRIOLET WAY                                                                                     PENDLETON          IN      40664‐8832
HELEN BAK TRUST U/A DTD 2/18/98   HELEN BAK TRUSTEE                  1887 ENGEL RD                                                        WEST BRANCH        MI      48661
HELEN BAKER                       540 GREAT OAKS TRL                 C/O WADSWORTH POINTE NURSING                                         WADSWORTH          OH      44281‐8799
                                                                     HOME
HELEN BAKER                       4110 RUTH AVE                                                                                           LANSING             MI     48910‐3624
HELEN BAKER                       351 N SQUIRREL RD LOT 48                                                                                AUBURN HILLS        MI     48326‐4041
HELEN BAKKER                      5999 ABBOTT ST                                                               WINDSOR ON N9J3L6 CANADA

HELEN BAKSA                       3371 CRANDON DR                                                                                         DAVISON            MI      48423‐8519
HELEN BALDWIN                     105 62ND ST W                                                                                           BRADENTON          FL      34209‐2444
HELEN BALENT                      226 EDWARDS ST                                                                                          DANVILLE           IL      61832‐6506
HELEN BALIKO                      5457 LEEWARD LN                    GULF HARBORS                                                         NEW PORT RICHEY    FL      34652‐3057
HELEN BALL                        10719 S WALLACE ST                                                                                      CHICAGO            IL      60628‐3207
HELEN BANTER                      2094 S 380 E                                                                                            ANDERSON           IN      46017‐9727
HELEN BARGIEL                     38640 FAIRFIELD DR                                                                                      STERLING HEIGHTS   MI      48310‐3145
HELEN BARICKO                     833 PORTOBELLO RD                                                                                       TOMS RIVER         NJ      08753‐4005
HELEN BARKER                      14521 LEFFINGWELL RD                                                                                    BERLIN CENTER      OH      44401‐9630
HELEN BARKER                      4802 EDGEWOOD DR                                                                                        HARRISON           MI      48625‐9652
HELEN BARKER                      20 N NEPTUNE AVE                                                                                        CLEARWATER         FL      33765‐3125
HELEN BARNES                      PO BOX 145                                                                                              GRAND LEDGE        MI      48837‐0145
HELEN BARNETT                     5873 MILLAY CT                                                                                          NORTH FORT MYERS   FL      33903‐4524

HELEN BARNEY                      PO BOX 31                                                                                               CONSTABLE           NY     12926‐0031
HELEN BARO                        10321 BARNARD DR                                                                                        CHICAGO RIDGE       IL     60415‐1407
HELEN BARR                        APT 315                            108 SOUTH CHAUNCEY STREET                                            COLUMBIA CITY       IN     46725‐2353
HELEN BARRETT                     14791 FAIRMOUNT DR                                                                                      DETROIT             MI     48205‐1316
HELEN BARRETT                     30333 E WELLTON MOHAWK DR SPC 75                                                                        WELLTON             AZ     85356‐5504
HELEN BARRON                      11278 S 200 W                                                                                           BUNKER HILL         IN     46914‐9548
HELEN BARRY                       1471 LONG POND RD APT 320                                                                               ROCHESTER           NY     14626‐4132
HELEN BARSZCZ                     2033 SW BEEKMAN ST                                                                                      PORT SAINT LUCIE    FL     34953‐1766
HELEN BARSZCZOWSKI                14117 ADAMS AVE                                                                                         WARREN              MI     48088‐5706
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HELEN BARTEL        109 WELTS ST                                                                                    MOUNT CLEMENS       MI 48043‐1757
HELEN BARTLETT      1225 GLEESON CT                                                                                 ALBANY              IN 47320‐8933
HELEN BARTON        8795 N TIMBERLANE DR                                                                            FOUNTAINTOWN        IN 46130‐9737
HELEN BARTON        586 FRANKLIN RD                                                                                 WAYNESVILLE         OH 45068‐8402
HELEN BATES         3760 5 MILE RD                   P O BOX 121                                                    SOUTH LYON          MI 48178‐9696
HELEN BATES         11071 MINDEN ST                                                                                 DETROIT             MI 48205‐3758
HELEN BATTAGLIA     267 GREENE ST                                                                                   BUFFALO             NY 14206‐1012
HELEN BATTEN        21612 MASONIC BLVD                                                                              SAINT CLAIR SHORES MI 48082‐1085

HELEN BATTLES       3869 THOROUGHBRED TRL                                                                           FORT WORTH         TX   76123‐2571
HELEN BATTS         2654 STERNER ST NW                                                                              GRAND RAPIDS       MI   49504‐5800
HELEN BATZDORF      999 EAST AVE SE                                                                                 WARREN             OH   44484‐4903
HELEN BATZDORF      BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH   44236
HELEN BAUMANN       16100 E INDIAN HILLS RD                                                                         NEWALLA            OK   74857‐7125
HELEN BAYNE         4118 E 61ST ST                                                                                  INDIANAPOLIS       IN   46220‐4667
HELEN BAYUS         1342 WARNER RD NE                                                                               BROOKFIELD         OH   44403‐9752
HELEN BEACH         PO BOX 178                                                                                      HONEOYE            NY   14471‐0178
HELEN BEAL          18404 GREENWALD DR                                                                              SOUTHFIELD         MI   48075‐5863
HELEN BEAUDRY       117 ORCHARD ST                                                                                  MERIDEN            CT   06450‐3453
HELEN BECKERMAN     302 E. MAIN STREET                                                                              ALLENDALE          IL   62410
HELEN BEEMON        2434 ANNESLEY ST                                                                                SAGINAW            MI   48601‐1511
HELEN BELCHER       5769 N COUNTY ROAD 850 W                                                                        MIDDLETOWN         IN   47356‐9774
HELEN BELER         8916 KIRK RD                                                                                    NORTH JACKSON      OH   44451‐9740
HELEN BELLCOFF      16451 KENNEDY ST                                                                                ROSEVILLE          MI   48066‐2325
HELEN BELOUSEK      APT 7                            5706 129TH STREET                                              CRESTWOOD          IL   60445‐1151
HELEN BELTER        279 DEAN RD                                                                                     DEPEW              NY   14043‐1309
HELEN BELZ          C/O N P KIRSCHNER 342 PALISADE                                                                  DOBBS FERRY        NY   10522
HELEN BENEFIEL      204 W 14TH ST                                                                                   MISHAWAKA          IN   46544‐5215
HELEN BENISH        210 W PRICE ST                                                                                  LINDEN             NJ   07036
HELEN BENJAMIN      9401 C ST                                                                                       OAKLAND            CA   94603‐1335
HELEN BENNETT       PO BOX 352                                                                                      KINSMAN            OH   44428‐0352
HELEN BENNETT       855 RONNIE WAY                                                                                  COLUMBUS           OH   43207‐4786
HELEN BENNINGER     27110 PERRY ST                                                                                  ROSEVILLE          MI   48066‐2742
HELEN BENSON        35121 AVONDALE ST                                                                               WESTLAND           MI   48186‐4344
HELEN BENTON        3456 DELAWARE AVE 120W                                                                          BUFFALO            NY   14217
HELEN BERGER        76 SAND HILL ROAD                                                                               WEATOGUE           CT   06089‐9701
HELEN BERGNER       4 WESTWIND ROAD                                                                                 DANVERS            MA   01923‐1658
HELEN BERHALTER     758 SCHWARTZ DR                                                                                 HAMILTON           OH   45013‐1747
HELEN BERRY         118 WINNE RD                                                                                    DELMAR             NY   12054‐4015
HELEN BETHEA        1681 MCALPINE DR                                                                                MT MORRIS          MI   48458‐2356
HELEN BEZUE         15775 ROSEMONT AVE                                                                              DETROIT            MI   48223‐1329
HELEN BEZWUSZCZAK   4223 MARTIN RD                                                                                  WARREN             MI   48092‐2572
HELEN BIALO         6889 DREXEL ST                                                                                  DEARBORN HEIGHTS   MI   48127‐2214

HELEN BIBB          35157 CENTER RIDGE RD LOT 115                                                                   NORTH RIDGEVILLE   OH   44039‐3076

HELEN BIBBY         170 FORESTVIEW CIR                                                                              COLUMBIA           SC   29212‐2470
HELEN BIDUS         3557 MATADOR W APT 101                                                                          TRAVERSE CITY      MI   49684‐4300
HELEN BIEN          9511 DALEVIEW DR                                                                                SOUTH LYON         MI   48178‐9106
HELEN BIESIADECKI   8201 VIRGIL ST                                                                                  DEARBORN HTS       MI   48127‐1519
HELEN BIGBEE        3618 SONORA PL                                                                                  DAYTON             OH   45416‐1134
HELEN BIGELOW       3110 RAINBOW RD                                                                                 TAVARES            FL   32778‐4897
HELEN BIGGIE        106 DOYLE AVE                                                                                   BUFFALO            NY   14207‐1357
HELEN BILLADEAUX    1161 SE PETUNIA AVE                                                                             PORT SAINT LUCIE   FL   34952‐5322
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Name                Address1                      Address2            Address3         Address4               City             State   Zip
HELEN BILLINGTON    13544 DOMINIC DR                                                                          WARREN            MI     48088‐1817
HELEN BILYEU        855 GREENHILL WAY                                                                         ANDERSON          IN     46012‐9264
HELEN BINGER        2750 LAKEVILLE RD                                                                         OXFORD            MI     48370‐2419
HELEN BINT          4646 IRIS LN                                                                              TRAVERSE CITY     MI     49684‐7833
HELEN BIRCH         111 ROBBINWOOD TER                                                                        LINDEN            NJ     07036‐3728
HELEN BISHOP        3451 VOLKMER RD                                                                           CHESANING         MI     48616‐9764
HELEN BISHOP        561 COUNTY HWY 83A W                                                                      FREEPORT          FL     32439‐2722
HELEN BISSANTZ      3726 LOUDON RD                                                                            GEORGETOWN        OH     45121‐8246
HELEN BISSELL       4590 TOD AVE SW                                                                           WARREN            OH     44481‐9750
HELEN BIVER         3885 LAWNDALE RD                                                                          SAGINAW           MI     48603‐1630
HELEN BIZYK         3082 WOODLAWN DR                                                                          PARMA             OH     44134‐3946
HELEN BLACK         15294 STATE ROUTE 249                                                                     NEY               OH     43549‐9741
HELEN BLACK         841 WOODINGHAM AVE                                                                        WATERFORD         MI     48328‐4174
HELEN BLACKWELL     192 CARPENTER DR                                                                          MITCHELL          IN     47446‐6604
HELEN BLACKWELL     60 BETTIE LN                                                                              BRUNSWICK         OH     44212‐1413
HELEN BLAKENEY      56 GUILFORD ST                                                                            BUFFALO           NY     14212‐1134
HELEN BLANDOWSKI    10695 TALLADAY RD                                                                         WILLIS            MI     48191‐9734
HELEN BLANKENSHIP   2008 UNIVERSITY AVE                                                                       FLINT             MI     48504‐6218
HELEN BLAZEJEWSKI   30751 WASHINGTON BLVD                                                                     WARREN            MI     48093‐2170
HELEN BLUYS         9231 DOWNING RD                                                                           BIRCH RUN         MI     48415‐9734
HELEN BOBAK         112 EASY ST                                                                               UNIONTOWN         PA     15401
HELEN BOBALIK       1087 ENCOURTE GRN                                                                         APOPKA            FL     32712‐2101
HELEN BODELL        1608 SUSIE CIR                                                                            RUSKIN            FL     33570‐5551
HELEN BOERNER       16346 BENMAR DR                                                                           ROSEVILLE         MI     48066‐2002
HELEN BOGER         3404 YOUNGS RIDGE RD                                                                      LAKELAND          FL     33810‐0781
HELEN BOLES         11571 WHEELER AVE                                                                         LAKE VIEW TER     CA     91342‐7145
HELEN BOLES         910 MURFREESBORO RD APT 249                                                               FRANKLIN          TN     37064‐3050
HELEN BOLES         PO BOX 141014                                                                             TOLEDO            OH     43614‐9007
HELEN BOLICK        212 E COLUMBIA AVE                                                                        MOUNT CARMEL      PA     17851‐1006
HELEN BOLTON        1365 N HIDDEN CREEK DR                                                                    SALINE            MI     48176‐9018
HELEN BOMBER        816 FOX RUN RD APT A                                                                      FINDLAY           OH     45840‐7493
HELEN BOMMER        421 LEYDECKER ROAD                                                                        BUFFALO           NY     14224‐3753
HELEN BONCZAK       22580 W MAIN ST                                                                           ARMADA            MI     48005
HELEN BONKOWSKI     13849 5TH AVE                                                                             MARION            MI     49665‐8368
HELEN BONNER        2502 MONTGOMERY ST                                                                        SAGINAW           MI     48601‐4232
HELEN BONOWICZ      9578 GRAYFIELD                                                                            DETROIT           MI     48239‐1424
HELEN BOOKER        PO BOX 268                                                                                ENGLEWOOD         OH     45322‐0268
HELEN BOOSE         3615 COLUMBUS AVENUE                                                                      SANDUSKY          OH     44870‐5559
HELEN BOOTH         509 SHIP ST APT 524                                                                       SAINT JOSEPH      MI     49085
HELEN BORDERS       12821 S ABERDEEN ST                                                                       CALUMET PARK       IL    60827‐6510
HELEN BORSAI        35 WESTON RD                                                                              SOMERSET          NJ     08873‐5234
HELEN BORSOS        225 W PHILADELPHIA AVE                                                                    MORRISVILLE       PA     19067‐2432
HELEN BOTLEY        914 N 8TH ST                                                                              KINDER            LA     70648‐3178
HELEN BOTLUK        735 HOPEWELL RD                                                                           RISING SUN        MD     21911‐2130
HELEN BOTTORF       650 MAYER DR                                                                              MANSFIELD         OH     44907‐1818
HELEN BOTWIN        57671 WOODCREEK                                                                           LENOX             MI     48048‐2967
HELEN BOUKNIGHT     1519 PLYMOUTH AVE SE                                                                      GRAND RAPIDS      MI     49506‐4146
HELEN BOULAHANIS    21550 WOODVIEW DR                                                                         WOODHAVEN         MI     48183‐1653
HELEN BOURGEOIS     5557 MANSFIELD AVE                                                                        STERLING HTS      MI     48310‐5700
HELEN BOVE          7035 WHEELER DR                                                                           CLIO              MI     48420‐8511
HELEN BOWEN         3620 E SHORE DR                                                                           PORTAGE           MI     49002‐6577
HELEN BOWMAN        RT=4 3344 HESS ROAD                                                                       LOCKPORT          NY     14094
HELEN BOWSER        1305 SOMERSET LN                                                                          JEFFERSON CITY    MO     65101‐8705
HELEN BOXLEY        8597 AMERICAN ST                                                                          DETROIT           MI     48204‐3324
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Name              Address1                         Address2               Address3    Address4               City              State   Zip
HELEN BOYD        1101 W 1ST ST                                                                              ANDERSON           IN     46016
HELEN BOYIDDLE    APT 32                           404 SOUTH 2ND STREET                                      YUKON              OK     73099‐3649
HELEN BOZICK      31350 JAY DR                                                                               WARREN             MI     48093‐1746
HELEN BRACE       4041 GAINES BASIN RD                                                                       ALBION             NY     14411‐9313
HELEN BRADER      61018 EVERGREEN COURT                                                                      SOUTH LYON         MI     48178‐1728
HELEN BRADLEY     317 SYCAMORE GLEN DR             APT 200                                                   MIAMISBURG         OH     45342‐5710
HELEN BRADLEY     46329 SPRUCE DR                                                                            SHELBY TOWNSHIP    MI     48315‐5755
HELEN BRADLEY     482 W BOSTON AVE                 D                                                         YOUNGSTOWN         OH     44511‐3120
HELEN BRAMMER     3701 BAYNARD DR                                                                            PUNTA GORDA        FL     33950‐7517
HELEN BRANAGH     6250 S COMMERCE CT APT 1122                                                                TUCSON             AZ     85746‐6010
HELEN BRANCHICK   1606 COHASSETT AVE                                                                         LAKEWOOD           OH     44107‐4906
HELEN BRANNEMAN   8501 DILLON ROAD                                                                           CHARLESTOWN        IN     47111‐9666
HELEN BRANNOCK    3324 COUNTY LINE RD                                                                        WEST FARMINGTON    OH     44491

HELEN BRANTLEY    1196 NORTHSIDE DR NW                                                                       CONYERS           GA      30012‐4126
HELEN BRAUCHLA    802 HERITAGE LN                                                                            ANDERSON          IN      46013‐1421
HELEN BREWER      5412 CHARLOTTE AVE APT 109                                                                 NEW PORT RICHEY   FL      34652‐3412
HELEN BRICKER     18 WOODBERRY DR                                                                            MOUNT VERNON      OH      43050‐9035
HELEN BRIDGES     100 W BROAD ST APT 318           THE COURTYARD                                             CENTRAL CITY      KY      42330‐1586
HELEN BRIDGES     4351 N IRWIN AVE                                                                           INDIANAPOLIS      IN      46226‐3647
HELEN BROCK       3832 E FAIRMOUNT AVE                                                                       PHOENIX           AZ      85018‐5214
HELEN BROCKERT    35328 SHELL DR                                                                             STERLING HTS      MI      48310‐4922
HELEN BROKAW      300 S MAIN ST APT 114                                                                      DAVISON           MI      48423‐1631
HELEN BROKER      9834 JOAN DR. MARK ACRES                                                                   NO HUNTINGDON     PA      15642
HELEN BROOK       8661 W EUGENE ST                                                                           KINGMAN           IN      47952‐7013
HELEN BROOKS      330 E MAIN ST APT 501                                                                      NEWARK            DE      19711‐8403
HELEN BROOKS      3713 N TERM ST                                                                             FLINT             MI      48506‐2679
HELEN BROOKS      17195 COUNTY ROAD 460                                                                      MOULTON           AL      35650‐6552
HELEN BROOKS      14202 ASHWOOD RD                                                                           SHAKER HTS        OH      44120‐2856
HELEN BROOKS      814 S 14TH ST                                                                              SAGINAW           MI      48601‐2209
HELEN BROWN       7300 STERLING AVE                                                                          RAYTOWN           MO      64133‐6858
HELEN BROWN       5 OAKVIEW DR                                                                               GREENVILLE        PA      16125‐1119
HELEN BROWN       30136 GLOEDE DR                                                                            WARREN            MI      48088‐5923
HELEN BROWN       111 CUMPTON CIR                                                                            COLUMBIA          LA      71418‐4157
HELEN BROWN       5060 E OUTER DR                                                                            DETROIT           MI      48234‐3401
HELEN BROWN       216 S MAIN ST                                                                              SPENCER           OH      44275‐9745
HELEN BROWN       3544 W 127TH ST                                                                            CLEVELAND         OH      44111‐4501
HELEN BROWN       901 CEDAR AVE APT 1106                                                                     NIAGARA FALLS     NY      14301‐1149
HELEN BROWN       14 JONQUIL LN                                                                              LEVITTOWN         PA      19055‐2306
HELEN BROWN       4227 CLEVELAND AVE                                                                         DAYTON            OH      45410‐3405
HELEN BROWN       317 CORNING DR                                                                             BRATENAHL         OH      44108‐1013
HELEN BROWN       208 ZACHERY DR APT 126                                                                     MOUNT VERNON      IL      62864‐6746
HELEN BROWN       11881 W COUNTY ROAD 650 S                                                                  DALEVILLE         IN      47334‐9404
HELEN BROWN       5155 VICTORY LN                                                                            BASTROP           LA      71220‐7270
HELEN BROWN       3120 EMERY LN                                                                              ROBBINS           IL      60472
HELEN BROWN       1446 BELLVILLE JOHNSVILLE ROAD                                                             BELLVILLE         OH      44813‐9221
HELEN BROWN       PO BOX 710                                                                                 HARRISON          MI      48625‐0710
HELEN BRUMLEY     1526 DAYTON XENIA RD                                                                       XENIA             OH      45385‐7115
HELEN BRUSSEAU    319 HARMONY CT                                                                             ANDERSON          IN      46013‐1052
HELEN BRUTZ       140 SHERIDAN AVE                                                                           NILES             OH      44446‐1827
HELEN BRYAN       PO BOX 296                                                                                 WRIGHT CITY       MO      63390‐0296
HELEN BRYANT      138 N.E. FATIMA TERRANCE                                                                   PORT ST LUCIE     FL      34983
HELEN BRYK        6349 ORCHARD AVE                                                                           DEARBORN          MI      48126‐2069
HELEN BUCELLA     8552 LOGIA CIR                                                                             BOYNTON BEACH     FL      33472‐7111
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HELEN BUCHHOLZ              368 ORENDA CIR                 C/O ARLINE S PASS                                              WESTFIELD         NJ     07090‐2927
HELEN BUCKLES               143 S WRIGHT AVE                                                                              DAYTON            OH     45403‐2849
HELEN BUJAK                 14727 BRISTOL CT                                                                              SHELBY TWP        MI     48315‐4410
HELEN BULLOCK               4500 W PETTY RD                                                                               MUNCIE            IN     47304‐2490
HELEN BURCAR                3914 BRANCH RD                                                                                FLINT             MI     48506‐2418
HELEN BURDETT               7935 RIDGE RD                                                                                 GASPORT           NY     14067‐9317
HELEN BURG                  5300 WASHINGTON ST APT P236                                                                   HOLLYWOOD         FL     33021‐7778
HELEN BURGESS               5261 LONGWOOD COBE                                                                            HORN LAKE         MS     38637
HELEN BURGESS               3615 HERITAGE PKWY                                                                            DEARBORN          MI     48124‐3186
HELEN BURKE                 1104 GREENBRIAR DR                                                                            ANDERSON          IN     46012‐4528
HELEN BURKES                20301 EVERGREEN RD                                                                            DETROIT           MI     48219‐1468
HELEN BURKHART              30 DODGE DR                                                                                   TRENTON           NJ     08610‐1939
HELEN BURKLOW               1008 W BAIN ST                                                                                DEXTER            MO     63841‐1955
HELEN BURLEY                6378 E PIERSON RD                                                                             FLINT             MI     48506‐2256
HELEN BURLEY‐MROCZKIEWICZ   4444 S HENDERSON RD                                                                           DAVISON           MI     48423‐8731
HELEN BURNS                 39 COLIN KELLY DR                                                                             DAYTON            OH     45431‐1338
HELEN BURNS                 2234 HARWINE STREET                                                                           FLINT             MI     48532‐5120
HELEN BURNS                 2100 SPRINGPORT RD             #149                                                           JACKSON           MI     49202
HELEN BURT                  PO BOX 298                                                                                    CHINA SPRING      TX     76633‐0298
HELEN BURT                  1714 GRIGGS DR                                                                                FLINT             MI     48504‐7011
HELEN BUSK                  10890 E 24TH ST                                                                               REED CITY         MI     49677‐8830
HELEN BUTLER                1006 EDWARDIAN WAY SW                                                                         CULLMAN           AL     35055‐4840
HELEN BUTLER                C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                      HOUSTON           TX     77007
                            BOUNDAS LLP
HELEN BUTSKI                6589 CHIRREWA ST                                                                              WESTLAND         MI      48185‐2806
HELEN BUTURLIA              38535 MONET DR                                                                                ZEPHYRHILLS      FL      33540‐6527
HELEN BYERS                 800 E SOUTH B ST APT 53                                                                       GAS CITY         IN      46933‐2110
HELEN BYERS                 1034 BUMBLEBEE WAY                                                                            GREENFIELD       IN      46140‐3163
HELEN BYNDON                BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS   OH      44236
HELEN BYRD                  118 HINTON DR                                                                                 HATTIESBURG      MS      39401‐8405
HELEN BYRNE                 2541 CROFTON CT                                                                               SUWANEE          GA      30024‐3561
HELEN BYSKO                 6425 MCCANDLISH RD                                                                            GRAND BLANC      MI      48439‐9555
HELEN C CANNON              66 GARDEN DR                                                                                  TAYLORSVILLE     KY      40071‐7179
HELEN C CHAPPELL            27629 WAGNER DR                                                                               WARREN           MI      48093‐4647
HELEN C DULINSKY            1309 CRESTWOOD AVE                                                                            YPSILANTI        MI      48198‐5941
HELEN C FOX                 354 ADELAIDE SE                                                                               WARREN           OH      44483
HELEN C HUNT                28028 UNIVERSAL DRIVE                                                                         WARREN           MI      48092‐2428
HELEN C JONES               3155 MALINA AVE                                                                               DAYTON           OH      45414‐1641
HELEN C LAIBSTAIN TTEE      745 GRAMBY ST                                                                                 NORFOLK          VA      23510
HELEN C MOORE               C/O EDWARD O MOODY PA          801 WEST 4TH STREET                                            LITTLE ROCK      AR      72201
HELEN C NEMETH              HAWTHORNE INN                  15 MAIN STREET                                                 HILTON HEAD      SC      29926
                                                                                                                          ISLAND
HELEN C QUINN TRUST         JEANINE BROOMHALL TTEE         73 CURTISS RD                                                  WARREN           CT      06777
HELEN C SHAKER              2390 STILLWAGON SE                                                                            WARREN           OH      44484‐3172
HELEN C SMITH               539 PENHALE AVENUE                                                                            CAMPBELL         OH      44405‐1559
HELEN C SMITH               8914 N FITZGERALD WAY                                                                         MISSOURI CITY    TX      77459‐6614
HELEN CADIMA                4207 HARTWICK VILLAGE PLACE                                                                   LOUISVILLE       KY      40241‐3030
HELEN CADMAN                139 COLUMBIA AVE                                                                              GREENVILLE       PA      16125‐1903
HELEN CALDWELL              4442 LOUISE CT                                                                                GENESEE          MI      48437‐7715
HELEN CALKINS               1614 MORRIS PL                                                                                NILES            OH      44446‐2840
HELEN CALL                  1141 RAMSGATE RD APT 4                                                                        FLINT            MI      48532‐3136
HELEN CALLOW                130 PARADISE BLVD              C/O ROBERT CALLOW                                              MADISON          OH      44057‐2741
HELEN CAMERON               27 E JAY ST                                                                                   NEWTON FALLS     OH      44444‐1349
HELEN CAMMACK               5506 ARBOR DR APT 3                                                                           ANDERSON         IN      46013‐1368
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Name                    Address1                        Address2                 Address3    Address4               City             State   Zip
HELEN CAMPBELL          704 MIMOSA DR NW                                                                            CLEVELAND         TN     37312‐3940
HELEN CAMPBELL          1632 220TH AVE                                                                              MORA              MN     55051‐6704
HELEN CAMPBELL          12135 KLINGER ST                                                                            HAMTRAMCK         MI     48212‐2754
HELEN CAMPBELL          619 S 17TH ST                                                                               ESCANABA          MI     49829‐2448
HELEN CAMPBELL          125 LEHRING RD                  PO BOX 231                                                  BYRON             MI     48418‐9100
HELEN CAMPBELL          14912 FAIRMOUNT DR                                                                          DETROIT           MI     48205‐1319
HELEN CAMPOS            14500 OLIVE VIEW DR APT 101                                                                 SYLMAR            CA     91342‐1540
HELEN CANFIELD          3032 N M33                                                                                  CHEBOYGAN         MI     49721
HELEN CANTWELL          33690 CHESTNUT RIDGE RD                                                                     N RIDGEVILLE      OH     44039‐4258
HELEN CAPITO            330 EASTLAND AVE SE                                                                         WARREN            OH     44483‐6317
HELEN CAREY             PO BOX 44176                                                                                LOS ANGELES       CA     90044‐0176
HELEN CARLTON           166 N SASHABAW RD                                                                           ORTONVILLE        MI     48462‐8965
HELEN CARPENTER         7622 KRUPP AVE NE                                                                           COMSTOCK PARK     MI     49321‐8264
HELEN CARPENTER         23 S JESSIE ST                                                                              PONTIAC           MI     48342‐2814
HELEN CARREL            725 SUTHERLAND AVE                                                                          JANESVILLE        WI     53545‐1627
HELEN CARROLL           2625 TYLER RD                                                                               YPSILANTI         MI     48198‐6183
HELEN CARSON            172 THURSTON PL                                                                             CRESTVIEW         FL     32536‐5501
HELEN CARTER            203 CROSS VALLEY DR                                                                         COLUMBIA          TN     38401‐2084
HELEN CARTER            1814 W RIGGIN RD                                                                            MUNCIE            IN     47304‐1166
HELEN CARTER            8633 STEPHENS                                                                               CENTER LINE       MI     48015‐1713
HELEN CARTER            813 COUNTRY SIDE DR                                                                         COLUMBIA CITY     IN     46725‐1128
HELEN CARUSO            210 DELAWARE AVE APT A                                                                      OAKMONT           PA     15139‐2036
HELEN CASEY             268 HAVEN AVE                                                                               RONKONKOMA        NY     11779‐4808
HELEN CASSIDY           1175 HARRISON ST NE                                                                         WARREN            OH     44483‐5124
HELEN CASTILLO          2203 WABASH RD                                                                              LANSING           MI     48910‐4849
HELEN CATSIMPIRIS       3811 KINGS POINT DR                                                                         TROY              MI     48083‐5379
HELEN CAUTHON           27 UNWIN DR                                                                                 TRENTON           NJ     08610‐1719
HELEN CERNAUSKAS        5821 LYMAN AVE                                                                              DOWNERS GROVE      IL    60516‐1404
HELEN CESWICK           29381 VAN LAAN DR                                                                           WARREN            MI     48092‐4250
HELEN CHAFFIN           1134 GENEVA AVE                                                                             COLUMBUS          OH     43223‐2834
HELEN CHANEY            205 EXECUTIVE MEADOWS DR                                                                    LENOIR CITY       TN     37771‐6777
HELEN CHAPIN            310 PARKEDGE AVE                                                                            TONAWANDA         NY     14150‐7812
HELEN CHAPMAN           2125 THAXTON RD                                                                             FRANKLIN          GA     30217‐4115
HELEN CHAPMAN           830 E NEW ROE RD                                                                            ADOLPHUS          KY     42120‐6212
HELEN CHAPPELL          312 WILSON ST                                                                               GREENFIELD        IN     46140‐1759
HELEN CHAPPELL‐TRAVIS   27629 WAGNER DR                                                                             WARREN            MI     48093‐4647
HELEN CHAPPLE           193 BRENTWOOD DR                                                                            WHITE LAKE        MI     48386‐1911
HELEN CHATTERTON        1239 NORTON ST                                                                              ROCHESTER         NY     14621‐3963
HELEN CHAVORA           7540 DORWOOD ROAD                                                                           BIRCH RUN         MI     48415‐8901
HELEN CHAZICK           1360 CLEVELAND AVE                                                                          FLINT             MI     48503‐4852
HELEN CHEATOM           1446 KENNEBEC RD                                                                            GRAND BLANC       MI     48439‐4978
HELEN CHECONSKY         10181 OTTER DR                                                                              SOUTH LYON        MI     48178‐8873
HELEN CHENOWETH
HELEN CHESKIEWICZ       60 PARK AVE                                                                                 TONAWANDA         NY     14150‐5315
HELEN CHEVELA           1616 MAYFLOWER AVE                                                                          LINCOLN PARK      MI     48146‐3242
HELEN CHICKLON          830 SYLVIA ST NW                                                                            GRAND RAPIDS      MI     49504‐2845
HELEN CHMIELEWSKI       10121 BIRCH ST                                                                              TAYLOR            MI     48180‐3485
HELEN CHRISLEY          328 MANITOU BEACH RD                                                                        HILTON            NY     14468‐9538
HELEN CHRISTIANO        540 SPRUCE AVE                                                                              GARWOOD           NJ     07027‐1222
HELEN CHROME            APT 3                           942 SOUTH CEDAR STREET                                      MASON             MI     48854‐2055
HELEN CHUKAYNE          E4277 FINNEGAN RD                                                                           REEDSBURG         WI     53959‐9808
HELEN CIESIELSKI        185 DARWIN LANE                                                                             N BRUNSWICK       NJ     08902‐4215
HELEN CIESLOWSKI        22756 OXFORD ST                                                                             DEARBORN          MI     48124‐3440
HELEN CISNEY            1846 SPRING LAKE RD                                                                         FRUITLAND PARK    FL     34731‐5291
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Name               Address1                       Address2               Address3      Address4               City               State   Zip
HELEN CLARK        532 ROCKFORD DR                                                                            HAMILTON            OH     45013‐2108
HELEN CLARK        2612 MILLBRIDGE CT                                                                         DAYTON              OH     45440‐2224
HELEN CLARK        11272 ROAD 397                                                                             PHILADELPHIA        MS     39350‐5636
HELEN CLARK        94 FIRESIDE LN                 C/O NORTH HILL FARMS                                        PONTIAC             MI     48340‐1632
HELEN CLARK        39500 WARREN RD TRLR 88                                                                    CANTON              MI     48187‐4346
HELEN CLARK        50763 CARMEL ACHOR RD                                                                      NEGLEY              OH     44441‐9708
HELEN CLARK        341 GRAFTON LN                                                                             AUSTIN              TX     78737‐4586
HELEN CLARK        432 FLAMINGO ST                                                                            ROCHESTER HILLS     MI     48309‐3403
HELEN CLARKE       5761 SPRINGBORO PIKE                                                                       W CARROLLTON        OH     45449‐2807
HELEN CLARY        1810 WHITTIER AVE                                                                          ANDERSON            IN     46011‐2100
HELEN CLAUD        11500 COLLINGWOOD CT                                                                       CLIO                MI     48420‐1719
HELEN CLAY         1080 YARMOUTH RD                                                                           GRAFTON             OH     44044‐1239
HELEN CLAYTON      2022 VERNON AVE NW                                                                         WARREN              OH     44483‐3150
HELEN CLEMENT      1140 N CASS LAKE RD                                                                        WATERFORD           MI     48328‐1312
HELEN CLEMENT      654 OREN CT                                                                                GLADWIN             MI     48624‐8305
HELEN CLEMENTS     6616 CASEBEER MILLER RD                                                                    HICKSVILLE          OH     43526‐9370
HELEN CLEMENTZ     #5                             145 4TH STREET                                              FORT JENNINGS       OH     45844‐9607
HELEN CLIFF        310 E CECIL AVE                                                                            NORTH EAST          MD     21901‐4012
HELEN CLLOUDE      6759 MAYFIELD RD APT 301                                                                   MAYFIELD HEIGHTS    OH     44124‐2234

HELEN CLOUSE       452 DALE ST                                                                                MITCHELL           IN      47446‐8103
HELEN COAKLEY      501 BIRCH CREEK RD                                                                         MC LEANSVILLE      NC      27301
HELEN COAKLEYU     501 BIRCH CREEK RD                                                                         MC LEANSVILLE      NC      27301
HELEN COBB         591 OXFORD ROAD                                                                            GARDNERS           PA      17324‐9035
HELEN COBB         853 LITTLE RD                                                                              CANTON             GA      30115‐7214
HELEN COBBS        703 REED AVE                                                                               KALAMAZOO          MI      49001‐2972
HELEN COFFEY       1014 REDWOOD DR                                                                            ANDERSON           IN      46011‐1052
HELEN COLABELLA    4622 PINEGROVE AVE                                                                         YOUNGSTOWN         OH      44515‐4847
HELEN COLANINNO    318 BROOK ST                                                                               BRISTOL            CT      06010‐4505
HELEN COLBERT      192 LAWNWOOD DR                                                                            BUFFALO            NY      14228‐1605
HELEN COLE         151 PENN AVE                                                                               MANSFIELD          OH      44903‐1581
HELEN COLE         5858 ALKIRE RD                                                                             GALLOWAY           OH      43119‐8895
HELEN COLE         PO BOX 28370                                                                               DETROIT            MI      48228‐0370
HELEN COLEMAN      2373 E RIDGE RD # 91                                                                       ROCHESTER          NY      14622‐2759
HELEN COLEMAN      PO BOX 487                                                                                 MOUNT MORRIS       MI      48458‐0487
HELEN COLLINS      103 S 5TH ST                                                                               OAKWOOD            OH      45873‐9684
HELEN COLLINS      PO BOX 184                                                                                 BRASELTON          GA      30517‐0004
HELEN COLLINS      803 WEINLAND DR                                                                            NEW CARLISLE       OH      45344‐2647
HELEN COLLINS      3918 TRUMBULL AVE                                                                          FLINT              MI      48504‐3737
HELEN COLON        1330 BLACK FOREST DR APT B                                                                 DAYTON             OH      45449‐5353
HELEN COLVIN       4726 W 180 S                                                                               RUSSIAVILLE        IN      46979‐9443
HELEN COMBS        1122 BRENTWOOD DR                                                                          KOKOMO             IN      46901‐1520
HELEN CONDELLIRE   15717 COTTING CT                                                                           CHESTERFIELD       MO      63017‐7318
HELEN CONNOLLY     597 COLORADO AVE                                                                           PONTIAC            MI      48341‐2522
HELEN CONWELL      3565 BEECHWOOD PLACE                                                                       RIVERSIDE          CA      92506‐1210
HELEN COOK         7560 MARSALLE RD                                                                           PORTLAND           MI      48875‐9608
HELEN COOK         35 TALIAFERRO DR                                                                           CHURCHVILLE        VA      24421‐2651
HELEN COOMBS       1112 SYCAMORE CT                                                                           AUBURN             IN      46706‐3288
HELEN COOPER       2905 HELMS RD                                                                              ANDERSON           IN      46016‐5814
HELEN COPAS        PO BOX 96                                                                                  DEER LODGE         TN      37726‐0096
HELEN COPELAND     PO BOX 357                                                                                 SAINT HELEN        MI      48656‐0357
HELEN CORMACK      392 SABO DR                                                                                MANSFIELD          OH      44905‐2608
HELEN CORNELIUS    218 E 48TH ST                                                                              ANDERSON           IN      46013‐4763
HELEN CORNETT      115 COUNTRY CLUB DR                                                                        DAYTON             OH      45427‐1102
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Name                 Address1                        Address2                    Address3   Address4               City           State   Zip
HELEN COSGRAY        743 CASSVILLE RD                                                                              KOKOMO          IN     46901‐5905
HELEN COSTON         PO BOX 502                                                                                    BUNKER HILL     IN     46914‐0502
HELEN COULTER        2554 HIGHWAY 26 W                                                                             NASHVILLE       AR     71852‐7454
HELEN COULTES        G‐6447 VERDUN ST                                                                              MOUNT MORRIS    MI     48458
HELEN COUWLIER       1374 NANCYWOOD DR                                                                             WATERFORD       MI     48327‐2041
HELEN COVELL         5130 WOODSON ROAD                                                                             RAYTOWN         MO     64133‐3065
HELEN COVEY          4225 PENNLYN ST                                                                               KETTERING       OH     45429
HELEN COX            1817 E 1275 S                                                                                 KOKOMO          IN     46901‐7741
HELEN COX            3605 WYANDOT LN                                                                               YOUNGSTOWN      OH     44502‐3178
HELEN COYLE          PO BOX 394                                                                                    SUMMERDALE      AL     36580‐0394
HELEN CRAFT          1881 MURRAY RD                                                                                DANSVILLE       MI     48819‐9759
HELEN CRAFTON        3215 W MOUNT HOPE AVE APT 301                                                                 LANSING         MI     48911‐1281
HELEN CRAIG          279 BEVERLY RD                                                                                WORCESTER       MA     01605‐1472
HELEN CRAIG          7640 S 400 E                                                                                  MARKLEVILLE     IN     46056‐9752
HELEN CRAIG          PO BOX 220                                                                                    DAVISBURG       MI     48350
HELEN CRAIG          1012 VASBINDER DR                                                                             CHESTERFIELD    IN     46017‐1035
HELEN CRAIG          837 E OHIO ST                                                                                 FORTVILLE       IN     46040‐1640
HELEN CRAMER         UNIT 206                        1281 GULF OF MEXICO DRIVE                                     LONGBOAT KEY    FL     34228‐4631
HELEN CRANE          12142 BIRCH RUN RD                                                                            BIRCH RUN       MI     48415‐9428
HELEN CREAMER        456 HIAWATHA DR                                                                               MULBERRY        IN     46058‐9477
HELEN CREIGHTON      205 ABERDEEN CT                                                                               FLUSHING        MI     48433‐2659
HELEN CRETORS        1097 MIKES WAY                                                                                GREENWOOD       IN     46143‐1060
HELEN CRIBBS         PO BOX 105                                                                                    FLUSHING        MI     48433‐0105
HELEN CRISMAN        23248 13 MILE RD                                                                              LEROY           MI     49655‐8543
HELEN CRISP          3727 PINOAK ST                                                                                CLARKSTON       MI     48348‐1383
HELEN CROSS          G 6116 HILTON                                                                                 MOUNT MORRIS    MI     48458
HELEN CROUCH         3088 JACKSON RD                                                                               KINGSLEY        MI     49649‐9641
HELEN CROWE          4104 BRENTON DR                                                                               DAYTON          OH     45416‐1609
HELEN CULHANE        961 MANN AVE                                                                                  FLINT           MI     48503‐4943
HELEN CUMMINGS       PO BOX 159                      4847 BECKWITH                                                 MILLINGTON      MI     48746‐0159
HELEN CUMMINGS       2615 KELLAR AVE                                                                               FLINT           MI     48504‐2761
HELEN CUNNINGHAM     1081 LAKE PARK CIR                                                                            GRAND BLANC     MI     48439‐8039
HELEN CUNNINGHAM     64 E WASHINGTON AVE                                                                           PERU            IN     46970‐1007
HELEN CURRIE         1109 MICHELLE AVE SW                                                                          WARREN          OH     44485‐3324
HELEN CURRY          PO BOX 106                                                                                    AVA              IL    62907‐0106
HELEN CURSON         4436 MORAWA TRL                                                                               HALE            MI     48739‐9308
HELEN CURTIS         2304 E LAFAYETTE ST                                                                           DETROIT         MI     48207‐3964
HELEN CUTLER         808 E 161ST ST                                                                                WESTFIELD       IN     46074‐9621
HELEN CYBULSKI       280 S EAGLE ST                                                                                TERRYVILLE      CT     06786‐6108
HELEN CYRUS          1422 MCCONNELL AVE                                                                            PORTSMOUTH      OH     45662‐3648
HELEN CZEMKOWSKI     2109 E SANDY RIDGE RD                                                                         MONROE          NC     28112‐7328
HELEN CZYZYK         30B HOMESTEAD DR                                                                              WHITING         NJ     08759‐1912
HELEN D ARCY         75 LEXINGTON DR                                                                               PENNINGTON      NJ     08534‐5169
HELEN D BARKER       20 N NEPTUNE AVENUE                                                                           CLEARWATER      FL     33765‐3125
HELEN D BOSSOW       306 N J ST                                                                                    TILTON           IL    61833‐7449
HELEN D DEL DUCA     37 GENTRY CIRCLE                                                                              ROCHESTER       NY     14626‐1661
HELEN D DOTY         410 W. LINDEN AVE.                                                                            MIAMISBURGE     OH     45342
HELEN D FURNISH      1243 KEEFER RD.                                                                               GIRARD          OH     44420‐2173
HELEN D GROSS        20 COLONIAL ESTATE DRIVE                                                                      YOUNGTOWN       OH     44514
HELEN D HETSON       1422 MT EVERETT RD.                                                                           HUBBARD         OH     44425‐2705
HELEN D LEONARD      HC 60 BOX 185                                                                                 CHECOTAH        OK     74426
HELEN D SCHMALSTIG   108 ORCHARD DR                                                                                SOUTH POINT     OH     45680
HELEN D'AMBROSIO     206 NANTUCKET ROAD                                                                            ROCHESTER       NY     14626‐2326
HELEN D'ANGELO       303 FIRST AVENUE                                                                              FRANKLIN        KY     42134
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Name                    Address1                         Address2            Address3         Address4               City               State   Zip
HELEN DAILEY            188 GREENWOOD RIDGE RD                                                                       GAINESBORO          TN     38562‐7151
HELEN DALE              3404 WAYNE AVE                                                                               DAYTON              OH     45420‐2435
HELEN DALESSANDRO       15 POPULATIC ST                                                                              MEDWAY              MA     02053‐1017
HELEN DALEY             215 ROCK ST                                                                                  NORWOOD             MA     02062
HELEN DALTON            103 STERLING DR                                                                              HUNTSVILLE          AL     35806‐2225
HELEN DAMBACH           KIRSCHBLUETENWEG 9                                                    BAD HOMBURG GERMANY
HELEN DAMRON            10619 FAIR PINE DR                                                                           PENSACOLA          FL      32506‐9572
HELEN DAMSEN            2550 HERENHUIS DR                                                                            CLIO               MI      48420‐2316
HELEN DANE              PO BOX 241                                                                                   PILOT POINT        TX      76258‐0241
HELEN DANIEL            6300 AIKEN RD                                                                                LOCKPORT           NY      14094‐9618
HELEN DANIELS           2192 HEMMETER RD                                                                             SAGINAW            MI      48603‐3953
HELEN DANIELS           226 WINWOOD AVE                                                                              PACIFICA           CA      94044‐1477
HELEN DANIELS           10320 N 22ND ST                                                                              PLAINWELL          MI      49080‐8924
HELEN DANKO             3739 MARMION AVE                                                                             FLINT              MI      48506‐4217
HELEN DARNELL           8404 LOLA AVE                                                                                STANTON            CA      90680‐1713
HELEN DASZKIEWICZ       5436 ORCHARD AVE                                                                             DEARBORN           MI      48126‐3053
HELEN DAVENPORT         238 FREEDOM WAY                                                                              ANDERSON           IN      46013‐1089
HELEN DAVEY             29552 RUSH ST                                                                                GARDEN CITY        MI      48135‐2048
HELEN DAVIDO            3545 E OAKSHIRE RD APT 2B                                                                    OAK CREEK          WI      53154‐3564
HELEN DAVIDSON          165 HIGHBLUFFS BLVD                                                                          COLUMBUS           OH      43235‐1484
HELEN DAVIDSON          905 MAY DR                                                                                   MONROE             MI      48161‐1266
HELEN DAVIDSON          411 WOODLAND AVE                                                                             ELYRIA             OH      44035‐3219
HELEN DAVIS             1101 NORTH DR                                                                                ANDERSON           IN      46011‐1166
HELEN DAVIS             7474 W MAPLE GROVE RD                                                                        HUNTINGTON         IN      46750‐8996
HELEN DAVIS             14264 SE 45TH CT                                                                             SUMMERFIELD        FL      34491‐3027
HELEN DAVIS             PO BOX 96                                                                                    SOUTHINGTON        OH      44470‐0096
HELEN DAVIS             415 N SHIAWASSEE ST                                                                          OWOSSO             MI      48867‐2227
HELEN DAVIS             PO BOX 68396                                                                                 JACKSON            MS      39286
HELEN DAVIS             1814 PERKINS ST                                                                              SAGINAW            MI      48601‐2027
HELEN DAVIS             268 S PADDOCK ST                                                                             PONTIAC            MI      48342‐3135
HELEN DAVIS             606 59TH AVE                                                                                 MERIDIAN           MS      39307‐6135
HELEN DAVIS             1075 LOWELL SCOTT ROAD                                                                       BOWIE              TX      76230‐7406
HELEN DAVIS             3777 SAINT CLAIR ST                                                                          DETROIT            MI      48214‐1538
HELEN DAVY              3368 NORTHWEST DR                                                                            SAGINAW            MI      48603‐2353
HELEN DAWLEY, TRUSTEE   145 CANEBRAKE DR                                                                             NEW BERM           NC      28562
HELEN DAY               3163 PARTRIDGE POINT RD                                                                      ALPENA             MI      49707‐5173
HELEN DAY               2060 E 4TH AVE                                                                               APACHE JUNCTION    AZ      85219‐5459

HELEN DAY               10915 E GOODALL RD 131                                                                       DURAND             MI      48429
HELEN DAYTON            3026 GRAND ISLAND BLVD APT 104                                                               GRAND ISLAND       NY      14072‐1280
HELEN DE CARA           3500 TRILLIUM XING APT 1025                                                                  COLUMBUS           OH      43235‐7995
HELEN DE FRANCE         209 N MAIN ST                                                                                BANCROFT           MI      48414‐7704
HELEN DE VANEY          115 MEADOW RD                                                                                OAK RIDGE          TN      37830‐5336
HELEN DEACON            1224 SHERWOOD DR                 LAPEER MEADOWS                                              LAPEER             MI      48446‐1581
HELEN DEACONS           237 GLEN GARY DR                                                                             MOUNT MORRIS       MI      48458‐8935
HELEN DEC               34305 LYNCROFT ST                                                                            FARMINGTON HILLS   MI      48331‐3635

HELEN DECAPITO          1406 HAMILTON ST SW                                                                          WARREN             OH      44485‐3523
HELEN DECKER            208 LAURELCREST CIR                                                                          VALRICO            FL      33594‐3212
HELEN DEERING           PO BOX 80155                                                                                 ROCHESTER          MI      48308‐0155
HELEN DEES              17408 STOCKBRIDGE AVE                                                                        CLEVELAND          OH      44128‐1729
HELEN DEL DUCA          37 GENTRY CIR                                                                                ROCHESTER          NY      14626‐1661
HELEN DELAY             36173 CALLE TOMAS                                                                            CATHEDRAL CITY     CA      92234‐1778
HELEN DELAY             2061 N IRISH RD                                                                              DAVISON            MI      48423‐9560
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Name                Address1                           Address2            Address3     Address4               City             State Zip
HELEN DELK          6459 SOUTH STATE ROAD 59                                                                   CLAY CITY         IN 47841‐8034
HELEN DEMCHER       32B WAVECREST AVE                                                                          WINFIELD PARK     NJ 07036‐7514
HELEN DEMORAY       1132 N LAWN PARK                                                                           ALMA              MI 48801‐2108
HELEN DEMOSS        5027 CAPRI DR                                                                              INDIANAPOLIS      IN 46241‐5807
HELEN DEMOSS        202 CROSSON ST                                                                             GREENCASTLE       IN 46135‐1808
HELEN DEMPSEY       5806 MCKEE ROAD                                                                            NEWFANE           NY 14108‐9645
HELEN DENISON       4947 WILLOUGHBY RD                                                                         HOLT              MI 48842‐1019
HELEN DERGANCE      112 N WOLF RD                                                                              HILLSIDE           IL 60162‐1607
HELEN DESILETS      12727 PARKWOOD ST                                                                          HUDSON            FL 34669‐3841
HELEN DETHLOFF      3240 NOEMI DRIVE SEVEN SPRINGS                                                             NEW PORT RICHEY   FL 34655
HELEN DETTER        1003 E NEWPORT PIKE                                                                        WILMINGTON        DE 19804‐1921
HELEN DEVEREAUX     1021 RANDY LN                                                                              SAINT JOHNS       MI 48879‐1182
HELEN DEVERICH      6236 HYDE PARK ST                                                                          ROMULUS           MI 48174‐4202
HELEN DEWEY         718 VICTORIA AVE                                                                           FLINT             MI 48507‐1733
HELEN DI NOTO       160 KINGSBERRY DR APT E                                                                    ROCHESTER         NY 14626‐2216
HELEN DIAL          3665 PALMYRA RD SW                                                                         WARREN            OH 44481‐9703
HELEN DICKMAN       3631 FESTOR DR                                                                             HERMITAGE         PA 16148‐3734
HELEN DILLARD       3416 S 88TH ST                                                                             MILWAUKEE         WI 53227‐4521
HELEN DILLENBECK    2265 BARRY RD                                                                              WILLIAMSTON       MI 48895‐9640
HELEN DIMICK        2849 W 26TH ST                                                                             MARION            IN 46953‐9415
HELEN DISHAW        832 N RACQUETTE RIVER RD                                                                   MASSENA           NY 13662‐3248
HELEN DISHONG       165 NORTHWEST ST                                                                           COLUMBIANA        OH 44408‐1132
HELEN DISTASIO      1220 REDCLIFFE ST                                                                          WOODRIDGE          IL 60517‐7734
HELEN DIXON         117 SUGAR CREEK DR                                                                         MC MINNVILLE      TN 37110‐6035
HELEN DIXON         105 WREXHAM CT N                                                                           TONAWANDA         NY 14150‐8922
HELEN DOBBS         690 STATE ST RM 210                                                                        FRANKLIN          IN 46131
HELEN DOBBS         815 MILL ST                                                                                LINCOLN PARK      MI 48146‐2737
HELEN DOBSCHENSKY   49 E OLSON RD                                                                              MIDLAND           MI 48640‐8633
HELEN DOLATA        279 HOMESTEAD DR                                                                           NORTH             NY 14120‐1644
                                                                                                               TONAWANDA
HELEN DOLL          26317 WEXFORD DR                                                                           WARREN            MI 48091‐3992
HELEN DONALD        1577 MCALPINE DR                                                                           MOUNT MORRIS      MI 48458‐2309
HELEN DONNELLY      3125 EMILIE LN                                                                             HERMITAGE         PA 16148‐3672
HELEN DONNENWERTH   3421 HERRINGTON DR                                                                         SAGINAW           MI 48603‐2039
HELEN DORN          212 KING ARTHUR DR                                                                         ANDERSON          SC 29621‐7320
HELEN DORRER        15940 BOSTON RD                                                                            STRONGSVILLE      OH 44136‐8618
HELEN DOTY          410 W LINDEN AVE                                                                           MIAMISBURG        OH 45342‐2230
HELEN DOUGLAS       661 NE VENTURA ST                                                                          ROSEBURG          OR 97470‐7605
HELEN DOWELL        6889 S. BLACKBERRY POINT                                                                   HOMOSASSA         FL 34446
HELEN DOWELL        6889 SOUTH BLACKBERRY POINT                                                                HOMOSASSA         FL 34446‐3645
HELEN DOWNEY        APT 232                            2500 AARON STREET                                       PT CHARLOTTE      FL 33952‐6773
HELEN DOWNHAM       409 E 200 N                                                                                PAYSON            UT 84651‐1901
HELEN DOWNING       2339 PIERSON DR                                                                            LEXINGTON         KY 40505‐1850
HELEN DOYLE         7232 STATE ROUTE 45                                                                        NORTH BLOOMFIELD OH 44450‐9719

HELEN DOYNO         600 CAROLINA VILLAGE RD UNIT 276                                                           HENDERSONVILLE    NC   28792‐2899
HELEN DRIEST        1291 LEO ST                                                                                SAGINAW           MI   48638‐6537
HELEN DROGON        72 CARDINAL RD                                                                             LEVITTOWN         PA   19057‐1638
HELEN DUBAI         159 STORK ST                                                                               MEDINA            NY   14103‐1237
HELEN DUBAJ         3369 W CARPENTER RD                                                                        FLINT             MI   48504‐1276
HELEN DUBAY         5447 HUGHES RD                                                                             LANSING           MI   48911‐3510
HELEN DUCEY         8182 SAN JUAN AVE                                                                          SOUTH GATE        CA   90280‐2502
HELEN DUCKETT       838 E 8TH ST                                                                               FLINT             MI   48503‐2779
HELEN DUDA          PO BOX 2407                                                                                WILKES BARRE      PA   18703‐2407
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Name                     Address1                           Address2               Address3     Address4               City               State   Zip
HELEN DUDEK              2835 CRESTWOOD DR NW                                                                          WARREN              OH     44485‐1230
HELEN DUDZIK             7192 TORREY RD                                                                                SWARTZ CREEK        MI     48473‐8812
HELEN DUKE               28712 S RABER RD                                                                              GOETZVILLE          MI     49736‐9364
HELEN DUKES              246 WALLACE AVENUE                                                                            BUFFALO             NY     14216‐2514
HELEN DULECK             PO BOX 385                         250 MCKINLEY AVE                                           EAST VANDERGRIFT    PA     15629‐0385

HELEN DUMLER             6352 BRIAN CIRCLE LN                                                                          BURTON             MI      48509‐1300
HELEN DUNCAN             191 JAY DR                                                                                    TAZEWELL           TN      37879‐4588
HELEN DUNCH              3500 STATE ROUTE 5                                                                            CORTLAND           OH      44410‐1631
HELEN DUNION             207 MEADOW CREEK LN APT B                                                                     ELKTON             MD      21921‐5150
HELEN DUNKERLY           6427 KOME DR                                                                                  DIAMONDHEAD        MS      39525‐3817
HELEN DUNN               17003 TALFORD AVE                                                                             CLEVELAND          OH      44128‐1577
HELEN DUNN               284 E 151ST ST                                                                                CLEVELAND          OH      44110‐1215
HELEN DURKEE             3205 ARBOR DR                                                                                 FENTON             MI      48430‐3123
HELEN DUTCHER‐BRAYMAN    525 KEARNEY ST                                                                                PORTLAND           MI      48875‐1555
HELEN DYBELL             147 W COLLEGE ST                                                                              CANONSBURG         PA      15317
HELEN DYKES              4805 ALLINGHAM DR                                                                             WHITE LAKE         MI      48383‐1506
HELEN DYS                3785 GREEN RD                                                                                 SAINT JOHNS        MI      48879‐8120
HELEN E BORGESON         925 INDUS RD                                                                                  VENICE             FL      34293‐5431
HELEN E BROWN            ROBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD     PO BOX 521                          EAST ALTON         IL      62024
                         GIANARIS ANGELIDES & BARNERD LLC

HELEN E CIALEK TRUSTEE   C/O HELEN CIALEK                   29464 MARK                                                 MADISON HEIGHTS     MI     48071

HELEN E DETWILER         3184 TIPP ELIZABETH RD                                                                        NEW CARLISLE       OH      45344
HELEN E FREDERICK        C/O VICKIE FITCH                   711 BEACON                                                 YAKIMA             WA      98901‐1577
HELEN E GARRISON         2096 S.R. 534                                                                                 SOUTHINGTON        OH      44470‐9572
HELEN E HOLLINGWORTH     21 LAKE SHORE RD                                                                              NATICH             MA      01760
HELEN E HOWARD           507 S CANAL ST                                                                                NEWTON FALLS       OH      44444‐1615
HELEN E IRVIN            2137 BRIGHAL ROAD                                                                             BROOKHAVEN         MS      39601
HELEN E JONES            PO BOX 621                                                                                    WAYNE              MI      48184‐0621
HELEN E LENYO            5537 STATE ROUTE 88                                                                           KINSMAN            OH      44428
HELEN E MTPLEASANT       PO BOX 294                                                                                    YOUNGSTOWN         NY      14174‐0294
HELEN E NAPPA            211 E MOLLOY RD APT 105                                                                       SYRACUSE           NY      13211‐1663
HELEN E NAPPA            307 PLYMOUTH AVE APT 1                                                                        SYRACUSE           NY      13211‐1536
HELEN E SCHMITT          1684 S FOUNTAIN HEAD                                                                          FT. MYERS          FL      33919‐6809
HELEN E WALTERS          HAROLD L WALTERS                   5304 N SOLLARS DRIVE                                       MUNICE             IN      47304‐6022
HELEN EAKINS             5540 FAIRFIELD DR                                                                             WAYNESVILLE        OH      45068‐9460
HELEN EARLY‐GAGE         5071 MELLWOOD DR                                                                              FLINT              MI      48507‐4549
HELEN EARNEST            PO BOX 394                                                                                    FLINT              MI      48501‐0394
HELEN EASON              2920 BOURBON ST                                                                               FORT WORTH         TX      76123‐1624
HELEN ECKERT             1925 NW SUNVIEW PL                                                                            GRANTS PASS        OR      97526
HELEN EDGET              2600 ROCHESTER RD                                                                             LEONARD            MI      48367‐3012
HELEN EDGIN              5553 ELM RUN                                                                                  FARWELL            MI      48622‐9662
HELEN EDMONDS            611 COLUMBIAVILLE RD                                                                          COLUMBIAVILLE      MI      48421‐9628
HELEN EDMONDSON          3701 N GRANT AVE                                                                              INDIANAPOLIS       IN      46218‐1429
HELEN EDWARDS            113 HOWARD ST                                                                                 NORTH EAST         MD      21901‐3803
HELEN EDWARDS            4367 APACHE DR                                                                                BURTON             MI      48509‐1444
HELEN EDWARDS            3036S DUFFIELD RD                                                                             LENNON             MI      48449
HELEN EDWARDS            502 BUCKINGHAM DR                                                                             ANDERSON           IN      46013‐4475
HELEN EDWARDS            HC 79 BOX 2250                                                                                PITTSBURG          MO      65724‐9735
HELEN EGOLF              6169 CHIDESTER DRIVE                                                                          CANFIELD           OH      44406‐9749
HELEN EICHBAUER          PO BOX 480115                                                                                 NEW HAVEN          MI      48048‐0115
HELEN EIDENSHINK‐ISELY   681 NE STUART ST                                                                              JENSEN BEACH       FL      34957‐6147
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Name                           Address1                            Address2                Address3          Address4               City              State   Zip
HELEN EILEEN ROGERS            2201 COOK AVE                                                                                        PORT TOWNSEND      WA     98368
HELEN ELFORD                   114 INDIAN AVE                                                                                       SEBASTIAN          FL     32958‐5201
HELEN ELLINGTON                8042 NORMILE ST                                                                                      DETROIT            MI     48204‐3140
HELEN ELLIOTT                  38947 DOVER ST                                                                                       LIVONIA            MI     48150‐3350
HELEN ELLIOTT                  900 LONG BLVD                       TOWN HOUSE NO 590                                                LANSING            MI     48911‐6700
HELEN ELLIS                    211 DOGWOOD DR                                                                                       BAYVILLE           NJ     08721‐3113
HELEN ELLISON                  4916 W BIS RD                                                                                        BAY CITY           MI     48642‐9258
HELEN ELSWICK                  565 LINN ST                                                                                          CHILLICOTHE        OH     45601‐1404
HELEN ELTING                   PO BOX 36494                                                                                         TUCSON             AZ     85740‐6494
HELEN EMSLEY                   38571 TRILLIUM PL                                                                                    HARRISON TWP       MI     48045‐6864
HELEN ERDMAN                   11269 N JENNINGS RD                                                                                  CLIO               MI     48420‐1587
HELEN ERICKSON                 1332 NORFOLK AVE                                                                                     GRAND BLANC        MI     48439‐5168
HELEN ERLE                     4700 FREDERICK PIKE                                                                                  DAYTON             OH     45414
HELEN ERSKINE                  2173 S CENTER RD APT 318            LOCKWOOD APTS                                                    BURTON             MI     48519‐1806
HELEN ESTES                    5601 WOODSON RD                                                                                      RAYTOWN            MO     64133‐3456
HELEN ESTLE                    1310 S DELPHOS ST                                                                                    KOKOMO             IN     46902‐1725
HELEN ETHINGTON                806 BOUTELL DR                                                                                       GRAND BLANC        MI     48439‐1943
HELEN ETKIN                    100 N. POND DR.                     STE. F                                                           WALLED LAKE        MI     48390
HELEN EVANS                    15227 LEMARSH ST                                                                                     MISSION HILLS      CA     91345‐2723
HELEN EVANS                    13135 SOUTHDALE CIR                                                                                  OMAHA              NE     68137‐4323
HELEN EVERETT                  1300 NATALIE ROAD                                                                                    PHOENIXVILLE       PA     19460‐4471
HELEN EWING                    7075 COATSWORTH DR                                                                                   STOCKBRIDGE        GA     30281‐5940
HELEN EYTCHINSON               896 TIMBER RIDGE RD                                                                                  BLUFF CITY         TN     37618‐3412
HELEN F BRIDGES                4351 N IRWIN AVE                                                                                     INDIANAPOLIS       IN     46226‐3647
HELEN F CARTER                 203 CROSS VALLEY DR                                                                                  COLUMBIA           TN     38401‐2084
HELEN F GLASS                  928 PINECREST                                                                                        GIRARD             OH     44420‐2153
HELEN F GLOVER                 1735 RIDGE AVE.                                                                                      SHARPSVILLE        PA     16150‐1070
HELEN F GRAHAM CANCER CENTER   4701 OLGETOWN STANTON RD                                                                             NEWARK             DE     19713
HELEN F PAPAFLORATOS &         GREGORY PAPAFLORATOS AS CO TRUSTEES REVOCABLE TRUST U/A/D   22001 COLONY DR                          BOCA RATON         FL     33433
                               OF THE HELEN F PAPAFLORATOS         04/17/2007

HELEN F SEAY                   6147 HARWOOD RD                                                                                      MOUNT MORRIS      MI      48458‐2719
HELEN FABIAN                   3127 HOLLY AVE                                                                                       FLINT             MI      48506‐3054
HELEN FAGAN                    311 WILLRICH CIR UNIT F                                                                              FOREST HILL       MD      21050‐1349
HELEN FALATIC                  268 MAPLE ST                                                                                         NEWTON FALLS      OH      44444‐1521
HELEN FANELLI                  96 CHIPPENWOOD LN                                                                                    BRISTOL           CT      06010‐8533
HELEN FANTIS                   5775 GATEWAY LN                                                                                      BROOK PARK        OH      44142‐2053
HELEN FARRINGTON               28355 MAPLEWOOD ST                                                                                   GARDEN CITY       MI      48135‐2220
HELEN FAVORS                   215 CAPTIVA CT                      C/O JAMES R.STEWART                                              MELBOURNE BEACH   FL      32951‐4278

HELEN FECKO                    1623 HILTON HEAD BLVD                                                                                LADY LAKE         FL      32159‐2226
HELEN FELDPAUSCH               16882 S BAUER RD                                                                                     GRAND LEDGE       MI      48837‐9170
HELEN FELIX                    445 SCHOOLEY DR                                                                                      GREENWOOD         IN      46142‐1536
HELEN FELLERS                  1948 MAPLE RD                                                                                        FORT SCOTT        KS      66701‐8366
HELEN FELT                     3301 SPANISH TRL APT 304A                                                                            DELRAY BEACH      FL      33483‐4747
HELEN FENLON                   25 SOUTH ST APT E‐137                                                                                MARCELLUS         NY      13108
HELEN FERENCE                  1014 SNOWBERRY DR                                                                                    LONGS             SC      29568‐8120
HELEN FERGUSON                 1983 MANN DR                                                                                         BEECH GROVE       IN      46107‐1648
HELEN FERGUSON                 PO BOX 384                                                                                           ARLINGTON         KY      42021‐0384
HELEN FERRADINO                1353 CHURCHILL HUBBARD RD APT 319                                                                    YOUNGSTOWN        OH      44505‐1384
HELEN FERRARA                  5 TERN CT                                                                                            WHITING           NJ      08759‐3718
HELEN FERRIS                   38 CENTER ST                                                                                         MACHIAS           ME      04654‐1112
HELEN FIALKO                   3525 SURREY RD SE                                                                                    WARREN            OH      44484‐2842
HELEN FICKEN                   8 WOODSEDGE DR                                                                                       WESTBROOK         CT      06498‐2056
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Name                 Address1                       Address2            Address3         Address4                  City                State Zip
HELEN FILKORN        1379 RIDGE RD NE                                                                              NEW PHILADELPHIA     OH 44663‐7783

HELEN FILPANSICK     8089 N LINDEN RD                                                                              MOUNT MORRIS        MI   48458‐9488
HELEN FINCH          13 SCHULZE DR                                                                                 TROY                MO   63379‐2031
HELEN FINN           278 AMBER CREST DR                                                                            O FALLON            MO   63366‐1278
HELEN FIORE          28 BONAFEDE PL                                                                                KEANSBURG           NJ   07734‐1002
HELEN FISCHER        18 MAPLE AVE                                                                                  MERIDEN             CT   06450‐4778
HELEN FISCHER        4420 WOODLAND AVE                                                                             NEWTON FALLS        OH   44444‐9742
HELEN FISCHER        1716 FEDERAL AVE SW                                                                           WYOMING             MI   49509‐1343
HELEN FISCHHABER     6377 MURPHY LAKE RD                                                                           MILLINGTON          MI   48746‐9519
HELEN FISHER         179 GLEN MEADOW RD                                                                            FRANKLIN            MA   02038‐1338
HELEN FISHER         3147 E 250 N                                                                                  ANDERSON            IN   46012‐9433
HELEN FISHER         4645 HADDINGTON DR                                                                            TOLEDO              OH   43623‐3956
HELEN FISHER         6437 OAKHURST PL                                                                              DAYTON              OH   45414‐2828
HELEN FLANNERY       892 PERKINS JONES RD NE                                                                       WARREN              OH   44483‐1850
HELEN FLANYAK        25 WALNUT VALLEY ROAD                                                                         CHADDS FORD         PA   19317‐9434
HELEN FLETCHER       1980 CUT CRYSTAL LN                                                                           UTICA               MI   48315‐2803
HELEN FLINT          4406 N ELMS RD                                                                                FLUSHING            MI   48433‐1449
HELEN FLORES         1119 S MILLER RD                                                                              SAGINAW             MI   48609‐9585
HELEN FLUHARTY       32 S BARKSDALE ST                                                                             MEMPHIS             TN   38104‐4002
HELEN FONTANESSI     41 EALER HILL RD                                                                              KINTNERSVILLE       PA   18930‐9606
HELEN FOREMAN        2501 FRIENDSHIP BLD            APT 2                                                          KOKOMO              IN   46901
HELEN FORTIN         2441 DU VIADUC AVE                                                  CHARNY QC G6X2V1 CANADA

HELEN FOSTER         PO BOX 452                                                                                    SAINT REGIS FALLS   NY   12980
HELEN FOSTER         20718 HIGHWAY 231                                                                             FOUNTAIN            FL   32438‐1910
HELEN FOTHERINGHAM   1165 N COATS RD                                                                               OXFORD              MI   48371‐3103
HELEN FOUCHER        3337 W 131ST ST                                                                               CLEVELAND           OH   44111
HELEN FOUST          220 WALDEN LN                                                                                 LA FOLLETTE         TN   37766‐5024
HELEN FOWLER         1428 ACE MCMILLIAN RD                                                                         DACULA              GA   30019‐2554
HELEN FOWLER         6711 TEXTILE RD                                                                               YPSILANTI           MI   48197‐8991
HELEN FOX            134 APPIAN WAY                                                                                ANDERSON            IN   46013‐4768
HELEN FOX            354 ADELAIDE AVE SE                                                                           WARREN              OH   44483‐6112
HELEN FOX            16909 WARBLER COURT 286                                                                       HAGERSTOWN          MD   21740
HELEN FRANCIS        7315 HARRIS AVE                                                                               RAYTOWN             MO   64133‐6843
HELEN FRANKLIN       1445 LANSDOWNE BLVD                                                                           YOUNGSTOWN          OH   44505‐3668
HELEN FRANKOWSKI     34066 COLONIAL CT                                                                             STERLING HEIGHTS    MI   48312‐4608
HELEN FRANTUM        202 CLIFFORD LN UNIT G                                                                        FOREST HILL         MD   21050‐3155
HELEN FRATICELLI     2615 HERITAGE FARM DR                                                                         WILMINGTON          DE   19808‐3729
HELEN FRAYER         8551 W KALAMO HWY                                                                             BELLEVUE            MI   49021‐9453
HELEN FRAZIER        304 FEDERAL DR                                                                                ANDERSON            IN   46013‐4708
HELEN FRAZIER        27 E MAINEVILLE RD                                                                            MAINEVILLE          OH   45039
HELEN FRECKMAN       3648 CEDARWOOD LN                                                                             BEAVERCREEK         OH   45430‐1704
HELEN FREDERICK      5435 COLDWATER RD                                                                             LAPEER              MI   48446‐8026
HELEN FREDERICK      918 N GREECE RD                                                                               ROCHESTER           NY   14626‐1030
HELEN FRIESEN        16202 KEATS CIR                                                                               WESTMINSTER         CA   92683‐7709
HELEN FRISCH         427 W 2ND ST APT 114                                                                          OCONOMOWOC          WI   53066
HELEN FRITTON        5783 CAMPBELL BLVD                                                                            LOCKPORT            NY   14094‐9205
HELEN FROLLO         2903 CONGRESS AVE                                                                             SAGINAW             MI   48602‐3714
HELEN FROST          3165 N BALL AVE                                                                               HARRISON            MI   48625‐9002
HELEN FROST          793 BRIARWOOD DR APT 3                                                                        GALION              OH   44833‐1100
HELEN FUCETOLA       8135 KENNEDY BLVD                                                                             NORTH BERGEN        NJ   07047‐4243
HELEN FULGHAM        321 E LYNDON AVE                                                                              FLINT               MI   48505‐5203
HELEN FURA           401 N ADAM ST                                                                                 LOCKPORT            NY   14094‐1455
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HELEN FURLONGE     177 WINDCREST ST                                                    HUDSON QC J0P1H0 CANADA

HELEN FURNISH      1243 KEEFER RD                                                                                GIRARD               OH    44420‐2173
HELEN G BRUMLEY    1526 DAYTON‐XENIA RD                                                                          XENIA                OH    45385‐7115
HELEN G COLLINS    803 WEINLAND DR                                                                               NEW CARLISLE         OH    45344‐2647
HELEN G HEGEDUS    68 ROMAINE AVE                                                                                BOARDMAN             OH    44512
HELEN G KOEHLER    376 TURNER DRIVE                                                                              LEBANON              OH    45036‐1031
HELEN G LIDDELL    18435 SUNDERLAND RD                                                                           DETROIT              MI    48219‐2815
HELEN G MARKLE     1704 DODGE DRIVE NW                                                                           WARREN               OH    44485‐1823
HELEN G MCGOWAN    68 NEW YORK AVE                                                                               CONGERS              NY    10920
HELEN G MCKINNEY   14382 AMITY RD                                                                                BROOKVILLE           OH    45309‐8764
HELEN G PETERSON   1153 HARVEST DRIVE                                                                            WARREN               OH    44481‐9330
HELEN G PRICE      3711 COUNTRY LANE                                                                             DAYTON               OH    45430‐1711
HELEN G RILEY      209 ORINOCO ST                                                                                DAYTON               OH    45431‐2071
HELEN G SPRAGUE    C/O MICHAEL LEWIS              4501 BEECHER AVE                                               DAYTON               OH    45420
HELEN G STEFANIK   212‐B NEWTON DR.                                                                              NEWTON FALLS         OH    44444‐1913
HELEN GAFFNEY      26 PINE ST                                                                                    NORWOOD              NY    13668‐1213
HELEN GAILIE       4328 SAUNDERS SETTLEMENT RD                                                                   SANBORN              NY    14132‐9411
HELEN GALLOWAY     539 OAK ISLAND CIR                                                                            PLANT CITY           FL    33565‐9299
HELEN GALVIN       8332 TANAGER LN                                                                               INDIANAPOLIS         IN    46256‐1728
HELEN GALVIN       8332 TANAGER LANE                                                                             INDIANAPOLIS         IN    46256
HELEN GAMMELL      612 SOUTHERN BELLE BLVD                                                                       BEAVERCREEK          OH    45434‐6200
HELEN GARDNER      939 CRESCENT DRIVE                                                                            ANDERSON             IN    46013‐4037
HELEN GARDNER      19249 MARX ST                                                                                 DETROIT              MI    48203‐1379
HELEN GARLAND      3057 LEES AVE                                                                                 LONG BEACH           CA    90808‐4216
HELEN GARNER       3220 28TH AVE N                                                                               BIRMINGHAM           AL    35207‐5116
HELEN GARRETT      1213 RICHARD ST                                                                               MIAMISBURG           OH    45342‐1949
HELEN GARRISON     2096 STATE ROUTE 534                                                                          SOUTHINGTON          OH    44470‐9572
HELEN GARRISON     7512 S 400 W                   C/O JERRY LEE GARRISON                                         COLUMBUS             IN    47201‐3953
HELEN GARTHWAITE   1338 JEROME AVE                                                                               JANESVILLE           WI    53546‐2507
HELEN GASAWAY      5603 US HIGHWAY 79 S                                                                          HENDERSON            TX    75654‐5734
HELEN GEANS        601 WESTMINSTER ST                                                                            DETROIT              MI    48202‐1664
HELEN GEAR         980 WILMINGTON AVE APT 515                                                                    DAYTON               OH    45420‐1621
HELEN GEARLD       834 N KEYSTONE AVE                                                                            INDIANAPOLIS         IN    46201
HELEN GEISLER      RR 1                                                                                          SPRINGBORO           OH    45066
HELEN GENNETT      171 LAUREL ST APT 114                                                                         BRISTOL              CT    06010‐5763
HELEN GEORGE       19707 ELIZABETH ST                                                                            SAINT CLAIR SHORES   MI    48080‐3351

HELEN GEPHART      1520 N CARLTON AVE                                                                            FARMINGTON           NM    87401‐2418
HELEN GERAK        39500 WARREN RD TRLR 347                                                                      CANTON               MI    48187‐5709
HELEN GIBBONS      115 COCHITUATE RD APT 211                                                                     FRAMINGHAM           MA    01701‐7970
HELEN GIDEON       1935 SHERIDAN AVE NE                                                                          WARREN               OH    44483‐3541
HELEN GILBERTSON   442 EAST MAGNOLIA COURT                                                                       EDGERTON             WI    53534‐8617
HELEN GILES        1433 ARABIAN RD E                                                                             WEST PALM BEACH      FL    33406‐7801

HELEN GILGINAS     7784 MIELKE ROAD                                                                              FREELAND             MI    48623‐8424
HELEN GILL         PO BOX 511015                                                                                 LIVONIA              MI    48151‐7015
HELEN GILL         3643 S YORK HWY                                                                               JAMESTOWN            TN    38556‐5338
HELEN GILLEN       5650 SUTTON RD                                                                                AVON                 NY    14414‐9641
HELEN GILLIS       134 SW HILLCREST LN                                                                           LEES SUMMIT          MO    64063‐2184
HELEN GIRARDOT     3066 HANCHETT ST                                                                              SAGINAW              MI    48604‐2464
HELEN GIUSTI       801 SHEFFIELD RD                                                                              SHEFFIELD LAKE       OH    44054‐2134
HELEN GLADDEN      473 NIX CREEK CHURCH RD                                                                       MARION               NC    28752‐9587
HELEN GLASCOE      425 N MAIN ST                                                                                 WELLINGTON           OH    44090‐1031
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HELEN GLASS        928 PINECREST RD                                                                           GIRARD            OH     44420‐2153
HELEN GLOVER       1735 W RIDGE AVE                                                                           SHARPSVILLE       PA     16150‐1070
HELEN GLOVER       619 YALE AVE                                                                               DAYTON            OH     45402‐5823
HELEN GLUMP        102 BRAGG ST                                                                               STANLEY           NC     28164
HELEN GLUSZAK      52 GARFIELD STREET                                                                         LANCASTER         NY     14086‐2411
HELEN GOFF         601 FITZHUGH DR APT B315                                                                   TRAVERSE CITY     MI     49684‐4486
HELEN GOHEDOTTE    15486 DRAKE ST                                                                             SOUTHGATE         MI     48195‐2608
HELEN GOLA         19 GEORGETOWN RD                                                                           BORDENTOWN        NJ     08505‐2416
HELEN GOLOD        6867 SE SOURWOOD DR                                                                        STUART            FL     34997‐4117
HELEN GOLOMBEK     186 SCHOOL ST                                                                              KENMORE           NY     14217‐1134
HELEN GONYEA       1516 IRENE AVE                                                                             FLINT             MI     48503‐3554
HELEN GOOD         502 W RICE ST                                                                              CONTINENTAL       OH     45831‐9047
HELEN GOODALE      3523 E WESTCHESTER DR                                                                      CHANDLER          AZ     85249‐8944
HELEN GOODALL      8652 AUGUST AVE                                                                            WESTLAND          MI     48185‐1771
HELEN GOODSELL     25 BLACK BEAR TRCE                                                                         MURPHY            NC     28906‐3722
HELEN GOREWICH     507 AUSTIN DR                                                                              FAIRLESS HILLS    PA     19030‐2105
HELEN GORMAN       413 W 5TH ST                                                                               ALEXANDRIA        IN     46001‐2313
HELEN GORZYCKI     544 N SANDSTONE ST                                                                         GILBERT           AZ     85234‐4712
HELEN GOSSETT      457 DEWEY ST                                                                               WHEELERSBURG      OH     45694‐1720
HELEN GOUGH        200 N 6TH ST                                                                               ELWOOD            IN     46036‐1439
HELEN GOURLEY      150 S WASHINGTON ST            APT 2                                                       LYNDON STATIO     WI     53944‐9342
HELEN GOWING       118 N CREST DR                                                                             RAYMORE           MO     64083‐9294
HELEN GRACELY      3503 LILLIAN ST                                                                            SHREVEPORT        LA     71109‐2528
HELEN GRAMLA       207 KENILWORTH AVE SE                                                                      WARREN            OH     44483‐6013
HELEN GRANDT       3304 ESSEX DR                                                                              JANESVILLE        WI     53546‐8883
HELEN GRANEY       1495 COPELAND CIR                                                                          CANTON            MI     48187‐3492
HELEN GRAVES       721 GRANDVIEW AVE                                                                          SLATER            MO     65349‐9779
HELEN GRAVES       116 DONNA LANE                                                                             JACKSBORO         TN     37757‐2729
HELEN GRAY         6156 TITAN RD                                                                              MOUNT MORRIS      MI     48458‐2616
HELEN GRAY         130 MEAD POND LOOP                                                                         NORWICH           NY     13815‐3308
HELEN GRAY         2801 CHASE ST                                                                              ANDERSON          IN     46016‐5047
HELEN GREEN        1754 RIVER ST NE                                                                           CONYERS           GA     30012‐3752
HELEN GREENAWALT   17041 MENNELL RD                                                                           GRAFTON           OH     44044‐9639
HELEN GREENE       10850 KENDIG RD                                                                            NEW CARLISLE      OH     45344
HELEN GRESKOFF     62 WORRELL DRIVE                                                                           SPRINGFIELD       PA     19064
HELEN GRIFFIN      18013 PONCIANA AVE                                                                         CLEVELAND         OH     44135‐4175
HELEN GRIFFIN      19715 BUFFALO ST                                                                           DETROIT           MI     48234‐2432
HELEN GRIFFITH     6586 RIVER RD                                                                              FLUSHING          MI     48433‐2510
HELEN GRILLS       123 7TH STREET EXT                                                                         TRAFFORD          PA     15085‐1212
HELEN GROGEAN      330 VIRGINIA ST                                                                            VERSAILLES        OH     45380‐1126
HELEN GROLEAU      17770 VALADE ST                                                                            RIVERVIEW         MI     48193‐4723
HELEN GROOVER      1300 S G ST                                                                                ELWOOD            IN     46036
HELEN GROSS        10051 BROOKS CARROL RD                                                                     WAYNESVILLE       OH     45068‐8661
HELEN GROSS        2450 OAKRIDGE DR                                                                           FLINT             MI     48507‐6211
HELEN GROSS        20 COLONIAL ESTATE DRIVE                                                                   YOUNGSTOWN        OH     44514
HELEN GROVE        128 MAUCK LN                                                                               DANVILLE           IL    61832‐5359
HELEN GRUBB        1014 17TH STREET                                                                           LOGANSPORT        IN     46947‐4418
HELEN GRUNZWEIG    42 FULLER ST                                                                               BUFFALO           NY     14207‐1432
HELEN GUERTIN      6229 MABLEY HILL RD                                                                        FENTON            MI     48430‐9404
HELEN GUIMENTO     435 BIRD AVE                                                                               BUFFALO           NY     14213‐1235
HELEN GUINTHER     1900 S DITTMAR RD                                                                          MILLERSBURG       MI     49759‐9724
HELEN GULICK       115 N KENDALL DR                                                                           INDEPENDENCE      MO     64056‐1734
HELEN GURLEA       167 TALSMAN DR # 2                                                                         CANFIELD          OH     44406‐1238
HELEN GURTOWSKI    9350 BRYDEN ST                                                                             DETROIT           MI     48204‐2827
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HELEN GUSTIN          1018 MAGNOLIA PL                                                                           NORTH VERNON    IN     47265‐9079
HELEN GUYMAN          9933 SAGO POINT DR                                                                         LARGO           FL     33777‐4912
HELEN GYUMOLCS        76 LAKESIDE DR S                                                                           PISCATAWAY      NJ     08854‐5104
HELEN H ADAIR         6255 W NORTHWEST HWY #204                                                                  DALLAS          TX     75225
HELEN H DIAL          3665 PALMYRA RD S.W.                                                                       WARREN          OH     44481‐9703
HELEN H DUNCH         3500 STATE RT. 5 N.E.                                                                      CORTLAND        OH     44410‐1631
HELEN H MOSS          1548 HARDING AVE.                                                                          GIRARD          OH     44420‐1512
HELEN H OTIS          903 RANDOLPH AVENUE                                                                        DAYTON          OH     45408‐1734
HELEN H PUTERBAUGH    319 ALBERT RD                                                                              BROOKVILLE      OH     45309‐9247
HELEN H RYAN          207 CARLEEN STREET                                                                         GADSDEN         AL     35901‐9095
HELEN H STOSKY        2100 HOWLAND WILSON RD                                                                     CORTLAND        OH     44410
HELEN HAAS            514 N 4TH ST                                                                               GREENFIELD      OH     45123‐1006
HELEN HADLEY          45 N SCOTT ST 112C                                                                         CARBONDALE      PA     18407
HELEN HADU            17 CHESTNUT ST                                                                             EDISON          NJ     08817‐3105
HELEN HALL            677 DEWEY ST APT 125                                                                       LAPEER          MI     48446‐1731
HELEN HALL            6306 SPARROW LN                                                                            ENGLEWOOD       FL     34224‐9788
HELEN HALL            9147 KING GRAVES RD NE                                                                     WARREN          OH     44484‐1126
HELEN HALL            110 HUISACHE STREET                                                                        LOS FRESNOS     TX     78566‐3118
HELEN HALL            11661 KENTUCKY ST                                                                          DETROIT         MI     48204‐1974
HELEN HALPIN          10615 TAMRYN BLVD                                                                          HOLLY           MI     48442‐8524
HELEN HAMILTON        6237 FERNCREEK DR                                                                          JACKSON         MS     39211‐2005
HELEN HAMILTON        129 VALLEY CIR NE                                                                          WARREN          OH     44484‐1084
HELEN HAMMERSLEY      25 E COE RD                                                                                LIBERTY         IN     47353‐9230
HELEN HAMMOND         3744 MILDRED ST                                                                            WAYNE           MI     48184‐1911
HELEN HANLEY          311 GARFIELD AVE                                                                           AVON            NJ     07717
HELEN HANSBROUGH      604 W MAIN ST                                                                              WESTVILLE        IL    61883‐1581
HELEN HANUSI          153 BURHOLME DR                                                                            HAMILTON        NJ     08691‐3355
HELEN HARBACEVIC      96 OAK GROVE RD                                                                            FLEMINGTON      NJ     08822‐5633
HELEN HARBIN          9984 SILVERWOOD RD                    PO BOX 56                                            SILVERWOOD      MI     48760‐5105
HELEN HARBISON        725 SHIRLEY DR                                                                             TIPP CITY       OH     45371‐1129
HELEN HARDEN          1114 HINE ST S                                                                             ATHENS          AL     35611‐3126
HELEN HARDEN          4915 BIRCHCREST DR                                                                         FLINT           MI     48504‐2015
HELEN HARGRAVES       7411 CAMBY RD                                                                              CAMBY           IN     46113‐9252
HELEN HARMAN          128 MANSER DR                                                                              AMHERST         NY     14226‐1231
HELEN HARNAK          7583 SLEEPY HOLLOW DR                                                                      PARMA           OH     44130‐5848
HELEN HARNER          13800 W PARK CENTRAL BLVD APT 443                                                          NEW BERLIN      WI     53151‐9540
HELEN HARPER          PO BOX 244                                                                                 CLARKSVILLE     OH     45113‐0244
HELEN HARPER          104 OXFORD DR                                                                              GREENVILLE      OH     45331‐2921
HELEN HARPLE          612 OAKLAND AVE                                                                            SANDUSKY        OH     44870‐8012
HELEN HARRELL         2364 ALVIN JOINER RD                                                                       DUBLIN          GA     31021‐4735
HELEN HARRINGTON      15595 PRETTY LAKE DR                                                                       MECOSTA         MI     49332‐9490
HELEN HARRINGTON      1392 HAMMERBERG CT 8 C                                                                     FLINT           MI     48507
HELEN HARRIS          1287 CLARK ST                                                                              RAHWAY          NJ     07065‐5501
HELEN HARRIS          30 W 39TH ST                                                                               ANDERSON        IN     46013‐4300
HELEN HARRIS          502 E 48TH ST                                                                              MARION          IN     46953‐5342
HELEN HARRIS          6201 BERT KOUNS INDUSTRIAL LOOP LOT                                                        SHREVEPORT      LA     71129‐5065
                      823
HELEN HARRIS          23271 HARDING ST                                                                           OAK PARK       MI      48237‐4302
HELEN HARRIS          5700 VINTAGE LN APT 615                                                                    KALAMAZOO      MI      49009‐1026
HELEN HARRIS          15061 FORD RD                                                                              DEARBORN       MI      48126‐4769
HELEN HARRIS          101 PEACH ST                                                                               VENICE         FL      34285‐7930
HELEN HARRIS‐BRANCH   9608 BURT RD                                                                               DETROIT        MI      48228‐1520
HELEN HARRISON        4941 THEKLA AVENUE                                                                         SAINT LOUIS    MO      63115‐1812
HELEN HARRISON        12025 E 48TH TER                                                                           KANSAS CITY    MO      64133‐2523
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Name                Address1                        Address2           Address3         Address4                  City              State   Zip
HELEN HARRISON      1221 PETTIBONE AVE                                                                            FLINT              MI     48507‐1531
HELEN HARRISON      5909 STONE RD                                                                                 LOCKPORT           NY     14094‐1235
HELEN HARSHBARGER   1815 SUMMER ST LOT 34                                                                         FLATWOODS          KY     41139‐1214
HELEN HARSHMAN      PO BOX 33                                                                                     CHRISTIANSBRG      OH     45389‐0033
HELEN HART          269 SORREL TREE PL                                                                            OCEANSIDE          CA     92057‐6130
HELEN HASNER        2205 ZACHAROVA DOBRA VODA U                                         CESKYCH BODEJOVIC CZECH
                                                                                        REPUBLIC
HELEN HASSA         337 GREYLOCK PKWY                                                                             BELLEVILLE        NJ      07109‐2354
HELEN HATHAWAY      1134 SHADOW RIDGE DR                                                                          NILES             OH      44446‐3559
HELEN HATTEN        20040 WOODBINE ST                                                                             DETROIT           MI      48219‐1073
HELEN HAUSMAN       242 HAWLEY ST                                                                                 LOCKPORT          NY      14094‐2743
HELEN HAWKEN        115 N 13TH ST                                                                                 KANSAS CITY       KS      66102‐5106
HELEN HAWKINS       2307 17TH ACE                   APT A NORTH                                                   MONROE            WI      53566
HELEN HAYWALD       408 PINECLIFF CT                                                                              WATERFORD         MI      48327‐1794
HELEN HAZEN         11310 TEBEAU DR                                                                               SPARTA            MI      49345‐8446
HELEN HEATH         APT#102                         1460 RENTON ROAD                                              PITTSBURGH        PA      15239
HELEN HEDRICK       412 COLUMBIA AVE                                                                              WILLIAMSTOWN      WV      26187‐1123
HELEN HEEREN        2105 RAYBROOK ST SE UNIT 4049                                                                 GRAND RAPIDS      MI      49546‐7763
HELEN HEFKO         1148 SCOVILLE NORTH RD                                                                        VIENNA            OH      44473‐9540
HELEN HEFT          1680 EDSEL ST                                                                                 TRENTON           MI      48183‐1893
HELEN HEGEDUS       68 ROMAINE AVE                                                                                BOARDMAN          OH      44512‐3301
HELEN HEIDORN       269 GREENING LN                                                                               ONTARIO           NY      14519‐8860
HELEN HEISER        UPPR                            342 PINE STREET                                               LOCKPORT          NY      14094‐4929
HELEN HENDERSON     1921 ASPEN ST                                                                                 NEWPORT           MI      48166‐8809
HELEN HENDERSON     2200 N PECOS ST APT 309                                                                       MIDLAND           TX      79705‐7602
HELEN HENDRICKS     8901 MERIDIAN RD                                                                              BANNISTER         MI      48807‐9317
HELEN HENRY         6181 LINDEN LN                                                                                LAGRANGE HLDS     IL      60525‐7309
HELEN HENRY         5536 ANDERSON ST                                                                              FORT WORTH        TX      76119‐1505
HELEN HERRELL       313 E WALNUT ST                                                                               KOKOMO            IN      46901‐4811
HELEN HERRINGTON    212 CREEKWOOD RD                                                                              HARTWELL          GA      30643‐2765
HELEN HERTLE        2335 N MADISON AVE                                                                            ANDERSON          IN      46011‐9591
HELEN HESS          3901 FAIRFIELD AVE                                                                            MUNHALL           PA      15120‐3437
HELEN HETSON        1422 MOUNT EVERETT RD                                                                         HUBBARD           OH      44425‐2705
HELEN HETZNER       354 N FARGO DR                                                                                RENSSELAER        IN      47978‐2769
HELEN HICKEN        623 SOUTHWOOD RD                                                                              HOCKESSIN         DE      19707‐9255
HELEN HICKS         6042 FELLRATH ST                                                                              TAYLOR            MI      48180‐1158
HELEN HICKS         151 FAIRWAY DR                                                                                BLOUNTVILLE       TN      37617
HELEN HICKS         151 FAIRWAY DRIVE                                                                             BLOUNTVILLE       TN      37617
HELEN HIER          164 FISCOE AVENUE                                                                             SYRACUSE          NY      13205‐3007
HELEN HIGHTOWER     1616 GLENEAGLES DR                                                                            KOKOMO            IN      46902‐3181
HELEN HILDEBRAND    4510 CATHY DR                                                                                 GRANBURY          TX      76049‐5044
HELEN HILL          3300 WILLIAMSBURG ST NW                                                                       WARREN            OH      44485‐2259
HELEN HILL          7615 BELLE PLAIN DR                                                                           DAYTON            OH      45424‐3230
HELEN HILL          8320 ESPER ST                                                                                 DETROIT           MI      48204‐3122
HELEN HILL          10025 WIITALA RD                                                                              COPEMISH          MI      49625‐9753
HELEN HILL          9033 SUMMERFELDT RD                                                                           SAGINAW           MI      48609‐9317
HELEN HINES         6157 PEBBLE BEACH DR                                                                          SHREVEPORT        LA      71129‐4127
HELEN HIPP          134 CROSWELL ST                                                                               ROMEO             MI      48065‐5112
HELEN HIZER         4703 DORKIN CT                                                                                INDIANAPOLIS      IN      46254‐2158
HELEN HOBSON        29627 ROSSITER RD                                                                             MURRIETA          CA      92563‐4760
HELEN HOCKSTAD      875 MAPLEKNOLL AVE                                                                            MADISON HEIGHTS   MI      48071‐2953

HELEN HODGE         354 ORCHARD COVE DR BOX 5                                                                     OTISVILLE          MI     48463
HELEN HOESLY        2310 10TH AVE                                                                                 CHETEK             WI     54728‐9772
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Name               Address1                       Address2                       Address3   Address4               City             State Zip
HELEN HOFFMAN      122 HIGHLAND AVE                                                                                ORCHARD PARK      NY 14127‐2728
HELEN HOFFMAN      9082 MARAL TRL                                                                                  CENTERVILLE       OH 45458‐3629
HELEN HOFFMAN      8117 RIDGE RD                                                                                   GOODRICH          MI 48438‐8736
HELEN HOFFNER      5021 N HENDERSON RD                                                                             DAVISON           MI 48423‐8513
HELEN HOFKAMP      1004 RANDY LN                                                                                   SAINT JOHNS       MI 48879‐1182
HELEN HOGARD       G5070 AUKER DRIVE                                                                               FLINT             MI 48507
HELEN HOLBROOK     2869 HIGHWAY 540                                                                                JACKSON           KY 41339‐8275
HELEN HOLCOMB      10480 HENDERSON RD                                                                              CORUNNA           MI 48817‐9791
HELEN HOLDER       900 NE 17TH ST                                                                                  OKLAHOMA CITY     OK 73105‐8408
HELEN HOLDER       1543 LAFAYETTE ST                                                                               JANESVILLE        WI 53546‐2407
HELEN HOLDRIDGE    215 SUNFLOWER DR                                                                                LIVERPOOL         NY 13088‐5646
HELEN HOLLAND      2939 CLEMENT ST                                                                                 FLINT             MI 48504‐3041
HELEN HOLLEY       6585 AMELIA DR                                                                                  CINCINNATI        OH 45241‐1315
HELEN HOLLIS       305 LA JOLLA AVE                                                                                SUN CITY CTR      FL 33573‐6262
HELEN HOLLOWAY     4113 TIDELAND DR                                                                                BRIDGETON         MO 63044‐3438
HELEN HOLLOWAY     1675 SE 178TH LN                                                                                SUMMERFIELD       FL 34491‐6750
HELEN HOLMAN       1600 ANTIETAM AVE APT 1017                                                                      DETROIT           MI 48207‐2703
HELEN HOLMAN       16494 EGO AVE                                                                                   EASTPOINTE        MI 48021‐3002
HELEN HOLT         3018 BRANDED CT W                                                                               KOKOMO            IN 46901‐7005
HELEN HOMES        705 ABBOTT RD                                                                                   BUFFALO           NY 14220‐2018
HELEN HOOKS        12714 WATTERSON AVE                                                                             CLEVELAND         OH 44105‐4540
HELEN HOOPER       815 KEITH ST                                                                                    OXFORD            MI 48371‐4538
HELEN HOOPER       905 W ALPHA PKWY APT 209                                                                        WATERFORD         MI 48328‐2760
HELEN HOOVER       1000 GRANT ST                                                                                   FRANKTON          IN 46044‐9323
HELEN HOPKINS      7847 LOIS CIR APT 313                                                                           DAYTON            OH 45459‐3696
HELEN HOPPER       2489 SPRUCE ST                                                                                  GIRARD            OH 44420‐3152
HELEN HOPPES       822 WOODLAWN AVE APT C                                                                          MONTICELLO        IN 47960‐1784
HELEN HOPSON       2943 CONCORD ST                                                                                 FLINT             MI 48504‐3039
HELEN HORN         4355 BLUE SPRINGS RD                                                                            SPARTA            TN 38583‐2828
HELEN HORNER       2911 WILLOUGHBY BEACH RD                                                                        EDGEWOOD          MD 21040‐3417
HELEN HORNING      11040 GORDON DR                                                                                 PARMA             OH 44130‐5101
HELEN HOSMER       PO BOX 3124                                                                                     MONTROSE          MI 48457‐0824
HELEN HOWARD       7685 EAGLE LAKE RD                                                                              NORTH CHARLESTON SC 29418‐2167

HELEN HOWARD       PO BOX 17                                                                                       DUPONT           OH   45837‐0017
HELEN HUBBARD      4446 DUBLIN RD                                                                                  BURTON           MI   48529‐1826
HELEN HUDDLESTON   PO BOX 1095                                                                                     CRAIGSVILLE      WV   26205‐1095
HELEN HUDSON       2029 BROOK HIGHLAND RDG                                                                         BIRMINGHAM       AL   35242‐5861
HELEN HUDSON       1612 TOWER DR                                                                                   ARLINGTON        TX   76010‐8233
HELEN HUFFMAN      3630 6TH AVE APT 101                                                                            SAN DIEGO        CA   92103‐4362
HELEN HUFFMAN      3219 E ROTAMER RD                                                                               JANESVILLE       WI   53546‐9330
HELEN HUFFMAN      531 CHAUCER RD                                                                                  DAYTON           OH   45431‐2010
HELEN HUGHES       9028 ROSE ST                                                                                    BELLFLOWER       CA   90706‐6418
HELEN HUGHEY       2310 WALNUT ST                                                                                  SAGINAW          MI   48601‐2068
HELEN HULEC        4215 DAWNCLIFF DR                                                                               BROOKLYN         OH   44144‐1222
HELEN HUMBLES      1667 SHERIDAN RD APT 36                                                                         NOBLESVILLE      IN   46062
HELEN HUMMEL       1678 HARRISON POND DR                                                                           NEW ALBANY       OH   43054‐8862
HELEN HUNLEY       1035 S WAUGH ST                                                                                 KOKOMO           IN   46902‐1738
HELEN HUNT         28028 UNIVERSAL DR                                                                              WARREN           MI   48092‐2428
HELEN HUNT         690 S STATE ST                 C/O INDIANA MASONIC HOME INC                                     FRANKLIN         IN   46131‐2553
HELEN HURSH        PO BOX 42                                                                                       YOUNG AMERICA    IN   46998‐0042
HELEN HUSS         205 W GRANT AVE                                                                                 MYERSTOWN        PA   17067‐2318
HELEN HYDUK        50576 ALDEN DR                                                                                  MACOMB           MI   48044‐1295
HELEN HYLTON       PO BOX 310461                                                                                   FLINT            MI   48531‐0461
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Name                   Address1                         Address2                   Address3             Address4                 City             State   Zip
HELEN HYNES            1153 CHATWELL DR                                                                                          DAVISON           MI     48423‐2707
HELEN HYPES            601 MARLEY RD                                                                                             ELKTON            MD     21921‐4509
HELEN HYRNS            16700 SHANER AVE                                                                                          SAND LAKE         MI     49343‐9460
HELEN HYSICK           1074 VERNIER RD                                                                                           GROSSE POINTE     MI     48236‐1536
                                                                                                                                 WOODS
HELEN HYZAK            933 NW PARK MEADOW LN                                                                                     BURLESON         TX      76028‐7457
HELEN I MCGREW‐LEWIS   3956 MIDDLEHURST LN                                                                                       DAYTON           OH      45406‐3423
HELEN IANNOTTI         16400 TOLEDO RD APT 811                                                                                   SOUTHGATE        MI      48195
HELEN IGNATOWSKI       3241 W LYNNDALE AVE                                                                                       GREENFIELD       WI      53221‐1131
HELEN IHASZ            262 RAINSWEPT DRIVE                                                                                       GALLOWAY         OH      43119‐8484
HELEN INDOVINA         7 IVA MAE DR                                                                                              NORTH CHILI      NY      14514‐1147
HELEN INFANTI          61 RONALD AVE S                                                                                           BAYVILLE         NJ      08721‐1402
HELEN INGRASSIA        130 HICKORY RD                                                                                            UNION            NJ      07083‐6407
HELEN IRBY             G 7430 LAWRENCE ST                                                                                        GRAND BLANC      MI      48439
HELEN IRENE LUCAS      ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON       IL      62024
                                                        ANGELIDES & BARNERD LLC
HELEN IRVIN            2137 BRIGHAL ROAD                                                                                         BROOKHAVEN       MS      39601
HELEN ISAAC            5009 COUNCIL RING BLVD                                                                                    KOKOMO           IN      46902‐5326
HELEN ISAAC            3918 CATHERINE AVE                                                                                        NORWOOD          OH      45212‐4028
HELEN ISENHOUR         608 BLUFF ST BOX 152                                                                                      MISSOURI CITY    MO      64072
HELEN ISON             4415 S IDDINGS RD                                                                                         WEST MILTON      OH      45383‐8743
HELEN J AULTMAN        8732 YORKSHIRE                                                                                            GARDEN GROVE     CA      92841‐2326
HELEN J BOYD           639 STRAUB RD W                                                                                           MANSFIELD        OH      44904‐1842
HELEN J BUFWACK        720 CENTER ST E                                                                                           WARREN           OH      44481
HELEN J COLEMAN        PO BOX 487                                                                                                MOUNT MORRIS     MI      48458‐0487
HELEN J FEDUCIA        4541 WOOD STORK DR                                                                                        MERRITT ISLAND   FL      32953
HELEN J GENNARINI      168 HEMPSTEAD DR                                                                                          SOMERSET         NJ      08873
HELEN J JOHNSON        4433 W HILLCREST AVE                                                                                      DAYTON           OH      45406‐2310
HELEN J NOWICKI        W1038 NORTH DR                                                                                            BRODHEAD         WI      53520‐9621
HELEN J REEDER         5371 NASHUA DR                                                                                            YOUNGSTOWN       OH      44515‐5155
HELEN J RUANE          6 BEAVER BROOK DR                                                                                         TOMS RIVER       NJ      08757
HELEN J SMITH          2100 SHROYER RD                                                                                           DAYTON           OH      45419
HELEN JABLONSKI        1515 E 154TH ST.                                                                                          DOLTON           IL      60419
HELEN JABLONSKI        6967 VERSAILLES ST. BLD 39                                                                                PINELLAS PARK    FL      33781
HELEN JACKSON          1333 W FAIRVIEW AVE APT 2D                                                                                DAYTON           OH      45406‐5740
HELEN JACKSON          5463 CORUNNA RD                                                                                           FLINT            MI      48532‐4016
HELEN JACKSON          8640 E KEATING PARK ST LOT 283                                                                            FLORAL CITY      FL      34436‐2874
HELEN JACKSON          17597 BRINSON ST                                                                                          RIVERVIEW        MI      48193‐4704
HELEN JACKSON          131 LONDON WAY                                                                                            ANDERSON         IN      46013‐4434
HELEN JACOBSON         1301 GRASSY HILL CT              C/O JEANETTE J BROWN                                                     HANAHAN          SC      29410‐4742
HELEN JACQUES          PO BOX 775                                                                                                UNEEDA           WV      25205‐0775
HELEN JADWIN           600 AVOCADO AVE 1                                                                                         CORONA DEL MAR   CA      92625
HELEN JAKABUCZ         279 FEDERAL CITY RD                                                                                       PENNINGTON       NJ      08534‐5111
HELEN JAMES            40626 HARRIS RD                                                                                           BELLEVILLE       MI      48111‐9179
HELEN JAMES            2939 S EDSEL ST                                                                                           DETROIT          MI      48217‐1024
HELEN JANKOWSKI        16 TRACEWAY                                                                                               LANCASTER        NY      14086‐1460
HELEN JANOCH           4226 ELM AVENUE                                                                                           BROOKFIELD       IL      60513‐1904
HELEN JARSULIC         3507 W 49TH ST                   C/O JUDITH ORTH                                                          ROELAND PARK     KS      66205‐1526
HELEN JEAN DICK        PO BOX 62                                                                                                 ADAMS            NY      13605‐0062
HELEN JEFFREYS         241 W MT CARMEL RD                                                                                        CANEY            OK      74533‐2406
HELEN JENKINS          3513 KELLAR AVE                                                                                           FLINT            MI      48504‐2147
HELEN JESSEE           835 STONEQUARRY RD                                                                                        DAYTON           OH      45414‐1544
HELEN JETT             804 WICKHAM LN                                                                                            COLUMBIA         SC      29229‐6807
HELEN JINKS            9302 N COUNTRY CLUB RD                                                                                    MOORESVILLE      IN      46158‐7184
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HELEN JOHNSON                    96 GARDEN CT                                                                                         EGGERTSVILLE        NY     14226‐3219
HELEN JOHNSON                    4433 W HILLCREST AVE                                                                                 DAYTON              OH     45406‐2310
HELEN JOHNSON                    3206 PINE BRANCH CT                                                                                  DECATUR             GA     30034‐3773
HELEN JOHNSON                    12383 HALL RD                                                                                        RAVENNA             MI     49451‐9327
HELEN JOHNSON                    9170 TOWNLINE RD                                                                                     KINGSLEY            MI     49649‐9636
HELEN JOHNSON                    1912 SOUTH PARK AVENUE                                                                               ALEXANDRIA          IN     46001‐8193
HELEN JOHNSON                    9821 S BENSLEY AVE                                                                                   CHICAGO              IL    60617‐5319
HELEN JOHNSON                    7369 RIDGE RD                                                                                        LOCKPORT            NY     14094‐9458
HELEN JOHNSON                    11300 N VALLEY DR                                                                                    MEQUON              WI     53092‐3239
HELEN JOHNSON                    318 HARKER ST                                                                                        MANSFIELD           OH     44903‐1118
HELEN JOHNSON                    5407 HOOVER AVE APT 132                                                                              DAYTON              OH     45427‐2508
HELEN JOHNSON                    1608 LONGBOW LN                                                                                      WEST CARROLLTON     OH     45449‐2370

HELEN JOHNSON                    259 COURTYARD BLVD APT 201                                                                           SUN CITY CENTER    FL      33573‐4702
HELEN JOHNSON                    216 WOODHAVEN DR                                                                                     LANSING            MI      48917‐3535
HELEN JOHNSON‐POWE               PO BOX 4581                                                                                          FLINT              MI      48504‐0581
HELEN JONES                      1839 OWEN ST                                                                                         FLINT              MI      48503‐4358
HELEN JONES                      20820 PARKLAWN ST                                                                                    OAK PARK           MI      48237‐2754
HELEN JONES                      PO BOX 621                                                                                           WAYNE              MI      48184‐0621
HELEN JONES                      713 N BEERS ST                  THE WILLOWS BOX 209                                                  HOLMDEL            NJ      07733‐1503
HELEN JONES                      3561 W 52ND ST                                                                                       CLEVELAND          OH      44102‐5864
HELEN JONES                      PO BOX 293                                                                                           CLARENCE           NY      14031‐0293
HELEN JONES                      12900 GUARDIAN BLVD                                                                                  CLEVELAND          OH      44135‐2262
HELEN JONES                      3132 HARVEYSBURG RD                                                                                  WAYNESVILLE        OH      45068‐9419
HELEN JONES                      1009 N CENTRAL AVE                                                                                   MUNCIE             IN      47303‐3310
HELEN JONES                      366 QUIET WAY                                                                                        PALMETTO           FL      34221‐5416
HELEN JONES                      12400 N SAGINAW RD LOT 28                                                                            CLIO               MI      48420‐1074
HELEN JONES                      3320 MERRIMAC DR                                                                                     FOREST HILL        TX      76140‐2540
HELEN JORDAN                     911 PRAIRIE DEPOT                                                                                    INDIANAPOLIS       IN      46241‐1447
HELEN JOSEPH                     8363 GALLANT FOX TRL                                                                                 FLUSHING           MI      48433‐8827
HELEN JUREWICZ                   7 SUMMER TREES RD                                                                                    PORT ORANGE        FL      32128‐6719
HELEN JUSTICE                    14792 CATLIN TILTON RD OFC                                                                           DANVILLE           IL      61834‐5116
HELEN K DAVIS                    609 W SOUTH ORANGE AVE          APT 3H                                                               SOUTH ORANGE       NJ      07079
HELEN K DONNELLY                 3125 EMILIE LANE                                                                                     HERMITAGE          PA      16148‐3672
HELEN K GAMMELL                  612 SOUTHERN BELLE BLVD                                                                              BEAVERCREEK        OH      45434‐6200
HELEN K KANOS                    4537 FITZGERALD AVE.                                                                                 YOUNGSTOWN         OH      44515‐4428
HELEN K MILAVES                  534 PEFFER STREET                                                                                    NILES              OH      44446‐3317
HELEN K ONDO                     3667 RIDGE ROAD NE                                                                                   CORTLAND           OH      44410‐9432
HELEN K REDMOND                  1274 SIGNATURE DR                                                                                    YOUNGSTOWN         OH      44515
HELEN K ROGERS                   105 S POINT DR                                                                                       FAIRBORN           OH      45324‐2707
HELEN K SKOVRAN                  2075 ATLANTIC ST NE                                                                                  WARREN             OH      44483‐4245
HELEN K WEST, PERSONAL REP FOR   HELEN K WEST                    C/O BRAYTON PURCELL     222 RUSH LANDING RD                          NOVATO             CA      94948‐6169
DOUGLAS E WEST
HELEN K. HANDLIN
HELEN KACZMAREK                  104 CRISFIELD AVE                                                                                    CHEEKTOWAGA        NY      14206‐1918
HELEN KACZOR                     38 TURNBERRY DR                 C/O NANCY JO DAVIDSON                                                SLINGERLANDS       NY      12159‐9250
HELEN KAMINSKI                   5127 VALLEY FORGE DR                                                                                 TOLEDO             OH      43613‐2826
HELEN KAMINSKI                   898 SAYBROOK DR                                                                                      WATERFORD          MI      48327‐2584
HELEN KAMISCHKE                  7020 RONALD DR                                                                                       SAGINAW            MI      48609‐6921
HELEN KANONIK                    6111 W BARRY AVE                                                                                     CHICAGO            IL      60634‐4030
HELEN KANOS                      4537 FITZGERALD AVE                                                                                  YOUNGSTOWN         OH      44515‐4428
HELEN KAPR                       APT 216                         2600 ARBOR GLEN DRIVE                                                TWINSBURG          OH      44087‐3062
HELEN KARASINSKI                 12046 INA DR #129                                                                                    STERLING HEIGHTS   MI      48312
HELEN KARDAS                     35123 EDEN PARK DR                                                                                   STERLING HTS       MI      48312‐3830
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Name                       Address1                        Address2                     Address3   Address4               City                 State   Zip
HELEN KARKLEL              61 BELLEVUE AVE                                                                                BRISTOL               CT     06010‐5815
HELEN KARL                 5515 E LONG LAKE RD                                                                            HARRISON              MI     48625‐8877
HELEN KARNS                425 E WALTON BLVD                                                                              PONTIAC               MI     48340‐1354
HELEN KASPRZYK             2728 CHURCHILL LN APT 4                                                                        SAGINAW               MI     48603‐2682
HELEN KASTNER              5270 COBBLEGATE BLVD APT K                                                                     MORAINE               OH     45439‐6103
HELEN KATANA               2810 NW 15TH ST                                                                                CAPE CORAL            FL     33993‐4863
HELEN KEDZIERSKI           8131 RACINE RD                                                                                 WARREN                MI     48093‐6745
HELEN KEDZIERSKI           8131 RACINE                                                                                    WARREN                MI     48093‐6745
HELEN KEELER               3548 YORBALINDA                                                                                ROYAL OAK             MI     48073
HELEN KEGLEY               2248 ENTERPRISE RD                                                                             WEST ALEXANDRIA       OH     45381‐9510

HELEN KEITH                6988 MCKEAN RD LOT 184                                                                         YPSILANTI            MI      48197‐9404
HELEN KELLER               459 SIEBERT ST                                                                                 COLUMBUS             OH      43206‐2724
HELEN KELSCH               50 DAWNBROOK LN                                                                                WILLIAMSVILLE        NY      14221‐4930
HELEN KEMPISTY             48761 DENTON RD APT 3                                                                          BELLEVILLE           MI      48111‐3201
HELEN KENDLE               BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.          OH      44236
HELEN KERBER               3429 TRASKWOOD CIRCLE‐UNIT A                                                                   CINCINNATI           OH      45208
HELEN KERN                 45 MERIDEN AVE                  SOUTHINGTON CARE CENTRE                                        SOUTHINGTON          CT      06489‐3214
HELEN KERSTEN              109 N WALNUT ST                                                                                JANESVILLE           WI      53548‐6501
HELEN KESLER               27117 HASS ST                                                                                  DEARBORN HTS         MI      48127‐2809
HELEN KEYS                 606 MARY CT                                                                                    FENTON               MI      48430‐1415
HELEN KIDD                 10119 MORROW ROSSBURG RD                                                                       PLEASANT PLAIN       OH      45162‐9749
HELEN KIHM                 4910 NW 53RD CT                                                                                TAMARAC              FL      33319‐3246
HELEN KILLIMET             100 FRANCIS CT APT 160                                                                         UNION                NJ      07083‐8931
HELEN KILROY               2633 JANNEY ST                                                                                 PHILADELPHIA         PA      19125‐1810
HELEN KIMBLER              193 S MAIN ST                                                                                  LONDON               OH      43140‐1549
HELEN KINCAID              11005E 78TH ST                                                                                 RAYTOWN              MO      64138
HELEN KING                 57 TECUMSEH DR                                                                                 HAMILTON             OH      45013‐1540
HELEN KINNEY               12481 CR 684                                                                                   WEBSTER              FL      33597‐7579
HELEN KIRCHNER             438 OAKLAND LN                                                                                 HARRODSBURG          KY      40330‐9043
HELEN KIRK                 6406S DORR ROAD                                                                                FALMOUTH             MI      49632
HELEN KITCHEN              931 N WHITE OAKS LN                                                                            OAK GROVE            MO      64075‐5128
HELEN KLEIN                8 STANTON CIR                                                                                  PINEHURST            NC      28374‐6724
HELEN KNAPP                177 COOK AVE                                                                                   BECKLEY              WV      25801‐3736
HELEN KNIAZ                42152 TESSMER DR                                                                               STERLING HTS         MI      48314‐3053
HELEN KNIGHT               9711 CENTER DR                                                                                 VILLA PARK           CA      92861‐2736
HELEN KNOX                 163 EAST MOORE STREET                                                                          FLINT                MI      48505‐5369
HELEN KOBREN               251 SOUTH OLDS BLVD APT A‐12                                                                   FAIRLESS HILLS       PA      19030
HELEN KOBY                 1622 HUTCHINSON ST                                                                             PEA RIDGE            AR      72751‐2548
HELEN KOBYLIK              50 PINE TREE RIDGE DR UNIT 3                                                                   WATERFORD            MI      48327‐4308
HELEN KONDRA               932 KIRKPATRICK ST                                                                             SYRACUSE             NY      13208‐2236
HELEN KONECKI              6 LANDVIEW LN                                                                                  COLUMBUS             NJ      08022‐2259
HELEN KOO                  39617 DORCHESTER CIR                                                                           CANTON               MI      48188‐5020
HELEN KOPINSKY             1141 WASHINGTON BLVD                                                                           MAYFIELD HEIGHTS     OH      44124‐1623

HELEN KOPKO                1900 VIRGINIA AVE APT 1102                                                                     FORT MYERS           FL      33901‐3337
HELEN KORZAN               268 ROOSEVELT AVE                                                                              ELYRIA               OH      44035‐3948
HELEN KOSONOVICH           5455 PHEASANT DR                                                                               ORIENT               OH      43146‐9239
HELEN KOSOSKI              612 N FRANKLIN ST                                                                              DEARBORN             MI      48128‐1574
HELEN KOVACEVIC            20930 WILMORE AVE                                                                              EUCLID               OH      44123‐2818
HELEN KOVACIK ‐ BARTLETT   840 HAMLIN ST                                                                                  LAKE ORION           MI      48362‐2518
HELEN KOVALCIK             23137 BROOKDALE BLVD                                                                           SAINT CLAIR SHORES   MI      48082‐1135

HELEN KOVALCSIK            68 S VALLEY DR                                                                                 SWARTZ CREEK          MI     48473‐8290
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Name                      Address1                              Address2                       Address3       Address4                 City                 State   Zip
HELEN KOWALESKI           271 VICTOR DR                                                                                                SAGINAW               MI     48609‐5135
HELEN KOWALSKI            310 DELAPLANE AVE                                                                                            NEWARK                DE     19711‐4715
HELEN KOYNOK              1800 SE SAINT LUCIE BLVD APT 12‐304                                                                          STUART                FL     34996‐4274
HELEN KOZA                30740 IROQUOIS DR                                                                                            WARREN                MI     48088‐5027
HELEN KOZA                G‐3164 W CARPENTER RD                                                                                        FLINT                 MI     48504
HELEN KOZLOSKI            161 GOLDEN POND EST                                                                                          AKRON                 NY     14001‐9555
HELEN KOZLOWSKI           APT C                                 1024 HIDDEN LANDING TRAIL                                              DAYTON                OH     45449‐2534
HELEN KOZURA              1162 W BELDEN AVE                                                                                            SYRACUSE              NY     13204‐1206
HELEN KRAKOWSKI           48 ALWAT ST                                                                                                  WOODBRIDGE            NJ     07095‐2404
HELEN KRAMER              110 TARRYTON CT E                                                                                            COLUMBUS              OH     43228‐6501
HELEN KRAMER              668 LONG POND RD                                                                                             ROCHESTER             NY     14612‐3008
HELEN KRAMER SETTLEMENT   PROCESS ACCOUNT                       C/O KENNETH MACK ‐PICCO MACK   P O BOX 1388                            TRENTON               NJ     08607
HELEN KRASSELT            1268 OLD BOSSESSION RD                                                                                       TROY                  PA     16947
HELEN KRAUZOWICZ          58 JANICE ST                                                                                                 BUFFALO               NY     14207‐2340
HELEN KREISER             7312 KILDEER LN                                                                                              LUDINGTON             MI     49431‐9764
HELEN KREUZER             3602 E 4TH ST                                                                                                DAYTON                OH     45403‐2830
HELEN KRISMAN             604 MEADOWBROOK AVE SE                                                                                       WARREN                OH     44484‐4552
HELEN KRODER              EL PORTON 7 B.6 APT.34                                                              C/DON JOSE DE ORBANEJA
                                                                                                              SPAIN
HELEN KROL                906 SIBLEY ST                                                                                                BAY CITY             MI      48706‐3859
HELEN KRUKOWSKI           10212 FORESTWOOD LN                                                                                          NORTH ROYALTON       OH      44133‐3372
HELEN KRUSZEWSKI          2912 ALBINE DR                                                                                               GLENSHAW             PA      15116‐1145
HELEN KRYS                119 CRESTWOOD AVE                                                                                            BUFFALO              NY      14216‐2305
HELEN KRZESIMOWSKI        32531 NEW YORK ST                                                                                            SAINT CLAIR SHORES   MI      48082‐2079

HELEN KUBIAK              588 PIONEER TRL                                                                                              SAGINAW              MI      48604‐2219
HELEN KUBIT               901 DECKER DR                                                                                                PARMA                OH      44134‐3116
HELEN KUCHARSKI           6266 WHITE OAK                                                                                               WESTLAND             MI      48185‐9109
HELEN KUCZKOWSKI          372 CRESCENT AVE                                                                                             BUFFALO              NY      14214‐1909
HELEN KUHAR               6247 GIFFORD DR                                                                                              BROOKLYN             OH      44144‐3462
HELEN KUHNERT             587 PINE NEEDLES DR                                                                                          DAYTON               OH      45458‐3323
HELEN KUKOLA              4047 E MAPLE AVE                      JOSEPH KUKOLA                                                          GRAND BLANC          MI      48439‐7960
HELEN KULBERTIS           51468 MOUND ROAD                                                                                             SHELBY TWP           MI      48316‐4360
HELEN KULESA              333 AYRAULT RD                                                                                               FAIRPORT             NY      14450‐2805
HELEN KULESZA             30671 WASHINGTON BLVD                                                                                        WARREN               MI      48093‐8701
HELEN KULPA               6330 MEMORIAL ST                                                                                             DETROIT              MI      48228‐3884
HELEN KUSHLAK             530 N ROCKY RIVER DR                                                                                         BEREA                OH      44017‐1613
HELEN KUSTAN              301 ARLENE STREET                                                                                            MINERSVILLE          PA      17954‐2103
HELEN KWEDDER             36250 LAKE SHORE BLVD                 SURFSIDE TOWERS APT 306                                                EASTLAKE             OH      44095‐1475
HELEN L BEAM              2441 WHEELER AVE                                                                                             DAYTON               OH      45406‐1734
HELEN L BROADUS           2071 AUBURN AVE                                                                                              DAYTON               OH      45406
HELEN L CAPITO            330 EASTLAND AVE SE                                                                                          WARREN               OH      44483‐6317
HELEN L CHEATHAM          1537 CARDINGTON RD                                                                                           KETTERING            OH      45409‐1746
HELEN L COUWLIER          1374 NANCYWOOD DR                                                                                            WATERFORD            MI      48327‐2041
HELEN L COX               3605 WYANDOTT LANE                                                                                           YOUNGSTOWN           OH      44502‐3178
HELEN L D'ANGELO          303 E 1ST AVE                                                                                                FRANKLIN             KY      42134‐8620
HELEN L DAMICO            1510 LEISTER DRIVE                                                                                           SILVER SPRING        MD      20904
HELEN L DEMOSS            1307 LINCOLN ST APT A                                                                                        DANVILLE             IL      61832‐7500
HELEN L DOYLE             7232 S.R. 45, N.W.                                                                                           N. BLOOMFIELD        OH      44450‐9719
HELEN L GARRETT           1213 RICHARD ST                                                                                              MIAMISBURG           OH      45342‐1949
HELEN L HAMILTON          6237 FERNCREEK DR                                                                                            JACKSON              MS      39211‐2005
HELEN L HARRIS            1287 CLARK ST                                                                                                RAHWAY               NJ      07065‐5501
HELEN L HARSHMAN          PO BOX 33                                                                                                    CHRISTIANSBURG       OH      45389‐0033
HELEN L HENDERSON         1921 ASPEN ST                                                                                                NEWPORT              MI      48166‐8809
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Name                    Address1                           Address2             Address3    Address4               City            State Zip
HELEN L HOLLAND         2939 CLEMENT ST                                                                            FLINT            MI 48504‐3041
HELEN L JETT            804 WICKHAM LN                                                                             COLUMBIA         SC 29229‐6807
HELEN L PARKS           2205 PICCADILLY AVE                                                                        DAYTON           OH 45406‐2624
HELEN L PARKS           2205 PICCADILLY AVE                                                                        DAYTON           OH 45406‐2624
HELEN L RIVERS          4033 CAROL DR.                                                                             JACKSON          MS 39206
HELEN L SHANEYFELT      C/O GWIN CARROLL                   1395 BOTTO DRIVE                                        XENIA            OH 45385
HELEN L SHAW            1307 E SCOTT                                                                               KIRKSVILLE       MO 63501
HELEN L THOMAS          5101 PATTERSON ROAD                                                                        DAYTON           OH 45430
HELEN L TIREY           4167 HELEN AVE                                                                             LINCOLN PARK     MI 48146‐3717
HELEN L UNDERWOOD IRA   291 INDIAN PAINTBRUSH UNIT J                                                               CASPER           WY 82604
HELEN L WILSON          137 MALENE AVE                                                                             GADSDEN          AL 35901
HELEN LABADIE           32457 BIRCHWOOD ST                                                                         WESTLAND         MI 48186‐5250
HELEN LACH              127 S BROADWAY                                                                             YONKERS          NY 10701‐4006
HELEN LACLAVE           1387 SUMAC CT                                                                              CARMEL           IN 46033‐1952
HELEN LACOMCHIK         1720 KLOCKNER RD APT 3                                                                     MERCERVILLE      NJ 08619‐2727
HELEN LAMAGNA           1666 CONRAD AVE                                                                            WATERFORD WORKS NJ 08089‐1926

HELEN LAMB              103 LINTON ST                                                                              SAGINAW         MI    48601‐4831
HELEN LANDRUM           10340 VISCOUNT DR                                                                          SAINT LOUIS     MO    63136‐5642
HELEN LANE              2221 N VERNON AVE                                                                          FLINT           MI    48506‐3433
HELEN LANG              30 BEAVER CREEK DR SW                                                                      WARREN          OH    44481‐9607
HELEN LANGDON           7450 DONNA ST                                                                              WESTLAND        MI    48185‐2419
HELEN LANGER            8800 SPOON DR APT 314                                                                      INDIANAPOLIS    IN    46219‐4242
HELEN LANGLEY           6 HORSESHOE LN                                                                             MCLOUD          OK    74851‐8413
HELEN LARSON            W8007 DAWN LAKE ROAD WHITE BIRCH                                                           IRON MOUNTAIN   MI    49801
                        EAST #243
HELEN LARSON            31739 NORRID CIR                                                                           WARREN           MI   48092‐5005
HELEN LASHLEY           862 EAST GREEN STREET                                                                      MARSHALL         MI   49068‐2020
HELEN LAUDENSCHLAGER    2715 W 400 S                                                                               KOKOMO           IN   46902‐9291
HELEN LAUR              215 RED ROW APT B                                                                          MARION           IL   62959‐5340
HELEN LAVOOK            71 GABRIEL DR                                                                              MONTVILLE        NJ   07045‐9480
HELEN LAWNICZAK         94 GRANT ST                                                                                DEPEW            NY   14043‐2402
HELEN LAY               10755 WESTPOINTE BLDG #9                                                                   TAYLOR           MI   48180
HELEN LAYCOCK           PO BOX 243                                                                                 MILLINGTON       MI   48746‐0243
HELEN LAYNE             1310 W VALLEY RD                                                                           WHITWELL         TN   37397‐3409
HELEN LAYNE             703 OLD NEWTON RD.                                                                         TROY             OH   45373
HELEN LAZAR             5445 FERNWOOD DRIVE                                                                        FLINT            MI   48532‐2117
HELEN LEACH             2344 BUSCH RD                                                                              BIRCH RUN        MI   48415‐8916
HELEN LEACH             139 N ILLINOIS AVE                                                                         GAYLORD          MI   49735‐1801
HELEN LEAHEY            2873 SHAFFER AVE                   C/O MARY H STEINER                                      CINCINNATI       OH   45211‐7114
HELEN LEATHERWOOD       937 SOUTH 45TH STREET                                                                      SAN DIEGO        CA   92113‐3458
HELEN LEDDY             335 LEDDY RD                                                                               SAGINAW          MI   48609‐9425
HELEN LEE               58 WADE ST                                                                                 WINDER           GA   30680‐1932
HELEN LEE               4218 WATERSIDE PL                                                                          GROVE CITY       OH   43123‐8069
HELEN LEHNERT           1624 E GAYLORD ST                                                                          MT PLEASANT      MI   48858‐3691
HELEN LELESZI           8 KOHLHEPP AVENUE                                                                          MILLTOWN         NJ   08850‐1414
HELEN LEMISON           63 BICKFORD DR                                                                             PALM COAST       FL   32137‐9369
HELEN LENGYEL           1315 BURGUNDY RD                                                                           ANN ARBOR        MI   48105‐2524
HELEN LENTNER           5400 MAPLE RD                                                                              FRANKENMUTH      MI   48734‐9716
HELEN LEONARD           3314 STARKWEATHER ST                                                                       FLINT            MI   48506‐2617
HELEN LEOPARDI          12147 DIEHL DR                                                                             STERLING HTS     MI   48313‐2431
HELEN LESTANSKY         2130 COMEGYS AVE                                                                           SCRANTON         PA   18509‐1309
HELEN LESTER            11717 E LENNON RD                                                                          LENNON           MI   48449‐9693
HELEN LESTER            313 LONGFELLOW ST                                                                          ELYRIA           OH   44035‐3730
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HELEN LEWANOWICZ     342 ELLIS AVE                                                                                       TRENTON          NJ     08638‐3948
HELEN LEWIS          1441 THUNDERBROOK DR                                                                                DESOTO           TX     75115‐2931
HELEN LEWIS          2500 WOODLAND DR                                                                                    HALE             MI     48739‐9219
HELEN LEWIS          19423 HAZELWOOD ST                                                                                  ROSEVILLE        MI     48066‐3098
HELEN LEWIS          110 STONEHEDGE DR                                                                                   ELYRIA           OH     44035‐8879
HELEN LEWIS          12450 CYRSTAL POINTE DR          APT 101                                                            BOYNTON BEACH    FL     33437
HELEN LIBECAP        33 S HILLCREST DR                                                                                   GERMANTOWN       OH     45327‐9306
HELEN LICHTNER       7418 VICTORY LN                                                                                     DELRAY BEACH     FL     33446
HELEN LIDDELL        18435 SUNDERLAND RD                                                                                 DETROIT          MI     48219‐2815
HELEN LIGHTCAP       110 FLAMINGO DR                                                                                     MECHANICSBURG    PA     17055‐5721
HELEN LILES          PO BOX 121                                                                                          LIMA             OH     45802‐0121
HELEN LINDERMAN      16 OAKLAND AVE APT B3                                                                               MEDINA           NY     14103‐1802
HELEN LINNEMAN       1104 ORIOLE DR N FRANKLIN AP                                                                        BENSALEM         PA     19020
HELEN LIPA           1803 CAPAC RD                                                                                       ALLENTON         MI     48002‐2404
HELEN LISBY          722 DANVERS LN                                                                                      MANSFIELD        TX     76063‐2817
HELEN LITTELL        2507 LUCERNE DR                                                                                     JANESVILLE       WI     53545‐0576
HELEN LITTERAL       2620 HARSHMAN RD                                                                                    DAYTON           OH     45424‐5036
HELEN LITTLE         APT 495                          7211 VEGA WAY                                                      INDIANAPOLIS     IN     46241‐7523
HELEN LITTLE         7402 LAKE BREEZE DR APT 409                                                                         FORT MYERS       FL     33907‐8052
HELEN LITTLE         3102 HARFORD RD                                                                                     HYDES            MD     21082‐9701
HELEN LITTMAN        16109 ACACIA DR                                                                                     STRONGSVILLE     OH     44136‐7430
HELEN LITWINETZ      222 WOODLAND AVE                                                                                    VILLAS           NJ     08251‐1847
HELEN LIVELY         39 CADET DR                                                                                         N RIDGEVILLE     OH     44039‐4070
HELEN LIVESAY        1741 E SPRING VALLEY PANTRS RD                                                                      XENIA            OH     45385‐9727
HELEN LOCK           PO BOX 613                                                                                          ARLINGTON        TN     38002‐0613
HELEN LOCY           330 MOCKINGBIRD LANE                                                                                AUBURN           AL     36830‐6910
HELEN LOFQUIST       9505 KALAMAZOO AVE SE                                                                               CALEDONIA        MI     49316‐8267
HELEN LOFTIN         5334 WYNDEMERE COMMON SQ                                                                            SWARTZ CREEK     MI     48473‐8911
HELEN LOGAN          PO BOX 1044                                                                                         MCLOUD           OK     74851‐1044
HELEN LONG           6126 NORTHEAST 36TH AVENUE                                                                          PORTLAND         OR     97211‐7349
HELEN LONGENECKER    2500 KUTHER RD APT 216                                                                              SIDNEY           OH     45365
HELEN LONGER         3800 BOARDWALK BLVD              PARKVUE HEALTHCARE CENTER                                          SANDUSKY         OH     44870‐7033
HELEN LOPEZ          847 SESPE AVE                                                                                       FILLMORE         CA     93015‐1825
HELEN LOPEZ          6 5TH AVE                                                                                           LINDEN           NJ     07036‐3604
HELEN LOPUCHWYCZ     233 NORMAN ST                                                                                       ROCHESTER        NY     14613‐1813
HELEN LOUGHREY       202 WOODINGHAM TRL                                                                                  VENICE           FL     34292‐3931
HELEN LOUISE WHITE   9 BROOKHAVEN DRIVE                                                                                  TROTWOOD         OH     45426‐3156
HELEN LOVE           8801 PRINCE AVE                                                                                     LOS ANGELES      CA     90002‐1260
HELEN LOWE           9192 SE 125TH LOOP                                                                                  SUMMERFIELD      FL     34491‐9742
HELEN LOWE           1808 HANOVER ST                                                                                     LINCOLN PARK     MI     48146‐1422
HELEN LOZIER         STE 1                            40 HIGH STREET                                                     BRISTOL          CT     06010‐5831
HELEN LUBOYESKI      180 SCOTT RD APT 124             THE VILLAGE AT EAST FARMS                                          WATERBURY        CT     06705‐3284
HELEN LUCAS          8693 SINGLEFOOT TRAIL                                                                               WILLOUGHBY       OH     44094‐9324
HELEN LUCAS          3127 BENCHWOOD RD                                                                                   DAYTON           OH     45414‐2318
HELEN LUGO           3055 OAK MEADOW DR                                                                                  SNELLVILLE       GA     30078‐6502
HELEN LUKASIAK       347 RIVERBANK STREET                                                                                WYANDOTTE        MI     48192‐2676
HELEN LUSCUSKIE      1501 HIGHWAY 33                  ARCADIA NURSING & REHAB CENTRE                                     HAMILTON         NJ     08690‐1705
HELEN LUSIAK         26 SLATE CREEK DR APT 10                                                                            CHEEKTOWAGA      NY     14227‐2920
HELEN LUTZE          1416 ELIZABETH ST                SAND LAKE HEIGHTS                                                  NATIONAL CITY    MI     48748‐9676
HELEN LYNCH          75 MOTE DR                       CONVINGTON CARE CENTER                                             COVINGTON        OH     45318‐1245
HELEN LYNCH          236 UNION DR                                                                                        SULPHUR          OK     73086‐9811
HELEN M ABNER        7505 SALEM ROAD                                                                                     LEWISBURG        OH     45338‐7703
HELEN M AUGELLO      22 EAST CREST DRIVE                                                                                 ROCHESTER        NY     14606‐4738
HELEN M AUGELLO      22 E CREST DR                                                                                       ROCHESTER        NY     14606‐4738
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HELEN M BALL        E 604 COURTLAND                                                                            SPOKANE             WA     99207‐2901
HELEN M BRANNIGAN   11061 COSS LN                                                                              VANDALIA            OH     45377
HELEN M BUTLER      6276 PARKHURST DR                                                                          GALETA              CA     93117
HELEN M CASTILLO    1112 N GRIFFIN ST                                                                          DANVILLE             IL    61832‐3312
HELEN M DALE        3404 WAYNE AVE                                                                             DAYTON              OH     45420‐2435
HELEN M DECKER      208 LAURELCREST CIRLE                                                                      VALRICO             FL     33594‐3212
HELEN M FELTZ       141 ROSEBUD LN                                                                             PERRYVILLE          MO     63775‐7334
HELEN M FERRIS      38 CENTER ST                                                                               MACHIAS             ME     04654‐1112
HELEN M GATTIS      408 MILLER STREET                                                                          GADSDEN             AL     35904
HELEN M GETTY       509 E BIDDLE ST                PO BOX 382                                                  GORDON              PA     17936
HELEN M GETTY       HELEN M GETTY                  509 E BIDDLE ST     PO BOX 382                              GOTDON              PA     17936
HELEN M GRACELY     3503 LILLIAN ST                                                                            SHREVEPORT          LA     71109‐2528
HELEN M GRAY        1928 CANADAIR CT                                                                           PORT ORANGE         FL     32128
HELEN M HARPER      104 OXFORD DR                                                                              GREENVILLE          OH     45331‐2921
HELEN M HEIDORN     269 GREENING LN                                                                            ONTARIO             NY     14519‐8860
HELEN M INDOVINA    7 IVA MAE DR                                                                               N CHILI             NY     14514‐1147
HELEN M LINNEMAN    1104 ORIOLE DR N FRANKLIN AP                                                               BENSALEM            PA     19020
HELEN M MCBRIDE     6802 PARKBELT DR                                                                           FLINT               MI     48505‐1939
HELEN M MCBRIDE     608 HOES LN W                                                                              PISCATAWAY          NJ     08854‐5628
HELEN M MCCALL      192 BURNS ST                                                                               SOMERSET            NJ     08873
HELEN M MCGRAW      1943 DIVISION ST                                                                           SAGINAW             MI     48602‐1810
HELEN M NICCUM      10408 MAUMEE DR                                                                            INDIANAPOLIS        IN     46235‐3407
HELEN M NORRIS      901 PALLISTER ST APT 514                                                                   DETROIT             MI     48202‐2681
HELEN M PANTUSO     689 W WASHINGTON ST                                                                        BRADFORD            PA     16701‐2647
HELEN M PHILLIPS    3661 COZY CAMP RD                                                                          DAYTON              OH     45439‐1129
HELEN M SMITH       7123 ST RT 46                                                                              CORTLAND            OH     44410‐9669
HELEN M STACY       135 SOLAR DR.                                                                              TIPP CITY           OH     45371‐9491
HELEN M STONE       5457 RIDGE RD                                                                              HALE                MI     48739‐9172
HELEN M SWATHWOOD   966 KING'S COURT                                                                           GREENVILLE          OH     45331
HELEN M SWATHWOOD   966 KINGS COURT                                                                            GREENVILLE          OH     45331
HELEN M TUCKER      13669 FARM RD                                                                              BELLEVILLE          MI     48111‐2512
HELEN M WICK        9942 HUNTERS RIDGE                                                                         CINCINNATI          OH     45249
HELEN MABRY         3056 FM 2199 S                                                                             MARSHALL            TX     75672‐3145
HELEN MACINO        519 N MAIN ST                                                                              AVILLA              IN     46710‐9601
HELEN MACKEY        PO BOX 696                                                                                 BAY                 AR     72411‐0696
HELEN MACKIEWICZ    5 GEORGE ST                                                                                TERRYVILLE          CT     06786‐6627
HELEN MADAJ         9035 S 87TH AVE                                                                            HICKORY HILLS        IL    60457‐1778
HELEN MADER         1595 CURLEW AVE APT 2                                                                      NAPLES              FL     34102‐1407
HELEN MADERITZ      133 E PROSPECT ST                                                                          GIRARD              OH     44420‐1812
HELEN MADISON       7119 E PIERSON RD                                                                          DAVISON             MI     48423‐8977
HELEN MAGNUS        13760 DIXIE HWY                                                                            BIRCH RUN           MI     48415‐9330
HELEN MAINE         20550 ANNAPOLIS ST                                                                         DEARBORN HTS        MI     48125‐2903
HELEN MAISE         4053 FULTON AVE                                                                            MORAINE             OH     45439‐2119
HELEN MAJEWSKI      6356 ASTER DR                                                                              INDEPENDENCE        OH     44131‐3312
HELEN MAJOR         33470 LONGWOOD DR                                                                          FARMINGTON HILLS    MI     48335‐4767

HELEN MAKAR         49171 FOULKS DR                                                                            EAST LIVERPOOL     OH      43920
HELEN MAKARA        180 S COLONY DR APT 127                                                                    SAGINAW            MI      48638‐6010
HELEN MAKER         8651 KATHERINE AVE                                                                         PANORAMA CITY      CA      91402‐3127
HELEN MAKRANYI      5201 WOODHAVEN CT APT 111                                                                  FLINT              MI      48532‐4171
HELEN MALENFANT     3245 LAKESHORE DR                                                                          GLADWIN            MI      48624‐8365
HELEN MALINSKI      5309 TUDOR DR                                                                              POMPTON PLAINS     NJ      07444‐1156
HELEN MANDELKA      13817 SUMPTER RD                                                                           CARLETON           MI      48117‐9546
HELEN MANELSKI      2906 WELLINGTON AVE                                                                        PARMA              OH      44134‐3642
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HELEN MANIK                          1704 HEATHFIELD RD                                                                                             BALTIMORE          MD     21239‐3711
HELEN MANN                           1866 SQUAW LAGOON DR                                                                                           OXFORD             MI     48371
HELEN MANN                           2960 N LAST BEACH DR                                                                                           BAY CITY           MI     48706‐1910
HELEN MANNERINGN                     3303 SOCIETY DR 203                                                                                            CLAYMONT           DE     19703
HELEN MANSFIELD                      11 POINT PL                                                                                                    NEW CASTLE         PA     16105‐2435
HELEN MANSOLF                        147 WOODLAND DR                                                                                                SOUTHINGTON        CT     06489‐4020
HELEN MANTECON                       1465 MERRILL AVE                                                                                               LINCOLN PARK       MI     48146‐3392
HELEN MARBURY                        9306 OHIO ST                                                                                                   DETROIT            MI     48204‐2711
HELEN MARCIANTE                      3461 SE AMBRA DR                                                                                               ARCADIA            FL     34266‐8088
HELEN MARCONE                        22992 SEASPRAY PLACE                                                                                           BOCA RATON         FL     33428‐5720
HELEN MARIE REED REVOCABLE TRUST U/A HELEN MARIE REED REVOCABLE TRUST   TAMARA D ARENA TRUSTEE    6 ISLA BAHIA TERRACE                              FORT LAUDERDALE    FL     33316
9/28/88
HELEN MARKLE                         1704 DODGE DR NW                                                                                               WARREN            OH      44485‐1823
HELEN MARKOV                         9309 S 55TH CT                                                                                                 OAK LAWN          IL      60453‐2313
HELEN MARKOWSKI                      232 N EDWARDS AVE                                                                                              SYRACUSE          NY      13206‐2222
HELEN MARLOW                         4459 ASHWOOD DR W                                                                                              SAGINAW           MI      48603‐1002
HELEN MARLOW                         831 E 49TH ST FL 3                                                                                             CHICAGO           IL      60615‐1609
HELEN MARSHALL                       PO BOX 89                                                                                                      SOUTH VIENNA      OH      45369‐0089
HELEN MARSHALL                       702 BRYANT ST                                                                                                  MONROE            LA      71202‐4816
HELEN MARTIN                         28416 CHESTNUT RIDGE RD                                                                                        DANVILLE          OH      43014‐9675
HELEN MARTIN                         23664 CARLINGTON ST                                                                                            CLINTON TWP       MI      48036‐3108
HELEN MARTIN                         4023 RIBSTOCK ROAD                                                                  CRYSTAL BEACH ON L0S‐1B0
                                                                                                                         CANADA
HELEN MARTIN                        127 E CONCORD DR                    C/O LINDA HARTENSTEIN                                                       LEBANON           OH      45036‐2303
HELEN MARTINI                       5552 LONDON DR                                                                                                  AUSTINTOWN        OH      44515‐4148
HELEN MARY LACY                     1320 COLLEGE DR                                                                                                 OWENSBORO         KY      42301
HELEN MASLANKA                      23850 EDWARD ST                                                                                                 DEARBORN          MI      48128‐1224
HELEN MASON                         4613 PORTAGE RD                     APT 11                                           NIAGARA FALLS ON CANADA
                                                                                                                         L2E 6A9
HELEN MASON ‐ SHARP                 7584 BUCHANAN DR                                                                                                YOUNGSTOWN        OH      44512‐5752
HELEN MASOPUST                      218 HIGH ST                                                                                                     THOMASTON         CT      06787‐1520
HELEN MASTRIANNI                    673 SEVEN GABLES CIR SE                                                                                         PALM BAY          FL      32909‐6569
HELEN MATIS                         66 MAIN ST                                                                                                      ROEBLING          NJ      08554‐1218
HELEN MATKOWSKI                     59 BROADWAY                                                                                                     BAYONNE           NJ      07002‐3406
HELEN MATRAS                        26354 ANN ARBOR TRL                                                                                             DEARBORN HTS      MI      48127‐1104
HELEN MATTHEWS                      2018 MCPHAIL ST                                                                                                 FLINT             MI      48503‐4330
HELEN MATZ                          1806 HARVEY AVE                                                                                                 BERWYN            IL      60402‐2036
HELEN MAULE                         7769 COVERT RD NE                                                                                               MANCELONA         MI      49659‐9518
HELEN MAUSS                         133 CHURCH ST                                                                                                   DEERFIELD         MI      49238‐9702
HELEN MAXWELL                       5340 SANDALWOOD CT                                                                                              GRAND BLANC       MI      48439‐4270
HELEN MAYERAN                       8290 KEMPA ST                                                                                                   ROMULUS           MI      48174‐2222
HELEN MAYHEW                        2568 BOGART ST                                                                                                  CAMARILLO         CA      93010‐4707
HELEN MAYORGA                       7150 LOCUST AVE APT 7                                                                                           BOARDMAN          OH      44512‐4833
HELEN MAZIARZ                       2603 25TH ST                        C/O PATRICIA MAJCHRZAK                                                      BAY CITY          MI      48708‐7679
HELEN MAZUR                         111 STONY RD                                                                                                    EDISON            NJ      08817‐3726
HELEN MC CARTY                      13318 DIXIE HWY LOT 79                                                                                          HOLLY             MI      48442‐9760
HELEN MC DONNELL                    2290 CATTLEMEN RD APT 200                                                                                       SARASOTA          FL      34232‐6270
HELEN MC ELWAIN                     3202 LOWER MOUNTAIN RD                                                                                          SANBORN           NY      14132‐9427
HELEN MC FARLAND                    PO BOX 596                                                                                                      LONG LAKE         NY      12847‐0596
HELEN MC GINNIS                     PO BOX 178                          PVT DR 1 WEST LAKE ROAD                                                     SILVER SPRINGS    NY      14550‐0178
HELEN MC QUATTERS                   555 MAIDEN LN                                                                                                   ROCHESTER         NY      14616‐4148
HELEN MCBRIDE                       3310 COMANCHE AVE                                                                                               FLINT             MI      48507‐1859
HELEN MCBRIDE                       608 HOES LN W                                                                                                   PISCATAWAY        NJ      08854‐5628
HELEN MCBRIDE                       1274 S 700 W                                                                                                    SWAYZEE           IN      46986‐9765
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HELEN MCBRIDE      6802 PARKBELT DR                                                                             FLINT             MI 48505‐1939
HELEN MCCLANAHAN   1121 MOUNTAIN HOME RD                                                                        GRUNDY            VA 24614‐5668
HELEN MCCLELLAN    1477 WOODRIDGE DR                                                                            HAMILTON          OH 45013‐1065
HELEN MCCLOSKEY    312 W NORTH RAILROAD ST                                                                      LENZBURG           IL 62255
HELEN MCCLOSKEY    1520 CEDARWOOD DR APT 125                                                                    FLUSHING          MI 48433‐1882
HELEN MCCLOSKEY    11572 S 200 E                                                                                GALVESTON         IN 46932
HELEN MCCLURE      6916 STATE ROUTE 66                                                                          OAKWOOD           OH 45873‐9526
HELEN MCCONER      1621 OLD TOWN RD SE                                                                          GRAND RAPIDS      MI 49508‐2644
HELEN MCCOURY      276 OLD WATAUGA RD                                                                           ELIZABETHTON      TN 37643‐6681
HELEN MCDONALD     5017 6TH D ST E                GOLF LAKES MOBILE ESTATES                                     BRADENTON         FL 34203‐4614
HELEN MCDOUGAL     333 BRIGHT ANGEL DR                                                                          PRUDENVILLE       MI 48651‐9626
HELEN MCELWAIN     1006 N FULTON ST                                                                             BUTLER            MO 64730‐1118
HELEN MCFALL       3280 DEER TRL UNIT C                                                                         CORTLAND          OH 44410‐9121
HELEN MCFARLAND    690 S STATE ST                                                                               FRANKLIN          IN 46131‐2553
HELEN MCGEE        124 ROLLING GREEN CIR                                                                        GREENVILLE        SC 29615‐4152
HELEN MCGEE        8807 MADISON AVE APT 102D                                                                    INDIANAPOLIS      IN 46227‐6454
HELEN MCGOVERN     22265 SOUTHERN BREEZE                                                                        ATHENS            AL 35613‐3576
HELEN MCGRAW       1943 DIVISION ST                                                                             SAGINAW           MI 48602‐1810
HELEN MCGUIRE      487 STARBOARD LNDG                                                                           FERNANDINA BEACH  FL 32034‐2779

HELEN MCINTOSH     1909 QUEEN AVE                                                                               MIDDLETOWN       OH   45044‐4554
HELEN MCINTOSH     848 HAWTHORNE DR                                                                             CINCINNATI       OH   45245‐1830
HELEN MCINTYRE     1023 21ST ST                                                                                 BAY CITY         MI   48708‐7282
HELEN MCKEE        624 S GRAND TRAVERSE                                                                         FLINT            MI   48502
HELEN MCKEOWN      10684 PODUNK AVE NE                                                                          GREENVILLE       MI   48838‐9345
HELEN MCKINNEY     14382 AMITY RD                                                                               BROOKVILLE       OH   45309‐8764
HELEN MCKINNEY     1708 KENT DR                                                                                 ARLINGTON        TX   76010‐8231
HELEN MCKINSTRY    5838 DAVISON RD                                                                              LAPEER           MI   48446‐2726
HELEN MCKNIGHT     5082 HARBOR OAK DR                                                                           WATERFORD        MI   48329‐1726
HELEN MCLAUGHLIN   28 NORTH AVE                                                                                 MERIDEN          CT   06451‐4035
HELEN MCLAURINE    1132 ESSEX DR                                                                                LIMA             OH   45804‐2622
HELEN MCLEWEE      4420 FORGE RD                                                                                PERRY HALL       MD   21128‐9514
HELEN MCMILLAN     3436 LAKESHORE DR                                                                            GLADWIN          MI   48624‐8364
HELEN MCNULTY      1842 PARKWAY BLVD                                                                            ALLIANCE         OH   44601‐3864
HELEN MEADOWS      15425 MEYER AVE                                                                              ALLEN PARK       MI   48101‐2690
HELEN MEEHAN       240 RED HILL RD                                                                              MIDDLETOWN       NJ   07748‐2408
HELEN MEGLIS       101 N OLDS BLVD                                                                              FAIRLESS HILLS   PA   19030‐2405
HELEN MEIER        439 RHEA AVE                                                                                 HAMILTON         OH   45013‐2945
HELEN MELLOTT      17931 CLUBHOUSE DR                                                                           HAGERSTOWN       MD   21740‐7953
HELEN MENA         1002 BERT DR                                                                                 ARLINGTON        TX   76012‐4135
HELEN MENARD       7723 VIRGINIA CT                                                                             WILLOWBROOK      IL   60527‐2617
HELEN MENDOZA      1701 S THORNBURG ST SPC 57                                                                   SANTA MARIA      CA   93458‐7434
HELEN MERCER       1801 RALEIGH AVE APT 9                                                                       LAPEER           MI   48446‐4188
HELEN MERCHEL      5306 GINA DR                                                                                 WARREN           MI   48091‐4197
HELEN METRO        1123 VIA CONTENTO                                                                            SANTA MARIA      CA   93454‐2622
HELEN MICHAEL      3820 BATTLE CREEK RD                                                                         OLIVET           MI   49076‐9667
HELEN MICHAEL      221 ANTIETAM RD                                                                              BALTIMORE        MD   21221‐1503
HELEN MICHAEL      113 WILLOW LN                                                                                ANDERSON         IN   46012‐1025
HELEN MICHALSKI    2013 RIDGEVIEW LN                                                                            SENECA           SC   29678‐4262
HELEN MICHONSKI    160 EVERGREEN LN                                                                             MERIDEN          CT   06450‐6816
HELEN MIDDLETON    540 WALLEN RD                                                                                BISMARCK         MO   63624‐9625
HELEN MIELKE       5111 TREEHILL RD                                                                             GRAND BLANC      MI   48439‐2053
HELEN MIHALKA      PO BOX 891                                                                                   COBB             CA   95426‐0891
HELEN MILAM        2416 KELLOGG AVE                                                                             JANESVILLE       WI   53546‐5923
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HELEN MILKOWSKI    5843 LAUDER ST                                                                            PITTSBURGH         PA     15207‐2232
HELEN MILLARD      3329 EWINGS RD                                                                            NEWFANE            NY     14108‐9605
HELEN MILLER       1319 MILLERS CREEK RD                                                                     LENOIR             NC     28645‐8217
HELEN MILLER       4030 FRIEGEL RD #1                                                                        LAINGSBURG         MI     48848
HELEN MILLER       2851 OMAR ST                                                                              PORT HURON         MI     48060‐2960
HELEN MILLER       3482 FERN AVE                                                                             BURTON             MI     48529‐1345
HELEN MILLER       414 CHESTER AVE                                                                           DANVILLE            IL    61832‐1547
HELEN MILLER       4761 TERRACE AVE                                                                          SAINT LOUIS        MO     63116‐1281
HELEN MILLER       4455 E LAPORTE RD                                                                         FREELAND           MI     48623‐9446
HELEN MINCH        2300 GRAND HAVEN DR APT 121                                                               TROY               MI     48083‐4420
HELEN MINTON       912 COUNTY ROAD 324                                                                       JONESBORO          AR     72401‐9030
HELEN MISEL        121 WADE AVE                                                                              NILES              OH     44446‐1926
HELEN MIXTER       7720 DRESDEN AVE                                                                          PARMA              OH     44129‐2806
HELEN MOADUS       917 FLORIDA AVE                                                                           MC DONALD          OH     44437‐1611
HELEN MOEHLMAN     529 TOWNLINE ROAD 151                                                                     NORWALK            OH     44857‐9254
HELEN MOFFITT      2501 FRIENDSHIP BLVD          NORTHWOOD COMMON #63                                        KOKOMO             IN     46901
HELEN MOGAVERO     4132 SUGAR PALM TER                                                                       OVIEDO             FL     32765‐8078
HELEN MOGG         980 S GEECK RD                                                                            CORUNNA            MI     48817‐9548
HELEN MOGG         2149 BERNICE AVE                                                                          FLINT              MI     48532‐3912
HELEN MONAGHAN     48 ELLINGTON CIR                                                                          ROCHESTER          NY     14612‐3076
HELEN MONCE        PO BOX 941                                                                                SMYRNA             TN     37167
HELEN MONROE       1840 W HIGH ST                PIQUA MANOR                                                 PIQUA              OH     45356‐9399
HELEN MONTAGUE     3337 FIELD RD APT 11                                                                      CLIO               MI     48420‐1177
HELEN MONTESANO    50 HALEY LN APT 6                                                                         CHEEKTOWAGA        NY     14227‐3677
HELEN MOORE        311 S WHITMER ST                                                                          RICHMOND           MO     64085‐1645
HELEN MOORE        6823 RIDGE AVE                                                                            FINLEYVILLE        PA     15332‐1072
HELEN MOORE        308 GETTYSBURG                                                                            COATESVILLE        IN     46121‐8958
HELEN MOORE        16535 STATE ROUTE 247                                                                     SEAMAN             OH     45679‐9766
HELEN MOORE        1009 EATON GREEN DR                                                                       CHARLOTTE          MI     48813‐8359
HELEN MOORE        7718 S GREENWOOD AVE                                                                      CHICAGO             IL    60619‐3322
HELEN MOORE        2633 TRAVOIS WAY SW                                                                       LILBURN            GA     30047
HELEN MOORE        7574 JONQUIL CT                                                                           BRIGHTON           MI     48116‐6206
HELEN MOORE        6668 PROSPECT CLAIM CT                                                                    LAS VEGAS          NV     89108‐6808
HELEN MOORE        3985 BRUCE ST                                                                             MORRISTOWN         TN     37814‐1128
HELEN MOORE        3919 LAUREL LN                                                                            ANDERSON           IN     46011‐3037
HELEN MORELLI      281 E 205TH ST APT 4F                                                                     BRONX              NY     10467‐4013
HELEN MOROZ        100 ROCKVIEW TER                                                                          ROCHESTER          NY     14606‐1915
HELEN MORRIS       1045 SHERMAN TER                                                                          CINCINNATI         OH     45231‐2521
HELEN MORRIS       120 WHIPPOORWILL LN                                                                       MANSFIELD          OH     44906‐3461
HELEN MORROW       19437 BURGESS                                                                             DETROIT            MI     48219‐1873
HELEN MORROW       624 N BERKLEY RD                                                                          KOKOMO             IN     46901‐1847
HELEN MORTLE       520 8TH AVE                                                                               SUTERSVILLE        PA     15083‐1008
HELEN MOSER        577 CHIPPEWA DR                                                                           DEFIANCE           OH     43512‐3346
HELEN MOSS         1548 HARDING AVE                                                                          GIRARD             OH     44420‐1512
HELEN MOUGHAN      12614 HAROLD DR                                                                           CHESTERLAND        OH     44026‐2433
HELEN MOY          6534 W GUNNISON ST                                                                        HARWOOD HTS         IL    60706‐4056
HELEN MTPLEASANT   PO BOX 294                                                                                YOUNGSTOWN         NY     14174‐0294
HELEN MUELLER      11312 E 50TH TER                                                                          KANSAS CITY        MO     64133‐2437
HELEN MUESSIG N    2007 WOODGLEN ST                                                                          SIMI VALLEY        CA     93065‐1132
HELEN MULLINS      725 OAKBARK ST                                                                            MIAMISBURG         OH     45342‐2767
HELEN MUMPHREY     16633 COYLE ST                                                                            DETROIT            MI     48235‐3864
HELEN MURDJEFF     924 SE 15TH CT                                                                            DEERFIELD BEACH    FL     33441‐7420
HELEN MURPHY       937 CHESTER RIVER DR                                                                      GRASONVILLE        MD     21638‐1005
HELEN MURRAY       529 BRYNFORD AVE                                                                          LANSING            MI     48917‐2927
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HELEN MURRAY           PO BOX 75                                                                                 GLENWOOD            IN 46133‐0075
HELEN MURRY            1016 BENNETT AVE NW                                                                       WARREN              OH 44485‐2206
HELEN MURRY            18062 ILENE ST                                                                            DETROIT             MI 48221‐2437
HELEN MUSGROVE         PO BOX 73305                                                                              METAIRIE            LA 70033‐3305
HELEN MYCZKOWIAK       4153 HACKBERRY RD                                                                         BRIDGEPORT          MI 48722‐9504
HELEN MYRICK           60 FAIRVIEW RD                                                                            HIGH HILL           MO 63350‐2507
HELEN MYRICKS          30 APPLETON ST                                                                            ROCHESTER           NY 14611‐2510
HELEN MYSLIWIEC        19160 MEADOWRIDGE DR                                                                      LIVONIA             MI 48152‐6000
HELEN N JONES          5213 CLAIRMONT AVE                                                                        BIRMINGHAM          AL 35222
HELEN NAGY             951 E 223RD ST                                                                            EUCLID              OH 44123‐3303
HELEN NALEPKA          25721 ADAMS CT UNIT 2                                                                     SOUTH LYON          MI 48178‐1059
HELEN NALLE            265 W 1ST ST S APT 420                                                                    FULTON              NY 13069‐2269
HELEN NARCHUS          409 SKILLEN ST                                                                            BUFFALO             NY 14207‐1321
HELEN NAUM             1278 ARROWWOOD CIR                                                                        GRAND BLANC         MI 48439‐4817
HELEN NAVARRO          2443 HERMANSAU ST                                                                         SAGINAW             MI 48602‐5826
HELEN NAVARRO          385 W COLUMBIA AVE                                                                        PONTIAC             MI 48340‐1619
HELEN NEAL             11 LAKE SHORE DR                                                                          WILLOWBROOK          IL 60527‐2221
HELEN NELSON           512 HOLCOMB ST                                                                            GRAYSON             KY 41143‐1218
HELEN NELSON           132 SUNCREST CT SW                                                                        GRANDVILLE          MI 49418‐3210
HELEN NEMETH           HAWTHORNE INN                 15 MAIN ST                                                  HILTON HEAD         SC 29926
                                                                                                                 ISLAND
HELEN NERYCHEL         4111 HOWE RD                                                                              GRAND BLANC         MI 48439‐7957
HELEN NESBITT          9409 CLOVERLAWN ST                                                                        DETROIT             MI 48204‐2759
HELEN NEUHAUS          106 BOULDER DR                                                                            NOBLESVILLE         IN 46060‐1011
HELEN NEVENZEL         725 BALDWIN APT 171                                                                       JENISON             MI 49428
HELEN NEWBERRY JOY H   502 W HARRIE ST                                                                           NEWBERRY            MI 49868‐1209
HELEN NEWBY            1293 N TRIPLE X RD                                                                        CHOCTAW             OK 73020‐7916
HELEN NEWLIN           PO BOX 772                                                                                BELLEVIEW           FL 34421‐0772
HELEN NEWMAN           104 E SAINT JOHNS WAY                                                                     APOLLO BEACH        FL 33572‐2219
HELEN NEWMAN           1 ASHLEIGH CT                                                                             LANSING             MI 48906‐1540
HELEN NEWTON           3914 DONNELLY ST                                                                          FLINT               MI 48504‐3533
HELEN NICCUM           10408 MAUMEE DR                                                                           INDIANAPOLIS        IN 46235‐3407
HELEN NICHOLS          7658 MAPLE DR                                                                             FLORENCE            WI 54121‐8193
HELEN NICHOLS          1606 WEST WHITE STREET                                                                    BAY CITY            MI 48706‐3277
HELEN NICKATOOK        9880 SELTZER ST                                                                           LIVONIA             MI 48150‐3252
HELEN NICKOL           1455 CHERRYWOOD RD                                                                        KENT                OH 44240‐6515
HELEN NIEMCHICK        5144 W VALLEY CIR                                                                         PORTAGE             MI 49002‐1932
HELEN NIEMIEC          305 RENSHAR DR                                                                            AUBURN              MI 48611‐9441
HELEN NIZIOL           23709 TALBOT ST                                                                           SAINT CLAIR SHORES MI 48082‐2561

HELEN NOBLE            1304 STATE RD 128 E                                                                       FRANKTON           IN   46044
HELEN NOLAND           9905 W 61ST ST                                                                            MERRIAM            KS   66203‐3211
HELEN NORD             910 NORTH TAWAS LAKE ROAD                                                                 EAST TAWAS         MI   48730‐9772
HELEN NORMAN           1565 PEBBLE BEACH DR                                                                      PONTIAC            MI   48340‐1371
HELEN NORMAN           2458 GENA ANN LN                                                                          FLINT              MI   48504‐6525
HELEN NORMAN           7363 CROWN PARK                                                                           BELTON             MO   64012‐3075
HELEN NORRIS           517 BROOKDALE DR                                                                          WEST JEFFERSON     OH   43162‐1001
HELEN NOWAKOWSKI       13900 LAKESIDE BLVD N B103                                                                SHELBY TWP         MI   48315
HELEN NOWICKI          2703 S MONROE ST                                                                          BAY CITY           MI   48708‐8487
HELEN NOWICKI          W1038 NORTH DR                                                                            BRODHEAD           WI   53520‐9621
HELEN NOWOCINSKI       2640 E TARTAN CT                                                                          HIGHLAND           MI   48357‐3787
HELEN NUESSE           1319 RHINE DRIVE                                                                          FAYETTEVILLE       OH   45118‐8457
HELEN NULL             PO BOX 154                                                                                SEVEN MILE         OH   45062‐0154
HELEN NUTINI           3711 CYPRESS CREEK DR                                                                     COLUMBUS           OH   43228‐9636
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HELEN NYMAN         7695 CURRIER DR                                                                             PORTAGE             MI     49002‐8800
HELEN O ALTWIES     2600 PEBBLE VALLEY RD            APT C1                                                     WAUKESHA            WI     53188‐1454
HELEN O'DAY         SPRING LAKE VILLAGE 434 LAKE V                                                              SOUTHINGTON         CT     06489
HELEN O'GRADY       41 HAMILTON STREET                                                                          ROCKVILLE CENTRE    NY     11570

HELEN OBRIEN        3721 SOUTH COUNTY ROAD D                                                                    JANESVILLE         WI      53548‐8526
HELEN OCHS          12439 NEFF RD                                                                               CLIO               MI      48420‐1822
HELEN ODOM          2357 SANDY LN                                                                               ALPENA             MI      49707‐1122
HELEN OGDEN         2001 LITTLE ELLIJAY ROAD                                                                    FRANKLIN           NC      28734‐9496
HELEN OGLES         1436 WINFIELD DR                                                                            SWARTZ CREEK       MI      48473‐9709
HELEN OGONOWSKI     682 NEW CHURCHMANS RD                                                                       NEWARK             DE      19702
HELEN OHARA         PO BOX 1730                                                                                 BRADENTON          FL      34206
HELEN OKON          2017 MICHIGAN AVE                                                                           BAY CITY           MI      48708‐8456
HELEN OLDS          22583 DOWSETT TRL                                                                           ATLANTA            MI      49709‐9696
HELEN OLIVER        546 N GRANT AVE                                                                             JANESVILLE         WI      53548‐2722
HELEN OLSEN         2343 COWAN RD                                                                               IONIA              MI      48846‐9521
HELEN OLSHANSKY     5575 MCKEACHIE RD                                                                           WHITE LAKE         MI      48383‐1339
HELEN OLSON         2304 PINEHURST LN                                                                           KOKOMO             IN      46902‐3196
HELEN OLSON         6039 NORTHRUP DR                                                                            WATERFORD          MI      48329‐1431
HELEN OMILION       12123 TUCSON DR                                                                             PARMA              OH      44130‐1848
HELEN ONDO          3667 RIDGE RD                                                                               CORTLAND           OH      44410‐9432
HELEN ONDOVCSIK     PO BOX 789                                                                                  LINDEN             MI      48451‐0789
HELEN ONTKO         34855 MELTON ST                                                                             WESTLAND           MI      48186‐4468
HELEN OPALECKY      11131 NAOMI DR                                                                              PARMA              OH      44130‐1555
HELEN OPDENHOFF     835 N HORACE WALTERS RD                                                                     RAEFORD            NC      28376‐7407
HELEN OPSASNICK     34225 VICEROY DR                                                                            STERLING HEIGHTS   MI      48310‐5265
HELEN ORLAN         GEORGE ORLAN                     22 PIN PACK ROAD                                           RIDGEFIELD         CT      06877
HELEN ORLOWSKI      533 E HIGHLAND AVE                                                                          VILLA PARK         IL      60181‐2706
HELEN ORR           4120 POWELL AVE                                                                             COLUMBUS           OH      43213‐2321
HELEN ORR           840 REDELMAN CT                                                                             NEW CASTLE         IN      47362‐4345
HELEN ORSHOSKI      5055 PROVIDENCE DR               APT 308                                                    SANDUSKY           OH      44870‐1428
HELEN ORWAT         239 SPRING MEADOW LN                                                                        LOUISVILLE         KY      40243‐2217
HELEN OSBORN        1255 WINELEASE LANE                                                                         DEWITT             MI      48820
HELEN OSIADLO       66 GROTE ST                                                                                 BUFFALO            NY      14207‐2418
HELEN OSIKA         1064 S M‐13 BOX 157                                                                         LENNON             MI      48449
HELEN OSTERMAN      6865 DIXIE HWY                                                                              BRIDGEPORT         MI      48722‐9759
HELEN OSTROM        727 W ATHERTON RD                                                                           FLINT              MI      48507‐2408
HELEN OSTROM        500 SOUTH ST APT B                                                                          LOCKPORT           NY      14094‐3981
HELEN OTIS          903 RANDOLPH ST                                                                             DAYTON             OH      45408‐1734
HELEN OTOCKI        4529 ELM AVE                                                                                BROOKFIELD         IL      60513
HELEN OTTO          6008 WEDGEWOOD WAY                                                                          INDIANAPOLIS       IN      46254‐3472
HELEN OTTO          649 RHODA AVE                                                                               YOUNGSTOWN         OH      44509‐1826
HELEN OUELLETTE     6600 PORTAGE LAKE RD LOT 32                                                                 MUNITH             MI      49259‐9612
HELEN OVERBAY       205 WATER ST                                                                                WEST MILTON        OH      45383‐1437
HELEN OVERBY        1655 INDIANA AVE                                                                            FLINT              MI      48506‐3521
HELEN OWEN          718 MACDONALD AVE                                                                           FLINT              MI      48507‐2847
HELEN OWENS         23012 N 146TH LN                                                                            SUN CITY WEST      AZ      85375‐2773
HELEN OWENS         2210 RED BUD CIRCLE                                                                         EVANSVILLE         IN      47714‐4226
HELEN P CADMAN      139 COLUMBIA AVENUE                                                                         GREENVILLE         PA      16125‐1903
HELEN P DILL        338 HERRINGTON CIRCLE                                                                       LENA               MS      39094
HELEN P FERRADINO   1353 CHURCHILL HUBBARD ROAD      APT# 319                                                   LIBERTY            OH      44505‐1384
HELEN P FLANNERY    892 PERKINS‐JONES RD.                                                                       WARREN             OH      44483‐1850
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HELEN P MORAGA PERSONAL             C/O BRAYTON PURCELL             222 RUSH LANDING RD                                            NOVATO              CA 94948‐6169
REPRESENTATIVE FOR FRANK G MORAGA

HELEN P MUSGROVE                    P.O. BOX 73305                                                                                 METAIRIE           LA   70033
HELEN P THOMAS                      4919 LAUDERDALE DR                                                                             MORAINE            OH   45439‐2803
HELEN P ZELZNAK                     150 ISLANDER CT APT 249L                                                                       LONGWOOD           FL   32750‐4972
HELEN PABOOJIAN                     27 VILLAGE DR                                                                                  MARLBOROUGH        MA   01752‐3672
HELEN PACHULEC                      26937 MERIDETH DR                                                                              WARREN             MI   48091‐4062
HELEN PACK                          1991 W MOUND ST                                                                                COLUMBUS           OH   43223‐2005
HELEN PAEY                          6400 TROUBLE CREEK RD           G1                                                             NEW PORT RICHEY    FL   34653‐5248
HELEN PAHMIER                       3120 S BROADWAY ST                                                                             YORKTOWN           IN   47396‐9647
HELEN PALAZZOLO                     4269 SMITHFIELD PL                                                                             SAINT LOUIS        MO   63134‐2610
HELEN PALISE                        37 MAIN BLVD                                                                                   EWING              NJ   08618‐1542
HELEN PALKO                         PO BOX 509                                                                                     CHESANING          MI   48616‐0509
HELEN PANCHULA                      824 MEADOW DR                                                                                  DAVISON            MI   48423‐1030
HELEN PANCZAR                       247 AMHERST ST                                                                                 BUFFALO            NY   14207
HELEN PANKEY                        1042 E REID RD                                                                                 GRAND BLANC        MI   48439‐8905
HELEN PARENT                        42450 SHELDON PL APT 202                                                                       CLINTON TOWNSHIP   MI   48038‐5470

HELEN PARIS                         ROUTE 1 BOX 16                                                                                 APPLETON CITY      MO   64724
HELEN PARKER                        1786 STRAWVALLEY RD                                                                            LAWRENCEVILLE      GA   30043‐3244
HELEN PARKER                        1128 N 8TH ST                                                                                  MITCHELL           IN   47446‐8006
HELEN PARKER                        51 E IROQUOIS RD                                                                               PONTIAC            MI   48341‐2016
HELEN PARKER                        22419 LAVON ST                                                                                 ST CLAIR SHRS      MI   48081‐2016
HELEN PARKS                         2205 PICCADILLY AVE                                                                            DAYTON             OH   45406‐2624
HELEN PARNITZKE                     30 DEERCHASE RD                                                                                WEST SENECA        NY   14224‐1244
HELEN PARTEE                        PO BOX 5782                                                                                    ARLINGTON          TX   76005‐5782
HELEN PASHA                         928 EASTLAND AVE SE                                                                            WARREN             OH   44484‐4508
HELEN PASLEY                        1029 S ARMSTRONG ST                                                                            KOKOMO             IN   46902‐6302
HELEN PASSIAK                       8336 PENINSULA DR                                                                              STANWOOD           MI   49346‐8304
HELEN PASZKO                        7760 NW 11TH PL                                                                                PLANTATION         FL   33322‐5139
HELEN PATIN                         43865 CANDLEWOOD DR                                                                            CANTON             MI   48187‐2015
HELEN PATRIK                        141 E 3RD ST                    APT 12H               C/O GAIL PATRIK                          NEW YORK           NY   10009‐7310
HELEN PATTERSON                     3658 E STATE ROAD 236                                                                          ANDERSON           IN   46017‐9713
HELEN PATTERSON                     8400 SAINT FRANCIS DR APT 241                                                                  CENTERVILLE        OH   45458‐2791
HELEN PATTERSON                     20351 RAMBLEWOOD DR                                                                            MACOMB             MI   48044‐5912
HELEN PATTON                        8430 WHITEHORN ST                                                                              ROMULUS            MI   48174‐4108
HELEN PAUKSTIS                      340 WASHINGTON AVE                                                                             ELIZABETH          NJ   07202‐3317
HELEN PAULSEN                       6545 HEATHER DR                                                                                LOCKPORT           NY   14094‐1152
HELEN PAWELCZAK                     121 AUGUSTA DR                                                                                 HONEY BROOK        PA   19344‐8611
HELEN PAYAN                         9887 CAMARENA AVE                                                                              MONTCLAIR          CA   91763‐2814
HELEN PEARSON                       21740 OLD 5 RD                                                                                 VERSAILLES         MO   65084‐5644
HELEN PEARSON                       7915 S EBERHART AVE                                                                            CHICAGO            IL   60619‐3815
HELEN PEARSON                       104 DAVE RD                                                                                    CUMMING            GA   30040‐2218
HELEN PEARSON                       APT H                           72 SKYVIEW DRIVE                                               ANDERSON           IN   46017‐1045
HELEN PEARSON                       841 WOODINGHAM AVE                                                                             WATERFORD          MI   48328‐4174
HELEN PEARSON                       5605 HOWARD RD                                                                                 CUMMING            GA   30040‐5213
HELEN PECHUMAN                      14 BUCKY ST                                                                                    EUHARLEE           GA   30145‐2869
HELEN PECK                          5736 ORVAL CT                                                                                  FORT WORTH         TX   76117‐5234
HELEN PECK                          3063 OLD FARM RD                                                                               FLINT              MI   48507‐1209
HELEN PELTIER                       3030 SARATOGA LN                                                                               HOWELL             MI   48855‐9075
HELEN PEMBERTON                     228 N JAY ST                                                                                   WEST MILTON        OH   45383‐1708
HELEN PENDERGRAST                   32 ARKANSAS ST                                                                                 CALVERT CITY       KY   42029‐9309
HELEN PENN                          1023 HARMON ST                                                                                 DANVILLE           IL   61832‐3817
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Name                 Address1                        Address2           Address3         Address4               City             State   Zip
HELEN PENNINGTON     331 TREVOR AVE                                                                             OAKDALE           CA     95361‐8910
HELEN PERBECK        20 ORCHARD ST APT 12                                                                       TERRYVILLE        CT     06786
HELEN PERNOSKY       600 FOX RUN RD APT 10                                                                      FINDLAY           OH     45840
HELEN PERRIA         107 BATES ST                                                                               CARO              MI     48723‐1705
HELEN PERRY          357 TRYON AVE                                                                              ENGLEWOOD         NJ     07631‐1522
HELEN PERRY          3100 W CADMUS RD                                                                           ADRIAN            MI     49221‐9720
HELEN PERSIA         16622 CARR RD                                                                              KENDALL           NY     14476‐9713
HELEN PERTTUNEN      61335 RICHFIELD ST                                                                         SOUTH LYON        MI     48178‐9745
HELEN PERUCKI        45 DODGE ST                                                                                BAYONNE           NJ     07002‐4372
HELEN PESAMOSKA      775 BRIDLE OAKS DR                                                                         VENICE            FL     34292‐2259
HELEN PESZKO         285 CRESTMOUNT AVE              APT 326                                                    TONAWANDA         NY     14150‐6334
HELEN PETAK          256 SCHOOL BUS RD                                                                          MT MORRIS         PA     15349‐2318
HELEN PETERS         2977 HIGHWAY 160 E                                                                         HERMITAGE         AR     71647‐9043
HELEN PETERSON       5077 WILLOUGHBY RD APT 113                                                                 HOLT              MI     48842‐1071
HELEN PETERSON       1153 HARVEST DR NE                                                                         WARREN            OH     44481‐9330
HELEN PETERSON       3289 E FISHER RD                                                                           BAY CITY          MI     48706‐3225
HELEN PETRO          110 GUYGRACE LN                                                                            WEBSTER           NY     14580‐2252
HELEN PETRUSCHAK     214 W QUEEN ST                                                                             EDENTON           NC     27932‐1840
HELEN PFIEFFER       77 MADISON AVENUE EXT                                                                      MERIDEN           CT     06451‐5446
HELEN PHEANIS        PO BOX 7                                                                                   GAINESBORO        TN     38562‐0007
HELEN PHILLIPPE      31963 RUSH ST                                                                              GARDEN CITY       MI     48135‐1759
HELEN PHILLIPS       PO BOX 284                                                                                 CORTLAND          OH     44410‐0284
HELEN PHILLIPS       3661 COZY CAMP RD                                                                          MORAINE           OH     45439‐1129
HELEN PHILLIPS       5039 CANTON ST                                                                             DETROIT           MI     48211‐3322
HELEN PHILLIPS       305 MONMOUTH AVE                                                                           LEONARDO          NJ     07737‐1663
HELEN PHILLIPS       781 FAIRGROVE WAY                                                                          DAYTON            OH     45426‐2210
HELEN PHILLIPS       591 TOM0CHICHI RD                                                                          GRIFFIN           GA     30223
HELEN PHILLIPS       PO BOX 571                                                                                 CLINTON           TN     37717‐0571
HELEN PHINISEE       6315 SUMMER HILL CT                                                                        FLINT             MI     48532‐2156
HELEN PHIPPS         4230 KITRIDGE RD                                                                           HUBER HEIGHTS     OH     45424‐5808
HELEN PHIPPS         6315 BRYCE CANYON DR                                                                       INDIANAPOLIS      IN     46237‐9079
HELEN PICKERING      3026 S. RITA WAY                                                                           SANTA ANNA        CA     92704‐6735
HELEN PICKERING      3026 S RITA WAY                                                                            SANTA ANA         CA     92704‐6735
HELEN PIDOTO         23 MINNEWASKA TRL                                                                          KERHONKSON        NY     12446‐3648
HELEN PIENICKI       32518 REVERE DR                                                                            WARREN            MI     48092‐3281
HELEN PIESKO         9149 LUEA LN                                                                               SWARTZ CREEK      MI     48473‐1076
HELEN PIETRYKOWSKI   7112 GREENHILL TRL                                                                         NORTH RICHLAND    TX     76180‐2726
                                                                                                                HILLS
HELEN PILINSKI       71671 ELDRED RD                                                                            BRUCE TWP        MI      48065‐3613
HELEN PINE           5055 PROVIDENCE DR APT 111                                                                 SANDUSKY         OH      44870‐1424
HELEN PINKELMAN      500 LANE 301 BARTON LK                                                                     FREMONT          IN      46737‐9391
HELEN PINKSTON       10353 BEERS RD                                                                             SWARTZ CREEK     MI      48473‐9160
HELEN PINTA          2865 S MAIN ST APT 130                                                                     ANN ARBOR        MI      48103‐6969
HELEN PISARSKI       42420 MAJESTIC CT                                                                          CANTON           MI      48188‐1137
HELEN PLOSZAY        1156 MOUNT VERNON RD                                                                       SOUTHINGTON      CT      06489‐2171
HELEN POCOCK         1203 N EXPRESSWAY 77 UNIT 516                                                              HARLINGEN        TX      78552
HELEN POCZATEK       133 RICHARDSON RD                                                                          ROBBINSVILLE     NJ      08691‐1138
HELEN PODGORSKI      22526 HILL ST                                                                              WARREN           MI      48091‐3698
HELEN POISSON        4513 THORNTREE DR                                                                          BURTON           MI      48509‐1229
HELEN POLIDORI       411 SUPERIOR ST                                                                            NEWTON FALLS     OH      44444‐1752
HELEN POMPEIAN       829 9TH ST SW                                                                              ROCHESTER        MN      55902‐6358
HELEN PONGRAC        5490 S GENESEE RD                                                                          GRAND BLANC      MI      48439‐7602
HELEN POPE           PO BOX 320158                                                                              FLINT            MI      48532‐0003
HELEN POPLAWSKI      12051 CHAREST ST                                                                           HAMTRAMCK        MI      48212‐2725
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HELEN PORRETTA                       5683 LEWISTON RD                                                                                MIDDLEPORT       NY     14105‐9667
HELEN PORTER                         PO BOX 7118                                                                                     CHESTNUT MTN     GA     30502‐0118
HELEN PORTER                         449 MAIN ST                          APT 220                                                    ANDERSON         IN     46016‐1187
HELEN PORTERFIELD                    15047 WOODBURY RD                                                                               SPRING HILL      FL     34604‐8128
HELEN PORTREY                        22624 STEVENS RD                                                                                TECUMSEH         OK     74873‐6337
HELEN POTTS                          5500 FAIRMONT                        WOODLEA APTS APT‐608                                       WILMINGTON       DE     19808
HELEN POWIS                          5502 THOREAU DR                                                                                 PARMA            OH     44129‐6319
HELEN PRATT                          10015 CREEKWOOD PASS                                                                            SPRING BRANCH    TX     78070‐7027
HELEN PREFOUNTAIN                    2977 MACKIN RD                                                                                  FLINT            MI     48504‐3264
HELEN PRENTICE                       1477 LONG POND RD APT 341                                                                       ROCHESTER        NY     14626‐4154
HELEN PRICE                          3711 COUNTRY LN                                                                                 DAYTON           OH     45430‐1711
HELEN PRICE                          58501 12 MILE RD                                                                                NEW HUDSON       MI     48165‐9551
HELEN PRICE                          11355 S AVENUE H                                                                                CHICAGO           IL    60617‐7012
HELEN PRICE                          1326 SABINA RD                                                                                  WILMINGTON       OH     45177‐9617
HELEN PROCTOR                        5507 BRADLEY LN                                                                                 ARLINGTON        TX     76017‐3021
HELEN PROKOP                         6630 PLEASANT DR                                                                                ALMOND           WI     54909‐9375
HELEN PROULX                         7948 MAPLE ST                        P O BOX 36                                                 VANDERBILT       MI     49795‐9504
HELEN PRUS                           2930 N VERMONT AVE                                                                              ROYAL OAK        MI     48073‐3527
HELEN PULLEN                         6868 S 350 E                                                                                    CUTLER           IN     46920‐9300
HELEN PURDY                          113 NANCY ST                                                                                    GASSVILLE        AR     72635‐8524
HELEN PUROLL                         7757 STOUT ST                                                                                   DETROIT          MI     48228‐3294
HELEN PUSHWAL                        APT 213                              9895 PALACE HALL DRIVE                                     LAUREL           MD     20723‐5787
HELEN PUTERBAUGH                     319 ALBERT RD                                                                                   BROOKVILLE       OH     45309‐9247
HELEN PUTERBAUGH                     325 W PEABODY CIR                                                                               AVON PARK        FL     33825‐2275
HELEN PUTNAM                         G 6305 BREWER RD                                                                                FLINT            MI     48507
HELEN PYTLINSKI                      5443 WHITEFORD RD                                                                               SYLVANIA         OH     43560‐2523
HELEN QUACKENBUSH                    9483 GALE RD                                                                                    OTISVILLE        MI     48463‐8427
HELEN R BARSZCZ                      2033 SW BEEKMAN ST                                                                              PORT ST LUCIE    FL     34953‐1766
HELEN R BATES                        PO BOX 05595                                                                                    DETROIT          MI     48205‐0595
HELEN R BOWDEN                       7888 CITRUS CREEK DRIVE                                                                         MELBOURNE        FL     32940‐6431
HELEN R BROWN                        5 OAKVIEW DR.                                                                                   GREENVILLE       PA     16125‐1119
HELEN R CHANEY                       205 EXECUTIVE MEADOWS DR                                                                        LENOIR CITY      TN     37771‐6777
HELEN R DICKMAN                      3631 FESTOR DRIVE                                                                               HERMITAGE        PA     16148‐3734
HELEN R EFIMOFF & ERNEST K EFIMOFF   HELEN R EFIMOFF & ERNEST K EFIMOFF   5538 RAVEN RD                                              BLOOMFIELD       MI     48301‐1045
                                     JTWROS
HELEN R HOLT TRUST                   HELEN R HOLT TTEE                    1205 S SECOND STREET                                       DAYTON          WA      99328
HELEN R HOPSON                       2943 CONCORD ST                                                                                 FLINT           MI      48504‐3039
HELEN R HOPSON                       PO BOX 4293                                                                                     FLINT           MI      48504‐0293
HELEN R LAYNE                        703 OLD NEWTON RD.                                                                              TROY            OH      45373
HELEN R LUCAS                        3127 BENCHWOOD ROAD                                                                             DAYTON          OH      45414‐2318
HELEN R MASON ‐ SHARP                7584 BUCHANAN DR.                                                                               YOUNGSTOWN      OH      44512‐5752
HELEN R PAYNE                        1714 VIRGINIA ST                                                                                MOUNDSVILLE     WV      26041
HELEN R ROSS                         888 PALLISTER ST APT 607                                                                        DETROIT         MI      48202‐2672
HELEN R THOMPSON                     2622 ALLISTER CIRCLE                                                                            MIAMISBURG      OH      45342
HELEN R TOTE                         1094 RIDGE RD NE PO BOX 263                                                                     VIENNA          OH      44473‐0263
HELEN R TURNER                       1353 E DOWNEY AVE                                                                               FLINT           MI      48505‐1731
HELEN R WASHINGTON                   35330 VAN BORN RD APT 301                                                                       WAYNE           MI      48184‐3313
HELEN R WYNN                         3186 BIG RIDGE RD                                                                               SPENCERPORT     NY      14559‐9509
HELEN RAFALIK                        2994 TROWBRIDGE ST                                                                              HAMTRAMCK       MI      48212‐3257
HELEN RAFANIELLO                     815 STAFFORD AVE APT 10C                                                                        BRISTOL         CT      06010‐3854
HELEN RAGAZZO                        1245 NILES CORTLAND RD                                                                          NILES           OH      44446‐3511
HELEN RAINEY                         7207 CRESCENT DR                                                                                MASON           OH      45040‐3441
HELEN RAMSEY                         4299 LAHRING RD                                                                                 LINDEN          MI      48451‐9473
HELEN RAMSEY                         6040 LANCASTER DR                                                                               FLINT           MI      48532‐3215
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HELEN RANCK            148 WILLOW AVE                                                                                                CORTLAND         OH     44410‐1246
HELEN RANDALL          2040 GENEVA ST                                                                                                DEARBORN         MI     48124‐2535
HELEN RANSOM           459 DENNEY CEMETERY RD                                                                                        BIDWELL          OH     45614‐9224
HELEN RATHBONE         1993 SANDHILL RD                                                                                              MASON            MI     48854‐9421
HELEN RAY              PO BOX 168                                                                                                    BOURBON          MO     65441‐0168
HELEN RAY              46528 MORNINGTON RD                                                                                           CANTON           MI     48188‐3012
HELEN RAY              11725 ASBURY PARK                                                                                             DETROIT          MI     48227‐1182
HELEN RAYE DICKERSON   ATTN: ROBERT W PHILLIPS        SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD, PO BOX                          EAST ALTON        IL    62024
                                                      ANGELIDES & BARNERD LLC    521
HELEN RAYMOND          64 CYPRESS ST                                                                                                 BRISTOL         CT      06010‐3538
HELEN READ             4115 CADILLAC AVE                                                                                             WAYNE           MI      48184‐1808
HELEN REDMOND          1274 SIGNATURE DR                                                                                             YOUNGSTOWN      OH      44515‐3867
HELEN REED             17407 S CEMETERY RD                                                                                           PLEASANT HILL   MO      64080‐7592
HELEN REED             40619 PARSONS RD                                                                                              LAGRANGE        OH      44050‐9507
HELEN REEDER           5371 NASHUA DR                                                                                                YOUNGSTOWN      OH      44515‐5155
HELEN REES             703 E 9TH ST                                                                                                  ANDERSON        IN      46012‐0061
HELEN REGER            240 N MANIFOLD ST                                                                                             INGALLS         IN      46048‐9731
HELEN REID             2038 WALDEN CT                                                                                                FLINT           MI      48532‐2421
HELEN REID             336 ELDORADO CIR                                                                                              SEYMOUR         TN      37865‐4726
HELEN REID             400 BAINBRIDGE RD                                                                                             OKLAHOMA CITY   OK      73114‐7632
HELEN REIFF            106 FAIRFIELD DR                                                                                              FAIRVIEW HTS    IL      62208‐2113
HELEN REINHART         3162 STERLING RD                                                                                              OMER            MI      48749‐9722
HELEN REMEIKIS         138 WOODHILL DR APT 2                                                                                         ROCHESTER       NY      14616‐2815
HELEN RETTIG           APT 206                        2971 DELAWARE AVENUE                                                           BUFFALO         NY      14217‐2367
HELEN REYNOLDS         1394 HOUSEL CRAFT RD                                                                                          CORTLAND        OH      44410‐9512
HELEN REYNOLDS         3283 HARMON RIDGE CT                                                                                          BUFORD          GA      30519‐6986
HELEN REYNOLDS         9554 WESTWOOD ST                                                                                              DETROIT         MI      48228‐1672
HELEN REYNOLDS         17530 MACK AVE APT 5                                                                                          GROSSE POINTE   MI      48230‐5240
HELEN RHINEHART        2401 S WADSWORTH DR                                                                                           LANSING         MI      48911‐2475
HELEN RICHARD          1065 S VOLUSIA AVE LOT C8                                                                                     ORANGE CITY     FL      32763‐7044
HELEN RICHARDS         2773 WEST 900 SOUTH                                                                                           PENDLETON       IN      46064‐9531
HELEN RICHARDS         4095 ROSEWOOD DR                                                                                              SAGINAW         MI      48603‐2012
HELEN RICHARDSON       PO BOX 882                     212 SEMINARY                                                                   CATLIN          IL      61817‐0882
HELEN RICHARDSON       17590 PRAIRIE ST                                                                                              DETROIT         MI      48221‐2639
HELEN RICHIE           307 MACKINAC HOLW                                                                                             LAWRENCEVILLE   GA      30044‐5000
HELEN RICHMOND         6637 LONG TIMBERS DR                                                                                          SHREVEPORT      LA      71119‐3405
HELEN RIDLON           21819 E 13 MILE RD                                                                                            ST CLAIR SHRS   MI      48082‐1454
HELEN RIEGER           26945 W 207TH ST                                                                                              GARDNER         KS      66030‐9116
HELEN RIGGS            148 SHADOWMORE DR                                                                                             ZEBULON         GA      30295‐3607
HELEN RILEY            205 SUMMER ROSE LN             C/O PATTIE JENKINS                                                             JOHNSON CITY    TN      37601‐5356
HELEN RILEY            209 ORINOCO ST                                                                                                DAYTON          OH      45431‐2071
HELEN RINGER           106 ELLIS ST                                                                                                  MARTINSBURG     WV      25404‐4748
HELEN RINKE            11741 S ROUNDTREE ST APT 102                                                                                  OLATHE          KS      66061‐9948
HELEN RINTZ            506 ELMWOOD AVE                                                                                               EAST CHINA      MI      48054‐1521
HELEN RITUCCI          297 HOPE ST                                                                                                   WATERBURY       CT      06704‐3215
HELEN RIVERS           PO BOX 22783                                                                                                  ROCHESTER       NY      14692‐2783
HELEN ROACH            124 BODGEN RD                                                                                                 HAMPTON         GA      30228
HELEN ROBBINS          62 WILTSHIRE AVE                                                                                              BATTLE CREEK    MI      49015‐2052
HELEN ROBERSON         101 KETTERING LN                                                                                              LYNCHBURG       VA      24501‐2315
HELEN ROBERSON         711 W 12TH ST                                                                                                 ANDERSON        IN      46016‐1234
HELEN ROBERT           G 4228 S LINDEN RD                                                                                            FLINT           MI      48507
HELEN ROBERTS          3466 PLEASANT LAKE DR                                                                                         INDIANAPOLIS    IN      46227‐6932
HELEN ROBERTS          1006 ALLEN AVE                                                                                                HAMILTON        OH      45015‐2014
HELEN ROBINSON         687 E COLUMBIA AVE                                                                                            PONTIAC         MI      48340‐2046
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HELEN ROBINSON           5821 S LEONARD SPRINGS RD                                                                  BLOOMINGTON        IN     47403‐9032
HELEN RODRIGUEZ          15271 THOMAS AVE                                                                           ALLEN PARK         MI     48101‐1918
HELEN RODRIGUEZ‐WALTER   1130 S WILLIAMS LAKE RD                                                                    WHITE LAKE         MI     48386‐3532
HELEN ROGERS             105 S POINT DR                                                                             FAIRBORN           OH     45324‐2707
HELEN ROGERS             31444 AUGUSTA DR                                                                           ROMULUS            MI     48174‐6366
HELEN ROGERS             850 CORTVIEW DRIVE                                                                         CORTLAND           OH     44410‐1410
HELEN ROGUS              28 LAURELWOOD DR                                                                           WLFD               CT     06492
HELEN ROJAS              41528 DENISE ST                                                                            FREMONT            CA     94539‐4560
HELEN ROLAK              11804 KLEBBA ST                                                                            TAYLOR             MI     48180‐4172
HELEN ROLLINS            3309 S JENKINS DR                                                                          SHEPHERD           MI     48883‐9673
HELEN ROMANO             15334 IRENE ST                                                                             SOUTHGATE          MI     48195‐2072
HELEN ROOF               817 EASTGATE DR                                                                            ANDERSON           IN     46012‐9692
HELEN RORICK             204 DEXTER TER                                                                             TONAWANDA          NY     14150‐4721
HELEN ROSAS              927 RUBY LN                                                                                CARSON CITY        NV     89706‐0614
HELEN ROSE               6743 SUNSET ST                                                                             GARDEN CITY        MI     48135‐3445
HELEN ROSENZWEIG         1 BAYCLUB DR APT 15X                                                                       BAYSIDE            NY     11360
HELEN ROSS               2625 WOODRUFF LN                                                                           YPSILANTI          MI     48198‐3328
HELEN ROSS               4189 WESTPOINT ST                                                                          DEARBORN HTS       MI     48125‐2126
HELEN ROSSETTER          2221 DUTCHER ST                                                                            FLINT              MI     48532‐4412
HELEN ROUTLEY            2 HYDRANGEA CT                                                                             GREENSBORO         NC     27455‐2770
HELEN ROWLAND            LOT 26                         638 NORTH MCKINLEY ROAD                                     FLUSHING           MI     48433‐1375
HELEN ROWLEY             24 ALLIGER DR                                                                              TONAWANDA          NY     14150‐5104
HELEN ROWSEY             5 MCCARTHY DR                                                                              BUFFALO            NY     14211‐2657
HELEN ROYAL              6077 W WILSON RD                                                                           CLIO               MI     48420‐9417
HELEN ROYSTER            1501 E 191ST ST APT 502                                                                    EUCLID             OH     44117‐1340
HELEN ROYSTER            447 SO SECOND AVE                                                                          MOUNT VERNON       NY     10550
HELEN RUBRECHT           2151 N MERIDIAN RD APT 35                                                                  APACHE JUNCTION    AZ     85220‐1392

HELEN RUBY               931 ELLENDALE DR                                                                           BALTIMORE         MD      21286‐1511
HELEN RUCHTI             229 N WILLARD AVE                                                                          JANESVILLE        WI      53548‐3363
HELEN RUCKER             1400 BEECHCREST ST NW                                                                      WARREN            OH      44485‐1931
HELEN RUDDUCK            3013 GREENTREE DR                                                                          JAMESTOWN         OH      45335‐2512
HELEN RUDZINSKI          9533 HAWLEY CT                                                                             DAYTON            OH      45458‐9504
HELEN RUIZ               PO BOX 324                     217 RAILROAD ST                                             BARNESVILLE       OH      43713‐0324
HELEN RUNGE              25 FOREST AVE                                                                              ERLANGER          KY      41018‐1647
HELEN RUSH               464 COATS RR1                                                                              LAKE ORION        MI      48362
HELEN RUSH               464 PEARSALL AVE                                                                           PONTIAC           MI      48341‐2659
HELEN RUSHTON            157 HAZY LANE                                                                              GREENWOOD         IN      46142‐9292
HELEN RUSSELL            122 AVONLEA PARK PL                                                                        SUWANEE           GA      30024‐3782
HELEN RUSSO              CONNECTICUT BAPTIST HOME       292 THORPE AVE                                              MERIDEN           CT      06450
HELEN RUTH               3160 E MOORE RD                                                                            SAGINAW           MI      48601‐9317
HELEN RYAN               5509 W HILLS RD                                                                            FORT WAYNE        IN      46804‐4350
HELEN RYDZEWSKI          63 WHEELOCK ST                                                                             BUFFALO           NY      14206‐3332
HELEN RYKTARSYK          6911 AMBOY ST                                                                              DEARBORN HTS      MI      48127‐1993
HELEN RYPSTRA            3480 ALGONAC DR SW                                                                         GRANDVILLE        MI      49418
HELEN S CALKINS          1614 MORRIS PLACE                                                                          NILES             OH      44446‐2840
HELEN S EVERHART         111 AVENUE C                                                                               GREENVILLE        OH      45331‐2309
HELEN S FERENCE          1014 SNOWBERRY DR                                                                          LONGS             SC      29568
HELEN S FREDERICK        918 NORTH GREECE RD                                                                        ROCHESTER         NY      14626‐1030
HELEN S LANE             7719 BASSETT DR                                                                            HUBER HEIGHTS     OH      45424‐2106
HELEN S MALINAS          5131 C NESTING WAY                                                                         DELRAY BEACH      FL      33484‐2749
HELEN S MALONE           2408 DELAWARE AVE                                                                          NEW CASTLE        PA      16105‐2213
HELEN S SULEK            2950 WEST PARK DR #577                                                                     CINCINNATI        OH      45238‐3555
HELEN SABO               332 HEWITT ST                                                                              TRENTON           NJ      08611‐1126
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Name                          Address1                          Address2                        Address3   Address4               City           State   Zip
HELEN SABOL                   305 WATSON AVE                                                                                      TRENTON         NJ     08610‐5105
HELEN SAKEY                   1770 MORAN AVE                                                                                      LINCOLN PARK    MI     48146‐3856
HELEN SALISBURY               1015 DORNELL AVE                                                                                    LANSING         MI     48910‐5339
HELEN SAMONS                  RR 4 BOX 254                                                                                        WABASH          IN     46992
HELEN SAMPSON                 271 N LUDLOW ST                                                                                     COVINGTON       OH     45318‐1727
HELEN SAMPSON                 621 E BALTIMORE BLVD                                                                                FLINT           MI     48505‐6404
HELEN SANCHEZ                 6401 WALROND AVE                                                                                    KANSAS CITY     MO     64132‐1259
HELEN SANDERS                 PO BOX 4523                                                                                         DANBURY         CT     06813‐4523
HELEN SANDERSON               41 OAK ST                                                                                           TRENTON         NJ     08638‐5112
HELEN SANDS                   651 LUNDYS LN                                                                                       MEDINA          OH     44256‐7112
HELEN SANTISTEBAN             7857 NW ROANRIDGE RD APT I                                                                          KANSAS CITY     MO     64151‐5275
HELEN SANZA                   60 TONI TER                                                                                         ROCHESTER       NY     14624‐5013
HELEN SARNA                   2011 E HUDSON AVE                 C/O BARBARA L DASCHKE                                             ROYAL OAK       MI     48067‐3554
HELEN SARTORIS                970 CRANE ST APT 3                                                                                  MENLO PARK      CA     94025‐4725
HELEN SAUGSTAD                624 N GENESEE ST                                                                                    DAVISON         MI     48423‐1118
HELEN SAULEN                  70 HIGHLAND ST                                                                                      MILFORD         MA     01757‐2334
HELEN SAUNDERS                2407 MCCAWBER DR                  LIMESTONE GARDENS                                                 WILMINGTON      DE     19808‐4241
HELEN SAUNDERS                6419 PONTIAC LAKE RD                                                                                WATERFORD       MI     48327‐1752
HELEN SAVAGE                  1320 N OSAGE ST                                                                                     INDEPENDENCE    MO     64050‐1837
HELEN SAVAGE                  30923 CARAQUET CT                                                                                   SPRING          TX     77386‐2239
HELEN SAWOSCINSKI             319 N HAWTHORNE ST                                                                                  WESTLAND        MI     48185‐3692
HELEN SCAVO                   1682 BEVERLY ST                                                                                     SYLVAN LAKE     MI     48320‐1500
HELEN SCHANK                  1104 25TH ST                      C/O HELEN D SCHANK                                                BAY CITY        MI     48708‐7909
HELEN SCHARLAU                3315 E DOWNING CIR                                                                                  MESA            AZ     85213‐7012
HELEN SCHATOW                 2136 S LONG LAKE RD                                                                                 FENTON          MI     48430‐1456
HELEN SCHAUER                 2952 DAKOTA DR                                                                                      JANESVILLE      WI     53545‐2217
HELEN SCHELTS                 129 N HIGH ST                                                                                       SMYRNA          DE     19977‐1224
HELEN SCHETTL                 APT 207                           2900 THORNHILLS AVE SOUTHEAST                                     GRAND RAPIDS    MI     49546‐7177
HELEN SCHIPKE                 563 PADDOCK AVE                                                                                     MERIDEN         CT     06450‐7015
HELEN SCHLESINGER & STEPHEN   51 S PRESTWICK COURT                                                                                DOVER           DE     19904
SCHLESINGER
HELEN SCHMALSTIG              108 ORCHARD DR                                                                                      SOUTH POINT    OH      45680‐9683
HELEN SCHMIDT                 2900 EL CAMINO AVE APT 160                                                                          LAS VEGAS      NV      89102‐4230
HELEN SCHMITT                 1684 S FOUNTAINHEAD RD                                                                              FORT MYERS     FL      33919‐6809
HELEN SCHNEIDER               730 SCHOOL ST                                                                                       CULVER         IN      46511‐1027
HELEN SCHOCH                  8285 S M52 RR 5                                                                                     OWOSSO         MI      48867
HELEN SCHOLL                  533 HENSON ST                                                                                       MIDFIELD       AL      35228‐2303
HELEN SCHRADER                58 UNION AVE                                                                                        TARRYTOWN      NY      10591‐3706
HELEN SCHUIT                  7013 W 115TH PL                                                                                     WORTH          IL      60482‐2350
HELEN SCHULER                 11224 JACQUELINE DR                                                                                 STERLING HTS   MI      48313‐4912
HELEN SCHULTZ                 91 STONEHENGE DR                                                                                    DALLAS         GA      30157‐2339
HELEN SCHULTZ                 12620 MELROSE AVE                                                                                   LAINGSBURG     MI      48848‐9766
HELEN SCHULTZ                 PO BOX 1026                                                                                         GARDEN CITY    MI      48136‐1026
HELEN SCHWARTZ                135 FORTNEY AVE                                                                                     GALION         OH      44833‐1447
HELEN SCHWERIN                435 NEWTON DR                                                                                       LAKE ORION     MI      48362‐3342
HELEN SCHWINGEL               1665 18TH AVE                                                                                       ARKDALE        WI      54613‐9774
HELEN SCOTT                   119 DENNIS DR                                                                                       BRICK          NJ      08724‐3705
HELEN SCOTT                   PO BOX 493                        124 SMITH ACE                                                     WARSAW         KY      41095‐0493
HELEN SCOTT                   1422 GREENHOUSE PKWY                                                                                ALPHARETTA     GA      30022‐2804
HELEN SCOTT                   1853 LATHAM AVE                                                                                     LIMA           OH      45805‐1635
HELEN SEALS                   25350 WAYCROSS                                                                                      SOUTHFIELD     MI      48033‐6142
HELEN SEAY                    6147 HARWOOD RD                                                                                     MOUNT MORRIS   MI      48458‐2719
HELEN SEESE                   WEST WOOD PLACE 18800 WEST WOOD   APT 413                                                           STRONGSVILLE   OH      44136
                              DRIVE
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HELEN SEHM                 PO BOX 505                                                                                BELFAST           NY 14711‐0505
HELEN SEIBERLING           14291 WEDGEWOOD RD            C/O EMMERSON SEIBERLING                                     STERLING HEIGHTS  MI 48312‐5536
HELEN SEIBERT              535 BUCKINGHAM RD APT 2306                                                                RICHARDSON        TX 75081‐5179
HELEN SEIBERT              PO BOX 4                                                                                  MORRICE           MI 48857‐0004
HELEN SELANDER             2025 HAYES AVE                PROVIDENCE CARE CENTER                                      SANDUSKY          OH 44870‐4739
HELEN SELBIG               APT 8                         8700 MONROE ROAD                                            DURAND            MI 48429‐1073
HELEN SELBY                19 N 10TH ST                                                                              MIAMISBURG        OH 45342‐2521
HELEN SEMON                8334 WINDING WOOD DR                                                                      PORT RICHEY       FL 34668‐3062
HELEN SENKO                13480 BAGLEY ROAD                                                                         CLEVELAND         OH 44130‐6752
HELEN SENYK                HC 62 BOX 69                                                                              LONG POND         PA 18334‐9724
HELEN SERAFIN              280 STRALEY AVE                                                                           BUFFALO           NY 14211‐2816
HELEN SEXTON               1701 PARKAMO AVE                                                                          HAMILTON          OH 45011‐4609
HELEN SHACKLEFORD          225 GREENHILL DR                                                                          WHITE LAKE        MI 48386‐1947
HELEN SHADDERS             128 BRIGHT AUTUMN LN                                                                      ROCHESTER         NY 14626‐1279
HELEN SHAKER               2390 STILLWAGON RD SE                                                                     WARREN            OH 44484‐3172
HELEN SHANEYFELT           1395 BOTTO AVE                C/O GWIN CARROLL                                            XENIA             OH 45385‐1601
HELEN SHANK                237 DOWNING STREET                                                                        ROANOKE           VA 24019‐8311
HELEN SHANKS               3378 S OLD STATE ROAD 15                                                                  WABASH            IN 46992‐7979
HELEN SHAYA                19350 MARTINSVILLE RD                                                                     BELLEVILLE        MI 48111‐8704
HELEN SHEA                 2708 W LIBERTY ST                                                                         GIRARD            OH 44420‐3116
HELEN SHEKO                36500 MARQUETTE ST APT 503                                                                WESTLAND          MI 48185‐3244
HELEN SHELDON              PEBBLE CT. #1                                                                             MIDDLEPORT        NY 14105
HELEN SHELEY               42 CLAY TILLMAN RD                                                                        HILLSBORO         GA 31038‐3720
HELEN SHELLABARGER         14900 W BURKMILL RD                                                                       DALEVILLE         IN 47334‐9622
HELEN SHELLEY              1200 CORPORATE DR APT 123                                                                 ADRIAN            MI 49221‐8403
HELEN SHELTON              601 S CANAL ST                                                                            ALEXANDRIA        IN 46001‐2329
HELEN SHELTRAW             717 CLINTON ST                                                                            FLINT             MI 48507‐2540
HELEN SHEMANSKI            3337 TWIN RIDGE DR            C/O KIM CHILDRESS                                           CHARLOTTE         NC 28210‐8153
HELEN SHENEMAN             1130 CHERRY LN                                                                            PERU              IN 46970‐3033
HELEN SHEPARD              1030 W HARVARD AVE                                                                        FLINT             MI 48505‐1222
HELEN SHEPARD              8602 VIRGIL ST                                                                            DEARBORN HEIGHTS MI 48127‐1524

HELEN SHEPHERD             1651 HIGHWAY 133                                                                          SHADY VALLEY     TN   37688‐5058
HELEN SHEPPARD             1175 E NATIONAL RD                                                                        VANDALIA         OH   45377‐3213
HELEN SHERK                38 FREDERICK RD                                                                           TONAWANDA        NY   14150‐4215
HELEN SHETTERLY            544 BUCK LN W                                                                             PENDLETON        IN   46064‐9021
HELEN SHEWBROOKS           16800 HENDERSON RD LOT 84                                                                 HENDERSON        MD   21640‐1683
HELEN SHIELDS              10229 N HOLLY RD                                                                          HOLLY            MI   48442‐9302
HELEN SHIRLEY              433 N BURNT HICKORY RD                                                                    DOUGLASVILLE     GA   30134‐4116
HELEN SHOAF                84 SHADY AVE                                                                              LONDON           OH   43140‐1333
HELEN SHOCK                1664 TERRAWENDA DR                                                                        DEFIANCE         OH   43512‐3247
HELEN SHOPE                10355 SPRINGPOINTE CIR        APT H                                                       MIAMISBURG       OH   45342
HELEN SHOPP                200 CHESTER ST APT 520                                                                    BIRMINGHAM       MI   48009‐1439
HELEN SHORNA DALEY TRUST   RJ DALEY SR TRUSTEE           323 SOUTH 28TH ST                                           LA CROSSE        WI   54601
HELEN SHORNA DALEY TRUST   323 S 28TH ST                                                                             LA CROSSE        WI   54601
HELEN SHORNA DALEY TRUST   323 SOUTH 28TH ST                                                                         LA CROSSE        WI   54601
HELEN SHREVE               4066 MONTROSE ST                                                                          FLINT            MI   48504‐6845
HELEN SHUGDINIS            3865 SAINT MARYS RD                                                                       WAPWALLOPEN      PA   18660‐1912
HELEN SHULER               851 N BALDWIN RD                                                                          OXFORD           MI   48371‐3419
HELEN SHULTZ               5206 S 650 E                                                                              PERU             IN   46970‐7084
HELEN SHUPE                40 FLORENCE AVE                                                                           COLUMBUS         OH   43228‐1421
HELEN SHY                  PO BOX 42                                                                                 TOLEDO           OH   43697‐0042
HELEN SIDERS               7717 N MCGEE ST                                                                           KANSAS CITY      MO   64118‐1661
HELEN SIDWELL              1211 FAVORITE ST                                                                          ANDERSON         IN   46013‐1314
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HELEN SIENGO       2500 LYNDALE AVENUE SOUTH                                                                       MINNEAPOLIS        MN     55405‐3319
HELEN SIKA         6176 LONGMEADOW BLVD N                                                                          SAGINAW            MI     48603‐1072
HELEN SILBAUGH     109 ELLIOTT ST                                                                                  JANESVILLE         WI     53546‐2541
HELEN SIMPKINS     19491 BEAVERLAND ST                                                                             DETROIT            MI     48219‐1830
HELEN SIMPSON      1024 WOODS VIEW CT                                                                              MIAMISBURG         OH     45342‐3873
HELEN SIMS         277 WASHINGTON VALLEY RD                                                                        RANDOLPH           NJ     07869‐4822
HELEN SIMS         1620 KAMMER AVE                                                                                 DAYTON             OH     45417‐1542
HELEN SIMS         6941 E STOP 11 RD                                                                               INDIANAPOLIS       IN     46237
HELEN SIROIN       14019 LONGS POINT LN                                                                            LAC DU FLAMBEAU    WI     54538
HELEN SISKOSKY     74 HAMPSHIRE DRIVE                                                                              TROY               MI     48085‐3227
HELEN SITEK        2011 CRANE CT                                                                                   NEW PORT RICHEY    FL     34655‐4002
HELEN SKARBEK      7157 COLDWATER RD                                                                               FLUSHING           MI     48433‐9041
HELEN SKIRCHAK     1000 PELHAM PKWY S               MORNINGSIDE NRSG. HOME                                         BRONX              NY     10461‐1003
HELEN SKOVRAN      2075 ATLANTIC ST NE                                                                             WARREN             OH     44483‐4245
HELEN SKREBES      554 23RD AVE NW                                                                                 NEW BRIGHTON       MN     55112‐6509
HELEN SKUNDA       3701 BEECHWOOD AVE                                                                              FLINT              MI     48506‐3122
HELEN SLAUGHTER    C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
HELEN SLEETH       6640 HEISLEY RD                                                                                 MENTOR             OH     44060‐4504
HELEN SMERKA       2943 SHENANDOAH DR                                                                              HAMBURG            NY     14075‐3233
HELEN SMIESZNY     7754 TIPPERARY RD                                                                               GLADSTONE          MI     49837‐2464
HELEN SMITH        1193 BIELBY ST                                                                                  WATERFORD          MI     48328‐1303
HELEN SMITH        14257 STATE ROUTE 520                                                                           GLENMONT           OH     44628‐9786
HELEN SMITH        7135 TAYLOR RD                                                                                  HAMBURG            NY     14075‐6819
HELEN SMITH        47 CENTER ST                                                                                    MALONE             NY     12953‐2001
HELEN SMITH        5629 W US HIGHWAY 135                                                                           WAYNETOWN          IN     47990‐8147
HELEN SMITH        STE 399                          580 LINCOLN PARK BOULEVARD                                     DAYTON             OH     45429‐6400
HELEN SMITH        2100 SHROYER RD                                                                                 DAYTON             OH     45419
HELEN SMITH        4598 BERQUIST DR                                                                                TROTWOOD           OH     45426‐1804
HELEN SMITH        34630 HIGHWAY 65                                                                                WARSAW             MO     65355
HELEN SMITH        8170 WEST ST                                                                                    MILLINGTON         TN     38053‐1704
HELEN SMITH        33 HICKORY MOUND CT                                                                             WILDWOOD           MO     63011‐5515
HELEN SMITH        690 WEST MAIN ST                 UNIT 203 CARVETH VILLAGE                                       MIDDLEVILLE        MI     49333
HELEN SMITH        29654 BARTON ST                                                                                 GARDEN CITY        MI     48135‐2687
HELEN SMITH        380 LILY ST                                                                                     N HUNTINGDON       PA     15642‐4324
HELEN SMITH        269 WHISKEY SPRINGS RD                                                                          SUMMERHILL         PA     15958‐4901
HELEN SMITH        7123 STATE ROUTE 46                                                                             CORTLAND           OH     44410‐9669
HELEN SMITH        1935 W 10TH ST                                                                                  INDIANAPOLIS       IN     46222‐3183
HELEN SMITH        3525 E HANNA AVE                 ALTENHEIM                                                      INDIANAPOLIS       IN     46237‐1230
HELEN SMITH        539 PENHALE AVE                                                                                 CAMPBELL           OH     44405‐1559
HELEN SMITH        8914 N FITZGERALD WAY                                                                           MISSOURI CITY      TX     77459‐6614
HELEN SMITH        4317 WESTMINSTER DR                                                                             ANDERSON           IN     46013‐4464
HELEN SMRECAK      285 E MUNGER RD                                                                                 MUNGER             MI     48747‐9701
HELEN SNELL        3452 COUNTRY CLUB RD                                                                            PETOSKEY           MI     49770‐8206
HELEN SNELL        706 W GRAND RIVER AVE                                                                           PORTLAND           MI     48875‐1125
HELEN SNITKO       1700 CEDARWOOD DR APT 133                                                                       FLUSHING           MI     48433‐3602
HELEN SNOHA        5091 PANTHER DR                                                                                 SPRING HILL        FL     34607‐2486
HELEN SNYDER       5505 LAKEVIEW RD                                                                                CORTLAND           OH     44410‐9555
HELEN SNYDER       2301 W CARTER ST                                                                                KOKOMO             IN     46901‐5059
HELEN SOBLOTNE     310 WESTGATE AVE                                                                                SUFFOLK            VA     23434‐6639
HELEN SOCHA        1233 MONTEREY LN                                                                                JANESVILLE         WI     53546‐5378
HELEN SOFFA        4803 CARLYN DR                                                                                  PITTSBURGH         PA     15236‐1915
HELEN SOKOL        530 2ND ST                                                                                      BROWNSVILLE        PA     15417‐1608
HELEN SOKOLOWSKI   1924 N VERNON AVE                                                                               FLINT              MI     48506‐3636
HELEN SOMERS       47 LESLIE RD                                                                                    COLONIA            NJ     07067‐2416
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HELEN SOMMERS        1530 STONEGATE RD                                                                           LA GRANGE PARK      IL    60526‐1049
HELEN SONGER         267 HARWOOD ST                                                                              ELYRIA             OH     44035‐3918
HELEN SOSIC          28801 JOHNSON DR                                                                            WICKLIFFE          OH     44092‐2653
HELEN SOWA           14 SANBERT CIR                                                                              HAMILTON SQUARE    NJ     08690‐2510

HELEN SPAIN          437 MARSH POINT CIR                                                                         ST AUGUSTINE      FL      32080‐5865
HELEN SPEIRS         5000 COMMERCE RD                                                                            ORCHARD LAKE      MI      48324‐2200
HELEN SPENCER        8354 CHAMBERSBURG RD                                                                        DAYTON            OH      45424‐3940
HELEN SPICER         PO BOX 4194                                                                                 FLINT             MI      48504‐0194
HELEN SPIEGEL        220 W 4TH ST                  C/O MADELINE M. RICE                                          PORT CLINTON      OH      43452‐1818
HELEN SPIER          411 N 5TH ST                                                                                DUPO              IL      62239‐1115
HELEN SPITZE         325 SYLVAN AVE SPC 34                                                                       MOUNTAIN VIEW     CA      94041‐1655
HELEN SPOONER        7913 EISENHOWER BLVD                                                                        BRIDGEPORT        NY      13030‐9407
HELEN SPRAGUE        2031 DRILL AVENUE                                                                           DAYTON            OH      45414‐5538
HELEN SPRAGUE        303 AMPERSAND AVE                                                                           SARANAC LAKE      NY      12983‐1558
HELEN SPROUL         1947 W 12TH ST                                                                              MARION            IN      46953‐1248
HELEN SROKA          26720 JOY RD 5B                                                                             REDFORD           MI      48239
HELEN ST AUBIN       5404 NUGGET CT                                                                              YUCCA VALLEY      CA      92284‐7700
HELEN STACY          135 SOLAR DR                                                                                TIPP CITY         OH      45371‐9491
HELEN STAFFORD       12215 W 63RD TER                                                                            SHAWNEE           KS      66216‐2760
HELEN STAGLIANO      9 FOXWOOD DR APT 8                                                                          PLEASANTVILLE     NY      10570‐1641
HELEN STAHL          195 E MAIN ST                                                                               CORTLAND          OH      44410
HELEN STAMPER        33812 WILLOWICK DR                                                                          EASTLAKE          OH      44095‐2566
HELEN STANISZEWSKI   36752 HAVERHILL ST                                                                          STERLING HTS      MI      48312‐2730
HELEN STANKIEWICZ    11810 TRAILWOOD RD            C/O DONALD C STANKIEWICZ                                      PLYMOUTH          MI      48170‐3726
HELEN STANKO         165 EDGAR AVE                                                                               BUFFALO           NY      14207‐1007
HELEN STANSBURY      877 LINWOOD DR                                                                              TROY              OH      45373‐2200
HELEN STASZAK        16001 ALEXANDRIA DR                                                                         TINLEY PARK       IL      60477‐6336
HELEN STEADHAM       PO BOX 34                                                                                   FORESTBURG        TX      76239‐0034
HELEN STEDRY         3970 STATE BOX 219                                                                          BRIDGEPORT        MI      48722
HELEN STEELE         738 N 28TH ST                                                                               SAGINAW           MI      48601‐6120
HELEN STEELE         4707 VENICE RD LOT 22                                                                       SANDUSKY          OH      44870‐1407
HELEN STEFANIK       212B NEWTON DR                                                                              NEWTON FALLS      OH      44444‐1913
HELEN STEFFENS       34525 MULVEY                                                                                FRASER            MI      48026‐1910
HELEN STEINETZ       27060 OAKWOOD CIRCLE #101‐M                                                                 OLMSTED FALLS     OH      44138
HELEN STEINHAUSER    3319 W STONEWAY DR            C/O MICHAEL G STEINHAUSER                                     SANDUSKY          OH      44870‐7404
HELEN STEVENS        8101 S BLACKSTONE AVE                                                                       CHICAGO           IL      60619‐4616
HELEN STEVENS        12089 SCHONBORN PL                                                                          CLIO              MI      48420‐2145
HELEN STEVENS        2288 E CORWIN RD                                                                            BULLHEAD CITY     AZ      86442‐8731
HELEN STEVENSON      32828 HAWTHORNE DR                                                                          WARREN            MI      48092‐1016
HELEN STEWARD        3838 DAMIAN DR                                                                              ZEPHYRHILLS       FL      33541‐2349
HELEN STEWART        10864 GLAMER DR                                                                             PARMA             OH      44130‐5905
HELEN STILTNER       13675 ROAD 208                                                                              CECIL             OH      45821‐9702
HELEN STOCKDALE      P.O 18196                                                                                   CINCINNATI        OH      45218
HELEN STOECKER       35 DEVONSHIRE DR                                                                            CLIFTON           NJ      07013‐2662
HELEN STOJANOVIC     535 NEWPORT DR                                                                              PITTSBURGH        PA      15235‐3230
HELEN STOKES         2918 MELBOURNE AVE                                                                          DAYTON            OH      45417‐1616
HELEN STONE          12 COTTAGE ST                                                                               SPENCERPORT       NY      14559‐1208
HELEN STONE          19459 STOEPEL ST                                                                            DETROIT           MI      48221‐1743
HELEN STONE          5457 RIDGE RD                                                                               HALE              MI      48739‐9172
HELEN STOTTLEMYER    125 SARATOGA WAY                                                                            ANDERSON          IN      46013‐4771
HELEN STRAMAN        10726 HALLER ST                                                                             DEFIANCE          OH      43512‐1273
HELEN STRAUSBAUGH    3833 FALLS CIRCLE DR                                                                        HILLIARD          OH      43026‐9164
HELEN STREETER       139 HUNTERS RILL                                                                            LAPEER            MI      48446‐4103
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HELEN STREM            70 LANARK CRES                                                                             ROCHESTER         NY 14609‐7849
HELEN STREU            1610 ELIZABETH ST                                                                          BAY CITY          MI 48708‐5419
HELEN STRICK           15061 FORD RD APT 313                                                                      DEARBORN          MI 48126‐4651
HELEN STRICKLAND       1401 MARTHA AVE                                                                            BURTON            MI 48509‐2140
HELEN STRICKLIN        74 SCOTLAND BLVD                                                                           MANSFIELD         OH 44906‐2237
HELEN STRIFFLER        6792 AKRON RD                                                                              LOCKPORT          NY 14094‐5372
HELEN STRINE           126 MARQUETTE ST                                                                           PONTIAC           MI 48342‐1527
HELEN STRONG           751 WALDON RD                                                                              ORION             MI 48359
HELEN STUMP            314 HICKORY LN                                                                             SEAFORD           DE 19973‐2020
HELEN STUMPE           1221 BOONES LICK RD                                                                        SAINT CHARLES     MO 63301‐2328
HELEN STURGES          2812 CORRECTIONVILLE RD                                                                    SIOUX CITY         IA 51105‐3628
HELEN STYLIANOU        7337 BURGUNDY ST                                                                           CANTON            MI 48187‐1413
HELEN SUBACH           9 READ AVE                                                                                 WILMINGTON        DE 19804‐2033
HELEN SUCHY            2977 EAST FILION ROAD                                                                      FILION            MI 48432‐9705
HELEN SULEK            2950 W PARK DR APT 577                                                                     CINCINNATI        OH 45238‐3555
HELEN SULLIVAN         1011 ABERDEEN DR                                                                           INDIANAPOLIS      IN 46241‐1809
HELEN SUMMERFIELD      80 VICTORIAN HILLS DRIVE                                                                   OKEMOS            MI 48864‐3160
HELEN SUMMERS          3274 WILD PEPPER CT                                                                        DELTONA           FL 32725‐3000
HELEN SUPONCIC         915 DELAWARE ST                                                                            FOREST CITY       PA 18421‐1005
HELEN SURFACE          9121 BRISTOL RD                                                                            SWARTZ CREEK      MI 48473‐8619
HELEN SUSZEK           1810 SEVILLA BLVD APT 109                                                                  ATLANTIC BEACH    FL 32233‐5601
HELEN SUTLIFF          221 BELLEWOOD DR                                                                           FLUSHING          MI 48433‐1841
HELEN SWADLING         6153 OLIVER RD                                                                             FOSTORIA          MI 48435‐9629
HELEN SWANSON          1310 W FAIRVIEW AVE                                                                        DAYTON            OH 45406‐5737
HELEN SWATHWOOD        966 KINGS DR                                                                               GREENVILLE        OH 45331‐2782
HELEN SWAYNE           3723 OLD 35                                                                                XENIA             OH 45385‐9623
HELEN SYLVESTER        1361 GEORGENE ST                                                                           PAHRUMP           NV 89060‐2937
HELEN SZABO            13144 WESLEY ST                                                                            SOUTHGATE         MI 48195‐1031
HELEN SZALANKIEWICZ    34950 HIDDEN PINE DR APT 308                                                               FRASER            MI 48026‐2057
HELEN SZALAY           6167 CAMBOURNE RD                                                                          DEARBORN HTS      MI 48127‐3916
HELEN SZCZUKOWSKI      1278 CEDAR LN                                                                              TRENTON           NJ 08610‐5210
HELEN SZUSTAK          148 WOODLAND DR                                                                            KENMORE           NY 14223‐1648
HELEN SZYBOWSKI        12960 RIVER PARK DR                                                                        HUNTLEY            IL 60142‐7575
HELEN SZYMANIK         1729 STOKESLEY RD                                                                          BALTIMORE         MD 21222‐4838
HELEN SZYMON           15731 19 MILE RD                                                                           CLINTON TOWNSHIP MI 48038‐6316

HELEN T CLAYTON        2022 VERNON AVE NW                                                                         WARREN            OH   44483‐3150
HELEN T KRZESIMOWSKI   32531 NEW YORK STREET                                                                      ST.CLAIR SHORES   MI   48082
HELEN T PERRY          1215 ROBERT L POWELL PL                                                                    SAINT LOUIS       MI   63133‐1923
HELEN T SHAND          1166 NILES‐CORTLAND RD                                                                     WARREN            OH   44484
HELEN T SUTLIFF        221 BELLEWOOD DR                                                                           FLUSHING          MI   48433‐1841
HELEN TABOR            420 COOK ST                                                                                GREENSBURG        KY   42743‐1306
HELEN TABORY           11300 SCHWAB DR                                                                            PARMA             OH   44130‐5955
HELEN TAGG             9130 SLYKER RD                                                                             OTISVILLE         MI   48463‐9415
HELEN TAIT             442 HANOVER ST                                                                             HUBBARDSTON       MI   48845‐9310
HELEN TAKACS           2546 A OAK LEOF LANE           VILLAGE ON THE GREEN                                        CLEARWATER        FL   33763
HELEN TAKACS           283 WASHINGTON AVE APT 219                                                                 ELYRIA            OH   44035‐5105
HELEN TAMBE            1471 OAKMONTE BOULEVARD                                                                    WEBSTER           NY   14580‐7230
HELEN TANKOSIC         119 HOLLYWOOD DR                                                                           CLAIRTON          PA   15025‐4003
HELEN TARAS            6429 HARTWELL ST                                                                           DEARBORN          MI   48126‐2216
HELEN TATE             17234 METRO AVE                                                                            BONNER SPRINGS    KS   66012‐7116
HELEN TAYLOR           5407 HOOVER AVE                                                                            DAYTON            OH   45427
HELEN TAYLOR           3916 PERKINS AVE                                                                           HURON             OH   44839‐1059
HELEN TAYLOR           5334 DIXIE HWY                                                                             SAGINAW           MI   48601‐5576
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HELEN TAYLOR               84 DECKER ST                                                                                     BUFFALO         NY     14215‐3223
HELEN TAYLOR               208 SOMERSET ROSE LN                                                                             SUGAR HILL      GA     30518‐7714
HELEN TAYLOR               9 N MAIN ST                                                                                      SIMS            IN     46986‐9634
HELEN TAYLOR               549 CLARION ST                                                                                   CLIO            MI     48420‐1259
HELEN TEACHOUT             912 PERKINS JONES RD NE                                                                          WARREN          OH     44483‐1852
HELEN TEETERS              15221 GASKILL DR NE LOT 34                                                                       ALLIANCE        OH     44601‐1301
HELEN TELEMAHOS            11915 WOODLAND DR                                                                                LENNON          MI     48449
HELEN TERRY                PO BOX 48                                                                                        LEONARD         MI     48367
HELEN TESTA                109 MEADOWLARK DR                                                                                HAMILTON        NJ     08690‐3559
HELEN THOMAS               4919 LAUDERDALE DR                                                                               MORAINE         OH     45439‐2803
HELEN THOMAS               714 E 12 MILE RD                                                                                 ROYAL OAK       MI     48073‐4229
HELEN THOMAS               1697 E BENNINGTON RD                                                                             OWOSSO          MI     48867‐8739
HELEN THOMAS               610 FALL CREEK DR                                                                                ANDERSON        IN     46013‐3719
HELEN THOMAS               3570 EAST 100 NORTH                                                                              DANVILLE        IN     46122
HELEN THOMPSON             60 W 142ND ST APT 12A                                                                            NEW YORK        NY     10037‐1112
HELEN THOMPSON             325 W CASTLE RD                                                                                  FOSTORIA        MI     48435‐9668
HELEN THOMPSON             RR 1 BOX 41                                                                                      BIRCH TREE      MO     65438‐9603
HELEN THOMPSON             2622 ALLISTER CIR                                                                                MIAMISBURG      OH     45342‐5856
HELEN THON                 26170 RAMPART BLVD                                                                               PUNTA GORDA     FL     33983‐6207
HELEN THURLOW              5442 E BAYWOOD AVE                                                                               MESA            AZ     85206‐1428
HELEN THYGESEN             373 W CLYDESDALE ST                                                                              MOUNT MORRIS    MI     48458‐8997
HELEN TILLMON              2185 SOUTH BLVD 105                                                                              AUBURN HILLS    MI     48326
HELEN TIREY                4167 HELEN AVENUE                                                                                LINCOLN PARK    MI     48146‐3717
HELEN TKACZYK              8974 CHESANING RD                                                                                CHESANING       MI     48616‐8432
HELEN TKACZYK              RTE 1 15985 RIDGE                                                                                OAKLEY          MI     48649
HELEN TODD                 18240 MARLOWE ST                                                                                 DETROIT         MI     48235‐2762
HELEN TOFFEY               196 CHIMNEY RD                                                                                   WATERTOWN       CT     06795‐1622
HELEN TOLER                944 CHERRY LN                  C/O MARCELLA SCHULTZ                                              SEVEN HILLS     OH     44131‐4216
HELEN TOMS                 2520 WILSON BLVD APT 104                                                                         WINCHESTER      VA     22601‐3516
HELEN TOPOLEWSKI           7 SULLIMAN RD                                                                                    EDISON          NJ     08817‐4138
HELEN TORTOMASI            8497 MASSEY RD                 C/O DEBORA KAY MCCROSKEY                                          PILOT POINT     TX     76258‐6661
HELEN TOTE                 PO BOX 263                     1094 RIDGE RD NE                                                  VIENNA          OH     44473‐0263
HELEN TOTH                 148 MINNA AVE                                                                                    AVENEL          NJ     07001‐1208
HELEN TOTH                 2848 SILVERSTONE LN                                                                              WATERFORD       MI     48329‐4535
HELEN TOWNSEND             940 E DIXON ST                                                                                   KOKOMO          IN     46901‐3137
HELEN TRACY                1118 W CROSS ST APT 114                                                                          ANDERSON        IN     46011‐9532
HELEN TRAPANI              1834A 21ST DR                                                                                    ASTORIA         NY     11105‐3936
HELEN TRIDICO              1378 WALKER AVENUE EAST                                                                          MANSFIELD       OH     44905‐3029
HELEN TRIPP                7 RONNIE LANE                                                                                    NORTH CHILI     NY     14514‐1108
HELEN TRISSELL             6332 SW 2ND ST                                                                                   MARGATE         FL     33068‐1616
HELEN TROWBRIDGE           1301 ELEMPARK 2                                                                                  MITCHELL        IN     47446
HELEN TURNER               1353 E DOWNEY AVE                                                                                FLINT           MI     48505‐1731
HELEN TURNER               PO BOX 304                     ROUTE 1                                                           ELLINGTON       MO     63638‐0304
HELEN TURNER               1415 SUNNYSIDE AVE                                                                               FLINT           MI     48503‐2718
HELEN TUROSKY              360 ELM AVE                                                                                      SHARON          PA     16146‐2308
HELEN TYLER                2991 OAK HAMPTON CT                                                                              DULUTH          GA     30096‐5878
HELEN TYMINSKI             17 RICHMOND DR                                                                                   PLYMOUTH        CT     06782‐2117
HELEN U LANG               30 BEAVER CREEK                                                                                  WARREN          OH     44481‐9607
HELEN U NEWBY              1293 N TRIPLE X RD                                                                               CHOCTAW         OK     73020‐7916
HELEN UNDERWOOD            12236 SAINT ANDREWS WAY                                                                          FENTON          MI     48430‐8890
HELEN UNGEMACH             1011 W RIVERSIDE DR                                                                              OAK CREEK       WI     53154‐3751
HELEN UNGER                515 N COKER ST                                                                                   GREENWOOD       AR     72936‐4007
HELEN UPPERTON (ATHLETE)   256 VALLEY SPRINGS TERR NW                                           CALGARY AB T3B 5P8 CANADA
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HELEN URBANIA‐DAVIS   9202 OLIVIA LN                                                                                 CHARLOTTE           NC     28277‐4681
HELEN V BATZDORF      999 EAST AVE, SE                                                                               WARREN              OH     44484‐4903
HELEN V KATANA        92 KNICKERBOCKER DR                                                                            BELLE MEAD          NJ     08502‐4545
HELEN V LAY           10755 WESTPOINTE BLDG #9                                                                       TAYLOR              MI     48180
HELEN V PHILLIPS      435 P O BOX 284                                                                                CORTLAND            OH     44410‐0284
HELEN V STANLEY IRA   C/O HELEN V STANLEY             243 MANATEE ROAD                                               WINTER HAVEN        FL     33884
HELEN V STUMP         312 N CEDAR ST                                                                                 OWOSSO              MI     48867
HELEN VAILLENCOURT    2706 PINE RIDGE RD                                                                             WEST BLOOMFIELD     MI     48324‐1959

HELEN VALENT          2025 KILDARE CIR                                                                               NICEVILLE          FL      32578‐7307
HELEN VALLAD          4935 HADLEY RD                                                                                 GOODRICH           MI      48438‐9653
HELEN VANGUNDY        4925 LOCKBOURNE RD                                                                             COLUMBUS           OH      43207‐5072
HELEN VANKUREN        5024 WISHING WELL DR                                                                           GRAND BLANC        MI      48439‐4238
HELEN VANSTEENKISTE   2216 PATTON ST                                                                                 SAGINAW            MI      48602‐1168
HELEN VARASDI         19490 RAVINES CT                                                                               NORTH FORT MYERS   FL      33903‐9067

HELEN VAWTER          971 CEDAR CREEK CIR                                                                            CENTERVILLE        OH      45459‐3252
HELEN VENABLE         3742 DOLPHAINE LN                                                                              FLINT              MI      48506‐2672
HELEN VENOS           2829 E WALTON BLVD                                                                             AUBURN HILLS       MI      48326‐2559
HELEN VERKENNES       1130 W WILLIAMSON AVE                                                                          FLINT              MI      48507‐3648
HELEN VERMETT         13179 CEDAR ST                                                                                 CHARLEVOIX         MI      49720‐1065
HELEN VICKERS         6 GREENWICH DR                                                                                 DOVER              DE      19901‐1597
HELEN VIOLETTE        120 EMPIRE WAY                                                                                 BRISTOL            CT      06010‐1500
HELEN VIRANT          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH      44236
HELEN VISCOUNT        9 LEHIGH RD                                                                                    WILMINGTON         DE      19808‐3105
HELEN VLASAK          100 E WHIDBEY AVE APT 6                                                                        OAK HARBOR         WA      98277‐2578
HELEN VNUK            10169 JANUS DR                                                                                 OAK CREEK          WI      53154‐5639
HELEN VODOPIA         525 RIVERLEIGH AVE              SUITE 219                                                      RIVERHEAD          NY      11901
HELEN VOGRIN          734 LEONARD LN                  JULIANNA HAWORTH                                               NEWPORT NEWS       VA      23601‐1441
HELEN VORE            8100 CLYO RD                    ST. LEONARDS                                                   CENTERVILLE        OH      45458‐2720
HELEN VORWORK         411 S RUSSELL ST                                                                               ODESSA             MO      64076
HELEN VSETULA         1323 FREDERICK ST                                                                              OWOSSO             MI      48867‐4104
HELEN W DUDEK         2835 CRESTWOOD NW                                                                              WARREN             OH      44485‐1230
HELEN W GRAMLA        207 KENILWORTH S.E.                                                                            WARREN             OH      44483‐6013
HELEN W HALL          1201 BEACH BLVD                                                                                LAGUNA VISTA       TX      78578‐2613
HELEN W MURRAY        493 W. BOSTON AVE.                                                                             YOUNGSTOWN         OH      44511‐3119
HELEN W POLIDORI      411 SUPERIOR STREET                                                                            NEWTON FALLS       OH      44444‐1752
HELEN W RETTERER      10706 EVERGLADES KITE CIR                                                                      ESTERO             FL      33928‐2463
HELEN W RUCKER        1400 BEECHCREST NW                                                                             WARREN             OH      44485
HELEN W SHEA          2708 W. LIBERTY ST.                                                                            GIRARD             OH      44420‐3116
HELEN WAGNER          74 WOODSHORE W                                                                                 KEYPORT            NJ      07735‐6122
HELEN WAGNER          201 MALL DR S APT 111                                                                          LANSING            MI      48917‐2566
HELEN WAGNER          929 MEADOWCREST RD                                                                             LA GRANGE PK       IL      60526‐1530
HELEN WALCZEWSKI      286 CREST ROAD                                                                                 SOUTHINGTON        CT      06489‐2865
HELEN WALKER          7805 SEA PINES BLVD                                                                            SHREVEPORT         LA      71129‐4129
HELEN WALKER          43 CHEROKEE RD                                                                                 PONTIAC            MI      48341‐1501
HELEN WALLACE         12385 SANTA ROSA DR                                                                            DETROIT            MI      48204‐1234
HELEN WALLER          828 SANGRIA CT                                                                                 LAWRENCEVILLE      GA      30043‐3426
HELEN WALSH           2635 ALGONQUIN CT NE                                                                           GRAND RAPIDS       MI      49525‐2004
HELEN WALTERS         4800 HARDING STREET                                                                            MIDLAND            MI      48642‐3023
HELEN WARD            G3322 HERRICK ST                                                                               FLINT              MI      48532‐4809
HELEN WARREN          121 N GRAND AVE PMB 31                                                                         GAINESVILLE        TX      76240‐4318
HELEN WASHAM          1013 N MADISON ST APT 1                                                                        WILMINGTON         DE      19801‐1483
HELEN WASHBURN        706 TISDALE AVE                                                                                LANSING            MI      48910‐3384
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HELEN WASHINGTON          2210 W STEWART AVE                                                                              FLINT              MI     48504‐3725
HELEN WASHINGTON          1200 N M ST UNIT 606                                                                            PENSACOLA          FL     32501‐2329
HELEN WASHINGTON          6480 HUNT ST                                                                                    ROMULUS            MI     48174‐4011
HELEN WASHINGTON          1595 TOLIVAR LN SE                                                                              BOGUE CHITTO       MS     39629‐9794
HELEN WASSON              8900 E OGDEN LN                                                                                 FLORAL CITY        FL     34436‐2800
HELEN WASZKIEWICZ         15231 THOMAS AVE                                                                                ALLEN PARK         MI     48101‐1918
HELEN WATERHOUSE          5474 ELIZABETH LAKE RD                                                                          WATERFORD          MI     48327‐2751
HELEN WATKINS             17785 WHITNEY RD APT 503                                                                        STRONGSVILLE       OH     44136‐2445
HELEN WATSON              519 SE 1000TH AVE                                                                               WILBURTON          OK     74578‐8535
HELEN WEAVER              3622 AURORA CT                                                                                  FLINT              MI     48504‐6553
HELEN WEBB                2918 PALESTINE CHURCH RD                                                                        DEXTER             KY     42036‐9449
HELEN WEBSTER             9701 BLUE HORIZON RD                                                                            PRESQUE ISLE       MI     49777‐9088
HELEN WEBSTER             1300 CLEARVIEW DR                                                                               SAINT CHARLES      MO     63303‐3912
HELEN WEGRZYN             12 ROSER ST                                                                                     ROCHESTER          NY     14621‐2336
HELEN WEGRZYN             12 ROSER STREET                                                                                 ROCHESTER          NY     14621‐2336
HELEN WEINGART            244 CENTRAL AVE                                                                                 EDISON             NJ     08817‐3044
HELEN WEIR                6647 LEE ST                                                                                     ARVADA             CO     80004‐2140
HELEN WEISS               945 KENNELY RD UNIT I142                                                                        SAGINAW            MI     48609‐6746
HELEN WELCH               6272 GREEN VIEW CIR 11                                                                          SARASOTA           FL     34231
HELEN WELKER              305                               GARSON AVE                                                    ROCHESTER          NY     14509‐5232
HELEN WELLMAN             PO BOX 124                                                                                      VERMONTVILLE       MI     49096‐0124
HELEN WELLMAN             1819 VILLAGE GREEN BLVD APT 106                                                                 ROCHESTER HILLS    MI     48307‐5696
HELEN WENDERLICH          1270 SHERMAN AVE                  HAMGEN HEALTH CARE CENTRE                                     HAMDEN             CT     06514‐1330
HELEN WENTLER             1716 TAMARACK LN                                                                                JANESVILLE         WI     53545‐0952
HELEN WEST                PO BOX 454                        192 PINE GROVE                                                STONEWALL          LA     71078‐0454
HELEN WEST SZPORKA        PO BOX 131162                                                                                   CARLSBAD           CA     92013‐1162
HELEN WESTMORELAND        107 SO CONNER                                                                                   ODESSA             MO     64076
HELEN WETMORE             1263 ASPEN ST                                                                                   BUNNELL            FL     32110‐4817
HELEN WHISMAN             70 E LONGFELLOW AVE                                                                             PONTIAC            MI     48340‐2742
HELEN WHISNER             84 EASTGATE DR                                                                                  MORGANTOWN         WV     26508‐5935
HELEN WHITAKER            PO BOX 851                                                                                      HILLSIDE            IL    60162‐0851
HELEN WHITE               24640 ORANGELAWN                                                                                DETROIT            MI     48239‐1673
HELEN WHITE               9 BROOKHAVEN DR                                                                                 TROTWOOD           OH     45426‐3156
HELEN WHITEHEAD           1318 MAYAPPLE AVE                                                                               DAYTON             OH     45432‐1510
HELEN WHITEMAN            PO BOX 66                                                                                       BUENA VISTA        PA     15018‐0066
HELEN WHITMILL            110 ERIE ST 825                                                                                 LAPEL              IN     46051
HELEN WHITNEY             8443 N LINDEN RD                                                                                MOUNT MORRIS       MI     48458‐9314
HELEN WICHLACZ            2135 N COURTENAY PKWY APT F148                                                                  MERRITT ISLAND     FL     32953‐4209
HELEN WICK                9942 HUNTERS RDG                                                                                CINCINNATI         OH     45249‐8291
HELEN WIERZBINSKI         35826 DEVILLE DR                                                                                STERLING HTS       MI     48312‐3917
HELEN WIESLAWA GRYZENIA   24471 CUNNINGHAM AVE                                                                            WARREN             MI     48091‐4417
HELEN WIGGS               3 RICHFIELD WAY                                                                                 HILTON HEAD        SC     29926‐2396
                                                                                                                          ISLAND
HELEN WILCOX              34649 BORDMAN RD                                                                                RILEY             MI      48041‐4404
HELEN WILCOX              80 CANNON HILL RD                                                                               PERRYVILLE        AR      72126‐8658
HELEN WILES               1521 FALKE DR                                                                                   DAYTON            OH      45432‐3236
HELEN WILKERSON           PO BOX 534                                                                                      STOCKBRIDGE       GA      30281‐0534
HELEN WILKINS             992 COUNTY ROAD 120                                                                             MOULTON           AL      35650‐7830
HELEN WILLCOXSON          115 GREENE ROAD 704                                                                             PARAGOULD         AR      72450‐9650
HELEN WILLIAMS            2080 CHEVROLET ST                                                                               YPSILANTI         MI      48198‐6234
HELEN WILLIAMS            45422 NORTHPORT DR APT 11309                                                                    MACOMB            MI      45442
HELEN WILLIAMS            6310 PARITY LN                                                                                  DAYTON            OH      45449‐3531
HELEN WILLIAMS            29657 LORAIN RD                                                                                 NORTH OLMSTED     OH      44070‐3913
HELEN WILLIAMS            10079 W FORK RD                                                                                 GEORGETOWN        OH      45121‐8263
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HELEN WILLIAMS         25A HOMESTEAD DR                                                                                      WHITING          NJ     08759‐1932
HELEN WILLIAMS         32 BLAINE AVE                                                                                         BUFFALO          NY     14208‐1057
HELEN WILLIAMS         3216 BRADDOCK ST                                                                                      KETTERING        OH     45420‐1104
HELEN WILLIAMS         205 SUPERIOR ST                                                                                       OAKWOOD          OH     45873‐9648
HELEN WILLIAMS         15437 EVERGREEN RD                                                                                    DETROIT          MI     48223‐1742
HELEN WILLIAMS         2804 S HAMAKER ST                                                                                     MARION           IN     46953‐3529
HELEN WILLIAMS         2714 PARKCHESTER DR                                                                                   ARLINGTON        TX     76015‐1015
HELEN WILLIAMSON       2412 BRIERS DRIVE                                                                                     COLUMBUS         OH     43209‐3301
HELEN WILLINGHAM       785 CLOUD RD                                                                                          MALVERN          AR     72104‐2036
HELEN WILSON           110 CURTIS AVE                                                                                        ALEXANDRIA       TN     37012‐2024
HELEN WILSON           8710 S STATE ROUTE 48                                                                                 LOVELAND         OH     45140‐6614
HELEN WILSON           210 CHANDLER ST                                                                                       VALDOSTA         GA     31601‐3701
HELEN WILSON           195 N SAGE LAKE RD                                                                                    HALE             MI     48739‐9144
HELEN WINANS           259 PERKINSWOOD BLVD NE APT B14   GARFIELD MANOR                                                      WARREN           OH     44483‐4466
HELEN WINCHELL         907 NICOLET ST                                                                                        JANESVILLE       WI     53546‐2416
HELEN WINNICKER        APT 617                           22077 BEECH STREET                                                  DEARBORN         MI     48124‐2850
HELEN WIRPSZA          1206 OCEAN AVE                                                                                        OCEAN CITY       NJ     08226‐3252
HELEN WIRTH            5887 SCHOOL ST BOX 144                                                                                WESTPHALIA       MI     48894
HELEN WISE             PO BOX 216                                                                                            ZALESKI          OH     45698‐0216
HELEN WISEHART         538 S STATE ROAD 234                                                                                  SHIRLEY          IN     47384‐9624
HELEN WITKOP           7250 NAGUIB AMIN ST                                                                                   HICKORY          NC     28602‐9543
HELEN WIXNER           PO BOX 201                                                                                            TWIN ROCKS       PA     15960‐0201
HELEN WOGOMON          402 W NORTH ST                                                                                        ARCANUM          OH     45304‐1018
HELEN WOHLGEMUTH       7650 GREELEY ST APT 110                                                                               UTICA            MI     48317‐5447
HELEN WOIDA            608 HONEYGOLD CT                                                                                      LA CRESCENT      MN     55947‐9675
HELEN WOLF             406 N THOMPSON ST                                                                                     KANSAS CITY      KS     66101‐2936
HELEN WOLF             506 SUNNYWOOD LN                                                                                      CHARLOTTE        NC     28270‐2243
HELEN WOLF             2699 WEHRLE DR                    C/O HARRIS HILL SKILLED NURSING                                     WILLIAMSVILLE    NY     14221‐7332
                                                         FACILITY
HELEN WOLVERTON        105 WILLOW LN                                                                                         ANDERSON        IN      46012‐1025
HELEN WOOD             PO BOX 275                                                                                            WHITEWRIGHT     TX      75491‐0275
HELEN WOOD             817 N CLINTON ST LOT 319                                                                              GRAND LEDGE     MI      48837‐1152
HELEN WOOD             7813 W 91ST ST                                                                                        HICKORY HILLS   IL      60457‐2005
HELEN WOODALL          9165 CHATWELL CLUB LN APT 1                                                                           DAVISON         MI      48423‐2856
HELEN WOODBURY         418 W JEFFERSON ST                                                                                    PETOSKEY        MI      49770‐2264
HELEN WOODLEY          1610 FOREST HILL AVE                                                                                  FLINT           MI      48504‐7336
HELEN WOODS            706 E 12TH ST                                                                                         FLINT           MI      48503‐4083
HELEN WOODS            6001 COUNCIL RING BLVD                                                                                KOKOMO          IN      46902‐5516
HELEN WOODTHROP        3051 VINEYARD LN                                                                                      FLUSHING        MI      48433‐2435
HELEN WOODY            3111 DARNEA LN                                                                                        ELLENTON        FL      34222‐3551
HELEN WORKMAN          1700 CEDARWOOD DR APT 224                                                                             FLUSHING        MI      48433‐3603
HELEN WORLEY           1503 PHILOMENE BLVD                                                                                   LINCOLN PARK    MI      48146‐2316
HELEN WORRELL HOOVER   423 GENETTA DR                                                                                        MIAMISBURG      OH      45342‐3322
HELEN WRIGHT           240 OLD PENIEL RD                                                                                     PALATKA         FL      32177‐8317
HELEN WRIGHT           21491 E 1716 FM                                                                                       TATUM           TX      75691
HELEN WRIGHT           2050 WHITTLESEY ST                                                                                    FLINT           MI      48503‐4349
HELEN WRIGHT
HELEN WRZESINSKI       132 MAPLE ST                                                                                          FRAMINGHAM      MA      01702‐5739
HELEN WUJEK            1905 SHIPMAN BLVD                                                                                     BIRMINGHAM      MI      48009‐4130
HELEN WYNIEMKO         16362 OAK HILL DR                 C/O JAMES V. WYNIEMKO                                               FENTON          MI      48430‐9091
HELEN WYNN             3186 BIG RIDGE RD                                                                                     SPENCERPORT     NY      14559‐9509
HELEN Y HUSCROFT       78 BUCKEYE DRIVE                                                                                      SHARPSVILLE     PA      16150‐8306
HELEN Y SNYDER         5505 LAKEVIEW RD. N.E.                                                                                CORTLAND        OH      44410‐9555
HELEN YABLONSKI        19500 HARMAN ST                                                                                       MELVINDALE      MI      48122‐1608
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HELEN YAGER               195 ADAMS RD                                                                                           SAGINAW           MI     48609‐6802
HELEN YANTZ               5 SUMMER HILL DR                                                                                       BROCKPORT         NY     14420‐1549
HELEN YENCHEK             283 CHESTNUT ST                                                                                        BOUND BROOK       NJ     08805‐1311
HELEN YONCHAK             883 VALLEY VIEW DR                                                                                     BROOKFIELD        OH     44403‐9654
HELEN YOUNCE              290 FLORAWOOD BLVD                                                                                     WATERFORD         MI     48327‐2429
HELEN YOUNG               1716 DONALD STREET                                                                                     FLINT             MI     48505‐4622
HELEN YOUNG               19251 MITCHELL ST                                                                                      DETROIT           MI     48234‐1579
HELEN Z WILSON            121 LIND AVE                                                                                           SYRACUSE          NY     13211‐1820
HELEN ZABONIK             269 E HINMAN AVE                                                                                       COLUMBUS          OH     43207‐1903
HELEN ZAIDAIN             4470 CROSS BOW DR                                                                                      DAYTON            OH     45432‐4009
HELEN ZAJAC               1847 CIMARRON ST                                                                                       AURORA            CO     80011‐4215
HELEN ZAKARAUSKAS         182 HIGHLAND RD RM 123                                                                                 MASSENA           NY     13662
HELEN ZALESKI             22900 CENTER RIDGE RD APT 307                                                                          ROCKY RIVER       OH     44116‐3091
HELEN ZAVAGLIA            28 WAKE ROBIN TER                                                                                      WEST HENRIETTA    NY     14586‐9411
HELEN ZAWISZA             7273 W 130TH ST                                                                                        PARMA             OH     44130‐7814
HELEN ZEILINGER           21 FORDNEY PL                                                                                          HOWELL            MI     48855
HELEN ZELAZNY             546 BUFFINTON COURT NORTHWEST                                                                          CONCORD           NC     28027‐6505
HELEN ZELEK               1301 HEATHER RD                                                                                        HOMEWOOD           IL    60430‐3840
HELEN ZENKER              1954 N ABBE RD                                                                                         FAIRVIEW          MI     48621‐8720
HELEN ZGODA               1125 GEORGE URBAN BLVD BLD5 APT4                                                                       CHEEKTOWAGA       NY     14225
HELEN ZIEGLER             43 CONFORTI AVE APT 17                                                                                 WEST ORANGE       NJ     07052‐2830
HELEN ZIELKE              1687 FLINT RD                                                                                          SAINT HELEN       MI     48656‐9423
HELEN ZIMMERMAN           581 CHASSEUR DR                                                                                        GRAND BLANC       MI     48439‐2310
HELEN ZUBEK               13769 FERDEN RD                                                                                        OAKLEY            MI     48649‐9771
HELEN ZUPKOV              4966 CHAPMAN PARKWAY                                                                                   HAMBURG           NY     14075‐3321
HELEN ZUVIC               211 PARK AVE                                                                                           STEELTON          PA     17113‐2457
HELEN ZVOCH               PO BOX 5122                        C/O DIANE N LOCKWOOD                                                TRAVERSE CITY     MI     49696‐5122
HELEN ZWIERCAN            5037 E VIENNA RD                                                                                       CLIO              MI     48420‐9786
HELEN ZYNGIER             6230 TIMBER VIEW DR                                                                                    EAST LANSING      MI     48823‐9319
HELENA AGOSTINHO          90 HOWARD ST                                                                                           SLEEPY HOLLOW     NY     10591‐2217
HELENA BELAVY             356 PRINCETON DR                                                                                       SOUTH LYON        MI     48178‐2519
HELENA CARTY              23 SYNOTT PL                                                                                           NEWARK            NJ     07106‐2812
HELENA CHEMICAL           ATTN JOHNNY THOMPSON               225 SCHILLING BLVD STE NO 300                                       COLLIERVILLE      TN     38017
HELENA CHEMICAL COMPANY   JOHNNY THOMPSON                    225 SCHILLING BLVD.                                                 COLLIERVILLE      TN     38017
HELENA CHEMICAL COMPANY   225 SCHILLING BLVD STE 300                                                                             COLLIERVILLE      TN     38017‐7177
HELENA COX                1191 VICKERS LAKE DR                                                                                   OCOEE             FL     34761‐2536
HELENA DAVIS              32 OLIVE ST                                                                                            GIRARD            OH     44420‐1845
HELENA DEFORD             809 LINDBERG ROAD                                                                                      ANDERSON          IN     46012‐2627
HELENA DIEHL              6 ALLISON RD                                                                                           ROSELLE           NJ     07203‐2903
HELENA F DAVIS            32 OLIVE ST.                                                                                           GIRARD            OH     44420‐1845
HELENA FAVIRE             248 BERTHOLD AVE                                                                                       RAHWAY            NJ     07065‐1614
HELENA FEW                13259 SOUTH SHORE DRIVE                                                                                STERLING HTS      MI     48312‐6326
HELENA FITZGERALD         7117 OLD ENGLISH RD                                                                                    LOCKPORT          NY     14094‐5408
HELENA FLAMAND            4224 DALLAS AVE APT 7                                                                                  HOLT              MI     48842‐1749
HELENA FREEBORN           5755 KNOX BOULEVARD                                                                                    BROOK PARK        OH     44142‐2321
HELENA GRIVNER            7 GUNNING LANE                                                                                         LANGHORNE         PA     19047‐8535
HELENA HOKINSON           5953 BROADWAY ST APT 119                                                                               LANCASTER         NY     14086‐9574
HELENA HOLMES             8300 SHIELDS DR APT 103                                                                                SAGINAW           MI     48609‐8501
HELENA JANISZEWSKI        1400 E UNIVERSITY DR APT 2216                                                                          DENTON            TX     76209‐2246
HELENA KULFAN             5725 CALHOUN ST                                                                                        DEARBORN          MI     48126‐2235
HELENA LEMMEN             566 PINEVIEW DR                                                                                        HOLLAND           MI     49424‐2720
HELENA LINDEMANN          SOPHIE‐CHARLOTTE‐STR 21                                                       BERLIN GERMANY 14169
HELENA LITTELL            3625 COLUMBUS AVE                                                                                      ANDERSON         IN      46013‐5362
HELENA M FREEBORN         5755 KNOX BOULEVARD                                                                                    BROOK PARK       OH      44142‐2321
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HELENA MACK              55195 JEWELL RD                                                                                SHELBY TWP            MI 48315‐1059
HELENA MAGERMAN          VORSTLAAN 100                                                                                  BRUSSEL                    1170
HELENA MICHALAK          51118 SARAH CT                                                                                 CHESTERFIELD          MI 48047‐3047
HELENA MILLER            PO BOX 175                                                                                     DURANGO               CO 81302‐0175
HELENA MOORE             185 S 9TH ST                                                                                   NEWARK                NJ 07107‐1403
HELENA MORAIS            604 LOOKOUT DR                                                                                 COLUMBIA              TN 38401‐6139
HELENA NAWRAT            321 BEAVER SHORES DR                                                                           LACHINE               MI 49753‐9678
HELENA NOLAN             PO BOX 244                                                                                     MITCHELL              IN 47446‐0244
HELENA PEERA             9435 HARRISON ST                                                                               DES PLAINES            IL 60016‐1542
HELENA PIETRYKOWSKI      853 WAYNE AVE                                                                                  DEFIANCE              OH 43512‐2869
HELENA POTKAN            7121 ADELLE ST                                                                                 FLUSHING              MI 48433‐8818
HELENA POWERS            45 BLAIR ST                                                                                    MOUNT MORRIS          MI 48458‐8869
HELENA SANDERS           117 N. WALLLER ST               APT. C                                                         CHICAGO                IL 60644
HELENA SMITH             16 MAGNOLIA AVENUE                                                                             GLEN BURNIE           MD 21061‐1952
HELENA SNEAD             74 RANGE RD                                                                                    NORTH EAST            MD 21901‐4706
HELENA SOJKA             742 PEAR ST                                                                                    LAWRENCEVILLE         NJ 08648‐4640
HELENA SOKOLOWSKI        PO BOX 202                      C/O WALTER SOKOLOWSKI                                          PIPER CITY             IL 60959‐0202
HELENA SPARKS            473 PATTERSON ST                                                                               FAIRBORN              OH 45324‐3052
HELENA STROBACH          PERALOHSTRASSE 51                                                    81737 MUNICH GERMANY
HELENA SZCZERBINSKI      5251 W BARRY AVE                                                                               CHICAGO              IL   60641‐4937
HELENA SZYMCZAK          1939 E PINCONNING RD                                                                           PINCONNING           MI   48650‐9345
HELENA TARGETT           115 CHESTNUT ST                                                                                SWEDESBORO           NJ   08085‐1222
HELENA TRUCK LINES INC   3215 TULANE RD                  PO BOX 18905                                                   MEMPHIS              TN   38116‐3034
HELENA TWINE             4901 M L KING AVE                                                                              FLINT                MI   48505‐3334
HELENA V KELLY           4537 BUCKTAIL DR                                                                               ALLISON PARK         PA   15101
HELENA WASHINGTON        2528 W SAINT CATHERINE AVE                                                                     PHOENIX              AZ   85041‐5354
HELENA WHITT             4515 MCCLOUD SPRINGS LN                                                                        KNOXVILLE            TN   37938‐3286
HELENA WILK              32336 OAKVIEW DR                                                                               WARREN               MI   48092‐1086
HELENA WITHERSPOON       370 BALDWIN AVE APT 227                                                                        PONTIAC              MI   48342‐1388
HELENA XIN‐RUI LU        OBERER KLINGELBRUNNEN 58                                             70806 KORNWESTHEIM
                                                                                              GERMANY
HELENA YAKUBOWSKI        13300 W HOWARD AVE                                                                             NEW BERLIN           WI   53151‐6004
HELENA, JOHN L           1577 MAJESTIC OAK DR                                                                           APOPKA               FL   32712‐2548
HELENBROOK, ROBERT S     23 HILLSIDE PKWY                                                                               LANCASTER            NY   14086‐1061
HELENE ALSAIDI           16851 SILVERADO DR                                                                             SOUTHGATE            MI   48195‐3929
HELENE ARMSTRONG         PO BOX 6100                     2005 RT 22 W #311                                              BRIDGEWATER          NJ   08807‐0100
HELENE AUBE              33781 RICHLAND ST                                                                              LIVONIA              MI   48150‐2637
HELENE AVEDISIAN         6898 GREENVIEW AVE                                                                             DETROIT              MI   48228‐3497
HELENE BELISLE           31 ANCHORAGE RD                                                                                FRANKLIN             MA   02038‐1551
HELENE BIENIEK           14510 HOERNING AVE                                                                             WARREN               MI   48088‐6040
HELENE BONOMO            52120 WOLCOT CT                                                                                MACOMB               MI   48042‐5695
HELENE BROWN             2230 CLEARWOOD CT                                                                              SHELBY TOWNSHIP      MI   48316‐1014
HELENE BRUNNER           KRONENWEG 20                                                         64720 MICHELSTADT
                                                                                              GERMANY
HELENE BUSE              906 HAGADORN RD                                                                                MASON                MI   48854
HELENE BUSINESS          NATIXIS PRIVATE BANKING         51 AVE JF KENNEDY                    L‐1855 LUXEMBURG EUROPE

HELENE COHEN             29801 WERTHAM CT                                                                               FARMINGTON HILLS     MI   48331‐1774

HELENE ECONOMOU          23024 AVALON ST                                                                                SAINT CLAIR SHORES   MI   48080‐2466

HELENE ESKER             15513 IVY HILL DR                                                                              OKLAHOMA CITY        OK   73170‐9343
HELENE FELDMAN           2660 N FOREST RD APT 120                                                                       GETZVILLE            NY   14068‐1529
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HELENE FIRTHA              6900 N INKSTER RD APT 103E                                                                             DEARBORN HEIGHTS MI 48127‐1815

HELENE FORTIN              1035 RTE BEAULIEU ST                                                        JEAN CHRY QUEBEC G6Z2L1
                                                                                                       CANADA
HELENE FRAY                40 SOUTH ST APT 25                                                                                     BRISTOL            CT   06010‐6525
HELENE FUCHS               105 FRISBEE HILL RD                                                                                    HILTON             NY   14468‐8907
HELENE GAHN                HERRENLEITE 1                                                               96224 BURGKUNSTADT
                                                                                                       GERMAN
HELENE GLASER              3754 BUSCH RD                                                                                          BIRCH RUN          MI   48415‐9081
HELENE GREENBERG           23343 BLUE WATER CIR APT B120                                                                          BOCA RATON         FL   33433‐7074
HELENE HILL                2465 ALAMANDER AVE                                                                                     ENGLEWOOD          FL   34223‐6413
HELENE HUGLEY              2305 WILLOW DR SW                                                                                      WARREN             OH   44485‐3347
HELENE J STERBERG‐ROGOVY   889 BRIARCLIFF CT                                                                                      AKRON              OH   44313
HELENE LAMBERT             1347 W YALE AVE                                                                                        FLINT              MI   48505‐1171
HELENE LENNERT             6261 CROSBY RD                                                                                         LOCKPORT           NY   14094‐7950
HELENE M ALSAIDI           16851 SILVERADO DR                                                                                     SOUTHGATE          MI   48195‐3929
HELENE MARIA KURZ          MOOSBURGSTRASSE 50 EYRS                                                     I‐39023 LAAS BZ ITALY
HELENE NERENBURG           21201 NE 24 CT                                                                                         MIAMI              FL   33180
HELENE NORTHERN            5222 BIG BEND DR                                                                                       DAYTON             OH   45427‐2715
HELENE PEPIN               67 CONSTABLE ST                                                                                        MALONE             NY   12953‐1327
HELENE PIECHOWSKI          47114 ROBINS NEST DR                                                                                   SHELBY TOWNSHIP    MI   48315‐5015
HELENE PIRRAMI             109 S TRANSIT HILL DR                                                                                  DEPEW              NY   14043‐4809
HELENE PUPEL               2523 S PERILLO DR                                                                                      TUCSON             AZ   85710‐7974
HELENE R BROWN             12042 NAPOLI LANE                                                                                      BOYNTON BEACH      FL   33437
HELENE S HUGLEY            2305 WILLOW DR.                                                                                        WARREN             OH   44485‐3347
HELENE SANOFF              22283 MISTY WOODS WY                                                                                   BOCA RATON         FL   33428
HELENE SLEDD               APT 702                          1200 NORTH 75TH PLACE                                                 KANSAS CITY        KS   66112‐2475
HELENE SMITH               101 N ENGLEHART RD                                                                                     DEFORD             MI   48729‐9789
HELENE STEINBRICK          1805 CITRUS ORCHARD WAY                                                                                VALRICO            FL   33594‐4016
HELENE STOCUM              507 ROCKVIEW DR                                                                                        HOLLEY             NY   14470‐9407
HELENE TACHNA              37198 FOX CHASE                                                                                        FARMINGTON HILLS   MI   48331

HELENE UNTERBERGER         GAENSBICHL NR 8                                                             39030 PERCHA ITALY
HELENE WHITE               9101 BLACK CREEK DR                                                                                    BURTON             MI   48519
HELENE WILSON              1751 BROADMOOR ST                                                                                      SARASOTA           FL   34234‐3012
HELENE ZAPATA              2427 BALMORAL ST                                                                                       UNION CITY         CA   94587‐1829
HELENIUS, BURDETTE W       15990 ALGOMA AVE NE                                                                                    CEDAR SPRINGS      MI   49319‐8867
HELENIUS, NANCY L          2700 RUM CREEK DR SE                                                                                   KENTWOOD           MI   49508‐5278
HELENIUS, SIDNEY L         2700 RUM CREEK DR SE                                                                                   KENTWOOD           MI   49508‐5278
HELESKI, CLEMENT R         4001 HUHN CT                                                                                           SHELBY TOWNSHIP    MI   48316‐2248
HELESKI, DENISE M          23044 EGNEW                                                                                            CLINTON TWP        MI   48036
HELESKI, DENISE M          23044 EGNEW DR                                                                                         CLINTON TWP        MI   48036‐1291
HELESKI, JAMES J           4485 FOX PAW TRL                                                                                       SAND POINT         MI   48755‐9673
HELESKI, ROBERT J          16433 FESTIAN DRIVE                                                                                    CLINTON TWP        MI   48035‐2228
HELETTE JOHNSON            279 E BORT ST                                                                                          LONG BEACH         CA   90805‐2234
HELF, ARTHUR C             22541 2ND ST                                                                                           DEFIANCE           OH   43512‐1203
HELF, ARTHUR CLEO          22541 2ND STREET                                                                                       DEFIANCE           OH   43512‐1203
HELF, DIANE L              5064 N STATE ROUTE 66                                                                                  DEFIANCE           OH   43512‐9648
HELF, DONALD E             515 PLEASANT CT                                                                                        NEENAH             WI   54956‐1927
HELFANT RICHARD            HELFANT, RICHARD                 1930 E MARLTON PIKE SUITE Q29                                         CHERRY HILL        NJ   08003
HELFANT, RICHARD           KIMMEL & SILVERMAN PC            1930 E MARLTON PIKE SUITE Q29                                         CHERRY HILL        NJ   08003
HELFENBEIN, ROY W          5090 LIPPINCOTT RD                                                                                     LAPEER             MI   48446‐9709
HELFER, DAVID L            808 YELLOW MILLS RD                                                                                    PALMYRA            NY   14522
HELFER, JAMES              808 YELLOW MILLS RD                                                                                    PALMYRA            NY   14522
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HELFER, JOHN R            838 DIANE DR                                                                                        CINCINNATI          OH     45245‐1106
HELFERS, WAUNITA M        6 SWARTMOOR LANE                                                                                    BELLA VISTA         AR     72714‐1705
HELFERS, WAUNITA M        6 SWARTHMOOR LN                                                                                     BELLA VISTA         AR     72714‐1705
HELFERTY, DANIEL B        2475 W CREEK RD                                                                                     NEWFANE             NY     14108‐9749
HELFINSTINE, BONITA D     1021 BURNELL DR.                                                                                    BEREA               KY     40403‐0403
HELFMAN & MEHR PA         215 5TH ST STE 300                                                                                  WEST PALM BEACH     FL     33401‐4026

HELFMAN, DENNIS J         9670 CHILSON COMMONS CIRCLE     #350                                                                PINCKNEY           MI      48169
HELFMANN, LINDA I         33204 MONTICELLO DR                                                                                 STERLING HEIGHTS   MI      48312‐6716
HELFRECHT JR, ARTHUR C    14300 GRABOWSKI RD                                                                                  SAINT CHARLES      MI      48655‐8726
HELFRECHT, DAVID H        4225 BROOKSTONE DR                                                                                  SAGINAW            MI      48603‐8620
HELFREY, BOBBIE J         5328 OAKBROOK DR                                                                                    FAIRFIELD          OH      45014‐3624
HELFRICH DON (631268)     COON BRENT & ASSOCIATES         2010 S BIG BEND BLVD                                                SAINT LOUIS        MO      63117‐2404
HELFRICH, AUDREY          6021 KETCHUM AVE LOT            20                                                                  NEWFANE            NY      14108‐1050
HELFRICH, BERNICE         11 STABLESTONE DRIVE                                                                                UNION              MO      63084‐4415
HELFRICH, DON             COON BRENT & ASSOCIATES         2010 S BIG BEND BLVD                                                SAINT LOUIS        MO      63117‐2404
HELFRICH, DOUGLAS K       2025 CANYONS RESORT DR APT C3                                                                       PARK CITY          UT      84098
HELFRICH, FRANKLIN G      246 WASHINGTON HWY                                                                                  BUFFALO            NY      14226‐4363
HELFRICH, FRANKLIN GRAM   246 WASHINGTON HWY                                                                                  BUFFALO            NY      14226‐4363
HELFRICH, GEORGE M        7106 ELLICOTT RD                                                                                    LOCKPORT           NY      14094‐9481
HELFRICH, GEORGE R        6021 KETCHUM AVE TRLR 20                                                                            NEWFANE            NY      14108‐1050
HELFRICH, HEIDI M         PO BOX 231                                                                                          LIVONIA            NY      14487‐0231
HELFRICH, HELGA A         873 INVERNESS DRIVE                                                                                 OXFORD             MI      48371‐6507
HELFRICH, JAMES L         10885 HARTEL RD                                                                                     GRAND LEDGE        MI      48837‐9489
HELFRICH, JASON C         1103 PARK CT                                                                                        GRAND LEDGE        MI      48837‐2219
HELFRICH, JEFFREY D       18852 NEWBRIDGE DR                                                                                  MACOMB             MI      48044‐1796
HELFRICH, JEROME C        273 LAST WAGON DR                                                                                   SEDONA             AZ      86336‐3966
HELFRICH, KAREN           2222 TEEL AVE                                                                                       LANSING            MI      48910‐3139
HELFRICH, KENT E          7250 JACKSON PARK DR                                                                                BLOOMFIELD HILLS   MI      48301‐3926
HELFRICH, MARY R          32822 TIMBERWOOD DR                                                                                 LEESBURG           FL      34748‐8138
HELFRICK, FRANCIS G       5584 JUDY CT                                                                                        NEWPORT            MI      48166‐9328
HELFRICK, FRANCIS GENE    5584 JUDY CT                                                                                        NEWPORT            MI      48166‐9328
HELFRICK, HELEN           11458 COMMON RD                                                                                     WARREN             MI      48093‐6508
HELFRICK, LOIS E          3695 MIDDLE URBANA RD APT 212                                                                       SPRINGFIELD        OH      45502‐7888
HELFRICK, SYLVIA S        2004 JACKSON LN                                                                                     HELENA             AL      35080‐7037
HELFRIED FAHJE            SIMROCKSTR. 90                  22589 HAMBURG
HELFRIED FAHJE            SIMROCKSTRASSE 90                                                                                   HAMBURG                    22589
HELFRIED FAHJE            SIMROCKSTR 90                                                              22589 HAMBURG GERMANY
HELFRIED RAPP             2214 N KEARNEY DR                                                                                   SAGINAW             MI     48603‐3413
HELGA WEHRSPOHN           MARTINSTRASSE 19A                                                          D‐40668 MEERBUSCH
                                                                                                     GERMANY
HELGA & LOTHAR BALZER     AN DER BETZ 20                                                             36041 FULDA GERMANY
HELGA ALBRECHT            914 ST RT 95 R 1                                                                                    PERRYSVILLE        OH      44864
HELGA ANSELMENT           GUETERSTRASSE 38                                                           D‐75177 PFORZHEIM
                                                                                                     GERMANY
HELGA BLEHER              2904 FLOYD AVE                                                                                      MODESTO            CA      95355‐9225
HELGA BURGESS             4244 DAMSON DR                                                                                      STERLING HEIGHTS   MI      48314‐3756
HELGA BURRAGE             584 LONG POND RD                                                                                    ROCHESTER          NY      14612‐3041
HELGA DEKOLD              11332 72ND ST                                                                                       BURR RIDGE         IL      60527‐4937
HELGA DORSEY              2638 ARBOR GLEN DR APT 111                                                                          TWINSBURG          OH      44087‐3064
HELGA EDENHOFNER          16 BEACH DR                                                                                         HARWINTON          CT      06791‐1719
HELGA ESCHBACH            C/O DR. KLOKE & KOLLEGEN        BAHNSTRA▀E 1           MARSBERG DE 34431
HELGA ESCHBACH            C/O DR KLOKE & KOLLEGEN         BAHNSTR 1                                  MARSBERG DE 34431
                                                                                                     GERMANY
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HELGA ESCHBACH            TWISTERSTR. 11                      MARSBERG DE 34431
HELGA FALKENHAGEN         LIBLARER STRASSE 2                                                       D 50968 K╓LN GERMANY
HELGA FEUERBACH           LETTOW‐VORBECK‐STR 22                                                    27472 CUXHAVEN GERMANY

HELGA FUCHS               HAUPTSTRASSE 53                     64342 SEEHEIM‐JUGENHEIM
HELGA GUTH                BAHNHOFSTRASSE 29                   31542 BAD NENNDORF
HELGA HADARICS            1475 FLAMINGO DR LOT 300H                                                                          ENGLEWOOD        FL   34224
HELGA HAMILTON            11 DALTONS MOBILE HOME PARK                                                                        BEAR             DE   19701‐1296
HELGA HAUSDORF            STEINHAAGWEG 26A                                                         36381 SCHLUECHTERN
                                                                                                   GERMANY
HELGA HELLRIEGEL          40103 OTERO RD                                                                                     MAGNOLIA         TX   77354‐4405
HELGA HOFFMANN            MAIN‐NECKARBAHN‐STR. 106                                                 68535 EDINGEN‐
                                                                                                   NECKARHAUSEN GERMANY
HELGA HOLZBORN            BGM ‐ KAISEN ‐ ALLEE 155                                                 28357 BREMEN, GERMANY
HELGA HOUSTON             3126 JEFFERSON AVE SE                                                                              GRAND RAPIDS     MI   49548‐1269
HELGA JUDEX               BGM BOHMER STR 6                                                         96264 ALTENLUNSTADT
                                                                                                   GERMANY
HELGA JUENGER             4156 N AMECHE TER                                                                                  BEVERLY HILLS    FL   34465‐4772
HELGA KAKUSCHKE           AM LOEKEN 79                                                             RATINGEN 40885 GERMANY
HELGA KAKUSCHKE           AM LOEKEN 79                        40885 RATINGEN
HELGA KRETSCHMANN         HERWEGHSTR. 82                      D‐ 15732 SCHULZENDORF
HELGA LAMB                5110 PERSIMMON TRL                                                                                 CLIO             MI   48420‐8278
HELGA LENTNER             1 HARLAN CT                                                                                        FRANKENMUTH      MI   48734‐1422
HELGA LUNGEN              TRIERER STR 36‐38                                                        D‐53115 BONN GERMANY
HELGA MARKWAT             AM BUCHRAIN 5                                                            63322 ROEDERMARK,
                                                                                                   GERMANY
HELGA MEIER               HERZOG‐JOHANN‐STR. 48
HELGA METZER              WEINBERGSTRASSE 101                 694269 WEINHEIM
HELGA METZER              WEINBERGSTRASSE 101                 69469 WEINHEIM
HELGA MOBLEY              3464 E COUNTY ROAD 200 SOUTH                                                                       DANVILLE         IN   46122‐8568
HELGA NIWA                15234 KINGSBURY ST                                                                                 MISSION HILLS    CA   91345‐2028
HELGA NOWYORKAS           G‐4065 S. GENESEE RD.                                                                              GRAND BLANC      MI   48439
HELGA NUBER               ZELLER STR 8                                                             D‐86368 GERSTHOFEN
                                                                                                   GERMANY
HELGA PENDALL             25 LYNDALE CT                                                                                      EAST SYRACUSE    NY   13057‐1619
HELGA PLINKE              SIEMENSSTR 45A                                                           12247 BERLIN GERMANY
HELGA PLINKE              SIEMENSSTRASSE 45A                  12247 BERLIN
HELGA REED                680 DORIS JANE AVE                                                                                 FAIRFIELD       OH    45014‐2713
HELGA RIX                 MEMELSTRASSE 3                                                           90453 NURNBERG GERMANY

HELGA ROMMEL              IN DER GAENSELACHE 1                50259 PULHEIM
HELGA ROMMEL              IN DER GAENSELACHE 1                                                     50259 PULHEIM GERMANY
HELGA SAUNDERS            521 N 1420 E                                                                                       LOGAN            UT   84321‐4371
HELGA SC                  POTHMANNSWEG 65                     46047 OBERHAUSEN
HELGA SCHMIDT             POTHMANNSWEG 65                                                                                    OBERHAUSEN
HELGA SCHMIDT             POTHMANNSWEG 65                     46047 OBERHAUSEN
HELGA SCHUNTER            12140 COLDWATER RD                                                                                 FLUSHING         MI   48433‐3401
HELGA SIMMET              TRAUNSTRA▀E 4                                                            83026 ROSENHEIM GERMANY

HELGA STEGGERS            FRIEDRICHSWALL 39                                                        45276 ESSEN GERMANY
HELGA TRAPP‐SCHWEMMER     DR STEINHUBEL & V BUTTLAR           LOEFFELSTRASSE 44                    70597 STUTTGART GERMANY
                          RECHTSEANWALTE
HELGA TRAVERSA            B 11 SURREY LANE                                                                                   TORRINGTON       CT   06790
HELGA UND LOTHAR BALZER   AN DER BETZ 20                                                                                     FULDA                 36041
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HELGA UND LOTHAR BALZER      AN DER BETZ 20                  36041 FULDA
HELGA UND MANFRED SEIDLER    FREIHERR‐VOM‐STEIN‐STRASSE 9    63329 EGELSBACH
HELGA UND MANFRED SEIDLER    FREIHERR‐VOM‐STEIN‐STRASSE 9                                                            63329 EGELSBACH GERMANY

HELGA VANCE                  17801 N 150 E                                                                                                     EATON             IN   47338
HELGA WILLARD                15 GREENBRIER RD                                                                                                  GREEN BROOK       NJ   08812‐2018
HELGA ZIEGLER                WARNER NORCROSS & JUDD LLP      2000 TOWN CENTER, SUITE 2700                                                      SOUTHFIELD        MI   48075
HELGE KARSTENS               BREITE STRASSE 16                                                                       18055 ROSTOCK GERMANY
HELGE KARSTENS               BREITE STRASSE 16               18055 ROSTOCK                  GERMANY
HELGE KNUUTI                 G3221 KLEINPELL ST                                                                                                BURTON           MI    48529‐1080
HELGE NABER                  300 CENTRAL AVENUE              SUITE 320                                                                         GREAT FALLS      MT    59401
HELGE SWEE                   84 CHATTERTON PKWY                                                                                                WHITE PLAINS     NY    10606‐1801
HELGE, MARY ANN              67 TEXAS RD                                                                                                       MONROE TWP.      NJ    08831‐9655
HELGE‐CHRISTIAN SCHMITT      JENNISGASSE 5                                                                           DONAUW╓RTH DE 86609
HELGEMO, TIMOTHY M           9821 AVONLEA ST                                                                                                   WHITE LAKE        MI   48386‐2803
HELGEN ROEVENICH             ERNST‐BRUCH‐ZEILE 38            F▄R FRAU RUTH ROEVENICH        IN MOENCHENGLADBACH                                BERLIN                 13591
HELGEN ROEVENICH             ERNST‐BRUCH‐ZEILE 38            FUER FRAU RUTH ROEVENICH       IN MOENCHENGLADBACH                                BERLIN                 13591
HELGEN ROEVENICH             ERNST‐BRUCH‐ZEILE 38            ++49303665150                  INFO@MEINZUHAUSE24.COM                             BERLIN                 13591

HELGEN ROEVENICH             ERNST‐BRUCH‐ZEILE 38            TELEPHONE: ++49303665150       E‐MAIL:                                            BERLIN                 13591
                                                                                            INFO@MEINZUHAUSE24.COM

HELGEN ROEVENICH             ERNST‐BRUCH‐ZEILE 38                                           E‐MAIL:                TELEPHONE: ++49303665150    BERLIN                 13591
                                                                                            INFO@MEINZUHAUSE24.COM

HELGEN R╓VENICH              ERNST‐BRUCH‐ZEILE 38                                                                                              BERLIN                 13591
HELGERSEN, WILLIAM A         11617 N BRIGHTWAY DR                                                                                              MOKENA            IL   60448‐1411
HELGERSON, DANNA R           545 WILLIAMS ST                                                                                                   JANESVILLE        WI   53545‐2453
HELGESEN PETER               3709 N TUTTLE RD                                                                                                  EVANSVILLE        WI   53536‐9434
HELGESEN PROPERTIES INC      2833 MILTON AVE                                                                                                   JANESVILLE        WI   53545
HELGESEN, NEIL D             172 SHADY OAKS DR                                                                                                 MINERAL WELLS     TX   76067‐1601
HELGESON ALFRED M (439124)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                       NORFOLK           VA   23510
                                                             STREET, SUITE 600
HELGESON, ALFRED M           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                       NORFOLK           VA   23510‐2212
                                                             STREET, SUITE 600
HELGESON, DOROTHY I          710 LA MAR DRIVE                                                                                                  MILTON           WI    53563‐1026
HELGESON, DOROTHY I          710 LAMAR DR                                                                                                      MILTON           WI    53563‐1026
HELGESON, GARY D             8940 MONROE RD APT F5                                                                                             DURAND           MI    48429‐1082
HELGESON, HARRY E            4570 NW 35TH ST                                                                                                   OCALA            FL    34482‐8347
HELGESON, JAMES E            662 SKYVIEW DR                                                                                                    MILTON           WI    53563‐1657
HELGESON, LEROY V            8566 E MILLER RD                                                                                                  DURAND           MI    48429‐9434
HELGESON, LESTER B           4134 N MILTON SHOPIERE RD                                                                                         MILTON           WI    53563‐8686
HELGESON, MARJORIE K         W3082 STATE ROAD 16                                                                                               WEST SALEM       WI    54669‐9035
HELGESON, TIM                5350 E LITTLE TURTLE TRL                                                                                          COLUMBIA CITY    IN    46725‐8833
HELGET, CAROL                2750 183RD LN NW                                                                                                  CEDAR            MN    55011‐9320
HELGREN, MARY E              12546 ROUND ROBIN CT                                                                                              SAINT LOUIS      MO    63146‐3864
HELIAS JR, CLIFFORD J        1628 FARNSWORTH RD                                                                                                LAPEER           MI    48446‐8600
HELIAS, FRANKIE J            PO BOX 562                                                                                                        MOUNT MORRIS     MI    48458‐0562
HELIAS, JEAN P               124 S VAN RD                                                                                                      HOLLY            MI    48442‐9476
HELICAL DYNAMICS INC         6450 WESTCHESTER CIR                                                                                              MINNEAPOLIS      MN    55427‐4956
HELICAL DYNAMICS INC         3600 HOLLY LN N STE 10                                                                                            MINNEAPOLIS      MN    55447‐1286
HELIER SOSA                  117 38TH ST                                                                                                       UNION CITY       NJ    07087‐6017
HELIK, STEPHAN               1109 CORNERSTONE DR                                                                                               CORPUS CHRISTI   TX    78418‐4533
HELIKE, DAVID L              DALEY ROBERT                    707 GRANT ST STE 2500                                                             PITTSBURGH       PA    15219‐1945
                                    09-50026-mg              Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
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Name                                Address1                             Address2                         Address3               Address4                     City             State Zip
HELIKER, WILLIAM R                  2508 SURREY DR                                                                                                            HARRISON          MI 48625‐9080
HELIN ALBERT                        NO ADVERSE PARTY
HELIN, ALBERT L                     2215 BURNSIDE RD                                                                                                          NORTH BRANCH     MI    48461‐9626
HELINE, BRUCE W                     2846 N LAKE GEORGE RD                                                                                                     METAMORA         MI    48455‐9260
HELINE, GENE A                      3700 MAYBEE RD                                                                                                            ORION            MI    48359‐1414
HELINSKI, FREDA L                   208 TIMBER GROVE RD                                                                                                       REISTERSTOWN     MD    21136‐3723
HELINSKI, LOTTIE                    436 NORTH AVENUE                                                                                                          NORTH            NY    14120‐1724
                                                                                                                                                              TONAWANDA
HELINSKI, LOTTIE                    436 NORTH AVE                                                                                                             NORTH            NY    14120‐1724
                                                                                                                                                              TONAWANDA
HELINSKI, THOMAS R                  95 MONTFORT DR                                                                                                            CHEEKTOWAGA      NY    14225‐1337
HELIO COIFMAN
HELIO PRECISION PRODUCTS INC        601 N SKOKIE HWY                                                                                                          LAKE BLUFF       IL    60044
HELIO PRECISION PRODUCTS INC        ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 822335                                                                        PHILADELPHIA     PA    19182‐2335
                                    AGENT
HELIO PRECISION PRODUCTS INC        HELIO PRECISION PRODUCTS             SARAH MCCAULEY                   601 NORTH SKOKIE HWY                                LAKE BLUFF        IL   60044
                                    INCORPORATED
HELIODORO CARDENAS                  1017 VALLEY BRANCH DR                                                                                                     ARLINGTON         TX   76001‐7879
HELIOS SOFTWARE SOLUTIONS           SEVEN ACRE FARMHOUSE HIGHER RD       LONGRIDGE PR3 2TW                                       UNITED KINGDOM GREAT
                                                                                                                                 BRITAIN
HELISEK, DONALD                     5871 DANIELLE CT                                                                                                          PAHRUMP          NV    89061‐7567
HELIX AUTO CARE                     4654 AVOCADO BLVD                                                                                                         LA MESA          CA    91941‐7134
HELKA, BRIAN DAVID                  28333 GREENBRIAR WAY                                                                                                      BROWNSTOWN TWP   MI    48183‐5014

HELKA, DAN J                        1203 GILMAN ST                                                                                                            GARDEN CITY      MI    48135‐3075
HELKA, DAVID L                      32067 COVINGTON RD                                                                                                        ROCKWOOD         MI    48173‐9652
HELKA, RICHARD J                    125 KENOSHA LN                                                                                                            LOUDON           TN    37774‐3173
HELKE ZIPF                          PICCAVER STRASSE 2                                                                           D‐69502 HEMSBACH
                                                                                                                                 GERMANY
HELKE ZIPF                          PILLAUER STRASSE 2                                                                           D‐69502 HEMSBACH
                                                                                                                                 GERMANY
HELKE, HOWARD W                     585 NORTH STATE ROUTE 741                                                                                                 LEBANON          OH    45036‐8840
HELKE, JEFFREY L                    1143 S DIXIE DR                                                                                                           VANDALIA         OH    45377‐2735
HELKE, JON D                        1143 S DIXIE DR                                                                                                           VANDALIA         OH    45377‐2735
HELKE, NANCY                        1143 S DIXIE DR                                                                                                           VANDALIA         OH    45377‐2735
HELKE, NANCY                        1143 DIXIE DR S                                                                                                           VANDALIA         OH    45377‐2735
HELKER, GERALD C                    6526 PALMETTO CT                                                                                                          DAYTON           OH    45459‐2800
HELKER, LUCILLE K                   6526 PALMETTO CT                                                                                                          DAYTON           OH    45459‐2800
HELKO, LARRY L                      7491 WISE ST                                                                                                              SWARTZ CREEK     MI    48473‐9110
HELL MARGARET (660897)              BIFFERATO GENTILOTTI & BIDEN         PO BOX 2165                                                                          WILMINGTON       DE    19899‐2165
HELL, MARGARET                      BIFFERATO GENTILOTTI & BIDEN         PO BOX 2165                                                                          WILMINGTON       DE    19899‐2165
HELLA DISTRIBUTION GMBH             JOHN GALLMEYER                       HELLA DISTRIBUTION               OVERHAGENER WEG 14     FABBRICO ITALY
HELLA DISTRIBUTION GMBH             KATHY TOMEY                          HELLA DISTRIBUTION                                                                   PLYMOUTH         MI    48170
HELLA ELEC/FLORA                    1101 VINCENNES AVE                                                                                                        FLORA            IL    62839‐3440
HELLA ELECTONICS CORPORATION (AE)   BOB WILSON                           43811 PLYMOUTH OAKS BLVD                                                             PLYMOUTH         MI    48170‐2539

HELLA ELECTRONICS CORP              1101 VINCENNES AVE                                                                                                        FLORA            IL    62839‐3440
HELLA ELECTRONICS CORP              43811 PLYMOUTH OAKS BLVD                                                                                                  PLYMOUTH         MI    48170‐2539
HELLA ELECTRONICS CORP              KATHY TOMEY                          1101 VINCENNES ‐ P.O. BOX 1499                          CHIHAUHUA CH 31090
                                                                                                                                 MEXICO
HELLA ELECTRONICS CORP              KATHY TOMEY                          PO BOX 1499                                             FLORA, IL MEXICO
HELLA ELECTRONICS CORP              PO BOX 398                                                                                                                FLORA            IL    62839‐0398
HELLA ELECTRONICS CORPORATION       2701 TROY CENTER DRIVE                                                                                                    TROY             MI    48084
HELLA ELECTRONICS MEXICO SA DE      KATHY TOMEY                                                                                                               PLYMOUTH         MI    48170
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Name                                Address1                           Address2                         Address3                   Address4                     City               State Zip
HELLA ELECTRONICS MEXICO SA DE      KATHY TOMEY                        AV ING ANTONIO GUTIERREZ                                    SAN JOSE ITURBIDE GJ 37980
                                                                                                                                   MEXICO
HELLA ELECTRONICS MEXICO SA DE CV   AV ING ANTONIO GUTIERREZ                                                                       SAN JOSE ITURBIDE GJ 37980
                                                                                                                                   MEXICO
HELLA ELECTRONICS MEXICO SA DE CV   AV ING ANTONIO GUTIERREZ           CORTINA NO 16 COL PARQUE                                    SAN JOSE ITURBIDE GJ 37980
                                                                       OPCION                                                      MEXICO
HELLA INC                           PO BOX 2665                                                                                                                 PEACHTREE CITY     GA    30269‐0665
HELLA INNENLEUCHTEN‐SYSTEME GM      KUNO PETER                         MAIENB╒HLSTR. 7                                             RAMOZ ARIZPE C, Z 25903
                                                                                                                                   MEXICO
HELLA INNENLEUCHTEN‐SYSTEME GM      MAIENBUHLSTRASSE 7                                                                             WEMBACH BW 79677
                                                                                                                                   GERMANY
HELLA INNENLEUCHTEN‐SYSTEME GMBH    MAIENBUHLSTRASSE 7                                                                             WEMBACH, BW 79677
                                                                                                                                   GERMANY
HELLA KG HUECK & CO                 BECKUMER STR 130                                                                               LIPPSTADT NW 59555
                                                                                                                                   GERMANY
HELLA KG HUECK & CO                 ERMELINGHOFSTR 19                                                                              HAMM NW 59075 GERMANY

HELLA KG HUECK & CO                 WUPPERSTR 5                        45663 RECKLINGHAUSEN NORDHEIN‐                              WESTFALEN GERMANY
                                                                                                                                   GERMANY
HELLA KGA & HUECK & CO.             RIXBECKEN SH. 75                                                                               LIPPSTADT, GE 59552
                                                                                                                                   GERMANY
HELLA KGAA HUECK & CO               RIXBECKER STR 75                                                                               LIPPSTRADT NW 59552
                                                                                                                                   GERMANY
HELLA KGAA HUECK & CO               TED GROHS                          43811 PLYMOUTH OAKS BLVD                                                                 PLYMOUTH            MI   48170
HELLA KGAA HUECK & CO                                                  RIXBECKER STR 75                                            LIPPSTRADT,NW,59552,GERM
                                                                                                                                   ANY
HELLA KGAA HUECK & CO               KM 10.5 CARR AL CASTILLO                                                                       EL SALTO JA 45680 MEXICO
HELLA KGAA HUECK & CO               KUNO PETER                         MAIENB╒HLSTR. 7                                             RAMOZ ARIZPE C Z 25903
HELLA KGAA HUECK & CO               RIXBECKER STR 75                   LIPPSTRADT NW 59552                                         GERMANY
HELLA KGAA HUECK & CO               1101 VINCENNES AVE                                                                                                          FLORA               IL   62839‐3440
HELLA KGAA HUECK & CO               MAIENBUHLSTRASSE 7                                                                             WEMBACH BW 79677
                                                                                                                                   GERMANY
HELLA KGAA HUECK & CO               NICOLE MUELLER                     HELLA KG HUECK & CO.             81‐83 BEN LOMOND                                        EAST SAINT LOUIS    IL   62207
HELLA KGAA HUECK & CO               NO 411 JIANYE RD PUDONG NEW AREA                                                               SHANGHAI 201201 CHINA
                                                                                                                                   (PEOPLE'S REP)
HELLA KGAA HUECK & CO               POLIGONO INDUSTRIAL LOS FRAILES    PARCELA 101                                                 DAGANZO DE ARRIBA MADRID
                                                                                                                                   28814 SPAIN
HELLA KGAA HUECK & CO               AV ING ANTONIO GUTIERREZ           CORTINA NO 16 COL PARQUE                                    SAN JOSE ITURBIDE GJ 37980
                                                                       OPCION                                                      MEXICO
HELLA KGAA HUECK & CO               BECKUMER STR 130                                                                               LIPPSTADT NW 59555
                                                                                                                                   GERMANY
HELLA KGAA HUECK & CO               ERMELINGHOFSTR 19                                                                              HAMM NW 59075 GERMANY

HELLA KGAA HUECK & CO               CUMBRES DE ACULTZINGO 202          FRACC LOS PIRULES                                           TLALNEPANTLA EM 54040
                                                                                                                                   MEXICO
HELLA KGAA HUECK & CO               JOHN GALLMEYER                     HELLA DISTRIBUTION               OVERHAGENER WEG 14         FABBRICO ITALY
HELLA KGAA HUECK & CO               KATHY TOMEY                        1101 VINCENNES ‐ P.O. BOX 1499                                                           FLORA               IL   62839
HELLA KGAA HUECK & CO               KATHY TOMEY                        AV ING ANTONIO GUTIERREZ                                    SAN JOSE ITURBIDE GJ 37980
                                                                                                                                   MEXICO
HELLA KGAA HUECK & CO               LEONARD FEINGOLD                   7979 PARK PLACE                                                                          BEREA              OH    44017
HELLA KGAA HUECK & CO               LEONARD FEINGOLD                   AV TEJOCOTES S/N                 FRACC LOGISTICO AGAVE      SAN MARTIN OBISPO CI 54769
                                                                                                                                   MEXICO
HELLA KGAA HUECK & CO               LEONARD FEINGOLD                   PLANTA PRODUCTIVA ‐ EL SALTO     KM 10.5 CARR AL CASTILLO   EL SALTO JA 45680 MEXICO
HELLA KGAA HUECK & CO               KATHY TOMEY                        PO BOX 1499                                                                              FLORA               IL
                                    09-50026-mg               Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
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Name                                Address1                           Address2                      Address3           Address4                     City               State Zip
HELLA KGAA HUECK & CO
HELLA KGAA HUECK & CO               17 LETALISKA CESTA                                                                  LJUBLJANA SI 1001 SLOVENIA

HELLA KGAA HUECK & CO               43811 PLYMOUTH OAKS BLVD                                                                                         PLYMOUTH            MI   48170‐2539
HELLA KGAA HUECK & CO               7979 PARK PLACE RD                                                                                               YORK                SC   29745‐7476
HELLA KGAA HUECK & CO               AV ING ANTONIO GUTIERREZ                                                            SAN JOSE ITURBIDE GJ 37980
                                                                                                                        MEXICO
HELLA LIGHTING                      42811 PLYMOUTH OAKS BLVD.                                                                                        PLYMOUTH           MI    48170
HELLA LIGHTING CORP                 7979 PARK PLACE RD                                                                                               YORK               SC    29745‐7476
HELLA LIGHTING CORP.                43811 PLYMOUTH OAKS BLVD                                                                                         PLYMOUTH           MI    48170‐2539
HELLA LIGHTING CORPORATION          LEONARD FEINGOLD                   7979 PARK PLACE                                                               BEREA              OH    44017
HELLA LIGHTING CORPORATION          7979 PARK PLACE RD                                                                                               YORK               SC    29745‐7476
HELLA NORTH AMERICA, INC            43811 PLYMOUTH OAKS BLVD                                                                                         PLYMOUTH           MI    48170‐2539
HELLA SATURNUS SLOVENIJA DOO        17 LETALISKA CESTA                                                                  LJUBLJANA SI 1001 SLOVENIA

HELLA SATURNUS SLOVENIJA DOO        LETALISKA CESTA 17 1000            LJUBLJANA                                        SLOVENIJA SLOVENIA
HELLA SHANGHAI ELECTRONICS          411 JIAN YE ROAD                                                                    PUDONG, SHANGHAI PR
                                                                                                                        201201 CHINA
HELLA SHANGHAI ELECTRONICS CO       ASTRID BOTTCHER                    PHONE# 86 21 6160‐7819                           LIPPSTADT, CH INA CHINA
HELLA SHANGHAI ELECTRONICS CO LTD   NO 411 JIANYE RD PUDONG NEW AREA                                                    SHANGHAI CN 201201 CHINA
                                                                                                                        (PEOPLE'S REP)
HELLA, ROY E                        1002 SUNSET DR                                                                                                   TECUMSEH            MI   49286‐1240
HELLA‐NEW ZEALAND                   NICOLE MUELLER                     HELLA KG HUECK & CO.          81‐83 BEN LOMOND                                EAST SAINT LOUIS    IL   62207
HELLA‐NEW ZEALAND LTD               BRYAN WILD                                                                          AUCKLAND, N EW ZE NEW
                                                                                                                        ZEALAND
HELLA/GERMANY                       RIXBECKEN SH. 75                   DEPT GH‐OES2                                     LIPPSTADT GE 59552
                                                                                                                        GERMANY
HELLA/PLYMOUTH                      43811 PLYMOUTH OAKS BLVD           ATTN: LEONARD FEINGOLD                                                        PLYMOUTH           MI    48170‐2539
HELLAMS JR, ROYCE A                 4541 LOST MOUNTAIN DR                                                                                            POWDER SPRINGS     GA    30127‐1011
HELLAMS MACK (ESTATE OF) (662159)   BIFFERATO GENTILOTTI & BIDEN       PO BOX 2165                                                                   WILMINGTON         DE    19899‐2165
HELLAMS, MACK                       BIFFERATO GENTILOTTI & BIDEN       PO BOX 2165                                                                   WILMINGTON         DE    19899‐2165
HELLAMS, SAMMIE L                   23640 CHURCH ST                                                                                                  OAK PARK           MI    48237‐1955
HELLAN, JUNE A                      66701 HARVEST RDG                                                                                                WASHINGTON         MI    48095‐1955
                                                                                                                                                     TOWNSHIP
HELLAND ORVILLE L (439125)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK             VA   23510
                                                                       STREET, SUITE 600
HELLAND, ORVILLE L                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK             VA   23510‐2212
                                                                       STREET, SUITE 600
HELLAND, ROBERT W                   607 THOMAS ST                                                                                                    JANESVILLE          WI   53545‐2451
HELLAND, WAYNE E                    3575 WHITE CREEK RD                                                                                              KINGSTON            MI   48741‐9735
HELLAND‐BURNS, LINDA M              1796 E 1100 N                                                                                                    ROANOKE             IN   46783‐9422
HELLANE JAMES V (481785)            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK             VA   23510
                                                                       STREET, SUITE 600
HELLANE, JAMES V                    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK             VA   23510‐2212
                                                                       STREET, SUITE 600
HELLANE, JOSEPH G                   1524 SHERMAN AVE                                                                                                 HAGERSTOWN         MD    21740‐7167
HELLANE, JOSEPH GLENN               1524 SHERMAN AVE                                                                                                 HAGERSTOWN         MD    21740‐7167
HELLAR, LANCE W                     12080 FORDLINE ST                                                                                                SOUTHGATE          MI    48195‐2302
HELLARD, CARRIE J                   4941 CONCORDIA CIRCLE                                                                                            KETTERING          OH    45440‐2111
HELLARD, DEBBIE A                   UPPR                               11085 PROVIDENCE PIKE                                                         BROOKVILLE         OH    45309‐9410
HELLARD, IRENE E                    4725 REAN MEADOW DRIVE                                                                                           KETTERING          OH    45440‐2028
HELLARD, KAREN S                    2648 PARKLAWN DR APT 3                                                                                           KETTERING          OH    45440‐1249
HELLARD, PATSY A                    4721 REAN MEADOW DR                                                                                              DAYTON             OH    45440‐2028
HELLARD, TINA M                     1 OAK AVE                                                                                                        TRENTON            OH    45067‐1828
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Name                              Address1                       Address2                        Address3   Address4               City               State Zip
HELLBERG, BARBARA A               8181 3 MILE RD NE                                                                                ADA                 MI 49301‐9714
HELLDOERFER MATTHEW (ESTATE OF)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD          OH 44067
(489085)                                                         PROFESSIONAL BLDG
HELLE JOE                         HELLE, JOE                     36 BENNETT DRIVE LOT 36                                           MT CARROLL         IL   61053
HELLE, EDWARD M                   2317 W RANDOLPH ST                                                                               VANDALIA           IL   62471‐1949
HELLE, EDWARD M                   2317 WEST RANDOLPH STREET                                                                        VANDALIA           IL   62471‐1949
HELLE, JOE                        36 BENNETT DRIVE LOT 36                                                                          MT CARROLL         IL   61053
HELLE, ROBERT P                   320 CIMARRON TRL                                                                                 AFTON              TN   37616‐5464
HELLEBUSCH TOOL & DIE INC         4 SOUTHLINK DR                                                                                   WASHINGTON         MO   63090‐1111
HELLEBUYCK, EDWARD J              1016 HARDING RD                                                                                  ESSEXVILLE         MI   48732‐1754
HELLEBUYCK, ELMER F               2341 N VANBURN RD RT‐1                                                                           FAIRGROVE          MI   48733
HELLEBUYCK, FELIX                 8494 DUTCHER RD                                                                                  FAIRGROVE          MI   48733‐9728
HELLEBUYCK, FRANK W               54910 STARDUST CT                                                                                SHELBY TOWNSHIP    MI   48316‐1662
HELLEBUYCK, HOPE MARY             27313 PRINCETON                                                                                  ST CLAIR SHORES    MI   48081‐1718
HELLEBUYCK, KENNETH A             3745 HIGH GROVE WAY                                                                              LAKE ORION         MI   48360‐1573
HELLEBUYCK, LOIS A                886 N YORK DRIVE APT #4                                                                          ESSEXVILLE         MI   48732‐1862
HELLEBUYCK, LOIS A                886 N YORK DR APT 4                                                                              ESSEXVILLE         MI   48732‐1862
HELLEBUYCK, VIRGIL J              8818 DUTCHER RD ROUTE 1                                                                          FAIRGROVE          MI   48733
HELLEBUYCK, WILLIAM F             229 S FINN RD                                                                                    MUNGER             MI   48747‐9720
HELLEIS, GEORGE                   2305 MELLOWOOD DR                                                                                STERLING HTS       MI   48310‐2344
HELLEIS, LINDA A                  2628 GOOSE CREEK BYP                                                                             FRANKLIN           TN   37064‐1200
HELLEIS, RICHARD B                2628 GOOSE CREEK BYP                                                                             FRANKLIN           TN   37064‐1200
HELLEM'S AUTO REPAIR              3876 MALLOW RD                                                                                   COLORADO SPRINGS   CO   80907‐4455

HELLEMEYER, JERALD A              19429 QUARRY RD                                                                                  WARRENTON          MO   63383‐7265
HELLEMS, BEVERLY J                183 WELLINGTON PKWY                                                                              NOBLESVILLE        IN   46060‐4211
HELLEMS, DOUGLAS K                3418 HAROLD ST                                                                                   LANSING            MI   48910‐4411
HELLEMS, JANET C                  32121 FAIRCHILD                                                                                  WESTLAND           MI   48186‐4909
HELLEMS, MARY KAY                 1742 CLASSEN BLVD APT 1                                                                          MORMAN             OK   73071
HELLEMS, SPENCER T                1742 CLASSEN BLVD APT 1                                                                          NORMAN             OK   73071‐4683
HELLEMS, STEPHEN L                1451 W 300 N                                                                                     ANDERSON           IN   46011‐9265
HELLEMS, STEPHEN LEE              1451 W 300 N                                                                                     ANDERSON           IN   46011‐9265
HELLEN CALKINS                    1541 MONTERAY ST                                                                                 FLINT              MI   48503‐3569
HELLEN CROSS                      919 WHISPERWOOD DR                                                                               FENTON             MI   48430‐2280
HELLEN DASH                       7670 E 196TH ST                                                                                  NOBLESVILLE        IN   46062‐9542
HELLEN HARDESTY                   21025 ROAD 178                                                                                   OAKWOOD            OH   45873‐9004
HELLEN KELLER SERVICES FOR THE    141 MIDDLE NECK RD                                                                               SANDS POINT        NY   11050‐1218
HELLEN LORENCZ                    601 N CEDAR ST APT 116                                                                           LANSING            MI   48912‐1269
HELLEN ROBERTS                    PO BOX 1052                                                                                      WARSAW             KY   41095
HELLEN ROBINSON                   8600 GARNET DR                                                                                   CENTERVILLE        OH   45458‐3207
HELLEN SELVIAN                    APT 301                        444 SOUTH HIGLEY ROAD                                             MESA               AZ   85206‐2174
HELLENA WALTER                    11301 OLDE CEDAR CT            C/O JOYCE M SIMONE                                                DAVIDSON           NC   28036‐7731
HELLENBERG ARNOLD W (629556)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510
                                                                 STREET, SUITE 600
HELLENBERG, ARNOLD W              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510‐2212
                                                                 STREET, SUITE 600
HELLENBERG, DONALD E              9575 SYRACUSE AVE                                                                                CLARKSTON          MI   48348‐3150
HELLENBRAND, KATHY A              1000 FRANCIS ST                                                                                  STEVENS POINT      WI   54481
HELLENBRAND, RICHARD S            1205 JOLIET ST                                                                                   JANESVILLE         WI   53546‐5887
HELLENTHAL, MARY L                55350 BROUGHTON RD                                                                               MT CLEMENS         MI   48044‐9442
HELLER CAROL A                    HELLER, CAROL A                381 BROADWAY SUITE 300                                            WESTWOOD           NJ   07675
HELLER CAROL A                    HELLER, FRED                   381 BROADWAY SUITE 300                                            WESTWOOD           NJ   07675
HELLER CHEVROLET, INC.            DANIEL HELLER                  510 HOSELTON DR                                                   CHENOA             IL   61726‐8718
HELLER CHEVROLET, INC.            510 HOSELTON DR                                                                                  CHENOA             IL   61726‐8718
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Name                                Address1                             Address2                         Address3                     Address4                 City            State Zip
HELLER EHRMAN LLP                   FILE NO 73536                        333 BUSH ST                                                                            SAN FRANCISCO    CA 94104‐2868
HELLER EHRMAN LLP                   PACHULSKI STANG ZIEHL & JONES LLP    JOHN D FIERO ESQ                 150 CALIFORNIA STREET 15TH                            SAN FRANCISCO    CA 94111
                                                                                                          FLR
HELLER EHRMAN WHITE & MCAULIFFE     333 BUSH ST                          HELLER EHRMAN ‐ J J ARMAO                                                              SAN FRANCISCO   CA   94104‐2868
HELLER EHRMAN WHITE & MCAULIFFE PPC 550 W 7TH AVE                        1900 BANK OF AMERICA CTR                                                               ANCHORAGE       AK   99501‐3514

HELLER ERNEST L                     ANGELOS PETER G                      100 N CHARLES STREET             ONE CHARLES CENTER                                    BALTIMORE       MD   21201‐3812
HELLER FINANCIAL CANADA LTD         2300 MEADOWVALE BLVD STE 200                                                                       MISSISSAUGA CANADA ON
                                                                                                                                       L5N 5P9 CANADA
HELLER FINANCIAL LEASING, INC.      NOT AVAILABLE
HELLER FINANCIAL LEASING, INC.      201 W. BIG BEAVER ROAD                                                                                                      TROY            MI   48084
HELLER FINANCIAL LEASING, INC.      ATTN: CORPORATE OFFICER/AUTHORIZED   201 W. BIG BEAVER ROAD                                                                 TROY            MI   48084
                                    AGENT
HELLER JOSEPH THOMAS (412240)       BARON & BUDD                         3102 OAK LANE AVE , SUITE 1100                                                         DALLAS          TX   75219
HELLER JR, ROBERT A                 1933 WILBRAHAM RD.                                                                                                          MIDDLETOWN      OH   45042‐2311
HELLER LEONARD D (633035)           ANGELOS PETER G                      100 N CHARLES STREET , ONE                                                             BALTIMORE       MD   21201
                                                                         CHARLES CENTER
HELLER MACHINE TOOLS LP             ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 67000                                                                           DETROIT         MI   48267‐2925
                                    AGENT
HELLER MACHINE TOOLS LP             1225 EQUITY DR                                                                                                              TROY            MI   48084‐7107
HELLER SHAPIRO FRISONE ET AL        ACCT OF MICHELE D BURGE              111 W WASHINGTON ST STE 1650                                                           CHICAGO         IL   60602‐2754
HELLER WILLIAM R (429082)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                            NORFOLK         VA   23510
                                                                         STREET, SUITE 600
HELLER, A B INC                     1235 HOLDEN AVE                      PO BOX 640                                                                             MILFORD         MI   48381‐3137
HELLER, ANNA M                      4448 SOUTH FLAUSON AVENUE                                                                                                   CULVER CITY     CA   90230
HELLER, ANNA M                      4448 SOUTH SLAUSON AVENUE                                                                                                   CULVER CITY     CA   90230‐5144
HELLER, ANTIONETTE L                1100 ERIE AVE APT 505                                                                                                       EVANSVILLE      IN   47715‐4843
HELLER, BRITTANY J                  1105 15TH ST                                                                                                                BRODHEAD        WI   53520‐1835
HELLER, CAROL A                     GRUEN CHARLES A LAW OFFICES OF       381 BROADWAY STE 300                                                                   WESTWOOD        NJ   07675‐2239
HELLER, CHARLES H                   5981 SOUTHWOOD DR                                                                                                           LOCKPORT        NY   14094‐9269
HELLER, CLAYTON C                   1624 BRALY AVE                                                                                                              MILPITAS        CA   95035‐4908
HELLER, COZETTE K                   14591 E 196TH ST                                                                                                            NOBLESVILLE     IN   46060‐9512
HELLER, COZETTE KAY                 14591 E 196TH ST                                                                                                            NOBLESVILLE     IN   46060‐9512
HELLER, DELLA M                     1624 BRALY AVE                                                                                                              MILPITAS        CA   95035‐4908
HELLER, DELLA M                     1624 BRALY AVENUE                                                                                                           MILPITAS        CA   95035‐4908
HELLER, ERNEST L                    ANGELOS PETER G                      100 N CHARLES STREET, ONE                                                              BALTIMORE       MD   21201‐3812
                                                                         CHARLES CENTER
HELLER, ETHEL M                     1407 AVENUE B B                                                                                                             FLINT           MI   48503
HELLER, FRED                        GRUEN CHARLES A LAW OFFICES OF       381 BROADWAY STE 300                                                                   WESTWOOD        NJ   07675‐2239
HELLER, GEORGE E                    3540 JONATHON DR                                                                                                            DAYTON          OH   45434‐5914
HELLER, GLENN E                     PO BOX 9022                          DUBAI                                                                                  WARREN          MI   48090‐9022
HELLER, HOWARD E                    PO BOX 762                                                                                                                  PINCKNEY        MI   48169‐0762
HELLER, JAMES K                     5876 MEADOWRIDGE CT                                                                                                         GROVE CITY      OH   43123‐9621
HELLER, JANE S                      1121 UNIVERSITY BLVD W APT 112                                                                                              SILVER SPRING   MD   20902‐3317
HELLER, JOSEPH A                    7548 ELMBROOKE WAY                                                                                                          BRIGHTON        MI   48116‐6197
HELLER, JOSEPH T                    BARON & BUDD                         3102 OAK LANE AVE, SUITE 1100                                                          DALLAS          TX   75219
HELLER, JUDITH A                    635 HOLLY AVE                                                                                                               INDIANAPOLIS    IN   46221‐1309
HELLER, KAROL                       27 LONG VALLEY RD                                                                                                           LODI            NJ   07644‐2018
HELLER, KATHLEEN J                  3540 JONATHON DR                                                                                                            DAYTON          OH   45434‐5914
HELLER, KENNETH E                   14591 E 196TH ST                                                                                                            NOBLESVILLE     IN   46060‐9512
HELLER, LARRY G                     100 SCOTLAND BLVD                                                                                                           MANSFIELD       OH   44906‐2239
HELLER, LAURENCE T                  2164 BATES RD                                                                                                               MOUNT MORRIS    MI   48458
HELLER, LEONARD D                   ANGELOS PETER G                      100 N CHARLES STREET, ONE                                                              BALTIMORE       MD   21201‐3812
                                                                         CHARLES CENTER
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Name                          Address1                        Address2                          Address3           Address4                   City             State Zip
HELLER, LILLIE B              14242 HESS RD                                                                                                   HOLLY             MI 48442‐8730
HELLER, LORI L                12011 WILLIAMS RD                                                                                               GAINES            MI 48436‐8912
HELLER, LUCY                  100 FORREST RIDGE DR APT 323                                                                                    LAWRENCEVILLE     NJ 08648‐3769
HELLER, MARGARET M            C/O MARGARET BRANDENBURG        717 S GRAND TRAVERSE STREET                                                     FLINT             MI 48502
HELLER, MARK M                4137 HASTINGS NEWVILLE RD                                                                                       LUCAS             OH 44843‐9747
HELLER, MARY J                5981 SOUTHWOOD DR                                                                                               LOCKPORT          NY 14094‐9269
HELLER, MELVIN J.             14610 JACKSON ST                                                                                                TAYLOR            MI 48180‐4777
HELLER, MICHAEL A             783 EDEN HILL RD                                                                                                BEULAH            MI 49617‐9705
HELLER, MICHAEL J             160 BRANNAN ST APT 423                                                                                          SAN FRANCISCO     CA 94107‐2077
HELLER, NANCY A               26 DEVONSHIRE DR                                                                                                YORKTOWN HTS      NY 10598‐1029
HELLER, PAUL A                11447 KENT                                                                                                      WASHINGTON        MI 48094‐3650
HELLER, PHYLLIS J             6512 BRILLIANT WAY                                                                                              DAYTON            OH 45459‐1919
HELLER, RICHARD G             5602 LESLIE DRIVE                                                                                               FLINT             MI 48504‐7021
HELLER, RICHARD L             911 2ND ST NW                                                                                                   GRAND RAPIDS      MI 49504‐5166
HELLER, RICHARD L             1817 LAXTON RD                                                                                                  MASON             MI 48854‐9211
HELLER, ROBERT V              1630 N HADLEY RD                                                                                                ORTONVILLE        MI 48462‐9794
HELLER, ROBIN R               301 LAKE SHORE RD                                                                                               GROSSE POINTE     MI 48236‐3050
HELLER, ROSEMARIE             518 DEER RUN DR                                                                                                 BOARDMAN          OH 44512‐5448
HELLER, ROSEMARY A            14610 JACKSON ST                                                                                                TAYLOR            MI 48180‐4777
HELLER, RUTH E                448 FIELDCREST DR                                                                                               WEBSTER GROVES    MO 63119‐4542
HELLER, SHERMAN               1387 COMMONWEALTH AVE APT 101                                                                                   ALLSTON           MA 02134‐5010
HELLER, SUSAN J               1630 N HADLEY RD                                                                                                ORTONVILLE        MI 48462‐9794
HELLER, THOMAS H              1019 REDWING DR                                                                                                 COLUMBUS          IN 47203‐1907
HELLER, VERA M                100 SCOTLAND BLVD                                                                                               MANSFIELD         OH 44906‐2239
HELLER, VERONA                127 LAIRD AVE                                                                                                   BUFFALO           NY 14207‐1559
HELLER, VICKIE A              4406 CARRIAGE TRL                                                                                               STONE MOUNTAIN    GA 30083
HELLER, WARREN W              34791 AQUARIUS APT #A134                                                                                        STERLING HEIGHTS  MI 48310
HELLER, WILLARD E             725 MILAM ST                                                                                                    SHREVEPORT        LA 71101‐3507
HELLER, WILLIAM G             2404 LORING ST                  # 134                                                                           SAN DIEGO         CA 92109
HELLER, WILLIAM J             18290 MANORWOOD S                                                                                               CLINTON TOWNSHIP MI 48038‐1238

HELLER, WILLIAM R             3353 HARBOURS BLVD 3                                                                                            WATERFORD        MI   48328
HELLER, WILLIAM R             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                     NORFOLK          VA   23510‐2212
                                                              STREET, SUITE 600
HELLERMANN TYTON AB           DATAVAGEN 5                                                                          JARFALLA SE 17526 SWEDEN

HELLERMANN TYTON CORP         PO BOX 245017                   7930 N FAULKNER RD                                                              MILWAUKEE        WI   53224‐9517
HELLERMANNTYTON CORP          1250 CREEKSIDE PKWY                                                                                             NAPLES           FL   34108‐1939
HELLERMANNTYTON CORP          7930 N FAULKNER RD                                                                                              MILWAUKEE        WI   53224‐3423
HELLERMANNTYTON CORP          SHIRLEY BEARDSLEY               7930 N FAULKNER RD                                                              MILWAUKEE        WI   53224‐3423
HELLERMANNTYTON CORP          SHIRLEY BEARDSLEY               7930 N FAULKER RD                                                               FRANKLIN         OH
HELLERMANNTYTON CORP          7930 N FAULKNER RD              PO BOX 245017                                                                   MILWAUKEE        WI   53224‐3423
HELLERMANNTYTON CORPORATION   SHIRLEY BEARDSLEE               1250 CREEKSIDE PKY                                                              AUBURN           ME   04211
HELLERSTEIN HELLERSTEIN &     SHORE PC                        PO BOX 5637                       1139 DELAWARE ST                              DENVER           CO   80217‐5637
HELLERSTEIN, WALTER           UNIVERSITY OF GA LAW SCHOOL                                                                                     ATHENS           GA   30602‐0001
HELLERT, DONALD E             52 LAKEWOOD VLG                                                                                                 MEDINA           NY   14103‐1846
HELLESEN BRUCE                HELLESEN, BRUCE                 16855 WEST BERNARDO DRIVE SUITE                                                 SAN DIEGO        CA   92127
                                                              380
HELLESEN BRUCE                WESSELMAN ENTERPRISES           16855 WEST BERNARDO DRIVE SUITE                                                 SAN DIEGO        CA   92127
                                                              380
HELLEWELL, PETER J            115 ARSENAL DR                                                                                                  FRANKLIN         TN   37064‐2302
HELLEWELL, PETER JOHN         115 ARSENAL DR                                                                                                  FRANKLIN         TN   37064‐2302
HELLICKSON JASON & SUSAN      529 WATERBURY CIRCLE                                                                                            DES MOINES       IA   50312‐1315
HELLICKSON, DANIEL A          PO BOX 181021                                                                                                   UTICA            MI   48318‐1021
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Name                                Address1                           Address2                    Address3   Address4                 City              State   Zip
HELLICKSON, LUCY R                  6290 M‐25                                                                                          AKRON              MI     48701
HELLICKSON, ROBERT G                6400 STEVENS SCHOOL RD                                                                             WHITESVILLE        KY     42378‐9769
HELLIER, DONALD J                   1203 QUEENS XING                                                                                   WILLIAMSBURG       VA     23185‐6606
HELLIKER, KATHRYN R                 9918 E PAMPA AVE                                                                                   MESA               AZ     85212‐2022
HELLING, LAVERNE G                  W5361 SZTABA LN                                                                                    MAUSTON            WI     53948‐9453
HELLING, RICHARD A                  4850 LYNCH RD                                                                                      HOUSE SPRINGS      MO     63051‐3218
HELLING, STEN O                     2522 WOODBERRY DR                                                                                  GLENWOOD           CO     81601‐4013
                                                                                                                                       SPRINGS
HELLINGER, ANGELICA D               7507 N TULLIS AVE                                                                                  KANSAS CITY       MO      64158‐4423
HELLINGER, CHARLES D                755 E RIVER RD                                                                                     FLUSHING          MI      48433‐3022
HELLINGER, CHARLES D                139 RIVIERA TER                                                                                    WATERFORD         MI      48328‐3466
HELLINGER, CHARLES DAVID            139 RIVIERA TER                                                                                    WATERFORD         MI      48328‐3466
HELLINGS, CAROL E                   225 MAPLE DR                                                                                       NEW HOLLAND       PA      17557‐9331
HELLION KNIGHT                      C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                       HOUSTON           TX      77007
                                    BOUNDAS LLP
HELLIS, DONALD J                    430 PECK RD                                                                                        SPENCERPORT        NY     14559‐9502
HELLIS, NICK                        PO BOX 578                                                                                         HOUGHTON LAKE      MI     48630‐0578
                                                                                                                                       HEIGHTS
HELLMAN CHEVROLET, PONTIAC, BUICK   900 MAIN ST                                                                                        DELTA              CO     81416‐1830

HELLMAN, DAVID C                    937 RUFFNER AVE                                                                                    BIRMINGHAM        MI      48009‐3658
HELLMAN, DENNIS N                   2066 FORISTELL RD                                                                                  FORISTELL         MO      63348‐1934
HELLMAN, GARRY L                    659 N 1ST ST                                                                                       BREESE            IL      62230‐1625
HELLMAN, JIM H                      16860 DRIFTWOOD DR                                                                                 MACOMB            MI      48042‐3600
HELLMAN, LINDA L                    901 RUSH SCOTTSVILLE RD                                                                            RUSH              NY      14543‐9781
HELLMAN, PATRICIA L                 129 PALM CT                                                                                        LEXINGTON         SC      29072‐7380
HELLMAN, SHARON L                   2066 FORISTELL RD                                                                                  FORISTELL         MO      63348‐1934
HELLMAN, TIMOTHY J                  659 GRAND AVENUE                                                                                   DELTA             CO      81416‐2026
HELLMAN, WILLIAM E                  248 DOYLE AVE                                                                                      BROOKVILLE        OH      45309‐1531
HELLMANN INTERNATIONAL              PO BOX 66783                                                                                       CHICAGO           IL      60666‐0783
HELLMANN JR, FRANCIS J              4967 W 300 N                                                                                       ANDERSON          IN      46011‐8785
HELLMANN, JOHN V                    1110 W TIENKEN RD                                                                                  ROCHESTER HILLS   MI      48306‐4164
HELLMANN, LOUIS E                   3151 BEECH AVE                                                                                     COVINGTON         KY      41015‐1156
HELLMANN, REGINA M                  11353 N MASSACHUSETTS AVE                                                                          ALEXANDRIA        IN      46001‐8142
HELLMANN, SANDRA L                  340 E BAILEY CIR                                                                                   MASON             MI      48854‐1274
HELLMANN, URBAN L                   6817 E COUNTY ROAD 200 N                                                                           AVON              IN      46123‐8547
HELLMIG, DENNIS W                   1122 BROENING HWY                                                                                  BALTIMORE         MD      21224‐5525
HELLMUT SCHOLTZ                     SOONWALDSTR 13                                                            55566 BAD SOBERNHEIM
                                                                                                              GERMANY
HELLMUTH & JOHNSON                  10400 VIKING DR STE 500                                                                            EDEN PRAIRIE      MN      55344‐7264
HELLMUTH II, BARTON H               51428 SILVER BELL DR               51428 SILVER BELL DRIVE                                         MACOMB            MI      48042‐4348
HELLMUTH, PRISCILLA C               51428 SILVER BELL DR                                                                               MACOMB            MI      48042‐4348
HELLNER, ELIZABETH J                8943 BRISTOL BND                                                                                   FORT MYERS        FL      33908‐6697
HELLNER, JAMES F                    4090 RAMSEY RD                                                                                     OXFORD            MI      48371‐3941
HELLNER, JOANNE L                   13007 GALLAGHER BLVD                                                                               PORT CHARLOTTE    FL      33981‐1809
HELLNER, ROBERT P                   493 PRAIRIE KNOLL DR                                                                               POPLAR GROVE      IL      61065‐7817
HELLNER, THOMAS A                   13007 GALLAGHER BLVD                                                                               PORT CHARLOTTE    FL      33981‐1809
HELLO EXPRESS INC                   5731 FARMINGTON RD                                                                                 W BLOOMFIELD      MI      48322‐1564
HELLOCK, KEVIN A                    740 GLENWOOD ST NE                                                                                 WARREN            OH      44483
HELLOIS CAMPBELL                    7453 WETHERBY ST                                                                                   DETROIT           MI      48210‐1057
HELLON CROWLEY                      1708 UNIVERSITY DR                                                                                 COLUMBIA          TN      38401‐6412
HELLOW, MICHAEL P                   47901 JAMESTOWN DR                                                                                 MACOMB            MI      48044‐5927
HELLPAP, LINDA L                    4250 S RACINE AVE                                                                                  NEW BERLIN        WI      53146‐3432
HELLPAP, WAYNE E                    4250 S RACINE AVE                                                                                  NEW BERLIN        WI      53146‐3432
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Name                       Address1                       Address2                 Address3    Address4               City            State   Zip
HELLRIEGEL, HELGA          23 W GREENHILL TERRACE PL                                                                  THE WOODLANDS    TX     77382
HELLRIEGEL, HELGA          40103 OTERO DRIVE                                                                          MAGNOLIA         TX     77354‐4405
HELLRIEGEL, JOHN M         1305 STONEHEDGE CT                                                                         ST AUGUSTINE     FL     32092‐3030
HELLRIEGEL, KAREN A        13 RUNNING BROOK DRIVE                                                                     PERRINEVILLE     NJ     08535‐1309
HELLRUNG, MARGARET L       52477 BROOKCREST                                                                           SHELBY TWP       MI     48316‐3029
HELLRUNG, STEPHEN C        8214 SHORT CUT RD                                                                          IRA              MI     48023‐2105
HELLSTEN, BERNARD R        4108 PULASKI HWY                                                                           CULLEOKA         TN     38451‐2022
HELLSTROM AUTOMOTIVE       190 S WOLF RD                                                                              DES PLAINES       IL    60016‐3033
HELLTHALER, GARY G         64 TANGLEWOOD RD                                                                           HOPEWELL JCT     NY     12533‐5871
HELLTHALER, ZADA           1131 MAIN ST                                                                               WYOMING           RI    02898
HELLUMS, JOHN D            926 W DRYDEN ST                                                                            ODESSA           MO     64076‐1318
HELLUS, FRANK H            6447 PLEASANTVIEW DR                                                                       CLARE            MI     48617‐9615
HELLWEGE, MARIE            P.O. BOX 658                                                                               HANCEVILLE       AL     35077‐0658
HELLWEGE, MARIE            PO BOX 658                                                                                 HANCEVILLE       AL     35077‐0658
HELLWEGE, ORREN A          6 HARRISON ST                                                                              TAUNTON          MA     02780‐4211
HELLWEGE, RICHARD P        6 HARRISON ST                                                                              TAUNTON          MA     02780‐4211
HELLWEGE, ROBERT M         6 HARRISON ST                                                                              TAUNTON          MA     02780‐4211
HELLWEGE, STEPHEN A        15 BAUDIN CIR                                                                              LADERA RANCH     CA     92694
HELLWIG, HANS J            5260 KILMANAGH RD                                                                          OWENDALE         MI     48754‐9751
HELLYER NICOLE & DAVID J   GOLDBERG AND ASSOC             32 PARKING PLZ STE 700                                      ARDMORE          PA     19003‐2440
HELLYER, RICHARD A         6917 LOCUSTVIEW DR                                                                         HUBER HEIGHTS    OH     45424‐2726
HELLYER, ROBERT F          1848 WESLEY AVE                                                                            BERWYN            IL    60402‐1850
HELM BANK DE VENEZUELA
HELM GROUP INC             DENNIS FELTMEYER               2283 US HIGHWAY 20 E                                        FREEPORT        IL      61032‐9643
HELM INC                   14310 HAMILTON AVE             PO BOX 07130                                                DETROIT         MI      48203‐3776
HELM INC                   14310 HAMILTON AVE                                                                         HIGHLAND PARK   MI      48203
HELM INCORPORATED          JUSTIN GUSICK                  14310 HAMILTON AVE                                          HIGHLAND PARK   MI      48203‐3776
HELM INST/MAUMEE           1387 DUSSEL DRIVE                                                                          MAUMEE          OH      43537
HELM INSTRUMENT CO INC     361 W DUSSEL DR                                                                            MAUMEE          OH      43537‐1632
HELM JR, JOHN F            5195 NW STATE ROUTE 92                                                                     SMITHVILLE      MO      64089‐9396
HELM JR, WILSON            6560 JULIAN AVE                                                                            SAINT LOUIS     MO      63133‐1412
HELM LATOYA                1504 MEHARRY BLVD                                                                          NASHVILLE       TN      37208‐3025
HELM SR., BRADLEY J        1601 BELVUE DR                                                                             FOREST HILL     MD      21050‐2508
HELM VICKI                 495 TIMBERLINE DRIVE                                                                       TAYLORSVILLE    KY      40071
HELM, ARLENE M             1320 SHAFFERSVILLE RD                                                                      MOUNT AIRY      MD      21771‐3108
HELM, ARNOLD D             1300 W TOWNLINE 16 RD                                                                      PINCONNING      MI      48650‐7990
HELM, AVIS M               10768 DUCK CREEK RD                                                                        SALEM           OH      44460‐9638
HELM, BARBARA C            4858 HOGAN DR                                                                              WILMINGTON      DE      19808‐1743
HELM, BERNARDINE C         501 SPENCER                                                                                CUBA            MO      65453
HELM, BERNARDINE C         501 W SPENCER ST                                                                           CUBA            MO      65453‐1143
HELM, BEVERLY J            3085 NORTH 950 E                                                                           BROWNSBURG      IN      46112
HELM, BEVERLY M            1683 W TOWNLINE 16 RD                                                                      PINCONNING      MI      48650‐7994
HELM, BILLY R              12210 GRATIOT RD                                                                           SAGINAW         MI      48609‐9601
HELM, BOBBY L              PO BOX 914                                                                                 JAMESTOWN       KY      42629‐0914
HELM, BRADLEY S            42921 WILLOW RD                                                                            NEW BOSTON      MI      48164‐9684
HELM, BUEL M               269 KENTUCKY #206                                                                          LIBERTY         KY      42539
HELM, CAROLYN I            2860 WALSH DR                                                                              ROCHESTER HLS   MI      48309‐4325
HELM, CHARLES R            PO BOX 35061                                                                               FERGUSON        MO      63135‐0561
HELM, CLARA L              3348 PINE VILLA CT                                                                         GRAND BLANC     MI      48439‐7938
HELM, CLARENCE A           7718 TERRI DR                                                                              WESTLAND        MI      48185‐1455
HELM, CLARENCE J           3903 NORTH 7 MILE ROAD                                                                     PINCONNING      MI      48650‐8704
HELM, CRAIG A              9323 HASKINS ST                                                                            LENEXA          KS      66215‐3612
HELM, DARRELL L            8731 BYERS ST                                                                              DOWNEY          CA      90242‐2606
HELM, DAVID B              725 PEPPERMINT ST                                                                          ATTICA          MI      48412‐9722
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Name                     Address1                       Address2             Address3        Address4               City               State   Zip
HELM, DAVID WILBERT      99 INDIAN HILL RD                                                                          GADSDEN             AL     35903‐4140
HELM, EARL E             711 E 50TH ST                                                                              MARION              IN     46953‐5433
HELM, ELEANOR P          4943 N EWING AVE                                                                           KANSAS CITY         MO     64119‐3926
HELM, ERIC F             18481 PELLETT DR                                                                           FENTON              MI     48430‐8508
HELM, EUGENE C           838 WESTGATE DR                                                                            ANDERSON            IN     46012‐9678
HELM, FRANKLIN ERNST     10420 CHATUGE DR                                                                           SAN ANTONIO         FL     33576‐4610
HELM, GEORGE A           5111 WILMINGTON PIKE                                                                       DAYTON              OH     45440‐2248
HELM, GRACE              9528 MIRIAM AVE                                                                            SAINT LOUIS         MO     63114‐3916
HELM, GRACE F            5154 S BYRON RD                                                                            DURAND              MI     48429‐1474
HELM, GRACE FELINDA      5154 S BYRON RD                                                                            DURAND              MI     48429‐1474
HELM, HERBERT            501 BURLINGTON AVE                                                                         LOGANSPORT          IN     46947‐4914
HELM, JACKIE V           1068 SE 975 RD                                                                             DEEPWATER           MO     64740‐9607
HELM, JAMES L            1145 E BUTTERFIELD PL                                                                      OLATHE              KS     66062‐3138
HELM, JANICE K           1598 W VIEW TRL                                                                            HOWELL              MI     48843‐8078
HELM, JEFFREY G          28270 HERNDONWOOD DR                                                                       FARMINGTON HILLS    MI     48334‐5223

HELM, JESSIE             7718 TERRI DR                                                                              WESTLAND           MI      48185‐1455
HELM, JOHN F             7639 HARDY ST                                                                              SHAWNEE MSN        KS      66204‐2637
HELM, JOHN L             12407 E PARK ST                                                                            SUGAR CREEK        MO      64054‐1139
HELM, JOSEPH R           5154 S BYRON RD                                                                            DURAND             MI      48429‐1474
HELM, JOSEPH ROBERT      5154 S BYRON RD                                                                            DURAND             MI      48429‐1474
HELM, JUDI L             1076 WIMBLETON DR                                                                          BIRMINGHAM         MI      48009‐7605
HELM, LINDELL            1246 DEER RIDGE DR                                                                         FERGUSON           MO      63135‐1258
HELM, LYLE M             3698 N GARFIELD RD                                                                         PINCONNING         MI      48650‐7000
HELM, MARGA              973 INDEPENDENCE CIR           APT 46                                                      WHITE LAKE         MI      48386
HELM, MARGA              973 INDEPENDENCE CIR UNIT 46                                                               WHITE LAKE         MI      48386‐4528
HELM, MARJORIE           2918 S VINE ST                                                                             MUNCIE             IN      47302‐5235
HELM, MATILDA            3935 GREEN CREST DRIVE                                                                     HOUSTON            TX      77082‐4019
HELM, MATT CHRISTOPHER   APT 206                        2751 SELKIRK DRIVE                                          BURNSVILLE         MN      55337‐5666
HELM, MELVIN F           2149 DALEY RD                                                                              LAPEER             MI      48446‐8682
HELM, MICHAEL J          11060 OAK POINTE DR                                                                        WHITEHOUSE         OH      43571‐9102
HELM, MICHAEL JON        11060 OAK POINTE DR                                                                        WHITEHOUSE         OH      43571‐9102
HELM, MILDRED J          149 COUNTY ROAD 707                                                                        ATHENS             TN      37303‐6065
HELM, NITA J             8800 E 62ND TER                                                                            RAYTOWN            MO      64133‐3722
HELM, PAUL M             165 PHEASANTWOOD TRL                                                                       BATTLE CREEK       MI      49017‐3139
HELM, R B                1713 SEYBURN ST                                                                            DETROIT            MI      48214‐2451
HELM, RANDELL            PO BOX 175                                                                                 CARROLLTON         MI      48724‐0175
HELM, RANDOLPH B         21117 RANDALL ST                                                                           FARMINGTON HILLS   MI      48336‐5326

HELM, ROBERT E           4855 COUNTY RD 146 LOT 52                                                                  WILDWOOD            FL     34785
HELM, ROBERT W           4874 BETHESDA RD                                                                           THOMPSONS           TN     37179‐9226
                                                                                                                    STATION
HELM, RONALD G           10506 W 91ST ST                                                                            OVERLAND PARK      KS      66214‐2030
HELM, RONALD W           1210 JOSLYN AVE                                                                            PONTIAC            MI      48340‐2059
HELM, RUSTY A            4514 AVA LN                                                                                CLARKSTON          MI      48348‐5174
HELM, SUSAN C            520 OAK TREE DR                                                                            POINTBLANK         TX      77364‐6603
HELM, TERRI K            4 WESTVIEW DRIVE                                                                           HAMILTON           IL      62341‐1012
HELM, THEODORE F         3133 S HURON RD                                                                            BAY CITY           MI      48706‐1561
HELM, WALTER H           11775 VAN BUREN RD                                                                         MERRILL            MI      48637‐9613
HELM, WAYNE L            4858 HOGAN DR                                                                              WILMINGTON         DE      19808
HELM, WILLIAM J          19216 CRAB ORCHARD RD                                                                      MARION             IL      62959‐7329
HELM, WILLIE G           7609 SAN DIEGO AVE                                                                         NORMANDY           MO      63121‐2122
HELM,JEFFREY G           28270 HERNDONWOOD DR                                                                       FARMINGTON HILLS   MI      48334‐5223
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Name                                  Address1                           Address2                      Address3     Address4               City               State Zip
HELMA CARPENTER                       117 1/2 RIVER ST                                                                                     LODI                OH 44254‐1023
HELMAN GLENN HARRIS (429083)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510
                                                                         STREET, SUITE 600
HELMAN JR, JOSEPH D                   9088 S MOUNT HOPE RD                                                                                 CARSON CITY        MI   48811‐9724
HELMAN MAX                            17299 PENCROSS DR                                                                                    GRANGER            IN   46530‐6939
HELMAN, DARREN M                      5848 LEWISBURG RD                                                                                    LEWISBURG          OH   45338‐7778
HELMAN, DAVID L                       956 APT 4 CONTINENTAL CT                                                                             VANDALIA           OH   45377
HELMAN, EILEEN F                      4144 WEST 160TH ST                                                                                   CLEVELAND          OH   44135‐4350
HELMAN, EILEEN F                      4144 W 160TH ST                                                                                      CLEVELAND          OH   44135‐4350
HELMAN, EILEEN M                      1416 LAUREL ST                                                                                       LEXINGTON          SC   29073‐8466
HELMAN, GLENN HARRIS                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510‐2212
                                                                         STREET, SUITE 600
HELMAN, JAMES C                       4776 MILLS CREEK LN                                                                                  N RIDGEVILLE       OH   44039‐2325
HELMAN, JOHN D                        944 N MARKET ST                                                                                      LISBON             OH   44432‐1024
HELMAN, LLOYD R                       EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR           PO BOX 200                          DETROIT            MI   48265‐2000

HELMAN, MARCUS E                      25218 PARKWOOD DR                                                                                    HUNTINGTON         MI   48070‐1704
                                                                                                                                           WOODS
HELMAN, MINNIE B                      520 BOULDER DRIVE                                                                                    WEST MILTON        OH   45383‐1760
HELMAN, PETER TRUSTEE                 5600 W MAPLE RD STE D414                                                                             W BLOOMFIELD       MI   48322‐3788
HELMAN, RONALD W                      610 FLEMING RD                                                                                       SARVER             PA   16055‐9505
HELMAN, WILLIAM D                     410 FLORAL ACRES DR                                                                                  TIPP CITY          OH   45371‐2940
HELMAN, WILLIAM D                     410 FLORAL ACERS                                                                                     TIPP CITY          OH   45371‐2940
HELMANDOLLAR, WILLIS L                ROUTE 3                            BOX 417                                                           BLUEFIELD          WV   24701‐9423
HELMANDOLLAR, WILLIS L                RR 3 BOX 417                                                                                         BLUEFIELD          WV   24701‐9423
HELMBERGER, MARY M                    11583 E STATE ROAD 28                                                                                FRANKFORT          IN   46041‐8921
HELMBOLD, CHRIS N                     15110 W EATON HWY                                                                                    GRAND LEDGE        MI   48837‐9753
HELMBOLD, KIRK                        15110 W EATON HWY                                                                                    GRAND LEDGE        MI   48837‐9753
HELMBOLD, KIRK C                      15110 W EATON HWY                                                                                    GRAND LEDGE        MI   48837‐9753
HELMBOLDT, MARK A                     2313 JOLIET ST                                                                                       FLINT              MI   48504‐4651
HELMBOLDT, MARK A                     1501 HAMPTON DR                                                                                      ATLANTA            GA   30350‐3912
HELME, WILLIAM D                      21526 MIDDLEBELT RD                                                                                  FARMINGTON HILLS   MI   48336‐5630

HELME, WILLIAM DEWEY                  21526 MIDDLEBELT RD                                                                                  FARMINGTN HLS      MI   48336‐5630
HELMECK KENT R & SUSAN F              10260 GLADSTONE RD                                                                                   NORTH JACKSON      OH   44451‐9609
HELMECY, ALEX S                       8990 RIDGE RD                                                                                        WOOSTER            OH   44691‐8356
HELMEID, DENNIS D                     655 OAK ST                                                                                           HUNTINGTON         IN   46750‐2019
HELMEID, DONALD D                     124 CHICKADEE LN                                                                                     JANESVILLE         WI   53546‐2979
HELMEID, GLADWYN B                    2000 ELIZABETH ST                                                                                    JANESVILLE         WI   53548‐2708
HELMEID, HAROLD G                     2025 W WALL ST APT 8                                                                                 JANESVILLE         WI   53548‐3459
HELMEL ENGINEERING PRODUCTS
HELMEL ENGINEERING PRODUCTS INC       6520 LOCKPORT RD                                                                                     NIAGARA FALLS      NY   14305‐3512
HELMER BERNARD (468373)               ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                        BALTIMORE          MD   21202
                                                                         CHARLES CENTER 22ND FLOOR
HELMER BERNARD (ESTATE OF) (471297)   ANGELOS PETER G                    100 N CHARLES STREET , ONE                                        BALTIMORE          MD   21201
                                                                         CHARLES CENTER
HELMER JR, ROBERT W                   10001 E GOODALL RD UNIT F4                                                                           DURAND             MI   48429‐9796
HELMER JR, ROBERT WILSON              10001 E GOODALL RD UNIT F4                                                                           DURAND             MI   48429‐9796
HELMER JR, RUSSELL A                  3333 26TH AVE E                    LOT 1096                                                          BRADENTON          FL   34208
HELMER JULIN                          3084 BEACH ST                                                                                        MUSKEGON           MI   49441‐1128
HELMER MERLE (459122)                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510
                                                                         STREET, SUITE 600
HELMER OLSON                          6253 CRAMLANE DR                                                                                     CLARKSTON          MI   48346‐2407
HELMER PAT                            PO BOX 113                                                                                           WINDHAM            CT   06280‐0113
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Name                                Address1                             Address2                       Address3                    Address4               City               State Zip
HELMER, ALICE F                     39059 SUPERIOR ST                                                                                                      ROMULUS             MI 48174‐1033
HELMER, BERNARD                     ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET, ONE                                                         BALTIMORE           MD 21202
                                                                         CHARLES CENTER 22ND FLOOR
HELMER, CAROL A                     PO BOX 24                                                                                                              MONTOURSVILLE      PA   17754‐0024
HELMER, DAVID                       13150 MAIR DR                                                                                                          STERLING HEIGHTS   MI   48313‐2647
HELMER, DENNIS                      6209 ESKEW DR                                                                                                          COLUMBIA           TN   38401‐5455
HELMER, DENNIS R                    11343 GOLDFINCH WAY                                                                                                    LEESBURG           FL   34788‐8162
HELMER, DUANE F                     1916 MANCHESTER DR                                                                                                     LAPEER             MI   48446‐9716
HELMER, EDDIJEAN B                  3016 JODIE PL                                                                                                          METAIRIE           LA   70002‐5828
HELMER, ELIZABETH A                 455 HAMILTON RD                                                                                                        MOUNT MORRIS       MI   48458‐8905
HELMER, GENENDELL L                 10001 E GOODALL RD UNIT B6                                                                                             DURAND             MI   48429
HELMER, HELEN                       7851 SEBRING                                                                                                           DAYTON             OH   45424‐5424
HELMER, JACK L                      300 S MINNESOTA ST APT 324                                                                                             REDWOOD FALLS      MN   56283‐1565
HELMER, JAMES J                     2600 COLD SPRING RD                                                                                                    INDIANAPOLIS       IN   46222‐2203
HELMER, JEFF R                      41539 HAMLIN ST                                                                                                        BELLEVILLE         MI   48111‐1465
HELMER, MARVIN R                    10487 S FRANCIS RD                                                                                                     DEWITT             MI   48820‐9171
HELMER, MAYNARD L                   1235 YEOMANS ST                                                                                                        IONIA              MI   48846‐1931
HELMER, MERLE                       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                       NORFOLK            VA   23510‐2212
                                                                         STREET, SUITE 600
HELMERICH & PAYNE INTERNATIONAL     JOEL POLLESCHULTZ                    7094 W ZERO RD                                                                    CASPER             WY   82604‐2057
DRILLING CO.
HELMERICH & PAYNE PROPERTIES, INC   ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 21228                                                                      TULSA              OK   74121‐1228
                                    AGENT
HELMERICH & PAYNE PROPERTIES, INC   PO BOX 21228                                                                                                           TULSA              OK   74121‐1228
HELMERS, MARY                       1185 STEPHANIE DR                                                                                                      HAMILTON           OH   45013‐6369
HELMHOLTZ, JAMES C                  608 BARLEY RIDGE CT N                                                                                                  SAINT PETERS       MO   63376‐1978
HELMIC, CAROLYN                     1058 S EIFERT RD                                                                                                       MASON              MI   48854‐9790
HELMIC, DAN L                       1058 S EIFERT RD                                                                                                       MASON              MI   48854‐9790
HELMIC, JAMES H                     540 JULIA ST                                                                                                           LANSING            MI   48910‐5426
HELMIC, MARGUERITE E                222 HARRIET AVE                                                                                                        LANSING            MI   48917‐3428
HELMICH LEONARD                     HELMICH, LEONARD                     MARKOWITZ, STUART D            575 JERICHO TURNPIKE, STE                          JERICHO            NY   11753
                                                                                                        210
HELMICH, LEONARD                    PO BOX 198                                                                                                             ACCORD             NY   12404‐0198
HELMICH, LEONARD                    STATE FARM FIRE & CASUALTY           C/O LAW OFFICES OF STUART D.   575 JERICHO TPKE STE 210                           JERICHO            NY   11753
                                                                         MARKOWITZ, P.C.
HELMICH, LEONARD R                  MARKOWITZ, STUART D                  575 JERICHO TPKE STE 210                                                          JERICHO            NY   11753‐1847
HELMICH, PAUL G                     3457 ALICE ST                                                                                                          DEARBORN           MI   48124‐3776
HELMICH, RONALD H                   21 WIDE‐BEACH‐OVAL                                                                                                     IRVING             NY   14081
HELMICH, S J                        346 WHITE SANDS DR                                                                                                     VACAVILLE          CA   95687
HELMICH, SONYA A                    MARKOWITZ, STUART D                  575 JERICHO TPKE STE 210                                                          JERICHO            NY   11753‐1847
HELMICK JR, HUGH                    533 RICH VIEW DR                                                                                                       KINGWOOD           WV   26537‐9729
HELMICK JR, RICHARD G               443 WASHINGTON ST                                                                                                      SALEM              OH   44460‐3238
HELMICK, ALFRED S                   3811 DEERPATH DR                                                                                                       SANDUSKY           OH   44870‐6072
HELMICK, BERNARD E                  1845 TAFT AVE                                                                                                          NILES              OH   44446‐4115
HELMICK, BRUCE M                    RR 1 BOX 203H                                                                                                          GORMANIA           WV   26720‐9704
HELMICK, DAVID                      14441 ELLSWORTH RD                                                                                                     BERLIN CENTER      OH   44401‐9742
HELMICK, DICKSON                    2217 PERKINS JONES COURT                                                                                               WARREN             OH   44483‐1860
HELMICK, DONALD E                   2519 E BOMBAY RD                                                                                                       MIDLAND            MI   48642‐7378
HELMICK, ERICA L                    1373 SUNNYFIELD AVE NW                                                                                                 WARREN             OH   44481‐9133
HELMICK, GEORGIA C                  9648 GREGG RD                                                                                                          FREDERICKTOWN      OH   43019‐8905
HELMICK, HOLLY M                    419 W GREGORY ST 1007                                                                                                  CARDINGTON         OH   43315
HELMICK, JAMES B                    4935 MILLER SOUTH RD                                                                                                   BRISTOLVILLE       OH   44402‐4402
HELMICK, JANE N                     2217 PERKINS JONES COURT                                                                                               WARREN             OH   44483‐1860
HELMICK, KATHY C                    755 WARNER ROAD NE                                                                                                     VIENNA             OH   44473‐9720
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Name                         Address1                        Address2                      Address3   Address4               City                 State   Zip
HELMICK, KATHY C             755 WARNER RD                                                                                   VIENNA                OH     44473‐9720
HELMICK, KENNETH A           1918 SENECA ST                                                                                  TRAVERSE CITY         MI     49686‐3044
HELMICK, KENNETH A           1730 8 MILE RD                                                                                  CINCINNATI            OH     45255‐2673
HELMICK, KENNETH P           8254 HIDDEN GLEN N E                                                                            NORTH CANTON          OH     44721
HELMICK, LINDA B             4935 MILLER SOUTH                                                                               BRISTOLVILLE          OH     44402‐4402
HELMICK, MICHAEL A           490 SKYVIEW LN                                                                                  CARVER                MN     55315
HELMICK, RONALD E            542 RONALD DR                                                                                   STRAWBERRY            TN     37871‐5722
                                                                                                                             PLAINS
HELMICK, VIOLET W            BOX 207B ROUTE 3                                                                                GARMANIA             WV      26720
HELMICK, WILLIAM R           1455 PIKE PKWY                                                                                  STREETSBORO          OH      44241‐5452
HELMICK‐SEARS, JOYCE N       345 DARK HEAD RD                                                                                BALTIMORE            MD      21220‐4824
HELMIG JOHN A (472062)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA      23510
                                                             STREET, SUITE 600
HELMIG, BILLY R              2094 HIGHWAY 28                                                                                 ROSEBUD              MO      63091‐1617
HELMIG, JOE R                3565 FOX CREEK RD                                                                               BEAUFORT             MO      63013‐1632
HELMIG, JOHN A               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA      23510‐2212
                                                             STREET, SUITE 600
HELMIG, RICHARD W            14 HAYES CT                                                                                     TROPHY CLUB          TX      76262‐5550
HELMIG, TRACEY L             14 HAYES CT                                                                                     ROANOKE              TX      76262
HELMING, RONALD N            99 SEYMOUR ST                                                                                   BRISTOL              CT      06010‐6823
HELMING, WILLIAM A           APT 3                           227 LOWREY PLACE                                                NEWINGTON            CT      06111‐3010
HELMINIAK, FRANK J           508 W CALUMET ST                                                                                BAY CITY             MI      48706‐5113
HELMINIAK, JAMES R           2258 21ST ST                                                                                    BAY CITY             MI      48708‐7407
HELMINIAK, LAWRENCE F        52 NORTHWOOD DR                                                                                 DEPEW                NY      14043‐4551
HELMINIAK, ROY T             553 ANGUS CT                                                                                    BAY CITY             MI      48708
HELMINK, HENRY L             145 COLUMBIA AVE APT 570                                                                        HOLLAND              MI      49423‐2980
HELMINK, RANDOLPH C          7905 JUNIPER LN                                                                                 AVON                 IN      46123‐9811
HELMINSKI, ELIZABETH A       4651 N GREENVIEW AVE            APT 403                                                         CHICAGO              IL      50640‐7944
HELMINSKI, ELIZABETH ANN     4651 N GREENVIEW AVE            APT 403                                                         CHICAGO              IL      60640‐7944
HELMINSKI, JOHN A            PO BOX 1163                                                                                     BELLEVILLE           MI      48112‐1163
HELMKAMP AUTO SERVICE INC.   405 W BETHALTO DR                                                                               BETHALTO             IL      62010‐1768
HELMKAMP, TODD E             813 FAIRWAY ST                                                                                  BETHALTO             IL      62010‐1840
HELMKAY, DOROTHY             1325 WEST STANLEY ROAD                                                                          MOUNT MORRIS         MI      48458‐2314
HELMKAY, ROBERT L            1325 WEST STANLEY ROAD                                                                          MOUNT MORRIS         MI      48458‐2314
HELMKAY, WILLIAM L           710 BEACH BUGGY LN                                                                              LINDEN               MI      48451‐9663
HELMKAY‐PASTUE, GAIL A       13100 COUNTRY CLUB DR                                                                           CLIO                 MI      48420‐8216
HELMKE NORMA                 9018 INDEPENDENCE RD                                                                            DEFIANCE             OH      43512‐9033
HELMKE, KATHLEEN A           4221 BIRCHDALE CT                                                                               FORT WAYNE           IN      46815
HELMKE, MARTIN E             1826 SHIPMAN BLVD                                                                               BIRMINGHAM           MI      48009‐4133
HELMKE, RUTH                 1826 SHIPMAN BLVD                                                                               BIRMINGHAM           MI      48009‐4133
HELMKER, LAWRENCE A          1916 ROBERTS LN                                                                                 LANSING              MI      48910‐3200
HELMLE, ALFONS               1721 ARCHERS POINTE                                                                             ROCHESTER HLS        MI      48306‐3211
HELMLE, JACQUELINE C         3808 ROOSEVELT STREET                                                                           HOLLYWOOD            FL      33021‐4953
HELMLE, MARK J               22006 TIMBERIDGE ST                                                                             SAINT CLAIR SHORES   MI      48082‐2261

HELMLE, MARK J.              22006 TIMBERIDGE ST                                                                             SAINT CLAIR SHORES    MI     48082‐2261

HELMLE, RALPH P              11584 ADAMS DR                                                                                  WARREN               MI      48093‐1137
HELMLE, RONALD               11584 ADAMS DR                                                                                  WARREN               MI      48093‐1137
HELMLING, FAITH E            24451 QUARRY ROAD                                                                               WELLINGTON           OH      44090‐9292
HELMLING, FAITH E            24451 QUARRY RD                                                                                 WELLINGTON           OH      44090‐9292
HELMLING, JEAN E             40564 BUTTERNUT RIDGE RD                                                                        ELYRIA               OH      44035‐7912
HELMLINGER, JOSEPH K         15 SENF DR                                                                                      YARDVILLE            NJ      08620‐1223
HELMORE, WILLIAM J           2865 HILLENDALE DR                                                                              ROCHESTER HLS        MI      48309‐1926
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Name                         Address1                          Address2                           Address3   Address4               City              State   Zip
HELMQUEST, DONNA             240 VALLEYWOOD DR                                                                                      TOLEDO             OH     43605‐1775
HELMRATH, MARILYN O          8604 WANDERING FOX TRL UNIT 303                                                                        ODENTON            MD     21113‐3752
HELMREICH SR, PAUL A         3744 VASSAR RD M‐15                                                                                    REESE              MI     48757
HELMREICH SR, WILLIAM E      3849 WORTH RD                                                                                          PINCONNING         MI     48650‐8314
HELMREICH SR, WILLIAM E      3590 E ELIZABETH ST                                                                                    BAY CITY           MI     48706‐1725
HELMREICH, DANIEL J          5871 EDITH SCHNEIDER RD                                                                                HARRISON           MI     48625‐8524
HELMREICH, DEBORAH D         38 DIANE CT LOT 182                                                                                    ESSEXVILLE         MI     48732
HELMREICH, EMMA M            605 W RIVER RD                                                                                         KAWKAWLIN          MI     48631‐9775
HELMREICH, EMMA M            605 WEST RIVER RD                                                                                      KAWKAWLIN          MI     48631‐9775
HELMREICH, ESTHER E          4740 S GRAHAM RD                                                                                       ST CHARLES         MI     48655‐9553
HELMREICH, JULIA A           2412 AMELITH RD                                                                                        BAY CITY           MI     48706‐9375
HELMREICH, LARRY J           300 W RIVER RD                                                                                         KAWKAWLIN          MI     48631‐9785
HELMREICH, LLOYD J           2949 IMPERIAL DR                                                                                       BAY CITY           MI     48706‐3111
HELMREICH, MARY L            1525 M‐15 1                                                                                            MUNGER             MI     48747
HELMREICH, MELVIN M          9490 HOSPITAL RD # RT1                                                                                 FREELAND           MI     48623‐9329
HELMREICH, OSCAR G           6544 JUDD RD                                                                                           BIRCH RUN          MI     48415‐8513
HELMREICH, PRISCELLA C       5871 EDITH SCHNEIDER RD                                                                                HARRISON           MI     48625‐8524
HELMREICH, RUDOLPH G         3746 3 MILE RD                                                                                         BAY CITY           MI     48706‐9215
HELMREICH, THERESA           1728 9 MILE RD                                                                                         KAWKAWLIN          MI     48631‐9709
HELMREICH, WILLIAM M         793 DELTA RD                                                                                           FREELAND           MI     48623‐9321
HELMS BRENT ALAN             HELMS, BRENT ALAN
HELMS BYRNS EXPRESS          12731 RT 30                                                                                            IRWIN             PA      15642
HELMS ERIC E                 HELMS, ERIC E                     3031 STANFORD RANCH RD #2‐150                                        ROCKLIN           CA      95765
HELMS ERIC E                 HELMS, SHELLIE D                  3031 STANFORD RANCH RD #2‐150                                        ROCKLIN           CA      95765
HELMS GEORGE E (453904)      CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                     CLEVELAND         OH      44115
                             GAROFOLI                          FL
HELMS GREGORY W              2120 DEER VALLEY DR                                                                                    SPRING HILL       TN      37174‐2269
HELMS JON                    HELMS, JON                        3804 AYERS LANE                                                      CARMEL            IN      46033
HELMS JR, LOUIS M            6910 HIGHWAY 49 N                                                                                      MT PLEASANT       NC      28124‐8563
HELMS LARRY C                PO BOX 1648                                                                                            MEDFORD           OR      97501‐0126
HELMS MULLIS & WICKER PLLC   201 N TRYON ST                                                                                         CHARLOTTE         NC      28202
HELMS, ALLEN L               2268 HIGHWAY E                                                                                         FREDERICKTOWN     MO      63645‐8023
HELMS, ANGELA M              101 MOUNTAIN VIEW DR                                                                                   ATTALLA           AL      35954‐6426
HELMS, ANN M                 187 SIDNEY RD                                                                                          SHERIDAN          MI      48884
HELMS, BEVERLY K             PO BOX 255                                                                                             ODESSA            MO      64076‐0255
HELMS, CADAR B               148 SUN VALLEY LN                                                                                      WEATHERFORD       TX      76087
HELMS, CAROLINE A            21369 SILKTREE CIR                                                                                     PLAINFIELD        IL      60544‐9360
HELMS, CAROLINE A            21369 W SILKTREE CIRCLE                                                                                PLAINFIELD        IL      60544‐9360
HELMS, CHARLES C             1311 S MEADOW DR                                                                                       LENNON            MI      48449‐9624
HELMS, DARLENE               1213 W KURTZ AVE                                                                                       FLINT             MI      48505‐1207
HELMS, DAVID J               6004 108TH ST                                                                                          NOBLE             OK      73068‐7610
HELMS, DELLA J               2120 DEER VALLEY DR                                                                                    SPRING HILL       TN      37174‐2269
HELMS, DENNIS G              15800 HIGHVIEW DR                                                                                      APPLE VALLEY      MN      55124‐7061
HELMS, DEWAYNE H             372 DUSKIN POINT RD                                                                                    JASPER            AL      35504‐3810
HELMS, DOLORES K             1459 WALSHIRE DR N                                                                                     COLUMBUS          OH      43232‐1599
HELMS, DONALD                PO BOX 526                                                                                             CLARENCE          NY      14031‐0526
HELMS, DONNA L               3724 WIRELESS DRIVE #110                                                                               GREENSBORO        NC      27455
HELMS, DORIS EVELYN          10138 KINGS RD #133                                                                                    MYRTLE BEACH      SC      29572‐6036
HELMS, ELIZABETH A           219 SUNSHINE DR                                                                                        AMHERST           NY      14228‐1964
HELMS, ELIZABETH A           7278 SHAWNEE RD APT 2                                                                                  N TONAWANDA       NY      14120‐1373
HELMS, ELIZABETH S           20800 WESTHAMPTON ST                                                                                   OAK PARK          MI      48237‐2788
HELMS, ERIC E                JACOBS LAW OFFICES OF JON         3031 STANFORD RANCH RD #2‐150                                        ROCKLIN           CA      95765
HELMS, ERNEST E              5589 ABINGTON                                                                                          WEST BLOOMFIELD   MI      48322‐4014
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Name                   Address1                          Address2                          Address3   Address4               City              State   Zip
HELMS, ESTELLA         14823 CHERRYLAWN ST                                                                                   DETROIT            MI     48238‐1839
HELMS, EUGENE H        2820 SHAUGHNESSY WAY                                                                                  LAKELAND           FL     33810‐5369
HELMS, EVANGELINE C    3340 YORK ROAD                                                                                        WINSTON SALEM      NC     27106‐5446
HELMS, EVELYN P        653 BELMONT ST                                                                                        MADISON            GA     30650‐1406
HELMS, EVELYN P        653 BELMONT STREET                                                                                    MADISON            GA     30650
HELMS, FRANCESCA       11417 FOX HILL DR                                                                                     CHARLOTTE          NC     28259
HELMS, GEORGE E        CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                     CLEVELAND          OH     44115
                       GAROFOLI                          FL
HELMS, GREG            2120 DEER VALLEY DRIVE                                                                                SPRING HILL       TN      37174‐2269
HELMS, GREGORY N       3060 MCKNIGHT RD                                                                                      LEWISBURG         TN      37091‐5323
HELMS, IRMA I          2350 WENONA DR                                                                                        WIXOM             MI      48393‐2198
HELMS, IRMA I          2350 WENONA DRIVE                                                                                     WIXOM             MI      48393
HELMS, JAMES M         7097 BANKS                                                                                            WATERFORD         MI      48327‐3701
HELMS, JAMES R         28695 MISSION BELLEVIEW RD                                                                            LOUISBURG         KS      66053‐7189
HELMS, JAMES R         11340 WING DR                                                                                         CLIO              MI      48420‐1588
HELMS, JAMES V         6986 MINNICK RD                                                                                       LOCKPORT          NY      14094‐7947
HELMS, JEFFREY L       10698 S WISNER RD                                                                                     BANNISTER         MI      48807‐9758
HELMS, JERRY A         1801 MIDDLEBOROUGH RD                                                                                 BALTIMORE         MD      21221‐3014
HELMS, JERRY L         121 OSPREY WAY                                                                                        HARRIMAN          TN      37748‐5324
HELMS, JOHNNY          PORTER & MALOUF PA                4670 MCWILLIE DR                                                    JACKSON           MS      39206‐5621
HELMS, JON             3804 AYERS LN                                                                                         CARMEL            IN      46033‐8412
HELMS, JOYCE           1311 S MEADOW DR                                                                                      LENNON            MI      48449‐9624
HELMS, JUDY E          4891 N 200 W                                                                                          SHARPSVILLE       IN      46068‐9194
HELMS, JULIA V         6323 LUCAS RD                                                                                         FLINT             MI      48506‐1225
HELMS, KENNETH J       776 SHERRY DR                                                                                         LAKE ORION        MI      48362‐2866
HELMS, KENNETH L       2475 E FARRAND RD                                                                                     CLIO              MI      48420‐9173
HELMS, KENNETH R       PO BOX 414                                                                                            GULF SHORES       AL      36547‐0414
HELMS, KENNETH T       4891 N 200 W                                                                                          SHARPSVILLE       IN      46068‐9194
HELMS, KENT L          3251 BUSY BEE LN                                                                                      INDIANAPOLIS      IN      46227‐7670
HELMS, KRISTINE S      605 S BRIDGE ST APT 2                                                                                 DEWITT            MI      48820‐9320
HELMS, LARRY           WEITZ & LUXENBERG                 180 MAIDEN LANE                                                     NEW YORK          NY      10038
HELMS, LEROY           5447 SITKA ST                                                                                         BURTON            MI      48519‐1523
HELMS, LISA Y          776 SHERRY DR                                                                                         LAKE ORION        MI      48362‐2866
HELMS, LUISA A         2700 GOLETA AVE                                                                                       YOUNGSTOWN        OH      44505‐2127
HELMS, LYLE L          PO BOX 194                                                                                            PERRINTON         MI      48871‐0194
HELMS, MARIE S         1795 NORTH MCDONOUGH RD           LOT 407                                                             GRIFFIN           GA      30223
HELMS, MARIE S         1795 N MCDONOUGH RD LOT 407                                                                           GRIFFIN           GA      30223‐5942
HELMS, MARY A          PO BOX 545                                                                                            HAMPTON           GA      30228‐0545
HELMS, MARY E          749 EASTLAWN AVE                                                                                      MADISON HTS       MI      48071‐2918
HELMS, MARYLOU E       40 LAKEFRONT AVE                                                                                      GADSDEN           AL      35904‐1653
HELMS, MAVIS R         52243 MATTERHORN DRIVE                                                                                MACOMB            MI      48042‐5653
HELMS, MICHAEL         1375 4TH ST                                                                                           FENNIMORE         WI      53809‐1103
HELMS, MICHAEL         KROHN & MOSS                      3 SUMMIT PARK DR STE 100                                            INDEPENDENCE      OH      44131‐2598
HELMS, MONICA ANN      2208 FIELD POND LN                                                                                    MONROE            NC      28112‐6187
HELMS, NORMAN L        11488 PINE FOREST CT                                                                                  JACKSONVILLE      FL      32223‐7441
HELMS, OLGA J          9001 LAKEVIEW DR                                                                                      NEW PORT RICHEY   FL      34654‐3449
HELMS, PATRICIA A      524 VERMILLION CT                                                                                     ANDERSON          IN      46012‐1535
HELMS, PAUL L          PO BOX 121                                                                                            PERRINTON         MI      48871‐0121
HELMS, PAUL M          DONALDSON & BLACK                 208 W WENDOVER AVE                                                  GREENSBORO        NC      27401‐1307
HELMS, PAULA K         10033 LAKE DR                                                                                         MECOSTA           MI      49332‐9461
HELMS, PENNY J         8234 ROOSEVELT AVE                                                                                    MOUNT MORRIS      MI      48458‐1331
HELMS, PENNY JANETTE   8234 ROOSEVELT AVE                                                                                    MOUNT MORRIS      MI      48458‐1331
HELMS, RAMONA F.       1792 HOLIDAY HAVEN RD.                                                                                SMITHVILLE        TN      37166‐7310
HELMS, REX F           187 SIDNEY RD                                                                                         SHERIDAN          MI      48884‐9333
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Name                            Address1                       Address2                        Address3   Address4                  City              State   Zip
HELMS, RICHARD D                514 FULTON ST                                                                                       PERRINGTON         MI     48871‐0165
HELMS, RICHARD D                514 W FULTON ST                                                                                     PERRINTON          MI     48871‐5166
HELMS, RICHARD T                70 LUTHER STAFFORD AVE                                                                              TAYLORSVILLE       NC     28681‐8933
HELMS, ROBERT J                 275 N CHERRY AVE                                                                                    CLINTON            IN     47842‐7415
HELMS, ROBERT R                 PO BOX 454                                                                                          LOGANVILLE         GA     30052‐0454
HELMS, SHELLIE D                JACOBS LAW OFFICES OF JON      3031 STANFORD RANCH RD #2‐150                                        ROCKLIN            CA     95765
HELMS, TERRY R                  524 VERMILLION CT                                                                                   ANDERSON           IN     46012‐1535
HELMS, WALTER B                 11510 N BRAY RD                                                                                     CLIO               MI     48420‐7953
HELMS, WILLIAM J                2340 PEBBLE BEACH DR                                                                                KOKOMO             IN     46902‐3122
HELMS, WILLIAM L                4917 QUEENSBURY RD                                                                                  HUBER HEIGHTS      OH     45424‐3746
HELMS, WILLIAM LEROY            4917 QUEENSBURY RD                                                                                  HUBER HEIGHTS      OH     45424‐3746
HELMS, WILMA E                  632 S GRANT ST                                                                                      BROWNSBURG         IN     46112‐1607
HELMS‐EMERICK, AMY E            2707 ZION RD                                                                                        RIVES JUNCTION     MI     49277‐9725
HELMS‐YATES JUANETTE            344 MCKINLEY LN                                                                                     GARDNER            KS     66030‐1608
HELMSMEIER, RONALD H            1577 SQUAW CREEK RD                                                                                 FOSTORIA           MI     48435‐9611
HELMSTADT, RONALD J             7262 MOORISH RD                                                                                     BRIDGEPORT         MI     48722‐9767
HELMSTETTER JR, FRANCIS J       1338 W FAIRVIEW LN                                                                                  ROCHESTER HILLS    MI     48306‐4138
HELMUS, HARRIET                 1047 ALDEN CT                                                                                       HOLLAND            MI     49423‐5280
HELMUT AND LOTTE VEITENGRUBER   C/O DR OLAF HENTSCHEL          FRANZ SCHUBERT STR 9                       95448 BAYREUTH GERMANY
HELMUT AND RUTH BLUME           KARLSTRASSE                                                                                         44532 LUENEN       DE
HELMUT BARTLOFF                 SCHULSTRASSE 7                 96155 BUTTENHEIM
HELMUT BARTLOFF                 SCHULSTRA▀E 7                  96155 BUTTENHEIM
HELMUT BECK                     4508 BIRDIES COURT                                                                                  AVON PARK          FL     33825‐8603
HELMUT BELGHAUS                 15 MERITAGE CMN UNIT 103                                                                            LIVERMORE          CA     94551‐7476
HELMUT BIEWER                   BALZTSTRASSE 6                 54296 TRIER
HELMUT BLUME                    KARLSTR.2                                                                                           LUENEN             DE     44532
HELMUT BLUME                    KALRSTRA▀E 2                                                                                        44532 L▄NEN        DE
HELMUT BOENING                  37 QUINCY AVE                                                                                       LANCASTER          NY     14086‐3113
HELMUT BREIT                    BAHNHOFSTRA▀E 10               54421 HINZERT‐POELERT
HELMUT BREIT                    BAHNHOFSTRASSE 10              54421 HINZERT‐POELERT
HELMUT BREIT                    BAHNOFSTRASSE 10                                                          544211 HINZERT‐POELERT
                                                                                                          GERMANY
HELMUT BRUNNER                  ROENTGENSTR 48                                                            91058 ERLANGEN, GERMANY

HELMUT BRUNNER                  ROENTGENSTR.48                 91058 ERLANGEN
HELMUT DIEHL                    5285 VISTA AVE                                                                                      WILLIAMSVILLE      NY     14221‐2808
HELMUT DUEKER                   KOHLENSTR 23                                                              D‐45289 ESSEN GERMANY
HELMUT ESCHBORN                 402 PROSPECT AVE                                                                                    JANESVILLE         WI     53545‐3127
HELMUT FAHRION                  THUNER STREET 5                                                           71679 LUDWIGSBURG
                                                                                                          GERMANY
HELMUT G PFEIFFENBERGER         SCHLESIENSTRA▀E 13                                                        D‐89518 HEIDENHEIM
                                                                                                          GERMANY
HELMUT G PFEIFFENBERGER         SCHLESIENSTR 13                                                           D 89518 HEIDENHEIM
                                                                                                          GERMANY
HELMUT G PLEFIFFENBERGER        SCHLESIENSTR 13                                                           D 89518 DEIDENHEIM
                                                                                                          GERMANY
HELMUT G PLEILLENBERGER         SCHLESIENSTRASSE 13                                                       D 89518 HEIDENHEIM
                                                                                                          GERMANY
HELMUT GANS                     AM LINDENWEG 1                 63741 ASCHAFFENBURG             GERMANY
HELMUT GANS                     AM LINDENWEG 1                 D‐63741 ASCHAFFENBURG
HELMUT GANS                     AM LINDENWEG 1                                                            D‐ 63741 ASCHAFFENBURG
                                                                                                          GERMANY
HELMUT GANS                     AM LINDENWEG 1                 D ‐ 63741 ASCHAFFENBURG         GERMANY
HELMUT GIETZEN                  MOZARTSTRASSE 22                                                          54516 WITTLICH, GERMANY
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Name                 Address1                         Address2                  Address3      Address4                    City              State Zip
HELMUT HABERMANN     818 S LAKE ST                                                                                        AMHERST            OH 44001‐2006
HELMUT HALLER        STR. 5                           63458 HANAU
HELMUT HEINZEMANN    OBERE WEINBERGSTRASSE 14         34292 AHNATAL             DEUTSCHLAND
HELMUT HENN          606 BROAD AVE                                                                                        MANISTEE          MI    49660‐2802
HELMUT HERBIG        STEINSTRASSE 38                                                          10119 BERLIN GERMANY
HELMUT HEYNEN        M▄LFORTERSTR 59                                                          M╓NCHENGLADBACH DE
                                                                                              41238 GERMANY
HELMUT HEYNEN        M▄LFORTER STR. 59                41238 M╓NCHENGLADBACH     DEUTSCHLAND
HELMUT HEYNEN        MUELFORTER STR. 59               41238 MOENCHENGLADBACH    DEUTSCHLAND
HELMUT HUBERT        4929 DOWNINGTON RD                                                                                   DECKERVILLE       MI    48427‐9745
HELMUT JAKOBEIT      134 WOLCOTT RD                                                                                       TERRYVILLE        CT    06786
HELMUT KOLKE         54455 IROQUOIS LN                                                                                    SHELBY TOWNSHIP   MI    48315‐1174
HELMUT KUKOWSKI      73 BURT AVE                                                                                          PONTIAC           MI    48342‐1104
HELMUT LIPPKE        QUERSTR. 3                                                               31008 ELZE GERMANY
HELMUT LITZENBERG    ST JOHANN 6 ‐ APP 185                                                    D‐91056 ERLANGEN GERMANY

HELMUT MAIER         DROSSELWEG 15                                                            22880 WEDEL GERMANY
HELMUT MAIER         DROSSELWEG 15                    22880 WEDEL
HELMUT MILNER        4205 W 700 N                                                                                         SHARPSVILLE       IN    46068‐8913
HELMUT MOESER        404 WINDSOR PL                                                                                       DANVILLE          VA    24541‐6802
HELMUT ORTH          GATHERSKAMP 95 B                 41066 MOENCHENGLADBACH
HELMUT ORTH          GATHERSKAMP 95 B                                                         41066 MOENCHENGLADBACH
                                                                                              GERMANY

HELMUT PARR          UNTERE KIRCHGASSE 13             D‐63776 M╓MBRIS
HELMUT PARR          UNTERE KIRCHGASSE 13                                                     D‐63776 MOEMBRIS
                                                                                              GERMANY
HELMUT PROBST        VORDERE DORFSTR BE 16            OT HERMERODE                            06343 MANSFELD GERMANY

HELMUT PULLMAN       AN DER VOGELHUELL 3A                                                     ILLSCHWANG 92278
                                                                                              GERMANY
HELMUT PULLMANN      AN DER VOGELH▄LL 3A                                                                                  ILLSCHWANG              92278
HELMUT R KUKOWSKI    73 BURT AVE                                                                                          PONTIAC           MI    48342‐1104
HELMUT RASCH         TRAITHENSTR 2                                                            GERMANY ‐ 83026
                                                                                              ROSENHEIM
HELMUT REISS         THOMAESTR 6                                                              65193 WIESBADEN GERMANY

HELMUT ROHLEDER      16300 SILVER PKWY APT 331                                                                            FENTON            MI    48430‐4422
HELMUT ROSENBUSCH    OBERSTDORFER STR. 3              90455 N▄RNBERG
HELMUT ROSENBUSCH    OBERSTDORFER STR. 3              90455 NUERNBERG
HELMUT ROSENBUSCH    OBERSTDORFER STR. 3                                                      90455                       N▄RNBERG          DE
HELMUT RUECKERT      C/O FRED MARTIKAN                6518 LAUREL VALLEY ROAD                                             DALLAS            TX    75248
HELMUT SCHAEFER      PRANGELWEG 9                                                             35104 LICHTENFELS GERMANY

HELMUT SCH─FER       PRANGELWEG 9                     35104 LICHTENFELS
HELMUT SCHEFEZIK     DAHLIENGASSE 32                                                          1210 VIENNA
HELMUT SCHMITT       AN DER STEINACH 5                97453
HELMUT SCHMITT       AN DER STEINACH 5                97453 SCHONUNGEN
HELMUT SCHULZ        HOPPENBERG 1                                                             31737 RINTELN GERMANY
HELMUT SCHWARZER     BIRKENWEG 27                     51061 K╓LN
HELMUT SCHWARZER     BIRKENWEG 27                                                             51061 KOELN GERMANY
HELMUT SCHWERDTNER   11139 THORNBERRY DR                                                                                  SPRING HILL        FL   34608‐2949
HELMUT SEVERT        SACHSENRING 18                                                                                       VREDEN                  48691
HELMUT SPITZLAY      KRONENBERGSTRA▀E 21              55595 HARGESHEIM
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Name                             Address1                           Address2                    Address3              Address4                   City              State Zip
HELMUT ST╓CKELMANN               SCH▄TZENHOF 21                     49716 MEPPEN / GERMANY
HELMUT STOECKELMANN              SCHUETZENHOF 21                                                                      49716 MEPPEN GERMANY
HELMUT STOELZLE                  2553 W BLOOMFIELD OAKS DR                                                                                       W BLOOMFIELD       MI   48324‐3086
HELMUT TURGETTO                  WIERDENSTRASSE 25                  D68623 LAMPERTHEIM          GERMANY
HELMUT TURGETTO                  WIERDENSTRASSE 25                                                                    D68623 LAMPERTHEIM
                                                                                                                      GERMANY
HELMUT U ANNI RITT               REICHSWALDSTRASSE 15                                                                 90571 SCHWAIG B NURNBERG
                                                                                                                      GERMANY
HELMUT U. ANNI RITT              REICHSWALDSTR. 15                  90571 SCHWAIG B. N▄RNBERG
HELMUT UND DR FRIEDEL BADER      TATTENBACHSTRASSE 30                                                                 86179 AUGSBURG GERMANY

HELMUT WAHLE                     AM FELDBRAND 18                    40667 MEERBUSCH             GERMANY
HELMUT WAHLE & ILSE‐LORE WAHLE   C/O HELMUT WAHLE                   AM FELDBRAND 18                                   40667 MEERBUSCH GERMANY

HELMUT WAPPLER                   HINTER DEN HOEFEN 8                                                                  28876 OYTEN GERMANY
HELMUT WAPPLER                   HINTER DEN HOEFEN 8                28876 OYTEN                 TEL 00494207 909199   EMAIL JELMUT‐WAPPLER@T‐
                                                                                                                      ONLINE.DE
HELMUT WARZECHA                  2909 WALCK DR                                                                                                   N TONAWANDA        NY   14120‐1127
HELMUT WEBER                     1245 ARROWWOOD LN                                                                                               GRAND BLANC        MI   48439‐4861
HELMUT WEISS                     3054 BROWN RD                                                                                                   NEWFANE            NY   14108‐9714
HELMUT WIENAND                   2068 ROMAN CT                                                                                                   WARREN             MI   48092‐5421
HELMUT ZAWADA                    AUGSBURGER STR 10                                                                    28876 OYTEN GERMANY
HELMUT'S SERVICE CENTRE          33797 KING RD.                                                                       ABBOTSFORD BC V2S 7M9
                                                                                                                      CANADA
HELMUTH GOERING                  5402 W 31ST ST                                                                                                  CICERO             IL   60804‐3901
HELMUTH H. MAJER
HELMUTH I I I, WILLIAM J         7820 BAYMEADOWS RD E APT 1335                                                                                   JACKSONVILLE       FL   32256‐9109
HELMUTH III, WILLIAM J           7820 BAYMEADOWS RD E APT 937                                                                                    JACKSONVILLE       FL   32256
HELMUTH, BETTY E                 1099 N MCMULLEN BOOTH RD APT 832                                                                                CLEARWATER         FL   33759‐3466
HELMUTH, DELBERT B               1133 WINDHAM ST                                                                                                 WESTLAND           MI   48186‐5350
HELMUTH, JENNY D                 297 RAINBOW DR                                                                                                  KOKOMO             IN   46902‐3797
HELMUTH, ORVILLE J               297 RAINBOW DR                                                                                                  KOKOMO             IN   46902‐3797
HELMY & HAMZA                    20TH FLR 56 GAMYAT EL DOWAL        EL ARABEYA ST                                     CARIO EGYPT EGYPT
HELNE S AVERY                    61 EUCALYPTUS KNOLL                                                                                             MILL VALLEY        CA   94941
HELNER, MICHAEL J                15871 WINCHESTER DR                                                                                             NORTHVILLE         MI   48168‐2339
HELON, ANNIE                     1300 S CASTLEGATE AVE                                                                                           COMPTON            CA   90221‐5212
HELON, EDWARD L                  1300 S CASTLEGATE AVE                                                                                           COMPTON            CA   90221‐5212
HELOU, GEORGE                    47141 LIBERTY DR                                                                                                SHELBY TOWNSHIP    MI   48315‐4538
HELP YOU OUT
HELPAP JR, DAVID A               1905 E PACKARD DR                                                                                               SAGINAW           MI    48638‐4536
HELPAP, DANIEL F                 10635 SWAN CREEK RD                                                                                             SAGINAW           MI    48609‐9783
HELPAP, GEORGE H                 523 S ELM ST                                                                                                    SAGINAW           MI    48602‐1759
HELPAP, ROBERT C                 3624 FRANDOR PL                                                                                                 SAGINAW           MI    48603‐7232
HELPAP, RUDOLPH S                2624 S NIAGARA ST                                                                                               SAGINAW           MI    48602‐1050
HELPAP, WILLIAM F                512 SHEPARD ST                                                                                                  SAGINAW           MI    48604‐1232
HELPER, GREGG A                  8676 RUCKER RD                                                                                                  GROSSE ILE        MI    48138‐1910
HELPHAND, JOYCE A                946 TRACEY LN                                                                                                   DECATUR           AL    35601‐7700
HELPHENSTINE, JAMES R            6772 WILLOW CREEK DR                                                                                            HUBER HEIGHTS     OH    45424‐2486
HELPHENSTINE, MARJORIE           PO BOX 104                                                                                                      NORTH OXFORD      MA    01537‐0104
HELPHREY, JUDITH                 PO BOX 72                                                                                                       ODESSA            MO    64076‐0072
HELPING HANDS EXPRESS            612 N EDWARDS                                                                                                   KALAMAZOO         MI    49007
HELPING HANDS HOMECARE           ATTN: ROBERT D'ARIENZO             77 CENTRAL AVE # 115                                                         CLARK             NJ    07066‐1441
HELPING HANDS PHYS T             PO BOX 6419                                                                                                     SHREVEPORT        LA    71136‐6419
HELPLING, JAMES E                617 N MAIN ST                                                                                                   ENGLEWOOD         OH    45322
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Name                                 Address1                       Address2                Address3                 Address4               City            State   Zip
HELPLING, JOSEPH C                   8916 TANNER DR                                                                                         FISHERS          IN     46038‐3012
HELPLING, JOSEPH CHRIS               8916 TANNER DR                                                                                         FISHERS          IN     46038‐3012
HELPLING, MICHAEL E                  3169 W NORTHSHORE DR 57                                                                                COLUMBIA CITY    IN     46725
HELQUIST, LEE W                      1738 N NIGHT HERON CT                                                                                  GREEN VALLEY     AZ     85614‐6416
HELRIGLE, FRANCES N                  1160 QUIET BROOK TRAIL                                                                                 DAYTON           OH     45458‐9595
HELRIGLE, KATHY M                    9549 ARBORIDGE LN                                                                                      MIAMISBURG       OH     45342‐4583
HELSBERG, EDNA                       W8353 FAWN AVENUE                                                                                      OXFORD           WI     53952‐9092
HELSDON, DEBORAH L                   5914 CAMPBELL BLVD                                                                                     LOCKPORT         NY     14094‐9204
HELSDON, HENRIETTA                   841 N LYNDONVILLE ROAD                                                                                 LYNDONVILLE      NY     14098‐9737
HELSDON, WILLARD J                   5914 CAMPBELL BLVD                                                                                     LOCKPORT         NY     14094‐9204
HELSEL JR, CLIFFORD E                G 7387 ALEXANDER ST                                                                                    MOUNT MORRIS     MI     48458
HELSEL ROBERT CHARLES SR (ESTATE OF) JACOBS & CRUMPLAR P.A.         PO BOX 1271             2 EAST 7TH ST                                   WILMINGTON       DE     19899‐3707
(652430)
HELSEL, CHARLES H                    3540 BEE LN                                                                                            LUPTON          MI      48635‐9614
HELSEL, CHARLES J                    PO BOX 64                      2231 MAPES RD                                                           LUZERNE         MI      48636‐0064
HELSEL, CHARLES J                    2231 MAPES RD , PO BOX 64                                                                              LUZERENE        MI      48636‐0064
HELSEL, DEAN H                       4464 MEADOWBROOK DR                                                                                    FLINT           MI      48506‐2005
HELSEL, DEAN HARRIS                  4464 MEADOWBROOK DR                                                                                    FLINT           MI      48506‐2005
HELSEL, DONALD C                     16652 HEISER RD                                                                                        BERLIN CENTER   OH      44401‐8712
HELSEL, DOROTHY A                    1133 YEOMANS ST LOT 2                                                                                  IONIA           MI      48846‐1961
HELSEL, ETHEL M                      1275 S OVERLAND DR LOT147                                                                              LENNON          MI      48449‐9673
HELSEL, FAYE L                       561 POPLAR ST                                                                                          CLIO            MI      48420‐1261
HELSEL, GEORGE G                     13361 N WEBSTER RD                                                                                     CLIO            MI      48420‐8262
HELSEL, KENNETH E                    8596 BUERK DR                                                                                          TEMPERANCE      MI      48182‐2406
HELSEL, KRISTEN A                    1933 OVERHILL RD                                                                                       CHARLOTTE       NC      28211‐1628
HELSEL, MARIE E                      3400 BRIGHTON RD                                                                                       PITTSBURGH      PA      15212‐2244
HELSEL, NANCY                        4119 GLENCAIRN ST                                                                                      WEST MIFFLIN    PA      15122‐2126
HELSEL, ROBERT CHARLES               JACOBS & CRUMPLAR P.A.         PO BOX 1271             2 EAST 7TH ST,                                  WILMINGTON      DE      19899‐1271
HELSEL, WILLIAM A                    34412 PUTH DR                                                                                          AVON            OH      44011‐1916
HELSELL FETTERMAN MARTIN TOD &       PO BOX 21846                                                                                           SEATTLE         WA      98111‐3846
HOKANSON
HELSER CADILLAC/U.S.F.L.             2988 CAMPUS DRIVE                                                                                      SAN MATEO        CA     94403
HELSER CHEVROLET‐OLDSMOBILE‐CADILLA 545 ADOBE RD                                                                                            RED BLUFF        CA     96080‐9623

HELSER CHEVROLET‐OLDSMOBILE‐         JOHN HELSER                    545 ADOBE RD                                                            RED BLUFF        CA     96080‐9623
CADILLAC, INC.
HELSER CHEVROLET‐OLDSMOBILE‐         545 ADOBE RD                                                                                           RED BLUFF        CA     96080‐9623
CADILLAC, INC.
HELSER CHEVROLET‐OLDSMOBILE‐         215 S MAIN ST                                                                                          RED BLUFF        CA     96080‐3801
CADILLAC‐GEO
HELSER JR, ROBERT J                  2416 ZINER CIR S                                                                                       GROVE CITY      OH      43123‐4826
HELSER PHIL                          13530 BLAIRS VALLEY RD                                                                                 CLEAR SPRING    MD      21722‐1000
HELSER, JOHN D                       301 HARTNELL AVE APT 333                                                                               REDDING         CA      96002‐1837
HELSER, LINDA I                      604 ORCHARD ST                                                                                         JANESVILLE      WI      53548‐4436
HELSER, LINDA I                      604 S ORCHARD ST                                                                                       JANESVILLE      WI      53548‐4436
HELSER, PHILIP G                     13530 BLAIRS VALLEY RD                                                                                 CLEAR SPRING    MD      21722‐1000
HELSING, PATRICIA J                  PO BOX 43                                                                                              OJIBWA          WI      54862
HELSING, PATRICIA J                  P.O. BOX 43                                                                                            OJIBWA          WI      54862‐0043
HELSINGER, JOHN L                    1121 ELM CREEK CIR                                                                                     CENTERVILLE     OH      45458‐3230
HELSLEY, ALLAN D                     PO BOX 843                                                                                             HARRAH          OK      73045‐0843
HELSLEY, BESSIE K                    HERITAGE HOUSE                 REHABILITATION CENTER   1023 NORTH 20TH STREET                          NEW CASTLE      IN      47362
HELSLEY, BOBBY L                     1007 BELMONT CIR                                                                                       TAVARES         FL      32778‐2503
HELSLEY, DIANNA K                    5506 COUNCIL RING BLVD                                                                                 KOKOMO          IN      46902‐5430
HELSLEY, DOROTHY T                   1334 LITTLE LEHIGH DR S                                                                                EMMAUS          PA      18049‐1522
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Name                                    Address1                      Address2            Address3         Address4               City            State   Zip
HELSLEY, MARILYN                        9028 ST RD 58 E                                                                           HELTONVILLE      IN     47436‐8784
HELSLEY, MARILYN                        9028 STATE ROAD 58 E                                                                      HELTONVILLE      IN     47436‐8784
HELSLEY, MARLENE M                      210 EARL DR NW                                                                            WARREN           OH     44483‐1112
HELSLEY, MAX E                          321 W SOUTH ST                                                                            GREENFIELD       IN     46140‐2268
HELSLEY, ROBERT                         39 TULIP LN                                                                               LEVITTOWN        PA     19054‐2219
HELSLEY, RONALD
HELSLEY, RONALD L                       400 CEDAR SPRINGS RD                                                                      BEL AIR         MD      21015‐5802
HELSLEY, WILLIAM J                      4105 WINDERMERE CT                                                                        COLLEYVILLE     TX      76034‐4456
HELSLEY, WILMA C                        1485 LOCUST ST                                                                            MIDDLETOWN      IN      47356‐1134
HELSOM, DELTON W                        13449 HESS RD                                                                             HOLLY           MI      48442‐8865
HELSOM, JOHN W                          9468 BEECHER RD                                                                           FLUSHING        MI      48433‐9769
HELSTERN, NORMA C                       7984 GARLAND RD                                                                           UNION           OH      45322
HELT, ANGELA M                          20076 VALLEY ST                                                                           NORTHVILLE      MI      48167‐1738
HELT, RONALD J                          20076 VALLEY ST                                                                           NORTHVILLE      MI      48167‐1738
HELTENEN, DONALD N                      14171 WACOUSTA RD R3                                                                      GRAND LEDGE     MI      48837
HELTERBRAN, DONALD F                    980 WILMINGTON AVE APT 738                                                                DAYTON          OH      45420
HELTERBRAN, GLORIA                      917 E DAVID RD                                                                            DAYTON          OH      45429
HELTERBRAND, DONALD L                   1516 BLAINE AVE                                                                           INDIANAPOLIS    IN      46221‐1827
HELTERBRAND, DONALD W                   112 W 5TH ST                                                                              LAPEL           IN      46051‐9516
HELTERBRAND, ELEANOR P                  7011 BEECHWOOD RD                                                                         HILLSBORO       OH      45133‐8448
HELTERBRAND, MARY A                     305 CLARK ST APT 4                                                                        RICHMOND        MO      64085‐1962
HELTERBRAND, MARY A                     305 CLARK ST                  APT #4                                                      RICHMOND        MO      64085
HELTERBRAND, WILLIAM L                  6943 RANSDELL ST                                                                          INDIANAPOLIS    IN      46227‐2347
HELTMACH, KAY L                         3954 FOOTHILL RD                                                                          SANTA BARBARA   CA      93110‐1208
HELTMAN, JON                            9200 HICKORY RIDGE RD                                                                     HOLLY           MI      48442‐8110
HELTMAN, RANDOLPH W                     5681 SALLY RD                                                                             CLARKSTON       MI      48348‐3031
HELTON BILL D (645093)                  MOODY EDWARD O
HELTON BILL D (645093) ‐ BROWN FREDDIE MOODY EDWARD O
LEE
HELTON BILL D (645093) ‐ FRANEY STANLEY MOODY EDWARD O
EARL
HELTON BILL D (645093) ‐ GRIDER MICHAEL MOODY EDWARD O
ERVIN
HELTON BILL D (645093) ‐ HENDERSON      MOODY EDWARD O
FRED
HELTON BILL D (645093) ‐ HOLLOMAN       MOODY EDWARD O
PAULINE
HELTON BILL D (645093) ‐ JOHNSON LEOTIS MOODY EDWARD O

HELTON BILL D (645093) ‐ JONES ALEAN    MOODY EDWARD O
HELTON BILL D (645093) ‐ JONES CLIFFORD MOODY EDWARD O

HELTON BILL D (645093) ‐ LEEGRAND CARL MOODY EDWARD O
EDWARD
HELTON BILL D (645093) ‐ LEWIS           MOODY EDWARD O
ANDERSON
HELTON BILL D (645093) ‐ LEWIS THEODIS L MOODY EDWARD O

HELTON BILL D (645093) ‐ LOVESTON     MOODY EDWARD O
PATRICIA ANN
HELTON BILL D (645093) ‐ MCHUGHES     MOODY EDWARD O
RAYMOND WAYNE
HELTON BILL D (645093) ‐ MERRIWEATHER MOODY EDWARD O
ROBERT LEONARD
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Name                                   Address1                      Address2                           Address3                     Address4               City               State Zip
HELTON BILL D (645093) ‐ MIDDLEBROOK MOODY EDWARD O
JAMES L
HELTON BILL D (645093) ‐ MOLDEN        MOODY EDWARD O
LEWRENCE E
HELTON BILL D (645093) ‐ PETERSON      MOODY EDWARD O
ALBERT
HELTON BILL D (645093) ‐ PORTER        MOODY EDWARD O
WINSTON CARROLL
HELTON BILL D (645093) ‐ TYSON BEVERLY MOODY EDWARD O
JOE
HELTON BILL D (645093) ‐ WEBB ANTHONY MOODY EDWARD O
L
HELTON BILL D (645093) ‐ WILLIAMS      MOODY EDWARD O
LEOTIS R
HELTON BILL D (645093) ‐ WILLIAMS      MOODY EDWARD O
NORMAN
HELTON BILL D (645093) ‐ WITHAM CARL J MOODY EDWARD O

HELTON CLAY                         HELTON, SHARON                   33900 WEST 8 MILE ROAD SUITE 149                                                       FARMINGTON HILLS    MI   48335

HELTON CLAY                         HELTON, CLAY                     640 S SAN VICENTE BLVD STE 230                                                         LOS ANGELES         CA   90048‐4654
HELTON CLAY                         HELTON, CLAY                     MIKHOV LAW OFFICES OF STEVE        640 S SAN VICENTE BLVD STE                          LOS ANGELES         CA   90048‐4654
                                                                                                        230
HELTON JR, MYRL I                   3308 SHERWOOD DR                                                                                                        LAWRENCE           KS    66049‐2126
HELTON, AARON                       279 GLEN HELTON RD                                                                                                      TEMPLE             GA    30179‐4127
HELTON, ADLINE                      5465 NORTH FIELD COURT APT.128                                                                                          SAGINAW            MI    48601
HELTON, ARDITH                      5350 CARTHAGE                                                                                                           NORWOOD            OH    45212‐1550
HELTON, ARDITH                      5350 CARTHAGE AVE                                                                                                       NORWOOD            OH    45212‐1550
HELTON, BARBARA A                   15439 S SCOTT DRIVE                                                                                                     LOCKPORT           IL    60441‐7323
HELTON, BARBARA A                   499 COLONY DR                                                                                                           WHITELAND          IN    46184‐1741
HELTON, BEATICE                     17529 SMITH ST 2007                                                                                                     RIVERVIEW          MI    48193
HELTON, BEATRICE                    17529 SMITH ST 2007                                                                                                     RIVERVIEW          MI    48193
HELTON, BEULAH                      862 HARVEST DR APT D                                                                                                    KOKOMO             IN    46901‐7740
HELTON, BILL D                      C/O MOODY                        801 WEST FOURTH ST                                                                     LITTLE ROCK        AR    72201
HELTON, BILLY G                     517 E STAAT ST                                                                                                          FORTVILLE          IN    46040‐1006
HELTON, BRANDEN D                   4419 TARRAGON DR                                                                                                        INDIANAPOLIS       IN    46237‐3669
HELTON, BRANDON S                   2700 MICHELLE LN                                                                                                        HARTLAND           MI    48353‐3040
HELTON, BURLEY J                    74 WINSTON DR                                                                                                           HAMILTON           OH    45013‐1660
HELTON, CARLO                       1091 COLONIAL CIR                                                                                                       LEBANON            OH    45036‐8458
HELTON, CAROLINE                    121 TALICUD TRL                                                                                                         APEX               NC    27539‐9781
HELTON, CAROLINE                    121 TALICUD TRAIL                                                                                                       APEX               NC    27502‐9781
HELTON, CAROLYN A                   8680 HEILMAN DR                                                                                                         NEW CARLISLE       OH    45344‐7610
HELTON, CAROLYN C                   225 CLUBSIDE DR                                                                                                         STANFORD           KY    40484‐9519
HELTON, CAROLYN S                   424 MIRAGE DR                                                                                                           KOKOMO             IN    46901‐7035
HELTON, CHARLES                     1718 MOUNT PLEASANT RD                                                                                                  BEDFORD            IN    47421‐6620
HELTON, CHARLES M                   41 FAIRLANE DR                                                                                                          MOORESVILLE        IN    46158‐1024
HELTON, CHARLES N                   10415 CORNITH WAY                                                                                                       AVON               IN    46123‐6826
HELTON, CHARLES W                   3290 MURRAY HILL DR                                                                                                     SAGINAW            MI    48601‐5635
HELTON, CLAY                        MIKHOV LAW OFFICES OF STEVE      425 S FAIRFAX AVE STE 308                                                              LOS ANGELES        CA    90036‐3148
HELTON, CURTIS                      1745 W WAYNE ST                                                                                                         LIMA               OH    45805‐2241
HELTON, CURTIS J                    752 HARRISON AVE                                                                                                        DEFIANCE           OH    43512‐2024
HELTON, DANIEL                      9281 NEW HARMONY RD                                                                                                     MARTINSVILLE       IN    46151‐8255
HELTON, DANIEL J                    383 FAIRWAY ISLES LN                                                                                                    BRADENTON          FL    34212‐9342
HELTON, DANIEL K                    806 BROOKWOOD DR                                                                                                        TRENTON            OH    45067‐1810
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HELTON, DAVID B        13328 CANTERBURY DR                                                                      STERLING HEIGHTS    MI     48312‐3304
HELTON, DAVID C        10903 KEENE RD                                                                           LOUISVILLE          KY     40241‐4870
HELTON, DAVID L        3761 CHISHOLM DR                                                                         ANDERSON            IN     46012‐9363
HELTON, DEE W          4559 SASHABAW RD                                                                         WATERFORD           MI     48329‐1963
HELTON, DELORIS M      9561 CHILDRENS HOME BRADFORD RD                                                          BRADFORD            OH     45308‐9667
HELTON, DIANNA A       3513 LEFFERSON ROAD                                                                      MIDDLETOWN          OH     45044‐7058
HELTON, DIANNA KAY     900 W DAVISON LAKE RD                                                                    OXFORD              MI     48371
HELTON, DONALD L       785 SANSIDE DR                                                                           YORK                SC     29745‐6404
HELTON, DONALD L       1268 CLARAWILL DR                                                                        LOVELAND            OH     45140
HELTON, DONALD R       1337 SALEM CHURCH RD                                                                     BOSTIC              NC     28018‐7526
HELTON, DORIS FAY      175 NORTH EIGHT STREET            UNIT 1D                                                WILLIAMSBURG        OH     45176
HELTON, DOROTHY JEAN   PO BOX 1015                                                                              DEFIANCE            OH     43512‐1015
HELTON, DOTTIE M.      606 LOVEJOY LN                                                                           WOODSTOCK           GA     30189‐3634
HELTON, DOTTIE M.      606 LOVE JOY LANE                                                                        WOODSTOCK           GA     30189‐3634
HELTON, EARL           1709 UNIVERSITY DR                                                                       COLUMBIA            TN     38401‐6413
HELTON, ED E           247 LOCUST LN                                                                            WEST MILTON         OH     45383
HELTON, EDDIE L        295 TENNYSON KNL                                                                         GRAYSON             GA     30017‐4106
HELTON, EDWARD G       1910 W BIRCH RUN RD                                                                      BURT                MI     48417‐9677
HELTON, EUGENE         1763 LANCASTER DR                                                                        YOUNGSTOWN          OH     44511‐1038
HELTON, EULA S         3903 WATERBURY DR                                                                        DAYTON              OH     45439‐2442
HELTON, EVELYN F       6855 MORROW ROSSBURG RD                                                                  MORROW              OH     45152‐9433
HELTON, EVELYN F       6855 ROSSBURG RD                                                                         MORROW              OH     45152‐9433
HELTON, FERMAN H       HC 61 BOX 325                                                                            HULEN               KY     40845‐9701
HELTON, FERMAN H       1183 CARDINAL RD                                                                         HULEN               KY     40845‐9011
HELTON, FRANKLIN M     1515 ASH RIDGE CT                                                                        VANDALIA            OH     45377‐8714
HELTON, FRED LEE       19510 FERGUSON ST                                                                        DETROIT             MI     48235‐2464
HELTON, GAIL B         705 GRANDVIEW DR                                                                         GRIFFIN             GA     30224‐5308
HELTON, GARY L         8930 DAVISBURG RD                                                                        CLARKSTON           MI     48348
HELTON, GARY R         10481 DORVAL AVE                                                                         MIAMISBURG          OH     45342‐4814
HELTON, GENEVIEVE      1111 BOYLE ROAD                                                                          HAMILTON            OH     45013‐1819
HELTON, GEORGE         1250 ABERNATHY RD                                                                        LYNNVILLE           TN     38472‐5006
HELTON, GEORGE C       12720 WATERGROVE DR.                                                                     KNOXVILLE           TN     37922‐7922
HELTON, GEORGIA        21425 SYRACUSE                                                                           WARREN              MI     48091‐2823
HELTON, GERALD E       111 E HEBBLE AVE                                                                         FAIRBORN            OH     45324‐5014
HELTON, GLADYS         3995 COTTINGHAM DR APT 222                                                               CINCINNATI          OH     45241
HELTON, GLENNA D       101 MAPLE GARDENS DR APT 24                                                              ENGLEWOOD           OH     45322‐3242
HELTON, GLORIA C       22784 WINGED FOOT LANE                                                                   ATHENS              AL     35613‐8173
HELTON, GLORIA M       711 POST OAK CIR                                                                         CEDAR PARK          TX     78613‐2632
HELTON, GLORIA M       1665 S ELIZABETH ST                                                                      KOKOMO              IN     46902‐2457
HELTON, GRACIE M       320 GRANTLAND DR                                                                         DRY RIDGE           KY     41035‐7318
HELTON, HAROLD         7597 ORA LAKE RD                                                                         HALE                MI     48739‐8754
HELTON, HEATHER F      7326 FLAMINGO ST                                                                         CLAY                MI     48001‐4132
HELTON, HELEN          1337 SALEM CHURCH RD                                                                     BOSTIC              NC     28018‐7526
HELTON, HERMAN R       PO BOX 513                                                                               BARBOURVILLE        KY     40906‐0513
HELTON, HUBERT         7300 STATE ROUTE 41                                                                      MANCHESTER          OH     45144‐9373
HELTON, HUGH H         169 STRATFORD RD                                                                         HARROGATE           TN     37752‐7603
HELTON, JACKIE E       2020 AMBASSADOR LN                                                                       KOKOMO              IN     46902‐7204
HELTON, JACKSON R      3832 CHATHAM DR                                                                          DORAVILLE           GA     30340‐2408
HELTON, JAMES A        2672 FACTORY ROAD                                                                        SPRINGBORO          OH     45066‐7770
HELTON, JAMES A        2672 FACTORY RD                                                                          SPRINGBORO          OH     45066‐7770
HELTON, JAMES A        13809 EDMOND GARDENS DR                                                                  EDMOND              OK     73013‐7064
HELTON, JAMES D        3871 HOPPER HILL RD                                                                      CINCINNATI          OH     45255‐4942
HELTON, JAMES M        30225 29 MILE RD                                                                         LENOX               MI     48050‐2302
HELTON, JAMES R        1100 ROSETREE LN                                                                         CINCINNATI          OH     45230‐4042
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Name                  Address1                       Address2                  Address3   Address4               City           State   Zip
HELTON, JASON JOHN    9867 JACKSON ST                                                                            BELLEVILLE      MI     48111‐1476
HELTON, JENNIFER E    928 GULF SHORE BLVD                                                                        KOKOMO          IN     46902
HELTON, JERRY         6844 MINNICK RD                                                                            SPENCER         IN     47460‐5524
HELTON, JIMMIE C      P0 BOX 404                                                                                 WHITLEY CITY    KY     42653
HELTON, JIMMIE D      3839 W MICHIGAN ST                                                                         INDIANAPOLIS    IN     46222‐3321
HELTON, JIMMY L       2272 N SHALLOWFORD RD                                                                      CHAMBLEE        GA     30341‐1644
HELTON, JOAN S        31 E WILLIAMS DR                                                                           WEST MILTON     OH     45383‐1228
HELTON, JOHN          25499 HIGHWAY C                                                                            SALEM           MO     65560‐8597
HELTON, JOHN D        6445 STATE ROUTE 132                                                                       GOSHEN          OH     45122‐9225
HELTON, JOHN H        1004 BECKLEY ST                                                                            N MANCHESTER    IN     46962‐2109
HELTON, JOHNNY R      8288 WEST COUNTY ROAD          425 SOUTH                                                   REELSVILLE      IN     46171
HELTON, KATHRYN
HELTON, KATHRYN P     1929 BENDER RD                                                                             PORTAGE        MI      49002‐0574
HELTON, KAY M         45583 NICHOLE CT                                                                           MACOMB         MI      48044‐4349
HELTON, KEITH L       LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                     MIAMI          FL      33143‐5163
HELTON, KENNETH K     5718 COULSON CT                                                                            LANSING        MI      48911‐5018
HELTON, KEVIN D       6018 NW 51ST TER                                                                           KANSAS CITY    MO      64151‐3114
HELTON, LEHMAN E      810 N BLUFF RD                                                                             GREENWOOD      IN      46142‐7739
HELTON, LEONARD       29730 BRADNER DR                                                                           WARREN         MI      48088‐3777
HELTON, LEONZIA       8464 E US HIGHWAY 22 AND 3                                                                 MORROW         OH      45152‐9723
HELTON, LISA L        4614 SAINT CHARLES STREET                                                                  ANDERSON       IN      46013‐2458
HELTON, LUCILE M      10750 JONES BRIDGE ROAD                                                                    ALPHARETTA     GA      30022‐6540
HELTON, LUCY R        2815 MERSEY LN APT A                                                                       LANSING        MI      48911‐1477
HELTON, MAGGIE L      6520 MINNICK RD                                                                            SPENCER        IN      47460‐5523
HELTON, MARENA R      2106 PERRY RD SW                                                                           ALBUQUERQUE    NM      87105
HELTON, MARGARET M.   311 NO. BUFFALO ST                                                                         WARSAW         IN      46580‐2638
HELTON, MARGARET M.   311 N BUFFALO ST                                                                           WARSAW         IN      46580‐2638
HELTON, MARION E      20665 COUNTY LINE RD                                                                       TUSTIN         MI      49688‐8110
HELTON, MARK E        6000 NW 78TH CT                                                                            KANSAS CITY    MO      64151‐4404
HELTON, MARY ANNE     5011 BALDWIN HILLS DRIVE                                                                   ENGLEWOOD      OH      45322‐3511
HELTON, MARY F        21015 KATHY LN                                                                             SPICEWOOD      TX      78669‐6796
HELTON, MAX W         6429 MADISON ST                                                                            TAYLOR         MI      48180‐1722
HELTON, MELVIN F      10519 PLAINFIELD RD                                                                        SHARONVILLE    OH      45241‐2905
HELTON, MELVIN M      6813 NE STATE ROUTE 92                                                                     SMITHVILLE     MO      64089‐8923
HELTON, MICHAEL H     8680 HEILMAN DR                                                                            NEW CARLISLE   OH      45344‐7610
HELTON, MICHAEL R     114 QUAIL RUN                                                                              WOODSTOCK      GA      30189‐3536
HELTON, NADINE        5010 MARCY ROAD                                                                            DAYTON         OH      45449‐2747
HELTON, NADINE        5010 MARCY RD                                                                              DAYTON         OH      45449‐2747
HELTON, NANCY A       2020 AMBASSADOR LN                                                                         KOKOMO         IN      46902‐7204
HELTON, NELLA         C/O EDNA P WILLIAMS            6278 KELLY AVENUE                                           SPRINGFIELD    OH      45502‐8921
HELTON, NELLA         6278 KELLEY AVE                C/O EDNA P WILLIAMS                                         SPRINGFIELD    OH      45502‐8921
HELTON, NELSON D      12679 COUNTY ROAD 66                                                                       HEFLIN         AL      36264‐5814
HELTON, NOAH          6520 MINNICK RD                                                                            SPENCER        IN      47460‐5523
HELTON, OPAL M        542 S MEDWAY CARLISLE RD                                                                   NEW CARLISLE   OH      45344‐9713
HELTON, OPAL M        542 S. MEDWAY CARLISLE RD                                                                  NEW CARLISLE   OH      45344‐9713
HELTON, PAMELA A      3825 BENNER RD                                                                             MIAMISBURG     OH      45342‐4303
HELTON, PATTERSON F   PO BOX 69                                                                                  PATHFORK       KY      40863‐0069
HELTON, PAUL G        7326 FLAMINGO ST                                                                           CLAY           MI      48001‐4132
HELTON, PHILLIP L     300 NW CHURCH ST                                                                           TRENTON        MO      64683‐8596
HELTON, RAIFORD D     747 DAVIS RD                                                                               CARROLLTON     GA      30116‐6260
HELTON, RAYMOND E     575 PHILLIP ST                                                                             HUNTINGTON     IN      46750‐1455
HELTON, REED C        PO BOX 365                                                                                 TATEVILLE      KY      42558‐0365
HELTON, RICHARD       4905 W CAVEN ST                                                                            INDIANAPOLIS   IN      46241‐4409
HELTON, RICKY L       4342 E COURT ST                                                                            BURTON         MI      48509‐1808
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Name                        Address1                      Address2                        Address3   Address4               City           State   Zip
HELTON, RICKY LEE           4342 E COURT ST                                                                                 BURTON          MI     48509‐1808
HELTON, ROBIN               3331 HUNTSVILLE HIGHWAY                                                                         FAYETTEVILLE    TN     37334‐6091
HELTON, RONALD E            5712 S DELMAR RD                                                                                MARION          IN     46953‐6118
HELTON, RONALD G            580 ARTHUR LN                                                                                   CORINTH         KY     41010‐2106
HELTON, ROOSEVLT            5465 NORTHFIELD CT APT 128                                                                      SAGINAW         MI     48601‐7333
HELTON, ROSCOE              225 CLUBSIDE DR                                                                                 STANFORD        KY     40484‐9519
HELTON, ROSS W              5793 EVEREST DR                                                                                 CLARKSTON       MI     48346‐3236
HELTON, ROY                 1875 KY 2027                                                                                    CAMPTON         KY     41301‐7922
HELTON, SALLY J             3779 TUCKALEECHEE PIKE                                                                          MARYVILLE       TN     37804‐3807
HELTON, SANDRA M            618 GETTYSBURG                                                                                  COATESVILLE     IN     46121‐8960
HELTON, SCOTT               5323 KRISTEN PL                                                                                 ANDERSON        IN     46017‐9660
HELTON, SCOTT B.            5323 KRISTEN PL                                                                                 ANDERSON        IN     46017‐9660
HELTON, SHERRI L            10790 RENO RD                                                                                   OSKALOOSA       KS     66066‐4036
HELTON, SHERRI LOUISE       10790 RENO RD                                                                                   OSKALOOSA       KS     66066‐4036
HELTON, SHERRIE             35270 GLENWOOD                TRAILER #7                                                        WESTLAND        MI     48186
HELTON, SHERRIE             34009 CASEVILLE CT                                                                              WESTLAND        MI     48186‐5410
HELTON, SHIRLEY C           2420 DANUBE COURT                                                                               KETTERING       OH     45420‐5420
HELTON, SHIRLEY C           2420 DANUBE CT                                                                                  KETTERING       OH     45420‐1004
HELTON, STACEY A            2700 MICHELLE LN                                                                                HARTLAND        MI     48353‐3040
HELTON, STANLEY E           400 SYCAMORE LN                                                                                 WATERVILLE      OH     43566‐1219
HELTON, STANLEY EDWARD      400 SYCAMORE LN                                                                                 WATERVILLE      OH     43566‐1219
HELTON, STEVEN M            2325 MUNDALE AVE                                                                                DAYTON          OH     45420‐2528
HELTON, SUDIE               PO BOX 371                                                                                      CORBIN          KY     40702‐0371
HELTON, THERESA S           19901 INLET RD                C/O PAMELA STONE                                                  VERSAILLES      MO     65084‐5105
HELTON, THOMAS P            PO BOX 28                                                                                       WELLINGTON      KY     40387‐0028
HELTON, TILMON              1385 PINE AVENUE                                                                                N FT MYERS      FL     33917‐3434
HELTON, TILMON              1370 PINE AVE                                                                                   N FT MYERS      FL     33917‐3435
HELTON, TIMOTHY C           370 E CENTRAL AVE                                                                               SPRINGBORO      OH     45066‐8552
HELTON, TIMOTHY L           2423 W STANLEY RD                                                                               MOUNT MORRIS    MI     48458‐8258
HELTON, TINA F              4419 TARRAGON DR                                                                                INDIANAPOLIS    IN     46237‐3669
HELTON, TROY ALLEN          773 BANKVIEW DR                                                                                 COLUMBUS        OH     43228‐5789
HELTON, TROY W              10806 LOS SANTOS DR                                                                             PORT RICHEY     FL     34668‐2727
HELTON, VICKIE E            7488 W 450 N                                                                                    SHARPSVILLE     IN     46068‐9205
HELTON, VIOLET              2759 GREENBUSH WEST RD                                                                          MOUNT ORAB      OH     45154‐9106
HELTON, VIOLET              403 APPLE RD.                                                                                   AMELIA          OH     45102
HELTON, WAYNE               1831 SHERMAN AVE                                                                                NORWOOD         OH     45212‐2515
HELTON, WILLIE M            204 FERNBERRY DR                                                                                WATRFORD        MI     48328‐3115
HELTON, WRONA M             2002 EASTBRIDGE CT            C/O NANCY K. HELTON                                               LOUISVILLE      KY     40223‐3941
HELTON, WRONA M             C/O NANCY K. HELTON           2002 EASTBRIDGE CT                                                LOUISVILLE      KY     40223
HELTON, YVONNE J            2473 PERILLA RD                                                                                 COSBY           TN     37722‐3081
HELTON,GLENNA D             101 MAPLE GARDEN DR APT 24                                                                      ENGLEWOOD       OH     45322‐2242
HELTON,PAMELA A             3825 BENNER RD                                                                                  MIAMISBURG      OH     45342‐4303
HELTON,WAYNE                1831 SHERMAN AVE                                                                                NORWOOD         OH     45212‐2515
HELTON‐REDDINGTO, RENE L    PO BOX 7922                                                                                     FLINT           MI     48507‐0922
HELTON‐REDDINGTON, RENE L   PO BOX 7922                                                                                     FLINT           MI     48507‐0922
HELTSLEY DENNIS (445157)    BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH     44067
                                                          PROFESSIONAL BLDG
HELTSLEY, DAVID L           9805 BLACK HORSE RUN RD       C/O TOMMY LEWIS HELTSLEY                                          FORT MILL      SC      29707‐9506
HELTSLEY, DAVID R           529 RIDGE VIEW DR                                                                               DAVENPORT      FL      33837‐5578
HELTSLEY, DENNIS            BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD     OH      44067
                                                          PROFESSIONAL BLDG
HELTSLEY, DOLORES M         2204 N BALDWIN RD                                                                               OXFORD          MI     48371‐2904
HELTSLEY, MARY B            562 E TENNYSON                                                                                  PONTIAC         MI     48340‐2954
HELTSLEY, SHARON L          2922 SHAWNEE LN                                                                                 WATERFORD       MI     48329‐4336
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HELTSLEY, SHARON LEE       2922 SHAWNEE LN                                                                                 WATERFORD        MI     48329‐4336
HELTUNEN, JUDITH M         19677 IRONWOOD CT                                                                               NORTHVILLE       MI     48167‐2514
HELTUNEN, PAUL F           8410 BRAGANZA ST                                                                                SPRING HILL      FL     34608‐4031
HELTZEL, GEORGE W          300 BRUCE CT                                                                                    KOKOMO           IN     46902‐3607
HELTZEL, JESUSA            4817 BRANCH RD                                                                                  FLINT            MI     48506‐2013
HELTZEL, RUTH A            300 BRUCE CT                                                                                    KOKOMO           IN     46902‐3607
HELTZEL, WARDEN W          69 WILLOW DR                                                                                    MILAN            OH     44846‐9608
HELUK, MARION F            15 BEAR MOUNTAIN CT                                                                             TOMS RIVER       NJ     08753‐1617
HELVERN, JAMES F           9581 STATE ROUTE 503 N                                                                          LEWISBURG        OH     45338‐8945
HELVEY, BARRY D            1071 N GREECE RD                                                                                ROCHESTER        NY     14626‐1022
HELVEY, BERNICE M          1188 LAS LOMAS DR UNIT D                                                                        LA HABRA         CA     90631‐2259
HELVEY, CECIL W            9318 S HUDSON AVE                                                                               OKLAHOMA CITY    OK     73139‐8643
HELVEY, MICHAEL E          10060 KATY FWY APT 1112                                                                         HOUSTON          TX     77055‐6024
HELVEY, PATRICIA A         1060 HIGHWAY Y                                                                                  FOLEY            MO     63347‐3125
HELVEY, SUZANNE M          1071 N GREECE RD                                                                                ROCHESTER        NY     14626‐1022
HELVEY, VIRGIL M           3142 SUNNY DR                                                                                   BROWNSBURG       IN     46112‐8799
HELVEY, WILLIAM G          4951 135TH ST                                                                                   CRESTWOOD         IL    60445‐1410
HELVI TANGUAY              14 OAKWOOD AVE                                                                                  SUMMERTOWN       TN     38483‐7606
HELVIE, DELORES A          3070 CHAPEL RD                                                                                  ANDERSON         IN     46012
HELVIE, DUANE R            12950 WARD RD                                                                                   CHESANING        MI     48616‐8519
HELVIE, ERIC W             3746 FRANCIS AVE SE                                                                             WYOMING          MI     49548‐3258
HELVIE, ERIC WAYNE         3746 FRANCIS AVE SE                                                                             WYOMING          MI     49548‐3258
HELVIE, GARY L             2321 W CARTER ST                                                                                KOKOMO           IN     46901‐5059
HELVIE, IMOGENE D          C/O JAMES S HELVIE              1604 W 31ST STREET                                              MARION           IN     46953
HELVIE, IMOGENE D          1604 W 31ST ST                  C/O JAMES S HELVIE                                              MARION           IN     46953‐3449
HELVIE, JACK O             2675 N 400 W                                                                                    ANDERSON         IN     46011‐8758
HELVIE, KAREN S            1103 EVERGREEN CT                                                                               ANDERSON         IN     46012‐5506
HELVIE, KAREN SUE          1900 N GARNET AVE                                                                               MUNCIE           IN     47303‐2530
HELVIE, LARRY W            6235 MCCULLUM TRL                                                                               ROSCOMMON        MI     48653‐9482
HELVIE, MARGARET H         1126 EAST MAIN ST APT 27                                                                        ASHLAND          OH     44805‐2836
HELVIE, MARGARET H         1126 E MAIN ST APT 27                                                                           ASHLAND          OH     44805‐2836
HELVIE, WAYNE C            114 58TH ST SE                                                                                  KENTWOOD         MI     49548‐5957
HELVIE, WILLIAM J          1900 N GARNET AVE                                                                               MUNCIE           IN     47303‐2530
HELVIE, WILLIAM J          1103 EVERGREEN CT                                                                               ANDERSON         IN     46012‐5506
HELVIG, JAMES R            1210 S PURDUM ST                                                                                KOKOMO           IN     46902‐1757
HELVIG, MARJORIE N         4463 S RD 00 EW LOT 91                                                                          KOKOMO           IN     46902
HELVOGT JR, WILLIAM W      2331 E VISTA CANYON RD                                                                          ORANGE           CA     92867‐1743
HELWEG, BRANDI             144 ANDALUCIA CT                                                                                SPARKS           NV     89441‐8854
HELWEG, FRANK L            144 ANDALUCIA CT                                                                                SPARKS           NV     89441‐8854
HELWEG, FRANK L.           144 ANDALUCIA CT                                                                                SPARKS           NV     89441‐8854
HELWER, EDWIN              3340 BINSCARTH AVE                                                                              SAGINAW          MI     48602‐3203
HELWER, GARY L             7305 E HOLLAND RD                                                                               SAGINAW          MI     48601‐9408
HELWICH, HENRY C           5421 VIA ONTIVEROS                                                                              YORBA LINDA      CA     92887‐2533
HELWIG AUTO CLINIC         3137 STATE ROAD 78                                                                              MOUNT HOREB      WI     53572
HELWIG I I, CHARLES R      8944 WILLITS RD                                                                                 MAYVILLE         MI     48744‐9330
HELWIG II, CHARLES R       8944 WILLITS RD                                                                                 MAYVILLE         MI     48744‐9330
HELWIG ROBERT E (472063)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                           STREET, SUITE 600
HELWIG, BETTY A            117 PARKHAVEN DR                                                                                AMHERST          NY     14228‐3468
HELWIG, CARL A             1067 RIVER RIDGE CIR                                                                            GRAND BLANC      MI     48439‐8047
HELWIG, DARYL L            2260 S OAK RD                                                                                   DAVISON          MI     48423‐9152
HELWIG, DARYL LYNN         2260 S OAK RD                                                                                   DAVISON          MI     48423‐9152
HELWIG, HOWARD L           APT 7106                        1921 ROBERT HALL BOULEVARD                                      CHESAPEAKE       VA     23324‐2983
HELWIG, JOHN W             1164 SUMMERHILL DR                                                                              JANESVILLE       WI     53546‐3723
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Name                                  Address1                          Address2                      Address3   Address4                 City              State   Zip
HELWIG, JOHN W                        5612 NW 85TH TER APT C51                                                                            KANSAS CITY        MO     64154‐2465
HELWIG, JULIE A                       1816 JACKS CREEK RD                                                                                 RICHMOND           KY     40475‐8871
HELWIG, KEVIN C                       50 SUNSET DR                                                                                        NIAGARA FALLS      NY     14304‐3718
HELWIG, KEVIN C.                      50 SUNSET DR                                                                                        NIAGARA FALLS      NY     14304‐3718
HELWIG, MARK A                        4739 PARKVIEW RD                                                                                    WATERFORD          WI     53185‐3351
HELWIG, MARVIN T                      2118 N LEXINGTON DR                                                                                 JANESVILLE         WI     53545‐0538
HELWIG, OWEN K                        6442 DRAW LN                                                                                        SARASOTA           FL     34238‐5136
HELWIG, RICHARD E                     1616 HONEYSUCKLE LN                                                                                 JANESVILLE         WI     53546‐4326
HELWIG, ROBERT E                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510‐2212
                                                                        STREET, SUITE 600
HELWIG, ROBERT L                      306 NW ROCKHILL CIR                                                                                 LEES SUMMIT       MO      64081‐2096
HELYN MARKOVICH                       415 AMBLER DR                                                                                       ELYRIA            OH      44035‐2907
HELYN RHODES                          236 BUFFALO ST                                                                                      CANANDAIGUA       NY      14424‐1014
HELZER, CHRIS E                       795 GOODRICH RD                                                                                     FOSTORIA          MI      48435‐9517
HELZER, DONNA L                       9119 LONGCROFT DR                                                                                   WHITE LAKE        MI      48386‐4056
HELZER, EUGENE E                      4935 MARY SUE AVE                                                                                   CLARKSTON         MI      48346‐3919
HELZER, GEORGE R                      2431 ORCHARD LN                                                                                     WHITE LAKE        MI      48386
HELZER, GREGORY D                     4935 MARY SUE AVE                                                                                   CLARKSTON         MI      48346‐3919
HELZER, HAROLD J                      7752 SHORT ST., BOX 43                                                                              MAYBEE            MI      48159
HELZER, JACKIE D                      7137 NICOLE DR                                                                                      SOUTH BRANCH      MI      48761
HELZER, JAMES H                       4022 N CENTER RD                                                                                    FLINT             MI      48506‐1436
HELZER, JOHN                          7171 GAVERN STREET                                                                                  WATERFORD         MI      48329
HELZER, JOHN H                        7171 GARVIN                                                                                         WATERFORD         MI      48329‐2827
HELZER, JOHN N                        820 MILL ST                                                                                         ORTONVILLE        MI      48462‐9762
HELZER, KATHLEEN                      795 GOODRICH RD                                                                                     FOSTORIA          MI      48435‐9517
HELZER, LOIS M                        7137 NICOLE DR                                                                                      SOUTH BRANCH      MI      48761‐9619
HELZER, MARY L                        715 JOYCEIL DR                                                                                      WATERFORD         MI      48328‐2334
HELZER, MARY SUE                      7702 CLIFTON DR                                                                                     SOUTH BRANCH      MI      48761‐9622
HELZER, PAUL M                        7702 CLIFTON DR                                                                                     SOUTH BRANCH      MI      48761‐9622
HELZER, REGINA                        204 N LESTER ST                                                                                     CAPAC             MI      48014‐3136
HELZER, ROBERT R                      885 CHALMERS AVE                                                                                    WATERFORD         MI      48328‐2719
HELZER, RONALD E                      6166 WILLITS RD                                                                                     FOSTORIA          MI      48435‐9619
HELZER, VIOLA M                       9286 E ATHERTON RD                                                                                  DAVISON           MI      48423‐8764
HEM KRISTIE A                         2047 SKIPPING STONE TRL                                                                             FLUSHING          MI      48433‐9797
HEM, R A                              8485 KOKOSING RD                                                                                    HALE              MI      48739‐8708
HEM/SOUTHFLD                          26777 CENTRAL PARK BLVD STE 300                                                                     SOUTHFIELD        MI      48076‐4172
HEMACARE CORPORATION                  JOHN DOUMITT                      15350 SHERMAN WAY STE 350                                         VAN NUYS          CA      91406‐4297
HEMAK, CARL J                         PO BOX 108                                                                                          ALMONT            MI      48003‐0108
HEMALI KACHALIA                       91 RESERVOIR AVE                  APT B                                                             JERSEY CITY       NJ      07307
HEMAN, DARRYL A                       33306 E 331ST ST                                                                                    GARDEN CITY       MO      64747‐8268
HEMANES, DONALD E                     6051 REGENT MNR                                                                                     LITHONIA          GA      30058
HEMANG SHAH                           5045 RENSHAW DR                                                                                     TROY              MI      48085‐4014
HEMANN ‐GUTHRIE CHEVROLET             501 W HANOVER ST                                                                                    NEW BADEN         IL      62265‐1625
HEMANN CHEVROLET, INC.                WILLIAM HEMANN                    501 W HANOVER ST                                                  NEW BADEN         IL      62265‐1625
HEMANN, FRED E                        PO BOX 505                                                                                          HIGHLAND          IL      62249‐0505
HEMANT BHONDE                         1412 PENN LN                                                                                        MOORE             OK      73160‐2638
HEMANT DAMANI                         1968 HUTCHINS DR                                                                                    ROCHESTER HILLS   MI      48309‐2976
HEMANT KISHAN                         3273 EVERETT DR                                                                                     ROCHESTER HILLS   MI      48307‐5070
HEMANTH MUNIPALLI                     1 HARBORSIDE PL APT 610                                                                             JERSEY CITY       NJ      07311‐3925
HEMAS (DRUGS) LTD., AUTOMOBILE DIV.   36 BRISTOL STREET                                                          COLOMBO 1 SRI LANKA

HEMATITE ACCOUSTICAL PROD             PAVACO PLASTICS INC               PO BOX 77000                                                      DETROIT            MI     48277‐1148
HEMATITE AMORTIZATIO                  41651 11 MILE ROAD                                                                                  NOVI               MI     48375
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HEMATITE AUTOMOTIVE PRODUCTS INC                                    37450 SCHOOLCRAFT                                                                       MI 48150

HEMATITE MANUFACTURING             659 SPEEDVALE AVE W                                                      GUELPH CANADA ON N1K 1E6
                                                                                                            CANADA
HEMATITE MANUFACTURING             659 SPEEDVALE AVE W              USD RMVD 06/28/07 CS                    GUELPH CANADA ON N1K 1E6
                                                                                                            CANADA
HEMATITE MANUFACTURING INC         29659 W TECH DR                                                                                     WIXOM               MI   48393‐3561
HEMATITE MFG. DIVISION             TIM MILLER X222                  659 SPEEDVALE AVE. WEST                 LONDON ON CANADA
HEMATITE/ GUELPH                   659 SPEEDVALE AVE W                                                      GUELPH ON N1K 1E6 CANADA

HEMATITE/GUELPH                    659 SPEEDVALE AVENUE WEST                                                GUELPH ON N1K 1E6 CANADA

HEMATITE/LIVONIA                   37450 SCHOOLCRAFT                                                                                   LIVONIA             MI   48150
HEMAUR, AMY                        2508 N MEADE ST                                                                                     APPLETON            WI   54911‐2209
HEMBERGER, DAVID                   WALLACE TED J                    1910 E KIMBERLY RD STE 305                                         DAVENPORT           IA   52807‐2033
HEMBREE JR, HAROLD W               4103 W CROSS ST                                                                                     ANDERSON            IN   46011‐9029
HEMBREE, CHERYL A                  1202 CARTERS CREEK PIKE                                                                             COLUMBIA            TN   38401‐7325
HEMBREE, CLAUDE D                  2136 RICHWOOD RD                                                                                    AUBURN HILLS        MI   48326‐2526
HEMBREE, CLIFFORD L                1289 WALD DR                                                                                        PLAINFIELD          NJ   07062‐2221
HEMBREE, EFFIE                     PORTER & MALOUF PA               4670 MCWILLIE DR                                                   JACKSON             MS   39206‐5621
HEMBREE, EUNICE W                  941 EASTERN AVENUE                                                                                  SUNMAN              IN   47041
HEMBREE, EVERETT E                 29419 UPTON ST                                                                                      WARSAW              MO   65355‐6775
HEMBREE, FELIX E                   6630 N GOODWINE ST                                                                                  AMBIA               IN   47917‐8020
HEMBREE, FRANCES A                 9184 LONGWORTH ST                                                                                   DETROIT             MI   48209‐1761
HEMBREE, FRED C                    6875 W BRIER CREEK DR                                                                               NEW PALESTINE       IN   46163‐9762
HEMBREE, FRED L                    128 E BRIG DR                                                                                       LITTLE EGG HARBOR   NJ   08087‐1617
                                                                                                                                       TWP
HEMBREE, GEORGE L                  5811 COUNCIL RING BLVD                                                                              KOKOMO              IN   46902‐5511
HEMBREE, JAMES C                   2475 NEWBERRY RD                                                                                    WATERFORD           MI   48329‐2343
HEMBREE, JAMES K                   PO BOX 322                                                                                          SPICELAND           IN   47385‐0322
HEMBREE, JAMES L                   253 MAXEY RD                                                                                        LAUREL              MS   39443‐2936
HEMBREE, JASON N                   2125 PARK SPRINGS CIR APT 1051                                                                      ARLINGTON           TX   76013‐6820
HEMBREE, JERRY M                   1202 CARTERS CREEK PIKE                                                                             COLUMBIA            TN   38401‐7325
HEMBREE, JIMMY R                   8344 N M 52                                                                                         HENDERSON           MI   48841‐9709
HEMBREE, JOHN A                    1099 E GLADE CREEK RD                                                                               CLARKESVILLE        GA   30523‐4810
HEMBREE, JOSEPH D                  2490 DUNHILL PL                                                                                     KETTERING           OH   45420‐3737
HEMBREE, LEE D                     5327 LEE CIRCLE                                                                                     FOREST PARK         GA   30297‐2728
HEMBREE, MARY A                    17306 HOLLAND HTS                                                                                   ATHENS              AL   35613
HEMBREE, MERLE E                   117 CAPERTON DR NE                                                                                  CLEVELAND           TN   37312‐4791
HEMBREE, NICHOLAS W                6230 STEWART RD                                                                                     BUFORD              GA   30518‐2028
HEMBREE, RAYMOND W                 129 BEAR CREEK DR                                                                                   OLD FORT            TN   37362‐7692
HEMBREE, ROBERT E                  5559 KERNS LN                                                                                       INDIANAPOLIS        IN   46268‐4085
HEMBREE, ROBERT L                  2806 N DOUBLEGATE DR                                                                                ALBANY              GA   31721‐9226
HEMBREE, SARAH R                   2264 CANDLEWOOD DR                                                                                  KETTERING           OH   45419‐2812
HEMBREE, WILLARD C                 9429 LINCOLN ST                                                                                     TAYLOR              MI   48180‐3661
HEMBREE, WILLIE S                  3862 IROQUOIS ST                                                                                    DETROIT             MI   48214‐4501
HEMBROOK, ARTHUR H                 9476 SHEEHAN RD                                                                                     DAYTON              OH   45458
HEMBRUCH, GUSTAV CHARLES           G 2463 NERREDIA ST                                                                                  FLINT               MI   48532
HEMBRUCH, MOLLIE J                 G2463 NERREDIA ST                                                                                   FLINT               MI   48532
HEMBY JOHNNY                       6020 W IDLEWILD AVE                                                                                 TAMPA               FL   33634‐5141
HEMBY JR., WEBSTER                 62 ELMONT RD                                                                                        TRENTON             NJ   08610‐1218
HEMBY, AURA L                      1611 MOUNT CARMEL CHURCH LN                                                                         CANTON              GA   30114‐7696
HEMBY, SHERRIE                     10928 BUCHANAN ST                                                                                   BELLEVILLE          MI   48111‐3454
HEMBY, WALTER J                    680 ALEXANDRIA LN                                                                                   WINTERVILLE         NC   28590‐9445
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Name                       Address1                         Address2              Address3       Address4               City               State   Zip
HEMBY, WALTER JAMES        680 ALEXANDRIA LN                                                                            WINTERVILLE         NC     28590‐9445
HEMCHAK, RICHARD J         701 W BOGART RD                                                                              SANDUSKY            OH     44870‐5855
HEMCHAK, SARAH M           4211 WOODRIDGE DR                                                                            SANDUSKY            OH     44870
HEMCHAK, SARAH M           701 W BOGART RD                                                                              SANDUSKY            OH     44870‐5855
HEMCHAK, VERONICA K        112 MALLARD CREEK RUN                                                                        LAGRANGE            OH     44050‐9804
HEMCO/STERLING HGTS        36200 MOUND RD                                                                               STERLING HEIGHTS    MI     48310‐4737
HEME, ALLEN G              3226 MONTANA AVE                                                                             FLINT               MI     48506
HEME, GERALD L             1067 S PATTERSON RD                                                                          MIDLAND             MI     48640‐7617
HEMEL'S CHEVROLET, INC.    RICHARD ENGEL                    215 E STATE ST                                              COLON               MI     49040‐9433
HEMEL'S CHEVROLET, INC.    215 E STATE ST                                                                               COLON               MI     49040‐9433
HEMELT JR, GEORGE J        27 LAKE DR                                                                                   BEL AIR             MD     21014‐5942
HEMENDRA SHAH              26298 WILDERNESS                                                                             FARMINGTON HILLS    MI     48334‐4319

HEMENEZ, LAWRENCE          360 ROTARY ST                                                                                HAYWARD            CA      94541‐6338
HEMENWAY, DENISE M         602 W MAIN ST                                                                                OWOSSO             MI      48867‐2610
HEMENWAY, DOROTHY M        543 OAKBROOK CIR                                                                             FLUSHING           MI      48433‐1706
HEMENWAY, DOROTHY M        C/O RONALD A STRAUB              543 OAKBROOK CIRCLE                                         FLUSHING           MI      48433
HEMENWAY, EDWIN C          11360 MOUNT ZION RD                                                                          MARCELLUS          MI      49067‐8775
HEMENWAY, ELIZABETH        2296 E ANDERSON RD                                                                           LINWOOD            MI      48634‐9466
HEMENWAY, GREGORY G        1461 FRIEL ST                                                                                BURTON             MI      48529‐2017
HEMENWAY, GREGORY GLEN     1461 FRIEL ST                                                                                BURTON             MI      48529‐2017
HEMENWAY, KAREN L          K/O KEELY FOLLEN                 540 N BRADY ST                                              CORUNNA            MI      48817‐1427
HEMENWAY, RONALD J         3880 E FROST RD                                                                              WEBBERVILLE        MI      48892‐9283
HEMENWAY, SHIRLEY A        12863 BYRON RD                                                                               BYRON              MI      48418
HEMER, PETER F             102 SANDALWOOD DR                                                                            GREENVILLE         OH      45331‐2886
HEMERKA, MARY              91 FAIRWAY RD                                                                                ROTONDA WEST       FL      33947‐2017
HEMEYER, CHARLES E         5169 HERITAGE LN                                                                             FENTON             MI      48430‐9538
HEMGESBERG, ALVIN L        17200 STUART RD                                                                              CHESANING          MI      48616‐9799
HEMGESBERG, JAMES F        429 S CHAPMAN ST                                                                             CHESANING          MI      48616‐1305
HEMGESBERG, MICHAEL A      15015 LINCOLN RD                                                                             CHESANING          MI      48616‐9728
HEMGESBERG, ROBERT J       1888 S GREY RD                                                                               MIDLAND            MI      48640‐9302
HEMGESBERG, WILLIAM D      1165 DITCH RD                                                                                NEW LOTHROP        MI      48460‐9648
HEMING, DOROTHY A          92 CRANBERRY BEACH BLVD                                                                      WHITE LAKE         MI      48386‐1915
HEMING, JOSEPH W           829 DORSEY AVE                                                                               BALTIMORE          MD      21221‐3507
HEMING, MARGARET           125 GREISON TRL                                                                              NEWNAN             GA      30263‐1442
HEMINGER JR, ARTHUR M      PO BOX 130                                                                                   LIZTON             IN      46149‐0130
HEMINGER PHILIP            113 FAIRWOOD DR                                                                              YORK               SC      29745‐6363
HEMINGER, CLARKE E         12322 RAELYN HILLS DR                                                                        PERRY              MI      48872‐9198
HEMINGER, EVA R            589 W ASHBY                                                                                  MIDLAND            MI      48640‐9163
HEMINGER, EVA R            589 W ASHBY RD                                                                               MIDLAND            MI      48640‐9163
HEMINGER, NICHOLAS SCOTT   4953 LAKE PALMETTO LN                                                                        N CHARLESTON       SC      29418‐5991
HEMINGER, PAUL R           39 REDLEVEL WALK                                                                             NEWNAN             GA      30265‐6207
HEMINGER, PHILIP S         113 FAIRWOOD DR                                                                              YORK               SC      29745‐6363
HEMINGER, PHILIP S.        113 FAIRWOOD DR                                                                              YORK               SC      29745‐6363
HEMINGER, REBA L           39 REDLEVEL WALK                                                                             NEWNAN             GA      30265‐6207
HEMINGWAY, AMY E           3043 E FRANCES RD                                                                            CLIO               MI      48420‐9716
HEMINGWAY, BARBARA J       8529 CHEROKEE TRL                                                                            CROSSVILLE         TN      38572‐6341
HEMINGWAY, BERNICE J       5501 AUTUMNWOODS RD              APT 1                                                       TROTWOOD           OH      45426‐5426
HEMINGWAY, BEVERLY J       4729 CUSENZA DR                                                                              OTTER LAKE         MI      48464‐9637
HEMINGWAY, BRITNEY         1509 GENERAL LANE                                                                            LONGES             SC      29568
HEMINGWAY, BRITTANY        PO BOX 203                                                                                   LONGS              SC      29568‐7026
HEMINGWAY, BRUCE R         5490 MILLINGTON RD                                                                           MILLINGTON         MI      48746‐8700
HEMINGWAY, DEVEDA M        20 RIO GRANDE AVE                                                                            DAYTON             OH      45426
HEMINGWAY, EARL B          4808 CASTLEBORO CT                                                                           WILMINGTON         NC      28411‐7757
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Name                         Address1                     Address2               Address3      Address4               City               State   Zip
HEMINGWAY, EARLINE           24 REUBENS CIR               C/O LEE MORRIS JONES                                        NEWARK              DE     19702‐3034
HEMINGWAY, EDNA L            2220 MYRTLE VISTA CT                                                                     SUN CITY CENTER     FL     33573
HEMINGWAY, ESTHER M          515 GALAHAD DR                                                                           LANSING             MI     48906‐1658
HEMINGWAY, FREDERICK E       624 SOUTH GRAND TRAVERSE                                                                 FLINT               MI     48502
HEMINGWAY, GLORIA J          3075 W PIERCE RD                                                                         SAGINAW             MI     48604‐9245
HEMINGWAY, GLORIA J          3075 PIERCE RD                                                                           SAGINAW             MI     48604‐9245
HEMINGWAY, GORDON N          8529 CHEROKEE TRL                                                                        CROSSVILLE          TN     38572‐6341
HEMINGWAY, HAROLD G          1877 N WILLIAMSTON RD                                                                    WILLIAMSTON         MI     48895‐9698
HEMINGWAY, ISABELLE D        700 E KEARSLEY ST                                                                        FLINT               MI     48503‐1998
HEMINGWAY, JEFFREY R         7114 MYERS DR                                                                            DAVISON             MI     48423‐2375
HEMINGWAY, JEFFREY RICHARD   7114 MYERS DR                                                                            DAVISON             MI     48423‐2375
HEMINGWAY, JOSEPH H          5501 AUTUMNWOODS RD          APT 1                                                       TROTWOOD            OH     45426
HEMINGWAY, KURT A            2040 POWELL DR                                                                           CULLEOKA            TN     38451‐2733
HEMINGWAY, LAWRENCE F        G‐6157 RICHFIELD ROAD                                                                    FLINT               MI     48506
HEMINGWAY, LEWIS H           6350 N LAKE RD                                                                           OTTER LAKE          MI     48464‐9791
HEMINGWAY, LLOYD B           PO BOX 44                                                                                OTTER LAKE          MI     48464‐0044
HEMINGWAY, MARIANNE          16193 W EDGEMONT AVE                                                                     GOODYEAR            AZ     85395‐8116
HEMINGWAY, MAX J             2248 SULLIVAN RD                                                                         ARCADE              NY     14009‐9747
HEMINGWAY, MICHAEL           10 OAK ST                                                                                SAINT ALBANS        VT     05478‐2137
HEMINGWAY, MILDRED E         3608 SPATTERDOCK LN                                                                      PORT SAINT LUCIE    FL     34952‐3161
HEMINGWAY, PATRICIA ANN      26 DAKOTA ST                                                                             BUFFALO             NY     14216‐2752
HEMINGWAY, PATRICIA M        1213 THELMA ST                                                                           MT MORRIS           MI     48458‐1718
HEMINGWAY, ROBERT A          4760 WASHBURN RD RT 3                                                                    VASSAR              MI     48768
HEMINGWAY, ROBERT D          166 W WILDER RD                                                                          AUBURN              MI     48611‐9749
HEMINGWAY, ROBERT L          9177 NICOLE LN                                                                           DAVISON             MI     48423‐2882
HEMINGWAY, ROBERT M          16193 W EDGEMONT AVE                                                                     GOODYEAR            AZ     85395‐8116
HEMINGWAY, SUZANNE M         7114 MYERS DR                                                                            DAVISON             MI     48423‐2375
HEMINGWAY, THOMAS            10129 DEVONSHIRE DR                                                                      HUNTERSVILLE        NC     28078‐6183
HEMINGWAY, VERNA M           1605 BERRYWOOD LN                                                                        FLINT               MI     48507‐5344
HEMINGWAY, WILSON H          1213 THELMA ST                                                                           MOUNT MORRIS        MI     48458‐1718
HEMINOVER, ELRENA I          1040 PILGRIM WAY                                                                         GREEN BAY           WI     54304‐5028
HEMKE, ROBERT A              728 W MISSION ST                                                                         SANTA BARBARA       CA     93101‐3918
HEMKEN, EDNA M               RR 1 BOX 373                                                                             VANDALIA             IL    62471‐9610
HEMKER, DENNIS M             6250 FERGUS RD                                                                           SAINT CHARLES       MI     48655‐9688
HEMKER, DONALD E             1826 FRY RD                                                                              BURT                MI     48417‐2099
HEMKER, DOUGLAS A            12390 W BURT RD                                                                          SAINT CHARLES       MI     48655‐8608
HEMKER, JOHN J               1242 W HIBBARD RD                                                                        OWOSSO              MI     48867‐9212
HEMKER, KENNETH B            5430 W BIRCH RUN RD                                                                      SAINT CHARLES       MI     48655‐9627
HEMKER, RICHARD A            7559 ELLIE ST                                                                            SAGINAW             MI     48609‐4923
HEMKER, ROBERT A             PO BOX 1                                                                                 MONTROSE            MI     48457‐0001
HEMLOCK SEMICONDUCTOR        JILL BAKER                   12334 GEDDES RD                                             HEMLOCK             MI     48626‐9409
HEMM, EDWARD H               712 N DOWNING ST                                                                         PIQUA               OH     45356‐2006
HEMMANS, CHARLES A           PO BOX 19271                                                                             NEW ORLEANS         LA     70179‐0271
HEMME, FLORENCE N            714 HALLBROOKE DR                                                                        WARRENSBURG         MO     64093‐2494
HEMME, GAY A                 4759 LORI LU DR                                                                          CASEVILLE           MI     48725‐9701
HEMME, GREGG G               750 W CHELSEA CIR                                                                        DAVISON             MI     48423‐1262
HEMME, KENNETH               514 WEST STREET, BOX 374                                                                 CONCORDIA           MO     64020
HEMME, LELAND J              101 CRAIG RD                                                                             HERMITAGE           MO     65668‐9110
HEMME, LELAND J              HC1 BOX 35‐2A                                                                            HERMITAGE           MO     65668‐9602
HEMMEGER, VIRGINIA A         1814 SUSSEX ON BERKLEY                                                                   KOKOMO              IN     46901‐1853
HEMMELGARN, IVO L            1840 FIELDSTONE DR.                                                                      DAYTON              OH     45414‐5304
HEMMELGARN, ODESSA           3043 DAHLIA DR                                                                           DAYTON              OH     45449‐2905
HEMMELGARN, ROBERT J         7793 BROOKFARM CT                                                                        MASON               OH     45040
HEMMER, ANITA E              150 PAL DR                                                                               KERRVILLE           TX     78028‐9630
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Name                               Address1                         Address2                       Address3   Address4               City               State Zip
HEMMER, DIANE E                    3979 FOREST PARKWAY              #264                                                             NORTH               NY 14120
                                                                                                                                     TONOWANDA
HEMMER, DIANE E                    3979 FOREST PARK WAY APT 264                                                                      NORTH              NY   14120‐3750
                                                                                                                                     TONAWANDA
HEMMER, DONALD C                   25 N VERNON ST                                                                                    MIDDLEPORT         NY   14105‐1015
HEMMER, ELLEN W                    61 FOXCROFT DR                   C/O JOSEPH M. HAYDEN                                             HAMBURG            NY   14075‐4618
HEMMER, JAMES K                    9105 FOREST WILLOW DR                                                                             INDIANAPOLIS       IN   46234‐8901
HEMMER, LOUIS G                    204 IRVING ST                                                                                     LOCKPORT           NY   14094‐2546
HEMMER, MELVIN D                   5611 SUSAN DR                                                                                     CASTALIA           OH   44824‐9749
HEMMER, RICHARD J                  1808 SANDUSKY ST                                                                                  SANDUSKY           OH   44870‐3053
HEMMER, RONALD D                   26458 EDEN TRL                                                                                    WARRENTON          MO   63383‐3430
HEMMER‐MCINTYRE, MARIE F           6349 VINTAGE CT                                                                                   LOCKPORT           NY   14094‐9564
HEMMERICH, JUANITA                 BOX 722 153 NORTH STATE ST.                                                                       VERONA             OH   45378‐0722
HEMMERICH, JUANITA                 PO BOX 722                                                                                        VERONA             OH   45378‐0722
HEMMERLIEN DAVID                   313 WOODBRIDGE DR                                                                                 PITTSBURGH         PA   15237‐3359
HEMMERLING, DONALD E               163 LOSSON RD                                                                                     CHEEKTOWAGA        NY   14227‐2341
HEMMERLING, DONALD E               7 7TH AVE                                                                                         N TONAWANDA        NY   14120‐6608
HEMMERLING, LAWRENCE P             25 VITA AVE                                                                                       CHEEKTOWAGA        NY   14227‐1519
HEMMERLING, PHILLIP J              3601 COVENTRY DR                                                                                  JANESVILLE         WI   53546‐9666
HEMMERLY CHARLES R (429084)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510
                                                                    STREET, SUITE 600
HEMMERLY, BRIAN M                  4262 PEBBLE CREEK BOULEVARD                                                                       GRAND BLANC        MI   48439‐9066
HEMMERLY, CHARLES R                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510‐2212
                                                                    STREET, SUITE 600
HEMMERLY, FRED W                   295 WILLIS AVE                                                                                    ROCHESTER          NY   14616‐4203
HEMMERSBACH, DIRK
HEMMERSBACH, ROGER C               3823 CHESAPEAKE AVE                                                                               JANESVILLE         WI   53546‐4262
HEMMERSBACH, RONALD L              168 COUNTY RD N                                                                                   EDGERTON           WI   53534‐9552
HEMMERT ERIN E                     352 WILSHIRE DRIVE                                                                                BLOOMFIELD         MI   48302‐1064
HEMMERT JEFFREY DOUGLAS (453178)   WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                  NEW YORK           NY   10038
HEMMERT, ALVIN J                   352 WILSHIRE DR                                                                                   BLOOMFIELD HILLS   MI   48302‐1064
HEMMERT, DAVID J                   6381 FRANKLIN TRAIL DR                                                                            EL PASO            TX   79912‐8154
HEMMERT, ERIN E                    352 WILSHIRE DR                                                                                   BLOOMFIELD HILLS   MI   48302‐1064
HEMMERT, JEFFREY DOUGLAS           WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                  NEW YORK           NY   10038
HEMMERT, MICHAEL J                 3509 HIGH POINT CT                                                                                DAYTON             OH   45440‐3569
HEMMERT, PAUL M                    27351 E OTERO PL                                                                                  AURORA             CO   80016
HEMMES, EARLENE G                  4390 W MOUNT MORRIS RD                                                                            MOUNT MORRIS       MI   48458‐9332
HEMMES, JAMES L                    7489 W MOUNT MORRIS RD                                                                            FLUSHING           MI   48433‐8833
HEMMES, SUSAN D                    5332 SANDALWOOD CT                                                                                GRAND BLANC        MI   48439‐4270
HEMMETER, BARBARA L.               7877 PAWNEE RD                                                                                    LODI               OH   44254‐9765
HEMMETER, BEVERLY J                6855 BRANDYWINE RD                                                                                PARMA HEIGHTS      OH   44130‐4607
HEMMETER, JOHN N                   522B EAST SHORT STREET                                                                            WINCHESTER         IN   47394‐1324
HEMMI, ROBERT W                    2729 SUN TERRACE DR                                                                               HARTLAND           MI   48353‐2821
HEMMIE STEPHEN                     HEMMIE, STEPHEN                  100 COURT AVE STE 405                                            DES MOINES         IA   50309‐2257
HEMMIE STEPHEN                     HEMMIE, STEPHEN                  100 COURT AVENUE , SUITE 405                                     DES MOINES         IA   50309
HEMMIE, STEPHEN                    BUCKLEY W ADAM                   100 COURT AVE STE 405                                            DES MOINES         IA   50309‐2257
HEMMIE, STEPHEN                    ELVERSON VASEY & PETERSON        100 COURT AVE STE 405                                            DES MOINES         IA   50309‐2257
HEMMIE, STEPHEN
HEMMIG, MIRIAM G                   103 CENTER PL APT 221                                                                             DUNDALK            MD   21222‐4345
HEMMIG, MIRIAM G                   103 CENTER PLACE                 #221                                                             DUNDALK            MD   21222‐4345
HEMMILA, PAULA K                   144 M‐35                                                                                          NEGAUNEE           MI   49866
HEMMING POLACZYK AND CRONIN        PO BOX 388                       27218 MICHIGAN AVENUE                                            INKSTER            MI   48141‐0388
HEMMING, ELIZABETH H               21669 HAMPTON ST                                                                                  BEVERLY HILLS      MI   48025‐3658
HEMMING, GEORGIA A                 PO BOX 980145                                                                                     PARK CITY          UT   84098‐0145
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Name                       Address1                           Address2                  Address3   Address4               City            State   Zip
HEMMING, RALPH O           8189 N BRAY RD                                                                                 MOUNT MORRIS     MI     48458‐8829
HEMMING‐ROBERTS, KATHY S   520 S ELBA RD                                                                                  LAPEER           MI     48446‐2775
HEMMINGER, LESLIE E        8604 W STATE ROUTE 163                                                                         OAK HARBOR       OH     43449‐8816
HEMMINGER, MELVIN R        4856 CLINTON WAY DR                                                                            WATERFORD        MI     48328‐1006
HEMMINGER, ROBERT L        11501 BROWN RD                                                                                 SPRINGPORT       MI     49284‐9722
HEMMINGS MOTOR NEWS        RAY SHAW                           222 MAIN ST                                                 BENNINGTON       VT     05201‐2103
HEMMINGS, OSCAR J          510 SAWYER ST                                                                                  ROCHESTER        NY     14619
HEMMINGS, OSCAR J          510 SAWYER ST 14619                                                                            ROCHESTER        NY     14619
HEMMINGS, THELMA D         800 FLOWER CITY PARK                                                                           ROCHESTER        NY     14615‐3625
HEMMINGSEN, CLEVELAND E    7289 MOHAWK TRAIL RD                                                                           DAYTON           OH     45459‐3554
HEMMINGSEN, DAVID A        1055 UMBREIT CT                                                                                MIAMISBURG       OH     45342
HEMMINGSEN, TAMMY L        1055 UMBREIT CT                                                                                MIAMISBURG       OH     45342
HEMMINGWAY JR, JOHN R      18495 GRANDVILLE AVE                                                                           DETROIT          MI     48219‐2826
HEMMINGWAY, DARLENE        4135 LEAVITT DR NW                                                                             WARREN           OH     44485
HEMMINGWAY, JESSEY S       4543 WOODHURST DR.                                                                             AUSTINTOWN       OH     44515
HEMMINGWAY, THERESA L      2854 RED FOX RUN DR NW                                                                         WARREN           OH     44485‐1572
HEMMLE, RICHARD P          4104 FIRETHORN DR                                                                              ARLINGTON        TX     76017‐4624
HEMMLER, LORNA W           5153 CEDAR HILLS BLVD                                                                          BELLE VERNON     PA     15012‐3891
HEMOND, CLAUDETTE D        10 HEMOND ST                                                                                   MANCHESTER       NH     03103‐6537
HEMP, WILLIAM L            3845 GEORGETOWN VERONA RD                                                                      LEWISBURG        OH     45338‐9518
HEMPEL JOHN                28720 GALLOWAY ST                                                                              ROSEVILLE        MI     48066‐4258
HEMPEL STEVEN P            2 LE CHATEAUX CT                                                                               SAINT CHARLES    MO     63301‐0680
HEMPEL, BEATRICE M         48465 LAKE VALLEY DRIVE                                                                        SHELBY TWP       MI     48317‐2128
HEMPEL, CARL A             G4439 BALDWIN RD RT 2                                                                          HOLLY            MI     48442
HEMPEL, JACK R             7211 LAPEER RD                                                                                 DAVISON          MI     48423‐2533
HEMPEL, JAMES H            11 OAK RIDGE RD                                                                                SULLIVAN         MO     63080‐4100
HEMPEL, JOHN D             28720 GALLOWAY ST                                                                              ROSEVILLE        MI     48066‐4258
HEMPEL, LEONARD R          8245 MEADOW AVE                                                                                WARREN           MI     48089‐2930
HEMPEL, ROSA               2263 RIDGEMOOR CT                                                                              BURTON           MI     48509‐1391
HEMPEL, RUDOLPH H          4884 TYLER OAKS DR.,                                                                           HUDSONVILLE      MI     49426
HEMPEL, STEVEN P           2 LE CHATEAUX CT                                                                               SAINT CHARLES    MO     63301
HEMPEL, TRACY L            15617 SE 173RD ST                                                                              RENTON           WA     98058‐9121
HEMPEL, VICTORIA E         5123 VIA SEVILLE                                                                               OCEANSIDE        CA     92056
HEMPEL, WILLIAM B          3629 LICATA CT                                                                                 PUNTA GORDA      FL     33950‐7841
HEMPEL, WILLIAM O          2500 S 88TH ST                                                                                 WEST ALLIS       WI     53227‐2724
HEMPEN, CARL L             2014 W MAIN ST                                                                                 SALEM             IL    62881‐5842
HEMPEN, SEVERIN T          1203 WOODLAND DR                                                                               WAYLAND          MI     49348‐9570
HEMPERLY, JERRY D          1825 MOUNT ZION RD                                                                             MANSFIELD        OH     44903‐7550
HEMPFIELD, ROBERT T        148 WESTGATE DR                                                                                MANSFIELD        OH     44906‐2844
HEMPHILL ERIC              THE LIPMAN LAW FIRM                5915 PONCE DE LEON BLVD   STE 44                            CORAL GABLES     FL     33146
HEMPHILL JEFFREY           THE LIPMAN LAW FIRM                5915 PONCE DE LEON BLVD   SUITE 44                          CORAL GABLES     FL     33146
HEMPHILL JR, HENRY J       1762 ALDERBROOK RD NE                                                                          ATLANTA          GA     30345‐4110
HEMPHILL JR, JAMES E       1208 WOODVIEW LN                                                                               EDMOND           OK     73013‐6013
HEMPHILL JR, JAMES L       2820 WINONA ST                                                                                 FLINT            MI     48504‐2567
HEMPHILL JR, SIDNEY D      157 EAST PASADENA AVENUE                                                                       FLINT            MI     48505‐4205
HEMPHILL MARK              2080 LADERA VISTA DR                                                                           FULLERTON        CA     92831‐1257
HEMPHILL, ALEXANDER R      7712 RUTHANN AVENUE                                                                            STANTON          CA     90680‐3127
HEMPHILL, BRUCE A          7652 HOLLY DR                                                                                  MENTOR ON THE    OH     44060‐3221
                                                                                                                          LAKE
HEMPHILL, CAROL            3607 TORREY PINES RD SE                                                                        RIO RANCHO      NM      87124‐2144
HEMPHILL, CHARLEY          22401 VIRGINIA AVE                                                                             EASTPOINTE      MI      48021‐2346
HEMPHILL, CLAUDIA H        104 BROOKHAVEN DR                                                                              COLUMBIA        TN      38401‐8876
HEMPHILL, DANNY C          5033 NORTHLAWN DR                                                                              STERLING HTS    MI      48310‐6620
HEMPHILL, DAVID L          3471 PAWLEYS LOOP N                                                                            SAINT CLOUD     FL      34769‐7109
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Name                               Address1                      Address2            Address3         Address4               City              State   Zip
HEMPHILL, DEBORAH J                2820 WINONA ST                                                                            FLINT              MI     48504‐2567
HEMPHILL, DENNIS M                 1 IMPERIAL BLVD APT S169                                                                  SMYRNA             TN     37167‐4118
HEMPHILL, DENTON F                 1181 CARTERS CREEK PIKE                                                                   COLUMBIA           TN     38401‐7327
HEMPHILL, DOROTHY A                P.O. BOX 104                                                                              SNELLING           CA     95369
HEMPHILL, EARLEEN                  16727 LOG CABIN ST                                                                        DETROIT            MI     48203‐2543
HEMPHILL, EZREE                    1250 SHERMAN ST SE                                                                        GRAND RAPIDS       MI     49506‐2612
HEMPHILL, EZREE                    1250 SHERMAN                                                                              GRAND RAPIDS       MI     49506‐2612
HEMPHILL, GARY L                   10921 KIRK RD                                                                             NORTH JACKSON      OH     44451‐9742
HEMPHILL, HAROLD S                 4334 SEEBALDT ST                                                                          DETROIT            MI     48204‐4229
HEMPHILL, JAMES                    3045 MONIKON CT               APT 5                                                       FLINT              MI     48532‐4236
HEMPHILL, JAMES                    3046 MONIKON CT APT 5                                                                     FLINT              MI     48532‐4236
HEMPHILL, JAMES E                  2337 FERN DR                                                                              GAINESVILLE        GA     30507‐7417
HEMPHILL, JAMES H                  5125 LONG BRANCH DR                                                                       MEMPHIS            TN     38109‐7201
HEMPHILL, JOE C                    47116 AYRES AVE                                                                           BELLEVILLE         MI     48111‐1293
HEMPHILL, JOSEPH A                 1303 MARYLAND AVE                                                                         WILMINGTON         DE     19805‐4733
HEMPHILL, LARRY F                  15270 DRYSDALE ST                                                                         SOUTHGATE          MI     48195‐2971
HEMPHILL, LEO                      5640 BAINES DR                                                                            SAGINAW            MI     48638‐5735
HEMPHILL, LEONARD R                5270 MILLWOOD DR                                                                          FLINT              MI     48504‐1128
HEMPHILL, LOREN A                  315 WELCOMEWAY BL E DR 102C                                                               INDIANAPOLIS       IN     46214
HEMPHILL, LOREN ALLEN              315 WELCOMEWAY BL E DR 102C                                                               INDIANAPOLIS       IN     46214
HEMPHILL, MARGARET                 3879 SPRINGLEAF PT                                                                        STONE MTN          GA     30083‐4677
HEMPHILL, MARTHA                   2493 FM 344E                                                                              BULLARD            TX     75757‐8401
HEMPHILL, MARTHA E                 2716 WESLEY AVE                                                                           BERWYN              IL    60402‐2539
HEMPHILL, MARVIN                   2024 3RD ST E                                                                             TUSCALOOSA         AL     35404
HEMPHILL, MARVIN                   119 22ND AVE NE                                                                           TUSCALOOSA         AL     35404
HEMPHILL, MELINDA A
HEMPHILL, MELINDA H
HEMPHILL, NAOMI                    430 CAMBRIDGE AVE                                                                         BUFFALO            NY     14215‐3156
HEMPHILL, NORA J                   11116 QUIRK RD.                                                                           BELLEVILLE         MI     48111‐5215
HEMPHILL, NORA J                   11116 QUIRK RD                                                                            BELLEVILLE         MI     48111‐5215
HEMPHILL, RACHEL                   PO BOX 970                                                                                FLINT              MI     48501‐0970
HEMPHILL, RICHARD W                5360 BALDWIN RD                                                                           OXFORD             MI     48371‐1000
HEMPHILL, ROBERT H                 3170 CARLETON ROCKWOOD RD                                                                 CARLETON           MI     48117‐9760
HEMPHILL, SCOTT L                  53068 WINDHAM DR                                                                          CHESTERFIELD       MI     48051‐1794
HEMPHILL, SCOTT LOUIS              53068 WINDHAM DR                                                                          CHESTERFIELD       MI     48051‐1794
HEMPHILL, SYLVIA BELL              110 PUTNAM AVE                                                                            PONTIAC            MI     48342‐1263
HEMPHILL, SYLVIA M                 PO BOX 6745                                                                               KNOXVILLE          TN     37914‐0745
HEMPHILL, VIVIAN E                 8915 MEADOW CREEK DR                                                                      SHREVEPORT         LA     71129‐9726
HEMPHILL, WILLETTA J               1230 RIVER FOREST DR                                                                      FLINT              MI     48532‐2816
HEMPHILL, WILLIAM L                17511 BRYNWOOD LN                                                                         OKEECHOBEE         FL     34974‐8558
HEMPHILL‐KELLAM, GERTRUDE          49 LANARK AVE                                                                             NEWARK             NJ     07106‐1021
HEMPLE, CHRISTOPHER M              36 QUINTON ALLOWAY ROAD                                                                   SALEM              NJ     08079‐9551
HEMPLE, GILBERT H                  166 HELL NECK RD                                                                          SALEM              NJ     08079‐3449
HEMPLE, HAROLD H                   622 NEW BRIDGE ROAD           B14                                                         SALEM              NJ     08079
HEMPLER, ANNA LEE                  4469 JOAN DR                                                                              CLIO               MI     48420‐9406
HEMPLER, DAVID C                   2476 KENTHA CT                                                                            HOLLY              MI     48442‐8323
HEMPSALL, JOHN L                   4278 LATIFEE CT                                                                           SWARTZ CREEK       MI     48473‐1710
HEMPSALL, WILLIAM F                4031 BARKER DR                                                                            CLIO               MI     48420‐9403
HEMPSEED, JAMES                    41150 FOX RUN APT 319                                                                     NOVI               MI     48377‐5020
HEMPSTEAD COUNTY SHERIFF AND       PO BOX 549                                                                                HOPE               AR     71802‐0549
COLLECTOR
HEMPSTEAD LINCOLN‐MERCURY MOTORS   310 N FRANKLIN ST                                                                         SOUTH HEMPSTEAD    NY     11550
CORP
HEMPSTEAD, MARTIN E                108 JANNA LN                                                                              UNIONVILLE         TN     37180‐8680
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Name                         Address1                        Address2                         Address3        Address4                     City            State   Zip
HEMPSTEAD, MICHAEL E         2397 BELLE MEADE DR                                                                                           DAVISON          MI     48423‐2058
HEMPSTEAD, WILLIAM R         3149 SUNRISE LK                                                                                               MILFORD          PA     18337‐9768
HEMPSTED, LESTER L           11145 4 1/2 MILE RD                                                                                           BATTLE CREEK     MI     49015‐9346
HEMPTON, ARLENE              2459 EAST CARO RD                                                                                             CARO             MI     48723
HEMPTON, ARLENE              2459 E CARO RD                                                                                                CARO             MI     48723‐9354
HEMPTON, DANIEL L            11991 COOLIDGE RD                                                                                             GOODRICH         MI     48438‐9029
HEMPTON, DEANNE LYNN         2047 FOREST HEIGHTS                                                                                           FLINT            MI     48507‐3507
HEMPTON, FLORENCE A          110 E SUFFOLK CT                                                                                              FLINT            MI     48507‐4253
HEMPY, BETTY L.              7630 WHISPERING OAKS TRL                                                                                      TIPP CITY        OH     45371‐9226
HEMRIC, TROY O               145 COUNTY ROAD 16                                                                                            FLORENCE         AL     35633‐2530
HEMRICH BROS. GARAGE LTD     1‐8506 ASH ST                                                                    VANCOUVER BC V6P 3M2
                                                                                                              CANADA
HEMRY, AARON L               823 PIERCE AVENUE                                                                                             NIAGARA FALLS   NY      14305‐2531
HEMRY, GARY W                5407 N DETROIT AVE                                                                                            TOLEDO          OH      43612‐3513
HEMRY, HERBERT               6248 RAPIDS RD                                                                                                LOCKPORT        NY      14094
HEMRY, LARRY A               2177 S CUSTER RD                                                                                              MONROE          MI      48161‐9701
HEMRY, PHILLIP S             1045 WHITE OAK DR                                                                                             SPRINGFIELD     OH      45504‐4150
HEMRY, RANDALL E             5012 MILL CREEK TRL                                                                                           FORT WORTH      TX      76179‐5023
HEMSATH, ASHLEY
HEMSATH, JAMES A             558 MARIE DR                                                                                                  ALEXANDRIA      KY      41001‐7425
HEMSLEY ROBERT               951 YACHTSMAN WAY                                                                                             ANNAPOLIS       MD      21403‐3483
HEMSLEY SALES & SERVICE      209 READ AVE                                                                                                  RUPERT          ID      83350‐9433
HEMSTEAD, DOROTHY            6054 BANNISTER DRIVE                                                                                          CICERO          NY      13039‐8309
HEMSTEGER, THOMAS M          1427 S HUGHES RD                                                                                              HOWELL          MI      48843‐9109
HEMSTREET I I, JACK G        3859 SUN RAPIDS DR                                                                                            OKEMOS          MI      48864‐4574
HEMSTREET II, JACK G         3859 SUN RAPIDS DR                                                                                            OKEMOS          MI      48864‐4574
HEMSTREET, GARRY L           2726 CLARK DR                                                                                                 JACKSON         MI      49202‐1610
HEMSTREET, HELEN I           15119 OAKLAND ST                                                                                              SPRING LAKE     MI      49456‐2151
HEMSTREET, JUDITH M          5716 HILLIARD RD                                                                                              LANSING         MI      48911‐4924
HEMSTREET, LINDA J           163 FELK DR                                                                                                   LAPEER          MI      48446‐8732
HEMSTREET, LYLE G            8834 S COOLIDGE AVE                                                                                           FARWELL         MI      48622‐9720
HEMSTROM CARL J (472064)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                   NORFOLK         VA      23510
                                                             STREET, SUITE 600
HEMSTROM, CARL J             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                   NORFOLK          VA     23510‐2212
                                                             STREET, SUITE 600
HEMSTROM, GUNNAR H           20909 NAPIER RD                                                                                               NORTHVILLE       MI     48167‐9729
HEMSWORTH CRAIG              3045 SUNRISE LK                                                                                               MILFORD          PA     18337‐9744
HEMSWORTH, MICHAEL V         PO BOX 9022                     GM KOREA                                                                      WARREN           MI     48090‐9022
HEMSWORTH, MICHAEL VINCENT   PO BOX 9022                     GM KOREA                                                                      WARREN           MI     48090‐9022
HEMSWORTH, XUEMIN N          C/O GM CHINA                    1118 WEST YAN'AN ROAD, 17TH      P.O. BOX 9022                                WARREN           MI     48090
HEMSWORTH, XUEMIN NI         C/O GM CHINA                    1118 WEST YAN'AN ROAD, 17TH                                                   WARREN           MI     48090
                                                             FLOOR, CUBE 139
HEMWAY, JOSEPHINE R          177 RIDGECREST AVE                                                                                            STATEN ISLAND   NY      10312‐6200
HEN HOUSE                    C/O BALLS FOOD STORES           5300 SPEAKER RD                                                               KANSAS CITY     KS      66106‐1050
HENAGAN, MARY E              640 DIVISION ST                                                                                               ADRIAN          MI      49221‐3339
HENAGAN, WILSON T            101 W JACKSON AVE                                                                                             FLINT           MI      48505‐4051
HENAGE JAMES                 945 DRY RIDGE MOUNT ZION RD                                                                                   DRY RIDGE       KY      41035‐7807
HENAGE, CARL E               16020 NEW COLUMBUS RD                                                                                         CORINTH         KY      41010‐5025
HENAGE, JAMES T              945 DRY RIDGE MOUNT ZION RD                                                                                   DRY RIDGE       KY      41035‐7807
HENAGE, ROGAN L              60 PAYNES RUN RD                                                                                              CORINTH         KY      41010
HENAHAN, MARGARET            18 NOWADAGA DR                                                                                                ROCHESTER       NY      14617‐2418
HENAN THB ELECTRIC CO LTD    IRIS ZHAN                       NO 215 QIBIN RD QUBIN DISTRICT                                                DECATUR         MS      39327
HENAN THB ELECTRIC CO LTD    NO 215 E OF QIBIN AVE                                                            HEBI HENAN CN 458030 CHINA
                                                                                                              (PEOPLE'S REP)
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HENAN THB ELECTRIC CO LTD        NO 215 E OF QIBIN AVE             QIBIN DISTRICT                               HEBI HENAN CN 458030 CHINA
                                                                                                                (PEOPLE'S REP)
HENAN THB ELECTRIC CO LTD        NO 215 QIBIN RD QUBIN DISTRICT                                                 HEBI HENAN 458030 CHINA
                                                                                                                (PEOPLE'S REP)
HENAN TIANHAI ELECTRIC (GROUP)   IRIS ZHAN                         NO 215 QIBIN RD QUBIN DISTRICT                                          DECATUR            MS    39327
HENAN TIANHAI ELECTRIC GRP       NO 215 E PAPI QIBIN RD            QIBIN DISTRICT                               HEBI, HENAN PR 458030
CORPORATION                                                                                                     CHINA
HENAO, LOUIS E                   8920 NW 8TH ST APT 319                                                                                    MIAMI              FL    33172‐3417
HENARES, ZAIDA M                 1006 FERDINAND ST                                                                                         CORAL GABLES       FL    33134‐2135
HENAULT, GERALD A                29 BLACKSTONE ST                                                                                          SUTTON             MA    01590‐3824
HENCE, DOROTHIA L                909 E YORK AVE                                                                                            FLINT              MI    48505‐6002
HENCE, DOROTHIA L                909 E YORK                                                                                                FLINT              MI    48505‐6002
HENCHON, HARRY A                 PO BOX 62                                                                                                 SOMERSET           IN    46984‐0062
HENCK MICHAEL                    ICO THE LANIER LAW FIRM P C       6810 FM 1960 WEST                                                       HOUSTON            TX    77069
HENCK MICHAEL C (661246)         LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                                            HOUSTON            TX    77069
HENCK, MICHAEL C                 LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                                            HOUSTON            TX    77069
HENCK, REX P                     10413 WINDWAY AVE                                                                                         OKLAHOMA CITY      OK    73162
HENCKEL, GEORGE N                6216 RIDGEWAY AVE                                                                                         KANSAS CITY        MO    64133‐7552
HENCKEL, SONIA                   36715 VALLEY RIDGE DR                                                                                     FARMINGTON HILLS   MI    48331‐1264

HENCKEN, JAMES E                 8333 SEMINOLE BLVD APT 651E                                                                              SEMINOLE            FL    33772‐4364
HENCKLER, CLAIRE C               24 F.J.E. LANE                                                                                           ROCHESTER           NY    14626
HENCY, CAROL A                   3103 BROOKSIDE DR                                                                                        WATERFORD           MI    48328‐2596
HENCY, CHARLES D                 4439 BROOKTOP LN                                                                                         SAINT LOUIS         MO    63128‐3715
HENCY, STANLEY S                 3103 BROOKSIDE DR                                                                                        WATERFORD           MI    48328‐2596
HENCYE, MARY K                   1471 BELVO ESTATES DR.                                                                                   MIAMISBURG          OH    45342
HEND HAJJAR                      772 OAKWOOD DR                                                                                           WESTMONT            IL    60559‐1257
HENDA PITTMAN                    791 WEST 500 SOUTH CR                                                                                    GREENFIELD          IN    46140
HENDEE, DUANE R                  194 S PLINE RD                                                                                           PEWAMO              MI    48873‐9781
HENDEE, GARY A                   890 N COOK RD                                                                                            PEWAMO              MI    48873‐9743
HENDEE, JAMES A                  2845 OAKDALE DR                                                                                          ANN ARBOR           MI    48108‐1258
HENDEE, JAMES ALLAN              2845 OAKDALE DR                                                                                          ANN ARBOR           MI    48108‐1258
HENDEL, ARTHUR A                 3451 N MAIN STREET RD                                                                                    HOLLEY              NY    14470‐9329
HENDEL, CARL H                   809 ROBERTSON RD                                                                                         ROCK HILL           SC    29730‐8787
HENDEL, DALE A                   2242 COLEMAN DR                                                                                          YOUNGSTOWN          OH    44511‐2906
HENDEL, EDWIN M                  3555 MILL RD                                                                                             MIDDLETOWN          OH    45042‐9625
HENDEL, EDWIN M                  3351 SOMERVILLE JACKSONBURG RD                                                                           MIDDLETOWN          OH    45042‐9676
HENDEL, GEORGE H                 62 DERSAM RD                                                                                             ALDEN               NY    14004‐9006
HENDEL, JOSEPH D                 127 OLMSTEAD AVE                                                                                         DEPEW               NY    14043‐2411
HENDEL, JOSEPH DUBLINO           127 OLMSTEAD AVE                                                                                         DEPEW               NY    14043‐2411
HENDEL, RICHARD J                1619 NICHOLE CT                                                                                          HAMILTON            OH    45013‐5124
HENDEL, RICHARD M                833 KENNWOOD TER NW                                                                                      PORT CHARLOTTE      FL    33948‐3610
HENDEL, WAYNE R                  11655 CLINTON ST                                                                                         ALDEN               NY    14004‐8715
HENDERER DONALD J (429085)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                            NORFOLK             VA    23510
                                                                   STREET, SUITE 600
HENDERER, DONALD J               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                            NORFOLK              VA   23510‐2212
                                                                   STREET, SUITE 600
HENDERICKSEN KENNETH (665243)    COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                                        CHICAGO              IL   60602
                                                                   FLOOR
HENDERICKSEN, KATHLEEN           314 W CENTER ST APT 135                                                                                  BOUNTIFUL            UT   84010‐7068
HENDERICKSEN, KENNETH            COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                         CHICAGO              IL   60602
                                                                   FLOOR
HENDERIX, VERNIE R               18132 MELROSE AVE                                                                                        SOUTHFIELD           MI   48075‐4111
HENDERIX, VERNIE RAYMOND         18132 MELROSE AVE                                                                                        SOUTHFIELD           MI   48075‐4111
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HENDERLONG, CONNIE A            5850 5 MILE RD                                                                                   SOUTH LYON       MI     48178‐9670
HENDERLONG, MARK F              710 7TH ST APT 9                                                                                 BOWLING GREEN    OH     43403‐0001
HENDERLY, RAY A                 13221 ALMOND DR                                                                                  OKLAHOMA CITY    OK     73170‐1159
HENDERS, HARRISON J             637 S KASPAR AVE                                                                                 ARLINGTON         IL    60005‐2319
                                                                                                                                 HEIGHTS
HENDERSHOT JEFFREY              7354 OAKSTONE DR                                                                                 CLARKSTON        MI     48348‐4761
HENDERSHOT JESSICA              HENDERSHOT, JESSICA              12650 COVERED BRIDGE RD                                         ZEBULON          NC     27597
HENDERSHOT JR, ARNOLD W         36614 JODI AVE                                                                                   ZEPHYRHILLS      FL     33542‐1920
HENDERSHOT JR, DONALD E         5774 LEMON RD                                                                                    BANCROFT         MI     48414‐9401
HENDERSHOT JR, VIRGIL D         15392 BIRDHOUSE RD                                                                               ANDALUSIA        AL     36421‐9100
HENDERSHOT KENNETH M            43 EAST STREET                                                                                   NUNDA            NY     14517
HENDERSHOT LEON E (429086)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                                 STREET, SUITE 600
HENDERSHOT RAYMOND D (493832)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                                 STREET, SUITE 600
HENDERSHOT SR., VIRGIL D        840 W CORUNNA AVE                APT 1A                                                          CORUNNA         MI      48817‐1269
HENDERSHOT, BARBARA L           5233 EAST COLE ROAD                                                                              BANCROFT        MI      48414
HENDERSHOT, BRIAN M             35837 OREGON ST                                                                                  WESTLAND        MI      48186‐4220
HENDERSHOT, CARL W              453 E MARKET ST                                                                                  SPENCER         IN      47460‐1850
HENDERSHOT, CAROLYN S           2821 S PARK RD                                                                                   KOKOMO          IN      46902‐3291
HENDERSHOT, CLAUDE O            3115 W MOORE RD                                                                                  SPENCER         IN      47460‐5662
HENDERSHOT, DEBRA D             #1                               1010 ORCHARD AVENUE                                             AURORA          OH      44202‐9516
HENDERSHOT, DORIS M             10673 SAGITTARIUS DRIVE                                                                          RIVERSIDE       CA      92503‐6032
HENDERSHOT, ELMER E             3336 KINNEVILLE RD                                                                               LESLIE          MI      49251‐9703
HENDERSHOT, EVA E               2516 WICKERSHAM DRIVE SOUTH                                                                      KOKOMO          IN      46901‐4008
HENDERSHOT, GARY A              10217 PLAYERS VW                                                                                 GAYLORD         MI      49735‐7933
HENDERSHOT, GARY G              535 GWYNNWEST RD                                                                                 REISTERSTOWN    MD      21136‐2223
HENDERSHOT, GREGG A             5150 E COLE RD                                                                                   BANCROFT        MI      48414‐9779
HENDERSHOT, GREGG A             5192 E COLE RD                                                                                   BANCROFT        MI      48414‐9779
HENDERSHOT, JEFFREY A           7354 OAKSTONE DR                                                                                 CLARKSTON       MI      48348‐4761
HENDERSHOT, JESSICA
HENDERSHOT, JESSICA             12650 COVERED BRIDGE RD                                                                          ZEBULON          NC     27597‐7405
HENDERSHOT, KENNETH M           PO BOX 653                       43 EAST ST                                                      NUNDA            NY     14517‐0653
HENDERSHOT, LARRY R             5150 E COLE RD                                                                                   BANCROFT         MI     48414‐9779
HENDERSHOT, LAURANCE G          2150 E TERRITORIAL RD                                                                            RIVES JCT        MI     49277‐9772
HENDERSHOT, LEON E              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                                 STREET, SUITE 600
HENDERSHOT, MARJORIE E          36614 JODI AVE                                                                                   ZEPHYRHILLS      FL     33542‐1920
HENDERSHOT, MARTHA L            5773 SHADY LANE DRIVE                                                                            CASEVILLE        MI     48725‐9764
HENDERSHOT, MARY A              11031 GRANGE AVE                 C/O PATRICIA VANDERHYDE                                         SPARTA           MI     49345‐9451
HENDERSHOT, PATRICIA A          10217 PLAYERS VW                                                                                 GAYLORD          MI     49735‐7933
HENDERSHOT, PATRICIA K          1213 BROWNSWOOD DR                                                                               BROWNSBURG       IN     46112‐1907
HENDERSHOT, RAY G               373 LONG LAKE RD                                                                                 CRYSTAL FALLS    MI     49920‐9403
HENDERSHOT, RAYMOND D           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                                 STREET, SUITE 600
HENDERSHOT, RENEE C             5192 E COLE RD                                                                                   BANCROFT        MI      48414‐9779
HENDERSHOT, RICK J              5467 WESTBOURNE CT                                                                               GREENWOOD       IN      46143‐6898
HENDERSHOT, RICKEY D            3114 THOM ST                                                                                     FLINT           MI      48506‐2550
HENDERSHOT, ROBERT C            517 BON AIR AVE                                                                                  ELYRIA          OH      44035‐3838
HENDERSHOT, ROGER D             29131 COOLIDGE ST                                                                                ROSEVILLE       MI      48066‐2208
HENDERSHOT, RUSSELL D           5773 SHADY LANE RD                                                                               CASEVILLE       MI      48725‐9764
HENDERSHOT, RUSTY L             3045 W LAKESIDE DR                                                                               WEST BRANCH     MI      48661‐9636
HENDERSHOT, SCOTT               1200 SALEM CIR                                                                                   BOWLING GREEN   KY      42101‐0777
HENDERSHOT, STEPHEN R           29131 COOLIDGE ST                                                                                ROSEVILLE       MI      48066‐2208
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Name                                Address1                            Address2                           Address3   Address4               City           State   Zip
HENDERSHOT, STEVEN C                33 LOCUST DR                                                                                             BELLEVILLE      MI     48111‐4213
HENDERSHOT, STEVEN CHARLES          33 LOCUST DR                                                                                             BELLEVILLE      MI     48111‐4213
HENDERSHOT, THOMAS R                6445 WEDDEL ST                                                                                           TAYLOR          MI     48180‐1926
HENDERSHOT, TIMOTHY R               5014 FREIERMUTH RD                                                                                       STOCKBRIDGE     MI     49285‐9507
HENDERSHOT, TIMOTHY R               2599 EDEN RD                                                                                             LESLIE          MI     49251‐9625
HENDERSHOT, WILLIAM P               2315 LANTERN LN                                                                                          MARION          IN     46952‐9249
HENDERSHOTT AMOS L                  ICO THE LANIER LAW FIRM P C         6810 FM 1960 WEST                                                    HOUSTON         TX     77069
HENDERSHOTT, CHRISTINE B            8500 HONEYCOMB CIR APT 268          BUILDING 13                                                          CANTON          MI     48187‐4129
HENDERSHOTT, CHRISTINE B            8500 HONEYCOMB CIRCLE               APT 268                                                              CANTON          MI     48187
HENDERSHOTT, LEE R                  5453 ELLICOTT STREET RD                                                                                  EAST BETHANY    NY     14054‐9790
HENDERSHOTT, MAURINE J              1421 LASALLE AVE                                                                                         BURTON          MI     48509‐2407
HENDERSHOTT, WILLIAM C              C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                               EDWARDSVILLE     IL    62025
                                    ROWLAND PC
HENDERSON AARON                     HENDERSON, AARON                    2150 INTELLIPLEX DR STE 134                                          SHELBYVILLE     IN     46176‐8550
HENDERSON AARON                     INDIANA FARM BUREAU INSURANCE       2150 INTELLIPLEX DRIVE SUITE 134                                     SHELBYVILLE     IN     46176
HENDERSON ANNA KATHRYN              HENDERSON, ANNA KATHRYN             2325 GRANT BUILDING 310 GRANT                                        PITTSBURGH      PA     15219
                                                                        STREET
HENDERSON ARLON                     4355 TREEHOUSE DR                                                                                        SAN ANTONIO     TX     78222‐3713
HENDERSON ARTHUR W (472065)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA     23510
                                                                        STREET, SUITE 600
HENDERSON AUTO                      9075 SW BURNHAM ST                                                                                       TIGARD         OR      97223‐6104
HENDERSON AUTOMOTIVE                2460 CHILLUM RD                                                                                          HYATTSVILLE    MD      20782‐3629
HENDERSON BAKER                     PO BOX 407                                                                                               MIAMISBURG     OH      45343‐0407
HENDERSON BEATRICE                  18201 LABRADOR ST                                                                                        NORTHRIDGE     CA      91325‐1707
HENDERSON BOWLING                   BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.    OH      44236
HENDERSON BRETT                     1371 COUNTY ROAD 1350                                                                                    CHICKASHA      OK      73018‐8020
HENDERSON BROWN                     6319 COLORADO AVE                                                                                        SAINT LOUIS    MO      63111‐2635
HENDERSON CATHERINE R               HENDERSON, CATHERINE R              PO BOX 372                                                           WAYNESBORO     MS      39367‐0372
HENDERSON CHANDLER                  C/O G PATTERSON KEAHEY PC           ONE INDEPENDENCE PLAZA STE 612                                       BIRMINGHAM     AL      35209
HENDERSON CHARLES R (352956)        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                          NORFOLK        VA      23510
                                                                        STREET, SUITE 600
HENDERSON CHEVROLET
HENDERSON CHEVROLET BUICK PONTIAC G 2746 US HIGHWAY 41 N                                                                                     HENDERSON       KY     42420‐2047

HENDERSON CHEVROLET BUICK PONTIAC   2746 US HIGHWAY 41 N                                                                                     HENDERSON       KY     42420‐2047
GMC
HENDERSON CHEVROLET CO.                                                                                                                      HENDERSON       NV     89014
HENDERSON CHEVROLET CO.             GREGORY HEINRICH                    240 N GIBSON RD                                                      HENDERSON       NV     89014‐6700
HENDERSON CHEVROLET CO.             240 N GIBSON RD                                                                                          HENDERSON       NV     89014‐6700
HENDERSON CHEVROLET COMPANY, INC.   CLARENCE HENDERSON                  231 W BROAD ST                                                       LOUISVILLE      GA     30434‐1629

HENDERSON CHEVROLET COMPANY, INC.   231 W BROAD ST                                                                                           LOUISVILLE      GA     30434‐1629

HENDERSON CHEVROLET, INC.           TERRENCE CULLEN                     2746 US HIGHWAY 41 N                                                 HENDERSON      KY      42420‐2047
HENDERSON CHRISTOPHER (445158)      BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD     OH      44067
                                                                        PROFESSIONAL BLDG
HENDERSON CITY TAX COLLECTOR        PO BOX 68                                                                                                HENDERSON      TN      38340‐0068
HENDERSON CLEOPHUS (445159)         BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD     OH      44067
                                                                        PROFESSIONAL BLDG
HENDERSON COLE                      12692 HIGHWAY 495                                                                                        DE KALB        MS      39328‐7252
HENDERSON COUNTY SHERIFF            20 N MAIN ST \ COURTHOUSE                                                                                HENDERSON      KY      42420
HENDERSON COUNTY TAX ASSESSOR       101 EAST TYLER                                                                                           ATHENS         TX      75751
HENDERSON COUNTY TRUSTEE            PO BOX 136                                                                                               LEXINGTON      TN      38351‐0136
HENDERSON CUBA                      752 E BALTIMORE BLVD                                                                                     FLINT          MI      48505‐3520
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HENDERSON CURTIS (493001)           BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH 44067
                                                                          PROFESSIONAL BLDG
HENDERSON DALE & MARILYN            2115 HEWITT GIFFORD RD SW                                                                               WARREN            OH   44481‐9117
HENDERSON DARREL M (653311)         GOLDENBERG, MILLER, HELLER &          PO BOX 959                                                        EDWARDSVILLE      IL   62025‐0959
                                    ANTOGNOLI
HENDERSON DAVID                     2950 S LAURA ST                                                                                         DECATUR           IL   62521‐5748
HENDERSON DELANEY                   PO BOX 1244                                                                                             SAGINAW           MI   48606‐1244
HENDERSON DEREK                     112 PARK LN                                                                                             RIDGELAND         MS   39157‐9762
HENDERSON ELMER (445161)            BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                                          PROFESSIONAL BLDG
HENDERSON ENGINEERING CO INC        95 N MAIN ST                                                                                            SANDWICH          IL   60548‐1579
HENDERSON EXPRESS                   2491 OLD CORYDON RD                                                                                     HENDERSON         KY   42420‐4673
HENDERSON FOSTER                    111 S 11TH ST                                                                                           SAGINAW           MI   48601‐1810
HENDERSON FRANKLIN STARNES & HOLT   1715 MONROE ST                                                                                          FORT MYERS        FL   33901‐3072
PA
HENDERSON FRED JR                   C/O EDWARD O MOODY PA                 801 WEST 4TH STREET                                               LITTLE ROCK       AR   77201
HENDERSON GENE                      HENDERSON, GENE                       64 NORTH 500 EAST                                                 HARTFORD CITY     IN   47348
HENDERSON GERMON                    370 LIVINGSTON AVE FL 2                                                                                 ALBANY            NY   12206‐3223
HENDERSON GLAS/TROY                 PO BOX 1680                                                                                             TROY              MI   48099‐1680
HENDERSON GLASS                     DIVISFIED GLASS SRV                   2100 E WALTON BLVD                                                AUBURN HILLS      MI   48326‐1950
HENDERSON GREGORY                   PO BOX 2594                                                                                             RUSSELL SPRINGS   KY   42642‐2594
HENDERSON H SCOTT JR                3800 DORSET DR                                                                                          DAYTON            OH   45405‐1939
HENDERSON HENNESSY &                1001 PINE HEIGHTS AVE STE 304                                                                           BALTIMORE         MD   21229‐5285
HENDERSON III, CLIFFORD G           2131 LAFAYETTE ST                                                                                       ANDERSON          IN   46012‐1637
HENDERSON III, ROBERT R             PO BOX 642                                                                                              VANDALIA          OH   45377‐0642
HENDERSON IMPLEMENT                 PO BOX 458                                                                                              WELSH             LA   70591‐0458
HENDERSON JAMES H                   1603 NW 30TH ST                                                                                         OKLAHOMA CITY     OK   73118
HENDERSON JAMES L (481786)          GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                          STREET, SUITE 600
HENDERSON JAMES W JR (361298)       WALLACE & GRATHAN                     525 N MAIN ST                                                     SALISBURY         NC   28144‐4303
HENDERSON JEROME (ESTATE OF)        BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
(643049)                                                                  PROFESSIONAL BLDG
HENDERSON JIM                       1062 LAUREL GROVE COURT                                                                                 SUWANEE           GA   30024‐6975
HENDERSON JOHN (470191)             BILBREY & HYLIA                       8724 PIN OAK RD                                                   EDWARDSVILLE      IL   62025‐6822
HENDERSON JONES                     2735 REPPUHN DR                                                                                         SAGINAW           MI   48603‐3149
HENDERSON JR, ABE                   131 TORRINGTON LN                                                                                       WILLINGBORO       NJ   08046‐3611
HENDERSON JR, CECIL                 3126 BERT KOUNS INDUSTRIAL LOOP APT                                                                     SHREVEPORT        LA   71118‐2963
                                    264
HENDERSON JR, DAVID                 315 ASHLEY GRIGGS RD                                                                                    CALHOUN           LA   71225
HENDERSON JR, DAVID J               115 CONNIE WALTERS RD                                                                                   CALHOUN           LA   71225‐8674
HENDERSON JR, EDWARD H              13908 CARILLON DR                                                                                       DALLAS            TX   75240‐3612
HENDERSON JR, JAMES W               C/O PAUL REICH & MYERS PC             1608 WALNUT ST STE 600                                            PHILADELPHIA      PA   19103‐5446
HENDERSON JR, JOHN                  316 E DELAVAN AVE                                                                                       BUFFALO           NY   14208‐1311
HENDERSON JR, JOHN E                41750 MANOR PARK DR APT 61                                                                              NOVI              MI   48375‐2753
HENDERSON JR, LEON                  3710 AFFIRMED DR                                                                                        FLORISSANT        MO   63034‐3310
HENDERSON JR, LEROY                 8686 N STATE ROAD 38                                                                                    SHERIDAN          IN   46069‐8929
HENDERSON JR, LEWIS C               4077 WINDMILL DR                                                                                        MIDLAND           MI   48642‐6068
HENDERSON JR, LOUIE                 3286 HERMOSA DRIVE                                                                                      YOUNGSTOWN        OH   44511‐2258
HENDERSON JR, RICHARD P             1084 RENFREW LN N                                                                                       O FALLON          MO   63366‐4583
HENDERSON JR, ROGER                 5876 WILLOWBRIDGE RD                                                                                    YPSILANTI         MI   48197‐7132
HENDERSON JR, SIMON                 14832 BROOKSIDE DR                                                                                      BELLEVILLE        MI   48111‐5183
HENDERSON JR, THOMAS M              563 BOWMAN ST                                                                                           MANSFIELD         OH   44903‐1206
HENDERSON JR, WILLIAM C             917 SE 5TH ST                                                                                           GRAND PRAIRIE     TX   75051‐3228
HENDERSON JR, WILLIAM J             50060 FULTON RD                                                                                         LEONIDAS          MI   49066‐9428
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HENDERSON JR, WILLIS            564 GRANADA DR                                                                                                     PONTIAC            MI     48342‐1729
HENDERSON JR., ROBERT LEE       16971 CARLISLE ST                                                                                                  DETROIT            MI     48205‐1505
HENDERSON KATINA                HENDERSON, CATINA               1930 E MARLTON PIKE SUITE Q29                                                      CHERRY HILL        NJ     08003
HENDERSON KATINA                HENDERSON, TERANCE              KIMMEL & SILVERMAN PC           1930 E MARLTON PIKE SUITE                          CHERRY HILL        NJ     08003
                                                                                                Q29
HENDERSON LINDA                 2806 OLD STATE RD                                                                                                  HENRYVILLE        IN      47126
HENDERSON LLOYD E (428013)      WEITZ & LUXENBERG               180 MAIDEN LANE                                                                    NEW YORK          NY      10038
HENDERSON MADDOX                3530 LONDON CHURCH RD NE                                                                                           ELM CITY          NC      27822‐8377
HENDERSON MELODY                1499 RIDGEVIEW DRIVE                                                                                               WEST LIBERTY      IA      52776‐9162
HENDERSON NATHAN                HENDERSON, NATHAN               P.O. BOX 1475                                                                      OLIVE HILL        KY      41164
HENDERSON NEACE                 236 HIGHLAND ST                                                                                                    NEWTON FALLS      OH      44444‐9775
HENDERSON OLIVER (445162)       KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                                      CLEVELAND         OH      44114
                                                                BOND COURT BUILDING
HENDERSON RANSOM                RT 1 BOX 332                                                                                                       CARDWELL          MO      63829
HENDERSON ROBERT DOUGLAS        PO BOX 804                                                                                                         BARNEGAT LIGHT    NJ      08006‐0804
HENDERSON ROBINSON              1441 WINTHROP LN                                                                                                   MONROE            NC      28110‐5232
HENDERSON ROBYN                 HENDERSON, CHRISTOPHER          1 GALLERIA BLVD STE 1100                                                           METAIRIE          LA      70001‐7534
HENDERSON ROBYN                 HENDERSON, ROBYN                1 GALLERIA BLVD STE 1100                                                           METAIRIE          LA      70001‐7534
HENDERSON RUFFIN                2645 PONTIAC RD                                                                                                    AUBURN HILLS      MI      48326‐2516
HENDERSON RUTHIE                521 BRANDONWOOD RD                                                                                                 KINGSPORT         TN      37660‐2955
HENDERSON SANDRA R              C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                                                LITTLE ROCK       AR      77201
HENDERSON SCOTT JR              3800 DORSET DR                                                                                                     DAYTON            OH      45405‐1939
HENDERSON SHARI                 3820 XIRCUS AVE                                                                                                    STORY CITY        IA      50248‐7564
HENDERSON SITHER                1028 CASTLETON WAY                                                                                                 LEXINGTON         KY      40517‐2721
HENDERSON SLAUGHTER             5542 PEMBURY                                                                                                       W BLOOMFIELD      MI      48322‐4011
HENDERSON SR, CLEOTHA           5690 LOUISVILLE RD LOT 229                                                                                         BOWLING GREEN     KY      42101‐7225
HENDERSON SR, ROBERT            1532 BONWOOD RD                                                                                                    WILMINGTON        DE      19805‐4632
HENDERSON TAYLOR, TERESSA       362 EOLA ST SE                                                                                                     GRAND RAPIDS      MI      49507‐3403
HENDERSON THEODORE M (353042)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA      23510
                                                                STREET, SUITE 600
HENDERSON THOMAS, MATTIE M      5521 RAVENNA ST                                                                                                    CINCINNATI        OH      45227‐1222
HENDERSON THOMAS, MATTIE M      5521 RAVNNA ST                                                                                                     CINCINNATI        OH      45227‐1222
HENDERSON WILLIAM               15313 W DESERT MIRAGE DR                                                                                           SURPRISE          AZ      85379‐5352
HENDERSON WILLIAM R (401949)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA      23510
                                                                STREET, SUITE 600
HENDERSON Y SITHER              1028 CASTLETON WAY SOUTH                                                                                           LEXINGTON         KY      40517‐2721
HENDERSON'S SERVICE CENTER      62 THROCKMORTON ST                                                                                                 FREEHOLD          NJ      07728‐1921
HENDERSON, AARON                1519 N HIGH ST                                                                                                     HARTFORD CITY     IN      47348‐1061
HENDERSON, ADA C                PO BOX 46541                                                                                                       OAKWOOD VILLAGE   OH      44146‐0541

HENDERSON, ADDIE M              5628 PEMBROOK PL APT 12                                                                                            LANSING           MI      48917‐4835
HENDERSON, ALBERT C             PO BOX 626                                                                                                         MOUNT MORRIS      MI      48458‐0626
HENDERSON, ALBERT E             PO BOX 9566                                                                                                        BOWLING GREEN     KY      42102‐9566
HENDERSON, ALEATHEA V           1463 ARTHUR DR NW                                                                                                  WARREN            OH      44485‐1847
HENDERSON, ALEATHEA V.          1463 ARTHUR DR NW                                                                                                  WARREN            OH      44485‐1847
HENDERSON, ALGENOIO             30 PURITAN ST                                                                                                      HIGHLAND PARK     MI      48203‐3712
HENDERSON, ALIATA W             1823 KERRWOOD DR                                                                                                   ANDERSON          IN      46011‐4056
HENDERSON, ALICE L              13216 G.A.R. HIGHWAY                                                                                               CHARDON           OH      44024
HENDERSON, ALLEEN D             2027 WILKIE RD                                                                                                     ALPHARETTA        GA      30004‐2591
HENDERSON, ALMA E               P O BOX 86 RT 1                                                                                                    ARBYRD            MO      63821
HENDERSON, ALMA J               618 DAMON ST                                                                                                       FLINT             MI      48505‐3734
HENDERSON, ALMA JOYCE           618 DAMON ST                                                                                                       FLINT             MI      48505‐3734
HENDERSON, ALWIN E              1236 RUNAWAY BAY DR APT 3D                                                                                         LANSING           MI      48917‐8756
HENDERSON, ANDREW J             1011 GASSERWAY CIR                                                                                                 BRENTWOOD         TN      37027‐8514
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HENDERSON, ANGELA H        333 PRINCESS DR                                                                                   TALLASSEE           AL     36078
HENDERSON, ANGIE           WENDLER LAW PC                    900 HILLSBORO AVE STE 10                                        EDWARDSVILLE         IL    62025‐1202
HENDERSON, ANGIE           WENDLER LAW PC                    900 HILLSBORO,SUITE 10                                          EDWARDSVILLE         IL    62025
HENDERSON, ANIYA K         409 W RIDGEWAY AVE                                                                                FLINT               MI     48505‐6104
HENDERSON, ANNA J          2578 N STATE ROAD 19                                                                              TIPTON              IN     46072‐8836
HENDERSON, ANNA M          699 LOUIE SMITH ROAD                                                                              WILLIAMS            IN     47470‐8757
HENDERSON, ANNE F          1912 GLENROSE LN                                                                                  CARROLLTON          TX     75007‐3110
HENDERSON, ANNETTE E       2644 BARCOO BEND                                                                                  NEW LENOX            IL    60451‐3737
HENDERSON, ANNIE B         5320 BESSMER DR                                                                                   TROTWOOD            OH     45426‐1904
HENDERSON, ANTHONY         1160 EAST MAIN                                                                                    TROTWOOD            OH     45426‐2410
HENDERSON, ANTHONY         1160 E MAIN ST                                                                                    TROTWOOD            OH     45426‐2410
HENDERSON, ANTHONY W       PO BOX 18                                                                                         NEW LEBANON         OH     45345‐0018
HENDERSON, ANTONIO J       257 SANTA CLARA AVE                                                                               DAYTON              OH     45405‐3640
HENDERSON, ARDELLA M       2950 HELBER ST                                                                                    FLINT               MI     48504‐3008
HENDERSON, ARDELLA MARY    2950 HELBER ST                                                                                    FLINT               MI     48504‐3008
HENDERSON, ARLE N          11057 HARBOUR YACHT CT UNIT 202                                                                   FORT MYERS          FL     33908‐1110
HENDERSON, ARNOLD E        2246 DEVLIN PL UNIT 201                                                                           CRESCENT SPRINGS    KY     41017‐4506

HENDERSON, ARNOLD E        2246 DEVLIN PLACE #201                                                                            CRESCENT SPRINGS    KY     41017‐4506

HENDERSON, ARTHUR C        PO BOX 626                                                                                        MOUNT MORRIS        MI     48458‐0626
HENDERSON, ARTHUR L        22800 CIVIC CENTER DR APT 245B                                                                    SOUTHFIELD          MI     48034
HENDERSON, ARTHUR W        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                             STREET, SUITE 600
HENDERSON, ASHLEY N        5707 CHELMSFORD TRL                                                                               ARLINGTON          TX      76018‐2584
HENDERSON, ASHLEY NASHIA   5707 CHELMSFORD TRL                                                                               ARLINGTON          TX      76018‐2584
HENDERSON, AUSTIN W        1107 WALL ST                                                                                      GALENA             KS      66739‐1449
HENDERSON, BARBARA A       9247 HARTWELL ST                                                                                  DETROIT            MI      48228‐2587
HENDERSON, BARBARA J       30560 SOUTHFIELD RD APT 140                                                                       SOUTHFIELD         MI      48076‐1228
HENDERSON, BARBARA R       2739 BROOKLYN AVE SE                                                                              GRAND RAPIDS       MI      49507‐3938
HENDERSON, BARBARA R       5608 MUIRFIELD WAY                                                                                AVON               IN      46123‐8123
HENDERSON, BARBARA W       30310 GINGER LN                                                                                   NORTH OLMSTED      OH      44070‐4784
HENDERSON, BENJAMIN A      PO BOX 156                                                                                        LITTLE BIRCH       WV      26629‐0156
HENDERSON, BENJAMIN J      2771 BARCLAY MESSERLY RD                                                                          SOUTHINGTON        OH      44470‐9735
HENDERSON, BENJAMIN M      1610 BURROUGHS ST                                                                                 MONROE             LA      71202‐4311
HENDERSON, BERNARD         1727 ESSEX ST APT 101                                                                             RAHWAY             NJ      07065‐5063
HENDERSON, BERNICE D       PO BOX 1184                                                                                       FLINT              MI      48501‐1184
HENDERSON, BERTHA M        305 ELWOOD ST                                                                                     WICHITA FALLS      TX      76301‐1311
HENDERSON, BESSIE          571 ARDEN                                                                                         HARRODSBURG        KY      40330‐1749
HENDERSON, BETTY           1814 VIKING DR                                                                                    SHREVEPORT         LA      71101‐5248
HENDERSON, BETTY           433 TOPAZ AVE                                                                                     MANSFIELD          OH      44907‐1463
HENDERSON, BETTY J         2225 LEXINGTON AVE NW                                                                             WARREN             OH      44485
HENDERSON, BETTY J         488 COLUMBIA ST                                                                                   SALEM              OH      44460
HENDERSON, BETTY J         20751 LOUISE LN                                                                                   SOUTH BEND         IN      46614‐4802
HENDERSON, BETTY L         29540 N RUTHERLAND ST                                                                             SOUTHFIELD         MI      48076‐5852
HENDERSON, BETTY L         15006 DAVIS TRACE DR                                                                              MINT HILL          NC      28227‐7527
HENDERSON, BETTY L         4323 FAIRFAX DR E                                                                                 BRADENTON          FL      34203‐4049
HENDERSON, BETTY S         15001 MONTCLAIR DR                                                                                WESTFIELD          IN      46074‐8127
HENDERSON, BEULAH          135 BARTLETT ST                                                                                   HARBOR BEACH       MI      48441‐1333
HENDERSON, BEVERLY H       1500 BRANDONSHIRE CT              BUILDING A UNIT 305                                             GREENSBORO         NC      27409
HENDERSON, BILLIE R        1009 DURANGO                                                                                      LANSING            MI      48917‐4081
HENDERSON, BILLIE V        4026 COLLIN CT                                                                                    HEARTLAND          TX      75126‐8186
HENDERSON, BILLIE V        4026 COLLIN COURT                                                                                 HEARTLAND          TX      75126‐8186
HENDERSON, BILLY           3902 KELLAR AVE                                                                                   FLINT              MI      48504‐3729
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HENDERSON, BILLY J       5471 FARMHILL RD                                                                                      FLINT            MI     48505‐5600
HENDERSON, BION E        320 N LA PATERA LN                                                                                    GOLETA           CA     93117‐1505
HENDERSON, BOBBIE L      6806 COLONIAL DR                                                                                      FLINT            MI     48505‐1965
HENDERSON, BOBBY G       10376 N TWIN OAKS RD                                                                                  MONROVIA         IN     46157‐9358
HENDERSON, BOBBY L       1100 N SHELLBARK RD                                                                                   MUNCIE           IN     47304‐3180
HENDERSON, BRADLEY A     7676 N BRIARHOPPER RD                                                                                 MONROVIA         IN     46157‐9415
HENDERSON, BRENDA K      4143 N COLORADO AVE                                                                                   INDIANAPOLIS     IN     46226‐4425
HENDERSON, BRENDA S      3098 POTHOUR WHEELER RD                                                                               HUBBARD          OH     44425‐9778
HENDERSON, BRENT L       593 PRESTON DR                                                                                        WAYNESVILLE      OH     45068‐8704
HENDERSON, BRIAN         213 ALIIOLANI ST                                                                                      MAKAWAO          HI     96768‐8329
HENDERSON, BRUCE E       4416 HOWE RD                                                                                          GRAND BLANC      MI     48439‐7996
HENDERSON, C G           904 E TANGERINE AVE                                                                                   LOMPOC           CA     93436‐3561
HENDERSON, C W           10582 HIGHWAY 22                                                                                      BOLTON           MS     39041‐9132
HENDERSON, CALEB A       828 E MILWAUKEE ST                   APT 2                                                            JANESVILLE       WI     53545‐3176
HENDERSON, CALLIE M      PO BOX 60022                                                                                          DAYTON           OH     45406‐0022
HENDERSON, CALLIE M      6502 FLEMING RD                                                                                       FLINT            MI     48504‐1600
HENDERSON, CALVIN J      PO BOX 150447                                                                                         ALTAMONTE        FL     32715‐0447
                                                                                                                               SPRINGS
HENDERSON, CAPTOLLA B    PO BOX 415                                                                                            HARDY            AR     72542‐0415
HENDERSON, CARL          GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                      SAGINAW          MI     48604‐2602
                                                             260
HENDERSON, CARL D        11459 CORINTH RD                                                                                      BELLEVILLE      AR      72824‐9044
HENDERSON, CARL H        11031 JENNINGS RD                                                                                     FENTON          MI      48430‐9784
HENDERSON, CARMINE O     512 MCPHERSON AVE                                                                                     LANSING         MI      48915‐1160
HENDERSON, CAROL A       5014 S COUNTYLINE RD                                                                                  FREE SOIL       MI      49411‐9501
HENDERSON, CAROL A       5014 S COUNTY LINE RD                                                                                 FREE SOIL       MI      49411‐9501
HENDERSON, CAROLYN       9177 JOHNNY STREET                  LOT # 10                                                          TRAVERSE CITY   MI      49684
HENDERSON, CAROLYN L     391 LAFAYETTE ST APT 1                                                                                CADIZ           KY      42211‐6132
HENDERSON, CAROLYN L     BATTLE CARMEN J                     122 LAMON ST                                                      FAYETTEVILLE    NC      28301‐4954
HENDERSON, CATHERINE     317 HOLLY BUSH CHURCH RD                                                                              WAYNESBORO      MS      39367‐8508
HENDERSON, CATHERINE J   PO BOX 134                                                                                            RUSSIAVILLE     IN      46979
HENDERSON, CATHERINE R   YOUNG STANFORD & MCDONOUGH          104 LAKEVIEW DR                                                   LELAND          MS      38756
                         THOMAS D
HENDERSON, CATINA        KIMMEL & SILVERMAN PC               1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL     NJ      08003
HENDERSON, CHARLENE A    1161 N PONTIAC DR                                                                                     JANESVILLE      WI      53545‐1331
HENDERSON, CHARLES       5575 DELCASTLE DR                                                                                     FLORISSANT      MO      63034‐2624
HENDERSON, CHARLES C     11931 FAIRWAY CIRCLE NORTH DR                                                                         INDIANAPOLIS    IN      46236‐9792
HENDERSON, CHARLES C.    11931 FAIRWAY CIRCLE NORTH DR                                                                         INDIANAPOLIS    IN      46236‐9792
HENDERSON, CHARLES D     1455 OKLAHOMA ST                                                                                      WATERFORD       MI      48327‐3344
HENDERSON, CHARLES G     102 ROTHELL ROAD EXT                                                                                  TOCCOA          GA      30577‐7911
HENDERSON, CHARLES G     7369 IRONGATE RD                                                                                      CANTON          MI      48187‐2156
HENDERSON, CHARLES R     PO BOX 151842                                                                                         ARLINGTON       TX      76015‐7842
HENDERSON, CHARLES R     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA      23510‐2212
                                                             STREET, SUITE 600
HENDERSON, CHARLES W     1747 W 16TH ST                                                                                        MARION          IN      46953‐1521
HENDERSON, CHARLES W     715 WALNUT STREET                                                                                     GREENFIELD      IN      46140‐2382
HENDERSON, CHARLES W     134 RUMBOLD AVE                                                                                       N TONAWANDA     NY      14120‐4661
HENDERSON, CHARLOTTE A   3080 GRASS LAKE ROAD                                                                                  GLADWIN         MI      48624‐7218
HENDERSON, CHARLOTTE J   2921 BAGLEY DRIVE E                                                                                   KOKOMO          IN      46902
HENDERSON, CHARLOTTE J   2921 BAGLEY DR E                                                                                      KOKOMO          IN      46902‐3224
HENDERSON, CHERRY J      2765 GLEN GARDEN DR                                                                                   FORT WORTH      TX      76119‐2703
HENDERSON, CHERYL D      1056 HOMEWOOD AVE SE                                                                                  WARREN          OH      44484‐4909
HENDERSON, CHRISTINE     498 COUNTY ROAD 307                                                                                   MOULTON         AL      35650‐8424
HENDERSON, CHRISTINE     PO BOX 18475                                                                                          WASHINGTON      DC      20036
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Name                       Address1                         Address2                       Address3                Address4               City              State   Zip
HENDERSON, CHRISTINE E     3731 GLOUCESTER ST                                                                                             FLINT              MI     48503‐4537
HENDERSON, CHRISTOPHER     29716 BIRCHWOOD ST                                                                                             INKSTER            MI     48141‐1026
HENDERSON, CHRISTOPHER     BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                                  NORTHFIELD         OH     44067
                                                            PROFESSIONAL BLDG
HENDERSON, CHRISTOPHER C   507 IRONWOOD CT                                                                                                ELYRIA            OH      44035‐3424
HENDERSON, CHRISTY C       322 SOUTH BICKETT ROAD                                                                                         XENIA             OH      45385‐9608
HENDERSON, CINDY K         PO BOX 642                                                                                                     VANDALIA          OH      45377‐0642
HENDERSON, CLARENCE        PO BOX 677                                                                                                     FLINT             MI      48501‐0677
HENDERSON, CLARENCE E      PO BOX 945                                                                                                     ARLINGTON         TX      76004‐0945
HENDERSON, CLARENCE E      9224 BOEHM DR                                                                                                  LENEXA            KS      66219‐2198
HENDERSON, CLARK           4395 CROSS CREEK BLVD                                                                                          BURTON            MI      48509‐1461
HENDERSON, CLARK L         1111 E LOVERS LN                                                                                               ARLINGTON         TX      76010‐5805
HENDERSON, CLEON K         8321 FOX BAY DR                                                                                                WHITE LAKE        MI      48386‐2505
HENDERSON, CLEOPHUS        BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                                  NORTHFIELD        OH      44067
                                                            PROFESSIONAL BLDG
HENDERSON, CLIFFORD B      PO BOX 232                                                                                                     CHERRYVILLE       NC      28021‐0232
HENDERSON, CLIFFORD D      GLASSER & GLASSER                CROWN CENTER                   580 E MAIN ST STE 600                          NORFOLK           VA      23510
HENDERSON, COLIN O         2204 DARLINGTON DR                                                                                             THE VILLAGES      FL      32162‐7723
HENDERSON, COMER E         31 CHESAPEAKE LNDG                                                                                             W HENRIETTA       NY      14586‐9636
HENDERSON, CONNIE F        1956 SW ROCKHOUSE RD                                                                                           MADISON           AL      35756‐4720
HENDERSON, CONNIE M        20047 KLINGER ST                                                                                               DETROIT           MI      48234‐1741
HENDERSON, CORINNE G       8808 STOCKBRIDGE DR                                                                                            FORT MYERS        FL      33908‐6274
HENDERSON, CRAIG D         PO BOX 2115                                                                                                    QUARTZSITE        AZ      85346
HENDERSON, CURTIS          7 ECHO LANE                                                                                                    WILLINGBORO       NJ      08046‐8046
HENDERSON, CURTIS          7 ECHO LN                                                                                                      WILLINGBORO       NJ      08046‐2201
HENDERSON, CURTIS          WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                                                 NEW BRUNSWICK     NJ      08901‐2011
HENDERSON, CURTIS          553 W HIGHLAND AVE                                                                                             WOOSTER           OH      44691‐1339
HENDERSON, CURTIS          84 BENNINGTON PKWY                                                                                             FRANKLIN PARK     NJ      08823
HENDERSON, CURTIS C        3510 SWAFFER ROAD                                                                                              MILLINGTON        MI      48746‐9055
HENDERSON, DAHLIA M        115 GLENDALE RD NW                                                                                             ROME              GA      30165‐1721
HENDERSON, DALE E          106 YALE AVE                                                                                                   DAYTON            OH      45406‐5021
HENDERSON, DALE E          106 YALE AVE.                                                                                                  DAYTON            OH      45406‐5406
HENDERSON, DALE L          388 PLEASANT HILL PL                                                                                           BLUFF CITY        TN      37618‐4034
HENDERSON, DALE S          2115 HEWITT GIFFORD RD SW                                                                                      WARREN            OH      44481‐9117
HENDERSON, DALE W          569 W 500 N                                                                                                    MARION            IN      46952‐9730
HENDERSON, DALTON R        9185 MARYWOOD DR                                                                                               STANWOOD          MI      49346
HENDERSON, DALTON R        2411 WOODLAWN ST                                                                                               WOLVERINE LAKE    MI      48390
HENDERSON, DANIEL J        30140 ANNAPOLIS TER                                                                                            INKSTER           MI      48141‐2856
HENDERSON, DANIEL K        1867 COUNTY ROAD 1564                                                                                          BAILEYTON         AL      35019‐8532
HENDERSON, DARREL M        GORI JULIAN & ASSOCIATES P C     156 N MAIN ST                                                                 EDWARDSVILLE      IL      62025
HENDERSON, DARREL M        GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                                    EDWARDSVILLE      IL      62025‐0959
                           ANTOGNOLI
HENDERSON, DARREN G        17 SAWMILL RD                                                                                                  GLEN MILLS        PA      19342‐2270
HENDERSON, DARRICK M       507 S SUNSET LN                                                                                                RAYMORE           MO      64083‐9235
HENDERSON, DARRIUS D       4004 CHURCH ST                                                                                                 MONROE            LA      71203‐5706
HENDERSON, DARYL S         512 BURTON ST SE                                                                                               GRAND RAPIDS      MI      49507‐3116
HENDERSON, DAVE J          5448 SUGAR BUSH LN                                                                                             FLINT             MI      48532‐2237
HENDERSON, DAVID B         7814 JON SCOTT DR                                                                                              GRAND LEDGE       MI      48837‐9279
HENDERSON, DAVID D         7419 N OUTLOOK LN                                                                                              PRESCOTT VALLEY   AZ      86315‐4588
HENDERSON, DAVID E         797 OLDE ORCHARD DR                                                                                            TALLMADGE         OH      44278‐2939
HENDERSON, DAVID J         26104 PIKE 232                                                                                                 CLARKSVILLE       MO      63336‐2629
HENDERSON, DAVID K         6131 MESSINA LN APT 104                                                                                        COCOA BEACH       FL      32931‐5618
HENDERSON, DAVID L         728 NEWSOME ST                                                                                                 PRICHARD          AL      36610‐4337
HENDERSON, DAVID L         9204 CRYSTAL RIVER DR                                                                                          INDIANAPOLIS      IN      46240‐6403
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HENDERSON, DAVID L       4603 N SEYMOUR RD                                                                              FLUSHING           MI     48433‐1541
HENDERSON, DAVID W       26651 SHAKER BLVD                                                                              BEACHWOOD          OH     44122‐7119
HENDERSON, DEAN E        PO BOX 23                                                                                      HADLEY             MI     48440‐0023
HENDERSON, DEBBE J       706 N TIPPY DR                                                                                 MARION             IN     46952‐2908
HENDERSON, DEBBIE A      414 GLENVIEW RD                                                                                TROTWOOD           OH     45426‐2826
HENDERSON, DEBORAH A     16863 ASHTON AVE                                                                               DETROIT            MI     48219‐4101
HENDERSON, DEBORAH A     3341 RED FOX RUN DR NW                                                                         WARREN             OH     44485‐1581
HENDERSON, DEBORAH ANN   16863 ASHTON AVE                                                                               DETROIT            MI     48219‐4101
HENDERSON, DEBORAH D     47828 VISTAS CIRCLE DR S 58                                                                    CANTON             MI     48188
HENDERSON, DENARA
HENDERSON, DENISE        13355 N BRAY RD                                                                                CLIO              MI      48420‐9108
HENDERSON, DENNIS A      5382 HARTLAND RD                                                                               FENTON            MI      48430‐9536
HENDERSON, DENNIS L      2458 N DIXBORO RD                                                                              ANN ARBOR         MI      48105‐9740
HENDERSON, DENNIS R      1706 E BRECKENRIDGE LN                                                                         MILTON            WI      53563‐9459
HENDERSON, DENNIS R      1374 HENDERSON RD                                                                              SAINT JOHNS       MI      48879‐9007
HENDERSON, DENNIS R      27 EMERALD LAKE CT                                                                             LAKE CITY         MN      55041‐4409
HENDERSON, DENNIS R      HENDERSON RD 1374                                                                              ST. JOHNS         MI      48879
HENDERSON, DEVON A       APT B                             3313 SHILOH SPRINGS ROAD                                     DAYTON            OH      45426‐2278
HENDERSON, DIANN C       3252 CLAPHAM RD                                                                                ANTIOCH           TN      37013‐1886
HENDERSON, DIXIE A       645 S ARCHER ST                                                                                ANAHEIM           CA      92804‐3512
HENDERSON, DOLORES       10800 INDIAN HEAD HWY APT 302                                                                  FORT WASHINGTON   MD      20744‐4060

HENDERSON, DON R         419 HILLWOOD DR                                                                                LORETTO           TN      38469‐2025
HENDERSON, DONALD        1320 LISCUM DR                                                                                 DAYTON            OH      45418‐1978
HENDERSON, DONALD L      2171 PLANTATION CT                                                                             LAWRENCEVILLE     GA      30044‐3745
HENDERSON, DONALD M      7117 GREENSPRING DR                                                                            ARLINGTON         TX      76016‐5036
HENDERSON, DONALD P      20465 HUBBARD RD                                                                               BATTLE CREEK      MI      49017‐8000
HENDERSON, DONALD R      3879 COUNTY ROAD 217                                                                           TRINITY           AL      35673‐3518
HENDERSON, DONALD R      3213 MILBOURNE AVE                                                                             FLINT             MI      48504‐2687
HENDERSON, DONNA H       37690 GREGORY DR                                                                               STERLING HTS      MI      48312‐1928
HENDERSON, DONNA L       5016 BEE TREE RD SE                                                                            ACWORTH           GA      30102‐6891
HENDERSON, DONNA M       107 LAWSON ACRES                                                                               GUNTERSVILLE      AL      35976
HENDERSON, DONNA MARIE   107 LAWSON ACRES                                                                               GUNTERSVILLE      AL      35976
HENDERSON, DORETHA       575 SILVER COURSE PASS                                                                         OCALA             FL      34472‐2232
HENDERSON, DORIS N       419 HILLWOOD DR                                                                                LORETTO           TN      38469‐2025
HENDERSON, DOROTHY       608 FAIRFIELD DR                                                                               WABASH            IN      46992‐4021
HENDERSON, DOROTHY A     1729 WESTERN REDWOOD AVE                                                                       KISSIMMEE         FL      34758‐2336
HENDERSON, DOROTHY M     556 BEECHWOOD STREET                                                                           RIVER ROUGE       MI      48218
HENDERSON, DOUG
HENDERSON, DOUGLAS A     1714 BROADWAY                                                                                  PIQUA             OH      45356‐1512
HENDERSON, DOUGLAS L     17 AUTUMN CHASE DR                                                                             HOPEWELL          NY      12533‐6570
                                                                                                                        JUNCTION
HENDERSON, EARL          39 GOODWIN LANE                                                                                WILLINGBORO       NJ      08046‐3221
HENDERSON, EARL          39 GOODWIN LN                                                                                  WILLINGBORO       NJ      08046‐3221
HENDERSON, EDDIE B       1042 ARGYLE AVE                                                                                PONTIAC           MI      48341‐2303
HENDERSON, EDDIE R       6108 E 109TH ST                                                                                KANSAS CITY       MO      64134‐2540
HENDERSON, EDGAR R       556 PLEASANT GROVE CH RD                                                                       FITZGERALD        GA      31750
HENDERSON, EDITH I       1387 PEACHWOOD DR                                                                              FLINT             MI      48507‐5634
HENDERSON, EDNA L        4117 CHESFORD ROAD                                                                             COLUMBUS          OH      43224‐1713
HENDERSON, EDWARD        415 CEDAR ST                                                                                   PACIFIC GROVE     CA      93950‐3905
HENDERSON, EDWARD C      1179 BINGHAM AVENUE NORTHWEST                                                                  WARREN            OH      44485‐2415
HENDERSON, EDWARD C      1024 S LINDEN RD                                                                               FLINT             MI      48532‐3405
HENDERSON, EDWARD E      102 BAIER AVE                                                                                  SOMERSET          NJ      08873‐2044
HENDERSON, EDWARD J      2500 ST. LAWRENCE COUNTY HWY 55                                                                BRASHER FALLS     NY      13613
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Name                      Address1                          Address2                  Address3   Address4               City               State   Zip
HENDERSON, ELAINE         211 DOLORES CT                                                                                DAYTON              OH     45415‐1203
HENDERSON, ELAINE F       127 HANOVER ST                                                                                MARINE CITY         MI     48039‐3575
HENDERSON, ELAINE F       127 HANOVER                                                                                   MARINE CITY         MI     48039‐1793
HENDERSON, ELBERT L       PO BOX 332                                                                                    OLMSTED              IL    62970‐0332
HENDERSON, ELBERT S       7300 STONEWALL RD                                                                             FOREST HILL         TX     76140‐2534
HENDERSON, ELBERT S       531 N JOYCE ST                                                                                LOMBARD              IL    60148‐1829
HENDERSON, ELENOR         1524 BLAKE ST                                                                                 BERKELEY            CA     94703‐1806
HENDERSON, ELENOR         1524 BLAKE ST.                                                                                BERKELEY            CA     94703‐1806
HENDERSON, ELIZABETH      RHOADES JOSEPH J LAW OFFICES OF   1225 N KING ST STE 1200                                     WILMINGTON          DE     19801‐3254
HENDERSON, ELIZABETH F    319 THE WOODS                                                                                 BEDFORD             IN     47421
HENDERSON, ELLEN M        2066 SUNSET POINT RD APT 93                                                                   CLEARWATER          FL     33765‐1226
HENDERSON, ELLEN M        2066 SUNSET POINT ROAD            APT 93                                                      CLEARWATER          FL     33765
HENDERSON, ELNORA J       1318 N BAY DR                                                                                 LYNN HAVEN          FL     32444‐3206
HENDERSON, ELOISE         8514 S LOOMIS BLVD                                                                            CHICAGO              IL    60620
HENDERSON, ELVIRA H       6198 GREEN MOUNTAIN RD                                                                        ESMONT              VA     22937‐1529
HENDERSON, EMANUEL B      120 NOBLE AVE                                                                                 SYRACUSE            NY     13206‐2026
HENDERSON, ENID M         6045 NORTH MAIN STREET            APT #117                                                    DAYTON              OH     45415‐3190
HENDERSON, ENID M         6045 N MAIN ST APT 117                                                                        DAYTON              OH     45415‐3190
HENDERSON, ETHEL M        1020 CAPITOL AVE                                                                              LINCOLN PARK        MI     48146‐2932
HENDERSON, ETHEL T        865 BROOKDALE DR                                                                              WEST JEFFERSON      OH     43162‐1081
HENDERSON, ETTA PAULINE   1009 VIEW DR                                                                                  RICHMOND            CA     94803‐1249
HENDERSON, EUEL H         5500 S GENESEE RD                                                                             GRAND BLANC         MI     48439‐7602
HENDERSON, EUGENE R       701 N HARVARD DR                                                                              DURAND              MI     48429‐1321
HENDERSON, EVA G          33 S MOSS AVE                                                                                 DAYTON              OH     45417‐1803
HENDERSON, EVELYN         14500 MARSH LN APT 233                                                                        ADDISON             TX     75001
HENDERSON, FLEDA M        P O BOX 671                                                                                   STRONG              AR     71765‐0671
HENDERSON, FLETCHER J     103 UNION ST                                                                                  PONIAC              MI     48342
HENDERSON, FLETCHER J     318 E COURT ST OFC                                                                            FLINT               MI     48502‐6304
HENDERSON, FLOREE         13205 HAROLD AVE                                                                              CLEVELAND           OH     44135‐4805
HENDERSON, FLOYD          20780 BROWN ST                                                                                PERRIS              CA     92570‐9177
HENDERSON, FLOYD          12223 FAIRBURY DR                                                                             HOUSTON             TX     77089‐6611
HENDERSON, FRANCES H      706 WESTPARK PL                                                                               LITHIA SPRINGS      GA     30122‐4108
HENDERSON, FRANCES H      706 W PARK PLACE                                                                              LITHIA SPRING       GA     30122
HENDERSON, FRANCES M      9184 COTTONWOOD DR                                                                            JENISON             MI     49428‐9514
HENDERSON, FRANCES S      1484 NILES RD SE                                                                              WARREN              OH     44484‐5107
HENDERSON, FRANCINE       4395 CROSS CREEK BOULEVARD                                                                    BURTON              MI     48509‐1461
HENDERSON, FRANK A        18739 W PALM AVE                                                                              CASA GRANDE         AZ     85222‐8805
HENDERSON, FRANK H        3456 N 33RD TER                                                                               KANSAS CITY         KS     66104‐3832
HENDERSON, FRANK M        6520 CRANWOOD DR                                                                              FLINT               MI     48505‐1951
HENDERSON, FRED           8422 NEW LAWRENCEBURG HWY                                                                     MT PLEASANT         TN     38474‐2165
HENDERSON, FRED           C/O MOODY                         801 WEST FOURTH ST                                          LITTLE ROCK         AR     72201
HENDERSON, FRED L         3915 BURTON ST                                                                                INKSTER             MI     48141‐2717
HENDERSON, FRED L         42 MORNING SUN RD                                                                             PROCTOR             AR     72376‐9715
HENDERSON, FREDERICK A    630 VAUGHAN RD                                                                                BLOOMFIELD HILLS    MI     48304‐2663
HENDERSON, GARY B         11650 N COUNTY LINE RD                                                                        WHEELER             MI     48662‐9717
HENDERSON, GARY L         2220 KING AVENUE                                                                              DAYTON              OH     45420‐2362
HENDERSON, GARY L         1387 BAIRSTOW CT                                                                              GALLOWAY            OH     43119‐9787
HENDERSON, GARY P         164 S VISTA                                                                                   AUBURN HILLS        MI     48326‐1447
HENDERSON, GENE           64 N 500 E                                                                                    HARTFORD CITY       IN     47348‐9248
HENDERSON, GEORGE F       403 NW 16TH ST                                                                                ATKINS              AR     72823‐3214
HENDERSON, GEORGE J       1343 N SEYMOUR RD                                                                             FLUSHING            MI     48433‐9405
HENDERSON, GEORGE R       2771 BARCLAY MESSERLY RD                                                                      SOUTHINGTON         OH     44470‐9735
HENDERSON, GEORGE T       11148 STANLEY RD                                                                              FLUSHING            MI     48433‐9343
HENDERSON, GERALD H       1710 SHOEMAKER DR                                                                             JACKSON             MI     49203‐2744
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Name                        Address1                            Address2                 Address3   Address4               City               State Zip
HENDERSON, GERALD J         26601 BERG RD APT 130                                                                          SOUTHFIELD          MI 48033‐5301
HENDERSON, GERALD T         C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                     EDWARDSVILLE         IL 62025
                            ROWLAND PC
HENDERSON, GERALD W         4651 WISTERIA DR                                                                               ZEPHYRHILLS        FL   33542‐5647
HENDERSON, GINGER           313 ERNI AVENUE                                                                                NEW ALBANY         IN   47150
HENDERSON, GINGER           313 ERNI AVE                                                                                   NEW ALBANY         IN   47150‐4108
HENDERSON, GLADYS           40 EAST SIDNEY AVE #10L                                                                        MT VERNON          NY   10550
HENDERSON, GLADYS           550 DEER VIEW WAY                                                                              JEFFERSON CITY     TN   37760‐4063
HENDERSON, GLADYS B.        214 PRINCE OF WALES DR                                                                         GAHANNA            OH   43230‐2450
HENDERSON, GLENDA MARIE     5613 GLENN AVE                                                                                 FLINT              MI   48505‐5134
HENDERSON, GLENN E          27870 BERKSHIRE DR                                                                             SOUTHFIELD         MI   48076‐4956
HENDERSON, GLORIA B         5712 ALGOMA ST.                                                                                DAYTON             OH   45415‐5415
HENDERSON, GLORIA B         5712 ALGOMA ST                                                                                 DAYTON             OH   45415‐2403
HENDERSON, GLORIA G         4326 HARVARD DR SE                                                                             WARREN             OH   44484‐4808
HENDERSON, GLORIA J         1668 35TH AVE                                                                                  OAKLAND            CA   94601‐3614
HENDERSON, GLORIA J         1668 35 TH AVE                                                                                 OAKLAND            CA   94601‐3614
HENDERSON, GORDON S         551 MATTHEWS DR                                                                                CINCINNATI         OH   45215‐1522
HENDERSON, GORDON W         722 S MONROE ST                                                                                HINSDALE           IL   60521‐4320
HENDERSON, GORDON WILLIAM   722 S MONROE ST                                                                                HINSDALE           IL   60521‐4320
HENDERSON, GRACE L          1318 MILLER COUNTY 30                                                                          DODDRIDGE          AR   71834‐1487
HENDERSON, GRACE L          1318 MC 30                                                                                     DODDRIDGE          AR   71834‐1487
HENDERSON, GRACIE B         14 GENESIS CT                                                                                  GREENVILLE         SC   29601‐4211
HENDERSON, GREG J           165 RIVER SHORES RD                                                                            WESTMINSTER        SC   29693
HENDERSON, GREG J           165 RIVERSHORES RD                                                                             WESTMINSTER        SC   29693‐5119
HENDERSON, GREGORY R        2236 TALUCAH RD                                                                                VLHRMOSO SPGS      AL   35775‐7420
HENDERSON, HARLAN           18272 INDIANA ST                                                                               DETROIT            MI   48221
HENDERSON, HARLAN J         44450 BAYVIEW AVE                   APT 16308                                                  CLINTON TWP        MI   48038‐7244
HENDERSON, HAROLD G         624 ORCHARD LAKE RD                                                                            PONTIAC            MI   48341‐2037
HENDERSON, HAROLD L         123 HOMELESS                                                                                   INGLEWOOD          CA   90000
HENDERSON, HAROLD P         1161 S DYE RD                                                                                  FLINT              MI   48532‐3341
HENDERSON, HAROLD T         14160 CAMELOT DR APT 1                                                                         STERLING HEIGHTS   MI   48312‐7001
HENDERSON, HARRY E          1200 E STATE RD                                                                                LANSING            MI   48906‐1999
HENDERSON, HARVEY           3954 E 147TH ST                                                                                CLEVELAND          OH   44128‐1081
HENDERSON, HAZEL            PO BOX 65                                                                                      TWIN CITY          GA   30471‐0065
HENDERSON, HAZEL G          PO BOX 23131                                                                                   OKLAHOMA CITY      OK   73123‐2131
HENDERSON, HELEN L          1921 ASPEN ST                                                                                  NEWPORT            MI   48166‐8809
HENDERSON, HENRY M          341 E PIERSON RD                                                                               FLINT              MI   48505‐3311
HENDERSON, HERBERT O        4066 TOWNSHIP RD. 51                                                                           GALION             OH   44833‐9632
HENDERSON, HERMAN A         2200 CHRISTINE ST                                                                              SPRINGDALE         AR   72762‐6527
HENDERSON, HERMAN J         5084 CHUPP WAY CIR                                                                             LITHONIA           GA   30038‐2077
HENDERSON, HILDA            404 AUKERMAN ST.                                                                               EATON              OH   45320‐1917
HENDERSON, HOWARD           2211 GAINES ST                                                                                 EL DORADO          AR   71730‐8109
HENDERSON, IDA M            135 MARINERS DR                                                                                CROSSVILLE         TN   38558‐2719
HENDERSON, IDA M            3360 NORTH LINDEN RD                PINE SHORES APT 1                                          FLINT              MI   48504‐5722
HENDERSON, IDORA J          16016 CEDAR ST                                                                                 BASEHOR            KS   66007‐9736
HENDERSON, INA L            622 E STEPHENSON ST                                                                            MARION             IN   46952‐2103
HENDERSON, IRENE E          1800 33RD ST                                                                                   BAY CITY           MI   48708‐8146
HENDERSON, ISAAC G          442 AUTUMN DR                                                                                  RIVERDALE          GA   30274‐3704
HENDERSON, ISABELL M        31 SUNNYSIDE ST                                                                                LOCKPORT           NY   14094‐4206
HENDERSON, J G              1963 OLD BETHEL RD                                                                             CHICKAMAUGA        GA   30707‐3545
HENDERSON, J. C             20047 KLINGER ST                                                                               DETROIT            MI   48234‐1741
HENDERSON, JACK             144 WOODDALE LN                                                                                CARROLLTON         GA   30117‐6103
HENDERSON, JACK             5882 ROMEYN ST                                                                                 DETROIT            MI   48209‐1639
HENDERSON, JACK B           PO BOX 256                          54907 WILLOW COVE                                          BASS LAKE          CA   93604‐0256
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Name                      Address1                       Address2                       Address3   Address4                 City            State   Zip
HENDERSON, JACK G         7406 CHRISTIE LN                                                                                  DALLAS           TX     75249‐1027
HENDERSON, JACK V         13566 SUMMERFIELD DR                                                                              ATHENS           AL     35613‐8287
HENDERSON, JACQUELINE E   6440 HOLLINGSWORTH DR                                                                             INDIANAPOLIS     IN     46268‐5069
HENDERSON, JACQUELYN L    7380 CRYSTAL LAKE APARTMENTS                                                                      SWARTZ CREEK     MI     48473
HENDERSON, JAMAYCA        PO BOX 1519                                                                                       WARREN           MI     48090‐1519
HENDERSON, JAMES          266 W LINCOLN ST                                                                                  OBERLIN          OH     44074‐1822
HENDERSON, JAMES          21700 W MCNICHOLS RD APT 3                                                                        DETROIT          MI     48219‐3270
HENDERSON, JAMES          WALLACE & GRATHAN              525 N MAIN ST                                                      SALISBURY        NC     28144‐4303
HENDERSON, JAMES A        304 SMITH ST                                                                                      DAYTON           OH     45408‐2041
HENDERSON, JAMES A        14255 WESTGATE DR                                                                                 REDFORD          MI     48239‐2856
HENDERSON, JAMES A        304 SMITH STREET                                                                                  DAYTON           OH     45408‐2041
HENDERSON, JAMES A        2719 FERDINAND                                                                                    GRAND PRAIRIE    TX     75054‐5514
HENDERSON, JAMES A        1420 HARVARD BLVD                                                                                 DAYTON           OH     45406‐5960
HENDERSON, JAMES B        4635 KENSINGTON RD                                                                                MILFORD          MI     48380‐3013
HENDERSON, JAMES C        6 SPANISH TRL                  APT E                                                              ROCHESTER        NY     14612‐4604
HENDERSON, JAMES C        9672 JACKSON ST                                                                                   BELLEVILLE       MI     48111‐1462
HENDERSON, JAMES E        119 KIOWA ST                                                                                      MONROE           LA     71203‐8565
HENDERSON, JAMES E        1320 BROADWAY AVE                                                                                 OWOSSO           MI     48867‐4510
HENDERSON, JAMES E        6331 N 800 W 27                                                                                   CONVERSE         IN     46919‐9546
HENDERSON, JAMES H        1517 NW 30TH ST APT 225                                                                           OKLAHOMA CITY    OK     73118‐3627
HENDERSON, JAMES K        2806 OLD STATE RD                                                                                 HENRYVILLE       IN     47126‐9149
HENDERSON, JAMES L        158 COLORADO RD                                                                                   ALPENA           MI     49707‐4308
HENDERSON, JAMES L        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510‐2212
                                                         STREET, SUITE 600
HENDERSON, JAMES R        3700 STILLWELL AVE                                                                                LANSING          MI     48911
HENDERSON, JAMES R        1995 NORMANDY AVE              APT 216                        LA SALLE   ON N9H‐1P9 CANADA
HENDERSON, JAMES S        EDGAR LAW FIRM LLC             1032 PENNSYLVANIA AVE                                              KANSAS CITY     MO      64105‐1335
HENDERSON, JAMES V        84 W KALAMA AVE                                                                                   MADISON HTS     MI      48071‐3948
HENDERSON, JAMES W        433 TOPAZ AVE                                                                                     MANSFIELD       OH      44907‐1463
HENDERSON, JAMES W        2070 W 72ND ST                                                                                    NEWAYGO         MI      49337‐9782
HENDERSON, JAMES W        2860 MERIDIAN DR                                                                                  DACULA          GA      30019‐3026
HENDERSON, JANET          1880 SW CR 778                                                                                    FORT WHITE      FL      32038‐3164
HENDERSON, JANET          1880 SW COUNTY ROAD 778                                                                           FORT WHITE      FL      32038‐3164
HENDERSON, JANET K        209 MEANDERING LN                                                                                 BURLESON        TX      76028‐3339
HENDERSON, JANET S        3274 OAK BROOK RD                                                                                 BALDWINSVILLE   NY      13027‐3613
HENDERSON, JANICE H       169 MERLIN ST                                                                                     ROCHESTER       NY      14613‐2149
HENDERSON, JANICE R       129 E CENTRAL AVE                                                                                 RAVENNA         OH      44266‐2201
HENDERSON, JANIS L        215 S MCKINLEY AVE                                                                                MUNCIE          IN      47303‐4860
HENDERSON, JANIS LYNN     215 S MCKINLEY AVE                                                                                MUNCIE          IN      47303‐4860
HENDERSON, JAY A          215 S MCKINLEY AVE                                                                                MUNCIE          IN      47303‐4860
HENDERSON, JAY ALAN       215 S MCKINLEY AVE                                                                                MUNCIE          IN      47303‐4860
HENDERSON, JEANNE         1915 MT ZION DR                                                                                   GOLDEN          CO      80401‐1735
HENDERSON, JEANNE D       4524 SHOREVIEW DR                                                                                 CANTON          MI      48188‐2391
HENDERSON, JEFFREY S      5990 ROSEWOOD PKWY                                                                                WHITE LAKE      MI      48383‐2788
HENDERSON, JEFFREY W      347 MORGAN LN                                                                                     GAHANNA         OH      43230‐7020
HENDERSON, JENNY M        1151 RECTOR CT                                                                                    INDIANAPOLIS    IN      46229‐2362
HENDERSON, JERALD L       270 COUNTY ROAD 135                                                                               ATHENS          TN      37303‐6154
HENDERSON, JERARD
HENDERSON, JEROME         BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD      OH      44067
                                                         PROFESSIONAL BLDG
HENDERSON, JERRY J        278 ROSIE ST                                                                                      BOWLING GREEN    KY     42103‐8428
HENDERSON, JERRY M        22572 COUNTY RD 82                                                                                WOODLAND         AL     36280
HENDERSON, JERRY O
HENDERSON, JERRY S        31920 REGAL DR                                                                                    WARREN           MI     48088‐2989
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Name                         Address1                       Address2                  Address3   Address4               City            State   Zip
HENDERSON, JERRY S           147 SHERWOOD FARMS RD                                                                      OMAHA            TX     75571‐3272
HENDERSON, JERRY W           9388 BINGHAM STREET                                                                        ELBERTA          AL     36530‐5058
HENDERSON, JERRY W           3309 19TH ST                                                                               MERIDIAN         MS     39301‐2839
HENDERSON, JESSE D           631 WOODFORD AVE                                                                           BOWLING GREEN    KY     42101‐4852
HENDERSON, JESSICA R         15610 TACOMA ST                                                                            DETROIT          MI     48205‐2043
HENDERSON, JESSICA REGONDA   15610 TACOMA ST                                                                            DETROIT          MI     48205‐2043
HENDERSON, JESSIE I          71 ROBIN LN                                                                                WELLINGTON       KY     40387‐8545
HENDERSON, JESSIE M          873 MILLER COUNTY 195                                                                      DODDRIDGE        AR     71834‐1455
HENDERSON, JESSIE M          873 MC195                                                                                  DODDRIDGE        AR     71834
HENDERSON, JESSIE P          2123 ROSSMOOR RD                                                                           CLEVELAND HTS    OH     44118‐2516
HENDERSON, JESSIE T          4363 FAIRWOOD DR                                                                           BURTON           MI     48529‐1912
HENDERSON, JIMMIE L          1100 TAYWOOD RD APT 46                                                                     ENGLEWOOD        OH     45322‐2470
HENDERSON, JIMMIE R          84 J HENDERSON RD                                                                          SOMERVILLE       AL     35670‐4249
HENDERSON, JIMMIE R          3700 S WESTPORT AVE PMB 1526                                                               SIOUX FALLS      SD     57106‐6360
HENDERSON, JIMMY L           PO BOX 310465                                                                              FLINT            MI     48531‐0465
HENDERSON, JO LYNN K         6010 MERCEDES AVE                                                                          DALLAS           TX     75206‐5912
HENDERSON, JOAN M            231 SUMMERFIELD GDNS                                                                       SHELTON          CT     06484‐6309
HENDERSON, JOE P             2814 E GENESEE AVE APT 509                                                                 SAGINAW          MI     48601‐4049
HENDERSON, JOHN              BILBREY & HYLIA                8724 PIN OAK RD                                             EDWARDSVILLE      IL    62025‐6822
HENDERSON, JOHN A            401 GALLAHER RD                                                                            ELKTON           MD     21921‐2811
HENDERSON, JOHN B            2027 WILKIE RD                                                                             ALPHARETTA       GA     30004‐2591
HENDERSON, JOHN C            123 HILLTOP DR                                                                             GREENVILLE       OH     45331‐2823
HENDERSON, JOHN C            321 E DOROTHY LN                                                                           KETTERING        OH     45419‐1713
HENDERSON, JOHN D            1218 W GREENCASTLE RD                                                                      MOORESVILLE      IN     46158‐6092
HENDERSON, JOHN E            PO BOX 5356                                                                                FALLON           NV     89407‐5356
HENDERSON, JOHN H            12 NEW MOON TER N                                                                          SPRINGFIELD      MI     49037‐7628
HENDERSON, JOHN H            1454 KENWICK RD                                                                            COLUMBUS         OH     43209‐3155
HENDERSON, JOHN L            21800 MORLEY AVE APT 1219                                                                  DEARBORN         MI     48124‐2335
HENDERSON, JOHN R            1182 BEAL RD                                                                               MANSFIELD        OH     44905‐1656
HENDERSON, JOHN R            1835 S ARLINGTON AVE                                                                       INDIANAPOLIS     IN     45203‐2618
HENDERSON, JOHN W            17890 COUNTY ROAD 460                                                                      MOULTON          AL     35650‐6561
HENDERSON, JOHNNY            LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                     MIAMI            FL     33143‐5163
HENDERSON, JOSEPH            11114 BERKSHIRE AVE                                                                        CLEVELAND        OH     44108‐3058
HENDERSON, JOSEPH            30929 TAIL FEATHER RUN         WHITE OWL LANDING                                           LAUREL           DE     19956‐3285
HENDERSON, JOSEPH D          130 PINE ST E                                                                              ABBEVILLE        GA     31001‐4337
HENDERSON, JOSEPH H          23923 ADA AVE                                                                              WARREN           MI     48091‐1872
HENDERSON, JOSEPH P          239 VALHALLA DR                                                                            SOLVANG          CA     93463‐3102
HENDERSON, JOSEPH R          7401 VINTAGE CIR                                                                           AVON             IN     46123‐7352
HENDERSON, JOYCE             3013 W SUNBLEST DR                                                                         MUNCIE           IN     47302‐8914
HENDERSON, JOYCE             3013 W SUNBEST DR                                                                          MUNCIE           IN     47302‐9808
HENDERSON, JOYCE             113 E PINEY RD                                                                             WHITE HALL       AR     71602‐3404
HENDERSON, JOYCE E           19070 SE 96TH ST                                                                           OCKLAWAHA        FL     32179‐4037
HENDERSON, JR.,OTIS B        2511 NEWPORT GAP PIKE                                                                      WILMINGTON       DE     19808‐3174
HENDERSON, JUANITA A         2000 FAULKLAND RD                                                                          WILMINGTON       DE     19805‐1038
HENDERSON, JUDITH A          3375 N LINDEN RD APT 222                                                                   FLINT            MI     48504‐5725
HENDERSON, JUDITH M.         65 ROYAL PALM DRIVE                                                                        CHEEKTOWAGA      NY     14225‐3711
HENDERSON, JUDY              2727 COLLINGWOOD AVE                                                                       SAGINAW          MI     48601‐3957
HENDERSON, JUDY              7067 BLANKENSHIP CIR                                                                       DAVISON          MI     48423‐2316
HENDERSON, KAREN A           1641 SAINT LANDRY ST                                                                       SHREVEPORT       LA     71107‐6430
HENDERSON, KARL F            3024 SOUTH 350 EAST                                                                        KOKOMO           IN     46902‐9786
HENDERSON, KATHARINA A       3109 CAVE SPRINGS AVE # 2                                                                  BOWLING GREEN    KY     42104‐4478
HENDERSON, KATHLENE J        1618 ALSPAUGH LN                                                                           GRAND PRAIRIE    TX     75052‐2085
HENDERSON, KAYCI L           339 ALICIA RD                                                                              DAYTON           OH     45417
HENDERSON, KEITH
                             09-50026-mg          Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                         Address1                      Address2              Address3       Address4               City             State   Zip
HENDERSON, KEITH E           14692 OLD STATE RD                                                                        JOHANNESBURG      MI     49751‐9581
HENDERSON, KEITH E           G3474 CLAIRMONT ST                                                                        FLINT             MI     48532‐4910
HENDERSON, KEITH W           39 PENFIELD LN                                                                            SICKLERVILLE      NJ     08081‐1813
HENDERSON, KENNETH D         1529 WILLOW GATE WAY                                                                      AUBURN            GA     30011‐3231
HENDERSON, KENNETH E         912 S 8TH AVE                                                                             ALPENA            MI     49707‐2931
HENDERSON, KENNETH R         PO BOX 146                                                                                MAUMEE            OH     43537‐0146
HENDERSON, KEVIN T           DELPHI DELCO ELECTRONICS      PO BOX 9005 M/S SNB                                         KOKOMO            IN     46904
HENDERSON, KIVA M            1320 LISCUM DR                                                                            DAYTON            OH     45418‐1978
HENDERSON, LADDIE B          4845 TROLLEY LN                                                                           HORN LAKE         MS     38637‐8554
HENDERSON, LARRY             6363 SMOKE RISE TRL                                                                       GRAND BLANC       MI     48439
HENDERSON, LARRY C           5358 BARNES RD                                                                            MILLINGTON        MI     48746‐8709
HENDERSON, LARRY E           PO BOX 2341                                                                               SHARON            PA     16146‐0727
HENDERSON, LARRY J           7835 STATE RD                                                                             SAGINAW           MI     48609‐9555
HENDERSON, LARRY J           5163 E STATE ROUTE 73                                                                     WAYNESVILLE       OH     45068‐9578
HENDERSON, LARRY L           9210 APPLEWOOD ST                                                                         WHITE LAKE        MI     48386‐4004
HENDERSON, LASHANA A         2130 RIDGE CREST DR                                                                       KELLER            TX     76248‐5613
HENDERSON, LATRON            307 GRANT DRIVE                                                                           MONROE            LA     71203‐6822
HENDERSON, LATRON J          307 GRANT DRIVE                                                                           MONROE            LA     71203‐6822
HENDERSON, LAVANIA Y         331 NORTH LINDEN COURT        BLDG‐UNIT43‐1                                               WARREN            OH     44484
HENDERSON, LEE E             234 W FEDERAL ST                                                                          NILES             OH     44446‐5108
HENDERSON, LEE O             4208 GREEN RIDGE LN                                                                       ALVARADO          TX     76009‐7781
HENDERSON, LEE ODIS          4208 GREEN RIDGE LN                                                                       ALVARADO          TX     76009‐7781
HENDERSON, LEO               4918 DICKENS AVE                                                                          MIDDLETOWN        OH     45044‐5368
HENDERSON, LEOLA             624 ORCHARD LAKE RD                                                                       PONTIAC           MI     48341‐2037
HENDERSON, LEON              PO BOX 235                                                                                BLAIRSVILLE       GA     30514‐0235
HENDERSON, LEONA ESTATE OF   478 E LOULA ST APT 102        PER AFC                                                     OLATHE            KS     66061‐5423
HENDERSON, LEONARD D         628 STONEMILL DR                                                                          GREENWOOD         IN     46143‐8441
HENDERSON, LEONARD J         5558 LUM RD                                                                               ATTICA            MI     48412‐9384
HENDERSON, LEOTA M           71 ROBIN LN                                                                               WELLINGTON        KY     40387‐8545
HENDERSON, LESTER B          APT 2108                      104 MANCHESTER LANE                                         WATERFORD         MI     48327‐2339
HENDERSON, LESTER R          3459 E STATE ROAD 28                                                                      FRANKFORT         IN     46041‐8880
HENDERSON, LETA S            329 CLAUDIA ST                                                                            ARLINGTON         TX     76010‐2015
HENDERSON, LETA S            329 CLAUDIA                                                                               ARLINGTON         TX     76010‐2015
HENDERSON, LETHA M           794 CONISBURGH CT                                                                         STONE MOUNTAIN    GA     30087‐4968
HENDERSON, LEWIN R           843 BROWN RD                                                                              BENTLEY           MI     48613‐9667
HENDERSON, LEWIS C           417 RIDGEVIEW DR                                                                          PRUDENVILLE       MI     48651‐9780
HENDERSON, LEWIS E           5500 SWAFFER RD                                                                           MILLINGTON        MI     48746‐9512
HENDERSON, LILLIAN A         3633 OLD BROWNSVILLE RD                                                                   MEMPHIS           TN     38135‐2221
HENDERSON, LILLIAN M         2807 WILLIAMS RD                                                                          BEDFORD           IN     47421‐8345
HENDERSON, LINDA B           856 WILHELM RD                                                                            HERMITAGE         PA     16148‐3749
HENDERSON, LINDA L           13913 BALDWIN AVE                                                                         CLEVELAND         OH     44112‐2547
HENDERSON, LINDA R           30 WOODLAKE DR                                                                            CHOCTAW           OK     73020
HENDERSON, LINDA S           1100 N SHELLBARK RD                                                                       MUNCIE            IN     47304‐3180
HENDERSON, LINDA S           19503 BISHOP RD                                                                           NEW LOTHROP       MI     48460‐9630
HENDERSON, LINDA S           2806 OLD STATE RD                                                                         HENRYVILLE        IN     47126‐9149
HENDERSON, LIONEL            15734 SOUTHFIELD FWY                                                                      DETROIT           MI     48223‐1361
HENDERSON, LLOYD E           WEITZ & LUXENBERG             180 MAIDEN LANE                                             NEW YORK          NY     10038
HENDERSON, LOLA C            4918 DICKENS AVE                                                                          MIDDLETOWN        OH     45044‐5368
HENDERSON, LONNIE B          1824 HIGHLAND SPRINGS DR                                                                  HASLET            TX     76052‐2833
HENDERSON, LORA L            2186 DISCH ST                                                                             FLUSHING          MI     48433‐2575
HENDERSON, LOREN E           PO BOX 923                                                                                PLAINFIELD        IN     46168‐0923
HENDERSON, LORETTA G         5876 WILLOWBRIDGE RD                                                                      YPSILANTI         MI     48197‐7132
HENDERSON, LORNE E           31752 GILBERT DR                                                                          WARREN            MI     48093‐1741
HENDERSON, LORRI K           12091 N LEWIS RD                                                                          CLIO              MI     48420‐7910
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Name                         Address1                       Address2            Address3         Address4               City              State   Zip
HENDERSON, LORRI KAY         12091 N LEWIS RD                                                                           CLIO               MI     48420‐7910
HENDERSON, LOUIS             1304 N LOREL AVE                                                                           CHICAGO             IL    60651‐1366
HENDERSON, LOUISE M          912 N CHILSON AVE                                                                          BAY CITY           MI     48706‐3502
HENDERSON, LOUISE M          912 N CHILSON ST                                                                           BAY CITY           MI     48706‐3502
HENDERSON, LOUISE M          2404 HIKES LN                                                                              LOUISVILLE         KY     40218‐1412
HENDERSON, LOURIE L          5219 HAROLD DR                                                                             FLUSHING           MI     48433‐2538
HENDERSON, LOUVINIA C        386 REEDY CREEK RD                                                                         LAUREL             MS     39443
HENDERSON, LOVELL W          1806 BRANDONHALL DR                                                                        MIAMISBURG         OH     45342‐6326
HENDERSON, LOVIE             PO BOX 81 WRIGHT ST                                                                        SPARKMAN           AR     71763
HENDERSON, LUCILLE           420 S OPDYKE APT 36A                                                                       PONTIAC            MI     48341‐3109
HENDERSON, LUE D             619 WEST ST                                                                                LANSING            MI     48915‐1125
HENDERSON, LYDIA A           4021 GATEWAY DR                                                                            ENGLEWOOD          OH     45322‐2523
HENDERSON, M L               PO BOX 300324                                                                              SAINT LOUIS        MO     63130‐0164
HENDERSON, MACK A            3921 DUPONT ST                                                                             FLINT              MI     48504‐3568
HENDERSON, MACK ARTHUR       3921 DUPONT ST                                                                             FLINT              MI     48504‐3568
HENDERSON, MADELLA S         2901 N 69TH ST                                                                             KANSAS CITY        KS     66109‐1849
HENDERSON, MADONNA           6520 CRANWOOD DR                                                                           FLINT              MI     48505‐1951
HENDERSON, MARBURY           18901 STOEPEL ST                                                                           DETROIT            MI     48221‐2252
HENDERSON, MARCUS F          2701 N GETTYSBURG AVE APT 1                                                                DAYTON             OH     45406‐1608
HENDERSON, MARGARET E        4107 BRIARCREST RD                                                                         TOLEDO             OH     43623‐2121
HENDERSON, MARGARET PHELPS   4842 N COUNTRY MILL DR                                                                     GREENFIELD         IN     46140‐7329
HENDERSON, MARGIE A          719 SIMONEAU ST                                                                            SAGINAW            MI     48601‐2313
HENDERSON, MARGIE A          719 SIMONEAU                                                                               SAGINAW            MI     48601‐2313
HENDERSON, MARILYN
HENDERSON, MARILYN           29485 NORTHBROOK CT                                                                        SOUTHFIELD        MI      48076‐1748
HENDERSON, MARILYN           4989 CROOKS RD                                                                             ROYAL OAK         MI      48073‐1202
HENDERSON, MARILYN A         3111 FAIRGROVE TER                                                                         ROCHESTER HILLS   MI      48309‐3984
HENDERSON, MARION F          C/O ROBERT D HEUCHAN           GUARDIAN                                                    FRANKLIN          IN      46131
HENDERSON, MARION F          80 EAST JEFFERSON STREET                                                                   FRANKLIN          IN      46131‐2321
HENDERSON, MARION MARK       SHANNON LAW FIRM               100 W GALLATIN ST                                           HAZLEHURST        MS      39083‐3007
HENDERSON, MARK              2640 W COUNTY ROAD 750 N                                                                   ORLEANS           IN      47452‐9774
HENDERSON, MARK A            PO BOX 82213                                                                               ROCHESTER         MI      48308‐2213
HENDERSON, MARK D            6718 SALLY CT                                                                              FLINT             MI      48505‐5419
HENDERSON, MARK G            2179 BERVILLE RD                                                                           BERLIN            MI      48002‐2109
HENDERSON, MARSHA H          1595 ZURICH DR                                                                             FLORISSANT        MO      63031‐8344
HENDERSON, MARTHA L          8729 JUNIPER ST.                                                                           LANSING           MI      48917
HENDERSON, MARTIN F          4012 ROSE MARIE RD                                                                         FRANKLIN          OH      45005‐4847
HENDERSON, MARVIN            22580 SARATOGA DR              APT 201                                                     SOUTH FEILD       MI      48075
HENDERSON, MARVIN L          17342 COLLINSON AVE                                                                        EASTPOINTE        MI      48021‐3106
HENDERSON, MARY A            PO BOX 5037                                                                                MONROE            LA      71211‐5037
HENDERSON, MARY A            PO BOX 761                                                                                 FLINT             MI      48501‐0761
HENDERSON, MARY ANN          467 LORA AVE                                                                               YOUNGSTOWN        OH      44504‐1548
HENDERSON, MARY ANN          PO BOX 5037                                                                                MONROE            LA      71211‐5037
HENDERSON, MARY ANN          PO BOX 761                                                                                 FLINT             MI      48501‐0761
HENDERSON, MARY D            9345 SANER CT                                                                              SYLVANIA          OH      43560‐9206
HENDERSON, MARY F            650 S OBRIEN ST                                                                            SEYMOUR           IN      47274
HENDERSON, MARY H            1750 N 750 W                                                                               KOKOMO            IN      46901‐8512
HENDERSON, MARY J            2206 ANJOU CT                                                                              KOKOMO            IN      46902‐2901
HENDERSON, MARY L            6226 VANCE AVE                                                                             FORT WAYNE        IN      46815‐6262
HENDERSON, MARY L            1175 CABOT DR                                                                              FLINT             MI      48532‐2635
HENDERSON, MARY L            3017 N CHEVROLET AVE                                                                       FLINT             MI      48504‐2601
HENDERSON, MARY L            180 S COLONY DR APT 504                                                                    SAGINAW           MI      48603‐6058
HENDERSON, MARY M            1320 LISCUM DR                                                                             DAYTON            OH      45418‐1978
HENDERSON, MATTHEW B         7643 GARY AVE                                                                              WESTLAND          MI      48185
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Name                       Address1                         Address2                       Address3   Address4               City              State   Zip
HENDERSON, MAUREEN         39 ALEXANDER DR                                                                                   HAMPTON            NH     03842‐2309
HENDERSON, MELVIN          9015 TEN MILE RD APT 107                                                                          KNOXVILLE          TN     37923‐3821
HENDERSON, MELVIN          524 VALENCIA DR                                                                                   PONTIAC            MI     48342‐1678
HENDERSON, MELVIN A        261 ELMWOOD TERRACE                                                                               ROCHESTER          NY     14620‐3705
HENDERSON, MICHAEL         2807 CONCORD ST                                                                                   FLINT              MI     48504‐3043
HENDERSON, MICHAEL         819 E HENRY ST                                                                                    LINDEN             NJ     07036‐2133
HENDERSON, MICHAEL E       8317 CANTEEN CIR                                                                                  FREDERICKSBURG     VA     22407‐2117
HENDERSON, MICHAEL L       2992 HIDDEN TIMBER DR                                                                             LAKE ORION         MI     48359‐1572
HENDERSON, MICHAEL O       9700 NW 77TH TER                                                                                  WEATHERBY LAKE     MO     64152‐1735
HENDERSON, MICHAEL P       PO BOX 155                                                                                        LINDEN             MI     48451‐0155
HENDERSON, MICHAEL R       15597 BUDGE ST                                                                                    SAN LEANDRO        CA     94579‐2305
HENDERSON, MICHAEL V       1347 GILBERT DR                                                                                   MINERAL RIDGE      OH     44440‐9746
HENDERSON, MICHELAINE L    W223S9750 BIG BEND DRIVE                                                                          BIG BEND           WI     53103‐9727
HENDERSON, MICHELLE A      234 W FEDERAL ST                                                                                  NILES              OH     44446‐5108
HENDERSON, MILDRED         210 CARR ST                                                                                       PONTIAC            MI     48342‐1608
HENDERSON, MILTON          1391 EASTLAND AVE SE                                                                              WARREN             OH     44484‐4547
HENDERSON, MINNIE L        3038 CASA BELLA DR                                                                                ARLINGTON          TX     76010‐3713
HENDERSON, MINNIE S        640 PARKINSON AVE                                                                                 HAMILTON           NJ     08610‐5017
HENDERSON, MONTY           7340 S ALBANY AVE                                                                                 CHICAGO             IL    60629‐3057
HENDERSON, MORRIS C        2061 JOY RD                                                                                       AUBURN HILLS       MI     48326‐2625
HENDERSON, MOSE            5314 LAURENE ST                                                                                   FLINT              MI     48505‐2508
HENDERSON, NANCY A         2123 LONDON BRIDGE DR                                                                             ROCHESTER HILLS    MI     48307‐4234
HENDERSON, NANCY J         11650 NORTH COUNTY LINE                                                                           WHEELER            MI     48662
HENDERSON, NANCY J         4705 BENNETT HOLLOW RD                                                                            THOMPSONS          TN     37179‐9223
                                                                                                                             STATION
HENDERSON, NANCY J         11650 N COUNTY LINE RD                                                                            WHEELER           MI      48662‐9717
HENDERSON, NANCY J         2239 BROOKE AVE                                                                                   BEDFORD           IN      47421‐5542
HENDERSON, NAOMI GRACE     2787 MARGARET                                                                                     HARRISON          MI      48625‐9044
HENDERSON, NATHAN          PO BOX 1475                                                                                       OLIVE HILL        KY      41164‐1475
HENDERSON, NATHANIAL       1175 CABOT DR                                                                                     FLINT             MI      48532‐2635
HENDERSON, NATHANIEL       5707 CHELMSFORD TRL                                                                               ARLINGTON         TX      76018‐2584
HENDERSON, NICOLE BASHEE   APT 102                          16253 MAYFAIR DRIVE                                              SOUTHFIELD        MI      48075‐5935
HENDERSON, NINA            151 ROSS AVE                                                                                      POOLVILLE         TX      76487‐1815
HENDERSON, NINA C          2538 ONTARIO ST                                                                                   ALPENA            MI      49707‐3248
HENDERSON, NORMA J         31010 SUFFOLK CT                                                                                  FLUSHING          MI      48433‐3120
HENDERSON, NORMA J         13317 E 40TH TERRACE             SOUTH                                                            INDEPENDENCE      MO      64055‐4323
HENDERSON, NORMA L         3393 W MT MORRIS RD                                                                               MT MORRIS         MI      48458
HENDERSON, NORMAN          26011 LAKE SHORE BLVD APT 702                                                                     EUCLID            OH      44132‐1118
HENDERSON, NOVELEAN        4409 WHEATLAND                                                                                    SWARTZ CREEK      MI      48473‐8256
HENDERSON, OCIE F          13355 N BRAY RD                                                                                   CLIO              MI      48420‐9108
HENDERSON, OLIVER          KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                     CLEVELAND         OH      44114
                                                            BOND COURT BUILDING
HENDERSON, OLIVETTE        PORTER & MALOUF PA               4670 MCWILLIE DR                                                 JACKSON           MS      39206‐5621
HENDERSON, ORA L           14121 RUSSELL ST APT 2501                                                                         OVERLAND PARK     KS      66223‐4825
HENDERSON, OREA            5401 GOLD RUSH DRIVE NORTHWEST                                                                    ALBUQUERQUE       NM      87120‐2883
HENDERSON, OSBALDO F       5741 CEDAR CREEK DR                                                                               BENBROOK          TX      76109‐5774
HENDERSON, OSCAR L         17441 WESTHAMPTON RD                                                                              SOUTHFIELD        MI      48075‐4354
HENDERSON, OVEAN B         5112 W BRADBURY AVE                                                                               INDIANAPOLIS      IN      46241‐5175
HENDERSON, OWEN B          3926 S 170 W                                                                                      KINGMAN           IN      47952‐8177
HENDERSON, PAIGE D         5400 GLENSTONE DR UNIT 307                                                                        GRIMES             IA     50111
HENDERSON, PALESTINE       704 EMERSON AVE                                                                                   PONTIAC           MI      48340‐3219
HENDERSON, PAT H           3610 NORTHPORT DR                                                                                 SAGINAW           MI      48601‐7039
HENDERSON, PATRICIA        4607 MERRICK DR                                                                                   DAYTON            OH      45415‐3354
HENDERSON, PATRICIA        1013 GLADWIN ST                                                                                   FLINT             MI      48504‐5206
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Name                         Address1                      Address2                Address3     Address4               City              State   Zip
HENDERSON, PATRICIA A        2870 RANDOLPH ST NW                                                                       WARREN             OH     44485‐2521
HENDERSON, PATRICIA A        5489 GOODWIN ST                                                                           INDIANAPOLIS       IN     46234‐9301
HENDERSON, PATRICIA L        515 COELI DR                                                                              TOLEDO             OH     43612‐3351
HENDERSON, PATRICIA L        515 COELI                                                                                 TOLEDO             OH     43612‐3351
HENDERSON, PATRICIA S        330 WARREN AVE                                                                            NILES              OH     44446‐1657
HENDERSON, PATRICK A         19503 BISHOP RD                                                                           NEW LOTHROP        MI     48460‐9630
HENDERSON, PATRICK D         PO B0X 15                                                                                 HASLETT            MI     48840
HENDERSON, PATRICK L         8395 MAIN ST                                                                              MARTINSVILLE       IN     46151‐7694
HENDERSON, PAUL L            8143 FLORA AVE                                                                            KANSAS CITY        MO     64131‐2313
HENDERSON, PAUL M            141 MARTIN RD                                                                             ROCKMART           GA     30153‐4130
HENDERSON, PAUL R            506 E MILLER RD                                                                           LANSING            MI     48911‐5703
HENDERSON, PAUL ROBERTO      506 E MILLER RD                                                                           LANSING            MI     48911‐5703
HENDERSON, PAUL T            3329 BALDWIN WOODS DR                                                                     LAKE ORION         MI     48359‐2360
HENDERSON, PAULA M           6749 SHELBYVILLE RD                                                                       INDIANAPOLIS       IN     46237
HENDERSON, PAULETTE K        14255 WESTGATE DR                                                                         REDFORD            MI     48239‐2856
HENDERSON, PAULINE C         APT G2                        790 STATE STREET                                            COOKEVILLE         TN     38501‐3709
HENDERSON, PAULINE C         790 STATE ST APT G2                                                                       COOKEVILLE         TN     38501‐3709
HENDERSON, PAULINE M         556 THE POND WAY                                                                          CHURCH HILL        MD     21623
HENDERSON, PEGGY M           407 N KENSINGTON DR                                                                       DIMONDALE          MI     48821‐8772
HENDERSON, PEGGY M           407 KENSINGTON DR                                                                         DIMONDALE          MI     48821‐8772
HENDERSON, PETER M           3265 BEACH VIEW WAY                                                                       MELBOURNE BEACH    FL     32951‐3016

HENDERSON, PHILLIP C         13317 E 40TH TER S                                                                        INDEPENDENCE      MO      64055‐4323
HENDERSON, RALPH D           8002 HIGHWAY 3                                                                            PLAIN DEALING     LA      71064‐4400
HENDERSON, RALPH D           7805 HIGHWAY 3                                                                            BENTON            LA      71006
HENDERSON, RANDOLPH N        801 BASALT DR                                                                             VALLEJO           CA      94589‐3832
HENDERSON, RANDOLPHUS        2232 TRAFALGAR AVE                                                                        RIVERSIDE         CA      92506‐4624
HENDERSON, RASCHAU           1806 PARKWIN AVE                                                                          ANNISTON          AL      36201‐3465
HENDERSON, REBECCA E         9248 MORRISH RD                                                                           MONTROSE          MI      48457
HENDERSON, REGINA            1031 NELA VIEW RD                                                                         CLEVELAND HTS     OH      44112‐2358
HENDERSON, REGINALD J        1940 ELIZABETH AVE                                                                        RAHWAY            NJ      07065‐4504
HENDERSON, RENA              451 BRYANT DR                                                                             PITTSBURGH        PA      15235‐4633
HENDERSON, REX               6275 SOUTH 50 WEST                                                                        PENDLETON         IN      46064‐9592
HENDERSON, RICHARD A         PO BOX 14                                                                                 WALTON            KY      41094‐0014
HENDERSON, RICHARD A         525 TULANE ST                                                                             SAGINAW           MI      48604‐2248
HENDERSON, RICHARD C         6226 VANCE AVE                                                                            FORT WAYNE        IN      46815‐6262
HENDERSON, RICHARD C         2399 VIRGINIA DRIVE                                                                       TROY              MI      48083‐2548
HENDERSON, RICHARD R         3248 2 MILE RD                                                                            BAY CITY          MI      48706‐1536
HENDERSON, RICHARD S         361 REDONDO RD                                                                            YOUNGSTOWN        OH      44504‐1450
HENDERSON, RICHARD W         4591 SWAFFER RD                                                                           MILLINGTON        MI      48746‐9406
HENDERSON, RICHARD W         804 EQUESTRIAN DR                                                                         ROCKWALL          TX      75032‐7220
HENDERSON, RICHARD WILLIAM   804 EQUESTRIAN DR                                                                         ROCKWALL          TX      75032‐7220
HENDERSON, RICHIE D          19772 FAIRPORT ST                                                                         DETROIT           MI      48205‐1724
HENDERSON, RICHIE D          20457 BALFOUR ST APT 1                                                                    HARPER WOODS      MI      48225‐1552
HENDERSON, RICKY             5309 EDWARDS AVENUE                                                                       FLINT             MI      48505‐5128
HENDERSON, ROBERT            16863 ASHTON AVE                                                                          DETROIT           MI      48219‐4101
HENDERSON, ROBERT            18120 W. SOUTH RANGE RD.                                                                  BELOIT            OH      44609
HENDERSON, ROBERT E          225 PEBBLE CREEK RD                                                                       COLUMBIA          SC      29223‐3114
HENDERSON, ROBERT G          12091 N LEWIS RD A                                                                        CLIO              MI      48420
HENDERSON, ROBERT G          6799 S NC HIGHWAY 18                                                                      BOOMER            NC      28606‐9208
HENDERSON, ROBERT H          76298 S MARY GRACE CT                                                                     BRUCE TWP         MI      48065‐2636
HENDERSON, ROBERT J          2538 ONTARIO ST                                                                           ALPENA            MI      49707‐3248
HENDERSON, ROBERT J          TRACY FIRM                    5473 BLAIR RD STE 200                                       DALLAS            TX      75231‐4168
HENDERSON, ROBERT J          224 SHOREWOOD CT                                                                          MCDONOUGH         GA      30252‐3618
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Name                        Address1                        Address2            Address3         Address4               City            State   Zip
HENDERSON, ROBERT L         135 MARINERS DR                                                                             CROSSVILLE       TN     38558‐2719
HENDERSON, ROBERT L         16346 CARVER LAKE CT                                                                        CREST HILL        IL    60403‐1620
HENDERSON, ROBERT M         PO BOX 526                                                                                  SWARTZ CREEK     MI     48473‐0526
HENDERSON, ROBERT MARLON    PO BOX 526                                                                                  SWARTZ CREEK     MI     48473‐0526
HENDERSON, ROBERT PRESTON   3956 N MITTHOEFER RD                                                                        INDIANAPOLIS     IN     46235
HENDERSON, ROBERT R         1001 N 500 W                                                                                COLUMBUS         IN     47201‐5049
HENDERSON, ROBERT W         6731 BONNIE AVE                                                                             SAINT LOUIS      MO     63123‐3256
HENDERSON, ROBYN N          3911 ALLEN RD                                                                               ORTONVILLE       MI     48462‐8451
HENDERSON, RODNEY W         263 MICHIGAN AVE                                                                            PONTIAC          MI     48342‐2745
HENDERSON, ROGER A          32120 LEONA ST                                                                              GARDEN CITY      MI     48135‐1206
HENDERSON, RONALD C         1388 VALLEJO DR                                                                             CORONA           CA     92882‐3736
HENDERSON, RONALD EUGENE    MOODY EDWARD O                  801 W 4TH ST                                                LITTLE ROCK      AR     72201‐2107
HENDERSON, RONNEY L         2104 CORINTH RD                                                                             WESTVILLE        FL     32464
HENDERSON, RONNIE           1709 SHEFFIELD DR                                                                           YPSILANTI        MI     48198‐3633
HENDERSON, ROSA L           2148 CLOVERDALE DR SE                                                                       ATLANTA          GA     30316‐2720
HENDERSON, ROSANNA          500 REVERE COURT                                                                            HOCKESSIN        DE     19707‐1101
HENDERSON, ROY A            264 DEVONSHIRE DR                                                                           LAPEER           MI     48446‐4797
HENDERSON, ROY M            3811 SHILOH RD                                                                              LAURA            OH     45337‐9798
HENDERSON, ROY R            1348 JOANNA CT                                                                              AVON             IN     46123‐8010
HENDERSON, ROY S            30 WOODLAKE DR                                                                              CHOCTAW          OK     73020‐7305
HENDERSON, ROY V            2532 CEDAR PARK DR                                                                          OKLAHOMA CITY    OK     73120‐1711
HENDERSON, RUBEN            PO BOX 14640                                                                                SAGINAW          MI     48601‐0640
HENDERSON, RUBY L           279 E GLENARM ST APT 2                                                                      PASADENA         CA     91106‐4275
HENDERSON, RUBY LEE         279 E GLENARM ST APT 2                                                                      PASADENA         CA     91106‐4275
HENDERSON, RUTH             4294 MONROE ST                  APT 4                                                       TOLEDO           OH     43606
HENDERSON, RUTH             4294 MONROE ST APT 4                                                                        TOLEDO           OH     43606‐1954
HENDERSON, SAMUEL H         775 CHESTNUT DR                                                                             JACKSON          GA     30233‐1602
HENDERSON, SANDRA J         1455 OKLAHOMA ST                                                                            WATERFORD        MI     48327‐3344
HENDERSON, SANDRA R         MOODY EDWARD O                  801 W 4TH ST                                                LITTLE ROCK      AR     72201‐2107
HENDERSON, SANDY L          416 EAST JEFFERSON APT #        2                                                           KIRKSVILLE       MO     63501
HENDERSON, SANFORD L        126 VALLEY ST APT 2B                                                                        SLEEPY HOLLOW    NY     10591‐2826
HENDERSON, SARAH            280 HOWLAND AVE                                                                             ENGLEWOOD        NJ     07631‐3210
HENDERSON, SARITA M         587 EAST AMHERST                                                                            BUFFALO          NY     14215
HENDERSON, SARITA M         587 E AMHERST ST                                                                            BUFFALO          NY     14215‐1540
HENDERSON, SAYMAN E         567 COUNTY ROAD 297                                                                         BRYANT           AL     35938‐4613
HENDERSON, SCOTT L          3030 EMERALD DR                                                                             KALAMAZOO        MI     49001‐4549
HENDERSON, SCOTT L          PB BOX 655‐348 NORTH            CEDAR                                                       SCHOOLCRAFT      MI     49087
HENDERSON, SETH
HENDERSON, SHANTEZ O        PO BOX 1519                                                                                 WARREN          MI      48090‐1519
HENDERSON, SHANTEZ O.       PO BOX 1519                                                                                 WARREN          MI      48090‐1519
HENDERSON, SHARON           1032 GILMAN ST                                                                              GARDEN CITY     MI      48135‐3106
HENDERSON, SHERMAN B        2961 HIGHWAY 55 E                                                                           EVA             AL      35621‐8814
HENDERSON, SHIRLEY D        27006 NATURE VIEW ST                                                                        LEESBURG        FL      34748‐9137
HENDERSON, SHIRLEY R        93 HOSPITAL DRIVE APT. 113                                                                  BREVARD         NC      28712
HENDERSON, SIMON            15891 FERGUSON ST                                                                           DETROIT         MI      48227‐1570
HENDERSON, SIRLURA          5401 GOLDRUSH NW                                                                            ALBUQUERQUE     NM      87120
HENDERSON, SIRLURA          5401 GOLD RUSH DR NW                                                                        ALBUQUERQUE     NM      87120‐2883
HENDERSON, SONIA F          6247 W VIENNA RD                                                                            CLIO            MI      48420‐9455
HENDERSON, STEPHANIE C      12 NEW MOON TER N                                                                           SPRINGFIELD     MI      49037‐7628
HENDERSON, STEPHEN A        686 HELMS ORANGE DR                                                                         ROANOKE         IN      46783‐8878
HENDERSON, STEVE R          4320 SE SECRETARIAT CT                                                                      LEES SUMMIT     MO      64082‐4930
HENDERSON, STEVEN D         4607 ANDALUSIA TRAIL                                                                        ARLINGTON       TX      76017‐2149
HENDERSON, STEVEN DAVID     4607 ANDALUSIA TRAIL                                                                        ARLINGTON       TX      76017‐2149
HENDERSON, SUE              102 CONESTOGA RD                                                                            BALTIMORE       MD      21220‐2113
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Name                        Address1                              Address2                        Address3   Address4               City               State Zip
HENDERSON, SUSAN            26301 JEFFERSON AVE APT 9                                                                               SAINT CLAIR SHORES MI 48081‐2432

HENDERSON, SUZAN            1537 APPLE GROVE DR                                                                                     CORDOVA            TN   38016‐8764
HENDERSON, SYMELVERTT       42262 LOCKLIN DR                                                                                        STERLING HTS       MI   48314‐2822
HENDERSON, TEDDY A          7793 E 240 S                                                                                            ROCKVILLE          IN   47872‐7911
HENDERSON, TERANCE          KIMMEL & SILVERMAN PC                 1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL        NJ   08003
HENDERSON, TERRENCE         438 BIRCHWOOD DR                                                                                        MONROE             LA   71203‐2241
HENDERSON, TERRENCE D       438 BIRCHWOOD DR                                                                                        MONROE             LA   71203‐2241
HENDERSON, TERRY            PO BOX 116                                                                                              WOODLAND           MI   48897‐0116
HENDERSON, TERRY M          2927 COLUMBUS AVE                                                                                       ANDERSON           IN   46016‐5437
HENDERSON, TERRY W          1509 HALF MOON RD                                                                                       CLINTON            AR   72031‐6491
HENDERSON, THELMA E         5642 COBBLEGATE DR                                                                                      DAYTON             OH   45449‐2838
HENDERSON, THEODORE M       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
HENDERSON, THOMAS           2948 E 150 S                                                                                            TIPTON             IN   46072‐8720
HENDERSON, THOMAS A         4417 W JOLIET ST                                                                                        BROKEN ARROW       OK   74012‐8618
HENDERSON, THOMAS A         6834 CHURCH RD                                                                                          IRA                MI   48023‐1906
HENDERSON, THOMAS E         415 CHERRY GROVE LN                                                                                     COMMERCE           MI   48390‐3981
                                                                                                                                    TOWNSHIP
HENDERSON, THOMAS J         2417 MACEDON CENTER RD                                                                                  MACEDON            NY   14502‐9145
HENDERSON, THOMAS LEE       BOONE ALEXANDRA                       205 LINDA DR                                                      DAINGERFIELD       TX   75638‐2107
HENDERSON, THOMAS MADISON   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                      PITTSBURGH         PA   15219

HENDERSON, TIM              718 DIAMOND POINTE CT                                                                                   O FALLON           MO   63366‐1896
HENDERSON, TIMOTHY J        1130 WILLIAMS                                                                                           HERCULES           CA   94547‐3732
HENDERSON, TOMMY E          4105 WOODLAND AVE                                                                                       ROYAL OAK          MI   48073‐1880
HENDERSON, TONY E           4328 LINDENWOOD DR                                                                                      SWARTZ CREEK       MI   48473‐8236
HENDERSON, TONY EDWARD      4328 LINDENWOOD DR                                                                                      SWARTZ CREEK       MI   48473‐8236
HENDERSON, TONY L           3114 KEEMONT DR                                                                                         TOLEDO             OH   43613‐1071
HENDERSON, TONY LEE         3114 KEEMONT DR                                                                                         TOLEDO             OH   43613‐1071
HENDERSON, TOSIA SHIRLEY    4124 W. 13 MILE RD                                                                                      ROYAL OAK          MI   48073
HENDERSON, TYWANDA D        3705 COLOMBO CT                                                                                         DAYTON             OH   45416‐2101
HENDERSON, VALERIE J        109 W HARVEST DR                                                                                        NEW CASTLE         DE   19720‐5607
HENDERSON, VAN R            956 QUILLIAMS RD                                                                                        CLEVELAND HTS      OH   44121‐1947
HENDERSON, VERNELL C        42262 LOCKLIN DR                                                                                        STERLING HEIGHTS   MI   48314‐2822
HENDERSON, VERNON E         PO BOX 343                                                                                              CRESTLINE          OH   44827‐0343
HENDERSON, VERNON R         360 COUNTY ROAD 1483                                                                                    CULLMAN            AL   35058‐2001
HENDERSON, VERONICA A       76298 S MARY GRACE CT                                                                                   BRUCE TWP          MI   48065‐2636
HENDERSON, VERONICA L       PO BOX 266                                                                                              BOLTON             MS   39041‐0266
HENDERSON, VERONICA M       810 JOHNSTON ST                                                                                         SAULT STE MARIE    MI   49783
HENDERSON, VICKY S          131 GROSS LN                                                                                            LA FOLLETTE        TN   37766‐4065
HENDERSON, VICKY S          3138 MONA LN                                                                                            TOLEDO             OH   43613‐1045
HENDERSON, VICTOR D         294 W IROQUOIS RD                                                                                       PONTIAC            MI   48341‐1535
HENDERSON, VICTORIA H       707 LIPSEY ST                                                                                           BROOKHAVEN         MS   39601‐2307
HENDERSON, VIRGIL M         400 FIR ST                                                                                              NEODESHA           KS   66757‐1298
HENDERSON, VIRGINA          P.O. BOX 235                                                                                            BLAIRSVILLE        GA   30514
HENDERSON, VONICILE         400 W RANKIN ST                                                                                         FLINT              MI   48505‐4124
HENDERSON, VYLA             1111 E LOVERS LANE                                                                                      ARLINGTON          TX   76010‐5805
HENDERSON, WALTER V         644 RIVERSIDE ST                                                                                        PONTIAC            MI   48342‐2551
HENDERSON, WALTER VANCE     575 MARTIN L. KING BLVD                                                                                 PONTIAC            MI   48342
HENDERSON, WARREN J         825 SPRING LAKE CIR                                                                                     ENON               OH   45323‐9751
HENDERSON, WENDEL B         116 BERRY DR                                                                                            HASLET             TX   76052‐4000
HENDERSON, WENDEL BRET      116 BERRY DR                                                                                            HASLET             TX   76052‐4000
HENDERSON, WENDELL          531 EAST WASHINGTON AVENUE                                                                              MCALESTER          OK   74501‐4761
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Name                           Address1                       Address2                        Address3   Address4               City               State   Zip
HENDERSON, WESLEY W            621 HALEY ANN DR SW                                                                              HARTSELLE           AL     35640‐3888
HENDERSON, WILL H              115 WEST FLAGSTONE DRIVE                                                                         NEWARK              DE     19702‐3649
HENDERSON, WILLIAM             WENDLER LAW PC                 900 HILLSBORO,SUITE 10                                            EDWARDSVILLE         IL    62025
HENDERSON, WILLIAM             5818 APPLEWOOD APT 907                                                                           WEST BLOOMFIELD     MI     48322‐3472

HENDERSON, WILLIAM             WENDLER LAW PC                 900 HILLSBORO AVE STE 10                                          EDWARDSVILLE       IL      62025‐1202
HENDERSON, WILLIAM A           52383 HUTCHINSON RD                                                                              THREE RIVERS       MI      49093‐8036
HENDERSON, WILLIAM A           5530 PINE VIEW DR                                                                                YPSILANTI          MI      48197‐8935
HENDERSON, WILLIAM C           5984 REDWOOD LN                                                                                  NEWFANE            NY      14108‐9540
HENDERSON, WILLIAM C           6247 W VIENNA RD                                                                                 CLIO               MI      48420‐9455
HENDERSON, WILLIAM D           3881 N 9TH ST                                                                                    ABILENE            TX      79603‐5541
HENDERSON, WILLIAM E           1004 CANDELA LN                                                                                  GRAND LEDGE        MI      48837‐2256
HENDERSON, WILLIAM H           2103 WOODFIELD DR                                                                                GREENWOOD          IN      46143
HENDERSON, WILLIAM H           135 KANE DR                                                                                      NEWARK             DE      19702‐2802
HENDERSON, WILLIAM J           1106 N CONGRESS ST                                                                               YPSILANTI          MI      48197‐4602
HENDERSON, WILLIAM J           PO BOX 525                                                                                       YORK               ME      03909‐0525
HENDERSON, WILLIAM J           191 W COOK AVE                                                                                   SMYRNA             DE      19977‐1719
HENDERSON, WILLIAM L           5441 S GENESEE RD                                                                                GRAND BLANC        MI      48439‐7640
HENDERSON, WILLIAM R           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA      23510‐2212
                                                              STREET, SUITE 600
HENDERSON, WILLIAM R           4218 ROSY BILLED CT                                                                              FORT MILL          SC      29707‐3509
HENDERSON, WILLIE              PO BOX 51315                                                                                     SAN JOSE           CA      95151‐5315
HENDERSON, WILLIE B            2349 DORSEY DR                 HARBOUR HEIGHTS                                                   PUNTA GORDA        FL      33983‐2706
HENDERSON, WILLIE G            4751 W ADAMS ST                                                                                  CHICAGO            IL      60644‐4635
HENDERSON, WILLIE L            2148 CLOVERDALE DR SE                                                                            ATLANTA            GA      30316‐2720
HENDERSON, WILSON              366 MOORE LN                                                                                     SPRINGVILLE        IN      47462‐5193
HENDERSON, YOGI A              700 W COUNTY ROAD 500 N                                                                          BRAZIL             IN      47834‐8237
HENDERSON,BRENT L              593 PRESTON DR                                                                                   WAYNESVILLE        OH      45068‐8704
HENDERSON,FREDERICK A          630 VAUGHAN RD                                                                                   BLOOMFIELD HILLS   MI      48304‐2663
HENDERSON‐ PAYNE, BOBBIE J     4014 FOREST HILL AVE                                                                             FLINT              MI      48504‐2247
HENDERSON‐JOHNSON CO INC       918 CANAL ST                                                                                     SYRACUSE           NY      13210‐1204
HENDERSON‐KELLY, BARBARA D     20470 PRAIRIE ST                                                                                 DETROIT            MI      48221‐1221
HENDERSONVILLE TAX COLLECTOR   PO BOX 1760                                                                                      HENDERSONVILLE     NC      28793‐1760
HENDERSTEIN, DAWNN A           808 CALLA LILLY LN                                                                               TRAVERSE CITY      MI      49684
HENDESS, LUCILE A              3105 ASHWOOD LN                C/O PAUL HENDESS                                                  SAFETY HARBOR      FL      34695‐5002
HENDGES, KENNETH L             1100 OLD M 37 37                                                                                 MESICK             MI      49668
HENDGES, MARGARET M            179 GLEN ESTE BLVD                                                                               HAINES CITY        FL      33844‐2805
HENDLER JR, JEROME M           426 W 3RD ST                                                                                     ROCHESTER          MI      48307‐1912
HENDLER, JOHN R                5100 BALDWIN RD                                                                                  METAMORA           MI      48455‐8992
HENDLER, THOMAS M              2925 BIRCH AVE                                                                                   NIAGARA FALLS      NY      14305
HENDLEY HAROLD (640767)        SAVILLE EVOLA & FLINT LLC      322 EAST BROADWAY P O BOX 602                                     ALTON              IL      62002
HENDLEY JR, EVERT              2367 S SAINT CLAIR RD                                                                            SAINT JOHNS        MI      48879‐9018
HENDLEY JR, ROBERT L           4471 CLEVELAND AVENUE                                                                            STEVENSVILLE       MI      49127‐9596
HENDLEY JR, SANFORD D          17158 KROPF AVE                                                                                  DAVISBURG          MI      48350‐1182
HENDLEY SR, DONALD R           1388 QUAKER RD                                                                                   BARKER             NY      14012‐9605
HENDLEY, HAROLD                SAVILLE EVOLA & FLINT LLC      PO BOX 602                                                        ALTON              IL      62002‐0602
HENDLEY, JANET C               2700 WESTMEADE RD                                                                                ALBANY             GA      31721‐1552
HENDLEY, JOHNNY L              5150 ARMSTRONG RD                                                                                DURANT             OK      74701‐2462
HENDLEY, KILIAN M              820 VENTURI CT                                                                                   MELBOURNE          FL      32940‐1797
HENDLEY, LEE M                 2936 GREENS MILL RD                                                                              SPRING HILL        TN      37174‐2111
HENDLEY, LENWOOD               4011 PALM ST                                                                                     ST LOUIS           MO      63107‐2018
HENDLEY, MICHAEL               213 N APRICOT ST                                                                                 OCILLA             GA      31774‐1451
HENDLEY, PAUL R                5136 S SENATE AVE                                                                                INDIANAPOLIS       IN      46217‐3550
HENDLEY, SANFORD D             195 RISEMAN COURT                                                                                OXFORD             MI      48371‐4188
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Name                              Address1                            Address2                        Address3                  Address4               City               State   Zip
HENDLEY, TERRY                    2936 GREENS MILL RD                                                                                                  SPRING HILL         TN     37174‐2111
HENDLEY, THOMAS L                 102523 S 3410 RD                                                                                                     MEEKER              OK     74855‐9170
HENDLEY, THOMAS M                 1883 BENT TRL                                                                                                        SNELLVILLE          GA     30078‐2401
HENDLEY, TROY D                   1652 LASEA RD                                                                                                        SPRING HILL         TN     37174‐2560
HENDLEY, TROY DEWAYNE             1652 LASEA RD                                                                                                        SPRING HILL         TN     37174‐2560
HENDLEY, WILLIAM K                1311 ORCHARD PARK DR N                                                                                               INDIANAPOLIS        IN     46280‐1508
HENDLEY, WILLIAM L                3323 E FOREST AVE                                                                                                    DETROIT             MI     48207‐1225
HENDON DAVID (445165)             KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                                    CLEVELAND           OH     44114
                                                                      BOND COURT BUILDING
HENDON GENE                       405 WESTWOOD CT                                                                                                      LA MESA            TX      79331‐4007
HENDON JR, CLAUIS A               7707 N CHILDRESS AVE                                                                                                 KANSAS CITY        MO      64152‐4825
HENDON JR, PAUL T                 2933 SW 124TH CT                                                                                                     OKLAHOMA CITY      OK      73170‐2066
HENDON PUBLISHING CO              130 WAUKEGAN ROAD                                                                                                    DEERFIELD          IL      60015
HENDON, ANTHONY L                 625 BALDWIN ST                                                                                                       ELYRIA             OH      44035‐7213
HENDON, CHARLES A                 11240 BARE DR                                                                                                        CLIO               MI      48420‐1575
HENDON, DANIEL J                  1395 CROSSWIND CT 9                                                                                                  HOLLAND            MI      49424
HENDON, DARIEL W                  508 N. LEE BOX 72                                                                                                    CORDER             MO      64021
HENDON, DAVID                     KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                                     CLEVELAND          OH      44114
                                                                      BOND COURT BUILDING
HENDON, GARY E                    1083 CLUB HOUSE DR                                                                                                   PONTIAC            MI      48340‐1485
HENDON, JAN                       4277 SEEBALDT ST                                                                                                     DETROIT            MI      48204‐3771
HENDON, JERRY W                   175 BASSETT ST                                                                                                       PONTIAC            MI      48341
HENDON, MARY A                    84 CANDLE‐LITE                                                                                                       PONTIAC            MI      48340
HENDON, MARY A                    84 CANDLELITE LN                                                                                                     PONTIAC            MI      48340‐1604
HENDON, NEVA M                    11240 BARE DR                                                                                                        CLIO               MI      48420‐1575
HENDON, REVA G                    7707 N CHILDRESS AVE                                                                                                 KANSAS CITY        MO      64152‐4825
HENDON, STEPHEN L                 415 FRANKLIN ST                                                                                                      GRAND LEDGE        MI      48837‐1901
HENDON, TEDD L                    1234 S STEWART RD                                                                                                    CHARLOTTE          MI      48813‐8347
HENDRA, JOHN B                    1653 WALNUT RIDGE CIR                                                                                                CANTON             MI      48187‐3743
HENDRA, JOHN BERTRAM              1653 WALNUT RIDGE CIR                                                                                                CANTON             MI      48187‐3743
HENDREE, ELTON                    1527 GIESEKING LN                                                                                                    SAINT LOUIS        MO      63147‐1319
HENDREE, MAXINE                   5820 WABADA AVE                                                                                                      SAINT LOUIS        MO      63112‐3812
HENDREE, MAXINE                   5820 WABA AVE                                                                                                        SAINT LOUIS        MO      63112
HENDREN & ANDRAE LLC              221 BOLIVAR ST STE 300                                                                                               JEFFERSON CITY     MO      65101‐1574
HENDREN ANDRAE, LLC               RODNEY D. GRAY                      RIVERVIEW OFFICE CENTER         221 BOLIVAR ST STE 300                           JEFFERSON CITY     MO      65101‐1574
HENDREN ANDRAE, LLC               RODNEY D. GRAY                      221 BOLIVAR ST STE 300          RIVERVIEW OFFICE CENTER                          JEFFERSON CITY     MO      65101‐1574
HENDREN CHEVROLET‐PONTIAC, INC.   KIM HENDREN                         90 HIGHWAY 00                                                                    PINEVILLE          MO      64856
HENDREN CHEVROLET‐PONTIAC, INC.   90 HIGHWAY 00                                                                                                        PINEVILLE          MO      64856
HENDREN JR, WILLIAM C             1141 COUNTY ROAD 2360                                                                                                MOBERLY            MO      65270‐4422
HENDREN, GLADYS A                 4447 LOIS LN                                                                                                         GENESEE            MI      48437‐7712
HENDREN, JAMES A                  GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                                       EDWARDSVILLE       IL      62025‐0959
                                  ANTOGNOLI
HENDREN, JAMES A                  C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                                           EDWARDSVILLE        IL     62025
                                  ROWLAND PC
HENDREN, JAMES B                  64 FREYMUTH RD                                                                                                       LAKE SAINT LOUIS   MO      63367‐1906
HENDREN, MARTHA L                 16518 E 53RD TERRACE CT S                                                                                            INDEPENDENCE       MO      64055‐6334
HENDREN, RICHARD A                3422 N HARMONY TOWN HALL RD                                                                                          JANESVILLE         WI      53546‐9312
HENDRESON RONALD EUGENE           C/O EDWARD O MOODY PA               801 WEST 4TH STREET                                                              LITTLE ROCK        AR      77201
HENDRIAN, DAVID L                 1010 NANCY ANN DR                                                                                                    HOWELL             MI      48855‐9364
HENDRIAN, HOWARD G                360 FALLING CREEK BND                                                                                                DULUTH             GA      30097‐7176
HENDRIAN, MAUDE C                 1035 WALLED LK VILLA #421                                                                                            WALLED LAKE        MI      48390‐3323
HENDRIAN, MAUDE C                 1035 WALLED LAKE VILLA DR APT 421                                                                                    WALLED LAKE        MI      48390‐3323
HENDRICH LEO                      NEED BETTER ADDRESS 10/31/06CP      1637 S MAIN ST 902                                                               WICHITA            KS      67213
HENDRICH, MARY E                  680 JONETTE AVE.                                                                                                     BRADLEY            IL      60915‐1122
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Name                            Address1                         Address2                       Address3           Address4               City           State Zip
HENDRICK ARLEN E (414924)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK         VA 23510
                                                                 STREET, SUITE 600
HENDRICK AUTOMOTIVE GROUP       DURHAM AUTOMOTIVE COMPANY        JOSEPH HENDRICK                409 S ROXBORO ST                          DURHAM         NC   27701‐3630
HENDRICK AUTOMOTIVE GROUP       6000 MONROE RD STE 100           ATTN JAMES F HUZL                                                        CHARLOTTE      NC   28212‐6178
HENDRICK AUTOMOTIVE GROUP       ATT: JOSEPH HENDRICK III         409 S ROXBORO ST                                                         DURHAM         NC   27701
HENDRICK CADILLAC‐SAAB‐HUMMER   HENDRICK, J. RICK                101 TEAM HENDRICK WAY                                                    CARY           NC   27511‐1428
HENDRICK CADILLAC‐SAAB‐HUMMER   115 TEAM HENDRICK WAY                                                                                     CARY           NC   27511‐1428
HENDRICK CADILLAC‐SAAB‐HUMMER   101 TEAM HENDRICK WAY                                                                                     CARY           NC   27511‐1428
HENDRICK CHEVROLET              100 AUTO MALL DR                                                                                          CARY           NC   27511‐6030
HENDRICK CHEVROLET CADILLAC     3112 W HIGHWAY 74                                                                                         MONROE         NC   28110‐8437
HENDRICK CHEVROLET, LLC         JOSEPH HENDRICK                  3277 SATELLITE BLVD                                                      DULUTH         GA   30096‐9094
HENDRICK CLAUDINE (354908)      ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                      NEW YORK       NY   10006‐1638
HENDRICK DURHAM AUTO MALL       409 S ROXBORO ST                                                                                          DURHAM         NC   27701‐3630
HENDRICK JR, J C                307 N 5TH ST                                                                                              SUMMITVILLE    IN   46070‐9307
HENDRICK MOTORSPORTS            RICK HENDRICK                    4400 PAPA JOE HENDRICK BLVD,                                             CHARLOTTE      NC   28262
                                                                 CHARLOTTE
HENDRICK MOTORSPORTS            4400 PAPA JOE HENDRICK BLVD                                                                               CHARLOTTE      NC   28262‐5703
HENDRICK MOTORSPORTS LTD        PO BOX 9                                                                                                  HARRISBURG     NC   28075‐0009
PARTNERSHIP
HENDRICK PONTIAC‐BUICK‐GMC      JOSEPH HENDRICK                  90 MACKENAN DR                                                           CARY           NC   27511‐7911
HENDRICK PONTIAC‐BUICK‐GMC      90 MACKENAN DR                                                                                            CARY           NC   27511‐7911
HENDRICK, ALICE D               7575 E INDIAN BEND RD APT 1037                                                                            SCOTTSDALE     AZ   85250‐4662
HENDRICK, ANDREW R              2928 FINGERS DR NE                                                                                        GRAND RAPIDS   MI   49525‐1100
HENDRICK, ARLEN E               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK        VA   23510‐2212
                                                                 STREET, SUITE 600
HENDRICK, CALVIN F              4611 PALMETH POINT DRIVE                                                                                  PALMETTO       FL   34221
HENDRICK, CAROL A               56 CLEVELAND PL                                                                                           LOCKPORT       NY   14094‐3120
HENDRICK, CAROL L               3132 WEICKS DR                                                                                            HOPKINS        MI   49328‐9782
HENDRICK, CLAUDINE              ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                      NEW YORK       NY   10006‐1638
HENDRICK, DELORES               1132 DAHLIA AVE                                                                                           WAYLAND        MI   49348‐1063
HENDRICK, DEONIDUS              21715 S PECULIAR DR                                                                                       PECULIAR       MO   64078‐8779
HENDRICK, DONALD                8517 DAYTON MOUNTAIN HWY                                                                                  DAYTON         TN   37321‐7481
HENDRICK, DONALD W              1030 ALTON AVE                                                                                            FLINT          MI   48507‐4793
HENDRICK, DOROTHY               4561 BERNICE AVE                                                                                          WARREN         MI   48091‐1102
HENDRICK, ELIZABETH G           186 S 3RD ST                                                                                              MARINE CITY    MI   48039‐1702
HENDRICK, ESTLE D               599 W 1650 N                                                                                              SUMMITVILLE    IN   46070‐9690
HENDRICK, FRANCES S             1014 W ALLEGAN ST.                                                                                        MARTIN         MI   49070
HENDRICK, GEORGE G              1930 GRATIS RD NW                                                                                         MONROE         GA   30656‐3959
HENDRICK, GERALD F              3535 7TH ST                                                                                               WAYLAND        MI   49348‐9511
HENDRICK, HAROLD E              290 E SUMMITVILLE ST             PO BOX 216                                                               SUMMITVILLE    IN   46070
HENDRICK, JACK E                3132 WEICKS DR                                                                                            HOPKINS        MI   49328‐9782
HENDRICK, JAMES T               8109 S 100 E                                                                                              PENDLETON      IN   46064‐9330
HENDRICK, JAMES W               1477 BUTTERFIELD CIR                                                                                      NILES          OH   44446‐3577
HENDRICK, JERRY
HENDRICK, JERRY E               3343 N SUTTON SQ                                                                                          STAFFORD       TX   77477‐4722
HENDRICK, JOAN H                1340 BARTLETT RD                                                                                          RICHMOND       VA   23231‐6811
HENDRICK, KAY F                 2605 E BROOKWAY DR                                                                                        MUNCIE         IN   47303‐1585
HENDRICK, KEITH D               3096 REESE HURT RD                                                                                        EDMONTON       KY   42129‐8912
HENDRICK, KELLY W               4285 BENHURST AVE                                                                                         SAN DIEGO      CA   92122‐3011
HENDRICK, LINDA J               31205 BAXTER RD                                                                                           STOVER         MO   65078
HENDRICK, LOREN J               327 S PINE ST                                                                                             SHERIDAN       MI   48884‐9807
HENDRICK, MARY F                65 N TRENTON ST                                                                                           DAYTON         OH   45417‐1724
HENDRICK, MICHAEL M             55528 BUCKHORN RD                                                                                         THREE RIVERS   MI   49093‐9691
HENDRICK, MORRIS E              2190 S OUTER DR                                                                                           SAGINAW        MI   48601‐6640
                                 09-50026-mg           Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                                    Exhibit B
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Name                             Address1                          Address2                           Address3                    Address4                    City             State   Zip
HENDRICK, NANCY S                2014 GREENBERRY RD                                                                                                           BALTIMORE         MD     21209‐4541
HENDRICK, OTIS D                 BOONE ALEXANDRA                   205 LINDA DR                                                                               DAINGERFIELD      TX     75638‐2107
HENDRICK, PHYLLIS J              4611 PALMETTO POINT DR                                                                                                       PALMETTO          FL     34221‐9725
HENDRICK, R C & SON INC          2885 SOUTH GRAHAM ROAD                                                                                                       SAGINAW           MI     48609‐9616
HENDRICK, R C & SONS INC         2885 SOUTH GRAHAM ROAD                                                                                                       SAGINAW           MI     48609‐9616
HENDRICK, RANDALL D              2607 ASHVILLE DR NE                                                                                                          GRAND RAPIDS      MI     49525‐3003
HENDRICK, ROBERT A               100 LONG LK                                                                                                                  MARSHALL          MI     49068‐9225
HENDRICK, RONALD F               3579 STANLEY RD                                                                                                              LAPEER            MI     48446‐9043
HENDRICK, RONALD L               56 CLEVELAND PL                                                                                                              LOCKPORT          NY     14094‐3120
HENDRICK, ROYCE A                PO BOX 237                                                                                                                   SARANAC           MI     48881‐0237
HENDRICK, SCOTT B                6671 15 MILE RD NE                                                                                                           CEDAR SPRINGS     MI     49319‐8422
HENDRICK, SEARI R                9085 MCCABE CT NE                                                                                                            ADA               MI     49301‐8850
HENDRICK, SUSAN M                21018 FOXWOOD GLEN LN                                                                                                        HUMBLE            TX     77338‐6736
HENDRICK, THOMAS E               3338 W 25TH ST                                                                                                               ANDERSON          IN     46011‐4508
HENDRICK, VERNIE D               7640 H. 750 W.                                                                                                               FRANKTON          IN     46044
HENDRICK, YVONNE J               22065 WOODLAKE                                                                                                               PIERSON           MI     49339‐9662
HENDRICK, YVONNE J               22065 W WOOD LAKE RD                                                                                                         PIERSON           MI     49339‐9662
HENDRICKS                        PO BOX 579                                                                                                                   NEW MIDDLETOWN    OH     44442‐0579

HENDRICKS & HENDRICKS, ES QS     73 PATERSON ST                                                                                                               NEW BRUNSWICK    NJ      08901‐2145
HENDRICKS BARBARA                5985 POLO DR                                                                                                                 CUMMING          GA      30040‐5791
HENDRICKS CIRCUIT COURT          51 W MAIN ST # 104                                                                                                           DANVILLE         IN      46122
HENDRICKS CNTY CLERK OF COURTS   ACCT OF DANIEL W HODGE            PO BOX 599                                                                                 DANVILLE         IN      46122‐0599
HENDRICKS COUNTY CLERK           ACCT OF CHARLENE GIBBS            PO BOX 599                                                                                 DANVILLE         IN      46122‐0599
HENDRICKS COUNTY CLERK           ACCT OF MARK A TOTTEN             PO BOX 599                                                                                 DANVILLE         IN      46122‐0599
HENDRICKS COUNTY TREASURER       355 S WASHINGTON ST STE 215                                                                                                  DANVILLE         IN      46122‐1798
HENDRICKS COUNTY TREASURER       PO BOX 6037                                                                                                                  INDIANAPOLIS     IN      46206‐6037
HENDRICKS CRAIG                  825 S CLINTON ST                                                                                                             DEFIANCE         OH      43512‐2771
HENDRICKS CUNNINGHAM             6212 TRUMAN DR                                                                                                               FORT WORTH       TX      76112‐7812
HENDRICKS DAVID (445166)         CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                                           CLEVELAND        OH      44115
                                 GAROFOLI                          FL
HENDRICKS DEBORAH                923 FOREST BAY CT                                                                                                            GAMBRILLS        MD      21054‐1603
HENDRICKS GRAYSON                1439 N MAPLEWOOD AVE APT 3                                                                                                   CHICAGO          IL      60622‐8907
HENDRICKS HOLDING COMPANY INC    NICOLE DRENDEL                    HENDRICKS HOLDINGS                 701 S. MAIN STREET          CHICUAHUA CI 32320 MEXICO

HENDRICKS III, JAMES H           23603 SUTTON DR                   APT 1224                                                                                   SOUTHFIELD       MI      48034
HENDRICKS III, JAMES H           23603 SUTTON DR APT 1224                                                                                                     SOUTHFIELD       MI      48033‐3351
HENDRICKS JR, GRADY H            PO BOX 1786                                                                                                                  MONROE           GA      30655‐6786
HENDRICKS JR, HAROLD L           1026 SLATER ST                                                                                                               TOLEDO           OH      43612‐2804
HENDRICKS JR, HAROLD LLOYD       1026 SLATER ST                                                                                                               TOLEDO           OH      43612‐2804
HENDRICKS JR, JERRY L            1406 N ROCHESTER AVE                                                                                                         INDIANAPOLIS     IN      46222‐2949
HENDRICKS JR, JESSE B            3032 ELIZABETH ST                                                                                                            INDIANAPOLIS     IN      46234‐1615
HENDRICKS JR, LOUIE W            304 S WINTERBROOKE DR                                                                                                        OLATHE           KS      66062‐1807
HENDRICKS JR, MORTON G           2509 SAINT PAUL RD                                                                                                           WYLIE            TX      75098‐8049
HENDRICKS JR, RANDALL E          519 VITERRA CT                                                                                                               KISSIMMEE        FL      34759‐3617
HENDRICKS LARRY (459123)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                                NORFOLK          VA      23510
                                                                   STREET, SUITE 600
HENDRICKS LORNA                  HENDRICKS, LORNA                  3 SUMMIT PARK DR STE 100                                                                   INDEPENDENCE     OH      44131‐2598
HENDRICKS POWER                  CHRIS GEARLD                      86 N COUNTY RD 500                                                                         DANVILLE         IN
HENDRICKS RN, NANCY              PO BOX 610                                                                                                                   DANDRIDGE        TN      37725‐0610
HENDRICKS ROBERT J (407251)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                                NORFOLK          VA      23510
                                                                   STREET, SUITE 600
HENDRICKS SUPERIOR COURT II      ACCT OF ALFONSO G LUNA            PO BOX 599                         CAUSE #32D02‐9102‐DR‐0003                               DANVILLE          IN     46122‐0599
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Name                            Address1                          Address2                          Address3   Address4               City                State   Zip
HENDRICKS SUPERIOR COURT NO 2   ACCT OF ALFONSO G LUNA            PO BOX 599                                                          DANVILLE             IN     46122‐0599
HENDRICKS, A C                  PO BOX 1181                                                                                           DOLTON                IL    60419‐7181
HENDRICKS, ALBERT L             8646 MEADOWVISTA DR                                                                                   INDIANAPOLIS         IN     46217‐5043
HENDRICKS, ALFREDA              159‐20 HARLEM RIVER DRIVE #12G                                                                        NEW YORK             NY     10039‐1214
HENDRICKS, AMANDA JO            7202 ROYAL TROON CT                                                                                   FORT WAYNE           IN     46814‐7483
HENDRICKS, AMBER A              30864 ORANGELAWN ST                                                                                   LIVONIA              MI     48150‐2927
HENDRICKS, ANH T                5013 NORMAN WAY                                                                                       SPRINGHILL           TN     37174‐7174
HENDRICKS, ANH T                3254 PATRICK CT                                                                                       FRANKLIN             OH     45005‐9468
HENDRICKS, ANNETTE              200 FAREWAY LN                                                                                        GRAND ISLAND         NY     14072‐2529
HENDRICKS, ARBIE K              28116 CREOLA CEMETERY RD                                                                              CREOLA               OH     45622‐8909
HENDRICKS, ARCHIE L             5013 NORMAN WAY                                                                                       SPRINGHILL           TN     37174‐7174
HENDRICKS, ARCHIE LEE           5013 NORMAN WAY                                                                                       SPRING HILL          TN     37174
HENDRICKS, ARTANDRA             APT 101                           2414 COOLIDGE HIGHWAY                                               TROY                 MI     48084‐3640
HENDRICKS, ASHLEY E             3616 FAIRFIELD DR                                                                                     TEXARKANA            AR     71854‐2430
HENDRICKS, BARBARA A            5985 POLO DR                                                                                          CUMMING              GA     30040‐5791
HENDRICKS, BETTY J              236 E 78TH ST                                                                                         SHREVEPORT           LA     71106‐5602
HENDRICKS, BETTY JEAN           4918 GREENLAWN DR                                                                                     FLINT                MI     48504‐2048
HENDRICKS, BILL G               3299 FRANCES SLOCUM TRL                                                                               MARION               IN     46952‐9794
HENDRICKS, BILLIE M             6119 W. 210 NORTH                                                                                     ANDERSON             IN     46011‐9139
HENDRICKS, BILLIE M             6119 W 210 N                                                                                          ANDERSON             IN     46011‐9139
HENDRICKS, BOBBY G              BOX 12569 W. WINDSOR RD                                                                               PARKER CITY          IN     47368
HENDRICKS, BOBBY GENE           BOX 12569 W. WINDSOR RD                                                                               PARKER CITY          IN     47368
HENDRICKS, BRENDA               13925 GLASTONBURY AVE                                                                                 DETROIT              MI     48223
HENDRICKS, BRIAN S              65 LAWNWOOD DR                                                                                        AMHERST              NY     14228‐1604
HENDRICKS, BRIAN SCOTT          65 LAWNWOOD DR                                                                                        AMHERST              NY     14228‐1604
HENDRICKS, CARL L               PO BOX 904                                                                                            LIMA                 OH     45802
HENDRICKS, CARRIE L             17 KING GEORGE III DR                                                                                 FLINT                MI     48507
HENDRICKS, CHARLES A            506 NESBITT PARK AVE                                                                                  DAVENPORT            FL     33897‐9245
HENDRICKS, CHARLES M            9107 RUSTLERS CREEK DR                                                                                SAN ANTONIO          TX     78230‐4057
HENDRICKS, CHE‐CHE
HENDRICKS, CHERYL
HENDRICKS, CHRIS G              8760 SURREY DR                                                                                        PENDLETON            IN     46064‐9049
HENDRICKS, CHRIS GENE           8760 SURREY DR                                                                                        PENDLETON            IN     46064‐9049
HENDRICKS, CHRISTOPHER L        2570 RIVER RD                                                                                         MARYSVILLE           MI     48040‐2441
HENDRICKS, CLIFFORD E           924 W MAIN ST                                                                                         CHESTERFIELD         IN     46017‐1013
HENDRICKS, DALE
HENDRICKS, DAN                  810 HIGHLAND AVE                                                                                      SALEM               OH      44460‐1810
HENDRICKS, DANIEL J             N6331 RAVEN RD                                                                                        FALL RIVER          WI      53932‐9605
HENDRICKS, DARL L               5432 GOLDENROD CIR                                                                                    SHEFFIELD VILLAGE   OH      44035‐1478

HENDRICKS, DARREL G             1060 SPRUCE DR                                                                                        SPRING CITY         TN      37381‐4769
HENDRICKS, DAVID                CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                     CLEVELAND           OH      44115
                                GAROFOLI                          FL
HENDRICKS, DAVID L              11742 COWFORD RD                                                                                      ATHENS              AL      35611‐6868
HENDRICKS, DELORIES J           PO BOX 47272                                                                                          ATLANTA             GA      30362‐0272
HENDRICKS, DENNY E              7401 DIAL DR                                                                                          HUBER HEIGHTS       OH      45424‐2512
HENDRICKS, DON E                PO BOX 14182                                                                                          MONROE              LA      71207‐4182
HENDRICKS, DON E                1116 ALABAMA ST                                                                                       MONROE              LA      71202‐4208
HENDRICKS, DONNA J              2660 N BASS LAKE RD                                                                                   PIERSON             MI      49339‐9413
HENDRICKS, DORIS E              4293 ALVIN ST                                                                                         SAGINAW             MI      48603‐3009
HENDRICKS, DOUGLAS W            3020 GREEN ACRES RD                                                                                   SAINT AUGUSTINE     FL      32084‐0848
HENDRICKS, EARL W               1661 S TALBOTT ST                                                                                     INDIANAPOLIS        IN      46225‐1701
HENDRICKS, ELIZABETH            14416 PLAINVIEW AVE                                                                                   DETROIT             MI      48223‐2868
HENDRICKS, ELLEN M              876 W SHORE RD                                                                                        BRONSON             MI      49028‐8315
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Name                      Address1                            Address2                      Address3   Address4               City               State Zip
HENDRICKS, ERICA P
HENDRICKS, ERNA M         483 STREHLMAN FORD RD                                                                               LESLIE             MO    63056‐1450
HENDRICKS, F R            3441 OREGON TRL                                                                                     DECATUR            GA    30032‐6026
HENDRICKS, FRANCIEENE     13709 INOMA ST APT 203                                                                              TAMPA              FL    33613‐4476
HENDRICKS, FREDDA J       PO BOX 3490                                                                                         DECATUR            GA    30031‐3490
HENDRICKS, GARY E         C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                          EDWARDSVILLE       IL    62025
                          ROWLAND PC
HENDRICKS, GEORGIENA A    3851 CHESTERFIELD RD                                                                                ORION              MI    48359‐1528
HENDRICKS, GLYNN          611 MAPLE ST                                                                                        MONROE             GA    30656‐1517
HENDRICKS, GRAYSON        C/O CHALMERS & NAGEL PC             100 W. KINZIE SUITE 250                                         CHICAGO            IL    60654
HENDRICKS, GWENDOLYN G    2501 FRIENDSHIP BLVD APT 31                                                                         KOKOMO             IN    46901‐7743
HENDRICKS, HELEN I        8901 MERIDIAN RD                                                                                    BANNISTER          MI    48807‐9317
HENDRICKS, HENRY JOHN     401 FINVOLD ST                                                                                      WOODVILLE          WI    54028
HENDRICKS, IRENE          4732 LYELL RD                                                                                       SPENCERPORT        NY    14559‐2012
HENDRICKS, JACK M         2660 N BASS LAKE RD                                                                                 PIERSON            MI    49339‐9413
HENDRICKS, JACQUELINE E   PO BOX 9022                         C/O SAN LUIS POTOSI                                             WARREN             MI    48090‐9022
HENDRICKS, JAMES C        4296 STAUNTON DR                                                                                    SWARTZ CREEK       MI    48473‐8215
HENDRICKS, JAMES E        5888 PAR VIEW DR                                                                                    YPSILANTI          MI    48197‐8974
HENDRICKS, JAMES E        515 BIG ELK CHAPEL RD                                                                               ELKTON             MD    21921‐2502
HENDRICKS, JAMES L        600 FORESTER CT                                                                                     W CARROLLTON       OH    45449‐2216
HENDRICKS, JAMES P        247 ANDREWS ST APT 2                                                                                MASSENA            NY    13662‐1655
HENDRICKS, JERAMIE S      1171 BAILEY AVE                                                                                     VANDALIA           OH    45377‐1604
HENDRICKS, JOE P          500 ASHFORD CIR                                                                                     LAGRANGE           GA    30240‐8896
HENDRICKS, JOHN A         511 E NORTH ST                                                                                      HARTFORD CITY      IN    47348‐1804
HENDRICKS, JOHN D         11650 RED ROCK RD                                                                                   GLOUSTER           OH    45732‐9025
HENDRICKS, JOHN H         4732 LYELL ROAD                                                                                     SPENCERPORT        NY    14559‐2012
HENDRICKS, JOHN M         2727 US HIGHWAY 441 SE LOT 61                                                                       OKEECHOBEE         FL    34974‐7352
HENDRICKS, JOHN W         616 FM 1187 W                                                                                       CROWLEY            TX    76036‐3402
HENDRICKS, JOHN W         1151 S 61ST ST W                                                                                    MUSKOGEE           OK    74401‐4518
HENDRICKS, JUSTIN         490 MOONLITE DR                                                                                     IDAHO FALLS        ID    83402‐2338
HENDRICKS, KARIN D        5450 W OUTER DR                                                                                     DETROIT            MI    48235‐1485
HENDRICKS, KATHLEEN M     6629 HEATHER DR                                                                                     LOCKPORT           NY    14094‐1111
HENDRICKS, L. D.          2409 DRESDEN AVE                                                                                    ROCKFORD           IL    61103‐3630
HENDRICKS, LARRY          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA    23510‐2212
                                                              STREET, SUITE 600
HENDRICKS, LARRY A        205 SOUTHSIDE AVENUE                                                                                CAMPBELLSVLLE       KY   42718‐2447
HENDRICKS, LARRY C        24486 LORETTA AVE                                                                                   WARREN              MI   48091‐4468
HENDRICKS, LAWRENCE J     1116 FOUNTAINVIEW S                                                                                 LAKELAND            FL   33809‐3434
HENDRICKS, LEANNE K       G4101 E CARPENTER RD                                                                                FLINT               MI   48506
HENDRICKS, LESTER R       7129 SWITCHBOARD RD                                                                                 SPENCER             IN   47460‐5960
HENDRICKS, LINDA
HENDRICKS, LISA L         6974 OTTAWA RD                                                                                      IRA                MI    48023‐2006
HENDRICKS, LIZZIE M       3379 FLAT SHOADS RD                 APT F‐1                                                         DECATUR            GA    30034
HENDRICKS, LIZZIE M       3379 FLAT SHOALS RD APT F1                                                                          DECATUR            GA    30034‐1323
HENDRICKS, LORENA F       130 HOLIDAY DR                                                                                      GREENTOWN          IN    46936‐1628
HENDRICKS, LOUELLA M      1930 INDIAN CREEK DR                                                                                NORTH FORT MYERS   FL    33917‐3150

HENDRICKS, LYNORIS        5888 PAR VIEW DR                                                                                    YPSILANTI           MI   48197‐8974
HENDRICKS, MARJORIE       1350 HOLIDAY LN W                                                                                   BROWNSBURG          IN   46112‐2011
HENDRICKS, MARJORIE E     916 W LINCOLN RD                                                                                    KOKOMO              IN   46902‐3458
HENDRICKS, MARLIN L       3851 CHESTERFIELD RD                                                                                ORION               MI   48359‐1528
HENDRICKS, MARY E         2666 MAIN ST                                                                                        NEWFANE             NY   14108‐1031
HENDRICKS, MARY J         4953 N GRANDVIEW DR                                                                                 MILTON              WI   53563‐8854
HENDRICKS, MELANIE L      12569 W WINDSOR RD                                                                                  PARKER CITY         IN   47368‐9336
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Name                        Address1                        Address2                      Address3   Address4               City               State   Zip
HENDRICKS, MELLIE J         1456 N MALLARD CIRCLE                                                                           OWOSSO              MI     48867‐1271
HENDRICKS, MELLIE J         1456 MALLARD CIR                                                                                OWOSSO              MI     48867‐1986
HENDRICKS, MELVIN A         1124 W MICHIGAN AVE 25                                                                          YPSILANTI           MI     48197
HENDRICKS, MICHAEL E        38824 POLO CLUB DR APT 201                                                                      FARMINGTON HILLS    MI     48335

HENDRICKS, MICHELLE A       1469 WOODSCLIFF DRIVE                                                                           ANDERSON           IN      46012‐9726
HENDRICKS, MORRIS E         A 635 RD 15                                                                                     NEW BAVARIA        OH      43548
HENDRICKS, MYRTLE L         5520 OKEMOS RD                                                                                  EAST LANSING       MI      48823‐7772
HENDRICKS, NANCY            618 52ND AVE W                                                                                  BRADENTON          FL      34207‐2919
HENDRICKS, NATHANEAL G      8760 SURREY DR                                                                                  PENDLETON          IN      46064‐9049
HENDRICKS, NELLIE C         3272 HAMPTON RIDGE DR NE                                                                        MARIETTA           GA      30066‐1625
HENDRICKS, NINA L           P.O. BOX 219                                                                                    ARNETT             WV      25007‐0219
HENDRICKS, NINA L           PO BOX 219                                                                                      ARNETT             WV      25007‐0219
HENDRICKS, PATRICIA A       1118‐1116 ALABAMA ST.                                                                           MONROE             LA      71202
HENDRICKS, PATRICIA A       1001 E STEWART ST                                                                               DAYTON             OH      45410‐2126
HENDRICKS, PATRICIA E       80 RICHMOND LN                                                                                  AVON               NY      14414‐1232
HENDRICKS, PAUL D           117 GROVE ST                                                                                    BRANDON            FL      33510‐3256
HENDRICKS, PEARL A          3318 TULIP DR                                                                                   BRIDGEPORT         MI      48722
HENDRICKS, RANDEL L         21483 BETHEL RD                                                                                 TECUMSEH           OK      74873‐5253
HENDRICKS, RAYMOND E        8137 S RAILROAD ST NW                                                                           WASHINGTON         OH      43160‐9075
                                                                                                                            COURT HOUSE
HENDRICKS, RICHARD S        5505 ROYSTON HWY                                                                                CANON              GA      30520‐4638
HENDRICKS, ROBERT           6240 MIDDLEBELT RD                                                                              W BLOOMFIELD       MI      48322‐2464
HENDRICKS, ROBERT A         18 D ST                                                                                         NIAGARA FALLS      NY      14303‐2015
HENDRICKS, ROBERT ALAN      18 D ST                                                                                         NIAGARA FALLS      NY      14303‐2015
HENDRICKS, ROBERT C         PO BOX 3261                                                                                     LEXINGTON          OH      44904‐0261
HENDRICKS, ROBERT D         PO BOX 505                                                                                      DUGGER             IN      47848‐0505
HENDRICKS, ROBERT E         11517 US 35 S                                                                                   MUNCIE             IN      47302
HENDRICKS, ROBERT F         80 RICHLAND LANE                                                                                AVON               NY      14414
HENDRICKS, ROBERT J         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510‐2212
                                                            STREET, SUITE 600
HENDRICKS, ROBERT L         3126 HOOD ST                                                                                    OAKLAND            CA      94605‐5316
HENDRICKS, SANDRA K         1941 MORTON ST                                                                                  ANDERSON           IN      46016‐4154
HENDRICKS, SETTIE S         4527 E STATE ROAD 236                                                                           MIDDLETOWN         IN      47356‐9207
HENDRICKS, STEPHEN D        295 E MEADE ST                                                                                  PEARL              MS      39208‐3843
HENDRICKS, STEVEN C         PO BOX 215                                                                                      RANSOMVILLE        NY      14131‐0215
HENDRICKS, STEVEN J         1802 N HAWTHORNE RD                                                                             MARION             IN      46952
HENDRICKS, STEVEN W         1930 INDIAN CREEK DR                                                                            N FT MYERS         FL      33917‐3150
HENDRICKS, TERRENCE         215 S 9TH AVE APT 1F                                                                            MOUNT VERNON       NY      10550‐3726
HENDRICKS, THOMAS A         3300 N DIAMOND MILL RD                                                                          DAYTON             OH      45426‐4214
HENDRICKS, THOMAS B         13067 GOLFSIDE CT                                                                               CLIO               MI      48420‐8281
HENDRICKS, THOMAS E         14248 VASSAR RD                                                                                 MILLINGTON         MI      48746‐9242
HENDRICKS, THOMAS EDWARD    14248 VASSAR RD                                                                                 MILLINGTON         MI      48746‐9242
HENDRICKS, THOMAS L         602 E WALNUT ST                                                                                 GREENTOWN          IN      46936‐1530
HENDRICKS, TRACY L          11517 US 35 S                                                                                   MUNCIE             IN      47302
HENDRICKS, VERLEY B         6670 ROYAL PALM BEACH BLVD                                                                      WEST PALM BEACH    FL      33412‐1812

HENDRICKS, VIRGIA M         4505 CARLTON DR                                                                                 GARLAND            TX      75043‐7298
HENDRICKS, VIRGINIA S       56 SAINT LAWRENCE DR                                                                            AUBURN HILLS       MI      48326‐1437
HENDRICKS, WALTER D         756 ARENEL DR                                                                                   W CARROLLTON       OH      45449‐1508
HENDRICKS, WANDA L          3024 COVERT RD                                                                                  FLINT              MI      48506‐2032
HENDRICKS, WILLIAM S        275 N 7TH ST APT 7                                                                              MIDDLETOWN         IN      47356‐1329
HENDRICKS, WINSTON F        56 SAINT LAWRENCE DR                                                                            AUBURN HILLS       MI      48326‐1437
HENDRICKS‐GRAY, CYNTHIA L   524 BECKMAN STREET              APT. A                                                          DAYTON             OH      45410‐5410
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Name                                  Address1                         Address2                      Address3                 Address4                    City              State   Zip
HENDRICKS‐GRAY, CYNTHIA L             524 BECKMAN STREET                                                                                                  DAYTON             OH     45410
HENDRICKSEN, HERBERT                  305 TERRACE ST                                                                                                      RAHWAY             NJ     07065‐2414
HENDRICKSEN, JOAN F                   1019 CLARK ST                                                                                                       LINDEN             NJ     07036‐2704
HENDRICKSEN, MARGARET Y               BRIGHTON GARDENS                 261 AMETHYST WAY                                                                   FRANKLIN PARK      NJ     08823‐1629
HENDRICKSEN, MURIEL E                 3424 TUPELO DRIVE                                                                                                   WALNUT CREEK       CA     94598‐2739
HENDRICKSON AUTOMOTIVE                239 E SAN BERNARDINO RD STE C                                                                                       COVINA             CA     91723‐1647
HENDRICKSON GOWER MASSING OLIVIERI    ATTN: MARK OLIVIERI              #2250 SCOTIA 1 10060 JASPER                            EDMONTON, ALBERTA T5J 3R8
LLP                                                                    AVENUE
HENDRICKSON INTERNATIONAL             BRYAN ROMER                      HENDRICKSON SPRING            2441 W. 48TH STREET                                  LANSING           MI
HENDRICKSON JR, ALLEN S               2838 JAYCOX RD                                                                                                      AVON              OH      44011‐1928
HENDRICKSON JR, EDWIN E               11129 ALEXANDRIA LN                                                                                                 DAVISON           MI      48423‐9017
HENDRICKSON MARILYN                   1587 HIGHWAY 32                                                                                                     BOLIVAR           MO      65613‐7315
HENDRICKSON SHIRLEY                   HENDRICKSON, SHIRLEY             330 CLEMATIS ST STE 218                                                            WEST PALM BEACH   FL      33401‐4602

HENDRICKSON SPRING MEXICO SA DE CV    RURAL ROUTE 2 BOX 169 THOMPSON   ROAD                                                                               EAGLE PASS         TX     78852

HENDRICKSON SPRING MX S DE RL DE CV   AVE RASSINI #801                                                                        PIEDRAS NEGRAS , CZ 26030
                                                                                                                              MEXICO
HENDRICKSON SPRING MX SA DE CV        BRYAN ROMER                      AVE RASSINI #803                                                                   GRAND RAPIDS       MI     49512
HENDRICKSON SR, JACK R                104 COURTYARD W                                                                                                     NEWPORT            NC     28570‐9540
HENDRICKSON STAMPING                  BOLER INVESTMENTS INC            P O BOX 99122                                                                      CHICAGO            IL     60693‐0001
HENDRICKSON SUSPENSION                BRYAN ROMER                      DIV. OF HENDRICKSON INT.      101 S. PROGRESS DR. W.                               GRAND BLANC        MI     48439
HENDRICKSON TRUCK SUSPENSION          PO BOX 98275                                                                                                        CHICAGO            IL     60693‐0001
HENDRICKSON WILLIAM E (ESTATE OF)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                        NORFOLK            VA     23510
(481787)                                                               STREET, SUITE 600
HENDRICKSON, ALBERTA T                1840 ROBIN WAY                                                                                                      BETHLEHEM         PA      18018‐1461
HENDRICKSON, ALLEN K                  1768 CYPRESS AVE                                                                                                    ARKDALE           WI      54613‐9509
HENDRICKSON, ANN                      21 CUTLER ST                                                                                                        NEW LONDON        CT      06320‐2708
HENDRICKSON, ANTHONY A                2102 E PAULDING RD                                                                                                  FORT WAYNE        IN      46816‐1309
HENDRICKSON, ANTHONY A                2936 MCCORMICK AVE                                                                                                  FORT WAYNE        IN      46803‐3733
HENDRICKSON, ASHLEY                   ABOOD RUSSELL PAPPAS & ROZICH    709 FRANKLIN ST STE 200                                                            JOHNSTOWN         PA      15901‐2853
HENDRICKSON, BERNADETTE               21 RUNYON CIR                                                                                                       TRENTON           NJ      08610‐4131
HENDRICKSON, BETTY M                  412 VANCE LN                                                                                                        DANVILLE          IL      61832‐2841
HENDRICKSON, BETTY M                  412 VANCE LANE                                                                                                      DANVILLE          IL      61832‐2841
HENDRICKSON, BRANDON ROBERT           PO BOX 295                                                                                                          TECUMSEH          MI      49286‐0295
HENDRICKSON, BRENT                    18016 CASCADE DR                                                                                                    NORTHVILLE        MI      48168‐3285
HENDRICKSON, BRONELL                  312 LONGMAN RD                                                                                                      EATON             OH      45320‐9357
HENDRICKSON, CATHERINE R              1315 N DELPHOS ST                                                                                                   KOKOMO            IN      46901‐2537
HENDRICKSON, CHARLIE                  11246 E TERRY ST                                                                                                    BONITA SPRINGS    FL      34135‐5823
HENDRICKSON, CHARLOTTE M              PO BOX 403                                                                                                          PEMBROKE          VA      24136‐0403
HENDRICKSON, CLARA A                  2122 DENHAM AVE                                                                                                     COLUMBIA          TN      38401‐4425
HENDRICKSON, CLARENCE W               36825 NIGHTWIND CT                                                                                                  GRAND ISLAND      FL      32735‐8917
HENDRICKSON, CORY J                   11235 OAK RD                                                                                                        OTISVILLE         MI      48463‐9724
HENDRICKSON, CORY JOHN                11235 OAK RD                                                                                                        OTISVILLE         MI      48463‐9724
HENDRICKSON, CRAIG W                  2508 EDGEWATER DR                                                                                                   CORTLAND          OH      44410‐8602
HENDRICKSON, DAEN C                   4624 E SUPERSTITION BLVD                                                                                            APACHE JCT        AZ      85219‐9669
HENDRICKSON, DALE E                   110 GLEN FOREST DR                                                                                                  TROY              MO      63379‐3471
HENDRICKSON, DAVID C                  3812 SEDGEFIELD DR                                                                                                  VALDOSTA          GA      31605
HENDRICKSON, DAVID L                  2512 MAHAN DENMAN RD NW                                                                                             BRISTOLVILLE      OH      44402‐9741
HENDRICKSON, DOLLY D                  62 N MAIN ST                     APT 1                                                                              PERRY             NY      14530
HENDRICKSON, DOLLY D                  62 MAIN ST N APT 1                                                                                                  PERRY             NY      14530‐1249
HENDRICKSON, DONN E                   PO BOX 492                                                                                                          AU GRES           MI      48703
HENDRICKSON, DONNA M                  15 ETON CT                                                                                                          ANNANDALE         NJ      08801‐3335
HENDRICKSON, DOROTHY A                645 EATON AVENUE                                                                                                    HAMILTON          OH      45013‐2766
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HENDRICKSON, DOROTHY A     645 EATON AVE                                                                               HAMILTON           OH     45013‐2766
HENDRICKSON, DOYLE G       2340 N MCKINLEY RD                                                                          FLUSHING           MI     48433‐9420
HENDRICKSON, DOYLE GLENN   2340 N MCKINLEY RD                                                                          FLUSHING           MI     48433‐9420
HENDRICKSON, EDWARD R      6006 GREENLEAF CIR                                                                          WINTER HAVEN       FL     33884‐2914
HENDRICKSON, EDWIN R       N4643 OAK RD                                                                                PRINCETON          WI     54968‐8513
HENDRICKSON, ELDEN B       39082 GRENNADA ST                                                                           LIVONIA            MI     48154‐4798
HENDRICKSON, FRANKIE J     705 WILLIAMSBURG DR                                                                         KOKOMO             IN     46902‐4961
HENDRICKSON, FREDRICK C    2399 HISKEY ST                                                                              POCATELLO          ID     83201‐1846
HENDRICKSON, GARRY R       14011 BROOKFIELD ST                                                                         LIVONIA            MI     48154‐4113
HENDRICKSON, GEORGE L      230 RIDGECREST HEIGHTS RD                                                                   FRANKLIN           NC     28734‐2422
HENDRICKSON, GEORGE M      9369 RAYNA DR                                                                               DAVISON            MI     48423‐2853
HENDRICKSON, GERALD F      3625 LA CASITA AVE APT 101                                                                  TRAVERSE CITY      MI     49684‐4653
HENDRICKSON, GERALDINE     2513 ROSSINI RD                                                                             WEST CARROLLTON    OH     45449‐3362

HENDRICKSON, GERTRUDE      2068 CLAYTON ROAD                                                                           BROOKVILLE        OH      45309‐9311
HENDRICKSON, GERTRUDE      2068 CLAYTON RD                                                                             BROOKVILLE        OH      45309‐9311
HENDRICKSON, GLENN M       2115 SINGLETON ST                                                                           INDIANAPOLIS      IN      46203‐3926
HENDRICKSON, HANNORA C     4825 ARROWHEAD DR                                                                           DAYTON            OH      45440‐2117
HENDRICKSON, HARLEY L      58 PHEASANT DR                                                                              FARMINGTON        MO      63640‐7655
HENDRICKSON, HAROLD L      6706 CHARLES RD                                                                             WESTERVILLE       OH      43082‐9029
HENDRICKSON, HOWARD P      1062 ORCHARD RD                                                                             ESSEXVILLE        MI      48732‐1913
HENDRICKSON, HURSCHEL D    827 LINGLE AVE                                                                              OWOSSO            MI      48867‐4529
HENDRICKSON, IMA R         1619 PETTIBONE AVE                                                                          FLINT             MI      48507‐1510
HENDRICKSON, JAMES C       94 STATE RD                                                                                 AVONDALE          PA      19311‐9305
HENDRICKSON, JAMES D       3307 TRILLIUM LANE                                                                          OXFORD            MI      48371‐5534
HENDRICKSON, JEFFREY       1982 MERWINS LN                                                                             FAIRFIELD         CT      06824‐1608
HENDRICKSON, JOHN D        PO BOX 22                                                                                   MUMFORD           NY      14511‐0022
HENDRICKSON, JOHN G        6940 MOCCASIN VALLEY RD                                                                     MINNEAPOLIS       MN      55439‐1630
HENDRICKSON, JOHN L        12262 E MOUNT MORRIS RD                                                                     DAVISON           MI      48423‐9320
HENDRICKSON, JOHN R        3848 N IRVINGTON AVE                                                                        INDIANAPOLIS      IN      46226‐4767
HENDRICKSON, JOHN W        316 LIBERTY ST                                                                              JAMESTOWN         PA      16134‐9184
HENDRICKSON, JOSEPH E      4217 WEXFORD RD                                                                             INDIANAPOLIS      IN      46226‐3259
HENDRICKSON, JOSEPH M      22 PHILLIP DR                                                                               KIRKWOOD          PA      17536‐9515
HENDRICKSON, KAREN G       201 LAKE STREET APT#203                                                                     ST. IGNACE        MI      49781
HENDRICKSON, KAREN G       201 LAKE ST APT 203                                                                         SAINT IGNACE      MI      49781‐1153
HENDRICKSON, KEVIN A       2104 MAYPORT DR                                                                             TOLEDO            OH      43611‐1636
HENDRICKSON, KEVIN ALLEN   2104 MAYPORT DR                                                                             TOLEDO            OH      43611‐1636
HENDRICKSON, LAWRENCE S    PO BOX 56                                                                                   LANDENBERG        PA      19350‐0056
HENDRICKSON, LESTER A      800 N MADISON ST LOT 21                                                                     GREENCASTLE       IN      46135‐1055
HENDRICKSON, LORETTA       3714 RODES COURT                                                                            ANNANDALE         VA      22003‐1725
HENDRICKSON, LORRAINE J    609 BREEZY POINT DR                                                                         PARDEEVILLE       WI      53954
HENDRICKSON, MADGE         2002 HOSLER ST                                                                              FLINT             MI      48503‐4416
HENDRICKSON, MARJORIE      2017 STAHLWOOD DR                                                                           SANDUSKY          OH      44870‐7714
HENDRICKSON, MARSHALL F    7647 S COCHRAN RD                                                                           OLIVET            MI      49076‐9443
HENDRICKSON, MARTHA B      2114 WALNUT ST                                                                              ANDERSON          IN      46016‐4460
HENDRICKSON, MILDRED       16554 CRAIGMERE DR                                                                          MIDDLEBURG        OH      44130‐6421
                                                                                                                       HEIGHTS
HENDRICKSON, NANCY A       55 BOSTON TEA CT                                                                            FLINT             MI      48507‐5912
HENDRICKSON, NELSON D      665 FREMONT RD                                                                              NOTTINGHAM        PA      19362‐9142
HENDRICKSON, PAUL M        2309 NE 53RD ST                                                                             KANSAS CITY       MO      64118‐5815
HENDRICKSON, PHYLLIS M     5526 E COUNTY ROAD 1200 S                                                                   LADOGA            IN      47954
HENDRICKSON, R B           PO BOX 581                                                                                  PEARISBURG        VA      24134‐0581
HENDRICKSON, RANDALL M     126 W 5885 S                                                                                MURRAY            UT      84107‐5979
HENDRICKSON, RANDY A       6365 MUIRFIELD DR                                                                           TEMPERANCE        MI      48182‐9682
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Name                               Address1                       Address2                      Address3         Address4                 City            State   Zip
HENDRICKSON, RAYMOND               44310 BENSON PARK ROAD                                                                                 SHAWNEE          OK     74801‐8830
HENDRICKSON, RICHARD A             7490 LONSDALE CIR                                                                                      GRAND LEDGE      MI     48837‐9523
HENDRICKSON, RICHARD L             13728 SEA HAWK ST                                                                                      JACKSONVILLE     FL     32224‐2256
HENDRICKSON, RICK J                5494 CHANCERY BLVD                                                                                     GREENWOOD        IN     46143‐7169
HENDRICKSON, ROBERT A              621 W VAN BUREN ST                                                                                     VEEDERSBURG      IN     47987‐1545
HENDRICKSON, ROBERT I              260 E GROVELAND DR                                                                                     OAK CREEK        WI     53154‐3209
HENDRICKSON, ROBERT J              2103 E BERGIN AVE                                                                                      BURTON           MI     48529‐1703
HENDRICKSON, ROBERT P              4941 N OLD ORCHARD DR                                                                                  JANESVILLE       WI     53545‐9600
HENDRICKSON, ROBERT W              2607 E 58TH ST                                                                                         INDIANAPOLIS     IN     46220‐5806
HENDRICKSON, ROBERTA L             4707 S 50 E                                                                                            KOKOMO           IN     46902‐9284
HENDRICKSON, ROGER W               16336 BRANCO DR                                                                                        PUNTA GORDA      FL     33955‐4361
HENDRICKSON, RONALD W              23840 YALE ST                                                                                          DEARBORN         MI     48124‐3375
HENDRICKSON, SANDRA L              260 E GROVELAND DR                                                                                     OAK CREEK        WI     53154‐3209
HENDRICKSON, SCOTT R               4617 KARAMAR DR                                                                                        SAINT LOUIS      MO     63128‐3909
HENDRICKSON, SCOTT ROBERT          4617 KARAMAR DR                                                                                        SAINT LOUIS      MO     63128‐3909
HENDRICKSON, SUELLEN K             485 SUNRISE DR                                                                                         CASSELBERRY      FL     32707
HENDRICKSON, T./TN                 808 S. GARDEN STREET           P.O. BOX 456                                                            COLUMBIA         TN     38401
HENDRICKSON, TERRY D               441 FRONT ST                                                                                           VANCEBURG        KY     41179‐1019
HENDRICKSON, VERNA                 72255 309TH ST                                                                                         DASSEL           MN     55325‐3050
HENDRICKSON, VIRGINIA J            3932 ALEESA DR SE                                                                                      WARREN           OH     44484‐2912
HENDRICKSON, WALLIS L              347 LAIRD ST                                                                                           MT MORRIS        MI     48458
HENDRICKSON, WANDA G               4463 WEST AICHOLTZ                                                                                     CINCINNATI       OH     45245‐1037
HENDRICKSON, WANDA G               4463 AICHOLTZ RD                                                                                       CINCINNATI       OH     45245‐1061
HENDRICKSON, WILLIAM               3017 DATURA RD                                                                                         VENICE           FL     34293‐3106
HENDRICKSON, WILLIAM E             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                             NORFOLK          VA     23510‐2212
                                                                  STREET, SUITE 600
HENDRICKSON, WILLIAM L             6736 ELLINWOOD DR                                                                                      WHITE LAKE       MI     48383‐3084
HENDRICKSON, WILTON W              705 WILLIAMSBURG DR                                                                                    KOKOMO           IN     46902‐4961
HENDRIE TRANSPORTATION INC         27 AUTOMATIC RD                                                               BRAMPTON ONT CANADA ON
                                                                                                                 L6S 5N8 CANADA
HENDRIE, CHESTER J                 11533 FROST RD                                                                                         PORTLAND         MI     48875‐9448
HENDRIGAN, JOANNE
HENDRIK DEGELDER                   13 WOOD DUCK LN                                                                                        OTTAWA           IL     61350‐9685
HENDRIK HAMANN                     GIESCHENHAGEN 9F                                                              23795 BAD SEGEBERG
                                                                                                                 GERMANY
HENDRIK KATERBERG
HENDRIK KNIBBE                     5863 GARK RD                                                                                           ATTICA           MI     48412‐9321
HENDRIK MOLL                       HERENFRIDSTRA▀E 47                                                            59494 SOEST GERMANY
HENDRIK WEGENER                    IHMEPLATZ 1                    WHG. 116                      30449 HANNOVER
HENDRIK ZENICKI                    37235 KINGSBURN DR                                                                                     LIVONIA          MI     48152‐4073
HENDRIKS, LINDA J                  PO BOX 363                                                                                             ROSE CITY        MI     48654‐0363
HENDRIKSEN, EDWARD L               635 FAIRFIELD DR                                                                                       FLUSHING         MI     48433‐1493
HENDRIKSEN, HAROLD C               6006 GREYSTONE DR                                                                                      WEDDINGTON       NC     28104‐7766
HENDRIKSEN, JAN                    39627 CATHER ST                                                                                        CANTON           MI     48187‐4203
HENDRIKSEN, MARJORIE M             6756 FIELDSTONE MANOR DR                                                                               MATTHEWS         NC     28105‐6798
HENDRIKSEN, STEVEN A               3237 CONNECTICUT ST                                                                                    BURTON           MI     48519‐1547
HENDRIKSEN, STEVEN ARTHUR          3237 CONNECTICUT ST                                                                                    BURTON           MI     48519‐1547
HENDRIKUS GERLACH                  111 MUNRO DR                                                                                           CAMILLUS         NY     13031‐1933
HENDRIKUS VANDENBERG               423 SPRINGVIEW ST SW                                                                                   DECATUR          AL     35601‐7348
HENDRIKX, GRACE M                  1608 RIDGE RD                                                                                          ZEBULON          NC     27597
HENDRIX AUTO REPAIR                4276 US HIGHWAY 281 N                                                                                  SPRING BRANCH    TX     78070‐6812
HENDRIX AUTOMOTIVE (NOT A PUBLIC   JIM HURZL                      6000 MONROE RD STE 100                                                  CHARLOTTE        NC     28212‐6178
COMPANY)
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Name                         Address1                          Address2                           Address3   Address4               City               State Zip
HENDRIX DANIEL               HENDRIX, DANIELLE                 1455 EAST G STREET SUITE B P O BOX                                   OAKDALE             CA 95361
                                                               11690
HENDRIX DANIEL               HENDRIX, ELIANA                   1455 EAST G STREET SUITE B P O BOX                                   OAKDALE            CA   95361
                                                               11690
HENDRIX DANIEL               HENDRIX, KAYABELLA                1455 EAST G STREET SUITE B P O BOX                                   OAKDALE            CA   95361
                                                               11690
HENDRIX DANNY REVENUE        PO BOX 794                        PAYEE 208577                                                         FLORENCE           AL   35631‐0794
COMMISSIONER
HENDRIX DONALD R (419438)    SIMMONS LAW FIRM
HENDRIX JOE                  10064 POND VIEW TRL 212                                                                                HOLLY              MI   48442
HENDRIX JR, CECIL            2518 BARTH ST                                                                                          FLINT              MI   48504‐7373
HENDRIX JR, JOE W            10064 POND VIEW TRL                                                                                    HOLLY              MI   48442‐9346
HENDRIX KENNETH (445169)     CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                     CLEVELAND          OH   44115
                             GAROFOLI                          FL
HENDRIX MICHELLE             HENDRIX, MICHELLE                 98 RENA ST                                                           MARION             NC   28752
HENDRIX MOTOR CO.            1947 NW OVERTON ST                                                                                     PORTLAND           OR   97209‐1618
HENDRIX PHILLIP H (488468)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD         OH   44067
                                                               PROFESSIONAL BLDG
HENDRIX RYAN                 4437 SOYA AVE                                                                                          SWARTZ CREEK       MI   48473‐8303
HENDRIX TINA                 3062 SOUTH HORSESHOE BEND AVE                                                                          YUMA               AZ   85364‐7439
HENDRIX, ALICE M             2779 CARRIAGE LANE                                                                                     COLLEGE PARK       GA   30349‐4274
HENDRIX, ALIENE E            573 BELL RD                                                                                            DALLAS             GA   30157
HENDRIX, AMILY ALLENE        211 BUENA VISTA ST                                                                                     WINDER             GA   30680‐1641
HENDRIX, AMMA                PORTER & MALOUF PA                4670 MCWILLIE DR                                                     JACKSON            MS   39206‐5621
HENDRIX, ANDREA D            2918 PRIMROSE CIR                                                                                      NASHVILLE          TN   37212‐6016
HENDRIX, ANDREA D            1709 GREENWOOD AVENUE                                                                                  NASHVILLE          TN   37206‐2331
HENDRIX, ANNIE               17355 STOUT ST                                                                                         DETROIT            MI   48219
HENDRIX, ANNIE               17355 STOUT STREET                                                                                     DETROIT            MI   48219‐3428
HENDRIX, BETTE J             PO BOX 92890                                                                                           HENDERSON          NV   89009‐2890
HENDRIX, BETTY               3907 FRUITRIDGE GLEN LANE                                                                              TERRE HAUTE        IN   47803‐2481
HENDRIX, BETTY L.            PO BOX 7713                                                                                            INDEPENDENCE       MO   64054‐0713
HENDRIX, BILLY R             1133 WYATT RD                                                                                          CANTON             GA   30115‐7741
HENDRIX, BOBBY J             2823 GALAXY DR                                                                                         SAGINAW            MI   48601
HENDRIX, BOBBY J             5626 DIXIE HWY APT 3                                                                                   SAGINAW            MI   48601
HENDRIX, BRENT L             8547 ARDENNES DR                                                                                       FISHERS            IN   46038‐4402
HENDRIX, BRUCE D             27739 149TH PL SE                                                                                      KENT               WA   98042‐4352
HENDRIX, CAROL E             736 CRIST RD                                                                                           BELOIT             WI   53511‐2077
HENDRIX, CAROLYN             351 E STEWART AVE                                                                                      FLINT              MI   48505‐3421
HENDRIX, CARVER E            3918 OAKHILLS DR                                                                                       BLOOMFIELD HILLS   MI   48301‐3234
HENDRIX, CLARENCE S          2472 MIAMI BEACH DR                                                                                    FLINT              MI   48507‐1058
HENDRIX, CLAUDE R            120 S RACCOON RD                                                                                       AUSTINTOWN         OH   44515‐2625
HENDRIX, CLEO                1366 GABBERT ST                                                                                        MONTICELLO         AR   71655
HENDRIX, COY W               6620 COVINGTON HWY                                                                                     LITHONIA           GA   30058‐4814
HENDRIX, DANIEL              CURTIS & ARATA                    1455 EAST G STREET SUITE B P O BOX                                   OAKDALE            CA   95361
                                                               11690
HENDRIX, DANIELLE            C/O CURTIS & ARATA                1455 EAST G STREET SUITE B P O BOX                                   OAKDALE            CA   95361
                                                               11690
HENDRIX, DARRYL W            PO BOX 6572                                                                                            FORT WAYNE         IN   46896‐0572
HENDRIX, DAVID               2900 N APPERSON WAY TRLR 244      HOLIDAY NORTH                                                        KOKOMO             IN   46901‐1487
HENDRIX, DAVID L             5430 ALBANY CT                                                                                         FORT WAYNE         IN   46835‐4251
HENDRIX, DAVID M             5 EASTWIND COURT                                                                                       NEWARK             DE   19713‐2825
HENDRIX, DEBORAH S           3637 NORTHEAST 43RD STREET                                                                             KANSAS CITY        MO   64117‐1662
HENDRIX, DONALD              SIMMONS LAW FIRM                  PO BOX 521                                                           EAST ALTON         IL   62024‐0519
HENDRIX, DONALD G            2904 GREENWAY DR                                                                                       BURLESON           TX   76028‐8306
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Name                    Address1                          Address2                             Address3   Address4               City             State   Zip
HENDRIX, EARL           P O BOX 219                                                                                              LOOGOOTEE         IN     47553
HENDRIX, EDNA           3938 N BOLTON AVE                                                                                        INDIANAPOLIS      IN     46226
HENDRIX, ELIANA         C/O CURTIS & ARATA                1455 EAST G STREET SUITE B P O BOX                                     OAKDALE           CA     95361
                                                          11690
HENDRIX, ELLA M         7630 CEDAR GROVE RD RT 3                                                                                 FAIRBURN         GA      30213‐2323
HENDRIX, ERNEST A       9098 MALARGA ST                                                                                          LAS VEGAS        NV      89123‐7427
HENDRIX, FLORA M        11800 N MICHAEL LN                                                                                       CAMBY            IN      46113‐8459
HENDRIX, GARRY A        736 CRIST RD                                                                                             BELOIT           WI      53511‐2077
HENDRIX, GERALDINE L    208 CHALMERS                                                                                             MALDEN           MO      63863‐2104
HENDRIX, GERALDINE L    208 CHALMER ST                                                                                           MALDEN           MO      63863‐2104
HENDRIX, GLENDA M       2221 SW 57TH ST                                                                                          OKLAHOMA CITY    OK      73119
HENDRIX, GORDON E       4170 HOWE RD                                                                                             GRAND BLANC      MI      48439‐7957
HENDRIX, GRACE E        3010 HAWTHORNE DR                                                                                        FLINT            MI      48503‐4641
HENDRIX, GREG H         32816 W 168TH ST                                                                                         LAWSON           MO      64062‐8272
HENDRIX, HARLEY A       508 E GRANT AVE                                                                                          PAULS VALLEY     OK      73075‐2637
HENDRIX, JAMES          PO BOX 05291                                                                                             DETROIT          MI      48205‐0291
HENDRIX, JAMES          4000 HILLMAN WAY APT 1                                                                                   BOARDMAN         OH      44512‐1131
HENDRIX, JAMES          3005 EDISON ST                                                                                           DAYTON           OH      45417‐1605
HENDRIX, JIMMIE W       7086 COOK RD                                                                                             SWARTZ CREEK     MI      48473‐8408
HENDRIX, JIMMIE WAYNE   7086 COOK RD                                                                                             SWARTZ CREEK     MI      48473‐8408
HENDRIX, JOAN           926 E COLLEGE ST                                                                                         FARMINGTON       MO      63640‐1308
HENDRIX, JOE
HENDRIX, JOE A          818 SPRINGWOOD DR                                                                                        CONROE            TX     77385‐9518
HENDRIX, JOHN D         2270 MCLAREN ST                                                                                          BURTON            MI     48529‐2176
HENDRIX, JOHN DALE      2270 MCLAREN ST                                                                                          BURTON            MI     48529‐2176
HENDRIX, JOHN M         1357 BERINGER DR                                                                                         HOSCHTON          GA     30548‐3448
HENDRIX, JOHNSON C      3903 WALNUT ST                                                                                           INKSTER           MI     48141‐2983
HENDRIX, JOSEPH         64 MAGNOLIA DR                                                                                           MONROE            LA     71203‐2772
HENDRIX, JOSEPH M       26150 MIRA WAY                                                                                           BONITA SPRINGS    FL     34134‐1688
HENDRIX, JOSEPH M       3005 SMITH BARRY RD                                                                                      PANTEGO           TX     76013‐4609
HENDRIX, JOSEPH P       64 MAGNOLIA DR                                                                                           MONROE            LA     71203‐2772
HENDRIX, JUNIOR         PO BOX 871                                                                                               SAGINAW           MI     48606‐0871
HENDRIX, KAREN D        7632 JILL CT                                                                                             NORTH RICHLAND    TX     76180‐2446
                                                                                                                                 HILLS
HENDRIX, KAYABELLA      CURTIS & ARATA                    1455 EAST G STREET SUITE B P O BOX                                     OAKDALE           CA     95361
                                                          11690
HENDRIX, KENNETH        CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                        CLEVELAND        OH      44115
                        GAROFOLI                          FL
HENDRIX, LEE E          PO BOX 380681                                                                                            DUNCANVILLE      TX      75138‐0681
HENDRIX, LEONARD J      6083 REID RD                                                                                             SWARTZ CREEK     MI      48473‐9459
HENDRIX, LEONARD JOE    6083 REID RD                                                                                             SWARTZ CREEK     MI      48473‐9459
HENDRIX, LEROY W        926 E COLLEGE ST                                                                                         FARMINGTON       MO      63640‐1308
HENDRIX, LONNIE M       213 WILLIAMSON MILL RD                                                                                   JONESBORO        GA      30236‐3220
HENDRIX, LONNIE W       1004 VALLEY BLVD                                                                                         ELYRIA           OH      44035‐2950
HENDRIX, MARJORIE C     2821 GAMMA LN                                                                                            FLINT            MI      48506‐1854
HENDRIX, MARSHALL W     3907 FRUITRIDGE GLEN LANE                                                                                TERRE HAUTE      IN      47803‐2481
HENDRIX, MARY G         391 PARKS RD                                                                                             ZEBULON          GA      30295‐3219
HENDRIX, MICHELLE       98 RENA ST                                                                                               MARION           NC      28752‐4356
HENDRIX, MIKE L         1080 SENECA RD                                                                                           LAKE ORION       MI      48362‐1349
HENDRIX, MONTRAL        PO BOX 24                                                                                                JAYESS           MS      39641‐0024
HENDRIX, NATHAN R       4625 W PACKINGHAM RD                                                                                     LAKE CITY        MI      49651‐9431
HENDRIX, NOLA           126 SHELTON STREET                                                                                       LINDEN           TN      37096
HENDRIX, NOLA           126 SHELTON ST                                                                                           LINDEN           TN      37096‐3511
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HENDRIX, NORENE A             41186 FOX RUN DR                                                                           CLINTON TOWNSHIP MI 48038‐4638

HENDRIX, PAMELA L             1056 FALCON DR                                                                             TROY            MI    48098‐2035
HENDRIX, PATRICIA A           2701 N LOCKE ST                                                                            KOKOMO          IN    46901‐1513
HENDRIX, RACHEL A             1876 VALLEY VIEW DR                                                                        KOKOMO          IN    46902‐5067
HENDRIX, RALPH                1179 MIDDLEBROOKS RD                                                                       WOODBURY        GA    30293‐2605
HENDRIX, REGINA D             808 HACKETT ST                                                                             BELOIT          WI    53511‐5228
HENDRIX, RICHARD              PO BOX 92890                                                                               HENDERSON       NV    89009‐2890
HENDRIX, RICHARD W            4795 S 400 E                                                                               CUTLER          IN    46920‐9416
HENDRIX, ROBERT               3632 WINIFRED ST                                                                           WAYNE           MI    48184‐1918
HENDRIX, ROBERT E             4840 ENNISMORE DR                                                                          CLARKSTON       MI    48346‐3621
HENDRIX, ROBERT E             1762 MCGARITY RD                                                                           TEMPLE          GA    30179‐2341
HENDRIX, RONALD EUGENE        655 S BALDWIN RD                                                                           OXFORD          MI    48371‐4115
HENDRIX, ROSDON               150 MAY GLEN WAY                                                                           ROSWELL         GA    30076‐3704
HENDRIX, ROSS D               1056 FALCON DR                                                                             TROY            MI    48098‐2035
HENDRIX, ROY C                810 MURPHY RD                                                                              WINDER          GA    30680‐2724
HENDRIX, RUDOLFINE            35506 SMITH                                                                                ROMULUS         MI    48174‐4106
HENDRIX, RUDOLFINE            35506 SMITH RD                                                                             ROMULUS         MI    48174‐4106
HENDRIX, RYAN                 4437 SOYA AVE                                                                              SWARTZ CREEK    MI    48473‐8303
HENDRIX, SANJUANITA           655 S BALDWIN RD                                                                           OXFORD          MI    48371‐4115
HENDRIX, SANJUANITA           655 SOUTH BALDWIN ROAD                                                                     OXFORD          MI    48371‐4115
HENDRIX, SUE A                3005 MAYFAIR DR                                                                            KOKOMO          IN    46902‐3932
HENDRIX, SUE E                644 PERRY CREEK DRIVE                                                                      GRAND BLANC     MI    48439
HENDRIX, TAMMY                HUBBARD & KNIGHT               P O DRAWER 1850                                             ANNISTON        AL    36202
HENDRIX, THOMAS EDWARD        4302 WESTERN RD LOT 46         LAKESIDE MOBILE HOME CT                                     FLINT           MI    48506
HENDRIX, THOMAS EDWARD        2817 GAMMA LN                                                                              FLINT           MI    48506
HENDRIX, TRACY M              4825 APACHE TRL                                                                            COLUMBIAVILLE   MI    48421‐8946
HENDRIX, TREVA J.             1059 E JENNIFER DR                                                                         BLOOMINGTON     IN    47401‐8536
HENDRIX, TRICIA S             25733 S YELLOW PINE DR                                                                     CHANNAHON       IL    60410
HENDRIX, TRUEMAN              10641 W IRMA LN                                                                            PEORIA          AZ    85382‐5184
HENDRIX, VELMA J              11551 KENMOOR                                                                              DETROIT         MI    48205‐3287
HENDRIX, VELMA J              11551 KENMOOR ST                                                                           DETROIT         MI    48205‐3287
HENDRIX, VIOLET G             3131 N SQUIRREL RD APT 121                                                                 AUBURN HILLS    MI    48326‐3950
HENDRIX, WANDA F              190 PCR 734                                                                                PERRYVILLE      MO    63775‐8591
HENDRIX, WILLIAM/TN           MAURY COUNTY SHOPPING CENTER                                                               COLUMBIA        TN    38401
HENDRIX, YOLONDA              759 HUNTINGTON PKWY                                                                        NASHVILLE       TN    37211‐5918
HENDRIX‐WILLIAMS, SABINA W.   1311 BRIAR ROSE DR                                                                         MOUNT MORRIS    MI    48458‐2338
HENDRIXON, CHARLES C          3566 W WEBSTER RD                                                                          MONTAGUE        MI    49437‐8453
HENDRIXSON CHARLES            144 SOLACE DR                                                                              HOWELL          MI    48855‐9203
HENDRIXSON, CARROLL B         1008 KAY LYNN ST                                                                           MANSFIELD       TX    76063‐2006
HENDRIXSON, CHARLES A         144 SOLACE DR                                                                              HOWELL          MI    48855‐9203
HENDRIXSON, GERALD E          995 GARVER RD                                                                              MIDDLETOWN      OH    45044‐8929
HENDRIXSON, TERRY L           3778 AMITY LN                                                                              MIDDLETOWN      OH    45044‐9443
HENDRIXSON, WILL B            12238 KIOWA RD                 APT 3                                                       APPLE VALLEY    CA    92308‐4223
HENDRON, JOSEPH P             7 CEDAR ST                                                                                 TUCKAHOE        NY    10707‐3303
HENDRY CARL F & SHIRLIE A     3279 S BAILEY RD                                                                           NORTH JACKSON   OH    44451‐9630
HENDRY MARC J                 HENDRY, MARC J
HENDRY, BARBARA A             205 N SCOTT RD APT A1                                                                      SAINT JOHNS      MI   48879‐1669
HENDRY, CARL F                7177 EVENTRAIL DR                                                                          POWELL           OH   43065‐7342
HENDRY, EDGAR B               2446 TALL OAKS DR                                                                          TROY             MI   48098‐2496
HENDRY, FRANKLIN              PORTER & MALOUF PA             4670 MCWILLIE DR                                            JACKSON          MS   39206‐5621
HENDRY, JAMES M               127 ACTON RD                                                                               LEBANON          IN   46052‐8607
HENDRY, JOANNE M              8264 STANDARD                                                                              CENTER LINE      MI   48015‐1348
HENDRY, JOHN A                1376 CHARLIE MELTON ROAD                                                                   ALLONS           TN   38541‐6071
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Name                            Address1                       Address2                      Address3   Address4                 City               State   Zip
HENDRY, JOHN E                  8745 SMOKEY DR                                                                                   LAS VEGAS           NV     89134‐8421
HENDRY, MARC J                  77 BEECH COURT                                                                                   DELAWARE            OH     43015‐3240
HENDRY, MARILYN S               2133 N LYNHURST DR                                                                               SPEEDWAY            IN     46224‐5004
HENDRY, ROBERT W                58 SEMINARY COVE DR                                                                              MILL VALLEY         CA     94941‐3190
HENDRY, WILLIAM                 BALDWIN & BALDWIN              PO DRAWER 1349                                                    MARSHALL            TX     75670
HENDRYX, MELVIN                 1003 E LOVERS LN                                                                                 ARLINGTON           TX     76010‐5804
HENDY, DORTHA L                 606 E OZARK ST                                                                                   MALDEN              MO     63863‐2363
HENDY, PAULINE S                575 DEMING ST                                                                                    SALEM               OH     44460‐3739
HENDZEL, CASIMER                662 ASPEN DR                                                                                     ROMEOVILLE           IL    60446‐3982
HENDZEL, JOSEPH J               613 MAPLE AVE                                                                                    WILLOW SPGS          IL    60480‐1365
HENEBRY, PENNY L                920 CHANEY RD                                                                                    TROY                MO     63379‐4337
HENEGAN, JOHN A                 421 TORRY AVE                                                                                    BRONX               NY     10473‐1616
HENEGAR, CARL W                 17084 EAGLE DR                                                                                   THREE RIVERS        MI     49093‐9137
HENEGAR, FANNIE M               111 HEILE DRIVE APT #3                                                                           CINCINNATI          OH     45215‐3756
HENEGAR, FANNIE M               111 HEILE DR APT 3                                                                               CINCINNATI          OH     45215‐3756
HENEGAR, LELAND W               1024 WINNSBORO DR                                                                                LADY LAKE           FL     32162‐4044
HENEGHAN, JOHN C                31557 56TH AVE                                                                                   PAW PAW             MI     49079‐8611
HENEGHAN, ROBERT G              3199 S MORGANTOWN RD                                                                             GREENWOOD           IN     46143‐9408
HENEIN, MINA R                  20970 MAYBURY PARK DR                                                                            NORTHVILLE          MI     48167‐0149
HENELT, JOSEPH Z                STE C                          787 MUNRAS AVENUE                                                 MONTEREY            CA     93940‐3131
HENERETTA LADNER                1720 HIGHWAY 503                                                                                 PAULDING            MS     39348‐5101
HENERFAUTH WILLIAM J (439126)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA     23510
                                                               STREET, SUITE 600
HENERFAUTH, WILLIAM J           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA     23510‐2212
                                                               STREET, SUITE 600
HENERY WOOLLEY                  1737 DODGEVILLE RD                                                                               ROME               OH      44085‐9751
HENES, LORI K                   2665 MILLER ST                                                                                   LAMBERTVILLE       MI      48144‐9644
HENES, ROBERT J                 245 S LAKE ST                                                                                    SOUTH AMHERST      OH      44001‐3003
HENEY, BETHANY M                303 LOCUST LN                                                                                    CRANBERRY TWP      PA      16066‐6847
HENEY, DANIEL R                 224 COOPER RD                                                                                    NORTHBRIDGE        MA      01534‐1143
HENEY, TODD W                   303 LOCUST LN                                                                                    CRANBERRY          PA      16066‐6847
                                                                                                                                 TOWNSHIP
HENEY, WILLIAM T                18 MILLPOND TRL                                                                                  SAGINAW             MI     48603‐8653
HENG YEANG                      3010 CHURCH                                                             WINDSOR CANADA N9E 1T8
HENG YUAN                       1966 CHRISTOPHER CT                                                                              WEST BLOOMFIELD     MI     48324‐3136

HENGAR WALKER                   19750 GREYDALE AVE                                                                               DETROIT            MI      48219‐1835
HENGEL JR, WILLIAM F            PO BOX 9                                                                                         EAST JORDAN        MI      49727‐0009
HENGEL, JAMES F                 71550 ELDRED RD                                                                                  BRUCE TWP          MI      48065‐3611
HENGEL, MARGUERITE              6430 PINE VALLEY CT                                                                              CLARKSTON          MI      48346‐4828
HENGEL, RAYMOND D               1211 NW HONEYLOCUST CT                                                                           GRAIN VALLEY       MO      64029‐7221
HENGEMUEHLER, BETTY J           4900 E 5TH ST APT 1601                                                                           TUCSON             AZ      85711‐2217
HENGER, ELEANOR H               3720 COVINGTON DR                                                                                EVANSVILLE         IN      47725‐7507
HENGER, GRACE L                 1136 N INDIANA AVE                                                                               KOKOMO             IN      46901
HENGERER, RONALD                1459 OLD HIGHWAY 99                                                                              COLUMBIA           TN      38401‐7725
HENGES/MARYLAND HGTS            12100 PRICHARD FARM RD                                                                           MARYLAND HEIGHTS   MO      63043‐4201

HENGESBACH CHARLES              4045 WATERLOO ST                                                                                 WATERFORD           MI     48329‐1459
HENGESBACH, ALFRED H            14501 S WRIGHT RD                                                                                EAGLE               MI     48822‐9711
HENGESBACH, ANDREW MAKR         10400 E PEWAMO RD LOT 48                                                                         PEWAMO              MI     48873‐9755
HENGESBACH, ANTHONY J           23130 SHEPHERD LN                                                                                MACOMB              MI     48042‐5492
HENGESBACH, BILLY J             PO BOX 232                     228 VIDUA CIR                                                     WESTPHALIA          MI     48894‐0232
HENGESBACH, CHARLES P           4045 WATERLOO ST                                                                                 WATERFORD           MI     48329‐1459
HENGESBACH, DARRELL R           PO BOX 271                                                                                       WESTPHALIA          MI     48894‐0271
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HENGESBACH, DARWIN D                1234 TUCKAWAY LN                                                                                 COLUMBIA            TN     38401‐6762
HENGESBACH, DUANE J                 300 E BEECH                    PO BOX 261                                                        WESTPHALIA          MI     48894‐9852
HENGESBACH, DUANE J                 PO BOX 261                                                                                       WESTPHALIA          MI     48894‐0261
HENGESBACH, ERNEST M                1809 ALLEGHENY DR                                                                                SUN CITY CENTER     FL     33573‐5002
HENGESBACH, FRED F                  14320 W JASON RD                                                                                 WESTPHALIA          MI     48894‐9624
HENGESBACH, JUDY M                  1417 ROSENEATH AVE                                                                               LANSING             MI     48915‐2245
HENGESBACH, LAWRENCE A              13104 BENTON RD                                                                                  GRAND LEDGE         MI     48837‐9730
HENGESBACH, LAWRENCE ALBERT         13104 BENTON RD                                                                                  GRAND LEDGE         MI     48837‐9730
HENGESBACH, LINUS S                 1401 W OAKLAND AVE                                                                               LANSING             MI     48915‐2022
HENGESBACH, MARK J                  11151 CHARLOTTE HWY                                                                              PORTLAND            MI     48875‐8401
HENGESBACH, MARVIN H                10561 W SAINT JOE HWY                                                                            VERMONTVILLE        MI     49096‐8703
HENGESBACH, MICHAEL R               PO BOX 121                                                                                       EAGLE               MI     48822‐0121
HENGESBACH, RICHARD H               15706 PRATT RD                                                                                   WESTPHALIA          MI     48894‐9521
HENGESBACH, ROBERT J                PO BOX 231                                                                                       WESTPHALIA          MI     48894‐0231
HENGESBACH, ROSIE                   935 PRINCETON AVE                                                                                LANSING             MI     48915‐2159
HENGESBACH, STANLEY N               935 PRINCETON AVE                                                                                LANSING             MI     48915‐2159
HENGESBACH, STEVEN C                9900 BUTLER RD                                                                                   PORTLAND            MI     48875‐9425
HENGESBAUGH MARY PAT                202 E THOMPSON DR                                                                                WHEATON              IL    60189‐7434
HENGESBAUGH, PAUL E                 37736 W MEADOWHILL DR                                                                            NORTHVILLE          MI     48167‐9017
HENGESH, CHRISTINE R                3586 S 18TH AVE                                                                                  YUMA                AZ     85365‐3937
HENGESH, CHRISTINE R                11434 E STANTON CIR                                                                              MESA                AZ     85212‐7036
HENGESH, JEFFREY D                  11434 E STANTON CIR                                                                              MESA                AZ     85212‐7036
HENGQING LIU                        1718 HILLCREST DR                                                                                ROCHESTER HILLS     MI     48306‐3140
HENGST FILT/GERMANY                 NIENKAMP 65 ‐ 85                                                       MUENSTER GE D ‐ 48147
                                                                                                           GERMANY
HENGST GMBH & CO KG                 NIBNKAMP 65                    85 48147 MUNSTER                        48147 GERMANY
HENGST GMBH & CO KG                 29 HENGST BLVD                                                                                   CAMDEN              SC     29020‐7796
HENGST GMBH & CO KG                 MARTIN WACHENFELD              29 HENGST BLVD      HENGST AUTOMOTIVE                             CAMDEN              SC     29020‐7796
HENGST GMBH & CO KG                 MARTIN WACHENFELD              HENGST AUTOMOTIVE   29 HENGST DR                                  WAYNE               NJ     07470
HENGST GMBH & CO KG                 NIENKAMP 55‐85                                                         MUENSTER NW 48147
                                                                                                           GERMANY
HENGST OF NORTH AMERICA INC         MARTIN WACHENFELD              29 HENGST BLVD      HENGST AUTOMOTIVE                             CAMDEN             SC      29020‐7796
HENGST OF NORTH AMERICA INC         MARTIN WACHENFELD              HENGST AUTOMOTIVE   29 HENGST DR                                  WAYNE              NJ      07470
HENGST OF NORTH AMERICA INC         29 HENGST BLVD                                                                                   CAMDEN             SC      29020‐7796
HENGST/CAMDEN                       29 HENGST BLVD                                                                                   CAMDEN             SC      29020‐7796
HENGY, ALBERTA L                    41491 BELLRIDGE BLVD APT 24                                                                      BELLEVILLE         MI      48111‐4566
HENGY, ANTOINETTE                   6655 MOUNTAIN DR                                                                                 TROY               MI      48098‐1909
HENGY, CELESTINE T                  1005 NE 93RD CT                                                                                  KANSAS CITY        MO      64155‐3365
HENGY, DONNA KAY                    2973 COONBOTTOM RD,                                                                              PONCEDELEON        FL      32455
HENGY, JOHN F                       9400 45TH ST                                                                                     PINELLAS PARK      FL      33782‐5509
HENGY, KIMBERLY M                   43325 INTERLAKEN DR                                                                              STERLING HEIGHTS   MI      48313‐2369
HENGY, MICHAEL D                    13464 N CENTER RD                                                                                CLIO               MI      48420‐9198
HENGY, RICHARD L                    2973 COON BOTTOM RD                                                                              PONCE DE LEON      FL      32455‐7123
HENGY, THOMAS W                     4100 WHITEBIRCH DR                                                                               W BLOOMFIELD       MI      48323‐2669
HENGY, WESLEY R                     9417 COUNTRY CLUB LN                                                                             DAVISON            MI      48423‐8367
HENICK, BRADLEY I                   3587 185TH AVE                                                                                   HERSEY             MI      49639‐8797
HENICK, MORTON I                    6295 PRINCE CT                                                                                   FLUSHING           MI      48433‐3521
HENIFF JR, DAVID M                  50315 HUNTERS CREEK TRL                                                                          SHELBY TOWNSHIP    MI      48317‐1808
HENIFF TRANSPORTATION SYSTEMS INC   5240 W 123RD PL                                                                                  ALSIP              IL      60803‐3201

HENIFF, JOSEPH T                    50315 HUNTERS CREEK TRL                                                                          SHELBY TOWNSHIP     MI     48317‐1808
HENIFIN RICHARD                     7350 MORNING STAR DR                                                                             PLACERVILLE         CA     95667‐8110
HENIG, DAVID A                      2981 BIRCHWOOD ST                                                                                TRENTON             MI     48183‐3681
HENIG, MARGARET                     2440 GREENLAWN AVE                                                                               COMMERCE TWP        MI     48382‐3527
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HENIGAN SHARON L          HENIGAN, SHARON               30 E BUTLER AVE                                             AMBLER              PA     19002‐4514
HENIGE TROY               1659 CAMBRIDGE RD                                                                         BERKLEY             MI     48072‐1956
HENIGE, ANDREW J          220 S FRONT ST                                                                            CHESANING           MI     48616‐1329
HENIGE, ANTHONY R         110 CAMBRIDGE GROVE CIR                                                                   ALVATON             KY     42122‐9580
HENIGE, CHAD P            32458 WASHINGTON ST                                                                       LIVONIA             MI     48150‐3716
HENIGE, CHARLES E         773 TUNNELL HILL RD                                                                       ROGERSVILLE         TN     37857‐7702
HENIGE, CHRISTOPHER N     21769 HAMPSTEAD ST                                                                        BEVERLY HILLS       MI     48025‐3652
HENIGE, DAVID L           805 E BROAD ST                                                                            CHESANING           MI     48616‐1628
HENIGE, DENNIS B          18166 E STREET RD                                                                         NEW LOTHROP         MI     48460‐9612
HENIGE, DIANE MARIE       1175 PEET RD                                                                              MONTROSE            MI     48457‐9329
HENIGE, DOROTHY A         4177 DITCH RD                                                                             NEW LOTHROP         MI     48460‐9628
HENIGE, FRANCIS L         4064 OAK KNOLL RD                                                                         WATERFORD           MI     48328‐4070
HENIGE, GLENN M           2877 CEDAR KEY DR                                                                         LAKE ORION          MI     48360‐1831
HENIGE, JACQUELYN K       17562 BRIGGS RD                                                                           CHESANING           MI     48616‐9721
HENIGE, KEITH A           74103 KANIE RD                                                                            BRUCE TWP           MI     48065‐3349
HENIGE, KENNETH E         4263 DITCH RD                                                                             NEW LOTHROP         MI     48460‐9628
HENIGE, KEVIN A           2426 CHESANING RD                                                                         MONTROSE            MI     48457‐9322
HENIGE, LLOYD J           18460 LINCOLN RD                                                                          NEW LOTHROP         MI     48460‐9637
HENIGE, LOUIS J           17535 BRIGGS RD                                                                           CHESANING           MI     48616‐9721
HENIGE, MARY T            21769 HAMPSTEAD ST                                                                        BEVERLY HILLS       MI     48025‐3652
HENIGE, MATTHEW A         5403 N STATE RD                                                                           OWOSSO              MI     48867‐9091
HENIGE, MATTHEW ALBERT    5403 N STATE RD                                                                           OWOSSO              MI     48867‐9091
HENIGE, NICHOLAS D        18166 EAST RD.                                                                            NEW LOTHROP         MI     48460
HENIGE, RALPH M           600 S MAIN ST                                                                             CHESANING           MI     48616‐1710
HENIGE, RICHARD J         514 JACKSON ST                                                                            CHESANING           MI     48616‐1124
HENIGE, RICHARD JOSEPH    514 JACKSON ST                                                                            CHESANING           MI     48616‐1124
HENIGE, RONALD A          4272 DUFFIELD RD                                                                          FLUSHING            MI     48433‐1797
HENIGE, SANDRA M          22217 HILLSIDE DR                                                                         NORTHVILLE          MI     48167‐9145
HENIGE, TIMOTHY G         6423 PEET RD                                                                              CHESANING           MI     48616‐9752
HENIGE, TROY              7067 OLDE FARM TRL                                                                        ALMONT              MI     48003‐8340
HENIGE, TROY M            1659 CAMBRIDGE RD                                                                         BERKLEY             MI     48072‐1956
HENIGE, VICTOR R          1175 PEET RD                                                                              MONTROSE            MI     48457‐9329
HENIGE, VICTORIA L        410 STROEBEL DRIVE                                                                        FRANKENMUTH         MI     48734
HENIGE, VICTORIA M        1718 FLAMINGO DRIVE                                                                       ORLANDO             FL     32803‐1911
HENIGE, WILFRED S         17472 BUECHE RD                                                                           NEW LOTHROP         MI     48460‐9655
HENIGE, WILLIAM F         9435 HENDERSON RD                                                                         CORUNNA             MI     48817‐9751
HENIGER HORTON            716 AMBER CT                                                                              ANDERSON            IN     46012‐1422
HENIK, J. R               16641 HEISER RD                                                                           BERLIN CENTER       OH     44401‐8712
HENIK, J. R               16641 HEISER ROAD                                                                         BERLIN CENTER       OH     44401‐4401
HENIK, MIKE G             2065 SQUIRREL RUN                                                                         MINERAL RIDGE       OH     44440‐9032
HENIK, THOMAS J           6253 KIRK RD                                                                              CANFIELD            OH     44406‐8616
HENIKA, JOSEPH E          7237 MEDALLION DR                                                                         LANSING             MI     48917‐9601
HENIKA, RAYMOND P         415 N MCLELLAN ST                                                                         BAY CITY            MI     48708‐6772
HENIKA, TERRY A           403 PLUMMER ST                                                                            ESSEXVILLE          MI     48732‐1196
HENIKA, TERRY A.          403 PLUMMER ST                                                                            ESSEXVILLE          MI     48732‐1196
HENIKA, THOMAS J          2891 S KNIGHT RD                                                                          MUNGER              MI     48747‐9766
HENINGBURG, MARILYN L S   555 VILLA DR                                                                              YPSILANTI           MI     48198‐3509
HENINGER, RODNEY K        770 JACKSONVILLE HWY                                                                      FITZGERALD          GA     31750‐7540
HENINGTON, WILLIAM T      184 BARRIER RD                                                                            SUMMERTOWN          TN     38483‐5045
HENISER, BETTY L          243 FREY RD.                                                                              ABBEVILLE           AL     36310‐5766
HENISER, BETTY L          243 FREY RD                                                                               ABBEVILLE           AL     36310‐5766
HENISER, GERALD B         910 W CEDAR RD                                                                            SIX LAKES           MI     48886‐9742
HENISER, TAMMY            1510 N. CANFIELD ROAD                                                                     EATON RAPIDS        MI     48827‐9300
HENISSE, MICHAEL T        43135 CHAUCER CT                                                                          STERLING HEIGHTS    MI     48313‐1830
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Name                                 Address1                           Address2             Address3                Address4                    City               State   Zip
HENISSE, MICHAEL T.                  43135 CHAUCER CT                                                                                            STERLING HEIGHTS    MI     48313‐1830
HENIX JR, ALVIN                      PO BOX 3423                                                                                                 SAGINAW             MI     48605‐3423
HENIX, ALVIN                         PO BOX 837                                                                                                  SAGINAW             MI     48606‐0837
HENIX, MELVIN                        2422 JEFFERSON COURT LN APT 1525                                                                            ARLINGTON           TX     76006‐4246
HENIZE, BETTY JANE                   4457 POND MEADOWS CT                                                                                        MASON               OH     45040‐2927
HENJUM MARYLOU                       50 RIVERVIEW DR                                                                                             OAK RIDGE           TN     37830‐7285
HENK BOS
HENK JONGSMA
HENK STUDIO                          ATTN: KATHLEEN HENK                106 N SAGINAW ST                                                         PONTIAC            MI      48342‐2112
HENK, CAROL A                        2128 RUSSET DR                                                                                              TROY               MI      48098‐5219
HENK, CHRISTOPHER P                  625 E WASHINGTON ST                                                                                         GREENCASTLE        IN      46135‐1724
HENK, DAN A                          22195 CARLTONS DELL RD                                                                                      DANVILLE           IL      61834‐5730
HENK, DAVID L                        4524 LEDGEWOOD DR                                                                                           MEDINA             OH      44256‐9028
HENK, EDWARD D                       422 HARRISON ST                                                                                             COOPERSVILLE       MI      49404‐1136
HENK, MARILYN J                      910 W SILVER LAKE RD                                                                                        FENTON             MI      48430‐2627
HENK, MARILYN JOYCE                  910 W SILVER LAKE RD                                                                                        FENTON             MI      48430‐2627
HENK, MARY J                         10500 E LOST CANYON DR LOT 15                                                                               SCOTTSDALE         AZ      85255‐4455
HENK, MICHAEL
HENK, MICHAEL J                      910 W SILVER LAKE RD                                                                                        FENTON             MI      48430‐2627
HENK, MICHAEL JOHN                   910 W SILVER LAKE RD                                                                                        FENTON             MI      48430‐2627
HENK, VIRGINIA                       58122 MOUND RD                                                                                              WASHINGTON         MI      48094‐2648
HENKALINE, SUSAN K                   7268 SERPENTINE DR                                                                                          HUBER HEIGHTS      OH      45424‐2316
HENKE THOMAS                         6200 SAINT FRANCIS DR                                                                                       CEDAR CITY         MO      65101‐9292
HENKE, ARTHUR W                      1411 DICKEN DR                                                                                              ANN ARBOR          MI      48103‐4416
HENKE, BARBARA J                     5356 SEA VW                                                                                                 WATERFORD          MI      48327‐3132
HENKE, CARL C                        7068 FAIRGROVE DR                                                                                           SWARTZ CREEK       MI      48473‐9408
HENKE, CARL CHRISTIAN                7068 FAIRGROVE DR                                                                                           SWARTZ CREEK       MI      48473‐9408
HENKE, DAN L                         5368 SEA VW                                                                                                 WATERFORD          MI      48327
HENKE, DANA L                        9043 LONG RD                                                                                                OSTRANDER          OH      43061
HENKE, DAVID R                       4218 GRAYTON DR                                                                                             WATERFORD          MI      48328‐3427
HENKE, FREDERICK J                   1423 N WRIGHT RD                                                                                            JANESVILLE         WI      53546‐1314
HENKE, JAMES H                       8236 NW BIRCH LN                                                                                            KANSAS CITY        MO      64151
HENKE, JEAN S                        538 STONYBROOK DR                                                                                           GRAND BLANC        MI      48439‐1108
HENKE, KENNETH A                     371 OAKVALE CT                                                                                              SHIRLEY            AR      72153‐8455
HENKE, KENNETH R                     2035 HUFF RD                                                                                                JOHANNESBURG       MI      49751‐9636
HENKE, LAWRENCE W                    3170 ALCO DR                                                                                                WATERFORD          MI      48329‐2202
HENKE, LEONA L                       420 MELROSE LN                                                                                              MOUNT MORRIS       MI      48458‐8944
HENKE, MARK A                        163 WESTMORELAND DR                                                                                         BULL SHOALS        AR      72619‐4335
HENKE, ROBERT P                      8535 MAPAVI DR                                                                                              BONNE TERRE        MO      63628‐4369
HENKE, TROY J                        5465 TAYLOR LN                                                                                              CLARKSTON          MI      48346‐1748
HENKE, TROY JOSEPH                   5465 TAYLOR LN                                                                                              CLARKSTON          MI      48346‐1748
HENKE, WILLIAM M                     2345 OAK PARK AVE                                                                                           BERWYN             IL      60402‐2461
HENKEL (JIANGSU) AUTO PARTS          LIMINGGUO                          HENKEL CORPORATION   QUNYI VILLAGE XINGIAO                               RICHMOND           MO      64085
                                                                                             TOWN
HENKEL (JIANGSU) AUTO PARTS CO LTD   LIMINGGUO                          HENKEL CORPORATION   QUNYI VILLAGE XINGIAO                               RICHMOND           MO      64085
                                                                                             TOWN
HENKEL (JIANGSU) AUTO PARTS CO LTD   QUNYI VILLAGE XINGIAO TOWN                                                      DANYANG JIANGSU CN 212322
                                                                                                                     CHINA (PEOPLE'S REP)

HENKEL AG & CO KGAA                  HENKEL STRASSE 67                                                               DUESSELDORF, NW 40
                                                                                                                     GERMANY
HENKEL AG & CO KGAA                  1001 TROUT BROOK XING                                                                                       ROCKY HILL         CT      06067‐3582
HENKEL AG & CO KGAA                  18731 CRANWOOD PKWY                                                                                         CLEVELAND          OH      44128‐4037
HENKEL AG & CO KGAA                  201 E HIGHWAY 10                                                                                            RICHMOND           MO      64085‐2374
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Name                          Address1                         Address2                       Address3             Address4                     City              State Zip
HENKEL AG & CO KGAA           32100 STEPHENSON HWY                                                                                              MADISON HEIGHTS    MI 48071‐5514

HENKEL AG & CO KGAA           303 1 SADONG RI TAEWOL MYON      KYONGGI DO                                          INCHON 467 850 KOREA (REP)

HENKEL AG & CO KGAA           HENKEL‐TEROSON‐STR 57                                                                HEIDELBERG DE 69123
                                                                                                                   GERMANY
HENKEL AG & CO KGAA           TOM O'BRIEN                      HENKEL ORBSEAL                 201 HWY 10E ST       GLIWICE POLAND (REP)
HENKEL AG & CO KGAA           PETE FUCIARELLI                  201 HWY 10 E.                                                                    SHELBY            NC   28150
HENKEL AG & CO KGAA           420 W MARQUETTE AVE                                                                                               OAK CREEK         WI   53154‐2039
HENKEL AG & CO KGAA           PETE FUCIARELLI                  201 E HIGHWAY 10                                                                 RICHMOND          MO   64085‐2374
HENKEL AG & CO KGAA           201 HWY 10E ST                                                                                                    RICHMOND          MO   64085
HENKEL AG & CO KGAA           210 ATHENS WAY                                                                                                    NASHVILLE         TN   37228‐1308
HENKEL CANADA                 PARKER AMCHEM CANADA             PO BOX 4573 STATION A DEPT 3                        TORONTO CANADA ON M5W
                                                                                                                   4V4 CANADA
HENKEL CANADA                 PARKER AMCHEM CANADA             FMLY NOVAMAX TECHNOLOGIES      165 REXDALE BLVD     ETOBICOKE CANADA ON M9W
                                                               2\98                                                1P7 CANADA
HENKEL CANADA LTD             2225 MEADOWPINE BLVD                                                                 MISSISSAUGA ON L5N 7P2
                                                                                                                   CANADA
HENKEL CHEM/AIR GAS           210 ATHENS WAY                                                                                                    NASHVILLE         TN   37228‐1308
HENKEL CHEM/BOC               210 ATHENS WAY                                                                                                    NASHVILLE         TN   37228‐1308
HENKEL CHEM/NSHVIL            210 ATHENS WAY                                                                                                    NASHVILLE         TN   37228‐1308
HENKEL CHEMICAL MANAGEMENT    1 VANTAGE WAY STE C200                                                                                            NASHVILLE         TN   37228‐1596
HENKEL CORP                   500 W MARQUETTE AVE              PO BOX 6                                                                         OAK CREEK         WI   53154‐2042
HENKEL CORP                   420 W MARQUETTE AVE                                                                                               OAK CREEK         WI   53154‐2039
HENKEL CORP                   210 ATHENS WAY                                                                                                    NASHVILLE         TN   37228‐1308
HENKEL CORP                   23343 SHERWOOD AVE                                                                                                WARREN            MI   48091‐5362
HENKEL CORP                   32100 STEPHENSON HWY                                                                                              MADISON HEIGHTS   MI   48071‐5514

HENKEL CORP                   1001 WOODSIDE AVE                                                                                                 BAY CITY          MI   48708‐5470
HENKEL CORP/500 MARQ          PO BOX 6                         AUTOMOTIVE ADHESIVE & SEALANTS 500 WEST MARQUETTE                                OAK CREEK         WI   53154‐0006
                                                                                              AVENUE
HENKEL CORP/OAK CREE          401 W MARQUETTE AVE              AUTOMOTIVE ADHESIVES &                                                           OAK CREEK         WI   53154‐2038
HENKEL CORPORATION            201 HWY 10E ST                                                                                                    RICHMOND          MO
HENKEL CORPORATION            VINCENT FUGARO                   1001 TROUT BROOK XING                                                            ROCKY HILL        CT   06067‐3582
HENKEL CORPORATION            TOM O'BRIEN                      HENKEL ORBSEAL                 201 HWY 10E ST       GLIWICE POLAND (REP)
HENKEL KOREA LTD AUTOMOTIVE   303 1 SADONG RI TAEWOL MYON      KYONGGI DO                                          INCHON 467 850 KOREA (REP)

HENKEL LOCTITE CORP           1001 TROUT BROOK XING                                                                                             ROCKY HILL        CT   06067‐3582
HENKEL LOCTITE CORP           18731 CRANWOOD PKWY                                                                                               CLEVELAND         OH   44128‐4037
HENKEL LOCTITE CORPORATION    PO BOX 101523                                                                                                     ATLANTA           GA   30392‐1523
HENKEL SURFACE/MAD H          32100 STEPHENSON HWY             HENKEL CORPORATION                                                               MADISON HEIGHTS   MI   48071‐5514

HENKEL SURFACE/WARR           23343 SHERWOOD AVE                                                                                                WARREN            MI   48091‐5362
HENKEL TECHNOLOGIES           420 W MARQUETTE AVE                                                                                               OAK CREEK         WI   53154‐2039
HENKEL, ALICE S               500 CORONADO DR                                                                                                   LOMPOC            CA   93436‐6317
HENKEL, CAROL A               1330 S MILLER RD                                                                                                  SAGINAW           MI   48609‐9587
HENKEL, CHARLES J             20871 BEAL ST                                                                                                     HARRAH            OK   73045‐9748
HENKEL, CHRISTINE M           1216 MEMORIAL DR                                                                                                  STURGEON BAY      WI   54235‐1533
HENKEL, ELEANOR M             733 OXFORD DR                                                                                                     HARTLAND          WI   53029‐2521
HENKEL, FREDERICK E           412 GLACIER AVE                                                                                                   FAIRBANKS         AK   99701‐3723
HENKEL, GEORGE W              11278 SW 73RD CIRCLE                                                                                              OCALA             FL   34476‐8976
HENKEL, GERALD E              1131 SOUTH ST                                                                                                     CARLYLE           IL   62231‐2100
HENKEL, HARRY D               238 PLEASANT HILL DR                                                                                              DAYTON            OH   45459‐4608
HENKEL, JAMES E               15152 ADAMS CT                                                                                                    LIVONIA           MI   48154‐4765
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Name                              Address1                         Address2                         Address3   Address4                 City            State   Zip
HENKEL, KARL P                    2415 MARQUETTE CIRCLE SOUTH DR                                                                        INDIANAPOLIS     IN     46268‐3807
HENKEL, LARRIE R                  1412 SOUTHWICK DR                                                                                     TECUMSEH         MI     49286‐1636
HENKEL, REGINALD D                6105 S 31ST ST APT 3                                                                                  GREENFIELD       WI     53221‐4778
HENKEL, ROBERT N                  PO BOX 198                                                                                            GAS CITY         IN     46933‐0198
HENKEL, ROY A                     3852 MARIETTA DR                                                                                      SAINT LOUIS      MO     63121‐4810
HENKEL, SHARON                    15152 ADAMS CT                                                                                        LIVONIA          MI     48154‐4765
HENKEL, WILMA                     12510 THOMPSON RD                                                                                     FAIRFAX          VA     22033‐1608
HENKELS & MC COY                  985 JOLLY RD                                                                                          BLUE BELL        PA     19422‐1903
HENKEMEIER, ARNOLD W              9524 SE 72ND AVE                                                                                      OCALA            FL     34472‐3473
HENKEN, FERDINAND C               4316 CLARENDON DR                                                                                     DAYTON           OH     45440‐1210
HENKHAUS VICTOR E (451343)        SIMMONS FIRM                     PO BOX 559                                                           WOOD RIVER        IL    62095‐0559
HENKHAUS, VICTOR E                SIMMONS FIRM                     PO BOX 559                                                           WOOD RIVER        IL    62095‐0559
HENKIN ALVIN A                    C/O GOLDBERG PERSKY & WHITE PC   1030 FIFTH AVENUE                                                    PITTSBURGH       PA     15219
HENKIN ALVIN ALEXANDER (148650)   PFEIFER & FABIAN P.C.            326 SAINT PAUL ST STE 100                                            BALTIMORE        MD     21202‐2111
HENKIN, ALVIN ALEXANDER           PFEIFER & FABIAN P.C.            326 SAINT PAUL ST STE 100                                            BALTIMORE        MD     21202‐2111
HENKLE, BRENT                     122 TYNE DR                                                                                           FRANKLIN         TN     37064‐0761
HENKLE, ROBERT E                  6676 MACKENZIE RD                                                                                     NORTH OLMSTED    OH     44070‐4916
HENKLE/OAK CREEK                  500 W MARQUETTE AVE                                                                                   OAK CREEK        WI     53154‐2042
HENKLES & MCCOY                                                    985 JOLLY RD                                                                          PA     19422
HENLEY EADS                       6033 HUGH ST                                                                                          BURTON           MI     48509‐1621
HENLEY GROUP INC, THE             3970 JOHNS CREEK CT STE 500                                                                           SUWANEE          GA     30024‐1297
HENLEY HELEN R                    664 BATLEY RD                                                                                         CLINTON          TN     37716‐5025
HENLEY JOSEPH W (191194)          BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG , 233 EAST                                       JACKSONVILLE     FL     32202
                                  MCCLAMMA & YEGELWEL P.A.         BAY STREET
HENLEY JR, JAMES                  91‐1110 KAILEOLEA DR                                                                                  EWA BEACH       HI      96706
HENLEY JR, JAMES                  PO BOX 6183                                                                                           GRAND RAPIDS    MI      49516‐6183
HENLEY JR, WILLIE                 10034 WINDZAG LN                                                                                      CINCINNATI      OH      45242‐5823
HENLEY LOTTERHOS & HENLEY         PO BOX 389                                                                                            JACKSON         MS      39205‐0389
HENLEY LOTTERHOS & HENLEY PLLC    PO BOX 389                                                                                            JACKSON         MS      39205‐0389
HENLEY PUBLISHING LTD             2ND FL TRANS‐WORLD HOUSE         100 CITY RD LONDON EC1Y 2BP                 ENGLAND GREAT BRITAIN
HENLEY SR, ELMER                  2174 LOREE RD                                                                                         APPLEGATE       MI      48401‐9641
HENLEY, AMEE R                    983 SHEP COOK AVE                                                                                     FORKLAND        AL      36740‐3248
HENLEY, ANNIE K                   2336 LEDYARD ST                                                                                       SAGINAW         MI      48601‐2445
HENLEY, AUBREY M                  1507 NE CRAIGIEVAR CT                                                                                 BLUE SPRINGS    MO      64014‐6540
HENLEY, BARBARA I                 P O BOX 1014                                                                                          MABINSONVILLE   TN      37354‐5014
HENLEY, BARBARA I                 PO BOX 1014                                                                                           MADISONVILLE    TN      37354‐5014
HENLEY, BERNADETTE MARIE          23687 SARGENT AVENUE                                                                                  SOUTHFIELD      MI      48033‐4151
HENLEY, BETTY J                   2009 SOUTH HARTFORD AVENUE                                                                            BOLIVAR         MO      65613‐3514
HENLEY, BETTY J                   2009 S HARTFORD AVE                                                                                   BOLIVAR         MO      65613‐3514
HENLEY, BOB J                     PO BOX 750                                                                                            HAYWARD         WI      54843‐0750
HENLEY, BOBBY G                   377 OLD MIDDLESBORO HWY                                                                               LA FOLLETTE     TN      37766‐7221
HENLEY, BRENDA D                  GENERAL DELIVERY                                                                                      BAGDAD          FL      32530‐9999
HENLEY, CAROL J                   840 HAWK RUN TRL                                                                                      O FALLON        MO      63368‐8189
HENLEY, CHARLES R                 2119 N WATT AVE                                                                                       MUNCIE          IN      47303‐2528
HENLEY, CHARLIE E                 PO BOX 355                                                                                            CROSBY          MS      39633‐0355
HENLEY, CHARLIE EDWARD            PO BOX 355                                                                                            CROSBY          MS      39633‐0355
HENLEY, DAISY V                   665 RANVEEN ST                                                                                        WHITE LAKE      MI      48386‐2859
HENLEY, DANIEL L                  444 TIGER LILY WAY                                                                                    HENDERSON       NV      89015
HENLEY, DARRELL P                 115 W MAIN ST                                                                                         MOORESVILLE     IN      46158‐1668
HENLEY, DAVID A                   2500 RIDGEWOOD DR                                                                                     HOWELL          MI      48843‐6985
HENLEY, DAVID A                   504 CHANDLER ST APT 204                                                                               HOWELL          MI      48855‐6850
HENLEY, DAWN M                    1113 PETTIBONE AVE                                                                                    FLINT           MI      48507‐4812
HENLEY, DAWN MARIE                1113 PETTIBONE AVE                                                                                    FLINT           MI      48507‐4812
HENLEY, DENNIS T                  24765 PAMELA ST                                                                                       FLAT ROCK       MI      48134‐9202
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Name                       Address1                           Address2                        Address3   Address4               City               State   Zip
HENLEY, DONALD L           556 LINN RD                                                                                          WILLIAMSTON         MI     48895‐9360
HENLEY, DWIGHT M           1655 PYLE DR APT 1B                                                                                  KINGSFORD           MI     49802‐1129
HENLEY, FREDERICK L        1502 WESTGATE DR                                                                                     DEFIANCE            OH     43512‐3253
HENLEY, GLADYS             20402 WISCONSIN                                                                                      DETROIT             MI     48221‐1134
HENLEY, GWENDOLYN F        7736 WATERFORD LAKES DR APT 1422                                                                     CHARLOTTE           NC     28210‐0154
HENLEY, GWENDOLYN FAYE     7736 WATERFORD LAKES DR APT 1422                                                                     CHARLOTTE           NC     28210‐0154
HENLEY, HELEN R            664 BATLEY RD                                                                                        CLINTON             TN     37716‐5025
HENLEY, HERMAN             1418 W GRAND AVE                                                                                     DAYTON              OH     45402‐6057
HENLEY, JAMES              2336 LEDYARD ST                                                                                      SAGINAW             MI     48601‐2445
HENLEY, JAMES              3914 MILBOURNE AVE                                                                                   FLINT               MI     48504‐3551
HENLEY, JAMES E            1422 JONES CREEK RD                                                                                  DICKSON             TN     37055‐6030
HENLEY, JAMES E            28873 CHERRYWOOD                                                                                     FLAT ROCK           MI     48134‐9678
HENLEY, JAMES T            28929 BUCHANAN DR                                                                                    BAY VILLAGE         OH     44140
HENLEY, JAMES T            399 SE 228TH ST                                                                                      PLATTSBURG          MO     64477‐1293
HENLEY, JEANNETTE E        72 ROOSEVELT DR.,                                                                                    LOCKPORT            NY     14094
HENLEY, JIMMIE             15460 SW 146TH TER                                                                                   MIAMI               FL     33196‐4628
HENLEY, JOAN               1589 HWY 21                                                                                          ARKDALE             WI     54613
HENLEY, JOAN E.            627 W. ORANGE GROVE AVE.                                                                             POMONA              CA     91768‐2443
HENLEY, JOANNE L           3357 MC CONNELL                                                                                      ORION               MI     48359‐1142
HENLEY, JOANNE L           3357 MCCONNELL ST                                                                                    ORION               MI     48359‐1142
HENLEY, JOHN C             2174 LOREE RD                                                                                        APPLEGATE           MI     48401‐9641
HENLEY, JOHN L             1903 SE BROAD ST                                                                                     MURFREESBORO        TN     37130‐5992
HENLEY, JOHN R             6755 CASTLETON DR                                                                                    GRAND LEDGE         MI     48837‐8741
HENLEY, JOHNNIE M          14750 RUTLAND ST                                                                                     DETROIT             MI     48227
HENLEY, JOSEPH             BROWN TERRELL HOGAN ELLIS          804 BLACKSTONE BLDG, 233 EAST                                     JACKSONVILLE        FL     32202
                           MCCLAMMA & YEGELWEL P.A.           BAY STREET
HENLEY, JOSEPH A           8004 BIRCHWOOD DR                                                                                    PLEASANT VALLEY    MO      64068‐7812
HENLEY, KATHERINE M        4901 WALNUT SQUARE BLVD            BUILDING 11                                                       FLINT              MI      48532
HENLEY, KENNETH R          1455 DUCK CREEK LN                                                                                   ORTONVILLE         MI      48462‐8410
HENLEY, KRISHONDA DENISE   2720 TRUMBULL AVE                                                                                    FLINT              MI      48504‐2729
HENLEY, LINDA A            3149 RIVER OAK RD                                                                                    DECATUR            GA      30034‐6966
HENLEY, MABEL S            PO BOX 176                         C/O KAREN M TURNER                                                LUMBERTON          NJ      08048‐0176
HENLEY, MABEL S            C/O KAREN M TURNER                 P O BOX 176                                                       LUMBERTON          NJ      08048
HENLEY, MARILYN M          2975 AGREE AVE                                                                                       FLINT              MI      48506‐2437
HENLEY, MARTHA J           16597 S RAUCHOLZ RD                                                                                  OAKLEY             MI      48649‐9765
HENLEY, MICHAEL B          14932 SENATOR WAY                                                                                    CARMEL             IN      46032‐5111
HENLEY, PAUL R             2795 HUNTERS BLF                                                                                     BLOOMFIELD HILLS   MI      48304‐1826
HENLEY, RJ                 GUY WILLIAM S                      PO BOX 509                                                        MCCOMB             MS      39649‐0509
HENLEY, ROBERT F           72 ROOSEVELT DR                                                                                      LOCKPORT           NY      14094‐5134
HENLEY, ROBERT J           4328 S WASHINGTON RD                                                                                 SAGINAW            MI      48601‐5165
HENLEY, RONALD M           4865 40TH WAY S                                                                                      LAKE WORTH         FL      33461‐5301
HENLEY, RONALD W           706 PINE ST                                                                                          SWEET SPRINGS      MO      65351‐1422
HENLEY, SAMMY
HENLEY, SAMMY L            2882 OAKVALE FALLS DR                                                                                DECATUR             GA     30034‐6927
HENLEY, SHELIA CROWE       HARE WYNN NEWELL AND NEWTON LLP    2025 3RD AVE N STE 800                                            BIRMINGHAM          AL     35203‐3378

HENLEY, SHIRLONA E         1551 NW 19TH ST APT 2215                                                                             GRAND PRAIRIE      TX      75050‐7026
HENLEY, SHIRLONA E.        1551 NW 19TH ST APT 2215                                                                             GRAND PRAIRIE      TX      75050‐7026
HENLEY, SUZANNE P          3511 48TH ST                                                                                         LUBBOCK            TX      79413‐4010
HENLEY, TIMOTHY R          231 COUNTY ROAD 6                                                                                    BELMONT            MS      38827‐9747
HENLEY, WAYNE T            1402 RICHARD DR                                                                                      CAHOKIA            IL      62206‐2550
HENLEY, WILLIE T           14750 RUTLAND ST                                                                                     DETROIT            MI      48227‐4404
HENLIN, ANNIE I            1845 SOUTHEAST 1ST TERRACES                                                                          CAPE CORAL         FL      33990
HENLINE, JOSHUA J          1327 CREEK BEND CT                                                                                   ROSSFORD           OH      43460‐1639
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Name                                 Address1                        Address2                      Address3   Address4               City           State   Zip
HENLINE, KEVIN L                     2461 NEWTON TOMLINSON RD                                                                        NEWTON FALLS    OH     44444‐9725
HENLINE, TERRY R                     4838 LAKESHORE RD                                                                               FORT GRATIOT    MI     48059‐3538
HENLINE, TRENT A                     2842 GIBSONBURG RD                                                                              BRADNER         OH     43406‐9821
HENLY HUMPHREY                       310 E MONROE ST                                                                                 ALEXANDRIA      IN     46001‐1404
HENMAN, HARRY R                      3110 W PETTY RD                                                                                 MUNCIE          IN     47304‐3266
HENMAN, HAZEL                        24956 BOWMAN RD                                                                                 DEFIANCE        OH     43512‐8994
HENMAN, THOMAS                       701 N BITTERSWEET LN                                                                            MUNCIE          IN     47304‐3754
HENN ALOYSIUS NICHOLAS (ESTATE OF)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA     23510
(472066)                                                             STREET, SUITE 600
HENN RONALD & BARBARA                8292 TOD AVE SW                                                                                 WARREN         OH      44481‐8637
HENN WORKSHOPS                       ATTN: GERALD E HENN             1001 COUNTRY WAY SW                                             WARREN         OH      44481‐9699
HENN, ALOYSIUS NICHOLAS              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA      23510‐2212
                                                                     STREET, SUITE 600
HENN, HELMUT                         606 BROAD AVE                                                                                   MANISTEE       MI      49660‐2802
HENN, JOAN M                         15401 TINDLAY ST                                                                                COLESVILLE     MD      20905‐4149
HENN, JOHN P                         9775 BLOOMHILL DR                                                                               HOLLY          MI      48442‐8575
HENN, KARL M                         1587 3 LAKES DR                                                                                 TROY           MI      48085‐1429
HENN, PATRICIA L                     144 CLIFF ST                                                                                    DAYTON         OH      45405‐2806
HENN, RAYMOND L                      2782 FIELDS AVE                                                                                 KETTERING      OH      45420‐3400
HENN, RAYMOND LOUIS                  2782 FIELDS AVE                                                                                 KETTERING      OH      45420‐3400
HENN, RICHARD L                      117 GOLDENROD DRIVE                                                                             EATON          OH      45320‐5320
HENN, ROBERT W                       125 SHEPARD ST                                                                                  NEW CARLISLE   OH      45344‐2915
HENN, THOMAS J                       PO BOX 63                                                                                       MOHAWK         TN      37810‐0063
HENN, WILLIAM A                      125 SHEPARD ST                                                                                  NEW CARLISLE   OH      45344‐2915
HENNA CHEVROLET                      8805 N INTERSTATE 35                                                                            AUSTIN         TX      78753‐5249
HENNA CHEVROLET, L.P.                                                                                                                AUSTIN         TX      78753‐8761
HENNA CHEVROLET, L.P.                LOUIS HENNA                     8805 N INTERSTATE 35                                            AUSTIN         TX      78753‐5249
HENNA CHEVROLET, L.P.                8805 N INTERSTATE 35                                                                            AUSTIN         TX      78753‐5249
HENNA CHEVROLET, L.P.                8805 IH‐35 N                                                                                    AUSTIN         TX      78744
HENNA CHEVROLET‐GEO‐OLDSMOBILE LLC   LOUIS HENNA                     3625 RICHLAND AVE W                                             AIKEN          SC      29801‐6313

HENNA CHEVROLET‐OLDSMOBILE‐          3625 RICHLAND AVE W                                                                             AIKEN           SC     29801‐6313
CADILLAC
HENNA CHEVROLET‐OLDSMOBILE‐          LOUIS HENNA                     3625 RICHLAND AVE W                                             AIKEN           SC     29801‐6313
CADILLAC, LLC
HENNA CHEVROLET‐OLDSMOBILE‐          3625 RICHLAND AVE W                                                                             AIKEN           SC     29801‐6313
CADILLAC, LLC
HENNAGIR, DONALD R                   11420 FAIRBANKS RD                                                                              LINDEN          MI     48451‐9426
HENNAGIR, LARRIE L                   G 1147 TEMPLE                                                                                   MOUNT MORRIS    MI     48458
HENNAGIR, LEE H                      3316 WINDLAND DR                                                                                FLINT           MI     48504‐1720
HENNAGIR, MICHAEL G                  G5225 LAPEER RD                                                                                 BURTON          MI     48509
HENNAGIR, TIM A                      6504 LAPEER RD                                                                                  BURTON          MI     48509‐2426
HENNAGIR, TIM ALDEN                  6504 LAPEER RD                                                                                  BURTON          MI     48509‐2426
HENNAGIR, VERNA H                    11255 N CENTER RD                                                                               CLIO            MI     48420‐9750
HENNAHAN, RHODA M                    2009 CARDIFF RD APT 10                                                                          SCHENECTADY     NY     12303‐3004
HENNARICHS, DONALD E                 N8708 THRUSH RD                                                                                 CRIVITZ         WI     54114‐8608
HENNARICHS, GERALD T                 1633 N PROSPECT AVE UNIT 4E                                                                     MILWAUKEE       WI     53202‐2478
HENNASEY, JACK K                     16791 NC‐32NORTH                                                                                PINETOWN        NC     27865
HENNE, CHRISTOPHER J                 6504 TOPAZ DR                                                                                   ARLINGTON       TX     76001‐7461
HENNE, CHRISTOPHER JOHN              6504 TOPAZ DR                                                                                   ARLINGTON       TX     76001‐7461
HENNE, DANNY W                       3917 S HARTFORD DR                                                                              SAGINAW         MI     48603‐7243
HENNE, DOUGLAS W                     8101 SAWGRASS TRL 14                                                                            GRAND BLANC     MI     48439
HENNE, JOHN E                        1405 SUNCREST CT                                                                                ARLINGTON       TX     76002‐3576
HENNE, JOHN G                        RM 3‐220 GM BLDG                DELPHI JAPAN                                                    DETROIT         MI     48202
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Name                                 Address1                            Address2                        Address3        Address4               City            State   Zip
HENNE, JOHN J                        2584 JULIANNE DR                                                                                           SAGINAW          MI     48603‐3029
HENNE, LEONARD A                     9177 E. COUNTY RD.                  450 NORTH                                                              MATTOON           IL    61938
HENNE, RANDY M                       392 COLORADO RIDGE DR                                                                                      HEMLOCK          MI     48626‐9376
HENNE, RICHARD D                     9300 PINEAPPLE RD                                                                                          FORT MYERS       FL     33967‐4805
HENNE, RICHARD DUANE                 9300 PINEAPPLE RD                                                                                          FORT MYERS       FL     33957‐4805
HENNE, RICHARD J                     33 GARDEN GATE RD                                                                                          SOUTHINGTON      CT     06489‐1719
HENNE, RUTH E                        1350 WOODBOURNE RD APT B32                                                                                 LEVITTOWN        PA     19057‐1207
HENNE, WALTER W                      16845 STRICKER AVE                                                                                         EASTPOINTE       MI     48021‐4506
HENNE, WILMA                         859 S. LACKIE ROAD                                                                                         BAD AXE          MI     48413‐8549
HENNE, WILMA                         PO BOX 235                                                                                                 BAD AXE          MI     48413‐0235
HENNEBERRY BUICK‐OLDS                244 STONEHEDGE LN                                                                                          ROCKFORD          IL    61107‐2955
HENNEBERRY MOTORS                    WILLIAM HENNEBERRY                  244 STONEHEDGE LN                                                      ROCKFORD          IL    61107‐2955
HENNEBERRY, ANITA D                  7129 DRIFTWOOD DR                                                                                          FENTON           MI     48430‐4320
HENNEBERRY, BRIAN E                  7129 DRIFTWOOD DR                                                                                          FENTON           MI     48430‐4320
HENNEBERRY, PHIL J                   5298 S LAKESHORE DR                                                                                        LUDINGTON        MI     49431‐9751
HENNEBOHL, ALICE M                   PO BOX 84                                                                                                  GASPORT          NY     14067‐0084
HENNEBOHLE JAMES                     8380 52ND LN                                                                                               PINELLAS PARK    FL     33781‐1516
HENNEBRY, ROSARITA A                 503 SINGER AVE                                                                                             LEMONT            IL    60439‐3816
HENNECKE, RONALD D                   8374 LUSTER DR                                                                                             WEST CHESTER     OH     45069‐3436
HENNEFER JACKSON                     HENNEFER, JACKSON                   STATE FARM                      PO BOX 339408                          GREELEY          CO     80633
HENNEFER, JACKSON                    STATE FARM                          PO BOX 339408                                                          GREELEY          CO     80633‐9408
HENNEFER, JACKSON
HENNEGAN, SEAN P                     9111 HENNEPIN AVE                                                                                          NIAGARA FALLS    NY     14304‐4475
HENNEGAN, WILBERT                    575 WYOMING AVE                                                                                            BUFFALO          NY     14215‐2635
HENNEKE, JOHN H                      GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                           SAGINAW          MI     48604‐2602
                                                                         260
HENNEKE, MCKONE, FRAIM & DAWES, P.C. ATTN: SCOTT R. FRAIM, ESQ.          2377 S LINDEN RD STE B                                                 FLINT            MI     48532‐5430

HENNEKE, MCKONE, FRAIM & DAWES, PC   SCOTT R. FRAIM, ESQ.                2377 S LINDEN RD STE B                                                 FLINT            MI     48532‐5430

HENNELLS SHIRLEY                     5890 SHIRLEY ST                                                                                            NAPLES          FL      34109‐1816
HENNELLS, RANDY L                    17091 MICHAEL CT                                                                                           MACOMB          MI      48044‐5593
HENNELLY, ROSEMARY M                 3016 BAYLAND DR                                                                                            OCEAN CITY      NJ      08226‐2121
HENNEMAN, RICHARD C                  4846 DEER CROSS TRL                                                                                        CHARLOTTE       NC      28269‐0416
HENNEMANN, CHARLES H                 3869 MAPLELEAF RD                                                                                          WATERFORD       MI      48328‐4056
HENNEMUTH, OMA L                     6145 N WAVERLY ST                                                                                          DEARBORN HTS    MI      48127‐3228
HENNEN, GERALDINE D                  1401 W 47TH AVE                                                                                            ANCHORAGE       AK      99503‐6921
HENNEN, JANICE C                     12243 WOODSIDE DR APT 2                                                                                    GRAND BLANC     MI      48439‐1697
HENNEN, JERRY R                      2627 CRESTWOOD DR NW                                                                                       WARREN          OH      44485‐4485
HENNEPIN COUNTY PUBLIC WORKS         626 S. 7TH STREET                                                                                          MINNEAPOLIS     MN      55415
HENNEPIN COUNTY PUBLIC WORKS         1600 PRAIRIE DR                                                                                            HAMEL           MN      55340‐5421
HENNEPIN COUNTY TREASURER            FINANCIAL MGMT & ACCOUNTING         417 N 5TH ST STE 310                                                   MINNEAPOLIS     MN      55401‐3207
HENNEPIN TECHNICAL COLLEGE           EDEN PRAIRIE CAMPUS                 13100 COLLEGEVIEW RD                                                   EDEN PRAIRIE    MN      55347‐3075
HENNER, JOSEPH M                     11399 CORAZON CT                                                                                           BOYNTON BEACH   FL      33437‐4061
HENNES RICHARD (445172)              BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD      OH      44067
                                                                         PROFESSIONAL BLDG
HENNES, RICHARD                      BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                           NORTHFIELD      OH      44067
                                                                         PROFESSIONAL BLDG
HENNESSEE TRUCK LINES INC            PO BOX 459                                                                                                 VERMILION       OH      44089‐0459
HENNESSEE, DONALD L                  4544 EL REPOSO DR                                                                                          LOS ANGELES     CA      90065‐5203
HENNESSEE, DONALD L                  703 E ALBERT AVE                                                                                           INDEPENDENCE    MO      64055
HENNESSEE, DOROTHY M                 6335 STATE HIGHWAY 59                                                                                      JOES            CO      80822‐9505
HENNESSEE, J D                       PO BOX 7551                                                                                                MC MINNVILLE    TN      37111‐7551
HENNESSEE, MAURICE D                 8488 N WEBSTER RD                                                                                          CLIO            MI      48420‐8553
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Name                          Address1                          Address2              Address3       Address4               City               State   Zip
HENNESSEE, MELVIN P           14688 SE 47TH CT                                                                              SUMMERFIELD         FL     34491‐4000
HENNESSEE, ROBERT G           6335 STATE HIGHWAY 59                                                                         JOES                CO     80822‐9505
HENNESSEE, WALTER L           328 HARTMAN CIR                                                                               DUNLAP              TN     37327‐3624
HENNESSEY CAPITAL
HENNESSEY CAPITAL LLC         PO BOX 13189                                                                                  LANSING             MI     48901‐3189
HENNESSEY CAPITAL LLC         630 S CHESTNUT ST                                                                             OWOSSO              MI     48867‐3312
HENNESSEY CAPITAL LLC         5700 CROOKS RD STE 207                                                                        TROY                MI     48098‐2809
HENNESSEY CAPITAL LLC         7883 JACKSON RD                                                                               ANN ARBOR           MI     48103‐9568
HENNESSEY CAPITAL LLC         32100 GROESBECK HWY                                                                           FRASER              MI     48026‐3144
HENNESSEY CAPITAL LLC         2004 BEECH DALY RD                                                                            INKSTER             MI     48141‐2449
HENNESSEY CAPITAL LLC         5096 1\2 CANAL RD                                                                             DIMONDALE           MI     48821
HENNESSEY CAPITAL LLC         24700 CAPITAL BLVD                                                                            CLINTON TOWNSHIP    MI     48036‐1350

HENNESSEY CAPITAL LLP         3495 HACK RD                                                                                  SAGINAW            MI      48601‐9244
HENNESSEY CAPITAL SOLUTIONS   HENNESSEY CAPITAL FUNDING CORP    8350 SILVER LAKE RD                                         LINDEN             MI      48451‐9061
HENNESSEY CAPITAL SOLUTIONS   HENNESSEY CAPITAL FUNDING CORP    PO BOX 13189                                                LANSING            MI      48901
HENNESSEY CAPITAL SOLUTIONS   GECGEN LLC                        421 W ALAMEDA DR                                            TEMPE              AZ      85282‐2045
HENNESSEY, DEBRA S            3011 SHERWOOD LN                                                                              BAY CITY           MI      48706‐1261
HENNESSEY, ELEANOR L          5712 HICKORY DR                                                                               FORT PIERCE        FL      34982‐7598
HENNESSEY, JAMES D            271 POKAGON DR                                                                                CARMEL             IN      46032‐9404
HENNESSEY, KENNETH J          4215 SHELLER AVE                                                                              KETTERING          OH      45432‐1536
HENNESSEY, KENNETH JOSEPH     4215 SHELLER AVE                                                                              KETTERING          OH      45432‐1536
HENNESSEY, NOEL               55097 BELLE ROSE DR                                                                           SHELBY TWP         MI      48316‐5203
HENNESSEY, NORMAN P           2187 ALFRED DR                                                                                TROY               MI      48085‐1021
HENNESSEY, RICHARD P          6026 VEREKER DR                                                                               OXFORD             OH      45056‐1539
HENNESSEY, SANDRA D           10102 JENNINGS RD                                                                             GRAND BLANC        MI      48439‐9322
HENNESSEY, WILLIAM D          4580 HILL ST APT 4                                                                            CASS CITY          MI      48726‐1159
HENNESSY CADILLAC             3377 SATELLITE BLVD                                                                           DULUTH             GA      30096‐4642
HENNESSY CADILLAC, INC.       MARK HENNESSY                     3377 SATELLITE BLVD                                         DULUTH             GA      30096‐4642
HENNESSY CADILLAC, INC.       STEPHEN HENNESSY                  7261 JONESBORO RD                                           MORROW             GA      30260‐2910
HENNESSY I V, MICHAEL F       6400 BLOSSOM PARK DR                                                                          W CARROLLTON       OH      45449‐3023
HENNESSY INDUSTRIES INC       759 HENNESSY WAY                                                                              BOWLING GREEN      KY      42101‐9171
HENNESSY INDUSTRIES INC       1601 JP HENNESSY DR                                                                           LA VERGNE          TN      37086‐3524
HENNESSY IV, MICHAEL F        6400 BLOSSOM PARK DR                                                                          W CARROLLTON       OH      45449‐3023
HENNESSY JEFFREY              HENNESSY, JEFFREY                 30867 KILGOUR DR                                            WESTLAKE           OH      44145‐6834
HENNESSY JR, JOHN E           56 W FOREST DR                                                                                ROCHESTER          NY      14624‐3754
HENNESSY PONTIAC‐BUICK‐GMC    7261 JONESBORO RD                                                                             MORROW             GA      30260‐2910
HENNESSY, ALICE E             2534 EDGEMERE ST                                                                              COMMERCE TWP       MI      48382‐3523
HENNESSY, BARBARA H           181 OVERLAND TRL                  CARRIGAGE HILL                                              NORTH FORT MYERS   FL      33917‐3064

HENNESSY, BERNARD W           6493 WAILEA DR                                                                                GRAND BLANC         MI     48439‐8583
HENNESSY, BERNARD WALTER      6493 WAILEA DR                                                                                GRAND BLANC         MI     48439‐8583
HENNESSY, DANIEL T            7332 CARLYLE XING                                                                             WEST BLOOMFIELD     MI     48322

HENNESSY, DOROTHY B           7332 CARLYLE XING                                                                             WEST BLOOMFIELD     MI     48322‐3282

HENNESSY, GAYE G              1703 TRENDWEST DR                                                                             HOUSTON             TX     77084‐4867
HENNESSY, GEORGE W            3267 DICK WILSON DR                                                                           SARASOTA            FL     34240‐8739
HENNESSY, JANICE C            1171 WHITTIER AVENUE                                                                          BENSALEM            PA     19020
HENNESSY, JANICE C            805 CENTRAL AVE                                                                               CROYDON             PA     19021
HENNESSY, JOHN B              41 NEUMANN PKWY                                                                               KENMORE             NY     14223‐1428
HENNESSY, JOHN D              69 WILLOWGROVE CT                                                                             TONAWANDA           NY     14150‐4522
HENNESSY, JOHN W              30 RANSOM AVE                                                                                 MASSENA             NY     13662‐1735
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Name                       Address1                      Address2                        Address3   Address4               City              State Zip
HENNESSY, JULIE M          4477 WOODCLIFF CT                                                                               OAKLAND            MI 48306‐4718
                                                                                                                           TOWNSHIP
HENNESSY, MARTHA A         9308 HARVARD ST                                                                                 BELLFLOWER        CA   90706‐4425
HENNESSY, MATTHEW T        17611 SPRINGWINDS DR                                                                            CORNELIUS         NC   28031
HENNESSY, MELISSA          150 MULBERRY LN                                                                                 MONACA            PA   15061‐2544
HENNESSY, MICHAEL G        175 LORELEE DR                                                                                  TONAWANDA         NY   14150‐4326
HENNESSY, MICHAEL GERARD   175 LORELEE DR                                                                                  TONAWANDA         NY   14150‐4326
HENNESSY, MICHAEL J        1061 W WHITTLERS LN                                                                             ONTARIO           CA   91762‐6705
HENNESSY, MICHAEL J.       1061 W WHITTLERS LN                                                                             ONTARIO           CA   91762‐6705
HENNESSY, PETER            1171 WHITTIER AVE                                                                               ANDALUSIA         PA   19020‐5646
HENNESSY, PHYLLIS E        802 WHISPERWOOD DR                                                                              FENTON            MI   48430‐2277
HENNESSY, RICHARD C        7176 SPRINGRIDGE RD                                                                             W BLOOMFIELD      MI   48322‐4158
HENNESSY, ROBERT           455 COKESBURY DR                                                                                THE VILLAGES      FL   32162
HENNESSY, ROBERT J         150 JENELL DR                                                                                   GRAND ISLAND      NY   14072‐2662
HENNESSY, SUZANNE K        1522 LA VISTA DEL OCEANO                                                                        SANTA BARBARA     CA   93109‐1739
HENNESSY, VALARI J         4044 SAINT ANDREWS CT APT 5                                                                     CANFIELD          OH   44406‐9078
HENNESSY, VALERIE J        3657 FERDINAND RD                                                                               YOUNGSTOWN        OH   44511‐2645
HENNESSY, WILLIAM P        602 HALL AVE                                                                                    ALIQUIPPA         PA   15001‐1117
HENNESSY/LAVERGNE          1601 JP HENNESSY DR                                                                             LA VERGNE         TN   37086‐3524
HENNESY, HARRY M           910 POTOMAC AVE                                                                                 HAGERSTOWN        MD   21742‐3926
HENNESY, LEONARD           GUY WILLIAM S                 PO BOX 509                                                        MCCOMB            MS   39649‐0509
HENNEY TRANSPORT INC       2600 OLDS RD                                                                                    LESLIE            MI   49251‐9718
HENNEY, BRIAN L            9023 W GRAND LEDGE HWY                                                                          SUNFIELD          MI   48890‐9038
HENNEY, CHRISTINE I        600 W VERMONTVILLE HWY                                                                          POTTERVILLE       MI   48876‐9764
HENNEY, DIANE M            615 6TH AVE                                                                                     LAKE ODESSA       MI   48849
HENNEY, DWIGHT A           4570 W 1100 S                                                                                   PENDLETON         IN   46064
HENNEY, GORDON H           10834 DAVENPORT RD                                                                              WOODLAND          MI   48897‐9737
HENNEY, KYLE               26242 Q DR N                                                                                    ALBION            MI   49224‐9542
HENNEY, LAWRENCE W         6526 W STOLL RD                                                                                 LANSING           MI   48906‐9319
HENNEY, ROBERT E           3141 CHRISTINE LN                                                                               OREGON            OH   43616‐3354
HENNEY, WAYNE D            1440 BRIARSON DR                                                                                SAGINAW           MI   48638‐5473
HENNEY, WESLEY E           1435 SPAINWOOD ST                                                                               COLUMBIA          TN   38401‐5245
HENNEY‐HORN, TERESA        602 DUTCH HILL DR                                                                               LANSING           MI   48917‐3457
HENNIE, A L                810 S BALLENGER HWY APT 22                                                                      FLINT             MI   48532
HENNIE, PATRICIA L         1413 LAKE FOREST DR                                                                             FLINT             MI   48504‐1916
HENNIE, PATRICIA M         1101 DOGWOOD MEADOWS DR SE                                                                      ADA               MI   49301‐9410
HENNIE, TYRONE             822 PALMER DR                                                                                   PONTIAC           MI   48342‐1858
HENNIG INC                 9900 N ALPINE RD                                                                                MACHESNEY PARK    IL   61115‐8211
HENNIG, CARL C             5308 WESTHAVEN DR                                                                               FORT WORTH        TX   76132‐2004
HENNIG, CATHERINE D        123 MELROSE DR                                                                                  DESTREHAN         LA   70047‐2117
HENNIG, CLAIRE E           5 PITMAN AVE                                                                                    OCEAN GROVE       NJ   07756‐1622
HENNIG, EARL A             PO BOX 624                                                                                      BELLAIRE          MI   49615‐0624
HENNIG, EARL A             47580 CHERYL CT                                                                                 SHELBY TOWNSHIP   MI   48315‐4706
HENNIG, ELAINE L           4455 N VERITY RD                                                                                SANFORD           MI   48657
HENNIG, GLENN H            227 CRAWFORD ST                                                                                 BILOXI            MS   39530‐4530
HENNIG, HANNELORE          12253 WOODIEBROOK RD                                                                            CHARDON           OH   44024‐9052
HENNIG, LOLA A             W7270 PUCKAWAY RD             LOT 45                                                            MARKESAN          WI   53946
HENNIG, LOLA A             W7270 PUCKAWAY RD LOT 45                                                                        MARKESAN          WI   53946‐7951
HENNIG, MARISOL IRENE      124 RUMSEY AVE                                                                                  LANSING           MI   48912‐2831
HENNIG, MARY R             PO BOX 624                                                                                      BELLAIRE          MI   49615‐0624
HENNIGAN KATHERINE A &     DANIEL LESLIE                 2202 ASHTON DRIVE                                                 ROSEVILLE         CA   95747‐8814
HENNIGAN ROY D (445173)    KELLEY & FERRARO LLP          1300 EAST NINTH STREET , 1901                                     CLEVELAND         OH   44114
                                                         BOND COURT BUILDING
HENNIGAN, ELSIE I          12725 WEST BOCA RATON ROAD                                                                      EL MIRAGE         AZ   85335‐4903
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Name                               Address1                         Address2                         Address3                    Address4                     City               State Zip
HENNIGAN, ROBERT J                 11101 FOLEY RD                                                                                                             EMMETT              MI 48022‐2005
HENNIGAN, ROY D                    KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                                              CLEVELAND           OH 44114
                                                                    BOND COURT BUILDING
HENNIGAR CHARLES                   6 CANTERBURY RD                                                                                                            MARBLEHEAD         MA    01945‐1004
HENNIGER, WILLIAM C                1711 FOX RUN                                                                                                               PERRYSBURG         OH    43551‐5413
HENNIGES AUTO/REHBU                GMBH & CO. KG                    AM BUCHHOLZ 4                                                REHBURG‐LOCCUM 31547
                                                                                                                                 GERMANY
HENNIGES AUTOMOTIVE                HENNIGES AUTOMOTIVE HOLDINGS     3200 MAIN ST                                                                              KEOKUK             IA    52632‐2259
HENNIGES AUTOMOTIVE                MAPS HOLDINGS INC                900 E WHITCOMB AVE                                                                        MADISON HEIGHTS    MI    48071‐5612

HENNIGES AUTOMOTIVE                SEALING SYSTEMS                  36600 CORPORATE DR # CHANNA                                                               FARMINGTON HLS     MI    48331‐3546
HENNIGES AUTOMOTIVE                SEALING SYSTEMS CANADA           129 HAGAR ST                                                 WELLAND CANADA ON L3B
                                                                                                                                 5V9 CANADA
HENNIGES AUTOMOTIVE                MAPS HOLDINGS INC                36600 CORPORATE DRIVE                                                                     FARMINGTN HLS      MI    48331‐3546
HENNIGES AUTOMOTIVE                SEALING SYSTEMS                  PO BOX 9067                                                                               FARMINGTON HILLS   MI    48333‐9067

HENNIGES AUTOMOTIVE GMBH & CO      JULIAN FISCHHOEFER               NIENBURGER STR 4                                             MEXICO CITY DF 2300 MEXICO

HENNIGES AUTOMOTIVE GMBH & CO KG   AM BUCHHOLZ 4                                                                                 REHBURG‐LOCCUM NS 31547
                                                                                                                                 GERMANY
HENNIGES AUTOMOTIVE HOLDING INC    36600 CORPORATE DR                                                                                                         FARMINGTON HILLS   MI    48331‐3546

HENNIGES AUTOMOTIVE HOLDING INC    100 KENNEDY ST                                                                                WELLAND ON L3B 5R9
                                                                                                                                 CANADA
HENNIGES AUTOMOTIVE HOLDING INC    101 DANNY SCOTT DR                                                                                                         NEW HAVEN          MO    63068‐1312
HENNIGES AUTOMOTIVE HOLDING INC    3200 MAIN ST                                                                                                               KEOKUK             IA    52632‐2259
HENNIGES AUTOMOTIVE HOLDING INC    34975 W. 12 MILE                                                                                                           FARMINGTN HLS      MI    48331
HENNIGES AUTOMOTIVE HOLDING INC    514 S SERVICE RD                                                                              OAKVILLE ON L6J 5A2 CANADA

HENNIGES AUTOMOTIVE HOLDING INC    935 AULERICH RD                                                                                                            EAST TAWAS         MI    48730‐9565
HENNIGES AUTOMOTIVE HOLDING INC    AIRPORT INDUSTRIAL PK                                                                                                      FREDERICK          OK    73542
HENNIGES AUTOMOTIVE HOLDING INC    AM BUCHHOLZ 4                                                                                 REHBURG‐LOCCUM NS 31547
                                                                                                                                 GERMANY
HENNIGES AUTOMOTIVE HOLDING INC    GOMEZ PALACIO 265 3ER ETAPA                                                                   GOMEZ PALACIO DURANGO
                                                                                                                                 DG 35070 MEXICO
HENNIGES AUTOMOTIVE HOLDING INC    GOMEZ PALACIO 265 3ER ETAPA      PARQUE INDUSTRIAL LAGUNERO                                   GOMEZ PALACIO DURANGO
                                                                                                                                 DG 35070 MEXICO
HENNIGES AUTOMOTIVE HOLDING INC    JULIAN FISCHHOEFER               NIENBURGER STR 4                                             MEXICO CITY DF 2300 MEXICO

HENNIGES AUTOMOTIVE HOLDING INC    KATHERINE E. MILLER              METZLER AUTOMOTIVE PROFILE SYS 2360 CORNWALL                 WINDSOR ON CANADA
HENNIGES AUTOMOTIVE HOLDING INC    KATHERINE MILLER                 1 GENERAL STREET P.O. BOX 507                                                             STERLING HTS       MI    48311
HENNIGES AUTOMOTIVE HOLDING INC    KATHERINE MILLER                 100 KENNEDY ST                                               WELLAND ON L3B 5R9
                                                                                                                                 CANADA
HENNIGES AUTOMOTIVE HOLDING INC    KATHERINE MILLER                 101 DANNY SCOTT DR                                                                        GOSHEN              IN
HENNIGES AUTOMOTIVE HOLDING INC    KATHERINE MILLER                 13209 S UNITEC DR                                            CELAYA GJ 38101 MEXICO
HENNIGES AUTOMOTIVE HOLDING INC    KATHERINE MILLER                 C/O STARBOARD INDUSTRIES         935N AULERICH ROAD                                       NASHVILLE          IL    62263
HENNIGES AUTOMOTIVE HOLDING INC    KATHERINE MILLER                 METZELER AUTO PROFILE SYS N AM   3200 MAIN STREET POB 2230                                WYTHEVILLE         VA    24382

HENNIGES AUTOMOTIVE HOLDING INC    KATHERINE MILLER                 PO BOX 2230                      METZELER AUTO PROFILE SYS                                KEOKUK              IA   52632‐8230
                                                                                                     N AM
HENNIGES AUTOMOTIVE HOLDING INC    KATHERINE MILLER                 PO BOX 507                                                                                WABASH             IN    46992‐0507
HENNIGES AUTOMOTIVE HOLDING INC    KATHERINE MILLER                 RR1 AIRPORT INDUSTRIAL PK        P.O. BOX 10A                                             FREDERICK          OK    73542
HENNIGES AUTOMOTIVE HOLDING INC    KRAEHENBERG 4                                                                                 REHBURG‐LOCCUM NS 31547
                                                                                                                                 GERMANY
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HENNIGES AUTOMOTIVE HOLDING INC     PASEO DEL VALLE NO 4910                                                                     ZAPOPAN JA 45010 MEXICO
HENNIGES AUTOMOTIVE HOLDING INC     PASEO DEL VALLE NO 4910          GUADALAJARA TECHNOLOGY PARK                                ZAPOPAN JA 45010 MEXICO
HENNIGES AUTOMOTIVE IOWA INC        3200 MAIN ST                                                                                                             KEOKUK              IA   52632‐2259
HENNIGES AUTOMOTIVE MEXICO SA DE CV GOMEZ PALACIO 265 3ER ETAPA                                                                 GOMEZ PALACIO DURANGO,
                                                                                                                                D 35070 MEXICO

HENNIGES AUTOMOTIVE MEXICO SA DE CV GOMEZ PALACIO 265 3ER ETAPA      PARQUE INDUSTRIAL LAGUNERO                                 GOMEZ PALACIO DURANGO
                                                                                                                                DG 35070 MEXICO
HENNIGES AUTOMOTIVE NORTH AMER      36600 CORPORATE DR                                                                                                       FARMINGTON HILLS    MI   48331‐3546

HENNIGES AUTOMOTIVE NORTH AMERICA 36600 CORPORATE DR                                                                                                         FARMINGTON HILLS    MI   48331‐3546

HENNIGES AUTOMOTIVE OKLAHOMA     KATHERINE MILLER                    RR1 AIRPORT INDUSTRIAL PK      P.O. BOX 10A                                             FREDERICK           OK   73542
HENNIGES AUTOMOTIVE OKLAHOMA INC HENNIGES AUTOMOTIVE OKLAHOMA INC    AIRPORT INDUSTRIAL PK                                                                   FREDERICK           OK   73542

HENNIGES AUTOMOTIVE OKLAHOMA INC    AIRPORT INDUSTRIAL PK                                                                                                    FREDERICK           OK   73542

HENNIGES AUTOMOTIVE SCHLEGEL        514 S SERVICE RD                                                                            OAKVILLE ON L6J 5A2 CANADA
CANADA
HENNIGES AUTOMOTIVE SEALING SY      36600 CORPORATE DR               PO BOX 9067                                                                             FARMINGTON HILLS    MI   48331‐3546

HENNIGES AUTOMOTIVE SEALING SY     KATHERINE MILLER                  C/O STARBOARD INDUSTRIES       935N AULERICH ROAD                                       NASHVILLE           IL   62263
HENNIGES AUTOMOTIVE SEALING SYSTEM 1455 BOUL INDUSTRIEL                                                                         MAGOG QC J1X 4P2 CANADA

HENNIGES AUTOMOTIVE SEALING SYSTEM 175 RUE PELADEAU                                                                             MAGOG QC J1X 5G9 CANADA

HENNIGES AUTOMOTIVE SEALING SYSTEM MARK ROBERTSON                    175 PELADEAU                                               MAGOG ON CANADA

HENNIGES AUTOMOTIVE SEALING SYSTEM 36600 CORPORATE DR                                                                                                        FARMINGTON HILLS    MI   48331‐3546

HENNIGES AUTOMOTIVE SEALING SYSTEMS 100 KENNEDY ST                                                                              WELLAND ON L3B 5 CANADA

HENNIGES AUTOMOTIVE SEALING SYSTEMS 101 DANNY SCOTT DR                                                                                                       NEW HAVEN          MO    63068‐1312

HENNIGES AUTOMOTIVE SEALING SYSTEMS 36600 CORPORATE DRIVE                                                                       FARMINGTON HILLS MI 48331
                                                                                                                                MEXICO
HENNIGES AUTOMOTIVE SEALING SYSTEMS PASEO DEL VALLE NO 4910          GUADALAJARA TECHNOLOGY PARK                                ZAPOPAN JA 45010 MEXICO

HENNIGES AUTOMOTIVE SEALING SYSTEMS PASEO DEL VALLE NO 4910                                                                     ZAPOPAN JA 45010 MEXICO

HENNIGES AUTOMOTIVE SEALING SYSTEMS 935 AULERICH RD                                                                                                          EAST TAWAS          MI   48730‐9565

HENNIGES ELASTOMER UND KUNSTS       NIENBURGER STRASE 46                                                                        REHBURG LOCCUM 31547
                                                                                                                                GERMANY
HENNIGES ELASTOMER‐ UND             KRAEHENBERG 4                                                                               REHBURG‐LOCCUM NS 31547
KUNSTSTOFFT                                                                                                                     GERMANY
HENNIGES, LUDWIG E                  8815 W 97TH PL                                                                                                           PALOS HILLS         IL   60465‐1015
HENNIGES/ FARMINGTON                36600 CORPORATE DR                                                                                                       FARMINGTON HILLS    MI   48331‐3546

HENNIGES/FARMINGTON                 8412 AMPARAN RD                  C/O T & T FORWARDING SERVICE   EL PORTAL INDUSTRIAL PARK                                LAREDO              TX   78045‐1822

HENNIGES/FARMINGTON                 36600 CORPORATE DR                                                                                                       FARMINGTON HILLS    MI   48331‐3546
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HENNIGES/KEOKUK                   36600 CORPORATE DR                                                                                         FARMINGTON HILLS    MI 48331‐3546

HENNIGHAN, MILDRED M              PO BOX 957                                                                                                 BRICK              NJ   08723‐0050
HENNIGHAUSEN, CHARLES             61390 MOUNT VERNON RD                                                                                      WASHINGTON         MI   48094‐1017
HENNIGIN WILLIAM (662754)         LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                                             HOUSTON            TX   77069
HENNIGIN WILLIAM/KARLA HENNIGIN   ICO THE LANIER LAW FIRM P C       6810 FM 1960 WEST                                                        HOUSTON            TX   77069
HENNIGIN, WILLIAM                 LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                                             HOUSTON            TX   77069
HENNING ENGMANN                   LINNENAECKERWEG 7                                                               D‐75395 OSTELSHEIM
                                                                                                                  GERMANY
HENNING GARY                      8714 MOLLYS COURT                                                                                          WILMINGTON         NC   28411‐9294
HENNING GARY 2D ACTION            HENNING, GARY                     220 SALT LICK RD                                                         SAINT PETERS       MO   63376‐1146
HENNING HARVEY S (445175)         CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                         CLEVELAND          OH   44115
                                  GAROFOLI                          FL
HENNING HEATHER                   HENNING, HEATHER                  5901 CEDAR LAKE RD S                                                     MINNEAPOLIS        MN   55416‐1488
HENNING METZGER JR                PO BOX 785                                                                                                 LOS GATOS          CA   95031‐0785
HENNING MOELLER                   WEINBERASWEG 12‐14                                                              29456 HITZACKER GERMANY

HENNING RICHARD                   BEI OTTO HENNING                  LICHSTR 30                                    51373 LEVERKUSEN GERMANY

HENNING SR, DAVID L               2512 TRANSIT RD. APT. 3C                                                                                   NEWFANE            NY   14108
HENNING, ALAN F                   13310 LITCHFIELD RD                                                                                        MONTROSE           MI   48457‐9364
HENNING, ALAN FREDERICK           13310 LITCHFIELD RD                                                                                        MONTROSE           MI   48457‐9364
HENNING, BRADLEY M                835 POOL AVE                                                                                               VANDALIA           OH   45377‐1418
HENNING, CAROL E                  25 NAVAJO TRL                                                                                              GIRARD             OH   44420‐3621
HENNING, CAROL E                  25 NAVAJO DR                                                                                               GIRARD             OH   44420‐3621
HENNING, CECILIA                  8201 WHITEFORD RD                                                                                          OTTAWA LAKE        MI   49267‐8608
HENNING, CHRISTOPHER A            417 HELENE AVE                                                                                             ROYAL OAK          MI   48067‐3905
HENNING, CORA S                   39340 AMRSTRONG LN                                                                                         WESTLAND           MI   48185‐1346
HENNING, DAVID E                  2220 SPANISH DR APT 4                                                                                      CLEARWATER         FL   33763‐2965
HENNING, DAVID H                  3427 QUICK RD                                                                                              HARBOR SPRINGS     MI   49740‐9346
HENNING, DAWN M                   3640 EWINGS RD                                                                                             LOCKPORT           NY   14094‐1029
HENNING, DEBBIE L                 1550 S MARION AVE                                                                                          JANESVILLE         WI   53546‐5423
HENNING, DELANE C                 14709 W BURNSVILLE PKWY LOT 28                                                                             BURNSVILLE         MN   55306‐4850
HENNING, DONOVAN F                5430 W HOWE RD                                                                                             DEWITT             MI   48820‐9202
HENNING, EDWARD F                 13550 BUECHE RD                                                                                            MONTROSE           MI   48457‐9348
HENNING, ERIC J                   1009 CHERRY VALLE LN                                                                                       WILLIAMSTON        MI   48895‐9058
HENNING, GARY                     GARTNER LAW FIRM                  220 SALT LICK RD                                                         SAINT PETERS       MO   63376‐1146
HENNING, GARY                     10604 W HWY T                                                                                              BOIS D ARC         MO   65612
HENNING, GENEVIEVE L              8571 FARLEY RD                                                                                             PINCKNEY           MI   48169‐9154
HENNING, GERALDINE W              1442 MERION WAY                   29‐K                                                                     SEAL BEACH         CA   90740
HENNING, HARVEY S                 CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                          CLEVELAND          OH   44115
                                  GAROFOLI                          FL
HENNING, HEATHER                  HAUER FARGIONE LOVE LANDY &       5901 CEDAR LAKE RD S                                                     MINNEAPOLIS        MN   55416‐1488
                                  MCELLISTREM PA
HENNING, JEFFREY D                1550 S MARION AVE                                                                                          JANESVILLE         WI   53546‐5423
HENNING, JEFFREY L                4708 FAR HILLS AVE                                                                                         KETTERING          OH   45429‐2302
HENNING, JEFFREY M                1402 TURFWAY DR                                                                                            AVON               IN   46123
HENNING, JODY K                   7823 W MILL POND RD                                                                                        BELOIT             WI   53511‐9260
HENNING, JOSEPH R                 11374 HAVANA RD                                                                                            OAKLEY             MI   48649‐9707
HENNING, JOSEPH REGINALD          11374 HAVANA RD                                                                                            OAKLEY             MI   48649‐9707
HENNING, JUDITH K                 1202 AVALON AVE                                                                                            SAGINAW            MI   48638
HENNING, KENNETH W                15227 WILDWOOD ST                                                                                          ROSEVILLE          MI   48066‐3140
HENNING, KENNETH W                3640 EWINGS RD                                                                                             LOCKPORT           NY   14094‐1029
HENNING, LARRY A                  13939 GRANDPOINT DR                                                                                        CEMENT CITY        MI   49233‐9648
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Name                     Address1                      Address2                    Address3   Address4               City            State   Zip
HENNING, MARGARET J      5 GILLIAN LN                                                                                YOUNGSTOWN       OH     44511‐3549
HENNING, MARLENE M       4530 ANN ST                                                                                 LUNA PIER        MI     48157‐9714
HENNING, MARY A          716 BALLENTINE RD                                                                           MENOMONIE        WI     54751‐3701
HENNING, MARY C          450 S NICOLET                 #231                                                          MACKINAW CITY    MI     49701
HENNING, MARY H.         4242 S 250 E                                                                                LAFAYETTE        IN     47909‐9320
HENNING, MICHAEL A       3360 N AIRPORT RD                                                                           SAINT JOHNS      MI     48879‐9779
HENNING, MICHAEL D       11996 BANEBERRY DR APT 2B                                                                   ROSCOE            IL    61073
HENNING, NOREEN A        37311 MARION DR                                                                             STERLING HTS     MI     48312‐1963
HENNING, PAUL LESLIE     32283 ECORSE ROAD                                                                           ROMULUS          MI     48174‐1964
HENNING, RICHARD         OTTO VARNHAGEN STR 11         51373 LEVERKUSEN, GERMANY
HENNING, RICHARD A       2016 ADAMS BLVD                                                                             SAGINAW         MI      48602‐3005
HENNING, RICHARD G       673 SONORA CT                                                                               BEREA           OH      44017‐2635
HENNING, RICHARD L       5 GILLIAN LN                                                                                YOUNGSTOWN      OH      44511‐3549
HENNING, ROBERT F        17438 LAKEWOOD AVE                                                                          LAKE MILTON     OH      44429‐9761
HENNING, ROBERT L        2745 HAZY HOLLOW RUN                                                                        ROSWELL         GA      30076‐3602
HENNING, RODNEY W        235 SHOREHAM LN                                                                             TOLEDO          OH      43612‐4501
HENNING, RONALD          6930 KNOLLWOOD CT                                                                           OSCODA          MI      48750‐9756
HENNING, ROY F           591 WOODCREEK BLVD                                                                          TRAVERSE CITY   MI      49686‐5400
HENNING, RUSSELL L       6805 STROEBEL ROAD                                                                          SAGINAW         MI      48609‐5250
HENNING, RUTH L          591 WOODCREEK BLVD                                                                          TRAVERSE CITY   MI      49686‐5400
HENNING, SANDRA K        121 N WALNUT ST                                                                             JANESVILLE      WI      53548‐6501
HENNING, STEVEN W        4204 TANGLEWOOD DR                                                                          JANESVILLE      WI      53546‐8847
HENNING, STUART K        4229 N VICARAGE LN                                                                          MARTINSVILLE    IN      46151‐5980
HENNING, SUSAN K         PO BOX 152                                                                                  ELM GROVE       LA      71051‐0152
HENNING, SUSAN KAY       PO BOX 152                                                                                  ELM GROVE       LA      71051‐0152
HENNING, SUSAN L         2220 SPANISH DR APT 4                                                                       CLEARWATER      FL      33763‐2965
HENNING, THOMAS D        5430 W HOWE RD                                                                              DEWITT          MI      48820‐9202
HENNING, TIMOTHY L       860 NORMAN DR                                                                               STOUGHTON       WI      53589‐3054
HENNING, WALTER E        12520 115TH AVENUE                                                                          CHIPPEWA FLS    WI      54729‐5128
HENNING, WILLIAM A       1087 WOODRIDGE TRL                                                                          SANFORD         NC      27332‐8035
HENNING, WILLIAM C       1116 SUNSET DR                                                                              ANDERSON        IN      46011‐1623
HENNING, WILLIAM J       2402 SMITH AVE                                                                              BALTIMORE       MD      21227‐1833
HENNING, WILLIAM S       818 BARKINS AVE                                                                             ENGLEWOOD       OH      45322‐1725
HENNINGER, ALAN
HENNINGER, BERMAN E      3980 STATE ROUTE 49                                                                         ARCANUM         OH      45304‐9008
HENNINGER, BERMAN E      3980 S R 49                                                                                 ARCANUM         OH      45304‐9008
HENNINGER, CHARLES L     PO BOX 185                                                                                  ELLENDALE       DE      19941‐0185
HENNINGER, CHESTER S     1141 SWANN RD                                                                               YOUNGSTOWN      NY      14174‐9757
HENNINGER, GREG S        4227 MAPLEWOOD MEADOWS AVE                                                                  GRAND BLANC     MI      48439‐8670
HENNINGER, HAROLD J      30633 ADAMS DR                                                                              ROCKWOOD        MI      48173‐9531
HENNINGER, JANICE L      8996 E COUNTY ROAD 1225 S                                                                   GALVESTON       IN      46932‐8858
HENNINGER, JOHN D        124 W STROOP RD                                                                             KETTERING       OH      45429‐1752
HENNINGER, MARY          6192 BAER RD PO BOX 501                                                                     SANBORN         NY      14132‐0501
HENNINGER, MARY          PO BOX 501                    6192 BAER RD                                                  SANBORN         NY      14132‐0501
HENNINGER, MATILDA       1225 N MAIN ST                                                                              SAINT CHARLES   MI      48655‐1005
HENNINGER, NANCY         49189 DEERFIELD PARK                                                                        MACOMB          MI      48044‐1822
HENNINGER, PAUL L        3844 STONE RD                                                                               MIDDLEPORT      NY      14105‐9712
HENNINGER, RICHARD L     553 RAINTREE DR                                                                             DANVILLE        IN      46122‐1459
HENNINGER, RICHARD LEE   553 RAINTREE DR                                                                             DANVILLE        IN      46122‐1459
HENNINGER, ROBERT J      2403 N DIXON RD                                                                             KOKOMO          IN      46901‐1793
HENNINGER, TAMARA A      553 RAINTREE DR                                                                             DANVILLE        IN      46122
HENNINGER, TERRY F       8996 E 1225 S.                                                                              GALVESTON       IN      46932
HENNINGER, TOMMIE E      1027 EBONY CIR                                                                              FRANKLIN        IN      46131‐5010
HENNINGER, VON           513 CENTRAL AVE                                                                             GREENVILLE      OH      45331‐1241
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Name                                   Address1                         Address2                       Address3   Address4                 City            State Zip
HENNINGER, WILLIAM H                   802 S STATE ST LOT 51                                                                               SOUTH WHITLEY    IN 46787‐1486
HENNINGES AUTOMOTIVE                   FAY SHARPE LLP                   1100 SUPERIOR AVENUE SEVENTH                                       CLEVELAND        OH 44114‐2579
                                                                        FLOOR
HENNINGS JR, FREDRICK                  3238 TARA CT W                                                                                      INDIANAPOLIS    IN   46224‐2218
HENNINGS MANAGEMENT CORP               PO BOX 271461                                                                                       FLOWER MOUND    TX   75027‐1461
HENNINGS MICHAEL                       HENNINGS, MICHAEL                1924 DELT                                                          ST LOUIS        MO   63112
HENNINGS, ARCHIE L                     5005 COBURN AVE                                                                                     INDIANAPOLIS    IN   46228‐3047
HENNINGS, CARLA C                      11910 CYPRESS LINKS DR                                                                              FORT MYERS      FL   33913‐8402
HENNINGS, CHARLES L                    1476 HIGHLAND PL                                                                                    THE VILLAGES    FL   32162‐7521
HENNINGS, CHRISTINE W                  2033 E COUNTY LINE RD                                                                               MINERAL RIDGE   OH   44440‐9595
HENNINGS, CRYSTAL C                    10938 POLARIS DRIVE                                                                                 SAN DIEGO       CA   92126‐2446
HENNINGS, DEXTER V                     377 GOODYEAR AVE                                                                                    BUFFALO         NY   14211‐2311
HENNINGS, EDWARD                       1218 S 3RD ST                                                                                       MONROE          LA   71202‐2714
HENNINGS, GEORGE W                     2033 E COUNTY LINE RD                                                                               MINERAL RIDGE   OH   44440‐9595
HENNINGS, JAMES A                      560 DOAT ST                                                                                         BUFFALO         NY   14211‐2151
HENNINGS, JOHN R                       6150 DEERWOODS TRL                                                                                  ALPHARETTA      GA   30005‐3614
HENNINGS, MICHAEL                      1924 DELT                                                                                           ST LOUIS        MO   63112
HENNINGS, WILLIAM L                    PO BOX 208493                                                                                       CHICAGO         IL   60620‐8493
HENNINGSEN, GILBERT G                  PO BOX 851                                                                                          WHEATON         IL   60187‐0851
HENNINGSEN, GILBERT G                  US PO BOX 851                                                                                       WHEATON         IL   60189‐0851
HENNINGSEN, PETER L                    18651 DOVE HOLLOW CT                                                                                HUDSON          FL   34667‐5519
HENNINGSEN, RICHARD M                  42117 BANBURY RD                                                                                    NORTHVILLE      MI   48168‐2361
HENNINGSEN, SVEND                      SOVAENGET 41                     SOLROD STRAND                             FTE FA DENMARK DK2820
HENNION, ROSE M                        22465 BLUEWATER DR                                                                                  MACOMB          MI   48044‐3746
HENNION, ROSE MARIE                    22465 BLUEWATER DR                                                                                  MACOMB          MI   48044‐3746
HENNIS, DAVID L                        417 N SWAIN ST                                                                                      INGALLS         IN   46048‐9761
HENNIS, JAMES G                        23373 EMMONS RD                                                                                     COLUMBIA STA    OH   44028‐9468
HENNIS, ROBERT E                       7038 W 800 S                                                                                        PENDLETON       IN   46064‐9761
HENNIS, ROMA L                         130 S RANDALL ST, BOX 221                                                                           INGALLS         IN   46048
HENNIX, BILLIE                         57 BRUCE PARK DR                                                                                    TRENTON         NJ   08618‐5109
HENNON L. KING, L.L.C.                 TANYA WALDROP                    611 FOB JAMES DR                                                   VALLEY          AL   36854‐5065
HENNY JAKOBSSON                        35150 W 8 MILE RD APT 7                                                                             FARMINGTON      MI   48335
HENNY STEFFEN                          SCHLUCHTWEG 20                   DE ‐ 32257 BUENDE              GERMANY
HENNY STEFFEN                          SCHLUCHTWEG 20                                                             32257 BUENDE GERMANY
HENRAAT, ANH THU T                     12719 NINTH ST.                                                                                     CHINO           CA   91710‐3513
HENRAAT, ANH THU T                     12719 9TH ST                                                                                        CHINO           CA   91710‐3513
HENREITTA COTTON                       1509 FAIRBANKS CT                                                                                   KALAMAZOO       MI   49048‐1837
HENRETTY JR, THOMAS R                  60 LITTLE TREE LN                                                                                   HILTON          NY   14468‐1110
HENRETTY, JOHN F                       8137 ANDERSON AVE NE                                                                                WARREN          OH   44484‐1534
HENRETTY, KURT L                       11460 ROUND LAKE RD                                                                                 SUNFIELD        MI   48890‐9054
HENRETTY, KURT LEON                    11460 ROUND LAKE RD                                                                                 SUNFIELD        MI   48890‐9054
HENRETTY, MARJORIE A                   141 OLDBURY DR                                                                                      WILMINGTON      DE   19808‐1432
HENRETTY, ROBERTA E                    408 SOUTH CLINTON                15                                                                 GRAND LEDGE     MI   48837
HENRETTY, ROLF V                       6089 STORM RD                                                                                       LUDINGTON       MI   49431‐9661
HENREY, WYNN H                         486 PERKINSWOOD BLVD SE                                                                             WARREN          OH   44483‐6222
HENRI ANGERS                           2695 W HIAWATHA DR                                                                                  APPLETON        WI   54914‐6705
HENRI EDMONDS                          27590 LARKMOOR ST                                                                                   SOUTHFIELD      MI   48076‐4912
HENRI GOEBEL                           46774 MIDDLE BROOK DR                                                                               MACOMB          MI   48044‐5718
HENRI GP & MARJORIE A HEYSTEK JT TEN   6501 BAYRIDGE RD                                                                                    MOUND           MN   55364‐9527

HENRI J JENNINGS                       3940 HANEY RD                                                                                       DAYTON          OH   45416‐2034
HENRI KAVAJA                           24143 WEDGEWOOD CIR                                                                                 WARREN          MI   48091‐5874
HENRI KLEIN                            C/O SIMON KLEIN                  OBERE TERRASSENSTR 7                      61348 BAD HOMBURG
                                                                                                                  GERMANY
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Name                                    Address1                         Address2                      Address3   Address4                City               State   Zip
HENRI MCLAUGHLIN                        PO BOX 202                                                                                        PITTSBORO           IN     46167‐0202
HENRI SCHIRES                           12091 BREWSTER ST                                                                                 LIVONIA             MI     48150‐1445
HENRI T EDMONDS                         27590 LARKMOOR ST                                                                                 SOUTHFIELD          MI     48076‐4912
HENRI WATKINS                           1001 BARRINGTON DR                                                                                FLINT               MI     48503‐2915
HENRI, KAREN M                          13546 WARD ST                                                                                     SOUTHGATE           MI     48195‐1737
HENRICH BRANDON                         HENRICH, BRANDON                 431 5TH ST N                                                     WINSTED             MN     55395‐1022
HENRICH BRANDT VON FACKH                FALCKWEG 17                      22605                         HAMBURG
HENRICH BRANDT VON FACKH                FALCKWEG 17                                                               22605 HAMBURG GERMANY
HENRICH CARRIE                          HENRICH, CARRIE                  31275 NORTHWESTERN HWY STE                                       FARMINGTON HILLS    MI     48334‐2578
                                                                         121
HENRICH CHARLES E (455704)              OSHEA ROBERT LAW OFFICES OF      1818 MARKET ST STE 3520                                          PHILADELPHIA        PA     19103‐3636
HENRICH CHARLES E (455704) ‐ HEINRICH   OSHEA ROBERT LAW OFFICES OF      1818 MARKET ST STE 3520                                          PHILADELPHIA        PA     19103‐3636
JACK B
HENRICH JERRY                           709 9TH ST                                                                                        ALTON              IA      51003‐8514
HENRICH MARK                            HENRICH, MARK                    24162 NEWELL AVE                                                 ALLISON            IA      50602
HENRICH, BRANDON                        431 5TH ST N                                                                                      WINSTED            MN      55395‐1022
HENRICH, CARRIE                         LEHTO STEVE LAW OFFICES OF       31275 NORTHWESTERN HWY STE                                       FARMINGTON HILLS   MI      48334‐2578
                                                                         121
HENRICH, CHARLES                        OSHEA ROBERT LAW OFFICES OF      1818 MARKET ST STE 3520                                          PHILADELPHIA       PA      19103‐3636
HENRICH, JAMES C                        351 SIMPSON HOWELL RD                                                                             ELIZABETH          PA      15037‐2813
HENRICH, KATHY A                        293 BERWYN ST                                                                                     BIRMINGHAM         MI      48009‐1584
HENRICH, MARGARET                       351 SIMPSON‐HOWELL RD                                                                             ELIZABETH          PA      15037‐2813
HENRICH, MARGARET                       351 SIMPSON HOWELL RD                                                                             ELIZABETH          PA      15037‐2813
HENRICH, MARK                           24162 NEWELL AVE                                                                                  ALLISON            IA      50602‐9563
HENRICHON, RUTH G                       6207 STATE ROUTE 58 E                                                                             CLINTON            KY      42031‐8225
HENRICHS, HARVEY E                      5621 SWEET BIRCH LN                                                                               MILTON             FL      32583‐1824
HENRICHS, LORNA A                       APT 202                          300 KENNELY ROAD                                                 SAGINAW            MI      48609‐7703
HENRICHS, THOMAS A                      8639 ROMAN DR                                                                                     STERLING HTS       MI      48312‐1972
HENRICHSEN, LORI                        2486 S. COUNTY HIGHWAY H                                                                          BRULE              WI      54820
HENRICI, PETER                          584 KINGLET ST                                                                                    ROCHESTER HILLS    MI      48309‐3527
HENRICK, DAVID L                        1427 PLANO RD                                                                                     BOWLING GREEN      KY      42104‐7847
HENRICK, GARY K                         6281 NORCONK RD                                                                                   BEAR LAKE          MI      49614‐9322
HENRICK, GARY KEVIN                     6281 NORCONK RD                                                                                   BEAR LAKE          MI      49614‐9322
HENRICKS, DALLAS F                      25815 STATE ROAD 19                                                                               ARCADIA            IN      46030‐9646
HENRICKS, DANIEL C                      1221 NORMANDIE CT                                                                                 AVON               IN      46123‐8043
HENRICKS, JACQUELINE N                  460 W PINE ST                                                                                     CENTRAL POINT      OR      97502‐1937
HENRICKS, KATIE M                       14053 AVANTI AVE                                                                                  ROSEMOUNT          MN      55068‐3746
HENRICKS, MAURICE C                     405 MAGNOLIA DR                                                                                   KOKOMO             IN      46901‐5085
HENRICKS, ROBERT H                      815 W SUNSET DR                                                                                   COOLIDGE           AZ      85228‐4142
HENRICKS, WAYNE A                       11483 S BROWNRIDGE ST                                                                             OLATHE             KS      66061‐2836
HENRICKSEN, R J                         20610 EUREKA ST                                                                                   PERRIS             CA      92571‐7412
HENRICKSON GEORGE E (357027)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA      23510
                                                                         STREET, SUITE 600
HENRICKSON, ANGELINE J                  1811 AUTUMN DR                                                                                    RACINE              WI     53402‐1787
HENRICKSON, BRIAN W                     3822 BASSWOOD DR SW                                                                               GRANDVILLE          MI     49418‐2096
HENRICKSON, GEORGE E                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA     23510
                                                                         STREET, SUITE 600
HENRICKSON, JOHN A                      5985 TIPPERARY CIR                                                                                ANN ARBOR           MI     48105‐9324
HENRICKSON, JOHN ARTHER                 5985 TIPPERARY CIR                                                                                ANN ARBOR           MI     48105‐9324
HENRICKSON, MABEL P                     9418 FOX RUN                                                                                      BERRIEN CTR         MI     49102‐8710
HENRICO COUNTY MANAGER                  PO BOX 27032                                                                                      RICHMOND            VA     23273‐7032
HENRICO COUNTY TAX COLLECTOR            PO BOX 26487                                                                                      RICHMOND            VA     23261‐6487
HENRICUS BERNDSEN                       WILLIBALD‐GLUCK‐WEG 5                                                                             AHLEN 59227
                           09-50026-mg            Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                       Address1                        Address2            Address3         Address4                     City               State Zip
HENRICUS DE BONT           VALLEI 1                                                             4851 EG ULVENHOUT
                                                                                                NETHERLANDS
HENRIE CARON               3221 CAMBRIDGE HOLLOWS CT                                                                         LAS VEGAS          NV    89135‐2113
HENRIE, GENE M             3218 RIDGE AVE SE                                                                                 WARREN             OH    44484‐3250
HENRIE, S WILLIAM          PO BOX 9022                     C/O DUBAI                                                         WARREN             MI    48090‐9022
HENRIE, S WILLIAM          PO BOX 9022                                                                                       WARREN             MI    48090‐9022
HENRIES, PATRICIA A        96 BERTIE ST                                                         FORT ERIE ON L2A1Y3 CANADA

HENRIETTA A CUPAL          5063 W COURT ST                                                                                   FLINT              MI    48532‐4112
HENRIETTA A ESPARZA        2045 S LONE PINE RD                                                                               COLUMBIA CITY      IN    46725‐9027
HENRIETTA B PERSING        211 E MOLLOY RD APT 101                                                                           MATTYDALE          NY    13211‐1663
HENRIETTA BARNETT          1264 OAKLAWN DR                                                                                   PONTIAC            MI    48341‐3603
HENRIETTA BARNEY P         12136 MENDOTA ST                                                                                  DETROIT            MI    48204‐1859
HENRIETTA BEEMAN           4681 CHRISTOPHER AVE                                                                              DAYTON             OH    45406‐1318
HENRIETTA BENTLEY          600 W WALTON BLVD APT 311                                                                         PONTIAC            MI    48340‐3500
HENRIETTA BILLINGSLE       2162 W COLDWATER RD                                                                               FLINT              MI    48505‐4823
HENRIETTA BLAKE            4980 WEDGEWOOD RD                                                                                 MEDINA             OH    44256‐8819
HENRIETTA BOZIN            35852 FERNWOOD ST                                                                                 WESTLAND           MI    48186‐4108
HENRIETTA BRODZINSKI       138 HEDWIG AVE                                                                                    BUFFALO            NY    14211‐2834
HENRIETTA BROWN            187 CLARENCE AVE                                                                                  BUFFALO            NY    14215‐2203
HENRIETTA BULTSMA          1074 BAYSHORE DR SW                                                                               BYRON CENTER       MI    49315‐8327
HENRIETTA BUSBY            21390 CYNTHEANNE RD                                                                               NOBLESVILLE        IN    46060‐9788
HENRIETTA C KNOWLES        316 S 31ST ST                                                                                     SAGINAW            MI    48601‐6348
HENRIETTA CAITO            2727 OLYMPIA DR                                                                                   CARLSBAD           CA    92010‐2183
HENRIETTA CAMPBELL CUPP    6178 W 1000 N                                                                                     ELWOOD             IN    46036‐8919
HENRIETTA CARPENTER        9793 NORTH M 18                                                                                   GLADWIN            MI    48624‐8840
HENRIETTA CESAREO          26356 STANWOOD AVE                                                                                HAYWARD            CA    94544‐3139
HENRIETTA CHASTEEN         85 WESTLINE DR                                                                                    FRANKLIN           OH    45005‐1752
HENRIETTA COOK             2184 ALPENA AVE                                                                                   DAYTON             OH    45406‐2634
HENRIETTA COUGHLIN         5680 S RANGELINE RD                                                                               WEST MILTON        OH    45383‐9625
HENRIETTA DAVIS            98 SAINT LOUIS AVE LOWR                                                                           BUFFALO            NY    14211
HENRIETTA DAVIS            80 MARQUETTE ST                                                                                   PONTIAC            MI    48342‐1526
HENRIETTA DEES             415 HARRISON AVE                                                                                  HARRISON           OH    45030‐1305
HENRIETTA DEWHART          25840 PRINCETON ST                                                                                INKSTER            MI    48141‐2441
HENRIETTA DOMANSKI         29610 TAYLOR ST                                                                                   ST CLAIR SHRS      MI    48082‐1630
HENRIETTA DRAPER           12714 BENHAM AVE                                                                                  CLEVELAND          OH    44105‐1920
HENRIETTA E COOK           2184 ALPENA AVE                                                                                   DAYTON             OH    45406
HENRIETTA ECHARD           7560 HOLLYCROFT LN APT 6B                                                                         MENTOR             OH    44060‐5622
HENRIETTA EDWARDS          PO BOX 533                      530 JEFFERSON ST                                                  UNIONTOWN          KY    42461‐0533
HENRIETTA ELZEY            69 CONCORD AVE                                                                                    WHITE PLAINS       NY    10606‐2212
HENRIETTA EMANUEL          2105 CARVER PL                                                                                    SHREVEPORT         LA    71103‐2629
HENRIETTA ESPARZA          2045 S LONE PINE RD                                                                               COLUMBIA CITY      IN    46725‐9027
HENRIETTA FELTON           1022 BROHM LN                                                                                     DAYTON             OH    45427‐3102
HENRIETTA FIORI            PO BOX 422                                                                                        GRAND BLANC        MI    48480
HENRIETTA FLEMMING‐ELIAS   3678 SOUTH BLVD                                                                                   BLOOMFIELD         MI    48304‐1263
HENRIETTA FLOWERS          125 CHARLES LN                                                                                    PONTIAC            MI    48341‐2928
HENRIETTA FOSTER           6119 MILLS RD                                                                                     INDIANAPOLIS       IN    46221‐4506
HENRIETTA FRANKLIN         15099 MONTE VISTA ST                                                                              DETROIT            MI    48238‐1624
HENRIETTA G MERRICK        40 MANOR DRIVE                                                                                    BROOKFIELD         OH    44403‐9635
HENRIETTA GDOWSKI          23564 TIREMAN ST                                                                                  DEARBORN HEIGHTS   MI    48127‐1564

HENRIETTA GIVENS           3533 W 12TH PL                                                                                    CHICAGO             IL   60623‐1611
HENRIETTA GOMEZ            15025 SYLVANWOOD AVE                                                                              NORWALK             CA   90650
HENRIETTA GOODSON          113 GAGE ST                                                                                       PONTIAC             MI   48342‐1634
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Name                       Address1                          Address2              Address3       Address4               City             State Zip
HENRIETTA GUERRA           13027 HAGAR ST                                                                                SYLMAR            CA 91342‐4813
HENRIETTA HANKINS          234 PINE NEEDLE TRL                                                                           VILLA RICA        GA 30180‐7449
HENRIETTA HARLOW           940 RAYBERTA DR.                                                                              VANDALIA          OH 45377‐2629
HENRIETTA HELSDON          841 N LYNDONVILLE RD                                                                          LYNDONVILLE       NY 14098‐9737
HENRIETTA HOLLAND          320 W IROQUOIS RD                                                                             PONTIAC           MI 48341‐1537
HENRIETTA HOLMES           609 RIDGE RD APT 211                                                                          NEWTON FALLS      OH 44444‐1081
HENRIETTA HORVATH          2275 RIDGEMOOR COURT                                                                          BURTON            MI 48509‐1391
HENRIETTA HUNTER           201 PARK AVE                                                                                  BELTON            MO 64012‐3115
HENRIETTA JACKSON          6213 MISSION VIEJO DR                                                                         ZEPHYRHILLS       FL 33542‐1777
HENRIETTA JETER            988 SUNNYBEACH BLVD                                                                           WHITE LAKE        MI 48386‐2083
HENRIETTA JOHNSON MCCAIN   354 HIGHWAY 16                                                                                CANTON            MS 39046
HENRIETTA JORDAN           4509 E OLEAN RD                                                                               VERSAILLES        IN 47042‐8406
HENRIETTA K COUGHLIN       5680 S. RANGE LINE ROAD                                                                       WEST MILTON       OH 45383‐9625
HENRIETTA KAY              32164 JAMES ST                                                                                GARDEN CITY       MI 48135‐1755
HENRIETTA KEUTHAN          54277 FRANKLIN DRIVE                                                                          SHELBY TWP        MI 48316‐1614
HENRIETTA KLIM             1629 ROBINDALE AVE                                                                            DEARBORN          MI 48128‐1080
HENRIETTA KLINKERCH        234 SCOTT SWAMP RD                                                                            FARMINGTON        CT 06032‐3125
HENRIETTA KOGER            4708 W KENN DR                                                                                MUNCIE            IN 47302‐8884
HENRIETTA KOZURKIEWICZ     2611 VINDALE RD                                                                               TAVARES           FL 32778‐4554
HENRIETTA KURTZ            73 REIMAN ST                                                                                  BUFFALO           NY 14206‐1138
HENRIETTA L DAVIS          98 SAINT LOUIS AVE LOWR                                                                       BUFFALO           NY 14211
HENRIETTA L WILSON         2168 LAKEMAN DR                                                                               BELLBROOK         OH 45305‐1436
HENRIETTA L. PFEIFER       630 WINCHESTER PIKE                                                                           CANAL‐WINCHESTER OH 43110‐9170

HENRIETTA LARISON          7701 MARY LN                                                                                  INDIANAPOLIS       IN   46217
HENRIETTA LAWLER           PO BOX 6254                                                                                   TALLADEGA          AL   35161‐6254
HENRIETTA LEININGER        1745 STAHLWOOD AVE                                                                            TOLEDO             OH   43613‐5237
HENRIETTA LERMA            1977 TWIN SUN CIRCLE                                                                          WALLED LAKE        MI   48390‐4404
HENRIETTA LOVELL           5785 ETHELWIN AVE NE                                                                          BELMONT            MI   49306‐9755
HENRIETTA M EMANUEL        2105 CARVER PL                                                                                SHREVEPORT         LA   71103‐2629
HENRIETTA M LAWLER         PO BOX 6254                                                                                   TALLADEGA          AL   35161‐6254
HENRIETTA MACK             718 GREENLER ST                                                                               DEFIANCE           OH   43512‐3167
HENRIETTA MANTHEI          9517 S HIDDEN CREEK CT                                                                        BELOIT             WI   53511‐9568
HENRIETTA MARION           2605 E RIVERSIDE DR                                                                           INDIANAPOLIS       IN   46208‐5270
HENRIETTA MARTINEZ         5413 WEST 89TH STREET                                                                         OAK LAWN           IL   60453‐1258
HENRIETTA MC DERMOTT       30899 CREST FRST                                                                              FARMINGTON HILLS   MI   48331‐1097

HENRIETTA MC INTYRE        451 BALDWIN AVE                                                                               ROCHESTER          MI   48307‐2101
HENRIETTA MELVILLE         158 GRAND VILLAGE CT SW                                                                       GRANDVILLE         MI   49418‐2157
HENRIETTA MERRICK          40 MANOR DR                                                                                   BROOKFIELD         OH   44403‐9635
HENRIETTA OCCHI            239 CHRISTIAN LN                                                                              BERLIN             CT   06037‐1419
HENRIETTA OTT              910 SOUTHVIEW DR                                                                              INDIANAPOLIS       IN   46227‐2318
HENRIETTA PASCIAK          16512 BUCKNER POND WAY                                                                        CREST HILL         IL   60403‐8740
HENRIETTA PIETRZYK         67 DARWIN DRIVE                                                                               DEPEW              NY   14043‐1619
HENRIETTA PIPKIN WILSON    1124 E OUTER DR                                                                               SAGINAW            MI   48601
HENRIETTA REDDICK          827 EDGEWOOD AVE                                                                              TRENTON            NJ   08618‐5301
HENRIETTA REYNARES         10300 QUEENSBURY DR                                                                           YUKON              OK   73099‐8277
HENRIETTA REZMER           1318 S MONROE ST                                                                              BAY CITY           MI   48708‐8072
HENRIETTA SCHINDLER        805 ANDOVER DR                    C/O DOROTHY M. HALL                                         ROUND ROCK         TX   78664‐3005
HENRIETTA SHORES           413 MERAMEC WAY                                                                               SAINT CHARLES      MO   63303‐8447
HENRIETTA SKINNER          1 N WALL ST                                                                                   COVINGTON          OH   45318‐1637
HENRIETTA SMITH            1220 E HENRY ST                                                                               LINDEN             NJ   07036‐1839
HENRIETTA SOLOMON          9661 RUSSELL ST                                                                               DETROIT            MI   48211‐1047
HENRIETTA SPANO            C/O MITCHELL COHEN                6 WINSLOW PLACE                                             PALM COAST         FL   32164‐7607
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Name                               Address1                            Address2                  Address3      Address4                  City             State   Zip
HENRIETTA STOWELL                  220 PROSPECT ST APT C6D                                                                               EAST ORANGE       NJ     07017‐2709
HENRIETTA SULIK                    25 FAIRMONT AVE                                                                                       MERIDEN           CT     06451‐5320
HENRIETTA SVATOS                   3626 SUNNYSIDE AVE                                                                                    BROOKFIELD         IL    60513‐1630
HENRIETTA SWETT                    4374 LESSING                                                                                          WATERFORD         MI     48329‐1424
HENRIETTA TAYLOR                   616 PETTIBONE AVE                                                                                     FLINT             MI     48507‐1758
HENRIETTA THERIAULT                835 GEORGIA ST                                                                                        WILLIAMSTON       MI     48895‐1613
HENRIETTA TIRE‐MUFFLER             1601 E HENRIETTA RD                                                                                   ROCHESTER         NY     14623‐3121
HENRIETTA TRIPP                    17989 EVANS RD                                                                                        TONGANOXIE        KS     66086‐5151
HENRIETTA VANNATTER                417 CONRADT AVE                                                                                       KOKOMO            IN     46901‐5274
HENRIETTA VARGO                    7974 W GILFORD RD                                                                                     REESE             MI     48757‐9527
HENRIETTA WALKER                   101 NE 83RD TERRENCE                                                                                  KANSAS CITY       MO     64118
HENRIETTA WEINRIB                  900 N BROOM ST APT 23                                                                                 WILMINGTON        DE     19806‐4546
HENRIETTA WEISMILLER               9 OAK TREE LN                                                                                         ELKTON            MD     21921‐4406
HENRIETTA WILSON                   2168 S LAKEMAN DR                                                                                     BELLBROOK         OH     45305‐1436
HENRIETTA WILSON                   1124 E OUTER DR                                                                                       SAGINAW           MI     48601‐5200
HENRIETTA ZENTIK                   1598 N DUBLIN RD                                                                                      MIDLAND           MI     48642
HENRIETTE BLOSSOM                  2104 MCKINLEY ST                                                                                      ANDERSON          IN     46016‐4567
HENRIETTE C THOMAS                 3303 PINE MEADOW SE                                                                                   KENTWOOD          MI     49512
HENRIETTE CLARK                    5960 LOCHLEVEN DRIVE                                                                                  WATERFORD         MI     48327‐1843
HENRIETTE GUARINO                  106 TRSE VALLON AUFFE               13007 MARSEILLE
HENRIETTE HEYINK                   2804 W COMMUNITY DR                                                                                   JUPITER           FL     33458‐8224
HENRIETTE LOUISE NAGEL             NEUE PROMENADE 23                                                           15377 BUCKOW GERMANY
HENRIETTE LUOISE NAGEL             NEUE PROMENADE 23                   15377 BUCKOW
HENRIETTE M BEATTY (LOUIS BEATTY   HENRIETTE M BEATTY                  5214 SW 11TH PL                                                   CAPE CORAL        FL     33914
DECEASED)
HENRIETTE PREECE                   APT A                               1885 TURNER BOULEVARD                                             ELYRIA           OH      44035‐4641
HENRIETTE RICHARD                  1 W 22ND ST BOX 601                                                                                   BARNEGAT LIGHT   NJ      08006
HENRIETTE SCHARDT                  GOTHAER ‐ STRASSE 15                                                        36093 KUENZELL GERMANY
HENRIETTE SCHARDT                  GOTHAER STR. 17
HENRIETTE THOMAS                   3303 PINE MEADOW DR SE APT 201                                                                        KENTWOOD          MI     49512‐8325
HENRIK BOEHNE                      FRIEDRICH‐WILHELM‐BRINKMANN‐STR 7                                           32049 HERFORD GERMANY

HENRIK FRANKESER                   WILHELMSTRASSE 19                                                           77654 OFFENBURG GERMANY

HENRIK MAMAJEK                     23624 E LE BOST                     C/O JUDY AYERS                                                    NOVI              MI     48375‐3526
HENRIK PISARZOWSKI                 BADENER STR. 223                    74074 HEILBRONN                                                   HEILBRONN
HENRIKE & RALF POLDUWE             FRIEDR‐HOLSCHE‐STR 261                                                      D‐44328 DORTMUND
                                                                                                               GERMANY
HENRIKE STARCKE                    HELLKAMP 70                                                                 D 20255 HAMBURG GERMANY

HENRIKSEN, BRIAN S                 5435 PINNACLE CT                                                                                      ANN ARBOR        MI      48108‐8663
HENRIKSEN, ESTHER                  7180 BERGAMO WAY APT 102                                                                              FORT MYERS       FL      33966‐5358
HENRIKSEN, RICHARD D               3629 LONE LOOKOUT RD                                                                                  TRAVERSE CITY    MI      49686‐3983
HENRIKSEN, VIOLA M                 312 W HASTINGS RD APT 265                                                                             SPOKANE          WA      99218‐3728
HENRIKSON RONALD                   THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD   SUITE 44                                CORAL GABLES     FL      33146
HENRIKSON, MARY H                  106 COUPLES CT                                                                                        GREENVILLE       SC      29609‐1985
HENRIKSON, ROBERT J                60 HALE SCHOOL RD                                                                                     LOUISBURG        MO      65685‐9120
HENRIKSSON, GARRY K                PO BOX 381                                                                                            LAKELAND         MI      48143‐0381
HENRIKSSON, ROY A                  749 RED MAPLE LN                                                                                      WIXOM            MI      48393‐4526
HENRIKUS LAURENTIUS TOENDERS       MOTLEY RICE LLC                     28 BRIDGESIDE BLVD        PO BOX 1792                             MT PLEASANT      SC      29465
HENRINE A JOHNSON                  5543 DRAUGHN DR.                                                                                      JACKSON          MS      39209
HENRINE EASLEY                     7224 BRADFORD CT                                                                                      JUSTICE          IL      60458‐1081
HENRINE M HARRIS                   3483 WILLIAMSBURG SW                                                                                  WARREN           OH      44485
HENRINE WHIGHAM                    2004 DREXEL DR                                                                                        ANDERSON         IN      46011‐4051
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Name                               Address1                           Address2                         Address3          Address4               City               State   Zip
HENRION, GARY A                    18155 CHURCH ST                                                                                              ROSEVILLE           MI     48066‐3838
HENRION, GARY ALLEN                18155 CHURCH ST                                                                                              ROSEVILLE           MI     48066‐3838
HENRION, MARY L                    25001 FAIRMOUNT DRIVE                                                                                        DEARBORN            MI     48124‐1585
HENRIOTT DONALD E (350164)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                               NORFOLK             VA     23510
                                                                      STREET, SUITE 600
HENRIOTT, DONALD E                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                               NORFOLK             VA     23510‐2212
                                                                      STREET, SUITE 600
HENRIQUE FERREIRA                  2007 SHADOW ROCK DR                                                                                          KINGWOOD           TX      77339‐2233
HENRIQUE SOUSA                     1813 STILL POND WAY # D                                                                                      BEL AIR            MD      21015
HENRIQUES, VENANCIO                2746 LONG BRANCH LN                                                                                          SHREVEPORT         LA      71118‐5030
HENRIQUETA CASTILLO                PO BOX 1338                                                                                                  MANSFIELD          TX      76063‐1338
HENRIQUEZ, PATRICIO                427 MURRAY ST                                                                                                MILPITAS           CA      95035‐2648
HENRIS, HOWARD J                   2603 SCHADE WEST DR                                                                                          MIDLAND            MI      48640‐6977
HENRIS, JAMES H                    12 POND VIEW DR                                                                                              SAGINAW            MI      48609‐5141
HENRIS, JAMES H                    9130 GREENWAY CT APT L186                                                                                    SAGINAW            MI      48609‐6722
HENRITTA SHEATS                    200 N CHESTNUT ST                                                                                            MILL HALL          PA      17751
HENRITZY, PAUL A                   1995 MARK TWAIN CIR                                                                                          BETHLEHEM          PA      18017‐1538
HENRIZI, MARGARET I                3601 INVERARY DR                                                                                             LANSING            MI      48911‐1337
HENRIZI, RICHARD C                 3601 INVERARY DR                                                                                             LANSING            MI      48911‐1337
HENRIZI, ROBERT B                  9445 E EATON HWY                                                                                             MULLIKEN           MI      48861‐9647
HENROB CORP                        35455 VERONICA ST                                                                                            LIVONIA            MI      48150‐1203
HENROB CORP/FRMGTN H               23079 COMMERCE DR                                                                                            FARMINGTON HILLS   MI      48335‐2721

HENROB CORPORATION                 35455 VERONICA ST                                                                                            LIVONIA             MI     48150‐1203
HENRY                              FERRARA & ROSSETTI                 STATE HWY 38 AT LONGWOOD AVE ,                                            CHERRY HILL         NJ     08002
                                                                      601 LONGWOOD AVENUE
HENRY & BERNIECE JOHNSON T I E E   HENRY & BERNIECE JOHNSON REVOCABLE 1200 GORDON DUCKWORTH DR APT                                              PIGGOTT             AR     72454‐1917
                                   TRUST DATED 08/20/99               103
HENRY & HORNE PLC                  2055 E WARNER RD STE 101                                                                                     TEMPE              AZ      85284‐3487
HENRY & METZ WORMSER               5420 HAMMERSMITH                                                                                             W BLOOMFIELD       MI      98322
HENRY & WILMA KLEIN                HENRY KLEIN & WILMA H KLEIN        1146 E RIDGE                                                              NEW ALBANY         IN      47150‐2095
HENRY A BROWN                      PO BOX 40992                                                                                                 REDFORD            MI      48240‐0992
HENRY A CARTER                     1316 LITTLE LAKE RD                                                                                          OAK RIDGE          LA      71264‐9309
HENRY A CZARZASTY                  836 HEATHER CT.                                                                                              VANDALIA           OH      45377‐1619
HENRY A JOHNSON                    4327 ARDERY AVE                                                                                              DAYTON             OH      45406‐1304
HENRY A JOHNSON                    10708 PARDEE RD                                                                                              TAYLOR             MI      48180‐3555
HENRY A LAVOIE                     1125 HWY AIA APT 605                                                                                         SATELLITE BEACH    FL      32937
HENRY A LUCAS, JR.                 2517 FOXCHASE CT W                                                                                           TROY               OH      45373‐1003
HENRY A SCHEU                      6411 GREENBROOK DRIVE                                                                                        DAYTON             OH      45426‐1307
HENRY A SLAUGHTER                  C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                                 HOUSTON            TX      77007
                                   BOUNDAS LLP
HENRY A WILHELM                    104 LAURA AVE                                                                                                DAYTON             OH      45405‐3102
HENRY A WILLIAMS                   4114 PARSONS WALK                                                                                            SAGINAW            MI      48603‐7264
HENRY A. BAKER III                 2163 BRITTANY CT.                                                                                            FERNANDINA BEACH   FL      32034

HENRY ADAMS                        835 N SCHEURMANN RD APT 206                                                                                  ESSEXVILLE         MI      48732‐2208
HENRY ADAMS                        324 W TYRELL ST                                                                                              SAINT LOUIS        MI      48880‐1442
HENRY ADAMS JR                     1621 BEECH DR N                                                                                              PLAINFIELD         IN      46168‐2130
HENRY ADAMS JR                     2956 CHURCHILL LANE                                                                                          SAGINAW            MI      48603‐2678
HENRY ADDINGTON                    1303 ALLENBY CT                                                                                              BEL AIR            MD      21014‐2740
HENRY ADLER JR                     312 GREEN MEADOWS DR                                                                                         LANSING            MI      48917‐3029
HENRY AGNEW                        4189 E 187TH ST                                                                                              CLEVELAND          OH      44122‐6962
HENRY AIKEN                        35 ARUNDEL RD                                                                                                BUFFALO            NY      14216‐2001
HENRY ALBERT BUDGE                 C/O NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT         205 LINDA DRIVE                          DAINGERFIELD       TX      75638
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Name                        Address1                           Address2                 Address3            Address4               City           State   Zip
HENRY ALCANTAR              14625 KALISHER ST                                                                                      SAN FERNANDO    CA     91340‐4166
HENRY ALESLAGLE             4140 WEYBRIGHT CT                                                                                      KETTERING       OH     45440‐1306
HENRY ALLEN JR              6101 WYNDHAM WAY                                                                                       MUNCIE          IN     47304‐5787
HENRY ALLEN MASSEY          BARON & BUDD PC                    THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                          DALLAS          TX     75219‐4281
HENRY ALTENBERNT            13681 WHITTAKER RD                                                                                     MILAN           MI     48160‐9716
HENRY ALTER                 48478 LANCE CREEK CT                                                                                   SHELBY TWP      MI     48315‐4286
HENRY ALVA                  3488 S GLEANER RD                                                                                      SAGINAW         MI     48609‐9149
HENRY ALVAREZ JR            PO BOX 237 APT #2                                                                                      HAMLER          OH     43524
HENRY ALVARO JR             3904 STERNS RD                                                                                         LAMBERTVILLE    MI     48144‐9723
HENRY AMBLER                238 CRANBERRY BEACH BLVD                                                                               WHITE LAKE      MI     48386‐1940
HENRY AND MARIE A SCHMIDT   HENRY AND MARIE A SCHMIDT JT TEN   110 PARKWOOD DRIVE                                                  SNYDER          NY     14226
HENRY AND MARIE A SCHMIDT
HENRY AND METZ WORMSER      5420 HAMMERSMITH DR                                                                                    W BLOOMFIELD   MI      98322
HENRY ANDERSON              PO BOX 87                                                                                              N BLOOMFIELD   OH      44450‐0087
HENRY ANDERSON              7558 GRIMM RD                                                                                          SHREVEPORT     LA      71107‐9589
HENRY ANDERSON              6015 GREEN BANK DR                                                                                     GRAND BLANC    MI      48439‐9429
HENRY ANTHONY III           131 E MCCLELLAN ST                                                                                     FLINT          MI      48505‐4223
HENRY ANTHONY JR            PO BOX 311771                                                                                          ATLANTA        GA      31131‐1771
HENRY ANTHONY JR            133 E MCCLELLAN ST                                                                                     FLINT          MI      48505‐4223
HENRY ANTWINE               326 BROOKSIDE DR                                                                                       MCDONOUGH      GA      30253‐6647
HENRY ARAKAKI               112 JUDGE JOHN AISO ST APT 322                                                                         LOS ANGELES    CA      90012‐3858
HENRY ARCHER                1541 ATKINSON ST                                                                                       DETROIT        MI      48206‐2090
HENRY ARDUINI               6900 MERWIN CHASE RD                                                                                   BROOKFIELD     OH      44403‐8715
HENRY ARNETT                489 CALDWELL CIR                                                                                       NEW CARLISLE   OH      45344‐2846
HENRY ARNOLD                4999 OLDE GROVE LN                                                                                     LA MESA        CA      91941
HENRY AROCHO                12865 GOLDEN LEAF DR                                                                                   RANCHO         CA      91739‐8013
                                                                                                                                   CUCAMONGA
HENRY ARTHUR                2602 LIBRA ST                                                                                          SHAWNEE        OK      74804‐9307
HENRY ASBURY                30400 ROYALVIEW DR                                                                                     WILLOWICK      OH      44095‐4812
HENRY ASH                   519 E WILLIAM AVE                                                                                      KINGSLAND      GA      31548‐5027
HENRY ASKEY                 408 CORNWALL AVE                                                                                       TONAWANDA      NY      14150‐7044
HENRY ATENCIO               6008 SIPAPU AVE NW                                                                                     ALBUQUERQUE    NM      87120‐3731
HENRY AUGUSTYNIAK           27225 LORRAINE AVE                                                                                     WARREN         MI      48093‐4419
HENRY AUSTIN                5480 MAYBEE RD                                                                                         CLARKSTON      MI      48346‐3272
HENRY AUSTIN JR             112 PARKWEST DR APT 2F6                                                                                LANSING        MI      48917‐2530
HENRY AVERY                 11 HIGH ST                                                                                             ELYRIA         OH      44035‐3336
HENRY AXEL                  1728 GLADSTONE ST                                                                                      YOUNGSTOWN     OH      44506‐1823
HENRY AYIK                  29 WINDHAM ST                                                                                          WORCESTER      MA      01610‐2125
HENRY B
HENRY B ALESLAGLE           4140 WEYBRIGHT CT.                                                                                     KETTERING      OH      45440‐1306
HENRY B DUSZA               291 NE MOONSTONE DR.                                                                                   JENSEN         FL      34957‐5401
HENRY B HAGOOD              PO BOX 2925                                                                                            DETROIT        MI      48202‐0955
HENRY B HOLT                1666 NEWTON AVE                                                                                        DAYTON         OH      45406‐4110
HENRY B JENKINS             19555 WILLIAMS DR                                                                                      CULPEPER       VA      22701
HENRY B KELLERMAN           2636 STILLWAGON RD SE                                                                                  WARREN         OH      44484
HENRY B WILLIAMS            7551 ARUNDEL RD                                                                                        TROTWOOD       OH      45426‐3801
HENRY BAASE                 581 MEADOWLAWN ST                                                                                      SAGINAW        MI      48604‐2216
HENRY BACHMAN               34259 MACDONALD DR                                                                                     STERLING HTS   MI      48310‐6060
HENRY BACHOFEN              1016 NORTH AVE                                                                                         ELIZABETH      NJ      07201‐1623
HENRY BACK                  9277 CHERRYWOOD RD                                                                                     CLARKSTON      MI      48348‐2501
HENRY BAILEY                5605 HENRY BAILEY RD                                                                                   SUGAR HILL     GA      30518‐7952
HENRY BAILEY                4207 DOBBIN CIR                                                                                        DAYTON         OH      45424‐8130
HENRY BAKER                 714 FOREST CT                                                                                          YPSILANTI      MI      48198‐3916
HENRY BAKER                 44490 STONE RD                                                                                         NOVI           MI      48375‐1538
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Name                       Address1                        Address2                      Address3            Address4               City            State   Zip
HENRY BALDWIN              354 S 30TH ST                                                                                            SAGINAW          MI     48601‐6346
HENRY BALL                 6433 SOHN RD                                                                                             VASSAR           MI     48768‐9489
HENRY BALLEW               1216 E WHEELER ST                                                                                        KOKOMO           IN     46902‐2325
HENRY BALZER JR            2211 HETZNER DR                                                                                          SAGINAW          MI     48603‐2527
HENRY BANGUIL JR           201 PROSPECT ST                                                                                          PONTIAC          MI     48341‐3039
HENRY BANKS                354 BEEBE AVE                                                                                            ELYRIA           OH     44035‐4028
HENRY BANKS                BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.      OH     44236
HENRY BANNER               1042 SUNSET RIDGE DR                                                                                     CROSSVILLE       TN     38571‐0485
HENRY BARABIN              C/O BRAYTON PURCELL             222 RUSH LANDING                                                         NOVATO           CA     94948‐6169
HENRY BARFIELD             11100 W COUNTRY DR                                                                                       OKLAHOMA CITY    OK     73170‐2434
HENRY BARLOW JR            2148 YOUNG FARM PL                                                                                       MONTGOMERY       AL     36106‐3135
HENRY BARNES               901 PALLISTER ST APT 112                                                                                 DETROIT          MI     48202‐2679
HENRY BARNICKEL            305 SANNITA DR                                                                                           ROCHESTER        NY     14626‐3617
HENRY BARRETT JR           11249 LODGEVIEW CT                                                                                       CINCINNATI       OH     45240‐2207
HENRY BARRICK JR           16980 CARLSON DR APT 617                                                                                 PARKER           CO     80134‐6816
HENRY BARRIOS              1624 OHLTOWN MCDONALD RD                                                                                 NILES            OH     44446‐1358
HENRY BARROW               8224 DUNDALK AVE                                                                                         BALTIMORE        MD     21222‐6013
HENRY BARTH                769 JUSTO LN                                                                                             SEVEN HILLS      OH     44131‐3816
HENRY BASKIN               20165 PINEHURST ST                                                                                       DETROIT          MI     48221‐1059
HENRY BASLER JR            1960 HARDING AVE                                                                                         YPSILANTI        MI     48197‐4417
HENRY BATES                144 E PHILADELPHIA BLVD                                                                                  FLINT            MI     48505‐3328
HENRY BATES JR             144 E PHILADELPHIA BLVD                                                                                  FLINT            MI     48505‐3328
HENRY BATTLEY              C/O BARON & BUDD PC             THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                          DALLAS           TX     75219‐4281
HENRY BAWNIK               49 SUTHERLAND CT                                                                                         WILLIAMSVILLE    NY     14221
HENRY BEAL                 151 BISHOP DR                                                                                            FRAMINGHAM       MA     01702‐6520
HENRY BEAMAN               2504 TIMBERCREST DR                                                                                      FORESTVILLE      MD     20747‐3776
HENRY BEARD                10596 TAMRYN BLVD                                                                                        HOLLY            MI     48442‐8571
HENRY BEAUCHAMP            482 RIVERBEND RD                                                                                         TOCCOA           GA     30577‐6733
HENRY BEAVERS              1566 SMITHTON RD                                                                                         GURDON           AR     71743‐8903
HENRY BEBEN                550 COMSTOCK ST NW                                                                                       WARREN           OH     44483‐3212
HENRY BECERRA              2227 E CORK ST                                                                                           KALAMAZOO        MI     49001‐5024
HENRY BECK                 467 BUCHANAN DR                                                                                          DAVISON          MI     48423‐8408
HENRY BEECH                321 CLIFF ST                                                                                             NAPOLEON         OH     43545‐2017
HENRY BELL                 5628 SANDHURST DR                                                                                        FOREST PARK      GA     30297‐2906
HENRY BELL JR              5454 COUNTRY HEARTH LN                                                                                   GRAND BLANC      MI     48439‐9188
HENRY BENFORD              31 INTER PARK AVE                                                                                        BUFFALO          NY     14211‐1117
HENRY BENJAMIN SR          478 E COOK RD APT 304                                                                                    MANSFIELD        OH     44903‐6711
HENRY BERGHOFF             9149 ANACAPA BAY DR                                                                                      PINCKNEY         MI     48169‐8231
HENRY BERNARD H (431061)   WEITZ & LUXENBERG               180 MAIDEN LANE                                                          NEW YORK         NY     10038
HENRY BERNAT               BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.      OH     44236
HENRY BERNIER              239 MANVILLE RD                                                                                          WOONSOCKET        RI    02895‐5403
HENRY BERNS                20919 VAN BUREN ST                                                                                       SOUTHFIELD       MI     48033‐5975
HENRY BERRA                1135 MALLARDS WAY                                                                                        O FALLON         MO     63368‐9663
HENRY BERRY                BOX 168FAIR HILL DRIVE                                                                                   ELKTON           MD     21921
HENRY BERRY                18038 HIGHWAY C                                                                                          LAWSON           MO     64062‐7194
HENRY BERRY                1918 W ARCH AVE                                                                                          SEARCY           AR     72143‐5004
HENRY BERT                 3405 THE ALAMEDA                                                                                         BALTIMORE        MD     21218‐3012
HENRY BETTIS               44221 KINGTREE AVE APT 206                                                                               LANCASTER        CA     93534‐4123
HENRY BETTS                1329 S GENESEE AVE                                                                                       LOS ANGELES      CA     90019‐2409
HENRY BICKLEY              1618 SUCCESS ST                                                                                          BOSSIER CITY     LA     71112‐4068
HENRY BIELECKI             6329 FULTON AVE                                                                                          BENSALEM         PA     19020‐2537
HENRY BILLY M (466970)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                              NORFOLK          VA     23510
                                                           STREET, SUITE 600
HENRY BIRD JR              3979 GLADWYN CT                                                                                          DULUTH           GA     30096‐2620
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Name                              Address1                             Address2                     Address3     Address4               City               State   Zip
HENRY BIZZLE                      1624 SEMINOLE ST                                                                                      FLINT               MI     48503‐5113
HENRY BLACKLEDGE                  240 WOODLAWN AVE                                                                                      LANSING             MI     48910‐1401
HENRY BLACKWELL JR                4463 THURGOOD ESTATES DR                                                                              ELLENWOOD           GA     30294‐3286
HENRY BLATNIK                     29126 HOMEWOOD DR                                                                                     WICKLIFFE           OH     44092‐2332
HENRY BLAZ                        BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.         OH     44236
HENRY BLOOMFIELD                  10425 S AIRPORT RD                                                                                    ATLANTA             MI     49709‐9261
HENRY BLUE                        739 WALTHAM DR                                                                                        MOUNT MORRIS        MI     48458‐8715
HENRY BLUM                        25224 60TH AVE                                                                                        LITTLE NECK         NY     11362‐2441
HENRY BOEDECKER                   4288 N JENNINGS RD                                                                                    FLINT               MI     48504‐1309
HENRY BOLANOWSKI                  9164 DUFFIELD RD                                                                                      MONTROSE            MI     48457‐9116
HENRY BOLDER                      2700 SHIMMONS RD                                                                                      AUBURN HILLS        MI     48326
HENRY BOLES                       2267 S HAWTHORNE PARK DR                                                                              JANESVILLE          WI     53545‐2041
HENRY BOLTON                      20875 ALBION RD                                                                                       STRONGSVILLE        OH     44149‐2342
HENRY BONIFAZI                    326 BLACK OAK DR UNIT 101                                                                             MURRELLS INLET      SC     29576‐9280
HENRY BONKOWSKI                   35140 W 8 MILE RD APT 5                                                                               FARMINGTON HILLS    MI     48335‐5158

HENRY BONNER SR                   2639 HALLECK DR                                                                                       COLUMBUS           OH      43209‐3221
HENRY BOOK                        707 PONY LN                                                                                           HORSESHOE BEND     AR      72512‐1974
HENRY BOOKER                      3 FERNRIDGE DR                                                                                        SAINT PETERS       MO      63376‐3017
HENRY BORELLI                     67 NICHOLAS RD APT F                                                                                  FRAMINGHAM         MA      01701‐3450
HENRY BOREN                       310 KIMBALL                                                                                           PARIS              IL      61944
HENRY BORMANN JR                  8559 USHER RD                                                                                         OLMSTED FALLS      OH      44138‐2101
HENRY BOSLEY                      339 N WILEY ST                                                                                        CRESTLINE          OH      44827‐1354
HENRY BOSTIC JR                   8516 W 26TH ST                                                                                        RIVERSIDE          IL      60546‐1226
HENRY BOTTELMAN                   W15337 HILL ST                                                                                        TIGERTON           WI      54486‐8528
HENRY BOTTO                       50 PULASKI ST                                                                                         NEW BRITAIN        CT      06053‐3565
HENRY BOUCH                       P.O. BOX 12 RT 36                                                                                     LA JOSE            PA      15753
HENRY BOULWARE                    127 HARVARD PL                                                                                        BUFFALO            NY      14209‐1308
HENRY BOULWARE                    1739 E 35TH ST                                                                                        BALTIMORE          MD      21218‐3020
HENRY BOVA                        72 CRYSTAL CT                                                                                         BRUNSWICK          OH      44212‐1587
HENRY BOWEN                       12190 W LAKESHORE DR                                                                                  BRIMLEY            MI      49715‐9319
HENRY BOWMAN                      754 OXFORD AVE                                                                                        NILES              OH      44446‐1334
HENRY BOYCE                       420 S LAUREL AVE                                                                                      KEANSBURG          NJ      07734‐3148
HENRY BRACKINS                    5096 GUFFIN RD                                                                                        BARTLETT           TN      38135‐6201
HENRY BRADLEY                     6570 COUNTY ROAD 284                                                                                  EDNA               TX      77957
HENRY BRADLEY JR                  1624 NORRIS ST                                                                                        WESTLAND           MI      48186‐8951
HENRY BRADYCHOK                   25093 S MAGDALENA ST                                                                                  HARRISON TWP       MI      48045‐3707
HENRY BRAGGS JR                   1830 W 60TH PL                                                                                        MERRILLVILLE       IN      46410‐2320
HENRY BRANDON                     8066 BUNCOMBE RD                                                                                      SHREVEPORT         LA      71129‐9329
HENRY BRANDON                     PO BOX 970222                                                                                         YPSILANTI          MI      48197‐0804
HENRY BRANDT                      986 RUSSELL RD                                                                                        BAY CITY           MI      48708‐9656
HENRY BRANNON                     201 FINLAND DR                                                                                        EATON              OH      45320‐2705
HENRY BRANTLEY                    24245 RENSSELAER ST                                                                                   OAK PARK           MI      48237‐1724
HENRY BRATLAND                    517 STATE ROAD 73                                                                                     EDGERTON           WI      53534‐9373
HENRY BRAZIER                     THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                          BALTIMORE          MD      21201

HENRY BRENNAN/AURELIA TARTAGLIA   230 CAMBRIDGE AVE                                                                                     ENGLEWOOD           NJ     07631
BRENNAN
HENRY BREWER                      3900 CONE CT                                                                                          DAYTON             OH      45408‐2314
HENRY BREWER                      3900 CONE COURT                                                                                       DAYTON             OH      45417
HENRY BRIAN                       3954 N SHERMAN BLVD APT 2                                                                             MILWAUKEE          WI      53216
HENRY BRIAN D                     1514 MELTON RD                                                                                        LUTHERVILLE        MD      21093‐5800
HENRY BRIDGES                     747 TAFT DR APT 10H                                                                                   ARLINGTON          TX      76011‐0817
HENRY BROADNAX JR                 579 NEVADA AVE                                                                                        PONTIAC            MI      48341‐2554
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Name                                 Address1                           Address2                    Address3       Address4               City              State   Zip
HENRY BROCKMAN                       4170 MAPLEWOOD MEADOWS AVE                                                                           GRAND BLANC        MI     48439‐3500
HENRY BROOKS JR                      PO BOX 5404                                                                                          FLINT              MI     48505‐0404
HENRY BROWN                          1216 RANSOM ST                                                                                       SANDUSKY           OH     44870‐3129
HENRY BROWN                          12107 LONGSTRAP LN                 BEACON WOODS                                                      BAYONET POINT      FL     34667‐2648
HENRY BROWN                          209 COLLAMER RD                                                                                      HILTON             NY     14468‐9199
HENRY BROWN                          21 RIVERDALE AVE                                                                                     WHITE PLAINS       NY     10607‐1419
HENRY BROWN                          554 WESTMOUNT ST                                                                                     ROCHESTER          NY     14615‐3220
HENRY BROWN                          24880 MEKUS RD                                                                                       DEFIANCE           OH     43512‐9138
HENRY BROWN                          2808 FLETCHER ST                                                                                     ANDERSON           IN     46016‐5341
HENRY BROWN                          2326 WALNUT RD                                                                                       AUBURN HILLS       MI     48326‐2554
HENRY BROWN                          14301 PENROD ST                                                                                      DETROIT            MI     48223‐3549
HENRY BROWN                          4225 ATWOOD RD                                                                                       BRIDGEPORT         MI     48722‐9551
HENRY BROWN                          384 PINHOOK RD                                                                                       MOUNT OLIVET       KY     41064‐7755
HENRY BROWN                          1810 WALDEN RD                                                                                       BOWLING GREEN      KY     42101‐4260
HENRY BROWN                          3132 N OLNEY ST                                                                                      INDIANAPOLIS       IN     46218‐2133
HENRY BROWN                          600 ORTMAN ST                                                                                        SAGINAW            MI     48601‐3711
HENRY BROWN                          C/O THE MADEKSHO LAW FIRM          8866 GULF FREEWAY STE 440                                         HOUSTON            TX     77017
HENRY BROWN BUICK PONTIAC GMC        1550 E DRIVERS WAY                                                                                   GILBERT            AZ     85297‐0402
HENRY BROWN BUICK PONTIAC GMC LLC    1550 E DRIVERS WAY                                                                                   GILBERT            AZ     85297‐0402

HENRY BROWN BUICK PONTIAC GMC, LLC   HENRY BROWN                        1550 E DRIVERS WAY                                                GILBERT            AZ     85297‐0402

HENRY BROWN CHEVROLET                1990 N PINAL AVE                                                                                     CASA GRANDE       AZ      85222‐1400
HENRY BROWN CHEVROLET LLC            1990 N PINAL AVE                                                                                     CASA GRANDE       AZ      85222‐1400
HENRY BROWN CHEVROLET, LLC           1990 N PINAL AVE                                                                                     CASA GRANDE       AZ      85222‐1400
HENRY BROWN CHEVROLET, LLC           6330 E SUPERSTITION SPRINGS BLVD                                                                     MESA              AZ      85206‐4395
HENRY BROWN CHEVROLET, LLC           HENRY BROWN                        1990 N PINAL AVE                                                  CASA GRANDE       AZ      85222‐1400
HENRY BROWN JR                       17565 EVERGREEN RD                                                                                   DETROIT           MI      48219‐3420
HENRY BROWN JR                       2941 MARTIN LUTHER KING JR DR                                                                        CLEVELAND         OH      44104‐4872
HENRY BROWN JR                       RR 6 BOX 355AA                                                                                       SELMA             AL      36701‐9541
HENRY BROWN SR                       6465 THOMPSON SHARPSVILLE RD                                                                         FOWLER            OH      44418‐9775
HENRY BROWN SR                       4279 E 163RD ST                                                                                      CLEVELAND         OH      44128‐2456
HENRY BROWN SR                       NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT    205 LINDA DR                          DAINGERFIELD      TX      75638
HENRY BROZEK                         412 STATE ST                                                                                         MEDINA            NY      14103‐1342
HENRY BRUNEA                         6686 ALLEGHANY RD                                                                                    BASOM             NY      14013‐9535
HENRY BRYANT                         3443 BEELER AVE                                                                                      INDIANAPOLIS      IN      46224‐1919
HENRY BRYANT                         77 BUTLER AVE                                                                                        SOUTHINGTON       CT      06489‐1206
HENRY BRYANT                         1008 N BRADY ST                                                                                      MUNCIE            IN      47303‐5040
HENRY BRYSON JR                      1551 WINDSOR RD                                                                                      MANSFIELD         OH      44905‐1748
HENRY BUCHALA                        APT 203                            7 ASPEN DRIVE                                                     S BURLINGTON      VT      05403‐6248
HENRY BUDDENHAGEN                    CASCINO MICHAEL P                  220 S ASHLAND AVE                                                 CHICAGO           IL      60607
HENRY BURAWSKI                       358 HAZEL AVE                                                                                        GARWOOD           NJ      07027‐1425
HENRY BURGESS JR                     APT 802                            25701 WEST 12 MILE ROAD                                           SOUTHFIELD        MI      48034‐1815
HENRY BURLESON                       2702 AVONDALE CT SE                                                                                  DECATUR           AL      35601‐6734
HENRY BURNS                          371 LANCASTER ST UNIT 12                                                                             WEST BOYLSTON     MA      01583
HENRY BURNS JR                       2045 BARKS ST                                                                                        FLINT             MI      48503‐4305
HENRY BURRELL                        PO BOX 76                                                                                            BRIDGEPORT        MI      48722‐0076
HENRY BURTON                         PO BOX 300582                                                                                        ARLINGTON         TX      76007‐0582
HENRY BUSH                           6533 US 35 EAST                                                                                      WEST ALEXANDRIA   OH      45381

HENRY BUSH JR                        2109 GRAYTHORN RD                                                                                    BALTIMORE         MD      21220‐4928
HENRY BUSSEY I I I                   78 UPPER HILLSIDE DR                                                                                 BELLBROOK         OH      45305‐2119
HENRY BYERS                          9162 FORESTVIEW                                                                                      TEMPERANCE        MI      48182‐9353
HENRY BYRD                           2165 S CENTER ST                                                                                     PLAINFIELD        IN      46168‐9366
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Name                             Address1                      Address2                     Address3          Address4               City               State   Zip
HENRY BYRSKI                     9208 N ELMS RD                                                                                      CLIO                MI     48420‐8510
HENRY C BETZ                     9924 NW 6 COURT                                                                                     PLANTATION          FL     33324
HENRY C HAYWOOD JR               901 PALLISTER ST APT 902                                                                            DETROIT             MI     48202‐2675
HENRY C JONES                    1277 N ST RT 201                                                                                    CASSTOWN            OH     45312‐9547
HENRY C MEISS III                2016 MOUNTAIN RD                                                                                    CATAWISSA           PA     17820
HENRY C MINES                    2601 HOWLAND‐WILSON RD.                                                                             CORTLAND            OH     44410‐9449
HENRY C MORRIS                   2103 ALGONAC DR                                                                                     FLINT               MI     48532‐4507
HENRY C NEEDHAM                  409 BROWNS CREEK RD                                                                                 RAVENDEN            AR     72459‐8022
HENRY C NEEDHAM                  RTE 2 BOX 152B                                                                                      RAVENDEN            AR     72459
HENRY C PIERCE                   5570 OLIVE TREE DR                                                                                  DAYTON              OH     45426‐1311
HENRY C RICHARDSON               9305 OAKES ROAD                                                                                     ARCANUM             OH     45304‐8920
HENRY C SHROUT                   BOX 929                                                                                             DENNISTON           KY     40316
HENRY C SMILEY JR                3915 AUDUBON RD                                                                                     DETROIT             MI     48224‐2748
HENRY C SMITHER ROOFING CO INC   6850 E 32ND ST                                                                                      INDIANAPOLIS        IN     46226‐6161
HENRY C TOM                      11168 MANDALE DR                                                                                    STERLING HEIGHTS    MI     48312‐4970
HENRY C YOUNG                    3736 MANDALAY DR                                                                                    DAYTON              OH     45416‐1124
HENRY CABBIL                     37600 WINFIELD CT                                                                                   WESTLAND            MI     48186‐9341
HENRY CADE JR                    1444 WALSHIRE DR N                                                                                  COLUMBUS            OH     43232‐8510
HENRY CALHOUN                    P.O 2124                                                                                            ANDERSON            IN     46018
HENRY CALLAWAY                   3022 VETERANS MEMORIAL PKWY                                                                         TUSCALOOSA          AL     35404‐4281
HENRY CALVERT                    9168 E 2050 NORTH RD                                                                                OAKWOOD              IL    61858‐6244
HENRY CALVETTI                   248 LOCUST AVE                                                                                      WILMINGTON          DE     19805‐2521
HENRY CALVIN SLABAUGH            NIX PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD        TX     75638
HENRY CAMARGO                    3364 BLOOMFIELD SHORE DR                                                                            W BLOOMFIELD        MI     48323‐3302
HENRY CAMERON JR                 5203 SANDALWOOD CIR                                                                                 GRAND BLANC         MI     48439‐4266
HENRY CAMP                       6803 BRASWELL MOUNTAIN RD                                                                           ROCKMART            GA     30153‐3803
HENRY CAMPBELL                   5523 E STATE ROAD 144                                                                               MOORESVILLE         IN     46158‐6064
HENRY CANTU                      PO BOX 301264                                                                                       ARLINGTON           TX     76007‐1264
HENRY CARLILE                    4878 S 980 E                                                                                        WINDFALL            IN     46076‐9609
HENRY CARR                       47 HEIGHTS RD                                                                                       LAKE ORION          MI     48362‐2720
HENRY CARRABELLO                 2233 109TH AVE                                                                                      OAKLAND             CA     94603‐4031
HENRY CARRADINE                  6011 FOX CHASE TRL                                                                                  SHREVEPORT          LA     71129‐3504
HENRY CARRON                     790 N 4TH ST                                                                                        STE GENEVIEVE       MO     63670‐1010
HENRY CARSON                     18674 GABLE ST                                                                                      DETROIT             MI     48234‐2640
HENRY CARSTARPHEN                4023 BROWNELL BLVD                                                                                  FLINT               MI     48504‐2124
HENRY CARTER                     8621 N MATTOX RD APT C118                                                                           KANSAS CITY         MO     64154
HENRY CARTER                     1316 LITTLE LAKE RD                                                                                 OAK RIDGE           LA     71264‐9309
HENRY CARUSO                     2962 MEIER PL                                                                                       CUYAHOGA FALLS      OH     44221‐1630
HENRY CASTEEL                    4395 HIDDEN BRANCH DR                                                                               DOUGLASVILLE        GA     30134‐3914
HENRY CASTILLO                   19840 GRATIOT RD                                                                                    MERRILL             MI     48637‐9555
HENRY CASTILLO                   5178 MAYBROOK DR                                                                                    SAGINAW             MI     48603‐1856
HENRY CASTILLO                   1976 BRIDGEWATER ST                                                                                 ATWATER             CA     95301‐4818
HENRY CAUDILL                    BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                            BOSTON HEIGHTS      OH     44236
HENRY CAVAZOS                    1727 S WASHINGTON ST                                                                                KOKOMO              IN     46902‐2006
HENRY CERMAK                     8629 E MAPLE RAPIDS RD                                                                              ELSIE               MI     48831‐9625
HENRY CHALUPCZYNSKI              4227 WAGNER AVE                                                                                     ERIE                PA     16510
HENRY CHANDLER                   3031 RIVERSIDE DR                                                                                   JACKSON             TN     38301‐9160
HENRY CHANDLER                   6218 BOCAGE DR                                                                                      SHREVEPORT          LA     71119‐6203
HENRY CHANEY JR                  1064 MEADOW CLUB CT                                                                                 SUWANEE             GA     30024‐7387
HENRY CHARLES                    7459 WINDING WAY                                                                                    BRECKSVILLE         OH     44141‐1923
HENRY CHATHAM                    1179 CHATHAM RD                                                                                     BUFORD              GA     30518‐4903
HENRY CHATMAN                    395 SAINT PAUL LOOP                                                                                 MORRIS CHAPEL       TN     38361‐4663
HENRY CHAVEZ                     4297 US ROUTE 422                                                                                   SOUTHINGTON         OH     44470‐9580
HENRY CHEATHAM                   PO BOX 311170                                                                                       FLINT               MI     48531‐1170
                                      09-50026-mg          Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                                  Address1                           Address2                   Address3             Address4                 City            State Zip
HENRY CHEESEMAN                       6251 GROVENBURG RD                                                                                          LANSING          MI 48911‐5409
HENRY CHEVROLET BUICK PONTIAC, INC.   VICTORIA BACIDORI                  1407 3RD ST                                                              HENRY             IL 61537‐1336

HENRY CHEVROLET BUICK PONTIAC, INC.   1407 3RD ST                                                                                                 HENRY            IL   61537‐1336

HENRY CHILDERS                        8013 E MOUNT MORRIS RD                                                                                      OTISVILLE       MI    48463‐9416
HENRY CHIN'S AUTO CARE                2132 DWIGHT WAY                                                                                             BERKELEY        CA    94704‐2015
HENRY CHINSKI JR                      32 PONDAROSA DR/PINE VALLEY                                                                                 MIDDLETOWN      DE    19709
HENRY CHINSKI SR                      1030 KENDALL RD                                                                                             WILMINGTON      DE    19805‐1151
HENRY CHISUM
HENRY CHMELAR                         P 0 B0X 73                                                                                                  NEW LOTHROP     MI    48460
HENRY CHRISTIAN                       3040 S DARTMOUTH ST                                                                                         DETROIT         MI    48217‐1095
HENRY CHRISTOPHER L                   GITZEN, LAURIE A                   HUTCHENS, LAWRENCE J       9047 FLOWER STREET                            BELLFLOWER      CA    90706
HENRY CHRISTOPHER L                   HENRY, CHRISTOPHER L               9047 FLOWER ST                                                           BELLFLOWER      CA    90706‐5605
HENRY CHU                             3688 ACADIA DR                                                                                              LAKE ORION      MI    48360‐2717
HENRY CIESLINSKI                      201 KENT ST                                                                                                 AUBURN          MI    48611‐9468
HENRY CISOWSKI                        128 AUBURN RD                                                                                               PILESGROVE      NJ    08098‐2701
HENRY CIURZYNSKI                      64 BLOOMINGDALE AVE                                                                                         AKRON           NY    14001‐1114
HENRY CLANTON                         452 EASTVIEW DR                                                                                             LAUREL          MS    39443‐7797
HENRY CLARK                           152 WILLIAMS ST                                                                                             MERIDEN         CT    06450‐4514
HENRY CLARK                           5126 EBERHARDT ST NW                                                                                        COVINGTON       GA    30014‐2144
HENRY CLARK                           5386 CROOKED PINE DR SW                                                                                     GRANDVILLE      MI    49418‐9727
HENRY CLARK                           111 AVONDALE LN                                                                                             SPARTA          MO    65753‐9033
HENRY CLASS                           2125 LKPT‐OLCT                                                                                              BURT            NY    14028
HENRY CLAY                            21071 GARY DR APT 209                                                                                       CASTRO VALLEY   CA    94546‐6102
HENRY CLAYTON                         1530 MORTON ST                                                                                              ANDERSON        IN    46016‐3535
HENRY CLOUSE JR                       201 SPRING HAVEN RD                                                                                         MITCHELL        IN    47446‐8217
HENRY CLOUTHIER                       572 DURAN ST                                                                                                HENDERSON       NV    89015‐6972
HENRY COCHRAN                         618 BRYNFORD AVE                                                                                            LANSING         MI    48917‐4900
HENRY COFER                           2531 W PLEASANT RUN RD APT 27101                                                                            LANCASTER       TX    75146‐1481
HENRY COGDELL                         316 HOLIDAY LN                                                                                              GREENTOWN       IN    46936
HENRY COHOON                          PO BOX 7252                                                                                                 FLINT           MI    48507‐0252
HENRY COLE                            6410 36TH AVE S                                                                                             TAMPA           FL    33619‐6340
HENRY COLEMAN                         6716 RIDGE RD                                                                                               HARRISON        MI    48625‐8963
HENRY COLEMAN                         38701 TEMPE DR                                                                                              ROMULUS         MI    48174‐5068
HENRY COLEMAN                         13605 MANSFIELD ST                                                                                          DETROIT         MI    48227‐1729
HENRY COLEMAN JR                      807 EMERSON ST                                                                                              SAGINAW         MI    48607‐1706
HENRY COLLINS                         3376 HARTLEY DR                                                                                             ADRIAN          MI    49221‐9200
HENRY COMPANY                         PATRICK NEHER                      900 N. SEPULVEDA BLVD                                                    EL SEGUNDO      CA    90245
HENRY CONLEY                          47 SHADOW RIDGE DR                                                                                          JACKSON         TN    38305‐8513
HENRY CONLON                          40 MOYERS ST                                                                                                OXFORD          MI    48371‐4833
HENRY CONNER                          3102 MCKENZIE RD                                                                                            EAST POINT      GA    30344‐5409
HENRY CONWAY                          817 LARCH ST                                                                                                SAGINAW         MI    48602‐1714
HENRY CONWAY                          35831 FLORANE ST                                                                                            WESTLAND        MI    48186‐4177
HENRY COOK JR                         11727 SHIRBURN CIR                                                                                          PARRISH         FL    34219
HENRY COOPER                          379 LAIRD ST                                                                                                MOUNT MORRIS    MI    48458‐8940
HENRY COPE                            18 FOXSHIRE CIRCLE                                                                                          ROCHESTER       NY    14606‐‐ 53
HENRY CORDE CHAMBERS                  ROBERT W PHILLIPS                  SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON      IL    62024
                                                                         ANGELIDES & BARNERD LLC
HENRY CORRIGAN                        5880 GRANITE LN                                                                                             COCOA           FL    32927‐8823
HENRY COUCKE                          110 PARK AVE                                                                                                HOLLY           MI    48442‐1422
HENRY COUNTY                          PO BOX 488                         TAX COMMISSIONER                                                         MCDONOUGH       GA    30253‐0488
HENRY COUNTY                          PO BOX 488                         LICENSING DEPARTMENT                                                     MCDONOUGH       GA    30253‐0488
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Name                                Address1                         Address2                 Address3                Address4                 City              State Zip
HENRY COUNTY BUREAU OF SUPPORT      FAMILY SUPPORT PAYMENT FOR ACC   OF G GARZA CASE #19343   COURTHOUSE BLDG HENRY                            NAPOLEON           OH 00000
                                                                                              CTY
HENRY COUNTY C.S.E.A.               ACCT OF FRANK MELCHOR            PO BOX 70                                                                 NAPOLEON          OH   43545‐0070
HENRY COUNTY CHILD SUPPORT          FAMILY SUPPORT FOR ACCOUNT OF    PO BOX 70                LE CREW #23284                                   NAPOLEON          OH   43545‐0070
HENRY COUNTY CIRCUIT CLERK          PO BOX 487                                                                                                 CLINTON           MO   64735‐0487
HENRY COUNTY CLERK FOR ACCOUNTOF    PO BOX B                                                                                                   NEW CASTLE        IN   47362‐1044
SA PEKINPAUGH CAUSE S2‐C‐41

HENRY COUNTY CLERK OF COURTS      660 N PERRY ST STE 302                                                                                       NAPOLEON          OH   43545‐1771
HENRY COUNTY COLLECTOR COURTHOUSE 100 WEST FRANKLIN                                                                                            CLINTON           MO   64735

HENRY COUNTY COMMISSIONER           101 COURT SQ STE C                                                                                         ABBEVILLE         AL   36310‐2135
HENRY COUNTY CSEA                   ACCT OF FREDRIC BURTON FURNEY    PO BOX 70                                                                 NAPOLEON          OH   43545‐0070
HENRY COUNTY SHERIFF'S OFFICE       PO BOX 298                                                                                                 NEW CASTLE        KY   40050‐0298
HENRY COUNTY TREASURER              PO BOX 218                                                                                                 COLLINSVILLE      VA   24078‐0218
HENRY COUNTY TREASURER              PO BOX 546                                                                                                 NAPOLEON          OH   43545‐0546
HENRY COUNTY TRUSTEE                JUDY MCCLANAHAN                  PO BOX 776                                                                PARIS             TN   38242‐0776
HENRY COUSINS                       2154 SPENCER RD                                                                                            STERLING          MI   48659‐9720
HENRY COVINO                        29 PRINCETON DR                                                                                            MILFORD           MA   01757‐1846
HENRY COX                           110 PEACHTREE LN                                                                                           BELL BUCKLE       TN   37020‐4524
HENRY COX                           151 LOCKWOOD RD                                                                                            ORTONVILLE        MI   48462‐9204
HENRY COX                           2205 HAWORTH CT                                                                                            MYRTLE BEACH      SC   29579‐6680
HENRY CRAFTON                       148 MEADOW BROOK DR                                                                                        SEARCY            AR   72143‐9390
HENRY CRAIG                         PO BOX 522                                                                                                 SAINT MARYS       WV   26170‐0522
HENRY CRAMER                        1252 S RANGE RD                                                                                            SAINT CLAIR       MI   48079‐2702
HENRY CRANDALL JR                   PO BOX 163                                                                                                 MIDDLEFIELD       CT   06455‐0163
HENRY CRANE                         1420 RIDLEY DR                                                                                             FRANKLIN          TN   37064‐9614
HENRY CRASE                         1004 REID DRIVE                                                                                            KEYTESVILLE       MO   65261‐2169
HENRY CRAWFORD                      PO BOX 861                                                                                                 WEST POINT        MS   39773‐0861
HENRY CRENSHAW                      1542 CHURCHMAN AVE                                                                                         INDIANAPOLIS      IN   46203‐2993
HENRY CREVISTON                     1179 LILAC CIR                                                                                             WARRENTON         MO   63383‐3290
HENRY CROCKETT JR                   3509 MASON ST                                                                                              FLINT             MI   48505‐4089
HENRY CROFT                         616 LAKEVIEW DR                                                                                            MONROE            GA   30656‐1555
HENRY CROOMS                        4165 WALLER DR                                                                                             SHREVEPORT        LA   71119‐7618
HENRY CROSS                         6622 LAKEVIEW BLVD                                                                                         SAINT HELEN       MI   48656‐9552
HENRY CROSS                         4630 BALDWIN RD                                                                                            LAINGSBURG        MI   48848‐9718
HENRY CUNNINGHAM                    PO BOX 184                                                                                                 BARGERSVILLE      IN   46106‐0184
HENRY CUNNINGHAM                    1300 E LANSING RD                                                                                          MORRICE           MI   48857‐9631
HENRY CUPAL                         2408 MORRISH RD                                                                                            SWARTZ CREEK      MI   48473‐9723
HENRY CURRIER                       1033 MAPLE RIDGE RD                                                                                        BRASHER FALLS     NY   13613‐4246
HENRY CUTTING                       4152 PEBBLE CREEK DR                                                                                       VALDOSTA          GA   31605‐5400
HENRY CUZYDLO                       1681 LINDEN AVE                                                                                            N TONAWANDA       NY   14120‐3021
HENRY CZAJKOWSKI                    10 PINE TREE RIDGE DR UNIT 1                                                                               WATERFORD         MI   48327‐4304
HENRY CZARZASTY                     836 HEATHER CT                                                                                             VANDALIA          OH   45377‐1619
HENRY CZEKAJ                        301 CHIPPEWA ST                                                                                            JACKSON           MI   49202‐3835
HENRY D CARPENTER                   222 MATTY AVE                                                                                              SYRACUSE          NY   13211‐1633
HENRY D CASSENS TRUST               HENRY D CASSENS TTEE             U/A DTD 10/10/01         AMA ACCOUNT             5306 N ASHFORD DR        PEORIA            IL   61615‐8853
HENRY D MULLINS                     2613 PINEGROVE DR.                                                                                         WEST CARROLLTON   OH   45449

HENRY D PRYOR                       2336 W SPRING VALLEY RD                                                                                    MIAMISBURG        OH   45342
HENRY D PRYOR                       2336 SPRINGVALLEY RD                                                                                       MIAMISBURG        OH   45342
HENRY D PRYOR                       6126 TEAGARDEN CIR                                                                                         DAYTON            OH   45449
HENRY D'INNOCENZO                   65 S NIAGARA ST                                                                                            LOCKPORT          NY   14094‐2612
HENRY DAHLIN                        25825 ROCKHOUSE RD                                                                                         CALUMET           MI   49913‐1988
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Name                                  Address1                          Address2                     Address3   Address4               City               State   Zip
HENRY DANIELS                         2332 EVENGLOW CT                                                                                 DELTONA             FL     32725‐2685
HENRY DAVID                           21 HOLLY DR                                                                                      COLUMBUS            NJ     08022‐1603
HENRY DAVID                           3203 VICTORY BLVD                                                                                PORTSMOUTH          VA     23702‐1831
HENRY DAVIS                           209 SUYDAM STREET                                                                                NEW BRUNSWICK       NJ     08901‐2401
HENRY DAVIS                           3226 STURTEVANT ST                                                                               DETROIT             MI     48206‐1036
HENRY DAVIS                           1925 BASIL LN                                                                                    FLINT               MI     48504‐7069
HENRY DAVIS                           122 WELCOME WAY BLVD W APT 105C                                                                  INDIANAPOLIS        IN     46214‐3058
HENRY DAVIS JR                        APT 8                             47 WILLIAMSTOWNE COURT                                         BUFFALO             NY     14227‐2045
HENRY DAVIS SR                        8518 HAVEN ST                                                                                    MOUNT MORRIS        MI     48458‐1328
HENRY DAVISON                         1721 HIGHWAY 584                                                                                 RAYVILLE            LA     71269‐5913
HENRY DAWSON                          2761 POCA RIVER RD N                                                                             POCA                WV     25159
HENRY DAY                             1823 POWERSVILLE HARRISON CO RD                                                                  BROOKSVILLE         KY     41004‐8350
HENRY DAY                             8155 MOUNT MCKINLEY DR                                                                           HUBER HEIGHTS       OH     45424‐2004
HENRY DECEMBER                        1171 MOULTRIE DR NW                                                                              CALABASH            NC     28467‐2188
HENRY DEGE JR                         HC 1 BOX 103‐2                                                                                   GAINESVILLE         MO     65655‐9603
HENRY DEGRAW                          10850 TEXTILE RD                                                                                 BELLEVILLE          MI     48111‐2316
HENRY DEHOYOS                         13 BETHEL COURT                                                                                  NEWARK              DE     19713‐1685
HENRY DELCAMP                         3701 BAYNARD DRVIE K7                                                                            PUNTA GORDA         FL     33950
HENRY DEMIDENKO                       PO BOX 298                                                                                       MANCHESTER          MD     21102‐0298
HENRY DENMAN                          8076 N SEYMOUR RD                                                                                FLUSHING            MI     48433‐9202
HENRY DENNEY                          61 DIXON LN                                                                                      ELKTON              MD     21921‐5050
HENRY DENSON                          2239 WESTMEAD DR SW                                                                              DECATUR             AL     35603‐1036
HENRY DENSON                          PO BOX 385                                                                                       MORTON              MS     39117‐0385
HENRY DENSON JR                       2130 OAKLEAF LN                                                                                  LITHIA SPRINGS      GA     30122‐2903
HENRY DERAMO                          1370 BARBIE DR                                                                                   BOARDMAN            OH     44512‐3703
HENRY DESINO                          183 N PARK DR                                                                                    ROCHESTER           NY     14612‐3923
HENRY DESROSIERS                      561 MAIN ST RT 130                                                                               MASHPEE             MA     02649
HENRY DESTEFANO                       207 WILSHIRE RD                                                                                  SYRACUSE            NY     13209‐2250
HENRY DEVINE                          BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH     44236
HENRY DIANA                           9575 CAIN DR NE                                                                                  WARREN              OH     44484‐1717
HENRY DIETRICH                        9425 S AIRPORT RD                                                                                ATLANTA             MI     49709‐9005
HENRY DILELLO                         8201 MANORFORD DR                                                                                PARMA               OH     44129‐5306
HENRY DINH                            4798 AVIEMORE DR                                                                                 STERLING HEIGHTS    MI     48314‐1966
HENRY DLUGOKINSKI                     10909 MATTESON CORNERS RD                                                                        HOLLAND             NY     14080‐9310
HENRY DOAN                            1717 LINCOLN DR                                                                                  FLINT               MI     48503‐4715
HENRY DOAN I V                        PO BOX 310531                                                                                    FLINT               MI     48531‐0531
HENRY DOBACZEWSKI                     711 HOLLYWOOD AVE                 C/O GEORGE DOBACZEWSKI                                         GROSSE POINTE       MI     48236‐1343
                                                                                                                                       WOODS
HENRY DOBACZEWSKI                     C/O GEORGE DOBACZEWSKI            711 HOLLYWOOD AVENUE                                           GROSSE POINTE       MI     48236
                                                                                                                                       WOODS
HENRY DOLL                            2979 LODGEPOLE DR                                                                                WHITELAND          IN      46184‐9643
HENRY DOLL                            11206 ALEXANDER RD                                                                               ATTICA             NY      14011‐9400
HENRY DOMBROSKI                       434 CHARDONNAY WAY                                                                               BULLHEAD CITY      AZ      86429‐7419
HENRY DOMINGUEZ                       148 POINT OF VIEW CIR                                                                            FARMINGTON         UT      84025‐3842
HENRY DOMINICK                        1414 ALICE ST                                                                                    COLLINSVILLE       IL      62234‐4503
HENRY DON                             11425 FOWLER DR                                                                                  REMUS              MI      49340‐9429
HENRY DONALD E (ESTATE OF) (628545)   ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                     BALTIMORE          MD      21202
                                                                        CHARLES CENTER 22ND FLOOR
HENRY DONALDSON                       290 CHESTNUT LN                                                                                  DAHLONEGA          GA      30533‐5710
HENRY DOROBA                          130 DENOW RD                                                                                     LAWRENCEVILLE      NJ      08648‐1504
HENRY DORTCH                          2 KOSMO DR APT 204                                                                               DAYTON             OH      45402‐8360
HENRY DOZIER                          PO BOX 125                                                                                       EDWARDS            MS      39066‐0125
HENRY DRAKE                           850 MILLER RD                                                                                    LAKE ORION         MI      48362‐3662
HENRY DREUTH                          1095 LINDA DR                                                                                    DAVISON            MI      48423‐2835
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Name                          Address1                      Address2                     Address3   Address4               City            State   Zip
HENRY DREWS                   614 W CRAMER ST                                                                              FORT ATKINSON    WI     53538‐1041
HENRY DRINGENBERG             707 WILSON BLVD                                                                              SAINT LOUIS      MI     48880‐1115
HENRY DUCHENE                 3446 BRENTWAY DR APT 2                                                                       BAY CITY         MI     48706‐3361
HENRY DUDEK                   29703 BROWN CT                                                                               GARDEN CITY      MI     48135‐2325
HENRY DUDLEY                  1444 RYAN ST                                                                                 FLINT            MI     48532‐3748
HENRY DUMLER                  624 S GRAND TRAVERSE                                                                         FLINT            MI     48502
HENRY DUNKER                  6130 FACTORY RD                                                                              W ALEXANDRIA     OH     45381‐9584
HENRY DUNN                    84 BACK ST                                                                                   CAMPTON          KY     41301‐9614
HENRY DUSZA                   291 NE MOONSTONE DR                                                                          JENSEN BEACH     FL     34957‐5401
HENRY DUSZA                   123 MILLER ST                                                                                NORTH            NY     14120‐6816
                                                                                                                           TONAWANDA
HENRY DVORAK                  3450 SERR RD                                                                                 CORUNNA         MI      48817‐1123
HENRY E ARNETT                489 CALDWELL CIRCLE                                                                          NEW CARLISLE    OH      45344‐2846
HENRY E BARNES                4213 E QUEENSDALE ST                                                                         COMPTON         CA      90221‐1927
HENRY E BARNICKEL             305 SANNITA DR                                                                               ROCHESTER       NY      14626‐3617
HENRY E BERNS                 20919 VAN BUREN ST                                                                           SOUTHFIELD      MI      48033‐5975
HENRY E BOLLING               2335 REDMAN RD                                                                               BROCKPORT       NY      14420
HENRY E EISELE                RR 5, 6514 GREENTREE RD.                                                                     MIDDLETOWN      OH      45044‐8837
HENRY E HARRIS                3636 MCLEAN RD                                                                               FRANKLIN        OH      45005‐4760
HENRY E HILDEBRAND, TRUSTEE   ACCT OF ROBERT J KING         PO BOX 190664                                                  NASHVILLE       TN      37219‐0664
HENRY E HIMES                 2017 WICK CAMPBELL                                                                           HUBBARD         OH      44425‐3141
HENRY E KNOX                  1229 WILLOWRIDGE RD                                                                          BEAVER CREEK    OH      45434‐6746
HENRY E KOCH                  119 DESMOND DR                                                                               TONAWANDA       NY      14150‐7724
HENRY E LACY                  1177 SHARE DR                                                                                DAYTON          OH      45432‐1740
HENRY E LARRAIN               42198 W BACCARAT DR                                                                          MARICOPA        AZ      85238‐3944
HENRY E MASIMORE              2342 CADWALLADER SONK RD.                                                                    CORTLAND        OH      44410‐9410
HENRY E MOORE                 7960 DARKE PREBLE CO RD                                                                      ARCANUM         OH      45304‐9477
HENRY E NAILOR                2704 W.RIVERS ST.                                                                            ANNISTON        AL      36201‐1475
HENRY E OWENS                 5231 BROMWICK DR                                                                             TROTWOOD        OH      45426‐1909
HENRY E PRIDDY                1290 OAK GROVE CHURCH RD                                                                     BROWNSVILLE     KY      42210‐8508
HENRY E REYNOLDS              WEITZ & LUXENBERG PC          700 BROADWAY                                                   NEW YORK CITY   NY      10003
HENRY E ROBERTS               208 W TAYLOR ST                                                                              FLINT           MI      48505‐6600
HENRY E SCHELL                C/O WEITZ & LUXENBERG PC      700 BROADWAY                                                   NEW YORK CITY   NY      10003
HENRY E SCHELL                C/O WETIZ & LUXENBERG PC      700 BROADWAY                                                   NEW YORK CITY   NY      10003
HENRY E SCHLAIS               1237 S 115TH ST                                                                              WEST ALLIS      WI      53214‐2239
HENRY E SCHLEIGER             404 APPLE VALLEY DR.                                                                         LOUISBURG       OH      45338
HENRY E THOMSON JR            524 OAK RUN DR                                                                               LEWISTON        NY      14092‐2396
HENRY E TRICE                 514 S 22ND ST                                                                                SAGINAW         MI      48601‐1539
HENRY EASON                   49 GODFREY ST                                                                                BUFFALO         NY      14215‐2313
HENRY ECKFORD                 325 N GRAFTON AVE                                                                            MUNCIE          IN      47303‐4124
HENRY EDDS                    419 ROSETTA ST                                                                               NEW LEBANON     OH      45345‐1519
HENRY EDLER JR                29 LOMBARDY DR                                                                               BALTIMORE       MD      21222‐2309
HENRY EDWARDS                 3920 RIVARD ST APT 702                                                                       DETROIT         MI      48207‐4748
HENRY EGGLESTON               4035 SHADOW OAK CT                                                                           FENTON          MI      48430‐9122
HENRY EILER                   1615 E 44TH ST                                                                               ANDERSON        IN      46013‐2554
HENRY EISELE                  RR 5, 6514 GREENTREE RD.                                                                     MIDDLETOWN      OH      45044
HENRY EITEL JR                1006 NE 115TH TER                                                                            KANSAS CITY     MO      64155‐1427
HENRY ELLIOTT                 303 JASMINE CT                                                                               FRANKLIN        TN      37067‐1344
HENRY ELZER                   20 CAYUGA BLVD TRLR 26                                                                       DEPEW           NY      14043‐4340
HENRY ENSMINGER               120 QUAIL TRL                                                                                HOMER           LA      71040‐5741
HENRY ENSMINGER JR            889 N COLONY RD                                                                              GRAND ISLAND    NY      14072‐2801
HENRY ERVIN L (460485)        ANGELOS PETER G               100 N CHARLES STREET , ONE                                     BALTIMORE       MD      21201
                                                            CHARLES CENTER
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HENRY ERVIN L (625050)               ANGELOS PETER G                  100 N CHARLES STREET , ONE                                                        BALTIMORE        MD 21201
                                                                      CHARLES CENTER
HENRY ESPINOSA & CONSUELO ESPINOSA   ESPINOSA FAMILY TRUST            7248 FOXCROFT ST                                                                  RIVERSIDE       CT   92506
TTEE
HENRY EVANS                          3568 GLENVIEW CIR SW                                                                                               ATLANTA         GA   30331‐2412
HENRY EVEN                           7264 NASH RD                     NORTHGATE HEALTH CARE FACILITY                                                    NORTH           NY   14120‐1508
                                                                                                                                                        TONAWANDA
HENRY EYL                            5851 ALLISON AVE                                                                                                   HAMILTON        OH   45011‐2024
HENRY F BAILEY                       4207 DOBBIN CIRCLE                                                                                                 DAYTON          OH   45424
HENRY F CORRIGAN                     5880 GRANITE LN                                                                                                    COCOA           FL   32927‐8823
HENRY F COYNE                        POINT RIDGE FARMS                110 E LAUER LANE                                                                  CAMP HILL       PA   17011‐1312
HENRY F ORPUT                        6254 STATE ROUTE 40              LOT #42                                                                           TIPP CITY       OH   45371‐9438
HENRY F TOLER                        8399 N WEBSTER RD                                                                                                  CLIO            MI   48420‐8520
HENRY F ZAJDEK                       4295 STATE RD 1241                                                                                                 HICKORY         KY   42051‐‐ 91
HENRY FALANDYS                       147 COURS DE PASTEUR UNIT F                                                                                        FREEHOLD        NJ   07728‐5218
HENRY FARMER                         215 ALTOONA PL SW                                                                                                  ATLANTA         GA   30314‐2601
HENRY FEAGIN                         3696 HESS AVE APT 8                                                                                                SAGINAW         MI   48601‐4079
HENRY FEIT                           3010 MARTZ PL                                                                                                      SAGINAW         MI   48602‐3520
HENRY FELDER                         4711 WARRINGTON DR                                                                                                 FLINT           MI   48504‐2080
HENRY FELSKI
HENRY FERGUSON                       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                        BOSTON HTS.     OH   44236
HENRY FERRY                          R JESUINO ARRUDA,122             APTO 81A                                             SAO PAULO 04532‐080 BRAZIL

HENRY FIAMENGO                       46 CRONIN ST                                                                                                       BRISTOL         CT   06010‐7813
HENRY FICCO                          30 ANCHORAGE RD                                                                                                    FRANKLIN        MA   02038‐1538
HENRY FIELDS                         2023 TEBO ST APT 7                                                                                                 FLINT           MI   48503‐4478
HENRY FILT/BOWLING G                 1350 VAN CAMP RD                 P.O. BOX 859                                                                      BOWLING GREEN   OH   43402‐9061
HENRY FILT/BOWLNG GR                 1350 VAN CAMP ROAD               BOX 859                                                                           BOWLING GREEN   OH   43402
HENRY FILTERS INC                    13050 VAN CAMP ROAD                                                                                                BOWLING GREEN   OH   43402‐9061
HENRY FISHER                         14425 APPLETREE LN                                                                                                 FENTON          MI   48430‐1432
HENRY FISHER                         7858 DANCING LEAF ST                                                                                               LAS VEGAS       NV   89131‐5000
HENRY FLEMING                        49 E GRAND                                                                                                         HIGHLAND PARK   MI   48203‐3101
HENRY FLORSHINGER                    14099 DUFFIELD RD                                                                                                  MONTROSE        MI   48457‐9409
HENRY FLOWERS                        THE MODEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                                       HOUSTON         TX   77017
HENRY FLYNN                          16 LAKEVIEW DR                                                                                                     TRENTON         NJ   08620‐1915
HENRY FLYNN                          2631 FRONTIER DR                                                                                                   TITUSVILLE      FL   32796
HENRY FORD                           PO BOX 3                                                                                                           OTISVILLE       MI   48463‐0003
HENRY FORD                           2152 KENT RD                                                                                                       KENT            NY   14477‐9785
HENRY FORD                           6336 ELMDALE RD                                                                                                    BROOK PARK      OH   44142‐4015
HENRY FORD ATHLETIC MEDICINE         6525 2ND AVE                                                                                                       DETROIT         MI   48202‐3006
HENRY FORD BEHAVIORAL HEALTH         HENRY FORD HEALTH SYSTEM         FORENSIC DEPARTMENT              ONE FORD PLACE 1C                                DETROIT         MI   48202
HENRY FORD BEHAVIORAL SVC            ATTN: BILL POMPOS                18101 OAKWOOD BLVD               # 126                                            DEARBORN        MI   48124‐4089
HENRY FORD COMMUNITY COLLEGE         CASHIERS OFFICE                  5101 EVERGREEN RD                                                                 DEARBORN        MI   48128‐2407
HENRY FORD CYTOGENETICS DEPT         ATTN: WANITA CLARK               440 BURROUGHS ST                                                                  DETROIT         MI   48202‐3429
HENRY FORD HEALTH SY                 PO BOX 670884                                                                                                      DETROIT         MI   48267‐84
HENRY FORD HEALTH SYST DETROIT       ATTN: MELODY BARTLETT            6525 2ND AVE                                                                      DETROIT         MI   48202‐3006
HENRY FORD HEALTH SYSTEM             ATTN: NANCY M SCHLICHTING        1 FORD PL                                                                         DETROIT         MI   48202‐3067
HENRY FORD HEALTH SYSTEM             HENRY FRD                        P.O. BOX 673961                                                                   DETROIT         MI   48267‐61
HENRY FORD HOME HEALTH CARE          ATTN: GREG SOLECKI               1 FORD PL                                                                         DETROIT         MI   48202‐3067
HENRY FORD HOSPICE                   1 FORD PL                                                                                                          DETROIT         MI   48202‐3450
HENRY FORD HOSPICES                  ATTN: JIM SPEARS                 1 FORD PL                                                                         DETROIT         MI   48202‐3450
HENRY FORD HOSPITAL                  ATTN: CATHY FRANK                1 FORD PL # 1C34                                                                  DETROIT         MI   48202‐3450
HENRY FORD HOSPITAL                  DEPT OF OCCUPATIONAL HEALTH      ONE FORD PLACE FLEET 2‐A                                                          DETROIT         MI   48202
HENRY FORD MACOMB HO                 PO BOX 672492                                                                                                      DETROIT         MI   48267‐2492
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HENRY FORD MACOMB HO            PO BOX 673976                                                                                               DETROIT             MI     48267‐3976
HENRY FORD REHABILITATION SVC   ATTN: BRIAN VASIECK             3031 W GRAND BLVD # 700                                                     DETROIT             MI     48202‐3141
HENRY FORD THE                  ATTN JENNIFER HORVAT            20900 OAKWOOD BLVD            SALES & MARKETING                             DEARBORN            MI     48124‐5029
HENRY FORD WYANDOTTE            2333 BIDDLE AVE                                                                                             WYANDOTTE           MI     48192‐4668
HENRY FOSTER                    3315 HIGHWAY 52 E                                                                                           BETHPAGE            TN     37022‐9149
HENRY FOSTER JR                 9915 NORTH BLVD                                                                                             CLEVELAND           OH     44108‐3429
HENRY FOWLER                    THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                                 HOUSTON             TX     77017
HENRY FOX                       PO BOX 282                                                                                                  MINERAL RIDGE       OH     44440‐0282
HENRY FOX JR                    6081 S 50 W                                                                                                 PENDLETON           IN     46064‐9592
HENRY FRAMAK                    6351 WHITEHEAD ST                                                                                           DETROIT             MI     48210‐2376
HENRY FRANKEN                   25980 29TH ST                                                                                               GOBLES              MI     49055‐9601
HENRY FRANKEN                   L.G. SMITH BLVD. 234            L.G, SMITH BLVD. 234                               ORANJESTAD 0 ARUBA
HENRY FRANKLIN                  2434 WHITTIER ST                                                                                            SAGINAW            MI      48601‐2449
HENRY FRANKLIN                  20531 EVERGREEN RD                                                                                          DETROIT            MI      48219‐1410
HENRY FRATINO                   30050 EUCLID AVE APT C6                                                                                     WICKLIFFE          OH      44092‐1659
HENRY FREEMAN                   PO BOX 1853                                                                                                 LIMA               OH      45802‐1853
HENRY FRENGLE JR                THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD       SUITE 44                                      CORAL GABLES       FL      33146
HENRY FRIEDMAN                  6850 BEVERLY CREST DR                                                                                       WEST BLOOMFIELD    MI      48322‐3735

HENRY FRIEDRICH                 95 FRANTZEN TER                                                                                             BUFFALO             NY     14227‐3203
HENRY FRIESEN
HENRY FRITH                     110 N WILLOW ST                                                                                             MANSFIELD           TX     76063‐1832
HENRY FROST
HENRY FROST JR                  27900 SUMPTER RD                                                                                            NEW BOSTON         MI      48164‐9621
HENRY FUHLBRUGGE                28566 BARBOSA                                                                                               MISSION VIEJO      CA      92692‐1843
HENRY FULLMER                   6988 US ROUTE 40 E                                                                                          LEWISBURG          OH      45338‐9734
HENRY FUNCHION                  510 W HURD RD                                                                                               MONROE             MI      48162‐8937
HENRY FUNK                      9279 N NELSON LAKE CITY                                                                                     LAKE CITY          MI      49651
HENRY FURCHES JR                19800 CALLAWAY HILLS LN                                                                                     DAVIDSON           NC      28036‐7001
HENRY FURLOW JR                 4010 LAGUNA RD                                                                                              TROTWOOD           OH      45426‐3862
HENRY G GRANT                   1406 MCMYLER ST NW                                                                                          WARREN             OH      44485
HENRY G JANSEN                  32185 SW EAST LAKE PT                                                                                       WILSONVILLE        OR      97070‐8455
HENRY G SEIBELS, JR             75 FAIRWAY DRIVE                                                                                            BIRMINGHAM         AL      35213
HENRY GAC                       43459 NOTRE DAME AVE W                                                                                      STERLING HEIGHTS   MI      48314‐2276
HENRY GAGNON JR                 G10129 CLIO ROAD                                                                                            CLIO               MI      48420
HENRY GAINES                    6086 COVERED WAGONS TRL                                                                                     FLINT              MI      48532‐2100
HENRY GAITHER                   5081 RUSKIN AVE                                                                                             SAINT LOUIS        MO      63115‐1346
HENRY GAJDA                     743 79TH PL                                                                                                 DOWNERS GROVE      IL      60516‐4347
HENRY GALENSKI                  10 ELLEN DR                                                                                                 TERRYVILLE         CT      06786‐5028
HENRY GAMBLE                    2016 E JEFFERSON AVE                                                                                        DETROIT            MI      48207‐4182
HENRY GANCOS JR                 30 BABBITT RD                                                                                               THOMASTON          CT      06787‐1001
HENRY GARCIA                    7949 DAWSON DR SE                                                                                           WARREN             OH      44484‐3011
HENRY GARCIA                    3925 MILL LAKE RD                                                                                           LAKE ORION         MI      48360‐1540
HENRY GARCIA                    3455 LIVERNOIS AVE                                                                                          DETROIT            MI      48210‐2944
HENRY GARCIA                    BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.        OH      44236
HENRY GARCIA                    THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                                 HOUSTON            TX      77017
HENRY GARMON                    5648 DUNSON DR                                                                                              HALTOM CITY        TX      76148‐3805
HENRY GAYDEN                    116 RIVERVIEW DR                                                                                            BOWLING GREEN      KY      42101‐1130
HENRY GAYDEN                    ATTN ROBERT W PHILLIPS          SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON         IL      62024
                                                                ANGELIDES & BARNERD LLC
HENRY GAYE                      1037 MILLSTONE RD                                                                                           LEEDS              AL      35094‐3106
HENRY GEHRKE                    21920 ELMWAY ST                                                                                             CLINTON TWP        MI      48035‐1710
HENRY GEIER                     6029 MERCER DR                                                                                              BROOK PARK         OH      44142‐3037
HENRY GEISENHONER JR.           110 GREENBROOK CT                                                                                           NEW HOPE           PA      18938‐1074
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HENRY GELL           212 RIVERSIDE AVE                                                                               BUFFALO              NY     14207‐1562
HENRY GENDRON        14245 E 239TH ST                                                                                NOBLESVILLE          IN     46060‐9776
HENRY GENTZLER       21 N 13TH ST                                                                                    COLUMBIA             PA     17512
HENRY GERHARD        546 WELLINGTON CRESCENT                                                                         MOUNT CLEMENS        MI     48043‐2915
HENRY GERIG TTEE     HENRY GERIG                     4012 CAMINO AVE                                                 LAS VEGAS            NV     89102‐3626
HENRY GESICKI        815 STAFFORD AVE APT 12A                                                                        BRISTOL              CT     06010‐3851
HENRY GEWALD         PANKOWERSTRABE 11                                                       16540 HOHEN NEUENDORF
                                                                                             GERMANY
HENRY GHARAKHANIAN   3022 SANDY POINT CT                                                                             LAKE ST LOUIS       MO      63367‐3007
HENRY GIBBS          1415 RENATA ST                                                                                  SAGINAW             MI      48601‐6655
HENRY GIBSON         21126 SUN HAVEN DR                                                                              KATY                TX      77449‐6579
HENRY GIBSON         3412 W OREGON RD                                                                                LAPEER              MI      48446‐7753
HENRY GIEWAT         350 HERITAGE HLS UNIT D                                                                         SOMERS              NY      10589‐1722
HENRY GILDE          304 GARFIELD ST                                                                                 MARNE               MI      49435‐8727
HENRY GILLAM JR      3430 42ND ST                                                                                    CANFIELD            OH      44406‐8215
HENRY GILLIAM        117 N MONASTERY AVE                                                                             BALTIMORE           MD      21229‐3032
HENRY GILTROP        16963 2ND SAND BEACH RD                                                                         LANSE               MI      49946‐8340
HENRY GIORDANI       C/O WEITZ & LUXENBERG PC        700 BROADWAY                                                    NEW YORK CITY       NY      10003
HENRY GIORDANI       WEITZ & LUXENBERG PC            700 BROADWAY                                                    NEW YORK CITY       NY      10003
HENRY GLOVER         202 BARRY ST                                                                                    HATTIESBURG         MS      39401‐7606
HENRY GLOVER JR      47 PROCTOR AVE                                                                                  BUFFALO             NY      14215‐3313
HENRY GLOWACKI       6511 41ST ST                                                                                    STICKNEY            IL      60402‐4137
HENRY GNACKE         41397 CLAIRPOINTE ST                                                                            HARRISON            MI      48045‐5916
                                                                                                                     TOWNSHIP
HENRY GODIN          3148 DONLEY AVE                                                                                 ROCHESTER HLS       MI      48309‐4125
HENRY GOEBEL         499 GREYVILLE CT                                                                                THE VILLAGES        FL      32162‐6357
HENRY GOLDEN         618 CHILI AVE                                                                                   ROCHESTER           NY      14611‐2902
HENRY GOLDMAN        12918 DESMOND ST                                                                                PACOIMA             CA      91331‐1023
HENRY GOLEMBIEWSKI   BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.         OH      44236
HENRY GOMEZ          3486 HIALEAH LN                                                                                 SAGINAW             MI      48601‐5609
HENRY GONZALEZ       105 LIME LANDING RD                                                                             MILLINGTON          MD      21651‐1601
HENRY GONZALEZ       10210 ALEXANDER AVE                                                                             SOUTH GATE          CA      90280‐6761
HENRY GOOCH          3328 LINCOLN RD APT 120                                                                         INDIANAPOLIS        IN      46222‐1881
HENRY GOODE          2031 WOODBOURNE AVE                                                                             BALTIMORE           MD      21239‐3641
HENRY GOODEN         712 VINE ST                                                                                     NORTH LITTLE ROCK   AR      72114‐4878

HENRY GOODLOE        6200 ARBORWOOD DR APT 104                                                                       MEMPHIS             TN      38115‐0402
HENRY GOODSON        5118 BALLARD DR                                                                                 DAYTON              OH      45418‐2022
HENRY GORDON         717 ACADEMY ST 1                                                                                KALAMAZOO           MI      49007
HENRY GORECKI        320 WHITE PINE DR                                                                               DAVISON             MI      48423‐9179
HENRY GRAHAM         2409 AUTUMN RD                                                                                  INDIANAPOLIS        IN      46229‐5004
HENRY GRAHAM         4197 CARVER CIR                                                                                 DORAVILLE           GA      30360‐2556
HENRY GRAY JR        610 W ENGLISH ST                                                                                DANVILLE            IL      61832‐3816
HENRY GRAYSON        1741 WHITEGATE LN                                                                               KALAMAZOO           MI      49009‐1816
HENRY GREEN          124 E BUSBEE ST                                                                                 EAST CAMDEN         AR      71701‐7102
HENRY GREEN          17336 TIMBER OAK LN                                                                             FORT MYERS          FL      33908‐6174
HENRY GREER          1133 N NOBLE ST                                                                                 CHICAGO             IL      60642‐4013
HENRY GREGORY        1300 STONEWOOD RD                                                                               BALTIMORE           MD      21239‐3901
HENRY GRIFFIN        20244 CHAREST ST                                                                                DETROIT             MI      48234‐1676
HENRY GRIFFIN III    35711 CASTLEMEADOW DR                                                                           FARMINGTON HILLS    MI      48335‐3819

HENRY GROSS          PO BOX 88                                                                                       DIAMOND             OH      44412‐0088
HENRY GROSS          235A HARRIS RD                                                                                  FLORA               MS      39071‐9799
HENRY GROSS JR       PO BOX 432157                                                                                   PONTIAC             MI      48343‐2157
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Name                                Address1                         Address2                     Address3   Address4               City             State   Zip
HENRY GROSSO                        16622 PINE CONE DR                                                                              WOODHAVEN         MI     48183‐1645
HENRY GRUSLER                       102 OAKWOOD DR                                                                                  CINNAMINSON       NJ     08077‐2909
HENRY GRZYBOWSKI                    712 KINGS PATH APT 3B                                                                           BEL AIR           MD     21014‐3294
HENRY GUERRIERI                     3318 QUICK RD                                                                                   HOLLY             MI     48442‐1062
HENRY GUEVARA                       11349 CEDAR LN                                                                                  PLYMOUTH          MI     48170‐4535
HENRY GUIDALI                       23 MADDEN AVE                                                                                   MILFORD           MA     01757‐2317
HENRY GULLEDGE                      2936 N RED BANKS RD                                                                             RED BANKS         MS     38661‐9718
HENRY GURULE                        14100 W 87TH TER                                                                                LENEXA            KS     66215‐2455
HENRY GUTCHAK                       G‐4161 E DODGE RD                                                                               CLIO              MI     48420
HENRY GUTIERREZ                     3932 OAK GROVE RD                                                                               NORTH BRANCH      MI     48461‐8910
HENRY GUTOWSKI JR                   526 MAPLE AVE                                                                                   LINDEN            NJ     07036‐2808
HENRY GUZEL                         790 ALAMEDA AVE                                                                                 SHEFFIELD LAKE    OH     44054‐1313
HENRY GUZMAN                        1789 MCARTHUR ST                                                                                SAGINAW           MI     48638‐4519
HENRY H BENDER AND ELLEN M BENDER   11245 N EVERGREEN DR                                                                            BIRCH RUN         MI     48415

HENRY H GUNTHER                     2204 W 18TH ST                                                                                  WILMINGTON       DE      19806
HENRY H LEDBETTER JR                1620 PELL DRIVE                                                                                 DAYTON           OH      45410
HENRY H NIENABER                    556 COACH LIGHT DR                                                                              EDGEWOOD         KY      41017‐3211
HENRY H ROYSTER JR                  4513 WISNER ST                                                                                  FLINT            MI      48504‐2025
HENRY H SKILLMAN                    904 SHERIDAN DR                                                                                 WEST CHESTER     PA      16382
HENRY H WEATHERS                    554 MONROE ST                                                                                   YPSILANTI        MI      48197‐5325
HENRY H ZINKANN AND                 BARBARA ZINKANN JT TEN           22320 CLASSIC CT APT 244                                       BARRINGTON       IL      60010‐5927
HENRY H. BECKWITH                   3277 HWY 17 SOUTH                                                                               FLEMING ISLAND   FL      32003
HENRY HAAS                          7079 SHELL BRIDGE RD                                                                            LAUREL           DE      19956‐3960
HENRY HAECK                         8202 W ST JOE HWY                R#2                                                            LANSING          MI      48917‐9638
HENRY HAERING                       111 TANNER LN                                                                                   MARTINSBURG      WV      25401‐3094
HENRY HAGENSTEIN, DO                4600 GENESYS PKWY                                                                               GRAND BLANC      MI      48439‐8067
HENRY HAGY                          5167 CANDLEWOOD DR                                                                              GRAND BLANC      MI      48439‐2006
HENRY HAINER                        16475 29 MILE RD                                                                                RAY              MI      48096‐2215
HENRY HALCOMB                       1524 PINE LOG RD                                                                                AIKEN            SC      29803‐5721
HENRY HALE                          178 CAPE COD WAY                                                                                MOORESVILLE      NC      28117‐7341
HENRY HALE                          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH      44236
HENRY HALL                          2683 CROFTHILL DR                                                                               AUBURN HILLS     MI      48326‐3520
HENRY HALL                          2868 BIRCHDALE DR                                                                               TROY             MI      48083‐6809
HENRY HALL SR                       8615 DOWNING RD                                                                                 BIRCH RUN        MI      48415‐9201
HENRY HALSEY                        2616 HICKORY FORK RD                                                                            GLOUCESTER       VA      23061‐4031
HENRY HAM                           1439 GROVECREST DR                                                                              ARLINGTON        TX      76018‐1265
HENRY HAMMOND                       2325 DAHLONEGA HWY                                                                              CUMMING          GA      30040‐3961
HENRY HAMMONDS                      1257 LAFFER AVE                                                                                 AKRON            OH      44305‐3317
HENRY HANKINS                       5246 BIXLER AVE                                                                                 LAKEWOOD         CA      90712‐2212
HENRY HANLEY                        68 MURPHY AVE                                                                                   PONTIAC          MI      48341‐1214
HENRY HANSARD                       4618 PITTMAN RD                                                                                 CUMMING          GA      30040‐5108
HENRY HANSEN                        1340 PEACHTREE LN                                                                               BOWLING GREEN    KY      42103‐7009
HENRY HANSON JR                     4436 AMERICAN HERITAGE RD                                                                       GRAND BLANC      MI      48439‐7709
HENRY HARDEN                        945 LOMITA AVE                                                                                  FLINT            MI      48505‐3579
HENRY HARDEN                        2196 FAIRWAY CIR SW                                                                             ATLANTA          GA      30331‐7102
HENRY HARLAN                        3425 LINCOLN RD                                                                                 INDIANAPOLIS     IN      46222‐1834
HENRY HARLEN                        13‐15 HARMON ST APT 511                                                                         WHITE PLAINS     NY      10606‐1429
HENRY HARMON                        GERALDINE R HARMON               1320 S HAYES ST                                                CROWN POINT      IN      46307‐8424
HENRY HARPER                        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH      44236
HENRY HARPER                        1561 OLD PLANK RD                                                                               MILFORD          MI      48381‐2946
HENRY HARRINGTON                    51 MICHIGAN ST                                                                                  MOUNT CLEMENS    MI      48043‐5901
HENRY HARRIS                        4047 E FREEDOM CIR                                                                              OOLTEWAH         TN      37363‐8581
HENRY HARRIS                        3636 MCLEAN RD                                                                                  FRANKLIN         OH      45005‐4760
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HENRY HARRIS              PO BOX 8                                                                                   NORMAL              AL     35762‐0008
HENRY HARRIS              1115 MILBOURNE AVE                                                                         FLINT               MI     48504‐3367
HENRY HARRIS JR           13344 NORTHSIDE DR                                                                         STERLING HEIGHTS    MI     48312‐6308
HENRY HARRISON            1330 LINCOLNSHIRE RD                                                                       OKLAHOMA CITY       OK     73159‐7708
HENRY HARTLIEB            20004 MONTESSA COURT                                                                       ESTERO              FL     33928‐7748
HENRY HARVEY              12410 REXFORD AVE                                                                          CLEVELAND           OH     44105‐2668
HENRY HATFIELD            8866 E COUNTY ROAD 100 N                                                                   AVON                IN     46123‐9185
HENRY HAWKINSON           391 N ROHERTY RD                                                                           JANESVILLE          WI     53548‐9414
HENRY HAYDA               1499 NW AMHERST DR APT A                                                                   PORT SAINT LUCIE    FL     34986‐1862
HENRY HAYWOOD JR          3341 PEMBROKE RD                                                                           CLARKSVILLE         TN     37042
HENRY HEAL JR             6391 RICHFIELD RD                                                                          FLINT               MI     48506‐2209
HENRY HEINLE JR           PO BOX 1334                                                                                POLK CITY           FL     33868‐1334
HENRY HENDERSON           341 E PIERSON RD                                                                           FLINT               MI     48505‐3311
HENRY HENLEY CHAPMAN II
HENRY HENSLEY             176 SOUTHERN SHORES RD                                                                     JACKSON            GA      30233‐3365
HENRY HENSLEY             8525 CRACKER NECK RD                                                                       WASHBURN           TN      37888‐4220
HENRY HEPFNER             3577 SOUTH M‐52                                                                            OWOSSO             MI      48867
HENRY HERBERT             28 ROXBOROUGH RD                                                                           ROCHESTER          NY      14619‐1416
HENRY HERNANDEZ           9760 MONROE RD                                                                             SAINT HELEN        MI      48656‐9638
HENRY HERR                1876 UPPER FORDE LN                                                                        HAMPSTEAD          MD      21074‐2500
HENRY HERRERO             4434 9TH ST                                                                                ECORSE             MI      48229‐1134
HENRY HERRING             1012 NORTH BLUE QUAIL COURT                                                                GRANBURY           TX      76049‐8124
HENRY HESS                5799 SOUTHWATER DR                                                                         MASON              OH      45040‐7743
HENRY HIGGINS             5948 N SIDNEY PL                                                                           MILWAUKEE          WI      53209‐4269
HENRY HIGH                584 N POINT PRAIRIE RD                                                                     WENTZVILLE         MO      63385‐3207
HENRY HILL                1002 BERWICK BLVD                                                                          PONTIAC            MI      48341‐2317
HENRY HILL                PO BOX 2634                                                                                CRYSTAL BEACH      TX      77650‐2634
HENRY HILL                1318 MARTIN LUTHER KING JR DR                                                              BOONEVILLE         MS      38829‐8100
HENRY HILL                7566 SPENCER LAKE RD                                                                       MEDINA             OH      44256‐7501
HENRY HILL                5458 FARMHILL RD                                                                           FLINT              MI      48505‐1073
HENRY HIMES               2017 WICK CAMPBELL RD                                                                      HUBBARD            OH      44425‐3141
HENRY HINES               750 S 25TH ST                                                                              SAGINAW            MI      48601‐6520
HENRY HIRSCH              1164 COLE RD                                                                               CHEYENNE           WY      82009‐9015
HENRY HODGES JR           19410 MAGNOLIA PKWY                                                                        SOUTHFIELD         MI      48075‐7131
HENRY HODO                638 E PHILADELPHIA BLVD                                                                    FLINT              MI      48505‐3385
HENRY HOERCHLER JR        785 N 5TH ST                                                                               BREESE             IL      62230‐1333
HENRY HOFF                101 MAGNOLIA AVE                                                                           ENGLEWOOD          OH      45322‐1258
HENRY HOFFA               7459 N RIVERVIEW DR                                                                        KALAMAZOO          MI      49004‐9685
HENRY HOGG                2330 MAPLE RD APT 234                                                                      WILLIAMSVILLE      NY      14221‐4058
HENRY HOLDORF             2701 N LEXINGTON DR APT 315                                                                JANESVILLE         WI      53545‐0341
HENRY HOLLAND             96 ATRIUM DR                                                                               BRICK              NJ      08723‐6279
HENRY HOLLINS             4421 TAHOE DR                                                                              FORT WORTH         TX      76119‐3835
HENRY HOLLOMAN            20261 FULLER AVE                                                                           EUCLID             OH      44123‐2636
HENRY HOLT                1666 NEWTON AVE                                                                            DAYTON             OH      45406‐4110
HENRY HOLT                1374 HOLIDAY LN E                                                                          BROWNSBURG         IN      46112‐2017
HENRY HOMKA               102 S IRWINWOOD RD                                                                         LANCASTER          NY      14086‐2822
HENRY HOOD                PO BOX 4526                                                                                TOLEDO             OH      43610‐0526
HENRY HOPE                2528 RUSHBROOK DR                                                                          FLUSHING           MI      48433‐2564
HENRY HOPP                5100 RANDOL MILL RD APT 1315                                                               FORT WORTH         TX      76112‐1524
HENRY HORNSBY JR          1930 WOODSLEA DR APT 10                                                                    FLINT              MI      48507‐5239
HENRY HORTON              504 N FAIRVIEW AVE                                                                         LANSING            MI      48912‐3114
HENRY HOUK                5728 NW FLINTRIDGE CT                                                                      KANSAS CITY        MO      64151‐2979
HENRY HOUSE               PO BOX 40                                                                                  GILLSVILLE         GA      30543‐0040
HENRY HOVESTADT           15713 I‐N DEERFIELD CT                                                                     ORLAND PARK        IL      60462
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Name                             Address1                              Address2                     Address3                 Address4                 City             State   Zip
HENRY HOWARD                     84 WOLCOTT ST                                                                                                        LE ROY            NY     14482‐1436
HENRY HOWARD                     H‐C‐62 BOX 1487                                                                                                      SALYERSVILLE      KY     41465
HENRY HOWARD                     412 N CLEVELAND AVE                                                                                                  BRADLEY            IL    60915‐1516
HENRY HOWELL                     3675 S BOGAN RD                                                                                                      BUFORD            GA     30519‐4360
HENRY HUBBARD                    203 WOODLAKE DR                                                                                                      CHOCTAW           OK     73020‐7313
HENRY HUBBARD                    5497 E HILL RD                                                                                                       GRAND BLANC       MI     48439‐9101
HENRY HUBBARD                    C/O WILLIAMS KHERKHER HART &          8441 GULF FREEWAY STE 600                                                      HOUSTON           TX     77007
                                 BOUNDAS LLP
HENRY HUDSON                     BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                                                     BOSTON HEIGHTS   OH      44236
HENRY HUGHES                     PO BOX 44                                                                                                            MONTROSE         MO      64770‐0044
HENRY HUGHES                     34021 SEQUOIA ST                                                                                                     WESTLAND         MI      48185‐2707
HENRY HUGHES                     2855 CHEROKEE DR APT 22                                                                                              WATERFORD        MI      48328‐3162
HENRY HUNTOON                    16940 OAKLEY RD LOT 86                                                                                               CHESANING        MI      48616‐9571
HENRY HUTTUNEN                   220 S SCOTT DR                                                                                                       FARWELL          MI      48622‐9714
HENRY IGLEHEART                  BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                                                     BOSTON HTS.      OH      44236
HENRY II CLASS REPRESENTATIVES   C/O STEMBER FEINSTEIN DOYLE & PAYNE   429 FORBES AVE               ALLEGHENY BLDG 17TH FL                            PITTSBURGH       PA      15219
                                 LLC
HENRY II, SAMUEL T               47 ZIMMERMAN ST                                                                                                      N TONAWANDA      NY      14120‐4707
HENRY IID                        2200 MAPLE CT                                                                                                        ORION            MI      48359‐1175
HENRY III, FRANK D               15 N MARKET ST                                                                                                       SMYRNA           DE      19977‐1114
HENRY III, JAMES H               210 N COATS RD                                                                                                       OXFORD           MI      48371‐3504
HENRY IRVING JR                  PO BOX 55                                                                                                            KARNACK          TX      75661‐0055
HENRY ISUE                       BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                                                     BOSTON HTS.      OH      44236
HENRY IVEY JR                    986 SIMMONS RD                                                                                                       SOCIAL CIRCLE    GA      30025‐3228
HENRY J AUCOIN SR                C/O WILLIAMS KHERKHER HART &          8441 GULF FREEWAY STE 600                                                      HOUSTON          TX      77007
                                 BOUNDAS LLP
HENRY J BALL                     6433 SOHN RD                                                                                                         VASSAR           MI      48768‐9489
HENRY J BALL                     6433 SOHN ROAD                                                                                                       VASSAR           MI      48768‐9489
HENRY J BOWMAN                   754 OXFORD AVE.                                                                                                      NILES            OH      44446‐1334
HENRY J CALDWELL                 PO BOX 320931                                                                                                        FLINT            MI      48532‐0016
HENRY J CAMPBELL                 1850 HARRISON AVE #F                                                                                                 JACKSON          MS      39204‐2658
HENRY J CARSON                   18674 GABLE ST                                                                                                       DETROIT          MI      48234‐2640
HENRY J CELESTINE JR             C/O WILLIAMS KHERKHER HART &          8441 GULF FREEWAY STE 600                                                      HOUSTON          TX      77007
                                 BOUNDAS LLP
HENRY J CLARK JR                 1031 NORMANDY TERRACE DR                                                                                             FLINT            MI      48532‐3547
HENRY J COOK JR                  WEITZ & LUXENBERG PC                  700 BROADWAY                                                                   NEW YORK CITY    NY      10003
HENRY J DIANA                    9575 CAIN DR NE                                                                                                      WARREN           OH      44484‐1717
HENRY J EBRIGHT                  272 PARADISE LN                                                                                                      JACKSBORO        TN      37757
HENRY J EDDS                     419 ROSETTA STREET                                                                                                   NEW LEBANON      OH      45345
HENRY J GERHARD                  546 WELLINGTON CRES                                                                                                  MOUNT CLEMENS    MI      48043‐2915
HENRY J GIBBS                    1415 RENATA ST                                                                                                       SAGINAW          MI      48601‐6655
HENRY J HARRIS                   1553 APPLE CREEK TRL                                                                                                 GRAND BLANC      MI      48439‐4963
HENRY J KAISER ELEMENTARY SCHL   670 ONANDAGO ST                                                                                                      YPSILANTI        MI      48198‐6182
HENRY J LAPLANT                  ROBERT W PHILLIPS                     SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD       PO BOX 521               EAST ALTON       IL      62024
                                                                       ANGELIDES & BARNERD LLC
HENRY J LISK                     C/O EMBRY & NEUSNER                   PO BOX 1409                                                                    GROTON            CT     06340
HENRY J LYLES                    1134 BARRINGTON DR                                                                                                   FLINT             MI     48503‐2949
HENRY J MAGUSIAK AND EMILY B     8628 SW 108TH PL RD                                                                                                  OCALA             FL     34481
MAGUSIAK
HENRY J MCFARLAND                BOX 1047                                                                                                             NOKOMIS          FL      34274‐1047
HENRY J THOMAS                   815 RT. 7, N.E.                                                                                                      BROOKFIELD       OH      44403‐9648
HENRY J THOMAS                   1449 N DYE RD                                                                                                        FLINT            MI      48532‐2219
HENRY J THOMEY                   P.O. BOX 574                                                                                                         MIO              MI      48647
HENRY J WAGGY                    RR 1 BOX 111‐6                                                                                                       ELKINS           WV      26241‐9713
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Name                            Address1                         Address2                         Address3              Address4               City            State   Zip
HENRY J WARE                    1902 SANTA BARBARA DR                                                                                          FLINT            MI     48504‐2022
HENRY J WHITEHEAD               400 MERGANSER TRAIL                                                                                            CLINTON          MS     39056
HENRY J WILHELM                 1433 SCOTTSDALE DR                                                                                             KETTERING        OH     45420‐2187
HENRY JABS                      11627 W BOWLES CIR                                                                                             LITTLETON        CO     80127‐2303
HENRY JACKSON                   3142 N TACOMA AVE                                                                                              INDIANAPOLIS     IN     46218‐2038
HENRY JACKSON                   436 VALENCIA DR                                                                                                PONTIAC          MI     48342‐1769
HENRY JACKSON                   1709 WOODFIELD ST                                                                                              ORTONVILLE       MI     48462‐9120
HENRY JACKSON                   PO BOX 1291                                                                                                    GREENSBURG       LA     70441‐1291
HENRY JACOBO                    944 45TH ST                                                                                                    SACRAMENTO       CA     95819‐3410
HENRY JACOBS                    PO BOX 378                                                                                                     OLIVE HILL       KY     41164‐0378
HENRY JACOBSON
HENRY JAEGER                    3440 E MANHATTAN BLVD                                                                                          TOLEDO          OH      43611‐1750
HENRY JAGOS                     6776 N BURKHART RD                                                                                             HOWELL          MI      48855‐8619
HENRY JAHN                      PO BOX 486                       220 S CENTER ST                                                               PLAINFIELD      WI      54966‐0486
HENRY JAMERSON                  1472 WAGON WHEEL LN                                                                                            GRAND BLANC     MI      48439‐4868
HENRY JAMES                     6481 CEDAR ST                                                                                                  GLADWIN         MI      48624‐9012
HENRY JAMES                     3797 E 155TH ST                                                                                                CLEVELAND       OH      44128‐1238
HENRY JAMES CHADWICK            NIX, PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT         205 LINDA DRIVE                              DAINGERFIELD    TX      75638
HENRY JANUCHOWSKI               8821 HILLSIDE DR                                                                                               HICKORY HILLS   IL      60457‐1357
HENRY JARVIS                    8C75 BOX 125 B                                                                                                 NEBO            WV      25141
HENRY JASKOLSKI                 42 LESTER ST                                                                                                   BUFFALO         NY      14210‐1620
HENRY JASKOLSKI                 124 ROSE DUST DR                                                                                               ROCHESTER       NY      14626‐1087
HENRY JAYNES                    226 NOBLE ST                                                                                                   MILFORD         MI      48381‐2059
HENRY JEFFERS                   4939 HICKORY WOODS TRL                                                                                         DAYTON          OH      45432‐3223
HENRY JEFFERY (484854)          KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                                 CLEVELAND       OH      44114
                                                                 BOND COURT BUILDING
HENRY JENKINS                   135 N COTTER RD                                                                                                ESSEXVILLE       MI     48732‐9760
HENRY JENNINGS                  14209 METTETAL ST                                                                                              DETROIT          MI     48227‐1874
HENRY JERLA                     121 HARBOR ST                                                                                                  WILSON           NY     14172‐9797
HENRY JEWELL                    132 HAZELWOOD DR                                                                                               PRUDENVILLE      MI     48651‐9579
HENRY JODY EUGENE               HENRY, LISA G                    3220 HENDERSON BLVD                                                           TAMPA            FL     33609‐3024
HENRY JODY EUGENE (ESTATE OF)   ATTN JOHN W ANDREWS ESQ          ATTY FOR ESTATE OF JODY EUGENE   3220 HENDERSON BLVD                          TAMPA            FL     33609
                                                                 HENRY
HENRY JOE NELSON                BARON & BUDD PC                  THE CENTRUM SUITE 1100           3102 OAK LAWN AVE                            DALLAS          TX      75219‐4281
HENRY JOHN BIALY FAMILY LP      1492 SW 97 LANE                                                                                                DAVIE           FL      33324
HENRY JOHN R (320508)           BUTKER J DAVID                   PO BOX 365                                                                    BARNWELL        SC      29812‐0365
HENRY JOHNSON                   1613 SHEFFIELD DR                                                                                              LOMPOC          CA      93436‐7134
HENRY JOHNSON                   3412 COURTLEIGH DR                                                                                             BALTIMORE       MD      21244‐2231
HENRY JOHNSON                   16979 W STATE HIGHWAY 8                                                                                        POTOSI          MO      63664‐3135
HENRY JOHNSON                   461 COUNTY ROUTE 10                                                                                            CORINTH         NY      12822‐2901
HENRY JOHNSON                   7768 WINDY WILLOW CV                                                                                           MEMPHIS         TN      38125‐5741
HENRY JOHNSON                   2877 COUNTY ROAD Y                                                                                             SAUKVILLE       WI      53080‐1547
HENRY JOHNSON                   1325 CRAPO ST                                                                                                  SAGINAW         MI      48601‐3027
HENRY JOHNSON                   10494 KENNEDY ST                                                                                               COFFEEVILLE     MS      38922‐2231
HENRY JOHNSON                   5335 LINDBERGH BLVD                                                                                            DAYTON          OH      45449‐2742
HENRY JOHNSON                   15030 REIMAN RD                                                                                                GRASS LAKE      MI      49240‐9105
HENRY JOHNSON                   10708 PARDEE RD                                                                                                TAYLOR          MI      48180‐3555
HENRY JOHNSON                   100 KEARNEY AVE                                                                                                JERSEY CITY     NJ      07305‐3709
HENRY JOHNSON                   4327 ARDERY AVE                                                                                                DAYTON          OH      45406‐1304
HENRY JOHNSON                   5335 LINDBURG BLVD                                                                                             DAYTON          OH      45449‐2742
HENRY JONES                     5304 MAYVIEW AVE                                                                                               BALTIMORE       MD      21206‐5204
HENRY JONES                     8422 SCOTNEY BLUFF AVE                                                                                         CHARLOTTE       NC      28273‐3592
HENRY JONES                     6706 MYRON AVE                                                                                                 SAINT LOUIS     MO      63121‐5348
HENRY JONES                     PO BOX 2474                                                                                                    SAGINAW         MI      48605‐2474
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Name                      Address1                         Address2                       Address3                    Address4               City              State   Zip
HENRY JONES               753 2ND AVE                                                                                                        LAKE ODESSA        MI     48849‐1249
HENRY JONES               1277 N STATE ROUTE 201                                                                                             CASSTOWN           OH     45312‐9547
HENRY JONES               432 EAST CLARK ST.               #4                                                                                DAVISON            MI     48423
HENRY JONES               6157 DETROIT ST                                                                                                    MOUNT MORRIS       MI     48458‐2735
HENRY JONES               112 MILL POND RD                                                                                                   DENTON             TX     76209‐1540
HENRY JONES JR            11605 LOVING RD                                                                                                    MORGANTON          GA     30560‐2011
HENRY JONES JR            410 E HART ST                                                                                                      BAY CITY           MI     48706‐3886
HENRY JONES JR            1805 W PASADENA AVE                                                                                                FLINT              MI     48504‐2568
HENRY JONES JR            15883 FAIRFAX ST                                                                                                   SOUTHFIELD         MI     48075‐6907
HENRY JOSWA‐RAJAN         2240 WOODROW WILSON BLVD APT 5                                                                                     W BLOOMFIELD       MI     48324‐1702
HENRY JR WITTRICK         18626 WHITE PINE CIR                                                                                               HUDSON             FL     34667‐6669
HENRY JR, ABRAHAM         216 GREYSTONE DR                                                                                                   FRANKLIN           TN     37069‐4304
HENRY JR, ANVIL           1814 PARKFRONT DR                                                                                                  FLINT              MI     48504‐2523
HENRY JR, CALEB L         630 LINCOLN CIR                                                                                                    SHOREWOOD           IL    60404‐7037
HENRY JR, CHARLES         927 N CHILDRENS HOME RD                                                                                            TROY               OH     45373
HENRY JR, DAVID A         16970 E 2100TH RD                                                                                                  CHRISMAN            IL    61924‐8627
HENRY JR, DON C           190 OLD CAT CREEK RD                                                                                               FRANKLIN           NC     28734‐2786
HENRY JR, FRANK D         10323 HALSEY RD                                                                                                    GRAND BLANC        MI     48439‐8210
HENRY JR, HOWARD L        5308 WRIGHT AVE                                                                                                    BALTIMORE          MD     21205‐3243
HENRY JR, JAMES           2814 VICTOR AVE                                                                                                    LANSING            MI     48911‐1736
HENRY JR, JIM             1048 HARRIET ST                                                                                                    MOUNT MORRIS       MI     48458‐1615
HENRY JR, JOHN            7630 HARBOUR ISLE                                                                                                  INDIANAPOLIS       IN     46240‐3467
HENRY JR, JULIUS C        100 MASTERS DR                                                                                                     NEWNAN             GA     30265‐3318
HENRY JR, LESTER L        3517 WINONA ST                                                                                                     FLINT              MI     48504‐3720
HENRY JR, MILTON R        1207 W CHEROKEE ST APT 23                                                                                          LINDSAY            OK     73052‐5111
HENRY JR, PAUL W          361 ELMHURST DRIVE                                                                                                 ORCHARD PARK       NY     14127‐2916
HENRY JR, ROY L           5 MILLRACE CT                                                                                                      SAINT PETERS       MO     63376‐2606
HENRY JR, RUSSEL E        3508 VALLEY TRL                                                                                                    CHATTANOOGA        TN     37415‐3913
HENRY JR, THOMAS J        2102 LAKEFIELD DR                                                                                                  HURON              OH     44839
HENRY JR, WHITNEY         15062 POLK ST                                                                                                      SYLMAR             CA     91342‐5014
HENRY JR, WILLIAM K       5612 WESTCREEK DR.                                                                                                 TROTWOOD           OH     45426‐1315
HENRY JR., JAMES M        5984 HOLLOWAY RD                                                                                                   BRITTON            MI     49229‐8709
HENRY JR., MICHAEL J      10635 S BEGOLE RD                                                                                                  PERRINTON          MI     48871‐9767
HENRY JR., MICHAEL JOHN   10635 S BEGOLE RD                                                                                                  PERRINTON          MI     48871‐9767
HENRY JUNG                42 KIP DR                                                                                                          FISHKILL           NY     12524‐2020
HENRY JUROVIESKY          JUROVIESKY AND RICCI LLP         4650 YONGE STREET, SUITE 904   TORONTO, ONTARIO M2N 6K1,
                                                                                          CANADA
HENRY K DAY               8155 MT MCKINLEY                                                                                                   HUBER HEIGHTS     OH      45424‐2004
HENRY K LEDFORD           P.O. BOX 801                                                                                                       STANTON           KY      40380‐0801
HENRY K LOCK              8270 FEATHER HOLW                                                                                                  FENTON            MI      48430‐8375
HENRY K STRADLEY          404 FLORIDA RD                                                                                                     SYRACUSE          NY      13211‐1522
HENRY KACHINSKY           494 RIVERWALK DR                                                                                                   MASON             MI      48854‐9381
HENRY KALUZNY             8318 WESTMINISTER DR S                                                                                             MOUNT MORRIS      MI      48458‐8819
HENRY KAMINSKI            1123 PENNSYLVANIA AVE                                                                                              TRENTON           NJ      08638‐3346
HENRY KARNEY              6248 DORCHESTER RD                                                                                                 LOCKPORT          NY      14094‐5904
HENRY KATE ESTELLA        1055 HALLOCK YOUNG RD SW                                                                                           WARREN            OH      44481‐9636
HENRY KATHLINE            21 HOLLY DR                                                                                                        COLUMBUS          NJ      08022‐1603
HENRY KATZ (REV TRUST)    525 S.FLAGLER DR. 29/C                                                                                             WEST PALM BEACH   FL      33401

HENRY KATZ REV TRUST      525 S FLAGLER DR 29/C                                                                                              WEST PALM BEACH    FL     33401

HENRY KAUBISCH            3478 MINNOW CREEK DR                                                                                               HERNANDO BEACH     FL     34607‐2849

HENRY KEIL                690 ORBE CT                                                                                                        GLADWIN            MI     48624‐8304
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Name                        Address1                            Address2                      Address3   Address4                City             State   Zip
HENRY KELLERMAN             2636 STILLWAGON RD SE                                                                                WARREN            OH     44484‐3178
HENRY KELLY                 2826 BRIDGESTONE CIR                                                                                 KOKOMO            IN     46902‐7008
HENRY KELLY                 26468 COUNTY ROAD 388                                                                                GOBLES            MI     49055‐9106
HENRY KEMPF                 10941 SUNFIELD RD R =1                                                                               SUNFIELD          MI     48890
HENRY KENDRICK              17871 ARLINGTON ST                                                                                   DETROIT           MI     48212‐1045
HENRY KENIMER               216 TOMMY BARNETT RD                                                                                 NICHOLSON         GA     30565‐3450
HENRY KERMIT LEWIS          C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.       OH     44236
HENRY KERZYKOWSKI           9869 NORMAN RD                                                                                       CLARKSTON         MI     48348‐2439
HENRY KESHON                HENRY, KESHON                       55 PUBLIC SQ STE 650                                             CLEVELAND         OH     44113‐1909
HENRY KESSLER               HC 65 BOX 35                                                                                         CAULFIELD         MO     65626‐8802
HENRY KETELS                2360 WILDER RD                                                                                       METAMORA          MI     48455‐9353
HENRY KETTLER               PO BOX 161                                                                                           TUTTLE            OK     73089‐0161
HENRY KEYES                 8722 BUNKERHILL RD                                                                                   GASPORT           NY     14067‐9367
HENRY KEYS                  PO BOX 473                                                                                           EASTPORT          MI     49627‐0473
HENRY KIDD                  3344 PASEO BLVD                                                                                      KANSAS CITY       MO     64109‐1937
HENRY KIERWIAK              700 KENDALWOOD ST NE                                                                                 GRAND RAPIDS      MI     49505‐3226
HENRY KIKOLSKI              129 RED COAT LN                                                                                      HANOVER           PA     18706‐4160
                                                                                                                                 TOWNSHIP
HENRY KILANOWSKI            1322 MCVEAN RD                                                                                       CORFU            NY      14036‐9306
HENRY KILIAN                111 ARCH ST                                                                                          CHITTENANGO      NY      13037‐1709
HENRY KINCER                408 RINEHART RD                                                                                      UNION            OH      45322‐2940
HENRY KINDRED               1840 W 91ST ST                                                                                       LOS ANGELES      CA      90047‐3526
HENRY KING                  THE MADEKSHO LAW FIRM               8866 GULF FREEWAY SUITE 440                                      HOUSTON          TX      77017
HENRY KIRBY                 3003 S PERSHING DR                                                                                   MUNCIE           IN      47302‐5267
HENRY KIRKLAND              4051 WEST KEELER STREET                                                                              TUCSON           AZ      85742‐9593
HENRY KIRKLAND JR           767 BLACK AVE                                                                                        FLINT            MI      48505‐3561
HENRY KIRKSEY               1370 LAMBERT ST                                                                                      ALLIANCE         OH      44601‐1553
HENRY KITCHENS              PO BOX 4                                                                                             EULESS           TX      76039‐0004
HENRY KLEIMAN               1227 DRURY CT APT 436A                                                                               MAYFIELD HTS     OH      44124‐7134
HENRY KLEIN                 11561 E STONEY CREEK RD                                                                              PEWAMO           MI      48873‐9704
HENRY KLEPCZAREK            21429 PRESTANCIA DR                                                                                  MOKENA           IL      60448‐8405
HENRY KLIMA                 29500 FAIRWAY BLVD                                                                                   WILLOWICK        OH      44095‐4630
HENRY KLOES JR              2200 CENTER TER APT 4                                                                                GRAND ISLAND     NY      14072‐1732
HENRY KNAUPER               220 WOODS CREEK DR                                                                                   FORISTELL        MO      63348‐1914
HENRY KNIGHT                THE MADEKSHO LAW FIRM               8866 GULF FREEWAY SUITE 440                                      HOUSTON          TX      77017
HENRY KNOX                  1229 WILLOWRIDGE DR                                                                                  DAYTON           OH      45434‐6746
HENRY KNOX                  3600 AILSA AVE                                                                                       BALTIMORE        MD      21214‐3028
HENRY KOETS                 13150 NORTHLAND DR                                                                                   CEDAR SPRINGS    MI      49319‐8432
HENRY KOHN                  1613 WISTERIA COURT                                                                                  TOMS RIVER       NJ      08755
HENRY KOLTYS                6181 SCENIC DR                                                                                       SAULT SAINTE     MI      49783‐9516
                                                                                                                                 MARIE
HENRY KONCAN                1218 DEVONSHIRE RD                                                           WINDSOR ON N8Y2M7
                                                                                                         CANADA
HENRY KONDRUK               PO BOX 12313                                                                                         KANSAS CITY      KS      66112‐0313
HENRY KONOT                 2557 JADE CT                                                                                         GROVE CITY       OH      43123‐1121
HENRY KOOPMAN               5264‐B PRIVET PLACE                                                                                  DELRAY BEACH     FL      33484
HENRY KOPCHA                36500 MARQUETTE ST APT 1022                                                                          WESTLAND         MI      48185‐3249
HENRY KOPPEL REVOC LVG TR   1300 ST CHARLES PL                  #807                                                             PEMBROKE PINES   FL      33026
HENRY KORMOS                600 E LABO RD                                                                                        CARLETON         MI      48117‐9032
HENRY KORTZ                 807 HUNTERBORO CT                                                                                    BRENTWOOD        TN      37027‐6102
HENRY KOSIDOWSKI            3350 PARKSIDE DR                                                                                     BROOKFIELD       WI      53005‐3366
HENRY KOWAL                 1410 D'ANGELO DR                                                                                     NORTH            NY      14120
                                                                                                                                 TONAWANDA
HENRY KOWALSKI              29601 STELLAMAR DR                                                                                   SOUTHFIELD        MI     48076‐5212
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Name                     Address1                       Address2                    Address3   Address4               City            State   Zip
HENRY KOZLOWSKI          8204 CHATHAM RD                                                                              MEDINA           OH     44256‐9173
HENRY KRAJEWSKI          16 PRINCE MICHAEL LN                                                                         PALM COAST       FL     32164‐7154
HENRY KRAM               18688 RIEGER RD                                                                              CHESTERFIELD     MO     63005‐8412
HENRY KRASZEWSKI JR      891 REGENTS PARK DR                                                                          MONROE           MI     48161‐9037
HENRY KRAUSS II          2018 WEISS ST                                                                                SAGINAW          MI     48602‐5049
HENRY KREFT              10136 SW GREENVILLE RD                                                                       GREENVILLE       MI     48838‐9712
HENRY KREM               435 LESLIE CIR                                                                               BATESVILLE       AR     72501‐2157
HENRY KREMERS            PO BOX 492                                                                                   RAPID RIVER      MI     49878‐0492
HENRY KREY               3178 W RIVER DR                                                                              GLADWIN          MI     48624‐7923
HENRY KROLIKOWSKI        3450 NORTH HURON ROAD                                                                        PINCONNING       MI     48650‐9487
HENRY KRUL               27719 MARILYN DR                                                                             WARREN           MI     48093‐4699
HENRY KRUPA              25 NEWTON ST                                                                                 MERIDEN          CT     06450‐4414
HENRY KRZEMINSKI         3613 BADGER AVE SW                                                                           WYOMING          MI     49509‐4008
HENRY KUCHARSKI          253 WAVERLY AVE                                                                              KENMORE          NY     14217‐1055
HENRY KUMFERMAN          CASCINO MICHAEL P              220 SOUTH ASHLAND AVE                                         CHICAGO           IL    60607
HENRY KURBEL             25222 SAXONY STREET                                                                          WOODHAVEN        MI     48183‐3016
HENRY KURZENBERGER       18 ACADEMY ST                                                                                FARMINGDALE      NJ     07727‐1226
HENRY KUZMKOWSKI         104 HEATHER DR                                                                               HERMINIE         PA     15637‐1239
HENRY KUZNIAREK          64 CENTRAL AVE                                                                               BUFFALO          NY     14206‐1333
HENRY KWICINSKI          1105 4TH AVE APT 412                                                                         CHULA VISTA      CA     91911‐2859
HENRY KWOLEK             49 WOODSIDE RD                                                                               PITTSBURGH       PA     15221‐3633
HENRY L ANDERSON         506 S PRENTISS ST                                                                            JACKSON          MS     39203
HENRY L ANTHONY III      131 E MCCLELLAN ST                                                                           FLINT            MI     48505‐4223
HENRY L ANTWINE          326 BROOKSIDE DR                                                                             MCDONOUGH        GA     30253‐6647
HENRY L BANKS            4206 PLEASANTON RD                                                                           ENGLEWOOD        OH     45322
HENRY L BEAUDRY          37 PARKY DR                                                                                  ENFIELD          CT     06082
HENRY L BEAVERS          ROUTE 1 BOX 186                                                                              GURDON           AR     71743
HENRY L BENSON           5340 NORTHFORD RD.                                                                           TROTWOOD         OH     45426
HENRY L BENTON, JR.      413 OLIVE RD                                                                                 TROTWOOD         OH     45426‐2609
HENRY L BRANNON          201 FINLAND DRIVE                                                                            EATON            OH     45320
HENRY L CARRADINE        6011 FOX CHASE TRL                                                                           SHREVEPORT       LA     71129‐3504
HENRY L CHATMAN          395 SAINT PAUL LOOP                                                                          MORRIS CHAPEL    TN     38361‐4663
HENRY L DANIELS          2332 EVENGLOW CT                                                                             DELTONA          FL     32725
HENRY L FOSTER           3315 HIGHWAY 52 E                                                                            BETHPAGE         TN     37022
HENRY L GOOD             36 W STRATHMORE AVE                                                                          PONTIAC          MI     48340‐2770
HENRY L GOODSON          5118 BALLARD RD                                                                              DAYTON           OH     45418‐2022
HENRY L HAGOOD SR        WEITZ & LUXENBERG PC           700 BROADWAY                                                  NEW YORK CITY    NY     10003
HENRY L HAGOOD SR        C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                  NEW YORK CITY    NY     10003
HENRY L HANSON JR        4436 AMERICAN HERITAGE RD                                                                    GRAND BLANC      MI     48439‐7709
HENRY L JOHNSON          2424 HARRIOTTE AVE                                                                           JACKSON          MS     39209
HENRY L JONES JR         410 E HART ST                                                                                BAY CITY         MI     48706‐3886
HENRY L KILLINGS         977 MORGAN RD                                                                                N CHILI          NY     14514‐9702
HENRY L KNIER JR         900 WASHINGTON AVE                                                                           BAY CITY         MI     48708‐5704
HENRY L LEGARS           1604 PARK AVE                                                                                N CAMBRIA        PA     15714
HENRY L LOGAN            836 WILLIAMSBURY CT APT 292                                                                  WATERFORD        MI     48328‐2224
HENRY L MABRY            4409 CLOVERLAWN DR                                                                           FLINT            MI     48504‐2055
HENRY L MCCRAY           130 WRIGHT ST                                                                                CORRY            PA     16407‐1621
HENRY L MCGILL           2408 FENWICK CT                                                                              DAYTON           OH     45431‐1912
HENRY L ROSE             1254 WOODLOW ST                                                                              WATERFORD        MI     48328‐1360
HENRY L SANFORD SR       6109 MASTERS DR                                                                              SHREVEPORT       LA     71129‐4117
HENRY L SCHOWALTER JR.   APT 2                          4242 WEST ROUNDHOUSE ROAD                                     SWARTZ CREEK     MI     48473‐1440
HENRY L SHROPSHIRE       219 W SOUTHERN AVE                                                                           SPRINGFIELD      OH     45506‐2628
HENRY L STEWART          C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                     HOUSTON          TX     77007
                         BOUNDAS LLP
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Name                  Address1                        Address2                      Address3                 Address4                  City              State   Zip
HENRY L TRUSSELL      7101 MAUFORD DR                                                                                                  HUBER HGTS         OH     45424‐3154
HENRY L WARE          36 FIDDIS AVE                                                                                                    PONTIAC            MI     48342‐2712
HENRY LA FAYETTE JR   3520 COLUMBINE AVE                                                                                               BURTON             MI     48529‐1331
HENRY LACAGNINA       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                       BOSTON HTS.        OH     44236
HENRY LACKEY          2810 SUMMER STREAM DR NW                                                                                         KENNESAW           GA     30152‐5885
HENRY LACOSTE         RUE DE LA ARCHE 25
HENRY LACOSTE         ARC DE TRIOMPH 5                                              H.LACOSTE@GMAIL.FR       011‐43‐643‐77234
HENRY LACY            1177 SHARE DR                                                                                                    DAYTON            OH      45432‐1740
HENRY LAGG            9022 FENTON                                                                                                      REDFORD           MI      48239‐1276
HENRY LAMBERT         6611 HAZEN AVE                                                                                                   SAINT LOUIS       MO      63121‐3210
HENRY LAMBERTZ        18754 DOLORES AVE                                                                                                LATHRUP VILLAGE   MI      48076‐2502
HENRY LANNING         4178 BLOSSOM CT                                                                                                  BRUNSWICK         OH      44212‐1704
HENRY LAPINE          C/O LYNNE KIZIS, ESQ            WILENTZ, GOLDMAN, & SPITZER   90 WOODBRIDGE CENTER                               WOODBRIDGE        NJ      07095
                                                                                    DRIVE
HENRY LARA            3680 STONECREEK DR                                                                                               SPRING HILL       TN      37174‐2197
HENRY LARRAIN         42198 W BACCARAT DR                                                                                              MARICOPA          AZ      85238‐3944
HENRY LATAILLE        4516 CAROLYN COVE LN N                                                                                           JACKSONVILLE      FL      32258‐2181
HENRY LAUPAN          21425 SPRING ST # E                                                                                              UNION GROVE       WI      53182‐9707
HENRY LAURIE JR       5714 EDEN VILLAGE DR                                                                                             INDIANAPOLIS      IN      46254‐5191
HENRY LAWRENCE        1195 N ROUTIERS AVE                                                                                              INDIANAPOLIS      IN      46219‐4132
HENRY LAWSON          APT 7                           1193 RIVER VALLEY DRIVE                                                          FLINT             MI      48532‐2901
HENRY LAWSON          1869 DANIEL BOONE RD                                                                                             GATE CITY         VA      24251‐2854
HENRY LEDFORD         PO BOX 801                                                                                                       STANTON           KY      40380‐0801
HENRY LEE COSBY       MOTLEY RICE LLC                 28 BRIDGESIDE BLVD            PO BOX 1792                                        MT PLEASANT       SC      29465
HENRY LEE JR          2418 ALPENA AVENUE                                                                                               DAYTON            OH      45406
HENRY LEEPER          1913 LAUREL OAK DR                                                                                               FLINT             MI      48507‐6038
HENRY LEHMAN          9094 STEPHAN BRIDGE RD                                                                                           ROSCOMMON         MI      48653‐7800
HENRY LEICH           7850 MOONWOOD PL                                                                                                 WESTLAND          MI      48185‐9412
HENRY LEMARBE         2424 MAPLECREST DR                                                                                               WATERFORD         MI      48327‐1244
HENRY LEON            1396 JANES WAY                                                                                                   COLTON            CA      92324‐1670
HENRY LEONARD         6758 W WILLOW GROVE DR                                                                                           NEW PALESTINE     IN      46163‐9039
HENRY LERCHE JR       1720 OAKHILL RD                                                                                                  KOKOMO            IN      46902‐3149
HENRY LES JR          5237 FIELD RD                                                                                                    CLIO              MI      48420‐8220
HENRY LETT            PO BOX 21                                                                                                        CONYERS           GA      30012‐0021
HENRY LEVY            ANDREW MCENANEY                 HISSEY KIENTZ LLP             9442 CAPITAL OF TX HWY                             AUSTIN            TX      78759
                                                                                    NORTH SUITE 400
HENRY LEWIS           28 SYCAMORE DR                                                                                                   OLMSTED FALLS     OH      44138‐2980
HENRY LEWIS           APT 328                         1700 CEDARWOOD DRIVE                                                             FLUSHING          MI      48433‐3606
HENRY LEWIS           8213 WILDBREIR DRIVE                                                                                             SHREVEPORT        LA      71108
HENRY LEWIS           2810 GIPSON ST                                                                                                   FORT WORTH        TX      76111‐3603
HENRY LEWIS JR        7472 W SOMERSET RD                                                                                               APPLETON          NY      14008‐9683
HENRY LEZAN           404 S GEORGE ST                                                                                                  DECATUR           MI      49045‐1217
HENRY LIBERACKI       56890 KIRKRIDGE TRL                                                                                              SHELBY TWP        MI      48316‐5803
HENRY LIBERACKI JR    2648 BEACON HILL CT APT 101                                                                                      AUBURN HILLS      MI      48326‐4245
HENRY LIEDTKA         16 MOUNT VERNON RD                                                                                               MONTCLAIR         NJ      07043‐2417
HENRY LIMBRICK        1880 SPRINGFIELD ST                                                                                              FLINT             MI      48503‐4552
HENRY LINDAHL         556 WILDBRIAR RD                                                                                                 ROCHESTER         NY      14623‐4240
HENRY LINDER          9426 PEACH ST                                                                                                    OAKLAND           CA      94603‐1837
HENRY LINDSEY         1673 FULLERTON ST                                                                                                DETROIT           MI      48238‐3611
HENRY LINDSEY         3102 PROCTOR AVE                                                                                                 FLINT             MI      48504‐2648
HENRY LITTLE JR.      1702 BAILEY AVE                                                                                                  MCKEESPORT        PA      15132‐4611
HENRY LOCK            8270 FEATHER HOLW                                                                                                FENTON            MI      48430‐8375
HENRY LOCK            1715 W HILLSDALE ST                                                                                              LANSING           MI      48915‐1115
HENRY LOGAN           836 WILLIAMSBURY CT APT 292                                                                                      WATERFORD         MI      48328‐2224
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Name                                  Address1                             Address2                      Address3                    Address4               City               State Zip
HENRY LONG JR                         PO BOX 414745                                                                                                         KANSAS CITY         MO 64141‐4745
HENRY LOPEZ                           LEVIN SIMES KAISER AND GORNICK LLP   ATTN JEFFREY KAISER           44 MONTGOMERY ST 36TH FL                           SAN FRANCISCO       CA 94104

HENRY LORENZEN                        226 HUBERT HUMPHREY DR                                                                                                CHESTNUT RIDGE     NY    10977‐6728
HENRY LOS                             THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET      22ND FLOOR                                         BALTIMORE          MD    21201

HENRY LOTT JR                         155 BAILEY ST                                                                                                         LAWRENCEVILLE      GA    30045‐5819
HENRY LOUGH                           10410 CRESSEY RD                                                                                                      PLAINWELL          MI    49080‐9044
HENRY LOVELADY                        10086 EAST MAPLE AVENUE                                                                                               DAVISON            MI    48423‐8636
HENRY LOVING                          13159 MEYERS RD                                                                                                       DETROIT            MI    48227‐3825
HENRY LOWE                            126 DEXTER DR                                                                                                         JACKSON            MS    39209
HENRY LOYD                            THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                                      HOUSTON            TX    77017
HENRY LUDWIG HERSEL                   ATTN ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD PO BOX                          EAST ALTON         IL    62024
                                                                           ANGELIDES & BARNERD LLC       521
HENRY LULA                            8751 SVL BOX                                                                                                          VICTORVILLE        CA    92395‐5179
HENRY LUMPKIN                         234 VERNON DR                                                                                                         PONTIAC            MI    48342‐1674
HENRY LYLES                           1134 BARRINGTON DR                                                                                                    FLINT              MI    48503‐2949
HENRY M BADON                         PO BOX 13014                                                                                                          FLINT              MI    48501‐3014
HENRY M CRANFORD                      5020 COULSON DRIVE                                                                                                    DAYTON             OH    45418‐2033
HENRY M HANFLIK LAW OFFICES           ATTN: HENRY M HANFLIK                1380 S LINDEN RD                                                                 FLINT              MI    48532‐4185
HENRY M KUZNIAREK                     64 CENTRAL AVE                                                                                                        BUFFALO            NY    14206‐1333
HENRY M LOTT JR                       155 BAILEY ST                                                                                                         LAWRENCEVILLE      GA    30045‐5819
HENRY M REILLY                        4469 OHEREN ST                                                                                                        BURTON             MI    48529‐1807
HENRY M REIS                          1930 HANDLEY STREET                                                                                                   SAGINAW            MI    48602‐3665
HENRY M RICHARDSON                    249 WROE AVE.                                                                                                         DAYTON             OH    45406‐5252
HENRY M STAFFIERI                     128 VILLAGGIO STREET                                                                                                  HENDERSON          NV    89074‐0967
HENRY M WOOD CO                       PO BOX 26065                         3151 EASTERN AVE                                                                 CINCINNATI         OH    45226‐0065
HENRY MABRY                           4409 CLOVERLAWN DR                                                                                                    FLINT              MI    48504‐2055
HENRY MAGALSKI                        812 S SCOTT DR                                                                                                        FARWELL            MI    48622‐9699
HENRY MAGEE                           13982 ROSELAWN ST                                                                                                     DETROIT            MI    48238‐2423
HENRY MAGES                           4471 W OVERLOOK DR                                                                                                    WILLIAMSVILLE      NY    14221‐6328
HENRY MAGYAR                          6736 WAYNE DR                                                                                                         DERBY              NY    14047‐9737
HENRY MAJOR JR                        1131 POWDERHORN                                                                                                       LANSING            MI    48917‐4068
HENRY MALLORY                         514 KING ARNOLD ST APT M4                                                                                             HAPEVILLE          GA    30354‐1638
HENRY MANGOLD                         243 LOW BRIDGE CT                                                                                                     PASADENA           MD    21122‐4145
HENRY MANIFOLD                        3544 172ND ST                                                                                                         FLUSHING           NY    11358‐1830
HENRY MANNELLA                        1004 ANNA AVE                                                                                                         WEST MIFFLIN       PA    15122‐3750
HENRY MANSON JR                       2344 N PARKER DR                                                                                                      JANESVILLE         WI    53545‐0716
HENRY MAR                             676 RIDGEWOOD RD                                                                                                      ROCHESTER HLS      MI    48306‐2648
HENRY MARANOWSKI                      22614 COLGATE ST                                                                                                      FARMINGTON HILLS   MI    48336‐3616

HENRY MARCOLINI                       33 WHITEWOOD RD                                                                                                       MILFORD            MA    01757‐1227
HENRY MARCUM                          PO BOX 1146                                                                                                           LOUISA             KY    41230‐4146
HENRY MARIN                           6005 COUNTY ROAD 913                                                                                                  GODLEY             TX    76044‐3306
HENRY MARQUEZ                         13809 LANCELOT AVE                                                                                                    NORWALK            CA    90650‐4446
HENRY MARSHALL                        39 VINCENT CT                                                                                                         SMYRNA             DE    19977‐7721
HENRY MARSHALL                        5031 ANGELIQUE DR                                                                                                     INDIANAPOLIS       IN    46254‐5761
HENRY MARTELL                         PO BOX 490292                                                                                                         MIAMI              FL    33149‐0292
HENRY MARTENS CHEVROLET‐CADILLAC, I   315 CHOCTAW ST                                                                                                        LEAVENWORTH        KS    66048‐2755

HENRY MARTENS CHEVROLET‐CADILLAC,     JEFFERY MARTENS                      315 CHOCTAW ST                                                                   LEAVENWORTH         KS   66048‐2755
INC.
HENRY MARTENS CHEVROLET‐CADILLAC,     315 CHOCTAW ST                                                                                                        LEAVENWORTH         KS   66048‐2755
INC.
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HENRY MARTIN          PO BOX 6852                                                                                    YOUNGSTOWN          OH     44501‐6852
HENRY MARTIN          949 E JUDDVILLE RD                                                                             OWOSSO              MI     48867‐9468
HENRY MARTIN          1330 LAKEMONT DR                                                                               ARNOLD              MO     63010‐4622
HENRY MARTIN          480 SUNNY LN                                                                                   SELMA               AL     36701‐9704
HENRY MARTIN JR       7195 S GEECK RD                                                                                DURAND              MI     48429‐9102
HENRY MARTINEZ        3205 PENROSE AVENUE                                                                            TOLEDO              OH     43614‐5339
HENRY MASAKOWSKI      37761 ANDREW DR                                                                                STERLING HEIGHTS    MI     48312‐1823
HENRY MASIMORE        2342 CADWALLADER SONK RD                                                                       CORTLAND            OH     44410‐9410
HENRY MASIWCHUK JR    53540 HAWALD DR                                                                                SHELBY TWP          MI     48316‐3768
HENRY MASLOWSKI       145 KINGSLEY DRIVE                                                                             YONKERS             NY     10710
HENRY MASLOWSKI IRA   145 KINGSLEY DR                                                                                YONKERS             NY     10710
HENRY MASON, JR       C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                       HOUSTON             TX     77007
                      BOUNDAS LLP
HENRY MASSEY          6343 E 56TH ST                                                                                 INDIANAPOLIS       IN      46226‐1635
HENRY MASTERS         4909 DAVISON RD                                                                                LAPEER             MI      48446‐3507
HENRY MATTHEIS JR     1237 CROOKED LAKE RD                                                                           FENTON             MI      48430‐1215
HENRY MATTHEWS        836 KENDAL DR                                                                                  BROADVIEW HTS      OH      44147‐4430
HENRY MAY             7944 BRYCE RD                                                                                  KENOCKEE           MI      48006‐3906
HENRY MAY             3456A GASCONADE ST                                                                             SAINT LOUIS        MO      63118‐4202
HENRY MAYS SR         5285 WOODBINE AVE                                                                              DAYTON             OH      45432‐3631
HENRY MC AULEY        29672 BROWN CT                                                                                 GARDEN CITY        MI      48135‐2324
HENRY MC CLELLON SR   5079 PETERSON ST                                                                               SAGINAW            MI      48601‐6817
HENRY MC CORMICK      695 TRUMBULL DR                                                                                NILES              OH      44446‐2121
HENRY MC COURT        26050 DEEP CREEK BLVD                                                                          PUNTA GORDA        FL      33983‐5615
HENRY MC COURY        671 S GREY RD                                                                                  AUBURN HILLS       MI      48326‐3815
HENRY MC GHEE         4426 SUMMERTIME CT SE                                                                          KENTWOOD           MI      49508‐7522
HENRY MC LAUGHLIN     20203 LITTLEFIELD ST                                                                           DETROIT            MI      48235‐4404
HENRY MC NALLY        22246 EDGEWATER                                                                                NOVI               MI      48375‐5015
HENRY MC NEIL         19254 REVERE ST                                                                                DETROIT            MI      48234‐1708
HENRY MC SHAN JR      3830 W OUTER DR                                                                                DETROIT            MI      48221‐1508
HENRY MCBRIDE         THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX      77017
HENRY MCCLENDON       6027 BIRCHBROOK DR APT 1034                                                                    DALLAS             TX      75206‐4456
HENRY MCCLOUD         8667 W WILLOW HWY                                                                              GRAND LEDGE        MI      48837‐8932
HENRY MCCLUNG         16390 W MONROE ST                                                                              GOODYEAR           AZ      85338‐2719
HENRY MCCONNELL       6634 THACKSTON DR                                                                              RIVERVIEW          FL      33578‐1319
HENRY MCCOY           2915 F ST                                                                                      TOLEDO             OH      43608‐2219
HENRY MCCULLOUGH      13150 FORESTDALE DR                                                                            GARFIELD HTS       OH      44125‐1836
HENRY MCDANIEL        158 KING ARTHUR DR                                                                             LAWRENCEVILLE      GA      30045‐4754
HENRY MCDONALD        10330 CEDAR CV                                                                                 MADISON            AL      35756‐4228
HENRY MCDOWELL        5919 MARION DR                                                                                 LOCKPORT           NY      14094‐6624
HENRY MCELROY         1915 FRAMES RD                                                                                 BALTIMORE          MD      21222‐4711
HENRY MCELROY JR      1307 DUNDALK AVE                                                                               BALTIMORE          MD      21222‐1015
HENRY MCEVOY          4895 DOREY DR                                                                                  BAY CITY           MI      48706‐2617
HENRY MCFARLAND       PO BOX 1047                                                                                    NOKOMIS            FL      34274‐1047
HENRY MCGHEE JR       1405 ANDREW ST SE                                                                              GRAND RAPIDS       MI      49508‐4813
HENRY MCGILL          2052 HERITAGE DR                                                                               SANDUSKY           OH      44870‐5157
HENRY MCGREGOR        37 GEORGETOWN SQ                                                                               EUCLID             OH      44143‐2411
HENRY MCKAY           8338 ASTER RD                                                                                  GILMER             TX      75644‐6014
HENRY MCKAY           8105 ARCADIAN SHORES DR                                                                        SHREVEPORT         LA      71129‐4107
HENRY MCMINN          1738 CENTER SPRINGS RD                                                                         SOMERVILLE         AL      35670‐4241
HENRY MEADOWS         25751 STONYCROFT DR                                                                            SOUTHFIELD         MI      48033‐5890
HENRY MEDI            3089 DALEY DR                                                                                  TROY               MI      48083‐5412
HENRY MEDINA          1098 WOODSIDE DR                                                                               MANSFIELD          OH      44906‐1537
HENRY MEINERT I I I   1328 SE PICCADILLY ST                                                                          BLUE SPRINGS       MO      64014‐3714
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Name                  Address1                             Address2                     Address3            Address4               City             State   Zip
HENRY MELISSA         17547 W 130TH ST                                                                                             CLEVELAND         OH     44133‐5450
HENRY MELLOTT         53985 JEWELL RD                                                                                              SHELBY TWP        MI     48315‐1737
HENRY MELTON          1711 SAINT MATHEWS CHURCH RD                                                                                 METTER            GA     30439‐6230
HENRY MERCER          3780 EMBARCADERO ST                                                                                          WATERFORD         MI     48329‐2241
                                                                                                                                   TOWNSHIP
HENRY MERITHEW JR     882 N RACQUETTE RIVER RD                                                                                     MASSENA          NY      13662‐3248
HENRY MERTOWSKI       71 EDMUND ST                                                                                                 CHEEKTOWAGA      NY      14227‐1803
HENRY MERTZ           1213 DICKENS ST                                                                                              BOWLING GREEN    KY      42101‐8647
HENRY MESSNER         4266 WOODS EDGE ST                                                                                           SAGINAW          MI      48603‐4242
HENRY MEYERHOEFER     6023 PALMETTO ST                                                                                             RIDGEWOOD        NY      11385‐3240
HENRY MICHELSON       506 APPLEWOOD DR                                                                                             LOCKPORT         NY      14094‐9154
HENRY MICKENS         19726 SAINT MARYS ST                                                                                         DETROIT          MI      48235‐2327
HENRY MIESKOWSKI JR   7300 CHERRY ST                                                                                               INDEPENDENCE     OH      44131‐5017
HENRY MIKESELL        2029 W 11TH ST                                                                                               MARION           IN      46953‐1246
HENRY MILLDEBRANDT    600 S NEWMAN RD                                                                                              LAKE ORION       MI      48362‐2135
HENRY MILLER          170 GALE BLVD APT 302                                                                                        MELVINDALE       MI      48122‐1735
HENRY MILLER          4955 WEBSTER RD                                                                                              FREDONIA         NY      14063‐9628
HENRY MILLER          1511 VANDYKE GREENSPRING RD                                                                                  SMYRNA           DE      19977‐9489
HENRY MILLER          3761 CUMBERLAND RD                                                                                           BERKLEY          MI      48072‐1653
HENRY MILLER          BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                              BOSTON HEIGHTS   OH      44236
HENRY MILLICAN        761 ROCK SPRINGS RD                                                                                          LAWRENCEVILLE    GA      30043‐2116
HENRY MILLS           403 FAIRMONT DR                                                                                              EDEN             NC      27288‐2800
HENRY MILNER I I I    1650 N 2ND STREET EXT                                                                                        GRIFFIN          GA      30223‐1629
HENRY MILTON          2168 PLEASANT HILL RD                                                                                        BOLTON           MS      39041‐9757
HENRY MINES           2601 HOWLAND WILSON RD                                                                                       CORTLAND         OH      44410‐9449
HENRY MISIALOWSKI     11403 MARION                                                                                                 REDFORD          MI      48239‐2016
HENRY MITCHELL        6404 DONNA LN                                                                                                FOREST HILL      TX      76119‐7317
HENRY MITCHELL JR     10 PATRIOT TRL                                                                                               DAHLONEGA        GA      30533‐9106
HENRY MOHR            4680 CASTLE RD                                                                                               OTTER LAKE       MI      48464‐9630
HENRY MONTEZ          8305 NW 81ST TER                                                                                             KANSAS CITY      MO      64152‐4122
HENRY MOORE           4355 NEWCASTLE CIR                                                                                           LITHONIA         GA      30038‐3508
HENRY MOORE           7960 DARKE PREBLE CO RD                                                                                      ARCANUM          OH      45304
HENRY MOORE           PO BOX 1297                                                                                                  ELKHORN CITY     KY      41522‐1297
HENRY MOORE           21899 MAHON DR                                                                                               SOUTHFIELD       MI      48075‐3824
HENRY MOORE           THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                                 BALTIMORE        MD      21201

HENRY MOORHEAD        PO BOX 111                           3992 ST RT 7                                                            BURGHILL         OH      44404‐0111
HENRY MORA            2343 BELLEVIEW AVE                                                                                           KANSAS CITY      MO      64108‐2307
HENRY MORALES         2441 ALCOTT ST                                                                                               BURTON           MI      48509‐1143
HENRY MORALES         471 LAKECREEK DR                                                                                             NEW BRAUNFELS    TX      78130‐8392
HENRY MORALES         2989 VOORHEIS RD                                                                                             WATERFORD        MI      48328‐3255
HENRY MORALES JR      10423 N BRAY RD                                                                                              CLIO             MI      48420‐9775
HENRY MORFFI          5033 N 123RD ST                                                                                              KANSAS CITY      KS      66109‐3808
HENRY MORGAN          PO BOX 5427                                                                                                  SHREVEPORT       LA      71135‐5427
HENRY MORGERSON       BARON & BUDD P C                     THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                          DALLAS           TX      75219‐4281
HENRY MORRIS          2103 ALGONAC DR                                                                                              FLINT            MI      48532‐4507
HENRY MORRIS III      8313 DEER CREEK CT                                                                                           GRAND BLANC      MI      48439‐9261
HENRY MOSKAL          29 KELLY PKWY                                                                                                BAYONNE          NJ      07002‐3411
HENRY MOSS            214 LOON LN                                                                                                  SAINT HELEN      MI      48656‐9477
HENRY MOSS            3123 KEMP DR                                                                                                 NORMANDY         MO      63121‐5311
HENRY MOTLEY JR       2808 HILLCREST ST                                                                                            LANSING          MI      48911‐2349
HENRY MOTORS          213 CHICAGO AVE                                                                                              PLATTSMOUTH      NE      68048‐1832
HENRY MULLINIKS JR    PO BOX 416                           411 CENTER ST                                                           MARINE           IL      62061‐0416
HENRY MULLINS         2613 PINEGROVE DR                                                                                            DAYTON           OH      45449‐3346
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Name                Address1                           Address2                     Address3          Address4               City            State   Zip
HENRY MUNIZ         58075 STEPHENS                                                                                           WASHINGTON       MI     48094‐3655
HENRY MURRAY        606 E BEVERLY AVE                                                                                        PONTIAC          MI     48340‐2908
HENRY MURZYN        35 HIDDEN BROOK DR                                                                                       BRISTOL          CT     06010‐2458
HENRY MYLES         1323 BRIARWOOD DRIVE                                                                                     WATERFORD        MI     48327‐4232
HENRY N CAMPBELL    1168 LOUISE DR                                                                                           XENIA            OH     45385‐1731
HENRY NAILOR        2704 W RIVER ST                                                                                          ANNISTON         AL     36201‐1475
HENRY NATT JR       NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD     TX     75638
HENRY NEAL          BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS       OH     44236
HENRY NEEDHAM       409 BROWNS CREEK RD                                                                                      RAVENDEN         AR     72459‐8022
HENRY NEFF          509 FARWELL RD                                                                                           WILMINGTON       DE     19804‐3030
HENRY NELSON        BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS       OH     44236
HENRY NELSON JR     910 SEWARD ST RM 204                                                                                     DETROIT          MI     48202‐2352
HENRY NENGELKEN     616 ESSEX AVE                                                                                            LINDEN           NJ     07036‐2664
HENRY NETTLES       12251 SOUTHWEST 122ND PATH                                                                               MIAMI            FL     33186‐9031
HENRY NEWMAN JR     8620 44TH PL                                                                                             LYONS             IL    60534‐1611
HENRY NEWPOWER      278 N BURNS RD                                                                                           BAY CITY         MI     48708‐9150
HENRY NEWSOME       839 S MAIN AVE                                                                                           MAIDEN           NC     28650‐8210
HENRY NICHOLS JR    9 WHITE PLAINS AVE                                                                                       ELMSFORD         NY     10523‐2717
HENRY NICKLEBERRY   814 CHAMELEON STAR AVE                                                                                   HENDERSON        NV     89015‐2411
HENRY NIENABER      556 COACH LIGHT DR                                                                                       EDGEWOOD         KY     41017‐3211
HENRY NOBLE         270 TAYLOR RD                                                                                            JACKSON          GA     30233‐2240
HENRY NORTHINGTON   3115 WASHINGTON BLVD                                                                                     INDIANAPOLIS     IN     46205‐3932
HENRY NOVAKOWSKI    10810 SW 81 COURT RD                                                                                     OCALA            FL     34481‐5718
HENRY NOWACZEWSKI   8 LUCERNE CT                                                                                             CHEEKTOWAGA      NY     14227‐3010
HENRY NUNEZ         3860 S WHITE MOUNTAIN RD TRLR 67                                                                         SHOW LOW         AZ     85901
HENRY NYKIEL        2371 N HACKER RD                                                                                         HOWELL           MI     48855‐9079
HENRY O BROWN       1755 TYLER RD                                                                                            YPSILANTI        MI     48198‐6159
HENRY O MAYS SR     5285 WOODBINE AVE                                                                                        DAYTON           OH     45432‐3631
HENRY OATES         9951 CHATHAM                                                                                             DETROIT          MI     48239‐1307
HENRY ODOM          125 WILLOW BEND DR APT 4B                                                                                OWINGS MILLS     MD     21117‐2770
HENRY OGINSKY       2800 N BYRON RD                                                                                          LENNON           MI     48449‐9606
HENRY OGONOWSKI     120 GLEN BERNE DR                                                                                        WILMINGTON       DE     19804‐3408
HENRY OLIVAREZ      1901 E 152ND ST                                                                                          OLATHE           KS     66062‐2932
HENRY OLIVAS        2395 KEITH RD                                                                                            W BLOOMFIELD     MI     48324‐3645
HENRY OLIVER        686 3RD AVE                                                                                              PONTIAC          MI     48340‐2008
HENRY ONEY          BOX 2503 113 EAST                                                                                        MILAN            OH     44846
HENRY ORPUT         6254 US ROUTE 40 LOT 42                                                                                  TIPP CITY        OH     45371‐9438
HENRY ORR           4353 CENTRAL AVE                                                                                         INDIANAPOLIS     IN     46205‐1820
HENRY ORSAK         100 JANE LN                                                                                              BRISTOL          VA     24201‐5041
HENRY OSENTOSKI     3409 WYNNS MILL RD                                                                                       METAMORA         MI     48455‐9628
HENRY OSOWIECKI     17 RENWICK AVE                                                                                           STATEN ISLAND    NY     10301‐4215
HENRY OSTERKAMP     4897 GEORGIA DR                                                                                          ORION            MI     48359‐2129
HENRY OTTO JR       3481 BAUER DR                                                                                            SAGINAW          MI     48604‐2101
HENRY OVELGONE      8157 KAVANAGH RD                                                                                         BALTIMORE        MD     21222‐4716
HENRY OWENS         5231 BROMWICK DR                                                                                         TROTWOOD         OH     45426‐1909
HENRY OWENS         3438 E 103RD ST                                                                                          CLEVELAND        OH     44104‐5625
HENRY OXENDINE      2050 CABINET SHOP RD                                                                                     ROWLAND          NC     28383‐8326
HENRY P DONOHUE     1275 HEMINGWAY DR                                                                                        ERIE             PA     16505
HENRY P WOOLUM      7855 WILLIS RD                                                                                           BROWN CITY       MI     48416‐9394
HENRY PALMORE       3838 MYSTIC TRL                                                                                          SAGINAW          MI     48603‐8505
HENRY PALUMBO       THE MADEKSHO LAW FIRM              8866 GULF FREEWAY STE 440                                             HOUSTON          TX     77017
HENRY PALUS         4206 NATHAN W                                                                                            STERLING HTS     MI     48310‐2651
HENRY PANTONI       70 CHURCHVILLE LN                                                                                        CHURCHVILLE      PA     18966‐1502
HENRY PARENT        3345 CAMINO DEL SOL DR                                                                                   WILLIAMSTON      MI     48895‐9100
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Name                    Address1                        Address2                     Address3          Address4               City               State   Zip
HENRY PARKER            795 ENDOR CT                                                                                          CINCINNATI          OH     45240‐3124
HENRY PARKINS           NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD        TX     75638
HENRY PARNIS            11338 LENORE                                                                                          REDFORD             MI     48239‐1613
HENRY PATRICK JR        3415 ROYCE AVE                                                                                        BALTIMORE           MD     21215‐6306
HENRY PATTERSON         3015 DELAWARE AVE APT 211                                                                             BUFFALO             NY     14217‐2347
HENRY PAUL COMPANY
HENRY PAYNE             6218 LEXINGTON AVE                                                                                    SAINT LOUIS        MO      63121‐5402
HENRY PEARSON III       20270 BRIARWOOD CT                                                                                    SOUTHFIELD         MI      48076‐4907
HENRY PEEK              350 N 5TH ST                                                                                          BREESE             IL      62230‐1426
HENRY PEGUES            4913 PALM ST                                                                                          SAINT LOUIS        MO      63115‐1642
HENRY PELAK             228 GRAHAM RD NW                                                                                      GRAND RAPIDS       MI      49504‐4937
HENRY PELFREY           BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS         OH      44236
HENRY PELLETIER         2105 RAINWOOD CT                                                                                      ARLINGTON          TX      76017‐4585
HENRY PENA              501 S TEXAS AVE APT 414                                                                               MERCEDES           TX      78570‐3148
HENRY PEREZ             4149 WESTPOINT ST                                                                                     DEARBORN HTS       MI      48125‐2126
HENRY PEREZ             24946 THOMAS AVE                                                                                      HAYWARD            CA      94544‐2315
HENRY PERNELL           7523 S HOYNE AVE                                                                                      CHICAGO            IL      60620‐5736
HENRY PERRYMAN          5080 E ATHERTON RD                                                                                    BURTON             MI      48519‐1526
HENRY PETER MARTYNIUK   MOTLEY RICE LLC                 28 BRIDGESIDE BLVD           PO BOX 1792                              MT PLEASANT        SC      29465
HENRY PETERS            2367 AVERY ST                                                                                         LITHONIA           GA      30058‐4403
HENRY PETERS            4504 FIELDCREST CT                                                                                    PLAINFIELD         IL      60586‐7539
HENRY PETERSON          4830 S SAINT LAWRENCE AVE                                                                             CHICAGO            IL      60615‐1510
HENRY PETERSON          1822 W LOIS LN                                                                                        EDGERTON           WI      53534‐8605
HENRY PFUERSTINGER      37463 DEVOE ST                                                                                        CLINTON TOWNSHIP   MI      48036‐2900

HENRY PHILLIPS          1763 HANOVER ST                                                                                       LINCOLN PARK       MI      48146‐1451
HENRY PHILLIPS          20241 HUBBARD ST                                                                                      LIVONIA            MI      48152‐1353
HENRY PIATKOWSKI        59 HAZLET TRAILER PARK                                                                                HAZLET             NJ      07730‐1703
HENRY PIECH             84 REINHOLD TER                                                                                       UNION              NJ      07083‐8909
HENRY PIENCZYKOWSKI     46 VANARD DR                                                                                          BRICK              NJ      08723‐7443
HENRY PIERANGELINO      820 20TH ST                                                                                           NIAGARA FALLS      NY      14301‐2365
HENRY PIERCE            34 WILLOUGHBY ST                                                                                      SOMERVILLE         MA      02143‐1203
HENRY PIERCE            5570 OLIVE TREE DR                                                                                    DAYTON             OH      45426‐1311
HENRY PIERZ             385 PARK AVE                                                                                          YONKERS            NY      10703‐2111
HENRY PIOTROWSKI        5 VICAR LN                                                                                            LEVITTOWN          PA      19054‐1309
HENRY PISCHKE           9944 BECKER AVE                                                                                       ALLEN PARK         MI      48101‐3703
HENRY PITTMAN           280 SOUTH BLVD W                                                                                      PONTIAC            MI      48341‐2460
HENRY PIZANA            1509 W OTTAWA ST                                                                                      LANSING            MI      48915‐1780
HENRY PLAFF             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS         OH      44236
HENRY PLAGGEMEYER JR    3194 WOODVIEW DR                                                                                      HAMILTON           MI      49419‐8543
HENRY POELMAN           7521 138TH STREET CT E                                                                                PUYALLUP           WA      98373‐5309
HENRY POLITE            3609 ROBIN ST                                                                                         FLINT              MI      48505‐4028
HENRY POLLEY            310 N CASA GRANDE CIR                                                                                 DUNCANVILLE        TX      75116‐4106
HENRY POPLAR JR         2109 CASTLE LN                                                                                        FLINT              MI      48504‐2026
HENRY PORTER            145 MASSACHUSETTS ST                                                                                  HIGHLAND PARK      MI      48203
HENRY PORTERFIELD JR    1006 E HOLLAND AVE                                                                                    SAGINAW            MI      48601‐2624
HENRY POTTER            8043 WILSON AVE SW                                                                                    BYRON CENTER       MI      49315‐8839
HENRY POWELL JR         1151 BELRUE AVE                                                                                       SAINT LOUIS        MO      63130‐2421
HENRY POWELL JR         26342 FALLING LEAF DR                                                                                 WARRENTON          MO      63383‐7132
HENRY POYTHRESS JR      2576 CRESTDALE CIR SE                                                                                 ATLANTA            GA      30316‐3943
HENRY PRAYLO            2827 BELLAIRE ST                                                                                      DENVER             CO      80207‐3024
HENRY PRESTON           BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS         OH      44236
HENRY PREVETTE          8080 LOWER THOMASTON RD                                                                               MACON              GA      31220‐6732
HENRY PRICE             453 BANJO BR                                                                                          OFFUTT             KY      41240
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Name                       Address1                       Address2                      Address3   Address4               City             State   Zip
HENRY PRIDDY               1290 OAK GROVE CHURCH RD                                                                       BROWNSVILLE       KY     42210‐8508
HENRY PRINTY               1306 TYLER ST                                                                                  SANDUSKY          OH     44870‐3153
HENRY PRITCHETT            4789 HESS RD                                                                                   SAGINAW           MI     48601‐6924
HENRY PROFFITT             1653 EVALIE DR                                                                                 FAIRFIELD         OH     45014‐3514
HENRY PROUT                7797 E BEAL CITY RD                                                                            MT PLEASANT       MI     48858‐9255
HENRY PROVOST              740 SENTRY RGE CROSS.NE                                                                        SUWANEE           GA     30024
HENRY PRUDHOMME JR         1610 LARKMOOR BLVD                                                                             BERKLEY           MI     48072‐1993
HENRY PRUETER              2801 OAKWOOD AVE                                                                               SAGINAW           MI     48601‐3981
HENRY PRUITT               8419 CAMPANELLA DR                                                                             DALLAS            TX     75243‐1811
HENRY PRYOR                6126 TEAGARDEN CIR                                                                             DAYTON            OH     45449‐3014
HENRY PRYOR                2336 SPRING VALLEY RD                                                                          MIAMISBURG        OH     45342‐4439
HENRY PUFFENBERGER         4200 SMITHVILLE RD                                                                             EATON RAPIDS      MI     48827‐9732
HENRY PURCHES              PO BOX 311111                                                                                  FLINT             MI     48531‐1111
HENRY PURCHES JR           5518 BALDWIN BLVD                                                                              FLINT             MI     48505
HENRY R BLACKLEDGE         240 WOODLAWN AVE                                                                               LANSING           MI     48910
HENRY R MORRISON           14 LARRY LN                                                                                    CORTLAND          OH     44410‐9325
HENRY R SIKORA             8101 BROOKFIELD                                                                                SAGINAW           MI     48609‐9534
HENRY R THOMAS I I I       2368 LINDA DRIVE N.W.                                                                          WARREN            OH     44485‐1705
HENRY RABISH JR            2104 FREMONT ST                                                                                BAY CITY          MI     48708‐8119
HENRY RABUN JR             185 PROCELL LN                                                                                 COLUMBIA          LA     71418‐5046
HENRY RADDATZ              8320 SANDPIPER ST                                                                              CANTON            MI     48187‐1707
HENRY RAMIREZ              12121 BEVERLY DR                                                                               WHITTIER          CA     90601‐2702
HENRY RANKINS              3814 KELLAR AVE                                                                                FLINT             MI     48504‐3701
HENRY RATTS                7692 S STATE ROAD 39                                                                           CLAYTON           IN     46118‐9325
HENRY RAY                  14439 SPRING GARDEN ST                                                                         DETROIT           MI     48205‐3514
HENRY RAY                  128 HENRY RAY RD                                                                               VILLA RICA        GA     30180‐4257
HENRY RAYMOND              11392 COONTZ RD                                                                                ORIENT            OH     43146‐9715
HENRY REAL                 10626 STANWIN AVE                                                                              MISSION HILLS     CA     91345‐2240
HENRY REDDERS              7024 HOSLER RD                                                                                 LEO               IN     46765‐9547
HENRY REDMON               505 HIGHWAY 126                                                                                JONESVILLE        LA     71343‐6151
HENRY REDMOND              142 CLEARVIEW DR                                                                               ROCKWOOD          TN     37854‐5257
HENRY REED                 6101 BOULDER DR                                                                                BURTON            MI     48529‐1546
HENRY REED                 22610 TRILLIUM LOOP                                                                            NOVI              MI     48375‐4637
HENRY REESE                PO BOX 147                                                                                     UNION PIER        MI     49129‐0147
HENRY REIFSCHNEIDER        1783 FAIRVIEW FARMS CIR                                                                        WENTZVILLE        MO     63385‐2765
HENRY REILLY               4469 OHEREN ST                                                                                 BURTON            MI     48529‐1807
HENRY REIN                 BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS        OH     44236
HENRY REINERT              12895 E CURTIS RD                                                                              FRANKENMUTH       MI     48734‐9558
HENRY REINHARDT            7520 GLASCOTT AVE                                                                              W BLOOMFIELD      MI     48323‐1333
HENRY REMSTER              13491 N PADDOCK RD                                                                             CAMBY             IN     46113‐8562
HENRY RENNER               1536 RICHMOND AVE                                                                              LINCOLN PARK      MI     48146‐3544
HENRY REPPUHN              13417 N FENTON RD                                                                              FENTON            MI     48430‐1117
HENRY REUSCHER             1913 NE 64TH ST                                                                                GLADSTONE         MO     64118‐3702
HENRY REVEKANT             183 QUARRY HILL EST                                                                            AKRON             NY     14001‐9788
HENRY REYES                1619 GRATIOT AVE                                                                               SAGINAW           MI     48602‐2632
HENRY REYNOLDS             314 SAINT PIERRE ST                                                                            BONNE TERRE       MO     63628‐9253
HENRY REYNOLDS             5470 HOOVER AVE                                                                                DAYTON            OH     45427‐2277
HENRY RHODES               6014 CATHEDRAL RD                                                                              FREDERICKSBURG    VA     22407‐5032
HENRY RICE                 512 SALT SPRINGS RD                                                                            WARREN            OH     44481‐9616
HENRY RICE                 4280 E 175TH ST                                                                                CLEVELAND         OH     44128‐3537
HENRY RICHARD              703 CAPITAL AVE SW                                                                             BATTLE CREEK      MI     49015‐5033
HENRY RICHARD E (341098)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510
                                                          STREET, SUITE 600
HENRY RICHARDSON           9305 OAKES RD                                                                                  ARCANUM          OH      45304‐8920
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Name                    Address1                          Address2                       Address3          Address4               City           State   Zip
HENRY RICHARDSON        22 DOLPHIN AVE                                                                                            ORMOND BEACH    FL     32176‐2108
HENRY RICHARDSON        4860 ASHLAND ST                                                                                           DETROIT         MI     48215‐2157
HENRY RIENDEAU          319 PRIVILEGE ST APT 5                                                                                    WOONSOCKET       RI    02895‐1207
HENRY RIFE              6188 TAYLOR DR                                                                                            FLINT           MI     48507‐4656
HENRY RILEY JR          15466 LAUDER ST                                                                                           DETROIT         MI     48227‐2629
HENRY RINEHART JR       BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS      OH     44236
HENRY RITTER            101 HIGHLAND AVE                                                                                          YONKERS         NY     10705
HENRY RITTER            507 S MAIN ST                                                                                             FITZGERALD      GA     31750‐3365
HENRY RITZ              5603 BONETA RT 2                                                                                          MEDINA          OH     44256
HENRY ROBBINS           3518 EUCLID DR                                                                                            TROY            MI     48083‐5707
HENRY ROBERSON          19016 NADOL DR                                                                                            SOUTHFIELD      MI     48075‐5819
HENRY ROBERT (645094)   BRAYTON PURCELL                   PO BOX 6169                                                             NOVATO          CA     94948‐6169
HENRY ROBERTS           ATTN AARYN GIBLIN, ATTORNEY FOR   C/O PROVOST UMPHREY LAW FIRM   490 PARK STREET                          BEAUMONT        TX     77701
                        HENRY ROBERTS                     LLP
HENRY ROBERTS           1344 W MAPLE AVE                                                                                          FLINT          MI      48507‐5612
HENRY ROBERTS JR        84 MAPLE RIDGE AVE                                                                                        BUFFALO        NY      14215‐3130
HENRY ROBERTSON         23806 PLUMBROOKE DR                                                                                       SOUTHFIELD     MI      48075‐7813
HENRY ROBINETTE         5324 HUMMER LAKE RD                                                                                       OXFORD         MI      48371‐2808
HENRY ROBINSON          6238 EASTKNOLL DR APT 113                                                                                 GRAND BLANC    MI      48439‐5017
HENRY ROBINSON          C/O BRAYTON PURCELL               222 RUSH LANDING RD                                                     NOVATO         CA      94948‐6169
HENRY ROBY              1361 WARRIOR SONG WAY                                                                                     O FALLON       MO      63366‐3761
HENRY RODGERS           142 HALIFAX DR                                                                                            VANDALIA       OH      45377‐2908
HENRY RODRIGUEZ         908 PADDY RD                                                                                              FLORESVILLE    TX      78114‐6558
HENRY RODRIGUEZ         9229 DOUGLAS RD                                                                                           TEMPERANCE     MI      48182‐2401
HENRY ROGERS JR         4947 GARFIELD AVE                                                                                         KANSAS CITY    MO      64130‐2544
HENRY ROHDE             848 N WALKER RD                                                                                           TWINING        MI      48766‐9610
HENRY RONALD            1033 MAPLE STREET                                                                                         LANSE          PA      16849
HENRY ROSE              1254 WOODLOW ST                                                                                           WATERFORD      MI      48328‐1360
HENRY ROSE              610 DORSET DR                                                                                             MORRISVILLE    PA      19067‐7507
HENRY ROSENGARD         3830 KAWKAWLIN RIVER DR                                                                                   BAY CITY       MI      48706‐1772
HENRY ROSKWITALSKI JR   259 ROSEMONT AVE                                                                                          BUFFALO        NY      14217‐1052
HENRY ROSS              8276 WHITCOMB ST                                                                                          DETROIT        MI      48228‐2254
HENRY ROSS              9034 S BUDLONG AVE                                                                                        LOS ANGELES    CA      90044‐2050
HENRY ROSS JR           BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS     OH      44236
HENRY ROSTAN JR         3276 GLEN OAKS DR                                                                                         YOUNGSTOWN     OH      44511‐2028
HENRY ROWLAND           300 PERRY ST                                                                                              HARBOR SPGS    MI      49740‐1040
HENRY ROYSTER JR        5141 SANDALWOOD CIR                                                                                       GRAND BLANC    MI      48439‐4267
HENRY RUBALCABA         18 PHEASANT LN                                                                                            SAINT PETERS   MO      63376‐4202
HENRY RUBAN JR          45 BERKELEY AVE                                                                                           BERKELEY HTS   NJ      07922‐1021
HENRY RUBIO             367 N 4TH ST                                                                                              FREELAND       MI      48623‐2521
HENRY RUDI              5278 MOCERI LN                                                                                            GRAND BLANC    MI      48439‐4339
HENRY RUHNKE            7803 NW LYNNS LN                                                                                          KANSAS CITY    MO      64152‐1559
HENRY RUSSELL           85 WITCHES ROCK RD                                                                                        BRISTOL        CT      06010‐7150
HENRY RUSSELL           32 GARFIELD ST                                                                                            YOUNGSTOWN     OH      44502‐1842
HENRY RUTTAN            2172 E SHERMAN RD                                                                                         LINWOOD        MI      48634‐9461
HENRY RYBICKI           711 IRONWOOD DR                                                                                           YORKTOWN       VA      23693‐5561
HENRY RYCKMAN           PO BOX 44                                                                                                 LEWISTON       MI      49756‐0044
HENRY RYMAROWICZ        789 MORRELLE AVE                                                                                          E MCKEESPORT   PA      15035‐1114
HENRY S HEICHEL         19 W MILLER ST                                                                                            NEW CASTLE     PA      16102
HENRY SABGASH           4318 WALTON PL                                                                                            SAGINAW        MI      48603‐2073
HENRY SADOCHA           29528 DOVER AVE                                                                                           WARREN         MI      48088‐3603
HENRY SAJDAK            10235 LAMBS RD                                                                                            WALES          MI      48027‐2803
HENRY SAKHLEH           17346 VACRI LN                                                                                            LIVONIA        MI      48152‐3120
HENRY SALGADO JR        1129 CRYSTAL CREEK DR D                                                                                   PORT ORANGE    FL      32128
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Name                                    Address1                            Address2                     Address3          Address4               City               State   Zip
HENRY SALVATORE                         5811 ORCHARD AVE                                                                                          PARMA               OH     44129‐3022
HENRY SALYAN                            1869 DADEYVILLE ROAD                                                                                      AUSTINBURG          OH     44010‐9777
HENRY SANABRIA JR                       53575 SPRINGHILL MEADOWS DR                                                                               MACOMB              MI     48042‐5745
HENRY SANCHEZ                           960 JEAN WAY                                                                                              HAYWARD             CA     94545‐1504
HENRY SANDERS                           497 MANISTEE RD                                                                                           CADILLAC            MI     49601‐9172
HENRY SANDERS JR                        21188 DARTMOUTH DR                                                                                        SOUTHFIELD          MI     48076‐3126
HENRY SANDERS JR                        1317 SUNNYSHORE DR                                                                                        GLADWIN             MI     48624‐8362
HENRY SANFORD SR                        6109 MASTERS DR                                                                                           SHREVEPORT          LA     71129‐4117
HENRY SATTERFIELD                       11421 BELLS FERRY RD                                                                                      CANTON              GA     30114‐4154
HENRY SAVAGE JR                         266 WHITE PINE CT                                                                                         FLINT               MI     48506
HENRY SCALES                            1830 BURTON ST SE                                                                                         GRAND RAPIDS        MI     49506‐4458
HENRY SCARNECCHIA                       55191 BROUGHTON RD                                                                                        MACOMB              MI     48042‐1823
HENRY SCHAFER                           2156 WINNERS CIR                                                                                          SAINT JOHNS         MI     48879‐8157
HENRY SCHEIN INC                        10920 W LINCOLN AVE                                                                                       WEST ALLIS          WI     53227‐1130
HENRY SCHEIN, INC.                      MICHELE FILIAULT                    2 HUNTINGTON QUADRANGLE                                               MELVILLE            NY     11747
HENRY SCHINDLER                         616 CREEKSIDE DR                                                                                          ALDEN               NY     14004‐9556
HENRY SCHLAIS                           1237 S 115TH ST                                                                                           WEST ALLIS          WI     53214‐2239
HENRY SCHLAK                            3000 W CREEK DR                                                                                           MEDINA              OH     44256‐5314
HENRY SCHLEGEL                          509 WALNUT ST                                                                                             FLUSHING            MI     48433‐1637
HENRY SCHLEIGER                         404 APPLE VALLEY DR                                                                                       LEWISBURG           OH     45338‐9305
HENRY SCHMINCKE I I I                   1021 1/2 SUMTER AVE                                                                                       BALTIMORE           MD     21237‐2741
HENRY SCHNEIDER                         425 MAPLE ST                                                                                              NILES               OH     44446‐1824
HENRY SCHNEIDER                         7604 DOLPHIN                                                                                              DETROIT             MI     48239‐1013
HENRY SCHNELL                           35 COSHWAY PL                                                                                             TONAWANDA           NY     14150‐5214
HENRY SCHOENSEE                         42241 MAC RAE DR                                                                                          STERLING HTS        MI     48313‐2567
HENRY SCHOWALTER JR                     4242 W ROUNDHOUSE RD APT 2                                                                                SWARTZ CREEK        MI     48473‐1440
HENRY SCHULTE                           621 PURVIS RD                                                                                             SUNRISE BEACH       MO     65079‐6518
HENRY SCHULTEN                          PO BOX 376                                                                                                OLCOTT              NY     14126‐0376
HENRY SCHULTZ                           6301 W CENTERLINE RD                                                                                      SAINT JOHNS         MI     48879‐9572
HENRY SCHULTZ                           864 DELRAY DR                                                                                             SAINT PETERS        MO     63376‐2657
HENRY SCHULZ                            1316 GUARDIAN DR                                                                                          VENICE              FL     34292‐1625
HENRY SCHUMACHER                        405 E MADISON AVE                                                                                         MILTON              WI     53563‐1318
HENRY SCHUT                             2500 BRETON WOODS DR SE UNIT 1066                                                                         GRAND RAPIDS        MI     49512‐9156
HENRY SCHUYTEN                          3171 RIVER MEADOW CIR                                                                                     CANTON              MI     48188‐2334
HENRY SCHWAGER                          32885 SARATOGA AVE                                                                                        WARREN              MI     48093‐1059
HENRY SCHWUTKE
HENRY SCIARABBA                         84 E DEMETER DR                                                                                           ROCHESTER          NY      14626
HENRY SCOTT                             5850 SKYLINE DR                                                                                           CINCINNATI         OH      45213‐2227
HENRY SCURTIE                           260 S MERIDIAN RD                                                                                         YOUNGSTOWN         OH      44509‐2925
HENRY SEAMON                            2750 GRAY CIR                                                                                             COLUMBIA           TN      38401‐5197
HENRY SEDLON                            282 COUNTRY ROAD 1281                                                                                     NOVA               OH      44859
HENRY SEGAL ‐ RUTH SEGAL TTEE ‐ HENRY   462 FLORENCIA PLACE                                                                                       MELVILLE           NY      11747‐5275
SEGAL TRUST
HENRY SEKORSKI                          4 QUAIL HOLLOW CT UNIT 5                                                                                  TERRYVILLE         CT      06786‐5331
HENRY SELL                              4006 L.B. RD.                       SPACE 127                                                             LAKE HAVASU CITY   AZ      86404
HENRY SEMMON                            3020 SOUNDING DR                                                                                          EDGEWOOD           MD      21040‐2906
HENRY SHAFT JR                          211 N HARRISON ST                                                                                         SAGINAW            MI      48602‐4230
HENRY SHANNON                           PO BOX 793                                                                                                MARS HILL          NC      28754‐0793
HENRY SHELL                             4628 WARES FERRY RD                                                                                       MONTGOMERY         AL      36109‐3302
HENRY SHELTON JR                        BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS         OH      44236
HENRY SHEPARD                           NIX PATTERSON & ROACH LLP           GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD       TX      75638
HENRY SHEPARD                           12896 ONEIDA ST RR#1                                                                                      GRAND LEDGE        MI      48837
HENRY SHERWOOD                          19 MANOR DR                                                                                               ROCHESTER          NY      14617‐1811
HENRY SHREVE                            1218 TOBY ST                        C/O MARY COSTER                                                       ALVARADO           TX      76009‐6753
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HENRY SHROPSHIRE       219 W SOUTHERN AVE                                                                            SPRINGFIELD      OH     45506‐2628
HENRY SHROPSHIRE JR    3707 N DEQUINCY ST                                                                            INDIANAPOLIS     IN     46218‐1640
HENRY SHROUT           PO BOX 929                                                                                    DENNISTON        KY     40316
HENRY SIKORA           8101 BROOKFIELD CT                                                                            SAGINAW          MI     48609‐9534
HENRY SIMMET JR        5825 S CALHOUN ST                                                                             FORT WAYNE       IN     46807‐3438
HENRY SIMMONS          701 FLOURNOY LUCAS RD                                                                         SHREVEPORT       LA     71118‐4109
HENRY SIMMS JR         4113 RIVERFRONT CT                                                                            FLORISSANT       MO     63034‐3018
HENRY SIMON            673 BROOKLYN AVE                                                                              DAYTON           OH     45402
HENRY SIMON JR         3801 CANTERBURY RD UNIT 718                                                                   BALTIMORE        MD     21218‐2381
HENRY SIMPSON          3301 BOSS AVE                                                                                 SHREVEPORT       LA     71109‐4614
HENRY SIMS             2037 FARGO PL SE                                                                              ATLANTA          GA     30316‐4911
HENRY SKIPPER          3898 HANNAHBERRY PL                                                                           BUFORD           GA     30519‐7858
HENRY SLATTON          19475 FREELAND ST                                                                             DETROIT          MI     48235‐1749
HENRY SLAUGHTER        35 COURTLAND AVE                                                                              BUFFALO          NY     14215‐3918
HENRY SLEDGE           837 47TH ST                                                                                   OAKLAND          CA     94608‐3201
HENRY SLOWIKOWSKI      11184 MAE AVE                                                                                 WARREN           MI     48089‐3572
HENRY SMALLS           254 PINDLE AVE 1                                                                              ENGLEWOOD        NJ     07631‐1703
HENRY SMARSH           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
HENRY SMEETS           19219 N 130TH AVE                                                                             SUN CITY WEST    AZ     85375‐4549
HENRY SMILEY JR        3915 AUDUBON RD                                                                               DETROIT          MI     48224‐2748
HENRY SMITH            2791 EASTWOOD DR                                                                              DECATUR          GA     30032‐4312
HENRY SMITH            34580 CHERRY HILL RD                                                                          WESTLAND         MI     48185‐4306
HENRY SMITH            7934 MCKINLEY ST                                                                              TAYLOR           MI     48180‐2486
HENRY SMITH            NO. 5 VIAJERO WAY                                                                             HOT SPRINGS      AR     71909
                                                                                                                     VILLAGE
HENRY SMITH            840 MONTICELLO RD                                                                             MONTICELLO      MS      39654‐6606
HENRY SMITH            9051 S PAXTON AVE                                                                             CHICAGO          IL     60617‐3814
HENRY SMITH            PO BOX 14373                                                                                  SAGINAW         MI      48601‐0373
HENRY SMITH            24200 HWY 157                                                                                 TOWN CREEK      AL      35672
HENRY SMITH            174 E LORAIN ST                                                                               OBERLIN         OH      44074‐1212
HENRY SMITH            1501 MINNOW BRANCH RD                                                                         LYNNVILLE       TN      38472‐8032
HENRY SMITH            806 CHURCH ST                                                                                 ANDERSON        IN      46013‐1606
HENRY SMITH I I I      891 N JONES RD                                                                                ESSEXVILLE      MI      48732‐8614
HENRY SMITH JR         324 HAYFIELD RD                                                                               HARRINGTON      DE      19952‐5733
HENRY SMITH JR         366 S MARSHALL ST                                                                             PONTIAC         MI      48342‐3432
HENRY SNYDER ATENCIO   6008 SIPAPU AVE NW                                                                            ALBUQUERQUE     NM      87120‐3731
HENRY SOBUTEK          9054 ROBINDALE                                                                                REDFORD         MI      48239‐1577
HENRY SOKOL            8866 KING GRAVES RD NE                                                                        WARREN          OH      44484‐1119
HENRY SOLES            BOX 416 6490 W GRAND RIVER                                                                    LAINGSBURG      MI      48848
HENRY SONORA           12006 VENICE BLVD                                                                             FOLEY           AL      36535‐8100
HENRY SPARLING         3310 POPLAR ST APT 12111                                                                      ORION           MI      48359‐1045
HENRY SPEIGHT JR       146 MOTON DR                                                                                  SAGINAW         MI      48601‐1464
HENRY SPENCER          511 W PAMPA AVE                                                                               MESA            AZ      85210‐8313
HENRY SPENCER          PO BOX 10944                                                                                  JACKSON         TN      38308‐0115
HENRY SPINKS           2899 BELLEAU LN SE                                                                            ATLANTA         GA      30316‐4371
HENRY SPOON            6241 BAYVIEW STA                                                                              NEWFANE         NY      14108‐9702
HENRY SPRADLIN         3700 S WESTPORT AVE PMB 2224                                                                  SIOUX FALLS     SD      57106‐6360
HENRY SPURGEON         231 STONEHILL RDG                                                                             VALMEYER         IL     62295‐3235
HENRY SR, GEORGE W     5733 BASSWOOD DR.                                                                             LORAIN          OH      44053‐3701
HENRY SR., GENE E      2814 E GENESEE ST              APT 910                                                        SAGINAW         MI      48601
HENRY ST LAURENT       3200 COUNTY STREET             BOWERS APT 223                                                 SOMERSET        MA      02726
HENRY STAFFIERI        128 VILLAGGIO ST                                                                              HENDERSON       NV      89074‐0967
HENRY STANOSZEK        100 FREEDOM WAY APT N201                                                                      GREENSBURG      PA      15601‐9263
HENRY STARKS JR        252 ROBERT ST                                                                                 BALTIMORE       MD      21217‐4344
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Name                  Address1                       Address2                    Address3   Address4               City              State   Zip
HENRY STARR           1816 AYERSVILLE AVE                                                                          DEFIANCE           OH     43512‐3611
HENRY STAWASZ         35536 W CHICAGO ST                                                                           LIVONIA            MI     48150‐2519
HENRY STEABAN         47811 LIBERTY DR                                                                             SHELBY TOWNSHIP    MI     48315‐4536
HENRY STEELY          6323 W N00S                                                                                  SWAYZEE            IN     46986
HENRY STEENBLIK       4856 CHATSWORTH CREEK CT                                                                     HUDSONVILLE        MI     49426‐9190
HENRY STENNIS JR      1848 SELMA AVE                                                                               YOUNGSTOWN         OH     44504‐1302
HENRY STEPHENS JR     912 GARFIELD PL                                                                              DANVILLE            IL    61832‐3333
HENRY STEPHENS JR     PO BOX 395                                                                                   SIMPSONVILLE       SC     29681‐0395
HENRY STEPHENSON      8108 MILAN AVE                                                                               SAINT LOUIS        MO     63130‐1242
HENRY STERNS          158 EWINGVILLE RD                                                                            EWING              NJ     08638‐2422
HENRY STEVENS         2613 FOXHAVEN DR                                                                             ASHLAND            OH     44805‐9508
HENRY STEWART         713 DEERWOOD DR                                                                              DEFIANCE           OH     43512‐6795
HENRY STEWART         7 RIDGEDALE CT                                                                               NEWNAN             GA     30265‐1881
HENRY STEWART         1045 N CASSADY AVE                                                                           COLUMBUS           OH     43219‐2208
HENRY STEWART         525 CLEMENT RD                                                                               LANSING            MI     48917‐3649
HENRY STOKES          439 VICTOR DR                                                                                SAGINAW            MI     48609‐5185
HENRY STOKLAS         1004 SUMMIT ST                                                                               OWOSSO             MI     48867‐1866
HENRY STOPINSKI       1396 DODGE RD                                                                                GETZVILLE          NY     14068‐1387
HENRY STREETMAN       5767 ALLEE WAY                                                                               BRASELTON          GA     30517‐6200
HENRY STREETS         HC 30 BOX 115                                                                                ARTHUR             WV     26847‐9470
HENRY STRICKERT       2411 LAUREL AVE                                                                              JANESVILLE         WI     53548‐3343
HENRY STROBHART       19306 MONTROSE ST                                                                            DETROIT            MI     48235‐2311
HENRY STUBBS          491 CRANDALL AVE                                                                             YOUNGSTOWN         OH     44504‐1459
HENRY STUHLER         3624 S JADESTONE LANE                                                                        TUCSON             AZ     85735‐‐ 90
HENRY SULKOWSKI       13348 NORMAN CIR                                                                             HUDSON             FL     34669‐2451
HENRY SUMMERVILLE     4125 N BOLTON AVE                                                                            INDIANAPOLIS       IN     46226‐4832
HENRY SUMMERVILLE     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                     HOUSTON            TX     77007
                      BOUNDAS LLP
HENRY SUMPTER I I I   127 PECOS AVE                                                                                MODESTO            CA     95351‐5327
HENRY SUNDELL         57016 MEGAN DR                                                                               WASHINGTON TWP     MI     48094‐3814

HENRY SUSEWELL        517 STONELICK DR                                                                             DURHAM            NC      27703‐3529
HENRY SWADLING        4162 BRIGGS RD                                                                               OTTER LAKE        MI      48464‐9617
HENRY SWIFT           19959 GRIGGS ST                                                                              DETROIT           MI      48221‐1007
HENRY SYLVESTER       23655 S COLE RD                                                                              PICKFORD          MI      49774
HENRY SYLVESTER       208 S 4TH ST                   P O BOX 473                                                   LINWOOD           MI      48634‐2507
HENRY SYSWERDA        900 RILEY ST                                                                                 HUDSONVILLE       MI      49426‐9636
HENRY SZCZESNIAK      13655 IOWA DR                                                                                WARREN            MI      48088‐3212
HENRY SZLACHETKA      3965 JEFFERSON AVE                                                                           HAMBURG           NY      14075‐2939
HENRY SZPAK           14238 GLENWOOD DR                                                                            SHELBY TWP        MI      48315‐5448
HENRY SZYMCZYK        503 KILDEER DR APT 121                                                                       BOLINGBROOK       IL      60440‐2233
HENRY SZYSZKOWSKI     15 FAIRWAY VIEW DR                                                                           BRISTOL           CT      06010‐2803
HENRY T DOZIER        PO BOX 125                                                                                   EDWARDS           MS      39066
HENRY T HEAL JR       6391 RICHFIELD RD                                                                            FLINT             MI      48506‐2209
HENRY T HILL          38.4 COLUMBINE PL                                                                            DAYTON            OH      45405‐5101
HENRY T MITCHELL JR   HENRY T MITCHELL JR            49490 MAYFLOWER CT                                            SHELBY TOWNSHIP   MI      48315
HENRY T OVERTON       4762 COVINGTON ROAD                                                                          LEICESTER         NY      14481‐9760
HENRY T ROBINSON      6238 EASTKNOLL DR APT 113                                                                    GRAND BLANC       MI      48439‐5017
HENRY T VANBOCXLAER   6885 DUTCH RD                                                                                SAGINAW           MI      48609‐5278
HENRY T WEBB          275 MOLITOR RD                                                                               ELKTON            MD      21921‐3759
HENRY TAGGART         THE PAVILLION                  1 LAFAYETTE PLAZA                                             DETROIT           MI      48207
HENRY TALLENT         2262 JAY LN SE                                                                               SMYRNA            GA      30080‐3865
HENRY TATE            13305 TUCKER DR                                                                              DEWITT            MI      48820‐9354
HENRY TATE            75 VICK RD                                                                                   HUNTINGDON        TN      38344‐5255
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Name                 Address1                         Address2                     Address3             Address4                    City               State Zip
HENRY TATE           5805 MARLOWE DR                                                                                                FLINT               MI 48504‐7055
HENRY TATE JR        C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                                     HOUSTON             TX 77007
                     BOUNDAS LLP
HENRY TAYLOR         BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS         OH   44236
HENRY TAYLOR         32 BOX AVE                                                                                                     BUFFALO            NY   14211‐1334
HENRY TAYLOR         1143 GOELZ DR                                                                                                  EAST SAINT LOUIS   IL   62203‐1917
HENRY TAYLOR         5249 HUMPHREYS HWY                                                                                             LOUISE             MS   39097
HENRY TAYLOR         6980 LIBERTY FAIRFIELD RD                                                                                      LIBERTY TWP        OH   45011‐5457
HENRY TAYLOR         4638 OAKWOOD DR                                                                                                LEWISTON           MI   49756‐8532
HENRY TAYLOR         23320 HALBURTON RD                                                                                             BEACHWOOD          OH   44122‐4172
HENRY TECHNOLOGIES   A‐1 COMPONENTS INC               655 3RD ST STE 100                                                            BELOIT             WI   53511‐6268
HENRY TECHNOLOGIES   NICOLE DRENDEL                   HENDRICKS HOLDINGS           701 S. MAIN STREET   CHICUAHUA CI 32320 MEXICO

HENRY TERRELL        4705 LAUREL CIR                                                                                                INDIANAPOLIS       IN   46226‐2126
HENRY TERRY          724 RUSSELL PL                                                                                                 PLAINFIELD         NJ   07062‐1825
HENRY THIEN          3950 TOMPKINSVILLE RD                                                                                          EDMONTON           KY   42129‐9290
HENRY THOMAS         7001 HARBOR VIEW DR                                                                                            LEESBURG           FL   34788‐7530
HENRY THOMAS         1449 N DYE RD                                                                                                  FLINT              MI   48532‐2219
HENRY THOMAS         3634 N TAMARISK AVE                                                                                            BEVERLY HILLS      FL   34465‐3365
HENRY THOMAS         815 RT. 7, N.E.                                                                                                BROOKFIELD         OH   44403
HENRY THOMAS         6376 ROAD 211                                                                                                  OAKWOOD            OH   45873‐9624
HENRY THOMAS         88 COURT ST                                                                                                    PONTIAC            MI   48342‐2506
HENRY THOMAS         2122 S 20TH AVE                                                                                                BROADVIEW          IL   60155‐2954
HENRY THOMAS
HENRY THOMAS         119 BLUFF AVE                                                                                                  LA GRANGE          IL   60525‐6401
HENRY THOMAS I I I   2368 LINDA DR NW                                                                                               WARREN             OH   44485‐1705
HENRY THOMAS JR      2515 SYCAMORE GLEN DR APT 5                                                                                    SPARKS             NV   89434‐8676
HENRY THOMAS JR.     501 E PARKWAY AVE                                                                                              FLINT              MI   48505‐5244
HENRY THOMAS JR.     119 BLUFF AVE                                                                                                  LA GRANGE          IL   60525‐6401
HENRY THOMASON       1325 SHAMROCK HILL CIR                                                                                         LOGANVILLE         GA   30052‐5309
HENRY THOMEY         PO BOX 574                                                                                                     MIO                MI   48647‐0574
HENRY THOMPSON       13024 E 58TH ST                                                                                                KANSAS CITY        MO   64133‐3627
HENRY THOMPSON       214 W BELVIDERE AVE                                                                                            FLINT              MI   48503‐5711
HENRY THOMPSON       5968 STANTON ST                                                                                                DETROIT            MI   48208‐3056
HENRY THOMPSON       849 W JEFFERSON ST                                                                                             FRANKLIN           IN   46131‐2119
HENRY THOMPSON       4702 GREENLAWN DR                                                                                              FLINT              MI   48504‐5408
HENRY THOMPSON       839 EAST ST N                                                                                                  SUFFIELD           CT   06078‐1364
HENRY THOMPSON       2167 N FAIRVIEW LN                                                                                             ROCHESTER HLS      MI   48306‐3929
HENRY THOMSON JR     524 OAK RUN DR                                                                                                 LEWISTON           NY   14092‐2396
HENRY THURMAN        3010 W 69TH ST                                                                                                 INDIANAPOLIS       IN   46268‐2725
HENRY TINCHER        17305 ELWELL RD                                                                                                BELLEVILLE         MI   48111‐4449
HENRY TODD           1905 WINDWOOD DR                                                                                               BEDFORD            IN   47421‐3945
HENRY TOLER          8399 N WEBSTER RD                                                                                              CLIO               MI   48420‐8520
HENRY TOM            11168 MANDALE DR                                                                                               STERLING HEIGHTS   MI   48312‐4970
HENRY TOMMY          C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                                           LITTLE ROCK        AR   77201
HENRY TORRES         19317 ANZA AVE                                                                                                 TORRANCE           CA   90503‐1404
HENRY TOUNGETT JR    187 CAMPBELLSVILLE PIKE                                                                                        ETHRIDGE           TN   38456‐5011
HENRY TOWNSEND       450 WALNUT ST APT 308                                                                                          YONKERS            NY   10701‐6534
HENRY TRANNON        C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                                     HOUSTON            TX   77007
                     BOUNDAS LLP
HENRY TRAVIS         11511 KENNEBEC ST                                                                                              DETROIT            MI   48205‐5200
HENRY TRAYLOR        P.O. BOX 310 584                                                                                               FLINT              MI   48501
HENRY TREADWELL JR   24301 SIMMONS AVE                                                                                              SOUTHFIELD         MI   48033‐2425
HENRY TRIPPLET       3501 S STINE RD                                                                                                CHARLOTTE          MI   48813‐9506
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Name                      Address1                            Address2                   Address3             Address4                 City              State   Zip
HENRY TROLLINGER          1620 N CENTER AVE                                                                                            SHAWNEE            OK     74804‐4118
HENRY TRUSSELL            7101 MAUFORD DR                                                                                              DAYTON             OH     45424‐3154
HENRY TUCKER              PO BOX 90773                                                                                                 HENDERSON          NV     89009
HENRY TUCKER              4707 VANGUARD AVENUE                                                                                         DAYTON             OH     45418‐1937
HENRY TUCKER I I          10963 BIG POOL RD                                                                                            BIG POOL           MD     21711‐1203
HENRY TUETTMAN            103 EAGLE CIR                                                                                                ELYRIA             OH     44035‐2606
HENRY TUGGLE              4126 BALBOA DR                                                                                               INDIANAPOLIS       IN     46226‐5521
HENRY TURNER              21531 JOHN DRIVE                                                                                             MACOMB             MI     48044‐6406
HENRY TURNER              20527 WOODMONT ST                                                                                            HARPER WOODS       MI     48225‐1870
HENRY TURNER              836 GOLF DR APT 201                                                                                          PONTIAC            MI     48341‐2383
HENRY TYSON               1048 KING ST                                                                                                 TOLEDO             OH     43607‐4446
HENRY TYSON               3771 CARROLLTON RD                                                                                           SAGINAW            MI     48604‐2001
HENRY TYTKA               16 UNION CMN                                                                                                 WILLIAMSVILLE      NY     14221‐7744
HENRY U SMITH             20535 HIGHWAY 11                                                                                             STEELE             AL     35987‐3064
HENRY UNDERWOOD           2111 HUNTINGTON DR                                                                                           ARLINGTON          TX     76010‐7633
HENRY UNRUH               6674 ROUND LAKE RD                                                                                           LAINGSBURG         MI     48848‐9409
HENRY V BYERS             9162 FORESTVIEW                                                                                              TEMPERANCE         MI     48182‐9353
HENRY VADEN               4810 ROXTON AVE                                                                                              SAN ANTONIO        TX     78247‐5630
HENRY VAILLANCOURT        7977 N PORTSMOUTH RD                                                                                         BAY CITY           MI     48708‐9506
HENRY VALENCIA, INC.      HENRY VALENCIA                      613 N PASEO DE ONATE                                                     ESPANOLA           NM     87532‐2639
HENRY VALENCIA, INC.      613 N PASEO DE ONATE                                                                                         ESPANOLA           NM     87532‐2639
HENRY VALENTE             4356 SUMMER LEAF ST APT C                                                                                    LAS VEGAS          NV     89147‐7882
HENRY VAN BOCXLAER        6885 DUTCH RD                                                                                                SAGINAW            MI     48609‐5278
HENRY VAN DEN DRIESSCHE   2892 JORDAN RD                                                                                               FREEPORT           MI     49325‐9720
HENRY VAN DUSEN III       837 DUMONT PL                                                                                                ROCHESTER HILLS    MI     48307‐3361
HENRY VAN HORSSEN         415 CLEAR CREEK VW                                                                                           PRATTVILLE         AL     36067‐6972
HENRY VAN VEELEN          3701 MULLER DR                                                                                               ZEPHYRHILLS        FL     33540‐6565
HENRY VANABLE             PO BOX 838                                                                                                   EUTAW              AL     35462‐0838
HENRY VANBODEN            181 SEARLWYN RD                                                                                              SYRACUSE           NY     13205‐3126
HENRY VANDENBURG          5785 WHEELING PIKE                                                                                           JONESBORO          IN     46938‐1613
HENRY VANDERLAAN JR       1910 ELIZABETH LN                                                                                            JENISON            MI     49428‐7734
HENRY VANDERZYPPE         29318 DOVER AVE                                                                                              WARREN             MI     48088‐3675
HENRY VANDYKE             1703 SHAWNEE TRAIL                                                                                           ALLEN              TX     75002‐1730
HENRY VAUGHN              4657 MCNEIL AVE                                                                                              CINCINNATI         OH     45212‐2546
HENRY VELASQUEZ           2724 ASHTON DR                                                                                               SAGINAW            MI     48603‐2901
HENRY VELASQUEZ           302 LINCOLN RD                                                                                               GROSSE POINTE      MI     48230‐1605
HENRY VER LEE             6685 N WENTWARD CT                                                                                           HUDSONVILLE        MI     49426‐9246
HENRY VILLALOBOS          2176 COUNTY ROAD 3252                                                                                        JOAQUIN            TX     75954‐4350
HENRY VILLARREAL          13531 REMINGTON ST                                                                                           PACOIMA            CA     91331‐3821
HENRY VINCENT             4376 HIGHWAY A                                                                                               MARQUAND           MO     63655‐9148
HENRY VINCENT JANECKA     ROBERT W PHILLIPS                   SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON          IL    62024
                                                              ANGELIDES & BARNERD LLC
HENRY VIOLA               6340 104TH AVE                      C/O ELAINE L NORTON                                                      SOUTH HAVEN       MI      49090‐8323
HENRY VOGELEISEN          4367 SPRINGBROOK DR                                                                                          SWARTZ CREEK      MI      48473‐1477
HENRY VOISE               79 HILLCREST DR                                                                                              PENFIELD          NY      14526‐2451
HENRY VONRECKLINGHAUS     17033 S E 96TH CHAPEL WOOD          CIRCLE                                                                   THE VILLAGES      FL      32162
HENRY VYSKOCIL            901 HUNTINGTON DR                                                                                            OWOSSO            MI      48867‐1907
HENRY VYSMA               4331 HOWARD ST                                                                                               MONTCLAIR         CA      91763‐6327
HENRY W & MARY B EDDY     5101 PROSPERITY CHURCH RD APT 111                                                                            CHARLOTTE         NC      28269‐8733
HENRY W BEDNAREK          5940 MCMILLAN                                                                                                DEARBORN HGTS     MI      48127‐2434
HENRY W DAHLIN            25825 ROCKHOUSE RD                                                                                           CALUMET           MI      49913
HENRY W DUNKER            6130 FACTORY RD                                                                                              W ALEXANDRIA      OH      45381‐9584
HENRY W KLUCK, IRA        FCC AS CUSTODIAN                    21 LAKE RIDGE CLUB DRIVE                                                 BURR RIDGE        IL      60527‐7937
HENRY W PRUETER           2801 OAKWOOD AVE                                                                                             SAGINAW           MI      48601‐3981
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Name                 Address1                           Address2                     Address3   Address4               City            State   Zip
HENRY W RODGERS      142 HALIFAX DR                                                                                    VANDALIA         OH     45377‐2908
HENRY W WASHINGTON   1858 E 70TH ST                                                                                    CLEVELAND        OH     44103‐4002
HENRY WACHOWIAK      1333 CLEVELAND DR                                                                                 CHEEKTOWAGA      NY     14225‐1807
HENRY WADE JR        11717 WHITEHILL ST                                                                                DETROIT          MI     48224‐1656
HENRY WAELCHLI       3023 6TH AVE                                                                                      MONROE           WI     53566‐3561
HENRY WAGGY          RR 1 BOX 111‐6                                                                                    ELKINS           WV     26241‐9713
HENRY WAGNER         504 GALAXY WAY DRIVE                                                                              SAINT JOHNS      MI     48879
HENRY WAGNER         3339 MARY PLACE                                                                                   PITTSBURGH       PA     15234
HENRY WAJER          3170 PINEHURST HURST                                                                              LAKE             MI     48632
HENRY WALCZAK        600 LELAND ST                                                                                     FLUSHING         MI     48433‐1347
HENRY WALDEN JR      119 TWO MILE CREEK RD                                                                             TONAWANDA        NY     14150‐7734
HENRY WALEN          665 S ELK RIDGE DR                                                                                CAMP VERDE       AZ     86322‐4964
HENRY WALKER         42195 ASPEN CT                                                                                    CLINTON TWP      MI     48038‐5261
HENRY WALKER         224 W GRACELAWN AVE                                                                               FLINT            MI     48505‐6102
HENRY WALKER         6604 DONALD ST                                                                                    SAINT LOUIS      MO     63121‐3204
HENRY WALKER         5982 GUION RD                                                                                     INDIANAPOLIS     IN     46254‐1220
HENRY WALKER JR      PO BOX 3190                                                                                       HIGHLAND PARK    MI     48203‐0190
HENRY WALKER JR      C/O BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
HENRY WALKER SR      C/O BEVAN & ASSOCIATES, LPA, INC   6555 DEAN MEMORIAL PKWY                                        BOSTON HTS       OH     44236
HENRY WALLACE        PO BOX 1002                                                                                       BABSON PARK      FL     33827‐1002
HENRY WALTON         2218 JANICE DR                                                                                    FLINT            MI     48504‐1697
HENRY WANDRIE I I    7872 LAKESIDE BLVD                                                                                HALE             MI     48739‐8919
HENRY WANNAMAKER     C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                      HOUSTON          TX     77007
                     BOUNDAS LLP
HENRY WARD           2925 S PARK RD                                                                                    KOKOMO          IN      46902‐3210
HENRY WARE           36 FIDDIS AVE                                                                                     PONTIAC         MI      48342‐2712
HENRY WARE           1902 SANTA BARBARA DR                                                                             FLINT           MI      48504‐2022
HENRY WARMBIER       546 W SALZBURG RD                                                                                 AUBURN          MI      48611‐8509
HENRY WASEK          748 HIGH CREST DR                                                                                 AZLE            TX      76020‐2538
HENRY WASHINGTON     623 SAVANNAH GARDEN DR                                                                            O FALLON        MO      63366‐3224
HENRY WASHINGTON     1858 E 70TH ST APT 8                                                                              CLEVELAND       OH      44103‐4002
HENRY WASHINGTON     17313 JUDSON DR                                                                                   CLEVELAND       OH      44128‐2244
HENRY WASIK          1804 IROQUOIS TRL                                                                                 NATIONAL CITY   MI      48748‐9444
HENRY WATERS         1024 STRAWBERRY LN                                                                                ELLENWOOD       GA      30294‐2817
HENRY WATERSTRADT    CASCINO MICHAEL P                  220 SOUTH ASHLAND AVE                                          CHICAGO         IL      60607
HENRY WATSON         117 CREEKWOOD CIR                                                                                 LINDEN          MI      48451‐8935
HENRY WATSON JR      10412 SIXPENCE LN                                                                                 FORT WORTH      TX      76108‐6959
HENRY WEATHERS       554 MONROE ST                                                                                     YPSILANTI       MI      48197‐5325
HENRY WEBB           275 MOLITOR RD                                                                                    ELKTON          MD      21921‐3759
HENRY WEDLOW         1910 WINDSOR LANE                                                                                 FLINT           MI      48507‐6029
HENRY WENDT          1370 S AIRPORT RD                                                                                 SAGINAW         MI      48601‐9483
HENRY WERNSMAN       15250 S WAVERLY RD                                                                                GARDNER         KS      66030‐9314
HENRY WESS           21820 RIDGEDALE ST                                                                                OAK PARK        MI      48237‐2728
HENRY WEST           86 WEST DR                                                                                        FYFFE           AL      35971‐3369
HENRY WHEELER        426 MAIN ST                                                                                       MOUNT MORRIS    MI      48458‐3124
HENRY WHITE          914 CARTON ST                                                                                     FLINT           MI      48505‐5511
HENRY WHITE JR       210 HIGHGATE AVE                                                                                  BUFFALO         NY      14215‐1024
HENRY WHITEHEAD      400 MERGANSER TRL                                                                                 CLINTON         MS      39056‐6221
HENRY WHYTE          558 E 112TH ST                                                                                    CLEVELAND       OH      44108‐1407
HENRY WICKETT SR     38746 CLINTON AVE                                                                                 DADE CITY       FL      33525‐1903
HENRY WIDING         13386 N FENTON RD                                                                                 FENTON          MI      48430‐1176
HENRY WIER           PO BOX 4166                                                                                       PRESCOTT        MI      48756‐4166
HENRY WIETEHA        1513 ALEXIS DR                                                                                    JOPPA           MD      21085‐3035
HENRY WILDENSTEIN    25607 COTTON BELT RD                                                                              ELKMONT         AL      35620‐8025
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Name                 Address1                         Address2                     Address3   Address4               City              State   Zip
HENRY WILEY JR       2456 HELEN ST                                                                                   DETROIT            MI     48207‐3523
HENRY WILEY JR.      2456 HELEN ST                                                                                   DETROIT            MI     48207‐3523
HENRY WILHELM        1433 SCOTTSDALE DR                                                                              KETTERING          OH     45420‐2187
HENRY WILHELM        104 LAURA AVE                                                                                   DAYTON             OH     45405‐3102
HENRY WILKERSON JR   3919 LISA LANE                                                                                  SHREVEPORT         LA     71109‐4715
HENRY WILKINS JR     45 SCHRECK AVE                                                                                  BUFFALO            NY     14215‐3211
HENRY WILKINS JR.    45 SCHRECK AVE                                                                                  BUFFALO            NY     14215‐3211
HENRY WILLIAM        19791 N 84TH ST                                                                                 SCOTTSDALE         AZ     85255‐3963
HENRY WILLIAMS       4114 PARSONS WALK                                                                               SAGINAW            MI     48603‐7264
HENRY WILLIAMS       1008 NOWELL AVE                                                                                 JOLIET              IL    60433‐2736
HENRY WILLIAMS       3139 BERTHA AVE                                                                                 FLINT              MI     48504‐1816
HENRY WILLIAMS       5204 W OUTER DR                                                                                 DETROIT            MI     48235‐1357
HENRY WILLIAMS       7551 ARUNDEL RD                                                                                 TROTWOOD           OH     45426‐3801
HENRY WILLIAMS       155 YORKS CHAPEL RD                                                                             NASHVILLE          AR     71852‐8736
HENRY WILLIAMS       436 SHERWOOD MORGAN DR                                                                          ROCKMART           GA     30153‐2745
HENRY WILLIAMS       2935 BATTLE FORREST DR                                                                          DECATUR            GA     30034‐2754
HENRY WILLIAMS       621 E MOTT AVE                                                                                  FLINT              MI     48505‐2955
HENRY WILLIAMS       16634 LAUDER ST                                                                                 DETROIT            MI     48235‐4508
HENRY WILLIAMS       514 W MCCLELLAN ST                                                                              FLINT              MI     48505‐4077
HENRY WILLIAMS       410 E PULASKI AVE                                                                               FLINT              MI     48505‐3352
HENRY WILLIAMS       5140 MILLER COUNTY 4                                                                            DODDRIDGE          AR     71834‐1539
HENRY WILLIAMS       1114 W ATKINSON AVE APT 106                                                                     MILWAUKEE          WI     53206‐3023
HENRY WILLIAMS       3660 CAMP TAHKODAH RD                                                                           FLORAL             AR     72534‐9640
HENRY WILLIAMS       G5449 CALKINS RD                                                                                FLINT              MI     48532
HENRY WILLIAMS       5410 N KINGSHIGHWAY BLVD                                                                        SAINT LOUIS        MO     63115‐1425
HENRY WILLIAMS       338 BUNGALOW RD                                                                                 DAYTON             OH     45417‐1304
HENRY WILLIAMS       10811 G JOYNER RD                                                                               MERIDIAN           MS     39305
HENRY WILLIAMS       C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
HENRY WILLIAMS JR    10216 218TH PL                                                                                  QUEENS VILLAGE     NY     11429‐2011
HENRY WILLIAMS JR    2001 MACKIN RD                                                                                  FLINT              MI     48504‐4012
HENRY WILLIAMS JR    1905 HAVERHILL DRIVE                                                                            DAYTON             OH     45406‐4635
HENRY WILLOUGHBY     BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
HENRY WILSON         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
HENRY WILSON         10924 STATE ROUTE 18                                                                            MARK CENTER        OH     43536‐9729
HENRY WILSON         3783 LINDLEY CIR                                                                                POWDER SPRINGS     GA     30127‐2705
HENRY WINFREY        3195 SEYMOUR RD                                                                                 SWARTZ CREEK       MI     48473‐9780
HENRY WINOWSKI       11434 SAVAGE DR                                                                                 STERLING HTS       MI     48312‐2945
HENRY WINSTON        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
HENRY WINTNER        946 CHERRY LN                                                                                   FRANKLIN SQUARE    NY     11010
HENRY WIRTH JR       504 NE MAGNOLIA ST                                                                              LEES SUMMIT        MO     64063‐2421
HENRY WISE           1395 VAL WILSON RD                                                                              LONDON             OH     43140‐9300
HENRY WITEK          4061 BROOKVIEW DR E                                                                             PRESCOTT           MI     48756‐9221
HENRY WITGEN         61468 SURREY LN                                                                                 WASHINGTON         MI     48094‐1442
HENRY WITHERSPOON    75 VICTORIA BLVD                                                                                CHEEKTOWAGA        NY     14225‐4014
HENRY WLODARCZYK     2244 UNION RD APT 308                                                                           WEST SENECA        NY     14224‐1483
HENRY WOINSKI        3670 SENTINEL HEIGHTS RD                                                                        LA FAYETTE         NY     13084‐9613
HENRY WOLTER         4036 WINDWARD DR                                                                                LANSING            MI     48911‐2503
HENRY WOMBLES        617 S 4TH AVE                                                                                   BEECH GROVE        IN     46107‐2201
HENRY WOO            14080 SYRACUSE ST                                                                               TAYLOR             MI     48180‐4633
HENRY WOOD           712 KENNEDY ST                                                                                  PARAGOULD          AR     72450‐5634
HENRY WOOD           924 SHERWOOD OAKS DR                                                                            ROCKVALE           TN     37153‐4000
HENRY WOODALL        2420 HOPEWELL RD                                                                                ALPHARETTA         GA     30004‐2893
HENRY WOODRUFF       5097 MIDNIGHT OIL DR                                                                            LAS VEGAS          NV     89122‐8120
HENRY WOODS          472 MORGANDOLLAR RD                                                                             RIDGELAND          SC     29936‐3932
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Name                                   Address1                       Address2            Address3         Address4                   City            State   Zip
HENRY WOOLEY                           1737 DODGEVILLE ROAD                                                                           ROME             OH     44085
HENRY WRIGHT                           1816 PINGREE AVE                                                                               FLINT            MI     48503‐4324
HENRY WRIGHT                           304 BUCK CREEK CIR                                                                             ALABASTER        AL     35007‐7032
HENRY WRIGHT JR                        3042 PECAN CT                                                                                  PRINCETON        TX     75407
HENRY WRUBLEWSKI                       934 KENNETH AVE                                                                                ELIZABETH        NJ     07202‐3114
HENRY WRUCK                            438 MADISON AVE                                                                                MONROE TWP       NJ     08831‐8557
HENRY WYDRA                            38 NEPAUG RD                                                                                   BURLINGTON       CT     06013‐1207
HENRY WYKRETOWICZ                      2277 N SHERMAN RD                                                                              LUDINGTON        MI     49431‐9512
HENRY Y FLORES                         4954 MARLIN WAY                                                                                OXNARD           CA     93035
HENRY YARBROUGH                        PO BOX 713                                                                                     FRANKSTON        TX     75763‐0713
HENRY YATES                            101 E JACKSON ST               PO BOX 114                                                      HARRISVILLE      MI     48740‐9306
HENRY YEARBY                           3101 KELLAR AVE                                                                                FLINT            MI     48504‐3804
HENRY YEATS                            200 DAY MIAR RD                                                                                ALVARADO         TX     76009‐6331
HENRY YENKEL                           27358 VAN HORN RD                                                                              FLAT ROCK        MI     48134‐9239
HENRY YOUNG                            414 RANEE LOOP                                                                                 BEAR             DE     19701‐1335
HENRY YOUNG                            3736 MANDALAY DR                                                                               DAYTON           OH     45416‐1124
HENRY YOUNG JR                         501 N PRICE ST                                                                                 SWEETWATER       TN     37874‐1756
HENRY YOUNGBLOOD                       1908 PRINCE DR                                                                                 LAWRENCEVILLE    GA     30043‐6026
HENRY ZAJAC                            103 CARPENTER AVE                                                                              MERIDEN          CT     06450‐6143
HENRY ZAJDEK                           4295 STATE RD 1241                                                                             HICKORY          KY     42051
HENRY ZAJDLIK                          518 E BROAD ST                                                                                 CHESANING        MI     48616‐1508
HENRY ZAK                              46000 GEDDES RD TRLR 480                                                                       CANTON           MI     48188‐1903
HENRY ZALE                             3125 SMITH RD APT 624                                                                          FAIRLAWN         OH     44333‐2677
HENRY ZAWADZKI                         5100 HIGHBRIDGE ST APT 20A                                                                     FAYETTEVILLE     NY     13066‐2434
HENRY ZECH                             870 S CLINTON ST                                                                               DEFIANCE         OH     43512‐2758
HENRY ZERAFA                           7563 HIPP ST                                                                                   TAYLOR           MI     48180‐2615
HENRY ZIMINSKI                         80 GUILFORD LN APT E                                                                           WILLIAMSVILLE    NY     14221‐2554
HENRY ZISSLER                          3165 EDWARD PL                                                                                 SAGINAW          MI     48603‐2307
HENRY ZULAWSKI                         2 PARKTRAIL LN                                                                                 CHEEKTOWAGA      NY     14227‐2545
HENRY'S AUTO CIRCUIT, INC.             5642 SW 25TH ST                                                                                WEST PARK        FL     33023‐4009
HENRY'S AUTOMOTIVE 1140591 ONT. LTD    1129 5 HWY W RR 2                                                   DUNDAS ON L9H 5E2 CANADA

HENRY'S DIESEL PERFORMANCE PLUS INC. 867 STATE RD                                                                                     WESTPORT        MA      02790‐2825

HENRY'S DIESEL PERFORMANCE PLUS INC.   867 STATE RD                                                                                   WESTPORT        MA      02790‐2825

HENRY, ABRAHAM                         825 E HOLBROOK AVE                                                                             FLINT           MI      48505‐2238
HENRY, ALAN G                          5200 WASHBURN RD                                                                               GOODRICH        MI      48438‐9711
HENRY, ALAN K                          21975 MERIDIAN LN                                                                              NOVI            MI      48375‐4948
HENRY, ALBERT B                        7414 GLEN TERRA DR                                                                             LANSING         MI      48917‐9639
HENRY, ALFRED G                        712 COUNTY RD 81                                                                               VALLEY GRANDE   AL      36370
HENRY, ALFRED G                        712 COUNTY ROAD 81                                                                             VALLEY GRANDE   AL      36703‐9118
HENRY, ALFRIEDA                        PO BOX 1275                                                                                    SAGINAW         MI      48606‐1275
HENRY, ALICE F                         6505 ROYAL OAKS DR                                                                             FOREST HILL     TX      76119‐7621
HENRY, ALISHA                          1304 N ARGUS ST                                                                                ROBINSON        IL      62454‐1127
HENRY, ALLEN R                         3508 N NEW YORK AVE                                                                            MUNCIE          IN      47304
HENRY, AMY K                           1171 CHEMUNG FOREST DR                                                                         HOWELL          MI      48843‐7182
HENRY, ANDERSON A                      PO BOX 644                                                                                     YOUNGSTOWN      OH      44501‐0644
HENRY, ANN T                           188 BELMONT DR                                                                                 WILMINGTON      DE      19808‐4329
HENRY, ANNETTE J                       3705 N NEW YORK AVE                                                                            MUNCIE          IN      47304‐1872
HENRY, ANNETTE JO                      3705 N NEW YORK AVE                                                                            MUNCIE          IN      47304‐1872
HENRY, ANTHONY                         2919 PINTO CIR                                                                                 LANSING         MI      48906‐8102
HENRY, ANTHONY L                       2952 BAHIA                                                                                     GRAND PRAIRIE   TX      75054‐5517
HENRY, ARDEN B                         5036 HILLRAS WAY                                                                               FORTUNA         CA      95540‐9572
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Name                Address1                        Address2                      Address3   Address4               City                State   Zip
HENRY, ARLENE E     5481 BUSH RD                                                                                    INTERLOCHEN          MI     49643‐9515
HENRY, ART W        1270 COUNTY STREET 2961                                                                         BLANCHARD            OK     73010‐3065
HENRY, ARTHUR       THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD       SUITE 44                          CORAL GABLES         FL     33146
HENRY, ARTHUR J     649 HUMBOLDT PKWY                                                                               BUFFALO              NY     14208‐1627
HENRY, ARTHUR J     3213 EMERSON ST                                                                                 FLINT                MI     48504‐2955
HENRY, AUDREY L     8770 N GILMORE ROAD                                                                             FARWELL              MI     48622‐9240
HENRY, AUDREY L     3950 LYTHAM CT                                                                                  COLUMBUS             OH     43220‐4848
HENRY, BARBARA A    8073 LEADLEY AVE                                                                                MOUNT MORRIS         MI     48458‐1782
HENRY, BENJAMIN L   PMV#216, PO BOX 439060                                                                          SAN DIEGO            CA     92143
HENRY, BERNADINE    1208 NW WALNUT CT                                                                               GRAIN VALLEY         MO     64029‐7223
HENRY, BERNARD H    WEITZ & LUXENBERG               180 MAIDEN LANE                                                 NEW YORK             NY     10038
HENRY, BERNICE A    37 BORDER ROCK RD                                                                               LEVITTOWN            PA     19057‐3003
HENRY, BERYL        10430 REXFORD CT                                                                                CYPRESS              CA     90630‐4633
HENRY, BETTY A      3028 REUNION PLAZA RD                                                                           APEX                 NC     27539‐6883
HENRY, BETTY J      431 OHIO ST                                                                                     ELYRIA               OH     44035‐3956
HENRY, BETTY J      12288 WEST RAY ROAD                                                                             GAINES               MI     48436‐8915
HENRY, BETTY J      12288 RAY RD                                                                                    GAINES               MI     48436‐8915
HENRY, BETTY S      1413 PATUXENT DR                                                                                ASHTON               MD     20861‐9760
HENRY, BEVERLY A    108 E ROBERTSON RD                                                                              CASTALIAN SPRINGS    TN     37031‐4610

HENRY, BEVERLY J    2439 CLARK DR                                                                                   JACKSON             MI      49202
HENRY, BEVERLY P    2440 DUCK CREEK ROAD                                                                            N. JACKSON          OH      44451‐4451
HENRY, BEVERLY P    2440 S DUCK CREEK RD                                                                            NORTH JACKSON       OH      44451‐9660
HENRY, BEVERLY R    14609 E WALNUT RUN                                                                              FORT WAYNE          IN      46814‐8907
HENRY, BILLY M      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA      23510‐2212
                                                    STREET, SUITE 600
HENRY, BOBBIE L     11396 OLD DIXIE HWY                                                                             CHARLEVOIX          MI      49720‐9617
HENRY, BOBBY        342 E HOME AVE                                                                                  FLINT               MI      48505‐2866
HENRY, BONNIE M     939 E PIKE ST                                                                                   MARTINSVILLE        IN      46151‐1246
HENRY, BRADFORD J   5109 S JAMAICA DR                                                                               MUNCIE              IN      47302‐9117
HENRY, BRETT W      840 HARLEQUIN CT                                                                                HIGHLAND            MI      48357‐3928
HENRY, BRIA N       36 N RODNEY DR                                                                                  WILMINGTON          DE      19809
HENRY, BRIAN D      3651 JUNIPER ST                                                                                 CLARKSTON           MI      48348‐1366
HENRY, BRIAN D      1514 MELTON RD                                                                                  LUTHERVILLE         MD      21093‐5800
HENRY, BRIAN R      5646 WALMORE RD                                                                                 LEWISTON            NY      14092
HENRY, BRUCE C      7749 WATER OAK CT                                                                               KISSIMMEE           FL      34747‐1977
HENRY, BRUCE R      988 PRENTICE RD NW                                                                              WARREN              OH      44481‐9414
HENRY, BRYAN G      620 JAMAICA DR                                                                                  TROY                MI      48083‐1035
HENRY, BRYAN T      6087 E HILL RD                                                                                  GRAND BLANC         MI      48439‐9103
HENRY, BYRON K      2438 WESTPORT DR                                                                                DAYTON              OH      45406‐1245
HENRY, CALVIN D     153 W BEVERLY AVE                                                                               PONTIAC             MI      48340
HENRY, CALVIN D     153 W BEVERLY                                                                                   PONTIAC             MI      48340
HENRY, CAROL A      2765 CARDINAL DR                                                                                PITTSBORO           IN      46167‐9314
HENRY, CAROL A      10090 E BASELINE AVE                                                                            GOLD CANYON         AZ      85218‐3410
HENRY, CAROL ANN    2765 CARDINAL DR                                                                                PITTSBORO           IN      46167‐9314
HENRY, CAROLINE E   8294 W 100 N                                                                                    KOKOMO              IN      46901‐8747
HENRY, CAROLYN      35 TONI TER                                                                                     ROCHESTER           NY      14624‐5018
HENRY, CAROLYN L    112 E ST                                                                                        SEASIDE PARK        NJ      08752‐1511
HENRY, CARRIE M     6120 LANCASTER DR                                                                               FLINT               MI      48532‐3215
HENRY, CECELIA      11340 CHATHAM                                                                                   DETROIT             MI      48239‐1351
HENRY, CHARLES      243 VALLEYBROOK AVE                                                                             BOWLING GREEN       KY      42101‐3633
HENRY, CHARLES A    127 COLFAX ST NE                                                                                GRAND RAPIDS        MI      49505‐4910
HENRY, CHARLES B    6408 GLENMONT DR                                                                                HAMILTON            OH      45011‐5090
HENRY, CHARLES B    1839 MCPHAIL ST                                                                                 FLINT               MI      48503‐4366
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Name                 Address1                           Address2         Address3         Address4               City            State   Zip
HENRY, CHARLES C     30259 LISCH ST                                                                              GIBRALTAR        MI     48173‐9441
HENRY, CHARLES D     6391 MILLBANK DR                                                                            CENTERVILLE      OH     45459‐2244
HENRY, CHARLES E     106 HAMILTON ST                                                                             NEW CASTLE       DE     19720‐1441
HENRY, CHARLES E     1712 LINDEN AVE                                                                             JANESVILLE       WI     53548‐2833
HENRY, CHARLES G     1821 CICOTTE AVE                                                                            LINCOLN PARK     MI     48146‐1306
HENRY, CHARLES L     910 COUNTY RD #33                                                                           RUSSELLVILLE     AL     35653
HENRY, CHARLES L     1311 N 300 E                                                                                ANDERSON         IN     46012‐9750
HENRY, CHARLES N     6045 N MAIN ST APT 343                                                                      DAYTON           OH     45415‐3184
HENRY, CHARLES R     2455 WITT RD                                                                                LEBANON          IN     46052‐9592
HENRY, CHARLES R     2401 CYPRESSWOOD TRL APT 1122                                                               ARLINGTON        TX     76014‐2831
HENRY, CHARLES R     2217 SW 96TH ST                                                                             OKLAHOMA CITY    OK     73159‐6861
HENRY, CHARLES W     8731 W HYDE RD                                                                              SAINT JOHNS      MI     48879‐9737
HENRY, CHARLIE H     1081 HIGHWAY E                                                                              SILEX            MO     63377‐2434
HENRY, CHARLOTTE E   78 HIGH ST # 3                                                                              PORTLAND         ME     04101‐3813
HENRY, CHRIS         53 HERRIOT ST                                                                               YONKERS          NY     10701
HENRY, CHRISTINE     3304 BUICK ST                                                                               FLINT            MI     48505‐4237
HENRY, CINDY A       PO BOX 344                                                                                  OSCODA           MI     48750‐0344
HENRY, CINDY ANN     14083 LANDINGS WAY                                                                          FENTON           MI     48430‐1313
HENRY, CLARA L       5910 WAUBESA WAY                                                                            KOKOMO           IN     46902‐5564
HENRY, CLARA S       2506 HIGHLAND ROAD                                                                          ANDERSON         IN     46012‐1926
HENRY, COBELL        3807 VINEYARD RD                                                                            KANSAS CITY      MO     64128‐2867
HENRY, COLLEEN P     4200 CUTLASS BAY ST                                                                         LAS VEGAS        NV     89129‐5609
HENRY, CORINE        5956 LANNOO ST                                                                              DETROIT          MI     48236‐2142
HENRY, CURTIS P      1400 S LEXINGTON SPRINGMILL RD                                                              MANSFIELD        OH     44903‐9488
HENRY, CYNTHIA E     2712 RAINWATER TRAIL                                                                        CONERS           GA     30094
HENRY, DALE A        1774 S CENTER BLVD                                                                          SPRINGFIELD      OH     45506‐3154
HENRY, DANIEL J      11320 AUBURNDALE ST                                                                         LIVONIA          MI     48150‐2841
HENRY, DANIEL J      4297 COOK RD                                                                                SWARTZ CREEK     MI     48473‐9144
HENRY, DANIEL N      5265 E MOUNT MORRIS RD                                                                      MOUNT MORRIS     MI     48458‐9730
HENRY, DARRELL L     7612 RIVERSIDE DR                                                                           SAINT HELEN      MI     48656‐8219
HENRY, DAVID A       4335 CRESTKNOLL DR                                                                          GRAND BLANC      MI     48439‐2013
HENRY, DAVID C       7485 SE DOWNING RD                                                                          HOLT             MO     64048‐9371
HENRY, DAVID H       6889 NICKIS LN APT 26                                                                       NIAGARA FALLS    NY     14304‐6529
HENRY, DAVID K       51 BLOSSOM CT                                                                               SHARPSBURG       GA     30277‐2028
HENRY, DAVID M       1241 N ALBA RD                                                                              LAPEER           MI     48446
HENRY, DAVID W       812 HUNTERS GLEN TRL                                                                        FORT WORTH       TX     76120‐2860
HENRY, DAVID WAYNE   812 HUNTERS GLEN TRL                                                                        FORT WORTH       TX     76120‐2860
HENRY, DEANNA L      332 PENNSYLVANIA AVE                                                                        LESLIE           MI     48251
HENRY, DEBORAH L     6004 LAKESHORE RD N                                                                         PALMS            MI     48465‐9630
HENRY, DELORIS       2802 GERMAIN DR                                                                             SAGINAW          MI     48601‐5607
HENRY, DENNIS E      2440 S DUCK CREEK RD                                                                        NORTH JACKSON    OH     44451‐9660
HENRY, DENNIS E      2440 DUCKCREEK RD                                                                           NORTH JACKSON    OH     44451‐4451
HENRY, DENNIS J      15272 ROXBURY CIR                                                                           MACOMB           MI     48044‐3864
HENRY, DENNIS JOHN   15272 ROXBURY CIR                                                                           MACOMB           MI     48044‐3864
HENRY, DENNIS L      765 YORKSHIRE DR                                                                            LIMA             OH     45804‐3378
HENRY, DIANE I       2002 KENWAY PL                                                                              MIDDLETOWN       OH     45044‐6801
HENRY, DIANE L       PO BOX 68                                                                                   PEARL BEACH      MI     48001‐0068
HENRY, DIANE L.      PO BOX 68                                                                                   PEARL BEACH      MI     48001‐0068
HENRY, DIANNE        4576 CENTER RD                                                                              BRUNSWICK        OH     44212‐3355
HENRY, DIANNE        901 MCCARTY ST NW                                                                           WALKER           MI     49544‐1852
HENRY, DOLORES       89 WOODCREST DR                                                                             AMHERST          NY     14226‐1408
HENRY, DONALD J      4300 SE ST. LUCY BLVD. UNIT 209                                                             STEWART          FL     34997‐6850
HENRY, DONALD J      4300 SE SAINT LUCIE BLVD LOT 209                                                            STUART           FL     34997‐6850
HENRY, DONALD L      11425 FOWLER DR                                                                             REMUS            MI     49340‐9429
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HENRY, DONALD M      1178 HORSESHOE DR                                                                            ALGER              MI     48610‐9342
HENRY, DONALD S      APT 1                          903 COLLINS LANE                                              FRANKFORT          KY     40601‐4351
HENRY, DONALD W      910 HOLLYWOOD DRIVE                                                                          LOCKPORT           NY     14094‐9122
HENRY, DONNA J       612 STINCHCOMB DR                                                                            FOSTORIA           OH     44830
HENRY, DOROTHY A     445 FAIRGREEN AVE.                                                                           NEW CASTLE         PA     16105‐1411
HENRY, DOROTHY J     210 CIRCLE DR                                                                                FLUSHING           MI     48433‐1546
HENRY, DOUGLAS J     7389 IRONWOOD DR                                                                             SWARTZ CREEK       MI     48473‐9450
HENRY, DOUGLAS JAY   7389 IRONWOOD DR                                                                             SWARTZ CREEK       MI     48473‐9450
HENRY, DUANE F       8541 NICHOLS RD                                                                              FLUSHING           MI     48433‐9223
HENRY, E E           3304 BUICK ST                                                                                FLINT              MI     48505‐4237
HENRY, EARL E        9129 LUEA LN                                                                                 SWARTZ CREEK       MI     48473‐1005
HENRY, EARL J        3601 W SHANDON AVE                                                                           MIDLAND            TX     79707‐5618
HENRY, EARL L        1395 MT JACK RD                                                                              ELMIRA             MI     49730‐9726
HENRY, EDNA H        148 WILDERNESS TRL                                                                           COSBY              TN     37722‐2908
HENRY, EDWIN E       322 KINGWOOD DR                                                                              COLUMBIANA         OH     44408‐1106
HENRY, EDWIN N       13318 44ST AVE                                                                               CHIPPEWA FALLS     WI     54729
HENRY, ELBERT J      1657 BALL AVE NE                                                                             GRAND RAPIDS       MI     49505‐5617
HENRY, ELFI          1326 SISSON DR                                                                               N TONAWANDA        NY     14120‐3068
HENRY, ELIZABETH     7539 HOLLY CREST LN                                                                          KNOXVILLE          TN     37938
HENRY, ELIZABETH H   8382 SOUTH 34TH STREET                                                                       SCOTTS             MI     49088
HENRY, ELIZABETH M   2610 LOWELL AVENUE                                                                           SAGINAW            MI     48601‐3974
HENRY, ELSIE         1437 64TH ST                                                                                 WINDSOR HEIGHTS     IA    50311‐1849

HENRY, ELVIN L       PO BOX 381                     303 E MARKS                                                   SWAYZEE           IN      46986‐0381
HENRY, ELVIRA        5619 MARLOWE DR                                                                              FLINT             MI      48504‐7035
HENRY, ELWOOD        5661 BLACKBERRY DR                                                                           SAGINAW           MI      48603‐8009
HENRY, ERIC E        1776 W WITTENBERG BLVD                                                                       SPRINGFIELD       OH      45506
HENRY, ERIC J        1303 SARCH ST                                                                                JANESVILLE        WI      53546
HENRY, ERIC T        5612 WESTCREEK DR                                                                            TROTWOOD          OH      45426‐1315
HENRY, ERNEST F      4735 SHIFMAN RD                                                                              GOODRICH          MI      48438‐8925
HENRY, ERNEST M      131 W. LIBERTY ST                                                                            SPRINGFIELD       OH      45506‐2235
HENRY, ERNEST M      131 W LIBERTY ST                                                                             SPRINGFIELD       OH      45506‐2235
HENRY, ERNESTO       627 MEAD TER                                                                                 SOUTH HEMPSTEAD   NY      11550‐8037

HENRY, ERROL L       2828 BIRCHWOOD DR                                                                            WATERFORD         MI      48329‐3492
HENRY, ERVIN L       ANGELOS PETER G                100 N CHARLES STREET, ONE                                     BALTIMORE         MD      21201
                                                    CHARLES CENTER
HENRY, EUGENE        8859 MANSFIELD                                                                               DETROIT           MI      48204
HENRY, EUGENE A      100‐17 BENCHLEY PLACE                                                                        BRONX             NY      10475
HENRY, EUGENE L      936 CENTER SOUTH RD                                                                          LEAVITTSBURG      OH      44430‐9411
HENRY, EUGENE P      11228 BARE DR                                                                                CLIO              MI      48420‐1575
HENRY, EVA H         3193 MORROW DR                                                                               CORTLAND          OH      44410‐9340
HENRY, EVA H         3193 MORROW DR.                                                                              CORTLAND          OH      44410‐4410
HENRY, EVELYN J      920 E MAIN ST, APT #1                                                                        MUNCIE            IN      47305
HENRY, FRANCES I     700 E COURT STREET APT 202                                                                   FLINT             MI      48503
HENRY, FRANCIS J     8615 E 120TH ST                                                                              SAND LAKE         MI      49343‐8902
HENRY, FRANK D       1896 MOUNT FRIENDSHIP RD                                                                     SMYRNA            DE      19977‐3839
HENRY, FRANK G       755 S HURD RD                                                                                OXFORD            MI      48371‐2837
HENRY, FRANK G       25529 HILLSDALE DR                                                                           NOVI              MI      48374‐2157
HENRY, FREDERICK W   4021 W HOUGHTON LAKE RD                                                                      LAKE CITY         MI      49651‐8702
HENRY, FREDRICK K    3334 STANFORD CIR                                                                            LAWRENCEVILLE     GA      30044‐6403
HENRY, FREDRICK R    885 OLD JACKSON HWY                                                                          JACKSON           SC      29831‐3027
HENRY, GAIL A.       1408 W MILLER RD                                                                             LANSING           MI      48911‐4858
HENRY, GARDNER       34610 SAN PAULO DR                                                                           STERLING HTS      MI      48312‐5733
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Name                     Address1                         Address2          Address3         Address4               City            State Zip
HENRY, GARY E            9760 BEARD RD                                                                              BYRON            MI 48418‐9787
HENRY, GARY O            6732 JONS STA                                                                              ZIONSVILLE       IN 46077‐8556
HENRY, GARY T            18 SEA ISLAND DR S                                                                         ORMOND BEACH     FL 32176‐2169
HENRY, GEFFERY W         3150 MONTANA ST                                                                            SHREVEPORT       LA 71107‐5111
HENRY, GENE E            6734 GARDEN DR                                                                             MOUNT MORRIS     MI 48458
HENRY, GEORGE E          2817 NORTH GRAND AVENUE                                                                    TYLER            TX 75702‐1842
HENRY, GEORGE H          6109 W MEGAN ST                                                                            CHANDLER         AZ 85226‐5860
HENRY, GEORGE K          3813 TIMBERWOOD DR                                                                         NACOGDOCHES      TX 75965‐6553
HENRY, GEORGE L          705 EAST MAIN STREET                                                                       EATON            OH 45320‐1905
HENRY, GEORGE R          320 FRANKLIN ST                                                                            TONAWANDA        NY 14150‐3840
HENRY, GEORGE S          PO BOX 344                                                                                 FRANKTON         IN 46044‐0344
HENRY, GEORGIA           3185 MARTHAROSE CT                                                                         FLINT            MI 48504‐1233
HENRY, GEORGINA          2890 HAYES RD                                                                              MUIR             MI 48860
HENRY, GERALD C          3830 ATHENS AVE                                                                            WATERFORD        MI 48329‐2122
HENRY, GERALD J          1182 LACONIA ST                                                                            SEBASTIAN        FL 32958‐5433
HENRY, GERTRUDE M        49 BLACK ROCK ROAD                                                                         YARDLEY          PA 19067‐1917
HENRY, GLADYS A          2410 GENA ANN LN                                                                           FLINT            MI 48504‐6525
HENRY, GLENN             1003 HULL ST                                                                               BOYNE CITY       MI 49712
HENRY, GLENN D           14609 E WALNUT RUN                                                                         FORT WAYNE       IN 46814‐8907
HENRY, GLENN M           12206 BENSON RD                                                                            MOUNT MORRIS     MI 48458‐1405
HENRY, GOODWILL          184 N ASTOR ST                                                                             PONTIAC          MI 48342‐2502
HENRY, GORDON            18651 MATTHEWS                                                                             RIVERVIEW        MI 48192‐4510
HENRY, GREGORY A         3418 CHEROKEE AVE                                                                          FLINT            MI 48507‐1936
HENRY, GREGORY ANTHONY   3418 CHEROKEE AVE                                                                          FLINT            MI 48507‐1936
HENRY, GREGORY S         8716 BRADGATE CT                                                                           ALEXANDRIA       VA 22308‐2308
HENRY, HAROLD            1681 LAGO MAR                                                                              DAYTON           OH 45458
HENRY, HAROLD H          26551 MISTY WAY                                                                            MATTAWAN         MI 49071‐8605
HENRY, HAROLD J          1081 HIGHWAY E                                                                             SILEX            MO 63377‐2434
HENRY, HARREL H          6520 CONNER RD                                                                             EAST AMHERST     NY 14051‐1577
HENRY, HARRIET D         6211 NATCHEZ DR                                                                            MOUNT MORRIS     MI 48458‐2703
HENRY, HARRIET D         6211 NATCHEZ                                                                               MT MORRIS        MI 48458‐2703
HENRY, HARRY L           216 E 99TH ST                                                                              LOS ANGELES      CA 90003‐4227
HENRY, HARVEY A          PO BOX 78                                                                                  DREXEL           MO 64742‐0078
HENRY, HATTIE            4237 WYNDHAM PARK CIR                                                                      DECATUR          GA 30034‐5450
HENRY, HEATHER A         340 HALIFAX DR                                                                             VANDALIA         OH 45377‐2912
HENRY, HELEN             5536 ANDERSON ST                                                                           FT WORTH         TX 76119‐1505
HENRY, HELEN B           3919 W 67TH PL                                                                             CHICAGO           IL 60629‐4103
HENRY, HELEN L           111 VERNON DR                                                                              PONTIAC          MI 48342
HENRY, HERBERT Y         3193 MORROW DR.                                                                            CORTLAND         OH 44410‐4410
HENRY, HERBERT Y         3193 MORROW DR                                                                             CORTLAND         OH 44410‐9340
HENRY, HOWARD C          1796 PEBBLESTONE WAY                                                                       COOKEVILLE       TN 38506‐6606
HENRY, HOWARD C          164B PORTLAND LN                                                                           MONROE TOWNSHIP NJ 08831‐3650

HENRY, HOWARD W          8845 ALGECIRAS DR APT 1A                                                                   INDIANAPOLIS     IN   46250‐3275
HENRY, IONE              417 CREEK POINT LANE                                                                       ARLINGTON        TX   76002‐3331
HENRY, IRA               COLOM LAW FIRM                   605 2ND AVE N                                             COLUMBUS         MS   39701‐4513
HENRY, IRENE             11310 GOVERNORS DR                                                                         CHAPEL HILL      NC   27517‐8417
HENRY, IRMA H            251 WINFIELD ST.                                                                           JACKSON          MS   39212‐5022
HENRY, JACK E            133 29TH AVE S                                                                             JACKSONVILLE     FL   32250‐6015
                                                                                                                    BEACH
HENRY, JACOB M           1400 S LEXINGTON SPRINGMILL RD                                                             MANSFIELD        OH   44903‐9488
HENRY, JACQUELINE W      29221 GILBERT DR                                                                           WARREN           MI   48093‐6418
HENRY, JAKIM B           329 OXFORD AVE                                                                             DAYTON           OH   45402‐6041
HENRY, JAMES             68325 GLENGARRY CT                                                                         WASHINGTON       MI   48095‐1238
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Name                   Address1                         Address2                       Address3   Address4               City            State   Zip
HENRY, JAMES A         22 ANGEVINE AVE                                                                                   HEMPSTEAD        NY     11550‐5619
HENRY, JAMES A         2065 SPOTSWOOD DR                                                                                 LOCUST GROVE     VA     22508‐2170
HENRY, JAMES E         648 LENER AVE SW                                                                                  WARREN           OH     44485‐3372
HENRY, JAMES E         522 NORTHEAST ST BOX 32                                                                           PERRY            MI     48872
HENRY, JAMES H         16349 TIMBERVIEW DR                                                                               CLINTON TWP      MI     48036‐1658
HENRY, JAMES L         3253 WARREN RAVENNA RD                                                                            NEWTON FALLS     OH     44444‐8761
HENRY, JAMES L         11218 BARE DR                                                                                     CLIO             MI     48420‐1575
HENRY, JAMES L         6388 S COUNTY LINE RD                                                                             DURAND           MI     48429‐9410
HENRY, JAMES M         4576 CENTER ROAD                                                                                  BRUNSWICK        OH     44212‐3355
HENRY, JAMES M         435 S CO RD ‐ 400 E                                                                               KOKOMO           IN     46902
HENRY, JAMES M         27100 KNICKERBOCKER RD APT 100                                                                    BAY VILLAGE      OH     44140
HENRY, JAMES O         19 SOUTHERN CT                                                                                    WARREN           AR     71671‐2431
HENRY, JAMES ODELL     19 SOUTHERN CT                                                                                    WARREN           AR     71671
HENRY, JAMES R         1906 CLARA MATHIS RD                                                                              SPRING HILL      TN     37174‐2547
HENRY, JAMES R         PO BOX 99                                                                                         MESICK           MI     49668‐0099
HENRY, JANE E          701 HARRISON AVE                                                                                  BUFFALO          NY     14223
HENRY, JANETTA M       207 LARKSPUR LN                                                                                   MARTINSBURG      WV     25403‐2175
HENRY, JANETTA MARIE   287 LARKSPUR LN                                                                                   MARTINSBURG      WV     25403‐2175
HENRY, JASON E         173 BLUE SPRUCE LN                                                                                FLINT            MI     48506‐5305
HENRY, JASON EUGENE    173 BLUE SPRUCE LN                                                                                FLINT            MI     48506‐5305
HENRY, JEANE M         3588 DOWNING ST                                                                                   MARIETTA         GA     30066‐4561
HENRY, JEANETTE E      2828 BIRCHWOOD DR                                                                                 WATERFORD        MI     48329‐3492
HENRY, JEFFERY         KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                     CLEVELAND        OH     44114
                                                        BOND COURT BUILDING
HENRY, JEFFERY A       226 WINDING OAK WAY                                                                               BLYTHEWOOD      SC      29016‐8029
HENRY, JEFFREY L       6213 W GILFORD RD                                                                                 FAIRGROVE       MI      48733‐9524
HENRY, JEFFREY S       402 HELKE RD                                                                                      VANDALIA        OH      45377‐1502
HENRY, JERRY           7035 LAFAYETTE 15                                                                                 PINELLAS PARK   FL      33781
HENRY, JERRY L         115 METCALF RD                                                                                    SHELBY          NC      28150‐9011
HENRY, JERRY W         1010 GETWELL RD                                                                                   NESBIT          MS      38651‐9174
HENRY, JEWEL           774 MCJESTER ROAD                                                                                 PANGBURN        AR      72121‐9516
HENRY, JEWEL           774 MCJESTER RD                                                                                   PANGBURN        AR      72121‐9516
HENRY, JEWELL M        4517 CLOVERLAWN DR                                                                                FLINT           MI      48504‐2057
HENRY, JIMMY D         6 GRIESENAUER CT                                                                                  O FALLON        MO      63368‐8027
HENRY, JOAN M          3106 GLOUCHESTER DR APT 93B                                                                       TROY            MI      48084‐2727
HENRY, JOAN T          218 BROADFORD RD                                                                                  FALMOUTH        KY      41040
HENRY, JOANNE          1050 ANTHONY WAYNE BLVD                                                                           DEFIANCE        OH      43512‐1306
HENRY, JOANNE I        6307 LAURENTIAN CT.                                                                               FLINT           MI      48532‐2039
HENRY, JODY            8835 DENTON AVE                                                                                   HUDSON          FL      34667‐4338
HENRY, JODY EUGENE     ANDREWS JOHN W P.A.              3220 HENDERSON BLVD                                              TAMPA           FL      33609‐3024
HENRY, JOHN            BUTKER J DAVID                   PO BOX 365                                                       BARNWELL        SC      29812‐0365
HENRY, JOHN B          148 WILDERNESS TRAIL                                                                              COSBY           TN      37722‐2908
HENRY, JOHN B          297 COUNTY ROAD 472                                                                               SWEENY          TX      77480‐4079
HENRY, JOHN D          1752 ELLEN DR                                                                                     SPEEDWAY        IN      46224‐5519
HENRY, JOHN DAVID      1752 ELLEN DR                                                                                     SPEEDWAY        IN      46224‐5519
HENRY, JOHN E          7010 JULIAN AVE                                                                                   SAINT LOUIS     MO      63130‐1938
HENRY, JOHN E          10090 E BASELINE AVE                                                                              GOLD CANYON     AZ      85218‐3410
HENRY, JOHN H          434 W ASH ST                                                                                      JAMESTOWN       IN      46147‐9072
HENRY, JOHN M          1215 MONTEREY RD.                                                                                 PEARL           MS      39208‐9208
HENRY, JOHN M          4203 AMBASSADOR BLVD                                                                              MARSHALL        TX      75672‐4707
HENRY, JOHN P          41580 PARSONS RD                                                                                  LAGRANGE        OH      44050‐9512
HENRY, JOHN R          32076 EIFFEL CT                                                                                   WARREN          MI      48088‐1357
HENRY, JOHN R          8854 WESTLAKE DR                                                                                  GREENDALE       WI      53129‐1079
HENRY, JOHN W          2816 ANITA DR                                                                                     SANDUSKY        OH      44870‐5501
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Name                   Address1                          Address2         Address3         Address4               City            State   Zip
HENRY, JOHN W          20300 S GREENWAY ST                                                                        SOUTHFIELD       MI     48076‐5033
HENRY, JOHNNY L        415 RED HAW RD                                                                             DAYTON           OH     45405‐3952
HENRY, JOSEPH G        6085 BIG ROCK DR                                                                           GRAND BLANC      MI     48439‐7993
HENRY, JOSEPH M        647 HARDING WAY W                                                                          GALION           OH     44833‐1615
HENRY, JOSEPHINE M     410 HOLLIS CIRCLE                                                                          DALLAS           GA     30157‐2578
HENRY, JOSEPHINE M     410 HOLLIS CIR                                                                             DALLAS           GA     30157‐2578
HENRY, JOYCE A         10434 BAKER DR                                                                             CLIO             MI     48420‐7724
HENRY, JOYCE A         10434 BAKER DRIVE                                                                          CLIO             MI     48420‐7724
HENRY, JOYCE L         16915 BALD EAGLE DR                                                                        KENDALL          NY     14476‐9607
HENRY, JR.,THOMAS J    2102 LAKEFIELD DR                                                                          HURON            OH     44839‐2069
HENRY, JUDITH L        570 PARK ESTATES SQ                                                                        VENICE           FL     34293‐4188
HENRY, JUDY V          3209 E 11TH ST                                                                             ANDERSON         IN     46012‐4513
HENRY, JULIA R         PO BOX 454                                                                                 HOLLAND          OH     43528‐0454
HENRY, KATHLEEN M      52074 BIG TOO MUCH LAKE RD                                                                 BIGFORK          MN     56628‐4126
HENRY, KATHY B         21 HOLLY DR                                                                                COLUMBUS         NJ     08022‐1603
HENRY, KATHY L         12940 E RENO AVE                                                                           CHOCTAW          OK     73020
HENRY, KEITH D         1033 JASPER AVE                                                                            XENIA            OH     45385‐3303
HENRY, KEITH E         608 W MAIN ST                                                                              JAMESTOWN        IN     46147‐9562
HENRY, KEITH M         2221 W DODGE RD                                                                            CLIO             MI     48420‐1686
HENRY, KEITH MICHAEL   2221 W DODGE RD                                                                            CLIO             MI     48420‐1686
HENRY, KENNETH J       8328 HI VU DR                                                                              INDIANAPOLIS     IN     46227‐2704
HENRY, KENNETH J       815 S MILLWOOD ST                                                                          WICHITA          KS     67213‐3815
HENRY, KENYA N         2213 BETTY ST                                                                              SHREVEPORT       LA     71108‐5853
HENRY, KIMBERLIE M     4017 PENGELLY RD APT 4                                                                     FLINT            MI     48507‐5440
HENRY, KRISTIN A       6840 GREENBRIER CEMETERY RD                                                                GREENBRIER       TN     37073‐5730
HENRY, LARRY B         18 PINE GROVE DR                                                                           FRANKENMUTH      MI     48734‐1327
HENRY, LARRY D         602 OSAGE ST                                                                               HARRISONVILLE    MO     64701‐2920
HENRY, LARRY E         PO BOX 2054                                                                                FORT DAVIS       TX     79734‐0022
HENRY, LARRY G         3941 CHERRY GROVE ROAD                                                                     JAMESTOWN        OH     45335‐8733
HENRY, LARRY J         1643 BIRCH COURT                                                                           PLAINFIELD       IN     46168‐2126
HENRY, LARRY L         1129 ANGOLA AVE                                                                            MOUNT MORRIS     MI     48458‐2123
HENRY, LARRY L         14990 S GLEN EYRIE ST                                                                      OLATHE           KS     66061‐8518
HENRY, LARRY R         1546 W PRAIRIE TER                                                                         OLATHE           KS     66061
HENRY, LAURA           201 MILFORD ST APT 6                                                                       TUPELO           MS     38801‐4669
HENRY, LAURA M         5317 WINTHROP BLVD                                                                         FLINT            MI     48505‐5143
HENRY, LAURINE R       738 6TH AVE                                                                                LAKE ODESSA      MI     48849‐1051
HENRY, LAVERNE L       4107 CREED AVENUE                                                                          LOS ANGELES      CA     90008‐3705
HENRY, LAVERNE L       4107 CREED AVE                                                                             LOS ANGELES      CA     90008‐3705
HENRY, LAWRENCE J      500 S COLUMBIA ST                                                                          FRANKFORT        IN     46041‐2430
HENRY, LAWRENCE L      8116 W 97TH ST                                                                             OVERLAND PARK    KS     66212‐3329
HENRY, LAWSON J        3888 DUNBAR ST                                                                             YOUNGSTOWN       OH     44515‐4637
HENRY, LEE E           72 LYNNEWOOD LN                                                                            GARNETT          KS     66032‐1738
HENRY, LELAND R        5404 E COUNTY ROAD 750 S                                                                   KIRKLIN          IN     46050‐9649
HENRY, LEONA J         411 BETHEL CHURCH ROAD                                                                     GUNTERSVILLE     AL     35976‐7163
HENRY, LEONARD J       2426 MALLERY ST                                                                            FLINT            MI     48504‐7322
HENRY, LEONIE          3973 BLUEBERRY RD                                                                          CURRIE           NC     28435‐5872
HENRY, LESTER L        700 E COURT ST APT 202                                                                     FLINT            MI     48503‐6222
HENRY, LEWIS E         5217 SW 8TH PL                                                                             CAPE CORAL       FL     33914‐7012
HENRY, LILLIAN E       5125 NEWANGA AVE                                                                           SANTA ROSA       CA     95405‐7424
HENRY, LILLIAN P       3213 EMERSON ST                                                                            FLINT            MI     48504‐2955
HENRY, LILLIE B        3941 CHERRY GROVE ROAD                                                                     JAMESTOWN        OH     45335‐8733
HENRY, LINDA C         2829 BAMLET RD                                                                             ROYAL OAK        MI     48073‐2980
HENRY, LINDA C         3733 HUNTINGTON VALLEY DR APT J                                                            SAINT LOUIS      MO     63129‐2286
HENRY, LINDA D         3310 WATERCREST CIR                                                                        SHREVEPORT       LA     71119‐3904
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Name                   Address1                     Address2                 Address3    Address4               City               State   Zip
HENRY, LINDA D         190 JORDAN DR                                                                            FRANKLIN            IN     46131‐1025
HENRY, LINDA D         190 JORDAN DR.                                                                           FRANKLIN            IN     46131
HENRY, LIONEL N        129 W WARREN ST                                                                          S BOUND BROOK       NJ     08880‐1329
HENRY, LISA            BYRD LAW FIRM                323 CENTER ST STE 1300                                      LITTLE ROCK         AR     72201‐2628
HENRY, LISA            WOLFF ARDIS PC               5810 SHELBY OAKS DR                                         MEMPHIS             TN     38134‐7315
HENRY, LISA            KELLY LAW FIRM               PO BOX 500                                                  LONOKE              AR     72086‐0500
HENRY, LISA G          3415 ARKANSAS RD                                                                         WEST MONROE         LA     71291‐8633
HENRY, LISA G          ANDREWS JOHN W P.A.          3220 HENDERSON BLVD                                         TAMPA               FL     33609‐3024
HENRY, LOIS A          1904 DAKOTA COURT                                                                        ARKDALE             WI     54613‐9560
HENRY, LOIS A          PO BOX 94                                                                                GALVESTON           IN     46932‐0094
HENRY, LOIS A          1904 DAKOTA CT                                                                           ARKDALE             WI     54613‐9560
HENRY, LOLA            364 WILSON AVE                                                                           MT MORRIS           MI     48458
HENRY, LOLA MAXINE     364 WILSON AVE                                                                           MOUNT MORRIS        MI     48458‐1458
HENRY, LONNIE          5039 CANTON ST                                                                           DETROIT             MI     48211‐3322
HENRY, LORA E          5067 RUSSELL LN                                                                          GREENWOOD           IN     46143‐8849
HENRY, LORA E          5067 RUSSELL LANE                                                                        GREENWOOD           IN     46143‐8849
HENRY, LOUIS F         9112 MOUNT SHASTA NORTH DR                                                               INDIANAPOLIS        IN     46234‐2024
HENRY, LUCILLE         3091 MCMINNVILLE HWY                                                                     SPARTA              TN     38583‐4935
HENRY, LUCIOUS C       161 MOUNTAIN HOME LOOP                                                                   CEDARTOWN           GA     30125‐4231
HENRY, LYNN A          4901 WESTCHESTER DR UNIT 4                                                               YOUNGSTOWN          OH     44515‐6525
HENRY, MABEL S         6017 CABO SAN LUCAS AVE                                                                  LAS VEGAS           NV     89131‐3919
HENRY, MARCELLA        813 EDMUND ST                                                                            FLINT               MI     48505‐3924
HENRY, MARCO A         37599 RYAN RD                                                                            STERLING HTS        MI     48310‐3745
HENRY, MARCO ANTONIO   37599 RYAN RD                                                                            STERLING HTS        MI     48310‐3745
HENRY, MARGARET C      PO BOX 535                                                                               LAKE HAMILTON       FL     33851‐0535
HENRY, MARGARET C      P O BOX 535                                                                              LAKE HAMILTON       FL     33851‐0535
HENRY, MARGARET J      2216 REEVER ST                                                                           ARLINGTON           TX     76010‐8108
HENRY, MARIE           35 KINGSTON ST                                                                           ROCHESTER           NY     14609‐7038
HENRY, MARIJOY         1681 LAGO MAR                                                                            CENTERVILLE         OH     45458‐6004
HENRY, MARIO           48620 GOLDEN OAKS LN                                                                     SHELBY TOWNSHIP     MI     48317‐2614
HENRY, MARION D        128 S JACKSON ST                                                                         CLINTON             IN     47842‐7021
HENRY, MARJORIE        13327 KILBOURNE ST                                                                       DETROIT             MI     48213‐1461
HENRY, MARJORIE F      8210 MILL RD                                                                             TROY                OH     45373‐9671
HENRY, MARJORIE F      8210 E MILL RD                                                                           TROY                OH     45373‐5373
HENRY, MARK E          534 W STEPHEN ST                                                                         MARTINSBURG         WV     25401
HENRY, MARLENE N       4335 CRESTKNOLL DR                                                                       GRAND BLANC         MI     48439‐2013
HENRY, MARLON R        2344 COMANCHE TRL                                                                        GRAND PRAIRIE       TX     75052‐8595
HENRY, MARLON RAY      2344 COMANCHE TRL                                                                        GRAND PRAIRIE       TX     75052‐8595
HENRY, MARQUITA        3311 E 68TH ST                                                                           KANSAS CITY         MO     64132‐3025
HENRY, MARSHALL        PO BOX 10672                                                                             ROCHESTER           NY     14610‐0672
HENRY, MARTHA          500 WILLIAMS PKWY                                                                        EATON               OH     45320‐1242
HENRY, MARTHA E        5217 GRANADA ST                                                                          SHAWNEE MSN         KS     66205‐2356
HENRY, MARTHA S        36 GLEN SPRINGS RD                                                                       TRAVELERS REST      SC     29690
HENRY, MARY            9 FOX ST                                                                                 BERKELEY SPRINGS    WV     25411‐5375
HENRY, MARY A          222 DOROTHY ST                                                                           SIKESTON            MO     63801‐2804
HENRY, MARY A          3550 GRACELAND AVE                                                                       INDIANAPOLIS        IN     46208‐4411
HENRY, MARY A          222 DOROTHY STREET                                                                       SIKESTON            MO     63801‐2804
HENRY, MARY A          616 COLERIDGE AVE                                                                        TROTWOOD            OH     45426‐2534
HENRY, MARY ANNE       1657 BALL AVE NE                                                                         GRAND RAPIDS        MI     49505‐5617
HENRY, MARY ANNETTE    616 COLERIDGE AVE                                                                        TROTWOOD            OH     45426‐2534
HENRY, MARY B          1621 EXETER CT                                                                           OKLAHOMA CITY       OK     73159‐7613
HENRY, MARY E          1008 E GANO ST                                                                           KOKOMO              IN     46901‐1634
HENRY, MARY F          1514 MELTON RD                                                                           LUTHERVILLE         MD     21093‐5800
HENRY, MARY K          630 LINCOLN CIRCLE                                                                       SHOREWOOD            IL    60404‐7037
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HENRY, MARY R              14516 DOHONEY RD RR 8                                                                        DEFIANCE          OH     43512
HENRY, MARY S              2003 ROLLINGSTONE DR                                                                         KOKOMO            IN     46902
HENRY, MATTHEW L           1603 PEBBLESTONE DR                                                                          OKEMOS            MI     48864‐2929
HENRY, MATTHEW M           3044 W GRAND BLVD               C/O BRAZIL 3‐220 GM BLDG                                     DETROIT           MI     48202‐3009
HENRY, MAURICE             515 S JEFFERSON AVE APT G                                                                    COVINGTON         LA     70433‐3452
HENRY, MELINDA C           720 LARCH ST APT A                                                                           TIPP CITY         OH     45371
HENRY, MENA L              5635 HEATHLAND CIR                                                                           CLARKSTON         MI     48346‐3114
HENRY, MICHAEL D           PO BOX 71                                                                                    EMPIRE            MI     49630‐0071
HENRY, MICHAEL J           11905 FIR DR                                                                                 RENO              NV     89506‐8304
HENRY, MICHAEL J.          11905 FIR DR                                                                                 RENO              NV     89506‐8304
HENRY, MICHAEL K           1888 JASON CT                                                                                COMMERCE          MI     48382‐1259
                                                                                                                        TOWNSHIP
HENRY, MICHAEL KEVIN       1888 JASON CT                                                                                COMMERCE          MI     48382‐1259
                                                                                                                        TOWNSHIP
HENRY, MICHAEL R           835 E 2ND ST                                                                                 DEFIANCE         OH      43512‐2325
HENRY, MICHAEL W           1907 E PERSHING BLVD                                                                         CHEYENNE         WY      82001‐4106
HENRY, MICHAEL W           3550 E ENID AVE                                                                              MESA             AZ      85204‐4821
HENRY, MICHAEL W           419 MIGUEL CT                                                                                STONE MOUNTAIN   GA      30083‐3821
HENRY, MILDRED L           1165 N PERSHING AVE                                                                          INDIANAPOLIS     IN      46222‐3154
HENRY, MILDRED L           1165 N. PERSHING STREET                                                                      INDIANAPOLIS     IN      46222‐3154
HENRY, MILTON O            223 GROOM ST                                                                                 LIBERTY          MO      64068‐2421
HENRY, MORRIE W            16998 STANTON ST                                                                             WEST OLIVE       MI      49460‐9753
HENRY, MYRA C              8431 BELLE BLUFF DR                                                                          GRAND BLANC      MI      48439‐8879
HENRY, MYRNA L             1509 CADILLAC DR W                                                                           KOKOMO           IN      46902‐2562
HENRY, NANCY A             PO BOX 15481                                                                                 MIDDLE RIVER     MD      21220‐0481
HENRY, NANCY E             114 OAK GROVE CIR                                                                            DAHINDA          IL      61428‐9764
HENRY, NANCY L             3450 SHEPPARD RD                                                                             MOUNT PLEASANT   MI      48858
HENRY, NATALIE C           1971 SCENIC DR                                                                               MILFORD          MI      48380‐2029
HENRY, NATALIE CHRISTINA   1971 SCENIC DR                                                                               MILFORD          MI      48380‐2029
HENRY, NEALA J             4203 AMBASSADOR BLVD                                                                         MARSHALL         TX      75672‐4707
HENRY, NEALA JOI           4203 AMBASSADOR BLVD                                                                         MARSHALL         TX      75672‐4707
HENRY, NEIGEL V            880 GOODMAN STREET SOUTH                                                                     ROCHESTER        NY      14620‐2539
HENRY, NEIGEL V            C/O ANNA RANKIN                 4021 PERCIVAL RD           APT 1922                          COLUMBIA         SC      29229‐8378
HENRY, NICKOLAS J          12900 TURNER RD # 3                                                                          PORTLAND         MI      48875
HENRY, NOEL                441 SETTLERS VILLAGE CIR                                                                     CRANBERRY TWP    PA      16066‐2113
HENRY, NOEL J              2003 ROLLINGTONE DR                                                                          KOKOMO           IN      46902‐3868
HENRY, NOEL N              48407 TILCH RD                                                                               MACOMB           MI      48044‐4900
HENRY, NORMA J             1808 GRIGGS DR                                                                               FLINT            MI      48504‐7093
HENRY, NORMA M             #1 ‐ TWP. RD 580D                                                                            WEST SALEM       OH      44287
HENRY, NORMAN R            APT 104                         7908 CAUSEWAY DRIVE                                          CHARLOTTE        NC      28227‐6775
HENRY, OLLIE B             727 CATALPA                                                                                  LIMA             OH      45804‐2565
HENRY, OLLIE B             727 CATALPA AVE                                                                              LIMA             OH      45804‐2565
HENRY, OWEN D              4918 KICKAPOO DR                                                                             KOKOMO           IN      46902‐5329
HENRY, PANSY S             135 MAX DR                                                                                   PARIS            TN      38242‐7075
HENRY, PANSY S             256 JACQUELINE DR                                                                            LONDON           OH      43140‐1181
HENRY, PATRICIA            942 LELAND AVE                                                                               DAYTON           OH      45402‐5402
HENRY, PATRICIA            18921 BRETTON DR                                                                             DETROIT          MI      48223‐1336
HENRY, PATRICIA            1303 W CARPENTER RD APT 334                                                                  FLINT            MI      48505‐5606
HENRY, PATRICIA A          323 W 35TH ST                                                                                WILMINGTON       DE      19802‐2638
HENRY, PATRICIA A          2208 ROCKSPRING RD                                                                           TOLEDO           OH      43614
HENRY, PATRICIA ANN        2208 ROCKSPRING RD                                                                           TOLEDO           OH      43614
HENRY, PATRICIA M          13318 41ST AVE                                                                               CHIPPEWA FALLS   WI      54729‐5508
HENRY, PATRICIA M          15181 FORD RD CC 227                                                                         DEARBORN         MI      48126
HENRY, PATRICIA W          6484 ROYAL POINTE DRIVE                                                                      W BLOOMFIELD     MI      48322‐4803
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HENRY, PATRICK F    5036 1ST ST                                                                                     SWARTZ CREEK       MI 48473‐1408
HENRY, PAUL
HENRY, PAUL D       1229 COLUMBIANA‐LISBON RD.      BOX D6, LOT 54                                                  COLUMBIANA        OH   44408
HENRY, PAUL K       42223 BRENTWOOD DR                                                                              PLYMOUTH          MI   48170‐2534
HENRY, PAUL KELLY   42223 BRENTWOOD DR                                                                              PLYMOUTH          MI   48170‐2534
HENRY, PAUL R       1050 ANTHONY WAYNE BLVD                                                                         DEFIANCE          OH   43512‐1306
HENRY, PAUL R       4200 CUTLASS BAY ST                                                                             LAS VEGAS         NV   89129‐5609
HENRY, PAULINE      230 CARRIAGE VIEW                                                                               CLINTON           TN   37716‐2643
HENRY, PAULINE      230 CARRIAGE VW                                                                                 CLINTON           TN   37716‐2643
HENRY, PEGGY        BOX 2899 OLD FARM RD                                                                            SPRINGVILLE       IN   47462
HENRY, PEGGY M      1469 LINCOLN ST                                                                                 MT MORRIS         MI   48458‐1306
HENRY, PEGGY M      1469 LINCOLN AVE                                                                                MOUNT MORRIS      MI   48458‐1306
HENRY, PENNY L      9731 NE HIGHWAY C                                                                               LOWRY CITY        MO   64763‐8145
HENRY, PETER S      1009 MAYFLOWER DR                                                                               MACEDON           NY   14502‐8801
HENRY, PHILIP D     2105 N DEXTER ST                                                                                INDIANAPOLIS      IN   46202‐1012
HENRY, PHILLIP D    4141 COTTON TAIL DR                                                                             NEW PORT RICHEY   FL   34653‐6438
HENRY, PHYLLIS J    779 VASSAR DRIVE                                                                                FENTON            MI   48430‐2231
HENRY, PHYLLIS J    779 VASSAR DR                                                                                   FENTON            MI   48430‐2231
HENRY, RAFAEL M     PTY‐103121601 NW 97TH AVE                                                                       MIAMI             FL   33102
HENRY, RALPH        3113 SENECA ST                                                                                  FLINT             MI   48504‐3820
HENRY, RAMONA       BONNIE TERRY L                  448 SOUTH BLVD                                                  BATON ROUGE       LA   70802‐6441
HENRY, RAMONA       DOBBINS DONALD                  327 NORTH BLVD                STE 103                           BATON ROUGE       LA   70801‐1500
HENRY, RANDALL C    6269 MAPLE AVE                                                                                  SWARTZ CREEK      MI   48473‐8230
HENRY, RANDY J      PO BOX 225                                                                                      MAPLE RAPIDS      MI   48853‐0225
HENRY, RAYMOND E    727 N CHILDRENS HOME RD                                                                         TROY              OH   45373‐9647
HENRY, RAYMOND K    786 SHADY LN NE                                                                                 WARREN            OH   44484‐1634
HENRY, REBECCA E    3786 MAYS CT SW                                                                                 ATLANTA           GA   30331‐2047
HENRY, RICHARD      12862 W CALLA RD                                                                                SALEM             OH   44460‐9634
HENRY, RICHARD E    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510‐2212
                                                    STREET, SUITE 600
HENRY, RICHARD J    PO BOX 510                                                                                      BALLSTON SPA      NY   12020‐0510
HENRY, RICHARD L    6353 BRISTOL RD                                                                                 SWARTZ CREEK      MI   48473‐7920
HENRY, RICHARD L    20157 RODEO CT                                                                                  SOUTHFIELD        MI   48075‐1281
HENRY, RICHARD L    1340 LAKEVIEW DR                                                                                GLADWIN           MI   48624‐9670
HENRY, RICHARD L    1068 JOSLYN AVE                                                                                 PONTIAC           MI   48340‐2861
HENRY, RICHARD L    332 BENNETT ST                                                                                  MILFORD           MI   48381‐2019
HENRY, RICHARD O    SHANNON LAW FIRM                100 W GALLATIN ST                                               HAZLEHURST        MS   39083‐3007
HENRY, ROBBIE E     628 36TH AVE                    C/O ROYCE D HENRY                                               GREELEY           CO   80634‐1716
HENRY, ROBERT       320 MILLGATE RD                                                                                 BELLEFONTE        PA   16823‐8576
HENRY, ROBERT       BRAYTON PURCELL                 PO BOX 6169                                                     NOVATO            CA   94948‐6169
HENRY, ROBERT D     6181 LINDEN LN                                                                                  LA GRANGE         IL   60525‐7309
                                                                                                                    HIGHLANDS
HENRY, ROBERT D     1722 TEDDY BEAR LN                                                                              ALGER             MI   48610‐9318
HENRY, ROBERT E     7982 N. ST. RT. 48                                                                              WAYNESVILLE       OH   45068‐8721
HENRY, ROBERT E     3064 HARDING ST                                                                                 DETROIT           MI   48214‐2183
HENRY, ROBERT E     545 E 4TH AVE                                                                                   ANCHORAGE         AK   99501
HENRY, ROBERT E     7982 STATE ROUTE 48                                                                             WAYNESVILLE       OH   45068‐8721
HENRY, ROBERT G     1435 KETTERING ST                                                                               BURTON            MI   48509‐2405
HENRY, ROBERT J     3155 S MERIDIAN RD                                                                              MT PLEASANT       MI   48858‐8091
HENRY, ROBERT J     521 E UNIVERSITY DR             APT 802                                                         ROCHESTER         MI   48307‐2172
HENRY, ROBERT L     705 N WATER ST                                                                                  VASSAR            MI   48768
HENRY, ROBERT L     2319 MARKLE PL                                                                                  SAGINAW           MI   48601‐2067
HENRY, ROBERT M     9591 INDIANAPOLIS RD                                                                            ZIONSVILLE        IN   46077
HENRY, RODERICK J   1421 BERKSHIRE RD                                                                               SANDUSKY          MI   48471‐9186
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Name                   Address1                      Address2                   Address3   Address4               City            State   Zip
HENRY, ROGER K         7874 CRORY RD                                                                              CANFIELD         OH     44406‐8701
HENRY, RONALD D        7246 MCDONALD RD                                                                           OLIVET           MI     49076‐9474
HENRY, RONALD D        1713 MOUNT HOPE RD                                                                         LEWISTON         NY     14092‐9760
HENRY, RONALD E        8133 CANADICE ROAD                                                                         SPRINGWATER      NY     14560‐9721
HENRY, RONALD G        1717 KENTFIELD ST SW                                                                       WYOMING          MI     49519‐3340
HENRY, RONALD W        429 W PARKWOOD DR                                                                          DAYTON           OH     45405‐3227
HENRY, RONDA R         105 SMITH DR                                                                               TIPTON           IN     46072‐9793
HENRY, ROSE I          6600 OUTER LOOP APT 146                                                                    LOUISVILLE       KY     40228‐2023
HENRY, ROSE I          6600 OUTER LOOP               APT 146                                                      LOUISVILLE       KY     40228‐2023
HENRY, ROSE M          4301 W KNEELAND RD                                                                         LEWISTON         MI     49756‐7518
HENRY, ROSE M          4301 KNEELAND RD                                                                           LEWISTON         MI     49756‐7518
HENRY, ROSE V          PO BOX 1059                                                                                WILMINGTON       VT     05363‐1059
HENRY, ROSIE M         1313 W HOME AVE                                                                            FLINT            MI     48505‐2553
HENRY, ROYCE D         579 E MADISON AVE                                                                          PONTIAC          MI     48340‐2933
HENRY, RUBIN           9855 BETTY LN                                                                              ELYRIA           OH     44035‐8103
HENRY, RUSSELL A       8431 BELLE BLUFF DR                                                                        GRAND BLANC      MI     48439‐8879
HENRY, RUSSELL F       PO BOX 285                                                                                 GIRARD           PA     16417
HENRY, RUTH A          3028 LARUE DR                                                                              KETTERING        OH     45429‐3814
HENRY, RUTH C          130 CELESTIAL WAY                                                                          ALPHARETTA       GA     30004‐6352
HENRY, RUTH H          3651 JUNIPER ST                                                                            CLARKSTON        MI     48348‐1366
HENRY, RUTH V          315 W 6TH ST                                                                               FLORENCE         NJ     08518‐2305
HENRY, RYAN R          66 BELIZE CT                                                                               TRACY            CA     95377‐8349
HENRY, SAMUEL JOHN     BOONE ALEXANDRA               205 LINDA DR                                                 DAINGERFIELD     TX     75638‐2107
HENRY, SAMUEL P        8413 JACLYN ANN DR                                                                         FLUSHING         MI     48433‐2913
HENRY, SANDRA J        12206 BENSON RD                                                                            MOUNT MORRIS     MI     48458‐1405
HENRY, SCOTT           KROHN & MOSS                  3 SUMMIT PARK DR STE 100                                     INDEPENDENCE     OH     44131‐2598
HENRY, SCOTT R         PO BOX 2627                                                                                MARTINSBURG      WV     25402‐2627
HENRY, SCOTT RAYMOND   PO BOX 2627                                                                                MARTINSBURG      WV     25402‐2627
HENRY, SCOTT T         7273 PONDEROSA DR                                                                          SWARTZ CREEK     MI     48473‐9426
HENRY, SHANELL M       2919 PINTO CIR                                                                             LANSING          MI     48906‐8102
HENRY, SHANNON R       30259 LISCH ST                                                                             GIBRALTAR        MI     48173‐9441
HENRY, SHANTEL M       APT 711                       8911 YOUREE DRIVE                                            SHREVEPORT       LA     71115‐3038
HENRY, SHARON K        7363 S FORK DR                                                                             SWARTZ CREEK     MI     48473‐9760
HENRY, SHAWN H         323 UNION CHURCH RD                                                                        TOWNSEND         DE     19734‐9116
HENRY, SHEARO F        467 10TH ST                                                                                ELYRIA           OH     44035‐7032
HENRY, SHEILA M        20500 ANNCHESTER RD                                                                        DETROIT          MI     48219‐1462
HENRY, SHERI L         45010 BEAR POINT RD                                                                        CABLE            WI     54821
HENRY, SHIRLEY         9370 PINEVIEW DR                                                                           OLIVET           MI     49076‐9735
HENRY, SHIRLEY M       2917 BARRINGTON DR APT A                                                                   MONROE           LA     71201‐9123
HENRY, SHIRLEY R       1340 LAKEVIEW DR                                                                           GLADWIN          MI     48624‐9670
HENRY, SONJA D         507 PRATT ST                                                                               NILES            OH     44446
HENRY, STACEY A        12862 W CALLA RD                                                                           SALEM            OH     44460‐9634
HENRY, STEPHEN D       3008 SW 132ND PL                                                                           OKLAHOMA CITY    OK     73170‐5427
HENRY, STEVEN A        937 GARVER RD                                                                              MANSFIELD        OH     44903‐9058
HENRY, STEVEN C        2250 REMINGTON DR                                                                          NAPERVILLE        IL    60565‐3452
HENRY, SUSIE L         3080 FALCON DR                                                                             BURTON           MI     48519‐1484
HENRY, SYDNEY S        27 BAY IN WOOD                                                                             DAYTONA BEACH    FL     32129
HENRY, TAYLOR H        3965 E LELAND ST                                                                           MESA             AZ     85215‐2315
HENRY, TERESA M        2604 BENGAL LANE                                                                           PLANO            TX     75023‐7857
HENRY, TERESA M        2604 BENGAL LN                                                                             PLANO            TX     75023‐7857
HENRY, TEREZ           4026 PRISCILLA AVE                                                                         INDIANAPOLIS     IN     46226
HENRY, TERRILL R       3427 N 57TH ST                                                                             KANSAS CITY      KS     66104‐1517
HENRY, THEODORE E      2969 MARLBOROUGH ST                                                                        DETROIT          MI     48215‐2595
HENRY, THOMAS          49 BLACK ROCK RD                                                                           YARDLEY          PA     19067‐1917
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Name                    Address1                        Address2                  Address3   Address4               City                State   Zip
HENRY, THOMAS B         121 PANORAMA RIDGE RD                                                                       FRANKLIN             NC     28734
HENRY, THOMAS G         7363 S FORK DR                                                                              SWARTZ CREEK         MI     48473‐9760
HENRY, THOMAS M         11487 STRASBURG BOLIVAR RD NW                                                               BOLIVAR              OH     44612
HENRY, THOMAS P         4134 ASPEN CIR                                                                              GRAND BLANC          MI     48439‐3505
HENRY, THOMAS S         421 S TAYLOR AVE                                                                            ESSEX                MD     21221‐6846
HENRY, THOMAS W         11108 BARE DR                                                                               CLIO                 MI     48420‐1577
HENRY, THOMAS WILLIAM   11108 BARE DR                                                                               CLIO                 MI     48420‐1577
HENRY, TIAWANNA         40 BUNTING PL                                                                               COVINGTON            GA     30014‐7066
HENRY, TIMOTHY L        4918 PRESCOTT AVE                                                                           DAYTON               OH     45406‐2203
HENRY, TODD J           15988 MOCK RD                                                                               BERLIN CENTER        OH     44401
HENRY, TOMMY            MOODY EDWARD O                  801 W 4TH ST                                                LITTLE ROCK          AR     72201‐2107
HENRY, TRACEY S         3906 CAMBRIDGE CT                                                                           CULLEOKA             TN     38451‐2081
HENRY, TRAVIS O         612 KARI CRK                                                                                BOSSIER CITY         LA     71111‐5170
HENRY, UNDRA M          1801 WILDERNESS TRL                                                                         GRAND PRAIRIE        TX     75052‐1939
HENRY, VANCE E          6190 COUNTY ROAD 34                                                                         KILLEN               AL     35645‐4630
HENRY, VAUGHN C         441 W INDIAN LAKE DR                                                                        GLADWIN              MI     48624‐9769
HENRY, VELVER J         4517 CLOVERLAWN DR                                                                          FLINT                MI     48504
HENRY, VERNICE M.       8000 BAYMEADOWS CIR E APT 90                                                                JACKSONVILLE         FL     32256‐7760
HENRY, VERONICA E       8108 BAYSHORE DR                C/O JOANNE SKORUPSKI                                        SEMINOLE             FL     33776‐3327
HENRY, VESTA G          PO BOX 439060 PMB 216                                                                       SAN DIEGO            CA     92143‐9060
HENRY, VICKIE A         715 BRETTON RD                                                                              LANSING              MI     48917‐2016
HENRY, VICKIE A         715 BRETTON ROAD                                                                            LANSING              MI     48917‐2016
HENRY, VICTOR           661 WOODCREST MANOR DR                                                                      STONE MOUNTAIN       GA     30083‐6134
HENRY, VICTOR E         28 JENNIE LN                                                                                ROCHESTER            NY     14606‐5814
HENRY, VICTOR E         1825 S UNION ST                                                                             KOKOMO               IN     46902
HENRY, VIVIAN A         1521 E WINEGAR                                                                              MORRICE              MI     48857‐9749
HENRY, WALTER C         11237 RAVENNA LN                                                                            NORTHRIDGE           CA     91326‐4172
HENRY, WANDA K          8507 CHARLESGATE CIR E                                                                      JACKSONVILLE         FL     32244‐6344
HENRY, WAYMON           64 E 200 N                                                                                  FRANKLIN             IN     46131‐8480
HENRY, WAYNE A          108 E ROBERTSON RD                                                                          CASTALIAN SPRINGS    TN     37031‐4610

HENRY, WAYNE T          15000 EL VISTA AVE                                                                          OAK FOREST          IL      60452‐1354
HENRY, WESSEL B         2712 RAINWATER TRL                                                                          CONYERS             GA      30094‐3952
HENRY, WILLARD P        7 COLLEGEVIEW DR                                                                            BATAVIA             NY      14020‐1104
HENRY, WILLIAM          RR #1                                                                                       WILLIAMS            IN      47470
HENRY, WILLIAM A        2485 SE PENNSYLVANIA LN                                                                     LATHROP             MO      64465‐9454
HENRY, WILLIAM ALFRED   2485 SE PENNSYLVANIA LN                                                                     LATHROP             MO      64465‐9454
HENRY, WILLIAM B        5126 SAGAMORE DR                                                                            SWARTZ CREEK        MI      48473
HENRY, WILLIAM H        788 WOODLAND DR                                                                             CLIMAX SPRINGS      MO      65324‐2152
HENRY, WILLIAM H        914 BUCKRIDGE RD                                                                            CLIMAX SPRINGS      MO      65324‐2133
HENRY, WILLIAM J        626 GRATIOT AVE                                                                             ALMA                MI      48801‐1711
HENRY, WILLIAM L        3718 TRENT RD                                                                               RANDALLSTOWN        MD      21133‐2807
HENRY, WILLIAM L        46714 JUDD RD                                                                               BELLEVILLE          MI      48111‐8963
HENRY, WILLIAM M        1326 SISSON DR                                                                              N TONAWANDA         NY      14120‐3068
HENRY, WILLIAM P        188 BELMONT DR                                                                              WILMINGTON          DE      19808‐4329
HENRY, WILLIAM T        2485 SE PENNSYLVANIA LN                                                                     LATHROP             MO      64465‐9454
HENRY, WILLIAM T        9510 LINDNER LN                                                                             CENTERVILLE         OH      45458‐9615
HENRY, WILLIAM W        1005 N OAK ST                                                                               FENTON              MI      48430‐1524
HENRY, WILLIAM W        8489 N RIVER RD                                                                             FREELAND            MI      48623‐8715
HENRY, WILLIE L         2519 VAN DYKE ST                                                                            DETROIT             MI      48214‐4904
HENRY, WILLIES J        3505 TAMARACK TRL                                                                           MOUNT MORRIS        MI      48458‐8211
HENRY, WILSON           COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                     HOUSTON             TX      77002‐1751
HENRY, WOODROW J        9 FOX ST                                                                                    BERKELEY SPRINGS    WV      25411‐5375
HENRY, WOODROW R        PO BOX 15481                                                                                MIDDLE RIVER        MD      21220‐0481
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Name                              Address1                       Address2               Address3      Address4               City              State   Zip
HENRY, YVONNE J                   1152 EAST GREY COURT                                                                       WAYLAND            MI     49348‐9388
HENRY, YVONNE J                   1152 E GREY CT                                                                             WAYLAND            MI     49348‐9388
HENRY, YVONNE N                   3459 AARON TRL                                                                             POWDER SPRINGS     GA     30127‐1334
HENRY,KEITH D                     1033 JASPER AVE                                                                            XENIA              OH     45385‐3303
HENRY,MARY ANNETTE                616 COLERIDGE AVE                                                                          TROTWOOD           OH     45426‐2534
HENRY,RONALD W                    429 W PARKWOOD DR                                                                          DAYTON             OH     45405‐3227
HENRY‐JOHNSON, BETTY              7456 WATERWOOD DR                                                                          GREENWOOD          LA     71033‐3366
HENRY‐JOHNSON, BETTY J            7456 WATERWOOD DR                                                                          GREENWOOD          LA     71033‐3366
HENRY‐MEYER, ANGELA               124 HERITAGE STATION CT.                                                                   SAINT CHARLES      MO     63303
HENRY‐RAWLS, RHONDA I             1121 CABOT DR                                                                              FLINT              MI     48532‐2672
HENRY‐RAWLS, RHONDA INEZ          1121 CABOT DR                                                                              FLINT              MI     48532‐2672
HENRY‐SHIELDS, SHONTE D           1384 WESTWOOD DR                                                                           FLINT              MI     48532‐2665
HENRYETTA HUGHES                  201 KINGSBORO RD                                                                           ROCHESTER          NY     14619‐2413
HENRYETTA JENKINS                 2044 CONTINENTAL DRIVE                                                                     SAINT LOUIS        MO     63138‐1324
HENRYK BOGDANOWICZ                7615 PARKWOOD DR                                                                           FENTON             MI     48430‐9321
HENRYK GORAJ                      375 EAGLE AVE                                                                              PERTH AMBOY        NJ     08861‐2745
HENRYK SOWUL                      491 HARWOOD CT                                                                             OXFORD             MI     48371‐4429
HENRYKA KEPCZYNSKI                5420 HAVENS RD                                                                             DRYDEN             MI     48428‐9224
HENRYKA RZESKI                    405 AURORA ST                                                                              LANCASTER          NY     14086‐2900
HENRYKA WOLPIUK                   62 VIA PINTO DR                                                                            WILLIAMSVILLE      NY     14221‐2755
HENRYKA WOZNY                     19409 E 18TH TER S             C/O FRANCES THOMPSON                                        INDEPENDENCE       MO     64057‐1211
HENRYKE URBANIAK                  8634 ALLEN RD                                                                              ALLEN PARK         MI     48101‐1432
HENRYS AUTOMOTIVE                 2424 LINDEN LN                                                                             SILVER SPRING      MD     20910‐1231
HENRYS EXPRESS GRIT 91143
HENRYS, MICHAEL J                 231 W ROLFE                                                                                PERRY             MI      48872
HENRYS, MITCH J                   6263 GARDENIA AVE                                                                          LANSING           MI      48911‐5635
HENRYS, NORMAN G                  4694 W MONROE RD                                                                           PENTWATER         MI      49449‐8909
HENSAL, ROBERT E                  266 AKRON STREET                                                                           LOCKPORT          NY      14094‐5102
HENSARLING, STEWART               PORTER & MALOUF PA             4670 MCWILLIE DR                                            JACKSON           MS      39206‐5621
HENSCH, BLANCH E                  4586 KALM RD                                                                               COLUMBIAVILLE     MI      48421‐9337
HENSCH, GARY L                    8080 S CLARK ST                                                                            COLUMBIA CITY     IN      46725‐9648
HENSCHEL, GERALD F                826 W 14TH AVE                                                                             APACHE JUNCTION   AZ      85220‐6251

HENSCHEL, MARSHALL M               27198 BIRMINGHAM CT                                                                       PAW PAW            MI     49079‐8540
HENSCHEL, MARSHALL MARVIN          27198 BIRMINGHAM CT                                                                       PAW PAW            MI     49079‐8540
HENSCHEL, PETER G                  24871 WARRINGTON AVENUE                                                                   EASTPOINTE         MI     48021‐1321
HENSCHEL, SANDRA K                 27198 BIRMINGHAM CT                                                                       PAW PAW            MI     49079‐8540
HENSCHELL, JERRY                   6176 WOLVERINE TRL                                                                        ALGER              MI     48610‐9414
HENSCHELL, LEONARD A               1479 OAK ST                                                                               GLADWIN            MI     48624‐8351
HENSCHEN, KATHRYN M.               1824 15TH STREET                                                                          BEDFORD            IN     47421‐3608
HENSCHEN, KATHRYN M.               1824 15TH ST                                                                              BEDFORD            IN     47421‐3608
HENSCHKE ALVIN                     1402 E NORWICH ST                                                                         BAY VIEW           WI     53207‐4522
HENSCHKE, GUSTAV                   10170 PAW PAW LAKE DR                                                                     MATTAWAN           MI     49071‐9406
HENSE, ADOLF C                     12301 HOUNDS BAY ROW                                                                      BAYONET POINT      FL     34667‐2638
HENSE, DONALD F                    1909 PENBROOK LN                                                                          FLINT              MI     48507‐2278
HENSE, JEANNETTE F                 12301 HOUNDS BAY ROW                                                                      BAYONET POINT      FL     34667‐2638
HENSE, WILHELM K                   5181 KIMBERLY DR                                                                          GRAND BLANC        MI     48439‐5159
HENSEL JR, BENJAMIN P              7350 S GALE RD                                                                            MORRICE            MI     48857‐9771
HENSEL PHELPS CONSTRUCTION         420 6TH AVE                                                                               GREELEY            CO     80631‐2332
HENSEL PHELPS CONSTRUCTION COMPANY GEORGE STEPHENS               420 6TH AVE                                                 GREELEY            CO     80631‐2332

HENSEL, ALICE M                   1285 WOODLOW                                                                               WATERFORD          MI     48328‐1361
HENSEL, ALICE M                   1285 WOODLOW ST                                                                            WATERFORD          MI     48328‐1361
HENSEL, BARRY G                   43642 LOTUS DR                                                                             CANTON             MI     48188‐1899
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Name                                  Address1                          Address2                          Address3   Address4               City            State   Zip
HENSEL, CHARLES L                     1623 HYNDMAN ST                                                                                       CONNELLSVILLE    PA     15425‐4816
HENSEL, DARCY D                       10909 W 8 RD                                                                                          COPEMISH         MI     49625‐9602
HENSEL, DARCY DENNIS                  10909 WEST 8 ROAD                                                                                     COPEMISH         MI     49625‐9602
HENSEL, DARCY N                       3423 N PASS DR                                                                                        CLIO             MI     48420‐1583
HENSEL, DAVID L                       1707 SW 35TH CIR                                                                                      OKEECHOBEE       FL     34974‐6083
HENSEL, DOROTHY M                     13390 TUSCOLA RD                                                                                      CLIO             MI     48420‐1870
HENSEL, EARL L                        409 RIDGEWOOD RD                                                                                      FRANKLIN         TN     37064‐5235
HENSEL, ELEANORE E                    523 OAKHILL AVE                                                                                       JANESVILLE       WI     53548‐2712
HENSEL, ELEANORE E                    523 N OAKHILL AVE                                                                                     JANESVILLE       WI     53548‐2712
HENSEL, GARY L                        8009 S GALE RD                                                                                        MORRICE          MI     48857‐9772
HENSEL, HARRY F                       10996 HERRING ST                                                                                      MARCELLUS        MI     49067‐9412
HENSEL, JAMES L                       34156 ALGONQUIN ST                                                                                    WESTLAND         MI     48185‐2731
HENSEL, JAMES R                       PO BOX 236                                                                                            LIZTON           IN     46149‐0236
HENSEL, JEREMY C                      9287 HIGHWAY 80                                                                                       MINDEN           LA     71055
HENSEL, JONNY A                       PO BOX 482                                                                                            ZANESVILLE       IN     46799‐0482
HENSEL, JOSEPH C                      217 COYATEE DR                                                                                        LOUDON           TN     37774‐2133
HENSEL, PAUL M                        9165 N ISLAND DR                                                                                      FLUSHING         MI     48433‐2930
HENSEL, RALPH E                       1662 C.R. 1095 RT 4                                                                                   ASHLAND          OH     44805
HENSEL, RICK J                        490 FORTRESS                      APARTMENT 17 D                                                      MURFREESBORO     TN     37128
HENSEL, RONALD F                      10174 ELMS RD                                                                                         MONTROSE         MI     48457‐9194
HENSEL, RUTH E                        19725 S SCHOOLHOUSE RD                                                                                MOKENA            IL    60448‐1769
HENSEL, SALLY A                       13672 FERGUS RD                                                                                       CHESANING        MI     48616‐9591
HENSEL, STEVEN L                      1407 E 500 S                                                                                          HUNTINGTON       IN     46750‐9222
HENSEL, THOMAS E                      13503 GERA RD                                                                                         BIRCH RUN        MI     48415‐9336
HENSEL, TODD G                        664 CRESCENT LAKE RD                                                                                  WATERFORD        MI     48327‐2538
HENSEL, WILLIAM H                     1759 BELLECHASE DR                                                                                    NEW LENOX         IL    60451‐3608
HENSELEIT, RHONDA L                   1821 E FIRMIN ST                                                                                      KOKOMO           IN     46902‐2447
HENSEN ANNA A (655189)                ANGELOS PETER G                   100 N CHARLES STREET , ONE                                          BALTIMORE        MD     21201
                                                                        CHARLES CENTER
HENSEN FREDERICK H (467684)           ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                          BALTIMORE       MD      21202
                                                                        CHARLES CENTER 22ND FLOOR
HENSEN, ALLEN B                       7930 SE GENTIAN WAY                                                                                   PRINEVILLE      OR      97754‐7007
HENSEN, ANNA A                        ANGELOS PETER G                   100 N CHARLES STREET, ONE                                           BALTIMORE       MD      21201
                                                                        CHARLES CENTER
HENSEN, FREDERICK H                   ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                           BALTIMORE       MD      21202
                                                                        CHARLES CENTER 22ND FLOOR
HENSEY, WILLIAM J                    5059 PHEASANT RD                                                                                       WATERFORD        MI     48327‐2464
HENSHAW INC                          100 SHAFFER DR                                                                                         ROMEO            MI     48065‐4907
HENSHAW INC                          50335 PATRICIA ST                                                                                      CHESTERFIELD     MI     48051‐3803
HENSHAW MAURICE (ESTATE OF) (630498) EARLY LUDWICK & SWEENEY L.L.C.     ONE CENTURY TOWER, 11TH FLOOR ,                                     NEW HAVEN        CT     06510
                                                                        265 CHURCH STREET
HENSHAW ROBERT P (ESTATE OF) (450555) WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                     NEW YORK         NY     10038

HENSHAW, DONALD E                     87 CALHOUN AVE                                                                                        ROCHESTER        NY     14606‐3709
HENSHAW, ERNEST E                     226 BRANDYWINE CIR                                                                                    ENGLEWOOD        FL     34223‐1955
HENSHAW, KATHLEEN                     87 CALHOUN AVE                                                                                        ROCHESTER        NY     14606‐3709
HENSHAW, MAURICE                      EARLY LUDWICK & SWEENEY L.L.C.    ONE CENTURY TOWER, 11TH FLOOR,                                      NEW HAVEN        CT     06508
                                                                        265 CHURCH STREET
HENSHAW, NICHOLAS                     145 WHITE RIDGE TRL                                                                                   WEST BRANCH      MI     48661‐9405
HENSHAW, ROBERT P                     WEITZ & LUXENBERG                 180 MAIDEN LANE                                                     NEW YORK         NY     10038
HENSIAK, ROBERT L                     5915 W FILLMORE DR                                                                                    WEST ALLIS       WI     53219‐2223
HENSINGER, BETTINA B                  2 WOODCOVE CT                                                                                         GREENVILLE       SC     29615‐5545
HENSKI, DELYNN                        2092 N BAGLEY ST APT 1                                                                                ALPENA           MI     49707‐1552
HENSKI, JOHN                          386 S ORTONVILLE RD                                                                                   ORTONVILLE       MI     48462‐8870
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Name                                   Address1                       Address2                         Address3   Address4               City           State Zip
HENSLEE CHARLES K (472067)             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510
                                                                      STREET, SUITE 600
HENSLEE, CHARLES K                     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                        NORFOLK        VA   23510‐2212
                                                                      STREET, SUITE 600
HENSLEE, ORA A                         1289 HATCH RD                                                                                     OKEMOS         MI   48864‐3409
HENSLEE, ROGER L                       3610 BROOKVIEW CT                                                                                 CANFIELD       OH   44406‐9205
HENSLEE, STEVE R                       9636 TRADING POST RD                                                                              LEO            IN   46765‐9307
HENSLER BEN                            HENSLER, BEN                   4006 WEST RUSHOLME                                                 DAVENPORT      IA   52804
HENSLER JR, NICHOLAS R                 1382 COTSWOLD LN                                                                                  HAMILTON       OH   45013‐5184
HENSLER, BEN                           4006 W RUSHOLME ST                                                                                DAVENPORT      IA   52804‐1014
HENSLER, BONNIE M                      1527 ROSEDALE DR                                                                                  O FALLON       MO   63366‐1154
HENSLER, FRANK C                       911 PRYNNWOOD LN APT 102                                                                          O FALLON       MO   63366‐7630
HENSLER, FREDERICK H                   8385 LINDEN RD                                                                                    SWARTZ CREEK   MI   48473‐9151
HENSLER, LANNY S                       150 LARIAN DR                                                                                     BUNKER HILL    WV   25413‐2580
HENSLER, LANNY SCOTT                   150 LARIAN DR                                                                                     BUNKER HILL    WV   25413‐2580
HENSLER, LARRY A                       3828 N 600 E                                                                                      KOKOMO         IN   46901‐9361
HENSLER, RICHARD A                     45824 STERRITT ST                                                                                 UTICA          MI   48317‐5833
HENSLER, ROBERT L                      5417 BIBURY RD                                                                                    FAIRFIELD      OH   45014‐3609
HENSLER, TIMOTHY L                     1505 NOB LN APT 105                                                                               PONTIAC        MI   48340‐1469
HENSLER, TIMOTHY L                     800 WILLIAMSBURY APT 287                                                                          WATERFORD      MI   48328‐2213
HENSLER, TOM H                         1328 WESTWIND DR                                                                                  AVON           IN   46123‐8316
HENSLER, VIRGINIA A                    8385 LINDEN RD                                                                                    SWARTZ CREEK   MI   48473‐9151
HENSLER, WADE T                        922 KAUFFMAN AVE                                                                                  MARTINSBURG    WV   25401
HENSLEY & COMPANY                      4201 N 45TH AVE                                                                                   PHOENIX        AZ   85031‐2109
HENSLEY BEN                            16140 NE 234TH ST                                                                                 LUTHER         OK   73054‐9315
HENSLEY BOBBY JOE SR (636560)          BRAYTON PURCELL                PO BOX 6169                                                        NOVATO         CA   94948‐6169
HENSLEY CHUCK                          HENSLEY, CHUCK                 PO BOX 433                                                         GALT           CA   95632
HENSLEY DAVID J                        118 SQUIRE LYLE RD                                                                                SCOTTSVILLE    KY   42164
HENSLEY DONALD ETAL                    DEDMON, WILLIE
HENSLEY DONALD ETAL                    ELLIOT, NETTIE
HENSLEY DONALD ETAL                    EVANS, WANDA
HENSLEY DONALD ETAL                    FINLEY, RAYMOND
HENSLEY DONALD ETAL                    GROOMS, CHARLES
HENSLEY DONALD ETAL                    HENSLEY, DONALD
HENSLEY DONALD ETAL                    MIDDLETON, CHRIS
HENSLEY DONALD ETAL                    PATTERSON, PATSI
HENSLEY DONALD ETAL                    PAYNE, TINY
HENSLEY DONALD ETAL                    RICHARDS, TAFT
HENSLEY DONALD ETAL                    SIMMONS, AUDREY
HENSLEY DONALD ETAL                    WAITES, DERRICK
HENSLEY DONALD ETAL                    WILSON, ELIZABETH
HENSLEY DOUGLAS E                      HENSLEY, DOUGLAS E             PO BOX 40                                                          PINEVILLE      WV   24874‐0040
HENSLEY FABRICATING & EQUIPMEN         17624 STATE ROAD 331                                                                              TIPPECANOE     IN   46570‐9750
HENSLEY I I I, ASA E                   PO BOX 3606                                                                                       GRAND CANYON   AZ   86023‐3806
HENSLEY JAMES                          HENSLEY, JAMES                 10320 LITTLE PATUXENT PKWY STE                                     COLUMBIA       MD   21044‐3344
HENSLEY JAMES                          HENSLEY, JAMES                 20 PARK AVE                                                        BALTIMORE      MD   21201‐3423
HENSLEY JAMES                          HENSLEY, ROXANNE               20 PARK AVE                                                        BALTIMORE      MD   21201‐3423
HENSLEY JAMES S (ESTATE OF) (456956)   SIMMONS FIRM                   PO BOX 559                                                         WOOD RIVER     IL   62095‐0559

HENSLEY JR, EVERETT                    900 N GREENBRIAR RD                                                                               MUNCIE         IN   47304‐3260
HENSLEY JR, HUBERT C                   8018 E MOUNT MORRIS RD                                                                            OTISVILLE      MI   48463‐9416
HENSLEY JR, RAYMOND                    1511 LOCUST ST                                                                                    MIDDLETOWN     IN   47356‐1136
HENSLEY JR, RAYMOND LAVON              1511 LOCUST ST                                                                                    MIDDLETOWN     IN   47356‐1136
HENSLEY JR, RON A                      35051 SANSBURN ST                                                                                 WESTLAND       MI   48186‐4286
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Name                     Address1                       Address2                    Address3   Address4               City              State Zip
HENSLEY JR, STEVE        19 SAINT LAWRENCE DR                                                                         SAINT PETERS       MO 63376‐1447
HENSLEY SHANE            HENSLEY, SHANE                 102 WOODMONT BLVD STE 200                                     NASHVILLE          TN 37205‐2216
HENSLEY STEPHEN          HENSLEY, STEPHEN               UNKNOWN
HENSLEY VERNON           6783 BISCHOFF ROAD                                                                           WEST HARRISON     IN   47060
HENSLEY, AL E            922 S SARASOTA DR                                                                            YORKTOWN          IN   47396‐9574
HENSLEY, ALICE F         6021 WILSHIRE DRIVE                                                                          INDIANAPOLIS      IN   46259‐1727
HENSLEY, ALICE M         1264 BRANCHLANDS DR APT 1B                                                                   CHARLOTTESVILLE   VA   22901‐6405
HENSLEY, ANGELA D        20283 PRAIRIE BAPTIST RD                                                                     NOBLESVILLE       IN   46060‐9035
HENSLEY, ANN M           6143 ATLAS VALLEY DR                                                                         GRAND BLANC       MI   48439‐7805
HENSLEY, ANTHONY         7314 W COUNTY ROAD 350 N                                                                     MIDDLETOWN        IN   47356‐9737
HENSLEY, ANTHONY WAYNE   7314 W COUNTY ROAD 350 N                                                                     MIDDLETOWN        IN   47356‐9737
HENSLEY, ARTHUR G        2823 BLUE RIDGE DR                                                                           MORRISTOWN        TN   37814‐1811
HENSLEY, BEATRICE        45 TEVIS ST                                                                                  MOUNT VERNON      KY   40456‐8895
HENSLEY, BELINDA         HINES LAW OFFICE PLC           4 SOUTH MAIN STREET                                           JONESVILLE        VA   24263
HENSLEY, BENNY R         528 BELMONT AVE                                                                              NILES             OH   44446‐2906
HENSLEY, BETTY L         10404 HWY 27 LOT 255                                                                         FROSTPROOF        FL   33843‐3264
HENSLEY, BILL            13450 DECOURSEY PIKE                                                                         MORNING VIEW      KY   41063‐8798
HENSLEY, BILLIE J        1390 MARLOW RD                                                                               BELLS             TX   75414‐2431
HENSLEY, BILLY R         932 JOHNSON RD                                                                               SALISBURY         MD   21804‐9363
HENSLEY, BOBBY G         199 WOODLAND TRL                                                                             ANDERSON          IN   46016‐6804
HENSLEY, BOBBY JOE       BRAYTON PURCELL                PO BOX 6169                                                   NOVATO            CA   94948‐6169
HENSLEY, BRENDA C        2828 N STATE ROUTE 48                                                                        LEBANON           OH   45036‐2416
HENSLEY, BRUCE C         2621 ALLENBY PL                                                                              DAYTON            OH   45449
HENSLEY, BUFFORD         8410 ELIZABETH LAKE RD                                                                       WHITE LAKE        MI   48386‐3418
HENSLEY, BYRON E         825 DRESSER DR                                                                               ANDERSON          IN   46011‐1111
HENSLEY, CARL F          PO BOX 103                                                                                   SNELLVILLE        GA   30078‐0103
HENSLEY, CARL L          416 ARBOR CIR                                                                                YOUNGSTOWN        OH   44505‐1916
HENSLEY, CARL W          501 BEAR ROAD                                                                                LAKE PLACID       FL   33852‐9710
HENSLEY, CAROL K         23365 HUMPHREYS RD                                                                           PLATTE CITY       MO   64079‐8285
HENSLEY, CAROL KAY       23365 HUMPHREYS RD                                                                           PLATTE CITY       MO   64079‐8285
HENSLEY, CAROL L         1745 SMITH ST                                                                                YPSILANTI         MI   48198‐6700
HENSLEY, CAROL L         1745 SMITH AVE                                                                               YPSILANTI         MI   48197
HENSLEY, CAROL LYNN      1745 SMITH ST                                                                                YPSILANTI         MI   48198‐6700
HENSLEY, CAROLYN E       841 FRANK ST                                                                                 FLINT             MI   48504‐4858
HENSLEY, CAROLYN O       7423 DOROTHY DR                                                                              INDIANAPOLIS      IN   46260‐3121
HENSLEY, CAROLYN S       2899 E. 1250 N.                                                                              ALEXANDRIA        IN   46001‐8804
HENSLEY, CAROLYN SUE     2899 E 1250 N                                                                                ALEXANDRIA        IN   46001‐8804
HENSLEY, CATHY A         511 BEAR RD                                                                                  LAKE PLACID       FL   33852‐9726
HENSLEY, CHARLES D       118 OLIGI LN                                                                                 LOUDON            TN   37774‐2629
HENSLEY, CHARLES W       1213 DEVONSHIRE ROAD                                                                         HAUPPAUGE         NY   11788‐4515
HENSLEY, CHESTER G       161 SALOLI WAY                                                                               LOUDON            TN   37774‐2731
HENSLEY, CHESTER W       RR 2 BOX 2167                                                                                ALTON             MO   65606‐9606
HENSLEY, CHRIS
HENSLEY, CHUCK           ADDRESS NOT IN FILE
HENSLEY, CHUCK           PO BOX 433                                                                                   GALT              CA   95632
HENSLEY, CIERRA          4105 TRESTLE CIR                                                                             CORPUS CHRISTI    TX   78416‐2611
HENSLEY, CLARA B.        930 CLARICE ST                                                                               GRAND PRAIRIE     TX   75051‐2919
HENSLEY, CLARA M         2780 S FULS RD                                                                               FARMERSVILLE      OH   45325‐5325
HENSLEY, CLARA M         2780 FULS RD                                                                                 FARMERSVILLE      OH   45325‐9232
HENSLEY, CLARA W         10220 S. UNION RD.                                                                           MIAMISBURG        OH   45342‐4616
HENSLEY, CLARA W         10220 S UNION RD                                                                             MIAMISBURG        OH   45342‐4616
HENSLEY, CLOVIS D        1221 N SAYBROOK LN                                                                           MUNCIE            IN   47304‐5331
HENSLEY, CONLEY          HC 62 BOX 1258                                                                               CALVIN            KY   40813‐9702
HENSLEY, CONLEY          2787 HIGHWAY 1344                                                                            CALVIN            KY   40813‐9053
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Name                    Address1                        Address2            Address3         Address4               City             State   Zip
HENSLEY, CONLEY A       3403 NICHOLS RD                                                                             AUBURN HILLS      MI     48326‐3835
HENSLEY, CRISANTA       4105 TRESTLE CIR                                                                            CORPUS CHRISTI    TX     78416‐2611
HENSLEY, CURTIS L       284 N HOUSTON PIKE                                                                          SOUTH VIENNA      OH     45369‐9746
HENSLEY, DAISY          3361 BENNETT SCHOOLHOUSE RD                                                                 WHEELERSBURG      OH     45694‐8616
HENSLEY, DALE H         2502 MERRIBROOK LN                                                                          O FALLON          MO     63368‐3524
HENSLEY, DANA S         4760 INDEPENDENCE DR                                                                        CLARKSTON         MI     48346‐3645
HENSLEY, DARRELL J      100 BYAKOA LN                                                                               GEORGETOWN        KY     40324
HENSLEY, DARRELL L      13026 CUSSEWAGO DR                                                                          FENTON            MI     48430‐1109
HENSLEY, DAVID C        46 POTTER DR                                                                                BELLEVILLE        MI     48111‐3608
HENSLEY, DAVID J        118 SQUIRE LYLE RD                                                                          SCOTTSVILLE       KY     42164‐8862
HENSLEY, DAVID S        1540 W SCHWARTZ BLVD                                                                        LADY LAKE         FL     32159‐2169
HENSLEY, DEBRA L        801 W MACALAN DR                                                                            MARION            IN     46952‐2040
HENSLEY, DEIDRA L       6124 GRAND BLANC RD                                                                         SWARTZ CREEK      MI     48473‐9442
HENSLEY, DELLA L        143 BIVENS RD                                                                               TELLICO PLAINS    TN     37385‐5444
HENSLEY, DELMAR K       200 E 33RD ST                                                                               LORAIN            OH     44055‐1212
HENSLEY, DENNIS L       PO BOX 113                                                                                  SHADY SPRING      WV     25918‐0113
HENSLEY, DENNIS L       BOX 113                                                                                     SHADY SPRINGS     WV     25918‐0113
HENSLEY, DEWEY E        22478 38TH AVE                                                                              MATTAWAN          MI     49071‐9747
HENSLEY, DEWEY W        1170 MCCART CIR                                                                             JACKSON           GA     30233‐2829
HENSLEY, DIANA K        2611 DELAWARE ST                                                                            ANDERSON          IN     46016‐5226
HENSLEY, DIANE M        PO BOX 87                                                                                   DANSVILLE         MI     48819‐0087
HENSLEY, DONALD J       35177 HAZELWOOD ST                                                                          WESTLAND          MI     48186‐9717
HENSLEY, DONALD L       5280 CUMBY RD                                                                               BLOOMINGTON       TN     38545‐4500
                                                                                                                    SPRINGS
HENSLEY, DONALD L       6128 WHITE BIRCH DR                                                                         FISHERS          IN      46038‐4002
HENSLEY, DONALD N       6714 STATE ROUTE 753                                                                        HILLSBORO        OH      45133‐8186
HENSLEY, DONALD R       1812 WOOD DALE CIR                                                                          CEDAR HILL       TX      75104‐7832
HENSLEY, DONTRA A       6545 BROKEN BOW DR                                                                          ANTIOCH          TN      37013
HENSLEY, DORA F         22 HIGHRIDGE CT                                                                             FRANKLIN         OH      45005‐1758
HENSLEY, DOROTHY E      6800 PARK ST S APT 1204                                                                     S PASADENA       FL      33707‐2134
HENSLEY, DOROTHY F      6130 MICHAEL                                                                                TAYLOR           MI      48180‐1290
HENSLEY, DOROTHY F      6130 MICHAEL ST                                                                             TAYLOR           MI      48180‐1290
HENSLEY, E              51 EUSLEY LANE                                                                              GRAY             KY      40734
HENSLEY, EARL           3057 IDLYWILDE BLVD APT 2‐B                                                                 DAYTON           OH      45414‐5564
HENSLEY, EARL N         3117 SHAWNEE AVE                                                                            FLINT            MI      48507‐1901
HENSLEY, EDDIE S        16 BRIDGE ST APT 1                                                                          SHELBY           OH      44875‐1166
HENSLEY, EDWARD         628 AUGDON DR                                                                               ELYRIA           OH      44035‐3032
HENSLEY, EDWARD D       501 BEAR RD                                                                                 LAKE PLACID      FL      33852‐9710
HENSLEY, EDWARD R       1401 SW MITCHELL ST                                                                         OAK GROVE        MO      64075‐9228
HENSLEY, ELLEN FAYE     825 DRESSER DR                                                                              ANDERSON         IN      46011‐1111
HENSLEY, ELLEN L        5323 90TH AVE. CIRCLE EAST                                                                  PARRISH          FL      34219
HENSLEY, ELLEN L        5323 90TH AVENUE CIR E                                                                      PARRISH          FL      34219‐5424
HENSLEY, ELLEN R        301 N TALAMORE AVE                                                                          YORK TOWN        IN      47396‐9101
HENSLEY, ELMER D        1832 BONN ST                                                                                BOSSIER CITY     LA      71112‐2009
HENSLEY, ERIC S         2814 PITT ST                                                                                ANDERSON         IN      46016‐5558
HENSLEY, ERIC STANTON   2814 PITT ST                                                                                ANDERSON         IN      46016‐5558
HENSLEY, ERNIE R        4024 CAMBRIDGE AVE                                                                          LORAIN           OH      44053‐2330
HENSLEY, ERVIN M        70 PALLISTER ST                                                                             DETROIT          MI      48202‐2417
HENSLEY, EUGENE         5505 ARCOLA AVE                                                                             DAYTON           OH      45449‐2715
HENSLEY, EVELYN         3975 DARTOWN RD                                                                             OXFORD           OH      45056‐9120
HENSLEY, EVERETT R      2611 DELAWARE ST                                                                            ANDERSON         IN      46016‐5226
HENSLEY, FAYE P         825 DRESSER DR                                                                              ANDERSON         IN      46011‐1111
HENSLEY, FINLEY L       4310 E 600 S                                                                                GAS CITY         IN      46933‐9814
HENSLEY, FLOYD J        6860 W ALLENS BRIDGE RD                                                                     GREENEVILLE      TN      37743‐3652
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Name                 Address1                              Address2                         Address3   Address4               City             State   Zip
HENSLEY, FRANK       TRACY FIRM                            5473 BLAIR RD STE 200                                              DALLAS            TX     75231‐4168
HENSLEY, GARY M      609 N BELMONT AVE                                                                                        SPRINGFIELD       OH     45503‐4550
HENSLEY, GENE C      RR 1 BOX 4176                                                                                            DORA              MO     65637‐9419
HENSLEY, GEORGE      16417 W HIGHWAY 80                                                                                       NANCY             KY     42544‐8901
HENSLEY, GEORGE F    1915 W WESTHOLME DR                                                                                      MARION            IN     46952‐9332
HENSLEY, GEORGE M    5963 UNIVERSITY AVE                                                                                      INDIANAPOLIS      IN     46219‐7234
HENSLEY, GERALDINE   355 LAUREL LAKE RESORT RD                                                                                CORBIN            KY     40701‐7850
HENSLEY, GERTRUDE    284 NO. HOUSTON PIKE                                                                                     SOUTH VIENNA      OH     45369‐9746
HENSLEY, GINGER J    423 E 53RD ST                                                                                            ANDERSON          IN     46013‐1722
HENSLEY, GLEN E      5280 DELLBROOK DR                                                                                        FAIRFIELD         OH     45014‐3310
HENSLEY, GLEN W      1715 WHITEHALL CT                                                                                        COOKEVILLE        TN     38501‐7212
HENSLEY, GLORIA      P.O. BOX 70467                                                                                           KNOXVILLE         TN     37938‐0467
HENSLEY, GLORIA      PO BOX 70467                                                                                             KNOXVILLE         TN     37938‐0467
HENSLEY, GRANVEL     5528 ALCOTT LN                                                                                           INDIANAPOLIS      IN     46221‐4868
HENSLEY, GRANVEL     3020 BYRKIT ST                                                                                           INDIANAPOLIS      IN     46217‐9625
HENSLEY, GUY E       33500 SCOTLAND DR                                                                                        LINCOLN           MO     65338‐2987
HENSLEY, HAL E       10404 US 27 LOT 255                                                                                      FROSTPROOF        FL     33843
HENSLEY, HANSFORD    6307 COUNTY ROAD 219                                                                                     BELLEVUE          OH     44811‐8712
HENSLEY, HAROLD      4105 TRESTLE CIRCLR                                                                                      CORPUS CHRISTI    TX     78416
HENSLEY, HAROLD C    9350 OAK RUN EAST DR                  C/O MILDRED P HENSLEY                                              INDIANAPOLIS      IN     46260‐5105
HENSLEY, HEATH L.    9580 W. 700 S.                                                                                           DALEVILLE         IN     47334
HENSLEY, HELENE      PO BOX 892                                                                                               STOLLINGS         WV     25646‐0892
HENSLEY, HENRY A     176 SOUTHERN SHORES RD                                                                                   JACKSON           GA     30233‐3365
HENSLEY, HENRY F     8525 CRACKER NECK RD                                                                                     WASHBURN          TN     37888‐4220
HENSLEY, HERMAN E    359 W COLUMBIA AVE                                                                                       BELLEVILLE        MI     48111‐2721
HENSLEY, HOWARD      148 EAST FRANKLIN STREET                                                                                 DAYTON            OH     45459‐5916
HENSLEY, HOWARD W    309 W 1ST ST                                                                                             CARROLLTON        MO     64633‐1311
HENSLEY, HUBERT      51 EULUS LN                                                                                              GRAY              KY     40734‐6635
HENSLEY, HUBERT T    6701 DOYON DR S                                                                                          WATERFORD         MI     48327‐3812
HENSLEY, JACK R      1516 W 6TH ST                                                                                            ANDERSON          IN     46016‐1095
HENSLEY, JAMES       INGERMAN AND HORWITZ LLP              20 PARK AVE                                                        BALTIMORE         MD     21201‐3423
HENSLEY, JAMES       GOLDSTEIN BERTRAM M & ASSOCIATES PA   10320 LITTLE PATUXENT PKWY STE                                     COLUMBIA          MD     21044‐3344
                                                           322
HENSLEY, JAMES
HENSLEY, JAMES D     9733 MUELLER STREET                                                                                      TAYLOR           MI      48180‐3573
HENSLEY, JAMES D     2539 GREENS MILL RD                                                                                      COLUMBIA         TN      38401‐6182
HENSLEY, JAMES E     3212 N COUNTRY 50 W                                                                                      ANDERSON         IN      46012
HENSLEY, JAMES H     3501 E 15TH ST                                                                                           MUNCIE           IN      47302‐4818
HENSLEY, JAMES L     2904 W 25TH ST                                                                                           ANDERSON         IN      46011‐4612
HENSLEY, JAMES O     6143 ATLAS VALLEY DR                                                                                     GRAND BLANC      MI      48439‐7805
HENSLEY, JAMES P     3882 REINWOOD DR                                                                                         DAYTON           OH      45414‐2446
HENSLEY, JAMES R     11215 CHILLICOTHE RD                                                                                     CHESTERLAND      OH      44026‐1403
HENSLEY, JAMES R     9 WHITEWOOD CT                                                                                           BEECH GROVE      IN      46107‐2615
HENSLEY, JAMES R     4436 TOLEDO ST                                                                                           DETROIT          MI      48209‐1369
HENSLEY, JAMES R     717 JEROME ST                                                                                            MONROE           MI      48161‐1101
HENSLEY, JAMES S     SIMMONS FIRM                          PO BOX 559                                                         WOOD RIVER       IL      62095‐0559
HENSLEY, JAMES U     2530 WALNUT ST                                                                                           GIRARD           OH      44420‐3153
HENSLEY, JAMES W     PO BOX 149                                                                                               MANILLA          IN      46150‐0149
HENSLEY, JANET R     1402 YOULL ST                                                                                            NILES            OH      44446‐3836
HENSLEY, JANET R     1402 YOULL ST.                                                                                           NILES            OH      44446‐3836
HENSLEY, JEAN E      2305 N ELM ST                                                                                            GREENSBORO       NC      27408‐5119
HENSLEY, JEFF C      242 N HOUSTON PIKE                                                                                       SOUTH VIENNA     OH      45369‐9746
HENSLEY, JEFFREY W   4053 SYLVIA LN                                                                                           YOUNGSTOWN       OH      44511‐3411
HENSLEY, JERRY A     23365 HUMPHREYS RD                                                                                       PLATTE CITY      MO      64079‐8285
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Name                     Address1                       Address2            Address3         Address4               City            State   Zip
HENSLEY, JERRY L         336 E THORNRIDGE LN                                                                        MOUNT MORRIS     MI     48458‐9124
HENSLEY, JERRY R         2611 DELAWARE ST                                                                           ANDERSON         IN     46016‐5226
HENSLEY, JERRY W         509 W MCGREGOR RD                                                                          INDIANAPOLIS     IN     46217‐5335
HENSLEY, JEWEL B         26363 RUTHERFORD RD                                                                        ALBANY           OH     45710‐9045
HENSLEY, JIM
HENSLEY, JIMMIE          7521 WHITMORE LAKE RD                                                                      WHITMORE LAKE   MI      48189‐9554
HENSLEY, JIMMIE H        2545 TATUMSVILLE HWY                                                                       GILBERTSVILLE   KY      42044‐9122
HENSLEY, JO B            116 PARKRIDGE DR                                                                           DANVILLE        IN      46122‐1337
HENSLEY, JOAN M          4905 GREENWOOD                                                                             SHEFFIELD LK    OH      44054‐1518
HENSLEY, JOAN M.         14834 ASTER AVE                                                                            ALLEN PARK      MI      48101‐1611
HENSLEY, JOHN E          104 N ORCHARD DR                                                                           MUNCIE          IN      47303‐4542
HENSLEY, JOHN T          13597 DIXIE HWY                                                                            BIRCH RUN       MI      48415‐9328
HENSLEY, JOHN T          9182 S RIVER RD                                                                            MIAMISBURG      OH      45342‐4230
HENSLEY, JOHN T          13597 DIXIE HIGHWAY                                                                        BIRCH RUN       MI      48415‐9328
HENSLEY, JOHNNY L        450 S CHRISTY CHAPEL RD                                                                    PORT CLINTON    OH      43452‐2508
HENSLEY, JONATHAN B
HENSLEY, JOSEPH R        PO BOX 157                                                                                 HITCHINS        KY      41146‐0157
HENSLEY, JR.,MICHAEL L   4212 CENTRAL AVE                                                                           MIDDLETOWN      OH      45044‐5116
HENSLEY, JR.,MICHAEL W   6403 EARLINGTON STREET                                                                     DAYTON          OH      45424‐1711
HENSLEY, JR.,ROBERT F    11857 COREY LAKE ROAD                                                                      THREE RIVERS    MI      49093‐9143
HENSLEY, JUDITH A        2904 W 25TH ST                                                                             ANDERSON        IN      46011‐4612
HENSLEY, JUDY M          P O BOX 2478                                                                               MARION          NC      28752‐2478
HENSLEY, JUDY M          PO BOX 2478                                                                                MARION          NC      28752‐2478
HENSLEY, JUDY R          928 LILLIAN ST                                                                             COLLINSVILLE    IL      62234‐2046
HENSLEY, JUDY R          928 LILLIAN ST.                                                                            COLLINSVILLE    IL      62234‐2234
HENSLEY, KARA E          576 KING DRIVE                                                                             INDIANAPOLIS    IN      46260‐3523
HENSLEY, KENNETH         2831 FRAZER RD                                                                             NEWARK          DE      19702‐4533
HENSLEY, KENNETH E       1179 APACHE TRL                                                                            JAMESTOWN       OH      45335‐1301
HENSLEY, LARRY           PO BOX 35                                                                                  DEWITT          KY      40930‐0035
HENSLEY, LARRY G         9257 LEROY RD                                                                              BROWNSBURG      IN      46112‐8693
HENSLEY, LARRY M         2840 LOCUST DR                                                                             INDIANAPOLIS    IN      46227‐6700
HENSLEY, LARRY MICHAEL   2840 LOCUST DR                                                                             INDIANAPOLIS    IN      46227‐6700
HENSLEY, LARRY R         14521 NE 349 HWY                                                                           BRANFORD        FL      32008‐8905
HENSLEY, LARRY T         6507 E PIERSON RD                                                                          FLINT           MI      48506‐2200
HENSLEY, LAURENCE E      2186 RIFLE RIVER TRL                                                                       WEST BRANCH     MI      48661‐9711
HENSLEY, LAVERN          121 LORRIES RD                                                                             CHUCKEY         TN      37641‐2347
HENSLEY, LENORA          1766 S 300 E                                                                               ANDERSON        IN      46017‐2040
HENSLEY, LEWIS B         197 WOODSIDE ST                                                                            HARROGATE       TN      37752‐7402
HENSLEY, LEWIS L         300 KENNELY RD APT 311                                                                     SAGINAW         MI      48609‐7707
HENSLEY, LISA A          6345 SAXONY RD                                                                             MIAMISBURG      OH      45342‐4245
HENSLEY, LLOYD           175 LLOYD HENSLEY LN                                                                       ERWIN           TN      37650‐4527
HENSLEY, LONNIE          12299 WELLS RD                                                                             MILAN           MI      48160‐9129
HENSLEY, LOREN K         4143 N 600 E                                                                               VAN BUREN       IN      46991‐9404
HENSLEY, LOREN T         PO BOX 2901                                                                                ANDERSON        IN      46018
HENSLEY, LOWELL K        10845 GETZ ST                                                                              ELYRIA          OH      44035‐7935
HENSLEY, LUCRETIA E      1014 LONE RD                                                                               SNEEDVILLE      TN      37869‐6836
HENSLEY, LUTHER J        4821 S STATE ROAD 13                                                                       LAPEL           IN      46051‐9721
HENSLEY, LYNETTA I       2129 WOODVIEW DRIVE                                                                        MARION          IN      46952
HENSLEY, LYNETTA I       2129 W WOODVIEW DR                                                                         MARION          IN      46952‐1569
HENSLEY, MAE P           501 BEAR RD                                                                                LAKE PLACID     FL      33852‐9710
HENSLEY, MARI A          1105 SOMERS GRATIS RD                                                                      CAMDEN          OH      45311‐8850
HENSLEY, MARILYN K       2003 PARSONS DR A                                                                          INDIANAPOLIS    IN      46224
HENSLEY, MARK E          511 BEAR RD                                                                                LAKE PLACID     FL      33852‐9726
HENSLEY, MARTHA L        152 TRAILS END                                                                             BROWNSBURG      IN      46112‐9245
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Name                     Address1                      Address2                      Address3   Address4               City             State   Zip
HENSLEY, MARY A          PO BOX 930598                                                                                 WIXOM             MI     48393‐0598
HENSLEY, MARY A          100 LIMERICK CIRCLE                                                                           SUMMERVILLE       SC     29483
HENSLEY, MARY FRANCES    124 BRADFORD LANE                                                                             WHITEVILLE        NC     28472
HENSLEY, MARY FRANCES    124 BRADFORD LN                                                                               WHITEVILLE        NC     28472‐9624
HENSLEY, MARY J          G‐4237 W COURT ST APT 53                                                                      FLINT             MI     48532
HENSLEY, MARY L          2886 OAKDALE DRIVE                                                                            ANN ARBOR         MI     48108‐1252
HENSLEY, MELANIE A       630 OAK ST                                                                                    DAYTON            OH     45410
HENSLEY, MELVIN V        3420 CENTENNIAL RD                                                                            MARTINSVILLE      IN     46151‐6657
HENSLEY, MICHAEL C       9382 E ARBOR DR                                                                               GREENWOOD VLG     CO     80111‐5263
HENSLEY, MICHAEL E       511 HEMINGWAY DR                                                                              COLUMBIA          TN     38401‐5309
HENSLEY, MICHAEL F       2800 WEST MEMORIAL DRIVE      # 57 FREEDOM ACRES                                              MUNCIE            IN     47302
HENSLEY, MICHAEL H       1701 ARIZONA AVE                                                                              FLINT             MI     48506‐4628
HENSLEY, MICHAEL J       5737 CLEMENS DR               4479 EASTWOOD DRIVE                                             LOVELAND          OH     45140‐9271
HENSLEY, MICHAEL J       APT 17302                     4479 EASTWOOD DRIVE                                             BATAVIA           OH     45103‐2470
HENSLEY, MICHAEL L       4288 TROUSDALE LN                                                                             COLUMBIA          TN     38401‐8403
HENSLEY, MICHAEL L       1135 LEWIS RIDGE CIR                                                                          LAWRENCEVILLE     GA     30045‐7800
HENSLEY, MICHAEL LEE     1135 LEWIS RIDGE CIR                                                                          LAWRENCEVILLE     GA     30045‐7800
HENSLEY, MICHAEL T       8468 W 300 S                                                                                  FARMLAND          IN     47340‐9006
HENSLEY, MICHAEL T       1930 N TREE ST                                                                                PARKER CITY       IN     47368‐9310
HENSLEY, MILDRED         5533 HURLBUT ZONE 13                                                                          DETROIT           MI     48213
HENSLEY, MURLE E         TRLR 159                      3325 NORTH NELLIS BOULEVARD                                     LAS VEGAS         NV     89115‐2842
HENSLEY, MURLE E         3908 HARTLINE DR                                                                              OKLAHOMA CITY     OK     73115
HENSLEY, NADEAN N        506 W 33RD ST                                                                                 ANDERSON          IN     46013‐4104
HENSLEY, NANCY           628 NOTRE DAME AVE                                                                            YOUNGSTOWN        OH     44515
HENSLEY, NANCY J         501 W LEXINGTON RD                                                                            EATON             OH     45320‐9274
HENSLEY, NANCY J         501 WEST LEXINGTON RD.                                                                        EATON             OH     45320‐5320
HENSLEY, NATHAN E        353 HENSON RD                                                                                 BOWLING GREEN     KY     42104‐7705
HENSLEY, NATHAN EDWARD   353 HENSON RD                                                                                 BOWLING GREEN     KY     42104‐7705
HENSLEY, NICHOLAS        4105 TRESTLE CIR                                                                              CORPUS CHRISTI    TX     78416‐2611
HENSLEY, NINA F          6308 N RIDGE RD               C/O KIMBERLY EASTON                                             FORT WORTH        TX     76135‐1344
HENSLEY, NINA F          C/O KIMBERLY EASTON           6308 NORTH RIDGE ROAD                                           FORT WORTH        TX     76135
HENSLEY, OLLIE A         36604 ANGELINE CIR                                                                            LIVONIA           MI     48150‐2502
HENSLEY, OTIS E          84 LINDALE DR                                                                                 FAIRFIELD         OH     45014‐1554
HENSLEY, PATRICIA        1213 EMERALD FOREST LN                                                                        DAVISON           MI     48423‐9011
HENSLEY, PATRICIA N      4745 PINEDALE AVE                                                                             CLARKSTON         MI     48346‐3756
HENSLEY, PATSY E         2117 NAPOLEON ST                                                                              INDIANAPOLIS      IN     46203‐3910
HENSLEY, PATSY M         1139 RIPPLE AVE                                                                               PACIFIC GROVE     CA     93950‐2122
HENSLEY, PAULINE B       7415 HORIZON HILL DR                                                                          SPRINGBORO        OH     45066‐8732
HENSLEY, PEARL           US RT 68 N BOX 8375                                                                           WILMINGTON        OH     45177‐5177
HENSLEY, RALEIGH         3975 DARRTOWN RD                                                                              OXFORD            OH     45056‐9120
HENSLEY, RALEIGH S       3975 DARRTOWN RD                                                                              OXFORD            OH     45056‐9120
HENSLEY, RHONDA N        218 BRANDYWOOD CT                                                                             BOWLING GREEN     KY     42101‐3911
HENSLEY, RHONDA NICOLE   218 BRANDYWOOD CT                                                                             BOWLING GREEN     KY     42101‐3911
HENSLEY, RICHARD A       505 HOWARD CT                                                                                 FAIRMOUNT         IN     46928‐1332
HENSLEY, RICHARD D       25 CARNOUSTIE LN                                                                              SPRINGBORO        OH     45066‐1549
HENSLEY, RICHARD E       PO BOX 213                                                                                    PITTSBORO         IN     46167‐0213
HENSLEY, RICHARD L       2828 N STATE ROUTE 48                                                                         LEBANON           OH     45036‐2416
HENSLEY, RICHARD L       520 WILLIAMS HOLLOW RD                                                                        PULASKI           TN     38478‐7073
HENSLEY, RICHARD W       11630 SW TIMBERLINE DR                                                                        BEAVERTON         OR     97008‐6303
HENSLEY, RILEY S         11600N 750 E                                                                                  OSSIAN            IN     46777
HENSLEY, ROBERT C        291 CHURCH STREET                                                                             MARION            NC     28752‐3201
HENSLEY, ROBERT L        555 MAPLE RUN                                                                                 FLAG POND         TN     37657‐2052
HENSLEY, ROBERTA L       35051 SANSBURN ST                                                                             WESTLAND          MI     48186‐4286
HENSLEY, RODNEY L        14003 WILSON ST                                                                               GRAND BLANC       MI     48439‐9398
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Name                      Address1                        Address2                        Address3   Address4               City               State   Zip
HENSLEY, RODNEY LEE       14003 WILSON ST                                                                                   GRAND BLANC         MI     48439‐9398
HENSLEY, ROGER H          9203 206TH STREET CT E                                                                            GRAHAM              WA     98338‐9230
HENSLEY, RONALD D         SUTTER & ENSLEIN                1598 KANAWHA BLVD EAST, SUITE                                     CHARLESTON          WV     25311
HENSLEY, RONALD D         594 WARD CEMETERY RD                                                                              CORBIN              KY     40701‐9585
HENSLEY, RONALD D         8435 WHITTAKER RD                                                                                 YPSILANTI           MI     48197‐9433
HENSLEY, RONALD DALE      8435 WHITTAKER RD                                                                                 YPSILANTI           MI     48197‐9433
HENSLEY, RONALD J         2899 E 1250 N                                                                                     ALEXANDRIA          IN     46001‐8804
HENSLEY, RONALD R         3027 SPRINGVALE RD                                                                                MORRISTOWN          TN     37813‐3243
HENSLEY, RONNIE L         PO BOX 306                                                                                        BAINBRIDGE          IN     46105‐0306
HENSLEY, ROSALIE N        206 RED OAK ST                                                                                    CORBIN              KY     40701‐8769
HENSLEY, ROXANNE          INGERMAN AND HORWITZ LLP        20 PARK AVE                                                       BALTIMORE           MD     21201‐3423
HENSLEY, ROY C            2900 GULF TO BAY BLVD LOT 140                                                                     CLEARWATER          FL     33759‐4219
HENSLEY, ROY J            PO BOX 574                                                                                        LAINGSBURG          MI     48848‐0574
HENSLEY, RUBY J           5152 MORRISH RD APT 28                                                                            SWARTZ CREEK        MI     48473‐1801
HENSLEY, RUTH M           619 MT VERNON LN                                                                                  DUNCAN              SC     29334‐8711
HENSLEY, RUTH M           619 MOUNT VERNON LN                                                                               DUNCAN              SC     29334‐8711
HENSLEY, SAM B            2123 CHADBURY LN                                                                                  TOLEDO              OH     43614‐1121
HENSLEY, SANDRA M         5801 E MISTIC BAY PT                                                                              MARBLEHEAD          OH     43440‐9682
HENSLEY, SARAH MARIE      353 HENSON RD                                                                                     BOWLING GREEN       KY     42104‐7705
HENSLEY, SHELBY J         25038 FILMORE ST                                                                                  TAYLOR              MI     48180‐2039
HENSLEY, SHELBY J         25038 FILMORE                                                                                     TAYLOR              MI     48180‐2039
HENSLEY, SHYRIL J         594 WARD CEMETERY RD                                                                              CORBIN              KY     40701‐9585
HENSLEY, SOPHIA
HENSLEY, STACEY L         43823 FALLEN TREE DR                                                                              STERLING HEIGHTS   MI      48314‐2053
HENSLEY, STEVEN D         6413 W TAYLOR RD                                                                                  MUNCIE             IN      47304‐4761
HENSLEY, STEVEN J         5846 JENNY MARIE CT                                                                               HAMILTON           OH      45011
HENSLEY, STEVEN J         7105 WANDA LN                                                                                     SHREVEPORT         LA      71107‐9373
HENSLEY, STEVEN JOE       7105 WANDA LN                                                                                     SHREVEPORT         LA      71107‐9373
HENSLEY, SUSAN            1616 ZURICH DRIVE                                                                                 SPRING HILL        TN      37174‐7180
HENSLEY, SYDNEY W         259 PEBBLE BEACH CIRCLE                                                                           NAPLES             FL      34113‐7654
HENSLEY, TED G            311 MILLVILLE OXFORD RD                                                                           HAMILTON           OH      45013‐4433
HENSLEY, TERRY D          501 BEAR RD                                                                                       LAKE PLACID        FL      33852‐9710
HENSLEY, TERRY L          416 E 38TH ST                                                                                     ANDERSON           IN      46013‐4650
HENSLEY, TESTER           3185 MAPLE CREEK RD                                                                               WILLIAMSBURG       KY      40769‐7248
HENSLEY, THEODORE D       5304 LIZ LN                                                                                       ANDERSON           IN      46017‐9669
HENSLEY, THOMAS B         3440 S STATE ROAD 19                                                                              TIPTON             IN      46072‐8900
HENSLEY, THOMAS R         1745 SMITH ST                                                                                     YPSILANTI          MI      48198‐6700
HENSLEY, THOMAS RANDALL   1745 SMITH ST                                                                                     YPSILANTI          MI      48198‐6700
HENSLEY, TODD M           2852 RAXIT CT                                                                                     XENIA              OH      45385
HENSLEY, TRACY L          23604 36TH AVE LOT 26                                                                             RAVENNA            MI      49451
HENSLEY, VERLON R         2729 S 300 E                                                                                      ANDERSON           IN      46017‐9724
HENSLEY, VERNON           6783 BISCHOFF ROAD                                                                                WEST HARRISON      IN      47060
HENSLEY, VIVIAN ANN       7 MALAT DR                                                                                        GREENWOOD          IN      46143‐8156
HENSLEY, WALLACE          8930 SCHLOTTMAN RD                                                                                MAINEVILLE         OH      45039‐8627
HENSLEY, WALTER C         RR 2 BOX 372                                                                                      ROSE HILL          VA      24281‐9622
HENSLEY, WALTER C         RT 2, BOX 372                                                                                     ROSEHILL           VA      24281
HENSLEY, WENDELL H        425 E CARPENTER DR                                                                                NEW CARLISLE       OH      45344‐2528
HENSLEY, WILBURN          PO BOX 892                                                                                        STOLLINGS          WV      25646‐0892
HENSLEY, WILLARD          116 CASTANEA DR                                                                                   MASON              OH      45040‐2109
HENSLEY, WILLARD A        4850 CECELIA ANN AVE                                                                              CLARKSTON          MI      48346‐3900
HENSLEY, WILLIAM F        106 EVERGREEN LN                                                                                  UNIONVILLE         TN      37180‐2504
HENSLEY, WILLIAM G        6124 GRAND BLANC RD                                                                               SWARTZ CREEK       MI      48473‐9442
HENSLEY, WILLIAM GEORGE   6124 GRAND BLANC RD                                                                               SWARTZ CREEK       MI      48473‐9442
HENSLEY, WILLIAM S        1523 KENTON ST                                                                                    FERNDALE           MI      48220‐1616
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Name                                 Address1                      Address2                       Address3   Address4               City           State   Zip
HENSLEY, WILLIAM T                   1402 YOULL ST                                                                                  NILES           OH     44446‐3836
HENSLEY, WILMA R                     1386 FALKE DR                                                                                  DAYTON          OH     45432‐3141
HENSMAN, CRAIG D                     17196 KENNEBEC ST                                                                              RIVERVIEW       MI     48193‐7608
HENSMAN, CRAIG DONALD                17196 KENNEBEC ST                                                                              RIVERVIEW       MI     48193‐7608
HENSON ASHLEE                        HENSON, ASHLEE                12740 WEST INDIAN SCHOOL APT                                     LITCHFIELD      AZ     85340
HENSON ASHLEE                        SMITH, JUSTIN                 1151 E SHELTON SPRINGS RD                                        SHELTON         WA     98584‐9128
HENSON BARTON                        6100 S COUNTY ROAD 294 W                                                                       MUNCIE          IN     47302‐8950
HENSON BOBBIE                        PO BOX 845                                                                                     STANTON         TX     79782‐0845
HENSON CHARLES E (640561)            PAUL REICH & MYERS P.C.       1608 WALNUT ST STE 500                                           PHILADELPHIA    PA     19103‐5446
HENSON CHEVROLET BUICK PONTIAC GMC   105 S MAY ST                                                                                   MADISONVILLE    TX     77864‐2051

HENSON DALE L (641071)               SCHROETER GOLDMARK & BENDER   500 CENTRAL BLDG , 810 THIRD                                     SEATTLE        WA      98104
                                                                   AVENUE
HENSON DANIEL SR                       21 MECHANIC ST                                                                               OXFORD          NJ     07863‐3035
HENSON DONALD WAYNE (499325)           LIPMAN DAVID M              5901 SW 74TH ST STE 304                                          MIAMI           FL     33143‐5163
HENSON EDWARD                          HENSON, EDWARD
HENSON EYDIE                           6814 DICKSON RD                                                                              ARDMORE         OK     73401‐7882
HENSON HUEY E                          C/O EDWARD O MOODY PA       801 WEST 4TH STREET                                              LITTLE ROCK     AR     77201
HENSON HUEY E (662755)                 MOODY EDWARD O              801 W 4TH ST                                                     LITTLE ROCK     AR     72201‐2107
HENSON HUEY E (662755) ‐ ALEXANDER     MOODY EDWARD O
FRED L
HENSON HUEY E (662755) ‐ BROWN         MOODY EDWARD O
DONALD EDWARD
HENSON HUEY E (662755) ‐ CHUKES        MOODY EDWARD O
WALTER LEE
HENSON HUEY E (662755) ‐ FERRIS BILLY  MOODY EDWARD O
EUGENE
HENSON HUEY E (662755) ‐ FINLEY        MOODY EDWARD O
WILBERT L
HENSON HUEY E (662755) ‐ GENTRY LILLIE MOODY EDWARD O
BELL
HENSON HUEY E (662755) ‐ HARMON        MOODY EDWARD O
WILLIE
HENSON HUEY E (662755) ‐ HATFIELD      MOODY EDWARD O
MARVIN DALE
HENSON HUEY E (662755) ‐ JACKSON       MOODY EDWARD O
COVELLAR
HENSON HUEY E (662755) ‐ JILES JOHNNIE MOODY EDWARD O
S
HENSON HUEY E (662755) ‐ JOHNSON       MOODY EDWARD O
CLAUDE MONROE
HENSON HUEY E (662755) ‐ JONES         MOODY EDWARD O
KATHERINE
HENSON HUEY E (662755) ‐ KEMP FLOYD    MOODY EDWARD O
TIM
HENSON HUEY E (662755) ‐ LANCASTER     MOODY EDWARD O
GENE N
HENSON HUEY E (662755) ‐ LOY THOMAS E MOODY EDWARD O

HENSON HUEY E (662755) ‐ MARSHALL    MOODY EDWARD O
JAMES GARFIELD
HENSON HUEY E (662755) ‐ MCCOY       MOODY EDWARD O
REGINALD C
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Name                                   Address1                         Address2                        Address3                      Address4               City            State Zip
HENSON HUEY E (662755) ‐ MCGHEE JACK   MOODY EDWARD O
ELWOOD
HENSON HUEY E (662755) ‐ RADFORD ORA   MOODY EDWARD O
L
HENSON HUEY E (662755) ‐ ROGERS        MOODY EDWARD O
AUDREY
HENSON HUEY E (662755) ‐ RUSSELL       MOODY EDWARD O
WILLIAM LAWRENCE
HENSON HUEY E (662755) ‐ SCROGGINS     MOODY EDWARD O
CURTIS WAYNE
HENSON HUEY E (662755) ‐ SHAVERS       MOODY EDWARD O
SYLVESTER
HENSON HUEY E (662755) ‐ STANDRIDGE    MOODY EDWARD O
RONNIE SR
HENSON HUEY E (662755) ‐ TERRELL       MOODY EDWARD O
RONALD WAYNE
HENSON HUEY E (662755) ‐ THOMAS J W    MOODY EDWARD O

HENSON HUEY E (662755) ‐ VINCENT       MOODY EDWARD O
BOBBY LYNN
HENSON HUEY E (662755) ‐ WALKER        MOODY EDWARD O
CATHERINE
HENSON HUEY E (662755) ‐ WILLIETT TROY MOODY EDWARD O

HENSON HUEY E (662755) ‐ WILSON BENNY MOODY EDWARD O
WAYNE
HENSON JR, ALVIN C                    2913 KINCAID AVE                                                                                                       SAINT LOUIS     MO    63114‐4538
HENSON JR, E R                        56906 E WALNUT DR                                                                                                      MONKEY ISLAND   OK    74331‐8029
HENSON JR, ELVIS                      901 BROOKSIDE LANE                                                                                                     PLAINFIELD      IN    46168‐2107
HENSON JR, EUGENE D                   2875 WESTOVER DR                                                                                                       GRAND PRAIRIE   TX    75052‐8561
HENSON JR, JAMES W                    7536 CYNTHIA DR                                                                                                        INDIANAPOLIS    IN    46227‐2489
HENSON JR, LENARD V                   2462 MIAMI BEACH DR                                                                                                    FLINT           MI    48507‐1058
HENSON JR, RAYMOND O                  3225 E 42ND ST                                                                                                         INDIANAPOLIS    IN    46205‐3013
HENSON JR, WILLIAM                    1001 S 9TH ST APT 127                                                                                                  OKEMAH          OK    74859‐4309
HENSON MARC                           HENSON, MARC                      3 SUMMIT PARK DR STE 100                                                             INDEPENDENCE    OH    44131‐2598
HENSON OTIS F                         C/O EDWARD O MOODY P A            801 W 4TH ST                                                                         LITTLE ROCK     AR    72201
HENSON PAMELA J                       29210 BATES RD                                                                                                         PERRYSBURG      OH    43551‐3807
HENSON ROBERT                         1003 ROY AVE                                                                                                           WARRENTON       MO    63383
HENSON RUBY EMMALINE                  C/O EDWARD O MOODY P A            801 W 4TH ST                                                                         LITTLE ROCK     AR    72201
HENSON SALES & SERVICE, INC.          FRED HENSON                       201 N MAY ST                                                                         MADISONVILLE    TX    77864‐1637
HENSON SR, DAVID L                    LYNNE KIZIS ESQ                   WILENTZ GOLDMAN AND SPITZER     90 WOODBRIDGE CENTER DR                              WOODBRIDGE      NJ    07095

HENSON WAYNE                           HENSON, WAYNE                    203 NINTH STREET KRISE BLDG O                                                        LYNCHBURG        VA   24505
HENSON WAYNE                           H&H SALES INC                    FEINMAN JAMES B & ASSOCIATES    203 NINTH STREET KRISE BLDG                          LYNCHBURG        VA   24505
                                                                                                        , P O BOX 697
HENSON, ALAN D                         120 S SCATTERFIELD RD                                                                                                 ANDERSON        IN    46012‐3105
HENSON, ALBERTA L                      420 WASHINGTON DR                                                                                                     ARLINGTON       TX    76011‐2252
HENSON, ALFRED W                       232 WOODSPRINGS RD                                                                                                    LOGANSPORT      LA    71049‐2457
HENSON, ALFRED WILLIAM                 232 WOODSPRINGS RD                                                                                                    LOGANSPORT      LA    71049‐2457
HENSON, ALMA J                         191 ORINOCO ST                                                                                                        DAYTON          OH    45431‐2069
HENSON, ALMA J                         191 ORINOCO STREET                                                                                                    DAYTON          OH    45431‐2069
HENSON, ALVA M                         813 PALOS VERDES                                                                                                      GRAND PRAIRIE   TX    75052‐5330
HENSON, ANN                            1601 THAMES CT APT C                                                                                                  WHEATON         IL    60189‐8334
HENSON, ANNA W                         3113 POPLAR ST                                                                                                        ANDERSON        IN    46012‐1142
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Name                        Address1                            Address2                      Address3   Address4               City              State   Zip
HENSON, ASHLEE              12740 W INDIAN SCHOOL RD APT B210                                                                   LITCHFIELD PARK    AZ     85340‐6543
HENSON, AVIS R              3222 VILLAGE DR                                                                                     AVENEL             NJ     07001‐1061
HENSON, BARBARA ELLEN       P. O. BOX 1528                                                                                      YUCCA VALLEY       CA     92286‐1528
HENSON, BARBARA ELLEN       PO BOX 1528                                                                                         YUCCA VALLEY       CA     92286‐1528
HENSON, BETTY L             3273 VERNELL DR                                                                                     DAYTON             OH     45449‐2758
HENSON, BETTY L             7819 TETON VIEW DR APT 104                                                                          MEMPHIS            TN     38125‐6537
HENSON, BEVERLY A           1910 RUSSELL RD                                                                                     SHREVEPORT         LA     71107‐6332
HENSON, BEVERLY ANN         1910 RUSSELL RD                                                                                     SHREVEPORT         LA     71107‐6332
HENSON, BILLIE A            2188 E BERGIN AVE                                                                                   BURTON             MI     48529‐1782
HENSON, BILLY C             2113 ROLLINS ST                                                                                     GRAND BLANC        MI     48439‐4358
HENSON, BILLY R             4944 SWEETBIRCH DR                                                                                  DAYTON             OH     45424‐4827
HENSON, BOBBIE E            669 RED BONE RIDGE RD SE                                                                            RANGER             GA     30734‐9523
HENSON, BOBBY M             1303 STONEYBROOK DR                                                                                 TUCKER             GA     30084‐1247
HENSON, BOY                 106 E PLEASANT ST                                                                                   RIVER ROUGE        MI     48218‐1628
HENSON, BRENDA K            909 S POPLAR AVE                                                                                    BROKEN ARROW       OK     74012‐4946
HENSON, BRENDA S            5353 TOMAHAWK AVENUE                                                                                FAIRFIELD          OH     45014‐3331
HENSON, BRET W              3227 WAUKEGAN ST                                                                                    AUBURN HILLS       MI     48326‐3270
HENSON, BUANNA              OVERBAY TRAILOR PARK LOT 62                                                                         RICHMOND           KY     40475
HENSON, BUDDY G             4534 BLUEBERRY AVE                                                                                  DAYTON             OH     45406‐3327
HENSON, CARL H              1523 W 5TH ST                                                                                       MARION             IN     46953‐1320
HENSON, CARL N              1414 HAYES AVE                                                                                      SANDUSKY           OH     44870‐3304
HENSON, CAROLE A            2205 N BELL ST                                                                                      KOKOMO             IN     46901
HENSON, CASSIE
HENSON, CHARLES             239 LONG POINT DR                                                                                   ROCK ISLAND       TN      38581‐3424
HENSON, CHARLES E           C/O PAUL REICH & MYERS P.C.         1608 WALNUT ST STE 500                                          PHILADELPHIA      PA      19103‐5446
HENSON, CHARLES E           PO BOX 364                                                                                          EDGEWOOD          TX      75117‐0364
HENSON, CHARLES R           780 STATE ROAD 261                                                                                  BOONVILLE         IN      47601
HENSON, CHRIS               86 BARRINGTON CIR                                                                                   PADUCAH           KY      42003‐8895
HENSON, CHRISTOPHER J       1155 MEADOWLARK DR                                                                                  WATERFORD         MI      48327‐2956
HENSON, CHRISTOPHER JAMES   1155 MEADOWLARK DR                                                                                  WATERFORD         MI      48327‐2956
HENSON, CLARICE M           478 HIAWATHA DR                                                                                     CAROL STREAM      IL      60188‐1612
HENSON, D L                 669 RED BONE RIDGE RD SE                                                                            RANGER            GA      30734‐9523
HENSON, DALE D              9062 NOBLET RD                                                                                      DAVISON           MI      48423‐8792
HENSON, DALE L              C/O WATERS & KRAUS LLP              3219 MCKINNEY AVE                                               DALLAS            TX      75204
HENSON, DALE L              SCHROETER GOLDMARK & BENDER         500 CENTRAL BLDG, 810 THIRD                                     SEATTLE           WA      98104
HENSON, DARLENE             1555 N MAIN ST                                                                                      FRANKFORT         IN      46041‐1167
HENSON, DARLENE F           4944 SWEETBIRCH DR                                                                                  DAYTON            OH      45424‐4827
HENSON, DARRELL J           6832 SALINE DR                                                                                      WATERFORD         MI      48329‐1255
HENSON, DARYL L             15690 STOCKTON DR                                                                                   CLINTON TWP       MI      48038‐2676
HENSON, DAVID               GUY WILLIAM S                       PO BOX 509                                                      MCCOMB            MS      39649‐0509
HENSON, DAWN M              APT 60                              1606 THUNDERBIRD LANE                                           DAYTON            OH      45449‐2575
HENSON, DE J                4418 GREENBROOK LN                                                                                  FLINT             MI      48507‐6028
HENSON, DONALD G            3165 BRYANT LN                                                                                      MARIETTA          GA      30066‐4605
HENSON, DONALD L            9719 MARINO DR                                                                                      CINCINNATI        OH      45251‐2239
HENSON, DONALD W            915 LINWOOD DR APT 2                                                                                PARAGOULD         AR      72450‐4827
HENSON, DONALD WAYNE        THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD       SUITE 44                          CORAL GABLES      FL      33146
HENSON, DONALD WAYNE        LIPMAN DAVID M                      5901 SW 74TH ST STE 304                                         MIAMI             FL      33143‐5163
HENSON, DONNA J             9168 WARD NORTH ROAD                                                                                KINSMAN           OH      44428‐9539
HENSON, DONNA K             404 MITCHELL RD                                                                                     BAINBRIDGE        OH      45612‐9757
HENSON, DONNA S             758 FAIRVIEW AVE APT A                                                                              HAMILTON          OH      45015‐1526
HENSON, DORINDA A           PO BOX 284                                                                                          CANFIELD          OH      44406‐0284
HENSON, E DELORES           541 LOMBARD ST                                                                                      MARIETTA          GA      30064
HENSON, EARLINE E           385 E. WOODSIDE                                                                                     HOLLAND           OH      43528‐8123
HENSON, EARLINE E           385 E WOODSIDE TER                                                                                  HOLLAND           OH      43528‐8123
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Name                  Address1                         Address2            Address3         Address4               City               State   Zip
HENSON, ETHEL M       120 ALDEA DRIVE                                                                              SEBASTIAN           FL     32958‐6949
HENSON, FRANK         GUY WILLIAM S                    PO BOX 509                                                  MCCOMB              MS     39649‐0509
HENSON, GARY G        208 OROARK ST                                                                                CUMBERLAND          KY     40823‐1520
HENSON, GARY L        499 S HURD RD                                                                                OXFORD              MI     48371‐2831
HENSON, GARY L        1396 KNOLLRIDGE LN                                                                           FLINT               MI     48507‐5610
HENSON, GARY L        110 GULF SHORE DR UNIT 321                                                                   DESTIN              FL     32541‐5036
HENSON, GENE J        10041 N GENESEE RD                                                                           MOUNT MORRIS        MI     48458‐9735
HENSON, GEORGE W      1602 PARK DR                                                                                 MIDDLETOWN          OH     45044‐6350
HENSON, GEORGE W      605 SW 156TH ST                                                                              OKLAHOMA CITY       OK     73170‐7617
HENSON, GERALD        4811 LEATHERWOOD RD                                                                          BEDFORD             IN     47421‐8795
HENSON, GERALD D      749 CRICKET CT                                                                               PORT ORANGE         FL     32129‐3670
HENSON, GLORIA B      HC2 BOX 94AD                                                                                 WILLIAMSVILLE       MO     63967‐9415
HENSON, GRETA H.      6535 HYTHE RD                                                                                INDIANAPOLIS        IN     46220‐4271
HENSON, H D           604 PECAN ST                                                                                 TUTTLE              OK     73089‐7802
HENSON, H DWIGHT      604 PECAN STREET                                                                             TUTTLE              OK     73089‐7802
HENSON, HARRY F       4630 TAM OSHANTER DR                                                                         WESTLAKE VILLAGE    CA     91362‐4331

HENSON, HILLA MAE     25034 CHARLES                                                                                TAYLOR             MI      48180‐1583
HENSON, HILLA MAE     25034 CHARLES ST                                                                             TAYLOR             MI      48180‐1583
HENSON, HOSEA L       780 WINFREY RD                                                                               KILMICHAEL         MS      39747‐9547
HENSON, HUEY E        MOODY EDWARD O                   801 W 4TH ST                                                LITTLE ROCK        AR      72201‐2107
HENSON, IRIS E        5527 S RAINBOW LN                                                                            WATERFORD          MI      48329‐1560
HENSON, JACK          1600 DOERR RD                                                                                MANCELONA          MI      49659‐8640
HENSON, JACKIE M      348 SHACKELFORD RD                                                                           GRIFFIN            GA      30224‐7394
HENSON, JACKIE M      348 SHACKLEFORD RD                                                                           GRIFFIN            GA      30224‐7394
HENSON, JAMES         1547 ORTON RD                                                                                MURPHY             NC      28906‐4367
HENSON, JAMES D       3141 HEMLOCK PL                                                                              MANSFIELD          OH      44903‐8415
HENSON, JAMES D       16647 FARM ROAD 1027                                                                         EXETER             MO      65647‐8192
HENSON, JAMES H       2673 S SALIDA DEL SOL CT C                                                                   CHANDLER           AZ      85248
HENSON, JAMES L       2602 R ST                                                                                    BEDFORD            IN      47421‐4934
HENSON, JAMES T       11358 PRICE RD                                                                               DUNCANVILLE        AL      35456‐2305
HENSON, JAMES T       11358 PRICE ROAD                                                                             DUNCANVILLE        AL      35456‐2305
HENSON, JAMES W       PO BOX 93                                                                                    BLUE RIVER         KY      41607‐0093
HENSON, JAMES W       6926 S MARSHFIELD AVE                                                                        CHICAGO            IL      60636
HENSON, JAMES W       1550 BURNISON RD                                                                             MANSFIELD          OH      44903‐8939
HENSON, JASON D       68 EASTERN AVE                                                                               TOLEDO             OH      43609‐2609
HENSON, JEFF T        3549 SMOKETREE AVE                                                                           CARSON CITY        NV      89705‐8015
HENSON, JEFF TAYLOR   3549 SMOKETREE AVE                                                                           CARSON CITY        NV      89705‐8015
HENSON, JEFFREY       1086 MARYLAND ST                                                                             GROSSE POINTE      MI      48230‐1347
                                                                                                                   PARK
HENSON, JEFFREY A     10060 EL‐AN‐JA                                                                               MIAMISBURG         OH      45342
HENSON, JERRY
HENSON, JIMMY L       6262 GERMANTOWN LIBERTY RD                                                                   GERMANTOWN         OH      45327‐9523
HENSON, JIMMY LEE     6262 GERMANTOWN LIBERTY RD                                                                   GERMANTOWN         OH      45327‐9523
HENSON, JIMMY W       460 LAUGHBAUM DR                                                                             GALION             OH      44833‐1036
HENSON, JOANN M       4639 DAVISON RD                                                                              LAPEER             MI      48446
HENSON, JOANNE K      PO BOX 292234                                                                                KETTERING          OH      45429‐5429
HENSON, JOANNE K      2343 OMAHA PLACE                                                                             LEWIS CENTER       OH      43035‐9144
HENSON, JOHN A        5240 OAKHILL DR                                                                              SWARTZ CREEK       MI      48473‐8597
HENSON, JOHN J        G3516 CONCORD ST                                                                             FLINT              MI      48504‐6537
HENSON, JOHN R        1155 BROCKWAY RD                                                                             ROME               OH      44085‐9722
HENSON, JOHN T        11825 DIEHL DR                                                                               STERLING HTS       MI      48313‐2427
HENSON, JOSEPH T      RR 2 BOX 2110                                                                                PIEDMONT           MO      63957‐9602
HENSON, JOSHUA
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Name                   Address1                       Address2            Address3         Address4               City               State   Zip
HENSON, JUDITH G       39 LONGERON DR                                                                             MIDDLE RIVER        MD     21220‐4525
HENSON, KATHRYN D      708 NUE WAY DR                                                                             LEBANON             OH     45036‐8088
HENSON, KENNETH W      GENERAL DELIVERY                                                                           PLANT CITY          FL     33564‐9999
HENSON, KENNETH W      20 C ST                                                                                    PLANT CITY          FL     33563‐2918
HENSON, LARRY          35731 AVONDALE ST                                                                          WESTLAND            MI     48186‐4181
HENSON, LARRY G        1449 FRYE RD                                                                               COLUMBIA            TN     38401‐7282
HENSON, LARRY R        5481 MAPLE PARK DR                                                                         FLINT               MI     48507‐3902
HENSON, LARRY W        15356 HEALY LAKE RD                                                                        BEAR LAKE           MI     49614‐9655
HENSON, LAVERNE A      223 STATE ROUTE 511                                                                        NOVA                OH     44859‐9780
HENSON, LEE W          1929 GLEN ARBOR DR                                                                         TOLEDO              OH     43614‐3206
HENSON, LEE WAYNE      1929 GLEN ARBOR DR                                                                         TOLEDO              OH     43614‐3206
HENSON, LELON C        2929 BRECKENRIDGE DR SW                                                                    DECATUR             AL     35603‐4133
HENSON, LENARD M       G3446 CLEMENT ST                                                                           FLINT               MI     48504‐2451
HENSON, LENIS A        515 FOLIAGE LN                                                                             SPRINGBORO          OH     45066‐9320
HENSON, LESLIE D       11155 E POTTER RD                                                                          DAVISON             MI     48423‐8154
HENSON, LEWIS          182 CLEARVIEW CIR                                                                          HENDERSONVILLE      TN     37075‐2518
HENSON, LINDA L        605 SW 156TH ST                                                                            OKLAHOMA CITY       OK     73170‐7617
HENSON, LONNIE D       2105 S MAPLE RUN                                                                           WARSAW              IN     46580‐7350
HENSON, LONNIE DARYL   2105 S MAPLE RUN                                                                           WARSAW              IN     46580‐7350
HENSON, LUE E          4935 ROCKPORT DR                                                                           DALLAS              TX     75232‐1333
HENSON, MADGE L        3900 HAMMERBERG RD APT 329                                                                 FLINT               MI     48507‐6027
HENSON, MARCIA L       5240 OAKHILL DR                                                                            SWARTZ CREEK        MI     48473‐8597
HENSON, MARIE D        315 E 53RD STREET                                                                          ANDERSON            IN     46013
HENSON, MARY           3836 BENNETT RD.                                                                           CINCINNATI          OH     45245
HENSON, MARY M         1821 W BRADFORD ST APT 308                                                                 MARION              IN     46952‐2377
HENSON, MARY V         409 COON CLUB LANE                                                                         DYERSBURG           TN     38024‐6899
HENSON, MAVIS          630 LITTLE BIRDSONG RD                                                                     CAMDEN              TN     38320‐7125
HENSON, MELVIN D       403 W 101ST ST                                                                             LOS ANGELES         CA     90003‐4401
HENSON, MICHAEL A      2423 MIAMI BEACH DR                                                                        FLINT               MI     48507‐1057
HENSON, MICHAEL D      8735 S 400 E                                                                               MARKLEVILLE         IN     46056‐9791
HENSON, MICHAEL L      G3446 CLEMENT ST                                                                           FLINT               MI     48504‐2451
HENSON, MIKA           BADDERS LAW OFFICE             302 S BYNUM ST                                              LUFKIN              TX     75904‐3905
HENSON, MIKI L         101 GRIGSBY ST                                                                             NEWCASTLE           OK     73065‐5906
HENSON, NANCY S        PO BOX 161                                                                                 ASTATULA            FL     34705‐0161
HENSON, NEAL C         10222 STANLEY RD                                                                           FLUSHING            MI     48433‐9259
HENSON, NORA JEAN      7811 CONTOUR DRIVE                                                                         ST LOUIS            MO     63121‐2165
HENSON, OLAN           2270 S TERM ST                                                                             BURTON              MI     48519‐1031
HENSON, OTIS F         MOODY EDWARD O                 801 W 4TH ST                                                LITTLE ROCK         AR     72201‐2107
HENSON, PAMELA F       318 TRAILS WAY                                                                             MIAMISBURG          OH     45342‐2784
HENSON, PAMELA J       29210 BATES RD                                                                             PERRYSBURG          OH     43551‐3807
HENSON, PAMELA JEAN    29210 BATES RD                                                                             PERRYSBURG          OH     43551‐3807
HENSON, PATRICIA       893 CHAMPION FERRY RD                                                                      GAFFNEY             SC     29341‐5613
HENSON, PATRICIA J     1800 1ST ST                                                                                SAINT HELEN         MI     48656‐9739
HENSON, PATRICIA J     1951 REGINA DR                                                                             LAKE ALFRED         FL     33850‐6303
HENSON, PAUL           1240 SALT SPRINGS RD                                                                       WARREN              OH     44481‐8624
HENSON, PAUL G         6301 MILLER RD                                                                             WHITTEMORE          MI     48770‐9737
HENSON, PERRY
HENSON, PHILIP L       11 WINDSOR RD                                                                              NEWNAN             GA      30263‐4702
HENSON, PHYLLIS J      460 LAUGHBAUM DR                                                                           GALION             OH      44833‐1036
HENSON, RALPH E        9570 HELTON DR                                                                             FRANKLIN           OH      45005‐1002
HENSON, RALPH E        9570 HELTON AVE                                                                            FRANKLIN           OH      45005‐1002
HENSON, RANDY L        9168 WARD NORTH RD                                                                         KINSMAN            OH      44428‐9539
HENSON, RAYMOND D      105 W SHEFFIELD AVE                                                                        PONTIAC            MI      48340‐1851
HENSON, RICHARD C      41310 HARVARD DR                                                                           STERLING HEIGHTS   MI      48313‐3632
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Name                      Address1                       Address2                Address3     Address4               City               State   Zip
HENSON, RICHARD CHARLES   41310 HARVARD DR                                                                           STERLING HEIGHTS    MI     48313‐3632
HENSON, RICK A            1317 E DODGE RD                                                                            MOUNT MORRIS        MI     48458‐9137
HENSON, RICK ANDREW       1317 E DODGE RD                                                                            MOUNT MORRIS        MI     48458‐9137
HENSON, RICKY G           284 SKINNER RD                                                                             MILNER              GA     30257
HENSON, ROBERT            1003 ROY AVE                                                                               WARRENTON           MO     63383‐2210
HENSON, ROBERT A          1362 BALSLEY RD                                                                            STAUNTON            VA     24401‐6610
HENSON, ROBERT D          1800 1ST ST                                                                                SAINT HELEN         MI     48656‐9739
HENSON, ROBERT L          122 GREENSIDE DR                                                                           SOMERSET            KY     42501‐3067
HENSON, ROBERT L          873 OAKMONT DR                                                                             CROSSVILLE          TN     38555‐4874
HENSON, RONALD B          PO BOX 32                                                                                  RED BANK            NJ     07701‐0032
HENSON, RONALD D          6241 HILL RD                                                                               SWARTZ CREEK        MI     48473‐8270
HENSON, ROSIE L           3186 GERMANTOWN RD                                                                         MORAYIAN FLS        NC     28654‐9501
HENSON, ROY O             5340 BROBECK ST                                                                            FLINT               MI     48532‐4001
HENSON, RUBY D            20 LAWRENCE 549                                                                            ALICIA              AR     72410‐8916
HENSON, RUBY D            20 LAWRENCE ROAD 549                                                                       ALICIA              AR     72410‐8916
HENSON, RUBY EMMALINE     C/O MOODY                      801 WEST FOURTH ST                                          LITTLE ROCK         AR     72201
HENSON, RUTH C            1202 PLANTATION DR                                                                         VILLA RICA          GA     30180‐3937
HENSON, RUTH I            6482 E 100 N                                                                               KOKOMO              IN     46901‐9553
HENSON, SAM A             2149 KEEVEN LN                                                                             FLORISSANT          MO     63031
HENSON, SHANE A           APT 60                         1606 THUNDERBIRD LANE                                       DAYTON              OH     45449‐2575
HENSON, SHANE A           1606 THUNDERBIRD LN APT 60                                                                 WEST CARROLLTON     OH     45449‐2575

HENSON, SHEKETA M         444 STELLE AVE                                                                             PLAINFIELD         NJ      07060‐2327
HENSON, SHIRLEY J         5216 BASILICA DR APT 293                                                                   STOCKTON           CA      95207‐6041
HENSON, SR., DANIEL M     21 MECHANIC ST                                                                             OXFORD             NJ      07863‐3035
HENSON, SR.,DANIEL M      21 MECHANIC ST                                                                             OXFORD             NJ      07863‐3035
HENSON, STANLEY G         4400 S TRIPLE X RD                                                                         CHOCTAW            OK      73020‐5963
HENSON, STEPHANIE K       120 S SCATTERFIELD RD                                                                      ANDERSON           IN      46012‐3105
HENSON, TAMMY L           7840 CLEAR LAKE ROAD                                                                       BROWN CITY         MI      48416‐9640
HENSON, TERRY L           6556 S ELMWOOD ST                                                                          LITTLETON          CO      80120‐3225
HENSON, TEZELL            1228 N 9TH ST APT 611                                                                      SAINT LOUIS        MO      63106
HENSON, THOMAS E          9870 SKIFF RD                                                                              JEROME             MI      49249
HENSON, THOMAS E          2749 E SINCLAIR CT                                                                         CLOVERDALE         IN      46120‐8572
HENSON, THOMAS W          2466 W AUBURN RD                                                                           ROCHESTER HILLS    MI      48309‐4011
HENSON, VERNON R          11393 BERKSHIRE DR                                                                         CLIO               MI      48420‐2124
HENSON, VIRGINIA L        31 FLINDERS DR                                                                             VANCEBURG          KY      41179‐5639
HENSON, VIRGINIA L        251 THIRD STREET                                                                           VANCEBURG          KY      41179‐1012
HENSON, WALTER J          565 GROVELAND PKWY                                                                         LAWRENCEVILLE      GA      30045‐9390
HENSON, WALTER JERRY      565 GROVELAND PKWY                                                                         LAWRENCEVILLE      GA      30045‐9390
HENSON, WANDA L           11358 PRICE ROAD                                                                           DUNCANVILLE        AL      35456‐2305
HENSON, WANDA L           11358 PRICE RD                                                                             DUNCANVILLE        AL      35456‐2305
HENSON, WARREN L          2931 CLEMENT ST                                                                            FLINT              MI      48504‐3041
HENSON, WAY W             559 E 16TH ST                                                                              HOLLAND            MI      49423‐3753
HENSON, WESLEY B          4439 OLD FREDERICK RD                                                                      BALTIMORE          MD      21229‐2818
HENSON, WILLIAM C         5100 HIDDEN SPRINGS AVE                                                                    SARASOTA           FL      34234
HENSON, WILLIAM K         15333 COUNTY LINE STREET                                                                   THOMPSONVILLE      MI      49683‐9180
HENSON, XAVIER O          6004 CANDLEWOOD LN                                                                         SHREVEPORT         LA      71119‐6306
HENSON,DARLENE F          4944 SWEETBIRCH DR                                                                         DAYTON             OH      45424‐4827
HENSON‐BARBER, KELLY A    1681 US ROUTE 322                                                                          ORWELL             OH      44076‐8325
HENSTOCK, HERBERT W       11036 HEATHER LN                                                                           CANADIAN LAKES     MI      49346‐9696
HENTES, ELENA             1240 LABROSSE DR                                                                           WATERFORD          MI      48328‐3909
HENTGEN PAT               14451 KNIGHTSBRIDGE DR                                                                     SHELBY TOWNSHIP    MI      48315‐2823
HENTGEN, MICHAEL M        134 HUNTINGTON DR                                                                          ROSCOMMON          MI      48653‐9589
HENTGEN, WILLIAM J        4339 BRAYAN DR                                                                             SWARTZ CREEK       MI      48473‐8823
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Name                              Address1                        Address2                      Address3   Address4               City               State Zip
HENTGES, HENRIETTA M              6801 NW 72ND TER                                                                                KANSAS CITY         MO 64152‐2865
HENTGES, JULENE                   HAUER FARGIONE LOVE LANDY &     5901 CEDAR LAKE RD S                                            MINNEAPOLIS         MN 55416‐1488
                                  MCELLISTREM PA
HENTGES, MICHAEL L                1315 NE 103RD ST                                                                                KANSAS CITY        MO   64155‐1996
HENTGES, RALPH C                  8020 N HOPE AVE                                                                                 KANSAS CITY        MO   64151‐3748
HENTGES, ROXANE
HENTGES, TERRY
HENTHORN KENNETH (457364)         BRAYTON PURCELL                 PO BOX 6169                                                     NOVATO             CA   94948‐6169
HENTHORN MICHAEL (502522)         C/O PAUL REICH & MYERS PC       1608 WALNUT ST STE 500                                          PHILADELPHIA       PA   19103‐5446
HENTHORN, ALBERTA                 11310 CADIGAN DRIVE                                                                             ST LOUIS           MO   63138‐2324
HENTHORN, CHARLES R               5456 GRANTLAND DR                                                                               DAYTON             OH   45429‐2218
HENTHORN, EVELYN R                3121 SW 46TH ST                                                                                 OKLAHOMA CITY      OK   73119‐4409
HENTHORN, KENNETH                 BRAYTON PURCELL                 PO BOX 6169                                                     NOVATO             CA   94948‐6169
HENTHORN, MARK G                  3504 LA MANCHA DRIVE                                                                            JANESVILLE         WI   53546‐1323
HENTHORN, MICHAEL                 PAUL REICH & MYERS P.C.         1608 WALNUT ST STE 500                                          PHILADELPHIA       PA   19103‐5446
HENTHORN, STEVEN T                18293 HIGH POINT RD                                                                             VIOLA              WI   54664‐8786
HENTHORNE WALLACE WEST (401192)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                                  STREET, SUITE 600
HENTHORNE, JOHN L                 1436 GILBERT AVE                                                                                INDIANAPOLIS       IN   46227‐4665
HENTHORNE, MYRON L                1443 S PEARL ST                                                                                 JANESVILLE         WI   53546‐5576
HENTHORNE, WALLACE WEST           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
HENTON BRODIE                     12971 DUNSTONE DR                                                                               FLORISSANT         MO   63033‐4702
HENTON JR, TURNER C               16729 ROSEMONT AVE                                                                              DETROIT            MI   48219‐4116
HENTON WILLIAM D (493833)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                                  STREET, SUITE 600
HENTON, BEATRICE                  17620 MAGNOLIA PKWY                                                                             SOUTHFIELD         MI   48075‐7601
HENTON, CHARLES F                 404 E PERRY ST                                                                                  WALBRIDGE          OH   43465‐1203
HENTON, GALAWAY                   PO BOX 224                                                                                      BETSY LAYNE        KY   41605‐0224
HENTON, GREGG R                   PO BOX 2406                                                                                     BIRMINGHAM         MI   48012‐2406
HENTON, GREGG R                   1780 HAZEL ST                                                                                   BIRMINGHAM         MI   48009‐6892
HENTON, HATTIE Y                  PO BOX 3305                                                                                     DAYTON             OH   45401‐3305
HENTON, JANET                     18160 COTTONWOOD RD             RD. BOX 528                                                     SUNRIVER           OR   97707‐9317
HENTON, JOHN C                    4508 W 213TH ST                                                                                 FAIRVIEW PARK      OH   44126‐2106
HENTON, LEROY                     4414 STILLWELL AVE                                                                              LANSING            MI   48911‐2653
HENTON, MOSES P                   1375 LING DR                                                                                    AUSTELL            GA   30168‐5849
HENTON, SHIRLEY J                 21601 KIPLING ST                                                                                OAK PARK           MI   48237‐3823
HENTON, SHIRLEY J                 5507 E OUTER DR                                                                                 DETROIT            MI   48234‐3762
HENTON, VEDA                      4059 BRENTWOOD DRIVE                                                                            BIRMINGHAM         AL   35210‐3509
HENTON, WILLIAM D                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
HENTRUP, GARRY W                  3734 SHAFER CIR                                                                                 CARMEL             IN   46033‐4727
HENTSCH GEORGE                    8270 TURTLE CREEK CIR                                                                           LAS VEGAS          NV   89113‐0129
HENTSCHEL JOHN                    52380 MAURICE DR                                                                                MACOMB             MI   48042‐5639
HENTSCHEL JR, ERNEST              611 OHIO AVE                                                                                    MC DONALD          OH   44437‐1833
HENTSCHEL JR, GEORGE R            8113 FAWN AVENUE                                                                                SAINT LOUIS        MO   63144‐2526
HENTSCHEL, ERWIN E                4784 3 MILE RD                                                                                  BAY CITY           MI   48706‐9085
HENTSCHEL, JAMES E                6160 EASTMOOR RD                                                                                BLOOMFIELD HILLS   MI   48301‐1440
HENTSCHEL, MYRTLE                 4661 RIVERVIEW DR                                                                               WATERFORD          MI   48329‐3765
HENTSCHEL, PAULINE M              611 OHIO AVE.                                                                                   MCDONALD           OH   44437
HENTSCHEL, WARREN N               2634 SKYLARK ST                                                                                 ROCHESTER HILLS    MI   48309‐3449
HENTSCHELL, ROBERT G              PO BOX 392                      8458 ATWOOD ST                                                  MILLINGTON         MI   48746‐0392
HENTZ, ERIC                       668 HELMS ORANGE BOX 548                                                                        ROANOKE            IN   46783
HENTZELL, ROBERT L                7834 SUN FOREST DRIVE                                                                           SAN ANTONIO        TX   78239
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Name                           Address1                             Address2                         Address3   Address4               City              State   Zip
HENWOOD BROOKS, KELLE L        7358 S SHEEPHORN MTN                                                                                    LITTLETON          CO     80127‐3221
HENWOOD RICHARD                HENWOOD, RICHARD                     89 N HADDON AVE                                                    HADDONFIELD        NJ     08033‐2423
HENWOOD, CHARLES T             5911 KINGS ARMS RD                                                                                      WATERFORD          MI     48327‐3071
HENWOOD, JAMES G               1411 HAMPTON DR                                                                                         DEL CITY           OK     73115‐4934
HENY JANET                     HENY, JANET                          120 WEST MADISON STREET 10TH                                       CHICAGO             IL    60602
                                                                    FLOOR
HENYON, PATRICK M              1250 OLD MILFORD FARMS                                                                                  MILFORD           MI      48381‐3367
HENZ, JAMES D                  226 MILLER ST                                                                                           SOUTH BELOIT      IL      61080‐1245
HENZ, MICHAEL J                5172 TALLAWANDA DR                                                                                      FAIRFIELD         OH      45014‐2452
HENZ, RICHARD E                1602 MERILINE AVE                                                                                       DAYTON            OH      45410‐3332
HENZAREK, CHRISTINE A          PO BOX 185                                                                                              FENTON            MI      48430‐0185
HENZAREK, MARIAN F             1926 MONTEITH STREET                                                                                    FLINT             MI      48504
HENZAREK, RICHARD F            PO BOX 117                           18836 WEST H42                                                     GERMFASK          MI      49836‐0117
HENZAREK, ROBERT J             PO BOX 185                                                                                              FENTON            MI      48430‐0185
HENZE                          JUDY CANNING                         750 W MAPLE RD                                                     TROY              MI      48084‐5315
HENZE INDUSTRIES               JUDY CANNING                         31650 STEPHENSON HWY                                               MADISON HEIGHTS   MI      48071‐1642

HENZE INDUSTRIES               C/O PAULA HALL PLLC BROOKS WILKINS   401 S OLD WOODWARD AVE STE 460                                     BIRMINGHAM         MI     48009
                               SHARKEY & TURCO PLLC
HENZE STAMPING                 JUDY CANNING                         31650 STEPHENSON HWY                                               MADISON HEIGHTS    MI     48071‐1642

HENZE STAMPING & MFG CO        750 W MAPLE RD                                                                                          TROY               MI     48084‐5315
HENZE STAMPING & MFG CO        JUDY CANNING                         31650 STEPHENSON HWY.                                              CANTON             MI     48187
HENZE STAMPING & MFG CO        JUDY CANNING                         754 W. MAPLE ROAD                                                  MARLETTE           MI     48453
HENZE STAMPING & MFG CO INC    750 W MAPLE RD                                                                                          TROY               MI     48084‐5315
HENZE STAMPING & MFG CO INC    JUDY CANNING                         754 W. MAPLE ROAD                                                  MARLETTE           MI     48453
HENZE STAMPING & MFG COMPANY   750 W MAPLE RD                                                                                          TROY               MI     48084‐5315
HENZE STAMPING & MFG. CO.
HENZE STAMPING & MFG. CO.      ATTN: CORPORATE OFFICER/AUTHORIZED   31650 STEPHENSON HWY                                               MADISON HEIGHTS    MI     48071‐1689
                               AGENT
HENZE, DEREK M                 1309 S MAIN ST                                                                                          FORT ATKINSON     WI      53538‐9311
HENZE, GERALD J                5160 STROEBEL RD                                                                                        SAGINAW           MI      48609‐5236
HENZE, KATHLEEN M              12818 CROQUET CT                                                                                        FORT WAYNE        IN      46845‐2301
HENZE, KEVIN J                 6331 BIRCHVIEW DR                                                                                       SAGINAW           MI      48609‐7062
HENZE, KEVIN J M               6331 BIRCHVIEW DR                                                                                       SAGINAW           MI      48609‐7062
HENZE, KEVIN R                 12818 CROQUET CT                                                                                        FORT WAYNE        IN      46845‐2301
HENZE, LESTER M                5160 GRASSY CREEK RD                                                                                    LUTTS             TN      38471‐5209
HENZE, LESTER M                5160 GRASSY GREEK RD.                                                                                   LUTTS             TN      38471
HENZE, LINA L                  5160 GRASSY CREEK RD                                                                                    LUTTS             TN      38471‐5209
HENZE, RICHARD R               3010 E ROTAMER RD                                                                                       JANESVILLE        WI      53546‐9338
HENZE, ROBERT L                3790 SUMMERTOWN HWY                                                                                     SUMMERTOWN        TN      38483‐5028
HENZE/MADISON HGTS             750 W MAPLE RD                                                                                          TROY              MI      48084‐5315
HENZEL, CRAIG R                204 HAMPTON RD                                                                                          POMFRET CENTER    CT      06259‐1718
HENZERLING, DENNIS P           6453 TARA BROOKE CT                                                                                     HAMILTON          OH      45011‐7161
HENZIG, SHEILA M               3610 W GRACE AVE                                                                                        MEQUON            WI      53092‐2757
HEOB, STEVEN J                 27624 TIMBER SPRINGS RD                                                                                 SHELL KNOB        MO      65747
HEPBURN DANIEL (635917)        ANGELOS PETER G LAW OFFICE           1300 N MARKET ST STE 212                                           WILMINGTON        DE      19801‐1813
HEPBURN DAVE (445181)          BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD        OH      44067
                                                                    PROFESSIONAL BLDG
HEPBURN JR, WILLIAM T          6020 85TH ST                                                                                            LUBBOCK           TX      79424‐6707
HEPBURN JR, WILLIAM T          6020 86TH ST                                                                                            LUBBOCK           TX      79424‐6707
HEPBURN MOSES (445182)         KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                      CLEVELAND         OH      44114
                                                                    BOND COURT BUILDING
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HEPBURN, ALAN B                51 ROCHELLE CRES                                                         RIDGEWAY ONTARIO CANADA
                                                                                                        L0S‐1N0
HEPBURN, CHARLES K             676 SANTA MONICA DR                                                                              YOUNGSTOWN        OH    44505‐1144
HEPBURN, DANIEL                ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                          WILMINGTON        DE    19801‐1813
HEPBURN, DAVE                  BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH    44067
                                                              PROFESSIONAL BLDG
HEPBURN, HERBERT E             1131 TURRILL RD                                                                                  LAPEER            MI    48446‐3744
HEPBURN, JAMES B               3948 BALD MOUNTAIN RD                                                                            LAKE ORION        MI    48360‐2410
HEPBURN, MOSES                 KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                                      CLEVELAND         OH    44114
                                                              BOND COURT BUILDING
HEPBURN, NANCY T               676 SANTA MONICA DR.                                                                             YOUNGSTOWN        OH    44505‐1144
HEPBURN, STEVEN L              1632 LEXINGTON AVE APT 39                                                                        MANSFIELD         OH    44907‐2943
HEPBURN, STEVEN L              8965 E FLORIDA AVE             APT 10‐307                                                        DENVER            CO    80241‐2821
HEPBURN, VERNA L               8925 PHILADELPHIA RD                                                                             BALTIMORE         MD    21237‐4312
HEPFER JR, JOHN                3929 HAVEN PL                                                                                    ANDERSON          IN    46011‐5003
HEPFER, GLADYS H               212 W HIGH ST                                                                                    PENDLETON         IN    46064‐1124
HEPFER, HERBERT                730 S CATARACT RD                                                                                SPENCER           IN    47460‐5630
HEPFER, SAMUEL B               1608 W WOODBINE RD                                                                               FAWN GROVE        PA    17321‐9460
HEPFER, TONI M                 1971 W 250 N                                                                                     ANDERSON          IN    46011‐9200
HEPFER, WAYNE D                3035 LUPINE CT                                                                                   INDIANAPOLIS      IN    46224‐2027
HEPFINGER, DONNA               20562 LONG RAPIDS RD                                                                             LACHINE           MI    49753
HEPFINGER, KEITH D             3557 DEL MONTE DR                                                                                STERLING HTS      MI    48310‐2541
HEPFNER, BRADLEY               10920 FAIRLANE DR                                                                                SOUTH LYON        MI    48178‐8851
HEPFNER, HENRY A               3577 SOUTH M‐52                                                                                  OWOSSO            MI    48867
HEPFNER, HENRY ALLEN           3577 SOUTH M‐52                                                                                  OWOSSO            MI    48867
HEPFNER, JANE M                3577 SOUTH M‐52                                                                                  OWOSSO            MI    48867
HEPFNER, JANE MARY             3577 SOUTH M‐52                                                                                  OWOSSO            MI    48867
HEPFNER, ROBERT E              948 DRAVIS ST                                                                                    GIRARD            OH    44420‐2020
HEPFNER, ROBERT E              948 DRAVIS AVENUE                                                                                GIRARD            OH    44420‐2020
HEPFNER, THOMAS F              5547 OAK HOLLOW DR                                                                               TITUSVILLE        FL    32780‐7053
HEPHNER, JOHN                  3130 PULASKI HWY                                                                                 COLUMBIA          TN    38401‐8515
HEPINSTALL, JOAN               6165 HART RD                                                                                     SAGINAW           MI    48609‐9147
HEPINSTALL, THAYER A           659 LUTZKE RD                                                                                    SAGINAW           MI    48609‐6918
HEPKE, JOHN V                  1322 MONARCH MILL LANE                                                                           THE VILLAGES      FL    32162‐2150
HEPKER ROBERT                  5429 W NORTHWEST BLVD                                                                            SPOKANE           WA    99205‐2055
HEPLER BOWDEN                  HEPLER, BOWDEN                 100 WILSHIRE BOULEVARD SUITE                                      SANTA MONICA      CA    90401
HEPLER, ALVIN R                118 PATAPSCO AVE                                                                                 BALTIMORE         MD    21222‐4247
HEPLER, CARL E                 3000 HEALY ST                                                                                    WATERFORD         MI    48328‐4747
HEPLER, DENNIS H               9701 WOODSON RD                                                                                  KANSAS CITY       MO    64134‐2349
HEPLER, GARY B                 1371 EDGEORGE ST                                                                                 WATERFORD         MI    48327‐2014
HEPLER, HERBERT P              528 LONGWOOD AVE                                                                                 BOUND BROOK       NJ    08805‐1662
HEPLER, ILENE M                499 N WILBUR AVE                                                                                 WALLA WALLA       WA    99362‐2253
HEPLER, JOHN E                 1017 GLENWOOD DR                                                                                 SHARON            PA    16146‐2942
HEPLER, JOSEPHINE M            528 LONGWOOD AVE                                                                                 BOUND BROOK       NJ    08805‐1662
HEPLER, JUDITH A               950 WARREN AVE                                                                                   NILES             OH    44446‐1141
HEPLER, KENNETH R              PO BOX 2651                                                                                      SURF CITY         NC    28445‐0029
HEPLER, NOLA D                 1070 BANGOR RD                                                                                   WATERFORD         MI    48328‐4718
HEPLER, NOLA D                 1070 BANGOR                                                                                      WATERFORD         MI    48328‐4718
HEPLER, THOMAS G               2573 PRICE AVE                                                                                   NEWAYGO           MI    49337‐9560
HEPLER, WALLACE                DESIMONE REBECCA A             3241 W 41ST ST                                                    ERIE              PA    16506‐4217
HEPLER, WILLIAM L              PO BOX 111                                                                                       DRUMMOND ISLAND   MI    49726‐0111

HEPNAR, KERI                   2548 HATTERAS CIR                                                                                WALDORF           MD    20601‐5296
HEPNER FRANCIS E JR (486591)   BILMS KEVIN P                  430 CRAWFORD ST STE 202                                           PORTSMOUTH        VA    23704‐3813
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Name                                  Address1                               Address2                         Address3                   Address4                   City               State Zip
HEPNER JR, JAMES M                    540 BISCAYNE DR                                                                                                               MANSFIELD           OH 44903‐9649
HEPNER MICHAEL J                      35606 HUNTSMAN CT                                                                                                             FARMINGTON HILLS    MI 48331‐1386

HEPNER, ANDREA J                      4121 PARKER RD                                                                                                                DAVISBURG          MI   48350‐2323
HEPNER, CHARLES                       3595 HEIN DR                                                                                                                  STERLING HTS       MI   48310‐6141
HEPNER, FRANCIS E                     BILMS KEVIN P                          430 CRAWFORD ST STE 202                                                                PORTSMOUTH         VA   23704‐3813
HEPNER, GERALD S                      252 LITTLE LN                                                                                                                 MAURERTOWN         VA   22644‐2068
HEPNER, GERALD SWAIN                  252 LITTLE LN                                                                                                                 MAURERTOWN         VA   22644‐2068
HEPNER, HARRY W                       1171 HEMINGWAY LN                                                                                                             TRAVERSE CITY      MI   49686‐5069
HEPNER, III,IRVIN K                   1028 E 4TH ST                                                                                                                 FRANKLIN           OH   45005‐1834
HEPNER, IRVIN K                       1265 CENTER SPRING AVE A                                                                                                      WAYNESVILLE        OH   45068
HEPNER, KENNETH L                     8411 BELLARINE DR                                                                                                             SHELBY TOWNSHIP    MI   48316‐3612
HEPNER, LORETTA                       8411 BELLARINE DR                                                                                                             SHELBY TOWNSHIP    MI   48316‐3612
HEPNER, SANDRA
HEPP, HAROLD E                        3140 SEYMOUR LAKE RD                                                                                                          OXFORD             MI   48371‐4248
HEPP, JAY P                           635 PATRICIA CT                                                                                                               OXFORD             MI   48371‐4356
HEPP, RICHARD J                       30 SUNBEAM CT                                                                                                                 RENO               NV   89521‐9763
HEPPE, LINDA J                        7924 LA FIESTA DR                                                                                                             BUENA PARK         CA   90620‐2410
HEPPE, MELVILLE W                     1399 OLD LONG LAKE RD                                                                                                         TRAVERSE CITY      MI   49684‐7891
HEPPE, SUSAN                          1622 36TH ST                                                                                                                  ALLEGAN            MI   49010‐9469
HEPPE, YOLANDA                        5887 NIXON RD                                                                                                                 POTTERVILLE        MI   48876
HEPPEARD, DOUGLAS O                   282 TREMONT STREET                                                                                                            N TONAWANDA        NY   14120‐6017
HEPPEL, WILLIAM D                     260 TRAVERSE BLVD                                                                                                             TONAWANDA          NY   14223‐1016
HEPPEN, MARK A                        2802 N 350 W                                                                                                                  COLUMBIA CITY      IN   46725‐9192
HEPPER RUDY                           HEPPER, RUDY                           TERRY B. ASKIN NODAK MUTUAL INS. 1101 1ST AVE. NORTH P.O.                              FARGO              ND   58702
                                                                             CO.                              BOX 2502
HEPPER, RUDY                          TERRY B. ASKIN NODAK MUTUAL INS. CO.   PO BOX 2502                                                                            FARGO              ND   58108‐2502

HEPPER, SALVATORE J                   14220 TOWERING OAKS DR                                                                                                        SHELBY TWP         MI   48315‐1961
HEPPERMANN, JOSEPH L                  802 BELLEAU DR                                                                                                                O FALLON           MO   63366‐2704
HEPPNER DOUGLAS (493834)              GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                                            NORFOLK            VA   23510
                                                                             STREET, SUITE 600
HEPPNER ORLIN D (355274)              GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                                            NORFOLK            VA   23510
                                                                             STREET, SUITE 600
HEPPNER, DOUGLAS                      GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                                            NORFOLK            VA   23510‐2212
                                                                             STREET, SUITE 600
HEPPNER, GUSTAV A                     102 ELEANOR AVE                                                                                                               MANSFIELD          OH   44906‐2708
HEPPNER, ORLIN D                      GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                                            NORFOLK            VA   23510‐2212
                                                                             STREET, SUITE 600
HEPTING, FREDDIE D                    1770 HEPTING TRL                                                                                                              BARTON CITY        MI   48705‐9797
HEPTING, KARL W                       29815 ROAN DR                                                                                                                 WARREN             MI   48093‐8626
HEPTING, KENNETH M                    18413 E ARROWHEAD LN                                                                                                          INDEPENDENCE       MO   64056‐1287
HEPWORTH AUTOMOTIVE SERVICES          251 W 12TH ST                                                                                                                 OGDEN              UT   84404‐5502
HEPWORTH, ROBERT E                    216 WILLOWGROVE S                                                                                                             TONAWANDA          NY   14150‐4517
HER MAJESTRY THE QUEEN IN RIGHT OF    ATTN: DIRECTOR GENERAL, OPERATIONS     10TH FLOOR                       300 SLATER ST.             OTTAWA ON K1A 0C8 CANADA
CANADA
HER MAJESTRY THE QUEENT IN RIGHT OF   AS REPRESENTED BY THE MINISTRY OF      MIACHEL COLE                     600‐700 UNIVERSITY AVE, 6TH TORONTO ON M7A 2S4
ONTARIO                               GOVERNMENT SERVICES                                                     FLOOR                       CANADA
HER MAJESTY THE QUEEN                 MIACHEL COLE                           600‐700 UNIVERSITY AVE           6TH FLOOR                   TORONTO ON M7A 2S4
                                                                                                                                          CANADA
HER MAJESTY THE QUEEN IN RIGHT OF     MARCUS SMITH                           CAPITAL HEALTH CENTRE SOUTH      10030 107 ST NW             EDMONTON AB T5J 3E4
ALBERTA                                                                      TOWER 9TH FLOOR                                              CANADA
HER MAJESTY THE QUEEN IN RIGHT OF     MIACHEL COLE                           600‐700 UNIVERSITY AVE           6TH FLOOR                   TORONTO ON M7A 2S4
ALBERTA                                                                                                                                   CANADA
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Name                                  Address1                           Address2                         Address3                 Address4                  City                State Zip
HER MAJESTY THE QUEEN IN RIGHT OF     MARK SMITH                         WEIR BOWEN LLP                   10320 102 AVE NW         EDMONTON AB TSJ 4A1
ALBERTA                                                                                                                            CANADA
HER MAJESTY THE QUEEN IN RIGHT OF     MIACHEL COLE                       600‐700 UNIVERSITY AVE           6TH FLOOR                TORONTO ON M7A 2S4
CANADA                                                                                                                             CANADA
HER MAJESTY THE QUEEN IN RIGHT OF     REP BY THE MINISTER OF CANADIAN    SPORT CANADA, 15 EDDY ST., 16TH                           GATINEAU QC K1A 0M5
CANADA                                HERITAGE                           FL.                                                       CANADA
HER MAJESTY THE QUEEN IN RIGHT OF     REP BY THE MINISTER OF CANADIAN    SPORT CANADA, 15 EDDY ST., 16TH                           GATINEAU QC K1A 0M5
CANADA,                               HERITAGE                           FL.                                                       CANADA
HER MAJESTY THE QUEEN IN RIGHT OF THE AS REPRESNTED BY THE MINISTER OF   ATTN: ASSISTANT DEPUTY MINISTER, 900 BAY ST., 7TH FLOOR   TORONTO ON M7A 2E1
PROVINCE OF ONTARIO                   ECONOMIC DEVELOPMENT AND TRADE     INDUSTRY DIVISION                                         CANADA

HER, EE                              989 JESSAMINE AVE E                                                                                                     SAINT PAUL          MN    55106‐2641
HERA, FREDA S                        6926 ROCKVILLE RD                                                                                                       INDIANAPOLIS        IN    46214‐3931
HERA, RONALD W                       1161 SPRING CT                                                                                                          AVON                IN    46123‐9452
HERAEUS ELECTRO NITE CO              PO BOX 371249M                                                                                                          PITTSBURGH          PA    15251
HERAL MC HATTEN                      PO BOX 1552                                                                                                             NORWALK             CA    90651‐1552
HERAL SA INDUSTRIA METALURGICA       RUA ANITA 225 GALPAO 1 E 2 VILA                                                               DIADEMA SP 09140 640
                                                                                                                                   BRAZIL
HERALD CO THE                        GRAND RAPIDS PRESS THE              155 MICHIGAN ST NW               PO BOX 3390                                        GRAND RAPIDS        MI    49503‐2302
HERALD EBERHARDT                     320 W COURT ST APT 306                                                                                                  WOODLAND            CA    95695‐6657
HERALD ELECTRONICS INC               HERALD ELECTRONICS INC,             STATE FARM INSURANCE COMPANY PO BOX 2371                                            BLOOMINGTON         IL    61702‐2371
HERALD ELECTRONICS INC,              STATE FARM INSURANCE COMPANY        PO BOX 2371                                                                         BLOOMINGTON         IL    61702‐2371
HERALD FITZPATRICK                   4924 JAMM RD                                                                                                            ORION               MI    48359‐2218
HERALD JONES                         5625 S PROSPECT ST                                                                                                      RAVENNA             OH    44266‐3624
HERALD JR, ELBERT                    105 STEVIES WAY                                                                                                         BEREA               KY    40403‐8798
HERALD JR, HOWARD B                  63 MAPLE ST                                                                                                             TONAWANDA           NY    14150‐4010
HERALD JR, LEON R                    1126 WOODRIDGE                                                                                                          BROWNSBURG          IN    46112‐7987
HERALD L JONES                       5625 S PROSPECT ST                                                                                                      RAVENNA             OH    44266‐3624
HERALD LLOYD E (358182)              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                         NORFOLK             VA    23510
                                                                         STREET, SUITE 600
HERALD MARTIN                        2277 SOUTH RD. APT. 712 SOUTH                                                                                           YPSILANTI           MI    48198
HERALD MEDIA                         1 HERALD SQ                                                                                                             BOSTON              MA    02118‐2297
HERALD MEDIA                         ONE HERALD SQUARE                                                                                                       BOSTON              MA    21182‐0297
HERALD PAUL R (493835)               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                         NORFOLK             VA    23510
                                                                         STREET, SUITE 600
HERALD SANDRA                        1043 WEST PEBBLE BEACH CIRCLE                                                                                           WINTER SPGS         FL    32708‐4209
HERALD SWEET                         3991 108TH ST SW                                                                                                        BYRON CENTER        MI    49315‐9700
HERALD YOUNG                         3711 W STREETSBORO RD                                                                                                   RICHFIELD           OH    44286‐9637
HERALD, ALTON R                      9234 FLAGG SPRINGS PIKE                                                                                                 ALEXANDRIA          KY    41001‐7318
HERALD, BILL                         6845 REITMAN RD                                                                                                         ALEXANDRIA          KY    41001‐8855
HERALD, BILL                         6805 SHADOWLAWN DR                                                                                                      ALEXANDRIA          KY    41001‐7355
HERALD, CHRISTOPHER R                1246 LEXINGTON ONTARIO RD                                                                                               MANSFIELD           OH    44903‐7704
HERALD, COY                          773 JIMAE AVE                                                                                                           INDEPENDENCE        KY    41051‐9314
HERALD, DANIEL K                     6532 N WELLING RD                                                                                                       SAINT JOHNS         MI    48879‐9493
HERALD, DANIEL R                     2407 FAIRFAX RD                                                                                                         LANSING             MI    48910‐2419
HERALD, DONALD J                     8156 RILEY RD                                                                                                           CORUNNA             MI    48817‐9726
HERALD, GARRY R                      6280 E OLD OTTO CT S                                                                                                    CAMBY               IN    46113‐9669
HERALD, GARRY RICHARD                6280 E OLD OTTO CT S                                                                                                    CAMBY               IN    46113‐9669
HERALD, GOLDIE K                     114 OLD CARRIAGE DR                                                                                                     ENGLEWOOD           OH    45322‐1168
HERALD, HAZEL                        1006 LAKESIDE DR.                                                                                                       JACKSON             KY    41339‐7489
HERALD, JOHN B                       114 OLD CARRIAGE DR                                                                                                     ENGLEWOOD           OH    45322‐1168
HERALD, JOSEPH F                     720 S WASHINGTON ST                                                                                                     HUBBARDSTON         MI    48845‐9304
HERALD, KATHERYN L                   1701 EDITH AVE.                                                                                                         N.E. GRAND RAPIDS   MI    49505‐5486
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Name                                 Address1                        Address2                      Address3   Address4               City             State Zip
HERALD, KATHERYN L                   1701 EDITH AVE NE                                                                               GRAND RAPIDS      MI 49505‐5486
HERALD, KEITH                        9026 SHADOW DR                                                                                  BROOKVILLE        IN 47012‐9418
HERALD, KEITH A                      6624 W OHIO ST                                                                                  INDIANAPOLIS      IN 46214
HERALD, LARRY                        3771 WOLF RD                                                                                    COVINGTON         KY 41015‐4423
HERALD, LEE                          4628 EXCALIBUR CT                                                                               COLORADO SPRINGS CO 80917‐1357

HERALD, LETCH                        10565 WILKINSON RD                                                                              LENNON           MI    48449‐9688
HERALD, LLOYD E                      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA    23510‐2212
                                                                     STREET, SUITE 600
HERALD, MARIE                        53 REDWOOD DR                                                                                   STANTON          KY    40380
HERALD, MARILYN J                    3120 W. SCHLOSSER DR.                                                                           MORAN            MI    49760
HERALD, MARLEY R                     1246 LEXINGTON ONTARIO RD                                                                       MANSFIELD        OH    44903‐7704
HERALD, MERLIN                       9432 ASH ST                                                                                     NEW LOTHROP      MI    48460‐7700
HERALD, NEDIE                        190 HYATTS FORK RD                                                                              SCIENCE HILL     KY    42553‐9207
HERALD, OAKLEY                       595 E JUDDVILLE RD                                                                              OWOSSO           MI    48867‐9468
HERALD, OLIVE C                      1000 NORTH 16TH ST.RM 338       THE WATERS                                                      NEW CASTLE       IN    47362
HERALD, OLIVIA B                     2407 FAIRFAX RD                                                                                 LANSING          MI    48910‐2419
HERALD, OLIVIA BROOK                 2407 FAIRFAX RD                                                                                 LANSING          MI    48910‐2419
HERALD, PAUL R                       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA    23510‐2212
                                                                     STREET, SUITE 600
HERALD, RAY D                        PO BOX 1674                                                                                     LONDON           KY    40743‐1674
HERALD, RICHARD L                    5159 E WALNUT DR                                                                                MOORESVILLE      IN    46158‐6127
HERALD, RONALD E                     6691 E. 675N                                                                                    BAINBRIDGE       IN    46105
HERALD, ROY                          723 PARK AVE                                                                                    NEWPORT          KY    41071‐2055
HERALD, SAM B                        19 ELM ST                                                                                       WILDER           KY    41071‐2943
HERALD, STEVEN D                     2530 BARNES RD                                                                                  MILLINGTON       MI    48746‐9024
HERALD, TERESA LOUISE                7641 SWAILS ST                                                                                  INDIANAPOLIS     IN    46259‐1537
HERALD, VAUGHN                       3035 N CLEVELAND RD                                                                             LEXINGTON        KY    40516‐9617
HERALD, VIRGIL                       2603 UHL RD                                                                                     COLD SPRING      KY    41076‐8661
HERALD, WILLIAM                      201 COBBLERS DR                                                                                 COLD SPRING      KY    41076‐2180
HERALD, WILLIAM J                    930 SE 26TH ST                                                                                  CAPE CORAL       FL    33904‐2963
HERALD, WILLIAM J                    930 SE 26TH STREET                                                                              CAPE CORAL       FL    33904‐2963
HERAMBOURG, ALFRED W                 123 MULLEN ST                                                                                   WESTVILLE        IL    61883‐1631
HERANDER, GEORGE R                   2117 WOODVIEW DR                                                                                HARRISBURG       PA    17112‐1543
HERARD LONGCHAMP                     670 HEMLOCK ST APT 1                                                                            BROOKLYN         NY    11208‐3940
HERARD P LONGCHAMP                   670 HEMLOCK ST                                                                                  BROOKLYN         NY    11208‐3940
HERARD, ROBERT W                     176 LAKE SHORE DR                                                                               PASCOAG          RI    02859‐3249
HERAS, OTHONIEL T                    2501 OLD HIGHWAY 79                                                                             O FALLON         MO    63366‐1137
HERATY, ANDREW                       2006 CAMPBELL ST                                                                                DETROIT          MI    48209‐2127
HERB ADCOX CHEVROLET COMPANY         HERBERT ADCOX                   5721 LEE HWY                                                    CHATTANOOGA      TN    37421‐3542
HERB ADCOX CHEVROLET COMPANY         5721 LEE HWY                                                                                    CHATTANOOGA      TN    37421‐3542
HERB ADCOX CHEVROLET/FLEET           5721 LEE HWY                                                                                    CHATTANOOGA      TN    37421‐3542
HERB AND LYNDA KLEMM                 4301 AMBERWOOD AVE                                                                              RENO             NV    89509
HERB BRANNON                         2045 FERNS RD                                                                                   LAPEER           MI    48446‐9063
HERB BURKLUND
HERB CHAMBERS ANDOVER STREET, INC.   ATTN: BRUCE SPATZ               47 EASTERN BOULEVARD                                            GLASTONBURY       CT   06033

HERB CHAMBERS ANDOVER STREET, INC.   HERBERT CHAMBERS                90 ANDOVER ST                                                   DANVERS          MA    01923‐1429

HERB CHAMBERS CADILLAC, INC.        HERBERT CHAMBERS                 101 CADILLAC DR                                                 PROVIDENCE       RI    02907‐2123
HERB CHAMBERS CADILLAC, INC.        101 CADILLAC DR                                                                                  PROVIDENCE       RI    02907‐2123
HERB CHAMBERS CHEVROLET BUICK PONTI 90 ANDOVER ST                                                                                    DANVERS          MA    01923‐1429
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Name                                  Address1                          Address2                     Address3   Address4                  City            State Zip
HERB CHAMBERS CHEVROLET BUICK         90 ANDOVER ST                                                                                       DANVERS          MA 01923‐1429
PONTIAC
HERB CHAMBERS HUMMER                  90 ANDOVER ST                                                                                       DANVERS         MA    01923‐1429
HERB CHAMBERS SAAB                    CHAMBERS, HERBERT G               1172 COMMONWEALTH AVE                                             BOSTON          MA    02134‐4618
HERB CHAMBERS SAAB                    1172 COMMONWEALTH AVE                                                                               BOSTON          MA    02134‐4618
HERB CHAMBERS TAUNTON AVE., INC.      HERBERT CHAMBERS                  1511 BALD HILL RD                                                 WARWICK         RI    02886‐4240
HERB CONNOLLY CHEVEROLET              520 WORCESTER RD                                                                                    FRAMINGHAM      MA    01702‐5373
HERB CONNOLLY CHEVROLET               350 WORCESTER RD                                                                                    FRAMINGHAM      MA    01702‐5372
HERB DANCZYK                          9412 SW 71ST LOOP                                                                                   OCALA           FL    34481‐2522
HERB DOUDA                            38 WILDWOOD DR                                                                                      YOUNGSTOWN      OH    44512‐3335
HERB EASLEY MOTORS, INC.              J HERBERT EASLEY                  1125 CENTRAL FWY                                                  WICHITA FALLS   TX    76306‐5944
HERB EASLEY MOTORS, INC.              1125 CENTRAL FWY                                                                                    WICHITA FALLS   TX    76306‐5944
HERB EDWARDS                          BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.     OH    44236
HERB GETTYS                           4353 E THE TRAIL ST                                                                                 PORT CLINTON    OH    43452‐9758
HERB HALLMAN CHEVROLET, INC           JOHN STANKO                       800 KIETZKE LN                                                    RENO            NV    89502‐2016
HERB HOUGH                            3740A E EDGERTON AVE                                                                                CUDAHY          WI    53110‐1904
HERB JONES CHEVROLET, INC.            MARK JONES                        1601 N DIXIE HWY                                                  ELIZABETHTOWN   KY    42701‐2681
HERB JONES CHEVROLET‐BUICK‐ PONTIAC   1601 N DIXIE HWY                                                                                    ELIZABETHTOWN   KY    42701‐2681

HERB JONES CHEVROLET‐BUICK‐ PONTIAC ‐ 1601 N DIXIE HWY                                                                                    ELIZABETHTOWN    KY   42701‐2681
GMC‐CADILLAC
HERB KINMAN CHEVROLET, INC.           HERBERT KINMAN                    1934 US HIGHWAY 227                                               CARROLLTON       KY   41008‐8063
HERB KINMAN CHEVROLET, INC.           1934 US HIGHWAY 227                                                                                 CARROLLTON       KY   41008‐8063
HERB MCBRIDE
HERB P BRANNON                        2045 FERNS RD                                                                                       LAPEER          MI    48446‐9063
HERB SHERROW                          546 OSPREY DR                                                                                       PATTERSON       CA    95363‐8714
HERB STANLEY                          13357 NEFF RD                                                                                       CLIO            MI    48420‐1868
HERB TOBIAS
HERB WARMUTH                          2230 EVERGREEN RD                                                                                   PERRY           OH    44081‐9723
HERB WHITE AUTOMOTIVE                 168 COUNTY RD. #23, P O BOX 263                                           MERRICKVILLE ON K0G 1N0
                                                                                                                CANADA
HERB'S MUFFLERS RADIATORS & MORE      2904 A ST SE                                                                                        AUBURN          WA    98002‐8815
HERB'S MUFFLERS RADIATORS & MORE      810 C ST SE                                                                                         AUBURN          WA    98002‐6062
HERB, JOHN M                          142 CATSKILL AVE                                                                                    PITTSBURGH      PA    15227‐3051
HERB, JOHN R                          5765 THOMPSON RD                                                                                    CLARENCE CTR    NY    14032‐9724
HERB, RICHARD W                       94 BIRCH RILL DR                                                                                    ALPHARETTA      GA    30022‐5099
HERB, ROBERT F                        3009 JETT DR                                                                                        DORAVILLE       GA    30340‐2409
HERB, TERRY J                         4356 SCENIC AVE                                                                                     PITTSBURG       CA    94565‐6070
HERBAL WILLIAM J
HERBAL WILLIAM J (472384)             ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                                  BETHLEHEM       PA    18018
HERBAL, WILLIAM J                     ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                                  BETHLEHEM       PA    18018
HERBALIFE                             308 RAPHAEL AVE                                                                                     SYRACUSE        NY    13211‐1749
HERBAUGH, WYETT L                     PO BOX 27                                                                                           INWOOD          WV    25428‐0027
HERBECK, BERNADINE N                  9823 E COOPERS HAWK DR                                                                              SUN LAKES       AZ    85248‐7339
HERBECK, DONALD                       2635 VAGABOND LN N                                                                                  MINNEAPOLIS     MN    55447‐1562
HERBEK, GARY W                        4684 CROWS NEST CT                                                                                  BRIGHTON        MI    48114‐9020
HERBELOT, PAUL M                      647 COLFAX CT                                                                                       GOLETA          CA    93117‐1649
HERBER SR, PAUL C                     PO BOX 392                                                                                          PINCONNING      MI    48650‐0392
HERBER, BEVERLY E                     1011 TAYLOR ST                                                                                      BAY CITY        MI    48708‐8261
HERBER, EDWARD                        5630 MICHAEL DR                                                                                     BAY CITY        MI    48706‐3167
HERBER, EMIL                          27 RAYMOND ST                                                                                       FORDS           NJ    08863‐2124
HERBER, FRANKLIN P                    63 BEACON ST                                                                                        BEACON          NY    12508‐2736
HERBER, JOSEPH F                      600 KING GEORGE RD                                                                                  FORDS           NJ    08863‐1813
HERBER, KEITH                         944 REYNOLDS RD LOT 188                                                                             LAKELAND        FL    33801‐6469
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Name                                   Address1                        Address2                     Address3   Address4                   City            State   Zip
HERBER, MATHEW                         3613 VICARI AVE                                                                                    TOMS RIVER       NJ     08755‐2324
HERBER, TIMOTHY H                      518 EASTLAND CT                                                                                    BAY CITY         MI     48708‐6946
HERBER, TIMOTHY M                      608 E MIDLAND ST APT A                                                                             BAY CITY         MI     48706
HERBERG HOWARD & BERNICE               1315 2ND AVE SW APT 5                                                                              MINOT            ND     58701‐3689
HERBERGER, DAVID J                     8012 RENOIR DR                                                                                     LAS CRUCES       NM     88007‐8988
HERBERGER, DAVID J                     8012 RENOIR DRIVE                                                                                  LAS CRUCES       NM     88007‐8988
HERBERGER, DOUGLAS J                   7833 CLASSICS DR                                                                                   NAPLES           FL     34113‐3065
HERBERGER, GERALD W                    42 RUNNING BROOK DR                                                                                LANCASTER        NY     14086‐3312
HERBERGER, GERALD WILLIAM              42 RUNNING BROOK DR                                                                                LANCASTER        NY     14086‐3312
HERBERGER, JOHN G                      8726 E ROSEMONT CT                                                                                 INVERNESS        FL     34450‐7373
HERBERGER, JOHN W                      315 W 58TH ST                                                                                      MINNEAPOLIS      MN     55419‐2303
HERBERGER, KATHERINE A                 4748 FIFTH AVENUE                                                                                  YOUNGSTOWN       OH     44505‐1207
HERBERGER, KATHERINE A                 4748 5TH AVE                                                                                       YOUNGSTOWN       OH     44505‐1207
HERBERGER, VINCENT L                   374 RUMBOLD AVE                                                                                    N TONAWANDA      NY     14120‐4727
HERBERGER, VIOLET M                    6010 N BAILEY AVE STE 1B                                                                           AMHERST          NY     14226‐1067
HERBERGER,DOUGLAS J                    7833 CLASSICS DR                                                                                   NAPLES           FL     34113‐3065
HERBERHOLZ, RICHARD J                  2500 LONDON DR                                                                                     TROY             MI     48085‐3573
HERBERS, SHERRI A                      5837 ASH ST                                                                                        CHIPPEWA LAKE    OH     44215‐9681
HERBERS, VICTOR E                      9812 M‐52                                                                                          SAINT CHARLES    MI     48655
HERBERT & LOUISE C FULD LIVING TRUST   HREBERT & LOUISE C FULD         202 E KINGMAN AVE                                                  BATTLE CREEK     MI     49014

HERBERT A DALRYMPLE                    928 MEADOW LANE                                                                                    LEBONAN         OH      45036‐1427
HERBERT A GIBBS JR                     6330 W FARRAND RD                                                                                  CLIO            MI      48420‐8242
HERBERT A GOLDSTEIN                    869 FURESTVIEW DR                                                                                  SARASOTA        FL      34232
HERBERT A HALL                         2315 WHISPERING MEADOWS N.E.                                                                       WARREN          OH      44483‐3676
HERBERT A LENGEFELD                    240 E PEASE AVE                                                                                    W. CARROLLTON   OH      45449‐1463
HERBERT A LICHT                        151 VARIETY TREE CIR                                                                               ALTAMONTE       FL      32714
                                                                                                                                          SPRINGS
HERBERT A OWENS                        2028 OAKRIDGE DR                                                                                   DAYTON          OH      45417‐2344
HERBERT A PECHT                        170 HONEY CREEK RD                                                                                 REEDSVILLE      PA      17084
HERBERT A PENZIEN                      55940 LUCHTMAN RD                                                                                  MACOMB          MI      48042‐1719
HERBERT A SCHMITZ JR                   C/O WEITZ & LUXENBERG PC        700 BROADWAY                                                       NEW YORK CITY   NY      10003
HERBERT A SCHNEIDER                    292 LETTINGTON AVENUE                                                                              ROCHESTER       NY      14624‐2912
HERBERT A SCHROEDER JR                 450 CARLISLE AVE                                                                                   DAYTON          OH      45410‐2702
HERBERT A TOONE                        WEITZ & LUXENBERG PC            700 BROADWAY                                                       NEW YORK CITY   NY      10003
HERBERT A TOONE                        C/O WEITZ & LUXENBERG PC        700 BROADWAY                                                       NEW YORK        NY      10003
HERBERT A. JUNG                        SEMMELSGASSE 3                                                          69117 HEIDELBERG GERMANY

HERBERT ADKINS                         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.     OH      44236
HERBERT ADKINS                         1339 REDLEAF LN                                                                                    YPSILANTI       MI      48198‐3168
HERBERT AGER                           8145 JENNINGS RD                                                                                   SWARTZ CREEK    MI      48473‐9148
HERBERT AIKENS                         2991 ALAN DR RTE 10                                                                                MARIETTA        GA      30064
HERBERT ALCORN                         104 S PARK RD                                                                                      GALVESTON       IN      46932‐8602
HERBERT ALEXANDER                      751 17TH PL SW                                                                                     VERO BEACH      FL      32962‐7004
HERBERT ALEXANDER                      6505 ARMSTRONG AVE                                                                                 BALTIMORE       MD      21215‐2001
HERBERT ALEXANDER                      308 W HEIGHTS DR                                                                                   WEST MONROE     LA      71292‐6348
HERBERT ALLEN                          637 S ST                                                                                           BEDFORD         IN      47421‐1915
HERBERT ALLEN                          18106 LUMPKIN ST                                                                                   DETROIT         MI      48234‐1286
HERBERT ALLIS                          612 PARK VW                                                                                        CLIO            MI      48420‐1481
HERBERT ALMO JR                        4925 ESTER DRIVE                                                                                   FORT WAYNE      IN      46816‐4257
HERBERT AMOS                           4701 INDEPENDENCE DR                                                                               CLARKSTON       MI      48346‐3733
HERBERT AMPY                           101 PROCTOR AVE                                                                                    BUFFALO         NY      14215‐3528
HERBERT AMSTUTZ                        1439 FORD CIR                                                                                      LEHIGH ACRES    FL      33936‐1115
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HERBERT AND HELGA PEIFFER           FRAASSTRASSE 23                                                                       80638 MUNCHEN GERMANY

HERBERT AND SHIRLEY FINKELSTEIN     29 GREENBROOK RD UNIT 82                                                                                        FAIRFIELD        NJ    07004‐3813
HERBERT ANDERSON                    393 MECCA DR                                                                                                    VANDALIA         OH    45377‐2626
HERBERT ANDERSON
HERBERT ARMOCK                      19885 8TH AVE                                                                                                   CONKLIN          MI    49403‐9520
HERBERT ARMS                        29307 E M AA HIGHWAY                                                                                            BLUE SPRINGS     MO    64014
HERBERT ARMSTEAD                    602 LINCOLN ST                                                                                                  TUSCUMBIA        AL    35674‐4111
HERBERT ASHER                       14757 MAYWOOD ST                                                                                                SOUTHGATE        MI    48195‐2539
HERBERT AUTOMOTIVE                  502 ATLANTA RD                                                                                                  CUMMING          GA    30040‐2725
HERBERT AUTOMOTIVE INC.             3425 KEITH BRIDGE RD                                                                                            CUMMING          GA    30041‐4084
HERBERT B GROSS                     462 ROSEDALE ROAD                                                                                               PRINCETON        NJ    08540
HERBERT B MCBEE                     P.O.BOX 314 24 W. WALNUT ST                                                                                     PHILLIPSBURG     OH    45354‐‐ 03
HERBERT B PIER                      25 DEERPATH DR                                                                                                  OLDSMAR          FL    34677‐2055
HERBERT B STINE JR                  5424 SIERRA CIR E                                                                                               DAYTON           OH    45414‐3670
HERBERT BACKHAUS                    4614 DENTON RD                                                                                                  CANTON           MI    48188‐2111
HERBERT BAILEY                      725 WALNUT DR                                                                                                   FREDERICKSBRG    VA    22405‐1754
HERBERT BAIR                        12409 E 33RD ST S                                                                                               INDEPENDENCE     MO    64055‐2316
HERBERT BAKER                       5415 FISCHER ST                                                                                                 DETROIT          MI    48213‐2924
HERBERT BALLARD JR                  4101 S SHERIDAN RD LOT 86                                                                                       LENNON           MI    48449‐9414
HERBERT BARE                        2215 73RD ST E LOT 37                                                                                           PALMETTO         FL    34221‐9102
HERBERT BARGER                      2025 HARVARD ST                                                                                                 HAMILTON         OH    45015‐1321
HERBERT BARNES                      4332 WEBSTER AVE                                                                                                CINCINNATI       OH    45236‐3640
HERBERT BASINGER                    BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS.      OH    44236
HERBERT BASS                        10501 BREED AVE                                                                                                 OAKLAND          CA    94603‐3954
HERBERT BEADLE                      34050 KENNEDY ST                                                                                                WESTLAND         MI    48185‐2308
HERBERT BEAKLEY                     2514 LORI LN N                                                                                                  WILMINGTON       DE    19810‐3404
HERBERT BEASLEY                     620 URBAN LN                                                                                                    BROOKHAVEN       MS    39501‐2446
HERBERT BEATY                       RT 2 BOX 1246                                                                                                   ALBANY           KY    42602
HERBERT BECKER                      1690 KINGSWAY DR                                                                                                XENIA            OH    45385‐9526
HERBERT BECKSTED                    WEITZ & LUXENBERG PC            700 BROADWAY                                                                    NEW YORK CITY    NY    10003
HERBERT BEEHLER                     1235 BENTON RD                                                                                                  SALEM            OH    44460‐9679
HERBERT BELL                        905 VILLAGE GREEN LN APT 2044                                                                                   WATERFORD        MI    48328‐2460
HERBERT BELL                        1741 COLUMBINE ST                                                                                               EAST TAWAS       MI    48730‐9547
HERBERT BELL                        325 PINE STREET                                                                                                 MANTON           MI    49663‐8532
HERBERT BENEDICT                    3401 PERRY AVE SW                                                                                               WYOMING          MI    49519‐3235
HERBERT BERGMAN                     MURIEL RUSTY BERGMAN TTEE       HERBERT & MURIEL BERGMAN     5687 B SPINDLE PALM CT                             DELRAY BEACH     FL    33484‐2015
HERBERT BERNAD                      MOZARTRING 7                    91090 EFFELTRICH
HERBERT BERNAD                      91090 EFFELTRICH                MOZARTRING 7
HERBERT BERNICK REV TRUST           HERBERT BERNICK                 C/O MILBERN CLOTHING         1685 UNIVERSITY AVE                                ST PAUL          MN    55104
HERBERT BERNTHAL FRANCES BERNTHAL   HERB AND FRANCES BERNTHAL       9320 W TUSCOLA RD                                                               FRANKENMUTH      MI    48734‐9566

HERBERT BERRY                       6801 QUEENS WAY                                                                                                 NORTH ROYALTON   OH    44133‐6909
HERBERT BIEBERSTEIN                 BRENTANOSTRASSE 22B             63165 M▄HLHEIM
HERBERT BIEBERSTEIN                 BRENTANOSTRASSE 22B                                                                   63165 MUEHLHEIM GERMANY

HERBERT BIGNALL                     3120 BENNETT AVE                                                                                                FLINT            MI    48506‐3015
HERBERT BILBREY                     5749 S WALNUT ST                                                                                                MUNCIE           IN    47302‐8783
HERBERT BLACK                       148 PINGREE AVE                                                                                                 PONTIAC          MI    48342‐1157
HERBERT BLACK                       8347 E 1800 NORTH RD                                                                                            OAKWOOD          IL    61858‐9626
HERBERT BLAIR                       3714 SCOTTLEY DR                                                                                                SANDUSKY         OH    44870‐5454
HERBERT BLAY                        PO BOX 2181                                                                                                     DETROIT          MI    48202‐0181
HERBERT BLEVINS                     1144 APPLE BLOSSOM LANE                                                                                         LEBANON          OH    45036‐7988
HERBERT BLISS                       482 N MAIN ST                                                                                                   WEST MILTON      OH    45383‐1904
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HERBERT BLOOM             1460 S BEYER RD                                                                                SAGINAW          MI     48601‐9422
HERBERT BOENICK           3070 MAYBEE RD                                                                                 ORION            MI     48359‐1135
HERBERT BOGAN II          520 STATE ST MARENGO                                                                           ALBION           MI     49224
HERBERT BOHLEY            3301 E TOWNSEND RD                                                                             SAINT JOHNS      MI     48879‐9031
HERBERT BONNER            14567 ABINGTON AVE                                                                             DETROIT          MI     48227‐1407
HERBERT BORUM III         42503 N POINTE CT                                                                              CLINTON TWP      MI     48036‐1473
HERBERT BOTT              1035 W SUPERIOR ST                                                                             ALMA             MI     48801‐1417
HERBERT BOWMAN            25159 CHESTNUT ST                                                                              TAYLOR           MI     48180‐4583
HERBERT BOYER             12680 HAVERMALE RD                                                                             FARMERSVILLE     OH     45325‐9233
HERBERT BRADEN            15169 HULL RD                                                                                  MONROE           MI     48161‐3850
HERBERT BRADFORD I I I    2500 MANN RD LOT 231                                                                           CLARKSTON        MI     48346‐4255
HERBERT BRADLEY           796 URF RD                                                                                     COWLESVILLE      NY     14037‐9795
HERBERT BRADLEY           2613 HONEYHILL CT                                                                              CINCINNATI       OH     45236‐1043
HERBERT BRALEY            9564 EAST RD                                                                                   BURT             MI     48417‐2069
HERBERT BRALEY            249 WINFIELD SCOTT ST                                                                          ZWOLLE           LA     71485‐3755
HERBERT BRANDT            BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
HERBERT BRANHAM           1740 CAROLINA AVE                                                                              ORMOND BEACH     FL     32174‐7270
HERBERT BRANHAM           15081 DICKENSON HWY                                                                            CLINCHCO         VA     24226‐8679
HERBERT BRAUN             29728 ROBERT ST                                                                                WICKLIFFE        OH     44092‐2218
HERBERT BRAY              632 WILDERNESS TRL                                                                             COLUMBIA         TN     38401‐5599
HERBERT BREGE             5868 BAKER RD                                                                                  BRIDGEPORT       MI     48722‐9750
HERBERT BREHM             11216 WINDRUSH CIR                                                                             HUDSON           FL     34667‐5525
HERBERT BRESSLAUER        4170 WOODEDGE BLVD                                                                             AKRON            OH     44319‐2752
HERBERT BREWER            231 CLEARBROOK DR                                                                              FRANKLIN         OH     45005‐2385
HERBERT BRIDGES           80 E LAWN CT                                                                                   COVINGTON        GA     30016‐6823
HERBERT BRINBERG          115 E 87TH STREET               APT 14B                                                        NEW YORK         NY     10128
HERBERT BRINKMANN         4533 CLAYBORNE DR                                                                              KALAMAZOO        MI     49009‐2310
HERBERT BROOKS            PO BOX 391                                                                                     NIAGARA FALLS    NY     14305‐0391
HERBERT BROUGHMAN         3823 RIVER DR                                                                                  LINCOLN PARK     MI     48146‐4325
HERBERT BROUGHTON         3882 FULTON GROVE RD                                                                           CINCINNATI       OH     45245‐2505
HERBERT BROWN             176 VINE ST                                                                                    BRIDGETON        NJ     08302‐2448
HERBERT BROWN             644 OLD BALTIMORE PIKE                                                                         NEWARK           DE     19702‐1311
HERBERT BROWN             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
HERBERT BROWNING          4155 CHESELDINE RD                                                                             LONDON           OH     43140‐9564
HERBERT BRUMFIELD         2564 GRANT AVE                                                                                 DAYTON           OH     45406‐1727
HERBERT BRYANT JR         57 RUTLEDGE DR                                                                                 YOUNGSTOWN       OH     44505‐4921
HERBERT BULLINGTON        195 J.T. ERWIN LN                                                                              NEW CONCORD      KY     42076
HERBERT BUNDY             PO BOX 26858                                                                                   SAN JOSE         CA     95159‐6858
HERBERT BURDETTE          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
HERBERT BURNETT           1178 CARMAN ST                                                                                 BURTON           MI     48529‐1118
HERBERT BURSLEY           2068 BUTLER RD                                                                                 WAKEMAN          OH     44889‐9789
HERBERT BUSH              11 OPIE RD                                                                                     WHITE MARSH      MD     21162‐1617
HERBERT BUTTERFIELD       9126 BENNETT LAKE RD                                                                           FENTON           MI     48430‐9053
HERBERT BYRNE             516 RHODES ST                                                                                  PINCONNING       MI     48650‐7513
HERBERT C BYRD            20185 DENTVILLE RD.                                                                            HAZLEHURST       MS     39083‐9443
HERBERT C DOUGLAS         1385 SPAULDING ROAD                                                                            DAYTON           OH     45432‐3714
HERBERT C HINES           3826 YELLOWSTONE AVE                                                                           DAYTON           OH     45416‐2230
HERBERT C HOFFMAN         PO BOX 1336                                                                                    WESTMINSTER      CA     92684
HERBERT C QUAY            838 SANTA ROSA DR                                                                              TALLAHASSEE      FL     32301
HERBERT C RICHARDSON II   1343 CATALPA DR                                                                                DAYTON           OH     45406
HERBERT C SMITHERMAN JR   80 VIRGINIA PARK ST                                                                            DETROIT          MI     48202‐2037
HERBERT CALDWELL          50 SPRING BRANCH RD                                                                            CAMPTON          KY     41301‐8488
HERBERT CALDWELL          3380 RISHER RD SW                                                                              WARREN           OH     44481‐9120
HERBERT CALKINS           2951 GROTH RD                                                                                  HOLLEY           NY     14470‐9312
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HERBERT CAMPBELL         5501 NW 56TH ST                                                                                KANSAS CITY       MO 64151‐2470
HERBERT CAMPBELL         9 CASTLEWOOD DR                                                                                BILLERICA         MA 01821‐3203
HERBERT CAMPBELL         1641 DENNIS DR                                                                                 WICKLIFFE         OH 44092‐1035
HERBERT CAMPBELL JR      32120 SHERWOOD                                                                                 FRASER            MI 48026‐4708
HERBERT CARNEY JR        6120 ESTATE AVE                                                                                INDIANAPOLIS      IN 46228‐1127
HERBERT CARTER           2427 JACKSON ST                                                                                ANDERSON          IN 46016‐5136
HERBERT CASSADY          1515 RIDGE RD LOT 281                                                                          YPSILANTI         MI 48198‐3310
HERBERT CASTLE           11995 E BROOKS RD                                                                              LENNON            MI 48449‐9507
HERBERT CASTLEBERRY      5915 KEITH BRIDGE RD                                                                           CUMMING           GA 30041‐4106
HERBERT CAUDILL          8266 ST. RT. 314, RT. 9                                                                        LEXINGTON         OH 44904
HERBERT CHAMBERLAIN JR   7579 CHURCH ST                                                                                 SWARTZ CREEK      MI 48473‐1401
HERBERT CHANDLER         709 E WILSHIRE BLVD APT 95                                                                     OKLAHOMA CITY     OK 73105‐5623
HERBERT CHAPMAN          2109 WELCH BLVD                                                                                FLINT             MI 48504‐2911
HERBERT CHAPMAN          409 US 224                                                                                     SULLIVAN          OH 44880
HERBERT CHARLES          16361 RILEY ST                                                                                 HOLLAND           MI 49424‐5816
HERBERT CHASE            246 LAKE DR                                                                                    LAKE PEEKSKILL    NY 10537‐1113
HERBERT CHASE            BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS    OH 44236
HERBERT CHASE            LAKE DRIVE                                                                                     LAKE PEEKSKILL    NY 10537
HERBERT CHASTEEN         3121 LANES MILL RD                                                                             OXFORD            OH 45056‐9333
HERBERT CHASTEEN JR      1124 PRICE CT                                                                                  AVON              IN 46123‐9545
HERBERT CHRISTIE         52567 LAUREL OAK LN                                                                            CHESTERFIELD      MI 48047‐1489
HERBERT CHURCH JR        321 WINDY BLF                                                                                  FLUSHING          MI 48433‐2646
HERBERT CLAPPER          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH 44236
HERBERT CLARK            191 VAN DEMON CT                                                                               FITZGERALD        GA 31750‐8005
HERBERT CLARK            34 HAMPTON PKWY                                                                                KENMORE           NY 14217‐1218
HERBERT CLENDANIEL       3118 HARTLY RD                                                                                 HARTLY            DE 19953‐2740
HERBERT CLOSSER          1024 S MADISON AVE                                                                             ANDERSON          IN 46016‐2942
HERBERT COHEN            WEITZ & LUXENBERG P C           700 BROADWAY                                                   NEW YORK          NY 10003
HERBERT COLE             3181 S STATE RD                                                                                DAVISON           MI 48423‐8705
HERBERT COLE             4711 ZELLA DR                                                                                  HALE              MI 48739‐9052
HERBERT COLE             561 NETTLES BLVD                                                                               JENSEN BEACH      FL 34957‐3340
HERBERT COLE             1800 E 1100 S                                                                                  FAIRMOUNT         IN 46928‐9553
HERBERT COLEN JR         3627 BRENTWOOD DRIVE                                                                           FLINT             MI 48503‐2343
HERBERT COLLINS          PO BOX 484                                                                                     UPLAND            IN 46989‐0484
HERBERT COLWELL          2619 WEHR RD                                                                                   HAMILTON          OH 45011‐9621
HERBERT COLWELL          36 BOYER DR                                                                                    BATTLE CREEK      MI 49014‐8235
HERBERT COLWELL          2619 WEHR RD                                                                                   HAMILTON          OH 45011‐9621
HERBERT COMBS            9687 OAKLAND STREET                                                                            ANGOLA            NY 14006‐9487
HERBERT COMBS            577 SUNNY ACRES DR                                                                             BEDFORD           IN 47421‐7818
HERBERT CONDON           1039 W SHELLY LN                                                                               ALEXANDRIA        IN 46001‐8373
HERBERT CONLEY           3760 BURNS ST                                                                                  DETROIT           MI 48214‐1202
HERBERT CONWAY           4360 SCHENK RD                                                                                 BARNHART          MO 63012‐1661
HERBERT COOK             C/O BRAYTON PURCELL             222 RUSH LANDING RD                                            NOVATO            CA 94948‐6169
HERBERT COOK JR          5745 ROWENA DR                                                                                 TROTWOOD          OH 45415‐2445
HERBERT COOMER           GENERAL DELIVERY                                                                               CANE VALLEY       KY 42720‐9999
HERBERT COOPER           8490 E COUNTY ROAD 200 N                                                                       AVON              IN 46123‐5339
HERBERT COOPER           605 BOXELDER DR                                                                                EDGEWOOD          MD 21040‐2518
HERBERT COOPER           12602 E ERICKSON RD                                                                            INDEPENDENCE      MO 64055‐2433
HERBERT COTEY            3737 ATLANTIC AVE APT 501                                                                      LONG BEACH        CA 90807‐3479
HERBERT COUNTS           12617 GIBSON RD                                                                                ASHVILLE          OH 43103‐9331
HERBERT COVER            400 STEVEN BLVD                                                                                RICHMOND HEIGHTS OH 44143‐1724

HERBERT COX              6870 BUDDY DURHAM RD                                                                           CHEROKEE         AL   35616‐3236
HERBERT CRAWFORD         3911 MICHAEL DR                                                                                CINCINNATI       OH   45255‐4948
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HERBERT CREECY                  604 SANDRALEE DR                                                                                                    TOLEDO              OH     43612‐3347
HERBERT CROSS                   THE MADEKSHO LAW FIRM                8866 GULF FREEWAY STE 440                                                      HOUSTON             TX     77017
HERBERT CRUMB                   112 CHERRY LN                                                                                                       NEW CASTLE          DE     19720‐2761
HERBERT CRUMBOUGH               2424 DUNCANSBY DR SW                                                                                                DECATUR             AL     35603‐1196
HERBERT CRUMM                   5660 ROYAL PALM BEACH BLVD                                                                                          ROYAL PALM BEACH    FL     33411‐8874

HERBERT CUMMINGS                4348 W OAKLEY RD                                                                                                    HARRISON           MI      48625‐9605
HERBERT D BREWER                231 CLEARBROOK                                                                                                      FRANKLIN           OH      45005
HERBERT D DENNISON AND JUDITH   C/O J ROBERT BLACK, HEARD ROBINS     LUBEL, LLP                  3800 BUFFALO SPEEDWAY 5TH                          HOUSTON            TX      77098
DENNISON                        CLOUD BLACK AND                                                  FLR
HERBERT D HARSHBARGER           791 W PARKWOOD ST                                                                                                   SIDNEY             OH      45365‐3628
HERBERT D HAWKER                1475 ROSEDALE WAY                                                                                                   THE VILLAGES       FL      32162‐2068
HERBERT DALTON                  PO BOX 62                                                                                                           WASHBURN           TN      37888‐0062
HERBERT DANIELS                 7226 MISSOURI ST                                                                                                    FONTANA            CA      92336‐0834
HERBERT DANNER JR               13 LEISURE LN                                                                                                       ANDERSON           IN      46013‐1027
HERBERT DAOUST                  G‐8385 W POTTER RD                                                                                                  FLUSHING           MI      48433
HERBERT DARROW IV               PO BOX 9022                          CARE OF GM KOREA                                                               WARREN             MI      48090‐9022
HERBERT DAUGHERTY               872 EASTLAND AVE SE                                                                                                 WARREN             OH      44484‐4506
HERBERT DAUGHERTY               632 ROSEGARDEN DR NE                                                                                                WARREN             OH      44484‐1833
HERBERT DAVIS                   3934 FRIENDSHIP CT                                                                                                  CATLETTSBURG       KY      41129‐8760
HERBERT DAVIS                   1271 W GALBRAITH RD                                                                                                 CINCINNATI         OH      45231‐5555
HERBERT DAVIS                   7535 OLD WOODS CT                                                                                                   SPRINGBORO         OH      45066‐8600
HERBERT DAVIS
HERBERT DEAN                    PO BOX 191                                                                                                          AGES BROOKSIDE     KY      40801‐0191
HERBERT DEAN JR                 10760 MCNALLY RD                                                                                                    SOUTH LYON         MI      48178‐9506
HERBERT DELANEY                 816 GLENDALE ST SW                                                                                                  NORTH CANTON       OH      44720‐2828
HERBERT DELGODO                 18521 CARDONI ST                                                                                                    DETROIT            MI      48203‐2107
HERBERT DEMING                  4425 FRANKLIN ST                                                                                                    CLIFFORD           MI      48727‐9738
HERBERT DENNIS RICHARDS         83 COUNTY ROAD 586                                                                                                  ROGERSVILLE        AL      35652‐2821
HERBERT DENNY                   700 REMBRANDT CIR                                                                                                   IRWIN              PA      15642‐9576
HERBERT DENNY JR                1464 WRIGHTS MILL RD                                                                                                CANTON             GA      30115‐7768
HERBERT DEUSSEN                 2209 OAK PARK DR                                                                                                    WEST BLOOMFIELD    MI      48324

HERBERT DEWEESE                 1264 90TH ST                                                                                                        NIAGARA FALLS      NY      14304‐2621
HERBERT DICKENSON               2105 SPRING LAKE DR                                                                                                 SPRING HILL        TN      37174‐7514
HERBERT DIETLEIN                626 E BEAVER RD                                                                                                     KAWKAWLIN          MI      48631‐9114
HERBERT DIETZ                   5758 BOWMILLER RD                                                                                                   LOCKPORT           NY      14094‐9051
HERBERT DILL                    411 LOGAN ST                                                                                                        GEORGETOWN         IL      61846‐1823
HERBERT DILLON                  5810 ROGERS RD                                                                                                      JAMESTOWN          OH      45335‐9718
HERBERT DIXSON                  2060 YARMUTH DR APT 26                                                                                              ROCHESTER HILLS    MI      48307‐4072
HERBERT DOLCH                   THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET    22ND FLOOR                                         BALTIMORE          MD      21201

HERBERT DOMKE                   2032 22 MILE RD                                                                                                     SEARS              MI      49679‐9507
HERBERT DONNELLY                2794 TUPPER DR                                                                                                      BAY CITY           MI      48706‐1534
HERBERT DORSEY                  4021 W GARRISON AVE                                                                                                 BALTIMORE          MD      21215‐5735
HERBERT DOTY                    50 CHRISTIAN HILL RD                                                                                                AMHERST            NH      03031‐3310
HERBERT DOUGLAS                 1385 SPAULDING RD                                                                                                   DAYTON             OH      45432‐3714
HERBERT DOUGLAS                 10740 N 200 W                                                                                                       ALEXANDRIA         IN      46001‐8591
HERBERT DOUSTOU                 199 COLONIAL RD                                                                                                     PLAINFIELD         CT      06374‐1812
HERBERT DOVE                    2177 FORGE RIDGE CIR                                                                                                NASHVILLE          TN      37217‐3028
HERBERT DOWNEY                  PO BOX 372                                                                                                          SUNNY SIDE         GA      30284‐0372
HERBERT DR. BEELTE              AM LANGEN FELD 11                    31141 HILDESHEIM
HERBERT DRAHEIM                 2438 SUE ANN LN                                                                                                     FLINT               MI     48507‐3553
HERBERT DUBBERSTEIN JR          11807 SAGAMORE DR                                                                                                   YUKON               OK     73099‐6601
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Name                       Address1                         Address2                   Address3              Address4                  City              State   Zip
HERBERT DUDLEY             5457 CLUBOK DR                                                                                              FLINT              MI     48505‐1030
HERBERT DUDLEY             617 W 15TH ST                                                                                               MUNCIE             IN     47302‐4004
HERBERT DUNN               9417 S CALUMET AVE                                                                                          CHICAGO             IL    60619‐7307
HERBERT DYMOND             8437 RHEA AVE                                                                                               NORTHRIDGE         CA     91324‐4542
HERBERT E HILDEBRAND       2674 GETTYSBURG PITSBURG RD                                                                                 ARCANUM            OH     45304
HERBERT E MANSHOLT         CHARLES SCHWAB & CO INC CUST     IRA ROLLOVER               1804 SUMMERFIELD LN                             GODFREY             IL    62035
HERBERT E MATHENY          3321 COTTAGE RD                                                                                             MORAINE            OH     45439‐1303
HERBERT E MILLER           5020 MANGROVE POINT ROAD                                                                                    BRADENTON          FL     34210‐2131
HERBERT E PERRY            5611 HODGIN RD                                                                                              RICHMOND           IN     47374
HERBERT E STEELE           PO BOX 681044                                                                                               FRANKLIN           TN     37068‐1044
HERBERT E STELLAR          ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD    PO BOX 521                EAST ALTON          IL    62024
                                                            ANGELIDES & BARNERD LLC
HERBERT E WELLS II         1207 TEMPLE AVE                                                                                             MOUNT MORRIS      MI      48458‐2583
HERBERT E WOOLLARD         7677 MAD RIVER RD                                                                                           DAYTON            OH      45459‐3611
HERBERT E. ORR CO., INC.   GREG JOHNSON                     335 W. WALL STREET                                                         MARYSVILLE        MI      48040
HERBERT EAGLESON           26614 S STATE ROUTE Z                                                                                       GARDEN CITY       MO      64747‐9745
HERBERT EFAW               HC 62 BOX 36                                                                                                JACKSONBURG       WV      26377‐9504
HERBERT EHRSAM             RUE SCHAUB 37                                                                     1202 GENEVE SWITZERLAND

HERBERT ELLIS              2853 PARADISE PATH                                                                                          SEBRING           FL      33870‐5019
HERBERT EUGENE ALEXANDER   BARON & BUDD PC                  THE CENTRUM STE 1100       3102 OAK LAWN AVE                               DALLAS            TX      75219‐4281
HERBERT EVANS              7020 HICKORY PASS LN                                                                                        ANTIOCH           TN      37013‐5692
HERBERT EWING              12405 SANTA ROSA DR                                                                                         DETROIT           MI      48204‐5319
HERBERT F DIETEL           11500 NE 76TH ST                 STE A‐3 #74                                                                VANCOUVER         WA      98662
HERBERT F LOWE             10401 W CHARLESTON BLVD # B204                                                                              LAS VEGAS         NV      89135
HERBERT F RUBSAM           31 PARKSIDE LANE                                                                                            ROCHESTER         NY      14612‐3231
HERBERT F WHITEAKER        106 W FRANKLIN ST                                                                                           YOUNGSVILLE       NC      27596‐7781
HERBERT FAIR               2809 BARKER AVE APT E42                                                                                     BRONX             NY      10467‐7177
HERBERT FALK               310 SOUTH AVE                                                                                               EDGERTON          WI      53534‐2133
HERBERT FALKINBURG JR      9176 NEW RD                                                                                                 NORTH JACKSON     OH      44451‐9707
HERBERT FARRAND            116 GREAT OAKS WAY                                                                                          ELLENTON          FL      34222‐3610
HERBERT FAUNDEZ            4915 GLENN LODGE RD                                                                                         MENTOR            OH      44060‐1364
HERBERT FEASTER            5618 OXLEY DR                                                                                               FLINT             MI      48504‐7038
HERBERT FECK               5782 E HENRIETTA RD                                                                                         RUSH              NY      14543‐9795
HERBERT FERRELL            14567 E MICHIGAN AVE                                                                                        ALBION            MI      49224‐9108
HERBERT FIELD              5303 S GENESEE RD                                                                                           GRAND BLANC       MI      48439‐7961
HERBERT FIELDS             616 S CANAL ST                                                                                              ALEXANDRIA        IN      46001‐2330
HERBERT FISHEL             1248 WESTVIEW WAY                                                                                           ANN ARBOR         MI      48103‐9739
HERBERT FLANARY            3720 FISHER TWIN RD                                                                                         WEST ALEXANDRIA   OH      45381‐8352

HERBERT FLAVELL
HERBERT FLEISCHER          29718 AUTUMN LN                                                                                             WARREN            MI      48088‐3779
HERBERT FORD               24 HOME ST APT 505                                                                                          ATHENS            OH      45701‐2070
HERBERT FORD               11279 MUIRFIELD TRCE             C/O LISA A COX                                                             FISHERS           IN      46037‐8853
HERBERT FORD               7259 PICASSO DR                                                                                             O FALLON          MO      63368‐6823
HERBERT FORMELLA           29453 ORVYLLE DR                                                                                            WARREN            MI      48092‐2256
HERBERT FOX                3821 S 380 E                                                                                                ANDERSON          IN      46017‐9753
HERBERT FOX JR             2221 BUHLMAN DR                                                                                             WEST BRANCH       MI      48661‐9581
HERBERT FRANCISCO          271 NORTH AVE                                                                                               ROCHESTER         NY      14626‐1053
HERBERT FRAVEL             151 CHESTNUT ST                                                                                             MUNSON            PA      16860‐9705
HERBERT FREEMAN            229 W SELDEN ST                                                                                             MATTAPAN          MA      02126‐2377
HERBERT FREESE             7424 OAK GROVE RD                                                                                           MONROE            TN      38573‐4229
HERBERT FRITH              PO BOX 155                                                                                                  NASHVILLE         MI      49073‐0155
HERBERT FRITZ              519 LARSEN LN                                                                                               SAINT LOUIS       MO      63126‐1601
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Name                     Address1                                Address2                     Address3      Address4               City              State   Zip
HERBERT FROWNER          540 BEDFORD DR                                                                                            WESTLAND           MI     48185‐7425
HERBERT FULTON           6507 VALLEY RIDGE DR                                                                                      FORT WORTH         TX     76140‐9515
HERBERT G DUFFLEY        120 W HILLCREST AVE                                                                                       DAYTON             OH     45405
HERBERT G FLANARY        3720 FISHER TWIN RD                                                                                       WEST ALEXANDRIA    OH     45381‐8352

HERBERT G GILLEY         EDNA D GILLEY, BARRY D GILLEY, TODD N   163 WISDOM RD                                                     EDMONTON           KY     42129
                         GILLEY
HERBERT G MITCHELL       429 EMERSON AVE                                                                                           NEW LEBANON       OH      45345‐1677
HERBERT G SINGLETON      C/O WILLIAMS KHERKHER HART &            8441 GULF FREEWAY, STE 600                                        HOUSTON           TX      77007
                         BOUNDAS, LLP
HERBERT G STUMP          131 WALL ST                                                                                               BROOKVILLE        OH      45309‐1915
HERBERT G STUMP          PO BOX 204                                                                                                BROOKVILLE        OH      45309‐0204
HERBERT G TAYLOR         1832 SE 2ND TER                                                                                           CAPE CORAL        FL      33990‐1319
HERBERT G WAFER          3710 E CORNELL WOODS DR                                                                                   DAYTON            OH      45406‐3713
HERBERT GAINES           20124 SNOWDEN ST                                                                                          DETROIT           MI      48235‐1170
HERBERT GARY             33 FLEETWOOD PL                                                                                           NEWARK            NJ      07106‐3505
HERBERT GAYLORD          1862 W KENDALL RD                                                                                         KENDALL           NY      14476‐9735
HERBERT GERBER           1253 18TH ST                                                                                              MARYSVILLE        MI      48040‐1639
HERBERT GERLITZ          533 3RD AVE NW                                                                                            BYRON             MN      55920
HERBERT GIBBS            3470 LOVVORN RD                                                                                           CARROLLTON        GA      30117‐6659
HERBERT GIBBS JR         6330 W FARRAND RD                                                                                         CLIO              MI      48420‐8242
HERBERT GIBSON           435 S 11TH ST                                                                                             SAGINAW           MI      48601‐1946
HERBERT GIBSON           615 SAINT MARON ST                                                                                        DETROIT           MI      48207‐3913
HERBERT GIERSCHKE        59 GREENHILL TER                                                                                          WEST SENECA       NY      14224‐4118
HERBERT GIFFORD          31567 MCKAIG RD                                                                                           HANOVERTON        OH      44423‐9785
HERBERT GILLAM           BOX 15360 E 206 ST                                                                                        NOBLESVILLE       IN      46060
HERBERT GILLENWATER JR   2944 STANTON ST                                                                                           CANTON            MI      48188‐8029
HERBERT GLASGOW          195 KENWOOD AVE                                                                                           ROCHESTER         NY      14611‐3032
HERBERT GLENN            4489 ROBINSON VAIL RD                                                                                     FRANKLIN          OH      45005‐4740
HERBERT GLINES           8201 WHITEFORD CENTER RD                                                                                  OTTAWA LAKE       MI      49267‐8511
HERBERT GOEBEL           711 DOGWOOD CIR                                                                                           WILDWOOD          FL      34785‐5325
HERBERT GOLDEN           MOTLEY RICE LLC                         28 BRIDGESIDE BLVD           PO BOX 1792                          MT PLEASANT       SC      29465
HERBERT GOLDSMITH AND    ILSE GOLDSMITH JTWROS                   17 CAMERON COURT                                                  MONROE TOWNSHIP   NJ      08831

HERBERT GOOCH            2321 AMARILLO DR                                                                                          O FALLON          MO      63368‐3552
HERBERT GOODWIN III      700 PINEVIEW PL                                                                                           BALTIMORE         MD      21220‐1805
HERBERT GORDON           8517 HIDDEN PINES AVE                                                                                     LAS VEGAS         NV      89143‐1369
HERBERT GOSSER           4608 GREENHILL WAY                                                                                        ANDERSON          IN      46012‐9744
HERBERT GOTH             1185 SE 720 RD                                                                                            DEEPWATER         MO      64740‐9225
HERBERT GRAF             403 HOLIDAY LN                                                                                            GREENTOWN         IN      46936‐1647
HERBERT GRAHAM           18075 DWYER ST                                                                                            DETROIT           MI      48234‐2601
HERBERT GRAHL            29101 EMERSON ST                                                                                          INKSTER           MI      48141‐1120
HERBERT GRAMSE           126 HORSESHOE LN                                                                                          ROCKAWAY BEACH    MO      65740‐9316

HERBERT GRANT            567 E FLINT ST                                                                                            LAKE ORION        MI      48362‐3209
HERBERT GRAVES           BEVAN & ASSOCIATES, LPA, INC.           6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.       OH      44236
HERBERT GREEN            PO BOX 216                                                                                                STOCKBRIDGE       MI      49285‐0216
HERBERT GREEN            4214 S BERKELEY LAKE RD NW                                                                                BERKELEY LAKE     GA      30096‐3020
HERBERT GREEN            1090 AUSTIN AVE                                                                                           LINCOLN PARK      MI      48146‐2001
HERBERT GREENE           6220 N NEBO RD                                                                                            MUNCIE            IN      47304‐8804
HERBERT GREENHAM         2100 MEREDITH DR                                                                                          SPRING HILL       FL      34608‐5655
HERBERT GRIGSBY          2910 PRINCE HALL DR BLDG 9                                                                                DETROIT           MI      48207
HERBERT GRISSOM          43671 N TIMBERVIEW DR                                                                                     BELLEVILLE        MI      48111‐3336
HERBERT GROSS            3426 NORTH DR                                                                                             BEAVERCREEK       OH      45432‐2307
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Name                                Address1                        Address2                     Address3          Address4                 City               State Zip
HERBERT GROSS                       818 TIMBER LN                                                                                           DARIEN               IL 60561‐4126
HERBERT GRUENEWALD                  SPERBERSTR 68                                                                  KAARST GERMANY 41564
HERBERT GULLEDGE                    1735 W CARPENTER RD                                                                                     FLINT              MI   48505‐1917
HERBERT GUSTAFSON                   13800 WILSHIRE WAY                                                                                      HUNTLEY            IL   60142
HERBERT GUSTIN                      PO BOX 52                                                                                               MARKLEVILLE        IN   46056‐0052
HERBERT H BASS                      10501 BREED AVE                                                                                         OAKLAND            CA   94603‐3954
HERBERT H BEEHLER                   1235 BENTON RD                                                                                          SALEM              OH   44460‐9679
HERBERT H BOTKIN                    227 W HENDERSON ST                                                                                      EUREKA             CA   95501‐4073
HERBERT H BRANHAM                   1740 CAROLINA AVENUE                                                                                    ORMOND BEACH       FL   32174‐7270
HERBERT H BUXBAUM                   CGM IRA CUSTODIAN               32 CHICHESTER ROAD                                                      MONROE TOWNSHIP    NJ   08831

HERBERT H FRANCISCO                 271 NORTH AVE                                                                                           ROCHESTER          NY   14626‐1053
HERBERT H HIXSON JR                 2717 ARGELLA AVE                                                                                        DAYTON             OH   45410‐3105
HERBERT H HOUSTON                   C/O GLENDA PHILLIPS             712 ELLSWORTH DRIVE                                                     TROTWOOD           OH   45426
HERBERT H NOELLE                    30 FR BRACHT STR                RECKLINGHAUSEN                                 D45657 GERMANY
HERBERT H SHAFFER JR                30 OWL HOLLOW LN BOX 284                                                                                WOOLRICH           PA   17779‐0284
HERBERT H SILER                     2251 S SMITHVILLE RD                                                                                    DAYTON             OH   45420‐2753
HERBERT H TOWNSON                   C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                               HOUSTON            TX   77007
                                    BOUNDAS LLP
HERBERT HAHL                        3611 CUMMINGS AVE                                                                                       BERKLEY            MI   48072‐3103
HERBERT HAHN                        N8834 KRAUSE RD                                                                                         ENGADINE           MI   49827‐9511
HERBERT HAIDET                      BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS.        OH   44236
HERBERT HALL                        274 VEREDA DEL CIERVO                                                                                   GOLETA             CA   93117‐5307
HERBERT HALL                        6154 HASKELL AVE                                                                                        KANSAS CITY        KS   66104‐2740
HERBERT HALL                        2315 WHISPERING MDWS NE                                                                                 WARREN             OH   44483‐3676
HERBERT HALL                        8639 S 75 E                                                                                             PENDLETON          IN   46064‐9328
HERBERT HAMILTON                    13290 TUSCOLA RD.                                                                                       CLIO               MI   48420
HERBERT HAMMERBACHER                2756 E BOOTH RD                                                                                         AU GRES            MI   48703‐9485
HERBERT HAMRE                       531 LETENDRE AVE                                                                                        PORT EDWARDS       WI   54469‐1505
HERBERT HANCOCK JR                  9331 SUMMER MEADOWS DR                                                                                  COLORADO SPRINGS   CO   80925‐1300

HERBERT HANSON                      315 S RODGERS AVE                                                                                       HARRISON           MI   48625‐9314
HERBERT HARRIS                      218 SAN CARLOS DR                                                                                       CLINTON            MS   39056‐3035
HERBERT HARRIS                      5917 SID DR                                                                                             SAGINAW            MI   48601‐9248
HERBERT HARRISON                    1312 MARSHALLDALE DR                                                                                    ARLINGTON          TX   76013‐3662
HERBERT HARSCH                      BEETHOVENSTR 57                                                                D 71336 WAIBLINGEN
                                                                                                                   GERMANY
HERBERT HARSCH & ELSIE HARSCH‐LIM   BEETHOVENSTR 57                                                                D 71336 WAIBLINGEN
                                                                                                                   GERMANY
HERBERT HARSHBARGER                 791 W PARKWOOD ST                                                                                       SIDNEY             OH   45365‐3628
HERBERT HATLEY                      833 SOUTH BLVD                                                                                          DONNA              TX   78537‐5437
HERBERT HAVILAND                    1432 MOORE RD                                                                                           ADRIAN             MI   49221‐1025
HERBERT HAWKER                      1475 ROSEDALE WAY                                                                                       THE VILLAGES       FL   32162‐2068
HERBERT HEAD                        6394 JARVIS RD                                                                                          SARASOTA           FL   34241‐5611
HERBERT HEAD JR.                    9622 OLD DAYTON ROAD                                                                                    DAYTON             OH   45427
HERBERT HEAVENRIDGE                 18714 COMSTOCK ST                                                                                       LIVONIA            MI   48152‐2858
HERBERT HEIMBACH                    NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                            DAINGERFIELD       TX   75638
HERBERT HELM                        501 BURLINGTON AVE                                                                                      LOGANSPORT         IN   46947‐4914
HERBERT HENDERSON                   4066 TOWNSHIP ROAD 51                                                                                   GALION             OH   44833‐9632
HERBERT HENDRICKSEN                 305 TERRACE ST                                                                                          RAHWAY             NJ   07065‐2414
HERBERT HENRY                       3193 MORROW DR                                                                                          CORTLAND           OH   44410‐9340
HERBERT HEPBURN                     1131 TURRILL RD                                                                                         LAPEER             MI   48446‐3744
HERBERT HEPFER                      730 S CATARACT RD                                                                                       SPENCER            IN   47460‐5630
HERBERT HERMANSON                   5906 N CASSIDY RD                                                                                       EVANSVILLE         WI   53536‐8701
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Name                                 Address1                       Address2                      Address3   Address4               City             State   Zip
HERBERT HESS                         670 S CANFIELD NILES RD                                                                        YOUNGSTOWN        OH     44515‐4026
HERBERT HESS JR                      1110 ORCHARD LN                                                                                HORSESHOE BEND    AR     72512‐1308
HERBERT HICKS                        2201 SW FLEMING DR                                                                             BLUE SPRINGS      MO     64015‐7118
HERBERT HICKSON                      17 BOHN CT                                                                                     BALTIMORE         MD     21237‐3926
HERBERT HILL                         6946 VERNSON DR                                                                                LANSING           MI     48911‐6555
HERBERT HINDS                        121 FIESTA RD                                                                                  ROCHESTER         NY     14626‐3840
HERBERT HINKLE                       4639 S BLACKBERRY CT                                                                           NEW PALESTINE     IN     46163‐9015
HERBERT HITT                         THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX     77017
HERBERT HIXSON JR                    2717 ARGELLA AVE                                                                               DAYTON            OH     45410‐3105
HERBERT HOBBS                        1003 N CENTRAL AVE                                                                             ALEXANDRIA        IN     46001‐9488
HERBERT HODGES                       19930 LAKEFIELD RD                                                                             MERRILL           MI     48637‐9786
HERBERT HOELLE                       2581 MINTON RD                                                                                 HAMILTON          OH     45013‐4335
HERBERT HOERSTER                     OBERDORFSTRASSE 92             D‐69245 BAMMENTAL
HERBERT HOFFMAN                      PO BOX 1336                                                                                    WESTMINSTER      CA      92684‐1336
HERBERT HOFMANN                      17993 MAYBURY DR                                                                               CLINTON TWP      MI      48035‐2483
HERBERT HOGAN                        PO BOX 9                       3740 CHILDERS RD                                                ORTONVILLE       MI      48462‐0009
HERBERT HOLADAY JR                   2712 N WINSTON DR                                                                              MUNCIE           IN      47304‐2181
HERBERT HOLLAND                      2326 107TH AVE                                                                                 OAKLAND          CA      94603‐4009
HERBERT HOLLIS                       1770 JENKINS RD                                                                                BOWLING GREEN    KY      42101‐7834
HERBERT HOLLIS III                   18399 COCHRAN BLVD                                                                             PORT CHARLOTTE   FL      33948‐3329
HERBERT HOLSTEIN                     2301 MASTERS ST                                                                                ORTONVILLE       MI      48462‐9039
HERBERT HOOPER                       18031 DELAWARE ST                                                                              ROSEVILLE        MI      48066‐4680
HERBERT HOOVEN                       9 WATERLOO ST                                                                                  READVILLE        MA      02136‐2013
HERBERT HOOVER                       3563 PINECREST RD                                                                              INDIANAPOLIS     IN      46234‐1417
HERBERT HOOVER BOYS AND GIRLS CLUB   2901 N GRAND BLVD                                                                              SAINT LOUIS      MO      63107‐2608

HERBERT HORTON                       1485 E LANSING RD                                                                              MORRICE          MI      48857‐9637
HERBERT HOUSTON                      712 ELLSWORTH DR               C/O GLENDA PHILLIPS                                             TROTWOOD         OH      45426‐2516
HERBERT HOUSTON SR                   245 S PADDOCK ST UNIT 21                                                                       PONTIAC          MI      48342‐3181
HERBERT HOWCROFT                     54227 SHELBY RD                                                                                SHELBY TWP       MI      48316‐1426
HERBERT HUBER                        601 E 5TH ST                                                                                   DANVILLE         IL      61832‐7215
HERBERT HUDSON                       3415 E 150 N                                                                                   ANDERSON         IN      46012‐9111
HERBERT HUDSON                       PO BOX 6                                                                                       SMARTT           TN      37378‐0006
HERBERT HUFF                         PO BOX 268                                                                                     SAINT DAVID      AZ      85630‐0268
HERBERT HUMPHREY JR                  23477 SHURMER DR                                                                               WARRENSVL HTS    OH      44128‐4931
HERBERT HUNTER                       490 GRANADA DR                                                                                 PONTIAC          MI      48342‐1725
HERBERT HURD                         19 BELOIT DR                                                                                   HEBER SPRINGS    AR      72543‐7615
HERBERT HUTTER                       4604 MARTIN DR                                                                                 NORTH OLMSTED    OH      44070‐2425
HERBERT HYDE                         8513 RIDGE RD                                                                                  GASPORT          NY      14067‐9452
HERBERT HYDE                         2521 GREENBRIER DR                                                                             DAYTON           OH      45406‐1334
HERBERT HYNSON                       252 WINTERWOOD DR                                                                              SHREVEPORT       LA      71106‐7647
HERBERT I I, PAUL A                  27085 W 199TH ST                                                                               GARDNER          KS      66030‐9380
HERBERT ISLAS                        6505 WINFIELD BLVD #B7                                                                         MARGATE          FL      33063
HERBERT J AUCOIN                     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                       HOUSTON          TX      77007
                                     BOUNDAS
HERBERT J BRAY                       632 WILDERNESS TRL                                                                             COLUMBIA         TN      38401‐5599
HERBERT J COOK JR                    5745 ROWENA DR                                                                                 TROTWOOD         OH      45415‐2445
HERBERT J EDWARDS                    8 PLUM CREEK RD                                                                                NORTH EAST       MD      21901‐5340
HERBERT J HARRIS                     9142 N IRISH RD                                                                                MOUNT MORRIS     MI      48458‐9744
HERBERT J HENLEY                     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                      HOUSTON          TX      77007
                                     BOUNDAS, LLP
HERBERT J HOOKER                     580 KANSAS AVE                                                                                 YPSILANTI         MI     48198‐6131
HERBERT J JONES                      726 OSWEGO AVE                                                                                 YPSILANTI         MI     48198‐6114
HERBERT J JURS JR                    319 WEST PARK ST                                                                               ALBION            NY     14411‐1358
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Name                           Address1                         Address2                     Address3             Address4                 City             State   Zip
HERBERT J LAKE JR              5278 E FRANCES RD                                                                                           MOUNT MORRIS      MI     48458‐9751
HERBERT J LE GRYS JR           604 VIRGINIA RD                                                                                             SAINT MARYS       PA     15857
HERBERT J MILBY                4796 ARCHMORE DRIVE                                                                                         KETTERING         OH     45440‐1835
HERBERT J PHILLIPS JR          965 CARLISLE ST                                                                                             PONTIAC           MI     48340‐2626
HERBERT J RANKIN               1326 CATALPA DR                                                                                             DAYTON            OH     45406‐4701
HERBERT J WHORLEY              8513 CENTERLINE RD                                                                                          SARANAC           MI     48881‐9445
HERBERT JACKSON                16755 STATE ROUTE 267                                                                                       EAST LIVERPOOL    OH     43920‐3939
HERBERT JACKSON                4502 DABNY CIR                                                                                              INDIANAPOLIS      IN     46254‐1943
HERBERT JACQUES                8033 HAVILAND BEACH DR                                                                                      LINDEN            MI     48451‐8749
HERBERT JAHR JR                PO BOX 674                                                                                                  SEBEWAING         MI     48759‐0674
HERBERT JAMES                  BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS.       OH     44236
HERBERT JAMES (507526)         COON BRENT W                     PO BOX 4905                                                                BEAUMONT          TX     77704‐4905
HERBERT JEFFRIES               3823 MAYBEL ST                                                                                              LANSING           MI     48911‐2834
HERBERT JEMISON                2407 SPRINGDALE DR               C/O RENA HANKINS                                                           LANSING           MI     48906‐3444
HERBERT JENKS                  408 N WABASH AVE                                                                                            LA FONTAINE       IN     46940‐9036
HERBERT JOHN I/BETTY HERBERT   ICO THE LANIER LAW FIRM P C      6810 FM 1960 WEST                                                          HOUSTON           TX     77069
HERBERT JOHN T (656212)        CICONTE ROSEMAN & WASSERMAN      1300 N KING ST                                                             WILMINGTON        DE     19801‐3220
HERBERT JOHNSON                7917 CAMBY RD                                                                                               CAMBY             IN     46113‐9253
HERBERT JOHNSON                1742 ARROWHEAD DR                                                                                           BELOIT            WI     53511‐3808
HERBERT JOHNSON                1366 N STINE RD                                                                                             CHARLOTTE         MI     48813‐8876
HERBERT JOHNSON                2167 BROOKHAVEN DR                                                                                          FLINT             MI     48507‐4601
HERBERT JOHNSON                220 MESA WOOD DR                                                                                            GLENN HEIGHTS     TX     75154
HERBERT JONES                  4602 WATKINS AVE                                                                                            SARASOTA          FL     34233‐1849
HERBERT JONES                  2727 LONGFELLOW DR SW                                                                                       DECATUR           AL     35603‐4535
HERBERT JONES                  4500 BELLEWOOD DR                                                                                           SAINT LOUIS       MO     63125‐4207
HERBERT JORDAN                 543 PETAIN ST                                                                                               DEFIANCE          OH     43512‐3057
HERBERT JORDAN                 106 MCCOY HOLLOW RD                                                                                         CONNELLSVILLE     PA     15425‐6400
HERBERT JORDON                 8324 SUSSEX ST                                                                                              DETROIT           MI     48228‐2293
HERBERT JOSEPH
HERBERT JOYCE                  19340 YONKA ST                                                                                              DETROIT           MI     48234‐1828
HERBERT JR BUELL JR            14675 M‐106                                                                                                 STOCKBRIDGE       MI     49285
HERBERT JR, BERT               7421 SW 112TH PL                                                                                            OCALA             FL     34476‐8705
HERBERT JR, MARVIN J           3318 BRIAR CREST DR                                                                                         JANESVILLE        WI     53546‐9653
HERBERT JR, RICHARD L          2011 PLUM ST                                                                                                NEW CASTLE        IN     47362‐3144
HERBERT JR, RICHARD LEE        2011 PLUM ST                                                                                                NEW CASTLE        IN     47362‐3144
HERBERT JUDD                   4601 N REED RD                                                                                              CORUNNA           MI     48817‐9728
HERBERT JUSTICE                4032 DAY ST                                                                                                 BURTON            MI     48519‐1512
HERBERT K DANZIGER             CAMILLE F DANZIGER               550 CHERRY COURT                                                           BIRMINGHAM        MI     48009
HERBERT KATZ                   C/O ROBERT W PHILLIPS            SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON        IL     62024
                                                                ANGELIDES & BARNERD LLC
HERBERT KEATHLEY               BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS.      OH      44236
HERBERT KEELER                 685 SANDHILL HULETT RD                                                                                      VILLA RICA       GA      30180‐4017
HERBERT KELLOW                 1410 W 2ND ST                                                                                               FLINT            MI      48503‐5502
HERBERT KELLY                  5272 VILLA CT                                                                                               AVON             IN      46123‐7870
HERBERT KELLY                  626 RIVERSIDE DR APT 2G                                                                                     NEW YORK         NY      10031‐7203
HERBERT KENDALL                6141 HUTCHINS DR                                                                                            BUFORD           GA      30518‐1576
HERBERT KENDALL JR             PO BOX 4400                                                                                                 AUSTINTOWN       OH      44515‐0400
HERBERT KERKHOFF               EUROPARING 34                                                                      68623 LAMPERTHEIM
                                                                                                                  GERMANY
HERBERT KERN                   9297 N VASSAR RD                                                                                            MOUNT MORRIS      MI     48458‐9774
HERBERT KERSHAW                7212 S ELMS RD                                                                                              SWARTZ CREEK      MI     48473‐9440
HERBERT KETCHUM                1505 ALBEMARLE CT                                                                                           DUNEDIN           FL     34698‐2322
HERBERT KEY                    581 LONEHAWK TRL                                                                                            WEST BRANCH       MI     48661‐9487
HERBERT KIEFER                 21898 PICADILLY CIR                                                                                         NOVI              MI     48375‐4793
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Name                  Address1                       Address2                    Address3                 Address4                   City               State   Zip
HERBERT KIERST        PO BOX 119                     4707 STANLEY ST                                                                 GORHAM              NY     14461‐0119
HERBERT KILMER        216 1ST ST                                                                                                     INWOOD              WV     25428‐4008
HERBERT KIMBALL       916 BRINTON RD                                                                                                 LAKE ISABELLA       MI     48893‐7601
HERBERT KIMMEY        12203 WELLINGTON DR                                                                                            MEDWAY              OH     45341‐9640
HERBERT KING          6205 WHITE OAK WAY                                                                                             HUBER HEIGHTS       OH     45424‐4056
HERBERT KLASCHKA      2755 RHODES DR                                                                                                 TROY                MI     48083‐2444
HERBERT KLEINPASS     WESERSTR 46                                                                         47137 DUISBURG GERMANY
HERBERT KLOTZ JR      6809 MOSLEY STREET                                                                                             AMARILLO           TX      79119‐6201
HERBERT KNEE          20650 CHAMPAIGN ST                                                                                             TAYLOR             MI      48180‐2964
HERBERT KNIEPER JR    4025 TOWNSEND RD                                                                                               MARTINSVILLE       IN      46151‐8407
HERBERT KNOBEL        1201 2ND ST                                                                                                    NEW GLARUS         WI      53574‐9323
HERBERT KOCH          179 LUX ST                                                                                                     ROCHESTER          NY      14621‐4228
HERBERT KORTIER       9950 TIPTON HWY                                                                                                TIPTON             MI      49287‐8709
HERBERT KRAML         3114 MEADOW LN NE                                                                                              WARREN             OH      44483‐2632
HERBERT KRAUSS        AM DACHSBERG 40
HERBERT KREBS         1331 LEILA CT                                                                                                  SANTA CRUZ         CA      95062‐2910
HERBERT KUEPFER       15128 INDIAN HOLLOW RD                                                                                         GRAFTON            OH      44044‐9596
HERBERT L BAKER       1600 ANTIETAM AVE APT 2212                                                                                     DETROIT            MI      48207‐2779
HERBERT L BLACK       148 PINGREE AVE                                                                                                PONTIAC            MI      48342‐1157
HERBERT L CHILES      4015 E 28TH ST                                                                                                 DES MOINES         IA      50317‐4203
HERBERT L COVER       400 STEVEN BLVD                                                                                                RICHMOND HEIGHTS   OH      44143‐1724

HERBERT L DAUGHERTY   872 EASTLAND AVENUE SE                                                                                         WARREN             OH      44484
HERBERT L DAVIS       7535 OLD WOODS CT                                                                                              SPRINGBORO         OH      45066‐8600
HERBERT L GLENN       4489 ROBINSON VAIL RD                                                                                          FRANKLIN           OH      45005‐4740
HERBERT L GREEN JR    501 S COMMERCE ST                                                                                              LEWISBURG          OH      45338
HERBERT L HOCUTT      C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                       HOUSTON            TX      77007
                      BOUNDAS LLP
HERBERT L HOLLAND     2326 107TH AVE                                                                                                 OAKLAND            CA      94603‐4009
HERBERT L HORSEMAN    4142 EAST SOCIAL ROW ROAD                                                                                      WAYNESVILLE        OH      45068‐9202
HERBERT L JEFFRIES    3823 MAYBEL ST                                                                                                 LANSING            MI      48911‐2834
HERBERT L LELO        4918 WEISS ST                                                                                                  SAGINAW            MI      48603‐7811
HERBERT L LIBBY       1333 BENT TREE DR                                                                                              HUDSONVILLE        MI      49426
HERBERT L LONG JR     1605 SHERWOOD FOREST DR.                                                                                       MIAMISBURG         OH      45342‐2065
HERBERT L MATHIS      11096 STATE ROUTE 945                                                                                          BOAZ               KY      42027
HERBERT L MERCHANT    ANDREW MCENANEY                HISSEY KIENTZ LLP           9442 CAPITAL OF TX HWY                              AUSTIN             TX      78759
                                                                                 NORTH SUITE 400
HERBERT L PEACH       3007 REVERE AVE                                                                                                DAYTON             OH      45420‐1727
HERBERT L PHILLIPS    BARON & BUDD PC                THE CENTRUM SUITE 1100      3102 OAK LAWN AVE                                   DALLAS             TX      75219‐4281
HERBERT L RADCLIFFE   202 EMERSON ST                                                                                                 ROCHESTER          NY      14613‐2504
HERBERT L RAINES      PO BOX 7097                                                                                                    DEFIANCE           OH      43512
HERBERT L TACKETT     312 DEVONSHIRE ST                                                                                              YPSILANTI          MI      48198‐7816
HERBERT L THAL        471 WEST VALLEY RD                                                                                             STRAFFORD          PA      19087‐5337
HERBERT L THAL JR     471 WEST VALLEY RD                                                                                             WAYNE              PA      19087‐5337
HERBERT L UNDERWOOD   2474 THORNTON DRIVE                                                                                            DAYTON             OH      45406‐1241
HERBERT L WICAL       187 VINE STREET BOX 143                                                                                        SABINA             OH      45169‐1143
HERBERT L WICAL       187 VINE STREET BOX 143                                                                                        SABINA             OH      45169
HERBERT L. ANDERSON   FOSTER & SEAR, LLP             817 GREENVIEW DRIVE                                                             GRAND PRAIRIE      TX      75052
HERBERT L. ANDERSON   C/O FOSTER & SEAR, LLP         817 GREENVIEW DRIVE                                                             GRAND PRAIRIE      TX      75050
HERBERT LAGGERBAUER   HARTGASSE 9                                                                         D‐ 84453 M▄HLDORF AM INN
                                                                                                          GERMANY
HERBERT LAKE          16580 SCHMALLER RD                                                                                             ATLANTA            MI      49709‐8974
HERBERT LAKE JR       5278 E FRANCES RD                                                                                              MOUNT MORRIS       MI      48458‐9751
HERBERT LAKE SR       2808 CAIN ST                                                                                                   YOUNGSTOWN         OH      44511‐2425
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Name                            Address1                          Address2                        Address3   Address4                 City               State   Zip
HERBERT LAMPRECHT               BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.         OH     44236
HERBERT LANG                    706 SPELLMAN DR                                                                                       FLINT               MI     48503‐5228
HERBERT LANGSAN                 5300 WISTERIA DRIVE                                                                                   OKLAHOMA CITY       OK     73142
HERBERT LARSEN                  5725 CLINTON RIVER DR                                                                                 WATERFORD           MI     48327‐2530
HERBERT LATUS                   11077 W FOREST HOME AVE APT 227                                                                       HALES CORNERS       WI     53130‐2553
HERBERT LAW                     1093 DOYLE RD                                                                                         DELTONA             FL     32725‐9035
HERBERT LAWSON                  1651 LINDA RD BHR                                                                                     OKEECHOBEE          FL     34974
HERBERT LEACH SR                PO BOX 28                                                                                             LENNON              MI     48449‐0028
HERBERT LEDBETTER JR            3170 CANTON HWY                                                                                       CUMMING             GA     30040‐4327
HERBERT LEE BOYER               12680 HAVERMALE RD                                                                                    FARMERSVILLE        OH     45325‐9233
HERBERT LEE JAMES               WEITZ & LUXENBERG PC              700 BROADWAY                                                        NEW YORK CITY       NY     10003
HERBERT LEE JAMES               C/O WEITZ & LUXENBERG PC          700 BROADWAY                                                        NEW YORK CITY       NY     10003
HERBERT LEESE                   5690 LA WITZKE RD                                                                                     PORT HOPE           MI     48468‐9756
HERBERT LEGATO                  15340 WINDMILL DR                                                                                     MACOMB              MI     48044‐4928
HERBERT LEGROW                  1190 KETTERING ST                                                                                     BURTON              MI     48509‐2368
HERBERT LEINBERGER              2578 11 MILE RD                                                                                       AUBURN              MI     48611‐9713
HERBERT LELO                    4918 WEISS ST                                                                                         SAGINAW             MI     48603‐7811
HERBERT LENGEFELD               240 E PEASE AVE                                                                                       DAYTON              OH     45449‐1463
HERBERT LENZ                    5336 ELMSFORD DR                                                                                      FLINT               MI     48532‐4021
HERBERT LENZ                    WICHENINSTR 4                                                                97199 OCHSENFORT
                                                                                                             GERMANY
HERBERT LEONARD (445185)        KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                       CLEVELAND          OH      44114
                                                                  BOND COURT BUILDING
HERBERT LESTER                  34209 LAKE RD                                                                                         SHAWNEE             OK     74801‐2489
HERBERT LEWIS                   8450 W HEMLOCK AVE                                                                                    BALDWIN             MI     49304‐8891
HERBERT LICHT                   15 VARIETY TREE CIRCLE                                                                                ALTAMONTE           FL     32714
                                                                                                                                      SPRINGS
HERBERT LINDAHL                 1820 COOPER DR                                                                                        IRVING             TX      75061‐3031
HERBERT LINDERMAN               9189 SOMERSET DR                                                                                      BARKER             NY      14012‐9654
HERBERT LINDSEY                 3940 GROVE TRL                                                                                        LOGANVILLE         GA      30052‐7212
HERBERT LIPSEY                  4914 EDWARDS AVE                                                                                      FLINT              MI      48505‐6208
HERBERT LITZBARSKI              3417 DALE AVE                                                                                         FLINT              MI      48506‐4709
HERBERT LOGAN                   8047 DEL HAVEN RD                                                                                     DUNDALK            MD      21222‐3424
HERBERT LONG                    137 E VINE ST                                                                                         JAMESTOWN          IN      46147‐9112
HERBERT LONG                    5 DEVONSHIRE DR                                                                                       DANVILLE           IL      61834‐5907
HERBERT LONG JR                 1605 SHERWOOD FOREST DR                                                                               MIAMISBURG         OH      45342‐2065
HERBERT LOREE                   1639 PORTAL DR NE                                                                                     WARREN             OH      44484‐1134
HERBERT LORIMER                 6718 BANDERA ST 241                                                                                   PORT RICHEY        FL      34668
HERBERT LOUIS                   36419 JEFFREY DR                                                                                      STERLING HEIGHTS   MI      48310‐4363
HERBERT LOVETT                  24 LATONIA ST                                                                                         EDISON             NJ      08817‐4221
HERBERT LOWRY                   10661 W KELLY RD                                                                                      LAKE CITY          MI      49651‐9035
HERBERT LUCE JR                 1954 MAPLE ST                                                                                         HOLT               MI      48842‐1612
HERBERT LUYENDYK                4078 MISSION ST NW                                                                                    WALKER             MI      49534‐2100
HERBERT LYALL                   2960 LAKEWOOD DR                                                                                      TRENTON            MI      48183‐3468
HERBERT LYNCH                   BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                          BOSTON HEIGHTS     OH      44236
HERBERT LYNN                    RR #5 BOX 99                                                                                          LIBERTY            KY      42539
HERBERT M BLAY                  PO BOX 2181                                                                                           DETROIT            MI      48202‐0181
HERBERT M CAMPBELL              639 YEADON AVE                                                                                        YEADON             PA      19050
HERBERT M HUMPIDGE              1014 WILMINGTON ISLAND RD                                                                             SAVANNAH           GA      31401‐4507
HERBERT M HUMPIDGE AND LISA H   1014 WILMINGTON ISLAND RD                                                                             SAVANNAH           GA      31410
CONOR
HERBERT M LEVENGARD TRUSTEE     HML TRUST                         3005 S LEISURE WORLD BLVD APT                                       SILVER SPRING      MD      20906‐8302
HERBERT M LEWIS                 C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                           HOUSTON            TX      77007
                                BOUNDAS LLP
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Name                             Address1                           Address2                    Address3                   Address4                City              State   Zip
HERBERT M PERRIN                 4737 BOKAY DR.                                                                                                    DAYTON             OH     45440‐2024
HERBERT M SNYDER                 409 WILLOWWOOD DR                                                                                                 DAYTON             OH     45405‐2930
HERBERT MACK JR                  PO BOX 127                                                                                                        NEY                OH     43549‐0127
HERBERT MAHLGUT                  152 NESBIT LN                                                                                                     ROCHESTER HILLS    MI     48309‐2171
HERBERT MALLOY JR                905 SALLIE SUE DR                                                                                                 MARSHALL           TX     75672‐2449
HERBERT MARSHALL                 875 W SEYBERT ST                                                                                                  PENDLETON          IN     46064‐9094
HERBERT MARTIN                   820 FARNSWORTH ST                                                                                                 WHITE LAKE         MI     48386‐3222
HERBERT MASCHKE                  3899 HARMON DR                                                                                                    FREMONT            MI     49412‐7717
HERBERT MATHENY                  3321 COTTAGE RD                                                                                                   MORAINE            OH     45439‐1303
HERBERT MATTIS                   7937 VISTA AVE                                                                                                    GRAND LEDGE        MI     48837‐8931
HERBERT MAU                      37781 AMBER DRIVE                                                                                                 FARMINGTN HLS      MI     48331‐1169
HERBERT MC KAY                   4223 CLARA ST                                                                                                     CUDAHY             CA     90201‐5009
HERBERT MC KEE                   384 ADAMS CT                                                                                                      FERNDALE           MI     48220‐3222
HERBERT MC LEAN                  2350 NICHOLS ST                                                                                                   TRENTON            MI     48183‐2458
HERBERT MCBEE                    PO BOX 314                                                                                                        PHILLIPSBURG       OH     45354‐0314
HERBERT MCBRIDE                  550 AUTUMN OAKS DR                                                                                                ELLISVILLE         MO     63021‐5988
HERBERT MCCARRICK                211 LONE PINE STREET                                                                                              ROSCOMMON          MI     48653‐8241
HERBERT MCDOUGALL                2304 GROVE PARK RD                                                                                                FENTON             MI     48430‐1442
HERBERT MCGEORGE                 4866 FRANLOU AVE                                                                                                  DAYTON             OH     45432‐3118
HERBERT MCINTOSH                 3811 PARKWAY CT                                                                                                   FLINT              MI     48503‐4558
HERBERT MCKINNEY                 53 SUMMIT LN                                                                                                      CARNESVILLE        GA     30521‐3973
HERBERT MCKONE                   2355 SEYMOUR RD                                                                                                   SWARTZ CREEK       MI     48473‐9790
HERBERT MCLIN HUMPIDGE TRUSTEE   F/B/O ROBERT WEBSTER HUMPIDGE      U/A DATED 7/6/90            1014 WILINGTON ISLAND RD                           SAVANNAH           GA     31410‐4507

HERBERT MCLIN HUMPIDGE TRUSTEE   ROBERT WEBSTER HUMPIDGE JR TRUST   1014 WILMINGTON ISLAND RD                                                      SAVANNAH           GA     31410
HERBERT MCMANUS                  2854 COUNTY ROAD 27                                                                                               WOODLAND           AL     36280‐7018
HERBERT MEYER                    SANDFELD‐OST 14                                                                           21755 HECHTHAUSEN
                                                                                                                           GERMANY
HERBERT MICHAEL DONALD           1155 COUNTY RD 1100N                                                                                              CHAMPAIGN          IL     61822
HERBERT MIELKE                   6460 SWAN CREEK RD                                                                                                SAGINAW           MI      48609‐7035
HERBERT MIKE                     2482 LOS ALAMOS CT                                                                                                LAS CRUCES        NM      88011‐1657
HERBERT MILBY                    4796 ARCHMORE DR                                                                                                  KETTERING         OH      45440‐1835
HERBERT MILLER                   14335 BAINBRIDGE ST                                                                                               LIVONIA           MI      48154‐4358
HERBERT MILLER                   5020 MANGROVE POINT RD                                                                                            BRADENTON         FL      34210‐2131
HERBERT MILLER                   RT 7 BOX 171                                                                                                      DONIPHAN          MO      63935
HERBERT MILLER                   12104 E 39TH TER S                                                                                                INDEPENDENCE      MO      64052‐2406
HERBERT MILLER                   9591 APPLE HARVEST DR                                                                                             MARTINSBURG       WV      25403‐6015
HERBERT MILLER                   3 W MADISON AVE                                                                                                   WEST HAZLETON     PA      18202‐2109
HERBERT MILLIGAN                 3126 COUNTY ROAD 327                                                                                              MOULTON           AL      35650‐6913
HERBERT MILLS                    PO BOX 1107                                                                                                       SPRING HILL       TN      37174‐1107
HERBERT MINNAERT                 82365 ODLUM DR                                                                                                    INDIO             CA      92201‐9778
HERBERT MITCHELL                 429 EMERSON AVE                                                                                                   NEW LEBANON       OH      45345‐1677
HERBERT MITCHELL                 11511 SANTA GERTRUDES AVE APT 24                                                                                  WHITTIER          CA      90604‐3492
HERBERT MONSCHAU                 6055 PINNACLE LN APT 904                                                                                          NAPLES            FL      34110‐7359
HERBERT MONTGOMERY               508 PIXLEY LN                                                                                                     NOBLESVILLE       IN      46062‐9737
HERBERT MONTS                    PO BOX 7612                                                                                                       BLOOMFIELD        MI      48302‐7612
HERBERT MOORE                    3741 HUNT RD                                                                                                      LAPEER            MI      48446‐2919
HERBERT MOORE                    4492 LEWIS AVE                                                                                                    IDA               MI      48140‐9506
HERBERT MORSE                    18 PENNINGTON AVE                                                                                                 MORTON            PA      19070‐1524
HERBERT MUHAMMAD                 219 FLAMINGO DR                                                                                                   NEWARK            DE      19702
HERBERT MULL JR                  1083 MIKES WAY                                                                                                    GREENWOOD         IN      46143‐1060
HERBERT MULLEN                   161 EARLMOOR BLVD                                                                                                 PONTIAC           MI      48341‐2745
HERBERT MUNSON                   170 WHITTEMORE ST                                                                                                 PONTIAC           MI      48342‐3064
HERBERT MURPHY                   2186 MCGREGOR RD                                                                                                  LINCOLN           MI      48742‐9764
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HERBERT MYERS                      9413 W LONE BEECH DR                                                                                MUNCIE              IN 47304‐9097
HERBERT MYERS                      612 N CHERRY ST                                                                                     HARTFORD CITY       IN 47348‐1514
HERBERT MYERS JR                   5084 BLISS LN                                                                                       NEWAYGO             MI 49337‐9776
HERBERT N LEVIN OR LINDA E LEVIN   26181 PAYSANDU DR                                                                                   PUNTA GORDA         FL 33983
HERBERT NASH                       122 4TH ST                                                                                          TIPTON              IN 46072‐1851
HERBERT NELSON                     5535 HARVARD RD                                                                                     DETROIT             MI 48224‐2163
HERBERT NESBITT                    PO BOX 124                                                                                          KINGSTREE           SC 29556‐0124
HERBERT NESSELROTTE                171 W 8TH ST                                                                                        SALEM               OH 44460‐1501
HERBERT NETTLES                    13741 HART ST                                                                                       OAK PARK            MI 48237‐1176
HERBERT NEW JR                     71 HOLLY HILL DR                                                                                    SOMERSET            KY 42503‐5786
HERBERT NICHOLS                    829 BEACH BUGGY LN                                                                                  LINDEN              MI 48451‐9680
HERBERT NORMAN                     3594 MEADOW VIEW DR                                                                                 OXFORD              MI 48371‐4140
HERBERT NORTON                     10407 N 1850 EAST RD                                                                                WESTVILLE            IL 61883‐6224
HERBERT NOVACK REVOCABLE TRUST     UA 3/14/00                       PO BOX 164                                                         WAVERLY             FL 33877
HERBERT NUDELL                     2480 E HILL RD                                                                                      GRAND BLANC         MI 48439‐5064
HERBERT NUGENT                     926 I ST                                                                                            BEDFORD             IN 47421‐2624
HERBERT NUTTER                     25900 WINTON ST                                                                                     SAINT CLAIR SHORES MI 48081

HERBERT O HENDERSON                4066 TOWNSHIP RD. 51                                                                                GALION             OH   44833‐9632
HERBERT O SORRELL                  84 OLD MAIN WEST                                                                                    MIAMISBURG         OH   45342‐3174
HERBERT OBERHAUS                   366 MONIKA PL                                                                                       SAINT AUGUSTINE    FL   32080
HERBERT OESTERLEIN                 AN DER AU 7                      83324 RUHPOLDING             GERMANY
HERBERT OESTERLEIN                 AN DER AU 7                                                              83324 RUHPOLDING
                                                                                                            GERMANY
HERBERT OHRENBERG                  718 PINE ST                                                                                         SWEET SPRINGS      MO   65351‐1422
HERBERT OLSON                      5729 MANCHESTER HILLS DR SE                                                                         GRAND RAPIDS       MI   49546‐9036
HERBERT OR KATHLEEN PROUDLEY       37 SULKY DRIVE                                                           PENETANGUISHENE, ONTARIO
                                                                                                            L9M 1J4 CANADA
HERBERT ORR                        NO ADVERSE PARTY
HERBERT ORTIZ                      6000 BOULDER CREEK DR                                                                               AUSTINTOWN         OH   44515‐4270
HERBERT OWENS                      262 GREAT PINES DR                                                                                  OXFORD             MI   48371‐3457
HERBERT OWENS                      2028 OAKRIDGE DR                                                                                    DAYTON             OH   45417‐2344
HERBERT OWENS                      16136 WHITCOMB ST                                                                                   DETROIT            MI   48235‐3856
HERBERT P & DORIS M KEAN           20 HARWICH RD                                                                                       MORRISTOWN         NJ   07960
HERBERT P LEITZ                    3051 E STELLA LN                                                                                    PHOENIX            AZ   85016‐2247
HERBERT P. LEITZ
HERBERT PARKER                     3367 SPRINGBROOK AVE                                                                                KALAMAZOO          MI   49004‐9659
HERBERT PATE JR                    4307 E COURT ST                                                                                     BURTON             MI   48509‐1815
HERBERT PAUL                       1073 W 350 N                                                                                        KOKOMO             IN   46901‐8107
HERBERT PEACH                      3007 REVERE AVE                                                                                     DAYTON             OH   45420‐1727
HERBERT PEAK                       727 HUNTER BLVD                                                                                     LANSING            MI   48910‐4542
HERBERT PEARSON                    3125 MINNEPATA RD                                                                                   NATIONAL CITY      MI   48748‐9625
HERBERT PECK                       1024 EADINGTON AVE                                                                                  FULLERTON          CA   92833‐3902
HERBERT PECK JR                    666 BLACKBIRD GREENSPRING ROAD                                                                      SMYRNA             DE   19977‐9429
HERBERT PELTON                     970 W MAUMEE ST                                                                                     ADRIAN             MI   49221‐1916
HERBERT PENIX                      BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS         OH   44236
HERBERT PENZIEN                    55940 LUCHTMAN RD                                                                                   MACOMB             MI   48042‐1719
HERBERT PERO                       245 N 11 MILE RD                                                                                    LINWOOD            MI   48634‐9732
HERBERT PERRIN                     4737 BOKAY DR                                                                                       DAYTON             OH   45440‐2024
HERBERT PERRYDORE                  PO BOX 57                                                                                           STEELE             MO   63877‐0057
HERBERT PERSIA                     1336 HIGHVIEW ST                                                                                    DEARBORN           MI   48128‐1006
HERBERT PETERS                     9429 COUNTY ROAD 254                                                                                BELLE CENTER       OH   43310‐9554
HERBERT PFAFFENBERGER              ALTE SCHMIEDE 20                 25488 HOLM
HERBERT PFAFFENBERGER              ALTE SCHMIEDE 20                                                                                    HOLM                    25488
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Name                         Address1                         Address2                     Address3   Address4                  City              State   Zip
HERBERT PFLUG                15 RAINBOW LN                                                                                      SPOTSWOOD          NJ     08884‐1422
HERBERT PHELPS               APT 1037                         6980 EAST SAHUARO DRIVE                                           SCOTTSDALE         AZ     85254‐5294
HERBERT PHILLIPS             237 WOODSIDE RD                                                                                    ROYAL OAK          MI     48073‐2687
HERBERT PHILLIPS JR          PO BOX 430646                                                                                      PONTIAC            MI     48343‐0646
HERBERT PICKEL               7072 E US HIGHWAY 36                                                                               AVON               IN     46123‐7779
HERBERT PIECH                27130 PLEASANT DR                                                                                  WARREN             MI     48088‐6067
HERBERT PIERT JR             120 TIMBERS AVE                                                                                    RUSTON             LA     71270‐9038
HERBERT PIGG                 4059 W FRANKLIN ST                                                                                 BELLBROOK          OH     45305‐1546
HERBERT PLAKE                907 N INDEPENDENCE ST                                                                              TIPTON             IN     46072‐1038
HERBERT POLING               4256 TOD AVE NW                                                                                    WARREN             OH     44485‐1267
HERBERT POSEY                499 ELDON DR NW                                                                                    WARREN             OH     44483‐1347
HERBERT POTES                60M55 EAST                       UNIT 213                                                          TAWAS CITY         MI     48763
HERBERT POWSER               1092 ELK RUN                                                                                       HOWELL             MI     48843‐7014
HERBERT PRATHER              2251 CALIFORNIA AVE                                                                                SAGINAW            MI     48601‐5307
HERBERT PRESTON              1983 CLYDE RD                                                                                      HIGHLAND           MI     48357‐2101
HERBERT PRINGLE JR           PO BOX 661                                                                                         LOBECO             SC     29931‐0661
HERBERT PROUDLEY             37 SULKY DRIVE                                                           PENETANGUISHENE ONTARIO
                                                                                                      CANADA L9M 1J4
HERBERT PUCKETT              3831 HIGHWAY 332                                                                                   HOSCHTON          GA      30548‐3038
HERBERT PYLE                 920 BRADLEY AVE                                                                                    FLINT             MI      48503‐3107
HERBERT Q STEVENSON          1001 4TH ST                                                                                        BAY CITY          MI      48708‐6019
HERBERT Q STEVENSON          1101 4TH ST                                                                                        BAY CITY          MI      48708‐6021
HERBERT R ADAMS              PO BOX 302                                                                                         CENTER LOVELL     ME      04016‐0302
HERBERT R BRADLEY            796 URF RD                                                                                         COWLESVILLE       NY      14037‐9795
HERBERT R FECK               5782 E HENRIETTA RD.                                                                               RUSH              NY      14543
HERBERT R FREESE             7424 OAK GROVE RD                                                                                  MONROE            TN      38573‐4229
HERBERT R HYDE               2521 GREENBRIER DR                                                                                 DAYTON            OH      45406‐1334
HERBERT R KING               6205 WHITE OAK WAY                                                                                 HUBER HEIGHTS     OH      45424
HERBERT R LAWSON             1651 LINDA RD BHR                                                                                  OKEECHOBEE        FL      34974
HERBERT R WHARTON            3663 SOUTH DIAMOND MILL RD                                                                         GERMANTOWN        OH      45327‐9515
HERBERT RAEDEKE              919 KOPRA ST                                                                                       TRUTH OR          NM      87901‐1655
                                                                                                                                CONSEQUENCES
HERBERT RAINES               PO BOX 7097                                                                                        DEFIANCE          OH      43512‐7097
HERBERT RAK                  7073 PARKRIDGE PKWY                                                                                SWARTZ CREEK      MI      48473‐1551
HERBERT RAMSEY               47950 PAVILLON RD                                                                                  CANTON            MI      48188‐6294
HERBERT RANKIN               1326 CATALPA DR                                                                                    DAYTON            OH      45406‐4701
HERBERT RANSOM               2046 LOCKBOURNE RD               C/O KIDNEY CENTRE COLUMBUS                                        COLUMBUS          OH      43207‐1462
                                                              SOUTH
HERBERT RAUCH                ANDREAS‐SCHRECK‐STRABE9                                                  D‐88250 WEINGARTEN
                                                                                                      GERMANY
HERBERT RAWLS JR             PO BOX 1333                                                                                        ANDALUSIA         AL      36420‐1223
HERBERT RECKART              459 WHITE SCHOOL RD                                                                                BRUCETON MILLS    WV      26525
HERBERT REED                 1910 NW WILLOW DR                                                                                  GRAIN VALLEY      MO      64029‐9699
HERBERT REESE                717 TEASEL DR                                                                                      KINGSPORT         TN      37660‐3297
HERBERT REICHEL              985 HILLSIDE DR                                                                                    NORTH BRUNSWICK   NJ      08902‐3212

HERBERT REICHEL              985 HILLSIDE DR                                                                                    NO. BRUNSWICK     NJ      08902‐3212
HERBERT REID                 271 SCHUELE AVE                                                                                    BUFFALO           NY      14215‐3732
HERBERT REINIER              6007 ST. RTE. #252                                                                                 BROOKVILLE        IN      47012
HERBERT REYNOLDS             3813 OXLEY DR                                                                                      RICHLAND HILLS    TX      76118‐5314
HERBERT REYNOLDS             442 W BURNSIDE RD                                                                                  FOSTORIA          MI      48435‐9656
HERBERT RIALS JR             2065 PHILLIPS AVE                                                                                  HOLT              MI      48842‐1325
HERBERT RICHARD L (463728)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                        BALTIMORE         MD      21202
                                                              CHARLES CENTER 22ND FLOOR
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Name                               Address1                         Address2                     Address3   Address4                  City             State   Zip
HERBERT RICHMOND                   677 NUTT RD                                                                                        DAYTON            OH     45458‐9368
HERBERT RICHMOND                   14427 ULYSSES DR                                                                                   HUDSON            FL     34667‐1297
HERBERT RIEGERT                    258 BA WOOD LN                                                                                     JANESVILLE        WI     53545‐0705
HERBERT RIGGINS                    1670 AUSTIN AVE                                                                                    LINCOLN PARK      MI     48146‐2104
HERBERT RILEY                      3915 WISNER ST                                                                                     SAGINAW           MI     48601‐4247
HERBERT RIMMELE                    1044 BELLE COVE RD                                                                                 MOUNTAIN HOME     AR     72653‐8439
HERBERT RITTER                     4457 W HOWE RD                                                                                     DEWITT            MI     48820‐9295
HERBERT ROBERTS                    RR 13                                                                                              MANSFIELD         OH     44903
HERBERT ROBERTSON                  348 WENDELL SCOTT DRIVE                                                                            DANVILLE          VA     24540‐2538
HERBERT ROBINSON                   3799 RED BUD LN                                                                                    CLARKSTON         MI     48348‐1452
HERBERT ROBINSON                   37 BRANDY CREEK DR                                                                                 ROANOKE RAPIDS    NC     27870‐8634
HERBERT ROBINSON                   1308 N HAYFORD AVE                                                                                 LANSING           MI     48912‐3318
HERBERT ROBINSON                   127 NOANETT ROAD                                                                                   NEEDHAM           MA     02494
HERBERT ROCKWOOD                   PO BOX 124                                                                                         OTISVILLE         MI     48463‐0124
HERBERT ROESER                     7483 DYSINGER RD                                                                                   LOCKPORT          NY     14094‐9053
HERBERT ROGERS                     3408 ARBOR POINTE DR                                                                               INDIAN TRAIL      NC     28079
HERBERT RORRER                     1861 MORGAN FORD RD                                                                                RIDGEWAY          VA     24148‐4105
HERBERT ROSE                       2107 NW 10TH AVE                                                                                   CAPE CORAL        FL     33993‐3905
HERBERT ROSS                       6742 KENTLAND CIR                                                                                  INDIANAPOLIS      IN     46237‐9430
HERBERT ROSSON                     6131 XAVIER CT                                                                                     ARVADA            CO     80003‐6837
HERBERT ROTH                       508 E SALZBURG RD                                                                                  BAY CITY          MI     48706‐9713
HERBERT ROYSDEN                    2925 WELLINGTON PL                                                                                 MURFREESBORO      TN     37128‐4855
HERBERT RUBINSTEIN AND             BARBARA RUBINSTEIN               14521 HICKORY HILL CT #412                                        FT MYERS          FL     33912
HERBERT RUEGER                     19290 NELSON RD                                                                                    SAINT CHARLES     MI     48655‐9729
HERBERT RUTKOSKI                   7440 SEVERANCE RD                                                                                  CASS CITY         MI     48726‐9368
HERBERT RUTLEY                     9216 PANAMA AVE                                                                                    YPSILANTI         MI     48198
HERBERT S AND JANE S SCARBOROUGH   1040 LULLWATER CT                                                                                  WHITE PLAINS      GA     30678
HERBERT S FOX                      315 EAST 72ND ST                 APT 17C                                                           NEW YORK          NY     10021
HERBERT S LAWTON JR                C/O EMBRY & NEUSNER              PO BOX 1409                                                       GROTON            CT     06340
HERBERT SAFFLE                     8760 SMITH RD                                                                                      LITCHFIELD        OH     44253‐9715
HERBERT SANBORN JR                 5530 N FLINT RD                                                                                    ROSCOMMON         MI     48653‐9298
HERBERT SANCHEZ                    7919 CROWNDALE AVE                                                                                 WHITTIER          CA     90606‐2518
HERBERT SANDLIN                    12525 DIXIE HWY                                                                                    HOLLY             MI     48442‐9402
HERBERT SATTERTHWAITE              3011 S 600 W                                                                                       HUNTINGTON        IN     46750‐9131
HERBERT SAUER                      12422 GRINDLEY DR                                                                                  STERLING HTS      MI     48312‐3144
HERBERT SAUERHAGE                  126 SUNSET DR                                                                                      PIEDMONT          MO     63957‐1021
HERBERT SCHAFER JR                 1906 FARMSIDE DR                                                                                   KETTERING         OH     45420‐3622
HERBERT SCHLOEMER                  2838 HARRISON AVE                                                                                  TRENTON           MI     48183‐2436
HERBERT SCHMID                     KOLBINGER STR 4                                                          MUEHLHEIM 78570 GERMANY

HERBERT SCHNEIDER                  1708 NORTH 16TH ST                                                                                 READING          PA      19604
HERBERT SCHNEIDER                  1078 MARIE RD                                                                                      RYDAL            PA      19046‐3415
HERBERT SCHNEIDER                  22148 CYNTHEANNE RD                                                                                NOBLESVILLE      IN      46060‐9649
HERBERT SCHNEIDER                  292 LETTINGTON AVE                                                                                 ROCHESTER        NY      14624‐2912
HERBERT SCHOMBERG                  9186 N PAULINA AVE                                                                                 PENTWATER        MI      49449‐8725
HERBERT SCHOONOVER                 30 RANDY ST                                                                                        WEST UNION       OH      45693‐9753
HERBERT SCHROEDER JR               450 CARLISLE AVE                                                                                   DAYTON           OH      45410‐2702
HERBERT SCHUBERT                   C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS       OH      44236
HERBERT SCHULMAN                   100 STONE HILL RD                APT C3                                                            SPRINGFIELD      NJ      07081
HERBERT SCHULTZ                    160 HIGHLAND AVE                                                                                   TONAWANDA        NY      14150‐5361
HERBERT SCHUMAKER JR               11784 ROAD Z                                                                                       COLUMBUS GRV     OH      45830‐9720
HERBERT SCHWANTES                  W13482 S PLEASANT RD                                                                               WESTFIELD        WI      53964‐8304
HERBERT SCLAR                      12317 TEXAS AVE                                                                                    LOS ANGELES      CA      90025
HERBERT SEALS JR                   8300 N SANTA BARBARA DR RR 7                                                                       MUNCIE           IN      47303
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HERBERT SEARLES JR    1315 PARK ST                                                                                     MANISTEE           MI     49660‐2543
HERBERT SEDITA        164 RENWOOD AVE                                                                                  KENMORE            NY     14217‐1024
HERBERT SEEBER        88 COOK ST                                                                                       MASSENA            NY     13662‐2559
HERBERT SEGARS        6082 HIGHWAY 52                                                                                  GILLSVILLE         GA     30543‐2123
HERBERT SEIPEL        4317 SUSSEX DR                                                                                   ANDERSON           IN     46013‐4460
HERBERT SENNHENN      5950 COUNTY ROAD 283                                                                             VICKERY            OH     43454‐9747
HERBERT SENTNER       14 CARRIAGE LANE                                                                                 NEWARK             DE     19711
HERBERT SHAFFER       1966 WOODLAND TRCE                                                                               YOUNGSTOWN         OH     44515‐4822
HERBERT SHAFFER JR    30 OWL HOLLOW LN BOX 284                                                                         WOOLRICH           PA     17779
HERBERT SHANKS        2201 HALL LN                                                                                     WIXOM              MI     48393‐4238
HERBERT SHELTON JR    9 10 MILE RD                                                                                     RANGER             WV     25557‐9794
HERBERT SHERMAN       1328 BAY ST                                                                                      SAGINAW            MI     48602‐4020
HERBERT SHIPMAN       43 SHADYWOOD DR                                                                                  ROCHESTER          NY     14606‐4941
HERBERT SIDEBOTTOM    17348 POMMOSA RD                                                                                 WARSAW             MO     65355‐5167
HERBERT SILER         2251 S SMITHVILLE RD                                                                             KETTERING          OH     45420‐1461
HERBERT SILVEY        1206 FACTORY ST                                                                                  FRANKTON           IN     46044‐9632
HERBERT SIMPSON       3755 HACKETT RD                                                                                  SAGINAW            MI     48603‐9674
HERBERT SITZLER       8821 117TH ST                                                                                    SEMINOLE           FL     33772‐3526
HERBERT SKEENS        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS         OH     44236
HERBERT SKERRATT JR   415 SECRIST LN                                                                                   GIRARD             OH     44420‐1114
HERBERT SLAGHT        2331 GLEN HILL CT                                                                                WATERFORD          MI     48329‐2312
HERBERT SLATER        119 STRINGHAM RD APT 45                                                                          LAGRANGEVILLE      NY     12540‐5540
HERBERT SMILEY        140 DARROW PL APT 3B                                                                             BRONX              NY     10475‐1824
HERBERT SMITH         2063 GRANGE HALL RD                                                                              FENTON             MI     48430‐1627
HERBERT SMITH         69 BLUE JAY LN                                                                                   BRODHEAD           KY     40409‐8083
HERBERT SMITH         158 DUERSTEIN ST                                                                                 WEST SENECA        NY     14210‐2541
HERBERT SMITH         902 JEFFERSON CIR                                                                                MARTINSVILLE       VA     24112‐3913
HERBERT SMITH         1707 LAFAYETTE AVE                                                                               LEBANON            IN     46052‐1089
HERBERT SMITH         611 ELIZABETH LN                                                                                 LAKELAND           FL     33809‐3720
HERBERT SMITH         8509 W 1100 N                                                                                    ELWOOD             IN     46036‐9003
HERBERT SMITH         3516 MADISON AVE                                                                                 ANDERSON           IN     46013‐4139
HERBERT SMITH         351 JAYBIRD LN                                                                                   GRAYSON            KY     41143‐8280
HERBERT SMITH         940 PLANTATION ST                                                                                BROWNSVILLE        TX     78526‐3865
HERBERT SMITHSON      133 DORMAR DR                                                                                    NORTH SYRACUSE     NY     13212‐2707
HERBERT SNOW          782 VAN DYKE RD                                                                                  BEAVERTON          MI     48612‐9151
HERBERT SNYDER        17105 HUNTING MEADOWS DR                                                                         STRONGSVILLE       OH     44136‐6227
HERBERT SOLE          16479 ANGLE DR                                                                                   LINDEN             MI     48451‐8520
HERBERT SORRELL       84 OLD MAIN ST W                                                                                 MIAMISBURG         OH     45342‐3174
HERBERT SPANN         185 BERKELEY TER                                                                                 PLAINFIELD         NJ     07062‐1516
HERBERT SPENCER JR    45417 WAKEFIELD ST                                                                               SHELBY TOWNSHIP    MI     48317‐4757
HERBERT STAGGS        THE MADEKSHO LAW FIRM          8866 GULF FREEWAY STE 440                                         HOUSTON            TX     77017
HERBERT STAMPER       844 WELLMEIER AVE                                                                                DAYTON             OH     45410
HERBERT STARNES       4492 RIVES EATON RD                                                                              RIVES JUNCTION     MI     49277‐9402
HERBERT STEDRY JR     2220 S VAN BUREN RD                                                                              REESE              MI     48757‐9230
HERBERT STEELE        608 RALEIGH DR                                                                                   COLUMBUS           OH     43228‐2915
HERBERT STEELE        PO BOX 681044                                                                                    FRANKLIN           TN     37068‐1044
HERBERT STEHLING      WAECHWEG 3                                                             D 88400 BIBERACH RISS
                                                                                             GERMANY
HERBERT STEINKE       2229 107TH AVE                                                                                   OTSEGO             MI     49078
HERBERT STEPHENSON    6213 SPLITROCK TRL                                                                               APEX               NC     27539‐9778
HERBERT STEVENS       6391 SAMSON DR                                                                                   GRAND BLANC        MI     48439‐9721
HERBERT STEVENS       100 CANDLELIGHT DR APT 111                                                                       EBENSBURG          PA     15931‐1973
HERBERT STEWART       1061 N GENESEE RD                                                                                BURTON             MI     48509‐1432
HERBERT STIER JR      1516 WINTON AVE                                                                                  KALAMAZOO          MI     49001‐5118
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HERBERT STINE JR                    5424 SIERRA CIR E                                                                                       DAYTON            OH     45414‐3670
HERBERT STOCKARD                    BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS        OH     44236
HERBERT STOHLER                     6448 S BAROUCHE                                                                                         PENDLETON         IN     46064‐8615
HERBERT STONE                       1112 LIPPINCOTT BLVD                                                                                    FLINT             MI     48503‐5852
HERBERT STREET                      115 W K ST                                                                                              ELIZABETHTON      TN     37643
HERBERT STRICKLAND                  8282 STATE ROUTE 15                                                                                     BRYAN             OH     43506‐9762
HERBERT STRICKLAND                  121 W PATERSON ST                                                                                       FLINT             MI     48503‐1017
HERBERT STRONG                      1765 PATRICK ST                                                                                         YPSILANTI         MI     48198‐6757
HERBERT STUMP                       PO BOX 204                                                                                              BROOKVILLE        OH     45309‐0204
HERBERT SUERTH & ALEXANDRA SUERTH   LINCKENSSTR 27                                                                48165 MUENSTER GERMANY

HERBERT SUESSENBACH                 5400 CROWN RIDGE RD NORTHWEST                                                                           ALBUQUERQUE      NM      87114‐5790
HERBERT SWANSON                     1540 GRIGGS ST SE                                                                                       GRAND RAPIDS     MI      49507‐2864
HERBERT SWANSON                     723 MAPLEGROVE AVE                                                                                      ROYAL OAK        MI      48067‐1647
HERBERT SWEETAPPLE                  25 NORTHBROOK AVE                                                                                       TRENTON          NJ      08648‐3830
HERBERT T TAYLOR                    PO BOX 300852                                                                                           KANSAS CITY      MO      64130‐0852
HERBERT TABOR JR                    12150 BROSIUS RD                                                                                        GARRETTSVILLE    OH      44231‐9716
HERBERT TACEY                       PO BOX 114                                                                                              ESSEXVILLE       MI      48732‐0114
HERBERT TACKETT                     28970 GRIX RD                                                                                           NEW BOSTON       MI      48164‐9494
HERBERT TAPPEHORN                   705 VINE ST                                                                                             ST ELIZABETH     MO      65075‐2115
HERBERT TAYLOR                      PO BOX 300852                                                                                           KANSAS CITY      MO      64130‐0852
HERBERT TAYLOR                      PO BOX 342                                                                                              GREENVILLE        IL     62246‐0342
HERBERT TAYLOR                      1832 SE 2ND TER                                                                                         CAPE CORAL       FL      33990‐1319
HERBERT TEMPER                      301 GRANDE DR UNIT B                                                                                    MINOOKA           IL     60447‐9132
HERBERT THAXTON                     22699 FAWN RD                                                                                           BROWNSTOWN TWP   MI      48183‐1155

HERBERT THIEL                       5156 S OAK CIR                                                                                          GRANITE FALLS    NC      28630‐8792
HERBERT THIEL                       5156 SOUTH OAK CIRCLE                                                                                   GRANITE FALLS    NC      28630
HERBERT THOMAS                      805 HALESWORTH DR                                                                                       CINCINNATI       OH      45240‐1803
HERBERT THOMAS                      141 MARQUIS DR                                                                                          MOUNTAIN HOME    AR      72653‐5086
HERBERT THOMAS                      4139 MIDDLEHURST LN                                                                                     DAYTON           OH      45406‐3431
HERBERT THOMAS                      C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                               HOUSTON          TX      77007
                                    BOUNDAS LLP
HERBERT THOMAS SR                   4018 GLENN RICKI DR                                                                                     HOUSTON          TX      77045‐3424
HERBERT THOMPSON                    409 HILLSIDE DR                                                                                         GEORGETOWN       IL      61846‐1502
HERBERT THROESCH                    1213 SPRINGVIEW RD                                                                                      POCAHONTAS       AR      72455‐4915
HERBERT TIPTON                      4018 MONTGOMERY RD APT 10                                                                               CINCINNATI       OH      45212‐3630
HERBERT TOLSON                      405 RANSDALL CT                                                                                         INDIANAPOLIS     IN      46227‐2657
HERBERT TOMASHOT                    3660 BLYTHEWOOD DR                                                                                      DAYTON           OH      45430‐1604
HERBERT TOWNSEND                    5198 RHINE DR                                                                                           FLINT            MI      48507‐2915
HERBERT TRACHT                      1088 IBERIA RD                                                                                          GALION           OH      44833‐9766
HERBERT TREADWAY                    101 CHELSEA DR                                                                                          ERWIN            TN      37650‐8908
HERBERT TRENT                       362 N DIBBLE AVE APT 431                                                                                LANSING          MI      48917‐2854
HERBERT TRIMM                       13604 DATE ST                                                                                           NORTHPORT        AL      35475‐4756
HERBERT TRIPP                       PO BOX 1295                                                                                             VIPER            KY      41774‐0295
HERBERT TSCHIGGFREY                 20904 FRAZHO ST                                                                                         ST CLAIR SHRS    MI      48081‐3123
HERBERT U. MARITA FEUSTER           GR▄NSTRA▀E 105                                                                                          M╓NCHENGLADBAC           41199
                                                                                                                                            H
HERBERT U. MARITA FEUSTER           GRUENSTRA▀E 105                                                                                         MOENCHENGLADBA           41199
                                                                                                                                            CH
HERBERT UND ANNEMARIE DEGET         ROISDORFER STR. 14              50321 BR▄HL
HERBERT UND ERNA VOGT               PANORAMASTR 11                                                                72348 ROSENFELD GERMANY

HERBERT UND ERNA VOGT               Z.HD. FRAU UTE LINK             HAINBUCHENSTR. 9             72336 BALINGEN
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HERBERT UNDERWOOD           2474 THORNTON DR                                                                                        DAYTON            OH     45406‐1241
HERBERT V COOPER            4840 LAUDERDALE DR                                                                                      MORAINE           OH     45439‐2802
HERBERT V PECK              1024 EADINGTON AVE.                                                                                     FULLERTON         CA     92833
HERBERT VANDIVER            PO BOX 316                                                                                              HELEN             GA     30545‐0316
HERBERT VANHURK             811 S SCOTT DR                                                                                          FARWELL           MI     48622‐9699
HERBERT VANSICKLE           5380 E 10TH ST                                                                                          AU GRES           MI     48703‐9580
HERBERT VAVRA               420 LINCOLN DR                                                                                          PLANTO            TX     75023‐4750
HERBERT VERNON C (429087)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                            NORFOLK           VA     23510
                                                             STREET, SUITE 600
HERBERT VESTI               WILHELM JOST RING 6                                                            1231 BAD NAUHEIM
                                                                                                           GERMANY
HERBERT VOLZ                4191 MCCARTY RD APT 36                                                                                  SAGINAW          MI      48603‐9317
HERBERT VOLZ JR             19049 W BRANT RD                                                                                        BRANT            MI      48614‐9757
HERBERT VOSS                12182 OLD MAIN RD                                                                                       SILVER CREEK     NY      14136‐9744
HERBERT W COTEY             3737 ATLANTIC AVE                APT 501                                                                LONG BEACH       CA      90807‐3479
HERBERT W JAHR JR.          PO BOX 674                                                                                              SEBEWAING        MI      48759‐0674
HERBERT W KIMMEY            12203 WELLINGTON AVE                                                                                    MEDWAY           OH      45341‐9640
HERBERT W KRAML             3114 MEADOW LN NE                                                                                       WARREN           OH      44483‐2632
HERBERT W PIGG              4059 W FRANKLIN ST                                                                                      BELLBROOK        OH      45305‐1546
HERBERT W THORNE TTEE       THORNE FAMILY TR                 881 E BRIGHTON LN                                                      FRESNO           CA      93720
HERBERT W.A. THIELE         COUNTY ATTORNEY'S OFFICE         301 S. MONROE STREET, SUITE 202,                                       TALLAHASSEE      FL      32301
                                                             LEON COUNTY COURTHOUSE
HERBERT WADE                21 S SHAMROCK RD                                                                                        HARTFORD CITY    IN      47348‐9795
HERBERT WAGNER              2018 CHELAN ST                                                                                          FLINT            MI      48503‐4312
HERBERT WAITMAN             1152 N MCKINLEY RD                                                                                      FLUSHING         MI      48433‐9419
HERBERT WALKER              2945 LARIAT LN                                                                                          ARLINGTON        TX      76015‐2504
HERBERT WALKER              C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS       OH      44236
HERBERT WALL                830 STINER RD                                                                                           SHARPS CHAPEL    TN      37866‐2846
HERBERT WARD                614 GREAT COVE RD                                                                                       WARFORDSBURG     PA      17267‐8518
HERBERT WARD                4651 MOTORWAY DR                                                                                        WATERFORD        MI      48328‐3457
HERBERT WARE                2189 MITCHELL LAKE RD                                                                                   LUM              MI      48412‐9232
HERBERT WARREN              622 E BALTIMORE BLVD                                                                                    FLINT            MI      48505‐6403
HERBERT WARSON              6450 GALE RD BOX 38                                                                                     ATLAS            MI      48411
HERBERT WASCHULL            914 SUMMERFIELD DR                                                                                      LAKELAND         FL      33803
HERBERT WASHINGTON          28254 SAN MARINO DR                                                                                     SOUTHFIELD       MI      48034‐5672
HERBERT WASHINGTON          314 E HILLSDALE ST                                                                                      LANSING          MI      48933‐2416
HERBERT WATERS              124 WINNERS CIR                                                                                         MAGNOLIA         DE      19962‐9739
HERBERT WATLING             BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                             BOSTON HEIGHTS   OH      44236
HERBERT WATSON              5011 PLOVER AVE                                                                                         SAINT LOUIS      MO      63120‐2330
HERBERT WEAVER              493 ANDERSON RD                                                                                         ELLIJAY          GA      30536‐4724
HERBERT WEBER               4425 HIGHLAND AVE                                                                                       DOWNERS GROVE    IL      60515‐2818
HERBERT WEBSTER             199 BARRINGTON RD                                                                                       BLOOMFIELD       MI      48302‐0604
HERBERT WEIDMAN             221 W FOX ST                                                                                            PURCELL          OK      73080‐5636
HERBERT WEIHS               4951 PRINCESS WAY                                                                                       GLADWIN          MI      48624‐8222
HERBERT WELCH               1601 N RANDALL AVE APT 32                                                                               JANESVILLE       WI      53545‐1139
HERBERT WELCH               95 RUSSELL RD                                                                                           ELKTON           MD      21921‐2801
HERBERT WELDIN              109 E 2ND AVE                                                                                           NEW LENOX        IL      60451‐1826
HERBERT WENDLING            1952 E TOWNLINE 16 RD                                                                                   PINCONNING       MI      48650‐9488
HERBERT WESTPHAL            104 RACCOON TRL                                                                                         HOUGHTON LAKE    MI      48629‐9212
HERBERT WHARTON             5272 KIRKWOOD AVE                                                                                       SPRING HILL      FL      34608‐2523
HERBERT WHITE               641 N HAMLIN AVE                                                                                        PARK RIDGE       IL      60068‐2414
HERBERT WHITE               12063 NORTHLAWN ST                                                                                      DETROIT          MI      48204‐1017
HERBERT WHITEAKER           106 W FRANKLIN ST                                                                                       YOUNGSVILLE      NC      27596‐7781
HERBERT WHORLEY             8513 CENTERLINE RD                                                                                      SARANAC          MI      48881‐9445
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HERBERT WICAL         187 VINE STREET BOX 143                                                                           SABINA             OH     45169
HERBERT WIENSTROER    3 KANSAS AVE                                                                                      BELLEVILLE          IL    62221‐5417
HERBERT WILBANKS      11475 N FENTON RD                                                                                 FENTON             MI     48430‐9723
HERBERT WILLIAMS      6090 STRAWBERRY CIR                                                                               COMMERCE TWP       MI     48382‐5510
HERBERT WILLIAMS      6723 OLEN ST                                                                                      SHELBY TWP         MI     48317‐2231
HERBERT WILLIAMS      5310 LONGMEADOW LN                                                                                COLLEGE PARK       GA     30349‐3126
HERBERT WILLIAMS      280 MERRYMONT RD                                                                                  BUFFALO            NY     14225‐1054
HERBERT WILLIAMS      617 S MARKET ST APT 1                                                                             WAVERLY            OH     45690‐1656
HERBERT WILLIAMS JR   8116 WILD BRIAR DR                                                                                SHREVEPORT         LA     71108‐5928
HERBERT WILLIAMS JR   42732 TAVISTOCK DR                                                                                VAN BUREN TWP      MI     48111‐1748
HERBERT WILLIAMS JR   2744 STATE ST                                                                                     SAGINAW            MI     48602‐3736
HERBERT WILLIAMS JR   PO BOX 763                                                                                        CARROLLTON         MI     48724‐0763
HERBERT WILLIAMSON    1989 STAMPER POND RD                                                                              UNION              MS     39365‐8821
HERBERT WILLIAMSON    PO BOX 190061                                                                                     BURTON             MI     48519‐0061
HERBERT WILMOTH       3877 NEVILLE DR                                                                                   KENT               OH     44240‐6657
HERBERT WILSON        330 NICHOLSON RD                                                                                  BALTIMORE          MD     21221‐6608
HERBERT WILSON        2770 N GEECK RD                                                                                   CORUNNA            MI     48817‐9778
HERBERT WILSON        16683 ROBSON ST                                                                                   DETROIT            MI     48235‐4519
HERBERT WILSON JR     525 LAZY WILLOW LN                                                                                LAWRENCEVILLE      GA     30044‐2005
HERBERT WINKLER       19834 N ZION DR                                                                                   SUN CITY WEST      AZ     85375‐4135
HERBERT WINTERLEE     9611 BARKLEY RD                                                                                   MILLINGTON         MI     48746‐9761
HERBERT WIRTH         3320 DALE DR                                                                                      IMPERIAL           MO     63052‐1014
HERBERT WITHUN        10941 EMORY ST                                                                                    OSSINEKE           MI     49766‐8700
HERBERT WOELFEL       33 WIMBLEDON LN                                                                                   WEST SENECA        NY     14224‐1958
HERBERT WOLF          34425 MAPLE LANE DR                                                                               STERLING HTS       MI     48312‐5205
HERBERT WOLF          53750 OAKVIEW DR                                                                                  SHELBY TWP         MI     48315‐1923
HERBERT WOLTERS       BAUKELSTR. 9                                                                                      BOTTROP            DE     46240
HERBERT WOODALL       4430 WHITMIRE CIR                                                                                 GAINESVILLE        GA     30506‐2859
HERBERT WOODS         139 MARTHA ST                                                                                     FITZGERALD         GA     31750‐8535
HERBERT WOOLLARD      7677 MAD RIVER RD                                                                                 DAYTON             OH     45459‐3611
HERBERT WRIGHT        188 EARLMOOR BLVD                                                                                 PONTIAC            MI     48341‐2746
HERBERT WU            10TH FLOOR, NO.11, LANE 26       YAT SEN ROAD                                                     TAIPEI
HERBERT WYATT         4430 NE 42ND ST                                                                                   OKLAHOMA CITY     OK      73121‐6226
HERBERT Y HENRY       3193 MORROW DR.                                                                                   CORTLAND          OH      44410
HERBERT YAGINUMA      4702 KEEL CT APT 2C                                                                               LISLE             IL      60532‐1403
HERBERT YOUNG         27 N COLUMBUS AVE APT 3B                                                                          MOUNT VERNON      NY      10553‐1048
HERBERT YOUNG         PO BOX 636                                                                                        NEWTON            MS      39345‐0636
HERBERT ZAMPINI JR    RT 3 BOX 500 K                                                                                    FENWICK ISLAND    DE      19944
HERBERT ZEIDLER       ALTGASSE 3                                                               98634 OBERWEID GERMANY
HERBERT ZEITZ         5125 W M 61                                                                                       GLADWIN           MI      48624‐7632
HERBERT ZIELKE        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS        OH      44236
HERBERT ZIGLER        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS        OH      44236
HERBERT ZUCCA         11119 E 8TH ST S                                                                                  INDEPENDENCE      MO      64054‐1605
HERBERT, ANNE L       1636 SW 36TH TER                                                                                  CAPE CORAL        FL      33914‐5564
HERBERT, ARNOLD P     15 MONTGOMERY ST                                                                                  PARISH            NY      13131‐3269
HERBERT, BERNICE      2640 GATELY DR                   VILLA 1402                                                       WEST PALM BEACH   FL      33415

HERBERT, BERNICE      11718 CRITERION AVE                                                                               SAINT LOUIS       MO      63138‐2415
HERBERT, BETTY A      729 NORFOLK AVE                                                                                   BUFFALO           NY      14215‐2759
HERBERT, BUD INC      1710 IMPERIAL DR                 PO BOX 1643                                                      HIGHLAND          MI      48356‐1155
HERBERT, CAROL ANN    4931 SE 128TH AVE                                                                                 OKEECHOBEE        FL      34974
HERBERT, CHRISTINE    1271 ROCK RUN DR UNIT 103                                                                         CREST HILL        IL      60403‐1829
HERBERT, DANIEL F     211 N SUMMIT ST                                                                                   GIRARD            KS      66743‐1342
HERBERT, DAVID B      4481 E PARK DR                                                                                    BAY CITY          MI      48706‐2549
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Name                         Address1                             Address2                           Address3   Address4               City               State   Zip
HERBERT, DAVID E             2204 S BURKETT RD                                                                                         LAKE CITY           MI     49651‐9389
HERBERT, DAVID L             1416 W WALNUT ST                                                                                          EL RENO             OK     73036‐4362
HERBERT, DERRIC D            75 FREEMAN ST                                                                                             BUFFALO             NY     14215‐2704
HERBERT, DONALD C            23425 S COLONIAL CT                                                                                       ST CLAIR SHRS       MI     48080‐2629
HERBERT, DONALD C            32117 PENDLEY RD                                                                                          WILLOWICK           OH     44095‐3875
HERBERT, DONNA F             3212 W 18TH ST                                                                                            ANDERSON            IN     46011‐3905
HERBERT, ELVIE               1783 COUNTY ROAD 16                                                                                       FAYETTE             AL     35555‐5206
HERBERT, ELWYN J             56 ARGONAUT AVE                                                                                           SAN FRANCISCO       CA     94134‐3242
HERBERT, ERNESTINE M         G8161 SOUTH SAGINAW STREET                                                                                GRAND BLANC         MI     48439
HERBERT, EUGENE              95 CRESTWOOD AVE                                                                                          BUFFALO             NY     14216‐2721
HERBERT, EVELYN E            1100 WAYNE RD                                                                                             ALPENA              MI     49707‐4837
HERBERT, FRANCES C           919 RIKKI ANN CT                                                                                          WIXOM               MI     48393‐4516
HERBERT, GERALD E            1000 S OCEAN BLVD APT 10A                                                                                 POMPANO BEACH       FL     33062
HERBERT, HELEN               270 WEST 12TH STREET                                                                                      NEW YORK            NY     10014
HERBERT, HENRY L             28 ROXBOROUGH RD                                                                                          ROCHESTER           NY     14619‐1416
HERBERT, HERSHEL F           5001 GOLDEN TRIANGLE BLVD APT 1911                                                                        KELLER              TX     76248‐7461

HERBERT, HERSHEL FREDERICK   802 QUAIL RUN DR                                                                                          KELLER              TX     76248‐2918
HERBERT, JACKIE E            3501 N MADISON ST                                                                                         WILMINGTON          DE     19802‐2651
HERBERT, JAMES               COON BRENT W                         PO BOX 4905                                                          BEAUMONT            TX     77704‐4905
HERBERT, JAMES               PO BOX 23                                                                                                 MATTESON            IL     60443‐0023
HERBERT, JOHN                1245 NEAL DOW AVE                                                                                         CHICO               CA     95926‐2439
HERBERT, JOHN J              2 MOHAWK DR                                                                                               NIANTIC             CT     06357‐2812
HERBERT, JOHN T              CICONTE ROSEMAN & WASSERMAN          1300 N KING ST                                                       WILMINGTON          DE     19801‐3220
HERBERT, JOSEPH              36510 BIRWOOD ST                                                                                          CLINTON TOWNSHIP    MI     48035‐1700

HERBERT, KAREN A             22‐60 93RD ST EAST ELMHURST                                                                               NEW YORK           NY      10128
HERBERT, LALIT K             4420 N CASTLEWOOD CT                                                                                      AUBURN HILLS       MI      48326‐1853
HERBERT, LEONARD             KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                                         CLEVELAND          OH      44114
                                                                  BOND COURT BUILDING
HERBERT, LILLIAN J           1000 S OCEAN BLVD APT 10A                                                                                 POMPANO BEACH      FL      33062‐6616
HERBERT, LINDA               715 ANDOVER ST SE                                                                                         GRAND RAPIDS       MI      49548‐7610
HERBERT, LINDA L             9130 EATON RD                                                                                             DAVISBURG          MI      48350‐1519
HERBERT, MARGARET A          8478 BARBARA DR.                                                                                          MENTOR             OH      44060‐1915
HERBERT, MARIE A             19312 RIVER VALLEY DR                                                                                     MACOMB             MI      48044‐3055
HERBERT, MARY                1948 LINCOLN PL                      C/O NORA LAIBOWITZ                                                   OSSINING           NY      10562‐5233
HERBERT, MARY                C/O NORA LAIBOWITZ                   1948 LINCOLN PL                                                      OSSINING           NY      10562
HERBERT, MARY C              505 WAYNE DR                                                                                              SOUTHAMPTON        PA      18966‐3545
HERBERT, MARY C              505 WAYNE DRIVE                                                                                           SOUTHAMPTON        PA      18966‐3545
HERBERT, MARY J              16690 SOUTH CLARE ROAD                                                                                    OLATHE             KS      66061‐9321
HERBERT, MATTHEW             SHAFFER & GAIER                      1617 JOHN F KENNEDY BLVD STE 946                                     PHILADELPHIA       PA      19103‐1822
HERBERT, MAX H               809 E NEW YORK ST                                                                                         LONG BEACH         CA      90813‐3530
HERBERT, MICHAEL A           48917 MEADOWBROOK CT                                                                                      SHELBY TOWNSHIP    MI      48317‐2533
HERBERT, MICHAEL E           9825 BLUE MOUND DR                                                                                        FORT WAYNE         IN      46804‐5986
HERBERT, MICHAEL EUGENE      9825 BLUE MOUND DR                                                                                        FORT WAYNE         IN      46804‐5986
HERBERT, MICHAEL J           PO BOX 749                                                                                                WAYNE              MI      48184‐0749
HERBERT, MICHAEL P           11814 JONESDALE CT                                                                                        MARYLAND HEIGHTS   MO      63043‐1637

HERBERT, NATHANIEL           395 CROSSROAD SCHOOL RD                                                                                   NEWVILLE           PA      17241‐9572
HERBERT, NORMAN E            1085 HENDRICKS WAY                                                                                        WATERFORD          MI      48328‐4230
HERBERT, PAMELA A            48917 MEADOWBROOK CT                                                                                      SHELBY TOWNSHIP    MI      48317‐2533
HERBERT, RANDY L             4918 SILVER ARROW DR                                                                                      DAYTON             OH      45424‐4812
HERBERT, REBECCA             10120 BRANDSTEADE CT                                                                                      UNION              KY      41091
HERBERT, RHODA A             401 AMBER PINE ST APT 101                                                                                 LAS VEGAS          NV      89144‐4226
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Name                           Address1                           Address2                      Address3                    Address4               City                 State Zip
HERBERT, RICHARD E             49199 BRIAR POINTE DR                                                                                               MACOMB                MI 48044‐1842
HERBERT, RICHARD L             ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET, ONE                                                        BALTIMORE             MD 21202
                                                                  CHARLES CENTER 22ND FLOOR
HERBERT, RICHARD L             3334 HICKORY LN                                                                                                     NEW CASTLE           IN   47362‐1514
HERBERT, ROBERT E              2407 S MAIN ST                                                                                                      NEW CASTLE           IN   47362‐1920
HERBERT, RONALD                3559 DAVENPORT RD                                                                                                   METAMORA             MI   48455‐9749
HERBERT, RONNIE LEE            SHANNON LAW FIRM                   100 W GALLATIN ST                                                                HAZLEHURST           MS   39083‐3007
HERBERT, RUSSELL S             19312 RIVER VALLEY DR                                                                                               MACOMB               MI   48044‐3055
HERBERT, SHARI K               21812 STATLER ST                                                                                                    SAINT CLAIR SHORES   MI   48081‐3747

HERBERT, STANFORD              4101 DEL‐LAGO                                                                                                       SAINT LOUIS          MO   63034
HERBERT, SUSAN                 5685 SHOEFELT RD                                                                                                    NORTH STREET         MI   48049‐3104
HERBERT, SUZANNE               BOX 15912                                                                                                           SARASOTA             FL   34277‐1912
HERBERT, SUZANNE               PO BOX 15912                                                                                                        SARASOTA             FL   34277‐1912
HERBERT, THOMAS                UNKNOWN
HERBERT, TINA M                30640 MARTINDALE RD                                                                                                 NEW HUDSON           MI   48165‐9734
HERBERT, VALERY                12314 GARRETSON FOREST RD                                                                                           OWINGS MILLS         MD   21117
HERBERT, VERNON C              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                      NORFOLK              VA   23510‐2212
                                                                  STREET, SUITE 600
HERBERT, VIOLA                 15772 MANOR ST                                                                                                      DETROIT              MI   48238‐1673
HERBERT, WILLA B               387 FLORIDA ST                                                                                                      BUFFALO              NY   14208‐1310
HERBERT, WILLIE E              3960 LILLIBRIDGE ST                                                                                                 DETROIT              MI   48214‐4704
HERBERT, WILLIE R              2518 SLATON DR                                                                                                      GRAND PRAIRIE        TX   75052‐3910
HERBERT, WILLIE RANDOLPH       2518 SLATON DR                                                                                                      GRAND PRAIRIE        TX   75052‐3910
HERBERTS, SCOTT W              1050 BROOK MONT DR                                                                                                  O FALLON             MO   63366‐4260
HERBERTZ, MARK A               1810 SANDHILL RD                                                                                                    INDIANAPOLIS         IN   46217
HERBES, CAROL                  16724 HIGHWAY 95 NE                                                                                                 FOLEY                MN   56329‐9703
HERBET H LEHMAN COLLEGE CUNY   BURSAR OFFICE OF THE BUS MNGR      BEDFORD PARK BLVD WEST        N PLAZA W 250 BEDFORD PRK                          BRONX                NY   10468
                                                                                                W
HERBIE KEMP                    26124 SAGO PALM DR                                                                                                  HOMELAND             CA   92548‐9670
HERBIG, AUGUST                 2121 N CENTER ST LOT 163                                                                                            MESA                 AZ   85201‐1521
HERBIG, EDNA M                 928 BROWNWOOD AVE NW                                                                                                GRAND RAPIDS         MI   49504‐3649
HERBIG, EUGENE E               2358 PLAINVIEW DR                                                                                                   FLUSHING             MI   48433
HERBIG, GARY                   1101 SANTA FE AVE                                                                                                   DAVIS JUNCTION       IL   61020‐9721
HERBIG, KAY K                  4150 DELINA RD                                                                                                      CORNERSVILLE         TN   37047‐5275
HERBIG, WILLIAM R              6525 FLETCHER STREET                                                                                                ANDERSON             IN   46013‐3514
HERBIN, JIMMY L                3912 MAPLE LEAF LN                                                                                                  ELLENTON             FL   34222‐3739
HERBIN, RAYMOND J              10906 DICE RD                                                                                                       FREELAND             MI   48623‐8522
HERBIN, ROSALEEN M             4191 MCCARTY RD PINE GLEN APT 18                                                                                    SAGINAW              MI   48603
HERBISON, AUNDRE E             12204 NE 36TH ST                                                                                                    CHOCTAW              OK   73020‐9109
HERBISON, DAVID                31530 SUMMERS ST                                                                                                    LIVONIA              MI   48154‐4239
HERBISON, MICHAEL N            7073 WIDE VALLEY DR                                                                                                 BRIGHTON             MI   48116‐5108
HERBISON, WILLIAM S            6261 SOUTHWEST SHRS                                                                                                 HONEOYE              NY   14471‐9536
HERBLET, MARY E                12640 HOLLY RD APT A103                                                                                             GRAND BLANC          MI   48439‐1854
HERBLET, MARY E                12640 N HOLLY RD APT A103                                                                                           GRAND BLANC          MI   48439‐1854
HERBOLD JAMES                  51449 FAIRLANE DR                                                                                                   SHELBY TOWNSHIP      MI   48316‐4620
HERBOLD JAMES H                51449 FAIRLANE DR                                                                                                   SHELBY TOWNSHIP      MI   48316
HERBOLD, JAMES H               51449 FAIRLANE DR                                                                                                   SHELBY TOWNSHIP      MI   48316‐4620
HERBOLD, MARK S                140 HICKORY HILL DR                                                                                                 ELMA                 NY   14059‐9233
HERBOLD, MARY E                2038 READY AVE                                                                                                      BURTON               MI   48529
HERBOLD/SUTTON                 12 JOHN RD # C                                                                                                      SUTTON               MA   01590‐2507
HERBON, GREGORY S              20324 ARDMORE PARK DR                                                                                               ST CLAIR SHRS        MI   48081‐1768
HERBON, MARION                 18161 MANORWOOD W                                                                                                   CLINTON TOWNSHIP     MI   48038‐1244
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Name                        Address1                        Address2            Address3         Address4               City               State   Zip
HERBORN, MATTHEW J          14535 MULBERRY ST                                                                           SOUTHGATE           MI     48195‐2514
HERBORT, RAYMOND R          301 N CAMPBELL AVE                                                                          MARION              IN     46952‐3025
HERBOTH, ANNELIESE          4371 N. LINCOLN AVE                                                                         BEVERLY HILLS       FL     34465
HERBOTH, ANNELIESE          4371 N LINCOLN AVE                                                                          BEVERLY HILLS       FL     34465‐4726
HERBOTH, EUGEN              4371 N LINCOLN AVE                                                                          BEVERLY HILLS       FL     34465‐4726
HERBRAND JOHN               37 PASEO C DE BACA                                                                          SANTA FE            NM     87507‐4274
HERBRUCK, DALLAS W          910 OLD ERIN WAY                                                                            LANSING             MI     48917‐4113
HERBS & MOR                 5700 CHEVROLET BLVD                                                                         CLEVELAND           OH     44130‐1412
HERBST JR, ROBERT L         8359 KINGLET DR                                                                             ENGLEWOOD           FL     34224‐7735
HERBST JR, WILLIAM M        4188 LIPPINCOTT BLVD                                                                        BURTON              MI     48519‐1164
HERBST SR, RICHARD A        8710 HALORAN LN                                                                             DAYTON              OH     45414‐2408
HERBST, ALICE               33620 GERTRUDE ST                                                                           WAYNE               MI     48184‐2718
HERBST, BRIAN
HERBST, BRYAN D             4925 REXWOOD DR                                                                             DAYTON             OH      45439‐3137
HERBST, CYNTHIA G           425 WISTERIA RD                                                                             DAYTONA BEACH      FL      32118‐4939
HERBST, DANIEL J            105 QUAIL DR                                                                                COUNTRYSIDE        IL      60525‐3979
HERBST, DAWN L              305 WASHINGTON ST                                                                           WRIGHTSTOWN        WI      54180
HERBST, DENNIS J            502 N LAFAYETTE ST                                                                          FLORISSANT         MO      63031‐4914
HERBST, DENNIS JEROME       502 N LAFAYETTE ST                                                                          FLORISSANT         MO      63031‐4914
HERBST, EILEEN M            911 COUTANT ST                                                                              FLUSHING           MI      48433‐1726
HERBST, ERLA                841 NORTH 6TH                                                                               BREESE             IL      62230‐1320
HERBST, ERLA                841 N 6TH ST                                                                                BREESE             IL      62230‐1320
HERBST, EUGENE I            320 S LAFAYETTE ST                                                                          FLORISSANT         MO      63031‐6807
HERBST, FRANCIS J           2128 47TH ST                                                                                ASTORIA            NY      11105‐1308
HERBST, GEORGE M            562 EASTLAND CT                                                                             BAY CITY           MI      48708‐6946
HERBST, GLORIA              7984 BLACKSHEAR DR                                                                          DAYTON             OH      45424‐2127
HERBST, JAMES M             4277 EASTLAWN AVE                                                                           WAYNE              MI      48184‐1816
HERBST, JAMES R             3944 SHEPHERD ROAD                                                                          SHREVEPORT         LA      71107‐8247
HERBST, JAN F               780 CANTERBURY RD                                                                           GROSSE POINTE      MI      48236‐1280
                                                                                                                        WOODS
HERBST, JERRY               UNIT E                          418 POND RUN ROAD                                           STOUT              OH      45684‐9104
HERBST, JOANNE Y            4369 WESTOVER DR                                                                            ORCHARD LAKE       MI      48323‐2873
HERBST, JOHN                3623 6TH AVE W                                                                              PALMETTO           FL      34221‐6266
HERBST, JR., DONALD E       4083 SUGARBUSH                                                                              GRANT              MI      49327
HERBST, JR.,DONALD E        4083 SUGAR BUSH                                                                             GRANT              MI      49327‐9687
HERBST, MARTIN L            841 N 6TH ST                                                                                BREESE             IL      62230‐1320
HERBST, PAUL J              668 VILLA DR                                                                                MANSFIELD          OH      44906‐4055
HERBST, PHILLIP R           8412 WOODHUE DR                                                                             OKLAHOMA CITY      OK      73135‐6115
HERBST, RICHARD O           1751 HARRISON POND DR                                                                       NEW ALBANY         OH      43054‐8885
HERBST, ROBERT C            2147 LOWER BELLBROOK RD                                                                     SPRING VALLEY      OH      45370‐8772
HERBST, ROSE M              2949 OLD ORCHARD DR                                                                         WATERFORD          MI      48328‐3649
HERBST, RUTH H              520 MOSLEY DR                                                                               SYRACUSE           NY      13206‐3116
HERBST, RUTH H              520 MOSLEY DRIVE                                                                            SYRACUSE           NY      13206‐3116
HERBST, SANDRA J            198 WEST AVE APT 2                                                                          LOCKPORT           NY      14094‐4265
HERBST, STEVEN E            16535 W HEATHERLY DR                                                                        NEW BERLIN         WI      53151‐6537
HERBST, VIRGINIA L          1007 MARTIN DRIVE                                                                           ANDERSON           IN      46012‐4152
HERBST,SHANNON B            2067 BROOKLAWN RD                                                                           TROY               MI      48084‐2674
HERBST‐ TACKETT, BRENDA M   5800 DAFFODIL CIR                                                                           W CARROLLTON       OH      45449‐2939
HERBSTER, BLANCHE           3740 WALNUT BROOK DRIVE                                                                     ROCHESTER HLS      MI      48309‐4082
HERBSTER, PHYLLIS A         5605 YARMOUTH                                                                               TOLEDO             OH      43623‐1642
HERBSTER, PHYLLIS A         5605 YARMOUTH AVE                                                                           TOLEDO             OH      43623‐1642
HERBSTER, WILLIAM E         37544 CARPATHIA BLVD                                                                        STERLING HEIGHTS   MI      48310‐3853
HERBSTLER, KLAUS W          9421 STATE HIGHWAY 56                                                                       MASSENA            NY      13662‐3431
HERBSTLER, KLAUS W.         9421 STATE HIGHWAY 56                                                                       MASSENA            NY      13662‐3431
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Name                             Address1                             Address2                        Address3                  Address4                  City              State   Zip
HERBSTLER, TAMMY A               148 DENNISON ROAD                                                                                                        MASSENA            NY     13662‐3223
HERBSTREIT JR, EUGENE F          6252 E COUNTY ROAD 300 S                                                                                                 PLAINFIELD         IN     46168‐3033
HERBSTREIT, BRUCE A              3532 N TAFT AVE                                                                                                          INDIANAPOLIS       IN     46222‐1036
HERBSTREIT, MARY B               4114 EAGLE COVE WEST DRIVE                                                                                               INDIANAPOLIS       IN     46254
HERBSTREITH, ROBERT C            PO BOX 682                                                                                                               LAKE ODESSA        MI     48849‐0682
HERBSTRITT DAVID (492029)        BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                       NORTHFIELD         OH     44067
                                                                      PROFESSIONAL BLDG
HERBY CROSS                      PO BOX 2611                                                                                                              DETROIT           MI      48202‐0611
HERBY JR, JOHN W                 421 GRANTHAM DR                                                                                                          ENGLEWOOD         OH      45322‐1133
HERBY SALKEY                     4733 SPANIEL ST                                                                                                          ORLANDO           FL      32818‐8730
HERBY SHARPE                     1472 S BEATRICE ST                                                                                                       DETROIT           MI      48217‐1607
HERBY SHARPE                     18680 STAHELIN AVE                                                                                                       DETROIT           MI      48219‐2838
HERBY, FRANK A                   1323 HUNTINGTON DR                                                                                                       COLUMBIA          TN      38401‐6215
HERBY, WILLIAM B                 255 LILAC DR.                                                                                                            FRUIT LAND PARK   FL      34731‐6746
HERBY, WILLIAM B                 255 LILAC DR                                                                                                             FRUITLAND PARK    FL      34731‐6746
HERC EXCHANGE LLC                1320 MURFREESBORO PIKE                                                                                                   NASHVILLE         TN      37217‐2619
HERC EXCHANGE, LLC               3817 NORTHWEST EXPRESSWAY                                                                                                OKLAHOMA CITY     OK      73112
HERC EXCHANGE, LLC               ATTN: CORPORATE OFFICER/AUTHORIZED   3817 NORTHWEST EXPRESSWAY                                                           OKLAHOMA CITY     OK      73112
                                 AGENT
HERC INC
HERCEG, MARY V                   1800 GRACE WOODS DR APT 2                                                                                                NILES             OH      44446
HERCEG, PATRICIA A               5065 GREENVIEW DR                                                                                                        CLARKSTON         MI      48348‐3827
HERCHAL MILLER                   6715 W 80TH ST                                                                                                           OVERLAND PARK     KS      66204‐3815
HERCHEL C HADDIX                 7792 ST RT 48                                                                                                            WAYNESVILLE       OH      45068‐9513
HERCHEL HADDIX                   7792 STATE ROUTE 48                                                                                                      WAYNESVILLE       OH      45068‐9513
HERCHEL OWENS                    95 N EDITH ST                                                                                                            PONTIAC           MI      48342‐2936
HERCHEL PEAVLER                  5354 WEST 62ND STREET                ROOM 281D                                                                           INDIANAPOLIS      IN      46268
HERCHENHAHN, LARRY J             1646 INDIANA AVE                                                                                                         ANDERSON          IN      46012‐2252
HERCHENHAHN, RANDALL W           209 SUMMERFORD ORR RD                                                                                                    FALKVILLE         AL      35622‐5930
HERCHENHAHN, TEDDY A             165 PLEASANT ACRES RD                                                                                                    DECATUR           AL      35603‐5747
HERCHIG, JULIUS E                822 EVANS AVE                                                                                                            MIAMISBURG        OH      45342‐3314
HERCHL, JOHN J                   2540 BRANTWOOD DR                                                                                                        WESTLAKE          OH      44145‐4803
HERCULA, DANIEL A                417 MARILYN CIR                                                                                                          SPRING HILL       TN      37174‐7587
HERCULES DRAWN STEEL             ATTN: MARK GOODMAN                   38901 AMRHEIN RD                                                                    LIVONIA           MI      48150‐1042
HERCULES FORWARDING INC          6750 CARIBOO RD                                                                                BURNABY BC BC V3N 4A4
                                                                                                                                CANADA
HERCULES INC                     C/O ATTNY KAREN TIDWELL              44 E MIFFLIN STREET             C/O REG AGENT ‐ CT CORP                             MADISON            WI     53703
HERCULES INC                     6443 RIDINGS RD                                                                                                          SYRACUSE           NY     13206‐1104
HERCULES INC                     C/O REG AGENT ‐ CT CORP              ATTN: KAREN TIDWELL             44 E MIFFLIN STREET                                 MADISON            WI     53703
HERCULES KOURLETAKIS             9323 CONTINENTAL DR                                                                                                      TAYLOR             MI     48180‐3033
HERCULES M KOURLETAKIS           9323 CONTINENTAL DR                                                                                                      TAYLOR             MI     48180‐3033
HERCULES MACH/WARREN             13920 E 10 MILE RD                                                                                                       WARREN             MI     48089‐2156
HERCULES MACHINE TOOL & DIE CO   13920 E 10 MILE RD                                                                                                       WARREN             MI     48089‐2156
HERCULES MITCHELL                3122 SEMINOLE DR                                                                                                         SHREVEPORT         LA     71107‐7518
HERCULES SLR IN                  280 SUPERIOR BLVD                                                                              MISSISSAUGA ON L5T 2L2
                                                                                                                                CANADA
HERCULES SLR INC
HERCULES SLR INC                 280 SUPERIOR BLVD                                                                              MISSISSAUGA ON L5T 2L2
                                                                                                                                CANADA
HERCULES, CHARLES A              14703 S ARAPAHO DR                                                                                                       OLATHE            KS      66062‐4724
HERCULES, JOSEPH T               40876 OSBOURNE RD                                                                                                        WELLSVILLE        OH      43968‐9778
HERCULES, MIKE A                 14703 S ARAPAHO DR                                                                                                       OLATHE            KS      66062‐4724
HERCULES/ROCKET CTR              ALLEGANY BALLISTICS LABORATORY       P.O. BOX 210                                                                        ROCKET CENTER     WV      26726
HERCULIES SMITH                  8200 SIRRON ST                                                                                                           DETROIT           MI      48234‐3362
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Name                         Address1                       Address2                  Address3   Address4               City            State Zip
HERCUTT, TED G               302 BEECH BRANCH RD                                                                        GATLINBURG       TN 37738‐5117
HERCZAK, GEORGE T            8125 RHODES AVE                                                                            NORTH HOLLYWOOD CA 91605‐1340

HERCZAK, STEVE R             2750 SIGNATURE CIR                                                                         PINCKNEY         MI   48169‐8166
HERCZAK, STEVE RICHARD       2750 SIGNATURE CIR                                                                         PINCKNEY         MI   48169‐8166
HERCZEG, IMRE                152 STRAWBERRY HILL AVE                                                                    WOODBRIDGE       NJ   07095‐2632
HERCZKU, LASZLO              11 NIGHTINGALE RD                                                                          BLAIRSTOWN       NJ   07825‐3004
HERCZYK, VIRGINIA            RD 3 BOX 377A                                                                              LATROBE          PA   15650‐9336
HERCZYK, WALTER A            RR 3 BOX 377A                                                                              LATROBE          PA   15650‐9336
HERD JOHNSON                 1133 ROSELAND DR                                                                           COLUMBIA         TN   38401‐7700
HERD, BESSIE                 1047 NORTH GEDDESBURG                                                                      DAYTON           OH   45417‐5417
HERD, CARL J                 984 E HOLLYWOOD                                                                            DETROIT          MI   48203‐2180
HERD, CHARLENE               1764 BRIDLE CREEK DR SE                                                                    KENTWOOD         MI   49508‐4935
HERD, CHARLES W              728 SUNSET DR                  LAUREL MOUNTAIN ESTATES                                     DONEGAL          PA   15628‐4012
HERD, CHRISTOPHER            1948 COLONY CT APT 8                                                                       BELOIT           WI   53511‐6801
HERD, DALE R                 1327 S MORRISH RD                                                                          FLINT            MI   48532‐3037
HERD, DONALD E               3419 STANFORD PL                                                                           DAYTON           OH   45406‐4153
HERD, JAMES C                5193 TOKAY DRIVE                                                                           FLINT            MI   48507‐2916
HERD, JAMES R                505 E HIGHLAND AVE APT 2                                                                   WILMINGTON       DE   19804‐2253
HERD, KARLO R                3315 HUNT RD                                                                               ADRIAN           MI   49221‐9279
HERD, KARLO RAIMUND          3315 HUNT RD                                                                               ADRIAN           MI   49221‐9279
HERD, LADON C                6232 W PLAZA CIR                                                                           BROWN DEER       WI   53223‐2254
HERD, LILLIE M               6543 GARDEN DR                                                                             MT MORRIS        MI   48458‐2327
HERD, MARILYN L              51 S SOUTHAMPTON AVE                                                                       COLUMBUS         OH   43204‐1935
HERD, OLLIE L                6543 GARDEN DR                                                                             MOUNT MORRIS     MI   48458‐2327
HERD, PAULINE M              7725 RD 24 RTE 2                                                                           CONTINENTAL      OH   45831‐8915
HERD, ROGER L                1620 W FM 898                                                                              BONHAM           TX   75418‐8017
HERD, ROGER LEE              1620 W FM 898                                                                              BONHAM           TX   75418‐8017
HERD, WILLIAM J              43 GOLDEN SPRUCE DR                                                                        CALVERTON        NY   11933‐1486
HERD, WILLIE J               3471 BAGSHAW DR                                                                            SAGINAW          MI   48601‐5208
HERD‐MUNDT, BARBARA A        8111 W 91ST ST                                                                             OVERLAND PARK    KS   66212‐2910
HERDA HART                   PO BOX 213                     10 SPRUCE DRIVE                                             UNIONVILLE       CT   06085‐0213
HERDA, CHERYL C              1123 HIGHLAND PARK BLVD                                                                    LORAIN           OH   44052‐4641
HERDA, JAMES F               9341 E CIRCLE DR                                                                           CANADIAN LAKES   MI   49346‐9611
HERDA, JOHN T                1316 W 44TH ST                                                                             LORAIN           OH   44053‐2929
HERDA, STANLEY A             2053 CAYUGA ST NW                                                                          GRAND RAPIDS     MI   49504‐5917
HERDEGEN, RICHARD A          3839 OAKHILLS DR                                                                           BLOOMFIELD       MI   48301‐3233
HERDEN, MARTA                336 ELM AVE                                                                                RAHWAY           NJ   07065‐3243
HERDENDORF, DANIEL M         84 SWEENEY ST APT 307                                                                      N TONAWANDA      NY   14120‐5825
HERDENDORF, DANIEL MICHAEL   84 SWEENEY ST APT 307                                                                      N TONAWANDA      NY   14120‐5825
HERDENER, ROBERT I           2058 BRAY RD                                                                               ATTICA           MI   48412‐9756
HERDER MADELYN               HERDER, MADELYN                5901 CEDAR LAKE RD S                                        MINNEAPOLIS      MN   55416‐1488
HERDER, CHARLES              2404 CORBY DR                                                                              PLANO            TX   75025‐2349
HERDER, MARY L               315 AUGLAIZE                                                                               DEFIANCE         OH   43512‐2202
HERDER, MARY L               315 AUGLAIZE ST                                                                            DEFIANCE         OH   43512‐2202
HERDER, NORMAN J             03598 ST RT 2                                                                              BRYAN            OH   43506
HERDER, NORMAN J             1419 SUMMER FIELD LANE                                                                     BRYAN            OH   43506‐8919
HERDER, NORMAN JAMES         1419 SUMMER FIELD LANE                                                                     BRYAN            OH   43506‐8919
HERDER, WILLIAM M            640 SUGAR CAMP RD                                                                          FINLEYVILLE      PA   15332‐9730
HERDIECH, MARY               15116 ASTER AVE                                                                            ALLEN PARK       MI   48101‐1613
HERDMAN, ALLAN W             STE 800                        1605 MAIN STREET                                            SARASOTA         FL   34236‐5823
HERDMAN, CAMERON J           190 DINEEN RD                                                                              CONSTABLE        NY   12926‐1717
HERDMAN, JAMES R             10214 NORTH GARFIELD COURT                                                                 KANSAS CITY      MO   64155
HERDMAN, KAREN C             7488 ORE KNOB DR                                                                           FENTON           MI   48430‐9237
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HERDMAN, KENNETH R         R 3 BOX 196A                                                                                     RICHMOND        MO     64085
HERDMAN, LE ROY R          602 RICHARD COURT                                                                                NEW CARLISLE    OH     45344‐5344
HERDMAN, LE ROY R          602 RICHARD CT                                                                                   NEW CARLISLE    OH     45344‐1717
HERDMAN, RAYMOND T         6854 FORRER ST                                                                                   DETROIT         MI     48228‐3782
HERDMAN, RAYMOND T         36509 JOANNE                                                                                     LIVONIA         MI     48150
HERDMAN, SALLY M           2172 SOUTHAMPTON LN                                                                              AVON            OH     44011‐1664
HERDMAN, SUSAN             216 BELVEDERE AVE NE                                                                             WARREN          OH     44483‐5441
HERDON, CAROLYN            8001 LAKESIDE BLVD                                                                               HALE            MI     48739‐8731
HERDON, GEORGE E           8699 YALE RD                                                                                     ROOTSTOWN       OH     44272‐9538
HERDON, JR, WALTER O
HERDRICH JR, WALTER F      3568 BORCHERS WAY                                                                                GRAYLING        MI     49738‐8012
HERDRICH, LURIA E          8612 JAMAICA COURT                                                                               INDIANAPOLIS    IN     46219‐2506
HERDRICH, LURIA E          8612 JAMAICA CT                                                                                  INDIANAPOLIS    IN     46219‐2506
HERDSINE WADE              12610 PINEHURST ST                                                                               DETROIT         MI     48238‐3019
HERDT JOHN C (472068)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA     23510
                                                            STREET, SUITE 600
HERDT, JOHN C              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA     23510‐2212
                                                            STREET, SUITE 600
HERDT, KARL N              3663 ASTORIA DR                                                                                  RACINE          WI     53402‐3305
HEREDIA, CATALINA L        2255 64TH AVE                                                                                    OAKLAND         CA     94605‐1940
HEREDIA, EDWARD C          214 MONT EAGLE ST                                                                                MILFORD         MI     48381‐2431
HEREDIA, LAZARO J          2081 PLAINVIEW DR                                                                                SAGINAW         MI     48603‐2538
HEREDIA, LUCY M
HEREDIA, LUPITA            1605 HYLAND ST                                                                                   LANSING        MI      48915‐1334
HEREDIA, MICHAEL           5070 AKRON ST                                                                                    SAGINAW        MI      48601‐6801
HEREDIA, MICHAEL D         7495 TROUTWOOD DR APT 2A                                                                         GRAND BLANC    MI      48439‐7501
HEREDIA, SALVADOR          5317 SOUTHFORT SW                                                                                ALBUQUERQUE    NM      87105‐7547
HEREDY, AGNES S            2509 SPITLER RD                                                                                  POLAND         OH      44514‐2725
HEREFORD JOHN G (355087)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA      23510
                                                            STREET, SUITE 600
HEREFORD JR, DUDLEY F      405 GRAFTON AVE. ROOM#206                                                                        DAYTON         OH      45406
HEREFORD, CORY D           1910 BOOTMAKER DR                                                                                BELOIT         WI      53511‐3814
HEREFORD, CURTIS           1459 JANIE AVE                                                                                   NASHVILLE      TN      37216‐2820
HEREFORD, DARRELL          1025 WISCONSIN AVE                                                                               BELOIT         WI      53511‐5422
HEREFORD, DARRELL          1860 CONGRESS AVE                                                                                BELOIT         WI      53511‐3735
HEREFORD, ELOISE           9571 WASHINGTON CIR                                                                              JONESBORO      GA      30238‐8712
HEREFORD, FRANKLIN J       2459 PIONEER DR                                                                                  BELOIT         WI      53511‐2556
HEREFORD, JOHN G           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA      23510‐2212
                                                            STREET, SUITE 600
HEREFORD, JOHN L           5828 WOOD PETAL ST                                                                               LAS VEGAS       NV     89130‐7053
HEREFORD, LEILA R          1921 WOODSMAN DRIVE                                                                              ORTONVILLE      MI     48462‐9024
HEREFORD, LINDA F          1910 BOOTMAKER DR                                                                                BELOIT          WI     53511‐3814
HEREK, BRYAN P             3265 BANGOR RD                                                                                   BAY CITY        MI     48706‐1852
HEREK, DANIEL E            PO BOX 249                                                                                       EAST TAWAS      MI     48730‐0249
HEREK, DOLORES J           12798 DEVONSHIRE LAKES CIR                                                                       FORT MYERS      FL     33913‐7965
HEREK, DONALD C            65 JANICE CT # 212                                                                               ESSEXVILLE      MI     48732
HEREK, EMILY               45 NORTH GOHR LANE                                                                               BAY CITY        MI     48708
HEREK, KENNETH J           1818 MCKINLEY ST                                                                                 BAY CITY        MI     48708‐6736
HEREK, ROBERT W            3425 83RD ST APT D15                                                                             WOODRIDGE       IL     60517
HEREK, THOMAS E            544 ARMS RD                                                                                      ESSEXVILLE      MI     48732‐9718
HEREK, YVONNE L            705 CREEKWATER TERRACE APT 105                                                                   LAKE MARY       FL     32746
HEREKAR, KARLA F           1513 ATLANTIC CITY AVE APT D                                                                     GROVER BEACH    CA     93433‐1457
HEREM, MAYNARD A           N170W19787 WILLOW RIDGE DR                                                                       JACKSON         WI     53037‐8609
HERENDEEN, DEWAYNE C       1315 W TAFT RD                                                                                   SAINT JOHNS     MI     48879‐9277
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Name                               Address1                          Address2                         Address3   Address4               City             State   Zip
HERENDEEN, HAROLD H                1632 GROTON DR                                                                                       HUDSON            OH     44236‐1264
HERENDEEN, MARK A                  11725 S 400 W                                                                                        CONVERSE          IN     46919‐9405
HERENT, FRANK                      612 CONRAD AVENUE                                                                                    CHARLEROI         PA     15022‐2228
HERESEL POWELL                     3640 W HALLETT RD                                                                                    HILLSDALE         MI     49242‐9482
HERETH, ELEANOR                    190 STUEWE RD                                                                                        GETZVILLE         NY     14068‐1395
HEREVIA, MARIO L                   2347 FERGUSON RD                                                                                     MANSFIELD         OH     44906‐1149
HEREVIA, MICHAEL A                 1656 SPRING VILLAGE LN                                                                               MANSFIELD         OH     44906‐3236
HEREVIA, MICHAEL A                 5910 NW 90TH TER                                                                                     KANSAS CITY       MO     64154
HEREVIA, SHANNON E                 5910 NW 90TH TER                                                                                     KANSAS CITY       MO     64154
HERFERT, WILLIAM H                 57034 PLYMOUTH RD                                                                                    WASHINGTON        MI     48094‐3352
HERFF JONES, INC., D/B/A LOGOART
HERFF MICHAEL                      HERFF, MICHAEL                    120 WEST MADISON STREET , 10TH                                     CHICAGO           IL     60602
                                                                     FLOOR
HERFORD, HAROLD D                  634 GAMBER LN                                                                                        LINDEN           MI      48451‐9755
HERFORD, JAMES D                   207 KNIGHT LAND CT                                                                                   ORLANDO          FL      32824‐5855
HERFORD, TEBBY B                   200 E MISTLETOE DR                                                                                   KENNEDALE        TX      76060‐2620
HERFORD, VINCENT E                 200 E MISTLETOE DR                                                                                   KENNEDALE        TX      76060‐2620
HERFURTH KEVIN                     700 DAWNWOOD                                                                                         ORANGE           TX      77632‐8865
HERFURTH, JOHN P                   8211 E RICHFIELD RD                                                                                  DAVISON          MI      48423‐8582
HERFURTH, RICHARD A                5070 MARILYN DR                                                                                      FLINT            MI      48506‐1579
HERGART, CARL‐ANDERS               2026 WICKHAM ST 22                                                                                   ROYAL OAK        MI      48073
HERGE, DONALD R                    RR 1                                                                                                 DEFIANCE         OH      43512
HERGE, NORMA A                     1360 MUIRFIELD PLACE                                                                                 FOSTORIA         OH      44830
HERGENRATHER, GARY R               32 GARRET ST                                                                                         DAYTON           OH      45410‐1226
HERGENRATHER, RUTH L               602 VINNIE CT                     BROOKHAVEN ESTATE                                                  BROOKVILLE       OH      45309‐8293
HERGENREDER SR, EUGENE H           3386 WASHINGTON ST                                                                                   KINGSTON         MI      48741‐8734
HERGENREDER, BRIAN L               7240 DAVISON RD                                                                                      DAVISON          MI      48423‐2010
HERGENREDER, DAVID A               9317 RIDGE RD                                                                                        GOODRICH         MI      48438‐9448
HERGENREDER, EARL W                PO BOX 88                                                                                            MILLINGTON       MI      48746‐0088
HERGENREDER, MARY A                6415 PERRY RD                                                                                        GRAND BLANC      MI      48439‐9702
HERGENREDER, MARY ANN              6415 PERRY RD                                                                                        GRAND BLANC      MI      48439‐9702
HERGENREDER, MELVIN A              5680 LONGBRIDGE RD                                                                                   PENTWATER        MI      49449‐8531
HERGENREDER, ROGER L               6415 PERRY RD                                                                                        GRAND BLANC      MI      48439‐9702
HERGENREDER, ROGER LEE             6415 PERRY RD                                                                                        GRAND BLANC      MI      48439‐9702
HERGENROEDER DUANE H (419439)      SIMMONS LAW FIRM
HERGENROEDER, DUANE                SIMMONS LAW FIRM                  PO BOX 521                                                         EAST ALTON       IL      62024‐0519
HERGERT, BRIAN L                   454 ELM ST                                                                                           MILTON           WI      53563‐1207
HERGERT, CYNTHIA E                 11380 CLARK RD                                                                                       DAVISBURG        MI      48350‐2730
HERGERT, RICHARD J                 308 MOWE ST                                                                                          ORFORDVILLE      WI      53576‐8707
HERGERT, ROGER F                   2232 RIDGE RD                                                                                        RANSOMVILLE      NY      14131‐9720
HERGERT, ROGER P                   218 E RIME ST                                                                                        ORFORDVILLE      WI      53576‐9591
HERGERT, STANLEY L                 19 3RD ST                                                                                            MILTON           WI      53563‐1244
HERGESHEIMER, ALICE J              107 E MORSE AVE                                                                                      BONNER SPRINGS   KS      66012‐1846
HERGESHEIMER, ALICE J              107 E MORSE                                                                                          BONNER SPGS      KS      66012‐1846
HERGET MILTON SR (642749)          ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                         BALTIMORE        MD      21202
                                                                     CHARLES CENTER 22ND FLOOR
HERGET, JEANNINE I.                4219 14TH ST E                                                                                       ELLENTON         FL      34222‐2613
HERGET, JEANNINE I.                4219 14TH ST EAST                                                                                    ELLENTON         FL      34222‐2613
HERGET, MILTON                     ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                          BALTIMORE        MD      21202
                                                                     CHARLES CENTER 22ND FLOOR
HERGO ERGONOMIC SUPPORT SYSTEMS    5601 55TH AVE                                                                                        MASPETH           NY     11378‐1104
INC
HERGO, ANTOINETTE R                101 STAFFORD AVENUE                                                                                  DAYTON           OH      45405‐2339
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Name                     Address1                        Address2            Address3                   Address4                 City               State Zip
HERGOTT'S AUTOTECH INC   963 GUELPH ST                                                                  KITCHENER ON N2H 5Z2
                                                                                                        CANADA
HERGT, MARYANN           1131 COUNTRY DR                                                                                         TROY               MI    48098‐6500
HERGUTH, HENRY E         PO BOX 437                                                                                              YONKERS            NY    10703‐0437
HERHILAN, WILLIAM C      12401 EVERGREEN DR                                                                                      SHELBY TOWNSHIP    MI    48315‐5815
HERHOLD, HERBERT O       6114 HOWLAND DR                                                                                         SWARTZ CREEK       MI    48473‐8302
HERHOLD, WILLIAM E       6610 ALSPAUGH DR                                                                                        CASTALIA           OH    44824‐9751
HERHUTH, ALMA J          641 SADDLEBROOK LN                                                                                      HOPKINS            SC    29061‐9478
HERHUTH, PATRICIA M      775 CHANNING ST                                                                                         FERNDALE           MI    48220‐3514
HERIAN, CAROL S          234 BEACHWOOD DR                                                                                        YOUNGSTOWN         OH    44505‐4282
HERIAN, DENNIS C         1801 FALLS RD                                                                                           GRAFTON            WI    53024‐2819
HERIBERT BALG            VENLOER STR 179                                                                50823 KOLN GERMANY
HERIBERT FABIANSKI       AUGSBURGERSTR 743                                                              D‐70329 STUTTGART
                                                                                                        GERMANY
HERIBERTA MUELLER        22101 FULLER AVE                                                                                        EUCLID             OH    44123‐2754
HERIBERTO DAVILA         4310 S WHIPPLE ST                                                                                       CHICAGO            IL    60632‐2517
HERIBERTO ESCOBAR        HC 1 BOX 4109                                                                                           VILLALBA           PR    00766‐9855
HERIBERTO ESCOBAR JR     4400 ELIZABETH LAKE RD APT 4                                                                            WATERFORD          MI    48328‐2921
HERIBERTO FELICIANO      3701 OGEMA AVE                                                                                          FLINT              MI    48507‐4310
HERIBERTO LOPEZ          5902 BURWOOD AVE                                                                                        LOS ANGELES        CA    90042‐1204
HERIBERTO LOPEZ          4000 SW 134TH AVE                                                                                       MIAMI              FL    33175‐3227
HERIBERTO LOPEZ JR       4212 PORTALES DR                                                                                        ARLINGTON          TX    76016‐4612
HERIBERTO LUGO           42 COLLEGE DR                                                                                           AUBURN HILLS       MI    48326‐3010
HERIBERTO M MEDINA       8641 MOUNTAIN VIEW                                                                                      SOUTH GATE         CA    90280‐2743
HERIBERTO MALDONADO      PO BOX 10                                                                                               ADJUNTAS           PR    00601‐0010
HERIBERTO MEDINA         2120 E 29TH ST                                                                                          LORAIN             OH    44055‐1915
HERIBERTO PERALTA        GLASSER AND GLASSER             CROWN CENTER        580 EAST MAIN ST STE 600                            NORFOLK            VA    23510
HERIBERTO PINEDA         3005 NW 10TH ST APT C                                                                                   DELRAY BEACH       FL    33445‐1969
HERIBERTO RAMOS          BOX 9000 STE 228                                                                                        CAYEY              PR    00737
HERIBERTO RODRIGUEZ      12624 PAGELS DR APT 220                                                                                 GRAND BLANC        MI    48439‐2402
HERIBERTO SALAZAR JR     9200 WINDSOR HWY                                                                                        DIMONDALE          MI    48821‐9785
HERIBERTO SEGARRA        88 BLVD DEL CARMEN                                                                                      MAYAGUEZ           PR    00682‐5725
HERIBERTO TAVALEZ        136 OAK VALLEY DR                                                                                       SPRING HILL        TN    37174‐2590
HERIBERTO TELLO          1144 LEXINGTON AVE                                                                                      FORT WAYNE         IN    46807‐2131
HERIBERTO VILASECO       256 LONG DIRT RD LOT 1                                                                                  LEESBURG           GA    31763‐5040
HERICZ, SUE M
HERICZ, ZION C
HERIER, DOUGLAS L        249 S GARBER DRIVE                                                                                      TIPP CITY          OH    45371‐1183
HERIFORD THOMAS J        1028 GORDON AVE                                                                                         LANSING            MI    48910‐2723
HERIFORD, MARIANNE E     2027 180TH CT NE                                                                                        REDMOND            WA    98052
HERIFORD, THOMAS J       1028 GORDON AVE                                                                                         LANSING            MI    48910‐2723
HERIG, BRUCE R           342 DRUMMOND SCHOOL RD                                                                                  JASPER             AL    35504‐5063
HERIG, ROBERT J          700 S WAVERLY RD                                                                                        EATON RAPIDS       MI    48827‐8204
HERIGER, MAXINE B        140 SHENANGO PARK ROAD                                                                                  TRANSFER           PA    16154‐6154
HERILLA, MIKE            707 MARY ST                                                                                             BENTLEYVILLE       PA    15314‐1016
HERINA III, GEORGE       7264 WATSONS PARISH DR                                                                                  O FALLON           MO    63368‐8149
HERING JR, DONALD C      16623 ROOSEVELT HWY, RT. 18                                                                             KENDALL            NY    14476
HERING, CARL J           25472 RANCHWOOD CT                                                                                      FARMINGTON HILLS   MI    48335‐1159

HERING, CATHY L          11285 AVON BELDEN RD                                                                                    GRAFTON            OH    44044‐9427
HERING, DOROTHY M        16623 ROOSEVELT HWY, RT.18                                                                              KENDALL            NY    14476‐9629
HERING, DOUGLAS L        1461 CHRISTINE TER                                                                                      MADISON HEIGHTS    MI    48071‐3872

HERING, JANYCE LYNETTE   4116 MERRYFIELD AVE APT C                                                                               DAYTON             OH    45416‐1285
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Name                                  Address1                              Address2              Address3                Address4                City            State   Zip
HERING, JON R                         4414 BRIGGS ROAD                                                                                            LITTLE VALLEY    NY     14755‐9758
HERING, LARRY D                       1612 SAWYER RD                                                                                              KENT             NY     14477‐9612
HERING, LAURA E                       23233 30 MILE RD                                                                                            RAY              MI     48096‐2100
HERING, MICHAEL C                     11133 OLD BRIDGE RD                                                                                         GRAND BLANC      MI     48439‐1055
HERING, MICHAEL CHARELS               11133 OLD BRIDGE RD                                                                                         GRAND BLANC      MI     48439‐1055
HERING, RICHARD L                     1607 PETER SMITH RD                                                                                         KENT             NY     14477‐9738
HERING, WILLIAM E                     23233 30 MILE RD                                                                                            RAY              MI     48096‐2100
HERINGSHAUSEN, DENNIS W               9915 NORMS RD                                                                                               ALPENA           MI     49707‐9406
HERINGTON DRAKE                       3953 WEST FERNWALD DR                                                                                       DAYTON           OH     45440‐3431
HERINGTON DRAKE                       3953 FERNWALD DR                                                                                            DAYTON           OH     45440‐3431
HERINGTON, CARROLL Z                  1725 STILLWOOD FOREST DR SW                                                                                 LILBURN          GA     30047‐5633
HERINGTON, CHARLES H                  51 E CASTLE VIEW DR                                                                                         BRASELTON        GA     30517‐2391
HERINGTON, HARRY W                    9093 N SEYMOUR RD                                                                                           FLUSHING         MI     48433‐9203
HERINGTON, MICHAEL J                  12148 MORRISH RD                                                                                            CLIO             MI     48420‐9423
HERINGTON, MICHAEL JOHN               12148 MORRISH RD                                                                                            CLIO             MI     48420‐9423
HERINGTON, NORMAN G                   3728 CHESTERFIELD DR 155                                                                                    LAPEER           MI     48446
HERINGTON, RALPH R                    PO BOX 206                                                                                                  MOUNT MORRIS     MI     48458‐0206
HERINK MARGARET                       2277 HIGHWAY E29                                                                                            CLUTIER           IA    52217‐9540
HERION, DALE R                        7141 N KIDDER RD                                                                                            JANESVILLE       WI     53545‐9552
HERION, THOMAS W                      121 OVERCUP LAKE RD                                                                                         MORRILTON        AR     72110
HERIOT WATT                           NORTH AMERICAN DISTRIBUTOR            6921 STOCKTON AVE                                                     EL CERRITO       CA     94530‐2931
HERIOT WATT UNIVERSITY                DISTANCE LEARNING PROGRAM             1780 SHATTUCK AVE     NORTH AMERICAN AGENCY                           BERKELEY         CA     94709‐1750
HERIOT, CELESTA P                     1450 N STATE HIGHWAY 360 APT 415                                                                            GRAND PRAIRIE    TX     75050‐4122
HERIOT, CELESTA PINKNEY               1450 N STATE HIGHWAY 360 APT 415                                                                            GRAND PRAIRIE    TX     75050‐4122
HERIOT‐WATT TRADING LTD               LORD BALERNO BUILDING                 EDINBURGH EH14 4AS                            UNITED KINGDOM GREAT
                                                                                                                          BRITAIN
HERIS HUMPHREY                        19152 MONTE VISTA ST                                                                                        DETROIT         MI      48221‐3204
HERITAGE AUTO VILLAGE CADILLAC JEEP   716 BALTIMORE PIKE                                                                                          BEL AIR         MD      21014‐4222

HERITAGE AUTO VILLIAGE‐OLDS‐CADILLAC‐ 716 BALTIMORE PIKE                                                                                          BEL AIR         MD      21014‐4222
JEEP EAGLE
HERITAGE AUTO/LWRNCB                  PO BOX 1007                                                                                                 LAWRENCEBURG    TN      38464‐1007
HERITAGE AUTOMOTIVE CENTER, INC.      JAMES STORY                            2122 N LOCUST AVE                                                    LAWRENCEBURG    TN      38464‐4401
HERITAGE AUTOMOTIVE CENTER, INC.      2122 N LOCUST AVE                                                                                           LAWRENCEBURG    TN      38464‐4401
HERITAGE BANK                         300 CENTRAL AVE                        FL 1                                                                 GREAT FALLS     MT      59401‐3171
HERITAGE BANK                         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 300 CENTRAL AVE      FL 1                                            GREAT FALLS     MT      59401‐3171

HERITAGE BUICK PONTIAC GMC            930 E INTERSTATE 30                                                                                         ROCKWALL        TX      75087‐4823
HERITAGE BUICK, INC.                  JOHN PEARL                            1500 W PIONEER PKWY                                                   PEORIA          IL      61615‐1943
HERITAGE BUICK, INC.                  1500 W PIONEER PKWY                                                                                         PEORIA          IL      61615‐1943
HERITAGE CADILLAC SAAB                ERNEST HODGE                          7134 JONESBORO RD                                                     MORROW          GA      30260‐2907
HERITAGE CADILLAC SAAB                7134 JONESBORO RD                                                                                           MORROW          GA      30260‐2907
HERITAGE CADILLAC, INC.               ERNEST HODGE                          7134 JONESBORO RD                                                     MORROW          GA      30260‐2907
HERITAGE CADILLAC, INC.               WILLIAM HARTIGAN                      303 W ROOSEVELT RD                                                    LOMBARD         IL      60148‐4219
HERITAGE CADILLAC, INC.               303 W ROOSEVELT RD                                                                                          LOMBARD         IL      60148‐4219
HERITAGE CADILLAC/BUDGET RAC          303 W ROOSEVELT RD                                                                                          LOMBARD         IL      60148‐4219
HERITAGE CHEV, OLDS/ALLSTATE LEASIN   11234 REISTERSTOWN RD                                                                                       OWINGS MILLS    MD      21117‐1908

HERITAGE CHEV, OLDS/ALLSTATE LEASING 11234 REISTERSTOWN RD                                                                                        OWINGS MILLS    MD      21117‐1908

HERITAGE CHEVROLET                  443 W JACKSON ST                                                                                              AUBURN           IL     62615‐1417
HERITAGE CHEVROLET BUICK PONTIAC GM 825 HIGHWAY 1 S                                                                                               LUGOFF           SC     29078‐9436
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Name                                  Address1                       Address2                    Address3   Address4               City              State Zip
HERITAGE CHEVROLET BUICK PONTIAC      WAYNE WEISS                    825 HIGHWAY 1 S                                               LUGOFF             SC 29078‐9436
GMC, INC.
HERITAGE CHEVROLET BUICK PONTIAC      825 HIGHWAY 1 S                                                                              LUGOFF             SC   29078‐9436
GMC, INC.
HERITAGE CHEVROLET, BUICK             11234 REISTERSTOWN RD                                                                        OWINGS MILLS      MD    21117‐1908
HERITAGE CHEVROLET, INC.              H. CARTER MYERS                PO BOX 4020                                                   CHESTER           VA    23831‐8474
HERITAGE CHEVROLET, INC.              TIMOTHY KOOL                   350 W DICKMAN RD                                              BATTLE CREEK      MI    49037‐8455
HERITAGE CHEVROLET, INC.              ROGER SCHLEGEL                 1227 N 4TH ST                                                 TOMAHAWK          WI    54487‐2126
HERITAGE CHEVROLET, INC.              1227 N 4TH ST                                                                                TOMAHAWK          WI    54487‐2126
HERITAGE CHEVROLET, INC.              11234 REISTERSTOWN RD                                                                        OWINGS MILLS      MD    21117‐1908
HERITAGE CHEVROLET, INC.              350 W DICKMAN RD                                                                             BATTLE CREEK      MI    49037‐8455
HERITAGE CHEVROLET, INC.              12420 JEFFERSON DAVIS HWY                                                                    CHESTER           VA    23831‐2319
HERITAGE CHEVROLET‐BUICK, INC.        JEROME FADER                   11234 REISTERSTOWN RD                                         OWINGS MILLS      MD    21117‐1908
HERITAGE CLASSIC WOVENS
HERITAGE ENVIRONMENTAL SERVICES       PO BOX 66132                                                                                 INDIANAPOLIS       IN   46266‐6132
HERITAGE ENVIRONMENTAL SERVICES LLC   7901 W MORRIS ST                                                                             INDIANAPOLIS       IN   46231‐1366

HERITAGE ENVIRONMENTAL SVCS LLC     7901 W MORRIS ST                 UPTD 7/11/06                                                  INDIANAPOLIS      IN    46231‐1366
HERITAGE FOUNDATION                 214 MASSACHUSETTES AVE NE                                                                      WASHINGTON        DC    20002
HERITAGE GROUP                      SHIRLEY SIMMERMAN                5400 W 86TH ST                                                INDIANAPOLIS      IN    46268‐1502
HERITAGE HEALTH CARE SVC            2312 VILLAGE PARK CT                                                                           ONTARIO           OH    44906‐1166
HERITAGE INDUSTRIAL PRODUCTS        32 E JULIE ST                                                                                  APPLETON          WI    54915‐3032
HERITAGE INTERACTIVE SERVICES       3719 W 96TH ST                                                                                 INDIANAPOLIS      IN    46268‐3100
HERITAGE INTERACTIVE SERVICES       ALLEGIANT GLOBAL SERVICES LLC    3719 W 96TH ST                                                INDIANAPOLIS      IN    46268‐3100
HERITAGE INTERACTIVE SERVICES LLC   3719 W 96TH ST                                                                                 INDIANAPOLIS      IN    46268‐3100
HERITAGE INTERACTIVE SERVICES LLC   PO BOX 611                                                                                     SNELLVILLE        GA    30078
HERITAGE MOLD/HOLLY                 3690 MCGINNIS RD                                                                               HOLLY             MI    48442‐8830
HERITAGE OF THE SOUTH BANK          PO BOX 50728                                                                                   ALBANY            GA    31703‐0728
HERITAGE PLASTIC MOLDING INC        AARON ADKINS                     6015 CORPORATE DRIVE                                          KNOXVILLE         TN
HERITAGE PLASTICS MLDG INC          AARON ADKINS                     6015 CORPORATE DRIVE                                          KNOXVILLE         TN
HERITAGE PONTIAC‐BUICK‐GMC TRUCK‐HO PO BOX 182                                                                                     ROME              GA    30162

HERITAGE PONTIAC‐BUICK‐GMC TRUCK‐     PO BOX 182                                                                                   ROME              GA    30162
HONDA
HERITAGE QUALITY PLASTICS INC         8212 23 MILE RD                                                                              UTICA             MI    48316‐4504
HERITAGE SAAB                         HODGE, ERNEST M.               7134 JONESBORO RD                                             MORROW            GA    30260‐2907
HERITAGE SAAB                         7134 JONESBORO RD                                                                            MORROW            GA    30260‐2907
HERITAGE SATURN, INC.                 JERRY FADER                    8431 BALTIMORE NAT'L PIKE                                     ELLICOTT CITY     MD    21043
HERITAGE SATURN, INC.                 JERRY FADER                    11216 REISTERSTOWN RD                                         OWINGS MILLS      MD    21117‐1908
HERITAGE SERVICE CENTRE               1044 SCRIBNER AVE NW                                                                         GRAND RAPIDS      MI    49504‐4212
HERITAGE, DONALD L                    10374 N ELLENDALE RD                                                                         EDGERTON          WI    53534‐8405
HERITAGE, JAMES D                     7335 CORNWELL DR                                                                             DAVISON           MI    48423‐9514
HERITAGE, JUANITA E                   3149 57TH AVENUE CIR E                                                                       BRADENTON         FL    34203‐5332
HERITAGE, MARY K                      727 HICKORY LOT ROAD                                                                         TOWSON            MD    21286‐1428
HERITAGE‐CRYSTAL CLEAN LLC            2175 POINT BLVD STE 375        ATTN CASH APPLICATION                                         ELGIN             IL    60123‐9211
HERITIER, FRANK L                     31618 WINCHESTER AVE                                                                         WARREN            MI    48092‐1438
HERITIER, MATTHEW T                   2446 PLAINVIEW DR                                                                            SAGINAW           MI    48603‐2536
HERITIER, MATTHEW THOMAS              2446 PLAINVIEW DR                                                                            SAGINAW           MI    48603‐2536
HERITZ, FRANK W                       2110 EDGEWOOD DR                                                                             ANDERSON          IN    46011‐3820
HERITZ, MARGARET S                    2110 EDGEWOOD DR                                                                             ANDERSON          IN    46011‐3820
HERK, ROBERT C                        9226 ANASAZI INDIAN TRL                                                                      HIGHLANDS RANCH   CO    80129‐6415

HERKEL, MARION                        1845 BARLOW TWO TAVERNS RD                                                                   GETTYSBURG        PA    17325
HERKEL, VELTA T                       1167 S OVERLAND DR                                                                           LENNON            MI    48449‐9672
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Name                              Address1                          Address2             Address3        Address4                  City               State   Zip
HERKELMANN, KATHRYN L             5572 N ADAMS WAY                                                                                 BLOOMFIELD HILLS    MI     48302‐4002
HERKES, JOHN E                    1013 OAK TREE LN                                                                                 BLOOMFIELD HILLS    MI     48304‐1177
HERKIMER COUNTY COMMUNITY COLLEGE 100 RESERVOIR RD                                                                                 HERKIMER            NY     13350‐1545

HERKIMER RADIO SERVICE            2708 N TELEGRAPH RD                                                                              MONROE              MI     48162‐8903
HERKIMER, JEAN                    105 MYERS FARM CT                                                                                CARY                NC     27519‐5544
HERKIMER, SCOTT                   PO BOX 1092                                                                                      SPRING HILL         TN     37174‐1092
HERKLESS, MORRIS G                1600 S M ST                                                                                      ELWOOD              IN     46036‐2845
HERKLOTZ, ROBERT                  1142 ROSELAND DR                                                                                 COLUMBIA            TN     38401‐7700
HERKNESS, PAULINE M               17934 VALLE DE LOBO DR                                                                           POWAY               CA     92064‐1021
HERKNESS, RONALD C                1524 OCHER ST                                                                                    NOVI                MI     48374‐1112
HERKO, ANNA                       15 MADIE AVE                                                                                     SPOTSWOOD           NJ     08884‐1139
HERKOMER, KAREN A                 3001 FAIRVIEW ST                                                                                 ANDERSON            IN     46016‐5929
HERKOMER, KAREN ANN               3001 FAIRVIEW ST                                                                                 ANDERSON            IN     46016‐5929
HERKOMER, KING R                  817 WOODLAWN DR                                                                                  ANDERSON            IN     46012‐4563
HERKOMER, STEVEN R                1885 RACCOON WAY                                                                                 PENDLETON           IN     46064‐9064
HERKULES EQ/WALD LK               2760 RIDGEWAY CT                                                                                 COMMERCE            MI     48390‐1662
                                                                                                                                   TOWNSHIP
HERKULES EQUIPMENT CORP           2760 RIDGEWAY CT                                                                                 COMMERCE            MI     48390‐1662
                                                                                                                                   TOWNSHIP
HERKY MILLER SERVICE              3300 BABCOCK BLVD                                                                                PITTSBURGH          PA     15237‐2422
HERL CHEVROLET‐BUICK CO., INC.    JOHN HERL                         2103 ENTERPRISE RD                                             GOODLAND            KS     67735‐9780
HERL CHEVROLET‐BUICK CO., INC.    2103 ENTERPRISE RD                                                                               GOODLAND            KS     67735‐9780
HERL, DANIEL C                    322 GREEN ST                                                                                     LOCKPORT            NY     14094‐2014
HERLACHE INDUSTRIAL SUPPLY CO     PO BOX 11207                                                                                     GREEN BAY           WI     54307‐1207
HERLAN HADLEY                     8326 MESSIAH PL                                                                                  INDIANAPOLIS        IN     46256‐2909
HERLE'S TRUCK & AUTO SALES        6214 50 AVE                                                            LLOYDMINSTER AB T9V 2C9
                                                                                                         CANADA
HERLEDAN, JEAN‐REMY               128 ALBERTSON ST                                                                                 ROCHESTER          MI      48307‐1407
HERLEHY, DANIEL W                 2950 HIGHLAND AVE                                                                                MCKEESPORT         PA      15132‐3248
HERLEHY, DANIEL W                 27737 PINE POINT DRIVE                                                                           WESLEY CHAPEL      FL      33544‐8761
HERLEMAN, MARY R                  2416 GOLDEN RAIN RD 7‐E16                                                                        WALNUT CREEK       CA      94595‐1936
HERLEY JR, ROBERT D               5510 GUY RD                                                                                      NASHVILLE          MI      49073‐9702
HERLEY, JANE I                    906 STAFFORDSHIRE LN                                                                             SUN CITY CENTER    FL      33573‐7098
HERLIE DAVIS                      29180 DARDANELLA ST APT 3                                                                        LIVONIA            MI      48152‐3538
HERLIHY, FREDERICK                3463 KIVETON DR                                                                                  NORCROSS           GA      30092‐3377
HERLIHY, THOMAS P                 PO BOX 1067                                                                                      WILTON             NH      03086‐1067
HERLIHY, WILLIAM J                36 MARTIN DR                                                                                     WAPPINGERS FALLS   NY      12590‐2226

HERLINDA CASANOVA                 4734 DOANE HWY                                                                                   GRAND LEDGE        MI      48837
HERLINDA GARCIA                   2828 SCHRAGE AVE                                                                                 WHITING            IN      46394‐2121
HERLINDA GREEN                    1508 HOLLY HILL DR                                                                               FRANKLIN           TN      37064‐6745
HERLINDA HAYMER                   11505 LATONKA TRL                                                                                FLORISSANT         MO      63033‐7520
HERLINDA PULIDO                   5655 YOUNG RD                                                                                    BELLEVUE           MI      49021‐9432
HERLINDA PULIDO                   5655 YOUNG ROAD                                                                                  BELLEVUE           MI      49021‐9432
HERLINE, ALAN O                   4990 CAMPBELL AVE                                                                                HALE               MI      48739‐8729
HERLINE, EDWARD C                 467 WHITE WILLOW DR                                                                              FLINT              MI      48506‐5234
HERLINE, FREDERICK L              258 W BELLEVUE HWY                                                                               OLIVET             MI      49076‐9636
HERLINE, FREDERICK LOUIS          258 W BELLEVUE HWY                                                                               OLIVET             MI      49076‐9636
HERLINE, MARIE E                  4990 CAMPBELL AVE                                                                                HALE               MI      48739‐8729
HERLINE, ORVILLE RAYFIEL          4990 CAMPBELL AVE                                                                                HALE               MI      48739‐8729
HERLINE, ORVILLE RAYFIEL          5197 COTTRELL RD                                                                                 VASSAR             MI      48768‐9499
HERLINE, ROBERT G                 PO BOX 404                                                                                       FREELAND           MI      48623‐0404
HERLINE, TERRI                    258 W BELLEVUE HWY                                                                               OLIVET             MI      49076‐9636
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Name                                Address1                             Address2                     Address3     Address4                 City              State   Zip
HERLINE‐WRIGHT, SUSAN L             5268 N FOX RD                                                                                           SANFORD            MI     48657‐9115
HERLINER DUNSON                     4732 LITTLE RICHMOND RD                                                                                 TROTWOOD           OH     45426‐3202
HERLINER L DUNSON                   4732 LITTLE RICHMOND RD                                                                                 TROTWOOD           OH     45426‐3202
HERLING MILLER                      8913 S STATE ROUTE 73                                                                                   WILMINGTON         OH     45177‐9330
HERLING, DENNIS W                   PO BOX 265                                                                                              SEABECK            WA     98380‐0265
HERLING, JERRY L                    12762 BULLIS RD                                                                                         EAST AURORA        NY     14052‐9620
HERLINGER, KENNETH F                2337 S CANAL ST                                                                                         NEWTON FALLS       OH     44444‐1808
HERLMETZ GMBH                       LUTHERSTRASSE                                                                  DESSAU 06842 GERMANY
HERLONG CHEVROLET‐PONTIAC‐BUICK INC JOE HERLONG                          354 LEE ST                                                         JOHNSTON           SC     29832‐1434

HERLONG CHEVROLET‐PONTIAC‐BUICK INC 354 LEE ST                                                                                              JOHNSTON           SC     29832‐1434

HERLONG, EARLY E                    LEBLANC & WADDELL                    5353 ESSEN LN STE 420                                              BATON ROUGE       LA      70809‐0500
HERM JR, GEORGE C                   4195 ROSEWOOD DR                                                                                        SAGINAW           MI      48603‐2052
HERMA ADDISON                       3230 CIRCLE DR                                                                                          SAGINAW           MI      48601‐5802
HERMA BARGO                         5305 CHURCH RD                                                                                          ANN ARBOR         MI      48105‐9429
HERMA PATRICK                       6638 HELWIG DR                                                                                          HUBER HEIGHTS     OH      45424‐3552
HERMALENE KAHAYIAN                  8471 JAMESTOWN DR                                                                                       WHITE LAKE        MI      48386‐3575
HERMALENE KROMER                    9036 HORIZON DR                                                                                         SPRING HILL       FL      34608‐5353
HERMALETTA E STARGELL               472 CARTERS GROVE RD                                                                                    DAYTON            OH      45459
HERMAN & CLARA REED JOINT REVOCABLE HERMAN & CLARA REED                  13803 LITTLE ELM RD                                                FARMINGTON        AR      72730
TRUST
HERMAN A ARNOLD                     562 WESTWOOD AVE                                                                                        DAYTON            OH      45417
HERMAN A GARCIA                     303 WESTWOOD AVE                                                                                        SYRACUSE          NY      13211‐1523
HERMAN A LEWIS JR                   6671 RAVENNA AVE                                                                                        ENON              OH      45323‐1629
HERMAN A MONTES                     13715 PENN                                                                                              WHITTIER          CA      90602‐1846
HERMAN A PACK SR                    PO BOX 117                                                                                              ALPHA             OH      45301‐0117
HERMAN A REGUSTERS                  25932 ANDRE CT                                                                                          MORENO VALLEY     CA      92553
HERMAN A RUTLIN                     3807 NEVADA AVE                                                                                         DAYTON            OH      45416
HERMAN A SCOTT                      56 GEMINI DR                                                                                            HANNIBAL          MO      63401‐2304
HERMAN ACORD                        2580 CHAMBERS RD                                                                                        CARO              MI      48723‐9207
HERMAN ADAMS                        105 CHARDONNAY COURT                                                                                    ENGLEWOOD         OH      45322‐3455
HERMAN AKINS                        4177 SOMERSET DR                                                                                        LOS ANGELES       CA      90008
HERMAN ALBERT                       THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                            BALTIMORE         MD      21201

HERMAN ALLEN                         CASCINO MICHAEL P                   220 SOUTH ASHLAND AVE                                              CHICAGO            IL     60607
HERMAN ALLEN                         7880 BARNSBURY RD                                                                                      WEST BLOOMFIELD    MI     48324‐3618

HERMAN ALLEN JR                      1981 RIDGETOP WAY                                                                                      CINCINNATI        OH      45238‐2960
HERMAN AND CLARA REED JOINT          HERMAN AND CLARA REED               13803 LITTLE ELM RD                                                FARMINGTON        AR      72730
REVOCABLE TRUST
HERMAN ANDERSON                      BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.       OH      44236
HERMAN ANDERSON                      PO BOX 94                                                                                              ANDREWS           IN      46702‐0094
HERMAN ANDERSON                      844 WHITMORE AVE                                                                                       BALTIMORE         MD      21216‐4736
HERMAN ANDREWS                       179 PARKSIDE AVE                                                                                       BUFFALO           NY      14214‐2304
HERMAN ARLINE                        C/O FOSTER & SEAR, LLP              817 GREENVIEW DRIVE                                                GRAND PRAIRIE     TX      75050
HERMAN ARNETT                        PO BOX 22874                                                                                           BEACHWOOD         OH      44122
HERMAN BACHMAN                       1306 E MOUNT MORRIS RD                                                                                 MOUNT MORRIS      MI      48458‐2912
HERMAN BAKER                         1027 HAZEL AVE                                                                                         ENGLEWOOD         OH      45322‐2426
HERMAN BAKER                         2808 ARMCO DR                                                                                          MIDDLETOWN        OH      45042‐3334
HERMAN BARBERIS                      444 VIA COCHES                                                                                         SAN LORENZO       CA      94580‐3112
HERMAN BARCLAY                       PO BOX 1003                                                                                            ANDERSON          IN      46015‐1003
HERMAN BARNES                        5238 FONTANA ST                                                                                        ROELAND PARK      KS      66205‐2349
HERMAN BARNETT                       5721 RD 109 R 3                                                                                        MOUNT GILEAD      OH      43338
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Name                    Address1                        Address2                         Address3            Address4               City            State   Zip
HERMAN BAUMGARTNER      1280 PARRISH AVE                                                                                            HAMILTON         OH     45011‐4534
HERMAN BEARD JR.        2206 ROSSITER PL                                                                                            LANSING          MI     48911‐1696
HERMAN BEAUNE           3986 BARNES RD                                                                                              RAVENNA          MI     49451‐9250
HERMAN BECKER           12163 BROUGHAM DR                                                                                           STERLING HTS     MI     48312‐4075
HERMAN BECKER           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.      OH     44236
HERMAN BECKMAN          3771 WALTERS DR                                                                                             BRUNSWICK        OH     44212‐2746
HERMAN BELL             2520 TROY ST                                                                                                SAGINAW          MI     48601‐3645
HERMAN BELL             1505 N LAKEWOOD AVE                                                                                         BALTIMORE        MD     21213‐3846
HERMAN BENTLEY          3970 S OKATIE HWY                                                                                           HARDEEVILLE      SC     29927‐8527
HERMAN BENTLEY          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.      OH     44236
HERMAN BIRKS III        12805 EWING AVE                                                                                             GRANDVIEW        MO     64030‐2057
HERMAN BISHOP           716 4TH AVE                                                                                                 PONTIAC          MI     48340‐2028
HERMAN BLAND            40 KILLDEER LN                                                                                              BYRON            GA     31008‐8002
HERMAN BLANKENBECKLEY   4319 PLYMOUTH SPRINGMILL RD                                                                                 SHELBY           OH     44875
HERMAN BLEHM            2655 DIVISION ST                                                                                            ALGER            MI     48610‐8534
HERMAN BLISS            22811 MILLENBACH ST                                                                                         ST CLAIR SHRS    MI     48081‐2618
HERMAN BLOODSAW         PO BOX 18637                                                                                                NATCHEZ          MS     39122‐8637
HERMAN BLUM             10327 N ELLENDALE RD                                                                                        EDGERTON         WI     53534‐8405
HERMAN BOARD JR         20164 WEXFORD ST                                                                                            DETROIT          MI     48234‐1810
HERMAN BOCKHORST        603 LINDSEY DR                                                                                              UNION            MO     63084‐5107
HERMAN BOEN JR          PO BOX 261                                                                                                  OAKWOOD           IL    61858‐0261
HERMAN BOHN             500 HILLSIDE AVE                                                                                            WILMINGTON       DE     19805‐1012
HERMAN BOND             1934 WHITTLESEY ST                                                                                          FLINT            MI     48503‐4347
HERMAN BONIEDOT         20466 E 1924TH RD                                                                                           FAIR PLAY        MO     65649‐8268
HERMAN BONNER           3425 FOX HOUND RUN                                                                                          LITHONIA         GA     30038‐1606
HERMAN BOUSHIE          1087 MADISON 523                                                                                            FREDERICKTOWN    MO     63645‐7727
HERMAN BOWERS           10911 TOURNAMENT LN                                                                                         INDIANAPOLIS     IN     46229‐4325
HERMAN BRADFORD         310 W 7TH ST                                                                                                MANCHESTER       OH     45144‐1120
HERMAN BRASSFIELD       WEITZ & LUXENBERG PC            700 BROADWAY                                                                NEW YORK CITY    NY     10003
HERMAN BRASSFIELD       C/O WEITZ & LUXENBERG PC        700 BROADWAY                                                                NEW YORK CITY    NY     10003
HERMAN BRINSON          4726 E HERITAGE CIR                                                                                         MUNCIE           IN     47303‐2692
HERMAN BROOKS           18050 CHAMBERLAIN RD                                                                                        GRAFTON          OH     44044‐9629
HERMAN BROOKS           105 FORREST LN                                                                                              MERIDIANVILLE    AL     35759‐1610
HERMAN BROWN            RR 1 BOX 167                                                                                                MILLERSVILLE     MO     63766‐9605
HERMAN BROWN            3483 JONATHON DR                                                                                            BEAVERCREEK      OH     45434‐5911
HERMAN BROWN MANUEL     G PATTERSON KEAHEY PC           ONE INDEPENDENCE PLAZA STE 612                                              BIRMINGHAM       AL     35209
HERMAN BRUGGER          4176 PARDEE AVE                                                                                             DEARBORN HTS     MI     48125‐2410
HERMAN BRUNGER          332 S HEADQUARTERS RD                                                                                       GRAYLING         MI     49738‐7844
HERMAN BUCK             8129 STATE ROAD 58 E                                                                                        HELTONVILLE      IN     47436‐8777
HERMAN BUCKNER          18140 MACKAY ST                                                                                             DETROIT          MI     48234‐1482
HERMAN BULLOCK          7340 BROWNING RD                                                                                            BAINBRIDGE       OH     45612‐9502
HERMAN BURRIS           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.      OH     44236
HERMAN BUSH             80 GATH TER                                                                                                 TONAWANDA        NY     14150‐5292
HERMAN BUTHKER          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.      OH     44236
HERMAN BUTLER           PO BOX 1211                                                                                                 VILLA RICA       GA     30180‐6211
HERMAN BYRD             133 GRADY SMITH RD                                                                                          PINK HILL        NC     28572
HERMAN BYRD             4942 HACKETT DR                                                                                             DAYTON           OH     45418‐2237
HERMAN BYRD             4942 HACKETT DRIVE                                                                                          DAYTON           OH     45418‐2237
HERMAN BYRD JR          1138 E COLDWATER RD                                                                                         FLINT            MI     48505‐1504
HERMAN C EMEREL         BARON & BUDD P C                THE CENTRUM SUITE 1100           3102 OAK LAWN AVE                          DALLAS           TX     75219‐4281
HERMAN C PLUISTER       1016 5TH AVE                    APT 306                                                                     DEWITT            IA    52742
HERMAN C STONE JR       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY                STE 600                                    HOUSTON          TX     77007
                        BOUNDAS L L P
HERMAN CALDWELL         RT 3 BOX 495‐A                                                                                              ALBANY           KY     42602
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Name                    Address1                       Address2                      Address3   Address4                 City               State   Zip
HERMAN CALDWELL JR      2470 STONEGATE DR                                                                                LAPEER              MI     48446‐9003
HERMAN CALKINS          11 COUNTRY WOOD DR                                                                               KINCHELOE           MI     49788‐1202
HERMAN CALLIHAN         4 EMERALD CRSE                                                                                   OCALA               FL     34472‐2315
HERMAN CAMERON          PO BOX 87                                                                                        HARTFORD            OH     44424‐0087
HERMAN CAMERON II       3900 STATE ROUTE 7                                                                               BURGHILL            OH     44404‐9713
HERMAN CANTEEN          4 ASPEN CIR                                                                                      ALBANY              NY     12208‐1327
HERMAN CANUP            2020 ROWLAND AVE                                                                                 ROYAL OAK           MI     48067‐3539
HERMAN CARDIFF          2450 10TH ST                                                                                     SHELBYVILLE         MI     49344‐9530
HERMAN CARUTHERS        400 HEATHER RIDGE CT                                                                             SAN RAMON           CA     94582‐5130
HERMAN CASTLE           14730 DANE CT                                                                                    STERLING HEIGHTS    MI     48312‐4414
HERMAN CHAPMAN          21807 E 10 MILE RD                                                                               ST CLAIR SHRS       MI     48080‐1261
HERMAN CHRISTOPHER SR   C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                         HOUSTON             TX     77007
                        BOUNDAS LLP
HERMAN CLARK JR         1543 OAK LN                                                                                      YOUNGSTOWN         OH      44505‐3240
HERMAN CLEMENT          DEUTSCHE BANK SA/NV            AVENUE MARNIX 13 15                      1000 BRUXELLES BELGIUM
HERMAN CLIFTON          1209 THORNWOOD CT                                                                                FLINT              MI      48532‐2365
HERMAN CLOUGH I I I     412 HORIZON LN                                                                                   SMYRNA             DE      19977‐4118
HERMAN COHILL           1029 REX AVE                                                                                     FLINT              MI      48505‐1606
HERMAN COHN             5000 S EAST END AVE APT C8                                                                       CHICAGO            IL      60615‐3177
HERMAN COLE             PO BOX 558                                                                                       MITCHELL           IN      47446‐0558
HERMAN COLEY            505 MCRAE CT                                                                                     DAYTON             OH      45427‐2828
HERMAN COMBS            105 P.O. BOX 219                                                                                 LARKSLANE          KY      41817‐0219
HERMAN COMBS            7393 GREENBUSH RD                                                                                SOMERVILLE         OH      45064‐9616
HERMAN CONVIS           1407 POPLAR ST                                                                                   FLINT              MI      48503‐4845
HERMAN COUGHLIN         G7081 N CENTER RD                                                                                MOUNT MORRIS       MI      48458
HERMAN CRABTREE         3920 TYLER HOLW                                                                                  MONROE             MI      48161‐4573
HERMAN CRAIG            19964 WOODBINE ST                                                                                DETROIT            MI      48219‐1037
HERMAN CRAWFORD         1070 MAPLE ST                                                                                    ROCHESTER          NY      14611‐1546
HERMAN CRESS            10089 RENO LN                                                                                    HILLSBORO          OH      45133‐8684
HERMAN CROUSE           208 CROSS CREEK CT                                                                               ALVATON            KY      42122‐8724
HERMAN CRUMP            4101 KINGS CT                                                                                    OKLAHOMA CITY      OK      73121‐2052
HERMAN CRUZ             1343 KENWOOD AVE                                                                                 BELOIT             WI      53511‐5949
HERMAN CUEVAS           3673 W 325 N                                                                                     MARION             IN      46952‐9787
HERMAN CUEVAS           2329 W 13TH ST                                                                                   MARION             IN      46953‐1123
HERMAN CUMMINGS         2026 BARKS ST                                                                                    FLINT              MI      48503‐4306
HERMAN CUNNINGHAM       4388 W EUCLID ST                                                                                 DETROIT            MI      48204‐2443
HERMAN CUNNINGHAM       1443 HILLCREST AVE                                                                               NILES              OH      44446‐3709
HERMAN CUTSHAW          11064 TERRY ST                                                                                   PLYMOUTH           MI      48170‐4523
HERMAN D EVANS          4401 MIAMI SHORES DR                                                                             MORAINE            OH      45439
HERMAN D OTHERSEN       1503 S CENTRAL DR                                                                                DAYTON             OH      45432‐2907
HERMAN DAILEY           6425 WOODACRE CT                                                                                 ENGLEWOOD          OH      45322‐3641
HERMAN DAILEY           57 HEDGE ST                                                                                      ROCHESTER          NY      14606‐5641
HERMAN DANIEL           PO BOX 591                                                                                       GRAND BLANC        MI      48480‐0591
HERMAN DAVENPORT        138 DAVENPORT TRL                                                                                HARRISON           MI      48625‐9344
HERMAN DAVID            C/O THE MADEKSHO LAW FIRM      8866 GULF FREEWAY SUITE 440                                       HOUSTON            TX      77017
HERMAN DAVIS            1300 N MAYSIDE DR                                                                                OKLAHOMA CITY      OK      73127‐7010
HERMAN DAVIS            114‐120228TH STREET            CAMBRIA HEIGHTS ‐ QUEENS                                          NEW YORK           NY      11411
HERMAN DAVIS            1103 OAKWOOD AVE                                                                                 TOLEDO             OH      43607‐1932
HERMAN DAVIS            PO BOX 56                                                                                        INDIANOLA          IL      61850‐0056
HERMAN DAY              333B RIDGECREST PKWY                                                                             OROVILLE           CA      95966‐5714
HERMAN DESHAZO          13 DELL CT                                                                                       BALTIMORE          MD      21244‐2848
HERMAN DIXON            203 PLANTATION CT                                                                                NASHVILLE          TN      37221‐7401
HERMAN DORSEY           2137 E KNOPF ST                                                                                  COMPTON            CA      90222‐2507
HERMAN DOSTER           416 VERBENA LOOP                                                                                 FOLEY              AL      36535‐2655
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Name                       Address1                         Address2                       Address3                    Address4               City            State   Zip
HERMAN DOUGLAS             2663 N ASHLAND AVE # 1N                                                                                            CHICAGO           IL    60614‐1101
HERMAN DOUTHARD            4200 E 178TH ST                                                                                                    CLEVELAND        OH     44128‐2605
HERMAN DOZIER              110 LADY CAROLYN CT                                                                                                FAYETTEVILLE     GA     30214‐1092
HERMAN DUBOIS              108 BRAD N CRIS DR                                                                                                 HOUGHTON LAKE    MI     48629‐9793
HERMAN DURBIN JR           4038 E GRESHAM HWY                                                                                                 POTTERVILLE      MI     48876‐8763
HERMAN DYAS                11411 YOSEMITE ST                                                                                                  DETROIT          MI     48204‐1497
HERMAN E BOWDEN            C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                                         HOUSTON          TX     77007
                           BOUNDAS LLP
HERMAN E DOYLE             2620 S SHERIDAN BLVD                                                                                               DENVER          CO      80227
HERMAN E HANCOCK           1043 W WHITTEMORE AVE                                                                                              FLINT           MI      48507‐3641
HERMAN E KERR              241 WOODLAWN DR                                                                                                    TRAFFORD        PA      15085‐1232
HERMAN E MAGNUS            12916 S UNION AVE                                                                                                  CHICAGO         IL      60628‐7446
HERMAN E REIGELMAN         6359 WARREN SHARON RD.                                                                                             BROOKFIELD      OH      44403‐9545
HERMAN E VOLKENAND         8801 STRINGFELLOW RD                                                                                               ST JAMES CITY   FL      33956‐3027
HERMAN E WATKINS           1575 WOODLAWN GREEN BLVD                                                                                           SPRINGBORO      OH      45066‐9686
HERMAN E WEIDLE            125 COUSINS DR                                                                                                     CARLISLE        OH      45005‐6218
HERMAN E WILLIS            43 HILTON AVE.                                                                                                     YOUNGSTOWN      OH      44507
HERMAN EHLERS              6 VILLE DONNA CT                                                                                                   HAZELWOOD       MO      63042‐1609
HERMAN ELERY CLOSE         ATTN ROBERT W PHILLIPS           C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                          EAST ALTON      IL      62024
                                                            ANGELIDES & BARNERD LLC      521
HERMAN ELLISON             5079 N JENNINGS RD                                                                                                 FLINT           MI      48504‐1113
HERMAN ENCINAS             1818 LAURELGROVE LANE                                                                                              TRACY           CA      95376‐5327
HERMAN ERBY                1912 E WILLARD ST                                                                                                  MUNCIE          IN      47302‐3725
HERMAN EVANS               8725 HUNTERS TRL                                                                                                   FORT WORTH      TX      76123‐2531
HERMAN EVANS               194 WINTHROP AVE                                                                                                   ELMSFORD        NY      10523‐1911
HERMAN EVANS               BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                        BOSTON HTS.     OH      44236
HERMAN F BAKER             1027 HAZEL AVE                                                                                                     ENGLEWOOD       OH      45322‐2426
HERMAN F LEWIS             1858 WILSHIRE DR                                                                                                   XENIA           OH      45385‐1156
HERMAN FANSLAU             1477 W STERNS RD                                                                                                   TEMPERANCE      MI      48182‐1508
HERMAN FELDER              6432 BEACON ST                                                                                                     PITTSBURGH      PA      15217
HERMAN FELTHAUS            37587 KINGSBURY ST                                                                                                 LIVONIA         MI      48154‐1813
HERMAN FINK                1121 W NORTH ST                                                                                                    KOKOMO          IN      46901‐2655
HERMAN FLEMMONS            22537 YATES AVE                                                                                                    SAUK VILLAGE    IL      60411‐5618
HERMAN FLYNN               13228 SHERIDAN RD                                                                                                  MONTROSE        MI      48457‐9407
HERMAN FOLDEN              943 MEL AVE                                                                                                        LANSING         MI      48911‐3617
HERMAN FRALEY              15925 JACKSON LN                                                                                                   ATHENS          AL      35613‐7360
HERMAN FUGATE              110 THORNAPPLE RD                                                                                                  NEW LEBANON     OH      45345‐9260
HERMAN FULK                BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                        BOSTON HTS.     OH      44236
HERMAN G STARNES           C/O BRAYTON PURCELL              222 RUSH LANDING RD                                                               NOVATO          CA      94948‐6169
HERMAN G ZIMMERMAN         3350 BAKER RD                                                                                                      SPRINGFIELD     OH      45504‐4432
HERMAN GAINES              15681 SCOTT ST                                                                                                     SOUTHGATE       MI      48195‐1321
HERMAN GALLASCH JR         30575 ROSEMOND DR                                                                                                  FRANKLIN        MI      48025‐1478
HERMAN GAMELIN JR          99 HICKORY PLACE DR                                                                                                COLUMBIAVILLE   MI      48421‐9736
HERMAN GAMMONS             1346 CARMAN ST                                                                                                     BURTON          MI      48529‐1206
HERMAN GARCIA              4235 SEIDEL PL                                                                                                     SAGINAW         MI      48638‐5635
HERMAN GARCIA              3147 CENTRAL ST                                                                                                    KANSAS CITY     MO      64111‐1321
HERMAN GARDNER             857 E 500 S                                                                                                        ANDERSON        IN      46013‐9508
HERMAN GARRETT             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                        BOSTON HTS.     OH      44236
HERMAN GARTH               9628 STAHELIN AVE                                                                                                  DETROIT         MI      48228‐1432
HERMAN GERALD E (481788)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                       NORFOLK         VA      23510
                                                            STREET, SUITE 600
HERMAN GILBERT             225 162ND ST                                                                                                       HAMMOND         WI      54015‐5407
HERMAN GLAZIER             17373 W BUCHANAN ST                                                                                                GOODYEAR        AZ      85338‐2571
HERMAN GLENN               2645 ABERDEEN DR                                                                                                   SPRINGFIELD     OH      45506‐3701
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Name                                 Address1                           Address2                         Address3            Address4               City            State   Zip
HERMAN GLOWSKI                       5105 HIGHWAY 157                                                                                               JUDSONIA         AR     72081‐8855
HERMAN GODWIN                        711 15TH AVE NW                                                                                                ARDMORE          OK     73401‐1937
HERMAN GOEDDE                        613 SESSIONS AVE                                                                                               SAINT LOUIS      MO     63126‐1030
HERMAN GOMEZ                         PO BOX 213                                                                                                     CARROLLTON       MI     48724‐0213
HERMAN GRAY                          883 ASBURY WAY                                                                                                 LITHONIA         GA     30058‐2905
HERMAN GREEN                         9202 MEYERS RD                                                                                                 DETROIT          MI     48228‐2632
HERMAN GREG                          HERMAN, GREG                       640 S SAN VICENTE BLVD STE 230                                              LOS ANGELES      CA     90048‐4654
HERMAN GRIFFIN                       2735 HAYDEN DR                                                                                                 EAST POINT       GA     30344‐1055
HERMAN GUELDE JR                     13862 RD, #154                                                                                                 PAULDING         OH     45879
HERMAN GUIDO JR                      1211 HENSON RD                                                                                                 BOWLING GREEN    KY     42104‐7715
HERMAN H BLECKER III                 132 PHEASANT RUN                                                                                               FEASTERVILLE     PA     19052
HERMAN H RUTSCH                      7056 TWIN SILO DR                                                                                              BLUE BELL        PA     19422‐4225
HERMAN HACKWORTH                     296 VALLEY WAY                                                                                                 HAMPTON          GA     30228‐3025
HERMAN HACKWORTH                     242 NORWICK FOREST DR                                                                                          ALABASTER        AL     35007‐8403
HERMAN HAIRSTON                      490 NORTH CANTON CLUB CIRCLE                                                                                   JACKSON          MS     39211‐3453
HERMAN HALL                          5 KRON ST                                                                                                      ROCHESTER        NY     14619‐2035
HERMAN HALTER                        6680 NANAFIELD ST                                                                                              TEMPERANCE       MI     48182‐1235
HERMAN HAMILTON                      000 DR MARTIN LUTHER KING DR 330                                                                               SAINT LOUIS      MO     63106
HERMAN HAMILTON                      710 E HIGHWAY 1248                                                                                             SOMERSET         KY     42503‐4754
HERMAN HAMPTON                       754 N MCCONNELL RD                                                                                             LINCOLN          MI     48742‐9308
HERMAN HANCOCK                       1043 W WHITTEMORE AVE                                                                                          FLINT            MI     48507‐3641
HERMAN HARDING                       2370 COLUMBIA RD                                                                                               LEBANON          OH     45036‐9502
HERMAN HARRELSON                     162 RD 2720                                                                                                    GUNTOWN          MS     38849
HERMAN HARRIS                        15715 ADDISON ST                                                                                               SOUTHFIELD       MI     48075‐6901
HERMAN HARRIS                        6205 CROWNE BROOK CIR                                                                                          FRANKLIN         TN     37067‐1645
HERMAN HARRIS                        18027 COYLE ST                                                                                                 DETROIT          MI     48235‐2826
HERMAN HAYNES                        5006 WILLIAMSTOWN BLVD                                                                                         LAKELAND         FL     33810‐3707
HERMAN HAZARD                        2225 KANSAS AVE                                                                                                SAGINAW          MI     48601‐5530
HERMAN HEAVNER                       4685 HICKORY LINCOLNTON HWY                                                                                    NEWTON           NC     28658‐9732
HERMAN HENLEY                        1418 W GRAND AVE                                                                                               DAYTON           OH     45402‐6057
HERMAN HENRY PRIMM                   BARON & BUDD PC                    THE CENTRUM SUITE 1100           3102 OAK LAWN AVE                          DALLAS           TX     75219‐4281
HERMAN HENSLEY                       359 W COLUMBIA AVE                                                                                             BELLEVILLE       MI     48111‐2721
HERMAN HICKS                         5229 WOODCLIFF DR                                                                                              FLINT            MI     48504‐1288
HERMAN HILLIARD                      95 ALEX HILLIARD LN                                                                                            LOUISBURG        NC     27549‐6933
HERMAN HILLIARD JR                   75 DIXON DR                                                                                                    BUFFALO          NY     14223‐1834
HERMAN HINMAN                        1208 APPLE GROVE RD                                                                                            MELBOURNE        FL     32901‐2804
HERMAN HITCHCOCK                     1142 CLEBURNE PKWY                                                                                             HIRAM            GA     30141‐4058
HERMAN HOBBS                         1111 HADCOCK RD                                                                                                BRUNSWICK        OH     44212‐2759
HERMAN HOBDY                         12804 BROADSTREET AVENUE                                                                                       DETROIT          MI     48238‐3250
HERMAN HOERIG                        802 GLENGARY RD                                                                                                TOLEDO           OH     43617‐2120
HERMAN HOLLAND                       3011 SPOTTSWOOD CIR                                                                                            MURFREESBORO     TN     37128‐5051
HERMAN HOLT                          11849 MAPLE TRL                                                                                                HILLSBORO        OH     45133‐8346
HERMAN HOLT                          11849 MAPLE TRAIL                                                                                              HILLSBORO        OH     45133‐8346
HERMAN HOLZAPFEL                     706 TOWNSEND ST                                                                                                CAMBRIDGE        WI     53523‐9206
HERMAN HOLZKE                        19945 CALUMET DR                                                                                               CLINTON TWP      MI     48038‐1457
HERMAN HOOSIER                       6158 HOOSIER LN                                                                                                TROUTDALE        VA     24378‐2427
HERMAN HORMEL                        PO BOX 342                                                                                                     MAYVILLE         MI     48744‐0342
HERMAN HORNSBY                       1969 COUNTY ROAD 63                                                                                            WOODLAND         AL     36280‐7409
HERMAN HOSKINS                       122 N PORTAGE RD                                                                                               JACKSON          MI     49201‐9111
HERMAN HOVERMALE JR                  3507 LOGAMAR LN                                                                                                ANDERSON         IN     46011‐1821
HERMAN HOWARD (ESTATE OF) (644858)   (NO OPPOSING COUNSEL)

HERMAN HOWELL                        3164 KNOB CREEK RD                                                                                             COLUMBIA        TN      38401‐1433
HERMAN HOWELL                        RR 2 BOX 372                                                                                                   ELLINGTON       MO      63638‐9534
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Name                               Address1                           Address2                     Address3   Address4               City               State   Zip
HERMAN HUGHES                      5106 PLUM DR                                                                                      HOUSTON             TX     77087‐3643
HERMAN HUGHES                      8060 WALDEN ST                                                                                    DETROIT             MI     48213‐2382
HERMAN HUTCHINSON                  412 N 2ND ST                                                                                      VINITA              OK     74301‐2415
HERMAN ILLIG JR                    1921 MILLER RD                                                                                    THOMPSONVILLE       MI     49683‐9314
HERMAN IMEL                        3211 E 200 N                                                                                      ANDERSON            IN     46012‐9437
HERMAN J BRINSON                   4726 E HERITAGE CIRCLE                                                                            MUNCIE              IN     47303‐2692
HERMAN J KAFFENBERGER              2332 RUTHERFORD RD                                                                                BLOOMFIELD HILLS    MI     48302‐0659
HERMAN J PHILPOT                   711 CAYUGA ST                                                                                     YPSILANTI           MI     48198‐6192
HERMAN J POLK                      601 JOYCE ST                                                                                      PEARL               MS     39208
HERMAN J RUEF                      5004 MAYS AVE                                                                                     MORAINE             OH     45439‐2931
HERMAN J SCHULTE JR                423 ABERDEEN AVE                                                                                  DAYTON              OH     45419‐3207
HERMAN J SLAUGHTER                 9940 HESTHERGATE LN                                                                               CHARLOTTE           NC     28227‐4309
HERMAN JACKSON                     351 N SQUIRREL RD LOT 7                                                                           AUBURN HILLS        MI     48326‐4000
HERMAN JAMES                       23961 DEVOE AVE                                                                                   EUCLID              OH     44123‐2221
HERMAN JEFFERSON                   4 PATRICIA DR                                                                                     FAIRVIEW HEIGHTS     IL    62208‐1720

HERMAN JEFFERSON SR                3942 SUSANNA RD                                                                                   RANDALLSTOWN       MD      21133‐4045
HERMAN JEFFRIES                    7229 INDIAN TRACE RD                                                                              CENTERVILLE        TN      37033‐4042
HERMAN JENKINS MOTORS, INC.        HERMAN JENKINS                     2030 W REELFOOT AVE                                            UNION CITY         TN      38261‐5556
HERMAN JENKINS MOTORS, INC.        2030 W REELFOOT AVE                                                                               UNION CITY         TN      38261‐5556
HERMAN JETER                       1934 S M13                                                                                        LENNON             MI      48449
HERMAN JETER JR                    5107 ROCK EAGLE DR                                                                                STONE MTN          GA      30083‐3557
HERMAN JOHN (ESTATE OF) (470555)   ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                     BALTIMORE          MD      21202
                                                                      CHARLES CENTER 22ND FLOOR
HERMAN JONES                       4354 W EUCLID ST                                                                                  DETROIT            MI      48204‐2443
HERMAN JONES JR                    717 W MARTIN ST                                                                                   MARTINSBURG        WV      25401‐2723
HERMAN JOSEY                       9462 RIDGE RD                                                                                     MIDDLEPORT         NY      14105‐9720
HERMAN JR, FRANKLIN J              3664 DARBYS CORNERS RD                                                                            BRANCHPORT         NY      14418‐9705
HERMAN JR, ROBERT E                9101 E 224TH ST                                                                                   PECULIAR           MO      64078‐9047
HERMAN JR, WENDELL J               6450 WOODVILLE DR                                                                                 DAYTON             OH      45414‐2850
HERMAN K DANZY                     C/O WILLIAMS KHERKHER HART AND     8441 GULF FREEWAY, STE 600                                     HOUSTON            TX      77007
                                   BOUNDAS, LLP
HERMAN KAFFENBERGER                2332 RUTHERFORD RD                                                                                BLOOMFIELD HILLS   MI      48302‐0659
HERMAN KARUS                       8460 PAMELA ST                                                                                    SHELBY TWP         MI      48316‐2619
HERMAN KEEVEN                      25456 BARINAS DR                                                                                  PUNTA GORDA        FL      33983‐5651
HERMAN KELLER                      3519 CASEY RD                                                                                     METAMORA           MI      48455‐9216
HERMAN KELLEY                      PO BOX 152                                                                                        LOGANVILLE         GA      30052‐0152
HERMAN KELLEY                      270 FRED HARRISON RD                                                                              SNOW HILL          NC      28580‐8923
HERMAN KENNEDY                     4886 BRASELTON HWY                                                                                HOSCHTON           GA      30548‐1709
HERMAN KENNEDY                     2511 SW MITCHELL ST                                                                               OAK GROVE          MO      64075‐9038
HERMAN KERR                        241 WOODLAWN DR                                                                                   TRAFFORD           PA      15085‐1232
HERMAN KERSEY                      41 HABIG RD                                                                                       INDIANAPOLIS       IN      46217‐3217
HERMAN KILBOURNE                   PO BOX 88                                                                                         PAYNESVILLE        WV      24873‐0088
HERMAN KING                        2293 RIDGECREST LN                                                                                EAST POINT         GA      30344‐2140
HERMAN KLAUKA                      4690 LORRAINE ST                                                                                  PRESCOTT           MI      48756‐9643
HERMAN KLAVE                       3243 GUNTER TRL                                                                                   GRAYLING           MI      49738‐7753
HERMAN KLEIN                       4421 OLD CARRIAGE RD                                                                              FLINT              MI      48507‐5619
HERMAN KLEIN                       10786 E STONEY CREEK RD                                                                           PEWAMO             MI      48873‐9741
HERMAN KLIMMEK                     2565 N BOND ST                                                                                    SAGINAW            MI      48602‐5408
HERMAN KNAUS                       7001 142ND AVE LOT 136                                                                            LARGO              FL      33771‐4738
HERMAN KNIGHT JR                   49 ERSKINE AVE                                                                                    BUFFALO            NY      14215‐3319
HERMAN KORESH                      3281 EASTGATE ST                                                                                  BURTON             MI      48519‐1554
HERMAN KRATZ                       297 E FAIRGROVE RD                                                                                CARO               MI      48723‐9748
HERMAN KREUTZER                    95 CHESTNUT CT                                                                                    MANSFIELD          OH      44906‐4012
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Name                   Address1                         Address2                     Address3             Address4                 City              State   Zip
HERMAN KUHN            3109 1ST AVE N                                                                                              GREAT FALLS        MT     59401‐3407
HERMAN L BAKER         2808 ARMCO DRIVE                                                                                            MIDDLETOWN         OH     45042‐3334
HERMAN L CALLIHAN      4 EMERALD COURSE                                                                                            OCALA              FL     34472‐2315
HERMAN L COLEY         505 MC RAE CT                                                                                               DAYTON             OH     45427‐2828
HERMAN L LUTZ          4473 PHARES ST                                                                                              GREENVILLE         OH     45331‐9320
HERMAN L PANSTINGEL    4304 HARBISON ST                                                                                            DAYTON             OH     45439‐2748
HERMAN LAFAYETTE       200 PETTINARO DR APT A4                                                                                     ELKTON             MD     21921‐1563
HERMAN LAMBERT JR      2855 ALDA PKWY                                                                                              BRUNSWICK          OH     44212‐1406
HERMAN LANDRUM         114 ROSEWOOD DR                                                                                             ALIQUIPPA          PA     15001‐1473
HERMAN LANG            5905 EDWARDS AVE                                                                                            FLINT              MI     48505‐5161
HERMAN LARSON          9 KEY LIME DR                                                                                               JENSEN BEACH       FL     34957‐7207
HERMAN LASLEY          2123 COURTNEY DR                                                                                            HARRISON           MI     48625‐9050
HERMAN LEE             2433 PARKLAND DR                                                                                            DECATUR            GA     30032‐6222
HERMAN LEE             3226 LAWRENCEVILLE HWY                                                                                      LAWRENCEVILLE      GA     30044‐4216
HERMAN LEE             1565 HARPES CREEK RD                                                                                        SILER              KY     40763‐9636
HERMAN LEE             3287 SHEFFIELD CIR                                                                                          DECATUR            GA     30032‐5927
HERMAN LEE             75 DEVONSHIRE CT                                                                                            ROCHESTER          NY     14619
HERMAN LEIDINGER       213 DEMOREST RD                                                                                             COLUMBUS           OH     43204‐6223
HERMAN LENGEL          7132 CLEMENTS                                                                                               WEST BLOOMFIELD    MI     48322‐2628

HERMAN LESTER          2584 PIEDMONT CT                                                                                            WESTLAKE          OH      44145‐2974
HERMAN LEWIS           1858 WILSHIRE DR                                                                                            XENIA             OH      45385‐1156
HERMAN LEWIS JR        6671 RAVENNA AVE                                                                                            ENON              OH      45323‐1629
HERMAN LOMBARDI        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS        OH      44236
HERMAN LUCAS           9107 YELLOW TREE CT                                                                                         FORT WAYNE        IN      46804‐5935
HERMAN LUSANE          1360 N BALLENGER HWY                                                                                        FLINT             MI      48504‐7533
HERMAN LUTZ            4473 PHARES ST                                                                                              GREENVILLE        OH      45331‐9320
HERMAN M COPELAND      ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON        IL      62024
                                                        ANGELIDES & BARNERD LLC
HERMAN MAASS           517 SANDY CV                                                                                                OLD HICKORY       TN      37138‐2571
HERMAN MAGNUS          12916 S UNION AVE                                                                                           CHICAGO           IL      60628‐7446
HERMAN MAIGRET         8544 WARREN ST                                                                                              OTTAWA LAKE       MI      49267‐9511
HERMAN MARINE          116 PADDOCK CIRCLE                                                                                          DUNCANSVILLE      PA      16635
HERMAN MARLOW JR       PO BOX 5                                                                                                    LA CANADA         CA      91012‐0005
HERMAN MAROTZ          2361 HUNTERS CREEK RD                                                                                       METAMORA          MI      48455‐9351
HERMAN MARTIN          3505 BELVIDERE ST                                                                                           DETROIT           MI      48214‐2069
HERMAN MARTIN          BARON & BUDD PC                  THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                             DALLAS            TX      75219‐4281
HERMAN MARTIN JR       1230 ADAMS RD                                                                                               BURTON            MI      48509‐2358
HERMAN MARTLAGE II     1080 PLANTATION CT                                                                                          MARTINSVILLE      IN      46151‐8679
HERMAN MASSEY          4233 OLD MILFORD MILL RD                                                                                    BALTIMORE         MD      21208‐6032
HERMAN MATNEY          225 HARMONS CREEK RD                                                                                        POCA              WV      25159‐9083
HERMAN MAY             3055 DRYDEN RD                                                                                              DAYTON            OH      45439‐1619
HERMAN MC CRAY JR      6500 DICKEY MILLS RD                                                                                        LIBERTY           MS      39645‐7254
HERMAN MC NEIL         8363 CREEK RIDGE CV                                                                                         GERMANTOWN        TN      38139‐6315
HERMAN MCCOY           1328 NASSAU CIR                                                                                             TAVARES           FL      32778‐2523
HERMAN MCCOY           1654 N LAURENTIAN VW                                                                                        SAULT SAINTE      MI      49783‐8741
                                                                                                                                   MARIE
HERMAN MCCREARY        HC73 BOX 1745                                                                                               BRYANTS STORE     KY      40921
HERMAN MCDAVID         555 CARLOTTA DR                                                                                             YOUNGSTOWN        OH      44504‐1321
HERMAN MCDONALD        1409 WHEATLAND AVE                                                                                          KETTERING         OH      45429‐4939
HERMAN MCNAIR          329 DELTA RD                                                                                                LISMAN            AL      36912‐2698
HERMAN MEDNICK         9840 PASKINSONIA TREE TRAIL A                                                                               BOYNTON BEACH     FL      33436
HERMAN MEINDERS TTEE   HERMAN MEINDERS REV TRUST        14001 MCAULEY BLVD STE 100                                                 OKLAHOMA CITY     OK      73134
HERMAN MERIDETH        731 W 600 N                                                                                                 WHITELAND         IN      46184‐9540
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Name                            Address1                        Address2                     Address3   Address4                City               State   Zip
HERMAN MEUSEL                   6910 N POINT RD                                                                                 EDGEMERE            MD     21219‐1216
HERMAN MEYER                    447 PLUM CREEK RD                                                                               LAPEER              MI     48446‐7783
HERMAN MEYERS                   15370 KILBIRNIE DR                                                                              FORT MYERS          FL     33912‐2421
HERMAN MICKENS                  2075 E SPINNINGWHEEL LN                                                                         BLOOMFIELD HILLS    MI     48304‐1064
HERMAN MIL/BRMNGHM              255 EAST BROWN ST.                                                                              BIRMINGHAM          MI     48009
HERMAN MILES TRUCKING INC       PO BOX 6017                                                                                     EL PASO             TX     79906‐0017
HERMAN MILLER INC               855 E MAIN AVE                                                                                  ZEELAND             MI     49464‐1366
HERMAN MITCHELL                 600 HELEN ST                                                                                    DETROIT             MI     48207‐3720
HERMAN MOBLEY                   6419 LANTERN RDG                                                                                HOSCHTON            GA     30549‐9244
HERMAN MOBLEY                   1399 LAUREL LAKE RD N                                                                           LONDON              KY     40744‐8883
HERMAN MONTFORD JR              4361 CHANT CT                                                                                   LIZELLA             GA     31052‐4404
HERMAN MONTFORD JR              4361 CHANT COURT                                                                                LIZELLA             GA     31052‐4404
HERMAN MONTGOMERY               1608 LANGLEY DR                                                                                 LONGS               SC     29568‐5719
HERMAN MOORE                    22 COPSEWOOD AVE                                                                                BUFFALO             NY     14215‐2751
HERMAN MOORE                    806 E HOLLAND AVE                                                                               SAGINAW             MI     48601‐2620
HERMAN MOORE                    1274 LIBRARY ST STE 600         MICHIGAN GUARDIAN SERVICES                                      DETROIT             MI     48226‐2283
HERMAN MORGAN JR                210 W HOLBROOK AVE                                                                              FLINT               MI     48505‐5905
HERMAN MOSIER JR                30 ROUND MOUNTAIN RD                                                                            FLORAL              AR     72534‐9742
HERMAN MOSS                     3017 W BUENA VISTA ST APT 201                                                                   DETROIT             MI     48238‐3364
HERMAN MOULLIET                 238 STANHOPE CIR                                                                                NAPLES              FL     34104‐0810
HERMAN MOULTRIE                 4145 LAMSON ST                                                                                  SAGINAW             MI     48601‐4174
HERMAN MUHAMMAD                 212 WALDEN LANE                                                                                 SAVANNAH            GA     31405‐8405
HERMAN MUNZEL JR                4469 GRAYCE AVE                                                                                 GASPORT             NY     14067‐9225
HERMAN MURPHY                   5703 TOMBERG ST                                                                                 DAYTON              OH     45424‐5331
HERMAN MURPHY                   3019 GENA DR                                                                                    DECATUR             GA     30032‐5708
HERMAN MURPHY                   5703 TOMBERG STREET                                                                             DAYTON              OH     45424‐5331
HERMAN MURRAY                   7110 N WYOMING AVE                                                                              KANSAS CITY         MO     64118‐8351
HERMAN NATIONS                  429 HOLLYWOOD CHURCH RD                                                                         CLARKESVILLE        GA     30523‐3915
HERMAN NEALY                    3168 CORALENE DR                                                                                FLINT               MI     48504‐1212
HERMAN NEITZKE                  5413 COUNTRY LN                                                                                 FLINT               MI     48506‐1019
HERMAN NEUROHR                  167 S LAKE DR                                                                                   COLUMBIAVILLE       MI     48421‐9714
HERMAN NICHOLS                  9134 DEL RIO DR                                                                                 GRAND BLANC         MI     48439‐8016
HERMAN NICHOLS                  4484 LIBERTY RIDGE RD                                                                           DE SOTO             MO     63020‐3275
HERMAN NICHOLSON JR             630 HANCOCK ST                                                                                  SOUTH PLAINFIELD    NJ     07080‐2716
HERMAN NOBLE                    31 CARDINAL BR                                                                                  CAMPTON             KY     41301
HERMAN NORRIS                   RR 1 BOX 1238                                                                                   WHEATLAND           MO     65779‐9702
HERMAN O PIPKIN                 C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                       HOUSTON             TX     77007
                                BOUNDAS LLP
HERMAN OEHRING                  701 NYLON ST                                                                                    SAGINAW            MI      48604‐2122
HERMAN OOSTENDORP & JUDITH      TOD ACCOUNT                     38 PONDEROSA DR                                                 CAMDENTON          MO      65020‐5041
OOSTENDORP
HERMAN OTHERSEN                 1503 S CENTRAL DR                                                                               DAYTON             OH      45432‐2907
HERMAN OVERVELDE AUTO SERVICE   825 PORTSMOUTH AVE.                                                     KINGSTON ON K7M 1W6
                                                                                                        CANADA
HERMAN PACK SR                  PO BOX 117                                                                                      ALPHA              OH      45301‐0117
HERMAN PALMER                   4124 BUCK MATTHEWS RD                                                                           COLUMBIA           TN      38401‐8541
HERMAN PANSTINGEL               4304 HARBISON ST                                                                                DAYTON             OH      45439‐2748
HERMAN PENNARTZ                 1298 ALHI ST                                                                                    WATERFORD          MI      48328‐1504
HERMAN PERRINE                  4731 VILLAGE OAK DR                                                                             ARLINGTON          TX      76017‐2534
HERMAN PETTITT                  1366 COUNTY ROAD 99                                                                             COLLINSVILLE       AL      35961‐3839
HERMAN PHILLIPS                 18439 GRIGGS ST                                                                                 DETROIT            MI      48221‐1935
HERMAN PHLEGM                   24231 MANISTEE ST                                                                               OAK PARK           MI      48237‐1747
HERMAN PICKENS                  8401 PRAIRIE ROSE LN                                                                            FORT WORTH         TX      76123‐2361
HERMAN PITTS JR                 347 BETHLEHEM CHURCH RD                                                                         FITZGERALD         GA      31750‐7338
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Name                       Address1                         Address2                     Address3   Address4               City                State   Zip
HERMAN PLEINESS            7695 E LAKE DR                                                                                  BRIGHTON             MI     48114‐4936
HERMAN POSEY               629 E MCINTOSH RD                                                                               GRIFFIN              GA     30223‐1248
HERMAN POWELL              5701 CONEJOS DR                                                                                 GRANBURY             TX     76049‐5236
HERMAN POWERS              11622 BRISTOL ROCK RD                                                                           FLORISSANT           MO     63033‐7573
HERMAN PRAUTZSCH           161 PULLMAN AVE                                                                                 KENMORE              NY     14217‐1515
HERMAN PRESTON             PO BOX 4456                                                                                     VISALIA              CA     93278‐4456
HERMAN PRICE               2344 APPLEWOOD DR                                                                               TOLEDO               OH     43615‐2910
HERMAN R MICHAEL           204 NORTH MAIN ST                                                                               LEWISBURG            OH     45338
HERMAN R QUILLEN           3321 CLEARVIEW AVE                                                                              MORAINE              OH     45439‐1109
HERMAN RAMSEY              29588 E BRITTANY CT                                                                             ROSEVILLE            MI     48066‐2042
HERMAN REA                 620 EASTLAKE DR                                                                                 MUSCLE SHOALS        AL     35661‐4523
HERMAN REIGELMAN           6359 WARREN SHARON RD                                                                           BROOKFIELD           OH     44403‐9545
HERMAN RICHARDSON          PO BOX 3042                                                                                     FLINT                MI     48502‐0042
HERMAN RICHARDSON          205 MEADOWLAKE RD                                                                               CANTON               MI     48188‐1539
HERMAN RICKS               BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS           OH     44236
HERMAN RIFE                8127 PHIRNE RD E                                                                                GLEN BURNIE          MD     21061‐5322
HERMAN ROACH               546 COUNTY ROAD 2102                                                                            HUGHES SPRINGS       TX     75656‐4603
HERMAN ROBBINS             4130 HOOVER RD                                                                                  NASHVILLE            IN     47448‐8550
HERMAN ROBERT M (475918)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                     BALTIMORE            MD     21202
                                                            CHARLES CENTER 22ND FLOOR
HERMAN ROBINSON            817 HILLSIDE DR                                                                                 ANDERSON            IN      46011‐2033
HERMAN ROBINSON            2515 SAMANTHA DR                                                                                BURLINGTON          KY      41005‐8390
HERMAN ROTH                654 E SALZBURG RD                                                                               BAY CITY            MI      48706‐9713
HERMAN ROZELL              1823 LYNDALE DR                                                                                 ODESSA              TX      79762‐5313
HERMAN RUPLE               4440 HOMESITE DR                                                                                ORION               MI      48359‐2030
HERMAN RUSSELL             4726 CAUSEYVILLE RD                                                                             MERIDIAN            MS      39301‐8440
HERMAN S CAMERON           PO BOX 87                                                                                       HARTFORD            OH      44424‐0087
HERMAN SALINGER            54572 MALHEUR DR                                                                                MACOMB              MI      48042‐6129
HERMAN SANDERS             421 W STEWART AVE                                                                               FLINT               MI      48505‐3295
HERMAN SANDLIN             2707 WEAVER RD                                                                                  BATAVIA             OH      45103‐8500
HERMAN SAXON               3396 COOPERS TRL                                                                                LORAIN              OH      44053‐4423
HERMAN SAYLES              911 WADDELL AVE                                                                                 CLAIRTON            PA      15025‐1546
HERMAN SCHABERL            PO BOX 3301                                                                                     PAWLEYS ISLAND      SC      29585‐3301
HERMAN SCHARICH            1325 AMELITH RD RFD 4                                                                           BAY CITY            MI      48706
HERMAN SCHMIDT I I I       1432 HARFORD SQUARE DR                                                                          EDGEWOOD            MD      21040‐2212
HERMAN SCHNEIDER           PO BOX 119                                                                                      WESTPHALIA          MI      48894‐0119
HERMAN SCHNIEDERS          10815 JOPPA RD                                                                                  BERLIN HEIGHTS      OH      44814‐9570
HERMAN SCHULTE JR          423 ABERDEEN AVE                                                                                DAYTON              OH      45419‐3207
HERMAN SCOTT               3838 PALL MALL RD                                                                               BALTIMORE           MD      21215‐7639
HERMAN SCOTT               1073 ALLSTON RD                                                                                 CLEVELAND HEIGHTS   OH      44121‐2417

HERMAN SEALE               11253 CHUNKY DUFFEE RD                                                                          LITTLE ROCK         MS      39337‐9202
HERMAN SEWELL JR           11904 HOLBORN AVE                                                                               CLEVELAND           OH      44105‐2609
HERMAN SEWELL JR.          101 E SOUTH A ST                                                                                GAS CITY            IN      46933‐1706
HERMAN SHAW                344 TOR STREET                                                                                  OXFORD              MI      48371‐6304
HERMAN SHAW                3640 RUE FORET APT 162                                                                          FLINT               MI      48532‐2850
HERMAN SHEFFIELD JR        18450 KENTUCKY ST                                                                               DETROIT             MI      48221‐2030
HERMAN SHEPHERD            PO BOX 1001                                                                                     DESOTO              TX      75123‐1001
HERMAN SHERYL              2135 258TH ST                                                                                   MISSOURI VALLEY     IA      51555‐8024
HERMAN SHIRLEY             806 RIDGEVIEW DR                                                                                FLORENCE            KY      41042‐9608
HERMAN SHIVERS             693 SHERLING LAKE RD APT 105                                                                    GREENVILLE          AL      36037‐8466
HERMAN SIMMONS             1136 PINEY POND ROAD                                                                            BRODNAX             VA      23920‐2649
HERMAN SIMMONS             51 GREENHILL DR                                                                                 CEDAR BLUFF         VA      24609‐8783
HERMAN SIMPSON             144 S VISTA                                                                                     AUBURN HILLS        MI      48326‐1447
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Name                    Address1                       Address2                      Address3            Address4               City              State Zip
HERMAN SIMS             3760 STUDOR RD                                                                                          SAGINAW            MI 48601‐5743
HERMAN SINGLETON        48 CROSBY AVE                                                                                           LOCKPORT           NY 14094‐4106
HERMAN SLAUGHTER        9940 HEATHERGATE LN                                                                                     CHARLOTTE          NC 28227‐4309
HERMAN SMITH            PO BOX 520433                                                                                           INDEPENDENCE       MO 64052‐0433
HERMAN SMITH            20801 WATERSCAPE WAY                                                                                    NOBLESVILLE        IN 46062‐8371
HERMAN SMITH            6509 VALORIE LN                                                                                         FLINT              MI 48504‐1685
HERMAN SMITH            1227 WINDSOR ST                                                                                         FLINT              MI 48507‐4273
HERMAN SMITH            7362 ARTESIAN ST                                                                                        DETROIT            MI 48228‐3300
HERMAN SMITH JR         3200 PHEASANT DR                                                                                        DECATUR            GA 30034‐4444
HERMAN SPENCER JR       10 GLENDALE PL                                                                                          BUFFALO            NY 14208‐1051
HERMAN SPICER           2410 ADAMS RD                                                                                           OAKLAND            MI 48363‐1908
HERMAN SPILLERS         719 BEACH BUGGY LN                                                                                      LINDEN             MI 48451‐9663
HERMAN SPIVEY           7304 N 600 W                                                                                            FAIRLAND           IN 46126‐9792
HERMAN SPRATTLING       4010 190TH ST                                                                                           CNTRY CLB HLS       IL 60478‐5781
HERMAN STEED            1037 N TWYCKENHAM DR                                                                                    SOUTH BEND         IN 46617‐1633
HERMAN STEPHENS JR      4718 EAST HARD SCRABBLE ROAD                                                                            MADISON            IN 47250‐7515
HERMAN STEPP            29 E BARTHMAN AVE                                                                                       COLUMBUS           OH 43207‐1882
HERMAN STINSON          6241 AUSTIN DR SW                                                                                       MABLETON           GA 30126‐4307
HERMAN STINSON          4625 INGHAM ST                                                                                          LANSING            MI 48911‐2959
HERMAN STRAYHORN        401 LAWRENCE MILL RD                                                                                    MOLENA             GA 30258‐3532
HERMAN STRINGER         PO BOX 658                                                                                              VINEMONT           AL 35179‐0658
HERMAN STROTT           10293 FAWN RD                                                                                           GREENWOOD          DE 19950‐6030
HERMAN SUHR             RR 1                                                                                                    CONCORDIA          MO 64020
HERMAN SUMMERS          3474 GRAND BLANC RD                                                                                     SWARTZ CREEK       MI 48473‐8831
HERMAN SUMMERS          1706 BITTERSWEET DR                                                                                     ANDERSON           IN 46011‐9202
HERMAN SURRELL          THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                              HOUSTON            TX 77017
HERMAN SUTTON           4627 KINGS HWY                                                                                          DAYTON             OH 45406‐3348
HERMAN SWIFT            1107 BRANDON RD                                                                                         CLEVELAND HEIGHTS OH 44112‐3629

HERMAN TAYLOR           13122 MACKENZIE ST                                                                                      DETROIT           MI   48228‐4013
HERMAN TAYLOR           415 BAY ST                                                                                              PICAYUNE          MS   39466‐3829
HERMAN TAYLOR           5601 W HERRICK RD                                                                                       LAKE              MI   48632‐8819
HERMAN TAYLOR           1290 LAKE VALLEY DR                                                                                     FENTON            MI   48430‐1228
HERMAN THOMAS           2135 DOGWOOD RD                                                                                         DONALSONVILLE     GA   39845‐6904
HERMAN THOMAS STEWART   BARON & BUDD P C               THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                          DALLAS            TX   75219‐4281
HERMAN THOMPSON         1485 OLD FARMINGTON RD                                                                                  LEWISBURG         TN   37091‐2201
HERMAN TIGGETT          2843 LINDA DR NW                                                                                        WARREN            OH   44485
HERMAN TIGGETT          2890 WEILACHER RD SW                                                                                    WARREN            OH   44481
HERMAN TISDALE          PO BOX 6026                                                                                             PINE BLUFF        AR   71611‐6026
HERMAN TOLBERT          4977 MOSES DR                                                                                           LIVERPOOL         NY   13090‐2570
HERMAN TRAVER           2774 CAMPBELLGATE DR                                                                                    WATERFORD         MI   48329‐3126
HERMAN TRICHEL          109 LACY DR                                                                                             WEST MONROE       LA   71292‐6353
HERMAN TRUJILLO         2467 GREEN PINE DR APT 5                                                                                BURTON            MI   48519‐1177
HERMAN TUCKER           10867 S COUNTY ROAD 1000 E                                                                              GALVESTON         IN   46932‐9054
HERMAN TUDOR            3336 WALLINGFORD DR                                                                                     GRAND BLANC       MI   48439‐7933
HERMAN TYSON            2322 HOOVER AVENUE                                                                                      DAYTON            OH   45407
HERMAN UNVERICHT        6 COVENTRY DR.                                                                                          SPENCERPORT       NY   14559
HERMAN VANHOUTEN        2253 SHIPMAN RD                                                                                         OXFORD            MI   48371‐2941
HERMAN VARGAS           2941 SIA CT                                                                                             RENO              NV   89502‐4953
HERMAN VELDKAMP JR      7254 22ND AVE                                                                                           JENISON           MI   49428‐7758
HERMAN VINCKE           4760 CHESANING RD                                                                                       CHESANING         MI   48616‐8423
HERMAN VOLKENAND        8801 STRINGFELLOW RD                                                                                    ST JAMES CITY     FL   33956‐3027
HERMAN VOYLES           3016 NOTTING HILL CT SW                                                                                 CONYERS           GA   30094‐8019
HERMAN W CHENOWETH      8643 OREGONIA RD                                                                                        WAYNESVILLE       OH   45068
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Name                   Address1                             Address2                     Address3     Address4               City                 State   Zip
HERMAN W GLENN         2645 ABERDEEN DRIVE                                                                                   SPRINGFIELD           OH     45506‐3701
HERMAN W SIMMONS       51 GREENHILL DR                                                                                       CEDAR BLUFF           VA     24609‐8783
HERMAN WAFFORD         4408 DIDDLE DR # L                                                                                    BOWLING GREEN         KY     42101
HERMAN WASHINGTON      907 SCHOOL ST                                                                                         COLUMBIA              TN     38401‐3110
HERMAN WATKINS         1575 WOODLAND GREENS BLVD                                                                             SPRINGBORO            OH     45066‐9686
HERMAN WATTS           1130 WESTMORELAND AVE                                                                                 LANSING               MI     48915‐2158
HERMAN WAYNE BUCK      WEITZ & LUXENBERG                    700 BROADWAY                                                     NEW YORK CITY         NY     10003
HERMAN WEAVER          3089 RHODA ST                                                                                         FLINT                 MI     48507‐4554
HERMAN WEBER           4448 DILLON RD                                                                                        FLUSHING              MI     48433‐9771
HERMAN WEBSTER         1707 MACKINAW ST                                                                                      SAGINAW               MI     48602‐3029
HERMAN WEIDLE          125 COUSINS DR                                                                                        CARLISLE              OH     45005‐6218
HERMAN WELLS           14090 14 MILE RD NE                                                                                   GREENVILLE            MI     48838‐9380
HERMAN WELLS           G‐4043 BERYL ROAD                                                                                     FLINT                 MI     48504
HERMAN WEST            30339 JULIUS BLVD                                                                                     WESTLAND              MI     48186‐7334
HERMAN WESTSTRATE      888 BOWES RD                                                                                          LOWELL                MI     49331‐1647
HERMAN WHIDBY          5006 OAK GROVE DR                                                                                     SUGAR HILL            GA     30518‐4658
HERMAN WHITFIELD       BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS            OH     44236
HERMAN WHITLOCK JR     3786 BAKERS FERRY RD SW                                                                               ATLANTA               GA     30331‐3715
HERMAN WHITMAN         967 S MARKET ST                                                                                       GALION                OH     44833‐3232
HERMAN WIECKING        B1205 N QUARRY RD                    1200 NORTH QUARRY RD.                                            MARION                IN     46952
HERMAN WIKLE           3961 HONEYSUCKLE WAY                                                                                  CHAPEL HILL           TN     37034‐2099
HERMAN WILEY           820 BURGESS RD                                                                                        SUWANEE               GA     30024
HERMAN WILLARD         2023 S MAY AVE                                                                                        MUNCIE                IN     47302‐4739
HERMAN WILLETT         4100 MERIDIAN RD                                                                                      LESLIE                MI     49251‐9541
HERMAN WILLIAMS        8039 KIMLOUGH DR                                                                                      INDIANAPOLIS          IN     46240‐2676
HERMAN WILLIAMS        5218 LINDA LN                                                                                         ANDERSON              IN     46011‐1422
HERMAN WILLIAMS        19240 AIRFIELD ST                                                                                     ATHENS                AL     35614‐5916
HERMAN WILLIS          43 HILTON AVE                                                                                         YOUNGSTOWN            OH     44507‐2003
HERMAN WILSON          P 0 BOX 180                                                                                           GAINESVILLE           GA     30503
HERMAN WILSON          212 CIRCLE DR                                                                                         VIOLA                 AR     72583‐9225
HERMAN WINDOM          4758 E NARROWLEAF DR                                                                                  GILBERT               AZ     85298‐4627
HERMAN WISNIEWSKI      2750 FLAMINGO DR                                                                                      FLORISSANT            MO     63031‐3710
HERMAN WOLFE           2562 LISA DR                                                                                          COLUMBIAVILLE         MI     48421‐8910
HERMAN WOLFE           BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                       BOSTON HEIGHTS        OH     44236
HERMAN WOODS           16571 STANSBURY ST                                                                                    DETROIT               MI     48235‐4016
HERMAN WOODS           320 S 4TH ST                                                                                          OLEAN                 NY     14760‐3517
HERMAN WORKINGER       810 E HALL ST                                                                                         GREENTOWN             IN     46936‐1544
HERMAN WORRELL         435 GENETTA DR                                                                                        MIAMISBURG            OH     45342‐3322
HERMAN WRIGHT          5127 SANDALWOOD CIR                                                                                   GRAND BLANC           MI     48439‐4267
HERMAN YOUNG           PO BOX 553                                                                                            LYNWOOD               CA     90262‐0553
HERMAN YOUNG           6520 EAGLE CREST DR                                                                                   MILTON                FL     32570‐6215
HERMAN ZIMMERMAN       3350 BAKER RD                                                                                         SPRINGFIELD           OH     45504‐4432
HERMAN ZUCAL           THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                          BALTIMORE             MD     21201

HERMAN'S AUTO CENTER   7250 DUVAN DR                                                                                         TINLEY PARK          IL      60477‐3711
HERMAN'S AUTO TECH     416 N 16TH AVE                                                                                        LAUREL               MS      39440‐3851
HERMAN, ADAM A         8836 HOUSTON ROAD                                                                                     EATON RAPIDS         MI      48827‐9517
HERMAN, ADAM J         10860 KILMANAGH RD                                                                                    SEBEWAING            MI      48759
HERMAN, ALDENA L       1134 PRIGGE AVE                                                                                       SAINT LOUIS          MO      63138‐2927
HERMAN, ANDREW J       53727 BRIAR DR                                                                                        SHELBY TWP           MI      48316‐2230
HERMAN, ANDREW J       20833 BON HEUR ST                                                                                     SAINT CLAIR SHORES   MI      48081‐1807

HERMAN, AVRUM S        3531 INVERNESS BLVD                                                                                   CARMEL                IN     46032‐9381
HERMAN, BARBARA A      122 RIDGE AVE                                                                                         LITTLE FALLS          NJ     07424‐2241
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Name                         Address1                       Address2                      Address3           Address4                 City              State   Zip
HERMAN, BARBARA A            648 W COUNTY ROAD 1025 S                                                                                 PAOLI              IN     47454‐9419
HERMAN, CECELIA A            100 ANDALUSIA AVE APT 312                                                                                CORAL GABLES       FL     33134‐6109
HERMAN, CELESTE R            18217 MANORWOOD CIR                                                                                      CLINTON TWP        MI     48038‐1285
HERMAN, CHARLES W            202 BUCK DOE LN                                                                                          PERRYVILLE         MO     63775‐6535
HERMAN, CHRISTOPHER          61 HOYLE ST                                                                                              NORWOOD            MA     02062‐3200
HERMAN, CHRISTOPHER W        5115 DURWOOD DR                                                                                          SWARTZ CREEK       MI     48473‐1123
HERMAN, DALE R               11485 HEGEL RD                                                                                           GOODRICH           MI     48438‐9775
HERMAN, DANIEL E             PO BOX 591                                                                                               GRAND BLANC        MI     48480‐0591
HERMAN, DANIEL M             9294 PARK CT                                                                                             SWARTZ CREEK       MI     48473‐8537
HERMAN, DANIEL MAX           9294 PARK CT                                                                                             SWARTZ CREEK       MI     48473‐8537
HERMAN, DANIELLE F           504 CAROM CIR                                                                                            MASON              MI     48854‐9373
HERMAN, DANIELLE F           504 CAROM CIRCLE                                                                                         MASON              MI     48854‐9373
HERMAN, DANNY TRUCKING INC   PO BOX 55                                                                                                MOUNTAIN CITY      TN     37683‐0055
HERMAN, DARYLE P             8034 VENICE HEIGHTS DR NE                                                                                WARREN             OH     44484‐1512
HERMAN, DAVID                5437 W VAN BUREN ST                                                                                      CHICAGO             IL    60644‐4745
HERMAN, DAVID D              615 NORTH CAPITOL AVENUE                                                                                 LANSING            MI     48933‐1230
HERMAN, DAVID J              35 ARTESIAN RD                                                                  LONDON GREAT BRITAIN
                                                                                                             W25DA
HERMAN, DENNIS L             10425 HILL RD                                                                                            GOODRICH          MI      48438
HERMAN, DIANA F              8293 CANYON TRAIL                                                                                        FENTON            MI      48430
HERMAN, DIANE M              245 WILDWOOD DR LOT 175                                                                                  SAINT AUGUSTINE   FL      32086‐5894
HERMAN, DOLORES J            4131 PINEVIEW SW                                                                                         GRANDVILLE        MI      49418‐1752
HERMAN, DONALD R             102 2ND ST                                                                                               GRINDSTONE        PA      15442‐1126
HERMAN, DONNA L              10299 LINDSEY RD                                                                                         CASCO             MI      48064‐2208
HERMAN, DORIS J              C/O DENNIS MICHAEL HERMAN      COMMUNITY RESTORIUM           6619 KINIKSU ST.                            BONNERS FERRY     ID      83805
HERMAN, DOROTHY B            518 BURGUNDY K 5180                                                                                      DELRAY BEACH      FL      33484
HERMAN, DOROTHY G            PO BOX 6112                                                                                              ROCKY MOUNT       NC      27802
HERMAN, DUANE E              APT 1124                       1718 EAST LINCOLN ROAD                                                    SPOKANE           WA      99217‐7835
HERMAN, DUANE E              1718 E LINCOLN RD # Q1124                                                                                SPOKANE           WA      99217
HERMAN, E                    1435 TACOMA DR                                                                                           ROCHESTER HILLS   MI      48306
HERMAN, EDITH                3601 DARCEY LN                                                                                           FLINT             MI      48506‐2647
HERMAN, EDMUND A             48339 FIR CT                                                                                             SHELBY TWP        MI      48315‐4228
HERMAN, FRED R               615 CLAY RUN RD                                                                                          MILL RUN          PA      15464‐1428
HERMAN, FREDERICK J          7483 S ELMS RD                                                                                           SWARTZ CREEK      MI      48473‐9480
HERMAN, GARALD R             1652 WILLOWBROOK DR                                                                                      JENISON           MI      49428‐9556
HERMAN, GARY R               146 CASSIOPEIA DR                                                                                        TAYLORSVILLE      NC      28681‐3229
HERMAN, GEORGE P             31254 KENDALL ST                                                                                         LIVONIA           MI      48154‐4357
HERMAN, GEORGE PAUL          31254 KENDALL ST                                                                                         LIVONIA           MI      48154‐4357
HERMAN, GEORGE R             1474 N VAN RD                                                                                            HOLLY             MI      48442‐9452
HERMAN, GERALD E             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                               NORFOLK           VA      23510‐2212
                                                            STREET, SUITE 600
HERMAN, GLORIA M             1644 HARTLEY CT                                                                                          ADRIAN            MI      49221‐9246
HERMAN, GLORIA M             1644 HARTLEY COURT                                                                                       ADRIAN            MI      49221‐9246
HERMAN, GREG                 MIKHOV LAW OFFICES OF STEVE    425 S FAIRFAX AVE STE 308                                                 LOS ANGELES       CA      90036‐3148
HERMAN, H JEAN               2407 BRAHMS BLVD                                                                                         DAYTON            OH      45449‐3327
HERMAN, HARLEY E             8123 MORRISH RD                                                                                          SWARTZ CREEK      MI      48473‐9162
HERMAN, HEIDI J              4001 COUNTYLINE RD                                                                                       NEWTON FALLS      OH      44444
HERMAN, HELEN K              1034 LIBERTY PARK DR           APT 1103‐AL                                                               AUSTIN            TX      78746
HERMAN, HOWARD               C/O COONEY & CONWAY            120 N LASALLE ST STE 3000                                                 CHICAGO           IL      60602‐2415
HERMAN, JAMES D              1906 SOUTH LINCOLN STREET                                                                                BAY CITY          MI      48708‐8169
HERMAN, JAMES D              1906 S LINCOLN ST                                                                                        BAY CITY          MI      48708‐8169
HERMAN, JAMES O              1628 SQUAW CT                                                                                            GIRARD            OH      44420‐3632
HERMAN, JAMES R              1129 LANTERN LN                                                                                          NILES             OH      44446‐3554
HERMAN, JANICE L             3602 HUGHES HWY                                                                                          CLAYTON           MI      49235‐9604
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Name                     Address1                         Address2                    Address3          Address4               City              State   Zip
HERMAN, JEAN             PO BOX 7544                                                                                           TALLEYVILLE        DE     19803‐0544
HERMAN, JEFFREY T        7313 TONNELLE AVE                                                                                     SHELBY TOWNSHIP    MI     48317‐2384
HERMAN, JOHN             ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                            BALTIMORE          MD     21202
                                                          CHARLES CENTER 22ND FLOOR
HERMAN, JOHN             334 PENNWOOD PL                                                                                       BRISTOL           CT      06010‐8504
HERMAN, JOHN C           1009 ELM ST                                                                                           FLOSSMOOR         IL      60422‐2232
HERMAN, JOHN L           5857 DORIS DR                                                                                         BROOK PARK        OH      44142‐2112
HERMAN, JOHN N           PO BOX 240                                                                                            MASON             MI      48854‐0240
HERMAN, JOHN R           1653 PENNSYLVANIA AVE                                                                                 FLINT             MI      48506‐3570
HERMAN, JOHN RAMI        1653 PENNSYLVANIA AVE                                                                                 FLINT             MI      48506‐3570
HERMAN, JOHN W           720 DEQUEEN ST APT 202                                                                                MENA              AR      71953‐3200
HERMAN, JON R            220 OAKLAND AVE                                                                                       JANESVILLE        WI      53545‐3916
HERMAN, JOSEPH H         5125 NORQUEST BLVD                                                                                    AUSTINTOWN        OH      44515‐1713
HERMAN, JOSEPHINE        419 STOCKFORD DR                                                                                      ADRIAN            MI      49221‐1438
HERMAN, JULIA            765 ORANGE HILL DR                                                                                    CORONA            CA      92881‐3548
HERMAN, JWILVA D         4141 S STATE RD                                                                                       DAVISON           MI      48423‐8785
HERMAN, K R              1435 FOREST PINE CT                                                                                   HEBRON            KY      41048‐8622
HERMAN, KATHERINE B      5317 TWIN SILO DRIVE                                                                                  BLUE BELL         PA      19422
HERMAN, KATHLEEN L       111 LAKEWOOD VLG                                                                                      MEDINA            NY      14103‐1848
HERMAN, LAWRENCE J       9376 GRAND SUMMIT DR                                                                                  FENTON            MI      48430
HERMAN, LEO M            5140 KENDALL DRIVE                                                                                    BURTON            MI      48509‐1900
HERMAN, LESZEK           89 ALVERSTONE WAY                                                                                     WEST HENRIETTA    NY      14586‐9675
HERMAN, LLOYD J          25900 EUCLID AVE APT 214                                                                              EUCLID            OH      44132‐2700
HERMAN, LOUIS A          2192 ROYAL OAK AVE                                                                                    DEFIANCE          OH      43512‐3555
HERMAN, MARION A         191 SNOW APPLE LN                                                                                     DAVISON           MI      48423‐9139
HERMAN, MARION K         P.O. BOX 434                                                                                          ANCHORVILLE       MI      48004
HERMAN, MARION K         PO BOX 434                                                                                            ANCHORVILLE       MI      48004‐0434
HERMAN, MARK A           3132 FISHING FORD RD                                                                                  PETERSBURG        TN      37144‐2403
HERMAN, MARK D           32815 ROSENBUSCH DR                                                                                   WARREN            MI      48088‐1572
HERMAN, MARK J           26567 WALLACE DR                                                                                      FLAT ROCK         MI      48134‐1873
HERMAN, MARK JOHN        26567 WALLACE DR                                                                                      FLAT ROCK         MI      48134‐1873
HERMAN, MARK R           14470 PERE ST                                                                                         LIVONIA           MI      48154‐4761
HERMAN, MARVIN           1103 FAIRWAY DR                                                                                       INDIANAPOLIS      IN      46260‐4064
HERMAN, MARY             PO BOX 16                                                                                             KINSMAN           OH      44428‐0016
HERMAN, MARY E           6450 WOODVILLE DR                                                                                     DAYTON            OH      45414‐2850
HERMAN, MATTHEW S        680 VAQUEROS AVENUE                                                                                   SUNNYVALE         CA      94085‐3523
HERMAN, MELISSA M.       9294 PARK CT                                                                                          SWARTZ CREEK      MI      48473‐8537
HERMAN, MICHAEL          46598 SERENITY DR                                                                                     MACOMB            MI      48044‐3759
HERMAN, MICHAEL D        PO BOX 280                                                                                            UNIONVILLE        MI      48767‐0280
HERMAN, MICHAEL E        4323 CAMERON RD                                                                                       WILLIAMSVILLE     NY      14221‐7638
HERMAN, MICHAEL G        2773 TRUFFLE DR                                                                                       TROY              MI      48083‐6400
HERMAN, MICHAEL J        3131 WESTWOOD PKWY                                                                                    FLINT             MI      48503‐4693
HERMAN, MICHAEL J        549 OAK HILL DR                                                                                       SEBEWAING         MI      48759‐9557
HERMAN, MICHAEL JOSEPH   3131 WESTWOOD PKWY                                                                                    FLINT             MI      48503‐4693
HERMAN, MICHAEL L        619 RIVERVIEW DRIVE                                                                                   ELLENTON          FL      34222‐3254
HERMAN, MICHAEL W        COMMUNITY RESTORIUM              ROOM # 28                   6619 KINIKSU ST                          BONNERS FERRY     ID      83805
HERMAN, MYRON S          3200 N IDYLWILD DR                                                                                    MIDWEST CITY      OK      73110‐1642
HERMAN, NEILL            19286 S MERRIMAC RD                                                                                   CULPEPER          VA      22701‐8048
HERMAN, PATRICIA         600 LUGANO CT                                                                                         SANFORD           FL      32771
HERMAN, PATRICIA         5125 NORQUEST BLVD                                                                                    AUSTINTOWN        OH      44515
HERMAN, PHILIP D         7329 AQUA ISLE DR                                                                                     CLAY              MI      48001‐4203
HERMAN, RAYMOND I        618 ROSEGARDEN DR NE                                                                                  WARREN            OH      44484‐1833
HERMAN, RICHARD L        3891 MARIMBA RD                                                                                       HOLT              MI      48842‐8785
HERMAN, RICHARD R        8523 CHAPMAN RD                                                                                       GASPORT           NY      14067‐9419
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Name                        Address1                          Address2                     Address3      Address4                  City            State   Zip
HERMAN, RICHARD W           125 BUCKSHIRE DR                                                                                       HOLLAND          PA     18966‐2081
HERMAN, RITA C              3254 HORAN RD                                                                                          MEDINA           NY     14103‐9427
HERMAN, ROBERT D            2311 SOUTH CEDARBROOK AVENUE                                                                           SPRINGFIELD      MO     65804‐3407
HERMAN, ROBERT E            RR 1 BOX 572                                                                                           ADRIAN           MO     64720
HERMAN, ROBERT E            C/O GEORGE & SIPES LLP            151 N DELAWARE ST STE 1700                                           INDIANAPOLIS     IN     46204
HERMAN, ROBERT E            7021 LAUR RD                                                                                           NIAGARA FALLS    NY     14304‐1354
HERMAN, ROBERT G            1222 KENSINGTON AVE                                                                                    FLINT            MI     48503‐5377
HERMAN, ROBERT H            404 HOLLY ST                                                                                           CANFIELD         OH     44406‐1641
HERMAN, ROBERT J            36642 ENGLISH DRIVE                                                                                    STERLING HTS     MI     48310‐4331
HERMAN, ROBERT J            4734 N 77TH CT                                                                                         MILWAUKEE        WI     53218‐4734
HERMAN, ROBERT M            ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                            BALTIMORE        MD     21202
                                                              CHARLES CENTER 22ND FLOOR
HERMAN, ROBERTA M           1513 STEWART RD APT 103                                                                                MONROE          MI      48162‐9235
HERMAN, ROBIN E             32840 WEST RD                                                                                          NEW BOSTON      MI      48164‐9706
HERMAN, ROBIN EDWARD        32840 WEST RD                                                                                          NEW BOSTON      MI      48164‐9706
HERMAN, RONALD A            8034 VENICE HEIGHTS DR NE                                                                              WARREN          OH      44484‐1512
HERMAN, RONALD E            125 BURNET RIDGE                                                                                       FORT THOMAS     KY      41075‐1130
HERMAN, RUTH                430 M ST SW N 806                                                                                      WASHINGTON      DC      20024
HERMAN, SHARON M            2823 CASS ST                                                                                           UNIONVILLE      MI      48767‐9601
HERMAN, TED E               PO BOX 361                        110 W. MAIN STREET                                                   OTTOVILLE       OH      45876‐0361
HERMAN, TERRY L             11464 PORTAGE RD                                                                                       MEDINA          NY      14103‐9601
HERMAN, THOMAS J            11186 S 26TH ST                                                                                        VICKSBURG       MI      49097‐9425
HERMAN, THOMAS M            1001 BEARD ST                                                                                          FLINT           MI      48503‐5393
HERMAN, THOMAS P            16125 MEADOWS DR                                                                                       MACOMB          MI      48044‐3957
HERMAN, THOMAS W            926 RIVERSIDE AVE                                                                                      DEFIANCE        OH      43512‐2812
HERMAN, TIMOTHY W           1217 KENSINGTON AVE                                                                                    FLINT           MI      48503‐5374
HERMAN, VIOLET M            9640 W FERNDALE DR                                                                                     MANITOU BEACH   MI      49253‐9544
HERMAN, WARREN D            1134 PRIGGE AVE                                                                                        SAINT LOUIS     MO      63138‐2927
HERMAN, WESLEY R            7805 TELEGRAPH RD                                                                                      SEVERN          MD      21144‐1850
HERMAN, WILLIAM F           75 INKBERRY CIR                                                                                        GAITHERSBURG    MD      20877‐3551
HERMAN, WILLIAM G           140 MANCHESTER DR APT 211                                                                              BUFFALO GROVE   IL      60089‐2422
HERMAN, WILLIAM G           140 N MANCHESTER DR 211                                                                                BUFFALO GROVE   IL      60089‐2422
HERMAN, WINIFRED S          6890 EASY ST                                                                                           OCALA           FL      34472‐9144
HERMAN‐JOSEF MALMS          REIMSER STR. 3
HERMANA GOODMAN             380 SANDRIDGE DR                                                                                       HEMLOCK          MI     48626‐9601
HERMANEK, DONNA F           26921 COLUMBIA WAY                                                                                     TEHACHAPI        CA     93561‐9235
HERMANN & HELENE DETTMAR    NEUE STR 13                                                                  D‐34359 REINHARDSHAGEN
                                                                                                         GERMANY
HERMANN ALBERT              NEUSTAEDTER STR. 188D                                                        07381 POESSNECK GERMANY

HERMANN AND IRMTRAUD HEYL   HANS‐BOECKLER‐STR. 7 A                                                       64823 GROSS‐UMSTADT
                                                                                                         GERMANY
HERMANN AND IRMTRAUD HEYL   HANS‐BOECKLER‐STR. 7 A            64823 GROSS‐UMSTADT
HERMANN BACHMANN            CHAPFSTRASSE 10                   8214 GAECHLINGEN                                                     GAECHLINGEN
HERMANN BACHMANN            CHAPFSTRASSE 10                   CH‐8214 GAECHLINGEN          SWITZERLAND
HERMANN BECK                EBRANTSHAUSER STR 8                                                          MAINBURG 84048 GERMANY

HERMANN BECKER              SCHLEI▀HEIMER STR. 268                                                                                 MUNICH           DE     80809
HERMANN BERNHARDT           BERGSTR. 6                                                                   75173 PFORZHEIM GERMANY

HERMANN BERNHARDT           BERGSTR.6                                                                                              PFORZHEIM               75173
HERMANN BETKER              2245 ANTIOCH CHURCH RD                                                                                 ALVATON          KY     42122‐9503
HERMANN BOSCH               BOCKLINSTRASSE 25                                                            1020 WIEN AUSTRIA
HERMANN DANABOWSKI          KOEFLACHERSTRASSE 11              89537 GIENGEN‐BRENZ
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Name                       Address1                          Address2                        Address3                    Address4                    City              State Zip
HERMANN DR. OTTO           AM WEINGERT 29                                                                                                            PETTENDORF              93186
HERMANN E KULJURGIS        ATTN ROBERT W PHILLIPS            SIMMONS BROWDER GIANARIS        707 BERKSHIRE BLVD PO BOX                               EAST ALTON          IL 62024
                                                             ANGELIDES & BARNERD LLC         521
HERMANN EMMERT             182 FAIRVALE DR                                                                                                           BUFFALO           NY    14225‐2263
HERMANN ENGEL              MARGRAFENALLEE 39                 74541 VELLBERG
HERMANN ENGEL              MARKGRAFENALLEE 39                74541 VELLBERG
HERMANN ENGEL              MARKGRAFENALLEE 39                                                                            74541 VELLBERG GERMANY
HERMANN FORWARDING CO      PO BOX 1                                                                                                                  NORTH BRUNSWICK    NJ   08902

HERMANN GATTINGER          RETTENPACHERSTRASSE 6/13          5020 SALZBURG                   AUSTRIA
HERMANN GATTINGER          RETTENPACHERSTRASSE 6/13                                                                      5020 SALZBURG AUSTRIA
HERMANN GRUEN              METALLWARENFABRIK                 AM WUNDERBAU 30                                             ENNEPETAL 58256 GERMANY

HERMANN HANSSEN            GRENZWEG 4                                                                                    47624 KEVELAER GERMANY
HERMANN HANSSEN            VENLOER STRASSE 81                                                                            KEVELAER DE 47623 GERMANY

HERMANN HEIB               4439 ANNELO DR                                                                                                            GREENWOOD          IN   46142‐9070
HERMANN HEIMEIER           BREEDE 32
HERMANN HEISE              AP373‐1250                                                                                    ESCAZU COSTA RICA
HERMANN JEHNEN             PAUL‐KLEE‐STR. 39                 D‐51375 LEVERKUSEN              ‐GERMANY‐
HERMANN JOSEF SIEBERICHS   BEETHOVENSTRA▀E 10                                                                                                        HEINSBERG               52525
HERMANN JOSEPH             ALDEKERKER STR. 16                                                                                                        ISSUM                   47661
HERMANN KLINGEMANN         ROBERT W PHILLIPS                 SIMMONS BROWDER GIANARIS        707 BERKSHIRE BLVD          PO BOX 521                  EAST ALTON         IL   62024
                                                             ANGELIDES & BARNERD LLC
HERMANN LEASING COMPANY    9 DISTRIBUTION WAY                                                                                                        MONMOUTH           NJ   08852‐3001
                                                                                                                                                     JUNCTION
HERMANN LOEW               21151 RIDGEWOOD DR                                                                                                        CLINTON TWP        MI   48036‐3843
HERMANN MUELLER            SCHLAGBAUMSTEGE 1                 46485 WESEL
HERMANN NICK               REICHLINSTRA▀E 17A                D‐87439 KEMPTEN                                                                                           NC
HERMANN NORDMANN
HERMANN OTTO               AM WEINGERT 29                                                                                                            PETTENDORF              93186
HERMANN PANNES             100 GREENVALE DR                                                                                                          MANSFIELD          TX   76063‐5556
HERMANN PUASCHUNDER        FRANZ ASENBAUERGASSE 66           A ‐ 1230 VIENNA                 AUSTRIA
HERMANN RICHARD            HERMANN, RICHARD                  1930 E MARLTON PIKE SUITE Q29                                                           CHERRY HILL        NJ   08003
HERMANN SCHMIDT‐RAHMER     QUERSTRASSE 26                                                                                D 44139 DORTMUND
                                                                                                                         GERMANY F R
HERMANN SCHRAMM            7242 MAYBERRY DR                                                                                                          PARMA             OH    44130‐6033
HERMANN SERVICES INC       DENNIS HERMAN                     9 DISTRIBUTION WAY                                                                      MONMOUTH JCT      NJ    08852‐3001
HERMANN STEGMAIR           LAUTERBACH 4                                                                                                              ALTOMUENSTER            85250
HERMANN STEGMAIR           LAUTERBACH 1                                                                                                              ALTOMUENSTER            85250
HERMANN TONEBOHN           SCHAUMBURGER WEG 1                                                                            31737 RINTELN GERMANY
HERMANN TRANSPORTN SVCS    DENNIS HERMAN                     9 DISTRIBUTION WAY                                                                      MONMOUTH JCT      NJ    08852‐3001
HERMANN, ADAM              12377 DE GROVE DR                                                                                                         STERLING HTS      MI    48312‐3128
HERMANN, ALEX R            261 MARSHALL AVE E                                                                                                        WARREN            OH    44483‐1422
HERMANN, ANDREW W          1639 MACKWOOD RD                                                                                                          ROCHESTER HILLS   MI    48307‐4315
HERMANN, CHRISTOF          22006 E 13 MILE RD                                                                                                        ST CLAIR SHRS     MI    48082‐1482
HERMANN, CLARA M           1018 RIVER MIST DR                                                                                                        ROCHESTER         MI    48307‐2263
HERMANN, DELBERT E         4044 WOLF RD                                                                                                              WESTERN SPRINGS   IL    60558‐1160
HERMANN, DOLPH             16 COCHRAN DR                                                                                                             NEW CASTLE        PA    16105‐1814
HERMANN, DONALD F          31455 SOMERSET RD                                                                                                         PAOLA             KS    66071‐8437
HERMANN, DONALD J          PO BOX 5101                                                                                                               CHEBOYGAN         MI    49721‐5101
HERMANN, DONALD W          1006 PROSPECT AVE                                                                                                         PORTAGE           WI    53901‐1937
HERMANN, DOUGLAS L         2868 CHELSEA PL N                                                                                                         CLEARWATER        FL    33759
HERMANN, EDYTHE M          532 WARREN ST                                                                                                             SCOTCH PLAINS     NJ    07076‐1923
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Name                                 Address1                       Address2                        Address3           Address4                City              State   Zip
HERMANN, JANE R                      4615 INDEPENDENCE DR                                                                                      CLARKSTON          MI     48346‐3731
HERMANN, JOHN                        10303 BURNT STORE RD UNIT 15                                                                              PUNTA GORDA        FL     33950‐8954
HERMANN, JUSTIN L                    5547 KINGFISHER LN                                                                                        CLARKSTON          MI     48346‐2936
HERMANN, LARRY M                     25115 W 66TH TER                                                                                          SHAWNEE            KS     66226‐3378
HERMANN, LYLE K                      11937 RIDGE RD                                                                                            MEDINA             NY     14103‐9201
HERMANN, NEAL T                      11046 W SCOTT RD                                                                                          MEDINA             NY     14103‐9439
HERMANN, RICHARD                     KIMMEL & SILVERMAN PC          1930 E MARLTON PIKE SUITE Q29                                              CHERRY HILL        NJ     08003
HERMANN, STEPHEN G                   PO BOX 667                                                                                                WAYNE              MI     48184‐0667
HERMANN, VIRGE M                     220 KUEHN DR                                                                                              LEVELGREEN         PA     15085‐1604
HERMANN, WILLIAM H                   2700 AUTUMN LEAVES DR                                                                                     PT ORANGE          FL     32128‐7153
HERMANN‐JOSEF MALMS                  REIMSER STR 3                                                                     52074 AACHEN GERMANY
HERMANNS, VINCENT J                  13 ROBERT RD                                                                                              HAZLET            NJ      07730‐2025
HERMANO PIMENTEL                     ATTN MICHAEL C SHEPARD         THE SHEPARD LAW FIRM PC         10 HIGH ST                                 BOSTON            MA      02110
HERMANS, DAVID J                     91 SHOREWAY DR                                                                                            ROCHESTER         NY      14612‐1223
HERMANS, NOREEN D                    91 SHOREWAY DR                                                                                            ROCHESTER         NY      14612‐1223
HERMANSEN MCKIBBEN WOOLSEY &         VILLARREAL LLP                 1100 TOWER IIADD CHG 8/21/03    555 N CARAUCABUA                           CORPUS CHRISTI    TX      78478
HERMANSEN, BARBARA                   1500 ELMHURST DR                                                                                          ADRIAN            MI      49221‐1216
HERMANSEN, WALTER S                  5335 W 100TH TER                                                                                          SHAWNEE MSN       KS      66207‐3117
HERMANSON RICHARD                    23 CRESTVIEW COURT                                                                                        APPLETON          WI      54915‐2836
HERMANSON, ARTHUR H                  515 FEATHER TRL                                                                                           NEKOOSA           WI      54457‐7915
HERMANSON, BRIAN E                   309 CENTER AVE                                                                                            JANESVILLE        WI      53548‐4632
HERMANSON, DARREN R                  842 ASH CIRCLE                                                                                            PLYMOUTH          WI      53073‐4068
HERMANSON, DARREN R                  842 ASH CIR                                                                                               PLYMOUTH          WI      53073‐4068
HERMANSON, HERBERT L                 5906 N CASSIDY RD                                                                                         EVANSVILLE        WI      53536‐8701
HERMANSON, JAMES E                   9201 W SEEMAN RD                                                                                          EVANSVILLE        WI      53536‐8759
HERMANSON, JAMES W                   1959 S BATES ST                                                                                           BIRMINGHAM        MI      48009‐1977
HERMANSON, JAMES WALFRED             1959 S BATES ST                                                                                           BIRMINGHAM        MI      48009‐1977
HERMANSON, LEE                       6367 RUSTIC RIDGE TRL                                                                                     GRAND BLANC       MI      48439‐4958
HERMANSON, LORETTA G                 849 BROOKFIELD RD                                                                                         KETTERING         OH      45429‐3325
HERMANSON, MYRICK R                  16 E SUNSET DR                                                                                            MILTON            WI      53563‐1388
HERMANSON, NORMA J                   N6457 STATE ROAD 89                                                                                       DELAVAN           WI      53115‐2416
HERMANSON, NORMA J                   N. 6457 STATE RD 89                                                                                       DELAVAN           WI      53115‐2416
HERMANSON, ROBERT B                  7398 LITTLE EASY ST                                                                                       SPARKS            NV      89436‐7450
HERMANSON, ROGER W                   127 HWY N                                                                                                 EDGERTON          WI      53534
HERMANSON, SHIRLEY M                 515 FEATHER TRL                                                                                           NEKOOSA           WI      54457‐7915
HERMELINDA FLORES                    607 RICHARD AVE                                                                                           LANSING           MI      48917‐2750
HERMELINDA GARCIA                    812 KENNEDY DR                                                                                            ALICE             TX      78332‐3632
HERMELINDA QUINTANILLA               210 N HAZELTON ST                                                                                         FLUSHING          MI      48433‐1617
HERMELINDA REINA                     10806 KEENAN PLACE                                                                                        STANTON           CA      90680‐1972
HERMELINDA VILLA                     30 LOZA LN                                                                                                BELLEVILLE        MI      48111‐5198
HERMELINDO RAMIREZ                   PO BOX 63                                                                                                 FALCON HTS        TX      78545‐0063
HERMELING, MAGDALENE FRANC           6047 FLORAVILLE RD                                                                                        MILLSTADT         IL      62260
HERMENA STEELS                       PO BOX 35                                                                                                 SOUTH HOLLAND     IL      60473‐0035
HERMENAU, JUNE                       645 GRISWOLD ST STE 1766                                                                                  DETROIT           MI      48226
HERMENAU, WILLIAM                    212 W MOSS MILL RD                                                                                        EGG HARBOR CITY   NJ      08215‐3449
HERMENEGIL SOLIS                     PO BOX 373                                                                                                MISSION           TX      78573‐0007
HERMENEGILDA G BALUYOT AND PATRICO   425 TIMBER BAY CT                                                                                         AZLE              TX      76020‐4133
S BALUYOT
HERMENEGILDO CORREIA                 111 CLAREMONT AVE                                                                                         MOUNT VERNON       NY     10550
HERMENEGILDO GUERRERO                PO BOX 258                                                                                                ARGO               IL     60501‐0258
HERMENEGILDO J CORREIA               118 COTTAGE AVE                                                                                           MOUNT VERNON       NY     10550‐1404
HERMENEGILDO SOLIS                   PO BOX 373                                                                                                MISSION            TX     78573‐0007
HERMENS, ROBERT W                    620 S 12TH AVE                                                                                            CORNELIUS          OR     97113‐5818
HERMER, DANIEL J                     PO BOX 9022                    C/O: CANADA 02                                                             WARREN             MI     48090‐9022
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Name                            Address1                          Address2               Address3      Address4                 City               State   Zip
HERMERDING, JAMES G             2321 TAPESTRY DR                                                                                LIVERMORE           CA     94550‐8246
HERMES AUTO & UPHOLSTERY        1325 E PLATT ST                                                                                 MAQUOKETA            IA    52060‐3203
HERMES CHRISTOPHER              HERMES, CHRISTOPHER               14102 24TH RD                                                 RAPID RIVER         MI     49878‐9433
HERMES ENGINEERING INC          ATTN: PHILLIP HOROWITZ            60 TRIPP ST                                                   FRAMINGHAM          MA     01702‐8751
HERMES GOUDES                   4100 WOODFOX DRIVE                                                                              CHARLOTTE           NC     28277
HERMES GOUDES & MARY A GOUDES   4100 WOODFOX DR                                                                                 CHARLOTTE           NC     28277
HERMES LACOURCIERE              PO BOX 5680                                                                                     DEARBORN            MI     48128‐0680
HERMES LLOYD                    368 100TH CT NE                                                                                 BLAINE              MN     55434‐4231
HERMES MD, CHARLES R            2618 PLUM BROOK DR                                                                              BLOOMFIELD          MI     48304‐1765
HERMES RAINER                   84 RUE DES ROMAINS                                                     L'2443 SENNINGERBERG
                                                                                                       GERMANY
HERMES TRANSPORT INC            PO BOX 234                                                                                      LINCOLNSHIRE        IL     60069‐0234
HERMES, CHRISTOPHER             14102 24TH RD                                                                                   RAPID RIVER         MI     49878‐9433
HERMES, DOLORES L               6556 HOWARD AVE                                                                                 INDIAN HEAD PARK    IL     60525‐4567

HERMES, GARY L                  605 BRIARFIELD DR                                                                               FORT WAYNE         IN      46825‐4086
HERMES, JOHN W                  4022 TIPTON WOODS DR                                                                            ADRIAN             MI      49221‐9543
HERMES, LOLA V                  P O BOX 106                                                                                     BARNETT            MO      65011‐0106
HERMES, LOLA V                  PO BOX 106                                                                                      BARNETT            MO      65011‐0106
HERMES, MICHAEL E               18661 HERMES CT                                                                                 NORMAN             OK      73026‐9530
HERMES, SARGENT BATES, LLP      H. JOSEPH ACOSTA                  901 MAIN ST STE 5200                                          DALLAS             TX      75202‐3705
HERMETICS INC                   6122 N 21ST ST                                                                                  PHILADELPHIA       PA      19138‐2421
HERMETZ JR, HUGO R              132 ACADIAN LN                                                                                  MANDEVILLE         LA      70471‐1788
HERMIA COURTNEY                 3631 ELIZABETH ST                                                                               MELVINDALE         MI      48122‐1161
HERMIE ROWAN                    3190 VALERIE ARMS DR APT 14                                                                     DAYTON             OH      45405‐2045
HERMIE ROWAN                    3190 VALERIE ARMS DR              APT 14                                                        DAYTON             OH      45405‐2045
HERMIE SPARKS                   7456 ROGER THOMAS DR                                                                            MOUNT MORRIS       MI      48458‐8934
HERMILLER, DALE E               13120 ROAD 8                                                                                    OTTAWA             OH      45875‐9502
HERMILLER, DALE R               2203 RED MAPLE DR                                                                               TROY               MI      48098‐2274
HERMILLER, DANIEL J             PO BOX 69                                                                                       MILLER CITY        OH      45864‐0069
HERMILLER, DANIEL L             12563 ROAD F12                                                                                  OTTAWA             OH      45875‐9640
HERMILLER, DANIEL LEE           12563 ROAD F12                                                                                  OTTAWA             OH      45875‐9640
HERMILLER, GREGORY D            15275 GREEN RD                                                                                  BOWLING GREEN      OH      43402‐8694
HERMILLER, JAMES D              20502 US 24 WEST                                                                                DEFIANCE           OH      43512
HERMILLER, JEFFERY S            10982 STATE ROUTE 613 RR2                                                                       OTTAWA             OH      45875
HERMILLER, JEFFERY SCOTT        10982 STATE ROUTE 613 RR2                                                                       OTTAWA             OH      45875
HERMILLER, STEVEN F             1195 W MAIN ST                                                                                  OTTAWA             OH      45875‐1326
HERMILLER, TIMOTHY J            RR 1 BOX 7242                                                                                   OTTAWA             OH      45875
HERMILO MORENO                  10044 SHADYHILL LN                                                                              GRAND BLANC        MI      48439‐8319
HERMINA B CARSON                900 LAWRENCE AVE                                                                                GIRARD             OH      44420‐1910
HERMINA BEUKEMA                 2619 KALAMAZOO AVE SE APT 116                                                                   GRAND RAPIDS       MI      49507‐3967
HERMINA CARSON                  900 LAWRENCE AVE                                                                                GIRARD             OH      44420‐1910
HERMINA D WOLFE                 PO BOX 24                                                                                       NILES              OH      44446‐0024
HERMINA HOP                     2571 EDSON DR                                                                                   HUDSONVILLE        MI      49426‐9472
HERMINA LEIJA                   6551 MCCARRAN ST                  BUILDING 2 APT#1010                                           N LAS VEGAS        NV      89086
HERMINA MAILLOUX                44324 WYNGATE DR                                                                                NORTHVILLE         MI      48167‐8940
HERMINA REMLINGER               7244 PINE RIDGE TRL                                                                             OSCODA             MI      48750‐9645
HERMINA TENHARMSEL              7020 GARDENVIEW DR SW                                                                           BYRON CENTER       MI      49315‐8351
HERMINA WOLFE                   PO BOX 24                                                                                       NILES              OH      44446‐0024
HERMINE PETERBAUER              LINDACHERSTRASSE 19B                                                   4655 VORCHDORF AUSTRIA
HERMINIA ALCALA                 214 OLYMPIC WAY APT 11                                                                          MELBOURNE           FL     32901‐8274
HERMINIA ARRIAGA                515 MARBACH RD                                                                                  SOMERSET            TX     78069‐4603
HERMINIA AYALA                  163 SONSTROM RD                                                                                 BRISTOL             CT     06010‐2853
HERMINIA BERMUDEZ LOPEZ         413 S INTERNATIONAL BLVD                                                                        HIDALGO             TX     78557‐2910
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Name                              Address1                            Address2                        Address3   Address4                 City            State   Zip
HERMINIA CORDERO                  PO BOX 789                                                                                              MONTROSE         CA     91021‐0789
HERMINIA ISQUIERDO                178 BEN SWAIN DR                                                                                        EL PASO          TX     79915‐3436
HERMINIA LUGO                     2811 GLENBROOK DR                                                                                       LANSING          MI     48911‐2381
HERMINIA PECINA                   1401 N AVENUE 56                                                                                        LOS ANGELES      CA     90042‐1112
HERMINIA RODRIGUEZ                5603 OAK BROOK RD                                                                                       ARLINGTON        TX     76016‐4552
HERMINIA RUIZ                     1914 LOCUST ST                                                                                          TOLEDO           OH     43608‐2814
HERMINIA VARGAS                   1204 N 14TH AVE                                                                                         HOLLYWOOD        FL     33020‐3719
HERMINIO CARRASQUILLO             PO BOX 184                                                                                              AVON             OH     44011‐0184
HERMINIO CORTEZ                   910 N HICKS AVE                                                                                         LOS ANGELES      CA     90063‐2704
HERMINIO MARIA                    35 EASTVIEW AVE                                                                                         YONKERS          NY     10703‐2201
HERMINIO SANTIANO                 2484 EGGERT RD                                                                                          TONAWANDA        NY     14150‐9215
HERMINNIA RUELAS                  1252 GALLOWAY CIRCLE                LOT #78                                                             PONTIAC          MI     48340
HERMIONE BOOKER                   1415 CHARLES AVE                                                                                        FLINT            MI     48505‐1748
HERMIONE W BOOKER                 1415 CHARLES AVE                                                                                        FLINT            MI     48505‐1748
HERMIS LOPEZ SR                   1532 SEASONS PARKWAY                                                                                    NORCROSS         GA     30093‐3106
HERMISON, CARL E                  2809 NORTH RD NE                                                                                        WARREN           OH     44483‐3046
HERMISON, CARL E                  2809 NORTH ROAD N.E.                                                                                    WARREN           OH     44483‐3046
HERMIT PIPKIN JR                  6106 ROLLO CIR                                                                                          SHREVEPORT       LA     71119‐5238
HERMITAGE AUTOMATION & CONTROL    10080 PATTERSON PARK RD                                                                                 ASHLAND          VA     23005‐3440
HERMITAGE AUTOMATION & CONTROLS   10080 PATTERSON PARK RD                                                                                 ASHLAND          VA     23005‐3440

HERMITAGE TIRE CENTER             4605 ANDREW JACKSON PKWY                                                                                HERMITAGE       TN      37076‐1408
HERMIZ SALEM                      6689 TORYBROOKE CIR                                                                                     W BLOOMFIELD    MI      48323‐2160
HERMON BATTS                      1919 HIGHWAY 31 NW                                                                                      HARTSELLE       AL      35640‐4451
HERMON BLAIR                      10990 BELLMAN RD                                                                                        GRASS LAKE      MI      49240‐9701
HERMON M STRAYHORN                12976 CUMMING HWY                                                                                       CANTON          GA      30115‐4854
HERMON TINCHER                    504 BRYAN DR                                                                                            WINCHESTER      TN      37398‐5421
HERMON TROUSER                    3602 WORCHESTER DR                                                                                      FLINT           MI      48503‐4564
HERMOSA AUTOMOTIVE                501 PACIFIC COAST HWY # A                                                                               HERMOSA BEACH   CA      90254‐4837
HERMOSILLO, ALESIA J              47740 N SHORE DR                                                                                        BELLEVILLE      MI      48111‐2231
HERMOSILLO, ALFRED W              1706 S DONNA BETH AVE                                                                                   WEST COVINA     CA      91791‐4000
HERMOSILLO, EDWARD D              11680 VAN HORN RD                                                                                       BENTON          IL      62812‐4517
HERMOSILLO, HIPOLITO Y            PO BOX 20503                                                                                            BULLHEAD CITY   AZ      86439‐0503
HERMOSILLO, OPHELIA               3413 E HAMPTON AVE                                                                                      MESA            AZ      85204‐6427
HERMOSILLO, RICHARD A             W5553 38TH ST                                                                                           NEW LISBON      WI      53950‐9674
HERMOSO, TONY                     1201 AUTUMN GROVE CT                                                                                    FUQUAY VARINA   NC      27526‐5423
HERMS, RITA                       3610 WEIGHTMAN STREET                                                                                   PHILADELPHIA    PA      19129‐1621
HERMSEN, EDMUND J                 6020 S BUCKHORN AVE UNIT 113                                                                            CUDAHY          WI      53110‐3173
HERMSEN, MICHAEL E                514 PENNY LN                                                                                            COCKEYSVILLE    MD      21030‐2756
HERMSMEYER ROGER                  3354 REGIONAL PKWY                                                                                      SANTA ROSA      CA      95403‐8203
HERN JAMES (ESTATE OF0 (489086)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH      44067
                                                                      PROFESSIONAL BLDG
HERN, SHARON L                    3726 CANUTE RD                                                                                          COMMERCE TWP    MI      48382‐1844
HERNACKI, EUGENE                  5406 IVANHILL RD                                                                                        TOLEDO          OH      43615‐5245
HERNACKI, GREGORY D               6333 MOONSTONE DR                                                                                       GRAND BLANC     MI      48439‐7810
HERNADEZ, JOHN                    17 16TH ST                                                                                              CAMPBELL        OH      44405‐1928
HERNALSTEEN FRANK (639079)        LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                          BIRMINGHAM      MI      48009‐5394
HERNALSTEEN, FRANK                LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                          BIRMINGHAM      MI      48009‐5394
HERNALSTEEN, GARY J               4155 APRIL LN                                                                                           STERLING HTS    MI      48310‐4404
HERNAN CORTEZ                     2671 HAENLEIN DR                                                                                        SAGINAW         MI      48603‐3067
HERNAN RAMIREZ                    PO BOX 6585                                                                                             BUENA PARK      CA      90622‐6585
HERNAN SAAVEDRA                   5868 JACKELYN CT                                                                                        WASHINGTON      MI      48094‐4225
HERNAN SANTIG                     MONICA GANGAS                       LERIDA 8050 LAS CONDES                     SANTIAGO CHILE
HERNAN, MARJORIE S                5023 CORY‐HUNT                                                                                          BRISTOLVILLE    OH      44402‐4402
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Name                               Address1                           Address2                           Address3   Address4                 City           State   Zip
HERNAN, MARJORIE S                 5023 COREY HUNT RD                                                                                        BRISTOLVILLE    OH     44402‐9644
HERNAN, ZACHARY D                  8606 HILLTOP DR                                                                                           POLAND          OH     44514‐2981
HERNANDE‐LOZAN, FRANCO             1119 CLARK ST                                                                                             DETROIT         MI     48209‐3816
HERNANDEX, CHRISTINE               582 TYLER RD S APT 208                                                                                    RED WING        MN     55066‐1783
HERNANDEZ , NANCY
HERNANDEZ ABEL                     4632 SOUTHERN AVENUE                                                                                      SHREVEPORT      LA     71106‐1303
HERNANDEZ ALBERT F                 5007 GLENROSE DR                                                                                          COLUMBIA        TN     38401‐4955
HERNANDEZ ANTHONY                  1131 DOUGLAS FIR DR                                                                                       HOWELL          MI     48843‐9705
HERNANDEZ CHRISTIE & ALBERT        10014 WOODLANE BOULEVARD                                                                                  MAGNOLIA        TX     77354‐5716
HERNANDEZ COVARR, ALEJANDRO M      18489 PALMER DR                                                                                           MACOMB          MI     48042‐1732
HERNANDEZ COVARRUBIAS, ALEJANDRO   18489 PALMER DR                                                                                           MACOMB          MI     48042‐1732

HERNANDEZ CRUZ, JOSE MATILDE       YOUNG CONAWAY STARGATT & TAYLOR    1000 N WEST ST FL 17                                                   WILMINGTON      DE     19801‐1053
                                   LLP
HERNANDEZ CRUZ, JOSE MATILDE       YOUNG CONAWAY STARGATT & TAYLOR    1000 WEST STREET,17TH FLOOR                                            WILMINGTON      DE     19899
                                   LLP
HERNANDEZ DANIEL HIDALGO           ALVARO OBREGON #27 GEOVILLAS       EL CENTENARIO SN PEDRO TOTOL‐                 TEPEC TOLUCA MEXICO
                                                                                                                    MEXICO
HERNANDEZ ESTATE OF, YESENIA       WATTS LAW FIRM                     300 CONVENT STREET BANK OF                                             SAN ANTONIO     TX     78205
                                                                      AMERICA PLAZA SUITE 100
HERNANDEZ FELICIANO JUSTO          HERNANDEZ, FELICIANO JUSTO         640 S SAN VICENTE BLVD STE 230                                         LOS ANGELES     CA     90048‐4654
HERNANDEZ FLORENCIO                HERNANDEZ, FLORENCIO               1124 PEARL ST                                                          GREENVILLE      MI     48838
HERNANDEZ FRANKIE                  HERNANDEZ, FRANKIE                 1950 SAWTELLE BLVD STE 245                                             LOS ANGELES     CA     90025‐7017
HERNANDEZ GILBERT (416235)         ANGELOS PETER G LAW OFFICE         115 BROADWAY FRNT 3                                                    NEW YORK        NY     10006‐1638
HERNANDEZ GILBERT S (629558)       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                            NORFOLK         VA     23510
                                                                      STREET, SUITE 600
HERNANDEZ GORDIANA                 DBA TRANSLATIONS ETC               10875 NW 7TH ST APT 24                                                 MIAMI           FL     33172‐3714
HERNANDEZ GUADALUPE                HERNANDEZ, GUADALUPE               500 AIRPORT BLVD SUITE 100                                             BURLINGAME      CA     94010
HERNANDEZ GUSTAVO                  HERNANDEZ, BRENDA                  309 WEST LAKE MEAD PARKWAY                                             HENDERSON       NV     89015
                                                                      SUITE B
HERNANDEZ GUSTAVO                  HERNANDEZ, GUSTAVO                 300 CONVENT ST STE 100                                                 SAN ANTONIO     TX     78205‐3705
HERNANDEZ GUSTAVO                  HERNANDEZ, GUSTAVO JR              309 WEST LAKE MEAD PARKWAY                                             HENDERSON       NV     89015
                                                                      SUITE B
HERNANDEZ GUSTAVO                  HERNANDEZ, ISMAEL                  300 CONVENT ST STE 100                                                 SAN ANTONIO     TX     78205‐3705
HERNANDEZ GUSTAVO                  HERNANDEZ, JOSE LUIS               300 CONVENT ST STE 100                                                 SAN ANTONIO     TX     78205‐3705
HERNANDEZ GUSTAVO                  HERNANDEZ, JULIA                   309 WEST LAKE MEAD PARKWAY                                             HENDERSON       NV     89015
                                                                      SUITE B
HERNANDEZ GUSTAVO                  HERNANDEZ, MARIA ELENA             300 CONVENT ST STE 100                                                 SAN ANTONIO     TX     78205‐3705
HERNANDEZ GUSTAVO                  HERNANDEZ, ROSARIO                 309 WEST LAKE MEAD PARKWAY                                             HENDERSON       NV     89015
                                                                      SUITE B
HERNANDEZ HAVARD                   407 CHAPMAN LN                                                                                            COLUMBIA        TN     38401‐2625
HERNANDEZ HECTOR ARMANDO           DELACRUZ, LUCIA OLIVIAS            4742 NORTH 24TH STREET SUITE 100                                       PHOENIX         AZ     85016
HERNANDEZ HECTOR ARMANDO           FLORES HERNANDEZ, RAQUEL HOLGUIN   4742 NORTH 24TH STREET SUITE 100                                       PHOENIX         AZ     85016

HERNANDEZ HECTOR ARMANDO           FLORES, RAQUEL HOLGUIN             4742 NORTH 24TH STREET SUITE 100                                       PHOENIX         AZ     85016
HERNANDEZ HECTOR ARMANDO           HERNANDEZ, BRIZA                   4742 NORTH 24TH STREET SUITE 100                                       PHOENIX         AZ     85016
HERNANDEZ HECTOR ARMANDO           HERNANDEZ, ELIZABETH               4742 NORTH 24TH STREET SUITE 100                                       PHOENIX         AZ     85016
HERNANDEZ HECTOR ARMANDO           HERNANDEZ, HECTOR ARMANDO          4742 NORTH 24TH STREET SUITE 100                                       PHOENIX         AZ     85016
HERNANDEZ HECTOR ARMANDO           HERNANDEZ, SANDRA                  4742 NORTH 24TH STREET SUITE 100                                       PHOENIX         AZ     85016
HERNANDEZ HECTOR ARMANDO           HOLGUIN, DAFNE LUJAN               4742 NORTH 24TH STREET SUITE 100                                       PHOENIX         AZ     85016
HERNANDEZ HECTOR ARMANDO           HOLGUIN, GRISELDA                  4742 NORTH 24TH STREET SUITE 100                                       PHOENIX         AZ     85016
HERNANDEZ HELIBERT                 HERNANDEZ, HELIBERT                133 TAPPAN ST                                                          KEARNY          NJ     07032
HERNANDEZ III, MATHEW GABRIEL      6815 KINGSWOOD BLVD                                                                                       FORT WAYNE      IN     46804‐4623
HERNANDEZ III, MATTHEW G           6815 KINGSWOOD BLVD                                                                                       FORT WAYNE      IN     46804‐4623
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Name                                    Address1                        Address2                         Address3                      Address4               City            State   Zip
HERNANDEZ III, RAMIRO                   5537 HOMESTEAD RD                                                                                                     ARLINGTON        TX     76017‐3066
HERNANDEZ JAMES                         14636 CERES AVENUE                                                                                                    FONTANA          CA     92335‐4204
HERNANDEZ JANINE                        HERNANDEZ, JANINE               PO BOX 3389                                                                           REDWOOD CITY     CA     94064‐3389
HERNANDEZ JANINE                        HERNANDEZ, YOLANDA              PO BOX 3389                                                                           REDWOOD CITY     CA     94064‐3389
HERNANDEZ JAVIER (ESTATE OF) (471378)   CLARK DEPEW LLP                 440 LOUISIANA ST STE 1600                                                             HOUSTON          TX     77002‐1638

HERNANDEZ JESSE                         HERNANDEZ, JESSE                71650 SAHARA RD STE 2                                                                 RANCHO MIRAGE   CA      92270‐4336
HERNANDEZ JESSE                         HERNANDEZ, SYLVIA               71650 SAHARA RD STE 2                                                                 RANCHO MIRAGE   CA      92270‐4336
HERNANDEZ JESSIE                        HERNANDEZ, JESSIE               20061 ARROYO AVE                                                                      LYNWOOD         IL      60411‐1527
HERNANDEZ JOHN (643667)                 BRAYTON PURCELL                 PO BOX 6169                                                                           NOVATO          CA      94948‐6169
HERNANDEZ JONATHAN                      HERNANDEZ, JONATHAN             12 HARDING STREET SUITE 110                                                           LAKEVILLE       MA      02767
HERNANDEZ JONATHAN                      ESTRADA, JUAN                   CONSUMER LEGAL SERVICES          12 HARDING STREET SUITE 110                          LAKEVILLE       MA      02767

HERNANDEZ JONATHAN FELICIANO            HERNANDEZ, JONATHAN FELICIANO
HERNANDEZ JORGE                         HERNANDEZ, JORGE                P.O. BOX 1426                                                                         SANTA CRUZ      NM      87567
HERNANDEZ JR, ALEX                      1811 SALT ST                                                                                                          SAGINAW         MI      48602‐1256
HERNANDEZ JR, CRESENCIO                 4097 GREEN ST                                                                                                         SAGINAW         MI      48638‐6619
HERNANDEZ JR, FELIX                     435 KEARNEY ST                                                                                                        PORTLAND        MI      48875‐1553
HERNANDEZ JR, FLORENCIO                 40 W CHICAGO AVE                                                                                                      PONTIAC         MI      48340‐1129
HERNANDEZ JR, GEORGE G                  6027 KIM AVE                                                                                                          ALLEN PARK      MI      48101‐2510
HERNANDEZ JR, MANUEL                    11313 RIDGE DR                                                                                                        SUGAR CREEK     MO      64054‐1529
HERNANDEZ JR, MARCELO                   3287 COLUMBINE DR                                                                                                     SAGINAW         MI      48603‐1925
HERNANDEZ JR, MARCELO                   6860 WALTERS RD                                                                                                       CLARKSTON       MI      48346‐2252
HERNANDEZ JR, NABOR                     PO BOX 1076                                                                                                           MESA            AZ      85211‐1076
HERNANDEZ JR, OSCAR                     85515 D DRIVE NORTH                                                                                                   BATTLE CREEK    MI      49017
HERNANDEZ JR, RAUL                      5502 CORONATION DR                                                                                                    ARLINGTON       TX      76017‐4968
HERNANDEZ JR, ROBERTO                   2314 SCHLEY AVE                                                                                                       SAN ANTONIO     TX      78210
HERNANDEZ JR, RUDOLPH T                 PO BOX 981                                                                                                            SAGINAW         MI      48606‐0981
HERNANDEZ JR, SIMON                     10010 E WOOD AVE                                                                                                      MESA            AZ      85208‐4458
HERNANDEZ JR, VICTOR                    524 S POPLAR ST                                                                                                       LEIPSIC         OH      45856‐1320
HERNANDEZ JR., ALFONSO
HERNANDEZ JR., ERNESTO                  1596 144TH AVE                                                                                                        DORR             MI     49323‐9748
HERNANDEZ JR., JESUS                    WATTS LAW FIRM                  300 CONVENT STREET BANK OF                                                            SAN ANTONIO      TX     78205
                                                                        AMERICA PLAZA SUITE 100
HERNANDEZ JR., SIMON                    9318 RAWSONVILLE RD                                                                                                   BELLEVILLE       MI     48111‐9205
HERNANDEZ JR., TOMAS C                  1803 IRVINGTON AVE                                                                                                    LANSING          MI     48910‐3621
HERNANDEZ JUAN B JR (656213)            ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                                                      BETHLEHEM        PA     18018
HERNANDEZ JUAN SANCHEZ                  HERNANDEZ, GRACIELA             5473 BLAIR RD STE 200                                                                 DALLAS           TX     75231‐4168
HERNANDEZ JUAN SANCHEZ                  HERNANDEZ, JUAN SANCHEZ         5473 BLAIR RD STE 200                                                                 DALLAS           TX     75231‐4168
HERNANDEZ LANDSCAPE                     809 BLAINE AVE                                                                                                        PONTIAC          MI     48340‐2405
HERNANDEZ LEO A (660898)                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                           NORFOLK          VA     23510
                                                                        STREET, SUITE 600
HERNANDEZ LOUIE E                       HERNANDEZ, LOUIE E              1420 N CLAREMONT BLVD STE 210                                                         CLAREMONT       CA      91711‐3528
HERNANDEZ LUIS                          GONZALES, LUIS                  7825 FAY AVE STE 200                                                                  LA JOLLA        CA      92037‐4270
HERNANDEZ MANUEL (445188)               BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                         NORTHFIELD      OH      44067
                                                                        PROFESSIONAL BLDG
HERNANDEZ MARIE E                       111 TEALWOOD RD                                                                                                       MONTGOMERY       IL     60538‐2117
HERNANDEZ MIGUEL                        HERNANDEZ, AIRIHANA             ROMANO STANCROFF MIKHOV PC       640 SOUTH SAN VICENTE                                LOS ANGELES      CA     90048
                                                                                                         BLVD. SUITE 230
HERNANDEZ MIGUEL                        HERNANDEZ, MIGUEL               1724 SPARGER RD                                                                       MOUNT AIRY       NC     27020‐7564
HERNANDEZ MIGUEL                        HERNANDEZ, MIGUEL               640 S SAN VICENTE BLVD STE 230                                                        LOS ANGELES      CA     90048‐4654
HERNANDEZ NANCY                         3811 CRESTGATE                                                                                                        MIDLAND
HERNANDEZ NICOLAS                       67 W BEVERLY AVE                                                                                                      PONTIAC          MI     48340‐2617
                                 09-50026-mg               Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                             Address1                           Address2                         Address3   Address4               City             State Zip
HERNANDEZ OSCAR                  HERNANDEZ, OSCAR                   120 WEST MADISON STREET , 10TH                                     CHICAGO            IL 60602
                                                                    FLOOR
HERNANDEZ PETER PAUL             HERNANDEZ, PETER PAUL              640 S SAN VICENTE BLVD STE 230                                     LOS ANGELES      CA    90048‐4654
HERNANDEZ PHILIP (422184)        WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                                    NEW YORK         NY    10038
HERNANDEZ RONDA                  HERNANDEZ, RONDA                   640 S SAN VICENTE BLVD STE 230                                     LOS ANGELES      CA    90048‐4654
HERNANDEZ SALVADOR (ESTATE OF)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD       OH    44067
(651472)                                                            PROFESSIONAL BLDG
HERNANDEZ SELENA                 HERNANDEZ, RUBY                    516 WEST MAIN ST                                                   WAXAHACHIE       TX    75165
HERNANDEZ SELENA                 HERNANDEZ, SELENA                  516 WEST MAIN ST                                                   WAXAHACHIE       TX    75165
HERNANDEZ SELENA                 HERNANDEZ, SELENA                  5511 I‐10 WEST ‐ SUITE 4                                           SAN ANTONIO      TX    78201
HERNANDEZ SERGIO                 HERNANDEZ, MARIA                   5055 WILSHIRE BLVD STE 300                                         LOS ANGELES      CA    90036‐6101
HERNANDEZ SERGIO                 HERNANDEZ, SERGIO                  5055 WILSHIRE BLVD STE 300                                         LOS ANGELES      CA    90036‐6101
HERNANDEZ SR, MANUEL C           PO BOX 139                                                                                            KINGSVILLE       TX    78364‐0139
HERNANDEZ SUPPLIES               2800 E HOLLAND AVE                                                                                    SAGINAW          MI    48601‐2433
HERNANDEZ SYNTHIA                212 DESERT GARDEN DR                                                                                  SANTA TERESA     NM    88008‐9450
HERNANDEZ TRACIE G               HERNANDEZ, TRACIE G                111 PARK WEST DR                                                   SCOTT            LA    70583‐8902
HERNANDEZ WILFREDO               107 TRIUMPH RD                                                                                        DALLAS           TX    75241‐5329
HERNANDEZ WITNEY                 HERNANDEZ, JULIAN                  1950 SAWTELLE BLVD STE 245                                         LOS ANGELES      CA    90025‐7017
HERNANDEZ WITNEY                 HERNANDEZ, WITNEY                  1950 SAWTELLE BLVD STE 245                                         LOS ANGELES      CA    90025‐7017
HERNANDEZ, ABE G                 100 KING CIRCLE APT 105                                                                               CLOVERDALE       CA    95425
HERNANDEZ, ABEL A                4632 SOUTHERN AVE                                                                                     SHREVEPORT       LA    71106‐1303
HERNANDEZ, ABEL ALBINO           4632 SOUTHERN AVENUE                                                                                  SHREVEPORT       LA    71106‐1303
HERNANDEZ, ADAN
HERNANDEZ, ADELAIDA L            19713 E 8 MILE RD #70                                                                                 ST CLAIR SHORE   MI    48080‐3306
HERNANDEZ, ADRIAN L              6116 BLUERIDGE CT                                                                                     ARLINGTON        TX    76016‐3743
HERNANDEZ, AGNES E               812 BOWMAN ST                                                                                         NILES            OH    44446‐2712
HERNANDEZ, AGUSTINA              PO BOX 430                                                                                            YONKERS          NY    10702‐0430
HERNANDEZ, AIDA                  2840 LAWRENCE AVENUE                                                                                  TOLEDO           OH    43610‐1281
HERNANDEZ, ALBERT                424 LINDEN ST                                                                                         ELIZABETH        NJ    07201‐1013
HERNANDEZ, ALBERT F              5007 GLENROSE DR                                                                                      COLUMBIA         TN    38401‐4955
HERNANDEZ, ALBERT J              PO BOX 647                                                                                            TEXAS CITY       TX    77592
HERNANDEZ, ALBERTA M             108 CHRISTINE DRIVE                                                                                   AMHERST          NY    14228‐1311
HERNANDEZ, ALBERTO               11266 HEWITT AVE                                                                                      SAN FERNANDO     CA    91340‐3810
HERNANDEZ, ALBERTO G             11266 HEWITT AVE                                                                                      SAN FERNANDO     CA    91340‐3810
HERNANDEZ, ALBERTO G             14046 HERRON ST                                                                                       SYLMAR           CA    91342‐4111
HERNANDEZ, ALEJANDRO             927 POWDERHORN                                                                                        LANSING          MI    48917‐4045
HERNANDEZ, ALEJANDRO F           2295 FABIAN DRIVE                                                                                     SAGINAW          MI    48603‐3614
HERNANDEZ, ALEX
HERNANDEZ, ALEXANDER             8708 CANDLEWOOD DR                                                                                    OKLAHOMA CITY    OK    73132‐2026
HERNANDEZ, ALEXANDER A           8708 CANDLEWOOD DR                                                                                    OKLAHOMA CITY    OK    73132‐2026
HERNANDEZ, ALFREDO C             9754 LEV AVE                                                                                          ARLETA           CA    91331‐4630
HERNANDEZ, ALICIA ALVAREZ        102 ANSTED DRIVE                                                                                      BATTLE CREEK     MI    49015‐2820
HERNANDEZ, ALICIA ALVAREZ        102 ANSTED ST                                                                                         BATTLE CREEK     MI    49015‐2820
HERNANDEZ, ALVARO                2352 SOUTH 2ND AVENUE                                                                                 RIVERSIDE        IL    60546‐1309
HERNANDEZ, ALVARO
HERNANDEZ, ALVEZA                PORTER & MALOUF PA                 4670 MCWILLIE DR                                                   JACKSON          MS    39206‐5621
HERNANDEZ, ALVEZA A              476 THURSTON ST                                                                                       TOLEDO           OH    43605
HERNANDEZ, AMADOR M              330 LAS COLINAS BLVD E # 226                                                                          IRVING           TX    75039‐5505
HERNANDEZ, AMPARO A              16803 LONDELIUS ST                                                                                    NORTHRIDGE       CA    91343‐4549
HERNANDEZ, AMY
HERNANDEZ, ANDRES T              29266 HIDDEN RIVER DR                                                                                 GIBRALTAR        MI    48173‐1247
HERNANDEZ, ANDREW                1844 E DAVISBURG RD                                                                                   HOLLY            MI    48442‐8025
HERNANDEZ, ANDREW LOGAN
HERNANDEZ, ANDREW M              223 MCCAULEY AVE                                                                                      SAN ANTONIO       TX   78221
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Name                       Address1                              Address2                          Address3   Address4               City            State   Zip
HERNANDEZ, ANGEL F         425 S 5TH AVE                                                                                             SAGINAW          MI     48601‐2144
HERNANDEZ, ANGELO          4745 W AVENUE L4                                                                                          QUARTZ HILL      CA     93536‐4358
HERNANDEZ, ANITA           1121 CHERYL DR                                                                                            BURKBURNETT      TX     76354‐3213
HERNANDEZ, ANN             5521 VALLEY BROOK RD SE                                                                                   MABLETON         GA     30126‐5631
HERNANDEZ, ANN MARIE       1010 DOWNEY ST                                                                                            FLINT            MI     48503‐3173
HERNANDEZ, ANNE
HERNANDEZ, ANTHONY R       1131 DOUGLAS FIR DR                                                                                       HOWELL          MI      48843‐9705
HERNANDEZ, ANTONIA         18090 SW 136TH ST                                                                                         MIAMI           FL      33196
HERNANDEZ, ANTONIO         525 67TH ST                                                                                               WEST NEW YORK   NJ      07093‐1701
HERNANDEZ, ANTONIO A       3110 WEIGL RD                                                                                             SAGINAW         MI      48609‐9791
HERNANDEZ, ANTONIO A       466 SENECA ST                                                                                             BUFFALO         NY      14204‐2054
HERNANDEZ, ANTONIO ROMAN   DEGRO LEIDA GONZALEZ                  1295 AVE MUNOZ RIVERA STE 3                                         PONCE           PR      00717‐0793
HERNANDEZ, APOLINARIA      1054 E YORK AVE                                                                                           FLINT           MI      48505‐2270
HERNANDEZ, APRIL M         743 RACINE AVE                                                                                            COLUMBUS        OH      43204‐2875
HERNANDEZ, ARACELI OCANA   LANGDON AND EMISON                    THE EAGLE BUILDING, PO BOX 220,                                     LEXINGTON       MO      64067
                                                                 911 MAIN STREET
HERNANDEZ, ARMAND          1833 DAVID DR                                                                                             ESCONDIDO        CA     92026‐1618
HERNANDEZ, ARMANDO N       230 BAYNE RD                                                                                              HASLET           TX     76052‐4616
HERNANDEZ, ARNOLD          2712 SHADOW DR W                                                                                          ARLINGTON        TX     76006‐2718
HERNANDEZ, ARROYO ODON     TRACY FIRM                            5473 BLAIR RD STE 200                                               DALLAS           TX     75231‐4168
HERNANDEZ, ARTHUR B        844 UNIVERSITY DR                                                                                         PONTIAC          MI     48342‐1762
HERNANDEZ, ARTURO M        2023 GALWAY TRL                                                                                           MADISON          IN     47250‐6646
HERNANDEZ, AUGUSTINE       1747 RILEY RD                                                                                             CARO             MI     48723‐8909
HERNANDEZ, AURORA P        2021 S 11TH ST                                                                                            MILWAUKEE        WI     53204‐3827
HERNANDEZ, AURORA R        5053 JONFIELD AVE SE                                                                                      KENTWOOD         MI     49548‐7664
HERNANDEZ, BALTAZAR        1655 LAKE DR                          APT 109                                                             HASLETT          MI     48840‐8828
HERNANDEZ, BARBARA A       638 S SALMON ST                                                                                           NEWAYGO          MI     49337‐8541
HERNANDEZ, BEATRICE        2301 NORTH MASON                                                                                          SAGINAW          MI     48602‐5276
HERNANDEZ, BEATRICE        2301 N MASON ST                                                                                           SAGINAW          MI     48602‐5276
HERNANDEZ, BELEN
HERNANDEZ, BENNY D         727 N 75TH ST                                                                                             KANSAS CITY     KS      66112‐2828
HERNANDEZ, BETTY A         2249 WEST WILSON ROAD                                                                                     CLIO            MI      48420‐1645
HERNANDEZ, BETTY A         2249 W WILSON RD                                                                                          CLIO            MI      48420‐1645
HERNANDEZ, BETTY L         10813 THE BEND RD                                                                                         DEFIANCE        OH      43512‐9710
HERNANDEZ, BIBIANA         205 KIRMAN                                                                                                ROMEOVILLE      IL      60446‐1739
HERNANDEZ, BIBIANA         205 KIRMAN AVE                                                                                            ROMEOVILLE      IL      60446‐1739
HERNANDEZ, BLANCA          253 CALLE H                           ENEAS                                                               SAN GERMAN      PR      00683‐3774
HERNANDEZ, BLANCA D        76 PAULDING AVE                                                                                           TARRYTOWN       NY      10591
HERNANDEZ, BLANCA E        12020 W TOWNLINE RD                                                                                       SAINT CHARLES   MI      48655‐8722
HERNANDEZ, BRENDA          ROHAY RALPH J ESQ                     309 W LAKE MEAD PKWY STE B                                          HENDERSON       NV      89015‐7056
HERNANDEZ, BRENDA          WATTS LAW FIRM                        300 CONVENT STREET BANK OF                                          SAN ANTONIO     TX      78205
                                                                 AMERICA PLAZA SUITE 100
HERNANDEZ, BRENDA A.       PO BOX 19112                          1224 WEST STREET                                                    EVANSPORT       OH      43519‐0112
HERNANDEZ, BRENDA S        30248 HICKORY DR                                                                                          FLAT ROCK       MI      48134
HERNANDEZ, BRIZA           AIKEN SCHENK HAWKINS & RICCIARDI PC   4742 N 24TH ST STE 100                                              PHOENIX         AZ      85016‐4859

HERNANDEZ, CANDELARIO      4010 GREEN ST                                                                                             SAGINAW         MI      48638
HERNANDEZ, CANDIDO         1321 EL PASO DR                                                                                           LOS ANGELES     CA      90065‐4326
HERNANDEZ, CANDY S         4540 KEWEENAW DR                                                                                          OKEMOS          MI      48864‐1821
HERNANDEZ, CARLOS          1407 E ROMNEYA DR                                                                                         ANAHEIM         CA      92805‐1212
HERNANDEZ, CARLOS B        1010 W GENESEE ST                                                                                         LANSING         MI      48915‐1800
HERNANDEZ, CARLOS G        13659 VICTORY BLVD # 532                                                                                  VAN NUYS        CA      91401
HERNANDEZ, CARLOS M        736 WOODRING AVE                                                                                          PAULDING        OH      45879
HERNANDEZ, CARLOS M        208 S SUMMIT ST                                                                                           PAULDING        OH      45879‐1460
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Name                          Address1                        Address2            Address3         Address4               City               State   Zip
HERNANDEZ, CARLOS R           1209 RAINBOW MEADOW                                                                         LAS VEGAS           NV     89128
HERNANDEZ, CARLOS THOMAS      11150 FULLER STREET                                                                         GRAND BLANC         MI     48439‐1037
HERNANDEZ, CARMELO R          126 HUDSON AVE                                                                              PONTIAC             MI     48342‐1129
HERNANDEZ, CARMEN L           233 E EMBERCREST DR                                                                         ARLINGTON           TX     76018‐1438
HERNANDEZ, CAROLE E           1313 REED ST                                                                                SAGINAW             MI     48602‐5436
HERNANDEZ, CESAR D            3493 W 146TH ST                                                                             CLEVELAND           OH     44111‐2210
HERNANDEZ, CESARIO            3734 LAKE BLUE DRIVE                                                                        WINTER HAVEN        FL     33881‐1085
HERNANDEZ, CHRISTINA
HERNANDEZ, CHRISTINE N        9503 ALICIA LN                                                                              SHREVEPORT          LA     71118‐3201
HERNANDEZ, CHRISTINE NICOLE   9503 ALICIA LN                                                                              SHREVEPORT          LA     71118‐3201
HERNANDEZ, CHRISTOPHER        436 N MCCOMAS ST                                                                            WICHITA             KS     67203‐5270
HERNANDEZ, CLAUDIO            2616 LANIER LN                                                                              SAN JOSE            CA     95121‐2231
HERNANDEZ, CLAUDIO A          28534 WESTERLEIGH RD                                                                        FARMINGTON HILLS    MI     48334‐2774

HERNANDEZ, CONCEPCION         8410 MENTEITH TER                                                                           MIAMI LAKES        FL      33016‐1431
HERNANDEZ, CONCEPCION         412 RULF ST                                                                                 DEFIANCE           OH      43512‐3062
HERNANDEZ, CONCEPCION         242 SEGURA ST                                                                               SAN ANTONIO        TX      78237‐2341
HERNANDEZ, CONRAD J           7662 MILL RUN RD                                                                            FORT WAYNE         IN      46819‐1864
HERNANDEZ, CONSTANCE L        4184 S WASHINGTON RD                                                                        SAGINAW            MI      48601‐5161
HERNANDEZ, CRISTINA           HOLSTEIN TAYLOR UNITT & LAW     4300 LATHAM ST                                              RIVERSIDE          CA      92501‐1748
HERNANDEZ, CRISTOBAL S        10343 LYNX XING                                                                             SAN ANTONIO        TX      78251‐4074
HERNANDEZ, CRUZ               2716 BELLEVIEW AVE                                                                          KANSAS CITY        MO      64108‐3512
HERNANDEZ, CRUZ M             67 CANDLELITE LN                                                                            PONTIAC            MI      48340‐1604
HERNANDEZ, CYNTHIA L          37779 LOLA DR                                                                               STERLING HEIGHTS   MI      48312‐2047
HERNANDEZ, DANIEL             10301 LAKE AVE APT 505                                                                      CLEVELAND          OH      44102‐1276
HERNANDEZ, DANIEL             8306 PARK AVE                                                                               ALLEN PARK         MI      48101‐1736
HERNANDEZ, DANIEL M           1266 LOFTIN RD                                                                              COLUMBIA           TN      38401‐8051
HERNANDEZ, DANNY S            9052 CEDROS AVE APT 204                                                                     PANORAMA CITY      CA      91402‐1655
HERNANDEZ, DANNY S            1405 S ROCK BLVD APT E11                                                                    SPARKS             NV      89431
HERNANDEZ, DARCEY L           8454 E CARPENTER RD                                                                         DAVISON            MI      48423‐8915
HERNANDEZ, DARCEY LEE         8454 E CARPENTER RD                                                                         DAVISON            MI      48423‐8915
HERNANDEZ, DAVID              212 DANDRIDGE DR                                                                            FRANKLIN           TN      37067‐8400
HERNANDEZ, DAVID M            631 CAMPOLINA DR                                                                            GRAND PRAIRIE      TX      75052‐2557
HERNANDEZ, DAVID ULLOA
HERNANDEZ, DELFINA            6117 BALLARD DR                                                                             FLINT              MI      48505‐4801
HERNANDEZ, DELIA I            105 N WOODWARD AVE                                                                          WILMINGTON         DE      19805‐1145
HERNANDEZ, DELORES E          PO BOX 27373                                                                                LANSING            MI      48909‐7373
HERNANDEZ, DIANE T            11221 W MESA RUN 80125                                                                      LITTLETON          CO      80125
HERNANDEZ, DIEGO              GENERAL VALERO APT 607                                                                      SAN JUAN           PR      00924
HERNANDEZ, DOROTHY M          3355 WATKINS LAKE RD APT G1                                                                 WATERFORD          MI      48328‐1568
HERNANDEZ, E                  834 N ROCK LAKE DR                                                                          VESTABURG          MI      48891‐9472
HERNANDEZ, EDDIE              335 MILKY WAY DR                                                                            PULASKI            TN      38478‐7561
HERNANDEZ, EDGAR              5308 GROVE WOOD PL                                                                          RALEIGH            NC      27606‐1654
HERNANDEZ, EDNA L             24600 JOY RD TRLR 146                                                                       REDFORD            MI      48239‐1569
HERNANDEZ, EDUARDO            43 FOREST ST                                                                                RIVER ROUGE        MI      48218‐1510
HERNANDEZ, EDWARD             2100 ISABELL DR                                                                             TROY               MI      48083‐2308
HERNANDEZ, EDWARD Z           9280 FOREST LN                                                                              ALPENA             MI      49707‐9408
HERNANDEZ, EDWINA S           229 S DEMANADE BLVD                                                                         LAFAYETTE          LA      70503‐2545
HERNANDEZ, EFRAIN D           13634 COUNTY ROAD J                                                                         HOLGATE            OH      43527‐9721
HERNANDEZ, ELADIO             7108 NORTHVIEW DR                                                                           LOCKPORT           NY      14094‐5341
HERNANDEZ, ELEANOR            1380 COUNTY ROAD 310                                                                        CLYDE              OH      43410‐9733
HERNANDEZ, ELIAS F            250 SOUTH MILL STREET                                                                       KANSAS CITY        KS      66101‐3648
HERNANDEZ, ELIAS F            250 S MILL ST                                                                               KANSAS CITY        KS      66101‐3648
HERNANDEZ, ELIDA              2231 HETZNER DR                                                                             SAGINAW            MI      48603‐2527
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Name                     Address1                              Address2                     Address3   Address4               City            State Zip
HERNANDEZ, ELIJIO        515 VENTURA RD                                                                                       SANTA MARIA      CA 93455‐1703
HERNANDEZ, ELISA         4655 LOS ALAMOS WAY APT.B.                                                                           OCEANSIDE        CA 92057‐7826
HERNANDEZ, ELIZABETH
HERNANDEZ, ELIZABETH     AIKEN SCHENK HAWKINS & RICCIARDI PC   4742 N 24TH ST STE 100                                         PHOENIX         AZ   85016‐4859

HERNANDEZ, ELVA          628 MIDDLE COVE DR                                                                                   PLANO           TX   75023‐4802
HERNANDEZ, ELVIRA        855 SAYBROOK                                                                                         WATERFORD       MI   48327‐1853
HERNANDEZ, ELVIRA G      13405 COLDBROOK                                                                                      BELLFLOWER      CA   90706‐2475
HERNANDEZ, ELVIRA H      677 W HEIGHTS                                                                                        YOUNGSTOWN      OH   44509‐1805
HERNANDEZ, ELVIRA H      677 W HEIGHTS AVE                                                                                    YOUNGSTOWN      OH   44509‐1805
HERNANDEZ, EMERETA       278 BERNARD ST                                                                                       ROCHESTER       NY   14621‐4823
HERNANDEZ, EMILY H       1200 RUSSELL WAY                                                                                     HAYWARD         CA   94541‐7700
HERNANDEZ, EMMA          2252 LOCHNESS CIR                                                                                    CORONA          CA   92881‐3200
HERNANDEZ, EMMA          5255 N SEYMOUR RD                                                                                    FLUSHING        MI   48433‐1028
HERNANDEZ, ENRIQUE       421 FROST PROOF DR                                                                                   WESLACO         TX   78596‐4118
HERNANDEZ, EPIFANIA      121 W FAIRMOUNT AVE                                                                                  PONTIAC         MI   48340‐2737
HERNANDEZ, ERASMO        1517 INDIANA AVE                                                                                     LANSING         MI   48906‐4610
HERNANDEZ, ERIC E        901 SW WOODBRIDGE CT                                                                                 TOPEKA          KS   66606‐4600
HERNANDEZ, ERIC E.       901 SOUTHWEST WOODBRIDGE COURT                                                                       TOPEKA          KS   66606‐4600
HERNANDEZ, ERIC L        630 WEST HAZELHURST STREET                                                                           FERNDALE        MI   48220‐1887
HERNANDEZ, ERICK         ROOFIAN MICHAEL & ASSOCIATES          11766 WILSHIRE BLVD FL 6                                       LOS ANGELES     CA   90025‐6546
HERNANDEZ, ERNEST        3271 NW 44TH ST                                                                                      FT LAUDERDALE   FL   33309
HERNANDEZ, ERNEST        6720 FLAMEWOOD DR                                                                                    ARLINGTON       TX   76001‐7824
HERNANDEZ, ERNESTO       2920 IMLAY CITY RD                                                                                   LAPEER          MI   48446‐3226
HERNANDEZ, ESPERANZA R   8811 CANOGA AVE SPC 205                                                                              CANOGA PARK     CA   91304‐1504
HERNANDEZ, ESPERANZA R   8811 CANGA AVE SPACE 205                                                                             CANGA PARK      CA   91304‐1504
HERNANDEZ, ESTANISLADO   1201 KINGSTON AVE                                                                                    FLINT           MI   48507‐4786
HERNANDEZ, ESTHER M      4266 MONROE AVE                                                                                      WATERFORD       MI   48329‐4135
HERNANDEZ, ESTHER M.     4266 MONROE AVE                                                                                      WATERFORD       MI   48329‐4135
HERNANDEZ, EVA M         APT 601                               1261 5TH AVENUE                                                NEW YORK        NY   10029‐3862
HERNANDEZ, EVARISTO A    5161 CALVINE RD                                                                                      SACRAMENTO      CA   95823‐7200
HERNANDEZ, EVELYN J      77 FIDDIS AVE                                                                                        PONTIAC         MI   48342‐2713
HERNANDEZ, EVERADO       1045 GROVE ST                                                                                        DEFIANCE        OH   43512‐2934
HERNANDEZ, FATIMA
HERNANDEZ, FELIPE        129 SWALLOW RD                                                                                       ST AUGUSTINE    FL   32086‐6169
HERNANDEZ, FELIPE        3200 SOTO                                                                                            EDINBURG        TX   78542‐6484
HERNANDEZ, FELIX         THE LIPMAN LAW FIRM                   5915 PONCE DE LEON BLVD      SUITE 44                          CORAL GABLES    FL   33146
HERNANDEZ, FERNANDO      4358 MISSION RD APT 1                                                                                KANSAS CITY     KS   66103‐2778
HERNANDEZ, FERNANDO      4608 9TH ST                                                                                          ECORSE          MI   48229‐1075
HERNANDEZ, FLORENCIO     1124 E PEARL ST                                                                                      GREENVILLE      MI   48838‐1446
HERNANDEZ, FRANCIS       607 N GRANGER ST                                                                                     SAGINAW         MI   48602
HERNANDEZ, FRANCISCO     144 BLACKBERRY RUN TRAIL                                                                             DALLAS          GA   30132
HERNANDEZ, FRANCISCO     7685 DORWOOD RD                                                                                      BIRCH RUN       MI   48415‐8902
HERNANDEZ, FRANCISCO     1501 CHUKKA DR APT 105                                                                               ARLINGTON       TX   76012‐2563
HERNANDEZ, FRANCISCO J   1915 TIMBER RIDGE CT                                                                                 CEDAR HILL      TX   75104‐7823
HERNANDEZ, FRANK E       PO BOX 462                                                                                           MC FARLAND      CA   93250‐0462
HERNANDEZ, FRANK G       1750 CASTRO ST                                                                                       SAN LEANDRO     CA   94577‐3310
HERNANDEZ, FRANK V       209 WINTERWOOD DR                                                                                    SHREVEPORT      LA   71106‐7646
HERNANDEZ, FRANKIE       231 FOUNTAIN VW                                                                                      SHREVEPORT      LA   71118‐2951
HERNANDEZ, FRANKIE       CONSUMER LEGAL SERVICES               1950 SAWTELLE BLVD STE 245                                     LOS ANGELES     CA   90025‐7017
HERNANDEZ, GABRIEL       4911 ALEDA AVE SE                                                                                    KENTWOOD        MI   49508‐4766
HERNANDEZ, GELO S        PO BOX 444                                                                                           SANTA ROSA      TX   78593‐0444
HERNANDEZ, GELO SEGURA   14613 OAKWOOD LN                                                                                     BALCH SPRINGS   TX   75180‐3607
HERNANDEZ, GENARO
                             09-50026-mg             Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
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Name                         Address1                              Address2                           Address3   Address4                     City             State   Zip
HERNANDEZ, GEORGE            6109 S WILSON DR                                                                                                 CHANDLER          AZ     85249‐4974
HERNANDEZ, GEORGE            C/O THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD SUITE 44                                           CORAL GABLES      FL     33146
HERNANDEZ, GEORGE            9415 N FITZGERALD WAY                                                                                            MISSOURI CITY     TX     77459‐6246
HERNANDEZ, GEORGE A          PO BOX 1265                                                                                                      CLARKSTON         MI     48347‐1265
HERNANDEZ, GEORGE L          470 OLD ORCHARD DR APT 11                                                                                        ESSEXVILLE        MI     48732‐9516
HERNANDEZ, GERARD L          3317 E BROADMOOR DR                                                                                              LANSING           MI     48906‐9000
HERNANDEZ, GILBERT           6559 HAYFIELD LN                                                                                                 LOVES PARK         IL    61111‐1977
HERNANDEZ, GILBERT           ANGELOS PETER G LAW OFFICE            115 BROADWAY FRNT 3                                                        NEW YORK          NY     10006‐1638
HERNANDEZ, GILBERT R         1918 W ALEXIS RD APT K101                                                                                        TOLEDO            OH     43613‐2290
HERNANDEZ, GILBERT S         GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                NORFOLK           VA     23510
                                                                   STREET, SUITE 600
HERNANDEZ, GLORIA
HERNANDEZ, GLORIA CASTILLO   WATTS LAW FIRM                        300 CONVENT STREET BANK OF                                                 SAN ANTONIO       TX     78205
                                                                   AMERICA PLAZA SUITE 100
HERNANDEZ, GLORIA Y          56 FELIX ST                                                                                                      ROCHESTER         NY     14606‐2412
HERNANDEZ, GRACIELA          1653 N ALMOND                                                                                                    MESA              AZ     85213‐3410
HERNANDEZ, GRACIELA          TRACY FIRM                            5473 BLAIR RD STE 200                                                      DALLAS            TX     75231‐4168
HERNANDEZ, GRACIELA          4538 E COUNTY 14TH ST                                                                                            YUMA              AZ     85365‐4768
HERNANDEZ, GREGORIA          3200 SOTO DR.                                                                                                    EDINBURG          TX     78542‐6484
HERNANDEZ, GREGORIO          11218 W SUNFLOWER PL                                                                                             AVONDALE          AZ     85392‐3626
HERNANDEZ, GUADALUPE         4869 WEISS ST                                                                                                    SAGINAW           MI     48603‐3855
HERNANDEZ, GUADALUPE M       363 WHITE PINE CIR                                                                                               FLORENCE          KY     41042‐3389
HERNANDEZ, GUADALUPE P       5610 GEORGE ST APT 1                                                                                             SAGINAW           MI     48603
HERNANDEZ, GUADALUPE TORIZ   49‐BSUR 4717                          ESTRELLAS DEL SUR 72190                       ESTRELLAS DEL SUR PU 72190
                                                                                                                 MEXICO
HERNANDEZ, GUSTAVO           WATTS LAW FIRM                        300 CONVENT ST STE 100                                                     SAN ANTONIO       TX     78205‐3705
HERNANDEZ, GUSTAVO
HERNANDEZ, GUSTAVO C         4900 E 115TH CT                                                                                                  DENVER            CO     80233‐2729
HERNANDEZ, GUSTAVO JR        ROHAY RALPH J ESQ                     309 W LAKE MEAD PKWY STE B                                                 HENDERSON         NV     89015‐7056
HERNANDEZ, HEATHER MARIE     60 E NEW YORK AVE                                                                                                PONTIAC           MI     48340‐1247
HERNANDEZ, HECTOR            12544 PEARL ST                                                                                                   SOUTHGATE         MI     48195‐3525
HERNANDEZ, HECTOR ARMANDO    AIKEN SCHENK HAWKINS & RICCIARDI PC   4742 N 24TH ST STE 100                                                     PHOENIX           AZ     85016‐4859

HERNANDEZ, HECTOR M          1474 PEBBLE BEACH DR                                                                                             PONTIAC          MI      48340‐1366
HERNANDEZ, HECTOR X          1262 FLICKINGER AVE                                                                                              SAN JOSE         CA      95131‐2813
HERNANDEZ, HELIBERT          133 TAPPAN ST                                                                                                    KEARNY           NJ      07032‐3316
HERNANDEZ, HENRY             9760 MONROE ROAD                                                                                                 SAINT HELEN      MI      48656‐9638
HERNANDEZ, HENRY             9760 MONROE RD                                                                                                   SAINT HELEN      MI      48656‐9638
HERNANDEZ, HENRY M           1 MATADERO CT                                                                                                    SACRAMENTO       CA      95833‐1406
HERNANDEZ, HENRY M           929 ARDSLEY DR                                                                                                   INDIANAPOLIS     IN      46234‐2141
HERNANDEZ, HUMBERTO          6039 COLLINS AVE APT 1237                                                                                        MIAMI BEACH      FL      33140‐2275
HERNANDEZ, INEZ S            2706 DAVISON AVE                                                                                                 AUBURN HILLS     MI      48326‐2021
HERNANDEZ, INEZ S            17933 BIRCH DR                                                                                                   MACOMB           MI      48044‐4114
HERNANDEZ, INGEBORG          12253 PITCAIRN ST                                                                                                BROOKSVILLE      FL      34613‐4733
HERNANDEZ, IRENE G           11560 DOWNING RD                                                                                                 BIRCH RUN        MI      48415‐9212
HERNANDEZ, ISAAC             2518 S 76TH ST                                                                                                   WEST ALLIS       WI      53219‐2455
HERNANDEZ, ISABEL            184 SUBURBAN ST                                                                                                  ECORSE           MI      48229‐1049
HERNANDEZ, ISABEL            209 MICHIGAN DR                                                                                                  BRYAN            OH      43506‐8948
HERNANDEZ, ISMAEL            WATTS LAW FIRM                        300 CONVENT ST STE 100                                                     SAN ANTONIO      TX      78205‐3705
HERNANDEZ, ISMAEL
HERNANDEZ, J I
HERNANDEZ, J JR
HERNANDEZ, JACOB P           1010 DOWNEY ST                                                                                                   FLINT             MI     48503‐3173
HERNANDEZ, JAIME ALEJANDRO   EDWARDS LAW FIRM                      PO BOX 480                                                                 CORPUS CHRISTI    TX     78403‐0480
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Name                         Address1                              Address2                          Address3   Address4               City              State   Zip
HERNANDEZ, JAMES             WOODFILL SALAZAR & PRESSLER           13750 SAN PEDRO AVE STE 600                                         SAN ANTONIO        TX     78232‐4370
HERNANDEZ, JAMES             RAMIREZ & GARZA LLP                   509 N SAN ANTONIO ST                                                RIO GRANDE CITY    TX     78582‐3229
HERNANDEZ, JANINE            CARCIONE JOSEPH W JR LAW OFFICES OF   PO BOX 3389                                                         REDWOOD CITY       CA     94064‐3389

HERNANDEZ, JAVIER            CLARK DEPEW LLP                       440 LOUISIANA ST STE 1600                                           HOUSTON            TX     77002‐1638
HERNANDEZ, JAVIER U          13581 GAGER ST                                                                                            PACOIMA            CA     91331‐3844
HERNANDEZ, JAZMIN            WOODFILL SALAZAR & PRESSLER           13750 SAN PEDRO AVE STE 600                                         SAN ANTONIO        TX     78232‐4370
HERNANDEZ, JEFFREY BROOKS
HERNANDEZ, JEFFREY D         1314 SOUTH MAIN STREET                                                                                    EATON RAPIDS       MI     48827‐1921
HERNANDEZ, JENNA L           5389 CONESTOGA DR                                                                                         FLUSHING           MI     48433‐1249
HERNANDEZ, JESS J            123 CREEKSIDE DR                                                                                          COLUMBIA           TN     38401‐6527
HERNANDEZ, JESSE             855 SAYBROOK DR                                                                                           WATERFORD          MI     48327‐2585
HERNANDEZ, JESSE             CARONNA JOHNSON & HODDICK LLP         71650 SAHARA RD STE 2                                               RANCHO MIRAGE      CA     92270‐4336
HERNANDEZ, JESSE W           155 BOYKEN RD                                                                                             ROCHESTER HLS      MI     48307‐3807
HERNANDEZ, JESSIE            20061 ARROYO AVE                                                                                          LYNWOOD            IL     60411‐1527
HERNANDEZ, JESUS             2651 BIDDLE AVE APT 319                                                                                   WYANDOTTE          MI     48192‐5254
HERNANDEZ, JESUS             WATTS LAW FIRM                        300 CONVENT STREET BANK OF                                          SAN ANTONIO        TX     78205
                                                                   AMERICA PLAZA SUITE 100
HERNANDEZ, JESUS A           2021 MOUNT OSO WAY                                                                                        MODESTO           CA      95358‐6314
HERNANDEZ, JESUS C           455 MARGARET AVE                                                                                          LOS ANGELES       CA      90022‐2638
HERNANDEZ, JESUS M           17105 ABLE DR                                                                                             EDINBURG          TX      78539
HERNANDEZ, JESUS P           33557 10TH ST                                                                                             UNION CITY        CA      94587‐2338
HERNANDEZ, JESUS P           14945 BLEEKER ST                                                                                          SYLMAR            CA      91342‐5235
HERNANDEZ, JESUS V           6735 WHITE TAIL LN                                                                                        ARLINGTON         TX      76002‐3530
HERNANDEZ, JESUS VELAQUEZ    6735 WHITE TAIL LN                                                                                        ARLINGTON         TX      76002‐3530
HERNANDEZ, JESUSA            227 N JOHN DALY RD                                                                                        DEARBORN HTS      MI      48127‐3702
HERNANDEZ, JIM C             557 N OVID ST                                                                                             ELSIE             MI      48831‐9622
HERNANDEZ, JOANN KHRISTINE   921 COLLEGE AVE NE                                                                                        GRAND RAPIDS      MI      49503‐1750
HERNANDEZ, JOANNE            1538 AVENIDA ENTRADA                                                                                      SAN DIMAS         CA      91773‐4006
HERNANDEZ, JOE J             2155 HUBBARD LN                                                                                           GRANTS PASS       OR      97527‐6322
HERNANDEZ, JOE L             1027 RG CURTISS AVE                                                                                       LANSING           MI      48911
HERNANDEZ, JOE N             1109 ZACHARY DR                                                                                           MOORE             OK      73160‐8537
HERNANDEZ, JOE P             1039 HOLTSLANDER AVE                                                                                      FLINT             MI      48505‐1622
HERNANDEZ, JOEANN            357 N HOSPITAL RD                                                                                         WATERFORD         MI      48327
HERNANDEZ, JOHN              7304 W 115TH ST                                                                                           OVERLAND PARK     KS      66210‐1802
HERNANDEZ, JOHN              177 COLEBOURNE RD                                                                                         ROCHESTER         NY      14609‐6728
HERNANDEZ, JOHN              BRAYTON PURCELL                       PO BOX 6169                                                         NOVATO            CA      94948‐6169
HERNANDEZ, JOHN A            1460 ORANGE ST                                                                                            RED BLUFF         CA      96080‐4113
HERNANDEZ, JOHN C            629 SLATER ST                                                                                             ALMA              MI      48801‐2815
HERNANDEZ, JOHN H            17 16TH ST                                                                                                CAMPBELL          OH      44405‐1928
HERNANDEZ, JOHN M            6522 TULOCAY CT                                                                                           BAKERSFIELD       CA      93312
HERNANDEZ, JOHNNY R          8941 VALLEY VIEW AVE                                                                                      WHITTIER          CA      90605‐1721
HERNANDEZ, JORGE             8454 E CARPENTER RD                                                                                       DAVISON           MI      48423‐8915
HERNANDEZ, JORGE             PO BOX 1426                                                                                               SANTA CRUZ        NM      87567‐1426
HERNANDEZ, JOSE              4570 MONITOR RD                                                                                           BAY CITY          MI      48706‐9203
HERNANDEZ, JOSE              211 E 2ND ST                                                                                              DEFIANCE          OH      43512‐2248
HERNANDEZ, JOSE              7852 SUNRISE MIST WAY                                                                                     SACRAMENTO        CA      95828‐5387
HERNANDEZ, JOSE              2740 COLUMBIA CT                                                                                          NORTH LAS VEGAS   NV      89030‐4644
HERNANDEZ, JOSE              612 WATKINS DR                                                                                            COLUMBIA          TN      38401‐6002
HERNANDEZ, JOSE              PANISH SHEA & BOYLE                   11111 SANTA MONICA BLVD STE 700                                     LOS ANGELES       CA      90025‐3341
HERNANDEZ, JOSE A            7726 GREENBRIER DR NE                                                                                     ROCKFORD          MI      49341‐8520
HERNANDEZ, JOSE A            30901 S STATE ROUTE F                                                                                     GARDEN CITY       MO      64747‐8249
HERNANDEZ, JOSE ANGEL        305 MILFORD CT APT 16                                                                                     DAVISON           MI      48423‐1696
HERNANDEZ, JOSE C            3603 TANKERLAND CT 25                                                                                     SAN JOSE          CA      95121
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Name                         Address1                      Address2                       Address3   Address4               City           State   Zip
HERNANDEZ, JOSE G            6415 HORATIO ST                                                                                DETROIT         MI     48210‐2370
HERNANDEZ, JOSE L            2112 ADAMS BLVD                                                                                SAGINAW         MI     48602‐3007
HERNANDEZ, JOSE LUIS         WATTS LAW FIRM                300 CONVENT ST STE 100                                           SAN ANTONIO     TX     78205‐3705
HERNANDEZ, JOSE MANUEL
HERNANDEZ, JOSE MARTINEZ
HERNANDEZ, JOSE R            APT H11                       1821 WEST GRAND RIVER AVENUE                                     OKEMOS          MI     48864‐1867
HERNANDEZ, JOSE S            1411 ORANGEWOOD ST                                                                             LA HABRA        CA     90631‐7442
HERNANDEZ, JOSEFA            27 WEBBER CIR                                                                                  ROCHESTER       NY     14626‐4014
HERNANDEZ, JOSEPH            PO BOX 83                                                                                      TAWAS CITY      MI     48764‐0083
HERNANDEZ, JOSEPH            PO BOX 177                                                                                     FREELAND        MI     48623‐0177
HERNANDEZ, JOSEPH G          30657 JOY RD                                                                                   WESTLAND        MI     48185‐1778
HERNANDEZ, JOSEPH GUADALUP   30657 JOY RD                                                                                   WESTLAND        MI     48185‐1778
HERNANDEZ, JOSEPH S          9 EAKMAN DR                                                                                    GARNERVILLE     NY     10923‐1415
HERNANDEZ, JOSEPHINE         33849 8TH ST                                                                                   UNION CITY      CA     94587‐3414
HERNANDEZ, JOSEPHINE         83 ELIZABETH WAY              C/O WILLIAM R HERNANDEZ                                          SAN RAFAEL      CA     94901‐1151
HERNANDEZ, JUAN              14751 REDWOOD ST                                                                               ADELANTO        CA     92301‐4809
HERNANDEZ, JUAN A            18090 SW 136TH ST                                                                              MIAMI           FL     33196‐1974
HERNANDEZ, JUAN B            ANGELOS PETER G LAW OFFICES   60 WEST BROAD ST                                                 BETHLEHEM       PA     18018
HERNANDEZ, JUAN SANCHEZ      TRACY FIRM                    5473 BLAIR RD STE 200                                            DALLAS          TX     75231‐4168
HERNANDEZ, JUAN V            1299 W CASS AVE                                                                                FLINT           MI     48505‐1303
HERNANDEZ, JUAN VASQUEZ      1299 W CASS AVE                                                                                FLINT           MI     48505‐1303
HERNANDEZ, JUANITA           3317 E BROADMOOR DR                                                                            LANSING         MI     48906‐9000
HERNANDEZ, JUANITA G         805 PARK CIR                                                                                   CLIO            MI     48420‐2308
HERNANDEZ, JUANITA G         805 PARK CIRCLE                                                                                CLIO            MI     48420
HERNANDEZ, JULIA             ROHAY RALPH J ESQ             309 W LAKE MEAD PKWY STE B                                       HENDERSON       NV     89015‐7056
HERNANDEZ, JULIAN            CONSUMER LEGAL SERVICES       1950 SAWTELLE BLVD STE 245                                       LOS ANGELES     CA     90025‐7017
HERNANDEZ, JULIAN            PO BOX 1334                                                                                    QUEEN CREEK     AZ     85242‐1334
HERNANDEZ, JULIAN            P.O. BOX 1334                                                                                  QUEEN CREEK     AZ     85242‐1334
HERNANDEZ, JULIAN R          1454 JUBAL CT                                                                                  OAKDALE         CA     95361‐9672
HERNANDEZ, JUSTINIANO        668 CALLE URUGUAY                                                                              BAYAMON         PR     00959‐5655
HERNANDEZ, KARIN L           1202 WALDMAN AVE                                                                               FLINT           MI     48507‐1549
HERNANDEZ, KARIN LYNN        1202 WALDMAN AVE                                                                               FLINT           MI     48507‐1549
HERNANDEZ, KERI              2517 TIFFIN ST                                                                                 FLINT           MI     48504‐7727
HERNANDEZ, KIM               1509 W JOLLY RD                                                                                LANSING         MI     48910‐5132
HERNANDEZ, KIM E             466 SENECA ST                                                                                  BUFFALO         NY     14204‐2054
HERNANDEZ, LARRY B           9688 RINCON AVE                                                                                PACOIMA         CA     91331‐4151
HERNANDEZ, LAURI             206 FOLK ST                                                                                    POTTERVILLE     MI     48876‐9791
HERNANDEZ, LAWRENCE V        43 ELIZABETH LK RD APT 3                                                                       PONTIAC         MI     48341
HERNANDEZ, LEO A             GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA     23510
                                                           STREET, SUITE 600
HERNANDEZ, LEONARD           3032 SALINA ST                                                                                 SAGINAW         MI     48601‐3715
HERNANDEZ, LEONARDA C        15 W LAKE HOWARD DR NW                                                                         WINTER HAVEN    FL     33880
HERNANDEZ, LIDIA V           2219 DEATA CT                                                                                  SAINT CLOUD     FL     34772‐8578
HERNANDEZ, LINDA             400 W JOLLY RD                                                                                 LANSING         MI     48910‐6675
HERNANDEZ, LISA G            113 WESTWARD HO DR                                                                             NORTHLAKE       IL     60164‐1629
HERNANDEZ, LIZVETTE
HERNANDEZ, LOLITA M          1419 NICOLET PL                                                                                DETROIT         MI     48207‐2804
HERNANDEZ, LOUIS R           PO BOX 20456                                                                                   SAGINAW         MI     48602‐0456
HERNANDEZ, LUCIA G           13438 WOOD ROAD                                                                                BATH            MI     48808‐8408
HERNANDEZ, LUCIA G           13438 WOOD RD                                                                                  BATH            MI     48808‐8408
HERNANDEZ, LUIS              4107 KETCHAM ST                                                                                SAGINAW         MI     48601‐4168
HERNANDEZ, LUIS              1793 H ST                                                                                      UNION CITY      CA     94587‐3355
HERNANDEZ, LUPE              APT 127                       4608 SOUTH ISABELLA ROAD                                         MT PLEASANT     MI     48858‐7060
HERNANDEZ, MACRINA           FARRAR & BALL LLP             1010 LAMAR ST STE 1600                                           HOUSTON         TX     77002‐6325
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Name                      Address1                           Address2                       Address3   Address4               City               State Zip
HERNANDEZ, MACRINA
HERNANDEZ, MANUEL         HC 1 BOX 8552                                                                                       LUQUILLO           PR    00773‐9589
HERNANDEZ, MANUEL         5750 COLLINS AVE APT 3K                                                                             MIAMI BEACH        FL    33140‐2316
HERNANDEZ, MANUEL         BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH    44067
                                                             PROFESSIONAL BLDG
HERNANDEZ, MANUEL         6156 BALLARD DR                                                                                     FLINT               MI   48505‐4800
HERNANDEZ, MANUEL         2792 E FISHER RD                                                                                    BAY CITY            MI   48706‐3020
HERNANDEZ, MANUEL         501 E DEWEY ST                                                                                      FLINT               MI   48505‐4210
HERNANDEZ, MANUEL B       1787 KUHL KORT                                                                                      ESSEXVILLE          MI   48732‐9609
HERNANDEZ, MANUELA        1321 EL PASO DRIVE                                                                                  LOS ANGELES         CA   90065‐4326
HERNANDEZ, MARC A         5511 KANLOW DR                                                                                      NAPERVILLE          IL   60564‐4963
HERNANDEZ, MARCELIN       2075 RILEY RD                                                                                       CARO                MI   48723‐9575
HERNANDEZ, MARCELO G      6860 WALTERS ROAD                                                                                   CLARKSTON           MI   48346‐2252
HERNANDEZ, MARCIA G       20961 POWERS AVE                                                                                    DEARBORN HEIGHTS    MI   48125‐2818

HERNANDEZ, MARCIA G       20961 POWERS                                                                                        DEARBORN HEIGHTS    MI   48125‐2818

HERNANDEZ, MARGARET H     1131 RIPLEY RD                                                                                      LINDEN              MI   48451‐9416
HERNANDEZ, MARGARITA      1056 LIVERNOIS AVE                                                                                  DETROIT             MI   48209‐2319
HERNANDEZ, MARGARITA S    P O BOX 241076                                                                                      SAN ANTONIO         TX   78224‐8076
HERNANDEZ, MARIA
HERNANDEZ, MARIA D        7920 N FOUNTAIN PARK APT 134                                                                        WESTLAND           MI    48185‐4561
HERNANDEZ, MARIA D        922 W LEE DRIVE                                                                                     SANTA MARIA        CA    93458
HERNANDEZ, MARIA E        1513 DAGLEY                                                                                         SAGINAW            MI    48601
HERNANDEZ, MARIA E        1206 BROOKLAWN DR                                                                                   ARLINGTON          TX    76018‐2952
HERNANDEZ, MARIA ELENA    WATTS LAW FIRM                     300 CONVENT ST STE 100                                           SAN ANTONIO        TX    78205‐3705
HERNANDEZ, MARIA L        9210 MASON PL APT 1                                                                                 DETROIT            MI    48209‐0929
HERNANDEZ, MARIA MUNOZ    TRACY FIRM                         5473 BLAIR RD STE 200                                            DALLAS             TX    75231‐4168
HERNANDEZ, MARIA S        4850 HARRISON ST                                                                                    WAYNE              MI    48184‐2219
HERNANDEZ, MARIBEL        24 PHILLIPS RD FL 101A2                                                                             SOMERSET           NJ    08873
HERNANDEZ, MARIE C        166 MACKINAW ST                                                                                     BUFFALO            NY    14204‐2636
HERNANDEZ, MARIO          2129 EYMER ST                                                                                       SAGINAW            MI    48602‐2724
HERNANDEZ, MARIO          521 RALSTON AVE                                                                                     DEFIANCE           OH    43512‐1555
HERNANDEZ, MARIO          405 BRIAN GARTH 2D                                                                                  HAVRE DE GRACE     MD    21078
HERNANDEZ, MARIO          2023 MODOC RD                                                                                       SANTA BARBARA      CA    93101‐3921
HERNANDEZ, MARIO A        34910 SEA CLIFF TER                                                                                 FREMONT            CA    94555‐3250
HERNANDEZ, MARIO D        3502 KIRK RD                                                                                        YOUNGSTOWN         OH    44511‐2048
HERNANDEZ, MARISEL        40732 OLIVET DR                                                                                     STERLING HEIGHTS   MI    48313‐4342
HERNANDEZ, MARISOL A      1992 PALMS ST                                                                                       DETROIT            MI    48209‐1644
HERNANDEZ, MARTHA         526 JACK PINE CT                                                                                    INDIANAPOLIS       IN    46224‐7100
HERNANDEZ, MARTHA A       4606 N. MONTICELLO AVE             APT 2 N.                                                         CHICAGO            IL    60625
HERNANDEZ, MARTIN         6043 NORSE                                                                                          SAN ANTONIO        TX    78240‐5711
HERNANDEZ, MARTIN R       RT#3 BOX 311                                                                                        DELTA              OH    43515
HERNANDEZ, MARY H         2701 N DECATUR BLVD APT 2045                                                                        LAS VEGAS          NV    89108‐2963
HERNANDEZ, MARY T         1218 SOUTH PARK                                                                                     SAGINAW            MI    48601‐2710
HERNANDEZ, MARYANN S      9318 RAWSONVILLE RD                                                                                 BELLEVILLE         MI    48111‐9205
HERNANDEZ, MATHEW G       5708 MICHAEL DR                                                                                     BAY CITY           MI    48706‐3166
HERNANDEZ, MELISSA A      10016 ALONDRA ST                                                                                    SHREVEPORT         LA    71115‐3403
HERNANDEZ, MELISSA A      7911 SPRING HILL ST                                                                                 CHINO              CA    91708‐7621
HERNANDEZ, MELISSA ANNE   10016 ALONDRA ST                                                                                    SHREVEPORT         LA    71115‐3403
HERNANDEZ, MICAILA G      4833 MACKINAW RD                                                                                    SAGINAW            MI    48603
HERNANDEZ, MICHAEL D      2928 CROWN PT                                                                                       CORTLAND           OH    44410‐9210
HERNANDEZ, MICHAEL G      9286 EAGLE HILL DR                                                                                  CLARKSTON          MI    48346‐1824
HERNANDEZ, MICHAEL J      340 N TOPPING AVE                                                                                   KANSAS CITY        MO    64123‐1536
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Name                        Address1                           Address2                        Address3   Address4                    City               State   Zip
HERNANDEZ, MICHAEL L        1058 CHAMPAIGN RD                                                                                         LINCOLN PARK        MI     48146‐2906
HERNANDEZ, MIGUEL           1724 SPARGER RD                                                                                           MOUNT AIRY          NC     27030‐7564
HERNANDEZ, MIGUEL A         4761 NE 6TH AVE                                                                                           FT LAUDERDALE       FL     33334‐2330
HERNANDEZ, MIGUEL E         5721 N LENOX AVE                                                                                          KANSAS CITY         MO     64151‐2723
HERNANDEZ, MIGUEL V         644 RIVERSIDE AVE                                                                                         DEFIANCE            OH     43512‐2884
HERNANDEZ, MODESTO          228 BRAINARD DR                                                                                           BOARDMAN            OH     44512‐2803
HERNANDEZ, MOIS G           11421 RINCON AVE                                                                                          SAN FERNANDO        CA     91340‐4140
HERNANDEZ, MOISES G         5 CALLE ROBERTO DIAZ               URB LAS MUESAS CALLE ROBERTO                                           CAYEY               PR     00736‐5548
HERNANDEZ, MOISES G         URB LAS MUESAS CALLE ROBERTO DIA   CALLE ROBERTO DIAZ 5                                                   CAYEY               PR     00736
HERNANDEZ, MYRNA            2705 FERRIS RD                                                                                            WILMINGTON          DE     19805‐1128
HERNANDEZ, NAHUN A          2104 HICKORY DR                                                                                           CARROLLTON          TX     75006‐3129
HERNANDEZ, NICHOLAS D       3414 RUSSELL ST                                                                                           SAGINAW             MI     48601‐4743
HERNANDEZ, NICOLE O         4401 DIXON DR                                                                                             SWARTZ CREEK        MI     48473‐8279
HERNANDEZ, NOEL P           4770 COUNTRY WAY WEST                                                                                     SAGINAW             MI     48603
HERNANDEZ, NOEMI            PO BOX 427                                                                    CULEBRA 00775 PURETO RICO

HERNANDEZ, OBDULIO
HERNANDEZ, OCTAVIO M        10815 HADDON AVE                                                                                          PACOIMA            CA      91331‐2838
HERNANDEZ, OFELIA R         PO BOX 285                                                                                                LEIPSIC            OH      45856‐0285
HERNANDEZ, OLGA E           492 N ANNA LN                                                                                             ROMEOVILLE         IL      60446‐5283
HERNANDEZ, OLIMPIA M        APT 17C                            1230 NORTH STATE PARKWAY                                               CHICAGO            IL      60610‐2287
HERNANDEZ, OLIVIA           3526 LIONS HEAD LN                                                                                        SAGINAW            MI      48601‐7033
HERNANDEZ, OLIVIA HURTADO
HERNANDEZ, ORALIA           4417 S 15TH ST                                                                                            MILWAUKEE           WI     53221‐2319
HERNANDEZ, OSCAR            KROHN & MOSS ‐ IL                  120 WEST MADISON STREET, 10TH                                          CHICAGO             IL     60602
                                                               FLOOR
HERNANDEZ, PABLO            139 ZENITH CIR                                                                                            FORT MYERS          FL     33913
HERNANDEZ, PABLO            426 N W 57TH AVENUE                                                                                       MIAMI               FL     33126‐4811
HERNANDEZ, PABLO            426 NW 57TH AVE                                                                                           MIAMI               FL     33126‐4811
HERNANDEZ, PAMELA           246 ORONOQUE RD                                                                                           MILFORD             CT     06461‐1851
HERNANDEZ, PAMELA K         17130 DIANE DR                                                                                            DAVISBURG           MI     48350
HERNANDEZ, PATRICIA
HERNANDEZ, PATRICIA         6156 MARTIN                                                                                               DETROIT             MI     48210‐1655
HERNANDEZ, PATRICIA         6156 MARTIN ST                                                                                            DETROIT             MI     48210‐1655
HERNANDEZ, PATRICK          P O 171                                                                                                   SHEPHERD            MI     48883
HERNANDEZ, PAUL             2249 WEST WILSON ROAD                                                                                     CLIO                MI     48420‐1645
HERNANDEZ, PAUL             2249 W WILSON RD                   WEST WILSON ROAD                                                       CLIO                MI     48420‐1645
HERNANDEZ, PAUL T           2511 RICHELIEU AVE                                                                                        LOS ANGELES         CA     90032‐3240
HERNANDEZ, PAULA            2300 BELAIRE DR                                                                                           LANSING             MI     48911‐1611
HERNANDEZ, PEDRO            43457 JEROME AVE                                                                                          FREMONT             CA     94539‐5716
HERNANDEZ, PEDRO            72 NINHAM AVE                                                                                             WAPPINGERS FALLS    NY     12590‐6024

HERNANDEZ, PEDRO            14639 SAN BRUNO DR                                                                                        LA MIRADA          CA      90638‐4433
HERNANDEZ, PEDRO B          18 WEST 140 SUFFIELD CRT           UNIT 114 G                                                             WESTMONT           IL      60559
HERNANDEZ, PETER            PO BOX 416                                                                                                MONTROSE           MI      48457‐0416
HERNANDEZ, PETRA G          1478 HERVEY LN                                                                                            SAN JOSE           CA      95125‐1846
HERNANDEZ, PHILIP           WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                                        NEW YORK           NY      10038
HERNANDEZ, PHILIP R.        6149 NORTHWOOD CIRCLE                                                                                     WHITE LAKE         MI      48383‐3565
HERNANDEZ, PHILLIP J        31502 SCHOENHERR APT.B‐6                                                                                  WARREN             MI      48088
HERNANDEZ, PHILLIP JOHN     31502 SCHOENHERR APT.B‐6                                                                                  WARREN             MI      48088
HERNANDEZ, PLACIDO F        35881 DERING PL                                                                                           FREMONT            CA      94536‐3414
HERNANDEZ, PRICILIANO C     1191 PEMBROKE DR                                                                                          SAN JOSE           CA      95131‐2837
HERNANDEZ, PRIMITIVO G      PO BOX 562                                                                                                HOLGATE            OH      43527‐0562
HERNANDEZ, RACHEL
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Name                   Address1                      Address2                     Address3   Address4               City               State   Zip
HERNANDEZ, RALPH       34106 E SPENCER RD                                                                           OAK GROVE           MO     64075‐7035
HERNANDEZ, RAMIRO D    16803 LONDELIUS ST                                                                           NORTHRIDGE          CA     91343‐4549
HERNANDEZ, RAMON       2277 E BRISTOL RD                                                                            BURTON              MI     48529‐1326
HERNANDEZ, RAMON       12108 BELLOWS CT                                                                             EL PASO             TX     79936‐0316
HERNANDEZ, RAMON       4540 KEWEENAW DR                                                                             OKEMOS              MI     48864‐1821
HERNANDEZ, RAUL        5738 ASHLEY DR                                                                               LANSING             MI     48911‐4804
HERNANDEZ, RAUL        N26 CALLE 23                                                                                 BAYAMON             PR     00959‐8104
HERNANDEZ, RAUL M      3641 59 PLACE                                                                                HUNTINGTON PARK     CA     90255

HERNANDEZ, RAY         105 CLAY ST                                                                                  ITHACA             MI      48847‐9511
HERNANDEZ, RAYMOND     1627 SW 136TH PL                                                                             MIAMI              FL      33175‐1052
HERNANDEZ, RAYMOND     13021 K16 HWY                                                                                VALLEY FALLS       KS      66088‐4129
HERNANDEZ, RAYMOND     3526 LIONS HEAD LN                                                                           SAGINAW            MI      48601‐7033
HERNANDEZ, RAYMOND A   13021 K16 HWY                                                                                VALLEY FALLS       KS      66088‐4129
HERNANDEZ, RAYMOND P   2375 E CHURCH ST                                                                             DES PLAINES        IL      60016‐3703
HERNANDEZ, REBECCA C   16781 VERNA LN                                                                               YORBA LINDA        CA      92886‐2133
HERNANDEZ, REBECCA J   17500 WESTRIDGE RD                                                                           TONGANOXIE         KS      66086‐5255
HERNANDEZ, REFUGIO R   736 WOODREIN AVE                                                                             PAULDING           OH      45879
HERNANDEZ, REFUGIO R   736 WOODRING AVE                                                                             PAULDING           OH      45879‐1059
HERNANDEZ, REUBEN      108 W MASON ST                                                                               FORT WORTH         TX      76110‐6221
HERNANDEZ, REUBEN R    201 N MELBORN ST                                                                             DEARBORN           MI      48128
HERNANDEZ, RICARDO     10089 KOLB AVE                                                                               ALLEN PARK         MI      48101‐1231
HERNANDEZ, RICARDO     3902 NILES CARVER RD                                                                         MINERAL RIDGE      OH      44440‐9516
HERNANDEZ, RICARDO     23165 WEST FAIRWAY DRIVE                                                                     WOODHAVEN          MI      48183‐3110
HERNANDEZ, RICARDO     1544 S DOWLING ST                                                                            WESTLAND           MI      48186‐4068
HERNANDEZ, RICARDO A   6860 ABBOTT AVE APT 1                                                                        MIAMI BEACH        FL      33141‐3800
HERNANDEZ, RICHARD     7009 HALL RD                                                                                 DAVISBURG          MI      48350‐2527
HERNANDEZ, RICHARD     425 ROCKHURST RD                                                                             BOLINGBROOK        IL      60440‐2407
HERNANDEZ, RICHARD     1618 ORIOLE AVE                                                                              SAN LEANDRO        CA      94578‐2040
HERNANDEZ, RICHARD G   PETZE JOHN E LAW OFFICES OF   205 CLAYDELLE AVE STE 101                                      EL CAJON           CA      92020‐4555
HERNANDEZ, RICK        5400 PALMER ST                                                                               DEARBORN           MI      48126‐2823
HERNANDEZ, ROBERT B    3702 FRANKFORD RD APT 11308                                                                  DALLAS             TX      75287‐7807
HERNANDEZ, ROBERT J    2845 SANTA PAULA CT                                                                          SACRAMENTO         CA      95821‐6007
HERNANDEZ, ROBERT M    11406 RINCON AVE                                                                             SAN FERNANDO       CA      91340‐4141
HERNANDEZ, ROBERT P    138 MCCLEARY CT                                                                              SAGAMORE HILLS     OH      44067‐3299
HERNANDEZ, ROBERTO     6075 E HOLLAND RD                                                                            SAGINAW            MI      48601‐9410
HERNANDEZ, ROBERTO H   13769 GLAMIS ST                                                                              ARLETA             CA      91331‐5462
HERNANDEZ, ROBERTO R   HC 3 BOX 35301                                                                               MOROVIS            PR      00687
HERNANDEZ, ROBERTO R   9775 W. M‐21                                                                                 OVID               MI      48866
HERNANDEZ, ROCIO
HERNANDEZ, RODOLFO A   PO BOX 478914                                                                                CHICAGO             IL     60647‐8914
HERNANDEZ, RODRIGO G   23346 BURBANK BLVD                                                                           WOODLAND HILLS      CA     91367‐4106
HERNANDEZ, ROGELIO     9603 MULLER ST                                                                               DOWNEY              CA     90241‐3034
HERNANDEZ, ROMULO L    20574 MILBANK ST                                                                             TRENTON             MI     48183
HERNANDEZ, ROSARIO
HERNANDEZ, ROSARIO     ROHAY RALPH J ESQ             309 W LAKE MEAD PKWY STE B                                     HENDERSON          NV      89015‐7056
HERNANDEZ, ROSEMARY    223 GABLE LN                                                                                 LA HABRA           CA      90631‐7302
HERNANDEZ, ROSENDO     3560 MAHLON MOORE RD                                                                         SPRING HILL        TN      37174‐2134
HERNANDEZ, ROY         PO BOX 81                                                                                    CALUMET            OK      73014‐0081
HERNANDEZ, RUBEN N     13025 ALMOND DR                                                                              OKLAHOMA CITY      OK      73170‐1157
HERNANDEZ, RUBY        JENKINS & JENKINS PC          516 WEST MAIN ST                                               WAXAHACHIE         TX      75165
HERNANDEZ, RUBY L      4500 DOBRY DR APT 211                                                                        STERLING HEIGHTS   MI      48314‐1243
HERNANDEZ, RUDOLPH T   4342 BARTHOLOW RD                                                                            SYKESVILLE         MD      21784‐9701
HERNANDEZ, RUSSELL R   7104 KENSINGTON DR E                                                                         FORT WAYNE         IN      46818‐8853
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Name                         Address1                              Address2                       Address3   Address4               City            State Zip
HERNANDEZ, SALVADOR          BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD       OH 44067
                                                                   PROFESSIONAL BLDG
HERNANDEZ, SANDRA            AIKEN SCHENK HAWKINS & RICCIARDI PC   4742 N 24TH ST STE 100                                           PHOENIX         AZ   85016‐4859

HERNANDEZ, SANDRA
HERNANDEZ, SANDRA A          1045 GROVE ST                                                                                          DEFIANCE        OH   43512‐2934
HERNANDEZ, SANDRA ANN        1045 GROVE ST                                                                                          DEFIANCE        OH   43512‐2934
HERNANDEZ, SANDRA J          13025 ALMOND DR                                                                                        OKLAHOMA CITY   OK   73170‐1157
HERNANDEZ, SANDRA L          6174 WILDERNESS POINTE                                                                                 GRAND BLANC     MI   48439
HERNANDEZ, SANJUANITA        1515 HYLAND ST                                                                                         LANSING         MI   48915‐1332
HERNANDEZ, SAUDYTH           12910 SPRECHER AVE                                                                                     CLEVELAND       OH   44135‐5136
HERNANDEZ, SEBASTIAN
HERNANDEZ, SELENA            JENKINS & JENKINS PC                  516 WEST MAIN ST                                                 WAXAHACHIE      TX   75165
HERNANDEZ, SELENA            VAN GAASBECK STEPHEN E LAW OFFICES    5511 I‐10 WEST ‐ SUITE 4                                         SAN ANTONIO     TX   78201
                             OF
HERNANDEZ, SELENA
HERNANDEZ, SERGIO A          5529 LANCESHIRE LN                                                                                     OKLAHOMA CITY   OK   73135‐5410
HERNANDEZ, SHARON A          7009 HALL RD                                                                                           DAVISBURG       MI   48350‐2527
HERNANDEZ, SHELLY L          2602 N ANTHONY BLVD                                                                                    FORT WAYNE      IN   46805‐3663
HERNANDEZ, SHELLY M          334 TIMBERLANE DR                                                                                      BELLEVILLE      MI   48111
HERNANDEZ, SHERRY D          1625 BERKELEY DR                                                                                       LANSING         MI   48910‐1124
HERNANDEZ, SIMON A           375 2ND AVE                                                                                            PONTIAC         MI   48340‐2822
HERNANDEZ, SIMON R           12039 36TH ST SE                                                                                       LOWELL          MI   49331‐9509
HERNANDEZ, STELLA T          2295 FABIAN DRIVE                                                                                      SAGINAW         MI   48603‐3614
HERNANDEZ, STELLA T          2295 FABIAN DR                                                                                         SAGINAW         MI   48603‐3614
HERNANDEZ, STEVE L           13282 SPRUCE ST                                                                                        SOUTHGATE       MI   48195‐1328
HERNANDEZ, STEVE M           22172 E GEDDES AVE                                                                                     AURORA          CO   80016
HERNANDEZ, STEVEN L          43854 SILVER BOW RD                                                                                    LANCASTER       CA   93535‐4353
HERNANDEZ, SUNNY
HERNANDEZ, SUSAN             1550 E CLARK RD APT 627                                                                                YPSILANTI       MI   48198‐3163
HERNANDEZ, SUSANA
HERNANDEZ, SYLVIA            CARONNA JOHNSON & HODDICK LLP         71650 SAHARA RD STE 2                                            RANCHO MIRAGE   CA   92270‐4336
HERNANDEZ, TEODULA R         9029 NEWCASTLE DR                                                                                      SHREVEPORT      LA   71129‐5123
HERNANDEZ, TEODULA RIVERA    9029 NEWCASTLE DR                                                                                      SHREVEPORT      LA   71129‐5123
HERNANDEZ, TERESA            15402 DALWOOD AVE                                                                                      NORWALK         CA   90650‐6235
HERNANDEZ, TERESA            14945 BLEEKER ST                                                                                       SYLMAR          CA   91342‐5235
HERNANDEZ, THOMAS
HERNANDEZ, THOMAS            350 E 37TH ST                                                                                          PATERSON        NJ   07504‐1310
HERNANDEZ, THOMAS L          1435 GUN CLUB RD                                                                                       CARO            MI   48723‐8911
HERNANDEZ, TOMAS             215 S VISTA DR                                                                                         SANDIA          TX   78383‐4072
HERNANDEZ, TOMAS             1600 LILLIAN CIR                                                                                       COLUMBIA        TN   38401‐5418
HERNANDEZ, TONY              918‐ASH                                                                                                SAGINAW         MI   48602
HERNANDEZ, TONY              315 DICK AVE                                                                                           PONTIAC         MI   48341‐1805
HERNANDEZ, TONY L            2437 42THTERR SW                                                                                       NAPLES          FL   34116
HERNANDEZ, TONY S            9029 NEWCASTLE DR                                                                                      SHREVEPORT      LA   71129‐5123
HERNANDEZ, TRANQUILINO V     14014 FILMORE ST                                                                                       ARLETA          CA   91331‐4425
HERNANDEZ, TRINO             1917 BOSQUE LN                                                                                         ARLINGTON       TX   76006‐6619
HERNANDEZ, VANESSA JUSTINE   1140 PLEASANT ST APT 3E                                                                                OAK PARK        IL   60302
HERNANDEZ, VICENTE           55 CANTON RD                                                                                           LAKE WORTH      FL   33467‐3809
HERNANDEZ, VICTOR G          4620 283RD ST                                                                                          TOLEDO          OH   43611‐1868
HERNANDEZ, VICTOR GONZALES   4620 283RD ST                                                                                          TOLEDO          OH   43611‐1868
HERNANDEZ, VIRGINIA          252 HAROLD LN                                                                                          CAMPBELL        OH   44405‐1166
HERNANDEZ, VIRGINIA          17219 SEQUOIA AVE APT 39                                                                               HESPERIA        CA   92345‐1414
HERNANDEZ, VIRGINIA          17219 SEQUOIA AVE                     APT 39                                                           HESPERIA        CA   92345
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Name                              Address1                              Address2                          Address3   Address4               City             State   Zip
HERNANDEZ, VIRGINIA               252 HAROLD LANE                                                                                           CAMPBELL          OH     44405‐1166
HERNANDEZ, WILLIAM                2231 HETZNER DR                                                                                           SAGINAW           MI     48603‐2527
HERNANDEZ, WITNEY                 CONSUMER LEGAL SERVICES               1950 SAWTELLE BLVD STE 245                                          LOS ANGELES       CA     90025‐7017
HERNANDEZ, Y
HERNANDEZ, YOLANDA                CARCIONE JOSEPH W JR LAW OFFICES OF   PO BOX 3389                                                         REDWOOD CITY      CA     94064‐3389

HERNANDEZ,LEONIDAS A              721 CRESCENT AVE                                                                                          BROOKLYN          NY     11208
HERNANDEZ‐NAVARRO, CATHERINE      1112 WENTWOOD DR                                                                                          IRVING            TX     75061‐4455
HERNANDIZE A HOSEAY               888 PALLISTER ST APT 412                                                                                  DETROIT           MI     48202‐2671
HERNANDO COUNTY TAX COLLECTOR     20 N MAIN ST RM 112                                                                                       BROOKSVILLE       FL     34601‐2893
HERNANDO JOHNSON                  1163 CREEKSIDE CT                                                                                         BURTON            MI     48509‐1460
HERNANDO PASCO HOSPICE            1114 CHATMAN BLVD                                                                                         BROOKSVILLE       FL     34601‐3104
HERNANSKY, JUDITH L               1570 W MAGGIO WAY APT 2003                                                                                CHANDLER          AZ     85224‐8480
HERNBERGER, VIOLA L               7 CENTENNIAL STREET                                                                                       MIDDLEPORT        NY     14105‐1202
HERNDEN, JEFFREY N                8300 32 MILE RD                                                                                           WASHINGTON        MI     48095‐1312
HERNDEN, ROBERT N                 6810 DUQUETTE RD                                                                                          MELVIN            MI     48454‐9761
HERNDON CARLTON                   1829 COUNTY ROAD 57 N                                                                                     ABBEVILLE         AL     36310‐6305
HERNDON CHEVROLET, INC.           DONALD HERNDON                        12524 JAMES MADISON HWY                                             ORANGE            VA     22960
HERNDON CHEVROLET, INC.           DAVID HERNDON                         5617 SUNSET BLVD                                                    LEXINGTON         SC     29072‐2727
HERNDON CHEVROLET, INC.           12524 JAMES MADISON HWY                                                                                   ORANGE            VA     22960
HERNDON CHEVROLET, INC.           5617 SUNSET BLVD                                                                                          LEXINGTON         SC     29072‐2727
HERNDON COLEMAN BRADING &         MCKEE                                 PO BOX 1160                                                         JOHNSON CITY      TN     37605‐1160
HERNDON JERROD                    KENTUCKY FARM BUREAU MUTUAL           225 E 1ST ST                                                        CAMPBELLSVILLE    KY     42718‐2203
                                  INSURANCE COMPANY
HERNDON KAMI                      HERNDON, KAMI                         101 MULBERRY STREET EAST PO BOX                                     HAMPTON           SC     29924
                                                                        457
HERNDON ROBERT WILFORD (489623)   MOTLEY RICE                           1750 JACKSON ST                                                     BARNWELL         SC      29812‐1546
HERNDON, ANN T                    17876 SE 115TH CIR                                                                                        SUMMERFIELD      FL      34491‐8010
HERNDON, CELESTE                  1811 BERKSHIRE DR                                                                                         COLUMBIA         SC      29210‐6801
HERNDON, CHARLES E                1805 HOLT RD                                                                                              CARY             NC      27519‐5894
HERNDON, DAVID B                  17876 SE 115TH CIR                                                                                        SUMMERFIELD      FL      34491‐8010
HERNDON, DELPHINE I               218 E LAS MILPAS                                                                                          GREEN VALLEY     AZ      85614‐2914
HERNDON, DONALD F                 7 NICHOLSON DR                                                                                            PASADENA         MD      21122‐4214
HERNDON, DONALD L                 4756 N COUNTY ROAD 200 E                                                                                  PETERSBURG       IN      47567‐8914
HERNDON, DOROTHY M                4701 COUNTRYSIDE DR                                                                                       MUNCIE           IN      47302‐9069
HERNDON, DOROTHY M                4701 S COUNTRYSIDE DR                                                                                     MUNCIE           IN      47302‐9069
HERNDON, ETHELEEN F               2401 KINGS RD                                                                                             MOORE            OK      73160‐1137
HERNDON, GEORGE                   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                          SAGINAW          MI      48604‐2602
                                                                      260
HERNDON, GLENN C                  21 MEDINA DR                                                                                              INDIANAPOLIS      IN     46227‐9405
HERNDON, HAROLD R                 6045 BUCKSKIN CT                                                                                          INDIANAPOLIS      IN     46250‐1831
HERNDON, JAMES L                  1506 NORTHRIDGE DR                                                                                        CARROLLTON        TX     75006‐1428
HERNDON, JAMES R                  1355 HIGHWAY 68                                                                                           OTTAWA            KS     66067
HERNDON, JERROD
HERNDON, JOHN R                   119 WILDWOOD AVE                                                                                          LEWISBURG        WV      24901‐8925
HERNDON, JOHN W                   9122 HOGARTH COURT                                                                                        LOUISVILLE       KY      40222‐0222
HERNDON, JOSEPH                   6201 OXLEY DR                                                                                             FLINT            MI      48504‐1670
HERNDON, KAMI                     PETERS MURDAUGH PARKER ELTZROTH &     PO BOX 457                                                          HAMPTON          SC      29924‐0457
                                  DETRICK
HERNDON, KAMI                     188 FURMAN NIXVILLE PKWY                                                                                  ESTILL           SC      29918‐4401
HERNDON, KATHLEEN M               929 LEWIS AVE                                                                                             ROCKVILLE        MD      20851‐1624
HERNDON, LAURA V                  PO BOX 565                                                                                                CLINTON          MS      39060‐0565
HERNDON, M M                      3024 COLUMBUS AV                                                                                          ANDERSON         IN      46016‐5438
HERNDON, NELSON L                 3601 LIPPINCOTT BLVD                                                                                      FLINT            MI      48507‐2029
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HERNDON, OBEDIAH           2000 GERARD PARK LN                                                                                          HAZELWOOD        MO     63042‐1323
HERNDON, OPAL R            APT 3                               515 COUNTY ROAD 601                                                      HANCEVILLE       AL     35077‐7429
HERNDON, OPAL R            515 COUNTY RD 601 APT 3                                                                                      HANCEVILLE       AL     35077‐7429
HERNDON, RALPH J           8374 E MOUNT MORRIS RD                                                                                       OTISVILLE        MI     48463‐9463
HERNDON, ROBERT F          1306 MARWOOD ST                                                                                              BOULDER CITY     NV     89005‐2030
HERNDON, ROBERT WILFORD    MOTLEY RICE                         1750 JACKSON ST                                                          BARNWELL         SC     29812‐1546
HERNDON, SARAH F           20 NATALIA CT                                                                                                NEWNAN           GA     30263‐6515
HERNDON, STANLEY J         7109 LIGHTHOUSE LN                                                                                           RENO             NV     89511
HERNDON, THOMAS            384 RIVERBEND DR                                                                                             MILAN            MI     48160‐1638
HERNDON, TIMOTHY P
HERNDON, WALTER J
HERNDON, WALTER O
HERNDON, WESLEY J          PO BOX 9038                                                                                                  KANSAS CITY      KS     66112‐9038
HERNE, BRUCE J             RT#30 BOX 12                                                                                                 CONSTABLE        NY     12926
HERNE, PHILIP L            1481 STATE ROUTE 37                                                                                          HOGANSBURG       NY     13655
HERNE, SCOTT C             55 MULLEN ST                                                                                                 TONAWANDA        NY     14150‐5423
HERNE, SCOTT CHRISTOPHER   55 MULLEN ST                                                                                                 TONAWANDA        NY     14150‐5423
HERNER, DAN L              2687 GRIM RD                                                                                                 BENTLEY          MI     48613‐9601
HERNER, DAVID K            408 S DOBBSDELL ST                                                                                           TERRE HAUTE      IN     47803‐2443
HERNER, GARY L             PO BOX 252                                                                                                   DAVISON          MI     48423‐0252
HERNER, LILA PEARL         183 WOODSMILL BLVD                                                                                           COCOA            FL     32926‐2591
HERNER, STANLEY W          118 PINDO PALM ST W                                                                                          LARGO            FL     33770‐7434
HERNET, TERRI L            7018 W MAIN ST                                                                                               MILWAUKEE        WI     53214‐1650
HERNIAK, DAVID J
HERNIAK, EDWARD A          14820 N COUNTY ROAD 400 E                                                                                    EATON           IN      47338‐8889
HERNIAK, EDWARD ALLEN      14820 N COUNTY ROAD 400 EAST                                                                                 EATON           IN      47338‐8889
HERNIAK, FRANK T           1214 W 1850 N                                                                                                SUMMITVILLE     IN      46070‐9757
HERNIAK, JANET E           312 N BUCKEYE ST                                                                                             FAIRMOUNT       IN      46928‐1414
HERNICK, ANN KATHERINE     611 CHURCHGROVE                                                                                              FRANKENMUTH     MI      48734‐9791
HERNICK, THOMAS G          2618 S BEYER RD                                                                                              SAGINAW         MI      48601‐9421
HERNLEY, MICHAEL L         1448 WATER ST                                                                                                EATON RAPIDS    MI      48827‐1860
HERNLUND, IRENE            13 FASANO WAY                                                                                                SANTA BARBARA   CA      93105‐4508
HERNLY, CHRISTOPHER A      3234 NORTH STATE ROAD 103                                                                                    NEW CASTLE      IN      47362‐9303
HERNLY, DORIS R            521 WESTWOOD COURT                                                                                           WINCHESTER      IN      47394‐1929
HERNLY, DORIS R            521 WESTWOOD CT                                                                                              WINCHESTER      IN      47394‐1929
HERNLY, WENDY J            11416 OLD BARN TRL                                                                                           EATON RAPIDS    MI      48827‐9795
HERNLY, WENDY JO           11416 OLD BARN TRL                                                                                           EATON RAPIDS    MI      48827‐9795
HERNON, BARRY J            1281 NILES CORTLAND RD NE                                                                                    WARREN          OH      44484‐1010
HERNON, JOHN M             ROUTE 2, BOX 444                                                                                             SOUTHINGTON     OH      44470
HERNON, MARK C             2321 WEST PARADISE RD                                                                                        PHEONIX         AZ      85029‐5029
HERNON, MARK C             2321 W PARADISE DR                                                                                           PHOENIX         AZ      85029‐3426
HERNON, RONDA G            1281 NILES CORTLAND RD NE                                                                                    WARREN          OH      44484‐1010
HERNTIER, RICHARD          9741 GRAND AVE S APT 135                                                                                     BLOOMINGTON     MN      55420‐4217
HERO GROUP                 ATTN: SUNIL MUNJAL, ROHIT CHANANA   34 COMMUNITY CENTRE, BASANT   VASANT VIHAR   NEW DELHI, DELHI 110 057,
                                                               LOK                                          INDIA
HERO LUEERS                DENNINGER STR 142                                                                81927 MUNICH GERMANY
HERO L▄ERS                 DENNINGER STR. 142
HERO PROMOTIONS            6443 RIDINGS RD                                                                                              SYRACUSE        NY      13206‐1104
HERO, WALTER J             27 EUGENIA CT N.                                                                                             HOMOSASSA       FL      34446‐4445
HEROD BAILEY               PO BOX 420452                                                                                                PONTIAC         MI      48342‐0452
HEROD DANIEL               11501 MAYFIELD RD APT 1406                                                                                   CLEVELAND       OH      44106‐2380
HEROD, BETTIE              30204 PHILLIPS AVE                                                                                           WICKLIFFE       OH      44092‐1712
HEROD, DONALD M            PO BOX 504                                                                                                   BLACK HAWK      CO      80422‐0504
HEROD, FRANKLIN E          11422 SAINT CLOUD RD                                                                                         RICHMOND        MO      64085‐8707
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Name                       Address1                            Address2                         Address3   Address4               City              State   Zip
HEROD, FREDERICK C         1175 MOLOKAI DR                                                                                        TEGA CAY           SC     29708‐8580
HEROD, JERRY K             1694 DEERFIELD WAY                                                                                     LA FOLLETTE        TN     37766‐6611
HEROD, JOHN                GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW            MI     48604‐2602
                                                               260
HEROD, MELBA G             363 WINDERMERE BLVD UNIT 307                                                                           ALEXANDRIA        LA      71303‐3546
HEROD, VIRGINIA L          16808 E LARKSPUR LN APT 2                                                                              INDEPENDENCE      MO      64055‐2144
HEROES DISPLAY TRUCK       3219 STATE ROUTE 41                                                                                    HILLSBORO         OH      45133‐7085
HEROIC CHOICES             PO BOX 32                                                                                              CRANBURY          NJ      08512‐0032
HEROL BALENTINE            10505 OAKLAND AVE                                                                                      KANSAS CITY       MO      64134‐1945
HEROLD JOHN                556 GALEN CIR                                                                                          ANN ARBOR         MI      48103‐6612
HEROLD JOSEPH M            HEROLD, JOSEPH M                    89 N HADDON AVE                                                    HADDONFIELD       NJ      08033‐2423
HEROLD VIRGIL H (429088)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA      23510
                                                               STREET, SUITE 600
HEROLD, ALFRED S           1634 NORTH EDGEWATER DRIVE                                                                             PORT CLINTON      OH      43452‐2829
HEROLD, ANDREW C           305 DONNA DR                                                                                           CAMDEN            OH      45311
HEROLD, CLAUDIA B          PO BOX 26                                                                                              NEVADA            MO      64772‐0026
HEROLD, DIANE LYNN         5119 WOODSTOCK DRIVE                                                                                   SWARTZ CREEK      MI      48473
HEROLD, DIANE LYNN         5119 WOODSTOCK DR                                                                                      SWARTZ CREEK      MI      48473‐8539
HEROLD, GERTRUDE A         101 CHESTER DR                                                                                         SYRACUSE          NY      13208‐1931
HEROLD, JACQUE E           PO BOX 7043                                                                                            AVON PARK         FL      33826‐7043
HEROLD, JAMES C            17881 COURTNEY RD                                                                                      BELOIT            OH      44609‐9743
HEROLD, JAMES R            5119 WOODSTOCK DRIVE                                                                                   SWARTZ CREEK      MI      48473‐8539
HEROLD, LYLE A             1721 E LIBBY ST 3                                                                                      PHOENIX           AZ      85022
HEROLD, ROBERT E           502 BEECHCRAFT ST                                                                                      LAKE PLACID       FL      33852‐9491
HEROLD, ROBERT J           PO BOX 604                                                                                             BUCKMAN           MN      56317‐0604
HEROLD, ROGER E            2711 MERRIWEATHER RD                                                                                   SANDUSKY          OH      44870‐5674
HEROLD, RONALD P           2114 WHISPERING WATERS PASS                                                                            FLUSHING          MI      48433‐1790
HEROLD, VIRGIL H           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA      23510
                                                               STREET, SUITE 600
HEROMINSKI, ROBERT J       135 BROKENWOOD LN                                                                                      CROSSVILLE        TN      38558‐7718
HERON ALLEN                4 TALOS WAY                                                                                            ROCHESTER         NY      14624‐5801
HERON CAVAZOS              1501 S AIRPORT DR LOT 92                                                                               WESLACO           TX      78596‐7265
HERON JR, STEPHEN B        6146 KINGS SHIRE RD                                                                                    GRAND BLANC       MI      48439‐8712
HERON JR, WILLIAM A        62 NORTH DR                                                                                            AMHERST           NY      14226‐4118
HERON, CAROL F             6146 KINGSHIRE                                                                                         GRAND BLANC       MI      48439
HERON, JOHN J              2152 LONDON BRIDGE DR                                                                                  ROCHESTER HILLS   MI      48307‐4231
HERON, LAURA J             19345 LITTLEFIELD                                                                                      DETROIT           MI      48235‐1255
HERON, NORMAN W            21352 JESSICA LN                                                                                       ABINGDON          VA      24211‐7704
HERON, PATRICK M           5124 REYMONT                                                                                           PONTIAC           MI      48054
HERON, SUSANNE K           1649 N YALE CT                                                                                         ARLINGTON HTS     IL      60004‐3614
HERONEMUS, VIRGINIA R      5670 DOWNINGTON RD                                                                                     DECKER            MI      48426‐9700
HEROUX, DANIEL H           18230 CORUNNA RD                                                                                       CHESANING         MI      48616‐9628
HEROUX, DAVID E            4890 FERDEN RD                                                                                         NEW LOTHROP       MI      48460‐9644
HEROUX, ELAINE M           90 HEMLOCK DR                                                                                          ATTLEBORO         MA      02703‐6528
HERPEL, JEROLENE K         12392 MOORISH RD                                                                                       BIRCH RUN         MI      48415‐8581
HERPEL, JEROLENE K         12392 MORRISH RD                                                                                       BIRCH RUN         MI      48415‐8581
HERPEL, THOMAS E           4027 CUSTER AVE                                                                                        ROYAL OAK         MI      48073‐2432
HERPHON RUTHERFORD         2919 BONBRIGHT ST                                                                                      FLINT             MI      48505‐4921
HERPICH JOHN (468163)      LIPMAN DAVID M                      5901 SW 74TH ST STE 304                                            MIAMI             FL      33143‐5163
HERPICH, JOHN              C/O THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD SUITE 44                                   CORAL GABLES      FL      33146
HERPICH, JOHN              LIPMAN DAVID M                      5901 SW 74TH ST STE 304                                            MIAMI             FL      33143‐5163
HERPIN, BETTY H            PO BOX 2116                                                                                            CROWLEY           LA      70527‐2116
HERPOLSHEIMER, GLENN J     3961 JUPITER AVE NE                                                                                    GRAND RAPIDS      MI      49525‐1871
HERPST, MERRITT G          3700 S. WESTPORT AVE. #2860                                                                            SIOUX FALLS       SD      57106
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Name                             Address1                          Address2                           Address3   Address4                   City            State   Zip
HERR BARRY E                     6013 LAKE BREEZE RD                                                                                        GROVE            OK     74344‐7882
HERR CHARLES                     62250 REO LN                                                                                               WASHINGTON       MI     48094‐1431
HERR FOODS INC                   275 OLD BALTIMORE PIKE                                                                                     NOTTINGHAM       PA     19362‐9102
HERR FOODS, INC.                 JAMES TONELLI                     275 OLD BALTIMORE PIKE                                                   NOTTINGHAM       PA     19362‐9102
HERR IV, BENJAMIN M              29777 RED OAK DR                                                                                           WARREN           MI     48092‐4653
HERR IV, BENJAMIN MUSSER         29777 RED OAK DR                                                                                           WARREN           MI     48092‐4653
HERR JOHANN U FRAU INGE EHRE     WASSERWERKSTRA▀E 46               66740 SAARLOUIS                                                          SAARLOUIS               66740
HERR JOHANN U FRAU INGE EHRE     WASSERWERKSTRASSE 46              66740 SAARLOUIS
HERR JR, ROBERT T                3393 GREGORY RD                                                                                            ORION           MI      48359‐2014
HERR JR., CHARLES E              2793 N RIVERWOOD DR                                                                                        TWIN LAKE       MI      49457‐9794
HERR MARK                        9935 E WAITE RD                                                                                            CLINTON         WI      53525‐8763
HERR MARVIN (445190)             CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                         CLEVELAND       OH      44115
                                 GAROFOLI                          FL
HERR MICHAEL WILLIAM (429089)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                              NORFOLK          VA     23510
                                                                   STREET, SUITE 600
HERR UND FRAU KARL O ANNELIESE   MAX‐BECKMANN‐STR 21                                                             89520 HEIDENHEIM GERMANY
JENKNER
HERR, ALVIN J                    508 TENNIS CLUB PL                                                                                         LAKEVILLE       PA      18438‐6785
HERR, ANNA M                     5609 PARADISE ST                                                                                           COMMERCE TWP    MI      48382‐2769
HERR, BARRY E                    6013 LAKE BREEZE RD                                                                                        GROVE           OK      74344‐7882
HERR, BETTY R                    201 W OAK ST                                                                                               CONTINENTAL     OH      45831‐9084
HERR, BETTY R                    201 WEST OAK ST.                                                                                           CONTINENTAL     OH      45831‐9084
HERR, CHARLES A                  62250 REO LN                                                                                               WASHINGTON      MI      48094‐1431
HERR, CHARLES H                  29 PAUL DR                                                                                                 AMHERST         NY      14228‐1322
HERR, DANIEL J                   4956 OAK PARK DR                                                                                           CLARKSTON       MI      48346‐3936
HERR, DAVID L                    3044 BESSIE ST                                                                                             AUBURN HILLS    MI      48326‐3600
HERR, DAVID M                    4131 SANDSTONE DR                                                                                          JANESVILLE      WI      53546‐4309
HERR, DEBRA                      2175 STOCKWELL RD APT 223                                                                                  BOSSIER CITY    LA      71111‐5774
HERR, DONALD D                   PO BOX 143                                                                                                 LAKE TOMAHAWK   WI      54539‐0143
HERR, DONNA J                    1225 GENELLA ST                                                                                            WATERFORD       MI      48328‐1338
HERR, EDWARD J                   120 DAWNRIDGE DR                                                                                           HAZELWOOD       MO      63042‐2675
HERR, ELIZABETH A.               71 S EAGLECREST DR                                                                                         HAMBURG         NY      14075‐1845
HERR, ERROLETTE M                716 PHONEIX LANE                                                                                           OVIEDO          FL      32765‐7604
HERR, GARY L                     2744 JAMES RD                                                                                              AUBURN HILLS    MI      48326‐1919
HERR, GERMAINE P                 175 STILLINGS AVE                                                                                          SAN FRANCISCO   CA      94131‐2823
HERR, HARRY M                    980 PRICE FORD RD                                                                                          HEBER SPRINGS   AR      72543‐8053
HERR, HENRY W                    1876 UPPER FORDE LN                                                                                        HAMPSTEAD       MD      21074‐2500
HERR, HOWARD B                   163 LYMAN AVENUE                                                                                           BURLINGTON      VT      05401‐5021
HERR, IVAN G                     686 16 MILE RD                                                                                             MARION          MI      49665‐8285
HERR, J C                        12201 SE 91ST AVE                                                                                          SUMMERFIELD     FL      34491‐8249
HERR, JEFFREY C                  1001 RUSTIC RDG                                                                                            JOPLIN          MO      64804
HERR, LEWIS R                    7991 CABOT DR                                                                                              PARMA           MI      49269‐9521
HERR, LEWIS RUSSELL              7991 CABOT DR                                                                                              PARMA           MI      49269‐9521
HERR, LINDEN M                   2070 QUINCY RD                                                                                             QUINCY          IN      47456‐8596
HERR, LOIS J                     785 COUNTY LINE RD                                                                                         MONUMENT        CO      80132‐8082
HERR, LORETTA E                  PO BOX 135                                                                                                 O BRIEN         OR      97534‐0135
HERR, MARILYN H                  6568 COUNTY ROAD J                                                                                         MALINTA         OH      43535‐9747
HERR, MARK A                     9935 E WAITE RD                                                                                            CLINTON         WI      53525‐8763
HERR, MARK J                     3716 RAMADA DR                                                                                             HIGHLAND        MI      48356‐1759
HERR, MARVIN                     CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                          CLEVELAND       OH      44115
                                 GAROFOLI                          FL
HERR, MICHAEL WILLIAM            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                              NORFOLK          VA     23510‐2212
                                                                   STREET, SUITE 600
HERR, RALPH F                    2410 RONA VILLAGE BLVD                                                                                     FAIRBORN        OH      45324‐6018
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Name                                  Address1                             Address2                         Address3   Address4                  City             State   Zip
HERR, RANDALL P                       1170 TRUWOOD DR                                                                                            ROCHESTER HLS     MI     48307‐5458
HERR, RICHARD C                       1225 GENELLA ST                                                                                            WATERFORD         MI     48328‐1338
HERR, ROBERT W                        1775 VALLEY VIEW DR                                                                                        BEDFORD           IN     47421‐3468
HERR, THEODORA F                      6013 LAKE BREEZE RD                                                                                        GROVE             OK     74344
HERR, THEODORE J                      4890 CLINTON DR                                                                                            CLARKSTON         MI     48346‐3804
HERR, TIMOTHY P                       1191 BEST RD                                                                                               METAMORA          MI     48455‐8939
HERR, WALLACE J                       175 STILLINGS AVE                                                                                          SAN FRANCISCO     CA     94131‐2823
HERR, WALTER L                        716 PHOENIX LN                                                                                             OVIEDO            FL     32765‐7604
HERR, WILLIAM B                       8302 ROBERT ST                                                                                             TAYLOR            MI     48180‐2333
HERR‐HEMBREE, KAREN D                 6875 W BRIER CREEK DR                                                                                      NEW PALESTINE     IN     46163‐9762
HERRA, FRANK                          PO BOX 4392                                                                                                BURBANK           CA     91503‐4392
HERRADA, MANUEL                       6112 F 41                                                                                                  OSCODA            MI     48750‐9664
HERRAJES Y ACABADOS METALICOS         TOMAS CARRIZOZA                      NORTE 45 NO 899 INDUSTRIAL VAL              VENISSIEUX 69200 FRANCE
HERRAJES Y ACABADOS METALICOS SA      NORTE 45 NO 899 INDUSTRIAL VALLEJO                                               MEXICO 2300 MEXICO
HERRAJES Y ACABADOS METALICOS SA      TOMAS CARRIZOZA                      NORTE 45 NO 899 INDUSTRIAL VAL              VENISSIEUX 69200 FRANCE
HERRAJES Y ACABADOS METALICOS SA DE   NORTE 45 NO 899 COL INDUSTRIAL       VALLEJO                                     CP 02300 MEXICO MEXICO
CV
HERRALA, WALTER T                     8389 NORTH TITLEIST DRIVE                                                                                  CITRUS SPGS      FL      34434‐5857
HERRALD, JAMES R                      11555 W FM 471 LOT 66                                                                                      SAN ANTONIO      TX      78253‐4896
HERRALD, JAMES ROMAN                  11555 W FM 471 APT 66                                                                                      SAN ANTONIO      TX      78253
HERRANDO, RUSSELL W                   14941 OCONNOR AVE                                                                                          ALLEN PARK       MI      48101‐2935
HERRANDO, RUSSELL WALTER              6678 COUNTRY LN                                                                                            BELLEVILLE       MI      48111‐4433
HERRANDO, RUSSELL WALTER              14941 OCONNOR AVE                                                                                          ALLEN PARK       MI      48101‐2935
HERRANEN REBECCA                      3265 VIZCAYA WAY                                                                                           OCEANSIDE        CA      92056‐3239
HERRELL JR, FLOYD A                   PO BOX 451                           221 E. MAIN ST.                                                       DREXEL           MO      64742‐0451
HERRELL JR, RALPH E                   1437 S 725 W                                                                                               TIPTON           IN      46072‐9176
HERRELL L                             8519 OLD JACKSBORO PIKE                                                                                    KNOXVILLE        TN      37938‐2956
HERRELL, ANITA                        2517 BRENTWOOD LAKE DRIVE                                                                                  REYNOLDSBURG     OH      43068‐5288
HERRELL, DANIEL J                     13657 S 500 W                                                                                              KOKOMO           IN      46901‐7802
HERRELL, DOYLE E                      1208 CASTLEMAN AVE SW                                                                                      DECATUR          AL      35601‐3602
HERRELL, ETHEL J                      820 LOWERSTONE MTN                                                                                         UNICOI           TN      37692
HERRELL, ETHEL J                      813 LOWER STONE MOUNTAIN RD                                                                                UNICOI           TN      37692‐4749
HERRELL, FLOYD A                      27718 S STATE ROUTE DD                                                                                     HARRISONVILLE    MO      64701‐8332
HERRELL, HELEN L                      313 E WALNUT ST                                                                                            KOKOMO           IN      46901‐4811
HERRELL, JASON G                      1370 SHERMAN AVE                                                                                           LEAVENWORTH      KS      66048‐2380
HERRELL, MARTHA M                     9834 DUDLEY ST                                                                                             TAYLOR           MI      48180‐3751
HERRELL, THOMAS                       7759 HERBST RD                                                                                             BRIGHTON         MI      48114‐9449
HERREMA, JANET                        725 BALDWIN #3008                                                                                          JENISON          MI      49428‐7945
HERREMA, RICHARD J                    1704 MANSFIELD RD                                                                                          BIRMINGHAM       MI      48009‐7272
HERREN CHRIS                          46714 254TH STREET                                                                                         CROOKS           SD      57020‐5815
HERREN, ARLES W                       PO BOX 201                                                                                                 JEWETT           TX      75846‐0201
HERREN, JIMMIE                        PORTER & MALOUF PA                   4670 MCWILLIE DR                                                      JACKSON          MS      39206‐5621
HERREN, SALLIE M                      320 SOUTH GREENVILLE STREET                                                                                RECTOR           AR      72461‐1632
HERREN, WILMA G                       6110 CYPRESS GARDENS BLVD APT 128                                                                          WINTER HAVEN     FL      33884‐4131
HERRERA DANIEL                        HERRERA, DANIEL                      2025 SAN PEDRO DR NE                                                  ALBUQUERQUE      NM      87110‐5951
HERRERA DANIEL                        HERRERA, ELEAZAR                     800 NORTH SHORELINE ‐ 14TH                                            CORPUS CHRISTI   TX      78401
                                                                           FLOOR SOUTH TOWER
HERRERA DANIEL                        HIGGINS, RACHEL E                    2025 SAN PEDRO DR NE                                                  ALBUQUERQUE      NM      87110‐5951
HERRERA DANIEL                        HIGGINS, RACHEL E                    800 NORTH SHORELINE ‐ 14TH                                            CORPUS CHRISTI   TX      78401
                                                                           FLOOR SOUTH TOWER
HERRERA DANIEL                        MEDRANO, LETICIA GUADALUPE           2025 SAN PEDRO DR NE                                                  ALBUQUERQUE      NM      87110‐5951
HERRERA DANIEL                        SALCIDO OSUNA, YADIRA ERIKA          800 NORTH SHORELINE ‐ 14TH                                            CORPUS CHRISTI   TX      78401
                                                                           FLOOR SOUTH TOWER
HERRERA DAVID                         7831 BIG RIVER DR                                                                                          RENO              NV     89506‐2174
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Name                                Address1                        Address2                          Address3                   Address4               City            State   Zip
HERRERA DIANNA                      HERRERA, DIANNA                 215 ALAMO STREET                                                                    EDINBURG         TX     78541‐9419
HERRERA HEATHER                     VARGAS, IVAN                    KAHN & ASSOCIATES LLC             101 NE 3RD AVE STE 1500                           FT LAUDERDALE    FL     33301‐1181
HERRERA HEATHER                     HERRERA, HEATHER                8270 WOODLAND CENTER BLVD                                                           TAMPA            FL     33614‐2401
HERRERA HENRY                       HERRERA, HENRY                  MARCIN BARRERA & OCONNOR          1901 AVENUE OF THE STARS                          LOS ANGELES      CA     90067
                                                                    ATTORNEYS                         SUITE 1900
HERRERA JEREMIAH                    2574 ORTEGA                                                                                                         GALLUP          NM      87301
HERRERA JOHN                        HERRERA, MARGARET               BICKEL LAW FIRM                   100 E SAN MARCOS BLVD                             SAN MARCOS      CA      92069
                                                                                                      SUITE 400
HERRERA JOHN                        HERRERA, JOHN                   100 E SAN MARCOS BLVD STE 400                                                       SAN MARCOS       CA     92069‐2988
HERRERA JOSE (ESTATE OF) (663900)   COONEY & CONWAY                 120 NORTH LASALLE STREET , 30TH                                                     CHICAGO          IL     60602
                                                                    FLOOR
HERRERA JOSEPH (445191)             BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                       NORTHFIELD      OH      44067
                                                                    PROFESSIONAL BLDG
HERRERA JR, JOHN P                  PO BOX 125                                                                                                          AHWAHNEE         CA     93601‐0125
HERRERA JUAN                        162 W PRINCETON AVE                                                                                                 PONTIAC          MI     48340‐1840
HERRERA LORENZO JR (493836)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                         NORFOLK          VA     23510
                                                                    STREET, SUITE 600
HERRERA LOURDES                     851 DEVILFISH DR                                                                                                    OXNARD           CA     93035
HERRERA SANTIAGO V (652431)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                         NORFOLK          VA     23510
                                                                    STREET, SUITE 600
HERRERA SCHOOL BUS INC.                                             10605 CENTRAL AVE NW                                                                                NM      87121
HERRERA VALERIE                     1201 NW 91ST TER                                                                                                    GAINESVILLE     FL      32606‐5532
HERRERA VALERIE                     HERRERA, VALERIE                120 WEST MADISON STREET , 10TH                                                      CHICAGO          IL     60602
                                                                    FLOOR
HERRERA VIRGINIA                    1544 PASS AND COVINA RD                                                                                             LA PUENTE       CA      91744‐1430
HERRERA, A N                        16742 BRYANTS CIR                                                                                                   CONROE          TX      77306‐8910
HERRERA, ADALBERTO J                3505 JUNE DR                                                                                                        MCKINNEY        TX      75070‐6640
HERRERA, ADAM G                     1058 MAIN ST                                                                                                        BONO            OH      43445‐9612
HERRERA, ADELINE J                  26235 9TH ST SPC 72                                                                                                 HIGHLAND        CA      92346‐3473
HERRERA, ADELINE J                  26235 E. 9TH ST SPACE 72                                                                                            HIGHLAND        CA      92346‐3473
HERRERA, ADOLPH C                   2320 E BROWER ST                                                                                                    SIMI VALLEY     CA      93065‐2504
HERRERA, ADOLPHO H                  3501 WESTGROVE DR                                                                                                   ARLINGTON       TX      76001‐5261
HERRERA, ALEJANDRO G                PO BOX 142                                                                                                          CONVERSE        IN      46919‐0142
HERRERA, ALFONSO B                  4118 STONEWICK DR                                                                                                   ARLINGTON       TX      76016‐3221
HERRERA, ALFRED                     530 E PATRIOT BLVD APT 414                                                                                          RENO            NV      89511‐1289
HERRERA, ANDREZ N                   3153 WIDDOCK ST                                                                                                     ERIE            MI      48133‐9335
HERRERA, ANGELINA                   219 E CUMMINS ST                                                                                                    TECUMSEH        MI      49286‐2023
HERRERA, ANTONIO                    45 S 2ND ST                                                                                                         ELIZABETH       NJ      07206‐1541
HERRERA, ANTONIO                    33754 15TH ST                                                                                                       UNION CITY      CA      94587‐3317
HERRERA, ANTONIO R                  4245 W JOLLY RD LOT 164                                                                                             LANSING         MI      48911‐3062
HERRERA, ARMANDO                    1201 84TH ST                                                                                                        NORTH BERGEN    NJ      07047‐4260
HERRERA, ARTHUR                     499 POWDER MILL LN                                                                                                  COLUMBUS        OH      43228‐1236
HERRERA, ARTURO C                   3929 W 78TH ST                                                                                                      CHICAGO          IL     60652‐1807
HERRERA, BEATRICE M                 134 SUTPHEN STREET                                                                                                  SANTA CRUZ      CA      95060‐1940
HERRERA, BENNY                      12031 TANFIELD DR                                                                                                   LA MIRADA       CA      90638‐1153
HERRERA, BERNABE E                  4912 S SANTA FE AVE                                                                                                 OKLAHOMA CITY   OK      73109‐7549
HERRERA, BLANCA                     1618 FARLEY ST                                                                                                      HARLINGEN       TX      78550
HERRERA, BONNIE J                   2500 MANN RD LOT 37                                                                                                 CLARKSTON       MI      48346‐4243
HERRERA, CARLOS A                   1169 OAK KNOLL RD                                                                                                   SANTA MARIA     CA      93455‐4305
HERRERA, CARLOS G                   1592 BARSTOW RD APT 18                                                                                              MOJAVE          CA      93501
HERRERA, CELESTINO H                13940 LOUVRE ST                                                                                                     PACOIMA         CA      91331‐3541
HERRERA, CLEO F                     1434 VILLA PL SE                                                                                                    RIO RANCHO      NM      87124‐3578
HERRERA, CRUSITA R                  2969 MONMOUTH                                                                                                       SAGINAW         MI      48601‐6211
HERRERA, CRUSITA R                  2969 MONMOUTH ST                                                                                                    SAGINAW         MI      48601‐6211
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Name                     Address1                         Address2                         Address3   Address4               City               State Zip
HERRERA, DANIEL          36 SHERIDAN ST                                                                                      PONTIAC             MI 48342‐1470
HERRERA, DANIEL          DAVID JARAMILLO ATTY             2025 SAN PEDRO DR NE                                               ALBUQUERQUE         NM 87110‐5951
HERRERA, DANIEL
HERRERA, DAVID           7831 BIG RIVER DR                                                                                   RENO               NV    89506‐2174
HERRERA, DAVID A         5589 TULANE AVE                                                                                     AUSTINTOWN         OH    44515‐4223
HERRERA, DEBORAH J       42984 HIGHWAY 49                                                                                    AHWAHNEE           CA    93601‐9797
HERRERA, DELORES J       1385 WILLARD RD                                                                                     BIRCH RUN          MI    48415‐8611
HERRERA, DELORES M       27816 ORLANDO AVE                                                                                   HAYWARD            CA    94545‐4757
HERRERA, DIANNA          215 ALAMO ST                                                                                        EDINBURG           TX    78541
HERRERA, DOLORES A       499 POWDER MILL LN                                                                                  COLUMBUS           OH    43228‐1236
HERRERA, DOLORES ANN     499 POWDER MILL LN                                                                                  COLUMBUS           OH    43228‐1236
HERRERA, ELEAZAR         WIGINGTON RUMLEY LLP             800 NORTH SHORELINE ‐ 14TH                                         CORPUS CHRISTI     TX    78401
                                                          FLOOR SOUTH TOWER
HERRERA, ELENA G         20631 KISER RD                                                                                      DEFIANCE           OH    43512‐9060
HERRERA, ELIAZER         MCGEE WILLIAM R LAW OFFICES OF   16855 W BERNARDO DR STE 380                                        SAN DIEGO          CA    92127‐1626
HERRERA, EMILIO L        8212 HILLCREST BLVD                                                                                 WESTLAND           MI    48185‐1764
HERRERA, FELIPE          510 NORTHWOOD TRL                                                                                   SOUTHLAKE          TX    76092‐7426
HERRERA, FELIPE G        4723 HARTEL RD LOT 12                                                                               POTTERVILLE        MI    48876‐9779
HERRERA, FELIPE G        LOT 12                           4723 HARTEL ROAD                                                   POTTERVILLE        MI    48876‐9779
HERRERA, FORTINO         4417 CADE RD                                                                                        CAPAC              MI    48014‐2805
HERRERA, FRANCISCO E     1356 KINKAID DR                                                                                     OKLAHOMA CITY      OK    73119‐4018
HERRERA, FRANCISCO P     2 JACKSON PL                                                                                        ISLAND PARK        NY    11558‐1508
HERRERA, FRANK G         700 W G ST                                                                                          WILMINGTON         CA    90744‐5310
HERRERA, GABRIELA NINO   BELLAS & WACHOWSKI               15 N NORTHWEST HWY                                                 PARK RIDGE         IL    60068‐3339
HERRERA, GEORGE G        10007 ESTES HILL LN                                                                                 CONROE             TX    77302
HERRERA, GILBERT G       1257 CEDARWOOD DR                                                                                   MINERAL RIDGE      OH    44440‐9423
HERRERA, GILBERTO H      3357 S HAMILTON AVE                                                                                 CHICAGO            IL    60608‐6033
HERRERA, GLADYS A        14756 BALGOWAN RD                                                                                   MIAMI LAKES        FL    33016‐6445
HERRERA, GONZALO         11507 STANG ST RT #1                                                                                MARTIN             OH    43445
HERRERA, GRACIELA B      169 NE 43RD ST                                                                                      MIAMI              FL    33137‐3411
HERRERA, HORTENCIA       PO BOX 456                                                                                          LAREDO             TX    78042‐0456
HERRERA, HORTENCIA J     256 AU SABLE RIVER CT                                                                               ADRIAN             MI    49221‐7711
HERRERA, IGNACIO
HERRERA, ILA K           PO BOX 51804                                                                                        LIVONIA            MI    48151‐5804
HERRERA, ISRAEL          719 MULBERRY ST                                                                                     TRENTON            NJ    08638‐3334
HERRERA, JOANN R         1329 PRIMROSE DR                                                                                    WYLIE              TX    75098‐7656
HERRERA, JOHN            657 N VAN DYKE RD                                                                                   IMLAY CITY         MI    48444‐1181
HERRERA, JOHN            BICKEL LAW FIRM                  100 E SAN MARCOS BLVD STE 400                                      SAN MARCOS         CA    92069‐2988
HERRERA, JOHN F          1365 HUNT RD                                                                                        MANTECA            CA    95337‐6731
HERRERA, JOSE            COONEY & CONWAY                  120 NORTH LASALLE STREET, 30TH                                     CHICAGO            IL    60602
                                                          FLOOR
HERRERA, JOSE
HERRERA, JOSEPH          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD         OH    44067
                                                          PROFESSIONAL BLDG
HERRERA, JOSEPH R        5175 SHAKER RD                                                                                      FRANKLIN           OH    45005‐5131
HERRERA, JUAN            62 PINE ISLAND CIR                                                                                  KISSIMMEE          FL    34743
HERRERA, JUAN A          162 W PRINCETON AVE                                                                                 PONTIAC            MI    48340‐1840
HERRERA, JUANITA H       1430 E CLINTON TRL                                                                                  CHARLOTTE          MI    48813‐8321
HERRERA, LAURA L         10539 ORR AND DAY RD                                                                                SANTA FE SPRINGS   CA    90670‐4108
HERRERA, LEOPOLDO        2701 N CENTRAL PARK AVE                                                                             CHICAGO            IL    60647‐1123
HERRERA, LIBRADO         297 CLIFFORD                                                                                        PONTIAC            MI    48342
HERRERA, LORENZO         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA    23510‐2212
                                                          STREET, SUITE 600
HERRERA, LUIS G          16 PELLETOWN RD                                                                                     AUGUSTA             NJ   07822‐2123
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Name                         Address1                            Address2                        Address3                Address4                  City            State   Zip
HERRERA, LYDIA A             142 TILSON RD                                                                                                         ATHENS           GA     30606
HERRERA, MANUEL G            1075 N 600 W                                                                                                          SWAYZEE          IN     46986‐9760
HERRERA, MANUEL J            15845 SW 146TH AVE                                                                                                    MIAMI            FL     33177‐6894
HERRERA, MANUELA             609 DRAHNER STREET                                                                                                    EATON RAPIDS     MI     48827
HERRERA, MANUELA             609 DRAHNER ST                                                                                                        EATON RAPIDS     MI     48827‐2008
HERRERA, MARGARET            BICKEL LAW FIRM                     100 E SAN MARCOS BLVD STE 400                                                     SAN MARCOS       CA     92069‐2988
HERRERA, MARGARITA CARDOZA   SICO WHITE & BRAUGH LLP             225 S LAKE AVE STE 300                                                            PASADENA         CA     91101‐3009
HERRERA, MARGARITA CARDOZA
HERRERA, MARVIN              1236 TANGERINE PKWY NE                                                                                                WINTER HAVEN     FL     33881‐2658
HERRERA, MICKI CLORANN
HERRERA, MIGUEL R            320 ZENA DR                                                                                                           BROWNSVILLE      TX     78521‐5333
HERRERA, MIKE                15211 SW 143RD ST                                                                                                     MIAMI            FL     33196‐5681
HERRERA, MISTY D             9410 N 500 W                                                                                                          HUNTINGTON       IN     46750‐9732
HERRERA, MISTY DAWN          9410 N 500 W                                                                                                          HUNTINGTON       IN     46750‐9732
HERRERA, NICOLLAS O          8224 YOLANDA AVE                                                                                                      RESEDA           CA     91335‐1261
HERRERA, NIURCA              3505 JUNE DR,                                                                                                         MCKENNEY         TX     75070
HERRERA, ORLANDO M           3536 W BROCKER RD                                                                                                     METAMORA         MI     48455‐9330
HERRERA, ORLANDO MANUEL      3536 W BROCKER RD                                                                                                     METAMORA         MI     48455‐9330
HERRERA, OSCAR               228 E HIRSCH AVE                                                                                                      NORTHLAKE        IL     60164‐2501
HERRERA, PATRICIA
HERRERA, PAUL L              PO BOX 125                                                                                                            AHWAHNEE         CA     93601‐0125
HERRERA, PAUL N              3878 SCAMMAN CT                                                                                                       FREMONT          CA     94538‐4927
HERRERA, PAUL R              11555 W STATE RD                                                                                                      EAGLE            MI     48822‐9707
HERRERA, PAULA RAMIREZ       HERNANDEZ MACIAS 72 CENTRO          37700 SAN MIGUEL                                        DE ALLENDE MEXICO 37700
                                                                                                                         MEXICO
HERRERA, PEDRO               3033 KETTERING HTS APT 3                                                                                              FLINT           MI      48507‐4545
HERRERA, PEDRO               13598 PINE CIR N 2                                                                                                    CONROE          TX      77304
HERRERA, PHILIP L            3206 NE 57TH TER                                                                                                      GLADSTONE       MO      64119‐2013
HERRERA, PHILLIP             TRINE & METCALF                     1435 ARAPAHOE AVE                                                                 BOULDER         CO      80302‐6307
HERRERA, RAMIRO L            2820 ROY DR                                                                                                           SAGINAW         MI      48601
HERRERA, RAMIRO L            7303 POUTER DRIVE                                                                                                     HOUSTON         TX      77083‐4854
HERRERA, RAQUEL              MANCINI SCHREUDER KLINE & CONRAD    28225 MOUND RD                                                                    WARREN          MI      48092‐5504

HERRERA, RICARDO             PO BOX 365                                                                                                            OAK CREEK       WI      53154‐0365
HERRERA, ROB C               5665 MAHONING AVE STE 3                                                                                               YOUNGSTOWN      OH      44515‐2342
HERRERA, ROBERT F            13772 DESMOND ST                                                                                                      PACOIMA         CA      91331‐2706
HERRERA, ROSA                9350 MOONBEAM AVE UNIT 16                                                                                             PANORAMA CITY   CA      91402‐1349
HERRERA, ROSARIO             1349 BEDFORD                                                                                                          FREMONT         CA      94539‐4603
HERRERA, ROSE ANN            VALENZUELA ESTEBAN L & ASSOCIATES   PO BOX 1718                     204 NORTH VINE STREET                             SANTA MARIA     CA      93456‐1718
HERRERA, RUBEN A             62 S UNION ST                                                                                                         ROCHESTER       NY      14607
HERRERA, RUMALDA             5520 CRIPPLE BROOK CT                                                                                                 HOUSTON         TX      77017
HERRERA, SAL                 2214 FOUNTAIN SQUARE AVE                                                                                              MANTECA         CA      95337‐8996
HERRERA, SANTIAGO V          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                       NORFOLK         VA      23510‐2212
                                                                 STREET, SUITE 600
HERRERA, STEVEN              900 LONG BLVD APT 385                                                                                                 LANSING          MI     48911‐6732
HERRERA, THERESA G           303 RAYBURN ST APT 29                                                                                                 LAFAYETTE        LA     70506‐4164
HERRERA, VALERIE             KROHN & MOSS ‐ FL                   120 WEST MADISON STREET, 10TH                                                     CHICAGO          IL     44114
                                                                 FLOOR
HERRERA, VERNA G             5175 SHAKER RD                                                                                                        FRANKLIN        OH      45005‐5131
HERRERA, YOLANDA             162 W PRINCETON AVE                                                                                                   PONTIAC         MI      48340‐1840
HERRERES, TED A              1040 KEWEN ST                                                                                                         SAN FERNANDO    CA      91340‐4035
HERRERO, AMANDO              5401 COLLINS AVE APT 714                                                                                              MIAMI BEACH     FL      33140‐2533
HERRERO, CLARA               401 BAYOU OAKS DR S                                                                                                   SARALAND        AL      36571‐2144
HERRERO, HENRY P             4434 9TH ST                                                                                                           ECORSE          MI      48229‐1134
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Name                         Address1                             Address2                        Address3        Address4                  City              State   Zip
HERRERO, ROSE B              11368 CHATEAU RIDGE TRL                                                                                        FENTON             MI     48430‐3415
HERRETT, ROBERT H            4805 LA GAMA WAY                                                                                               SANTA BARBARA      CA     93111‐1971
HERRGARD, THOMAS K           846 JONES ST NW                                                                                                GRAND RAPIDS       MI     49544‐2824
HERRGOTT, ROBERT H           1876 SANDY SHORES DRIVE                                                                                        OXFORD             MI     48371‐4354
HERRHOLTZ, CHARLES W         2659 ANDERSON MORRIS RD                                                                                        NILES              OH     44446‐4325
HERRICK DOUGLAS (464164)     KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                             CLEVELAND          OH     44114
                                                                  BOND COURT BUILDING
HERRICK FEINSTEIN LLP        ATTN: PAUL RUBIN                     TWO PARK AVENUE                                                           NEW YORK          NY      10016
HERRICK JACK S (477223)      KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                             CLEVELAND         OH      44114
                                                                  BOND COURT BUILDING
HERRICK KIRK                 1400 LENWOOD DR                                                                                                SAGINAW            MI     48638‐6309
HERRICK, ANDREA J            1504 PINE AVE                                                                                                  MANHATTAN BEACH    CA     90266‐5044

HERRICK, ANGIE M             8065 COLDWATER RD                                                                                              FLUSHING          MI      48433‐1121
HERRICK, ANNETTE L           2774 N TIPSICO LAKE RD                                                                                         HARTLAND          MI      48353‐3251
HERRICK, BETTY J             34601 ELMWOOD ST                     APT 349                                                                   WESTLAND          MI      48185‐8147
HERRICK, BONNIE J            40 ASTER CT                                                                                                    NEW LONDON        OH      44851‐1175
HERRICK, BONNIE L            400 E RIVER RD                                                                                                 FLUSHING          MI      48433‐1954
HERRICK, CATHERINE M.        15 MYSTIC LN                                                                                                   MANSFIELD         MA      02048‐3461
HERRICK, CHAD R              8065 COLDWATER RD                                                                                              FLUSHING          MI      48433‐1121
HERRICK, CHARLES L           PO BOX 324                                                                                                     VERNON            MI      48476‐0324
HERRICK, CHRISTOPHER D       1913 MONTEITH ST                                                                                               FLINT             MI      48504‐5202
HERRICK, CHRISTOPHER DUANE   1913 MONTEITH ST                                                                                               FLINT             MI      48504‐5202
HERRICK, CLARE E             13132 NICHOLS RD                                                                                               MONTROSE          MI      48457‐9771
HERRICK, DALE O              PO BOX 90331                                                                                                   BURTON            MI      48509‐0331
HERRICK, DARRELL L           3160 LEXINGTON RD                                                                                              WATERFORD         MI      48328‐1621
HERRICK, DELORES M           PO BOX 192                                                                                                     DAVISON           MI      48423‐0192
HERRICK, DONALD E            105 LYFORD LN                                                                                                  MINOA             NY      13116‐1015
HERRICK, DONALD J            25617 CHERNICK ST                                                                                              TAYLOR            MI      48180‐2071
HERRICK, DONALD M            6292 CORWIN STATION                                                                                            NEWFANE           NY      14108‐9727
HERRICK, DOUGLAS             KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                                              CLEVELAND         OH      44114
                                                                  BOND COURT BUILDING
HERRICK, EILEEN R            6184 W DODGE RD                                                                                                CLIO               MI     48420‐8577
HERRICK, FEINSTEIN LLP       ATTY FOR BRIDGESTONE AMERICAS TIRE   ATT: STEPHEN B. SELBST & PAUL   2 PARK AVENUE                             NEW YORK           NY     10016
                             OPERATIONS, LLC                      RUBIN
HERRICK, FEINSTEIN LLP       WILLIAM R. FRIED                     2 PARK AVENUE                                                             NEW YORK           NY     10016
HERRICK, FEINSTEIN LLP       ANDREW C. GOLD                       ATTY FOR EMERSON ELECTRIC       2 PARK AVENUE                             NEW YORK           NY     10016
                                                                  COMPANY AND ITS AFFILIATES
HERRICK, HAROLD F            8249 SUNSET DR 1                                                                                               LYONS             MI      48851
HERRICK, HAROLD F            # 110                                1501 EAST GANSON STREET                                                   JACKSON           MI      49202‐3529
HERRICK, HAROLD M            25929 MAPLE DR                                                                                                 TAYLOR            MI      48180‐9313
HERRICK, IRMA I              9120 CHATWELL CLUB LN APT 9                                                                                    DAVISON           MI      48423‐2075
HERRICK, IRMA I              APT 9                                9120 CHATWELL CLUB LANE                                                   DAVISON           MI      48423‐2876
HERRICK, JACK S              KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                                              CLEVELAND         OH      44114
                                                                  BOND COURT BUILDING
HERRICK, JAMES A             9960 BRAY RD                                                                                                   MILLINGTON         MI     48746‐9564
HERRICK, JANET L             10810 TOURNAMENT LN                                                                                            INDIANAPOLIS       IN     46229‐4323
HERRICK, JO ANN M            211 KIWANIS DR APT B3                                                                                          MASON              MI     48854‐1486
HERRICK, JOHN G              6355 LUCAS RD                                                                                                  FLINT              MI     48506‐1225
HERRICK, JOHN M              7734 LEVESQUE AVE VILLE                                                              VILLE QC CANADA H1K 2R2
HERRICK, JOHN R              1927 E 500 N                                                                                                   OSSIAN             IN     46777‐9664
HERRICK, JUDITH G            26161 CAMEO CT                                                                                                 MADISON HEIGHTS    MI     48071‐3743

HERRICK, JUSTYN M            1383 MITSON BLVD                                                                                               FLINT              MI     48504‐4206
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Name                     Address1                       Address2            Address3         Address4               City             State   Zip
HERRICK, KENNETH B       PO BOX 375                                                                                 OVID              MI     48866‐0375
HERRICK, KEVIN J         258 LINCOLN AVE                                                                            MOUNT MORRIS      MI     48458‐1167
HERRICK, KIRK H, DR      1400 LENWOOD DR                                                                            SAGINAW           MI     48638‐6309
HERRICK, LOUISE J        5389 HOPKINS RD                                                                            FLINT             MI     48506‐1543
HERRICK, LOUISE JOYCE    5389 HOPKINS ROAD                                                                          FLINT             MI     48506‐1543
HERRICK, MARIE E.        12509 RAILROAD ST                                                                          CLIO              MI     48420
HERRICK, MARY            208 MARY ST                                                                                FLUSHING          MI     48433‐1656
HERRICK, MARY            342 LOCH TAY DR                                                                            MOUNT MORRIS      MI     48458‐8876
HERRICK, MATT M          333 CLOVERDALE PL                                                                          FLINT             MI     48503‐2346
HERRICK, MATT MARK       333 CLOVERDALE PL                                                                          FLINT             MI     48503‐2346
HERRICK, MICHAEL J       6694 E NYE HWY                                                                             EATON RAPIDS      MI     48827‐9556
HERRICK, MICHAEL L       1374 MITSON BLVD                                                                           FLINT             MI     48504‐4207
HERRICK, MICHAEL M       1560 EIFERT RD LOT 7                                                                       HOLT              MI     48842‐1971
HERRICK, NANCY A         6066 E DECATUR ST                                                                          MESA              AZ     85205‐6714
HERRICK, NORMA ELAINE    3256 COUNTRY HOLLOW DR                                                                     SAINT LOUIS       MO     63129‐7029
HERRICK, PATRICIA A      4600 MILLS HWY                                                                             EATON RAPIDS      MI     48827‐8010
HERRICK, RICHARD W       217 68TH ST                                                                                DARIEN             IL    60561‐3920
HERRICK, ROBERT E        217 68TH ST                                                                                DARIEN             IL    60561‐3920
HERRICK, ROBERT J        4600 MILLS HWY                                                                             EATON RAPIDS      MI     48827‐8010
HERRICK, RONALD C        726 E MAIN ST                  APT 103                                                     FLUSHING          MI     48433‐2041
HERRICK, RONALD W        16122 S CODO DR                                                                            HOMER GLEN         IL    60491‐8776
HERRICK, SCOTT D         2405 DENISE DR                                                                             CLIO              MI     48420‐1048
HERRICK, SCOTT DAVID     2405 DENISE DR                                                                             CLIO              MI     48420‐1048
HERRICK, SHARON F        3889 SIERRA HTS                                                                            HOLT              MI     48842‐7706
HERRICK, SHARON F        3889 SIERRA HEIGHTS                                                                        HOLT              MI     48842‐7706
HERRICK, THOMAS E        PO BOX 157                                                                                 PORT AUSTIN       MI     48467‐0157
HERRICK, TIMOTHY J       4511 BOXWOOD CT                                                                            OAKLAND           MI     48306‐4717
                                                                                                                    TOWNSHIP
HERRICK, VICKI L         2066 ASPEN LN S                                                                            CLIO             MI      48420‐1698
HERRICK, WILLIAM G       204 DEER VIEW DR                                                                           TROY             MO      63379‐4886
HERRIDGE, GREGORY P      16677 RENEE DR                                                                             MACOMB           MI      48042‐2335
HERRIDGE, JOHN T         2104 CHARDON RD                                                                            COLUMBUS         OH      43220‐4461
HERRIDGE, MILDRED S      1100 PONDELLA RD. NO. 408                                                                  NORTH FT MYERS   FL      33903
HERRIFF, DARRELL M       5651 BUNKER RD                                                                             EATON RAPIDS     MI      48827‐9104
HERRIFF, DARWIN M        123 MARK ST                                                                                MASON            MI      48854‐1825
HERRIFORD, JAMES E       207 E CHURCH ST                                                                            FARMLAND         IN      47340‐9412
HERRIG CHAD              HERRIG, CHAD                   PO BOX 239                                                  DUBUQUE          IA      52004‐0239
HERRIG, CHAD
HERRIGES, IRENE          20433 VILLA GRANDE CIR                                                                     CLINTON TWP      MI      48038‐5314
HERRIMAN MONA LEE        HERRIMAN, MONA LEE             221 W 5TH ST                                                FLINT            MI      48502‐1058
HERRIMAN, ALAN G         7815 SCOTCH RIDGE RD                                                                       BOWLING GREEN    OH      43402‐9591
HERRIMAN, ALMA E         1658 PALMENTO RD                                                                           ST HELEN         MI      48656‐9422
HERRIMAN, BRENDA C       2932 SUMMIT HILL RD                                                                        NORMAN           OK      73071‐4110
HERRIMAN, BRUCE M        4090 YAX RD                                                                                KINDE            MI      48445‐9327
HERRIMAN, CHAD J         4415 REID RD                                                                               SWARTZ CREEK     MI      48473‐8858
HERRIMAN, CRAIG A        8126 E RICHFIELD RD                                                                        DAVISON          MI      48423‐8580
HERRIMAN, DAVID A        3476 S IRISH RD                                                                            DAVISON          MI      48423‐2440
HERRIMAN, DAVID ATWOOD   3476 S IRISH RD                                                                            DAVISON          MI      48423‐2440
HERRIMAN, DONALD W       20221 NOFSGER RD                                                                           LAKE ANN         MI      49650‐9714
HERRIMAN, ELMER L        1131 RAMSGATE RD APT 4                                                                     FLINT            MI      48532‐3130
HERRIMAN, ELWOOD C       5130 N GALE RD                                                                             DAVISON          MI      48423‐8955
HERRIMAN, JACK J         3006 SHEPPARD BRANCH RD                                                                    LEWISBURG        TN      37091
HERRIMAN, JAMES E        4011 GREENMONT DR SE                                                                       WARREN           OH      44484‐2613
HERRIMAN, JAMES H        2261 HOLLY TREE DR                                                                         DAVISON          MI      48423‐2065
                                      09-50026-mg            Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                                  Address1                        Address2                        Address3   Address4               City               State   Zip
HERRIMAN, JANET L                     16806 US HIGHWAY 20A 20                                                                           WEST UNITY          OH     43570
HERRIMAN, JEFFERY S                   332 WINDY BLF                                                                                     FLUSHING            MI     48433‐2647
HERRIMAN, KATHRYN L                   3476 S IRISH RD                                                                                   DAVISON             MI     48423‐2440
HERRIMAN, KEITH D                     1253 W HORTON RD                                                                                  JASPER              MI     49248‐9760
HERRIMAN, KENNETH A                   10064 ELMS RD                                                                                     MONTROSE            MI     48457‐9172
HERRIMAN, KIRK W                      PO BOX 202                                                                                        MESICK              MI     49668‐0202
HERRIMAN, LARRY W                     242 COUNTY ROAD 550                                                                               MARQUETTE           MI     49855
HERRIMAN, PATRICK N                   44946 GOVERNOR BRADFORD RD                                                                        PLYMOUTH            MI     48170‐3712
HERRIMAN, ROBERTA J                   PO BOX 76 9317 VAN BUREN                                                                          ST HELEN            MI     48656‐0076
HERRIMAN, ROBERTA J                   9317 VAN BUREN STREET                                                                             SAINT HELEN         MI     48656‐9631
HERRIMAN, RODNEY L                    12136 E RICHFIELD RD                                                                              DAVISON             MI     48423‐8406
HERRIMAN, RUSSELL J                   9153 OPORTO ST                                                                                    LIVONIA             MI     48150‐3924
HERRIMAN, RUTH IRENE                  6044 SURRY LANE                                                                                   BURTON              MI     48519‐1314
HERRIMAN, RUTH IRENE                  6044 SURREY LN                                                                                    BURTON              MI     48519‐1314
HERRIMAN, SCOTT B                     9026 E POTTER RD                                                                                  DAVISON             MI     48423‐8188
HERRIMAN, SHANE L                     8585 DEVIN DR                                                                                     DAVISON             MI     48423‐2145
HERRIMAN, SHANE LEE                   8585 DEVIN DR                                                                                     DAVISON             MI     48423‐2145
HERRIMAN, SHIRLEY E                   PO BOX 2187                                                                                       ZEPHYRHILLS         FL     33539
HERRIMAN‐ CRANE, DIANE J              26 BELLWOOD DR                                                                                    SWARTZ CREEK        MI     48473‐8283
HERRIN AMBER M                        103 STEVEN ST                                                                                     KILGORE             TX     75662‐9613
HERRIN DAVID G (ESTATE OF) (637673)   JACKSON ADAMS PC                401 CONGRESS AVE STE 1540                                         AUSTIN              TX     78701‐3851
HERRIN, ALBERT                        405 CHRISTOPHER CT SE                                                                             WINTER HAVEN        FL     33884‐1574
HERRIN, AMBER M                       103 STEVEN ST                                                                                     KILGORE             TX     75662‐9613
HERRIN, BRADLEY W                     103 STEVEN ST                                                                                     KILGORE             TX     75662‐9613
HERRIN, DAVID G                       JACKSON ADAMS PC                401 CONGRESS AVE STE 1540                                         AUSTIN              TX     78701‐3851
HERRIN, GLENN D                       201 CORNWALLICE CT                                                                                FLINT               MI     48507‐5913
HERRIN, GREGORY A                     2006 BEACON HILL CT                                                                               FRANKLIN            TN     37067‐4016
HERRIN, IRMA ANN B                    HWY 28 NORTH, BOX 21                                                                              ALMOND              NC     28702‐0021
HERRIN, IRMA ANN B                    PO BOX 21                                                                                         ALMOND              NC     28702‐0021
HERRIN, J L
HERRIN, LARRY R                       480 BLUEGRASS RD                                                                                  FRANKLIN            KY     42134‐2428
HERRIN, LELA A                        PO BOX 7 3700 CLARKS CREEK RD                                                                     PLAINFIELD          IN     46168‐0007
HERRIN, LESLIE
HERRIN, NATHAN                        3164 GOLDEN POND DR                                                                               NORMAN              OK     73072‐9176
HERRIN, RONALD B                      17210 STONE DR                                                                                    CLINTON TOWNSHIP    MI     48038‐4865

HERRIN, RONALD J                      2859 CREEK BEND DR                                                                                TROY                MI     48098‐2381
HERRIN, SANDRA GAIL                   3152 CRESTVIEW CIRCLE                                                                             DULUTH              GA     30096‐2514
HERRIN, SHANA B                       34595 QUAKER VALLEY RD                                                                            FARMINGTON HILLS    MI     48331‐3618

HERRIN, THOMAS A                      25 PINE HILL RD                                                                                   BATESVILLE         AR      72501‐8636
HERRIN, UNA VERSA                     1158 W BOATFIELD AVE                                                                              FLINT              MI      48507‐3608
HERRIN, UNA VERSA                     1158 BOATFIELD                                                                                    FLINT              MI      48507‐3608
HERRIN, VERENA A                      25 PINE HILL RD                                                                                   BATESVILLE         AR      72501‐8636
HERRIN, WILLIAM H                     105 LAKEVIEW DR                                                                                   BULL SHOALS        AR      72619‐3506
HERRIN‐GEAR CHEVROLET CO INC          1685 HIGH ST                                                                                      JACKSON            MS      39202‐3522
HERRIN‐GEAR CHEVROLET CO., INC                                                                                                          JACKSON            MS      39202‐3522
HERRIN‐GEAR CHEVROLET CO., INC        1685 HIGH ST                                                                                      JACKSON            MS      39202‐3522
HERRIN‐GEAR CHEVROLET CO., INC.       JACK HERRIN                     1685 HIGH ST                                                      JACKSON            MS      39202‐3522
HERRIN‐GEAR CHEVROLET CO., INC.       1685 HIGH ST                                                                                      JACKSON            MS      39202‐3522
HERRING BOBBY LEE (643375)            WATERS & KRAUSE                 300 CONTINENTAL BLVD STE 500                                      EL SEGUNDO         CA      90245‐5050
HERRING DAVE                          529 KENNEDY AVE                                                                                   YPSILANTI          MI      48198‐8006
HERRING GEORGE (445192)               BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                                      PROFESSIONAL BLDG
                             09-50026-mg           Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                         Address1                       Address2                        Address3   Address4               City             State Zip
HERRING GERALD (445193)      BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH 44067
                                                            PROFESSIONAL BLDG
HERRING HOWARD               510 REEDY RIVER RD                                                                               MYRTLE BEACH     SC   29588‐7443
HERRING JR, JIM              4413 CAMPBELL LN                                                                                 BIRMINGHAM       AL   35207‐1709
HERRING JR., ELLIOTT R       56928 SILVERSTONE DR                                                                             THREE RIVERS     MI   49093‐9002
HERRING KATHY                3806 LITTLETON ST                                                                                SILVER SPRING    MD   20906‐4237
HERRING LUCILLE              C/O PAUL REICH & MYERS PC      1608 WALNUT ST STE 500                                            PHILADELPHIA     PA   19103‐6446
HERRING MICHAEL S (439127)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA   23510
                                                            STREET, SUITE 600
HERRING RONALD E             C/O EDWARD O MOODY P A         801 W 4TH ST                                                      LITTLE ROCK      AR   72201
HERRING ROSCOE               HERRING, ROSCOE
HERRING SHIRLEY (659527)     BILBREY & HYLIA                8724 PIN OAK RD                                                   EDWARDSVILLE     IL   62025‐6822
HERRING SHIRLEY (663291)     BILBREY & HYLIA                8724 PIN OAK RD                                                   EDWARDSVILLE     IL   62025‐6822
HERRING, ALBERT L            5503 LAKEPOINTE ST                                                                               DETROIT          MI   48224‐3010
HERRING, ALICE D             1301 POLK CITY RD LOT 150                                                                        HAINES CITY      FL   33844
HERRING, ANNETTA F           11411 HIDDEN LAKE DR APT 709                                                                     RAYTOWN          MO   64133‐7412
HERRING, ANNETTE             591 CLARA AVE                                                                                    PONTIAC          MI   48340
HERRING, ANNETTE             798 STANLEY AVE                                                                                  PONTIAC          MI   48340‐2556
HERRING, ARTHUR G            670 BARRON RD                                                                                    KEITHVILLE       LA   71047‐7367
HERRING, ARTHUR GLENN        670 BARRON RD                                                                                    KEITHVILLE       LA   71047‐7367
HERRING, BERNICE S           4863 BECKER DR                                                                                   DAYTON           OH   45427‐3017
HERRING, BETTIE              1019 HERMITAGE DR                                                                                MADISON          TN   37115‐5959
HERRING, BETTIE              1019 HERITAGE DR                                                                                 MADISON          TN   37115‐5959
HERRING, BINAH B             2036 HEMPSTEAD RD.                                                                               AUBURN HILLS     MI   48326‐3402
HERRING, BOBBY L             C/O WATERS & KRAUS LLP         3219 MCKINNEY AVE                                                 DALLAS           TX   75204
HERRING, BOBBY LEE           WATERS & KRAUSE                300 CONTINENTAL BLVD STE 500                                      EL SEGUNDO       CA   90245‐5050
HERRING, BRYANT              PO BOX 163                                                                                       IDA              LA   71044‐0163
HERRING, CARSON H            824 PITTY PAT DR                                                                                 FLORENCE         SC   29505‐7129
HERRING, CASSANDRA L         611 S MILLER AVE                                                                                 MARION           IN   46953‐1141
HERRING, CHARLES F           12041 FAIRWAY AVE                                                                                BROOKSVILLE      FL   34613‐5535
HERRING, CHARLES G           8445 HALLET ST                                                                                   LENEXA           KS   66215
HERRING, CHARLES R           310 FM 1534                                                                                      WHITNEY          TX   76692‐5155
HERRING, CINDY M             3275 CLAYPOOL BOYCE RD                                                                           ALVATON          KY   42122‐9646
HERRING, CRYSTAL             1197 LYNNEBROOK COURT                                                                            CINCINNATI       OH   45224
HERRING, CYNTHIA L           14041 SADDLESOAP COURT                                                                           HASLET           TX   76052‐3362
HERRING, DAN                 7160 MEADOWVUE DR                                                                                GRAND BLANC      MI   48439‐2301
HERRING, DARRICK B           5276 EDGEMERE DR                                                                                 FLORISSANT       MO   63033‐7737
HERRING, DAVID B             529 KENNEDY AVE                                                                                  YPSILANTI        MI   48198‐8006
HERRING, DAVID BRUCE         529 KENNEDY AVE                                                                                  YPSILANTI        MI   48198‐8006
HERRING, DAVID M             1921 YUMA TRL                                                                                    OKEMOS           MI   48864‐2744
HERRING, DELENCIE L          18708 MARK TWAIN ST                                                                              DETROIT          MI   48235‐2582
HERRING, DONALD R            4782 S 900 E                                                                                     UPLAND           IN   46989‐9791
HERRING, DONALD R            RR 4 BOX 9405                                                                                    EUFAULA          OK   74432‐9353
HERRING, DONNIE L            122 BENEDICT AVE                                                                                 SYRACUSE         NY   13210‐3521
HERRING, DOROTHY J           410 LINDA VISTA DR                                                                               PONTIAC          MI   48342‐1743
HERRING, E L                 4002 MURRAY STREET                                                                               FORT MILL        SC   29707‐5968
HERRING, EDWARD              4800 MARGARET CT                                                                                 BRIDGEPORT       MI   48722‐9514
HERRING, EVAN L              1201 MUNCIE PIKE                                                                                 JONESBORO        IN   46938‐1640
HERRING, FRANCES             PO BOX 332                                                                                       ATKINSON         NC   28421‐0332
HERRING, FRANCES R.          1588 WARRINGTON ST                                                                               WINTER SPRINGS   FL   32708‐6138
HERRING, GARY J              4936 N 1300 E 34                                                                                 CONVERSE         IN   46919‐9630
HERRING, GEORGE              BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD       OH   44067
                                                            PROFESSIONAL BLDG
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HERRING, GERALD           BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD       OH 44067
                                                              PROFESSIONAL BLDG
HERRING, GLENN D          17425 MERRIMAN RD                                                                                    ROMULUS         MI   48174
HERRING, HAROLD           102 BARTON ST                                                                                        ROCHESTER       NY   14611‐3814
HERRING, HENRY D          1012 NORTH BLUE QUAIL COURT                                                                          GRANBURY        TX   76049‐8124
HERRING, HENRY H          35 SKYVIEW CIR                                                                                       CARTERSVILLE    GA   30120‐2035
HERRING, IVAN L           202 E HOUSTONIA AVE                                                                                  ROYAL OAK       MI   48073‐4186
HERRING, JAMES M          3762 W OLD ROAD 30                  LOT 625 WESTHAVEN ESTATE                                         WARSAW          IN   46580‐8800
HERRING, JAMES W          853 HIGHWAY 550 NW                                                                                   BROOKHAVEN      MS   39601‐8504
HERRING, JAMES WESLEY     SHANNON LAW FIRM                    100 W GALLATIN ST                                                HAZLEHURST      MS   39083‐3007
HERRING, JEANETTE P       56928 SILVERSTONE DR                                                                                 THREE RIVERS    MI   49093‐9002
HERRING, JERRY C          8065 HARTEL RD                                                                                       GRAND LEDGE     MI   48837‐9473
HERRING, JERRY L          767 E MANSFIELD AVE                                                                                  PONTIAC         MI   48340‐2951
HERRING, JIMMIE L         210 HORSESHOE BEND CIR                                                                               GRIFFIN         GA   30223‐8409
HERRING, JOANNE           4800 MARGARET CT                                                                                     BRIDGEPORT      MI   48722‐9514
HERRING, JOHN C           8024 TROOST AVE APT 103                                                                              KANSAS CITY     MO   64131‐3905
HERRING, JOHN H           15059 E LEE RD                                                                                       ALBION          NY   14411‐9546
HERRING, JOHN L           2882 TUPELO DR                                                                                       PANAMA CITY     FL   32405‐2035
HERRING, JOHN L           1601 HIGHWAY Y                                                                                       FOLEY           MO   63347‐3102
HERRING, JOHN L           PO BOX 2225                                                                                          PONTIAC         MI   48343
HERRING, JOHNNIE          PO BOX 97                                                                                            GUNTOWN         MS   38849‐0097
HERRING, JOHNNIE          BOX 97                                                                                               GUNTOWN         MS   38849‐0097
HERRING, JOLENE S         1612 SOUTHWEST 87TH STREET                                                                           OKLAHOMA CITY   OK   73159‐6207
HERRING, JOSEPH F         437 MILL ST                                                                                          FAWN GROVE      PA   17321‐9648
HERRING, LARRY L          C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                           EDWARDSVILLE    IL   62025
                          ROWLAND PC
HERRING, LORETTA
HERRING, LORETTA          211 GARFIELD ST                                                                                      ROCHESTER       NY   14611‐2917
HERRING, MABEL L          2905 LEON AVE                                                                                        LANSING         MI   48906‐2634
HERRING, MARGARET L       1127 FOREST CREEK ST                                                                                 BENBROOK        TX   76126‐2723
HERRING, MARJORIE         6091 DERBY RD                                                                                        DAYTON          OH   45418‐1501
HERRING, MARSHA N         2260 GLENBAR DR                                                                                      GERMANTOWN      TN   38139‐5419
HERRING, MARTHA           26739 LEHIGH                                                                                         INKSTER         MI   48141‐3126
HERRING, MARTHA           26739 LEHIGH ST                                                                                      INKSTER         MI   48141‐3126
HERRING, MARTHA C         3870 ANGUS LN                                                                                        MORAINE         OH   45439‐1202
HERRING, MARTHA C         3870 ANGUS LANE                                                                                      DAYTON          OH   45439‐1202
HERRING, MEARLY M         3122 GARVIN RD 3                                                                                     DAYTON          OH   45405
HERRING, MELVIN L         901 S 400 E                                                                                          MARION          IN   46953‐9604
HERRING, MERRILY R        27 ROUNDTOP RD                                                                                       FRAMINGHAM      MA   01701‐3123
HERRING, MICHAEL H        1316 W 55TH ST                                                                                       MARION          IN   46953‐5752
HERRING, MICHAEL HAROLD   1316 W 55TH ST                                                                                       MARION          IN   46953‐5752
HERRING, MICHAEL S        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA   23510‐2212
                                                              STREET, SUITE 600
HERRING, MICHAEL W        8109 JOHN ROBERT DR                                                                                  OKLAHOMA CITY   OK   73135‐6044
HERRING, PAMELA S         PO BOX 184                                                                                           MARION          IN   46952
HERRING, PAMELA S         6084 FRANCES SLOCUM TRL                                                                              MARION          IN   46952‐9768
HERRING, PATTY M          4106 MONUMENT AVE                                                                                    RICHMOND        VA   23230‐3819
HERRING, PAUL J           1503 E CRANE POND DR                                                                                 MARION          IN   46952‐9524
HERRING, PAUL J           4102 COMMONWEALTH CIR                                                                                NEWNAN          GA   30263‐7834
HERRING, PEARL F          2882 TUPELO DR                                                                                       PANAMA CITY     FL   32405‐2035
HERRING, RALPH D          6091 DEBRY RD                                                                                        DAYTON          OH   45418‐5418
HERRING, RALPH D          6091 DERBY RD                                                                                        DAYTON          OH   45418‐1501
HERRING, RANDY L          19921 KEYSTONE ST                                                                                    DETROIT         MI   48234‐2363
HERRING, ROBERT E         3641 S 1000 E                                                                                        UPLAND          IN   46989‐9782
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Name                          Address1                        Address2                        Address3                     Address4               City             State   Zip
HERRING, RONALD E             MOODY EDWARD O                  801 W 4TH ST                                                                        LITTLE ROCK       AR     72201‐2107
HERRING, RONALD G             14041 SADDLE SOAP COURT                                                                                             FT WORTH          TX     76052
HERRING, ROSCOE L             1889 HUNTINGTON BLVD                                                                                                GROSSE POINTE     MI     48236‐1917
                                                                                                                                                  WOODS
HERRING, RUSSELL L            1132 RUSSELL DRIVE                                                                                                  HIGHLAND BCH     FL      33487‐4222
HERRING, SHARITA              29 DURR TRAIL                                                                                                       PRENTISS         MS      39474
HERRING, SHARITA              29 DURR TRL                                                                                                         PRENTISS         MS      39474‐4184
HERRING, SHIRLEY              BILBREY & HYLIA                 8724 PIN OAK RD                                                                     EDWARDSVILLE     IL      62025‐6822
HERRING, SHIRLEY R            2323 CHAPEL HILL LN                                                                                                 ARLINGTON        TX      76014‐1009
HERRING, SUSAN K              4936 N 1300 E                                                                                                       CONVERSE         IN      46919
HERRING, SUSAN KATHLEEN       4936 N 1300 E                                                                                                       CONVERSE         IN      46919
HERRING, TERRY A              PO BOX 184                                                                                                          MARION           IN      46952
HERRING, TERRY A              6084 FRANCES SLOCUM TRL                                                                                             MARION           IN      46952‐9768
HERRING, THOMAS D             1040 GLENDALE DR                                                                                                    DICKSON          TN      37055‐4005
HERRING, TONICA               2523 12TH ST NW                                                                                                     WASHINGTON       DC      20009‐5203
HERRING, WALTER E             10308 N CROSSFIELD DR                                                                                               EDGERTON         WI      53534‐8460
HERRING, WANDA F              89 MELVIN DR                                                                                                        JEFFERSON        GA      30549‐6718
HERRING, WANDA F              89 MELVIN DRIVE                                                                                                     JEFFERSON        GA      30549‐6718
HERRING, WANDA L              RR 2 BOX 425                                                                                                        MCLOUD           OK      74851‐9425
HERRING, WARREN S             2895 KOCHVILLE RD                                                                                                   SAGINAW          MI      48604‐9207
HERRING, WAYNE E              8659 SPRINGWOOD WAY                                                                                                 WASHINGTON TWP   MI      48094‐1533

HERRING, WENDAL H             5200 N 350 E                                                                                                        LEBANON          IN      46052‐8209
HERRING, WILLIAM F            12930 VIA CATHERINA DR                                                                                              GRAND BLANC      MI      48439‐1532
HERRING, WILLIAM H            416 ARNOLD AVE                                                                                                      ROMEOVILLE       IL      60446‐1406
HERRING, WILLIAM L            1417 SCHULT CT                                                                                                      TAVARES          FL      32778‐2512
HERRING, WILLIAM T            161 LONE POND CIR                                                                                                   SYLACAUGA        AL      35151‐6540
HERRING, WILLIE MAE           1601 SUNDALE AVE                                                                                                    DAYTON           OH      45406‐3542
HERRING, ZACKIE M             PO 688                                                                                                              VAN ALSTYNE      TX      75495
HERRINGER, SYLVESTER P        468 OTTAWA LN                                                                                                       PRUDENVILLE      MI      48651‐9713
HERRINGSHAW, JAMES H          8066 QUEEN PALM LN APT 518                                                                                          FORT MYERS       FL      33966‐6475
HERRINGSHAW, JAMES H          APT 518                         8066 QUEEN PALM LANE                                                                FORT MYERS       FL      33966‐6475
HERRINGSHAW, JAMES M          2778 SARAH CT                                                                                                       BAY CITY         MI      48708‐8464
HERRINGTON GEORGE (459124)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                         NORFOLK          VA      23510
                                                              STREET, SUITE 600
HERRINGTON JR, DONALD L       PO BOX 259                                                                                                          OTISVILLE         MI     48463‐0259
HERRINGTON MELISSA            HERRINGTON, MELISSA             1500 HIGHWAY 17 N STE 209                                                           SURFSIDE BEACH    SC     29575‐6078
HERRINGTON MELISSA            HERRINGTON, BRIAN               KELAHER CONNELL & CONNOR P.A.   SUITE 209, THE COURTYARD ,                          SURFSIDE BEACH    SC     29587
                                                                                              1500 US HIGHWAY 17 NORTH

HERRINGTON MELISSA            HERRINGTON, DONALD L            KELAHER CONNELL & CONNOR P.A.   SUITE 209, THE COURTYARD ,                          SURFSIDE BEACH    SC     29587
                                                                                              1500 US HIGHWAY 17 NORTH

HERRINGTON ROGER D PC         MAIL CODE MC 482‐B38‐C96        200 RENAISSANCE CTR             PO BOX 200ADD CHG 11\00                             DETROIT           MI     48265‐2000
HERRINGTON, BEVERLY S         114 NORTH 3RD AVENUE                                                                                                BEECH GROVE       IN     46107‐1310
HERRINGTON, CARL M            233 BRANNON DR                                                                                                      HOSCHTON          GA     30548‐6343
HERRINGTON, CARLIS D          25072 PAMELA ST                                                                                                     TAYLOR            MI     48180‐4522
HERRINGTON, CHAD J            4708 E 610 N                                                                                                        ROANOKE           IN     46783‐8847
HERRINGTON, CHARLES E         9000 W WILDERNESS WAY APT 194                                                                                       SHREVEPORT        LA     71106‐6844
HERRINGTON, CLARA MARIE JEA   77 E YALE AVE                                                                                                       PONTIAC           MI     48340‐1976
HERRINGTON, CLARA MARIE JEA   77 EAST YALE AVENUE                                                                                                 PONTIAC           MI     48340‐1976
HERRINGTON, DALE W            7672 N BAREKMAN CT                                                                                                  MONTICELLO        IN     47960‐7547
HERRINGTON, DAVID E           6108 EAST AVE                                                                                                       NEWFANE           NY     14108‐1329
HERRINGTON, DEBORAH KAY       305 5TH AVE                                                                                                         COLUMBIA          TN     38401‐2815
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Name                             Address1                        Address2                      Address3   Address4                 City             State   Zip
HERRINGTON, DONALD J             3439 STATE HIGHWAY 67                                                                             GOSPORT           IN     47433‐7726
HERRINGTON, DONALDA M            190 E PARK AVE                                                                                    FLUSHING          MI     48433‐1564
HERRINGTON, DOROTHY M            612 MOREHEAD RD                                                                                   BOWLING GREEN     KY     42101
HERRINGTON, DOROTHY M            735 PATTON WAY                  AOT 14                                                            BOWLING GREEN     KY     42104‐4009
HERRINGTON, DOUGLAS F            14145 DRUMRIGHT DR                                                                                STERLING HTS      MI     48313‐4319
HERRINGTON, ETHEL E              5658 TONAWANDA CREEK RD                                                                           LOCKPORT          NY     14094‐9541
HERRINGTON, GEORGE               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA     23510‐2212
                                                                 STREET, SUITE 600
HERRINGTON, GEORGE D             143 CHADWICK CT                                                                                   CARMEL           IN      46033‐3846
HERRINGTON, HELEN                303 AZALEA DR                                                                                     PHILADELPHIA     MS      39350‐3301
HERRINGTON, HELEN                212 CREEKWOOD RD                                                                                  HARTWELL         GA      30643‐2765
HERRINGTON, HELEN                233 BRANNON DR                                                                                    HOSCHTON         GA      30548‐6343
HERRINGTON, HOLLIS R             612 MOREHEAD ROAD                                                                                 BOWLING GREEN    KY      42101‐6301
HERRINGTON, HOWARD G             6105 EAST AVE                                                                                     NEWFANE          NY      14108‐1303
HERRINGTON, JEROME               SHANNON LAW FIRM                100 W GALLATIN ST                                                 HAZLEHURST       MS      39083‐3007
HERRINGTON, JOANN                SHANNON LAW FIRM                100 W GALLATIN ST                                                 HAZLEHURST       MS      39083‐3007
HERRINGTON, JOHN                 PO BOX 903                                                                                        BRONX            NY      10458‐0704
HERRINGTON, JOHN E               530 CASEY RD                                                                                      EAST AMHERST     NY      14051‐1487
HERRINGTON, JOHN T               2103 CARROLL ST                                                                                   MUSKOGEE         OK      74401‐3939
HERRINGTON, KEITH L              1625 JOSLYN AVE                                                                                   PONTIAC          MI      48340‐1318
HERRINGTON, KEITH L              2329 BAPTIST CHURCH RD                                                                            CULLEOKA         TN      38451‐2105
HERRINGTON, LESTER L             6752 BLACK RD                                                                                     JOHANNESBURG     MI      49751
HERRINGTON, LLOYD
HERRINGTON, MARILYN A            7199 GREEN VALLEY DR                                                                              GRAND BLANC      MI      48439‐8142
HERRINGTON, MARSHALL M           5780 MCKEE RD                                                                                     NEWFANE          NY      14108‐9612
HERRINGTON, MARY A               3485 N COUNTY LINE RD E                                                                           GOSPORT          IN      47433‐7847
HERRINGTON, MARY ANN             3485 N COUNTY LINE RD E                                                                           GOSPORT          IN      47433‐7847
HERRINGTON, NEIL D               540 BRICKELL KEY DR APT 1000                                                                      MIAMI            FL      33131
HERRINGTON, NILA J               1505 MICHIGAN RD                                                                                  FRANKLIN         IN      46131‐8509
HERRINGTON, ROBERT L             PO BOX 1574                                                                                       DENHAM SPRINGS   LA      70727‐1574
HERRINGTON, ROBERT L             30681 WEISS RD                                                                                    LIVINGSTON       LA      70754‐2015
HERRINGTON, ROGER D              2240 WIGGEN LN                                                                                    WHITE LAKE       MI      48386‐1584
HERRINGTON, RONALD A             28 ZALESKI DR                                                                                     SAYREVILLE       NJ      08872‐1920
HERRINGTON, SHARON D             6301 HAMPTON DR                                                                                   AMARILLO         TX      79109
HERRINGTON, STANLEY E            3864 MILAM RD                                                                                     BATES CITY       MO      64011‐8276
HERRINGTON, STELLA F             1556 HERRINGTON RD                                                                                LAWRENCEVILLE    GA      30043
HERRINGTON, TRUEMAN W            3289 JACQUE ST                                                                                    FLINT            MI      48532‐3708
HERRINGTON, WILL                 7990 ZUPANCIC DR                                                                                  GARRETTSVILLE    OH      44231‐1027
HERRINGTON, WILLIAM G
HERRINGTONS AUTO SERVICE         962 SIMCOE ST N                                                          OSHAWA ON L1G 4W2
                                                                                                          CANADA
HERRIS STANDIFER                 9304 E 90TH TER                                                                                   KANSAS CITY      MO      64138‐4767
HERRITZ, ALEX A                  1523 HAWTHORNE AVE                                                                                JANESVILLE       WI      53545‐1942
HERRIVEN, CAROL                  494 SOUTH ST APT D                                                                                LOCKPORT         NY      14094‐3980
HERRIVEN, DOUGLAS J              34 KELLY AVE                                                                                      MIDDLEPORT       NY      14105‐1218
HERRIVEN, GARY N                 9842 LOWER LAKE RD                                                                                BARKER           NY      14012‐9661
HERRIVEN, LEE F                  APT D                           494 SOUTH STREET                                                  LOCKPORT         NY      14094‐3980
HERRIVEN, MATTHEW L              3608 CARMEN RD                                                                                    MIDDLEPORT       NY      14105‐9756
HERRIVEN, RODNEY J               537 APPLEWOOD DR                                                                                  LOCKPORT         NY      14094‐9155
HERRLE, FLORENCE S               210 E ROBINDALE RD                                                                                LAS VEGAS        NV      89123‐1160
HERRLI, WARNER                   E312 23RD ST                                                                                      BRODHEAD         WI      53520‐2204
HERRLINGER REINHOLD AND URSULA   GENGLERSTR. 10                                                           91054 ERLANGEN GERMANY
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Name                         Address1                         Address2                     Address3   Address4               City            State Zip
HERRMAN WILLIAM F (467407)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                     BALTIMORE        MD 21202
                                                              CHARLES CENTER 22ND FLOOR
HERRMAN, CHARLES T           14 ANCHOR DR                                                                                    BLUE SPRINGS    MO   64015‐9695
HERRMAN, JEANETTE M          108 LABURNUM ROAD                                                                               EDGEWOOD        MD   21040‐3508
HERRMAN, JEANETTE MARY       108 LABURNUM ROAD                                                                               EDGEWOOD        MD   21040‐3508
HERRMAN, KENNETH P           6780 GLACIER DR                                                                                 WEST BEND       WI   53090‐9366
HERRMAN, WILLIAM F           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                      BALTIMORE       MD   21202
                                                              CHARLES CENTER 22ND FLOOR
HERRMANN WINNER              109 SHAPIRO TRL                                                                                 COLUMBIA        TN   38401‐6721
HERRMANN, ANA M              2006 DUMONT RD                                                                                  TIMONIUM        MD   21093‐4408
HERRMANN, ANDREW             3813 HUNTER AVENUE                                                                              DES MOINES      IA   50311‐2714
HERRMANN, ARTIE S            900 CENTER RD                                                                                   WILMINGTON      OH   45177‐9096
HERRMANN, ARTIE S            900 CENTER ROAD                                                                                 WILMINGTON      OH   45177‐9096
HERRMANN, BERND A            9752 ABI LN                                                                                     PLYMOUTH        MI   48170‐5800
HERRMANN, BERND A            49074 FOX DR N                                                                                  PLYMOUTH        MI   48170‐5204
HERRMANN, BETTY              201 DEWITT LN                    APT 305                                                        SPRING LAKE     MI   49456‐2423
HERRMANN, BETTY              201 DEWITT LN APT 305                                                                           SPRING LAKE     MI   49456‐2423
HERRMANN, BONNIE M           206 EAST TEMPLE                                                                                 COLUMBIA        IL   62236‐1208
HERRMANN, BONNIE M           206 E TEMPLE ST                                                                                 COLUMBIA        IL   62236‐1208
HERRMANN, BRUCE D            104 RIDGEDALE CIR                                                                               TONAWANDA       NY   14150‐4230
HERRMANN, BRUCE DAVID        104 RIDGEDALE CIR                                                                               TONAWANDA       NY   14150‐4230
HERRMANN, CARL               40 HALLEY DR                                                                                    POMONA          NY   10970‐2003
HERRMANN, CAROL H            205 WASHBURN DR                                                                                 EAST SYRACUSE   NY   13057‐1633
HERRMANN, CHARLES C          189 COLLINS AVE                                                                                 BUFFALO         NY   14224‐1109
HERRMANN, CHARLES S          9538 HIGHWAY 21                                                                                 HILLSBORO       MO   63050‐2518
HERRMANN, DIETER             CANISCA‐ DATA SYSTEMS SU         OSHAWA ONTARIO
HERRMANN, EDWARD J           9 ANDRUS CIR                                                                                    SILVER CREEK    NY   14136‐1491
HERRMANN, ELEANOR A          559 LOCUST STREET                                                                               N TONAWANDA     NY   14120‐4630
HERRMANN, ELIZABETH E        537 WEST BOOT ROAD                                                                              WEST CHESTER    PA   19380‐1054
HERRMANN, FRANCES L          10 NORTHWOOD DR                                                                                 DEPEW           NY   14043‐4541
HERRMANN, GERALDINE          11614 S KIRKWOOD RD                                                                             STAFFORD        TX   77477‐1306
HERRMANN, JANET C            4275 N HICKORY RIDGE RD                                                                         HIGHLAND        MI   48357‐2521
HERRMANN, JEROME D           11025 KEYSTONE DR NE                                                                            LOWELL          MI   49331‐9786
HERRMANN, JERRY W            619 COMMERCIAL ST                                                                               COMMERCE TWP    MI   48382‐2923
HERRMANN, JOSEPH E           6736 S 20TH ST                                                                                  MILWAUKEE       WI   53221
HERRMANN, JOSEPH W           8265 LOON LN                                                                                    GRAND BLANC     MI   48439
HERRMANN, JOSEPH W           4476 MEADOWBROOK DRIVE                                                                          FLINT           MI   48506‐2005
HERRMANN, JOSEPH WILLIAM     5199 OBERLIN ROAD                                                                               GLADWIN         MI   48624‐8956
HERRMANN, KENNETH J          1204 PROSPER DR                                                                                 TROY            MI   48098‐2024
HERRMANN, LEE A              2242 PRESTWICK ST                                                                               STOCKTON        CA   95206‐4721
HERRMANN, LESTER H           124 RIVERDALE DR                                                                                GRAND ISLAND    NY   14072‐2820
HERRMANN, MATTHEW A          1120 GENESEE DR                                                                                 ROYAL OAK       MI   48073‐2029
HERRMANN, MICHAEL J          647 S BYWOOD AVE                                                                                CLAWSON         MI   48017‐1873
HERRMANN, NORMAN C           5175 S ELMS RD                                                                                  SWARTZ CREEK    MI   48473‐1601
HERRMANN, PATRICIA J         1 SIGNATURE POINT DR             APT # 213                                                      LEAGUE CITY     TX   77573
HERRMANN, RICHARD A          10 GRAYSTONE RD 4                                                                               GREENVILLE      SC   29615
HERRMANN, RICHARD L          3708 E 77TH ST                                                                                  CLEVELAND       OH   44105‐2009
HERRMANN, ROBERT M           5202 MOCERI LN                                                                                  GRAND BLANC     MI   48439‐4330
HERRMANN, ROBERT MICHAEL     5202 MOCERI LN                                                                                  GRAND BLANC     MI   48439‐4330
HERRMANN, ROY W              5308 SOUTHSHORE DRIVE                                                                           BAKERSFIELD     CA   93312‐1929
HERRMANN, RUDOLF             1715 SEMINOLE LN                                                                                SAGINAW         MI   48638‐4441
HERRMANN, SABRINA            128 HAYES RD                                                                                    APPLE VALLEY    MN   55124‐6733
HERRMANN, STEVEN P           12693 REDSKINS AVE                                                                              FISHERS         IN   46037‐9534
HERRMANN, SUSAN C            119 LINDEN PL                                                                                   ADVANCE         NC   27006‐8406
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Name                                Address1                        Address2                        Address3   Address4                City           State   Zip
HERRMANN, SYLVESTER A               1232 NORTHBROOK LN                                                                                 TROY            OH     45373‐1542
HERRMANN, THOMAS E                  6436 CRANBERRY DR 34                                                                               HOLLY           MI     48442
HERRMANN, WERNER                    2 STUYVESANT RD                                                                                    PITTSFORD       NY     14534‐3012
HERRN                               ANTON HOFMEISTER                ESCHENWEG 13                               88339 BAD WALDSEE
                                                                                                               GERMANY
HERRN DANIEL BECKER                 SCHLIE▀FACH 1146                                                           76801 LANDAU GERMANY
HERRNREITER, RICHARD M              280 DANBURY DR                                                                                     CHEEKTOWAGA    NY      14225‐2184
HERRNREITER, RITA P                 280 DANBURY DR                                                                                     BUFFALO        NY      14225‐2184
HERRO TERRE                         1191 ELK RUN                                                                                       HOWELL         MI      48843‐7027
HERRO, STEVEN PHILLIP               295 GLENWOOD RD                                                                                    OCONOMOWOC     WI      53066‐4240
HERROD, GARY L                      503 COBBLESTONE CIRCLE                                                                             BLOOMINGDALE   GA      31302‐8124
HERROD, GLADYS                      10311 MARLOWE AVE                                                                                  CLEVELAND      OH      44108‐1339
HERROD, LOUISE B                    503 COBBLESTONE CIRCLE                                                                             BLOOMINGDALE   GA      31302‐1302
HERROD, THOMAS E                    41789 KING EDWARD CT                                                                               CLINTON TWP    MI      48038‐4529
HERROD, WILLIE A                    5271 PAGE BLVD                                                                                     SAINT LOUIS    MO      63113‐1501
HERROLD, RUTH E                     465 CAMBY CT                                                                                       GREENWOOD      IN      46142‐4029
HERRON ARTHUR L (401288)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK        VA      23510
                                                                    STREET, SUITE 600
HERRON CHARLES MILLER               LEVY PHILLIPS & KONIGSBERG      800 3RD AVE 13TH FL                                                NEW YORK        NY     10022‐4213
HERRON CHARLES MILLER (ESTATE OF)   LEVY PHILLIPS & KONIGSBERG      520 MADISON AVE , 31ST FLOOR                                       NEW YORK        NY     10022
(641072)
HERRON HIE (445194)                 BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD     OH      44067
                                                                    PROFESSIONAL BLDG
HERRON INC/CLEVELAND                5405 E SCHAAF RD                                                                                   CLEVELAND      OH      44131‐1337
HERRON JR, DAVID J                  3720 GREGORY RD                                                                                    ORION          MI      48359‐2018
HERRON JR, GEORGE                   6180 TITAN RD                                                                                      MOUNT MORRIS   MI      48458‐2616
HERRON JR, ROBERT L                 9806 BLUE SPRUCE RD                                                                                WISE           VA      24293‐4425
HERRON WILLIAMS                     15481 ARCHDALE ST                                                                                  DETROIT        MI      48227‐1505
HERRON, A B                         3212 GERMANTOWN STREET                                                                             DAYTON         OH      45408‐2122
HERRON, ALBERTA A                   324 CARTER ST                                                                                      RUSSIAVILLE    IN      46979‐9149
HERRON, ALLEN M                     9259 NAVAJO TRL                                                                                    FLUSHING       MI      48433‐1002
HERRON, AMANDA                      504 E 21ST ST APT 115                                                                              MARSHFIELD     WI      54449‐5049
HERRON, ANITA E                     2719 CHOKECHREEY AVE                                                                               HENDERSON      NV      89074
HERRON, ANNIE R                     81756 N. M51                                                                                       DECATUR        MI      49045
HERRON, ARTHUR L                    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK        VA      23510‐2212
                                                                    STREET, SUITE 600
HERRON, B L                         317 BELLAIRE DR                                                                                    AUBURN         KY      42206‐5212
HERRON, B LYNN                      317 BELLAIRE DR                                                                                    AUBURN         KY      42206‐5212
HERRON, BARBARA A                   180 FORUM DRIVE                                                                                    WHITELAND      IN      46184
HERRON, BARBARA A                   180 FORUM DR                                                                                       WHITELAND      IN      46184‐1712
HERRON, BETTY J                     3006 CHELSEA CIR                                                                                   ANN ARBOR      MI      48108‐1761
HERRON, BOBBIE J                    470 OMAR ST                                                                                        PONTIAC        MI      48342‐1658
HERRON, BOBBY                       1932 WAVERLY AVE                                                                                   NORWOOD        OH      45212‐3625
HERRON, BRENDA J                    2100 BRITTAINY OAKS TRL NE                                                                         WARREN         OH      44484‐3900
HERRON, BRIAN L                     1304 NORTH GREENBRIAR ROAD                                                                         MUNCIE         IN      47304‐2935
HERRON, BROOKIE L                   7006 FOREST PARK DR                                                                                INDIANAPOLIS   IN      46217‐4123
HERRON, BROOKIE LYNN                7006 FOREST PARK DR                                                                                INDIANAPOLIS   IN      46217‐4123
HERRON, BRUCE P                     6488 ANVIL DR                                                                                      WAYNESVILLE    OH      45068‐8338
HERRON, BUFORD E                    16300 30 MILE RD                                                                                   RAY TWP        MI      48096‐1009
HERRON, CALDWELL W                  8700 OTTO ST                                                                                       DETROIT        MI      48204‐2762
HERRON, CARL E                      3220 TIM KING RD                                                                                   ONEONTA        AL      35121‐3759
HERRON, CARL W                      620 EMERALD AVE                                                                                    SEYMOUR        TN      37865‐3452
HERRON, CAROL                       PO BOX 11624                                                                                       NAPLES         FL      34101‐1624
HERRON, CHARLENE R                  197 CONNEAUT LAKE ROAD                                                                             GREENVILLE     PA      16125‐6125
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Name                    Address1                       Address2                       Address3   Address4               City             State   Zip
HERRON, CLARENCE E      20246 GREENLAWN ST                                                                              DETROIT           MI     48221‐1186
HERRON, CLARENCE J      5340 NORTHWOOD RD                                                                               GRAND BLANC       MI     48439‐3434
HERRON, CORRINE         6180 TITAN RD                                                                                   MOUNT MORRIS      MI     48458‐2616
HERRON, DALE F          197 CONNEAUT LAKE RD                                                                            GREENVILLE        PA     16125‐9430
HERRON, DANIEL B        499 LONGVIEW DR                                                                                 NORCROSS          GA     30071‐2134
HERRON, DANIEL C        524 E GRANT ST                                                                                  APPLETON          WI     54911‐2951
HERRON, DARREN          7839 TUTTLE HILL RD                                                                             YPSILANTI         MI     48197‐9699
HERRON, DARRYL          2595 VOORHEIS RD                                                                                WATERFORD         MI     48328‐3661
HERRON, DAVID M         254 LEE ROAD742 742                                                                             SALEM             AL     36874
HERRON, DAYTON H        63676 RANCH VILLAGE DR                                                                          BEND              OR     97701‐8537
HERRON, DENNIS G        4035 CANEY CREEK LN                                                                             CHAPEL HILL       TN     37034‐2076
HERRON, DENNIS M        14640 N EL PUEBLO BLVD                                                                          FOUNTAIN HILLS    AZ     85268‐2625
HERRON, DENNIS R        1112 W SUPERIOR ST                                                                              KOKOMO            IN     46901‐5290
HERRON, DENVER A        118 JUNE PL                                                                                     BROOKVILLE        OH     45309‐1536
HERRON, DERREL D        7006 FOREST PARK DR                                                                             INDIANAPOLIS      IN     46217‐4123
HERRON, DONALD H        4804 N CAMELOT DR                                                                               MUNCIE            IN     47304‐6213
HERRON, DONALD R        7077 E ATHERTON RD                                                                              DAVISON           MI     48423‐2401
HERRON, DONALD RAY      7077 E ATHERTON RD                                                                              DAVISON           MI     48423‐2401
HERRON, DOROTHY E       P O BOX 235                                                                                     NORTH BRANCH      MI     48461‐0235
HERRON, DOROTHY E       PO BOX 235                                                                                      NORTH BRANCH      MI     48461‐0235
HERRON, DOROTHY M       2595 VOORHEIS RD                                                                                WATERFORD         MI     48328‐3661
HERRON, EVELYN D        8039 N MORLEY DR                                                                                WILLIS            MI     48191‐9683
HERRON, FLOYD E         LEE WILLIAM L JR               PO BOX 14047                                                     JACKSON           MS     39236‐4047
HERRON, FRANCES M       PO BOX 135                                                                                      NOVA              OH     44859‐0135
HERRON, G G             1704 HIGHWAY 11                                                                                 RISING FAWN       GA     30738‐4873
HERRON, GENEVA          2645 S 700 E                                                                                    KNOX              IN     46534‐9510
HERRON, GENEVA          15240 FORDHAM ST                                                                                DETROIT           MI     48205‐2956
HERRON, GILBERT L       5434 AFAF ST                                                                                    FLINT             MI     48505
HERRON, GLENDA R        203 FAWN LN                                                                                     CORTLAND          OH     44410‐2608
HERRON, GLORIA          3702 LAWNDALE AVE                                                                               FLINT             MI     48504‐2251
HERRON, GORDON K        1233 SHERWOOD DR                                                                                LAPEER            MI     48446‐1585
HERRON, GRACE R         736 S 11TH ST                                                                                   SAGINAW           MI     48601‐2103
HERRON, GREGORY R       653 EMERALD AVE                                                                                 SEYMOUR           TN     37865‐3453
HERRON, HARRY H         9959 W WALNUT ST                                                                                LAPEL             IN     46051‐9733
HERRON, HERMAN B        5976 CULZEN DR                 APT 1819                                                         DAYTON            OH     45426‐1225
HERRON, HIE             BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD        OH     44067
                                                       PROFESSIONAL BLDG
HERRON, HUEY P          PO BOX 4122                                                                                     CENTER LINE      MI      48015‐4122
HERRON, JACKIE S        5282 MCCANDLISH RD                                                                              GRAND BLANC      MI      48439‐1944
HERRON, JAMES L         3608 LLOYD RD                                                                                   CLEVELAND        OH      44111‐4680
HERRON, JAMES V         283 JACQUALYN DR                                                                                LAPEER           MI      48446‐4134
HERRON, JEFFRY J        PO BOX 352                                                                                      CICERO           IN      46034‐0352
HERRON, JESSE T         5987 SCENIC WAY DR                                                                              KALAMAZOO        MI      49009‐9112
HERRON, JESSIE          GUY WILLIAM S                  PO BOX 509                                                       MCCOMB           MS      39649‐0509
HERRON, JIMMY V         561 BALLPLAY RD                                                                                 MADISONVILLE     TN      37354‐4402
HERRON, JOANNE S        1040 HOLLYWOOD AVE                                                                              GROSSE POINTE    MI      48236‐1368
                                                                                                                        WOODS
HERRON, JOE M           335 DARBY DR                                                                                    GALLOWAY         OH      43119
HERRON, JOHN
HERRON, JOHN N          4825 BETHOLM DR                                                                                 INDIANAPOLIS      IN     46239‐1701
HERRON, JOSEPH          221 S ANDERSON AVE                                                                              PONTIAC           MI     48342‐3201
HERRON, JOSEPH C        6390 WINDHAM PL                                                                                 GRAND BLANC       MI     48439‐9127
HERRON, JOSEPH V        900 LAKEWOOD AVE                                                                                LAKEWOOD          NJ     08701‐2600
HERRON, JOYCE JUANITA   COON & ASSOCS BRENT            917 FRANKLIN ST STE 210                                          HOUSTON           TX     77002‐1751
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Name                       Address1                          Address2                  Address3   Address4               City              State Zip
HERRON, JUDE E             328 GLEN ROSE DR                                                                              JACKSON            MS 39209‐2813
HERRON, KATYROSE BERKLEY
HERRON, KENNETH            2645 S 700 E                                                                                  KNOX              IN   46534‐9510
HERRON, KENNETH G          1252 N TOWNLINE RD                                                                            SANDUSKY          MI   48471‐9611
HERRON, KIELA M            305 MARIAE LN                                                                                 O FALLON          MO   63366‐2564
HERRON, KIELA MICHELE      305 MARIAE LN                                                                                 O FALLON          MO   63366‐2564
HERRON, KIM T              8292 NOB HILL RD                                                                              ALVATON           KY   42122‐9532
HERRON, KYLE R             462 CLINTONVILLE ROAD                                                                         MERCER            PA   16137‐5812
HERRON, L J                7073 E MOUNT MORRIS RD                                                                        OTISVILLE         MI   48463‐9420
HERRON, LARRY G            700 N GEBHART CHURCH RD                                                                       MIAMISBURG        OH   45342‐2709
HERRON, LEE F              863 N KELLOGG AVE                                                                             SANTA BARBARA     CA   93111‐1119
HERRON, LEONARD            2035 S DEXTER ST                                                                              FLINT             MI   48503‐4572
HERRON, LINDA              328 GLEN ROSE DR                                                                              JACKSON           MS   39209‐9209
HERRON, LINDA M            2890 WILLIAMSBURG ST NW                                                                       WARREN            OH   44485‐2251
HERRON, LONNIE W           966 PINE TREE RD                                                                              LAKE ORION        MI   48362‐2556
HERRON, LORA D             8056 LARK LN                                                                                  GRAND BLANC       MI   48439‐7254
HERRON, LUCION R           740 E BEVERLY AVE                                                                             PONTIAC           MI   48340‐2913
HERRON, MABLE F            1506 HOMEWOOD AVE SE                                                                          WARREN            OH   44484‐4911
HERRON, MAC D              4509 TRUMBULL DR                                                                              FLINT             MI   48504‐3758
HERRON, MARGURETTE         PO BOX 965                                                                                    NORTON            VA   24273‐0889
HERRON, MARVIN E           182‐3 BLUFF BLVD                                                                              CAMDENTON         MO   65020
HERRON, MATTHEW R          2605 OAKVIEW RD APT 5                                                                         FORT SMITH        AR   72908‐8664
HERRON, MENNICE J          G3450 E CARPENTER RD                                                                          FLINT             MI   48506‐1036
HERRON, MICHAEL D          4033 CANEY CREEK LN                                                                           CHAPEL HILL       TN   37034‐2076
HERRON, MICHAEL J          2735 DUNSTAN DR NW                                                                            WARREN            OH   44485‐1508
HERRON, MICHAEL R          154 BRITTON LN                                                                                MONROE            OH   45050
HERRON, MICHAEL R          1042 CAMBRIDGE STATION RD APT B                                                               CENTERVILLE       OH   45458‐1912
HERRON, MICHAEL R          335 W WASHINGTON ST                                                                           MILFORD           MI   48381‐2278
HERRON, NANCY              32146 VIRGINIA WAY                                                                            LAGUNA BEACH      CA   92651
HERRON, NATHAN A           563 ALLEN RD TRLR 55                                                                          MILAN             MI   48160‐1545
HERRON, NATHAN M           2035 S DEXTER ST                                                                              FLINT             MI   48503‐4572
HERRON, NATHAN MARTELL     2035 S DEXTER ST                                                                              FLINT             MI   48503‐4572
HERRON, NICHOLAS H         315 AVENUE F                                                                                  REDONDO BEACH     CA   90277‐5147
HERRON, NICOLE E           7612 MOUNT WHITNEY ST                                                                         DAYTON            OH   45424‐2027
HERRON, OLLIE M            221 S ANDERSON AVE                                                                            PONTIAC           MI   48342‐3201
HERRON, PEARLETHA          6920 PARKBELT DR                                                                              FLINT             MI   48505‐1987
HERRON, RANDY A            7400 N HIX RD                                                                                 WESTLAND          MI   48185‐1955
HERRON, RANDY ALAN         7400 N HIX RD                                                                                 WESTLAND          MI   48185‐1955
HERRON, RAY DWIGHT         BOONE ALEXANDRA                   205 LINDA DR                                                DAINGERFIELD      TX   75638‐2107
HERRON, RICHARD D          7326 STATE ROUTE 19 UNIT 2502                                                                 MOUNT GILEAD      OH   43338‐9348
HERRON, RICHARD L          6318 E PROVIDENCE ST APT 2                                                                    NEW PORT RICHEY   FL   34652‐2147
HERRON, RICHARD L          47 FOREST LN                                                                                  EDDYVILLE         KY   42038‐8562
HERRON, RICKY C            703 BELMONT CT                                                                                ROMEOVILLE        IL   60446‐1411
HERRON, RITA K             13 SKYLINE DR                                                                                 LAKE PLACID       FL   33852
HERRON, ROBERT             COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                     HOUSTON           TX   77002‐1751
HERRON, ROBERT A           2890 WILLIAMSBURG ST NW                                                                       WARREN            OH   44485‐2251
HERRON, RONALD G           9476 ELIZABETH ST                                                                             GRAYLING          MI   49738‐8442
HERRON, RONALD L           2663 SOLAR DR                                                                                 LAKE ORION        MI   48360‐1981
HERRON, RONNIE L           7091 TAPPON DR                                                                                CLARKSTON         MI   48346‐2635
HERRON, ROY D              4509 TRUMBULL DR                                                                              FLINT             MI   48504‐3758
HERRON, SAMANTHA I         3720 GREGORY RD                                                                               ORION             MI   48359‐2018
HERRON, SAMANTHA IRENE     3720 GREGORY RD                                                                               ORION             MI   48359‐2018
HERRON, SPRING F           7073 E MOUNT MORRIS RD                                                                        OTISVILLE         MI   48463‐9420
HERRON, STACEY L           4325 ROSE CT                                                                                  LAKE ORION        MI   48362‐1051
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Name                              Address1                       Address2                    Address3   Address4               City            State   Zip
HERRON, STANLEY L                 5310 SW 27TH PL                                                                              CAPE CORAL       FL     33914‐6642
HERRON, STEPHEN W                 392 BELL RD                                                                                  CROSSVILLE       TN     38571‐7473
HERRON, STUYVESANT S              4315 GREENWOOD LN                                                                            GRAPEVINE        TX     76051‐6719
HERRON, SYLVANIA                  1264 ARROWHEAD DR                                                                            BURTON           MI     48509‐1424
HERRON, SYLVESTER L               8012 WISH COURT                                                                              INDIANAPOLIS     IN     46268‐3696
HERRON, TAMIKO L                  6808 PARKBELT DR                                                                             FLINT            MI     48505‐1939
HERRON, THERESA M                 10005 BELMEADOW DRIVE                                                                        TWINSBURG        OH     44087‐1103
HERRON, THOMAS D                  3702 LAWNDALE AVE                                                                            FLINT            MI     48504‐2251
HERRON, TONY L                    17673 ROBERT ST                                                                              MELVINDALE       MI     48122‐1055
HERRON, WILLIAM L                 5392 COLDWATER RD                                                                            COLUMBIAVILLE    MI     48421‐8986
HERRON, WILMA E                   4509 TRUMBULL DR                                                                             FLINT            MI     48504‐3758
HERRON‐BURGESS, DENISE D          50165 BREWER ST                                                                              DECATUR          MI     49045‐9411
HERRONEN, DANIEL JOSEPH           503 EAST MAPLE STREET                                                                        HOLLY            MI     48442‐1638
HERRONEN, GARY J                  16306 HAVILAND BEACH DR                                                                      LINDEN           MI     48451‐8653
HERRONEN, JACK L                  PO BOX 12                                                                                    IRONWOOD         MI     49938
HERRONEN, JOSEPH E                503 E MAPLE ST                                                                               HOLLY            MI     48442‐1638
HERRONEN, NANCY                   15516 LOBDELL RD. RFD 1                                                                      LINDEN           MI     48451
HERROSCHECK, JAMES S              61118 GREENWOOD DR                                                                           SOUTH LYON       MI     48178‐1098
HERRSTROM, WALTER E               PO BOX 988                                                                                   LOUISBURG        KS     66053‐0988
HERSACHER, MANFRED A              612 N BRIGHTON RD                                                                            LECANTO          FL     34461‐9533
HERSBERGER, ARIS K                2408 MELODY LN                                                                               ANDERSON         IN     46012‐1939
HERSBERGER, BRUCE L               2729 HATCHER MOUNTAIN RD                                                                     SEVIERVILLE      TN     37862‐8644
HERSBERGER, JILL G                2901 OSAGE DR                                                                                KOKOMO           IN     46902‐3243
HERSBERGER, JOHN D                232 WESTWOOD DR                C/O SANDRA HERBERGER                                          WINCHESTER       IN     47394‐1419
HERSBERGER, PHYLLIS A             19530 CYNTHEANNE RD                                                                          NOBLESVILLE      IN     46060‐9691
HERSBERGER, ROGER L               22032 MERIDIAN LN                                                                            NOVI             MI     48375‐4949
HERSBERGER, SANDRA                232 WESTWOOD DR                                                                              WINCHESTER       IN     47394
HERSBERGER, VIRGINIA L            408 HUMMINGBIRD LN                                                                           EDDYVILLE        KY     42038
HERSBERGER, WILLIAM R             108 CREEK VIEW DR                                                                            GREENFIELD       IN     46140‐1351
HERSCH, DALE S                    192 E JOHNSTONE RD                                                                           OAKLEY           MI     48649‐9607
HERSCH, DALE STEVEN               192 E JOHNSTONE RD                                                                           OAKLEY           MI     48649‐9607
HERSCH, WILLIAM J                 2384 N RIDGE RD                                                                              CHESANING        MI     48616‐9602
HERSCHAL PRODUCTS INC             3778 TIMBERLAKE DR                                                                           RICHFIELD        OH     44286‐9187
HERSCHAL PRODUCTS INC             1201 TAYLOR ST                                                                               ELYRIA           OH     44035‐6247
HERSCHBERG DANIEL E               HERSCHBERG, DANIEL E           100 PARK AVENUE                                               NEW YORK         NY     10017
HERSCHBERG, DANIEL E              POMERANTZ HAUDEK BLOCK &       100 PARK AVENUE                                               NEW YORK         NY     10017
                                  GROSSMAN
HERSCHEL ACCETTOLA BLOOM &        615 ADAMS ST                                                                                 TOLEDO          OH      43604‐1419
ASSOCIATES
HERSCHEL BENDALL                  125 CHESS LN                                                                                 TUSCUMBIA       AL      35674‐8518
HERSCHEL BIZZLE                   9614 HAROLD DR                                                                               SAINT LOUIS     MO      63134‐4215
HERSCHEL BLACKFORD                THE MADEKSHO LAW FIRM          8866 GULF FREEWAY STE 440                                     HOUSTON         TX      77017
HERSCHEL BURCH                    17841 HOOVER ST                                                                              DETROIT         MI      48205‐3117
HERSCHEL BUTLER                   PO BOX 114                                                                                   ODESSA          MO      64076‐0114
HERSCHEL CAREY                    8993 67TH ST                                                                                 HODGKINS        IL      60525‐7604
HERSCHEL CHADICK/ BETTE CHADICK   606 9TH ST                                                                                   TERRELL         TX      75160
HERSCHEL COBLE                    524 S FRONT ST                 RR 2 BOX 2513                                                 SPOONER         WI      54801‐7352
HERSCHEL COX                      2634 COUNTY ROAD 240                                                                         WEDOWEE         AL      36278‐7322
HERSCHEL D DOUGHMAN               4128 RIDGETOP DR                                                                             BELLBROOK       OH      45305‐1638
HERSCHEL DAVIS                    PO BOX 4501                                                                                  MACON           GA      31208‐4501
HERSCHEL DOUGHMAN                 4128 RIDGETOP DR                                                                             BELLBROOK       OH      45305‐1638
HERSCHEL DUNAWAY                  2235 W FORK RD                                                                               LAPEER          MI      48446‐8039
HERSCHEL FOSTER                   21508 E 50TH TERRACE CT S                                                                    BLUE SPRINGS    MO      64015‐2250
HERSCHEL FOSTER                   3436 N BELLEFONTAINE AVE                                                                     KANSAS CITY     MO      64117‐2412
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Name                      Address1                             Address2                    Address3     Address4               City            State   Zip
HERSCHEL GIBSON           1306 E ADAMS ST                                                                                      MUNCIE           IN     47305‐2709
HERSCHEL GRIFFIN          114 WOOD GATE DR                                                                                     CANTON           GA     30115‐2825
HERSCHEL HILDEBRAND       22048 ESTER RIDGE RD                                                                                 SUNMAN           IN     47041‐9050
HERSCHEL HINKLE           PO BOX 397                                                                                           LAPEL            IN     46051‐0397
HERSCHEL K HOLMES         7113 KISMET PL                                                                                       HUBER HEIGHTS    OH     45424‐3022
HERSCHEL KERN             436 N 8TH ST                                                                                         MITCHELL         IN     47446‐1021
HERSCHEL KILGORE          150 DERBY COUNTRY DR                                                                                 ELLENWOOD        GA     30294‐2754
HERSCHEL L PLOWMAN TTEE   15504 W CORAL POINT DR                                                                               SURPRISE         AZ     85374
HERSCHEL LEWIS I I I      3221 S MCCLURE ST                                                                                    MARION           IN     46953‐4043
HERSCHEL LINCOLN JR       5190 W KESSLER COWLESVILLE RD                                                                        WEST MILTON      OH     45383‐8732
HERSCHEL M RILEY, JR      C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                       HOUSTON          TX     77007
                          BOUNDAS LLP
HERSCHEL MARCUM           1867 W STATE ROAD 38                                                                                 NEW CASTLE      IN      47362‐9768
HERSCHEL MOODY JR         2827 COLUMBUS AVE                                                                                    ANDERSON        IN      46016‐5435
HERSCHEL MORROW           1709 AVOCA EUREKA RD                                                                                 BEDFORD         IN      47421‐8407
HERSCHEL NICHOLS          PO BOX 431                                                                                           SATSUMA         FL      32189‐0431
HERSCHEL NICHOLSON        2554 RAMSEY RIDGE RD                                                                                 HELTONVILLE     IN      47436
HERSCHEL NIX              4635 PEBBLE BEACH DR                                                                                 SEBRING         FL      33872‐1733
HERSCHEL RICHARDS         1930 S DALY AVE                                                                                      MUNCIE          IN      47302‐2055
HERSCHEL RODGERS          9155 PLACER BULLION AVENUE                                                                           LAS VEGAS       NV      89178‐6200
HERSCHEL ROSS JR          4830 PLANTATION ST                                                                                   ANDERSON        IN      46013‐2891
HERSCHEL S NICHOLSON      2554 RAMSEY RIDGE RD                                                                                 HELTONVILLE     IN      47436‐8665
HERSCHEL SANDS JR         13485 E 980 NORTH RD                                                                                 CATLIN          IL      61817‐9121
HERSCHEL SENSINGER        THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES           22ND FLOOR                          BALTIMORE       MD      21201

HERSCHEL SHELBY           1906 WESTVIEW DR                                                                                     INDIANAPOLIS    IN      46221‐1122
HERSCHEL SMITH            137 SAYBROOKE XING                                                                                   ACWORTH         GA      30101‐7945
HERSCHEL SMITH            415 GARFIELD ST                                                                                      GEORGETOWN      IL      61846‐1812
HERSCHEL SMITH            8596 NE 35TH ST                                                                                      SPENCER         OK      73084‐3204
HERSCHEL SOWELL           189 CHARLES LN                                                                                       PONTIAC         MI      48341‐2928
HERSCHEL SPANGLER         4710 N 600 WEST                                                                                      MUNCIE          IN      47304
HERSCHEL STREETMAN        2167 US 31 S                                                                                         CROTHERSVILLE   IN      47229
HERSCHEL TAYLOR JR        120 MOUNTAIN LAUREL TRL                                                                              MONTEREY        TN      38574‐5046
HERSCHEL UMPHRESS         208 S LEATHERWOOD RD                                                                                 BEDFORD         IN      47421‐8847
HERSCHEL UPCHURCH         9333 S COUNTY ROAD 200 E                                                                             MUNCIE          IN      47302‐8316
HERSCHEL W LINCOLN JR     5190 KESSLER‐COWLESVILLE ROAD                                                                        WEST MILTON     OH      45383‐8732
HERSCHEL WELLS            7905 PLAINFIELD RD                                                                                   CINCINNATI      OH      45236‐2503
HERSCHEL WESTOVER         15850 OLD STATE RD                                                                                   MIDDLEFIELD     OH      44062‐8211
HERSCHEL WRIGHT           192 KIMWOOD DR                                                                                       CEDARTOWN       GA      30125‐6336
HERSCHELL ELAM            513 PEARSALL AVE                                                                                     PONTIAC         MI      48341‐2662
HERSCHELL JUENGER         11732 HIDDEN LAKE DR APT 221                                                                         SAINT LOUIS     MO      63138‐1744
HERSCHELL RUSSELL         4450 RADCLIFF ST                                                                                     FLINT           MI      48507
HERSCHELL STILLS          1505 S HACKLEY ST                                                                                    MUNCIE          IN      47302‐3570
HERSCHELMAN, DAVID R      8980 HUNTERS XING                                                                                    DALTON CITY     IL      61925‐9302
HERSCHELMAN, FREDRIC A    3760 WINDING PINE DR                                                                                 METAMORA        MI      48455‐8969
HERSCHEND JACOB           6 THRASHER CT                                                                                        SAINT CHARLES   MO      63303‐4307
HERSCHER SUMPTER          24 PHILLIPS 310                                                                                      WEST HELENA     AR      72390‐9589
HERSCHLEB, BRUCE G        31760 JEFFERSON ST                                                                                   GOBLES          MI      49055‐9659
HERSCOVICI, BRIAN         229 E 28TH ST APT 1C                                                                                 NEW YORK        NY      10016‐8565
HERSEL FLOYD              13951 GREENVIEW RD                                                                                   DETROIT         MI      48223‐2909
HERSEY, ANNA E            3247 LAFAYETTE ST                                                                                    KANSAS CITY     KS      66104‐4234
HERSEY, CHRISTOPHER E     340 BARRINGTON FARMS PKWY                                                                            SHARPSBURG      GA      30277‐1866
HERSEY, DORIS B           544 95TH AVE                                                                                         LAKEVIEW        MI      48850‐9662
HERSEY, LOUELLA           913 KAMMER AVE                                                                                       DAYTON          OH      45417‐2361
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Name                            Address1                             Address2                          Address3   Address4               City             State   Zip
HERSEY, RONALD W                5639 WEBER LN                                                                                            JACKSONVILLE      FL     32207‐7170
HERSH COMPANY INC               42850 GARFIELD RD STE 101                                                                                CLINTON TWP       MI     48038‐5026
HERSH COMPANY INC               23225 GIACOMA CT                                                                                         CLINTON TWP       MI     48036‐4608
HERSH FRANKLIN V (308143)       HOWARD GEORGE W III P.C.             1608 WALNUT STREET , 17TH FLOOR                                     PHILADELPHIA      PA     19103
HERSH KOZLOV                    ATTORNEY: KOZLOV SEATON ROMANINI &   ATTN: CORPORATE                                                     HAMBURG           NY     14075
                                BROOK                                OFFICER/AUTHORIZED AGENT
HERSH KOZLOV                    ATTORNEY: KOZLOV SEATON ROMANINI &                                                                       HAMBURG           NY     14075
                                BROOK
HERSH PARKHE
HERSH, DAVID A                  211 WINTHROP LN                                                                                          SAGINAW          MI      48638‐6234
HERSH, DAVID L                  2298 WINDING WOODS DR                                                                                    TUCKER           GA      30084‐3941
HERSH, FRANKLIN                 HOWARD GEORGE W III P.C.              1608 WALNUT STREET, 17TH FLOOR                                     PHILADELPHIA     PA      19103
HERSH, JOHN R                   814 S CLINTON ST                                                                                         DEFIANCE         OH      43512‐2758
HERSHA, ELRA D                  5011 6 MILE LAKE RD 6                                                                                    EAST JORDAN      MI      49727
HERSHA, ROBERT J                16892 U.S. 12 EAST                                                                                       WHITE PIGEON     MI      49099
HERSHAL DUFFY                   116 ASTER WAY                                                                                            PALO ALTO        CA      94303‐2619
HERSHAL FIELDS                  19111 HANNA ST                                                                                           MELVINDALE       MI      48122‐1687
HERSHAL PARKER                  124 CEDAR PARC LN                                                                                        TROY             MO      63379‐3542
HERSHAL PRITCHARD               2601 PEWANAGA PL                                                                                         FLINT            MI      48507‐1841
HERSHAL SWANNER                 13807 BLACKBURN RD                                                                                       ATHENS           AL      35611‐7225
HERSHAL W PARKER                124 CEDAR PARC LN                                                                                        TROY             MO      63379‐3542
HERSHALL HUNHOLZ                RR 2 BOX 297                                                                                             ARCHIE           MO      64725‐9358
HERSHALL WHITE                  PO BOX 345                                                                                               CLIO             MI      48420‐0345
HERSHBERGER LEE ROY & MARY      3462 STANHOPEKELLOGSVL RD                                                                                DORSET           OH      44032
HERSHBERGER ROBERT D (625051)   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                       PITTSBURGH       PA      15219

HERSHBERGER, BRITNEY
HERSHBERGER, CALVIN             182 ELAINE DR                                                                                            CLAYTON          DE      19938‐3701
HERSHBERGER, CATHERINE          101 ISAAC GREER CT.                  APT # 116                                                           BARDSTOWN        KY      40004
HERSHBERGER, DARYL B            319 BERKLEY MANOR DR                                                                                     CRANBERRY TWP    PA      16066‐8104
HERSHBERGER, EARL D             805 ARMISTED ST                                                                                          AVON PARK        FL      33825‐4203
HERSHBERGER, EDWARD L           1136 HENRY ST                                                                                            HUNTINGTON       IN      46750‐3747
HERSHBERGER, EDWARD LESLIE      1136 HENRY ST                                                                                            HUNTINGTON       IN      46750‐3747
HERSHBERGER, EUDOXIE            2601 CHIMNEY ROCK ROAD               APT 216                                                             HENDERSONVILLE   NC      28792
HERSHBERGER, GERALD             BIFFERATO GENTILOTTI & BIDEN         PO BOX 2165                                                         WILMINGTON       DE      19899‐2165
HERSHBERGER, HAROLD             15841 TROYER RD                                                                                          WHITE PIGEON     MI      49099‐9467
HERSHBERGER, JACK L             6302 KINGS POINTE RD                                                                                     GRAND BLANC      MI      48439‐8638
HERSHBERGER, JANET S            1006 HENRY ST                                                                                            HUNTINGTON       IN      46750‐3745
HERSHBERGER, JOHN L             17950 N STATE ROAD 3N                                                                                    EATON            IN      47338‐8956
HERSHBERGER, JOHN LAYTON        17950 N STATE ROAD 3N                                                                                    EATON            IN      47338‐8956
HERSHBERGER, KENNETH E          4491 ALDER DR                                                                                            FLINT            MI      48506‐1459
HERSHBERGER, KENNETH EARL       4491 ALDER DR                                                                                            FLINT            MI      48506‐1459
HERSHBERGER, MARIE F            31800 VAN DYKE AVE APT 234                                                                               WARREN           MI      48093‐7919
HERSHBERGER, PEARL A            1771 WHITE RD                                                                                            GROVE CITY       OH      43123‐8999
HERSHBERGER, RICHARD L          8320 HEDGES AVE                                                                                          RAYTOWN          MO      64138‐3440
HERSHBERGER, ROBERT D           C/O GOLDBERG PERSKY & WHITE P.C.     1030 FIFTH AVENUE                                                   PITTSBURGH       PA      15219
HERSHBERGER, RONALD A           380 MAIN RD RTE #5                                                                                       AKRON            NY      14001
HERSHBERGER, STEPHEN G          203 N WILHELM ST                     PO BOX 431                                                          HOLGATE          OH      43527‐9576
HERSHBERGER, TERRY L            N223 COUNTY ROAD 16B                                                                                     NAPOLEON         OH      43545‐9795
HERSHEL ARMOUR                  PO BOX 31                                                                                                CHARLESTOWN      MD      21914‐0031
HERSHEL BOWLING                 1540 LOCUST GROVE RD                                                                                     KEAVY            KY      40737‐2817
HERSHEL BRADDOCK                37594 ROBINSON CT                                                                                        WESTLAND         MI      48186‐9317
HERSHEL BREWER                  1099 DRY VALLEY RD                                                                                       FORESTBURG       TX      76239‐3408
HERSHEL BURSON                  6906 COVINGTON RD                                                                                        FORT WAYNE       IN      46804‐1502
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Name                             Address1                       Address2             Address3        Address4               City              State   Zip
HERSHEL CLARK                    5132 MURPHY DR                                                                             FLINT              MI     48506‐2141
HERSHEL CREECH                   1833 HOYLE PL                                                                              KETTERING          OH     45439‐2424
HERSHEL CREECH                   1833 HOYLE PLACE                                                                           KETTERING          OH     45439‐2424
HERSHEL CRIPE                    7125 CHEROKEE ST                                                                           TAYLOR             MI     48180‐1566
HERSHEL D AND EVE W GODSY TTES   HERSHEL D GODSY                28881 REDBIRD LANE                                          HARVEST            AL     35749‐7023
HERSHEL D DAVIDSON               2007 EDWIN BLVD                                                                            WINTER PARK        FL     32792‐3109
HERSHEL DAVIDSON                 2007 EDWIN BLVD                                                                            WINTER PARK        FL     32792‐3109
HERSHEL DAVIS                    4812 BRIGHTLEAF CT                                                                         BALTIMORE          MD     21237‐4946
HERSHEL DIXON                    5733 CAMPGROUND RD                                                                         CUMMING            GA     30040‐6267
HERSHEL DOWNING                  2401 COUNTRY VIEW LN APT 134                                                               MCKINNEY           TX     75069‐8709
HERSHEL FLOYD                    1512 CONNIE DR                                                                             ARNOLD             MO     63010‐2849
HERSHEL FRANKLIN                 892 DEL SOL DR APT 2                                                                       BOULDER CITY       NV     89005‐2347
HERSHEL GILL                     159 NELSONVILLE RD                                                                         SMITHVILLE         AR     72466‐8373
HERSHEL GRAY                     29 DIXON CT                                                                                O FALLON           MO     63367
HERSHEL GRIFFITH                 32224 ALVIN ST                                                                             GARDEN CITY        MI     48135‐1209
HERSHEL H HATFIELD               1220 NASSAU DR                                                                             MIAMISBURG         OH     45342‐3244
HERSHEL HALE                     9250 HARRISON ST                                                                           LIVONIA            MI     48150‐4124
HERSHEL HARP                     845 HEMLOCK ST                                                                             WAUSEON            OH     43567‐1855
HERSHEL HATFIELD                 1220 NASSAU DR                                                                             MIAMISBURG         OH     45342‐3244
HERSHEL HERBERT                  802 QUAIL RUN DR                                                                           KELLER             TX     76248‐2918
HERSHEL HUNT                     2798 DADE SCHOOL RD                                                                        ODESSA             MO     64076‐6362
HERSHEL JOHNSON                  7265 CONNELL RD                                                                            FAIRBURN           GA     30213‐3121
HERSHEL JOHNSON                  3801 PHILLIPS DR                                                                           PARAGOULD          AR     72450‐2598
HERSHEL KEETON                   7069 STATE ROUTE 350                                                                       OREGONIA           OH     45054‐9430
HERSHEL L MOSKOWITZ              78 REAGAN ROAD                                                                             SPRING VALLEY      NY     10977‐1984
HERSHEL L PUCKETT                5381 ORMAND ROAD                                                                           W. CARROLLTON      OH     45449‐2707
HERSHEL L ROBINSON               454 SHENANDOAH DR                                                                          FARMINGTON         MO     63640‐2164
HERSHEL L VANNOY                 993 BRADLEY AVE                                                                            FLINT              MI     48503‐3106
HERSHEL LANDERS                  6975 COUNTY ROAD 236                                                                       TOWN CREEK         AL     35672‐6725
HERSHEL LECROY                   9428 MARLOWE AVE                                                                           OVERLAND           MO     63114‐3316
HERSHEL LEWIS                    5051 NICHOLS RD                                                                            SWARTZ CREEK       MI     48473‐8585
HERSHEL LOVE                     4328 W HORTON RD                                                                           SAND CREEK         MI     49279‐9708
HERSHEL M RICH
HERSHEL MCCORKLE                 2730 N 350 W                                                                               ANDERSON          IN      46011‐8784
HERSHEL MCCORKLE                 1368 WILLOW WALK PKWY                                                                      ELWOOD            IN      46036‐1392
HERSHEL MIKEL                    1602 EDGEWOOD CIR                                                                          PARAGOULD         AR      72450‐5551
HERSHEL MILLION                  12416 OLD DAYTON RD                                                                        BROOKVILLE        OH      45309‐8379
HERSHEL MILTON                   3333 MOORES RIVER DR APT 304                                                               LANSING           MI      48911‐1056
HERSHEL MONROE JR                409 STUCKHARDT RD                                                                          TROTWOOD          OH      45426‐2705
HERSHEL MORGAN                   6056 NELSON CT                                                                             BURTON            MI      48519‐1663
HERSHEL MULLING                  10088 BURGOYNE RD                                                                          BERRIEN SPRINGS   MI      49103‐9732
HERSHEL MULLINS                  PO BOX 813                                                                                 KILLEN            AL      35645‐0813
HERSHEL OSBORNE                  2104 WILKIE RD                                                                             ALPHARETTA        GA      30004‐2530
HERSHEL OSENTOSKI                626 E BEVERLY AVE                                                                          PONTIAC           MI      48340‐2909
HERSHEL PHILLIPS                 196 RAINBOW DR PMB 9691                                                                    LIVINGSTON        TX      77399‐1096
HERSHEL PUCKETT                  5381 ORMAND RD                                                                             DAYTON            OH      45449‐2707
HERSHEL ROACH                    1727 HIGHWATER RD                                                                          VILLA HILLS       KY      41017‐3750
HERSHEL ROBINSON                 454 SHENANDOAH DR                                                                          FARMINGTON        MO      63640‐2164
HERSHEL SIZEMORE                 9526 CEDAR ISLAND RD                                                                       WHITE LAKE        MI      48386‐3214
HERSHEL SMITH                    1511 COUNTY ROAD 369                                                                       TRINITY           AL      35673‐3227
HERSHEL SPRADLEY                 125 KEN DR                                                                                 BRANDON           MS      39042‐9167
HERSHEL STEPP                    403 N 11TH AVE                                                                             PARAGOULD         AR      72450‐3285
HERSHEL STRICKLAND               70 COUNTY RD #7030                                                                         BOONEVILLE        MS      38829
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Name                                 Address1                          Address2                        Address3                  Address4               City             State Zip
HERSHEL T CUNNINGHAM                 C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                                        HOUSTON           TX 77007
                                     BOUNDAS LLP
HERSHEL TANKSLEY                     2106 N 38TH ST                                                                                                     AUGUSTA          MI   49012‐8881
HERSHEL V HUFF JR                    619 KENNEDY AVE                                                                                                    YPSILANTI        MI   48198‐8028
HERSHEL VANNOY                       993 BRADLEY AVE                                                                                                    FLINT            MI   48503‐3106
HERSHEL WATTS                        2713 BRANDON ST                                                                                                    FLINT            MI   48503‐3469
HERSHEL WHITE                        12850 ROBSON ST                                                                                                    DETROIT          MI   48227‐2519
HERSHEL WILDER                       551 THOMAS RD                                                                                                      SPEEDWELL        TN   37870‐7923
HERSHEL WILSON                       13663 COUNTY ROAD 747                                                                                              HANCEVILLE       AL   35077‐6306
HERSHEL WOOD                         155 MOCKINGBIRD DR                                                                                                 MEAD             OK   73449‐6527
HERSHEL ZINN                         C/O THOMAS K BROWN                FISHER BOYD BROWN &             2777 ALLEN PARKWAY 14TH                          HOUSTON          TX   77019
                                                                       HUGUENARD                       FLOOR
HERSHELL L PIERCE                    5122 GARDENDALE AVE                                                                                                DAYTON           OH   45427
HERSHELL LANG                        PO BOX 2293                                                                                                        KANSAS CITY      KS   66110‐0293
HERSHELL LISBY                       PO BOX 203                                                                                                         BOYD             TX   76023‐0203
HERSHELL PENNINGTON                  6952 GILMAN ST                                                                                                     GARDEN CITY      MI   48135‐2283
HERSHELL PRUITT                      4440 COVECREST DR                                                                                                  SALT LAKE CITY   UT   84124‐4010
HERSHELL RICHARDSON                  22 WHITESTONE LN                                                                                                   LANCASTER        NY   14086‐1420
HERSHELL SAMPLES                     5042 WHITES MILL DR                                                                                                GAINESVILLE      GA   30504‐8162
HERSHELL TAYLOR                      4455 BROWN RD                                                                                                      INDIANAPOLIS     IN   46226‐3147
HERSHEY ENTERTAINMENT & RESORTS CO   PO BOX 860                                                                                                         HERSHEY          PA   17033‐0860

HERSHEY ENTERTAINMENT & RESORTS CO ATTN MARKETING ACCOUNTANT           27 WEST CHOCOLATE AVE                                                            HERSHEY          PA   17033

HERSHEY RESORTS                      JILL FLEURY CECALA                DIRECTOR OF NE SALES AND        WEST CHOCOLATE AVENUE & PO BOX 446               HERSHEY          PA   17033‐0446
                                                                       MARKETING                       UNIVERSITY DRIVE
HERSHEY RESORTS                      JILL FLEURY CECALA                PO BOX 446                                                                       HERSHEY          PA   17033‐0446
HERSHEY, CORA R                      11468 N STATE ROAD 37                                                                                              ELWOOD           IN   46036‐9020
HERSHEY, CORA R                      11468 N SR 37                                                                                                      ELWOOD           IN   46036‐9775
HERSHEY, GERALD K                    12120 LANDERS DR                                                                                                   PLYMOUTH         MI   48170‐3521
HERSHEY, LINDA D                     2821 OAK GROVE AVE                                                                                                 BALTIMORE        MD   21227‐2134
HERSHEY, ROBERT P                    908 NYSTED DR                                                                                                      SOLVANG          CA   93463‐2248
HERSHEY, VIRGINIA M                  6300 N COUNTY ROAD 850 E                                                                                           PARKER CITY      IN   47368‐9425
HERSHEY, VIRGINIA M                  6300 NORTH COUNTY ROAD 850 EAST                                                                                    PARKER CITY      IN   47368‐9425
HERSHEY, WILLIAM A                   1018 HANSON RD                                                                                                     JOPPA            MD   21085‐4113
HERSHEYPARK ENTERTAINMENT &          MR. PATRICK GRANT                 100 WEST HERSHEYPARK DR.,                                                        HERSHEY          PA   17033
RESORTS COMPANY                                                        HERSHEY
HERSHEYPARK GROUP SALES              100 W HERSHEY PARK DR                                                                                              HERSHEY          PA   17033‐2727
HERSHISER ROBERT H (459910)          KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                                    CLEVELAND        OH   44114
                                                                       BOND COURT BUILDING
HERSHISER, ROBER H                   KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                                     CLEVELAND        OH   44114
                                                                       BOND COURT BUILDING
HERSHISER, ROGER K                   5120 ROCKWOOD DR                                                                                                   CASTALIA         OH   44824‐9725
HERSHLEY HUGHES                      820 MULFORD ST                                                                                                     EVANSTON         IL   60202‐3327
HERSHMAN, RICHARD E                  783 ELMDALE LN W                                                                                                   ALMONT           MI   48003‐8468
HERSHMAN, THOMAS L                   2152 W 700 S                                                                                                       CEDAR CITY       UT   84720‐1873
HERSHNER, RICHARD D                  302 MAIN ST                                                                                                        BELLVILLE        OH   44813‐1292
HERSHON, BARRY
HERSHON, BARRY L                     6232 SOUTH POND POINTE                                                                                             GRAND BLANC      MI   48439
HERSHON, EDWIN A                     539 POPLAR                                                                                                         CLIO             MI   48420‐1261
HERSHON, EDWIN A                     539 POPLAR ST                                                                                                      CLIO             MI   48420‐1261
HERSHON, VIOLA C                     21007 N SUNGLOW DR                                                                                                 SUN CITY WEST    AZ   85375‐1801
HERSHOUR, VERYL W                    213 RICE DRIVE CARAVEL HUNT                                                                                        BEAR             DE   19701
HERSIL, THOMAS C                     6119 S ROBERT AVE                                                                                                  CUDAHY           WI   53110‐2936
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Name                               Address1                          Address2                      Address3      Address4                 City               State   Zip
HERSL, LYRA S                      115 ALLNUT COURT                  #704                                                                 PRINCE FREDRICK     MD     20678‐0678
HERSL, LYRA S                      115 ALLNUTT CT APT 704                                                                                 PRINCE FREDERICK    MD     20678‐3178
HERSL, MARYLOU                     110 LESLIE AVE                                                                                         BALTIMORE           MD     21236‐4309
HERSMAN CHARLES S (429090)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA     23510
                                                                     STREET, SUITE 600
HERSMAN, CHARLES S                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA     23510‐2212
                                                                     STREET, SUITE 600
HERSMAN, DONALD R                  8410 GARNET DR.                                                                                        DAYTON             OH      45458‐5458
HERSMAN, DONALD R                  8410 GARNET DR                                                                                         CENTERVILLE        OH      45458‐2147
HERSON RIVERA                      BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                           BOSTON HEIGHTS     OH      44236
HERSON, KARM D                     PO BOX 45                                                                                              INGALLS            MI      49848‐0045
HERSON, KENNETH R                  PO BOX 62                                                                                              INGALLS            MI      49848‐0062
HERSRUD'S OF BELLE FOURCHE, INC.   ARNOLD LUPTAK                     10961 US HIGHWAY 212                                                 BELLE FOURCHE      SD      57717‐6903
HERSRUD'S OF BELLE FOURCHE, INC.   10961 US HIGHWAY 212                                                                                   BELLE FOURCHE      SD      57717‐6903
HERSRUDS OF STURGIS                2651 WHITEWOOD SERVICE RD                                                                              STURGIS            SD      57785‐2976
HERSTAD, CLIFFORD A                729 N HILL RD                                                                                          BELOIT             WI      53511
HERSTAD, DAVID M                   RR 4 BOX 248                                                                                           ANDERSON           IN      46011
HERSTEIN, DONALD P                 11275 N 99TH AVE LOT 82                                                                                PEORIA             AZ      85345‐5477
HERSTEIN, JOHN P                   1543 DIANE DR                                                                                          FLUSHING           MI      48433‐1826
HERSTEIN, JOHN PETER               1543 DIANE DR                                                                                          FLUSHING           MI      48433‐1826
HERSTEIN, JOSEPHINE                4735 TERAVIEW ROAD                                                                                     LEESBURG           FL      34748
HERSTEIN, JOSEPHINE                4735 TARA VIEW RD                                                                                      LEESBURG           FL      34748‐7807
HERSTON, LORETTA M                 102 CRUTCHER                                                                                           ATHENS             AL      35611
HERSTON, RASALEE L                 1283 TOWNSHIP ROAD 353                                                                                 POLK               OH      44866‐9767
HERT LESTER L (401608)             SIMMONS FIRM                      621 S BELLWOOD DR ‐ STE 300                                          EAST ALTON         IL      62024
HERT, ELLETHA                      490 E 84TH ST                                                                                          SHREVEPORT         LA      71106‐5706
HERT, EVELYN R                     1205 ROOSEVELT                                                                                         ARLINGTON          TX      76011‐4838
HERT, JERRY W                      380 S DOBSON ST                                                                                        BURLESON           TX      76028‐4812
HERT, JOHN                         6658 STATE RD 54 WEST                                                                                  SPRINGVILLE        IN      47462‐5144
HERT, JOHN                         6658 STATE ROAD 54 W                                                                                   SPRINGVILLE        IN      47462‐5144
HERT, KEITH V                      2025 NEWT PATTERSON RD                                                                                 MANSFIELD          TX      76063‐4221
HERT, LESTER                       SIMMONS FIRM                      408 BROADWAY                                                         EAST ALTON         IL      62024
HERTA BOEHNKE                      579 HENRIETTA ST                                                                                       BIRMINGHAM         MI      48009‐1452
HERTA E BRANDT                     6110 STAHELIN                                                                                          DETROIT            MI      48228‐4737
HERTA HILLERS                      KIRCHBUEHL 4                      6314 UNTERAEGERI
HERTA HILLERS                      KIRCHB▄HL 4                       6314 UNTER─GERI               SWITZERLAND
HERTA HILLERS                      KIRCHBUEHL 4                                                                  6314 UNRERAEGERI,
                                                                                                                 SWITZERLAND
HERTA HOFFMANN                     2318 EDWIN DR                                                                                          WARREN              MI     48092‐2103
HERTA KEDZIERSKI                   3900 VENTURA DR                                                                                        SAGINAW             MI     48604‐1836
HERTA LANEY                        38459 TIMPANOGAS CIR                                                                                   FREMONT             CA     94536‐1853
HERTA LINO                         5796 ANTONE RD                                                                                         FREMONT             CA     94538‐3904
HERTA THOTNE FUCHS                 ANGERSTRASSE 11A                                                              40878 RATINGEN GERMANY
HERTA, ROBERT J                    20792 VERANDA DR                                                                                       NOVI                MI     48375‐4777
HERTEG JR, THEODORE R              3748 LEDGE DR                                                                                          TROY                MI     48084‐1138
HERTEL, EILEEN M                   4017 DANIELS RD                                                                                        RANSOMVILLE         NY     14131‐9416
HERTEL, EVELYN A                   9106 WESTLAKE DR                                                                                       GREENDALE           WI     53129‐1093
HERTEL, JENNIFER A.                565 CREDITON ST                                                                                        LAKE ORION          MI     48362‐2029
HERTEL, JODI LEE                   1197 W 900 N                                                                                           HUNTINGTON          IN     46750‐9772
HERTEL, STANLEY H                  4348 PHILLIPS RD                                                                                       METAMORA            MI     48455‐9747
HERTELY, JOAN E                    2945 COSTA MESA RD                                                                                     WATERFORD           MI     48329‐2442
HERTENSTEIN, BEVERLY F             9841 MIDDLEBELT RD                                                                                     LIVONIA             MI     48150‐3077
HERTENSTEIN, BEVERLY FAYE          9841 MIDDLEBELT RD                                                                                     LIVONIA             MI     48150‐3077
HERTER JR, CARL R                  9028 PINE HILL TRL                                                                                     FENTON              MI     48430‐9217
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Name                                 Address1                          Address2                         Address3        Address4               City                State Zip
HERTER, HAROLD W                     408 AUBURN ST                                                                                             PLYMOUTH             MI 48170‐1004
HERTFELDER PAUL                      HERTFELDER, PAUL                  1262 RICK RD                                                            SANTA MARIA          CA 93455‐6728
HERTFELDER, PAUL
HERTFELDER, PAUL                     1262 RICK RD                                                                                              SANTA MARIA         CA   93455‐6728
HERTHA BRUEHL                        4490 PEPPERMILL LN                C/O JOSEPH C KELLER                                                     LAKE ORION          MI   48359‐2069
HERTHA KEEN                          931 CHILOCKSON LN                                                                                         MARION              MI   49665‐7941
HERTHA LUDWIG                        APT 226                           13900 LAKESIDE BOULEVARD NORTH                                          SHELBY TWP          MI   48315‐6047
HERTHA LUECKE                        141 E MAIN ST                     C/O JANE HEINEMANN                                                      CAMPBELLSPORT       WI   53010‐2702
HERTHA SENIURA                       4935 ITA CT APT 104                                                                                       SWARTZ CREEK        MI   48473‐1367
HERTIAGE ENVIRONMENTAL SERVICE       7901 W MORRIS ST                                                                                          INDIANAPOLIS        IN   46231‐1366
HERTIS GANT                          6148 PENWOOD RD                                                                                           MOUNT MORRIS        MI   48458‐2732
HERTIS MAGEE                         321 FROST AVE                                                                                             ROCHESTER           NY   14608‐2506
HERTIS STONE                         60 HILLTOP RD                                                                                             MANSFIELD           OH   44906‐1320
HERTLE, HAROLD A                     4895 W 300 N                                                                                              ANDERSON            IN   46011‐8785
HERTLE, HELEN                        2335 N MADISON AVE                                                                                        ANDERSON            IN   46011‐9591
HERTLE, MANETTA J                    2510 WHITE RIVER BLVD APT 2                                                                               MUNCIE              IN   47303‐5252
HERTLE, MANETTA J                    2510 W WHITE RIVER BLVD APT 2                                                                             MUNCIE              IN   47303‐5252
HERTLEIN, ANNEMARIE                  5555 N OCEAN BLVD APT 43                                                                                  LAUDERDALE BY THE   FL   33308‐2311
                                                                                                                                               SEA
HERTLEIN, RICHARD J                  6820 SHILOH SPRINGS RD                                                                                    DAYTON              OH   45426‐3938
HERTRICH AUTOMOBILE CORPORATION,     FREDERICK HERTRICH                1123 SHORE HWY                                                          DENTON              MD   21629
INC.
HERTRICH CHEVROLET                   1123 SHORE HWY                                                                                            DENTON              MD   21629
HERTRICH CHEVROLET/FLEET MUNICIPAL   1123 INDUSTRIAL PARK WAY                                                                                  DENTON              MD   21629‐3460

HERTRICH PONTIAC BUICK GMC COMPANY 26953 SUSSEX HWY                                                                                            SEAFORD             DE   19973‐8559

HERTRICH PONTIAC‐BUICK‐GMC TRUCK CO FREDERICK HERTRICH                 26953 SUSSEX HWY                                                        SEAFORD             DE   19973‐8559
INC
HERTRICK, MARK D                    10926 BAIRD RD                                                                                             AMHERST             OH   44001‐9741
HERTWECK, JAMES A                   22170 SWEETGRASS DR                                                                                        BEND                OR   97702‐9647
HERTWIG, KURT O                     165 THICKET TRL                                                                                            MCDONOUGH           GA   30252‐2574
HERTY, MATEI                        14240 MANHATTAN ST                                                                                         OAK PARK            MI   48237‐1170
HERTZ                               3323 N MILITARY HWY                                                                                        NORFOLK             VA   23518‐5608
HERTZ                               BALTIMORE/WASHINGTON AIRPORT                                                                               BALTIMORE           MD   21240
HERTZ                                                                  16070 CHAMBERLIN PKWY                                                                       FL   33913
HERTZ                               14501 HERTZ QUAIL SPRINGS PKWY                                                                             OKLAHOMA CITY       OK   73134‐2628
HERTZ                               BUILDING 289 B LUCUS DR                                                                                    DETROIT             MI   48242
HERTZ (EAGLE COLORADO)              215 ELDON WILSON RD                                                                                        GYPSUM              CO   81637‐9753
HERTZ CAR RENTAL                                                       177 S AIRPORT BLVD                                                                          CA   94080
HERTZ CAR RENTAL                    6510 CONVAIR RD                                                                                            EL PASO             TX   79925‐1020
HERTZ CORP                          ATTN PHIL COLLINS                  225 BRAE BLVD                    UPTD 06/06/06                          PARK RIDGE          NJ   07656‐1870
HERTZ CORP                          , HERTZ CORP                       14501 HERTZ QUAIL SPRINGS                                               OKLAHOMA CITY       OK   73134
                                                                       PARKWAY
HERTZ CORP                           14501 HERTZ QUAIL SPRINGS PKWY                                                                            OKLAHOMA CITY       OK   73134‐2606
HERTZ CORP                           1 GEORGE ST                                                                                               NEW HAVEN           CT   06510‐3315
HERTZ CORP                           WILL ROGERS AIRPORT                                                                                       OKLAHOMA CITY       OK   73126
HERTZ CORP                           AIRPORT RD                                                                                                MOLINE              IL   61265
HERTZ CORP                           2335 NEW HYDE PARK RD                                                                                     NEW HYDE PARK       NY   11042
HERTZ CORP                           LAMBERT FIELD                                                                                             SAINT LOUIS         MO   63145
HERTZ CORP                           DANNELLY FIELD ARPT/HWY 80 WEST                                                                           MONTGOMERY          AL   36108
HERTZ CORP                           1638 TRASSK DR.                                                                                           WILMINGTON          NC   28405
HERTZ CORP                           AMARILLO INTERNATIONAL AIRPORT                                                                            AMARILLO            TX   79120
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Name         Address1                             Address2      Address3         Address4               City             State Zip
HERTZ CORP   1340 AVIATION WAY                                                                          COLORADO SPRINGS CO 80916‐2714

HERTZ CORP   1551 NATIONAL GUARD WAY                                                                    RENO            NV    89502‐4449
HERTZ CORP   1420 DAVERN ST                                                                             SAINT PAUL      MN    55116‐3080
HERTZ CORP   4720 SW 26TH ST                                                                            DES MOINES      IA    50321‐2818
HERTZ CORP   LIHUE AIRPORT                                                                              LIHUE           HI    96817
HERTZ CORP   4555 INTERNATIONAL AIRPORT RD                                                              ANCHORAGE       AK    99502
HERTZ CORP   5103 HOLLYWOOD AVE                                                                         SHREVEPORT      LA    71109‐7764
HERTZ CORP   ALLEN C THOMPSON FIELD                                                                     JACKSON         MS    39205
HERTZ CORP   WOODRUM AIRPORT                                                                            ROANOKE         VA    24012
HERTZ CORP   18625 DES MOINES MEMORIAL DR                                                               SEATAC          WA    98148‐1921
HERTZ CORP   1101 AIRPORT RD                                                                            CHATTANOOGA     TN    37421‐6213
HERTZ CORP   880 ERMINE RD STE D                                                                        WEST COLUMBIA   SC    29170‐2268
HERTZ CORP   GREENVILLE‐SPARTANBERG AIRPORT                                                             GREER           SC    29651
HERTZ CORP   MCGEE TYSON AIRPORT                                                                        ALCOA           TN    37701
HERTZ CORP   620 MIDWAY                                                                                 DAYTONA BEACH   FL    32114
HERTZ CORP   C E HANCOCK FIELD                                                                          SYRACUSE        NY    13212
HERTZ CORP   1815 MIDFIELD RD.                                                                          WICHITA         KS    67209
HERTZ CORP   24890 E 78TH AVE                                                                           DENVER          CO    80249‐6390
HERTZ CORP   450 WILLIAM F MCCLELLAN HWY                                                                EAST BOSTON     MA    02128‐1144
HERTZ CORP   PHILADELPHIA INTERNATIONAL AIRPORT                                                         PHILADELPHIA    PA    19139

HERTZ CORP   177 S AIRPORT BLVD                                                                         SOUTH SAN        CA   94080‐6003
                                                                                                        FRANCISCO
HERTZ CORP   KANSAS CITY INTERNATIONAL AIRPORT                                                          KANSAS CITY     MO    64153

HERTZ CORP   TUCSON INTERNATIONAL AIRPORT                                                               TUCSON           AZ   85706
HERTZ CORP   9445 NE AIRPORT WAY                                                                        PORTLAND         OR   97220‐1358
HERTZ CORP   BYRD INTERNATIONAL AIRPORT                                                                 RICHMOND         VA   23221
HERTZ CORP   GREATER CINCINNATI AIRPORT                                                                 ERLANGER         KY   45275
HERTZ CORP   DAYTON INTERNATIONAL AIRPORT                                                               VANDALIA         OH   45377
HERTZ CORP   WEIR COOK AIRPORT                                                                          INDIANAPOLIS     IN   46224
HERTZ CORP   2439 WINCHESTER RD                                                                         MEMPHIS          TN   38116
HERTZ CORP   DOUGLAS MUNICIPAL AIRPORT                                                                  CHARLOTTE        NC   28208
HERTZ CORP   800 HANGAR LN                                                                              NASHVILLE        TN   37217‐2533
HERTZ CORP   BRADLEY FIELD                                                                              WINDSOR LOCKS    CT   06096
HERTZ CORP   5300 S HOWELL                                                                              MILWAUKEE        WI   53207
HERTZ CORP   2045 PILOT RD                                                                              MIDLAND          TX   79701
HERTZ CORP   GENERAL LYMAN FIELD                                                                        HILO             HI   96720
HERTZ CORP   900 DOREMUS AVE                                                                            NEWARK           NJ   07114‐3009
HERTZ CORP   KENT COUINTY AIRPORT                                                                       GRAND RAPIDS     MI   49508
HERTZ CORP   2110 N 73RD EAST AVE                                                                       TULSA            OK   74115‐3607
HERTZ CORP   BLUE GRASS AIRPORT                                                                         LEXINGTON        KY   40504
HERTZ CORP   851 ALBANY SHAKER RD                                                                       LATHAM           NY   12110‐1408
HERTZ CORP   BATES FIELD                                                                                MOBILE           AL   36608
HERTZ CORP   YEAGER AIRPORT                                                                             CHARLESTON       WV   25311
HERTZ CORP   5609 AIRPORT HWY                                                                           BIRMINGHAM       AL   35212
HERTZ CORP   T F GREEN AIRPORT                                                                          WARWICK          RI   02886
HERTZ CORP   RYAN AIRPORT                                                                               BATON ROUGE      LA   70807
HERTZ CORP   2121 NW 39TH AVE                                                                           MIAMI            FL   33142
HERTZ CORP   DETROIT METROPOLITAN AIRPORT                                                               ROMULUS          MI   48174
HERTZ CORP   3100 SYLVAN RD                                                                             HAPEVILLE        GA   30354‐1022
HERTZ CORP   NEW ORLEANS INTERNATIONAL AIRPORT                                                          NEW ORLEANS      LA   70141
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Name                          Address1                             Address2                         Address3   Address4               City            State Zip
HERTZ CORP                    JACKSONVILLE INTERNATIONAL AIRPORT                                                                      JACKSONVILLE     FL 32229

HERTZ CORP                    22166 AIRPORT SERVICE RD.                                                                               TAMPA           FL   33607
HERTZ CORP                    GREATER PITTSBURGH AIRPORT                                                                              PITTSBURGH      PA   15231
HERTZ CORP                    8425 BEAR RD                                                                                            ORLANDO         FL   32827
HERTZ CORP                    19025 MAPLEDALE AVENUE                                                                                  CLEVELAND       OH   44135
HERTZ CORP                    225 BRAE BLVD                                                                                           PARK RIDGE      NJ   07656‐1870
HERTZ CORP                    ATTN: CORPORATE OFFICER/AUTHORIZED   14501 HERTZ QUAIL SPRINGS PKWY                                     OKLAHOMA CITY   OK   73134‐2628
                              AGENT
HERTZ CORP (O'HARE)           2170 MANNHEIM RD                                                                                        DES PLAINES     IL   60018‐2956
HERTZ CORP (RENT A CAR)       GREAT FALLS INTERNATIONAL AIRPORT                                                                       GREAT FALLS     MT   59404

HERTZ CORP.                   WOODRUM AIRPORT                                                                                         ROANOKE         VA   24012
HERTZ CORP.‐ANCHORAGE         4555 OLD INTL AIRPORT RD                                                                                ANCHORAGE       AK   99502‐1018
HERTZ CORP.‐ANCHORAGE         4555 INT'L AIRPORT                                                                                      ANCHORAGE       AK   99502
HERTZ CORP.‐GRAND RAPIDS      KENT CO AIRPORT                                                                                         GRAND RAPIDS    MI   49508
HERTZ CORP.‐GRAND RAPIDS      KENT COUNTY AIRPORT                                                                                     GRAND RAPIDS    MI   49508
HERTZ CORP/N.CENTRAL REGION   DETROIT METRO A/P‐BLDG289C                                                                              DETROIT         MI   48242
HERTZ CORP/NEW YORK REGION    900 DOREMUS AVE                                                                                         NEWARK          NJ   07114‐3009
HERTZ CORP/NORTHEAST REGION   450 WILLIAM F MCCLELLAN HWY                                                                             EAST BOSTON     MA   02128‐1144
HERTZ CORP/SOUTHEAST REGION   3100 SYLVAN RD                                                                                          HAPEVILLE       GA   30354‐1022
HERTZ CORP/W.CENTRAL REGION   24890 E 78TH AVE                                                                                        DENVER          CO   80249‐6390
HERTZ CORPORATIO‐ATLANTA      3100 SYLVAN RD                                                                                          HAPEVILLE       GA   30354‐1022
HERTZ CORPORATIO‐ATLANTA      3062 SPRINGDALE RD                                                                                      HAPEVILLE       GA   30354‐1056
HERTZ CORPORATION             14501 HERTZ QUAIL SPRINGS PKWY                                                                          OKLAHOMA CITY   OK   73134‐2628
HERTZ CORPORATION             1001 WESTBROOK ST                                                                                       PORTLAND        ME   04102
HERTZ CORPORATION             BRADLEY INTERNATIONAL AIRPORT                                                                           WINDSOR LOCKS   CT   06096
HERTZ CORPORATION             450 WILLIAM F MCCLELLAN HWY                                                                             EAST BOSTON     MA   02128‐1144
HERTZ CORPORATION             T.F.GREEN AIRPORT                                                                                       WARWICK         RI   02886
HERTZ CORPORATION             900 DOREMUS AVE                                                                                         NEWARK          NJ   07114‐3009
HERTZ CORPORATION             851 ALBANY SHAKER RD                                                                                    LATHAM          NY   12110‐1408
HERTZ CORPORATION             YEAGER AIRPORT                                                                                          CHARLESTON      WV   25311
HERTZ CORPORATION             DANNELLY FIELD AIRPORT                                                                                  MONTGOMERY      AL   36108
HERTZ CORPORATION             5609 AIRPORT HWY.                                                                                       BIRMINGHAM      AL   35212
HERTZ CORPORATION             BATES MUNICIPAL AIRPORT                                                                                 MOBILE          AL   36608
HERTZ CORPORATION             440 AIRWAYS AVE                                                                                         SAVANNAH        GA   31408‐8000
HERTZ CORPORATION             3450 RENTAL CAR LANE                                                                                    CHARLESTON      SC   29418
HERTZ CORPORATION             3100 SYLVAN RD                                                                                          HAPEVILLE       GA   30354‐1022
HERTZ CORPORATION             800 HANGAR LN                                                                                           NASHVILLE       TN   37217‐2533
HERTZ CORPORATION             1101 AIRPORT RD                                                                                         CHATTANOOGA     TN   37421‐6213
HERTZ CORPORATION             MEGHEE‐TYSON AIRPORT                                                                                    ALCOA           TN   37701
HERTZ CORPORATION             100 TERMINEL DR STE 8                                                                                   PITTSTON        PA   18641‐2224
HERTZ CORPORATION             BRYD INT'L AIRPORT                                                                                      RICHMOND        VA   23231
HERTZ CORPORATION             225 BRAE BLVD                                                                                           PARK RIDGE      NJ   07656‐1870
HERTZ CORPORATION             HANCOCK AIRPORT                                                                                         SYRACUSE        NY   13212
HERTZ CORPORATION             LOT#8 RENTAL CAR ACCESS RD.                                                                             PITTSBURGH      PA   15231
HERTZ CORPORATION             1638 TRASSK DR.                                                                                         WILMINGTON      NC   28405
HERTZ CORPORATION             DOUGLAS MUNICIPAL AIRPORT                                                                               CHARLOTTE       NC   28208
HERTZ CORPORATION             2121 NW 39TH AVE.                                                                                       MIAMI           FL   33142
HERTZ CORPORATION             BLUE GRSS AIRPORT                                                                                       LEXINGTON       KY   40504
HERTZ CORPORATION             KENT COUNTY AIRPORT                                                                                     GRAND RAPIDS    MI   49508
HERTZ CORPORATION             GREATER CINCINNATI AIRPORT                                                                              ERLANGER        KY   41018
HERTZ CORPORATION             DAYTON INT'L AIRPORT                                                                                    VANDALIA        OH   45377
HERTZ CORPORATION             8425 BEAR ROAD                                                                                          ORLANDO         FL   32827
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Name                Address1                           Address2            Address3     Address4               City             State   Zip
HERTZ CORPORATION   22166 AIRPORT SERVICE RD.                                                                  TAMPA             FL     33622
HERTZ CORPORATION   360 CORAL SEA AVE                                                                          DAYTONA BEACH     FL     32114‐3842
HERTZ CORPORATION   1215 S 27TH STREET                                                                         PHOENIX           AZ     85034
HERTZ CORPORATION   708 AIRPORT ROAD                                                                           ARDEN             NC     28704
HERTZ CORPORATION   KEVIN MCIVER                       225 BRAE BLVD                                           PARK RIDGE        NJ     07656‐1870
HERTZ CORPORATION   GLENN UDALL                        225 BRAE BLVD                                           PARK RIDGE        NJ     07656‐1870
HERTZ CORPORATION   JOHN A. THOMAS                     225 BRAE BLVD                                           PARK RIDGE        NJ     07656‐1870
HERTZ CORPORATION   1 CHASE MANHATTAN PLZ                                                                      NEW YORK          NY     10081‐0001
HERTZ CORPORATION   255 BRAE BLVD.                                                                             PARK RIDGE        NJ
HERTZ CORPORATION   3450 RNTL CAR LNE                                                                          CHARLESTON        SC     29418
HERTZ CORPORATION   1955 N PERIMETER ROAD                                                                      DANIA             FL     33004
HERTZ CORPORATION   1215 S 27TH ST                                                                             PHOENIX           AZ     85034
HERTZ CORPORATION   10801 AIRPORT BLVD.                                                                        AMARILLO          TX     79111
HERTZ CORPORATION   10219 JOHN SAUNDERS RD                                                                     SAN ANTONIO       TX     78216‐4219
HERTZ CORPORATION   3737 AIRPORT BLVD                                                                          AUSTIN            TX     78722‐1333
HERTZ CORPORATION   3202 N HARBOR DR                                                                           SAN DIEGO         CA     92101‐1025
HERTZ CORPORATION   HARRISBURG INT'L A/P                                                                       MIDDLETOWN        PA     17057
HERTZ CORPORATION   HAGLER FIELD MUNC                                                                          PENSACOLA         FL     32508
HERTZ CORPORATION   GREENVILLE‐SPARTANBURG A/P                                                                 GREER             SC     29651
HERTZ CORPORATION   DALLAS PKWY                                                                                DALLAS            TX     75254‐2941
HERTZ CORPORATION   BURLINGTON AIRPORT                                                                         BURLINGTON        VT     05401
HERTZ CORPORATION   9000 AIRPORT BLVD                                                                          LOS ANGELES       CA     90045‐4570
HERTZ CORPORATION   681 N 3800 WEST                                                                            SALT LAKE CITY    UT     84116
HERTZ CORPORATION   6325 BRYAN BLVD                                                                            GREENSBORO        NC     27409‐9418
HERTZ CORPORATION   5404 ABBOTT DR                                                                             OMAHA             NE     68110‐2803
HERTZ CORPORATION   5300 RENT A CAR RD                                                                         LAS VEGAS         NV     89119‐1210
HERTZ CORPORATION   5050 WRIGHT BROS RD                                                                        HOUSTON           TX     77205
HERTZ CORPORATION   3817 N W EXPRESSWAY                                                                        OKLAHOMA CITY     OK     73112
HERTZ CORPORATION   414 LELE ST                                                                                HONOLULU          HI     96819‐1820
HERTZ CORPORATION   16070 CHAMBERLIN PKWY                                                                      FORT MYERS        FL     33913‐8871
HERTZ CORPORATION                                      900 DOREMUS AVE                                                           NJ     07114
HERTZ CORPORATION                                      9000 AIRPORT BLVD                                                         CA     90045
HERTZ CORPORATION   50 S 24TH ST                                                                               PHOENIX           AZ     85034‐2535
HERTZ CORPORATION   5300 SOUTH RENTAL CAR RD.                                                                  LAS VEGAS         NV     89119
HERTZ CORPORATION   PO BOX 25722                                                                               OKLAHOMA CITY     OK     73125‐0722
HERTZ CORPORATION   MCCARRAN INTERNATIONAL AIRPORT                                                             LAS VEGAS         NV     89111
HERTZ CORPORATION   3871 N HARBOR DR                                                                           SAN DIEGO         CA     92101
HERTZ CORPORATION   2442 REMOUNT RD                                                                            NORTH CHARLESTON SC      29406

HERTZ CORPORATION   BURLINGTON INTERNATIONAL AIRPORT                                                           BURLINGTON        VT     05401

HERTZ CORPORATION   6740 EARHART DR                                                                            SACRAMENTO        CA     95837
HERTZ CORPORATION   1017 RENTAL CAR DR.                                                                        RALEIGH           NC     27623
HERTZ CORPORATION   218 NEWBURY ST                                                                             PEABODY           MA     01960‐2406
HERTZ CORPORATION
HERTZ CORPORATION   GREATER PITTSBURGH APT                                                                     PITTSBURGH        PA     15231
HERTZ CORPORATION   BYRD INTL AIRPORT                                                                          RICHMOND          VA     23231
HERTZ CORPORATION   QUAD CITY AIRPORT                                                                          MOLINE            IL     61265
HERTZ CORPORATION   1825 E 38TH 1/2 ST                                                                         AUSTIN            TX     78722‐1341
HERTZ CORPORATION   BIRMINGHAM MUNICIPAL APT                                                                   BIRMINGHAM        AL     35212
HERTZ CORPORATION   LOVELL FLD‐1101 APT RD                                                                     CHATTANOOGA       TN     37421
HERTZ CORPORATION   19025 MAPLEDALE AVENUE                                                                     CLEVELAND         OH     44135
HERTZ CORPORATION   880 ERMINE RD STE D                                                                        WEST COLUMBIA     SC     29170‐2268
HERTZ CORPORATION   5103 HOLLYWOOD AVE                                                                         SHREVEPORT        LA     71109‐7764
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Name                             Address1                             Address2                         Address3   Address4               City              State   Zip
HERTZ CORPORATION                204 PILOT ROAD                                                                                          MIDLAND            TX     79701
HERTZ CORPORATION                620 MIDWAY                                                                                              DAYTONA BEACH      FL     32114
HERTZ CORPORATION                JACKSONVILLE INTL AIRPORT                                                                               JACKSONVILLE       FL     32229
HERTZ CORPORATION                RYAN AIRPORT                                                                                            BATON ROUGE        LA     70807
HERTZ CORPORATION                DONNELLY FIELD                                                                                          MONTGOMERY         AL     36108
HERTZ CORPORATION                LIHUE KAUAI AIRPORT                                                                                     LIHUE              HI     96766
HERTZ CORPORATION                24890 E 78TH AVE                                                                                        DENVER             CO     80249‐6390
HERTZ CORPORATION                2525 NO. 76TH EAST AVENUE                                                                               TULSA              OK     74115
HERTZ CORPORATION                2560 RENTAL RD                                                                                          MEMPHIS            TN     38118‐1500
HERTZ CORPORATION                ALLEN C THOMPSON FIELD                                                                                  JACKSON            MS     39205
HERTZ CORPORATION                T. F. GREEN AIRPORT                                                                                     WARWICK             RI    02886
HERTZ CORPORATION                BRADLEY FIELD                                                                                           WINDSOR LOCKS      CT     06096
HERTZ CORPORATION                1 NASSAU CIR                                                                                            KANSAS CITY        MO     64153‐1272
HERTZ CORPORATION                10014 LAMBERT FIELD                                                                                     SAINT LOUIS        MO     63145
HERTZ CORPORATION                PHILADELPHIA INTL AIRPORT                                                                               PHILADELPHIA       PA     19153
HERTZ CORPORATION                DAYTON INTL AIRPORT                                                                                     VANDALIA           OH     45377
HERTZ CORPORATION                4102 RENTAL CAR RD                                                                                      CHARLOTTE          NC     28214‐3230
HERTZ CORPORATION                MC GHEE TYSON AIRPORT                                                                                   ALCOA              TN     37701
HERTZ CORPORATION                5300 SOUTH HOWELL                                                                                       MILWAUKEE          WI     53207
HERTZ CORPORATION                1551 NATIONAL GUARD WAY                                                                                 RENO               NV     89502‐4449
HERTZ CORPORATION                9445 NE AIRPORT WAY                                                                                     PORTLAND           OR     97220‐1358
HERTZ CORPORATION                18625 DES MOINES MEMORIAL DR                                                                            SEATAC             WA     98148‐1921
HERTZ CORPORATION                1815 MIDFIELD RD                                                                                        WICHITA            KS     67209
HERTZ CORPORATION                #1 AIRPORT DRIVE                                                                                        OAKLAND            CA     94621
HERTZ CORPORATION                HILO AIRPORT                                                                                            HILO               HI     96720
HERTZ CORPORATION                1215 S.27TH ST.                                                                                         PHOENIX            AZ     85034
HERTZ CORPORATION                2121 N. W. 39TH AVENUE                                                                                  MIAMI              FL     33142
HERTZ CORPORATION                DETROIT METRO AIRPORT                                                                                   DETROIT            MI     48242
HERTZ CORPORATION                177 S AIRPORT BLVD                                                                                      SOUTH SAN          CA     94080‐6003
                                                                                                                                         FRANCISCO
HERTZ CORPORATION                WEIR COOK AIRPORT                                                                                       INDIANAPOLIS      IN      46241
HERTZ CORPORATION                1420 DAVERN ST                                                                                          SAINT PAUL        MN      55116‐3080
HERTZ CORPORATION                TUCSON INTERNATL AIRPORT                                                                                TUCSON            AZ      85706
HERTZ CORPORATION                3175 BELVEDERE RD                                                                                       WEST PALM BEACH   FL      33406‐1519

HERTZ CORPORATION                BLUE GRASS AIRPORT                                                                                      LEXINGTON          KY     40504
HERTZ CORPORATION                NEW ORLEANS INTNATL APT                                                                                 NEW ORLEANS        LA     70112
HERTZ CORPORATION                5757 LAKE WORTH RD                                                                                      GREENACRES         FL     33463‐3207
HERTZ CORPORATION                1617 AIRPORT BLVD.                                                                                      SAN JOSE           CA     95110
HERTZ CORPORATION                FLEET RECEIVABLES‐B HUDSON           14501 HERTZ QUAIL SPRINGS PKWY                                     OKLAHOMA CITY      OK     73134‐2628
HERTZ CORPORATION                ATT CARL SANSALONE                   900 DORAMUS AVE                                                    PORT NEWARK        NJ     07114
HERTZ CORPORATION                ATTN: CORPORATE OFFICER/AUTHORIZED   225 BRAE BLVD                                                      PARK RIDGE         NJ     07656‐1870
                                 AGENT
HERTZ CORPORATION                RANDALL E. RICKABAUGH                450 WILLIAM F MCCLELLAN HWY                                        EAST BOSTON       MA      02128
HERTZ CORPORATION (O'HARE)       2170 MANNHEIM RD                                                                                        DES PLAINES       IL      60018‐2956
HERTZ CORPORATION (OHARE)        2170 MANNHEIM RD                                                                                        DES PLAINES       IL      60018‐2956
HERTZ CORPORATION JACKSONVILLE   JACKSONVILLE INTL                                                                                       JACKSONVILLE      FL      32229
HERTZ CORPORATION‐ALCOA          MCGHEE‐TYSON AP                                                                                         ALCOA             TN      37701
HERTZ CORPORATION‐ALCOA          MCGHEE‐TYSON AIRPORT                                                                                    ALCOA             TN      37701
HERTZ CORPORATION‐AVOCA          1035 PLANE ST                                                                                           AVOCA             PA      18641‐1727
HERTZ CORPORATION‐AVOCA          100 TERMINAL DR STE 8                                                                                   PITTSTON          PA      18641‐2224
HERTZ CORPORATION‐BINGHAMPTON    ARBUTUS ROAD                                                                                            JOHNSON CITY      NY      13790
HERTZ CORPORATION‐BINGHAMPTON    ARBUTUS RD.                                                                                             JOHNSON CITY      NY      13790
HERTZ CORPORATION‐BOSTON         450 WILLIAM F MCCLELLAN HWY                                                                             EAST BOSTON       MA      02128‐1144
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Name                             Address1                        Address2           Address3         Address4               City              State   Zip
HERTZ CORPORATION‐BUFFALO        4193 GENESE                                                                                CHEEKTOWAGA        NY     14225
HERTZ CORPORATION‐CHARLESTON     YEAGER AIRPORT                                                                             CHARLESTON         WV     25311
HERTZ CORPORATION‐CHATTANOOGA    1101 AIRPORT RD                                                                            CHATTANOOGA        TN     37421‐6213
HERTZ CORPORATION‐CINCINNATI     GREATER CINCINNATI ARPT                                                                    ERLANGER           KY     41011
HERTZ CORPORATION‐CLEVELAND      19025 MAPLEDALE AVENUE                                                                     CLEVELAND          OH     44135
HERTZ CORPORATION‐COLUMBIA       880 ERMINE RD STE D                                                                        WEST COLUMBIA      SC     29170‐2268
HERTZ CORPORATION‐DAYTON         DAYTON INTL ARPT                                                                           VANDALIA           OH     45377
HERTZ CORPORATION‐DAYTON         DAYTON INT'L AIRPORT                                                                       VANDALIA           OH     45377
HERTZ CORPORATION‐DAYTONA BCH    620 MIDWAY                                                                                 DAYTONA BEACH      FL     32114
HERTZ CORPORATION‐DAYTONA BCH    360 CORAL SEA AVE                                                                          DAYTONA BEACH      FL     32114‐3842
HERTZ CORPORATION‐DETROIT        289 LUCAS DR                                                                               DETROIT            MI     48242‐1202
HERTZ CORPORATION‐HARTFORD       BRADLEY INTL ARPT                                                                          WINDSOR LOCKS      CT     06096
HERTZ CORPORATION‐HARTFORD       BRADLEY INT'L AIRPORT                                                                      WINDSOR LOCKS      CT     06096
HERTZ CORPORATION‐LATHAM         851 ALBANY SHAKER RD                                                                       LATHAM             NY     12110‐1408
HERTZ CORPORATION‐LEXINGTON      BLUE GRASS AIRPORT                                                                         LEXINGTON          KY     40504
HERTZ CORPORATION‐LEXINGTON      4000 TERMINAL DR STE 105                                                                   LEXINGTON          KY     40510‐9645
HERTZ CORPORATION‐LOUISVILLE     440 HURON AVE                                                                              LOUISVILLE         KY     40209
HERTZ CORPORATION‐MIAMI          2121 NW 39 AVENUE                                                                          MIAMI              FL     33142
HERTZ CORPORATION‐MIAMI          2121 NW 39TH AVE.                                                                          MIAMI              FL     33142
HERTZ CORPORATION‐MOBILE         BATES MUNICIPAL A                                                                          MOBILE             AL     36608
HERTZ CORPORATION‐NASHVILLE      800 HANGAR LN                                                                              NASHVILLE          TN     37217‐2533
HERTZ CORPORATION‐ORLANDO        8425 BEAR ROAD                                                                             ORLANDO            FL     32827
HERTZ CORPORATION‐ORLANDO        5400 BUTLER NATIONAL DR                                                                    ORLANDO            FL     32812‐3024
HERTZ CORPORATION‐PHILADELPHIA   PHILA INTL AIRPORT                                                                         PHILADELPHIA       PA     19153
HERTZ CORPORATION‐PHILADELPHIA   PHILADELPHIA INT'L AIRPORT                                                                 PHILADELPHIA       PA     19153
HERTZ CORPORATION‐PITTSBURGH     LOT #8 RENTAL CAR ACCESS RD.                                                               PITTSBURGH         PA     15231
HERTZ CORPORATION‐PITTSBURGH     LOT#8 RENTAL CAR ACCESS RD.                                                                PITTSBURGH         PA     15231
HERTZ CORPORATION‐PORT NEWARK    NEWARK INT'L AIRPORT BLDG #23                                                              NEWARK             NJ     07114
HERTZ CORPORATION‐PORTLAND       1001 WESTBROOK ST                                                                          PORTLAND           ME     04102
HERTZ CORPORATION‐PORTLAND       1001 WEST BROOK ST.                                                                        PORTLAND           ME     04102
HERTZ CORPORATION‐RICHMOND       BYRD INTL AIRPORT                                                                          RICHMOND           VA     23221
HERTZ CORPORATION‐RICHMOND       BRYD INT'L AIRPORT                                                                         RICHMOND           VA     23231
HERTZ CORPORATION‐ROANOKE        WOODRUN AIRPORT                                                                            ROANOKE            VA     24012
HERTZ CORPORATION‐ROCHESTER      75 AJAX RD                                                                                 ROCHESTER          NY     14624‐3101
HERTZ CORPORATION‐SARASOTA       SARASOTA AIRPORT                                                                           SARASOTA           FL     34238
HERTZ CORPORATION‐SAVANNAH       440 AIRWAYS AVE                                                                            SAVANNAH           GA     31408‐8000
HERTZ CORPORATION‐SYRACUSE       HANCOCK INTL APRT                                                                          SYRACUSE           NY     13212
HERTZ CORPORATION‐SYRACUSE       HANCOCK INT'L AIRPORT                                                                      SYRACUSE           NY     13212
HERTZ CORPORATION‐TALLAHASSEE    3201 CAPITAL CICLE SW                                                                      TALLAHASSEE        FL     32310
HERTZ CORPORATION‐TAMPA          22166 ARPRT SERVICE                                                                        TAMPA              FL     33622
HERTZ CORPORATION‐TAMPA          22166 AIRPORT SERVICE ROAD                                                                 TAMPA              FL     33622
HERTZ CORPORATION‐W.PALM BEACH   3175 BELVEDERE RD                                                                          WEST PALM BEACH    FL     33406‐1519

HERTZ CORPORATION‐WARWICK        TF GREEN A/P                                                                               WARWICK           RI      02886
HERTZ CORPORATION‐WARWICK        T F GREEN AIRPORT                                                                          WARWICK           RI      02886
HERTZ CORPORATION‐WILMINGTON     1638 TRASSK DR.                                                                            WILMINGTON        NC      28405
HERTZ CORPORTAION                225 BRAE BLVD                                                                              PARK RIDGE        NJ      07656‐1870
HERTZ CORPORTAION                GLENN UDALL                     225 BRAE BLVD                                              PARK RIDGE        NJ      07656‐1870
HERTZ EQUIP.RNTL/WARRANTY        225 BRAE BLVD                                                                              PARK RIDGE        NJ      07656‐1870
HERTZ EQUIPMENT RENTAL           28300 GODDARD RD                                                                           ROMULUS           MI      48174‐2633
HERTZ EQUIPMENT RENTAL           29125 SMITH RD                                                                             ROMULUS           MI      48174‐2232
HERTZ EQUIPMENT RENTAL CORP      COLUMBUS BRANCH                 523 STIMMEL RD                                             COLUMBUS          OH      43223‐2901
HERTZ EQUIPMENT RENTAL CORP      3817 NW EXPRESSWAY STE 500      PO BOX 121108                                              DALLAS            TX      75312‐1108
HERTZ EQUIPMENT RENTAL CORP      29125 SMITH RD                                                                             ROMULUS           MI      48174‐2232
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Name                               Address1                        Address2                         Address3   Address4               City               State   Zip
HERTZ EQUIPMENT RENTAL CORP        6333 S DIXIE HWY                                                                                   ERIE                MI     48133‐9226
HERTZ EQUIPMENT RENTAL CORP        4099 DOLAN DR                                                                                      FLINT               MI     48504‐1322
HERTZ EQUIPMENT RENTAL CORP        5500 36TH ST SE                                                                                    GRAND RAPIDS        MI     49512‐2018
HERTZ EQUIPMENT RENTAL CORP
HERTZ EQUIPMENT RENTAL CORPORATION PO BOX 650280                                                                                      DALLAS              TX     75265‐0280

HERTZ EQUIPMENT RENTAL CORPORATION RICH BARBERA                    225 BRAE BLVD                                                      PARK RIDGE          NJ     07656‐1870

HERTZ GEORGE                        HERTZ, GERORGE                 120 WEST MADISON STREET , 10TH                                     CHICAGO             IL     60602
                                                                   FLOOR
HERTZ GLOBAL HOLDINGS INC           5000 INDUSTRIAL EXTENSION                                                                         BOSSIER CITY        LA     71112
HERTZ GLOBAL HOLDINGS INC           29125 SMITH RD                                                                                    ROMULUS             MI     48174‐2232
HERTZ GLOBAL HOLDINGS INC           6333 S DIXIE HWY                                                                                  ERIE                MI     48133‐9226
HERTZ MATTHEWS EQUIPMENT LTD
HERTZ OF ARKANSAS                   3503 E ROOSEVELT RD                                                                               LITTLE ROCK         AR     72206‐6700
HERTZ RAC                           CHERRY CAPITOL AIRPORT                                                                            TRAVERSE CITY       MI     49684
HERTZ RAC                           1017 RENTAL CAR DRIVE                                                                             RALEIGH             NC     27623
HERTZ RAC (BORDER CR)               4805 MAHER #300                                                                                   LAREDO              TX     78041
HERTZ RAC‐AUGUSTA                   1620 TOBACCO RD                                                                                   AUGUSTA             GA     30906‐9267
HERTZ RAC‐COL.SPRGS.                7770 E DRENNAN ROAD                                                                               COLORADO SPRINGS    CO     80916

HERTZ RAC‐DES MOINES                4720 SW 26TH ST                                                                                   DES MOINES         IA      50321‐2818
HERTZ RAC‐LIHUE                     LIHUE‐KAUAI AIRPORT                                                                               LIHUE              HI      96766
HERTZ RAC‐LIHUE                     3250 HOOLIMALIMA PL                                                                               LIHUE              HI      96766‐9711
HERTZ RAC‐NEW HAVEN                 450 WILLIAM F MCCLELLAN HWY                                                                       EAST BOSTON        MA      02128‐1144
HERTZ RAC‐RENO                      1551 NATL GUARD                                                                                   RENO               NV      89502
HERTZ RAC‐RENO                      1551 NATIONAL GUARD WAY                                                                           RENO               NV      89502‐4449
HERTZ RENT A CAR                    440 HURON AVE                                                                                     LOUISVILLE         KY      40209
HERTZ RENT A CAR                    1815 MIDFIELD RD.                                                                                 WICHITA            KS      67209
HERTZ RENT A CAR                    5404 ABBOTT DR                                                                                    OMAHA              NE      68110‐2803
HERTZ RENT A CAR                    3175 BELVEDERE RD                                                                                 WEST PALM BEACH    FL      33406‐1519

HERTZ RENT A CAR                    16070 CHAMBERLIN PKWY                                                                             FORT MYERS         FL      33913‐8871
HERTZ RENT A CAR                    9477 AERO SPACE DR                                                                                SAINT LOUIS        MO      63134‐3825
HERTZ RENT A CAR                    SARASOTA AIRPORT                                                                                  SARASOTA           FL      34238
HERTZ RENT A CAR                    WEIR COOK AIRPORT                                                                                 INDIANAPOLIS       IN      46224
HERTZ RENT A CAR                    RYAN AIRPORT                                                                                      BATON ROUGE        LA      70807
HERTZ RENT A CAR                    NEW ORLEANS AIRPORT                                                                               NEW ORLEANS        LA      70141
HERTZ RENT A CAR                    2439 WINCHESTER                                                                                   MEMPHIS            TN      38116
HERTZ RENT A CAR                    ALLEN THOMPSON FIELD                                                                              JACKSON            MS      39207
HERTZ RENT A CAR                    5103 HOLLYWOOD AVE                                                                                SHREVEPORT         LA      71109‐7764
HERTZ RENT A CAR                    LIHUE‐KAUAI AIRPORT                                                                               LIHUE              HI      96766
HERTZ RENT A CAR                    TUCSON INTL AIRPORT                                                                               TUCSON             AZ      85706
HERTZ RENT A CAR                    CORPUS CHRISTI INT'L AIRPORT                                                                      CORPUS CHRISTI     TX      78401
HERTZ RENT A CAR                    AMARILLO INT'L A/P                                                                                AMARILLO           TX      79120
HERTZ RENT A CAR                    4501 HERTZ QUAIL SPRINGS PKY                                                                      OKLAHOMA CITY      OK      73134‐2606
HERTZ RENT A CAR                    MIDLAND ODESSA AIRPORT                                                                            MIDLAND            TX      79701
HERTZ RENT A CAR                    880 ERMINE RD STE D                                                                               WEST COLUMBIA      SC      29170‐2268
HERTZ RENT A CAR                    PO BOX 80336                                                                                      RALEIGH            NC      27623‐0336
HERTZ RENT A CAR                    6325 BRYAN BLVD                                                                                   GREENSBORO         NC      27409‐9418
HERTZ RENT A CAR                    75 AJAX RD                                                                                        ROCHESTER          NY      14624‐3101
HERTZ RENT A CAR                    4193 GENESEE ROAD                                                                                 CHEEKTOWAGA        NY      14225
HERTZ RENT A CAR                    HARRISBRUG INT'L AIRPORT                                                                          MIDDLETOWN         PA      17057
HERTZ RENT A CAR                    1017 RENTAL CAR DRIVE                                                                             RALEIGH            NC      27623
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Name                                   Address1                          Address2                         Address3   Address4                 City             State   Zip
HERTZ RENT A CAR                       1620 TOBACCO RD                                                                                        AUGUSTA           GA     30906‐9267
HERTZ RENT A CAR                       PENSACOLA MUNICIPAL AIRPORT                                                                            PENSACOLA         FL     32504
HERTZ RENT A CAR                       ARBUTUS ROAD                                                                                           JOHNSON CITY      NY     13790
HERTZ RENT A CAR                       225 BRAE BLVD                                                                                          PARK RIDGE        NJ     07656‐1870
HERTZ RENT A CAR                       24890 E 78TH AVE                                                                                       DENVER            CO     80249‐6390
HERTZ RENT A CAR                       #1 AIRPORT DRIVE                                                                                       OAKLAND           CA     94621
HERTZ RENT A CAR                       1617 AIRPORT BLVD                                                                                      SAN JOSE          CA     95110
HERTZ RENT A CAR                       1775 N WOODRUFF AVE                                                                                    IDAHO FALLS       ID     83401‐1707
HERTZ RENT A CAR                       DANNELLEY FIELD A/P                                                                                    MONTGOMERY        AL     36108
HERTZ RENT A CAR                       830 PERIMETER ROAD                                                                                     LONDONDERRY       NH     03053
HERTZ RENT A CAR                       6510 CONVAIR RD                                                                                        EL PASO           TX     79925‐1020
HERTZ RENT A CAR                       3400 UNIVERSITY S.E. SUITE J                                                                           ALBUQUERQUE       NM     87106
HERTZ RENT A CAR                       3323 N MILITARY HWY                                                                                    NORFOLK           VA     23518‐5608
HERTZ RENT A CAR                       218 NEWBURY ST                                                                                         PEABODY           MA     01960‐2406
HERTZ RENT A CAR                                                         111 GEORGE CROCKETT RD STE 110                                                         NV     89119
HERTZ RENT A CAR                       DANNELLY FIELD AIRPORT                                                                                 MONTGOMERY        AL     36108
HERTZ RENT A CAR                       440 HURON AVE.                                                                                         LOUISVILLE        KY     40209
HERTZ RENT A CAR                       14501 HERTZ QUAIL SPRINGS PKY                                                                          OKLAHOMA CITY     OK     73134‐2606
HERTZ RENT A CAR                       2121 NW 39 AVENUE                                                                                      MIAMI             FL     33142
HERTZ RENT A CAR                       PO BOX 9963                                                                                            ALBUQUERQUE       NM     87119‐1063
HERTZ RENT A CAR                       4193 GENESSEE ROAD                                                                                     CHEEKTOWAGA       NY     14225
HERTZ RENT A CAR                       2403 AVIATION RD                                                                                       SIOUX CITY         IA    51111
HERTZ RENT A CAR                       681 N.3800 WEST                                                                                        SALT LAKE CITY    UT     84122
HERTZ RENT A CAR                       EL PASO INTERNATIONAL AIRPORT                                                                          EL PASO           TX     79925
HERTZ RENT A CAR                       1955 N. PERIMETER RD.                                                                                  DANIA             FL     33004
HERTZ RENT A CAR                       440 AIRWAYS AVE                                                                                        SAVANNAH          GA     31408‐8000
HERTZ RENT A CAR                       SARASOTA/BRADENTON AIRPORT                                                                             SARASOTA          FL     33576
HERTZ RENT A CAR                       INTERNATIONAL AIRPORT                                                                                  CORPUS CHRISTI    TX     78405
HERTZ RENT A CAR                       SARASOTA APT‐AIRGATE STAT                                                                              SARASOTA          FL     34278
HERTZ RENT A CAR                       HIGH POINT AIRPORT                                                                                     GREENSBORO        NC     27425
HERTZ RENT A CAR                       1081 N. 3800 WEST                                                                                      SALT LAKE CITY    UT     84116
HERTZ RENT A CAR                       1955 NORTH PERIMETER ROAD                                                                              DANIA             FL     33004
HERTZ RENT A CAR                       307 BEDFORD ST                                                                                         JOHNSTOWN         PA     15901‐2006
HERTZ RENT A CAR                       3201 CAPITAL CICLE SW                                                                                  TALLAHASSEE       FL     32310
HERTZ RENT A CAR                       HAGLER FIELD MUNC                                                                                      PENSACOLA         FL     32508
HERTZ RENT A CAR                       1955 N PERIMETER ROAD                                                                                  DANIA             FL     33004
HERTZ RENT A CAR                       HARRISBURG INT'L A/P                                                                                   MIDDLETOWN        PA     17057
HERTZ RENT A CAR                       681 N 3800 WEST                                                                                        SALT LAKE CITY    UT     84116
HERTZ RENT A CAR                       4193 GENESE                                                                                            CHEEKTOWAGA       NY     14225
HERTZ RENT A CAR (OHARE)               2170 MANNHEIM RD                                                                                       DES PLAINES        IL    60018‐2956
HERTZ RENT A CAR (TRAVERSE CITY LSG)   CHERRY CAPITAL AIRPORT                                                                                 TRAVERSE CITY     MI     49684

HERTZ RENT A CAR‐OGDEN                 2805 WASHINGTON BLVD                                                                                   OGDEN            UT      84401‐4212
HERTZ RENT‐A‐CAR                       14501 HERTZ QUAIL SPRINGS PKWY    PARKWAY                                                              OKLAHOMA CITY    OK      73134‐2628
HERTZ RENT‐A‐CAR                       5300 S.HOWELL                                                                                          MILWAUKEE        WI      53207
HERTZ RENT‐A‐CAR                       4720 SW 26TH ST                                                                                        DES MOINES       IA      50321‐2818
HERTZ RENT‐A‐CAR                       1420 DAVERN ST                                                                                         SAINT PAUL       MN      55116‐3080
HERTZ RENT‐A‐CAR                       14501 HERTZ QUAIL SPRINGS PKWY                                                                         OKLAHOMA CITY    OK      73134‐2628
HERTZ RENT‐A‐CAR                       9227 CESSNA DRIVE                                                                                      JUNEAU           AK      99801
HERTZ RENT‐A‐CAR                       4520 DALE RD                                                                                           FAIRBANKS        AK      99709‐4405
HERTZ RENT‐A‐CAR                       2121 WRIGHT BROS. BLVD.                                                                                CEDAR RAPIDS     IA      52401
HERTZ RENT‐A‐CAR                       INTL. SHOPPING PLAZA, SUITE 205                                               CAROLINA 00979 PUERTO
                                                                                                                     RICO
HERTZ RENT‐A‐CAR                       4805 MAHER AVE #300                                                                                    LAREDO            TX     78041
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Name                         Address1                             Address2       Address3        Address4               City               State   Zip
HERTZ RENTA CAR              7727 E YOUNG PL STE 200                                                                    TULSA               OK     74115‐3717
HERTZ RENTAL                 4099 DOLAN DR                                                                              FLINT               MI     48504‐1322
HERTZ RENTAL CO              5000 INDUSTRIAL EXTENSION                                                                  BOSSIER CITY        LA     71112
HERTZ RENTER                 NO ADVERSE PARTY
HERTZ RUTH                   1 BROOKVALE RD                                                                             FRAMINGHAM         MA      01701‐3929
HERTZ SCHRAM & SARETSKY PC   1760 S TELEGRAPH RD STE 300                                                                BLOOMFIELD HILLS   MI      48302‐0183
HERTZ SYSTEM LICENSEE        1020 BEN EPPS DR                                                                           ATHENS             GA      30605‐2265
HERTZ SYSTEM LICENSEE        TRI CITY AIRPORT                                                                           FREELAND           MI      48623
HERTZ SYSTEN LICENSEE        TRI CITY AIRPORT                                                                           FREELAND           MI      48623
HERTZ VEHICLE LLC            14501 HERTZ QUAIL SPRINGS PKWY                                                             OKLAHOMA CITY      OK      73134‐2628
HERTZ, BARBARA A             3395 MORROW LN                                                                             MILFORD            MI      48381‐3358
HERTZ, BARBARA A             18230 DUNBLAINE AVE                                                                        BEVERLY HILLS      MI      48025‐3112
HERTZ, DALE E                1062 AMELITH RD                                                                            BAY CITY           MI      48706‐9335
HERTZ, DALE EDWARD           1062 AMELITH RD                                                                            BAY CITY           MI      48706‐9335
HERTZ, ERIK                  8681 RIDGE RD                                                                              ELLICOTT CITY      MD      21043
HERTZ, JAMES P               2071 W HENDERSON RD                                                                        HENDERSON          MI      48841‐9766
HERTZ‐AMARILLO               AMARILLO INT'L A/P                                                                         AMARILLO           TX      79120
HERTZ‐BATON ROUGE            RYAN AIRPORT                                                                               BATON ROUGE        LA      70821
HERTZ‐BIRMINGHAM             5609 AIRPORT HWY                                                                           BIRMINGHAM         AL      35212
HERTZ‐CHARLOTTE              DOUGLAS MUNICIPAL ARPT                                                                     CHARLOTTE          NC      28208
HERTZ‐CHARLOTTE              4102 RENTAL CAR RD                                                                         CHARLOTTE          NC      28214‐3230
HERTZ‐DENVER                 24890 E 78TH AVE                                                                           DENVER             CO      80249‐6390
HERTZ‐HILO                   HILO AIRPORT                                                                               HILO               HI      96720
HERTZ‐INDIANAPOLIS           WEIR COOK AIRPORT                                                                          INDIANAPOLIS       IN      46241
HERTZ‐INDIANAPOLIS           2621 S HIGH SCHOOL RD                                                                      INDIANAPOLIS       IN      46241‐4921
HERTZ‐JACKSON                ALLEN THOMPSON FLD                                                                         JACKSON            MS      39207
HERTZ‐KANSAS CITY            902 TEL AVIV AVE                                                                           KANSAS CITY        MO      64153‐2030
HERTZ‐MEMPHIS                2439 WINCHESTER                                                                            MEMPHIS            TN      38116
HERTZ‐MIDLAND                MIDLAND ODESSA AP                                                                          MIDLAND            TX      79701
HERTZ‐MILLBRAE               177 S AIRPORT BLVD                                                                         SOUTH SAN          CA      94080‐6003
                                                                                                                        FRANCISCO
HERTZ‐MILLBRAE               782 MCDONNELL RD                                                                           SAN FRANCISCO      CA      94128
HERTZ‐MILWAUKEE              5300 S HOWEL AVE                                                                           MILWAUKEE          WI      53207
HERTZ‐MILWAUKEE              5300 S.HOWELL                                                                              MILWAUKEE          WI      53207
HERTZ‐MINNEAPOLIS            1420 DAVERN ST                                                                             SAINT PAUL         MN      55116‐3080
HERTZ‐NEW ORLEANS            NEW ORLEANS AIRPORT                                                                        NEW ORLEANS        LA      70141
HERTZ‐OVERLAND WEST          1551 AVIATION PLACE LIA                                                                    BILLINGS           MT      59103
HERTZ‐OVERLAND WEST          2801 JAYCEE LANE COSTELLO TERMINAL                                                         SIOUX FALLS        SD      57104
                             BLDG.
HERTZ‐OVERLAND WEST          2924 1ST AVE N                                                                             BILLINGS           MT      59101‐2132
HERTZ‐OVERLAND WEST          JACKSON MUNICIPAL AIRPORT                                                                  JACKSON            WY      83001
HERTZ‐OVERLAND WEST          9000 W. AIRPORT DRIVE                                                                      SPOKANE            WA      99224
HERTZ‐OVERLAND WEST          8500 AIRPORT PARKWAY‐NCA                                                                   CASPER             WY      82604
HERTZ‐OVERLAND WEST          850 GALLATION FIELD ROAD, S‐8                                                              BELGRADE           MT      59714
HERTZ‐OVERLAND WEST          4450 TERMINAL ROAD, S‐108 REGIONAL                                                         RAPID CITY         SD      57703
                             AIRPORT
HERTZ‐OVERLAND WEST          3201 AIRPORT WAY                                                                           BOISE              ID      83705
HERTZ‐OVERLAND WEST          2901 AIRPORT DRIVE                                                                         GREAT FALLS        MT      59404
HERTZ‐OVERLAND WEST          1250 AIRPORT ROAD                                                                          JACKSON            WY      83001
HERTZ‐OVERLAND WEST          4550 TERMINAL RD STE 108                                                                   RAPID CITY         SD      57703‐8706
HERTZ‐OVERLAND WEST          JACKSON HOLE MUNICIPAL ARPT                                                                JACKSON            WY      83001
HERTZ‐OVERLAND WEST          INTERNATIONAL AIRPORT                                                                      GREAT FALLS        MT      59404
HERTZ‐OVERLAND WEST          850 GALLATIN FIELD RD STE 8                                                                BELGRADE           MT      59714‐8546
HERTZ‐OVERLAND WEST          4450 TERMINAL ROAD, S‐108 REGI       ONAL AIRPORT                                          RAPID CITY         SD
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HERTZ‐PENSKE LEASING INC    600 PARSIPPANY RD                                                                               PARSIPPANY           NJ     07054
HERTZ‐PENSKE TRUCK          11529 HARRY HINES                                                                               DALLAS               TX     75229
HERTZ‐PENSKE TRUCK          2300 E OLYMPIC BLVD                                                                             LOS ANGELES          CA     90021‐2508
HERTZ‐PORTLAND              9445 NE AIRPORT WAY                                                                             PORTLAND             OR     97220‐1358
HERTZ‐PORTLAND              9444 NE AIRPORT WAY                                                                             PORTLAND             OR     97220
HERTZ‐SEATTLE               18625 DES MOINES MEMORIAL DR                                                                    SEATAC               WA     98148‐1921
HERTZ‐SHREVEPORT            5103 HOLLYWOOD                                                                                  SHREVEPORT           LA     71109
HERTZ‐ST LOUIS              9477 AERO SPACE DR                                                                              SAINT LOUIS          MO     63134‐3825
HERTZ‐TUCSON                TUCSON INTL AIRPORT                                                                             TUCSON               AZ     85706
HERTZ‐TULSA                 2110 N 73RD EAST AVE                                                                            TULSA                OK     74115‐3607
HERTZ‐TULSA                 7727 E YOUNG PL STE 200                                                                         TULSA                OK     74115‐3717
HERTZ‐WICHITA               1815 MIDFIELD RD.                                                                               WICHITA              KS     67209
HERTZBERG, CONNIE L         6310 CLEARBROOK DR                                                                              SAINT HELEN          MI     48656‐9547
HERTZBERG, DAVID B          4765 LINCOLN RD                                                                                 STANDISH             MI     48658‐9435
HERTZBERG, LOUIS H          11088 BARE DR                                                                                   CLIO                 MI     48420‐1538
HERTZBERG, PATRICIA A       650 MAGNOLIA LN                                                                                 ELK GROVE VILLAGE     IL    60007‐4615

HERTZBERG, WILLIAM F        1577 ARENAC STATE RD                                                                            OMER                MI      48749
HERTZEL, ROGER M            6495 TWP. RD. 293 S.E.                                                                          CORNING             OH      43730
HERTZER JR, GEORGE A        268 E CHURCH RD                                                                                 MORRICE             MI      48857‐9779
HERTZIG, BERTHA             2421 EAST 30TH STREET                                                                           LORAIN              OH      44055‐2121
HERTZIG, BERTHA             2421 E 30TH ST                                                                                  LORAIN              OH      44055‐2121
HERTZIG, XAVIER A           52205 N RIDGE RD                                                                                VERMILION           OH      44089‐9409
HERTZINGER, DONALD E        1212 WINESAP WAY APT H                                                                          ANDERSON            IN      46013‐5558
HERTZINGER, DONALD EUGENE   1212 WINESAP WAY APT H                                                                          ANDERSON            IN      46013‐5558
HERTZINGER, PHILLIP E       2801 JACKSON ST                                                                                 ANDERSON            IN      46016‐5241
HERTZLER, MARK              PO BOX 22333                                                                                    TAMPA               FL      33622
HERTZLIN, PETER R           32 BURRITT RD                                                                                   HILTON              NY      14468‐9768
HERTZMAN JR., WALTER J      30 SOLOFF DR                                                                                    HAMILTON            NJ      08610‐4221
HERTZMAN SR, WALTER J       24 BENSON LN                                                                                    TRENTON             NJ      08610‐2309
HERTZOG BOB                 4535 E VIA ESTRELLA                                                                             PHOENIX             AZ      85028‐4212
HERTZOG JERRY               PO BOX 152                                                                                      BUTLER              MO      64730‐0152
HERTZOG, ROBERT             MONSEES MILLER MAYER PRESLEY &   4717 GRAND AVE STE 820                                         KANSAS CITY         MO      64112‐2258
                            AMICK
HERTZOG, SARAH
HERTZSCH, ROBIN J           2021 VIVIAN RD                                                                                  MONROE              MI      48162‐4131
HERUBIN, DONALD J           2316 ELECTRIC ST                                                                                WYANDOTTE           MI      48192‐4344
HERUBIN, JOSEPH J           3062 MALIBU DR SW                                                                               WARREN              OH      44481
HERUBIN, JOSEPH T           18760 W GLENHURST DR                                                                            LAKE VILLA          IL      60046
HERUBIN, LEORA A            3062 MALIBU DR SW                                                                               WARREN              OH      44481‐9242
HERUM DARREN                HERUM, DARREN                    5420 CAREY DR                                                  CEDAR FALLS         IA      50613‐7039
HERUM, DARREN               5420 CAREY DR                                                                                   CEDAR FALLS         IA      50613‐7039
HERUMINEK, IRENE L.         3210 KLUSNER AVENUE                                                                             PARMA               OH      44134‐5026
HERVA J KING                638 MARMION AVE                                                                                 TOLEDO              OH      43607‐3810
HERVA KING                  638 MARMION AVE                                                                                 TOLEDO              OH      43607‐3810
HERVE TELLIER               1047 COOPERS RUN                                                                                AMHERST             OH      44001‐2632
HERVERT DEARSMAN            BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH      44236
HERVERT JR, EDWARD F        234 PROCTOR ST                                                                                  VASSAR              MI      48768‐9605
HERVERT, ANN                3220 GABEL RD                                                                                   SAGINAW             MI      48601‐9341
HERVERT, DELORES A          2306 ROBINWOOD AVE                                                                              SAGINAW             MI      48601‐3523
HERVERT, JOSEPH J           3220 GABEL RD                                                                                   SAGINAW             MI      48601‐9341
HERVEY JONES                PO BOX 310535                                                                                   FLINT               MI      48531‐0536
HERVEY JONES                2226 PLEASANT DALE DR                                                                           CHARLOTTE           NC      28214‐9154
HERVEY MITCHEM              6830 COLLEGE AVE                                                                                KANSAS CITY         MO      64132‐3002
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HERVEY TRIPP                   C/O GARSITE LLC                   539 S 10TH ST                                                        KANSAS CITY         KS     66105‐1201
HERVEY'S TIRE CO. INC.         22 UNION ST                                                                                            ROCHESTER           NH     03867‐1911
HERVEY'S TIRE CO. INC.         22 UNION ST                                                                                            ROCHESTER           NH     03867‐1911
HERVEY, BETTY H                1844 PINE DR                                                                                           TRAVERSE CITY       MI     49686‐9276
HERVEY, BRIAN R                863 PROVINCETOWN RD                                                                                    AUBURN HILLS        MI     48326
HERVEY, CARRIE M               13620 MEYERS RD                                                                                        DETROIT             MI     48227‐3991
HERVEY, DENNIS J               7294 ANNA AVE                                                                                          WARREN              MI     48092‐2701
HERVEY, DENNIS JAMES           7294 ANNA AVE                                                                                          WARREN              MI     48092‐2701
HERVEY, HAROLD L               2954 SEYMOUR DR                                                                                        DALLAS              TX     75229‐4931
HERVEY, NINA M                 19301 COOLEY ST                                                                                        DETROIT             MI     48219‐1895
HERVEY, ROBERT A               4700 WYOMING AVE APT 401                                                                               WICHITA FALLS       TX     76310‐2491
HERVEY, WILBERT                C/O THE LIPMAN LAW FIRM           5915 PONCE DE LEON BLVD         SUITE 44                             CORAL GABLES        FL     33146
HERVIE BARGER                  5900 WOLF RD                                                                                           WESTERN SPRGS        IL    60558‐2233
HERVIEUX, DOROTHY G            13130 OAKDALE ST                                                                                       SOUTHGATE           MI     48195‐1072
HERVOYAVICH, THOMAS P          440 DETROIT AVE                                                                                        LINCOLN PARK        MI     48146‐3028
HERWALDT SATURN                DANIEL HERWALDT                   5499 N BLACKSTONE AVE                                                FRESNO              CA     93710‐5015
HERWALDT, ELLA                 G 6182 W COURT ST                                                                                      FLINT               MI     48532
HERWALDT, JAMES M              2134 WILMONT DR SE                                                                                     KENTWOOD            MI     49508‐6598
HERWALDT, THOMAS M             2857 HANNAN RD                                                                                         IMLAY CITY          MI     48444‐9721
HERWARTH PENNY (477224)        KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                        CLEVELAND           OH     44114
                                                                 BOND COURT BUILDING
HERWARTH STUDIER               RUTH‐SIEDEL‐STRASSE 44            17099 GALENBECK                 GERMANY                              GALENBECK           DE
HERWARTH STUDIER               RUTH‐SIEDEL‐STR. 44               DE‐17099 GALENBECK                                                   GALENBECK           DE     de170
HERWARTH STUDIER AND CLAUDIA   RUTH‐SIEDEL‐STR 44                                                           17099 GALENBECK GERMANY
STUDIER
HERWARTH U CLAUDIA STUDIER     RUTH‐SIEDEL‐STRASSE 44                                                       17099 GALENBECK GERMANY

HERWARTH U. CLAUDIA STUDIER    RUTH‐SIEDEL‐STRASSE 44            17099 GALENBECK                 GERMANY                                                 DE
HERWARTH, PENNY                KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                         CLEVELAND          OH      44114
                                                                 BOND COURT BUILDING
HERWAT, HARRY F                11655 E STEAMBOAT DR                                                                                   FLORAL CITY        FL      34436‐3036
HERWATT, AMELIA L              6410 NIGHT VISTA DR.                                                                                   PARMA              OH      44129‐6369
HERWEGH, CLOYSE A              APT J                             16889 COTTAGE STREET                                                 BELTON             MO      64012‐5140
HERWEGH, JULIA A               16889 COTTAGE ST.                 APT. J                                                               BELTON             MO      64012
HERWEH, PHYLLIS R              513 W TONHAWA ST                                                                                       NORMAN             OK      73069‐7049
HERWEHE, DONALD E              106 N COOK RD                                                                                          MUNCIE             IN      47303‐4507
HERWEYER, CARL H               G‐2281 LOST CREEK DR                                                                                   FLUSHING           MI      48433
HERWEYER, KEITH A              1223 CANTERBERRY DR                                                                                    MANNING            SC      29102‐8821
HERWEYER, KEITH A              43324 SAAL RD                                                                                          STERLING HEIGHTS   MI      48313‐2152
HERWICK, GARY A                1200 SHOTEY CT                                                                                         MILFORD            MI      48380‐1734
HERWICK, JEAN A                7917 E MAIN ST                                                                                         KALAMAZOO          MI      49048‐8521
HERWIG BLOCK                   AN BR▄MMERSKAMP 8                 49762 LATHEN
HERWIG BLOCK                   AN BRUEMMERSKAMP 8                49762 LATHEN
HERWIG EBERL                   BERGKAMMSTRA E 45                                                            A 8280 FUERTENFELD
                                                                                                            AUSTRIA
HERWIG EUGENE (492030)         BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD         OH      44067
                                                                 PROFESSIONAL BLDG
HERWIG, EUGENE C               9837 E RIVER RD                                                                                        ELYRIA             OH      44035‐8151
HERWIG, JACOB C                906 HOWARD ST                                                                                          ELYRIA             OH      44035‐3040
HERWIG, JERRY L                38715 HIDDEN CANYON DR                                                                                 GRAFTON            OH      44044‐9622
HERXIIG BENATZKY               ELISABETHSTR 28                                                              A2380 PERCHTOLDSDORF
                                                                                                            AUSTRIA
HERYCYK, MARY D                963 5TH ST                                                                                             STRUTHERS          OH      44471
HERYFORD, STEPHEN              BRAYTON PURCELL                   PO BOX 6169                                                          NOVATO             CA      94948‐6169
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Name                             Address1                         Address2                      Address3                    Address4                 City              State   Zip
HERZ, FRANCES A                  46757 W RIDGE DR                                                                                                    MACOMB             MI     48044‐3582
HERZ, JEFFREY W                  565 HUNTMERE DR                                                                                                     BAY VILLAGE        OH     44140‐2541
HERZ, MONICA L                   9200 MORRISH RD                                                                                                     SWARTZ CREEK       MI     48473‐9198
HERZ, SCOTT R                    46757 W RIDGE DR                                                                                                    MACOMB             MI     48044‐3582
HERZBERG, CHARLES                1106S CARIBOU LAKE RD                                                                                               DE TOUR VILLAGE    MI     49725
HERZBERG, DAVID J                1101 HIGHWAY 196                                                                                                    MOLINO             FL     32577‐5258
HERZBERG, ELVIN H                33 HIGH VISTA DR                                                                                                    DAVENPORT          FL     33837‐4566
HERZBERG, JAMES D                1201 SUMMER HAVEN CIR                                                                                               FRANKLIN           TN     37069‐1869
HERZBERG, JOHN W                 1291 KUEHN RD                                                                                                       STERLING           MI     48659‐9707
HERZBERG, PHYLLIS M              1820 HARDING CT                                                                                                     BETTENDORF          IA    52722‐3930
HERZBERG, RICHARD J              7201 WOODLEA RD                                                                                                     OSCODA             MI     48750‐9797
HERZBERG, ROBERT A               32810 ROSENBUSCH DR                                                                                                 WARREN             MI     48088‐1535
HERZBERG, RONALD C               6263 N ELMS RD                                                                                                      FLUSHING           MI     48433‐9052
HERZBERG, RUSSELL E              3031 CREEKWOOD CIR                                                                                                  BAY CITY           MI     48706‐5622
HERZBERG, THELMA D               12192 N LINDEN RD                                                                                                   CLIO               MI     48420‐8205
HERZBERG, THELMA J               505 GERMANIA ST APT 115                                                                                             BAY CITY           MI     48706‐5079
HERZBERG, THELMA J               505 GERMANIA APT 115                                                                                                BAY CITY           MI     48706‐7416
HERZBERG, THOMAS J               8486 LAKEVIEW DR                                                                                                    HALE               MI     48739‐8926
HERZBERGER, HENRY                11138 60TH AVENUE                                                                                                   SEMINOLE           FL     33772‐6803
HERZEKOW, ALAN                   DURST LAW FIRM PC                319 BROADWAY                                                                       NEW YORK           NY     10007
HERZER, ELAINE M                 5038 REDSTART ST                                                                                                    HOUSTON            TX     77035‐3125
HERZER, FRANCES A                APT. 10                          APT 10                                                                             STICKNEY            IL    60402‐3968
HERZER, FRANCES A                6929 PERSHING RD APT 10                                                                                             STICKNEY            IL    60402‐3968
HERZER, INEZ                     4627 W EGGERT PL                                                                                                    MILWAUKEE          WI     53218‐4446
HERZER, JOHN R                   1952 REGENTS WAY                                                                                                    MARIETTA           GA     30062‐4672
HERZFELD & RUBIN                 1925 CENTURY PARK E STE 600                                                                                         LOS ANGELES        CA     90067‐2707
HERZFELD & RUBIN                 40 WALL ST                                                                                                          NEW YORK           NY     10005
HERZFELD, BILLIE JO              15944 HORGER                                                                                                        ALLEN PARK         MI     48101‐3606
HERZFELD, BILLIE JO              15944 HORGER AVE                                                                                                    ALLEN PARK         MI     48101‐3606
HERZIG CHARLES L (429091)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                        NORFOLK            VA     23510
                                                                  STREET, SUITE 600
HERZIG, ANNIE L                  21 ELLEN DEVINE AVE                                                                                                 NEWARK            DE      19713‐2945
HERZIG, BERYL A                  13 FAIRBORN CT                                                                                                      HAMILTON          OH      45013‐3518
HERZIG, BRYON P                  2706 ELIZABETH ST                                                                                                   JANESVILLE        WI      53548‐2761
HERZIG, CARL O                   8016 MANN RD                                                                                                        INDIANAPOLIS      IN      46221‐9640
HERZIG, CHARLES L                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA      23510
                                                                  STREET, SUITE 600
HERZIG, EDNA M                   2911 SHEARER RD                                                                                                     KANSAS CITY       KS      66106‐2925
HERZIG, GENA L                   21011 KEMP ST                                                                                                       CLINTON TWP       MI      48035‐3552
HERZIG, GERALD P                 18906 1/2 E 18TH ST N                                                                                               INDEPENDENCE      MO      64058‐1209
HERZIG, JOHN A                   21011 KEMP ST                                                                                                       CLINTON TWP       MI      48035‐3552
HERZING & SCH/GERMAN             RINGSTR 10                                                                                 OBERTSHAUSEN GE 63179
                                                                                                                            GERMANY
HERZING & SCHROTH GMBH & CO KG                                    RINGSTR 10                                                                                            GE     63179
HERZING WILLARD G (419440)       SIMMONS LAW FIRM
HERZING, KATHLEEN S              122 PEPPY SAN CT                                                                                                    WASHOE VALLEY     NV      89704‐9647
HERZING, WILLARD G               SIMMONS LAW FIRM                 PO BOX 521                                                                         EAST ALTON        IL      62024‐0519
HERZING, WILLIARD                SIMMONS FIRM                     PO BOX 521                                                                         EAST ALTON        IL      62024‐0519
HERZINGER, RAYMOND C             402 3RD ST                                                                                                          WARETOWN          NJ      08758‐2905
HERZNER LYNN                     HERZNER, LONNIE                  KROHN & MOSS                  3 SUMMIT PARK DRIVE SUITE                            INDEPENDENCE      OH      44131
                                                                                                100
HERZNER LYNN                     HERZNER, LYNN                    3 SUMMIT PARK DR STE 100                                                           INDEPENDENCE      OH      44131‐2598
HERZNER, LONNIE                  KROHN & MOSS                     3 SUMMIT PARK DR STE 100                                                           INDEPENDENCE      OH      44131‐2598
HERZNER, LYNN                    KROHN & MOSS                     3 SUMMIT PARK DR STE 100                                                           INDEPENDENCE      OH      44131‐2598
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Name                                Address1                       Address2             Address3       Address4                   City              State   Zip
HERZOG AUTOMOTIVE                   415 S 10TH AVE                                                                                STERLING           CO     80751‐3405
HERZOG AUTOMOTIVE PARTS INC         2301 JULIA ST                                                                                 NEW ORLEANS        LA     70119‐7534
HERZOG BERTRAND (324579)            GARRUTO CANTOR TRIAL LAWYERS   180 TICES LANE                                                 EAST BRUNSWICK     NJ     08816
HERZOG BERTRAND (324579) ‐ HERZOG   GARRUTO CANTOR TRIAL LAWYERS   180 TICES LANE                                                 EAST BRUNSWICK     NJ     08816
CHRISTOPHER
HERZOG CONTRACTING GROUP            DAN SAMFORD                    600 S RIVERSIDE RD                                             SAINT JOSEPH      MO      64507‐9775
HERZOG CONTRACTING GROUP            600 S RIVERSIDE RD                                                                            SAINT JOSEPH      MO      64507‐9775
HERZOG DAVID                        529 COUNTY ROAD 379                                                                           LOTT              TX      76656‐3844
HERZOG FOX & NEEMAN                 ASIA HOUSE 4 WEIZMANN ST                                           TEL AVIV 64239 ISRAEL
HERZOG JAKOB                        KURZE STR. 1                   73630 REMSHALDEN     GERMANY
HERZOG JERRY                        2506 N WOODBINE TER                                                                           PEORIA            IL      61604‐2230
HERZOG JR, CHARLES E                4702 GALLOWAY RD                                                                              SANDUSKY          OH      44870‐6059
HERZOG, ADOLPH D                    25553 MADDEN ST                                                                               TAYLOR            MI      48180‐3255
HERZOG, ARTHUR A                    2570 LAKESIDE CT                                                                              FLUSHING          MI      48433‐3508
HERZOG, ARTHUR F                    4714 LAKE RD.                                                                                 BROCKPORT         NY      14420‐2311
HERZOG, ARTHUR F                    4714 LAKE RD S                                                                                BROCKPORT         NY      14420‐2311
HERZOG, ARTHUR H                    4811 3RD ST W                                                                                 BRADENTON         FL      34207‐2600
HERZOG, BERTRAND                    GARRUTO CANTOR TRIAL LAWYERS   180 TICES LANE                                                 EAST BRUNSWICK    NJ      08816
HERZOG, CHARLES E                   5576 B RD                                                                                     NEW PARIS         OH      45347‐8230
HERZOG, CHRISTOPHER                 GARRUTO CANTOR TRIAL LAWYERS   180 TICES LANE                                                 EAST BRUNSWICK    NJ      08816
HERZOG, DALE R                      12863 CRANE ST                                                                                CARLETON          MI      48117‐9367
HERZOG, DAVID A                     14 PINETREE DR                                                                                LANCASTER         NY      14086‐3416
HERZOG, DIANE M                     3639 AYNSLEY DR                                                                               ROCHESTER HILLS   MI      48306‐3779
HERZOG, DOLORES J                   245 N CHICAGO AVE APT 5                                                                       SOUTH MILWAUKEE   WI      53172‐1270

HERZOG, DOROTHY E                   5576 B ROAD                                                                                   NEW PARIS         OH      45347‐5347
HERZOG, DOROTHY E                   5576 B RD                                                                                     NEW PARIS         OH      45347‐8230
HERZOG, FELICIA                     79 FALLEN OAK LANE                                                                            CHAPEL HILL       NC      27516
HERZOG, FRANK E                     8 LEINBACH RD                                                                                 NEW PARIS         OH      45347‐9114
HERZOG, FREDERICK J                 4176 HAZEL ST                                                                                 BURTON            MI      48519‐1759
HERZOG, GARY L                      2970 GENES DR                                                                                 AUBURN HILLS      MI      48326‐2108
HERZOG, IRENE A                     2393 E RIDGE RD APT 136                                                                       ROCHESTER         NY      14622‐2738
HERZOG, JAMES A                     12788 JULMAR DR                                                                               BYRON             MI      48418‐9123
HERZOG, JAMES R                     5802 COLUMBUS AVE                                                                             SANDUSKY          OH      44870‐8337
HERZOG, JANET L                     108 CHESTNUT RIDGE RD                                                                         ROCHESTER         NY      14624‐3928
HERZOG, JODIE L                     313 LINWOOD ST APT A                                                                          DAYTON            OH      45405‐4974
HERZOG, JOHN                        3110 S EUCLID AVE                                                                             BAY CITY          MI      48706‐3423
HERZOG, JOHN A                      3207 COMANCHE AVE                                                                             FLINT             MI      48507‐4308
HERZOG, JOHN ANDREW                 3207 COMANCHE AVE                                                                             FLINT             MI      48507‐4308
HERZOG, JOHN B                      79 FALLEN OAK LN                                                                              CHAPEL HILL       NC      27516‐4985
HERZOG, JOHN V                      4213 PASEO DE LAS TORTUGAS                                                                    TORRANCE          CA      90505‐6326
HERZOG, JOSEPH F                    5335 GLENDON LN                                                                               KETTERING         OH      45440‐2805
HERZOG, KENNETH A                   2925 VALE DR                                                                                  KETTERING         OH      45420‐3918
HERZOG, KENNETH R                   13475 STATE ROUTE 15                                                                          DEFIANCE          OH      43512‐8819
HERZOG, KEVIN E                     216 WILLIAMS RD                                                                               WILMINGTON        OH      45177‐8599
HERZOG, LAWRENCE F                  15963 E TRANSIT CHURCH RD                                                                     ALBION            NY      14411‐9781
HERZOG, LAWRENCE R                  6072 BLOSS CT                                                                                 SWARTZ CREEK      MI      48473‐8877
HERZOG, LEONARD M                   4345 CREELMAN PL                                                                              AFFTON            MO      63123‐6818
HERZOG, MARGARETH E                 2143 BRIAR LN                                                                                 BURTON            MI      48509‐1232
HERZOG, MARK T                      32439 WASHINGTON ST                                                                           LIVONIA           MI      48150‐3715
HERZOG, MARK THOMAS                 32439 WASHINGTON ST                                                                           LIVONIA           MI      48150‐3715
HERZOG, MARTHA E                    4437 OHEREN ST                                                                                BURTON            MI      48529‐1807
HERZOG, MARTIN J                    408 N DEER TRACKS TRL                                                                         SAINT PETERS      MO      63376‐5907
HERZOG, MELISSA M                   3405 STONEBRIDGE ROAD                                                                         DAYTON            OH      45419‐1241
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Name                           Address1                        Address2            Address3         Address4               City            State   Zip
HERZOG, MICHAEL A              17917 E 13 MILE RD                                                                          FRASER           MI     48026‐2499
HERZOG, NICHOLAS A             627 WHEELING RD                                                                             IMLAY CITY       MI     48444‐9413
HERZOG, NICHOLAS A             9514 CORNELL AVE                                                                            CLARKSTON        MI     48348‐2203
HERZOG, PATRICIA M             5356 LAKE RD S                                                                              BROCKPORT        NY     14420‐9720
HERZOG, PAUL T                 935 W ALAURA DR                                                                             ALDEN            NY     14004‐9521
HERZOG, ROBERT E               69 POND VIEW HEIGHTS                                                                        ROCHESTER        NY     14612‐1305
HERZOG, ROBERT T               106 WILLOW GROVE RD                                                                         STEWARTSVILLE    NJ     08886‐2307
HERZOG, RONALD E               212 E NORTH ST                                                                              CRESTLINE        OH     44827‐1160
HERZOG, RONALD R               7544 GILMAN ST                                                                              WESTLAND         MI     48185‐2656
HERZOG, SHIRLEY A              3743N RIATA DR                                                                              BAY CITY         MI     48706‐2198
HERZOG, THELMA I               1051 ROMANUS DR.                                                                            VANDALIA         OH     45377‐5377
HERZOG, THEODORE D             1778 BIRCH LN                                                                               TRAVERSE CITY    MI     49684‐7483
HERZOG, THOMAS A               5012 FOREST CREST DR                                                                        LAKELAND         FL     33810‐3054
HERZOG, TINA M                 223 E NORTH ST                                                                              CRESTLINE        OH     44827‐1161
HERZOG, TWILA M                3781 LAKE AVE APT C3                                                                        ROCHESTER        NY     14612‐5177
HERZOG, WILLIAM F              1708 SKIPPER CT                                                                             ARLINGTON        TX     76015‐2116
HERZOG, WILLIAM K              2624 WHITEMORE PL                                                                           SAGINAW          MI     48602‐3533
HERZOG, WOLFRAM B              340 FARMBROOK LN                                                                            GAYLORD          MI     49735‐8320
HERZOGS AUTOMOTIVE PARTS LLC
HERZSTIN, MONA
HES, WOUTER M                  913 N MOUNTAIN VIEW PL                                                                      FULLERTON       CA      92831‐3007
HESCH JR, K R                  6467 APPLEWOOD LN                                                                           LOCKPORT        NY      14094‐1101
HESCH, CHRISTINE               6605 OLD NIAGARA                                                                            LOCKPORT        NY      14094
HESCH, JOHN T                  1027 CRYSTAL CARBON WAY                                                                     VALRICO         FL      33594‐5035
HESCH, LAWRENCE P              6605 OLD NIAGARA RD                                                                         LOCKPORT        NY      14094‐1517
HESCH, MILDRED F               6484 TAYLOR ST                                                                              COLOMA          MI      49038‐9355
HESCHKE JR, WILLIAM H          2362 HARTLAND RD                                                                            GASPORT         NY      14067‐9457
HESCHKE, DONALD M              7691 HUMPHREY RD                                                                            GASPORT         NY      14067‐9308
HESCHKE, LINDA M               2719 MAIN ST                                                                                NEWFANE         NY      14108‐1203
HESCHKE, RICHARD L             1445 HOSMER RD                                                                              BARKER          NY      14012‐9521
HESCHKE, RICHARD L             2572 DRUM RD                                                                                MIDDLEPORT      NY      14105‐9731
HESCHKE, VIOLA                 2749 CHECKERED TAVERN ROAD                                                                  APPLETON        NY      14008‐9668
HESCHKE, WILLIAM H             PO BOX 146                                                                                  GASPORT         NY      14067‐0146
HESCO                          28838 VAN DYKE AVE                                                                          WARREN          MI      48093‐2706
HESCOTT, MICHAEL T             530 E OLIVER ST                                                                             OWOSSO          MI      48867‐2440
HESDORFFER LISA                7607 STONEWOOD CT                                                                           MINNEAPOLIS     MN      55439‐2640
HESEK, MARIANNE E              9000 W 89TH ST                                                                              HICKORY HILLS   IL      60457‐1207
HESELBARTH, ERIC J             524 TRIPLE CROWN MANOR CT                                                                   FENTON          MO      63026‐7902
HESELTON, HAROLD W             2209 GLEGHORN ST                                                                            WEST PLAINS     MO      65775‐1714
HESEMAN INDUSTRIAL SALES INC   757 E 86TH ST                                                                               INDIANAPOLIS    IN      46240‐1803
HESEN JR, WALLACE B            63 CIMARRON DR                                                                              MARTINSBURG     WV      25405‐5887
HESGARD, ERIN                  740 HARBOR PARK DR                                                                          SUISUN CITY     CA      94585‐2616
HESGARD, MARY E                3325 MONZA DR                                                                               SEBRING         FL      33872‐2014
HESGARD, ROBERT A              3325 MONZA DR                                                                               SEBRING         FL      33872‐2014
HESGARD, TERRY J               2023 S MARION AVE                                                                           JANESVILLE      WI      53546‐5995
HESHAM EZZAT                   6205 COUNTRY RIDGE DR                                                                       TROY            MI      48098‐5375
HESHELMAN, AARON L             24447 BASHIAN DRIVE                                                                         NOVI            MI      48375‐2932
HESHLEY, GEORGE R              1227 CADY ST                                                                                MAUMEE          OH      43537‐3129
HESIKIAH PRINGLE               2813 TODKILL TRCE                                                                           EDGEWOOD        MD      21040‐3430
HESKA, ELSIE                   255 MAYER RD APT 325C                                                                       FRANKENMUTH     MI      48734
HESKETT, DONALD R              409 N OHIO ST                                                                               HUMANSVILLE     MO      65674‐8705
HESKETT, MARK E                34229 RICHLAND ST                                                                           LIVONIA         MI      48150‐5617
HESKETT, MARK EUGENE           34229 RICHLAND ST                                                                           LIVONIA         MI      48150‐5617
HESKETT, MARVIN E              860 NATHAN DR                                                                               COLUMBIA        TN      38401‐6768
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Name                               Address1                             Address2                        Address3   Address4               City             State   Zip
HESKETT, VIRGINIA                  1350 CALLE DEL SOL CIR                                                                                 PORT ORANGE       FL     32129
HESKI, STEVE T                     573 DEER RUN                                                                                           WHITE LAKE        MI     48386‐2010
HESKIAOFF MD                       5170 SEPULVEDA BLVD STE 100                                                                            SHERMAN OAKS      CA     91403‐6501
HESKITT, KIRK R                    4445 W HERBISON RD                                                                                     DEWITT            MI     48820‐9214
HESLA, MARSDON E                   2470 SW 112TH PL                                                                                       PORTLAND          OR     97225‐4450
HESLEP, JAMES E                    303 CORRINE ST                                                                                         PRINCETON         WV     24740‐8332
HESLEP, JOHN                       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI     48604‐2602
                                                                        260
HESLEP, MICHAEL R                  9675 MAPLETON STREET SOUTHEAST                                                                         EAST CANTON      OH      44730‐9720
HESLEP, WILBER                     GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW          MI      48604‐2602
                                                                        260
HESLER, ALICE M                    425 ARLINGTON RD., APT 3             ARLINGTON ARMS                                                    BROOKVILLE       OH      45309‐1134
HESLER, JOHN H                     645 PINHURST DR                                                                                        TIPP CITY        OH      45371‐5371
HESLER, JOHN H                     645 PINEHURST DRIVE                                                                                    TIPP CITY        OH      45371‐8603
HESLER, TERRY L                    607 BROOKFIELD RD                                                                                      DAYTON           OH      45429
HESLEY, LEE A                      16540 MANSFIELD ST                                                                                     DETROIT          MI      48235‐3631
HESLEY, LINDA S                    714 COTTAGE AVE                                                                                        MIAMISBURG       OH      45342‐1802
HESLIN, BETTY L                    3004 N WILLOW DR                                                                                       PLANT CITY       FL      33566
HESLIN, EDWARD J                   515 BRIARWOOD CT                                                                                       ALDEN            NY      14004‐9405
HESLINGER, JOHN F                  8356 W CORDELIA                                                                                        WHITE HILLS      AZ      86445‐8704
HESLIP, PATRICK J                  1119 N ALTADENA AVE                                                                                    ROYAL OAK        MI      48067‐3665
HESLOP, ANNA R                     1294 HEATON BLVD.                                                                                      NILES            OH      44446‐1242
HESLOP, BETTY B                    3173 ROTTERDAM DR                                                                                      CLIO             MI      48420‐2318
HESLOP, CHERYL                     5383 N MCKINLEY RD                                                                                     FLUSHING         MI      48433‐1153
HESLOP, HAROLD J                   3173 ROTTERDAM DR                                                                                      CLIO             MI      48420‐2318
HESLOP, RANDY J                    5383 N MCKINLEY RD                                                                                     FLUSHING         MI      48433‐1153
HESLOP, VIRGIL E                   207 ILLINOIS AVE                                                                                       GIRARD           OH      44420‐3048
HESPEN, HOWARD R                   6928 OAKHURST RIDGE ROAD                                                                               CLARKSTON        MI      48348‐5052
HESS & DAGANHARDT                  ATTN: DOUGLAS A HESS                 3946 KETTERING BLVD                                               MORAINE          OH      45439‐2042
HESS (WILMINGTON) CITIBANK         RICHARD SWITZER                      1185 AVENUE OF AMERICAS (6TH                                      NEW YORK         NY      10036
                                                                        AVENUE)
HESS CORPORATION                   ROBERTO CORDARO, PRESIDENT AND       129 CONCORD RD BLDG 1                                             BILLERICA        MA      01821‐4600
                                   CHIEF EXECUTIVE OFFICER
HESS CORPORATION                   PO BOX 905243                                                                                          CHARLOTTE         NC     28290‐5243
HESS CORPORATION                   ATT: ELIZABETH ANNE CARINI CURRENTI, 1 HESS PLAZA                                                      WOODBRIDGE        NJ     07095
                                   ESQ.
HESS CORPORATION                   SUASON TRANQUILI                     1 HESS PLZ                                                        WOODBRIDGE        NJ     07095‐1229
HESS CORPORATION, ENERGY MARKETING RICHARD SWITZER                      1185 AVENUE OF AMERICAS (6TH                                      NEW YORK          NY     10036
DIVISION                                                                AVENUE)
HESS DOUGLAS M                     8 SYCAMORE LN                                                                                          GROSSE POINTE    MI      48230‐1936
HESS ELWOOD (ESTATE OF) (489087)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH      44067
                                                                        PROFESSIONAL BLDG
HESS ENGINEERING INC               30257 REDFIELD ST                                                                                      NILES            MI      49120‐5958
HESS FAMILY TRUST DTD 1/21/88      KATHERINE HESS TTEE                  4922 E GARRISON CT                                                TUCSON           AZ      85712
HESS HESS & KMETZ                  2010 44TH ST SE                                                                                        GRAND RAPIDS     MI      49508‐5010
HESS JAMES (ESTATE OF) (489088)    BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH      44067
                                                                        PROFESSIONAL BLDG
HESS JEAN R                        700 NE 73RD ST                                                                                         OKLAHOMA CITY    OK      73105‐5602
HESS JR, ERVES E                   3324 NORTH DRIVE                                                                                       DAYTON           OH      45432‐2305
HESS JR, ERVES E                   3324 NORTH DR                                                                                          DAYTON           OH      45432‐2305
HESS JR, HALLEY H                  6823 DIAMOND MILL RD                                                                                   GERMANTOWN       OH      45327‐9512
HESS JR, HERBERT                   1110 ORCHARD LN                                                                                        HORSESHOE BEND   AR      72512‐1308
HESS JR, NATHAN S                  700 WEST DR                                                                                            BRUNSWICK        OH      44212‐2138
HESS MARY A (450192)               SIMMONS FIRM                         PO BOX 559                                                        WOOD RIVER       IL      62095‐0559
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Name                           Address1                         Address2                      Address3            Address4               City               State   Zip
HESS ROBERT                    EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR 265 CHURCH STREET                          NEW HAVEN           CT     06508‐1866
HESS ROBERT C (516882)         ANGELOS PETER G LAW OFFICES      60 WEST BROAD ST                                                         BETHLEHEM           PA     18018
HESS ROBERT L (361437)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK             VA     23510
                                                                STREET, SUITE 600
HESS RONALD                    9 OLD DEPOT RD                                                                                            NEW CUMBERLAND      PA     17070‐2439

HESS ROY (445199) ‐ HESS ROY   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                            NORTHFIELD         OH      44067
                                                                PROFESSIONAL BLDG
HESS STELLA                    1831 W SUNNYSLOPE LN                                                                                      PHOENIX            AZ      85021‐2056
HESS THOMAS & IRENE J          14009 MAHONING AVE                                                                                        NORTH JACKSON      OH      44451‐9616
HESS VERNON R (402218)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA      23510
                                                                STREET, SUITE 600
HESS, ALBERT J                 34735 E LAKE DR                                                                                           HARRISON TWP        MI     48045‐3328
HESS, ALICE L                  42188 TODDMARK LN APT 2                                                                                   CLINTON TOWNSHIP    MI     48038

HESS, ALMA                     4800 WILLOWBROOK DR                                                                                       MENTOR             OH      44060‐1044
HESS, ARLENE R                 5912 MILLINGTON RD                                                                                        MILLINGTON         MI      48746‐8704
HESS, ARTHUR L                 6403 ESTRELLE AVE                                                                                         MOUNT MORRIS       MI      48458‐2302
HESS, BETTY J                  13632 PEARL ST                                                                                            SOUTHGATE          MI      48195‐1864
HESS, BETTY J                  13632 PEARL                                                                                               SOUTHGATE          MI      48195‐1864
HESS, BRENDA L                 3912 HALLOCK SOOK RD                                                                                      NEWTON FALLS       OH      44444‐8716
HESS, BRENDA S                 3443 COUNTY ROAD 490                                                                                      LUZERNE            MI      48636‐8732
HESS, C M                      736 WOODFIELD DR                                                                                          LITITZ             PA      17543‐6623
HESS, CARLA                    RURAL ROUTE 2 BOX 320A                                                                                    CHARLSTON          WV      25314
HESS, CARLA                    RR 2 BOX 320A                                                                                             CHARLESTON         WV      25314‐9710
HESS, CHARLES E                8299 FENTON RD                                                                                            GRAND BLANC        MI      48439‐8881
HESS, CHARLES E                16 PENDARVIS WAY                                                                                          BLUFFTON           SC      29909‐4568
HESS, CHARLES F                275 SOUTHBANK DR                                                                                          AIKEN              SC      29803‐4508
HESS, CHARLES J                697 CENTRAL BLVD                                                                                          NEW HYDE PARK      NY      11040‐3864
HESS, CHARLES R                13045 JENNINGS ROAD                                                                                       LINDEN             MI      48451‐9478
HESS, CHARLES W                295 NW COMMONS LOOP              SUITE 115‐248                                                            LAKE CITY          FL      32055
HESS, CHERYL A                 2047 EVALINE ST                                                                                           HAMTRAMCK          MI      48212
HESS, CONNIE                   18195 N SHORE ESTATES RD                                                                                  SPRING LAKE        MI      49456‐9116
HESS, CONNIE                   291 W VINE ST                                                                                             ROANOKE            IN      46783‐1018
HESS, CONNIE A                 9320 CASTLE CT                                                                                            OTISVILLE          MI      48463‐9408
HESS, DALE A                   13045 JENNINGS RD                                                                                         LINDEN             MI      48451‐9478
HESS, DALE B                   139 BOUGAINVILLEA DR                                                                                      LEESBURG           FL      34748‐8626
HESS, DALLAS I                 670 S CANFIELD NILES RD                                                                                   YOUNGSTOWN         OH      44515‐4026
HESS, DANIEL K                 1388 ALBERTA AVE                                                                                          BURTON             MI      48509‐2111
HESS, DANIEL KENNETH           1388 ALBERTA AVE                                                                                          BURTON             MI      48509‐2111
HESS, DARALENE M               1382 N PONTIAC TRL               PO BOX 332                                                               WALLED LAKE        MI      48390‐3141
HESS, DAVID                    1275 WOODLEDGE DR                                                                                         MINERAL RIDGE      OH      44440‐9422
HESS, DAVID E                  36 SIMSON ST FL 1                                                                                         TONAWANDA          NY      14150
HESS, DAVID N                  IRBEA 17 E IRELAND DR.                                                                                    NORTH              IN      46962
                                                                                                                                         MANCHESTER
HESS, DAVID P                  145 RIDGEFIELD DR                                                                                         DANDRIDGE           TN     37725‐4262
HESS, DAVID R                  1273 N HURON RD                                                                                           LINWOOD             MI     48634‐9412
HESS, DAVID TRUCKING CO        2375 FALMOUTH RD                                                                                          WILLIAMSTOWN        KY     41097‐4925
HESS, DAWN M                   2740 CHARLESGATE AVE SW                                                                                   WYOMING             MI     49509‐2066
HESS, DAWN M.                  2740 CHARLESGATE AVE SW                                                                                   WYOMING             MI     49509‐2066
HESS, DEANNA L                 7 PYLE CT                                                                                                 TONAWANDA           NY     14150‐8020
HESS, DEBORAH L                35 S MAIN ST                                                                                              JANESVILLE          WI     53545‐3922
HESS, DENNIS J                 1349 COUNTY ROAD 409                                                                                      GAINESVILLE         TX     76240‐1304
HESS, DENNIS S                 N511 BLACKHAWK BLUFF DR                                                                                   MILTON              WI     53563‐9503
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Name                Address1                        Address2                   Address3   Address4               City              State   Zip
HESS, DEVIN R       2279 PEAR TREE DR                                                                            BURTON             MI     48519‐1571
HESS, DOLORES       2626 E AURORA RD #V‐206                                                                      TWINSBURG          OH     44087‐2171
HESS, DONNA J       2616 S CANAL ST                                                                              NEWTON FALLS       OH     44444‐9423
HESS, DONNA J       886 MASON ST NW                                                                              WARREN             OH     44485‐2801
HESS, DORIS A       6924 S LOVERS LANE RD                                                                        FRANKLIN           WI     53132‐1440
HESS, DOROTHY E     5955 FLEMINGS LAKE RD                                                                        CLARKSTON          MI     48346‐1619
HESS, DOROTHY M     8 HERTEL AVE UNIT 907                                                                        BUFFALO            NY     14207‐2546
HESS, DOROTHY M     8 HERTEL AVE APT 907                                                                         BUFFALO            NY     14207‐2546
HESS, DOUGLAS A     94 RAMBLING RD                                                                               EAST AMHERST       NY     14051‐1355
HESS, DOUGLAS M     8 SYCAMORE LN                                                                                GROSSE POINTE      MI     48230‐1936
HESS, DWIGHT D      5616 S 100 W                                                                                 PENDLETON          IN     46064‐9162
HESS, EARL L        1435 STATE ROUTE 314 N # R12                                                                 MANSFIELD          OH     44903
HESS, ELIZABETH A   12022 GREENVILLE ST MARYS                                                                    VERSAILLES         OH     45380‐9417
HESS, ELLERY M      122 MARK AVE                                                                                 PONTIAC            MI     48341‐1350
HESS, ERIC J        745 KENTNER ST                                                                               DEFIANCE           OH     43512‐2051
HESS, ERIC JOHN     745 KENTNER ST                                                                               DEFIANCE           OH     43512‐2051
HESS, ERNEST L      1236 PEACHWOOD DR                                                                            FLINT              MI     48507‐3750
HESS, FOSTER C      9824 RIVERTON RD                                                                             MARDELA SPRINGS    MD     21837‐2164

HESS, FRED L        3451 SEAWAY DR                                                                               INDIANAPOLIS       IN     46214‐4106
HESS, FREDERICK J   1466 S RINGLE RD                                                                             CARO               MI     48723‐9637
HESS, GARY L        1423 WARRINGTON AVE                                                                          DANVILLE           IL     61832‐5324
HESS, GARY L        11127 W TWIN LAKE RD                                                                         HAYWARD            WI     54843‐5253
HESS, GEORGE E      49 MIDFIELD RD                                                                               NEW CASTLE         DE     19720‐3566
HESS, GERALD C      7770 NEWPORT WAY APT A                                                                       INDIANAPOLIS       IN     46256‐2738
HESS, GERALD F      7402 PEBBLEBROOKE WEST DRIVE                                                                 INDIANAPOLIS       IN     46236‐8939
HESS, GERALDINE     29381 PEPPERTOWN RD                                                                          WEST HARRISON      IN     47060
HESS, GERALDINE F   14953 LINCOLN LAKE.                                                                          GOWEN              MI     49326‐9569
HESS, GINA
HESS, HANS J        3800 WILLOWBROOK                                                                             MENTOR            OH      44060
HESS, HARLEN E      11015 CADIZ RD                                                                               CAMBRIDGE         OH      43725‐8828
HESS, HAROLD K      149 WOODWARD AVE                                                                             ROCHESTER         MI      48307‐1171
HESS, HAROLD T      4587 NELSON RD                                                                               NEWFANE           NY      14108‐9625
HESS, HEINRICH      311 PRYOR AVE                                                                                TONAWANDA         NY      14150‐7432
HESS, HELEN M       3901 FAIRFIELD AVE                                                                           MUNHALL           PA      15120‐3437
HESS, HENRY R       5799 SOUTHWATER DR                                                                           MASON             OH      45040‐7743
HESS, HERBERT C     670 S CANFIELD NILES RD                                                                      YOUNGSTOWN        OH      44515‐4026
HESS, HUGH B        703 HEATHER ST                                                                               ENGLEWOOD         OH      45322‐1164
HESS, JAMES A       32048 LINDERMAN AVE                                                                          WARREN            MI      48093‐1048
HESS, JAMES D       85 EAST RD                                                                                   MARTINSBURG       WV      25404‐5197
HESS, JAMES R       1145 REVERES RUN                                                                             LEBANON           OH      45036‐7968
HESS, JAMES R       3101 COUNTY ROAD 405                                                                         ALVARADO          TX      76009‐3054
HESS, JAMES T       1255 MIDDLE BELLVILLE RD                                                                     MANSFIELD         OH      44904‐1914
HESS, JEAN R        700 NE 73RD ST                                                                               OKLAHOMA CITY     OK      73105‐5602
HESS, JEANETTE A    4547 CHESTNUT RIDGE #112B                                                                    BUFFALO           NY      14228
HESS, JEFFREY K     259 BROOKSIDE TER                                                                            TONAWANDA         NY      14150‐5901
HESS, JOAN A        149 PASSAIC AVE                                                                              LOCKPORT          NY      14094‐2038
HESS, JOHN L        1184 HOLMDEN AVE                                                                             CLEVELAND         OH      44109‐1838
HESS, JOHNNY H      703 E 4TH ST                                                                                 HARTFORD CITY     IN      47348‐2924
HESS, JUDSON A      2085 WASHINGTON CREEK LN                                                                     CENTERVILLE       OH      45458‐2813
HESS, JUNE          45 PARKWAY DR                                                                                OLMSTED FALLS     OH      44138
HESS, JUNE C        800 ASSOCIATION DR              NORTH GATE BUSINESS PARK                                     CHARLESTON        WV      25311
HESS, KAREN L       O‐10830 14TH AVE NW                                                                          GRAND RAPIDS      MI      49534‐9507
HESS, KEVIN S       6800 E CENTENNIAL AVE                                                                        MUNCIE            IN      47303‐9109
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Name                Address1                         Address2                         Address3   Address4               City            State   Zip
HESS, KIM           7966 PARSHALLVILLE RD                                                                               FENTON           MI     48430‐4903
HESS, KLAUS K       8345 GREEN RD                                                                                       FENTON           MI     48430‐8936
HESS, KRIS S        3821 W 99TH PL                                                                                      WESTMINSTER      CO     80031‐2647
HESS, KURT          26017 SHIRLEY LN                                                                                    DEARBORN HTS     MI     48127‐3764
HESS, LARRY M       9210 OAKVIEW DR                                                                                     SWARTZ CREEK     MI     48473‐1018
HESS, LENA M        3503 FOLEY GLEN DR                                                                                  FENTON           MI     48430
HESS, LINDA S       147 TOWERS LN                                                                                       WOODBURY         TN     37190‐5983
HESS, LISA M        4901 SIMMONS CIR                                                                                    EXPORT           PA     15632‐9330
HESS, LOUIS
HESS, LURENE R      425 MILLHAVEN CT                                                                                    ALPHARETTA      GA      30005‐5037
HESS, MABEL M       P.O. BOX 906                                                                                        AUGRES          MI      48703‐0906
HESS, MABEL M       PO BOX 906                                                                                          AU GRES         MI      48703‐0906
HESS, MADELINE B    4039 SANDLEWOOD LN APT 4                                                                            FORT MYERS      FL      33907‐3659
HESS, MARCY L       1845 1/2 WASHINGTON ST                                                                              DUBUQUE         IA      52001‐3662
HESS, MARGARET R.   185 DIANE DR                                                                                        CHEEKTOWAGA     NY      14225‐5201
HESS, MARILYN       PO BOX 31                                                                                           BALLARD         WV      24918‐0031
HESS, MARILYN SUE   6 CREE TON DR                                                                                       AMHERST         NY      14228‐1607
HESS, MARJORIE B    6988 MCKEAN RD LOT 20                                                                               YPSILANTI       MI      48197‐9734
HESS, MARY A        SIMMONS FIRM                     PO BOX 559                                                         WOOD RIVER      IL      62095‐0559
HESS, MARY A        6347 PALMYRA ROAD                                                                                   PALMYRA         MI      49268‐9741
HESS, MARY J        1 COUNTRY LN APT D104            VILLAS OF BROOKHAVEN                                               BROOKVILLE      OH      45309‐9288
HESS, MARY N        DONALDSON & BLACK                208 W WENDOVER AVE                                                 GREENSBORO      NC      27401‐1307
HESS, MERRELL       325 70TH ST                                                                                         NIAGARA FALLS   NY      14304‐4056
HESS, MICHAEL E     4 BAYSIDE CT                                                                                        LAKE ST LOUIS   MO      63367‐1339
HESS, MICHAEL J     2916 S CHEROKEE RD                                                                                  MUNCIE          IN      47302‐5559
HESS, MICKY J       2501 W RIGGIN RD                                                                                    MUNCIE          IN      47304‐1018
HESS, NELSON L      15804 CULVER DR                                                                                     EAST LANSING    MI      48823‐9437
HESS, NORMA J       1917 BALLAWAY                                                                                       GRAND PRAIRIE   TX      75051‐3905
HESS, NORMA J       34 GLENN HAVEN DR                                                                                   SPENCERPORT     NY      14559‐2501
HESS, NORMA J       34 GLENN HVN                                                                                        SPENCERPORT     NY      14559‐2501
HESS, PAUL C        2983 ARMEN AVE                                                                                      KETTERING       OH      45432‐3701
HESS, PAUL E        PO BOX 490594                                                                                       DAYTON          OH      45449
HESS, PAUL R        165 GERSHWIN DR                                                                                     CENTERVILLE     OH      45458‐2205
HESS, PEGGY F       17 INDIANA AVE                                                                                      FORT THOMAS     KY      41075‐1552
HESS, PEGGY J       6397 MAHONING AVE NW                                                                                WARREN          OH      44481‐9466
HESS, PEGGY J       214 SPRING MILL RD                                                                                  ANDERSON        IN      46013‐3740
HESS, PEGGY S       443 DUDLEY ST                                                                                       BUCYRUS         OH      44820‐1308
HESS, PENNY         2410 E MCGALLARD RD              APT 120                                                            MUNCIE          IN      47303
HESS, PENNY         2410 E MCGALLIARD RD APT 120                                                                        MUNCIE          IN      47303‐1596
HESS, PETER C       2491 ORCHARD VIEW DR NE                                                                             GRAND RAPIDS    MI      49505‐6432
HESS, PHILIP J      8329 SAND POINT WAY                                                                                 INDIANAPOLIS    IN      46204‐2448
HESS, RANDAL K      2970 8TH STREET                                                                                     CUYAHOGA FLS    OH      44221‐1622
HESS, RANDY L       34751 WICK RD                                                                                       ROMULUS         MI      48174‐1619
HESS, RAY E         4567 TOM LUNN RD                                                                                    SPRING HILL     TN      37174‐5103
HESS, RICHARD A     96 MAPLE DR                                                                                         BELLEVILLE      MI      48111‐4222
HESS, RICHARD C     64 FULTON AVE                                                                                       NEW HYDE PARK   NY      11040‐5124
HESS, RICHARD E     5077 POTAWATAMI TRL                                                                                 FLUSHING        MI      48433‐1001
HESS, RICHARD M     2454 NORTH RD NE                                                                                    WARREN          OH      44483‐3055
HESS, RICHARD R     801 MARKDALE ST                                                                                     LAKE ORION      MI      48362‐3419
HESS, RICHARD R     6815 E FRENCH RD                                                                                    ELSIE           MI      48831‐8723
HESS, ROBERT        EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                     NEW HAVEN       CT      06508‐1866
                                                     265 CHURCH STREET
HESS, ROBERT C      ANGELOS PETER G LAW OFFICES      60 WEST BROAD ST                                                   BETHLEHEM       PA      18018
HESS, ROBERT E      5 CARTER LN                                                                                         SHELBY          OH      44875‐1902
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Name                         Address1                        Address2                       Address3   Address4               City              State   Zip
HESS, ROBERT F               426 ELMWOOD DR                                                                                   CORUNNA            MI     48817‐1135
HESS, ROBERT H               3626 W 4TH ST                                                                                    MANSFIELD          OH     44903‐8954
HESS, ROBERT K               23 MEETING LN                                                                                    HICKSVILLE         NY     11801‐6211
HESS, ROBERT L               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA     23510‐2212
                                                             STREET, SUITE 600
HESS, ROBERT W               4309 NW 950                                                                                      SHIRLEY           IN      47384
HESS, ROGER A                1740 S VINEYARD DR W                                                                             PAHRUMP           NV      89048‐4864
HESS, ROGER C                3443 COUNTY ROAD 490                                                                             LUZERNE           MI      48636‐8732
HESS, ROLAND M               7011 STATE RD                                                                                    EAST LANSING      MI      48823‐9440
HESS, ROY                    BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD        OH      44067
                                                             PROFESSIONAL BLDG
HESS, RUBY M                 1236 PEACHWOOD DR                                                                                FLINT TWP          MI     48507‐3750
HESS, RUSSELL S              291 W VINE ST                                                                                    ROANOKE            IN     46783‐1018
HESS, RUSSELL S.             291 W VINE ST                                                                                    ROANOKE            IN     46783‐1018
HESS, SHARON
HESS, SIDNEY G               PO BOX 394                                                                                       CARROLLTON        MI      48724‐0394
HESS, STEPHEN E              7530 W CORNBREAD RD                                                                              YORKTOWN          IN      47396‐9631
HESS, STEVEN R               5875 BARNES RD                                                                                   MILLINGTON        MI      48746‐8713
HESS, SUSAN A                275 SOUTHBANK DR                                                                                 AIKEN             SC      29803‐4508
HESS, TEDDY R                3912 HALLOCK SOOK RD                                                                             NEWTON FALLS      OH      44444‐8716
HESS, THOMAS I               4561 GLEN MOOR WAY                                                                               KOKOMO            IN      46902‐9594
HESS, TOMMY M                3145 NORTHWEST BLVD NW                                                                           WARREN            OH      44485‐2237
HESS, VERNON J               7604 ARBELA RD                                                                                   MILLINGTON        MI      48746‐9525
HESS, VERNON R               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA      23510‐2212
                                                             STREET, SUITE 600
HESS, VIRGINIA C             2725 COUNTY ROAD 1075                                                                            PERRYSVILLE       OH      44864
HESS, VIRGINIA H             2171 HIGHSPLINT DR                                                                               ROCHESTER HILLS   MI      48307‐3728
HESS, WALTER H               496 N COUNTY ROAD 325 W                                                                          DANVILLE          IN      46122‐8855
HESS, WILLIAM                724 HIGH ST                                                                                      CHARLOTTE         MI      48813‐1250
HESS, WILLIAM A              3309 SHEAR AVE NE                                                                                GRAND RAPIDS      MI      49525‐9709
HESS, WILLIAM J              49637 BUFFLEHEAD LN                                                                              MACOMB            MI      48044‐1696
HESS, WILLIAM J              6233 N RIVER HWY                                                                                 GRAND LEDGE       MI      48837‐9308
HESS, WILLIAM P              18921 ROUND LAKE RD                                                                              NOBLESVILLE       IN      46060‐1482
HESS, WILLIAM R              2284 IRISH RIDGE RD                                                                              E LIVERPOOL       OH      43920‐9403
HESS, WILMA J                1361 LOOP RD                                                                                     GERRARDSTOWN      WV      25420‐3585
HESS, WILMA J                1361 LOOP RD.                                                                                    GERRARDSTOWN      WV      25420‐3585
HESSBURG, JAMES E            1960 CLIFF LAKE RD 129‐161                                                                       SAINT PAUL        MN      55122‐2476
HESSE ‐ REYNOLDS SALES       3370 N BENZING RD                                                                                ORCHARD PARK      NY      14127‐1538
HESSE INDUSTRIAL SALES INC   3370 N BENZING RD                                                                                ORCHARD PARK      NY      14127‐1538
HESSE, BRUCE A               2259 BROOKPARK DR                                                                                KETTERING         OH      45440‐2614
HESSE, BRUCE ALLEN           2259 BROOKPARK DR                                                                                KETTERING         OH      45440‐2614
HESSE, CHERYL A              114 CLUBHOUSE LN                                                                                 NORTHBRIDGE       MA      01534‐1281
HESSE, DAVID T               743 SHENANDOAH DR                                                                                CLAWSON           MI      48017‐3004
HESSE, ELIZABETH A           36 MORLEY LN                                                                                     BLOOMFIELD        NJ      07003‐4309
HESSE, GORDON E              5345 HOPKINS RD                                                                                  FLINT             MI      48506‐1543
HESSE, INC                   308 N LOCUST ST                                                                                  MARCUS            IA      51035‐7737
HESSE, MARGARET A            840 STOLLE RD.                                                                                   ELMA              NY      14059‐9320
HESSE, MARGARET A            840 STOLLE RD                                                                                    ELMA              NY      14059‐9320
HESSE, NORMA J               3313 PROVINE                                                                                     MCKINNEY          TX      75070
HESSE, NORMA J               3313 PROVINE RD                                                                                  MCKINNEY          TX      75070‐9205
HESSE, PAUL A                236 ROUND TREE DR                                                                                LAKE ORION        MI      48360‐2272
HESSE, ROBERT A              1148 W MARKET ST APT 306        C/O VILMA A HESSE                                                AKRON             OH      44313‐7146
HESSE, ROLF A                965 KENTSHIRE DR                                                                                 DAYTON            OH      45459‐2329
HESSEFORT, JOSEPH M          3315 S HILLSBORO AVE                                                                             SPRINGFIELD       MO      65804‐4862
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Name                           Address1                       Address2                      Address3   Address4               City               State   Zip
HESSEL DEJONG                  161 SUMMIT ST                                                                                  ROCKFORD            MI     49341‐1149
HESSEL, BARBARA                4245 MOHAVE CT SW                                                                              GRANDVILLE          MI     49418‐1739
HESSEL, RICHARD B              40 MAPLE ST                                                                                    TONAWANDA           NY     14150‐4011
HESSEL, STEVEN R               1915 NORTH SILVER MAPLE LANE                                                                   ELKHART             IN     46514‐9652
HESSEL, STEVEN R               15092 N NORTHPARK DR                                                                           CONSTANTINE         MI     49042‐9659
HESSELBROCK, JAMES J           1351 CLEVELAND AVE                                                                             HAMILTON            OH     45013‐1400
HESSELGRAVE, FLORA             22 SAUK TRAIL #2                                                                               INDIAN HEAD PARK     IL    60525

HESSELGRAVE, FLORA             22 SAUK TRL APT 2                                                                              INDIAN HEAD PARK    IL     60525‐9081

HESSELL, DAVID M               PO BOX 345                                                                                     WASHINGTON         MI      48094‐0345
HESSELL, DONALD L              PO BOX 581                                                                                     HAZEL PARK         MI      48030‐0581
HESSELL, GEORGE W              420 E BRECKENRIDGE ST                                                                          FERNDALE           MI      48220‐1383
HESSELL, JEANNETTE A           13833 21 MILE ROAD                                                                             SHELBY TWP         MI      48315‐4805
HESSELL, JOSEPH M              13830 21 MILE RD                                                                               SHELBY TWP         MI      48315‐4804
HESSELL, JOSEPH O              2436 BARRETT AVE                                                                               ROYAL OAK          MI      48067‐3561
HESSELL, JOSEPH W              43724 BELLEAUWOOD CT                                                                           CANTON             MI      48188‐1709
HESSELL, LAWRENCE E            418 CUMBERLAND COVE RD                                                                         MONTEREY           TN      38574‐7230
HESSELL, LORI A                48180 JAMES DR                                                                                 SHELBY TOWNSHIP    MI      48317‐2414
HESSELL, WILLIAM L             9107 CRESCENT BEACH RD                                                                         PIGEON             MI      48755‐9758
HESSELMAN JR, ROBERT B         10622 N OAKWAY LN                                                                              EDGERTON           WI      53534‐8606
HESSELMAN, DAVID L             1120 BELOIT AVE                                                                                JANESVILLE         WI      53546‐2637
HESSELSCHWARDT, DONNA L        15598 CO RD 2‐50                                                                               EDON               OH      43518
HESSELSCHWARDT, DONNA LOUISE   15598 CO RD 2‐50                                                                               EDON               OH      43518
HESSELSCHWARDT, EARL           700 PERRY                                                                                      DEFIANCE           OH      43512‐2737
HESSELSCHWARDT, HILDONNA       1923 JEFFERSON AVE                                                                             DEFIANCE           OH      43512‐3410
HESSELTINE, HILDA C            245 LAGOON BEACH                                                                               BAY CITY           MI      48706‐1404
HESSENAUER JR, KENNETH R       136 BRAKEFIELD DR                                                                              JANESVILLE         WI      53546‐2243
HESSENAUER, ALICE J            2215 HUBBARD ST                                                                                JANESVILLE         WI      53546‐3154
HESSENBRUCH, JOHN D            719 S WAVERLY ST                                                                               DEARBORN           MI      48124‐1674
HESSENBRUCH, ROBERT E          PO BOX 853                                                                                     HOUGHTON LAKE      MI      48629‐0853
HESSENFLOW, ALVA M             37394 W 130TH ST                                                                               RICHMOND           MO      64085‐8747
HESSENFLOW, KATHY SUE          19150 COUNTY LINE RD                                                                           SMITHVILLE         MO      64089‐9026
HESSENFLOW, KENNETH D          2000 S OVERTON AVE                                                                             INDEPENDENCE       MO      64052‐1616
HESSER COLLEGE                 3 SUNDIAL AVE                                                                                  MANCHESTER         NH      03103‐7230
HESSER JR., RAYMOND H          4209 E COLDWATER RD                                                                            FLINT              MI      48506‐1051
HESSER, MARIE E                420 MORNINGSIDE DR                                                                             SAINT PETERS       MO      63376‐4003
HESSERMANN, H.L.               GUY WILLIAM S                  PO BOX 509                                                      MCCOMB             MS      39649‐0509
HESSEVICK, CONNIE J            3625 SUMTER AVE S                                                                              ST LOUIS PARK      MN      55426‐4007
HESSEY, GEORGE J               6315 REMLINGER RD                                                                              CRESTLINE          OH      44827‐9723
HESSEY, VIOLET                 309 MILTON AVE                                                                                 GLEN BURNIE        MD      21061
HESSIAN, DENNIS G              21 N ATWOOD AVE                                                                                JANESVILLE         WI      53545‐3101
HESSIE PRICE                   330 S 22ND ST                                                                                  SAGINAW            MI      48601‐1451
HESSIL HERBERT H (481789)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510
                                                              STREET, SUITE 600
HESSIL, HERBERT H              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                              STREET, SUITE 600
HESSINGER, PHILIP M            1107 CAIN RD                                                                                   YOUNGSTOWN         NY      14174‐9768
HESSION, JOSEPH B              1111 HOUGHTON RD APT 1612                                                                      KATY               TX      77450‐3056
HESSION, L C                   126 W BARRE ST                                                                                 BALTIMORE          MD      21201‐2404
HESSION, MICHAEL O             1502 N WORTH AVE                                                                               SPEEDWAY           IN      46224‐6409
HESSION, ROSEMARY              1111 HOUGHTON RD. APT.1612                                                                     KATY               TX      77450‐3056
HESSION, WILLIAM J             27 JUNE RD                                                                                     KENMORE            NY      14217‐1415
HESSLER, BENJAMIN A            246 LAKE ST                                                                                    CHADRON            NE      69337‐2217
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Name                          Address1                       Address2                      Address3   Address4               City           State   Zip
HESSLER, BEVERLY J            R1                                                                                             BELDING         MI     48809
HESSLER, DEBORAH S            PO BOX 255                                                                                     SHERWOOD        OH     43556‐0255
HESSLER, DEBORAH SUE          PO BOX 255                                                                                     SHERWOOD        OH     43556‐0255
HESSLER, EDRA L               2400 CHATEAU DR                C/O WATERS OF MUNCIE                                            MUNCIE          IN     47303‐1900
HESSLER, GREG                 8390 RIVER RIDGE DR                                                                            COOPERSVILLE    MI     49404‐9766
HESSLER, HILDEGARDE C         2 FRIARS GRN                                                                                   FAIRFIELD       OH     45014‐5260
HESSLER, JENNIFER C           6897 MILLER RD                                                                                 BANCROFT        MI     48414‐9712
HESSLER, JOHN L               72 PARKVIEW BLVD                                                                               LAKE ORION      MI     48362‐3420
HESSLER, JOHN N               4000 ELBOW LAKE RD                                                                             PRESCOTT        MI     48756‐9253
HESSLER, KENNETH H            25 SHENNECOSSETT PKWY                                                                          GROTON          CT     06340‐5831
HESSLER, MARGUERITE           4000 ELBOW LAKE RD                                                                             PRESCOTT        MI     48756‐9253
HESSLER, MARLENE A            8390 RIVER RIDGE DR                                                                            COOPERSVILLE    MI     49404‐9766
HESSLER, MARLENE A            N114W16683 ROYAL CT                                                                            GERMANTOWN      WI     53022‐3267
HESSLER, MATTHEW G            3627 THREE OAKS DR                                                                             FORT WAYNE      IN     46809‐1957
HESSLER, MOLLY                3096 HIGH POINT RIDGE                                                                          LAKE ORION      MI     48359
HESSLER, RICHARD G            35270 GLENWOOD RD TRLR 9                                                                       WESTLAND        MI     48186
HESSLER, ROBERT P             961 S HARDING AVE                                                                              HARRISON        MI     48625‐9500
HESSLER, RONNIE D             3883 W 450 N                                                                                   ROCHESTER       IN     46975‐8371
HESSLER, THOMAS L             5213 ALVA AVE NW                                                                               WARREN          OH     44483‐1211
HESSLER, TIMOTHY J            6897 MILLER RD                                                                                 BANCROFT        MI     48414‐9712
HESSLING, AUSTIN B            2011 CLARK RD                                                                                  CARO            MI     48723‐9571
HESSLING, CHARLES H           PO BOX 48                                                                                      PORT AUSTIN     MI     48467‐0048
HESSLING, WILLIAM D           17321 LUCERNE CT                                                                               LOCKPORT         IL    60441‐4943
HESSNER, DOROTHY E            115 1ST ST                                                                                     PERTH AMBOY     NJ     08861‐4644
HESSNER, DOROTHY E            115 FIRST STREET                                                                               PERTH AMBOY     NJ     08861‐4644
HESSNEY, JEAN L               36 BENDING OAK DR                                                                              PITTSFORD       NY     14534‐3342
HESSON ALBERT J SR (493837)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA     23510
                                                             STREET, SUITE 600
HESSON, ALBERT J              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA     23510‐2212
                                                             STREET, SUITE 600
HESSON, GRACE A               216 N LAKE SHORE DR                                                                            LEESBURG       FL      34788‐8968
HESSON, NORBERT D             126 E. WARD ST                                                                                 VERSAILLES     OH      45380‐1428
HESSON, NORBERT D             126 E WARD ST                                                                                  VERSAILLES     OH      45380‐1428
HESSON, PHILIP K              18 HICKORY CT                                                                                  ANDERSON       IN      46011‐1503
HESSON, RITCHY D              8712 CAMBRIDGE DR                                                                              VERSAILLES     OH      45380‐9569
HESTA CORP                    1158 RARITAN RD                                                                                CLARK          NJ      07066‐1311
HESTAND, PERRY J              13608 SPRUCE AVE                                                                               GRANDVIEW      MO      64030‐2868
HESTAND, RICHARD A            3026 SADDLE CLUB RD                                                                            GREENWOOD      IN      46143‐9217
HESTAND, THEODORE J           4299 STRATTON BLVD SE                                                                          KENTWOOD       MI      49512‐5279
HESTER ABRAM                  7425 LYDIA AVE                                                                                 KANSAS CITY    MO      64131‐1815
HESTER BENNETT                304 INDIAN CREEK RD                                                                            WHITESBURG     KY      41858‐8195
HESTER BOWLEY                 470 WILLIAMS AND WEST RD                                                                       HALEYVILLE     AL      35565‐6514
HESTER BRADLEY                6084 STOCKBRIDGE COMMONS TRL                                                                   GRAND BLANC    MI      48439‐9135
HESTER BRADLEY COMPANY        1814 S 3RD ST                                                                                  SAINT LOUIS    MO      63104‐4040
HESTER BRUCE                  10046 S PRAIRIE AVE                                                                            CHICAGO        IL      60628‐2134
HESTER BUELL                  PO BOX 248                                                                                     PINEVILLE      KY      40977‐0248
HESTER DIFFIN                 8940 MONROE RD APT C10                                                                         DURAND         MI      48429‐1023
HESTER DUNCAN                 3083 CONNECTOR DR                                                                              TALLAHASSEE    FL      32303‐2042
HESTER GREEN                  645 W BISHOP AVE                                                                               FLINT          MI      48505‐6308
HESTER HUMPHREYS              6469 WILLARD RD                                                                                MILLINGTON     MI      48746‐9742
HESTER JOHNSON                2504 E DOROTHY LN                                                                              KETTERING      OH      45420‐1118
HESTER JR, ALVIS              3800 PALMER ST                                                                                 LANSING        MI      48910‐4429
HESTER JR, WILLIAM            2405 HALFORD ST                                                                                ANDERSON       IN      46016‐3737
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Name                          Address1                       Address2                      Address3                   Address4               City              State Zip
HESTER KELLY                  HESTER, KELLY                  ALVIS & WILLINGHAM            1400 URBAN CENTER DR ‐ STE                        BIRMINGHAM         AL 35242
                                                                                           475
HESTER LOWERY                 5101 LODGE ST                                                                                                  SAGINAW           MI   48601‐6829
HESTER M POWELL               5406 LAURENE ST                                                                                                FLINT             MI   48505‐2598
HESTER MARVIN ALLISON         C/O EDWARD O MOODY P A         801 W 4TH ST                                                                    LITTLE ROCK       AR   72201
HESTER MAYNARD                PO BOX 2202                                                                                                    COOKEVILLE        TN   38502‐2202
HESTER MEMORIAL FOUNDATION    134 NW 16TH ST STE 9                                                                                           BOCA RATON        FL   33432‐1691
HESTER MOONEY                 4385 PAW PAW RD                                                                                                HURLEY            VA   24620
HESTER O ROBINSON             C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                       HOUSTON           TX   77007
                              BOUNDAS LLP
HESTER POTEET                 25522 ORCHARD CT                                                                                               FLAT ROCK         MI   48134‐6015
HESTER POWELL                 5406 LAURENE ST                                                                                                FLINT             MI   48505‐2598
HESTER R JOHNSON              2504 E DOROTHY LANE                                                                                            KETTERING         OH   45420‐1118
HESTER RICE                   644 CHERRY BLOSSOM DR                                                                                          W CARROLLTON      OH   45449‐1615
HESTER SCHNUERING             17 RUSSO DR                                                                                                    PALM COAST        FL   32164‐6906
HESTER SHANNON                347 KERCHEVAL AVE                                                                                              GROSSE POINTE     MI   48236‐3088
                                                                                                                                             FARMS
HESTER SHELTON                3221 COUNTRY RD 38                                                                                             SAWYERVILLE       AL   36776
HESTER SIMMS                  677 MEADOW BRANCH ROAD                                                                                         BEAN STATION      TN   37708‐4333
HESTER SIMPSON                PO BOX 13230                                                                                                   GREENSBORO        NC   27415‐3230
HESTER SMITH                  6184 HARWOOD RD                                                                                                MOUNT MORRIS      MI   48458‐2771
HESTER SR, JOHN R             39 STOUTENBURG DR                                                                                              NORWALK           OH   44857‐2354
HESTER TAYLOR                 4634 E 50 N                                                                                                    LAFAYETTE         IN   47905‐8400
HESTER THOMAS J SR (493838)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                     NORFOLK           VA   23510
                                                             STREET, SUITE 600
HESTER TOWLE                  9107 S STATE ROAD 15                                                                                           SILVER LAKE       IN   46982‐9124
HESTER VEST                   3490 CORALBERRY LN                                                                                             ESTERO            FL   33928‐2812
HESTER WEIR                   PO BOX 253                     C/O ELLEN J WEIR                                                                HEUVELTON         NY   13654‐0253
HESTER WOLTERS                PO BOX 577                                                                                                     WILSON            NY   14172‐0577
HESTER, ADA F                 #1                             200 SOUTH 32ND STREET                                                           MIDDLESBORO       KY   40965‐2380
HESTER, ALBERT W              1210 SUMMIT OAKS DR W                                                                                          JACKSONVILLE      FL   32221‐3236
HESTER, ANNIE R               2107 IROQUOIS AVE                                                                                              FLINT             MI   48503‐5125
HESTER, ANTHONY G             1614 W HOME AVE                                                                                                FLINT             MI   48504‐1618
HESTER, ARTHUR C              41 BELLE MEADE ST                                                                                              GROSSE POINTE     MI   48236‐1552
HESTER, BARRY C               8114 GREEN LEAF LN                                                                                             SHREVEPORT        LA   71108‐5700
HESTER, BETTY J               437 PIONEER DR                                                                                                 LITCHFIELD        MI   49252‐9782
HESTER, BEULAH                16766 BARRYKNOLL WAY                                                                                           GRANGER           IN   46530
HESTER, BEVERLY M             3790 SOMERSET DR                                                                                               LOS ANGELES       CA   90016‐5845
HESTER, BONNIE J              101 HIGHLAND CHURCH RD                                                                                         PADUCAH           KY   42001‐6111
HESTER, BRADLEY D             6084 STOCKBRIDGE COMMONS TRL                                                                                   GRAND BLANC       MI   48439‐9135
HESTER, BRADLEY DONOVAN       6084 STOCKBRIDGE COMMONS TRL                                                                                   GRAND BLANC       MI   48439‐9135
HESTER, BRENDA L              141 S RIVER DR                                                                                                 CLARKSTON         MI   48346‐4152
HESTER, BRIAN E               5 W MAGNOLIA AVE                                                                                               HAGERSTOWN        MD   21742
HESTER, BRIAN EUGENE          5 W MAGNOLIA AVE                                                                                               HAGERSTOWN        MD   21742
HESTER, BRYAN K               955 PINE ST APT 41                                                                                             SAN FRANCISCO     CA   94108‐2984
HESTER, BUD C                 1218 CARLYON RD                                                                                                EAST CLEVELAND    OH   44112‐4128
HESTER, CARL E                1327 CROSSWIND PL                                                                                              MCDONOUGH         GA   30252‐8722
HESTER, CATHERINE A           1336 SW STRAKA TER                                                                                             OKLAHOMA CITY     OK   73159‐5315
HESTER, CEDRIC D              5742 APPLEGROVE DR                                                                                             WEST BLOOMFIELD   MI   48324‐1476

HESTER, CHERL A               PO BOX 128                                                                                                     KEMPTON           IN   46049‐0128
HESTER, CHRISTOPHER D         6084 STOCKBRIDGE                                                                                               GRAND BLANC       MI   48439
HESTER, CINDA J               41 BELLE MEADE ST                                                                                              GROSSE POINTE     MI   48236‐1552
                                                                                                                                             SHORES
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Name                   Address1                         Address2                        Address3   Address4               City              State   Zip
HESTER, CLEOPHUS       6212 NOTTAWAY DR                                                                                   SHREVEPORT         LA     71119‐6217
HESTER, CLIFFORD       311 SCOTT ST SW APT 166                                                                            ATLANTA            GA     30311‐1820
HESTER, CONLEY E       105 UNAKA CT                                                                                       ERWIN              TN     37650‐1846
HESTER, CONSTANCE      1012 HILL ST                     COUNCIL CREEK VILLAGE                                             BURNET             TX     78611‐2999
HESTER, CORNELIUS R    1683 CIMMARON LN                                                                                   DEFIANCE           OH     43512‐4010
HESTER, CURTIS
HESTER, CURTIS L       PO BOX 46                                                                                          LEGGETT            TX     77350‐0046
HESTER, DALLAS L       18319 ATLANTIC RD                                                                                  NOBLESVILLE        IN     46060‐9461
HESTER, DANIEL V       2287 WARNER BRIDGE RD                                                                              SHELBYVILLE        TN     37160‐6285
HESTER, DANIEL VANCE   2287 WARNER BRIDGE RD                                                                              SHELBYVILLE        TN     37160‐6285
HESTER, DEANNA G       5508 W FARRAND RD                                                                                  CLIO               MI     48420‐8204
HESTER, DEBORAH
HESTER, DENNIS C       75501 VAN DYKE RD                                                                                  BRUCE TWP         MI      48065
HESTER, DONALD A       5122 SANDY LN                                                                                      FAIRFIELD         OH      45014‐2738
HESTER, DONALD J       PO BOX 244                                                                                         DEXTER            MO      63841‐0244
HESTER, DONALD K       174 LAUREL LEAH                                                                                    OXFORD            MI      48371‐6334
HESTER, DONALD R       311 N WARD RD                                                                                      RAYMORE           MO      64083‐9749
HESTER, DOROTHY        PO BOX 244                                                                                         DEXTER            MO      63841‐0244
HESTER, DOROTHY        P. O. BOX 244                                                                                      DEXTER            MO      63841‐0244
HESTER, EDNA L         BARON & BUDD PC                  9015 BLUEBONNET BLVD                                              BATON ROUGE       LA      70810‐2812
HESTER, EDNA L         1346 UNION ST SW                                                                                   WARREN            OH      44485
HESTER, EDNA L         118 TURTLEDOVE DR                                                                                  MONROE            LA      71203‐8441
HESTER, EDNA L         BARON & BUDD                     3102 OAK LANE AVE, SUITE 1100                                     DALLAS            TX      75219
HESTER, EDNA L         DIMOS BROWN ERSKINE BURKETT &    1216 STUBBS AVE                                                   MONROE            LA      71201‐5622
                       GARNER LLP
HESTER, EDWARD J       23100 WILDWOOD ST                                                                                  OAK PARK          MI      48237‐2482
HESTER, EDWARD JAY     23100 WILDWOOD ST                                                                                  OAK PARK          MI      48237‐2482
HESTER, ELWOOD L       4412 CARMANWOOD DR                                                                                 FLINT             MI      48507‐5653
HESTER, FRANCETTA      10340 TIREMAN STREET                                                                               DETROIT           MI      48204‐3147
HESTER, FREDY H        1817 E 49TH ST                                                                                     ANDERSON          IN      46013‐2803
HESTER, GARY R         317 S ELBA RD                                                                                      LAPEER            MI      48446‐2741
HESTER, GREGORY A      102 SUNRISE LN                                                                                     CANTON            GA      30115
HESTER, HARDY          PORTER & MALOUF PA               4670 MCWILLIE DR                                                  JACKSON           MS      39206‐5621
HESTER, HOSEA A        1003 BAY RIDGE DR                                                                                  BENTON            LA      71006‐3464
HESTER, HOWARD D       11587 ERINS WAY                                                                                    ROMEO             MI      48065‐1402
HESTER, JAMES E        9283 W 1300 N                                                                                      ELWOOD            IN      46036‐8701
HESTER, JAMES F        2512 BRAFFERTON AVE                                                                                HUDSON            OH      44236‐4126
HESTER, JASON          1463 FLUSHING ROAD                                                                                 FLUSHING          MI      48433‐2245
HESTER, JIMMY L        2020 W HILLSDALE ST                                                                                LANSING           MI      48915‐1122
HESTER, JOSEPH L       4001 HAZELWOOD STREET                                                                              DETROIT           MI      48204‐2409
HESTER, JUANITA K      5999 LITTLE BROOK CIR N # 202                                                                      MEMPHIS           TN      38115‐1314
HESTER, KAREN B        1277 TIMBERWOOD CT                                                                                 ANDERSON          IN      46012‐9728
HESTER, KEITH E        10905 BURT RD                                                                                      BIRCH RUN         MI      48415‐9340
HESTER, KELLY          ALVIS & WILLINGHAM               1400 URBAN CENTER DR STE 475                                      BIRMINGHAM        AL      35242‐2245
HESTER, KEVIN          3919 HILLBORN LN                                                                                   LANSING           MI      48911‐2151
HESTER, KEVIN D        5508 W FARRAND RD                                                                                  CLIO              MI      48420‐8204
HESTER, KEVIN DUANE    5508 W FARRAND RD                                                                                  CLIO              MI      48420‐8204
HESTER, KEVIN M        2681 GLOUCHESTER RD                                                                                ROCHESTER HILLS   MI      48309‐2810
HESTER, L D            101 HIGHLAND CHURCH RD                                                                             PADUCAH           KY      42001‐6111
HESTER, LARRY G        2729 E WATERVIEW DR                                                                                AVON PARK         FL      33825‐6015
HESTER, LARRY R        38527 LANDON AVE                                                                                   PALMDALE          CA      93550‐4346
HESTER, LAWRENCE J     4471 N MORRIS DR                                                                                   MARION            IN      46952‐9611
HESTER, LEVE J         1250 W PIONEER PKWY APT 3500                                                                       ARLINGTON         TX      76013‐8210
HESTER, LINDELL C      2155 W 58TH ST                                                                                     INDIANAPOLIS      IN      46228‐1709
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Name                     Address1                         Address2                      Address3   Address4               City              State   Zip
HESTER, LOUIS P          50 PECK LN                                                                                       POPLAR BLUFF       MO     63901‐3068
HESTER, LURLENE M        PO BOX 816                                                                                       MCDONOUGH          GA     30253‐0816
HESTER, MAE J            10425 BALLENTINE ST                                                                              OVERLAND PARK      KS     66214‐3046
HESTER, MARCIA I         9283 W 1300 N                                                                                    ELWOOD             IN     46036‐8701
HESTER, MARIAN M         APT 420                          5863 SCIOTO DARBY ROAD                                          HILLIARD           OH     43026‐3318
HESTER, MARK A           2092 N VAN DYKE RD                                                                               IMLAY CITY         MI     48444‐9415
HESTER, MARLENE A        818 EUGENIA DR                                                                                   MASON              MI     48854‐2004
HESTER, MARVIN ALLISON   MOODY EDWARD O                   801 W 4TH ST                                                    LITTLE ROCK        AR     72201‐2107
HESTER, MARY E           305 MOHAWK ST                                                                                    ANDERSON           IN     46012‐1313
HESTER, MCKINLEY         1837 SUNNYDALE                                                                                   LANSING            MI     48917‐1466
HESTER, MICHAEL
HESTER, MICHAEL J        6770 BELMONT CT                                                                                  CLARKSTON          MI     48348‐2872
HESTER, MINNIE L         2746 BERKLEY ST                                                                                  FLINT              MI     48504
HESTER, NANCY A          3808 CLAYBROOK CT                                                                                BARGERSVILLE       IN     46106
HESTER, PATRICIA MAY     5499 RENSSELEAR                                                                                  LAPEER             MI     48446
HESTER, PATRICIA E       6761 PINE ST                                                                                     CASS CITY          MI     48726‐1548
HESTER, PATRICIA M       6212 NOTTAWAY DR                                                                                 SHREVEPORT         LA     71119‐6217
HESTER, PATRICIA MAY     5499 RENSSELEAR DR                                                                               LAPEER             MI     48446‐9606
HESTER, PAUL E           17210 CEDARCROFT PL                                                                              SOUTHFIELD         MI     48076‐4779
HESTER, PAULA L          207 KITE LAKE ROAD                                                                               FAIRBURN           GA     30213‐9608
HESTER, PEGGY W          325 BRIARWOOD DR                                                                                 WINTER PARK        FL     32789‐6112
HESTER, RAY J            1743 RED BUD CIR NW                                                                              PALM BAY           FL     32907‐8745
HESTER, RAY L            PO BOX 1432                                                                                      OKMULGEE           OK     74447‐1432
HESTER, RAYMOND E        102 OAK DR                                                                                       GRIFFIN            GA     30223‐6835
HESTER, RAYMOND G        1534 OAKVIEW CIR SE                                                                              WINTER HAVEN       FL     33880‐4421
HESTER, RHONDA J         20 COMSTOCK AVE                                                                                  BUFFALO            NY     14215‐2216
HESTER, RICHARD C        17122 DIANE DR                                                                                   DAVISBURG          MI     48350‐3936
HESTER, RICK R           204 CLIFFCREEK DR                                                                                HOLLY SPRINGS      NC     27540
HESTER, ROBERT C         5206 FOREST VALLEY DR                                                                            CLARKSTON          MI     48348‐3750
HESTER, ROBERT L         11512 16 MILE RD NE                                                                              CEDAR SPRINGS      MI     49319‐9764
HESTER, ROBERT O         6568 KINGS POINTE RD                                                                             GRAND BLANC        MI     48439‐8711
HESTER, ROBERT R         12512 FOWLER RD                                                                                  BRANT              MI     48614‐9718
HESTER, ROGER D          2901 KEELEY COURT                                                                                WATERFORD          MI     48328‐2631
HESTER, ROSALIND M       2120 ROGERS RD                                                                                   APOPKA             FL     32712‐5630
HESTER, RUTH M           3919 HILLBORN LN                                                                                 LANSING            MI     48911‐2151
HESTER, SAMUEL J         115 E DELAVAN AVE                                                                                BUFFALO            NY     14208‐1234
HESTER, SARAH A          17122 DIANE DR                                                                                   DAVISBURG          MI     48350‐3936
HESTER, SCOTT A          5145 CHANTELLE DR                                                                                FLINT              MI     48507‐2903
HESTER, STEPHEN J        231 DICK AVE                                                                                     PONTIAC            MI     48341‐1801
HESTER, STEVEN L         1277 TIMBERWOOD                                                                                  ANDERSON           IN     46012‐9728
HESTER, TERESA G         137 N BLAKE DR                                                                                   MIDWEST CITY       OK     73130‐3303
HESTER, TERRY R          390 UNION CHAPEL RD E                                                                            NORTHPORT          AL     35473‐7610
HESTER, THOMAS H         11 HAWTHORNE LN                                                                                  MASON              MI     48854‐1080
HESTER, THOMAS J         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                          STREET, SUITE 600
HESTER, TOMMY L          3270 POPLAR RIDGE DR                                                                             REX                GA     30273‐2459
HESTER, VALARIE W        1003 BAY RIDGE DR                                                                                BENTON             LA     71006‐3464
HESTER, VERONICA         1410 N BALLENGER HWY                                                                             FLINT              MI     48504‐3066
HESTER, VIOLET L         502 NORTH 13TH ST                                                                                MIDDLETOWN         IN     47356‐1271
HESTER, VIOLET L         502 N 13TH ST                                                                                    MIDDLETOWN         IN     47356‐1271
HESTER, VIVIAN J         3510 GREEN LAKE RD                                                                               WEST BLOOMFIELD    MI     48324

HESTER, VONCEIA Y        3472 CUNARD SQ                                                                                   COLUMBUS          OH      43227
HESTER, VONCEIA YVETTE   3472 CUNARD SQ                                                                                   COLUMBUS          OH      43227
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Name                          Address1                              Address2                       Address3   Address4               City               State   Zip
HESTER, WILLARD E             6155 COLONIAL AVE                                                                                      INDIANAPOLIS        IN     46228‐1118
HESTER, WILLIAM               PORTER & MALOUF PA                    4670 MCWILLIE DR                                                 JACKSON             MS     39206‐5621
HESTER, WILLIAM D             2707 RENWICK DR                                                                                        CARROLLTON          TX     75007‐5929
HESTER, WILLIAM S             306 CAROLYN LN                                                                                         GADSDEN             AL     35901‐1709
HESTERLY, BRUCE C             850 NASH AVE                                                                                           YPSILANTI           MI     48198‐8021
HESTERMANN, ARNDT E           3517 SW MACON RD                                                                                       PT ST LUCIE         FL     34963
HESTERMANN, JANET D.          1135 STEWART RD N                                                                                      MANSFIELD           OH     44905‐1547
HESTERMANN, SUZANNE E         3517 SW MACON RD                                                                                       PORT SAINT LUCIE    FL     34953
HESTMARK CARL B (453786)      SIMMONS FIRM                          PO BOX 559                                                       WOOD RIVER           IL    62095‐0559
HESTMARK, CARL B              SIMMONS FIRM                          PO BOX 559                                                       WOOD RIVER           IL    62095‐0559
HESTON, CALVIN EARL           GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH          PA     15219

HESTON, DALE W                7019 COUNTY ROAD 37                                                                                    LEXINGTON          OH      44904‐9695
HESTON, FRANK M               10213 RIVERS TRAIL DR                                                                                  ORLANDO            FL      32817
HESTON, GARRY D               1750 EMERSON DR                                                                                        MANSFIELD          OH      44904‐1809
HESTON, JACK E                618 RUDY RD                                                                                            MANSFIELD          OH      44903‐8039
HESTON, JOHN W                551 ORCHARD AVE                                                                                        NILES              OH      44446‐5249
HESTON, LINDA L               618 RUDY RD                                                                                            MANSFIELD          OH      44903‐8039
HESTON, RICHARD D             230 CEDARWOOD DR                                                                                       LEXINGTON          OH      44904‐9798
HESTON, ROBERT L              540 ESSEX ST                                                                                           CLAWSON            MI      48017‐1781
HETCEL, MARIE A               PO BOX 16985                                                                                           FERNANDINA BEACH   FL      32035‐3134

HETCEL, RICHARD R             15146 HOGAN RD                                                                                         LINDEN              MI     48451‐8732
HETCEL, RUDOLPH J             PO BOX 16985                                                                                           FERNANDINA BEACH    FL     32035‐3134

HETCHLER, CLIFTON E           4604 N 77TH ST                                                                                         MILWAUKEE           WI     53218‐4736
HETCHLER, FREDERIC J          4138 W HAVERHILL LN                                                                                    CITRUS SPRINGS      FL     34433‐5748
HETCHLER, GERALD H            431 GRASS FARM RD                                                                                      OMEGA               GA     31775‐3010
HETCHLER, MARY J              10052 HOGAN RD                                                                                         SWARTZ CREEK        MI     48473‐9119
HETEJI, THOMAS P              75 FARRAGUT PL                                                                                         NORTH PLAINFIELD    NJ     07062‐2319

HETFIELD HOMER                7455 NAVAJO VALLEY DR SW                                                                               BYRON CENTER       MI      49315‐8271
HETFIELD KATHLEEN             68 ALEXAUKEN CREEK RD                                                                                  LAMBERTVILLE       NJ      08530‐3401
HETFIELD, FRANK J             1405 W STEWART ST                                                                                      OWOSSO             MI      48867‐4172
HETFIELD, KATHLEEN C          68 ALEXAUKEN CREEK RD                                                                                  LAMBERTVILLE       NJ      08530‐3401
HETH, DAVID G                 141 DEAN RD                                                                                            SPENCERPORT        NY      14559‐9503
HETH, JO ANNE                 141 DEAN RD                                                                                            SPENCERPORT        NY      14559‐9503
HETH, VIRGINIA G              16227 REEDMERE                                                                                         BEVERLY HILLS      MI      48025‐5554
HETHCOTE, MAX B               6326 W 800 S                                                                                           WARREN             IN      46792‐9735
HETHCOTE, MERRITT L           8201 S BELLEVILLE RD                                                                                   WARREN             IN      46792‐9434
HETHER MANLEY                 520 NE 3RD ST                                                                                          BLUE SPRINGS       MO      64014‐2904
HETHER, GARY W                2184 MILLER RD                                                                                         METAMORA           MI      48455‐9357
HETHERINGTON ELLA             1048 CIMARRON DR                                                                                       PUNTA GORDA        FL      33950‐6541
HETHERINGTON, ANTHONY W       11337 GRAND OAKS DR                                                                                    CLIO               MI      48420
HETHERINGTON, ANTHONY WAYNE   11337 GRAND OAKS DR                                                                                    CLIO               MI      48420
HETHERINGTON, BRENDA L        16431 POPLAR CREEK RD                                                                                  ATHENS             AL      35611‐6313
HETHERINGTON, BRIAN R         12041 N HOLLY RD                                                                                       HOLLY              MI      48442‐9498
HETHERINGTON, CANDACE M       12041 N HOLLY RD                                                                                       HOLLY              MI      48442‐9498
HETHERINGTON, DONALD E        5088 ESTA DR                                                                                           FLINT              MI      48506‐1573
HETHERINGTON, GARY K          2580 W DEERFIELD RD                                                                                    MT PLEASANT        MI      48858‐8558
HETHERINGTON, GORDON W        1048 CIMARRON DR                                                                                       PUNTA GORDA        FL      33950‐6541
HETHERINGTON, H R
HETHERINGTON, JAMES A         1818 POLLY ST                                                                                          FLINT               MI     48505
HETHERINGTON, JAMES J         295 MAPLE ST                                                                                           MUIR                MI     48860‐9777
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Name                            Address1                        Address2                      Address3   Address4               City             State   Zip
HETHERINGTON, JASON P           507 DAISY DR                                                                                    SAINT JOHNS       MI     48879‐8247
HETHERINGTON, JOHN              4001 49TH ST N LOT 53                                                                           ST PETERSBURG     FL     33709‐5753
HETHERINGTON, JOHN              4001 49TH STREET N LOT 53                                                                       ST.PETERSBURG     FL     33709‐3709
HETHERINGTON, JOSEPH F          9188 MURPHY RD                                                                                  LYONS             MI     48851‐9777
HETHERINGTON, JOYCE D           2299 S PLAIN RD                                                                                 CARO              MI     48723‐9465
HETHERINGTON, JUDY              6405 CECIL DR                                                                                   FLINT             MI     48505‐2425
HETHERINGTON, JUDY M            3000 E LAKE RD                                                                                  CLIO              MI     48420‐7907
HETHERINGTON, JUDY M            3000 E. LAKE ROAD                                                                               CLIO              MI     48420
HETHERINGTON, KENNETH E         3393 E CARPENTER RD                                                                             FLINT             MI     48506‐1033
HETHERINGTON, KENNETH EUGENE    3393 E CARPENTER RD                                                                             FLINT             MI     48506‐1033
HETHERINGTON, LAWRENCE A        1746 N HURON RD                                                                                 PINCONNING        MI     48650‐7911
HETHERINGTON, LINDA L           2518 SOLARWOOD DR                                                                               DAVISON           MI     48423
HETHERINGTON, LLOYD L           3303 W FARRAND RD                                                                               CLIO              MI     48420‐8827
HETHERINGTON, MARIE E           521 PINE ST                                                                                     CLIO              MI     48420
HETHERINGTON, MAX W             440 ELZIE HILL DR                                                                               HENDERSONVILLE    NC     28792‐9161
HETHERINGTON, PATRICIA L        123 VISTA COURT                                                                                 DECATUR           TX     76234‐5054
HETHERINGTON, PATRICIA L        2296 N WILLIAMSTON RD                                                                           WILLIAMSTON       MI     48895‐9461
HETHERINGTON, RALPH L           PO BOX 301                      2496 20 MILE RD                                                 BARRYTON          MI     49305‐0301
HETHERINGTON, RAYMOND F         6725 MACKINAW RD                                                                                BAY CITY          MI     48706‐9332
HETHERINGTON, RICHARD D         455 W WRIGHT AVE                                                                                SHEPHERD          MI     48883‐9054
HETHERINGTON, ROBERT W          1325 W SAGE LAKE RD                                                                             WEST BRANCH       MI     48661‐9545
HETHERINGTON, RONALD B          6541 CHURCH ST                                                                                  CLARKSTON         MI     48346‐2131
HETHERINGTON, RUSSELL H         3000 E LAKE RD                                                                                  CLIO              MI     48420‐7907
HETHERINGTON, RUSSELL HERBERT   3000 E LAKE RD                                                                                  CLIO              MI     48420‐7907
HETHERINGTON, SALLY J           1039 GROUSE DR                                                                                  BAY CITY          MI     48706‐9748
HETHERINGTON, SUE A             6403 WILSON DR                                                                                  WATERFORD         MI     48329‐3176
HETHERINGTON, TERRY L           23 LOCH LOMA DR                                                                                 MOUNT MORRIS      MI     48458‐8852
HETHERINGTON, TERRY LEE         23 LOCH LOMA DR                                                                                 MOUNT MORRIS      MI     48458‐8852
HETHERINGTON, WILLIAM J         1342 JAMES ST                                                                                   BURTON            MI     48529‐1229
HETHERLY, CARLOS E              7690 54TH ST                                                                                    PINELLAS PARK     FL     33781‐3320
HETHERLY, LARRY W               143 ROOSEVELT AVE                                                                               CANASTOTA         NY     13032‐4278
HETHERMAN, JAMES E              34408 STATE ROAD 54                                                                             ZEPHYRHILLS       FL     33543‐9108
HETHORN, DAVID W                1224 BENSCH ST                                                                                  LANSING           MI     48912‐1908
HETKE ADOLF                     DBA HETKE CONSULTING            154 HAWTHORNE DR                                                BROOKLYN          MI     49230‐8924
HETKE, ERICH R                  3800 18 1/2 MILE RD                                                                             TEKONSHA          MI     49092‐9417
HETKO, JANE M                   320 DEGEORGE CIR APT 8                                                                          ROCHESTER         NY     14626‐4833
HETMANSKI, CHERYL D             527 KLINE AVENUE                                                                                MANSFIELD         OH     44907
HETMANSPERGER, BABETTE M        3103 CHERRY LN                                                                                  FORT WAYNE        IN     46804‐2811
HETMANSPERGER, BABETTE MARIE    3103 CHERRY LN                                                                                  FORT WAYNE        IN     46804‐2811
HETRICH WILLIAM E (355306)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510
                                                                STREET, SUITE 600
HETRICH, WILLIAM E              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510‐2212
                                                                STREET, SUITE 600
HETRICK DAVID                   3342 SWAN RIDGE LN                                                                              MAUMEE           OH      43537‐9414
HETRICK STACY L                 2222 REGATTA CIR                                                                                NORRISTOWN       PA      19401‐6201
HETRICK, BRIAN C                3603 TRAILS END CT                                                                              BRIGHTON         MI      48114‐8174
HETRICK, CHRISTINA U            3603 TRAILS END CT                                                                              BRIGHTON         MI      48114‐8174
HETRICK, DIXIE                  2540 KANSAS AVE                                                                                 SAGINAW          MI      48601‐5535
HETRICK, DONALD R               537 MEADOW LN                                                                                   ROCHESTER        MI      48307‐2222
HETRICK, JACQUELINE L           284 FOUR SEASONS DR                                                                             LAKE ORION       MI      48360‐2647
HETRICK, JANE                   202 FALCONER STREET                                                                             NO TONAWANDA     NY      14120‐5506
HETRICK, JOHN D                 2084 RANDOM DR                                                                                  MANSFIELD        OH      44904‐1660
HETRICK, KEITH                  7955 RIDGE RD                                                                                   GASPORT          NY      14067‐9317
HETRICK, RAYMOND V              673 BELSHAZZAR RD                                                                               BROOKVILLE       PA      15825‐8729
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Name                         Address1                         Address2            Address3         Address4                  City             State   Zip
HETSLER, E C                 5248 DILL RD                                                                                    BELLVILLE         OH     44813‐9373
HETSLER, E CATHERINE         5248 DILL RD                                                                                    BELLVILLE         OH     44813‐9373
HETSLER, GERALDINE F         1387 N STATE ST APT 13                                                                          SAINT IGNACE      MI     49781‐1031
HETSLER, PHILLIP J           5248 DILL RD                                                                                    BELLVILLE         OH     44813‐9373
HETSON, HELEN D              1422 MT EVERETT RD.                                                                             HUBBARD           OH     44425‐2705
HETSON, HELEN D              1422 MOUNT EVERETT RD                                                                           HUBBARD           OH     44425‐2705
HETTEMA, RANDAL A            30072 VALLEY GLEN ST                                                                            CASTAIC           CA     91384‐3248
HETTERSCHEIDT, ELIZABETH A   12200 IRENE                                                                                     SOUTHGATE         MI     48195‐1761
HETTERSCHEIDT, ELIZABETH A   7639 CARLTON DR                                                                                 YPSILANTI         MI     48197‐3170
HETTERSCHEIDT, RAMONA M      1140 AUSTIN AVE                                                                                 LINCOLN PARK      MI     48146‐2001
HETTERSCHEIDT, WILLIAM H     1140 AUSTIN AVE                                                                                 LINCOLN PARK      MI     48146‐2001
HETTESHEIMER, DAVID L        24 KEITH ST                                                                                     HANOVER           PA     18706‐3302
                                                                                                                             TOWNSHIP
HETTICH, EMMA J              615 BEECH ST APT 3                                                                              CHARLOTTE        MI      48813‐1024
HETTICH, MICHAEL T           PO BOX 49003                                                                                    DAYTON           OH      45449‐0003
HETTIE CORNETT               677 BARG SALT RUN RD                                                                            CINCINNATI       OH      45244‐1132
HETTIE KINGSBURY             116 SILVERDALE DR                                                                               ROCHESTER        NY      14609‐2940
HETTIE MARTIN                1850 WESLEYAN RD                                                                                DAYTON           OH      45406‐3945
HETTIE PINKARD               428 MIDWAY AVE                                                                                  PONTIAC          MI      48341‐3331
HETTIE THOMPSON              760 W HIGHWAY 70                                                                                EUBANK           KY      42567‐9502
HETTIE WARD                  2807 N LUTHERAN CHURCH                                                                          DAYTON           OH      45426‐4317
HETTINGA/DES MOINES          2123 NW 111TH ST                                                                                DES MOINES       IA      50325‐3755
HETTINGER, DENNIS L          16329 VENISON TRL                                                                               WOODBURN         IN      46797‐9576
HETTINGER, DENNIS W          325 E SANTEE HWY                                                                                CHARLOTTE        MI      48813‐8615
HETTINGER, FREDERICK C       7418 GREENBANK RD                                                                               BALTIMORE        MD      21220‐1118
HETTINGER, JAMES J           1774 W QUARRY                                                                                   LOGANSPORT       IN      46947‐6653
HETTINGER, JAMES R           PO BOX 13                                                                                       MARCELLUS        NY      13108‐0013
HETTINGER, JESSICA A         3242 HODGES RD                                                                                  DRYDEN           MI      48428‐9613
HETTINGER, LAWRENCE E        321 RENKER RD                                                                                   LANSING          MI      48917‐2839
HETTINGER, LESLEY J          919 N MAIN ST APT 7                                                                             CLAWSON          MI      48071‐1246
HETTINGER, LOA M             19 S MAIN ST                                                                                    JEFFERSONVILLE   OH      43128‐1062
HETTINGER, LOA M             19 SOUTH MAIN ST.                                                                               JEFFERSONVILLE   OH      43128‐3128
HETTINGER, ROBERT N          3292 S VANDECAR RD                                                                              MOUNT PLEASANT   MI      48858‐9017
HETTINGER, ULLA              29157 EAST ROSE STREET                                                                          ROSEVILLE        MI      48066
HETTINGER, ULLA              29157 EASTROSE ST                                                                               ROSEVILLE        MI      48066‐2080
HETTLER, DEBORAH S           1495 S WALDRON RD                                                                               CRYSTAL          MI      48818‐9748
HETTLER, EDWARD W            36418 MALIBU WAY                                                                                ZEPHYRHILLS      FL      33541‐2060
HETTLER, JAMES A             3507 S DEERFIELD AVE                                                                            LANSING          MI      48911
HETTLER, JEFFERY L           705 N SWEGLES ST                                                                                SAINT JOHNS      MI      48879‐1152
HETTLER, JEFFERY L.          705 N SWEGLES ST                                                                                SAINT JOHNS      MI      48879‐1152
HETTLER, KURT A              410 S OTTAWA ST                                                                                 SAINT JOHNS      MI      48879‐1822
HETTLER, MICHAEL S           1495 S WALDRON RD                                                                               CRYSTAL          MI      48818‐9748
HETTLINGER, FRANK L          10559 ROLLING SPRINGS DR                                                                        INDIANAPOLIS     IN      46234‐8911
HETTMANSPERGER, MARK S       1854 COUNTY ROAD 9                                                                              DELTA            OH      43515‐9442
HETTRICK, ROBERT M           830 N 4TH STREET                                                                                REDDING          PA      19601‐9601
HETTRICK, ROBERT M           830 N 4TH ST                                                                                    READING          PA      19601‐2521
HETTY KEATON                 13725 FELLRATH ST                                                                               TAYLOR           MI      48180‐4494
HETU AUTO ELECTRIC INC       860 BOUL DE L'ANGE‐GARDIEN                                            L'ASSOMPTION QC J5W 1T5
                                                                                                   CANADA
HETU, MICHAEL N              129 SPRING ST                                                                                   WOONSOCKET       RI      02895
HETU, NORMAND A              51 ORCHARD ST                                                                                   BELLINGHAM       MA      02019‐2505
HETZ, JOE E                  793 DEERWOOD DR                                                                                 DEFIANCE         OH      43512‐6741
HETZ, LARRY L                11471 GOLDEN EAGLE PL                                                                           BRYCEVILLE       FL      32009‐2524
HETZ, MARY B                 1405 E HATCH ST                                                                                 STURGIS          MI      49091‐1249
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Name                           Address1                            Address2                 Address3   Address4               City           State   Zip
HETZ, VERN M                   1701 1 MILE RD                                                                                 FULTON          MI     49052‐9612
HETZEL DYER                    3138 N PROSPECT RD                                                                             YPSILANTI       MI     48198‐9426
HETZEL JAMES                   HETZEL, JAMES                       30 E BUTLER AVE                                            AMBLER          PA     19002‐4514
HETZEL JAMES (663901)          BRAYTON PURCELL                     PO BOX 6169                                                NOVATO          CA     94948‐6169
HETZEL LAW OFFICE LLC TRUST    120 N MAIN ST STE 260                                                                          WEST BEND       WI     53095‐3371
HETZEL, BOBBIE J               14343 BRAY RD                                                                                  CLIO            MI     48420‐7929
HETZEL, BOBBIE J               14343 N BRAY RD                                                                                CLIO            MI     48420‐7929
HETZEL, CARL T                 PO BOX 132                          3678 CO RD 51                                              IBERIA          OH     43325‐0132
HETZEL, CRAIG A                8396 S CHICAGO RD APT 118                                                                      OAK CREEK       WI     53154‐3591
HETZEL, FRED M                 9776 SANDYPOINTE DR                                                                            IRA             MI     48023‐1879
HETZEL, FRED MICHAEL           9776 SANDYPOINTE DR                                                                            IRA             MI     48023‐1879
HETZEL, FREDERICK J            3241 E FRANCES RD                                                                              CLIO            MI     48420‐9760
HETZEL, FREDERICK L            322 PEBBLE TRL                                                                                 ALPHARETTA      GA     30009
HETZEL, GARY F                 ROUTE =1 BOX 344                                                                               PROCTORVILLE    OH     45669
HETZEL, JACK F                 1409 WOODLEY RD                                                                                DAYTON          OH     45403‐1631
HETZEL, JAMES                  KIMMEL & SILVERMAN                  30 E BUTLER AVE                                            AMBLER          PA     19002‐4514
HETZEL, JAMES                  BRAYTON PURCELL                     PO BOX 6169                                                NOVATO          CA     94948‐6169
HETZEL, JANET L                129 SCARLET OAK LN                                                                             OXFORD          MI     48371
HETZEL, LULA M                 1308 GOODRICH ROAD                                                                             CENTRALIA       WA     98531
HETZEL, MARY M                 6053 BIG ROCK DR                                                                               GRAND BLANC     MI     48439‐7993
HETZEL, MARY MARGARET          6053 BIG ROCK DR                                                                               GRAND BLANC     MI     48439‐7993
HETZEL, THOMAS R               6492 S 121ST ST                                                                                FRANKLIN        WI     53132‐1010
HETZEL, WARREN P               2806 SHIRLEY DR                                                                                TROY            MI     48085‐3971
HETZEL, WILFRED A              2308 WILLOW SPRINGS RD                                                                         KOKOMO          IN     46902‐4595
HETZER, BRADLEY S              13421 NICHOLS RD                                                                               MONTROSE        MI     48457‐9708
HETZER, DANNY W                2086 BYRNES DR                                                                                 CLIO            MI     48420‐9181
HETZER, FREDERICK L            2151 BYRNES DR                                                                                 CLIO            MI     48420‐9118
HETZER, GLORIA J               515 KINGSBERRY CIR                                                                             PITTSBURGH      PA     15234‐1067
HETZER, JAMES L                476 RANCH DR                                                                                   MUSKEGON        MI     49441‐4940
HETZER, JUDY A                 1769 N MASON RD                                                                                NASHVILLE       MI     49073‐9303
HETZER, JUDY ANN               1769 N MASON RD                                                                                NASHVILLE       MI     49073‐9303
HETZER, KENNETH R              505 HIGHLAND AVE                                                                               GROVE CITY      PA     16127‐1107
HETZER, MICHAEL A              2664 DARKE CT                                                                                  CINCINNATI      OH     45233‐4207
HETZER, RAYMOND D              8239 N BRAY RD                                                                                 MOUNT MORRIS    MI     48458‐8986
HETZER, RAYMOND DEAN           8239 NORTH BRAY ROAD                                                                           MOUNT MORRIS    MI     48458‐8986
HETZER, ROBERT W               8045 E MOUNT MORRIS RD                                                                         OTISVILLE       MI     48463‐9416
HETZER, WILLIAM V              12101 WILSON RD                                                                                MONTROSE        MI     48457‐9402
HETZLER JAMES                  25382 SEA BLUFFS DR                 UNIT 209                                                   DANA POINT      CA     92629‐2197
HETZLER, ERMA                  2450 WATKINS LAKE RD APT 113                                                                   WATERFORD       MI     48328‐1472
HETZLER, PHILLIP
HETZNER, GLORIA C              951 N 300 E                                                                                    KOKOMO          IN     46901‐5714
HETZNER, HELEN H               354 N FARGO DR                                                                                 RENSSELAER      IN     47978‐2769
HETZNER, HERBERT               C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                     EDWARDSVILLE    IL     62025
                               ROWLAND PC
HETZNER, JAMES E               3590 CALUMET DR                                                                                SAGINAW        MI      48603‐2516
HETZNER, JOHN P                951 N 300 E                                                                                    KOKOMO         IN      46901‐5714
HETZNER, MARGARET L            6774 E HOLLAND RD                                                                              SAGINAW        MI      48601‐9406
HEUBACH, RONALD                PORTER & MALOUF PA                  4670 MCWILLIE DR                                           JACKSON        MS      39206‐5621
HEUBEL MATERIAL HANDLING INC   6311 EQUITABLE RD                                                                              KANSAS CITY    MO      64120‐1332
HEUBEL MATERIAL HANDLING INC   13670 RIDER TRL N                                                                              EARTH CITY     MO      63045‐1530
HEUBERGER, ROBERT O            17149 SE 79TH MCLAWREN TER                                                                     THE VILLAGES   FL      32162‐8337
HEUBLEIN                       330 NEW PARK AVE                                                                               HARTFORD       CT      06106‐2966
HEUCHAN, CLAUDETTE P           1738 TIMBERLAND RD NE                                                                          ATLANTA        GA      30345‐4167
HEUCHERT, DONALD G             8911 FULMER RD                                                                                 MILLINGTON     MI      48746‐8708
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Name                      Address1                           Address2                      Address3     Address4                 City               State Zip
HEUCHERT, SUSAN P         440 VENADO DR                                                                                          SANTA BARBARA       CA 93111‐1546
HEUER PATENTANWALTE       DURRBERGSTR 20                                                                BERG 82335 GERMANY
HEUER, DANIEL L           1503 E MASON ST                                                                                        DANSVILLE          MI   48819‐9662
HEUER, DANIEL LEE         1503 E MASON ST                                                                                        DANSVILLE          MI   48819‐9662
HEUER, JOYCE M            4158 SNAKE ISLAND ROAD                                                                                 STURGEON BAY       WI   54235‐8427
HEUER, LAURANCE M         2022 CURTIS RD                                                                                         DANSVILLE          MI   48819‐9663
HEUER, MARK P             6729 HAZELETT RD                                                                                       FORT WAYNE         IN   46835‐9798
HEUER, MICHAEL R          211 W CASS ST                                                                                          SAINT JOHNS        MI   48879‐1806
HEUER, STEVEN G           6445 WAILEA DR                                                                                         GRAND BLANC        MI   48439‐9023
HEUER, THOMAS M           989 MIDPOINT DR                                                                                        O FALLON           MO   63366‐5909
HEUERMAN, NICOLA          345 MOHICAN ST                                                                                         LESTER             PA   19029‐1621
HEUERMANN, MARGARET F     10 N CALVERT ST STE 620                                                                                BALTIMORE          MD   21202‐1881
HEUERMANN, MARGARET F     C/O ARTHUR L DRAGER                THE EQUITABLE BUILDING                                              BALTIMORE          MD   21202
HEUETT, LEO WAYNE         BOONE ALEXANDRA                    205 LINDA DR                                                        DAINGERFIELD       TX   75638‐2107
HEUGEL JR, BENNIE B       8322 BAUERDALE AVE                                                                                     PARMA              OH   44129‐2406
HEUGEL, JUERGEN           EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR           PO BOX 200                            DETROIT            MI   48265‐2000

HEUGH, LAWRENCE S         5178 WESTMORELAND DR                                                                                   TROY               MI   48085‐3445
HEUGH, MARY C             229 BELVEDERE AVE APT 7                                                                                CHARLEVOIX         MI   49720‐1445
HEUGH, ROBERT G           5411 RIO GRANDE AVENUE                                                                                 MIDLAND            TX   79707‐9718
HEUKE THOMAS E (481790)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510
                                                             STREET, SUITE 600
HEUKE, THOMAS E           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
HEUKER, JEROME B          3159 BELL DR                                                                                           FAIRBORN           OH   45324‐2107
HEUKER, KATE K            3159 BELL DR                                                                                           FAIRBORN           OH   45324‐2107
HEUKER, ROBERT H          4610 E PERSHING AVE                                                                                    PHOENIX            AZ   85032‐6430
HEULAND GAMBILL           4262 ROBINSON VAIL RD                                                                                  FRANKLIN           OH   45005‐4745
HEULAND GAMBILL           4262 ROBINSON‐VAIL RD                                                                                  FRANKLIN           OH   45005‐4745
HEULE TOOL CORP           4722 INTERSTATE DR STE A                                                                               CINCINNATI         OH   45246‐1145
HEULE, CHARLES E          1614 ROSEDALE HEIGHTS AVE                                                                              BALTIMORE          MD   21237‐1307
HEULITT, CHARLES A        2321 HUNTINGTON DR                                                                                     LAKE ORION         MI   48360‐2270
HEUMANN, GERALD A         38738 SUMPTER DR                                                                                       STERLING HEIGHTS   MI   48310‐2920
HEUNG S KIM               705 DRESSLER LN                                                                                        ROCHESTER HILLS    MI   48307‐3354
HEUPEL, PEARL A           3353 CLEMENS DR                                                                                        SAINT CHARLES      MO   63301‐4400
HEUPEL, ROYAL D           57 WILDWOOD DR                                                                                         ROGERS             AR   72756‐9286
HEUR, JUN‐SUCK D          107 WHITETAIL CT                                                                                       TROY               MI   48085‐1579
HEURING, JOHN L           171 WELD ST                                                                                            DIXFIELD           ME   04224‐9523
HEUSEL, AMELIA M          559 58TH ST APT 1E                                                                                     BROOKLYN           NY   11220‐3863
HEUSEL, MARY K            604 APALACHICOLA RD                                                                                    VENICE             FL   34285‐1301
HEUSER EDWARD             33342 LYNX ST                                                                                          WESTLAND           MI   48185
HEUSER, EDWARD R          33242 LYNX ST                                                                                          WESTLAND           MI   48185‐9442
HEUSER, EDWARD ROBERT     33242 LYNX ST                                                                                          WESTLAND           MI   48185‐9442
HEUSER, RALPH E           292 MILLBROOK RD                                                                                       HEBER CITY         UT   84032‐3033
HEUSER, WILLIAM J         521 WEXFORD RD                                                                                         JANESVILLE         WI   53546‐1913
HEUSI, JAMES D            4212 N STATE ROUTE 66                                                                                  DEFIANCE           OH   43512‐9646
HEUSINGER, BARBARA A      10209 GELFAND PL NW                                                                                    ALBUQUERQUE        NM   87114‐4501
HEUSINGER, ROBERT J       35 JENNIE LN                                                                                           ROCHESTER          NY   14606‐5813
HEUSINGER, ROBERT J       35 JENNIE LANE                                                                                         ROCHESTER          NY   14606‐5813
HEUSS, DAVID B            915 LOHR RD                                                                                            MANSFIELD          OH   44903‐7539
HEUSS, DAVID M            22223 24TH AVE                                                                                         CASNOVIA           MI   49318‐9503
HEUSS, DAWN M             915 LOHR RD                                                                                            MANSFIELD          OH   44903‐7539
HEUSS, DAWN MARIE         915 LOHR RD                                                                                            MANSFIELD          OH   44903‐7539
HEUSS, JON M              7355 RICKETT                                                                                           WASHINGTON         MI   48094‐2181
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Name                       Address1                        Address2                         Address3    Address4               City               State   Zip
HEUSS, LORETTA R           1501 SEYMOUR AVE NW                                                                                 GRAND RAPIDS        MI     49504‐2690
HEUSS, MATTHEW A           3555 NOLEN DR                                                                                       INDIANAPOLIS        IN     46234‐1411
HEUSSNER, CARL E           W6384 ROE LN                                                                                        FORT ATKINSON       WI     53538‐9378
HEUSSNER, LEONARD P        2725 HARBOUR CT                                                                                     LAPEER              MI     48446‐4500
HEUSSNER, MARY K           W8844 LAKE LORRAINE RD                                                                              DELAVAN             WI     53115‐2500
HEUSSNER, TERRY G          W8844 LAKE LORRAINE RD                                                                              DELAVAN             WI     53115‐2500
HEUSTED, BARBARA J         1815 KINGSBURY DR                                                                                   LAPEER              MI     48446‐9630
HEUSTED, DALE E            9504 MAPLEWOOD CT                                                                                   DAVISON             MI     48423‐3500
HEUSTED, DONALD H          1815 KINGSBURY DR                                                                                   LAPEER              MI     48446‐9630
HEUSTED, DOUGLAS G         11302 LAKE RD                                                                                       OTISVILLE           MI     48463‐9799
HEUSTED, ERIC S            7236 WILSON RD                                                                                      OTISVILLE           MI     48463‐9426
HEUSTED, ERIC STEVEN       7236 WILSON RD                                                                                      OTISVILLE           MI     48463‐9426
HEUSTED, FREDRICK W        3464 SANDPIPER DR                                                                                   LAPEER              MI     48446‐9078
HEUSTED, JANET B           PO BOX 351                                                                                          RUTHER GLEN         VA     22546‐0351
HEUSTED, PHYLISS E         9605 SE 168TH ELDERBERRY PL                                                                         THE VILLAGES        FL     32162‐1852
HEUSTED, STACY L           3478 CRANDON DR                                                                                     DAVISON             MI     48423‐8588
HEUSTED, STEVEN D          11411 DODGE RD                                                                                      OTISVILLE           MI     48463‐9739
HEUSTED, WILLIAM E         9605 SE 168TH ELDERBERRY PL                                                                         THE VILLAGES        FL     32162‐1852
HEUSTON, KEVIN E           29 WOODFERN ST                                                                                      EDISON              NJ     08820‐1441
HEUSTON, WILLIAM C         201 SPRINGS DR                                                                                      LOUISVILLE          CO     80027‐3201
HEUTELE, MARIE E           208 SANDBURG PL                 C/O PATRICIA SASSI                                                  PINE BUSH           NY     12566‐6726
HEUTON, RICHARD E          143 SHALLOTTE AVE LOT 44                                                                            WINSTON SALEM       NC     27127‐9227
HEUVELMAN, HINDERKINA      C/O MARCIA DEJONGE              3901 WINDSOR HILL DR                                                HUDSONVILLE         MI     49426
HEUVELMAN, HINDERKINA      3901 WINDSOR HILL DR            C/O MARCIA DEJONGE                                                  HUDSONVILLE         MI     49426‐2911
HEUVELMAN, JACK C          8342 BAY GARDEN LN                                                                                  KNOXVILLE           TN     37938‐4594
HEVEL, DAVID J             3060 BALD EAGLE LAKE RD                                                                             ORTONVILLE          MI     48462‐8427
HEVEL, GEORGE W            3060 BALD EAGLE LAKE RD                                                                             ORTONVILLE          MI     48462‐8427
HEVEL, MICHAEL E           6921 CEMENT CITY ROAD                                                                               BROOKLYN            MI     49230‐8491
HEVENER RICHARD (658779)   BRAYTON PURCELL                 PO BOX 6169                                                         NOVATO              CA     94948‐6169
HEVENER RONALD (663292)    BRAYTON PURCELL                 PO BOX 6169                                                         NOVATO              CA     94948‐6169
HEVENER, RICHARD           BRAYTON PURCELL                 PO BOX 6169                                                         NOVATO              CA     94948‐6169
HEVENER, ROBERT E          22487 W 112TH TER                                                                                   OLATHE              KS     66061‐7137
HEVENER, RONALD            BRAYTON PURCELL                 PO BOX 6169                                                         NOVATO              CA     94948‐6169
HEVERAN, JAMIE M           11645 S MERRION LN                                                                                  MERRIONETTE PARK     IL    60803‐4249

HEVERLING HARRY (129338)   HUNTER & FEDULLO                2401 PENNSYLVANIA AVE STE 1C41                                      PHILADELPHIA        PA     19130‐7722
HEVERLING, HARRY           HUNTER & FEDULLO                THE PHILADELPHIA SUITE 1C‐41,                                       PHILADELPHIA        PA     19130
                                                           2401 PENNSYLVANIA AVENUE
HEVERLY I I, RICHARD F     7425 HIGHLAND AVE SW                                                                                WARREN             OH      44481‐8615
HEVERLY II, RICHARD F      7425 HIGHLAND AVE SW                                                                                WARREN             OH      44481‐8615
HEVERLY, BENJAMIN H        1468 WINGED FOOT DR                                                                                 BRUNSWICK          OH      44212‐6433
HEVERLY, DESA Z            1468 WINGED FOOT DR                                                                                 BRUNSWICK          OH      44212‐6433
HEVERLY, NORMAN R          301 POPLAR DR                                                                                       CROSSVILLE         TN      38571‐0227
HEVERLY, RAY E             135 HERITAGE DR                                                                                     BELOIT             OH      44609‐9605
HEVERLY, RONALD C          6715 HELMICK DR SW                                                                                  WARREN             OH      44481‐9758
HEVERON, CAROL M           20 GOEBEL PL                                                                                        ROCHESTER          NY      14620
HEVERON, NORMAN C          2098 ECK RD                                                                                         ATTICA             NY      14011‐9532
HEVEY, BETTY J             5815 AMERICAN PARKWAY APT 227                                                                       MADISON            WI      53718‐8351
HEVEY, RAYMOND L           2150 W. RANDOLPH ST.            BUILDING 2                       APT. 124F                          SAINT CHARLES      MO      63301
HEVEZI, LOUIS W            4698 S CROSS RD 250 E                                                                               PERU               IN      46970
HEVRDEJS, ELAINE E         8400 VAMO RD UNIT 706                                                                               SARASOTA           FL      34231‐7853
HEW SANDRA                 508 FLICKER AVE                                                                                     DAVIS              CA      95616‐0178
HEW, JOSEPH S              24349 ROMA RIDGE DR                                                                                 NOVI               MI      48374‐2963
HEWARD, PATRICIA K         5194 SEYMOUR RD                                                                                     SWARTZ CREEK       MI      48473‐1055
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Name                        Address1                        Address2               Address3      Address4                 City               State   Zip
HEWARD, ROBERT              WISE & JULIAN                   156 N MAIN ST STOP 1                                          EDWARDSVILLE         IL    62025‐1972
HEWATT, RANDALL G           1680 KNIGHT CIR                                                                               LOGANVILLE          GA     30052‐2552
HEWATT, RANDALL H           2909 N SHARON CHURCH RD                                                                       LOGANVILLE          GA     30052‐5272
HEWELL, BETTY M             30 MILLWOOD DRIVE                                                                             COVINGTON           GA     30016
HEWELT JAMES                305 REYMONT RD                                                                                WATERFORD           MI     48327‐2864
HEWELT, BEVERLY A           20608 N 268TH DR                                                                              BUCKEYE             AZ     85396‐2294
HEWELT, JAMES M             1325 FORD RD                                                                                  WHITE LAKE          MI     48383‐2544
HEWELT, JAMES M             305 REYMONT RD                                                                                WATERFORD           MI     48327‐2864
HEWELT, RONALD A            20608 N 268TH DR                                                                              BUCKEYE             AZ     85396‐2294
HEWEN GAN                   23685 LYON RIDGE DR                                                                           SOUTH LYON          MI     48178‐8226
HEWER, NORMA J              OCALA FOREST CAMP GR #85                                                                      UMATILLA            FL     32784‐9404
HEWES, GARY L               RTE 2 BOX 216                                                                                 WATTS               OK     74964‐9402
HEWES, GARY L               1032 S HIGHWAY 59                                                                             WATTS               OK     74964‐5057
HEWES, JACQUELYN P          2221 S PRAIRIE AVE LOT 137                                                                    PUEBLO              CO     81005‐3821
HEWETSON, JUNE J            315 EASTWOOD DR                                                                               BEDFORD             IN     47421‐3913
HEWETT AUTO SERVICE         961 CAMOSUN CRES                                                     KAMLOOPS BC V2C 6G1
                                                                                                 CANADA
HEWETT I I I, LOUIS E       6 ROLLING DR                                                                                  NEWARK             DE      19713‐2020
HEWETT III, LOUIS E         6 ROLLING DR                                                                                  NEWARK             DE      19713‐2020
HEWETT JOANNA               13653 LAKE BLVD                                                                               WINTER GARDEN      FL      34787‐9635
HEWETT, CHRISTINE M         625 CRANHILL DRIVE                                                                            WILMINGTON         DE      19808‐2370
HEWETT, CLARENCE H          3486 HILDON CIR                                                                               CHAMBLEE           GA      30341‐2605
HEWETT, DAVID K             215 N CENTER ST                                                                               ROYAL OAK          MI      48067‐1786
HEWETT, DAVID K.D.          215 N CENTER ST                                                                               ROYAL OAK          MI      48067‐1786
HEWETT, DOUGLAS G           888 HICKORY GAP TRL                                                                           DALLAS             GA      30157‐0538
HEWETT, JACLYN              16925 HIERBA DR APT 441                                                                       SAN DIEGO          CA      92128‐2666
HEWETT, JOAN A              1301 NORTH HARRISON ST. #1201                                                                 WILMINGTON         DE      19806
HEWETT, JOAN A              1301 N HARRISON ST APT 1201                                                                   WILMINGTON         DE      19806‐3170
HEWETT, RICHARD G           148 OAK ST                                                                                    UXBRIDGE           MA      01569‐1224
HEWETT, ROBIN G             2491 HONEY POT LN                                                                             MARIANNA           FL      32446‐2500
HEWETT, VERNIE E            760 LAND RD                                                                                   HENRIETTA          TX      76365
HEWETTE HENRY               1115 18TH ST W                                                                                BILLINGS           MT      59102‐4030
HEWGLEY SAMANTHA            HEWGLEY, SAMANTHA               30928 FORD RD                                                 GARDEN CITY        MI      48135‐1803
HEWGLEY, FARRELL L          2001 MUCKLE BRANCH RD                                                                         ETHRIDGE           TN      38456‐7012
HEWGLEY, MARK R             4507 SASHABAW RD                                                                              WATERFORD          MI      48329‐1963
HEWGLEY, PAULINE G          24828 VERMETTE RD                                                                             PLAINFIELD         IL      60585
HEWING, MAE H               1911 LOURDES CT                                                                               LANSING            MI      48910‐0618
HEWINS, JAMES A             33523 MULVEY                                                                                  FRASER             MI      48026‐2061
HEWINS, MICHAEL A           345 BENNETT ST                                                                                WRENTHAM           MA      02093‐1421
HEWISON, ELAINE F           4119 SNOOK RD                                                                                 METAMORA           MI      48455‐9630
HEWISON, ELLA M             PO BOX 154                                                                                    HADLEY             MI      48440‐0154
HEWIT, JACK J               5138 PARK TRL                                                                                 NORTH RIDGEVILLE   OH      44039‐1061

HEWIT, JEFFREY A            3430 JERUSALEM RD                                                                             VERMILION          OH      44089‐2644
HEWITSON, GARY D            273 LOCK ST                                                                                   LOCKPORT           NY      14094‐2255
HEWITT                      JILL SCHERMERHORN               PO BOX 95135                                                  CHICAGO            IL      60694‐5135
HEWITT & SALVATORE PLLC     RE: WILLIAM WILLIS              109 E MAIN ST          STE 200                                BECKLEY            WV      25801
HEWITT ARTHUR SR (471049)   MOTLEY RICE                     PO BOX 1792                                                   MT PLEASANT        SC      29465‐1792
HEWITT ASSOC/CHICAGO        PO BOX 95135                                                                                  CHICAGO            IL      60694‐5135
HEWITT ASSOCIATES           100 HALF DAY RD                                                                               LINCOLNSHIRE       IL      60069‐3258
HEWITT ASSOCIATES INC       100 HALF DAY RD                                                                               LINCOLNSHIRE       IL      60069‐3258
HEWITT ASSOCIATES LLC
HEWITT ASSOCIATES LLC       100 HALF DAY RD                                                                               LINCOLNSHIRE        IL     60069‐3258
HEWITT BATSON               2161 LAUREL HILL RD                                                                           EDISTO ISLAND       SC     29438‐6306
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Name                               Address1                        Address2                        Address3                    Address4                City                 State Zip
HEWITT CARTAGE LTD                 429 MANITOBA RD                                                                             WOODSTOCK CANADA ON N4S
                                                                                                                               8N7 CANADA
HEWITT CHATMAN                     511 ALGIE NEELY RD                                                                                                  DENMARK              TN    38391‐1909
HEWITT DEBORAH                     HEWITT, DEBORAH BETTIS          1801 E 9TH ST STE 1710                                                              CLEVELAND            OH    44114‐3198
HEWITT DELORES                     HEWITT, DELORES                 1930 E MARLTON PIKE SUITE Q29                                                       CHERRY HILL          NJ    08003
HEWITT DELORES                     GIORDANO, JOSEPH                KIMMEL & SILVERMAN PC          1930 E MARLTON PIKE SUITE                            CHERRY HILL          NJ    08003
                                                                                                  Q29
HEWITT EQUIPEMENT LTEE             C/O ROBINSON SHEPPARD SHAPIRO   ATTN: EMILE GERMAIN‐VILLENEUVE 800, PLACE VICTORIA, #4600   MONTREAL, QUEBEC H4Z 1H6

HEWITT INDUSTRIES                  BRUCE DANKMYER                  5492 BOLSA AVE.                                                                        KENILWORTH         NJ   07033
HEWITT INDUSTRIES                  BRUCE DANKMYER                  5492 BOLSA AVE                                                                         HUNTINGTON         CA   92649‐1021
                                                                                                                                                          BEACH
HEWITT INDUSTRIES OF LOS ANGELES   BRUCE DANKMYER                  5492 BOLSA AVE.                                                                        KENILWORTH         NJ   07033
HEWITT INDUSTRIES OF LOS ANGELES   5492 BOLSA AVE                                                                                                         HUNTINGTON         CA   92649‐1021
                                                                                                                                                          BEACH
HEWITT JR, CLIFFORD G              3125 LOOP CT                                                                                                           MIDDLEVILLE       MI    49333‐8179
HEWITT JR, LAWRENCE D              883 GENERAL MOTORS RD                                                                                                  MILFORD           MI    48381‐2223
HEWITT MICHAEL T                   2 RIVERVIEW PL                                                                                                         RICHWOOD          WV    26261‐1265
HEWITT MOTORS                      ATTN MIKE HEWITT                PO CHECK 1735                                                                          CRAIGSVILLE       WV    26205
HEWITT SR, WALTER R                LYNNE KIZIS ESQ                 WILENTZ GOLDMAN AND SPITZER     90 WOODBRIDGE CENTER DR                                WOODBRIDGE        NJ    07095

HEWITT WALTER R SR (ESTATE OF)     WILENTZ GOLDMAN & SPITZER       PO BOX 10                                                                              WOODBRIDGE         NJ   07095‐0958
(634209)
HEWITT, ALBERT D                   3690 LAURIA RD                                                                                                         BAY CITY          MI    48706‐1131
HEWITT, ALICE K                    6296 WILLIAMS LAKE RD                                                                                                  WATERFORD         MI    48329‐3061
HEWITT, ARTHUR                     MOTLEY RICE                     PO BOX 1792                                                                            MT PLEASANT       SC    29465‐1792
HEWITT, ARTHUR C                   215 N POWER RD UNIT 335                                                                                                MESA              AZ    85205‐8448
HEWITT, BARBARA                    2929 VISTA LN                                                                                                          NASHVILLE         TN    37207‐3141
HEWITT, BELVA J                    220 LEASIA ST                                                                                                          WILLIAMSTON       MI    48895‐1422
HEWITT, BONNIE M                   1364 S SANDSTONE CREEK RD                                                                                              JACKSON           MI    49201
HEWITT, BRIAN D                    9261 DUFFIELD RD                                                                                                       GAINES            MI    48436‐9637
HEWITT, BRIAN DAVEY                9261 DUFFIELD RD                                                                                                       GAINES            MI    48436‐9637
HEWITT, BRITTANY M                 4711 BASS RD                                                                                                           FORT WAYNE        IN    46808‐2952
HEWITT, BYRON E                    4406 N MICHIGAN AVE                                                                                                    SAGINAW           MI    48604‐1651
HEWITT, CAROL J                    26948 HICKORY BLVD                                                                                                     BONITA SPRINGS    FL    34134‐8305
HEWITT, CAROLYN J                  628 S APPERSON WAY                                                                                                     KOKOMO            IN    46901‐5433
HEWITT, CECELIA                    1767 PALMER RD                                                                                                         STANDISH          MI    48658‐9742
HEWITT, CHARLES                    2384 GRANDVIEW RD                                                                                                      LAKE MILTON       OH    44429‐9773
HEWITT, CHARLES W                  605 S 10TH ST                                                                                                          GAS CITY          IN    46933‐2130
HEWITT, CHERYL R                   2250 PENNY LN                                                                                                          AUSTINTOWN        OH    44515‐4935
HEWITT, CLARE W                    28717 100TH ST                                                                                                         NEW AUBURN        WI    54757‐8004
HEWITT, CLARK D                    2167 LAKEVIEW DR                APT 77                                                                                 YPSILANTI         MI    48198‐6770
HEWITT, CLARK DEAN                 APT 77                          2167 LAKEVIEW DRIVE                                                                    YPSILANTI         MI    48198‐6770
HEWITT, CRAIG D                    2322 ULA DR                                                                                                            CLIO              MI    48420‐1066
HEWITT, DARLENE L                  41 SOUTHAMPTON DR                                                                                                      ROCHESTER         NY    14616‐5205
HEWITT, DAVID                      GUY WILLIAM S                   PO BOX 509                                                                             MCCOMB            MS    39649‐0509
HEWITT, DAVID G                    5116 BUNKER RD                                                                                                         MASON             MI    48854‐9732
HEWITT, DAVID L                    3317 PEACE RIVER DR                                                                                                    PT CHARLOTTE      FL    33983‐3452
HEWITT, DAVID L                    605 WESTON RD                                                                                                          LEHIGH ACRES      FL    33936‐7543
HEWITT, DENISE A                   11553 173RD ST                                                                                                         ADDISLEIGH PARK   NY    11434‐1845
HEWITT, DONALD A                   12417 SILVER CREEK CT                                                                                                  CLIO              MI    48420‐8872
HEWITT, DONALD G                   2146 MONROE RD                                                                                                         TIPTON            MI    49287‐9503
HEWITT, DORIS M                    432 SCOTTSVILLE BOULEVARD                                                                                              JACKSON           CA    95642‐2682
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Name                 Address1                         Address2           Address3        Address4               City              State Zip
HEWITT, DOROTHY      20 FOREST AVE                                                                              PORT JEFFERSON     NY 11776‐1804
                                                                                                                STATION
HEWITT, DOUGLAS G    145 CHRISTIAN AVE                                                                          ROCHESTER         NY   14615‐2224
HEWITT, EARL A       6630 CLOVERTON DR                                                                          WATERFORD         MI   48329‐1202
HEWITT, EDWARD G     SIMMONS FIRM                     PO BOX 521                                                EAST ALTON        IL   62024‐0519
HEWITT, ERIC D       1868 INDIANWOOD TRL                                                                        WEST BRANCH       MI   48661‐9731
HEWITT, GEORGIA D    1054 N US 23                                                                               EAST TAWAS        MI   48730‐9439
HEWITT, GERALD E     32293 BARTON ST                                                                            GARDEN CITY       MI   48135‐1292
HEWITT, GERALD W     34639 BEACONSFIELD ST                                                                      CLINTON TWP       MI   48035‐3311
HEWITT, GLEN         16253 MOBERLY RD                                                                           SARDINIA          OH   45171‐8456
HEWITT, HAZEL S      282 CROSS ST                                                                               MIDDLETOWN        CT   06457‐3146
HEWITT, JAMES R      2728 DEL MAR DR                                                                            OKEMOS            MI   48864‐2402
HEWITT, JAMES S      730 WINCHELL ST SE                                                                         GRAND RAPIDS      MI   49507‐3246
HEWITT, JAMES W      406 CRAMER AVE                                                                             BEVERLY           NJ   08010‐1004
HEWITT, JEFFERY A    6176 EASTMORELAND DR                                                                       BURTON            MI   48509‐1655
HEWITT, JEFFERY D    3959 WILLOUGHBY RD                                                                         HOLT              MI   48842‐9410
HEWITT, JOAN M       13 GEORGIA COURT SHERWOOD PARK                                                             RENSSELAER        NY   12144
HEWITT, JOHN         PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON           MS   39206‐5621
HEWITT, JOHN G       5581 E ESMOND RD                                                                           HALE              MI   48739‐9031
HEWITT, JOHN W       4387 THORNAPPLE CIR                                                                        BURTON            MI   48509‐1220
HEWITT, JOHN W       8529 S 99TH CIR                                                                            LA VISTA          NE   68128‐7008
HEWITT, JOHN W       170 HIGH ST                                                                                PONTIAC           MI   48342‐1119
HEWITT, JOHNNY O     2809 MONTICELLO LN                                                                         SANDUSKY          OH   44870‐5919
HEWITT, JOSEPH R     47573 TORRINGTON DR N                                                                      CANTON            MI   48188
HEWITT, JOYCE        2384 GRANDVIEW ROAD                                                                        LAKE MILTON       OH   44429‐9773
HEWITT, JOYCE E      28717 100TH ST                                                                             NEW AUBURN        WI   54757‐8004
HEWITT, JUDITH A     1870 EASTWOOD CT                                                                           SAGINAW           MI   48601‐9789
HEWITT, JUNE M       3275 26TH AVE EAST               LOT 97                                                    BRADENTON         FL   34208
HEWITT, KATHLEEN M   P O BOX 574                                                                                MONTROSE          MI   48457‐0574
HEWITT, KATHLEEN M   PO BOX 574                                                                                 MONTROSE          MI   48457‐0574
HEWITT, KENNETH E    13260 CANOPY DR                                                                            STERLING HTS      MI   48313‐1192
HEWITT, KENNETH L    5336 N CLARK RD                                                                            WOODLAND          MI   48897‐9711
HEWITT, KENNETH M    4548 E SHORE DR                                                                            CALEDONIA         MI   49316‐9617
HEWITT, LARRY C      6228 SHREVE ST                                                                             LANSING           MI   48911
HEWITT, LAWRENCE N   2786 E EUCLID AVE                                                                          CENTENNIAL        CO   80121‐2904
HEWITT, LYLE S       3253 PARKWOOD LN                                                                           NIAGARA FALLS     NY   14304‐1320
HEWITT, MARCIA E     1552 NORTH RD                                                                              PRESCOTT          MI   48756‐9207
HEWITT, MARIE A      1119 WESTMORELAND                                                                          LANSING           MI   48915‐2166
HEWITT, MARY F.      11635 S 700 W 35                                                                           MARION            IN   46952‐9505
HEWITT, MARY P       3972 BELLWOOD DR SE                                                                        WARREN            OH   44484‐2943
HEWITT, MELODY G     360 CARTER ST                                                                              RUSSIAVILLE       IN   46979
HEWITT, MERLE
HEWITT, MICHAEL C    110 CAPITAL RD                                                                             HOUGHTON LAKE     MI   48629
HEWITT, MILDRED L    883 GENERAL MOTORS RD                                                                      MILFORD           MI   48381‐2223
HEWITT, PATRICIA     4315 MAGNOLIA OAKS DR                                                                      PEARLAND          TX   77584‐1707
HEWITT, PATRICK M    548 HARDING ST                                                                             PLYMOUTH          MI   48170‐1938
HEWITT, PHILIP S     6638 N 50 E                                                                                FORTVILLE         IN   46040‐9704
HEWITT, PLEAMON E    750 W. 300 S.                                                                              RUSSIAVILLE       IN   46979
HEWITT, RALPH C      2901 PINE RUN RD APT 101                                                                   NAPLES            FL   34109
HEWITT, RAY A        PO BOX 13607                                                                               FLINT             MI   48501‐3607
HEWITT, RAYMOND F    5996 ANGLERS DR                                                                            ORTONVILLE        MI   48462‐9507
HEWITT, RAYMOND R    7406 JENNINGS RD                                                                           SWARTZ CREEK      MI   48473‐8865
HEWITT, RENATE J     47380 HARRY ST                                                                             SHELBY TOWNSHIP   MI   48317‐3426
HEWITT, ROBERT       2041 ELLERY AVE                                                                            FORT LEE          NJ   07024‐2905
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Name                          Address1                       Address2                       Address3   Address4                 City               State   Zip
HEWITT, RUSSELL A             5496 EARLIGLOW LN                                                                                 HASLETT             MI     48840‐9601
HEWITT, SARAH E               112 CAPITAL RD                                                                                    HOUGHTON LAKE       MI     48629‐9609
HEWITT, SHIRLEY A             7739 W TOWPATH RD                                                                                 BURNETTSVILLE       IN     47926‐8101
HEWITT, SHIRLEY F             116 OHIO AVE                                                                                      NILES               OH     44446‐1123
HEWITT, SHIRLEY F             116 OHIO AVENUE                                                                                   NILES               OH     44446‐1123
HEWITT, SILVER J              3213 KIRKWOOD LN                                                                                  FLINT               MI     48504‐3819
HEWITT, STEPHEN L             PO BOX 164                                                                                        OLIVET              MI     49076‐0164
HEWITT, STEVEN R              5319 N STATE RD                                                                                   DAVISON             MI     48423‐8595
HEWITT, VIRGINIA L            1418 DESOTO AVE                                                                                   YPSILANTI           MI     48198‐6223
HEWITT, WALTER R              WILENTZ GOLDMAN & SPITZER      PO BOX 10                                                          WOODBRIDGE          NJ     07095‐0958
HEWITT, WAYNE H               1081 WILKINSON RD                                                                                 LANTANA             FL     33462‐5959
HEWITT, WILLA M               504 FITZNER DR                                                                                    DAVISON             MI     48423‐1952
HEWITT, WILLA M               504 FITZNER                                                                                       DAVISON             MI     48423‐1952
HEWITT, WILLIAM A             3165 S M‐43 HWY                                                                                   HASTINGS            MI     49058
HEWITT, WILLIAM R             5700 COACH DR W APT D                                                                             KETTERING           OH     45440‐2743
HEWITT‐SCHMOLL, MARION R      284 GARDEN LN                                                                                     HAINES CITY         FL     33844‐8911
HEWITT‐SOLOMON, JOANNE        6914 OAK MANOR DR                                                                                 LIBERTY TOWNSHIP    OH     45044‐9093

HEWKO, KATHRYN M              492 SHADYDALE DR.                                                                                 CANFIELD           OH      44406‐9625
HEWKO, LUBOMYR O              6832 INTERMEZZO DR                                                                                CLARKSTON          MI      48348‐4857
HEWLETT JR, HARDIN G          613 HILLSBORO RD APT C21                                                                          FRANKLIN           TN      37064‐4243
HEWLETT JR, THOMAS D          1108 FOREST CIRCLE DR                                                                             CORBIN             KY      40701‐2323
HEWLETT PAC/ATLANTA           PO BOX 105005                                                                                     ATLANTA            GA      30348‐5005
HEWLETT PAC/ENGLWD            PO BOX 4026                                                                                       ENGLEWOOD          CO      80155‐4026
HEWLETT PAC/NOVI              39550 ORCHARD HILL PL                                                                             NOVI               MI      48375‐5329
HEWLETT PAC/NSHVILL           44 VANTAGE WAY                 SUITE 150                                                          NASHVILLE          TN      37228
HEWLETT PAC/ROSEVILL          PO BOX 1145                                                                                       ROSEVILLE          CA      95678‐8145
HEWLETT PACK/OMAHA            10810 FARNAM DR                C4C                                                                OMAHA              NE      68154‐3237
HEWLETT PACKARD               PO BOX 101149                                                                                     ATLANTA            GA      30392‐1149
HEWLETT PACKARD               24 INVERNESS PLACE EAST                                                                           ENGLEWOOD          CO      80112
HEWLETT PACKARD               PO BOX 4184                                                                                       ENGLEWOOD          CO      80155
HEWLETT PACKARD (CANADA) CO   101‐5150 SPECTRUM WAY                                                    MISSISSAUGA ON L4W 5G1
                                                                                                       CANADA
HEWLETT PACKARD CANADA LTD
HEWLETT PACKARD CANADA LTD    550 SOUTH HOPE ST., 23 FLOOR                                                                      LOS ANGELES         CA     90071
HEWLETT PACKARD CO            8050 FOOTHILLS BLVD            PO BOX 1145                                                        ROSEVILLE           CA     95747‐6502
HEWLETT PACKARD CO            ATTN: JENNIFER NASSIRI         550 SOUTH HOPE ST., 23 FLOOR                                       LOS ANGELES         CA     90071
HEWLETT PACKARD CO            JENNIFER NASSIRI               550 SOUTH HOPE ST., 23 FLOOR                                       LOS ANGELES         CA     90071
HEWLETT PACKARD CO
HEWLETT PACKARD CO            20 PERIMETER SUMMIT BLVD NE                                                                       ATLANTA             GA     30319‐1416
HEWLETT PACKARD CO            3000 HANOVER ST                                                                                   PALO ALTO           CA     94304‐1112
HEWLETT PACKARD CO            3000 HANOVER ST                MS‐20BQ                                                            PALO ALTO           CA     94304‐1112
HEWLETT PACKARD CO            3000 HANOVER ST                PO BOX 10301                                                       PALO ALTO           CA     94304‐1112
HEWLETT PACKARD CO            420 MOUNTAIN AVE               PO BOX 6                                                           NEW PROVIDENCE      NJ     07974‐2736
HEWLETT PACKARD CO            8000 FOOTHILLS BLVD            PO BOX 1145                                                        ROSEVILLE           CA     95747
HEWLETT PACKARD CO            8000‐8020 FOOTHILLS BLVD                                                                          ROSEVILLE           CA     95747
HEWLETT PACKARD CO            HP LEGAL                       3000 HANOVER ST                                                    PALO ALTO           CA     94304‐1112
HEWLETT PACKARD CO            MAURY NICHOLS                  20000 VICTOR PKWY STE 200                                          LIVONIA             MI     48152‐7028
HEWLETT PACKARD CO            PO BOX 402575                                                                                     ATLANTA             GA     30384‐2575
HEWLETT PACKARD CO            TRACY A SPARKS                 20000 VICTOR PKWY STE 200                                          LIVONIA             MI     48152‐7028
HEWLETT PACKARD CO            10810 FARNAM DR                                                                                   OMAHA               NE     68154‐3237
HEWLETT PACKARD CO            24 INVERNESS PLACE EAST                                                                           ENGLEWOOD           CO     80112
HEWLETT PACKARD CO            27755 STANSBURY BLVD STE 300                                                                      FARMINGTON HILLS    MI     48334‐3861
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Name                                 Address1                             Address2                      Address3     Address4                 City               State Zip
HEWLETT PACKARD CO                   5301 STEVENS CREEK BLVD                                                                                  SANTA CLARA         CA 95051‐7201
HEWLETT PACKARD CO                   LARRY VAN CLEAVE                     20000 VICTOR PKWY STE 200                                           LIVONIA             MI 48152‐7028
HEWLETT PACKARD CO                   101‐5150 SPECTRUM WAY                                                           MISSISSAUGA ON L4W 5G1
                                                                                                                     CANADA
HEWLETT PACKARD CO                   LARRY VAN CLEAVE                     27755 STANSBURY BLVD # 300                                          FARMINGTON HLS     MI    48334‐3861
HEWLETT PACKARD CO                   MAURY NICHOLS                        27755 STANSBURY BLVD # 300                                          FARMINGTON HLS     MI    48334‐3861
HEWLETT PACKARD CO                   TRACY A SPARKS                       27755 STANSBURY BLVD # 300                                          FARMINGTN HLS      MI    48334‐3861
HEWLETT PACKARD CO                   PO BOX 60000                         FILE 72849                                                          SAN FRANCISCO      CA    94160‐0001
HEWLETT PACKARD CO INC               8000 FOOTHILLS BLVD                                                                                      ROSEVILLE          CA    95747
HEWLETT PACKARD COMPANY              101‐5150 SPECTRUM WAY                                                           MISSISSAUGA ON L4W 5G1
                                                                                                                     CANADA
HEWLETT PACKARD COMPANY              3000 HANOVER ST                                                                                          PALO ALTO          CA    94304‐1112
HEWLETT PACKARD COMPANY              5301 STEVENS CREEK BLVD                                                                                  SANTA CLARA        CA    95051‐7201
HEWLETT PACKARD COMPANY              5555 WINDWARD PARKWAY                                                                                    ALPHARETTA         GA    30004‐3895
HEWLETT PACKARD COMPANY              HEWLETT PACKARD COMPANY              8000 FOOTHILLS BLVD MS 5510                                         ROSEVILLE          CA    95747
HEWLETT PACKARD FINANCIAL SERVICES   EDI KRAMER NORM WATKINS              420 MOUNTAIN AVE              P.O. BOX 6                            NEW PROVIDENCE     NJ    07974‐2736

HEWLETT PACKARD FINANCIAL SERVICES   FMLY HEWLETT‐PACKARD CANADA CO       5150 SPECTRUM WAY                          MISSISSAUGA CANADA ON
CANADA COMPANY B9220                                                                                                 L4W 5G1 CANADA
HEWLETT PACKARD FINANCIAL SERVICES   PO BOX 9100 STATION F                                                           TORONTO CANADA ON M4Y
CANADA COMPANY B9220                                                                                                 3A5 CANADA
HEWLETT PACKARD FINANCIAL SERVICES   420 MOUNTAIN AVENUE                                                                                      MURRAY HILL         NJ   07974
COMPANY
HEWLETT PACKARD FINANCIAL SERVICES   ATTN: CORPORATE OFFICER/AUTHORIZED   420 MOUNTAIN AVE                                                    NEW PROVIDENCE      NJ   07974‐2736
COMPANY                              AGENT
HEWLETT PACKARD FINANCIAL SVCS       420 MOUNTAIN AVE                     PO BOX 6                                                            NEW PROVIDENCE     NJ    07974‐2736
HEWLETT PACKARD FINANCIAL SVCS       PO BOX 402575                                                                                            ATLANTA            GA    30384‐2575
HEWLETT, LEROY                       381 OAK AVE                                                                                              MUSKEGON           MI    49442‐3213
HEWLETT, LUCILLE                     6258 US HGWY 11 LOT 35                                                                                   CANTON             NY    13617‐3929
HEWLETT, LUCILLE                     6258 US HIGHWAY 11 LOT 35                                                                                CANTON             NY    13617‐3929
HEWLETT, REBECCA C                   401 LIGHTHOUSE LN                                                                                        HORTON             MI    49246‐9692
HEWLETT, ROGER G                     1715 RIVER RD APT 19                                                                                     SAINT CLAIR        MI    48079‐3547
HEWLETT, TERRY M                     514 PHAR LAP LN                                                                                          BAHAMA             NC    27503‐9660
HEWLETT‐PACARD FINANCIAL SYSTEMS
PAYMENT PROCESSING AGREEMENT

HEWLETT‐PACKARD                      3000 HANOVER ST                                                                                          PALO ALTO          CA    94304‐1112
HEWLETT‐PACKARD                      HP LEGAL                             3000 HANOVER ST                                                     PALO ALTO          CA    94304‐1112
HEWLETT‐PACKARD                      MAURY NICHOLS                        27755 STANSBURY BLVD          #300                                  FARMINGTON HLS     MI    48334‐3851
HEWLETT‐PACKARD                      TRACY A SPARKS                       27755 STANSBURY BLVD          #300                                  FARMINGTON HLS     MI    48334‐3861
HEWLETT‐PACKARD                      MARK REINKE                          18110 SE 34TH ST                                                    VANCOUVER          WA    98683‐9497
HEWLETT‐PACKARD (PAGE 2 OF           MAURY NICHOLS                        27755 STANSBURY BLVD          # 300                                 FARMINGTN HLS      MI    48334‐3861
AGREEMENT,à)
HEWLETT‐PACKARD (PAGE 2 OF           MAURY NICHOLS                        2775 STANSBURY BLVD #300                                            FARMINGTON HILL    MI    48334‐3861
AGREEMENT,à)
HEWLETT‐PACKARD CO                   8000‐8020 FOOTHILLS BLVD                                                                                 ROSEVILLE          CA    95747
HEWLETT‐PACKARD CO                   8000 FOOTHILLS BLVD                  PO BOX 1145                                                         ROSEVILLE          CA    95747
HEWLETT‐PACKARD CO                   11911 N MERIDIAN ST                                                                                      CARMEL             IN    46032
HEWLETT‐PACKARD CO                   20 PERIMETER SUMMIT BLVD NE                                                                              ATLANTA            GA    30319‐1416
HEWLETT‐PACKARD CO                   10810 FARNAM DR                                                                                          OMAHA              NE    68154‐3237
HEWLETT‐PACKARD CO INC               27755 STANSBURY BLVD STE 300                                                                             FARMINGTON HILLS   MI    48334‐3861

HEWLETT‐PACKARD COMPANY              3000 HANOVER ST                                                                                          PALO ALTO          CA    94304‐1112
HEWLETT‐PACKARD COMPANY              3000 HANOVER ST                      MS‐20BQ                                                             PALO ALTO          CA    94304‐1112
                                     09-50026-mg            Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
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Name                                 Address1                             Address2                     Address3                    Address4                   City               State   Zip
HEWLETT‐PACKARD COMPANY              LARRY VAN CLEAVE                     27755 STANSBURY BLVD # 300                                                          FARMINGTON HLS      MI     48334‐3861
HEWLETT‐PACKARD COMPANY              COLLECIONS                           13207 COLLECTION CENTER DR                                                          CHICAGO              IL    60693‐0132
HEWLETT‐PACKARD COMPANY              PO BOX 402106                                                                                                            ATLANTA             GA     30384‐2106
HEWLETT‐PACKARD COMPANY              ATTN: CORPORATE OFFICER/AUTHORIZED   3000 HANOVER ST                                                                     PALO ALTO           CA     94304‐1185
                                     AGENT
HEWLETT‐PACKARD COMPANY LP           ATT: RAMONA NEAL, SENIOR COUNSEL     11311 CHINDEN BOULEVARD      MAIL STOP 314                                          BOISE               ID     83714
HEWLETT‐PACKARD CORPORATION          HP LEGAL                             3000 HANOVER ST                                                                     PALO ALTO           CA     94304‐1112
HEWLETT‐PACKARD CORPORATION          CHIEF CONTRACTING OFFICER            200 RENAISSANCE CTR                                                                 DETROIT             MI     48265‐2000
HEWLETT‐PACKARD CORPROATION          CHIEF CONTRACTING OFFICER, IS&S      200 RENAISSANCE CTR                                                                 DETROIT             MI     48265‐2000
HEWLETT‐PACKARD FINACIAL SERVICES    MAURY NICHOLS                        27755 STANSBURY BLVD #300                                                           FARMINGTON HILLS    MI     48336‐3861
COMPANY
HEWLETT‐PACKARD FINANCIAL SERVICES   EDI KRAMER NORM WATKINS              420 MOUNTAIN AVE             P.O. BOX 6                                             NEW PROVIDENCE      NJ     07974‐2736

HEWLETT‐PACKARD FINANCIAL SERVICES   MAURY NICHOLS                        27755 STANSBURY BLVD # 300                                                          FARMINGTON HLS      MI     48334‐3861

HEWLETT‐PACKARD FINANCIAL SERVICES   MAURY NICHOLS                        27755 STANBURY BLVD #300                                                            FARMINGTON HLS      MI     48334
(CANADA)
HEWLETT‐PACKARD FINANCIAL SERVICES   MAURY NICHOLS                        27755 STANSBURY BLVD         300                                                    FARMINGTON HILLS    MI     48334‐3861
(CANADA)
HEWLETT‐PACKARD FINANCIAL SERVICES   MAURY NICHOLS                        27755 STANSBURY BLVD #300                                                           FARMINGTON HILLS    MI     48334
(INDIA) PRIVATE LIMITED
HEWLETT‐PACKARD FINANCIAL SERVICES   MAURY NICHOLS                        27755 STANSBURY BLVD         # 300                                                  FARMINGTON HILLS    MI     46334‐3861
(NEW ZEALAND)
HEWLETT‐PACKARD FINANCIAL SERVICES   MAURY NICHOLS                        27755 STANBURY BLVD #300                                                            FARMINGTON HLS      MI     48334
(SINGAPORE) PTE LTD
HEWLETT‐PACKARD FINANCIAL SERVICES   MAURY NICHOLS                        27755 STANSBURY BLVD #300                                                           FARMINGTON HILLS    MI     48334‐3861
(SINGAPORE) PTE LTD
HEWLETT‐PACKARD FINANCIAL SERVICES   CHIEF COUNSEL, NORTH AMERICA         101‐5150 SPECTRUM WAY                                    MISSISSAUGA ON L4W 5G1
CANADA COMPANY                                                                                                                     CANADA
HEWLETT‐PACKARD FINANCIAL SERVICES   MAURY NICHOLS                        27755 STANSBURY BLVD #300                                                           FARMINGTON HILLS    MI     48334‐3861
COMPANY
HEWLETT‐PACKARD FINANCIAL SERVICES   MAURY NICHOLS                        27755 STANDBURY BLVD #300                                                           FARMINGTON HLS      MI     48334
COMPANY
HEWLETT‐PACKARD FINANCIAL SERVICES   ATTN: LORIE MARKEY                   10 CORPORATE DR              MAIL STOP 1019                                         AUBURN HILLS        MI     48326‐2918
COMPANY
HEWLETT‐PACKARD FINANCIAL SERVICES   420 MOUNTAIN AVE                     P.O. BOX 6                                                                          NEW PROVIDENCE      NJ     07974‐2736
COMPANY
HEWLETT‐PACKARD FINANCIAL SERVICES   12 AULUMN STREET                     SANDLON JOHANNESBURG 2128                                SOUTH AFRICA
COMPANY
HEWLETT‐PACKARD FINANCIAL SERVICES   CHIEF COUNSEL, NORTH AMERICA         420 MOUNTAIN AVE             P.O. BOX 6                                             NEW PROVIDENCE      NJ     07974‐2736
COMPANY
HEWLETT‐PACKARD FINANCIAL SERVICES   BOB RADER                            420 MOUNTAIN AVE                                                                    NEW PROVIDENCE      NJ     07974‐2736
COMPANY
HEWLETT‐PACKARD FINANCIAL SERVICES   ATT: AMY S. CHIPPERSON, ESQ.         420 MOUNTAIN AVENUE                                                                 MURRAY HILL         NJ     07640
COMPANY
HEWLETT‐PACKARD FINANCIAL SERVICES   12 AULUMN STREET                     SANDLON JOHANNESBURG 2128                                SOUTH AFRICA
HOLDING COMPANY LIMITED
HEWLETT‐PACKARD FINANCIAL SERVICES   SOUTH AFRICA BRANCH                  MAURY NICHOLS                27755 STANSBURY BLVD #300                              FARMINGTON HILLS    MI     48334‐3861
HOLDING COMPANY LIMITED
HEWLETT‐PACKARD GMBH                 POSTFACH 1430                                                                                 BOBLINGEN 71004 GERMANY

HEWLETT‐PACKARD INTERNATIONAL BANK MAURY NICHOLS                          27755 STANSBURY BLVD #300                                                           FARMINGTON HILLS    MI     48334‐3861
PLC
HEWLETT‐PACKARD LEASING LTD.       MAURY NICHOLS                          27755 STANSBURY BLVD         #300                                                   FARMINGTON HLS      MI     48334‐3861
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HEWLETT‐PACKARD LEASING LTD.        27755 STANSBURY BLVD #300                                                                      FARMINGTON HILLS    MI 48334‐3861

HEWLETT‐PACKARD OPERATIONS          MAURY NICHOLS                    27755 STANSBURY BLVD #300                                     FARMINGTON HILLS   MI    48334‐3861
MEXIOCO
HEWLETT‐PACKARD OPERATIONS          MAURY NICHOLS                    27753 STANSBURY BLVD #300                                     FARMINGTON HILLS   MI    48334‐3051
MEXIOCO
HEWLETT‐PACKARD PHILLIPPINES        MAURY NICHOLS                    27755 STANSBURY BLVD #300                                     FARMINGTON HILLS   MI    48334‐3861
CORPORATION
HEWLETT‐PACKARDFINANCIAL SERVICES   MAURY NICHOLS                    27755 STANSBURY BLVD #300                                     FARMINGTN HLS      MI    48334‐3861

HEWLETT‐PAKCARD CO                  2001 BUTTERFIELD RD # 800                                                                      DOWNDERS GROVE      IL   60515‐1050

HEWSON, ARCHIE T                    910 MASSACHUSETTS STREET                                                                       LAKE HELEN         FL    32744‐3355
HEWSON, JAMES A                     5988 S 50 W                                                                                    PENDLETON          IN    46064‐9592
HEWSON, MARIA E                     2742 ALDGATE DR                                                                                BLOOMFIELD HILLS   MI    48304‐1700
HEWSON, MARILYN                     5922 HAMPDEN ST                                                                                TAYLOR             MI    48180‐1078
HEWSON, RONALD C                    2742 ALDGATE DR                                                                                BLOOMFIELD HILLS   MI    48304‐1700
HEWSON, SUSAN A.                    2687 COLVIN BLVD                                                                               TONAWANDA          NY    14150‐4406
HEWSON, TERRY                       4708 N BLACK OAK RD                                                                            BOONEVILLE         AR    72927‐7409
HEXACOMB/UNVRSTY PRK                1149 CENTRAL AVE                                                                               UNIVERSITY PARK    IL    60466‐3166
HEXAGON AB
HEXAGON AB                          250 CIRCUIT DR RD                                                                              NORTH KINGSTOWN     RI   02852

HEXAGON AB                          51170 GRAND RIVER AVE                                                                          WIXOM              MI    48393
HEXAGON COMPOSITES ASA              BONNIE GLEASON 3336              6801 CORNHUSKER HWY                                           LINCOLN            NE    68507‐3105
HEXAGON MET/WIXOM                   51170 GRAND RIVER AVE                                                                          WIXOM              MI    48393
HEXAGON METROLOGY                   250 CIRCUIT COURT DR                                                                           NORTH KINGSTOWN    RI    02852

HEXAGON METROLOGY                   51170 GRAND RIVER                                                                              WIXOM              MI    48393
HEXAGON METROLOGY INC               13245 REESE BLVD W STE 150                                                                     HUNTERSVILLE       NC    28078‐6349
HEXAGON METROLOGY INC               250 CIRCUIT DR RD                                                                              NORTH KINGSTOWN    RI    02852

HEXAGON METROLOGY INC               51170 GRAND RIVER AVE                                                                          WIXOM              MI    48393
HEXAGON METROLOGY INC               1742 SOLUTIONS CTR               LOCKBOX 771742                                                CHICAGO            IL    60677‐1007
HEXAGON METROLOGY INC               PO BOX 771742                    1742 SOLUTIONS CENTER                                         CHICAGO            IL    60677‐1007
HEXAMER JR, VEARL P                 6067 S 50 E                                                                                    ANDERSON           IN    46013‐9503
HEXAMER, DAVID A                    2429 LAKE DR                                                                                   ANDERSON           IN    46012‐1822
HEXAMER, EARL E                     PO BOX 71                                                                                      ALEXANDRIA         IN    46001‐0071
HEXAMER, JAMES A                    417 W 600 N                                                                                    ALEXANDRIA         IN    46001‐8209
HEXAMER, LARRY J                    617 W 575 S                                                                                    PENDLETON          IN    46064‐9093
HEXAMER, PHILIP C                   630 N COLLEGE AVE APT 210                                                                      INDIANAPOLIS       IN    46204‐1695
HEXAMER, TED L                      3023 FORESTVIEW ST NE                                                                          CANTON             OH    44721‐2720
HEXAMER, THOMAS F                   431 MARIA DR                                                                                   GREENWOOD          IN    46143‐1741
HEXAMER, TIMOTHY S                  4074 PRIMROSE PATH                                                                             GREENWOOD          IN    46142‐8342
HEXCEL COMPOSITES                   11711 DUBLIN BLVD                                                                              DUBLIN             CA    94568‐2832
HEXCEL CORPORATION                  PO BOX 90316                                                                                   CHICAGO            IL    60696‐0316
HEXIMER, MONABELLE                  349 EVANS ST APT 3                                                                             WILLIAMSVILLE      NY    14221‐5638
HEXION SPECIALTY CHEMICALS          ROBERT MASSEY                    1800 MEIDINGER TOWER                                          LOUISVILLE         KY    40202‐4414
HEXTON JR, CLAYTON S                12161 TOWNLINE RD                                                                              GRAND BLANC        MI    48439‐1659
HEY JR, JOHN H                      3416 CHATSWORTH LN                                                                             ORLANDO            FL    32812‐6032
HEY MARILOU                         HEY, MARILOU                     12718 SLIPPERY ROCK RD                                        INDIANAPOLIS       IN    46236
HEY MARILOU                         HEY, ROBERT                      12718 SLIPPERY ROCK ROAD                                      INDIANAPOLIS       IN    46236
HEY, ALAN F                         126 DONNA LEA BLVD                                                                             WILLIAMSVILLE      NY    14221‐3172
HEY, CHARLOTTE M                    1299 WILDGOOSE CT                                                                              CENTERVILLE        OH    45458‐2776
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Name                             Address1                           Address2                        Address3           Address4                    City           State   Zip
HEY, LAYTON G                    63 EUCLID AVE                                                                                                     KENMORE         NY     14217‐2707
HEY, MARILOU                     12718 SLIPPERY ROCK RD                                                                                            INDIANAPOLIS    IN     46236‐8220
HEY, ROBERT                      12718 SLIPPERY ROCK RD                                                                                            INDIANAPOLIS    IN     46236‐8220
HEY, ROBERT                      C/O GRAIN DEALERS MUTUAL INSURANCE PO BOX 1747                                                                    INDIANAPOLIS    IN     46206‐1747
                                 CO.
HEY, ROBERT E                    22922 SHADER ST                                                                                                   CLINTON TWP     MI     48036‐2743
HEY, ROBERT E.                   22922 SHADER ST                                                                                                   CLINTON TWP     MI     48036‐2743
HEY, RUBY L                      5019 REEDER ST                                                                                                    INDIANAPOLIS    IN     46203‐3722
HEY, RUTH                        2612 APPLEWOOD DRIVE                                                                                              TITUSVILLE      FL     32780‐5902
HEY, WAYNE C                     2612 APPLEWOOD DR                                                                                                 TITUSVILLE      FL     32780‐5902
HEY, WILLIAM L                   22856 HEUSSNER AVE                                                                                                WARREN          MI     48089‐5409
HEY, WILLIAM M                   64 UNIVERSITY CT                                                                                                  AMHERST         NY     14226‐4237
HEY, WILLIAM M.                  64 UNIVERSITY CT                                                                                                  AMHERST         NY     14226‐4237
HEYBACH PAULA                    4613 O CONNOR CT                                                                                                  IRVING          TX     75062‐3740
HEYBL, JACOB E                   5780 OAK PASS LN                                                                                                  SANTA MARIA     CA     93455‐6095
HEYBOER JR, WILLIAM J            2171 108TH ST SW                                                                                                  BYRON CENTER    MI     49315‐9285
HEYBOER, ALEEN                   5232 S FERN ST                                                                                                    NEWAYGO         MI     49337‐7907
HEYBOER, AMY L                   2326 BRIDLE CREEK                                                                                                 KENTWOOD        MI     49508‐0958
HEYBOER, CYNTHIA L               4265 12TH AVE SW                                                                                                  GRANDVILLE      MI     49418‐9604
HEYBOER, DAVID J                 5075 EGYPT VALLEY AVE NE                                                                                          BELMONT         MI     49306‐9639
HEYBOER, GERTRUDE                3736 SE 12TH AVE #104A                                                                                            CAPE CORAL      FL     33904‐4757
HEYBOER, JOY                     5808 PEAR AVE                                                                                                     NEWAYGO         MI     49337‐8345
HEYBOER, LORETTA E               1910 W PICKETT CT                                                                                                 HERNANDO        FL     34442‐3244
HEYBOER, ORVILLE W               1910 W PICKETT CT                                                                                                 HERNANDO        FL     34442‐3244
HEYBOER, RICHARD D               447 MYRTLE ST NW                                                                                                  GRAND RAPIDS    MI     49504‐3246
HEYBOER, ROBERT C                7591 W BRIGGS RD                                                                                                  STANTON         MI     48888‐9788
HEYBURN, DIANA L                 14070 E ARKANSAS PL                                                                                               AURORA          CO     80012‐5573
HEYCO AG                         ERNST HEYNEN STR 1‐3                                                                  TITTLING BY 94104 GERMANY

HEYCO AG                         HERR WAEGER (49)                   LUETTRINGHAUSEN BIRGDEN III/1   MAX HEYNEN STR 1   GEWERBEGEBIET GERMANY
HEYCO AG                         LUETTRINGHAUSEN BIRGDEN III/1                                                         REMSCHEID NW 42855
                                                                                                                       GERMANY
HEYCO AG                         MAX HEYNEN STR 1                                                                      TITTLING BAYERN BY 94104
                                                                                                                       GERMANY
HEYCO INC                        LESLIE JONES                       147 N MICHIGAN AVE PO BOX 160                      MONTE CARLO MONACO
HEYCO MOLDED PRODUCTS            LESLIE JONES                       147 N MICHIGAN AVE PO BOX 160                      MONTE CARLO MONACO
HEYCO WERK                       HEYNEN GMBH & CO KG                BIRGDEN III 1                                      REMSCHEID D‐42855
                                                                                                                       GERMANY
HEYCO WERK HEYNEN GMBH & CO KG   MAX HEYNEN STR 1                                                                      TITTLING BAYERN BY 94104
                                                                                                                       GERMANY
HEYCO WERK/GERMANY               GEWERBEGEBIET                                                                         DERSCHEN RP 57520
                                                                                                                       GERMANY
HEYCO WERK/GERMANY               BIRGDEN III / 1                    P.O.OX 150 139                                     REMSCHEID HW 42855
                                                                                                                       GERMANY
HEYCO‐WERK HEYNEN GMBH & CO KG   ERNST HEYNEN STR 1‐3                                                                  TITTLING BY 94104 GERMANY

HEYCO‐WERK HEYNEN GMBH & CO KG   HERR WAEGER (49)                   LUETTRINGHAUSEN BIRGDEN III/1   MAX HEYNEN STR 1                               MURRAY          IA     50174
HEYCO‐WERK HEYNEN GMBH & CO KG   LUETTRINGHAUSEN BIRGDEN III/1                                                         REMSCHEID NW 42855
                                                                                                                       GERMANY
HEYD, DOUGLAS L                  1207 TREMMA ST                                                                                                    GRAND BLANC    MI      48439‐9342
HEYD, DOUGLAS LEON               1207 TREMMA ST                                                                                                    GRAND BLANC    MI      48439‐9342
HEYD, EDWIN J                    3968 GRAFTON RD                                                                                                   BRUNSWICK      OH      44212‐2140
HEYD, GERALDINE F                3968 GRAFTON RD                                                                                                   BRUNSWICK      OH      44212‐2140
HEYD, GERALDINE F                3968 GRAFTON ROAD                                                                                                 BRUNSWICK      OH      44212
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Name                           Address1                       Address2                      Address3   Address4               City              State   Zip
HEYD, JANE L                   47 W CHURCH ST APT 20                                                                          NEWTON FALLS       OH     44444‐1630
HEYD, THERESA A                1741 STATE HIGHWAY 188                                                                         ARANSAS PASS       TX     78336‐6543
HEYDE, ALISON M                1165 N PRAIRIEWOOD DR                                                                          ROCHESTER          IN     46975‐7801
HEYDE, JOAN E                  605 WESTWINDS DR                                                                               PALM HARBOR        FL     34683‐1125
HEYDEN, MARY K                 4775 VILLAGE DR APT 226                                                                        GRAND LEDGE        MI     48837‐8121
HEYDENBURG, RAYMOND            24133 ROBINWOOD ST                                                                             LEESBURG           FL     34748‐7897
HEYDINGER, JAMES E             409 VIRGINIA ST                                                                                MARIETTA           OH     45750
HEYDINGER, JOHN S              7102 N AUBURN RD                                                                               TIRO               OH     44887‐9718
HEYDINGER, MARVIN J            130 ST RT 314S R 12                                                                            MANSFIELD          OH     44903
HEYDINGER, NEIL W              3313 STATE ROUTE 39                                                                            SHELBY             OH     44875‐9470
HEYDLAUFF, TRACY L             203 GLAZIER RD                                                                                 CHELSEA            MI     48118‐9736
HEYDLE, RICHARD L              1255 KERRY LN                                                                                  POLAND             OH     44514‐3264
HEYDT, TODD M                  7406 WILLOW BEND DR                                                                            CRESTWOOD          KY     40014‐9669
HEYE, LAURA E                  11 LAKEWOOD DRIVE                                                                              ROCHESTER          NY     14616‐3937
HEYE, LAURA E                  11 LAKEWOOD DR                                                                                 ROCHESTER          NY     14616‐3937
HEYE, ROBERT B                 43 MOSLEY RD                                                                                   ROCHESTER          NY     14616‐2937
HEYEN, KALI
HEYER, ANNA                    25 COOPER ST APT 1A                                                                            NEW YORK           NY     10034‐3846
HEYER, DELORES E               7917 BENGAL LN                                                                                 NEW PORT RICHEY    FL     34654‐6301
HEYER, DONALD E                2772 SOUTH 74TH STREET                                                                         WEST ALLIS         WI     53219‐2801
HEYER, DONALD E                2772 S 74TH ST                                                                                 WEST ALLIS         WI     53219‐2801
HEYER, DONNA M                 16600 WEATHERFIELD DR                                                                          NORTHVILLE         MI     48168‐2324
HEYER, DOUGLAS G               27128 LENOX AVE                                                                                MADISON HTS        MI     48071‐3119
HEYER, MELANIE M               839 TALCOTT AVE                                                                                LEMONT             IL     60439‐2720
HEYER, RUSSELL D               S110W26210 CRAIG AVE                                                                           MUKWONAGO          WI     53149‐9104
HEYER, THOMAS J                606 TANNER CREEK LN                                                                            LAWRENCEBURG       IN     47025
HEYERDAHL, GORDON L            3108 W ROCKPORT PARK DR                                                                        JANESVILLE         WI     53548‐7603
HEYERDAHL, MARILYN R           4465 PHEASANT RUN                                                                              JANESVILLE         WI     53546‐1019
HEYERMAN, AUDREY G             2242 BANNER CT SW                                                                              WYOMING            MI     49509‐1928
HEYING HARLEN J (439128)       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510
                                                              STREET, SUITE 600
HEYING, HARLEN J               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                              STREET, SUITE 600
HEYING, ROY J                  PO BOX 54                                                                                      PORTLAND          MO      65067‐0054
HEYINK, BRENDA B               APT 4                          322 CANAL ROAD                                                  EDGEWATER         FL      32132‐1542
HEYINK, BRENDA B.              APT 4                          322 CANAL ROAD                                                  EDGEWATER         FL      32132‐1542
HEYINK, HENRIETTE D            2804 W COMMUNITY DR                                                                            JUPITER           FL      33458‐8224
HEYL I I I, ROBERT E           40 RIDGEWOOD DR                                                                                NORWALK           OH      44857‐2900
HEYL ROYSTER VOELKER & ALLEN   124 SW ADAMS ST STE 600        BANK ONE BLDG                                                   PEORIA            IL      61602‐1392
PROFESSIONAL CORPORATION
HEYLEK SR, MICHAEL J           2237 LINWOOD AVE                                                                               NIAGARA FALLS     NY      14305‐3043
HEYLIGER, LILLIE Y.            11300 94TH ST                                                                                  LARGO             FL      33773‐4642
HEYM, CARL E                   6836 TOBIK TRL                                                                                 CLEVELAND         OH      44130‐4513
HEYMAN JONES                   525 48TH ST                                                                                    BALTIMORE         MD      21224‐3115
HEYMAN, NEAL R                 2332 SWANS CV                                                                                  FENTON            MI      48430‐3006
HEYMANN, SHARON R              PO BOX 140913                                                                                  NASHVILLE         TN      37214‐0913
HEYMANN, SHARON R              P.O. BOX 140913                                                                                NASHVILLE         TN      37214‐0913
HEYMES, PAUL R                 46091 EDGEWATER ST                                                                             CHESTERFIELD      MI      48047‐5326
HEYMES, WILLIAM R              28058 KINGSWOOD CT                                                                             WARREN            MI      48092‐5532
HEYNE, JAMES M                 2205 ROXBURGH DR                                                                               ROSWELL           GA      30076‐2425
HEYNEN, MARGARET M             4354 INDIAN SPRING DR SW                                                                       GRANDVILLE        MI      49418‐1764
HEYNEN, MATTHEW C              2318 133RD AVE                                                                                 HOPKINS           MI      49328‐9705
HEYNIGER, GARY S               53963 SUTHERLAND CT                                                                            SHELBY TWP        MI      48316‐1231
HEYNIGER, HILARY K             26451 MIDWAY ST                                                                                DEARBORN HTS      MI      48127‐2971
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Name                                Address1                         Address2                     Address3   Address4               City              State   Zip
HEYNIGER, MARK A                    10211 CEDAR ISLAND RD                                                                           WHITE LAKE         MI     48386‐2912
HEYNIGER, ROBERT L                  6128 SANDSHORES DR                                                                              TROY               MI     48085‐1342
HEYPAC INC                          1098 E AVON RD                                                                                  ROCHESTER HILLS    MI     48307‐2424
HEYROTH, DAVID L                    240 W BRIAR LN                                                                                  GREEN BAY          WI     54301‐1316
HEYS USA INC.
HEYSE, SANDRA S                     302 HANNAM RD                                                                                   WILMINGTON         DE     19808‐2204
HEYSER, DENISE L.                   3060 UPTON RD                                                                                   OVID               MI     48866‐9644
HEYSER, STEVEN D                    5253 ASHEVILLE HWY                                                                              PISGAH FOREST      NC     28768‐8823
HEYSTEK, JEANNIE K                  1241 MARTIN DR                                                                                  FRANKFORT          MI     49635‐9376
HEYSTEK, JEANNIE K                  1241 MARTIN DRIVE                                                                               FRANKFORT          MI     49635‐9376
HEYWARD ALLEN MOTOR COMPANY, INC.   STEPHEN MIDDLEBROOKS             2590 ATLANTA HWY                                               ATHENS             GA     30606‐3397

HEYWARD ALLEN MOTOR COMPANY, INC.   2590 ATLANTA HWY                                                                                ATHENS             GA     30606‐3397

HEYWARD HANNAH                      3814 KILBURN RD                                                                                 RANDALLSTOWN      MD      21133‐4656
HEYWARD MARTIN                      6639 S BISHOP ST                                                                                CHICAGO           IL      60636‐2805
HEYWARD, FLORENCE O                 156 EDGEWOOD DR                                                                                 BEREA             OH      44017‐1412
HEYWARD, HENRY                      534 SOUTH CLINTON STREET                                                                        EAST ORANGE       NJ      07018‐1033
HEYWARD, MAX S                      120 S SAINT LUCAS ST                                                                            ALLENTOWN         PA      18104‐6433
HEYWARD, WILLIAM R                  34 ALBION ST                                                                                    SAVANNAH          GA      31408‐3502
HEYWOOD BURGESS                     17366 WESTHAMPTON RD                                                                            SOUTHFIELD        MI      48075‐4312
HEYWOOD CARRINGTON                  230 FARRAND PARK                                                                                HIGHLAND PARK     MI      48203‐3354
HEYWOOD L BROWN                     5407 HOOVER AVE                                                                                 DAYTON            OH      45427‐2578
HEYWOOD PULLEN                      4535 DAYVIEW AVE                                                                                DAYTON            OH      45417‐1332
HEYWOOD, ALDA M                     1375 CANYON TRCE                                                                                CANYON LAKE       TX      78133‐2103
HEYWOOD, ANGELINA                   40432 VALENCIA CT                                                                               FREMONT           CA      94539‐3625
HEYWOOD, ANN L                      9726 COUNTRY SCENE LN                                                                           MENTOR            OH      44060‐6606
HEYWOOD, JUSTIN
HEYWOOD, MARIANNA W                 12425 W SONNET DR                                                                               SUN CITY WEST     AZ      85375‐3318
HEYWOOD, ROGER HUGH                 SCHULTE J BRYAN                  PO BOX 517                                                     BURLINGTON        IA      52601‐0517
HEYWOOD, WILLIAM J                  117 GORDON DR                                                                                   SEMINOLE          FL      33772‐4819
HEYWORTH, LILLIAN L                 10057 E MAPLE AVE                                                                               DAVISON           MI      48423‐8636
HEYWORTH, LILLIAN L                 10057 MAPLE AVE                                                                                 DAVISON           MI      48423‐8636
HEYWORTH, ROBERT M                  6031 SUGARLOAF DR                                                                               GRAND BLANC       MI      48439‐9157
HEYWORTH, ROBERT MICHAEL            6031 SUGARLOAF DR                                                                               GRAND BLANC       MI      48439‐9157
HEYZA, CLEMENT Z                    7353 FLAMINGO ST                                                                                CLAY              MI      48001‐4133
HEYZA, CLEMENT Z.                   7353 FLAMINGO ST                                                                                CLAY              MI      48001‐4133
HEYZA, LOUISE                       40079 WHISPERING LN                                                                             NOVI              MI      48375‐5361
HEZ ALLEN                           818 PANGBURN ST                                                                                 GRAND PRAIRIE     TX      75051‐2616
HEZAM AHMED                         5445 CHASE RD                                                                                   DEARBORN          MI      48126‐3127
HEZEKIAH BIBBS JR                   2113 CHATEAU DR                                                                                 FLINT             MI      48504‐1613
HEZEKIAH CARPENTER                  1047 CHARLESTON BLVD                                                                            DAYTON            OH      45402‐4106
HEZEKIAH DEMPS                      205 E PASADENA AVE                                                                              FLINT             MI      48505‐4245
HEZEKIAH HARMON I I I               412 ATKINSON RD                                                                                 WILMINGTON        DE      19804‐3011
HEZEKIAH HARMON JR                  1605 NEWPORT RD                                                                                 WILMINGTON        DE      19808‐6017
HEZEKIAH HOOKS JR                   PO BOX 283                                                                                      WENTZVILLE        MO      63385‐0283
HEZEKIAH JOHNSON                    163 TUDOR RD                                                                                    BUFFALO           NY      14215‐2923
HEZEKIAH JONES                      5101 E ANAHEIM ST APT 103                                                                       LONG BEACH        CA      90804‐3318
HEZEKIAH MORRISON                   1085 LAKE O PINES ST NE                                                                         HARTVILLE         OH      44632‐9441
HEZEKIAH POTTS                      6602 SALLY CT                                                                                   FLINT             MI      48505‐1935
HEZEKIAH SCOTT                      C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY, STE 600                                     HOUSTON           TX      77007
                                    BOUNDAS, LLP
HEZEKIAH SIMMONS JR                 496 CHEROKEE CIR                                                                                FAIRFIELD          AL     35064‐1724
HEZEKIAH WALLACE                    5181 NW LAKE JEFFERY RD                                                                         LAKE CITY          FL     32055‐7289
                                           09-50026-mg               Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
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Name                                       Address1                             Address2                          Address3                   Address4                   City               State   Zip
HEZEKIAH WILLIAMS                          16162 MONTE VISTA ST                                                                                                         DETROIT             MI     48221‐2831
HEZEKIAH WILSON                            1590 KIMMEL LN                                                                                                               DAYTON              OH     45418‐2053
HEZEKIAH, JEANNETTE                        1334 CARROLL ST                                                                                                              BROOKLYN            NY     11213‐4339
HEZEY CROCTON                              104 OAKLEIGH DR                                                                                                              GADSDEN             AL     35901‐1721
HEZKIAH THOMAS JR                          5000 JUDY DR                                                                                                                 DEL CITY            OK     73115‐4552
HFM CORP                                   2209 DEEP RUN RD                                                                                                             MANCHESTER          MD     21102
HFR RVA ADVENT GLOBAL OPPORTUNITY          ADVENT CAPITAL MANAGEMENT LLC        ATTN: CHUNG TAM                   1065 AVENUE OF THE                                    NEW YORK            NY     10018
MASTER TRUST                                                                                                      AMERICAS, 31ST FL
HFR RVA CONSTELLATION MASTER TRUST         520 MADISON AVE 18TH FLOOR                                                                                                   NEW YORK            NY     10022

HFW INDUSTRIES INCORPORATED EF             196 PHILADELPHIA ST                  PO BOX 8                                                                                BUFFALO             NY     14207‐1734
HG ‐ MINOR CHILD,                          TRACY FIRM                           5473 BLAIR RD STE 200                                                                   DALLAS              TX     75231‐4168
HG ARTIBEE
HG GALLERIA I, II, III, L.P.               LISA TAGLIARINO                      5085 WESTHEIMER RD STE 4850                                                             HOUSTON             TX     77056‐5680
HG GALLERIA I, II, III, L.P., A DELAWARE   SIMON PROPERTY GROUP, L.P.           SIMON PROPERTY GROUP, INC., ITS   CHIP HARDING               225 W WASHINGTON ST        INDIANAPOLIS        IN     46204‐3435
LIMITED PARTNERSHIP ‐                                                           GENERAL PARTNER
HG RENDER TRUSTEE HG & LEONA               RENDER REVOCABLE TRUST DATED         1901 COUNTY ROAD 900                                                                    JONOSBORO           AR     72401
                                           07/18/96
HG SCHNEIDER COMPANY                       291 BROAD ST                                                                                                                 WESTERVILLE        OH      43081‐1603
HG SHOPPING CENTERS LP                     ATTN LISA TAGLIARINO                 5085 WESTHEIMER RD STE 4850       REGIONAL DIR OF BUSINESS                              HOUSTON            TX      77056‐5680
                                                                                                                  DEVEL
HGB MEMORIAL HOSPITA                       1701 LAKE LANSING RD                                                                                                         LANSING             MI     48912
HGFD HGFHGF                                HGFGFH                               HGFHFGH
HGFHGF GFDG                                GJGHJGHJZ                                                                                                                    KHJKHHHJKJ
HGHNJ HUJBJH
HGKS INDUSTRIAL CLAY TOOL CO I             1911 SCENIC DR                       PO BOX 871181                                                                           CANTON              MI     48188‐1416
HH HH                                      HH
HH1 NKJN                                   JNKJNQ                                                                 NKJ                                                   NK                  NV     nkj,
HHC BETEILIGUNGEN GMBH RUTSCH              ARNDTSTRASSE 27 A                    22085 HAMBURG                                                                           HAMBURG                    22085
HHCC GEORGIAN BLOOMF                       DEPT L‐2653                                                                                                                  COLUMBUS           OH      43260‐0001
HHH AUTO BODY                              110 NEPPERHAN AVE                                                                                                            ELMSFORD           NY      10523‐1804
HHJ HOLDINGS LIMITED                       830 KIRTS BLVD STE 100               PO BOX 7058                                                                             TROY               MI      48084
HHJ HOLDINGS LIMITED                       830 KIRTS BLVD, STE 100                                                                                                      TROY               MI      48084
HHRITAGE FOUNDATION                        5 LENNOX TER                                                                                                                 MARYLAND HEIGHTS   MO      63043‐2624

HI ‐ T. E. C. AUTOMOTIVE                   7234 ALTERNATE STATE ROUTE 49                                                                                                ARCANUM            OH      45304‐9671
HI ‐ TECH TOOL INDUSTRIES, INC.            6701 CENTER DRIVE                                                                                                            STERLING HEIGHTS   MI      48312
HI ‐ TECH TOOL INDUSTRIES, INC.            ATTN: CORPORATE OFFICER/AUTHORIZED   6701 CENTER DR                                                                          STERLING HEIGHTS   MI      48312‐2627
                                           AGENT
HI B FUELS LLC                             ATTN: MARYANN HARRIS                 908 HALL AVE                                                                            OOLITIC             IN     47451‐9736
HI CRAFT ENGINEERING                       33105 KELLY RD                                                                                                               FRASER              MI     48026
HI CRAFT/FRASIER                           33105 KELLY ROAD                                                                                                             FRASER              MI     48026
HI CUBE EXPRESS INC                        8426 E 33RD ST                                                                                                               INDIANAPOLIS        IN     46226‐6505
HI LEX CONTROLS INC                        ATTN ACCOUNTS RECEIVABLE             152 SIMPSON DR                                                                          LITCHFIELD          MI     49252‐9601
HI LEX/TROY                                2911 RESEARCH DR                                                                                                             ROCHESTER HILLS     MI     48309‐3579
HI MARK INDUSTRIAL INC                     ATTN MIKE ADAMS                      2349 FAIRVIEW ST UNIT 104                                    BURLINGTON CANADA ON L7R
                                                                                                                                             2E3 CANADA
HI POINT OPTICAL CALIBRATION               567 N PARK ST                                                                                                                BELLEFONTAINE      OH      43311‐2243
HI POINT OPTICAL CALIBRATION               5097 SOUTHMINSTER RD                                                                                                         COLUMBUS           OH      43221‐5250
HI POINT/BELEFOUNTAI                       567 N PARK ST                                                                                                                BELLEFONTAINE      OH      43311‐2243
HI QUALITY AUTO REPAIR                     2709 50 AVE                                                                                       LLOYDMINSTER SK S9V 2A8
                                                                                                                                             CANADA
HI SHEAR CORP                              2600 SKYPARK DR                                                                                                              TORRANCE            CA     90505‐5314
HI SHEAR/TORRANCE                          2600 SKYPARK DR                                                                                                              TORRANCE            CA     90505‐5314
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HI STAT MFG CO INC            C/O NATIONAL CITY BANK          345 S MILL ST                                                                 LEXINGTON           OH     44904‐9573
HI STAT/BLOOMFLD HLL          2350 FRANKLIN RD STE 200                                                                                      BLOOMFIELD HILLS    MI     48302‐0385
HI STAT/NOVI                  28001 CABOT DRIVE                                                                                             NOVI                MI     48377
HI TECH AUTO SERVICES, LLC    8873 BALBOA AVE # ABC                                                                                         SAN DIEGO           CA     92123
HI TECH AUTOMOTIVE            150 BOONE HILLS DR                                                                                            SAINT PETERS        MO     63376‐2431
HI TECH HEALTHCARE            PO BOX 723008                                                                                                 ATLANTA             GA     31139‐0008
HI TECH MOLD & ENGR.          DEPT 250301                     P.O. BOX 67000                                                                DETROIT             MI     48267‐2503
HI TECH MOLD & ENGR.          2775 COMMERCE DR                                                                                              ROCHESTER HILLS     MI     48309‐3815
HI TECH MOLD/ROCH HI          2775 COMMERCE DR                                                                                              ROCHESTER HILLS     MI     48309‐3815
HI TECH MOLD/WINCHES          466 BAXTER LN                                                                                                 WINCHESTER          TN     37398‐1495
HI TECH TOOL INDUSTRIES INC   6701 CENTER DR                                                                                                STERLING HEIGHTS    MI     48312‐2627
HI TEMP/MILAN                 85 GIBSON HWY                                                                                                 MILAN               TN     38358‐6112
HI TEQ/W CARROLLTON           360 FAME RD                                                                                                   WEST CARROLLTON     OH     45449‐2313

HI VAC/MARIETTA               117 INDUSTRY RD                                                                                               MARIETTA           OH      45750‐9355
HI WAY EXPRESS                PO BOX 99740                                                                                                  OKLAHOMA CITY      OK      73199
HI WAY LOGISTICS              PO BOX 1960                                                                                                   MARION             IN      46952‐8360
HI‐ WATT INC                  ZANE ENTERPRISES                34271 JAMES J POMPO DR                                                        FRASER             MI      48026‐3475
HI‐COUNTRY CHEVROLET, INC.    JEFF THOMAS                     404 W CHACO ST                                                                AZTEC              NM      87410‐1937
HI‐COUNTRY CHEVROLET, INC.    404 W CHACO ST                                                                                                AZTEC              NM      87410‐1937
HI‐CRAFT ENGINEERING INC                                      33105 KELLY ROAD                                                                                 MI      48026
HI‐FASHION LADIES WEAR        6545 WOODWARD AVE                                                                                             DETROIT            MI      48202‐3239
HI‐LAND GARAGE                215 N UNION ST                                                                                                KENNEWICK          WA      99336‐2213
HI‐LEX AMERICA CORP           5200 WAYNE RD                                                                                                 BATTLE CREEK       MI      49037‐7392
HI‐LEX AMERICA INC            5200 WAYNE RD                                                                                                 BATTLE CREEK       MI      49037‐7392
HI‐LEX CONTROLS INC           152 SIMPSON DR                                                                                                LITCHFIELD         MI      49252‐9601
HI‐LEX CONTROLS INC           15780 STEGER INDUSTRIAL DR                                                                                    HUDSON             MI      49247‐9574
HI‐LEX CONTROLS INC           ATTN ACCOUNTS RECEIVABLE        152 SIMPSON DR                                                                LITCHFIELD         MI      49252‐9601
HI‐LEX CONTROLS INC           TAMMY WELYTK                    15780 STEIGER INDUSTRIAL DRIVE                                                SMITHVILLE         TN      37166
HI‐LEX CONTROLS INC           152 SIMPSON DR                  PO BOX 178                                                                    LITCHFIELD         MI      49252‐9601
HI‐LEX CORP                   1‐12‐28 SAKAEMACHI                                                                   TAKARAZUKA HYOGO 665‐
                                                                                                                   0845 JAPAN
HI‐LEX CORP                   152 SIMPSON DR                                                                                                LITCHFIELD          MI     49252‐9601
HI‐LEX CORP                   152 SIMPSON DR                  PO BOX 178                                                                    LITCHFIELD          MI     49252‐9601
HI‐LEX CORP                   15780 STEGER INDUSTRIAL DR                                                                                    HUDSON              MI     49247‐9574
HI‐LEX CORP                   5200 WAYNE RD                                                                                                 BATTLE CREEK        MI     49037‐7392
HI‐LEX CORP                   TAMMY WELTYK X3125              152 SIMPSON DR                   HI‐LEX                                       LITCHFIELD          MI     49252‐9601
HI‐LEX CORP                   TAMMY WELTYK X3125              HI‐LEX                           152 SIMPSON DRIVE                            BUTLER              PA     16002
HI‐LEX CORP                   TAMMY WELTYK‐3125               5200 WAYNE RD.                                                                BLUFFTON            IN     46714
HI‐LEX CORP                   TAMMY WELYTK                    15780 STEIGER INDUSTRIAL DRIVE                                                SMITHVILLE          TN     37166
HI‐LEX CORP                   TAMMY WELYTK                    AV PENUELAS 9 FRACC IND SAN PE                       TOLUCA EM 50200 MEXICO
HI‐LEX CORPORTATION           TAMMY WELTYK‐3125               5200 WAYNE RD.                                                                BLUFFTON            IN     46714
HI‐LEX LITCHFIELD             TAMMY WELTYK X3125              152 SIMPSON DR                   HI‐LEX                                       LITCHFIELD          MI     49252‐9601
HI‐LEX LITCHFIELD             TAMMY WELTYK X3125              HI‐LEX                           152 SIMPSON DRIVE                            BUTLER              PA     16002
HI‐LEX MEXICANA SA DE CV      TAMMY WELYTK                    AV PENUELAS 9 FRACC IND SAN PE                       TOLUCA EM 50200 MEXICO
HI‐LEX MEXICANA SA DE CV      AV PENUELAS # 9 FRACC INDSTRL   SAN PEDRITO 76148 QUERETARO                          QRO MEXICO MEXICO
HI‐LEX/BATTLE CREEK           5200 WAYNE RD                                                                                                 BATTLE CREEK       MI      49037‐7392
HI‐LEX/BLOOMFLD HLLS          330 ENTERPRISE CT                                                                                             BLOOMFIELD HILLS   MI      48302‐0304
HI‐LEX/LITCHFIELD             152 SIMPSON DR                                                                                                LITCHFIELD         MI      49252‐9601
HI‐LEX/TROY                   1055 W SQUARE LAKE RD                                                                                         TROY               MI      48098‐2523
HI‐LINE AUTO ELECTRIC         823 SW 148TH ST                                                                                               BURIEN             WA      98166‐1860
HI‐LINE FARMS INC             29090 US HIGHWAY 2                                                                                            SHELBY             MT      59474‐9214
HI‐MARK INDUSTRIAL INC        2349 FAIRVIEW ST                                                                     BURLINGTON ON L7R 2E3
                                                                                                                   CANADA
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HI‐MARK OCCUPATIONAL SKILLS
HI‐PRO INDUST INC                11 EMPIRE BLVD STE D                                                                                         SOUTH HACKENSACK    NJ   07606‐1809

HI‐SHEAR AUTOMOTIVE              3405 MEYER ROAD                                                                                              FORT WAYNE         IN    46803‐2922
HI‐SHEAR AUTOMOTIVE CORP.        KURT WEIDMAN V.P.               2700 SKYPARK DR                                                              LITCHFIELD         IL    62056
HI‐STAR CONTROLLED MOTION        3210 ADVENTURE LN                                                                                            OXFORD             MI    48371‐1638
HI‐STAR CORP                     3210 ADVENTURE LN                                                                                            OXFORD             MI    48371‐1638
HI‐STAT MANUFACTURING INC.       JOE HELLER                      SARASOTA DIVISION         7290 26TH COURT STREET                             CHICAGO            IL
HI‐STAT MFG.                     9400 EAST MARKET STREET                                                                                      WARREN             OH    44484
HI‐STAT MFG. CO. INC.            PATTI BANWELL                   345 S MILL ST                                                                LEXINGTON          OH    44904‐9573
HI‐STAT MFG. CO. INC.            PATTI BANWELL                   345 S. MILL ST                                                               FENTON             MI    48430
HI‐TECH                          DBA CITATION ALBION             PO BOX 30                                                                    ALBION             IN    46701‐0030
HI‐TECH AUTO CARE                1765 TRAFALGAR ST                                                                   LONDON ON N5W 1X7
                                                                                                                     CANADA
HI‐TECH AUTO PARTS LTD                                           3 SHEENE ROAD                                                                                   LE    LE4 1
HI‐TECH AUTO SERVICES            10010 NE SANDY BLVD                                                                                          PORTLAND           OR    97220‐3324
HI‐TECH AUTOMOTIVE               758 ENTERPRISE ST                                                                                            CAPE GIRARDEAU     MO    63703‐7514
HI‐TECH CORPORATION              DAVID BRASSELL                  CITATION CUSTOM PRODUCT   1612 PROGRESS DRIVE                                SHREVEPORT         LA    71129
HI‐TECH CORPORATION              DAVID BRASSELL                  PO BOX 46701              CITATION CUSTOM PRODUCT                            ALBION             IN    46701‐0030
                                                                                           ALBION
HI‐TECH ELECTRIC LLC             2230 W WINTON AVE                                                                                            HAYWARD             CA   94545‐1212
HI‐TECH FASTENERS INC            DAN SIELOFF                     1341 E. PINE HILL AVE                               RODGAU/NEIDER‐RODEN
                                                                                                                     GERMANY
HI‐TECH FLEXIBLE PRODUCTS INC    2000 TOWNLEY ST                                                                                              JACKSON            MI    49203‐4414
HI‐TECH II AUTO CARE             5516 BABCOCK BLVD                                                                                            PITTSBURGH         PA    15237‐2540
HI‐TECH MOLD & ENGINEERING INC   2775 COMMERCE DR                                                                                             ROCHESTER HILLS    MI    48309‐3815
HI‐TECH OPTICAL                  3139 CHRISTY WAY S                                                                                           SAGINAW            MI    48603‐2226
HI‐TECH ROBOTICS INC             5615 HUNTERS FOREST LN                                                                                       COLLEGE PARK       GA    30349‐3884
HI‐TECH STEEL TREATING INC       2720 ROBERTS ST                                                                                              SAGINAW            MI    48601‐3197
HI‐TECH TOOL INDUSTRIES INC      HOLLY BAGWELL                   6701 CENTER DR                                                               STERLING HEIGHTS   MI    48312
HI‐TECH TOOL INDUSTRIES INC      6701 CENTER DR                                                                                               STERLING HEIGHTS   MI    48312‐2627
HI‐TEK AUTOMOTIVE                                                129 NW 13TH ST                                                                                  FL    34972
HI‐WAY 9                         DEAN KOHUT                      711 ELGIN CLOSE                                     DRUMHELLER AB T0J 0Y0
                                                                                                                     CANADA
HI‐WAY CHEVROLET‐BUICK LLC.      EVAN VANDEN BOSCH               1427 10TH ST                                                                 ROCK VALLEY        IA    51247‐1517
HI‐WAY CHEVROLET‐BUICK LLC.      PO BOX 38                                                                                                    ROCK VALLEY        IA    51247‐1517
HI‐WAY FUEL                      1250 E ST                                                                                                    WASHOUGAL          WA    98671‐1409
HIAM, KEVIN M                    9601 EVERSON DR                                                                                              FRISCO             TX    75035‐6476
HIAN HAUW SIE                    SOPHIALAAN 20                                                                                                HILVERSUM                1213X
HIAN HAUW SIE                    20 SOPHIALAAN                   1213 XN HILVERSUM         NETHERLANDS                                        HILVERSUM
HIANS, MICHAEL P                 285 ROME DR                                                                                                  YOUNGSTOWN         OH    44515‐4160
HIAR, ALICE A                    N5445 N RIVERVIEW RD                                                                                         HESSEL             MI    49745‐9105
HIAR, ERVIN F                    PO BOX 25                                                                                                    HESSEL             MI    49745‐0025
HIAR, STELLA                     3618 LILAC ST                                                                                                WAYLAND            MI    49348‐1037
HIATT CHUCK                      3750 CARLETON CT                                                                                             HILLSDALE          MI    49242
HIATT JR, FREDERICK H            PO BOX 281                      219 W PRICE AVE                                                              GASTON             IN    47342‐0281
HIATT JR, LEO C                  12793 CAROLYN WAY                                                                                            DAVISBURG          MI    48350‐2553
HIATT JR, LEONARD                5424 CLARK RD                                                                                                BATH               MI    48808‐9761
HIATT JR, ROY A                  4982 BUR OAK LN                                                                                              PARKER             CO    80134‐5446
HIATT PONTIAC‐GMC TRUCK, INC.    PO BOX 111660                                                                                                TACOMA             WA    98411‐1660
HIATT, ALLISON K                 1017 E CHALYNN AVE                                                                                           ORANGE             CA    92866
HIATT, BETTY J                   2003 HANEY DR                                                                                                MUNCIE             IN    47302‐1954
HIATT, BETTY J                   2003 S HANEY ST                                                                                              MUNCIE             IN    47302‐1954
HIATT, BETTY W                   5130 E 100 N                                                                                                 KOKOMO             IN    46901‐8312
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HIATT, CHARLES E     407 E 6TH ST                                                                                         SHERIDAN        IN     46069‐1355
HIATT, CHERYL R      41219 SOUTHWIND DR                                                                                   CANTON          MI     48188‐1346
HIATT, CHERYL RAE    41219 SOUTHWIND DR                                                                                   CANTON          MI     48188‐1346
HIATT, DANIEL R      1507 GINNY DR                                                                                        KOKOMO          IN     46902‐5937
HIATT, DARWIN D      3220 S TAYLOR ST                                                                                     PORTSMOUTH      OH     45662‐2320
HIATT, DAVID L       4700 N 93RD ST                                                                                       KANSAS CITY     KS     66109‐3001
HIATT, DAVID T       609 FALL CREEK DR                                                                                    ANDERSON        IN     46013‐3718
HIATT, DOLORES M     1518 E 500 S                                                                                         ANDERSON        IN     46013‐9602
HIATT, DONALD D      5414 CLARK RD BOX 184                                                                                BATH            MI     48808
HIATT, DORIS D.      510 ED TURNER RD                                                                                     EDMONTON        KY     42129‐9230
HIATT, DOUGLAS D     PO BOX 55                                                                                            BATH            MI     48808‐0055
HIATT, FREIDA J      8639 E 196TH STREET                                                                                  NOBLESVILLE     IN     46062‐9003
HIATT, GARY A        1863 N 750 E                                                                                         LAGRO           IN     46941‐9424
HIATT, GEORGE A      PO BOX 234                                                                                           ALEXANDRIA      IN     46001‐0234
HIATT, GERRY V       33 POINT LN                                                                                          ARCADIA         IN     46030‐9634
HIATT, GLENN F       719 FOUNTAIN ABBEY PL                                                                                MIAMISBURG      OH     45342‐2726
HIATT, HEIDI         5965 HAAG RD                                                                                         LANSING         MI     48911‐4746
HIATT, HEIDI S       5965 HAAG RD                                                                                         LANSING         MI     48911‐4746
HIATT, IRIS J        1300 RENEE DR                                                                                        PLAINFIELD      IN     46168‐9293
HIATT, JAMES K       19208 CYPRESS VIEW DR                                                                                FORT MYERS      FL     33967‐4825
HIATT, JAMES L       4408 NICHOL AVE                                                                                      ANDERSON        IN     46011‐2910
HIATT, JENNIE        235 LANE                            101 LAKE MINIFENOKEE                                             FREMONT         IN     46737
HIATT, JERRY D       375 CENTRAL ST                                                                                       MILFORD         MA     01757‐3401
HIATT, JERRY G       PO BOX 3                                                                                             WINDFALL        IN     46076‐0003
HIATT, JERRY S       221 FEDERAL DR                                                                                       ANDERSON        IN     46013‐4707
HIATT, KENNETH E     4182 W 900 S                                                                                         PENDLETON       IN     46064‐9540
HIATT, KENT R        4016 CAMELOT BLVD                                                                                    ANDERSON        IN     46011‐9040
HIATT, LARRY L       202 WILLOW LN                                                                                        ANDERSON        IN     46012‐1028
HIATT, LILLIAN B     1808 BRUCE LN                                                                                        ANDERSON        IN     46012‐1908
HIATT, MARY L        7038 ROSECLIFF PL                                                                                    DAYTON          OH     45459‐1385
HIATT, MILDRED G     3023 MORTON AVE                                                                                      MUSKEGON        MI     49444‐3024
                                                                                                                          HEIGHTS
HIATT, NANETTE       1019 S PENNSYLVANIA AVE                                                                              LANSING         MI     48912‐1632
HIATT, PHILLIP R
HIATT, RANDY J       9121 N WALNUT ST                                                                                     MUNCIE         IN      47303‐9670
HIATT, RANDY JOE     9121 N WALNUT ST                                                                                     MUNCIE         IN      47303‐9670
HIATT, ROBERT L      806 WHISPERING ROCK DR                                                                               O FALLON       MO      63366‐3138
HIATT, ROSE MARIE    311 PLEASURE ISLE DR                                                                                 ERLANGER       KY      41017‐9434
HIATT, ROXANNE K     4438 N 650 W                                                                                         MIDDLETOWN     IN      47356
HIATT, RUTH A.       20 S COUNTY ROAD 200 W                                                                               DANVILLE       IN      46122‐9106
HIATT, RUTH A.       20 SOUTH COUNTY RD 200 WEST                                                                          DANVILLE       IN      46122‐9106
HIATT, STEPHEN A     PO BOX 632                                                                                           MIAMISBURG     OH      45343
HIATT, STEPHEN J     2105 E DEVON CT                                                                                      MARTINSVILLE   IN      46151
HIATT, TIMOTHY B     2330 E 1475 N                                                                                        SUMMITVILLE    IN      46070‐9050
HIATT, TREVOR        1914 RAVENSWOOD DR                                                                                   ANDERSON       IN      46012‐5114
HIATT, TRUMAN E      18304 N MAIN ST                                                                                      SMITHVILLE     MO      64089‐8756
HIATT, WANETA        4016 CAMELOT BLVD.                                                                                   ANDERSON       IN      46011
HIATT, WILLIAM R     320 PORTLAND DR                                                                                      HURON          OH      44839‐1558
HIAWATHA CORNELIUS   3218 BROOKMONT DR                                                                                    KALAMAZOO      MI      49004‐1872
HIAWATHA SMITH       30 RIDGEVIEW RD                                                                                      BYHALIA        MS      38611‐8769
HIAWATHA TURNER      4167 BISHOPS BRIDGE RD                                                                               MEMPHIS        TN      38118‐6705
HIAWATHA WILLIAMS    10281 TROY ST                                                                                        OAK PARK       MI      48237‐3936
HIBAR, PAUL JOSEPH   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW        MI      48604‐2602
                                                         260
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Name                    Address1                           Address2                        Address3   Address4               City               State   Zip
HIBBARD JR, BERNARD T   3635 RIVERVIEW DR                                                                                    HERSEY              MI     49639‐8443
HIBBARD JR, DONALD B    2620 BOWEN RD                                                                                        HOWELL              MI     48855‐7712
HIBBARD, ADA            7895 JESSIES WAY                   UNIT 202                                                          INDIAN SPRINGS      OH     45011
HIBBARD, ADA            7895 JESSIES WAY APT 202                                                                             HAMILTON            OH     45011‐7737
HIBBARD, BOBBY J        3 GROUNDHOG RDG                                                                                      HELTONVILLE         IN     47436‐8506
HIBBARD, CARL S         625 YEOMAN CT                                                                                        DAYTON              OH     45449‐2349
HIBBARD, CAROLE R       1545 COUTANT ST                                                                                      FLUSHING            MI     48433‐1838
HIBBARD, CHARLES        211 SOUTH ALLISON AVENUE                                                                             BARBOURVILLE        KY     40906‐1219
HIBBARD, CONSTANCE      619 W BROAD ST                                                                                       LINDEN              MI     48451‐8645
HIBBARD, DALLAS C       4065 WOODMERE DR                                                                                     WATERFORD           MI     48329‐1973
HIBBARD, DONALD B       470 N GRAND AVE APT 11                                                                               FOWLERVILLE         MI     48836‐8711
HIBBARD, DOY G          8140 NW 18TH ST                                                                                      OKLAHOMA CITY       OK     73127‐1126
HIBBARD, HOLLIS L       13551 PIERCE RD                                                                                      BYRON               MI     48418‐9729
HIBBARD, HOWARD H       405 EAGLE ST                                                                                         MEDINA              NY     14103‐1116
HIBBARD, HUGH           5205 W WATERBERRY DR                                                                                 HURON               OH     44839‐2283
HIBBARD, JAMES N        21223 N 134TH WAY                                                                                    SUN CITY WEST       AZ     85375‐2577
HIBBARD, JOHN R         614 PINEWALK DRIVE                                                                                   BRANDON             FL     33510‐2163
HIBBARD, JOSEPH E       1648 BROOKCREST DR                                                                                   HAMILTON            OH     45013‐2324
HIBBARD, KENNETH R      4499 N BELSAY RD                                                                                     FLINT               MI     48506‐1639
HIBBARD, KIMBERLY S     3590 OSBURN DR                                                                                       TECUMSEH            MI     49286‐9544
HIBBARD, KIMBERLY S.    3590 OSBURN DR                                                                                       TECUMSEH            MI     49286‐9544
HIBBARD, LAMAR C        PO BOX 3                                                                                             BYRON               MI     48418‐0003
HIBBARD, LAURIE L       3881 N ADAMS RD                                                                                      BLOOMFIELD HILLS    MI     48304
HIBBARD, LEE R          6776 WILDCAT RD                                                                                      OVID                MI     48866‐9639
HIBBARD, MATTIE M       2125 TULEY RD                                                                                        HAMILTON            OH     45015‐1349
HIBBARD, MICHAEL J      15 STAFFORD AVE                                                                                      DAYTON              OH     45405‐2337
HIBBARD, MICHAEL R      800 N NORMAN AVE                                                                                     MOORE               OK     73160‐1931
HIBBARD, PAUL H         5311 BARNES RD                                                                                       MILLINGTON          MI     48746‐8709
HIBBARD, PAULINE        67 HEAVENLY HEIGHTS RD                                                                               MANCHESTER          KY     40962
HIBBARD, ROBERT A       504 N MERCER ST                                                                                      DURAND              MI     48429
HIBBARD, ROGER T        3R LAKE SHORE DR                                                                                     LAKE LOTAWANA       MO     64086
HIBBARD, RONALD L       16060 HIGHLAND CENTER RD                                                                             DEFIANCE            OH     43512‐8977
HIBBARD, RONALD W       PO BOX 17114                                                                                         CINCINNATI          OH     45217‐0114
HIBBARD, ROSE M         407 VAN BUREN ST                                                                                     WAPAKONETA          OH     45895‐1231
HIBBARD, ROY L          PO BOX 2245                                                                                          CORBIN              KY     40702‐2245
HIBBARD, ROY LEE        PO BOX 2245                                                                                          CORBIN              KY     40702‐2245
HIBBARD, THOMAS P       PO BOX 16                                                                                            FONTANA             WI     53125‐0016
HIBBARD, TIMOTHEY       9864 HAMILTON ST                                                                                     BELLEVILLE          MI     48111‐1468
HIBBARD, VICTORIA L     17949 UNIVERISTY PARK DR # BLD                                                                       LIVONIA             MI     48152‐3929
HIBBARD, WILLIAM E      351 VINCENT AVENUE                                                                                   TROY                OH     45373‐3951
HIBBELN BRIAN PATRICK   OVERCHUCK NEWSOME & SCHWERER LLP   207 E. HILLCREST STREET                                           ORLANDO             FL     32801

HIBBELN RONALD          OVERCHUCK NEWSOME & SCHWERER LLP   207 E. HILLCREST STREET                                           ORLANDO             FL     32801

HIBBELN, JEAN M         42159 MAC RAE DR                                                                                     STERLING HTS       MI      48313‐2565
HIBBELN, JOHN A         536 W 3RD ST                                                                                         ROCHESTER          MI      48307‐1914
HIBBEN DALE (445205)    BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                           PROFESSIONAL BLDG
HIBBEN, DALE            BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD         OH      44067
                                                           PROFESSIONAL BLDG
HIBBERD, CAROL L        6834 SHELDON RD                                                                                      WHITMORE LAKE      MI      48189‐9107
HIBBERD, DEREK S        162 FINEBURG RD                                                                                      NORTH EAST         MD      21901‐2637
HIBBERD, DONALD E       6834 SHELDON RD                                                                                      WHITMORE LAKE      MI      48189‐9107
HIBBERD, HAROLD J       21611 MONTBURY DR                                                                                    LAKE FOREST        CA      92630‐6536
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Name                          Address1                         Address2               Address3     Address4               City               State   Zip
HIBBERD, JACKIE L             118 EAST WALNUT ST                                                                          FARMERSVILLE        OH     45325‐1137
HIBBERD, JACKIE L             118 E WALNUT ST                                                                             FARMERSVILLE        OH     45325‐1137
HIBBERD, JOHN S               611 AUXERRE CIR                                                                             SEFFNER             FL     33584‐7612
HIBBERD, STEPHEN C            2214 W RUNION DR                                                                            PHOENIX             AZ     85027‐3413
HIBBERT A LOWELL              650 WOODLAWN AVE                                                                            YPSILANTI           MI     48198‐8029
HIBBERT LOWELL                650 WOODLAWN AVE                                                                            YPSILANTI           MI     48198‐8029
HIBBERT, DARLENE A.           5822 N 200 E                                                                                HUNTINGTON          IN     46750‐9625
HIBBERT, DAVID L              8415 S WEST BAY SHORE DR                                                                    TRAVERSE CITY       MI     49684‐9563
HIBBERT, RICHARD C            3270 LEVALLEY RD                                                                            COLUMBIAVILLE       MI     48421‐9630
HIBBERT, RICHARD CLARE        3270 LEVALLEY RD                                                                            COLUMBIAVILLE       MI     48421‐9630
HIBBERT, TAMMY M              11604 N LAKE ST                                                                             MILTON              WI     53563‐9600
HIBBERT, THOMAS J             6421 DYKE RD                                                                                CLAY                MI     48001‐4208
HIBBERTS DAYTONIA             DELOACH, CHARITY                 PO BOX 69                                                  LUDOWICI            GA     31316‐0069
HIBBERTS DAYTONIA             HIBBERTS, DAYTONIA               PO BOX 69                                                  LUDOWICI            GA     31316‐0069
HIBBERTS, DAYTONIA            PO BOX 1453                                                                                 RICHMOND HILL       GA     31324‐1453
HIBBERTS, DAYTONIA            PHILLIPS & KITCHING              PO BOX 69                                                  LUDOWICI            GA     31316‐0069
HIBBERTS, STEVEN
HIBBITT KARLSSON & SORENSEN   14500 N SHELDON RD STE 160                                                                  PLYMOUTH            MI     48170‐2698
MICHIGAN INC
HIBBITT, ANITA L              7060 WOODCROFT DR                                                                           ENGLEWOOD          OH      45322‐2644
HIBBITT, CHRISTOPHER          1465 W 3RD ST APT 213                                                                       DAYTON             OH      45402‐6730
HIBBITT, CHRISTOPHER          1465 W 3RD ST                    APT 213                                                    DAYTON             OH      45402‐5730
HIBBITT, MARK J               5169 LAKE POINT DR                                                                          CARMEL             IN      46033‐7213
HIBBITT,CHRISTOPHER           1465 W 3RD ST APT 213                                                                       DAYTON             OH      45402
HIBBITT/PAWTUCKET             1080 MAIN ST                                                                                PAWTUCKET          RI      02860‐4847
HIBBITTS JR, DONNIE R         45320 SUNRISE LN                                                                            BELLEVILLE         MI      48111‐2424
HIBBITTS, JR,KENNETH Q        2621 HOLMAN ST                                                                              MORAINE            OH      45439‐1631
HIBBITTS, MARY                APT 110                          14800 KING ROAD                                            RIVERVIEW          MI      48193‐7953
HIBBITTS, MARY                14900 KING RD APT 1110                                                                      RIVERVIEW          MI      48193‐7953
HIBBLER, BOB L                7837 NW ROANRIDGE RD APT B                                                                  KANSAS CITY        MO      64151‐5217
HIBBLER, DAVE M               809 S HARRISON ST                                                                           SAGINAW            MI      48602‐1607
HIBBLER, DAVE M               809 SOUTH HARRISON STREET                                                                   SAGINAW            MI      48602‐1607
HIBBLER, DAWN C               7319 KATHERINE ST                                                                           TAYLOR             MI      48180‐2518
HIBBLER, JACK L               16076 NE 36TH ST                                                                            CHOCTAW            OK      73020‐8901
HIBBLER, JUDITH               PO BOX 173                                                                                  KAWKAWLIN          MI      48631
HIBBLER, JUDITH               PO BOX 638                                                                                  LINWOOD            MI      48634
HIBBLER, PAUL J               3938 ROGER AVE                                                                              ALLEN PARK         MI      48101
HIBBLER, TOMMIE L             18497 HARLOW ST                                                                             DETROIT            MI      48235‐3274
HIBBS JR, STEVEN W            716 CHESAPEAKE DR                                                                           FORKED RIVER       NJ      08731‐5213
HIBBS SR., ROBERT M           9266 W GEDDES PL                                                                            LITTLETON          CO      80128‐4112
HIBBS, BONNIE L               18 CLUB DR                                                                                  CANTON             NC      28716‐5775
HIBBS, DOUGLAS C              18 CLUB DR                                                                                  CANTON             NC      28716‐5775
HIBBS, GARY B                 12863 ISLE ROYALE DR                                                                        DEWITT             MI      48820‐8671
HIBBS, GEORGIA L              224 S GRACE ST                                                                              LANSING            MI      48917‐3800
HIBBS, GREGORY E              PO BOX 106                                                                                  RIGA               MI      49276‐0106
HIBBS, LELAND L               1651 SAND KEY ESTATES CT APT 1                                                              CLEARWATER BEACH   FL      33767

HIBBS, PATRICIA I             32007 LANCASTER DR                                                                          WARREN             MI      48088‐1350
HIBBS, VELMA C                4075 RELLIM AVE NW                                                                          WARREN             OH      44483‐2039
HIBBS, VYOLA S                C/O CYNTHIA HIBBS HUSSAIN        140 UNION STREET       # B39                               WESTFIELD          MA      01085‐2458
HIBDON, JUANITA P             10411 HOLLOW SP RD                                                                          BRADYVILLE         TN      37026
HIBDON, KENNETH D             2912 TAYLOR DRIVEY                                                                          INDEPENDENCE       MO      64055
HIBDON, LEO D                 14245 S CEDAR NILES RD                                                                      OLATHE             KS      66061‐9668
HIBDON, LOLA D                ATTN CLIFFORD LAMBERT            2601 NORTHWEST 68 ST                                       KANSAS CITY        MO      64151
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Name                    Address1                         Address2                         Address3   Address4                City               State   Zip
HIBDON, LOLA D          2601 NW 68TH ST                  ATTN CLIFFORD LAMBERT                                               KANSAS CITY         MO     64151‐2123
HIBDON, REBA W          91 HILLVALE RD                                                                                       MC MINNVILLE        TN     37110‐3641
HIBDON, REBA W          91 HILLVALE ROAD                                                                                     MC MINNVILLE        TN     37110‐3641
HIBEN, ANDREW P         2327 E WHITTEMORE AVE                                                                                BURTON              MI     48529‐2327
HIBEN, DANIEL           PO BOX 3344                                                                                          CENTER LINE         MI     48015‐0344
HIBEN, JOHN R           3375 BOHLMAN RD                                                                                      DRYDEN              MI     48428‐9742
HIBEN, PAUL A           PO BOX 84                                                                                            LUPTON              MI     48635‐0084
HIBEN, PAUL ANDREW      PO BOX 84                                                                                            LUPTON              MI     48635‐0084
HIBINGER, RICHARD K     16554 CRAIGMERE DR                                                                                   MIDDLEBRG HTS       OH     44130‐6421
HIBITS, BARBARA J       PO BOX 5160                                                                                          JASPER              TX     75951‐7701
HIBLER, DELYLE P        607 SHARON ST                                                                                        WATERFORD           MI     48328‐2166
HIBLER, EUGENE L        188 MOHAWK RD                                                                                        PONTIAC             MI     48341‐1128
HIBLER, MARGARET A      17400 CHARDON WINDSOR                                                                                HUNTSBURG           OH     44046‐9744
HIBLER, RONALD D        6210 AMARILLO DR                                                                                     FORT WAYNE          IN     46816‐1551
HIBMA CLARENCE          HIBMA, CLARENCE                  1100 NEW YORK AVENUE NW , WEST                                      WASHINGTON          DC     20005
                                                         TOWER SUITE 500
HIBMA CLARENCE          HIBMA, CLARENCE                  4 EMBARCADERO CTR FL 10                                             SAN FRANCISCO       CA     94111‐4168
HIBMA CLARENCE          HIBMA, JUDITH                    4 EMBARCADERO CTR FL 10                                             SAN FRANCISCO       CA     94111‐4168
HIBMA, ANDREW J         465 MASON ST SW                                                                                      BYRON CENTER        MI     49315‐9522
HIBMA, CLARA M          15916 LIGGETT ST                                                                                     NORTH HILLS         CA     91343‐3144
HIBMA, CLARENCE         HANCOCK ROTHERT & BUNSHOFT       4 EMBARCADERO CTR FL 10                                             SAN FRANCISCO       CA     94111‐4168
HIBMA, CLARENCE         COHEN MILSTEIN HAUSFELD & TOLL   1100 NEW YORK AVENUE NW, WEST                                       WASHINGTON          DC     20005‐3943
                                                         TOWER SUITE 500
HIBMA, JUDITH           HANCOCK ROTHERT & BUNSHOFT       4 EMBARCADERO CTR FL 10                                             SAN FRANCISCO      CA      94111‐4168
HIBNER JR, ALFONS H     5137 SUGARFOOT AVE                                                                                   LAS VEGAS          NV      89107‐1703
HIBNER, JACK W          10279 EVELYN DR                                                                                      CLIO               MI      48420‐7713
HIBNER, JOHN A          522 WESTERN AVENUE                                                                                   SAINT HENRY        OH      45883‐9777
HIBSHMAN, DENNIS K      442 TORNER RD                                                                                        BALTIMORE          MD      21221‐2144
HIBSKY, ROSE            29240 BRODY                                                                                          WESTLAND           MI      48185‐2533
HIBSKY, ROSE            29240 BRODY AVE                                                                                      WESTLAND           MI      48185‐2533
HIBST, PHILLIP L        1305 S PARK AVENUE 80                                                                                ALEXANDRIA         IN      46001
HICAR, JOSEPH S         25326 PRICE RD                                                                                       BEDFORD HTS        OH      44146‐1943
HICAR, LEANNA           6301 GRANBURY CUT‐OFF            APT 2214                                                            FORT WORTH         TX      76132
HICE, BEVERLY A         90 RIVERS EDGE LN                                                                                    MURPHY             NC      28906‐7018
HICE, CARROLL L         PO BOX 78                                                                                            NEWPORT            MI      48166‐0078
HICE, JAMES H           90 RIVERS EDGE LN                                                                                    MURPHY             NC      28906‐7018
HICE, JOHN F            757 WEBBER CT                                                                                        LINDEN             MI      48451‐8761
HICE, LARRY K           2751 CASTLEMARTIN CT                                                                                 OAKLAND            MI      48306‐4906
                                                                                                                             TOWNSHIP
HICE, MISTY             KRIST,SCOTT C                    1 CORPORATE PLAZA, 2525 BAY                                         HOUSTON             TX     77058
                                                         AREA BOULEVARD, SUITE 410
HICE, MISTY             ALLISON DOUGLAS LAW OFFICES OF   500 N WATER ST STE 400                                              CORPUS CHRISTI      TX     78471‐0014
HICE‐HILLON, CHERYL A   57395 HIDDEN TIMBERS DR                                                                              SOUTH LYON          MI     48178‐8701
HICHMAN, MARY           20848 WHITLOCK DR                                                                                    DEARBORN HEIGHTS    MI     48127‐2671

HICHME, MIKE A          700 EDGEWOOD DR                                                                                      ROCHESTER           MI     48306‐2632
HICK HANS UND IRMGARD   AUF DEM LOHKNIPPEN 13                                                                                OVERATH                    51491
HICK JOACHIM            SPINNEREIWEG 6                                                               D‐87700 MEMMINGEN
                                                                                                     GERMANY
HICK, FRANCIS L         642 WOODLAWN DR                                                                                      BRADENTON          FL      34210‐3032
HICK, MARY T            3393 MCKELVEY RD APT 132                                                                             BRIDGETON          MO      63044‐2543
HICK, MARY T            3393 MCKELVEY ROAD               APT 132                                                             BRIDGETON          MO      63044
HICKAM, EVERETT S       969 VALLEY VIEW DR                                                                                   TRAVERSE CITY      MI      49684‐8744
HICKAM, PRISCILLA       PO BOX 823                                                                                           PATRICKSBURG       IN      47455‐0823
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Name                        Address1                         Address2                      Address3   Address4               City              State   Zip
HICKAM, ROBERT L            PO BOX 823                                                                                       PATRICKSBURG       IN     47455‐0823
HICKCOX LYLE                26522 MIKANOS DR                                                                                 MISSION VIEJO      CA     92692‐6113
HICKEL, FRED J              42555 ADDISON AVE                                                                                CANTON             MI     48187‐3408
HICKEN DAVID W (439129)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510
                                                             STREET, SUITE 600
HICKEN PERRY                2532 CHICAGO BLVD                                                                                DETROIT           MI      48206‐1741
HICKEN, CHRISTIE L          PO BOX 386                                                                                       NEW MIDDLETOWN    OH      44442

HICKEN, DAVID M             3133 KILBURN RD W                                                                                ROCHESTER HILLS    MI     48306‐2917
HICKEN, DAVID W             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                             STREET, SUITE 600
HICKEN, FRED L              4760 TREE LINE TRL                                                                               NEW MIDDLETOWN    OH      44442‐7725

HICKEN, HELEN               623 SOUTHWOOD ROAD                                                                               HOCKESSIN         DE      19707
HICKENBOTTOM, ANNABELLE L   1411 THEODORE DR UNIT A                                                                          CHAMPAIGN         IL      61821‐6089
HICKENBOTTOM, DOLORES G     95 ASHLEY DR                                                                                     GREENSBURG        PA      15601‐9101
HICKERSON JR, JAMES M       9963 COUNTY ROAD 10‐2                                                                            DELTA             OH      43515
HICKERSON JR, LEONARD       8318 CHINABERRY PL                                                                               HUBER HEIGHTS     OH      45424‐6508
HICKERSON KIM               C/O EDWARD O MOODY P A           801 W 4TH ST                                                    LITTLE ROCK       AR      72201
HICKERSON, CHARLES          909 SPRING DR                                                                                    SIMPSONVILLE      SC      29680
HICKERSON, DAYTON D         4985 STATE ROUTE 303                                                                             RAVENNA           OH      44266‐9486
HICKERSON, DONNA K          1004 MEADOW LN                                                                                   ALEXANDRIA        IN      46001‐2648
HICKERSON, DONNA K          1004 MEADOW LANE                                                                                 ALEXANDRIA        IN      46001‐2648
HICKERSON, DOUGLAS R        13775 BARNETT STREET, BOX 478                                                                    NEAPOLIS          OH      43547
HICKERSON, GEORGE H         1276 OAKCREST AVE                                                                                KETTERING         OH      45409‐1904
HICKERSON, HALLIE E         2275 TANDY DR                                                                                    FLINT             MI      48532‐4959
HICKERSON, HELENA           5310 W WACKERLY ST                                                                               MIDLAND           MI      48642‐7359
HICKERSON, KIM              MOODY EDWARD O                   801 W 4TH ST                                                    LITTLE ROCK       AR      72201‐2107
HICKERSON, LEON E           3805 LINCOLNSHIRE RD                                                                             WATERFORD         MI      48328‐3541
HICKERSON, LESTER E         13 GLOUCHESTER CT                                                                                HOT SPRINGS       AR      71901‐7097
HICKERSON, MARK E           9968 COUNTY ROAD 7                                                                               DELTA             OH      43515‐9682
HICKERSON, PATRICIA A       1041 EMERSON DR                                                                                  MOORESVILLE       NC      28115‐9075
HICKERSON, PAUL J           150 RIVERSIDE DR                                                                                 CHEBOYGAN         MI      49721‐2323
HICKERSON, SANDRA J         821 CAMBRIDGE ST                 APT 161                                                         MIDLAND           MI      48642
HICKERSON, SANDRA J         821 CAMBRIDGE ST APT 161                                                                         MIDLAND           MI      48642‐4635
HICKERSON, WYETH E          3619 DRYSDALE DR                                                                                 LANCASTER         CA      93535‐2487
HICKETHIER CONRAD           HICKETHIER, CONRAD
HICKEY EUGENE CAPPS         FOSTER & SEAR, LLP               817 GREENVIEW DRIVE                                             GRAND PRAIRIE      TX     75050
HICKEY JACK H (419441)      SIMMONS LAW FIRM
HICKEY JAMES M (430242)     ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST , THE                                      PHILADELPHIA       PA     19107
                                                             WANAMAKER BUILDING
HICKEY JOHN M               DBA JOHNS TV & APPLIANCE         36 FREMONT ST                                                   TAUNTON           MA      02780‐2319
HICKEY JR, AUBREY O         PO BOX 892                                                                                       LA VERGNE         TN      37086‐0892
HICKEY JR, JOHN D           2621 HILLCREST AVE                                                                               FLINT             MI      48507‐1827
HICKEY JR, JOHN R           2049 MEADOW VALLEY CT NW                                                                         GRAND RAPIDS      MI      49504‐1341
HICKEY JR, JOHN ROBERT      2049 MEADOW VALLEY CT NW                                                                         GRAND RAPIDS      MI      49504‐1341
HICKEY JR, LAURENCE M       2608 APPOLD DR                                                                                   SAGINAW           MI      48602‐3302
HICKEY KIM                  1635 ROCK CREEK RD                                                                               GORDONVILLE       TX      76245‐2925
HICKEY RONALD P             1109 BLUE RIDGE DR                                                                               CLARKSTON         MI      48348‐4091
HICKEY SR, JAMES W          590 CHAMPION AVE W                                                                               WARREN            OH      44483‐1312
HICKEY THOMAS JR            20 PROSPECT ST                                                                                   SHERBORN          MA      01770‐1301
HICKEY TROY L (355544)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA      23510
                                                             STREET, SUITE 600
HICKEY, ALFRED R            14298 N TRADE WINDS WAY                                                                          ORO VALLEY         AZ     85755‐8856
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Name                   Address1                         Address2                    Address3   Address4               City            State   Zip
HICKEY, ALVA D         67 LIONS CREEK COURT SOUTH                                                                     NOBLESVILLE      IN     46062‐8617
HICKEY, ANGELINE       10076 N WEBSTER RD                                                                             CLIO             MI     48420‐8506
HICKEY, ANTHONY M      878 MAXWELTON LN                                                                               DAYTON           OH     45459‐2909
HICKEY, ANTHONY W      1630 FALKE DR                                                                                  DAYTON           OH     45432‐3314
HICKEY, ARTHUR V       401 4TH ST                                                                                     BROOKHAVEN       PA     19015‐2504
HICKEY, BARBARA A      1580 COBBLE CREEK WAY                                                                          CUMMING          GA     30041‐0301
HICKEY, BARBARA J      1911 WALNUT                                                                                    HOLT             MI     48842‐1615
HICKEY, BARBARA J      1911 WALNUT ST                                                                                 HOLT             MI     48842‐1615
HICKEY, BETTY A        8700 GREENWAY RD                                                                               SOUTHAVEN        MS     38671‐2727
HICKEY, BRIAN J        533 WEST CALLE CAJETA                                                                          SAHUARITA        AZ     85629‐7900
HICKEY, BRUCE E        6754 ROSS RD                                                                                   SPRINGWATER      NY     14560‐9684
HICKEY, CAROLE         5338 GREENLEAF DR                                                                              SWARTZ CREEK     MI     48473
HICKEY, CATHERINE N    1894 NORTH LORRETTA PLACE                                                                      CASA GRANDE      AZ     85222‐6193
HICKEY, CHERYL L       RT 2 BOX 240 HOLIDAY LN                                                                        BLANCHESTER      OH     45107
HICKEY, D G            16270 KNOBHILL DR                                                                              LINDEN           MI     48451‐8787
HICKEY, D GLEN         16270 KNOBHILL DR                                                                              LINDEN           MI     48451‐8787
HICKEY, DAVID J        1245 SILVER FERN DR                                                                            LAKE ST LOUIS    MO     63367‐4775
HICKEY, DAWN D         106 SUPERIOR TRL                                                                               SWARTZ CREEK     MI     48473
HICKEY, DAWN DELAINE   106 SUPERIOR TRL                                                                               SWARTZ CREEK     MI     48473
HICKEY, DEBRA F        3492 E 100 S                                                                                   KOKOMO           IN     46902‐2837
HICKEY, DENNIS M       7129 JACKSON ST                                                                                TAYLOR           MI     48180‐2649
HICKEY, DOLORES Z      13050 W BLUEMOUND RD UNIT 207                                                                  ELM GROVE        WI     53122‐2658
HICKEY, DONALD B       1512 HASKELL ST                                                                                WELLINGTON       TX     79095‐4013
HICKEY, EDWARD R       106 SUPERIOR TRL                                                                               SWARTZ CREEK     MI     48473‐1617
HICKEY, ELMER E        146 THACKER DR                                                                                 LA FOLLETTE      TN     37766‐7239
HICKEY, ELMER G        201 RAMEY LN APT E                                                                             FAIRFIELD        OH     45014‐8257
HICKEY, ERNEST L       3417 NORWOOD DR                                                                                FLINT            MI     48503‐2376
HICKEY, FRANCIS K      30304 ROAN DR                                                                                  WARREN           MI     48093‐5615
HICKEY, GERALDINE      PO BOX 72                                                                                      ST. PAUL         IN     47272‐0072
HICKEY, GORDON A       RT 2 BX 240 HOLIDAY LN                                                                         BLANCHESTER      OH     45107
HICKEY, GORDON R       3430 AULT VIEW AVE APT 1                                                                       CINCINNATI       OH     45208
HICKEY, J M            101 LEWIS ST APT N                                                                             GREENWICH        CT     06830‐6662
HICKEY, JACK           SIMMONS LAW FIRM                 PO BOX 521                                                    EAST ALTON        IL    62024‐0519
HICKEY, JACK H         8881 W DEADFALL RD                                                                             HILLSBORO        OH     45133
HICKEY, JAMES E        111 NOTTINGHAM RD                                                                              RAINBOW CITY     AL     35906‐6339
HICKEY, JAMES M        ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST, THE                                     PHILADELPHIA     PA     19107
                                                        WANAMAKER BUILDING
HICKEY, JAMES P        32833 BEECHWOOD DR                                                                             WARREN           MI     48088‐1559
HICKEY, JIMMIE A       1345 W SAGE LAKE RD                                                                            WEST BRANCH      MI     48661‐9545
HICKEY, JOHN R         17 SKYLINE CIR NW                                                                              GRAND RAPIDS     MI     49504‐5991
HICKEY, JOSEPH A       1014 S HARRISON ST                                                                             SAGINAW          MI     48602‐1648
HICKEY, KAREN L        11708 SCIPIO HWY                                                                               VERMONTVILLE     MI     49096‐9433
HICKEY, KATHY A        144 COUNTY ROAD 27 27                                                                          BERRY            AL     35546
HICKEY, KENNETH C      8820 SOLITUDE DR                                                                               BRIGHTON         MI     48116‐6219
HICKEY, KEVIN          150 N MAIN STREET                                                                              SYCAMORE         IL     60178‐1414
HICKEY, KEVIN          150 N MAIN ST                                                                                  SYCAMORE         IL     60178‐1414
HICKEY, KEVIN A        3492 E 100 S                                                                                   KOKOMO           IN     46902‐2837
HICKEY, L C            111 SUZANNE DR                                                                                 LONGVIEW         TX     75604‐2034
HICKEY, LANCE D        13190 SPRINGPORT RD                                                                            SPRINGPORT       MI     49284‐9789
HICKEY, LEO J          1111 ELMWOOD RD APT 1003                                                                       LANSING          MI     48917‐2064
HICKEY, LUCY D         1404 N AUGUSTINE                                                                               MESA             AZ     85207‐3814
HICKEY, LUCY D         1404 NORTH AUGUSTINE ST.                                                                       MESA             AZ     85207‐5207
HICKEY, MARIAN         19617 N PONDEROSA CIRCLE                                                                       SUN CITY         AZ     85373
HICKEY, MARILYN M      1716 PENN AVE T E BOX 5304                                                                     BADENTON         FL     34281‐5304
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HICKEY, MARION C           363 JUNGERMANN RD APT 242           BRENTMOOR APT                                                   SAINT PETERS       MO     63376‐5373
HICKEY, MARY F             12560 KELLY PALM DR                                                                                 FORT MYERS         FL     33908‐5906
HICKEY, MARY K             704 HARDSCUFFLE CT                                                                                  BOWLING GREEN      KY     42103‐7931
HICKEY, MATTHEW E          1287 WILLOWRIDGE DRIVE                                                                              DAYTON             OH     45434‐6763
HICKEY, MICHAEL C          166 FOREST LAWN DR                                                                                  CADILLAC           MI     49601‐9734
HICKEY, MIKE E             108 PRIMROSE CIR                                                                                    BUTLER             PA     16002‐3924
HICKEY, MILDRED C          2509 E CROSS ST                                                                                     ANDERSON           IN     46012‐1913
HICKEY, NANCY J            5602 S. KEYSTONE ST.                                                                                INDIANAPOLIS       IN     46227‐8713
HICKEY, NANCY J            5602 S KEYSTONE AVE                                                                                 INDIANAPOLIS       IN     46227‐8713
HICKEY, NINA M.            5263 APPLECREEK                                                                                     CENTERVILLE        OH     45429‐5409
HICKEY, PATRICIA           3085 N. GENESSEE RD.                APT 204                                                         FLINT              MI     48506‐2126
HICKEY, PATRICIA           3085 N GENESEE RD APT 204                                                                           FLINT              MI     48506
HICKEY, PATRICIA M         2416 AVON ST                                                                                        SAGINAW            MI     48602‐3816
HICKEY, PATRICK H          1016 N GRANGER ST                                                                                   SAGINAW            MI     48602
HICKEY, PATRICK S          4700 LOWCROFT AVE                                                                                   LANSING            MI     48910‐5329
HICKEY, PAUL J             2601 N ARAGON AVE                                                                                   DAYTON             OH     45420‐3715
HICKEY, PAUL J             2601 N. ARAGON AVE                                                                                  DAYTON             OH     45420‐3715
HICKEY, PAUL R             2247 BLACKMORE ST                                                                                   SAGINAW            MI     48602‐3510
HICKEY, R. D               700 PERRY SMITH LN                                                                                  CARYVILLE          TN     37714‐3293
HICKEY, ROBERT J           420 S JOHNSON ST APT 1                                                                              ODESSA             MO     64076‐1399
HICKEY, ROBERT J           45327 BURGUNDY DR                                                                                   MACOMB             MI     48044‐6037
HICKEY, RONALD B           2123 E BOATFIELD AVE                                                                                BURTON             MI     48529‐1713
HICKEY, ROSE M             87 MOUNT EVEREST WAY                                                                                SWARTZ CREEK       MI     48473‐1622
HICKEY, ROSEMARY F         932 WASHINGTON BLVD                                                                                 LAKE ODESSA        MI     48849‐1030
HICKEY, RUTH               5025 BONNE DR                                                                                       WEST ALEXANDRIA    OH     45381‐9724

HICKEY, RUTH               1064 OBERLIN DRIVE                                                                                  FAIRFIELD         OH      45014‐2837
HICKEY, RUTH               101 MILLS PLACE                                                                                     NEW LEBANON       OH      45345‐1430
HICKEY, SHIRLEY A          25 ALCOVY FOREST WAY                                                                                COVINGTON         GA      30014
HICKEY, SHIRLEY A          24 NICHOLAS DR                                                                                      BRISTOL           CT      06010‐5539
HICKEY, STEPHANIE M        4157 DEWBERRY LANE                                                                                  BURTON            MI      48529‐2238
HICKEY, TERRY J            PO BOX 38                                                                                           HEDLEY            TX      79237‐0038
HICKEY, THOMAS L           2430 GRAND OAKS CT                                                                                  ABINGDON          MD      21009‐1535
HICKEY, TIMOTHY R          280 E CAMPINA DR                                                                                    LITCHFIELD PARK   AZ      85340‐4221
HICKEY, TROY L             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA      23510‐2212
                                                               STREET, SUITE 600
HICKEY, VICKIE R           10430 MIDDLE LN                                                                                     CASCO              MI     48064‐4671
HICKEY, WILLIAM E          2526 N MERRILL RD                                                                                   MERRILL            MI     48637‐9503
HICKEY, WILLIAM J          4937 W 105TH ST                                                                                     OAK LAWN           IL     60453‐5227
HICKEY, WILLIAM M          15 FREEMAN AVE                                                                                      MIDDLEPORT         NY     14105‐1344
HICKEY, WILLIAM S          78 MULBERRY AVE                                                                                     GARDEN CITY        NY     11530
HICKIE, JOHN H             1894 LAKEWOODS BEACH RD                                                                             SAINT HELEN        MI     48656‐9744
HICKL, CHAD W.             8120 DIXIE BLANCHARD RD B                                                                           SHREVEPORT         LA     71107
HICKLE HARLEY J (658439)   GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                      EDWARDSVILLE       IL     62025‐0959
                           ANTOGNOLI
HICKLE, HARLEY J           GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                      EDWARDSVILLE       IL     62025‐0959
                           ANTOGNOLI
HICKLE, HARLEY JAMES       C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                          EDWARDSVILLE       IL     62025
                           ROWLAND PC
HICKLE, HAROLD A           6222 EAGLE LK DR                                                                                    MAPLE GROVE       MN      55369‐6208
HICKLE, KYLE E             APT 6                               1907 WESTFIELD DRIVE                                            AURORA            IL      60504‐5330
HICKLE, MARILYN E          152 MEANS ROAD                                                                                      COMMELLSVILLE     PA      15425
HICKLE, MARILYN E          152 MEANS RD                                                                                        CONNELLSVILLE     PA      15425‐1572
HICKLE, PAUL S             15393 DAHL RD                                                                                       HINCKLEY          MN      55037‐4773
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Name                                 Address1                          Address2                         Address3   Address4               City            State   Zip
HICKLEN, GLADYS                      34562 BOCK ST                                                                                        WESTLAND         MI     48185‐3507
HICKLEN, WILLIAM C                   75 MCLEMORE RD                                                                                       TAFT             TN     38488
HICKLIN ENGINEERING LC               4060 DIXON ST                                                                                        DES MOINES        IA    50313‐3942
HICKLIN, NANCY J                     603 S 5TH ST                                                                                         ODESSA           MO     64076‐1431
HICKLIN, NANCY JANE                  603 S 5TH ST                                                                                         ODESSA           MO     64076‐1431
HICKLIN, PAUL D                      2634 GEORGETOWN RD                                                                                   GREAT FALLS      SC     29055‐8824
HICKLIN, WILLIAM C                   75 MCLEMORE RD                                                                                       TAFT             TN     38488‐5110
HICKLING, JOHN B                     4368 S AINGER RD                                                                                     CHARLOTTE        MI     48813‐8540
HICKLING, ROBERT                     8306 HUNTINGTON RD                                                                                   HUNTINGTON       MI     48070‐1643
                                                                                                                                          WOODS
HICKMAN BOBBY G (429092)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510
                                                                       STREET, SUITE 600
HICKMAN BRIAN                        3657 E SUGAR HOLLOW ST                                                                               SPRINGFIELD     MO      65809‐2032
HICKMAN CECIL (ESTATE OF) (489089)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD      OH      44067
                                                                       PROFESSIONAL BLDG
HICKMAN CHARLES J (406049)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510
                                                                       STREET, SUITE 600
HICKMAN CLIFFORD D (472069)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510
                                                                       STREET, SUITE 600
HICKMAN COUNTY GS                    104 COLLEGE AVE STE 204                                                                              CENTERVILLE      TN     37033‐1453
HICKMAN CRYSTAL                      HICKMAN, CRYSTAL
HICKMAN DICK                         105 ORCHARD CIR                                                                                      HAMILTON         VA     20158‐9732
HICKMAN GARY G (493839)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510
                                                                       STREET, SUITE 600
HICKMAN HOLMES JR                    4262 KELLY CT                                                                                        FLUSHING        MI      48433‐2318
HICKMAN JR, GILBERT L                1022 E GARFIELD DR                                                                                   INDIANAPOLIS    IN      46203‐4216
HICKMAN JR, JAMES                    12680 SUMPTER RD                                                                                     CARLETON        MI      48117‐9553
HICKMAN JR, JOSEPH R                 16 COURTLAND PL                                                                                      MIDDLETOWN      NY      10940‐5502
HICKMAN TROY                         HICKMAN, MAYLEN                   640 S SAN VICENTE BLVD STE 230                                     LOS ANGELES     CA      90048‐4654
HICKMAN TROY                         HICKMAN, TROY                     640 S SAN VICENTE BLVD STE 230                                     LOS ANGELES     CA      90048‐4654
HICKMAN WILL/CHATTNG                 1200 MOUNTAIN CREEK ROAD                                                                             CHATTANOOGA     TN      37405
HICKMAN WILL/CINCINT                 PO BOX 538                                                                                           CINCINNATI      OH      45201‐0538
HICKMAN WILLIAMS & CO                STE 401                           8050 ROWAN ROAD                                                    CRANBERRY TWP   PA      16066‐3624
HICKMAN'S EXXON                      200 N WASHINGTON ST                                                                                  ROCKVILLE       MD      20850‐1701
HICKMAN, ALFRED R                    2980 W US 10 .                                                                                       BALDWIN         MI      49304
HICKMAN, BARBARA                     2211 COLLINGWOOD AVE                                                                                 SAGINAW         MI      48601‐3620
HICKMAN, BETTY J                     260 PARRAGON RD                                                                                      COOKEVILLE      TN      38506‐8701
HICKMAN, BILLIE J                    7351 BREWER RD                                                                                       FLINT           MI      48507‐4613
HICKMAN, BILLY H                     37 TEEL DR                                                                                           ASHLAND         AL      36251‐6604
HICKMAN, BOBBY G                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA      23510‐2212
                                                                       STREET, SUITE 600
HICKMAN, BRUCE E                     4833 ALICIA DR                                                                                       FORT WORTH       TX     76133‐7401
HICKMAN, BRUCE EDWIN                 201 N MAIN ST                                                                                        TONKAWA          OK     74653
HICKMAN, CATHERINE J                 116 BILL ANDERSON RD                                                                                 MINDEN           LA     71055‐7113
HICKMAN, CHARLES                     1646 WIARD BLVD                                                                                      YPSILANTI        MI     48198‐3326
HICKMAN, CHARLES A                   6181 E US HWY 36                                                                                     MOORELAND        IN     47360
HICKMAN, CHARLES J                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510‐2212
                                                                       STREET, SUITE 600
HICKMAN, CHARLES R                   5631 HUNTER RD                                                                                       BEAVERTON        MI     48612‐8572
HICKMAN, CHARLES T                   7605 E PICCADILLY RD                                                                                 MUNCIE           IN     47302‐9044
HICKMAN, CLIFFORD D                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510‐2212
                                                                       STREET, SUITE 600
HICKMAN, CRYSTAL L                   308 PAYNE AVE                                                                                        PONTIAC          MI     48341‐1051
HICKMAN, CYNTHIA A                   8111 N STATE ROUTE 159                                                                               MORO             IL     62067‐1209
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Name                   Address1                              Address2                       Address3   Address4               City            State   Zip
HICKMAN, DAVID L       8155 SPRINGFIELD JAMESTOWN ROAD                                                                        SPRINGFIELD      OH     45502‐5502
HICKMAN, DAVID W       109 CREEK SIDE DR                                                                                      PULASKI          TN     38478‐8602
HICKMAN, DEANNA K      112 ACORN PL                                                                                           SPRING HILL      TN     37174‐2586
HICKMAN, DEANNA KAYE   112 ACORN PL                                                                                           SPRING HILL      TN     37174‐2586
HICKMAN, DENNIS B      2497 ACADEMY RD                                                                                        HOLLY            MI     48442
HICKMAN, DONAL R       12687 LINDA VISTA ST                                                                                   BELLEVILLE       MI     48111‐2275
HICKMAN, DONALD E      2386 CONGO ST                                                                                          AKRON            OH     44305‐3961
HICKMAN, DONALD J      764 ASBURY LN                                                                                          SUNRISE BEACH    MO     65079‐7832
HICKMAN, DORIS         1646 WIARD BLVD                       BLVD.                                                            YPSILANTI        MI     48198‐3326
HICKMAN, DORIS
HICKMAN, DOROTHY D     G‐2112 S CENTER ROAD                                                                                   BURTON           MI     48519
HICKMAN, DOROTHY J     960 ALAN DR                                                                                            LAKE ORION       MI     48362‐2803
HICKMAN, DOROTHY J     960 ALAN ST                                                                                            LAKE ORION       MI     48362‐2803
HICKMAN, DWIGHT D      2536 MAPLEVIEW CT SE                                                                                   KENTWOOD         MI     49508‐8427
HICKMAN, ELEANOR L     126 WARWICK WAY                                                                                        PENDLETON        IN     46064‐9479
HICKMAN, ELMER R       7704 RUGGLES FERRY PIKE                                                                                KNOXVILLE        TN     37924‐3039
HICKMAN, FRANK R       1205 E SANDY LAKE RD APT 213                                                                           COPPELL          TX     75019‐7389
HICKMAN, GARY G        GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA     23510‐2212
                                                             STREET, SUITE 600
HICKMAN, GARY M        431 HIGHLAND ST                                                                                        WYANDOTTE       MI      48192‐2422
HICKMAN, GEORGE M      826 W. 8TH ST.                                                                                         LOS ANGELES     CA      90017
HICKMAN, GERALDINE H   7120 GEORGIA AVE                                                                                       KANSAS CITY     KS      66109‐1819
HICKMAN, GERTRUDE L    336 LAKESHORE DR                                                                                       BATTLE CREEK    MI      49015‐3106
HICKMAN, GERTRUDE L    336 LAKE SHORE DR                                                                                      BATTLE CREEK    MI      49015‐3106
HICKMAN, GLENDA        14 LAFAYETTE 111                                                                                       STAMPS          AR      71860
HICKMAN, GLENDA S      2464 E FIESTA DR                                                                                       CASA GRANDE     AZ      85194‐9499
HICKMAN, GLENN D       731 5TH ST                                                                                             NILES           OH      44446‐1085
HICKMAN, HARRY R       GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH      PA      15219

HICKMAN, HEATHER       3096 HAMPSHIRE PIKE                                                                                    MT PLEASANT     TN      38474‐3023
HICKMAN, HOWARD L      202 TOMMOTLEY DR                                                                                       LOUDON          TN      37774‐7774
HICKMAN, JACKIE T      SHANNON LAW FIRM                      100 W GALLATIN ST                                                HAZLEHURST      MS      39083‐3007
HICKMAN, JACQUES D     408 HOLT CK CT                                                                                         NASHVILLE       TN      37211
HICKMAN, JAMES ERVIN   BARON & BUDD                          THE CENTRUM, 3102 OAK LAWN                                       DALLAS          TX      75219
                                                             AVE, STE 1100
HICKMAN, JAMES F       924 JOHN BARBEE RD                                                                                     RAY             OH      45672
HICKMAN, JAMES G       404 LAKEVIEW DR                                                                                        WHITE LAKE      MI      48386‐3006
HICKMAN, JAMES L       1454 W ELM AVE                                                                                         FULLERTON       CA      92833‐3948
HICKMAN, JAMES L       126 HOLLAND AVE                                                                                        DAYTON          OH      45427‐2637
HICKMAN, JAMES M       5116 MILLSBORO RD                                                                                      GALION          OH      44833‐9525
HICKMAN, JAMES R       661 THORNTON ST                                                                                        LIBERTY         MO      64068‐2138
HICKMAN, JEANETTE E    2226 HARRISON AVE                                                                                      SAINT ALBANS    WV      25177‐2004
HICKMAN, JEFFREY G     215 DUNLOP AVE                                                                                         TONAWANDA       NY      14150‐7839
HICKMAN, JEFFREY R     2223 ROLLING ROCK DR                                                                                   BRIGHTON        MI      48114‐7346
HICKMAN, JENNIE J      2464 S STATE RD                                                                                        CORUNNA         MI      48817‐9502
HICKMAN, JERLENE       4615 WHISPERING LAKE DRIVE APT#6                                                                       FLORISSANT      MO      63033
HICKMAN, JERLENE       4515 WHISPER LAKE DRIVE                                                                                FLORISSANT      MO      63033
HICKMAN, JERRY W       260 PARAGON RD                                                                                         ALGOOD          TN      38506
HICKMAN, JOE M         9217 CASA DR                                                                                           INDIANAPOLIS    IN      46234‐2408
HICKMAN, JOHN A        310 ATLANTIC ST                                                                                        INDIANAPOLIS    IN      46227‐1315
HICKMAN, JOHN A        1055 FOREST HILL AVE SE APT 88A                                                                        GRAND RAPID     MI      49546‐3589
HICKMAN, JOHN D        1504 BINDER LN                                                                                         WILMINGTON      DE      19805‐1228
HICKMAN, JOHN D        821 ELIZABETH CT                                                                                       LIBERTY         MO      64068‐2066
HICKMAN, JOHNNIE
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HICKMAN, KAREN S        9217 CASA DR                                                                              INDIANAPOLIS        IN     46234‐2408
HICKMAN, KAYE L         3210 HURON AVE                                                                            KALAMAZOO           MI     49006‐2025
HICKMAN, KENNETH D      4979 S SAGINAW RD                                                                         FREELAND            MI     48623‐9723
HICKMAN, KEVAN D        27303 GATEWAY DR N APT 304                                                                FARMINGTON HILLS    MI     48334‐4929

HICKMAN, L B            8801 MADISON AVE.               APT.107B                                                  INDIANAPOLIS       IN      46227
HICKMAN, LARRY M        5985 BRIARCLIFF LN APT A                                                                  KALAMAZOO          MI      49009‐7464
HICKMAN, LEO F          5050 S LAKE SHORE DR APT 1906                                                             CHICAGO            IL      60615‐3260
HICKMAN, LONNIE R       310 PROCTOR CT                                                                            TALLMADGE          OH      44278‐1620
HICKMAN, LOURDES C      903 WOLF CREEK ST                                                                         CLERMONT           FL      34711‐6741
HICKMAN, MADELINE V     1572 E RIDGEVIEW DR                                                                       LAPEER             MI      48446‐1439
HICKMAN, MARGARET E     1827 KEM RD                                                                               MARION             IN      46952‐1706
HICKMAN, MARGARET E     1827 W KEM RD                                                                             MARION             IN      46952‐1706
HICKMAN, MARION L       2207 ROOSEVELT BLVD. #2                                                                   WINCHESTER         VA      22601‐3686
HICKMAN, MAUDE          404 LAKEVIEW                                                                              WHITE LAKE         MI      48386‐3006
HICKMAN, MAUDE          404 LAKEVIEW DR                                                                           WHITE LAKE         MI      48386‐3006
HICKMAN, MERVIN E       8459 BRIDGE LAKE RD                                                                       CLARKSTON          MI      48348‐2558
HICKMAN, MICHAEL A      4366 MARGO STREET                                                                         AUSTELL            GA      30106‐1056
HICKMAN, MICHAEL A      3725 RICHMOND ST                                                                          LANSING            MI      48911‐2417
HICKMAN, MICHAEL L      545 SOUTHFORK DR                                                                          WAUKEE             IA      50263‐9559
HICKMAN, MICHAEL R      14801 COLONY OAK TER                                                                      MIDLOTHIAN         VA      23114‐4680
HICKMAN, MILDRED E.     575 SUMPTER RD APT 303                                                                    BELLEVILLE         MI      48111‐4955
HICKMAN, NANCY M        3340 MENOMINEE ST                                                                         BURTON             MI      48529‐1414
HICKMAN, OPAL           PO BOX 385                                                                                WINCHESTER         TN      37398‐0385
HICKMAN, PAUL J         14 YARDLEY MANOR DR                                                                       MATAWAN            NJ      07747‐6652
HICKMAN, PEGGY          8338 LABROT LN                                                                            AVON               IN      46123
HICKMAN, RAMONA K       525 LINTON CT                                                                             BEAVERCREEK        OH      45430‐1544
HICKMAN, RAYMOND D      4271 LANDHIGH LAKES DR                                                                    POWELL             OH      43065‐6911
HICKMAN, RICHARD L      6510 EMILY LN                                                                             LOCKPORT           NY      14094‐9478
HICKMAN, RICHARD L      1515 TWIN PALMS LOOP                                                                      LUTZ               FL      33559‐6731
HICKMAN, ROBERT A       APT 101                         505 SPINNAKER BAY                                         GREENWOOD          IN      46143‐9665
HICKMAN, ROBERT J       1933 PLAT I RD                                                                            SUTHERLIN          OR      97479‐4703
HICKMAN, ROBERT R       PO BOX 3894                                                                               THOUSAND OAKS      CA      91359‐0894
HICKMAN, ROMESHIA       PATTON LAW OFFICE               107 E LAMPKIN ST                                          STARKVILLE         MS      39759‐2944
HICKMAN, ROMESHIA       WALTERS EASLEY AND WALTERS      401 7TH ST N                                              COLUMBUS           MS      39701‐4679
HICKMAN, ROMESHIA       SANDERS EDWARD                  PO BOX 2728                                               COLUMBUS           MS      39704‐2728
HICKMAN, ROMESHIA       CRAWLEY LAW OFFICE              PO BOX 947                                                LOUISVILLE         MS      39339‐0947
HICKMAN, ROOSEVELT      4619 ANDOVER RD                                                                           INDIANAPOLIS       IN      46226‐3114
HICKMAN, ROSEMARY S     3211 BRISTOL DR                                                                           WILMINGTON         DE      19808‐2415
HICKMAN, RUDY J         2377 SW MURPHY RD                                                                         PALM CITY          FL      34990‐1978
HICKMAN, STEVEN D       188 TRACY RIDGE BLVD                                                                      WHITELAND          IN      46184
HICKMAN, TAURIN L       1940 WESTBROOK RD                                                                         DAYTON             OH      45415‐1858
HICKMAN, THOMAS L       254 OBSERVATION POINTE                                                                    DALLAS             GA      30132‐6204
HICKMAN, THOMAS R       1501 PARKSIDE AVE               APT 8B                                                    TRENTON            NJ      08638‐2623
HICKMAN, THOMAS R       1501 PARKSIDE AVE APT 8B                                                                  EWING              NJ      08638‐2623
HICKMAN, TIMOTHY K      140 SUGAR HILL DR                                                                         EATON              OH      45320‐9686
HICKMAN, TIMOTHY K      140 SUGARHILL                                                                             EATON              OH      45320‐9686
HICKMAN, VILHELMINE E   6436 STODDARD HAYES RD                                                                    FARMDALE           OH      44417‐9774
HICKMAN, WALLACE A      1655 BASELINE RD                                                                          STOCKBRIDGE        MI      49285‐9556
HICKMAN, WALTER G       3340 NEWTON TOMLINSON RD SW                                                               WARREN             OH      44481‐9218
HICKMAN, WANDA M        1028 BLACKJACK RD                                                                         CHOCTAW            MS      39350‐9350
HICKMAN, WILLIA B       2051 WARRENSVILLE CTR RD.                                                                 SOUTH EUCLID       OH      44121
HICKMAN, WILLIAM E      202 E ALMA AVE                                                                            FLINT              MI      48505‐2108
HICKMAN, WILLIAM M      8338 LABROT LN                                                                            AVON               IN      46123‐8398
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Name                                 Address1                        Address2                     Address3            Address4               City               State   Zip
HICKMAN, WILLIS G                    1315 JOHN GLENN ROAD                                                                                    DAYTON              OH     45410‐3006
HICKMAN‐WA, IDA                      9957 ALLEN POINTE DR                                                                                    ALLEN PARK          MI     48101‐1282
HICKMAN/SIGNAL                       1520 E BROW RD                                                                                          SIGNAL MOUNTAIN     TN     37377‐3224

HICKMON, CAROL A                     7777 OGEANY CT                                                                                          ONSTED             MI      49265‐9432
HICKMON, CAROL ANN                   7777 OGEANY CT                                                                                          ONSTED             MI      49265‐9432
HICKMON, DELORES                     4605 WISNER ST                                                                                          FLINT              MI      48504‐2005
HICKMON, EDNA B                      2800 TRUDY LANE #20                                                                                     LANSING            MI      48910‐3828
HICKMON, EDNA B                      2800 TRUDY LN UNIT 20                                                                                   LANSING            MI      48910‐3828
HICKMON, JIMMY L                     PO BOX 3374                                                                                             FLINT              MI      48502‐0374
HICKMON, KURT                        1520 W HOME AVE                                                                                         FLINT              MI      48505‐2531
HICKMON, ROGER D                     7777 OGEANY CT                                                                                          ONSTED             MI      49265‐9432
HICKMON, ROGER DALE                  7777 OGEANY CT                                                                                          ONSTED             MI      49265‐9432
HICKMON, TONY A                      809 E WELLINGTON AVE                                                                                    FLINT              MI      48503‐2714
HICKMOTT TRANSPORTATION INC          208 S GEORGE ST                                                                                         DECATUR            MI      49045‐1213
HICKMOTT, CHESTER W                  102 MINETTA DR                                                                                          CROSSVILLE         TN      38558‐2861
HICKMOTT, JEFFREY D                  707 ROLLING ACRES DR                                                                                    ORTONVILLE         MI      48462‐9152
HICKMOTT, KEITH W                    167 W CLYDESDALE ST             C/O WILLIAM KEITH HICKMOTT                                              MOUNT MORRIS       MI      48458‐8889
HICKMOTT, KENNETH A                  11655 BLOCK RD                                                                                          BIRCH RUN          MI      48415‐9483
HICKMOTT, KENNETH B                  5293 RIDGE RD                                                                                           ALGER              MI      48610‐9305
HICKMOTT, KENNETH R                  712 MEADOWVIEW LN                                                                                       PENSACOLA          FL      32514‐1574
HICKMOTT, LARRY C                    106 N BARCLAY ST                                                                                        BAY CITY           MI      48706‐4215
HICKNEY KATHERINE                    5922 FLINTSHIRE LN                                                                                      DALLAS             TX      75252‐5133
HICKOCK, KAREN E                     43272 W ANNE LN                                                                                         MARICOPA           AZ      85238‐1542
HICKOK INC                           10514 DUPONT AVE                                                                                        CLEVELAND          OH      44108‐1348
HICKOK INC (DATA STREAM)             MIKE CABLE                      10514 DUPONT AVE                                                        CLEVELAND          OH      44108‐1348
HICKOK, ADELINE A                    168 SIXTH AVE.                                                                                          GALION             OH      44833
HICKOK, ADELINE A                    168 6TH AVE                                                                                             GALION             OH      44833‐3003
HICKOK, ANN MARIE                    4901 N TRIPP AVE                                                                                        CHICAGO            IL      60630‐2722
HICKOK, DONNA J                      307 OHIO RIVER DR                                                                                       ADRIAN             MI      49221‐3762
HICKOK, EDITH M                      1914 CLARA MATHIS RD                                                                                    SPRING HILL        TN      37174‐2547
HICKOK, EILEEN M                     136 LAKESHORE DR APT 310                                                                                NORTH PALM BEACH   FL      33408‐3634

HICKOK, ETHEL F                      753 WORM DR NE                                                                                          COMSTOCK PARK      MI      49321‐9553
HICKOK, GEOFFREY A                   15550 26TH ST                                                                                           GOBLES             MI      49055‐9213
HICKOK, JAMES B                      6255 EASTRIDGE DR                                                                                       HUDSONVILLE        MI      49426‐8707
HICKOK, JEAN M                       8993 FAIRWEATHER DR             C/O CAROL BERCHOU                                                       LARGO              FL      33773‐4813
HICKOK, KARAN L                      11846 HIAWATHA DR                                                                                       SHELBY TOWNSHIP    MI      48315‐1241
HICKOK, LAUREN C                     9343 PINECREST CT                                                                                       DAVISON            MI      48423‐8419
HICKOK, LELAND F                     724 KENDON DR                                                                                           LANSING            MI      48910‐5650
HICKOK, PAMELA K                     1814 GLENDALE AVE                                                                                       FLINT              MI      48503‐5329
HICKOK, PAMELA KAYE                  1814 GLENDALE AVE                                                                                       FLINT              MI      48503‐5329
HICKOK, ROY K                        532 S 8TH ST                                                                                            MITCHELL           IN      47446‐2016
HICKOK, SHERI E                      2526 YASMIN DR                                                                                          COMMERCE TWP       MI      48382‐5210
HICKOK, WANDA S                      2650 N FOREST #107                                                                                      GETZVILLE          NY      14068
HICKOK, WILLIAM R                    4699 WESTLAWN PKWY                                                                                      WATERFORD          MI      48328‐3476
HICKOMBOTTON, JENOLA                 4215 E SAN FRANCISCO AVE                                                                                SAINT LOUIS        MO      63115‐3415
HICKORY AUTOMOTIVE GROUP, INC.       JAY BESKIND                     1712 8TH STREET DR SE                                                   HICKORY            NC      28602‐9656
HICKORY CADILLAC
HICKORY HOUSE REVOCABLE LIVING TRUST U/A DTD 07/21/2008              JANE B TILLERY TTEE ET AL    2912 E LOWELL AVE                          GILBERT             AZ     85295‐1403

HICKORY POINT AUTO SERVICE           1095 S ROUTE 51                                                                                         FORSYTH            IL      62535‐1071
HICKOX WINIFRED E                    502 SHADYDALE DR                                                                                        CANFIELD           OH      44406‐9655
HICKOX, C R
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Name                               Address1                         Address2                      Address3                      Address4               City            State   Zip
HICKOX, DAROLD L                   6701 E HACIENDA LA COLORADA DR                                                                                      GOLD CANYON      AZ     85218‐1910
HICKOX, FREDA G                    501 W HENRY CT                                                                                                      FLUSHING         MI     48433‐1590
HICKOX, FREDA G                    501 HENRY CT                                                                                                        FLUSHING         MI     48433‐1590
HICKOX, GARY D                     PO BOX 148                       850 MICHIGAN AVENUE                                                                BENZONIA         MI     49616‐0148
HICKOX, KARA K                     7310 JEFFREY CT                                                                                                     LINDEN           MI     48451‐8612
HICKOX, MARY L                     632 RED ROBIN RD                                                                                                    SEFFNER          FL     33584‐5431
HICKOX, RHONDA S                   7310 JEFFREY CT                                                                                                     LINDEN           MI     48451‐8612
HICKOX, RHONDA SUE                 7310 JEFFREY CT                                                                                                     LINDEN           MI     48451‐8612
HICKOX, TIMOTHY V                  7310 JEFFREY CT                                                                                                     LINDEN           MI     48451‐8612
HICKOX, WILLIAM B                  152 SANIBEL ST                                                                                                      NOKOMIS          FL     34275‐1520
HICKOX, WILLIAM E                  2959 REGAL DR NW                                                                                                    WARREN           OH     44485‐1247
HICKS AUTO                         1020 LIBERTY RD                                                                                                     WILMINGTON       DE     19804‐2857
HICKS AUTOMOTIVE INC               25 HILL ST STE B                                                                                                    ROSWELL          GA     30075‐4685
HICKS CHARLES R JR (477225)        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                                         BALTIMORE        MD     21202
                                                                    CHARLES CENTER 22ND FLOOR
HICKS CHESTER                      15300 DOVEHEART LN                                                                                                  BOWIE           MD      20721‐3055
HICKS CHEVROLET, INC.              ALVIN HICKS                      650 N ANTRIM WAY                                                                   GREENCASTLE     PA      17225‐9763
HICKS CHEVROLET‐BUICK‐VOLVO        650 N ANTRIM WAY                                                                                                    GREENCASTLE     PA      17225‐9763
HICKS CURTIS                       C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                                                LITTLE ROCK     AR      72201
HICKS DEBORAH (511071)             STE 163W                         1 RICHMOND SQUARE                                                                  PROVIDENCE      RI      02906‐5172
HICKS DONALD                       HICKS, DONALD                    12 HARDING STREET SUITE 110                                                        LAKEVILLE       MA      02767
HICKS DONALD                       HICKS, SANDRA                    CONSUMER LEGAL SERVICES       12 HARDING STREET SUITE 110                          LAKEVILLE       MA      02767

HICKS EDWARD (650529)              BRAYTON PURCELL                  PO BOX 6169                                                                        NOVATO           CA     94948‐6169
HICKS GEORGE WENDELL (ESTATE OF)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA     23510
(626568)                                                            STREET, SUITE 600
HICKS GERALD                       15786 JOSLYN ST                                                                                                     HIGHLAND PARK    MI     48203‐2708
HICKS HARDY JR                     C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                                                LITTLE ROCK      AR     72201
HICKS HARVEY E (429093)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA     23510
                                                                    STREET, SUITE 600
HICKS HERBERT (493840)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA     23510
                                                                    STREET, SUITE 600
HICKS HERTY (473081)               DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                                                    NORTH OLMSTED   OH      44070
HICKS I I I, WILLIAM               805 BRANT DR                                                                                                        NEW CASTLE      DE      19720‐8906
HICKS III, WILLIAM                 805 BRANT DR                                                                                                        NEW CASTLE      DE      19720‐8906
HICKS IVONNE                       HICKS, IVONNE                    77 W WASHINGTON ST STE 1313                                                        CHICAGO         IL      60602‐3236
HICKS IVONNE                       STATE FARM INSURANCE COMPANY     77 W WASHINGTON ST STE 1313                                                        CHICAGO         IL      60602‐3236
HICKS JACK D (626569)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                        NORFOLK         VA      23510
                                                                    STREET, SUITE 600
HICKS JACK E (470918)              ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST , THE                                                         PHILADELPHIA     PA     19107
                                                                    WANAMAKER BUILDING
HICKS JAMES                        100 WOODCREST DR                                                                                                    HAUGHTON         LA     71037‐9741
HICKS JAMES B (439130)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA     23510
                                                                    STREET, SUITE 600
HICKS JAMIE                        PO BOX 645                                                                                                          WADDINGTON       NY     13694‐0645
HICKS JIM                          13685 BRIANA LN                                                                                                     SHELBY TWP       MI     48315‐2059
HICKS JIMMIE R                     3445 WOODS RD                                                                                                       HARRISON         MI     48625‐8468
HICKS JOHN HARLAN (344442)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA     23510
                                                                    STREET, SUITE 600
HICKS JONATHAN                     HICKS, JONATHAN                  701 WHITLOCK AVE SW                                                                MARIETTA         GA     30064
HICKS JONATHAN                     HICKS, LEESA                     701 WHITLOCK AVENUE SW                                                             MARIETTA         GA     30064
HICKS JOSHUA                       1151 CAMILLION DR                                                                                                   MOUNT MORRIS     MI     48458
HICKS JR, CHARLIE F                7840 SILVERSMITH CT                                                                                                 CUMMING          GA     30028‐5549
HICKS JR, FLOYD                    4420 GIRKIN RD                                                                                                      BOWLING GREEN    KY     42101‐8615
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Name                                  Address1                            Address2                        Address3   Address4               City           State   Zip
HICKS JR, FRED                        9712 LEWIS RD                                                                                         THONOTOSASSA    FL     33592‐2910
HICKS JR, JAMES H                     5199 FRANKLIN PARK ST                                                                                 MASON           OH     45040‐3616
HICKS JR, JOHN C                      29393 TONESTER CIR                                                                                    NEW HUDSON      MI     48165‐9671
HICKS JR, JOSEPH                      4843 STATE ROUTE 225                                                                                  DIAMOND         OH     44412‐9759
HICKS JR, LOUIS D                     9009 GREAT HILLS TRL APT 1021                                                                         AUSTIN          TX     78759‐7141
HICKS JR, MARION                      12 MEADOW SPRING DR                                                                                   BEL AIR         MD     21015‐1700
HICKS JR, ROBERT                      397 JORDON RIDGE PL                                                                                   MADISON         MS     39110‐4307
HICKS JR, THOMAS L                    614 S 26TH ST                                                                                         SAGINAW         MI     48601‐6528
HICKS JR, TILMON G                    1708 S INDIANA AVE                                                                                    KOKOMO          IN     46902‐2062
HICKS KELLY ‐ CADILLAC ESCALADE EXT   NO ADVERSE PARTY
2008
HICKS LARRY                           HICKS, LARRY                        5055 WILSHIRE BLVD STE 300                                        LOS ANGELES     CA     90036‐6101
HICKS MARK A                          C/O MCKENNA & CHIODO                436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH      PA     15219
                                                                          SUITE 500
HICKS MARK A (507015)                 (NO OPPOSING COUNSEL)
HICKS MASSEY & GARDNER                53 WEST CANDLER STREET              PO BOX 721                                                        WINDER          GA     30680
HICKS MITCHELL & HILDA                1531 PECAN RIDGE DR                                                                                   COLLIERVILLE    TN     38017‐9084
HICKS MORRIS W SR (439131)            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA     23510
                                                                          STREET, SUITE 600
HICKS MUSE TATE & FURST INC
HICKS MUSE TATE & FURST INC           7683 SOUTHFRONT RD                                                                                    LIVERMORE      CA      94551‐8228
HICKS MUSE TATE & FURST INC           804 LAS CIMAS PARKWAY                                                                                 AUSTIN         TX      78746
HICKS NICOLE                          HICKS, NICOLE                       22 WOODLAND ST 1ST FL                                             NEW BRITAIN    CT      06051‐2331
HICKS OLLIS                           HICKS, OLLIS                        4707 GANDY BLVD SUITE 8                                           TAMPA          FL      33607
HICKS PETER                           HICKS, PETER                        100 CENTURY PKWY STE 305                                          MOUNT LAUREL   NJ      08054‐1182
HICKS PLASTICS CO                     STEVE BALLARD                       51308 INDUSTRIAL DRIVE                                            CLEVELAND      OH      44144
HICKS PLASTICS COMPANY INC            51308 INDUSTRIAL DR                                                                                   MACOMB         MI      48042‐4025
HICKS PLASTICS COMPANY INC            STEVE BALLARD                       51308 INDUSTRIAL DRIVE                                            CLEVELAND      OH      44144
HICKS ROBERT & ALEX SIMANOVSKY&       2300 HENDERSON MILL RD NE STE 300                                                                     ATLANTA        GA      30345‐2704
ASSOCIATES
HICKS ROBERT S JR (481791)            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA     23510
                                                                          STREET, SUITE 600
HICKS RUFUS                           3120 CLUSTER PINE DR                                                                                  INDIANAPOLIS   IN      46235‐5820
HICKS SHAMITA                         HICKS, SHAMITA                      1609 JASPER AVE                                                   CHULA VISTA    CA      91911‐5332
HICKS SHANNON                         800 ZEAGLER DR STE 330                                                                                PALATKA        FL      32177‐3827
HICKS SPORTS GROUP LLC                ATTN ACCOUNTING                     PO BOX 975107                                                     DALLAS         TX      75397‐5107
HICKS SR, MICHAEL P                   1315 CHIPPENDALE CIR                                                                                  COLUMBIA       TN      38401‐7206
HICKS THOMAS (ESTATE OF) (665575)     SIMMONS FIRM                        PO BOX 521                                                        EAST ALTON     IL      62024‐0519
HICKS TRUCKING INC                    805 NEGLEY PL                                                                                         DAYTON         OH      45402‐6226
HICKS WILLIS (493841)                 GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK        VA      23510
                                                                          STREET, SUITE 600
HICKS, AARON M                        6626 PRESIDENTIAL DR                                                                                  JACKSON        MS      39213‐2409
HICKS, ADA M                          3811 EAST STREET                                                                                      SAGINAW        MI      48601
HICKS, ALBERT                         1728 ALUM ROCK CT                                                                                     MODESTO        CA      95358‐6729
HICKS, ALBERTA                        2351 RIDGEWOOD AVE LOT 5                                                                              EDGEWATER      FL      32141‐4223
HICKS, ALBERTA                        2351 S RIDGEWOOD AVE LOT 5                                                                            EDGEWATER      FL      32141‐4223
HICKS, ALEX J                         25260 PARSONS DR                                                                                      SOUTHFIELD     MI      48075‐1780
HICKS, ALFRED G                       2625 MILTON ST SE                                                                                     WARREN         OH      44484‐5254
HICKS, ALLEN                          PORTER & MALOUF PA                  4670 MCWILLIE DR                                                  JACKSON        MS      39206‐5621
HICKS, ALLENE M                       1372 BELMONT RD                                                                                       VILLA RICA     GA      30180‐4273
HICKS, ALPHONZO                       3909 WOODYHILL DR                                                                                     LITHONIA       GA      30038‐3662
HICKS, ALYSSA R                       PO BOX 314                                                                                            MADRID         NY      13660‐0314
HICKS, ALYSSA RAE                     PO BOX 314                                                                                            MADRID         NY      13660‐0314
HICKS, AMOS D                         34202 CHANNING CT                                                                                     WESTLAND       MI      48186‐5414
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Name                    Address1                        Address2            Address3         Address4               City             State Zip
HICKS, AMOS DAVID       34202 CHANNING CT                                                                           WESTLAND          MI 48186‐5414
HICKS, ANDREW G         2905 HURRICANE RIDGE RD.                                                                    LAWLEY            AL 36793
HICKS, ANGELA L         5085 DENWOOD ST                                                                             WATERFORD         MI 48327‐2598
HICKS, ANGELA LYNN      5085 DENWOOD ST                                                                             WATERFORD         MI 48327‐2598
HICKS, ANN MARIE        5643 GERTRUDE ST                                                                            DEARBORN HEIGHTS MI 48125‐2811

HICKS, ANNA             3417 ALBERT DRIVE                                                                           CLARKSVILLE        TN   37042‐5839
HICKS, ANNA M           1064 BRADLEY MILL RD                                                                        AIKEN              SC   29805‐9378
HICKS, ANNIE M          50100 ARKONA RD                                                                             BELLEVILLE         MI   48111‐9604
HICKS, ANNIE M          3220 WESTWOOD PKWY                                                                          FLINT              MI   48503‐4679
HICKS, ANNIE M          3707 ROCKDALE RD                                                                            MANCHESTER         MD   21102‐2619
HICKS, ANTHONY D        2334 FIELDSTONE CIR                                                                         FAIRBORN           OH   45324‐2074
HICKS, APRIL M          LOWR                            2523 1ST STREET                                             WYANDOTTE          MI   48192‐4771
HICKS, ARTHA            11412 SAYWELL AVE                                                                           CLEVELAND          OH   44108‐3823
HICKS, ARTHUR E         29 BLAINE AVE                                                                               PONTIAC            MI   48342‐1101
HICKS, ARTHUR E         29 BLAINE STREET                                                                            PONTIAC            MI   48342‐1101
HICKS, ARTHUR P         505 WANETA DR                                                                               GOSHEN             IN   46526‐1546
HICKS, ASIA             14535 LISA DR                                                                               MAPLE HEIGHTS      OH   44137‐4157
HICKS, AUTUMN N         16160 NORTHLAWN ST                                                                          DETROIT            MI   48221‐2950
HICKS, BALLARD J        PO BOX 371                                                                                  LAGRANGE           OH   44050‐0371
HICKS, BARBARA A        490 MOORES RD                                                                               TYNER              KY   40486
HICKS, BARBARA J        6725 ALTER RD                                                                               DAYTON             OH   45424
HICKS, BARBARA J        901 MAIN ST                                                                                 TROY               MO   63379‐1625
HICKS, BENNIE E         10008 OLD LUMBERTON RD                                                                      EVERGREEN          NC   28438‐9180
HICKS, BERTHA           201 W LAWNDALE AVE                                                                          LEBANON            OH   45036‐1331
HICKS, BERTHA           201 LAWNDALE AVE                                                                            LEBANON            OH   45036‐1331
HICKS, BERTRAND H       15002 LA SALLE AVE                                                                          GARDENA            CA   90247‐3130
HICKS, BETTY A          5658 DANIELS ST                                                                             DEARBORN HTS       MI   48125‐1216
HICKS, BETTY COOK       6888 ASTER DR                                                                               COCOA              FL   32927‐4706
HICKS, BETTY E          9609 S HARVARD BLVD                                                                         LOS ANGELES        CA   90047‐3815
HICKS, BETTY E          9609 SOUTH HARVARD BLVD                                                                     LOS ANGELES        CA   90047‐3815
HICKS, BETTY J          635 WOODVILLE RD                                                                            MANSFIELD          OH   44907‐1740
HICKS, BETTY J          3118 WAGON TRL                                                                              FLINT              MI   48507‐1214
HICKS, BETTY JEAN       325 JASPER LN                                                                               DANTE              VA   24237‐7069
HICKS, BETTY JEAN       3118 WAGON TRL                                                                              FLINT              MI   48507‐1214
HICKS, BETTY M          10188 S STATE ROAD 14                                                                       KINGMAN            KS   67068‐8659
HICKS, BEVERLY L        18440 N 101ST DR                                                                            SUN CITY           AZ   85373‐1606
HICKS, BILLIE           55 RIVER DR S APT 604                                                                       JERSEY CITY        NJ   07310‐2736
HICKS, BILLIE           55‐604 RIVER DR S                                                                           JERSEY CITY        NJ   07310‐1715
HICKS, BOBBY E          1634 WASHINGTON RD                                                                          OAKDALE            IL   62268‐3020
HICKS, BOBBY J          7600 WALWORTH RD                                                                            JEROME             MI   49249‐9546
HICKS, BONNIE K         13390 LISBON RD                                                                             SALEM              OH   44460‐9210
HICKS, BRENDA J         5203 BESSMER DRIVE                                                                          DAYTON             OH   45426‐1901
HICKS, BRENDA J.        11265 S BELL AVE                                                                            CHICAGO            IL   60643‐4148
HICKS, BRIAN
HICKS, BROOKE SHANNON   525 LORELLA AVE                                                                             DAYTON             OH   45404‐2417
HICKS, BRUCE            PO BOX 1543                                                                                 BENSALEM           PA   19020‐5543
HICKS, BUFORD E         PO BOX 65                                                                                   MIDDLETON          TN   38052‐0065
HICKS, BUTLER F         5568 PARKWOOD ST                                                                            GLADWIN            MI   48624‐8923
HICKS, BYRON E          1318 STEPHENSON DR                                                                          TROY               OH   45373‐1504
HICKS, C                728 E MOORE ST                                                                              FLINT              MI   48505‐3906
HICKS, C E              1000 E JEFFERSON AVE                                                                        FORT WORTH         TX   76104
HICKS, CALVIN C         6697 NETHERLAND DR                                                                          LIBERTY TOWNSHIP   OH   45044‐9790
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Name                    Address1                          Address2                    Address3   Address4               City               State Zip
HICKS, CARL B           11200 TURNER RD                                                                                 HAMPTON             GA 30228‐1534
HICKS, CARL E           24940 EAST ROXBURY PLACE                                                                        AURORA              CO 80016‐4149
HICKS, CAROL
HICKS, CAROLYN B        151 JENNIFER LN                                                                                 CARROLLTON         GA   30116‐9774
HICKS, CAROLYN L        1019 PENDLETON ST                                                                               ALEXANDRIA         VA   22314‐1836
HICKS, CARRIE J         5433 CIRCLE DR                                                                                  ROSE CITY          MI   48654‐9501
HICKS, CATHERINE        2764 HAMMOD                                                                                     DETROIT            MI   48209‐1256
HICKS, CATHERINE        2764 HAMMOND ST                                                                                 DETROIT            MI   48209‐1256
HICKS, CATHERINE O      RR 4                                                                                            MUNCIE             IN   47302
HICKS, CATHERINE O      5300 BREEZEWOOD DR RR#4                                                                         MUNCIE             IN   47302‐9423
HICKS, CHARLES          13320 RUTHELEN ST                                                                               GARDENA            CA   90249‐1826
HICKS, CHARLES A        26812 RIVER WATCH CT                                                                            LEESBURG           FL   34748‐1288
HICKS, CHARLES E        5805 LINTON LN                                                                                  INDIANAPOLIS       IN   46220‐5354
HICKS, CHARLES E        10120 BRYANT DR                                                                                 COLUMBIA STA       OH   44028‐9600
HICKS, CHARLES E        4156 SENECA ST                                                                                  DETROIT            MI   48214‐1226
HICKS, CHARLES EDWARD   10120 BRYANT DR                                                                                 COLUMBIA STA       OH   44028‐9600
HICKS, CHARLES H        801 SCOTTWOOD ST                                                                                PONTIAC            MI   48340‐3158
HICKS, CHARLES J        PO BOX 538                                                                                      EATON              IN   47338‐0538
HICKS, CHARLES P        386 BURMAN AVE                                                                                  TROTWOOD           OH   45426‐2716
HICKS, CHARLES R        ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                     BALTIMORE          MD   21202
                                                          CHARLES CENTER 22ND FLOOR
HICKS, CHARLES W        ROUTE 1 BOX 78‐3                                                                                MACOMB             MO   65702‐9609
HICKS, CHARLES W        RR 1 BOX 78‐3                                                                                   MACOMB             MO   65702‐9609
HICKS, CHRISTEL         16728 GARWOOD LN                                                                                CLINTON TOWNS      MI   48038‐7303
HICKS, CHRISTINA R      11803 SHETLAND CT                                                                               STERLING HTS       MI   48313‐1667
HICKS, CHRISTINE M      331 SOUTH DR                                                                                    ANDERSON           IN   46013‐3251
HICKS, CHRISTOPHER K    40 LYRIC DR                                                                                     NEWARK             DE   19702‐4521
HICKS, CHRISTOPHER L    5412 NARCISSUS AVE                                                                              BALTIMORE          MD   21215‐4518
HICKS, CHRISTOPHER L    10400 BRADSHAW DR                                                                               FORT WORTH         TX   76108‐6961
HICKS, CINDY            341 COUNTY ROAD 275                                                                             TUSCOLA            TX   79562‐3101
HICKS, CLARENCE         823 LINDEN AVE APT 106                                                                          LONG BEACH         CA   90813‐4530
HICKS, CLAY             27236 SHAKE RAG RD                                                                              DANVILLE           IL   61834‐6052
HICKS, CLETA J          1423 E FRANCES RD                                                                               MOUNT MORRIS       MI   48458‐1227
HICKS, CLETA JILL       1423 E FRANCES RD                                                                               MOUNT MORRIS       MI   48458‐1227
HICKS, CLIFFORD W       20468 LESURE ST                                                                                 DETROIT            MI   48235‐1538
HICKS, CONSUELO M       PO BOX 523                                                                                      MOUNT MORRIS       MI   48458‐0523
HICKS, CORNELL L        15 GREENBRUSH CT                                                                                BALTIMORE          MD   21244‐1381
HICKS, CRAIG C          25260 PARSONS DR                                                                                SOUTHFIELD         MI   48075‐1780
HICKS, CRAIG J          5103 FISH LAKE RD                                                                               NORTH BRANCH       MI   48461‐9566
HICKS, CURTIS           C/O MOODY                         801 WEST FOURTH ST                                            LITTLE ROCK        AR   72201
HICKS, CURTIS R         232 NEW ST                                                                                      NORRISTOWN         PA   19401‐5424
HICKS, CYNTHIA R        9102 N. GENESSE RD.                                                                             MT. MORRIS         MI   48458‐9758
HICKS, DALE F           PMB 9525                          195 RAINBOW DR                                                LIVINGSTON         TX   77399‐1095
HICKS, DANIEL W         9212 UTE POINTE DR                                                                              CLARKSTON          MI   48346‐1857
HICKS, DARRYL C         18516 WASHBURN ST                                                                               DETROIT            MI   48221‐1977
HICKS, DARVIN K         12369 HIPP ST                                                                                   TAYLOR             MI   48180‐4308
HICKS, DARYL
HICKS, DAVID A          3564 MAPLE SPRINGS DR                                                                           CANFIELD           OH   44406‐9261
HICKS, DAVID A          6417 N STRD 9                                                                                   ALEXANDRIA         IN   46001
HICKS, DAVID B          23448 N STOCKTON AVE                                                                            FARMINGTON HILLS   MI   48336‐3448

HICKS, DAVID E          4768 OLD TOWN RD                                                                                MARSHALL           TX   75672‐3946
HICKS, DAVID ENNIS      4768 OLD TOWN RD                                                                                MARSHALL           TX   75672‐3946
HICKS, DAVID H          G3331 HAMMERBERG                                                                                FLINT              MI   48507
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Name                   Address1                              Address2                       Address3   Address4               City               State   Zip
HICKS, DAVID L         3572 MATLOCK RD                                                                                        BOWLING GREEN       KY     42104
HICKS, DAYTON I        32366 MARQUETTE ST                                                                                     GARDEN CITY         MI     48135‐3247
HICKS, DEBBY R         18930 HOLBROOK AVE                                                                                     EASTPOINTE          MI     48021‐2054
HICKS, DEBORAH         DEATON LAW FIRM                       1 RICHMOND SQ STE 134C                                           PROVIDENCE           RI    02906‐5166
HICKS, DEBORAH A       4165 DUDLEY ST                                                                                         DEARBORN HTS        MI     48125‐2603
HICKS, DEBORAH K       408 LEWIS BLVD                                                                                         LIMA                OH     45801‐2617
HICKS, DEBORAH L       8611 TINDALL RD                                                                                        DAVISBURG           MI     48350‐1686
HICKS, DEBRA A         PO BOX 381                                                                                             PALMER              TX     75152‐0381
HICKS, DEBRA ANNETTE   PO BOX 381                                                                                             PALMER              TX     75152‐0381
HICKS, DELORES         1025 LAURA AVE                                                                                         JACKSON             MS     39209‐7006
HICKS, DELORES         1025 LAURA AVE.                                                                                        JACKSON             MS     39209‐9209
HICKS, DENNIS E        22468 WEST BALDWIN ROAD                                                                                BANNISTER           MI     48807‐9326
HICKS, DENNIS E        4878 N LAKE SANFORD RD                                                                                 SANFORD             MI     48657‐9382
HICKS, DIANA           23448 N STOCKTON AVE                                                                                   FARMINGTON HILLS    MI     48336‐3448

HICKS, DIANE           23150 COLGATE ST                                                                                       FARMINGTON HILLS    MI     48336‐3624

HICKS, DODD E          220 BOWEN CIR SW UNIT 117                                                                              ATLANTA            GA      30315‐2614
HICKS, DONALD          15024 STRATHMOOR ST                                                                                    DETROIT            MI      48227‐2934
HICKS, DONALD          CONSUMER LEGAL SERVICES               12 HARDING ST STE 110                                            LAKEVILLE          MA      02347‐1232
HICKS, DONALD C        170 CLAUDE CARROLL RD                                                                                  HOHENWALD          TN      38462‐5528
HICKS, DONALD E        683 TENNYSON                                                                                           ROCHESTER HILLS    MI      48307‐4250
HICKS, DONALD H        909 MAPLE LEAF ST                                                                                      FRANKLIN           KY      42134‐2444
HICKS, DONALD J        1012 CHEROKEE PL                                                                                       LEMONT             IL      60439‐4310
HICKS, DONALD W        620 SPRING ST                                                                                          THREE RIVERS       MI      49093
HICKS, DONNA K         113 KAY CT                                                                                             HURST              TX      76054‐3717
HICKS, DORIS           319 NORTHUMBERLAND AVE                                                                                 BUFFALO            NY      14215‐3110
HICKS, DOROTHY         6165 AARON LN                                                                                          DAYTON             OH      45424‐3601
HICKS, DOROTHY         6165 AARON LANE                                                                                        DAYTON             OH      45424‐3601
HICKS, DOROTHY A       4357 CAYUGA TRL                                                                                        FLINT              MI      48532‐3570
HICKS, DOROTHY M       2169 MONTAGUE RD                                                                                       DAVISON            MI      48423
HICKS, DUSTIN          36549 INDIANA RD                                                                                       NEW BOSTON         MI      48164‐9643
HICKS, DWIGHT R        5255 N BEACON DR                                                                                       AUSTINTOWN         OH      44515‐4068
HICKS, EARTHLYN        9137 MANSFIELD RD APT 102                                                                              SHREVEPORT         LA      71118‐3143
HICKS, EDGAR           1295 5TH AVE APT 6C                                                                                    NEW YORK           NY      10029‐3129
HICKS, EDITH           1200 MYSTIC CT                                                                                         CHURCHVILLE        MD      21028‐2003
HICKS, EDWARD          BRAYTON PURCELL                       PO BOX 6169                                                      NOVATO             CA      94948‐6169
HICKS, EDWARD F        17 SHERWOOD TRL                                                                                        BUFFALO            MO      65622‐5451
HICKS, EDWINA F        2030 ARBOR AVE SE                                                                                      WARREN             OH      44484‐5016
HICKS, ELAINE T        1337 COMFORT ST                                                                                        LANSING            MI      48915‐1407
HICKS, ELLA T          705 FORREST AVE.                                                                                       JACKSON            MS      39206‐3309
HICKS, ELLA T          705 FOREST AVE                                                                                         JACKSON            MS      39206‐3309
HICKS, ELLIS L         707 IROQUOIS AVE                                                                                       PRUDENVILLE        MI      48651‐9722
HICKS, ELTON L         1460 N COATS RD                                                                                        OXFORD             MI      48371‐3108
HICKS, ELWIN L         305 SHIAWASSEE ST                                                                                      LAINGSBURG         MI      48848‐9241
HICKS, EMOGENE         636 DOVALON PL                                                                                         GALLOWAY           OH      43119‐9466
HICKS, ERNEST R        21951 CHUBB RD                                                                                         NORTHVILLE         MI      48167
HICKS, ESHMELL         GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH         PA      15219

HICKS, ESSIE M         1201 F J MCCREE DR                                                                                     FLINT              MI      48503‐1696
HICKS, ESTHER          23225 BERKLEY ST                                                                                       OAK PARK           MI      48237‐2030
HICKS, EUGENE T        4304 E 164TH ST                                                                                        CLEVELAND          OH      44128‐2412
HICKS, EVERETT A       17135 PREST ST                                                                                         DETROIT            MI      48235‐3729
HICKS, FLOYD E         C/O BARBARA SUE LN                    RR 1 BOX 1852                                                    PIEDMONT           MO      63957
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Name                    Address1                          Address2                      Address3   Address4               City               State   Zip
HICKS, FLOYD E          RR 1 BOX 1852                                                                                     PIEDMONT            MO     63957‐9731
HICKS, FRANCES A        3429 CHALMERS DR                                                                                  WILMINGTON          NC     28409‐6909
HICKS, FRANCES S        2100 QUAIL DR                                                                                     BESSEMER            AL     35022‐5113
HICKS, FRANK A          16211 BENTLER ST                                                                                  DETROIT             MI     48219‐3842
HICKS, FRANK D          189 LITTLE JOE RD                                                                                 BOWDON              GA     30108‐2231
HICKS, FRANK L          42 LYNBROOK RD                                                                                    WILMINGTON          DE     19804‐2671
HICKS, FRANK T          18166 PORT SALEM DR                                                                               MACOMB              MI     48044‐6115
HICKS, FRED W           188 WOODSIDE CIR                                                                                  WHITE RIVER         VT     05001‐9733
                                                                                                                          JUNCTION
HICKS, FREDA N          9600 BETH DR                                                                                      MIDWEST CITY       OK      73130‐6430
HICKS, FREDA N          9600 BETH DR.                                                                                     MIDWEST CITY       OK      73130‐6430
HICKS, GARY A           5704 W 18TH ST                                                                                    SPEEDWAY           IN      46224‐5315
HICKS, GARY H           PO BOX 35                                                                                         BELLEVILLE         MI      48112‐0035
HICKS, GARY HOSEA       PO BOX 35                                                                                         BELLEVILLE         MI      48112‐0035
HICKS, GARY K           13283 RT 124                                                                                      PIKETON            OH      45661
HICKS, GARY S           308 STONER RD                                                                                     LANSING            MI      48917‐3782
HICKS, GARY W           5339 W DODGE RD                                                                                   CLIO               MI      48420‐8535
HICKS, GENE             138 FAIRMONT PL                                                                                   BEL AIR            MD      21014‐5472
HICKS, GENEVA           17400 GEORGE WASHINGTON DR                                                                        SOUTHFIELD         MI      48075‐2767
HICKS, GEORGE           2514 E FIFTH ST                                                                                   DAYTON             OH      45403‐2634
HICKS, GEORGE           2514 E 5TH ST                                                                                     DAYTON             OH      45403‐2634
HICKS, GEORGE C         310 SUMMER CT                                                                                     WOODSTOCK          GA      30188‐4231
HICKS, GEORGE E         4438 WOODBRIAR DR                                                                                 FLINT              MI      48507‐3534
HICKS, GEORGE H         1400 GANDY BLVD N UNIT 112                                                                        SAINT PETERSBURG   FL      33702‐2118

HICKS, GEORGE J         264 EAST 240 ST                                                                                   NEW YORK           NY      10470
HICKS, GEORGE R         7012 FAIRPARK AVE                                                                                 CINCINNATI         OH      45216‐1929
HICKS, GEORGE W         2013 WOODWARD AVE                                                                                 DUNEDIN            FL      34698‐2640
HICKS, GEORGE W         3542 HALLIDAY AVE                                                                                 SAINT LOUIS        MO      63118‐1125
HICKS, GEORGE WENDELL   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510
                                                          STREET, SUITE 600
HICKS, GERALD W         1345 FOXBORO DR                                                                                   BRANDON            FL      33511‐6255
HICKS, GERALD W         15786 JOSLYN ST                                                                                   HIGHLAND PARK      MI      48203‐2708
HICKS, GLADYS D         4830 SALEM AVE APT 316                                                                            DAYTON             OH      45416
HICKS, GLADYS M         PO BOX 65                                                                                         MIDDLETON          TN      38052‐0065
HICKS, GLORIA A         4652 BERKSHIRE DR                                                                                 STERLING HTS       MI      48314‐1206
HICKS, GRADY            16719 QUIET TRAIL DR                                                                              HUMBLE             TX      77396
HICKS, GREG             206 N MARKET ST                                                                                   NORTH              IN      46962‐1519
                                                                                                                          MANCHESTER
HICKS, GREGORY W        8320 HOLMES HWY                                                                                   EATON RAPIDS       MI      48827‐9575
HICKS, HARDY            MOODY EDWARD O                    801 W 4TH ST                                                    LITTLE ROCK        AR      72201‐2107
HICKS, HAROLD G         915 JANE DR                                                                                       BRANDON            MS      39042‐8793
HICKS, HAROLD R         53977 STEVENS LN                                                                                  THREE RIVERS       MI      49093‐9669
HICKS, HARRELL R        3334 WINTERFIELD DR                                                                               WARREN             MI      48092‐2216
HICKS, HARRY D          4768 OLD TOWN RD                                                                                  MARSHALL           TX      75672‐3946
HICKS, HARRY DANIEL     4768 OLD TOWN RD                                                                                  MARSHALL           TX      75672‐3946
HICKS, HARVEY E         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510‐2212
                                                          STREET, SUITE 600
HICKS, HATTIE B         14040 PENROD ST                                                                                   DETROIT             MI     48223‐3576
HICKS, HELEN B          6042 FELLRATH ST                                                                                  TAYLOR              MI     48180‐1158
HICKS, HERBERT          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                          STREET, SUITE 600
HICKS, HERBERT L        2201 SW FLEMING DR                                                                                BLUE SPRINGS       MO      64015‐7118
HICKS, HERMAN L         5229 WOODCLIFF DR                                                                                 FLINT              MI      48504‐1288
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Name                   Address1                         Address2                      Address3   Address4               City              State   Zip
HICKS, HERTY           DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                                 NORTH OLMSTED      OH     44070
HICKS, HOPE J          2617 MINERVA STREET                                                                              WARREN             MI     48091‐1877
HICKS, HOPE J          2517 MINERVA ST                                                                                  WARREN             MI     48091
HICKS, HORACE          18441 GREENWALD DR                                                                               SOUTHFIELD         MI     48075‐5864
HICKS, HORTENCE        728 E MOORE ST                                                                                   FLINT              MI     48505‐3906
HICKS, HOWARD F        974 EMERSON AVE                                                                                  PONTIAC            MI     48340‐3229
HICKS, HOWARD V        19 HICKEY LN                                                                                     POPLARVILLE        MS     39470‐4339
HICKS, HUSERL          16212 WILDEMERE ST                                                                               DETROIT            MI     48221‐3330
HICKS, ILA F           1253 COUNTY ROAD 59                                                                              DUTTON             AL     35744‐7719
HICKS, ILA F           1253 COUNTY RD 59                                                                                DUTTON             AL     35744‐7719
HICKS, IRENE B         1231 SELDEN                                                                                      DETROIT            MI     48201‐1530
HICKS, IRENE R         4121 LUTHERAN CHURCH ROAD                                                                        KENT CITY          MI     49330‐9714
HICKS, IRMA L          1721 KENSINGTON ON BERKLEY                                                                       KOKOMO             IN     46901‐1850
HICKS, J C             151 FAIRWAY DR                                                                                   BLOUNTVILLE        TN     37617‐5536
HICKS, J D             274 E SPRINGFIELD RD                                                                             SULLIVAN           MO     63080‐1364
HICKS, JACK A          1182 SHADOWLAWN DR NE                                                                            CONYERS            GA     30012‐4622
HICKS, JACK D          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                        STREET, SUITE 600
HICKS, JACK E          ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST, THE                                       PHILADELPHIA       PA     19107
                                                        WANAMAKER BUILDING
HICKS, JAMES           17 INTER PARK AVE                                                                                BUFFALO           NY      14211‐1117
HICKS, JAMES           1890 BROOKFIELD DR                                                                               AKRON             OH      44313‐5459
HICKS, JAMES A         PO BOX 415                                                                                       BERGEN            NY      14416‐0415
HICKS, JAMES A         PO BOX 143                                                                                       ADVANCE           NC      27006‐0143
HICKS, JAMES A         1264 DARLENE AVE                                                                                 MADISON HTS       MI      48071‐2971
HICKS, JAMES B         13685 BRIANA LN                                                                                  SHELBY TOWNSHIP   MI      48315‐2059
HICKS, JAMES B         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA      23510
                                                        STREET, SUITE 600
HICKS, JAMES C         65 WILBUR WAY                                                                                    COVINGTON         GA      30016‐8795
HICKS, JAMES E         3530 CONGER ST                                                                                   PORT HURON        MI      48060‐2227
HICKS, JAMES E         1072 W COUNTY ROAD 800 N                                                                         LIZTON            IN      46149‐9335
HICKS, JAMES E         63207 W CHARLESTON DR                                                                            WASHINGTON        MI      48095‐2431
HICKS, JAMES F         333 E WILLIAM ST                                                                                 BATH              NY      14810‐1661
HICKS, JAMES L         9013 MARLEY DR                                                                                   RANDALLSTOWN      MD      21133‐4200
HICKS, JAMES L         5726 US HIGHWAY 50 W                                                                             MITCHELL          IN      47446‐5431
HICKS, JAMES M         607 DETROIT AVE                                                                                  LINCOLN PARK      MI      48146‐3031
HICKS, JAMES M         14180 NEFF RD                                                                                    CLIO              MI      48420‐8846
HICKS, JAMES MICHAEL   14180 NEFF RD                                                                                    CLIO              MI      48420‐8846
HICKS, JAMES P         6931 ROCKBRIDGE RD                                                                               STONE MOUNTAIN    GA      30087‐4706
HICKS, JAMES R         413 HORSESHOE LN                                                                                 BEDFORD           IN      47421‐8739
HICKS, JAMES R         5706 CEDARWOOD DR                                                                                LEWISBURG         OH      45338‐9782
HICKS, JAMES W         2448 WEST CHURCH STREET                                                                          CEDAR CITY        UT      84720‐1973
HICKS, JAMES W         2448 W CHURCH ST                                                                                 CEDAR CITY        UT      84720‐1973
HICKS, JAMIE L         PO BOX 645                                                                                       WADDINGTON        NY      13694‐0645
HICKS, JAMIE LYNN      PO BOX 645                                                                                       WADDINGTON        NY      13694‐0645
HICKS, JANET F         170 HUNTINGTON TRAIL                                                                             CORTLAND          OH      44410‐1600
HICKS, JANET M         25224 FILMORE ST                                                                                 TAYLOR            MI      48180‐2079
HICKS, JEANETTE        801 GARDENVIEW DR APT 236                                                                        FLINT             MI      48503‐6325
HICKS, JEANNE          2121 FISHER AVE                                                                                  SPEEDWAY          IN      46224‐5030
HICKS, JEANNIE A       1488 MUSTANG DRIVE                                                                               DEFIANCE          OH      43512‐1384
HICKS, JEFFERY L       28538 HOOVER RD APT 1                                                                            WARREN            MI      48093‐5431
HICKS, JERRY E         4129 ANGELA CIR                                                                                  DEL CITY          OK      73115‐4433
HICKS, JERRY R         PO BOX 2518                                                                                      LANCASTER         OH      43130‐5518
HICKS, JIMMIE D        3214 CLEMENT ST                                                                                  FLINT             MI      48504‐2922
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Name                  Address1                          Address2                      Address3   Address4               City              State   Zip
HICKS, JIMMY C        106 DAVID DRIVE                                                                                   COLLINSVILLE        IL    62234‐5133
HICKS, JIMMY C        106 DAVID DR                                                                                      COLLINSVILLE        IL    62234‐5133
HICKS, JO A           4016 BUFFALO RD                                                                                   SUMMERTOWN         TN     38483‐7181
HICKS, JOAN R         2530 CHATHAM WOODS DR SE                                                                          GRAND RAPIDS       MI     49546‐6753
HICKS, JOANNE L       20110 VAUGHAN ST                                                                                  DETROIT            MI     48219‐2061
HICKS, JODI M         RICE ADAMS UNDERWOOD & ASSOCS     PO BOX 2330                                                     ANNISTON           AL     36202‐2330
HICKS, JOE            101 MARSHALL DR                                                                                   BEDFORD            IN     47421‐9202
HICKS, JOE G          2840 CHRYSLER AVE                                                                                 WATERFORD          MI     48328‐2626
HICKS, JOHN B         60 W FAIRMOUNT AVE                                                                                PONTIAC            MI     48340‐2732
HICKS, JOHN C         2052 GREEN DRIVE                                                                                  AU GRES            MI     48703‐9530
HICKS, JOHN C         2052 GREEN DR                                                                                     AU GRES            MI     48703‐9530
HICKS, JOHN E         11954 RED BARN CT                                                                                 FLORISSANT         MO     63033‐7830
HICKS, JOHN H         931 WINTERCREST CT                                                                                ARLINGTON          TX     76017‐6123
HICKS, JOHN H         4405 N GARFIELD ST APT 413                                                                        MIDLAND            TX     79705‐3404
HICKS, JOHN H         3555 CALUMET DR                                                                                   SAGINAW            MI     48603‐2581
HICKS, JOHN H         13710 BAYBERRY GLEN WAY                                                                           HUNTERSVILLE       NC     28078‐1277
HICKS, JOHN HARLAN    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                        STREET, SUITE 600
HICKS, JOHN K         74310 KANIE RD                                                                                    BRUCE TWP         MI      48065‐3358
HICKS, JOHN L         9845 ROUND LAKE HWY                                                                               ADDISON           MI      49220‐9314
HICKS, JOHN M         2250 E RAHN RD                                                                                    DAYTON            OH      45440‐2539
HICKS, JOHN W         757 HELMSMAN WAY                                                                                  PALM HARBOR       FL      34685‐1616
HICKS, JONATHAN
HICKS, JONATHAN       20 WESTMEAD PLACE                                                                                 ACWORTH            GA     30101‐5930
HICKS, JONATHAN       LANCE COOPER                      701 WHITLOCK AVE SW                                             MARIETTA           GA     30064
HICKS, JOSEPH B       15755 PARK VILLAGE BUILDING #35                                                                   TAYLOR             MI     48180
HICKS, JOSHUA         3220 WESTWOOD PKWY                                                                                FLINT              MI     48503‐4679
HICKS, JOSHUA
HICKS, JOYCE          201 LAKE PARK L P                                                                                 MOUNTAIN HOME     AR      72653‐6770
HICKS, JOYCELINE M    1032 LUDWICK WAY                                                                                  LAWRENCEVILLE     GA      30045
HICKS, JUDITH A       2750 LANSDOWNE RD                                                                                 WATERFORD         MI      48329‐2944
HICKS, JUNE M         RT = 1 13516 N HOWE                                                                               EAGLE             MI      48822
HICKS, KAREN A        8065 N JENNINGS RD                                                                                MOUNT MORRIS      MI      48458‐8217
HICKS, KAREN D        53977 STEVENS LN                                                                                  THREE RIVERS      MI      49093‐9669
HICKS, KAREN N.       45703 LAKEVIEW CT APT 9103                                                                        NOVI              MI      48377‐3815
HICKS, KAREN S        308 STONER RD                                                                                     LANSING           MI      48917‐3782
HICKS, KARL M         29145 HAZELWOOD ST                                                                                INKSTER           MI      48141‐1661
HICKS, KATHLEEN S     4996 DEER RUN LN                                                                                  HOLT              MI      48842‐1527
HICKS, KATHLEEN SUE   4996 DEER RUN LN                                                                                  HOLT              MI      48842‐1527
HICKS, KATHY A.       106 SHELL FALLS DR                                                                                APOLLO BEACH      FL      33572‐3126
HICKS, KAY D          490 EDITH BLVD                                                                                    HUNTINGTON        IN      46750
HICKS, KAY DIANE      490 EDITH BLVD                                                                                    HUNTINGTON        IN      46750‐1302
HICKS, KEEYANA        18603 HARLOW ST                                                                                   DETROIT           MI      48235‐3276
HICKS, KEITH A        9984 STODDARD RD                                                                                  ADRIAN            MI      49221‐9438
HICKS, KEITH A        11100 KY HIGHWAY 185                                                                              BOWLING GREEN     KY      42101‐3302
HICKS, KEITH ALLEN    11100 KY HIGHWAY 185                                                                              BOWLING GREEN     KY      42101‐3302
HICKS, KENNETH J      PO BOX 111                                                                                        NEY               OH      43549‐0111
HICKS, KENNETH J      907 BARRY LN                                                                                      CLEBURNE          TX      76031‐7758
HICKS, KIM A          3232 N 1200 E                                                                                     SHERIDAN          IN      46069‐8740
HICKS, KIMBERLY R     3695 SLEEPY FOX DR                                                                                ROCHESTER HILLS   MI      48309‐4518
HICKS, L D
HICKS, LARRY          9406 N GOWER AVE                                                                                  KANSAS CITY       MO      64154‐1292
HICKS, LARRY A        42 CHARTWELL CT                                                                                   PERRYVILLE        MD      21903‐2426
HICKS, LARRY A        939 HIGHWAY 75                                                                                    BLOUNTVILLE       TN      37617
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Name                    Address1                       Address2                   Address3   Address4               City               State   Zip
HICKS, LARRY D          16950 MARYLAND ST                                                                           SOUTHFIELD          MI     48075‐2904
HICKS, LARRY E          1130 PEACH BLOSSOM CIR                                                                      BURTON              MI     48509‐2398
HICKS, LARRY E          PO BOX 1262                                                                                 LOGANSPORT          IN     46947‐7262
HICKS, LAVERDA A        HARRIET TUVMANTERRACE          550 NEGLEY RUN BLVD #104                                     PITTSBURG           PA     15206
HICKS, LAWRENCE D       PO BOX 534                                                                                  WADDINGTON          NY     13694‐0534
HICKS, LAWRENCE DAVID   PO BOX 534                                                                                  WADDINGTON          NY     13694‐0534
HICKS, LAWRENCE L       6812 CHAMPANA DR                                                                            FLORISSANT          MO     63033‐8024
HICKS, LEESA            COOPER LANCE A ‐ COOPER FIRM   701 WHITLOCK AVENUE SW                                       MARIETTA            GA     30064
HICKS, LENA             3034 GARFIELD                                                                               KANSAS CITY         MO     64109
HICKS, LEOLA M          2609 DONNA DR                                                                               WILLIAMSTON         MI     48895‐9575
HICKS, LEON             27650 TUNGSTEN RD APT 108A                                                                  EUCLID              OH     44132‐3045
HICKS, LEON F           2110 S WAVERLY RD                                                                           EATON RAPIDS        MI     48827‐9737
HICKS, LEONARD          16835 LINWOOD ST                                                                            DETROIT             MI     48221‐3126
HICKS, LEONARD S        11895 SE 71ST AVENUE RD                                                                     BELLEVIEW           FL     34420‐4671
HICKS, LESLIE           PO BOX 3546                                                                                 FARMINGTON HILLS    MI     48333

HICKS, LESTER P         356 TIONDA DR S                                                                             VANDALIA           OH      45377‐2424
HICKS, LESTER W         148 CROSS AVE                                                                               NEW CASTLE         DE      19720‐2054
HICKS, LETINIA B        15 SMITH RD                                                                                 NEWNAN             GA      30263‐3948
HICKS, LEWELLYN         18516 WASHBURN ST                                                                           DETROIT            MI      48221‐1977
HICKS, LILLIAN G        1159 BOHEMIA MILL RD                                                                        MIDDLETOWN         DE      19709‐9755
HICKS, LINDA L          217 3RD AVE                                                                                 TAWAS CITY         MI      48763‐9201
HICKS, LISA             7364 LANEWOOD DR                                                                            DAVISON            MI      48423‐9339
HICKS, LONNIE A         11831 S US HIGHWAY 27                                                                       DEWITT             MI      48820‐9730
HICKS, LOUIS F          4844 STRICKLAND SPRINGS RD                                                                  MARSHALL           TX      75672‐5910
HICKS, LOUISE M         4051 ELLERY AVE                                                                             DAYTON             OH      45439‐2133
HICKS, LOUISE M         1005 HUMP RD                                                                                LOCKBRIDGE         WV      25976‐9593
HICKS, LOY E            723 RED CLOVER AVE                                                                          BOWLING GREEN      KY      42101‐7523
HICKS, LUCILLE          931 EMERSON                                                                                 SAGINAW            MI      48607
HICKS, LUCILLE          931 EMERSON ST                                                                              SAGINAW            MI      48607‐1708
HICKS, LYNDA K          5882 WARNER MEADOWS DR                                                                      WESTERVILLE        OH      43081‐8691
HICKS, MADIE A          608 ROWAN COURT                                                                             NASHVILLE          TN      37207
HICKS, MARGARET A       127 W FARRELL AVE              APT B6                                                       TRENTON            NJ      08618
HICKS, MARGARET A       127 W FARRELL AVE APT B6                                                                    EWING              NJ      08618‐2207
HICKS, MARGARET L       6174 TITAN RD                                                                               MOUNT MORRIS       MI      48458‐2616
HICKS, MARGARET L       6174 TITAN DR                                                                               MT MORRIS          MI      48458‐2616
HICKS, MARGARET M       IHS @ BRADEN RIVER             2010 MANITEE AVE E                                           BRADENTON          FL      34208‐1560
HICKS, MARGARET M       2010 MANATEE AVE E             IHS @ BRADEN RIVER                                           BRADENTON          FL      34208‐1560
HICKS, MARGARET S       3005 BELVEDERE LN                                                                           DECATUR            GA      30032‐2703
HICKS, MARGARETA        15854 BURTON ST                                                                             LANSING            MI      48906‐1103
HICKS, MARGUERITE L     1802 WILLOW DR                                                                              TROTWOOD           OH      45426
HICKS, MARIAN           1807 MILL RUN CIR 3361                                                                      TAMPA              FL      33613
HICKS, MARIAN R         1124 TAYLOR LN                                                                              LEWISVILLE         TX      75077‐2569
HICKS, MARIE            17167 ARLINGTON                                                                             DETROIT            MI      48212‐1518
HICKS, MARIE E          36 LYRIC DR                                                                                 NEWARK             DE      19702
HICKS, MARILYN          PO BOX 1155                                                                                 GROVE HILL         AL      36451‐1155
HICKS, MARILYN          234 HART ST                                                                                 ROMEO              MI      48065‐5277
HICKS, MARILYN          234 HART                                                                                    ROMEO              MI      48065‐5277
HICKS, MARION           195 CLINTON LN                                                                              MARION             NC      28752‐7092
HICKS, MARION L         2342 STIEBER ST                                                                             WESTLAND           MI      48186‐4424
HICKS, MARIUS R         2110 GREGORY AVE                                                                            YOUNGSTOWN         OH      44511‐2206
HICKS, MARJEAN          15024 STRATHMOOR                                                                            DETROIT            MI      48227‐2934
HICKS, MARJORIE A       683 TENNYSON                                                                                ROCHESTER HILLS    MI      48307‐4250
HICKS, MARJORIE R       1706 HIGH MEADOWS DR                                                                        NORMAN             OK      73071‐7425
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Name                Address1                       Address2                        Address3   Address4               City              State   Zip
HICKS, MARK A       2021 SPARROW ST                                                                                  SPRING HILL        TN     37174‐2688
HICKS, MARK A       C/O THE LIPMAN LAW FIRM        5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES       FL     33146
HICKS, MARK A       MCKENNA & CHIDO                436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH         PA     15219
                                                   SUITE 500
HICKS, MARK D       18930 HOLBROOK AVE                                                                               EASTPOINTE        MI      48021‐2054
HICKS, MARLENE      801 CLINE ST                                                                                     LAS VEGAS         NV      89145‐6235
HICKS, MARTIN D     12202 N 22ND ST APT 221                                                                          TAMPA             FL      33612‐4970
HICKS, MARVIN T     6125 MOUNT ZION RD                                                                               EAST BERNSTADT    KY      40729‐7327
HICKS, MARY A       1412 KILLIAN DR                                                                                  BEECH GROVE       IN      46107‐2547
HICKS, MARY A       20506 ROSELAWN STREET                                                                            DETROIT           MI      48221‐1194
HICKS, MARY E       4105 BRENTWOOD DR                                                                                INDIANAPOLIS      IN      46236
HICKS, MARY H       1527 SOUTH H ST                                                                                  ELWOOD            IN      46036
HICKS, MARY H       1527 S H ST                                                                                      ELWOOD            IN      46036‐2310
HICKS, MARY JO      197 WASHINGTON                                                                                   CAMDEN            TN      38320‐1129
HICKS, MARY L       1144 N WASHINGTON ST                                                                             MARION            IN      46952‐2202
HICKS, MARY L       2429 DERBY DR                                                                                    SHELBYVILLE       IN      46176
HICKS, MARY L       851 UNIVERSITY DR                                                                                PONTIAC           MI      48342‐1763
HICKS, MARY L       1914 N WAUGH ST                                                                                  KOKOMO            IN      46901‐2402
HICKS, MARY L       3480 BREEZE KNOLL DR                                                                             YOUNGSTOWN        OH      44505‐1976
HICKS, MARY L       APT 13H                        400 2ND AVENUE                                                    NEW YORK          NY      10010‐4016
HICKS, MARY N       129 GODFROY                                                                                      SOMERSET          IN      46984
HICKS, MARY NELL    129 GODFROY                                                                                      SOMERSET          IN      46984
HICKS, MARY R       39 WOODBERRY RD                                                                                  LITTLE ROCK       AR      72212‐2771
HICKS, MATTHEW C    6652 WILLIAMS LAKE RD                                                                            WATERFORD         MI      48329‐2981
HICKS, MAURICE A    7300 NW 30TH PL APT 528                                                                          SUNRISE           FL      33313‐1040
HICKS, MAVIN        SUTTER & ENSLEIN               1598 KANAWHA BLVD EAST, SUITE                                     CHARLESTON        WV      25311
HICKS, MAXINE V     2113 MARION AVE                                                                                  LANSING           MI      48910‐2616
HICKS, MELVIN D     9514 WASHINGTON ST                                                                               ROMULUS           MI      48174‐1547
HICKS, MICHAEL      621 CATHERINE ST                                                                                 SAGINAW           MI      48602‐4747
HICKS, MICHAEL J    1360 BIGGERS RD                                                                                  ROCHESTER HILLS   MI      48309‐1600
HICKS, MICHAEL J    4242 TROUSDALE LN                                                                                COLUMBIA          TN      38401‐8403
HICKS, MICHAEL J    7 LOREWOOD AVE                                                                                   WILMINGTON        DE      19804‐1546
HICKS, MICHAEL J    1901 SCHALLER ST                                                                                 JANESVILLE        WI      53546‐5769
HICKS, MICHELLE     3417 ROBIN AVE SW                                                                                WYOMING           MI      49509
HICKS, MICHELLE D   20520 ANNCHESTER RD                                                                              DETROIT           MI      48219‐1462
HICKS, MILDRED      255 NORTH LAUDERDALE APT 706                                                                     MEMPHIS           TN      38105
HICKS, MILDRED D    1461 CENTER SPRINGS                                                                              WAYNESVILLE       OH      45068‐8781
HICKS, MINNIE L     9468 TERRY ST                                                                                    ROMULUS           MI      48174‐1555
HICKS, MORRIS J     1544 10TH ST NW                                                                                  GRAND RAPIDS      MI      49504
HICKS, MORRIS W     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA      23510
                                                   STREET, SUITE 600
HICKS, MORRIS W     3443 LUM RD                                                                                      LAPEER            MI      48446‐8342
HICKS, NADIA S      223 GLENSIDE CT                                                                                  TROTWOOD          OH      45426‐2733
HICKS, NANCY C      7252 GRANDMONT AVE                                                                               DETROIT           MI      48228‐3623
HICKS, NANCY L      9652 CHASE BRIDGE RD                                                                             ROSCOMMON         MI      48653‐9772
HICKS, NEIL H       5080 WEBSTER RD                                                                                  FLUSHING          MI      48433‐9028
HICKS, NICOLE       22 WOODLAND ST FL 1                                                                              NEW BRITAIN       CT      06051‐2331
HICKS, NORENE S     8808 WINCHESTER RIDGE DR                                                                         FORT WAYNE        IN      46819‐2271
HICKS, NORRIS L     4522 ELMER ST                                                                                    DAYTON            OH      45417‐1337
HICKS, NORRIS L     4522 ELMER AVE                                                                                   DAYTON            OH      45417‐1337
HICKS, ODELL        26 DAYTON LN.                                                                                    ESSIE             KY      40827‐0827
HICKS, OMER E       4540 S YORK HWY                                                                                  JAMESTOWN         TN      38556‐5327
HICKS, ORION T      64 CHANDLER ST                                                                                   ROCHESTER         NY      14619‐2012
HICKS, ORLIE K      2517 NE RIVER RD                                                                                 LAKE MILTON       OH      44429‐9780
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Name                  Address1                       Address2                      Address3   Address4               City                State   Zip
HICKS, PAMELA J       5962 E 1200 S                                                                                  GALVESTON            IN     46932
HICKS, PATRICIA       53 LATTICE DR                                                                                  LEESBURG             FL     34788‐7967
HICKS, PATRICK J      276 PINE ST                                                                                    LOCKPORT             NY     14094‐4927
HICKS, PATSY M        2339 ULA DR                                                                                    CLIO                 MI     48420‐1065
HICKS, PAUL           8837 S MICHIGAN AVE                                                                            CHICAGO               IL    60619‐6632
HICKS, PAUL D         4663 E 100 S                                                                                   ANDERSON             IN     46017‐9370
HICKS, PAUL E         1194 CARTER DR                                                                                 FLINT                MI     48532‐2705
HICKS, PAUL L         4595 E 100 S                                                                                   ANDERSON             IN     46017‐9624
HICKS, PEARL J        1214 FRANKSTOWN ROAD                                                                           JOHNSTOWN            PA     15902‐1212
HICKS, PEGGY S        5233 PARKHURST DR                                                                              SHEFFIELD VILLAGE    OH     44054‐2959

HICKS, PERRY L        821 N ARAPAHO ST                                                                               INDEPENDENCE        MO      64056‐1966
HICKS, PETER          GORBERG & ASSOCIATES DAVID J   100 CENTURY PKWY STE 305                                        MOUNT LAUREL        NJ      08054‐1182
HICKS, PHILLIP S      1504 HARWELL DR APT 1412                                                                       ARLINGTON           TX      76011‐8935
HICKS, PHILLIP S      1203 N NAIL PKWY                                                                               MOORE               OK      73160‐4721
HICKS, PHYLLIS A      43 BROADWAY HICKS APT #1                                                                       SHELBY              OH      44875
HICKS, RAEJEAN S      4739 DEWEESE RD                                                                                TROY                OH      45373‐9763
HICKS, RAMON G        9652 CHASE BRIDGE RD                                                                           ROSCOMMON           MI      48653‐9772
HICKS, RANDALL W      706 PORTAGE AVE                                                                                THREE RIVERS        MI      49093
HICKS, RANDOLPH       719 HANCOCK ST APT 4R                                                                          BROOKLYN            NY      11233
HICKS, RAYMOND E      3955 ASHFORD ST                                                                                WHITE LAKE          MI      48383
HICKS, RAYMOND L      2122 S WASHINGTON AVE                                                                          SAGINAW             MI      48601‐3229
HICKS, RICHARD L      3913 S SHERMAN DR                                                                              INDEPENDENCE        MO      64055‐4163
HICKS, RICHARD L      460 5TH ST                                                                                     TOLEDO              OH      43605‐2016
HICKS, RICHARD M      132 E OAK GROVE AVE                                                                            KALAMAZOO           MI      49004
HICKS, RICHARD P      14388 STRATFORD AVE                                                                            LATHROP             CA      95330‐9716
HICKS, RICHIE L       6836 CARLSEN AVE                                                                               INDIANAPOLIS        IN      46214‐3240
HICKS, RICHIE LEIGH   6836 CARLSEN AVE                                                                               INDIANAPOLIS        IN      46214‐3240
HICKS, ROBERT B       8588 CRESCENT BEACH RD                                                                         PIGEON              MI      48755‐9711
HICKS, ROBERT B       PO BOX 73                                                                                      CLIO                MI      48420‐0073
HICKS, ROBERT E       711 NETTIE DRIVE                                                                               MIAMISBURG          OH      45342‐3424
HICKS, ROBERT E       468 CARVER LN                                                                                  BEDFORD             IN      47421‐7471
HICKS, ROBERT E       711 NETTIE DR                                                                                  MIAMISBURG          OH      45342‐3424
HICKS, ROBERT E       22942 STATE HIGHWAY 16                                                                         TOMAH               WI      54660‐6828
HICKS, ROBERT F       2089 BELLE MEADE DR                                                                            DAVISON             MI      48423‐2060
HICKS, ROBERT H       2227 MINERAL POINT AVE                                                                         JANESVILLE          WI      53548‐2735
HICKS, ROBERT J       703 GALAXIE AVE                                                                                HARRISONVILLE       MO      64701‐1525
HICKS, ROBERT J       6424 WOODBURNE CT                                                                              GRAND BLANC         MI      48439‐9476
HICKS, ROBERT J       326 SYCAMORE ST                                                                                CHESTERFIELD        IN      46017‐1554
HICKS, ROBERT J       8611 TINDALL RD                                                                                DAVISBURG           MI      48350‐1686
HICKS, ROBERT J       PO BOX 438                                                                                     ROCKY POINT         NC      28457‐0438
HICKS, ROBERT J       14697 BOICHOT RD                                                                               LANSING             MI      48906‐1097
HICKS, ROBERT J       6397 SCANTUARY CT                                                                              GRAND BLANC         MI      48439
HICKS, ROBERT J       8611 TINDALL ROAD                                                                              DAVISBURG           MI      48350‐1686
HICKS, ROBERT L       680 W. 5511 SOUTH                                                                              RUSSIAVILLE         IN      46979
HICKS, ROBERT L       2624 THOMAN PL                                                                                 TOLEDO              OH      43613‐3843
HICKS, ROBERT L       15618 BEACH PEBBLE WAY                                                                         FORT MYERS          FL      33908‐3355
HICKS, ROBERT L       1502 COUNTY ROAD 4530                                                                          DECATUR             TX      76234‐5428
HICKS, ROBERT LYNN    2624 THOMAN PL                                                                                 TOLEDO              OH      43613‐3843
HICKS, ROBERT S       7364 LANEWOOD DR                                                                               DAVISON             MI      48423‐9339
HICKS, ROBERT S       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA      23510
                                                     STREET, SUITE 600
HICKS, ROBERT SCOTT   7364 LANEWOOD DR                                                                               DAVISON             MI      48423‐9339
HICKS, ROBERT W       6416 SAVANNAH AVE                                                                              CINCINNATI          OH      45239‐4974
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HICKS, ROBERT W       5430 UNITY TRL                                                                            INDIANAPOLIS     IN     46268‐4025
HICKS, ROBERT Y       20481 BALFOUR ST APT 2                                                                    HARPER WOODS     MI     48225‐1556
HICKS, ROBIN L        3021 WESTFALL PKWY APT D                                                                  CARMEL           IN     46033‐3665
HICKS, ROGER C.       104 SHARP DR                                                                              GADSDEN          AL     35903‐1446
HICKS, ROGER L        693 GLENSHEE DR                                                                           WENTZVILLE       MO     63385‐2862
HICKS, ROGER L        9102 N GENESEE RD                                                                         MOUNT MORRIS     MI     48458‐9758
HICKS, RONALD         2173 MILESBURN DR                                                                         DAYTON           OH     45439‐3027
HICKS, RONALD G       3230 WOLF RIVER LOOP                                                                      PALL MALL        TN     38577‐5012
HICKS, RONALD L       5236 LENNON RD                                                                            FLINT            MI     48507‐1046
HICKS, ROY            1506 STANLEY ST                                                                           SAGINAW          MI     48602‐1059
HICKS, ROY L          11240 HUBBARD RD                                                                          KANSAS CITY      KS     66109‐4715
HICKS, RUBY A         321 FOSTER AVENUE                                                                         ELYRIA           OH     44035‐3568
HICKS, RUBY A         321 FOSTER AVE                                                                            ELYRIA           OH     44035‐3568
HICKS, RUBY LEE       17421 ARLINGTON                                                                           DETROIT          MI     48212
HICKS, RUBY M         93 W PRINCETON AVE                                                                        PONTIAC          MI     48340‐1839
HICKS, RUBY RAE       15854 WASHBURN                                                                            DETROIT          MI     48238‐1066
HICKS, RUSSELL H
HICKS, RUSSELL L      64 CAMPUS DR W                                                                            AMHERST         NY      14226‐2532
HICKS, RUSSELL R      799 REVERE AVE                                                                            N TONAWANDA     NY      14120‐3416
HICKS, RYAN D         4000 W 199TH ST                                                                           STILWELL        KS      66085‐9086
HICKS, SADIE B        12130 E OUTER DR                                                                          DETROIT         MI      48224‐2632
HICKS, SADIE F        10008 OLD LUMBERTON ROAD                                                                  EVERGREEN       NC      28438‐9180
HICKS, SALLIE J       4192 LEITH ST                                                                             BURTON          MI      48509
HICKS, SAMMY R        1007 JEFFERSON ST                                                                         COVINGTON       IN      47932‐1553
HICKS, SAMMY W        34940 HUNTER AVE                                                                          WESTLAND        MI      48185‐7053
HICKS, SANDRA         CONSUMER LEGAL SERVICES       12 HARDING ST STE 110                                       LAKEVILLE       MA      02347‐1232
HICKS, SANDRA A       29661 JUDITH ST                                                                           INKSTER         MI      48141‐3416
HICKS, SARAH E        212 SHEETS ST                                                                             UNION           OH      45322‐3118
HICKS, SARAH L        4146 WESTBOURNE CIR                                                                       SARASOTA        FL      34238‐3248
HICKS, SELMA O.       2227 MINERAL PT AVE                                                                       JANESVILLE      WI      53548‐2735
HICKS, SELMA O.       2227 MINERAL POINT AVE                                                                    JANESVILLE      WI      53548‐2735
HICKS, SHAMITA        1609 JASPER AVE                                                                           CHULA VISTA     CA      91911‐5332
HICKS, SHARON M       1060 AARON DR APT 804                                                                     DEWITT          MI      48820
HICKS, SHARON M       16430 PARK LAKE RD.           LOT 165                                                     EAST LANSING    MI      48823‐9467
HICKS, SHIRLEY M      19 EDGEWOOD DR                                                                            MEDINA          NY      14103‐9565
HICKS, SHIRLEY POLA   2880 OLT RD                                                                               DAYTON          OH      45418‐1824
HICKS, SHIRLEY R      2211 13TH ST                                                                              NIAGARA FALLS   NY      14305‐2729
HICKS, SIDNEY G       PO BOX 264                                                                                RANDALLSTOWN    MD      21133‐0264
HICKS, SPENCER        4393 MARLOWE ST                                                                           DAYTON          OH      45416‐1818
HICKS, STANLEY        225 TROGDON LN                                                                            BEDFORD         IN      47421‐8652
HICKS, STELLA M       159 E POLK ST                                                                             ORLEANS         IN      47452‐1026
HICKS, STEPHEN C      11419 LAKE SHORE DR                                                                       CHARLEVOIX      MI      49720
HICKS, STEVEN L       4797 SADDLEBAG LAKE RD                                                                    WOODLAND        MI      48897‐9657
HICKS, STEVEN L.      4797 SADDLEBAG LAKE RD                                                                    WOODLAND        MI      48897‐9657
HICKS, SUE E          6415 TURNER RD                                                                            FLUSHING        MI      48433‐9251
HICKS, SUNNY K        9491 E 100 S                                                                              GREENTOWN       IN      46936‐9157
HICKS, SYLVESTER      4337 6TH ST                                                                               ECORSE          MI      48229‐1111
HICKS, TAMARA L       17612 GATEWAY CIR                                                                         SOUTHFIELD      MI      48075‐4718
HICKS, TAMMIE F       356 TIONDA DR S                                                                           VANDALIA        OH      45377‐2424
HICKS, TANISHA        532 W 2ND ST APT 2A                                                                       PLAINFIELD      NJ      07060‐1058
HICKS, TERESA L       405 NW EASTWOOD DR                                                                        BLUE SPRINGS    MO      64014‐1635
HICKS, TERESA L       118 SW SUN GARDEN LN                                                                      LEES SUMMIT     MO      64064‐7878
HICKS, TERRY D        3560 W NOLANS TRL                                                                         MARTINSVILLE    IN      46151‐6015
HICKS, THELMA         225 PAGE ST                                                                               FLINT           MI      48505
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HICKS, THEODORE R        20506 ROSELAWN STREET                                                                     DETROIT           MI     48221‐1194
HICKS, THERESA           7410 DELTA COMMERCE DR                                                                    LANSING           MI     48917‐1060
HICKS, THERESA M         804 LONGVALE DR                                                                           DAYTON            OH     45427‐2225
HICKS, THERON J          724 WALNUT ST                                                                             CHARLOTTE         MI     48813
HICKS, THOMAS            SIMMONS FIRM                  PO BOX 521                                                  EAST ALTON         IL    62024‐0519
HICKS, THOMAS D          8766 PETRIEVILLE HWY                                                                      EATON RAPIDS      MI     48827‐9203
HICKS, THOMAS E          8554 WEDD ST                                                                              OVERLAND PARK     KS     66212‐4630
HICKS, THOMAS L          PO BOX 945                                                                                TRAVELERS REST    SC     29690‐0945
HICKS, THOMAS L          321 ODETTE ST 2                                                                           FLINT             MI     48503
HICKS, THOMAS L          5036 N 350 E                                                                              ANDERSON          IN     46012‐9531
HICKS, THOMAS M          6801 W 70TH ST LOT 58                                                                     SHREVEPORT        LA     71129‐2334
HICKS, THOMAS M          LOT 58                        6801 WEST 70TH STREET                                       SHREVEPORT        LA     71129‐2334
HICKS, TIMOTHY           3277 BLUE ROCK RD                                                                         CINCINNATI        OH     45239‐6166
HICKS, TIMOTHY C         4165 DUDLEY ST                                                                            DEARBORN HTS      MI     48125‐2603
HICKS, TIMOTHY D         6362 KINGS POINTE RD                                                                      GRAND BLANC       MI     48439‐8638
HICKS, TIMOTHY DOUGLAS   6362 KINGS POINTE RD                                                                      GRAND BLANC       MI     48439‐8638
HICKS, TIMOTHY L         8969 OLD ROUTE 36                                                                         BRADFORD          OH     45308‐9655
HICKS, TIMOTHY L         3549 CLAYTON RD                                                                           BROOKVILLE        OH     45309‐9307
HICKS, TIMOTHY L         883 HOMESTEAD RD                                                                          SAINT MARYS       WV     26170‐6170
HICKS, TIMOTHY LEON      8969 OLD ROUTE 36                                                                         BRADFORD          OH     45308‐9655
HICKS, TOMMY             1929 FIRLAWN DR                                                                           TOLEDO            OH     43614‐3519
HICKS, TONY C            PO BOX 175                                                                                SOMERSET          IN     46984‐0175
HICKS, TONY L            7914 GETTYSBURG WEBSTER RD                                                                BRADFORD          OH     45308‐9649
HICKS, TRACY L           2764 BALSAM CT                                                                            ROCKFORD           IL    61109‐6086
HICKS, TREAMON           13100 SYRACUSE ST                                                                         DETROIT           MI     48212‐2418
HICKS, UNA M             11400 MAPLE LN                                                                            GLADWIN           MI     48624‐7502
HICKS, VANASSA J         9420 NORTH WEBSTER ROAD                                                                   CLIO              MI     48420‐8546
HICKS, VANASSA JUNE      9420 NORTH WEBSTER ROAD                                                                   CLIO              MI     48420‐8546
HICKS, VANESSA M         3719 EVERGREEN PKWY                                                                       FLINT             MI     48503‐4565
HICKS, VANESSA MARIE     3719 EVERGREEN PKWY                                                                       FLINT             MI     48503‐4565
HICKS, VERNA J           356 ORIOLE ST                                                                             LAPEER            MI     48446‐2372
HICKS, VESTAL E          40 LYRIC DR                                                                               NEWARK            DE     19702‐4521
HICKS, VICKIE L          624 GRATIOT AVE                                                                           SAGINAW           MI     48602‐2003
HICKS, VICTOR T          7011 SHARON RD                                                                            FREDERICKSBRG     VA     22407‐8525
HICKS, VINCENT J         151 PENNS GRANT DR                                                                        MORRISVILLE       PA     19067‐4918
HICKS, VIRGIL            490 MOORES RD                                                                             TYNER             KY     40486‐8917
HICKS, VIRGINIA G        410 CLARANNA AVENUE                                                                       DAYTON            OH     45419‐1823
HICKS, VIVIAN J          430 W 125TH ST APT 17D                                                                    NEW YORK          NY     10027‐4254
HICKS, W H               848 COLONIAL CT                                                                           BIRMINGHAM        MI     48009‐3871
HICKS, W HERSCHEL        848 COLONIAL COURT                                                                        BIRMINGHAM        MI     48009‐3871
HICKS, WALLACE G         57 VAN BUREN DR                                                                           HAMILTON          OH     45011‐4657
HICKS, WALTER            PO BOX 967                                                                                FLINT             MI     48501‐0967
HICKS, WALTER L          3075 LANNING DR                                                                           FLINT             MI     48506‐2050
HICKS, WALTER LYLE       3075 LANNING DR                                                                           FLINT             MI     48506‐2050
HICKS, WANDA N           5925 BRADLEY DR                                                                           TIPP CITY         OH     45371‐2107
HICKS, WHITELAW R        1647 W CHESTNUT ST                                                                        LOUISVILLE        KY     40203‐1689
HICKS, WILLIAM           4624 JULIUS BLVD                                                                          WESTLAND          MI     48186‐5127
HICKS, WILLIAM A         10586 WILLIAMS RD                                                                         DEWITT            MI     48820‐9774
HICKS, WILLIAM H         4357 CAYUGA TRL                                                                           FLINT             MI     48532‐3570
HICKS, WILLIAM J         1235 ADDERHOLDT RD                                                                        PIEDMONT          AL     36272‐6019
HICKS, WILLIAM L         136 POND RD                                                                               OLIVER SPRINGS    TN     37840‐3301
HICKS, WILLIAM L         3043 SKYLAND DR                                                                           SNELLVILLE        GA     30078‐3893
HICKS, WILLIAM P         1420 VAN DYKE RD                                                                          HOLT              MI     48842‐9540
HICKS, WILLIAM P         243 S CLINTON ST                                                                          BALTIMORE         MD     21224‐2343
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Name                        Address1                        Address2                      Address3                Address4                   City               State   Zip
HICKS, WILLIAM R            2324 BERKLEY CT                                                                                                  SAGINAW             MI     48601‐2064
HICKS, WILLIE               12884 SPARLING ST                                                                                                DETROIT             MI     48212‐2441
HICKS, WILLIE C             9537 TYLER TARRACE                                                                                               JONESBORO           GA     30238
HICKS, WILLIE D             7222 DELINA RD                                                                                                   PETERSBURG          TN     37144‐2009
HICKS, WILLIS               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                      NORFOLK             VA     23510‐2212
                                                            STREET, SUITE 600
HICKS, WILMA R              4438 WOODBRIAR DR                                                                                                FLINT               MI     48507‐3534
HICKS, YVONNE
HICKS, YVONNE D             1096 DOVER RD                                                                                                    PONTIAC            MI      48341‐2349
HICKS, ZELMA L              23235 BERKLEY ST                                                                                                 OAK PARK           MI      48237
HICKS, ZELMA L              13600 MEYERS RD                                                                                                  DETROIT            MI      48227‐3991
HICKS,TIMOTHY LEON          8969 OLD ROUTE 36                                                                                                BRADFORD           OH      45308‐9655
HICKS‐CRISWELL, CLARA A     2711 CHERRYWOOD AVE                                                                                              NEW CASTLE         IN      47362‐1851
HICKS‐SWEENEY, EMMA J       4905 WESTERN RD                                                                                                  FLINT              MI      48506‐1820
HICKS‐TIBBS, MARY E         876 BOUTELL DR                                                                                                   GRAND BLANC        MI      48439‐1943
HICKSON JR, ELLIOTT W       3881 BRUMBAUGH BLVD.                                                                                             DAYTON             OH      45416‐1501
HICKSON JR, PAUL W          3901 GROVELAND AVE                                                                                               BALTIMORE          MD      21215
HICKSON NEISHA              500 CHINA GROVE LANE                                                                                             GEORGETOWN         SC      29440‐4140
HICKSON PHYLLIS             7021 HONEY CREEK LN                                                                                              SHREVEPORT         LA      71107‐8621
HICKSON, ALLAN J            5217 GLEN ECHO AVE                                                                                               SARASOTA           FL      34234‐3024
HICKSON, BARBARA P          3231 DONNEBROOK LANE SE                                                                                          ATLANTA            GA      30354‐2403
HICKSON, BERTHA M           503 BERRY PATCH LN                                                                                               WHITE LAKE         MI      48386‐2006
HICKSON, CAROL J            110 ROYAL PALM BLVD                                                                                              PANAMA CITY        FL      32408‐5277
                                                                                                                                             BEACH
HICKSON, CATHERINE R        4211 ANN ST                                                                                                      SAGINAW             MI     48603‐4109
HICKSON, CHRISTOPHE G       53 SHERWOOD FRST APT E                                                                                           WAPPINGERS FALLS    NY     12590

HICKSON, CYNDEE L           15944 84TH AVE N                                                                                                 WEST PALM BEACH     FL     33418‐1848

HICKSON, ESTHER A           6860 WEGNER RD                                                                                                   SAGINAW            MI      48609‐6858
HICKSON, HAROLD D           2869 CATERHAM DR                                                                                                 WATERFORD          MI      48329‐2617
HICKSON, HAROLD DOUGLAS     2869 CATERHAM DR                                                                                                 WATERFORD          MI      48329‐2617
HICKSON, HERBERT            17 BOHN CT                                                                                                       BALTIMORE          MD      21237‐3926
HICKSON, HERMAN             32 SYCAMORE AVE                                                                                                  MOUNT VERNON       NY      10553‐1214
HICKSON, JACK L             1431 HAMILTON DR                                                                                                 GREENWOOD          IN      46143‐7033
HICKSON, JACKIE K           701 N CRESCENT DR                                                                                                FRANKFORT          IN      46041‐2241
HICKSON, JAMES P            902 HONEYTREE LN                                                                                                 CAMP               AR      72520‐9569
HICKSON, LARRY N            110 ROYAL PALM BLVD                                                                                              PANAMA CITY        FL      32408‐5277
HICKSON, PHYLLIS A          7021 HONEY CK LANE                                                                                               SHREVEPORT         LA      71107‐8621
HICKSON, RICHARD G          503 BERRY PATCH LN                                                                                               WHITE LAKE         MI      48386‐2006
HICKSON, W E
HICKSON, WALDINE            105 CREEKSIDE DR                                                                                                 PULASKI             TN     38478
HICKSON, WALDINE            105 CREEK SIDE DRIVE                                                                                             PULASKI             TN     38478‐8602
HICKSON‐OLIVER, NICHOLE R   1025 VALLEYVIEW DR                                                                                               CLARKSTON           MI     48348‐5202
HICKSTEIN III, WILLIAM A    PO BOX 61                                                                                                        BEDFORD PARK        IL     60501‐0061
HICOK, HARRISON M           2275 HAMPTON ST                                                                                                  WHITE LAKE          MI     48386‐1545
HICOK, LINDA                2275 HAMPTON ST                                                                                                  WHITE LAKE          MI     48386‐1545
HICOM CHEVROLET SDN BHD     LEGAL MANAGER                   LEVEL 5, WISMA DRB‐HICOM      NO. 2, JALAN USAHAWAN   SHAH ALAM SELANGOR DARUL
                                                                                          U1/8, SEKSYEN U1        EHSAN 40150 MALAYSIA

HICOM CHEVROLET SDN BHD     SEKSYEN U1                      U1/8 NO. 2 LEVEL 3                                    40150 SHAH ALAM SELANGOR
                                                                                                                  DURUL EHSAN MALAYSIA
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HICOM‐CHEVROLET SDN BHD           GENERAL MANAGER, HUMAN RESOURCES LEVEL 5, WISMA DRB‐HICOM         NO. 2, JALAN USAHAWAN    SHAH ALAM SELANGOR DARUL
                                                                                                    U1/8, SEKSYEN U1         EHSAN 40150 MALAYSIA

HICOM‐CHEVROLET SDN BHD           STE 3 2A LEVEL 3 WISMA DRB‐HIC#2 JALAN                                                     40150 MALAYSIA MALAYSIA
                                  USAHAWAN U1/8 SEKSYEN
HICOM‐CHEVROLET SDN. BHD. á       SUITE 3.2A, LEVEL 3, WISMA DRB‐HICOM, YUKONTORN WISADKOSIN á                               SHAH ALAM SELANGOR DARUL
                                  NO. 2 JALAN USAHAWAN U1/8, SEKSY                                                           EHSAN 40150 á MALAYSIA

HICOMOBIL SDN BHD (COMPANY NO.:   LEVEL 5 WISMA DRB‐HICOM              NO. 2 JALAN USAHAWAN U1/8                             SHAH ALAM SELANGOE DARUL
616613‐K)                                                              SEKSYEN U1                                            EHSAN 40150 MALAYSIA

HIDALGO COUNTY                    PO BOX 178                                                                                                            EDINBURG        TX   78540‐0178
HIDALGO COUNTY TEXAS              PO BOX 4290                            TAX ASSESSOR/COLLECTOR                                                         EDINBURG        TX   78540‐4290
HIDALGO COUNTY TEXAS              ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 4290                TAX ASSESSOR/COLLECTOR                              EDINBURG        TX   78540‐4290

HIDALGO COUNTY TREASURER          300 SHAKESPEARE STREET                                                                                                LORDSBURG      NM    88045
HIDALGO COUNTY UNITED WAY         PO BOX 187                                                                                                            MCALLEN        TX    78505‐0187
HIDALGO INDUSTRIAL                2535 BRENNAN AVE                                                                                                      FORT WORTH     TX    76106‐8408
HIDALGO ISD/CITY COLLECTOR        PO BOX C                                                                                                              HIDALGO        TX    78557‐3003
HIDALGO JR, FRANK S               800 NORTH CLINTON STREET                                                                                              GRAND LEDGE    MI    48837‐1104
HIDALGO, AARON                    1326 E GRAND RIVER RD                                                                                                 WILLIAMSTON    MI    48895‐9005
HIDALGO, ALFONSO L                3334 BROOKGATE DR                                                                                                     FLINT          MI    48507‐3211
HIDALGO, ANNA                     50 WHITE ST                                                                                                           TARRYTOWN      NY    10591‐7611
HIDALGO, ANTHONY                  15526 LONG CYPRESS DRIVE                                                                                              RUSKIN         FL    33573‐0182
HIDALGO, EFRAIN                   291 SOUTHWOOD DR                                                                                                      TN OF TONA     NY    14223‐1077
HIDALGO, GEORGE L                 PO BOX 76                            1227 S LENFESTY ST                                                               MARION         IN    46952‐0076
HIDALGO, GEORGE L                 PO BOX 76                                                                                                             MARION         IN    46952‐0076
HIDALGO, JOSE L                   66 CUSTER ST APT 112                                                                                                  BUFFALO        NY    14214‐1177
HIDALGO, LEWIS                    PO BOX 392                                                                                                            TARRYTOWN      NY    10591
HIDALGO, LUIS                     4 HEWITT AVE                                                                                                          BUFFALO        NY    14215‐1512
HIDALGO, MAX                      6170 TWILIGHT VIEW WAY                                                                                                EL PASO        TX    79932‐1081
HIDALGO, PEDRO                    PO BOX 624                                                                                                            FLINT          MI    48501‐0624
HIDALGO, RUBEN D                  1553 DORADO DR B                                                                                                      KISSIMMEE      FL    34741
HIDALGO, SILVIA ELENA             250 SEELEY ST APT 16                                                                                                  BROOKLYN       NY    11218‐1250
HIDALGO, TRINA M                  249 CHURCH HILL DOWNS BLVD                                                                                            WILLIAMSTON    MI    48895‐9070
HIDALGO, VELMA                    913 LONGWOOD AVE                                                                                                      HAYWARD        CA    94541‐7154
HIDAY & RICKE PA                  ACCT OF JOSEPH P SMITH               8375 DIX ELLIS TRL STE 102                                                       JACKSONVILLE   FL    32256‐8281
HIDAY MOTORS, INC.                LARRY HIDAY                          633 N MAIN ST                                                                    BLUFFTON       IN    46714‐1349
HIDAY MOTORS, INC.                633 N MAIN ST                                                                                                         BLUFFTON       IN    46714‐1349
HIDAY, BETTY R                    5437 CARLTON COURT                                                                                                    INDIANAPOLIS   IN    46224‐6846
HIDAY, BETTY R                    5437 CARLTON CT                                                                                                       INDIANAPOLIS   IN    46224‐6846
HIDAY, BRUCE R                    144 KING EDWARD CT SW                C/O BRUCE R HIDAY II                                                             CALHOUN        GA    90701‐7887
HIDAY, BRUCE R                    C/O BRUCE R HIDAY II                 PO BOX 3312                                                                      LISLE           IL   60532
HIDAY, CHARLES E                  319 S MAPLE ST                                                                                                        GREENTOWN      IN    46936‐1569
HIDAY, DONALD W                   1120 EVANS RD                                                                                                         GAS CITY       IN    46933‐2237
HIDAY, DONALD WAYNE               1120 EVANS RD                                                                                                         GAS CITY       IN    46933‐2237
HIDAY, DOUGLAS K                  1411 LAWRENCE WAY                                                                                                     ANDERSON       IN    46013‐5605
HIDAY, JACQUELINE L               4670 E 400 SOUTH                                                                                                      MIDDLETOWN     IN    47356
HIDAY, JO G                       5817 MARBLE COURT                                                                                                     ANDERSON       IN    46013‐2026
HIDAY, JO G                       5817 MARBLE CT                                                                                                        ANDERSON       IN    46013‐2026
HIDAY, RALPH A                    1918 N BALSAM CT                                                                                                      ANDERSON       IN    46011‐2729
HIDAY, RICKY GENE                 4670 E 400 SOUTH                                                                                                      MIDDLETOWN     IN    47356
HIDAY, RONALD E                   5437 CARLTON COURT                                                                                                    INDIANAPOLIS   IN    46224‐6846
HIDAY, SUSAN C                    1411 LAWRENCE WAY                                                                                                     ANDERSON       IN    46013‐5605
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HIDAY, TAMMY W                     536 N 7TH ST                                                                                                 MIDDLETOWN          IN     47356‐1022
HIDAY, WILLIS                      824 W 575 S                                                                                                  PENDLETON           IN     46064‐9159
HIDDE, JEAN A                      5575 N NAVAJO AVE                                                                                            MILWAUKEE           WI     53217‐5040
HIDDEN CREEK INDUSTRIES            527 W US HIGHWAY 20                                                                                          MICHIGAN CITY       IN     46360‐6835
HIDDEN CREEK INDUSTRIES            80 S 8TH ST STE 4508                                                                                         MINNEAPOLIS         MN     55402‐2233
HIDDEN CREEK INDUSTRIES            TARA MILES                       SPRAGUE DEVICES                 527 W. US HWY 20                            PLAINFIELD          IN     46168
HIDDEN VALLEY INVESTMENTS, INC.    JOSEPH HEROLD                    1550 AUTO PARK WAY                                                          ESCONDIDO           CA     92029‐2059
HIDDEN VALLEY TRANSPORTATION INC   PO BOX 3                                                                                                     MECHANICSTOWN       OH     44651‐0003
HIDDIE, PAUL D                     8380 NORTHFIELD RD                                                                                           CLARENCE CTR        NY     14032
HIDECKER, DOUGLAS J                17260 W ROSE LAKE RD                                                                                         LEROY               MI     49655‐8164
HIDECKER, JEFFREY J                10 COOPER LN                                                                                                 CONWAY              AR     72034‐7935
HIDECKER, JEFFREY J                1286 OTTO RD                                                                                                 CHARLOTTE           MI     48813‐9765
HIDECKER, JERRY E                  175 FAIRWAY CIRCLE                                                                                           WINTER HAVEN        FL     33881‐9711
HIDEKO TAKEMURA                    TAWARAMOTOCHO 174‐1              SHIKI‐GUN                                          NARA 636‐0314 JAPAN
HIDELL, CHARLES S                  419 KAANAPALI LANE                                                                                           BASTROP            TX      78602‐5658
HIDEN ANALYTICAL INC               77 R 202 N ‐ STE H                                                                                           PETERBOROUGH       NH      03458
HIDENET DOT COM INC                7314 E CLAREMONT ST                                                                                          SCOTTSDALE         AZ      85250‐5527
HIDENETCOM INC                     7314 E CLAREMONT ST                                                                                          SCOTTSDALE         AZ      85250‐5527
HIDER JR, GERALD W                 STE 19                           12653 OSBORNE STREET                                                        PACOIMA            CA      91331‐2158
HIDER, JOHN C                      2517 OTTER LN                                                                                                JOHNS ISLAND       SC      29455‐6104
HIDER, WILLIAM J                   448 SHILOH CREEK WAY                                                                                         INDIANAPOLIS       IN      46234‐9619
HIDIDD, LINDA A                    15888 MYRTLE DR                                                                                              MACOMB             MI      48042‐2207
HIDLEY, TIMOTHY A                  48340 WALDEN RD                                                                                              MACOMB             MI      48044‐4914
HIDOCK, PATRICIA                   6587 GOLF CLUB RD                                                                                            HOWELL             MI      48843‐9577
HIDRI, ARDIAN                      13584 W ACAPULCO LN                                                                                          SURPRISE           AZ      85379‐8302
HIDVEGI FRANK (445218)             BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                               NORTHFIELD         OH      44067
                                                                    PROFESSIONAL BLDG
HIDVEGI, FRANK                     BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                                NORTHFIELD         OH      44067
                                                                    PROFESSIONAL BLDG
HIDVEGI, JOHN                      10 UNIVERSAL AVE                                                                                             ISELIN             NJ      08830‐2453
HIDVEGI, MARIE A                   9806 MARIETTA AVE                                                                                            CLEVELAND          OH      44102‐3625
HIDY, JAMES F                      2805 APT 209                                                                                                 AUBURN HILLS       MI      48057
HIDY, JAMES P                      PO BOX 443                                                                                                   MASSENA            NY      13662‐0443
HIE HERRON                         BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HEIGHTS     OH      44236
HIEB JANE                          7900 CALEDONIA DRIVE                                                                                         SAN JOSE           CA      95135‐2109
HIEB, RODNEY                       CONSUMER LEGAL SERVICES          1950 SAWTELLE BLVD STE 245                                                  LOS ANGELES        CA      90025‐7017
HIEBEL RALF ERWIN                  23296 HIDDEN CREEK DR                                                                                        MACOMB             MI      48042‐5024
HIEBER, GEBHARD A                  191 W HIGH ST APT 313                                                                                        PAINESVILLE        OH      44077‐3359
HIEBER, GERDA A                    2250 PAR LN APT 1021                                                                                         WILLOUGHBY HILLS   OH      44094‐2930

HIEBERT, BEN K                     4541 BOND RD                                                                                                 ONONDAGA           MI      49264‐9725
HIEBERT, BEVERLY A                 4541 BOND RD                                                                                                 ONONDAGA           MI      49264‐9725
HIEBERT, JIM L                     3510 CHRISIDE DR                                                                                             CORPUS CHRISTI     TX      78415
HIEBL, ERWIN J                     15066 STEPHENS DR                                                                                            EASTPOINTE         MI      48021‐1560
HIEBL, RALF E                      23296 HIDDEN CREEK DR                                                                                        MACOMB             MI      48042‐5024
HIEBLER, DORTHY E                  4702 HENSHAW LN                                                                                              PASADENA           MD      21122‐6162
HIEBLER, DORTHY E                  4702 HENSHAW LANE                                                                                            PASADENA           MD      21122
HIEF, LLOYD A                      516 SW 2ND ST                                                                                                RICHMOND           IN      47374‐5323
HIEGEL, SHIRLEY F                  550 MUMFORD DR                                                                                               TROY               OH      45373‐2742
HIEGEL, WALTER L                   329 E FOURTH ST                                                                                              GREENVILLE         OH      45331‐2040
HIEGEL, WALTER L                   329 E 4TH ST                                                                                                 GREENVILLE         OH      45331‐2040
HIEGELMEIRE TERRY                  HIEGELMEIRE, TERRY               PO BOX 98                                                                   LESLIE             MI      49251
HIEGELMEIRE, TERRY                 PO BOX 98                                                                                                    LESLIE             MI      49251‐0098
HIEGER, DAVID B                    1518 DELAINE AVE                                                                                             DE SOTO            MO      63020‐2945
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HIEGER, RODNEY              KOPPEL & BATES                  817 S UNIVERSITY DR STE 100                                         PLANTATION         FL     33324‐3345
HIEHLE, RUTH I              4217 IRELAN ST                                                                                      KETTERING          OH     45440‐1528
HIEL TRUCKING OF OHIO INC   22840 IL HWY 41                                                                                     PRAIRIE CITY        IL    61470
HIEL, AGNES L               1901 S CLINTON AVE                                                                                  TRENTON            NJ     08610‐6201
HIEL, DAVID C               1901 S CLINTON AVE                                                                                  TRENTON            NJ     08610‐6201
HIELL, CHARLES              2193 TRENT RD                                                                                       COLUMBUS           OH     43229‐5731
HIELSCHER USA INC           19 FOREST RD                                                                                        RINGWOOD           NJ     07456‐1912
HIEMSTRA, BETTY             7666 W R AVE                                                                                        KALAMAZOO          MI     49009‐8938
HIEMSTRA, DAVID A           730 9 MILE RD NW                                                                                    COMSTOCK PARK      MI     49321‐8323
HIEMSTRA, DAVID A.          730 9 MILE RD NW                                                                                    COMSTOCK PARK      MI     49321‐8323
HIEMSTRA, DOROTHY L         1600 WABASH AVE                                                                                     S HOLLAND           IL    60473
HIEMSTRA, EDWARD            PO BOX 468                                                                                          MILAN              OH     44846‐0468
HIEN NGUYEN                 4501 SUNSWEPT AVE                                                                                   SANTA ANA          CA     92703‐1231
HIEN THAI                   5284 PLYMOUTH AVE                                                                                   GRAND BLANC        MI     48439‐5116
HIENER GARY (445219)        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD         OH     44067
                                                            PROFESSIONAL BLDG
HIENER, GARY                BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                        NORTHFIELD        OH      44067
                                                            PROFESSIONAL BLDG
HIEP DO                     7076 BALMORAL DR                                                                                    WEST BLOOMFIELD    MI     48322‐2775

HIEP HO                     617 SW 102ND ST                                                                                     OKLAHOMA CITY     OK      73139‐5524
HIER, CATHERINE             9216 SALEM                                                                                          DETROIT           MI      48239‐1518
HIER, DALE W                PO BOX 435                                                                                          ELSIE             MI      48831‐0435
HIER, HARVEY J              356 S SUNNYSIDE LN                                                                                  SPENCER           IN      47460‐6735
HIER, HELEN                 C/O JOHN P GANDINO              164 FISCOE AVENUE                                                   SYRACUSE          NY      13205
HIER, HELEN                 164 FISCOE AVENUE                                                                                   SYRACUSE          NY      13205‐3007
HIER, KEVIN P               6350 GALLERY DR                                                                                     CANTON            MI      48187‐5498
HIER, MARK J                4481 MAYER RD                                                                                       CHINA             MI      48054‐2310
HIERHOLZER ALAN (445220)    KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                       CLEVELAND         OH      44114
                                                            BOND COURT BUILDING
HIERHOLZER, ALAN            KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                        CLEVELAND         OH      44114
                                                            BOND COURT BUILDING
HIERHOLZER, DAVID G         2854 DODSON GAP ROAD                                                                                CULLEOKA          TN      38451‐2330
HIERHOLZER, GORDON J        1050 BORG AVE                                                                                       TEMPERANCE        MI      48182‐9601
HIERHOLZER, GORDON JAMES    1050 BORG AVE                                                                                       TEMPERANCE        MI      48182‐9601
HIERHOLZER, JEAN A          3015 WELLINGTON DR                                                                                  DAYTON            OH      45410‐3135
HIERL, KEVIN M              637 HUTH RD                                                                                         CHEEKTOWAGA       NY      14225‐1736
HIERLMEIER, JEFFREY J       7203 W VIEW DR                                                                                      WIND LAKE         WI      53185‐1931
HIERONIM WALENCZAK          748 W CAPISTRANO AVE                                                                                TOLEDO            OH      43612‐3251
HIERONYMUS TED              9127 WHITE OAK RD                                                                                   KIRTLAND          OH      44094‐9754
HIERONYMUS, BARBARA E       4104 BERKSHIRE CT                                                                                   MIDLAND           MI      48640‐3302
HIERROS DE LEVANTE S A      AUTOVIA IV PLANTA SIDERURGICA   AUTOVIA IV PLANTA SIDERURGICA   S/N        SAGUNTO VALENCIA 46500
                                                                                                       SPAIN
HIERS, BETTY                726 MIMOSA ROAD                                                                                     PRATTVILLE         AL     36067‐2012
HIERS, HUEY A               115 ABNEY DR                                                                                        PRATTVILLE         AL     36067‐4428
HIESE, GARY L               PO BOX 26                                                                                           ADVANCE            IN     46102‐0026
HIESHETTER, CONSTANCE       1900 LARAWAY LN SE              C/O MARTHA LANDGREN TRUSTEE                                         GRAND RAPIDS       MI     49546‐6631
HIESTAND, BETTY S           224 20TH ST APT 1                                                                                   BEDFORD            IN     47421‐4444
HIESTAND, BETTY S           224 20TH STREET                 APARTMENT #1                                                        BEDFORD            IN     47421
HIESTAND, BRENT A           14221 W COUNTY ROAD 250 S                                                                           DALEVILLE          IN     47334‐9386
HIESTAND, BRENT ALLEN       14221 W COUNTY ROAD 250 S                                                                           DALEVILLE          IN     47334‐9386
HIESTAND, CHARLES H         2008 N VALLEY DR                                                                                    MUNCIE             IN     47304‐9686
HIESTAND, CLEM H            1612 S IRVINGTON DR                                                                                 YORKTOWN           IN     47396‐1040
HIESTAND, IDA G             2000 EAST 22ND STREET                                                                               MUNCIE             IN     47302‐5468
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Name                         Address1                           Address2                           Address3   Address4               City            State   Zip
HIESTAND, IDA G              2000 E 22ND ST                                                                                          MUNCIE           IN     47302‐5468
HIESTAND, KARL E             8151 N LANGDON RD                                                                                       GASTON           IN     47342‐9393
HIESTAND, NICHOLAS C         2104 N VALLEY DR                                                                                        MUNCIE           IN     47304‐9685
HIESTAND, RENATE             9175 W "M" AVENUE                                                                                       KALAMAZOO        MI     49009‐7946
HIESTAND, RENATE             9175 W M AVE                                                                                            KALAMAZOO        MI     49009‐7946
HIESTAND, RYAN A             2957 W MOHEE RD                                                                                         HARTFORD CITY    IN     47348‐9772
HIESTER, ANNE D              8308 S CREEK RD                                                                                         WILLOW SPRING    NC     27592‐9626
HIESTON, GEORGE O            2701 PENNS CHAPEL RD                                                                                    BOWLING GREEN    KY     42101‐9395
HIETANEN, PAUL W             14160 DAYTON AVE                                                                                        BEAR LAKE        MI     49614‐9693
HIETANEN, ROBERT W           1711 INVERNESS ST                                                                                       SYLVAN LAKE      MI     48320‐1634
HIETBRINK RICHARD            C/O GOLDBERG PERSKY & WHITE PC     1030 FIFTH AVENUE                                                    PITSBURGH        PA     15219
HIETBRINK, EARL H            135 CASTLE RIDGE HTS                                                                                    FAIRFIELD BAY    AR     72088‐4113
HIETPAS GILBERT & MARY       N5724 NELSON RD                                                                                         FOND DU LAC      WI     54937‐8303
HIETT CHARLES O (429094)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA     23510
                                                                STREET, SUITE 600
HIETT, BARBARA A             4669 MOUNT BRIGHTON DR                                                                                  BRIGHTON         MI     48116‐9409
HIETT, CHARLES O             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA     23510‐2212
                                                                STREET, SUITE 600
HIETT, JERALYN               157 INDIAN CREEK RD                                                                                     HOHENWALD       TN      38462‐2495
HIETT, KIP C                 2848 GLEN EAGLE DR                                                                                      MONTROSE        CO      81401‐5389
HIEUMY NGUYEN                PO BOX 10571                                                                                            MIDWEST CITY    OK      73140‐1571
HIFUMI GAWNE                 291 S 9 MILE RD                                                                                         LINWOOD         MI      48634‐9713
HIG CAPITAL MANAGEMENT INC   1001 BRICKELL PLZ STE 2708                                                                              MIAMI           FL      33131
HIG CAPITAL MANAGEMENT INC   2701 TROY CENTER DRIVE, STE. 445                                                                        TROY            MI      48084
HIG CAPITAL MANAGEMENT INC   PO BOX 598                         3226 COMMANDER DR                                                    ADDISON         TX      75001‐0598
HIGA, MARCIA H               91‐1018 KAIAPELE ST                                                                                     EWA BEACH       HI      96706‐6206
HIGA, SHIGERU                521 MCARAS CT                                                                                           FLINT           MI      48504‐5205
HIGAREDA ROMERO              HIGAREDA, HECTOR                   800 WEST 47TH STREET ‐ 630 PLAZA                                     KANSAS CITY     MO      64112
                                                                CENTER BUILDING
HIGAREDA ROMERO              HIGAREDA, JULIE                    800 WEST 47TH STREET ‐ 630 PLAZA                                     KANSAS CITY     MO      64112
                                                                CENTER BUILDING
HIGAREDA ROMERO              HIGAREDA, ROMERO                   800 WEST 47TH STREET ‐ 630 PLAZA                                     KANSAS CITY     MO      64112
                                                                CENTER BUILDING
HIGAREDA, ROMERO             9909 N MAYWOOD AVE                                                                                      KANSAS CITY     MO      64157‐9668
HIGASHIHAMA, JUN             128 FREEDOM LN                                                                                          MARTINSBURG     WV      25405‐6839
HIGBEA, JEROLD C             2377 DOMERSVILLE RD                                                                                     DEFIANCE        OH      43512‐9115
HIGBEE JR, LEON I            2974 DRUM RD                                                                                            MIDDLEPORT      NY      14105‐9732
HIGBEE, DONALD L             130 E 75TH ST                                                                                           ANDERSON        IN      46013‐3902
HIGBEE, JAMES C              4457 CHESTNUT RIDGE RD APT 3                                                                            BUFFALO         NY      14228‐3247
HIGBEE, KATHERINE S          5072 WINSTON DR                                                                                         SWARTZ CREEK    MI      48473‐1225
HIGBEE, LANGSTON E           3121 YORKSHIRE RD                                                                                       CLEVELAND HTS   OH      44118‐2429
HIGBEE, MARK R               13824 S GRANGE RD                                                                                       EAGLE           MI      48822‐9766
HIGBEE, THOMAS H             2565 ROSEWOOD ST                                                                                        JENISON         MI      49428‐8709
HIGBIE, EDWARD L             1347 CAPAC RD                                                                                           BERLIN          MI      48002‐3013
HIGBIE, JOHN M               142 RAINBOW DR # 4260                                                                                   LIVINGSTON      TX      77399‐1042
HIGBIE, KEITH D              4242 W HOWE RD                                                                                          DEWITT          MI      48820‐9201
HIGBIE, MILDRED I            1347 CAPAC RD                                                                                           BERLIN          MI      48002‐3013
HIGBIE, ROBERT W             2754 SAWGRASS LOOP                                                                                      RICHLAND        WA      99354‐2139
HIGBIE, VERNON MCKINLEY      1901 APPLE ST                                                                                           GREENFIELD      IN      46140‐8987
HIGBY I I I, JESS D          3883 DORNOCH DR                                                                                         WOOSTER         OH      44691‐6100
HIGBY III, JESS D            3883 DORNOCH DR                                                                                         WOOSTER         OH      44691‐6100
HIGBY, PAUL K                324 CHAGEE LN                                                                                           BREVARD         NC      28712‐8436
HIGBY, YVETTE S              1410 EAST 8TH ST                                                                                        ANDERSON        IN      46012‐4106
HIGBY, YVETTE S              1410 E 8TH ST                                                                                           ANDERSON        IN      46012‐4106
                             09-50026-mg              Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                         Address1                          Address2                      Address3   Address4               City              State Zip
HIGDON JR, WALLIS P          8708 WAVERLY DR                                                                                   TUSCALOOSA         AL 35405‐8521
HIGDON LEONARD U (481792)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510
                                                               STREET, SUITE 600
HIGDON LINDA                 5650 UPPER BURNINGTOWN RD                                                                         FRANKLIN          NC   28734‐6411
HIGDON, ANNA D               1001 CIRCLE DR                                                                                    HALETHORPE        MD   21227‐2325
HIGDON, BARBARA              32 MEADOW WOOD DR                                                                                 ROCHESTER HILLS   MI   48307‐3082
HIGDON, BILLIE G             1519 DORELLEN AVE                                                                                 FLINT             MI   48532‐5341
HIGDON, BRANDON J            5965 PARTERRA DR                                                                                  INDIANAPOLIS      IN   46237‐2267
HIGDON, CHARLES H            88 CLAMPIT COVE RD                                                                                FRANKLIN          NC   28734‐6386
HIGDON, DONNA L              8100 DEER PATH                                                                                    CINCINNATI        OH   45243‐1356
HIGDON, DOUGLAS W            8309 HOAGLAND RD                                                                                  HOAGLAND          IN   46745‐9715
HIGDON, DOUGLAS WILLIAM      8309 HOAGLAND RD                                                                                  HOAGLAND          IN   46745‐9715
HIGDON, DWAYNE E             14822 BRANSTRATOR RD                                                                              YODER             IN   46798‐9702
HIGDON, GEORGE L             1325 COLLINSON FORD RD                                                                            MORRISTOWN        TN   37814‐1331
HIGDON, GLENNA M             7252 MAPLECREST CIR                                                                               SWARTZ CREEK      MI   48473‐1595
HIGDON, JOEL W               1920 GRISSOM AVE SW                                                                               DECATUR           AL   35603‐2634
HIGDON, JOHNNY               SHANNON LAW FIRM                  100 W GALLATIN ST                                               HAZLEHURST        MS   39083‐3007
HIGDON, JOSEPH J             2108 KENDALL CLOSE NW                                                                             ACWORTH           GA   30102‐7956
HIGDON, KENNETH M            4000 NE BITTERSWEET DR                                                                            LEES SUMMIT       MO   64064‐1662
HIGDON, LEONARD U            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510‐2212
                                                               STREET, SUITE 600
HIGDON, LINDSEY PAIGE        2588 S KEYSTONE AVE                                                                               INDIANAPOLIS      IN   46203‐4570
HIGDON, M L                  1920 GRISSOM AVE SW                                                                               DECATUR           AL   35603‐2634
HIGDON, MARTHA L             1920 GRISSOM AVE SW                                                                               DECATUR           AL   35603
HIGDON, RAYMOND J            304 CORONADO RD                                                                                   INDIANAPOLIS      IN   46234‐2532
HIGDON, ROBERT E             1001 CIRCLE DR                                                                                    BALTIMORE         MD   21227‐2325
HIGDON, ROBERT O             124 HARDIN RD                                                                                     FALKVILLE         AL   35622‐8402
HIGDON, RONALD C             625 W LAWRENCE AVE                                                                                CHARLOTTE         MI   48813‐1425
HIGDON, RONALD L             519 POPLAR DR                                                                                     PITTSBORO         IN   46167‐9058
HIGDON, SANDRA M             5211 TANGENT                                                                                      WATERFORD         MI   48327‐2479
HIGDON, SANDRA M             5211 TANGENT DR                                                                                   WATERFORD         MI   48327‐2479
HIGDON, SARAH J              BOX 34                                                                                            PATTONVILLE       TX   75468‐0034
HIGDON, SARAH J              PO BOX 34                                                                                         PATTONVILLE       TX   75468‐0034
HIGDON, SHIRLEY M            14822 BRANSTRATOR RD                                                                              YODER             IN   46798‐9702
HIGDON, STEPHANIE R          11222 WIRRA WIRRA HILL                                                                            ROANOKE           IN   46783‐8921
HIGDON, STEPHANIE RAE        11222 WIRRA WIRRA HILL                                                                            ROANOKE           IN   46783‐8921
HIGDON, TIMOTHY A            22860 W BURT RD                                                                                   BRANT             MI   48614‐8792
HIGDON, TOM E                34061 RICHARD ST                                                                                  WAYNE             MI   48184‐2426
HIGDON, WANDA L              909 SHADY LAKE DR                                                                                 BEDFORD           TX   76021‐4430
HIGDON, WESLEY E             2121 DERRICK RD                                                                                   CHAPEL HILL       TN   37034‐2078
HIGDON‐CARR, NELL A          1212 N WINTHROP RD                                                                                MUNCIE            IN   47304‐2957
HIGE, ALFREDO R              7189 GULLEY ST                                                                                    TAYLOR            MI   48180‐1548
HIGEL, CHARLES D             PO BOX 935 43                                                                                     EVART             MI   49631
HIGEL, DONNELLY G            PO BOX 1164                                                                                       EVART             MI   49631‐1164
HIGEL, JEFFREY C             4690 N SMITH RD                                                                                   DIMONDALE         MI   48821‐8714
HIGEL, JENNIFER T            4690 N SMITH RD                                                                                   DIMONDALE         MI   48821‐8714
HIGELMIRE I I I, CHARLES C   PO BOX 98                                                                                         LESLIE            MI   49251‐0098
HIGELMIRE III, CHARLES C     PO BOX 98                                                                                         LESLIE            MI   49251‐0098
HIGELMIRE JR, CHARLES C      5653 BELLEVUE RD                                                                                  ONONDAGA          MI   49264‐9752
HIGELMIRE JR., STEVEN P      11173 STONY POINT HWY                                                                             BELLEVUE          MI   49021‐9711
HIGELMIRE JR., STEVEN PAUL   11173 STONY POINT HWY                                                                             BELLEVUE          MI   49021‐9711
HIGELMIRE, CAROLYN S         4550 OLDS RD                                                                                      ONONDAGA          MI   49264‐9713
HIGELMIRE, DAVID D           13267 CLINTON RD                                                                                  ONONDAGA          MI   49264‐9611
HIGELMIRE, DENNIS K          4550 OLDS RD                                                                                      ONONDAGA          MI   49264‐9713
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Name                               Address1                           Address2                         Address3   Address4               City            State   Zip
HIGELMIRE, KRISTIE                 5653 BELLEVUE RD                                                                                      ONONDAGA         MI     49264‐9752
HIGELMIRE, LINDA S                 13267 CLINTON RD                                                                                      ONONDAGA         MI     49264‐9611
HIGELMIRE, STEVEN P                6373 S LACEY LAKE RD                                                                                  BELLEVUE         MI     49021‐9451
HIGENIO SERNA                      3308 WALKER RD                                                                                        LANSING          MI     48906‐3266
HIGG TRANSPORTATION                1330 SEABORN ST STE 8                                                                                 MINERAL RIDGE    OH     44440‐9005
HIGGENBOTHAM ALFRED J              HIGGINBOTHAM, ALFRED J             100 CENTURY PKWY STE 305                                           MOUNT LAUREL     NJ     08054‐1182
HIGGENBOTHAM, HAROLD R             2280 S HIWAY 19                                                                                       PERU             IN     46970
HIGGENS JR, WILLIAM M              2002 ALBANY ST                     C/O BEECH GROVE HEALTHCARE                                         BEECH GROVE      IN     46107‐1408
HIGGERSON I I I, HAROLD            5188 WYNDEMERE SQ                                                                                     SWARTZ CREEK     MI     48473‐8894
HIGGERSON III, HAROLD              5188 WYNDEMERE SQ                                                                                     SWARTZ CREEK     MI     48473‐8894
HIGGERSON JR, HAROLD               1305 SCOTT ST                                                                                         NEW MADRID       MO     63869‐1636
HIGGERSON, ANGELINE                13100 TULLER ST                                                                                       DETROIT          MI     48238‐3128
HIGGERSON, ANGELINE                13100 TULLER                                                                                          DETROIT          MI     48238‐3128
HIGGERSON, DONNA                   PO BOX 402                                                                                            COULTERVILLE      IL    62237
HIGGERSON, JAMES D                 909 DELL AVE                                                                                          FLINT            MI     48507‐2806
HIGGERSON, JAMES DANIEL            909 DELL AVE                                                                                          FLINT            MI     48507‐2806
HIGGERSON, JAMES T                 2341 E MAPLE AVE                                                                                      BURTON           MI     48529‐2153
HIGGERSON, KYLE J                  914 SIMCOE AVE                                                                                        FLINT            MI     48507‐1683
HIGGERSON, RUSSELL E               1131 E LAKEWOOD ST APT 117                                                                            SPRINGFIELD      MO     65810‐2472
HIGGERSON, STEVEN                  1102 SOUTHLAWN AVE                                                                                    FLINT            MI     48507‐2809
HIGGERSON, VIRGINIA A              834 ALVORD AVE                                                                                        FLINT            MI     48507‐2524
HIGGERSON, WELDON A                1778 SYCAMORE AVE                                                                                     NICEVILLE        FL     32578‐3659
HIGGIN, PAMELA R                   18 COMMONWEALTH BLVD                                                                                  NEW CASTLE       DE     19720‐4431
HIGGINBOTHAM AUTOMOBILES OF        DENNIS HIGGINBOTHAM                2351 E HIGHWAY 501                                                 CONWAY           SC     29526‐9507
MYRTLE BEACH, LLC.
HIGGINBOTHAM BENJAMIN D (192251)   BROWN TERRELL HOGAN ELLIS          804 BLACKSTONE BLDG , 233 EAST                                     JACKSONVILLE     FL     32202
                                   MCCLAMMA & YEGELWEL P.A.           BAY STREET
HIGGINBOTHAM JAMES & ANN           16706 GLENN CT                                                                                        ACCOKEEK        MD      20607‐9651
HIGGINBOTHAM JOHN (453905)         BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD      OH      44067
                                                                      PROFESSIONAL BLDG
HIGGINBOTHAM JR, FREDERICK W       677 SW 361ST RD                                                                                       WARRENSBURG     MO      64093‐8125
HIGGINBOTHAM LYNN                  2061 BUBBA TAYLOR RD                                                                                  BYHALIA         MS      38611‐8084
HIGGINBOTHAM, ALFRED J             GORBERG, DAVID J. AND ASSOCIATES   100 CENTURY PKWY STE 305                                           MOUNT LAUREL    NJ      08054‐1182
HIGGINBOTHAM, BARBARA D            PO BOX 63                                                                                             CHESTERFIELD    IN      46017‐0063
HIGGINBOTHAM, BEN                  BROWN TERRELL HOGAN ELLIS          804 BLACKSTONE BLDG, 233 EAST                                      JACKSONVILLE    FL      32202
                                   MCCLAMMA & YEGELWEL P.A.           BAY STREET
HIGGINBOTHAM, BILLY                3072 QUAYSIDE CT APT 107                                                                              MELBOURNE       FL      32935‐3644
HIGGINBOTHAM, BRANDON D            9660 HIGHWAY 143                                                                                      FARMERVILLE     LA      71241‐5512
HIGGINBOTHAM, CECIL M              1039 CHARNWOOD PK WY                                                                                  BEECH GROVE     IN      46107
HIGGINBOTHAM, DAVID                GUY WILLIAM S                      PO BOX 509                                                         MCCOMB          MS      39649‐0509
HIGGINBOTHAM, DENNIS D             PO BOX 338                                                                                            NEW SMYRNA      FL      32170‐0338
HIGGINBOTHAM, DIANA L              624 301 BLVD E LOT B9                                                                                 BRADENTON       FL      34203‐3551
HIGGINBOTHAM, DOYCE J              1914 MORNINGSIDE DR NW                                                                                HARTSELLE       AL      35640‐4330
HIGGINBOTHAM, EDWIN R              180 W COLUMBUS ST                                                                                     MARTINSVILLE    IN      46151
HIGGINBOTHAM, EDWIN R              4135 LITTLE HURRICANE RD                                                                              MARTINSVILLE    IN      46151‐8582
HIGGINBOTHAM, ELISABETH L          1530 ISABEL CT                                                                                        TALLAHASSEE     FL      32303‐5640
HIGGINBOTHAM, FLORENCE M           14426 INKSTER RD                                                                                      REDFORD         MI      48239‐3061
HIGGINBOTHAM, FRANCIS N            5281 E 1200 N # HWY114                                                                                ROANOKE         IN      46783
HIGGINBOTHAM, GLORIA J             630 SHAWNEE RD                                                                                        KANSAS CITY     KS      66103‐1253
HIGGINBOTHAM, HUGH D               SHANNON LAW FIRM                   100 W GALLATIN ST                                                  HAZLEHURST      MS      39083‐3007
HIGGINBOTHAM, IRENE                2911 WATERS EDGE CT                                                                                   BEAUFORT        SC      29902‐4388
HIGGINBOTHAM, IRENE                2911 E. WATERS EDGE CT.                                                                               BEAUFORT        SC      29902‐4388
HIGGINBOTHAM, JAMES E              1200 HAP RD                                                                                           BALDWIN         FL      32234‐1158
HIGGINBOTHAM, JIMMY                1570 LOUDEN HEIGHTS RD                                                                                CHARLESTON      WV      25314‐1652
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Name                                  Address1                        Address2                        Address3   Address4               City            State Zip
HIGGINBOTHAM, JIMMY R                 16545 PHILLIPS RD                                                                                 ATHENS           AL 35613‐6835
HIGGINBOTHAM, JOHN                    BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD       OH 44067
                                                                      PROFESSIONAL BLDG
HIGGINBOTHAM, LADY SHANE              5281 E 1200 N                                                                                     ROANOKE         IN   46783‐9415
HIGGINBOTHAM, LADY SHANE E            5281 E 1200 N                                                                                     ROANOKE         IN   46783‐9415
HIGGINBOTHAM, LEROY                   PO BOX 714                                                                                        SWARTZ          LA   71281‐0714
HIGGINBOTHAM, LINDA G                 7264 MAPLEWOOD DR                                                                                 BATON ROUGE     LA   70812‐1853
HIGGINBOTHAM, LOIS A                  6435 W JEFFERSON BLVD PMB 157                                                                     FORT WAYNE      IN   46804‐6203
HIGGINBOTHAM, LOIS ANN                6435 W JEFFERSON BLVD PMB 157                                                                     FORT WAYNE      IN   46804‐6203
HIGGINBOTHAM, MARJORIE N              8343 S 250 E                                                                                      MARKLEVILLE     IN   46056‐9701
HIGGINBOTHAM, MARY J                  495 IRONWOOD DR                                                                                   MELBOURNE       FL   32935
HIGGINBOTHAM, MARY J                  3072 QUAYSIDE CT APT 107                                                                          MELBOURNE       FL   32935‐3644
HIGGINBOTHAM, PATRICIA A              1723 POPLAR DR                                                                                    TROY            MI   48098‐1916
HIGGINBOTHAM, ROSE L                  560 LENOX AVE                                                                                     PONTIAC         MI   48340‐3012
HIGGINBOTHAM, ROSEMARIE               12620 BEAVER MANOR RD                                                                             ROLLA           MO   65401‐7579
HIGGINBOTHAM, RUSSELL B               10019 SOUTH 400 WEST                                                                              PENDLETON       IN   46064‐9623
HIGGINBOTHAM, TERRY O                 PO BOX 53                                                                                         SCROGGINS       TX   75480‐0053
HIGGINBOTHAM, TIMOTHY J               18777 OAKDALE RD                                                                                  ATHENS          AL   35613‐5753
HIGGINBOTHAM, TOMMY R                 42 LAVEIANAN CT                                                                                   MARTINSVILLE    IN   46151‐6753
HIGGINBOTHAM, WAYNE J                 73521 HIGHWAY 41                                                                                  PEARL RIVER     LA   70452‐2732
HIGGINBOTTHAM, DEANNA L               5963 N PARK AVENUE EXT                                                                            WARREN          OH   44481‐9374
HIGGINBOTTOM, BRYCE E                 5020 SADDLE LN                                                                                    ANDERSON        IN   46013‐4832
HIGGINBOTTOM, DANIEL J                5688 MCREE RD                                                                                     YPSILANTI       MI   48197
HIGGINBOTTOM, PARNELL                 152 SARATOGA WAY                                                                                  ANDERSON        IN   46013‐4770
HIGGINBOTTOM, RICHARD A               6017 E SANFORD CIR                                                                                MESA            AZ   85215‐7759
HIGGINBOTTOM, ROGER D                 PO BOX 281                                                                                        GREENTOWN       IN   46936‐0281
HIGGINS & COMPANY                     317 BERWYN ST                                                                                     BIRMINGHAM      MI   48009‐1564
HIGGINS CAVANAGH & COONEY             THE HAY BUILDING                123 DYER STREET                                                   PROVIDENCE      RI   02903
HIGGINS CHEVROLET COMPANY, INC.       WALTER HIGGINS*                 911 S 3RD ST                                                      IRONTON         OH   45638‐1928
HIGGINS CHEVROLET COMPANY, INC.       911 S 3RD ST                                                                                      IRONTON         OH   45638‐1928
HIGGINS DAVID & MARIAN                3386 STATE ROUTE 7                                                                                ANDOVER         OH   44003‐9622
HIGGINS DONALD BRADLEY (ESTATE OF)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
(361271)                                                              STREET, SUITE 600
HIGGINS ERECTORS & HAULERS INC        7715 LOCKPORT RD                                                                                  NIAGARA FALLS   NY   14304‐1078
HIGGINS FRANKSTONE GRAVES & MORRIS    2401 WESTON PKWY STE 203                                                                          CARY            NC   27513‐5596

HIGGINS GLENN WILLIAM (402211)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                                      STREET, SUITE 600
HIGGINS H D & KAREN L                 9729 GLADSTONE RD                                                                                 NORTH JACKSON   OH   44451‐9608
HIGGINS HARMON GUY JR (652432)        BRAYTON PURCELL                 PO BOX 6169                                                       NOVATO          CA   94948‐6169
HIGGINS HEARING AID                   205 S MADISON ST                                                                                  TRAVERSE CITY   MI   49684‐2321
HIGGINS JERRY                         18 VEDDER AVENUE                                                                                  STATEN ISLAND   NY   10314‐7432
HIGGINS JOHN                          42 SACRAMENTO ST                                                                                  CAMBRIDGE       MA   02138‐1931
HIGGINS JOHN (492571)                 BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH   44067
                                                                      PROFESSIONAL BLDG
HIGGINS JOHN J (ESTATE OF) (661931)   LANIER LAW FIRM                 6810 FM 1960 WEST SUITE 1550                                      HOUSTON         TX   77069
HIGGINS JOHN J /ADELE HIGGINS         ICO THE LANIER LAW FIRM P C     6810 FM 1960 WEST                                                 HOUSTON         TX   77069
HIGGINS JR, DAVID                     2232 S MAIN ST                  # 255                                                             ANN ARBOR       MI   48103
HIGGINS JR, HARLEY                    4545 WELLAND DR                                                                                   W BLOOMFIELD    MI   48323‐1466
HIGGINS JR, JOHN R                    16388 STATE ROUTE 267                                                                             E LIVERPOOL     OH   43920‐3932
HIGGINS JR, LARRY J                   PO BOX 636                                                                                        FLINT           MI   48501‐0636
HIGGINS JR, LARRY JAMES               PO BOX 636                                                                                        FLINT           MI   48501‐0636
HIGGINS JR, RAYMOND G                 44405 ROYAL LYTHAM DR                                                                             INDIO           CA   92201‐2789
HIGGINS JR, ROBERT F                  18 LOCUST RD                                                                                      BORDENTOWN      NJ   08505‐2727
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Name                                  Address1                          Address2                        Address3   Address4               City               State   Zip
HIGGINS JR, VINCENT E                 4218 SHOAL CREEK DRIVE                                                                              GREENSBORO          NC     27410‐8603
HIGGINS OTR                           4498 MAIN STREET                                                                                    AMHERST             NY     14226
HIGGINS PAUL                          1934 HIDDEN TRAIL DR                                                                                LEWISVILLE          TX     75067‐5539
HIGGINS PAUL T (ESTATE OF) (450249)   LIPSITZ & PONTERIO                135 DELAWARE AVE SUITE 506                                        BUFFALO             NY     14202
HIGGINS RICHARD                       C/O MCKENNA & CHIODO              436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH          PA     15219
                                                                        SUITE 500
HIGGINS RICHARD (507016)              (NO OPPOSING COUNSEL)
HIGGINS RICHARD W (445224)            KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                     CLEVELAND          OH      44114
                                                                        BOND COURT BUILDING
HIGGINS ROGER                         16440 RIDGEVIEW                                                                                     HOLLY              MI      48442‐8392
HIGGINS RUSSELL (445225)              BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                                        PROFESSIONAL BLDG
HIGGINS TOWNSHIP TREASURER            PO BOX 576                                                                                          ROSCOMMON          MI      48653‐0576
HIGGINS, ANDY J                       APT C103                          5959 SUN N LAKE BOULEVARD                                         SEBRING            FL      33872‐2061
HIGGINS, ANN M                        2612 DEASE LAKE RD                                                                                  HALE               MI      48739‐8812
HIGGINS, ANNA M                       5885 BUCKEYE PKWY                 C/O ANNE NELSON                                                   GROVE CITY         OH      43123‐8379
HIGGINS, APRIL L                      1334 LARAMIE DR                                                                                     DAYTON             OH      45432‐3146
HIGGINS, ARDETH A                     310 VIGILANT ST.                                                                                    FORISTELL          MO      63348
HIGGINS, ASHLEY MARIE                 16440 RIDGEVIEW                                                                                     HOLLY              MI      48442‐8392
HIGGINS, AUGUST P
HIGGINS, BARBARA J                    701 MAPLESIDE DR.                                                                                   TROTWOOD           OH      45426‐2539
HIGGINS, BENJAMIN F                   2434 GLENDALE ST                                                                                    DETROIT            MI      48238‐3525
HIGGINS, BETH A                       555 CHESTNUT ST                                                                                     NORTH              NY      14120‐4625
                                                                                                                                          TONAWANDA
HIGGINS, BETHY L                      314 E FOSS AVE                                                                                      FLINT              MI      48505‐2119
HIGGINS, BETTY M                      2135 W MALLORY AVE                                                                                  MILWAUKEE          WI      53221‐4260
HIGGINS, BILLIE E                     G4175 VAN SLYKE RD                                                                                  FLINT              MI      48507‐3569
HIGGINS, BONNIE S                     PO BOX 1542                                                                                         ROLLA              MO      65402‐1542
HIGGINS, BRIDGET                      245 BROOKWOOD DR UNIT 9                                                                             SOUTH LYON         MI      48178‐1850
HIGGINS, BURIEL D                     7737 NESTLE AVE                                                                                     RESEDA             CA      91335‐2053
HIGGINS, CARL D                       2733 BRENTWOOD DR                                                                                   RACINE             WI      53403
HIGGINS, CAROLYN S                    2082 SWAN LN                                                                                        PALM HARBOR        FL      34683‐6272
HIGGINS, CECILE D                     1233 S GENESEE RD                                                                                   BURTON             MI      48509‐1823
HIGGINS, CHAD W                       34909 183RD ST                                                                                      LEAVENWORTH        KS      66048‐8487
HIGGINS, CHARLENE A                   499 SCENIC LANE                                                                                     SKIATOOK           OK      74070‐9286
HIGGINS, CHARLES E                    4198 ROCKY TOP RD                                                                                   BLAIRSVILLE        GA      30512‐0634
HIGGINS, CHARLES E                    1013 YORKSHIRE PL                                                                                   DAYTON             OH      45419‐3730
HIGGINS, CHARLES H                    APT A                             505 EAST PATRICIA STREET                                          EL DORADO SPG      MO      64744‐2171
HIGGINS, CHARLES L                    1741 MYRON AVE                                                                                      LINCOLN PARK       MI      48146‐3831
HIGGINS, CHARLES T                    7404 OLIAN DR                                                                                       HAZELWOOD          MO      63042
HIGGINS, CHRISTIE K                   525 W 7TH ST                                                                                        RUSHVILLE          IN      46173‐1514
HIGGINS, CHRISTINA S                  6397 THORNWOOD DR                                                                                   BELLEVILLE         MI      48111‐5158
HIGGINS, CINA D                       340 S WASHINGTON ST                                                                                 WATERLOO           IN      46793‐9794
HIGGINS, CINA DARLENE                 340 S WASHINGTON ST                                                                                 WATERLOO           IN      46793‐9794
HIGGINS, CLENARD R                    1826 BALTIMORE AVE                                                                                  CINCINNATI         OH      45225‐1922
HIGGINS, CLEOPHUS                     1805 CADILLAC CT                                                                                    KOKOMO             IN      46902‐2536
HIGGINS, CLIFFORD B                   100 N FOLSOM AVE                                                                                    EAST BRIDGEWATER   MA      02333‐3100

HIGGINS, CRISTOPHER                   24585 JOYCE RD                                                                                      FLAT ROCK          MI      48134‐9292
HIGGINS, CURTIS                       1902 BELLE GLADE AVE                                                                                SAINT LOUIS        MO      63113‐2902
HIGGINS, CYNTHIA G                    20051 LACROSSE AVE                P.O BOX 2035                                                      SOUTHFIELD         MI      48076‐2423
HIGGINS, DAISY E                      9816 CRAFORD CT                                                                                     OKLAHOMA CITY      OK      73159‐7610
HIGGINS, DAISY ELLEN                  9816 CRAFORD CT                                                                                     OKLAHOMA CITY      OK      73159‐7610
HIGGINS, DANIEL E                     2907 PEASE LN                                                                                       SANDUSKY           OH      44870‐5928
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Name                      Address1                         Address2                      Address3   Address4               City            State   Zip
HIGGINS, DAVID J          746 CASTLEBAR DR                                                                                 N TONAWANDA      NY     14120‐2910
HIGGINS, DEBRA E.         170 E. UNION BOX 156                                                                             WATERLOO         IN     46793
HIGGINS, DELBERT W        10817 BRINKMAN RD                                                                                CARLYLE           IL    62231‐3427
HIGGINS, DENNIS A         4119 DAY RD                                                                                      LOCKPORT         NY     14094‐9415
HIGGINS, DENNIS J         9012 VILLARIDGE CT APT H                                                                         AFFTON           MO     63123‐7425
HIGGINS, DIANNE L         1670 MIDBROOK DRIVE                                                                              ROCK HILL        SC     29732‐1660
HIGGINS, DONALD BRADLEY   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                           STREET, SUITE 600
HIGGINS, DONALD G         2949 2 MILE RD                                                                                   BAY CITY         MI     48706‐1246
HIGGINS, DONALD G         5261 GLENFIELD DR                                                                                SAGINAW          MI     48638‐5426
HIGGINS, DONALD M         8480 CRAIG ST 125                                                                                INDIANAPOLIS     IN     46250
HIGGINS, DONNA
HIGGINS, DONNA E          940 OLD COUNTY FARM ST                                                                           HARRISON         MI     48625‐8038
HIGGINS, DOUGLAS L        720 TERRY LN                                                                                     HASTINGS         MI     49058‐9350
HIGGINS, DOYLE D          2608 HEMINGWAY CIR                                                                               THOMPSONS        TN     37179‐5101
                                                                                                                           STATION
HIGGINS, DUDLEY D         9405 PRESTONWOOD DR                                                                              SHREVEPORT      LA      71115‐3733
HIGGINS, EDITH P          2012 OAK ST                                                                                      GEORGETOWN      SC      29440
HIGGINS, EDWARD E         2445 SICKLE RD                                                                                   INDIANAPOLIS    IN      46219‐1844
HIGGINS, ELIZABETH A      410 N MAPLE ST BOX 14                                                                            MANTON          MI      49663
HIGGINS, ELIZABETH M      4884 W PARK DR                                                                                   FAIRVIEW PARK   OH      44126‐2652
HIGGINS, ELMER A          1510 CHIMNEY TOP LOOP                                                                            FALL BRANCH     TN      37656‐3100
HIGGINS, ELSIE C          4506 S KOMENSKY AVE                                                                              CHICAGO         IL      60632‐4032
HIGGINS, EUGENE           19394 ANGLIN ST                                                                                  DETROIT         MI      48234‐1411
HIGGINS, EUGENE           1746 E HYDE RD                                                                                   SAINT JOHNS     MI      48879‐8418
HIGGINS, EVA L            8731 W 450 N                                                                                     SHARPSVILLE     IN      46068‐9370
HIGGINS, EVA L            413 MEIGS ST                                                                                     SANDUSKY        OH      44870‐2929
HIGGINS, FAYE D           177 PAUL DR                                                                                      AMHERST         NY      14228‐1340
HIGGINS, FLORENCE L       6137 NOGARD AVE                                                                                  KANSAS CITY     KS      66104‐2746
HIGGINS, FRANCES A        2910 HEATHER LN NW                                                                               WARREN          OH      44485‐1242
HIGGINS, FRANCES J        7 KENTWOOD DR                                                                                    GREENCASTLE     IN      46135‐1400
HIGGINS, FRANCES T        24400 SCOTT ST                                                                                   DEARBORN        MI      48124‐2412
HIGGINS, FRANK A          4962 BLACKMAN RD                                                                                 LOCKPORT        NY      14094‐9740
HIGGINS, FRANK L          4799 W GRAND RIVER AVE                                                                           HOWELL          MI      48855‐8713
HIGGINS, FRANKLIN D       252 ALPHONSE ST                                                                                  ROCHESTER       NY      14621‐4819
HIGGINS, GARNER L         5822 LOCHLEVEN DR                                                                                WATERFORD       MI      48327
HIGGINS, GARY L           6140 SHIPMAN RD                                                                                  CORUNNA         MI      48817‐9538
HIGGINS, GENEVA P         4040 SPRINGMILL DR                                                                               KOKOMO          IN      46902‐5166
HIGGINS, GEORGE           675 W MARYLAND AVE                                                                               SEBRING         OH      44672‐1120
HIGGINS, GEORGE M         11745 KAEDING RD                                                                                 BRUCE TWP       MI      48065‐4411
HIGGINS, GERALD           916 E 4TH ST                                                                                     SOUTH BOSTON    MA      02127‐3215
HIGGINS, GERALD L         7459 N SATTE RD 37                                                                               BLOOMINGTON     IN      47408
HIGGINS, GERALD R         34946 PHEASANT RDG                                                                               RICHMOND        MI      48062‐1836
HIGGINS, GILTINA M        PO BOX 2016                                                                                      WILMINGTON      DE      19899‐2016
HIGGINS, GINA L           8425 SW 36TH ST                                                                                  OKLAHOMA CITY   OK      73179‐3025
HIGGINS, GLEN WILLIAM     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510‐2212
                                                           STREET, SUITE 600
HIGGINS, GLENN A          118 MASON MILL DR                                                                                DANIELSVILLE    GA      30633‐4074
HIGGINS, GLORIA J         15350 FIELDING ST                                                                                DETROIT         MI      48223‐1617
HIGGINS, GOLDIE E         2767 SUTTON AVE                                                                                  KETTERING       OH      45429‐3742
HIGGINS, GRACE D          4010 HAMILTON MILL RD                                                                            BUFORD          GA      30519‐3930
HIGGINS, GREGORY A        4468 LINDEWOOD DRIVE                                                                             SWARTZ CREEK    MI      48473‐8224
HIGGINS, GREGORY A        2700 N WASHINGTON ST             TRLR 210                                                        KOKOMO          IN      46901‐7810
HIGGINS, GREGORY A        1209 EAST ALTO ROAD                                                                              KOKOMO          IN      46902‐4318
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Name                      Address1                       Address2                        Address3   Address4               City               State   Zip
HIGGINS, GREGORY M        499 SCENIC LANE                                                                                  SKIATOOK            OK     74070‐9286
HIGGINS, GUY A            7100 W PARMALEE RD                                                                               MIDDLEVILLE         MI     49333‐8733
HIGGINS, HARMON GUY       BRAYTON PURCELL                PO BOX 6169                                                       NOVATO              CA     94948‐6169
HIGGINS, HAROLD H         6616 SHILOH WAY                                                                                  LANSING             MI     48917‐9612
HIGGINS, HENRY A          5948 N SIDNEY PL                                                                                 MILWAUKEE           WI     53209‐4269
HIGGINS, HERB A           4772 OLD SMITH VALLEY RD                                                                         GREENWOOD           IN     46143‐8842
HIGGINS, HOMER D          9729 GLADSTONE RD                                                                                NORTH JACKSON       OH     44451‐9608
HIGGINS, HOYT R           PO BOX 42                                                                                        SNELLVILLE          GA     30078‐0042
HIGGINS, IDA B            2015 HARTLAND RD                                                                                 APPLETON            NY     14008‐9621
HIGGINS, ILONA K          1772 BRYS DR                                                                                     GROSSE POINTE       MI     48236‐1010
                                                                                                                           WOODS
HIGGINS, JAMES D          1679 LODGETREE CV                                                                                INDIANAPOLIS       IN      46280‐2702
HIGGINS, JAMES D          1888 CRIDER RD                                                                                   MANSFIELD          OH      44903‐9273
HIGGINS, JAMES E          906 RAYBERTA DR                                                                                  VANDALIA           OH      45377‐2629
HIGGINS, JAMES H          10277 S STATE RD                                                                                 GOODRICH           MI      48438‐8882
HIGGINS, JAMES J          3784 GOLF CIRCLE CT                                                                              DORR               MI      49323‐9576
HIGGINS, JAMES J          2848 ROSSMOOR CIR                                                                                BLOOMFIELD HILLS   MI      48302‐1052
HIGGINS, JAMES R          635 S BRENNAN RD                                                                                 HEMLOCK            MI      48626‐8757
HIGGINS, JAMES T          21 CRAIN DR                                                                                      BRYANT             AR      72022‐3760
HIGGINS, JAMES W          535 JOYCE AVE                                                                                    LEWISBURG          TN      37091‐3644
HIGGINS, JAMES W          12914 S EGGLESTON AVE                                                                            CHICAGO            IL      60628‐7425
HIGGINS, JANICE           206 SAVANNAH RIDGE RD                                                                            HOLLY SPRINGS      NC      27540‐7377
HIGGINS, JEAN A           6616 SHILOH WAY                                                                                  LANSING            MI      48917
HIGGINS, JEFFREY C        6458 OLYMPUS DR                                                                                  CLARKSTON          MI      48346‐3367
HIGGINS, JEFFREY CURTIS   6458 OLYMPUS DR                                                                                  CLARKSTON          MI      48346‐3367
HIGGINS, JERRY L          3460 N PARK AVENUE EXT                                                                           WARREN             OH      44481‐8803
HIGGINS, JIMMY F          1215 JAYNE DR                                                                                    KOKOMO             IN      46902‐6127
HIGGINS, JOHN             42 SACRAMENTO ST                                                                                 CAMBRIDGE          MA      02138
HIGGINS, JOHN A           5427 LITTLE RIVER CIR                                                                            GAINESVILLE        GA      30506‐3191
HIGGINS, JOHN C           16920 E 4TH TER S                                                                                INDEPENDENCE       MO      64056‐1725
HIGGINS, JOHN G           2341 N LEMON CIR                                                                                 MESA               AZ      85215
HIGGINS, JOHN J           24536 VANTAGE POINT TER                                                                          MALIBU             CA      90265‐4722
HIGGINS, JOHN R           3214 COUNTRY CLUB LN                                                                             HURON              OH      44839‐1081
HIGGINS, JOHN R           12890 W MELODY RD                                                                                GRAND LEDGE        MI      48837‐8976
HIGGINS, JOHN W           9631 GRACELAND DR                                                                                BELDING            MI      48809‐9219
HIGGINS, JOSEPH H         1701 LINCOLN DR                                                                                  FLINT              MI      48503‐4715
HIGGINS, JUDITH A         908 JEFFERSON AVE                                                                                BRISTOL            PA      19007‐3917
HIGGINS, JUDITH S         5646 COLGATE AVE                                                                                 AUSTINTOWN         OH      44515‐4140
HIGGINS, JUDITH S         5646 COLGATE DRIVE                                                                               AUSTINTOWN         OH      44515‐4140
HIGGINS, JULIUS           128 MONTROSE ST                                                                                  NEWARK             NJ      07106‐2314
HIGGINS, JUSTIN B         18660 BISHOP RD                                                                                  CHESANING          MI      48616‐9717
HIGGINS, KATHLEEN L.      2859 NIGHTINGALE ST                                                                              ROCHESTER          MI      48309‐3437
HIGGINS, KATHRYN L        3237 W LOCUST ST                                                                                 DAVENPORT          IA      52804‐3201
HIGGINS, KEISHA           LEWIS ROBERT F PC              315 FRANK NELSON BUILDING 205                                     BIRMINGHAM         AL      35203
                                                         NORTH 20TH STREET
HIGGINS, KEITH A          223 HEATHER DR                                                                                   INDIANAPOLIS        IN     46214‐3884
HIGGINS, KENNETH D        5611 GOLDEN MEADOWS DR                                                                           BOSSIER CITY        LA     71112‐4807
HIGGINS, KENNETH DAVID    5611 GOLDEN MEADOWS DR                                                                           BOSSIER CITY        LA     71112‐4807
HIGGINS, KEVIN L          16 NAUTICAL WATCH WAY                                                                            SAINT HELENA        SC     29920‐5004
                                                                                                                           ISLAND
HIGGINS, KRISTINE D       5 FAIRFAX VLG                                                                                    MEDIA               PA     19063‐2042
HIGGINS, LAWRENCE E       1254 NORTH 685 WEST                                                                              OREM                UT     84057‐2924
HIGGINS, LEON             15350 FIELDING ST                                                                                DETROIT             MI     48223‐1617
HIGGINS, LEONARD H        4A KENTUCKY WAY                                                                                  WHITING             NJ     08759‐1215
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Name                     Address1                         Address2                      Address3   Address4               City             State   Zip
HIGGINS, LINDSEY R       532 RUTH AVE                                                                                     LEAVITTSBURG      OH     44430‐9750
HIGGINS, LONNIE L        415 STATE PARK DR                                                                                BAY CITY          MI     48706‐1338
HIGGINS, LONNIE LYLE     415 STATE PARK DR                                                                                BAY CITY          MI     48706‐1338
HIGGINS, LORENDA         DELFINO GREEN & GREEN            1010 B ST STE 320                                               SAN RAFAEL        CA     94901‐2920
HIGGINS, LORETTA         4388 EAST ENTRADA,                                                                               DAYTON            OH     45431‐5431
HIGGINS, MADGELENA       2920 LONGWOOD AVE                                                                                KANSAS CITY       KS     66104‐4137
HIGGINS, MARCUS HOBSON   LEBLANC & WADDELL                5353 ESSEN LN STE 420                                           BATON ROUGE       LA     70809‐0500
HIGGINS, MARGARET A      1679 LODGETREE CV                                                                                INDIANAPOLIS      IN     46280‐2702
HIGGINS, MARIE
HIGGINS, MARION          1601 N MAIN STREET                                                                               THREE RIVERS     MI      49093‐1335
HIGGINS, MARK A          6009 KINYON DR                                                                                   BRIGHTON         MI      48116‐9579
HIGGINS, MARK ANDREW     6009 KINYON DR                                                                                   BRIGHTON         MI      48116‐9579
HIGGINS, MARY I          1235 ANGIERS DR                                                                                  DAYTON           OH      45408‐2410
HIGGINS, MARY I          1235 ANGIER DRIVE                                                                                DAYTON           OH      45408‐2410
HIGGINS, MARY L          2508 GLENHURST CT                                                                                SIMI VALLEY      CA      93063‐5319
HIGGINS, MARY M          6166 LOCHMORE DR                                                                                 COMMERCE TWP     MI      48382‐5131
HIGGINS, MERYL K         4721 S LEFHOLZ RD                                                                                OAK GROVE        MO      64075‐9792
HIGGINS, MICHAEL D       11614 KILLARNEY HWY                                                                              BROOKLYN         MI      49230‐9247
HIGGINS, MICHAEL DAVID   11614 KILLARNEY HWY                                                                              BROOKLYN         MI      49230‐9247
HIGGINS, MICHAEL J       15736 COBBLESTONE LAKE PKWY                                                                      APPLE VALLEY     MN      55124‐7569
HIGGINS, MICHAEL P       2082 SWAN LN                                                                                     PALM HARBOR      FL      34683‐6272
HIGGINS, MICHELLE        7133 S VOLUTSIA ST                                                                               WICHITA          KS      67216‐5067
HIGGINS, MILDRED M       637 E LORADO AVE                                                                                 FLINT            MI      48505‐2168
HIGGINS, NANCY           36 BURWELL AVENUE                                                                                LANCASTER        NY      14086‐2620
HIGGINS, NELDA M         2329 N PURDUM ST                                                                                 KOKOMO           IN      46901‐1471
HIGGINS, OLLICE S        7783 ARBOR DR                                                                                    PARMA            OH      44130‐7602
HIGGINS, OTIS W          9719 E ISLAND RD                                                                                 ELSIE            MI      48831‐9703
HIGGINS, PAMELA          5205 W THUNDERBIRD RD APT 2036                                                                   GLENDALE         AZ      85306‐4854
HIGGINS, PATRICIA E      113 LAKEFRONT CT NE                                                                              LAKE PLACID      FL      33852‐5873
HIGGINS, PATRICIA E      37592 GARDEN CT                                                                                  WESTLAND         MI      48185‐9128
HIGGINS, PATRICK M       6857 ROSEMONT AVE                                                                                DETROIT          MI      48228‐5407
HIGGINS, PATRICK M       14401 BURT RD                                                                                    CHESANING        MI      48616‐9546
HIGGINS, PAUL J          118 HOLLISTON ST                                                                                 MEDWAY           MA      02053‐1911
HIGGINS, PAUL T          LIPSITZ & PONTERIO               135 DELAWARE AVE, SUITE 506                                     BUFFALO          NY      14202‐2410
HIGGINS, PEGGY
HIGGINS, PEGGY A         430 RAMBLING BROOK DR                                                                            PICKERINGTON     OH      43147‐2201
HIGGINS, PETE T          1717 FAGAN DR                                                                                    BLUE MOUND       TX      76131‐1105
HIGGINS, PETER J         122 AVON ST                                                                                      ROSELLE PARK     NJ      07204‐2303
HIGGINS, PETER T         177 PAUL DR                                                                                      AMHERST          NY      14228‐1340
HIGGINS, PHILIP D        2200 NORTHEAST ROSE WALK TER                                                                     STUART           FL      34996‐2913
HIGGINS, PHILIP D.       2200 NORTHEAST ROSE WALK TER                                                                     STUART           FL      34996‐2913
HIGGINS, PHILIP G        MEISMER & ASSOCIATES PLLC        335 W SPRUCE ST STE 201                                         MISSOULA         MT      59802‐4131
HIGGINS, PHILIP H        30 PHELPS ST                                                                                     LOCKPORT         NY      14094‐2019
HIGGINS, PHILLIP O       C/O EDWARD H. POWERS             300 PHOENIX BUILDING                                            FLINT            MI      48502
HIGGINS, PHYLLIS J       PO BOX 453                                                                                       BARKER           NY      14012‐0453
HIGGINS, R A             755 S MARIAS AVE                                                                                 CLAWSON          MI      48017‐1858
HIGGINS, RACHEL E        GADDY JARAMILLO LAW FIRM         2025 SAN PEDRO DR NE                                            ALBUQUERQUE      NM      87110‐5951
HIGGINS, RACHEL E        WIGINGTON RUMLEY LLP             800 NORTH SHORELINE ‐ 14TH                                      CORPUS CHRISTI   TX      78401
                                                          FLOOR SOUTH TOWER
HIGGINS, RALPH WILLIAM   PO BOX 156                                                                                       WATERLOO          IN     46793‐0156
HIGGINS, REBECCA K       3660 W 500 S                                                                                     SHARPSVILLE       IN     46068‐9406
HIGGINS, REDA A          10676 N 600 W                                                                                    ELWOOD            IN     46036‐8924
HIGGINS, REGINALD L      9919 LAKEFIELD LN                                                                                AVON              IN     46123‐9190
HIGGINS, RICHARD         C/O THE LIPMAN LAW FIRM          5915 PONCE DE LEON BLVD       SUITE 44                          CORAL GABLES      FL     33146
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Name                     Address1                      Address2                        Address3   Address4               City             State Zip
HIGGINS, RICHARD         MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH        PA 15219
                                                       SUITE 500
HIGGINS, RICHARD A       5872 BEATTIE AVE                                                                                LOCKPORT         NY   14094‐6610
HIGGINS, RICHARD C       2437 HARBOR BLVD APT 218                                                                        PORT CHARLOTTE   FL   33952‐5041
HIGGINS, ROBERT C        36 BURWELL AVE                                                                                  LANCASTER        NY   14086‐2620
HIGGINS, ROBERT G        4643 E COUNTY ROAD 650 N                                                                        BAINBRIDGE       IN   46105‐9574
HIGGINS, ROBERT H        707 FLAMINGO DR                                                                                 LAFAYETTE        CO   80026‐2116
HIGGINS, ROBERT J        112 SAND DUNE DR                                                                                GULF SHORES      AL   36542‐6140
HIGGINS, ROBERT J        174 1/2 ZIMMERMAN ST                                                                            NORTH            NY   14120‐4731
                                                                                                                         TONAWANDA
HIGGINS, ROBERT T        129 E GREEN VALLEY CIR                                                                          NEWARK           DE   19711‐6790
HIGGINS, ROGER E         PO BOX 2735                                                                                     SPRINGFIELD      OH   45501‐2735
HIGGINS, ROGER E         16440 RIDGEVIEW                                                                                 HOLLY            MI   48442‐8392
HIGGINS, RONALD          PO BOX 32                                                                                       WORTHINGTON      MA   01098‐0032
HIGGINS, RONALD D        9933 SAND LAKE HWY                                                                              ONSTED           MI   49265‐9618
HIGGINS, RONALD E        19676 CRESCENT BEACH RD                                                                         THREE RIVERS     MI   49093‐9046
HIGGINS, RONALD R        3660 W 500 S                                                                                    SHARPSVILLE      IN   46068‐9406
HIGGINS, RUBY            30 HIGGINS DR BOX 6                                                                             DECATUR          AL   35603
HIGGINS, RUSSELL         BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD       OH   44067
                                                       PROFESSIONAL BLDG
HIGGINS, RUTH            5231 SINGING HILLS DR                                                                           BANNING          CA   92220‐6623
HIGGINS, SALLY J         1770 N 7TH ST                                                                                   KALAMAZOO        MI   49009‐5301
HIGGINS, SAMUEL O        31017 PARDO ST                                                                                  GARDEN CITY      MI   48135‐1849
HIGGINS, SERRITTA MAE    P O BOX 215                                                                                     HERMITAGE        MO   65668‐0215
HIGGINS, SERRITTA MAE    PO BOX 215                                                                                      HERMITAGE        MO   65668‐0215
HIGGINS, SHARON D        917 ALBERT AVE                                                                                  KALAMAZOO        MI   49048‐1933
HIGGINS, SHARON R        356 HARRISON AVE                                                                                BUFFALO          NY   14223
HIGGINS, SHIRLEY A       1595 SHILOH SPRINGS RD.                                                                         TROTWOOD         OH   45426‐2017
HIGGINS, SHIRLEY J       2203 PATRIOT CT SW                                                                              CONYERS          GA   30094‐6263
HIGGINS, STANLEY         10186 WOODLAWN ST 202                                                                           DETROIT          MI   48213
HIGGINS, STEPHANIE L     5153 DURWOOD DR                                                                                 SWARTZ CREEK     MI   48473‐1123
HIGGINS, STEPHEN J       2495 LEONARD RD                                                                                 MARTINSVILLE     IN   46151‐7758
HIGGINS, SUSAN           24536 VANTAGE POINT TER                                                                         MALIBU           CA   90265‐4722
HIGGINS, SUSAN M         2311 OVERLAND AVE NE                                                                            WARREN           OH   44483‐2913
HIGGINS, SUSAN R         820 N SYLVANIA AVE                                                                              FORT WORTH       TX   76111‐2427
HIGGINS, SYLVIA K        99 ARBORWOOD CRES                                                                               ROCHESTER        NY   14615‐3846
HIGGINS, TED D           5270 SHADBURN FERRY RD                                                                          BUFORD           GA   30518‐2589
HIGGINS, TERESA A        4962 BLACKMAN RD                                                                                LOCKPORT         NY   14094
HIGGINS, TERRY LEE       JOHNSON LAW PLC               PO BOX 670                                                        SIDNEY           IA   51652‐0670
HIGGINS, THELBERT O      1519 CRUFT ST                                                                                   TERRE HAUTE      IN   47802‐1535
HIGGINS, THOMAS C        DIROSA JOSEPH V JR            4706 CANAL ST                                                     NEW ORLEANS      LA   70119‐5810
HIGGINS, THOMAS G        842 RADCLIFF ST                                                                                 GARDEN CITY      MI   48135‐1051
HIGGINS, THOMAS K        PO BOX 9022                                                                                     WARREN           MI   48090‐9022
HIGGINS, THOMAS M        7651 THORNLEE DR                                                                                LAKE WORTH       FL   33467‐7857
HIGGINS, TIMOTHY D       2015 HARTLAND RD                                                                                APPLETON         NY   14008‐9621
HIGGINS, TIMOTHY L       417 STATE PARK DR                                                                               BAY CITY         MI   48706
HIGGINS, TIMOTHY W       11134 ECHO GROVE LN                                                                             INDIANAPOLIS     IN   46236‐9071
HIGGINS, TODD R          4857 LORE DR                                                                                    WATERFORD        MI   48329‐1642
HIGGINS, VIRGIL W        38180 DEL WEBB BLVD                                                                             PALM DESERT      CA   92211‐1256
HIGGINS, WILLIAM J       PMB 302                       65 GLEN RD                                                        GARNER           NC   27529‐7943
HIGGINS, WILLIAM J       10154 CHESTNUT RIDGE CT                                                                         HOLLY            MI   48442‐8234
HIGGINS, WILLIAM R       6136 COUNTY RD #316                                                                             ALVARADO         TX   76009
HIGGINS‐GILLAM, JANICE   525 EASTWOOD ST APT C                                                                           BOWLING GREEN    KY   42103‐1690
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Name                                  Address1                       Address2                      Address3       Address4                 City            State Zip
HIGGINSON EQUIPMENT SALES             1131 PETTIT RD                                                              BURLINGTON CANADA ON L7R
                                                                                                                  3Z4 CANADA
HIGGINSON EQUIPMENT SALES LTD         1330 SUTTON DR                 PO BOX 5011                                  BURLINGTON ON L7R 3Z4
                                                                                                                  CANADA
HIGGINSON, DAVID R                    808 SONORA AVE                                                                                       MANTECA          CA   95337‐6008
HIGGOTT JACQUELINE                    HIGGOTT, GRAHAM                390 BAY STREET ‐ SUITE 3100                  TORONTO ON M5H1W2
                                                                                                                  CANADA
HIGGOTT JACQUELINE                    HIGGOTT, JACQUELINE            390 BAY STREET ‐ SUITE 3100                  TORONTO ON M5H1W2
                                                                                                                  CANADA
HIGGOTT JACQUELINE                    HIGGOTT, STEPHANIE             390 BAY STREET ‐ SUITE 3100                  TORONTO ON M5H1W2
                                                                                                                  CANADA
HIGGS AUDLEY (499327)             LIPMAN DAVID M                     5901 SW 74TH ST STE 304                                               MIAMI            FL   33143‐5163
HIGGS JOHNSON TRUMAN BODDEN & CO. ANDERSON SQUARE BUILDING           SHEDDEN RD.                   P.O. BOX 866   GRAND CAYMAN, KY1‐1103
                                                                                                                  CAYMAN ISLANDS
HIGGS RAMIREZ, MAURICIO               409 MELBOURNE AVE                                                                                    BOARDMAN        OH    44512‐4411
HIGGS SR, JAY R                       18112 INVERMERE AVE                                                                                  CLEVELAND       OH    44128‐1630
HIGGS TIMOTHY                         7235 40TH CT NE                                                                                      OLYMPIA         WA    98516‐2745
HIGGS, AUDLEY                         THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD       SUITE 44                                CORAL GABLES    FL    33146
HIGGS, AUDLEY                         LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                               MIAMI           FL    33143‐5163
HIGGS, AVERICE R                      1005 W 25TH ST                                                                                       WINSTON SALEM   NC    27104‐3204
HIGGS, BEVERLY                        812 CHERYL SUE DR                                                                                    RIVERTON        WY    82501‐3016
HIGGS, BRAD                           4112 S WACO ST                                                                                       WICHITA         KS    67217‐3650
HIGGS, DALTON W                       RT#3 BOX 108                                                                                         BELOIT          WI    53511
HIGGS, DOUGLAS E                      5300 MALL DR W APT 2022                                                                              LANSING         MI    48917‐1912
HIGGS, DOUGLAS J                      801 DEL RIO PIKE APT H7                                                                              FRANKLIN        TN    37064‐2115
HIGGS, JAMES E                        100 S ROSEMARY ST                                                                                    LANSING         MI    48917‐3854
HIGGS, JAMES M                        1409 OAK VISTA DR                                                                                    DALLAS          TX    75232‐1961
HIGGS, JOHN M                         5936 PINCKNEY RD                                                                                     HOWELL          MI    48843‐7806
HIGGS, JUDY                           538 W SYCAMORE ST                                                                                    MASON           MI    48854‐1538
HIGGS, MARY                           BOONE ALEXANDRA                205 LINDA DR                                                          DAINGERFIELD    TX    75638‐2107
HIGGS, MARY E                         4710 COTTAGE RD                                                                                      GASPORT         NY    14067‐9267
HIGGS, MAURICIO                       9191 N LIMA RD APT 18D                                                                               POLAND          OH    44514‐5248
HIGGS, OPHELIA Y                      505 E AMHERST ST                                                                                     BUFFALO         NY    14215‐1537
HIGGS, RICKY A                        6483 W CR 800 N                                                                                      RIDGEVILLE      IN    47380
HIGGS, ROSA L                         18112 INVERMERE AVE                                                                                  CLEVELAND       OH    44128‐1630
HIGGS, SARAH H                        1151 NILES‐CORTLAND RD. NE                                                                           WARREN          OH    44484‐1008
HIGGS, SARAH H                        1151 NILES CORTLAND RD NE                                                                            WARREN          OH    44484‐1008
HIGGS, STEVEN MURRAY                  5330 OLD MILL RD                                                                                     ROCHESTER       MI    48306‐2461
HIGH ANDREW                           HIGH, ANDREW                   210 NORMAN                                                            LOOMIS          NE    68958‐1835
HIGH BEN                              1410 TANYA ST                                                                                        SWEETWATER      TX    79556‐1925
HIGH COUNTRY AUTO CENTER, INC.        RICKEY HARPER                  275 N MAIN ST                                                         RICHFIELD       UT    84701‐2157
HIGH COUNTRY AUTO CENTER, INC.        275 N MAIN ST                                                                                        RICHFIELD       UT    84701‐2157
HIGH COUNTRY AUTOMOTIVE, L.L.C.       STEVEN AYERS                   3011 S BROAD ST                                                       SCOTTSBORO      AL    35769‐7516
HIGH COUNTRY CONCRETE INC                                            1611 NORFOLK AVE SE                                                                   VA    24013
HIGH COUNTRY PONTIAC BUICK GMC        3011 S BROAD ST                                                                                     SCOTTSBORO       AL    35769‐7516
HIGH DESERT AUTOMOTIVE OF SANTA FE,   JOHN STEIGELMAN                2721 CERRILLOS RD                                                    SANTA FE         NM    87507‐2312
INC.
HIGH DESERT AUTOMOTIVE, INC.          JOHN STEIGELMAN                1700 SAN JUAN BLVD                                                   FARMINGTON       NM    87401‐2214
HIGH DESERT OF SATURN ‐ SANTA FE      JAY STEIGELMAN                 2560 CAMINO EDWARD ORTIZ                                             SANTA FE         NM    87507‐9740
HIGH GEAR MEDIA                       MATT HEIST                     385 FOREST AVE                                                       PALO ALTO        CA    94301‐2521
HIGH GEAR MEDIA                       MATT HEIST                     385 FOREST AVE                                                       PALO ALTO        CA    94301‐2521
HIGH GEAR MEDIA                       MATT HEIST                     385 FOREST AVE.                                                      PALO ALTO        CA    94301‐2521
HIGH HAROLD W (429095)                GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA    23510
                                                                     STREET, SUITE 600
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HIGH HOPES TRANS INC                6658 EAGLEVILLE RD                                                                                                   BLOOMDALE        OH     44817‐9717
HIGH IMPACT TELEVISION INC          103 CORAL ROSE                                                                                                       IRVINE           CA     92603‐0101
HIGH JR, CHARLES A                  5189 FISHBURG RD                                                                                                     HUBER HEIGHTS    OH     45424
HIGH LEVEL RESEARCH INC
HIGH MC KINLEY                      PO BOX 82                                                                                                            FLORA            IN     46929‐0082
HIGH OCTANE AUTOMOTIVE              8637 LINDLEY AVE                                                                                                     NORTHRIDGE       CA     91325‐3317
HIGH PEAKS RADIOLOGY                PO BOX 2007                                                                                                          EAST SYRACUSE    NY     13057‐4507
HIGH PERFORMANCE COMMUNICATIONS     2130 HAMES RD                                                                                                        APTOS            CA     95003‐9560

HIGH PERFORMING SYSTEMS INC         22 DURHAM ST                                                                                                         WATKINSVILLE    GA      30677‐2423
HIGH PLAINS MOTORS, INC.            MARVIN PRESSER                  331 FRONT ST                                                                         WOLF POINT      MT      59201‐1412
HIGH PLAINS MOTORS, INC.            331 FRONT ST                                                                                                         WOLF POINT      MT      59201‐1412
HIGH POINT CHEVROLET, INC.          THOMAS WORTS                    500 STATE RT 23                                                                      SUSSEX          NJ      07461‐2203
HIGH POINT CHEVROLET, INC.          500 STATE RT 23                                                                                                      SUSSEX          NJ      07461‐2203
HIGH POINT INS CO                   C/O ANDREA HEMSCHOOT ESQ        LAW OFFICE OF DEBRA HART       303 FELLOWSHIP RD STE 300                             MT LAUREL       NJ      08054
HIGH POINT INS CO                   ANDREA HEMSCHOOT ESQ            C/O LAW OFFICE OF DEBRA HART   303 FELLOWSHIP RD STE 300                             MT LAUREL       NJ      08054
HIGH POINT REHABILIT                800 W ARBROOK BLVD STE 330                                                                                           ARLINGTON       TX      76015‐4317
HIGH PRESSURE EQUIPMENT CO          1222 LINDEN AVE                                                                                                      ERIE            PA      16505‐3522
HIGH PRODUCTION TECHNOLOGY LLC      476 E RIVERVIEW AVE                                                                                                  NAPOLEON        OH      43545‐1855
HIGH Q INCORPORATED                 210 STATE ROUTE 956             PO BOX H                                                                             KEYSER          WV      26726‐9219
HIGH REV PHOTOGRAPHY                4067 HARDWICK ST #120                                                                                                LAKEWOOD        CA      90712
HIGH RIDGE DAIRY, JEROME STRAATMANN 5328 PRIVATE DR                                                                                                      VILLA RIDGE     MO      63089

HIGH RUDOLPH K (439132)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                          NORFOLK          VA     23510
                                                                    STREET, SUITE 600
HIGH SIERRA VENDING & COFFEE        1395 GREG ST STE 109                                                                                                 SPARKS           NV     89431‐6063
COMPANY INC
HIGH STANDARD SERVICE               77 W WASHINGTON ST STE 1605                                                                                          CHICAGO          IL     60602‐3212
HIGH STANDARD SERVICE               STATE FARM MUTUAL AUTOMOBILE    77 W WASHINGTON ST STE 1605                                                          CHICAGO          IL     60602‐3212
                                    INSURANCE COMPANY
HIGH STANDARD SERVICES
HIGH STAR TOYS, INC.
HIGH STREET AUTO CENTER             441 HIGH ST                                                                                                          OAKLAND          CA     94601‐3903
HIGH STREET AUTOMOTIVE              41060 HIGH ST STE A                                                                                                  FREMONT          CA     94538‐4366
HIGH STREET UNITED METHODIST        RESERVE ACCOUNT                 C/O JAMES R. STROZIER          PO BOX 218                                            FRANKLIN         VA     23851
HIGH TEC METALLBEARBEITUNG GMBH     MERKURSTRASSE 8                                                                            TERNBERG A 4452 AUSTRIA
HIGH TECH AUTO                      6853 HWY 17 E.                                                                             CONISTON ON P0M 1M0
                                                                                                                               CANADA
HIGH TECH CONNECTIONS               1125 DIXWELL AVENUE                                                                                                  HAMDEN          CT      06514
HIGH TECH EQUIPMENT                 4828 B N SHEPHERD                                                                                                    HOUSTON         TX      77018
HIGH TECH INSTITUTE                 16404 N BLACK CANYON HWY        STE 180                                                                              PHOENIX         AZ      85053‐4070
HIGH TECH PACKAGING INC             1212 E ALEXIS RD                                                                                                     TOLEDO          OH      43612‐3974
HIGH TECH PACKAGING INC             1212 E ALEXIS RD                PO BOX 934                                                                           TOLEDO          OH      43612‐3974
HIGH TECH PACKAGING INC             JOHN MC CARTHY                  SPO685 KITS                   1212 E ALEXIS                                          TORRANCE        CA      90505
HIGH TECH PACKAGING INC             HUNTER SCHANK CO LPA            ONE CANTON SQUARE 1700 CANTON                                                        TOLEDO          OH      43604
                                                                    AVENUE
HIGH TECH PACKAGING INC             GRAHAM, JOHN N                  ONE CANTON SQUARE 1700 CANTON                                                        TOLEDO          OH      43604
                                                                    AVENUE
HIGH TECH PACKAGING INC             ONE CANTON SQUARE 1700 CANTON                                                                                        TOLEDO          OH      43604
                                    AVENUE
HIGH TECH PACKAGING INC.            JOHN MC CARTHY                  SPO685 KITS                    1212 E ALEXIS                                         TORRANCE        CA      90505
HIGH TECH/TOLEDO                    1212 E ALEXIS RD                                                                                                     TOLEDO          OH      43612‐3974
HIGH TEMPERATURE SYSTEMS INC        16755 PARK CIRCLE DR                                                                                                 CHAGRIN FALLS   OH      44023‐4562
HIGH VOLTAGE MAINTENANCE CORP       PO BOX 13059                    5100 ENERGY DR                                                                       DAYTON          OH      45413‐0059
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Name                            Address1                              Address2                      Address3   Address4               City            State   Zip
HIGH VOLTAGE MAINTENANCE CORP   8320 BROOKVILLE RD                                                                                    INDIANAPOLIS     IN     46239
HIGH VOLTAGE MAINTENANCE CORP   PO BOX 73974                                                                                          CHICAGO           IL    60673‐0001
HIGH VOLTAGE MAINTENANCE CORP   24371 CATHERINE INDUSTRIAL DR STE 207                                                                 NOVI             MI     48375‐2422

HIGH VOLTAGE MAINTENANCE CORP   JEFF BRITTAIN                         8320 BROOKVILLE RD STE E                                        INDIANAPOLIS    IN      46239‐8914
HIGH VOLTAGE MAINTENANCE CORP   5100 ENERGY DR                                                                                        DAYTON          OH      45414‐3525
HIGH, ANDREW                    322 MILLER AVE                                                                                        BERTRAND        NE      68927‐3825
HIGH, ANNA Z                    4116 GLEN PARK RD                                                                                     BALTIMORE       MD      21236‐1015
HIGH, BARBARA C                 2732 OLD PLAIN DEALING RD                                                                             PLAIN DEALING   LA      71064‐4324
HIGH, CECIL                     136 SYCAMORE ST                                                                                       ROCKMART        GA      30153
HIGH, CECIL R                   PO BOX 521                                                                                            ROCKMART        GA      30153‐0521
HIGH, CELESTINE                 21255 LEGION LAKE CT                                                                                  CREST HILL      IL      60403‐8802
HIGH, CHARLES E                 3055 RIDGE RD                                                                                         CORTLAND        OH      44410‐9480
HIGH, CHARLES E                 PO BOX 98                             632 HILLTOP ROAD                                                RONCO           PA      15476‐0098
HIGH, CHARLES L                 874 LINDSAY LN                                                                                        ANDERSON        IN      46012‐9343
HIGH, CHARLES LEE               874 LINDSAY LN                                                                                        ANDERSON        IN      46012‐9343
HIGH, CHARLES R                 47 RAMBLER LN                                                                                         LEVITTOWN       PA      19055‐1401
HIGH, CLARENCE                  984 CANTERBURY DR                                                                                     PONTIAC         MI      48341‐2334
HIGH, DAISY O                   30 SPARKS ST                                                                                          TROTWOOD        OH      45426‐3015
HIGH, DEBRA                     18403 ROBSON ST                                                                                       DETROIT         MI      48235‐2863
HIGH, DEBRA S                   2301 TAM O SHANTER RD                                                                                 KOKOMO          IN      46902‐3108
HIGH, DIXIE D                   662 RIVER AVE                                                                                         INDIANAPOLIS    IN      46221‐1319
HIGH, DONALD J                  7925 BERMEJO RD                                                                                       FORT WORTH      TX      76112‐6144
HIGH, DONALD JAMES              7925 BERMEJO RD                                                                                       FORT WORTH      TX      76112‐6144
HIGH, DOUGLAS                   1554 CROSSWINDS DR                                                                                    INDEPENDENCE    KY      41051‐7442
HIGH, ERMA L                    511 POMPANO TERRACE                                                                                   PUNTA GORDA     FL      33950
HIGH, GARY L                    1929 CENTER RD                                                                                        WILMINGTON      OH      45177‐5177
HIGH, GERALD W                  1627 N GILBERT ST                                                                                     DANVILLE        IL      61832‐2233
HIGH, GLENN A                   47 RR 8                                                                                               LEXINGTON       OH      44904
HIGH, HAROLD W                  GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510‐2212
                                                                      STREET, SUITE 600
HIGH, HENRY J                   584 N POINT PRAIRIE RD                                                                                WENTZVILLE      MO      63385‐3207
HIGH, JAMES R                   10060 GREEN RD                                                                                        GOODRICH        MI      48438‐8897
HIGH, JEFFERY B                 826 3RD ST                                                                                            BARABOO         WI      53913
HIGH, JESSICA L                 48 DEPEW ST                                                                                           ROCHESTER       NY      14611‐2403
HIGH, JR,CHARLES A              5189 FISHBURG RD                                                                                      HUBER HEIGHTS   OH      45424‐4345
HIGH, KENNETH E                 899 WEST 400 NORTH                                                                                    CAYUGA          IN      47928‐8112
HIGH, KENNETH E                 899 W 400 N                                                                                           CAYUGA          IN      47928‐8112
HIGH, LINDA                     211 HEARTHSTONE MANOR LN                                                                              BRENTWOOD       TN      37027‐4326
HIGH, MARIE                     11730 E 450 NORTH RD                                                                                  INDIANOLA       IL      61850‐9533
HIGH, MARIE                     11730 E. 450 NORTH RD                                                                                 INDIANOLA       IL      61850‐9533
HIGH, MARION L                  3725 OLD PLAIN RD.                                                                                    PLAIN DEALING   LA      71064
HIGH, MARSHA ANN                1924 BRIAR MEADOW DR                                                                                  ARLINGTON       TX      76014‐2607
HIGH, MILDRED F                 704 DUDLEY ST                                                                                         BLANCHESTER     OH      45107‐1328
HIGH, OLIVIA                    624 MARKLE AVE                                                                                        PONTIAC         MI      48340‐3023
HIGH, OVERTON                   3725 OLD PLAIN DEALING ROAD                                                                           PLAIN DEALING   LA      71064‐3427
HIGH, PATRICIA                  1405 BUSH CREEK DR                                                                                    GRAND BLANC     MI      48439‐2306
HIGH, RAEKIA                    2893 PINE KNOLL DR APT 200E                                                                           AUBURN HILLS    MI      48326‐3786
HIGH, RANDY G                   PO BOX 5                                                                                              NEW ROSS        IN      47968‐0005
HIGH, RAYMOND E                 63 CARR ST                                                                                            PONTIAC         MI      48342‐1708
HIGH, RONALD C                  2214 MELBOURNE CT                                                                                     FORT WAYNE      IN      46804‐5842
HIGH, RONALD R                  130 GUANONOCQUE ST                                                                                    AUBURN HILLS    MI      48326‐2931
HIGH, RUDOLPH K                 GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510‐2212
                                                                      STREET, SUITE 600
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HIGH, SHARON                     1527 ALTER RD                                                                                      DETROIT             MI 48215‐2867
HIGH, SHERITA
HIGH, TRENESS L                  628 MARKLE AVE                                                                                     PONTIAC            MI   48340‐3023
HIGH, VELMA R                    441 HAWTHORNE DR                                                                                   FOND DU LAC        WI   54935‐6328
HIGH, W G                        428 VERANDAH LN                                                                                    FRANKLIN           TN   37064‐4736
HIGH, WALTER M                   9889 KLAIS COURT                                                                                   CLARKSTON          MI   48348‐2328
HIGH‐TECH SECURITY SYSTEMS INC   24067 RESEARCH DR                                                                                  FARMINGTON HILLS   MI   48335‐2632

HIGHAM, AUDREY P                 105 INLET DR                                                                                       LINDENHURST        NY   11757‐6809
HIGHAM, BRUCE E                  2513 HARDING AVE                                                                                   TERRE HAUTE        IN   47802‐3546
HIGHAM, DENAE M                  5411 W DODGE RD                                                                                    CLIO               MI   48420‐8558
HIGHAM, DEREK R                  36063 PARKHURST AVE                                                                                LIVONIA            MI   48154‐5118
HIGHAM, GEORGE E                 4150 THOMPSON RD                                                                                   LINDEN             MI   48451‐9425
HIGHAM, GEORGE EDWIN             4150 THOMPSON RD                                                                                   LINDEN             MI   48451‐9425
HIGHAM, JAMES E                  39 ALBEMARLE RD                                                                                    HAMILTON SQ        NJ   08690‐2439
HIGHAM, JOHN W                   5411 W DODGE RD                                                                                    CLIO               MI   48420‐8558
HIGHAM, NANCY L                  1265 S DVE RD                                                                                      FLINT              MI   48532‐3317
HIGHAM, NANCY LYNN               1265 S DYE RD                                                                                      FLINT              MI   48532‐3317
HIGHAM, RAYMOND E                930 MILLER DR                                                                                      MEDINA             OH   44256‐1626
HIGHBAUGH, CLYDE O               1328 S DURBIN DR                                                                                   ANDERSON           IN   46012‐9699
HIGHBAUGH, JACKIE L              953 ROSE PL                                                                                        BUCKLEY            WA   98321‐9354
HIGHBAUGH, LILLIE P              3120 E MINNESOTA ST                                                                                INDIANAPOLIS       IN   46203‐3208
HIGHBERGER, MAURICE F            11806 N SAGUARO BLVD UNIT 102                                                                      FOUNTAIN HILLS     AZ   85268
HIGHBRIDGE ASSSOCIATES LLC       1330 CORPORATE DR STE 400                                                                          HUDSON             OH   44236‐4443
HIGHBURGER, JAMES EDWARD         COON & ASSOCS BRENT                 917 FRANKLIN ST STE 210                                        HOUSTON            TX   77002‐1751
HIGHER EDUCATION AUTHORITY       WESTERN RD                                                               CORK IE 00000 IRELAND
HIGHER GROUND INVESTMENTS        ATTN ROBERT KAISER                  5016 SILVER LAKE                                               PLANO              TX   75093
HIGHER M‐PACT                    PO BOX 11718                                                                                       KANSAS CITY        MO   64138‐0218
HIGHERS, JAMES G                 411 N BALDWIN RESORT RD                                                                            EAST TAWAS         MI   48730‐9526
HIGHERS, MARY A                  2922 E 8TH ST                                                                                      ANDERSON           IN   46012‐4552
HIGHEST HONOR                    34777 DEQUINDRE RD                                                                                 TROY               MI   48083‐4406
HIGHEST HONOR INC                34711 DEQUINDRE RD                                                                                 TROY               MI   48083‐4406
HIGHFIELD SR, WALTER L           1030 CUMBERLAND AVE                                                                                DAYTON             OH   45406‐4932
HIGHFIELD, GREGORY J             143 STRAWBERRY FIELDS DR                                                                           GERMANTOWN         OH   45327‐1488
HIGHFIELD, JERRY L               11870 HIBNER RD                                                                                    HARTLAND           MI   48353‐1321
HIGHFIELD, RODNEY P              1649 LYNNFIELD DR                                                                                  KETTERING          OH   45429‐5023
HIGHFIELD, STEPHAN R             47086 EXWORTHY CT                                                                                  SHELBY TOWNSHIP    MI   48315‐4807
HIGHFIELD,GREGORY J              143 STRAWBERRY FIELDS DR                                                                           GERMANTOWN         OH   45327‐1488
HIGHFIELDS                       PO BOX 98                                                                                          ONONDAGA           MI   49264‐0098
HIGHFIL, VIRGINIA M              706 PARK                                                                                           LINCOLN PARK       MI   48146‐2661
HIGHFIL, VIRGINIA M              706 PARK AVE                                                                                       LINCOLN PARK       MI   48146‐2661
HIGHFILL, BETTY L                1764 HIGHPOINT RD                                                                                  SNELLVILLE         GA   30078‐2736
HIGHFILL, CHARLOTTE R            1637 OSPREY CIRCLE                                                                                 SANFORD            MI   48657
HIGHFILL, CHARLOTTE R            1637 N OSPREY CIR                                                                                  SANFORD            MI   48657‐9237
HIGHFILL, EVELYN                 1212 WELBORN RD                                                                                    WILMINGTON         NC   28409‐4449
HIGHFILL, EVELYN L               1212 WELBORN RD                                                                                    WILMINGTON         NC   28409‐4449
HIGHFILL, JOHN L                 2110 CHEROKEE DR                                                                                   LONDON             OH   43140‐8764
HIGHFILL, KAREN S                PO BOX 42                                                                                          EAGLE              MI   48822‐0042
HIGHFILL, MALLORY                DEGRAVELLES PALMINTIER & HOLTHAUS   628 SAINT LOUIS ST                                             BATON ROUGE        LA   70802‐6159

HIGHFILL, STEPHEN A              615 SUNMEADOW DR SE                                                                                GRAND RAPIDS       MI   49508‐7711
HIGHFILL, THOMAS J               1764 HIGHPOINT RD                                                                                  SNELLVILLE         GA   30078‐2736
HIGHFILL, WALLY B                501 N MAIN ST                                                                                      COLLINSVILLE       TX   76233‐5106
HIGHGATE ELECTRIC/MI             31751 ENTERPRISE DR STE A                                                                          LIVONIA            MI   48150‐1942
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HIGHGATE, ASHANT J                  19456 MOENART ST                                                                                                   DETROIT          MI     48234‐2379
HIGHGATE, ASHANT JEFFERY            19456 MOENART ST                                                                                                   DETROIT          MI     48234‐2379
HIGHGATE, J H                       7501 LIGUSTRUM DR                                                                                                  NEW ORLEANS      LA     70126‐2023
HIGHLAND CAPITAL                    HIGHLAND CAPITAL MANAGEMENT LP
HIGHLAND CAPITAL                    HIGHLAND LEGACY LIMITED
HIGHLAND CAPITAL                    NEXBANK, SSB F/K/A HERITAGE BANK, SSB

HIGHLAND CHARTER TOWNSHIP           205 N JOHN ST                                                                                                      HIGHLAND         MI     48357‐4531
HIGHLAND CHEVROLET                  3555 US HIGHWAY 9W                                                                                                 HIGHLAND         NY     12528‐1730
HIGHLAND CLINIC                     PO BOX 415000                          LBX 410604                                                                  NASHVILLE        TN     37241‐5000
HIGHLAND CLINIC APMC                MID SOUTH ORTHOPAEDIC CLINIC           PO BOX 41500 LBX 410618                                                     NASHVILLE        TN     37241‐0001
HIGHLAND CLUB THE                   1711 TULANE AVE                                                                                                    SHREVEPORT       LA     71103‐4609
HIGHLAND COMMERCIAL ROOFING         5105 HEINTZ ST                                                                                                     BALDWIN PARK     CA     91706‐1820
HIGHLAND COMMERCIAL ROOFING IN      5105 HEINTZ ST                                                                                                     BALDWIN PARK     CA     91706‐1820
HIGHLAND COMMUNITY BANK             1701 W 87TH ST                                                                                                     CHICAGO          IL     60620
HIGHLAND COMMUNITY BANK             1701 W. 87TH STREET BANK                                                                                           CHICAGO          IL     60620
HIGHLAND COMMUNITY BANK             ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1701 W. 87TH STREET BANK                                                    CHICAGO          IL     60620

HIGHLAND COMMUNITY COLLEGE          PO BOX 68                                                                                                          HIGHLAND        KS      66035‐0068
HIGHLAND COUNTY TREASURER           PO BOX 824                                                                                                         HILLSBORO       OH      45133‐0824
HIGHLAND DOWNTOWN DEVELOPMENT       205 W LIVINGSTON RD                                                                                                HIGHLAND        MI      48357‐4622
AUTHORITY
HIGHLAND GLEN MANUFACTURING, INC.

HIGHLAND HELICOPTERS INC            PO BOX 3651                                                                                                        SYRACUSE         NY     13220‐3651
HIGHLAND HOSPITAL                   PO BOX 347159                                                                                                      PITTSBERG        PA     15251‐4159
HIGHLAND INDUSTRIES INC             DON A SCHIEMANN ESQ                   TK HOLDINGS INC                  2500 TAKATA DRIVE                           AUBURN HILLS     MI     48326
HIGHLAND MACHINERY LLC              333 MILLER ST                                                                                                      BENTON HARBOR    MI     49022‐3480
HIGHLAND MANUFACTURING CO           1240 WOLCOTT ST                       PO BOX 1858                                                                  WATERBURY        CT     06705‐1320
HIGHLAND PARK COMMUNITY COLLEGE     GLENDALE AVE AT 3RD AVE                                                                                            HIGHLAND PARK    MI     48203

HIGHLAND PAVING CO LLC                                                    2031 MIDDLE RD                                                                               NC      28312
HIGHLAND TANK & MFG CO              1 HIGHLAND RD                         UPTD 9/19/06                                                                 STOYSTOWN       PA      15563
HIGHLAND TECH/BLTMOR                7585 WASHINGTON BLVD.                 SUITE 108                                                                    BALTIMORE       MD      21227
HIGHLAND TRANSPORT                  2815 14TH AVE                                                                              MARKHAM ON L3R 0H9
                                                                                                                               CANADA
HIGHLAND, DAVID T                   14007 BAINBRIDGE ST                                                                                                LIVONIA         MI      48154‐4301
HIGHLAND, DONALD E                  32736 HAZELWOOD ST                                                                                                 WESTLAND        MI      48186‐8939
HIGHLAND, JOHN S                    4709 PARKER DR                                                                                                     HOWELL          MI      48843‐9685
HIGHLAND, LINDA K.                  32049 FAIRCHILD ST                                                                                                 WESTLAND        MI      48186‐4909
HIGHLAND, VIRGINIA B                2296 DIVISION AVENUE                                                                                               DAYTON          OH      45414‐4006
HIGHLAND, WILLIAM S                 3111 DELLWOOD DR                                                                                                   PARMA           OH      44134‐4213
HIGHLAND/CEQUENT(OH)                27070 MILES RD                                                                                                     SOLON           OH      44139‐1121
HIGHLANDER INC                      7200 STATE ROUTE 88                                                                                                RAVENNA         OH      44266‐9190
HIGHLANDER, ANNA                    143 BROADWAY ST S                                                                                                  MIDLAND         OH      45148
HIGHLANDER, CHARLES L               1219 OLD STATE RD                                                                                                  WILMINGTON      OH      45177‐9749
HIGHLANDS COUNTY TAX COLLECTOR      540 S COMMERCE AVE                                                                                                 SEBRING         FL      33870‐3867
HIGHLANDS GROUP                     C\O FULLER MANAGEMENT                 1600 W EAU GALLIE BLVD STE 201                                               MELBOURNE       FL      32935‐4149
HIGHLANDS INSURANCE COMPANY
HIGHLANDS VEHICLE SOLUTIONS         12642 COLLECTION CENTER DR                                                                                         CHICAGO         IL      60693‐0126
HIGHLEN, ERNIE C                    5414 CHRISTENA RD                                                                                                  BAY CITY        MI      48706‐3436
HIGHLEN, LEVETTA T                  2001 W MOUNT HOPE AVE APT 229                                                                                      LANSING         MI      48910‐2485
HIGHLEN, ROGER D                    1330 WATERBURY RD                                                                                                  HIGHLAND        MI      48356‐3028
HIGHLEY, CHRISTINA M                2293 LIDO PL                                                                                                       DAYTON          OH      45420‐3343
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Name                                  Address1                           Address2                          Address3                    Address4               City              State   Zip
HIGHLEY, JOHN                         SUTTER & ENSLEIN                   1598 KANAWHA BLVD EAST, SUITE                                                        CHARLESTON         WV     25311
HIGHLEY, MICHAEL A                    2111 NEWGATE AVE                                                                                                        DAYTON             OH     45420‐3150
HIGHLEY, NANCY S                      1215 CLARKSON CT                                                                                                        ELLISVILLE         MO     63011‐2210
HIGHLEY, PAMELA S                     2111 NEWGATE AVE                                                                                                        DAYTON             OH     45420
HIGHLEYMAN, LOCKE                     MARMERO & MAMMANO                  20 E TAUNTON RD STE 101                                                              BERLIN             NJ     08009‐2612
HIGHLIGHT INDUSTRIES INC              2694 PRAIRIE ST SW                                                                                                      GRAND RAPIDS       MI     49519‐2461
HIGHLINE CONTROLS INC                 3393 SERENITY RD                                                                                                        OAKLAND            MI     48363‐2740
HIGHLY, CHESTER                       122 THOMAS HOLW                                                                                                         RUSH               KY     41168‐8855
HIGHMAN HUBERT (445226)               BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                                        NORTHFIELD         OH     44067
                                                                         PROFESSIONAL BLDG
HIGHMAN, HUBERT                       BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                                         NORTHFIELD        OH      44067
                                                                         PROFESSIONAL BLDG
HIGHMARK INC                          159 EXPRESS ST                                                                                                          PLAINVIEW          NY     11803‐2404
HIGHMARK, INC.                        STEVEN FRANZ                       1800 CENTER ST                                                                       CAMP HILL          PA     17011‐1702
HIGHPOINT AUTO AND TRUCK CENTER, IN   7555 S 131                                                                                                              CADILLAC           MI

HIGHPOINT AUTO AND TRUCK CENTER,      GERALD KOOP                        7555 S 131                                                                           CADILLAC           MI     49601
INC.
HIGHPOINT AUTO AND TRUCK CENTER,      7555 S 131                                                                                                              CADILLAC           MI     49601
INC.
HIGHPOINT PAIN CLINI                  800 W ARBROOK BLVD STE 300                                                                                              ARLINGTON          TX     76015‐4333
HIGHPOINT PHARM                       PO BOX 172615                                                                                                           ARLINGTON          TX     76003‐2615
HIGHPOINT SAFETY & INSURANCE CO       A/S/O FORTUNATO MAGNIOLA           LAW OFFICE OF DEBRA HART          303 FELLOWSHIP ROAD SUITE                          MOUNT LAUREL       NJ     08054
                                                                                                           300
HIGHQSOFT LLC
HIGHQSOFT LLC                         MARK QUINSLAND, MANAGING PARTNER   1397 SALMON FALLS RD                                                                 EL DORADO HILLS    CA     95762‐9750

HIGHQSOFT, LLC                        MARK QUINSLAND, MANAGING PARTNER   1397 SALMON FALLS RD                                                                 EL DORADO HILLS    CA     95762‐9750

HIGHROADS INC                         150 PRESIDENTIAL WAY STE 320                                                                                            WOBURN            MA      01801‐1121
HIGHSIGHT                             315 W WALTON ST                                                                                                         CHICAGO           IL      60610‐3016
HIGHSMITH JOHN                        4323 UPVIEW TER                                                                                                         PITTSBURGH        PA      15201‐2249
HIGHSMITH JOSEPH W (167416)           BROWN TERRELL HOGAN ELLIS          804 BLACKSTONE BLDG , 233 EAST                                                       JACKSONVILLE      FL      32202
                                      MCCLAMMA & YEGELWEL P.A.           BAY STREET
HIGHSMITH RICHARD                     HIGHSMITH, RICHARD                 376 HICKORY POINT BLVD APT D                                                         NEWPORT NEWS       VA     23608
HIGHSMITH, COLUMBUS                   COON & ASSOCS BRENT                917 FRANKLIN ST STE 210                                                              HOUSTON            TX     77002‐1751
HIGHSMITH, JOSEPH                     BROWN TERRELL HOGAN ELLIS          804 BLACKSTONE BLDG, 233 EAST                                                        JACKSONVILLE       FL     32202
                                      MCCLAMMA & YEGELWEL P.A.           BAY STREET
HIGHSMITH, RICHARD                    376 HICKORY POINT BLVD APT D                                                                                            NEWPORT NEWS      VA      23608‐1537
HIGHSMITH, TROY L                     19457 AUBURNDALE ST                                                                                                     LIVONIA           MI      48152‐1529
HIGHSMITH, WILLIE H                   20465 ALAMEDA PKWY                                                                                                      HIGHLAND HILLS    OH      44128‐2801
HIGHSTREET, DANA G                    4272 COVE STREET                                                                                                        HEMET             CA      92545‐9020
HIGHSTREET, WILLIAM J                 14081 MAGNOLIA ST SPC 39                                                                                                WESTMINSTER       CA      92683‐4738
HIGHSTREET, WILLIAM J                 14081 MAGNOLIA                     LOT #39                                                                              WESTMINSTER       CA      92683‐4738
HIGHSTROM, MATTHEW M                  APT 160                            31055 PENDLETON                                                                      NEW HUDSON        MI      48165‐9454
HIGHT CHEVROLET BUICK, INC.           WALTER HIGHT                       29 MADISON AVE                                                                       SKOWHEGAN         ME      04976‐1245
HIGHT CHEVROLET PONTIAC BUICK GMC     437 WILTON ROAD                                                                                                         FARMINGTON        ME      04938

HIGHT CHEVROLET‐BUICK‐PONTIAC‐GMC     29 MADISON AVE                                                                                                          SKOWHEGAN         ME      04976‐1245

HIGHT CHEVROLET‐GEO‐PONTIAC           LOUIS HIGHT                        437 WILTON ROAD                                                                      FARMINGTON        ME      04938
HIGHT GEORGE (ESTATE OF) (643668)     COONEY & CONWAY                    120 NORTH LASALLE STREET , 30TH                                                      CHICAGO           IL      60602
                                                                         FLOOR
HIGHT, BILLY E                        3659 W 900 N                                                                                                            FRANKTON           IN     46044‐9370
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Name                         Address1                              Address2                         Address3   Address4               City           State   Zip
HIGHT, CHARLES L             3565 W 900 N                                                                                             ALEXANDRIA      IN     46001‐8426
HIGHT, CHARLES V             1053 BRIAR CT                                                                                            GREENWOOD       IN     46142‐5220
HIGHT, DALE L                122 S MCCANN ST                                                                                          KOKOMO          IN     46901
HIGHT, DAVID J               32977 BROOKSIDE CIR                                                                                      LIVONIA         MI     48152‐1426
HIGHT, EVELYN H              5021 7TH D ST E                                                                                          BRADENTON       FL     34203‐4642
HIGHT, EWIN E                3954 STONEY RIDGE ROAD                                                                                   AVON            OH     44011‐2220
HIGHT, FREDERICK F           6031 W 30TH ST                                                                                           SPEEDWAY        IN     46224‐3021
HIGHT, GEORGE                COONEY & CONWAY                       120 NORTH LASALLE STREET, 30TH                                     CHICAGO          IL    60602
                                                                   FLOOR
HIGHT, JAMES E               694 OLD YAAK RD                                                                                          TROY           MT      59935‐8611
HIGHT, JENNIFER
HIGHT, JERRY D               84 NE DEERWOOD CT                                                                                        MARION         IN      46953
HIGHT, JESSICA A             3401 SHOREVIEW DR                                                                                        CLEBURNE       TX      76033‐8552
HIGHT, JESSICA ANN           3401 SHOREVIEW DR                                                                                        CLEBURNE       TX      76033‐8552
HIGHT, MARGOT J.             521 MEADOW DRIVE                                                                                         KOKOMO         IN      46902‐3719
HIGHT, MARGOT J.             521 MEADOW DR                                                                                            KOKOMO         IN      46902‐3719
HIGHT, MARION F              3607 W 1100 N                                                                                            ALEXANDRIA     IN      46001‐8435
HIGHT, NANCY C               694 OLD YAAK RD                                                                                          TROY           MT      59935‐8611
HIGHT, ORIS B                83 SO. E. DEERWOOD CT                                                                                    MARION         IN      46953
HIGHT, PATRICIA C            228 S KENSINGTON AVE                  NUE                                                                LA GRANGE      IL      60525‐2215
HIGHT, PATRICIA N            2705 N LOCKE ST                                                                                          KOKOMO         IN      46901‐1513
HIGHT, SUE E                 122 S MCCANN ST                                                                                          KOKOMO         IN      46901‐5268
HIGHT, WILLIAM J             5021 7TH D ST E                                                                                          BRADENTON      FL      34203‐4642
HIGHTECH CONNECTIONS         PO BOX 910                                                                                               PICKERINGTON   OH      43147‐0910
HIGHTEX INC                  1490 PUMPHREY AVE                                                                                        AUBURN         AL      36832‐4325
HIGHTMAN, GEORGIA M          1105‐B HUNTERS RUN DR.                                                                                   LEBANON        OH      45036‐9463
HIGHTMAN, GEORGIA M          1105 HUNTERS RUN DR APT B                                                                                LEBANON        OH      45036‐7887
HIGHTOWER CAROLYN            HIGHTOWER, CAROLYN                    PO BOX 4160                                                        MONTGOMERY     AL      36103‐4160
HIGHTOWER CAROLYN            HIGHTOWER, RICHARD                    PO BOX 4160                                                        MONTGOMERY     AL      36103‐4160
HIGHTOWER CAROLYN            HIGHTOWER, RICHARD                    PO BOX 12308                                                       PENSACOLA      FL      32591‐2308
HIGHTOWER DANETTE            HIGHTOWER, DANETTE                    30 E BUTLER AVE                                                    AMBLER         PA      19002‐4514
HIGHTOWER JR, ALLEN T        17136 CHANDLER PARK DR                                                                                   DETROIT        MI      48224‐2083
HIGHTOWER JR, JAMES          1913 ROOT ST                                                                                             FLINT          MI      48505‐4751
HIGHTOWER JR, THEODORE       4008 KENSINGTON AVE                                                                                      KANSAS CITY    MO      64130‐1546
HIGHTOWER MERINDA L          1050 NISHA LN                                                                                            CEDAR HILL     TN      37032‐4954
HIGHTOWER, BERNICE           13635 CARLISLE                                                                                           DETROIT        MI      48205‐1112
HIGHTOWER, BETTY J           6087 DETROIT ST                                                                                          MOUNT MORRIS   MI      48458‐2751
HIGHTOWER, BRENDA J          1815 COLLINS S/E                                                                                         GRAND RAPIDS   MI      49507
HIGHTOWER, CALVIN C          7594 WOMACK RD                                                                                           SHREVEPORT     LA      71107‐9613
HIGHTOWER, CALVIN COOLIDGE   7594 WOMACK RD                                                                                           SHREVEPORT     LA      71107‐9613
HIGHTOWER, CARL R            5161 AVOCADO AVE                                                                                         COCOA          FL      32926‐2943
HIGHTOWER, CAROLYN           BEASLEY ALLEN CROW METHVIN PORTIS &   PO BOX 4160                                                        MONTGOMERY     AL      36103‐4160
                             MILES
HIGHTOWER, CHARLES           4397 N WAKELAND RD                                                                                       PARAGON        IN      46166‐9224
HIGHTOWER, CHARLES           1227 CONNIE AVE                                                                                          JACKSON        MI      49203‐6082
HIGHTOWER, CHARLES E         303 MAIDEN CHOICE LN APT 129                                                                             CATONSVILLE    MD      21228‐6268
HIGHTOWER, CLEVELAND         218 LANDSDOWNE BLVD                                                                                      YOUNGSTOWN     OH      44506‐1139
HIGHTOWER, DEBORAH K         7067 S MEADOW DR E                                                                                       FORT WORTH     TX      76133‐7239
HIGHTOWER, DEBRA A           2501 GLADWAE DR                                                                                          YOUNGSTOWN     OH      44511‐2233
HIGHTOWER, DENEASE N         769 SUNSET BLVD APT 3                                                                                    MANSFIELD      OH      44907
HIGHTOWER, EARNEST           3174 CREEK DR SE APT 1C                                                                                  GRAND RAPIDS   MI      49512
HIGHTOWER, EDWARD            PO BOX 10015                                                                                             JACKSON        MS      39286‐0015
HIGHTOWER, EDWARD T          23068 KRISTY LN                                                                                          SOUTHFIELD     MI      48033‐3912
HIGHTOWER, EUGENE H          640 BURNS ST                                                                                             MANSFIELD      OH      44903‐1010
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Name                       Address1                            Address2           Address3         Address4               City           State   Zip
HIGHTOWER, FRANCES         1318 N ANGLIA ST                                                                               CLEBURNE        TX     76031
HIGHTOWER, GARY L          195 PRESTWICK DR                                                                               HOSCHTON        GA     30548
HIGHTOWER, GEORGE          PORTER & MALOUF PA                  4670 MCWILLIE DR                                           JACKSON         MS     39206‐5621
HIGHTOWER, GEORGE A        18611 ASBURY PARK                                                                              DETROIT         MI     48235‐3008
HIGHTOWER, GEORGE ALBERT   18611 ASBURY PARK                                                                              DETROIT         MI     48235‐3008
HIGHTOWER, GLORIA          2524 VOLNEY RD                                                                                 YOUNGSTOWN      OH     44511‐1443
HIGHTOWER, GRETNA M        3569 NORTH 00EW                     LOT 113                                                    KOKOMO          IN     46901
HIGHTOWER, GUSSIE          18452 SANTA BARBARA                                                                            DETROIT         MI     48221‐2148
HIGHTOWER, HELEN V         1616 GLENEAGLES DR                                                                             KOKOMO          IN     46902‐3181
HIGHTOWER, JACQUELYN S     5548 CANDLEWICK TRL                                                                            GASTONIA        NC     28056‐8922
HIGHTOWER, JANICE A        143 LEE ROAD 2077                                                                              PHENIX CITY     AL     36870
HIGHTOWER, JEFF P          316 SOUTHLEA DR                                                                                KOKOMO          IN     46902‐3682
HIGHTOWER, JOAN W          12958 TIMBER CREEK DR                                                                          HUNTLEY          IL    60142‐7828
HIGHTOWER, JOE R           9607 MARK TWAIN ST                                                                             DETROIT         MI     48227‐3047
HIGHTOWER, JOHN E          PO BOX 13652                                                                                   DETROIT         MI     48213‐0652
HIGHTOWER, JOHN J          51 LILBURNE DR                                                                                 YOUNGSTOWN      OH     44505‐4825
HIGHTOWER, JOSEPH I        BOONE ALEXANDRA                     205 LINDA DR                                               DAINGERFIELD    TX     75638‐2107
HIGHTOWER, KATIE L         10004 LILY FLAGG CIRCLE                                                                        HUNTSVILLE      AL     35803
HIGHTOWER, LARRY A         PO BOX 51283                                                                                   INDIANAPOLIS    IN     46251‐0283
HIGHTOWER, LAWRENCE D      4761 HALSEY ST                                                                                 SHAWNEE         KS     66216‐1999
HIGHTOWER, LEONARD A       6087 DETROIT ST                                                                                MOUNT MORRIS    MI     48458‐2751
HIGHTOWER, LINDA A         1709 ARTHUR ST                                                                                 SAGINAW         MI     48602‐1003
HIGHTOWER, MARGARET A      4488 CHERRY ST SW                                                                              NEWTON FALLS    OH     44444‐9532
HIGHTOWER, MARGARET L      1300 MARTIN LUTHER                  KING JR BLVD                                               DETROIT         MI     48201‐2365
HIGHTOWER, MARLA           4003 MILL ST                                                                                   KOKOMO          IN     46902‐4696
HIGHTOWER, MERINDA L       1050 NISHA LN                                                                                  CEDAR HILL      TN     37032‐4954
HIGHTOWER, MINDY
HIGHTOWER, OTIS L          1882 ALLANDALE AVE                                                                             E CLEVELAND    OH      44112‐2036
HIGHTOWER, PAMELA L        7594 WOMACK RD                                                                                 SHREVEPORT     LA      71107‐9613
HIGHTOWER, PAMELA P        1111 IVANHOE AVE                                                                               YOUNGSTOWN     OH      44502‐2823
HIGHTOWER, PATRICIA A      2205 CHAPEL DOWNS DR                                                                           ARLINGTON      TX      76017‐4510
HIGHTOWER, PAULETTA O      PO BOX 596                                                                                     BOERNE         TX      78005‐0596
HIGHTOWER, REGINA L        PO BOX 11184                                                                                   KILLEEN        TX      76547‐1184
HIGHTOWER, RHONDA M        2434 S LOCKBURN ST                                                                             INDIANAPOLIS   IN      46241
HIGHTOWER, RICHARD         LEVIN PAPANTONIO THOMAS MITCHELL    PO BOX 12308                                               PENSACOLA      FL      32591‐2308
                           ECHSNER & PROCTOR PA
HIGHTOWER, RICHARD         BEASLEY ALLEN CROW METHVIN PORTIS & PO BOX 4160                                                MONTGOMERY      AL     36103‐4160
                           MILES
HIGHTOWER, RONALD N        127 SANCHEZ CREEK CT                                                                           WEATHERFORD    TX      76088‐3312
HIGHTOWER, ROSA B          7746 S MERRILL AVE                                                                             CHICAGO        IL      60649‐4112
HIGHTOWER, ROSA B          7746 SOUTH MERRILL DRIVE                                                                       CHICAGO        IL      60649‐4112
HIGHTOWER, SHARMINA K      3055 OREGON AVE                                                                                YOUNGSTOWN     OH      44509‐1081
HIGHTOWER, SHIRLEY M       4751 SAIL POINT ST                                                                             LAS VEGAS      NV      89147‐8127
HIGHTOWER, SMITH           2985 OAKMAN BLVD                                                                               DETROIT        MI      48238‐2586
HIGHTOWER, TERRY L         16327 COBBLESTONE CIR                                                                          CHOCTAW        OK      73020‐6953
HIGHTOWER, TIMOTHY         4408 WELLINGTON TER                                                                            DECATUR        GA      30035‐4243
HIGHTOWER, TIMOTHY P       550 MARINA PKWY STE D2                                                                         CHULA VISTA    CA      91910
HIGHTOWER, TOYA L          83 ELIOT LN                                                                                    YOUNGSTOWN     OH      44505‐4817
HIGHTOWER, TOYA L          9191 N LIMA RD APT 25B                                                                         POLAND         OH      44514‐5255
HIGHTOWER, WILBER H        504 S RACCOON RD APT 30                                                                        AUSTINTOWN     OH      44515‐3628
HIGHTOWER, WILBER H        504 S.RACCOON RD.APT28                                                                         AUSTINTOWN     OH      44515‐3628
HIGHTOWER, WILBUR G        166 W 4TH ST                                                                                   MANSFIELD      OH      44903‐1603
HIGHTOWER, WILLIAM         PORTER & MALOUF PA                  4670 MCWILLIE DR                                           JACKSON        MS      39206‐5621
HIGHTOWER, WILLIE H        532 S 26TH ST                                                                                  SAGINAW        MI      48601‐6415
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Name                                Address1                            Address2                    Address3   Address4               City               State   Zip
HIGHTOWER‐PETERKIN, MAE F           4146 WHISPERING OAK DR                                                                            FLINT               MI     48507‐5554
HIGHTOWERS                          ATTN: GARRY VISHER                  3577 COMMERCE DR                                              FRANKLIN            OH     45005
HIGHTOWERS PETROLEUM COMPANY        3577 COMMERCE DR                                                                                  FRANKLIN            OH     45005‐5232
HIGHTOWERS PETROLEUM COMPANY I      3577 COMMERCE DR                                                                                  FRANKLIN            OH     45005‐5232
HIGHTOWERS PETROLEUM COMPANY INC    3577 COMMERCE DR                                                                                  FRANKLIN            OH     45005‐5232

HIGHTOWERS TRUCKING                 1792 GORDONSVILLE RD                                                                              RUSSELLVILLE       KY      42276‐8602
HIGHTREE, DONALD W                  12531 S 18TH ST                                                                                   VICKSBURG          MI      49097‐8426
HIGHTREE, LYLE W                    1100 SW 98TH ST                                                                                   OKLAHOMA CITY      OK      73139‐2617
HIGHTSHOE CHAD                      827 MARION ST                                                                                     BOONE              IA      50036‐1740
HIGHVIEW MOTORS, INC.               HUGH ROSSER                         1409 MAIN ST                                                  ALTAVISTA          VA      24517‐1126
HIGHVIEW MOTORS, INC.               1409 MAIN ST                                                                                      ALTAVISTA          VA      24517‐1126
HIGHWARDEN, CHARLES R               13925 FRUIT RIDGE RD                                                                              DEFIANCE           OH      43512‐6985
HIGHWAY 13 AMOCO                    4445 HIGHWAY 13 W                                                                                 SAVAGE             MN      55378‐1429
HIGHWAY 52 & 8 SHELL                4196 N PATTERSON AVE                                                                              WINSTON SALEM      NC      27105‐2251
HIGHWAY ADVANTAGE INC               61974 VINEYARD RD                                                                                 PRAIRIE DU CHIEN   WI      53821‐8857
HIGHWAY AMERICAN CORPORATION        13720 WAYNE RD                                                                                    LIVONIA            MI      48150‐1270
HIGHWAY LEASING CO INC              27 WEXFORD ST                                                                                     NEEDHAM            MA      02494‐2911
HIGHWAY TECHNOLOGIES INC.           JEFF PRICE                          1888 E BROADWAY RD                                            TEMPE              AZ      85282‐1641
HIGHWAY TECHNOLOGIES INC.           1888 E BROADWAY RD                                                                                TEMPE              AZ      85282‐1641
HIGHWAY TRANSPORT INC               PO BOX 888056                                                                                     KNOXVILLE          TN      37995‐8056
HIGHWAY TRANSPORT INC               LOCK BOX 888056                                                                                   KNOXVILLE          TN      37995‐8056
HIGHWAY TRAVEL AGENCY INC           PO BOX 46847                                                                                      MOUNT CLEMENS      MI      48046‐6847
HIGHWOOD AUTO SERVICE               26 W HUDSON AVE                                                                                   ENGLEWOOD          NJ      07631‐1745
HIGHWOOD DIE & ENGINEERING CO       ATTN: MARILYN MILLER                1353 HIGHWOOD BLVD                                            PONTIAC            MI      48340‐1925
HIGHWOOD, MARTHA D                  1000 N 16TH ST                                                                                    NEW CASTLE         IN      47362‐4319
HIGHWOODS PROPERTIES                TISH TURNER                         3100 SMOKETREE CT STE 600                                     RALEIGH            NC      27604‐1050
HIGHWOODS REALTY LIMITED            ATTN: CORPORATE OFFICER/AUTHORIZED 3100 SMOKETREE CT STE 600                                      RALEIGH            NC      27604‐1050
PARTNERSHIP                         AGENT
HIGHWOODS REALTY LIMITED            ATTN: MANAGER, LEASE ADMINISTRATION 3100 SMOKETREE CT STE 600                                     RALEIGH             NC     27604‐1050
PARTNERSHIP C/O HIGHWOODS
PROPERTIES, INC.
HIGHWOODS REALTY LP                 PO BOX 65183                                                                                      CHARLOTTE           NC     28265‐0183
HIGHWOODS REALTY LP                 3100 SMOKETREE CT STE 600                                                                         RALEIGH             NC     27604‐1050
HIGHWOODS/TN HOLDINGS LP            2120 W END AVE                                                                                    NASHVILLE           TN     37203‐5251
HIGHWOODS\FORSYTH LP JACKSONVILLE   1 INDEPENDENT DR STE 200                                                                          JACKSONVILLE        FL     32202‐5038

HIGI GILL                           1406 N DYE RD                                                                                     FLINT              MI      48532‐2257
HIGINBOTHAM, ASHLEY                 101 ARMS BLVD APT 4                                                                               NILES              OH      44445‐5338
HIGINBOTHAM, JOSEPH C               2594 LYDIA ST SW                                                                                  WARREN             OH      44481‐8618
HIGINBOTHAM, JOSEPH C               2951 NORTHWEST BLVD NW                                                                            WARREN             OH      44485‐2235
HIGINIO RIVERA                      1621 LINVAL ST                                                                                    LANSING            MI      48910‐1754
HIGLE, BARBARA L                    4255 MIDDLE RD                                                                                    HIGHLAND           MI      48357‐2913
HIGLEY JR, ROBERT E                 129 S MAPLE ST SE                                                                                 CALEDONIA          MI      49316‐8412
HIGLEY, AARON                       1245 FARNSWORTH RD                                                                                LAPEER             MI      48446‐1527
HIGLEY, BERT H                      1245 FARNSWORTH RD                                                                                LAPEER             MI      48446‐1527
HIGLEY, DONALD S                    ABRAMS & ABRAMS                     PO BOX 26025                                                  RALEIGH            NC      27611‐6025
HIGLEY, DONALD S                    FLETCHER JOHN R                     PO BOX 3747                                                   NORFOLK            VA      23514‐3747
HIGLEY, EARL H                      G1174 ROMAN DR                                                                                    FLINT              MI      48507
HIGLEY, JACK E                      2725 FLINT RIVER RD                                                                               LAPEER             MI      48446‐9045
HIGLEY, JANICE A                    681 S WAYNE AVE                                                                                   COLUMBUS           OH      43204‐2930
HIGLEY, LOIS A                      220 S MAPLE ST SE                                                                                 CALEDONIA          MI      49316‐9434
HIGLEY, LORI ANN                    1245 FARNSWORTH RD                                                                                LAPEER             MI      48446‐1527
HIGLEY, MARY A                      17827 ROBUSTA DR                                                                                  RIVERSIDE          CA      92503‐7073
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Name                      Address1                         Address2                    Address3   Address4                  City              State   Zip
HIGLEY, MARY A            G1174 ROMAN DR.                                                                                   FLINT              MI     48507
HIGLEY, PATRICIA L        330 SOUTH ST SE                                                                                   CALEDONIA          MI     49316‐9433
HIGLEY, PATRICIA L.       330 SOUTH ST SE                                                                                   CALEDONIA          MI     49316‐9433
HIGLEY, RITA M            14 DALTON DR                                                                                      BUFFALO            NY     14223‐2611
HIGLEY, ROY               BOONE ALEXANDRA                  205 LINDA DR                                                     DAINGERFIELD       TX     75638‐2107
HIGLEY, SCOTT K           50401 HUNTERS CREEK TRL                                                                           SHELBY TOWNSHIP    MI     48317‐1811
HIGLEY, THOMAS R          330 SOUTH ST SE                                                                                   CALEDONIA          MI     49316‐9433
HIGNITE, ALENE            5232 MISSISSIPPI DR                                                                               FAIRFIELD          OH     45014‐2412
HIGNITE, ALVIN R          8307 W NATIONAL RD                                                                                NEW CARLISLE       OH     45344‐9283
HIGNITE, CARL D           5355 RIVER RD                                                                                     FAIRFIELD          OH     45014‐2427
HIGNITE, CARL D           5355 RIVER ROAD                                                                                   FAIRFIELD          OH     45014‐2427
HIGNITE, CHARLES E        PO BOX 397                       319 E DELPHI                                                     SWEETSER           IN     46987‐0397
HIGNITE, DENNIS A         2146 W MIDLAND RD                                                                                 AUBURN             MI     48611‐9562
HIGNITE, DORA L           1800 RICHARD DR                                                                                   MANSFIELD          OH     44905‐1868
HIGNITE, EDYTHE L         585 STATE HIGHWAY 396                                                                             OLIVE HILL         KY     41164‐8505
HIGNITE, ETTA G           196 ELM ST                                                                                        PEEBLES            OH     45660‐1081
HIGNITE, ETTA G           196 ELM ST.                                                                                       PEEBLES            OH     45660‐1081
HIGNITE, GLADYS E         8105 PROSPECT                                                                                     WARREN             MI     48089
HIGNITE, GLADYS E         8105 PROSPECT AVE                                                                                 WARREN             MI     48089‐2974
HIGNITE, HUGH L           1008 HAMPSHIRE RD                                                                                 DAYTON             OH     45419‐3713
HIGNITE, JAMES A          2370 WEATHERWOOD WAY                                                                              KINGMAN            AZ     86409‐0536
HIGNITE, JAMES D          1650 BIRCH DR                                                                                     PINCONNING         MI     48650‐9519
HIGNITE, ROBERT A         4827 PHILLIPSBURG UNION RD                                                                        UNION              OH     45322‐9760
HIGNITE, ROBERT ANTHONY   4827 PHILLIPSBURG UNION RD                                                                        UNION              OH     45322‐9760
HIGNITE, ROY E            3200 CLEAR SPRINGS RD                                                                             SPRING VALLEY      OH     45370‐7733
HIGNITE, WANDA F          655 CLINTON AVE                                                                                   HAMILTON           OH     45015‐1822
HIGNITE,ROBERT ANTHONY    4827 PHILLIPSBURG UNION RD                                                                        UNION              OH     45322‐9760
HIGUERA, REYMUNDO R       3343 E FLOSSMOOR AVE                                                                              MESA               AZ     85204‐5605
HIGUERAS, CLAUDIA M       171 E 83RD ST APT 3D                                                                              NEW YORK           NY     10028‐1972
HIHNALA, CHRISTINE L      3035 ROYAL AVE                                                                                    BERKLEY            MI     48072‐3825
HIHRA OY                  TIERANKATU 5                     F1‐20520 TURKU                         TURKU FI‐20520 FINLAND
HIHRA OY                  SAMPSANKATU 7                                                           TURKU 52 20520 FINLAND
HIIPAKKA, SARA E          31511 MAYFAIR LN                                                                                  BEVERLY HILLS      MI     48025‐4033
HIITHER, RUSTIE J         6121 S CLINTON TRL                                                                                EATON RAPIDS       MI     48827‐9585
HIJA, GEORGE H            1040 N OXFORD RD                                                                                  GROSSE POINTE      MI     48236‐1810
                                                                                                                            WOODS
HIJAZI, AHMAD A           48495 LAKE VALLEY DR                                                                              SHELBY TWP         MI     48317‐2128
HIJAZI, ASSAAD A          48495 LAKE VALLEY DR                                                                              SHELBY TOWNSHIP    MI     48317
HIJAZI, MAHMOUD           5081 CURTIS ST                                                                                    DEARBORN           MI     48126‐4129
HIJAZI, TOUFIC M          PO BOX 10                        DAMOUR, CHOUF 2010
HIJAZI, TOUFIC M          PO BOX 10                                                               DAMOUR, CHOUF 2010
                                                                                                  LEBANON
HIJECK, JUSTIN M          APT 5AE                          100 EAST HARTSDALE AVENUE                                        HARTSDALE         NY      10530‐3940
HIKA, MARY                19863 BEAULIEU CT                                                                                 FORT MYERS        FL      33908‐4832
HIKADE, GALE B            223 N SYCAMORE ST                                                                                 FAIRMOUNT         IN      46928‐1730
HIKE, JOHN P              1325 RIEGELWOOD LN                                                                                COLUMBUS          OH      43204‐1791
HIKE, JOHN R              622 CHERRY S. E.                                                                                  GRAND RAPIDS      MI      49503
HIKE, STEPHANIE A         4417 20TH ST                                                                                      MERIDIAN          MS      39307‐5180
HIKMAT AL‐KHOURI          1630 E CHOCTAW DR                                                                                 LONDON            OH      43140‐8730
HIKMAT KASSEM             6941 FOX PATH                                                                                     CANTON            MI      48187‐2465
HIL BUILDERS INC          15112 JACKSON ST                                                                                  MIDWAY CITY       CA      92655‐1431
HILADO, BERNARD M         41318 IVYWOOD LN                                                                                  PLYMOUTH          MI      48170‐2691
HILADO, MARIA T           333 E 79TH ST APT 16O                                                                             NEW YORK          NY      10075‐0960
HILADO, MARIA TERESA B    333 E 79TH ST APT 16O                                                                             NEW YORK          NY      10075‐0960
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Name                    Address1                          Address2                 Address3   Address4               City             State Zip
HILAH WITHERELL         7366 5 POINT HWY                                                                             EATON RAPIDS      MI 48827‐8027
HILAIRE SAMAN           RT 4 R394 RD 16                                                                              NAPOLEON          OH 43545
HILAL IBRAHIM           6383 WOODWALL CT                                                                             BELLEVILLE        MI 48111‐5170
HILAL ISMAIL            20900 SHERWOOD RD                                                                            BELLEVILLE        MI 48111‐8634
HILAL M ALGHBIM         429 WOODLAWN AVE                                                                             YPSILANTI         MI 48198‐5993
HILAL, SUZANNE          16647 SW 90TH ST                                                                             MIAMI             FL 33196‐1012
HILAMAN, DOROTHY A      347 CHROME RD                                                                                RISING SUN        MD 21911‐1708
HILAMAN, KAREN L        2011 HARRISON ST                                                                             WAKEMAN           OH 44889‐9374
HILAND, ANNA J          38 SOLOFF DR                                                                                 TRENTON           NJ 08610‐4221
HILAND, ANNA J          38 SOLOFF DRIVE                                                                              TRENTON           NJ 08610‐4221
HILAND, CHARLES M       10788 CHERYL CT                                                                              CARMEL            IN 46033‐3915
HILAND, FLOYD           3129 EAGLE CREEK RD                                                                          LEAVITTSBURG      OH 44430‐9763
HILAND, HAROLD L        3214 PATTON DR                                                                               INDIANAPOLIS      IN 46224‐2151
HILAND, JEANETTE        3214 PATTON DR                                                                               INDIANAPOLIS      IN 46224‐2151
HILAND, MARVIN D        182 S COUNTY ROAD 550 E APT 213                                                              AVON              IN 46123‐7059
HILAND, MICKEY W        484 KAREN DR                                                                                 PITTSBORO         IN 46167‐8969
HILAND, PHILLIP K       3828 S LINCOLN BLVD                                                                          MARION            IN 46953‐5501
HILAND, PHILLIP KEVIN   3828 S LINCOLN BLVD                                                                          MARION            IN 46953‐5501
HILARD SHEPPARD         408 E 4TH ST                                                                                 MIO               MI 48647‐9330
HILARIDES, RUTH L       13151 E 12 MILE RD                                                                           WARREN            MI 48088‐3665
HILARIDES, WILFRED      13151 E 12 MILE RD                                                                           WARREN            MI 48088‐3665
HILARIDES, WILFRED A    13151 12 MILE RD                                                                             WARREN            MI 48088‐3665
HILARIO GARZA           2519 DIXON ST                                                                                PORT HURON        MI 48060‐7422
HILARIO L OH            2899 HASTINGS CT                                                                             OAKLAND           MI 48306‐4903
                                                                                                                     TOWNSHIP
HILARIO LUGO            1915 7TH ST SE                                                                               DECATUR           AL 35601‐3521
HILARIO MARTINEZ JR     PO BOX 443                                                                                   BRIDGEPORT        MI 48722‐0443
HILARIO SOTO            110 LEDYARD AVE                                                                              DEPEW             NY 14043‐2714
HILARIO SUBIALDEA       3414 ELLIS AVE                                                                               FORT WORTH        TX 76106‐4305
HILARIO, ESTEBAN        HAIGHT BROWN & BONESTEEL LLP      6080 CENTER DR STE 800                                     LOS ANGELES       CA 90045‐9205
HILARION CASILLAS JR    508 JENNE ST                                                                                 GRAND LEDGE       MI 48837‐1413
HILARY COGGINS          1230 GULF BLVD APT 1407                                                                      CLEARWATER BEACH FL 33767

HILARY DEEDS            210 GONDOLA DR                                                                               MARTINSBURG      WV   25404‐7216
HILARY F O'GRADY        8066 VANDEN DR                                                                               WHITE LAKE       MI   48386‐2547
HILARY FEDEWA           1002 ROBINS RD                                                                               LANSING          MI   48917‐2023
HILARY FEDEWA           19766 HEIGHTS CIRCLE DR                                                                      BIG RAPIDS       MI   49307‐9470
HILARY G SEAGER TTEE    GREENSLEEVES TRUST U/A            3 SUNNYVALE STREET                                         BEVERLY          MA   01915‐1430
HILARY GENTRUP          103 JONES RD                                                                                 MCDONOUGH        GA   30253‐4829
HILARY HEYNIGER         26451 MIDWAY ST                                                                              DEARBORN HTS     MI   48127‐2971
HILARY J KNEISLER       9633 HARBOUR COVE CT                                                                         YPSILANTI        MI   48197‐6901
HILARY L WAGNER         4232 COUNTY ROAD 18                                                                          CANANDAIGUA      NY   14424
HILARY LIPSCOMB         PO BOX 824                                                                                   BELTON           TX   76513‐0824
HILARY M TYLER          418 TOWN SOUTH DR                                                                            SHREVEPORT       LA   71115‐2929
HILARY O GRADY          8066 VANDEN DR                                                                               WHITE LAKE       MI   48386‐2547
HILARY PLATTE           1082 E GRAND RIVER AVE                                                                       PORTLAND         MI   48875‐1624
HILARY SCHMITZ          7202 W PARKS RD                                                                              SAINT JOHNS      MI   48879‐9562
HILARY SNYDER           8282 CALKINS RD                                                                              FLINT            MI   48532‐5520
HILARY TYLER            418 TOWN SOUTH DR                                                                            SHREVEPORT       LA   71115‐2929
HILAS, MARY S           3093 MEADOW LANE N.E.                                                                        WARREN           OH   44483‐2631
HILAS, MARY S           3093 MEADOW LN NE                                                                            WARREN           OH   44483‐2631
HILAS, MICHAEL N        3259 OVERLOOK DR NE                                                                          WARREN           OH   44483‐5621
HILASKI, BEULAINE M     4415 HERITAGE CT SW APT 4                                                                    GRANDVILLE       MI   49418‐2625
HILASKI, DAVID R        PO BOX 104                                                                                   BRADLEY          MI   49311‐0104
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Name                       Address1                         Address2                        Address3   Address4               City              State   Zip
HILASKI, LAURA A           5103 ANDOVER CT SW                                                                                 WYOMING            MI     49509‐5005
HILBER MICHAEL J           495 BROADLEAF DR                                                                                   ROCHESTER          MI     48306‐2818
HILBER SHAUNDRA            2113 BORDEAUX CT                                                                                   EAU CLAIRE         WI     54703‐6070
HILBER, KRISTINA E         1116 OLYMPIC CT                                                                                    OXFORD             MI     48371‐6089
HILBER, MICHAEL J          495 BROADLEAF DR                                                                                   ROCHESTER          MI     48306‐2818
HILBER, PATRICK M          1052 EAGLE NEST DR                                                                                 ROCHESTER          MI     48306‐1212
HILBERG, ROGER E           2046 SHARON COPLEY RD                                                                              MEDINA             OH     44256‐9716
HILBERG, ROGER E.          2046 SHARON COPLEY ROAD                                                                            MEDINA             OH     44256‐9716
HILBERS, CHARLES V         PO BOX 1000                                                                                        BELZONI            MS     39038‐1000
HILBERS, CHARLES V         P.O BOX 1000                                                                                       BELZONI            MS     39038‐9038
HILBERS, NAOMI             2559 FOX CHASE DR                                                                                  TROY               MI     48098‐2329
HILBERT MCGRAW             C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                         HOUSTON            TX     77007
                           BOUNDAS LLP
HILBERT BRADLEY J          HILBERT, BRADLEY J
HILBERT BUCHHOLZ           1316 E RACINE ST                                                                                   JANESVILLE        WI      53545‐4269
HILBERT COLLEGE            5200 S PARK AVE                                                                                    HAMBURG           NY      14075‐1519
HILBERT HUBBARD            3961 KLEIN AVE                                                                                     STOW              OH      44224‐3455
HILBERT JUNE               1592 MAIN ST                                                                                       SNOVER            MI      48472‐9215
HILBERT RAY W (439133)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA      23510
                                                            STREET, SUITE 600
HILBERT SR, CLARA M.       2586 ROBERTS CT                                                                                    HILLIARD          OH      43026‐7207
HILBERT SR, CLARA M.       2586 ROBERTS COURT                                                                                 HILLIARD          OH      43026
HILBERT WILLIAM (492032)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH      44067
                                                            PROFESSIONAL BLDG
HILBERT YOUNG JR           6866 OAK HILL RD                                                                                   LYLES             TN      37098‐1754
HILBERT, CATERINA          40 SAND PEBBLE LN                                                                                  HILTON            NY      14468‐8920
HILBERT, GARY R            7828 SWAMP RD                                                                                      BERGEN            NY      14416‐9353
HILBERT, JOHN A            7065 OSYKA PROGRESS RD                                                                             OSYKA             MS      39657‐7152
HILBERT, JOHN W            40 SAND PEBBLE LN                                                                                  HILTON            NY      14468‐8920
HILBERT, LOUISE M          7828 SWAMP RD                                                                                      BERGEN            NY      14416‐9353
HILBERT, MARGARETTA A      9129 E CHOF OVI DR                                                                                 TUCSON            AZ      85749‐9422
HILBERT, MARY A            P.O. BOX 503                                                                                       OSYKA             MS      39657
HILBERT, MARY A            PO BOX 503                                                                                         OSYKA             MS      39657‐0503
HILBERT, PAUL D            26813 CROSS BILL CT                                                                                HEBRON            MD      21830‐1096
HILBERT, RAY W             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA      23510‐2212
                                                            STREET, SUITE 600
HILBERT, UDO H             747 W MONROVIA AVE                                                                                 GLENDALE           WI     53217‐4432
HILBERT, VIRGINIA          226 ARMSTRONG AVE                                                                                  BRUNSWICK          GA     31525‐8865
HILBERT, VIRGINIA A        181 BRUSH HOLLOW RD                                                                                ROCHESTER          NY     14626‐3021
HILBERT, WANDA J           4102 MOUNT READ BLVD                                                                               ROCHESTER          NY     14616‐3154
HILBIG, D D                11075 N OLYMPIC PL                                                                                 TUCSON             AZ     85737‐9036
HILBINGER DONALD & GRACE   5065 S KALIGA DR                                                                                   SAINT CLOUD        FL     34771‐7835
HILBORN, ALBERTO C         5255 MAPLE GROVE RD                                                                                SILVERWOOD         MI     48760‐9706
HILBORN, CARRIE A          3520 EASTERN AVE                                                                                   ROCHESTER HILLS    MI     48307‐5612
HILBORN, CARRIE ANN        3520 EASTERN AVE                                                                                   ROCHESTER HILLS    MI     48307‐5612
HILBORN, CHAD W            1350 WEEDEN RD                                                                                     CARO               MI     48723‐9585
HILBORN, CLAIR J           1012 STARKHILL DR                                                                                  KERNERSVILLE       NC     27284‐2353
HILBORN, DWIGHT W          259 MEADOW LAKE DR                                                                                 SEGUIN             TX     78155‐9203
HILBORN, ERVIN             2609 MIDWOOD ST                                                                                    LANSING            MI     48911‐3421
HILBORN, GARY E            4416 ISLAND VIEW DR                                                                                FENTON             MI     48430‐9146
HILBORN, LINDA L           G5495 POTTER ROAD                                                                                  FLINT              MI     48506
HILBORN, RALPH J           12041 CRAWFORD RD                                                                                  OTISVILLE          MI     48463‐9730
HILBORN, RICHARD D         3520 EASTERN AVE                                                                                   ROCHESTER HILLS    MI     48307‐5612
HILBORN, RICHARD DALE      3520 EASTERN AVE                                                                                   ROCHESTER HILLS    MI     48307‐5612
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Name                            Address1                             Address2                        Address3                Address4                 City               State   Zip
HILBORN, RICHARD F              10101 S BYRON RD                                                                                                      DURAND              MI     48429‐9440
HILBRAND, SANDRA L              12380 ELDER AVE                                                                                                       GRANT               MI     49327
HILBRANDS WIL                   4875 FULTON ST E                                                                                                      ADA                 MI     49301‐9062
HILBRANDT JR, ALBERT E          306 GLENNHURST DR                                                                                                     ROSCOMMON           MI     48653‐9244
HILBRANDT, RONALD G             7361 DUTCH RD                                                                                                         SAGINAW             MI     48609‐9581
HILBRANDT, WILLIAM P            6109 WILLOW CREEK DR                                                                                                  CANTON              MI     48187‐3355
HILBRECHT, LEONARD C            2211 S DORT HWY LOT A‐8                                                                                               FLINT               MI     48507‐5228
HILBRECHT, LOUVENIA A           568 SENECA DR                                                                                                         MONTPELIER          OH     43543‐9444
HILBRUGER                       203 SUMMIT STREET                                                                                                     BATAVIA             NY     14020
HILBRUNNER, WILLIAM J           4784 EDSON RD                                                                                                         KENT                OH     44240‐7045
HILBUN, LESLIE R                200 E CEDAR DR                                                                                                        TUTTLE              OK     73089‐7940
HILBURGER JR, KENNETH C         5333 COUNTY ROAD 36                                                                                                   HONEOYE             NY     14471‐9379
HILBURGER JR, KENNETH CHARLES   5333 COUNTY ROAD 36                                                                                                   HONEOYE             NY     14471‐9379
HILBURN JR, ALEXANDRO S         11179 SEYMOUR RD                                                                                                      MONTROSE            MI     48457‐9127
HILBURN SR, RANDLE              48606 CEMETERY RD                                                                                                     MAUD                OK     74854
HILBURN SR, RANDLE              ROUTE 1 BOX 186C                                                                                                      MAUD                OK     74854
HILBURN TRAVIS (345060)         WILLIAMS JOHN E JR                   8441 GULF FWY STE 600                                                            HOUSTON             TX     77017‐5051
HILBURN, DIANE M                1633 FOREST GREEN DR 1633                                                                                             CORAOPOLIS          PA     15108
HILBURN, JUAN R                 1229 HOWARD ST                                                                                                        SAGINAW             MI     48601‐2629
HILBURN, REX E                  2707 NORTHRIDGE RD                                                                                                    SHAWNEE             OK     74804‐2295
HILBURN, STANTON H              494 ROYAL OAKS TER                                                                                                    STONE MOUNTAIN      GA     30087‐2620
HILBURN, TRAVIS                 WILLIAMS JOHN E JR                   8441 GULF FWY STE 600                                                            HOUSTON             TX     77017‐5051
HILBURN, WALTER E               SUTTER & ENSLEIN                     1598 KANAWHA BLVD EAST, SUITE                                                    CHARLESTON          WV     25311
HILBURREL JACOBS                THE MADEKSHO LAW FIRM                8866 GULF FREEWAY STE 440                                                        HOUSTON             TX     77017
HILCHEY, ROBERT A               7051 N PEARL RD                                                                                                       OAKFIELD            NY     14125‐9744
HILCO DETROIT                   PO BOX 42001                                                                                                          DETROIT             MI     48242
HILCO FINANCE LLC               ATTN: CORPORATE OFFICER/AUTHORIZED   31 PROTON ST N                                          DUNDALK ON N0C 1B0
                                AGENT                                                                                        CANADA
HILCO TRADING, LLC              ATTN: JOSEPH A. MALFITANO            5 REVERE DR                                                                      NORTHBROOK         IL      60062
HILCORP ENERGY COMPANY          PAM MATULA                           1201 LOUISIANA                                                                   HOUSTON            TX      77002
HILCZMAYER, DORIS H             1705 COLVIN BLVD                                                                                                      BUFFALO            NY      14223‐1107
HILD JAMES L                    8628 FAIR RD                                                                                                          STRONGSVILLE       OH      44149‐1227
HILD JUERGEN                    IM ELLENBUEGEL 56                    D‐63505 LANGENSELBOLD           GERMANY / DEUTSCHLAND
HILD, ANGELA D                  1957 TUTTLE AVENUE                                                                                                    DAYTON             OH      45403‐3431
HILD, CAROL L                   4438 HOFFMAN DR                                                                                                       DAYTON             OH      45415‐1637
HILD, CLIFFORD C                20213 KENOSHA ST                                                                                                      HARPER WOODS       MI      48225‐2245
HILD, D M                       PO BOX 1096                                                                                                           WEST CHESTER       OH      45071
HILD, DAVID L                   4453 WILMINGTON PIKE APT A                                                                                            DAYTON             OH      45440‐1930
HILD, JAMES L                   8628 FAIR RD                                                                                                          STRONGSVILLE       OH      44149‐1227
HILD, SHIRLEE J                 13630 OAK ST                                                                                                          WHITTIER           CA      90605‐1925
HILDA ABELLO                    1200 SW 112TH PL                                                                                                      OKLAHOMA CITY      OK      73170‐4410
HILDA AILOR                     4111 E 200 S                                                                                                          KOKOMO             IN      46902‐4276
HILDA ARKSEY                    9925 SE 167TH LN                                                                                                      SUMMERFIELD        FL      34491‐6544
HILDA ARMES                     3655 WALLWERTH DR                                                                                                     TOLEDO             OH      43612‐1074
HILDA ARTINO                    669 LANDER DR                                                                                                         HIGHLAND HTS       OH      44143‐2040
HILDA BAILEY                    6301 BEARD RD                                                                                                         BYRON              MI      48418‐9777
HILDA BATES                     11616 TWISTED OAK RD                                                                                                  OKLAHOMA CITY      OK      73120‐5610
HILDA BAUMGART                  425 IROQUOIS AVE                                                                                                      PRUDENVILLE        MI      48651
HILDA BOECK                     35829 DOYLE DR                                                                                                        STERLING HEIGHTS   MI      48310‐5157
HILDA BRAATZ                    614 S BOSTWICK ST                                                                                                     CHARLOTTE          MI      48813‐1888
HILDA BUSH                      7971 CHESTNUT RIDGE RD                                                                                                GASPORT            NY      14067‐9277
HILDA C DUNN                    23 CUTTER DRIVE                                                                                                       ROCHESTER          NY      14624‐4412
HILDA C STEWART                 10130 MAD RIVER RD                                                                                                    NEW VIENNA         OH      45159
HILDA CASE                      APT 402                              425 EAST WARWICK DRIVE                                                           ALMA               MI      48801‐1052
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Name                                Address1                         Address2                     Address3         Address4                 City             State Zip
HILDA CHAPA MEDRANO                 COLOMBIA 710 COL ANZALDUAS                                                     REYNOSA TAMAULIPES 88780
                                                                                                                   MEXICO
HILDA CHASE                         34 BENWOOD DRIVE                 APT 404                                                                BUFFALO           NY 14214
HILDA CLABAUGH                      2703 KENNYS HILL DR                                                                                     WESTMINSTER       MD 21157‐6657
HILDA COLLINS                       36150 ZION RD                                                                                           RUTLAND           OH 45775‐9653
HILDA COLLINS                       6249 E ALBAIN RD                                                                                        MONROE            MI 48161‐9503
HILDA COWAN                         3507 INDIAN WELLS DR                                                                                    ARLINGTON         TX 76017‐2436
HILDA CRAIG                         2812 STEVENSON ST                                                                                       FLINT             MI 48504‐7513
HILDA CRAWFORD                      4683 SEYMORE LK RD                                                                                      OXFORD            MI 48371
HILDA CUTLER                        224 W OBANNON ST                                                                                        MORGANFIELD       KY 42437‐1421
HILDA D GUERRA                      PO BOX 2112                                                                                             EDISON            NJ 08818‐2112
HILDA DANIEL                        103 PROVIDENCE CT                                                                                       CARROLLTON        GA 30116‐1804
HILDA DAUGHERTY                     4342 MARTINSBURG PIKE                                                                                   CLEAR BROOK       VA 22624‐1530
HILDA DOLSON                        1900 RANDELLIA DR APT#1050                                                                              FORT WAYNE        IN 46805
HILDA DUNCAN                        1080 W 800 S                                                                                            BUNKER HILL       IN 46914‐9425
HILDA DUNN                          23 CUTTER DR                                                                                            ROCHESTER         NY 14624‐4412
HILDA E CRANDALL                    4635 SPRING CANYON HTS APT 104                                                                          COLORADO SPRINGS CO 80907‐9402

HILDA EDWARDS                       2300 PARKVIEW LN                 PARK VIEW NURSING HOME                                                 ELWOOD            IN   46036‐1378
HILDA ENTWISTLE                     3333 148TH ST SW APT 418                                                                                LYNNWOOD          WA   98087‐4860
HILDA EVARO                         1705 MEADOW CREST LN                                                                                    MANSFIELD         TX   76063‐2942
HILDA F MONTGOMERY                  200 WARD ST                                                                                             NEW BRUNSWICK     NJ   08901‐3016
HILDA FIERMAN AND LEAH G LIWERANT   55 E 9TH ST APT 4K                                                                                      NEW YORK          NY   10003‐6316

HILDA FREEMAN                       6143 PEBBLESHIRE CIR                                                                                    GRAND BLANC       MI   48439‐4816
HILDA FUNES                         24027 DEPEW AVE                                                                                         DOUGLASTON        NY   11363‐1631
HILDA GORDON                        14180 B NESTING WAY                                                                                     DELRAY BEACH      FL   33484
HILDA GREEN                         37 MILLE ROCHES RD               BOX 12                                        LONG SAULT ON K0C1P0
                                                                                                                   CANADA
HILDA GREEN                         200 SETH GREEN DR APT 1106                                                                              ROCHESTER         NY   14621‐2102
HILDA GREGORY                       7 ROBERT C KERI CT                                                                                      SOMERSET          NJ   08873‐2012
HILDA GRIBBLE                       1707 LINDA LN                                                                                           ASHLAND           OH   44805‐4500
HILDA GUERRA                        PO BOX 2112                                                                                             EDISON            NJ   08818‐2112
HILDA GUERRA                        C/O WILENTZ GOLDMAN & SPITZER    90 WOODBRIDGE CENTER DRIVE   ATTN D PACHECO                            WOODBRIDGE        NJ   07095
HILDA HACKLEMAN                     515 CENTRAL AVE                                                                                         LAPEL             IN   46051‐9509
HILDA HAMMOND                       14 KNAPP RD                                                                                             AKRON             NY   14001‐1402
HILDA HARDIN                        516 PRESTON BAGGETT RD                                                                                  TENNESSEE RIDGE   TN   37178‐6002
HILDA HARKE                         4088 TIPTON WOODS DR                                                                                    ADRIAN            MI   49221‐9543
HILDA HARRIS                        5302 E ELENA AVE                                                                                        MESA              AZ   85206‐2968
HILDA HENDERSON                     404 AUKERMAN ST                                                                                         EATON             OH   45320‐1917
HILDA HESSELTINE                    245 LAGOON BEACH DR                                                                                     BAY CITY          MI   48706‐1404
HILDA HILLIER                       128 RIVERVIEW CIR                                                                                       SALINE            MI   48176‐9139
HILDA HOLNAGEL                      206 BURLEIGH CT                                                                                         LOUISVILLE        KY   40245‐4156
HILDA HOUSE                         36332 BROOKVIEW DR                                                                                      LIVONIA           MI   48152‐2772
HILDA J LAWRENCE                    8403 PLANO RD                                                                                           BOWLING GREEN     KY   42104‐6434
HILDA J WHALEY                      PO BOX 185                                                                                              GREENWOOD         LA   71033‐0185
HILDA JOHNSON                       PO BOX 3100                                                                                             SOUTHFIELD        MI   48037‐3100
HILDA JOHNSON                       9857 N STATE ROAD 37                                                                                    ELWOOD            IN   46036‐8822
HILDA JONES                         261 COUNTY ROAD 1173                                                                                    CULLMAN           AL   35057‐7033
HILDA JUDAH                         805 SCHOOL ST                    APT 1211                                                               RAHWAY            NJ   07065
HILDA KEMPHER                       4417 KEVON DR                    C/O RONALD KEMPHER                                                     ANDERSON          IN   46013‐1426
HILDA KENNEDY                       PO BOX 3871                                                                                             HIGHLAND PARK     MI   48203‐0871
HILDA KLEIN                         4951 COSHOCTON DR                                                                                       WATERFORD         MI   48327‐3325
HILDA LACHEY                        2171 VIENNA PKWY                                                                                        DAYTON            OH   45459‐1367
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Name                 Address1                        Address2                     Address3           Address4               City               State   Zip
HILDA LARGE          1643 N M 129                                                                                           CEDARVILLE          MI     49719‐9777
HILDA LAWRENCE       8403 PLANO RD                                                                                          BOWLING GREEN       KY     42104‐6434
HILDA LEE            2500 MANN RD LOT 99                                                                                    CLARKSTON           MI     48346‐4247
HILDA LIEBAL         3823 NANCY AVE                                                                                         WILMINGTON          DE     19808‐4627
HILDA LINZEY         6138 COVENTRY DR                                                                                       SWARTZ CREEK        MI     48473‐8851
HILDA LOBUSH         249 DURANT AVE                                                                                         SAN LEANDRO         CA     94577‐1829
HILDA LOOP           3174 PECK RD                                                                                           SYRACUSE            NY     13209
HILDA LOPEZ          2130 SW 93RD WAY APT 1302                                                                              DAVIE               FL     33324‐6809
HILDA LOPEZ          7434 W 59TH ST                                                                                         SUMMIT               IL    60501‐1418
HILDA M ABELLO       1200 SW 112TH PL                                                                                       OKLAHOMA CITY       OK     73170‐4410
HILDA M CRAWFORD     4683 SEYMORE LK RD                                                                                     OXFORD              MI     48371
HILDA M HARNED       33 EUGENIA AVE                                                                                         HODGENVILLE         KY     42748
HILDA MAE LEE        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS.         OH     44236
HILDA MARMINO        3817 SUMMIT RIDGE CR                                                                                   DEPOE BAY           OR     97341
HILDA MARTIN         3614 N EMERSON AVE                                                                                     INDIANAPOLIS        IN     46218‐1736
HILDA MCDANIEL       111 EAST 12TH STREET                                                                                   GEORGETOWN           IL    61846‐1114
HILDA MCGEE          1001 DURRELL ST                                                                                        AUSTELL             GA     30106‐1406
HILDA MENNE          10406 HILL RD                                                                                          GOODRICH            MI     48438‐9712
HILDA MEZA           1615 N 75TH DR                                                                                         KANSAS CITY         KS     66112‐2201
HILDA MIKULSKI       40 ELLSINORE ST 14606                                                                                  ROCHESTER           NY     14606
HILDA MILLER         2770 INDIANWOOD DR                                                                                     NORTH FORT MYERS    FL     33917‐1881

HILDA MITCHELL       18 MECHANIC ST                                                                                         BRISTOL            CT      06010‐6633
HILDA MONTGOMERY     PO BOX 517                      25 W 9TH ST                                                            LAPEL              IN      46051‐0517
HILDA MONTNEY        103 DEER RUN                                                                                           LAPEER             MI      48446‐4106
HILDA MOODY          2045 STROUD RD                                                                                         JACKSON            GA      30233‐2814
HILDA MORTON         1155 HILLSBORO MILE APT 309                                                                            HILLSBORO BEACH    FL      33062‐1743
HILDA MOSER          28167 STATE HIGHWAY 190                                                                                JAMESPORT          MO      64648‐7239
HILDA MOW            118 AL HIGHWAY 69 N                                                                                    CULLMAN            AL      35055‐0772
HILDA MURPHREE       538 MURPHREE RD                                                                                        SAINT JO           TX      76265‐6393
HILDA MYERS          339 PROSPECT STREET                                                                                    OVID               MI      48866‐9581
HILDA NEDDO          180SO S COLONY DR APT 427                                                                              SAGINAW            MI      48603
HILDA NUNEZ          2220 SATURN AVE                                                                                        HUNTINGTON PARK    CA      90255‐3721

HILDA OKER           17003 N 97TH AVE                                                                                       SUN CITY           AZ      85373‐2265
HILDA ORDWAY         64 BRIGHAM ST                                                                                          HUDSON             MA      01749‐2710
HILDA OURS           6080 LONDON GROVEPORT RD                                                                               GROVE CITY         OH      43123‐8947
HILDA PALING         151 S MAPLELEAF RD                                                                                     LAPEER             MI      48446‐3511
HILDA PEREZ          5009 BROOKHEAD LN                                                                                      CIBOLO             TX      78108‐2189
HILDA PETHERS        6002 N DORT HWY                                                                                        FLINT              MI      48505‐3068
HILDA PETRICEVIC     PO BOX 763                                                                                             FREELAND           MI      48623‐0763
HILDA PFEFFER TTEE   HILDA PFEFFER REV TRUST         UAD 4/3/2008                 4 LIEDERKRANZ LN                          MILLSTADT          IL      62260‐2259
HILDA PIPER          35510 GLEN ST                                                                                          WESTLAND           MI      48186‐4196
HILDA PITTS          280 CHARWOOD CIR                                                                                       ROCHESTER          NY      14609
HILDA QUALLS         45 S OLD KENTUCKY RD                                                                                   COOKEVILLE         TN      38501‐5804
HILDA RAUSINI        185 WESTGRILL DR                                                                                       PALM COAST         FL      32164‐4009
HILDA REYES          6203 ST LEONARD DR                                                                                     ARLINGTON          TX      76001‐7848
HILDA RIPPY          6273 KINGS POINTE RD                                                                                   GRAND BLANC        MI      48439‐8795
HILDA ROBINSON       5227 N 46TH ST                                                                                         MILWAUKEE          WI      53218‐3422
HILDA ROELANT        41739 WESTBURY LN 19                                                                                   CLINTON TOWNSHIP   MI      48038

HILDA ROPER          AS ABOVE                        2313 TIMBER SHADOWS DRIBE                                              KINGWOOD           TX      77339
HILDA SALAZAR        1688 W 20TH ST                                                                                         LOS ANGELES        CA      90007‐1101
HILDA SAUER          5759 MITZI LN                                                                                          HILLSBORO          OH      45133‐9348
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Name                              Address1                          Address2                     Address3                   Address4                City               State   Zip
HILDA SCHILLING                   814 E M 30                                                                                                        GLADWIN             MI     48624‐9248
HILDA SEKERAK                     844 NOTTINGHAM DR                                                                                                 MEDINA              OH     44256‐3146
HILDA SHAVER                      6464 NIGHTINGALE DRIVE                                                                                            FLINT               MI     48506‐1719
HILDA SPECK                       409 RIVER BEND DR                                                                                                 FLUSHING            MI     48433
HILDA STEWART                     10130 MAD RIVER RD                                                                                                NEW VIENNA          OH     45159‐9479
HILDA STREET                      35 ANCHOR INN RD                                                                                                  LAKE WALES          FL     33898‐8359
HILDA SUTTON                      PO BOX 612                                                                                                        LIBERTY             KY     42539‐0612
HILDA TAYLOR                      5323 TORREY RD                                                                                                    FLINT               MI     48507‐5953
HILDA TAYLOR LAURENCE TRUST U/A   HILDA T LAURENCE                  5821 FREDERICKSBURG DR                                                          NASHVILLE           TN     37215
HILDA THEIL                       340 S REYNOLDS RD LOT 175                                                                                         TOLEDO              OH     43615‐5949
HILDA TONER                       76 GLADSTONE STREET                                                                                               BUFFALO             NY     14207‐2217
HILDA ULLMER                      15245 CLINTON RIVER RD                                                                                            CLINTON TWP         MI     48038‐3135
HILDA VARY                        759 LONGSTRETH RD                                                                                                 WARMINSTER          PA     18974‐2917
HILDA VEGA                        5 STONE HILL RD APT 201                                                                                           WASHINGTONVILLE     NY     10992‐1209

HILDA WARNEMUENDE                 790 CHERRY GROVE RD                                                                                               CANTON              MI     48188‐5266
HILDA WASHBURN                    23200 DRAKE RD APT 134                                                                                            FARMINGTON HILLS    MI     48335‐4036

HILDA WHALEY                      PO BOX 185                                                                                                        GREENWOOD          LA      71033‐0185
HILDA WHITE                       601 HIGHLAND BLVD                                                                                                 DANVILLE           IL      61832‐7238
HILDA WHITE                       105 N FRANKLIN ST RM1008                                                                                          WILMINGTON         DE      19805
HILDA WHITTIMORE                  3666 MANCHESTER DR                                                                                                BRUNSWICK          OH      44212‐4126
HILDA WILKINS                     723 BLUE ASH DR SE                                                                                                KENTWOOD           MI      49548‐7613
HILDA WILLIAMS                    990 W OCOTILLO RD, APT 2030                                                                                       CHANDLER           AZ      85249‐3713
HILDA WILLIAMS                    7231 BALBOA BLVD # C                                                                                              VAN NUYS           CA      91406‐2702
HILDA WILMINGTON                  C/O BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS         OH      44236
HILDA ZAMMIT                      36359 ALMONT DR                                                                                                   STERLING HTS       MI      48310‐4609
HILDABRIDLE, LORINE A             400 E ROUSE ST                                                                                                    LANSING            MI      48910‐4004
HILDABRIDLE, SUSAN                127050 170TH AVE                                                                                                  LEROY              MI      49655
HILDAGARD SCHNEIDER               4904 KARINGTON PLACE COURT                                                                                        SAINT LOUIS        MO      63129‐7106
HILDAGARD WILKINS                 6304 DICKINSON WAY                                                                                                VIRGINIA BEACH     VA      23464‐4614
HILDAGARD WIRGAU                  4086 PINKERTON ALY                C/O RALPH WAGNER                                                                HAWKS              MI      49743‐9608
HILDAH HARRISON                   601 S FRANKLIN AVE                                                                                                FLINT              MI      48503‐5359
HILDE BREIMAIER                   7970 WESTFIELD LANDING RD                                                                                         MEDINA             OH      44256‐8512
HILDE CHAD & VALORIE AND KAHN &   16133 VENTURA BLVD STE 700                                                                                        ENCINO             CA      91436‐2406
ASSOCIATES
HILDE CHAD D                      HILDE, VALORIE G                  KAHN & ASSOCIATES LLC        16133 VENTURA BLVD SUITE                           ENCINO              CA     91436
                                                                                                 700
HILDE CHAD D                      HILDE, CHAD D                     16133 VENTURA BLVD STE 700                                                      ENCINO              CA     91436‐2406
HILDE COLOMBO                     11 OLD MILL MNR                                                                                                   HONEOYE             NY     14471‐9557
HILDE DIMEGLIO                    687 MOUNT RD                                                                                                      ASTON               PA     19014‐1134
HILDE KROHN                       5911 WELCOME RD                   APT 32‐I                                                                        BRADENTON           FL     34207
HILDE LUKAT                       AM ALTEN HAFEN 115                                                                        27568 BREMERHAVEN
                                                                                                                            GERMANY
HILDE MC LEAR                     4167 HIGHWAY MM                                                                                                   MOUNTAIN GROVE     MO      65711‐2752

HILDE MUELLER                     416 E 66TH ST                                                                                                     ANDERSON           IN      46013‐3513
HILDE SCHADEL                     7900 WALNUT ST UNIT 6                                                                                             YOUNGSTOWN         OH      44512‐7733
HILDE, CHAD D                     KAHN & ASSOCIATES LLC             16133 VENTURA BLVD STE 700                                                      ENCINO             CA      91436‐2406
HILDE, VALORIE G                  KAHN & ASSOCIATES LLC             16133 VENTURA BLVD STE 700                                                      ENCINO             CA      91436‐2406
HILDEAN CHAPMAN                   BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HEIGHTS     OH      44236
HILDEBERTO MEDRANO                2100 GALLOWAY ST                                                                                                  AUBURN HILLS       MI      48326‐2422
HILDEBERTO MEDRANO SR.            PO BOX 210248                                                                                                     AUBURN HILLS       MI      48321‐0248
HILDEBRAN, DARLENE A              PO BOX 112                                                                                                        HADLEY             PA      16130‐0112
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Name                           Address1                       Address2                      Address3   Address4               City             State Zip
HILDEBRAND DAVID               47050 DENTON RD                                                                                BELLEVILLE        MI 48111‐2202
HILDEBRAND GEORGE J (429096)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510
                                                              STREET, SUITE 600
HILDEBRAND JR, JOSEPH L        1243 PICKWICK PL                                                                               FLINT            MI   48507‐3776
HILDEBRAND WILLIAM             22291 SW 162ND AVE                                                                             MIAMI            FL   33170
HILDEBRAND, ALLEN S            744 CHEYENNE PL                                                                                TIPP CITY        OH   45371
HILDEBRAND, CARLYE J           7833 WEST STREET ROUTE 571                                                                     WEST MILTON      OH   45383
HILDEBRAND, CAROL L            3168 COOMER RD                                                                                 NEWFANE          NY   14108‐9614
HILDEBRAND, CHRISTOPHER J      196 MEADOWVIEW DR                                                                              HARRISBURG       PA   17111‐5078
HILDEBRAND, DAVID A            47050 DENTON RD                                                                                BELLEVILLE       MI   48111‐2202
HILDEBRAND, DAVID ARTHUR       47050 DENTON RD                                                                                BELLEVILLE       MI   48111‐2202
HILDEBRAND, DENNIS J           11032 N DITMAN CT                                                                              KANSAS CITY      MO   64157
HILDEBRAND, DIANE M            100 WILLOW GREEN DR UNIT F                                                                     CONWAY           SC   29526‐9374
HILDEBRAND, DOREEN A           9223 W PEARSON RD                                                                              WEST MILTON      OH   45383‐9643
HILDEBRAND, DOROTHY R          # 5 STEEPLECHASE                                                                               NORMAN           OK   73072‐2843
HILDEBRAND, DOUGLAS J          3017 TALON CIR                                                                                 ORION            MI   48360‐2608
HILDEBRAND, ETHEL F            5017 TWIN CREEK RD                                                                             W ALEXANDRIA     OH   45381‐9569
HILDEBRAND, FRANK R            5017 TWIN CREEK RD                                                                             W ALEXANDRIA     OH   45381‐9569
HILDEBRAND, GARY J             35489 BROOKE CT                                                                                NEW BALTIMORE    MI   48047‐5568
HILDEBRAND, GAYLE L            2674 GETTYSBURG PITSBURG RD                                                                    ARCANUM          OH   45304‐9696
HILDEBRAND, GEORGE J           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA   23510‐2212
                                                              STREET, SUITE 600
HILDEBRAND, HAROLD L           BOONE ALEXANDRA                205 LINDA DR                                                    DAINGERFIELD     TX   75638‐2107
HILDEBRAND, HAZEL C            413 LINDA AVE                                                                                  N LINTHICUM      MD   21090‐1727
HILDEBRAND, HELEN L            4510 CATHY DR.                                                                                 GRANBURY         TX   76049‐5044
HILDEBRAND, HELEN L            4510 CATHY DR                                                                                  GRANBURY         TX   76049‐5044
HILDEBRAND, HERBERT E          2674 GETTYSBURG PITSBURG RD                                                                    ARCANUM          OH   45304‐5304
HILDEBRAND, HERSCHEL E         22048 ESTER RIDGE RD                                                                           SUNMAN           IN   47041‐9050
HILDEBRAND, JAMES D            573 RIO LINDA LN                                                                               GRAND JUNCTION   CO   81507‐1231
HILDEBRAND, JANET A            1245 CROOKED LAKE RD                                                                           FENTON           MI   48430‐1215
HILDEBRAND, JEFFREY E          6761 N COUNTY ROAD 400 W                                                                       NORTH SALEM      IN   46165‐9799
HILDEBRAND, JERRY L            3911 PRESERVE WAY                                                                              ESTERO           FL   33928‐3304
HILDEBRAND, JOHN S             7833 W STATE ROUTE 571                                                                         WEST MILTON      OH   45383‐9742
HILDEBRAND, KATHLYNE M         3412 HACKNEY DR                                                                                KETTERING        OH   45420‐1028
HILDEBRAND, KENNETH D          829 N BAUMAN ST                                                                                INDIANAPOLIS     IN   46214‐3715
HILDEBRAND, KIMBERLY L
HILDEBRAND, LARRY D            PO BOX 320883                                                                                  FLINT            MI   48532‐0016
HILDEBRAND, LARRY D            15709 PLEASANT VALLEY RD                                                                       ATLANTA          MI   49709
HILDEBRAND, LINDA              573 RIO LINDA LN                                                                               GRAND JUNCTION   CO   81507‐1231
HILDEBRAND, LINDA M            183 BUCK RIDGE DR                                                                              DRUMS            PA   18222‐1014
HILDEBRAND, MARGARET           190 DELAWARE AVE                                                                               OAKHURST         NJ   07755‐1345
HILDEBRAND, MARY L             300 DEHOFF DR.                                                                                 YOUNGSTOWN       OH   44515‐3911
HILDEBRAND, MARY L             300 DEHOFF DR                                                                                  YOUNGSTOWN       OH   44515‐3911
HILDEBRAND, RICHARD L          3478 BARCEY CT                                                                                 BURTON           MI   48529‐1316
HILDEBRAND, RICHARD M          1325 SHUMWAY RD                                                                                ADRIAN           MI   49221‐9664
HILDEBRAND, ROBERT F           218 NAVAHO DR                                                                                  LOVELAND         OH   45140
HILDEBRAND, ROBERT W           3168 COOMER RD                                                                                 NEWFANE          NY   14108‐9614
HILDEBRAND, SCOTT R            3412 HACKNEY DR                                                                                KETTERING        OH   45420‐1028
HILDEBRAND, SHIRLEY J          311 W CHERRY ST                                                                                TROY             MO   63379‐1203
HILDEBRAND, SHIRLEY J          311 WEST CHERRY                                                                                TROY             MO   63379‐1203
HILDEBRAND, STEPHEN R          9223 W PEARSON RD                                                                              WEST MILTON      OH   45383‐9643
HILDEBRAND, TERESA             371 UPPER VALLEY RD                                                                            ROCHESTER        NY   14624‐2307
HILDEBRAND, TERRY L            9061 FREDERICK GARLAND RD                                                                      ENGLEWOOD        OH   45322‐9624
HILDEBRAND, VIRGINIA L         2200A W STASSNEY LN                                                                            AUSTIN           TX   78745‐3540
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Name                        Address1                        Address2                      Address3   Address4                    City              State   Zip
HILDEBRAND,SCOTT R          3412 HACKNEY DR                                                                                      KETTERING          OH     45420‐1028
HILDEBRANDT INTERNATIONAL   200 COTTONTAIL LANE                                                                                  SOMERSET           NJ     08873
HILDEBRANDT, DANIEL M       2760 YEARLING AVE                                                                                    BOWLING GREEN      KY     42101‐0779
HILDEBRANDT, DANIEL MARK    2760 YEARLING AVE                                                                                    BOWLING GREEN      KY     42101‐0779
HILDEBRANDT, DOLORES E      9115 W CERMAK RD APT 4                                                                               NORTH RIVERSIDE     IL    60546‐1097
HILDEBRANDT, ELLEN J        44717 MORANG DR                                                                                      STERLING HTS       MI     48314‐1554
HILDEBRANDT, FLORENCE I     207 NALDRETTE                                                                                        DURAND             MI     48429‐1674
HILDEBRANDT, FLORENCE I     207 E NALDRETTE ST                                                                                   DURAND             MI     48429‐1674
HILDEBRANDT, GARY W         PO BOX 743                                                                                           LEWISTON           NY     14092‐0743
HILDEBRANDT, GERMAINE L     1446 VISTAVIEW DRIVE                                                                                 ROCHESTER HLS      MI     48306‐4355
HILDEBRANDT, JAMES W        11133 IRENE AVE                                                                                      WARREN             MI     48093‐2558
HILDEBRANDT, JOHN A         3648 WESTGATE PL                                                                                     TECUMSEH           MI     49286‐9589
HILDEBRANDT, JOSEPHINE      18201 MANORWOOD CIR                                                                                  CLINTON TWP        MI     48038‐1283
HILDEBRANDT, LAWRENCE L     13640 HUNTERS XING                                                                                   BATH               MI     48808‐8455
HILDEBRANDT, LAWRENCE LEE   13640 HUNTERS XING                                                                                   BATH               MI     48808‐8455
HILDEBRANDT, MARK E         PO BOX 2420                                                                                          EAGLE              ID     83616
HILDEBRANDT, MARK E         2125 E MOZART CT                                                                                     MERIDIAN           ID     83646‐1140
HILDEBRANDT, MARLENE J      13330 DENVER DR                                                                                      HARTLAND           MI     48353‐3793
HILDEBRANDT, MARVIN R       11509 CRYSTAL LAKE DR                                                                                JEROME             MI     49249‐9853
HILDEBRANDT, OLGA A         7 WILLIAM ST APT 222                                                                                 NUTLEY             NJ     07110‐2758
HILDEBRANDT, PHYLLIS J      1056 N US HIGHWAY 421                                                                                DELPHI             IN     46923‐8721
HILDEBRANDT, PHYLLIS J      1056 N US HWY 421                                                                                    DELPHI             IN     46923‐8721
HILDEBRANDT, RAYMOND E      8836 EMBASSY DRIVE                                                                                   STERLING HTS       MI     48313‐3227
HILDEBRANDT, RICHARD L      145 PARAGON DR                                                                                       TROY               MI     48098‐4681
HILDEBRANDT, ROBERT D       1411 CRESTBROOK LN                                                                                   FLINT              MI     48507‐2321
HILDEBRANDT, RUTH E         11650 CRYSTAL LAKE DR                                                                                JEROME             MI     49249‐9852
HILDEBRANDT, SYLVIA P       4120 FOREST AVE                                                                                      DOWNERS GROVE       IL    60515‐2051
HILDEBRANDT, THOMAS L       121 EWAN AVE                                                                                         SCOTIA             CA     95565‐9708
HILDEBRANDT, WILLIAM V      44717 MORANG DR                                                                                      STERLING HTS       MI     48314‐1554
HILDEBRANT, BARENT L        PO BOX 189                                                                                           BARKER             NY     14012‐0189
HILDEBRANT, EMIKO           1315 LAJOLLA CIRCLE                                                                                  LADY LAKE          FL     32159‐8718
HILDEBRANT, JOHN R          1575 N HICKORY RD APT D1                                                                             OWOSSO             MI     48867‐8802
HILDEBRANT, KENNETH         1014 RICHARDSON RD                                                                                   OWOSSO             MI     48867‐9706
HILDEBRANT, LAWRENCE        645 N RIVER RD                                                                                       SAGINAW            MI     48609‐6825
HILDEBRANT, PHILLIP C       1048 W JULIAH AVE                                                                                    FLINT              MI     48505
HILDEBRANT, WAYNE A         5911 REYNOLDS RD                                                                                     MENTOR ON THE      OH     44060‐3033
                                                                                                                                 LAKE
HILDEBRANT, WILLIAM H       4275 TUPPER LAKE ROAD                                                                                SUNFIELD          MI      48890‐9722
HILDEBRANT, WINSTON A       3103 PINEHILL PL                                                                                     FLUSHING          MI      48433‐2430
HILDEBRECHT, ROBERT H       2934 GREENCREST DR.                                                                                  KETTERING         OH      45432‐3806
HILDEBRECHT, WALTER E       3961 HAINES RD                                                                                       WAYNESVILLE       OH      45068‐9610
HILDEGARD BAUBE             C/O DALE J BAUBE                LEROY VILLAGE GREEN NURSING                                          LE ROY            NY      14482
HILDEGARD BIELER            9441 ENGLISHMAN DR                                                                                   FENTON            MI      48430‐8742
HILDEGARD BLACK             1839 WHITTLESEY ST                                                                                   FLINT             MI      48503‐4344
HILDEGARD CROWDER           400 RIVERTON CT                                                                                      GIBSONVILLE       NC      27249‐2210
HILDEGARD DI NATALE         128 NORTH AVE                                                                                        ROCHESTER         NY      14626‐1049
HILDEGARD E SPRINGER        4018 E 36TH ST                                                                                       ANDERSON          IN      46017‐2000
HILDEGARD KANEWSKY          245 HILLSIDE AVE                                                                                     CRANFORD          NJ      07016‐3409
HILDEGARD KETTERING         HVIESDOSLAVOV NAM. 10                                                    81303 BRATISLAVA SLOVAKIA

HILDEGARD KONRAD            JOHANN ‐ KLANZE ‐ STR 53                                                 81369 M▄CHEN GERMANY
HILDEGARD LANG              1010 W GUNN RD                                                                                       ROCHESTER          MI     48306‐1020
HILDEGARD LEHNER            SCHILLERSTR.2                   93077 BAD ABBACH
HILDEGARD LEHNER            SCHILLERSTR. 2                  93077 BAD ABBACH
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HILDEGARD LUTZ             OBERBILSTEIN 11                                                       51789 LINDLAR GERMANY
HILDEGARD OLSCHEWSKI       281 OLD MEADOW DR                                                                              ROCHESTER           NY   14626‐3548
HILDEGARD REED             2788 S 350 W                                                                                   KOKOMO              IN   46902‐4773
HILDEGARD SCHWAB           809 BROOKS AVE                C/O DELORIS WINSINGER BALL                                       MADISON             TN   37115‐2822
HILDEGARD WALLER           5632 VICTORY CIR                                                                               STERLING HEIGHTS    MI   48310‐7706
HILDEGARD WEISHAAR         2138 PEAR TREE LN                                                                              OAKLAND             MI   48363‐2936
HILDEGARD WILJANEN         34848 FREEDOM RD APT 204                                                                       FARMINGTON HILLS    MI   48335‐4027

HILDEGARD WISSEL           901 S STOUGH ST                                                                                HINSDALE            IL   60521‐4355
HILDEGARDE HEINECKE        15731 19 MILE RD                                                                               CLINTON TOWNSHIP    MI   48038‐6316

HILDEGARDE TURNER          420 N ACADEMY ST                                                                               MEDINA             NY    14103‐1125
HILDELISA VALLEJO          257 COACHLIGHT SQ                                                                              MONTROSE           NY    10548‐1256
HILDEN JR., ALBERT H       820 NW 134TH ST                                                                                SMITHVILLE         MO    64089‐8413
HILDEN JR., ALBERT HENRY   820 NW 134TH ST                                                                                SMITHVILLE         MO    64089‐8413
HILDEN, BEVERLY J          9120 ANN MARIA BLVD                                                                            GRAND BLANC        MI    48439‐8015
HILDEN, DANIEL C           4067 PALACE AVE                                                                                CANTON             MI    48188‐7206
HILDEN, DAVID A            11319 BRISTOL RD                                                                               LENNON             MI    48449‐9450
HILDEN, DAVID ALLAN        11319 BRISTOL RD                                                                               LENNON             MI    48449‐9450
HILDEN, DAVID L            56934 MANOR CT                                                                                 SHELBY TWP         MI    48316‐4824
HILDEN, DAVID P            8260 E POTTER RD                                                                               DAVISON            MI    48423‐8146
HILDEN, GUY T              14511 ELWELL RD                                                                                BELLEVILLE         MI    48111‐4291
HILDEN, JANET K            PO BOX 768086                                                                                  ROSWELL            GA    30076‐8086
HILDEN, JAQUELYN S         5345 GREENLEAF DR                                                                              SWARTZ CREEK       MI    48473‐1135
HILDEN, JERRY R            PO BOX 768086                                                                                  ROSWELL            GA    30076‐8086
HILDEN, JOSEPH L           102 S SIBLEY ST                                                                                BUCKNER            MO    64016‐9166
HILDEN, MARK S             7461 W MOUNT MORRIS RD                                                                         FLUSHING           MI    48433‐8833
HILDEN, MARK STEVEN        7461 W MOUNT MORRIS RD                                                                         FLUSHING           MI    48433‐8833
HILDEN, WILLIAM R          9120 ANN MARIA BLVD                                                                            GRAND BLANC        MI    48439‐8015
HILDENBRAND JR, BILL K     140 SOUTH MAIN STREET                                                                          FORISTELL          MO    63348‐1478
HILDENBRAND, BARBARA A     302 KIDD CASTLE WAY                                                                            WEBSTER            NY    14580‐1967
HILDENBRAND, DAVID A       210 TIPPETT HOLLOW CT                                                                          FRANKLIN           TN    37067‐4456
HILDENBRAND, ERIC          5524 GLENDELL DR                                                                               FRANKLIN           OH    45005‐2541
HILDENBRAND, HOWARD J      302 KIDD CASTLE WAY                                                                            WEBSTER            NY    14580‐1967
HILDENBRAND, JOHN L        6833 E PASADENA AVE                                                                            SCOTTSDALE         AZ    85253‐7046
HILDENBRAND, KARL R        28725 S RIVER RD                                                                               HARRISON TWP       MI    48045‐3018
HILDENBRAND, MARGARET R    11656 HARTEL RD                                                                                GRAND LEDGE        MI    48837‐8148
HILDENBRAND, MARY I        529 EVAN AVE                                                                                   ANDERSON           IN    46016‐5098
HILDENBRAND, RAYMOND C     1960 ISAAC ST                                                                                  PAHRUMP            NV    89060‐3937
HILDENBRAND, RAYMOND C     1960 ISAAC STREET                                                                              PAHRUMP            NV    89060‐3937
HILDENBRAND, RICHARD J     3212 HIGHWAY 41A N                                                                             UNIONVILLE         TN    37180‐5000
HILDENBRAND, SARAH G       1553 MILLER AVE                                                                                ANDERSON           IN    46016‐1965
HILDENBRAND, WILLIAM K     9403 RT 1 STATE RT 61                                                                          BERLIN HTS         OH    44814
HILDENSPERGER, RUSSELL L   316 PAGELS CT                                                                                  GRAND BLANC        MI    48439‐2423
HILDENSTEIN, JEAN F        33 CHINKAPIN CIR                                                                               HOMOSASSA          FL    34446‐5215
HILDER, BETTY R            500 VIRGINIA ST               C/O MARY J COY                                                   ASHLAND            VA    23005‐2055
HILDERBRAN, FLOYD E        24 SUNDERLAND DR                                                                               VANDALIA           OH    45377‐2919
HILDERBRAN, ROBERT E       6959 SYLMAR CT                                                                                 HUBER HEIGHTS      OH    45424‐3351
HILDERBRAN, WENDEL G       249 MASSIE DR                                                                                  XENIA              OH    45385‐3741
HILDERBRAND W O            2822 STEVENS RD                                                                                YAZOO CITY         MS    39194‐9582
HILDERBRAND, CHRISTINE     425 AUSTIN ST                                                                                  BEREA              OH    44017‐2120
HILDERBRAND, DANIEL A      2441 DELAWARE ST                                                                               ANDERSON           IN    46016‐5130
HILDERBRAND, DAVID L       17233 GRASS LAKE RD                                                                            GRASS LAKE         MI    49240‐9619
HILDERBRAND, DOUGLAS C     208 BELLS CREEK DR                                                                             SIMPSONVILLE       SC    29681‐4295
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HILDERBRAND, ERNEST L         6506 FLORIDANA AVE                                                                                MELBOURNE         FL     32951‐3841
HILDERBRAND, MICHAEL W        2357 W MIDLAND RD                                                                                 MIDLAND           MI     48642‐9210
HILDERBRAND, MICHAEL WAGNER   2357 W MIDLAND RD                                                                                 MIDLAND           MI     48642‐9210
HILDERBRAND, ODIS E           425 AUSTIN ST                                                                                     BEREA             OH     44017‐2120
HILDERBRAND, WALTER G         417 PIERVIEW WAY                                                                                  BOILING SPGS      SC     29316‐6160
HILDERBRAND, WILLIAM P        4861 MOON RD                                                                                      POWDER SPRINGS    GA     30127‐3780
HILDERBRANDT, LOIS E          9310 SE 164TH PL                                                                                  SUMMERFIELD       FL     34491‐5896
HILDERBRANT, MARK J           5099 LAHRING RD                                                                                   LINDEN            MI     48451‐9499
HILDERBRANT, MICHAEL J        4221 OLD KING RD                                                                                  SAGINAW           MI     48601
HILDING G MOLINE              44120 1/2 N 200 ST E                                                                              LANCASTER         CA     93535‐8818
HILDING MOLINE                44120 1/2 N 200 ST E                                                                              LANCASTER         CA     93535
HILDING, KATHY                6034 N CHANTICLEER DR                                                                             MAUMEE            OH     43537‐1302
HILDINGER, ALLEN J            5958 SHERIDAN RD                                                                                  VASSAR            MI     48768‐9525
HILDINGER, ANDREW R           UNIT 11206                        7255 EAST SNYDER ROAD                                           TUCSON            AZ     85750‐6246
HILDITCH, DAVID J             8415 SQUIRES LN NE                                                                                WARREN            OH     44484‐1643
HILDITCH, DENNIS A            1310 PATCHEN AVE                                                                                  WARREN            OH     44484‐4484
HILDITCH, RICHARD H           5050 ENSIGN RD                                                                                    W FARMINGTON      OH     44491‐9717
HILDRA PIPPEN                 2239 W 79TH PL                                                                                    CHICAGO            IL    60620‐5902
HILDRED BYNUM                 15092 FAUST AVE                                                                                   DETROIT           MI     48223‐2325
HILDRED CRAYCRAFT             1645 JOSELIN RD                                                                                   DAYTON            OH     45432‐3607
HILDRED LIBBY SINGER          1449 THE HIDEOUT                                                                                  LAKE ARIEL        PA     18436
HILDRED RUFFIN                1492 FIELD ST                                                                                     DETROIT           MI     48214‐2322
HILDRED THORNBURGH            122 MAPLE ST APT 5                STONE MANOR APARTMENTS                                          MIO               MI     48647‐9447
HILDRED, KARLA H              5328 KIRKLAND DRIVE                                                                               SAINT LOUIS       MO     63121‐1414
HILDRETH CAIN                 1865 GLEN MOOR DR                                                                                 LAKEWOOD          CO     80215‐3037
HILDRETH HAWES                3375 SOUTHWOOD DR                                                                                 FLINT             MI     48504‐6535
HILDRETH LUKES                4813 S GARFIELD RD #3A                                                                            AUBURN            MI     48611
HILDRETH MALCOLM F (439134)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510
                                                                STREET, SUITE 600
HILDRETH MFG LLC              PO BOX 905                                                                                        MARION           OH      43301‐0905
HILDRETH PELFREY              225 COTTER AVE                                                                                    SOMERSET         KY      42501‐2159
HILDRETH R ROBINSON           100 S FIRST ST                                                                                    TIPP CITY        OH      45371‐1704
HILDRETH ROBINSON             100 S 1ST ST                                                                                      TIPP CITY        OH      45371‐1704
HILDRETH SCHULTZ              500 GARLAND ST                                                                                    LAKEWOOD         CO      80226‐1042
HILDRETH SMITH                1530 CONNECTICUT AVE                                                                              SAINT CLOUD      FL      34769‐4336
HILDRETH WEBB                 1613 S BLAINE ST                                                                                  MUNCIE           IN      47302‐3637
HILDRETH, ALFRED J            PO BOX 9022                       C/O GM KOREA                                                    WARREN           MI      48090‐9022
HILDRETH, ALICE M             PO BOX 558                                                                                        NEWTON FALLS     OH      44444‐0558
HILDRETH, BRIAN S             6430 NAPIER RD                                                                                    PLYMOUTH         MI      48170‐5095
HILDRETH, CALVERT W           211 E OHIO ST                     APT 1807                                                        CHICAGO          IL      60611‐7208
HILDRETH, CATHERINE N         5927 MARJA ST                                                                                     FLINT            MI      48505‐2515
HILDRETH, CATHERINE NADENE    5927 MARJA ST                                                                                     FLINT            MI      48505‐2515
HILDRETH, CLARENCE            PO BOX 1707                                                                                       UNION CITY       CA      94587‐6707
HILDRETH, COY C               3420 RIDGECLIFFE DR                                                                               FLINT            MI      48532‐3738
HILDRETH, DANIEL              81 LINDEN AVE                     APT 514                                                         ROCHESTER        NY      14610
HILDRETH, DOROTHY             1130 PARKER ST                    APT 410                                                         DETROIT          MI      48214‐2600
HILDRETH, EARLINE             24200 LATHRUP BLVD                APT 320                                                         SOUTHFIELD       MI      48075‐2858
HILDRETH, EARLINE             24200 LATHRUP BLVD APT 320                                                                        SOUTHFIELD       MI      48075‐2861
HILDRETH, FAYE B              223 MUMFORD DR                                                                                    YOUNGSTOWN       OH      44505‐4831
HILDRETH, FRANK R             6565 FOXRIDGE DR APT 1009                                                                         MISSION          KS      66202‐1391
HILDRETH, HAROLD R            3100 S PHILLIP DR                                                                                 MUNCIE           IN      47302‐3952
HILDRETH, JOE A               20030 COUNTY ROAD 482                                                                             LINDALE          TX      75771‐3623
HILDRETH, KIM                 313 NORTH HUGHES STREET                                                                           HAMILTON         MO      64644‐1046
HILDRETH, LARRY V             15223 MARL DR                                                                                     LINDEN           MI      48451‐8916
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Name                        Address1                       Address2                      Address3   Address4               City               State Zip
HILDRETH, LEVELL            3401 SANTA CLARA CT                                                                            FLINT               MI 48504‐3234
HILDRETH, MALCOLM F         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510‐2212
                                                           STREET, SUITE 600
HILDRETH, MARTHA M          30 BUTTERFLY WAY                                                                               COVINGTON          GA   30016‐1962
HILDRETH, MILDRED           18 FIRELITE LN                                                                                 PONTIAC            MI   48340
HILDRETH, PAUL D            6201 W EATON WHEELING PIKE                                                                     MUNCIE             IN   47303‐9603
HILDRETH, TIMOTHY A         6537 S LIBERTY ST                                                                              KEITHVILLE         LA   71047‐9219
HILDRETH, TROY L            3507 RANGELEY ST APT 5                                                                         FLINT              MI   48503‐2956
HILDRETH, TRUMAN L          3346 DUFFIELD RD                                                                               FLUSHING           MI   48433‐9709
HILDRETH, VERNELL           20030 COUNTY ROAD 482                                                                          LINDALE            TX   75771‐3623
HILDRETH, VERNEST W         30 BUTTERFLY WAY                                                                               COVINGTON          GA   30016‐1962
HILDRETH, VIRGINIA L        22879 CRANBROOKE DR                                                                            NOVI               MI   48375‐4506
HILDRETH‐O'DELL, SHARON A   425 CLAIRPOINTE WOODS DR                                                                       DETROIT            MI   48215‐4118
HILDREW WILLIAMS            828 E NORTHFIELD AVE                                                                           PONTIAC            MI   48340‐1333
HILDRIA RICHMOND            1299 E HARVARD AVE                                                                             FLINT              MI   48505‐1758
HILDRIA SMITHWICK           123 SELVAGE AVE                                                                                TEANECK            NJ   07666‐4841
HILDRY WILLIAMS             2616 NATCHEZ AVE                                                                               CLEVELAND          OH   44109‐4731
HILDUM, CHARLES J           619 SPORTSMAN CLUB RD                                                                          MITCHELL           IN   47446‐6228
HILE, DANNY L               14413 ELLSWORTH RD                                                                             BERLIN CENTER      OH   44401‐9742
HILE, JOHN W                2899 WALMSLEY CIR                                                                              LAKE ORION         MI   48360‐1643
HILE, MELVIN                7021 COUNTY ROAD 47                                                                            LEXINGTON          OH   44904‐9604
HILE, RAYMOND L             3596 HUNT RD                                                                                   LAPEER             MI   48446‐2954
HILE, TERRY R               166 PARK DR                                                                                    CARO               MI   48723‐1822
HILEBRAND, ROBERT G         BOONE ALEXANDRA                205 LINDA DR                                                    DAINGERFIELD       TX   75638‐2107
HILEMAN JR, KARL M          203 N MECCA ST                                                                                 CORTLAND           OH   44410‐1038
HILEMAN, ARREN C            3905 AUGUSTA ST                                                                                FLINT              MI   48532‐5268
HILEMAN, BARBARA A          PO BOX 704                                                                                     HAMILTON           AL   35570‐0704
HILEMAN, BETTIE S           407 CRESCENT DR                                                                                NEW CASTLE         IN   47362‐1622
HILEMAN, BILLY E            304 MEADOW CT                                                                                  FAIRFIELD          OH   45014‐8124
HILEMAN, CAROL              612 NORTH COURT STREET                                                                         MEDINA             OH   44256
HILEMAN, CAROL              923 NOTTINGHAM DR                                                                              MEDINA             OH   44255‐3153
HILEMAN, CLYDE G            341 HIGHLAND ST                                                                                HAMILTON           AL   35570‐4621
HILEMAN, DARRELL J          2101 E 800 N                                                                                   DENVER             IN   46926‐9117
HILEMAN, EARL M             760 JOYCE AVE                                                                                  LEWISBURG          TN   37091‐3678
HILEMAN, EARL M             760 JOYCE AVENUE                                                                               LEWISBURG          TN   37091‐3678
HILEMAN, J M                3509 YALE ST                                                                                   FLINT              MI   48503‐4621
HILEMAN, JANE F             JANE F. HILEMAN                305 14TH STREET                                                 NORTH APOLLO       PA   15673‐0675
HILEMAN, JANE F             PO BOX 675                                                                                     NORTH APOLLO       PA   15673‐0675
HILEMAN, JOAN               373 CO ROAD 1302                                                                               POLK               OH   44866
HILEMAN, JOAN               373 C R 1302                                                                                   POLK               OH   44866
HILEMAN, KENNETH R          12424 LARIMER AVE                                                                              NO HUNTINGDON      PA   15642‐1346
HILEMAN, MICHAEL L          7845 W EATON HWY                                                                               GRAND LEDGE        MI   48837‐9311
HILEMAN, MICHELE L          239 1ST AVE N                                                                                  LAKE WALES         FL   33859‐8762
HILEMAN, RICHARD H          10927 E HOUGHTON LAKE DR                                                                       HOUGHTON LAKE      MI   48629‐8623
HILEMAN, RICHARD L          1308 ASCOT LN                                                                                  FRANKLIN           TN   37064‐6747
HILEMAN, ROBERT H           1008 BROADWAY ST                                                                               CAVE CITY          KY   42127‐8814
HILEMAN, SUSAN E            7845 W EATON HWY                                                                               GRAND LEDGE        MI   48837‐9311
HILEMAN, TODD J             1380 FENTONWOOD                                                                                FENTON             MI   48430‐9617
HILEN, NORMA M              C/O RONALD HILEN               3105 OLD SALEM ROAD                                             DAYTON             OH   45415‐5415
HILEN, NORMA M              3105 OLD SALEM RD              C/O RONALD HILEN                                                DAYTON             OH   45415‐1228
HILENE TALL                 27 COMSTOCK AVE                                                                                BUFFALO            NY   14215‐2215
HILER SR, ROBERT D          56 SUNSET TRL                                                                                  DENVILLE           NJ   07834‐1138
HILER, BENNY W              21419 WENDELL ST                                                                               CLINTON TOWNSHIP   MI   48036‐3728
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Name                      Address1                         Address2                      Address3   Address4               City            State   Zip
HILER, BILLIE W           4107 GREENBROOK LN                                                                               FLINT            MI     48507‐2255
HILER, JAMES L            5208 E PRICE RD                                                                                  SAINT JOHNS      MI     48879‐9151
HILER, LORAINE B          PO BOX 207                                                                                       WELLSTON         MI     49689‐0207
HILER, ROBERTA L          999 FORTINO BLVD LOT 29                                                                          PUEBLO           CO     81008‐2057
HILER, WILLIAM D          1665 18 MILE RD                                                                                  KENT CITY        MI     49330‐9727
HILERY HOSKINS            5245 FLORA DR.                                                                                   LEWISBURG        OH     45338‐9741
HILERY HOSKINS            5245 FLORA DR                                                                                    LEWISBURG        OH     45338‐9741
HILERY WEATHERFORD        1111 ADAMS RD                                                                                    BURTON           MI     48509‐2357
HILES GEORGE              451 VALLEYVIEW CT                                                                                WESTERVILLE      OH     43081‐3266
HILES JACK W (405505)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                           STREET, SUITE 600
HILES, CAREL V            PO BOX 16                                                                                        MOSCOW          OH      45153‐0016
HILES, CAROLEE            26260 W 135TH ST                                                                                 OLATHE          KS      66061‐9000
HILES, DENNIS C           3780 TROVILLO RD.                                                                                MORROW          OH      45152‐9610
HILES, ILAMAE M           8759 NUMBER RD                                                                                   BROOKVILLE      OH      45309‐9786
HILES, JACK W             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510‐2212
                                                           STREET, SUITE 600
HILES, JOANNE A           52051 AVENIDA CORTEZ                                                                             LA QUINTA       CA      92253‐3216
HILES, JOHN A             25496 CORNELL RD                                                                                 ARCADIA         IN      46030‐9433
HILES, JOHN J             7318 NORTHLAKE RD                                                                                MILLINGTON      MI      48746‐9018
HILES, JOHN JAMES         7318 NORTHLAKE RD                                                                                MILLINGTON      MI      48746‐9018
HILES, LARRY L            439 RIDGEBURY DR                                                                                 XENIA           OH      45385‐3941
HILES, RONALD C           413 FOURTH ST. BOX 186                                                                           MOSCOW          OH      45153
HILES, RONALD J           1932 CLERMONTVILLE LAUREL RD                                                                     NEW RICHMOND    OH      45157‐8615
HILES, STANLEY D          2056 CLERMONTVILLE LAUREL RD A                                                                   NEW RICHMOND    OH      45157
HILES, TERESA ANN         1831 MALVERN ST.                                                                                 ST. PAUL        MN      55113‐5239
HILES, WANDA              1965 LAUREL LINDALE RD                                                                           NEW RICHMOND    OH      45157‐9582
HILES, YVONNE             1353 N MILLER AVE                                                                                MARION          IN      46952‐1543
HILEWSKY, JANICE G        10324 DIAMOND PARK RD                                                                            INTERLOCHEN     MI      49643‐9591
HILEWSKY, JANICE G        13927 BARFIELD DR                                                                                WARREN          MI      48088‐5713
HILEX                     1055 W SQUARE LAKE RD                                                                            TROY            MI      48098‐2523
HILFER, CLARENCE J        802 LAKE ST                                                                                      MARBLEHEAD      OH      43440‐2129
HILFERTY, WILLIAM J       68 MARTIN LN                                                                                     NORWOOD         PA      19074‐1025
HILFINGER, MICHAEL L      216 SELKIRK ST                                                                                   CANTON          MI      48187‐3928
HILGARDNER, ROBERT D      3019 GERMAN STREET                                                                               FAIRFIELD       CA      94534‐8314
HILGART, NINA J           455 E 2ND ST                                                                                     PERU            IN      46970‐2532
HILGE, GLENNDON G         702 MARILYN AVE                                                                                  BULL SHOALS     AR      72619‐3618
HILGE, LARRY D            1881 N PORTLAND ARCH RD                                                                          COVINGTON       IN      47932‐8147
HILGEMAN, MABLE J         252 WEST 7TH                                                                                     PERU            IN      46970
HILGEMAN, MABLE J         252 W 7TH ST                                                                                     PERU            IN      46970‐1937
HILGENBERG, BILL          8160 DORSTEP LN                                                                                  ORLAND PARK     IL      60462‐2995
HILGENDORF DANIEL         11650 BEARDSLEE RD                                                                               PERRY           MI      48872‐9785
HILGENDORF, BEVERLY J     830 OAK ST.                                                                                      MARINE CITY     MI      48039‐2231
HILGENDORF, BEVERLY J     830 OAK ST                                                                                       COTTRELLVILLE   MI      48039‐2231
HILGENDORF, DANIEL L      11650 BEARDSLEE RD                                                                               PERRY           MI      48872‐9785
HILGENDORF, DARROLD A     615 W MAPLE AVE                                                                                  BANCROFT        MI      48414‐9424
HILGENDORF, GARY L        209 UNION ST BOX 407                                                                             MAPLE RAPIDS    MI      48853
HILGENDORF, GORDON D      4925 SPRING MEADOW DR 47                                                                         CLARKSTON       MI      48348
HILGENDORF, GRACE L       460 S GEECK RD                                                                                   CORUNNA         MI      48817‐9550
HILGENDORF, HAROLD D      500 E NORTH ST                                                                                   OWOSSO          MI      48867‐1858
HILGENDORF, JOHN W        16400 UPTON RD LOT 237                                                                           EAST LANSING    MI      48823‐9306
HILGENDORF, JOSEPH CARL   14848 SHARRARD RD                                                                                BERLIN          MI      48002‐1306
HILGENDORF, MARILYN M     1364 SUTTON AVE                                                                                  FLINT           MI      48504‐3233
HILGENDORF, MARVIN H      10069 CLARK RD                                                                                   DAVISON         MI      48423‐8523
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Name                          Address1                         Address2                      Address3             Address4               City             State   Zip
HILGENDORF, PATRICIA M        109 DULA SPRINGS RD                                                                                        WEAVERVILLE       NC     28787
HILGENDORF, RONALD R          489 DRIFTWOOD LN                                                                                           ELLENTON          FL     34222‐3236
HILGENDORF, WILLARD B         PO BOX 708                                                                                                 PERRY             MI     48872‐0708
HILGER, CHARLOTTE J           2070 KINGSTON ST                                                                                           WHITE LAKE        MI     48386
HILGER, DEBRA V               2228 KINGSTON ST                                                                                           WHITE LAKE        MI     48386‐1618
HILGER, DENNIS F              PO BOX 173                                                                                                 DRAYTON PLAINS    MI     48330
HILGER, HARLEY A              190 PEBBLE BEACH BLVD APT 105                                                                              NAPLES            FL     34113‐8342
HILGER, JOAN M                30 FREEDOM POND LANE                                                                                       NORTH CHILI       NY     14514‐1244
HILGER, LESTER J              241 N MCARDLE RD                                                                                           TAWAS CITY        MI     48763‐9747
HILGER, ROBERT G              26506 HIGGINS WAY                                                                                          BROWNSTOWN        MI     48134‐8200
HILGER, RUTH M                2282 GRANBY DR                                                                                             LEHIGH ACRES      FL     33971‐6043
HILGER, WILLARD F             901 4TH ST                                                                                                 TAWAS CITY        MI     48763‐9507
HILGERS & WATKINS             98 SAN JACINTO BLVD STE 1300                                                                               AUSTIN            TX     78701‐4295
HILGERS, MARY L               2434 S MURRAY RD                                                                                           JANESVILLE        WI     53548‐9197
HILGERT, JAN L                2110 LANIER DR                                                                                             SILVER SPRING     MD     20910‐2142
HILGERT, RANDALL T            3920 BUCK AVE                                                                                              JOLIET             IL    60431‐2716
HILGIER, JOSEPH               7543 S COVE CIR                                                                                            CENTENNIAL        CO     80122‐3353
HILGRIS, EDWARD THOMAS        3158 ANDERSON CT                                                                                           CLIO              MI     48420‐1041
HILGRIS, VICTORIA G           3158 ANDERSON CT                                                                                           CLIO              MI     48420‐1041
HILGRIS, WILLIAM W            3132 ANDERSON CT                                                                                           CLIO              MI     48420‐1041
HILIKER, CLYDE                156 S LIBERTY ST                                                                                           CONNEAUT          OH     44030‐2704
HILIMON, MICHAEL P            7008 DESERT CANYON DR                                                                                      EL PASO           TX     79912
HILIMON, RUTH N               617 ABINGTON DR                                                                                            EL PASO           TX     79912‐7028
HILITE IND/CARROLLTO          1671 S BROADWAY ST                                                                                         CARROLLTON        TX     75006‐7442
HILITE IND/WHITEHALL          2001 PEACH ST                                                                                              WHITEHALL         MI     49461‐1844
HILITE INDUSTRIES IN          2001 PEACH ST                                                                                              WHITEHALL         MI     49461‐1844
HILITE INDUSTRIES INC         127 PUBLIC SQ                                                                                              CLEVELAND         OH     44114
HILITE INDUSTRIES INC                                          2701 CAMBRIDGE COURT                                                                        MI     48326
HILITE INTERNATIONAL          SUSAN MAKOUSKE                   2001 PEACH ST                 HILITE WHITEHALL                            WHITEHALL         MI     49461‐1844
HILITE INTERNATIONAL          SUSAN MAKOUSKE                   HILITE WHITEHALL              2001 PEACH STREET                           TOLEDO            OH     43612
HILITE INTERNATIONAL          HILITE‐DALLAS                    2001 PEACH ST                                                             WHITEHALL         MI     49461‐1844
HILITE INTERNATIONAL INC      12500 ELMWOOD AVE                                                                                          CLEVELAND         OH     44111‐5910
HILITE INTERNATIONAL INC      127 PUBLIC SQ                                                                                              CLEVELAND         OH     44114
HILITE INTERNATIONAL INC      1671 S BROADWAY ST                                                                                         CARROLLTON        TX     75006‐7442
HILITE INTERNATIONAL INC      2001 PEACH ST                                                                                              WHITEHALL         MI     49461‐1844
HILITE INTERNATIONAL INC      50 PUBLIC SQ STE 3200                                                                                      CLEVELAND         OH     44113
HILITE INTERNATIONAL INC      6600 CHAPEK PKWY                                                                                           CLEVELAND         OH     44125‐1057
HILITE INTERNATIONAL INC      7750 HUB PKWY                                                                                              CLEVELAND         OH     44125‐5709
HILITE INTERNATIONAL INC      JAN WOJCIECHOWSKI                12120 ELMWOOD AVE             C/O SPRINGCO METAL                          CLEVELAND         OH     44111‐5902
                                                                                             COATINGS
HILITE INTERNATIONAL INC      JAN WOJCIECHOWSKI                6600 CHAPEK PKWY                                                          CLEVELAND        OH      44125‐1057
HILITE INTERNATIONAL INC      JAN WOJCIECHOWSKI                6600 CHAPEK PKY                                                           PIQUA            OH
HILITE INTERNATIONAL INC      JAN WOJCIECHOWSKI                C/O SPRINGCO METAL COATINGS   12120 ELMWOOD AVE.                          ROSEVILLE        MI      48066
HILITE INTERNATIONAL INC      JIM LOVETT                       6600 CHAPEK PKWY                                                          CLEVELAND        OH      44125‐1057
HILITE INTERNATIONAL INC      MARY AKERSON X133                1671 S BROADWAY ST                                                        CARROLLTON       TX      75006‐7442
HILITE INTERNATIONAL INC      MARY AKERSON X133                1671 S. BROADWAY                                                          GREENSBURG       IN      47240
HILITE INTERNATIONAL INC      SUSAN MAKOUSKE                   2001 PEACH ST                 HILITE WHITEHALL                            WHITEHALL        MI      49461‐1844
HILITE INTERNATIONAL INC      SUSAN MAKOUSKE                   HILITE WHITEHALL              2001 PEACH STREET                           TOLEDO           OH      43612
HILITE‐WHITEHALL DIV ACUTEX   HILITE INTL‐WHITEHALL DIV        2001 PEACH ST                                                             WHITEHALL        MI      49461‐1844
HILITE/ AUBURN HILLS          2701 CAMBRIDGE CT STE 415                                                                                  AUBURN HILLS     MI      48326‐2565
HILITE/AUBURN HILLS           2701 CAMBRIDGE CT STE 415                                                                                  AUBURN HILLS     MI      48326‐2565
HILJA COOPER                  1000 WALKER ST LOT 166                                                                                     HOLLY HILL       FL      32117‐2518
HILJA FLINT                   GRACE MANOR NURSING HOME         C/O KATHY RANDALL             1205 DELAWARE                               BUFFALO          NY      14209
HILJA SIBILSKY                6355 SHEPPARD DR                                                                                           WESTLAND         MI      48185‐7766
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Name                             Address1                              Address2                         Address3                   Address4                 City             State   Zip
HILJAN, IVAN                     10125 SIX MILE RD                                                                                                          NORTHVILLE        MI     48167‐9461
HILJAN, IVAN                     10125 6 MILE RD                                                                                                            NORTHVILLE        MI     48168‐9461
HILKE JR, EDWARD J               236 HIGH ST                                                                                                                WASHINGTON        MO     63090‐1528
HILKE, LEO C                     257 DIVINCI DR                                                                                                             PUNTA GORDA       FL     33950‐6343
HILKE, MATTHEW E                 236 HIGH STREET                                                                                                            WASHINGTON        MO     63090‐1528
HILKE, PATRICIA J                1655 INDIAN GARDEN LN                                                                                                      MILFORD           MI     48380‐3317
HILKE, ROBERT W                  10019 RIVERSIDE RD NW                                                                                                      ALBUQUERQUE       NM     87114‐3564
HILKENE, LEE B                   79730 NORTHWOOD                                                                                                            LA QUINTA         CA     92253‐5000
HILKENE, SCOTT H                 515 WESTOVER PASS                                                                                                          GRAND BLANC       MI     48439‐1016
HILKER AND ASSOCIATES
HILKER'S AUTO SERVICE            550 INDUSTRIAL RD UNIT 4                                                                          CAMBRIDGE ON N3H 4V9
                                                                                                                                   CANADA
HILKER, DAVID M                  700 SALEM DR                                                                                                               KOKOMO           IN      46902
HILKO, JACQUELINE A              525 UTAH AVE                                                                                                               MC DONALD        OH      44437‐1525
HILKOWSKI NORBERT                172 N OAK RD                                                                                                               WELLSTON         MI      49689‐8706
HILKOWSKI, NORBERT A             172 N OAK RD                                                                                                               WELLSTON         MI      49689‐8706
HILKOWSKI, NORBERT A             40493 PINETREE DR                                                                                                          PLYMOUTH         MI      48170‐4443
HILKOWSKI, RALPH S               3595 23RD AVE SW                                                                                                           NAPLES           FL      34117‐6647
HILL & GRIFFITH CO               ATTN ACCTS REC DEPT                   1085 SUMMER ST                                                                       CINCINNATI       OH      45204‐2037
HILL & GRIFFITH CO, THE          1085 SUMMER ST                                                                                                             CINCINNATI       OH      45204‐2037
HILL & KNOWLTON INC              420 LEXINGTON AVE                                                                                                          NEW YORK         NY      10170
HILL ‐ ROM & BATESVILLE CASKET   KEITH HAZELWOOD                       1069 STATE ROAD 46 E                                                                 BATESVILLE       IN      47006‐7520
HILL ‐ ROM & BATESVILLE CASKET   KEITH HAZELWOOD                       1069 STATE ROAD 46 E                                                                 BATESVILLE       IN      47006‐7520
HILL ‐ SCHUREN, PAULA L          7551 MORIAH AVE                                                                                                            BROOKSVILLE      FL      34613‐2701
HILL ADAM MICHAEL                HILL, ADAM MICHAEL                    PO BOX 1349                                                                          JASPER           AL      35502‐1349
HILL ADAM MICHAEL                HILL, MICHAEL                         PO BOX 1349                                                                          JASPER           AL      35502‐1349
HILL ADAM MICHAEL                HILL, ROSE MARIE                      PO BOX 1349                                                                          JASPER           AL      35502‐1349
HILL ALISA OLDHAM RYAN           HILL, ALISA                           120 WEST MADISON STREET 10TH                                                         CHICAGO          IL      60602
                                                                       FLOOR
HILL ALISA OLDHAM RYAN           OLDHAM, RYAN                          120 WEST MADISON STREET 10TH                                                         CHICAGO           IL     60602
                                                                       FLOOR
HILL AMOS T (632829)             GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                          NORFOLK           VA     23510
                                                                       STREET, SUITE 600
HILL ANDREW                      286 DEVO HILL RD #3126                                                                                                     JOHNSON CITY      NY     13790‐5110
HILL ANDREW C (169657)           BROWN TERRELL HOGAN ELLIS             804 BLACKSTONE BLDG , 233 EAST                                                       JACKSONVILLE      FL     32202
                                 MCCLAMMA & YEGELWEL P.A.              BAY STREET
HILL ANGELO                      10388 GRAND BLANC RD                                                                                                       GAINES           MI      48436‐9772
HILL ANTHONY                     UNIT 301                              7101 TRAVERTINE DRIVE                                                                BALTIMORE        MD      21209‐3787
HILL ARNOLD K (651412)           GOLDENBERG, MILLER, HELLER &          PO BOX 959                                                                           EDWARDSVILLE     IL      62025‐0959
                                 ANTOGNOLI
HILL BARBARA                     HILL, BARABARA                        17145 REX AVE APT 105 EAST                                                           JOPLIN           MO      64801
HILL BERNARD F (192250)          BROWN TERRELL HOGAN ELLIS             804 BLACKSTONE BLDG , 233 EAST                                                       JACKSONVILLE     FL      32202
                                 MCCLAMMA & YEGELWEL P.A.              BAY STREET
HILL BOLES AUTO ELECTRIC LTD.    26 THOROLD RD E                                                                                   WELLAND ON L3C 3T4
                                                                                                                                   CANADA
HILL BROTHERS AUTO REPAIR        9197 SAINT CHARLES ROCK RD                                                                                                 SAINT LOUIS      MO      63114‐4239
HILL BUICK, INC.                 BRYAN O'REILLY                        3960 W CHESTER PIKE                                                                  NEWTOWN SQUARE   PA      19073‐3209

HILL CAD                         MICHAEL REED                          PO BOX 1269                      MCCREARY, VESELKA, BRAGG                            ROUND ROCK        TX     78680‐1269
                                                                                                        & ALLEN, P.C.
HILL CAD TAX COLLECTIONS         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 416                                                                          HILLSBORO         TX     76645‐0416

HILL CAD TAX COLLECTIONS         PO BOX 416                                                                                                                 HILLSBORO         TX     76645‐0416
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Name                                Address1                              Address2                        Address3                    Address4               City             State Zip
HILL CADILLAC INC                   3960 W CHESTER PIKE                                                                                                      NEWTOWN SQUARE    PA 19073‐3209

HILL CADILLAC, INC.                 GEOFFREY HILL                         3964 W CHESTER PIKE                                                                NEWTOWN SQUARE   PA    19073‐3209

HILL CADILLAC, INC.                 3964 W CHESTER PIKE                                                                                                      NEWTOWN SQUARE   PA    19073‐3209

HILL CALVIN (639080)                PAUL REICH & MYERS PC                 1608 WALNUT ST STE 500                                                             PHILADELPHIA     PA    19103‐5446
HILL CAMBRE, MADALYN L              70 CORNERSTONE RD                                                                                                        HATTIESBURG      MS    39402‐8229
HILL CARL                           581 RAWLINSVILLE RD                                                                                                      WILLOW STREET    PA    17584‐9759
HILL CHARLES E (492572)             BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD       OH    44067
                                                                          PROFESSIONAL BLDG
HILL CHARLES EDWARD                 C/O EDWARD O MOODY PA                 801 WEST 4TH STREET                                                                LITTLE ROCK      AR    72201
HILL CHARLES M                      HILL, CHARLES M                       2713 GENESEE ST                                                                    UTICA            NY    13501‐6556
HILL CHRISTOPHER A                  1162 SUNSET LN                                                                                                           BENSALEM         PA    19020‐7616
HILL CLARISSA                       HILL, CLARISSA                      209 ANTHONY STREET BLD 19                                                            BRIDGECOURT      CT    06605
HILL COUNTRY CHEVY                  401 COLLEGE ST                                                                                                           JUNCTION         TX    76849‐4731
HILL COUNTY APPRAISAL DISTRICT      PO BOX 416                                                                                                               HILLSBORO        TX    76645‐0416
HILL COUNTY AUTOMOTIVE PRODUCTS LLC C/O HILL COUNTY AUTOMOTIVE PRODUCTS 306 SW I‐ 35                                                                         HILLSBORO        TX    76645‐2142
DBA MIKE CRAIG CHEVROLET HILLSBORO LLC

HILL COUNTY AUTOMOTIVE PRODUCTS,    GAINES STANLEY                        306 SOUTHWEST I‐35                                                                 HILLSBORO        TX    76645
LLC
HILL COUNTY TAX COLLECTOR           PO BOX 412                                                                                                               HILLSBORO        TX    76645‐0412
HILL COUNTY TAX COLLECTOR           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 412                                                                        HILLSBORO        TX    76645‐0412

HILL COUNTY TREASURER               HILL COUNTY COURTHOUSE                                                                                                   HAVRE            MT    59501
HILL DAVID                          1786 SOUTHWEST ULYSSES STREET                                                                                            OAK HARBOR       WA    98277‐7153
HILL DAVID C (498262)               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA    23510
                                                                          STREET, SUITE 600
HILL DAVID JR (504948)              (NO OPPOSING COUNSEL)
HILL DEBORAH                        HILL, DEBORAH                         120 WEST MADISON STREET 10TH                                                       CHICAGO           IL   60602
                                                                          FLOOR
HILL DEBORAH                        295 FOREST DR                                                                                                            ORANGE           VA    22960‐4807
HILL DENINE                         1002 FOXFIELD RD                                                                                                         WAXHAW           NC    28173‐7540
HILL DENTAL/BIRMNGHM                2147 RIVERCHASE OFFICE RD                                                                                                BIRMINGHAM       AL    35244‐1836
HILL DESIREE                        HILL, DESIREE                         3 SUMMIT PARK DR STE 100                                                           INDEPENDENCE     OH    44131‐2598
HILL DESIREE                        HILL, QUINTIA                         KROHN & MOSS                    3 SUMMIT PARK DRIVE SUITE                          INDEPENDENCE     OH    44131
                                                                                                          100
HILL DONALD                         509 METCALF RD                                                                                                           ELYRIA           OH    44035‐2923
HILL DONALD (445228)                KELLEY & FERRARO LLP                  1300 EAST NINTH STREET , 1901                                                      CLEVELAND        OH    44114
                                                                          BOND COURT BUILDING
HILL DORINDA                        HILL, DORINDA                         30 E BUTLER AVE                                                                    AMBLER           PA    19002‐4514
HILL EARL (459125) ‐ HILL EARL      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA    23510
                                                                          STREET, SUITE 600
HILL ESTATE OF, BETTY M
HILL EVERETT                        HILL, EVERETT                         5410 POLK LN                                                                       OLIVER BRANCH    MS    38654‐7628
HILL FRED                           120 DOUBLING POINT RD                                                                                                    ARROWSIC         ME    04530‐7223
HILL GARY                           HILL, GARY                            305 W COLLEGE ST                                                                   BOONEVILLE       MS    38829‐3314
HILL GEORGE                         19374 CHAREST ST                                                                                                         DETROIT          MI    48234‐1646
HILL GEORGE W (429097)              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA    23510
                                                                          STREET, SUITE 600
HILL HAROLD                         621 DE GRUMMOND WAY                                                                                                      SALADO           TX    76571‐5625
HILL HAROLD H (429098)              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA    23510
                                                                          STREET, SUITE 600
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Name                                  Address1                          Address2                           Address3                   Address4               City              State Zip
HILL HAYLEY                           HILL, HAYLEY                      5055 WILSHIRE BLVD STE 300                                                           LOS ANGELES        CA 90036‐6101
HILL HAYLEY                           HILL, RICHARD                     KROHN & MOSS ‐ CA,                 5055 WILSHIRE BLVD SUITE                          LOS ANGELES        CA 90036
                                                                                                           300
HILL HENRY                            HILL, HENRY                       4990 NORTHWIND DRIVE SUITE 121                                                       EAST LANSING      MI    48823
HILL HILL CARTER FRANCO COLE &BLACK   425 S PERRY ST                                                                                                         MONTGOMERY        AL    36104‐4235
PC
HILL HILL CARTER FRANCO COLE &BLACK   PO BOX 116                                                                                                             MONTGOMERY         AL   36101‐0116
PC
HILL I I I, BRYCE F                   257 CAMBRIDGE DR                  P.O. BOX 381                                                                         DIMONDALE         MI    48821‐9775
HILL I I I, GARLAND W                 PO BOX 39068                                                                                                           REDFORD           MI    48239‐0068
HILL I I I, VANCE V                   1531 IVY WOOD CT                                                                                                       HASTINGS          MI    49058‐1181
HILL I I I, VICTOR L                  5607 NORTHCREST XING                                                                                                   CLARKSTON         MI    48346‐2750
HILL I I I, WALLACE                   6100 LANCASTER DR                                                                                                      FLINT             MI    48532‐3215
HILL II, CLIFFORD E                   504 ALAMEDA AVE                                                                                                        YOUNGSTOWN        OH    44504‐1431
HILL II, GEORGE W                     155 MARYLAND AVE SE                                                                                                    GRAND RAPIDS      MI    49506‐1821
HILL II, WILLIAM A                    3670 TEMPLETON RD NW                                                                                                   WARREN            OH    44481‐9129
HILL III, JOSEPH H                    1927 COPEMAN BLVD                                                                                                      FLINT             MI    48504‐3005
HILL III, VICTOR L                    5607 NORTHCREST XING                                                                                                   CLARKSTON         MI    48346‐2750
HILL IV, JOHN H                       322 SUMMERTIME DRIVE                                                                                                   SAN ANTONIO       TX    78216‐3556
HILL IV, WALLACE                      6100 LANCASTER DR                                                                                                      FLINT             MI    48532‐3215
HILL JACK (445229) ‐ HILL JACK        CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                                     CLEVELAND         OH    44115
                                      GAROFOLI                          FL
HILL JACK L (493842)                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                          NORFOLK           VA    23510
                                                                        STREET, SUITE 600
HILL JAMES L (429099)                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                          NORFOLK           VA    23510
                                                                        STREET, SUITE 600
HILL JAMES L (ESTATE OF) (505084)     WEITZ & LUXENBERG                 51 HADDONFIELD RD STE 160                                                            CHERRY HILL       NJ    08002‐4804
HILL JAMES M                          PO BOX 9388                                                                                                            MOSCOW            ID    83843‐0118
HILL JAMES O                          2204 OAKWOOD AVE                                                                                                       SAGINAW           MI    48601‐3567
HILL JEANNE                           15367 FALK DRIVE NORTH                                                                                                 HUGO              MN    55038‐6309
HILL JERRY LEE (481795)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                          NORFOLK           VA    23510
                                                                        STREET, SUITE 600
HILL JESSE R IV (493843)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                          NORFOLK           VA    23510
                                                                        STREET, SUITE 600
HILL JIM                              9243 SHERWOOD DR                                                                                                       DAVISBURG         MI    48350‐1927
HILL JOHN                             HILL, JOHN                        55 PUBLIC SQ STE 650                                                                 CLEVELAND         OH    44113‐1909
HILL JOHN L                           HILL, JOHN L                      511 E LARNED ST                                                                      DETROIT           MI    48226‐4316
HILL JOHN L                           HILL, JOHN L                      355 S OLD WOODWARD AVE STE 250                                                       BIRMINGHAM        MI    48009‐6215
HILL JOHNNIE MAE                      C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                                                  LITTLE ROCK       AR    72201
HILL JOSEPH DANIEL                    HILL, JOSEPH DANIEL               431 6TH ST                                                                           ROCHESTER HILLS   MI    48307‐1401
HILL JOYCE (445231)                   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                        NORTHFIELD        OH    44067
                                                                        PROFESSIONAL BLDG
HILL JR, AARON                        1815 COSTELLO DR                                                                                                       ANDERSON          IN    46011‐3926
HILL JR, AARON                        5508 N WINDING WAY                                                                                                     MUNCIE            IN    47304‐5823
HILL JR, ALBERT W                     4640 LONGMEADOW BLVD W                                                                                                 SAGINAW           MI    48603‐1031
HILL JR, ALVIN                        11205 MC FALLS DRIVE                                                                                                   INDIAN LAND       SC    29707‐9707
HILL JR, ALVIN                        11205 MCFALLS DR                                                                                                       INDIAN LAND       SC    29707‐8668
HILL JR, ANTHONY W                    137 INVERNESS DR                                                                                                       LEXINGTON         SC    29072‐7744
HILL JR, ARTHUR L                     3020 N HOOVER AVE                                                                                                      GLADWIN           MI    48624‐9510
HILL JR, BENNIE H                     307 DELAWARE AVE.                                                                                                      DAYTON            OH    45405‐5405
HILL JR, BENNIE L                     18637 WHITCOMB ST                                                                                                      DETROIT           MI    48235‐2845
HILL JR, BENNIE L                     1341 TRENTON RD                                                                                                        ADRIAN            MI    49221‐1358
HILL JR, BLUFORD L                    4737 MIDLAND AVE                                                                                                       WATERFORD         MI    48329‐1840
HILL JR, BRYCE F                      PO BOX 756                        1424 2ND SOUTH STREET                                                                CLARKDALE         AZ    86324‐0756
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Name                    Address1                      Address2            Address3         Address4               City              State   Zip
HILL JR, CAL            9375 PREST ST                                                                             DETROIT            MI     48228‐2209
HILL JR, CALVIN M       332 W 13TH AVE                                                                            HOMESTEAD          PA     15120‐1406
HILL JR, CARL M         6235 ARTHUR ST                                                                            WESTLAND           MI     48185‐2101
HILL JR, CHARLES        20405 LESURE ST                                                                           DETROIT            MI     48235‐1539
HILL JR, CHARLES E      59555 GRAND RIVER AVE                                                                     NEW HUDSON         MI     48165‐8560
HILL JR, CHARLIE H      1646 COUNTY ROAD 439                                                                      HILLSBORO          AL     35643‐4132
HILL JR, CHESTER C      11949 SCHAVEY RD                                                                          DEWITT             MI     48820‐8720
HILL JR, CLEOPHUS       180 N LANCASTER DR                                                                        BOLINGBROOK         IL    60440‐1806
HILL JR, DAVID          1261 JACQUELINE DR                                                                        CRETE               IL    60417‐1347
HILL JR, DAVID A        2172 NW 135TH ST                                                                          CLIVE               IA    50325‐8521
HILL JR, EDWARD H       321 W HILLCREST AVE                                                                       DAYTON             OH     45406‐2115
HILL JR, ELGIN E        144 CHERRY                    BOX 641                                                     AU GRES            MI     48703
HILL JR, EMMETT M       149 FLOYD RD                                                                              PANGBURN           AR     72121‐9523
HILL JR, FRED D         590 E BOSTON BLVD                                                                         DETROIT            MI     48202‐1323
HILL JR, FRED L         PO BOX 68691                                                                              INDIANAPOLIS       IN     46268‐0691
HILL JR, FREDRICK W     1151 N LIVERNOIS RD                                                                       ROCHESTER HILLS    MI     48306‐4153
HILL JR, GREGORY J      6012 KIRSTEN LN                                                                           SHREVEPORT         LA     71129‐4355
HILL JR, HAROLD         11009 N SAGINAW ST APT 1                                                                  MOUNT MORRIS       MI     48458‐2029
HILL JR, HARRY A        7059 DAWSON RD LOT 31                                                                     MADEIRA            OH     45243‐2553
HILL JR, JACKSON        724 CHANDLER DR                                                                           TROTWOOD           OH     45426‐2510
HILL JR, JAMES          5928 MARJA ST                                                                             FLINT              MI     48505‐2516
HILL JR, JAMES A        8406 E SAN BENITO DR                                                                      SCOTTSDALE         AZ     85258‐2433
HILL JR, JAMES B        3206 W 111TH PL                                                                           INGLEWOOD          CA     90303‐2317
HILL JR, JAMES F        9690 N RANSOM RD                                                                          WHEELER            MI     48662‐9707
HILL JR, JAMES W        4706 CHESTERTON DR                                                                        GREENSBORO         NC     27406‐9719
HILL JR, JOHN C         1043 COBALT                                                                               PONTIAC            MI     48054
HILL JR, JOHN H         935 DEAN RD                                                                               LAWRENCEVILLE      GA     30043‐3497
HILL JR, JOHN H         1680 COUNTRY SPRING DR                                                                    WENTZVILLE         MO     63385‐3046
HILL JR, JOHN O         818 HOPE ST                                                                               LIMA               OH     45804‐2550
HILL JR, JOHN T         9 JIB CT                                                                                  PLEASANT HILL      CA     94523‐1207
HILL JR, JOHN W         37 W ELMWOOD DR                                                                           MONROE             LA     71203‐2563
HILL JR, JOHN WESLEY    37 WEST ELMWOOD DRIVE                                                                     MONROE             LA     71203‐2563
HILL JR, LEE H          124 W. ORCHARD SPRINGS RD                                                                 DAYTON             OH     45415‐3119
HILL JR, LEE H          124 W ORCHARD SPRINGS DR                                                                  DAYTON             OH     45415‐3119
HILL JR, LEONARD C      132 HILLTOP CIR                                                                           ELYRIA             OH     44035‐1507
HILL JR, LEWIS T        7645 CHUBB RD                                                                             NORTHVILLE         MI     48168‐9609
HILL JR, LEWIS TURNER   7645 CHUBB RD                                                                             NORTHVILLE         MI     48168‐9609
HILL JR, LUNDY C        1132 MAPLE RD                                                                             ESSEX              MD     21221‐6116
HILL JR, LYMAN          2705 KEVIN RD                                                                             SAN PABLO          CA     94806
HILL JR, MANSFIELD      5422 DANIEL DR                                                                            INDIANAPOLIS       IN     46226‐1656
HILL JR, MARCELLAS      5240 HARVARD AVE                                                                          RAYTOWN            MO     64133‐2344
HILL JR, MONROE         PO BOX 33                                                                                 CAWOOD             KY     40815‐0033
HILL JR, MONROE         P.O. BOX 33                                                                               CAWOOD             KY     40815‐0033
HILL JR, MORRIS         4197 E 189TH ST                                                                           CLEVELAND          OH     44122‐6959
HILL JR, MORRIS M       3740 KNOLLBROOK DR                                                                        FRANKLIN           OH     45005‐4917
HILL JR, MOSES          1911 HIGHTOWER TRL                                                                        RUTLEDGE           GA     30663‐2516
HILL JR, NORMAN J       418 ANGLE RD                                                                              LAPEER             MI     48446‐7502
HILL JR, PAUL E         954 WOODLYNN RD                                                                           BALTIMORE          MD     21221‐5238
HILL JR, PERCY M        117 WOODLAND ST                                                                           LIVINGSTON         TN     38570‐1335
HILL JR, PHILIP S       610 W 2ND ST                                                                              DAVISON            MI     48423‐1362
HILL JR, RANDALL E      2 WEER CIR                    KLAIR ESATES                                                WILMINGTON         DE     19808‐5762
HILL JR, RAYMOND D      18105 DAWNS TRL                                                                           WILDWOOD           MO     63005‐8432
HILL JR, ROBERT L       7705 NE 108TH TER                                                                         KANSAS CITY        MO     64157‐8109
HILL JR, ROBERT L       630 CRESCENT LAYNE                                                                        CARLISLE           OH     45005
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Name                                   Address1                         Address2                        Address3                  Address4               City               State   Zip
HILL JR, ROOSEVELT                     1596 MAPLERIDGE RD                                                                                                SAGINAW             MI     48604‐1716
HILL JR, RUFUS                         7942 AUSTRIAN PINE DR                                                                                             INDIANAPOLIS        IN     46268‐1851
HILL JR, SHELLIE A                     104 VALERIE DR                                                                                                    ARKADELPHIA         AR     71923‐4551
HILL JR, THEODORE                      PO BOX 683                                                                                                        SAGINAW             MI     48606
HILL JR, THOMAS J                      2986 S MAIN ST                                                                                                    LONGVIEW            TX     75603‐6663
HILL JR, THOMAS L                      240 WHITE RD NW                                                                                                   ADAIRSVILLE         GA     30103‐5351
HILL JR, THOMAS W                      61 MCGREGOR AVE                                                                                                   MT ARLINGTON        NJ     07856‐1006
HILL JR, WALLACE                       64 ESSLA DR                                                                                                       ROCHESTER           NY     14612‐2208
HILL JR, WILLIAM T                     137 FALLINGWATER DR                                                                                               ELYRIA              OH     44035‐8957
HILL JR, WILLIE                        5933 SUNRIDGE DR                                                                                                  CINCINNATI          OH     45224‐2737
HILL JR., ALONZO D                     242 BIG CREEK TRL                                                                                                 MAYNARD             AR     72444‐9656
HILL JR., DOUGLAS R                    593 DEANNA DR                                                                                                     LAPEER              MI     48446‐3369
HILL JR., JOHN W                       505 RYDER RD APT 709                                                                                              LANSING             MI     48917‐1058
HILL JR., JOHN WALTON                  505 RYDER RD APT 709                                                                                              LANSING             MI     48917‐1058
HILL JR., RUSSELL L                    2946 MCKOON AVE                                                                                                   NIAGARA FALLS       NY     14305‐1913
HILL JR., RUSSELL L                    1992 MOUNT HOPE RD                                                                                                LEWISTON            NY     14092‐9718
HILL JULIA W                           26742 VENADO DR                                                                                                   MISSION VIEJO       CA     92691‐6232
HILL KENNETH                           1360 SHADY OAKS DR                                                                                                SOUTHLAKE           TX     76092‐4208
HILL KENNETH R (354600)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK             VA     23510
                                                                        STREET, SUITE 600
HILL KURT                              13 N MAIN ST                                                                                                      LOMBARD             IL     60148‐2352
HILL LAUREN                            HILL, LAUREN                     PO BOX 18                                                                        GOODRICH            TX     77335
HILL LEONARD (459126)                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK             VA     23510
                                                                        STREET, SUITE 600
HILL LINDSEY M                         712 MORLEY CT                                                                                                     DEARBORN            MI     48124‐2100
HILL LLOYD EARL (ESTATE OF) (481796)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK             VA     23510
                                                                        STREET, SUITE 600
HILL MACHINE/GR RAPD                   4585 DANVERS DR SE                                                                                                GRAND RAPIDS        MI     49512‐4040
HILL MACK ADRIAN (429100)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK             VA     23510
                                                                        STREET, SUITE 600
HILL MANEY (459127)                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK             VA     23510
                                                                        STREET, SUITE 600
HILL MARK                              400 CEDAR RIDGE DR                                                                                                BERKELEY SPRINGS   WV      25411
HILL MARSH, ANDREANA                   302 CHANDLER ST                                                                                                   FLINT              MI      48503‐2192
HILL MD, ROBERT V                      19588 LAKESHORE DR                                                                                                THREE RIVERS       MI      49093‐8009
HILL MECHANICAL GROUP                  MARC PITTAS                      11045 GAGE AVE                                                                   FRANKLIN PARK      IL      60131‐1437
HILL MICHAEL W (477227)                KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                                    CLEVELAND          OH      44114
                                                                        BOND COURT BUILDING
HILL MILTON                            63 N BALDWIN RD                                                                                                   CLARKSTON          MI      48348‐2301
HILL MITCHELL                          HILL, MITCHELL                   30 MARINE P.O. BOX 142                                                           TIEREWT            TN      38070
HILL NIKKIE                            HILL, NIKKIE                     1610 PAULENE AVENUE                                                              ROCKFORD           IL      61101
HILL OLDSMOBILE NISSAN INC             MYERS FOREHAND & FULLER          402 N OFFICE PLAZA DR , STE B                                                    TALLAHASSEE        FL      32301
HILL PATRICIA                          HILL, PATRICIA                   649 N YORK ST                                                                    ELMHURST           IL      60126‐1604
HILL QUEEN ESTHER                      C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                                              LITTLE ROCK        AR      72201
HILL RAYMOND E (463853)                ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                                       BALTIMORE          MD      21202
                                                                        CHARLES CENTER 22ND FLOOR
HILL RHONDA                            HILL, RHONDA                     GORBERG DAVID J & ASSOCIATES    2325 GRANT BUILDING 310                          PITTSBURGH          PA     15219
                                                                                                        GRANT STREET
HILL RICHARD                           7708 NW MASTERN DR                                                                                                KANSAS CITY        MO      64152‐1506
HILL RICHARD                           2755 FAIRWAY DR                                                                                                   BATON ROUGE        LA      70809‐1806
HILL RICHARD                           610 E ELK RIDGE DR                                                                                                PAYSON             AZ      85541‐5674
HILL RICHARD A (413705)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK            VA      23510
                                                                        STREET, SUITE 600
HILL ROBERT                            3520 N GEECK RD                                                                                                   CORUNNA             MI     48817‐9712
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HILL ROBERT C                   HILL, ROBERT C                    US BANK BUILDING, 4717 PARK                                                        ASHTABULA         OH 44005
                                                                  AVENUE, P.O. BOX 1247
HILL ROBERT F (429101)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA   23510
                                                                  STREET, SUITE 600
HILL ROBERT G (466971)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA   23510
                                                                  STREET, SUITE 600
HILL ROGER AND ROSE MARIE       PO BOX 480                                                                                                           ROBINSON         IL   62454‐0480
HILL ROY J (422737)             WEITZ & LUXENBERG                 180 MAIDEN LANE                                                                    NEW YORK         NY   10038
HILL RUBEN (445235)             BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD       OH   44067
                                                                  PROFESSIONAL BLDG
HILL SR, ALVIN                  2103 N CASTLE CT                                                                                                     MATTHEWS         NC   28105‐5425
HILL SR, GEORGE A               4401 MAPLE POINTE TRL                                                                                                GRAND BLANC      MI   48439‐9798
HILL SR, LONNIE E               5201 CANAAN CREEK RD                                                                                                 EDMOND           OK   73034‐9512
HILL SR, LOUIE L                4614 ALMO AVE                                                                                                        MEMPHIS          TN   38118‐3212
HILL SR, WILLIAM F              55 KEATING DR                                                                                                        ROCHESTER        NY   14622‐1521
HILL STEVE                      4852 SUNDALE DR                                                                                                      CLARKSTON        MI   48346‐3691
HILL STEVEN                     HILL, STEVEN                      2233 MICHAEL AVE SW APT 10                                                         WYOMING          MI   49509‐1880
HILL SUZETTE                    PO BOX 796                                                                                                           HIAWASSEE        GA   30545‐0796
HILL THOMAS (445236)            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD       OH   44067
                                                                  PROFESSIONAL BLDG
HILL THOMAS W (356342)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA   23510
                                                                  STREET, SUITE 600
HILL TIRE & SERVICE             14010 N STEMMONS FWY                                                                                                 FARMERS BRANCH   TX   75234‐3461
HILL TIRE CENTER                417 E MAIN ST                                                                                                        MONCKS CORNER    SC   29461‐3617
HILL TOMIKO                     HILL, VIRGINIA                    KROHN & MOSS                    3 SUMMIT PARK DRIVE SUITE                          INDEPENDENCE     OH   44131
                                                                                                  100
HILL TOMIKO                     HILL, TOMIKO                      3 SUMMIT PARK DR STE 100                                                           INDEPENDENCE     OH   44131‐2598
HILL TRAVIS (488469)            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD       OH   44067
                                                                  PROFESSIONAL BLDG
HILL VERNON                     HILL, VERNON                      1121 BETHLEHEM PIKE STE 60                                                         SPRING HOUSE     PA   19477‐1102
HILL VIEW PACKING COMPANY       3680 CHARTER PARK DR STE A                                                                                           SAN JOSE         CA   95136‐1358
HILL WALTER (636561)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA   23510
                                                                  STREET, SUITE 600
HILL WANDA GRACE LEE (429102)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA   23510
                                                                  STREET, SUITE 600
HILL WANDA L                    5909 CLEARVIEW DR 3/15/07AM                                                                                          TROY             MI   48098
HILL WARREN D                   5021 HANGING MOSS LN                                                                                                 SARASOTA         FL   34238
HILL WIGGINS JR                 1078 RIVER FOREST DR                                                                                                 FLINT            MI   48532‐2804
HILL WILLIAM (445237)           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD       OH   44067
                                                                  PROFESSIONAL BLDG
HILL WILLIAM E (439135)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA   23510
                                                                  STREET, SUITE 600
HILL WILLIAM T (445239)         BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD       OH   44067
                                                                  PROFESSIONAL BLDG
HILL WINFIELD                   62 SOLDIERS SQ                                                                                                       CHESTERBROOK     PA   19087‐5829
HILL YOLANDA                    327 ADELINE DR                                                                                                       GOOSE CREEK      SC   29445
HILL, , KATHRYN                 2103 N CASTLE CT                  C/O ALVIN HILL JR                                                                  MATTHEWS         NC   28105‐5426
HILL, A                         4120 RIVARD ST APT 621                                                                                               DETROIT          MI   48207
HILL, AARON F                   6186 NEFF RD                                                                                                         MOUNT MORRIS     MI   48458‐2753
HILL, ADA B                     PO BOX 767                                                                                                           SELMA            AL   36702‐0767
HILL, ADAM MICHAEL              IVEY & RAGSDALE                   PO BOX 1349                                                                        JASPER           AL   35502‐1349
HILL, ADAM MICHAEL              1123 STREET RD                                                                                                       JASPER           AL   35504‐5540
HILL, ADELE F                   111 7TH ST                                                                                                           CALUMET          MI   49913‐1609
HILL, ADESE A                   2255 ADAMS AVE                                                                                                       NORWOOD          OH   45212‐3232
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Name                 Address1                       Address2                        Address3   Address4               City             State   Zip
HILL, ADLEANE        3332 LYNCHBURG ST                                                                                MEMPHIS           TN     38134‐8434
HILL, AGATHA L       11333 SUGARPINE DR APT 508                                                                       ST. LOUIS         MO     63033‐6716
HILL, ALAN J         613 W BRAND ST                                                                                   DURAND            MI     48429‐1120
HILL, ALAN JAMES     613 W BRAND ST                                                                                   DURAND            MI     48429‐1120
HILL, ALBERT F       510 NELL ST SW                                                                                   DECATUR           AL     35601‐5636
HILL, ALBERT J       9243 SHERWOOD DR                                                                                 DAVISBURG         MI     48350‐1927
HILL, ALBERT L       3402 HOLLY AVE                                                                                   FLINT             MI     48506‐4714
HILL, ALBERT S       G3184 BROWN ST                                                                                   FLINT             MI     48532‐5108
HILL, ALESHA
HILL, ALEXIA A       12248 LONGVIEW ST                                                                                DETROIT          MI      48213‐1750
HILL, ALEXIS J       16198 TRACEY ST                                                                                  DETROIT          MI      48235‐4019
HILL, ALFRED         274 DELAWARE AVE APT 102                                                                         BUFFALO          NY      14202‐2018
HILL, ALICE          4889 BEST STREET                                                                                 HAMBURG          NY      14075‐4021
HILL, ALICE F        3013 ELLIS DR                                                                                    KILLEEN          TX      76543‐2670
HILL, ALICIA I       3339 S POSEYVILLE RD                                                                             MIDLAND          MI      48640‐8578
HILL, ALLEN E        306 HUDSON HILL DR                                                                               MACON            GA      31220‐5500
HILL, ALLEN L        222 RIDGE CREEK DR                                                                               JANESVILLE       WI      53548‐5824
HILL, ALMA K         PO BOX 315                                                                                       DAYTON           OH      45401‐0315
HILL, ALMA R         1802 GREENBRIAR LN                                                                               FLINT            MI      48507‐2220
HILL, ALONA J        2009 W RIVERVIEW AVE                                                                             DAYTON           OH      45402‐5924
HILL, ALONZO         22190 CHURCH ST                                                                                  OAK PARK         MI      48237
HILL, ALTON          1208 CONNECTICUT AVE                                                                             MARYSVILLE       MI      48040‐1419
HILL, ALTON R        7037 DAVISON RD                                                                                  DAVISON          MI      48423‐2005
HILL, ALVIN B        296 LYNN ANN DR                                                                                  NEW KENSINGTON   PA      15068‐8338
HILL, ALWYN E        PO BOX 681                                                                                       INKSTER          MI      48141‐0681
HILL, AMANDA D       25 PENN AVENUE                                                                                   MANSFIELD        OH      44903‐1729
HILL, AMOS T         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA      23510‐2212
                                                    STREET, SUITE 600
HILL, ANDREW         BROWN TERRELL HOGAN ELLIS      804 BLACKSTONE BLDG, 233 EAST                                     JACKSONVILLE      FL     32202
                     MCCLAMMA & YEGELWEL P.A.       BAY STREET
HILL, ANGELA         PO BOX 695                                                                                       CATLIN           IL      61817‐0695
HILL, ANGELA D       PO BOX 142                                                                                       OLIVET           MI      49076‐0142
HILL, ANGELIQUE      4269 LAGER LN                                                                                    CARBONDALE       IL      62902‐0970
HILL, ANGELO J       10388 GRAND BLANC RD                                                                             GAINES           MI      48436‐9772
HILL, ANGELO JOHN    10388 GRAND BLANC RD                                                                             GAINES           MI      48436‐9772
HILL, ANITA F        1625 NE 5TH ST                                                                                   MOORE            OK      73160‐7917
HILL, ANN C          4691 SCHENK ROAD                                                                                 BARNHART         MO      63012‐1631
HILL, ANNA           20026 ANTAGO ST                                                                                  LIVONIA          MI      48152‐2402
HILL, ANNA           9866 CAMBRIDGE CT                                                                                SOUTH LYON       MI      48178
HILL, ANNA           20026 ANTAGO                                                                                     LIVONIA          MI      48152‐2402
HILL, ANNA           247 27 RD                                                                                        GRAND JUNCTION   CO      81503
HILL, ANNABEL E      5436 SUNSET DR                                                                                   CHEYENNE         WY      82009‐3702
HILL, ANNIE C        505 N EPPINGTON DR                                                                               TROTWOOD         OH      45426‐2823
HILL, ANNIE L        12057 LONGVIEW ST                                                                                DETROIT          MI      48213‐1747
HILL, ANNIE L        12428 HASTINGS RD                                                                                MIDWEST CITY     OK      73130‐4928
HILL, ANNIE L        430 ALBERTA DR                 AT 2                                                              AMHERST          NY      14226
HILL, ANTHONY D      1079 FAIRWAY DR                                                                                  PONTIAC          MI      48340‐1479
HILL, ANTHONY DALE   1079 FAIRWAY DR                                                                                  PONTIAC          MI      48340‐1479
HILL, ANTHONY J      10225 E NEWBURG RD                                                                               DURAND           MI      48429‐1728
HILL, ANTHONY L      2517 WOOD DR                                                                                     BELOIT           WI      53511‐2634
HILL, ANTHONY L      5205 TRAILHEAD DR                                                                                ARLINGTON        TX      76013‐5324
HILL, ANTHONY L      7101 TRAVERTINE DR UNIT 301                                                                      BALTIMORE        MD      21209‐3787
HILL, ANTHONY V      14202 BLACKBERRY CREEK                                                                           BURTON           MI      48519
HILL, ANTOINETTE     14524 S LOWE AVE                                                                                 RIVERDALE        IL      60827‐2626
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Name                Address1                           Address2                        Address3   Address4               City               State   Zip
HILL, AR'QUINTA N   7407 LOUISE ST                                                                                       SHREVEPORT          LA     71108‐4938
HILL, ARCHIE M      23203 PURITAN ST                                                                                     DETROIT             MI     48223‐1025
HILL, ARES M        2117 DUPONT ST                                                                                       FLINT               MI     48504‐7261
HILL, ARNO A        7450 PALMYRA RD SW                                                                                   WARREN              OH     44481‐9245
HILL, ARNOLD        1721 TUSCALOOSA ST                                                                                   GREENSBORO          AL     36744‐1030
HILL, ARNOLD K      GOLDENBERG, MILLER, HELLER &       PO BOX 959                                                        EDWARDSVILLE         IL    62025‐0959
                    ANTOGNOLI
HILL, ARTHUR A      411 48TH ST                                                                                          SANDUSKY           OH      44870‐4983
HILL, ARTHUR E      9752 51ST AVE N                                                                                      SAINT PETERSBURG   FL      33708‐3638

HILL, ARTHUR J      PO BOX 1102                                                                                          SAHUARITA          AZ      85629‐1002
HILL, ARTHUR L      1129 HILLROCK DR                                                                                     SOUTH EUCLID       OH      44121‐3854
HILL, ARTIS J       8145 N LINDEN RD                                                                                     MOUNT MORRIS       MI      48458‐9488
HILL, ASHLEY E      2000 E DARTMOUTH AVE                                                                                 MUNCIE             IN      47303‐1421
HILL, AUBREY E      MAYA, WILLIAM LAW OFFICES          319 LENNON LN                                                     WALNUT CREEK       CA      94598‐2418
HILL, AURICO        1624 OPALINE DR                                                                                      LANSING            MI      48917‐9735
HILL, AUSTIN W      117 KELLY DR                                                                                         MOORE              OK      73160‐4821
HILL, B             2096 BETHEL DR NW                                                                                    ATLANTA            GA      30314‐1304
HILL, BAKER L       328 RUCKEL DR                                                                                        NICEVILLE          FL      32578‐1722
HILL, BARABARA      17145 REX AVE APT 105 EAST                                                                           JOPLIN             MO      64801
HILL, BARBARA       1380 WOODSIDE ST                                                                                     SAGINAW            MI      48601‐6657
HILL, BARBARA       217 KENT PL                                                                                          SAN RAMON          CA      94583‐3728
HILL, BARBARA       1380 WOODSIDE                                                                                        SAGINAW            MI      48601‐6657
HILL, BARBARA A     1473 COUNTY STREET 2986                                                                              BLANCHARD          OK      73010‐3187
HILL, BARBARA ANN   1473 COUNTY STREET 2986                                                                              BLANCHARD          OK      73010‐3187
HILL, BARBARA F     1037 SHAKESPEARE AVENUE                                                                              DAYTON             OH      45402‐5402
HILL, BARBARA J     4414 LINDEN CT APT 5                                                                                 FLINT              MI      48532‐4222
HILL, BARBARA J     406 WASHINGTON ST.                                                                                   LAKE ORION         MI      48362‐3273
HILL, BARBARA J     4414 LINDEN CT                     APT 5                                                             FLINT              MI      48532
HILL, BARBARA J     1514 W STATE ROAD 38                                                                                 NEW CASTLE         IN      47362‐9789
HILL, BARBARA J     406 N WASHINGTON ST                                                                                  LAKE ORION         MI      48362‐3273
HILL, BARBARA J     1130 UNDERWOOD AVE                                                                                   TOLEDO             OH      43607‐3070
HILL, BARRY         4700 JERRY DR                                                                                        LITTLE ROCK        AR      72223‐1317
HILL, BARRY K       3000 CAMP ROSALIE RD LOT 45                                                                          LAKE WALES         FL      33898
HILL, BARRY K       LOT 45                             3000 CAMP ROSALIE ROAD                                            LAKE WALES         FL      33898‐8374
HILL, BARRY KEITH   LOT 45                             3000 CAMP ROSALIE ROAD                                            LAKE WALES         FL      33898‐8374
HILL, BEATRICE      3868 ALLEN ST                                                                                        INKSTER            MI      48141‐3004
HILL, BEATRICE      3868 ALLEN AVE                                                                                       INKSTER            MI      48141‐3004
HILL, BEATRICE L    PO BOX 37                                                                                            ATLAS              MI      48411‐0037
HILL, BECKY         RR 1 BOX 68                                                                                          CISNE              IL      62823‐9725
HILL, BENJAMIN      10304‐MILES AVENUE                 APT A 609                                                         CLEVELAND          OH      44105
HILL, BENNA J       5946 BRETTON WOODS DR.                                                                               LITHONIA           GA      30058‐8300
HILL, BERNARD       BROWN TERRELL HOGAN ELLIS          804 BLACKSTONE BLDG, 233 EAST                                     JACKSONVILLE       FL      32202
                    MCCLAMMA & YEGELWEL P.A.           BAY STREET
HILL, BERNETTA L    1457 N 18TH ST                                                                                       MILWAUKEE          WI      53205‐2009
HILL, BERNICE       13145 WILSHIRE DR                                                                                    DETROIT            MI      48213‐1989
HILL, BERTA         2257 NEWT PATTERSON RD                                                                               MANSFIELD          TX      76063‐4223
HILL, BERTHA R      4550 GLENWOOD AVE                                                                                    FORT MYERS         FL      33905
HILL, BESSIE M      1017 SPATZ CT                                                                                        SAGINAW            MI      48602‐5755
HILL, BETH A        PO BOX 5684                                                                                          DAYTON             OH      45405‐0684
HILL, BETHANY J     3615 WHITE TRILLIUM DR W                                                                             SAGINAW            MI      48603‐1926
HILL, BETTY         1600 W LAKE BARDWELL DR UNIT 105                                                                     ENNIS              TX      75119‐6237
HILL, BETTY         1600 WEST LAKE BARDWELL DR         UNIT 105                                                          ENNIS              TX      75119‐6237
HILL, BETTY         315 EAST ST                                                                                          DEFIANCE           OH      43512‐2273
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Name                Address1                        Address2                        Address3   Address4               City              State   Zip
HILL, BETTY A       237 ROCKBRIDGE RD SW                                                                              LILBURN            GA     30047‐7008
HILL, BETTY ANN     23 BEAVER RUN DR.                                                                                 SAVANNAH           GA     31419‐9528
HILL, BETTY J       1220 WEST RICHEY RD # 32                                                                          PORT CLINTON       OH     43452‐3452
HILL, BETTY J       PO BOX 641                                                                                        PORT GIBSON        MS     39150‐0641
HILL, BETTY J       2375 RUGBY RD                                                                                     DAYTON             OH     45406‐2127
HILL, BETTY J       2283 TAYLOR ST                                                                                    DETROIT            MI     48206‐2061
HILL, BETTY J       APT 218                         603 SAINT JOSEPH DRIVE                                            KOKOMO             IN     46901‐4191
HILL, BETTY J       1220 W RICHEY RD LOT 32                                                                           PORT CLINTON       OH     43452‐9350
HILL, BETTY J       134 BROOKSIDE DR                                                                                  NEW WHITELAND      IN     46184‐1238
HILL, BETTY K       886 MASON ST NW                                                                                   WARREN             OH     44403‐2813
HILL, BETTY L       PO BOX 6177                                                                                       KOKOMO             IN     46904‐6177
HILL, BETTY L       P.O. BOX 6177                                                                                     KOKOMO             IN     46904
HILL, BETTY L       2541 MELROSE AVE                                                                                  NORWOOD            OH     45212‐4111
HILL, BETTY M       1370 E PIKE ST                                                                                    IUKA               MS     38852‐7173
HILL, BETTY M       373 HAMMOCKS DR                                                                                   FAIRPORT           NY     14450‐7006
HILL, BETTY S       103 MCALPINE DR                                                                                   WEST MONROE        LA     71291‐5700
HILL, BETTY SUE     BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                     DALLAS             TX     75219
HILL, BETTY SUE     DIMOS BROWN ERSKINE BURKETT &   1216 STUBBS AVE                                                   MONROE             LA     71201‐5622
                    GARNER LLP
HILL, BETTY SUE     BARON & BUDD PC                 9015 BLUEBONNET BLVD                                              BATON ROUGE       LA      70810‐2812
HILL, BEULAH        114 JUPITER DR                                                                                    DUNN              NC      28334‐2726
HILL, BEULAH        PO BOX 24423                                                                                      CINCINNATI        OH      45224‐0423
HILL, BEULAH G      1019 WEST PARMETER ROAD                                                                           IONIA             MI      48846‐9516
HILL, BEULAH P      7560 ARUNDEL RD                                                                                   TROTWOOD          OH      45426‐3802
HILL, BEULAH R      5731 SUNSET FALLS DR                                                                              APOLLO BEACH      FL      33572‐3114
HILL, BEVERLY J     44 S HALLOWAY ST                                                                                  DAYTON            OH      45417‐1802
HILL, BEVERLY R     2426 PROSPECT ST                                                                                  FLINT             MI      48504‐3345
HILL, BEVERLY S     3807 STATE ROUTE 123                                                                              FRANKLIN          OH      45005‐9433
HILL, BEVERLY SUE   3807 STATE ROUTE 123                                                                              FRANKLIN          OH      45005‐9433
HILL, BILLIE H      2405 BROOKLINE CT SW                                                                              DECATUR           AL      35603‐1075
HILL, BILLY D       211 SW 45TH ST                                                                                    OKLAHOMA CITY     OK      73109‐7422
HILL, BILLY D       19 BURCHWOOD ST                                                                                   TROTWOOD          OH      45426‐3003
HILL, BILLY J       1225 WYOMING WAY                                                                                  ANDERSON          IN      46013‐2478
HILL, BILLY JOE     1225 WYOMING WAY                                                                                  ANDERSON          IN      46013‐2478
HILL, BILLY R       59338 TRANSMITTER RD APT 7                                                                        LACOMBE           LA      70445
HILL, BIRDIE G      P O BOX 211                                                                                       DACULA            GA      30211‐0211
HILL, BIRGITT D     519 S HIGH ST                                                                                     JANESVILLE        WI      53548‐4708
HILL, BOB L         590 BRIENWOOD DR.                                                                                 ADRIAN            MI      49221
HILL, BOBBY E       1808 ZAUEL ST                                                                                     SAGINAW           MI      48602‐1086
HILL, BOBBY J       1188 ABERDEEN AVE                                                                                 COLUMBUS          OH      43211‐1342
HILL, BOBBY L       2000 N CONGRESS AVE LOT 161                                                                       WEST PALM BEACH   FL      33409‐6344

HILL, BOBBY R       13739 WILHELM RD                                                                                  DEFIANCE          OH      43512‐8601
HILL, BOBIE L       10905 S LOWE AVE                                                                                  CHICAGO           IL      60628‐3129
HILL, BONITA M      1149 BINGHAM N.W.                                                                                 WARREN            OH      44485‐2415
HILL, BONITA M      1149 BINGHAM AVE NW                                                                               WARREN            OH      44485‐2415
HILL, BONNIE        4782 MINK STREET                                                                                  JOHNSTOWN         OH      43031‐9632
HILL, BONNIE L      4942 W TROY AVE                                                                                   INDIANAPOLIS      IN      46241‐6226
HILL, BONNIE R      6813 SALLY CT                                                                                     FLINT             MI      48505‐1915
HILL, BONNIE S      1461 BIRCH BEND RD                                                                                MEMPHIS           TN      38116‐3401
HILL, BRAD S        PO BOX 97662                                                                                      PEARL             MS      39288‐7662
HILL, BRAD SCOTT    PO BOX 97662                                                                                      PEARL             MS      39288‐7662
HILL, BRADLEY E     3632 ALPINE DR                                                                                    LANSING           MI      48911‐2601
HILL, BRADY L       3904 BAKERS FERRY RD SW                                                                           ATLANTA           GA      30331‐3926
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HILL, BRANDON       2155 MARBLETON RD                                                                            UNICOI          TN     37692‐6652
HILL, BRENDA        385 KENYON AVE                                                                               BEDFORD         OH     44146‐2629
HILL, BRENDA FAYE   5082 AMSTERDAM AVE                                                                           HOLT            MI     48842‐9605
HILL, BRENDA J      5580 OGLESBY RD                                                                              COLLEGE PARK    GA     30349‐2872
HILL, BRENDA K      1316 N PARK AVE                                                                              CASA GRANDE     AZ     85122
HILL, BRENDA L
HILL, BRENT E       910 VICTORIA DR                                                                              FRANKLIN       OH      45005‐1558
HILL, BRIAN K       10 HOLLY LN APT 4                                                                            TONAWANDA      NY      14150‐2863
HILL, BRIAN K.      10 HOLLY LN APT 4                                                                            TONAWANDA      NY      14150‐2863
HILL, BRIAN S       6661 TOWER DR APT 103                                                                        ALEXANDRIA     VA      22306
HILL, BRITNI L      7841 COUNTRY VIEW LN                                                                         BROOKVILLE     OH      45309‐8265
HILL, BRUCE A       PO BOX 231                                                                                   FERRYVILLE     WI      54628‐0231
HILL, BRUCE A       23625 IRVING ST                                                                              TAYLOR         MI      48180‐2304
HILL, BRUCE A       188 MAIN ST                                                                                  FERRYVILLE     WI      54628
HILL, C I
HILL, C R           10811 PRINCETON PIKE                                                                         WHITE HALL     AR      71602
HILL, CALVIN        C/O PAUL REICH & MYERS P.C.      1608 WALNUT ST STE 500                                      PHILADELPHIA   PA      19103‐5446
HILL, CANDANCE S    921 NOVI ROAD APT 933                                                                        NORTHVILLE     MI      48167
HILL, CARDELL       15500 MARK TWAIN ST                                                                          DETROIT        MI      48227‐2989
HILL, CARL A        895 FREY RD                                                                                  VERMONTVILLE   MI      49096‐9525
HILL, CARL D        10203 ANTIOCH DR                                                                             LICKING        MO      65542‐8175
HILL, CARL D        199 BENJAMIN ST                                                                              ROMEO          MI      48065‐5103
HILL, CARL E        101 BAYVIEW DR                                                                               TEN MILE       TN      37880‐2514
HILL, CARL E        509 SPRUCE ST APT B                                                                          LIVINGSTON     TN      38570‐2029
HILL, CARL E        101 BAY VIEW DRIVE                                                                           TEN MILE       TN      37880‐2514
HILL, CARL E        S7738 EAGLE POINT DR                                                                         MERRIMAC       WI      53561‐9769
HILL, CARL H        8941 RANCH DR                                                                                CHESTERLAND    OH      44026‐3137
HILL, CARL L        9150 HOLLISTER RD                                                                            LAINGSBURG     MI      48848‐9290
HILL, CARLENZO      7112 CAMBRIDGE DR                                                                            ROMULUS        MI      48174‐6344
HILL, CARLTON N     5580 OGLESBY RD                                                                              COLLEGE PARK   GA      30349‐2872
HILL, CARMEN D      3021 LINGER LN                                                                               SAGINAW        MI      48601‐5617
HILL, CAROL         3021 MONTANA AVE                                                                             FLINT          MI      48506
HILL, CAROL A       206 NILES ST                                                                                 LAKEVIEW       MI      48850‐9504
HILL, CAROL A       5129 WEXFORD RD                                                                              LANSING        MI      48911‐3309
HILL, CAROL B       1729 W CORTEZ ST                                                                             PHOENIX        AZ      85029‐5900
HILL, CAROL E       7112 CAMBRIDGE DRIVE                                                                         ROMULUS        MI      48174‐6344
HILL, CAROL J       4311 CLAREWOOD DR                                                                            TOLEDO         OH      43623‐3407
HILL, CAROL J       216 15TH ST                                                                                  ELYRIA         OH      44035‐7608
HILL, CAROLE E      5218 E 34TH ST                                                                               INDIANAPOLIS   IN      46218‐2430
HILL, CAROLE E      5218 EAST 34TH ST                                                                            INDIANAPOLIS   IN      46218‐2430
HILL, CAROLE M      PO BOX 1705                                                                                  JANESVILLE     WI      53547‐1705
HILL, CAROLYN       2535 INGLESIDE AVE                                                                           CINCINNATI     OH      45206‐2105
HILL, CAROLYN       9438 BRENDONWOOD DR                                                                          GOODRICH       MI      48438‐9431
HILL, CAROLYN E     3820 KIRKWOOD RD                                                                             COLUMBUS       OH      43227‐3321
HILL, CAROLYN F     5201 CANAAN CREEK RD                                                                         EDMOND         OK      73034‐9512
HILL, CAROLYN F     227 PROVIDENCE                                                                               LAWRENCE       KS      66049‐1631
HILL, CAROLYN H     11526 GUM POINT ROAD                                                                         BERLIN         MD      21811‐3174
HILL, CAROLYN J     2476 PETERS ST                                                                               ORION          MI      48359‐1145
HILL, CAROLYN J     2816 PLUM CT                                                                                 KOKOMO         IN      46902‐2957
HILL, CAROLYN S     8705 TOFTREES LANE                                                                           SPRINGBORO     OH      45066‐9653
HILL, CARRIE        1265 BLUEFIELD                                                                               FLORISSANT     MO      63033‐3328
HILL, CARRIE D      PO BOX 42605                                                                                 ATLANTA        GA      30311‐0605
HILL, CARROL D      4782 MINK STREET                                                                             JOHNSTOWN      OH      43031‐9632
HILL, CATHERINE     1687 CLEMMON SANDERS CIR                                                                     ROCK HILL      SC      29732‐7643
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Name                     Address1                            Address2                       Address3   Address4               City            State   Zip
HILL, CATHERINE M        1753 SOUTH LEYDEN STREET                                                                             DENVER           CO     80224‐2156
HILL, CELIA B            2967 MONTVIEW DR SW                                                                                  MARIETTA         GA     30060‐5138
HILL, CHARLENE D         1021 LAURELWOOD RD                                                                                   MANSFIELD        OH     44907‐2324
HILL, CHARLES            3563 RIPPLEGROVE DRIVE                                                                               CINCINNATI       OH     45251‐2416
HILL, CHARLES            1305 LAIDLAW AVE                                                                                     CINCINNATI       OH     45237‐5203
HILL, CHARLES            511 S 89TH WAY                                                                                       MESA             AZ     85208
HILL, CHARLES            GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW          MI     48604‐2602
                                                             260
HILL, CHARLES D          4241 BOWEN RD                                                                                        TOLEDO          OH      43613‐3848
HILL, CHARLES D          6445 FAR HILLS AVE                                                                                   DAYTON          OH      45459‐2725
HILL, CHARLES E          66 LAKEWOOD VLG                                                                                      MEDINA          NY      14103‐1846
HILL, CHARLES E          BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD      OH      44067
                                                             PROFESSIONAL BLDG
HILL, CHARLES EDWARD     MOODY EDWARD O                      801 W 4TH ST                                                     LITTLE ROCK     AR      72201‐2107
HILL, CHARLES J          380 DANIELS ESTATES DR                                                                               UNION           MO      63084‐3035
HILL, CHARLES L          10 PINE BREEZE CV                                                                                    LITTLE ROCK     AR      72210‐8730
HILL, CHARLES L          103 SKIATOOK WAY                                                                                     LOUDON          TN      37774‐2109
HILL, CHARLES L          1840 BRANDON HALL DR                                                                                 SANDY SPRINGS   GA      30350‐3709
HILL, CHARLES M          BRINDISI LOUIS T                    2713 GENESEE ST                                                  UTICA           NY      13501‐6556
HILL, CHARLES P          16500 FAIRMOUNT DR                                                                                   DETROIT         MI      48205‐1557
HILL, CHARLES R          300 S EDGEWORTH AVE                                                                                  ROYAL OAK       MI      48067‐3968
HILL, CHARLES R          51058 PLYMOUTH VALLEY DR                                                                             PLYMOUTH        MI      48170‐6370
HILL, CHARLES T          5520 PEGGY DR                                                                                        HARRISON        MI      48625‐9361
HILL, CHARLES W          2117 HUDSON LN                                                                                       DECATUR         GA      30035‐1399
HILL, CHARLIE            901 PALLISTER APT 404                                                                                DETROIT         MI      48202‐2680
HILL, CHARLIE F          3328 JOHN DALY ST                                                                                    INKSTER         MI      48141‐2633
HILL, CHARLIE F          21496 DEQUINDRE RD APT 102                                                                           WARREN          MI      48091‐2243
HILL, CHARLIE H          432 HARRIET ST                                                                                       DAYTON          OH      45408‐2024
HILL, CHARLIE L          6771 WOOD VALLEY DRIVE              LOT 5                                                            MILLINGTON      MI      48746
HILL, CHARLIE L          120 GOODRICH ST                     APT 2                                                            VASSAR          MI      48768
HILL, CHARLOTTE          400 SURREY HILL WAY                 WAY                                                              ROCHESTER       NY      14623‐3059
HILL, CHARLOTTE E        120 CAMBRIDGE AVE                                                                                    DAYTON          OH      45406‐5005
HILL, CHARLOTTE L        130 COUNTRY WALK                                                                                     SOCIAL CIRCLE   GA      30025‐5111
HILL, CHARLOTTE L.       130 COUNTRY WALK                                                                                     SOCIAL CIRCLE   GA      30025‐5111
HILL, CHERYL A           7 JERNIGAN TRAIL                                                                                     DUNN            NC      28334
HILL, CHERYL R           73 E WASHINGTON ST                                                                                   CHAGRIN FALLS   OH      44022‐3001
HILL, CHERYL W           3164 NW 108TH TER                                                                                    SUNRISE         FL      33351‐6815
HILL, CHERYLE H          14551 WHITCOMB ST                                                                                    DETROIT         MI      48227‐2208
HILL, CHESTER L          779 CONCOURSE VLG E APT 1L                                                                           BRONX           NY      10451‐3708
HILL, CHESTER M          PO BOX 6158                                                                                          SAGINAW         MI      48608‐6158
HILL, CHINNIE E          355 MIA                                                                                              DAYTON          OH      45427‐2913
HILL, CHINNIE E          355 MIA AVE                                                                                          DAYTON          OH      45427‐2913
HILL, CHRISTOPHER A      1162 SUNSET LN                                                                                       BENSALEM        PA      19020‐7616
HILL, CHRISTOPHER E      1527 IDYLWILD RD                                                                                     PRESCOTT        AZ      86305
HILL, CHRISTOPHER T      3317 S VICTORIA DR                                                                                   BLUE SPRINGS    MO      64015‐1134
HILL, CHRISTOPHER TODD   725 SOUTHWEST WINTERSTAR DRIVE                                                                       LEES SUMMIT     MO      64081‐2679
HILL, CINDY A            PO BOX 495                                                                                           BATAVIA         NY      14021‐0495
HILL, CLARA              7728 CROAKER RD APT 101                                                                              WILLIAMSBURG    VA      23188‐7075
HILL, CLARENCE           47 MAGNOLIA DR                                                                                       MONROE          LA      71203‐2751
HILL, CLARENCE L         PO BOX 447                                                                                           GIDEON          MO      63848‐0447
HILL, CLARIETTA M        13329 MANNING ST                                                                                     DETROIT         MI      48205‐1704
HILL, CLARISSA
HILL, CLARISSA           209 ANTHONY ST BLDG 19                                                                               BRIDGEPORT      CT      06605‐2846
HILL, CODY A             9984 DUCK CREEK RD                                                                                   SALEM           OH      44460‐9671
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Name               Address1                          Address2                      Address3   Address4               City            State   Zip
HILL, CONNIE M     3660 SOUTH LAPEER RD LOT 68                                                                       METAMORA         MI     48455‐8916
HILL, CONNIE R     7850 CLOVERHILL DR                                                                                LANSING          MI     48917‐9641
HILL, CORA L       1312 WODOSIDE DR                                                                                  EAST LANSING     MI     48823‐2950
HILL, CORDELIA C   6032 MARJA ST                                                                                     FLINT            MI     48505‐5804
HILL, CORDELIA C   6032 MARJA                                                                                        FLINT            MI     48505‐5804
HILL, CRAIG        9905 SW NUOVA WAY                                                                                 PORT ST LUCIE    FL     34986‐2835
HILL, CRAIG D      5921 OAK HILL RD                                                                                  ORTONVILLE       MI     48462‐8913
HILL, CRAIG E      1402 HIGHVIEW DR                                                                                  FAIRBORN         OH     45324‐5628
HILL, CRAWFORD     61 MARTIN LUTHER KING JR BLVD N                                                                   PONTIAC          MI     48342‐2921
HILL, CROSLEY B    1106 BLACKBERRY CRK                                                                               BURTON           MI     48519‐1919
HILL, CULLAIN W    15349 ARTESIAN ST                                                                                 DETROIT          MI     48223‐2266
HILL, CURTIS R     954 CANTERBURY DR                                                                                 PONTIAC          MI     48341‐2332
HILL, CYNTHIA      151 HAZELWOOD AVE                                                                                 BUFFALO          NY     14215‐3516
HILL, CYNTHIA      5431 MAPLE CANYON AVE                                                                             COLUMBUS         OH     43229‐3822
HILL, CYNTHIA A    607 DIAMOND RIDGE DR NE                                                                           CLEVELAND        TN     37312
HILL, CYNTHIA L    8145 N LINDEN RD                                                                                  MOUNT MORRIS     MI     48458‐9488
HILL, D J          11235 BRAUN RD                                                                                    MANCHESTER       MI     48158‐9551
HILL, DAISY        9126 GARFIELD ST.                                                                                 REDFORD          MI     48239‐1507
HILL, DAISY        9126 GARFIELD                                                                                     REDFORD          MI     48239‐1507
HILL, DAISY F      4710 CLOVERDALE LANE                                                                              KIMBALL          MI     48074
HILL, DALE A       275 HARMON AVE                                                                                    MANSFIELD        OH     44903‐4138
HILL, DALE G       4606 PLATEAU DR N                                                                                 SPRINGFIELD      OH     45502‐9236
HILL, DAMIAN       18 SHADOW CREEK DR                                                                                SAINT PETERS     MO     63376‐2357
HILL, DAN L        64 MYRON AVE                                                                                      INDIANAPOLIS     IN     46241‐1324
HILL, DANA M       4648 MIDWAY AVE                                                                                   DAYTON           OH     45417‐1354
HILL, DANIEL C     36166 EW 1120                                                                                     SEMINOLE         OK     74868‐7617
HILL, DANIEL M     5021 HANGING MOSS LANE                                                                            SARASOTA         FL     34238‐3374
HILL, DANIEL S     8978 RIDGE RD                                                                                     GASPORT          NY     14067‐9406
HILL, DANIEL S     2829 DENTON RD                                                                                    CANTON           MI     48188‐2109
HILL, DANIEL W     63 N BASSETT RD                                                                                   LAPEER           MI     48446‐2862
HILL, DANIELLE K   2041 N COMMONWEALTH AVE APT 104                                                                   LOS ANGELES      CA     90027‐2840
HILL, DANNY A      301 BASSARD DR                                                                                    DEFIANCE         OH     43512‐3302
HILL, DANNY R      7174 CAINE RD                                                                                     VASSAR           MI     48768‐9284
HILL, DARIUS D     182 EMS T26 LN                                                                                    LEESBURG         IN     46538‐8919
HILL, DARIUS D     182 EMS T26 LANE                                                                                  LEESBURG         IN     46538‐8919
HILL, DARIUS E     1703 NE 75TH ST                                                                                   GLADSTONE        MO     64118‐2230
HILL, DARLENE Y    10 GIRARD BLVD                                                                                    JOLIET            IL    60433
HILL, DARRELL L    3703 N LESLEY AVE                                                                                 INDIANAPOLIS     IN     46218‐1857
HILL, DARRYL       1085 CATOOSA RD                                                                                   WARTBURG         TN     37887
HILL, DARRYL       PO BOX 1264                                                                                       WARTBURG         TN     37887‐1264
HILL, DARRYL L     3180 LIENHART RD                                                                                  DANSVILLE        MI     48819‐9772
HILL, DARVETTA K   13335 E STATE FAIR ST                                                                             DETROIT          MI     48205‐1715
HILL, DARWIN       PORTER & MALOUF PA                4670 MCWILLIE DR                                                JACKSON          MS     39206‐5621
HILL, DAVID        GUY WILLIAM S                     PO BOX 509                                                      MCCOMB           MS     39649‐0509
HILL, DAVID        419 DOUBLE T LN                                                                                   CORBIN           KY     40701‐8800
HILL, DAVID A      915 ANGELICA ST                                                                                   BOWLING GREEN    KY     42104‐5502
HILL, DAVID A      3931 ORTIZ, N.E.                                                                                  ALBUQUERQUE      NM     87110
HILL, DAVID C      2205 PIPELINE RD APT 5309                                                                         CLEBURNE         TX     76033‐7784
HILL, DAVID C      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                     STREET, SUITE 600
HILL, DAVID C      PO BOX 144                                                                                        INDIAN RIVER     MI     49749‐0144
HILL, DAVID H      1831 TORRANCE ST                                                                                  SAN DIEGO        CA     92103‐2718
HILL, DAVID H      5920 S EMERSON RD                                                                                 BELOIT           WI     53511‐9424
HILL, DAVID L      3218 CRABAPPLE LN                                                                                 JANESVILLE       WI     53548‐3227
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HILL, DAVID L       12850 DUNDEE DR                                                                                  GRAND LEDGE         MI     48837‐8956
HILL, DAVID L       13424 ENID BLVD                                                                                  FENTON              MI     48430‐1153
HILL, DAVID L       235 W MONUMENT AVE                                                                               DAYTON              OH     45402‐3014
HILL, DAVID P       25315 M 32 S                                                                                     HILLMAN             MI     49746‐8654
HILL, DAVID R       23753 MEDINA ST                                                                                  CLINTON TWP         MI     48035‐1927
HILL, DAVID R       6687 HUNTERS CREEK RD                                                                            SOUTH WALES         NY     14139‐9513
HILL, DAVID W       1503 S MARION AVE                                                                                JANESVILLE          WI     53546‐5422
HILL, DAVID W       1081 W 108TH ST                                                                                  CHICAGO              IL    60643‐3722
HILL, DAWN R        2116 REARDON DR                                                                                  DAYTON              OH     45420‐1422
HILL, DE JUAN A     PO BOX 611115                                                                                    PORT HURON          MI     48061‐1115
HILL, DE JUAN A     13329 MANNING ST                                                                                 DETROIT             MI     48205‐1704
HILL, DEAN J        4238 MANCHESTER RD                                                                               FRANKLIN            OH     45005‐4406
HILL, DEANDRE       24967 WOODVIEW CT APT 4469                                                                       FARMINGTON HILLS    MI     48335

HILL, DEANNA M      9540 STATE ROUTE 305                                                                             GARRETTSVILLE      OH      44231‐9622
HILL, DEBBIE
HILL, DEBORA L      109 N 8TH ST                                                                                     MIDDLETOWN          IN     47356‐1305
HILL, DEBORA LYNN   109 N 8TH ST                                                                                     MIDDLETOWN          IN     47356‐1305
HILL, DEBORAH       KROHN & MOSS ‐ IN               120 WEST MADISON STREET 10TH                                     CHICAGO             IL     60602
                                                    FLOOR
HILL, DEBORAH       34359 GIANNETTI DR                                                                               STERLING HEIGHTS   MI      48312‐5736
HILL, DELCIA M      20253 SANTA BARBARA DR                                                                           DETROIT            MI      48221‐1281
HILL, DELEATH       1310 BROOKVIEW DR APT 64                                                                         TOLEDO             OH      43615‐7236
HILL, DELLA T       4514 OAKRIDGE DR                                                                                 DAYTON             OH      45417‐1147
HILL, DELORIS E     482 ROSE PARK DR                                                                                 HOLLAND            MI      49424‐1612
HILL, DENISE A      1334 HOUSEL CRAFT RD                                                                             CORTLAND           OH      44410‐9512
HILL, DENISE ELLA   101 PEAK HILL CIRCLE                                                                             NASHVILLE          TN      37211‐6885
HILL, DENISE R      1600 TUSCANY LN                                                                                  HOLT               MI      48842‐2036
HILL, DENNIS C      2357 TRILLIUM WOODS DR                                                                           ANN ARBOR          MI      48105‐9358
HILL, DENNIS F      5256 JUNIPER LN                                                                                  REPUBLIC           MI      49879‐9201
HILL, DENNIS H      12287 E RICHFIELD RD                                                                             DAVISON            MI      48423‐8406
HILL, DENNIS L      225 S BYRON RD                                                                                   LENNON             MI      48449‐9613
HILL, DENNIS P      15260 WINDMILL DR                                                                                MACOMB             MI      48044‐4927
HILL, DENNIS P      8306 AVALON DR                                                                                   HALE               MI      48739‐8923
HILL, DENNIS PAUL   8306 AVALON DR                                                                                   HALE               MI      48739‐8923
HILL, DENNIS R      2803 COSTA MESA RD                                                                               WATERFORD          MI      48329‐2438
HILL, DENNIS W      32142 BRADFORD ST                                                                                NEW HAVEN          MI      48048‐1950
HILL, DEREK D       2790 RIVERSIDE DR                                                                                WATERFORD          MI      48329‐3677
HILL, DIANA L       60 CALVIN AVE                                                                                    LODI               NJ      07644‐2010
HILL, DIANA L       PO BOX 185                                                                                       BURLINGTON         IN      46915‐0185
HILL, DIANE K       870 WESTCHESTER RD                                                                               SAGINAW            MI      48638‐6231
HILL, DIANE M       2122 TYLER DR                                                                                    HENDERSON          NV      89074‐0646
HILL, DIANNE W      2383 OLD REX MORROW RD                                                                           ELLENWOOD          GA      30294
HILL, DILLMEN K     5468 BERMUDA BAY DR             APT 1A                                                           COLUMBUS           OH      43235
HILL, DILLMEN K     6885 KINSTON DR                                                                                  CANAL WINCHESTER   OH      43110‐9325

HILL, DOLORES A     8223 CHAMPIONSHIP CT                                                                             LAKEWOOD RANCH      FL     34202‐2589

HILL, DON R         308 SANTA FE TRL                                                                                 ARGYLE             TX      76226‐3936
HILL, DONA G        528 N PARK DR                                                                                    PETERSBURG         VA      23805‐2438
HILL, DONA G        528 PARK DR N                                                                                    PETERSBURG         VA      23805‐2438
HILL, DONALD        8 GIFFORD CT                                                                                     MAPLEWOOD          NJ      07040‐3001
HILL, DONALD        13665 GUY ST                                                                                     DEFIANCE           OH      43512‐8750
HILL, DONALD        2005 MARLINDALE RD                                                                               CLEVELAND HTS      OH      44118‐2512
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Name                   Address1                         Address2                       Address3   Address4               City            State Zip
HILL, DONALD           KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                     CLEVELAND        OH 44114
                                                        BOND COURT BUILDING
HILL, DONALD A         8590 ALMONT RD                                                                                    ALMONT          MI   48003‐8821
HILL, DONALD A         5363 NORTHERN LIGHTS DR                                                                           FORT COLLINS    CO   80528‐4440
HILL, DONALD C         9800 MASSASOIT AVE                                                                                OAK LAWN        IL   60453‐3653
HILL, DONALD C         1335 EAST AVE                                                                                     BELVIDERE       IL   61008‐4558
HILL, DONALD C         7989 N ARNOLD RD                                                                                  COLUMBIA CITY   IN   46725‐9563
HILL, DONALD D         18272 64TH AVE                                                                                    COOPERSVILLE    MI   49404‐9465
HILL, DONALD E         5088 HEATHER WAY                                                                                  DAYTON          OH   45424‐8705
HILL, DONALD E         56 S 3RD AVE                                                                                      BEECH GROVE     IN   46107‐1805
HILL, DONALD E         7219 N ALTER ST                                                                                   BALTIMORE       MD   21207‐6421
HILL, DONALD ERWIN     7219 N ALTER ST                                                                                   BALTIMORE       MD   21207‐6421
HILL, DONALD G         540 HEATHER DR APT 3                                                                              DAYTON          OH   45405‐1755
HILL, DONALD GLENN     540 HEATHER DR APT 3                                                                              DAYTON          OH   45405‐1755
HILL, DONALD H         4318 S FLORIDA AVE LOT 108                                                                        INVERNESS       FL   34450‐8555
HILL, DONALD J         1658 RUSSET AVE                                                                                   DAYTON          OH   45410‐3443
HILL, DONALD L         3047 CINNAMON DR W                                                                                WEST SALEM      OH   44287‐9124
HILL, DONALD L         509 METCALF RD                                                                                    ELYRIA          OH   44035‐2923
HILL, DONALD L         859 YANCEY ST                                                                                     LIBERTY         MO   64068‐3095
HILL, DONALD R         PO BOX 608                                                                                        HOUGHTON LAKE   MI   48629‐0608
HILL, DONALD R         331 MEAHER AVE                                                                                    PRICHARD        AL   36610‐3231
HILL, DONALD R         8205 N YOSEMITE DR                                                                                MUNCIE          IN   47303‐9054
HILL, DONALD R         10660 N MASON RD                                                                                  WHEELER         MI   48662‐9720
HILL, DONNA J          1291 TURRILL RD                                                                                   LAPEER          MI   48446‐3722
HILL, DONNA L          3520 N GEECK RD                                                                                   CORUNNA         MI   48817‐9712
HILL, DONNA M          4097 STARK DRIVE                                                                                  YOUNGSTOWN      OH   44515‐1442
HILL, DORIS E          22000 E BUNDSCHU RD                                                                               INDEPENDENCE    MO   64056
HILL, DORIS J          610 MESQUITE DRIVE                                                                                MAGNOLIA        TX   77354‐1633
HILL, DORIS L          PO BOX 365                                                                                        NORTH BRANCH    MI   48461‐0365
HILL, DORIS LAUR       PO BOX 365                                                                                        NORTH BRANCH    MI   48461‐0365
HILL, DORIS R          3497 GRANDADDY RD                                                                                 LAWRENCEBURG    TN   38464‐7079
HILL, DOROTHY          11740 SUSSEX ST                                                                                   DETROIT         MI   48227‐2028
HILL, DOROTHY A        12208 SAINT JOHN AVE                                                                              CLEVELAND       OH   44111‐5138
HILL, DOROTHY E        PO BOX 314                                                                                        SPENCER         OK   73084‐0314
HILL, DOROTHY E        1055 1ST ST                                                                                       LATROBE         PA   15650‐4679
HILL, DOROTHY E        POST OFFICE BOX 314                                                                               SPENCER         OK   73084‐0314
HILL, DOROTHY J        4240 BRISTOLWOOD DR                                                                               FLINT           MI   48507‐5537
HILL, DOUG             7302 CLEARVIEW DR                                                                                 FAIRVIEW        TN   37062‐9206
HILL, DOUGLAS B        PO BOX 535903                                                                                     GRAND PRAIRIE   TX   75053‐5903
HILL, DOUGLAS BRENT    PO BOX 535903                                                                                     GRAND PRAIRIE   TX   75053‐5903
HILL, DOUGLAS L        4709 DAVINBROOK DR                                                                                NORMAN          OK   73072‐3406
HILL, DOUGLAS L        848 SIMCOE AVE                                                                                    FLINT           MI   48507‐1681
HILL, DOUGLAS S        6935 BELL RD                                                                                      SHAWNEE         KS   66217‐9774
HILL, DUANE E          1040 GRAY SQUIRREL DR                                                                             PENDLETON       IN   46064‐9168
HILL, DWAYNE M         6927 PHEASANT OAK DRIVE                                                                           HOUSTON         TX   77083‐0117
HILL, DWAYNE MICHAEL   6927 PHEASANT OAK DRIVE                                                                           HOUSTON         TX   77083‐0117
HILL, DWIGHT           21076 ELKTON RD                                                                                   ATHENS          AL   35614
HILL, DWITE C          PO BOX 73                                                                                         ORTONVILLE      MI   48462‐0073
HILL, EARL             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA   23510‐2212
                                                        STREET, SUITE 600
HILL, EARL             PO BOX 215                                                                                        BIRCHLEAF       VA   24220‐0215
HILL, EARL B           121 DARIN CT                                                                                      ANDERSON        IN   46012‐9557
HILL, EARL E           800 RUSTIC VILLAGE LN                                                                             LAKE ORION      MI   48362‐2141
HILL, EARL H           PO BOX 14893                                                                                      SAGINAW         MI   48601‐0893
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HILL, EARLENE M      1069 BLUE RIDGE DR                                                                                                 CLARKSTON          MI     48348
HILL, EARLINE A      1091 NW WASHINGTON BLVD APT 9                                                                                      HAMILTON           OH     45013‐1266
HILL, EARNEST W      428 STUCKHARDT ROAD                                                                                                TROTWOOD           OH     45426‐2706
HILL, EARNESTINE     13319 HELEN ST/PO BOX 4                                                                                            PAULDING           OH     45879‐0004
HILL, EARNESTINE     PO BOX 4                        13319 HELEN ST/                                                                    PAULDING           OH     45879‐0004
HILL, EDDIE L        7117 DODGE RD                                                                                                      MONTROSE           MI     48457‐9136
HILL, EDDIE L        8699 PECK LAKE RD                                                                                                  SARANAC            MI     48881
HILL, EDNA B         PO BOX 1249                                                                                                        MINDEN             LA     71058‐1249
HILL, EDNA L         78870 US HIGHWAY 231                                                                                               BLOUNTSVILLE       AL     35031‐5853
HILL, EDWARD B       6288 AL HIGHWAY 101                                                                                                TOWN CREEK         AL     35672‐6702
HILL, EDWARD D       5221 N WHEATON RD                                                                                                  CHARLOTTE          MI     48813‐8610
HILL, EDWARD D       613 ST PHILLIP ST BOX 984                                                                                          SELMA              AL     36702‐0984
HILL, EDWARD J       1529 MIDLAND BLVD                                                                                                  ROYAL OAK          MI     48073‐2859
HILL, EDWIN J        1130 KINGS COVE LN.                                                                                                ROCHESTER HILLS    MI     48306
HILL, EDWIN L        4080 BOBBY JONES DR                                                                                                FLINT              MI     48506‐1404
HILL, ELAINE         PO BOX 27445                                                                                                       LANSING            MI     48909‐0445
HILL, ELAINE S       1042 S TAXIWAY HOTEL                                                                                               LAKE CITY          MI     49651‐9209
HILL, ELAYNE         7227 W 63RD PL                                                                                                     ARGO                IL    60501‐1807
HILL, ELEANOR C      PO BOX 426                                                                                                         ANDOVER             IL    61233‐0426
HILL, ELIZABETH      13410 PLANTATION LAKE CIR                                                                                          HUDSON             FL     34669‐2428
HILL, ELIZABETH A    21391 AL HIGHWAY 24                                                                                                TRINITY            AL     35673‐3974
HILL, ELLA C         7290 GLENSHIRE RD                                                                                                  OAKWOOD VILLAGE    OH     44146‐5930

HILL, ELLEN          17780 ARTHUR RD                                                                                                    BIG RAPIDS        MI      49307‐9562
HILL, ELMER H        7038 TOMOTLEY RD                                                                                                   MARYVILLE         TN      37801‐1442
HILL, ELMO           78 DIXIE LN                                                                                                        JACKSON           TN      38301‐7752
HILL, ELNORA         5792 FISHER                                                                                                        DETROIT           MI      48213
HILL, EMILY M        318 W. WILLIAMS STREET                                                                                             OVID              MI      48866‐9682
HILL, EMILY M        318 W WILLIAMS ST                                                                                                  OVID              MI      48866‐9682
HILL, EMILY N        PO BOX 310744                                                                                                      FLINT             MI      48531‐0744
HILL, EMMA B         1404 COUNTY ROAD 439                                                                                               HILLSBORO         AL      35643‐4130
HILL, EMMA D         1842 SPRINGFIELD ST                                                                                                FLINT             MI      48503‐4552
HILL, EMMA J         11315 DELVIN DR                                                                                                    STERLING HTS      MI      48314‐2606
HILL, EMMA J         11315 DELVIN                                                                                                       STERLING HGTS     MI      48314‐2606
HILL, EMMA L         285 HIGHLAND AVE                                                                                                   BLOOMFIELD        MI      48302‐0632
HILL, EMMA M         111 FOXBORO RD                                                                                                     SYRACUSE          NY      13224‐1307
HILL, ERIC ANTONIO   814 MERRITT ST SE                                                                                                  GRAND RAPIDS      MI      49507‐3344
HILL, ERIK D         3536 CHEVRON DR                                                                                                    HIGHLAND          MI      48356‐1712
HILL, ERIK DANIEL    3536 CHEVRON DR                                                                                                    HIGHLAND          MI      48356‐1712
HILL, ERMA O         335 JOHN KING RD                                                                                                   CRESTVIEW         FL      32539
HILL, ERNEST D.      7449 JENNINGS RD                                                                                                   SWARTZ CREEK      MI      48473‐8865
HILL, ERNEST L       PO BOX 266                                                                                                         SMYRNA            DE      19977‐0266
HILL, ERNEST L       1532 BELMAR RD                                                                                                     E CLEVELAND       OH      44118‐1123
HILL, ERNEST L       424 W 29TH ST                                                                                                      MARION            IN      46953‐3500
HILL, ERNESTINE      1208 DUNHAM ST SE                                                                                                  GRAND RAPIDS      MI      49506‐2630
HILL, ERNESTINE      1208 DUNHAM SE                                                                                                     GRAND RAPIDS      MI      49506‐2630
HILL, ESTELLE        734 CASE AVE                                                                                                       ELYRIA            OH      44035‐7206
HILL, ETHEL T        3024 PRAIRIE PRINCESS AVE                                                                                          NORTH LAS VEGAS   NV      89081‐6459
HILL, EULA                                           ANDERECK EVANS MILNE PEACE &   P O BOX 1438 ‐ 700 EAST                             JEFFERSON CITY    MO      65102
                                                     JOHNSON                        CAPITOL AVENUE
HILL, EULA                                           GROTEFELD & DENENBERG LLC      105 WEST ADAM STREET SUITE                          CHICAGO            IL     60603
                                                                                    2300
HILL, EULA H         605 OLD HOME RD                                                                                                    BALTIMORE         MD      21206
HILL, EULA H         10445 ORBY CANTRELL HWY                                                                                            POUND             VA      24279‐3325
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HILL, EUNICE        1823 NORTHCUT AVE                                                                          CINCINNATI          OH     45237‐6025
HILL, EUNICE S      1365 LEONORA AVE                                                                           AKRON               OH     44305‐1744
HILL, EVANGELYN     1052 W 90TH ST                                                                             LOS ANGELES         CA     90044‐3310
HILL, EVELYN L      PO BOX 20533                                                                               BULLHEAD CITY       AZ     86439‐0533
HILL, EVERETT       5410 POLK LN                                                                               OLIVER BRANCH       MS     38654‐7628
HILL, EVERETTE D    RR 1 BOX 555                                                                               BUTLER              MO     64730
HILL, EWING W       PO BOX 141                                                                                 OTTER LAKE          MI     48464‐0141
HILL, FAYE Y        2164 COUNTY ROAD 217                                                                       MOULTON             AL     35650‐7222
HILL, FELIX         4339 MARYLAND ST                                                                           DETROIT             MI     48224‐3337
HILL, FLORA M       258 PINES ST                                                                               BUFFALO             NY     14204‐1462
HILL, FLORA M       258 PINE ST                                                                                BUFFALO             NY     14204‐1462
HILL, FLORENCE L    585 W MARKET ST                                                                            SPRINGBORO          OH     45066‐1119
HILL, FLORENCE M    1125 COOPER AVE                                                                            LANSING             MI     48910‐2636
HILL, FLORIDA L     3430 PARKER ST                                                                             DETROIT             MI     48214‐1854
HILL, FLORIDA L     3430 PARKER                                                                                DETROIT             MI     48214
HILL, FLOSSIE       146 W LONGFELLOW                                                                           PONTIAC             MI     48340‐1830
HILL, FLOSSIE M     1906 LOURDES COURT                                                                         LANSING             MI     48910‐0617
HILL, FLOSSIE M     1906 LOURDES CT                                                                            LANSING             MI     48910‐0617
HILL, FONDA D       9119 DAWNSFORD DR                                                                          FORT WAYNE          IN     46804‐2624
HILL, FONZETTA M    1107 HILLROCK DR                                                                           SOUTH EUCLID        OH     44121‐3854
HILL, FRANCES       257 CAMBRIDGE DR                                                                           DIMONDALE           MI     48821‐9775
HILL, FRANCES C     3115 SORRENTO CIR SW                                                                       ATLANTA             GA     30331
HILL, FRANCES J     PO BOX 417                                                                                 WILMINGTON          OH     45177‐0417
HILL, FRANCIS E     1100 CANOPY WALK LN APT 1111                                                               PALM COAST          FL     32137‐6525
HILL, FRANCIS N     4005 BROWNELL BLVD                                                                         FLINT               MI     48504‐2124
HILL, FRANK         PORTER & MALOUF PA                4670 MCWILLIE DR                                         JACKSON             MS     39206‐5621
HILL, FRANK C       6168 RAY RD                                                                                SWARTZ CREEK        MI     48473‐9122
HILL, FRANK D       7401 N LANDINGS TRL                                                                        MUNCIE              IN     47303‐9693
HILL, FRANK J       5084 FLINTLOCK DR                                                                          BURLINGTON          KY     41005‐9513
HILL, FRANKIE       6451 WESTBAY CT                                                                            DAYTON              OH     45426‐1119
HILL, FRANKLIN D    75 TRACE DR                                                                                STOCKBRIDGE         GA     30281‐1386
HILL, FRANKLIN E    5494 BOYNE HIGHLAND TRL                                                                    CLARKSTON           MI     48348‐3702
HILL, FRANKLIN H    5744 CAMPBELL BLVD                                                                         LOCKPORT            NY     14094‐9201
HILL, FRED D        3144 S ANNABELLE ST                                                                        DETROIT             MI     48217‐1104
HILL, FRED L        8810 W 170TH ST                                                                            STILWELL            KS     66085‐8848
HILL, FRED V        3317 S VICTORIA DR                                                                         BLUE SPRINGS        MO     64015‐1134
HILL, FRED W        521 S ACADEMY ST                                                                           MEDINA              NY     14103‐1138
HILL, FREDDIE L     2045 CROCKER AVE                                                                           FLINT               MI     48503‐4049
HILL, FREDDIE L     456 RHODES AVE                                                                             AKRON               OH     44307‐2149
HILL, FREDERICK     312 PETERS DR                                                                              FOREST              VA     24551‐2306
HILL, FREDERICK A   218 ANTIETAM AVE                                                                           DAYTON              OH     45417‐1916
HILL, FREDERICK B   4500 DOBRY DR APT 143                                                                      STERLING HEIGHTS    MI     48314‐1240
HILL, FREDRICK L    2425 WALBASH DR                                                                            MONTGOMERY          AL     36116‐2210
HILL, G             1880 COLONIAL VILLAGE WAY APT 2                                                            WATERFORD           MI     48328
HILL, GAIL          402 SHIFFERS MILL RD                                                                       MILLERSBURG         PA     17061‐9231
HILL, GAIL E        14812 SULKY WAY                                                                            CARMEL              IN     46032‐5172
HILL, GAIL Y.       659 GARFIELD ST                                                                            VANDERBILT          MI     49795
HILL, GARRY N       1021 EASTCREST DR                                                                          GREENTOWN           IN     46936‐1612
HILL, GARTH G       1102 ANGOLA AVE                                                                            MOUNT MORRIS        MI     48458‐2139
HILL, GARY          20590 SHAWNEE RD                                                                           APPLE VALLEY        CA     92308‐6352
HILL, GARY          PO BOX 6361                                                                                CLEVELAND           OH     44101‐1361
HILL, GARY B        2953 NEW PROSPECT RD                                                                       HARTWELL            GA     30643‐2815
HILL, GARY F        8154 SOUTHPOINT DR                                                                         CAMDEN              MO     64017‐9127
HILL, GARY F        17257 SAND RD                                                                              KENDALL             NY     14476
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Name                       Address1                        Address2                      Address3   Address4                 City            State   Zip
HILL, GARY G               8632 FARMERSVILLE W CARROL RD                                                                     GERMANTOWN       OH     45327‐9504
HILL, GARY L               6047 PINCH HWY                                                                                    POTTERVILLE      MI     48876‐9709
HILL, GARY L               11592 DITCH RD                                                                                    OAKLEY           MI     48649‐8701
HILL, GARY L               27362 COUNTY ROAD H                                                                               WEBSTER          WI     54893‐8936
HILL, GARY T               471 PINE LN                                                                                       BIG PINE KEY     FL     33043‐4610
HILL, GAY
HILL, GAY C                3298 HILLPOINT LANE                                                                               DAYTON          OH      45414‐5423
HILL, GAYE D               4151 CREEK HOLLOW WAY                                                                             DULUTH          GA      30096‐4372
HILL, GAYE L               734 E 53RD ST                                                                                     INDIANAPOLIS    IN      46220‐3102
HILL, GENE A               130 GLENWOOD AVE APT 12                                                                           YONKERS         NY      10703‐2641
HILL, GEORGE               PO BOX 182077                                                                                     UTICA           MI      48318‐2077
HILL, GEORGE               19374 CHAREST ST                                                                                  DETROIT         MI      48234‐1646
HILL, GEORGE A             440 HARTWICK LN                                                                                   FAIRFIELD       CA      94533‐1240
HILL, GEORGE CARTAGE LTD   PO BOX 24008                    420 PINEBUSH RD                          CAMBRIDGE ON N1R 8E6
                                                                                                    CANADA
HILL, GEORGE E             14182 W DIANE DR                                                                                  CAMDEN          MI      49232‐9593
HILL, GEORGE E             22568 MISSION BLVD              APT 154                                                           HAYWARD         CA      94541
HILL, GEORGE EDMUND        5326 GROSSE POINT PKWY                                                                            TOLEDO          OH      43611‐1617
HILL, GEORGE S             1330 E DODGE RD                                                                                   MOUNT MORRIS    MI      48458‐9137
HILL, GEORGE S             516 MAHAN RD                                                                                      SILER           KY      40763‐9607
HILL, GEORGE T             308 STANTON DR                                                                                    SYRACUSE        NY      13214‐1227
HILL, GEORGE W             744 S LIDDESDALE ST                                                                               DETROIT         MI      48217‐1210
HILL, GEORGE W             PO BOX 3735                                                                                       DAYTON          OH      45401‐3735
HILL, GEORGE W             15819 BEATRICE AVE                                                                                ALLEN PARK      MI      48101‐2749
HILL, GEORGE W             3041 TURNBERRY LN                                                                                 ANN ARBOR       MI      48108‐2064
HILL, GEORGE W             P.O. BOX 3735                                                                                     DAYTON          OH      45401‐3735
HILL, GEORGE W             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA      23510‐2212
                                                           STREET, SUITE 600
HILL, GERALD A             2227 BEARANGER RD                                                                                 LAPEER          MI      48446‐8341
HILL, GERALD C             2523 VIENNA RD                                                                                    ERIE            MI      48133‐9356
HILL, GERALD E             668 BASSWOOD CT                                                                                   FLINT           MI      48506‐5221
HILL, GERALD E             6010 CHESWORTH RD                                                                                 BALTIMORE       MD      21228‐2715
HILL, GERALDINE ANN        1053 S DAYTON ST                                                                                  DAVISON         MI      48423‐1734
HILL, GERTRUDE E           1135 PAMPLONA AVENUE                                                                              DAVIS           CA      95616‐5708
HILL, GILBERT A            1933 DIVISION ST                                                                                  SAGINAW         MI      48602‐1810
HILL, GLADYS               3069 RAYWOOD                                                                                      FLINT           MI      48504‐1737
HILL, GLADYS               3617 WILCOX AVE                                                                                   BELLWOOD        IL      60104‐2176
HILL, GLADYS F             C/O WILLIAM D. HILL             2072 CLOVER STREET                                                PALM BAY        FL      32905‐2905
HILL, GLADYS F             2072 CLOVER ST NE               C/O WILLIAM D. HILL                                               PALM BAY        FL      32905‐5236
HILL, GLADYS V.            714 MILLVILLE AVE                                                                                 HAMILTON        OH      45013‐3426
HILL, GLEN D               29 E ANTLER DR                                                                                    TERRE HAUTE     IN      47802‐4801
HILL, GLEN D               9308 N MANOR DR RT#3                                                                              ZEBULON         NC      27597
HILL, GLEN T               2958 DRUM RD                                                                                      MIDDLEPORT      NY      14105‐9732
HILL, GLENDA A             PO BOX 1275                                                                                       LITHONIA        GA      30058‐1044
HILL, GLENN A              1970 CONLEY RD                                                                                    ATTICA          MI      48412‐9772
HILL, GLENN B              PO BOX 64                                                                                         CURTICE         OH      43412‐0064
HILL, GLENN BIRD           PO BOX 64                                                                                         CURTICE         OH      43412‐0064
HILL, GLENNA M             604 N MAIN ST                                                                                     ARCANUM         OH      45304‐1402
HILL, GLENNA M             604 N. MAIN ST.                                                                                   ARCANUM         OH      45304‐1402
HILL, GLORIA               40751 TURNBERRY DRIVE                                                                             STERLING HGTS   MI      48310
HILL, GLORIA A             19725 ROSEMONT AVE                                                                                DETROIT         MI      48219‐2114
HILL, GLORIA F             944 VINCENT CT 1                                                                                  LANSING         MI      48910
HILL, GLORIA H             1472 NILES VIENNA ROAD                                                                            NILES           OH      44446
HILL, GOODELL C            6930 BEADLE ST                                                                                    CASEVILLE       MI      48725‐9404
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HILL, GORDIE L        3591 WALDON RD                                                                                       LAKE ORION          MI     48360‐1626
HILL, GORDON F        8591 LARNED RD BOX 554                                                                               PORT AUSTIN         MI     48467
HILL, GORDON L        30204 S LITTLE RD                                                                                    GARDEN CITY         MO     64747‐9000
HILL, GORDON T        5674 E 3RD AVE                                                                                       APACHE JCT          AZ     85219‐8672
HILL, GREGORY         21101 GREENVIEW RD                                                                                   SOUTHFIELD          MI     48075‐7119
HILL, GREGORY         PO BOX 8552                                                                                          SHREVEPORT          LA     71148‐8552
HILL, GREGORY B       2677 BLACK FOX COURT                                                                                 BUFORD              GA     30519‐7665
HILL, GREGORY E       5910 S LOVEJOY RD                                                                                    PERRY               MI     48872‐9323
HILL, GREGORY R       1104 MCDANIEL ST                                                                                     SUN CITY CENTER     FL     33573‐7039
HILL, GREGORY R       5766 COUNTY ROAD 434                                                                                 TRINITY             AL     35673‐4102
HILL, GREGORY S       151 CASEMER RD APT 204                                                                               LAKE ORION          MI     48360‐1341
HILL, GREGORY S       326 SWEET BRIAR RDG                                                                                  LINDEN              MI     48451‐8817
HILL, GREGORY SCOTT   151 CASEMER RD APT 204                                                                               LAKE ORION          MI     48360‐1341
HILL, GUENDALEE T     C/O PATRICIA K WOODRING              700 S GREEN RIVER RD          ST 2000                           EVANSVILLE          IN     47715
HILL, GUY D           587 WOODSIDE LN                                                                                      GAYLORD             MI     49735‐8927
HILL, GUY R           1319 1/2 PAYNE AVE                                                                                   DUNBAR              WV     25064‐2527
HILL, GWENDOLYN       29450 MCDONNELL CT                                                                                   SOUTHFIELD          MI     48076‐1707
HILL, GWENDOLYN A     1551 W 24TH ST APT 202                                                                               LOS ANGELES         CA     90007
HILL, GWENDOLYN D.    2325 STOBBE ST                                                                                       SAGINAW             MI     48602‐4055
HILL, GWENDOLYN J     129 TOULON CT                                                                                        FAIRVIEW HGHT        IL    62208
HILL, HALLIE L        904 FOWLER                                                                                           DANVILLE             IL    61832‐3618
HILL, HAROLD G        16300 NE STATE HWY 305               73                                                              POULSBO             WA     98370
HILL, HAROLD G        16300 STATE HIGHWAY 305 NE UNIT 73                                                                   POULSBO             WA     98370
HILL, HAROLD H        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                           STREET, SUITE 600
HILL, HAROLD H        640 HILL MEADOW DR                                                                                   DACULA             GA      30019‐3424
HILL, HAROLD J        120 HAPPY LN                                                                                         WHITNEY            TX      76692‐2273
HILL, HAROLD W        606 TYE HOLLOW RD                                                                                    WILLIAMSBURG       KY      40769‐7098
HILL, HARRIETT A      3375 N LINDEN RD                     APT 231                                                         FLINT              MI      48504
HILL, HARRY D         6610 GREEN BRANCH DR APT 4                                                                           CENTERVILLE        OH      45459‐6804
HILL, HARRY F         PO BOX 71                                                                                            CHASE              MI      49623‐0071
HILL, HARRY J         310 S 10TH ST                                                                                        FERNANDINA BEACH   FL      32034

HILL, HARRY W         2727 SHELLY DR                                                                                       COLUMBUS           OH      43207‐3684
HILL, HARVEY H        296 SHADY OAKS ST                                                                                    LAKE ORION         MI      48362‐2577
HILL, HAYLEY          KROHN & MOSS ‐ CA,                   5055 WILSHIRE BLVD STE 300                                      LOS ANGELES        CA      90036‐6101
HILL, HAZEL L.        313 CHESTNUT STREET                                                                                  FLUSHING           MI      48433‐1707
HILL, HELEN           8320 ESPER ST                                                                                        DETROIT            MI      48204‐3122
HILL, HELEN L         61 MCGREGOR AVE                                                                                      MOUNT ARLINGTON    NJ      07856‐1006

HILL, HELEN L         3300 WILLIAMSBURG ST NW                                                                              WARREN             OH      44485‐2259
HILL, HELEN M         9033 SUMMERFELDT                                                                                     SAGINAW            MI      48609‐9317
HILL, HELEN M         64 ESSLA DR                                                                                          ROCHESTER          NY      14612‐2208
HILL, HELEN R         10025 WIITALA RD                                                                                     COPEMISH           MI      49625‐9753
HILL, HELEN W         7615 BELLE PLAIN DR                                                                                  DAYTON             OH      45424‐3230
HILL, HELENE M        2465 ALAMANDER AVE                                                                                   ENGLEWOOD          FL      34223‐6413
HILL, HENRY           PO BOX 2634                                                                                          CRYSTAL BEACH      TX      77650‐2634
HILL, HENRY           PORTER & MALOUF PA                   4670 MCWILLIE DR                                                JACKSON            MS      39206‐5621
HILL, HENRY A         7566 SPENCER LAKE RD                                                                                 MEDINA             OH      44256‐7501
HILL, HENRY J         1318 MARTIN LUTHER KING JR DR                                                                        BOONEVILLE         MS      38829‐8100
HILL, HENRY L         5458 FARM HILL RD                                                                                    FLINT              MI      48505‐1073
HILL, HENRY P         1002 BERWICK BLVD                                                                                    PONTIAC            MI      48341‐2317
HILL, HENRY T         3834 COLUMBINE PLACE                                                                                 DAYTON             OH      45405‐5101
HILL, HERBERT D       65 CRESTWOOD DR                                                                                      MOORESVILLE        IN      46158‐1238
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Name                   Address1                          Address2                          Address3   Address4               City              State   Zip
HILL, HERBERT R        6946 VERNSON DR                                                                                       LANSING            MI     48911‐6555
HILL, HERTHA M         1104 MCDANIEL ST                                                                                      SUN CITY CENTER    FL     33573‐7039
HILL, HOWARD           G5403 N DORT HWY                  PO BOX 435                                                          FLINT              MI     48505‐1834
HILL, HOWARD A         5841 N BLAZING STAR RD                                                                                MONROVIA           IN     46157‐9178
HILL, HOWARD F         4 HARTFORD AVE N APT C2                                                                               UPTON              MA     01568‐1605
HILL, HOWARD L         205 RANDY DR                                                                                          CROWLEY            TX     76036‐2930
HILL, HOWARD LEE       205 RANDY DR                                                                                          CROWLEY            TX     76036‐2930
HILL, HUBERT H         6329 NIGHTWIND CT                                                                                     HUBER HEIGHTS      OH     45424‐1358
HILL, HUBERT HOWARD    6329 NIGHTWIND CT                                                                                     HUBER HEIGHTS      OH     45424‐1358
HILL, HURA L           1799 N DECATUR BLVD APT 167                                                                           LAS VEGAS          NV     89108‐2280
HILL, HURON O          2446 SWEET HOME RD                                                                                    AMHERST            NY     14228‐2239
HILL, IDA M            23203 PURITAN ST                                                                                      DETROIT            MI     48223‐1025
HILL, INGRID L         19919 WESTBROOK ST                                                                                    DETROIT            MI     48219‐1348
HILL, INGRID LYNETTE   19919 WESTBROOK ST                                                                                    DETROIT            MI     48219‐1348
HILL, IRA              8104 S WINCHESTER AVE                                                                                 CHICAGO             IL    60620‐5337
HILL, IRA W            910 PINE ST                                                                                           MINDEN             LA     71055
HILL, IRENE            3700 W 30TH ST                                                                                        MUNCIE             IN     47302‐4945
HILL, IRENE            2110 HUDSON RD                                                                                        SAINT LOUIS        MO     63136‐4407
HILL, IRENE            3700 W. 30TH ST.                                                                                      MUNCIE             IN     47302‐4945
HILL, IRENE C          6945 BENNETT ST                                                                                       PITTSBURGH         PA     15208‐1333
HILL, IRENE D          808 S LEWIS ST                                                                                        GLASGOW            KY     42141‐2228
HILL, IRVIN F          PO BOX 560                                                                                            MARIENVILLE        PA     16239‐0560
HILL, IRVING H         4745 HURLBUT ST                                                                                       DETROIT            MI     48214‐1524
HILL, IRVING J         489 HOLLYWOOD BLVD                                                                                    WEBSTER            NY     14580‐1147
HILL, ISOM C           1500 BRIARCLIFF RD APT 305                                                                            MONTGOMERY          IL    60538‐3048
HILL, J C              61 TORREY PINES DR                                                                                    JACKSON            TN     38305‐3959
HILL, J J              803 STEEPLECHASE WAY                                                                                  BOWLING GREEN      KY     42103‐7987
HILL, JACK             CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                     CLEVELAND          OH     44115
                       GAROFOLI                          FL
HILL, JACK L           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA     23510‐2212
                                                         STREET, SUITE 600
HILL, JACK R           11711 LINKS RD                                                                                        MARTHASVILLE      MO      63357‐2488
HILL, JACKIE L         236 COUNTY ROAD 1125                                                                                  RAVENNA           TX      75476‐5451
HILL, JACQUELINE       3100 FIFE WAY                                                                                         SNELLVILLE        GA      30039‐6017
HILL, JACQUELINE C     2096 OWENS OAK DR                                                                                     JACKSON           MS      39212‐3260
HILL, JACQUELINE F     590 E BOSTON BLVD                                                                                     DETROIT           MI      48202‐1323
HILL, JAMAL A          1440 HOCHWALT AVENUE                                                                                  DAYTON            OH      45408‐1824
HILL, JAMES            W4410 DUCK CREEK LN                                                                                   WESTFIELD         WI      53954‐8570
HILL, JAMES            5243 COTBRILLIANT                                                                                     SAINT LOUIS       MO      63113
HILL, JAMES            115 WEEGER ST                                                                                         ROCHESTER         NY      14605‐1349
HILL, JAMES            1093 W COLDWATER RD                                                                                   FLINT             MI      48505‐4814
HILL, JAMES A          659 GARFIELD ST                                                                                       VANDERBILT        MI      49795‐9300
HILL, JAMES A          3673 N GRANDJEAN RD                                                                                   ROSE CITY         MI      48654‐9788
HILL, JAMES A          670 E GARFIELD                                                                                        VANDERBUILT       MI      49795‐9300
HILL, JAMES A          1913 BASIL LN                                                                                         FLINT             MI      48504‐7069
HILL, JAMES A          90 S MERRIMAC ST                                                                                      PONTIAC           MI      48340‐2536
HILL, JAMES A          3380 FIELD RD                                                                                         CLIO              MI      48420‐1185
HILL, JAMES B          PO BOX 750422                                                                                         LAS VEGAS         NV      89136‐0422
HILL, JAMES B          31554 MARILYN DR                                                                                      WARREN            MI      48093‐7613
HILL, JAMES C          2580 TRADEWINDS DR                                                                                    ROSEVILLE         CA      95747‐7142
HILL, JAMES C          770 E AUSTIN AVE                                                                                      FLINT             MI      48505‐2214
HILL, JAMES C          24200 LATHRUP BLVD APT 109                                                                            SOUTHFIELD        MI      48075‐2858
HILL, JAMES C          2730 CHERRY HILL CT NW                                                                                SALEM             OR      97304‐1343
HILL, JAMES D          3310 SOUTHARD HWY                                                                                     ADRIAN            MI      49221‐9433
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HILL, JAMES E        10 CYCLAMEN CT WEST                                                                            HOMOSASSA         FL     34446
HILL, JAMES E        25 BRIER ST                                                                                    WOONSOCKET         RI    02895‐5007
HILL, JAMES E        16726 S MILES RD                                                                               CLEVELAND         OH     44128‐3640
HILL, JAMES E        2824 RAVENGLASS RD                                                                             WATERFORD         MI     48329‐2645
HILL, JAMES E        15556 JOAN ST                                                                                  SOUTHGATE         MI     48195‐2908
HILL, JAMES E        6205 ISAIAH ST                                                                                 WESTON            WI     54476‐6606
HILL, JAMES EDWARD   COON & ASSOCS BRENT            917 FRANKLIN ST STE 210                                         HOUSTON           TX     77002‐1751
HILL, JAMES F        537 DELAWARE AVE                                                                               ELYRIA            OH     44035‐6662
HILL, JAMES J        R021 COUNTY ROAD 17                                                                            NAPOLEON          OH     43545‐9596
HILL, JAMES L        5864 KING JAMES CT                                                                             HUBER HEIGHTS     OH     45424‐5426
HILL, JAMES L        6556 MILLHOFF DR                                                                               DAYTON            OH     45424‐3158
HILL, JAMES L        PO BOX 734                                                                                     MONTAUK           NY     11954
HILL, JAMES L        WEITZ & LUXENBERG              51 HADDONFIELD RD STE 160                                       CHERRY HILL       NJ     08002‐4804
HILL, JAMES L        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510‐2212
                                                    STREET, SUITE 600
HILL, JAMES L        1301 E AVENUE I SPC 58                                                                         LANCASTER        CA      93535‐2138
HILL, JAMES M        PO BOX 245                                                                                     VAIL             AZ      85641‐0245
HILL, JAMES M        9501 W 99TH TER                                                                                OVERLAND PARK    KS      66212‐5216
HILL, JAMES N        3595 GREGORY RD                                                                                ORION            MI      48359‐2016
HILL, JAMES O        2204 OKEWOOD                                                                                   SAGINAW          MI      48601
HILL, JAMES O        2204 OAKWOOD AVE                                                                               SAGINAW          MI      48601‐3567
HILL, JAMES R        3301 BRANDON ST                                                                                FLINT            MI      48503‐3466
HILL, JAMES R        2599 ARMSTRONG DR                                                                              LAKE ORION       MI      48360‐1916
HILL, JAMES R        611 JUBILEE LN                                                                                 AVON             IN      46123‐7649
HILL, JAMES R        1313 WHITE ST                                                                                  FREDERICKSBRG    VA      22401‐7152
HILL, JAMES R        2858 S CANAL ST                                                                                NEWTON FALLS     OH      44444‐9476
HILL, JAMES T        184 BLAKE LN                                                                                   ELLENWOOD        GA      30294‐2844
HILL, JAMES T        9385 FAIR LN                                                                                   FREELAND         MI      48623‐8814
HILL, JAMES T        6685 COUNTY ROAD 214                                                                           TRINITY          AL      35673‐4012
HILL, JAMES T        35 ROCK GLENN RD                                                                               HAVRE DE GRACE   MD      21078
HILL, JAMES V        452 E WILSON AVE                                                                               GIRARD           OH      44420‐2705
HILL, JAMES W        5328 SANDUSKY RD                                                                               PECK             MI      48466‐9791
HILL, JAMES W        401 W INDIANA ST                                                                               SUMMITVILLE      IN      46070‐8908
HILL, JAMES W        187 DOGWOOD HILLS CLUB RD                                                                      GILBERTSVILLE    KY      42044‐9226
HILL, JAMES W        1069 BLUE RIDGE CIR                                                                            CLARKSTON        MI      48348‐5212
HILL, JAMIE
HILL, JANE S         2925 W 13 MILE RD APT 306                                                                      ROYAL OAK        MI      48073‐2949
HILL, JANET C        100 RIVERFRONT DR APT 1902                                                                     DETROIT          MI      48226‐4540
HILL, JANET V        2816 LOCHMOOR BLVD                                                                             LAKE ORION       MI      48360‐1985
HILL, JANICE A       315 TREVINO TRL                                                                                LANCASTER        TX      75146‐3152
HILL, JANICE ELAI    25315 M 32 S                                                                                   HILLMAN          MI      49746
HILL, JANICE K       141 COUNTRY MEADOWS LANE                                                                       BAY CITY         MI      48706‐2276
HILL, JANICE N       7307 MORRISH RD                                                                                SWARTZ CREEK     MI      48473‐7624
HILL, JANICE R       4155 E BLUE RIDGE RD                                                                           SHELBYVILLE      IN      46176‐5000
HILL, JANNIE B       48 SCHUELE AVE                                                                                 BUFFALO          NY      14215‐4036
HILL, JANNIE L       782 VASSAR DR                                                                                  FENTON           MI      48430‐2232
HILL, JASON B        658 ROSE BLVD                                                                                  CAMDEN           OH      45311‐9581
HILL, JASON D        10293 BATH RD                                                                                  BYRON            MI      48418‐9701
HILL, JASON DUANE    10293 BATH RD                                                                                  BYRON            MI      48418‐9701
HILL, JASON P        1760 PRICE RD                                                                                  YOUNGSTOWN       OH      44509‐2144
HILL, JASON T        1208 LEE LN                                                                                    RAYMORE          MO      64083‐9013
HILL, JASON THOMAS   1208 LEE LN                                                                                    RAYMORE          MO      64083‐9013
HILL, JEAN M         5639 LEETE RD                                                                                  LOCKPORT         NY      14094‐1207
HILL, JEANETTE       3002 MICHAEL AVE SW                                                                            WYOMING          MI      49509‐2760
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Name                Address1                       Address2                      Address3   Address4               City            State   Zip
HILL, JEANNE M      634 JENKINS ST                                                                                 SEBASTIAN        FL     32958‐4530
HILL, JEFFERY T     PO BOX 142                                                                                     OLIVET           MI     49076‐0142
HILL, JEFFREY A     6378 SANCTUARY CT                                                                              GRAND BLANC      MI     48439
HILL, JEFFREY C     809 NATHAN DRIVE                                                                               COLUMBIA         TN     38401‐6704
HILL, JEFFREY D     710 N MINNESOTA AVE                                                                            ALEXANDRIA       IN     46001‐1323
HILL, JEFFREY L     474 KINGMAN RD                                                                                 MASON            MI     48854‐9590
HILL, JEFFREY L.    474 KINGMAN RD                                                                                 MASON            MI     48854‐9590
HILL, JEFFREY M     PO BOX 343                                                                                     ELKMONT          AL     35620‐0343
HILL, JEFFREY S     RT 1 PINEY GROVE RD                                                                            LOGANVILLE       GA     30052
HILL, JEFFREY S     3018 LANGSTON PLACE                                                                            SPRING HILL      TN     37174‐8104
HILL, JENNIE L      2308 MELODY LN                                                                                 BURTON           MI     48509‐1158
HILL, JENNIE V      5803 GAMBRILL RD                                                                               WHITE MARSH      MD     21162‐1905
HILL, JENNIFER L    225 S BYRON RD                                                                                 LENNON           MI     48449‐9613
HILL, JERALD E      6000 SHEPHERD MOUNTAIN CV      APT 1309                                                        AUSTIN           TX     78730‐4906
HILL, JEREMY B      3911 FERNWOOD AVENUE                                                                           DAVENPORT         IA    52807‐2339
HILL, JEROME D      3950 SECOR RD                                                                                  PETERSBURG       MI     49270‐9530
HILL, JEROME J      4409 ALLISON ST                                                                                NORWOOD          OH     45212‐3005
HILL, JERRY         9776 S WAYNE ST                                                                                COLUMBUS         IN     47201‐8888
HILL, JERRY         GUY WILLIAM S                  PO BOX 509                                                      MCCOMB           MS     39649‐0509
HILL, JERRY L       1873 TREADWELL TER                                                                             THE VILLAGES     FL     32162‐1638
HILL, JERRY L       4049 BUCKINGHAM PL                                                                             DULUTH           GA     30096‐4294
HILL, JERRY L       6974 SUMMERGREEN DR                                                                            HUBER HEIGHTS    OH     45424‐3978
HILL, JERRY L       74 RABBIT FARM ROAD            APT 66A                                                         DUNLAP           TN     37327
HILL, JERRY L       66 RABBIT FARM RD              APT A                                                           DUNLAP           TN     37327
HILL, JERRY LEE     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                   STREET, SUITE 600
HILL, JERRY LEE     SHANNON LAW FIRM               100 W GALLATIN ST                                               HAZLEHURST      MS      39083‐3007
HILL, JERRY W       4250 HAINES RD                                                                                 ATTICA          MI      48412‐9378
HILL, JERRY W       6381 N 370 W                                                                                   HUNTINGTON      IN      46750‐7735
HILL, JESSE R       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510‐2212
                                                   STREET, SUITE 600
HILL, JESSIE        1014 S 4TH AVE                                                                                 SAGINAW         MI      48601‐2138
HILL, JESSIE        1014 S 4TH ST                                                                                  SAGINAW         MI      48601‐2138
HILL, JESSIE M      411 MAPLE DR                                                                                   COLUMBUS        OH      43228‐1112
HILL, JEWELL        PO BOX 2471                                                                                    ALLIANCE        OH      44601‐0471
HILL, JEWELL        PO BOX 343                                                                                     WOODSTOCK       GA      30188‐0343
HILL, JEWELL P      4049 W 58TH PL                                                                                 LOS ANGELES     CA      90043‐3401
HILL, JHIRMETHA L   140 HOPE ST                                                                                    MANSFIELD       LA      71052‐2906
HILL, JIM I         55 BRIARLEIGH DR                                                                               BRUNSWICK       OH      44212‐1428
HILL, JIMMIE        828 ROWELL AVE                                                                                 JOLIET          IL      60433‐2525
HILL, JIMMIE O      60 CARNOUSTIE RD APT 926                                                                       HILTON HEAD     SC      29928‐7683
                                                                                                                   ISLAND
HILL, JIMMY C       2297 TELEGRAPH RD                                                                              RISING SUN      MD      21911‐1771
HILL, JIMMY F       214 S HACKER RD                                                                                BRIGHTON        MI      48114‐8753
HILL, JOAN          1707 S LAUREL DR                                                                               MARION          IN      46953‐2906
HILL, JOANN         20135 CHEYENNE ST                                                                              DETROIT         MI      48235‐1101
HILL, JOANN M       7700 BOX 124                                                                                   STUART          VA      24171
HILL, JOANNA        6381 N 370 W                                                                                   HUNTINGTON      IN      46750‐7735
HILL, JOANNE        23248 HAYES ST                                                                                 TAYLOR          MI      48180‐2314
HILL, JODIE         1133 FAIRFAX STREET                                                                            FLINT           MI      48505
HILL, JODIE B       4241 BOWEN RD                                                                                  TOLEDO          OH      43613‐3848
HILL, JOE           MOODY EDWARD O                 801 W 4TH ST                                                    LITTLE ROCK     AR      72201‐2107
HILL, JOE D         SMITH & ALSPAUGH               1100 FINANCIAL CENTER ‐ 505                                     BIRMINGHAM      AL      35203
                                                   NORTH 20TH STREET
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Name                Address1                      Address2             Address3        Address4               City             State Zip
HILL, JOE E         269 N LOOP RD                                                                             DADEVILLE         AL 36853‐2639
HILL, JOE N         6212 NORTHWEST 84TH ST                                                                    OKLAHOMA CITY     OK 73132
HILL, JOE N         341 LAKE BOB SANDLIN ROAD                                                                 PITTSBURG         TX 75686‐9700
HILL, JOEL J        2211 GLENHAVEN ST                                                                         ARLINGTON         TX 76010‐2228
HILL, JOHN          853 COUNTY ROAD                                                                           KENNARD           TX 75487
HILL, JOHN          3832 ‐ 10 BAYMEADOWS ROAD     APT. #211                                                   JACKSONVILLE      FL 32217
HILL, JOHN A        2524 STATE ROUTE 511                                                                      PERRYSVILLE       OH 44864‐9743
HILL, JOHN A        2524 ST RT.511                                                                            PERRYSVILLE       OH 44864‐9743
HILL, JOHN A        137 N MASON AVE APT 1B                                                                    CHICAGO            IL 60644
HILL, JOHN A        2975 HENRY ST                                                                             FLINT             MI 48506‐2431
HILL, JOHN A        9101 ARCHDALE ST                                                                          DETROIT           MI 48228‐1982
HILL, JOHN A        9529 YUCCA BLOSSOM DR                                                                     LAS VEGAS         NV 89134‐8984
HILL, JOHN ARTHUR   2975 HENRY ST                                                                             FLINT             MI 48506‐2431
HILL, JOHN C        11604 THORNWOOD AVE                                                                       CLEVELAND         OH 44108‐3808
HILL, JOHN C        33 DEVONSHIRE RD                                                                          PLEASANT RIDGE    MI 48069‐1209
HILL, JOHN C        305 DRAPER AVE                                                                            PONTIAC           MI 48341‐1812
HILL, JOHN D        115 ELMWOOD CIR               THE GARDENS                                                 SEMINOLE          FL 33777‐4831
HILL, JOHN D        3691 SAPPHIRE CT                                                                          DECATUR           GA 30034‐5740
HILL, JOHN D        PO BOX 247                                                                                BYRON             MI 48418‐0247
HILL, JOHN D        2019 BETH ANN WAY                                                                         MIAMISBURG        OH 45342
HILL, JOHN E        16599 LENORE                                                                              DETROIT           MI 48219‐3645
HILL, JOHN F        1803 E 8TH ST                                                                             ANDERSON          IN 46012‐4201
HILL, JOHN G        34 RAVINE DR                                                                              SAINT CHARLES     MO 63304‐7035
HILL, JOHN J        20 WILLISON RD                                                                            GROSSE POINTE     MI 48236‐1563
                                                                                                              SHORES
HILL, JOHN L        9560 FIELDING ST                                                                          DETROIT           MI 48228‐1536
HILL, JOHN L        1049 NORKETT RD                                                                           FORT MILL         SC 29707‐9051
HILL, JOHN LEAVY    9560 FIELDING ST                                                                          DETROIT           MI 48228‐1536
HILL, JOHN M        5410 ASH ST                                                                               FOREST PARK       GA 30297‐4007
HILL, JOHN M        2249 PLAINS RD                                                                            LESLIE            MI 49251‐9571
HILL, JOHN M        6025 FALLING WATER LANE                                                                   HOSCHTON          GA 30548‐8209
HILL, JOHN M        4917 GASPORT RD                                                                           GASPORT           NY 14067
HILL, JOHN N        1875 MERIDIAN ST                                                                          REESE             MI 48757‐9456
HILL, JOHN P        PO BOX 851444                                                                             WESTLAND          MI 48185‐6844
HILL, JOHN R        11 LOCH NESS LAKE CT                                                                      RANCHO MIRAGE     CA 92270
HILL, JOHN S        340 TOWER DR                                                                              MANSFIELD         OH 44906‐2546
HILL, JOHN S        5424 BUCKNECK RD                                                                          BRADFORD          OH 45308‐9442
HILL, JOHN T        12382 HOOKER RD                                                                           WEEKI WACHEE      FL 34614‐2833
HILL, JOHN T        616 E MAIN ST                                                                             GREENWOOD         IN 46143‐1403
HILL, JOHN T        12382 HOOKER ROAD                                                                         WEEKI WACHEE      FL 34614‐2833
HILL, JOHN W        220 PRIMROSE LN                                                                           LIMA              OH 45807‐3201
HILL, JOHN W        4311 KELSEY AVE                                                                           ADRIAN            MI 49221‐3685
HILL, JOHNNIE M     67 GAIL AVE                                                                               BUFFALO           NY 14215‐2901
HILL, JOHNNIE MAE   C/O MOODY                     801 WEST FOURTH ST                                          LITTLE ROCK       AR 72201
HILL, JOHNNIE MAE   67 GAIL AVE                                                                               BUFFALO           NY 14215‐2901
HILL, JON D         2000 E DARTMOUTH AVE                                                                      MUNCIE            IN 47303‐1421
HILL, JOSEPH        APT A7                        171 STILES STREET                                           ELIZABETH         NJ 07208‐1830
HILL, JOSEPH A      43970 TRENT DR                                                                            CLINTON TOWNSHIP MI 48038‐5304

HILL, JOSEPH F      204 ROBIN HILL DR                                                                         WILLIAMSVILLE     NY   14221‐1546
HILL, JOSEPH G      6053 NANCY ST                                                                             LANSING           MI   48911‐6458
HILL, JOSEPHINE T   166 SIEMON DR                 #109                                                        SOMERSET          PA   15501
HILL, JOSEPHINE T   # 109                         166 SIEMON DRIVE                                            SOMERSET          PA   15501‐7054
HILL, JOY           1205 FORBES PLACE                                                                         EL DORADO HILLS   CA   95762‐5302
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Name                    Address1                       Address2                       Address3   Address4               City               State   Zip
HILL, JOY               1205 FORBES PL                                                                                  EL DORADO HILLS     CA     95762‐5302
HILL, JOYA I            7500 TUSCOLA DR                                                                                 DAYTON              OH     45426‐3830
HILL, JOYCE             1151 PRINCE ST SE                                                                               GRAND RAPIDS        MI     49507‐1468
HILL, JOYCE             BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD          OH     44067
                                                       PROFESSIONAL BLDG
HILL, JOYCE A           1008 E WHEELER ST                                                                               KOKOMO             IN      46902‐2327
HILL, JR, FRANKIE       4011 LAGUNA RD                                                                                  DAYTON             OH      45426
HILL, JUANITA           1134 DOVER RD                                                                                   PONTIAC            MI      48341‐2351
HILL, JUANITA           PO BOX 13                                                                                       BOWLING GREEN      FL      33834‐0013
HILL, JUANITA           1200 ELLISON BEND RD                                                                            WILLIAMSBURG       KY      40769
HILL, JUDITH A          6202 OXLEY DR                                                                                   FLINT              MI      48504‐1671
HILL, JUDITH M          3094 ARMEN AVENUE                                                                               KETTERING          OH      45432
HILL, JUDITH M          3094 ARMEN AVE                                                                                  DAYTON             OH      45432
HILL, JUDY A            3445 WEATHERED ROCK CIR                                                                         KOKOMO             IN      46902
HILL, JUDY A            180 WOODVIEW CT                APT 340                                                          ROCHESTER HILLS    MI      48307
HILL, JUDY A            2201 SW 64TH ST                                                                                 OKLAHOMA CITY      OK      73159‐2919
HILL, JUDY A            180 WOODVIEW CT APT 340                                                                         ROCHESTER HILLS    MI      48307‐4188
HILL, JUDY M            1803 E 8TH ST                                                                                   ANDERSON           IN      46012‐4201
HILL, JULIA L           730 LUNA CT                                                                                     LAKE ORION         MI      48362‐3653
HILL, JULIUS P          2915 VILLAGE CREEK RD                                                                           FORT WORTH         TX      76105‐4411
HILL, JULIUS P          4245 LEEDS DR                                                                                   CROWLEY            TX      76036‐8526
HILL, JUNE O            731 TRINA AVE                                                                                   WEST CARROLLTON    OH      45449

HILL, KAITLYN L         9358 SE SUN CREST DR                                                                            HAPPY VALLEY        OR     97086‐7051
HILL, KAITLYN LEE       9358 SE SUN CREST DRIVE                                                                         PORTLAND            OR     97266
HILL, KAREN S           1470 CIRCLE DR APT 201                                                                          PONTIAC             MI     48340‐1562
HILL, KARINA T          15708 CARLISLE ST                                                                               DETROIT             MI     48205‐1465
HILL, KARINA TWYNEICE   15708 CARLISLE ST                                                                               DETROIT             MI     48205‐1465
HILL, KARMINA           1551 N MINNESOTA AVE                                                                            WICHITA             KS     67214‐1816
HILL, KARSHA L          2611 E MEIGHAN BLVD APT 103                                                                     GADSDEN             AL     35903‐1910
HILL, KATHLEEN          356 WAGON TRL                                                                                   HAYSI               VA     24256‐6083
HILL, KATHLEEN          4995 JACKSON ST                                                                                 DEARBORN HEIGHTS    MI     48125‐3015

HILL, KATHY E           10101 PINEHURST LN                                                                              GRAND BLANC        MI      48439
HILL, KATHY E           421 GARLAND ST #204                                                                             FLINT              MI      48503‐2525
HILL, KATHY E           421 GARLAND ST                 APT 204                                                          FLINT              MI      48503
HILL, KATRINA           2530 RACOON RD                                                                                  GALLIPOLIS         OH      45631
HILL, KATRINA           2530 RACCOON RD                                                                                 GALLIPOLIS         OH      45631‐8496
HILL, KAY L             1731 S DEACON ST                                                                                DETROIT            MI      48217‐1632
HILL, KEITH L           468 ETHAN DR                                                                                    WESTLAND           MI      48185‐9641
HILL, KELLY J           532 BOWEN ST                                                                                    DAYTON             OH      45410‐2421
HILL, KELLY P           116 RUE GRAND DR                                                                                LAKE ST LOUIS      MO      63367‐1715
HILL, KENNETH           101 PINECREST DR                                                                                ROSCOMMON          MI      48653‐9204
HILL, KENNETH A         826 MALLARD DR                                                                                  COPPELL            TX      75019
HILL, KENNETH C         1232 WAVERLY AVE                                                                                KANSAS CITY        KS      66104
HILL, KENNETH F         532 WHITE OAK TRL                                                                               SPRING HILL        TN      37174‐7540
HILL, KENNETH G         770 CLARENDON CT                                                                                VANDALIA           OH      45377‐1609
HILL, KENNETH K         3915 TRACY AVE                                                                                  KANSAS CITY        MO      64110‐1225
HILL, KENNETH R         2201 SW 64TH ST                                                                                 OKLAHOMA CITY      OK      73159‐2919
HILL, KENNETH R         9031 MCKENDRY DR                                                                                SALINE             MI      48176‐8010
HILL, KENNETH R         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA      23510‐2212
                                                       STREET, SUITE 600
HILL, KENNETH W         16958 BUFFALO VALLEY PATH                                                                       MONUMENT           CO      80132‐7166
HILL, KENNY R           3011 HARVARD BLVD                                                                               DAYTON             OH      45406‐4006
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Name                Address1                       Address2            Address3         Address4               City           State   Zip
HILL, KENTON D      1840 CHARLES RD                                                                            JAMESTOWN       OH     45335‐9753
HILL, KESTER R      845 TIBBETTS WICK RD                                                                       GIRARD          OH     44420‐1152
HILL, KRISTAL N     44 S HALLOWAY ST                                                                           DAYTON          OH     45417‐1802
HILL, KYLE D        401 W INDIANA ST                                                                           SUMMITVILLE     IN     46070‐8908
HILL, L.V. V        9387 MENDOTA                                                                               DETROIT         MI     48204‐2650
HILL, L.V. V        9387 MENDOTA ST                                                                            DETROIT         MI     48204‐2650
HILL, LA VERE N     3085 N GENESEE RD APT 226                                                                  FLINT           MI     48506‐2192
HILL, LABE K        15W715 72ND ST                                                                             BURR RIDGE       IL    60527‐5557
HILL, LACY          26904 ANDOVER ST                                                                           INKSTER         MI     48141‐3186
HILL, LADORIS J     5419 BROMWICK DR                                                                           DAYTON          OH     45426‐1913
HILL, LAMAR         16633 MARLOWE ST                                                                           DETROIT         MI     48235‐4513
HILL, LAMAR Q       2726 GOLFSIDE LN                                                                           FLINT           MI     48504‐4518
HILL, LAMAR Q.      2726 GOLFSIDE LN                                                                           FLINT           MI     48504‐4518
HILL, LAMONT W      374 EDGELAKE DR                                                                            KINGSTON        TN     37763‐6527
HILL, LAROYCE A     2005 GLENDALE ST                                                                           DETROIT         MI     48238‐3662
HILL, LARRY         1811 RAINTREE DR                                                                           ANDERSON        IN     46011‐2638
HILL, LARRY         165 MAGNOLIA WALK LN                                                                       COLLEGE PARK    GA     30349‐4068
HILL, LARRY
HILL, LARRY D       300 SANDBROOK DR                                                                           NOBLESVILLE    IN      46062‐8664
HILL, LARRY D       6417 W STATE ROAD 44                                                                       SHELBYVILLE    IN      46176‐9087
HILL, LARRY D       4126 APPLEBERRY LN                                                                         SAINT LOUIS    MO      63121‐3703
HILL, LARRY D       12180 LAPPLEY AVE NE                                                                       ROCKFORD       MI      49341‐9526
HILL, LARRY D.      1811 RAINTREE DR                                                                           ANDERSON       IN      46011‐2638
HILL, LARRY E       1510 WOODHALL DR                                                                           FLINT          MI      48504‐1989
HILL, LARRY G       77 S SHIRLEY ST                                                                            PONTIAC        MI      48342‐2850
HILL, LARRY GENE    77 S SHIRLEY ST                                                                            PONTIAC        MI      48342‐2850
HILL, LARRY L       86 HIBBARD COURT NORTH                                                                     PONTIAC        MI      48341‐2113
HILL, LARRY M       23091 KAMMEYER RD                                                                          DEFIANCE       OH      43512‐8657
HILL, LARRY N       3436 W CO RD 300 S                                                                         KOKOMO         IN      46902
HILL, LARRY S       1070 LASK DR                                                                               FLINT          MI      48532‐3633
HILL, LARRY W       3 MOSS FOREST PL                                                                           JACKSON        MS      39211‐2907
HILL, LARRY W       4155 E BLUE RIDGE RD                                                                       SHELBYVILLE    IN      46176‐5000
HILL, LASHANNDA R   2726 GOLFSIDE LN                                                                           FLINT          MI      48504‐4518
HILL, LAURA M       340 E PULASKI AVE                                                                          FLINT          MI      48505‐3355
HILL, LAURA M       13616 W LAKE RD                                                                            VERMILION      OH      44089‐3115
HILL, LAUREN        PO BOX 18                                                                                  GOODRICH       TX      77335‐0018
HILL, LAURENCE E    413 TURRILL AVENUE                                                                         LAPEER         MI      48446‐2544
HILL, LAVELEETA     557 BAILEY DR                                                                              MANSFIELD      OH      44904‐1801
HILL, LAVERN J      5492 ANTOINETTE DR                                                                         GRAND BLANC    MI      48439‐4382
HILL, LAVERNE       2701 STANBERRY DR APT 27                                                                   SHREVEPORT     LA      71118
HILL, LAWRENCE      225 CROOKED LIMB DR                                                                        LAPEER         MI      48446‐3138
HILL, LAWRENCE F    PO BOX 1081                                                                                LOCKPORT       NY      14095‐1081
HILL, LAWRENCE O    4151 CREEK HOLLOW WAY                                                                      DULUTH         GA      30096‐4372
HILL, LAWRENCE V    2081 E ALMEDA BEACH RD                                                                     PINCONNING     MI      48650‐7427
HILL, LEE A         116 N JOHNSON ST                                                                           PONTIAC        MI      48341‐1330
HILL, LEE D         33 STEWART ST                                                                              BROOKLYN       NY      11207‐1829
HILL, LEE F         609 HAROLD ST                                                                              BAY CITY       MI      48708‐7589
HILL, LEE G         19000 174TH ST                                                                             TONGANOXIE     KS      66086‐5227
HILL, LELA M        726 COACHWOOD E                                                                            LEESBURG       FL      34748‐6414
HILL, LELAND R      22916 STATE HIGHWAY 63                                                                     HODGEN         OK      74939‐3117
HILL, LELIA         244 S COOK AVE                                                                             TRENTON        NJ      08629‐2301
HILL, LEO           17885 STUBBS STATION RD                                                                    CAMDEN POINT   MO      64018‐9071
HILL, LEON E        PO BOX 190405                                                                              BURTON         MI      48519‐0405
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Name                Address1                       Address2                      Address3   Address4               City            State Zip
HILL, LEONARD       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA 23510‐2212
                                                   STREET, SUITE 600
HILL, LEONARD R     3726 BEECHER RD                                                                                FLINT           MI   48503
HILL, LEONARD R     4912 PLUM HOLLOW DR                                                                            LANSING         MI   48917‐1567
HILL, LEONARD R     G3620 MACKIN ROAD                                                                              FLINT           MI   48504‐2352
HILL, LEONARD T     4338 E LAKE RD                                                                                 CLIO            MI   48420‐9145
HILL, LESIE M       1301 BOONEAIRE RD              APT A                                                           FLORANCE        KY   41042‐1122
HILL, LESIE M       1301 BOONE AIRE RD APT A                                                                       FLORENCE        KY   41042‐1122
HILL, LESLIE M      11711 LINKS RD                                                                                 MARTHASVILLE    MO   63357‐2488
HILL, LESLIE R      15507 EVANS RD                                                                                 ATHENS          AL   35611‐7351
HILL, LESLIE S      13A MERRILL WAY                                                                                NEWNAN          GA   30263‐4763
HILL, LESLIE V      2131 RAINBOW DR NE                                                                             LANCASTER       OH   43130‐8381
HILL, LEVY          5932 SUNRIDGE DR                                                                               CINCINNATI      OH   45224‐2738
HILL, LILLIE        42 E. STRATHMORE AVE.                                                                          PONTIAC         MI   48340‐2764
HILL, LILLIE        42 E STRATHMORE AVE                                                                            PONTIAC         MI   48340‐2764
HILL, LILLIE B      16817 SORRENTO ST                                                                              DETROIT         MI   48235‐4211
HILL, LILLIE D      6029 WILLOW CREEK DR                                                                           BRANDON         MS   39042‐9555
HILL, LINDA F       PO BOX 53                                                                                      FALKNER         MS   38629‐0053
HILL, LINDA K       4451 180TH AVE SE                                                                              NOBLE           OK   73068‐6015
HILL, LINDA L       1506 YAZOO DR                                                                                  BEECH GROVE     IN   46107‐2568
HILL, LINDA R       3536 CHEVRON DR                                                                                HIGHLAND        MI   48356‐1712
HILL, LINDA R       14838 VAUGHAN ST                                                                               DETROIT         MI   48223‐2133
HILL, LINDA T       13697 WEST ST                                                                                  CEDAR SPRINGS   MI   49319‐9475
HILL, LINDON C      17251 BAUMANN LN                                                                               WARRENTON       MO   63383‐7364
HILL, LISA Y        #1                             9 ADAMS STREET                                                  MOUNT VERNON    NY   10550‐3503
HILL, LISSE L       3846 AINA LN                                                                                   SOUTH LYON      MI   48178
HILL, LLOYD C       7083 S GRAPE WAY                                                                               CENTENNIAL      CO   80122‐2535
HILL, LLOYD D       PO BOX 1366                                                                                    MANSFIELD       LA   71052‐1366
HILL, LLOYD DAVID   PO BOX 1366                                                                                    MANSFIELD       LA   71052‐1366
HILL, LLOYD EARL    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA   23510‐2212
                                                   STREET, SUITE 600
HILL, LLOYD J       9027 S YOUNG RD                                                                                FALMOUTH        MI   49632‐9718
HILL, LLOYD L       13234 STATE ROAD TT                                                                            FESTUS          MO   63028‐4533
HILL, LLOYD O       15534 MCGUIRE ST                                                                               TAYLOR          MI   48180‐6410
HILL, LOIS M        600 BATES ROAD                                                                                 MEDINA          NY   14103‐9706
HILL, LOLA M        6110 SHADOW OAKS CT                                                                            MONMOUTH JCT    NJ   08852‐2224
HILL, LONNIE        13321 ROSEMARY BLVD                                                                            OAK PARK        MI   48237‐2058
HILL, LONNIE V      PO BOX 496                                                                                     PEVELY          MO   63070‐0496
HILL, LORENE        3595 GREGORY RD                                                                                ORION           MI   48359‐2016
HILL, LORETTA A     5742 INDIANA AVE                                                                               KANSAS CITY     MO   64130‐4246
HILL, LORETTA J     2856 ASTER LN                                                                                  DARIEN          IL   60561‐1742
HILL, LORI          2803 COSTA MESA RD                                                                             WATERFORD       MI   48329‐2438
                                                                                                                   TOWNSHIP
HILL, LORRAINE      PO BOX 19732                                                                                   ROCHESTER       NY   14619‐0732
HILL, LORRAINE R    2906 COOPER AVENUE                                                                             SAGINAW         MI   48602‐3721
HILL, LOUIE E       9815 E HASKETT LANE                                                                            DAYTON          OH   45424‐1655
HILL, LOUIE E       9815 E HASKET LN                                                                               DAYTON          OH   45424‐1655
HILL, LOUIE R       4275 HAMLIN WAY                                                                                WIMAUMA         FL   33598‐4501
HILL, LOUIS         828 RATLIFF AVE NW                                                                             WARREN          OH   44485‐2806
HILL, LOUISE        PO BOX 2633                                                                                    WEST HELENA     AR   72390‐0633
HILL, LOUISE        7126 GEORGIA AVE                                                                               KANSAS CITY     KS   66109‐1819
HILL, LOUISE        20241 BRAMFORD                                                                                 DETROIT         MI   48234
HILL, LOUISE        P O BOX 2633                                                                                   WEST HELENA     AR   72390‐0633
HILL, LOUISE        1109 LAIRD AVE                                                                                 PARKERSBURG     WV   26101‐4924
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Name                   Address1                         Address2                      Address3   Address4               City              State   Zip
HILL, LUCILLE F        313 CAMBRIDGE WINDSOR EST                                                                        DIMONDALE          MI     48821
HILL, LUCIUS           825 BURLEIGH AVE                                                                                 DAYTON             OH     45407‐1206
HILL, LUTHER D         521 E RUTH AVE                                                                                   FLINT              MI     48505‐2828
HILL, LYNN R           1402 N PARK BLVD                                                                                 RUSHVILLE          IN     46173‐1129
HILL, MABEL L          271 E KEMPER RD                                                                                  LOVELAND           OH     45140‐8627
HILL, MABEL V          5294 EASTLAWN ST                                                                                 DETROIT            MI     48213‐3710
HILL, MABLE L          3939 HUNTERS RIDGE DR APT 1                                                                      LANSING            MI     48911‐1127
HILL, MACK ADRIAN      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                        STREET, SUITE 600
HILL, MADIE D          9275 LOUIS                                                                                       REDFORD            MI     48239‐1731
HILL, MAGDALENE H      1010 BLOOM HILL AVE                                                                              VALRICO            FL     33596‐7170
HILL, MALCOLM P        C/O HILLVIEW HEALTHCARE CENTER   512 NORTH 11TH STREET                                           VIENNA             IL     62995‐2995
HILL, MALCOLM P        2934 PLANK ROAD                                                                                  LIMA               NY     14485‐9556
HILL, MANEY            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                        STREET, SUITE 600
HILL, MARCIA C.        5388 S GENESEE RD                                                                                GRAND BLANC       MI      48439‐7601
HILL, MARCOS           213 PRAIRIE ST                                                                                   UVALDE            TX      78801‐4537
HILL, MARGARET         822 GOLF DR APT 301                                                                              PONTIAC           MI      48341‐2313
HILL, MARGARET         180 ANGELITA                                                                                     PLEASANT PLAINS   AR      72568
HILL, MARGARET         822 GOLF DRIVE APT 301                                                                           PONTIAC           MI      48341
HILL, MARGARET C       6106 SE 1ST ST                                                                                   OCALA             FL      34472‐7923
HILL, MARGARET E       5221 N WHEATON RD                                                                                CHARLOTTE         MI      48813‐8610
HILL, MARGARET R       2562 HEALY RD                                                                                    BOYNE CITY        MI      49712‐9739
HILL, MARGUERITE       2655 W NATIONAL RD               A‐307                                                           SPRINGFIELD       OH      45504‐3617
HILL, MARIA A          13500 GRIGGS ST                                                                                  DETROIT           MI      48238‐2210
HILL, MARIA M          PO BOX 580292                                                                                    PLEASANT PR       WI      53158‐8021
HILL, MARIE L          454 MEADOWBROOK AVE                                                                              BOARDMAN          OH      44512‐3041
HILL, MARILYN J        637 KEYSTONE DR APT 104                                                                          CINCINNATI        OH      45244‐2687
HILL, MARILYN J        637 KEYSTONE DR.                 APT 104                                                         CINCINNATI        OH      45244‐2687
HILL, MARILYN J        120 STATE ST                                                                                     OXFORD            MI      48371‐6319
HILL, MARILYN J        120 STATE STREET                                                                                 OXFORD            MI      48371‐6319
HILL, MARILYN LOUISE   1144 TANGLEWOOD ST                                                                               BURTON            MI      48529
HILL, MARILYN LOUISE   3151 CURTIS DR.                                                                                  FLINT             MI      48507‐1219
HILL, MARILYN T        63 N BALDWIN RD                                                                                  CLARKSTON         MI      48348‐2301
HILL, MARION G         PO BOX 314                                                                                       SPENCER           OK      73084‐0314
HILL, MARK             802 E CALLE LAURELES                                                                             SANTA BARBARA     CA      93105
HILL, MARK D           1685 FOUST RD                                                                                    XENIA             OH      45385‐7810
HILL, MARK D           132 E LAKE CT                                                                                    FRANKLIN          TN      37067‐5627
HILL, MARK S           6079 BELSAY RD                                                                                   GRAND BLANC       MI      48439‐9734
HILL, MARK STEVEN      6079 BELSAY RD                                                                                   GRAND BLANC       MI      48439‐9734
HILL, MARLENE E        2707 E SALZBURG RD                                                                               BAY CITY          MI      48706‐9788
HILL, MARSHA           135 S REESE RD                                                                                   REESE             MI      48757‐9501
HILL, MARSHIA C        9905 SOUTHWEST NUOVA WAY                                                                         PORT ST LUCIE     FL      34986‐2835
HILL, MARTHA           345 LUNDEE PLACE                                                                                 MEMPHIS           TN      38111
HILL, MARTHA           51775 MAIN ST                                                                                    JERUSALEM         OH      43747‐9731
HILL, MARTHA A         PO BOX 1421                                                                                      MARION            IN      46952‐7821
HILL, MARTHA A         2814 E GENESEE AVE APT 201                                                                       SAGINAW           MI      48601‐4049
HILL, MARTHA E         81 DOWNING ST APT 1                                                                              WORCESTER         MA      01610
HILL, MARTHA L         4702 PATRICIA                                                                                    INDIANAPOLIS      IN      46222‐1554
HILL, MARTHA L         4702 PATRICIA ST                                                                                 INDIANAPOLIS      IN      46222‐1554
HILL, MARVA A          127 SURGE STONE LN                                                                               STOCKBRIDGE       GA      30281‐4311
HILL, MARVIN S         7500 TUSCOLA DR                                                                                  DAYTON            OH      45426‐3830
HILL, MARVIN T         608 E SPRUCE ST                                                                                  GILLESPIE         IL      62033‐1640
HILL, MARY             108 OAKMONT DR                                                                                   FRANKLIN          TN      37069‐7008
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Name                   Address1                         Address2            Address3         Address4               City            State   Zip
HILL, MARY             3991 N COOPER LAKE RD SE                                                                     SMYRNA           GA     30082‐3325
HILL, MARY             204 S LONGFIELD AVE                                                                          SHERWOOD         AR     72120‐5548
HILL, MARY A           5294 S PINE ST                                                                               BEAVERTON        MI     48612‐8580
HILL, MARY A           836 KAY ST                                                                                   DAVISON          MI     48423‐1064
HILL, MARY A           512 SUNSET DRIVE                                                                             MALVERN          AR     72104‐5046
HILL, MARY A           836 KAY ST.                                                                                  DAVISON          MI     48423
HILL, MARY A           3548 STUDOR RD                                                                               SAGINAW          MI     48601
HILL, MARY A           10 CYCLAMEN CT WEST                                                                          HOMOSASSA        FL     34446
HILL, MARY A           5294 SOUTH PINE                                                                              BEAVERTON        MI     48612‐8580
HILL, MARY A           512 SUNSET DR                                                                                MALVERN          AR     72104‐5046
HILL, MARY C           417 SENECA PLACE                                                                             CADILLAC         MI     49601‐9230
HILL, MARY C           417 SENECA PL                                                                                CADILLAC         MI     49601‐9230
HILL, MARY E           7102 AVENUE R                                                                                SANTA FE         TX     77510‐9424
HILL, MARY E           P.O. BOX 8                                                                                   SUNRISE BEACH    MO     65079
HILL, MARY E           4072 HESSEN CASSEL RD                                                                        FORT WAYNE       IN     46806
HILL, MARY E           4124 GLADMAN AVE                                                                             GROVE CITY       OH     43123‐3303
HILL, MARY E           1373 NORTH MCKENNA LANE                                                                      GILBERT          AZ     85233‐2017
HILL, MARY E           PO BOX 8                                                                                     SUNRISE BEACH    MO     65079‐0008
HILL, MARY F           723 VENUS DR                                                                                 COCOA            FL     32926‐5336
HILL, MARY F           723 VENUS DRIVE                                                                              COCOA            FL     32926‐5336
HILL, MARY J           2511 ERIC COURT                                                                              ANDERSON         IN     46012‐4475
HILL, MARY J           118 ODIN DR                                                                                  WINTER HAVEN     FL     33884‐2829
HILL, MARY J           2511 ERIC CT                                                                                 ANDERSON         IN     46012‐4475
HILL, MARY L           5947 TOWERLINE RD                                                                            OSCODA           MI     48750‐9270
HILL, MARY L           1508 THISTLEWOOD DR                                                                          DESOTO           TX     75115‐7738
HILL, MARY R           2163 ROCK MOUNTAIN LAKE DR                                                                   MC CALLA         AL     35111‐3760
HILL, MATTHEW          2332 W 900 N                                                                                 ALEXANDRIA       IN     46001‐9492
HILL, MATTHEW G        12855 DORWOOD RD                                                                             BURT             MI     48417‐9436
HILL, MATTHEW G.       12855 DORWOOD RD                                                                             BURT             MI     48417‐9436
HILL, MATTHEW JOSEPH   2332 W 900 N                                                                                 ALEXANDRIA       IN     46001‐9492
HILL, MATTIE L         124 STONEWALL DR                                                                             SAVANNAH         GA     31419
HILL, MATTIE R         2320 SIMS COURT APT 10                                                                       COLUMBUS         IN     47203‐3458
HILL, MAXINE E         2044 MCPHAIL ST                                                                              FLINT            MI     48503‐4330
HILL, MAXINE O         270 BARNARDSVILLE HWY                                                                        WEAVERVILLE      NC     28787‐9694
HILL, MCARTHUR         4408 IVYWOOD DR                                                                              ROCK HILL        SC     29732‐8532
HILL, MELBA            21 BLANCHETTE DR                                                                             FLORISSANT       MO     63031‐6107
HILL, MELBA O          11625 CO RD 236                                                                              MOULTON          AL     35650
HILL, MELBA O          11625 COUNTY ROAD 236                                                                        MOULTON          AL     35650
HILL, MELINDA
HILL, MELINDA M        804 PLEASANT WAY                                                                             CHESAPEAKE      VA      23322
HILL, MELISSA          7564 LIONS GATE PKWY                                                                         DAVISON         MI      48423‐3194
HILL, MELISSA N        155 UPPER HILLSIDE DR                                                                        BELLBROOK       OH      45305
HILL, MELVIN           719 N HILLS DR                                                                               SAINT LOUIS     MO      63121‐2448
HILL, MELVIN L         6740 BATH RD                                                                                 PERRY           MI      48872‐9731
HILL, MELVYN L         9101 LAHRING RD                                                                              GAINES          MI      48436‐9769
HILL, MERLENE W        PO BOX 3608                                                                                  TRENTON         NJ      08629‐0608
HILL, MERLIN D         27640 BARRINGTON ST                                                                          MADISON HTS     MI      48071‐3230
HILL, MICHAEL          1123 STREET ROAD                                                                             JASPER          AL      35504
HILL, MICHAEL A        5627 MIRAMAR DR                                                                              FRISCO          TX      75034‐5949
HILL, MICHAEL A        3925 BRADWOOD DR                                                                             DAYTON          OH      45405‐2002
HILL, MICHAEL G        216 QUILLAN DR                                                                               ATTALLA         AL      35954‐7302
HILL, MICHAEL J        3588 S 350 E                                                                                 KOKOMO          IN      46902
HILL, MICHAEL J        7850 CLOVERHILL DR                                                                           LANSING         MI      48917‐9641
HILL, MICHAEL L        16598 BENTLER ST                                                                             DETROIT         MI      48219‐3864
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HILL, MICHAEL L       5 N JOYCE ELLEN WAY                                                                              SAINT PETERS      MO     63376‐1203
HILL, MICHAEL L       9157 S YOUNG RD                                                                                  FALMOUTH          MI     49632‐9718
HILL, MICHAEL P       4011 S NEVADA TRL                                                                                JANESVILLE        WI     53546‐8743
HILL, MICHAEL P       833 W THOMAS L PKWY                                                                              LANSING           MI     48917‐2121
HILL, MICHAEL R       109 DIHEDRAL DR                                                                                  BALTIMORE         MD     21220‐4634
HILL, MICHAEL R       418 CAMBRIDGE ST                                                                                 BAY CITY          MI     48708‐6919
HILL, MICHAEL S
HILL, MICHAEL S       11878 FIRE AGATE WAY                                                                             RNCHO CORDOVA    CA      95742‐8068
HILL, MICHAEL S.      11878 FIRE AGATE WAY                                                                             RNCHO CORDOVA    CA      95742‐8068
HILL, MICHAEL W       33335 STANTON RD                                                                                 OSAWATOMIE       KS      66064‐7104
HILL, MICHAEL W       KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                     CLEVELAND        OH      44114
                                                      BOND COURT BUILDING
HILL, MICHAEL W       2102 GILES DR NE                                                                                 HUNTSVILLE       AL      35811‐2315
HILL, MICHELLE D      7071 MANCOUR DR                                                                                  GRAND BLANC      MI      48439‐7403
HILL, MICHELLE D      8216 PINE HOLLOW TRL                                                                             GRAND BLANC      MI      48439‐7433
HILL, MILDRED         5990 ESHBAUGH ROAD                                                                               DAYTON           OH      45418‐1724
HILL, MILDRED G       3617 TRAIL‐ON RD                                                                                 DAYTON           OH      45439‐1151
HILL, MILDRED G       3617 TRAIL ON RD                                                                                 MORAINE          OH      45439‐1151
HILL, MILTON          63 N BALDWIN RD                                                                                  CLARKSTON        MI      48348‐2301
HILL, MINNIE E        414 EAST MARSHALL SREET                                                                          MARION           IN      46952
HILL, MITCHELL        30 MARINE,P.O. BOX 142                                                                           TIEREWT          TN      38070
HILL, MITCHELL        PO BOX 142                                                                                       TIGRETT          TN      38070‐0142
HILL, MITZI L         4427 SPRING ROW                                                                                  NORTHPORT        AL      35473‐5231
HILL, MONICA          PO BOX 1230                                                                                      BROWNSBURG       IN      46112‐5230
HILL, MONICA          336 N. JEFFERSON STREET                                                                          BROWNSBURG       IN      46112‐1037
HILL, MONIQUE         14114 TIMBERS ROAD                                                                               CARLETON         MI      48117‐9542
HILL, MONROE          5382 STIFFLER ROAD                                                                               FLINT            MI      48505‐1094
HILL, NANCY           359 POTTER ROAD                                                                                  FRAMINGHAM       MA      01701‐3301
HILL, NANCY           359 POTTER RD                                                                                    FRAMINGHAM       MA      01701‐3301
HILL, NANCY C         PO BOX 194                                                                                       WILTON           WI      54670‐0194
HILL, NANCY C         P O BOX 194                                                                                      WILTON           WI      54670‐0194
HILL, NANCY E         3436 W 300 S                                                                                     KOKOMO           IN      46902‐4763
HILL, NANNIE T        946 HIGHWAY 1715                                                                                 WEST LIBERTY     KY      41472‐9568
HILL, NELLIE          815 SUPERIOR AVE E STE 2012                                                                      CLEVELAND        OH      44114
HILL, NELLIE S        2015 HURLEY SCHOOL HOUSE RD                                                                      RAMER            TN      38367‐6209
HILL, NIKKIE          1610 PAULENE AVENUE                                                                              ROCKFORD         IL      61101
HILL, NIKKIE          1610 PAULINE AVE                                                                                 ROCKFORD         IL      61101‐4255
HILL, NINA G          55 BRIARLEIGH DR                                                                                 BRUNSWICK        OH      44212‐1428
HILL, NINA P          13220 LITTLEFIELD ST                                                                             DETROIT          MI      48227‐3572
HILL, NINA P          5620 5TH ST WEST                                                                                 BRADENTON        FL      34207‐3816
HILL, NINA PATRICIA   13220 LITTLEFIELD ST                                                                             DETROIT          MI      48227‐3572
HILL, NOAH            3110 S PEACH HOLLOW CIR                                                                          PEARLAND         TX      77584‐2036
HILL, NORA A          PO BOX 201                                                                                       NEW KENSINGTON   PA      15068‐0201
HILL, NORA A          P.O. BOX 201                                                                                     NEW KENSINGTON   PA      15068
HILL, NORA K          15W715 72ND ST                                                                                   BURR RIDGE       IL      60527‐5557
HILL, NORMA           11163 WEST PIERSON ROAD                                                                          FLUSHING         MI      48433
HILL, NORMA           11163 W PIERSON RD                                                                               FLUSHING         MI      48433‐9740
HILL, NORMA J         5744 CAMPBELL BLVD                                                                               LOCKPORT         NY      14094‐9201
HILL, NORMA J         1417 S PLEASANTVIEW DRIVE                                                                        YORKTOWN         IN      47396‐1328
HILL, NORMAN J        4206 BANKER ST                                                                                   NORTH BRANCH     MI      48461‐8954
HILL, NORMAN JOHN     4206 BANKER ST                                                                                   NORTH BRANCH     MI      48461‐8954
HILL, OCIE L          4700 KATHYLEE CT                                                                                 DAYTON           OH      45416‐1629
HILL, OLA M           9952 ROBSON                                                                                      DETROIT          MI      48227‐2417
HILL, OLA M           9952 ROBSON ST                                                                                   DETROIT          MI      48227‐2417
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HILL, ONOFRE         1606 WALDMAN AVE                                                                                       FLINT            MI     48507‐1509
HILL, ORVIL D        PO BOX 1                                                                                               HASLETT          MI     48840‐0001
HILL, OSCAR C        3219 LYNWOOD RD                                                                                        LYNWOOD          CA     90262‐4237
HILL, OSCAR D        6321 SANDSTONE DR                                                                                      ARLINGTON        TX     76001‐8100
HILL, OTTIS          705 N MCCLURE ST                                                                                       MARION           IN     46952‐2273
HILL, PAMELA J       7417 TRINKLEIN RD                                                                                      SAGINAW          MI     48609‐5375
HILL, PAMELA S       2627 VINEYARD LN                                                                                       BROOKLYN         MI     49230‐8915
HILL, PATRICIA       824 DOG WOOD STREET                                                                                    EXCELSIOR SPG    MO     64024‐3321
HILL, PATRICIA       CONSUMER LEGAL SERVICES PC            649 N YORK ST                                                    ELMHURST          IL    60126‐1604
HILL, PATRICIA A     7916 31ST ST                                                                                           ROSEDALE         MD     21237‐1402
HILL, PATRICIA A     711 N ASHBURTON ST                                                                                     BALTIMORE        MD     21216‐4704
HILL, PATRICIA A     2523 VIENNA RD                                                                                         ERIE             MI     48133‐9356
HILL, PATRICIA A     656 S INDIAN CREEK DR                                                                                  STONE MTN        GA     30083‐4464
HILL, PATRICIA A     91 WILKES DR                                                                                           HAINES CITY      FL     33844‐9275
HILL, PATRICIA A     7916 31 STREET                                                                                         ROSEDALE         MD     21237
HILL, PATRICIA A     711 ASHBURTON ST                                                                                       BALTIMORE        MD     21216
HILL, PATRICIA A     415 SHARON DR                                                                                          FLUSHING         MI     48433‐1507
HILL, PATRICIA L     3096 N MILL RD                                                                                         DRYDEN           MI     48428‐9341
HILL, PATRICIA L     1386 E FOREST AVE                                                                                      YPSILANTI        MI     48198‐3984
HILL, PATRICIA L     1439 ROSEDALE DR                                                                                       DAYTON           OH     45406
HILL, PATRICIA M     3895 AL HIGHWAY 36                                                                                     MOULTON          AL     35650‐4483
HILL, PATRICIA M     1518 RENA AVE                                                                                          ALBANY           GA     31705‐1458
HILL, PATRICK B      5288 SAWATCH DR                                                                                        COLUMBUS         OH     43228‐8213
HILL, PATRICK J      3674 BROOKVIEW CT                                                                                      CANFIELD         OH     44406‐9205
HILL, PATSY RUTH     1503 SOUTH MARION AVENUE                                                                               JANESVILLE       WI     53546‐5422
HILL, PATSY RUTH     ALDEN MEADOW PARK                     P.O BOX 309                                                      CLINTON          WI     53525
HILL, PAUL           THE LIPMAN LAW FIRM                   5915 PONCE DE LEON BLVD        SUITE 44                          CORAL GABLES     FL     33146
HILL, PAUL           GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW          MI     48604‐2602
                                                           260
HILL, PAUL A         175 CREEKVIEW DR                                                                                       BATTLE CREEK    MI      49037
HILL, PAUL E         1680 VALLEY HEIGHTS ROAD                                                                               XENIA           OH      45385‐5385
HILL, PAUL H         1105 INDIANAPOLIS AVE                                                                                  LEBANON         IN      46052‐2930
HILL, PAUL J         15260 WINDMILL DR                                                                                      MACOMB          MI      48044‐4927
HILL, PAUL L         21325 RED OAK TRL                                                                                      HILLMAN         MI      49746‐8407
HILL, PAUL R         4917 E WATSON RD                                                                                       MOORESVILLE     IN      46158‐6137
HILL, PAUL S         1136 WILD TURKEY LN                                                                                    LANSING         MI      48906‐1038
HILL, PAULINE        415 CLINTON ST                                                                                         OWOSSO          MI      48867‐2718
HILL, PAULINE P      PO BOX 38                                                                                              CHASE           MI      49623‐0038
HILL, PEARL B        2307 FM 2729                                                                                           WHITEWRIGHT     TX      75491‐6089
HILL, PEGGY A        229 HUGHES AVE                                                                                         PONTIAC         MI      48341‐2447
HILL, PEGGY A        724 ORCHID ST                                                                                          LADY LAKE       FL      32159‐2135
HILL, PETER R        2560 DARREN DR                                                                                         WASHINGTON      MI      48094‐1004
HILL, PHILLIP D      6028 ARROWHEAD DR                                                                                      ANDERSON        IN      46013‐3778
HILL, PHILLIP H      201 BERGEDO DR                                                                                         OAKLAND         CA      94603‐3509
HILL, PHILLIP L      1750 EAST M‐61                                                                                         GLADWIN         MI      48624
HILL, PHYLLIS A      5410 ASH ST                                                                                            FOREST PARK     GA      30297‐4007
HILL, PHYLLIS J      5013 LOUNSBURY DR                                                                                      DAYTON          OH      45418‐2040
HILL, PHYLLIS R      2304 CARSON DR                                                                                         WAXHAW          NC      28173‐9325
HILL, PHYLLIS S      211 WOODSBORO DR                                                                                       ROYAL OAK       MI      48067‐1379
HILL, PHYLLIS Y      17613 MARX ST                                                                                          DETROIT         MI      48203‐2415
HILL, PLESIE F       2059 1/2 LAWRENCE AVE                                                                                  NORWOOD         OH      45212‐2631
HILL, QUEEN ESTHER   C/O MOODY                             801 WEST FOURTH ST                                               LITTLE ROCK     AR      72201
HILL, R W            1560 HAYES ST                                                                                          GARY            IN      46404‐2737
HILL, RALPH          829 SUNNYCREEK DRIVE                                                                                   DAYTON          OH      45458‐2105
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HILL, RALPH A           1158 YARBROUGH RIDGEWAY RD                                                                         MAYSVILLE           GA     30558‐3017
HILL, RALPH C           811 FINDLAY ST APT 802                                                                             PORTSMOUTH          OH     45662‐4193
HILL, RAMON             8393 ILENE DR                                                                                      CLIO                MI     48420‐8518
HILL, RANDALL E         APT D                            330 GROVEWOOD PLACE                                               BEECH GROVE         IN     46107‐2472
HILL, RANDY B           1206 CORDOVA GREEN                                                                                 SEMINOLE            FL     33777‐2258
HILL, RANDY G           634 BEVERLY AVE                                                                                    HOHENWALD           TN     38462‐1052
HILL, RANDY J           N277 ARMSTRONG AVE                                                                                 FLUSHING            MI     48433
HILL, RANDY S           2012 N TURNER ST                                                                                   MUNCIE              IN     47303‐2451
HILL, RANDY SYLVESTER   2012 N TURNER ST                                                                                   MUNCIE              IN     47303‐2451
HILL, RANDY W           PO BOX 684                                                                                         MOULTON             AL     35650‐0684
HILL, RAUL J            4995 JACKSON STREET                                                                                DEARBORN HTS        MI     48125‐3015
HILL, RAYE R            5142 BIG SKY DR                                                                                    ABILENE             TX     79606‐5330
HILL, RAYMOND           2865 IROQUOIS DR                                                                                   OREGON              OH     43616‐2203
HILL, RAYMOND A         7062 COUNTY ROAD 6 2                                                                               DELTA               OH     43515‐9206
HILL, RAYMOND A         1721 LAKE LANSING RD                                                                               HASLETT             MI     48840‐8202
HILL, RAYMOND E         ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                         BALTIMORE           MD     21202
                                                         CHARLES CENTER 22ND FLOOR
HILL, RAYMOND R         2003 MARLOW DR                                                                                     WARREN             MI      48092‐5408
HILL, RAYMOND RAY       2003 MARLOW DR                                                                                     WARREN             MI      48092‐5408
HILL, RAYMOND W         19842 WOLFORD MASKILL RD                                                                           MARYSVILLE         OH      43040
HILL, REBECCA A         610 PINE NEEDLES DR                                                                                WASHINGTON         OH      45458‐3324
                                                                                                                           TOWNSHIP
HILL, REBECCA J         2116 CLARY DR                                                                                      MIDWEST CITY       OK      73110‐7907
HILL, REGINA            6243 CORBLY RD APT 1                                                                               CINCINNATI         OH      45230
HILL, REGINA            5022 FOREST SIDE DR                                                                                FLINT              MI      48532‐2326
HILL, REGINA            24967 WOODVIEW CT APT 208                                                                          FARMINGTON HILLS   MI      48335‐2490

HILL, REGINALD C        6277 GOLDEN LN                                                                                     WEST BLOOMFIELD     MI     48322‐3272

HILL, REUBEN R          2309 KELLOGG AVE                                                                                   JANESVILLE          WI     53546‐5920
HILL, REUBEN R.         2309 KELLOGG AVE                                                                                   JANESVILLE          WI     53546‐5920
HILL, RHONDA            GORBERG DAVID J & ASSOCIATES     2325 GRANT BUILDING 310 GRANT                                     PITTSBURGH          PA     15219
                                                         STREET
HILL, RHONDA L          270 AVALON DR                                                                                      MANSFIELD          OH      44906‐2728
HILL, RHONDA L.         270 AVALON DR                                                                                      MANSFIELD          OH      44906‐2728
HILL, RHONDA S          3947 UTAH ST                                                                                       SAINT LOUIS        MO      63116‐3812
HILL, RHONDA S          2102 GILES DR NE                                                                                   HUNTSVILLE         AL      35811‐2315
HILL, RHONDA S          3947A UTAH STREET                                                                                  SAINT LOUIS        MO      63116‐3812
HILL, RICHARD           KROHN & MOSS ‐ CA,               5055 WILSHIRE BLVD STE 300                                        LOS ANGELES        CA      90036‐6101
HILL, RICHARD           802 E 240TH ST                                                                                     EUCLID             OH      44123‐2302
HILL, RICHARD A         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA      23510‐2212
                                                         STREET, SUITE 600
HILL, RICHARD A         20725 WINCHESTER ST                                                                                SOUTHFIELD          MI     48076‐5671
HILL, RICHARD B         111 VIA VALVERDE AVENUE                                                                            CATHEDRAL CITY      CA     92334
HILL, RICHARD E         1710 SHEEP CLIFF RD                                                                                HIAWASSEE           GA     30546‐3069
HILL, RICHARD E         304 CORTLAND WAY                                                                                   ROSWELL             GA     30076‐1381
HILL, RICHARD H         1525 E SUNVALE DR                                                                                  OLATHE              KS     66062‐2155
HILL, RICHARD H         5643 W BOX R ST                                                                                    TUCSON              AZ     85713‐6331
HILL, RICHARD H         1505 CHERRY HILL LN                                                                                KOKOMO              IN     46902‐3131
HILL, RICHARD J         3715 W SEAMAN RD                                                                                   ALMA                MI     48801‐9652
HILL, RICHARD L         3698 N SADLER DR                                                                                   SANFORD             MI     48657‐9331
HILL, RICHARD L         524 KIRKLAND DR                                                                                    COPPELL             TX     75019
HILL, RICHARD L         234 OAKDALE DR                                                                                     BAY CITY            MI     48706‐1415
HILL, RICHARD M         2155 BROOKS RD                                                                                     BROWN CITY          MI     48416‐8437
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HILL, RICHARD S   11113 NORTHVIEW DR                                                                                JEROME              MI     49249‐9200
HILL, RICHARD W   36 STOTHARD DR                                                                                    HILTON              NY     14468‐9381
HILL, RICHARD W   3206 S DUNBAR DR                                                                                  MARION              IN     46953‐3832
HILL, RICK A      PO BOX 4657                                                                                       FLINT               MI     48504‐0657
HILL, RICKEY D    203 N IRWIN RD                                                                                    HOLLAND             OH     43528‐9745
HILL, RICKEY L    2863 INDIANWOOD DR                                                                                SARASOTA            FL     34232
HILL, RICKY       PO BOX 95                                                                                         NEWPORT             IN     47966‐0095
HILL, RICO        20070 PREVOST ST                                                                                  DETROIT             MI     48235‐2343
HILL, ROBERT      655 W BERGERA RD                                                                                  BRAIDWOOD            IL    60408‐1654
HILL, ROBERT      4577 HORIZON CIR                                                                                  EAGAN               MN     55123‐1888
HILL, ROBERT      OLAN LAW CORPORATION              11601 WILSHIRE BLVD STE 760                                     LOS ANGELES         CA     90025‐1743
HILL, ROBERT A    3431 PINEMEADOW CT                                                                                DAVISON             MI     48423‐8421
HILL, ROBERT A    41937 CANTEBURY DR                                                                                NOVI                MI     48377‐4528
HILL, ROBERT A    65 FRANKLIN BLVD                                                                                  PONTIAC             MI     48341‐1704
HILL, ROBERT A    2797 HIGHWAY K                                                                                    ELLINGTON           MO     63638‐7667
HILL, ROBERT C    9149 FENTON RD                                                                                    GRAND BLANC         MI     48439‐8313
HILL, ROBERT C    2525 W 450 N                                                                                      LEBANON             IN     46052‐9534
HILL, ROBERT C    2802 CRAMPTON LN                                                                                  ROCKFORD             IL    61114‐6462
HILL, ROBERT D    7732 LAMPHERE                                                                                     DETROIT             MI     48239‐1081
HILL, ROBERT D    5800 MCKEE RD                                                                                     NEWFANE             NY     14108‐9645
HILL, ROBERT D    7056 S STATE RD                                                                                   GOODRICH            MI     48438‐9746
HILL, ROBERT D    5088 NORTH SQUAW DR                                                                               PRESCOTT VALLEY     AZ     86314
HILL, ROBERT D    203 E HARRISON ST                                                                                 VIOLA               WI     54664‐7045
HILL, ROBERT D    5088 N SQUAW DR                                                                                   PRESCOTT VALLEY     AZ     86314‐4386
HILL, ROBERT E    800 MAPLEWOOD DR                                                                                  KOKOMO              IN     46902‐3360
HILL, ROBERT E    1052 GODFREY AVE                                                                                  SPRING HILL         FL     34609‐6540
HILL, ROBERT E    G 4474 CHERRY TREE LANE                                                                           FLINT               MI     48507
HILL, ROBERT E    PO BOX 21                                                                                         ADVANCE             IN     46102‐0021
HILL, ROBERT E    8356 PORT AUSTIN RD                                                                               PIGEON              MI     48755‐9749
HILL, ROBERT E    26943 SPRAGUE RD                                                                                  COLUMBIA STA        OH     44028‐9592
HILL, ROBERT F    6758 WESTON CT                                                                                    HAMILTON            OH     45011‐6554
HILL, ROBERT F    3 MERCA LN                                                                                        HOT SPRINGS         AR     71909‐6202
                                                                                                                    VILLAGE
HILL, ROBERT F    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510
                                                    STREET, SUITE 600
HILL, ROBERT G    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                    STREET, SUITE 600
HILL, ROBERT J    4352 NEWARK RD                                                                                    ATTICA             MI      48412‐9647
HILL, ROBERT J    14131 ELMS RD                                                                                     MONTROSE           MI      48457‐9777
HILL, ROBERT J    31253 KINGSWOOD BLVD                                                                              NOVI               MI      48377‐1625
HILL, ROBERT J    11225 N WEBSTER RD                                                                                CLIO               MI      48420
HILL, ROBERT JR   31253 KINGSWOOD BLVD                                                                              NOVI               MI      48377‐1625
HILL, ROBERT L    19952 MARK TWAIN ST                                                                               DETROIT            MI      48235‐1607
HILL, ROBERT L    1101 BROADVIEW BLVD                                                                               DAYTON             OH      45419‐3704
HILL, ROBERT L    3463 BAGSHAW DR                                                                                   SAGINAW            MI      48601‐5208
HILL, ROBERT L    165 S OPDYKE RD LOT 43                                                                            AUBURN HILLS       MI      48326‐3146
HILL, ROBERT L    4426 KELTON DR                                                                                    DALLAS             TX      75209‐3031
HILL, ROBERT L    895 RED MESA DR                                                                                   COLORADO SPRINGS   CO      80906‐4525

HILL, ROBERT M    317 SYCAMORE GLEN DR APT 231                                                                      MIAMISBURG         OH      45342
HILL, ROBERT N    13710 W LAKE RD                                                                                   VERMILION          OH      44089‐3117
HILL, ROBERT P    4420 BUECHNER AVE                                                                                 CLEVELAND          OH      44109‐5039
HILL, ROBERT S    2765 MAXON RD                                                                                     VARYSBURG          NY      14167‐9623
HILL, ROBERT T    870 HOWLAND WILSON RD SE                                                                          WARREN             OH      44484‐2514
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Name               Address1                       Address2           Address3         Address4               City               State   Zip
HILL, ROBERT T     4281 ECHO RD                                                                              BLOOMFIELD HILLS    MI     48302‐1944
HILL, ROBERT W     938 N FRANCIS SHORES AVE                                                                  SANFORD             MI     48657‐9364
HILL, ROBERT W     204 MILLS AVE                                                                             LIBERTY             SC     29657‐1429
HILL, ROBERT W     91 WILKES DR                                                                              HAINES CITY         FL     33844‐9275
HILL, ROBERT W     5200 BAUXITE CUTOFF RD                                                                    BAUXITE             AR     72011‐9777
HILL, ROBIN L      4714 RUSHWOOD CIR                                                                         ENGLEWOOD           OH     45322‐3612
HILL, ROBIN V      2104 WEDGEMONT PLACE                                                                      BAKERSFIELD         CA     93311‐2964
HILL, RODERICK L   1411 KING ARTHUR BOULEVARD                                                                ALEXANDRIA          LA     71303‐2714
HILL, RODNEY       17 BRIERWOOD LN                                                                           PONTIAC             MI     48340‐1401
HILL, RODNEY A     3339 S POSEYVILLE RD                                                                      MIDLAND             MI     48640‐8578
HILL, RODNEY B     PO BOX 328                                                                                CLARKDALE           AZ     86324‐0328
HILL, RODNEY B     2323 BEASLEY LN                                                                           COLUMBIA            TN     38401‐7407
HILL, RODNEY T     3325 CALVERT ST                                                                           DETROIT             MI     48206‐1462
HILL, ROGER A      3524 CRESTWOOD DR                                                                         LAPEER              MI     48446‐8623
HILL, ROGER A      827 EAST SAVIDGE STREET                                                                   SPRING LAKE         MI     49456‐2409
HILL, ROGER G      3517 MAIN STREET                                                                          ANDERSON            IN     46013‐4245
HILL, ROGER L      6206 DETROIT ST                                                                           MOUNT MORRIS        MI     48458‐2736
HILL, ROGER LEE    G‐6206 DETROIT ST                                                                         MOUNT MORRIS        MI     48458
HILL, ROGER M      41 FOX CHASE BLVD                                                                         GRAND BLANC         MI     48439‐7019
HILL, ROLAND       1041 LESLIE DR                                                                            FAYETTEVILLE        NC     28314‐5960
HILL, ROLAND M     2074 LAKE ANGELUS SHRS                                                                    LAKE ANGELUS        MI     48326‐1040
HILL, ROLLAND G    1634 FOUNTAIN SPRINGS CIRCLE                                                              DANVILLE            CA     94526‐5635
HILL, RONALD       31665 NEWPORT DR                                                                          WARREN              MI     48088‐7043
HILL, RONALD C     858 WESTGATE DR                                                                           ANDERSON            IN     46012‐9245
HILL, RONALD C     9 DANIELS RD                                                                              MENDON              MA     01756‐1336
HILL, RONALD C     316 OTERO                                                                                 NEWPORT BEACH       CA     92660‐3526
HILL, RONALD E     8216 PINE HOLLOW TRL                                                                      GRAND BLANC         MI     48439‐7433
HILL, RONALD E     3268 MOHAWK TRL                                                                           RIVERSIDE           CA     92503‐5458
HILL, RONALD E     7071 MANCOUR DR                                                                           GRAND BLANC         MI     48439‐7403
HILL, RONALD E     910 VICTORIA DR                                                                           FRANKLIN            OH     45005‐1558
HILL, RONALD E     7841 COUNTRY VIEW LN                                                                      BROOKVILLE          OH     45309‐8265
HILL, RONALD E     12638 BOWERS LN                                                                           SOUTH LYON          MI     48178‐9133
HILL, RONALD J     8455 BEECH AVE                                                                            HOWARD CITY         MI     49329‐9087
HILL, RONALD J     PO BOX 648                                                                                MUNCIE              IN     47308‐0648
HILL, RONALD L     1213 NUNNERY DR                                                                           MIAMISBURG          OH     45342‐1714
HILL, RONALD W     4733 WOODVIEW DR                                                                          DEL CITY            OK     73115‐4223
HILL, RONDA L      3000 CARDIFF CT                                                                           LANSING             MI     48911‐1506
HILL, RONNIE       1321 AVON AVE SW                                                                          ATLANTA             GA     30310‐3907
HILL, ROOSEVEL     163 WESTWAY ST                                                                            PONTIAC             MI     48342‐2570
HILL, ROSA M       515 ROSEDALE CT                                                                           DETROIT             MI     48202‐1120
HILL, ROSA M       515 ROSEDALE                                                                              DETROIT             MI     48202‐1120
HILL, ROSALEE      2251 KANSAS AVE                                                                           SAGINAW             MI     48601‐5530
HILL, ROSANNA      706 WOODMONT PL                                                                           SHREVEPORT          LA     71108‐5727
HILL, ROSE E       14046 ARCHDALE ST                                                                         DETROIT             MI     48227‐1362
HILL, ROSE M       1520 SAN DIEGO DRIVE                                                                      DUNEDIN             FL     34698‐4698
HILL, ROSE M       4976 OGLETOWN‐STANTON ROAD                                                                NEWARK              DE     19713‐2013
HILL, ROSE M       8521 TIFFANY DR                                                                           OKLAHOMA CITY       OK     73132‐4744
HILL, ROSE M       6378 SANCTUARY CT                                                                         GRAND BLANC         MI     48439
HILL, ROSE M       4976 OGLETOWN STANTON RD                                                                  NEWARK              DE     19713‐2013
HILL, ROSE MARIE   1123 STREET ROAD                                                                          JASPER              AL     35504
HILL, ROSE MARIE   6378 SANCTUARY CT                                                                         GRAND BLANC         MI     48439
HILL, ROSEMARY     2 WEER CIR                     KLAIR ESATES                                               WILMINGTON          DE     19808‐5762
HILL, ROSEMARY     2 WEER CIRCLE                  KLAIR ESATES                                               WILMINGTON          DE     19808‐5762
HILL, ROSEMARY     1330 E. DODGE RD.                                                                         MT MORRIS           MI     48458
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Name                 Address1                          Address2                       Address3   Address4               City                 State   Zip
HILL, ROSEMARY       1330 E DODGE RD                                                                                    MOUNT MORRIS          MI     48458‐9137
HILL, ROSIE          61 MARTIN LUTHER KING JR BLVD N                                                                    PONTIAC               MI     48342‐2921
HILL, ROSIE L        6211 CUMBERLAND GAP AVE                                                                            LAS VEGAS             NV     89122‐3578
HILL, ROY            18650 CODDING ST                                                                                   DETROIT               MI     48219‐2215
HILL, ROY J          WEITZ & LUXENBERG                 180 MAIDEN LANE                                                  NEW YORK              NY     10038
HILL, ROY L          5150 PHOEBE FRK                                                                                    ROCKHOLDS             KY     40759‐9856
HILL, ROY LEO        5150 PHOEBE FORK                                                                                   ROCKHOLDS             KY     40759‐9856
HILL, ROY M          126 GRAND TETON DR                                                                                 SAINT PETERS          MO     63376‐2076
HILL, ROYAL          2840 HWY 25 W N                                                                                    WILLIAMSBURG          KY     40769
HILL, RUBEN          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD            OH     44067
                                                       PROFESSIONAL BLDG
HILL, RUBY F         616 BOURNE AVE                                                                                     SOMERSET             KY      42501‐1936
HILL, RUBY L         G6495 N. HARVARD                                                                                   MOUNT MORRIS         MI      48458
HILL, RUBY M         459 LANIER ST                                                                                      DETROIT              MI      48202‐4157
HILL, RUDOLPH C      18218 KILBIRNIE AVE                                                                                LATHRUP VILLAGE      MI      48076‐4552
HILL, RUSSELL D      5800 CARTAGO DR                                                                                    LANSING              MI      48911‐8424
HILL, RUSSELL E      4705 ROSSLYN AVE                                                                                   INDIANAPOLIS         IN      46205‐2122
HILL, RUSSELL P      4028 OLMSTEAD DR                                                                                   WATERFORD            MI      48329‐2044
HILL, RUSSELL S      503 HIGHLAND AVE                                                                                   EAST LANSING         MI      48823‐3916
HILL, RUTH           3100 WRENWOOD COURT                                                                                LOGANVILLE           GA      30052‐7862
HILL, RUTH A         6761 CARPENTER RD                                                                                  HARRISON             MI      48625‐9061
HILL, RYAN E         4440 N 622 W                                                                                       HUNTINGTON           IN      46750‐8984
HILL, SADIE C        2005 MARLINDALE RD                                                                                 CLEVELAND HTS        OH      44118‐2512
HILL, SALLY          518 SUMMIT                                                                                         BRECKENRIDGE         MI      48615‐9701
HILL, SAMMIE E       SHANNON LAW FIRM                  100 W GALLATIN ST                                                HAZLEHURST           MS      39083‐3007
HILL, SANDRA         3341 BONAPARTE AVE                                                                                 CINCINNATI           OH      45207‐1601
HILL, SANDRA A       341 LAKE BOB SANDLIN ROAD                                                                          PITTSBURG            TX      75686‐9700
HILL, SANDRA G       726 LYNN MILAM LN                                                                                  CONYERS              GA      30094‐4193
HILL, SANDRA J       614 CLAYMORE DR                                                                                    LAFAYETTE            LA      70503‐4020
HILL, SANDRA L       2311 PATTON ST                                                                                     SAGINAW              MI      48602
HILL, SANDRA L       22502 BEACH ST                                                                                     SAINT CLAIR SHORES   MI      48081‐2340

HILL, SANDRA T       753 JESSE HILL RD                                                                                  SNOW HILL            NC      28580‐8838
HILL, SARA H         6706 DARYLL DR                                                                                     FLINT                MI      48505‐1955
HILL, SARAH E        264 CO RD 1245                                                                                     VINEMONT             AL      35179‐8352
HILL, SARAH E        264 COUNTY ROAD 1245                                                                               VINEMONT             AL      35179‐8352
HILL, SCOTT A        7260 CLARKSVILLE RD                                                                                PORTLAND             MI      48875‐9702
HILL, SCOTT A        13616 W LAKE RD                                                                                    VERMILION            OH      44089‐3115
HILL, SCOTT I        27 PALMER DR                                                                                       MOORESTOWN           NJ      08057‐3883
HILL, SEAN R         6169 PROSPECT ST                                                                                   NEWFANE              NY      14108‐1312
HILL, SELATHER J     1193 E HOLBROOK AVE                                                                                FLINT                MI      48505‐2326
HILL, SHANE L        3002 MICHAEL AVE SW                                                                                GRAND RAPIDS         MI      49509‐2760
HILL, SHANNON        8837 N CONGRESS AVE APT 727                                                                        KANSAS CITY          MO      64153‐1889
HILL, SHANNON E      1334 ROSEWOOD LN                                                                                   LANCASTER            TX      75146‐1354
HILL, SHARON L       6120 ATLAS VALLEY DR                                                                               GRAND BLANC          MI      48439‐7803
HILL, SHARON R.      808 SE 67TH ST                                                                                     OKLAHOMA CITY        OK      73149‐2508
HILL, SHEILA D       3673 N GRAND JEAN RD                                                                               ROSE CITY            MI      48654
HILL, SHEILA D       3673 N GRANDJEAN RD                                                                                ROSE CITY            MI      48654
HILL, SHEILA L       PO BOX 18343                                                                                       SHREVEPORT           LA      71138‐1343
HILL, SHEILA LEONA   PO BOX 18343                                                                                       SHREVEPORT           LA      71138‐1343
HILL, SHELLY A       APT 302                           9446 WINDERMERE LAKE DRIVE                                       RIVERVIEW            FL      33578‐2539
HILL, SHELLY J       1808 ZAUEL ST                                                                                      SAGINAW              MI      48602‐1086
HILL, SHERMAN J      1615 CANAL CT                                                                                      TAVARES              FL      32778‐2102
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Name                     Address1                       Address2                           Address3   Address4               City               State Zip
HILL, SHERYL             SCHWAY LAW FIRM                2620 U. S. BANK CENTER, 101 EAST                                     SAINT PAUL          MN 55101
                                                        FIFTH STREET
HILL, SHIRLEEN           344 W 127TH ST                                                                                      CHICAGO            IL   60628‐7238
HILL, SHIRLENE L         1395 SHANNON RD                                                                                     GIRARD             OH   44420‐1468
HILL, SHIRLEY            733 AMSTERDAM AVE APT 28 E                                                                          NEW YORK           NY   10025‐9827
HILL, SHIRLEY A          2425 WALBASH DR                                                                                     MONTGOMERY         AL   36116‐2210
HILL, SHIRLEY J          14413 BELSAY RD                                                                                     MILLINGTON         MI   48746‐9208
HILL, SHIRLEY J          14413 N BELSAY RD                                                                                   MILLINGTON         MI   48746
HILL, SHIRLEY K          5582 PINSON ST                                                                                      FORT WORTH         TX   76119‐1723
HILL, SHIRLEY KAY        4245 LEEDS DR                                                                                       CROWLEY            TX   76036‐8526
HILL, SHIRLEY R          5805 LESLIE DR                                                                                      FLINT              MI   48504‐7057
HILL, SHIRLEY V          P.O. BOX 821                                                                                        COLUMBIA STN.      OH   44028‐0821
HILL, SHIRLEY V          PO BOX 821                                                                                          COLUMBIA STA       OH   44028‐0821
HILL, SIDNEY             707 WALT LAKE TRL                                                                                   SANDUSKY           OH   44870‐5806
HILL, STACIE L           5088 HEATHER WAY                                                                                    HUBER HEIGHTS      OH   45424‐8705
HILL, STANLEY W          2714 DORSEY PEEK RD                                                                                 GAINESVILLE        GA   30507‐7928
HILL, STEPHANIE L        1840 SPRING RIDGE CT                                                                                XENIA              OH   45385‐9601
HILL, STEPHEN A          9448 WOODBURY RD                                                                                    LAINGSBURG         MI   48848‐9750
HILL, STEPHEN E          15019 W AHARA RD LOT 17                                                                             EVANSVILLE         WI   53536‐8555
HILL, STEPHEN J          2646 BIRCH HARBOR LN                                                                                ORCHARD LAKE       MI   48324‐1904
HILL, STEPHEN L          1503 JOHNSTON DRIVE                                                                                 RAYMORE            MO   64083‐9566
HILL, STEPHEN M          719 UNION CHURCH RD                                                                                 TOWNSEND           DE   19734‐9120
HILL, STEPHEN P          7884 RIVERGATE DRIVE                                                                                WESTLAND           MI   48185‐6966
HILL, STEPHEN T          10436 BLACKBERRY LN                                                                                 HASLETT            MI   48840‐9127
HILL, STEPHEN W          3136 LYNTZ RD.                                                                                      WARREN             OH   44481
HILL, STEVE              BARTON & WILLIAMS              3007 MAGNOLIA ST                                                     PASCAGOULA         MS   39567‐4126
HILL, STEVE C            4852 SUNDALE DR                                                                                     CLARKSTON          MI   48346‐3691
HILL, STEVEN             2233 MICHAEL AVE SW APT 10                                                                          WYOMING            MI   49509‐1880
HILL, STEVEN & REBECCA   2233 MICHAEL AVE SW APT 10                                                                          WYOMING            MI   49509‐1880
HILL, STEVEN C           12926 CARNEY RD                                                                                     AKRON              NY   14001‐9661
HILL, STEVEN EARL        11039 LANGDON DR                                                                                    CLIO               MI   48420‐1541
HILL, STEVEN L           10500 BLACKBERRY LN                                                                                 HASLETT            MI   48840‐9127
HILL, STEVIE             7230 TULIPTREE TRL                                                                                  INDIANAPOLIS       IN   46256‐2136
HILL, STUART R           9047 E LAKE RD                                                                                      CLARKSTON          MI   48348‐4268
HILL, SUE                1252 SHAYLOR RD                                                                                     BATAVIA            OH   45103‐2404
HILL, SUE                1252 SHAYLER RD                                                                                     BATAVIA            OH   45103‐2404
HILL, SUSAN LUCY         3529 LOWER GORDON SPRINGS RD                                                                        ROCKY FACE         GA   30740‐9761
HILL, SUSIE H            315 SEVENTH ST                                                                                      WARREN             OH   44485‐4054
HILL, SUSIE H            315 7TH ST SW                                                                                       WARREN             OH   44485‐4054
HILL, SUZANNE M          8627 COLUMBIA ST                                                                                    DEARBORN HEIGHTS   MI   48127‐1007

HILL, SYBIL C            341 WESTMINSTER ST                                                                                  DETROIT            MI   48202‐1662
HILL, SYLVESTER          4135 EMERALD DR                                                                                     BRIDGEPORT         MI   48722‐9570
HILL, SYLVIA L           11395 ROSEMONT AVE                                                                                  DETROIT            MI   48228‐1140
HILL, SYLVIA S           4806 VANGUARD AVE                                                                                   DAYTON             OH   45418‐1940
HILL, TAMARA D           32142 BRADFORD ST                                                                                   NEW HAVEN          MI   48048‐1950
HILL, TAMARA D.          32142 BRADFORD ST                                                                                   NEW HAVEN          MI   48048‐1950
HILL, TAMEKA D           PO BOX 214896                                                                                       AUBURN HILLS       MI   48321‐4896
HILL, TAYLOR D           1780 RYAN RD                                                                                        SPRINGBORO         OH   45066‐7737
HILL, TERESA             251 W BRITTON RD                                                                                    MORRICE            MI   48857‐9711
HILL, TERESA C           180 N LANCASTER DR                                                                                  BOLINGBROOK        IL   60440‐1806
HILL, TERESA L           8676 DENMAN RD., TWP 52                                                                             LEXINGTON          OH   44904
HILL, TERESA P           1640 BERKSHIRE HILL DR                                                                              DULUTH             GA   30097‐4311
HILL, TERRELL V          19575 ARGYLE CRES                                                                                   DETROIT            MI   48203‐1430
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Name                  Address1                         Address2                       Address3   Address4               City               State   Zip
HILL, TERRENCE J      8041 GRANVILLE LN                                                                                 CINCINNATI          OH     45224‐1122
HILL, TERRY A         6047 SUMMERSWEET DR                                                                               CLAYTON             OH     45315‐9690
HILL, TERRY D         8063 WILLOW GLEN COURT                                                                            CITRUS HTS          CA     95610‐4635
HILL, TERRY L         11801 19 MILE RD NE                                                                               CEDAR SPRINGS       MI     49319‐9744
HILL, TERRY L         6509 BELLTREE LN                                                                                  FLINT               MI     48504‐1667
HILL, TERRY S         3964 YORK VIEW DR NW                                                                              COMSTOCK PARK       MI     49321‐8951
HILL, THELMA          1852 S BREIEL BLVD                                                                                MIDDLETOWN          OH     45044‐6709
HILL, THEODORE T      5329 TUCSON DR                                                                                    DAYTON              OH     45418‐2251
HILL, THERESA A       4080 BOBBY JONES DR                                                                               FLINT               MI     48506‐1404
HILL, THOMAS          702 S RUSSELL ST                                                                                  ODESSA              MO     64076‐1555
HILL, THOMAS          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD          OH     44067
                                                       PROFESSIONAL BLDG
HILL, THOMAS          PORTER & MALOUF PA               4670 MCWILLIE DR                                                 JACKSON            MS      39206‐5621
HILL, THOMAS A        65 SUNSET LN                                                                                      SMITHS GROVE       KY      42171‐8245
HILL, THOMAS ANDREW   65 SUNSET LN                                                                                      SMITHS GROVE       KY      42171‐8245
HILL, THOMAS B        9293 SHERWOOD DR                                                                                  DAVISBURG          MI      48350‐1927
HILL, THOMAS B        1004 S VALLEY RD                                                                                  OLATHE             KS      66061‐3965
HILL, THOMAS C        825 PATTI DR                                                                                      BEDFORD            TX      76022‐7314
HILL, THOMAS D        1272 STEPHENS ST SW                                                                               LILBURN            GA      30047‐4354
HILL, THOMAS D        2003 TIMBERLINE DR                                                                                COLUMBIANA         OH      44408‐8453
HILL, THOMAS D        4947 LAKEVIEW AVE                                                                                 W BLOOMFIELD       MI      48324‐1544
HILL, THOMAS E        1465 DRAKES RIDGE LN                                                                              ALVATON            KY      42122‐7805
HILL, THOMAS G        7615 BELLE PLAIN DR                                                                               HUBER HEIGHTS      OH      45424‐3230
HILL, THOMAS H        65 TOPAZ LN                                                                                       ROYSTON            GA      30662‐3699
HILL, THOMAS J        PO BOX 3091                                                                                       CENTER LINE        MI      48015‐0091
HILL, THOMAS J        12304 SOBIESKI AVE                                                                                CLEVELAND          OH      44135‐4860
HILL, THOMAS L        602 REEDBIRD AVE                                                                                  BALTIMORE          MD      21225‐1255
HILL, THOMAS M        PO BOX 38                                                                                         CHASE              MI      49623‐0038
HILL, THOMAS R        3785 WALNUT WOOD                                                                                  WHITE LAKE         MI      48383‐1080
HILL, THOMAS T        9814 CASTINE GODON RD                                                                             LAURA              OH      45337‐9618
HILL, THOMAS W        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA      23510‐2212
                                                       STREET, SUITE 600
HILL, THORNTON C      8420 NW WAUKOMIS DR APT 522                                                                       KANSAS CITY        MO      64154‐1451
HILL, TIMOTHY         4451 BUCKINGHAM CIR                                                                               DECATUR            GA      30035‐2109
HILL, TIMOTHY E       3295 N VAN DYKE RD                                                                                IMLAY CITY         MI      48444‐8939
HILL, TIMOTHY L       28250 SANTA BARBARA DR                                                                            LATHRUP VILLAGE    MI      48076‐2535
HILL, TIMOTHY S       17955 HIGHVIEW RD                                                                                 TONGANOXIE         KS      66086‐5170
HILL, TIMOTHY W       42407 JO ED DR                                                                                    STERLING HEIGHTS   MI      48314‐3038
HILL, TISHA
HILL, TODD A          PO BOX 363                                                                                        SPRING HILL        TN      37174‐0363
HILL, TOMIKO          KROHN & MOSS                     3 SUMMIT PARK DR STE 100                                         INDEPENDENCE       OH      44131‐2598
HILL, TONI F          3863 W 130TH ST                                                                                   CLEVELAND          OH      44111‐3313
HILL, TOTIANNA T      9841 FREEDOMS WAY                                                                                 KEITHVILLE         LA      71047‐9229
HILL, TROY M          8047 COLBY LAKE RD                                                                                LAINGSBURG         MI      48848‐8758
HILL, TROY S          544 WHITE OAK TRL                                                                                 SPRING HILL        TN      37174‐7540
HILL, TRUMAN C        14236 HIGHLAND CENTER RD                                                                          DEFIANCE           OH      43512‐8847
HILL, TYRONE          410 LANCER LN                                                                                     LANSING            MI      48906
HILL, ULYSSES         12041 S PERRY AVE                                                                                 CHICAGO            IL      60628‐6624
HILL, V J             6525 DARYLL DR                                                                                    FLINT              MI      48505‐1961
HILL, V JEAN          6525 DARYLL DR                                                                                    FLINT              MI      48505‐1961
HILL, VALERIE         21000 RAMPART CIRCLE APT#238                                                                      SOUTH FIELD        MI      48034
HILL, VANESSA         15529 DE BRIDGE WAY                                                                               FLORISSANT         MO      63034
HILL, VANESSA         15529 DEBRIDGE WAY                                                                                FLORISSANT         MO      63034‐3456
HILL, VELLA F         2225 COUNTRY RD 616                                                                               ALVARADO           TX      76009
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Name                    Address1                              Address2                      Address3   Address4               City            State   Zip
HILL, VERA              1201 INDIAN LANE                                                                                      INDEPENDENCE     MO     64056‐1132
HILL, VERA              4153 LACLEDE AVE                                                                                      SAINT LOUIS      MO     63108‐2812
HILL, VERA              1201 N INDIAN LN                                                                                      INDEPENDENCE     MO     64056‐1132
HILL, VERNA E           5252 SPINNING WHEEL DR                HILL, BOLTON, ARNOLD                                            GRAND BLANC      MI     48439‐4230
HILL, VERNELL B         3076 HIGHWAY 80 E                                                                                     BRANDON          MS     39042‐9088
HILL, VERNON            GERBER & ASSOCIATES PC                1121 BETHLEHEM PIKE STE 60                                      SPRING HOUSE     PA     19477‐1102
HILL, VERNON D          1174 GILBERT ST                                                                                       COLUMBUS         OH     43206‐3049
HILL, VERNON T          G64 95 HARVARD                                                                                        MOUNT MORRIS     MI     48458
HILL, VERONICA          1911 E OUTER DR                                                                                       DETROIT          MI     48234‐1531
HILL, VERONICA L        PO BOX 112021                                                                                         CARROLLTON       TX     75011‐2021
HILL, VERONICA M        1249 MAGANOLIA ST                                                                                     KALAMAZOO        MI     49048
HILL, VERONICA V        10141 ST. AUGUSTINE RD.               APT # 235                                                       JACKSONVILLE     FL     32257‐2257
HILL, VERONICA V        10141 OLD SAINT AUGUSTINE RD RM 235                                                                   JACKSONVILLE     FL     32257‐6505

HILL, VICKI L           63 GUNTHER CT 6                                                                                       SALINE          MI      48176
HILL, VICKI R           1409 N.W. 104                                                                                         OKLAHOMA CITY   OK      73114
HILL, VICTOR H          1517 GYPSY LN                                                                                         NILES           OH      44446‐3201
HILL, VIDA L            1123 BOSTON AVE                                                                                       WATERFORD       MI      48328
HILL, VIOLA             2271 HIGHWAY 2                                                                                        BONIFAY         FL      32425‐7205
HILL, VIOLET C          1328 TONER DRIVE                                                                                      ANDERSON        IN      46012‐1533
HILL, VIRGINIA          KROHN & MOSS                          3 SUMMIT PARK DR STE 100                                        INDEPENDENCE    OH      44131‐2598
HILL, VIRGINIA A        20005 US HWY 27 N C‐34                                                                                CLERMONT        FL      34715‐9039
HILL, VIRGINIA B        6361 BAIRD LN                                                                                         BARTLETT        TN      38135‐2517
HILL, VIRGINIA L        2934 S LIDDESDALE ST                                                                                  DETROIT         MI      48217‐1113
HILL, VIRGINIA L        312 AUBURN AVE                                                                                        SOMERSET        KY      42501‐3202
HILL, VIRGINIA L        2934 LIDDESDALE                                                                                       DETROIT         MI      48217‐1113
HILL, VIVIAN L          1202 THELMA ST                                                                                        MOUNT MORRIS    MI      48458‐1724
HILL, VONNIE C          4591 COUNTY ROAD 434                                                                                  MOULTON         AL      35650‐8029
HILL, W E               725 WOODSHIRE TRL SW                                                                                  ATLANTA         GA      30331‐7648
HILL, W T               12055 S WOODWINDS CIR APT 16                                                                          TRAVERSE CITY   MI      49684‐7727
HILL, WALLACE E         5933 N OLIVIA DR                                                                                      ALEXANDRIA      IN      46001‐8024
HILL, WALLACE J         3645 BARNARD RD                                                                                       SAGINAW         MI      48603‐2510
HILL, WALLACE M         1123 BOSTON AVE                                                                                       WATERFORD       MI      48328‐3711
HILL, WALTER            GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510
                                                              STREET, SUITE 600
HILL, WALTER G          2804 AUCHENTOROLY TER                                                                                 BALTIMORE       MD      21217‐1901
HILL, WALTER L          706 CLARKSON AVE.                                                                                     DAYTON          OH      45402‐5402
HILL, WALTER L          2443 RIVIERA DR                                                                                       ANDERSON        IN      46012‐4723
HILL, WANDA GRACE LEE   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510
                                                              STREET, SUITE 600
HILL, WANDA J           136 FITCH BLVD                                                                                        AUSTINTOWN      OH      44515‐2233
HILL, WANDA L           1 MIRANOVA PL APT 1020                                                                                COLUMBUS        OH      43215‐5063
HILL, WANDA LOU         124 CAMBRIAN WAY                                                                                      JACKSON         TN      38305‐4006
HILL, WARREN D          5021 HANGING MOSS LN                                                                                  SARASOTA        FL      34238‐3374
HILL, WARREN E          1210 S 22ND ST                                                                                        NEW CASTLE      IN      47362‐2407
HILL, WAYNE             4871 NEWCASTLE DR SE                                                                                  KENTWOOD        MI      49508‐4839
HILL, WAYNE B           4930 MARTON RD                                                                                        KINGSTON        MI      48741‐8716
HILL, WAYNE H           6327 N 150 W                                                                                          DENVER          IN      46926‐9173
HILL, WENDY E           3437 WELTY RD                                                                                         LUCAS           OH      44843‐9729
HILL, WESLEY C          PO BOX 111                                                                                            NEW GOSHEN      IN      47863‐0111
HILL, WESLEY D          1290 CRICKLEWOOD ST SW                                                                                WYOMING         MI      49509
HILL, WESLEY E          310 JOHNSON TER                                                                                       COVINGTON       GA      30014‐5343
HILL, WESLEY J          328 REBECCA AVE.                                                                                      HUBBARD         OH      44425‐1570
HILL, WEYMON            19919 WESTBROOK ST                                                                                    DETROIT         MI      48219‐1348
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Name                    Address1                         Address2                       Address3   Address4               City              State   Zip
HILL, WILBER L          5230 PARKMAN RD. N.W.                                                                             WARREN             OH     44481‐9174
HILL, WILBERT E         5760 DEVERS DR APT B                                                                              INDIANAPOLIS       IN     46216‐2147
HILL, WILFRED L         513 NORTH DETROIT ST                                                                              BELLFONTAINE       OH     43311‐3311
HILL, WILFRED L         513 N DETROIT ST                                                                                  BELLEFONTAINE      OH     43311‐2113
HILL, WILLA M           17557 INDIANA ST                                                                                  DETROIT            MI     49221‐2404
HILL, WILLIAM           66 RUGBY AVE                                                                                      ROCHESTER          NY     14619‐1136
HILL, WILLIAM           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH     44067
                                                         PROFESSIONAL BLDG
HILL, WILLIAM           45 NOTTINGHAM RD                                                                                  PENNSVILLE        NJ      08070‐3053
HILL, WILLIAM B         PO BOX 1426                                                                                       DEARBORN          MI      48121‐1426
HILL, WILLIAM BERT      PO BOX 1426                                                                                       DEARBORN          MI      48121‐1426
HILL, WILLIAM C         12475 IDA CENTER RD                                                                               IDA               MI      48140‐9554
HILL, WILLIAM C         2121 DEERFIELD DR                                                                                 FLINT             MI      48532‐4019
HILL, WILLIAM C         6120 ATLAS VALLEY DR                                                                              GRAND BLANC       MI      48439‐7803
HILL, WILLIAM C         21105 DOYLE DR                                                                                    PINCKNEY          MI      48169‐8709
HILL, WILLIAM C         4831 COTTAGE RD                                                                                   LOCKPORT          NY      14094‐1603
HILL, WILLIAM C         755 SEDGEWOOD CIR                                                                                 WEST MELBOURNE    FL      32904‐8045
HILL, WILLIAM C         717 BOWLING GREEN CIR                                                                             ELYRIA            OH      44035‐7223
HILL, WILLIAM C.        717 BOWLING GREEN CIR                                                                             ELYRIA            OH      44035‐7223
HILL, WILLIAM CARL      6120 ATLAS VALLEY DR                                                                              GRAND BLANC       MI      48439‐7803
HILL, WILLIAM CARL      12475 IDA CENTER RD                                                                               IDA               MI      48140‐9554
HILL, WILLIAM CHARLES   2121 DEERFIELD DR                                                                                 FLINT             MI      48532‐4019
HILL, WILLIAM D         PO BOX 37                                                                                         ATLAS             MI      48411‐0037
HILL, WILLIAM D         4000 S LARRY LN                                                                                   MUNCIE            IN      47302‐5878
HILL, WILLIAM D         167 LOPERWOOD LN                                                                                  LAGRANGE          OH      44050‐9765
HILL, WILLIAM D         1094 RUBY AVE                                                                                     ROCHESTER HILLS   MI      48309‐4810
HILL, WILLIAM DAVID     4000 S LARRY LN                                                                                   MUNCIE            IN      47302‐5878
HILL, WILLIAM DOUGLAS   PO BOX 37                                                                                         ATLAS             MI      48411‐0037
HILL, WILLIAM E         PO BOX 29022                                                                                      SHREVEPORT        LA      71149‐9022
HILL, WILLIAM E         313 E 13TH ST                                                                                     DANVILLE          IL      61832‐7646
HILL, WILLIAM E         946 HIGHWAY 1715                                                                                  WEST LIBERTY      KY      41472‐9568
HILL, WILLIAM E         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA      23510‐2212
                                                         STREET, SUITE 600
HILL, WILLIAM G         669 W CAMINO DEL BONDADOSO                                                                        GREEN VALLEY      AZ      85614‐2341
HILL, WILLIAM G         4922 HIDDEN OAKS TRL                                                                              SARASOTA          FL      34232‐3040
HILL, WILLIAM H         2993 W EUCLID ST                                                                                  DETROIT           MI      48206‐2370
HILL, WILLIAM H         15022 FARNHAM AVE N                                                                               HUGO              MN      55038‐9003
HILL, WILLIAM J         6611 DEER RIDGE DR                                                                                CLARKSTON         MI      48348‐2807
HILL, WILLIAM J         111 STONEBRIDGE WAY                                                                               BERLIN            CT      06037‐2519
HILL, WILLIAM L         10322 FRANCES RD                                                                                  OTISVILLE         MI      48463‐9410
HILL, WILLIAM L         814 E KEARSLEY ST APT 506                                                                         FLINT             MI      48503‐1959
HILL, WILLIAM L         219 NORTH ST                                                                                      BARNESVILLE       OH      43713‐1137
HILL, WILLIAM M         8105 CRABB RD                                                                                     TEMPERANCE        MI      48182‐9553
HILL, WILLIAM O         2 DEBKAY CT                                                                                       BALTIMORE         MD      21221‐4017
HILL, WILLIAM R         6721 DORIS DR                                                                                     INDIANAPOLIS      IN      46214‐3202
HILL, WILLIAM R         809 BRIDGE PARK DR                                                                                TROY              MI      48098‐1884
HILL, WILLIAM S         35 ELLSWORTH AVE                                                                                  TRENTON           NJ      08618‐4101
HILL, WILLIAM T         159 MOUNT MORIAH RD                                                                               BALL GROUND       GA      30107‐6216
HILL, WILLIAM T         PO BOX 383                                                                                        QUITMAN           GA      31643‐0383
HILL, WILLIAM T         1335 WILLOW LN                                                                                    BIRMINGHAM        MI      48009‐4840
HILL, WILLIAM T         1010 SOUTH LEE STREET                                                                             QUITMAN           GA      31643‐3444
HILL, WILLIAM T         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD        OH      44067
                                                         PROFESSIONAL BLDG
HILL, WILLIE C          13321 ROSEMARY BLVD                                                                               OAK PARK           MI     48237‐2058
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Name                       Address1                        Address2            Address3         Address4                 City               State   Zip
HILL, WILLIE C             5707 NE SAPPHIRE PL                                                                           LEES SUMMIT         MO     64064‐1177
HILL, WILLIE H             1033 TENNESSEE AVE APT 2                                                                      CINCINNATI          OH     45229‐1035
HILL, WILLIE J             6914 DARYLL DR                                                                                FLINT               MI     48505‐1903
HILL, WILLIE J             25159 GREENBROOKE                                                                             SOUTHFIELD          MI     48034‐5283
HILL, WILLIE L             4651 DIVISION AVE S                                                                           GRAND RAPIDS        MI     49548
HILL, WILLIE L             14114 TIMBERS RD                                                                              CARLETON            MI     48117‐9542
HILL, WILLIE M             5022 FOREST SIDE DR                                                                           FLINT               MI     48532‐2326
HILL, WILLIE M             PO BOX 320815                                                                                 FLINT               MI     48532‐0014
HILL, WILLIE R             5465 NORTHFIELD CT APT 103                                                                    SAGINAW             MI     48601‐7331
HILL, WILLIE R             PO BOX 188                                                                                    FALKNER             MS     38629‐0188
HILL, WILLIE R             1160 E MOORE RD                                                                               SAGINAW             MI     48601‐9351
HILL, WILLIS E             G2110 KINGSWOOD DR                                                                            FLINT               MI     48507
HILL, WILMA J              2158 LAKEVIEW BLDG #10 #264                                                                   YPSILANTI           MI     48198
HILL, WINONA               1118 ENGLEMEADE DR                                                                            SHREVEPORT          LA     71107‐5529
HILL, WINSTON G            6508 MCGRAW ST                                                                                DETROIT             MI     48210‐1615
HILL, YALONDA M            PO BOX 901219                                                                                 KANSAS CITY         MO     64190‐1219
HILL, YALONDA M            2060 YARMUTH DR APT 27                                                                        ROCHESTER HILLS     MI     48307‐4072
HILL, YOLANDA M            11253 LYNCHBURG WAY                                                                           INDIANAPOLIS        IN     46229‐9508
HILL, YVONNE K             12382 HOOKER RD                                                                               WEEKI WACHEE        FL     34614‐2833
HILL, YVONNE K             12382 HOOKER ROAD                                                                             WEEKI WACHEE        FL     34614‐2833
HILL, ZEGOGERY B           1919 PROSPECT ST                                                                              FLINT               MI     48504‐3449
HILL, ZEGOGERY BERNELL     1919 PROSPECT ST                                                                              FLINT               MI     48504‐3449
HILL,, KATHRYN             C/O ALVIN HILL JR               2103 N CASTLE CT                                              MATTHEWS            NC     28105‐5426
HILL,DONALD J              1658 RUSSET AVE                                                                               DAYTON              OH     45410‐3443
HILL,HUBERT HOWARD         6329 NIGHTWIND CT                                                                             HUBER HEIGHTS       OH     45424‐1358
HILL,JOHN W                45936 RIVIERA DR                                                                              NORTHVILLE          MI     48168‐8583
HILL,REBECCA A             610 PINE NEEDLES DR                                                                           WASHINGTON          OH     45458‐3324
                                                                                                                         TOWNSHIP
HILL,RONALD E              7841 COUNTRY VIEW LN                                                                          BROOKVILLE         OH      45309‐8265
HILL,TERRY A               6047 SUMMERSWEET DR                                                                           CLAYTON            OH      45315‐9690
HILL‐BAKER, CRYSTA M       4149 FREE PIKE                                                                                DAYTON             OH      45416‐1214
HILL‐DELONEY, E            P O BOX 443                                                                                   FLINT              MI      48501‐0443
HILL‐KAVELOSKI, YVONNE M   17002 JOSEPHINE                                                                               FRASER             MI      48026‐3821
HILL‐MEKOBA, CARMEN S      5955 BROADWATER TRL                                                                           CUMMING            GA      30040‐9567
HILL‐MUNDT, PENNEY M       725 THOMAS ST                                                                                 JANESVILLE         WI      53545‐1633
HILL‐QUINN, LEOLA          10 HEMLOCK RADIAL PASS                                                                        OCALA              FL      34472‐6192
HILL‐ROM/MEDIQ             1069 STATE ROAD 46 E                                                                          BATESVILLE         IN      47006‐7520
HILL‐SAN AUTO SERVICE      619 STEVEN CRT UNIT 4                                                NEWMARKET ON L3Y 6Z3
                                                                                                CANADA
HILL‐SEARCY, DEBORAH S     38138 N VISTA DR                                                                              LIVONIA            MI      48152‐1066
HILL‐SMITH, NICCOLE        6203 GREY OAKS DR                                                                             HOUSTON            TX      77050‐3619
HILL‐WOODS, ERNESTINE      2135 EAST 67 STREET                                                                           KANSAS             MO      64132
HILLA HENSON               25034 CHARLES ST                                                                              TAYLOR             MI      48180‐1583
HILLA, CLARA               17352 SOUTH NUNNELEY                                                                          CLINTON TOWNSHIP   MI      48035‐1215

HILLA, CLARA               2005 CLAMAR DR                                                                                WASHINGTON          MI     48095‐1026
HILLA, FRANCES             41130 FOX RUN ROAD              APT MS519                                                     NOVI                MI     48377
HILLA, GEORGE P            1753 E EVELYN AVE                                                                             HAZEL PARK          MI     48030‐2307
HILLA, JAMES A             30233 SHARON LN                                                                               WARREN              MI     48088‐5865
HILLA, PATRICK A           2430 CENTRAL AVE SW                                                                           WYOMING             MI     49519‐2248
HILLA, RICHARD G           496 CROSSBOW DR                                                                               CROSSVILLE          TN     38555‐3880
HILLABRANDT, DARRELL E     634 E LINCOLN AVE                                                                             IONIA               MI     48846‐1317
HILLAKER, BELVA J          523 E VIENNA ST                                                                               CLIO                MI     48420‐1428
HILLAKER, CARL F           9099 N CENTER RD                                                                              CLIO                MI     48420‐9715
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HILLAKER, DEBORAH A              6916 BRANDYWINE ST                                                                                   WATAUGA           TX     76148‐1907
HILLAKER, DONALD W               9528 HENNE RD                                                                                        BAY PORT          MI     48720‐9768
HILLAKER, JAMES G                409 PENINSULA DR                                                                                     COLUMBIAVILLE     MI     48421‐9774
HILLAKER, JAMES GARLAND          409 PENINSULA DR                                                                                     COLUMBIAVILLE     MI     48421‐9774
HILLAKER, JAMES R                7119 E PIERSON RD                                                                                    DAVISON           MI     48423‐8977
HILLAKER, JEANNETTE M            7119 E PIERSON RD,                                                                                   DAVISON           MI     48423
HILLAKER, MARGARET M             1206 GLASTONBURY DR                                                                                  ST JOHN           MI     48879‐2498
HILLAN, ANNE M                   231 N JOHN ST                                                                                        PENDLETON         IN     46064‐1059
HILLAN, EMMETT M                 7662 E 600 S                                                                                         ATLANTA           IN     46031‐9527
HILLAN, THOMAS M                 723 COUNTRY LN                                                                                       ANDERSON          IN     46013‐1529
HILLAN, WINIFRED                 231 N JOHN ST                                                                                        PENDLETON         IN     46064‐1059
HILLAND JEAN & ALEX SIMANOVSKY   9 IRBY RD                                                                                            PATTERSON         NY     12563‐2041
HILLAND, JOHN                    2157 LAKE MARION DR                                                                                  APOPKA            FL     32712‐4405
HILLANDALE SHELL                 10201 NEW HAMPSHIRE AVE                                                                              SILVER SPRING     MD     20903‐1412
HILLARD CLYDE E (348608)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA     23510
                                                                  STREET, SUITE 600
HILLARD JASON & AMANDA           HILLARD, AMANDA                  1700 PLEASURE HOUSE RD STE 102A                                     VIRGINIA BEACH   VA      23455‐4062
HILLARD JASON & AMANDA           HILLARD, JASON                   1700 PLEASURE HOUSE RD STE 102A                                     VIRGINIA BEACH   VA      23455‐4062
HILLARD JR, WILLIAM B            PO BOX 171                                                                                           FRANKLIN         OH      45005‐0171
HILLARD PAUL PRESTON (498831)    BARON & BUDD                     PLAZA SOUTH TWO ‐ SUITE 200 ‐                                       CLEVELAND        OH      44130
                                                                  7261 ENGLE ROAD
HILLARD PITTMAN                  737 N 6TH AVE                                                                                        PIGGOTT          AR      72454‐1210
HILLARD REEVES                   45 PLEASANT VIEW RD                                                                                  FALKVILLE        AL      35622‐5344
HILLARD ROSE                     4564 W COLLINS RD                                                                                    COLLINS          OH      44826‐9733
HILLARD TIFFANY                  GOODSON, KERRY                   440 BENNETT ST, APT 4                                               HEFLIN           AL      36264‐1292
HILLARD TIFFANY                  HILLARD, TIFFANY                 440 BENNETT ST APT 4                                                HEFLIN           AL      36264‐1292
HILLARD, BENJAMIN                2027 BUCKLEY LN                                                                                      ROUND ROCK       TX      78664‐4607
HILLARD, BRENDA                  2027 BUCKLEY LN                                                                                      ROUND ROCK       TX      78664‐4607
HILLARD, CLYDE E                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA      23510‐2212
                                                                  STREET, SUITE 600
HILLARD, DONALD R                753 DEER CREEK DRIVE                                                                                 VANDALIA         OH      45377‐5377
HILLARD, DONALD RAY              753 DEER CREEK DR                                                                                    VANDALIA         OH      45377‐9453
HILLARD, DORIS A                 P.O. BOX 171                                                                                         FRANKLIN         OH      45005‐0171
HILLARD, DORIS A                 PO BOX 171                                                                                           FRANKLIN         OH      45005‐0171
HILLARD, EILEEN C                1218 N 10TH ST                                                                                       ELWOOD           IN      46036‐1017
HILLARD, ELMER L                 116 BEACON PKWY                                                                                      FLUSHING         MI      48433
HILLARD, GLEN O                  8509 N SEYMOUR RD                                                                                    FLUSHING         MI      48433‐9267
HILLARD, ILA G                   1012 N VERMILION ST                                                                                  DANVILLE         IL      61832‐3057
HILLARD, IVA G                   1390 SALT SPRINGS RD                                                                                 WARREN           OH      44481‐9623
HILLARD, IVA G                   1390 SALTSPRING RD SW                                                                                WARREN           OH      44481‐9623
HILLARD, JAMES W                 7590 CHERRYWOOD DR                                                                                   WESTLAND         MI      48185‐7120
HILLARD, JAMES WENDALL           7590 CHERRYWOOD DR                                                                                   WESTLAND         MI      48185‐7120
HILLARD, JANET J                 552 ADRIAN CT                                                                                        BROOKVILLE       OH      45309‐1101
HILLARD, JOHN L                  312 VANCE LN                                                                                         DANVILLE         IL      61832‐2839
HILLARD, LARQUIS E               3407 E 8TH ST                                                                                        ANDERSON         IN      46012‐4603
HILLARD, MICHAEL D               51029 ARRIETA COURT                                                                                  FORT MILL        SC      29707‐5934
HILLARD, MICHAEL L               10200 COOPER RD                                                                                      PLEASANT LAKE    MI      49272‐9642
HILLARD, MICHAEL R               7507 EPAULET LN                                                                                      MAUMEE           OH      43537‐8943
HILLARD, MICHAEL R               7507 EPAULET LANE                                                                                    MAUMEE           OH      43537‐8943
HILLARD, PAUL PRESTON            BARON & BUDD                     PLAZA SOUTH TWO ‐ SUITE 200 ‐                                       CLEVELAND        OH      44130
                                                                  7261 ENGLE ROAD
HILLARD, PHILLIP G               423 MOUND ST                                                                                         BROOKVILLE       OH      45309‐1344
HILLARD, ROGER D                 13564 GRAPE CREEK ROAD                                                                               DANVILLE         IL      61834‐7816
HILLARD, SHIRLEY J               51029 ARRIETA CT                                                                                     FORT MILL        SC      29707‐5934
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Name                        Address1                       Address2               Address3      Address4               City               State   Zip
HILLARD, STEPHEN R          20022 BRYN MAWR CT                                                                         NORTHVILLE          MI     48167‐1916
HILLARD, TIFFANY            440 BENNETT ST APT 4                                                                       HEFLIN              AL     36264‐1292
HILLARD‐PABIN, CHERYL       3120 MERRIWEATHER ST NW                                                                    WARREN              OH     44485‐2513
HILLARY BROADUS             4929 TRIWOOD DR                                                                            COMMERCE TWP        MI     48382‐1358
HILLARY HOLBEL              4116 PARK FOREST DR                                                                        FLINT               MI     48507‐2271
HILLARY J SCHUBACH          1499 BLAKE ST APT 15C                                                                      DENVER              CO     80202
HILLARY SR, FREDRICK L      2150 EGYPT VALLEY AVE NE                                                                   ADA                 MI     49301‐9593
HILLARY TOKAR               6028 STOCKBRIDGE COMMONS TRL                                                               GRAND BLANC         MI     48439‐9135
HILLARY WILDER              5270 SUNNYSIDE DR                                                                          CLARKSTON           MI     48346‐3959
HILLARY, ZOE A              1724 CHERBOURG DR APT 1620                                                                 FORT WORTH          TX     76120‐5030
HILLAWI, BRIAN              25246 FARMINGTON RD                                                                        FARMINGTON HILLS    MI     48336‐1026

HILLBERRY, CHARLES E        78 MILL RD                                                                                 W JEFFERSON        OH      43162‐1524
HILLBLOM, IDA R             412 4TH STREET                                                                             PORTAGE            IN      46368‐1352
HILLBLOM, IDA R             412 4TH ST                                                                                 PORTAGE            IN      46368‐1352
HILLBRAND, DARLEEN B        PO BOX 62                                                                                  NEW MELLE          MO      63365
HILLCO PARTNERS LLC         823 CONGRESS AVE STE 900                                                                   AUSTIN             TX      78701‐2458
HILLCREST CHEVROLET         207 HIGHLAND AVE                                                                           SALEM              MA      01970‐1829
HILLCREST ENTERPRISES INC   PO BOX 6008                                                                                ASHLAND            VA      23005‐6008
HILLCREST FAMILY SERVICES   2005 ASBURY RD                                                                             DUBUQUE            IA      52001‐3042
HILLCREST MOTORS CORP.      ROBERT CERUNDOLO               207 HIGHLAND AVE                                            SALEM              MA      01970‐1829
HILLE, BEVERLY V            PO BOX 10253                                                                               NEW ORLEANS        LA      70181‐0253
HILLE, FRANCES M            501 N ORLANDO AVE #313230                                                                  WINTER PARK        FL      32789
HILLE, IRWIN                PORTER & MALOUF PA             4670 MCWILLIE DR                                            JACKSON            MS      39206‐5621
HILLE, ROBERT M             7764 S 66TH ST                                                                             FRANKLIN           WI      53132
HILLEARY JR, RAYMOND E      611 DOUGLAS AVE                                                                            DANVILLE           IL      61832‐6756
HILLEARY, AVA MAE           APT #308                       G‐9070 N. SAGINAW RD                                        MOUNT MORRIS       MI      48458
HILLEARY, JR,LLOYD A        415 S MAIN ST                                                                              MIAMISBURG         OH      45342‐3101
HILLEBERT, LINDA            2210 VILLAGE DR.                                                                           CARO               MI      48723‐9222
HILLEBRAND, DALE J          5956 CONSEAR RD                                                                            OTTAWA LAKE        MI      49267‐9718
HILLEBRAND, GEORGE W        346 SHOSHONE CT                                                                            WYOMING            OH      45215‐2005
HILLEBRAND, OTTO            URB SANTA ROSA 19‐48 CALLE 8                                                               BAYAMON            PR      00959
HILLEGAS, DONALD J          2378 PRESSLER RD                                                                           AKRON              OH      44312‐4852
HILLEGAS, ERNEST D          4415 N 635 W                                                                               HUNTINGTON         IN      46750‐8981
HILLEGAS, JANET M           105 N LANOITAN AVE                                                                         NATIONAL CITY      CA      91950‐1908
HILLEGAS, JOHN G            4838 WAYLAND RD #137                                                                       DIAMOND            OH      44412
HILLEGAS, RICHARD B         704 S BELLE RIVER AVE                                                                      MARINE CITY        MI      48039‐1729
HILLEGAS, RICHARD L         6314 ROCK SPRING RD                                                                        RAVENNA            OH      44266‐8738
HILLEGAS, ROBERT E          10392 NEWTON FALLS RD                                                                      NEWTON FALLS       OH      44444‐9216
HILLEGAS, SOLON D           797 WATER ST                                                                               SCOTTDALE          PA      15683
HILLEGASS JR, EDMUND R      312 DEER POINT RD                                                                          UNIONVILLE         TN      37180‐2003
HILLEGASS, EDMUND R         31606 STATE ROUTE 206                                                                      WALHONDING         OH      43843‐9745
HILLEGASS, MARK             3735 SANFORD DR                                                                            BRUNSWICK          OH      44212‐2602
HILLEGONDS, JOHN H          2897 DALTON AVE                                                                            ANN ARBOR          MI      48108‐1227
HILLEMEYER, LARRY P         3420 S OAKHILL AVE                                                                         JANESVILLE         WI      53546‐9055
HILLEN, MICHAEL J           37815 WOODRIDGE DR APT 103                                                                 WESTLAND           MI      48185‐5777
HILLENBRAND, CARL           2458 PLEASANT VIEW DR                                                                      ROCHESTER HILLS    MI      48306‐3148
HILLENBRAND, GLORIA         310 HIGH ST                                                                                SANDUSKY           OH      44870
HILLENBRAND, JOAN MARIE     18313 FERNCLIFFE AVE                                                                       CLEVELAND          OH      44135‐3925
HILLENBRAND, MARY M         1290 BOYCE RD APT A514                                                                     PITTSBURGH         PA      15241‐3979
HILLENBURG, ADAM K          193 S LEATHERWOOD RD                                                                       BEDFORD            IN      47421‐8846
HILLENBURG, BOBBY           7275 BARTLETTSVILLE RD                                                                     HELTONVILLE        IN      47436‐8544
HILLENBURG, ERNIE L         6026 W LAKE NORTH DR                                                                       INDIANAPOLIS       IN      46224
HILLENBURG, GARRIS L        474 PALESTINE RD                                                                           BEDFORD            IN      47421‐7840
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Name                    Address1                      Address2                  Address3   Address4               City               State   Zip
HILLENBURG, JAMES W     1203 RIDGE RD                                                                             WILLIAMS            IN     47470‐8871
HILLENBURG, KENNETH     655 ROBERTS LN                                                                            HELTONVILLE         IN     47436‐8672
HILLENBURG, ROBERT      143 ROBERTS LN                                                                            HELTONVILLE         IN     47436‐8668
HILLER KARL             200 WINDING WAY                                                                           LEBANON             IN     46052‐1260
HILLER ROBERTA MARTIN   2722 CARSON SALT SPRINGS                                                                  WARREN              OH     44481
HILLER WAYNE            2537 SE MORNINGSIDE BLVD                                                                  PORT SAINT LUCIE    FL     34952
HILLER, ALEX T          650 KING CIR                                                                              LAKE ORION          MI     48362‐2731
HILLER, CHARLES W       4065 WESTLAKE RD                                                                          CORTLAND            OH     44410‐9224
HILLER, COLEEN M        124 CHATHAM ST                                                                            NASSAU              NY     12123‐2702
HILLER, DEBRA L         4065 WESTLAKE RD                                                                          CORTLAND            OH     44410‐9224
HILLER, DENNIS A        133 CHALMERS DR                                                                           ROCHESTER HILLS     MI     48309‐1845
HILLER, DORIS           51 OLD ORCHARD                                                                            DAVISON             MI     48423‐9122
HILLER, DOUG E          885 RED OAK DR                                                                            ASHLAND             OH     44805‐9148
HILLER, EDWARD L        295 TOWNSHIP ROAD 1600 # 1                                                                JEROMESVILLE        OH     44840
HILLER, FRANCINE        30550 ISLAND CLUB DR                                                                      DEER ISLAND         FL     32778‐9019
HILLER, GARY W          10247 E COLDWATER RD                                                                      DAVISON             MI     48423‐8598
HILLER, GERALD L        416 ALMONT AVE                                                                            ALMONT              MI     48003‐8605
HILLER, GORDON V        87 CEDAR RIDGE DR                                                                         WEST SENECA         NY     14224‐2574
HILLER, IRENE R         618 MICHIGAN AVE                                                                          MARYSVILLE          MI     48040‐1114
HILLER, JAMES D         22841 VALERIO ST                                                                          WEST HILLS          CA     91307‐2127
HILLER, JAMES L         6090 DOWNS ROAD                                                                           CHAMPION            OH     44484
HILLER, JANIE M         8842 HEMLOCK                                                                              OVERLAND PARK       KS     66212
HILLER, JANIE M         8842 HEMLOCK DR                                                                           OVERLAND PARK       KS     66212‐2946
HILLER, JEAN A          29705 VAN LAAN                                                                            WARREN              MI     48092
HILLER, JOHN B          3904 S LEES SUMMIT RD                                                                     INDEPENDENCE        MO     64055‐4003
HILLER, LINNETTE        317 LINDEN RIDGE TRL                                                                      GREENWOOD           IN     46142‐9229
HILLER, LORRAINE A      3316 GORSE CT                                                                             PALM HARBOR         FL     34684‐3409
HILLER, LYNN A          2305 FONTAINE AVE                                                                         CHARLOTTESVILLE     VA     22903
HILLER, MARIA C         769 GARFIELD AVE                                                                          GLENSIDE            PA     19038‐1722
HILLER, MURIEL W        3916 N 32ND ST                                                                            TACOMA              WA     98407‐5429
HILLER, NEIL D          9316 GREEN RD                                                                             GOODRICH            MI     48438‐9437
HILLER, PAUL E          PO BOX 182505                                                                             SHELBY TOWNSHIP     MI     48318‐2505
HILLER, PAUL E          310 NORTH CHERRY STREET                                                                   KENTON              OH     43326‐1513
HILLER, PAUL E          APT 14                        48615 ROMA VALLEY DRIVE                                     SHELBY TWP          MI     48317‐2074
HILLER, RAYMOND R       15926 HIGHWAY 438 W                                                                       LINDEN              TN     37096‐5411
HILLER, ROGER A         S5398 COOK HILL RD                                                                        VIROQUA             WI     54665‐7133
HILLER, RUTH E          4065 WESTLAKE RD                                                                          CORTLAND            OH     44410‐9224
HILLER, RYAN D          7471 WALNUT DR                                                                            GOODRICH            MI     48438‐8750
HILLER, SCOTT W         4440 TILLIE DR                                                                            FLINT               MI     48504‐1013
HILLER, SCOTT WAYNE     4440 TILLIE DR                                                                            FLINT               MI     48504‐1013
HILLER, SHARLENE L      295 TOWNSHIP ROAD 1600 # 1                                                                JEROMESVILLE        OH     44840‐9713
HILLER, THELMA D        3319 ANN DRIVE                                                                            FLUSHING            MI     48433‐2307
HILLER, THERESA M       1723 VERDE DR                                                                             CLEARWATER          FL     33765‐1640
HILLER, TROY D          11149 STRATHMORE CT                                                                       GRAND BLANC         MI     48439‐9467
HILLER, TROY D          10035 MULBERRY LN                                                                         GRAND BLANC         MI     48439
HILLER, WALTER C        5948 RR AVE                                                                               BURT                NY     14028
HILLER, WILLIAM F       816 E GRANT ST                                                                            MARION              IN     46952‐2946
HILLERS, RALPH D        207 CHIPPEWA CT                                                                           GIRARD              OH     44420‐3617
HILLERS, WILLIAM J      21212 HEMPHILL RD                                                                         TONGANOXIE          KS     66086‐5042
HILLERT, CAROL L        7860 SHERIDAN ROAD                                                                        BIRCH RUN           MI     48415‐8915
HILLERT, PAUL G         12200 SPENCER RD                                                                          SAGINAW             MI     48609‐9796
HILLERUD, DONALD G      N7770 HALF MOON BAY DR W                                                                  NEW LISBON          WI     53950‐9314
HILLERUD, ERIC A        343 MONROE ST                                                                             OSWEGO               IL    60543
HILLERY BARNEY          18104 AMBIANCE WAY                                                                        FRANKLIN            TN     37067‐5885
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Name                                   Address1                           Address2                           Address3   Address4               City            State   Zip
HILLERY CLIFFORD JR                    11591 LIBERTY ST                                                                                        CLIO             MI     48420‐1405
HILLERY GLENN HAVARD                   C/O FOSTER & SEAR, LLP             817 GREENVIEW DRIVE                                                  GRAND PRAIRIE    TX     75050
HILLERY HERBERT                        BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.      OH     44236
HILLERY JR, J Y                        3554 SHERBROOKE WAY SW                                                                                  ATLANTA          GA     30331‐5408
HILLERY L BARNEY                       18104 AMBIANCE WAY                                                                                      FRANKLIN         TN     37067‐5885
HILLERY, GEORGE W                      7387 REYNOLDS RD                                                                                        MENTOR           OH     44060‐4739
HILLERY, HATTIE L                      3224 RICHWOOD AVE                                                                                       WINDSOR MILL     MD     21244‐2832
HILLERY, JERRY                         4252 E 400 N                                                                                            ANDERSON         IN     46012‐9420
HILLERY, LAMAR                         4471 JOHN WESLEY DR                                                                                     DECATUR          GA     30035‐2149
HILLERY, LULA                          7045 PANDA LANE                                                                                         AUSTELL          GA     30168
HILLERY, NORLEEN                       345 WYOMING AVENUE                                                                                      BUFFALO          NY     14215‐3119
HILLERY, QUINCY G                      2062 DARTMOTH WAY                                                                                       VILLA RICA       GA     30180‐5860
HILLERY, ROBERT D                      7131 CASTLE MANOR DR                                                                                    INDIANAPOLIS     IN     46214‐3630
HILLES SR, JOHN C                      1718 VERNON AVE NW                                                                                      WARREN           OH     44483‐3146
HILLES, SALLY A                        824 ARLINGTON DR                                                                                        GREENVILLE       PA     16125‐8219
HILLESHIEM, RUBY S                     4106 BROOKE RD                                                                                          KOKOMO           IN     46902‐7510
HILLEY JR, PATRICK J                   807 RANDY LN                                                                                            SAINT JOHNS      MI     48879‐8737
HILLEY JR, PATRICK J                   10810 NORTH DR                                                                                          FOWLER           MI     48835‐9706
HILLEY, GORDA L                        43 HAZEL AVE                                                                                            PONTIAC          MI     48341‐1909
HILLEY, HAROLD L                       1511 SMITHWOOD DR                                                                                       MARIETTA         GA     30062‐2710
HILLEY, HAROLD L.                      1511 SMITHWOOD DR                                                                                       MARIETTA         GA     30062‐2710
HILLEY, JEANINE                        13369 ALLISON DR                                                                                        MC CALLA         AL     35111
HILLEY, JERRY W                        13369 ALLISON DR                                                                                        MC CALLA         AL     35111
HILLEY, TERRY E                        7960 W CLARKSVILLE RD                                                                                   CLARKSVILLE      MI     48815‐9666
HILLGER, THERESA                       2619 LOCUST ST                                                                                          PORT HURON       MI     48060
HILLHOUSE ERNEST                       31859 E 723 DR                                                                                          WAGONER          OK     74467‐7567
HILLHOUSE, DANNY R                     309 OLD HAMILTON RD NW                                                                                  MARIETTA         GA     30064‐1629
HILLHOUSE, JESSIE L                    79 52ND AVE                                                                                             BELLWOOD          IL    60104‐1031
HILLIAN, KITTY B                       PO BOX 1374                                                                                             BATTLE CREEK     MI     49016‐1374
HILLIAN, SUSAN L                       5915 SUZANNE DR                                                                                         TOLEDO           OH     43612‐4328
HILLIARD CORP                          100 W 4TH ST                                                                                            ELMIRA           NY     14901‐2148
HILLIARD DOUGLAS                       PO BOX 231                                                                                              HOLLADAY         TN     38341‐0231
HILLIARD GEORGE W (429103)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA     23510
                                                                          STREET, SUITE 600
HILLIARD HODGES                        1917 RED SUNSET DR                                                                                      DECATUR          AL     35603‐4481
HILLIARD HYDE                          PO BOX 6701                                                                                             NORTH PORT       FL     34290‐6701
HILLIARD J HYDE                        PO BOX 6701                                                                                             NORTH PORT       FL     34290‐6701
HILLIARD JEFF                          189 VALLEY SPRINGS DR                                                                                   OLIN             NC     28660‐9504
HILLIARD JR, HERMAN J                  75 DIXON DR                                                                                             BUFFALO          NY     14223‐1834
HILLIARD JR, HERMAN JOHN               75 DIXON DR                                                                                             BUFFALO          NY     14223‐1834
HILLIARD JR, OSCAR L                   PO BOX 112                                                                                              DIMONDALE        MI     48821‐0112
HILLIARD LYONS CUST & DEWITT IVINS IRA HILLIARD LYONS                     4801 OLYMPIA PARK PLAZA STE 1000                                     LOUISVILLE       KY     40241

HILLIARD LYONS CUST FBO DEANNA         ACCOUNT #5752‐2245                 500 W JEFFERSON ST                                                   LOUISVILLE       KY     40202
MCKINNEY IRA
HILLIARD LYONS CUST FOR                JESSIE L SPARKS IRA                3520 COUNTY ROAD 678                                                 FORT PAYNE       AL     35967‐9557
HILLIARD LYONS CUST FOR                GENEVIEVE J MOYER IRA‐ROLL         8274 ALVORD RD                                                       MONTGOMERY       MI     49255‐9743
HILLIARD LYONS CUST FOR DANIEL L       4801 OLYMPIA PARK PLAZA STE 1000                                                                        LOUISVILLE       KY     40241
HAFFENDORFER IRA
HILLIARD LYONS CUST FOR DON SICHTING   2542 W 750 S                                                                                            TRAFALGAR        IN     46181
IRA
HILLIARD LYONS CUST FOR JUDY M PRICE   1561 THORNBURG LN                                                                                       FRANKLIN         IN     46131
IRA
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Name                                  Address1                         Address2                           Address3   Address4               City           State Zip
HILLIARD LYONS CUST JAMES E WINGFIELD 4801 OLYMPIA PARK PLAZA          STE 1000                                                             LOUISVILLE      KY 40241
IRA
HILLIARD LYONS CUSTODIAN / THELMA     C/O HILLIARD LYONS               4801 OLYMPIA PARK PLAZA STE 1000                                     LOUISVILLE     KY   40241
BLANKENSHIP IRA
HILLIARD ROBERT C                     1600 SMITH ST                                                                                         HOUSTON        TX   77002
HILLIARD ROOSEVELT (445242)           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD     OH   44067
                                                                       PROFESSIONAL BLDG
HILLIARD ROSS JR                     917 NIPP AVE                                                                                           LANSING        MI   48915‐1023
HILLIARD SMITH                       3498 W YANKEE RD                                                                                       SIX LAKES      MI   48886‐8762
HILLIARD SR, ROBERT L                1105 ESTELLE CT                                                                                        NILES          OH   44446‐3420
HILLIARD THOMAS                      HILLIARD, THOMAS                  16855 WEST BERNARDO DRIVE SUITE                                      SAN DIEGO      CA   92127
                                                                       380
HILLIARD, ADLENE                     69 TWIN BEECHES                                                                                        ROCHESTER      NY   14608‐1074
HILLIARD, ALONZO                     7650 S HOYNE AVE                                                                                       CHICAGO        IL   60620‐5737
HILLIARD, ALVIN M                    1145 HAYES AVE                                                                                         HAMILTON       OH   45015‐2023
HILLIARD, AMANDA L                   15110 PIHL ROAD                                                                                        KALEVA         MI   49645‐9636
HILLIARD, BERNICE C                  403 CARPENTER RD                                                                                       FOSTORIA       MI   48435‐9780
HILLIARD, BRUCE A                    120 DOYLE AVE                                                                                          BUFFALO        NY   14207‐1357
HILLIARD, BRUCE ALLEN                120 DOYLE AVE                                                                                          BUFFALO        NY   14207‐1357
HILLIARD, CALLIE M                   2421 MONTGOMERY ST                                                                                     SAGINAW        MI   48601‐4231
HILLIARD, CATHERINE                  960 CAIRO LOOP                                                                                         ECRU           MS   38841‐7750
HILLIARD, CHARLIE J                  655 STUYVESANT AVE                                                                                     IRVINGTON      NJ   07111‐1822
HILLIARD, CHESTER                    7842 S DREXEL AVE                                                                                      CHICAGO        IL   60619‐3212
HILLIARD, DIANNE K                   104 N DELAWARE AVE                                                                                     MARTINSBURG    WV   25401‐2049
HILLIARD, DIANNE KAY                 104 N DELAWARE AVE                                                                                     MARTINSBURG    WV   25401‐2049
HILLIARD, DION C                     3028 SILVER SAND DRIVE                                                                                 BATON ROUGE    LA   70816‐3716
HILLIARD, DORIS J                    3441 VALLEYWOOD DR                                                                                     DAYTON         OH   45429‐4234
HILLIARD, DOROTHY L                  2736 S MICHIGAN RD                                                                                     EATON RAPIDS   MI   48827‐9245
HILLIARD, DWAIN E                    1006 W NORTHRUP ST                                                                                     LANSING        MI   48911‐3641
HILLIARD, EARMA J                    2803 ENOCHS ST                                                                                         JACKSON        MS   39213‐6710
HILLIARD, EARNEST B                  9058 NEWCASTLE DR                                                                                      SHREVEPORT     LA   71129‐5122
HILLIARD, EARNEST BERNARD            9058 NEWCASTLE DR                                                                                      SHREVEPORT     LA   71129‐5122
HILLIARD, EDDIE W                    19 NETHERWOOD PL                                                                                       NEWARK         NJ   07106‐2905
HILLIARD, EDNA E                     1145 HAYES AVE                                                                                         HAMILTON       OH   45015‐2023
HILLIARD, FLOYD O                    11444 PACE CT                                                                                          INDIANAPOLIS   IN   46229‐4139
HILLIARD, FRANCIS M                  5367 NORTH CLINTON ST.                                                                                 FORT WAYNE     IN   46825
HILLIARD, FRANCIS M                  1936 RIVER RUN TRL                APT A                                                                FORT WAYNE     IN   46825‐6087
HILLIARD, GEORGE W                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK        VA   23510‐2212
                                                                       STREET, SUITE 600
HILLIARD, GURDIA L                   7842 S DREXEL AVE                                                                                      CHICAGO        IL   60619‐3212
HILLIARD, GURDIA L                   7842 DREXEL AVE                                                                                        CHICAGO        IL   60619‐3212
HILLIARD, HATTIE E                   5530 BROADMOOR PLZ                                                                                     INDIANAPOLIS   IN   46228‐2027
HILLIARD, HERMAN G                   95 ALEX HILLIARD LN                                                                                    LOUISBURG      NC   27549‐6933
HILLIARD, INA                        6520 RIVER RD ‐ RR 1                                                                                   MANISTEE       MI   49660‐9717
HILLIARD, JAMES                      995 E SYCAMORE ST                                                                                      GLOBE          AZ   85501‐1749
HILLIARD, JAMES E                    3490 W 20TH ST                                                                                         INDIANAPOLIS   IN   46222‐2620
HILLIARD, JAMES P                    3783 CHAMBERLAIN DR                                                                                    LAMBERTVILLE   MI   48144‐9781
HILLIARD, JANICE K                   13180 WESTMINISTER ST                                                                                  SOUTHGATE      MI   48195‐3023
HILLIARD, JEAN M                     3295 WATKINS LAKE ROAD            APT 109                                                              WATERFORD      MI   48328‐3035
HILLIARD, JEAN M                     3295 WATKINS LAKE RD APT 109                                                                           WATERFORD      MI   48328‐1546
HILLIARD, JOSEPH R                   24165 HELENE DR                                                                                        BROWNSTOWN     MI   48183‐2574
HILLIARD, KATHERINE L                682 PRATER RD                                                                                          WALLINGFORD    KY   41093‐8989
HILLIARD, KENNETH                    1712 MANOR PL ‐1                                                                                       DAYTON         OH   45406
HILLIARD, KENNETH F                  2200 HAMPTON ST                                                                                        WHITE LAKE     MI   48386‐1540
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Name                        Address1                         Address2                       Address3   Address4               City           State Zip
HILLIARD, LARRY C           PO BOX 702                                                                                        FLINT           MI 48501‐0702
HILLIARD, LARRY CLAYTON     PO BOX 702                                                                                        FLINT           MI 48501‐0702
HILLIARD, LATOYA M          APT 2                            726 NORTH AUSTIN BOULEVARD                                       OAK PARK         IL 60302‐2452
HILLIARD, LATOYA MICHELLE   APT 2                            726 NORTH AUSTIN BOULEVARD                                       OAK PARK         IL 60302‐2452
HILLIARD, LINDA J           839 ROBBINS AVE APT 1                                                                             NILES           OH 44446‐2455
HILLIARD, LORETTA J         1674 HONEYSUCKLE DR                                                                               MANSFIELD       OH 44905‐2312
HILLIARD, LOUIS             2421 MONTGOMERY ST                                                                                SAGINAW         MI 48601‐4231
HILLIARD, LOUISIANA         11 BLAINE AVE                                                                                     BUFFALO         NY 14208‐1058
HILLIARD, LOZIE J           1335 W 36TH ST                                                                                    INDIANAPOLIS    IN 46208‐4135
HILLIARD, MARGARET A        1180 S HADLEY RD                                                                                  ORTONVILLE      MI 48462‐9112
HILLIARD, MARJORIE S        19556 S GLEN BLVD                BUILDING #5, APT #B                                              BROWNSTOWN TWP MI 48183

HILLIARD, MICHAEL J         2645 BROWN ST                                                                                     FLINT             MI   48503‐3336
HILLIARD, MICHAEL L         384 W 2ND ST                                                                                      SALEM             OH   44460‐2706
HILLIARD, MYRNA L           1416 OLD HICKORY RD                                                                               MEMPHIS           TN   38116‐4324
HILLIARD, P M
HILLIARD, PATRICIA C        2620 E CAVETT DR                                                                                  SHREVEPORT        LA   71104‐3709
HILLIARD, PATRICK           9088 NEWCASTLE DR                                                                                 SHREVEPORT        LA   71129
HILLIARD, PAUL M            706 YOUNGSTOWN KINGSVILLE RD S                                                                    VIENNA            OH   44473‐9605
HILLIARD, RICHARD T         318 JOHN R RD PMB 303                                                                             TROY              MI   48083‐4542
HILLIARD, RICKY H           PO BOX 1267                                                                                       HARTSELLE         AL   35640‐1267
HILLIARD, ROBERT L          12840 RED PINE LN                                                                                 SHELBY TOWNSHIP   MI   48315‐6905
HILLIARD, ROBERT R          6408 BURNLY ST                                                                                    GARDEN CITY       MI   48135‐2036
HILLIARD, ROBERT W          13683 WESLEY ST                                                                                   SOUTHGATE         MI   48195‐1718
HILLIARD, ROCKY             PO BOX 239                                                                                        RHINE             GA   31077‐0239
HILLIARD, ROOSEVELT         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD        OH   44067
                                                             PROFESSIONAL BLDG
HILLIARD, SALLY M           171 SCHEERER AVENUE                                                                               NEWARK            NJ   07112‐2113
HILLIARD, SHIRLEY A         5296 OLEKSYN RD                                                                                   FLINT             MI   48504‐1000
HILLIARD, STEVEN            4714 KESSLER DR                                                                                   LANSING           MI   48910‐5323
HILLIARD, TERRY L           6853 FOSTORIA RD                                                                                  OTTER LAKE        MI   48464‐9643
HILLIARD, THOMAS            8601 E COUNTY ROAD 900 N                                                                          ALBANY            IN   47320‐9017
HILLIARD, THOMAS            MCGEE WILLIAM R LAW OFFICES OF   16855 W BERNARDO DR STE 380                                      SAN DIEGO         CA   92127‐1626
HILLIARD, THOMAS J          3859 GATE DR                                                                                      TROY              MI   48083‐5643
HILLIARD, TOMMY E           17441 E LIMESTONE RD                                                                              ATHENS            AL   35613‐6440
HILLIARD, VERDELL F         18 MIDLAND AVE                                                                                    WHITE PLAINS      NY   10606‐2827
HILLIARD, VERNON L          8005 E 89TH ST                                                                                    KANSAS CITY       MO   64138‐4146
HILLIE JR, JOHN A           16144 FENTON ST                                                                                   DETROIT           MI   48219‐3632
HILLIE SHUPERT JR           3418 RIDGE AVE                                                                                    DAYTON            OH   45414‐5441
HILLIE, EDWARD E            975 BERWICK BLVD                                                                                  PONTIAC           MI   48341‐2316
HILLIE, HAZEL               540 HOWLAND                                                                                       PONTIAC           MI   48341‐2766
HILLIE, JESSE L             34 COLLINGWOOD ST                                                                                 PONTIAC           MI   48342‐3102
HILLIE, MICHEAL D           439 JORDAN RD                                                                                     PONTIAC           MI   48342‐1738
HILLIE, MICHEAL DUSHAWN     439 JORDAN RD                                                                                     PONTIAC           MI   48342‐1738
HILLIE, NADINE L            20435 GREENLAWN                                                                                   DETROIT           MI   48221
HILLIE, TERRY L             38 EARLMOOR BLVD                                                                                  PONTIAC           MI   48341‐2816
HILLIER JR, ROBERT D        6464 RICHALLE ST                                                                                  BRIGHTON          MI   48116‐2157
HILLIER JR, ROBERT DENNIS   6464 RICHALLE ST                                                                                  BRIGHTON          MI   48116‐2157
HILLIER JR, VERNE           PO BOX 158                       108 N MAIN ST ‐                                                  CRYSTAL           MI   48818‐0158
HILLIER, AUGUSTA M          1259 KNOLLWOOD DR                                                                                 SAINT HELEN       MI   48656‐9534
HILLIER, BRADLEY J          3425 ROSEGLADE                                                                                    ROCHESTER         MI   48306‐1454
HILLIER, BURL A             1014 HILLCREST AVE                                                                                COLUMBIA          TN   38401‐2512
HILLIER, CHARLENE           1279 KNOX HIGHWAY 8                                                                               KNOXVILLE         IL   61448‐9333
HILLIER, CHERYL A           4080 N GENESEE RD                                                                                 FLINT             MI   48506‐2142
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Name                            Address1                        Address2           Address3        Address4               City            State Zip
HILLIER, CYNTHIA S              PO BOX 33                                                                                 BRISTOLVILLE     OH 44402‐0033
HILLIER, DAVID A                6209 BURNINGTREE DR                                                                       BURTON           MI 48509‐2610
HILLIER, DENNIS L               12021 WASHBURN RD                                                                         COLUMBIAVILLE    MI 48421‐9201
HILLIER, DOUGLAS                5947 WARREN RD                                                                            CORTLAND         OH 44410‐9710
HILLIER, ESTHER G               1507 MILLVILLE RD                                                                         LAPEER           MI 48446‐7712
HILLIER, GARY L                 10696 E 950 N                                                                             KENDALLVILLE     IN 46755‐9759
HILLIER, GEORGE P               154 HURON WILLIAMS RD                                                                     MITCHELL         IN 47446‐7462
HILLIER, HARRY R                1591 BALDWIN RD                                                                           LAPEER           MI 48446‐9774
HILLIER, HILDA S                128 RIVERVIEW CIR                                                                         SALINE           MI 48176‐9139
HILLIER, HILDA SUE              128 RIVERVIEW CIRCLE                                                                      SALINE           MI 48176‐9139
HILLIER, JAMES A                694 COLLIER LAKE CIR                                                                      SEBASTIAN        FL 32958‐3932
HILLIER, JOSEPH                 2492 RIDGE RD                                                                             VIENNA           OH 44473‐9706
HILLIER, KATHRYN                44553 LEE DR                                                                              CALLAHAN         FL 32011
HILLIER, MARILOUISE             515 S HAWKINS RD                                                                          GLADWIN          MI 48624‐8485
HILLIER, MARJORIE J             2054 ATWATER                                                                              SIMI VALLEY      CA 93063‐2603
HILLIER, MARJORIE J             2054 ATWATER AVE                                                                          SIMI VALLEY      CA 93063‐2603
HILLIER, MAXINE C               8496 CALKINS RD                                                                           FLINT            MI 48532‐5521
HILLIER, ROBERT D               1603 MARQUETTE ST                                                                         SAGINAW          MI 48602‐1734
HILLIER, ROBERT E               5462 WHITTEN DR                                                                           NAPLES           FL 34104‐5302
HILLIER, RUSSELL P              1600 NEW YORK AVE                                                                         LANSING          MI 48906‐4542
HILLIGOSS CHEVROLET, INC.       DONALD HILLIGOSS                1502 E HOWARD ST                                          HIBBING          MN 55746‐1263
HILLIGOSS II, ROBERT S          P0 BOX 17                                                                                 KOKOMO           IN 46903
HILLIGOSS JR, JAMES M           4019 BROWN ST                                                                             ANDERSON         IN 46013‐4369
HILLIGOSS JR, LUIS W            506 CHESTER AVE                                                                           DANVILLE          IL 61832‐1549
HILLIGOSS JR, ORVILLE           608 W JACKSON ST                                                                          ALEXANDRIA       IN 46001‐1315
HILLIGOSS, DAVID L              1431 ROMINE RD                                                                            ANDERSON         IN 46011‐8708
HILLIGOSS, GARY D               20726 CALEDONIA AVE                                                                       HAZEL PARK       MI 48030‐2537
HILLIGOSS, JAMES M              6805 N RAIDER RD                                                                          MIDDLETOWN       IN 47356‐9751
HILLIGOSS, KENNETH A            17672 SPRENGER AVE                                                                        EASTPOINTE       MI 48021‐3149
HILLIGOSS, MARY D               846 BRIARWOOD DR                                                                          ANDERSON         IN 46012‐9803
HILLIGOSS, PAUL J               3951 E BRUNSWICK AVE                                                                      INDIANAPOLIS     IN 46237‐3800
HILLIGOSS, RALPH V              846 BRIARWOOD DR                                                                          ANDERSON         IN 46012‐9803
HILLIGOSS, ROBERT M             619 S BUCKINGHAM CT                                                                       ANDERSON         IN 46013‐4465
HILLIGOSS, ROBERT S             2025 KERRI LYNN LN                                                                        KOKOMO           IN 46902‐7408
HILLIGOSS, ROMONA A             17672 SPRENGER AVE                                                                        EASTPOINTE       MI 48021‐3149
HILLIGOSS, SAMUEL R             3759 CHESTNUT RIDGE RD                                                                    SANTA FE         TN 38482‐3023
HILLIKER JR, ALFRED L           13018 STAMFORD AVE                                                                        WARREN           MI 48089‐4581
HILLIKER, ALVIN E               BOX 258 PROVIDENCE CHURCH RD.                                                             LITTLE MOUNTAIN  SC 29075
HILLIKER, BILLIE M              2461 ROLFE RD                                                                             MASON            MI 48854‐9252
HILLIKER, CHARLES A             4200 CURTICE ROAD                                                                         MASON            MI 48854‐9508
HILLIKER, CHARLES A             3128 DILLON RD                                                                            FLUSHING         MI 48433‐9762
HILLIKER, CHARLES A             4200 CURTICE RD                                                                           MASON            MI 48854‐9508
HILLIKER, CHARLES ALAN          3128 DILLON RD                                                                            FLUSHING         MI 48433‐9762
HILLIKER, CLAYTON E             46099 VINEYARD AVE                                                                        SHELBY TOWNSHIP  MI 48317‐3929
HILLIKER, CLYDE                 419 MILL ST                                                                               CONNEAUT         OH 44030‐2441
HILLIKER, DAVID J               7031 WHITNEY WOODS RD                                                                     FENTON           MI 48430‐9019
HILLIKER, DAVID M               10387 CARMER RD                                                                           FENTON           MI 48430‐2416
HILLIKER, DORIS D               13018 STAMFORD                                                                            WARREN           MI 48089‐4581
HILLIKER, DUANE C               G‐8119 DOVER DRIVE                                                                        GRAND BLANC      MI 48439
HILLIKER, ELWYN J               10387 CARMER RD                                                                           FENTON           MI 48430‐2416
HILLIKER, FREDERICK E           20557 VREELAND RD                                                                         BROWNSTOWN TWP MI 48183‐4339

HILLIKER, FREDERICK ELLSWORTH   20557 VREELAND RD                                                                         BROWNSTOWN TWP   MI   48183‐4339
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Name                                     Address1                        Address2                      Address3              Address4               City            State   Zip
HILLIKER, FREDERICK G                    180 PHEASANT CT                                                                                            GRAND BLANC      MI     48439‐8191
HILLIKER, JAMES W                        222 DEVONSHIRE DR                                                                                          DIMONDALE        MI     48821‐9777
HILLIKER, JANCIE MARIE                   4158 SHADY OAKS CT                                                                                         SARASOTA         FL     34233‐2503
HILLIKER, LEROY R                        1230 GRANADA AVE                                                                                           DAYTONA BEACH    FL     32117‐2417
HILLIKER, OLIVER J                       11179 ZIEGLER ST                                                                                           TAYLOR           MI     48180‐4321
HILLIKER, PAUL P                         1127 MINNIE ST                                                                                             PORT HURON       MI     48060
HILLIKER, PHYLLIS ALMA                   208 ELM ST                      PO BOX 173                                                                 VERNON           MI     48476‐0173
HILLIKER, PHYLLIS ALMA                   208 E ELM ST                    PO BOX 173                                                                 VERNON           MI     48476‐9110
HILLIKER, THOMAS G                       16318 QUARTZ DR                                                                                            NOBLESVILLE      IN     46060‐8064
HILLIKER, TOMMY E                        1324 ELIZABETH ST                                                                                          MOUNT MORRIS     MI     48458‐1770
HILLIKER, VIOLET                         244 RIVER EDGE DR                                                                                          KINGSPORT        TN     37660‐3458
HILLIKER, WILLIAM E                      244 RIVER EDGE DR                                                                                          KINGSPORT        TN     37660‐3458
HILLIN G W (493844)                      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA     23510
                                                                         STREET, SUITE 600
HILLIN, EARL W                           4821 PRAIRIE CHAPEL TRAIL                                                                                  CRANDALL         TX     75114‐4622
HILLIN, G W                              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA     23510‐2212
                                                                         STREET, SUITE 600
HILLIN, GAYLA D                          5330 VISTA GLEN ST                                                                                         SAN ANTONIO     TX      78247‐5005
HILLIN, NANCY J                          760 COUNTRY RD 213                                                                                         VENUS           TX      76084
HILLING, SAM H                           135 HARPER RD                                                                                              STREETSBORO     OH      44241‐5721
HILLING, STAN W                          2221 CONNECTICUT AVE                                                                                       YOUNGSTOWN      OH      44509‐1731
HILLIS CARLYLE                           542 S WHEATLAND AVE                                                                                        COLUMBUS        OH      43204‐3110
HILLIS CHARLES W (415519)                SIMMONS FIRM                    PO BOX 559                                                                 WOOD RIVER      IL      62095‐0559
HILLIS JACK CECIL (ESTATE OF) (659528)   COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                                    HOUSTON         TX      77002‐1751
HILLIS, ARCHIE A                         119 TODD PL                                                                                                LOWELL          AR      72745‐8586
HILLIS, BARBARA RAYE                     4447 THORNTREE DR                                                                                          BURTON          MI      48509‐1224
HILLIS, CHARLES F                        RR 5                                                                                                       NAPOLEON        OH      43545
HILLIS, CHARLES W                        SIMMONS FIRM                    PO BOX 559                                                                 WOOD RIVER      IL      62095‐0559
HILLIS, DAVID J                          215 WHITE OAK DR                                                                                           GREENFIELD      IN      46140‐2557
HILLIS, DAVID M                          42 LAURA DR                                                                                                SAINT PETERS    MO      63376
HILLIS, EVELYN                           119 TODD PL                                                                                                LOWELL          AR      72745‐8586
HILLIS, HARRY R                          PO BOX 19                                                                                                  ORA             IN      46968‐0019
HILLIS, JACK CECIL                       COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                                    HOUSTON         TX      77002‐1751
HILLIS, JACK D                           2251 BRADYVILLE PIKE                                                                                       MURFREESBORO    TN      37127‐6658
HILLIS, JAMES H                          5100 SHARON RD UNIT 130B                                                                                   CHARLOTTE       NC      28210‐4881
HILLIS, JERRY A                          13645 COUNTY ROAD M                                                                                        NAPOLEON        OH      43545‐9571
HILLIS, JOHN E                           11154 CUTLER RD                                                                                            PORTLAND        MI      48875‐8463
HILLIS, JOHN L                           21228 POWERS RD                                                                                            DEFIANCE        OH      43512‐9069
HILLIS, LOIS                             712 SALEM DR                                                                                               KOKOMO          IN      46902‐4924
HILLIS, MICHAEL L                        2493 LANNING DR                                                                                            BURTON          MI      48509‐1028
HILLIS, RONALD R                         7085 N RAY RD                                                                                              FREMONT         IN      46737‐9254
HILLIS, STEVEN A                         1632 HIGH MEADOW DR                                                                                        CHOCTAW         OK      73020‐6611
HILLIS, THEODORE R                       165 ELM DR                                                                                                 CEDAR CREEK     TX      78612‐3334
HILLIS, THOMAS                           PO BOX 193                                                                                                 KEYSVILLE       GA      30816‐0193
HILLIS, WADE E                           602 KING ST                                                                                                RAVENNA         OH      44266‐2818
HILLISON SR, ADLAI A                     9860 N 300 W‐90                                                                                            MARKLE          IN      46770‐9744
HILLISON SR., STEVEN H                   1010 12TH AVE                                                                                              MONROE          WI      53566‐1750
HILLISON, IDA E                          8705 W. PLYMOUTH CHURCH ROAD                                                                               ORFORDVILLE     WI      53576‐9529
HILLISON, IDA E                          8705 W PLYMOUTH CHURCH RD                                                                                  ORFORDVILLE     WI      53576‐9529
HILLISON, LEANNE M                       416 SALTIRE DR                                                                                             ROCKTON         IL      61072‐1681
HILLISON, WAYNE O                        14529 W SPRING VALLEY RD                                                                                   ORFORDVILLE     WI      53576‐9779
HILLIUS FLINT                            1236 BLUE SPRINGS DR                                                                                       LOGANVILLE      GA      30052‐9230
HILLLL, MINNIE                           APT 903 MAGNOLIA GARDENS                                                                                   FLORENCE        AL      35630
HILLMAN BEVERLY                          HAMM, INDIA R                   KIMMEL & SILVERMAN            30 EAST BUTLER PIKE                          AMBLER          PA      19002
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HILLMAN BEVERLY           HILLMAN, BEVERLY                   30 E BUTLER AVE                                                     AMBLER              PA     19002‐4514
HILLMAN CANELLA           2858 ROSE RDG                                                                                          CLINTWOOD           VA     24228‐7744
HILLMAN CO INC, THE       2850 UNIVERSAL DR                                                                                      SAGINAW             MI     48603‐2411
HILLMAN CRUM              1988 E HIGH AVE                                                                                        YOUNGSTOWN          OH     44505‐3561
HILLMAN DEAN A (429104)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA     23510
                                                             STREET, SUITE 600
HILLMAN ELIZABETH J       10312 E CAMINO DE LA PLACITA                                                                           TUCSON              AZ     85748
HILLMAN GROUP INC         1625 SOLUTIONS CTR                                                                                     CHICAGO             IL     60677‐1006
HILLMAN JR, JAMES M       10966 W STATE ROAD 142                                                                                 QUINCY              IN     47456‐9425
HILLMAN JR, WALTER W      235 W NORWAY LAKE RD                                                                                   LAPEER              MI     48446
HILLMAN KAREN             11201 SW 1ST CT                                                                                        PLANTATION          FL     33325‐2938
HILLMAN MCGEE             4286 HOLCOMB ST                                                                                        DETROIT             MI     48214‐1391
HILLMAN PHARMACY INC      601 STATE ST                                                                                           HILLMAN             MI     49746‐9511
HILLMAN PHARMACY INC.     601 STATE ST                                                                                           HILLMAN             MI     49746‐9511
HILLMAN RAINWATER         407 W MILL ST                                                                                          MILLSTADT           IL     62260‐1151
HILLMAN SR, ROBERT C      1065 SEAPORT DR                                                                                        CICERO              IN     46034‐9570
HILLMAN SR, WALTER W      810 ADAMS ST                                                                                           LAPEER              MI     48446‐1907
HILLMAN TODD              11707 PIPING PLOVER RD                                                                                 GREEN ACRES         FL     33467
HILLMAN'S AUTO CENTRE     400 SPRINGBANK DR                                                           LONDON ON N6J 1G8 CANADA

HILLMAN, ARTHUR           2847 ROSSMOOR CIR                                                                                      BLOOMFIELD HILLS   MI      48302‐1053
HILLMAN, ARTHUR R         834 BAIRD ST                                                                                           HOLLY              MI      48442‐1705
HILLMAN, AURORA M         1910 S WILLIAMS RD                                                                                     FRANKFORT          IN      46041‐4224
HILLMAN, BETTY K          155 S FOREST DR                                                                                        KOKOMO             IN      46901‐5102
HILLMAN, BETTY K          155 S. FOREST DR.                                                                                      KOKOMO             IN      46901
HILLMAN, BRODERICK P      PO BOX 40281                                                                                           REDFORD            MI      48240‐0281
HILLMAN, BRUCE E          PO BOX 496                                                                                             JENISON            MI      49429‐0496
HILLMAN, BRUCE E.         4147 PINE CREEK RD SW APT 3                                                                            GRANDVILLE         MI      49418‐2549
HILLMAN, BRUCE M          403 66TH ST                                                                                            NIAGARA FALLS      NY      14304‐3217
HILLMAN, CAROL M          2901 W STATE HIGHWAY 107 APT 43                                                                        MCALLEN            TX      78504
HILLMAN, CHARLES C        398 BOWMAN BEND RD                                                                                     HARRIMAN           TN      37748‐8410
HILLMAN, CHARLES J        3451 KINGSBROOKE WAY                                                                                   DECATUR            GA      30034‐1837
HILLMAN, CHERYL G         4137 HILAND ST                                                                                         SAGINAW            MI      48601‐4164
HILLMAN, CONRAD           1515 COLUMBIA DR                                                                                       BISMARCK           ND      58504‐7148
HILLMAN, DANIEL L         2945 CULVERT RD                                                                                        MEDINA             NY      14103‐9223
HILLMAN, DEAN A           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA      23510‐2212
                                                             STREET, SUITE 600
HILLMAN, DENNIS G         3145 GERRARD AVE                                                                                       INDIANAPOLIS       IN      46224‐2363
HILLMAN, DONALD A         795 PRESTON DR                                                                                         WAYNESVILLE        OH      45068‐8458
HILLMAN, DONNA L          LEVEL ACRES APARTMENTS             504 SOUTH ORANGE STREET                                             KALKASKA           MI      49646
HILLMAN, DOROTHY M        795 PRESTON DR                                                                                         WAYNESVILLE        OH      45068‐8458
HILLMAN, DWIGHT K         2901 W STATE HWY 107               LOT 439                                                             MCCALLUM           TX      78504
HILLMAN, DWIGHT K         2901 W STATE HIGHWAY 107 UNIT 43                                                                       MCALLEN            TX      78504
HILLMAN, EDWARD           10279 S LAKE BLVD                  APT M8                                                              PARMA              OH      44130‐7558
HILLMAN, EDWARD           10279 S LAKE BLVD APT M8                                                                               PARMA              OH      44130‐7558
HILLMAN, ELWIN E          7485 EAGLE RD                                                                                          DAVISBURG          MI      48350‐3209
HILLMAN, EVALINE J        606 COYOTE TRAIL                                                                                       ALICE              TX      78332‐4004
HILLMAN, EVELYN H         2655 E PETUNIA CT                                                                                      FAYETTEVILLE       AR      72701
HILLMAN, FLETCHER L       26 EVERTON ST                                                                                          DORCHESTER         MA      02121‐3507
HILLMAN, GLADYS D         316 JONES ST                                                                                           LANSING            MI      48912‐1745
HILLMAN, GRANTLAND R      9224 CRESTVIEW DR                                                                                      INDIANAPOLIS       IN      46240‐1214
HILLMAN, HEIDI M          756 S GLENHURST DR                                                                                     BIRMINGHAM         MI      48009‐2935
HILLMAN, HOWARD J         485 BANCROFT ST                                                                                        IMLAY CITY         MI      48444‐1105
HILLMAN, JAMES A          3076 W RATTALEE LAKE RD                                                                                HOLLY              MI      48442‐8685
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Name                         Address1                       Address2                 Address3   Address4               City            State   Zip
HILLMAN, JEFFREY G           496 W KNOX RD                                                                             BEAVERTON        MI     48612‐9158
HILLMAN, JEFFREY L           85 E FAIRMOUNT AVE                                                                        PONTIAC          MI     48340‐2727
HILLMAN, JERI L              38 JOHN ST                                                                                LOCKPORT         NY     14094‐4308
HILLMAN, JESSE W             809 E JEFFERSON ST                                                                        KOKOMO           IN     46901‐4718
HILLMAN, JOHN J              134 N CURTIS PL                                                                           TOMS RIVER       NJ     08753‐2784
HILLMAN, JUDITH M            6539 MCCARTY RD                                                                           SAGINAW          MI     48603‐9621
HILLMAN, KATHRYN D           PO BOX 6974                                                                               KOKOMO           IN     46904‐6974
HILLMAN, KELLY ANN           41086 BONESVILLE‐SCHOCK ROAD                                                              LEETONIA         OH     44431‐9624
HILLMAN, KEVIN L             550 GRATEN ST                                                                             BIRMINGHAM       MI     48009‐6516
HILLMAN, KEVIN L.            550 GRATEN ST                                                                             BIRMINGHAM       MI     48009‐6516
HILLMAN, KEVIN S             7485 EAGLE RD                                                                             DAVISBURG        MI     48350‐3209
HILLMAN, LESLIE O            13235 N LOTHROP RD                                                                        BYRON            MI     48418
HILLMAN, LILLY I             1632 TERREWANDA                                                                           DEFIANCE         OH     43512‐3247
HILLMAN, LILLY I             1632 TERRAWENDA DR                                                                        DEFIANCE         OH     43512‐3247
HILLMAN, LINDA L             1065 SEAPORT DR                                                                           CICERO           IN     46034‐9570
HILLMAN, LINDA M             13235 NEW LOTHROP RD                                                                      BYRON            MI     48418‐9768
HILLMAN, MABEL J             3107 ORLEANS DR                                                                           KOKOMO           IN     46902‐3950
HILLMAN, MARGARET            4703 MATHIS ST APT3                                                                       CINCINNATI       OH     45227‐2457
HILLMAN, MARK P              32533 ROBINHOOD DR                                                                        BEVERLY HILLS    MI     48025‐2513
HILLMAN, MARY A              485 BANCROFT ST                                                                           IMLAY CITY       MI     48444‐1105
HILLMAN, MARY E              18 CHATHAM ST                                                                             NORWALK          OH     44857‐1844
HILLMAN, MARY L              74 ROGERS AVE                                                                             LOCKPORT         NY     14094‐2550
HILLMAN, MAURICE C           504 S ORANGE ST APT 4B         LEVEL ACRES APARTMENTS                                     KALKASKA         MI     49646‐8461
HILLMAN, MAX L               3670 CREEK RD                                                                             YOUNGSTOWN       NY     14174‐1366
HILLMAN, PATRICK A           634 BAIRD ST                                                                              HOLLY            MI     48442‐1705
HILLMAN, PATRICK A           3522 GRANGE HALL RD APT 205                                                               HOLLY            MI     48442‐1024
HILLMAN, PATRICK J           4641 E SHELBY RD                                                                          MEDINA           NY     14103‐9789
HILLMAN, PAULINE             8257 HENDERSON RD                                                                         GOODRICH         MI     48438‐9777
HILLMAN, PENNEY L.           846 PINE TREE RD                                                                          LAKE ORION       MI     48362‐2554
HILLMAN, PHYLLIS H           6021 KETCHUM AVE TRLR 25       NEWFANE RETIREMENT PK                                      NEWFANE          NY     14108‐1050
HILLMAN, RICHARD A           2747 O BRIEN RD SW                                                                        WALKER           MI     49534‐7072
HILLMAN, RICHARD H           11520 ELY RD                                                                              DAVISBURG        MI     48350‐1701
HILLMAN, RICHARD L           3660 OUTLOOK CT NE                                                                        MARIETTA         GA     30066‐1788
HILLMAN, ROBERT F            10273 QUAY DR                                                                             INDIANAPOLIS     IN     46234‐3745
HILLMAN, ROBERT F            711 W LAKESHORE DR APT 404                                                                PORT CLINTON     OH     43452‐9311
HILLMAN, ROBERT L            2271 MONTAGUE RD                                                                          DAVISON          MI     48423‐9103
HILLMAN, ROY                 3915 ROCKCREST CT                                                                         CONLEY           GA     30288‐1427
HILLMAN, RUSSELL E           924 LONGFELLOW LN                                                                         PLAINFIELD       IN     46168‐1444
HILLMAN, SHARON A            2857 HOTTIS RD                                                                            WHITTEMORE       MI     48770‐9778
HILLMAN, STEPHEN C           PO BOX 48                      4128 WA TERLAND                                            HADLEY           MI     48440‐0048
HILLMAN, STEVEN W            7887 W SOMERSET RD                                                                        APPLETON         NY     14008‐9687
HILLMAN, T V                 711 W LAKESHORE DR APT 404                                                                PORT CLINTON     OH     43452‐9311
HILLMAN, TALMER L            1795 PALMER DR                                                                            DEFIANCE         OH     43512‐3422
HILLMAN, THOMAS J            3694 HIDDEN FOREST DR                                                                     LAKE ORION       MI     48359‐1469
HILLMAN, THOMAS J            PO BOX 290                     714 BASCOM RD.                                             MELSTONE         MT     59054‐0290
HILLMAN, VERNALL L           4114 3RD ST                                                                               BROWN CITY       MI     48416‐7707
HILLMAN, WENDELL J           4658 MONUMENT RD                                                                          OSCODA           MI     48750‐9232
HILLMAN, WILBUR H            4759 MIDLAND AVE                                                                          WATERFORD        MI     48329‐1840
HILLMAN, WILLIAM H           1116 WALDEN WALK CIR                                                                      STONE MTN        GA     30088‐2767
HILLMAN, WILLIAM R           822 BAIRD ST                                                                              HOLLY            MI     48442‐1705
HILLMAN, ZELLA E             1407 SKIPPER DR APT 325                                                                   WATERFORD        MI     48327‐2494
HILLMAN,MARK P               32533 ROBINHOOD DR                                                                        BEVERLY HILLS    MI     48025‐2513
HILLMAN‐CHADWICK, DENISE A   2481 LOCKPORT OLCOTT RD                                                                   NEWFANE          NY     14108‐9518
HILLMAN‐WICKS, MARGARET D    1445 DAVIS RD                                                                             CHURCHVILLE      NY     14428‐9711
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Name                            Address1                              Address2                         Address3   Address4               City            State   Zip
HILLMANN, SUZANNE               2116 MELODY LN                                                                                           WAUKESHA         WI     53186‐2813
HILLMEYER, MICHAEL J            11388 GA HIGHWAY 127 E                                                                                   MARSHALLVILLE    GA     31057‐4218
HILLMUTH CERTIFIED AUTOMOTIVE   6810 OAK HALL LN                                                                                         COLUMBIA         MD     21045
HILLMUTH CERTIFIED AUTOMOTIVE   19300 WOODFIELD RD                                                                                       GAITHERSBURG     MD     20879‐4723
HILLMUTH CERTIFIED AUTOMOTIVE   12411 STATE ROUTE 108                                                                                    CLARKSVILLE      MD     21029‐1223
HILLMUTH, EDWARD A              1429 LEXINGTON DR                                                                                        VERMILION        OH     44089‐1558
HILLOCK EUGENE                  3995 JEDDO RD                                                                                            BURTCHVILLE      MI     48059‐1103
HILLOCK HANNAH ELIZABETH        HILLOCK, HANNAH ELIZABETH (6 MONTHS   900 CIRCLE 75 PKWY SE STE 850                                      ATLANTA          GA     30339‐3053
                                OLD)
HILLOCK HANNAH ELIZABETH        HILLOCK, KIMBERLY                     900 CIRCLE 75 PKWY SE STE 850                                      ATLANTA          GA     30339‐3053
HILLOCK HANNAH ELIZABETH        HILLOCK, LAWRENCE                     900 CIRCLE 75 PKWY SE STE 850                                      ATLANTA          GA     30339‐3053
HILLOCK I I, JOHN D             12027 CRAWFORD RD                                                                                        OTISVILLE        MI     48463‐9730
HILLOCK II, JOHN D              12027 CRAWFORD RD                                                                                        OTISVILLE        MI     48463‐9730
HILLOCK, ANN L                  5560 PEMBROKE AVE                                                                                        SANTA BARBARA    CA     93111‐1442
HILLOCK, DOROTHY V              10133 LAPEER RD APT 205                                                                                  DAVISON          MI     48423
HILLOCK, DOROTHY V              10133 LAPEER RD                       APT205                                                             DAVISON          MI     48423
HILLOCK, JOHN D                 9494 E MOUNT MORRIS RD                                                                                   DAVISON          MI     48423‐9371
HILLOCK, LARRY F                4286 BERWICK DR                                                                                          LAKE WALES       FL     33859‐5707
HILLOCK, LENA I                 1408 TAFT ST .                                                                                           LANSING          MI     48906‐4952
HILLOCK, LENA I                 1408 TAFT ST                                                                                             LANSING          MI     48906‐4952
HILLOCK, WILLIAM D              27440 SIX POINTS RD                                                                                      SHERIDAN         IN     46069‐9322
HILLON, THOMAS H                57395 HIDDEN TIMBERS DR                                                                                  SOUTH LYON       MI     48178‐8701
HILLON, THOMAS HOWARD           57395 HIDDEN TIMBERS DR                                                                                  SOUTH LYON       MI     48178‐8701
HILLOT ROGERS                   3351 PACIFIC AVE                                                                                         LONG BEACH       CA     90807‐4410
HILLOUS YORK                    1120 BENNINGTON PL                                                                                       FRANKLIN         KY     42134‐2457
HILLQUIST, RALPH K              6227 RIDGE DR UNIT 39                                                                                    BENZONIA         MI     49616‐9434
HILLQUIST, SHARON M             6227 RIDGE DR UNIT 39                                                                                    BENZONIA         MI     49616‐9434
HILLS BOBBY                     HILLS, BOBBY                          632 RIERSON RD                                                     MADISON          NC     27025‐8167
HILLS ENTERPRISES INC OF        6447 NILES RD                                                                                            SAINT JOSEPH     MI     49085‐9615
SOUTHWESTERN MICHIGAN
HILLS JR, JACK M                735 CASEMER RD                                                                                           LAKE ORION      MI      48360‐1316
HILLS JR, JESSE M               54200 AVENIDA HERRERA                                                                                    LA QUINTA       CA      92253‐3654
HILLS JR, RUSSELL B             3656 HAZELWOOD AVE SW                                                                                    GRAND RAPIDS    MI      49519‐3626
HILLS PHARMACY INC              33 TRAMMEL ST                                                                                            LIBERTY         KY      42539‐3165
HILLS THOMAS (625558)           BOECHLER PC                           1120 28TH AVENUE ‐ SUITE P O N                                     FARGO           ND      58107
                                                                      BOX A
HILLS, ALEXANDER                1549 MOOREFIELD AVE                                                                                      YOUNGSTOWN      OH      44515‐4509
HILLS, ALEXANDER                775 BRIDGEPORT AVE                    302                                                                STREETSBORO     OH      44241
HILLS, ANGELA K                 8081 HANDY RD                                                                                            HOWELL          MI      48855‐9329
HILLS, ANNETTE M                1755 BENJAMIN AVE NE                                                                                     GRAND RAPIDS    MI      49505‐5433
HILLS, ARTHUR                   2922 MICCOSUKEE RD APT 4D                                                                                TALLAHASSEE     FL      32308‐5516
HILLS, BERNICE                  126 CRYSTAL LAKE BOULEVARD                                                                               HAMPTON         GA      30228‐6039
HILLS, BETTY M                  208 HAYWARD AVE                                                                                          ROCHESTER       NY      14609‐6118
HILLS, BOBBY                    632 RIERSON RD                                                                                           MADISON         NC      27025‐8167
HILLS, CARLTON                  1711 GINGER WAY                                                                                          SPRING HILL     TN      37174‐8298
HILLS, CHARLES E                1647 TOMLINSON RD                                                                                        MASON           MI      48854‐9257
HILLS, CHARLES W                1093 SHELTER BRANCH RD                                                                                   CUMBERLAND      TN      37051‐4403
                                                                                                                                         FURNACE
HILLS, CYNTHIA T                6175 OAKHURST                                                                                            AKRON            MI     48701
HILLS, DAVID A                  370 BAYSHORE DR                                                                                          CICERO           IN     46034‐9476
HILLS, DAVID L                  4996 MOHAWK AVE                                                                                          CLARKSTON        MI     48348‐3325
HILLS, DAVID W                  2408 N THOMAS RD                                                                                         FAIRGROVE        MI     48733‐9500
HILLS, DAVIT                    1702 ABE ST                                                                                              SHREVEPORT       LA     71108‐3402
HILLS, DONALD L                 126 CRYSTAL LAKE BLVD                                                                                    HAMPTON          GA     30228‐6039
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Name                                Address1                             Address2                           Address3                  Address4                 City              State   Zip
HILLS, ELLA R                       5564 THREE MILE DR                                                                                                         DETROIT            MI     48224‐2625
HILLS, ELZENIA                      452 LORA AVE                                                                                                               YOUNGSTOWN         OH     44504‐1547
HILLS, EZRA                         2332 BUDD ST                                                                                                               MODESTO            CA     95350‐2505
HILLS, FREDRICK A                   518 KEARNEY ST                                                                                                             PORTLAND           MI     48875‐1556
HILLS, GEORGE W                     21621 E 12 MILE RD                                                                                                         ST CLAIR SHRS      MI     48081‐1236
HILLS, GLENN F                      W152N7837 COUNTRYSIDE DR                                                                                                   MENOMONEE FALLS    WI     53051‐4281

HILLS, HELEN M                      370 BAYSHORE DR                                                                                                            CICERO             IN     46034‐9476
HILLS, JACK L                       6175 OAKHURST PARK DR                                                                                                      AKRON              MI     48701‐9754
HILLS, JAMES E                      PO BOX 327                                                                                                                 BIG BAY            MI     49808‐0327
HILLS, JANET R                      11181 STEPHAN BRIDGE RD                                                                                                    ROSCOMMON          MI     48653‐8429
HILLS, JANETTE M                    12114 N JARREN CANYON WAY                                                                                                  ORO VALLEY         AZ     85755‐1618
HILLS, JAY D                        3916 GREGORY RD                                                                                                            LAKE ORION         MI     48359‐2023
HILLS, LA VERNE                     WEST 152 NORTH 7837 COUNTRYSIDE                                                                                            MENOMONEE FALLS    WI     53051
                                    DRIVE
HILLS, MARK A                       2663 CENTRAL AVE SW                                                                                                        WYOMING            MI     49519‐2376
HILLS, MARK ALLEN                   2663 CENTRAL AVE SW                                                                                                        WYOMING            MI     49519‐2376
HILLS, MAYNARD R                    14523 E V AVE                                                                                                              FULTON             MI     49052‐9717
HILLS, MICHELLE                     3708 BAYVIEW DR                                                                                                            LANSING            MI     48911‐2038
HILLS, NANCY B                      18 PINNACLE WAY                                                                                                            PLATTSBURGH        NY     12901‐6276
HILLS, NORMAN R                     516‐3955 THIRTEENTH ST                                                                            WINDSOR ON CANADA N9H‐
                                                                                                                                      2S7
HILLS, RICHARD D                    4110 N EXPRESSWAY 77 UNIT 7300                                                                                             HARLINGEN         TX      78550‐3546
HILLS, ROBERT A                     876 CHICKASAW DR                                                                                                           MASON             MI      48854‐9610
HILLS, ROSE                         37630 BIMINI DR                                                                                                            ZEPHYRHILLS       FL      33541‐6828
HILLS, RUTH A                       402 ROMBAUER AVE                                                                                                           NOVINGER          MO      63559‐2478
HILLS, THOMAS                       BOECHLER PC                          1120 28TH AVENUE NORTH ‐ SUITE A                                                      FARGO             ND      58107
                                                                         P O BOX 1932
HILLS, WILLARD                      BOONE ALEXANDRA                      205 LINDA DR                                                                          DAINGERFIELD      TX      75638‐2107
HILLS, WILLIAM J                    PO BOX 252                           1966 N MAIN ST                                                                        FAIRGROVE         MI      48733‐0252
HILLSBERRY, THOMAS A                6305 NBU                                                                                                                   PRAGUE            OK      74864‐2523
HILLSBORO SCHOOL DISTRICT                                                  1220 SW WALNUT ST                                                                                     OR      97123
HILLSBORO TRANSPORTATION CO         6256 US HIGHWAY 50                                                                                                         HILLSBORO         OH      45133‐9102
HILLSBOROUGH COMMUNITY COLLEGE      PO BOX 31127                                                                                                               TAMPA             FL      33631‐3127
HILLSBOROUGH COUNTY                 PO BOX 172920                          TAX COLLECTOR                                                                       TAMPA             FL      33672‐0920
HILLSBOROUGH COUNTY                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 172920                    TAX COLLECTOR                                      TAMPA             FL      33672‐0920

HILLSBOROUGH COUNTY FLEET           410 S 78TH ST                                                                                                              TAMPA              FL     33619‐4223
MANAGEMENT DEPARTMENT
HILLSBOROUGH COUNTY TAX COLLECTOR   PO BOX 172920                                                                                                              TAMPA              FL     33672‐0920

HILLSDALE AUTOMOTIVE LLC            1799 GOVER PKWY                                                                                                            MOUNT PLEASANT     MI     48858‐8140
HILLSDALE AUTOMOTIVE LLC            1250 SOLUTIONS CTR                                                                                                         CHICAGO            IL     60677‐1002
HILLSDALE AUTOMOTIVE LLC            1867 CASS HARTMAN CT                                                                                                       TRAVERSE CITY      MI     49684‐9154
HILLSDALE AUTOMOTIVE LLC            GLEN DESJARDINS                      1867 CASS HARTMAN CT                                                                  SULLIVAN           IN     47882
HILLSDALE CNTY FRIEND OF COURT      ACCT OF THOMAS E BERRY               15 CARE DR                                                                            HILLSDALE          MI     49242‐5039
HILLSDALE COLLEGE                   BUSINESS OFFICE                      33 E COLLEGE ST                                                                       HILLSDALE          MI     49242‐1205
HILLSDALE COUNTY FRIEND OF CT       ACCT OF MICHAEL REDDICK              15 CARE DR                                                                            HILLSDALE          MI     49242‐5039
HILLSDALE TOOL & MFG CO             DEBTOR IN POSSESSION                 2424 JOHN DALY ST                                                                     INKSTER            MI     48141‐2411
HILLSDALE TOOL & MFG, CO.           GLENN DESJARDINS                     1799 GOVER PKWY                    HILLSDALE DIV OF EAGLE‐                            MOUNT PLEASANT     MI     48858‐8140
                                                                                                            PICHER
HILLSDALE TOOL & MFG, CO.           GLENN DESJARDINS                     HILLSDALE DIV OF EAGLE‐PICHER      1799 GOVER PARKWAY                                 BRIGHTON          MI      48116
HILLSDALE TOOL/HLSDL                2424 JOHN DALY ST                                                                                                          INKSTER           MI      48141‐2411
HILLSIDE AUTO                       400 CHURCH ST                                                                                                              O FALLON          MO      63366‐2817
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HILLSIDE AUTO REPAIR                  583 BROADWAY                                                                                        SOMERVILLE        MA     02145‐2561
HILLSIDE AUTOMOTIVE                   24467 HAWTHORNE BLVD                                                                                TORRANCE          CA     90505‐6506
HILLSMAN, CALLIE                      547 S EUCLID AVENUE                                                                                 DAYTON            OH     45407‐3106
HILLSMAN, DEBORAH A                   20120 GODDARD ST                                                                                    DETROIT           MI     48234‐1345
HILLSMAN, LOIS                        205 CARLISLE AVE                                                                                    YARDVILLE         NJ     08620‐1211
HILLSMAN, MONIQUE D                   17828 ROAD 8                                                                                        CECIL             OH     45821‐9520
HILLSMAN, VELICITA                    325 SELLARS DR                                                                                      DYERSBURG         TN     38024
HILLSMAN, VELICITA                    325 SELLERS DR                                                                                      DYERSBURG         TN     38024
HILLSMON, JOHN H                      2040 STANTON RD APT G11                                                                             EAST POINT        GA     30344‐1364
HILLSON, LARRY C                      3930 WILLOWSPRINGS DR                                                                               RENO              NV     89519‐2160
HILLSON, SYLVIA L                     600 TURNEY RD APT 106                                                                               BEDFORD           OH     44146
HILLSTROM, TIMOTHY L                  947 ANDOVER DR                                                                                      GREENWOOD         IN     46142‐9789
HILLTOP AUTOMOTIVE                    15807 STATE ROUTE 9 SE                                                                              SNOHOMISH         WA     98296‐8757
HILLTOP AUTOMOTIVE                    28732 HIGHRIDGE RD                                                                                  ROLLING HILLS     CA     90274‐4858
                                                                                                                                          ESTATES
HILLTOP BUICK‐PONTIAC‐GMC, INC        LEONARD NOMURA                   3230 AUTO PLZ                                                      RICHMOND         CA      94806‐1932
HILLTOP BUICK‐PONTIAC‐GMC, INC        3230 AUTO PLZ                                                                                       RICHMOND         CA      94806‐1932
HILLTOP TIRE & AUTOMOTIVE             1610 RIO RANCHO DR SE                                                                               RIO RANCHO       NM      87124‐1092
HILLVIEW CO LIMITED PARTNERSHIP       540 GLENMOOR                                                                                        EAST LANSING     MI      48823
HILLVIEW MEMORIAL PARK INC ATT FRED   PO BOX 285                                                                                          ALEXANDER CITY   AL      35011
GEOR
HILLVIEW MEMORIAL PARK INC ATT FRED   PO BOX 285                                                                                          ALEXANDER CITY    AL     35011
GEORGE
HILLYARD FRANK (445245)               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD       OH      44067
                                                                       PROFESSIONAL BLDG
HILLYARD, ANNA M                      811 S MAIN ST                                                                                       COULTERVILLE     IL      62237‐1528
HILLYARD, DAVID E                     1610 REYNOLDS RD LOT 340                                                                            LAKELAND         FL      33801‐6969
HILLYARD, FAX L                       740 THORNWOOD ST                                                                                    ELYRIA           OH      44035‐1618
HILLYARD, FRANK                       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD       OH      44067
                                                                       PROFESSIONAL BLDG
HILLYARD, LARRY G                     2009 NW 5TH ST                                                                                      BLUE SPRINGS     MO      64014‐1609
HILLYARD, NORMAN D                    35 TROUPE ST                                                                                        BUFFALO          NY      14210‐1635
HILLYARD, SAMUEL L                    155 OAK KNOLL AVE NE             C/O KAREN H BLAZEK                                                 WARREN           OH      44483‐5418
HILLYARD, VELDA K                     10907 WELLINGTON CT              C/O RONALD HILLYARD                                                PLYMOUTH         MI      48170‐3454
HILLYER BASIL L SR (439136)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA      23510
                                                                       STREET, SUITE 600
HILLYER SMITH                         PO BOX 695                                                                                          SOCIAL CIRCLE    GA      30025‐0695
HILLYER, ADDA E                       4139 ASHGROVE DR                                                                                    GROVE CITY       OH      43123‐3377
HILLYER, BASIL L                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA      23510‐2212
                                                                       STREET, SUITE 600
HILLYER, GLEN J                       1326 HILLCREST ST                                                                                   LANSING          MI      48910‐4316
HILLYER, MICHAEL                      2500 LYONS AVE                                                                                      LANSING          MI      48910‐3354
HILLYER, ROBERT C                     PO BOX 337                                                                                          CHAUNCEY         OH      45719‐0337
HILLYER, ROBERT C                     SYCAMORE ST                      BOX 337                                                            CHAUNCEY         OH      45719‐0337
HILMA SHALTZ                          1056 WEST POE ROAD                                                                                  BOWLING GREEN    OH      43402‐1295
HILMAR DEHNER                         WURZERSTR 97                                                                53175 BONN GERMANY
HILMER L BYNUM                        445 BERRY LOTT RD                                                                                   MAGEE            MS      39111
HILMES, GERALD M                      804 COMMONS DR                                                                                      MILFORD          OH      45150‐1924
HILNA MOTOR SERVICE                                                    2050 STILLWELL AVE                                                                  NY      11223
HILNER, ALLEN L                       50 CHAPEL LN                                                                                        MANY             LA      71449‐5770
HILNER, DANIEL L                      1798 POST OAK ROAD                                                                                  KEITHVILLE       LA      71047‐8503
HILNER, DONALD H                      PO BOX 56                        1797 KENT RD                                                       KENT             NY      14477‐0056
HILOBUK, MICHAEL                      12700 RABY RD                                                                                       GRASS LAKE       MI      49240‐9727
HILON BRUNETT                         2074 E COGGINS RD                                                                                   PINCONNING       MI      48650‐9757
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HILORY EARLEY             31017 ROYCROFT ST                                                                                 LIVONIA          MI     48154‐6204
HILOWITZ FRED             12310 COPPER MOUNTAIN BLVD                                                                        CHARLOTTE        NC     28277‐2986
HILPISCH, STEVEN J        7787 WOODEN SHOE CIR                                                                              AVON             IN     46123‐4683
HILREY
HILREY D ENTREKIN         2890 FOSHEE ROAD                                                                                  BREWTON         AL      36426‐‐ 71
HILREY ENTREKIN           2890 FOSHEE RD                                                                                    BREWTON         AL      36426‐7123
HILSABECK ORLEY           5457 N SEYMOUR RD                                                                                 FLUSHING        MI      48433‐1003
HILSABECK, DALE E         607 HENRY CT                                                                                      FLUSHING        MI      48433‐1591
HILSABECK, DALE EUGENE    607 HENRY CT                                                                                      FLUSHING        MI      48433‐1591
HILSABECK, ELWYN W        2173 S CENTER RD APT 151                                                                          BURTON          MI      48519‐1804
HILSABECK, LARRY W        6356 SQUIRE LAKE DR                                                                               FLUSHING        MI      48433‐2381
HILSABECK, ORLEY B        5457 N SEYMOUR RD                                                                                 FLUSHING        MI      48433‐1003
HILSENBECK, JOHN K        270 E DEAN RD                                                                                     TEMPERANCE      MI      48182‐9518
HILSENBECK, LINDA JOYCE   3964 SUMMERFIELD RD                                                                               PETERSBURG      MI      49270‐9707
HILSENBECK, RICHARD J     2231 GEIGER RD                                                                                    IDA             MI      48140‐9761
HILSIA VEGA‐SOTO          102 COMSTOCK STREET                                                                               NEW BRUNSWICK   NJ      08901
HILSINGER, FERN           45 STROHM STREET                                                                                  ROCHESTER       NY      14612‐4821
HILSINGER, FERN           45 STROHM ST                                                                                      ROCHESTER       NY      14612‐4821
HILSINGER, GERALDINE R    8 ELLINGTON CIRCLE                                                                                ROCHESTER       NY      14612‐4612
HILSINGER, RICHARD B      8 ELLINGTON CIRCLE                                                                                ROCHESTER       NY      14612‐3077
HILSOFT INC               10300 SW ALLEN BLVD                                                                               BEAVERTON       PA      97005
HILSOFT INC               DEPT 266                        PO BOX 120266                                                     DALLAS          TX      75312‐0001
HILSON HARRY (445246)     BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH      44067
                                                          PROFESSIONAL BLDG
HILSON JR, OTHA           918 CUDDY AVE                                                                                     YOUNGSTOWN      OH      44505‐3303
HILSON JR, SEABORN E      16610 PRIEBE AVE                                                                                  CLEVELAND       OH      44128‐3834
HILSON JR, SEABORN E      6218 BRIDGE RD                                                                                    MONONA          WI      53716‐3466
HILSON, ANNA L            303 OSPREY CIR                                                                                    SAINT MARYS     GA      31558‐4143
HILSON, AUGUSTUS          401 2ND AVE                                                                                       THREE RIVERS    MI      49093‐1105
HILSON, GEORGE            3219 LIVINGSTON RD                                                                                CLEVELAND       OH      44120‐3242
HILSON, HARRY             BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD      OH      44067
                                                          PROFESSIONAL BLDG
HILSON, KAREN A           PO BOX 6766                                                                                       YOUNGSTOWN      OH      44501‐6766
HILSON, LORAN E           1738 HOLYOKE AVE                                                                                  E CLEVELAND     OH      44112‐2130
HILSON, MARK D            19143 CONLEY ST                                                                                   DETROIT         MI      48234‐2247
HILSON, MARK D            26168 RYAN RD APT 203                                                                             WARREN          MI      48091‐1158
HILSS, PETER J            39113 BYERS DR                                                                                    STERLING HTS    MI      48310‐2611
HILSTON, BEVERLY A        200 ORCHARD ST                                                                                    BEAVER          PA      15009‐2547
HILSTON, EUGENE B         3779 RAVENWOOD DR SE                                                                              WARREN          OH      44484‐3754
HILSTON, GWEN I           3779 RAVENWOOD DR SE                                                                              WARREN          OH      44484
HILSTON, WILLIAM W        4885 REDWOOD DRIVE                                                                                SHEFFIELD LK    OH      44054‐1540
HILT, CHARLES E           PO BOX 9929                                                                                       BULLHEAD CITY   AZ      86427‐9929
HILT, CHARLES E           PO BOX 9929 FORT MAJABE                                                                           BULLHEAD CITY   AZ      86426
HILT, CHARLES R           3405 OLD ANDERSON RD UNIT 109                                                                     ANTIOCH         TN      37013‐1025
HILT, CONNIE E            3419 SHILOH SPRINGS RD APT A                                                                      TROTWOOD        OH      45426‐2266
HILT, DAVID A             2403 CHAPARREL DR                                                                                 JANESVILLE      WI      53546‐3143
HILT, DAVID B             6259 N LONDON AVE APT A                                                                           KANSAS CITY     MO      64151‐5203
HILT, DAVID B             1701 W BURBANK AVE                                                                                JANESVILLE      WI      53546‐6129
HILT, EUGENE I            APT 214                         4905 FOX CREEK                                                    CLARKSTON       MI      48346‐4963
HILT, FRANK E             1230 SOMERSET CT                                                                                  JANESVILLE      WI      53546‐1609
HILT, MICHAEL R           627 N OAKHILL AVE                                                                                 JANESVILLE      WI      53548‐2714
HILT, RICHARD W           321 S PARKER DR                                                                                   JANESVILLE      WI      53545‐3917
HILT, TERRY E             7667 MARABOU MILLS WAY                                                                            INDIANAPOLIS    IN      46214‐4043
HILT, THOMAS G            N 3612 HWY G                                                                                      REESEVILLE      WI      53579
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Name                                Address1                         Address2                      Address3   Address4                 City             State   Zip
HILT, WILLIAM J                     810 N MARTIN RD                                                                                    JANESVILLE        WI     53545‐1947
HILTBRAND JR, CHARLES E             277 PICKWICK DR                                                                                    NORTHFIELD        OH     44067‐2650
HILTBRUNER, PEGGY A                 3820 SMOKEY RD                                                                                     ALABASTER         AL     35007‐5038
HILTENBRAND, KENNETH W              42 ARISTO TER                                                                                      ARCADE            NY     14009‐9204
HILTERMAN, BARBARA E                1817 PIEDMONT DR                                                                                   AUBURN            AL     36830‐2580
HILTI                               5400 S 122ND EAST AVE                                                                              TULSA             OK     74146‐6007
HILTI CANADA LIMITED
HILTI CANADA LTD                    6790 CENTURY AVE STE 300                                                  MISSISSAUGA ON L5N 2V8
                                                                                                              CANADA
HILTI CORP                          5400 S 122ND EAST AVE                                                                              TULSA            OK      74146‐6007
HILTI INC                           PO BOX 21148                     5400 S 122ND E AVE                                                TULSA            OK      74121‐1148
HILTI INC                           28190 SCHOOLCRAFT RD                                                                               LIVONIA          MI      48150‐2205
HILTI INC                           5400 S 122ND EAST AVE            PO BOX 21148                                                      TULSA            OK      74146‐6007
HILTI INC                           5404 S 122ND EAST AVE                                                                              TULSA            OK      74146‐6007
HILTIBRAN, LOWELL E                 1621 BEAVERBROOK DR                                                                                DAYTON           OH      45432‐2103
HILTNER JR, CHARLES W               2951 MILLSTOWN RD                                                                                  PARK CITY        KY      42160‐7811
HILTNER JR, CHARLES WILLIAM         2951 MILLSTOWN RD                                                                                  PARK CITY        KY      42160‐7811
HILTNER, DAVID L                    RR 18A 1456                                                                                        CONTINENTAL      OH      45831
HILTNER, JAMES S                    23480 STATE ROUTE 613                                                                              CONTINENTAL      OH      45831‐8923
HILTNER, JOSEPH C                   4518 SPRING AVE                                                                                    BALTIMORE        MD      21227‐4532
HILTNER, TAMMY M                    23480 STATE ROUTE 613                                                                              CONTINENTAL      OH      45831‐8923
HILTON , JR,DAVID C                 100 HUNTER CT                                                                                      MADISON          MS      39110‐8789
HILTON ATLANTA AIRPORT              1031 VIRGINIA AVE                                                                                  ATLANTA          GA      30354‐1319
HILTON AUTO REPAIR & TIRES          3016 ROBIN RD                                                                                      JOSHUA           TX      76058‐4444
HILTON AUTOMOTIVE                   9055 SW HIGHWAY 200                                                                                OCALA            FL      34481‐7727
HILTON BELLEVUE HOTEL               300 112TH AVE SE                                                                                   BELLEVUE         WA      98004‐6412
HILTON CHICAGO                      720 S MICHIGAN AVE                                                                                 CHICAGO          IL      60605‐3428
HILTON COLLINS                      11427 HAZELTON                                                                                     REDFORD          MI      48239‐1429
HILTON DAYTONA BEACH OCEANFRONT     100 N ATLANTIC AVE                                                                                 DAYTONA BEACH    FL      32118‐4204
RESORT
HILTON DENVER/ENGLWD                7801 E ORCHARD RD                                                                                  GREENWOOD         CO     80111‐2508
                                                                                                                                       VILLAGE
HILTON DFW LAKES EXECUTIVE          1800 STATE HIGHWAY 26                                                                              GRAPEVINE         TX     76051‐2044
CONFERENCE CENTER
HILTON DOMINGUEZ                    13700 SW 14TH ST APT D411                                                                          PEMBROKE PINES   FL      33027‐6999
HILTON ELY                          1577 W 9 MILE RD                                                                                   FERNDALE         MI      48220‐1665
HILTON EXEC/GRAPEVIN                1800 HIGHWAY 26TH EAST                                                                             GRAPEVINE        TX      76051
HILTON GARDEN INN                   189 MIDWAY AVE                                                                                     DAYTONA BEACH    FL      32114‐3815
HILTON GARDEN INN CLEVELAND         8971 WILCOX DR                                                                                     TWINSBURG        OH      44087‐1945
HILTON GARDEN INN WHITE MARSH       5015 CAMPBELL BLVD                                                                                 BALTIMORE        MD      21236‐4967
HILTON GERMANY                      5305 NW 70TH ST                                                                                    KANSAS CITY      MO      64151‐1702
HILTON GOSSELIN                     95 RUTLAND AVE                                                                                     SLOAN            NY      14212‐2335
HILTON HEAD AUTOMOTIVE LLC          C/O THOMAS FITZGERALD            PO BOX 22889                                                      HILTON HEAD      SC      29925‐2889
                                                                                                                                       ISLAND
HILTON HEAD AUTOMOTIVE, LLC         THOMAS FITZGERALD                1090 FORDING ISLAND RD                                            BLUFFTON          SC     29910‐6560
HILTON HEAD AUTOMOTIVE, LLC.        1090 FORDING ISLAND RD                                                                             BLUFFTON          SC     29910‐6560
HILTON HEAD CADILLAC                1090 FORDING ISLAND RD                                                                             BLUFFTON          SC     29910‐6560
HILTON HEAD ISLAND CONCOURS         D ELEGANCE                       800 MAIN STREET STE 200 A/B                                       HILTON HEAD       SC     29926
                                                                                                                                       ISLAND
HILTON HEAD MARRIOTT BEACH & GOLF   1 HOTEL CIR                                                                                        HILTON HEAD       SC     29928‐5146
RESORT                                                                                                                                 ISLAND
HILTON HEALTH CARE,                 279 EAST AVE                                                                                       HILTON           NY      14468‐1333
HILTON INN/WORTHINGT                7007 N HIGH ST                                                                                     WORTHINGTON      OH      43085‐2329
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Name                             Address1                       Address2                      Address3   Address4                City               State Zip
HILTON JERRY L (493845)          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA 23510
                                                                STREET, SUITE 600
HILTON JONES                     711 W LENAWEE ST                                                                                LANSING            MI   48915‐1679
HILTON JORDAN                    42 WAUMBECK ST                                                                                  DORCHESTER         MA   02121‐1210
HILTON JR, GARY A                9820 GIBSON RD                                                                                  NORTH JACKSON      OH   44451‐9743
HILTON JR, HARRY S               1515 RIDGE RD LOT 368                                                                           YPSILANTI          MI   48198‐4267
HILTON JR, MOSES                 39 MANHATTAN AVE                                                                                BUFFALO            NY   14215‐2113
HILTON LOS ANGELES               UNIVERSITY CITY                555 UNIVERSAL HOLLYWOOD DR                                       UNIVERSAL CITY     CA   91608‐1001
HILTON LOUIS                     604 ZOE CIR                                                                                     MONROE             LA   71203‐6919
HILTON LOUIS JR                  427 LAKE FIELD DR                                                                               PEARL              MS   39208‐6755
HILTON MARK (642820)             BRAYTON PURCELL                215 S STATE ST STE 900                                           SALT LAKE CITY     UT   84111‐2353
HILTON MAXWELL                   304 GOODING ST                                                                                  LOCKPORT           NY   14094‐2304
HILTON MORGAN JR (486592)        NICHOLL LAW OFFICES PETER T    36 SOUTH CHARLES ST                                              BALTIMORE          MD   21201
HILTON NATIONAL SALES            7 COLIN KELLY ST                                                                                CRANFORD           NJ   07016‐3334
HILTON NEW ORLN/LA               901 AIRLINE DR                                                                                  KENNER             LA   70062‐6922
HILTON ROYSTER                   5809 GLENN AVE                                                                                  FLINT              MI   48505‐5105
HILTON RYE TOWN                  ATTN CREDIT MANAGER            699 WESTCHESTER AVE                                              RYE BROOK          NY   10573‐2821
HILTON SAMUEL (352143)           STAGGARD RICHARD A             2029 3RD ST N                                                    JACKSONVILLE       FL   32250‐7429
HILTON SCREENERS                 210 N MAIN ST                                                                                   DAVISON            MI   48423‐1432
HILTON SEATTLE/WA                17620 INTERNATIONAL BLVD                                                                        SEATAC             WA   98188‐4001
HILTON SPENCEPORT EXPRESS        PO BOX 55                                                                                       KENDALL            NY   14476‐0055
HILTON SR, ZANDALOW A            11778 N WYMAN RD                                                                                BLANCHARD          MI   49310‐9308
HILTON ST PETERSBURGH BAYFRONT   333 1ST ST S                                                                                    SAINT PETERSBURG   FL   33701‐4342

HILTON SUITE/ROMULUS             8600 WICKHAM RD                                                                                 ROMULUS            MI   48174‐1921
HILTON SUITES                    8500 WARDEN AVE                                                         MARKHAM CANADA ON L6G
                                                                                                         1A5 CANADA
HILTON SUITES/BRNTWD             9000 OVERLOOK BLVD                                                                              BRENTWOOD          TN   37027‐5242
HILTON TROUT                     334998 E 970 RD                                                                                 WELLSTON           OK   74881‐6113
HILTON YARBROUGH                 6214 ELRO ST                                                                                    BURTON             MI   48509‐2444
HILTON, ALAN                     9284 HAIGHT RD                                                                                  BARKER             NY   14012‐9632
HILTON, ALOHA F                  11904 FOUNTAINVIEW                                                                              ROMEO              MI   48065‐3839
HILTON, ASHLEY A                 4152 MEADOWBROOK DR                                                                             FREELAND           MI   48623‐8840
HILTON, ASHLEY A.                4152 MEADOWBROOK DR                                                                             FREELAND           MI   48623‐8840
HILTON, BRETT C                  5816 HIGHWAY 143                                                                                STERLINGTON        LA   71280‐2934
HILTON, CALEB B                  394 TILMOR DR                                                                                   WATERFORD          MI   48328‐2564
HILTON, CHARLES D                8636 W 750 S ‐ 90                                                                               WARREN             IN   46792
HILTON, DONALD K                 5489 BROBECK ST                                                                                 FLINT              MI   48532‐4005
HILTON, DONALD KAYE              5489 BROBECK ST                                                                                 FLINT              MI   48532‐4005
HILTON, EDNA F                   253 EATON AVENUE                                                                                EATON              OH   45320‐1027
HILTON, EDNA F                   253 EATON AVE                                                                                   EATON              OH   45320‐1027
HILTON, EDWARD T                 1308 BEATTY AVE                                                                                 BALTIMORE          MD   21237‐1344
HILTON, FRANCIS B                490 MAINVIEW CT                                                                                 GLEN BURNIE        MD   21061‐6119
HILTON, GAIL F                   5207 E COUNTY ROAD 200 S                                                                        AVON               IN   46123‐8819
HILTON, GARRY LEE                2511 HEARTHSIDE DR                                                                              YPSILANTI          MI   48198‐9287
HILTON, GLENN H                  77 GRAHAM RD                                                                                    GLASGOW            KY   42141‐8749
HILTON, HARRY E                  2300 E.RAHN ROAD                                                                                DAYTON             OH   45440‐2514
HILTON, HARRY E                  2300 E RAHN RD                                                                                  DAYTON             OH   45440‐2514
HILTON, HOWARD E                 640 E OLD HIGHWAY 53           PO BOX 704                                                       CELINA             TN   38551
HILTON, JAMES                    9155 CLUB HOUSE DR E                                                                            STANWOOD           MI   49346‐9675
HILTON, JAMES A                  9239 ROSEBUD CIR                                                                                PORT CHARLOTTE     FL   33981‐3208
HILTON, JEFFREY L                21106 CIMARRON PKWY                                                                             KATY               TX   77450
HILTON, JENNIFER                 1801 WAYNE LANTER DRIVE                                                                         MADISON            IL   62060
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Name                   Address1                        Address2                      Address3   Address4               City             State Zip
HILTON, JERRY L        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510‐2212
                                                       STREET, SUITE 600
HILTON, JESSIE A       5816 HIGHWAY 143                                                                                STERLINGTON      LA   71280‐2934
HILTON, JOHN L         17434 FLINT ST                                                                                  MELVINDALE       MI   48122‐1236
HILTON, JOHN P         5011 W DEWEY RD                                                                                 OWOSSO           MI   48867‐9169
HILTON, JOHN P         808 E MORTIMER ST                                                                               NEW FLORENCE     MO   63363‐1105
HILTON, JUNE HYLER     1305 ST MARIA CT                                                                                ARLINGTON        TX   76013‐2346
HILTON, L V
HILTON, LEOLA T        31 PINE LAKE RD                                                                                 TIFTON           GA   31793‐5504
HILTON, LEROY          1035 W CAMBRIA ST                                                                               PHILADELPHIA     PA   19133‐1722
HILTON, LINDA B        567 OAK ISLAND CIR                                                                              PLANT CITY       FL   33565‐8764
HILTON, LINDA D        1710 CORBET ST                                                                                  WALNUT RIDGE     AR   72476‐3619
HILTON, LOWELL P       2368 DURHAM DR                                                                                  SAGINAW          MI   48609‐9233
HILTON, MARK           BRAYTON PURCELL                 215 S STATE ST STE 900                                          SALT LAKE CITY   UT   84111‐2353
HILTON, MARTA L        282 LITTLETON ST APT 224                                                                        W LAFAYETTE      IN   47906‐3238
HILTON, MELBA L        48 W COBBLESTONE CT                                                                             FLORENCE         KY   41042‐9315
HILTON, MIANA A        4028 HAMILTON CIR APT 185                                                                       ARLINGTON        TX   76013‐5647
HILTON, MIANA A.       4028 HAMILTON CIR APT 185                                                                       ARLINGTON        TX   76013‐5647
HILTON, MILDRED        1035 W CAMBRIA ST                                                                               PHILADELPHIA     PA   19133‐1722
HILTON, MINERVA J      1814 SHADY DR.                                                                                  FARRELL          PA   16121‐6121
HILTON, MINERVA J      117 EMERSON AVE.                                                                                WHEATLAND        PA   16161
HILTON, MORGAN         NICHOLL LAW OFFICES PETER T     36 SOUTH CHARLES ST                                             BALTIMORE        MD   21201
HILTON, NORMA M        9239 ROSEBUD CIR                                                                                PORT CHARLOTTE   FL   33981‐3208
HILTON, PAMELA J       22445 21 MILE RD                                                                                MACOMB           MI   48044‐3002
HILTON, PATRICIA A     PO BOX 45                       28 GREEN MEADOW DRIVE                                           PERRY PARK       KY   40363
HILTON, PEGGY L        5141 MEADOWHILL TRAIL                                                                           GRAND BLANC      MI   48439‐8339
HILTON, RALPH L        47 HUNTING RIDGE RD                                                                             NEWARK           DE   19702‐3718
HILTON, RAMON P        40 HAWKINS HWY                                                                                  BROOKLYN         MI   49230
HILTON, RANDY C        5207 E COUNTY ROAD 200 S                                                                        AVON             IN   46123‐8819
HILTON, ROBERT E       332A OCEAN BLVD                                                                                 LONG BRANCH      NJ   07740
HILTON, ROBERT W       3221 BREEZY WAY                                                                                 ZEPHYRHILLS      FL   33541‐6808
HILTON, ROBERT W       48283 MEADOW OAK TRL                                                                            MATTAWAN         MI   49071‐8614
HILTON, RONALD L       2910 CULLEOKA HWY                                                                               CULLEOKA         TN   38451‐2752
HILTON, ROSE H         2183 OLD BRANDON RD LOT 4                                                                       PEARL            MS   39208‐4541
HILTON, RUDY D         32 HAWKINS HWY                                                                                  BROOKLYN         MI   49230
HILTON, SAMUEL         STAGGARD RICHARD A              2029 3RD ST N                                                   JACKSONVILLE     FL   32250‐7429
HILTON, SARAH J        104 E WALKER DR                                                                                 HARRISONVILLE    MO   64701‐3490
HILTON, STEVEN M       5801 W GRANT LINE RD                                                                            TRACY            CA   95304‐8811
HILTON, TERRY L        5191 BENSETT TRL                                                                                DAVISON          MI   48423‐8727
HILTON, THOMAS J       8248 N ELMS RD                                                                                  FLUSHING         MI   48433‐8815
HILTON, THOMAS S       9355 SAINT CATHERINE AVE                                                                        ENGLEWOOD        FL   34224‐8412
HILTON, TOBY
HILTON, VADITH O       295 CLEARVIEW STREET                                                                            GRAY             TN   37615
HILTON, VICTOR L       319 MELBOURN DR                                                                                 HAINES CITY      FL   33844‐6255
HILTON, VIOLET T       3433 SHAMPO DRIVE                                                                               WARREN           MI   48092‐3320
HILTON, WILBUR G       9379 LYLE MEADOW LN                                                                             CLIO             MI   48420‐9731
HILTON, WILLARD J      2362 ROSS ST                                                                                    GRAND BLANC      MI   48439‐4343
HILTON/DANA POINT      34402 PACIFIC COAST HWY                                                                         DANA POINT       CA   92624‐1211
HILTON/FT LAUDERDALE   1870 GRIFFIN RD                                                                                 DANIA            FL   33004‐2214
HILTON/LOS ANGELES     150 S LOS ROBLES AVE DEPT 636                                                                   LOS ANGELES      CA   90084‐0001
HILTON/NOVI            21111 HAGGERTY RD                                                                               NOVI             MI   48375‐5305
HILTON/OSHKOSH         1 N MAIN ST                                                                                     OSHKOSH          WI   54901‐4810
HILTON/PASADENA        150 SOUTH LOS RABLES AVENUE                                                                     PASADENA         CA   91101
HILTON/PHOENIX         2435 S 47TH ST                                                                                  PHOENIX          AZ   85034‐6410
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Name                        Address1                          Address2                 Address3    Address4                 City              State Zip
HILTON/SEATTLE              1301 6TH AVE                                                                                    SEATTLE            WA 98101‐2304
HILTRUD LENHART             26117 NW COUNTY ROAD 167                                                                        FOUNTAIN           FL 32438‐6013
HILTRUD REGGE               ADOLF‐KOLPING‐STR 33                                                   D‐31139 HILDESHEIM
                                                                                                   GERMANY
HILTRUD REGGE               ADOLF‐KOLPING‐STR.33              31139 HILDESHEIM
HILTRUD UND JOACHIM REGGE   ADOLF‐KOLPING‐STR.33
HILTRUD, JOACHIM REGGE      ADOLF‐KOLPING‐STR 33                                                   D‐31139 HILDESHEIM
                                                                                                   GERMANY
HILTS I I, JAMES D          PO BOX 480                                                                                      LILLIAN           TX   76061‐0480
HILTS II, JAMES DEWITT      PO BOX 480                                                                                      LILLIAN           TX   76061‐0480
HILTS, ALAN L               11376 GABRIEL ST                                                                                ROMULUS           MI   48174‐1431
HILTS, ALBERT S             2942 E DAVID RD                                                                                 MIDLAND           MI   48640
HILTS, BRIAN C              1768 WHITE CLIFF DR                                                                             HOWELL            MI   48843‐8185
HILTS, CARL J               1208 GORE DR                                                                                    HARSENS IS        MI   48028‐9713
HILTS, CHRISTOPHER S        3614 VASSAR ST                                                                                  DEARBORN          MI   48124‐3573
HILTS, CLEO V               6126 FALKENBURY RD                                                                              NORTH BRANCH      MI   48461‐9658
HILTS, DONALD E             9699 PORTER RD                                                                                  NIAGARA FALLS     NY   14304‐1649
HILTS, ETHEL J              14119 TUSCOLA RD                                                                                CLIO              MI   48420‐8848
HILTS, GARY L               4312 RIDGEMOOR DR                                                                               TRAVERSE CITY     MI   49684‐8601
HILTS, JAMES M              1610 BRALEY RD                                                                                  YOUNGSTOWN        NY   14174‐9733
HILTS, PHYLLIS K            1114 LAKESHORE DR.                                                                              COLUMBIAVILLE     MI   48421‐9770
HILTS, SHIRLEY D            3358 ELLIS PARK DR                                                                              BURTON            MI   48519‐1414
HILTUNEN, HELEN R           23386 COUNTY 109                                                                                MENAHGA           MN   56464‐2822
HILTUNEN, MIRIAM J          1000 BLUFF VIEW DR APT 107                                                                      HOUGHTON          MI   49931‐2725
HILTUNEN, WILMA H           N86W17837 MAIN ST                                                                               MENOMONEE FALLS   WI   53051‐2645

HILTY, JOHN C               1222 EDMON RD                                                                                   APOLLO            PA   15613‐8951
HILTY, MARK D               766 PARK AVE E                                                                                  MANSFIELD         OH   44905‐2860
HILTY, MICAH N              766 PARK AVE E                                                                                  MANSFIELD         OH   44905‐2860
HILTY, ROSARIO M            596 LAURELWOOD DR SE                                                                            WARREN            OH   44484‐2417
HILTZ JR, FERDINAND         16485 EASTBURN ST                                                                               DETROIT           MI   48205‐1528
HILTZ, ARLENE V             14710 HOLLY CT                                                                                  SHELBY TOWNSHIP   MI   48315‐4341
HILTZ, ARNOLD L             2773 WATCHHILL DR                                                                               LAPEER            MI   48446‐8793
HILTZ, BOB E                1645 N OSPREY CIR                                                                               SANFORD           MI   48657‐9237
HILTZ, BRUCE H              6400 46 AVE N.                    36                                                            KENNETH CITY      FL   33709
HILTZ, BRUCE H              6400 46TH AVE N APT 36                                                                          KENNETH CITY      FL   33709‐3153
HILTZ, BRUCE H              APT 36                            6400 46TH AVENUE NORTH                                        KENNETH CITY      FL   33709‐3153
HILTZ, BUD W                1062 E BUCKHORN CIR                                                                             SANFORD           MI   48657‐9238
HILTZ, DARREL L             7085 ROOT ST                                                                                    MOUNT MORRIS      MI   48458‐9411
HILTZ, DEBORAH L            4720 KOCHVILLE RD                                                                               SAGINAW           MI   48604‐9237
HILTZ, DONNA J              2120 RIFLE RIVER TR.                                                                            WEST BRANCH       MI   48661‐9711
HILTZ, FRANK J              48331 SAND CASTLE CT                                                                            SHELBY TOWNSHIP   MI   48315‐4315
HILTZ, GARY M               11619 STEVEN DR                                                                                 STERLING HTS      MI   48312‐3057
HILTZ, GARY W               8348 VASSAR RD                                                                                  MILLINGTON        MI   48746‐9401
HILTZ, GARY WAYNE           8348 VASSAR RD                                                                                  MILLINGTON        MI   48746‐9401
HILTZ, GERTRUDE M           1078 DOWNEY AVE                                                                                 FLINT             MI   48505‐1602
HILTZ, IRA P                528 N SAGE LAKE RD                                                                              HALE              MI   48739‐9401
HILTZ, PETER F              2292 ELKHORN COURT                                                                              SAN JOSE          CA   95125‐4734
HILTZ, PETER F              2292 ELKHORN CT                                                                                 SAN JOSE          CA   95125‐4734
HILTZ, RANDY W              PO BOX 177                                                                                      OTISVILLE         MI   48463‐0177
HILTZ, RANDY WILLIAM        PO BOX 177                                                                                      OTISVILLE         MI   48463‐0177
HILTZ, RUSSELL C            1501 E NORWAY LAKE RD                                                                           LAPEER            MI   48446‐8750
HILTZ, RUSSELL CHARLES      1501 E NORWAY LAKE RD                                                                           LAPEER            MI   48446‐8750
HILTZ, RUSSELL E            721 ACADEMY RD                                                                                  HOLLY             MI   48442‐1543
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Name                        Address1                         Address2                     Address3   Address4                 City              State   Zip
HILTZ, SAMSON R             4720 KOCHVILLE RD                                                                                 SAGINAW            MI     48604‐9237
HILTZ, STEVEN R             455 COLONIAL DR APT 1                                                                             IMLAY CITY         MI     48444‐1444
HILVERS, ALAN               26269 ROAD Q26                                                                                    FORT JENNINGS      OH     45844‐8823
HILVERS, KURT T             18070 RD. 23‐Q                                                                                    FT JENNINGS        OH     45844
HILVERS, MAUD A             404 HENRY CT                                                                                      FLUSHING           MI     48433‐1589
HILVERS, PHILIP M           PO BOX 293                                                                                        OTTOVILLE          OH     45876‐0293
HILVERS, RICHARD G          25664 ROAD R                                                                                      FORT JENNINGS      OH     45844‐9596
HILVERS, THOMAS S           26618 ROAD R                                                                                      FORT JENNINGS      OH     45844‐8826
HILVERT, WILLIAM T          8921 WINGED THISTLE CT                                                                            RALEIGH            NC     27617‐7442
HILWIG JR, KENNETH H        4726 UPPER MOUNTAIN RD                                                                            LOCKPORT           NY     14094‐9606
HILWIG, SHARON E            4726 UPPER MOUNTAIN RD                                                                            LOCKPORT           NY     14094‐9606
HILYARD, GEORGE C           833 ELSWORTH PL                                                                                   SAINT LOUIS        MO     63135‐3127
HILYARD, JARRETT P          6073 RICHMOND DR                                                                                  HILLSBORO          MO     63050‐5112
HILZER, LARRY W             313 CATTAIL CREEK DR                                                                              KERRVILLE          TX     78028‐7739
HILZEY‐HUMPHREY, LAURIE J   5510 YODER RD                                                                                     YODER              IN     46798‐9705
HIM LEE                     G.P.O. BOX 755                                                                                    HONG KONG
HIM LEE                     GPO BOX 755                                                              HONG KONG CHINA
HIM‐JA STILL                JA STILL CORPORATION             4390 S COTTONWOOD LN                                             BOLIVAR           MO      65613‐7400
HIMANGO ANNETTE             1687 JARVI RD                                                                                     CLOQUET           MN      55720‐9735
HIMANSHU MEHTA              2898 RENFREW ST                                                                                   ANN ARBOR         MI      48105‐1454
HIMARK/BURLINGTON           2349 FAIRVIEW STREET                                                     BURLINGTON ON L7R 2E3
                                                                                                     CANADA
HIMAY PATEL
HIMBURG, MICHAEL L          6267 HALLENBECK HWY                                                                               MANITOU BEACH     MI      49253‐9400
HIME, DARRELL B             1205 E 2114TH RD                                                                                  EUDORA            KS      66025‐9196
HIME, DEBORAH L             14742 HICKORY DR                                                                                  BONNER SPRINGS    KS      66012‐9382
HIME, DORMA LEA             2889 HIGH MEADOWS DR                                                                              HOWELL            MI      48843
HIME, ELEANORE J            15500 DEVONSHIRE RR1                                                                              PINCKNEY          MI      48169‐9720
HIME, JEFFREY J             4897 VINES RD                                                                                     HOWELL            MI      48843‐9513
HIME, JOE N                 930 S 6TH AVE                                                                                     LA GRANGE         IL      60525‐2965
HIME, KAREN J               902 CHAR DON AVE                                                                                  RAYMORE           MO      64083‐9480
HIME, SHARENA GAIL          VALDINI & PALMER                 5353 N FEDERAL HWY STE 303                                       FORT LAUDERDALE   FL      33308‐3236
HIMEBAUGH, DORIS M          4766 W WALTON RD                                                                                  MT PLEASANT       MI      48858‐7524
HIMEBAUGH, JAMES H          5804 S COUNTY LINE RD                                                                             DURAND            MI      48429‐9409
HIMEBAUGH, JAMES H          5804 COUNTY LINE RD                                                                               DURAND            MI      48429‐9409
HIMEBAUGH, JAMES R          7528 N STATE ROAD 135                                                                             MORGANTOWN        IN      46160‐8988
HIMEBAUGH, KENNETH F        15786 CLARION CT                                                                                  MACOMB            MI      48042‐5701
HIMEBAUGH, PHYLLIS J        1618 LORAINE AVE                                                                                  LANSING           MI      48910‐2582
HIMELICK, LARRY A           PO BOX 1931                                                                                       NASHVILLE         IN      47448‐1931
HIMELICK, RICHARD L         2785 BRIDGESTONE CIR                                                                              KOKOMO            IN      46902‐7009
HIMES JR, WILLIAM J         2591 LAKE DOUGLAS RD                                                                              BAINBRIDGE        GA      39819‐7862
HIMES, CAROL S              420 ERNIE LU AVE                                                                                  ANDERSON          IN      46013‐3639
HIMES, CAROLYN J            2591 LAKE DOUGLAS RD                                                                              BAINBRIDGE        GA      39819‐7862
HIMES, CHARLES A            3232 DOVE DRIVE                                                                                   WARREN            OH      44481‐9205
HIMES, CHARLES A            3232 DOVE DR SW                                                                                   WARREN            OH      44481‐9205
HIMES, DAVID E              PO BOX 505                                                                                        REDKEY            IN      47373‐0505
HIMES, DAVID EDWARD         PO BOX 505                       310 S. MERIDIAN                                                  REDKEY            IN      47373‐0505
HIMES, DAVID M              1508 HATHAWAY RD                                                                                  DAYTON            OH      45419‐3244
HIMES, DEBBIE S             390 SOUTHRIDGE DR                                                                                 HEMLOCK           MI      48626‐9100
HIMES, DEBBIE SHEPHERD      390 SOUTHRIDGE DR                                                                                 HEMLOCK           MI      48626‐9100
HIMES, DENNIS P             390 SOUTHRIDGE DR                                                                                 HEMLOCK           MI      48626‐9100
HIMES, DIANNE K             1750 SOUTHEAST BLVD                                                                               SALEM             OH      44460‐3911
HIMES, EDWARD G             4 COACH SIDE LN                                                                                   PITTSFORD         NY      14534‐9413
HIMES, ELIZABETH E          829 TERELL RD.                                                                                    ALKADELPHIA       AR      71923‐7128
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Name                      Address1                        Address2                       Address3   Address4               City             State Zip
HIMES, ELIZABETH E        829 TERRELL RD                                                                                   ARKADELPHIA       AR 71923‐7128
HIMES, ELIZABETH L        124 WOODLAND DRIVE                                                                               NEW MIDDLETOWN    OH 44442‐9434

HIMES, EMILY J            10112 PELHAM RD                                                                                  TAYLOR           MI   48180‐3831
HIMES, EVELYN M           607 WEST PATTERSON                                                                               KIRKSVILLE       MO   63501
HIMES, EVELYN M           607 W PATTERSON ST                                                                               KIRKSVILLE       MO   63501‐4357
HIMES, FRANKLIN M         808 RUTH LN                                                                                      HURST            TX   76053‐6436
HIMES, GARY L             107 DRY FORK DR                                                                                  HENRIETTA        TX   76365‐2522
HIMES, GARY L             25324 GREEN HERON DR                                                                             LEESBURG         FL   34748‐7812
HIMES, GREGORY
HIMES, GREGORY R          17565 HICKORY RD                                                                                 MILAN            MI   48160‐9216
HIMES, GREGORY ROCK       17565 HICKORY RD                                                                                 MILAN            MI   48160‐9216
HIMES, HENRY E            2017 WICK CAMPBELL                                                                               HUBBARD          OH   44425‐3141
HIMES, JOHN R             6590 ROSS RD                                                                                     NEW CARLISLE     OH   45344‐8802
HIMES, JUDY D             107 DRY FORK DR                                                                                  HENRIETTA        TX   76365‐2522
HIMES, JUSTIN L           21 STORCK MILL RD                                                                                FREDERICKSBURG   VA   22406‐4756
HIMES, LINDA J            813 LONSVALE DRIVE                                                                               ANDERSON         IN   46013‐3220
HIMES, MARY A             717 HULL ST.                                                                                     SHARON           PA   16146‐3302
HIMES, MARY A             717 HULL ST                                                                                      SHARON           PA   16146‐3302
HIMES, MATTHEW            2034 LOCUST DR SW                                                                                WARREN           OH   44481
HIMES, MICHAEL A          5500 N COUNTY ROAD 330 E                                                                         MUNCIE           IN   47303‐9146
HIMES, MICHAEL ALLEN      5500 N COUNTY ROAD 330 E                                                                         MUNCIE           IN   47303‐9146
HIMES, NADINE J           6640 S COOK RD                                                                                   OWOSSO           MI   48867‐8957
HIMES, NADINE J           6640 COOK RD                                                                                     OWOSSO           MI   48867‐8957
HIMES, NORMAN C           1418 18TH ST                                                                                     NIAGARA FALLS    NY   14305‐2942
HIMES, PAUL               ATLEE HALL & BROOKHART LLP      P O BOX 0449                                                     LANCASTER        PA
HIMES, PAUL               ATLEE HALL & BROOKHART LLP      PO BOX 449                                                       LANCASTER        PA   17608‐0449
HIMES, ROBERT M           563 ALLEN RD TRLR 76                                                                             MILAN            MI   48160‐1557
HIMES, ROBERT MICHAEL     563 ALLEN RD TRLR 76                                                                             MILAN            MI   48160‐1557
HIMES, ROBERT W           5252 S 400 W                                                                                     PENDLETON        IN   46064‐8800
HIMES, RONNIE K           2974 KERWOOD DR                                                                                  KETTERING        OH   45420‐3410
HIMES, SCOTT R            66110 SHERMAN MILL RD                                                                            STURGIS          MI   49091‐9227
HIMES, SHAWN              WALTHER & FLANIGAN              RESOLUTION PLAZA ‐ 1029 WEST                                     ANCHORAGE        AK   99501
                                                          THIRD AVENUE ‐ SUITE 250
HIMES, STEVE              HC62 BOX57‐A                                                                                     EUFAULA          OK   74432
HIMES, SUSAN G            5773 QUEENSTOWN WAY                                                                              LAS VEGAS        NV   89110‐2629
HIMES, TAMARA JO          ATLEE HALL & BROOKHART LLP      P O BOX 0449                                                     LANCASTER        PA
HIMES, TAMARA JO          ATLEE HALL & BROOKHART LLP      PO BOX 449                                                       LANCASTER        PA   17608‐0449
HIMES, THOMAS R           2804 MOHICAN AVE                                                                                 KETTERING        OH   45429‐3739
HIMES, WILLIAM E          5232 SE 85TH ST                                                                                  OKLAHOMA CITY    OK   73135‐6117
HIMES, WILMA G            620 SUNSET DR                                                                                    IMLAY CITY       MI   48444
HIMICK, VALERIE           3704 PENINSULAR SHORES DR                                                                        GRAWN            MI   49637‐9720
HIMLER, LAURA O           32 COUNTRY GABLES CIR                                                                            ROCHESTER        NY   14606‐3546
HIMMEL, CHERYL A          1230 COTTONWOOD ST                                                                               LAKE ORION       MI   48360
HIMMELBERG, DAVID D       20 JORDANS WOOD CIRCLE                                                                           SAN ANTONIO      TX   78248‐1697
HIMMELBERG, PATRICIA A    312 DEER PARK CIR                                                                                KETTERING        OH   45429‐2125
HIMMELBERGER, WILLIAM L   707 SHADY BROOK LN                                                                               FLUSHING         MI   48433‐2189
HIMMELHAVER, E M          9554 STATE ROUTE 144 E                                                                           HAWESVILLE       KY   42348‐5018
HIMMELHEBER, JOSEPH       510 COLT DR                                                                                      FORNEY           TX   75126‐4714
HIMMELMAN, JOHN T         5 KING CT                       REGENCY ESTATES                                                  MANALAPAN        NJ   07726‐8645
HIMMELSBACH III, JOHN     313 CONRAD DR                                                                                    ROCHESTER        NY   14616‐3660
HIMMELSPACH, JOHN A       4986 EAST CEDAR LAKE DRIVE                                                                       GREENBUSH        MI   48738‐9731
HIMMELSPACH, REGINA L     47670 KATHY CT                                                                                   SHELBY TWP       MI   48315‐4653
HIMMELSPACH, TIMOTHY A    47670 KATHY CT                                                                                   SHELBY TWP       MI   48315‐4653
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Name                           Address1                           Address2                       Address3          Address4               City              State Zip
HIMMELSTEIN, S & CO            2490 PEMBROKE AVE                                                                                          HOFFMAN ESTATES     IL 60169‐2011

HIMMELWRIGHT, MARGARET C       3316 S 450 W                                                                                               RUSSIAVILLE        IN   46979‐9455
HIMMELWRIGHT, MARLIN J         3316 S 450 W                                                                                               RUSSIAVILLE        IN   46979‐9455
HIMMERT, RAYMOND H             4090 ORIENT DR                                                                                             HERNANDO BEACH     FL   34607‐3224

HIMMLER, DENNIS W              49563 NAUTICAL DR                                                                                          CHESTERFIELD      MI    48047‐2362
HINANT, JAMES E                507 E KENDALL ST                                                                                           LA FONTAINE       IN    46940‐9257
HINANT, MARK M                 1517 NE 4TH ST                                                                                             MOORE             OK    73160‐7863
HINATSU, DAMOND N              169 W HOLLISTER ST                                                                                         ROMEO             MI    48065‐4757
HINAUS, MICHAEL O              832 SUFFOLK DR                                                                                             JANESVILLE        WI    53546‐1822
HINBERN, WILLIAM F             32430 CLOVERDALE AVE                                                                                       FARMINGTON        MI    48336‐4008
HINBERN, WILLIAM FREDERICK     32430 CLOVERDALE AVE                                                                                       FARMINGTON        MI    48336‐4008
HINCE, DENIS R                 46 HILL ST                                                                                                 MEDWAY            MA    02053‐2411
HINCE, KAREN A                 46 HILL ST                                                                                                 MEDWAY            MA    02053‐2411
HINCH, CAROL L                 11727 HABER RD                                                                                             UNION             OH    45322‐9740
HINCH, KEITH
HINCH, RICHARD L               11727 HABER RD                                                                                             ENGLEWOOD         OH    45322‐5322
HINCH, ROBERT L                7467 S STATE RT 202                                                                                        TIPP CITY         OH    45371‐9470
HINCH, ROBERT L                7467 S STATE ROUTE 202                                                                                     TIPP CITY         OH    45371‐9470
HINCH, RONALD H                37875 TYLER RD                                                                                             ROMULUS           MI    48174‐1390
HINCH, RONALD L                2401 SHEELAH CT                                                                                            KETTERING         OH    45420‐1127
HINCHCLIFF, LANDO L            PO BOX 1641                                                                                                DESLOGE           MO    63601‐1641
HINCHCLIFF, ROBERT D           PO BOX 47                                                                                                  GROVER HILL       OH    45849‐0047
HINCHCLIFF, ROBERT DEWAYNE     PO BOX 47                                                                                                  GROVER HILL       OH    45849‐0047
HINCHCLIFF, WAYNE E            237 GOSHEN CHURCH NORTH RD                                                                                 BOWLING GREEN     KY    42101‐9592
HINCHCLIFFE, CLAUDETTE M       21 KIMBERLY LN                                                                                             BRISTOL           CT    06010‐3320
HINCHEN, MELBA R               6902 QUIMBY AVE                                                                                            CLEVELAND         OH    44103‐3240
HINCHER, CHRISTINE             2808 N 47TH PLACE                                                                                          KANSAS CITY       KS    66104‐2305
HINCHER, CHRISTINE             2808 N 47TH PL                                                                                             KANSAS CITY       KS    66104‐2305
HINCHEY, CHARLES E             4125 N 59TH ST                                                                                             KANSAS CITY       KS    66104‐1114
HINCHEY, MARIA G               2 BLUEBERRY LN                                                                                             HUDSON            MA    01749‐2861
HINCHEY, MICHAEL D             20803 NE 178TH ST                                                                                          HOLT              MO    64048‐8713
HINCHEY, STEPHEN A             309 OLD TAVERN RD                                                                                          ORANGE            CT    06477‐3320
HINCHEY, STEVEN B              13 LIMOUSIN LN                                                                                             SHAWNEE           OK    74804‐1027
HINCHLEY, MARY M               207 WHITNEYS WAY #3C                                                                                       EDGERTON          WI    53534‐1748
HINCHLIFFE, GREGORY            16A KINSLEY LANE                                                                                           MENDON            MA    01756
HINCHLIFFE, THOMAS J           39455 STATE ROUTE 517                                                                                      LISBON            OH    44432‐9357
HINCHLIFFE, WILLIAM T          40490 STATE ROUTE 517                                                                                      LISBON            OH    44432‐8363
HINCHMAN, BARBARA J            2129 W NEW HAVEN AVE                                                                                       WEST MELBOURNE    FL    32904‐3875
HINCHMAN, CARLA J              ERHARD CRAIG P LAW OFFICES OF      PO BOX 1653                                                             FAIRMONT          WV    26555‐1653
HINCHMAN, DAISY M              2338 MALIBU CT                                                                                             ANDERSON          IN    46012‐4718
HINCHMAN, JAMES L              343 ROBERTSON AVENUE                                                                                       BATTLE CREEK      MI    49015‐8637
HINCHMAN, JAMES R              3536 N. 975 W.                                                                                             SHIRLEY           IN    47384
HINCHMAN, SHIRLEYANNE J        343 ROBERTSON AVE                                                                                          BATTLE CREEK      MI    49015
HINCHMAN, TIMOTHY R            10709 NORTH WESTLAKES DRIVE                                                                                FORT WAYNE        IN    46804‐8601
HINCHY, CLARENCE A             9009 POOR MOUNTAIN RD                                                                                      BENT MOUNTAIN     VA    24059‐2365
HINCKA, DIANE B                14232 N LINDEN RD                                                                                          CLIO              MI    48420‐8824
HINCKLEY ALLEN & SYNDER LLP    28 STATE ST                                                                                                BOSTON            MA    02109
HINCKLEY AUTO CENTER           11 CROCUS HL                                                                                               SAINT PAUL        MN    55102‐2809
HINCKLEY CHEVROLET             11 CROCUS HL                                                                                               SAINT PAUL        MN    55102‐2809
HINCKLEY JR, FRANCIS E         14 EDINBORO ST                                                                                             MARLBOROUGH       MA    01752‐3216
HINCKLEY, ALLEN & SNYDER LLP   ATTY FOR DAVE DELANEY'S COLUMBIA   ATT: THOMAS H CURRAN, PAUL F   28 STATE STREET                          BOSTON            MA    02109
                               BUICK‐PONTIAC‐GMAC CO, LLC         O'DONNELL & JENNIFER V DORAN
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Name                            Address1                            Address2               Address3         Address4                 City             State Zip
HINCKLEY, ALLEN & SNYDER, LLP   PAUL A. HEDSTROM, ESQ.              28 STATE STREET                                                  BOSTON            MA 02109
HINCKLEY, ALLEN & SYNDER        DAVID B. CONNOLLY                   ONE FINANCIAL CENTER                                             BOSTON            MA 02111
HINCKLEY, JAMES F               909 1/2MAIN ST                                                                                       SUMNER            WA 98390
HINCKLEY, JOAN L                6315 SOUTHEAST BELMONT STREET                                                                        PORTLAND          OR 97215‐1941
HINCKLEY, LARRY A               C/O GORI JULIAN & ASSOCIATES PC     156 N MAIN ST                                                    EDWARDSVILLE       IL 62025
HINCKLEY, OPAL E                2691 LAYLIN RD.                                                                                      NORWALK           OH 44857‐9507
HINCKLEY, OPAL E                2691 LAYLIN RD                                                                                       NORWALK           OH 44857‐9507
HINCKLEY, PATRICIA A            PO BOX 743                                                                                           CAPE VINCENT      NY 13618‐0743
HINCKLEY, SHIRLEY               123 W STODDARD ST                                                                                    CHARLOTTE         MI 48813‐1458
HIND THOMPSON                   781 FURTH RD NW                                                                                      PALM BAY          FL 32907‐7856
HIND, LEONA F                   255 MAYER RD APT 136M                                                                                FRANKENMUTH       MI 48734‐1772
HIND, ROBERT G                  13508 WENWOOD PKWY                                                                                   FENTON            MI 48430‐1160
HINDA GREENSPOON TTEE           FBO EDWARD GREENSPOON               CREDIT SHELTR TRUST    UAD 01‐19‐1989   2792 DONNELLY DR #178    LANTANA           FL 33462‐6434
HINDALL JR, CHARLES R           320 N MAPLE ST                                                                                       ITHACA            MI 48847‐1028
HINDALL, CORNELIUS F            20154 KISER RD                                                                                       DEFIANCE          OH 43512‐6733
HINDALL, CORNELIUS FRANCIS      20154 KISER RD                                                                                       DEFIANCE          OH 43512‐6733
HINDALL, JOHN R                 16133 VENISON TRL                                                                                    WOODBURN          IN 46797‐9452
HINDBAUGH, CAROLYN F            3500 ROSBOROUGH SPRINGS RD                                                                           MARSHALL          TX 75672‐5037
HINDBAUGH, EUGENE L             6450 S ALVARADO PL                                                                                   HEREFORD          AZ 85615‐9400
HINDBAUGH, RALPH                25441 DONALD                                                                                         REDFORD           MI 48239‐3333
HINDE, CHARLES J                9916 MANSFIELD AVE                                                                                   OAK LAWN           IL 60453‐3747
HINDENACH, RICHARD G            611 S BEECH DALY ST                                                                                  DEARBORN HEIGHTS MI 48125‐1009

HINDENACH, RICHARD G            1271 POTOMAC VISTA DR                APT 304                                                         WOODBRIDGE        VA   22191‐4854
HINDENACH, SANDRA K             4483 BREMER ST SW                                                                                    GRANDVILLE        MI   49418‐2236
HINDENACH, STEVEN W             3783 7 MILE RD NW                                                                                    GRAND RAPIDS      MI   49544‐9735
HINDENLANG, JAMES R             38 BRADLEY AVE                                                                                       SHELBY            OH   44875‐1844
HINDERBERGER, ANTHONY M         5327 HOLLYHOCK LN                                                                                    BOSSIER CITY      LA   71112‐4919
HINDERER SALLY                  PO BOX 134                                                                                           MANCHESTER        MI   48158‐0134
HINDERER, GISELE M              3444 VAN CAMPEN RD                                                                                   FLINT             MI   48507‐3349
HINDERER, JOHN J                263 E 500 N                                                                                          ANDERSON          IN   46012‐9501
HINDERER, MILDRED T             11506 WINCHESTER RD                                                                                  FORT WAYNE        IN   46819‐9786
HINDERKINA HEUVELMAN            3901 WINDSOR HILL DR                 C/O MARCIA DEJONGE                                              HUDSONVILLE       MI   49426‐2911
HINDERLITER, PHILLIP B          7217 S 12TH ST                                                                                       PORTAGE           MI   49024‐3800
HINDERLITER/BRNTWOOD            7105 MOORES LANE                                                                                     BRENTWOOD         TN   37027
HINDERMAN, ALVERA               P.O.BOX 447                                                                                          QUINNESEC         MI   49876‐0447
HINDERMAN, ALVERA               PO BOX 227                                                                                           QUINNESEC         MI   49876‐0227
HINDERMAN, ANNIE L              7224 NORMANDY RD                                                                                     FORT WORTH        TX   76112‐5349
HINDERMAN, THOMAS J             APT 1                                2333 WALNUT STREET                                              BLUE ISLAND       IL   60406‐2176
HINDERS, BETTY J                2900 N APPERSON WAY LOT 84                                                                           KOKOMO            IN   46901‐1460
HINDERS, DIXIE B                1639 LONGBOW LN                                                                                      W CARROLLTON      OH   45449‐2344
HINDERS, JUDY                   33 POPLAR STREET                                                                                     DAYTON            OH   45415‐2928
HINDERS, JUDY                   33 POPLAR ST                                                                                         DAYTON            OH   45415‐2928
HINDERS, LARRY E                5401 MILL STONE DR                                                                                   OOLTEWAH          TN   37363‐8704
HINDERS, PATRICIA J             1620 SILVER LAKE DR                                                                                  DAYTON            OH   45458‐3530
HINDERS, SARA E                 207 W DAYTON YELLOW SPRINGS RD APT B                                                                 FAIRBORN          OH   45324

HINDERS, WILLIAM C              3113 STATE ROAD 580 LOT 148                                                                          SAFETY HARBOR     FL   34695‐5913
HINDERS, WINIFRED S             5401 MILL STONE DR                                                                                   OOLTEWAH          TN   37363‐8704
HINDERSMAN, BRIAN R             1164 EDEN DR                                                                                         LABELLE           FL   33935
HINDERSON, TERESA L             3008 NORTH 76TH STREET                                                                               KANSAS CITY       KS   66109‐1655
HINDLE, WILLIAM J               1084 99TH ST                                                                                         NIAGARA FALLS     NY   14304‐2841
HINDLEY TRUCKING                6738 QUAKER RD RR 5                                                         ST THOMAS ON N5P 3S9
                                                                                                            CANADA
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Name                                     Address1                         Address2                        Address3       Address4               City           State   Zip
HINDMAN AUTOMOTIVE                       3025 MARQUITA DR                                                                                       FORT WORTH      TX     76116‐4017
HINDMAN JOAN                             13766 WOODBINE DR                                                                                      VICTORVILLE     CA     92395‐4961
HINDMAN, CLYDE D                         5940 LOUIS I AVE                                                                                       MARRERO         LA     70072‐5204
HINDMAN, DONALD L                        6976 CRANBERRY LAKE RD                                                                                 CLARKSTON       MI     48348‐4416
HINDMAN, OLYMPIA N
HINDMAN, PATRICIA                        6976 CRANBERRY LAKE RD                                                                                 CLARKSTON      MI      48348‐4416
HINDMAN, THELMA I                        118 EAST JOHNSON ST                                                                                    CLIO           MI      48420
HINDMAN, THELMA I                        118 E JOHNSON ST                                                                                       CLIO           MI      48420‐1431
HINDMAN, WALTER                          4306 RED DEER CT APT C                                                                                 ANDERSON       IN      46013‐1219
HINDMAN, WALTER L                        4306 RED DEER CT APT C                                                                                 ANDERSON       IN      46013‐1219
HINDMARCH, ALICE M                       1985 S CARPENTER AVE                                                                                   ORANGE CITY    FL      32763‐7334
HINDMARCH, ALICE M                       1985 S. CARPENTER AVE.                                                                                 ORANGE CITY    FL      32763
HINDMON ANNA                             99 TANYARD LN                                                                                          PELL CITY      AL      35125‐3413
HINDMON, MARCUS C                        947 BEACH AVE                                                                                          SAINT LOUIS    MO      63112‐2000
HINDMON, WILLIAM D                       2114 VALENCIA AVE                                                                                      MONROE         LA      71201‐2547
HINDS CNTY CIRCUIT CRT CLK               ACCT OF W E MOORE                PO BOX 327                                                            JACKSON        MS      39205‐0327
HINDS CNTY JUSTICE COURT CLERK           407 E PASCAGOULA ST STE 333      PO BOX 3490                                                           JACKSON        MS      39201
HINDS COMMUNITY COLLEGE                  ATTN PHYLLIS WILLIAMS PMB11251   PO BOX 1100                                                           RAYMOND        MS      39154‐1100
HINDS COUNTY CHANCERY CLERK              ACCT OF MARVIN HARRIS            PO BOX 686                                                            JACKSON        MS      39205‐0686
HINDS COUNTY CIRCUIT COURT               ACCT OF LINDA L BROWN            PO BOX 327                                                            JACKSON        MS      39205‐0327
HINDS COUNTY CIRCUIT COURT               ACCT OF LINDSEY HUNTER           PO BOX 327                                                            JACKSON        MS      39205‐0327
HINDS COUNTY DEPT HUMAN SERV             ACCT OF JAMES W HAMMACK, JR      PO BOX 11677                                                          JACKSON        MS      39283‐1677
HINDS COUNTY DEPT OF PUB WELF            FAMILY SUPPORT FOR ACCOUNT OF    PO BOX 11677                    F D PORTER #                          JACKSON        MS      39283‐1677
HINDS COUNTY DEPT OF PUB WELF            ACCT OF MILTON L LEWIS           PO BOX 11677                                                          JACKSON        MS      39283‐1677
HINDS COUNTY JUSTICE COURT               ACCT OF JAMES BROWN              407 E PASCAGOULA ST STE 333                                           JACKSON        MS      39201
HINDS COUNTY JUSTICE COURT               ACCT OF W E MOORE                407 E PASCAGOULA ST STE 330                                           JACKSON        MS      39201
HINDS COUNTY TAX COLLECTOR               PO BOX 1727                                                                                            JACKSON        MS      39215‐1727
HINDS CTY CIRCUIT COURT                  FOR ACCT OF LINDSEY HUNTER
HINDS CTY HUMAN SERVICES                 ACCT OF MARVIN HARRIS            PO BOX 11677                                                          JACKSON        MS      39283‐1677
HINDS CTY JUDICIAL COURT                 ACCT OF JAMES W HAMMACK JR
HINDS JIMMY ALLEN (ESTATE OF) (489090)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD     OH      44067
                                                                          PROFESSIONAL BLDG
HINDS JR, ANGUS S                        849 N LONG LAKE BLVD                                                                                   LAKE ORION     MI      48362‐1867
HINDS JR, HEWLEY E                       707 W CHESTNUT ST APT 1                                                                                OXFORD         OH      45056‐2043
HINDS JR, RAYMOND H                      2712 SOUTHPARK LN                                                                                      FORT WORTH     TX      76133‐6412
HINDS JR, RICHARD E                      2157 DR. ROBERTSON RD.                                                                                 SPRING HILL    TN      37174
HINDS MCDANIEL                           1425 WAGON WHEEL LN                                                                                    GRAND BLANC    MI      48439‐4867
HINDS WILLIAM R (357631)                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK        VA      23510
                                                                          STREET, SUITE 600
HINDS, ASTOR A                           1005 CROWLEY RD                                                                                        ARLINGTON       TX     76012‐2812
HINDS, BENN J                            409 KEINATH DR                                                                                         FRANKENMUTH     MI     48734‐9334
HINDS, BRADLEY J                         7054 CROSSWINDS DR                                                                                     SWARTZ CREEK    MI     48473‐9778
HINDS, BRADLEY JAMES                     7054 CROSSWINDS DR                                                                                     SWARTZ CREEK    MI     48473‐9778
HINDS, BRETT S                           2215 OWEN ST                                                                                           SAGINAW         MI     48601‐3466
HINDS, C D                               RR 1 BOX 89                                                                                            ATLANTA         IN     46031‐9720
HINDS, DANNY R                           218 LAKE BLVD                                                                                          LAKE WALES      FL     33859‐8608
HINDS, DARRYL A                          6109 TIMBERCREEK DRIVE                                                                                 TEXARKANA       AR     71854‐8187
HINDS, DOVIE M                           8701 S MERIDIAN ST                                                                                     INDIANAPOLIS    IN     46217‐5027
HINDS, ELAINE I                          409 KEINATH DRIVE                                                                                      FRANKENMUTH     MI     48734‐9334
HINDS, EVERETT L                         6207 S COUNTY ROAD 294 W                                                                               MUNCIE          IN     47302‐8873
HINDS, FULTON J                          557 WOODLAND DR                                                                                        BUFFALO         NY     14223‐1724
HINDS, GARY A                            15029 OLD TOWN DR                                                                                      RIVERVIEW       MI     48193‐7714
HINDS, GENE O                            4013 W. 400 S.                                                                                         MUNCIE          IN     47302
HINDS, GERRY L                           1151 CROSS ST                                                                                          OXFORD          MI     48371‐3581
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Name                     Address1                       Address2                      Address3   Address4               City              State   Zip
HINDS, GILFORD C         PO BOX 1683                                                                                    RAHWAY             NJ     07065‐7683
HINDS, HERBERT A         121 FIESTA RD                                                                                  ROCHESTER          NY     14626‐3840
HINDS, J T               2350 RIDGELAND ST                                                                              MEMPHIS            TN     38119‐7218
HINDS, JAMES F           5110 HURON BREEZE DR                                                                           AU GRES            MI     48703‐9602
HINDS, JANICE A          409 KEINATH DR                                                                                 FRANKENMUTH        MI     48734‐9334
HINDS, JANIE             2262 E 200 N                                                                                   WINDFALL           IN     46076‐9431
HINDS, JOHN H            5649 MARTIN RD                                                                                 WARREN             MI     48092‐2634
HINDS, JOHN L            362 RIVER WOODS DR                                                                             FLUSHING           MI     48433‐2100
HINDS, JOHNNY            PO BOX 436                                                                                     BRIDGEPORT         MI     48722‐0436
HINDS, JOSEPH E          9273 VAN VLEET RD                                                                              GAINES             MI     48436‐9710
HINDS, JULIUS L          4317 WALNUT ST                                                                                 INKSTER            MI     48141‐2958
HINDS, JULIUS LEE        4317 WALNUT ST                                                                                 INKSTER            MI     48141‐2958
HINDS, KIMBERLY L        2111 KITCHEN DR                                                                                ANDERSON           IN     46017‐9658
HINDS, LORING E          10446 CANARY ISLE DR                                                                           TAMPA              FL     33647
HINDS, MARK I            3747 CAMPBELL DR                                                                               ANDERSON           IN     46012‐9361
HINDS, MARTHA L          4425 BRAVE LANE                                                                                ST CLOUD           FL     34772‐8818
HINDS, MATTHEW D         5072 WHISPERING GLEN TRL                                                                       HOLLY              MI     48442‐9356
HINDS, MAURICE E         9528 W 1300 N                                                                                  ELWOOD             IN     46036‐8707
HINDS, MICHAEL F         932 GLENEAGLES RD                                                                              BEAUMONT           CA     92223‐8524
HINDS, ONIE T            1271 N YORK HWY                                                                                JAMESTOWN          TN     38556‐6195
HINDS, PENNY             25052 NELLIE GAIL RD                                                                           LAGUNA HILLS       CA     92653‐5824
HINDS, PERRY D           1506 BRIDLE LN                                                                                 CHAPEL HILL        TN     37034‐4006
HINDS, RICHARD L         4072 W BROADWAY AVE                                                                            BLOOMINGTON        IN     47404‐4881
HINDS, ROBERT F          200 N 8TH ST                                                                                   ELWOOD             IN     46036‐1409
HINDS, ROBERT L          401 S WOODLAWN ST                                                                              PARKER CITY        IN     47368‐9118
HINDS, ROSE J.           5765 ROYALTON CENTER RD        C/O DOUGLAS J HINDS                                             GASPORT            NY     14067‐9359
HINDS, RUNNELL           1548 RIBBLE,                                                                                   SAGINAW            MI     48601
HINDS, SANDRA L          9273 VAN VLEET RD                                                                              GAINES             MI     48436‐9710
HINDS, SELWYN A          3555 BIVONA ST APT 12H                                                                         BRONX              NY     10475‐1432
HINDS, SHELIA L          PO BOX 11253                                                                                   OKLAHOMA CITY      OK     73136‐0253
HINDS, STANLEY J         C/O JOHNSON,ROSATI,LABARGE,    ASELTYNE & FIELD,P C                                            ST CLAIR SHORES    MI     48080
HINDS, STANLEY J         23161 HILL AVE                                                                                 WARREN             MI     48091‐4704
HINDS, VERLIN D          7471 EL ROSAL CIR                                                                              BUENA PARK         CA     90620‐2610
HINDS, WAYNE A           2120 S OSBORNE AVE                                                                             JANESVILLE         WI     53546‐5945
HINDS, WILLIAM R         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                        STREET, SUITE 600
HINDS, WILLIAM V         1593 LIVERNOIS AVE                                                                             DETROIT           MI      48209‐2051
HINDSMAN, LATOYA M       322 REDWOOD AVE                                                                                DAYTON            OH      45405
HINDSON, PAUL D          50386 BAYTOWN                                                                                  CHESTERFIELD      MI      48047‐2011
HINDY, LAURA L           3418 ESSEX DR                                                                                  TROY              MI      48084‐2739
HINDY,LAURA L            3418 ESSEX DR                                                                                  TROY              MI      48084‐2739
HINE ALAN                1830 KENT RD                                                                                   ORTONVILLE        MI      48462‐8659
HINE JR, FREDERICK W     808 E SHADY LN                                                                                 AU GRES           MI      48703‐9753
HINE KRAMPITZ, NANCY L   208 LITCHFIELD ROAD                                                                            HARWINTON         CT      06791‐2208
HINE, ANITA L            1657 E COGGINS RD                                                                              PINCONNING        MI      48650
HINE, BARBARA J          1492 KNIGHT RD.                                                                                ESSEXVILLE        MI      48732‐8723
HINE, BARBARA J          1492 N KNIGHT RD                                                                               ESSEXVILLE        MI      48732‐8723
HINE, BRENT G            102 SUNNY TRL                                                                                  BENTON            LA      71006‐9773
HINE, BRENT GABRIEL      102 SUNNY TRL                                                                                  BENTON            LA      71006‐9773
HINE, DAVID C            10380 GOLDEN AVE                                                                               WEEKI WACHEE      FL      34613‐4520
HINE, DONALD S           3207 LAKEWOOD SHORES DR                                                                        HOWELL            MI      48843‐7857
HINE, DUANE A            120 SHELBURNE CENTER RD                                                                        SHELBURNE FALLS   MA      01370‐9778
HINE, GENE F             1096 STONEY CREEK LN                                                                           MT PLEASANT       MI      48858‐8805
HINE, HELEN P            G‐13287 PINE VALLEY DRIVE                                                                      CLIO              MI      48420
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Name                                Address1                           Address2                         Address3              Address4               City                State   Zip
HINE, JAMES T                       11618 LUCAS FERRY RD                                                                                             ATHENS               AL     35611‐6007
HINE, LAVONNE A                     2867 N STATE ROUTE 48                                                                                            LEBANON              OH     45036‐2424
HINE, LAVONNE A                     2867 N ST RT 48                                                                                                  LEBANON              OH     45036‐2424
HINE, PAUL E                        4814 SAGO PALM DR                                                                                                SEBRING              FL     33870‐5363
HINE, ROBERT J                      1012 S CHURCH ST                                                                                                 SAINT JOHNS          MI     48879‐2136
HINE, ROBERT T                      13 PALMER TER                                                                                                    CLINTON              CT     06413‐2023
HINE, THOMAS J                      1657 E COGGINS RD                                                                                                PINCONNING           MI     48650‐7493
HINE, THOMAS L                      6135 CARNATION RD                                                                                                DAYTON               OH     45449‐3061
HINE, VERN E                        1223 DUCKVIEW CT                                                                                                 CENTERVILLE          OH     45458‐2784
HINE, WILLIAM B                     1622 NE 101ST TER                                                                                                KANSAS CITY          MO     64155‐3700
HINE, WILLIAM G                     8975 STATE ROAD 142                                                                                              MARTINSVILLE         IN     46151‐9653
HINE, WILLIAM L                     1211 BAY RIDGE DRIVE                                                                                             BENTON               LA     71006‐3468
HINEITI, NASER I                    39500 SQUIRE RD                                                                                                  NOVI                 MI     48375‐3765
HINEK, JAMES T                      1102 LEAFSTONE DR                                                                                                COVINGTON            GA     30014
HINEL, IMA J                        4376 PARKSIDE BLVD                                                                                               ALLEN PARK           MI     48101‐3204
HINEL, LELIA G                      379 BATTLEFIELD DR                                                                                               DANDRIDGE            TN     37725‐4321
HINELINE, CHARLES F                 900 LONG BLVD APT 284                                                                                            LANSING              MI     48911‐6716
HINEMAN SUSAN                       34 WOODLAWN DR                                                                                                   PALMYRA              VA     22963‐2732
HINEMAN, DENNIS M                   1923 S WINDING WAY                                                                                               ANDERSON             IN     46011‐3862
HINEMAN, GARRY L                    12492 N BRAY RD                                                                                                  MOORESVILLE          IN     46158‐6981
HINEMAN, GEORGE E                   4100 N RIVER RD NE                 SHEPPARD OF THE VALLEY                                                        WARREN               OH     44484‐1041
HINEMAN, JACK K                     2408 NORTHVIEW DR                                                                                                CORTLAND             OH     44410‐1744
HINEMAN, MARGARET                   28342 FIVE MILE                                                                                                  LIVONIA              MI     48154‐3910
HINEMAN, MARGARET                   28342 5 MILE RD                                                                                                  LIVONIA              MI     48154‐3910
HINEMAN, MONIQUE N                  28342 5 MILE RD                                                                                                  LIVONIA              MI     48154‐3910
HINEMAN, MONIQUE N                  18295 WOODBINE ST                                                                                                DETROIT              MI     48219‐3035
HINEMAN, RAYMOND W                  16809 CARDINAL DR                                                                                                ORLAND PARK           IL    60467‐8485
HINEMAN, ROBERTA A                  19144 NEGAUNEE                                                                                                   REDFORD              MI     48240‐1636
HINEMAN, SOPHIE                     4100 N RIVER RD NE                 SHEPPARD OF THE VALLEY                                                        WARREN               OH     44484‐1041
HINEMAN, WILBUR D                   6771 ANNA CT                                                                                                     PLAINFIELD           IN     46168‐7891
HINEN, LARRY J                      8315 S 600 E                                                                                                     COLUMBIA CITY        IN     46725‐9247
HINER HAROLD                        5620 MARY LANE DR                                                                                                SAN DIEGO            CA     92115‐2311
HINER LESLIE                        8523 TWIN POINTE CIR                                                                                             INDIANAPOLIS         IN     46236‐8903
HINER, ALLIEMAE M                   3429 S VERMONT                                                                                                   INDEPENDENCE         MO     64052‐2748
HINER, DALE L                       7798 HARTEL RD                                                                                                   GRAND LEDGE          MI     48837‐9475
HINER, DANIEL L                     715 E 3RD ST                       LOWER                                                                         MONROE               MI     48161‐2007
HINER, DAVID A                      11522 BEAVER CREEK RD                                                                                            SALEM                OH     44460‐9233
HINER, DOROTHY M                    174 EAST ST CLAIR STREET                                                                                         WABASH               IN     46992
HINER, INEZ I                       6510 S 125 W                                                                                                     PERU                 IN     46970‐7765
HINER, JERRY D                      845 SUE DR                                                                                                       EVART                MI     49631
HINER, LAWTON S                     916 N MARTIN LUTHER KING JR BLVD                                                                                 LANSING              MI     48915‐2038
HINER, RAY A                        5214 W 300 S                                                                                                     NEW CASTLE           IN     47362
HINER, RONALD G                     1931 WASACH DR                                                                                                   LONGMONT             CO     80501‐9176
HINER, SCOTT D                      2994 SCHOTTEN RD                                                                                                 HUBBARD              OH     44425‐9742
HINER, SHIRLEY A                    2338 SHERIDAN CT                                                                                                 VILLA RICA           GA     30180‐9761
HINERMAN III, SAMUEL C              3625 HALLOCK YOUNG RD                                                                                            NEWTON FALLS         OH     44444‐9715
HINERMAN, JACK E                    26 PAR AVE                                                                                                       WEST SALEM           OH     44287‐8818
HINES CORPORATION                   100 TERRACE ST STE 300                                                                                           MUSKEGON             MI     49440
HINES CORPORATION                   2700 WICKHAM DR                                                                                                  MUSKEGON             MI     49441‐3532
HINES CORPORATION                   RON JOHNSON                        PO BOX 388                       1041 E KEATING AVE/                          ELK GROVE VILLAGE     IL    60009‐0388

HINES DEBBIE OWENS                  DBA PRO‐TYPE SERVICES              825 GUM BRANCH SQUARE IISTE137                                                JACKSONVILLE         NC     28540
HINES DELMAR (ESTATE OF) (640768)   GOLDENBERG, MILLER, HELLER &       PO BOX 959                                                                    EDWARDSVILLE         IL     62025‐0959
                                    ANTOGNOLI
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HINES EDMOND F                PAUL REICH & MYERS P.C.        1608 WALNUT ST STE 500                                                       PHILADELPHIA       PA     19103‐5446
HINES EDMOND F (507527)       C/O PAUL REICH & MYERS PC      1608 WALNUT ST STE 500                                                       PHILADELPHIA       PA     19103‐5446
HINES FISHER, LINDA           1064 E MAGNOLIA AVE                                                                                         FORT WORTH         TX     76104‐5220
HINES I I I, JAMES E          9612 DOVE HOLLOW LN                                                                                         GLEN ALLEN         VA     23060‐3223
HINES II, MICHAEL L           17654 LINCOLN AVE                                                                                           EASTPOINTE         MI     48021‐3061
HINES III, LAWRENCE A         53760 WOODBRIDGE DR                                                                                         SHELBY TOWNSHIP    MI     48316‐2170
HINES INDUSTRIES INC          793 AIRPORT BLVD                                                                                            ANN ARBOR          MI     48108‐1639
HINES INTERESTS L.P.          GREG MCGRATH, VP OPERATIONS    400 RENAISSANCE CTR STE 2500                                                 DETROIT            MI     48243‐1621
HINES INTERESTS L.P.          CHARLES WATTERS                400 RENAISSANCE CTR STE 2500                                                 DETROIT            MI     48243‐1621
HINES INTERESTS LP            CHARLES WATTERS                400 RENAISSANCE CTR STE 2500                                                 DETROIT            MI     48243‐1621
HINES INTERESTS LP            GREG MCGRATH, VP OPERATIONS    400 RENAISSANCE CTR STE 2500                                                 DETROIT            MI     48243‐1621
HINES INVESTMENT CORP         12651 ELMWOOD AVE                                                                                           CLEVELAND          OH     44111‐5911
HINES JAMES S (658193)        ANGELOS PETER G                100 N CHARLES STREET , ONE                                                   BALTIMORE          MD     21201
                                                             CHARLES CENTER
HINES JOHNNIE                 26041 WOODVILLA PL                                                                                          SOUTHFIELD         MI     48076‐4733
HINES JR EDWARD VA HOSPITAL   MURPHY & PRACHTHAUSER SC       ONE PLAZA EAST 330 EAST                                                      MILWAUKEE          WI     53202
                                                             KILBOURN AVENUE SUITE 1200
HINES JR, FLOYD D             3 MIAMI AVE                                                                                                 FREDERICKTOWN     OH      43019‐9039
HINES JR, GEORGE H            1629 DARLEY AVE                                                                                             BALTIMORE         MD      21213‐1318
HINES JR, JAMES L             15977 ADDISON ST                                                                                            SOUTHFIELD        MI      48075‐6902
HINES JULIE                   HINES, JULIE                   2195 MARY ST                                                                 CINA GROVE        NC      28023
HINES NANCY & CAROL           813 LOUISIANA AVE                                                                                           MINDEN            LA      71055‐2937
HINES NOAH J (439137)         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA      23510
                                                             STREET, SUITE 600
HINES RICHARD                 HINES, RICHARD                 104 E MAIN ST                                                                JOHNSON CITY       TN     37604‐5735
HINES RICHARD                 HINES, KIMBERLY                HERNDON COLEMAN BRADING &      104 EAST MAIN STREET                          JOHNSON CITY       TN     37604
                                                             MCKEE
HINES VERAL L (626570)        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA     23510
                                                             STREET, SUITE 600
HINES WESLEY                  2988 WALDEN ROAD                                                                                            MACON             GA      31216‐7520
HINES, ALBERT L               1005 BARRINGTON DR                                                                                          FLINT             MI      48503‐2915
HINES, ALBERT W               4225 MACSWAY AVE APT 918                                                                                    COLUMBUS          OH      43232‐4256
HINES, ALFRED E               16 JOHN ST                                                                                                  SUMMIT            NJ      07901‐3980
HINES, ALIAH S                77 FIR HL APT 6C4                                                                                           AKRON             OH      44304‐1551
HINES, ALMA C                 1761 S COUNTY RD 1225 W                                                                                     PARKER CITY       IN      47368‐9771
HINES, ALTON M                370 MADISON AVENUE                                                                                          HAMPTON           GA      30228‐5912
HINES, ALVIE L                7050 DURAND RD                                                                                              NEW LOTHROP       MI      48460‐9764
HINES, ANNETTE                8154 AMERICAN ST                                                                                            DETROIT           MI      48204‐3417
HINES, ANTHONY J              PO BOX 14                                                                                                   GOULD CITY        MI      49838‐0014
HINES, AVA                    632 BRUSH CREEK RD                                                                                          ROCK HILL         SC      29732‐3859
HINES, BARBARA                2106 EAST FORTH STREET                                                                                      DAYTON            OH      45403‐5403
HINES, BARBARA                1043 GULCH RD                                                                                               TRENTON           GA      30752‐2624
HINES, BARBARA D              6969 WESLEY CT                                                                                              MEMPHIS           TN      38119‐8707
HINES, BEATRICE R             628 BROWNING ST                                                                                             SHREVEPORT        LA      71106‐4014
HINES, BENJAMIN F             3865 VILLAGE DR SW                                                                                          ATLANTA           GA      30331‐2221
HINES, BEVERLY                143B MEADOWWOOD DR                                                                                          CLINTON           MS      39056
HINES, BILLY E                2502 SUNCREST DR APT 2                                                                                      FLINT             MI      48504
HINES, BRANDI                 7810 TREE MOUNTAIN PKWY                                                                                     STONE MOUNTAIN    GA      30083
HINES, CALLIE L.              15075 MONTE VISTA                                                                                           DETROIT           MI      48238‐1624
HINES, CHANILA A              42974 POND BLUFF DR                                                                                         BELLEVILLE        MI      48111‐7310
HINES, CHANILA ANISE          42974 POND BLUFF DR                                                                                         BELLEVILLE        MI      48111‐7310
HINES, CHARLES                3525 KLEPINGER RD                                                                                           DAYTON            OH      45416‐1916
HINES, CHARLES E              3245 BITTERSWEET DR                                                                                         TROY              OH      45373‐9319
HINES, CHARLES M              2605 LANSING DR                                                                                             ALBANY            GA      31721‐1511
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Name                     Address1                       Address2              Address3       Address4               City               State   Zip
HINES, CHARLES R         9581 CASS AVENUE                                                                           TAYLOR              MI     48180‐3508
HINES, CHRISTINE         7400 ARTESIAN ST                                                                           DETROIT             MI     48228‐3369
HINES, CHRISTINE S       3618 CORNELL DR                                                                            DAYTON              OH     45406‐3703
HINES, CHRISTOPHER B     7501 TUSCOLA DR                                                                            TROTWOOD            OH     45426‐3829
HINES, CLARA             333 1ST ST UNIT 205                                                                        LOWELL              MA     01850‐2579
HINES, CLARENCE E        24246 BROADVIEW ST                                                                         FARMINGTON HILLS    MI     48336‐1806

HINES, CLARENCE E        629 W LAWRENCE                 APT "C"                                                     CHARLOTTE          MI      48813
HINES, CLAYBORNE P       2621 OLD TANEYTOWN RD          C/O JOHN G HINES JR                                         WESTMINSTER        MD      21158‐3531
HINES, CLYDE E           HC 30 BOX 231                                                                              MAYSVILLE          WV      26833‐9431
HINES, CURTIS L          1300 WINDING CREEK RD                                                                      MOORE              OK      73160‐6623
HINES, DALE A            PO BOX 36835                                                                               GROSSE POINTE      MI      48236‐0835
HINES, DALE ANTHONY      PO BOX 36835                                                                               GROSSE POINTE      MI      48236‐0835
HINES, DANIEL J          1027 POORMAN RD                                                                            BELLVILLE          OH      44813‐9019
HINES, DARLAINE J        PO BOX 43                                                                                  GOULD CITY         MI      49838‐0043
HINES, DARNELL           5380 OAKMAN BLVD                                                                           DETROIT            MI      48204‐2685
HINES, DAVID L           7425 STATE RT 55 W                                                                         LUDLOW FALLS       OH      45339‐8782
HINES, DAVID L           RR 2                                                                                       SELMA              IN      47383
HINES, DAVID L           7425 STATE ROUTE 55                                                                        LUDLOW FALLS       OH      45339‐8782
HINES, DEBBIE L          2305 POLO PARK                                                                             DAYTON             OH      45439‐5439
HINES, DEBBIE LYNN       2305 POLO PARK DR                                                                          DAYTON             OH      45439‐3269
HINES, DEBORAH D         2032 RUGBY RD                                                                              DAYTON             OH      45406‐3052
HINES, DEBRA A           11903 PRONGHORN CIR                                                                        NOBLESVILLE        IN      46060‐7876
HINES, DEBRA J           3521 HACKNEY DR                                                                            KETTERING          OH      45420‐1029
HINES, DELBERT V         1824 OPALINE DR                                                                            LANSING            MI      48917‐8638
HINES, DEVONA            336 W. 9TH STREET                                                                          ANDERSON           IN      46016
HINES, DEVONA            336 W 9TH ST                                                                               ANDERSON           IN      46016‐1316
HINES, DEWEY B           1604 N LONGVIEW ST                                                                         BEAVERCREEK        OH      45432‐2133
HINES, DONALD E          202 BUSH CT                                                                                MC CORMICK         SC      29835‐3322
HINES, DORETHA           20165 HUBBELL ST                                                                           DETROIT            MI      48235‐1637
HINES, DORIS E           6958 SANDYBROOK DR                                                                         FORT WORTH         TX      76120‐1327
HINES, DOROTHY J         19 N NICHOLSON CIR                                                                         SAVANNAH           GA      31419‐2855
HINES, DOROTHY J         19 N NICKLESON CIRCLE                                                                      SAVANNAH           GA      31419‐2855
HINES, DOUGLAS W         7153 BROOKS HWY                                                                            ONSTED             MI      49265‐8520
HINES, DOUGLAS WILLIAM   7153 BROOKS HWY                                                                            ONSTED             MI      49265‐8520
HINES, EARL C            23317 ARLINGTON DR                                                                         CLINTON TOWNSHIP   MI      48036‐1278

HINES, EARL H            737 BROADWAY                                                                               VENICE             IL      62090‐1129
HINES, EARL K            5265 GANDER RD W                                                                           DAYTON             OH      45424‐4512
HINES, EARL L            1405 N LIVERNOIS RD                                                                        ROCHESTER HILLS    MI      48306‐4159
HINES, EARL T            932 EAST DR                                                                                SHEFFIELD LAKE     OH      44054‐2018
HINES, EDDIE W           3326 N TEMPLE AVE                                                                          INDIANAPOLIS       IN      46218‐2048
HINES, EMANUEL           APT 18                         34 OCEAN PARK ROAD                                          SACO               ME      04072‐1632
HINES, EMILY             204 BOGER ROAD                                                                             MOCKSVILLE         NC      27028
HINES, ERIC C            18061 STRATHMOOR ST                                                                        DETROIT            MI      48235‐2728
HINES, EUGENE            4025 GLENCAIRN LN                                                                          INDIANAPOLIS       IN      46226‐3048
HINES, EULA              405 SOUTH STATE ROUTE CC                                                                   PLEASANT HILL      MO      64080‐1596
HINES, EULA              405 S STATE RT CC                                                                          PLEASANT HILL      MO      64080
HINES, EULA M            203 CHINKAPIN RILL                                                                         FENTON             MI      48430‐8791
HINES, FAYE H            2448 B EDGEWATER DR                                                                        CORTLAND           OH      44410‐4410
HINES, FAYE H            2448 EDGEWATER DR UNIT B                                                                   CORTLAND           OH      44410‐8632
HINES, FRANCIS           SHANNON LAW FIRM               100 W GALLATIN ST                                           HAZLEHURST         MS      39083‐3007
HINES, GARLAND G         124 SMOKEYS PT                                                                             LA FOLLETTE        TN      37766‐8532
HINES, GERALD D          107 CAVALIER AVE                                                                           MARTINSBURG        WV      25403‐3652
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HINES, GERALDINE J      1753 SHORTER DR.                                                                            INDIANAPOLIS     IN     46214‐2255
HINES, GERALDINE V      5005 FLETCHER ST                                                                            ANDERSON         IN     46013‐4816
HINES, GLADENE L        9406 EAST 82ND STREET                                                                       RAYTOWN          MO     64138
HINES, GLADENE L        9406 E 82ND ST                                                                              RAYTOWN          MO     64138‐2023
HINES, GLADYS M         1236 NORTHMOORE DR                                                                          GREENVILLE       OH     45331‐2911
HINES, GREGORY B        161 PIONEER RD                                                                              WATSONVILLE      CA     95076‐0829
HINES, GREGORY D        344 SHERWOOD DR                                                                             LEXINGTON        OH     44904‐1050
HINES, HARRY R          8245 E LEHRING RD                                                                           DURAND           MI     48429‐9422
HINES, HAZELENE J       4025 GLENCAIRN LANE                                                                         INDIANAPOLIS     IN     46226
HINES, HELEN L          6157 PEBBLE BEACH DR                                                                        SHREVEPORT       LA     71129‐4127
HINES, HENRY            750 S 25TH ST                                                                               SAGINAW          MI     48601‐6520
HINES, HERBERT C        3826 YELLOWSTONE AVE                                                                        DAYTON           OH     45416‐2230
HINES, IDA              PO BOX 19247                                                                                DETROIT          MI     48219‐0247
HINES, IMOGENE F        421 WEST HIGH STREET                                                                        PENDLETON        IN     46064‐1169
HINES, JACK A           5005 FLETCHER ST                                                                            ANDERSON         IN     46013‐4816
HINES, JACK E           2434 N 141ST LN                                                                             GOODYEAR         AZ     85395‐2490
HINES, JACK L           101 SUNRAY ST                                                                               MABANK           TX     75156‐6636
HINES, JACKIE L         12019 W STATE ROAD 28                                                                       REDKEY           IN     47373‐9620
HINES, JACKIE O         14063 S SANFORD RD                                                                          MILAN            MI     48160‐9789
HINES, JACQUELIN M      2915 NW 153RD AVE                                                                           BEAVERTON        OR     97006‐5311
HINES, JAMES            3950 5TH AVE                                                                                YOUNGSTOWN       OH     44505‐1531
HINES, JAMES            2816 MORNINGSIDE DR                                                                         SHREVEPORT       LA     71108‐3218
HINES, JAMES A          9000 WOOD PARK CT                                                                           BALTIMORE        MD     21234‐2630
HINES, JAMES A          3185 COUNTY ROAD 15200                                                                      PATTONVILLE      TX     75468‐3288
HINES, JAMES M          4602 BRITTANY RD                                                                            INDIANAPOLIS     IN     46222‐1364
HINES, JAMES M          200 TYSON ST                                                                                GREENVILLE       NC     27834‐1848
HINES, JAMES R          2423 NORTHDALE DR                                                                           GRAND BLANC      MI     48439‐8511
HINES, JAMES R          1229 MATTERHORN CT                                                                          GAYLORD          MI     49735‐8723
HINES, JAMES S          ANGELOS PETER G               100 N CHARLES STREET, ONE                                     BALTIMORE        MD     21201‐3812
                                                      CHARLES CENTER
HINES, JAMES V          1332 ELK FOREST RD                                                                          ELKTON          MD      21921‐8149
HINES, JEAN C           3326 N TEMPLE AVE                                                                           INDIANAPOLIS    IN      46218‐2048
HINES, JENNIFER R       575 HILLWOOD                                                                                WHITE LAKE      MI      48383‐2958
HINES, JIMMIE           5871 OAKMAN BLVD                                                                            DETROIT         MI      48204‐3059
HINES, JIMMY J          5210 PEARL ST                                                                               ANDERSON        IN      46013‐4866
HINES, JODI A           120 CLEARVIEW LN                                                                            FRANKLIN        OH      45005‐2391
HINES, JODI ANN         1150 ALVATON GREENHILL RD                                                                   BOWLING GREEN   KY      42103‐9052
HINES, JOHN             BOONE ALEXANDRA               205 LINDA DR                                                  DAINGERFIELD    TX      75638‐2107
HINES, JOHN A           PO BOX 474                                                                                  CICERO          IN      46034‐0474
HINES, JOHN G           333 BRUNSWICK DR                                                                            HURON           OH      44839‐1553
HINES, JOHN R           4726 N PEBBLE CT                                                                            MUNCIE          IN      47304‐1100
HINES, JOHNNIE L        26041 WOODVILLA PL                                                                          SOUTHFIELD      MI      48076‐4733
HINES, JOHNNY D         PO BOX 212                                                                                  STEPHENSON      VA      22656‐0212
HINES, JOSEPH A         4969 CRESTVIEW DR                                                                           CLARKSTON       MI      48348‐3951
HINES, JULIANNE         8011 SHIELD ROAD                                                                            DEXTER          MI      48130‐9721
HINES, JULIE
HINES, JULIE            2195 MARY ST                                                                                CHINA GROVE     NC      28023‐6608
HINES, KAREN D.         9687 STATE ROUTE 19                                                                         GALION          OH      44833
HINES, KARLIN           321 N MIDWEST BLVD APT 222                                                                  MIDWEST CITY    OK      73110‐4306
HINES, KATHARLYN M      1011 MAGNOLIA DR                                                                            FRANKLIN        TN      37064‐2486
HINES, KATIE M          3453 W FLOURNOY                                                                             CHICAGO         IL      60624‐3721
HINES, KENNETH D        2847 CAMINATA                                                                               GRAND PRAIRIE   TX      75054‐6757
HINES, KENNETH DWIGHT   2847 CAMINATA                                                                               GRAND PRAIRIE   TX      75054‐6757
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HINES, KIMBERLY       HERNDON COLEMAN BRADING & MCKEE   104 E MAIN ST                                                   JOHNSON CITY       TN 37604‐5735

HINES, KRISTINA I     2172 PINE HARBOR LN                                                                               LAKE ORION        MI   48360‐1876
HINES, LARRY G        3200 W DIVISION RD                                                                                TIPTON            IN   46072‐8530
HINES, LARRY W        1108 MELROSE DR                                                                                   ANDERSON          IN   46011‐2347
HINES, LAVERN D       6124 WHITE OAK WAY                                                                                DAYTON            OH   45424
HINES, LEIGHANN L     1936 FLINT LOCK CT                                                                                POWHATAN          VA   23139‐6143
HINES, LEO M          557 JADINE DR                                                                                     DEFIANCE          OH   43512‐1324
HINES, LEONARD L      ANDERSON N CALHOUN JR             425 E CONGRESS ST                                               SAVANNAH          GA   31401‐2804
HINES, LINDA F        400 ENCHANTED DR                                                                                  ANDERSON          IN   46013‐1073
HINES, LINDA L        926 JEFFERSON ST                                                                                  YPSILANTI         MI   48197‐5292
HINES, LINDA R        9612 DOVE HOLLOW LN                                                                               GLEN ALLEN        VA   23060‐3223
HINES, LUEDINE        136 N DIAMOND MILL ROAD                                                                           NEW LEBANON       OH   45345‐9629
HINES, LULA D         33 LINWOOD AVENUE #210                                                                            BUFFALO           NY   14209‐2213
HINES, LULA P         4602 BRITTANY RD                                                                                  INDIANAPOLIS      IN   46222‐1364
HINES, MADELINE M     2150 N 100 E                                                                                      KOKOMO            IN   46901‐8595
HINES, MALINDA J      930 HARDING WAY E                                                                                 GALION            OH   44833‐2711
HINES, MARESSIE       8166 POWER INN RD APT 204                                                                         SACRAMENTO        CA   95828‐6733
HINES, MARJORIE L     12624 PAGELS DR APT 110                                                                           GRAND BLANC       MI   48439‐2400
HINES, MARK D         445 TOPPING HILL ROAD                                                                             WESTFIELD         NJ   07090‐2331
HINES, MARVIN E       11646 THORNAPPLE DR                                                                               JACKSONVILLE      FL   32223‐1609
HINES, MARY F         3127 BEGOLE ST                                                                                    FLINT             MI   48504‐2984
HINES, MARY F         37 HINES RD                                                                                       MANGHAM           LA   71259‐5266
HINES, MARY L         4632 SAINT ANTOINE ST                                                                             DETROIT           MI   48201‐1920
HINES, MARY S         17506 SALT FLAT LN                                                                                ROUND ROCK        TX   78664‐7253
HINES, MAXINE L       415 3RD ST APT 4                                                                                  SUNFIELD          MI   48890‐9005
HINES, MAXINE L       415 THIRD STREET APT 4                                                                            SUNFIELD          MI   48890
HINES, MAY R          2162 CEDAR VLY                                                                                    KINGSLAND         TX   78639‐3827
HINES, MELBA          1604 N LONGVIEW ST                                                                                BEAVERCREEK       OH   45432‐2133
HINES, MICHAEL F      9410 OAK GROVE RD                                                                                 HOWELL            MI   48855‐9520
HINES, MICHAEL W      2021 ALTON DR                                                                                     KOKOMO            IN   46901‐4129
HINES, MICHELLIAH J   6705 CRANWOOD DR                                                                                  FLINT             MI   48505‐1960
HINES, MILDRED I      875 W AVON RD APT 213C                                                                            ROCHESTER HILLS   MI   48307‐2776
HINES, NAOMI          1401 N BROADWAY ST APT 114                                                                        GREENVILLE        OH   45331‐4304
HINES, NICOLE C       3238 GLENDALE ST                                                                                  DETROIT           MI   48238‐3333
HINES, NOAH J         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510‐2212
                                                        STREET, SUITE 600
HINES, NORMAN P       1721 DIFFORD DR                                                                                   NILES             OH   44446‐2833
HINES, OLIN R         164 SKYLAND DR                                                                                    MERIDIAN          MS   39301‐9708
HINES, OPAL M         314 1ST ST                                                                                        HOT SPRINGS       AR   71913‐4455
HINES, ORA B          2557 VAN DYKE ST                                                                                  DETROIT           MI   48214‐4904
HINES, PAMELA S       3002 MELVILLE COURT                                                                               SPRING HILL       TN   37174‐8566
HINES, PATRICK E      11641 MCCREARYS RDG                                                                               FLORENCE          IN   47020‐8527
HINES, PEARLENE       PO BOX 2126                                                                                       WARREN            OH   44484‐0126
HINES, PENNY          14348 BURR ST                                                                                     TAYLOR            MI   48180
HINES, PHILIP C       PO BOX 851003                                                                                     WESTLAND          MI   48185‐6103
HINES, RALPH D        9828 SHEPHERDS DR                                                                                 KANSAS CITY       MO   64131‐3217
HINES, RAY F          203 W CHARLES ST                                                                                  CHAMPAIGN         IL   61820‐5101
HINES, RAYMOND        15713 PREST ST                                                                                    DETROIT           MI   48227‐2324
HINES, REGINALD L     19785 W. 12 MILE RD #203                                                                          SOUTHFIELD        MI   48076
HINES, RICHARD        HERNDON COLEMAN BRADING & MCKEE   104 E MAIN ST                                                   JOHNSON CITY      TN   37604‐5735

HINES, RICHARD D      810 SUNGLOW ST                                                                                    VILLA HILLS       KY   41017‐1130
HINES, RICHARD I      2205 N MARIE ST                                                                                   WESTLAND          MI   48185‐3232
                          09-50026-mg            Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                      Address1                            Address2                      Address3   Address4               City             State Zip
HINES, RICHARD L          7424 S WOODROW DR                                                                                   PENDLETON         IN 46064‐9087
HINES, ROBERT A           2592 PINECREST DR                                                                                   ADRIAN            MI 49221‐1128
HINES, ROBERT D           114 1/2 N 6TH ST                                                                                    ZANESVILLE        OH 43701
HINES, ROBERT E           3724 PINCKNEY RD                                                                                    HOWELL            MI 48843‐7803
HINES, ROBERT H           855 W JEFFERSON ST LOT 44E                                                                          GRAND LEDGE       MI 48837‐1380
HINES, ROBERT J           2150 N 100 E                                                                                        KOKOMO            IN 46901‐8595
HINES, ROBERT J           6806 DANA LN                                                                                        FLINT             MI 48504‐1678
HINES, ROBERT J           789 CORWIN CT                                                                                       PONTIAC           MI 48340‐2415
HINES, ROBERT L           5490 PROVINCIAL DR                                                                                  BLOOMFIELD HILLS  MI 48302‐2539
HINES, ROBERT L.          5490 PROVINCIAL DR                                                                                  BLOOMFIELD HILLS  MI 48302‐2539
HINES, ROBERT M           2387 W MOHEE RD                                                                                     HARTFORD CITY     IN 47348
HINES, ROBERT P           136 LAKE ST                                                                                         CHESTERFIELD      IN 46017‐1007
HINES, ROBERT R           120 CLEARVIEW LN                                                                                    FRANKLIN          OH 45005‐2391
HINES, ROBERT W           2838 S PENNSYLVANIA ST                                                                              INDIANAPOLIS      IN 46225‐2323
HINES, ROBERTA L          252 E HIGH ST                                                                                       MILTON            WI 53563‐1622
HINES, ROGER S            400 LONGCASTLE DR APT 2                                                                             GREENCASTLE       IN 46135‐2454
HINES, RONALD A           1150 ALVATON GREENHILL RD                                                                           BOWLING GREEN     KY 42103‐9052
HINES, RONALD ALEXANDER   1150 ALVATON GREENHILL RD                                                                           BOWLING GREEN     KY 42103‐9052
HINES, RONALD D           102 S KANSAS                                                                                        DANVILLE           IL 61832
HINES, RONALD E           506 PARKWAY AVE                                                                                     EWING             NJ 08618‐2508
HINES, ROSALIE            6329 SE 49TH AVE                                                                                    PORTLAND          OR 97206
HINES, ROSE M             1417 PIUS                                                                                           SAGINAW           MI 48603‐6502
HINES, ROSE M             1417 PIUS ST                                                                                        SAGINAW           MI 48638‐6502
HINES, ROWENA F           2710 CEDARBROOK WAY                                                                                 BEAVERCREEK       OH 45431‐7706
HINES, RUDOLPH V          64 GRESHAM DR                                                                                       BUFFALO           NY 14226‐2946
HINES, RUTH R             1419 WOODLEY RD                                                                                     DAYTON            OH 45403‐1631
HINES, RYAN H             15775 LAKESIDE VILLAGE DR APT 306                                                                   CLINTON TOWNSHIP MI 48038‐6107

HINES, SAMANTHA L         866 GIRKIN BOILING SPRINGS RD                                                                       BOWLING GREEN    KY   42101‐8629
HINES, SAMUEL             4741 S COUNTY ROAD 25 W                                                                             NEW CASTLE       IN   47362‐9622
HINES, SAMUEL CLIFFORD    875 JOCK RD                                                                                         BEE SPRING       KY   42207‐9390
HINES, SANDRA L           PO BOX 47106                                                                                        OAK PARK         MI   48237‐4806
HINES, SANDRA S           500 N LIBERTY ST APT 5                                                                              BELLEVILLE       MI   48111‐2657
HINES, SCOTT JOE          8829 BREAKWATER DR                                                                                  FORT WAYNE       IN   46804‐4805
HINES, SHEPWARD R         6705 CRANWOOD DR                                                                                    FLINT            MI   48505‐1960
HINES, SIM                5916 HANSON DR                                                                                      WATAUGA          TX   76148‐3516
HINES, STEPHEN M          311 S HUFFMAN ST                                                                                    JASONVILLE       IN   47438‐1702
HINES, SUZANNE            3724 PINCKNEY RD                                                                                    HOWELL           MI   48843‐7803
HINES, SYVILLA P          PO BOX 1712                                                                                         INDEPENDENCE     MO   64055‐0712
HINES, TED J              405 S STATE ROUTE CC                                                                                PLEASANT HILL    MO   64080‐1596
HINES, THEODORA E         3220 AUTUMN DR                                                                                      ANTIOCH          TN   37013‐1208
HINES, THERESA H          354 ALDEN BRIDGE LOOP                                                                               BENTON           LA   71006‐8618
HINES, THERESA M          15 CHERRY HILL LANE                                                                                 MERIDEN          CT   06450‐4433
HINES, THOMAS             3238 GLENDALE ST                                                                                    DETROIT          MI   48238‐3333
HINES, THOMAS L           23 N SQUIRREL RD                                                                                    AUBURN HILLS     MI   48326‐4002
HINES, TIMOTHY A          8829 BREAKWATER DR                                                                                  FORT WAYNE       IN   46804‐4805
HINES, TIMOTHY ALLEN      8829 BREAKWATER DR                                                                                  FORT WAYNE       IN   46804‐4805
HINES, TURNER             672 E LITTLE CREEK RD                                                                               CEDAR HILL       TX   75104‐7212
HINES, VERAL L            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA   23510‐2212
                                                              STREET, SUITE 600
HINES, VIRGINIA           3692 LITTLE YORK RD                                                                                 DAYTON           OH   45414
HINES, VIRGINIA B.        26257 PEPPER RD                     C/O KENNETH MICHAEL HINES                                       ATHENS           AL   35613‐6848
HINES, VIRGINIA B.        C/O KENNETH MICHAEL HINES           26257 PEPPER ROAD                                               ATHENS           AL   35613‐6848
HINES, WANDA ROBERTS      5218 OLD SPRINGFIELD ROAD                                                                           TIPP CITY        OH   45371‐5371
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Name                               Address1                          Address2                       Address3                 Address4                  City             State   Zip
HINES, WARDIE B                    303 CUMMINGS DR                                                                                                     GOWER             MO     64454
HINES, WILLIAM D                   1336 CEDAR CT                                                                                                       BEAVER DAM        KY     42320‐9528
HINES, WILLIAM E                   121 MEADOWBROOK DR                                                                                                  EATON             OH     45320‐2271
HINES, WILLIAM J                   1486 COOPERS GAP RD                                                                                                 RUTHERFORDTON     NC     28139‐8662
HINES, WILLIE J                    PO BOX 271                                                                                                          BOLIGEE           AL     35443‐0271
HINES, WILLIE M                    14919 TRACEY ST                                                                                                     DETROIT           MI     48227‐3272
HINES‐MURPHY, BENNITA R            19251 LEXINGTON                                                                                                     REDFORD           MI     48240‐2618
HINESLEY, CHARLES R                PO BOX 7009                                                                                                         DEFIANCE          OH     43512‐7009
HINESLEY, IRVIN E                  3660 PAUL SAMUEL RD NW                                                                                              KENNESAW          GA     30152‐4031
HINESLEY, JEAN                     3204 E 236TH ST                                                                                                     CICERO            IN     46034‐9483
HINESLEY, JOHN T                   1073 ALYDAR CIR                                                                                                     INDIANAPOLIS      IN     46217‐3997
HINESLEY, RONNIE E                 PO BOX 187                                                                                                          SULPHUR SPGS      IN     47388‐0187
HINEY JR, FRANK L                  7495 DAYTON GERMANTOWN PIKE                                                                                         GERMANTOWN        OH     45327‐9632
HINEY, CLEO E                      1437 MASSACHUSETTS DR                                                                                               XENIA             OH     45385
HINEY, DAVID R                     C/O ROBERT D HINEY                3023 LINDEN LN                                                                    FLINT             MI     48507
HINEY, DAVID R                     11523 E BROOKS RD                                                                                                   LENNON            MI     48449‐9504
HINEY, DONNA D                     502 SILVER MAPLE DR                                                                                                 HARRISONVILLE     MO     64701‐3901
HINEY, DONNA D                     415 W FARMER ST # 2                                                                                                 INDEPENDENCE      MO     64050‐2721
HINEY, JOHN C                      2321 DAKOTA APT B                                                                                                   FLINT             MI     48506
HINEY, JOSEPH M                    2410 WINDEMERE AVE                                                                                                  FLINT             MI     48503‐2203
HINEY, JOSEPH MICHAEL              2410 WINDEMERE AVE                                                                                                  FLINT             MI     48503‐2203
HINEY, ROBERT K                    2459 NEEDMORE RD                                                                                                    XENIA             OH     45385‐9632
HING HUNG MOK                      ROOM 1402                         HENLEY BUILDING                5 QUEEN'S ROAD CENTRAL
HING HUNG MOK                      ROOM 802                          CHAMPION BUILDING              301‐309 NATHAN ROAD      KOWLOON HONG KONG,
                                                                                                                             CHINA
HING LIN CHAN/SHUK YI LIU IVY      3A BLOCK 32 GREENWOOD TERRACE     26‐28 SUI WO ROAD                                       FO TAN SHATIN HONG KONG

HING, LYNDA E                      879 PLANTATION BLVD                                                                                                 GALLATIN          TN     37066‐4497
HINGA, WILLIAM K                   15600 EAST O.P. AVE BOX 158                                                                                         CLIMAX            MI     49034
HINGER ENGINEERING INC             2512 CHAMBERS RD STE 205                                                                                            TUSTIN            CA     92780‐6957
HINGER, JOHN E                     STE 411                           17 HAMMOND                                                                        IRVINE            CA     92618‐1635
HINGER, JOHN E
HINGERTON GARY (499328)            LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                                           MIAMI             FL     33143‐5163
HINGERTON, GARY                    THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD        SUITE 44                                           CORAL GABLES      FL     33146
HINGERTON, GARY                    LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                                           MIAMI             FL     33143‐5163
HINGMAN MILLER SCHWARTZ AND COHN   ATTN: JOEL S. ADELMAN, ESQUIRE    2290 FIRST NATIONAL BUILDING                                                      DETROIT           MI     48226

HINGORANI, ARUN G                  42762 SHORTRIDGE DR                                                                                                 STERLING HTS      MI     48314‐2827
HINGST                             V.A. HINGST CONSULTING            3455 REGENCY PARK DR.                                                             FLINT             MI     48532
HINGST, EDNA VIOLA                 21100 33 MILE ROAD                                                                                                  ARMADA            MI     48005‐3702
HINGST, JOHN E                     2967 STEPHANIE CT                                                                                                   WATERFORD         MI     48329‐4364
HINGST, JOHN W                     PO BOX 571                                                                                                          TANNER            AL     35671‐0571
HINGST, WARD W                     3890 RESEDA RD                                                                                                      WATERFORD         MI     48329‐2555
HINGTGEN MERLIN T (361439)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                       NORFOLK           VA     23510
                                                                     STREET, SUITE 600
HINGTGEN, MERLIN T                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                       NORFOLK           VA     23510‐2212
                                                                     STREET, SUITE 600
HINH, NANG V                       571 LAUREL GROVE CT                                                                                                 CINCINNATI       OH      45244‐1448
HINICH, MANE                       8215 NORTHCOTE AVE                                                                                                  MUNSTER          IN      46321‐1401
HININGER MARY                      13100 KANSAS AVE STE C                                                                                              BONNER SPRINGS   KS      66012‐9296
HINKEBEIN, JOANNE E                18931 GERONIMO COURT                                                                                                INDEPENDENCE     MO      64056
HINKEBEIN, JOANNE E                18931 E GERONIMO CT                                                                                                 INDEPENDENCE     MO      64056‐2254
HINKEBEIN, VINCENT T               15208 E 40TH ST S                                                                                                   INDEPENDENCE     MO      64055‐4105
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Name                         Address1                         Address2                         Address3                     Address4                 City             State Zip
HINKEL CHRISTINE             69 JOY DR APT H2                                                                                                        SOUTH BURLINGTON VT 05403‐6173

HINKEL JR, FLOYD L           15411 CYNTHIA ST                                                                                                        SOUTHGATE          MI   48195‐2012
HINKEL ROBERTA               HINKEL, ROBERTA                  13937 81ST ST NE                                                                       EDINBURG           ND   58227
HINKEL, ALLAN D              11379 STATE ROUTE 177                                                                                                   CAMDEN             OH   45311‐9616
HINKEL, FRANKLIN M           3379 E 350 N                                                                                                            MARION             IN   46952‐9635
HINKEL, JAMES P              1900 SE 12TH ST                                                                                                         MOORE              OK   73160‐8361
HINKEL, JAMES W              4709 MCGREEVY DR                                                                                                        FAIRFIELD          OH   45014
HINKEL, JEAN L               2001 WESLEY AVE #106                                                                                                    JANESVILLE         WI   53545‐2681
HINKEL, JEFFREY A            2090 MORAN AVE                                                                                                          LINCOLN PARK       MI   48146‐3736
HINKEL, LARRY J              1449 CLOVERNOOK DR                                                                                                      HAMILTON           OH   45013‐3842
HINKEL, ROBERTA              13937 81ST ST NE                                                                                                        EDINBURG           ND   58227
HINKEL, ROBERTA              12937 81ST ST NE                                                                                                        EDINBURG           ND   58227‐9631
HINKEL, WALTER C             9121 BEAVER BROOK WAY                                                                                                   CHARLOTTE          NC   28277‐1733
HINKELMAN, ROY A             8522 LAGOON RD                                                                                                          FORT MYERS BEACH   FL   33931‐5216

HINKEN, GORDON G             10845 PERCY LN LOT 36                                                                                                   MECOSTA            MI   49332‐9410
HINKEY, JOHN B               6680 ROLLIN DR APT C                                                                                                    BOSTON             NY   14025‐9615
HINKINS, JAMES S             13240 W SHORE DR                                                                                                        MILLERSBURG        MI   49759‐9210
HINKINS, NANCY LEE           1421 WEXFORD DR                                                                                                         DAVISON            MI   48423‐8340
HINKLE ANTHONY               HINKLE, ANTHONY                  YUHL RHAMES & ATKINSON\\,LLP     4676 ADMIRALTY WAY STE 550                            MARINA DL REY      CA   90292‐5660

HINKLE CONTRACTING CORP.     THOMAS BRANNOCK                  395 N MIDDLETOWN RD                                                                    PARIS              KY   40361‐2138
HINKLE DONALD W & LINDA A    15892 CREED RD                                                                                                          DIAMOND            OH   44412‐9606
HINKLE JAMES H (411840)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                            NORFOLK            VA   23510
                                                              STREET, SUITE 600
HINKLE JAMES V SR (347956)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                            NORFOLK            VA   23510
                                                              STREET, SUITE 600
HINKLE JEFFREY               HINKLE, JEFFREY                  16133 VENTURA BLVD STE 700                                                             ENCINO             CA   91436‐2406
HINKLE JR, RALPH H           G4431 WICKFIELD DR                                                                                                      FLINT              MI   48507
HINKLE LISA J                105 S 6TH ST                                                                                                            CONTINENTAL        OH   45831‐9167
HINKLE MANUFACTURING INC     PO BOX 60210                                                                                                            ROSSFORD           OH   43460‐0210
HINKLE MANUFACTURING INC     348 D ST                                                                                                                PERRYSBURG         OH   43551
HINKLE MANUFACTURING INC     BURT JAMIESON                    5TH&D ST.PO4265/AMPOINT IND PK                                BERLIN 13355 GERMANY
HINKLE MANUFACTURING INC     PO BOX 60210                     348 D ST                                                                               ROSSFORD           OH   43460‐0210
HINKLE MANUFACTURING LLC     6340 MILLER RD                                                                                                          DEARBORN           MI   48126‐2310
HINKLE MANUFACTURING, INC.   BURT JAMIESON                    5TH&D ST.PO4265/AMPOINT IND PK                                BERLIN 13355 GERMANY
HINKLE MFG/ROSSFORD          PO BOX 60210                                                                                                            ROSSFORD           OH   43460‐0210
HINKLE WALLACE D (429105)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                            NORFOLK            VA   23510
                                                              STREET, SUITE 600
HINKLE, A                    1223 MILITARY                                                                                                           DETROIT            MI   48209
HINKLE, ANTHONY              YUHL RHAMES & ATKINSON\\,LLP     4576 ADMIRALTY WAY               STE 550                                               MARINA DEL REY     CA   90292
HINKLE, ARTHUR               160 JAYNES RD                                                                                                           TAZEWELL           TN   37879‐4611
HINKLE, AZA L                5001 MIAMI LN                                                                                                           FLINT              MI   48504‐5400
HINKLE, AZA LEE              5001 MIAMI LN                                                                                                           FLINT              MI   48504‐5400
HINKLE, BOBBY J              23535 LAURA LEIGH LN                                                                                                    ATHENS             AL   35613‐6045
HINKLE, BRENDA S             423 N JOHNSON ST                                                                                                        PONTIAC            MI   48342‐1035
HINKLE, BRUCE W              459 EDITH BLVD                                                                                                          HUNTINGTON         IN   46750‐1303
HINKLE, CARL R               133 MOREY HYDER RD                                                                                                      JOHNSON CITY       TN   37601‐6251
HINKLE, CAROL L              2309 S 625 E                                                                                                            BRINGHURST         IN   46913‐9525
HINKLE, CAROL W              4315 HEATHROW DR                                                                                                        ANDERSON           IN   46013‐4429
HINKLE, CAROLYN S            3600 E 88TH AVE LOT 121                                                                                                 DENVER             CO   80229‐5235
HINKLE, CHARLES D            4096 RELLIM AVE NW                                                                                                      WARREN             OH   44483‐2040
HINKLE, CLINT A              312 SOUTH WASHINGTON STREET                                                                                             ANDERSON           IN   46017‐1629
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Name                    Address1                         Address2                       Address3   Address4               City            State   Zip
HINKLE, CRAIG S         1001 YVONNE DR                                                                                    JOSHUA           TX     76058‐4713
HINKLE, D M             9390 EARHART RD                                                                                   SOUTH LYON       MI     48178‐9608
HINKLE, DALE            1211 CHARLESTON COMMONS DR                                                                        ANDERSON         IN     46012‐4596
HINKLE, DANIEL M        1315 CARRILON WOODS DR.                                                                           CENTERVILLE      OH     45458‐2927
HINKLE, DANIEL R        8963 S NEW LOTHROP RD                                                                             DURAND           MI     48429‐9447
HINKLE, DANIEL R        716 QUAIL DR                                                                                      SAGINAW          TX     76131
HINKLE, DANIEL ROBERT   8963 S NEW LOTHROP RD                                                                             DURAND           MI     48429‐9447
HINKLE, DAVID J         444 CORNELIA STREET                                                                               JANESVILLE       WI     53545‐3123
HINKLE, DENNIS D        1957 DURHAM LN                                                                                    THE VILLAGES     FL     32162‐6303
HINKLE, DENNIS R        145 LOCUST AVE                                                                                    WINCHESTER       VA     22601‐4943
HINKLE, DENNIS RAY      145 LOCUST AVE                                                                                    WINCHESTER       VA     22601‐4943
HINKLE, DONALD E        2624 S 1050 E.                                                                                    INDIANAPOLIS     IN     46231
HINKLE, DONALD P        112 GULLY BRANCH LN UNIT 3                                                                        MYRTLE BEACH     SC     29572‐5573
HINKLE, DONALD W        15892 CREED RD                                                                                    DIAMOND          OH     44412‐9606
HINKLE, DONNA B         1535 HIRAM AVE APT 4                                                                              NILES            OH     44446‐4053
HINKLE, DONNA B         1535 HIRAM STREET                APT 4                                                            NILES            OH     44446‐4446
HINKLE, DORIS           913 CR 731                                                                                        VENUS            FL     33960‐2116
HINKLE, DOROTHY A       405 HAMPTON DR                                                                                    DURAND           MI     48429‐1411
HINKLE, DOROTHY A       405 N HAMPTON DR                                                                                  DURAND           MI     48429‐1411
HINKLE, DOROTHY F       94 HOWES ST                                                                                       PORT ORANGE      FL     32127‐5428
HINKLE, DORSE           7164 CROWN POINTE DR                                                                              LIBERTY TWP      OH     45011‐7255
HINKLE, EARL J          5955 DOVE RD                                                                                      KIMBALL          MI     48074‐2509
HINKLE, EDNA C          180 BELMONT AVE NE               C/O GAIL PARHAM                                                  WARREN           OH     44483‐4937
HINKLE, ELIZABETH A
HINKLE, ELLSWORTH       7714 TWIN OAKS RD                                                                                 SEVERN          MD      21144‐1133
HINKLE, ELMER C         1905 PLEASANT VIEW DR                                                                             JOHNSON CITY    TN      37604‐7233
HINKLE, ELMO E          2387 FISHER ST                                                                                    MELVINDALE      MI      48122‐1907
HINKLE, ELSE K          23701 HARVEST DR                                                                                  NOVI            MI      48375‐3147
HINKLE, EMILY J
HINKLE, FRANK W         3453 RENAISSANCE COURT                                                                            FRANKLIN        OH      45005‐9675
HINKLE, FRANKLIN D      913 COUNTY ROAD 731                                                                               VENUS           FL      33960‐2116
HINKLE, FRED E          3606 JUDSON RD                                                                                    KOKOMO          IN      46901‐1780
HINKLE, GARY L          MORAITAKIS KUSHEL & PEARSON      3445 PEACHTREE RD NE STE 425                                     ATLANTA         GA      30326‐3239
HINKLE, GARY L          COBEN & ASSOCIATES               8710 E VISTA BONITA DR                                           SCOTTSDALE      AZ      85255‐4299
HINKLE, GEORGE F        3811 TUTTLE ST                                                                                    DANVILLE        IL      61832‐1039
HINKLE, GREGORY A       506 STOLL RD                                                                                      LANSING         MI      48917‐3421
HINKLE, HERBERT J       4639 S BLACKBERRY CT                                                                              NEW PALESTINE   IN      46163‐9015
HINKLE, HERSCHEL T      PO BOX 397                                                                                        LAPEL           IN      46051‐0397
HINKLE, HUBERT D        4315 HEATHROW DR                                                                                  ANDERSON        IN      46013‐4429
HINKLE, IRA C           16050 A ST                                                                                        OKLAHOMA CITY   OK      73165‐6752
HINKLE, IRA CHARLES     16050 A STREET                                                                                    OKLAHOMA CITY   OK      73165‐6752
HINKLE, JAMES           5417 DUPONT ST                                                                                    FLINT           MI      48505‐2650
HINKLE, JAMES C         5821 KESHENA CT                                                                                   LIBERTY TWP     OH      45011‐2345
HINKLE, JAMES C         23701 HARVEST DR                                                                                  NOVI            MI      48375‐3147
HINKLE, JAMES F         881 AUBURN DR                                                                                     BILOXI          MS      39532‐3217
HINKLE, JAMES H         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA      23510‐2212
                                                         STREET, SUITE 600
HINKLE, JAMES M         2527 BROWNELL BLVD                                                                                FLINT            MI     48504‐2757
HINKLE, JAMES MICHAEL   2527 BROWNELL BLVD                                                                                FLINT            MI     48504‐2757
HINKLE, JAMES V         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA     23510‐2212
                                                         STREET, SUITE 600
HINKLE, JEFFREY A       15778 DREAM CATCHER                                                                               PINCKNEY        MI      48169‐9638
HINKLE, JEFFREY C       35 BARRINGTON DR                                                                                  SAINT PETERS    MO      63376‐4509
HINKLE, JIMMIE L        143 EDGEMONT CT                                                                                   LA GRANGE       GA      30240
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Name                  Address1                              Address2                      Address3   Address4               City            State   Zip
HINKLE, JIMMIE L      PO BOX 5431                                                                                           FLINT            MI     48505‐0431
HINKLE, JOHN M        31618 BOCK ST                                                                                         GARDEN CITY      MI     48135‐1437
HINKLE, JOYCE A       106 E NORTH ST                                                                                        WORTHINGTON      OH     43085‐4030
HINKLE, JR,DONALD M   5972 E 500 S                                                                                          KOKOMO           IN     46902‐9712
HINKLE, JUNE I        C/O TRINITY COMMUNITY ‐ HEALTH CARE   3218 INDIAN RIPPLE ROAD                                         DAYTON           OH     45440
                      CENTER
HINKLE, LESSIE B      820 RIVERVIEW AVE                                                                                     LANSING         MI      48915‐1034
HINKLE, LESTER        6217 VINEYARD TRCE                                                                                    AMELIA          OH      45102‐2317
HINKLE, LINDA G       633 ROSEGARDEN DR NE                                                                                  WARREN          OH      44484‐1834
HINKLE, LISA J        105 S 6TH ST                                                                                          CONTINENTAL     OH      45831‐9167
HINKLE, LLOYD K       33879 BROOKSHIRE DR                                                                                   STERLING HTS    MI      48312‐6511
HINKLE, LLOYD R       1309 LEBARON CV                                                                                       HUNTERTOWN      IN      46748‐9257
HINKLE, LONNIE M      1224 MAYNARD RD                                                                                       PORTLAND        MI      48875‐9601
HINKLE, LUTHER E      1811 S INDIANA AVE                                                                                    KOKOMO          IN      46902‐2059
HINKLE, MAPLE         1656 MADISON 217                                                                                      FREDERICKTOWN   MO      63645
HINKLE, MARGARET E    163 E 2ND ST                                                                                          PERU            IN      46970‐2328
HINKLE, MARGARET J    1224 MAYNARD RD                                                                                       PORTLAND        MI      48875‐9601
HINKLE, MARGARET M    492 HOMEWOOD AVE SE                                                                                   WARREN          OH      44483‐6008
HINKLE, MARK          3071 W 915 N DRIVE                                                                                    HUNTINGTON      IN      46750
HINKLE, MARY J        1310 E CENTERVILLE STATION RD                                                                         CENTERVILLE     OH      45459‐5527
HINKLE, MARY J        1310 CENTERVILLE STATION RD                                                                           CENTERVILLE     OH      45459‐5527
HINKLE, MAX R         215 GREEN ST                                                                                          TIPTON          IN      46072‐1634
HINKLE, MICHAEL       105 S 6TH ST                                                                                          CONTINENTAL     OH      45831‐9167
HINKLE, MICHAEL D     2638 CORAL RIDGE CT                                                                                   W CARROLLTON    OH      45449‐2834
HINKLE, NANCY A
HINKLE, NELSON W      13390 ST RT 725                                                                                       GERMANTOWN      OH      45327‐9755
HINKLE, NELSON W      13390 STATE ROUTE 725                                                                                 GERMANTOWN      OH      45327‐9755
HINKLE, ORVILLE R     1026 TOWNSHIP ROAD 2156                                                                               ASHLAND         OH      44805‐9437
HINKLE, PAUL          3264 LAFAYETTE ST NE                                                                                  WARREN          OH      44483‐2357
HINKLE, PAUL B        PO BOX 238                                                                                            SOUTHINGTON     OH      44470‐0238
HINKLE, RAYMOND H     5571 NOEL ST                                                                                          LOUISVILLE      OH      44641‐8679
HINKLE, ROBERT C      193 DECCA DR                                                                                          WHITE LAKE      MI      48386‐2122
HINKLE, ROBERT D      PO BOX 3018                                                                                           SARASOTA        FL      34230‐3018
HINKLE, ROBERT D      PO BOX 1374                                                                                           DANA            IN      47847‐1374
HINKLE, ROBERT D      9741 S PRICETOWN RD                                                                                   BERLIN CENTER   OH      44401‐8705
HINKLE, ROBERT E      17895 S FAIRLAWN RD                                                                                   SCRANTON        KS      66537‐9331
HINKLE, ROBERT G      517 N MAIN ST                                                                                         GERMANTOWN      OH      45327‐1013
HINKLE, ROBERT W      405 N HAMPTON DR                                                                                      DURAND          MI      48429‐1411
HINKLE, RONALD W      781 N 1100 W                                                                                          KEMPTON         IN      46049‐9787
HINKLE, SANDRA L      459 EDITH BLVD                                                                                        HUNTINGTON      IN      46750
HINKLE, SEAN S        35 BARRINGTON DR                                                                                      SAINT PETERS    MO      63376‐4509
HINKLE, STEVEN L      7512 NW 37TH ST                                                                                       BETHANY         OK      73008‐3239
HINKLE, SUSAN K       1301 TROTWOOD LN                                                                                      FLINT           MI      48507‐3701
HINKLE, THELMA A      2709 LORIS DR                                                                                         DAYTON          OH      45449‐3226
HINKLE, THEODORE M    206 W STRUB RD                                                                                        SANDUSKY        OH      44870‐5777
HINKLE, THOMAS W      6910 SHERMAN ST                                                                                       ANDERSON        IN      46013‐3616
HINKLE, TIM D         11007 INDEPENDENCE BLVD                                                                               KANSAS CITY     KS      66109
HINKLE, TONY W        5338 S US HIGHWAY 35                                                                                  WALTON          IN      46994‐8936
HINKLE, VERSIA        871 COLES BRANCH RD                                                                                   FLAT LICK       KY      40935‐6305
HINKLE, VIVIAN M      3445 TOWNLINE 12 ROAD                                                                                 WILLARD         OH      44890
HINKLE, WALLACE D     GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510
                                                            STREET, SUITE 600
HINKLE, WESLEY G      4855 AVION WAY                                                                                        SAN DIEGO       CA      92115‐1006
HINKLE, WESTWOOD S    41696 ORCHARD CT                                                                                      ELYRIA          OH      44035‐2426
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Name                                   Address1                           Address2                 Address3    Address4               City            State   Zip
HINKLE, WILLIAM G                      1656 MADISON 217                                                                               FREDERICKTOWN    MO     63645‐8227
HINKLE, WILLIAM R                      977 N WOOD RIVER AVE                                                                           WOOD RIVER        IL    62095‐1235
HINKLE, WILLIAM S                      722 NAVAJO TRL                                                                                 MACEDONIA        OH     44056‐1235
HINKLE,ROBERT G                        517 N MAIN ST                                                                                  GERMANTOWN       OH     45327‐1013
HINKLEY CHEVROLET, INC.                CHARLES HINKLEY                    150 3RD ST NE                                               WELLS            MN     56097‐1511
HINKLEY CHEVROLET, PONTIAC, BUICK      150 3RD ST NE                                                                                  WELLS            MN     56097‐1511
HINKLEY, ALAN C                        2338 W HUCKLEBERRY RD                                                                          SANFORD          MI     48657
HINKLEY, BERNARD L                     8087 ISLAND VIEW DR                                                                            NEWAYGO          MI     49337‐9215
HINKLEY, EDWARD J                      1554 SHOECRAFT RD                                                                              PENFIELD         NY     14526‐9707
HINKLEY, GARY L                        9170 SILVER LAKE RD                                                                            LINDEN           MI     48451‐9643
HINKLEY, GARY LEE                      9170 SILVER LAKE RD                                                                            LINDEN           MI     48451‐9643
HINKLEY, JAMES W                       301 WILDWOOD DR                                                                                PRUDENVILLE      MI     48651‐9415
HINKLEY, JOYCE                         1108 N HENRY                                                                                   BAY CITY         MI     48706‐3641
HINKLEY, LARRY C                       2061 KENT DR                                                                                   DAVISON          MI     48423‐2347
HINKLEY, MARK A                        8087 ISLAND VIEW DR                                                                            NEWAYGO          MI     49337‐9215
HINKLEY, MARK A                        13957 FERRIS AVE                                                                               GRANT            MI     49327
HINKLEY, PAUL E                        106 HARDING ST                                                                                 MEDFIELD         MA     02052‐1020
HINKLEY, PETER S                       1107 LAKE SHORE DR                                                                             NAPLES           FL     34103‐8935
HINKLEY, PETER S                       6105 LEAGROVE CT                                                                               ARLINGTON        TX     76016‐3734
HINKLEY, RALPH B                       180 W 6TH ST                       P O BOX 235                                                 ROANOKE          IN     46783‐1034
HINKLEY, RICHARD D                     14 KENDALL LN                                                                                  HARWICH          MA     02645‐1610
HINKLEY, RICHARD D                     14 KENDALL LANE                                                                                HARWICH          MA     02645‐1610
HINKLEY, RODNEY K                      124 KINGSBERRY DR                                                                              ROCHESTER        NY     14626
HINKLEY, RONALD A                      5228 STURGEON AVE                                                                              MIDLAND          MI     48640
HINKLEY, RONALD E                      83 BRENTWOOD DR                                                                                CHEEKTOWAGA      NY     14227‐3249
HINKLEY, RONALD EUGENE                 83 BRENTWOOD DR                                                                                CHEEKTOWAGA      NY     14227‐3249
HINKLEY, ROSALINDE                     2416 WESTSIDE DR                                                                               NORTH CHILI      NY     14514
HINKLEY, STEVEN L                      12055 RICH AVE                                                                                 GRANT            MI     49327‐8922
HINKLEY, TOMMY D                       5068 WYNDEMERE SQ                                                                              SWARTZ CREEK     MI     48473
HINKLEY‐MORRISON, TAMARA L             4095 REID RD                                                                                   SWARTZ CREEK     MI     48473
HINKLIN, HAROLD N                      208 8TH AVE                                                                                    GALION           OH     44833‐3030
HINKO, DARRYL J                        30 E PLEASANT GROVE RD                                                                         JACKSON          NJ     08527‐4233
HINKS, JOHN G                          20 GOLANV CT                                                                                   BREVARD          NC     28712‐9212
HINKS, LAWRENCE G                      51 SUNSET DR                                                                                   SEVERNA PARK     MD     21146‐3229
HINKSON JAMES H (ESTATE OF) (627037)   PAUL REICH & MYERS P.C.            1608 WALNUT ST STE 500                                      PHILADELPHIA     PA     19103‐5446

HINKSON, ARNOLD L                      301 BELVEDERE CT                                                                               PUNTA GORDA     FL      33950‐6422
HINKSON, CARL D                        350 N DARBY RD                                                                                 HERMITAGE       PA      16148‐9311
HINKSON, DONALD G                      215 EAST WATTLES ROAD                                                                          TROY            MI      48085‐4737
HINKSON, JAMES H                       PAUL REICH & MYERS P.C.            1608 WALNUT ST STE 500                                      PHILADELPHIA    PA      19103‐5446
HINKSON, WILLIAM C                     54233 FRANKLIN DR                                                                              SHELBY TWP      MI      48316‐1614
HINKSTON, BRUCE D                      130 BRIARWOOD ST                                                                               MOORE           OK      73160‐4710
HINKSTON, BRUCE D                      14891 NE 63RD ST                                                                               CHOCTAW         OK      73020‐7540
HINKSTON, HARRY E                      1071 PELICAN PL                                                                                MASON           MI      48854‐9651
HINLEY, J                              4380 S WASHINGTON RD                                                                           SAGINAW         MI      48601‐5178
HINMAN, ALLEN                          1431 ARBOR DR                                                                                  LAKE            MI      48632‐8957
HINMAN, ANN B                          181 HIGHLAND ST                                                                                PLYMOUTH        NH      03264‐3604
HINMAN, CHRISTOPHER                    1717 16TH AVENUE                                                                               MENOMINEE       MI      49858‐2533
HINMAN, CURTIS G                       7602 E GLADWIN RD                                                                              HARRISON        MI      48625‐7353
HINMAN, DENNIS D                       319 LOCKERBIE LN                                                                               PITTSBORO       IN      46167‐8930
HINMAN, ELVA                           C/O IND VIL 255 MAYER #258                                                                     FRANKENMUTH     MI      48734
HINMAN, GARY L                         PO BOX 291                         3217 BIG CREEK RD                                           LUZERNE         MI      48636‐0291
HINMAN, GERALD E                       929 COMMERCIAL ST                                                                              COVINGTON       IN      47932‐1338
HINMAN, GERRY M                        11416 LAKE RD                                                                                  OTISVILLE       MI      48463‐9770
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Name                             Address1                         Address2                      Address3           Address4                 City            State   Zip
HINMAN, HARLEY L                 681 LAKEVIEW ST                                                                                            HARRISON         MI     48625‐9246
HINMAN, HERMAN C                 1208 APPLE GROVE RD                                                                                        MELBOURNE        FL     32901‐2804
HINMAN, KENNETH W                PO BOX 111                                                                                                 ATTICA           MI     48412‐0111
HINMAN, KEVIN M                  281 WASHINGTON RD                                                                                          GROSSE POINTE    MI     48230‐1613
HINMAN, LAWRENCE P               10745 N COOLIDGE AVE                                                                                       HARRISON         MI     48625‐8783
HINMAN, MARK A                   5223 CYPRESS CIR                                                                                           GRAND BLANC      MI     48439‐8692
HINMAN, MARY A                   406 MURPHY LANE                                                                                            BROWNSBURG       IN     46112‐1129
HINMAN, PAUL A                   7216 RAPIDS RD                                                                                             LOCKPORT         NY     14094‐9355
HINMAN, RANDALL E                G6354 E PIERSON RD                                                                                         FLINT            MI     48506
HINMAN, RICHARD L                9145 E HARRISON RD                                                                                         WALKERVILLE      MI     49459‐9490
HINMAN, RONALD L                 1120 MAPLE HEIGHTS DR                                                                                      WHITE LAKE       MI     48386‐1815
HINMAN, ROSELLA M                2433 N HIGHLAND BLVD                                                                                       AVON PARK        FL     33825
HINMAN, YVONNE M                 3944 OAK KNOLL RD                                                                                          WATERFORD        MI     48328‐4068
HINMAN, ZOFIA                    281 WASHINGTON RD                                                                                          GROSSE POINTE    MI     48230‐1613
HINNANT ARTHUR JOSEPH (429106)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK          VA     23510
                                                                  STREET, SUITE 600
HINNANT JR, JOHN A               715 DANA ST                                                                                                BURKBURNETT      TX     76354‐3009
HINNANT, ARTHUR JOSEPH           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK          VA     23510
                                                                  STREET, SUITE 600
HINNANT, BOBBY H                 146 EASTERN PL                                                                                             GOLDSBORO       NC      27534‐8306
HINNEN, LEWIS H                  601 E MAIN ST                                                                                              LINCOLN         MO      65338‐2041
HINNENKAMP, MARTHA I             6379 STONEHEARTH PASS                                                                                      GRAND BLANC     MI      48439‐9022
HINNENKAMP, PHILIP R             6379 STONEHEARTH PASS                                                                                      GRAND BLANC     MI      48439‐9022
HINNENKAMP, PHILIP RAY           6379 STONEHEARTH PASS                                                                                      GRAND BLANC     MI      48439‐9022
HINNER, WILLIAM E                505 SOUTH CHURCH STREET                                                                                    GEORGETOWN      IL      61846‐1912
HINNERK DETMERING                HAUPTSTR 93                                                                       31637 RODEWALD GERMANY

HINNERK DETMERING                HAUPTSTR. 93
HINNERK DETMERING                HAUPTSTR. 93                     31637 RODEWALD                TEL. +4950741789   E‐MAIL:
                                                                                                                   HINNERK.DETMERING@T‐
                                                                                                                   ONLINE.DE
HINNERS, APRIL L
HINNERS, MARGIE KIRCHENB         3132 S 200 E                                                                                               ANDERSON        IN      46017‐9563
HINO, WAYNE E                    3285 KENDRICK PL                                                                                           HAMBURG         NY      14075
HINO, WILLIAM E                  10109 DELSY DR                                                                                             N ROYALTON      OH      44133‐1407
HINOJOS, CHARLOTTE F             954 BAY CROSSING DR                                                                                        WATERFORD       MI      48327‐4601
HINOJOS, JAVIER                  954 BAY CROSSING DR                                                                                        WATERFORD       MI      48327‐4601
HINOJOSA III, FRANK              2328 E ACACIA ST                                                                                           STOCKTON        CA      95205‐4317
HINOJOSA JR, ISIDRO              226 CROSS VALLEY DR                                                                                        COLUMBIA        TN      38401‐2083
HINOJOSA JR, RAUL                6023 SYLVAN RIDGE DR                                                                                       TOLEDO          OH      43623‐6001
HINOJOSA JR., RAFAEL R           2510 E LOCUST ST                                                                                           LAREDO          TX      78043‐1354
HINOJOSA, ALFREDO                4473 PARKSIDE BLVD                                                                                         ALLEN PARK      MI      48101‐3203
HINOJOSA, AMERICO C              VISTA VERDE 321                                                                   PTE GUADALUPE MEXICO
                                                                                                                   67130
HINOJOSA, ANTONIO C              5349 TANGLEWOOD PARK DR                                                                                    FREMONT         CA      94538‐3256
HINOJOSA, ANTONIO P              4267 WILLOW DR NE                                                                                          GRAND RAPIDS    MI      49525‐2152
HINOJOSA, ARMANDO                1540 PALMER DR                                                                                             DEFIANCE        OH      43512‐3420
HINOJOSA, CLOROMINO              3308 SANTA SUSANA                                                                                          MISSION         TX      78572‐7943
HINOJOSA, DOLORES A              2567 STANMOOR DR                                                                                           WATERFORD       MI      48329‐2365
HINOJOSA, DOLORES A              2567 STANMOOR                                                                                              WATERFORD       MI      48329‐2365
HINOJOSA, ELIODORO               13673 BRADY RD                                                                                             CHESANING       MI      48616‐9512
HINOJOSA, ERNESTO P              5403 W 24TH PL                                                                                             CICERO          IL      60804‐2752
HINOJOSA, FAUSTINO T             12834 KAMLOOPS ST                                                                                          PACOIMA         CA      91331‐3349
HINOJOSA, FERNANDO               13010 STILLINGTON DR                                                                                       HOUSTON         TX      77015‐2019
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Name                                Address1                              Address2                      Address3   Address4                City             State   Zip
HINOJOSA, GREGORIO G                16266 EDGEWOOD DR                                                                                      LIVONIA           MI     48154‐2228
HINOJOSA, JESUS S                   RR 3                                                                                                   LEIPSIC           OH     45856
HINOJOSA, JOE G                     6616 BRUSH ST                                                                                          NORTH BRANCH      MI     48461‐6114
HINOJOSA, JOSE                      2344 N BELSAY RD                                                                                       BURTON            MI     48509‐1357
HINOJOSA, JOSE E                    228 W FAIRFIELD AVE                                                                                    LANSING           MI     48906‐3116
HINOJOSA, OTONIEL                   42 GEORGETOWN CT                                                                                       DEARBORN          MI     48126‐3482
HINOJOSA, PABLO                     1203 DONS DR                                                                                           MISSION           TX     78572‐4323
HINOJOSA, RAMIRO                    23847 EDWARD ST                                                                                        DEARBORN          MI     48128‐1223
HINOJOSA, RAMONA                    110 WILLIAM EVANS ST.                 APT.16B                                                          SAN MARCOS        TX     78666
HINOJOSA, SEVERIANO                 3075 DIX HWY TRLR C4                                                                                   LINCOLN PARK      MI     48146‐2565
HINOJOSA, TANIS S                   315 PANKEY LN                                                                                          BENTON            TN     37307
HINOJOSA, TANIS S                   219 N MAIN ST                                                                                          CHESANING         MI     48616
HINOJOSA‐WEAVER, NICOLE L           33830 FLORALINE ST                                                                                     N RIDGEVILLE      OH     44039‐3212
HINOTE, JOHN J                      105 E CENTER                          P O BOX 412                                                      FAIRMOUNT          IL    61841
HINOTE, OSCAR L                     114 S PERRY ST                                                                                         VEEDERSBURG       IN     47987‐1562
HINOTE, RONALD E                    21036 HICKORY ST                                                                                       GRAFTON            IL    62037‐2169
HINOTE, RONALD E.                   21036 HICKORY ST                                                                                       GRAFTON            IL    62037‐2169
HINRICHS FLORIAN                    HINRICHS, FLORIAN                     PO BOX 4160                                                      MONTGOMERY        AL     36103‐4160
HINRICHS FLORIAN                    HINRICHS, FLORIAN                     PO BOX 311167                                                    ENTERPRISE        AL     36331‐1167
HINRICHS LEE ANN                    PO BOX 250                                                                                             BRULE             NE     69127‐0250
HINRICHS, BERNICE F                 680 HAISH BLVD                                                                                         DEKALB             IL    60115
HINRICHS, FLORIAN                   BROCK & STOUT LLC                     P O DRAWER 311167                                                ENTERPRISE        AL     36331‐1167
HINRICHS, FLORIAN                   BEASLEY ALLEN CROW METHVIN PORTIS &   PO BOX 4160                                                      MONTGOMERY        AL     36103‐4160
                                    MILES
HINRICHS, FORIAN
HINRICHS, GORDON                    9639 N ARROWWOOD RD 50W                                                                                MEQUON            WI     53092
HINRICHS, KAREN S                   16737 E GREENHAVEN ST                                                                                  COVINA            CA     91722‐1125
HINRICHSEN FLOYD WILLIAM (439138)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA     23510
                                                                          STREET, SUITE 600
HINRICHSEN LORI                     HINRICHSEN, LORI                      30928 FORD RD                                                    GARDEN CITY       MI     48135‐1803
HINRICHSEN, FLOYD WILLIAM           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA     23510
                                                                          STREET, SUITE 600
HINRICHSEN, LORI                    CONSUMER LEGAL SERVICES               30928 FORD RD                                                    GARDEN CITY       MI     48135‐1803
HINSBERG, JAMES C                   8156 FARRANT ST                                                                                        COMMERCE          MI     48382‐2323
                                                                                                                                           TOWNSHIP
HINSBERGER JR, CLAYTON L            2994 CARPENTER RD                                                                                      LAPEER            MI     48446‐9086
HINSCH, HERBERT E                   2B CONSTITUTION BOULEVARD                                                                              WHITING           NJ     08759‐1988
HINSCH, JUDITH A                    7200 NW 2ND AVE APT 31                                                                                 BOCA RATON        FL     33487‐2338
HINSDALE (VILLAGE OF)               19 E CHICAGO AVE                                                                                       HINSDALE          IL     60521‐3489
HINSDALE (VILLAGE OF)               19 EAST CHICAGO AVE                                                                                    HINSDALE          IL     60521‐3489
HINSDALE (VILLAGE OF) IL            ATTN: CORPORATE OFFICER/AUTHORIZED    19 E CHICAGO AVE                                                 HINSDALE          IL     60521‐3489
                                    AGENT
HINSDALE PSYCHOLOGIC                333 CHESTNUT ST STE 206                                                                                HINSDALE          IL     60521‐3700
HINSDALE SURGICAL CE                39641 TREASURY CTR                                                                                     CHICAGO           IL     60694‐9600
HINSEL INVESTMENT INC               PO BOX 48759‐00100                                                             NAIROBI KENYA
HINSEN, EVELYN                      2676 W. WAVE CT.                                                                                       MERIDIAN         ID      83642‐8516
HINSEN, EVELYN                      2676 W WAVE CT                                                                                         MERIDIAN         ID      83642‐8516
HINSEN, GURVIS A                    663 DAMASCUS DR                                                                                        SAINT LOUIS      MO      63125‐5415
HINSENKAMP AL                       26342 BALLARD ST                                                                                       HARRISON         MI      48045‐2410
                                                                                                                                           TOWNSHIP
HINSENKAMP, ALBERT J                26342 BALLARD ST                                                                                       SELFRIDGE ANGB   MI      48045‐2410
HINSHAW     N, MARIAN E             3120 MESMER AVE                                                                                        DAYTON           OH      45410‐3451
HINSHAW & CULBERTSON                100 E WISCONSIN AVE STE 2600                                                                           MILWAUKEE        WI      53202‐4124
HINSHAW ADA                         # 104                                 5719 MAYFAIR MANOR DRIVE                                         ROCKVILLE        MD      20852‐5554
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Name                        Address1                         Address2                      Address3   Address4               City             State Zip
HINSHAW AMY                 747 N 650 W                                                                                      ANDERSON          IN 46011‐9310
HINSHAW FREDA I ESTATE OF   119 W JAMES ST                                                                                   BRADFORD          OH 45308‐1211
HINSHAW JOHN                1710 LIVINGSTON AVE                                                                              HELENA            MT 59601‐3035
HINSHAW, CARL D             1025 E US 36                                                                                     NEW CASTLE        IN 47362
HINSHAW, CHARLES F          947 E 101ST ST                                                                                   INDIANAPOLIS      IN 46280‐1709
HINSHAW, DELBERT R          8224 W COUNTY ROAD 300 N                                                                         SHIRLEY           IN 47384‐9504
HINSHAW, DONNA W            1010 PORTO BELLO RD                                                                              PENDLETON         IN 46064‐9134
HINSHAW, HAROLD C           111 E 9TH ST                                                                                     BICKNELL          IN 47512‐1327
HINSHAW, JAMES A            5346 W 8TH STREET RD                                                                             ANDERSON          IN 46011‐9104
HINSHAW, JULIAN W           PO BOX 372                                                                                       MONROVIA          IN 46157‐0372
HINSHAW, KATHLEEN M         215 N 8TH ST                                                                                     ELWOOD            IN 46036
HINSHAW, LOUISE             266 ADDISON ST.                                                                                  INDIANAPOLIS      IN 46222
HINSHAW, LOUISE             266 N ADDISON ST                                                                                 INDIANAPOLIS      IN 46222‐4138
HINSHAW, PAUL W             4078 W HINSHAW RD                                                                                MONROVIA          IN 46157‐9305
HINSHAW, PHILLIP M          5721 W 8TH STREET RD                                                                             ANDERSON          IN 46011‐9120
HINSHAW, POLLY              440 LAKE FRONT DRIVE                                                                             LEBANON           OH 45036‐5036
HINSHAW, R M                1641 SOUTHWOOD DR                                                                                ASHLAND           OH 44805‐3464
HINSKEY, RONALD C           6992 N LAFAYETTE ST                                                                              DEARBORN HEIGHTS MI 48127‐2125

HINSON CARL E (439139)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                             STREET, SUITE 600
HINSON CRAIG                715 16TH ST                                                                                      NEVADA             IA   50201‐2417
HINSON JOSEPH               6732 ALLEGHENY DR                                                                                WEST CHESTER       OH   45069
HINSON KEITH                5 NELSON CT                                                                                      MYRTLE BEACH       SC   29572‐4408
HINSON LYNETTE M            HINSON, LYNETTTE M               100 CENTURY PKWY STE 305                                        MOUNT LAUREL       NJ   08054‐1182
HINSON, ANDY G              5321 N 3RD ST                                                                                    KALAMAZOO          MI   49009‐8891
HINSON, ARLIS D             1501 OKALONA RD                                                                                  RICKMAN            TN   38580‐1959
HINSON, ARTHUR A            15530 STATE ROUTE 554                                                                            BIDWELL            OH   45614‐9382
HINSON, BARRY F             3144 ROSEHILL DR                                                                                 CHARLOTTE          NC   28212‐5723
HINSON, BILLY W             RR 4 BOX 146                                                                                     CLARKSBURG         WV   26301‐9430
HINSON, BUELL               SHANNON LAW FIRM                 100 W GALLATIN ST                                               HAZLEHURST         MS   39083‐3007
HINSON, CARL E              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
HINSON, CHARLES R           PO BOX 622                                                                                       STERLING HEIGHTS   MI   48311‐0622
HINSON, CHRISTOPHER L       2411 PULASKI HWY APT P139                                                                        COLUMBIA           TN   38401‐4595
HINSON, CHRISTOPHER LEE     2411 PULASKI HWY APT P139                                                                        COLUMBIA           TN   38401‐4595
HINSON, DANIEL R            5 RUSSELL BLVD                                                                                   ST AUGUSTINE       FL   32084‐1220
HINSON, DANIELLE            2605 HAINES RD                                                                                   LEVITTOWN          PA   19055‐1809
HINSON, DON                 PO BOX 517                                                                                       KUTTAWA            KY   42055‐0517
HINSON, DOUG O              1356 S BLACKBERRY DR                                                                             MCLOUD             OK   74851‐8124
HINSON, ELDRIDGE R          SHANNON LAW FIRM                 100 W GALLATIN ST                                               HAZLEHURST         MS   39083‐3007
HINSON, ERIC G              16606 FISHMARKET RD                                                                              MCLOUD             OK   74851‐9005
HINSON, EVERETTE M          7115 WESTMINSTER AVE                                                                             WARREN             MI   48091‐4883
HINSON, GLENN D             COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                         HOUSTON            TX   77002‐1751
HINSON, J B                 511 S BROADWAY                                                                                   ENGLEWOOD          FL   34223‐3804
HINSON, JACK L              PO BOX 255                                                                                       TRIMBLE            TN   38259‐0255
HINSON, JACKIE G            3513 BENNETT AVE                                                                                 FLINT              MI   48506
HINSON, JOSEPH H            609 HWY 466 LOT 457                                                                              LADY LAKE          FL   32159
HINSON, JOSEPH P            325 E PARKLAND DR                                                                                YUKON              OK   73099‐5922
HINSON, JOYCE M             10867 39TH ST S                                                                                  SCOTTS             MI   49088‐8353
HINSON, JOYCE M             10867 SOUTH 39TH                                                                                 SCOTTS             MI   49088‐8353
HINSON, LAURA J             PO BOX 345                                                                                       HOHENWALD          TN   38462‐0345
HINSON, ODIS J              3883 N 200 E                                                                                     ANDERSON           IN   46012‐9584
HINSON, PAMELA D            12030 BUNTON RD                                                                                  WILLIS             MI   48191‐9724
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Name                                    Address1                         Address2                        Address3   Address4                   City              State   Zip
HINSON, ROBERT E                        106 SUMMITT DR                                                                                         COLUMBIA           TN     38401‐6158
HINSON, ROGER D                         4101 CANAL CT                                                                                          ARLINGTON          TX     76016‐3635
HINSON, SARA C                          PO BOX 185                                                                                             NORWOOD            NC     28128‐0185
HINSON, TANDREA K                       8 N KIRKWOOD ST                                                                                        DOVER              DE     19904‐3142
HINSON, THOMAS J                        333 CHARLIE JONES RD                                                                                   THOMASTON          GA     30286‐7519
HINSON‐THOMAS, PAULA                    1805 JOYCE ST                                                                                          ARLINGTON          TX     76010‐2103
HINSPETER, EDWIN J                      37 PIERCE RD                                                                                           WEYMOUTH           MA     02188
HINSPETER, ROGER A                      4721 E RANGER RD                                                                                       ASHLEY             MI     48806‐9763
HINTE, REBECCA C                        178 HOLLINGTONWORTH MANOR                                                                              ELKTON             MD     21921
HINTERBERGER, CHARLES A                 20 CHATSWORTH AVE APT 3                                                                                KENMORE            NY     14217‐1433
HINTERBERGER, KEN                       623 ELM AVE                                                                                            HOLLAND            PA     18966‐1918
HINTERBERGER, MIRIAM                    1062 COCOANUT AVE                                                                                      SARASOTA           FL     34236
HINTERMAIER, JOHN B                     1089 APPALOOSA CT                                                                                      SOUTH LYON         MI     48178‐1891
HINTERMAN, CHARLES R                    3084 LIBERTY HILLS DR                                                                                  FRANKLIN           TN     37067‐5632
HINTERMAN, DANIEL L                     667 WILD GOOSE LAKE RD                                                                                 GREGORY            MI     48137‐9615
HINTERMAN, MICHAEL J                    12123 PINE ROW LN                                                                                      GRAND BLANC        MI     48439‐1620
HINTERMAN, SANDRA H                     3084 LIBERTY HILLS DR                                                                                  FRANKLIN           TN     37067‐5632
HINTERMAN, SHIRLEY A                    965 TYRRELL RD LOT 60                                                                                  BANCROFT           MI     48414‐9700
HINTERMAN, SHIRLEY A                    965 TYRELL RD                    #60                                                                   BANCROFT           MI     48414‐9700
HINTERMAN, THOMAS M                     2548 E GARRISON RD                                                                                     DURAND             MI     48429‐9126
HINTERMAN, THOMAS MARK                  2548 E GARRISON RD                                                                                     DURAND             MI     48429‐9126
HINTERMAN, WILLIAM                      132 BROKENWOOD LN                                                                                      CROSSVILLE         TN     38558‐7714
HINTERMEIER, DALE E                     2626 SW 47TH TER                                                                                       CAPE CORAL         FL     33914
HINTERMEISTER, OPHAL M                  8810 GROVECREEK CT                                                                                     DAYTON             OH     45458‐3372
HINTERNISH, BERNARD J                   2511 BETA LN                                                                                           FLINT              MI     48506‐1840
HINTERNISH, JOHN L                      6629 SOHN RD                                                                                           VASSAR             MI     48768‐9490
HINTON ALBERT JR (ESTATE OF) (498263)   ANGELOS PETER G                  100 N CHARLES STREET , ONE                                            BALTIMORE          MD     21201
                                                                         CHARLES CENTER
HINTON AUTOMOTIVE                       3 CEDAROW COURT                                                             STITTSVILLE ON K2S 1A7
                                                                                                                    CANADA
HINTON BAILEY                           PO BOX 89                                                                                              SNELLVILLE        GA      30078‐0089
HINTON BESSIE                           HINTON, BESSIE L                 30 E BUTLER AVE                                                       AMBLER            PA      19002‐4514
HINTON CHARLES F                        751 PROGRESS AVE                                                                                       WATERLOO          IA      50701‐3108
HINTON CHEVROLET‐OLDSMOBILE‐BUICK,      MARK HINTON                      8139 GUIDE MERIDIAN RD                                                LYNDEN            WA      98264‐9230
INC.
HINTON II, KYLE ERIC                    4475 SPRINGMONT DR SE                                                                                  KENTWOOD          MI      49512‐5375
HINTON JR, JIMMIE L                     16511 CHERRYLAWN ST                                                                                    DETROIT           MI      48221‐2932
HINTON JR, LONNIE B                     165 DOWDLE ROAD                                                                                        ETHELSVILLE       AL      35461‐3917
HINTON JR, WADE K                       2481 DEERFIELD DR NW                                                                                   KENNESAW          GA      30144‐1886
HINTON JR., DONALD                      14126 SYLVIA AVE                                                                                       CLEVELAND         OH      44110‐1909
HINTON LEROY (468384)                   WEITZ & LUXENBERG                180 MAIDEN LANE                                                       NEW YORK          NY      10038
HINTON SAMMIE (476894)                  KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                         CLEVELAND         OH      44114
                                                                         BOND COURT BUILDING
HINTON STANLEY B (652433)               GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                            EDWARDSVILLE       IL     62025‐0959
                                        ANTOGNOLI
HINTON WILLIAM E (660899)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA     23510
                                                                         STREET, SUITE 600
HINTON, ABELEAN L                       1131 WESTMORELAND                                                                                      LANSING           MI      48915‐2166
HINTON, ALBERT                          ANGELOS PETER G                  100 N CHARLES STREET, ONE                                             BALTIMORE         MD      21201
                                                                         CHARLES CENTER
HINTON, ALBERT G                        11130 MICHELHAM DR APT L                                                                               SAINT LOUIS       MO      63136‐4692
HINTON, BARBARA H                       1631 WHEELHOUSE CIR                                                                                    RUSKIN            FL      33570‐2758
HINTON, BARBARA T                       167 YOUHILL DR                                                                                         TAPPAHANNOCK      VA      22560‐5227
HINTON, BETHEL J                        33307 IONE DR                                                                                          STERLING HIGHTS   MI      48310
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Name                  Address1                       Address2            Address3         Address4               City              State   Zip
HINTON, BRYAN D       699 NORTHAMPTON ST                                                                         BUFFALO            NY     14211
HINTON, C G           5726 N DEWITT RD                                                                           SAINT JOHNS        MI     48879‐8413
HINTON, CARLA D       612 S 21ST ST                                                                              SAGINAW            MI     48601
HINTON, CATHERINE     1016 NORTHCREST RD                                                                         LANSING            MI     48906‐1200
HINTON, CHAD          3317 LAFAYETTE AVE                                                                         LANSING            MI     48906‐2522
HINTON, CHARLIE D     13900 DELTA DR                                                                             VENUS              TX     76084‐3301
HINTON, CLAUDE D      1828 ROSS ST                                                                               NEW CASTLE         IN     47362‐2913
HINTON, CRAIG A       1363 LABELLE ST                                                                            JONESBORO          GA     30238‐6567
HINTON, DANIELLE A    2551 BONBRIGHT ST                                                                          FLINT              MI     48505‐4908
HINTON, DEIRDRE R     52 COMMONWEALTH BLVD                                                                       NEW CASTLE         DE     19720‐3418
HINTON, DELORES A     2452 WILSHIRE PARKWAY                                                                      WESTLAND           MI     48186‐5406
HINTON, DELORES C     16500 N PARK DR APT 1110                                                                   SOUTHFIELD         MI     48075‐4765
HINTON, DONALD E      PO BOX 1525                                                                                TAYLOR             MI     48180‐5925
HINTON, DORIS J       612 S 21ST ST                                                                              SAGINAW            MI     48601‐1535
HINTON, ELAINE        461 MAGNOLIA ST                                                                            ROCHESTER          NY     14611‐3749
HINTON, ELLEN M       5406 ARROWHEAD BLVD                                                                        KOKOMO             IN     46902‐5404
HINTON, EMILY J       1115 HESS ST                                                                               PLAINFIELD         IN     46168‐1732
HINTON, ESTHER J      3847 WAUCHULA ST                                                                           CHATTANOOGA        TN     37406‐1663
HINTON, FLOSSIE C     402 EAST 3RD ST.                                                                           PERU               IN     46970‐2502
HINTON, FLOSSIE C     402 E 3RD ST                                                                               PERU               IN     46970‐2502
HINTON, FRANK         2199 JOHNSON RD                                                                            CRYSTAL SPRINGS    MS     39059‐9104
HINTON, FRANK         52 COMMONWEALTH BLVD                                                                       NEW CASTLE         DE     19720‐3418
HINTON, GARY L        6730 S WILLIAMS RD                                                                         SAINT JOHNS        MI     48879‐8166
HINTON, GAY V         30570 COLINA VERDE ST                                                                      TEMECULA           CA     92592‐5127
HINTON, HARLEY J      8195 N LATSON RD                                                                           HOWELL             MI     48855‐9229
HINTON, HAROLD C      9355 HUGGIN HOLLOW RD                                                                      MARTINSVILLE       IN     46151‐7680
HINTON, HAROLD D      12497 ODELL RD                                                                             LINDEN             MI     48451‐9458
HINTON, HEATHER A     25433 CONSTITUTION AVE                                                                     WARREN             MI     48089‐2081
HINTON, HEATHER ANN   25433 CONSTITUTION AVE                                                                     WARREN             MI     48089‐2081
HINTON, HOLLIS A      669 SOSO BIG CREEK RD                                                                      SOSO               MS     39480‐5030
HINTON, HOWARD L      839 N SEMINARY ST                                                                          ROANOKE            IN     46783‐8881
HINTON, IMOGENE       430 S HARBAUGH ST                                                                          DETROIT            MI     48209‐2611
HINTON, IMOGENE       1002 WEST MAIN STREET                                                                      ALBERTVILLE        AL     35950‐5508
HINTON, IRVIN B       325 GATEWOOD DR                                                                            PEARL              MS     39208‐4430
HINTON, JIMMY L       PO BOX 689                                                                                 DACULA             GA     30019‐0012
HINTON, JIMMY L       P.O. BOX 689                                                                               DACULA             GA     30019‐0012
HINTON, JOE W         120 28TH ST S                                                                              BATTLE CREEK       MI     49015‐2727
HINTON, JOHN H        PO BOX 311165                                                                              FLINT              MI     48531‐1165
HINTON, JOHN L        4767 N 450W                                                                                MIDDLETOWN         IN     47356
HINTON, JORDAN        4515 STILLWELL AVE                                                                         LANSING            MI     48911‐2656
HINTON, JOSEPHINE     6910 WARWICK ST                                                                            DETROIT            MI     48228‐3488
HINTON, JOY L         5092 CREEK PATH                                                                            MARIANNA           FL     32446‐7816
HINTON, KAREN C       1405 COLUMBIA DR                                                                           FLINT              MI     48503‐5233
HINTON, KENNETH D     919 LONDON DRIVE                                                                           LANSING            MI     48917‐4154
HINTON, KENNETH W     811 EASTGATE DR                                                                            ANDERSON           IN     46012‐9692
HINTON, KRISTIE       1121 BASS DR                                                                               PLANO              TX     75025‐2908
HINTON, KRISTIE       1121 BASS DRIVE                                                                            PLANO              TX     75025
HINTON, KYLE          4475 SPRINGMONT DR SE                                                                      KENTWOOD           MI     49512‐5375
HINTON, KYLE M        4475 SPRINGMONT DR SE                                                                      KENTWOOD           MI     49512‐5375
HINTON, LARRY         1275 FRANKLIN CIR                                                                          DACULA             GA     30019‐1559
HINTON, LARRY D       414 N MCELROY RD                                                                           MANSFIELD          OH     44905‐2706
HINTON, LAWRENCE H    1016 NORTHCREST RD                                                                         LANSING            MI     48906‐1200
HINTON, LEROY         WEITZ & LUXENBERG              180 MAIDEN LANE                                             NEW YORK           NY     10038
HINTON, LINDA K       302 RAEBURN ST                                                                             PONTIAC            MI     48341‐3050
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Name                  Address1                        Address2                       Address3   Address4               City           State Zip
HINTON, LORI
HINTON, LULA M        3124 BUCKS BAYOU RD                                                                              BAY CITY       TX    77414‐6910
HINTON, MANDY J       6737 N MERIDIAN RD                                                                               UNIONDALE      IN    46791‐9720
HINTON, MARVIN        723 N CRISSEY RD                                                                                 HOLLAND        OH    43528‐8831
HINTON, MARVIN C      2555 STURTEVANT ST                                                                               DETROIT        MI    48206
HINTON, MARVIN C      2616 S HOLT RD                                                                                   INDIANAPOLIS   IN    46241‐5737
HINTON, MARY L        3417 BURCHFIELD DR                                                                               LANSING        MI    48910‐4401
HINTON, MARY LEE      19135 ALBERT AVE                                                                                 CERRITOS       CA    90703
HINTON, MICHAEL       5228 COUNTRY WOOD LN                                                                             GRAND BLANC    MI    48439‐9014
HINTON, MICHAEL E     514 PINERIDGE CT                                                                                 ALGER          MI    48610‐9445
HINTON, MILDRED J     282 HARRISON ST                                                                                  LAPEER         MI    48446‐1834
HINTON, MILDRED J     282 HARRISON                                                                                     LAPEER         MI    48446‐1834
HINTON, NATHANIEL     1510 W 18TH ST                                                                                   LORAIN         OH    44052‐3918
HINTON, NEAL D        14 GLENADA CT                                                                                    DAYTON         OH    45449‐1744
HINTON, PAIGE W       1363 LABELLE STREET                                                                              JONESBORO      GA    30238‐6567
HINTON, PATRICIA B    6 SCOTT LANE                                                                                     GIRARD         OH    44420‐1334
HINTON, PATRICIA B    631 RAVINE DR                                                                                    YOUNGSTOWN     OH    44505‐1607
HINTON, PHILLIP D     30 SUNSET MANOR DR                                                                               MARTINSVILLE   IN    46151‐3339
HINTON, PRISCILLA L   15041 MARK TWAIN ST                                                                              DETROIT        MI    48227‐2917
HINTON, RALPH S       PO BOX 14901                                                                                     SAGINAW        MI    48601‐0901
HINTON, RANDALL A     10528 LAKE SHORE DR                                                                              FENTON         MI    48430‐2424
HINTON, RAYMOND E     2712 HAMPTON PARK CIR                                                                            FOLEY          AL    36535‐1128
HINTON, RENE D        2294 GENESEE ST                                                                                  BUFFALO        NY    14225
HINTON, RICHARD J     1516 RILEY RD                                                                                    LEBANON        IN    46052‐1369
HINTON, ROBERT        PO BOX 3142                                                                                      KALAMAZOO      MI    49003‐3142
HINTON, ROBERT        24455 LAKE SHORE BLVD APT 323                                                                    EUCLID         OH    44123‐1242
HINTON, ROBERT        4357 SUNNYMEAD AVE                                                                               BURTON         MI    48519‐1243
HINTON, ROBERT E      RE: ROBERT E HINTON             4357 SUNNYMEAD AVENUE                                            BURTON         MI    48519
HINTON, ROBERT E      (NO OPPOSING COUNSEL)           4357 SUNNYMEAD AVENUE                                            BURTON         MI    48519
HINTON, ROBERT J      2628 QUEENS CT                                                                                   ANDERSON       IN    46013‐3135
HINTON, ROBERT L      2002 COPEMAN BLVD                                                                                FLINT          MI    48504‐3006
HINTON, ROBERT N      10500 HIGHWAY B                                                                                  WINDSOR        MO    65360‐4018
HINTON, ROGER         PORTER & MALOUF PA              4670 MCWILLIE DR                                                 JACKSON        MS    39206‐5621
HINTON, ROGER J       14575 TWIN OAKS DR                                                                               CARMEL         IN    46032‐9727
HINTON, RONALD        413 JEFFREY ST                                                                                   CHESTER        PA    19013‐2846
HINTON, ROSIA         808 OLD CONYERS RD                                                                               STOCKBRIDGE    GA    30281‐2613
HINTON, RUTH O        5812 STERLING AVE                                                                                RAYTOWN        MO    64133‐3410
HINTON, SAMMIE        KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                     CLEVELAND      OH    44114
                                                      BOND COURT BUILDING
HINTON, SANDRA E.     9161 JAMAICA BCH                                                                                 GALVESTON       TX   77554
HINTON, SHARON        2 DOGWOOD CT                                                                                     CALUMET CITY    IL   60409‐5007
HINTON, STANLEY B     GORI JULIAN & ASSOCIATES P C    156 N MAIN ST                                                    EDWARDSVILLE    IL   62025
HINTON, STANLEY B     GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                       EDWARDSVILLE    IL   62025‐0959
                      ANTOGNOLI
HINTON, SUE A         10528 LAKE SHORE DR                                                                              FENTON         MI    48430‐2424
HINTON, SUE ANN       10528 LAKE SHORE DR                                                                              FENTON         MI    48430‐2424
HINTON, THELMA        5124 MURPHY DR                                                                                   FLINT          MI    48506‐2141
HINTON, THOMAS R      PO BOX 67                                                                                        CHAPEL HILL    TN    37034‐0067
HINTON, TOMMY L       8652 PINE CT                                                                                     YPSILANTI      MI    48198‐3239
HINTON, VELMA V       2907 BUNTEN RD                                                                                   DULUTH         GA    30096‐3606
HINTON, VIRGINIA      480 S RACCOON RD APT 1‐E                                                                         AUSTINTOWN     OH    44515
HINTON, WALTER E      PO BOX 149                                                                                       PEVELY         MO    63070‐0149
HINTON, WANDA B       12806 LAKE DORA CIRCLE                                                                           TAVARES        FL    32778‐4230
HINTON, WAUDELL W     326 W 5TH ST                                                                                     MANSFIELD      OH    44903‐1559
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Name                     Address1                          Address2                      Address3   Address4               City           State   Zip
HINTON, WAYNE            1115 HESS ST                                                                                      PLAINFIELD      IN     46168‐1732
HINTON, WENDY L          345 VERANDA WAY APT 301                                                                           MOUNT DORA      FL     32757‐6191
HINTON, WILLIAM E        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA     23510‐2212
                                                           STREET, SUITE 600
HINTON, WILLIE M         8113 MIKE SHAPRIO DR                                                                              CLINTON        MD      20735‐2124
HINTON, WILMA            5716 N WALTON AVE                                                                                 WESTLAND       MI      48185‐8122
HINTON, WILMA            5716 N WALTON ST                                                                                  WESTLAND       MI      48185‐8122
HINTON, WINONA M         1211 RAMSGATE RD APT 5                                                                            FLINT          MI      48532‐3151
HINTONS                  8139 GUIDE MERIDIAN RD                                                                            LYNDEN         WA      98264‐9230
HINTZ ELMER H (626571)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA      23510
                                                           STREET, SUITE 600
HINTZ TRUCKING INC.                                        1021 SAINT CHARLES ST                                                           IL     60120
HINTZ TRUCKING INC       1021 SAINT CHARLES ST                                                                             ELGIN           IL     60120‐8440
HINTZ, ALBERT L          32263 PARKER CIR                                                                                  WARREN          MI     48088‐2972
HINTZ, BETH A            7046 E RYAN RD                                                                                    MILTON          WI     53563‐9705
HINTZ, BILL G            13390 TODD RD                                                                                     IDA             MI     48140‐9728
HINTZ, DANIEL A          3854 STRATTON DR                                                                                  RIVERSIDE       CA     92505‐3510
HINTZ, DAVID L           14640 W DIANE DR                                                                                  CAMDEN          MI     49232‐9553
HINTZ, DAVID LEWIS       14640 WEST DIANE DRIVE                                                                            CAMDEN          MI     49232‐9553
HINTZ, DENNIS J          120 HEARTLAND ST                                                                                  DANVILLE        CA     94506‐6107
HINTZ, DIXIE             PO BOX 61                                                                                         OTTER LAKE      MI     48464‐0061
HINTZ, EDWARD W          5285 BIG WOLF LN                                                                                  LEWISTON        MI     49756‐9003
HINTZ, ELMER H           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA     23510‐2212
                                                           STREET, SUITE 600
HINTZ, FRED              1773 NEWARK CT                                                                                    SUISUN CITY     CA     94585‐6322
HINTZ, GARY H            NORTH 4058 VISTA RD                                                                               SULLIVAN        WI     53178
HINTZ, GENE F            5146 LENNON RD                                                                                    FLINT           MI     48507‐1047
HINTZ, GLORIA A          60 LANE 301A BARTON LAKE                                                                          FREMONT         IN     46737‐9319
HINTZ, HOLLY A           PO BOX 9022                                                                                       WARREN          MI     48090‐9022
HINTZ, HOLLY ANN         PO BOX 9022                                                                                       WARREN          MI     48090‐9022
HINTZ, HUBERT C          1095 KENNEBEC RD                                                                                  GRAND BLANC     MI     48439‐4830
HINTZ, JAMES F           14329 BIRCH POINTE DR                                                                             KEWADIN         MI     49648‐9087
HINTZ, JEAN W            235 S LAFAYETTE ST                                                                                DEARBORN        MI     48124‐1381
HINTZ, JOANN             2244 W SYCAMORE AVE                                                                               OAK CREEK       WI     53154‐1050
HINTZ, JOELLA            1086 LOUIS AVE                                                                                    FLINT           MI     48505‐1229
HINTZ, JOSEPHINE A.      671 E SUB STATION RD                                                                              TEMPERANCE      MI     48182‐9572
HINTZ, JOSEPHINE A.      671 SUBSTATION RD                                                                                 TEMPERANCE      MI     48182‐9572
HINTZ, LAURA C           11231 N. MULBERRY DRIVE, 32W                                                                      MEQUON          WI     53092
HINTZ, LEO S             138 CARDWELL ST                                                                                   GARDEN CITY     MI     48135‐3141
HINTZ, LOREN J           33 S MUD LAKE RD                                                                                  WEST BRANCH     MI     48661‐9534
HINTZ, LORENA H          4760 S. WASHINGTON                                                                                SAGINAW         MI     48601‐5755
HINTZ, LORENA H          4760 S WASHINGTON RD                                                                              SAGINAW         MI     48601‐5755
HINTZ, MARCELLA L        905 SOUTH CEDAR ST                                                                                OWOSSO          MI     48867
HINTZ, MARCELLA L        905 S CEDAR ST                                                                                    OWOSSO          MI     48867‐4219
HINTZ, MARGARET F        8616 W 10TH ST APT 133                                                                            INDIANAPOLIS    IN     46234‐2154
HINTZ, MARGARET V        5146 LENNON RD                                                                                    FLINT           MI     48507‐1047
HINTZ, MICHAEL L         136 E VIENNA ST                                                                                   CLIO            MI     48420‐1421
HINTZ, MICHAEL LEE       136 E VIENNA ST                                                                                   CLIO            MI     48420‐1421
HINTZ, RACHEL E          6764 S LOOMIS RD                                                                                  WIND LAKE       WI     53185‐2764
HINTZ, RANDY T           3124 N WALDO RD                                                                                   MIDLAND         MI     48642‐9732
HINTZ, ROBERT I          4325 NEWARK RD                                                                                    ATTICA          MI     48412‐9647
HINTZ, SHIRLEY M         7275 S QUINCY AVE                                                                                 OAK CREEK       WI     53154‐2204
HINTZ, STEVEN F          2798 MICHAEL DR                                                                                   CORUNNA         MI     48817‐1150
HINTZ, TESSA L           2547 NORTH STATE ROAD 75                                                                          NORTH SALEM     IN     46165‐9747
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Name                       Address1                       Address2                        Address3   Address4               City             State   Zip
HINTZ, WALTER P            1521 N DENWOOD ST                                                                                DEARBORN          MI     48128‐1103
HINTZ, WILLIAM M           735 W STATE ROAD 218                                                                             BUNKER HILL       IN     46914
HINTZ, ZACHARY J           1099 CHELSEA BOULEVARD                                                                           OXFORD            MI     48371‐6730
HINTZE JR, HARVEY J        9511 HEDDY DR                                                                                    FLUSHING          MI     48433‐1088
HINTZE, JEFFERY M          7102 N WALNUT ST                                                                                 GLADSTONE         MO     64118‐2519
HINTZE, JO A               9030 N WEBSTER RD                                                                                CLIO              MI     48420‐8507
HINTZE, RUTH A             2205 ROYAL OAKS DR                                                                               JANESVILLE        WI     53548‐0117
HINTZMAN, CAROL J          1003 HARDING ST                                                                                  JANESVILLE        WI     53545
HINYTZ, CATHERINE E        806 N 63RD ST                                                                                    WAUWATOSA         WI     53213‐3214
HINZ KEITH                 1251 FLEETWOOD DR                                                                                MANITOWOC         WI     54220‐2362
HINZ, ALLAN E              7072 TAPPON DR                                                                                   CLARKSTON         MI     48346‐2634
HINZ, BERNICE M            1372 BARNES RD                                                                                   MAYVILLE          MI     48744
HINZ, ERNEST W             4637 DIANE MARIE LN                                                                              CLARKSTON         MI     48346‐4172
HINZ, FREDERICK D          4376 E MOUNT MORRIS RD                                                                           MOUNT MORRIS      MI     48458‐8978
HINZ, GERHARD K            11128 IRVINGTON DR                                                                               WARREN            MI     48093‐4951
HINZ, JOHN C               8062 PELHAM RD                                                                                   TAYLOR            MI     48180‐2600
HINZ, JOHN J               1601 LAKE JAMES DR                                                                               PRUDENVILLE       MI     48651‐9420
HINZ, KENNETH R            2229 WESTMEAD DR SW                                                                              DECATUR           AL     35603‐1036
HINZ, LOUIS E              PARKS CHRISTOPHER M            1 PLAZA SQUARE                                                    PORT ARTHUR       TX     77642
HINZ, MICHAEL L            7 KINGS COURT RD                                                                                 GOREVILLE          IL    62939‐3280
HINZ, RICHARD N            2307 TORGLER AVE                                                                                 TOLEDO            OH     43611‐1510
HINZE ASHLEY               HINZE, ASHLEY                  22260 HAGGERTY RD STE 250                                         NORTHVILLE        MI     48167‐8985
HINZE JERRY J (439140)     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA     23510
                                                          STREET, SUITE 600
HINZE, BRUCE L             332 CHERRY ST                                                                                    JANESVILLE        WI     53548‐4604
HINZE, DALE R              3286 EAST M‐21                                                                                   SAINT JOHNS       MI     48879
HINZE, FREDRICK P          11331 IRISH RD                                                                                   OTISVILLE         MI     48463‐9447
HINZE, JERRY J             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA     23510‐2212
                                                          STREET, SUITE 600
HINZE, JOHN L              6186 LONE OAK CIR                                                                                GRAN BLANC       MI      48439‐9460
HINZE, JOHN L              2901 INTERLAKEN PASS                                                                             MADISON          WI      53719‐2476
HINZE, KAREN               6517 SALIZAR ST                                                                                  SAN DIEGO        CA      92111
HINZE, LEE R               14611 BALLENTRAE DRIVE                                                                           FRISCO           TX      75035‐7430
HINZE, ROBERT M            95 BIRCHWOOD DR                                                                                  TROY             MI      48083‐1710
HINZEY, HENRY A            8835 RIEBEL RD                                                                                   GALLOWAY         OH      43119‐8735
HINZMAN CHESTER (445252)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH      44067
                                                          PROFESSIONAL BLDG
HINZMAN, CHESTER           BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD       OH      44067
                                                          PROFESSIONAL BLDG
HINZMAN, DENVER D          10614 WINDHAM PARKMAN RD                                                                         GARRETTSVILLE    OH      44231‐9712
HINZMAN, FREDERICK W       6178 S POND POINTE                                                                               GRAND BLANC      MI      48439
HINZMAN, KENNETH D         40 SOUTH EMERSON LAKE DRIVE                                                                      BRANCH           MI      49402‐9628
HINZMANN, MARK J           1051 AUTUMN LN                                                                                   PETOSKEY         MI      49770‐9017
HINZMANN, MARK J           1051 AUTUMN LANE                                                                                 PETOSKEY         MI      49770‐9017
HINZMANN, MARK R           6755 BALFOUR AVE                                                                                 ALLEN PARK       MI      48101‐2305
HINZMANN, VINCENT C        521 EAST ST                                                                                      MILFORD          MI      48381‐1635
HINZPETER, RICK M          2113 HICKORY SUMMIT CT                                                                           WILDWOOD         MO      63011‐5402
HIOKI                      6 CORPORATE DRIVE                                                                                CRANBURY         NJ      08512
HIOKI USA CORP             6 CORPORATE DR                                                                                   CRANBURY         NJ      08512
HIONAS JAMES & PATRICIA    4076 S LEAVITT RD SW                                                                             WARREN           OH      44481‐9162
HIONAS, JAMES J            4076 S LEAVITT RD SW                                                                             WARREN           OH      44481‐9162
HIONAS, JOSEPHINE M        8169 TIMBERLANE                                                                                  WARREN           OH      44484
HIONAS, OLYMPIA C          2861 MERCER RD.                                                                                  WEST MIDDLESEX   PA      16159
HIOS GENERAL AUTO REPAIR   153 STATE ST                                                                                     TEANECK          NJ      07666‐3522
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Name                                   Address1                     Address2                      Address3   Address4               City              State Zip
HIOTT JR, TOMMY J                      206 TRAM RD                                                                                  COLUMBIA           SC 29210‐4415
HIP CHONG PLASTIC & ELECTRONICS LTD.

HIPARCO VELA                           THE MADEKSHO LAW FIRM        8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX   77017
HIPATIA VELA                           1266 N CHEVROLET AVE                                                                         FLINT             MI   48504‐3478
HIPES, MICHAEL H                       2600 W SNOVER RD                                                                             MAYVILLE          MI   48744‐9425
HIPES, MICHAEL H.                      2600 W SNOVER RD                                                                             MAYVILLE          MI   48744‐9425
HIPES, ROBERT L                        PO BOX 54                                                                                    HEMATITE          MO   63047‐0054
HIPKE, DOLORES                         2106 CASS AVENUE RD                                                                          BAY CITY          MI   48708‐9121
HIPKE, MICHAEL J                       4111 VENOY RD                                                                                WAYNE             MI   48184‐1838
HIPKE, ROGER W                         3860 S 39TH ST                                                                               MILWAUKEE         WI   53221‐1028
HIPKINS, ALBERT E                      6755 SARANAC                                                                                 TRANSFER          PA   16154‐8959
HIPKINS, ALBERT E                      6755 SARANAC DR                                                                              TRANSFER          PA   16154‐8959
HIPKINS, DANNA E                       1462 N CORNELL AVE                                                                           FLINT             MI   48505‐1163
HIPKINS, FRANCIS D                     G‐4013 GRANDVIEW                                                                             FLUSHING          MI   48433
HIPKINS, JEFFREY W                     514 DELL AVE                                                                                 FLINT             MI   48507‐2744
HIPKINS, JOHN E                        PO BOX 743                                                                                   SULPHUR SPRINGS   TX   75483
HIPKINS, NANCY H                       6755 SARANAC DRIVE                                                                           TRANSFER          PA   16154‐8959
HIPKINS, RANDALL H                     4915 BRANCH RD                                                                               FLINT             MI   48506‐2087
HIPKINS, RANDALL HOWARD                4915 BRANCH RD                                                                               FLINT             MI   48506‐2087
HIPKINS, ROSALIE G                     3462 GARDNER BARCLAY ROAD                                                                    FARMDALE          OH   44417‐9769
HIPKINS, ROSALIE G                     3452 GARONER BARCLAY RD                                                                      FARMDALE          OH   44417‐9769
HIPKINS, TERRY E                       9055 BRISTOL RD                                                                              SWARTZ CREEK      MI   48473‐8502
HIPKINS, VIRGINIA L                    PO BOX 115                                                                                   HARTFORD          OH   44424
HIPKISS, ARTHUR S                      14715 PALMETTO CT            #11                                                             SHELBY TOWNSHIP   MI   48315‐4314
HIPKISS, DEVIN T                       6071 MAPLE GROVE WAY                                                                         NOBLESVILLE       IN   46062‐6463
HIPLE, SARAH C                         APT 408                      14207 CHAMPIONS CIR                                             FRANKLIN          TN   37064‐5889
HIPLER, WENDELL A                      26070 AMHERST ST                                                                             DEARBORN HTS      MI   48125‐1406
HIPOL, AUDRELINA                       3493 PLAZA DE LANZA                                                                          SIERRA VISTA      AZ   85650‐9570
HIPOLITA ANZURES                       2638 CULBERTSON AVE                                                                          ROCHESTER HILLS   MI   48307‐4612
HIPOLITO AGUILAR JR                    7502 ETON AVE                                                                                CANOGA PARK       CA   91303‐1410
HIPOLITO BERNARD                       374 4TH AVE                                                                                  PONTIAC           MI   48340‐2853
HIPOLITO BERNARD JR                    512 PAWNEE TRL                                                                               COLUMBIA          TN   38401‐2146
HIPOLITO COLON                         601 E RANDOLPH ROAD                                                                          SILVER SPRING     MD   20904
HIPOLITO HERMOSILLO                    PO BOX 20503                                                                                 BULLHEAD CITY     AZ   86439‐0503
HIPOLITO HUERTAS                       3206 CAESAR AVE                                                                              ORLANDO           FL   32833‐5515
HIPOLITO LOPEZ                         4921 GRAPE ARBOR LN                                                                          LANSING           MI   48917‐1517
HIPOLITO MARQUEZ                       744 CEDAR KNOLL DR N                                                                         LAKELAND          FL   33809‐2343
HIPOLITO MARTINEZ                      41795 RIGGS RD                                                                               BELLEVILLE        MI   48111‐3081
HIPOTRONICS INC                        1650 ROUTE 22                PO BOX 414                                                      BREWSTER          NY   10509‐4013
HIPP SR, THEODORE J                    34260 HUNTER AVE                                                                             WESTLAND          MI   48185‐7050
HIPP, BETTY J                          13364 BROOK AVE                                                                              ELM GROVE         WI   53122‐1708
HIPP, CHARLES D                        5030 GREATWOOD LN                                                                            ALPHARETTA        GA   30005‐7466
HIPP, CLARE A                          18 GINGERBREAD LN                                                                            YARMOUTH PORT     MA   02675‐1109
HIPP, DAVID B                          4202 EDGEWATER WAY                                                                           STEVENSVILLE      MT   59870‐6466
HIPP, EDWIN M                          3542 SAINT MARTIN DR                                                                         ARNOLD            MO   63010‐3976
HIPP, EDWIN P                          1975 SLEEPY HOLLOW RD                                                                        MILAN             OH   44846‐9604
HIPP, FREDERICK J                      5711 BERKLEY DR                                                                              WATERFORD         MI   48327‐2607
HIPP, HELEN F                          134 CROSWELL ST                                                                              ROMEO             MI   48065‐5112
HIPP, HOWARD J                         4620 WOOD THRUSH DR          C/O HOWARD A HIPP                                               PARMA             OH   44134‐4671
HIPP, JENNIFER L                       326 TURNBERRY PLACE DR                                                                       WILDWOOD          MO   63011‐2083
HIPP, JOE R                            295 GROVER JOHNSON RD                                                                        VILAS             NC   28692‐9348
HIPP, LARRY L                          1037 FRANCIS AVE                                                                             TOLEDO            OH   43609‐1915
HIPP, MELVIN F                         10757 PEBBLE RIDGE DR                                                                        SOUTH LYON        MI   48178‐9382
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Name                     Address1                            Address2                  Address3      Address4               City              State   Zip
HIPP, MICHAEL E          205 BOND ST                         PO BOX 337                                                     PEMBERVILLE        OH     43450‐7009
HIPPARD, ROSE A          APT 34                              250 EAST 120TH AVENUE                                          ANCHORAGE          AK     99515‐3687
HIPPE, JACK G            10477 VIEWTOP CT                                                                                   HARTLAND           MI     48353‐2539
HIPPENHAMMER, RONALD E   11830 EAGLE CREEK PASS                                                                             FORT WAYNE         IN     46814‐3254
HIPPENHAMMER, RONALD E   6223 BEESON CV                                                                                     FORT WAYNE         IN     46814‐9516
HIPPENSTEEL, BEULAH      2067 E WILLARD RD                                                                                  CLIO               MI     48420‐7702
HIPPENSTEEL, BEULAH A    2067 E. WILLARD RD.                                                                                CLIO               MI     48420‐7702
HIPPENSTEEL, CLYDE D     8366 SMITH RD                                                                                      GAINES             MI     48436‐9732
HIPPENSTEEL, DANIEL B    2067 E WILLARD RD                                                                                  CLIO               MI     48420‐7702
HIPPENSTEEL, DANIEL B    13056 N BRAY RD                                                                                    CLIO               MI     48420‐9111
HIPPENSTEEL, DONNA S     689 THOMAS J DR                                                                                    FLINT              MI     48506‐5241
HIPPENSTEEL, DONNA SUE   689 THOMAS J DR                                                                                    FLINT              MI     48506‐5241
HIPPENSTEEL, E. L        2410 LINCOLN MANOR DR                                                                              FLINT              MI     48507‐4418
HIPPENSTEEL, EARL C      2067 E WILLARD RD                                                                                  CLIO               MI     48420‐7702
HIPPENSTEEL, ESTHER      12320 HIGHLAND AVE                                                                                 MT. MORRIS         MI     48458‐1415
HIPPENSTEEL, JOHN B      22799 GRANDEUR AVE                                                                                 MATTAWAN           MI     49071‐9329
HIPPENSTEEL, KENNETH L   2037 WILLOW BND                                                                                    HUNTINGTON         IN     46750‐4510
HIPPENSTEEL, RICHARD L   511 BALDWIN ST                                                                                     JENISON            MI     49428‐7989
HIPPLE I I I, THOMAS E   570 FORT DEARBORN ST                                                                               DEARBORN           MI     48124‐1086
HIPPLE III, THOMAS E     570 FORT DEARBORN ST                                                                               DEARBORN           MI     48124‐1086
HIPPLE, DAVID W          4627 CEDAR PL                                                                                      PRESTON            MD     21655‐1560
HIPPLE, DAVID W          4627 CEDAR PLACE                                                                                   PRESTON            MD     21655‐1655
HIPPLE, DELORES M        37501 JOY RD APT 82                                                                                WESTLAND           MI     48185
HIPPLE, DENNIS C         1975 DODGE DR NW                                                                                   WARREN             OH     44485‐1417
HIPPLE, FLORENCE I       SILVER SPRING RETIRMENT LIVING      500 WEST CAMINO ENCANTO   APT 170                              GREEN VALLEY       AZ     85614
HIPPLE, GLEN L           5427 OLD STATE RD                                                                                  WEST FARMINGTON    OH     44491‐9728

HIPPLE, KAREN M          1415 DODGE N.W.                                                                                    WARREN            OH      44485‐1851
HIPPLE, KAREN M          1415 DODGE DR NW                                                                                   WARREN            OH      44485‐1851
HIPPLE, LARRY P          33 DEERFIELD DR                                                                                    LOVELAND          OH      45140
HIPPLE, PAUL E           15346 BODMAN RD                                                                                    MOUNT ORAB        OH      45154
HIPPLE, RICHARD B        1021 TELEGRAPH RD                                                                                  RISING SUN        MD      21911‐1905
HIPPLE, RICHARD H        397 SHELLBOURNE DR                                                                                 ROCHESTER HLS     MI      48309‐1159
HIPPLE, WALDO D          1784 IRENE STREET NE                                                                               WARREN            OH      44483‐3529
HIPPLE, WALDO D          1784 IRENE AVE NE                                                                                  WARREN            OH      44483‐3529
HIPPLER, DENISE          2092 JOSEPHINE BLVD                                                                                BRUNSWICK         OH      44212‐4056
HIPPLER, DENISE          C/O STATE FARM INSURANCE COMPANIES ATTN: SHERRY MILLER        PO BOX 3020                          NEWARK            OH      43058‐3020

HIPPLER, DENISE          STATE FARM INSURANCE                PO BOX 3020                                                    NEWARK            OH      43058‐3020
HIPPLER, JOAN K          106 TIMBER RIDGE                                                                                   POMPTON PLNS      NJ      07444‐2101
HIPPLER, KIMBERLY E      3797 NORTH ADAMS ROAD                                                                              BLOOMFIELD        MI      48304‐3710
HIPPLER, MARGARET L      140 HICKORY ST                                                                                     BELLEVUE          OH      44811‐1750
HIPPLER, MARK F          21987 CASS ST                                                                                      FARMINGTN HLS     MI      48335‐4743
HIPPLEY, BETTY J         12090 MIDDLETOWN RD                                                                                SALEM             OH      44460‐9694
HIPPLEY, BRIAN           12090 W MIDDLETOWN RD                                                                              SALEM             OH      44460‐9694
HIPPLEY, MAHLON F        12404 W MIDDLETOWN RD                                                                              SALEM             OH      44460‐9694
HIPPLEY, MAHLON F        12090 W MIDDLETOWN RD                                                                              SALEM             OH      44460‐9694
HIPPS I I, ROBERT A      812 S WAVERLY RD                                                                                   EATON RAPIDS      MI      48827‐8205
HIPPS II, ROBERT A       812 S WAVERLY RD                                                                                   EATON RAPIDS      MI      48827‐8205
HIPPS, DORIS A           812 S WAVERLY RD                                                                                   EATON RAPIDS      MI      48827‐8205
HIPPS, GEORGE W          1516 TRUESDEL RD                                                                                   QUINCY            IN      47456‐8534
HIPPS, PALMER W          50570 GRAVEL RDG                                                                                   SHELBY TOWNSHIP   MI      48317‐1124
HIPPS, PATSY JEAN        36 ADAIR DRIVE NE                                                                                  MARIETTA          GA      30066‐6002
HIPPS, PATSY JEAN        36 ADAIR DR                                                                                        MARIETTA          GA      30066‐6002
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Name                   Address1                       Address2                   Address3   Address4                   City               State   Zip
HIPPS, PHYLLIS J       5836 W CAMINO DE MANANA                                                                         TUCSON              AZ     85742‐8690
HIPSHER, JESSIE F      30545 LEEMOOR ST               C/O HERBERT R HIPSHER                                            BEVERLY HILLS       MI     48025‐4918
HIPSHER, JOHN G        2397 WINKLEMAN DR                                                                               WATERFORD           MI     48329‐4449
HIPSHER, JOSEPHINE     1 E BRYANT AVE                                                                                  FRANKLIN            OH     45005‐1505
HIPSHER, MARSHA L      102 SKOKIAAN DRIVE                                                                              FRANKLIN            OH     45005‐5005
HIPSHER, MATTIE F      3859 SAN MATEO RD                                                                               WATERFORD           MI     48329‐2461
HIPSHER, MERRY         6917 IVY STONE WAY                                                                              KNOXVILLE           TN     37918‐5436
HIPSHER, VIRGINIA L    RAWLINS HOUSE                  300 J.H. WALKER DR                                               PENDLETON           IN     46064
HIPSHER, WAYNE E       6110 W 1200 SOUTH 27                                                                            ELWOOD              IN     46036
HIPSKIND, BRENDA C     319 E 2ND ST                                                                                    FAIRMOUNT           IN     46928‐1714
HIPSKIND, JOSEPH M     684 TYLER AVE                                                                                   PERU                IN     46970
HIPSKIND, STEVEN A     1319 CONGRESS ST                                                                                MIDDLETOWN          IN     47356‐9345
HIPSKIND, STEVEN T     10509 DUTCH SETTLEMENT RD                                                                       MARCELLUS           MI     49067
HIPWOOD, BILLIE J      1836 WHITE RD                                                                                   TURNER              MI     48765‐9744
HIRABAYASHI, TIMOTHY   3940 S CUSTER RD                                                                                MONROE              MI     48161‐9055
HIRAI, DAVID T         PO BOX 5371                                                                                     HACIENDA HEIGHTS    CA     91745‐0371

HIRALDO, JOSE          GROSSMAN JONAH                 18726 PERTH RD                                                   JAMAICA            NY      11432‐5815
HIRALDO, JOSE          GROSSMAN JONAH                 187‐26 PERTH ROAD                                                JAMAICA            NY      11432
HIRAM BOOKER           4672 MUSTANG CREEK CT                                                                           BENBROOK           TX      76126‐5490
HIRAM BRISKER JR       PO BOX 5042                                                                                     FLINT              MI      48505‐0042
HIRAM CHURCH           9320 DENNINGS RD                                                                                JONESVILLE         MI      49250‐9214
HIRAM COLLEGE          ADMINISTRATION                                                                                  HIRAM              OH      44234
HIRAM D LAINHART       405 JONES BRANCH                                                                                IRVINE             KY      40336‐7984
HIRAM F KELLEY         160 FLAGSTONE DR                                                                                ROSSVILLE          GA      30741‐8383
HIRAM FELTS            19 GRACE LOOP                                                                                   LILY               KY      40740‐2906
HIRAM FOUTS            4738 S COUNTY ROAD 500 E                                                                        KOKOMO             IN      46902
HIRAM GAHIMA           233 FIELDS AVE                                                       WINDSOR ON N9J3S3 CANADA

HIRAM GARDIN           5621 BUD WILSON RD                                                                              GASTONIA           NC      28056‐9056
HIRAM HARRIS           310 SYCAMORE ST                                                                                 GLADWIN            MI      48624‐8321
HIRAM HOLCOMB          18576 HURON RIVER DR                                                                            NEW BOSTON         MI      48164‐9356
HIRAM HOWARD           5313 10TH ST                                                                                    MALONE             FL      32445‐3449
HIRAM JOHNSON          5865 E STATE ROUTE 55                                                                           CASSTOWN           OH      45312‐9568
HIRAM JOHNSTON         56 N HILL ST                                                                                    BROOKVILLE         OH      45309‐1446
HIRAM JONES            PO BOX 77                                                                                       INKSTER            MI      48141‐0077
HIRAM JONES            193 STATE ROUTE 781                                                                             PEEBLES            OH      45660‐9735
HIRAM JORDAN           138 EVANS RD                                                                                    JACKSBORO          TN      37757‐2424
HIRAM K JOHNSON        5865 E. ST. RT. 55                                                                              CASSTOWN           OH      45312‐9568
HIRAM KAMPS            441 FAIRFAX AVE                                                                                 KALAMAZOO          MI      49001‐4259
HIRAM KELLEY           160 FLAGSTONE DR                                                                                ROSSVILLE          GA      30741‐8383
HIRAM L MORGAN         679 E MICHIGAN AVE APT 402                                                                      FOLEY              AL      36535
HIRAM L ROBINSON       PO BOX 5023                                                                                     DETROIT            MI      48205‐0023
HIRAM LAINHART         405 JONES BR                                                                                    IRVINE             KY      40336‐7984
HIRAM LANFORD          478 CREEKSIDE DR                                                                                MONROE             GA      30655‐7715
HIRAM MILLER           55 E. PLESANTE ST                                                                               RIVER ROUGE        MI      48218
HIRAM MILLER JR        W17365 MAIN ST                                                                                  CURTIS             MI      49820‐9641
HIRAM MITCHELL         8104 OAK ST                                                                                     TAYLOR             MI      48180‐2222
HIRAM NEWSOME          2207 BIRCH DR                                                                                   SEARS              MI      49679‐8708
HIRAM OVERALL          ATTN BUSINESS OFFICE           HARBOUR HEALTH MULTICARE                                         BUFFALO            NY      14209
HIRAM POND             213 RIDGECREST DR                                                                               EULESS             TX      76040‐4354
HIRAM RICHTER          660 HICKORY CT                                                                                  SEBEWAING          MI      48759‐1413
HIRAM SAGE             712 N LANSING ST                                                                                SAINT JOHNS        MI      48879‐1268
HIRAM SAMS             635 ROBBINS ST                                                                                  HOPE               IN      47246‐1119
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Name                            Address1                         Address2                      Address3   Address4               City                State   Zip
HIRAM SMITH                     319 HOLLOW ST                                                                                    HOHENWALD            TN     38462‐2430
HIRAM TERRELL                   2208 CLIFTON SPRINGS R                                                                           DECATUR              GA     30034
HIRAM TREADWELL                 6220 SHADBURN FERRY RD                                                                           BUFORD               GA     30518‐1318
HIRAM V JONES                   193 ST.RT. 781                                                                                   PEEBLES              OH     45660‐9735
HIRAM W JORDAN                  138 EVANS ROAD                                                                                   JACKSBORO            TN     37757
HIRAM WALKER & SON INC          PO BOX 33006                                                                                     DETROIT              MI     48232‐5006
HIRAM WALLER                    1445 PLEASANT GROVE RD                                                                           CHOUDRANT            LA     71227‐3240
HIRAM WINSTEAD                  2883 WISTERIA AVE                                                                                CRESTVIEW            FL     32539‐8979
HIRAM WRIGHT JR                 2154 GLENSIDE AVE                                                                                NORWOOD              OH     45212‐1140
HIRAMATSU/MADISN HTS            1751 E LINCOLN AVE               C/O JAKE INTERNATIONAL INC.                                     MADISON HEIGHTS      MI     48071‐4175

HIRASHIMA, RAIMUND G            612 N SANDPIPER                                                                                  INGLESIDE            TX     78362‐4686
HIRASHIMA, RAIMUND G            RR 1 BOX 197                                                                                     INGLESIDE ON THE     TX     78362‐9709
                                                                                                                                 BAY
HIRATA CORP                     HIRATA CORP OF AMERICA           5625 DECATUR BLVD                                               INDIANAPOLIS         IN     46241‐9509
HIRATA CORP
HIRATA CORP                     47295 CARTIER DR                                                                                 WIXOM               MI      48393‐2874
HIRATA CORP                     5625 DECATUR BLVD                                                                                INDIANAPOLIS        IN      46241‐9509
HIRATA CORPORATION OF AMERICA   47295 CARTIER DR                                                                                 WIXOM               MI      48393‐2874
HIRATA CORPORATION OF AMERICA   5625 DECATUR BLVD                                                                                INDIANAPOLIS        IN      46241‐9509
HIRATA, HIROKI                  1325 BRIGHTON LAKE RD                                                                            BRIGHTON            MI      48116‐1732
HIRATA/INDIANAPOLIS             5625 DECATUR BLVD                                                                                INDIANAPOLIS        IN      46241‐9509
HIRAUYE, TAMIKO A               241 KNOWER ST                                                                                    TOLEDO              OH      43609‐2823
HIRAUYE, TAMIKO A               5233 ANDELLA ST                                                                                  TOLEDO              OH      43613‐2705
HIRAYAMA, MOTOHIKO              PO BOX 9022                      SUGINAMI KU                                                     WARREN              MI      48090‐9022
HIRBE, JOHN C                   PO BOX 701                                                                                       SAINT CHARLES       MO      63302‐0701
HIRBOUR, RAYMOND                2689 STATE HWY 20                                                                                RICHFIELD SPRINGS   NY      13439

HIRCHBERGER, DENNIS E           19257 BEACONSFIELD ST                                                                            HARPER WOODS        MI      48225‐2123
HIRCHERT, CHARLES K             2641 SUN TERRACE DR                                                                              HARTLAND            MI      48353‐2943
HIRD CHARLES T (468369)         ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                      BALTIMORE           MD      21202
                                                                 CHARLES CENTER 22ND FLOOR
HIRD, CHARLES T                 ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                       BALTIMORE           MD      21202
                                                                 CHARLES CENTER 22ND FLOOR
HIRD, JOSEPH D                  10983 WELLINGTON DR NE                                                                           ROCKFORD             MI     49341‐8638
HIRD, WILLIAM D                 4419 JACKSON HOLLOW RD                                                                           FRANKLIN             TN     37064‐7304
HIRE DANIEL H (429107)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA     23510
                                                                 STREET, SUITE 600
HIRE'S AUTO PARTS               1620 NORTHLAND BLVD                                                                              FORT WAYNE           IN     46825‐6555
HIRE, DANIEL H                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA     23510‐2212
                                                                 STREET, SUITE 600
HIRE, DAVE M                    3625 LAKESHORE CT                                                                                GREENWOOD           IN      46143‐8355
HIRE, HOLLICE M.                6900 E THOMPSON RD                                                                               INDIANAPOLIS        IN      46237‐3556
HIRE, MARION W                  PO BOX 114                                                                                       MILAN               OH      44846‐0114
HIRED HANDS INC                 PO BOX 137555                                                                                    FORT WORTH          TX      76136‐1555
HIREMATH INDIRA                 640 CONGRESS PKWY                                                                                LAWRENCEVILLE       GA      30044‐4545
HIRERIGHT INC                   5151 CALIFORNIA AVE                                                                              IRVINE              CA      92617‐3059
HIRERIGHT INC                   24521 NETWORK PL                                                                                 CHIAGO              IL      60679‐1245
HIRES, THOMAS E                 703 RACE                                                                                         FRANKTON            IN      46044
HIRES, TROY T                   4801 LAKEWOOD HILLS CT                                                                           ANDERSON            IN      46017‐9305
HIRESS CRAWFORD                 947 E 193RD PL                                                                                   GLENWOOD            IL      60425‐2181
HIRINA, RITA B                  11317 VERSAILLES LANE                                                                            PORT RICHEY         FL      34668‐1927
HIRKAWAY, RAYMOND P             1438 N TIMBERWOLF TRL                                                                            BALDWIN             MI      49304‐8687
HIRKO, ELIZABETH                599 UPPER MIDDLETOWN RD                                                                          SMOCK               PA      15480‐1121
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Name                                   Address1                             Address2                      Address3                  Address4                     City              State   Zip
HIRLINGER HEATHER                      28147 BIHR ROAD                                                                                                           SUNMAN             IN     47041‐8360
HIRLINGER MOTORS, INC.                 LEONARD HIRLINGER                    158 HARRISON BROOKVILLE RD                                                           WEST HARRISON      IN     47060‐9672
HIRLINGER MOTORS, INC.                 158 HARRISON BROOKVILLE RD                                                                                                WEST HARRISON      IN     47060‐9672
HIRLSTON, JOYCE A                      21501 DONALDSON ST                                                                                                        DEARBORN           MI     48124‐3035
HIRMIZ, GABRIEL                        27274 WELSH DR                                                                                                            WARREN             MI     48092‐2619
HIRNEISEN PAULA L                      1634 MIRAMONT DR                                                                                                          FORT COLLINS       CO     80524‐1956
HIRNEISEN, CHRISTIAN A                 9264 VIENNA RD                                                                                                            OTISVILLE          MI     48463‐9783
HIRNEISEN, FRANCIE M                   1551 SEND WAY                                                                                                             LUTZ               FL     33549‐9394
HIRNEISEN, PAULA L                     1634 MIRAMONT DR                                                                                                          FORT COLLINS       CO     80524‐1956
HIRNER, DONALD E                       272 GRANDVIEW DR                                                                                                          LAKE OZARK         MO     65049‐6305
HIRNER, ROBERT J                       9533 PINE SPRAY CT                                                                                                        SAINT LOUIS        MO     63126‐2609
HIRNER, VIRGINIA M                     4056 N THREE RIVERS RD                                                                                                    GLADWIN            MI     48624‐8349
HIRNING CHEVROLET GMC                  2807 POCATELLO AVE                                                                                                        AMERICAN FALLS     ID     83211‐5444
HIRNING PONTIAC, CADILLAC, BUICK, G    509 YELLOWSTONE AVE                                                                                                       POCATELLO          ID     83201‐4533

HIRNING PONTIAC, CADILLAC, BUICK, GM   A. HIRNING                           509 YELLOWSTONE AVE                                                                  POCATELLO          ID     83201‐4533

HIRNING PONTIAC, CADILLAC, BUICK, GMC, 509 YELLOWSTONE AVE                                                                                                       POCATELLO          ID     83201‐4533
INC.
HIRNING PONTIAC, CADILLAC, GMC, INC.   A. HIRNING                           509 YELLOWSTONE AVE                                                                  POCATELLO          ID     83201‐4533

HIROAKI ONEILL                         4611 BREMER ST SW                                                                                                         GRANDVILLE         MI     49418‐2239
HIROKAZU MATSUMOTO                     JAPAN                                JAPAN                                                   HIGASHIOSAKA JAPAN
HIROKAZU MATSUMOTO                                                                                                                  HIGASHIOSAKA JAPAN
HIROKI HIRATA                          1325 BRIGHTON LAKE RD                                                                                                     BRIGHTON           MI     48116‐1732
HIROKI KANESHIRO                       1465 SUTTON BRIDGE RD.#30                                                                                                 RAINBOW CITY       AL     35906‐3326
HIROKO DICKERSON                       321 NW 69TH TER                                                                                                           HOLLYWOOD          FL     33024‐7427
HIROKO NIETHE                          427 PROSPECT ST                                                                                                           LOCKPORT           NY     14094‐2123
HIROMITSU TADA
HIRONS, CHARLES E                      607 E STEELE DR                      C/O NANCY L BLADE                                                                    SYRACUSE           IN     46567‐2148
HIRONS, ESTHER M                       4022 BEAVER LN APT 200A                                                                                                   PORT CHARLOTTE     FL     33952‐9244
HIRONS, RANDALL J                      11930 W COUNTY ROAD 850 NORTH                                                                                             GASTON             IN     47342‐9003
HIRONS, RICHARD L                      904 W CHERRY ST                                                                                                           BLUFFTON           IN     46714‐1723
HIRONS, ROBERT N                       636 BRIDGESTONE DR                                                                                                        ROCHESTER HILLS    MI     48309‐1614
HIROSKEY, FORREST M                    2950 NOBLE RD                                                                                                             OXFORD             MI     48370‐1728
HIROTEC AMERICA (PREVIOUSLY TESCO
ENGINEERING)
HIROTEC AMERICA (PREVIOUSLY TESCO      ATTN: CORPORATE OFFICER/AUTHORIZED   4567 GLENMEADE LN                                                                    AUBURN HILLS       MI     48326‐1767
ENGINEERING)                           AGENT
HIROTEC AMERICA INC                    4567 GLENMEADE LN                                                                                                         AUBURN HILLS       MI     48326‐1767
HIROTEC AMERICA INC                    4567 GLENMEADE LN                    FRMLY TESCO ENGINEERING INC                                                          AUBURN HILLS       MI     48326‐1767
HIROTEC AMERICA INC                    FMLY CAPITOL DESIGN                  1900 BROWN RD                                                                        AUBURN HILLS       MI     48326
HIROTEC AMERICA, INC                   4567 GLENMEADE LANE                                                                                                       AUBURN HILLS       MI     48326
HIROTEC AMERICA, INC                   ATTN: CORPORATE OFFICER/AUTHORIZED   4567 GLENMEADE LN                                                                    AUBURN HILLS       MI     48326‐1767
                                       AGENT
HIROTEC CORPORATION                    5‐2‐1 MINAMI ISHIUCHI                SAEKI KU                                                HIROSHIMA JP 731‐5108
                                                                                                                                    JAPAN
HIROTEC CORPORATION                    ATTN: CORPORATE OFFICER/AUTHORIZED   4567 GLENMEADE LN                                                                    AUBURN HILLS       MI     48326‐1767
                                       AGENT
HIROTEC CORPORATION , INC              4567 GLENMEADE LANE                                                                                                       AUBURN HILLS       MI     48326
HIROTEC CORPORATION , INC              ATTN: CORPORATE OFFICER/AUTHORIZED   4567 GLENMEADE LN                                                                    AUBURN HILLS       MI     48326‐1767
                                       AGENT
HIROTEC MEXICO SA DE CV                AURELIO ESPARZA                      BLVD KAPPA 1056               PARQUE INDUSTRIAL SANTA   SAN JOSE ITURBIDE GJ 37980
                                                                                                          MARIA                     MEXICO
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Name                      Address1                          Address2                       Address3               Address4                    City              State Zip
HIROTEC MEXICO SA DE CV   AURELIO ESPARZA                   CARRETERA SILAO IRAPUATO KM5.5 2‐A C‐C FRACC PARQUE   PUEBLA PU 72990 MEXICO
                                                                                           INDUSTRIA
HIROTEC MEXICO SA DE CV   BLVD KAPPA 1056                   PARQUE INDUSTRIAL SANTA MARIA                         RAMOS ARIZPE CZ 25900
                                                                                                                  MEXICO
HIROTEC MEXICO SA DE CV   CAR PANAMERICANA KM 5.5 2A LC     PARQUE INDUSTRIAL FIPASI                              SILAO GTO GJ 36100 MEXICO

HIROTEC MEXICO SA DE CV   CARR PANAMERICANA KM 5 5 LC 2A    PARQUE INDSTRL SILAO 36100                            GUANAJUATO MEXICO
                                                                                                                  MEXICO
HIROTEC MEXICO SA DE CV   CAR PANAMERICANA KM 5.5 2A LC                                                           SILAO GTO GJ 36100 MEXICO

HIRR, ROBERT M            1392 WAGON WHEEL CIR                                                                                                GRAND BLANC        MI   48439‐4895
HIRSBRUNNER, DAVID V      148 VILLA LN                                                                                                        SPARTA             TN   38503‐2572
HIRSCH                    1125 S BEVERLY DR STE 603                                                                                           LOS ANGELES        CA   90035‐1182
HIRSCH AMY                W172N7658 SHADY LN                                                                                                  MENOMONEE FALLS    WI   53051‐4111

HIRSCH DONALD C           HIRSCH, DONALD C                  30 EAST BUTLER PIKE , SUITE 310                                                   AMBLER            PA    19002
HIRSCH EDWARD (465272)    EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                                           NEW YORK          NY    10017‐6530
HIRSCH MICHAEL            3 ELYSE DR                                                                                                          NEW CITY          NY    10956‐3307
HIRSCH MILTON PA          9130 S DADELAND BLVD              STE 1200                                                                          MIAMI             FL    33156
HIRSCH, ALBERT            11350 ROBSON ST                                                                                                     DETROIT           MI    48227‐2453
HIRSCH, ANTOINETTE        76 OAKLAND RD                                                                                                       WILLIAMSVILLE     NY    14221‐6816
HIRSCH, BERNARD L         831 LYNCREEK DR                                                                                                     DAYTON            OH    45458‐2120
HIRSCH, CAROL J           3640 WOODGLEN WAY                                                                                                   ANDERSON          IN    46011‐1675
HIRSCH, CHERYL E          3735 E COVE PARK TRL                                                                                                HERNANDO          FL    34442‐5521
HIRSCH, CRAIG             PO BOX 747                                                                                                          WAYNE             MI    48184‐0747
HIRSCH, DAVA L            1800 N DUCK CREEK RD                                                                                                NORTH JACKSON     OH    44451‐9613
HIRSCH, DONNA M           PO BOX 198                                                                                                          JACKSON           NE    68743‐0198
HIRSCH, EDWARD            EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                                           NEW YORK          NY    10017‐6530
HIRSCH, EDWARD T          18 STANDISH PL                                                                                                      ISELIN            NJ    08830‐1321
HIRSCH, EDWARD W          33 W WARREN ST                                                                                                      ISELIN            NJ    08830‐1135
HIRSCH, ERMA              600 W WALTON BLVD APT 212                                                                                           PONTIAC           MI    48340‐1097
HIRSCH, HENRY G           1164 COLE RD                                                                                                        CHEYENNE          WY    82009‐9015
HIRSCH, HERBERT E         9896 BOUCHER RD                                                                                                     OTTER LAKE        MI    48464‐9417
HIRSCH, INGRID B          12820 WHITFIELD DR                                                                                                  STERLING HTS      MI    48312‐1544
HIRSCH, JOHN A            835 REGENTS PARK DR                                                                                                 MONROE            MI    48161‐9760
HIRSCH, JOHN J            187 POINT HARBOR RD                                                                                                 LEXINGTON         NC    27292‐7878
HIRSCH, JOSHUA A          114 CENTRAL AVE                                                                                                     POMPTON LAKES     NJ    07442‐1602
HIRSCH, MARILYN E         1808 N. CROSS LAKE CR. APT.D                                                                                        ANDERSON          IN    46012
HIRSCH, MERWYN C          6591 CLEARBROOK DR                                                                                                  SAINT HELEN       MI    48656‐9547
HIRSCH, MICHAEL           6547 GOLD LANE                                                                                                      PLANO             TX    75023‐2841
HIRSCH, MICHAEL R         1986 N HIGHGATE CT                                                                                                  BEAVERCREEK       OH    45432‐1879
HIRSCH, ORPHA M           26 TRACE LN                                                                                                         SHELBYVILLE       KY    40065‐8516
HIRSCH, OTTO W            2606 BLANTON ST                                                                                                     DALLAS            TX    75227‐8203
HIRSCH, RAMONA L          907 THOMAS AVE N                                                                                                    MINNEAPOLIS       MN    55411‐3519
HIRSCH, RICHARD A         7407 METZ DR                                                                                                        SHELBY TWP        MI    48316‐1841
HIRSCH, RICHARD J         637 WOODGATE DR                                                                                                     CROSSVILLE        TN    38571‐3776
HIRSCH, ROBERT            LISTER , SUSAN E                  3231 S GULLEY RD STE D                                                            DEARBORN          MI    48124‐4407
HIRSCH, ROBERT            OBRYAN BAUN                       401 S OLD WOODWARD AVE STE 450                                                    BIRMINGHAM        MI    48009‐6622
HIRSCH, ROBERT            5328 MCCAULEY RD                                                                                                    WEST BRANCH       MI    48661‐9103
HIRSCH, ROGER D           N6197 HILLSIDE DR                                                                                                   SULLIVAN          WI    53178‐9746
HIRSCH, ROGER M           201 FAIRFAX RD                                                                                                      ROCHESTER         NY    14609‐6634
HIRSCH, STUART A          6133 HOLLISTER DR                                                                                                   SPEEDWAY          IN    46224‐3044
HIRSCH, VIRGINIA A        3221 DOVER CT                                                                                                       JANESVILLE        WI    53546‐1956
HIRSCH, WANDA J           11832 KENSINGTON DR                                                                                                 HUNTLEY           IL    60142‐7714
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Name                           Address1                          Address2                    Address3               Address4                    City               State   Zip
HIRSCH‐KUSHING, JOAN           536 E 300TH ST                                                                                                   WILLOWICK           OH     44095‐4865
HIRSCHAUER, RICHARD D          1881 N BEECHBROOK DR                                                                                             SHELBYVILLE         IN     46176‐9712
HIRSCHBERG DISCOUNT CARPET     ATTN: GERTRUDE HIRSCHBERG         1520 N WASHINGTON ST                                                           KOKOMO              IN     46901‐2211
HIRSCHBERG, PEGGY M            9005 N CLEAR LAKE RD              P.O. BOX 483                                                                   MILTON              WI     53563‐8913
HIRSCHBIEL, SUSAN B            1800 EDEN WAY                                                                                                    VIRGINIA BEACH      VA     23454
HIRSCHELMAN, RUTH O            4121 NORTH VAL VERDE WAY                                                                                         PRESCOTT VLY        AZ     86314‐5462
HIRSCHENBERGER, DALE A         18237 W TOWNLINE RD                                                                                              SAINT CHARLES       MI     48655‐8703
HIRSCHENBERGER, DIANNA V       4198 E CEDAR LAKE DR                                                                                             GREENBUSH           MI     48738‐9724
HIRSCHENBERGER, DIANNA V       4198 EAST CEDAR LAKE DRIVE                                                                                       GREENBUSH           MI     48738‐9724
HIRSCHENBERGER, FRANK H        4198 E CEDAR LAKE DR                                                                                             GREENBUSH           MI     48738‐9724
HIRSCHENBERGER, JOAN           18237 W. TOWNLINE RD                                                                                             ST CHARLES          MI     48655
HIRSCHENBERGER, JOSEPH M       278 SUNFLOWER CT                                                                                                 MARCO ISLAND        FL     34145‐5038
HIRSCHENBERGER, KENNETH L      261 OAK LN                                                                                                       LAKE ALFRED         FL     33850
HIRSCHENBERGER, NICHOLAS       3993 PEET RD                                                                                                     NEW LOTHROP         MI     48460‐9645
HIRSCHENBERGER, RONALD M       5455 STROEBEL RD                                                                                                 SAGINAW             MI     48609‐5281
HIRSCHENBERGER, WILLIAM A      2942 PARTRIDGE POINT RD                                                                                          ALPENA              MI     49707
HIRSCHFELD, JAMES A            S77W19226 LAKEWOOD DRIVE                                                                                         MUSKEGO             WI     53150‐7007
HIRSCHFELD, KURT               29550 SYLVAN LN                                                                                                  FARMINGTON HILLS    MI     48334‐4068

HIRSCHFELD, KURT               29550 SYLVAN LANE                                                                                                FARMINGTON HILLS    MI     48334‐4068

HIRSCHFIELD H SONS CO          1414 N MADISON AVE                                                                                               BAY CITY           MI      48708‐5445
HIRSCHFIELD, CHERYL J          2216 GREEN VALLEY DR                                                                                             JANESVILLE         WI      53546‐1280
HIRSCHFIELD, DONALD G          5325 LOST MEADOW TRL                                                                                             CASTLE ROCK        CO      80104‐5231
HIRSCHFIELD, KIP M             4397 FOX HILLS DR                                                                                                JANESVILLE         WI      53546‐8886
HIRSCHFIELD, WARREN D          5300 ELMGATE DR                                                                                                  ORCHARD LAKE       MI      48324‐3019
HIRSCHI, LORI A                13017 ZILLA ST NW                                                                                                COON RAPIDS        MN      55448‐4027
HIRSCHINGER, CHARLES L         14474 WAVERLY DR                                                                                                 CARMEL             IN      46033‐9183
HIRSCHINGER, THOMAS L          7981 THISTLE FINCH                                                                                               BROWNSBURG         IN      46112‐7767
HIRSCHMAN, DAVID M             179 SHERRIE DR                                                                                                   SHELBYVILLE        KY      40065
HIRSCHMAN, LOUIS R             3551 E MARCUS DR                                                                                                 SAGINAW            MI      48603‐2045
HIRSCHMANN CAR COMMUNICATION   STUTTGARTER STR 45 51                                                                NECKARTENZLINGEN D‐72654
GMBH                                                                                                                GERMANY
HIRSCHMANN CAR COMMUNICATION   AVE DEL RIO BRAVO S/N                                                                CD JUAREZ CI 32557 MEXICO
GMBH
HIRSCHMANN ELECTRONICS         ALEJANDRO GUAJARDO                1116 CENTRE ROAD                                   PIEDRAS NEGRAS CZ 26030
                                                                                                                    MEXICO
HIRSCHMANN ELECTRONICS GMBH    ALEJANDRO GUAJARDO                C/O EPIC TECHNOLOGIES LLC   995 LOMA VERDE DRIVE                               LOS INDIOS          TX     78567
HIRSCHMANN ELECTRONICS INC     1540 ORCHARD DR                                                                                                  CHAMBERSBURG        PA     17201‐4811
HIRSCHMANN INDUSTRIES GMBH     ALEJANDRO GUAJARDO                1116 CENTRE ROAD                                   PIEDRAS NEGRAS CZ 26030
                                                                                                                    MEXICO
HIRSCHMANN INDUSTRIES GMBH     ALEJANDRO GUAJARDO                C/O EPIC TECHNOLOGIES LLC   995 LOMA VERDE DRIVE                               LOS INDIOS          TX     78567
HIRSCHMANN INDUSTRIES GMBH     1116 CENTRE RD                                                                                                   AUBURN HILLS        MI     48326
HIRSCHMANN, CARLA V            W166N8546 THEODORE AVE                                                                                           MENOMONEE FALLS     WI     53051‐2840

HIRSEL MAXWELL                 29744 FLORENCE ST                                                                                                GARDEN CITY        MI      48135‐2694
HIRSH, AMANDA M                93 EAST 25TH STREET                                                                                              HUNTINGTN STA      NY      11746‐3706
HIRSHBERG ACCEPTANCE CORP      29905 6 MILE RD                                                                                                  LIVONIA            MI      48152‐3603
HIRSHBERG, GERALD P            1227 UMATILLA ST                                                                                                 DEL MAR            CA      92014‐2540
HIRSHMAN, BARBARA I            3701 W ACRE AVE                                                                                                  FRANKLIN           WI      53132‐8422
HIRSHMAN, RONALD J             3701 W ACRE AVE                                                                                                  FRANKLIN           WI      53132‐8422
HIRST & APPLEGATE PC           1720 CAREY AVE STE 200                                                                                           CHEYENNE           WY      82001‐4427
HIRST, BARBARA J               501 S W WESTMINISTER                                                                                             BLUE SPRINGS       MO      64014‐3568
HIRST, CATHERINE N             8265 VAN DRIVE                                                                                                   POLAND             OH      44514‐2946
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Name                     Address1                          Address2                     Address3                    Address4                   City               State   Zip
HIRST, CATHERINE N       8265 VAN DR                                                                                                           POLAND              OH     44514‐2946
HIRST, JERRY D           41637 SLEEPY HOLLOW DR                                                                                                NOVI                MI     48377‐4502
HIRST, JOHN E            501 SW WESTMINISTER RD                                                                                                BLUE SPRINGS        MO     64014‐3568
HIRST, PERRY F           4926 EASTWOOD WAY                                                                                                     ANDERSON            IN     46017‐9634
HIRST, SUSAN A           416 VIRGINIA AVE                                                                                                      ROYAL OAK           MI     48067‐4117
HIRT FOOT AND ANKLE      205 LINCOLN ST                                                                                                        FENTON              MI     48430‐2640
HIRT LAUREL              PO BOX 378                                                                                                            FAIRVIEW            PA     16415‐0378
HIRT, CEOLOE J           7152 SUNSET AVENUE                                                                                                    JENISON             MI     49428‐8927
HIRT, EDWARD L           7892 BLUEBERRY LN                                                                                                     JOHANNESBURG        MI     49751‐9710
HIRT, ELAINE             340 S WILLIAMSBURY RD                                                                                                 BLOOMFIELD HILLS    MI     48301‐3462
HIRT, ETHEL M            916 POLK ST                                                                                                           SANDUSKY            OH     44870
HIRT, JOHN L             2375 E MAPLE TURN RD                                                                                                  MARTINSVILLE        IN     46151‐7425
HIRT, LARRY K            327 UNION ST                                                                                                          BELLEVUE            OH     44811‐1040
HIRT, MARY J             1329 HOLLYWOOD ST NE                                                                                                  GRAND RAPIDS        MI     49505
HIRT, MARY JO K          1116 WINDREEF CIR                                                                                                     OKEMOS              MI     48864‐3454
HIRTH, C J               1816 GREEN MEADOW DR                                                                                                  JEFFERSON CITY      MO     65101‐2314
HIRTREITER, JACK A       485 FERNDALE AVE                                                                           FORT ERIE ONTARIO CANADA
                                                                                                                    L2A‐5C5
HIRTZ, HELEN M           18102 66TH CT APT 414                                                                                                 TINLEY PARK        IL      60477‐6489
HIRTZEL, RAYMOND G       94 RICHMOND AVE                                                                                                       LANCASTER          NY      14086‐3043
HIRVONEN, ELMA F         PO BOX 77                                                                                                             TROUT CREEK        MI      49967‐0077
HIRYOK, ANNE H           2486 HENN HYDE RD                                                                                                     CORTLAND           OH      44410‐9446
HIRYOK, ANNE H           2486 HENN‐HYDE RD.                                                                                                    CORTLAND           OH      44410‐9446
HIRZEL JONES ASSOC       21310 HILLTOP ST                                                                                                      SOUTHFIELD         MI      48033‐4063
HIRZEL, GARY L           1234 CATARINA ST                                                                                                      SANTA YNEZ         CA      93460‐9658
HIRZEL, MARTHA F         1234 CATARINA ST                                                                                                      SANTA YNEZ         CA      93460‐9658
HISAMUNE, SAMPEI         47 SUGAR PINE LN                                                                                                      DANVILLE           CA      94506‐4534
HISAN INC                1849 INDUSTRIAL DR                                                                                                    FINDLAY            OH      45840‐5440
HISAW JR, HAROLD L       54 GREEN PINES CIR                                                                                                    SAINT PETERS       MO      63376‐1998
HISAW, FLORENCE          236 COUNTY ROAD 2201                                                                                                  BOONEVILLE         MS      38829‐8660
HISCHAK, THOMAS M        845 TWIN OAKS DR                                                                                                      DAYTON             OH      45431‐2925
HISCOCK & BARCLAY LLP    300 S STATE ST                    STE 520                                                                             SYRACUSE           NY      13202‐2013
HISCOCK & BARCLAY LLP    ATTY FOR THE SCHAEFER GROUP INC   ATTN SUSAN R KATZOFF ESQ     ONE PARK PLACE              300 SOUTH STATE STREET     SYRACUSE           NY      13202
HISCOCK & BARCLAY LLP    ATTY FOR AUTOPORT LIMITED         ATTN: J ERIC. CHARLTON       ONE PARK PLACE              300 SOUTH STATE STREET     SYRACUSE           NY      13202‐2078
HISCOCK & BARCLAY, LLP   ATTN: J. ERIC CHARLTON            ATTY FOR CANADIAN NATIONAL   ONE PARK PLACE, 300 SOUTH                              SYRACUSE           NY      13202‐2078
                                                           RAILWAY                      STATE STREET
HISCOCK & BARCLAY, LLP   ATT: SUSAN R. KATZOFF, ESQ.       ONE PARK PLACE               300 SOUTH STATE STREET                                 SYRACUSE           NY      13202
HISCOCK JEFFREY          2443 LOST CREEK DR                                                                                                    FLUSHING           MI      48433‐9436
HISCOCK, BETTY L.        403 WINDMILL LN                                                                                                       BURLINGTON         WA      98233‐4031
HISCOCK, DOROTHY A       7244 NORTHFIELD CIR                                                                                                   FLUSHING           MI      48433‐9427
HISCOCK, JAMES R         689 KENASTON DR                                                                                                       COLDWATER          MI      49036‐8598
HISCOCK, JEFFREY R       2443 LOST CREEK DR                                                                                                    FLUSHING           MI      48433‐9436
HISCOCK, JENNIFER A      2443 LOST CREEK DR                                                                                                    FLUSHING           MI      48433‐9436
HISCOCK, JOHN F          3825 121ST AVE                                                                                                        ALLEGAN            MI      49010‐9445
HISCOCK, LAILAH R        STE 600                           201 WEST BIG BEAVER ROAD                                                            TROY               MI      48084‐4161
HISCOX, BENJAMIN K       1752 STATE PARK RD                                                                                                    ORTONVILLE         MI      48462‐9451
HISE, BETTY L            711 DAVIDSON ST                                                                                                       ELDORADO           IL      62930
HISE, DOUGLAS            3657 GREENS MILL RD                                                                                                   SPRING HILL        TN      37174‐2127
HISE, GENE A             1017 NW 8TH ST                                                                                                        MOORE              OK      73160‐1807
HISE, GERALD             3510 CHURCH DR                                                                                                        ANDERSON           IN      46013‐2252
HISE, JACK W             94 GROUDNECK RD NW                                                                                                    TULLAHOMA          TN      37388
HISE, RODNEY H           5982 DADO DR                                                                                                          NOBLESVILLE        IN      46062
HISE, RUTH F             11215 BETHEL RD                                                                                                       NORMAN             OK      73026‐9750
HISEL, IDA M             1524 S GRANT ST                                                                                                       JANESVILLE         WI      53546‐5411
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Name                       Address1                         Address2                        Address3   Address4               City               State   Zip
HISEL, IDA M               1524 S GRANT AVE                                                                                   JANESVILLE          WI     53546‐5411
HISEL, JAMES E             151 BICKNELL BRANCH RD                                                                             IRVINE              KY     40336‐9543
HISEL, RONALD D            11152 CROCKETT MARTIN RD                                                                           CONROE              TX     77306‐7628
HISELMAN, RONALD E         1111 HAWKS NEST CT                                                                                 PUNTA GORDA         FL     33950‐5801
HISENKAMP, ROBERT J        3507 SUMMERSWORTH RUN                                                                              FORT WAYNE          IN     46804‐6005
HISER ROBERT (445253)      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD          OH     44067
                                                            PROFESSIONAL BLDG
HISER, CALVIN F            15750 IDA CENTER RD                                                                                PETERSBURG         MI      49270‐9710
HISER, DAVID H             13010 N WHEELING AVE                                                                               GASTON             IN      47342‐8903
HISER, EVA J               P.O. BOX 3223                                                                                      JUPITIER           FL      33469
HISER, EVA J               PO BOX 3223                                                                                        JUPITER            FL      33469‐1003
HISER, GARLAND G           UNIT 2B                          1004 SCARLET OAK COURT                                            HAMPSTEAD          MD      21074‐4301
HISER, JAMES W             851 G STEPHENS RD                                                                                  ROUNDHILL          KY      42275‐9427
HISER, JAMES WILLIAM       851 G STEPHENS RD                                                                                  ROUNDHILL          KY      42275‐9427
HISER, JEAN                191 BERKSHIRE LOOP                                                                                 FAIRFIELD GLADE    TN      38558‐7150
HISER, JUDITH A            9782 OLD Q AVE WEST                                                                                MATTAWAN           MI      49071
HISER, KEITH E             1160 GIDNER RD                                                                                     CHARLOTTE          MI      48813‐9743
HISER, MICHAEL G           9782 OLD Q AVE                                                                                     MATTAWAN           MI      49071‐9412
HISER, NANCY J             4957 FORD ST                                                                                       SPEEDWAY           IN      46224‐6927
HISER, PHILLIP E           7201 HICKORY LN                                                                                    ONSTED             MI      49265‐9662
HISER, RALPH D             230 GORDON AVE                                                                                     ROMEOVILLE         IL      60446‐1706
HISER, ROBERT G            28147 WILDWOOD TRL                                                                                 FARMINGTON HILLS   MI      48336‐2158

HISER, ROBERT H            1111 NORTHVILLE DR                                                                                 TOLEDO             OH      43612‐4233
HISER, ROBERT HAROLD       1111 NORTHVILLE DR                                                                                 TOLEDO             OH      43612‐4233
HISER, ROBERT L            82 FITTING AVE                                                                                     BELLVILLE          OH      44813‐1043
HISER, SARAH J             851 G STEPHENS RD                                                                                  ROUNDHILL          KY      42275‐9427
HISER, SARAH JEAN          851 G STEPHENS RD                                                                                  ROUNDHILL          KY      42275‐9427
HISER, SHIRLEY M           931 JO ANN DR                                                                                      WILMINGTON         IL      60481‐1651
HISER, THERESA             PO BOX 34042                                                                                       FORT WORTH         TX      76162‐4042
HISER, THOMAS E            PO BOX 34042                                                                                       FORT WORTH         TX      76162‐4042
HISERMAN, THELMA V         27809 ESPINOZA                                                                                     MISSION VIEJO      CA      92692‐2104
HISEY KENNETH F (466972)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA      23510
                                                            STREET, SUITE 600
HISEY, CHARLES W           8500 E KEATING PARK ST APT C3                                                                      FLORAL CITY        FL      34436
HISEY, DONALD G            P.O. BOX 873                                                                                       SONANIA            OH      45303‐5303
HISEY, DONALD G            PO BOX 873                                                                                         ANSONIA            OH      45303‐0873
HISEY, ELEANOR             1107 E CENTRAL AVE                                                                                 MIAMISBURG         OH      45342‐2557
HISEY, ELEANOR             1107 E. CENTRAL AVE                                                                                MIAMISBURG         OH      45342‐2557
HISEY, KENNETH F           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA      23510‐2212
                                                            STREET, SUITE 600
HISHAM M ALDOURI           311 W CALICO DR                                                                                    RAYMORE            MO      64083‐8505
HISHIDA, EDNEI             15325 YALE DR                                                                                      CLINTON TWP        MI      48038‐1098
HISHKE, JAMES F            371 M‐15                                                                                           ORTONVILLE         MI      48462
HISHKE, NANCY A.           7151 BLUEWATER DR                                                                                  CLARKSTON          MI      48348‐4274
HISKE, DALE L              4455 ROOSEVELT BLVD                                                                                DEARBORN HTS       MI      48125‐2534
HISKE, KIM C               4880 ROSALIE ST                                                                                    DEARBORN           MI      48126‐4122
HISKEY, MYRA L             4111 SCENIC DR                                                                                     EUGENE             OR      97404
HISLE JR, GRADEN           2120 N KING RD                                                                                     MARION             IN      46952‐9316
HISLE, CONSTANCE D         1213 COUNTY ROAD 1765                                                                              JACKSONVILLE       MO      65260‐3157
HISLE, DARREL W            699 W 200 N                                                                                        GREENFIELD         IN      46140‐8603
HISLE, DARREL WAYNE        699 W 200 N                                                                                        GREENFIELD         IN      46140‐8603
HISLE, DAVID P             1201 S 950 W                                                                                       ANDERSON           IN      46012‐9303
HISLE, ELRENA L            3794 RIGGS RD. OXFORD                                                                              OXFORD             OH      45056‐9215
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Name                               Address1                           Address2                Address3     Address4               City               State   Zip
HISLE, MILDRED F                   1510 ATLANTA CT                                                                                FLORENCE            KY     41042‐8537
HISLE, MILLARD                     3900 RIGGS RD.                                                                                 OXFORD              OH     45056
HISLOP, D A                        705 S SUNSET DR                                                                                PIQUA               OH     45356‐2820
HISLOP, DENISE                     VILES LAW FIRM                     PO BOX 2486                                                 FORT MYERS          FL     33902‐2486
HISLOP, GEORGE
HISLOP, GWENDOLYN F                937 EVERYMAN CT                                                                                COLUMBIA           TN      38401‐5597
HISLOPE, JAMES A                   23795 S STATE HIGHWAY 47                                                                       WARRENTON          MO      63383‐6949
HISNER, JESSICA CHRISTINE          17015 COVERDALE RD                                                                             OSSIAN             IN      46777‐9413
HISON, JOSEPH H                    PO BOX 364                                                                                     CORTLAND           OH      44410‐0364
HISPANIC AWARENESS ORGANIZATION    PO BOX 1083                                                                                    DEFIANCE           OH      43512‐1083

HISPANIC BUSINESS
HISPANIC BUSINESS INC              425 PINE AVE                                                                                   SANTA BARBARA      CA      93117‐3709
HISPANIC BUSINESS INC.             425 PINE AVE                                                                                   SANTA BARBARA      CA      93117‐3709
HISPANIC CHAMBER OF COMMERCE OF    1600 BALTIMORE AVE STE 250                                                                     KANSAS CITY        MO      64108‐1357
GREATER KANSAS CITY
HISPANIC FESTIVAL INC              PO BOX 4064                                                                                    FLORISSANT         MO      63032
HISPANIC LEADERSHIP COALITION      PO BOX 13666                                                                                   FORT WAYNE         IN      46865‐3666
HISPANIC MARKET WEEKLY             2332 GALIANO ST # 2                                                                            CORAL GABLES       FL      33134‐5402
HISPANIC NATIONAL BAR ASSOC        C/O M HERNANDEZ ‐ CONV HDQTRS      1 MONTGOMERY ST FL 26                                       SAN FRANCISCO      CA      94104‐5526
HISPANIC SCHOLARSHIP FUND          HENRRIETTE MENA                    55 2ND ST STE 1500                                          SAN FRANCISCO      CA      94105‐3499
HISPANIC WISCONSIN                 2997 S 20TH ST                                                                                 MILWAUKEE          WI      53215‐3742
SCHOLARSHIPFOUNDATION INC
HISPANIC WOMENS NETWORK OF TEXAS   PO BOX 327                                                                                     AUSTIN              TX     78767‐0327

HISS, HELEN M                      483 MARION ST                                                                                  DENVER             CO      80218‐3929
HISS, RICHARD C                    5131 HUGGINS RD                                                                                MICHIGAN CTR       MI      49254‐1454
HISSCOCK, LISA J                   106 LANCELOT LN                                                                                FRANKLIN           TN      37064‐0734
HISSOM, GARRY W                    16485 COWLEY RD                                                                                GRAFTON            OH      44044‐9209
HISSOM, ROBERT G                   9734 MONTICELLO DR                                                                             SHREVEPORT         LA      71118‐4231
HISSONG JR, RODNEY R               4197 GORMAN AVE                                                                                ENGLEWOOD          OH      45322‐2621
HISSONG KENWORTH, INC.             ROBERT HISSONG                     2890 BRECKSVILLE RD                                         RICHFIELD          OH      44286‐9740
HISSONG KENWORTH‐GMC               2890 BRECKSVILLE RD                                                                            RICHFIELD          OH      44286‐9740
HISSONG STACY                      3896 BANNER RD                                                                                 SAINT JOHNS        MI      48879‐8551
HISSONG, DARRYL J                  37312 GLENBROOK DR                                                                             CLINTON TOWNSHIP   MI      48036‐2431

HISSONG, FRANCES V                 8401 18 MILE RD APT 123                                                                        STERLING HTS       MI      48313‐3052
HISSONG, LARRY K                   502 S HIGH ST                                                                                  ARCANUM            OH      45304‐1216
HISSONG, PAUL E                    1996 CROSSWIND CT                                                                              ENGLEWOOD          OH      45322‐2232
HISSONG, PIERRE GREGG              117 N 1ST ST STE 111                                                                           ANN ARBOR          MI      48104‐1354
HISSONG, ROBERT D                  1390 LAKESIDE DR                                                                               HOWELL             MI      48843‐1347
HISSONG, THOMAS G                  45132 RECTOR DR                                                                                CANTON             MI      48188‐1642
HISSONG, TOBIN A                   7954 GRAND ST                                                                                  DEXTER             MI      48130‐1314
HISSONG, TOBIN ALAN                7954 GRAND ST                                                                                  DEXTER             MI      48130‐1314
HISTED, BRADLEY D                  1263 E KINNEY RD                                                                               MUNGER             MI      48747‐9772
HISTED, CAMMIE A                   2694 COTTAGE GROVE RD                                                                          MIDLAND            MI      48642‐9614
HISTED, ETHEL                      29677 W M‐28                                                                                   ECKERMAN           MI      49728
HISTED, GORDON                     5433 N HOPE RD                                                                                 HOPE               MI      48628‐9701
HISTED, GORDON A                   1004 ARTISAN AVE                                                                               CHESAPEAKE         VA      23323‐6802
HISTED, JOYCE L                    531 W CENTER                                                                                   ESSEXVILLE         MI      48732
HISTED, LESLIE G                   4074 FLAJOLE RD                                                                                MIDLAND            MI      48642
HISTED, MAXINE W                   12100 WALSHWOOD AVE                                                                            BROOKSVILLE        FL      34613‐5554
HISTED, SHERMAN P                  1024 MARKEL RD                                                                                 MUNGER             MI      48747‐9752
HISTER, GENEMAR                    PO BOX 314                                                                                     INKSTER            MI      48141‐0314
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Name                                 Address1                         Address2                         Address3              Address4                     City               State Zip
HISTORICAL BLACK COLLEGE TOUR        1801 ROCKINGHAM AVE                                                                                                  BOWLING GREEN       KY 42104‐3347
HITACHI                              6‐6 MARUNOUCHI, 1 CHOME                                                                 CHIYODA‐KU, TO 100‐8 JAPAN

HITACHI                              5300 GRANT LINE RD                                                                                                   NEW ALBANY          IN   47150‐9335
HITACHI                              6‐6 MARUNOUCHI                   1 CHOME                          CHIYODA‐KU 100‐8280   TOKYO JAPAN
HITACHI ‐ YONEZAWA ELECTRONICS       DAVE HARTMAN                     5870 TAYLOR RIDGE DR                                                                WEST CHESTER       OH    45069‐5913
HITACHI AMERICA LTD                  34500 GRAND RIVER AVE                                                                                                FARMINGTON HILLS   MI    48335‐3373

HITACHI AMERICA LTD                  2459 208TH ST                                                                                                        TORRANCE           CA    90501
HITACHI AMERICA, LTD.                ALAN WONG                        1000 MARINA BLVD                 STE 500                                            BRISBANE           CA    94005‐1838
HITACHI AMERICA, LTD.                ALAN WONG                        2000 SIERRA POINT PARKWAY                                                           BRISBANE           CA    94005
HITACHI AUTO/FRMGTN                  34500 GRAND RIVER AVE                                                                                                FARMINGTN HLS      MI    48335‐3310
HITACHI AUTO/TORRANC                 475 ALASKA AVE                                                                                                       TORRANCE           CA    90503‐3901
HITACHI AUTOMOTIVE PRODS USA INC     475 ALASKA AVE                                                                                                       TORRANCE           CA    90503‐3901
HITACHI AUTOMOTIVE PRODS USA INC     34500 GRAND RIVER AVE                                                                                                FARMINGTON HILLS   MI    48335‐3310

HITACHI AUTOMOTIVE PRODUCT (USA)     KEN FUNASAKI                     34500 GRAND RIVER AVE                                                               FARMINGTON HILLS   MI    48335‐3310
INC.
HITACHI AUTOMOTIVE PRODUCT (USA),    KEN FUNASAKI                     34500 GRAND RIVER AVE                                                               FARMINGTON HILLS   MI    48335‐3310
INC.
HITACHI AUTOMOTIVE PRODUCTS          CARLA GARNICA X3294              955 WARWICK RD                                                                      MEMPHIS            TN    38116
HITACHI AUTOMOTIVE PRODUCTS          SUZANNE MCDANIEL                 475 ALASKA AVE                                                                      TORRANCE           CA    90503‐3901
HITACHI AUTOMOTIVE PRODUCTS          SUZANNE MCDANIEL                 475 ALASKA AVE.                                                                     CORRY              PA
HITACHI AUTOMOTIVE PRODUCTS ($BD,    DOUG BOWLING                     955 WARWICK RD                                                                      HARRODSBURG        KY    40330‐1067
$D5, $DD, $DE)
HITACHI AUTOMOTIVE PRODUCTS (USA)

HITACHI AUTOMOTIVE PRODUCTS (USA),   17225 FEDERAL DRIVE              SUITE 100                                                                           ALLEN PARK         MI    48101
INC.
HITACHI AUTOMOTIVE PRODUCTS IN       34500 GRAND RIVER AVE                                                                                                FARMINGTON HILLS   MI    48335‐3310

HITACHI AUTOMOTIVE PRODUCTS INC      34500 GRAND RIVER AVE                                                                                                FARMINGTON HILLS   MI    48335‐3310

HITACHI AUTOMOTIVE PRODUCTS US      SUZANNE MCDANIEL                  601 ROBINSON AVE                                                                    LIVONIA            MI    48150
HITACHI AUTOMOTIVE PRODUCTS US      475 ALASKA AVE                                                                                                        TORRANCE           CA    90503‐3901
HITACHI AUTOMOTIVE PRODUCTS US      955 WARWICK RD                    PO BOX 510                                                                          HARRODSBURG        KY    40330‐1067
HITACHI AUTOMOTIVE PRODUCTS USA INC 34500 GRAND RIVER AVE                                                                                                 FARMINGTON HILLS   MI    48335‐3310

HITACHI AUTOMOTIVE PRODUCTS USA INC 955 WARWICK RD                                                                                                        HARRODSBURG         KY   40330‐1067

HITACHI AUTOMOTIVE PRODUCTS USA INC 601 ROBINSON AVE                                                                                                      HARRODSBURG         KY   40330

HITACHI AUTOMOTIVE PRODUCTS USA INC 1000 UNISIA DR                    FRMLY UNISIA OF GEORGIA CORP                                                        MONROE             GA    30655‐5379

HITACHI AUTOMOTIVE SYSTEMS EUROPE    LOHSTR 28                                                                               SCHWAIG OBERDING BY 85445
                                                                                                                             GERMANY
HITACHI CAB/NEW ALBA                 5300 GRANT LINE RD                                                                                                   NEW ALBANY         IN    47150‐9335
HITACHI CABLE                        223 PROGRESS DR                                                                                                      RUSSELL SPRINGS    KY    42642‐4497
HITACHI CABLE AMERICA INC            10 BANK ST STE 590                                                                                                   WHITE PLAINS       NY    10606‐1948
HITACHI CABLE INDIAN                 5300 GRANT LINE RD                                                                                                   NEW ALBANY         IN    47150‐9335
HITACHI CABLE INDIANA INC            5300 GRANT LINE RD                                                                                                   NEW ALBANY         IN    47150‐9335
HITACHI CABLE INDIANA, INC           5300 GRANT LINE RD                                                                                                   NEW ALBANY         IN    47150‐9335
HITACHI CABLE INDIANA, INC.          TROY HICKMAN                     PO BOX 6743                      5300 GRANT LINE RD/                                NEW ALBANY         IN    47151‐6743
HITACHI CABLE INDIANA, INC.          TROY HICKMAN                     5300 GRANT LINE RD/PO BOX 6743                                                      GREENFIELD         IN    46140
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Name                                Address1                              Address2                         Address3                    Address4                    City               State Zip
HITACHI CREDIT AMERICA CORP         777 W. PUTNAM                                                                                                                  GREENWICH           CT 06830
HITACHI CREDIT AMERICA CORP         ATTN: CORPORATE OFFICER/AUTHORIZED    777 W PUTNAM AVE                                                                         GREENWICH           CT 06830
                                    AGENT
HITACHI DATA SYSTEMS CORPORATION    ATTENTION: DIRECTOR OF FINANCE        750 CENTRAL EXPY                                                                         SANTA CLARA        CA    95050‐2627

HITACHI HIGH TECHNOLOGIES AMER      5100 FRANKLIN DR                                                                                                               PLEASANTON         CA    94588‐3355
HITACHI HIGH TECHNOLOGIES AMERICA   5100 FRANKLIN DR                                                                                                               PLEASANTON         CA    94588‐3355

HITACHI HIGH‐TECHNOLOGIES CANADA

HITACHI LTD                         1‐6‐6 MARUNOUCHI                                                                                   CHIYODA‐KU TOKYO 100‐0005
                                                                                                                                       JAPAN
HITACHI LTD                                                               1‐6‐6 MARUNOUCHI                                             CHIYODA‐KU TOKYO,JP,100‐
                                                                                                                                       0005,JAPAN
HITACHI LTD                         JAVIER DIAZ                           HITCHI CABLE INDIANA             AV MANANTIALES NO 18                                    ROCHESTER HILLS    MI    48309
                                                                                                           PARQUE IN
HITACHI LTD                         JORGE ZILLALOBOS                      1000 UNISIA DR                   HITACHI UNISIA AUTOMOTIVE                               MONROE             GA    30655‐5379

HITACHI LTD                         JORGE ZILLALOBOS                      HITACHI UNISIA AUTOMOTIVE        1000 UNISIA DRIVE                                       SHREVEPORT         LA    71129
HITACHI LTD                         KEN FUNASAKI                          34500 GRAND RIVER AVE                                                                    FARMINGTON HILLS   MI    48335‐3310

HITACHI LTD                         LOHSTR 28                                                                                          SCHWAIG OBERDING BY 85445
                                                                                                                                       GERMANY
HITACHI LTD                         SUZANNE MCDANIEL                      475 ALASKA AVE                                                                           TORRANCE           CA    90503‐3901
HITACHI LTD                         SUZANNE MCDANIEL                      475 ALASKA AVE.                                                                          CORRY              PA
HITACHI LTD                         SUZANNE MCDANIEL                      601 ROBINSON AVE                                                                         LIVONIA            MI    48150
HITACHI LTD                         TOM HEALY                             301 MAYDE DR.                                                                            CHICAGO            IL
HITACHI LTD                         TOM HEALY                             301 MAYDE RD                                                                             BEREA              KY    40403‐9777
HITACHI LTD                         TROY HICKMAN                          5300 GRANT LINE RD/PO BOX 6743                                                           GREENFIELD         IN    46140
HITACHI LTD                         TROY HICKMAN                          PO BOX 6743                      5300 GRANT LINE RD/                                     NEW ALBANY         IN    47151‐6743
HITACHI LTD                         VICKI PAUL                            1500 HEARTLAND BLVD                                                                      WAUSEON            OH    43567
HITACHI LTD
HITACHI LTD                         1‐6‐6 MARUNOUCHI                      CHIYODA‐KU TOKYO JP 100‐0005                                 JAPAN
HITACHI LTD                         1000 UNISIA DR                                                                                                                 MONROE             GA    30655‐5379
HITACHI LTD                         35 NAGAHAMACHO KANDAMACHI                                                                          MIYAKO GUN 800‐0311 JAPAN

HITACHI LTD                         4‐10‐1 KAWAJIRICHO                                                                                 HITACHI IBARAKI 319‐1411
                                                                                                                                       JAPAN
HITACHI LTD                         5300 GRANT LINE RD                                                                                                             NEW ALBANY          IN   47150‐9335
HITACHI LTD                         6‐6 MARUNOUCHI, 1 CHOME, CHIYODA‐                                                                  JAPAN
                                    KU, 100‐8280 TOKYO JAPAN
HITACHI LTD                         704‐1 TARUMI                                                                                       CHIKUJO‐GUN JP 871‐0913
                                                                                                                                       JAPAN
HITACHI LTD                         955 WARWICK RD                                                                                                                 HARRODSBURG        KY    40330‐1067
HITACHI LTD                         955 WARWICK RD                        PO BOX 510                                                                               HARRODSBURG        KY    40330‐1067
HITACHI LTD                         ANDY PETERSON                         C/O AMWARE DISTRIBUTION WRHS     19801 HOLLAND ROAD                                      TUALATIN           OR    97062
HITACHI LTD                         ATTN: THRID SALES DIVISION, GENERAL   6‐6 MARUNOUCHI                   1‐CHOME                     CHIYODA‐KU TOKYO JAPAN
                                    MANAGER
HITACHI LTD                         AV DEL PARQUE #8                                                                                   LERMA EM 52000 MEXICO
HITACHI LTD                         AV MANANTIALES NO 18 PARQUE IND                                                                    QUERETARO QA 76240
                                                                                                                                       MEXICO
HITACHI LTD                         BRAD MASE                             HITACHI LIMITED                  5750 MCEVER RD              TLAJOMULCO DE ZUNIGA JA
                                                                                                                                       45640 MEXICO
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Name                                 Address1                              Address2                        Address3             Address4                      City                State Zip
HITACHI LTD                          CAMINO DE SANTA TERESA NO 1257        COL JARDINES DEL PEDREGAL                            ALVAROA DF 01900 MEXICO
                                                                           DEL/MUN
HITACHI LTD                          CARLA GARNICA X3294                   955 WARWICK RD                                                                     MEMPHIS              TN   38116
HITACHI LTD                          ELIECER MONTESINAS                    AV DEL PARQUE #8                                     AUCKLAND NEW ZEALAND
HITACHI LTD                          JAKE SANTORA                          PO BOX 588/1024                                                                    HOPKINSVILLE         KY   42240
HITACHI LTD                          JASON WALERSKI                        704‐1 TARUMI                                         CHIKUJO‐GUN JAPAN
HITACHI LTD                          34500 GRAND RIVER AVE                                                                                                    FARMINGTON HILLS     MI   48335‐3310

HITACHI LTD                          223 PROGRESS DR                                                                                                          RUSSELL SPRINGS      KY   42642‐4497
HITACHI LTD                          2520 TAKABA                                                                                HITACHINAKA IBARAKI JP 312‐
                                                                                                                                0062 JAPAN
HITACHI LTD                          1500 HARTLAND BLVD STE 4                                                                                                 EFFINGHAM            IL   62401
HITACHI LTD                          301 MAYDE RD                                                                                                             BEREA                KY   40403‐9777
HITACHI LTD                          1024 BARACHEL LN                                                                                                         GREENSBURG           IN   47240‐1277
HITACHI LTD AUTOMOTIVE SYS           AKIHABARA DAIBIRU BLDG 18‐13          SOTO‐KANDA 1‐CHOME CHIYODA‐KU                        TOKYO 101‐8608 JAPAN JAPAN

HITACHI MAGNET WIRE CORP             4‐10‐1 KAWAJIRICHO                                                                         HITACHI IBARAKI 319‐1411
                                                                                                                                JAPAN
HITACHI MET/EDMORE                   PO BOX 327                                                                                                               EDMORE              MI    48829‐0327
HITACHI METAL LTD                    ANDY PETERSON                         C/O AMWARE DISTRIBUTION WRHS    19801 HOLLAND ROAD                                 TUALATIN            OR    97062
HITACHI METALS AMERICA LTD           2 MANHATTANVILLE RD ST 301                                                                                               PURCHASE            NY    10577
HITACHI METALS LTD                   35 NAGAHAMACHO KANDAMACHI                                                                  MIYAKO GUN 800‐0311 JAPAN

HITACHI TRANSPORT SYSTEM AMERICA LTD 2712 ALFT LN                                                                                                             ELGIN                IL   60124‐7899

HITACHI, LTD.                        ATTN: THRID SALES DIVISION, GENERAL   6‐6 MARUNOUCHI                  1‐CHOME              CHIYODA‐KU TOKYO JAPAN
                                     MANAGER
HITACHI/18‐13 SOTO K                 34500 GRAND RIVER AVE                                                                                                    FARMINGTN HLS        MI   48335‐3310
HITACHI/AUTO PRO DIV                 34500 GRAND RIVER AVE                 AUTOMOTIVE PRODUCTS DIVISION                                                       FARMINGTON HILLS     MI   48335‐3310

HITACHI/JAPAN                        2520 TAKABA (IBARAKI)                 AUTOMOTIVE SYSTEMS DIV                               HITACHINAKA IBA JP 312 0062
                                                                                                                                JAPAN
HITACHI/MT PROSPECT                  1699 WALL ST STE 425                                                                                                     MT PROSPECT          IL   60056‐5762
HITAN KAMDAR                         46033 RHODES DR                                                                                                          MACOMB               MI   48044‐4080
HITARI LTD.
HITAS VASILIOS & EFFIE AND           THE DALTON & ASSOCIATES LLC           3333 LEE PKWY STE 600                                                              DALLAS              TX    75219‐5117
HITCENTS                             2425 NASHVILLE RD                                                                                                        BOWLING GREEN       KY    42101‐4030
HITCH AUTOMOTIVE REPAIR              9242 TRINITY DR                                                                                                          LAKE IN THE HILLS   IL    60156‐1664
HITCH HOUSE/NEW HUDS                 34635 GRAND RIVER                                                                                                        NEW HUDSON          MI    48165
HITCH JOHN                           HITCH, JOHN                           30 E BUTLER AVE                                                                    AMBLER              PA    19002‐4514
HITCH JR, EARL                       9108 LITCHFIELD AVE                                                                                                      LAS VEGAS           NV    89134‐8512
HITCH N POST/BELLVIL                 11001 BELLEVILLE RD                                                                                                      BELLEVILLE          MI    48111‐1386
HITCH TIMOTHY                        1957 JAMES BLVD                                                                                                          GREENFIELD          IN    46140‐8060
HITCH, DONALD E                      449 BLUEBIRD LN                                                                                                          DELRAY BEACH        FL    33445‐1840
HITCH, EVA M                         1090 LOVELAND MADEIRA RD 3                                                                                               CINCINNATI          OH    45240
HITCH, FLOSSIE M                     3636 REYNOLDS RD                                                                                                         DOUGLASVILLE        GA    30135‐2639
HITCH, J L                           3303 OAK HILL DR                                                                                                         MARYVILLE           TN    37804‐5531
HITCH, LINDA                         2014 W MAIN ST                                                                                                           SALEM               IL    62881‐5842
HITCH, LORETTA                       43430 FOUNTAIN DR.                                                                                                       STERLING HTS        MI    48313‐2344
HITCH, PAIGE M                       4820 MEADOW LN                                                                                                           ATTICA              MI    48412‐9391
HITCH, PAUL E                        95 SKIDAWAY ISLAND PARK RD APT 133                                                                                       SAVANNAH            GA    31411‐1125

HITCH, RICKIE L                      129 SPRINGHILL DR                                                                                                        BOLINGBROOK          IL   60440‐2740
HITCH, RONALD P                      14810 JONATHAN DR                                                                                                        WESTFIELD            IN   46074‐9043
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Name                                    Address1                         Address2                        Address3   Address4               City               State   Zip
HITCH, VENETIA L                        9108 LITCHFIELD AVE                                                                                LAS VEGAS           NV     89134‐8512
HITCH, WAYNE R                          21630 LANGE ST                                                                                     ST CLAIR SHRS       MI     48080‐3941
HITCHCOCK AGENCY                        ATTN: RANDY HITCHCOCK            PO BOX 576                                                        BEDFORD             IN     47421‐0576
HITCHCOCK COMMERCIAL PROPERTIES LP      17340 GALE AVE                                                                                     CITY OF INDUSTRY    CA     91748‐1512

HITCHCOCK DICK A (ESTATE OF) (483513)   KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                     CLEVELAND          OH      44114
                                                                         BOND COURT BUILDING
HITCHCOCK JR, GORDON S                  12486 MORRISH RD                                                                                   CLIO               MI      48420
HITCHCOCK JR, JOHN                      3278 CRESTVIEW                                                                                     LEBANON            OH      45036‐2437
HITCHCOCK KEITH                         5082 DARTMOUTH AVE                                                                                 WESTMINSTER        CA      92683‐2743
HITCHCOCK WESLEY 2ND ACTION             HITCHCOCK, WESLEY                44 BROAD ST NW STE 400                                            ATLANTA            GA      30303‐2328
HITCHCOCK WILLIAM D                     3821 MELLS RD                                                                                      DORSET             OH      44032‐9751
HITCHCOCK WILLIAM T                     HITCHCOCK, WILLIAM T             PO BOX 900                                                        PAINTSVILLE        KY      41240‐0900
HITCHCOCK, ANTHONY                      KROHN & MOSS                     3 SUMMIT PARK DR STE 100                                          INDEPENDENCE       OH      44131‐2598
HITCHCOCK, ANTHONY M                    30118 OAKWOOD ST                                                                                   INKSTER            MI      48141‐1561
HITCHCOCK, BARBARA D                    26 LISBON WAY                                                                                      BEAUFORD           SC      29907
HITCHCOCK, BEN C                        2665 MORRIS LN                                                                                     GIRARD             OH      44420‐3127
HITCHCOCK, BERNARD B                    1200 S 11TH AVE                                                                                    ALPENA             MI      49707‐2910
HITCHCOCK, BETTY J                      4341 REID ROAD                                                                                     SWARTZ CREEK       MI      48473‐8879
HITCHCOCK, BRADLEY T                    41 N PLEASANT AVE                                                                                  FAIRBORN           OH      45324‐5022
HITCHCOCK, BRADLEY TODD                 41 N PLEASANT AVE                                                                                  FAIRBORN           OH      45324‐5022
HITCHCOCK, BRIAN L                      PO BOX 373                                                                                         PORTLAND           MI      48875‐0373
HITCHCOCK, BRUCE A                      4000 DEER CREEK BLVD STE F3                                                                        SPRING HILL        TN      37174‐5142
HITCHCOCK, BRUCE A                      2026 SILVERTON CIR                                                                                 SPRING HILL        TN      37174‐2872
HITCHCOCK, BRYAN D                      1714 HARTLEY AVE                                                                                   NEW CARLISLE       OH      45344‐2445
HITCHCOCK, CONNIE                       2150 S CHESTER RD                                                                                  CHARLOTTE          MI      48813‐9546
HITCHCOCK, DALE W                       7479 ROGER THOMAS DR                                                                               MOUNT MORRIS       MI      48458‐8934
HITCHCOCK, DANIEL P                     2598 118TH AVENUE                                                                                  ALLEGAN            MI      49010‐8514
HITCHCOCK, DANIEL R                     1173A NAVAHO DR                                                                                    LEBANON            OH      45036‐8746
HITCHCOCK, DAVID K                      1449 SCHAFER DR                                                                                    BURTON             MI      48509‐1546
HITCHCOCK, DEAN H                       2316 DOBIE RD                                                                                      MASON              MI      48854‐9472
HITCHCOCK, DEREK D                      4309 WOODROW AVE                                                                                   BURTON             MI      48509‐1125
HITCHCOCK, DICK A                       KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                      CLEVELAND          OH      44114
                                                                         BOND COURT BUILDING
HITCHCOCK, DICKIE D                     430 N SCHARINE RD                                                                                  AVALON             WI      53505‐9747
HITCHCOCK, DONALD G                     412 W MERIDIAN ST                                                                                  SHARPSVILLE        IN      46068‐9593
HITCHCOCK, DONALD S                     801 N SPRING AVE                                                                                   LA GRANGE PARK     IL      60526‐1476
HITCHCOCK, DONALD S                     18193 STATE ROUTE 15                                                                               CONTINENTAL        OH      45831‐9638
HITCHCOCK, DOUGLAS K                    2030 HEMINGWAY LN                                                                                  DAVISON            MI      48423‐8318
HITCHCOCK, DOUGLAS KEITH                2030 HEMINGWAY LN                                                                                  DAVISON            MI      48423‐8318
HITCHCOCK, ELWYN C                      334 RUSSELL AVE                                                                                    CORTLAND           OH      44410‐1244
HITCHCOCK, EMILY M                      307 S MICHIGAN AVE                                                                                 OMER               MI      48749‐9785
HITCHCOCK, FANNIE M                     3505 GIDDINGS AVE SE                                                                               GRAND RAPIDS       MI      49508‐2574
HITCHCOCK, G S                          PO BOX 222                                                                                         WEBBERVILLE        MI      48892‐0222
HITCHCOCK, GAYLE                        5231 PINE GROVE CT                                                                                 TOLEDO             OH      43615‐2975
HITCHCOCK, GERALD I                     16142 SOFTWATER LAKE DR                                                                            LINDEN             MI      48451‐9702
HITCHCOCK, GLEN A                       2751 HIBBARD RD                                                                                    CORUNNA            MI      48817‐9561
HITCHCOCK, GLEN ALAN                    2751 HIBBARD RD                                                                                    CORUNNA            MI      48817‐9561
HITCHCOCK, GULBRANSEN B                 729 GRAHAM PLACE                 APT. 412                                                          DAYTON             OH      45407
HITCHCOCK, HALLIE M                     PO BOX 3089                      STATE ROUTE 58 E                                                  MAYFIELD           KY      42066
HITCHCOCK, HERMAN L                     1142 CLEBURNE PKWY                                                                                 HIRAM              GA      30141‐4058
HITCHCOCK, JANE E                       PO BOX 261                                                                                         DAVISON            MI      48423‐0261
HITCHCOCK, JAY J                        5279 MILL WHEEL DR                                                                                 GRAND BLANC        MI      48439‐4235
HITCHCOCK, JERRY D                      3637 TEXTILE RD                                                                                    SALINE             MI      48176‐9791
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Name                             Address1                         Address2                        Address3   Address4               City           State   Zip
HITCHCOCK, JO ANNE D             16142 SOFTWATER LAKE DR                                                                            LINDEN          MI     48451‐9702
HITCHCOCK, JOHN H                17126 VILLAGE DR #126                                                                              REDFORD         MI     48240‐1692
HITCHCOCK, JOHN S                454 MCCLURE RD                                                                                     LEBANON         OH     45036‐9316
HITCHCOCK, KENNETH E             6523 GOODALL RD RTE 2                                                                              CORUNNA         MI     48817
HITCHCOCK, KENNETH E             9315 KLEIN RD                                                                                      HILLMAN         MI     49746‐8708
HITCHCOCK, KENNETH R             PO BOX 521                                                                                         SPRING HILL     TN     37174‐0521
HITCHCOCK, LARRY A               28495 JOY RD TRLR F29                                                                              WESTLAND        MI     48185‐5531
HITCHCOCK, LAURA J               237 N PENN ST                                                                                      HATBORO         PA     19040
HITCHCOCK, LORA L                5854 HAVERHILL                                                                                     LANSING         MI     48911‐4808
HITCHCOCK, LYNDA J               2030 HEMINGWAY LN                                                                                  DAVISON         MI     48423‐8318
HITCHCOCK, MARGARET H            2141 NORTH LAKE PLEASANT RD.                                                                       ATTICA          MI     48412
HITCHCOCK, MARGARET H            2141 N LAKE PLEASANT RD                                                                            ATTICA          MI     48412‐9369
HITCHCOCK, MARK E                1216 RARIDEN HL                                                                                    MITCHELL        IN     47446‐5323
HITCHCOCK, MARLENE L             11511 CHARLOTTE HWY                                                                                PORTLAND        MI     48875‐8402
HITCHCOCK, MARY A                5733 S MAYBERRY ST                                                                                 KALAMAZOO       MI     49009‐9597
HITCHCOCK, MICHAEL C             223 N HIGH ST                                                                                      YELLOW SPGS     OH     45387‐2007
HITCHCOCK, NANCY L               616 WAYNE ST                                                                                       SANDUSKY        OH     44870‐2722
HITCHCOCK, NICOLE D              616 WAYNE ST                                                                                       SANDUSKY        OH     44870
HITCHCOCK, PATRICIA A            18193 STATE ROUTE 15                                                                               CONTINENTAL     OH     45831‐9638
HITCHCOCK, RICHARD L             PO BOX 1023                                                                                        ANTWERP         OH     45813‐1023
HITCHCOCK, RICKEY L              205 GREYS MILL DR                                                                                  HIRAM           GA     30141‐3110
HITCHCOCK, RICKY L               PO BOX 944                                                                                         SPRING HILL     TN     37174‐0944
HITCHCOCK, ROBERT J              1062 ANTHONY WAYNE BLVD                                                                            DEFIANCE        OH     43512‐1306
HITCHCOCK, ROBERT JON            1062 ANTHONY WAYNE BLVD                                                                            DEFIANCE        OH     43512‐1306
HITCHCOCK, ROBERT L              1276 GREENBRIAR CT                                                                                 WIXOM           MI     48393‐1596
HITCHCOCK, ROBERT M              1487 CROOKED CREEK TRL                                                                             LAKELAND        FL     33801‐0589
HITCHCOCK, ROBERT W              510 ACADEMY ST                                                                                     PORTLAND        MI     48875‐1414
HITCHCOCK, RUSSELL W             1126 FARNSWORTH RD                                                                                 LAPEER          MI     48446‐1524
HITCHCOCK, SUSAN K               900 9TH AVE E APT 124                                                                              PALMETTO        FL     34221
HITCHCOCK, WESLEY                KROHN & MOSS ‐ GA                44 BROAD ST NW STE 400                                            ATLANTA         GA     30303‐2328
HITCHCOCK, WILLIAM
HITCHCOCK, WILLIAM E             10043 CROCUSLAWN ST                                                                                DETROIT        MI      48204‐2505
HITCHCOCK, WILLIAM T             PRESTON JOHN DAVID               PO BOX 900                                                        PAINTSVILLE    KY      41240‐0900
HITCHCOCK, WILLIE M              17126 VILLAGE DR #125                                                                              REDFORD        MI      48240‐1692
HITCHCOCK,BRYAN D                1714 HARTLEY AVE                                                                                   NEW CARLISLE   OH      45344‐2445
HITCHCOKC, LANCE JOSEPH
HITCHCOX JR, ALFRED H            9745 WOODLAWN DR                                                                                   PORTAGE        MI      49002‐7220
HITCHCOX, MARK G                 525 N PARK ST                                                                                      UNION CITY     MI      49094‐1033
HITCHENS JAMES (445255)          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD     OH      44067
                                                                  PROFESSIONAL BLDG
HITCHENS, DIANE A                3935 JACKMAN RD                                                                                    TOLEDO         OH      43612‐1120
HITCHENS, DIANE ALICE            3935 JACKMAN RD                                                                                    TOLEDO         OH      43612‐1120
HITCHENS, EMIL M                 6237 TRIBUTARY COURT                                                                               BOSSIER CITY   LA      71112‐5014
HITCHENS, JAMES                  BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD     OH      44067
                                                                  PROFESSIONAL BLDG
HITCHENS, LEROY W                612 N SHELLBARK RD                                                                                 MUNCIE         IN      47304‐3764
HITCHENS, LEROY WILLIAM          612 N SHELLBARK RD                                                                                 MUNCIE         IN      47304‐3764
HITCHENS, MABEL P                1616 GOLDEN OAKS LOOP S                                                                            SOUTHAVEN      MS      38671‐6195
HITCHENS, MICHAEL E              2979 E 500 N                                                                                       ANDERSON       IN      46012‐9237
HITCHENS, RICHARD G              3935 JACKMAN RD                                                                                    TOLEDO         OH      43612‐1120
HITCHENS, SHAWNA M
HITCHENS, SHIRLEY                5215 CLOVER LN                                                                                     TOLEDO         OH      43623‐2237
HITCHINER MANUFACTURING CO INC   PO BOX 2001                      ELM ST                                                            MILFORD        NH      03055‐2001
HITCHINER MANUFACTURING CO,INC   KEN MILLER                       PO BOX 2001                                                       MARION         IL      62959
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Name                                Address1                         Address2                       Address3   Address4                   City             State Zip
HITCHINER MANUFACTURING CO., INC    ATTN: CHIEF EXECUTIVE OFFICER    117 OLD WILTON RD                                                    MILFORD           NH 03055‐3120
HITCHINER MANUFACTURING CO., INC.   117 OLD WILTON RD                                                                                     MILFORD           NH 03055‐3120

HITCHINER MANUFACTURING CO., INC.   ATTN: CHIEF EXECUTIVE OFFICER    117 OLD WILTON RD                                                    MILFORD          NH    03055‐3120

HITCHINER MANUFACTURING CO., INC.   ATTN: GENERAL COUNSEL            117 OLD WILTON RD                                                    MILFORD          NH    03055‐3120

HITCHINER MANUFACTURING COMPANY     ATTN: CHIEF EXECUTIVE OFFICER    117 OLD WILTON RD                                                    MILFORD          NH    03055‐3120
INC
HITCHINER MANUFACTURING COMPANY     ATTN: PRESIDENT                  127 OLD WILTON RD                                                    MILFORD          NH    03055‐3120
INC
HITCHINER MANUFACTURING COMPANY     KEN MILLER                       PO BOX 2001                                                          MARION            IL   62959
INC
HITCHINER SA DE CV                  TENANGO‐MARQUESA Y T                                                       SANITAGO TIANGUISTEN MEX
                                                                                                               52600 MEXICO
HITCHINGHAM, GREGORY T              13051 TURNER RD                                                                                       DEWITT           MI    48820‐9061
HITCHINGS, ARTHUR R                 302 6TH ST                                                                                            FENTON           MI    48430‐2718
HITCHINGS, CLAUDE                   WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                      NEW YORK         NY    10038
HITCHINGS, DOROTHY M                1369 STANWOOD ST NW                                                                                   GRAND RAPIDS     MI    49534‐7606
HITCHINGS, DOROTHY M                1369 STANWOOD N W                                                                                     GRAND RAPIDS     MI    49544‐7606
HITCHINGS, MARIE I                  7404 TORREY RD                                                                                        SWARTZ CREEK     MI    48473‐8883
HITCHINGS, MARY A                   616 BRADFIELD DRIVE                                                                                   DAYTON           OH    45426‐2502
HITCHINGS, MAXINE A                 810 HOLLAND AVE APT 6                                                                                 PORT HURON       MI    48060‐1528
HITCHINGS, RICHARD L                1265 TAMPA AVE                                                                                        AKRON            OH    44314‐1459
HITCHINGS, ROBERT A                 4 HARBOR WATCH DR UNIT 522                                                                            CHESAPEAKE       VA    23320‐4007
HITCHINGS, SCOTT A                  517 JACKSON ST                                                                                        PORT CLINTON     OH    43452‐1833
HITCHINS, MARK J                    805 SHELMAR LN                                                                                        ORTONVILLE       MI    48462‐9783
HITCHLER, GAYLON J                  201 SOUTH UNION RD.                                                                                   MIAMISBURG       OH    45342‐2161
HITCHLER, GAYLON J                  201 S UNION RD                                                                                        MIAMISBURG       OH    45342‐2161
HITCHMAN, THOMAS D                  2617 NE 14TH AVE APT 400                                                                              OAKLAND PARK     FL    33334‐4393
HITCHMAN, THOMAS D                  5275 N ADAMS RD                                                                                       BLOOMFIELD       MI    48304‐2505
HITCHNER MFG/MILFORD                ELM STREET                                                                                            MILFORD          NH    03055
HITCHNER, VIRGINIA M                100 MOONFLOWER RD                                                                                     HATBORO          PA    19040
HITCHYE, PATRICIA B                 1316 E GENESEE                                                                                        FLINT            MI    48505‐1736
HITE ESTATE OF DENISE M W           29011 JOHN HAUK ST                                                                                    GARDEN CITY      MI    48135‐2834
HITE GREG                           3627 S RICHMOND AVE                                                                                   TULSA            OK    74135‐2307
HITE JR, ARTHUR L                   1017 WESLIN CREEK DR                                                                                  MYRTLE BEACH     SC    29588‐7553
HITE JR, GUY L                      21513 14 MILE RD                                                                                      LEROY            MI    49655‐8549
HITE SHIRLEY L                      HITE, SHIRLEY L                  119 NORTH BUCKEYE STREET P O                                         KOKOMO           IN    46903
                                                                     BOX 688
HITE, ANDREW W                      136 CLARK ST APT 3                                                                                    BONNER SPRINGS   KS    66012
HITE, ANNABELLE                     322 N WASHINGTON AVE                                                                                  DANVILLE         IL    61832‐4747
HITE, ANNABELLE                     322 WASHINGTON ST                                                                                     DANVILLE         IL    61832‐4747
HITE, CHALMER E                     113 TENNESSEE AVE                                                                                     CRESCENT CITY    FL    32112‐4862
HITE, CHARLES E                     PO BOX 42                                                                                             CARTHAGE         IN    46115‐0042
HITE, DAVID L                       2401 S COUNTY ROAD 700 E                                                                              SELMA            IN    47383‐9684
HITE, DAVID LEE                     2401 S COUNTY ROAD 700 E                                                                              SELMA            IN    47383‐9684
HITE, DEBORAH LEIGH                 401 MERRYMAID DR                                                                                      UNION            OH    45322‐3015
HITE, DONALD W                      133 KERNS ST                                                                                          INWOOD           WV    25428‐3669
HITE, DONNA                         10927 S 500 E                                                                                         RUSHVILLE        IN    46173
HITE, DOROTHY E                     1113 CROWN ISLE CIRCLE                                                                                APOPKA           FL    32712‐2950
HITE, ERIC Q                        1055 BRUSHY RD                                                                                        CENTERVILLE      TN    37033‐4546
HITE, ERNEST N                      2109 E MEMORY LN                                                                                      ANDERSON         IN    46013‐9623
HITE, ERNEST NEAL                   2109 E MEMORY LN                                                                                      ANDERSON         IN    46013‐9623
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Name                     Address1                         Address2          Address3         Address4                   City           State   Zip
HITE, EUGENE             19561 LAVERNE DR                                                                               WARRENTON       MO     63383‐7172
HITE, HARRY F            APT 216                          701 LEORA LANE                                                THE COLONY      TX     75056‐3941
HITE, HARRY F            701 LEORA LN APT 216                                                                           LEWISVILLE      TX     75056
HITE, JACQUELINE J       1700 CEDERWOOD DR.APT 221                                                                      FLUSHING        MI     48433‐3603
HITE, JACQUELINE J       1700 CEDARWOOD DR APT 221                                                                      FLUSHING        MI     48433‐3603
HITE, JAMES E            904 KAUFFMAN AVE                                                                               MARTINSBURG     WV     25401
HITE, JAMES W            333 N OCCIDENTAL HIGHWAY         APT 158                                                       TECUMSEH        MI     49286
HITE, JAMES W            4018 SAMANTHA DR                                                                               BRITTON         MI     49229‐8724
HITE, JOHN A             10736 WOODBRIDGE DR                                                                            FORNEY          TX     75126‐8061
HITE, JOSEPH M           2786 SIGNATURE CIRCLE                                                                          PINCKNEY        MI     48169‐8166
HITE, KATHERINE          2485 W OLD STONE RD                                                                            PERU            IN     46970‐8662
HITE, LOIS DALE          4159 RIDGEVIEW RD                                                                              ANDERSON        IN     46013‐9703
HITE, LYNN D             78 TEAL DR                                                                                     SWARTZ CREEK    MI     48473‐1578
HITE, MARIE A            1213 BROADWAY                                                                                  OWOSSO          MI     48867‐4507
HITE, MARIE A            1213 BROADWAY AVE                                                                              OWOSSO          MI     48867‐4507
HITE, MELISSA D          560 THOMPSON RD                                                                                MARSHALL        TX     75670‐8739
HITE, MELVIN G           710 JEFFREY ST                                                                                 GREENSBURG      PA     15601‐4456
HITE, MICHAEL B          155 LAKE SHORE DR                                                                              PASADENA        MD     21122‐5203
HITE, MICHAEL D          363 W G TALLEY RD                                                                              ALVATON         KY     42122‐9663
HITE, MICHAEL J          3225 LONGRIDGE WAY                                                                             GROVE CITY      OH     43123‐9699
HITE, MICHAEL K          3702 ALBRIGHT RD                                                                               KOKOMO          IN     46902‐4404
HITE, NANCY H            38740 BRONCO DR                                                                                DADE CITY       FL     33525‐1791
HITE, ONA P              3600 ASTER DR                                                                                  SARASOTA        FL     34233‐2105
HITE, RALPH L            2401 DONNA DR                                                                                  ANDERSON        IN     46017‐9699
HITE, ROBERT E           13354 IOWA DR                                                                                  WARREN          MI     48088‐3165
HITE, RONALD E           3600 ASTER DR                                                                                  SARASOTA        FL     34233‐2105
HITE, SANDRA K           3702 ALBRIGHT RD                                                                               KOKOMO          IN     46902‐4404
HITE, SHIRLEY            7434 TANGELO AVE                                                                               FONTANA         CA     92336‐2274
HITE, SHIRLEY L          3115 S CO RD ‐ 800 E                                                                           KOKOMO          IN     46902
HITE, URSULA L           1082 E 66TH ST                                                                                 CLEVELAND       OH     44103‐1602
HITE, VELMA L            230 WELCOME WAY BLVD W APT D18   BUILDING 4                                                    INDIANAPOLIS    IN     46214‐4949
HITE, VELMA L            230 WELCOME WAY BLVD WEST        APT D18                                                       INDIANAPOLIS    IN     46214
HITEC CORP               28888 GODDARD RD STE B                                                                         ROMULUS         MI     48174
HITEC CORP               537 GREAT RD                                                                                   LITTLETON       MA     01460‐1208
HITEC CORPORATION        537 GREAT RD                                                                                   LITTLETON       MA     01460‐1208
HITEC/WESTFORD           65 POWER RD                                                                                    WESTFORD        MA     01886‐4110
HITECH AUTO SERVICE      213 NE 12TH ST                                                                                 MOORE           OK     73160‐5801
HITECH AUTO/LEICESTE     3 SHEENE ROAD                                                       BEAUMONT LEYS LE LE4 1BF
                                                                                             GREAT BRITAIN
HITECH AUTOMOTIVE        119 S MONTCLAIR AVE                                                                            BRANDON         FL     33511‐5321
HITECH FISH LLC          3180 S SASHABAW RD                                                                             OXFORD          MI     48371‐4009
HITECH REHAB SERVICE     PO BOX 71503                                                                                   MADISON HTS     MI     48071‐0503
HITEN KOTHARI            808 WESLEY DR                                                                                  TROY            MI     48098‐1810
HITER, EVA P             119 BELINDA PKWY APT 704                                                                       MT JULIET       TN     37122‐9014
HITER, MYRTLE            1122 CHANDLER                                                                                  DANVILLE        IL     61832‐2906
HITER, VIOLA J           2188 NIMITZ DR                                                                                 DUNEDIN         FL     34698‐4861
HITES, DAVID
HITES, EDWARD J          2148 CLEARVIEW AVE NW                                                                          WARREN         OH      44488
HITES, EUGENE F          6229 THOMPSON CLARK RD                                                                         BRISTOLVILLE   OH      44402‐8703
HITES, KATHRYN O         6229 THOMPSON CLARK RD.NW.                                                                     BRISTOLVILLE   OH      44402‐8703
HITESH DESAI             235 GLENMOOR DR                                                                                ROCHESTER      MI      48307‐1729
HITESHEW, CHARLES R      5104 BALDWIN RD                                                                                SWARTZ CREEK   MI      48473‐9174
HITESHEW, RICHARD C      9682 WEST M‐28                                                                                 BRIMLEY        MI      49715
HITESHUE, MARCELLINE O   805 NORTH 3RD STREET                                                                           JEANNETTE      PA      15644
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Name                              Address1                        Address2                   Address3   Address4               City            State   Zip
HITESHUE, MARCELLINE O            805 N 3RD ST                                                                                 JEANNETTE        PA     15644‐1424
HITESHUE, NEIL E                  96 BRITTANY LN                                                                               FAIRFIELD        OH     45014‐5273
HITESMAN, EDWARD G                1181 ACADEMY DR                                                                              YOUNGSTOWN       OH     44505‐1621
HITI, SILVA                       205 PASEO DE LAS                DELICIAS                                                     REDONDO BEACH    CA     90277
HITKO, DON E                      1425 N HARRISON RD                                                                           EAST LANSING     MI     48823‐1801
HITMAR, JAMES J                   4007 CARTER CREEK DR.                                                                        AVON PARK        FL     33825‐3825
HITMAR, MICHAEL J                 37289 CHERRYBANK DR                                                                          SOLON            OH     44139‐7023
HITMAR, THELMA B                  4007 CARTER CREEK DRIVE                                                                      AVON PARK        FL     33825‐3825
HITRI, WILLIAM P                  667 N CARPENTER RD                                                                           BRUNSWICK        OH     44212‐2209
HITSMAN, CLARENCE J               9624 LEWIS RD                                                                                MILLINGTON       MI     48746‐9567
HITSMAN, DEWAYNE D                68 FALLWOOD DR.                                                                              HAMILTON         OH     45011
HITSMAN, DOROTHY                  4663 RAYMOND AVE                                                                             DEARBORN HTS     MI     48125‐3335
HITSMAN, RICKY G                  174 JEFFERSON AVE                                                                            MASSENA          NY     13662‐1231
HITSMAN, RICKY GEORGE             174 JEFFERSON AVE                                                                            MASSENA          NY     13662‐1231
HITSMAN, RICKY J                  8999 ORMES RD                                                                                VASSAR           MI     48768‐9622
HITSMAN, RICKY JAMES              8999 ORMES RD                                                                                VASSAR           MI     48768‐9622
HITSMAN, ROBERT                   4663 RAYMOND AVE                                                                             DEARBORN HTS     MI     48125‐3335
HITSMAN, ROBERT L                 6550 TIFFANY AVE NE                                                                          ROCKFORD         MI     49341‐9071
HITSMAN, SALLY E                  6550 TIFFANY AVE NE                                                                          ROCKFORD         MI     49341‐9071
HITSON, DAVID                     7022 GARLAND RD                                                                              MARYVILLE        TN     37801‐1245
HITSON, WILLIAM M                 2881 LOSANTIVILLE TER APT 2                                                                  CINCINNATI       OH     45213‐1261
HITT (404600) ‐ BUTLER JOSEPH L   EARLY & STRAUSS                 420 LEXINGTON AVE RM 840                                     NEW YORK         NY     10170‐0840
HITT CONTRACTING INC              2900 FAIRVIEW PARK DR                                                                        FALLS CHURCH     VA     22042‐4518
HITT CONTRACTING INC              2704 DORR AVE                                                                                FAIRFAX          VA     22031‐4901
HITT HAROLD                       2727 N RUSTIC RIDGE DR                                                                       BELLEVUE          IL    61604‐2012
HITT JR, OTIS R                   11303 HOGAN RD                                                                               GAINES           MI     48436‐9729
HITT, ALICE G                     3561 COUNTY ROAD 214                                                                         HILLSBORO        AL     35643‐3228
HITT, ANNA C                      RR 10 BOX 396                                                                                BUCKHANNON       WV     26201‐9470
HITT, DONALD N                    4139 FULLER LN                                                                               BRIDGETON        MO     63044‐3430
HITT, FLORA J                     3139 GEHRING DR                                                                              FLINT            MI     48506‐2233
HITT, FRED N                      2499 DELTONA BLVD                                                                            SPRING HILL      FL     34606‐3231
HITT, JAMES T                     404 NORTHVIEW CT                                                                             DE FOREST        WI     53532‐1222
HITT, JOANN                       GUY WILLIAM S                   PO BOX 509                                                   MCCOMB           MS     39649‐0509
HITT, JOHN M                      14207 ERWIN RD                                                                               COPEMISH         MI     49625‐9734
HITT, KAREN W                     1538 MEIDA ST                                                                                FLINT            MI     48532‐5050
HITT, LAVENA B                    RR 3 BOX 10833                                                                               DONIPHAN         MO     63935‐8379
HITT, LAVENA B                    ROUTE #3 BOX 10833                                                                           DONIPHAN         MO     63935‐9437
HITT, LINDA R                     110 W BELL RD APT 171                                                                        PHOENIX          AZ     85023‐7417
HITT, LOIS A                      PO BOX 185                                                                                   DECATUR          AL     35602‐0185
HITT, MARY                        5302 W DODGE RD                                                                              CLIO             MI     48420‐8535
HITT, MICHAEL P                   5302 W DODGE RD                                                                              CLIO             MI     48420‐8535
HITT, MICHAEL PATRICK             5302 W DODGE RD                                                                              CLIO             MI     48420‐8535
HITT, RANDY R                     1205 HAMILTON ST                                                                             TOLEDO           OH     43607‐4365
HITT, RANDY RENARD                1205 HAMILTON ST                                                                             TOLEDO           OH     43607‐4365
HITT, THOMAS E                    19420 ROAD 1036                                                                              OAKWOOD          OH     45873‐9060
HITT, THOMAS L                    55 JACKSON ST                                                                                WESTON           WV     26452‐1513
HITT, THOMAS L                    9592 HIGHWAY 494                                                                             LITTLE ROCK      MS     39337‐9290
HITT, WILMA                       4139 FULLER LN                                                                               BRIDGETON        MO     63044‐3430
HITTE, DANNY O                    1748 E STATE ROUTE 73                                                                        WAYNESVILLE      OH     45068‐8713
HITTE, DWIGHT S                   4112 BRIARHILL DR                                                                            MILAN            MI     48160‐9745
HITTE, MARGARET A                 20617 LOGAN ROAD                                                                             MANCHESTER       MI     48158‐9635
HITTE, MARY K                     7239 BROOKSTONE DR                                                                           FRANKLIN         OH     45005‐2968
HITTE, MICHAEL                    16391 WEATHERFIELD DR                                                                        NORTHVILLE       MI     48168‐2323
HITTEL, MICHAEL J                 57490 APPLE LN                                                                               NEW HUDSON       MI     48165‐9504
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Name                                   Address1                        Address2                          Address3   Address4               City              State   Zip
HITTEL, MICHAEL M                      5213 CORDES RD                                                                                      INDIANAPOLIS       IN     46227‐1914
HITTIE, LIBBIE R                       2020 CARLISLE ST                                                                                    ALGONQUIN           IL    60102‐4122
HITTINGER, BRIAN K                     7613 CAMPBELL ST                                                                                    TAYLOR             MI     48180‐2566
HITTLE JACK                            C/O CLAUDIA JO WILLIS PA        1301 E BROWARD BLVD STE 220                                         FORT LAUDERDALE    FL     33301‐2111
HITTLE JR, JESSE L                     16881 MANITOU RD                                                                                    MANITOU BEACH      MI     49253‐9703
HITTLE LEROY (300242)                  BROOKMAN ROSENBERG BROWN &      17TH FLR, ONE PENN SQUARE WEST,                                     PHILADELPHIA       PA     19102
                                       SANDLER                         30 SOUTH 15TH STREET
HITTLE PONTIAC BUICK GMC CADILLAC,     1270 SWEITZER ST                                                                                    GREENVILLE        OH      45331‐1026
HITTLE PONTIAC BUICK GMC CADILLAC,     JEFFREY HITTLE                  1270 SWEITZER ST                                                    GREENVILLE        OH      45331‐1026
INC.
HITTLE PONTIAC BUICK GMC CADILLAC,     1270 SWEITZER ST                                                                                    GREENVILLE        OH      45331‐1026
INC.
HITTLE PONTIAC CADILLAC GMC TRUCK, I   JEFFREY HITTLE                  1270 SWEITZER ST                                                    GREENVILLE        OH      45331‐1026

HITTLE, CLARENCE J                     11175 SEYMOUR RD                                                                                    GAINES            MI      48436‐9757
HITTLE, DALE H                         2166 RUSSELL ST                                                                                     GRAND BLANC       MI      48439‐4216
HITTLE, DENISE L                       1945 MIDLAND ROAD                                                                                   DUNDALK           MD      21222‐4643
HITTLE, GARY L                         7817 ALT ST RT 49 EAST                                                                              ARCANUM           OH      45304‐9503
HITTLE, GARY L                         7817 ALTERNATE STATE ROUTE 49                                                                       ARCANUM           OH      45304‐9503
HITTLE, GOLDA M                        16881 MANITOU RD                                                                                    MANITOU BEACH     MI      49253‐9703
HITTLE, JACK R                         204 WELCH BLVD                                                                                      FLINT             MI      48503‐1196
HITTLE, JAMES M                        6023 W 29TH PL                                                                                      INDIANAPOLIS      IN      46224‐3007
HITTLE, JOHN F                         4501 LAKERIDGE DR                                                                                   INDIANAPOLIS      IN      46234‐9542
HITTLE, LEROY                          BROOKMAN ROSENBERG BROWN &      17TH FLR, ONE PENN SQUARE WEST,                                     PHILADELPHIA      PA      19102
                                       SANDLER                         30 SOUTH 15TH STREET
HITTLE, PHILIP D                       6879 N LAKE RD                                                                                      OTTER LAKE        MI      48464‐9780
HITTLE, RALPH I                        30 S EAST ST                                                                                        SPENCER           IN      47460‐1808
HITTLE, ROBERT E                       913 ALHAMBRA DR                                                                                     ANDERSON          IN      46012‐4220
HITTLE, RODNEY E                       4 BLANK ST                                                                                          ARCANUM           OH      45304‐1299
HITTLER, JERRY R                       595 S MERIDIAN RD LOT 83                                                                            HUDSON            MI      49247‐9340
HITTLET, DENNIS L                      410 BROWN ST LOT 20                                                                                 WEST MONROE       LA      71292‐6759
HITTLET, DENNIS LYNN                   LOT 20                          410 BROWN STREET                                                    WEST MONROE       LA      71292‐6759
HITTLET, MICHAEL W                     11 BLUE STAR HWY                                                                                    DANVILLE          IL      61832
HITTNER JR, STANLEY A                  3771 MCNICHOLAS AVE                                                                                 CINCINNATI        OH      45236
HITTS, DAVID                           980 E JAMES ST                                                                                      WHITE CLOUD       MI      49349‐9190
HITTS, DEAN F                          R‐071 RT. 4                                                                                         NAPOLEON          OH      43545
HITTS, FLORDIE M                       3412 BEGOLE ST                                                                                      FLINT             MI      48504‐2410
HITTS, KENNETH E                       3412 BEGOLE ST                                                                                      FLINT             MI      48504‐2410
HITTS, MARGARET A                      3605 GARY RD                                                                                        MONTROSE          MI      48457‐9320
HITTS, RANDELL J                       1881 ELLINGER ROAD                                                                                  ALANSON           MI      49706‐9671
HITTS‐FARRAND, DEBORAH L               5763 LANGE RD                                                                                       BIRCH RUN         MI      48415‐9007
HITTSON DANNY                          241 NEW PORTER PIKE RD                                                                              BOWLING GREEN     KY      42103‐9158
HITTSON, CHARLES E                     232 TIMBER LANE DR                                                                                  BOWLING GREEN     KY      42101‐0748
HITTSON, GARY G                        3113 S PHILLIP DR                                                                                   MUNCIE            IN      47302‐3953
HITTSON, MARK A                        3150 EAST 450 SOUTH                                                                                 MUNCIE            IN      47302
HITTSON, MARY M                        3113 S PHILLIP DR                                                                                   MUNCIE            IN      47302
HITWISE PTY LIMITED                    ATTN ACCOUNTS RECEIVABLES       300 PARK AVE S FL 9                                                 NEW YORK          NY      10010‐5354
HITZ, BRYAN N                          19216 RIVERSIDE DR                                                                                  BEVERLY HILLS     MI      48025‐2948
HITZ, BRYAN N                          8460 LIMEKILN PIKE APT 314                                                                          WYNCOTE           PA      19095
HITZ, DAVID M                          4854 E WESTGATE DR                                                                                  BAY CITY          MI      48706‐2620
HITZ, FRANKLYN R                       3241 SEA GULL CT                                                                                    LOVELAND          CO      80538‐7073
HITZ, JAMES F                          3738 3 MILE RD                                                                                      BAY CITY          MI      48706‐9215
HITZ, KATHRYN E                        111 ROCKY CREEK DR                                                                                  CEDAR HILL        TX      75104‐1341
HITZ, MAURINE C                        APT A                           1320 WEST 8TH STREET                                                ANDERSON          IN      46016‐2627
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Name                           Address1                              Address2                    Address3   Address4                 City            State   Zip
HITZ, SHARON B                 6228 BAXTER PL                                                                                        LINCOLN          NE     68516‐4646
HITZEL, CHARLES F              120 SHERWIN DR                                                                                        TONAWANDA        NY     14150‐4717
HITZELBERGER, ALAN L           31 OUTLOOK CIR                                                                                        SWANNANOA        NC     28778‐9233
HITZELBERGER, MICHAEL R        4199 MAPLEWOOD MEADOWS AVE            AVENUE                                                          GRAND BLANC      MI     48439‐3501
HITZEMAN, DAVID C              813 CUSTER DR                                                                                         TOLEDO           OH     43612‐3230
HITZFIELD LANDSCAPING INC      3840 E 1100 N                                                                                         ROANOKE          IN     46783‐9440
HITZGES, ROBERT P              714 BENNETT RD                                                                                        ANGOLA           NY     14006‐9742
HITZKE, ROBERT W               2 JEWETT ST                                                                                           ROCHESTER        NY     14606‐4109
HITZLER, CATHERINE E           1934 KAISER TOWER ROAD                                                                                PINCONNING       MI     48650‐7448
HITZLER, RONALD L              121 HOFFMASTER ST                                                                                     HOPKINS          MI     49328‐9540
HIURA, KOICHI                  301 E 79TH ST APR 35M                                                                                 NEW YORK         NY     10075‐0950
HIVE, SHARON                   830 EASTERLING ST                                                                                     MOBILE           AL     36610‐4265
HIVELEY, FREDERICK E           2300 GRAND HAVEN DR APT 149                                                                           TROY             MI     48083‐4423
HIVELEY, NANCY K               5863 PRINCETON RD                                                                                     CADIZ            KY     42211‐9648
HIVELY LEE R JR                C/O JACK R VAUGHN                     PO BOX 511                                                      CANFIELD         OH     44406‐0511
HIVELY, ALBERT M               7536 OPOSSUM RUN RD                                                                                   LONDON           OH     43140‐9436
HIVELY, DONNA J                1211 BEECH AVE                                                                                        CHARLESTON       WV     25302‐1013
HIVELY, KENDALL L              7493 STATE ROUTE 546                                                                                  FREDERICKTOWN    OH     43019‐9280
HIVELY‐JOHNSON, ROBERT W       1014 GLEN ECHO RD                                                                                     WINONA           MN     55987‐5000
HIVES SHARON DENISE            HIVES, PAUL EDWARD                    PO BOX 4160                                                     MONTGOMERY       AL     36103‐4160
HIVES SHARON DENISE            HIVES, PAUL EDWARD                    50 N FLORIDA ST                                                 MOBILE           AL     36607‐3108
HIVES SHARON DENISE            HIVES, SHARON DENISE                  PO BOX 4160                                                     MONTGOMERY       AL     36103‐4160
HIVES SHARON DENISE            HIVES, STEPHANIE DANIELLE             PO BOX 4160                                                     MONTGOMERY       AL     36103‐4160
HIVES, ALISHA M                708 ANTIOCH RD                                                                                        MANSFIELD        LA     71052‐5260
HIVES, PAUL EDWARD             BEASLEY ALLEN CROW METHVIN PORTIS &   PO BOX 4160                                                     MONTGOMERY       AL     36103‐4160
                               MILES
HIVES, PAUL EDWARD             GREENE & PHILLIPS LLC                 50 N FLORIDA ST                                                 MOBILE           AL     36607‐3108
HIVES, SHARON DENISE           BEASLEY ALLEN CROW METHVIN PORTIS &   PO BOX 4160                                                     MONTGOMERY       AL     36103‐4160
                               MILES
HIVES, STEPHANIE DANIELLE      BEASLEY ALLEN CROW METHVIN PORTIS &   PO BOX 4160                                                     MONTGOMERY       AL     36103‐4160
                               MILES
HIVICK, M K                    3104 KETTERING DR                                                                                     SOUTH BEND      IN      46635
HIVICK, RICHARD C              3597 DUNBAR LN                                                                                        CORTLAND        OH      44410‐9628
HIVNOR, DUANE F                326 N BRINKER AVE                                                                                     COLUMBUS        OH      43204‐2036
HIWASSEE COLLEGE               BUSINESS OFFICE                                                                                       MADISONVILLE    TN      37354
HIWAY AUTO REPAIRS             P.O. BOX 1842                                                                TIMMINS ON P4N 7X1
                                                                                                            CANADA
HIWAY GARAGE                   LAWRENCE AGEE                         44275 STATE HIGHWAY 299 E                                       MCARTHUR         CA     96056‐8571
HIWAY GARAGE                   44275 STATE HIGHWAY 299 E                                                                             MCARTHUR         CA     96056‐8571
HIX GREEN SATURN ASSOC. LTD.   THOMAS KELLEY                         1145 MEADOW PERCH CT                                            LAWRENCEVILLE    GA     30043‐6698
PARTNERSHIP
HIX GREEN/CHAMBLEE             5900 PEACHTREE INDUSTRIAL BLVD                                                                        CHAMBLEE        GA      30341‐1631
HIX JR, CHARLEY O              14 W 15TH ST                                                                                          HIGGINSVILLE    MO      64037‐1218
HIX JR, VERNON C               1111 N LOGAN AVE                                                                                      DANVILLE        IL      61832‐2917
HIX, CHARLES L                 893 KIRKPATRICK HOLLOW RD                                                                             GAINESBORO      TN      38562‐6201
HIX, CLAUDE F                  1307 COBBLESTONE ST                                                                                   DAYTON          OH      45432‐3405
HIX, DAVID E                   9825 W WASHINGTON ST LOT #3                                                                           INDIANAPOLIS    IN      46229
HIX, EDNA E                    2024 SHIPLEY RD                                                                                       COOKEVILLE      TN      38501‐5713
HIX, ELSIE M                   14 W 15TH ST                                                                                          HIGGINSVILLE    MO      64037
HIX, GEORGIA                   100 BRUSHWOOD COURT                                                                                   BEREA           KY      40403‐1664
HIX, GERALDINE                 1621 EASTVIEW                                                                                         DANVILLE        IL      61832‐2013
HIX, GERALDINE                 1621 EASTVIEW AVE                                                                                     DANVILLE        IL      61832‐2013
HIX, JB                        6626 OAK HILL DR                                                                                      ENON            OH      45323‐1620
HIX, LEE A                     531 BELLMONTE PARK NORTH APT# 70                                                                      DAYTON          OH      45405
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Name                                 Address1                       Address2                      Address3   Address4               City            State   Zip
HIX, LEE A                           431 HALIFAX DR                                                                                 VANDALIA         OH     45377‐5377
HIX, LINDA F                         893 KIRKPACTRICK HOLLOW ROAD                                                                   GAINESBORO       TN     38562‐6201
HIX, MELVIN K                        415 WHEAT ST APT D                                                                             LANCASTER        OH     43130‐4480
HIX, NANNIE S                        1307 COBBLESTONE ST                                                                            DAYTON           OH     45432‐3405
HIX, PEARL I                         6238 WEST CROFT AVE                                                                            CASTLE ROCK      CO     80104
HIX, REBECCA BENTLEY                 1732 HAMLIN COURT                                                                              MT. DORA         FL     32757
HIX, REBECCA BENTLEY                 1732 HAMLIN CT                                                                                 MOUNT DORA       FL     32757‐3610
HIX, ROSA L                          66 HASTINGS AVENUE                                                                             HAMILTON         OH     45011‐4706
HIX, SHIRLEY M                       5333 POWELL RD                                                                                 HUBER HEIGHTS    OH     45424‐4235
HIX, STACY                           2309 SKILMAN WAY                                                                               SPRING HILL      TN     37174‐8223
HIX, VIRGIL A                        650 US 42 SE                                                                                   LONDON           OH     43140
HIX,JB                               6626 OAK HILL DR                                                                               ENON             OH     45323‐1620
HIXENBAUGH SR, FRANK C               50 LAKE AVE                                                                                    LOCKPORT         NY     14094‐1506
HIXENBAUGH SR, GARY L                961 DORWOOD PARK                                                                               RANSOMVILLE      NY     14131‐9674
HIXENBAUGH, CAROL G                  104 VICTORIA DR                                                                                WAYNESBURG       PA     15370‐1658
HIXENBAUGH, CHARLES R                584 SHERWOOD DR                                                                                AURORA           OH     44202‐8872
HIXENBAUGH, FLORENCE C               1352 BEXLEY DR                                                                                 YOUNGSTOWN       OH     44515‐4437
HIXENBAUGH, HARRY W                  1352 BEXLEY DR                                                                                 YOUNGSTOWN       OH     44515‐4437
HIXENBAUGH, HARRY W                  1352 BEXLEY DRIVE                                                                              YOUNGSTOWN       OH     44515‐4437
HIXENBAUGH, JAMES N                  2132 DIAMOND AVE                                                                               FLINT            MI     48532
HIXENBAUGH, JERRY L                  1342 CENTER ST W                                                                               WARREN           OH     44481‐9456
HIXENBAUGH, KENNETH L                10021 JEWELL RD                                                                                GAINES           MI     48436‐9721
HIXENBAUGH, KENNETH LESLIE           10021 JEWELL RD                                                                                GAINES           MI     48436‐9721
HIXENBAUGH, LARRY G                  6094 STATE ROUTE 305                                                                           FOWLER           OH     44418‐9716
HIXENBAUGH, OLIVER W                 1659 DONOVANS PASS NW                                                                          KENNESAW         GA     30152‐7686
HIXENBAUGH, RANDY E                  659 W HEIGHTS AVE                                                                              YOUNGSTOWN       OH     44509
HIXENBAUGH, ROBERT J                 440 AMBER DR SE                                                                                WARREN           OH     44484‐5810
HIXENBAUGH, RONALD R                 P.O BOX 452                                                                                    HUNDRED          WV     26575‐0452
HIXENBAUGH, RONALD R                 PO BOX 135                                                                                     LITTLETON        WV     26581‐0135
HIXENBAUGH, ROSEMARIE                388 E 328TH ST                                                                                 WILLOWICK        OH     44095‐3308
HIXENBAUGH, ROSEMARIE                388 E 328 ST                                                                                   WILLOWICK        OH     44095‐3308
HIXENBAUGH, SANDRA T                 3356 SARANAC DR                                                                                SHARPSVILLE      PA     16150‐8532
HIXENBAUGH, WILLIAM W                161 CAMAK RD. N.E.                                                                             WARRENTON        GA     30828‐3414
HIXENBAUGH, WILLIAM W                161 CAMAK RD                                                                                   WARRENTON        GA     30828‐3418
HIXON ELMER T JR (340486)            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                                    STREET, SUITE 600
HIXON, ELMER T                       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                                    STREET, SUITE 600
HIXON, ETHEL W                       2715 RED COACH DR                                                                              SPRINGFIELD     OH      45503‐1219
HIXON, GEOFFREY H                    2020 RAINTREE RD                                                                               YORKVILLE       IL      60560‐8906
HIXON, JOAN C                        3824 TWILIGHT DR S                                                                             BENBROOK        TX      76116‐7646
HIXON, REGINA                        100 WHITE HAMPTON LN APT 409                                                                   PITTSBURG       PA      15236‐1565
HIXON, RONALD                        11832 N. WALROND AVEM                                                                          KANSAS CITY     MO      64156
HIXON, RONALD                        11832 N WALROND AVE                                                                            KANSAS CITY     MO      64156‐1022
HIXON, RONLD
HIXON, WILLIAM E                     2715 RED COACH DR                                                                              SPRINGFIELD     OH      45503‐1219
HIXSON BETTY                         HIXSON, BETTY                  10085 CARROLL CANYON ROAD                                       SAN DIEGO       CA      92131
HIXSON HEATHER                       3347 HICKORY CT                                                                                FALLS CHURCH    VA      22042‐3929
HIXSON JR, FRED S                    2264 ANDREW RD                                                                                 KETTERING       OH      45440‐2602
HIXSON JR, HERBERT H                 2717 ARGELLA AVE                                                                               DAYTON          OH      45410‐3105
HIXSON TRANSMISSION & TOTAL REPAIR   5128 HIXSON PIKE                                                                               HIXSON          TN      37343‐3927

HIXSON, BLAINE J                     3872 HILLSDALE DR                                                                              AUBURN HILLS    MI      48326‐4300
HIXSON, COLEMAN W                    1490 ORCHARD GROVE AVE                                                                         LAKEWOOD        OH      44107‐3726
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Name                               Address1                        Address2                       Address3   Address4               City               State Zip
HIXSON, CYNTHIA J                  4602 RIDGE RD                                                                                    LOCKPORT            NY 14094‐9719
HIXSON, DAMARIUS D                 615 3RD STREET                                                                                   FORT WAYNE          IN 46808‐2720
HIXSON, DARWIN M                   18013 SE 59TH ST                                                                                 NEWALLA             OK 74857‐6429
HIXSON, DONALD E                   3342 MCCLUSKEY                                                                                   PINCKNEY            MI 48169‐8433
HIXSON, DORA                       4605 SE 3RD AVE                                                                                  KEYSTONE HGHT       FL 32656
HIXSON, EARL W                     6247 BARKER ST                                                                                   LANSING             MI 48911‐5502
HIXSON, GEORGE D                   23417 HUGHES AVE                                                                                 HAZEL PARK          MI 48030‐1553
HIXSON, GEORGE T                   8640 DEER TRL                                                                                    KALAMAZOO           MI 49009‐6453
HIXSON, JERRY L                    150 OLD STATE RD                                                                                 CLARKSVILLE         OH 45113‐9751
HIXSON, KENNETH L                  11 INVITATIONAL DR                                                                               GAYLORD             MI 49735‐7828
HIXSON, KIMBERLEE M                615 3RD STREET                                                                                   FORT WAYNE          IN 46808‐2720
HIXSON, LUCIAN C                   82 WEDGEWOOD DRIVE                                                                               HOLLISTON           MA 01746‐2226
HIXSON, NORMA                      2264 ANDREW RD.                                                                                  KETTERING           OH 45440‐2602
HIXSON, RICHARD E                  13323 KANSAS AVE                                                                                 BONNER SPRNGS       KS 66012‐9212
HIXSON, ROBERT E                   8562 RUSHVIEW DR                                                                                 PINCKNEY            MI 48169‐9113
HIXSON, ROSE                       7390 CARD ROAD                                                                                   SMITH CREEK         MI 48074‐2220
HIXSON, ROY L                      6337 ARTHUR ST                                                                                   WESTLAND            MI 48185‐2101
HIXSON, ROY LEE                    6337 ARTHUR ST                                                                                   WESTLAND            MI 48185‐2101
HIXSON, VAUGHN E                   36560 DOWLING CT                                                                                 LIVONIA             MI 48150‐3416
HIZA‐CARANCI, DEBRA L              2513 MARINA DR                                                                                   GRAND PRAIRIE       TX 75054‐6852
HIZA‐CARANCI, DEBRA LOUISE         2513 MARINA DR                                                                                   GRAND PRAIRIE       TX 75054‐6852
HIZER JR, CHARLES R                7 WOODSTOCK DR                                                                                   BROWNSBURG          IN 46112‐1927
HIZER, DAVID R                     771 N REDWOOD AVE                                                                                YPSILANTI           MI 48198‐7505
HIZER, ELIZABETH L                 609 E TAYLOR ST                                                                                  KOKOMO              IN 46901‐4785
HIZER, HELEN E                     4703 DORKIN COURT                                                                                INDIANAPOLIS        IN 46254‐2158
HIZER, HELEN E                     4703 DORKIN CT                                                                                   INDIANAPOLIS        IN 46254‐2158
HIZER, JOHN D                      4703 DORKIN CT                                                                                   INDIANAPOLIS        IN 46254‐2158
HIZER, JOHN D                      PO BOX 2692                                                                                      VISALIA             CA 93279‐2692
HIZER, JUDY C                      7 WOODSTOCK DR                                                                                   BROWNSBURG          IN 46112‐1927
HIZER, KENNETH W                   2122 RANDALL RD                                                                                  INDIANAPOLIS        IN 46240‐3147
HIZER, MARK E                      33759 BALMORAL ST                                                                                WESTLAND            MI 48185‐3075
HIZSNYAI, AKOS                     4412 FLAX COURT                                                                                  PALM BCH GDNS       FL 33410‐5421
HJALMER BROWN                      9758 N HIGHLAND RD                                                                               EDGERTON            WI 53534‐8946
HJELM DOUDLAS                      HJELM, DOUDLAS                  5055 WILSHIRE BLVD STE 300                                       LOS ANGELES         CA 90036‐6101
HJELM, CAMILLE M                   385 S CROWN CT                                                                                   PALATINE             IL 60074‐6830
HJELM, KENNETH S                   8703 TARRAGON DR                                                                                 ORLANDO             FL 32825‐3646
HJELMBERG, EARL F                  24808 STAR VALLEY DR                                                                             SAINT CLAIR SHORES MI 48080‐3180

HJELMBERG, EARL F                  3509 ARBUCKLE DR                                                                                 PLANO                TX   75075‐1751
HJELMBERG, MILDRED                 24808 STAR VALLEY DR                                                                             SAINT CLAIR SHORES   MI   48080‐3180

HJELMELAND, STACEY L               700 SALEM DR                                                                                     KOKOMO               IN   46902‐4924
HJERPE, EDWARD E                   5751 DIBBLE RD                                                                                   KINGSVILLE           OH   44048‐9809
HJERPE, EDWARD E.                  5751 DIBBLE RD                                                                                   KINGSVILLE           OH   44048‐9809
HJERTOS, PATRICIA R                30189 MICHIGAN AVE                                                                               LEONIDAS             MI   49066‐9709
HJERTQUIST, KENNETH G              4325 GALAXY DR                                                                                   JANESVILLE           WI   53546‐9613
HJJG GJYUGIL                       VKVHKH                          2151                                                             ASFADDA                   24578
HJORTAAS, ROBERT J                 158 MILTON AVE                                                                                   BATTLE CREEK         MI   49017‐5246
HJTREHJ TST                        HRGEWHG                         EERH
HK MET/LODI                        35 INDUSTRIAL RD                P.O. BOX 775                                                     LODI                 NJ   07644‐2607
HK METALCRAFT MANUFACTURING CORP   35 INDUSTRIAL RD                                                                                 LODI                 NJ   07644‐2607

HK METALCRAFT MANUFACTURING CORP   GARY CARAVITO                   35 INDUSTRIAL RD./PO BOX 775                                     SHELBY TWP           MI   48315
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Name                               Address1                         Address2                         Address3             Address4               City               State Zip
HK METALCRAFT MANUFACTURING CORP   GARY CARAVITO                    PO BOX 775                       35 INDUSTRIAL RD /                          LODI                NJ 07644‐0775

HK METALCRAFT MFG CORP             35 INDUSTRIAL RD                                                                                              LODI               NJ   07644‐2607
HK SYSTEMS                         2200 LITTON LN                                                                                                HEBRON             KY   41048‐8435
HK SYSTEMS INC                     ATTN: LEGAL DEPARTMENT           PO BOX 1512                                                                  MILWAUKEE          WI   53201‐1512
HKM DIRECT MARKET COMMUNICATIONS   5501 CASS AVE                                                                                                 CLEVELAND          OH   44102‐2121
INC
HKT BIG SKY MOTORS                 2515 W TOWNE ST                                                                                               GLENDIVE           MT   59330‐9602
HKT TRACTOR AND IMPLEMENT          CARY L.W. TOEPKE                 703 S CENTRAL AVE                                                            SIDNEY             MT   59270‐4938
HLAD, JANE                         1330 RIVERVIEW ST. NW                                                                                         WARREN             OH   44485‐2442
HLADCZUK, FLORENCE                 27 DIX STREET                                                                                                 NEW BRUNSWICK      NJ   08901‐2203
HLADCZUK, FLORENCE                 27 DIX ST                                                                                                     NEW BRUNSWICK      NJ   08901‐2203
HLADCZUK, JOANNE
HLADCZUK, JOHANNA M                3838 KENSINGTON BLVD                                                                                          WARREN             MI   48092‐1168
HLADCZUK, JOHN F
HLADCZUK, KIMBERLY                 GRIMES & GRIMES LLC              901 N PENN ST UNIT P804                                                      PHILADELPHIA       PA   19123
HLADEK, DAVID LEE                  BOONE ALEXANDRA                  205 LINDA DR                                                                 DAINGERFIELD       TX   75638‐2107
HLADEK, JERRY J                    147 THORNBURY DR                                                                                              KISSIMMEE          FL   34744‐8464
HLADICK, DIANA F                   8 PARKMAN STREET                                                                                              NATICK             MA   01760‐2834
HLADICK, DIANA F                   8 PARKMAN ST                                                                                                  NATICK             MA   01760‐2834
HLADIK, CARL F                     3126 ARIZONA AVE                                                                                              FLINT              MI   48506‐2528
HLADIK, PATRICK C                  608 WARREN AVE                                                                                                FLUSHING           MI   48433‐1459
HLADISH, ALBERT C                  1130 S 10TH ST                                                                                                SOUTH PLAINFIELD   NJ   07080‐1606
HLADKY, WILLIAM S                  PO BOX 781                                                                                                    WALPOLE            NH   03608‐0781
HLADSCHENKO, ANTHONY               26750 EUREKA DR                                                                                               WARREN             MI   48091‐1166
HLAHOL, MARIA                      24 LENORA AVE                                                                                                 MORRISVILLE        PA   19067‐1206
HLAHOL, MARIA                      24 LENORA AVENUE                                                                                              MORRISVILLE        PA   19067‐1206
HLAS, KIMBERLY A                   1460 SPRINGWOOD TRCE SE                                                                                       WARREN             OH   44484‐3145
HLATHEIN, TERENCE M                116 AUTUMN LN                                                                                                 GEORGETOWN         KY   40324‐8976
HLATKY JOHN                        6917 BERDELLE AVE                                                                                             CLEVELAND          OH   44105
HLATKY, JOHN D                     4609 CALVERT CT                                                                                               TROY               MI   48085‐5053
HLAUDY, DAVID A                    17397 LAKEWOOD AVE                                                                                            LAKE MILTON        OH   44429‐9761
HLAUDY, JOHN A                     1747 BELLE TERRE AVE                                                                                          NILES              OH   44446‐4121
HLAVAC, GARY N                     2409 FRESNO LN                                                                                                PLAINFIELD         IL   60586‐8471
HLAVAC, MAMIE V                    2141 BROWN RD.                                                                                                LAKEWOOD           OH   44107
HLAVAC, MAMIE V                    2141 BROWN RD                                                                                                 LAKEWOOD           OH   44107‐6065
HLAVAC, STEPHEN A                  19 WILLOW WAY                                                                                                 CANFIELD           OH   44406‐9226
HLAVACEK, DONALD A                 4408 WILLOW BEND RD SE                                                                                        DECATUR            AL   35603‐5313
HLAVACEK, GREGORY S                3420 ALISA LN                                                                                                 WATERFORD          MI   48328‐4102
HLAVACEK, JON P                    54 BIRCHDALE DRIVE RR 8                                                                                       LOCKPORT           IL   60491
HLAVACEK, VIOLET                   322 PARK AVE                     UNIT 3A                                                                      CLARENDON HIL      IL   60514‐1337
HLAVACEK, VIOLET                   322 PARK AVE APT 3A                                                                                           CLARENDON HILLS    IL   60514‐1337
HLAVACS, JOHN P                    8813 BIRCH RUN RD                                                                                             MILLINGTON         MI   48746‐9573
HLAVATI JR, JOHN N                 8351 GRASS LAKE RD                                                                                            HILLSDALE          MI   49242‐9522
HLAVATI, RICHARD D                 810 VINE RIDGE AVE                                                                                            COOKEVILLE         TN   38501‐3854
HLAVATY JOSEPH JOHN (491635)       BARON & BUDD                     3102 OAK LANE AVE , SUITE 1100                                               DALLAS             TX   75219
HLAVATY, EDWARD J                  2659 DONNA DR                                                                                                 WILLIAMSTON        MI   48895‐9575
HLAVATY, FLORENCE B                3385 MARONEAL ST                                                                                              HOUSTON            TX   77025‐2007
HLAVATY, JARMILA A                 5306 MIDDLE CHANNEL DR                                                                                        HARSENS ISLAND     MI   48028‐9543
HLAVATY, JOSEPH J                  10193 DELSY DR                                                                                                N ROYALTON         OH   44133‐1407
HLAVATY, JOSEPH JOHN               BARON & BUDD                     3102 OAK LANE AVE, SUITE 1100                                                DALLAS             TX   75219
HLAVATY, LOIS                      2659 DONNA DRIVE                                                                                              WILLIAMSTON        MI   48895‐9575
HLAVATY, MARTHA L                  27043 CECILE STREET                                                                                           DEARBORN HTS       MI   48127‐3331
HLAVATY, NATHAN D                  35115 MABON DR                                                                                                CLINTON TWP        MI   48035‐2872
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HLAVATY, PAUL J                 80 MAIN STREET                                                                                                            HOLMDEL              NJ     07733‐2343
HLAVATY, ROSS A                 2815 N 75TH ST                                                                                                            LINCOLN              NE     68507
HLAVATY, SOPHIE M               80 MAIN STREET                                                                                                            HOLMDEL              NJ     07733‐2343
HLAVIN, MARY A                  53 BRAEMAR DR                                                                                                             ELK GROVE VILLAGE     IL    60007‐3915

HLAVIN, MARY A                  53 BRAEMAR                                                                                                                ELK GROVE VILLAGE    IL     60007‐3915

HLAVIN, MILDRED M               5048 OAKRIDGE DR                                                                                                          N ROYALTON          OH      44133‐2031
HLAVIN, ROBERT C                123 PAULA DR                                                                                                              BROOKLYN            MI      49230‐9707
HLAVIN, WILLIAM H               53 BRAEMAR DR                                                                                                             ELK GROVE VILLAGE   IL      60007‐3915

HLAY, EVELYN B                  4985 RADIO RD.                                                                                                            YOUNGSTOWN          OH      44515‐1738
HLAY, EVELYN B                  4985 E RADIO RD                                                                                                           YOUNGSTOWN          OH      44515‐1738
HLEBOVY, AUGUST W               492 W PERSHING ST                                                                                                         SALEM               OH      44460‐2675
HLEBOVY, DENNIS J               1525 TAMARISK TRL                                                                                                         POLAND              OH      44514‐3633
HLEVANI BALOYI                  128 EAST DALE DRIVE                                                                                                       DAYTON              OH      45415‐2908
HLG ANES ASSOCIATES,            DEPARTMENT 4402                                                                                                           CAROL STREAM        IL      60122‐0001
HLI OPERATING COMPANY INC       HAYES LEMMERZ INTERNATION           15300 CENTENNIAL DR                                                                   NORTHVILLE          MI      48168‐8687
HLI OPERATING COMPANY INC       MASTER ACCOUNT                      1600 W 8 MILE RD                                                                      FERNDALE            MI      48220‐2202
HLI OPERATING COMPANY INC       3854 PAYSPHERE CIR                                                                                                        CHICAGO             IL      60674‐0038
HLI OPERATING COMPANY INC       3837 W MILL ST EXTENDED                                                                                                   WABASH              IN      46992
HLI‐INDUSTRIAS FRONTERIZAS      J.C. GONCALVES                      PARQUE INDUSTRIAL DL. LONZOIO                            LANCIANO ITALY
HLIFKA, SHELLY D                8475 HARDING                                                                                                              CENTER LINE         MI      48015‐1565
HLINKA, BLANCHE                 831 SERENIDAD PLACE                                                                                                       GOLETA              CA      93117‐1708
HLINKA, JOSEPH R                43 BENTON ST                                                                                                              YOUNGSTOWN          OH      44515‐1723
HLINKA, RICHARD J               1360 CHAMPION FOREST CT             C/O MRS GEORGE MASEK                                                                  WHEATON             IL      60187‐3000
HLOROS, CATHERINE A             15153 COUNTRY CLUB DR                                                                                                     LIVONIA             MI      48154‐5179
HLTH CORPORATION                MARTIN J. WYGOD                     669 RIVER DRIVE, CENTER 2                                                             ELMWOOD PARK        NJ      0*740
HLUBB, LEROY J                  110 GLIMMERING FIELD WAY                                                                                                  HEDGESVILLE         WV      25427‐5466
HLUCHAN, CARLOTTA C             6492 CYPRESS SPRINGS PKWY                                                                                                 PORT ORANGE         FL      32128‐2128
HLUCHAN, CARLOTTA C             1482 BRISTOL CHAMPION TOWNLINE RD                                                                                         WARREN              OH      44481‐9459
                                NW
HLUCHAN, DUANE A                1482 BRIST.CHAMP.TOWN.              N.W.                                                                                  WARREN              OH      44481
HLUCHAN, GABRIEL G              3026 YOUNGSTOWN HUBBARD RD                                                                                                YOUNGSTOWN          OH      44505
HLUCHYJ, WILLIAM D              4063 WATER HOLE CT                                                                                                        DOUGLASVILLE        GA      30135‐4278
HLUCKY JR, EMIL                 7099 LAURA LEE LN                                                                                                         SEVEN HILLS         OH      44131‐4518
HLUHAN, MARY                    214 TYROL DR                                                                                                              PITTSBURGH          PA      15227‐3536
HLUSZOK, MARIA M                2002 SILVER CT                                                                                                            HAMILTON            NJ      08690‐3532
HLW SERVICES CORP               115 5TH AVE                                                                                                               NEW YORK            NY      10003
HLYWA NICHOLAS G                1203 BEIRNE AVE NE                                                                                                        HUNTSVILLE          AL      35801‐6210
HLYWA, DAN                      3871 ARTMAR DR                                                                                                            YOUNGSTOWN          OH      44515‐3303
HLYWA, JOHN                     1101 WILD GINGER LN                                                                                                       ORANGE PARK         FL      32003‐3225
HLYWA, STEPHEN W                24694 BRITTANY AVE                                                                                                        EASTPOINTE          MI      48021‐3374
HM CONTROLS                     1075 N PROSPECT RD                                                                                                        YPSILANTI           MI      48198‐3042
HM CRAGG/BLOOMINGTON            9201 PENN AVE S STE 25                                                                                                    BLOOMINGTON         MN      55431‐2326
HM EVENTS MANAGEMENT            ATTN HARRIET JONES                  1213 SELBYDON WAY                                                                     WINTER GARDEN       FL      34787‐4650
HM POMEROY                      8201 OUTLOOK AVE                                                                                                          OAKLAND             CA      94605
HM WHITE, INC                   HM WHITE, INC                                                       1761 N POINTE RD STE B                                COLUMBIA            TN      38401
HM WHITE/COLUMBIA               PO BOX 2057                         1904 OAKLAND PARKWAY                                                                  COLUMBIA            TN      38402‐2057
HMAYED, ABDULAZIZ               7559 E MORROW CIR                                                                                                         DEARBORN            MI      48126‐1643
HMC TECH/NEW ALBANY             1112 WESSON TATE DR                                                                                                       NEW ALBANY          MS      38652‐2006
HMH TRANSPORTATION              514 N MAIN ST                                                                                                             BALTIMORE           OH      43105‐1242
HMI/SCADA SYSTEMS CORPORATION   4255 WALSH RD                                                                                                             WHITMORE LAKE       MI      48189‐9629
HML FREIGHT SYSTEMS INC         39115 MAPLE AVE                                                                                                           WAYNE               MI      48184‐1530
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Name                                Address1                            Address2                       Address3                    Address4                   City            State   Zip
HMOUD, PENELOPE                     1827 W GOWAN RD APT 1097                                                                                                  N LAS VEGAS      NV     89032‐6004
HMS CO                              1230 E BIG BEAVER RD                                                                                                      TROY             MI     48083‐1904
HMS CO LLC                          2170 E BIG BEAVER RD                                                                                                      TROY             MI     48083‐2315
HMS HOLDINGS LIMITED PARTNERSHIP    MARSHALL CARLSON                    4400 PAPA JOE HENDRICK BLVD                                                           CHARLOTTE        NC     28262‐5703
HMS PRODUCTS CO                     1230 E BIG BEAVER RD                                                                                                      TROY             MI     48083‐1904
HMT                                 LAURA DEMAREST                      23832 STATE HIGHWAY 249                                                               TOMBALL          TX     77375‐8226
HMT                                 23832 STATE HIGHWAY 249                                                                                                   TOMBALL          TX     77375‐8226
HMT GMBH & CO KG                    BIGGEN 12                                                                                      ATTENDORN 57439 GERMANY

HMT HELDENER METALLTECHNIK GMB      BIGGEN 12                           POSTFACH 168                                               ATTENDORN, NW 57
                                                                                                                                   GERMANY
HMT HELDENER METALLTECHNIK GMBH     UL POLNA 17A                                                                                   SRODA SLASKA PL 55‐300
                                                                                                                                   POLAND (REP)
HMT HELDENER METALLTECHNIK GMBH     BIGGEN 12                                                                                      ATTENDORN NW 57439
                                                                                                                                   GERMANY
HMT HELDENER METALLTECHNIK POLSKA S UL POLNA 17A                                                                                   SRODA SLASKA PL 55‐300
                                                                                                                                   POLAND (REP)
HMW ENTERPRISES INC                 207 N FRANKLIN ST                                                                                                         WAYNESBORO      PA      17268‐1105
HMW ENTRPS/WAYNESBRO                207 N FRANKLIN ST                                                                                                         WAYNESBORO      PA      17268‐1105
HN AUTOMOTIVE INC                   1500 HARTLAND BLVD STE 4                                                                                                  EFFINGHAM       IL      62401
HN AUTOMOTIVE INC                   VICKI PAUL                          1500 HEARTLAND BLVD                                                                   WAUSEON         OH      43567
HNANICEK, RACHAEL L                 3461 THOMAS RD                                                                                                            OXFORD          MI      48371‐1443
HNAT, HELEN                         5 MONTREAL CT                       HOLIDAY CITY AT BERKELEY                                                              TOMS RIVER      NJ      08757‐4121
HNAT, MARY                          409 E OXFORD ST                                                                                                           NEWBERG         OR      97132‐1074
HNAT, MARY                          409 OXFORD ST.                                                                                                            NEWBERG         OR      97132‐1074
HNAT, MICHAEL J                     PO BOX 22                                                                                                                 MASURY          OH      44438‐0022
HNAT, MICHAEL R                     8231 CLARENCE LN N                                                                                                        EAST AMHERST    NY      14051‐1997
HNATH, JULIA J                      27330 BAGLEY RD                                                                                                           OLMSTED FALLS   OH      44138‐1009
HNATIUK JR, DANIEL                  4 SNOW HILL DRIVE                                                                                                         SAINT PETERS    MO      63376‐2961
HNATIUK, BONNIE J                   6159 JOHNSON RD                                                                                                           FLUSHING        MI      48433‐1195
HNATIUK, DANIEL                     G3367 HELBER ST                                                                                                           FLINT           MI      48504‐2435
HNATIUK, MARTIN                     10369 N WEBSTER RD                                                                                                        CLIO            MI      48420‐8534
HNATIUK, MICHAEL                    3302 N BRINK DR                                                                                                           SANFORD         MI      48657‐9529
HNATIUK, PHILLIP A                  3094 WHITETAIL LN                                                                                                         OWOSSO          MI      48867‐8212
HNATIUK, PHILLIP ANDREW             3094 WHITETAIL LN                                                                                                         OWOSSO          MI      48867‐8212
HNATIUK, RYAN C                     7477 WREN DR                                                                                                              DAVISON         MI      48423‐7813
HNATIUK, RYAN CULLEN                7477 WREN DR                                                                                                              DAVISON         MI      48423‐7813
HNATIW, ALLEN L                     9111 RIVERSIDE DR                                                                                                         GRAND LEDGE     MI      48837‐9243
HNATIW, MARY R                      2330 W HENRIETTA RD                                                                                                       ROCHESTER       NY      14623‐1343
HNATIW, MARY R                      2330 WEST HENRIETTA RD                                                                                                    ROCHESTER       NY      14623‐1343
HNATIW, NICHOLAS A                  883 FAIRWAY TRAILS DR                                                                                                     BRIGHTON        MI      48116‐1762
HNATKO, STEPHANIE                   6475 CURWOOD DRIVE                                                                                                        EAST SYRACUSE   NY      13057‐1540
HNATOW, ANTHONY                     106 WINCHELL DR                                                                                                           SYRACUSE        NY      13209
HNB INVESTMENT CORP                 C/O PHILIP MORRIS CAPITAL           ATTN VICE PRESIDENT ASSET &    225 HIGH RIDGE ROAD SUITE                              STAMFORD        CT      06905
                                    CORPORATION                         PORTFOLIO MGMT                 300 WEST
HNB INVESTMENT CORP                 KAYE SCHOLER LLP                    ATTN: RICHARD G SMOLEV, ESQ    425 PARK AVENUE                                        NEW YORK         NY     10022
HNB INVESTMENT CORP                 C/O ALTRIA CLIENT SERVICES INC      ATTN C ANTHONY REALE SR ASST   6603 W BROAD ST             PO BOX 85088               RICHMOND         VA     23285
                                                                        GEN COUNSEL
HNB INVESTMENT CORP.                200 STAMFORD AVE                                                                                                          STAMFORD         CT     06902‐8034
HNB INVESTMENT CORP.                STATE STREET BANK AND TRUST COMPANY 225 ASYLUM ST FL 23                                                                   HARTFORD         CT     06103‐1534
                                    OF CT, N.A.
HNB INVESTMENT CORP.                THE CONNECTICUT NATIOINAL BANK      ATTN: GENERAL COUNSEL          777 MAIN ST                                            HARTFORD         CT     06115‐2303
HNB INVESTMENT CORP.                ATTN: GENERAL COUNSEL               200 STAMFORD AVE                                                                      STAMFORD         CT     06902‐8034
HNC SOFTWARE INC
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Name                      Address1                            Address2                      Address3   Address4                  City               State Zip
HNC SOFTWARE INC.
HNC SOFTWARE INC.         ATTN: VICE PRESIDENT, FINANCE       5935 CORNERSTONE COURT WEST                                        SAN DIEGO          CA    92121
HNIDA, SHEILA I           789 RUTLEDGE RD                                                                                        TRANSFER           PA    16154‐1915
HNIDY, EDWARD D           442 OTTAWA LN                                                                                          PRUDENVILLE        MI    48651‐9713
HNIDY, GERALD E           24361 COLONIAL DR                                                                                      WOODHAVEN          MI    48183‐3726
HNIDY, RUSSELL T          19718 DENBY                                                                                            REDFORD            MI    48240‐1666
HNIELEWSKI, JUDITH        48 BARRYMORE RD.                                                                                       CHEEKTOWAGA        NY    14225‐2045
HNILICA, BRADLEY S        4202 COHOCTAH RD                                                                                       LINDEN             MI    48451‐9625
HNILICA, BRADLEY STEVEN   4202 COHOCTAH RD                                                                                       LINDEN             MI    48451‐9625
HNILICA, COLLEEN J        723 HARRISBURG RD                                                                                      SEVIERVILLE        TN    37876‐6202
HNILICA, ERNIE J          723 HARRISBURG RD                                                                                      SEVIERVILLE        TN    37876‐6202
HNILICA, GEORGE           2084 PINE MOUNTAIN RD                                                                                  LA FOLLETTE        TN    37766‐6136
HNILICA, RANDOLPH B       398 LAKE ST                                                                                            SHREWSBURY         MA    01545‐3910
HNILO JR, JOSEPH J        3480 SKYVIEW ST                                                                                        KALAMAZOO          MI    49048‐9439
HNILO JR, RUDOLPH J       4220 WALL AVE                                                                                          ALLEN PARK         MI    48101‐3035
HNILO, CYNTHIA            4220 WALL AVE                                                                                          ALLEN PARK         MI    48101‐3035
HNIZDA, RONALD V          1801 TREASURE BOULEVARD                                                                                ROSCOMMON          MI    48653‐8295
HNIZDOR, RODNEY A         1425 CORONA ST                                                                                         INKSTER            MI    48141‐1854
HNSON, JEWEL DEWAYNE      MOODY EDWARD O                      801 W 4TH ST                                                       LITTLE ROCK        AR    72201‐2107
HNTB CORP                 715 KIRK DR                                                                                            KANSAS CITY        MO    64105‐1310
HNTB CORPORATION          LANA SCROGGINS                      911 MAIN STREET                                                    KANSAS CITY        MO    64105
HO CHARLES L (331815)     GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                               HONOLULU           HI    96814‐3308
                          TAKITANI
HO, ANN K                 1409 SW 126 STRICK                                                                                     OKLAHOMA CITY       OK   73170
HO, ANN KIM               1409 SOUTHWEST 126TH STREET                                                                            OKLAHOMA CITY       OK   73170‐4924
HO, CHARLES               GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                               HONOLULU            HI   96814‐3308
                          TAKITANI
HO, CHAU M                617 SW 102ND ST                                                                                        OKLAHOMA CITY       OK   73139‐5524
HO, FRANCIS K             1409 SW 126TH ST                                                                                       OKLAHOMA CITY       OK   73170‐4924
HO, HARRY W               2019 BRADFORD DRIVE                                                                                    ARLINGTON           TX   76010‐4705
HO, HIEP K                617 SW 102ND ST                                                                                        OKLAHOMA CITY       OK   73139‐5524
HO, HOI HEI               5008 W 158TH ST                                                                                        OVERLAND PARK       KS   66224‐3871
HO, JAY                   24633 NAPLES DR                                                                                        NOVI                MI   48374‐2982
HO, KHOI A                900 NILE STREET                                                                                        AURORA              CO   80010‐4168
HO, LENA M                APT A                               613 SOUTH NEWPORT AVENUE                                           TAMPA               FL   33606‐2687
HO, LENA M                613 S NEWPORT AVE                                                                                      TAMPA               FL   33606‐2687
HO, LI‐JEN P              36120 W LYMAN RD                                                                                       FARMINGTON HILLS    MI   48331‐3862

HO, LI‐JEN PETER          36120 W LYMAN RD                                                                                       FARMINGTON HILLS    MI   48331‐3862

HO, LI‐PEN J              25272 HOPKINS RD                                                                                       FARMINGTON HILLS    MI   48335‐2012

HO, LI‐PEN JOHN           25272 HOPKINS RD                                                                                       FARMINGTON HILLS    MI   48335‐2012

HO, MIKE                  THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD       SUITE 44                             CORAL GABLES        FL   33146
HO, PO‐SCHUN              EDERSTRASSE 6                                                                5400 HALLEIN AUSTRIA
HO, ROBERT                THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD       SUITE 44                             CORAL GABLES       FL    33146
HO, SHEW MIN              115 EAGLE COVE PL                                                                                      SAINT CHARLES      MO    63303‐3717
HO, STANLEY P             14526 KEESE DR                                                                                         WHITTIER           CA    90604‐3116
HO, THUY T                28445 ALGER ST                                                                                         MADISON HEIGHTS    MI    48071‐4560

HO, THUY THU‐TRAN         28445 ALGER ST                                                                                         MADISON HEIGHTS     MI   48071‐4560

HO, TRIEU‐KY              3514 PAISLEY CT                                                                                        ANN ARBOR           MI   48105‐2837
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Name                      Address1                          Address2         Address3         Address4               City              State   Zip
HOA KINGSLEY              9118 RIVERSIDE DR                                                                          GRAND LEDGE        MI     48837‐8207
HOA L LAM                 16101 WASHBURN PL                                                                          TAMPA              FL     33647
HOA T TRAN                6324 FOUNTAINHEAD                                                                          DAYTON             OH     45424‐8102
HOAD, BETTY               3316 STATE ROUTE 96                                                                        CLIFTON SPRINGS    NY     14432‐9505
HOADE, OVENA E            331 W 39TH ST                                                                              INDIANAPOLIS       IN     46208‐3922
HOADLEY, CONSTANC M       PO BOX 861                                                                                 LEWISTON           MI     49756‐0861
HOADLEY, DAVEY J          685 W MAIN RD                                                                              TWINING            MI     48766‐9616
HOADLEY, DENNIS R         407 LIVINGSTONE DR                                                                         CARY               NC     27513‐2920
HOADLEY, DONALD D         7394 REMICK RD R2                                                                          EDMORE             MI     48829
HOADLEY, GEORGE R         8896 LINDY LN                                                                              HOLLAND            MI     49423‐9200
HOADLEY, HOWARD W         10133 FAIRLANE DR                                                                          SOUTH LYON         MI     48178‐9337
HOADLEY, HOWARD WILLIAM   10133 FAIRLANE DR                                                                          SOUTH LYON         MI     48178‐9337
HOADLEY, JAMES C          145 STANDARD WOODS APT G‐80                                                                AUBURN             NY     13021
HOADLEY, JUDITH A         1375 S CROSS BRIDGES RD                                                                    MT PLEASANT        TN     38474‐2925
HOADLEY, KATHLEEN A.      61 SOUTH ST                                                                                VERNON             CT     06066‐4510
HOADLEY, MARY C           7255 MERRYBROOK                                                                            WEST BLOOMFIELD    MI     48322‐4174

HOADLEY, MILDRED M        6218 MARYWOOD AVENUE                                                                       LANSING           MI      48911‐5537
HOADLEY, NANCY B          7515 YOUNGSTOWN AVE                                                                        HUDSONSVILLE      MI      48426
HOADLEY, NORA             7115 YOUNGSTOWN AVE                                                                        HUDSONVILLE       MI      49426‐9386
HOADLEY, RICHARD M        49 AMY DR                                                                                  TONAWANDA         NY      14150‐6101
HOADLEY, ROBERT J         1816 MILITARY RD APT 2                                                                     KENMORE           NY      14217‐1029
HOADLEY, ROBERT L         1834 COLONIAL VILLAGE WAY APT 3                                                            WATERFORD         MI      48328‐1939
HOADLEY, THOMAS A         454 BOOTH ST                                                                               GRAND LEDGE       MI      48837‐1202
HOAG JR, HOWARD S         811 N SCHOOL RD                                                                            STERLING          MI      48659‐9777
HOAG, ALLEN E             721 VANIMAN ISLAND DR                                                                      BROOKLYN          MI      49230‐9036
HOAG, ANNIE L             2316 NORTHVIEW                                                                             HERNANDO          MS      38632‐1815
HOAG, BARRY E             1025 S HOLMES ST                                                                           LANSING           MI      48912‐1923
HOAG, BETTY J             8367 THORNAPPLE AVE 504                                                                    NEWAYGO           MI      49337
HOAG, BEVERLY J           6323 SQUIRE LAKE DR                                                                        FLUSHING          MI      48433‐2382
HOAG, BRADLEY G           12446 OAKWOOD SHORES ST                                                                    WAYLAND           MI      49348‐9056
HOAG, BRIAN L             PO BOX 658                                                                                 GRAND BLANC       MI      48480‐0658
HOAG, BRIAN LESLIE        PO BOX 658                                                                                 GRAND BLANC       MI      48480‐0658
HOAG, DARR B              11715 CLINTON RD                                                                           RIVES JCT         MI      49277‐9678
HOAG, DAVID D             1222 N WASHINGTON ST                                                                       OWOSSO            MI      48867‐1771
HOAG, DONALD S            11788 ROUND LAKE RD                                                                        HORTON            MI      49246‐9734
HOAG, ERNEST C            9300 UNION LAKE TRL                                                                        LONSDALE          MN      55046‐4124
HOAG, GERALD A            4286 BADGER RD                                                                             LYONS             MI      48851‐9758
HOAG, GERALD W            1308 MARBLE ROAD                                                                           EAST LANSING      MI      48823‐2833
HOAG, GLORIA G            11355 SUNSET DR                                                                            CLIO              MI      48420‐1516
HOAG, HOWARD S            3891 E SHAFFER RD                                                                          MIDLAND           MI      48642‐9794
HOAG, JAMES G             8200 DUNGARVIN DR                                                                          GRAND BLANC       MI      48439‐8164
HOAG, LINDA D             4072 W BEECHER RD                                                                          ADRIAN            MI      49221‐9785
HOAG, MARK D              5316 LAKE RD S                                                                             BROCKPORT         NY      14420‐9720
HOAG, MICHAEL G           7149 MILLER LN                                                                             GRAND BLANC       MI      48439‐7430
HOAG, RICHARD B           4711 ROCKVALLEY DR NE                                                                      GRAND RAPIDS      MI      49525‐1378
HOAG, RICHARD D           2460 BLACK ST RFD                                                                          CALEDONIA         NY      14423
HOAG, RICHARD K           22 GABRIELLE DR                                                                            ROCHESTER HILLS   MI      48307‐2423
HOAG, RICHARD L           22800 29 1/2 MILE RD                                                                       SPRINGPORT        MI      49284‐9406
HOAG, RICHARD W           2554 BLACK STREET RD                                                                       CALEDONIA         NY      14423‐9511
HOAG, RIETTA J            1340 WELLS ST                                                                              BURTON            MI      48529
HOAG, ROBERT C            8507 S MASTHEAD DR                                                                         TUCSON            AZ      85756‐9009
HOAG, RONALD F            2720 STOCKBRIDGE RD                                                                        WILLIAMSTON       MI      48895‐9040
HOAG, RONALD G            653 AGATE AVE                                                                              MANTECA           CA      95336‐3537
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Name                         Address1                          Address2                        Address3   Address4               City               State   Zip
HOAG, RUTH                   6133 BANCROFT AVE                                                                                   ALTO                MI     49302‐9312
HOAG, RUTH W                 10980 PEAKE RD                                                                                      PORTLAND            MI     48875‐9436
HOAG, SCOTT T                576 KURTZ ROAD                                                                                      MARIETTA            GA     30066‐5348
HOAG, SCOTT T                203 RIVERCHASE DR                                                                                   WOODSTOCK           GA     30188‐4599
HOAG, STEVE                  1475 HOUSE ST NE                                                                                    BELMONT             MI     49306
HOAG, THOMAS P               4332 WELDWOOD LN                                                                                    SYLVANIA            OH     43560‐3816
HOAG, THOMAS V               918 ETON RD                                                                                         TOLEDO              OH     43615‐4527
HOAG, WILMA L                C/O PATRICIA HEYS                 6045 HANNA LAKE                                                   CALEDONIA           MI     49316
HOAG, WILMA L                6045 HANNA LAKE AVE SE            C/O PATRICIA HEYS                                                 CALEDONIA           MI     49316‐8364
HOAGG, LEROY A               2254 WATERMAN RD                                                                                    VASSAR              MI     48768‐9566
HOAGG, MERRY M               907 BISCAYNE                                                                                        LAKEWAY             TX     78734‐4424
HOAGG, PERRY T               3200 INDIANWOOD RD                                                                                  LAKE ORION          MI     48362‐1034
HOAGLAND BEVERLY             109 W MAIN ST                                                                                       CORTLAND            OH     44410‐1431
HOAGLAND GERARD I (408278)   DEARIE & ASSOCS JOHN C            3265 JOHNSON AVE                                                  BRONX               NY     10463
HOAGLAND JAMES A (354240)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA     23510
                                                               STREET, SUITE 600
HOAGLAND, BUELL              1059 E RAHN RD                                                                                      DAYTON             OH      45429‐6107
HOAGLAND, CLYDE R            1613 MAPLE DR                                                                                       LORAIN             OH      44052‐2845
HOAGLAND, DAVID L            1503 S LUICK AVE                                                                                    MUNCIE             IN      47302‐4453
HOAGLAND, DONALD E           380 REXFORD DRIVE APT66                                                                             HERMITAGE          PA      16148‐6148
HOAGLAND, DONALD E           380 REXFORD DR APT 66                                                                               HERMITAGE          PA      16148‐2610
HOAGLAND, FREDERICK J        12130 SARA ST                                                                                       BROOKSVILLE        FL      34613‐5527
HOAGLAND, GERALD             DEARIE & ASSOCS JOHN C            3265 JOHNSON AVE                                                  RIVERDALE          NY      10463
HOAGLAND, JAMES A            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA      23510‐2212
                                                               STREET, SUITE 600
HOAGLAND, MARY K             603 KARNS DR DTR                                                                                    VANDALIA           OH      45377
HOAGLAND, PATRICIA           1235 BRIDLE PATH CT                                                                                 MIAMISBURG         OH      45342‐3574
HOAGLAND, THERESA A          12130 SARA ST                                                                                       BROOKSVILLE        FL      34613‐5527
HOAK EVERETT                 7 KAY AVE                                                                                           ROCHESTER          NY      14624‐2003
HOAK I I, NEIL K             8117 MAIN RD                                                                                        BERLIN HTS         OH      44814‐9549
HOAK MOTORS INC              HUTCHISON MYERS ECKERT & VOHS     705 DOUGLAS ST STE 402                                            SIOUX CITY         IA      51101‐1045
HOAK MOTORS, INCORPORATED    RICHARD HOAK                      4300 SOUTHGATE DR                                                 SIOUX CITY         IA      51106‐5117
HOAK MOTORS, INCORPORATED    4300 SOUTHGATE DR                                                                                   SIOUX CITY         IA      51106‐5117
HOAK REAL ESTATE LLC         HUTCHISON MYERS ECKERT & VOHS     705 DOUGLAS ST STE 402                                            SIOUX CITY         IA      51101‐1045
HOAK RICHARD (490886)        BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                               PROFESSIONAL BLDG
HOAK, BENTON K               4286 E PEKIN RD                                                                                     WAYNESVILLE        OH      45068‐9546
HOAK, BENTON K               4286 PEKIN RD                                                                                       WAYNESVILLE        OH      45068‐9546
HOAK, C K                    4120 MESA DR                                                                                        PLANO              TX      75074‐3417
HOAK, CATHERINE              10132 MELANIE AVE                                                                                   ENGLEWOOD          FL      34224‐8269
HOALCRAFT, RICHARD A         1401 DENNY RD                                                                                       COOKEVILLE         TN      38506‐4215
HOANG K NGUYEN               5730 BURKHARDT RD.                                                                                  DAYTON             OH      45431‐2930
HOANG NGUYEN                 2428 WAYNE WAY                                                                                      GRAND PRAIRIE      TX      75052‐7882
HOANG NGUYEN                 2511 PRAIRIE ST SW                                                                                  WYOMING            MI      49519‐2462
HOANG NGUYEN                 7202 BROADELM DR                                                                                    HOUSTON            TX      77095‐1442
HOANG T DUONG                3101 VALLEY WOOD DR                                                                                 KETTERING          OH      45429‐3937
HOANG VO                     25727 MIRACLE DR                                                                                    MADISON HTS        MI      48071‐4110
HOANG, ADAM L                8101 GARDENGATE CT                                                                                  FORT WORTH         TX      76137‐6071
HOANG, BINH                  3026 SALEM DR                                                                                       SHREVEPORT         LA      71118‐2016
HOANG, CHAU M                5124 S TIERNEY DR                                                                                   INDEPENDENCE       MO      64055‐6939
HOANG, DINH G                1486 SUMMERFIELD LN                                                                                 HOWELL             MI      48843‐6306
HOANG, KHANH V               2022 PEINE FOREST DR                                                                                WENTZVILLE         MO      63385‐2678
HOANG, MINH D                34237 SURF DR                                                                                       STERLING HEIGHTS   MI      48310‐5551
HOANG, PAUL P                12600 WAGON WHEEL RD                                                                                OKLAHOMA CITY      OK      73173‐8625
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Name                    Address1                          Address2                  Address3   Address4               City              State   Zip
HOANG, PAUL PHUONG      12600 WAGON WHEEL RD                                                                          OKLAHOMA CITY      OK     73173‐8625
HOANG, RYAN M           6341 WELLINGTON PLACE DR                                                                      DAYTON             OH     45424
HOANG, SANDRA G         4599 CORDELL DRIVE                                                                            DAYTON             OH     45439‐3062
HOANG, SON T            5661 TIVERTON CIR                                                                             WESTMINSTER        CA     92683‐4134
HOANG, THANH D          6341 WELLINGTON PLACE DR                                                                      DAYTON             OH     45424
HOANG, TICH DANG        3309 NE 6TH ST                                                                                RENTON             WA     98056‐3952
HOANG, TONY T           27868 THOMAS AVE                                                                              WARREN             MI     48092‐3591
HOANG, TONY TON         27868 THOMAS AVE                                                                              WARREN             MI     48092‐3591
HOAR JR, JAMES E        1305 JOHNSON ST                                                                               MENLO PARK         CA     94025‐4417
HOAR, LARRY F           915 S CONKLING ST                                                                             BALTIMORE          MD     21224‐5217
HOARD ANDY              HOARD, ANDY                       15321 LA PLATA COURT                                        RAMONA             CA     92065‐4515
HOARD CATHERINE         7448 SAUSALITO AVE                                                                            WEST HILLS         CA     91307‐1730
HOARD I I, DANNY L      5345 STATE ROUTE 181                                                                          GALION             OH     44833‐9553
HOARD II, DANNY L       5345 STATE ROUTE 181                                                                          GALION             OH     44833‐9553
HOARD JR, EDWARD D      PO BOX 2085                                                                                   GRIFFIN            GA     30224‐0053
HOARD SUSAN             57256 MEGAN DR                                                                                WASHINGTON         MI     48094‐3815
HOARD, A E              8440 CAINE RD                     BOX 105                                                     MILLINGTON         MI     48746
HOARD, AMY J            11230 WOODBRIDGE DR                                                                           GRAND BLANC        MI     48439‐1021
HOARD, ANDY             15321 LA PLATA CT                                                                             RAMONA             CA     92065‐4515
HOARD, BRENDA J         PO BOX 128                                                                                    VERMONTVILLE       MI     49096‐0128
HOARD, CLYDE H          9024 BELSAY RD                                                                                MILLINGTON         MI     48746‐9586
HOARD, DELOIS           500 MCLIN CIRCLE                                                                              FLORENCE           MS     39073‐7975
HOARD, DELOIS           500 MCLIN CIR                                                                                 FLORENCE           MS     39073‐7975
HOARD, DONNA F          2412 GINGER LILY LN                                                                           LAS VEGAS          NV     89134‐6031
HOARD, ELEANOR M        1630 FIELDING DR                  WINCHESTER VILLAGE #3                                       ROCHESTER HILLS    MI     48307‐3002
HOARD, GERALD D         2305 WEST BLVD                                                                                HOLT               MI     48842‐1015
HOARD, HARRY L          121 E LITTLE BEAR LN                                                                          SHELTON            WA     98584‐9655
HOARD, JERRY R          4842 CLARK RD                                                                                 BATH               MI     48808‐9759
HOARD, JOANN            2803 HILLCREST DR                                                                             LEXINGTON          OH     44904‐1434
HOARD, JUSTIN           7190 N IONIA RD                                                                               VERMONTVILLE       MI     49096‐9768
HOARD, LAURA
HOARD, LILLIE           848 GATEWAY AVE APT 3                                                                         CLINTON           IA      52732‐3541
HOARD, NICOLE           7190 N IONIA RD                                                                               VERMONTVILLE      MI      49096‐9768
HOARD, PAUL J           112 JANE                                                                                      MIDDLETON         MI      48856‐5145
HOARD, RAY E            5294 DUNSTER RD                                                                               GRAND BLANC       MI      48439‐9732
HOARD, RICHARD A        1440 HAGLEY RD                                                                                TOLEDO            OH      43612‐2228
HOARD, RICHARD E        8806 VASSAR RD                                                                                MILLINGTON        MI      48746‐9590
HOARD, RICHARD E        8101 N KIDDER RD                                                                              EDGERTON          WI      53534‐9009
HOARD, RICHARD H        13563 SANDY BEACH RD                                                                          MANITOU BEACH     MI      49253‐9777
HOARD, RODNEY W         5646 WOODVIEW TRL                                                                             NORTH BRANCH      MI      48461‐8301
HOARD, RODNEY WAYNE     5646 WOODVIEW TRL                                                                             NORTH BRANCH      MI      48461‐8301
HOARD, ROY D            7600 S CHANDLER RD                                                                            SAINT JOHNS       MI      48879‐9165
HOARD, RUSSELL W        8971 BARNES RD                                                                                MILLINGTON        MI      48746‐9574
HOARD, SHERRY L         2305 WEST BLVD                                                                                HOLT              MI      48842‐1015
HOARD, SHERRY LYNN      2305 WEST BLVD                                                                                HOLT              MI      48842‐1015
HOARD, STEPHEN A        4405 N WASHBURN RD                                                                            DAVISON           MI      48423‐8162
HOARD, VIVIAN N         18544 ICEBOX RD                                                                               SPARTA            WI      54656‐3780
HOARE JOHN T (470268)   WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                             NEW YORK          NY      10038
HOARE, JOHN T           WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                             NEW YORK          NY      10038
HOASHI, IKE             # 115                             3285 US HIGHWAY 50 EAST                                     FERNLEY           NV      89408‐5675
HOATH, JONATHAN A       4711 OLLIE CHUNN RD                                                                           SPRING HILL       TN      37174‐2247
HOATS, CATHERINE A      123 EDGEWOOD TER                                                                              S BOUND BROOK     NJ      08880‐1263
HOATS, JUNE D           124 LITTLE PL                                                                                 SOUTH BOUND       NJ      08880‐1114
                                                                                                                      BROOK
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Name                               Address1                      Address2              Address3          Address4               City               State Zip
HOATS, JUNE D                      124 LITTLE PLACE                                                                             SO. BOUND BROOK     NJ 08880‐1114

HOBACK, DAWN C                     110 STAHL AVE                                                                                NEW CASTLE         DE   19720‐3318
HOBAN, EUGENE C                    1345 CAMBRIDGE LN                                                                            CARO               MI   48723‐1255
HOBAN, JAMES P                     1721 WINTON AVE                                                                              INDIANAPOLIS       IN   46224‐5644
HOBAN, JOE E                       225 POPLAR STREET                                                                            KOKOMO             IN   46902‐2263
HOBAN, JOHN T                      7329 LINDENMERE DR                                                                           BLOOMFIELD HILLS   MI   48301‐3532
HOBAN, JOY F                       PO BOX 431                                                                                   MORRISTOWN         AZ   85342‐0431
HOBAN, KATHLEEN P                  9355 E 69TH TERRACE                                                                          RAYTOWN            MO   64133‐5946
HOBAN, LARRY R                     9560 COOLEY LAKE RD                                                                          WHITE LAKE         MI   48386
HOBAN, PHYLLIS N                   23 GEORGETOWN LN                                                                             FAIRPORT           NY   14450‐3333
HOBAN, RICHARD L                   99 ARLENE CT                                                                                 WHITE LAKE         MI   48386‐1903
HOBART A MOZINGO                   1624 SHERIDAN AVE. N.E.                                                                      WARREN             OH   44483‐3972
HOBART AND WILLIAM SMITH COLLEGE   STUDENT ACCOUNTS OFFICE                                                                      GENEVA             NY   14456
HOBART BAKER                       1705 HINER RD                 ROUTE 2                                                        ORIENT             OH   43146‐9404
HOBART BALLARD JR                  PO BOX 1212                                                                                  BEDFORD            IN   47421‐1212
HOBART BARBEE                      5639 AGNES AVE                                                                               KANSAS CITY        MO   64130‐3838
HOBART BARNES                      3903 KENWOOD DR                                                                              HAMILTON           OH   45015‐2141
HOBART BYRD                        396 MARY LANE CR                                                                             SOUTH LEBANON      OH   45065‐1104
HOBART CORP                        8934 BECKETT RD                                                                              WEST CHESTER       OH   45069‐2939
HOBART CORPORATION                 43442 N I 94 SERVICE DR                                                                      BELLEVILLE         MI   48112
HOBART CORPORATION                 KRISTIN B MAYHEW              POPE & HAZARD LLP     30 JEILIFF LANE                          SOUTHPORT          CT   06890
HOBART H WAITS                     308 KENBROOK DR. APT.C                                                                       VANDALIA           OH   45377‐2431
HOBART INSTITUTE OF WELDING TE     400 TRADE SQ E                                                                               TROY               OH   45373‐2463
HOBART INSTITUTE OF WELDING        400 TRADE SQ E                                                                               TROY               OH   45373‐2463
TECHNOLOGY
HOBART L CLARK                     5024 LAUDERDALE DR                                                                           MORAINE            OH   45439‐2927
HOBART LANHAM                      1215 PARKMAN RD NW                                                                           WARREN             OH   44485‐2470
HOBART LEDGERWOOD                  840 LOCKWOOD RD                                                                              ORTONVILLE         MI   48462‐9189
HOBART LONG                        1435 EVERGREEN DR                                                                            STREETSBORO        OH   44241‐5424
HOBART MC CUE JR                   1089 FRANKLIN AVE                                                                            SALEM              OH   44460‐3857
HOBART MITCHELL                    3 DUNSINANE DR                                                                               NEW CASTLE         DE   19720‐2316
HOBART MOZINGO                     1624 SHERIDAN AVE NE                                                                         WARREN             OH   44483‐3972
HOBART PHILLIPS                    1123 VANDEMAN ST                                                                             INDIANAPOLIS       IN   46203‐2253
HOBART ROACHE                      6226 WALLAKER RD                                                                             BENZONIA           MI   49616‐9735
HOBART, FRANCIS J                  2962 HENRYS FORK DR                                                                          REDDING            CA   96002‐5207
HOBART, GERALD R                   901 PENNSYLVANIA AVE                                                                         MANSFIELD          OH   44905‐1513
HOBART, LARRY L                    836 ST RT 314 RR12 S                                                                         MANSFIELD          OH   44903
HOBAUGH, HOWARD G                  565 N BUHL FARM DR                                                                           HERMITAGE          PA   16148‐1665
HOBAUGH, KIRK W                    179 KRISTINE AVE                                                                             MANAHAWKIN         NJ   08050‐7811
HOBAUGH, LAURA MAE W               179 KRISTINE AVE                                                                             MANAHAWKIN         NJ   08050‐7811
HOBB'S & SON GARAGE                1378 S MOUNT JULIET RD                                                                       MOUNT JULIET       TN   37122‐6335
HOBBIB, GEORGE B                   489 ROCKSVILLE RD                                                                            HOLLAND            PA   18966‐2086
HOBBIDY, LAURA M                   157 E LORADO AVE                                                                             FLINT              MI   48505‐2160
HOBBIE AUTO CENTER                 1250 ORO DAM BLVD E                                                                          OROVILLE           CA   95965‐5837
HOBBIE CHEVROLET‐CADILLAC          DONALD HOBBIE                 1250 ORO DAM BLVD E                                            OROVILLE           CA   95965‐5837
HOBBIE, MICHAEL N                  2 GLENWOOD PL                                                                                SPRING LAKE        NJ   07762‐1618
HOBBINS, DANIEL R                  726 BANGHART ST                                                                              LANSING            MI   48906‐4236
HOBBINS, DAVID W                   3669 FISH LAKE RD                                                                            LAPEER             MI   48446‐8315
HOBBINS, DAVID WILLIAM             3669 FISH LAKE RD                                                                            LAPEER             MI   48446‐8316
HOBBINS, DREW J                    317 GROVELAND AVE UNIT 414                                                                   MINNEAPOLIS        MN   55403
HOBBINS, MARILYN J                 6298 DIANA DR                                                                                POLAND             OH   44514‐1830
HOBBINS, PATRICIA K                6017 SHADOWLAWN ST                                                                           DEARBORN HEIGHTS   MI   48127‐2967
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Name                           Address1                        Address2                      Address3                Address4                City               State   Zip
HOBBINS, RICHARD S             4100 JENNIE LN                                                                                                SWARTZ CREEK        MI     48473‐1549
HOBBINS, ROBERT P              1235 JAY ST                                                                                                   ROCHESTER           NY     14611‐1142
HOBBINS, WILLIAM W             5465 LOU IDA BLVD                                                                                             YOUNGSTOWN          OH     44515‐1122
HOBBS & BLACK ASSOCIATES INC   100 N STATE ST                                                                                                ANN ARBOR           MI     48104‐1531
HOBBS AUTO REPAIRS             10530 MANGO ST                                                                                                HOUSTON             TX     77089‐1416
HOBBS AUTOMOTIVE               46 S POST RD                                                                                                  INDIANAPOLIS        IN     46219‐6808
HOBBS BARBARA                  1213 W CARLA LN                                                                                               SCOTTSBURG          IN     47170‐7757
HOBBS CALVIN (466973)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                   NORFOLK             VA     23510
                                                               STREET, SUITE 600
HOBBS CORPORATION              BRENDA HOFFMAN                  INVENSYS PLC                  410 RICHARD A MAUTINO                           ELMA                NY
                                                                                             DRIVE
HOBBS CORPORATION              BRENDA HOFFMAN                  410 RICHARD A MAUTINO DR      INVENSYS PLC                                    SPRING VALLEY      IL      61362‐1140
HOBBS EQUIPMENT INC            12 W MAIN ST                                                                                                  NEW PALESTINE      IN      46163‐8755
HOBBS I I, JAMES E             2110 HAMPTON CT                                                                                               FALLSTON           MD      21047‐2022
HOBBS JR, DAVID A              2101 MOORESVILLE HWY APT 407                                                                                  LEWISBURG          TN      37091‐4605
HOBBS JR, DAVID A              2101 MOORESVILLE HWY            407                                                                           LEWISBURG          TN      37091
HOBBS JR, EDWARD W             6105 ADCOCK LN                                                                                                HANOVER            MD      21076‐1062
HOBBS JR, JOHN W               1094 DELORES WAY                                                                                              FOREST PARK        GA      30297‐3561
HOBBS JR, WILLIAM              22115 W MCNICHOLS RD APT 15                                                                                   DETROIT            MI      48219
HOBBS MARGUERITE               HOBBS, MARGUERITE               137 EAST ST                                                                   WEST BRIDGEWATER   MA      02379

HOBBS RANDY                    110 BRISBANE CT                                                                                               FAYETTEVILLE        GA     30215‐5641
HOBBS ROBERT E (405044)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                   NORFOLK             VA     23510
                                                               STREET, SUITE 600
HOBBS SR, JACKIE D             .635 KRISTEN ST                                                                                               SPRING HILL        TN      37174‐5156
HOBBS SR, JACKIE D             3982 KRISTEN ST                                                                                               SPRING HILL        TN      37174‐5156
HOBBS VICKEY                   HOBBS, VICKEY                   P.O. B OX 273                                                                 LEPANTO            AR      72354‐0273
HOBBS, ANNE DEBRAH             125 WHITE PINE AVE                                                                                            O FALLON           IL      62269‐2509
HOBBS, ANNE L                  1054 HILLCREST DR                                                                                             OXFORD             MI      48371‐6016
HOBBS, ANNE L.                 1054 HILLCREST DR                                                                                             OXFORD             MI      48371‐6016
HOBBS, BARBARA J               475 MCCARTY DR                                                                                                GREENWOOD          IN      46142‐1933
HOBBS, BARBARA M               7022 NORTH ELM                                                                                                LIBERTY            MO      64068
HOBBS, BARBARA M               7022 N ELM ST                                                                                                 PLEASANT VALLEY    MO      64068‐9571
HOBBS, BARRY W                 26550 LAMBERT RD                                                                                              ELKMONT            AL      35620‐3208
HOBBS, BETTY J                 3009 MOHAWK ST                                                                                                MIDDLETOWN         OH      45044‐7703
HOBBS, BEVERLY J               124 DALE AVE                                                                                                  DANVILLE           IL      61832‐2710
HOBBS, BOBBIE L                12880 DOLSON ST APT 202                                                                                       DETROIT            MI      48223‐3262
HOBBS, CALVIN                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA      23510‐2212
                                                               STREET, SUITE 600
HOBBS, CARMELL C               121 CRESCENT DRIVE                                                                                            SEVIERVILLE         TN     37862‐7862
HOBBS, CAROL A                 350 S 800 E                                                                                                   ELWOOD              IN     46036‐8568
HOBBS, CAROL L                 2067 HUNTERS WOOD DR                                                                  BURLINGTON ONTARIO
                                                                                                                     CANADA L7M‐2T1
HOBBS, CAROLL J                10804 N. MONTG LINE RD.                                                                                       BROOKVILLE         OH      45309
HOBBS, CECIL M                 1533 ARESENAL AVENUE                                                                                          INDIANAPOLIS       IN      46201
HOBBS, CECIL M                 1553 N ARSENAL AVE                                                                                            INDIANAPOLIS       IN      46201‐1010
HOBBS, CHARLES H               860 MUSKEGON RD                                                                                               HARRISON           MI      48625‐8593
HOBBS, CHARLES K               4955 MOOREFIELD RD                                                                                            CARLISLE           KY      40311‐9481
HOBBS, CHARLES M               3950 S 200 W                                                                                                  HARTFORD CITY      IN      47348‐9740
HOBBS, CINDY                   302 KRISTINA COURT                                                                                            DAYTON             OH      45458‐4127
HOBBS, CLORA M                 66 ELM ST                                                                                                     SHELBY             OH      44875‐1036
HOBBS, DALE T                  2463 STEWART RD                                                                                               XENIA              OH      45385‐9307
HOBBS, DANA L                  263 JULIE LN                                                                                                  STONEWALL          LA      71078‐9604
HOBBS, DANA LYNN               263 JULIE LN                                                                                                  STONEWALL          LA      71078‐9604
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Name                        Address1                         Address2                   Address3   Address4               City              State   Zip
HOBBS, DANIEL P             330 N ELM ST                                                                                  FARMERSVILLE       OH     45325‐1214
HOBBS, DANNY L              PO BOX 101                                                                                    FRANKTON           IN     46044
HOBBS, DAVID M              7648 STONECREST DR                                                                            HUBER HEIGHTS      OH     45424‐2207
HOBBS, DAVID R              427 REDWOOD AVE                                                                               DAYTON             OH     45405‐5137
HOBBS, DAVID R              824‐5 MORAVIAN ST                                                                             ANDERSON           IN     46012
HOBBS, DEBORAH A            2016 BRIDGEHAMPTON PL                                                                         BRANDON            FL     33511‐2308
HOBBS, DEDRA M              28684 BLACKSTONE DR                                                                           LATHRUP VILLAGE    MI     48076‐2614
HOBBS, DEDRA MONIQUE        28684 BLACKSTONE DR                                                                           LATHRUP VILLAGE    MI     48076‐2614
HOBBS, DENNIS R             355 SYCAMORE SPRINGS DR                                                                       SPRINGBORO         OH     45066‐8952
HOBBS, DOLORES MAE          10026 W RUDASILL RD                                                                           TUCSON             AZ     85743‐8919
HOBBS, DONALD E             403 RICK KELLEY LN                                                                            SENECA             SC     29678‐1048
HOBBS, DONALD L             1900 SCIOTO CT                                                                                KETTERING          OH     45420‐2191
HOBBS, DORA                 PO BOX 1348                                                                                   KODAK              TN     37764‐7348
HOBBS, DORIS                1615 S I ST                                                                                   ELWOOD             IN     46036‐2808
HOBBS, DORIS                1615 SOUTH I ST                                                                               ELWOOD             IN     46036‐2808
HOBBS, DORIS L              PO BOX 246                                                                                    GIRDLER            KY     40943‐0246
HOBBS, DOROTHY M            10001 E 38TH TER                                                                              KANSAS CITY        MO     64133‐1253
HOBBS, DUANE C              2578 LYON RD                                                                                  NEWARK             NY     14513‐9732
HOBBS, DWIGHT               PO BOX 34012                                                                                  DETROIT            MI     48234‐0012
HOBBS, E L                  PO BOX 426                                                                                    JOSHUA TREE        CA     92252‐0426
HOBBS, EARL R               2204 N RECTOR AVE                                                                             MUNCIE             IN     47303‐2578
HOBBS, ELAINE M             5244 W FARRAND RD                                                                             CLIO               MI     48420‐8251
HOBBS, EMMA B               472 JULIE MCKNIGHT RD                                                                         KITTRELL           NC     27544‐9161
HOBBS, ERNEST H             150 MATHY HOBBS RD                                                                            BUCHANAN           GA     30113‐4646
HOBBS, FRANKLIN D           282 W HATT SWANK RD                                                                           LOVELAND           OH     45140‐6670
HOBBS, FURLINDA M           16168 E GLENN VALLEY DR                                                                       ATHENS             AL     35611‐3915
HOBBS, GARY
HOBBS, GARY J               501 N 5TH ST BOX 137                                                                          FRANKTON           IN     46044
HOBBS, GEANETTE LEE         189 WASHINGTON ST                                                                             STANTON            KY     40380‐3013
HOBBS, GEORGIA M            2110 BINGHAM RD                                                                               CLIO               MI     48420‐1970
HOBBS, GLADYS M             8840 E SUNLAND AVE LOT 130                                                                    MESA               AZ     85208‐2972
HOBBS, GRATHO               12118 WATTERSON ST                                                                            HUDSON             FL     34667‐3119
HOBBS, GRATHO               12118 WATERSON ST                                                                             HUDSON             FL     34667‐3119
HOBBS, GREGORY O            6599 N 750 W                                                                                  FRANKTON           IN     46044‐9689
HOBBS, GROVER N             472 JULIE MCKNIGHT RD                                                                         KITTRELL           NC     27544‐9161
HOBBS, HARLAN               STEINBRECHER & ASSOCIATES        16830 VENTURA BLVD STE B                                     ENCINO             CA     91436‐1714
HOBBS, HARLAN               COLSON HICKS EIDSON              255 ARAGON AVE FL 2                                          CORAL GABLES       FL     33134‐5059
HOBBS, HAROLD S             PO BOX 1587                                                                                   FUQUAY VARINA      NC     27526‐1587
HOBBS, HERBERT C
HOBBS, HERBERT L            1003 N CENTRAL AVE                                                                            ALEXANDRIA        IN      46001‐9488
HOBBS, HERMAN L             1111 HADCOCK RD                                                                               BRUNSWICK         OH      44212‐2759
HOBBS, HURLIE D             3304 MEMORIAL DR N                                                                            ELWOOD            IN      46036‐8333
HOBBS, JACK D               7221 S CENTER LINE RD                                                                         NINEVEH           IN      46164‐8944
HOBBS, JAMES
HOBBS, JAMES M              PO BOX 271                                                                                    SIDELL            IL      61876‐0271
HOBBS, JAMES R              12223 JASON DR                                                                                MEDWAY            OH      45341‐9667
HOBBS, JANET M              189 BAY RIDGE DR                                                                              PENDLETON         IN      46064‐9477
HOBBS, JASON R              622 W ADAMS ST                                                                                ALEXANDRIA        IN      46001‐1817
HOBBS, JENNIE A             2021 MAPLEWOOD                                                                                FLINT             MI      48506‐4420
HOBBS, JENNIFER S           2426 LAKECREST DR                                                                             SHREVEPORT        LA      71109‐3003
HOBBS, JENNIFER STEPHANIE   2426 LAKECREST DR                                                                             SHREVEPORT        LA      71109‐3003
HOBBS, JERRY L              103 GILBERT DR                                                                                FRANKLIN          TN      37064‐5023
HOBBS, JOAN                 C/O JOHN S HOBBS                 48190 FOUR SEASONS BLVD                                      NORTHVILLE        MI      48168
                                                                                                                          TOWNSHIP
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Name                 Address1                         Address2               Address3      Address4               City               State   Zip
HOBBS, JOAN          48190 FOUR SEASONS BLVD          C/O JOHN S HOBBS                                            NORTHVILLE          MI     48168‐8556
HOBBS, JOEL ERNEST   3288 E 300 N                                                                                 ANDERSON            IN     46012‐9429
HOBBS, JOEL F        1324 E 9TH PL                                                                                CASA GRANDE         AZ     85222‐3688
HOBBS, JOHN R        4334 SOFTWOOD LANE                                                                           DAYTON              OH     45424‐8029
HOBBS, JOHN S        48190 FOUR SEASONS BLVD                                                                      NORTHVILLE          MI     48168‐8556
HOBBS, JOHN STEVEN   48190 FOUR SEASONS BLVD                                                                      NORTHVILLE          MI     48168‐8556
HOBBS, JOHN W        2922 WEKIVA RD                                                                               TAVARES             FL     32778‐5148
HOBBS, JONAH E       7262 DAVE BRIGHT RD                                                                          FAISON              NC     28341‐7033
HOBBS, JOSEPH M      12223 JASON DR                                                                               MEDWAY              OH     45341‐9667
HOBBS, JOSEPH M      12223 JASON DR.                                                                              MEDWAY              OH     45341‐9667
HOBBS, JR.,DAVID R   1827 WOODHAVEN AVE                                                                           DAYTON              OH     45414‐5405
HOBBS, JUNE K        294 RESERVES BLVD                                                                            SHEPHERDSVILLE      KY     40165‐8366
HOBBS, JUNIOR Z      2286 W 41ST ST                                                                               CLEVELAND           OH     44113‐3851
HOBBS, KATHRYN A     533 DREAM ST                                                                                 ANDERSON            IN     46013‐1162
HOBBS, KATHY A       1776 VALLEY VIEW DR S                                                                        KOKOMO              IN     46902‐5073
HOBBS, KENNETH K     1050 SPRINGWATER RD                                                                          KOKOMO              IN     46902‐4899
HOBBS, KERRY D       12609 N JACKLEY RD                                                                           ELWOOD              IN     46036‐8975
HOBBS, KEVIN         WOLFF ARDIS PC                   5810 SHELBY OAKS DR                                         MEMPHIS             TN     38134‐7315
HOBBS, KEVIN E       70804 HARRISON ROAD                                                                          WHITE PIGEON        MI     49099‐9428
HOBBS, KRISTA G      901 BENT WILLOW CMNS                                                                         BRANDON             MS     39047
HOBBS, KRISTA G      PO BOX 5271                                                                                  BRANDON             MS     39047‐9047
HOBBS, KRISTINA L    4748 FORREST AVE                                                                             DOVER               DE     19904‐5225
HOBBS, LADY
HOBBS, LAKEVA A      21081 OAK RIDGE DR                                                                           CLINTON TOWNSHIP    MI     48036‐3859

HOBBS, LARRY E       907 ZIRKLE RD                                                                                DANDRIDGE          TN      37725‐4340
HOBBS, LARRY J       1703 S HARRISON ST                                                                           ALEXANDRIA         IN      46001‐2817
HOBBS, LARRY R       8088 N STATE ROUTE 61                                                                        SUNBURY            OH      43074‐9422
HOBBS, LAWRENCE R    4674 W STATE ROAD 234                                                                        NEW CASTLE         IN      47362‐9758
HOBBS, LAWRENCE W    205 AUSTELL DR                                                                               COLUMBIA           TN      38401‐5531
HOBBS, LAYMOND L     ROUTE 3 SYCAMORE HILLS                                                                       ELWOOD             IN      46036
HOBBS, LESLIE M      3818 MIDDLEWAY DR                                                                            ANDERSON           IN      46012‐9457
HOBBS, LEVIDA J      89 HICKORY ST                                                                                SEAMAN             OH      45679‐9760
HOBBS, LEVIDA J      89 HICKORY DR                                                                                SEAMAN             OH      45679‐9760
HOBBS, LILLIE        6720 S 800 W                                                                                 DALEVILLE          IN      47334
HOBBS, LLOYD D       439 1/256TH ST‐2                                                                             GRAND JUNCTION     MI      49056
HOBBS, LOUISE J      2733 DAKOTA DR                                                                               ANDERSON           IN      46012‐1411
HOBBS, LUCETTA M     5124 N RIVER RD                                                                              JANESVILLE         WI      53545‐8922
HOBBS, LUTHER        894 XENIA AVE                                                                                WILMINGTON         OH      45177‐1377
HOBBS, MADELINE S    5046 W S RD 100                                                                              RUSSIABILLE        IN      46979
HOBBS, MAE A         11906 CLUB RIDGE DR              C/O ALVIN S MISTR,JR                                        CHESTER            VA      23836‐2751
HOBBS, MARGUERITE    137 EAST ST                                                                                  WEST BRIDGEWATER   MA      02379‐1305

HOBBS, MARIE
HOBBS, MARIE         ROACH RICHARD R LAW OFFICE OF    PO BOX 24540                                                LAKELAND           FL      33802‐4540
HOBBS, MARION B      SHANNON LAW FIRM                 100 W GALLATIN ST                                           HAZLEHURST         MS      39083‐3007
HOBBS, MARJORIE      3441 JESSUP RD                                                                               CINCINNATI         OH      45239
HOBBS, MARTHA L      221 DEAN DR                                                                                  FARMERSVILLE       OH      45325‐1202
HOBBS, MARY J        18444 ALBION ST                                                                              DETROIT            MI      48234‐3804
HOBBS, MARY L        5079 W 950 NORTH                                                                             MIDDLETOWN         IN      47356
HOBBS, MICHAEL D     884 GLENGARY RD                                                                              COMMERCE           MI      48390‐1439
                                                                                                                  TOWNSHIP
HOBBS, MICHAEL L     150 MATHY HOBBS RD                                                                           BUCHANAN            GA     30113‐4646
HOBBS, MICHAEL L     14018 N STATE ROAD 13                                                                        ELWOOD              IN     46036‐9125
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Name                                 Address1                           Address2                      Address3   Address4               City             State   Zip
HOBBS, MICHAEL L                     8919 KINGS CHAPEL RD                                                                               CENTERTOWN        MO     65023‐3314
HOBBS, MINNIE E                      6131 DARNELL ST                                                                                    HOUSTON           TX     77074‐7413
HOBBS, MOLLY A                       230 2ND ST                                                                                         TIPTON            IN     46072‐1810
HOBBS, MOLLY A                       230 SECOND ST                                                                                      TIPTON            IN     46072‐1810
HOBBS, MOSES                         319 N MARTIN LUTHER KING JR BLVD                                                                   LANSING           MI     48915‐1854
HOBBS, NICHOLAS A                    412 PARK MEADOW CT                                                                                 BEECH GROVE       IN     46107‐1968
HOBBS, NILE E                        6691 SOUTHERN VISTA DR                                                                             ENON              OH     45323‐1640
HOBBS, NORMA V                       1532 KATHY LANE                                                                                    MIAMISBURG        OH     45342‐2622
HOBBS, NORMA V                       1532 KATHY LN                                                                                      MIAMISBURG        OH     45342‐2622
HOBBS, OWEN F                        4052 STONINGTON RD                                                                                 ORLEANS           IN     47452‐7257
HOBBS, PATRICIA S                    5310 MANTEO CT                                                                                     WILMINGTON        NC     28412‐7745
HOBBS, PAULA J                       26211 EARL RD                                                                                      BONITA SPRINGS    FL     34135
HOBBS, PEGGY JOAN                    342 INNISBROOKE AVE                                                                                GREENWOOD         IN     46142‐9211
HOBBS, PEGGY T                       173 C T SNIDOW RD                                                                                  NARROWS           VA     24124‐2246
HOBBS, RANDOLPH B                    6186 HEDGEROW CIR                                                                                  GRAND BLANC       MI     48439‐9787
HOBBS, RAYMOND M                     2120 LYNN RD                                                                                       NORTH LIMA        OH     44452‐9799
HOBBS, RAYMOND M                     1500 FURNACE ST                                                                                    MINERAL RIDGE     OH     44440‐9304
HOBBS, REBA                          1104 RENAKER BERRY ROAD                                                                            BERRY             KY     41003‐8988
HOBBS, REBA                          206 ROBINSON'RENAKER RD.                                                                           BERRY             KY     41003‐8535
HOBBS, RICHARD T                     21 DREXEL DR                                                                                       PENNSVILLE        NJ     08070‐2519
HOBBS, ROBERT E                      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510‐2212
                                                                        STREET, SUITE 600
HOBBS, ROBERT L                      1125 FAIRMONT CIRCLE                                                                               BROOKFIELD       OH      44403‐9511
HOBBS, ROBIN D                       3705 NORTH CEDAR STREET                                                                            N LITTLE ROCK    AR      72116‐8205
HOBBS, ROBIN DANETTE                 3705 NORTH CEDAR STREET                                                                            N LITTLE ROCK    AR      72116‐8205
HOBBS, RONALD A                      88 YELLOWFIELD BLVD                                                                                ELKTON           MD      21921‐8103
HOBBS, ROSEMARY K                    1208 LOCUST ST                                                                                     FRANKTON         IN      46044‐9748
HOBBS, ROSMOND                       2014 W STEWART AVE                                                                                 FLINT            MI      48504‐3738
HOBBS, RUSSELL T                     6630 MANSON DR                                                                                     WATERFORD        MI      48329‐2738
HOBBS, SAMUEL                        SHANNON LAW FIRM                   100 W GALLATIN ST                                               HAZLEHURST       MS      39083‐3007
HOBBS, SANDRA M                      9108 TERRA VERDE TRL                                                                               EDEN PRAIRIE     MN      55347‐5255
HOBBS, SANFORD D                     2920 CARPENTER RD                                                                                  LAPEER           MI      48446‐9086
HOBBS, SHANNON                       2118 DERRICK ROAD                                                                                  CHAPEL HILL      TN      37034‐2078
HOBBS, SHELBYE B                     PO BOX 291                                                                                         TANNER           AL      35671‐0291
HOBBS, STANLEY D                     4324 W BUENA VISTA ST                                                                              DETROIT          MI      48238‐3276
HOBBS, STEVEN C                      5855 W MAPLE DR                                                                                    FRANKTON         IN      46044‐9491
HOBBS, SUSAN H                       10 W 41ST ST                                                                                       ANDERSON         IN      46013‐4312
HOBBS, TEDDY D                       430 HICKS RD                                                                                       MOUNTAIN HOME    AR      72653‐5773
HOBBS, TERESA K                      112 S MAPLE ST                                                                                     GERMANTOWN       OH      45327
HOBBS, TERRY M                       412 PARK MEADOW CT                                                                                 BEECH GROVE      IN      46107‐1968
HOBBS, THOMAS D                      RR 2 BOX 405                                                                                       BIG STONE GAP    VA      24219‐9502
HOBBS, VANESSA                       14517 FOX RUN DR                                                                                   KEARNEY          MO      64060
HOBBS, VICKEY                        P.O. B OX 273                                                                                      LEPANTO          AR      72354‐0273
HOBBS, VIVIAN F                      115 GILLESPIE RD                   APT 317                                                         SENECA           SC      29678‐1048
HOBBS, W R                           430 OAK GROVE RD                                                                                   GOODSPRING       TN      38460‐5286
HOBBS, WILLIAM D                     201 RAVINE AVE APT 3R                                                                              YONKERS          NY      10701‐1809
HOBBS, WILLIAM M                     4100 ROHNS ST                                                                                      DETROIT          MI      48214‐1327
HOBBS, WILLIAM M                     2212 VIA MARIPOSA APT B                                                                            LAGUNA WOODS     CA      92637
HOBBS, WILMA L                       1810 N MORRISON ST                                                                                 KOKOMO           IN      46901‐2149
HOBBY & WORK PUBLISHING SRL
HOBBY JUDSON L (410184)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510
                                                                        STREET, SUITE 600
HOBBY PRODUCTS INTERNATIONAL, INC.
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Name                                Address1                          Address2                      Address3   Address4                City            State   Zip
HOBBY, ALLISON P                    207 W 2ND ST                                                                                       OCILLA           GA     31774
HOBBY, ALVIN R                      1208 SHEELAGH CT                                                                                   STOCKBRIDGE      GA     30281‐6734
HOBBY, BILLY P                      3263 HICKS RD SW                                                                                   MARIETTA         GA     30060‐6205
HOBBY, DAN T                        840 NATHAN DR                                                                                      COLUMBIA         TN     38401‐6768
HOBBY, JUDSON L                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA     23510‐2212
                                                                      STREET, SUITE 600
HOBBY, JUNE A                       2500 MANN RD LOT 257                                                                               CLARKSTON       MI      48346‐4285
HOBBY, LILLIE D                     16 LAKE STREET APT. 7G                                                                             WHITE PLAINS    NY      10603‐3838
HOBBY, LILLIE D                     16 LAKE ST APT 7G                                                                                  WHITE PLAINS    NY      10603‐3838
HOBBY, ROBERT G                     2171 SE ABCOR RD                                                                                   PORT ST LUCIE   FL      34952‐5649
HOBBY, RONALD G                     10260 FOREST WAY                                                                                   ROSCOMMON       MI      48653‐9169
HOBDY JR, PONDEXTER                 1377 HEATHERCREST DR                                                                               FLINT           MI      48532‐2670
HOBDY, CALVIN R                     13924 COYLE ST                                                                                     DETROIT         MI      48227‐2576
HOBDY, HERMAN S                     12804 BROADSTREET AVENUE                                                                           DETROIT         MI      48238‐3250
HOBDY, JACK W                       1770 HAVEN TRL                                                                                     MARTINSVILLE    IN      46151‐6737
HOBDY, KENNETH R                    19331 BURGESS                                                                                      DETROIT         MI      48219‐1874
HOBDY, MARY                         1770 HAVEN TRL                                                                                     MARTINSVILLE    IN      46151‐6737
HOBDY, PAULETTE H                   19331 BURGESS                                                                                      DETROIT         MI      48219‐1874
HOBDY, RICKY D                      12541 WILLINGDON RD                                                                                HUNTERSVILLE    NC      28078‐5701
HOBE CATHERINE                      3592 STATE ROUTE 193                                                                               DORSET          OH      44032‐9643
HOBEIN, THOMAS D                    PO BOX 115                                                                                         JONESBURG       MO      63351‐0115
HOBELL HARRY W (409478)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA      23510
                                                                      STREET, SUITE 600
HOBELL, HARRY W                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA     23510‐2212
                                                                      STREET, SUITE 600
HOBELMAN PORT SERVICES              9240 BLOUNT ISLAND BLVD                                                                            JACKSONVILLE    FL      32226‐4028
HOBELMAN PORT SERVICES              14 BLOUNT ISLAND BOULEVARD                                                                         JACKSONVILLE    FL      32226
HOBELMAN, WINIFRED K                3403 166TH PLACE SW                                                                                LYNNWOOD        WA      98037
HOBELMAN, WINIFRED K                3403 166TH PL SW                                                                                   LYNNWOOD        WA      98037‐3225
HOBELMANN PORT SERVICES INC         9240 BLOUNT ISLAND BLVD                                                                            JACKSONVILLE    FL      32226‐4028
HOBELMANN PORT SVCS., INC.          2000 CHESAPEAKE AVE                                                                                BALTIMORE       MD      21226
HOBENSACK, GWENDOLYN E              210 MILL ST                                                                                        KOKOMO          IN      46902‐4640
HOBER MICHAEL                       HOBER, MICHAEL                    8001 LINCOLN DR W STE D                                          MARLTON         NJ      08053‐3211
HOBER, MICHAEL                      GORBERG & ASSOCIATES PC DAVID J   8001 LINCOLN DR W STE D                                          MARLTON         NJ      08053‐3211
HOBERECHT, LESLIE W                 7568 INLAND DR                                                                                     OLMSTED FALLS   OH      44138‐1442
HOBERG GMBH & CO INDUSTRIETECHNIK   ROENTGENSTR 31                                                             ATTENDORN NW 57439
                                                                                                               GERMANY
HOBERG INDUSTRIETECHNIK             RONTGENSTR 20                                                              ATTENDORN D‐57439
                                                                                                               GERMANY
HOBERMAN, DALE A                    14956 CREEK EDGE DRIVE                                                                             HOLLAND         MI      49424‐1690
HOBERT B STEPHENS                   PO BOX 450063                                                                                      KISSIMMEE       FL      34745‐0063
HOBERT BANDY                        7223 GLEN TERRA DR                                                                                 LANSING         MI      48917‐8831
HOBERT BRADLEY JR                   6345 S IDDINGS RD                                                                                  WEST MILTON     OH      45383‐8760
HOBERT BUTCHER                      7738 VENICE HEIGHTS DR NE                                                                          WARREN          OH      44484‐1506
HOBERT CARPENTER                    720 CRENSHAW ROAD                                                                                  SHEPHERDSVLLE   KY      40165‐8393
HOBERT CATHEY                       4434 BIFFLE LN                                                                                     HAMPSHIRE       TN      38461‐4502
HOBERT CLOUD                        295 WHITE RD                                                                                       WHITE           GA      30184‐3012
HOBERT CORNETT                      7039 SHULL RD                                                                                      DAYTON          OH      45424‐1230
HOBERT CRAVENS                      1967 SPIELHAGEN RD                                                                                 TROY            MO      63379‐3505
HOBERT CROWE                        667 GLENWAY DR                                                                                     HAMILTON        OH      45013‐3537
HOBERT CUPPS                        11780S 100 EAST                                                                                    LA FONTAINE     IN      46940
HOBERT CURTIS                       1012 TERRACEWOOD DR                                                                                ENGLEWOOD       OH      45322‐2456
HOBERT DECKER                       431 S RURAL ST                                                                                     INDIANAPOLIS    IN      46201‐4357
HOBERT DOCKERY                      19010 ROAD D 13 RT 1                                                                               CONTINENTAL     OH      45831
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Name                      Address1                             Address2                     Address3   Address4               City             State   Zip
HOBERT DUNSON             4121 GREENFIELD DR                                                                                  ANDERSON          IN     46013‐5032
HOBERT DYE                BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH     44236
HOBERT ENGLISH            2016 E REID RD                                                                                      GRAND BLANC       MI     48439‐8584
HOBERT FITCH              33477 TILL ROAD                                                                                     LOGAN             OH     43138‐8662
HOBERT FYFFE              2674 BECKETT ST                                                                                     LEBANON           OH     45036‐1103
HOBERT HARDING JR         16408 E CRACKERNECK RD                                                                              INDEPENDENCE      MO     64055‐2945
HOBERT HOSKINS            342 GOLDEN EAGLE DR                                                                                 LONDON            KY     40744‐9380
HOBERT HUMPHRIES          PO BOX 1053                                                                                         EMORY             TX     75440‐1053
HOBERT HUMPHRIES JR       2 CARROL PRICE CT                                                                                   MANSFIELD         TX     76063‐7071
HOBERT JOHNSON            886 TRESTLE GLEN RD                                                                                 OAKLAND           CA     94610‐2318
HOBERT KELLY              2246 KENTUCKY TR. RD.                                                                               SOUTH WEBSTER     OH     45682
HOBERT L CORNETT          7039 SHULL RD.                                                                                      DAYTON            OH     45424
HOBERT L CROWE            667 GLENWAY DR                                                                                      HAMILTON          OH     45013
HOBERT LAMBERT            206 PRINCETON AVE                                                                                   HUBBARD           OH     44425‐1635
HOBERT MEECE JR           4212 LINDEN AVE                                                                                     CINCINNATI        OH     45236‐2428
HOBERT MILLER             210 W SOUTH ST APT B25                                                                              DAVISON           MI     48423‐1578
HOBERT MURRAY             1769 N LONGVIEW ST                                                                                  DAYTON            OH     45432‐2061
HOBERT NEAL               3594 S 350 E                                                                                        KOKOMO            IN     46902‐9259
HOBERT NEWSOME            PO BOX 92                                                                                           CONTINENTAL       OH     45831‐0092
HOBERT ROBBINS JR         906 HILE LN                                                                                         ENGLEWOOD         OH     45322‐1738
HOBERT ROW                158 BELVIEW DR                                                                                      MARTINSBURG       WV     25404‐9099
HOBERT ROWLETT            1020 BLACKHAWK BLVD                                                                                 SOUTH BELOIT       IL    61080‐2264
HOBERT STEPHENS           6420 MANNING RD                                                                                     MIAMISBURG        OH     45342‐1618
HOBERT STEPHENS           PO BOX 450063                                                                                       KISSIMMEE         FL     34745‐0063
HOBERT TARPLEY            230 JAMES ST                                                                                        SPRINGVILLE       AL     35146‐3510
HOBERT THOMAS             320 COUNTY ROAD 548                                                                                 HANCEVILLE        AL     35077‐6324
HOBERT TURNER             308 CORONADO TRL                                                                                    ENON              OH     45323‐1327
HOBERT VAUGHN             37530 FOUNTAIN PKWY APT 186                                                                         WESTLAND          MI     48185‐5633
HOBERT WAGNER             202 CAMBRIDGE DR                                                                                    HAMILTON          OH     45013‐2206
HOBERT WALTERS            504 E BOOE RD                                                                                       AUSTIN            IN     47102‐8267
HOBERT WARD               4060 MINNETONKA DR                                                                                  LINDEN            MI     48451‐9470
HOBERT WILSON             1458 HOFFNER ST                                                                                     CINCINNATI        OH     45231‐3417
HOBERT, CARL A            PO BOX 183                                                                                          MIDDLEVILLE       MI     49333‐1083
HOBERT, JANICE K          PO BOX 168                                                                                          CHIPPEWA FALLS    WI     54729
HOBERT, RAYMOND C         2918 SAND SCULPTURE CT                                                                              PEVELY            MO     63070‐2614
HOBERTY CHARLES L         4004 MELBOURNE CIR                                                                                  INDIANAPOLIS      IN     46228
HOBERTY, CHARLES L        4024 MELBOURNE CIR                                                                                  INDIANAPOLIS      IN     46228‐6781
HOBGOOD, GENEVA           12441 BELLS FERRY RD.                                                                               CANTON            GA     30114
HOBGOOD, GRADY R          259 RIDGE PINE DR                                                                                   CANTON            GA     30114‐3968
HOBGOOD, H A              PO BOX 55                                                                                           HOLLY SPRINGS     GA     30142‐0001
HOBGOOD, JAMES T          109 BROOKHAVEN DR                                                                                   COLUMBIA          TN     38401‐8875
HOBGOOD, RUTH E           2600 CROASDAILE FARM PKWY APT A358   THE HOMESTEAD                                                  DURHAM            NC     27705‐1302

HOBI, ALEXANDER J         10855 COZYCROFT AVE                                                                                 CHATSWORTH       CA      91311‐1610
HOBIG, GEORGE H           20518 SUNNYSIDE ST                                                                                  ST CLAIR SHRS    MI      48080‐4240
HOBITZ, FRANCIS A         106 LITCHFIELD DR                                                                                   SYRACUSE         NY      13224‐2006
HOBLET, TIMOTHY M         11003 YALUMBA PASS                                                                                  ROANOKE          IN      46783‐8931
HOBLET, TIMOTHY MICHAEL   11003 YALUMBA PASS                                                                                  ROANOKE          IN      46783‐8931
HOBLEY, ARTHUR L          4208 CRESTVIEW LN                                                                                   MANSFIELD        TX      76063
HOBLEY, PATRICIA A.       4674 N LAKE DR                                                                                      SHREVEPORT       LA      71107‐2944
HOBLIT, CARL J            19 ROCKLEIGH                                                                                        WEST MILTON      OH      45383‐1421
HOBLIT, CARL J            19 ROCKLEIGH AVE                                                                                    WEST MILTON      OH      45383‐1421
HOBLIT, CLIFFORD E        934 BRIGHTON DR                                                                                     GREENVILLE       OH      45331‐2787
HOBLIT, SUZANNE L         978 CATFISH LAKE RD                                                                                 MAYSVILLE        NC      28555‐9529
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Name                                 Address1                             Address2                        Address3   Address4                City            State   Zip
HOBLIT, WILLIAM M                    231 S. THIRD, BOX 188                                                                                   WAYNESVILLE      OH     45068
HOBMEIER, LENA B                     1805 KENSINGTON DR APT 340                                                                              WAUKESHA         WI     53188‐5662
HOBMEIER, LENA B                     1805 KENSINGTON DR                   APT 340                                                            WAUKESHA         WI     53188
HOBOLTH, HAYES M                     7303 CHASE LAKE RD                                                                                      FOWLERVILLE      MI     48836‐9391
HOBOLTH, KIRKLIN H                   9107 KELLY LAKE DR                                                                                      CLARKSTON        MI     48348‐2587
HOBOR CHUCK (492573)                 BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD       OH     44067
                                                                          PROFESSIONAL BLDG
HOBOR, CHARLES P                     43640 MIDDLE RIDGE RD                                                                                   LORAIN          OH      44053‐3908
HOBOR, CHUCK                         BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD      OH      44067
                                                                          PROFESSIONAL BLDG
HOBOR, SHARON A                      383 OLD GEORGES RD                                                                                      N BRUNSWICK      NJ     08902‐4818
HOBROW, BRYAN M                      8674 WOODHAVEN DR SW                                                                                    BYRON CENTER     MI     49315‐8640
HOBSON BARNNIES (626572)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510
                                                                          STREET, SUITE 600
HOBSON EARNEST WILLIAM JR (ESTATE OF) LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                         BIRMINGHAM       MI     48009‐5394
(662160)                                                                  406
HOBSON HERBERT                        HOBSON, HERBERT                     1000 TOWN CTR STE 500                                              SOUTHFIELD       MI     48075‐1221
HOBSON I I I, MATTHEW S               505 GRACELYN CT SW                                                                                     ATLANTA          GA     30331‐9204
HOBSON JR, JERRY L                    12477 N CLIO RD                                                                                        CLIO             MI     48420‐1039
HOBSON JR, JERRY LYNN                 12477 N CLIO RD                                                                                        CLIO             MI     48420‐1039
HOBSON JR, JOHN                       5910 FLEMING RD                                                                                        FLINT            MI     48504‐7064
HOBSON NEVILLE N C HOBSON             76 EMMBROOK WOKINGHAM RG41 1HG                                                 UNITED KINGDOM GREAT
                                                                                                                     BRITAIN
HOBSON YVETTE                        30037 BOCK STREET                                                                                       GARDEN CITY      MI     48135‐2306
HOBSON, ADA M                        219 BROOKSIDE DR                                                                                        FLUSHING         MI     48433‐2644
HOBSON, ADA M                        2397 W FRANCES RD                                                                                       MOUNT MORRIS     MI     48458‐8229
HOBSON, ALBERT J                     6837 GARFIELD AVE                                                                                       KANSAS CITY      KS     66102‐1032
HOBSON, ANDRE L                      6837 GARFIELD AVE                                                                                       KANSAS CITY      KS     66102‐1032
HOBSON, ANNA E                       414 W MAIN ST                                                                                           SPRUCE           MI     48762‐9763
HOBSON, ATLEE M                      219 BROOKSIDE DR                                                                                        FLUSHING         MI     48433‐2644
HOBSON, BARNNIES                     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510
                                                                          STREET, SUITE 600
HOBSON, BENJAMIN L                   530 POPLAR ST                                                                                           CLIO             MI     48420‐1262
HOBSON, BRANDIE N
HOBSON, BRIAN A                      5464 E MAPLE AVE                                                                                        GRAND BLANC     MI      48439‐9121
HOBSON, BRUCE D                      31 DOGWOOD DR                                                                                           WARRENTON       MO      63383‐3215
HOBSON, CAROLINE G                   1261 BALDWIN ROAD                                                                                       FENTON          MI      48430‐9729
HOBSON, CATHERINE L                  100 VIOLA DR                                                                                            ORTONVILLE      MI      48462‐8825
HOBSON, CATHERINE L                  100 VIOLA LANE                                                                                          ORTONVILLE      MI      48462
HOBSON, CHARLES A                    324 S DIXON RD                                                                                          KOKOMO          IN      46901‐5041
HOBSON, CHARLES E                    7335 WILSON RD                                                                                          MONTROSE        MI      48457‐9197
HOBSON, CHARLES E                    15325 RADIANCE DR                                                                                       NOBLESVILLE     IN      46060‐3064
HOBSON, CLIFFORD D                   2516 ALTOONA ST                                                                                         FLINT           MI      48504‐7701
HOBSON, CLIFFORD J                   444 S HIGLEY RD APT 161                                                                                 MESA            AZ      85206‐2180
HOBSON, CLIFFORD J                   APT 161                              444 SOUTH HIGLEY ROAD                                              MESA            AZ      85206‐2180
HOBSON, DALE W                       217 SHAYNE CIR                                                                                          HOUGHTON LAKE   MI      48629‐9033
HOBSON, DANIEL L                     2425 DILLINGHAM AVE                                                                                     LANSING         MI      48906‐3773
HOBSON, DAVID A                      9123 ALLAN RD                                                                                           NEW LOTHROP     MI      48460
HOBSON, DEBRA A                      7421 LANDING PL                                                                                         ZEPHYRHILLS     FL      33541‐4247
HOBSON, DENIS J                      55 V ST NW                                                                                              WASHINGTON      DC      20001‐1012
HOBSON, DENISE C                     2494 THORNTON AVENUE                                                                                    FLINT           MI      48504‐7169
HOBSON, DONALD D                     4053 BEN HOGAN DR                                                                                       FLINT           MI      48506‐1401
HOBSON, DONNA L                      2817 LACLEDE STATION RD APT L                                                                           SAINT LOUIS     MO      63143
HOBSON, DONNIE E                     1107 SHULER AVE                                                                                         HAMILTON        OH      45011‐4439
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Name                      Address1                            Address2                     Address3   Address4               City              State   Zip
HOBSON, DOROTHY M         33 BRITTON RD.                                                                                     ROCHESTER          NY     14612‐5401
HOBSON, DOROTHY M         33 BRITTON RD                                                                                      ROCHESTER          NY     14612‐5401
HOBSON, EARNEST WILLIAM   LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                     BIRMINGHAM         MI     48009‐5394
HOBSON, EDDIE L           513 MOORE ST                                                                                       PONTIAC            MI     48342
HOBSON, EDWIN C           PO BOX 26526                                                                                       TROTWOOD           OH     45426‐0526
HOBSON, EDWIN L           600 E ROWLAND AVE                                                                                  MADISON HEIGHTS    MI     48071‐4331

HOBSON, ERNEST C          20127 E 14 MILE RD                                                                                 CLINTON TWP       MI      48035‐4001
HOBSON, ERVING J          943 BOULEVARD ST                                                                                   SHREVEPORT        LA      71104‐2111
HOBSON, FINLEY J          3030 NEWPORT DR APT 2                                                                              FLINT             MI      48532‐4240
HOBSON, FRANKIE C         PO BOX 104                                                                                         BELOIT            WI      53512‐0104
HOBSON, GARY A            301 SMITH ST APT 23                                                                                CLIO              MI      48420‐2053
HOBSON, GARY A            301 S SMITH ST                      APT 23                                                         CLIO              MI      48420
HOBSON, GARY ALLAN        APT 23                              301 SMITH STREET                                               CLIO              MI      48420‐2053
HOBSON, GARY L            5751 DEFIANCE AVE                                                                                  BROOK PARK        OH      44142‐2518
HOBSON, GEORGE E          19391 PACKARD ST                                                                                   DETROIT           MI      48234‐3107
HOBSON, GEORGE M          2205 SILVER FOX DR                                                                                 EDMOND            OK      73003‐6233
HOBSON, GEORGIA           921 BURLINGTON                                                                                     FLINT             MI      48503‐2922
HOBSON, GLADYS SHARLEEN   11615 S HIGHWAY 39                                                                                 STOCKTON          MO      65785‐8271
HOBSON, GURDON S          9315 E MAPLE AVE                                                                                   DAVISON           MI      48423‐8739
HOBSON, HARLEY W          11150 E 200 S                                                                                      ZIONSVILLE        IN      46077‐9388
HOBSON, HATTIE T          15325 RADIANCE DR                                                                                  NOBLESVILLE       IN      46060‐3064
HOBSON, HELEN             29627 ROSSITER RD.                                                                                 MURRIETA          CA      92563
HOBSON, HERBERT           NO ADDRESS FOR CLMT
HOBSON, HERBERT           C/O THE THURSWELL LAW FIRM          1000 TOWN CTR STE 500                                          SOUTHFIELD        MI      48075
HOBSON, HOSEA             128 W DEWEY ST                                                                                     FLINT             MI      48505‐4034
HOBSON, IRWIN L           2172 W ENGEL RD                                                                                    WEST BRANCH       MI      48661‐9224
HOBSON, JAMES K           29117 N DUCK CREEK AVE                                                                             ATLANTA           IN      46031‐9732
HOBSON, JAMES O           1222 VILLA CT S                                                                                    WALLED LAKE       MI      48390‐3379
HOBSON, JAMES ODIS        1222 VILLA CT S                                                                                    WALLED LAKE       MI      48390‐3379
HOBSON, JAMES T           1604 RUIDOSA DR                                                                                    WICHITA FALLS     TX      76306
HOBSON, JASON J           11305 VAN NATTER RD                                                                                OTISVILLE         MI      48463‐9723
HOBSON, JEFFREY A         907 LINDY CT                                                                                       DAYTON            OH      45415‐2130
HOBSON, JEN'EE M          4248 E LAKE RD                                                                                     CLIO              MI      48420‐9145
HOBSON, JERRY L           4248 E LAKE RD                                                                                     CLIO              MI      48420‐9145
HOBSON, JERRY L           3205 MCGREGOR ST                                                                                   GRAND BLANC       MI      48439‐8190
HOBSON, JERRY LYNN        4248 E LAKE RD                                                                                     CLIO              MI      48420‐9145
HOBSON, JOANN E           12585 CHURCH ST APT 1C                                                                             BIRCH RUN         MI      48415‐8709
HOBSON, JOHN A            30037 BOCK ST                                                                                      GARDEN CITY       MI      48135‐2306
HOBSON, KENNETH W         540 WINDEMERE DR                                                                                   BRIGHTON          MI      48114‐8743
HOBSON, KENNETH W         10471 DAVISON RD                                                                                   DAVISON           MI      48423‐1230
HOBSON, KENNETH WAYNE     540 WINDEMERE DR                                                                                   BRIGHTON          MI      48114‐8743
HOBSON, LANINA R          1002 E TAYLOR ST                                                                                   KOKOMO            IN      46901‐4788
HOBSON, LANINA RENEA      1002 E TAYLOR ST                                                                                   KOKOMO            IN      46901‐4788
HOBSON, LARRY J           3333 LANDMARK LN                                                                                   FOREST HILL       TX      76119‐7167
HOBSON, LAVONNE S         10451 CANFIELD DRIVE                                                                               SAINT LOUIS       MO      63136‐5735
HOBSON, LILLIE MAE        3035 LAMBATH RD                                                                                    ORLANDO           FL      32818‐3092
HOBSON, LILLIE T          PO BOX 11155                                                                                       JACKSON           MS      39283‐1155
HOBSON, LINDA S           1301 MORNINGSIDE DR                                                                                ANDERSON          IN      46011‐2455
HOBSON, LORRAINE          PO BOX 104                                                                                         BELOIT            WI      53512‐0104
HOBSON, LOUANN M          5049 WAKEFIELD RD                                                                                  GRAND BLANC       MI      48439‐9111
HOBSON, LOUIS E           812 S MERRIMAC DR                                                                                  FITZGERALD        GA      31750‐3505
HOBSON, MARILYN           139 FIDDIS AVE                                                                                     PONTIAC           MI      48342
HOBSON, MARK T            31263 COOLEY BLVD                                                                                  WESTLAND          MI      48185‐7072
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Name                                Address1                        Address2                    Address3   Address4               City              State   Zip
HOBSON, MARQUIS L                   7026 BELLE POINTE DR                                                                          BELLEVILLE         MI     48111‐5355
HOBSON, MARQUIS LEE                 7026 BELLE POINTE DR                                                                          BELLEVILLE         MI     48111‐5355
HOBSON, MARY A                      120 HOBSON CIR                                                                                BRANDON            MS     39047‐9211
HOBSON, MAURICE D                   2505 S INDIANAPOLIS RD                                                                        LEBANON            IN     46052‐9691
HOBSON, MERLYN L                    5967 N CHIPPEWA TRL                                                                           HALE               MI     48739‐9041
HOBSON, MICHAEL K                   6405 SMOKE RISE TRL                                                                           GRAND BLANC        MI     48439‐4859
HOBSON, MONA L                      1505 DEER CREEK DR STE 2                                                                      XENIA              OH     45385‐8019
HOBSON, NINA R                      17001 PENNSYLVANIA ST                                                                         SOUTHFIELD         MI     48075‐2987
HOBSON, NORMA R                     6736 NEMER COURT                                                                              SWARTZ CREEK       MI     48473‐1717
HOBSON, NORMA R                     6736 NEMER CT                                                                                 SWARTZ CREEK       MI     48473‐1717
HOBSON, OLA P                       23011 WREXFORD DR.                                                                            SOUTHFIELD         MI     48034‐6575
HOBSON, PAT A                       8826 HIGHWAY 35 S                                                                             LIVERPOOL          TX     77577
HOBSON, PAULINE                     880 BOYNTON AVE APT 12B                                                                       BRONX              NY     10473‐4630
HOBSON, PAULINE L                   7012 CARSON DR                                                                                ROMULUS            MI     48174‐5019
HOBSON, PAULINE L                   # 404                           7012 CARSON DRIVE                                             ROMULUS            MI     48174‐5019
HOBSON, REGINALD D                  814 E KEARSLEY ST APT 207                                                                     FLINT              MI     48503‐1957
HOBSON, REGINALD L                  1210 COLBURN ST                                                                               TOLEDO             OH     43609‐2210
HOBSON, RICHARD J                   2365 E LAKE RD                                                                                CLIO               MI     48420‐9147
HOBSON, RICHARD JACK                2365 E LAKE RD                                                                                CLIO               MI     48420‐9147
HOBSON, RICHARD L                   250 CASS RIVER DR                                                                             CARO               MI     48723‐1235
HOBSON, ROBERT C                    7 ROTUNDA DR                                                                                  TRENTON            NJ     08610‐1927
HOBSON, ROBERT D                    8540 TIMBERLINE DR                                                                            SHELBY TWP         MI     48316‐4557
HOBSON, ROBERT E                    2030 OLD YORK RD                                                                              BURLINGTON         NJ     08016‐9767
HOBSON, ROGER M                     5372 BOWERS RD                                                                                ATTICA             MI     48412‐9726
HOBSON, ROGER MICHAEL               5372 BOWERS RD                                                                                ATTICA             MI     48412‐9726
HOBSON, RONALD L                    7482 FARRAND RD                                                                               MILLINGTON         MI     48746‐9247
HOBSON, SHERRY A                    6054 BRAINARD DR                                                                              SYLVANIA           OH     43560‐1214
HOBSON, SHIRLEY ANN                 104 KIMBLE ST                                                                                 HICKORY            KY     42051‐9010
HOBSON, SHIRLEY ANN                 104 KIMBLE STREET                                                                             HICKORY            KY     42051‐9010
HOBSON, TROY E                      5415 HOLLOW OAK CT                                                                            SAINT LOUIS        MO     63129‐3536
HOBSON, VESTOLA V                   10444 SEYMOUR RD                                                                              MONTROSE           MI     48457‐9015
HOBSON, WILFORD E                   29627 ROSSITER ROAD                                                                           MURRIETA           CA     92563‐4760
HOBSON, WILLIAM C                   9266 CAMLEY ST                                                                                DETROIT            MI     48224‐1224
HOBSON, WILLIAM E                   6736 NEMER CT                                                                                 SWARTZ CREEK       MI     48473‐1717
HOBSON, WILLIAM L                   4221 LANTERMAN RD                                                                             AUSTINTOWN         OH     44515‐1432
HOBSON, WILMA J                     8486 OAK CLIFF BLVD                                                                           DAVISON            MI     48423
HOBSON, WILMER D                    R 1 BOX 6270                                                                                  SALEM              MO     65560‐9732
HOBSON, WILMER D                    1610 COUNTY ROAD 2470                                                                         SALEM              MO     65560‐6196
HOBSON,JEFFREY A                    907 LINDY CT                                                                                  DAYTON             OH     45415‐2130
HOBSON‐ROSBOROUGH, BETTY L          3433 BRIMFIELD DR                                                                             FLINT              MI     48503‐2944
HOBSON‐WISSINGER, PAULINE L         7012 CARSON DR                                                                                ROMULUS            MI     48174
HOBYAK, FLORENCE                    7700 NEMCO WAY APT 309                                                                        BRIGHTON           MI     48116‐9469
HOBZEK, JAMES W                     PO BOX 361753                                                                                 STRONGSVILLE       OH     44136‐0030
HOBZEK, JAMES W                     19380 W 130TH ST                                                                              STRONGSVILLE       OH     44136‐8431
HOBZEK, JOSEPH G                    7465 MALIBU DR                                                                                PARMA              OH     44130‐5936
HOC FAMILY 2003 REV. LIVING TRUST   JAMES CAMPARO                   429 CAMINO DE LAS COLINAS                                     REDONDO BEACH      CA     90277
HOCE, CHARLES H                     1013 BLUE JAY DR                                                                              MANSFIELD          TX     76063‐1570
HOCE, CHARLES HARRISON              1013 BLUE JAY DR                                                                              MANSFIELD          TX     76063‐1570
HOCEVAR JR, FRANK A                 30305 CLARMONT RD                                                                             WILLOWICK          OH     44095‐4722
HOCEVAR LILLIAN                     30305 CLARMONT RD                                                                             WILLOWICK          OH     44095‐4722
HOCEVAR, AGNES J                    13204 ASTOR AVE                                                                               CLEVELAND          OH     44135‐5006
HOCEVAR, LILLIAN                    30305 CLARMONT RD                                                                             WILLOWICK          OH     44095‐4722
HOCEVAR, MARK R                     14187 BUCKEYE DR                                                                              SHELBY TOWNSHIP    MI     48315‐1436
HOCEVAR, MARY                       5553 3B IVY COURT                                                                             WILLOUGHBY         OH     44094
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Name                              Address1                        Address2                        Address3   Address4                City               State   Zip
HOCEVAR, RAYMOND P                1432 CANAL ST                                                                                      PORTAGE             MI     49002‐7504
HOCEVAR, ROSE                     1019 DILLEWOOD RD                                                                                  CLEVELAND           OH     44119‐2911
HOCEVAR, STEVEN B                 10425 FOLEY RD                                                                                     FENTON              MI     48430‐9303
HOCEVAR, STEVEN BRIAN             10425 FOLEY RD                                                                                     FENTON              MI     48430‐9303
HOCH, CHELL K                     35 CATHEDRAL DR                                                                                    WEST SENECA         NY     14224‐2219
HOCH, CHOON K                     203 HIGHLAND AVE                                                                                   BUFFALO             NY     14222
HOCH, CHOON K                     2645 ELMWOOD AVE                                                                                   BUFFALO             NY     14217‐1921
HOCH, CLAIRE J                    14245 S CHAPIN                                                                                     ELSIE               MI     48831‐9250
HOCH, DOROTHY J                   200 BROOKS POND RD APT 203                                                                         LEOMINSTER          MA     01453‐4892
HOCH, DOROTHY J                   APT 203                         200 BROOKS POND ROAD                                               LEOMINSTER          MA     01453‐4892
HOCH, ELOISE P                    6385 N 400 E                                                                                       N MANCHESTER        IN     46962‐8429
HOCH, JAMES M
HOCH, JOSEPH W                    16014 ORMONDE CROSSING DR       DRIVE                                                              CYPRESS             TX     77429‐8048
HOCH, MARILYN W                   3501 HILLCREST DR                                                                                  INDIANAPOLIS        IN     46227‐7707
HOCH, MARTIN M                    998 HIGH VISTA TRL                                                                                 WEBSTER             NY     14580‐1814
HOCH, MARY M
HOCH, MELVIN L                    26193 BOWMAN RD                                                                                    DEFIANCE           OH      43512‐6797
HOCH, ROSE                        3166 ROLAND DR                                                                                     NEWFANE            NY      14108‐9720
HOCH, SHIRLEY                     8199 S 390 E                                                                                       LAFONTAINE         IN      46940‐8940
HOCH, VICTOR L                    521 SISTER MARTIN DR                                                                               KOKOMO             IN      46901‐7068
HOCHADEL, DONALD K                3938 GARDENVIEW PL                                                                                 KETTERING          OH      45429‐4519
HOCHADEL, MICHAEL P               1001 SOUTH HEINCKE ROAD                                                                            MIAMISBURG         OH      45342‐3858
HOCHADEL, RUTH                    11586 PARTRIDGE RD                                                                                 HOLLAND            NY      14080‐9672
HOCHADEL, SHIRLEY A               54 WILDWOOD RD                                                                                     JEFFERSONVILLE     IN      47130‐6819
HOCHADEL, THOMAS A                11586 PARTRIDGE RD                                                                                 HOLLAND            NY      14080‐9672
HOCHAPFEL GERD‐HEINO              XX                              XX
HOCHAPFEL VERWALTUNG GBR          PFINGSTBRUNNENSTR 64                                                       D‐65824 SCHWALBACH
                                                                                                             GERMANY
HOCHAPFEL VERWALTUNG GBR          PFINGOTHRUNNENSTR 64                                                       D‐65824 SCHWALBACH
                                                                                                             GERMANY
HOCHARD CLARENCE J                15286 LAKE RD 12                                                                                   GARDNER             KS     66030‐9661
HOCHARD III, CLARENCE J           3550 N 85TH ST                                                                                     KANSAS CITY         KS     66109‐4630
HOCHARD, CLARENCE J               15286 LAKE RD 12                                                                                   GARDNER             KS     66030‐9661
HOCHARD, CLARENCE J               5109 SOUTHWEST CEDAR CREST RD                                                                      TOPEKA              KS     66606‐2221
HOCHARD, DAVID A                  2318 N 77TH ST                                                                                     KANSAS CITY         KS     66109‐2329
HOCHBERG, JOHN M                  38251 SANTA ANNA ST                                                                                CLINTON TOWNSHIP    MI     48036‐1794

HOCHENDONER JEROME (ESTATE OF)    BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD         OH      44067
(489091)                                                          PROFESSIONAL BLDG
HOCHENDONER, MARGARET N           18189 LILLIAN DR                                                                                   LAKE MILTON        OH      44429‐9506
HOCHGESANG, BETSY M               1642 FM 2673 UNIT 10 PMB 1055                                                                      CANYON LAKE        TX      78133‐4587
HOCHGRAF, CLARK G                 10 BRIDLEWOOD TRL                                                                                  HONEOYE FALLS      NY      14472‐9304
HOCHGREBE, WILLIAM E              4777 TOWNE CENTRE DR                                                                               SAINT LOUIS        MO      63128‐2814
HOCHHAUS, DONALD L                PO BOX 482                                                                                         GRAPEVIEW          WA      98546‐0482
HOCHHAUSER DAVID                  2600 NETHERLAND AVENUE                                                                             BRONX              NY      10463
HOCHKINS, MARK A                  15203 RESTWOOD DR                                                                                  LINDEN             MI      48451‐8707
HOCHMAN & PLUNKETT CO., L .P.A.   3077 KETTERING BLVD             POINT WEST, SUITE 210                                              MORAINE            OH      45439
HOCHMAN, STUART R                 7099 AVILA TERRACE WAY                                                                             DELRAY BEACH       FL      33446‐3798
HOCHMANN, EUGENE                  PO BOX 1080                     C/O DAVID R KENNEDY                                                NORTON             OH      44203‐9480
HOCHMUTH JACK P (454798)          SIMMONS FIRM                    PO BOX 559                                                         WOOD RIVER         IL      62095‐0559
HOCHMUTH, JACK P                  SIMMONS FIRM                    PO BOX 559                                                         WOOD RIVER         IL      62095‐0559
HOCHMUTH, JOHN F                  2673 SYLER RD                                                                                      VARYSBURG          NY      14167‐9741
HOCHMUTH, PETER G                 5735 RICK DR                                                                                       ZEPHYRHILLS        FL      33541‐1940
HOCHOLEK, DANIEL A                7375 STAHELIN AVE                                                                                  DETROIT            MI      48228‐3381
                             09-50026-mg           Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                         Address1                        Address2              Address3      Address4               City            State   Zip
HOCHRADEL, THEODORE H        2660 N MONROE ST                                                                           MONROE           MI     48162‐5305
HOCHRADEL, THEODORE HAROLD   2660 N MONROE ST                                                                           MONROE           MI     48162‐5305
HOCHREITER, MICHAEL J        6962 ACADEMY LN                                                                            LOCKPORT         NY     14094‐5359
HOCHREITER, RONALD G         88 CEDARWOOD RD                                                                            ROCHESTER        NY     14617‐3836
HOCHSPRUNG, MICHAEL J        5703 E LOOP RD                                                                             HESPERIA         MI     49421
HOCHSTADT, BARBARA A         28229 CR 33 69W                                                                            LEESBURG         FL     34748
HOCHSTEDLER, CATHLEEN M.     5018 NE PARK LN                                                                            KANSAS CITY      MO     64118‐5930
HOCHSTEDLER, DEAN R          2340 NE 775 RD                                                                             OSCEOLA          MO     64776‐2634
HOCHSTEDLER, EDWARD W        12222 W 102ND ST                                                                           LENEXA           KS     66215‐1816
HOCHSTEDLER, FREDERICK D     432 JERRY'S FOLLY ROAD                                                                     AIKEN            SC     29803
HOCHSTEDLER, MELBA J         432 JERRYS FOLLY ROAD                                                                      AIKEN            SC     29803‐9032
HOCHSTEDLER, MICHAEL D       905 NW FALCON DR                                                                           LEES SUMMIT      MO     64081‐4003
HOCHSTEDLER, NELSON L        1035 BARBARA ST                                                                            GRAND BLANC      MI     48439‐8933
HOCHSTEDLER, RUTH E          788 S 400 E                                                                                KOKOMO           IN     46902‐9322
HOCHSTEIN, FRANK R           850 CITY PARK AVE                                                                          COLUMBUS         OH     43206‐2045
HOCHSTETLER GARY L           1001 SHADY LN                                                                              ASHLAND          OH     44805‐4555
HOCHSTETLER, GARY L          1001 SHADY LN                                                                              ASHLAND          OH     44805‐4555
HOCHSTETLER, LLOYD A         1083 HANCOCK AVE                                                                           AKRON            OH     44314‐1064
HOCHSTETLER, MARTHA          316 MEUSE ARGONNE ST.                                                                      HICKSVILLE       OH     43526‐1144
HOCHSTETLER, PAUL D          2360 MARION AVE NORTH RD                                                                   MANSFIELD        OH     44903
HOCHSTETLER, PAUL L          1244 ELDIN DR                                                                              PLAINFIELD       IN     46168‐9356
HOCHSTETLER, ROBERT E        PO BOX 1081                                                                                JASPER           IN     47547‐1081
HOCHSTETLER, SUSAN           13149 HARBOR LANDINGS DR                                                                   FENTON           MI     48430‐3906
HOCHSTETLER, VERNON GEORGE   BOONE ALEXANDRA                 205 LINDA DR                                               DAINGERFIELD     TX     75638‐2107
HOCHSTUHL, JESSICA L         408 TREELINE CV                                                                            FORT WAYNE       IN     46825‐1129
HOCHSTUHL, JESSICA LYN       408 TREELINE CV                                                                            FORT WAYNE       IN     46825‐1129
HOCHWALT, JOHN E             1347 ARROW SHEATH DR                                                                       W CARROLLTON     OH     45449‐2308
HOCHWALT, THOMAS L           409 SKYVIEW DR                                                                             VANDALIA         OH     45377‐2245
HOCK EDWARD C                16679 MOCK RD                                                                              BERLIN CENTER    OH     44401‐8713
HOCK PAINTING INC
HOCK, BEATRICE J             1417 PINERIDGE DRIVE                                                                       GREENVILLE      NC      27834
HOCK, CHARLES E              2305 MADISON ST                                                                            BELLEVUE        NE      68005‐5139
HOCK, DONALD S               2707 HAGNI RD NE                                                                           KALKASKA        MI      49646‐9710
HOCK, EDWARD C               16679 MOCK RD                                                                              BERLIN CENTER   OH      44401‐8713
HOCK, ERNIE H                222 BENNINGTON RD                                                                          INDIANAPOLIS    IN      46227‐2430
HOCK, JAMES D                6300 MIDNIGHT PASS RD APT 308                                                              SARASOTA        FL      34242‐2431
HOCK, JAMES L                7793 ELMWOOD RD                                                                            PORTLAND        MI      48875‐8622
HOCK, JAMES R                4228 BOSART RD                                                                             SPRINGFIELD     OH      45503‐6518
HOCK, JAMES S                835 MEADOW RIDGE CIRCLE                                                                    AUBURN HILLS    MI      48326
HOCK, JAMES SCOTT            835 MEADOW RIDGE CIRCLE                                                                    AUBURN HILLS    MI      48326
HOCK, JAMES V                9515 COX RD                                                                                BELLEVUE        MI      49021‐9631
HOCK, LILLIE M               913 GLEASON PKWY APT 1                                                                     CAPE CORAL      FL      33914‐5293
HOCK, LISA C                 8948 KEMPWOOD DR                                                                           HOUSTON         TX      77080‐4104
HOCK, MARTHA BELL            865 N CASS AVE APT 330                                                                     WESTMONT        IL      60559‐6408
HOCK, MELISSA A              16679 MOCK RD                                                                              BERLIN CENTER   OH      44401‐8713
HOCK, REBECCA J              C/O PAMELA TRAFTON              2280 SOUTH DRIVE      #6                                   AUBURN          CA      95603
HOCK, ROBERT M               PO BOX 100486                                                                              STATEN ISLAND   NY      10310‐0486
HOCK, RONALD M               2180 JONES RD                                                                              FENWICK         MI      48834‐9621
HOCK, THOMAS A               21446 MARINA CIR                                                                           MACOMB          MI      48044‐1323
HOCK, WANITA V               6254 EAGLE CREEK ROAD                                                                      LEAVITTSBURG    OH      44430‐9418
HOCKADAY JOHN EDGAR          C/O EDWARD O MOODY P A          801 WES 4TH STREET                                         LITTLE ROCK     AR      72201
HOCKADAY SR, KEVIN D         233 HAVERHILL RD                                                                           JOPPA           MD      21085‐4735
HOCKADAY, DELORES S          UNIT A                          6604 QUITMAN AVENUE                                        LUBBOCK         TX      79424‐0761
HOCKADAY, EMMETT L           3280 BETHESDA PURDY RD                                                                     SELMER          TN      38375‐6509
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Name                                  Address1                              Address2                        Address3   Address4               City              State   Zip
HOCKADAY, JOHN E                      MOODY EDWARD O                        801 W 4TH ST                                                      LITTLE ROCK        AR     72201‐2107
HOCKADAY, KEITH                       4315 EDMORE RD                                                                                          WATERFORD          MI     48329‐3609
HOCKADAY, KENNETH J                   1558 FENIMORE LN                                                                                        THE VILLAGES       FL     32162‐2264
HOCKADAY, NORMAN                      19996 BIRWOOD ST                                                                                        DETROIT            MI     48221‐1036
HOCKADAY, PATRICIA A                  1558 FENIMORE LN                                                                                        THE VILLAGES       FL     32162‐2264
HOCKEHULL, HAROLD                     WEITZ & LUXENBERG                     180 MAIDEN LANE                                                   NEW YORK           NY     10038
HOCKEMA, CHRISTINA L                  2470 W 600 S                                                                                            ANDERSON           IN     46013‐9712
HOCKEMA, PAMELA A                     15340 LONG COVE BLVD                                                                                    CARMEL             IN     46033‐8105
HOCKEMA, THOMAS B                     2470 W 600 S                                                                                            ANDERSON           IN     46013‐9712
HOCKEMEYER ROSS E (512325)            GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                      PITTSBURGH         PA     15219

HOCKEMEYER, BARRY A                   948 VAUGHN DR                                                                                           BURLESON           TX     76028‐5132
HOCKEMEYER, ROSS E                    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                      PITTSBURGH         PA     15219

HOCKEN, CALVIN C                      3192 IVY LN                                                                                             GRAND BLANC       MI      48439‐8198
HOCKEN, DANIEL T                      11706 DAVIS ST                                                                                          GRAND BLANC       MI      48439‐1325
HOCKEN, ROBERT F                      9406 LINDA DR 128                                                                                       DAVISON           MI      48423
HOCKENBERG NEWBURGH                   MITCH DAMM                            PO BOX 1283                                                       DES MOINES        IA      50306‐1283
HOCKENBERGER, JONATHAN D              1457 HILLTOP DR                                                                                         GRAND BLANC       MI      48439‐1768
HOCKENBERGER, MICHAEL J               3033 135TH ST                                                                                           TOLEDO            OH      43611‐2333
HOCKENBERGER, MICHAEL JAMES           3033 135TH ST                                                                                           TOLEDO            OH      43611‐2333
HOCKENBERRY, JACK O                   49641 LAKEBRIDGE DR                                                                                     SHELBY TOWNSHIP   MI      48315‐3512
HOCKENBERRY, JILL C                   534 W MAIN ST                                                                                           GRAND LEDGE       MI      48837‐1042
HOCKENBERRY, KELLY RAY                ROMINGER BAYLEY & WHARE               155 SOUTH HANOVER STREET                                          CARLISLE          PA      17013
HOCKENBERRY, MARC W                   107 SHERBROOK RD                                                                                        MANSFIELD         OH      44907‐2447
HOCKENBERRY, MICHAEL J                7641 E VON DETTE CIR                                                                                    CENTERVILLE       OH      45459‐5037
HOCKENBERRY, MICHAEL J                1973 GLENFIELD RD                                                                                       ORTONVILLE        MI      48462‐8443
HOCKENBERRY, NATHAN M
HOCKENBERRY, RICHARD N                PO BOX 27                                                                                               HAMLER            OH      43524‐0027
HOCKENBERRY, SANDRA LOUISE
HOCKENBERRY, WILLIAM E                134 MARY ST                                                                                             SULLIVAN          MO      63080‐1734
HOCKENBERRY‐WALLS, KAREN I            4145 SHAMROCK CT                                                                                        OXFORD            MI      48371‐5432
HOCKENBROCK, BRIAN E                  8120 LONGPOINT RD                                                                                       BALTIMORE         MD      21222‐6015
HOCKENBROCK, EUGENE N                 8117 LONGPOINT RD                                                                                       BALTIMORE         MD      21222‐6016
HOCKENBURY, JOHN M                    2040 E PLEASANT VALLEY BLVD APT 243                                                                     ALTOONA           PA      16602‐7543
HOCKENHULL, JONATHAN                  1461 84TH AVE                                                                                           OAKLAND           CA      94621‐1702
HOCKENSMITH, ALLEN T                  6364 BRUMA AVE                                                                                          LAS VEGAS         NV      89122‐1908
HOCKENSMITH, FREDERICK J              7017 NORMANDY COURT                                                                                     FLINT             MI      48506‐1757
HOCKENSMITH, LEATRICE M               6364 BRUMA AVENUE                                                                                       LAS VEGAS         NV      89122‐1908
HOCKENSMITH, LEATRICE M               6364 BRUMA AVE.                                                                                         LAS VEGAS         NV      89122
HOCKER & THORNTON                     ATTN: DAVID P. KAISER                                                                                   LEXINGTON         KY      40507
HOCKER MILDRED (ESTATE OF) (473084)   BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH      44067
                                                                            PROFESSIONAL BLDG
HOCKER, DON A                         7565 W STATE ROUTE 571 LOT 44                                                                           WEST MILTON       OH      45383‐1748
HOCKER, DON A                         7565 W ST RT 571 LOT 44                                                                                 WEST MILTON       OH      45383‐1748
HOCKER, DONALD                        677 HILLGROVE CT                                                                                        CINCINNATI        OH      45246‐1436
HOCKER, DORLIS G                      3006 WILLIAMS CT                                                                                        KOKOMO            IN      46902‐3963
HOCKER, ESTRELLITA R                  915 FOUNTAIN ST                                                                                         TROY              OH      45373‐2817
HOCKER, ETTA J                        2518 ST. CHARLES AVE                                                                                    DAYTON            OH      45410‐5410
HOCKER, ETTA J                        2518 SAINT CHARLES AVE                                                                                  DAYTON            OH      45410‐3127
HOCKER, GUY M                         514 W WENGER RD                                                                                         ENGLEWOOD         OH      45322‐2001
HOCKER, HOWARD L                      1370 FAIRVIEW AVE                                                                                       GALION            OH      44833‐1442
HOCKER, JACK L                        52460 WESTCREEK DR                                                                                      MACOMB            MI      48042‐2964
HOCKER, JUNE T                        C/O TY R HOCKER                       706 TERRI DR                                                      BROOKVILLE        OH      45309‐5309
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Name                           Address1                        Address2                    Address3   Address4                City                State   Zip
HOCKER, JUNE T                 7300 MCEWEN RD                  LIBERTY RETIREMENT CENTER                                      CENTERVILLE          OH     45459‐3903
HOCKER, KEITH E                6535 WESTFALL RD.                                                                              GREENVILLE           OH     45331‐9289
HOCKER, MARGARET S             12217 BROOKSHIRE PKWY           C/O V DIANNE PHILLIPS                                          CARMEL               IN     46033‐3101
HOCKER, NANCY                  458 BETHANY DR                                                                                 MECHANICSBURG        PA     17055‐4359
HOCKER, NINA S                 6734 MILLSIDE DR APT D                                                                         INDIANAPOLIS         IN     46221‐9660
HOCKER, ROGER A                410 SW 1871ST RD                                                                               KINGSVILLE           MO     64061‐9213
HOCKER, ROGER ALLEN            410 SW 1871ST RD                                                                               KINGSVILLE           MO     64061‐9213
HOCKER, RONALD E               2840 WINBURN AVE                                                                               DAYTON               OH     45420‐2260
HOCKERSMITH & SONS INC         PO BOX 1740                                                                                    RICHMOND             IN     47375‐1740
HOCKERSMITH, MARGARET F        1969 E 1700 NORTH                                                                              SUMMITVILLE          IN     46070‐9167
HOCKERSMITH, MARGARET F        1969 E 1700 N                                                                                  SUMMITVILLE          IN     46070‐9167
HOCKERT, DARIA P               1 COBALT CROSS RD                                                                              LEVITTOWN            PA     19057
HOCKERT, DAVID C               10043 RAMBLIN RIVER ROAD                                                                       SAN ANTONIO          TX     78251‐4362
HOCKESSIN MONTESSORI SCHOOL    1000 OLD LANCASTER PIKE                                                                        HOCKESSIN            DE     19707‐9522
HOCKETT & OLSEN AUTOMOTIVE     1278 FERNCLIFF AVE NE                                                                          BAINBRIDGE ISLAND    WA     98110‐2934

HOCKETT KENNETH E (400722)     ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                            NEW YORK            NY      10006‐1638
HOCKETT, C FRANCES             816 S PARK                                                                                     RAYMORE             MO      64083‐8409
HOCKETT, C FRANCES             816 S PARK DR                                                                                  RAYMORE             MO      64083‐8409
HOCKETT, DENNIS R              18185 ALSPACH RD                                                                               OHIO CITY           OH      45874‐9719
HOCKETT, DOROTHY E             1460 ROSINA DRIVE                                                                              MIAMISBURG          OH      45342‐6309
HOCKETT, DOROTHY E             1460 ROSINA DR                                                                                 MIAMISBURG          OH      45342‐6309
HOCKETT, JOAN MADONNA          862 TOUSSIANT S                 COUNTY RD #104                                                 OAK HARBOR          OH      43449
HOCKETT, JOHN E                9053 SUNSET LN                                                                                 BROWNSBURG          IN      46112‐8471
HOCKETT, KENNETH E             ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                            NEW YORK            NY      10006‐1638
HOCKETT, LARRY A               14963 STATE ROUTE 139                                                                          MINFORD             OH      45653‐8702
HOCKETT, MICHAEL L             2827 ST. RT. 22/3, W.                                                                          WILMINGTON          OH      45177
HOCKETT, ROBERT N              22553 W MOONLIGHT PATH                                                                         BUCKEYE             AZ      85326‐8080
HOCKETT, THOMAS E              8750 JAMAICA RD RT 1                                                                           GERMANTOWN          OH      45327
HOCKETT, TREVA M               3796 SOUTH MIDDLE LANE                                                                         GREENVILLE          OH      45331‐3013
HOCKETT, TREVA M               3796 S MIDDLE DR                                                                               GREENVILLE          OH      45331‐3013
HOCKEY CANADA                  3500 BOUL DE MAISONNEUVE O      SUITE 800                              WESTMOUNT QC H3Z 3C1
                                                                                                      CANADA
HOCKEY JR, GERALD D            142 DELAWARE DR                                                                                LANSING             MI      48911‐5026
HOCKEY WESTERN NEW YORK, LLC   1 SEYMOUR H. KNOX III PLAZA                                                                    BUFFALO             NY      14203
HOCKEY, ANGELA H               43 DUNCAN DR                                                                                   TROY                MI      48098‐4612
HOCKEY, ANGELA HAE‐WEN         43 DUNCAN DR                                                                                   TROY                MI      48098‐4612
HOCKEY, AUSTIN R               1205 WRIGHT DR                                                                                 CLAWSON             MI      48017‐1074
HOCKEY, BEATRICE L             2670 PINEBLUFF DR                                                                              METAMORA            MI      48455‐8513
HOCKEY, BETTY J                5626 BRANDT PIKE                                                                               HUBER HEIGHTS       OH      45424‐4304
HOCKEY, BETTY JOAN             11023 WHITE LAKE RD                                                                            FENTON              MI      48430‐2475
HOCKEY, DAVID L                7712 ALLEN RD                                                                                  CLARKSTON           MI      48348‐4404
HOCKEY, DOROTHY C              3008 EGERTON PL                                                                                THE VILLAGES        FL      32162‐7516
HOCKEY, GARY L                 2088 FAIRMONT DR                                                                               ROCHESTER HILLS     MI      48306‐4012
HOCKEY, JANICE A               6315 WILLIAMS LAKE RD                                                                          WATERFORD           MI      48329‐3064
HOCKEY, PAMELA S               142 MILL ST                                                                                    ORTONVILLE          MI      48462‐8606
HOCKEY, RICHARD D              6726 CLOVERTON DR                                                                              WATERFORD           MI      48329‐1204
HOCKEY, RICHARD G              142 DELAWARE DR                                                                                LANSING             MI      48911‐5026
HOCKEY, ROLLAND L              3142 STUDOR RD                                                                                 SAGINAW             MI      48601‐5732
HOCKEY, THEODORE F             808 SANDS RD                                                                                   ORTONVILLE          MI      48462‐8897
HOCKEY, THEODORE F.            808 SANDS RD                                                                                   ORTONVILLE          MI      48462‐8897
HOCKEY, WALKYRIA               2088 FAIRMONT DR                                                                               ROCHESTER HILLS     MI      48306‐4012
HOCKHALTER, JOHN M             3412 SO BURRELL STREET                                                                         MILWAUKEE           WI      53207‐3346
HOCKIN JR, WYNN D              12007 GREEN RD                                                                                 GOODRICH            MI      48438‐9055
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Name                        Address1                         Address2                      Address3   Address4               City              State Zip
HOCKIN SIDNEY N (429108)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510
                                                             STREET, SUITE 600
HOCKIN, DIANE M             6533 ROWLEY DR                                                                                   WATERFORD         MI   48329‐2748
HOCKIN, GARY K              301 MONMOUTH AVE                                                                                 LEONARDO          NJ   07737‐1663
HOCKIN, HOWARD P            8755 KOKOSING RD                                                                                 HALE              MI   48739‐8752
HOCKIN, JOHN M              430 MAPLE DR                                                                                     BELFORD           NJ   07718‐1072
HOCKIN, NORMA J             3014 MERLE DRIVE                                                                                 COLUMBIAVILLE     MI   48421‐8913
HOCKIN, NORMA J             3014 MERLE DR                                                                                    COLUMBIAVILLE     MI   48421‐8913
HOCKIN, PATRICIA M          1229B COUNTY ROAD 811                                                                            SALTILLO          MS   38866‐5918
HOCKIN, SIDNEY N            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510‐2212
                                                             STREET, SUITE 600
HOCKIN, THOMAS E            PO BOX 83                                                                                        CEDAR             MI   49621
HOCKING CARTAGE CO          28424 CHIEFTAIN DR                                                                               LOGAN             OH   43138‐9586
HOCKING COLLEGE             CASHIERS OFFICE                  3301 HOCKING PKWY                                               NELSONVILLE       OH   45764‐9582
HOCKING COUNTY              PO BOX 28                                                                                        LOGAN             OH   43138‐0028
HOCKING CURT ESTATE OF      2700 MATTHEW JOHN DR APT 315                                                                     DUBUQUE           IA   52002‐2930
HOCKING JR, JOSEPH P        489 S COLLINS ST                                                                                 SOUTH ELGIN       IL   60177‐2454
HOCKING TECHNICAL COLLEGE   3301 HOCKING PKWY                                                                                NELSONVILLE       OH   45764‐9582
HOCKING, BETH               APT 108                          5521 PARVIEW DRIVE                                              CLARKSTON         MI   48346‐2826
HOCKING, DALE D             10012 NORTH SERNS ROAD                                                                           MILTON            WI   53563‐9672
HOCKING, GREGORY B          9665 WILTSHIRE DR                                                                                OOLTEWAH          TN   37363
HOCKING, JEANETTE           489 S COLLINS ST                                                                                 SOUTH ELGIN       IL   60177‐2454
HOCKING, JUDITH M           4386 ISLAND PARK DR                                                                              WATERFORD         MI   48329‐1917
HOCKING, LYNNE L            402 BROWNING CIR                                                                                 CHURCH HILL       TN   37642‐3425
HOCKING, ROBERT C           APT 307                          21400 ARCHWOOD CIRCLE                                           FARMINGTN HLS     MI   48336‐4184
HOCKING, STEPHEN L          502 BARBERRY LN                                                                                  EDGERTON          WI   53534‐1107
HOCKING, STEPHEN L          402 BROWNING CIR                                                                                 CHURCH HILL       TN   37642‐3425
HOCKING, WILFRED F          1817 TUSCOLA ST                                                                                  FLINT             MI   48503‐5336
HOCKLEY COUNTY TAX OFFICE   802 HOUSTON ST STE 106                                                                           LEVELLAND         TX   79336‐3706
HOCKMAN BILLY               8550 SHEPHERDSTOWN PIKE                                                                          SHEPHERDSTOWN     WV   25443‐4570
HOCKMAN CLETUS (472327)     ANGELOS PETER G                  100 N CHARLES STREET , ONE                                      BALTIMORE         MD   21201
                                                             CHARLES CENTER
HOCKMAN, BILLY P            8550 SHEPHERDSTOWN PIKE                                                                          SHEPHERDSTOWN     WV   25443‐4570
HOCKMAN, BILLY PAUL         8550 SHEPHERDSTOWN PIKE                                                                          SHEPHERDSTOWN     WV   25443‐4570
HOCKMAN, CHARLOTTE F        4712 CEDAR LN                                                                                    BAY CITY          MI   48706‐2662
HOCKMAN, CLETUS             ANGELOS PETER G                  100 N CHARLES STREET, ONE                                       BALTIMORE         MD   21201‐3812
                                                             CHARLES CENTER
HOCKMAN, CLETUS P           PO BOX 21                                                                                        SHEPHERDSTOWN     WV   25443‐0021
HOCKMAN, DIANE G            184 MORAN RD                                                                                     GROSSE POINTE     MI   48236‐3546
HOCKMAN, JAMES G            1605 RIDGE RD N                                                                                  HEDGESVILLE       WV   25427‐4952
HOCKMAN, JAMES GLENN        1605 RIDGE RD N                                                                                  HEDGESVILLE       WV   25427‐4952
HOCKMAN, LARRY E            854 W GRACEWAY DR                                                                                NAPOLEON          OH   43545‐1919
HOCKMAN, MICHAEL D          3318 LAKEWOOD SHORES DRIVE                                                                       HOWELL            MI   48843‐7858
HOCKMUTH, ALVIN C           4705 E CATALINA AVE                                                                              MESA              AZ   85206‐5001
HOCKNEY, DENNIS D           2036 N DENWOOD ST                                                                                DEARBORN          MI   48128‐1127
HOCKNEY, MARIE E            2036 N DENWOOD ST                                                                                DEARBORN          MI   48128‐1127
HOCKODAY, LOVELL            3815 BURTON ST                                                                                   INKSTER           MI   48141‐2730
HOCKSTAD, HELEN G           875 MAPLEKNOLL AVE                                                                               MADISON HEIGHTS   MI   48071‐2953

HOCKSTAD, RICHARD C         6208 MUIRFIELD DR                                                                                GRAND BLANC       MI   48439‐2684
HOCKSTAD, TED W             1270 HORIZON DR                                                                                  LAPEER            MI   48446‐8665
HOCKSTRA, LONNIE            4426 KEENER                                                                                      MUSKEGON          MI   49444
HOCKSTRA, LONNIE            4426 KEENER ST                                                                                   MUSKEGON          MI   49444‐4453
HOCKSTRA, NANCY S           14200 REDDER AVE                                                                                 CEDAR SPRINGS     MI   49319‐8939
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Name                          Address1                       Address2               Address3      Address4                   City              State Zip
HOCKSTRA, WILLIAM R           14200 REDDER AVE                                                                               CEDAR SPRINGS      MI 49319‐8939
HOCKTONS AUTO TUNE            6815 CROPP ST.                                                      NIAGARA FALLS ON L2E 7E4
                                                                                                  CANADA
HOCKWALT, ROGER A             106 WAUCONDO TRL                                                                               PICKENS            SC   29671‐8644
HOCO ENTERPRISES, LLC
HOCQUARD JR, RAYMOND E        951 E HENRY ST                                                                                 CHARLOTTE         MI    48813‐1666
HOCQUARD, KAYE D              1116 N MAGNOLIA AVE                                                                            LANSING           MI    48912‐3211
HOCUM, HAROLD L               2134 W EISENHOWER RD                                                                           SIX LAKES         MI    48886‐9604
HOCUT, ZITA V                 4435 N PERSHING DR APT 420                                                                     ARLINGTON         VA    22203‐2761
HOCUTT JR, BALLARD            101 HOMESTEAD DR                                                                               NORTH             NY    14120‐2451
                                                                                                                             TONAWANDA
HOCUTT'S AUTOMOTIVE INC       324 SHERWEE DR                                                                                 RALEIGH           NC    27603‐3522
HODA, THEODORE A              205 MARRANO PKWY                                                                               CHEEKTOWAGA       NY    14227‐3516
HODA, THEODORE ANTHONY        205 MARRANO PKWY                                                                               CHEEKTOWAGA       NY    14227‐3516
HODAC, HUY                    128 E ALEX BELL RD                                                                             CENTERVILLE       OH    45459‐2705
HODAC, TRANG D                6160 CHARLESGATE RD                                                                            HUBER HEIGHTS     OH    45424‐1138
HODAC, TRANG DAVID            6160 CHARLESGATE RD                                                                            HUBER HEIGHTS     OH    45424‐1138
HODAC,TRANG DAVID             6160 CHARLESGATE RD                                                                            HUBER HEIGHTS     OH    45424‐1138
HODACK, GERALD E              1415 AMY ST                                                                                    BURTON            MI    48509‐1801
HODACK, JEANNE                1415 AMY ST                                                                                    BURTON            MI    48509‐1801
HODACK, JOSEPH A              6450 W BUCK RD                                                                                 ELSIE             MI    48831‐9442
HODACK, THERESA               339 AIRPORT RD                                                                                 WORTHINGTON       PA    16262
HODAK III, MICHEAL            1277 HALLOCK YOUNG RD SW R                                                                     WARREN            OH    44481
HODAK MICHAEL & JUDITH L      1466 MONCREST DR NW                                                                            WARREN            OH    44485‐1903
HODAK, PETER                  8971 SAN GABRIEL AVE                                                                           SOUTH GATE        CA    90280‐3121
HODAKIEVIC, FLORENCE          21710 S LAKE SHORE BLVD                                                                        EUCLID            OH    44123‐2163
HODAKOWSKI, FRANK J           259 HARRISON AVE                                                                               BUFFALO           NY    14223‐1610
HODAKOWSKI, WLADYSLAW J       65 MOUNT VERNON ST UNIT 11                                                                     BOSTON            MA    02108‐1306
HODAPP, DAVID J               PO BOX 132                                                                                     JONESBURG         MO    63351‐0132
HODAPP, SARAH C               28484 PONDSIDE CT                                                                              FLAT ROCK         MI    48134‐1482
HODARI LUCILLE                4867 ERIE ST                                                                                   YOUNGSTOWN        OH    44512
HODARI WILLIAM E              4867 ERIE ST                                                                                   YOUNGSTOWN        OH    44512‐1619
HODD, EVERETT W               907 NICOLET ST                                                                                 JANESVILLE        WI    53546‐2416
HODDE A A                     613 E BLUE BELL RD                                                                             BRENHAM           TX    77833‐2411
HODDE, JOHN A                 1061 SHEFFIELD CT                                                                              AVON              IN    46123‐8060
HODDER, EARL L                12 AUTUMNWOOD WAY                                                                              LEWES             DE    19958‐9460
HODDER, JEFFREY P             4798 ZELT CV                                                                                   NEW HAVEN         IN    46774‐3143
HODDER, JOSEPH A              104 N KIESEL ST                                                                                BAY CITY          MI    48706‐4312
HODDER, KEVEN W               55 WIRE LINE RD                                                                                CARO              MI    48723‐8926
HODDER, KEVEN WESLEY          55 WIRE LINE RD                                                                                CARO              MI    48723‐8926
HODDER, MARCELLA L            4065 CAMBRIA DR APT 1                                                                          BAY CITY          MI    48706‐6502
HODDER, RANDALL J             1141 N FRASER RD                                                                               PINCONNING        MI    48650‐9471
HODDER, RONALD R              18065 GREGORY RD                                                                               GREGORY           MI    48137‐9410
HODDER, RONALD RAYMOND        18065 GREGORY RD                                                                               GREGORY           MI    48137‐9410
HODDINOTT, PAUL J             5928 DAVIDA DR                                                                                 TOLEDO            OH    43612‐4419
HODECK, LEROY J               9150 GREENWAY CT APT M205                                                                      SAGINAW           MI    48609‐6758
HODEK, PAULINE M              PO BOX 4844                                                                                    PORTLAND          ME    04112‐4844
HODEL, JEAN E                 2727 CROSS COUNTRY CIR                                                                         VERONA            WI    53593‐9712
HODELL NATCO INDUSTRIES INC   PO BOX 931355                                                                                  CLEVELAND         OH    44193‐0001
HODELL, LORRAINE B            437 BRADFORD CIR                                                                               COLUMBIA          TN    38401‐7011
HODELL, ROBERT G              437 BRADFORD CIR                                                                               COLUMBIA          TN    38401‐7011
HODEMARSKY MICHELLE           HODEMARSKY, MICHELLE           1060 1ST AVE STE 400                                            KING OF PRUSSIA   PA    19406‐1336
HODER, ARMAND P               350 SAINT ANDREWS LN                                                                           MYRTLE BEACH      SC    29588‐5367
HODER, WILLIAM G              51920 ANTOINETTE DR                                                                            MACOMB            MI    48042‐4038
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Name                               Address1                        Address2                        Address3   Address4               City               State   Zip
HODER, WILLIAM GORDON              51920 ANTOINETTE DR                                                                               MACOMB              MI     48042‐4038
HODERLEIN, TODD M                  32 FILON AVE                                                                                      ROCHESTER           NY     14622‐1965
HODES, PHYLLIS G                   3330 N LEISURE WORLD #10‐11G                                                                      SILVER SPRING       MD     20906
HODGDON SCOTT                      1038 WALLACE DRIVE                                                                                SAN JOSE            CA     95120‐1852
HODGDON, GARY J                    50303 PARADISE CT                                                                                 MACOMB              MI     48044‐6107
HODGDON, JASON                     52 HEATHER LANE                                                                                   WELLS               ME     04090‐4042
HODGDON, NEAL B                    5147 W 149TH ST                                                                                   BROOK PARK          OH     44142‐1726
HODGDON, PAUL R                    4285 CONNIE DR                                                                                    STERLING HEIGHTS    MI     48310‐3837
HODGDON, PAUL R                    7770 S US HWY 23                                                                                  GREENBUSH           MI     48738‐9205
HODGDON‐NOYES BUICK‐PONTIAC‐ GMC   PO BOX 206                                                                                        ARLINGTON           MA     02476‐0002
TRUCK INC
HODGE CECIL                        LANIER LAW FIRM                 6810 FM 1960 WEST SUITE 1550                                      HOUSTON            TX      77069
HODGE CECIL JOE                    ICO THE LANIER LAW FIRM P C     6810 FM 1960 WEST                                                 HOUSTON            TX      77069
HODGE ELIZABETH PENA               7015 CAPTIVA DR                                                                                   LANSING            MI      48917‐7818
HODGE FOY (464169) ‐ HODGE FOY     KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                     CLEVELAND          OH      44114
                                                                   BOND COURT BUILDING
HODGE I I I, JOHN C                3839 PERCY KING CT                                                                                WATERFORD           MI     48329‐1356
HODGE III, JOHN C                  3839 PERCY KING CT                                                                                WATERFORD           MI     48329‐1356
HODGE JAMES                        HODGE, JAMES                    77 W WASHINGTON ST STE 520                                        CHICAGO             IL     60602‐3318
HODGE JAMES                        STATE FARM MUTUAL AUTOMOBILE    77 W WASHINGTON ST STE 520                                        CHICAGO             IL     60602‐3318
                                   INSURANCE COMPANY
HODGE JR HARRY (459912) ‐ HODGE    DUFFY & ASSOCS JOHN J           23823 LORAIN RD                                                   NORTH OLMSTED      OH      44070
HARRY
HODGE JR, JOHN W                   1590 BUNK NEWELL ROAD                                                                             MERIDIAN           MS      39301‐8191
HODGE JR, THOMAS H                 10A PRISCILLA RD                                                                                  MEDWAY             MA      02053
HODGE KATHLEEN A                   2660 MCGREGOR RD                                                                                  WEST BRANCH        MI      48661‐9446
HODGE PATT                         HODGE, PATT                     5407 ARROWHEAD DRIVE                                              PASCAGOULA         MS      39581
HODGE PATT                         HODGE, PATT
HODGE QUINCY D                     1020 WHITEWATER TRL                                                                               DESOTO             TX      75115‐1408
HODGE RANDY (663680)               BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                       WILMINGTON         DE      19899‐2165
HODGE ROSA                         3109 NORTH MARILYN DRIVE                                                                          OKLAHOMA CITY      OK      73121‐6651
HODGE STEPHEN                      4 HILLSIDE AVE                                                                                    NETCONG            NJ      07857‐1230
HODGE STEVEN L (652960)            ZAMLER, MELLEN & SHIFFMAN       23077 GREENFIELD RD STE 557                                       SOUTHFIELD         MI      48075‐3727
HODGE TOMMY R                      109 PEBBLE CT                                                                                     BOWLING GREEN      KY      42101‐9186
HODGE, AGNES                       856 PERKINSWOOD BLVD NE                                                                           WARREN             OH      44483‐4414
HODGE, ALAN R                      5510 W HESSLER RD                                                                                 MUNCIE             IN      47304‐8965
HODGE, AMELIA F                    3291 HIGHWAY 171                                                                                  STONEWALL          LA      71078‐9433
HODGE, ANNELIESE                   500 W WENGER RD                                                                                   ENGLEWOOD          OH      45322‐2001
HODGE, ANNELIESE                   500 WEST WENGER ROAD                                                                              ENGLEWOOD          OH      45322‐2001
HODGE, ANNIE M                     21809 SUNNYBROOK DR                                                                               TEHACHAPI          CA      93561‐7975
HODGE, ARLENE M                    2637 BERKLEY                                                                                      FLINT              MI      48504‐3373
HODGE, ARLENE M                    2637 BERKLEY ST                                                                                   FLINT              MI      48504‐3373
HODGE, ARTHUR L                    251 STANLEY DR                                                                                    CORUNNA            MI      48817‐1154
HODGE, AUSTIN P                    4315 BAY RD                                                                                       GLADWIN            MI      48624‐8767
HODGE, B. J                        2 VALLEY CT                                                                                       MARION             IN      46953‐4126
HODGE, BARBARA A                   2480 BRIAR CREEK LN                                                                               BURTON             MI      48509‐1396
HODGE, BARNE J                     2040 GRAMER RD                                                                                    WEBBERVILLE        MI      48892‐9719
HODGE, BELINDA                     830 ARMSTRONG RD                                                                                  LANSING            MI      48911‐3909
HODGE, BETTY L                     1150 SHARON DR                                                                                    TITUSVILLE         FL      32796‐1923
HODGE, BEVERLY                     5687 TROY VILLA BLVD                                                                              DAYTON             OH      45424‐2645
HODGE, BILLY A                     753 SW 4TH PL                                                                                     MOORE              OK      73160‐2314
HODGE, BILLY A                     753 SOUTHWEST                   4TH PLACE                                                         MOORE              OK      73160
HODGE, BILLY J                     819 SUSAN DR                                                                                      ARLINGTON          TX      76010‐2426
HODGE, BILLY J                     593 LLOYD STEWART RD                                                                              BROADWAY           NC      27505‐9278
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Name                    Address1                       Address2                       Address3   Address4               City           State   Zip
HODGE, BONNIE R         1206 HODGE RD                                                                                   JACKSON         MS     39209‐9164
HODGE, BRENDA JEAN      1590 BUNK NEWELL RD                                                                             MERIDIAN        MS     39301‐8191
HODGE, CECIL            LANIER LAW FIRM                6810 FM 1960 WEST SUITE 1550                                     HOUSTON         TX     77069
HODGE, CHARLES B        2054 EAGLE PASS APT 4                                                                           WOOSTER         OH     44691‐5312
HODGE, CHARLES J        3890 WALBRIDGE RD                                                                               NORTHWOOD       OH     43619‐2330
HODGE, CHARLES JEFF     3890 WALBRIDGE RD                                                                               NORTHWOOD       OH     43619‐2330
HODGE, CHARLES W        310 VALLEY COURT               PO BOX 452                                                       PERRY           MI     48872
HODGE, CHET M           1511 GRAVEL HILL RD                                                                             COLUMBIA        TN     38401‐1345
HODGE, CHRISTIN         25225 GREENFIELD RD APT 418                                                                     SOUTHFIELD      MI     48075
HODGE, CHRISTOPHER M    5296 HERD RD                                                                                    OXFORD          MI     48371‐1084
HODGE, CLARENCE E       7663 GUNSMITH CT                                                                                PLAINFIELD      IN     46168‐8901
HODGE, CLETUS W         10410 COBBLESTONE BLVD                                                                          DAVISON         MI     48423‐7911
HODGE, CLIFFORD M       1511 GRAVEL HILL RD                                                                             COLUMBIA        TN     38401‐1345
HODGE, CLIFFORD V       77 BIG CREEK DR                                                                                 MOSCOW MILLS    MO     63362‐1940
HODGE, CONSTANCE T      1484 WATCH HILL DR                                                                              FLINT           MI     48507‐5661
HODGE, DALE M           46 PRICE RD                                                                                     ASHEVILLE       NC     28805‐8737
HODGE, DAN T            3818 HILLBORN LN                                                                                LANSING         MI     48911‐2147
HODGE, DAN TODD         3818 HILLBORN LN                                                                                LANSING         MI     48911‐2147
HODGE, DANIEL W         53 LAKEVIEW DR                                                                                  ALBANY          KY     42602‐5212
HODGE, DARLENE M        2615 KELLAR AVE                                                                                 FLINT           MI     48504‐2761
HODGE, DARRELL D        820 AUGRES RIVER DR            PO BOX 323                                                       AU GRES         MI     48703‐9632
HODGE, DARRELL E        1588 N CHIPMAN RD                                                                               OWOSSO          MI     48867‐4806
HODGE, DARRELL EUGENE   1588 N CHIPMAN RD                                                                               OWOSSO          MI     48867‐4806
HODGE, DAVID B          612 KEENELAND CT                                                                                MONTGOMERY      AL     36109‐4662
HODGE, DAVID BERNARD    612 KEENELAND COURT                                                                             MONTGOMERY      AL     36109‐4662
HODGE, DAVID J          2429 ALTOONA ST                                                                                 FLINT           MI     48504‐4601
HODGE, DAVID JAMES      2429 ALTOONA ST                                                                                 FLINT           MI     48504‐4601
HODGE, DELORES M        204 CLEARWATER CT                                                                               ENGLEWOOD       OH     45322‐2255
HODGE, DENNIS R         2400 NORTHSHORE BLVD                                                                            ANDERSON        IN     46011‐1338
HODGE, DONALD C         598 NEW BURLINGTON RD                                                                           WILMINGTON      OH     45177‐9639
HODGE, DONALD G         3687 HIGHWAY 358                                                                                PARAGOULD       AR     72450‐9617
HODGE, DONELL           PO BOX 430754                                                                                   PONTIAC         MI     48343‐0754
HODGE, EASTER M         303 LAKE CIRCLE DR                                                                              COLUMBIA        TN     38401
HODGE, EDITH M          6321 LACY ROAD                                                                                  KNOXVILLE       TN     37912‐1804
HODGE, EDNA L           6002 FLEMING RD                                                                                 FLINT           MI     48504‐7086
HODGE, EDWARD E         549 N BROADWAY APT 2                                                                            CLARKDALE       AZ     86324‐2399
HODGE, ELIZABETH        7878 ABBEY ROAD                                                                                 FRISCO          TX     75035‐6701
HODGE, ELIZABETH P      7015 CAPTIVA DR                                                                                 LANSING         MI     48917‐7818
HODGE, ELIZABETH PENA   7015 CAPTIVA DR                                                                                 LANSING         MI     48917‐7818
HODGE, ELMO             1259 W LOS LAGOS VISTA AVE                                                                      MESA            AZ     85202‐6640
HODGE, ELSIE A          8 CREEKSIDE DR                                                                                  ORCHARD PARK    NY     14127‐1203
HODGE, ELSIE M          1065 W SCOTTWOOD AVE                                                                            FLINT           MI     48507‐3640
HODGE, EMOGENE          6141 NELSON CT                                                                                  BURTON          MI     48519‐1664
HODGE, ERNEST W         2637 AUBREY DR                                                                                  LAKE ORION      MI     48360‐2701
HODGE, ERNEST W         3444 GINGELL DR                                                                                 LAKE ORION      MI     48359‐2076
HODGE, ETHEL F          10221 CARNATION                                                                                 ST HELEN        MI     48656‐9413
HODGE, EUGENE W         PO BOX 21                                                                                       LECKIE          WV     24808‐0021
HODGE, EVALENE          3465 BOBENDICK ST                                                                               SAGINAW         MI     48604‐1703
HODGE, EVELYN G         2295 NERREDIA ST                                                                                FLINT           MI     48532‐4824
HODGE, FATIMA           217 PARK AVE                                                                                    LOCKPORT        NY     14094‐2646
HODGE, FELISA L         PO BOX 14963                                                                                    SAGINAW         MI     48601‐0963
HODGE, FELISA LEA       PO BOX 14963                                                                                    SAGINAW         MI     48601‐0963
HODGE, FOY              KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                                     CLEVELAND       OH     44114
                                                       BOND COURT BUILDING
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Name                 Address1                         Address2                  Address3   Address4               City             State   Zip
HODGE, FREDERICK C   13689 BOULDER PT UNIT 102                                                                    BROOMFIELD        CO     80023‐4262
HODGE, FREDERICK C   13689 BOULDER PT                 UNIT 102                                                    BROOMFIELD        CO     80020‐4262
HODGE, FREDERICK L   390 MILLS BRANCH ROAD                                                                        MONAVILLE         WV     25601
HODGE, GARY J        3792 BREAKER ST                                                                              WATERFORD         MI     48329‐2216
HODGE, GENEVA        2909 AVERILL DR                                                                              LANSING           MI     48911‐1409
HODGE, GEORGE E      616 W FUNDERBURG RD                                                                          FAIRBORN          OH     45324‐2345
HODGE, GEORGE S      143 VICTORY DR                                                                               PONTIAC           MI     48342‐2563
HODGE, GERTRUDE C    9546 COUNTRY PATH TRAIL                                                                      MIAMISBURG        OH     45342‐7405
HODGE, GLENN L       10 GLENHURST DR                                                                              OBERLIN           OH     44074‐1424
HODGE, GLORIA J      1588 N CHIPMAN RD                                                                            OWOSSO            MI     48867‐4806
HODGE, GREGORY T     303 LAKE CIR                                                                                 COLUMBIA          TN     38401‐8880
HODGE, HAROLD L      325 N JEFFERSON ST                                                                           BROWNSBURG        IN     46112‐1036
HODGE, HARRY E       17807 SE 84TH SHELDON TER                                                                    THE VILLAGES      FL     32162‐2895
HODGE, HAZEL M       420 LOKEYS RIDGE RD                                                                          BETHLEHEM         GA     30620‐2539
HODGE, HELEN M       354 ORCHARD COVE DR BOX 5                                                                    OTISVILLE         MI     48463‐8408
HODGE, IOLA L.       2927 GARLAND                                                                                 DETROIT           MI     48214‐2125
HODGE, IOLA L.       2927 GARLAND ST                                                                              DETROIT           MI     48214‐2125
HODGE, ISABELLE J    100 MIAMI RD APT B1                                                                          PONTIAC           MI     48341‐1577
HODGE, ISABELLE J    100 MIAMI APT B1                                                                             PONTIAC           MI     48341‐1577
HODGE, JACK          COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                     HOUSTON           TX     77002‐1751
HODGE, JACK E        6995 N LONDON RD                                                                             FAIRLAND          IN     46126‐9614
HODGE, JACKIE D      PO BOX 11                                                                                    WHITTINGTON        IL    62897‐0011
HODGE, JACQULYN      2732 FOREST CREEK DR                                                                         FORT WORTH        TX     76123‐1191
HODGE, JAMES E       3465 BOBENDICK ST                                                                            SAGINAW           MI     48604
HODGE, JAMES K       3214 PINE HAVEN LN                                                                           HAUGHTON          LA     71037‐9380
HODGE, JAMES KEITH   3214 PINE HAVEN LN                                                                           HAUGHTON          LA     71037‐9380
HODGE, JAMES R       5442 CIRCLE DR                                                                               ROSE CITY         MI     48654‐9502
HODGE, JAMES S       815 CRAWFORD RD LOT 311                                                                      OPELIKA           AL     36804‐6527
HODGE, JAMIE R       23156 OAKWOOD AVE                                                                            YOUNGSTOWN        OH     44509
HODGE, JAY R         595 N 300 EAST RD                                                                            CERRO GORDO        IL    61818‐4005
HODGE, JEAN A        18987 STEEL ST                                                                               DETROIT           MI     48235‐1330
HODGE, JEAN L        6333 WOODSDALE DR                                                                            GRAND BLANC       MI     48439‐8543
HODGE, JEAN LEATHA   6333 WOODSDALE DR                                                                            GRAND BLANC       MI     48439‐8543
HODGE, JERRY         18861 JUSTINE ST                                                                             DETROIT           MI     48234‐2127
HODGE, JERRY A       616 DURRETT ST                                                                               COVINGTON         KY     41014‐1528
HODGE, JERRY D       145 W WASHINGTON                                                                             PARKER CITY       IN     47368
HODGE, JIMMIE L      10198 MCKINLEY RD                                                                            MONTROSE          MI     48457‐9187
HODGE, JOHN D        3531 BRONXWOOD AVE # 1JC                                                                     BRONX             NY     10469
HODGE, JOHN E        1058 E ROWLAND ST                                                                            FLINT             MI     48507‐4147
HODGE, JOHN EDWARD   1058 E ROWLAND ST                                                                            FLINT             MI     48507‐4147
HODGE, JOHN F        344 EUREKA RD                                                                                WYANDOTTE         MI     18192‐5840
HODGE, JOHN W        BOONE ALEXANDRA                  205 LINDA DR                                                DAINGERFIELD      TX     75638‐2107
HODGE, JOSEPH H      1397 INDIAN OAKS BLVD                                                                        ROCKLEDGE         FL     32955‐4612
HODGE, JUANITA       33 HEARD RD                                                                                  HOXIE             AR     72433‐9009
HODGE, JULIAN K      3546 CROMWELL ST                                                                             JACKSON           MS     39213‐5901
HODGE, KAREN L       2637 AUBREY DR                                                                               LAKE ORION        MI     48360‐2701
HODGE, KATHLEEN A    2660 MCGREGOR RD                                                                             WEST BRANCH       MI     48661
HODGE, KATHY D       1121 S ELMS RD UNIT B                                                                        FLINT             MI     48532‐3108
HODGE, KENNETH C     429 N WOODLAWN RD                                                                            SPOKANE VALLEY    WA     99216‐2943
HODGE, LAQUAYSHA S   6247 RAMBLEWOOD DR                                                                           DAYTON            OH     45424‐6601
HODGE, LAQUAYSHA S   6503 BARBARA JEAN CT                                                                         FORT WAYNE        IN     46816‐1911
HODGE, LARRY E       975 KALE ADAMS RD                                                                            LEAVITTSBURG      OH     44430‐9790
HODGE, LATOYA
HODGE, LAURA E       2323 SANDY RIDGE DR S                                                                        WILSON            NC     27893‐9021
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Name                             Address1                       Address2                    Address3   Address4                 City               State   Zip
HODGE, LEROY E                   3487 RUSHTON RD                                                                                CENTRAL LAKE        MI     49622‐9695
HODGE, LILLIAN G                 8131 E MAIN RD LOT 1                                                                           LE ROY              NY     14482‐9706
HODGE, LISA M                    12866 LONGLEAF LANE                                                                            FISHERS             IN     46038‐9183
HODGE, LLOYD W                   2314 DAKOTA AVE                                                                                FLINT               MI     48506‐4905
HODGE, LLOYD WAYNE               2314 DAKOTA AVE                                                                                FLINT               MI     48506‐4905
HODGE, LORRAINE                  2800 COUGAR BUTTE                                                                              KLAMATH FALLS       OR     97601‐9425
HODGE, MABLE A                   861 CHAMBERLAIN AVE                                                                            PERTH AMBOY         NJ     08861‐1711
HODGE, MARGARET R                20523 CHAMPAIGN ST                                                                             TAYLOR              MI     48180‐2963
HODGE, MARGUERITE E              2261 PEAK PLACE                                                                                THE VILLAGES        FL     32162‐7785
HODGE, MARGUERITE E              3430 E. JEFFERSON AVE.         APT 206                                                         DETROIT             MI     48207
HODGE, MARK S                    915 BROKEN ARROW CV                                                                            COLLIERVILLE        TN     38017
HODGE, MARY E                    5910 STANTON STREET                                                                            DETROIT             MI     48208‐3056
HODGE, MARY G                    11480B OLD HIGHWAY 80 W                                                                        MERIDIAN            MS     39307‐9535
HODGE, MATTHEW S                 547 WITBECK DR                                                                                 CLARE               MI     48617‐9722
HODGE, MAURICE R                 PO BOX 95                      ALBANY HEALTHCARE & REHAB                                       ALBANY              IN     47320‐1530
                                                                CENTER
HODGE, MAURICE R                 MILLERS MERRY MANOR            0548 SOUTH 100 WEST                                             HARTFORD CITY      IN      47348
HODGE, MAX E                     4994 EAST US HIGHWAY 36                                                                        MARKLEVILLE        IN      46056‐9742
HODGE, MAX R                     4994 E US HIGHWAY 36                                                                           MARKLEVILLE        IN      46056‐9742
HODGE, MICHEL C                  3222 S 300 E                                                                                   ANDERSON           IN      46017‐9705
HODGE, MILDRED J                 8365 E CO RD 851 S                                                                             PLAINFIELD         IN      46168
HODGE, MILTON                    2615 KELLAR AVE                                                                                FLINT              MI      48504‐2761
HODGE, MILTON T                  1437 REMBRANDT ST                                                                              INDIANAPOLIS       IN      46202‐2138
HODGE, NICOLETTE D               5185 CAPRI LN                                                                                  FLINT              MI      48507‐4005
HODGE, NICOLETTE DANIELLE        5185 CAPRI LN                                                                                  FLINT              MI      48507‐4005
HODGE, OLIVER W                  1263A HODGE RD                                                                                 JACKSON            MS      39209‐9730
HODGE, OREN C                    PO BOX 122                                                                                     GRAND BLANC        MI      48480‐0122
HODGE, PATRICIA A                102 MURRAY GUARD DR APT 61H                                                                    JACKSON            TN      38305‐3603
HODGE, PATRICIA A                1175 MILLIKIN PL NE                                                                            WARREN             OH      44483‐4447
HODGE, PATSY                     PO BOX 2767                                                                                    WEATHERFORD        TX      76086‐2761
HODGE, PAULETTE S                462 KOONS AVE LOWR                                                                             BUFFALO            NY      14211
HODGE, PETER TRANSPORT LIMITED   5810 SHAWSON DR                                                       MISSISSAUGA ON L4W 3W5
                                                                                                       CANADA
HODGE, PETER W                   52836 MUIRFIELD DR                                                                             CHESTERFIELD       MI      48051‐3663
HODGE, PETER WILLIAM             52836 MUIRFIELD DR                                                                             CHESTERFIELD       MI      48051‐3663
HODGE, PHIL T                    5350 WESTCHESTER DR                                                                            FLINT              MI      48532‐4050
HODGE, PHILIP B                  1166 LOGAN WOOD DR                                                                             HUBBARD            OH      44425‐3323
HODGE, PHILLIP                   2520 COUNTY ROAD 188                                                                           MOULTON            AL      35650‐4430
HODGE, PHYLLIS                   179 WESTHILL AVE                                                                               RITTMAN            OH      44270
HODGE, PRESTON                   PO BOX 80892                                                                                   LANSING            MI      48908‐0892
HODGE, QUINCY D                  1020 WHITEWATER TRL                                                                            DESOTO             TX      75115‐1408
HODGE, RALPH B                   5021 BIGAM RD                                                                                  BATAVIA            OH      45103‐9584
HODGE, RANDY                     BIFFERATO GENTILOTTI & BIDEN   PO BOX 2165                                                     WILMINGTON         DE      19899‐2165
HODGE, RAYMOND E                 2111 REFSET DR APT 18                                                                          JANESVILLE         WI      53545‐0572
HODGE, RAYMOND E                 318 E EDGEWATER WAY                                                                            NEWARK             DE      19702‐2306
HODGE, REX A                     PO BOX 142                     134B CRAIGTOWN RD                                               PORT DEPOSIT       MD      21904‐0142
HODGE, RICHARD E                 711 S GREY RD                                                                                  AUBURN HILLS       MI      48326‐3817
HODGE, RICHARD H                 18565 W 152ND TER              APT 602                                                         OLATHE             KS      66062‐3456
HODGE, RICHARD W                 7577 AVON BELDEN RD                                                                            N RIDGEVILLE       OH      44039‐3735
HODGE, RICKIE                    3607 PADDOCK DR                                                                                DECATUR            GA      30034‐3335
HODGE, ROBERT D                  820 GRAND AVE                                                                                  OWOSSO             MI      48867‐4516
HODGE, ROBERT J                  13376 CLINET DR                                                                                COLORADO SPRINGS   CO      80921‐7638

HODGE, ROBERT M                  768 VANDERBILT RD                                                                              LEXINGTON          OH      44904‐8605
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Name                      Address1                      Address2                      Address3   Address4               City             State   Zip
HODGE, ROBERT W           57 WINONA AVE                                                                                 CANFIELD          OH     44406‐1332
HODGE, ROBERT W           2316 OAKWOOD AVE                                                                              YOUNGSTOWN        OH     44509‐2340
HODGE, ROBERTA            PO BOX 605                                                                                    GRAND JUNCTION    TN     38039‐0605
HODGE, RONALD A           37 MUMFORD ST                                                                                 BUFFALO           NY     14220‐1315
HODGE, RONALD A           12701 W STATE RD                                                                              GRAND LEDGE       MI     48837‐9647
HODGE, RONALD ALFRED      37 MUMFORD ST                                                                                 BUFFALO           NY     14220‐1315
HODGE, RONALD R           PO BOX 299                                                                                    PHILLIPSBURG      OH     45354‐0299
HODGE, RONNIE D           1453 MORAN AVE                                                                                LINCOLN PARK      MI     48146‐3849
HODGE, RONNIE M           4910 WESTHAVEN BLVD                                                                           LANSING           MI     48917‐4063
HODGE, ROY T              6157 NEFF RD                                                                                  MOUNT MORRIS      MI     48458‐2748
HODGE, RUTH M             28270 N CLEMENTS CIR                                                                          LIVONIA           MI     48150‐3278
HODGE, RUTHIE M           1718 W MICHIGAN AVE                                                                           LANSING           MI     48915‐1766
HODGE, SADIE A            8249 BEERS RD                                                                                 SWARTZ CREEK      MI     48473‐9101
HODGE, SADIE ANN          8249 BEERS RD                                                                                 SWARTZ CREEK      MI     48473‐9101
HODGE, SALLY ANN          191 BELMONT CT E                                                                              N TONAWANDA       NY     14120‐4808
HODGE, SANDRA B           410 SEABURN ST                                                                                BROOKFIELD        OH     44403‐9751
HODGE, SANDRA B           410 SEABURN S.E.                                                                              BROOKFIELD        OH     44403‐9751
HODGE, SARA M             500 BROOKWOOD DR.                                                                             CLINTON           MS     39056‐3834
HODGE, SHANNON RENEE      8301 BURNSIDE CT                                                                              CITRUS HTS        CA     95610‐2939
HODGE, SHARON             PO BOX 422                    221 CHERRY STREET                                               WEBBERVILLE       MI     48892‐0422
HODGE, SHARON J           926 SIMCOE AVE                                                                                FLINT             MI     48507‐1683
HODGE, SHEILA A           PO BOX 17                                                                                     FENTON            MI     48430‐0017
HODGE, STEPHEN L          3641 CRAIG BRIDGE RD                                                                          WILLIAMSPORT      TN     38487‐2160
HODGE, STEVEN L           ZAMLER, MELLEN & SHIFFMAN     23077 GREENFIELD RD STE 557                                     SOUTHFIELD        MI     48075‐3727
HODGE, TERESA A           4447 FAIRWOOD DR                                                                              BURTON            MI     48529‐1920
HODGE, TERRY G            1537 TELEGRAPH DR                                                                             PONTIAC           MI     48340‐1030
HODGE, TERRY L            1937 LEARNARD AVE                                                                             LAWRENCE          KS     66046‐3153
HODGE, TERRY LEE          1937 LEARNARD AVE                                                                             LAWRENCE          KS     66046‐3153
HODGE, THELMA J           PO BOX 80293                                                                                  LANSING           MI     48908‐0293
HODGE, THOMAS A           45 ROSE ST                                                                                    EDISON            NJ     08817‐3503
HODGE, THOMAS E           1307 WOODLAKE DR                                                                              CORINTH           TX     76210
HODGE, THOMAS E           3434 STATE ROUTE 19 S                                                                         WARSAW            NY     14569
HODGE, THOMAS W           543 W MARKET ST                                                                               GERMANTOWN        OH     45327‐1226
HODGE, THURSTON L         2401 E JOLLY RD APT 7                                                                         LANSING           MI     48910‐8524
HODGE, TIFFANY A          3269 HIGHWAY 171                                                                              STONEWALL         LA     71078‐9433
HODGE, VERNON R           PO BOX 431421                                                                                 PONTIAC           MI     48343‐1421
HODGE, VIRGIE R           1846 WHITTLESEY ST                                                                            FLINT             MI     48503‐4345
HODGE, VIRGINIA           12724 COUNTY ROAD 7160                                                                        ROLLA             MO     65401‐7562
HODGE, WANDA J            2722 TAMMANY AVE                                                                              LANSING           MI     48910‐3755
HODGE, WESLEY             897 CARRS RUN RD                                                                              WAVERLY           OH     45690‐9755
HODGE, WILLIAM E          510 CRAWLEY DR                                                                                NEWPORT           TN     37821‐6014
HODGE, WILLIAM R          165 HENRY VIII DR                                                                             FLINT             MI     48507‐4215
HODGE, WILLIAM S          219 GRAFTON ST                                                                                OBERLIN           OH     44074‐1709
HODGE, WILLIE F           132 CARR ST                                                                                   PONTIAC           MI     48342‐1767
HODGE, WILLIE F           225 THURBER ST                                                                                SYRACUSE          NY     13210‐3657
HODGE, WILLIE T           3375 N LINDEN RD APT 209                                                                      FLINT             MI     48504‐5724
HODGE‐MUHAMMAD, MAURINE   PO BOX 80415                                                                                  LANSING           MI     48908‐0415
HODGE‐NORFOLK, LINNIE M   623 WALKER PKWY                                                                               ATOKA             TN     38004‐7707
HODGEN, THOMAS J          3545 E COUNTY ROAD 300 N                                                                      FRANKFORT         IN     46041‐8266
HODGEN, THOMAS JAMES      3545 E COUNTY ROAD 300 N                                                                      FRANKFORT         IN     46041‐8266
HODGENS, GLADYS           285 MUMFORD CIR                                                                               YOUNGSTOWN        OH     44505‐4833
HODGENS, JOSEPH M         5346 LEONE DR                                                                                 INDIANAPOLIS      IN     46226‐1746
HODGENS, RIAN E           1220 N ILLINOIS ST APT 302                                                                    INDIANAPOLIS      IN     46202‐2317
HODGENS, VALERIE M        5346 LEONE DR                                                                                 INDIANAPOLIS      IN     46226‐1746
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Name                         Address1                        Address2                         Address3                  Address4               City            State   Zip
HODGERS, JOHN H              3308 WESTBROOK ST                                                                                                 SAGINAW          MI     48601‐6985
HODGERS, JOHN L              3708 EASTHAMPTON DRIVE                                                                                            FLINT            MI     48503‐2908
HODGERS, NEOMA W             266 COUNTY RD 958                                                                                                 TISHOMINGO       MS     38873
HODGERS, PATRICIA            1710 N CHEVROLET AVE                                                                                              FLINT            MI     48504‐7203
HODGES                       598 OLD PEACHTREE RD. STE 100                                                                                     LAWRENCEVILLE    GA     30043
HODGES AND ASSOCIATES        ATTN: A. CLIFTON HODGES         4 EAST HOLLY STREET, SUITE 202                                                    PASADENA         CA     91103
HODGES AUTOMOTIVE            6521 COLLEYVILLE BLVD                                                                                             COLLEYVILLE      TX     76034‐6231
HODGES CATHERINE             3455 OAKHURST DR                                                                                                  CAMBRIA          CA     93428‐2922
HODGES DOUGHTY & CARSON      PO BOX 869                                                                                                        KNOXVILLE        TN     37901‐0869
HODGES DOUGLAS W (166515)    BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG , 233 EAST                                                    JACKSONVILLE     FL     32202
                             MCCLAMMA & YEGELWEL P.A.        BAY STREET
HODGES EDWARD (665809)       ZAMLER, MELLEN & SHIFFMAN       23077 GREENFIELD RD STE 557                                                       SOUTHFIELD       MI     48075‐3727
HODGES ELMER J JR (429109)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                       NORFOLK          VA     23510
                                                             STREET, SUITE 600
HODGES HAYNES                3339 WESTBROOK ST                                                                                                 SAGINAW         MI      48601‐6986
HODGES I I, DAVID C          3365 S TOWERLINE RD                                                                                               BRIDGEPORT      MI      48722‐9542
HODGES II, DAVID CHARLES     3365 S TOWERLINE RD                                                                                               BRIDGEPORT      MI      48722‐9542
HODGES JAMES (445264)        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                     NORTHFIELD      OH      44067
                                                             PROFESSIONAL BLDG
HODGES JENNIFER              21 TOWNSEND WAY                                                                                                   CLARKSVILLE      TN     37043‐5569
HODGES JOHN                  HODGES, JOHN                    BEASLEY,ALLEN,CROW,METHVIN,PO 218 COMMERCE STREET, PO                             MONTGOMERY       AL     36103‐4160
                                                             RTIS & MILES,P.C.             BOX 4160
HODGES JOHN K (488470)       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                     NORTHFIELD      OH      44067
                                                             PROFESSIONAL BLDG
HODGES JR, ERNEST            221 PAGE ST                                                                                                       FLINT            MI     48505‐4639
HODGES JR, HENRY             19410 MAGNOLIA PKWY                                                                                               SOUTHFIELD       MI     48075‐7131
HODGES JR, JAMES A           394 LEE RD #850                                                                                                   PHENIX CITY      AL     36870
HODGES JR, JAMES L           1810 COOPER LAKES DRIVE                                                                                           GRAYSON          GA     30017‐1922
HODGES JR, JESSE             19456 TRACEY ST                                                                                                   DETROIT          MI     48235‐1740
HODGES JR, MILUS M           4408 BISCAYNE DR                                                                                                  FORT WORTH       TX     76117‐2109
HODGES JR, THERON            12204 SANTA ROSA DR                                                                                               DETROIT          MI     48204‐5316
HODGES JULIAN (459128)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                       NORFOLK          VA     23510
                                                             STREET, SUITE 600
HODGES MACK                  LAW OFFICE OF STEVE MIKHOV      640 S SAN VICENTE BLVD           STE 230                                          LOS ANGELES     CA      90048‐4654
HODGES MACK                  HODGES, MACK                    MIKHOV LAW OFFICES OF STEVE      640 S SWAN VICENTE BLVD   STE 230                LOS ANGELES     CA      90048‐4654
HODGES MICHAEL               HODGES, MICHAEL                 30928 FORD RD                                                                     GARDEN CITY     MI      48135‐1803
HODGES NORMA J               PO BOX 154                                                                                                        BRANDON         MS      39043‐0154
HODGES ROY G (459129)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                       NORFOLK         VA      23510
                                                             STREET, SUITE 600
HODGES SALES & SERVICE       204 S STATE ST                                                                                                    HART            MI      49420‐1225
HODGES SAMMY                 2175 ROBERSONVILLE RD                                                                                             WASHINGTON      NC      27889‐7861
HODGES STARLA                7909 48TH ST E                                                                                                    FIFE            WA      98424
HODGES VANIS (185520)        BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG , 233 EAST                                                    JACKSONVILLE    FL      32202
                             MCCLAMMA & YEGELWEL P.A.        BAY STREET
HODGES XAVIER                4947 OSAGE CIR                                                                                                    CHARLOTTE       NC      28269‐4689
HODGES, ALEXANDER            2601 WHITTIER ST APT 225                                                                                          SAINT LOUIS     MO      63113‐2958
HODGES, ALICE I              2001 N DEQUINCY ST                                                                                                INDIANAPOLIS    IN      46218‐4635
HODGES, ALVIN                2600 BOLTON BOONE DR APT 919                                                                                      DESOTO          TX      75115‐2072
HODGES, AMANDA J             1915 CRABTREE LN                                                                                                  JENISON         MI      49428‐9472
HODGES, ANGELA A             1856 FAYETTE AVE                                                                                                  BELOIT          WI      53511‐3651
HODGES, ANITA M              2407 S. 410 W.                                                                                                    RUSSIAVILLE     IN      46979
HODGES, ANTHONY
HODGES, ARTHUR D             4367 CHERRY BLOSSOM WAY                                                                                           LIVERMORE        CA     94551‐6711
HODGES, ASIA                 1219 W HOLGUIN ST                                                                                                 LANCASTER        CA     93534‐5437
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Name                          Address1                        Address2                        Address3   Address4               City              State   Zip
HODGES, AUBREY W              55 AUTUMN RUN DR                                                                                  MONTICELLO         KY     42633‐4567
HODGES, BARBARA               2054 KOHLER ST                                                                                    WATERFORD          MI     48329‐3746
HODGES, BARBARA               2054 KOHLER                                                                                       WATERFORD          MI     48329‐3746
HODGES, BARTH D               1110 SALLEETOWN RD                                                                                CAMPBELLSVILLE     KY     42718‐9270
HODGES, BERYL M               2806 ASBURY RD                  A                                                                 ERIE               PA     16506‐1446
HODGES, BETTY                 10719 W 130TH TER                                                                                 OVERLAND PARK      KS     66213‐3326
HODGES, BETTY E               1370 WILES RD                                                                                     GRAYSON            LA     71435‐3845
HODGES, BILL R                7051 N. ST. RT. 123                                                                               FRANKLIN           OH     45005‐2351
HODGES, BILL R                7051 STATE ROUTE 123                                                                              FRANKLIN           OH     45005‐2351
HODGES, BRANDI R              432 SOUTHWEST FOOT HILL DRIVE                                                                     GRAIN VALLEY       MO     64029‐8425
HODGES, CECIL L               3301 PINGREE ST                                                                                   DETROIT            MI     48206‐2195
HODGES, CECIL L               3301 PINGREE                                                                                      DETROIT            MI     48208
HODGES, CHARLENE              3338 W 22ND ST                                                                                    INDIANAPOLIS       IN     46222‐4852
HODGES, CHARLES               19541 MCINTYRE ST                                                                                 DETROIT            MI     48219‐5511
HODGES, CHARLES               GUY WILLIAM S                   PO BOX 509                                                        MCCOMB             MS     39649‐0509
HODGES, CHARLES K             1227 DELMONT CT                                                                                   SAN ANTONIO        TX     78258‐3123
HODGES, CHARLES L             634 E ATHERTON RD                                                                                 FLINT              MI     48507‐2797
HODGES, CHARLES L             PO BOX 301067                                                                                     ARLINGTON          TX     76007‐1067
HODGES, CHARLES LAWRENCE      634 E ATHERTON RD                                                                                 FLINT              MI     48507‐2797
HODGES, CHARLES W             1816 LARKFIELD CT APT 563                                                                         INDIANAPOLIS       IN     46260‐2562
HODGES, CHRISTEE W            101 JOSH CT                                                                                       FLORENCE           AL     35633‐1066
HODGES, CHRISTINE             12204 SANTA ROSA DR                                                                               DETROIT            MI     48204‐5316
HODGES, CHRISTOPHER P         6345 ORIOLE DR                                                                                    FLINT              MI     48506‐1746
HODGES, CHRISTOPHER PATRICK   6345 ORIOLE DR                                                                                    FLINT              MI     48506‐1746
HODGES, CLAUD                 G4096 COLDWATER RD                                                                                FLINT              MI     48504
HODGES, CLIFFORD              3096 EASTPOINTE CT                                                                                ROCHESTER HILLS    MI     48306‐2928
HODGES, COURTNEY N            PO BOX 111                                                                                        GOODRICH           MI     48438‐0111
HODGES, CYRIL L               5435 DUNBAR DR                                                                                    GRAND BLANC        MI     48439‐9152
HODGES, DANIEL J              14998 CORUNNA RD                                                                                  CHESANING          MI     48616‐9491
HODGES, DAVID C               2814 OHIO ST                                                                                      SAGINAW            MI     48601‐7049
HODGES, DAVID CHARLES         2814 OHIO ST                                                                                      SAGINAW            MI     48601‐7049
HODGES, DAVID D               15480 GROVE ROAD, RT. 4                                                                           LANSING            MI     48906
HODGES, DAVID F               204 O CONNOR                                                                                      LAKE ORION         MI     48362
HODGES, DAVID F               5395 TEAKWOOD DR                                                                                  SWARTZ CREEK       MI     48473‐9415
HODGES, DAVID J               22571 W WICKIE RD                                                                                 BANNISTER          MI     48807‐9302
HODGES, DAWN E                13400 BUECHE RD                                                                                   MONTROSE           MI     48457‐9360
HODGES, DEBORAH M.            1314 PINEHURST AVE                                                                                FLINT              MI     48507‐2344
HODGES, DELBERT R             2810 DUSTIN DR                                                                                    THOMPSONS STN      TN     37179‐5235
HODGES, DENNIS A              ROUTE 1 BOX 61                                                                                    MEEKER             OK     74855
HODGES, DENNIS A              250 CASH POINT RD #3                                                                              BOSSIER CITY       LA     71111
HODGES, DENNIS A              100166 S 3450 RD                                                                                  MEEKER             OK     74855‐5537
HODGES, DENNIS W              1028 MCGOWAN LN                                                                                   MCCOMB             MS     39648‐9011
HODGES, DENNIS W              4540 MCINTOSH RD                                                                                  BIRCH RUN          MI     48415‐8704
HODGES, DENNIS W              1028 MCGOWAN LANE                                                                                 MCCOMB             MS     39648‐9648
HODGES, DONALD H              PO BOX 394                                                                                        VIENNA             OH     44473‐0394
HODGES, DONALD N              380 W RIVER RD                                                                                    FLUSHING           MI     48433‐2161
HODGES, DONALD R              509 RUSTIC DR                                                                                     SAGINAW            MI     48604‐2161
HODGES, DOUGLAS               BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG, 233 EAST                                     JACKSONVILLE       FL     32202
                              MCCLAMMA & YEGELWEL P.A.        BAY STREET
HODGES, EARNEST R             18549 JEANETTE ST                                                                                 SOUTHFIELD        MI      48075‐1726
HODGES, EDWARD                ZAMLER, MELLEN & SHIFFMAN       23077 GREENFIELD RD STE 557                                       SOUTHFIELD        MI      48075‐3727
HODGES, ELAINE                5551 SW 18 TH TERRACE           LOT 428                                                           BUSHNELL          FL      33513
HODGES, ELEANOR A             1195 HILLARD RD                                                                                   SAINT LOUIS       MO      63122‐3255
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Name                  Address1                            Address2                       Address3               Address4               City             State Zip
HODGES, ELMER J       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA 23510
                                                          STREET, SUITE 600
HODGES, ELSIE P       370 SERENITY SHORES RD                                                                                           BENTON           KY   42025‐6052
HODGES, EMMA E        1321 IDA ST APT H7                                                                                               TUPELO           MS   38801‐4645
HODGES, ERIC L        39691 DETROIT STREET                                                                                             HARRISON TWP     MI   48045‐1837
HODGES, ERNESTINE     8520 W OUTER DRIVE                                                                                               DETROIT          MI   48219‐3573
HODGES, ETHEL M       101 JOSH CT                                                                                                      FLORENCE         AL   35633‐1066
HODGES, EVELYN D      1484 SECRETARIAT DR                                                                                              HELENA           AL   35080‐4142
HODGES, EVELYN H      2323 N PINE LEA DR                                                                                               JACKSON          MS   39209‐9672
HODGES, EVELYN M      3623 PARDEE AVENUE                                                                                               DEARBORN         MI   48124‐3568
HODGES, FAYE J        5876 COUNTRY VIEW DR                                                                                             ALLENDALE        MI   49401‐9254
HODGES, FRANCIS L     518 W 5TH AVE                                                                                                    NASHVILLE        GA   31639‐3715
HODGES, FRANK A       20 LANDOVER LANE                                                                                                 FOUR OAKS        NC   27524‐7731
HODGES, GARY M        24 WHIPPOORWILL RD                                                                                               TRABUCO CANYON   CA   92679‐5374

HODGES, GARY V        6808 CRANVILLE CT                                                                                                CLARKSTON        MI   48348‐4577
HODGES, GAYRON W      2112 GALAHAD DR SW                                                                                               DECATUR          AL   35603‐1121
HODGES, GENERAL L     C/O DONALD R FRANCIS                816C N E SUNNYSIDE SCHOOL RD                                                 BLUE SPRINGS     MO   64014‐2663
HODGES, GENERAL L     5304 OUTLOOK ST                                                                                                  MISSION          KS   66202‐1911
HODGES, GEORGE A      7729 BERMEJO RD                                                                                                  FORT WORTH       TX   76112‐6118
HODGES, GEORGE T      2626 RIDDICK DR                                                                                                  SUFFOLK          VA   23434‐2614
HODGES, GERALDINE R   140 E ELMWOOD DR                                                                                                 CENTERVILLE      OH   45459‐4422
HODGES, GLENDA D      1134 LITTLE FALLS DR                                                                                             ELGIN            IL   60120
HODGES, GLENN J       16044 BRINGARD DR                                                                                                DETROIT          MI   48205‐1421
HODGES, GLENN R       904 KYLE RD NE                                                                                                   HARTSELLE        AL   35640‐2081
HODGES, GREGORY L     8193 GRAND BLANC RD                                                                                              SWARTZ CREEK     MI   48473‐7609
HODGES, HELEN J       5250 VERNON AVE S APT 121                                                                                        EDINA            MN   55436‐2159
HODGES, HERBERT G     19930 LAKEFIELD RD                                                                                               MERRILL          MI   48637‐9786
HODGES, HILLIARD W    1917 RED SUNSET DR                                                                                               DECATUR          AL   35603‐4481
HODGES, IDA B         19541 MCINTYRE ST                                                                                                DETROIT          MI   48219‐5511
HODGES, IRISH E       8510 NORTHLAWN ST                                                                                                DETROIT          MI   48204‐3234
HODGES, IVAN D        36011 WHITE FIR WAY                                                                                              DADE CITY        FL   33525‐9003
HODGES, JACLYN        5417 FLEMING RD                                                                                                  FLINT            MI   48504
HODGES, JAMES         1665 MOUNT UNION CHURCH RD                                                                                       SMITHS GROVE     KY   42171‐9351
HODGES, JAMES
HODGES, JAMES         BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                                 NORTHFIELD       OH   44067
                                                          PROFESSIONAL BLDG
HODGES, JAMES C       13004 E KENTUCKY RD                                                                                              INDEPENDENCE     MO   64050‐1022
HODGES, JAMES E       1410 HIGHWAY 15 S                                                                                                WOODLAND         MS   39776‐9740
HODGES, JAMES M       12106 SEYMOUR RD                                                                                                 MONTROSE         MI   48457‐9783
HODGES, JAMES R       10320 DRIVER AVE                                                                                                 OVERLAND         MO   63114‐2234
HODGES, JAMES T       5308 WESTERN RD                                                                                                  FLINT            MI   48506‐1358
HODGES, JAMES W       2437 E 40TH ST                                                                                                   INDIANAPOLIS     IN   46205‐2905
HODGES, JANICE M      1856 NORTHGATE DR                   APT 208                                                                      BELOIT           WI   53511‐2604
HODGES, JANICE M      82 THICKET LN                                                                                                    SOUTH BELOIT     IL   61080‐2492
HODGES, JERRY L       815 MAPLEWOOD DR                                                                                                 KOKOMO           IN   46902‐3359
HODGES, JIMMIE        11650 BEACONSFIELD ST                                                                                            DETROIT          MI   48224‐1135
HODGES, JOANN B       699 RIVER TRL                                                                                                    MARTIN           GA   30557‐5037
HODGES, JOHN
HODGES, JOHN          BEASLEY,ALLEN,CROW,METHVIN,PORTIS & PO BOX 4160                    218 COMMERCE STREET,                          MONTGOMERY       AL   36103‐4160
                      MILES,P.C.
HODGES, JOHN A        850 WHITMORE RD APT 101                                                                                          DETROIT          MI   48203‐1759
HODGES, JOHN H        9900 CAMINO ROYAL ST APT 94                                                                                      MERRIAM          KS   66203‐3260
HODGES, JOHNNY D      4813 HIGHWAY 101                                                                                                 ROGERSVILLE      AL   35652‐2431
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Name                     Address1                         Address2                      Address3   Address4               City               State   Zip
HODGES, JOHNNY R         5280 FRANKWILL AVE                                                                               CLARKSTON           MI     48346‐3722
HODGES, JOSEPH D         63 WHETSTONE WAY                                                                                 SCOTTSVILLE         KY     42164‐6311
HODGES, JOSEPH DOUGLAS   63 WHETSTONE WAY                                                                                 SCOTTSVILLE         KY     42164‐6311
HODGES, JOSEPH E         28622 MARC DR                                                                                    FARMINGTON HILLS    MI     48336‐3060

HODGES, JOSEPHINE        216 MINOR POPE WAY                                                                               JACKSON             TN     38301‐5481
HODGES, JUANITA J        3784 ROCHESTER ST                                                                                PORTAGE             IN     46368‐6675
HODGES, JUDY C           187 CAIN RD                                                                                      CALHOUN             LA     71225‐8143
HODGES, JUDY E           PO BOX 759                                                                                       ELKTON              KY     42220
HODGES, JULIAN           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510
                                                          STREET, SUITE 600
HODGES, KATHERYN E       735 PINE STREET FS 15                                                                            PORT HURON         MI      48060
HODGES, KENNETH J        8531 S REED RD                                                                                   DURAND             MI      48429‐9141
HODGES, KIM C            973 PORT CRESCENT RD                                                                             PORT AUSTIN        MI      48467‐9696
HODGES, KIM C            121 COVENTRY LN                                                                                  MASON              MI      48854‐1166
HODGES, KLEBAN           3135 CRAWFORD RD                                                                                 CRAWFORD           MS      39743‐9512
HODGES, LARRY
HODGES, LARRY E          309 SW 7TH TER                                                                                   BLUE SPRINGS       MO      64015
HODGES, LAURA L          3745 E BLUEWATER HWY                                                                             IONIA              MI      48846‐9728
HODGES, LEE              19220 CHAPEL ST                                                                                  DETROIT            MI      48219‐1948
HODGES, LEON G           4601 E 400 N RD                                                                                  ANDERSON           IN      46012
HODGES, LEROY            9 EDGEWOOD AVE                                                                                   YONKERS            NY      10704‐2503
HODGES, LESLIE A         63 WHETSTONE WAY                                                                                 SCOTTSVILLE        KY      42164‐6311
HODGES, LESLIE ANN       63 WHETSTONE WAY                                                                                 SCOTTSVILLE        KY      42164‐6311
HODGES, LESLIE C         501 CASSIE LYNN LANE                                                                             OCONOMOWOC         WI      53066‐6513
HODGES, LILA B           309 E BAKER ST                                                                                   FLINT              MI      48505‐4970
HODGES, LILLY M          P.O. BOX 3812                                                                                    MANSFIELD          OH      44907‐3812
HODGES, LILLY M          PO BOX 3812                                                                                      MANSFIELD          OH      44907‐3812
HODGES, LINDA J          713 S PORTER ST                                                                                  SAGINAW            MI      48602‐2207
HODGES, LORI A.          1901 EAGLE CT                                                                                    POTTERVILLE        MI      48876‐9529
HODGES, LOUISE           66 W BETHUNE ST                                                                                  DETROIT            MI      48202‐2707
HODGES, LUEKINNA         2801 EUCLID AVE APT 16                                                                           DES MOINES         IA      50310
HODGES, LUEKINNA         1039 9TH ST., APT 3                                                                              DES MOINES         IA      50314‐2521
HODGES, LYNDA L          8534 KELLY LYNN TRAIL                                                                            CHEBOYGAN          MI      49721
HODGES, LYNN             1244 THOMAS ST SE                                                                                GRAND RAPIDS       MI      49506‐2650
HODGES, MACK             MIKHOV LAW OFFICES OF STEVE      425 S FAIRFAX AVE STE 308                                       LOS ANGELES        CA      90036‐3148
HODGES, MAE              25096 L DRIVE SOUTH                                                                              HOMER              MI      49245‐9405
HODGES, MARIAN L         6287 DELAND RD                                                                                   FLUSHING           MI      48433‐1156
HODGES, MARIE P          1162 FALCON RIDGE COURT                                                                          MILFORD            OH      45150‐8012
HODGES, MARIETTA V       1436 BERRYWOOD LN                                                                                FLINT              MI      48507‐5327
HODGES, MARILYN K        6808 CRANVILLE CT                                                                                CLARKSTON          MI      48348‐4577
HODGES, MARION L         6281 EAGLE RIDGE LN APT 102                                                                      FLINT              MI      48505‐6736
HODGES, MARK A           1285 W REID RD                                                                                   FLINT              MI      48507‐4640
HODGES, MARK ANTHONY     1285 W REID RD                                                                                   FLINT              MI      48507‐4640
HODGES, MARQUISE H       8669 GRAYFIELD ST                                                                                DEARBORN HTS       MI      48127‐1541
HODGES, MARY             16648 CRUSE ST                                                                                   DETROIT            MI      48235‐4096
HODGES, MARY E           344 S YORK RD APT 2B                                                                             BENSENVILLE        IL      60106‐2670
HODGES, MARY E           344 S YORK RD #2B                                                                                BENSENVILLE        IL      60106‐2670
HODGES, MARY G           1806 W RUNDLE AVE                                                                                LANSING            MI      48910‐8734
HODGES, MARY H           4096 W COLDWATER RD                                                                              FLINT              MI      48504‐1102
HODGES, MARY R           1505 DURAND                                                                                      FLINT              MI      48503‐3517
HODGES, MARY R           1505 DURAND ST                                                                                   FLINT              MI      48503‐3517
HODGES, MAX Z            10430 S 88TH AVE                                                                                 PALOS HILLS        IL      60465‐1635
HODGES, MELISSA V        394 RIVERWOOD DR                                                                                 MIDDLEVILLE        MI      49333‐9092
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Name                 Address1                       Address2                      Address3   Address4               City             State   Zip
HODGES, MELVIN       1111 IONIA AVE SW                                                                              GRAND RAPIDS      MI     49507
HODGES, MELVIN L     314 HARBOUR POINTE DR                                                                          BELLEVILLE        MI     48111‐4443
HODGES, MICHAEL A    119 CLEMENT RD                                                                                 LANSING           MI     48917‐3602
HODGES, MICHAEL F    221 PAGE ST                                                                                    FLINT             MI     48505‐4639
HODGES, MICHAEL L    13400 BUECHE RD                                                                                MONTROSE          MI     48457‐9360
HODGES, MICHAEL N    9689 ARROEHEAD SHORES                                                                          EDGERTON          WI     53534
HODGES, MICHAEL O    28491 CEDAR RIDGE RD                                                                           TRABUCO CANYON    CA     92679‐1122

HODGES, MILLARD A    PO BOX 759                                                                                     ELKTON           KY      42220‐0759
HODGES, MYRTLE L     25681 YUCCA VALLEY RD                                                                          VALENCIA         CA      91355‐2438
HODGES, NANCY C      925 CEDARGATE CT                                                                               WATERFORD        MI      48328‐2612
HODGES, NANCY S      107 MAYFLOWER CT                                                                               ATHENS           AL      35613‐2301
HODGES, NORMA J      PO BOX 154                                                                                     BRANDON          MS      39043‐0154
HODGES, OKA          6 AMELIA PARK DRIVE                                                                            AMELIA           OH      45102
HODGES, PAUL A       5135 BAYFIELD DR                                                                               WATERFORD        WI      53185‐3378
HODGES, PAUL W       250 N WALNUT ST                                                                                MOUNT CLEMENS    MI      48043‐5814
HODGES, PENNY D      40 MORETON PL NE                                                                               BROOKHAVEN       MS      39601‐9216
HODGES, PENNY K      660 NW 571ST RD                                                                                CENTERVIEW       MO      64019‐9189
HODGES, PENNY KAY    660 NW 571ST RD                                                                                CENTERVIEW       MO      64019‐9189
HODGES, PHYLLIS E    4410 N 99TH AVE APT 2038                                                                       PHOENIX          AZ      85037
HODGES, PINKIE L     20127 BASIL ST                                                                                 DETROIT          MI      48235‐1635
HODGES, RALPH D      11010 OLDS RD                                                                                  OTISVILLE        MI      48463‐9744
HODGES, RALPH S      1246 S M‐13                                                                                    LENNON           MI      48449
HODGES, RANDALL L    2345 CAUSEY RD                                                                                 MEADVILLE        MS      39653‐9653
HODGES, RAY          PORTER & MALOUF PA             4670 MCWILLIE DR                                                JACKSON          MS      39206‐5621
HODGES, RAY F        2245 SNAPPING SHOALS RD                                                                        MCDONOUGH        GA      30252‐5742
HODGES, RAYMOND G    4261 BETHUY RD                                                                                 CASCO            MI      48064‐2302
HODGES, RAYMOND H    3511 BARBARA DR                                                                                STERLING HTS     MI      48310‐6103
HODGES, RICHARD H    8681 HICKS RD                                                                                  ALLEN            MI      49227‐9770
HODGES, RICHARD J    54959 DANIELLE ST                                                                              NEW BALTIMORE    MI      48047‐5543
HODGES, RICHARD S    10719 WEST 130TH TERRACE                                                                       OVERLAND PARK    KS      66213‐3326
HODGES, RICKY H      653 E BROOKS RD                                                                                MIDLAND          MI      48640‐9531
HODGES, ROBERT C     4107 CAPE COLE BLVD                                                                            PUNTA GORDA      FL      33955‐3829
HODGES, ROBERT D     23041 IDA LN                                                                                   HAYWARD          CA      94541‐7535
HODGES, ROBERT D     660 NW 571ST RD                                                                                CENTERVIEW       MO      64019‐9189
HODGES, ROBERT K.    3393 CALLA RD E                                                                                POLAND           OH      44514‐3007
HODGES, ROBERT L     226 SAVIS LAKE RD                                                                              LAPEER           MI      48445‐1467
HODGES, ROBERT L     4841 ELM PL                                                                                    TOLEDO           OH      43613‐3032
HODGES, ROBERT LEE   226 DAVIS LAKE RD                                                                              LAPEER           MI      48446‐1467
HODGES, ROGER D      6767 E CLIFTON RD                                                                              ALBANY           IN      47320‐9730
HODGES, ROGER D      3820 FAIRFIELD AVE UNIT 88                                                                     SHREVEPORT       LA      71104‐4754
HODGES, ROGER DALE   3820 FAIRFIELD AVE UNIT 88                                                                     SHREVEPORT       LA      71104‐4754
HODGES, ROLAND H     2663 COUNTY ROAD 25                                                                            MOUNTAIN HOME    AR      72653‐6924
HODGES, RONALD       CONSUMER LEGAL SERVICES P.C.   30928 FORD RD                                                   GARDEN CITY      MI      48135‐1803
HODGES, RONALD D     6287 DELAND RD                                                                                 FLUSHING         MI      48433‐1156
HODGES, RONALD E     309 CATHEDRAL DR                                                                               WENTZVILLE       MO      63385‐3467
HODGES, ROSE M       311 W JAMIESON ST                                                                              FLINT            MI      48505‐4057
HODGES, ROSE M       221 PAGE ST                                                                                    FLINT            MI      48505‐4639
HODGES, ROSETTA      601 N WILSON STREET                                                                            FAIRMOUNT        IN      46928‐1304
HODGES, ROY G        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA      23510
                                                    STREET, SUITE 600
HODGES, RUBY A       509 RUSTIC DR                                                                                  SAGINAW          MI      48604‐2161
HODGES, RUBY L       1090 SOUTHWOOD DRIVE                                                                           INDIANAPOLIS     IN      46227‐2236
HODGES, RUBY M       1977 ARLENE AVE                                                                                DAYTON           OH      45406‐3204
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Name                         Address1                          Address2                        Address3          Address4                 City             State   Zip
HODGES, RUSSELL L            601 N WILSON ST                                                                                              FAIRMOUNT         IN     46928‐1304
HODGES, RUTH A               1410 HIGHWAY 15 S                                                                                            WOODLAND          MS     39776‐9740
HODGES, RUTH E               2626 RIDDICK DRIVE                                                                                           SUFFOLK           VA     23434‐2614
HODGES, SAMUEL B             3081 LIBERTY ELLERTON RD                                                                                     DAYTON            OH     45418‐1307
HODGES, SHEILA K             3528 VILLAGE DR                                                                                              ANDERSON          IN     46011
HODGES, SHIRLEY G            501 E WHITAKER MILL RD APT 408A                                                                              RALEIGH           NC     27608‐2649
HODGES, SHIRLEY L            600 W WALTON BLVD                 APT 324                                                                    PONTIAC           MI     48340‐3501
HODGES, SHIRLEY L            600 W WALTON BLVD APT 324                                                                                    PONTIAC           MI     48340‐3501
HODGES, STANLEY H            PO BOX 151                                                                                                   BURT              MI     48417‐0151
HODGES, STANLEY H            10020 JOAN DRIVE                  LOT 104                                                                    MONTROSE          MI     48457
HODGES, STEPHEN T            2808 PARK DR                                                                                                 ARLINGTON         TX     76016‐5907
HODGES, STEVEN T             627 CRESTON AVE                                                                                              DES MOINES         IA    50315‐2350
HODGES, TERRY L              1806 W RUNDLE AVE                                                                                            LANSING           MI     48910‐8734
HODGES, THOMAS C             P. O. BOX 866                                                                                                BROOKHAVEN        MS     39602‐9602
HODGES, THOMAS C             PO BOX 866                                                                                                   BROOKHAVEN        MS     39602‐0866
HODGES, THOMAS E             803 INNERGARY PLACE                                                                                          VALRICO           FL     33594‐4168
HODGES, THOMAS J             258 HOPPIN BRANCH RD                                                                                         GRIFFIN           GA     30224‐7529
HODGES, THOMAS L             2645 RIVERSIDE DR APT 204                                                                                    TRENTON           MI     48183‐2833
HODGES, THOMAS S             1055 48TH ST SE                                                                                              KENTWOOD          MI     49508‐4774
HODGES, THULA                PO BOX 171                                                                                                   BONNER SPRINGS    KS     66012‐0171
HODGES, V. ROCHELLE          1295 S DAWCAMRY LN                                                                                           KUNA              ID     83634‐1759
HODGES, VANIS                BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG, 233 EAST                                              JACKSONVILLE      FL     32202
                             MCCLAMMA & YEGELWEL P.A.          BAY STREET
HODGES, VERN E               7253 S RICHMOND ST                                                                                           CHICAGO          IL      60629‐3012
HODGES, VIRGINIA K           415 SHAGBARK TRL                                                                                             SOMERVILLE       AL      35670‐3234
HODGES, W                    GUY WILLIAM S                     PO BOX 509                                                                 MCCOMB           MS      39649‐0509
HODGES, WALLACE A            5876 COUNTRY VIEW DR                                                                                         ALLENDALE        MI      49401‐9254
HODGES, WANDA                8560 CANADA RD                                                                                               BIRCH RUN        MI      48415‐8429
HODGES, WAYNE E              825 COVE DR                                                                                                  LEONARD          MI      48367‐3421
HODGES, WAYNE E              4205 WAVERLY AVE                                                                                             KANSAS CITY      KS      66104‐3466
HODGES, WILLARD              426 MOTO CROSS RD                                                                                            MITCHELL         IN      47446‐6801
HODGES, WILLIAM
HODGES, WILLIAM E            7352 WICKLOW WOODS DR                                                                                        SYLVANIA         OH      43560‐3848
HODGES, WILLIAM P            16888 FARMINGTON RD #47                                                                                      LIVONIA          MI      48154
HODGES, WILLIAM PAUL         16888 FARMINGTON RD #47                                                                                      LIVONIA          MI      48154
HODGESON, DONALD C           9185 N LINDEN RD                                                                                             CLIO             MI      48420‐8524
HODGESON, HOWARD G           11070 DENTON HILL RD                                                                                         FENTON           MI      48430‐2520
HODGESON, JOSEPH E           9037 E RICHFIELD RD                                                                                          DAVISON          MI      48423‐8413
HODGESON, MARJORY M          11070 DENTON HILL RD                                                                                         FENTON           MI      48430‐2520
HODGESON‐SEDLACEK, KAREN L   10380 LAPEER RD                                                                                              DAVISON          MI      48423‐8159
HODGIN FAMILY TRUST          LARAINE J GURR TTEE               HODGIN FAMILY TRUST             1288 W ASTER ST                            UPLAND           CA      91786‐2113
HODGIN, CAROLYN L            1810 W MICHIGAN AVE                                                                                          LANSING          MI      48915‐1767
HODGIN, DANIEL S             6070 E HOLLY RD                                                                                              HOLLY            MI      48442‐9724
HODGIN, GEORGE H             238 N JAY ST                                                                                                 WEST MILTON      OH      45383‐1708
HODGIN, ROBERT E             4325 ARLINGTON DR                                                                                            ROYAL OAK        MI      48073‐6307
HODGINS JR, SIDNEY A         352 WEATHER WOOD CT                                                                                          LEESBURG         FL      34748‐9591
HODGINS MICHAEL              HODGINS, MICHAEL
HODGINS, CAROL ANN           1642 COBBLESTONE CT                                                                                          RED WING         MN      55066‐2966
HODGINS, EDWARD M            762 PLYMOUTH RD                                                                                              SAGINAW          MI      48638‐7170
HODGINS, JOHN J              5156 HOMESTEAD LN                                                                                            CLIO             MI      48420‐8286
HODGINS, KATHLEEN A          3634 PARKER RD                                                                                               GLADWIN          MI      48624‐9414
HODGINS, LORETTE             839 FRANCOIS CRT                                                                    WINDSOR ON CANADA N8Y‐
                                                                                                                 3W5
HODGINS, MELVIN J            PO BOX 622                                                                                                   ATLANTA           MI     49709‐0622
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Name                                   Address1                              Address2                          Address3                      Address4                  City             State   Zip
HODGINS, PATRICK A                     3 HIGH ST                                                                                                                       OLD LYME          CT     06371
HODGINS, PATSY A                       5156 HOMESTEAD LN                                                                                                               CLIO              MI     48420‐8286
HODGINS, RICHARD A                     4926 HEPBURN RD                                                                                                                 SAGINAW           MI     48603‐2927
HODGINS, ROBERT G                      9995 CENTER ST                                                                                                                  REESE             MI     48757‐9547
HODGINS, WILLIAM B                     3348 FIELD RD APT 3B                                                                                                            CLIO              MI     48420‐1171
HODGKINS, ARETHA L                     14 LAUREL PINES CHURCH RD                                                                                                       FAIRVIEW          NC     28730‐9677
HODGKINS, DOUGLAS G                    357 OAKBRIDGE DR                                                                                                                ROCHESTER         MI     48306‐4631
HODGKINS, RICHARD J                    642 LAFAYETTE ST                                                                                                                IONIA             MI     48846‐1839
HODGKINS, STEPHEN O                    14 LAUREL PINES CHURCH RD                                                                                                       FAIRVIEW          NC     28730‐9677
HODGKINSON, CARRIE V                   9157 BIRCH RUN RD                                                                                                               MILLINGTON        MI     48746‐9569
HODGKINSON, DONNA C                    475 UTAH AVE                                                                                                                    MC DONALD         OH     44437‐1523
HODGKINSON, ELVIRA F                   377 BRITTANY H                                                                                                                  DELRAY BEACH      FL     33446‐1121
HODGKINSON, FREDERICK A                4280 BANKER ST                                                                                                                  NORTH BRANCH      MI     48461‐8954
HODGKINSON, JAMES T                    184 STAFFORD RD                                                                                                                 BURLINGTON        CT     06013‐2515
HODGKINSON, JAMES W                    6485 CADE RD                                                                                                                    BROWN CITY        MI     48416‐9130
HODGKINSON, ROBERT F                   2719 BURNSIDE RD                                                                                                                NORTH BRANCH      MI     48461‐9795
HODGKINSON, ROBERT FREDERICK           2719 BURNSIDE RD                                                                                                                NORTH BRANCH      MI     48461‐9795
HODGKINSON, ROBERT J                   475 UTAH AVE                                                                                                                    MC DONALD         OH     44437‐1523
HODGKISS II, WILLIAM R                 2527 WARREN BURTON RD                                                                                                           SOUTHINGTON       OH     44470‐9775
HODGKISS JAMES                         2332 ORANGESIDE RD                                                                                                              PALM HARBOR       FL     34683‐3346
HODGKISS JR., GARY A                   2055 WEST BROKEN ARROW DRIVE                                                                                                    WICKENBURG        AZ     85390‐3268
HODGKISS, GARY A                       721 JONES ST                                                                                                                    IONIA             MI     48846‐1349
HODGKISS, MICHAEL D                    980 E MAIN ST                                                                                                                   IONIA             MI     48846‐9709
HODGKISS, MICHAEL J                    1831 NORTHFIELD AVE NW                                                                                                          WARREN            OH     44485‐1702
HODGKISS, THOMAS J                     1021 HALLOCK YOUNG RD SW                                                                                                        WARREN            OH     44481‐9636
HODGMAN, CHARLES S                     PO BOX 127                                                                                                                      CORNWALL          CT     06753‐0127
HODGMAN, FAYNE M                       11441 NORA DR                                                                                                                   FENTON            MI     48430‐8702
HODGMAN, FAYNE MATTHEW                 APT 105                               1630 R STREET NORTHWEST                                                                   WASHINGTON        DC     20009‐6455
HODGMAN, FRANCIS H                     13394 N ELMS RD                                                                                                                 CLIO              MI     48420‐8230
HODGMAN, NORMAN E                      1888 MAPLE ST                                                                                                                   HOLT              MI     48842‐1663
HODGSON JAMES G (ESTATE OF) (467296)   SIMMONS FIRM                          PO BOX 521                                                                                EAST ALTON         IL    62024‐0519

HODGSON JR, RALPH                      2749 NORTHAMPTON RD                                                                                                             CUYAHOGA FALLS   OH      44223‐2759
HODGSON RUSS ANDREWS WOODS &           2500 CHASE SQ                                                                                                                   ROCHESTER        NY      14604‐1921
GOODYEAR LLP
HODGSON RUSS LLP                       ATTN: GARRY M. GRABER, ESQ; DEBORAH   60 EAST 42ND STREET, 37TH FLOOR                                                           NEW YORK          NY     10165‐0150
                                       J. PIAZZA, ESQ.
HODGSON RUSS LLP                       ATT MAUREEN T BASS, ESQ               THE GUARANTY BUILDING             140 PEARL STREET, SUITE 100                             BUFFALO           NY     14202

HODGSON RUSS LLP                       ATTYS FOR PUNCH CORPORATION           ATTN: S. ROBERT SCHRAGER &        ONE GRAND CENTRAL PLACE       60 EAST 42ND STREET       NEW YORK          NY     10168
                                                                             GARRY GRABER
HODGSON THOMAS                         PO BOX 453                                                                                                                      GRAYSLAKE        IL      60030‐0453
HODGSON, BRUCE D                       1430 KELLY RD                                                                                                                   MASON            MI      48854‐9619
HODGSON, CAROLYN                       29285 HILLVIEW,                                                                                                                 ROSEVILLE        MI      48066
HODGSON, CAROLYN                       29285 HILLVIEW ST                                                                                                               ROSEVILLE        MI      48066‐2051
HODGSON, DAVID                         3041 CLACK RD                                                                                                                   MADISON          GA      30650‐5104
HODGSON, DENISE                        5012 MARSH FIELD RD                                                                                                             SARASOTA         FL      34235‐5620
HODGSON, DIANE D                       19223 86TH AVE W                                                                                                                EDMONDS          WA      98026‐6108
HODGSON, DON W                         10164 DEERE DR                                                                                                                  DAVISON          MI      48423‐3519
HODGSON, GARY W                        2633 BUCKEYE RD                                                                                                                 CAMDEN           MI      49232‐9742
HODGSON, HARRY                         16155 WINDHAM                                                                                                                   FRASER           MI      48026‐2043
HODGSON, HOWARD E                      PO BOX 26                                                                                                                       DEARBORN         MI      48121‐0026
HODGSON, HOWARD EMERSON                PO BOX 26                                                                                                                       DEARBORN         MI      48121‐0026
HODGSON, JAMES E                       8467 NIGHTINGALE ST                                                                                                             DEARBORN HTS     MI      48127‐1203
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Name                            Address1                              Address2                        Address3   Address4               City              State   Zip
HODGSON, JAMES G                SIMMONS FIRM                          PO BOX 521                                                        EAST ALTON          IL    62024‐0519
HODGSON, JAMES L                PO BOX 468                                                                                              DALEVILLE          IN     47334‐0468
HODGSON, JAMES R                7877 COLUMBIANA CANFIELD RD                                                                             CANFIELD           OH     44406‐9441
HODGSON, JOHN S                 GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                      PITTSBURGH         PA     15219

HODGSON, JOHN W                 4090 JORDAN DR                                                                                          SAGINAW           MI      48601‐5945
HODGSON, JOSEPH D               145 DEAVER RD                                                                                           ELKTON            MD      21921‐4402
HODGSON, JUDITH M               506 ROOSEVELT AVE                                                                                       JANESVILLE        WI      53546‐3106
HODGSON, KEITH M                16 DEVONSHIRE RD                                                                                        PLEASANT RDG      MI      48069‐1208
HODGSON, LINDA K                30 CASCADE CT                                                                                           SPRINGBORO        OH      45066‐8925
HODGSON, MARY A                 104 DOGTOWN CT                                                                                          NAUVOO            AL      35578‐3229
HODGSON, MARY A                 202 DOGTOWN CT                                                                                          NAUVOO            AL      35578‐3232
HODGSON, MELVIN H               1170 S MIAMI ST                                                                                         WEST MILTON       OH      45383‐1219
HODGSON, RAYMOND                GUY WILLIAM S                         PO BOX 509                                                        MCCOMB            MS      39649‐0509
HODGSON, RICHARD P              7129 SCALBOM DR                                                                                         HAZELHURST        WI      54531‐9614
HODGSON, ROBERT L               5221 N SHORE DR                                                                                         LAPEER            MI      48446‐8069
HODGSON, ROBERT L               15304 NE 108TH PL                                                                                       REDMOND           WA      98052‐2520
HODGSON, ROSALISA               16 BRANDYWINE PL                                                                                        NORTH EAST        MD      21901‐4307
HODGSON, SHIRLEY M              630 25TH ST                                                                                             RICHMOND          CA      94804‐1501
HODGSON, SHIRLEY M              235 PARKHURST BLVD.                                                                                     KENMORE           NY      14223‐2511
HODGSON, SHIRLEY M              630 ‐ 25TH ST.                                                                                          RICHMOND          CA      94804‐1501
HODGSON, SHIRLEY M              235 PARKHURST BLVD                    APT 309                                                           HOPEDALE          MA      01747‐1738
HODGSON, SHIRLEY R              145 DEAVER RD                                                                                           ELKTON            MD      21921‐4402
HODGSON, THOMAS                 29285 HILLVIEW ST                                                                                       ROSEVILLE         MI      48066‐2051
HODGSON, WARRENETTA M           6900 NW 133RD TER                                                                                       OKLAHOMA CITY     OK      73142‐6067
HODGSON, WILLIAM J              146 HUNTER AVE                                                                                          WEWAHITCHKA       FL      32465‐4638
HODINA, CHRISTOPHER             30227 REGENT RD                                                                                         WICKLIFFE         OH      44092‐1760
HODINKA, JAMES E                5178 SHOREVIEW CIR NW                                                                                   CANTON            OH      44708‐5050
HODISTER, SIMON R               750 BAYLOR RD                                                                                           ROCHESTER HILLS   MI      48309‐2511
HODITS, MICHAEL E               1115 W LAGUNA AZUL AVE                                                                                  MESA              AZ      85210‐7146
HODKEY ALOYSIUS (479255)        BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH      44067
                                                                      PROFESSIONAL BLDG
HODKEY DENNIS (479256)          BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH      44067
                                                                      PROFESSIONAL BLDG
HODKEY, ALOYSIUS                BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH      44067
                                                                      PROFESSIONAL BLDG
HODKEY, DENNIS                  BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH      44067
                                                                      PROFESSIONAL BLDG
HODKIEWICZ DENNIS               HODKIEWICZ, DENNIS                    908 S FRANKLIN ST                                                 SHAWANO           WI      54166‐3006
HODKIEWICZ, DENNIS              908 S FRANKLIN ST                                                                                       SHAWANO           WI      54166‐3006
HODKIEWICZ, NICOLE K            2358 18 3/4 STREET                                                                                      RICE LAKE         WI      54868‐9145
HODKOWSKI JR, EDMUND R          12508 S MAYFIELD AVE                                                                                    ALSIP             IL      60803‐3545
HODLER, JOHNNIE W               7527 SILAGE CIR                                                                                         PORT CHARLOTTE    FL      33981‐2642
HODLER, RICHARD E               PO BOX 107                                                                                              GOODRICH          MI      48438‐0107
HODNETT ALLEN                   HODNETT, ALLEN                        16993 HODNETT ROAD                                                CEDARBLUFF        MS      39741‐9595
HODNETT CHARLES E JR (493846)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA      23510
                                                                      STREET, SUITE 600
HODNETT, ALLEN                  16993 HODNETT RD                                                                                        CEDARBLUFF        MS      39741‐9595
HODNETT, CHARLES E              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA      23510‐2212
                                                                      STREET, SUITE 600
HODNETT, DONALD J               3220 CANTERBURY LN                                                                                      FALLSTON          MD      21047‐1119
HODNICK, RICHARD M              325 GOLF DR                                                                                             CORTLAND          OH      44410
HODNICKI, SALLY N               3 SANDERS COURT                       SUN CITY HILTON HEAD                                              BLUFFTON          SC      29909
HODO, ANNIE M                   6007 FOUNTAIN POINTE APT 6                                                                              GRAND BLANC       MI      48439‐7777
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Name                     Address1                          Address2                        Address3   Address4               City            State   Zip
HODO, CHERYL             810 FROST STREET                  APT 207A                                                          FLINT            MI     48504‐4937
HODO, CHERYL             810 FROST ST APT 207A                                                                               FLINT            MI     48504‐4937
HODO, DOLORES R          2604 SUNCREST DRIVE               APT 4                                                             FLINT            MI     48504
HODO, DORA L             4602 BILLINGS                                                                                       FLINT            MI     48505‐3526
HODO, DORA L             4602 BILLINGS ST                                                                                    FLINT            MI     48505‐3526
HODO, ERSKIN E           PO BOX 326                                                                                          GRAND BLANC      MI     48480‐0326
HODO, EUGENE             APT 1178                          1170 RIVER VALLEY DRIVE                                           FLINT            MI     48532‐2931
HODO, HENRY L            638 E PHILADELPHIA BLVD                                                                             FLINT            MI     48505‐3385
HODO, JAMES E            6212 FLEMING RD                                                                                     FLINT            MI     48504‐1629
HODO, JOYCE M            1132 RIVER VALLEY DR APT 1138                                                                       FLINT            MI     48532‐2929
HODO, JOYCE MARIE        1132 RIVER VALLEY DR APT 1138                                                                       FLINT            MI     48532‐2929
HODO, LEE A              2409 STONE CREEK DR                                                                                 PLANO            TX     75075‐2941
HODO, LEE ANN            2409 STONE CREEK DRIVE                                                                              PLANO            TX     75075‐2941
HODO, MARY L             902 E COURT ST APT 304            REGENCY MANOR                                                     FLINT            MI     48503‐2073
HODO, NANCY              941 E FOSS AVE                                                                                      FLINT            MI     48505
HODO, RUBY A             4224 TABERNACLE RD                                                                                  ETHELSVILLE      AL     35461‐2710
HODO, VELMA              923 NORTH CHEVROLET AVENUE                                                                          FLINT            MI     48504‐4623
HODO, WILLIAM L          1619 W MOTT AVE                                                                                     FLINT            MI     48504‐7054
HODOH N ROY (445265)     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH     44067
                                                           PROFESSIONAL BLDG
HODOH, N ROY             BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD      OH      44067
                                                           PROFESSIONAL BLDG
HODOM, EVELYN            3607 BRASS LANTERN WAY                                                                              CHATTANOOGA     TN      37415
HODOM, RICHARD T         3607 BRASS LANTERN WAY                                                                              CHATTANOOGA     TN      37415‐7220
HODONSKY, JOSEPH W       18 BAYSIDE DR                                                                                       ATLANTIC HLDS   NJ      07716‐1735
HODOREK, S M             4576 WHISPER WAY DR                                                                                 TROY            MI      48098‐4470
HODOREK, S MICHAEL       4576 WHISPER WAY DR                                                                                 TROY            MI      48098‐4470
HODOREK, STEPHEN B       16020 RIVERSIDE ST                                                                                  LIVONIA         MI      48154‐2461
HODOROVICH, HELEN E      1618 PETTIBONE AVE                                                                                  FLINT           MI      48507‐1516
HODOROVICH, JOSEPH E     6489 W DODGE RD                                                                                     CLIO            MI      48420‐8547
HODOROWSKI, JOHN J       16 TIFFIN PL                                                                                        BRIDGEWATER     NJ      08807‐2540
HODORY, CLIFFORD A       3284 CRICKET DR                                                                                     YOUNGSTOWN      OH      44511‐2908
HODORY, LEONARD P        143 SAINT ANDREWS                                                                                   CORTLAND        OH      44410‐8721
HODORY, MARILYN LAROCK   143 SAINT ANDREWS                                                                                   CORTLAND        OH      44410‐8721
HODORY, MARILYN LAROCK   143 ST ANDREWS ST                                                                                   COURTLAND       OH      44410‐4410
HODOVAN, SUSAN JONES     7123 STATE ROUTE 46                                                                                 CORTLAND        OH      44410‐9669
HODOWANSKY MICHAEL       8077 GLENGARRIFF RD                                                                                 CLEMMONS        NC      27012‐8830
HODROJ, MOHAMAD R        4829 MIDDLESEX ST                                                                                   DEARBORN        MI      48126‐5015
HODSDEN, JOSEPH D        PO BOX 174                                                                                          NEWPORT         VA      24128‐0174
HODSDEN, SOPHIA C        4128 N SUNSET CLIFF PL                                                                              TUCSON          AZ      85750
HODSDEN, TAMARA N        237 CLOVER HOLLOW ROAD            PO BOX 174                                                        NEWPORT         VA      24128
HODSDON, JOHN P          1827 SMALLBROOK DR                                                                                  TROY            MI      48085‐1423
HODSDON, NICOLE A        1827 SMALLBROOK DR                                                                                  TROY            MI      48085‐1423
HODSON CAROL             AUTO CLUB INSURANCE ASSOCIATION   312 W MAIN ST                                                     NORTHVILLE      MI      48167‐1525
HODSON CAROL             HODSON, CAROL                     312 W MAIN ST                                                     NORTHVILLE      MI      48167‐1525
HODSON SHAWN             8256 SOUTHWEST BIRCH STREET                                                                         PORTLAND        OR      97223‐1233
HODSON, BECKY A          2512 RITTER DR                                                                                      ANDERSON        IN      46012‐3267
HODSON, BETTY C          2200 KITCHEN DR                                                                                     ANDERSON        IN      46017‐9794
HODSON, BETTY L          7722 E 200 S                                                                                        GREENTOWN       IN      46936‐9138
HODSON, BETTY L          10279 N CHIPPEWA DR                                                                                 EVART           MI      49631‐9621
HODSON, CANDY A          142 SOUTH SCATTERFIELD ROAD                                                                         ANDERSON        IN      46012‐3105
HODSON, CAROL            19789 ASHLEY CT.                                                                                    LIVONIA         MI      48152‐4023
HODSON, CAROL
HODSON, CARRIE L         603 SAINT JOSEPH DR APT 209                                                                         KOKOMO           IN     46901‐4191
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Name                  Address1                          Address2           Address3         Address4               City           State   Zip
HODSON, CHARLES G     1351 WINFIELD DR                                                                             SWARTZ CREEK    MI     48473‐9709
HODSON, CHERYL        224 S MUSTIN DR                                                                              ANDERSON        IN     46012‐3158
HODSON, CLIFFORD M    5838 SAWMILL LAKE RD                                                                         ORTONVILLE      MI     48462‐9604
HODSON, DAVID E       6320 WALTON ST                                                                               INDIANAPOLIS    IN     46241‐1041
HODSON, DONNA K       3613 CHURCH DR                                                                               ANDERSON        IN     46013‐2255
HODSON, DONNA L       1270 JOY CT NE                                                                               PALM BAY        FL     32907‐2154
HODSON, DOROTHY F     12519 W STATE RD 32                                                                          PARKER CITY     IN     47368
HODSON, ELAM E        1610 UNIVERSITY DR                                                                           ARLINGTON       TX     76013‐1777
HODSON, FRANCIS B     303 OLIVE ST                                                                                 ANDERSON        IN     46017‐9677
HODSON, GEORGE E      1652 COLUMBUS CIR                                                                            NAPLES          FL     34110‐8307
HODSON, HAROLD L      14301 W MAIN ST                                                                              DALEVILLE       IN     47334‐9362
HODSON, HAROLD W      7722 E 200 S                                                                                 GREENTOWN       IN     46936‐9138
HODSON, JACK G        7733 E STATE ROAD 26                                                                         RUSSIAVILLE     IN     46979‐9007
HODSON, JACKIE D      18156 MILLSPRING DR                                                                          FOLEY           AL     36535‐5086
HODSON, JAMES A       211 PINE STREET                                                                              CORUNNA         MI     48817‐1030
HODSON, JAMES E       6825 N COUNTY ROAD 700 W                                                                     MIDDLETOWN      IN     47356‐9441
HODSON, JAYSON W
HODSON, JEFFREY D     6362 VASSAR RD                                                                               GRAND BLANC    MI      48439‐9763
HODSON, JEFFREY D     115 WEBBER DR                                                                                ROCHESTER      NY      14626‐4034
HODSON, JERRY L       3719 HAMILTON PL                                                                             ANDERSON       IN      46013‐5275
HODSON, JERRY P       4807 W US 36                                                                                 MIDDLETOWN     IN      47356
HODSON, JOHN          PO BOX 39                                                                                    OAKFORD        IN      46965‐0039
HODSON, JOHN E        313 REDBUD BLVD S                                                                            ANDERSON       IN      46013‐1076
HODSON, JOHN R        7414 LAWRENCE ST                                                                             GRAND BLANC    MI      48439‐9366
HODSON, JOYCE R       303 OLIVE ST                                                                                 ANDERSON       IN      46017‐9677
HODSON, KENNETH D     24066 STATE ROAD 37 N                                                                        NOBLESVILLE    IN      46060‐6964
HODSON, KENNETH E     3106 E 11TH ST                                                                               ANDERSON       IN      46012‐4512
HODSON, LARRY L       303 E GURLEY ST #404                                                                         PRESCOTT       AZ      86301
HODSON, LARRY W       210 VIRGINIA AVE                                                                             WASHINGTON     OH      45458‐2253
                                                                                                                   TOWNSHIP
HODSON, LOWELL J      PO BOX 190554                                                                                BURTON         MI      48519‐0554
HODSON, MADELINE      1015 S BELL ST                                                                               KOKOMO         IN      46902‐1612
HODSON, MARION J      1576 RAMAH CT                                                                                CENTERVILLE    OH      45458‐6088
HODSON, MARION R      12519 W STATE ROAD 32                                                                        PARKER CITY    IN      47368‐9397
HODSON, MARY K        12064 W 00 N S                                                                               RUSSIAVILLE    IN      46979
HODSON, MARY L        215 WOODHAVEN DR                                                                             BRIDGEVILLE    PA      15017‐1223
HODSON, MARY Q        5926 S 475 E                                                                                 MARKLEVILLE    IN      46056‐9724
HODSON, MATTHEW       3987 S STATE ROAD 55                                                                         OXFORD         IN      47971‐8635
HODSON, MELISSA S     106 GREEN VALLEY DR                                                                          ALEXANDRIA     IN      46001‐1210
HODSON, MICHAEL E     3508 WHITE RIVER CT                                                                          ANDERSON       IN      46012‐4650
HODSON, PATRICIA C    1107 LENNOX ST.                                                                              ANDERSON       IN      46012‐4422
HODSON, PATRICIA C    4500 S 100 E                                                                                 ANDERSON       IN      46013
HODSON, PATRICIA P    8973 WEST COUNTRY RD. 300 NORTH                                                              SHIRLEY        IN      47384
HODSON, PAULETTA G    7733 E STATE ROAD 26                                                                         RUSSIAVILLE    IN      46979‐9007
HODSON, PAULINE K     10847 W. OLIVE AVE                APT 1116                                                   PEORIA         AZ      85345
HODSON, PAULINE K     10847 W OLIVE AVE APT 1116                                                                   PEORIA         AZ      85345‐9212
HODSON, RALPH B       5926 S 475 E                                                                                 MARKLEVILLE    IN      46056‐9724
HODSON, REBECCA S     211 PINE STREET                                                                              CORUNNA        MI      48817‐1030
HODSON, REBECCA SUE   211 PINE STREET                                                                              CORUNNA        MI      48817‐1030
HODSON, ROBERT M      6 WINDRIDGE ST                                                                               ANDERSON       IN      46011‐1227
HODSON, RONALD K      1200 W RIVER RD                   LOT 83                                                     SPARTA         WI      54656
HODSON, RONALD K      LOT 83                            1200 RIVER ROAD                                            SPARTA         WI      54656‐4201
HODSON, RONALD K      1200 RIVER RD LOT 83                                                                         SPARTA         WI      54656‐4201
HODSON, STEPHEN J     12243 HOGAN RD                                                                               GAINES         MI      48436‐9745
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Name                            Address1                        Address2                      Address3   Address4               City            State Zip
HODSON, TERESA J
HODSON, THOMAS J                224 S MUSTIN DR                                                                                 ANDERSON        IN    46012‐3158
HODSON, THOMAS W                2655 TOMPKINS DR                                                                                DAYTON          OH    45430
HODSON, WANDA L                 3508 WHITE RIVER CT                                                                             ANDERSON        IN    46012‐4650
HODSON, WILLIAM E               307 E 1ST ST                                                                                    MICHIGANTOWN    IN    46057‐9608
HODSON, YOLA Y                  14075 MOFFETT DRIVE                                                                             FENTON          MI    48430‐1423
HODULIK, ELIZABETH M            1011 COPELLA RD                                                                                 BATH            PA    18014‐8703
HODUPP, JAMES M                 4391 E 350 N                                                                                    MARION          IN    46952‐9627
HODYNA, CATHERINE M             529 SHAWMUT BLVD NW                                                                             GRAND RAPIDS    MI    49504‐4747
HODYNA, EVELYN J                6912 ERIC AVE                                                                                   JENISON         MI    49428‐8183
HODZIC MAHIR                    106 SMITH LN APT 23                                                                             SYRACUSE        NY    13210‐4602
HODZIC, MAHIR                   39435 VAN DYKE AVE APT 302                                                                      STERLING HTS    MI    48313‐4648
HOE, MARION P                   3626 MUIRFIELD DR                                                                               TITUSVILLE      FL    32780‐3405
HOEBBEL, TIMOTHY A              20508 CATHEDRAL LANE                                                                            MC CALLA        AL    35111‐2133
HOEBEKE, ADRIAN J               0‐11890 NICKELS DRIVE                                                                           GRAND RAPIDS    MI    49534
HOEBER, ELMER S                 15 ROSE DR                                                                                      SAINT CHARLES   MO    63304‐6828
HOEBER, THOMAS G                1163 CHURCH RD                                                                                  ANGOLA          NY    14006‐8830
HOEBER, THOMAS GEORGE           1163 CHURCH RD                                                                                  ANGOLA          NY    14006‐8830
HOECHST CELANESE CORP.          ROUTE 202‐206 NORTH                                                                             SOMERVILLE      NJ    08876
HOECHST/AUBURN HILLS            1195 CENTRE RD                                                                                  AUBURN HILLS    MI    48326‐2603
HOECKER WILLIAM H (472070)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA    23510
                                                                STREET, SUITE 600
HOECKER WOLFGANG                ERNST‐REIN‐STR. 50              D‐33613 BIELEFELD
HOECKER, BRIAN L                9515 N ADRIAN AVE                                                                               KANSAS CITY     MO    64154‐1143
HOECKER, BRIAN LYNN             5308 STONERIDGE DR                                                                              SAINT JOSEPH    MO    64507‐9601
HOECKER, WILLIAM H              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA    23510
                                                                STREET, SUITE 600
HOEDL, CAROLYN M                155 CLUBVIEW DR                                                                                 SAFETY HARBOR   FL    34695‐4630
HOEDL, WILLIBALD                3052 LAHRING ROAD                                                                               FENTON          MI    48430‐8801
HOEDT PHILLIP A                 2560 KEY ST APT 2C                                                                              TOLEDO          OH    43614‐4829
HOEDT, PHILLIP A                2560 KEY ST APT 2C                                                                              TOLEDO          OH    43614‐4829
HOEDT, PHILLIP ARTHUR           2560 KEY ST APT 2C                                                                              TOLEDO          OH    43614‐4829
HOEF, CHARLES                   6654 FISHER WOODS RD                                                                            INDIAN RIVER    MI    49749‐9319
HOEF, CHARLES M                 1861 MACKINAW RD                                                                                TURNER          MI    48765‐9741
HOEF, CHARLES MARTIN            1861 MACKINAW RD                                                                                TURNER          MI    48765‐9741
HOEF, MATTHEW J                 935 DRAKESHIRE DR                                                                               COMMERCE        MI    48390‐2937
                                                                                                                                TOWNSHIP
HOEFELMEYER, CHERYL M           RR 6 BOX 286B                                                                                   MARSHALL        NC    28753
HOEFENER, THOMAS P              15W425 LEXINGTON ST                                                                             ELMHURST        IL    60126‐5356
HOEFER DAVID                    HOEFER, DAVID                   71 DEER RUN HOLLOW                                              CLIFTON PARK    NY    12065‐5668
HOEFER LAWRENCE (667463)        LEVY PHILLIPS & KONIGSBERG      800 3RD AVE 13TH FLOOR                                          NEW YORK        NY    10022‐4213
HOEFER, DAVID AND MARY HOEFER   71 DEER RUN HOLW                                                                                CLIFTON PARK    NY    12065‐5668
HOEFER, EDITH                   6225 CORWIN STATION                                                                             NEWFANE         NY    14108‐9745
HOEFER, KEVIN M                 PO BOX 148                                                                                      NEWFANE         NY    14108
HOEFER, LAWRENCE                LEVY PHILLIPS & KONIGSBERG      520 MADISON AVE, 31ST FLOOR                                     NEW YORK        NY    10022
HOEFER, SHANE L                 2659 MEADOWVIEW DRIVE                                                                           JANESVILLE      WI    53546‐4380
HOEFERT, PATRICIA D             4605 IMPIRE LANE                                                                                WATERFORD       WI    53185
HOEFFEL, DAVID L                1830 WOOD CREE CT                                                                               DEFIANCE        OH    43512‐3360
HOEFFEL, GERALD A               13814 W ELM ST                                                                                  SURPRISE        AZ    85374‐7035
HOEFFEL, JERAD N                22608 BOWMAN RD                                                                                 DEFIANCE        OH    43512‐8991
HOEFFEL, LEE J                  360 KOERBER DR                                                                                  DEFIANCE        OH    43512‐3318
HOEFFEL, LUCILLE R              350 KOERBER DR                                                                                  DEFIANCE        OH    43512‐3318
HOEFFEL, MARTIN J               1768 ARROWHEAD CT                                                                               DEFIANCE        OH    43512‐3355
HOEFFEL, TODD J                 3031 E HARTMAN RD                                                                               COLUMBIA CITY   IN    46725‐8450
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Name                            Address1                         Address2                     Address3       Address4                City               State   Zip
HOEFFEL, TODD J.                3031 E HARTMAN RD                                                                                    COLUMBIA CITY       IN     46725‐8450
HOEFFGEN, BARBARA J             1070 BELBURN CIR                                                                                     GRAND BLANC         MI     48439‐8911
HOEFFLER MARTIN L JR (476167)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                          BALTIMORE           MD     21202
                                                                 CHARLES CENTER 22ND FLOOR
HOEFFLER, MARTIN L              ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                           BALTIMORE          MD      21202
                                                                 CHARLES CENTER 22ND FLOOR
HOEFFLIN, GLENN W               2496 GOLFVIEW CIR                                                                                    FENTON             MI      48430‐9633
HOEFFNER, HANNAH M              11981 ORLEANS CIR                                                                                    COMMERCE CITY      CO      80022‐9667
HOEFFNER, IRENE                 8283 YUKON CT                                                                                        ARVADA             CO      80005‐2535
HOEFFNER, MARY L                5930 CALDWELL ST                                                                                     WACO               TX      76710‐2655
HOEFFNER, RENE L                8283 YUKON CT                                                                                        ARVADA             CO      80005‐2535
HOEFFS, ROGER V                 259 GIRARD AVE                                                                                       EAST AURORA        NY      14052‐1305
HOEFGEN, DAVID                  W 367 S 4601 HWY 67                                                                                  DOUSMAN            WI      53118
HOEFLAAK, VIRGINIA M            2627 SE 175TH TERRACE RD                                                                             SILVER SPRINGS     FL      34488‐6288
HOEFLAAK, VIRGINIA M            2627 S.E. 175TH TERRACE ROAD                                                                         SILVER SPRINGS     FL      34488‐6288
HOEFLE, GERALD W                703 HERITAGE LN APT B                                                                                LARGO              FL      33770‐2176
HOEFLE, JOHN K                  44 PENNINGTON CT                                                                                     DELANCO            NJ      08075‐5224
HOEFLE, ROWLAND                 10 W 5TH ST                                                                                          BURLINGTON         NJ      08016‐3201
HOEFLER, DAVID G                603 FRANKLIN AVE                                                                                     UNION              OH      45322‐3214
HOEFLER, FRANK R                3265 E U.S 4O                                                                                        LEWISBURG          OH      45338
HOEFLER, KENNETH A              12010 ARCOLA ST                                                                                      LIVONIA            MI      48150‐2346
HOEFLER, KENNETH ALLEN          12010 ARCOLA ST                                                                                      LIVONIA            MI      48150‐2346
HOEFLER, PHILLIP J              54485 CONGAREE DR                                                                                    MACOMB             MI      48042‐6146
HOEFLICH, JAMES J               2590 BASELINE RD                                                                                     GRAND ISLAND       NY      14072‐1653
HOEFLICKER, WALTER E            603 S DRURY LN                                                                                       OLATHE             KS      66061‐4807
HOEFLING, GERALD E              14 COBBLESTONE PL                                                                                    SAGINAW            MI      48603‐3545
HOEFLING, JULIUS F              565 1/2 RIO LINDA LN                                                                                 GRAND JUNCTION     CO      81507
HOEFLING, LITSA                 14 COBBLESTONE PL                                                                                    SAGINAW            MI      48603‐3545
HOEFLINGER KARL (499329)        LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                             MIAMI              FL      33143‐5163
HOEFLINGER, KARL                THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD      SUITE 44                               CORAL GABLES       FL      33146
HOEFLINGER, KARL                LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                             MIAMI              FL      33143‐5163
HOEFLINGER, RODNEY P            PO BOX 519                                                                                           MOUNT MORRIS       MI      48458‐0519
HOEFLINGER, RODNEY PAUL         PO BOX 519                                                                                           MOUNT MORRIS       MI      48458‐0519
HOEFNER, PAMELA S               378 IMAGINATION DR                                                                                   ANDERSON           IN      46013‐1096
HOEFS, MARION H                 3400 W RIGGIN RD UNIT 54                                                                             MUNCIE             IN      47304‐6169
HOEFSMIT BARBARA                10209 MARINE VIEW DR SW                                                                              BURIEN             WA      98146‐1083
HOEFT, DONALD S                 3820 BURNING TREE DR                                                                                 BLOOMFIELD HILLS   MI      48302‐1517
HOEFT, JACK W                   2613 YUMA DR                                                                                         BOWLING GREEN      KY      42104‐4270
HOEFT, JACK WILLIAM             2613 YUMA DR                                                                                         BOWLING GREEN      KY      42104‐4270
HOEFT, JOHN E                   PO BOX 1178                                                                                          GOLETA             CA      93116‐1178
HOEFT, ROGER L                  5076 BATES RD                                                                                        HAWKS              MI      49743‐9791
HOEGANAES CORPORATION           1001 TAYLORS LN                                                                                      CINNAMINSON        NJ      08077‐2017
HOEGEMEYER, NEAL R              3150 BLOOMCREST DR                                                                                   SHELBY TWP         MI      48316‐2933
HOEGERLE, HEINRICH J            9 FAIRCHILD PL                                                                                       BUFFALO            NY      14216‐2724
HOEGH AUTOLINERS AS             OYVIND ERVIK                     DRAMMENSVEIEN 134            BOX 4 SKOYEN   OSLO NO‐0212 NORWAY
HOEGH AUTOLINERS AS             STE 210                          50 JERICHO QUADRANGLE                                               JERICHO            NY      11753‐2726
HOEGLER, JERRY D                16131 KANSAS AVE                                                                                     BONNER SPRNGS      KS      66012‐7039
HOEGLER, JERRY DALE             16131 KANSAS AVE                                                                                     BONNER SPRNGS      KS      66012‐7039
HOEGLER, PAUL F                 18010 NW JADE CT                                                                                     PARKVILLE          MO      64152‐1171
HOEGMAN, DALE A                 BOONE ALEXANDRA                  205 LINDA DR                                                        DAINGERFIELD       TX      75638‐2107
HOEH, CHRISTOPHER S             7841 WINDHAVEN LN                                                                                    BRIGHTON           MI      48114‐7316
HOEH, DOUGLAS M                 5200 MCGRANDY RD                                                                                     BRIDGEPORT         MI      48722‐9784
HOEH, DOUGLAS MAYNARD           5200 MCGRANDY RD                                                                                     BRIDGEPORT         MI      48722‐9784
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Name                                 Address1                        Address2                        Address3   Address4               City               State Zip
HOEHN CHARLES (ESTATE OF) (489092)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD          OH 44067
                                                                     PROFESSIONAL BLDG
HOEHN PL/POSEYVILLE                  PO BOX 248                      11481 W 925 S                                                     POSEYVILLE         IN   47633‐0248
HOEHN, BRUCE F                       213 WINDSOR AVE                                                                                   GLASGOW            KY   42141‐2255
HOEHN, CLAUDE F                      347 LYONS DR                                                                                      TROY               MO   63379‐2531
HOEHN, DARON                         APT 103                         174 KILLDEER CIRCLE                                               MOSCOW MILLS       MO   63362‐2085
HOEHN, FRED A                        14431 MILLARD AVE                                                                                 MIDLOTHIAN         IL   60445‐2925
HOEHN, GARY T                        8571 ROAD 11H                                                                                     OTTAWA             OH   45875‐9666
HOEHN, MARY P                        3803 PARKWAY LANE                                                                                 ZION               IL   60099‐1959
HOEHN, RALPH E                       2654 PCR 500                                                                                      PERRYVILLE         MO   63775‐8267
HOEHN, ROBERT A                      11436 HIGH DR                                                                                     LEAWOOD            KS   66211
HOEHN, ROLAND J                      3803 PARKWAY LN                                                                                   ZION               IL   60099‐1959
HOEHN, VERNON L                      700 E EUCLID AVE APT 204                                                                          PROSPECT HEIGHTS   IL   60070‐3433

HOEHNER, KENNETH C                   2 SHENANDOAH CIR                                                                                  SYLVANIA           OH   43560‐4110
HOEHNKE, RONALD                      1820 MARQUETTE AVE                                                                                SOUTH MILWAUKEE    WI   53172‐2318

HOEK HOLDINGS LLC                    C/O CORA HOEK                   8331 ALAMO RD                                                     BRENTWOOD          TN   37027
HOEK, PATRICIA L                     7650 PARK LANE AVE                                                                                JENISON            MI   49428‐9113
HOEK, STEPHEN J                      PO BOX 680324                                                                                     FRANKLIN           TN   37068‐0324
HOEKMAN, LEROY J                     2260 STONEHAVEN DR                                                                                SUN PRAIRIE        WI   53590‐3864
HOEKMAN, RAYMOND                     703 PEACH LN                                                                                      FREMONT            MI   49412‐9057
HOEKSEMA, EMMA                       935 OAKCREST LN                                                                                   JENISON            MI   49428‐8349
HOEKSEMA, EMMA                       935 OAK CREST LN                                                                                  JENISON            MI   49428‐8349
HOEKSEMA, GARY A                     1902 S SUMMERS RD                                                                                 IMLAY CITY         MI   48444‐9787
HOEKSEMA, GORDON W                   5321 HEATH AVE                                                                                    CLARKSTON          MI   48346‐3534
HOEKSEMA, GRACE A                    4214 APPLETREE LN                                                                                 LANSING            MI   48917‐1601
HOEKSEMA, JOYCE L                    PO BOX 802620                                                                                     LANSING            MI   48908‐0252
HOEKSEMA, RANDALL K                  1061 WASHTENAW ST NE                                                                              GRAND RAPIDS       MI   49505‐4849
HOEKSEMA, ROBERT D                   1830 RICHMOND ST NW                                                                               GRAND RAPIDS       MI   49504‐2606
HOEKSEMA, STEVEN                     4214 APPLETREE LN                                                                                 LANSING            MI   48917‐1601
HOEKSEMA, TIMOTHY S                  1252 E HORSESHOE CT                                                                               ROCHESTER HILLS    MI   48306‐4148
HOEKSTRA CHARLES J (484855)          KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                     CLEVELAND          OH   44114
                                                                     BOND COURT BUILDING
HOEKSTRA I I I, DOUGLAS L            1041 CYPRESS DR                                                                                   JENISON            MI   49428‐8334
HOEKSTRA III, DOUGLAS LEE            1041 CYPRESS DR                                                                                   JENISON            MI   49428‐8334
HOEKSTRA JR., DOUGLAS L              2974 VICKY DR SW                                                                                  WYOMING            MI   49418‐8720
HOEKSTRA TRUCK EQUIPMENT             JOHN HOEKSTRA                   260 36TH ST SE                                                    GRAND RAPIDS       MI   49548‐2257
HOEKSTRA TRUCK EQUIPMENT             260 36TH ST SE                                                                                    GRAND RAPIDS       MI   49548‐2257
HOEKSTRA TRUCK EQUIPMENT
HOEKSTRA TRUCK EQUIPMENT CO., INC.

HOEKSTRA TRUCK EQUIPMENT CO., INC.   260 36TH ST SE                                                                                    GRAND RAPIDS       MI   49548‐2257

HOEKSTRA, ALEXANDER F                668 FAIRWAY DR                  SUITE 143                                                         SAN BERNARDINO     CA   92408
HOEKSTRA, CHARLES J                  KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                      CLEVELAND          OH   44114
                                                                     BOND COURT BUILDING
HOEKSTRA, DANIEL D                   2661 UNION AVE SE                                                                                 GRAND RAPIDS       MI   49507‐3546
HOEKSTRA, DANIEL DAVID               2661 UNION AVE SE                                                                                 GRAND RAPIDS       MI   49507‐3546
HOEKSTRA, GARY A                     3253 ELWOOD AVE SW                                                                                GRANDVILLE         MI   49418‐1622
HOEKSTRA, JACOB                      81325 M‐51 NORTH                                                                                  DECATUR            MI   49045
HOEKSTRA, JACOB R                    33165 FREDRICK ST                                                                                 PAW PAW            MI   49079‐9507
HOEKSTRA, KRISTIE L                  5975 APPLEVIEW ST SE                                                                              KENTWOOD           MI   49508‐6567
HOEKSTRA, PATSY A                    3646 JASON RIDGE LANE SW                                                                          GRAND RAPIDS       MI   49534
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Name                      Address1                           Address2                      Address3   Address4               City               State   Zip
HOEKSTRA, ROBIN H.        5082 KALAMAZOO AVE SE                                                                              GRAND RAPIDS        MI     49508‐4883
HOEKVELD, LOUIS           32000 RIVERPOINT ST                                                                                CHESTERFIELD        MI     48047‐2256
HOEKWATER, ROBERT         9065 108TH AVE                                                                                     ZEELAND             MI     49464‐9769
HOEL, ANN R               737 KENSINGTON SQ                                                                                  STOUGHTON           WI     53589‐4839
HOEL, CATHERINE L         PO BOX 2604                                                                                        KOKOMO              IN     46904‐2604
HOEL, WILLIAM R           14625 E MERRY DR                                                                                   CAMDEN              MI     49232‐9768
HOELAARS, GEORGE J        1721 FORESTDALE CT                                                                                 ROYAL OAK           MI     48067‐1104
HOELBL, WERNER J          2325 BERBEROVICH DR                                                                                SAGINAW             MI     48603‐3607
HOELBLING, JUNE E         3 QUAKER RD APT 3                                                                                  PITTSFORD           NY     14534‐1253
HOELDTKE, NORMAN W        3234 WALTAN RD                                                                                     VASSAR              MI     48768‐9539
HOELDTKE, TIMOTHY W       10780 CENTRAL AVE                                                                                  INDIANAPOLIS        IN     46280
HOELDTKE, WILLIAM L       PO BOX 176                         C/O HURON COUNTY PUBLIC                                         BAD AXE             MI     48413‐0176
                                                             GUARDIAN
HOELDTKE, WILLIAM L       C/O HURON COUNTY PUBLIC GUARDIAN   250 EAST HURON AVENUE                                           BAD AXE             MI     48413

HOELGA SALINAS            12063 SCHONBORN PL                                                                                 CLIO               MI      48420‐2145
HOELLE, HERBERT           2581 MINTON RD                                                                                     HAMILTON           OH      45013‐4335
HOELLE, MARY A            322 LEESVILLE RD                                                                                   JACKSON            NJ      08527
HOELLEN, LEE R            213 SELSEA DR                                                                                      EASLEY             SC      29642‐8990
HOELLIG, RICHARD E        12 LOIS DR                                                                                         CHEEKTOWAGA        NY      14227‐3509
HOELLRICH, DAN L          C754 COUNTY ROAD 15                                                                                NEW BAVARIA        OH      43548‐9504
HOELLRICH, DAVID          28361 BLANCHARD RD                                                                                 DEFIANCE           OH      43512‐8905
HOELLRICH, DONALD O       6006 WINTERHAVEN DR                                                                                SYLVANIA           OH      43560‐9627
HOELLRICH, LOWELL C       L‐873‐17C RT. #2                                                                                   NAPOLEON           OH      43545
HOELLRICH, RICKY A        15461 CULLEN RD                                                                                    DEFIANCE           OH      43512‐8835
HOELSCHER, BRUCE E        3612 S GRAND TRAVERSE ST                                                                           FLINT              MI      48507‐1714
HOELSCHER, CAROLE L       1121 BARCHESTER ST                                                                                 WESTLAND           MI      48186‐3794
HOELSCHER, CAROLE LYNNE   1121 BARCHESTER ST                                                                                 WESTLAND           MI      48186‐3794
HOELSCHER, CLEM A         1308 DOGWOOD DRIVE                                                                                 GREENWOOD          MO      64034‐8674
HOELSCHER, CLEM H         1308 DOGWOOD DR                                                                                    GREENWOOD          MO      64034‐8674
HOELSCHER, CURTIS         GUY WILLIAM S                      PO BOX 509                                                      MCCOMB             MS      39649‐0509
HOELSCHER, DANIEL R       49990 BEMIS RD                                                                                     BELLEVILLE         MI      48111‐9766
HOELSCHER, DORA A         7127 MEADOWVUE DR                                                                                  GRAND BLANC        MI      48439‐1604
HOELSCHER, JESSIE P       3021 CLAIRMONT                                                                                     INDEPENDENCE       MO      64052‐3043
HOELSCHER, MICHAEL J      7848 BAYER DR                                                                                      WEST CHESTER       OH      45069
HOELSCHER, ROBERT C       31051 STEPHEN AVE                                                                                  WESTLAND           MI      48185‐1636
HOELSCHER, RONALD B       129 NILL ST                                                                                        BRADFORD           OH      45308‐1015
HOELSCHER, STEPHEN H      35241 OLD HOMESTEAD DR                                                                             FARMINGTON HILLS   MI      48335‐1342

HOELSCHER, VILAS          GUY WILLIAM S                      PO BOX 509                                                      MCCOMB             MS      39649‐0509
HOELSCHER, WILLIAM J      3521 SYLVAN DR                                                                                     LUCAS              OH      44843‐9766
HOELTGE, GARY W           2667 FREYMUTH RD                                                                                   O FALLON           MO      63366‐5009
HOELTGEN, COLLEEN M       12669 W DORADO PL                                                                                  LITTLETON          CO      80127‐2166
HOELTJE, OLLIE            2522 PHILWOOD DR                                                                                   INDIANAPOLIS       IN      46224‐3359
HOELTZEL, DEWITT R        92 W GLEN AVE                                                                                      TWIN LAKE          MI      49457‐9418
HOELTZER, LARISSA         81 LABELLE TER                                                                                     AMHERST            NY      14228‐1330
HOELZ MURRAY J (439141)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510
                                                             STREET, SUITE 600
HOELZ, CARLA J            5326 N HOLLYWOOD AVE                                                                               MILWAUKEE           WI     53217‐5323
HOELZ, MURRAY J           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                             STREET, SUITE 600
HOELZEL, FLORENCE A       2939 ELDORA DR                                                                                     YOUNGSTOWN         OH      44511‐1247
HOELZEL, GERARD           169 STONEHENGE TER                                                                                 CLARK              NJ      07066‐2034
HOELZEL, RICHARD F        624 PEMBROOK LN                                                                                    CHATTANOOGA        TN      37421‐8805
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Name                             Address1                        Address2                      Address3   Address4               City             State   Zip
HOELZEL, RICHARD F               201 GILLESPIE DR APT 14202                                                                      FRANKLIN          TN     37067‐5730
HOELZER, DOUGLAS W               338 MEIGS ST                                                                                    SANDUSKY          OH     44870‐2926
HOELZER, JEFFREY                 3529 JEANETTE DR                                                                                SANDUSKY          OH     44870‐6091
HOELZER, JOHN L                  2713 FAIRMONT LN                                                                                SANDUSKY          OH     44870‐5913
HOELZER, RONALD L                914 DECATUR ST                                                                                  SANDUSKY          OH     44870‐3377
HOELZL, DEBORAH F                4257 FREEMAN RD                                                                                 MIDDLEPORT        NY     14105‐9640
HOELZL, ROBERT J                 4257 FREEMAN RD                                                                                 MIDDLEPORT        NY     14105‐9640
HOELZLE, BEATRICE M              330 YORKTOWN PL APT C4                                                                          VERMILION         OH     44089‐2105
HOELZLE, HAROLD C                330 YORKTOWN PL APT C4                                                                          VERMILION         OH     44089
HOELZLE, PATRICIA L              100 MC AULEY DRIVE              APT 225                                                         ROCHESTER         NY     14610
HOELZLE, PATRICIA L              100 MCAULEY DR APT 225                                                                          ROCHESTER         NY     14610‐2300
HOELZLE, WILLIAM R               6595 LANSDOWN DR                                                                                DIMONDALE         MI     48821‐9428
HOEMAN, JEFFERY P                48170 RED RUN DR                                                                                CANTON            MI     48187‐5442
HOEMANN JR, BARTHOLD H           5 BALMORAL PL                                                                                   HILTON HEAD       SC     29926‐2270
                                                                                                                                 ISLAND
HOEMANN, FRIEDA                  9320 FOX GLEN DR                                                                                SAINT LOUIS      MO      63126‐2927
HOEMANN, IVO J                   7535 ALICIA AVE                                                                                 SAINT LOUIS      MO      63143‐1201
HOEMANN, NELDA E                 7535 ALICIA                                                                                     ST LOUIS         MO      63143‐1201
HOEMANN, NELDA E                 7535 ALICIA AVE                                                                                 SAINT LOUIS      MO      63143‐1201
HOEMANN, RAYMOND J               9320 FOX GLEN DR                                                                                SAINT LOUIS      MO      63126‐2927
HOEMBERG F W (439142)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA      23510
                                                                 STREET, SUITE 600
HOEMBERG PAUL VINCENT (342661)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510
                                                                 STREET, SUITE 600
HOEMBERG, F W                    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510
                                                                 STREET, SUITE 600
HOEMBERG, PAUL VINCENT           C/O GLASSER AND GLASSER         CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510‐2212
                                                                 STREET, SUITE 600
HOEMKE, EVELYN C                 4252 PRAIRIE AVE                                                                                BERKLEY          MI      48072‐3153
HOEMKE, EVELYN C                 4252 PRAIRIE                                                                                    BERKLEY          MI      48072‐3153
HOEN, CALEB                      1710 PERRYSBURG HOLLAND RD                                                                      HOLLAND          OH      43528‐9581
HOENE, HARLEY F                  1012 SO MAIN ST                                                                                 FT ATKINSON      WI      53538‐2518
HOENE, HARLEY F                  1012 S MAIN ST                                                                                  FORT ATKINSON    WI      53538‐2518
HOENECKE, LOUISE O               33167 OAKLEY ST                                                                                 LIVONIA          MI      48154‐3591
HOENEMANN, GARY L                120 3RD ST N                                                                                    ROSEBUD          MO      63091‐1017
HOENER, ELDRED M                 2012 CHESTNUT STREET                                                                            DEARBORN         MI      48124‐4354
HOENER, HENRY A                  2400 S FINLEY RD APT 102                                                                        LOMBARD          IL      60148‐6493
HOENER, MONICA                   1735 LITTLE BAY RD                                                                              HERMANN          MO      65041
HOENES, SIEGFRIED W              7378 E LYNNE CT                                                                                 WASHINGTON       MI      48095‐1241
HOENICK, ROBERT J                517 LLOYD AVE                                                                                   PROVIDENCE       RI      02906‐5410
HOENICKE, GARY R                 4239 FRANKFORT FORD RD                                                                          WILMORE          KY      40390
HOENICKE, SHIRLEY C              1428 SURREY HEIGHTS DR                                                                          WESTLAND         MI      48186
HOENIG, ANGELA                   5606 CENTURY AVE                                                                                PITTSBURGH       PA      15261‐0001
HOENIG, DORIS E                  2191 ROCKBRIDGE RD APT 401                                                                      STONE MOUNTAIN   GA      30087‐3591
HOENIGER JOHN A (626573)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA      23510
                                                                 STREET, SUITE 600
HOENIGER, JOHN A                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510‐2212
                                                                 STREET, SUITE 600
HOENIGMAN, JOHN J                1038 VIA LOS PADRES                                                                             SANTA BARBARA    CA      93111‐1345
HOENIGMAN, REITA A               1902 PIPE ST                                                                                    SANDUSKY         OH      44870‐5043
HOENKE SHANE                     2128 WESTGATE PLACE                                                                             RAPID CITY       SD      57702‐5191
HOENKE, PAUL O                   1360 DONALDSON BLVD                                                                             FLINT            MI      48504‐3209
HOENSHELL, ROGER D               1325 WHITE OAK ST                                                                               HARRISONVILLE    MO      64701‐3079
HOENSHELL, TERRY C               1301 S PEARCE ST                                                                                OWOSSO           MI      48867‐4304
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Name                             Address1                          Address2                    Address3             Address4                 City             State   Zip
HOENSHELL, TERRY D               31312 S CLEMENT RD                                                                                          HARRISONVILLE     MO     64701‐8116
HOENSHELL, TERRY DEAN            31312 S CLEMENT RD                                                                                          HARRISONVILLE     MO     64701‐8116
HOENSTINE, JACK M                7140 ADELLE ST                                                                                              FLUSHING          MI     48433‐8818
HOENSTINE, PHYLLIS A             7140 ADELLE ST                                                                                              FLUSHING          MI     48433‐8818
HOEPER, NOLA M                   W1545 COUNTY K                                                                                              JUDA              WI     53550‐9740
HOEPER, ROBERT J                 4055 N GOLF LN                                                                                              BRODHEAD          WI     53520
HOEPFNER, FRANKLIN P             5348 LAKESHORE RD                                                                                           FORT GRATIOT      MI     48059‐3118
HOEPFNER, THEODORE E             6865 LAGRANGE GROVE RD                                                                                      CORDOVA           TN     38018‐2867
HOEPKER TOM (631269)             COON BRENT & ASSOCIATES           2010 S BIG BEND BLVD                                                      SAINT LOUIS       MO     63117‐2404
HOEPKER, TOM                     COON BRENT & ASSOCIATES           2010 S BIG BEND BLVD                                                      SAINT LOUIS       MO     63117‐2404
HOEPNER, DELINDA M               320 CHASTAIN CT                                                                                             MURRELLS INLET    SC     29576
HOEPNER, HAROLD J                320 CHASTAIN COURT                                                                                          MURRELLS INLT     SC     29576‐7224
HOEPNER, MARY A                  1513 S DIXON RD                                                                                             KOKOMO            IN     46902‐5931
HOEPPNER ELLEN                   5609 S 73RD ST                                                                                              LINCOLN           NE     68516‐4320
HOEPPNER JR, FREDERICK H         8611 MAPLE AVE                                                                                              RAYTOWN           MO     64138‐3358
HOEPPNER WAGNER & EVANS          103 LINCOLNWAY                                                                                              VALPARAISO        IN     46383‐5637
HOEPPNER, EGON R                 3520 N SYCAMORE DR                                                                                          MARION            IN     46952‐9701
HOEPPNER, ERIC S                 611 N ELMHURST AVE                                                                                          MT PROSPECT        IL    60056‐2015
HOEPPNER, FRANCES A              715 DEBORAH CT                                                                                              MANSFIELD         OH     44904‐2115
HOEPPNER, MARVIN H               1935 HANDLEY ST                                                                                             SAGINAW           MI     48602‐3666
HOEPPNER, RAYMOND W              14146 GYPSY RD                                                                                              WARSAW            MO     65355‐3911
HOEPPNER, WILFRED A              2675 CHURCHILL LN APT 1                                                                                     SAGINAW           MI     48603‐2689
HOER, NAOMI R                    600 VIRGINIA STREET                                                                                         UNION             MO     63084‐2240
HOER, NAOMI R                    600 VIRGINIA AVE                                                                                            UNION             MO     63084‐2240
HOERAUF, DAVID M                 4156 MCCANDLISH RD                                                                                          GRAND BLANC       MI     48439‐1802
HOERAUF, DAVID MICHAEL           4156 MCCANDLISH RD                                                                                          GRAND BLANC       MI     48439‐1802
HOERAUF, JOSH J                  2464 ALLERTON RD                                                                                            AUBURN HILLS      MI     48326‐2508
HOERAUF, JOSH JOHN               2464 ALLERTON RD                                                                                            AUBURN HILLS      MI     48326‐2508
HOERAUF, LENORE R                10 PINE GROVE                                                                                               FRANKENMUTH       MI     48734
HOERAUF, ROBERT K                21398 CLAYTON DR                                                                                            MACOMB            MI     48044‐1885
HOERAUF, RONALD O                755 S MACKINAW RD                                                                                           KAWKAWLIN         MI     48631‐9499
HOERBELT, CURTIS G               940 TOWN LINE RD                                                                                            LANCASTER         NY     14086‐9512
HOERBIGER ANTRIEBSTECHNIK GMBH   13 BERNBEURENER STR                                                                SCHONGAU D‐86956
                                                                                                                    GERMANY
HOERBIGER ANTRIEBSTECHNIK GMBH   MIKE CHAMBERS                     SEESHAUPTER STR 33                                                        FRASER            MI     48026
HOERBIGER ANTRIEBSTECHNIK GMBH   SEESHAUPTER STR 33                                                                 PENZBERG BY 82377
                                                                                                                    GERMANY
HOERBIGER ANTRIEBSTECHNIK GMBH   ERIC BROWN X106                   ANTRIEBSTECHNIK HOERBIGER   BERNBEURER STR 13C                            WESTMINSTER      MA      01473
HOERBIGER AUTOMOTIVE COMFORT S   284 ENTERPRISE DR                                                                                           AUBURN           AL      36830‐0503
HOERBIGER AUTOMOTIVE COMFORT S   JOHN COLISTRA X1010               284 ENTERPRISE DR                                                         AUBURN           AL      36830‐0503
HOERBIGER AUTOMOTIVE COMFORT     284 ENTERPRISE DR                                                                                           AUBURN           AL      36830‐0503
SYSTEM
HOERBIGER DRIVETECH USA INC      MARY WHITE                        229 ENTERPRISE DRIVE                             CALAIS 62102 FRANCE
HOERBIGER FINE STAMPING INC      555 PARKSIDE DRIVE                                                                 WATERLOO CANADA ON N2L
                                                                                                                    5E7 CANADA
HOERBIGER FINESTAMPING INC       555 PARKSIDE DR                                                                    WATERLOO ON N2L 5E7
                                                                                                                    CANADA
HOERBIGER HYDRAULICS INC         284 ENTERPRISE DR                                                                                           AUBURN            AL     36830‐0503
HOERBIGER HYDRAULICS INC.        284 ENTERPRISE DR                                                                                           AUBURN            AL     36830‐0503
HOERBIGER SERVICE INC            42 MONTROSE DR                                                                                              ROMEOVILLE        IL     60446‐1344
HOERBIGER STIFTUNG               2701 CAMBRIDGE COURT, SUITE 106                                                                             AUBURN HILLS      MI     48326
HOERBIGER STIFTUNG               555 PARKSIDE DR                                                                    WATERLOO ON N2L 5E7
                                                                                                                    CANADA
HOERBIGER STIFTUNG               BAARERSTRASSE 18                                                                   ZUG 6304 SWITZERLAND
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HOERBIGER STIFTUNG               ERIC BROWN X106                    ANTRIEBSTECHNIK HOERBIGER       BERNBEURER STR 13C   SCHONGAU GERMANY
HOERBIGER STIFTUNG               MARY WHITE                         229 ENTERPRISE DRIVE                                 CALAIS 62102 FRANCE
HOERBIGER STIFTUNG               MIKE CHAMBERS                      SEESHAUPTER STR 33                                   PENZBERG 82377 GERMANY
HOERBIGER STIFTUNG               SEESHAUPTER STR 33                                                                      PENZBERG BY 82377
                                                                                                                         GERMANY
HOERBIGER VALVETEC GMBH          BRAUNHUBERGASSE 23                                                                      WIEN AT 1110 AUSTRIA
HOERBIGER VALVETEC GMBH & COKG   A‐1110 VIENNA BRAUNHUBORGASSO 23   PO BOX 21                                            VIENNA A 1110 AUSTRIA

HOERCHLER JR, HENRY G            785 N 5TH ST                                                                                                     BREESE           IL   62230‐1333
HOERGER, RICHARD A               3913 PIGEON CREEK LN                                                                                             INDIANAPOLIS     IN   46234‐1347
HOERIG JAMES ELBON               HOERIG, JAMES ELBON                UNKNOWN
HOERIG, HERMAN R                 802 GLENGARY RD                                                                                                  TOLEDO          OH    43617‐2120
HOERIG, HERMAN ROBERT            802 GLENGARY RD                                                                                                  TOLEDO          OH    43617‐2120
HOERIG, REGINALD J               108 AMY PLACE                                                                                                    CORTLAND        OH    44410‐1314
HOERIG, REGINALD J               108 AMY PL                                                                                                       CORTLAND        OH    44410‐1314
HOERL, ANDREW                    70 AZALEA DR                                                                                                     JEFFERSON       GA    30549‐5684
HOERL, DOROTHY                   29 SNOW COURT                                                                                                    DEARBORN        MI    48124‐4138
HOERLE, DAWN E                   1625 FORD BLVD                                                                                                   LINCOLN PARK    MI    48146‐3903
HOERMLE WILLIAM (464170)         KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                                 CLEVELAND       OH    44114
                                                                    BOND COURT BUILDING
HOERMLE, WILLIAM                 KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                                  CLEVELAND       OH    44114
                                                                    BOND COURT BUILDING
HOERNER JR, KENNETH R            3645 N. NEVADA AVE.                                                                                              DAYTON          OH    45416‐1332
HOERNER JR, KENNETH R            3645 NEVADA AVE                                                                                                  DAYTON          OH    45416‐1332
HOERNER, CLYDE J                 342 N MAIN ST                                                                                                    FOWLER          MI    48835‐9701
HOERNER, DAVID L                 2111 NORTHERN DR                                                                                                 BEAVERCREEK     OH    45431‐3124
HOERNER, HARVEY D                10740 WACOUSTA RD                                                                                                DEWITT          MI    48820‐8071
HOERNER, HERBERT M               22912 MOSELLE DR                                                                                                 PORTER          TX    77365‐3690
HOERNER, JAMES P                 125 MCNAUGHTON AVE                                                                                               CHEEKTOWAGA     NY    14225‐4542
HOERNER, LAVERNE J               PO BOX 1255                                                                                                      FARMINGTON      AR    72730‐1255
HOERNER, MARK W                  3641 JULIE CT                                                                                                    N TONAWANDA     NY    14120‐1240
HOERNER, PAUL J                  18940 MELVIN ST                                                                                                  LIVONIA         MI    48152‐1929
HOERNER, REBECCA                 15520 LUXEMBURG                                                                                                  FRASER          MI    48026‐4720
HOERNER, ROBERT H                10231 S GRAHAM RD                                                                                                SAINT CHARLES   MI    48655‐9593
HOERNER, THOMAS J                6641 PENINSULA WAY                                                                                               LAINGSBURG      MI    48848‐9204
HOERNKE, CRAIG M                 18090 YUCCA ST                                                                                                   HESPERIA        CA    92345‐6341
HOERNKE, LINDA K                 18090 YUCCA ST                                                                                                   HESPERIA        CA    92345‐6341
HOERNKE, RICHARD DONALD          9313 S 33RD ST                                                                                                   FRANKLIN        WI    53132‐9153
HOERNKE, SALLYANN M.             3001 S CARRIER PKWY APT 1704       WYMBERLY CROSSING                                                             GRAND PRAIRIE   TX    75052‐5619
HOERR, CHARLES H                 8361 SW 65TH AVE                                                                                                 OCALA           FL    34476‐6075
HOERSCH‐CONWAY, DOROTHY E        5601 HATCHERY RD APT 215                                                                                         WATERFORD       MI    48329
HOERST, MICHAEL W                13207 N LANDERSDALE LN                                                                                           MOORESVILLE     IN    46158‐7197
HOERST, PAUL C                   945 E 85TH ST                                                                                                    INDIANAPOLIS    IN    46240‐2324
HOERSTEN, DANIEL C               17635 ROAD 24Q                                                                                                   FORT JENNINGS   OH    45844‐9541
HOERSTEN, DANIEL CLARENCE        17635 ROAD 24Q                                                                                                   FORT JENNINGS   OH    45844‐9541
HOERSTING, JOHN E                1454 RICHLAND RD                                                                                                 SPRING VALLEY   OH    45370‐9743
HOERTH, BETTE E                  2628 EDGEMERE DR                                                                                                 ROCHESTER       NY    14612‐1149
HOERTH, JOHN L                   105 RHEA CRES                                                                                                    ROCHESTER       NY    14615‐1209
HOERTH, SUSAN E                  105 RHEA CRES                                                                                                    ROCHESTER       NY    14615‐1209
HOES ALAN JR                     HOES, ALAN                         89 N HADDON AVE                                                               HADDONFIELD     NJ    08033‐2423
HOESCH SUSPENSIONS INC           2600 BELLINGHAM DR STE 100                                                                                       TROY            MI    48083‐2014
HOESE, KARL E                    3506 W COLLEGE AVE                                                                                               GREENFIELD      WI    53221‐4631
HOESEL, RICHARD M                133 ORCHARD PL APT 126                                                                                           BUFFALO         NY    14218‐1764
HOESEL, ROBERT C                 71 SHADY GROVE DR                                                                                                EAST AMHERST    NY    14051‐1609
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Name                     Address1                        Address2           Address3         Address4               City               State   Zip
HOESER, CLYDE J          1459 S ARCH ST                                                                             JANESVILLE          WI     53546‐5561
HOESER, MARK J           1005 BEDFORD DR                                                                            JANESVILLE          WI     53546‐3726
HOESL, JAMES L           4620 W MICHIGAN AVE                                                                        LANSING             MI     48917‐3437
HOESL, JAMES LEE         4620 W MICHIGAN AVE                                                                        LANSING             MI     48917‐3437
HOESL, LEAHDELL M        7889 HARTEL RD                                                                             GRAND LEDGE         MI     48837‐9475
HOESL, LEAHDELL M        7889 N. HARTEL RD.                                                                         GRAND LEDGE         MI     48837‐9475
HOESLY, BERTHA L         2306 10TH AVE                                                                              CHETEK              WI     54728‐9772
HOESLY, BERTHA L         2306 10TH AVENUE                                                                           CHETEK              WI     54728‐9772
HOESLY, GARY L           523 COUNTY ROAD 857                                                                        ELIZABETH           AR     72531‐9120
HOESLY, HELEN M          2310 10TH AVE                                                                              CHETEK              WI     54729‐9772
HOESLY, JOHN M           N2631 AIRPORT RD                                                                           BRODHEAD            WI     53520‐9112
HOESMAN, CLAYTON R       940 COREY LN                                                                               PLAINFIELD          IN     46168‐2385
HOESSLI, LEWIS M         1396 SURREY RD                                                                             VANDALIA            OH     45377‐1659
HOESZLE, JOHN J          12130 PALMER RD                                                                            MAYBEE              MI     48159‐9788
HOEVE JOHN               138 ELDERS MILL ESTATES DR                                                                 SENOIA              GA     30276‐3426
HOEVE, ARLENE R          180 NORTH PATTERSON ROAD                                                                   WAYLAND             MI     49348‐9338
HOEVE, EUGENE D          569 DENVER ST                                                                              LANSING             MI     48910‐3437
HOEVE, JEANETTE          A‐3951 142ND AVE                                                                           HOLLAND             MI     49423‐9042
HOEVE, MILDRED A         1006 LINCOLNSHIRE                                                                          ST. JOHNS           MI     48879‐2416
HOEVE, TERRY G           1233 107TH AVE                                                                             OTSEGO              MI     49078‐9703
HOEVELMANN, BRENT        1012 E PITMAN AVE                                                                          WENTZVILLE          MO     63385‐1821
HOEVEMEYER, LORI L       3056 E ESTATES DR                                                                          MIDLAND             MI     48642‐7854
HOEWELER, VERNA L.       334 KIMBARY DRIVE                                                                          DAYTON              OH     45458‐4135
HOEY, DEENA L            1045 MOORE ST                                                                              BELOIT              WI     53511‐5041
HOEY, EDWARD A           28315 PRIVATE RD                                                                           OKAHUMPKA           FL     34762‐3318
HOEY, GEORGE             9 COMMODORE AVE                                                                            KEANSBURG           NJ     07734‐1405
HOEY, LORENA             6626 SALLY CT                                                                              FLINT               MI     48505‐1935
HOEY, MARY A             2610 LINCOLN ROAD                                                                          KENOSHA             WI     53143‐5650
HOEY, PAUL M             2509 BEHLING RD                                                                            BOYNE CITY          MI     49712‐9659
HOEY, ROBERT J           31760 MAYFAIR LN                                                                           BEVERLY HILLS       MI     48025‐4036
HOEY, ROSEMOND D         PO BOX 311181                                                                              FLINT               MI     48531‐1181
HOEY, ROSEMOND DENNIS    PO BOX 311181                                                                              FLINT               MI     48531‐1181
HOEY, TERRY J            PO BOX 320921                                                                              FLINT               MI     48532‐0016
HOEY, WILLIAM P          37782 IRENE DR                                                                             STERLING HEIGHTS    MI     48312‐1934
HOEZEE, DONALD           400 PARKSIDE DR APT 108                                                                    ZEELAND             MI     49464‐2087
HOEZEE, KEVIN            849 AMBER RIDGE DR SW                                                                      BYRON CENTER        MI     49315‐9739
HOF, NORMA C             4218 SE 20TH PL APT D1                                                                     CAPE CORAL          FL     33904‐5425
HOFACKER, ALICE A        56 GROVE AVENUE                                                                            METUCHEN            NJ     08840‐2157
HOFACKER, DAVID L        5201 FLAGLER ST                                                                            FLINT               MI     48532‐4139
HOFACKER, DAVID LESTER   5201 FLAGLER ST                                                                            FLINT               MI     48532‐4139
HOFACKER, DORIS J        130 W 2ND ST STE 1900                                                                      DAYTON              OH     45402‐1506
HOFACKER, ESTHER M       20247 SWITZER RD                                                                           DEFIANCE            OH     43512‐8454
HOFACKER, GILBERT L      20575 RESORT RD                                                                            SONORA              CA     95370‐8255
HOFACKER, JOHN M         2857 RT 61‐S                                                                               NORWALK             OH     44857
HOFACKER, LUTHER T       105 MARKET ST RT #2                                                                        NAPOLEON            OH     43545
HOFACKER, MURIEL I       760 RIVER WALK APT 3‐B                                                                     CORUNNA             MI     48817
HOFACKER, MURIEL I       760 RIVERWALK CIR APT 3B                                                                   CORUNNA             MI     48817‐1290
HOFACKER, PAUL EUGENE    11265 SWEET POTATO RIDGE RD                                                                BROOKVILLE          OH     45309‐9669
HOFACKER, RICHARD L      2006 S LINDA DR.                                                                           BELLBROOK           OH     45305‐1525
HOFACKER, ROYAL J        18160 SWITZER RD                                                                           DEFIANCE            OH     43512‐9729
HOFACKER, THOMAS E       5577 W LITTLE PORTAGE EAST RD                                                              PORT CLINTON        OH     43452‐8988
HOFACKER, THOMAS L       9599 BELLBROOK RD                                                                          WAYNESVILLE         OH     45068‐9634
HOFACKER, VIOLET         811‐J MEADOWLAND DR                                                                        NAPLES              FL     34108‐2545
HOFACKER, VIOLET         811 MEADOWLAND DR APT J                                                                    NAPLES              FL     34108‐2545
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Name                              Address1                              Address2                        Address3   Address4                  City            State Zip
HOFBAUER HERMANN                  SCHULSTRASSE 1                                                                   8211 HERRSCHING GERMANY

HOFBAUER, ANDREW                  5068 MARK DAVID DR                                                                                         SWARTZ CREEK    MI    48473‐8500
HOFBAUER, EDUARDO J               1250 W TEMPERANCE RD                                                                                       TEMPERANCE      MI    48182‐1655
HOFBAUER, JAMES A                 6052 BENALEX DRIVE                                                                                         TOLEDO          OH    43612‐4443
HOFBAUER, KARL A                  47898 MALLARD DR                                                                                           CHESTERFIELD    MI    48047‐2236
HOFBERGER MARTIN                  1815 JOHN F KENNEDY BOULEVARD         NO 1908                                                              PHILADELPHIA    PA    19103
HOFE CLYDE (ESTATE OF) (459130)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA    23510
                                                                        STREET, SUITE 600
HOFE, CLYDE                       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA   23510
                                                                        STREET, SUITE 600
HOFELICH, MARY J                  2560 PINE DR                                                                                               WIXOM            MI   48393‐1899
HOFELICH, WILLIAM E               24171 BOSTON ST                                                                                            DEARBORN         MI   48124‐3259
HOFELZER RALPH (645095)           GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                         PITTSBURGH       PA   15219

HOFELZER, RALPH                   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                         PITTSBURGH       PA   15219

HOFER, ANDREAS A                  278 E 17 MILE RD                                                                                           BITELY          MI    49309‐9419
HOFER, CLARENCE F                 960 OVERLOOK DR                                                                                            ASHLAND         OH    44805‐1415
HOFER, DONALD J                   36147 HARCOURT                                                                                             CLINTON TWP     MI    48035‐1311
HOFER, EARNESTEEN M               3180 S 200 E                                                                                               ANDERSON        IN    46017‐9563
HOFER, EDWARD A                   20910 S AMBER WILLOW TRL                                                                                   CYPRESS         TX    77433‐5999
HOFER, FRED G                     6364 SNOW APPLE DR                                                                                         CLARKSTON       MI    48346‐2452
HOFER, JACQUELYN E                4049 HOLIDAY DR EXT                                                                                        NORTON          OH    44203
HOFER, JAMES K                    412 FEDERAL DR                                                                                             ANDERSON        IN    46013‐4710
HOFER, JOHN M                     2807 SARAH DR                                                                                              PANTEGO         TX    76013‐4704
HOFER, JUANITA S                  4572 E 100 S                                                                                               ANDERSON        IN    46017‐9624
HOFER, MADONNA S                  1006 LACONIA ST                                                                                            SEBASTIAN       FL    32958‐5448
HOFER, MILDRED A                  111 N WASHINGTON ST                   C/O MELANIE CAMPBELL                                                 CHESTERFIELD    IN    46017‐1143
HOFER, PEGGY J                    1401 EVELYN LN                                                                                             ANDERSON        IN    46017‐9653
HOFER, RALPH E                    408 RAMBLEWOOD LN                                                                                          NOLENSVILLE     TN    37135‐9713
HOFER, ROBERT M                   335 PEARL ST                                                                                               PENDLETON       IN    46064‐1233
HOFER, THOMAS L                   1401 EVELYN LN                                                                                             ANDERSON        IN    46017‐9653
HOFER, WILHELM A                  1359 MASTER ST                                                                                             N TONAWANDA     NY    14120‐2239
HOFERT, DAVID K                   425 E 8TH ST                                                                                               MESA            AZ    85203‐6317
HOFERT, FREDERICK G               666 WILLOW ST                                                                                              LOCKPORT        NY    14094
HOFERT, H C                       822 SW COLLEGE PARK RD                                                                                     PORT ST LUCIE   FL    34953‐3333
HOFF BRIAN                        36796 ANGELINE CIR                                                                                         LIVONIA         MI    48150‐2578
HOFF DANNY L                      DBA DIR SERVICES                      2629 MATHEWS AVE                                                     FORT LUPTON     CO    80621‐7711
HOFF GREGORY                      8824 ZEALAND AVE N # B                                                                                     MINNEAPOLIS     MN    55445‐1823
HOFF IRVING ALFRED (663293)       SIMONS EDDINS & GREENSTONE
HOFF JAMES E (439143)             GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA   23510
                                                                        STREET, SUITE 600
HOFF KIMBERLY                     197 KAKEOUT RD                                                                                             KINNELON        NJ    07405
HOFF WILLIAM JR (445266)          BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD      OH    44067
                                                                        PROFESSIONAL BLDG
HOFF, ALLAN J                     905 STERLING AVE                                                                                           VENTURA         CA    93004‐4003
HOFF, ALLENE                      2710 HENDERSON RD                                                                                          TUCKER          GA    30084‐2431
HOFF, ARDWIN EUGENE               BOONE ALEXANDRA                       205 LINDA DR                                                         DAINGERFIELD    TX    75638‐2107
HOFF, BEVERLY S                   1025 CAMBRIDGE CT NE                                                                                       WARREN          OH    44484‐3975
HOFF, BEVERLY S                   6036 E ANDALUSIAN CT                                                                                       HEREFORD        AZ    85615‐9777
HOFF, BRIAN D                     36796 ANGELINE CIR                                                                                         LIVONIA         MI    48150‐2578
HOFF, BUDD P                      11017 WOODVIEW BLVD                                                                                        PARMA HEIGHTS   OH    44130‐4334
HOFF, C N                         67 HALEY LN APT 1                                                                                          CHEEKTOWAGA     NY    14227‐3691
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Name                  Address1                           Address2                       Address3   Address4               City              State   Zip
HOFF, CAROL M         2104 HUGHSON AVE                                                                                    OKLAHOMA CITY      OK     73141‐1046
HOFF, DALE L          PO BOX 604                                                                                          PERU               IN     46970‐0604
HOFF, DIANA L         400 N PLAZA DR APT 529                                                                              APACHE JUNCTION    AZ     85120

HOFF, DUANE A         2663 JENNIFER DR                                                                                    BRIGHTON          MI      48114‐8938
HOFF, ELEANOR A       13288 STONEBRIDGE LN                                                                                HUNTLEY           IL      60142‐7698
HOFF, EMILY K         111 GLEN DEE LN                                                                                     ROANOKE           IN      46783‐9198
HOFF, F T             270 PAWNEE CT                                                                                       GIRARD            OH      44420‐3656
HOFF, F THOMAS        270 PAWNEE CT                                                                                       GIRARD            OH      44420‐3656
HOFF, FERN E          102 FALLING CREEK CIR                                                                               JANESVILLE        WI      53548‐9106
HOFF, GAIL L          7460 LEWIS RD                                                                                       MOUNT MORRIS      MI      48458‐2255
HOFF, GARY L          4174 WHITE HAWK CT                                                                                  DAYTON            OH      45430‐5430
HOFF, GEORGIA B       5484 S 2150 W                                                                                       ROY               UT      84067‐2155
HOFF, GERALD B        111 GLEN DEE LN                                                                                     ROANOKE           IN      46783‐9198
HOFF, GERALD P        8516 WAHRMAN ST                                                                                     ROMULUS           MI      48174‐4141
HOFF, HENRY B         101 MAGNOLIA AVE                                                                                    ENGLEWOOD         OH      45322‐1258
HOFF, HOLLY M         10518 N CHARLEY BLUFF RD                                                                            MILTON            WI      53563‐8965
HOFF, IRVING ALFRED   EARLY LUDWICK & SWEENEY LLC        ONE CENTURY TOWER 11TH FLOOR                                     NEW HAVEN         CT      06510
                                                         265 CHURCH STREET
HOFF, JAMES E         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA     23510
                                                         STREET, SUITE 600
HOFF, JAMES H         5628 W SPRING KNOLL DR                                                                              BAY CITY          MI      48706‐5614
HOFF, JAMES P         7393 W REFORMATORY RD                                                                               FORTVILLE         IN      46040‐9203
HOFF, JAMIE L         108 ZENGEL DR                                                                                       CENTERVILLE       OH      45459‐4412
HOFF, JANE E          3240 N CENTER RD                                                                                    SAGINAW           MI      48603‐1864
HOFF, JANE E          3240 N. CENTER RD                                                                                   SAGINAW           MI      48603‐1864
HOFF, JOAN A          252 HARWICH DR                                                                                      TROY              MI      48085‐3229
HOFF, JOSEPH F        2543 POLE LANE RD                                                                                   MARION            OH      43302‐8564
HOFF, LEROY S         3809 E COUNTY RD N                                                                                  MILTON            WI      53563‐9634
HOFF, MARGARET C      12999 N PENNSYLVANIA ST APT C105                                                                    CARMEL            IN      46032‐5417
HOFF, MARGARET C      12999 NORTH PENSULVANIA STREET     APT C105                                                         CARMEL            IN      46032
HOFF, MARK F          7504 SCARLET CT                                                                                     FORT WAYNE        IN      46815‐8761
HOFF, MARY C          8920 ACORNE AVE                                                                                     MILAN             MI      48160‐9750
HOFF, MERRILYN J      200 FRIENDSHIP CIRCLE              APT 524                                                          LANSING           MI      48912
HOFF, MILES E         909 MURPHY CT                                                                                       BAY CITY          MI      48706‐3960
HOFF, NANCY L         5237 ROSEBROCK LN                                                                                   INDIANAPOLIS      IN      46217‐2731
HOFF, PATRICIA A      6255 ZINNIA ST                                                                                      ARVADA            CO      80004‐3832
HOFF, RICHARD V       340 OLD MIL LA.                                                                                     BAGLEY            WI      53801
HOFF, ROBERT G        6650 CLEAR LAKE RD                                                                                  GRASS LAKE        MI      49240‐9238
HOFF, ROBERT L        1610 S CROSBY AVE                                                                                   JANESVILLE        WI      53546‐5612
HOFF, ROBERT T        2351 HUNTERGLEN CT                                                                                  DAYTON            OH      45459‐8401
HOFF, ROGER L         7035 FRENCH LINE RD                                                                                 APPLEGATE         MI      48401‐9777
HOFF, RUSSELL M       2152 N WAUGH ST                                                                                     KOKOMO            IN      46901‐1607
HOFF, SANDRA          241 3 3/4 ST                                                                                        CLAYTON           WI      54004
HOFF, SANDRA L        APT 4                              39792 GREENVIEW PLACE                                            PLYMOUTH          MI      48170‐4573
HOFF, SUSAN J         7212 BROMPTON CT                                                                                    INDIANAPOLIS      IN      46250‐2711
HOFF, THOMAS J        1173 S HOLLISTER RD                                                                                 OVID              MI      48866‐9619
HOFF, THOMAS W        102 PINEWOOD RD                                                                                     CLARKSBURG        WV      26301‐4144
HOFF, TRUDY L         2406 W 1830 S                                                                                       SYRACUSE          UT      84075‐7127
HOFF, WILLIAM         BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD        OH      44067
                                                         PROFESSIONAL BLDG
HOFF, WILLIE J        2152 N WAUGH ST                                                                                     KOKOMO             IN     46901‐1607
HOFFA JENNIFER        HOFFA, JENNIFER                    346 PARK ST STE 200                                              BIRMINGHAM         MI     48009‐3436
HOFFA, DAVID J        1151 ROTONDA CIR                                                                                    ROTONDA WEST       FL     33947‐2120
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Name                          Address1                           Address2                      Address3   Address4               City               State   Zip
HOFFA, HENRY H                7459 N RIVERVIEW DR                                                                                KALAMAZOO           MI     49004‐9685
HOFFA, MICHELLE               435 HAYTER DRIVE                                                                                   MORRISTOWN          TN     37813‐4737
HOFFA, TERRY F                7704 E STATE ROAD 42                                                                               CLOVERDALE          IN     46120‐8748
HOFFA, THOMAS W               5235 W DODGE RD                                                                                    CLIO                MI     48420‐8535
HOFFART, MAURUS L             3497 SAN MARTIN CT                                                                                 MERCED              CA     95348‐4814
HOFFECKER, DEBRA S            18249 SAXON DR.                                                                                    BEVERLY HILLS       MI     48025‐2037
HOFFEDITZ GERALD L (664231)   SZAFERMAN LAKIND BLUMSTEIN WATER   101 GROVERS MILL RD STE 104                                     LAWRENCEVILLE       NJ     08648‐4706
                              BLADER LEHMANN & GOLDSHORE

HOFFEDITZ, GARY A             303 N GRANT ST # B                                                                                 BROWNSBURG          IN     46112‐1018
HOFFEDITZ, GERALD L           SZAFERMAN LAKIND BLUMSTEIN WATER   101 GROVERS MILL RD STE 104                                     LAWRENCEVILLE       NJ     08648‐4706
                              BLADER LEHMANN & GOLDSHORE

HOFFEE BROS INC               PO BOX 79                                                                                          SPRINGFIELD         IL     62705‐0079
HOFFEE BROS., INC.            402 N 4TH ST                                                                                       ALBION              IL     62806‐1228
HOFFEE, WILLIAM L             8297 ODOWLING                                                                                      ONSTED              MI     49265‐9490
HOFFEND, RICHARD
HOFFER PLASTICS               PAT GAFFNEY                        500 N. COLLINS ST.                                              BENTON HARBOR      MI      49023
HOFFER PLASTICS CORP          500 COLLINS ST                                                                                     SOUTH ELGIN        IL      60177
HOFFER PLASTICS CORP          PAT GAFFNEY                        500 N. COLLINS ST.                                              BENTON HARBOR      MI      49023
HOFFER, ANTHONY J             PO BOX 353                                                                                         LAKE MILTON        OH      44429‐0353
HOFFER, BARBARA A             909 PLEASANT VALLEY DR                                                                             APOLLO             PA      15613‐9622
HOFFER, BRYAN K               2209 N VALLEY DR                                                                                   MUNCIE             IN      47304‐9684
HOFFER, BRYAN KEITH           2209 N VALLEY DR                                                                                   MUNCIE             IN      47304‐9684
HOFFER, CHARLES F             6968 OHIO 546                                                                                      BELLVILLE          OH      44813
HOFFER, DALE W                417 SOUTH ST                                                                                       CRESTLINE          OH      44827‐1558
HOFFER, DANIEL L              PO BOX 336                                                                                         HOLGATE            OH      43527‐0336
HOFFER, DAVID A               1803 E WATERBERRY DR                                                                               HURON              OH      44839‐2262
HOFFER, ELVIN C               2260 E BUCHANAN RD                                                                                 ITHACA             MI      48847‐9551
HOFFER, FRANK F               17698 ORANGE GROVE DR                                                                              MACOMB             MI      48042‐3543
HOFFER, GERALD T              143 MOYERS LN                                                                                      SPEEDWELL          TN      37870‐6106
HOFFER, GRACE                 4835 BUTTERCUP LANE                                                                                OKEMOS             MI      48864‐1301
HOFFER, JAMES D               825 N WASHINGTON AVE                                                                               CRESTLINE          OH      44827‐9473
HOFFER, JAMES L               718 E MCGUIRE ST                                                                                   MIAMISBURG         OH      45342
HOFFER, JOHN O                143 MOYERS LN                                                                                      SPEEDWELL          TN      37870
HOFFER, JOHN T                1202 VINE ST                                                                                       GIRARD             OH      44420‐1416
HOFFER, JONATHAN ALAN
HOFFER, KATHLEEN A            638 E COUNTY ROAD 16               PO BOX 216                                                      TIFFIN             OH      44883‐8609
HOFFER, KEVIN E               5293 E COUNTY ROAD 750 N                                                                           PITTSBORO          IN      46167‐9273
HOFFER, MILES H               635 S FROST DR                                                                                     SAGINAW            MI      48638‐6083
HOFFER, MILES H               30 TWIN LAKE DR APT 3                                                                              LAKE SAINT LOUIS   MO      63367
HOFFER, PATRICIA L            5180 SCARSDALE DR                                                                                  KETTERING          OH      45440‐2469
HOFFER, SAMUEL E              3158 GERRARD AVE                                                                                   INDIANAPOLIS       IN      46224‐2364
HOFFER, TED R                 4803 WOODBINE AVE                                                                                  DAYTON             OH      45432‐3215
HOFFER, TIMOTHY A             411 GREENPORT DR                                                                                   W CARROLLTON       OH      45449‐2266
HOFFER, WILMA T               PO BOX 14                                                                                          MEDWAY             OH      45341‐0014
HOFFER, ZACHARY J             825 N WASHINGTON AVE                                                                               CRESTLINE          OH      44827‐9473
HOFFERBERT I I I, CHARLES H   8104 CANDLE LN                                                                                     BALTIMORE          MD      21237‐1513
HOFFERT, BARBARA A            533 WINWOOD CIR                                                                                    WALLED LAKE        MI      48390‐3575
HOFFERT, BARBARA A            4322 ILLINOIS AVE SW                                                                               WYOMING            MI      49509‐4453
HOFFERT, GLENN R              4628 METAMORA RD                                                                                   METAMORA           MI      48455‐9757
HOFFERT, THELMA I             7213 REGAL AVE SE                                                                                  GRAND RAPIDS       MI      49548‐7749
HOFFERT, THELMA I             365 SCABBARD ST SW                                                                                 GRAND RAPIDS       MI      49548‐5428
HOFFERT, WILLIAM R            3311 W SUTTON RD                                                                                   LAPEER             MI      48446‐9812
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Name                               Address1                          Address2                           Address3         Address4               City               State   Zip
HOFFERTH, DANIEL J                 2212 E MARQUETTE DR                                                                                          GILBERT             AZ     85234
HOFFHEINS, RICHARD F               3816 HOYT AVE                                                                                                SEBRING             FL     33876‐9465
HOFFHINES, GARY W                  13100 E 53RD TER                                                                                             KANSAS CITY         MO     64133‐3173
HOFFHINES, GARY WILLIAM            13100 E 53RD TER                                                                                             KANSAS CITY         MO     64133‐3173
HOFFINE'S GARAGE                   650 MARION ST                                                                                                LAFAYETTE           IN     47904‐1840
HOFFIUS, JANICE E                  3516 RIVERWOODS DR NE                                                                                        ROCKFORD            MI     49341‐9265
HOFFLAND, TERRY L                  2548 N BURDICK RD                                                                                            JANESVILLE          WI     53548‐8965
HOFFLINGER, JOSEPH V               104 GREYSTONE DR                                                                                             FRANKLIN            TN     37069‐4301
HOFFMAN ALLAN                      HOFFMAN, ALLAN                    STATE FARM INSURANCE               P.O. BOX 82613                          LINCOLN             NE     68501‐2100
HOFFMAN AUTO REPAIR                975 W WALNUT ST                                                                                              CANAL WINCHESTER    OH     43110‐9436

HOFFMAN BARBARA C                  530 WILLIAMS ST                                                                                              JANESVILLE         WI      53545‐2454
HOFFMAN BROTHERS AUTO ELECTRIC     24355 EDISON RD                                                                                              SOUTH BEND         IN      46628‐4949
HOFFMAN CHAD                       790 WOODFIELD WAY                                                                                            ROCHESTER HLS      MI      48307‐5924
HOFFMAN CHARLES & ANGELIN          3136 MINGO TRAIL                                                                                             INDIAN RIVER       MI      49749
HOFFMAN CHARLES E (481217)         KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                              CLEVELAND          OH      44114
                                                                     BOND COURT BUILDING
HOFFMAN CHEMICAL & SUPPLY CO INC   1206 ANN ST                                                                                                  MADISON            WI      53713‐2410
HOFFMAN CHEV OLD CAD               EDISON ZAYAS                      101 S EDGEWOOD DR                                                          HAGERSTOWN         MD      21740‐6617
HOFFMAN CHEVROLET OLDSMOBILE       101 S EDGEWOOD DR                                                                                            HAGERSTOWN         MD      21740‐6617
CADILL
HOFFMAN CHEVROLET OLDSMOBILE       EDISON ZAYAS                      101 S EDGEWOOD DR                                                          HAGERSTOWN         MD      21740‐6617
CADILLA
HOFFMAN CHEVROLET OLDSMOBILE       101 S EDGEWOOD DR                                                                                            HAGERSTOWN         MD      21740‐6617
CADILLAC
HOFFMAN CHEVROLET, INC.            EDISON ZAYAS                      101 S EDGEWOOD DR                                                          HAGERSTOWN         MD      21740‐6617
HOFFMAN CHEVROLET, LEO
HOFFMAN COREY                      FARMERS TEXAS COUNTY MUTUAL       12345 JONES ROAD SUITE 190                                                 HOUSTON             TX     77070
                                   INSURANCE COMPANY
HOFFMAN COREY                      HOFFMAN, COREY                    12345 JONES RD STE 190                                                     HOUSTON            TX      77070‐4959
HOFFMAN DANELLE                    2430 RAINIER ST                                                                                              SAGINAW            MI      48603‐3322
HOFFMAN DAVID                      9240 AVENIDA MIRAVILLA                                                                                       CHERRY VALLEY      CA      92223‐3835
HOFFMAN DAVID A                    5201 N DORT HWY LOT 39                                                                                       FLINT              MI      48505‐3083
HOFFMAN DONALD K (442241)          SIMMONS FIRM                      PO BOX 559                                                                 WOOD RIVER         IL      62095‐0559
HOFFMAN ENCLOSURES INC             2100 HOFFMAN WAY                                                                                             ANOKA              MN      55303‐1738
HOFFMAN ERNEST (445267)            CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                           CLEVELAND          OH      44115
                                   GAROFOLI                          FL
HOFFMAN FAMILY TRUST               ELWOOD G HOFFMAN & DIANE M        17203 N JASMINE DR                                                         SUN CITY            AZ     85373
                                   HOFFMAN
HOFFMAN FLYING SERVICE INC         1730 N AIRPORT RD                                                                                            SAGINAW             MI     48601‐9608
HOFFMAN FRANK M                    HOFFMAN, FRANK M                  30 E BUTLER AVE                                                            AMBLER              PA     19002‐4514
HOFFMAN GEORGE                     HOFFMAN, GEORGE                   4200 S I 10 SERVICE RD W STE 138                                           METAIRIE            LA     70001‐1237
HOFFMAN GEORGE                     STATE FARM MUTUAL AUTOMOBILE      4200 S I 10 SERVICE RD W STE 138                                           METAIRIE            LA     70001‐1237
                                   INSURANCE COMPANY
HOFFMAN GEORGE W JR (481798)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                NORFOLK             VA     23510
                                                                     STREET, SUITE 600
HOFFMAN GERALD E (516470)          DONALDSON & BLACK                 208 W WENDOVER AVE                                                         GREENSBORO          NC     27401‐1307
HOFFMAN GUY J (182859)             PAUL REICH & MYERS                1608 WALNUT ST STE 500                                                     PHILADELPHIA        PA     19103‐5446
HOFFMAN II, JOHN H                 4029 KINGS CORNER RD                                                                                         OSCODA              MI     48750‐8937
HOFFMAN JAMES J (429110)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                NORFOLK             VA     23510
                                                                     STREET, SUITE 600
HOFFMAN JOHN W & HELEN J           1461 HILLCREST AVE APT 27                                                                                    NILES              OH      44446‐3756
HOFFMAN JR, CHARLES T              113 S PLUM ST                                                                                                GERMANTOWN         OH      45327‐1363
HOFFMAN JR, GEORGE                 7750 MAYO RD 188                                                                                             ZEPHYRHILLS        FL      33540
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Name                          Address1                          Address2                           Address3   Address4               City            State   Zip
HOFFMAN JR, HAROLD L          10970 WOODLAND DR                                                                                      HOUGHTON LAKE    MI     48629‐9179
HOFFMAN JR, HARRY A           29 RIDGE LAKE DR                                                                                       MANNING          SC     29102‐9512
HOFFMAN JR, HENRY J           PO BOX 788                                                                                             CANON CITY       CO     81215‐0788
HOFFMAN JR, KENNETH A         300 PINTAIL DR SE                                                                                      WARREN           OH     44484‐2467
HOFFMAN JR, LYLE G            1004 BLUEBELL LN                                                                                       DAVISON          MI     48423‐7906
HOFFMAN JR, MARK J            1718 DEEPWOOD CIR                                                                                      ROCHESTER        MI     48307‐6098
HOFFMAN JR, ROBERT C          2850 CLEVELAND AVE APT 306                                                                             SAINT JOSEPH     MI     49085‐2231
HOFFMAN JR, ROBERT L          877 HARRIET TRL                                                                                        WEST BRANCH      MI     48661‐9406
HOFFMAN JR, ROBERT L          877 HARRIET TRAIL                                                                                      WEST BRANCH      MI     48661‐9406
HOFFMAN JR, WILLARD C         PO BOX 469                                                                                             CASTALIA         OH     44824‐0469
HOFFMAN JR., GEORGE W         10420 US HIGHWAY 31 LOT 431                                                                            TANNER           AL     35671‐3555
HOFFMAN KENNETH A JR          300 PINTAIL DR SE                                                                                      WARREN           OH     44484
HOFFMAN KENNETH B (439144)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA     23510
                                                                STREET, SUITE 600
HOFFMAN LAROCHE               PO BOX 360138                                                                                          PITTSBURGH       PA     15251‐6138
HOFFMAN LARRY                 HOFFMAN, LARRY                    5685 330TH STREET                                                    SANBORN          IA     51248‐7556
HOFFMAN MARK                  HOFFMAN, MARK                     5252 BALBOA AVE STE 408                                              SAN DIEGO        CA     92117‐6939
HOFFMAN MFG INC               PO BOX 217                                                                                             CONCORD          MI     49237‐0217
HOFFMAN OLDSMOBILE INC SAAB   WEINSTEIN & WISSER PC             29 S MAIN ST STE 207                                                 WEST HARTFORD    CT     06107
HOFFMAN RENTAL&LEASING INC                                      1014 N FAYETTEVILLE ST                                                                NC     27203
HOFFMAN RICHARD C (506117)    HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST , 17TH FLOOR                                          PHILADELPHIA     PA     19103

HOFFMAN RICHARD C (506117)    MELTZER MARTIN C                  1500 N FRENCH ST                                                     WILMINGTON       DE     19801‐3118
HOFFMAN ROLLAND W (484856)    GEORGE & SIPES                    151 N DELAWARE ST STE 1700                                           INDIANAPOLIS     IN     46204‐2503
HOFFMAN RUFUS P (429111)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA     23510
                                                                STREET, SUITE 600
HOFFMAN SAAB                  HOFFMAN, I. BRADLEY               700 CONNECTICUT BLVD                                                 EAST HARTFORD   CT      06108‐3222
HOFFMAN SAAB                  700 CONNECTICUT BLVD                                                                                   EAST HARTFORD   CT      06108‐3222
HOFFMAN SARAH                 123 BEECH RD                                                                                           SAINT MARYS     PA      15857‐2101
HOFFMAN SR, GILBERT J         1699 NIGHTINGALE LN               C/O GILBERT J HOFFMAN JR                                             KINGSLEY        MI      49649‐9371
HOFFMAN SR, RONNIE L          4006 GREEN ST                                                                                          SAGINAW         MI      48638‐6618
HOFFMAN STEVE                 15342 LINCOLNSHIRE LN                                                                                  FRASER          MI      48026‐2386
HOFFMAN STEVE (470287)        LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                              MIAMI           FL      33143‐5163
HOFFMAN THOMAS R              5374 HIGHLAND AVE SW                                                                                   WARREN          OH      44481‐9640
HOFFMAN TIM                   310 HICKORY LN                                                                                         NORTH           IN      46962‐9606
                                                                                                                                     MANCHESTER
HOFFMAN WILLIAM E (445274)    CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                     CLEVELAND       OH      44115
                              GAROFOLI                          FL
HOFFMAN'S AUTOMOTIVE          3459 LINCOLN WAY E                                                                                     MASSILLON       OH      44646‐3706
HOFFMAN'S AUTOMOTIVE REPAIR   2435 ROUTE 115                                                                                         EFFORT          PA      18330‐9403
HOFFMAN, ALAN J               8315 NORTHWEST TWIN OAKS DRIVE                                                                         KANSAS CITY     MO      64151‐1124
HOFFMAN, ALBERT J             200 N OCCIDENTAL RD APT 13                                                                             TECUMSEH        MI      49286‐7705
HOFFMAN, ALLAN                STATE FARM INSURANCE              PO BOX 82613                                                         LINCOLN         NE      68501‐2613
HOFFMAN, ALLAN J              8656 SUNTREE DRIVE                                                                                     ZEELAND         MI      49464‐8350
HOFFMAN, ALLEN J              7674 WICKERT RD                                                                                        HALE            MI      48739‐9506
HOFFMAN, ALOYSIUS E           5812 BELLE RIVER RD                                                                                    CHINA           MI      48054‐3320
HOFFMAN, ALVIN G              21728 LAMBRECHT AVE                                                                                    EASTPOINTE      MI      48021‐2532
HOFFMAN, AMANDA R             11110 GREEN ROAD                                                                                       GOODRICH        MI      48438‐9729
HOFFMAN, ANASTASIA M          2723 101ST ST                                                                                          TOLEDO          OH      43611‐2006
HOFFMAN, ANDREW J             919 LOUISEDALE DR                                                                                      FORT WAYNE      IN      46808‐1571
HOFFMAN, ANGELINE D           PO BOX 669                                                                                             INDIAN RIVER    MI      49749‐0669
HOFFMAN, ANNE E               2621 LANSDOWNE RD                                                                                      WATERFORD       MI      48329‐2941
HOFFMAN, ARLENE S             16301 YEOHO RD                                                                                         SPARKS          MD      21152‐9551
HOFFMAN, AUBREY L             202 ARGALI PL                                                                                          CORTLAND        OH      44410‐1605
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Name                     Address1                           Address2                         Address3   Address4               City              State   Zip
HOFFMAN, AUDREY H        2916 PLUMOSA LN                                                                                       LAKE PARK          FL     33403‐1329
HOFFMAN, AUSTIN D        3630 HOFFMAN‐NORTON RD.                                                                               SOUTHINGTON        OH     44470‐9709
HOFFMAN, AUSTIN D        3630 HOFFMAN NORTON RD                                                                                SOUTHINGTON        OH     44470‐9709
HOFFMAN, BARBARA C       530 WILLIAMS ST                                                                                       JANESVILLE         WI     53545‐2454
HOFFMAN, BARBARA J       6424 BROYLES DR                                                                                       TROY               MO     63379‐4842
HOFFMAN, BARBARA JEAN    6424 BROYLES DR                                                                                       TROY               MO     63379‐4842
HOFFMAN, BERNARD         647 KENNEDY BLVD APT 104                                                                              BAYONNE            NJ     07002
HOFFMAN, BERNARD         2700 SPALDING DR                                                                                      LAS VEGAS          NV     89134‐7552
HOFFMAN, BERNARD A       468 PRINCETON AVE                                                                                     BAYVILLE           NJ     08721‐3458
HOFFMAN, BETH E.         1720 OAK POND CT                                                                                      OLDSMAR            FL     34677‐5036
HOFFMAN, BETTY J         434 HICKORY ST.                                                                                       MILFORD            MI     48381
HOFFMAN, BETTY R         131 SOUTH SLATER ST                                                                                   LAKE ORION         MI     48362
HOFFMAN, BETTY R         131 S SLATER ST                                                                                       LAKE ORION         MI     48362‐3266
HOFFMAN, BEULAH E        38524 TYLER ROAD                                                                                      ROMULUS            MI     48174‐1301
HOFFMAN, BRIAN J         3649 HIGHWAY 139                                                                                      MONROE             LA     71203‐8498
HOFFMAN, BRUCE D         5030 PIERCE RD NW                                                                                     WARREN             OH     44481‐9309
HOFFMAN, CALVIN J        8949 FREDRICK DR                                                                                      LIVONIA            MI     48150
HOFFMAN, CARL A          5400 CEDAR VALLEY RD                                                                                  TRAVERSE CITY      MI     49684‐9661
HOFFMAN, CARL A          395 14TH ST                                                                                           PRAIRIE DU SAC     WI     53578
HOFFMAN, CARL J          154 N GABRIEL DR                                                                                      BEAR               DE     19701‐4824
HOFFMAN, CARL J          2659 N DUPONT PKWY WA                                                                                 MIDDLETOWN         DE     19709
HOFFMAN, CARL J          4117 WOODSLY DR                                                                                       BATAVIA            OH     45103‐7570
HOFFMAN, CAROL L         908 N UNION ST                                                                                        TECUMSEH           MI     49286‐1037
HOFFMAN, CAS             8255 BURDICK RD                                                                                       AKRON              NY     14001‐9729
HOFFMAN, CATHERINE A     4558 COLONIAL DR APT 1                                                                                SAGINAW            MI     48603‐3910
HOFFMAN, CATHERINE A     4558 COLONIAL DR                   APT 1                                                              SAGINAW            MI     48603‐3910
HOFFMAN, CATHERINE M     1938 LAKE ST                                                                                          DYER               IN     46311‐1753
HOFFMAN, CATHLEEN        1542 LITTLE PINEY DR 7                                                                                INDIANAPOLIS       IN     46227
HOFFMAN, CHAD            790 WOODFIELD WAY                                                                                     ROCHESTER HILLS    MI     48307‐5924
HOFFMAN, CHARLES E       KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                       CLEVELAND          OH     44114
                                                            BOND COURT BUILDING
HOFFMAN, CHARLES J       331 CLARMARC DR                                                                                       FRANKENMUTH       MI      48734‐1273
HOFFMAN, CHARLES P       9152 STANLEY RD                                                                                       FLUSHING          MI      48433‐1069
HOFFMAN, CHARLES R       11215 DUDLEY ST                                                                                       TAYLOR            MI      48180‐4208
HOFFMAN, CHRISTINE L     320 RUSSELL AVE.                                                                                      NILES             OH      44446‐3730
HOFFMAN, CHRISTINE S.    2513 ADAMS BLVD                                                                                       SAGINAW           MI      48602‐3123
HOFFMAN, CLARIBEL L      8259 VAN VLEET ROAD                                                                                   GAINES            MI      48436‐8929
HOFFMAN, CLARISSA N      431 E 4TH ST                                                                                          WHITTEMORE        MI      48770‐9266
HOFFMAN, CLARISSA N      431 SE 4TH ST                                                                                         WHITTEMORE        MI      48770‐0126
HOFFMAN, COLLEEN M       7632 S KILKENNY DR                                                                                    BRIGHTON          MI      48116‐6231
HOFFMAN, COLLEEN MARIE   7632 S KILKENNY DR                                                                                    BRIGHTON          MI      48116‐6231
HOFFMAN, CONRAD W        402 MORNINGSIDE DR                                                                                    RICHMOND          MO      64085‐1938
HOFFMAN, COREY           RUSSELL LITTLE, ESQUIRE            CULP & LITTLE 12345 JONES ROAD                                     HOUSTON           TX      77070
                                                            SUITE 190
HOFFMAN, COREY
HOFFMAN, CYNTHIA A       3590 W LAKESHORE DR                                                                                   PORT CLINTON      OH      43452‐9058
HOFFMAN, CYNTHIA R       PO BOX 72                                                                                             GRATIS            OH      45330
HOFFMAN, DALE A          4865 BIRCH RUN RD                                                                                     BIRCH RUN         MI      48415‐8509
HOFFMAN, DALE ALTON      4865 BIRCH RUN RD                                                                                     BIRCH RUN         MI      48415‐8509
HOFFMAN, DALE J          602 TULIP LN                                                                                          THREE RIVERS      MI      49093‐1349
HOFFMAN, DALE K          3317 E MOUNT HOPE HWY                                                                                 GRAND LEDGE       MI      48837‐9442
HOFFMAN, DALE L          3325 WILDER RD                                                                                        BAY CITY          MI      48706‐2362
HOFFMAN, DALE R          4987 NW STATE ROAD 116‐90                                                                             MARKLE            IN      46770‐9717
HOFFMAN, DALE R          580 SUNSET RD                                                                                         ORTONVILLE        MI      48462‐9061
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Name                      Address1                       Address2                      Address3   Address4               City            State   Zip
HOFFMAN, DAMIEN M         1447 N ORTONVILLE RD                                                                           ORTONVILLE       MI     48462‐8563
HOFFMAN, DAMIEN MICHAEL   1447 N ORTONVILLE RD                                                                           ORTONVILLE       MI     48462‐8563
HOFFMAN, DANELLE I        2430 RAINIER ST                                                                                SAGINAW          MI     48603‐3322
HOFFMAN, DANIEL C         33541 LEONA ST                                                                                 GARDEN CITY      MI     48135‐3053
HOFFMAN, DANIEL J         626 GIRARD AVE                                                                                 ROYAL OAK        MI     48073‐3698
HOFFMAN, DANIEL L         2908 PLUM LEAF CIR                                                                             SAINT PETERS     MO     63303‐1218
HOFFMAN, DANIEL S         3165 S VASSAR RD                                                                               DAVISON          MI     48423‐2427
HOFFMAN, DANIEL S         9401 FIRESTONE DR SE                                                                           WARREN           OH     44484‐2117
HOFFMAN, DANIEL STEWARD   3165 S VASSAR RD                                                                               DAVISON          MI     48423‐2427
HOFFMAN, DARREN S         2637 FOREST MEADOW LN                                                                          LAWRENCEVILLE    GA     30043‐2389
HOFFMAN, DARREN SCOTT     2637 FOREST MEADOW LN                                                                          LAWRENCEVILLE    GA     30043‐2389
HOFFMAN, DAVID A          5201 N DORT HWY LOT 39                                                                         FLINT            MI     48505‐3083
HOFFMAN, DAVID B          69 SOUTHWEST PKWY                                                                              LANCASTER        NY     14086‐2951
HOFFMAN, DAVID C          5675 HICKORY WOODS CT                                                                          PLAINFIELD       IN     46168
HOFFMAN, DAVID D          4609 S EATON AVE                                                                               MUNCIE           IN     47302‐8674
HOFFMAN, DAVID E          8340 BELLE OAKS                                                                                GREENWOOD        LA     71033‐3055
HOFFMAN, DAVID L          9115 SHINANGUAG DR                                                                             GOODRICH         MI     48438‐9404
HOFFMAN, DAVID M          2973 LYNWOOD DR                                                                                DANVILLE         IN     46122‐8510
HOFFMAN, DAVID P          11110 GREEN RD                                                                                 GOODRICH         MI     48438‐9729
HOFFMAN, DAVID T          1448 VALLEY DR                                                                                 LAPEER           MI     48446
HOFFMAN, DAVID W          PO BOX 214                                                                                     WHITTEMORE       MI     48770‐0214
HOFFMAN, DAWN M           9894 BANKER ST                                                                                 CLIFFORD         MI     48727‐9558
HOFFMAN, DEBERA A         311 S COUNTY LINE RD                                                                           WINDSOR          MO     65360
HOFFMAN, DELORES M.       2722 WEST AVE                                                                                  NEWFANE          NY     14108‐1222
HOFFMAN, DENNIS A         2971 VALLEY CREEK RD                                                                           CULLEOKA         TN     38451‐2349
HOFFMAN, DENNIS M         PO BOX 394                                                                                     MILFORD          MI     48381‐0394
HOFFMAN, DEREK R          7383 E 900 N                                                                                   OSSIAN           IN     46777‐9217
HOFFMAN, DIANA S          50565 NORTH AVE                                                                                MACOMB           MI     48042‐4622
HOFFMAN, DIANE K          1266 W MAPLE AVE                                                                               FLINT            MI     48507‐3734
HOFFMAN, DICKIE D         850 GOLF VILLA DR                                                                              OXFORD           MI     48371‐3697
HOFFMAN, DONALD           465 GARDEN CITY DR                                                                             MONROEVILLE      PA     15146
HOFFMAN, DONALD           SIMMONS FIRM                   PO BOX 559                                                      WOOD RIVER        IL    62095‐0559
HOFFMAN, DONALD C         603 LAKE BLUFF RD                                                                              THIENSVILLE      WI     53092‐6508
HOFFMAN, DONALD E         11877 SCHAVEY RD                                                                               DEWITT           MI     48820‐8715
HOFFMAN, DONALD E         1826 BEAVER MEADOW RD                                                                          JAVA CENTER      NY     14082‐9624
HOFFMAN, DONALD J         188 PARK ISLAND DR                                                                             LAKE ORION       MI     48362‐2760
HOFFMAN, DONALD J         1941 LAKE POINTE DR                                                                            ORTONVILLE       MI     48462‐8860
HOFFMAN, DORIS C          300 KENNELY RD APT 111                                                                         SAGINAW          MI     48609‐7701
HOFFMAN, DORIS C          1116 CLEARVIEW DR                                                                              FLUSHING         MI     48433‐1416
HOFFMAN, DORIS M          135 N NEWMAN RD                                                                                LAKE ORION       MI     48362‐1121
HOFFMAN, DORIS M          PO BOX 317                                                                                     LAKE ORION       MI     48361‐0317
HOFFMAN, DOROTHY A        2388 KINMONT RD                                                                                DAYTON           OH     45414‐1327
HOFFMAN, DOROTHY E        20 BRIARWOOD LN                                                                                THONOTOSASSA     FL     33592‐3913
HOFFMAN, DOUGLAS M        5319 CHATEAU LANE #113                                                                         BRADENTON        FL     34207
HOFFMAN, DOUGLAS W        5660 BOODY HWY                                                                                 EATON RAPIDS     MI     48827‐9039
HOFFMAN, DREW M           11234 MINNICH RD                                                                               FORT WAYNE       IN     46816‐9737
HOFFMAN, DUANE D          3280 MORAN RD                                                                                  BIRCH RUN        MI     48415‐9068
HOFFMAN, DUANE L          8770 LOWER LAKE RD                                                                             BARKER           NY     14012‐9650
HOFFMAN, EARL E           285 SOUTHSIDE DR                                                                               NEWVILLE         PA     17241‐8951
HOFFMAN, EDMOND P         APT 9                          2700 ARLINGTON AVENUE SOUTH                                     BIRMINGHAM       AL     35205‐4150
HOFFMAN, EDMOND P         2700 ARLINGTON AVE S APT 9                                                                     BIRMINGHAM       AL     35205‐4150
HOFFMAN, EDWARD W         2155 PINE POINT DR                                                                             LAWRENCEVILLE    GA     30043‐2494
HOFFMAN, ELAINE M         188 PARK ISLAND DR                                                                             LAKE ORION       MI     48362‐2760
HOFFMAN, ELIZABETH M      2140 SE 38TH ST                                                                                OCALA            FL     34480‐8834
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Name                   Address1                            Address2                          Address3   Address4               City             State   Zip
HOFFMAN, ELLWOOD E     22832 LOWER SKANEE RD                                                                                   SKANEE            MI     49962‐9022
HOFFMAN, ELLWYN E      5482 LIBERTY BELL RD                                                                                    GRAND BLANC       MI     48439‐7714
HOFFMAN, ERICH E       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                        SAGINAW           MI     48604‐2602
                                                           260
HOFFMAN, ERNEST        CLIMACO LEFKOWITZ PECA WILCOX &     1228 EUCLID AVE, HALLE BLDG 9TH                                     CLEVELAND        OH      44115
                       GAROFOLI                            FL
HOFFMAN, ETHEL         6478 NORTH GENESEE ROAD                                                                                 FLINT            MI      48506‐1128
HOFFMAN, EVA O         4338 HURON ST                                                                                           NORTH BRANCH     MI      48461‐9351
HOFFMAN, FERN D        2177 E THOUSAND OAKS BLVD           RENAISSANCE AT GRAND OAKS         APT# 310                          THOUSAND OAKS    CA      91362‐2904
HOFFMAN, FLORENCE M.   PO BOX 6101                                                                                             TEMPLE           TX      76503‐6101
HOFFMAN, FRANCES G     5104 RIO VISTA DR                                                                                       MAHWAH           NJ      07430‐4507
HOFFMAN, FRANCES L     4145 N PHEASANT RD                                                                                      LINCOLN          MI      48742‐9672
HOFFMAN, FRANCHON K    1460 HUNTERS RIDGE CT                                                                                   DAVISON          MI      48423‐2207
HOFFMAN, FRANK P       3270 ISLAND COVE DR UNIT 250                                                                            WATERFORD        MI      48328‐1693
HOFFMAN, FRED H        1606 BLUE MOON RD                                                                                       COLUMBIA         TN      38401‐6834
HOFFMAN, FREDERICK C   214 MAPLE ST                                                                                            ROSSVILLE        IL      60963‐1136
HOFFMAN, FREDERICK G   14829 WARWICK AVE                   C/O MR. H.HOFFMAN                                                   ALLEN PARK       MI      48101‐2947
HOFFMAN, FREDERICK G   1550 PEARL RD                                                                                           BRUNSWICK        OH      44212‐3489
HOFFMAN, FREDERICK K   420 E BOND AVE                                                                                          MARION           IN      46952‐2153
HOFFMAN, FREDERICK M   600 HOLGATE AVE                                                                                         DEFIANCE         OH      43512‐2038
HOFFMAN, GAIL          7434 AUBURN OAKS CT APT 42                                                                              CITRUS HTS       CA      95621‐8417
HOFFMAN, GARY          7434 N OSBORN RD                                                                                        ELWELL           MI      48832‐9799
HOFFMAN, GARY B        26935 EASTWOOD LN                                                                                       OLMSTED FALLS    OH      44138‐1150
HOFFMAN, GARY D        3405 WILSON AVE                                                                                         LANSING          MI      48906‐2554
HOFFMAN, GARY L        PO BOX 1017                                                                                             EUREKA           MT      59917‐1017
HOFFMAN, GENE E        6 CHERRYWOOD RDG                                                                                        HOLLAND          NY      14080‐9660
HOFFMAN, GENEVIEVE F   2444 OLEANDER CT                    C/O ROBERTA PAPP                                                    LOVELAND         CO      80538‐3307
HOFFMAN, GEORGE        BROUILLETTE JAMES E                 3330 LAKE VILLA DR STE 202                                          METAIRIE         LA      70002‐4300
HOFFMAN, GEORGE A      8941 W UTOPIA RD                                                                                        PEORIA           AZ      85382‐8576
HOFFMAN, GEORGE A      217 COUNTY ROAD 830                                                                                     HENDERSON        AR      72544‐9062
HOFFMAN, GEORGE E      8371 N CENTER RD                                                                                        MOUNT MORRIS     MI      48458‐8740
HOFFMAN, GEORGE H      10897 DOSTER RD                                                                                         PLAINWELL        MI      49080‐9335
HOFFMAN, GEORGE N      4004 PORTSIDE DR                                                                                        VERMILION        OH      44089‐9182
HOFFMAN, GEORGE R      2585 W CREEK RD                                                                                         NEWFANE          NY      14108‐9750
HOFFMAN, GEORGE T      8063 GORE ORPHANAGE RD                                                                                  VERMILION        OH      44089‐9713
HOFFMAN, GEORGE W      LOT 33                              10420 US HIGHWAY 31                                                 TANNER           AL      35671‐3504
HOFFMAN, GEORGE W      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA      23510
                                                           STREET, SUITE 600
HOFFMAN, GEORGE W      1376 ST GEORGE CIR                                                                                      PRESCOTT         AZ      86301‐4451
HOFFMAN, GEORGE W      941 OAKLEIGH BEACH RD                                                                                   BALTIMORE        MD      21222‐5013
HOFFMAN, GERALD E      11202 PINE CT                                                                                           WASHINGTON TWP   MI      48094‐3723

HOFFMAN, GERALD E      DONALDSON & BLACK                    208 W WENDOVER AVE                                                 GREENSBORO       NC      27401‐1307
HOFFMAN, GERALD I      8010 TIMBERLAKE AVE                                                                                     SPRING HILL      FL      34606‐5237
HOFFMAN, GERALD O      2029 NO 200 ROAD                                                                                        WELLSVILLE       KS      66092
HOFFMAN, GERALDINE C   PO BOX 271                                                                                              MEMPHIS          MI      48041‐0271
HOFFMAN, GERTRUDE A    3850 N. COUNTY LINE RD                                                                                  GENEVA           OH      44041
HOFFMAN, GERTRUDE A    3850 N COUNTY LINE RD                                                                                   GENEVA           OH      44041‐9658
HOFFMAN, GLADYS E      11337 MAIN RD                                                                                           FENTON           MI      48430‐9746
HOFFMAN, GLEN E        120 N WASHINGTON ST                  C/O SPEAR                                                          LAKE ORION       MI      48362‐3269
HOFFMAN, GORDON R      PO BOX 1168                                                                                             CAMDENTON        MO      65020‐1168
HOFFMAN, GRACE         RR 2 BOX 337E                                                                                           CAIRO            WV      26337‐9750
HOFFMAN, GREGORY S     4144 MOSS RIDGE LN                                                                                      INDIANAPOLIS     IN      46237‐2871
HOFFMAN, GUSTAV B      20275 LOCHMOOR ST                                                                                       HARPER WOODS     MI      48225‐1747
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Name                   Address1                          Address2                 Address3                   Address4               City           State Zip
HOFFMAN, GUY           PAUL REICH & MYERS                1608 WALNUT ST STE 500                                                     PHILADELPHIA    PA 19103‐5446
HOFFMAN, HANS
HOFFMAN, HAROLD E      3315 BARDSHAR RD                                                                                             SANDUSKY       OH   44870‐9632
HOFFMAN, HAROLD E      4409 STATE ROUTE 269 S                                                                                       CASTALIA       OH   44824‐9355
HOFFMAN, HAROLD J      5836 BELLCHASE RD                                                                                            INDIAN RIVER   MI   49749‐9718
HOFFMAN, HAROLD L      8720 HUFFMAN RD R R 2                                                                                        NEW LEBANON    OH   45345
HOFFMAN, HAROLD S      231 CLARE RD                                                                                                 MANSFIELD      OH   44906‐1363
HOFFMAN, HARRY A       1639 LATHERS ST                                                                                              GARDEN CITY    MI   48135‐3040
HOFFMAN, HARVEY R      131 S SLATER ST                                                                                              LAKE ORION     MI   48362‐3266
HOFFMAN, HEATH N       2128 WINDEMERE AVE                                                                                           FLINT          MI   48503‐2241
HOFFMAN, HELEN         9082 MARAL TRL                                                                                               CENTERVILLE    OH   45458‐3629
HOFFMAN, HELEN C       122 HIGHLAND AVE                                                                                             ORCHARD PARK   NY   14127‐2728
HOFFMAN, HELEN J       8117 RIDGE RD                                                                                                GOODRICH       MI   48438‐8736
HOFFMAN, HERBERT C     PO BOX 1336                                                                                                  WESTMINSTER    CA   92684‐1336
HOFFMAN, HOWARD B      3345 BALL RD                                                                                                 CARO           MI   48723‐9614
HOFFMAN, HUFF K        PO BOX 5381                                                                                                  E LIVERPOOL    OH   43920‐7381
HOFFMAN, J A           1515 STATE ST 1                                                                                              SAGINAW        MI   48602
HOFFMAN, J A           9155 MALTBY RD                                                                                               BRIGHTON       MI   48116‐8807
HOFFMAN, JACK R        14 KANE CT                                                                                                   WILLOWBROOK    IL   60527‐2263
HOFFMAN, JACQUELINE    808 NICKEL STREET                                                                                            PULASKI        TN   38478
HOFFMAN, JACQUELINEK   1121 ISABEL LN                                                                                               WEST CHESTER   PA   19380‐4714
HOFFMAN, JAMES
HOFFMAN, JAMES A       3195 STRATFORD DR SW                                                                                         WYOMING        MI   49509‐3089
HOFFMAN, JAMES C       2301 BEVERLY ST                                                                                              OVIEDO         FL   32765‐8071
HOFFMAN, JAMES D       PO BOX 520                                                                                                   DIANA          TX   75640‐0520
HOFFMAN, JAMES E       2861 GLENN AVE                                                                                               SAINT HELEN    MI   48656‐9657
HOFFMAN, JAMES H       15654 CRAIG                                                                                                  FRASER         MI   48026‐2621
HOFFMAN, JAMES J       GLASSER AND GLASSER               CROWN CENTER             580 EAST MAIN STREET STE                          NORFOLK        VA   23510
                                                                                  600
HOFFMAN, JAMES L       PO BOX 174                                                                                                   WELLINGTON     MO   64097‐0174
HOFFMAN, JAMES M       APT H                             1712 MARION ROAD                                                           BUCYRUS        OH   44820‐3600
HOFFMAN, JAMES W       464 CIRCLE DR                                                                                                NEWTON FALLS   OH   44444‐1222
HOFFMAN, JAMES W       1668 W HIBBARD RD                                                                                            OWOSSO         MI   48867‐9222
HOFFMAN, JANICE A      210 W NORTH UNION STREET          APARTMENT 7                                                                BAY CITY       MI   48708
HOFFMAN, JANICE L      1638 BROADWAY BLVD                                                                                           FLINT          MI   48506‐3577
HOFFMAN, JASON L       12732 ROAD 16                                                                                                OTTAWA         OH   45875‐9222
HOFFMAN, JEAN A        36 S GARFIELD RD                                                                                             LINWOOD        MI   48634‐9812
HOFFMAN, JEAN A        444 EAGLE DR                                                                                                 ALAMOGORDO     NM   88310‐7716
HOFFMAN, JEAN S        3801 LAKEVIEW BLVD                                                                                           ORCHARD LAKE   MI   48324‐3038
HOFFMAN, JEANETTE K    209 LYDALE PL                                                                                                MERIDEN        CT   06450‐6126
HOFFMAN, JEANETTE M    31289 CARROLL AVE                                                                                            HAYWARD        CA   94544‐7573
HOFFMAN, JEANNE        1541 POLK DR                                                                                                 BRUNSWICK      OH   44212‐3713
HOFFMAN, JEFFREY L     1659 WOODGATE DR                                                                                             TROY           MI   48083‐5551
HOFFMAN, JEFFREY M     5237 SCHALK RD # 1                                                                                           LINEBORO       MD   21102
HOFFMAN, JERRY D       6729 COOPER RD                                                                                               LANSING        MI   48911‐6523
HOFFMAN, JOAN C        2407 FRUITVILLE ROAD                                                                                         SARASOTA       FL   34237‐6222
HOFFMAN, JOAN E        8 PARIS PLACE TROY HILLS                                                                                     PARSIPPANY     NJ   07054
HOFFMAN, JOAN L        33066 SUMMERS ST                                                                                             LIVONIA        MI   48154‐4184
HOFFMAN, JOAN L        3317 E MOUNT HOPE HWY                                                                                        GRAND LEDGE    MI   48837‐9442
HOFFMAN, JOAN M        3118 DEL MONTE DR                                                                                            ANAHEIM        CA   92804‐1602
HOFFMAN, JOANN E       424 E ROSSETTI DR                                                                                            NOKOMIS        FL   34275‐3541
HOFFMAN, JOEL E        250 O J EDMONDS RD                                                                                           ALVATON        KY   42122‐9697
HOFFMAN, JOHN          295 CHARLES STREET                                                                                           XENIA          OH   45385‐5385
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Name                       Address1                         Address2            Address3                   Address4               City             State Zip
HOFFMAN, JOHN A            5220 ROUNDUP RIDGE RD                                                                                  COLORADO SPRINGS CO 80908‐2044

HOFFMAN, JOHN A            309 OXFORD CT                                                                                          MAUMEE               OH   43537‐4310
HOFFMAN, JOHN C            5725 S WHEELOCK RD                                                                                     WEST MILTON          OH   45383‐8773
HOFFMAN, JOHN C            8698 ORMES RD                                                                                          VASSAR               MI   48768‐9635
HOFFMAN, JOHN F            16 MORNINGSIDE AVE                                                                                     NATICK               MA   01760
HOFFMAN, JOHN J            5207 NASHUA DR                                                                                         YOUNGSTOWN           OH   44515‐5141
HOFFMAN, JOHN J            6394 BIRCHVIEW DR                                                                                      SAGINAW              MI   48609‐7007
HOFFMAN, JOHN M            13841 S 28TH ST                                                                                        VICKSBURG            MI   49097‐8398
HOFFMAN, JOHN R            336 7TH AVE                                                                                            THREE RIVERS         MI   49093‐1162
HOFFMAN, JOHN T            10551 IDAHO ST                                                                                         OSCODA               MI   48750
HOFFMAN, JOHN W            315 PASCHAL RD                                                                                         UNIONVILLE           TN   37180‐2500
HOFFMAN, JOHN W            8622 N US HIGHWAY 27                                                                                   BRYANT               IN   47326‐9672
HOFFMAN, JOSEPH C          PO BOX 173                                                                                             GENESEE              MI   48437‐0173
HOFFMAN, JOSEPH H          5211 POINTE TREMBLE RD                                                                                 ALGONAC              MI   48001‐4366
HOFFMAN, JOSEPH H          11577 MAPLE LN                                                                                         GLADWIN              MI   48624‐7502
HOFFMAN, JOSEPH J          3886 BEECH DR                                                                                          YPSILANTI            MI   48197‐3786
HOFFMAN, JOSEPH P          22492 BEACH ST                                                                                         SAINT CLAIR SHORES   MI   48081‐2301

HOFFMAN, JOSEPH T          4338 S DUFFIELD RD                                                                                     LENNON               MI   48449‐9419
HOFFMAN, JOSEPH THEODORE   4338 S DUFFIELD RD                                                                                     LENNON               MI   48449‐9419
HOFFMAN, JOSHUA J          4590 MONITOR RD                                                                                        BAY CITY             MI   48706‐9203
HOFFMAN, JUDITH M          6051 CONDOR DR                                                                                         LAKELAND             FL   33809‐5690
HOFFMAN, JULIA             2604 LANDINGS WAY 1‐2604                                                                               GROVE CITY           OH   43123
HOFFMAN, JULIE E           12874 ROLLING BROOK CT                                                                                 STERLING HEIGHTS     MI   48313‐5200
HOFFMAN, JUSTINE           3315 BARDSHAR RD                                                                                       SANDUSKY             OH   44870‐9632
HOFFMAN, KAREN S           144 MEREDITH ST                                                                                        HAMPTON              VA   23669
HOFFMAN, KARL I            31035 GRANDVIEW AVE                                                                                    WESTLAND             MI   48186‐5065
HOFFMAN, KARON L           4820 MOHAWK TRL                                                                                        GLADWIN              MI   48624‐7103
HOFFMAN, KARYN
HOFFMAN, KENNETH           1231 NORTH RD APT 251                                                                                  NILES                OH   44446‐2219
HOFFMAN, KENNETH B         GLASSER AND GLASSER              CROWN CENTER        580 EAST MAIN STREET STE                          NORFOLK              VA   23510
                                                                                600
HOFFMAN, KENNETH P         3820 STARWOOD DR                                                                                       OKLAHOMA CITY        OK   73121‐6416
HOFFMAN, KENNETH V         5620 WINDSOR AVE                                                                                       SIOUX CITY           IA   51106‐3933
HOFFMAN, KEVIN             1737 VERONA CANEY RD                                                                                   LEWISBURG            TN   37091‐6403
HOFFMAN, KRISTIAN H        PO BOX 734                                                                                             PRUDENVILLE          MI   48651‐0734
HOFFMAN, KRISTIAN H        2387 LAKE PLASANT RD                                                                                   ATTICA               MI   48412
HOFFMAN, KRISTOFFER J      4568 AVA LN                                                                                            CLARKSTON            MI   48348‐5176
HOFFMAN, KYLE J            85 TIVERTON CIR                                                                                        NEWARK               DE   19702‐1442
HOFFMAN, LARRY             5685 330TH ST                                                                                          SANBORN              IA   51248‐7556
HOFFMAN, LARRY D           2018 HOUSEL CRAFT RD                                                                                   BRISTOLVILLE         OH   44402‐9651
HOFFMAN, LARRY D           2404 STATE ROAD 17 S                                                                                   AVON PARK            FL   33825‐9641
HOFFMAN, LARRY D           2018 HOUSEL‐CRAFT RD.                                                                                  BRISTOLVILLE         OH   44402‐9651
HOFFMAN, LARRY E           1340 FIRWOOD DR                                                                                        COLUMBUS             OH   43229‐3405
HOFFMAN, LARRY J           805 COLERIDGE AVE NW                                                                                   WARREN               OH   44483‐2120
HOFFMAN, LAWRENCE F        7085 RANDEE ST                                                                                         FLUSHING             MI   48433‐8817
HOFFMAN, LAWRENCE R        9693 COUNTY 513 T RD                                                                                   RAPID RIVER          MI   49878‐9247
HOFFMAN, LAWRENCE S        8241 W 30 MILE ROAD                                                                                    HARRIETTA            MI   49638
HOFFMAN, LEILA G           1705 N MILLER RD                                                                                       SAGINAW              MI   48609‐9592
HOFFMAN, LENNALEE          3325 GRANGE HALL RD APT 118                                                                            HOLLY                MI   48442‐1096
HOFFMAN, LENORA A          6181 W FREELAND RD                                                                                     FREELAND             MI   48623‐9032
HOFFMAN, LEONARD A         7887 LAMESA DRIVE                                                                                      BROOKSVILLE          FL   34602‐7110
HOFFMAN, LEONARD G         823 WESTERN AVE                                                                                        NORTHBROOK           IL   60062‐3448
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Name                       Address1                          Address2                  Address3   Address4               City              State   Zip
HOFFMAN, LEONARD R         11743 MCCAUGHNA RD                                                                            GAINES             MI     48436‐8807
HOFFMAN, LINDA C           2036 HOMESITE DR                                                                              DAYTON             OH     45414‐4046
HOFFMAN, LINDA D           1110 JORDAN LAKE AVE                                                                          LAKE ODESSA        MI     48849‐1131
HOFFMAN, LINDA K           348 TAYLOR RD                                                                                 MANSFIELD          OH     44903‐1869
HOFFMAN, LINDA K.          2711 109TH ST                                                                                 TOLEDO             OH     43611‐2106
HOFFMAN, LISA J            28104 WEXFORD DR                                                                              WARREN             MI     48092‐4166
HOFFMAN, LOUIS J           4741 LANCER CIR                                                                               GLADWIN            MI     48624‐8232
HOFFMAN, LUCY J            716 QUIET COVE CIR                                                                            SHREVEPORT         LA     71118‐4100
HOFFMAN, LUCY JANE         716 QUIET COVE CIR                                                                            SHREVEPORT         LA     71118‐4100
HOFFMAN, LYLE W            4415 FRUIN RD                                                                                 BELLEVUE           MI     49021‐8207
HOFFMAN, MADALINE          2800 DELTA RIVER DR                                                                           LANSING            MI     48906‐3637
HOFFMAN, MADONNA           4807 COTTAGE COURT                                                                            LOCKPORT           NY     14094
HOFFMAN, MAGDALENA K       6753 HUNTINGTON HILLS BLVD                                                                    LAKELAND           FL     33810‐3306
HOFFMAN, MARGARET J        1417 SCHULER DR                                                                               KOKOMO             IN     46901‐1933
HOFFMAN, MARILYN D         PO BOX 1633                                                                                   DADE CITY          FL     33526‐1633
HOFFMAN, MARILYN J         6177 COUNTRY WAY N                                                                            SAGINAW            MI     48603‐1086
HOFFMAN, MARILYN P         886 LANDSDOWNE N.W.                                                                           WARREN             OH     44485‐2226
HOFFMAN, MARILYN P         2271 E ARMS DR                                                                                HUBBARD            OH     44425‐3302
HOFFMAN, MARION C          316 VINE ST                                                                                   CLYDE              OH     43410‐1532
HOFFMAN, MARION J          151 UNIVERSITY DR 302N                                                                        WEST BEND          WI     53095
HOFFMAN, MARION M          5336 GLENFIELD DR                                                                             SAGINAW            MI     48638
HOFFMAN, MARK              LINDSEY MICHAEL E                 5252 BALBOA AVE STE 408                                     SAN DIEGO          CA     92117‐6939
HOFFMAN, MARK A            11750 UNITY RD                                                                                NEW SPRINGFLD      OH     44443‐9721
HOFFMAN, MARK B            3801 LAKEVIEW BLVD                                                                            ORCHARD LAKE       MI     48324‐3038
HOFFMAN, MARK D            1123 ROLLING HILLS DR                                                                         HOWELL             MI     48843‐9531
HOFFMAN, MARK J            3303 WEIGL RD                                                                                 SAGINAW            MI     48609‐9792
HOFFMAN, MARK J            6296 BROOKINGS DR                                                                             TROY               MI     48098‐1873
HOFFMAN, MARVIN W          4145 N PHEASANT RD                                                                            LINCOLN            MI     48742‐9672
HOFFMAN, MARY F            4480 SMITHVILLE RD                                                                            EATON RAPIDS       MI     48827‐9740
HOFFMAN, MARY G.           400 ELRUTH CT APT 144                                                                         GIRARD             OH     44420‐3032
HOFFMAN, MARY L            1018 E MARKET ST                                                                              DERBY              KS     67037‐2421
HOFFMAN, MATTHEW E         5258 ALEXANDER PL                                                                             OAK LAWN            IL    60453
HOFFMAN, MATTHEW T         9122 PEMBROOK DR                                                                              DAVISON            MI     48423‐8427
HOFFMAN, MELVIN G          2122 FISHER AVE                                                                               SPEEDWAY           IN     46224‐5031
HOFFMAN, MERRYL I          401 E 65TH ST APT 7G                                                                          NEW YORK           NY     10065‐6936
HOFFMAN, MICHAEL G         6304 BALLANTINE AVE                                                                           INVER GROVE        MN     55077‐2137
                                                                                                                         HEIGHTS
HOFFMAN, MICHAEL L         3475 YORK RD                                                                                  ROCHESTER HILLS   MI      48309‐3950
HOFFMAN, MICHAEL S         2434 CALLY ST                                                                                 VENICE            FL      34293‐7911
HOFFMAN, MICHAEL S         51652 BLACK HILLS LN                                                                          MACOMB            MI      48042‐4250
HOFFMAN, MICHAEL W         7527 S IVA RD                                                                                 SAINT CHARLES     MI      48655‐9756
HOFFMAN, MICHAEL WILLIAM   7527 S IVA RD                                                                                 SAINT CHARLES     MI      48655‐9756
HOFFMAN, MIKE A            5252 BELSAY RD                                                                                GRAND BLANC       MI      48439‐9123
HOFFMAN, MILTON            33475 SENECA DR                                                                               SOLON             OH      44139‐5576
HOFFMAN, MILTON G          1263 WOODVALE DR                                                                              GALLATIN          TN      37066‐4051
HOFFMAN, NANCY H           520 HIGH ST                                                                                   NEWTON FALLS      OH      44444‐4444
HOFFMAN, NANCY L.          251 W KEEGAN ST                                                                               DEERFIELD         MI      49238‐9704
HOFFMAN, NEIL A            11485 BURGER DR                                                                               PLYMOUTH          MI      48170‐4469
HOFFMAN, NICHOLAS PAUL     621 NORTH MAIN STREET                                                                         FAIRMOUNT         IN      46928‐1336
HOFFMAN, NICHOLE           2871 VALLEY CREEK                                                                             CULLEOKA          TN      38451
HOFFMAN, NICKOLAS          2450 KROUSE RD LOT 465                                                                        OWOSSO            MI      48867‐8144
HOFFMAN, NICOLETTE E       805 COLERIDGE AVE NW                                                                          WARREN            OH      44483‐2120
HOFFMAN, NORMA J           7482 CHESTNUT RIDGE                                                                           LOCKPORT          NY      14094‐3506
HOFFMAN, PAMELA C          4265 TOD AVE SW                                                                               WARREN            OH      44481‐9749
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Name                  Address1                         Address2                     Address3   Address4               City             State Zip
HOFFMAN, PAMELA S     250 O J EDMONDS RD                                                                              ALVATON           KY 42122‐9697
HOFFMAN, PAMELA SUE   250 O J EDMONDS RD                                                                              ALVATON           KY 42122‐9697
HOFFMAN, PATRICA A    PO BOX 692                                                                                      ATLANTA           MI 49709‐0692
HOFFMAN, PATRICA A    P.O. BOX 692                                                                                    ATLANTA           MI 49709‐0692
HOFFMAN, PATRICIA A   867 N CASS LAKE RD                                                                              WATERFORD         MI 48328‐2317
HOFFMAN, PATRICIA J   5220 ROUNDUP RIDGE RD                                                                           COLORADO SPRINGS CO 80908‐2044

HOFFMAN, PATSY A      78 BELL WOOD RD                                                                                 JEFFERSON          GA   30549‐4400
HOFFMAN, PAUL A       4725 CALEDONIA MUD PIKE                                                                         CALEDONIA          OH   43314‐9787
HOFFMAN, PAUL A       2388 CHURCH RD                                                                                  MOUNTAIN TOP       PA   18707‐9031
HOFFMAN, PAUL A       1980 E PREVO RD                                                                                 LINWOOD            MI   48634‐9495
HOFFMAN, PAUL ALLEN   1980 E PREVO RD                                                                                 LINWOOD            MI   48634‐9495
HOFFMAN, PAUL L       1155 EDGEWOOD DR                                                                                ORTONVILLE         MI   48462‐9301
HOFFMAN, PAUL M       2020 KANSAS AVE                                                                                 FLINT              MI   48506‐3714
HOFFMAN, PAUL R       2380 PORT WILLIAMS DR                                                                           STOW               OH   44224‐1982
HOFFMAN, PAUL W       6016 ELM ST                      PO BOX 318                                                     CLARENCE CTR       NY   14032‐9750
HOFFMAN, PAULA J      517 MADISON ST                                                                                  SHARON             PA   16146‐1436
HOFFMAN, PAULETTE K   2404 STATE ROAD 17 S                                                                            AVON PARK          FL   33825‐9641
HOFFMAN, PAULINE      2526 YORKSHIRE LN                                                                               BLOOMFIELD HILLS   MI   48302‐1072
HOFFMAN, PETER D      3856 BARCLAY MESSERLY RD                                                                        SOUTHINGTON        OH   44470‐9747
HOFFMAN, PHYLLIS A    11743 MCCAUGHNA RD                                                                              GAINES             MI   48436
HOFFMAN, RANDALL D    3 DUNBAR DR                                                                                     BLOOMINGTON        IL   61701
HOFFMAN, RAYMOND B    SHRADER JUSTIN                   16903 RED OAK DR STE 220                                       HOUSTON            TX   77090‐3916
HOFFMAN, RAYMOND P    3400 NW 67TH ST                                                                                 KANSAS CITY        MO   64151‐2284
HOFFMAN, REX J        6056 CITRUS HIGHLANDS CT                                                                        BARTOW             FL   33830‐9564
HOFFMAN, RHEA M       7527 SOUTH IVA ROAD                                                                             SAINT CHARLES      MI   48655‐9756
HOFFMAN, RICHARD      261 LAUREL AVE                                                                                  KEARNY             NJ   07032‐3630
HOFFMAN, RICHARD A    1180 POORMAN RD                                                                                 BELLVILLE          OH   44813‐9018
HOFFMAN, RICHARD C    HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST, 17TH FLOOR                                     PHILADELPHIA       PA   19103

HOFFMAN, RICHARD C    MELTZER MARTIN C                 1500 N FRENCH ST                                               WILMINGTON         DE   19801‐3118
HOFFMAN, RICHARD D    8771 GILMOUR LN                                                                                 FREELAND           MI   48623‐9045
HOFFMAN, RICHARD E    W6533 CREE AVE                                                                                  WAUTOMA            WI   54982‐7275
HOFFMAN, RICHARD H    PO BOX 336                                                                                      ARLINGTON          WA   98223‐0336
HOFFMAN, RICHARD J    9030 ELSTNER AVENUE NORTHEAST                                                                   ROCKFORD           MI   49341‐9112
HOFFMAN, RICHARD L    433 SUNBURST DR                                                                                 FRANKENMUTH        MI   48734‐1240
HOFFMAN, RICHARD L    2010 MORRISON AVE                                                                               SPRING HILL        TN   37174‐7411
HOFFMAN, RICHARD R    902 LAKE AVE.                                                                                   NEW CARLISLE       OH   45344‐1521
HOFFMAN, RICHARD R    902 W LAKE AVE                                                                                  NEW CARLISLE       OH   45344‐1521
HOFFMAN, RITA M       2755 COUNTY FARM RD                                                                             HOWELL             MI   48843‐8934
HOFFMAN, ROBERT A     15 CHRISTOPHER HOLLOW RD                                                                        SANDWICH           MA   02563‐2227
HOFFMAN, ROBERT A     12325 MAPLE RD                                                                                  GOODRICH           MI   48438‐9710
HOFFMAN, ROBERT D     5353 MCAULEY DR APT 317                                                                         YPSILANTI          MI   48197‐1018
HOFFMAN, ROBERT D     6371 OHLS DR                                                                                    WEIDMAN            MI   48893‐9293
HOFFMAN, ROBERT D     4007 GOSSETT DR                                                                                 WICHITA FALLS      TX   76308‐2625
HOFFMAN, ROBERT E     6400 TAMARACK TRL                                                                               LAKE               MI   48632‐8979
HOFFMAN, ROBERT E     1482 OAKSTONE DR                                                                                ROCHESTER HLS      MI   48309‐1750
HOFFMAN, ROBERT E     25530 ROAN AVE                                                                                  WARREN             MI   48089‐4577
HOFFMAN, ROBERT E     314 TRUMBULL DR                                                                                 NILES              OH   44446‐2020
HOFFMAN, ROBERT H     4577 E HIGHWAY 150                                                                              LINCOLNTON         NC   28092‐8156
HOFFMAN, ROBERT H     274 S BARAT AVE                                                                                 FERGUSON           MO   63135‐2122
HOFFMAN, ROBERT J     3184 STATE ROUTE 5                                                                              NEWTON FALLS       OH   44444‐9548
HOFFMAN, ROBERT J     4265 TOD AVE SW                                                                                 WARREN             OH   44481‐9749
HOFFMAN, ROBERT J     25120 CHIPPENDALE ST                                                                            ROSEVILLE          MI   48066‐3906
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Name                    Address1                        Address2                     Address3                   Address4               City             State   Zip
HOFFMAN, ROBERT J       2951 QUARTZ DR                                                                                                 TROY              MI     48085‐3933
HOFFMAN, ROBERT JOHN    2951 QUARTZ DR                                                                                                 TROY              MI     48085‐3933
HOFFMAN, ROBERT K       1750 W SLOAN RD                                                                                                BURT              MI     48417‐2188
HOFFMAN, ROBERT L       920 S ANDERSON ST                                                                                              ELWOOD            IN     46036‐2330
HOFFMAN, ROBERT P       154 SENECA DR                                                                                                  MONTPELIER        OH     43543‐9436
HOFFMAN, ROBERT R       4116 WOODRIDGE DR                                                                                              SANDUSKY          OH     44870‐7056
HOFFMAN, ROBERT W       PO BOX 5213                                                                                                    NAVARRE           FL     32566‐0213
HOFFMAN, ROBERT W       610 W NORTH ST                                                                                                 LEBANON           IN     46052‐2071
HOFFMAN, ROBERT W       2002 PECAN HOLLOW CT                                                                                           KELLER            TX     76248‐5499
HOFFMAN, ROBIN C        580 SUNSET RD                                                                                                  ORTONVILLE        MI     48462‐9061
HOFFMAN, ROBIN CHERYL   580 SUNSET RD                                                                                                  ORTONVILLE        MI     48462‐9061
HOFFMAN, ROGER A        6181 W FREELAND RD                                                                                             FREELAND          MI     48623‐9032
HOFFMAN, ROLLAND W      GEORGE & SIPES                  151 N DELAWARE ST STE 1700                                                     INDIANAPOLIS      IN     46204‐2503
HOFFMAN, RONALD C       7520 HUNTINGTON DR                                                                                             OSCODA            MI     48750‐9774
HOFFMAN, RONALD E       4175 FAWN TRAIL                                                                                                WARREN            OH     44483‐3663
HOFFMAN, RONALD E       4175 FAWN TRL NE                                                                                               WARREN            OH     44483‐3663
HOFFMAN, RONALD L       1411 COUNTRY CLUB PL                                                                                           COOKEVILLE        TN     38501‐2061
HOFFMAN, RONALD L       6600 E FREMONT RD                                                                                              SHEPHERD          MI     48883‐8304
HOFFMAN, RONALD M       6255 S ELMS RD                                                                                                 SWARTZ CREEK      MI     48473‐9400
HOFFMAN, ROSE M         PO BOX 401                      C/O ROLLAND J BERGER                                                           HEMLOCK           MI     48626‐0401
HOFFMAN, ROSS C         174 CORRY RD                                                                                                   SLIPPERY ROCK     PA     16057‐4106
HOFFMAN, RUFUS P        GLASSER AND GLASSER             CROWN CENTER                 580 EAST MAIN STREET STE                          NORFOLK           VA     23510
                                                                                     600
HOFFMAN, SANDRA A       4175 FAWN TRL NE                                                                                               WARREN           OH      44483‐3663
HOFFMAN, SANDRA A       4175 FAWN TRAIL                                                                                                WARREN           OH      44483‐3663
HOFFMAN, SANDRA J       442 ENGLEWOOD AVE APT 2                                                                                        BUFFALO          NY      14223‐2853
HOFFMAN, SANDRA K       1505 HUMPHRIES ROAD NORTHWEST                                                                                  CONYERS          GA      30012‐2023
HOFFMAN, SCOTT A        302 BEAUMONT DR                                                                                                WEATHERFORD      TX      76086
HOFFMAN, SHANNON G      624 CHARLES LN                                                                                                 SPRING HILL      TN      37174‐7351
HOFFMAN, SHARON L.      251 INVERNESS LANE                                                                                             TEMPERANCE       MI      48182‐1177
HOFFMAN, SHARON M       37 BAD DOG HL                                                                                                  EQUINUNK         PA      18417‐3051
HOFFMAN, SHAUN D        634 SHERBROOKE ST                                                                                              COMMERCE TWP     MI      48382‐3961
HOFFMAN, SHAUN D.       634 SHERBROOKE ST                                                                                              COMMERCE TWP     MI      48382‐3961
HOFFMAN, SHERY LYNN     1606 BLUE MOON ROAD                                                                                            COLUMBIA         TN      38401
HOFFMAN, SHIRLEY        3088 NE 158TH PLACE             GUEST HOUSE                                                                    CITRA            FL      32113
HOFFMAN, SHIRLEY A.     1533 VISTA RIDGE DRIVE                                                                                         MIAMISBURG       OH      45342
HOFFMAN, SHIRLEY J      9251 CENTRAL AVE                                                                                               INDIANAPOLIS     IN      46240‐1020
HOFFMAN, SHIRLEY J      3488 SOUTHGATE DR.                                                                                             FLINT            MI      48507‐3223
HOFFMAN, SHIRLEY L      5610 BUNCOMBE RD APT 311                                                                                       SHREVEPORT       LA      71129‐2689
HOFFMAN, SHIRLEY L.     5610 BUNCOMBE RD APT 311                                                                                       SHREVEPORT       LA      71129‐2689
HOFFMAN, STEPHEN D      8214 WOODPARK DR SW                                                                                            BYRON CENTER     MI      49315‐9339
HOFFMAN, STEPHEN J      15342 LINCOLNSHIRE LN                                                                                          FRASER           MI      48026‐2386
HOFFMAN, STEVE          THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD      SUITE 44                                          CORAL GABLES     FL      33146
HOFFMAN, STEVE          LIPMAN DAVID M                  5901 SW 74TH ST STE 304                                                        MIAMI            FL      33143‐5163
HOFFMAN, STEVE T        7845 KRISDALE DR                                                                                               SAGINAW          MI      48609‐4932
HOFFMAN, STEVEN E       54 THE COMMONS                                                                                                 GRAND ISLAND     NY      14072‐2953
HOFFMAN, STEVEN J       12596 S US HIGHWAY 27                                                                                          DEWITT           MI      48820‐8384
HOFFMAN, STEVEN M       7510 N 700 W                                                                                                   CARTHAGE         IN      46115‐9468
HOFFMAN, STEVEN R       2734 ORCHARD ST                                                                                                NORTH BELLMORE   NY      11710‐2833
HOFFMAN, SUZANNE G      820 N MANSFIELD ST                                                                                             YPSILANTI        MI      48197‐2033
HOFFMAN, SUZANNE K      1177 STONEBROOK CT NE                                                                                          GRAND RAPIDS     MI      49505‐7218
HOFFMAN, SYLVIA J       4577 E HIGHWAY 150                                                                                             LINCOLNTON       NC      28092‐8156
HOFFMAN, TERESA L       4029 KINGS CORNER RD                                                                                           OSCODA           MI      48750‐8937
HOFFMAN, TERRI J
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Name                     Address1                          Address2                          Address3   Address4               City              State   Zip
HOFFMAN, TERRY L         20905 WALNUT HILL RD                                                                                  DANVILLE            IL    61834‐5775
HOFFMAN, TERRY W         5101 LIN HILL DR                                                                                      SWARTZ CREEK       MI     48473‐8837
HOFFMAN, THEDA H         1170 SOUTHERN BLVD NW                                                                                 WARREN             OH     44485‐2246
HOFFMAN, THEODORE A      7434 CROSWELL RD                                                                                      CROSWELL           MI     48422‐8949
HOFFMAN, THOMAS C        369 E SOUTHLAWN BLVD                                                                                  BIRMINGHAM         MI     48009‐4716
HOFFMAN, THOMAS D        1389 CRESTWOOD LN                                                                                     HOWELL             MI     48843‐8588
HOFFMAN, THOMAS E        PO BOX 403973                                                                                         HESPERIA           CA     92340‐3973
HOFFMAN, THOMAS F        4129 BAYMAR DR                                                                                        YOUNGSTOWN         OH     44511‐3332
HOFFMAN, THOMAS G        12247 HILL RD                                                                                         SWARTZ CREEK       MI     48473‐8581
HOFFMAN, THOMAS GEORGE   12247 HILL RD                                                                                         SWARTZ CREEK       MI     48473‐8581
HOFFMAN, THOMAS J        2196 SMITH RD                                                                                         TEMPERANCE         MI     48182‐1109
HOFFMAN, THOMAS J        311 OLD CREEK DR                                                                                      SALINE             MI     48176‐1685
HOFFMAN, THOMAS M        343 GREENTREE LN                                                                                      MILAN              MI     48160‐1078
HOFFMAN, THOMAS R        8555 S PUGSLEY RD LOT 14                                                                              DALEVILLE          IN     47334‐8930
HOFFMAN, THOMAS V        APT 2113                          1300 KELLER PARKWAY                                                 KELLER             TX     76248‐1615
HOFFMAN, TIM R           310 HICKORY LN                                                                                        NORTH              IN     46962‐9606
                                                                                                                               MANCHESTER
HOFFMAN, TIMOTHY E       3055 WEIGL RD                                                                                         SAGINAW           MI      48609‐9744
HOFFMAN, TIMOTHY J       1612 BAY ST                                                                                           SAGINAW           MI      48602‐3920
HOFFMAN, TIMOTHY S       PO BOX 72                                                                                             GRATIS            OH      45330
HOFFMAN, VALDREENE       439 BURNS AVE                                                                                         WEST CARROLLTON   OH      45449‐1333

HOFFMAN, VALDREENE       439 BURNS AVENUE                                                                                      WEST CARROLLTON   OH      45449‐1333

HOFFMAN, VINTON          119 BEECHWOOD DR                                                                                      GREENSBURG        PA      15601‐6671
HOFFMAN, VIRGINIA L      3151 FAIRVIEW AVE SE                                                                                  WARREN            OH      44484‐3218
HOFFMAN, VIRGINIA M      3952 FOUR SEASONS DRIVE                                                                               GLADWIN           MI      48624‐9734
HOFFMAN, VIVIAN V        212 KENNEALLY BLVD                                                                                    GLADSTONE         MI      49837‐2487
HOFFMAN, W M             201 BEDFORD TRAIL                 F141                                                                SUNCITY CENTER    FL      33573
HOFFMAN, W M             201 BEDFORD TRL                   APT 141                                                              SUN CITY CTR     FL      33573‐6054
HOFFMAN, W MARC          201 BEDFORD TRL APT 141                                                                               SUN CITY CENTER   FL      33573
HOFFMAN, WALTER C        PO BOX 161                                                                                            TIPTON            MI      49287‐0161
HOFFMAN, WAYNE J         PO BOX 30487                                                                                          SANTA BARBARA     CA      93130‐0487
HOFFMAN, WAYNE W         1926 TWP RD 1215 R4                                                                                   ASHLAND           OH      44805
HOFFMAN, WILL C          1107 WYNDHAM LN                                                                                       SANDUSKY          OH      44870‐7265
HOFFMAN, WILLARD         78 BELL WOOD RD                                                                                       JEFFERSON         GA      30549‐4400
HOFFMAN, WILLIAM         2181 ROAD 23                                                                                          CONTINENTAL       OH      45831‐9440
HOFFMAN, WILLIAM C       506 MEADOWDALE DR                                                                                     MANSFIELD         OH      44907‐2841
HOFFMAN, WILLIAM D       5404 GREEN HWY                                                                                        TECUMSEH          MI      49286‐9593
HOFFMAN, WILLIAM E       CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                     CLEVELAND         OH      44115
                         GAROFOLI                          FL
HOFFMAN, WILLIAM E       2054 MARION AVE RD #6                                                                                 MANSFIELD         OH      44903
HOFFMAN, WILLIAM E       305 WHETSTONE RD                                                                                      FOREST HILL       MD      21050‐1331
HOFFMAN, WILLIAM M       489 LORI LN                                                                                           WINSTON SALEM     NC      27127‐9004
HOFFMAN, WILLIAM P       64 W STATE ROAD 28                                                                                    RIDGEVILLE        IN      47380‐9172
HOFFMAN, WILLIAM P       64 W STATE RD 28                                                                                      RIDGEVILLE        IN      47380‐9172
HOFFMAN, WILLIAM R       10867 DD AVENUE                                                                                       ALDEN             IA      50006‐9217
HOFFMAN, WILLIAM S       7777 DRYDEN RD                                                                                        ALMONT            MI      48003
HOFFMAN, WILMA           309 OXFORD CT                                                                                         MAUMEE            OH      43537‐4310
HOFFMAN, YOLANDE L       11 LAUREL AVE                                                                                         TERRYVILLE        CT      06786‐6426
HOFFMANN ANDREAS         LERCHENSTRASSE 59B
HOFFMANN DANIELLE        HOFFMANN, DANIELLE                60 ANDREA CT                                                        CLIFTON PARK       NY     12065
HOFFMANN FILTER CORP     7627 KENSINGTON CT                                                                                    BRIGHTON           MI     48116‐8561
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HOFFMANN GABRIELE       IM HALLER 1                                                           54552 UEDERSDORF
                                                                                              GERMANY
HOFFMANN PETER P        DBA HYDROGEN & FUEL CELL LETTE   69 GRINNELL STREET                                            RHINECLIFF            NY   12574
HOFFMANN, ALICE M       3204 EWINGS RD                                                                                 NEWFANE               NY   14108‐9605
HOFFMANN, ARNOLD J      2090 KING RD                                                                                   LAPEER                MI   48446‐8386
HOFFMANN, ART           34046 JEFFERSON AVE                                                                            SAINT CLAIR SHORES    MI   48082‐1162

HOFFMANN, BETTY D       4260 OLD BAKER RD                                                                              BRIDGEPORT           MI    48722‐9563
HOFFMANN, CASPER E      35 HACKETT DR                                                                                  TONAWANDA            NY    14150‐5238
HOFFMANN, DORIS MARY    5260 INDIANTOWN RD                                                                             SAGINAW              MI    48601‐9626
HOFFMANN, DOUGLAS F     8006 S FRISTOE RD                                                                              GRAIN VALLEY         MO    64029‐9756
HOFFMANN, EDWARD J      75 ELMRIDGE RD                                                                                 MANSFIELD            OH    44907‐2441
HOFFMANN, ELIZABETH A   2603 ADAMS BLVD                                                                                SAGINAW              MI    48602‐3125
HOFFMANN, FLORENCE      22838 POPLAR BEACH DR                                                                          SAINT CLAIR SHORES   MI    48081‐1320

HOFFMANN, FRANK M       17938 N CATALINA CT                                                                            SURPRISE              AZ   85374‐3316
HOFFMANN, GEORGE
HOFFMANN, GEORGE J      146 CROSS GATES RD                                                                             ROCHESTER            NY    14606‐3354
HOFFMANN, GEORGE M      5 REENE CIR                                                                                    CHALFONT             PA    18914‐4013
HOFFMANN, HERTA J       2318 EDWIN                                                                                     WARREN               MI    48092‐2103
HOFFMANN, HERTA J       2318 EDWIN DR                                                                                  WARREN               MI    48092‐2103
HOFFMANN, JOHN          1864 DEWITT TRL                                                                                ROSCOMMON            MI    48653
HOFFMANN, JOHN          1864 DEWITT TRAIL                                                                              ROSCOMMON            MI    48653
HOFFMANN, JOHN F        5528 NORTHWESTERN AVE                                                                          RACINE               WI    53406‐3406
HOFFMANN, JOHN H        1901 PTARMIGAN TRL UNIT 204                                                                    ESTES PARK           CO    80517‐9770
HOFFMANN, JOHN J        3920 HUTCHINSON RD                                                                             CINCINNATI           OH    45248‐2216
HOFFMANN, JUNE M        18301 NELSON RD                  C/O JOAN H. SAMPLE                                            SAINT CHARLES        MI    48655‐9798
HOFFMANN, KARL W        8032 BROKEN SPUR LN                                                                            LAS VEGAS            NV    89131‐4509
HOFFMANN, LORI J        930 BIRCHWOOD LN                                                                               NISKAYUNA            NY    12309‐3112
HOFFMANN, MARIE W       6088 HAPPY LN                                                                                  NAMPA                ID    83586‐9439
HOFFMANN, MARY E        2615 GOOSE CREEK BYP                                                                           FRANKLIN             TN    37064‐1203
HOFFMANN, MARY H        10420 US 31 LOT 332                                                                            TANNER               AL    35671‐3548
HOFFMANN, MARY H        LOT 431                          10420 US HIGHWAY 31                                           TANNER               AL    35671‐3555
HOFFMANN, PETER R       3118 SUNSET LN                                                                                 FRANKLIN PARK        IL    60131‐1827
HOFFMANN, PHYLLIS A     1644 LAKE DR                                                                                   HASLETT              MI    48840
HOFFMANN, ROBERT C      4759 RIDGETOP RD                                                                               HAMPSHIRE            TN    38461‐4545
HOFFMANN, ROBERT J      45085 MAYO CT                                                                                  NORTHVILLE           MI    48167‐2825
HOFFMANN, RUSSELL W     716 TURNBERRY LN                                                                               LADY LAKE            FL    32159‐1335
HOFFMANN, RUTH E        273 WRIGHT AVE                                                                                 CARLE PLACE          NY    11514‐2017
HOFFMANN, RUTH T        3453 NORTH HAMLIN AVENUE                                                                       CHICAGO              IL    60618‐5215
HOFFMANN, SHELLY L      506 8TH ST                                                                                     ANN ARBOR            MI    48103‐4754
HOFFMANN, SHELLY LYNN   506 8TH ST                                                                                     ANN ARBOR            MI    48103‐4754
HOFFMANN, SUSAN G       R#1 BOX 7160                                                                                   PORUM                OK    74455‐9622
HOFFMANN, SUSAN G       RR 1 BOX 7160                                                                                  PORUM                OK    74455‐9622
HOFFMANN, THOMAS J      798 MCKENDIMEN RD                                                                              SHAMONG              NJ    08088‐8628
HOFFMANN, UTE           667 LARCHMONT PLACE                                                                            GOLETA               CA    93117‐1723
HOFFMANN, WILLIAM H     APT 213                          1717 HOMEWOOD BOULEVARD                                       DELRAY BEACH         FL    33445‐6801
HOFFMANN, WILLIAM I     848 TALLY HO LN                                                                                CHESTER SPRGS        PA    19425‐2307
HOFFMANN, WILLIAM N     4386 BRIGHTON DR                                                                               GRAND BLANC          MI    48439‐8086
HOFFMASTER, CHARLES L   412 UNION ST                                                                                   COLUMBIANA           OH    44408‐1260
HOFFMASTER, DIANNE J    49 BEACH ST                                                                                    MILFORD              MA    01757‐3409
HOFFMASTER, GARY W      4498 N 100 E                                                                                   BLUFFTON             IN    46714‐9218
HOFFMASTER, JAMES L     1095 VINEWOOD ST                                                                               AUBURN HILLS         MI    48326‐1644
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HOFFMASTER, PAUL E               233 RAINBOW DR                                                                                 NORTH FORT MYERS    FL 33903‐5657

HOFFMASTER, RICHARD W            131 JOLLY RANCHER DR                                                                           MARTINSBURG        WV    25405‐5899
HOFFMASTER, RICHARD WAYNE        131 JOLLY RANCHER DR                                                                           MARTINSBURG        WV    25405‐5899
HOFFMASTER, VICKI L              4498 N 100 E                                                                                   BLUFFTON           IN    46714‐9218
HOFFMASTER, WILLIAM C            7442 W GARFIELD RD                                                                             SALEM              OH    44460‐9227
HOFFMEISTER, ERIC C              1767 TIMBER HEIGHTS DR                                                                         INDIANAPOLIS       IN    46280‐1558
HOFFMEISTER, LEONARD C           711 CONNIE ST                                                                                  JACKSON            MO    63755‐1054
HOFFMEISTER, PATRICIA C          BOX 103 RT 1                                                                                   ST CLAIR           MO    63077
HOFFMEISTER, ROBERT E            19767 NORWICH RD                                                                               LIVONIA            MI    48152‐1231
HOFFMEISTER, WILLIAM D           2909 SANDPOINT RD                                                                              FORT WAYNE         IN    46809‐1832
HOFFMEYER, BETTY J               7247 E FRANCES RD                                                                              MOUNT MORRIS       MI    48458‐9740
HOFFMEYER, CHARLES E             PO BOX 424                                                                                     ONAWAY             MI    49765‐0424
HOFFMEYER, CHARLES K             405 E TOWNSEND RD                                                                              SAINT JOHNS        MI    48879‐8258
HOFFMEYER, CLIFFORD A            6215 SURREY LN                                                                                 BURTON             MI    48519‐1317
HOFFMEYER, DOUGLAS M             PO BOX 746                                                                                     BELLAIRE           MI    49615‐0746
HOFFMEYER, GAIL A                PO BOX 746                                                                                     BELLAIRE           MI    49615
HOFFMEYER, JAMES E               20440 MACEL ST                                                                                 ROSEVILLE          MI    48066‐1134
HOFFMEYER, JOAN B                20766 HC L                                                                                     GROSSE ILE         MI    48138
HOFFMEYER, MATTHEW S             1763 COUNTRYSIDE DRIVE                                                                         VISTA              CA    92081‐8727
HOFFMEYER, MICHAEL P             1717 TUSCANY LN                                                                                HOLT               MI    48842‐2096
HOFFMEYER, RICHARD A             7204 E GRAND RIVER AVE LOT 24                                                                  PORTLAND           MI    48875‐8759
HOFFMEYER, WAYNE C               6201 CORAL LN                                                                                  SACHSE             TX    75048‐3381
HOFFMIRE, CARL M                 416 MERION DR                                                                                  NEWTOWN            PA    18940‐1611
HOFFMIRE, MICHAEL A              9620 CONIFER CT                                                                                FISHERS            IN    46037‐9282
HOFFMIRE, ROBERT E               1826 MIDDLE RD                                                                                 SILVER CREEK       NY    14136‐1421
HOFFNER, BRUCE G                 131 MINNETONKA DR                                                                              OXFORD             MI    48371‐5053
HOFFNER, BRUCE GARRY             131 MINNETONKA DR                                                                              OXFORD             MI    48371‐5053
HOFFNER, DORIS L                 21832 PARKLANE CT.                                                                             FARMINGTON HILLS   MI    48335‐4212

HOFFNER, ELLEN O                 2080 CRAIG DR.                    APT. A2                                                      MILAN              TN    38358
HOFFNER, HELEN                   5021 N HENDERSON RD                                                                            DAVISON            MI    48423‐8513
HOFFNER, JAMES                   15707 NORMAN RD                                                                                LYNN               MI    48097‐1707
HOFFNER, JOHN                    323 STATE ST                      C/O KAREN DAVIS                                              EDWARDSVILLE       IL    62025‐1243
HOFFNER, SALLY I                 6215 CHANEY DRIVE                                                                              TOLEDO             OH    43615‐1818
HOFFNER, SALLY I                 6215 CHANEY DR                                                                                 TOLEDO             OH    43615‐1818
HOFFNER, SANDRA Y                24417 ALPINE ST                                                                                CLINTON TWP        MI    48036‐2809
HOFFNER, SHERRY G                6586 GREENE HAVEN DR                                                                           CLARKSTON          MI    48348‐4420
HOFFNER, SHERRY GENE             6586 GREENE HAVEN DR                                                                           CLARKSTON          MI    48348‐4420
HOFFOWER, EARL P                 82 SCHWARTZ RD                                                                                 ELMA               NY    14059‐9730
HOFFSCHMID, ROSALIA              4026 SARATOGA DR                                                                               JANESVILLE         WI    53546
HOFFSOMMER, MONTY
HOFFSTETTER WINFORD              GAVIN WILLIAM P                   23 PUBLIC SQ STE 415                                         BELLEVILLE         IL    62220‐1627
HOFFSTETTER, JOHN F              44 MORGAN RD                                                                                   BUFFALO            NY    14220‐2305
HOFFSTETTER, LARRY L             2375 W SPRINGLAKE DR                                                                           DUNNELLON          FL    34434‐2023
HOFFSTETTER, LARRY L             2375 WEST SPRINGLAKE DRIVE                                                                     DUNNELLON          FL    34434‐2023
HOFFSTROM, ROGER P               PO BOX 191                                                                                     EWEN               MI    49925
HOFGREN, JON M                   101 SAINT ANDREWS LN              GLEN COVE HOSPITAL     3 WEST                                GLEN COVE          NY    11542‐2254
HOFHEIMER GARTLIR & GROSS, LLP   S.KIPNIS, D.GROSS, N.MALITO, G.   530 5TH AVE FL 9                                             NEW YORK           NY    10036‐5115
                                 MORGANSTERN
HOFHEINS, DANA W                 60 BURKE RD EAST 3145             MALVERN ,VICTORIA                   MALVERN AUSTRALIA
HOFHERR, AARON D                 15023 N 100 E                                                                                  SUMMITVILLE         IN   46070‐9646
HOFHERR, CAROLYN R               11551 W RIVER ROAD                                                                             YORKTOWN            IN   47396‐9525
HOFHERR, DAVID R                 10850 W STATE ROAD 32                                                                          YORKTOWN            IN   47396‐9794
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Name                              Address1                            Address2                      Address3        Address4                    City             State   Zip
HOFHERR, DAVID RANDALL            10850 W STATE ROAD 32                                                                                         YORKTOWN          IN     47396‐9794
HOFHERR, GREG A                   2655 W RIDGE LN                                                                                               ANDERSON          IN     46013‐9781
HOFHERR, RONALD G                 PO BOX 83                                                                                                     YORKTOWN          IN     47396‐0083
HOFHERR, TIMOTHY J                11501 W RIVER RD                                                                                              YORKTOWN          IN     47396‐9525
HOFIUS LIMITED                    111 NORTH FRONT STREET                                                            BELIZE CITY BELIZE
HOFIUS, JEFFREY L                 4244 WILSON SHARPSVILLE RD                                                                                    CORTLAND         OH      44410‐9407
HOFKAMP, DONALD H                 1004 RANDY LN                                                                                                 SAINT JOHNS      MI      48879‐1182
HOFKAMP, HELEN M                  1004 RANDY LN                                                                                                 SAINT JOHNS      MI      48879‐1182
HOFKER AUTOMOTIVE                 4800 N 56TH ST                                                                                                LINCOLN          NE      68504‐1719
HOFKNECHT ALAN (471348)           PAUL REICH & MYERS P.C.             1608 WALNUT ST STE 500                                                    PHILADELPHIA     PA      19103‐5446
HOFKNECHT, ALAN                   PAUL REICH & MYERS P.C.             1608 WALNUT ST STE 500                                                    PHILADELPHIA     PA      19103‐5446
HOFLAND, DAVID A                  PO BOX 23923                                                                                                  TUCSON           AZ      85734‐3923
HOFLAND, RAYMOND W                1101 SE 33RD ST                                                                                               CAPE CORAL       FL      33904‐4218
HOFLE, CAROL SUE
HOFLE, ROLF C                     CRABBE BROWN JONES POTTS & SCHMIDT 500 S FRONT ST STE 1200                                                    COLUMBUS         OH      43215‐7631

HOFLER, LORENZO                   2334 SUNNYGLEN AVE                                                                                            YPSILANTI         MI     48198‐6215
HOFLEY MANUFACTURING CO           NORMAN HOFLEY                       BOX 1447                                                                  WILSON            WI     83014
HOFMAN BANG                       HANS BEKKEVOLDS ALLE 7              DK 2900 HELLERUP                              DENMARK GERMANY
HOFMAN, JOEL L                    3421 YELLOWSTONE DR                                                                                           ANN ARBOR        MI      48105‐1524
HOFMANN ANDREAS                   3 ARLINGTON ST APT 51                                                                                         CAMBRIDGE        MA      02140‐2732
HOFMANN III, MARTIN J             7310 FLAMINGO ST                                                                                              CLAY             MI      48001‐4132
HOFMANN JOSEPH MICHAEL (641763)   LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                                BIRMINGHAM       MI      48009‐5394
HOFMANN JR, ALFRED W              1437 ANDREW AVE                                                                                               SALEM            OH      44460‐3558
HOFMANN RAYMOND (110950)          BROOKMAN ROSENBERG BROWN &          17TH FLR, ONE PENN SQUARE WEST,                                           PHILADELPHIA     PA      19102
                                  SANDLER                             30 SOUTH 15TH STREET
HOFMANN SCOTT                     HOFMANN, SCOTT                      429 W WESLEY ST                                                           WHEATON           IL     60187‐4925
HOFMANN SCOTT                     HOFMANN, KATHRYN                    LEHRER FLAHERTY & CANAVAN P.C. 429 W WESLEY                               WHEATON           IL     60187
HOFMANN WILFRIED                  ANNE‐FRANK‐STR 32                                                                 D33106 PADERBORN,
                                                                                                                    GERMANY
HOFMANN, ADOLF O                  5135 S WASHINGTON RD                                                                                          SAGINAW          MI      48601‐7224
HOFMANN, DAVID L                  13448 LEFFINGWELL RD                                                                                          BERLIN CENTER    OH      44401‐9642
HOFMANN, DIANNA L                 3356 US HIGHWAY 63                                                                                            WILLOW SPRINGS   MO      65793‐8108
HOFMANN, DWAYNE R.                36827 STATE ROUTE 558                                                                                         SALEM            OH      44460‐9473
HOFMANN, ELIZABETH J              911 SHERMAN CT                                                                                                YPSILANTI        MI      48197‐2707
HOFMANN, ELLA K                   3603 146TH ST                                                                                                 TOLEDO           OH      43611‐2516
HOFMANN, FREDERICK L              1300 COURTYARD PL                                                                                             CENTERVILLE      OH      45458‐3976
HOFMANN, GERDA & DIETER           BORN RECHTBANWALBOOZIETAT           SCHILLERSTR 40                                66482 ZWEIBRUCKEN,
                                                                                                                    GERMANY
HOFMANN, HERBERT                  17993 MAYBURY DR                                                                                              CLINTON TWP       MI     48035‐2483
HOFMANN, HORST K                  3521 HARVARD AVE                                                                  NIAGARA FALLS ON CANADA
                                                                                                                    L2J‐3C6
HOFMANN, HOWARD E                 4079 RIDGE ROAD N.E.                                                                                          CORTLAND         OH      44410‐9780
HOFMANN, HOWARD E                 4079 RIDGE RD                                                                                                 CORTLAND         OH      44410‐9780
HOFMANN, HUBERT                   3910 MILITARY ST                                                                                              PORT HURON       MI      48060‐8132
HOFMANN, JEAN                     5206 E TIMROD ST                                                                                              TUCSON           AZ      85711‐7426
HOFMANN, JERRY L                  38474 LONGS CROSSING RD                                                                                       LEETONIA         OH      44431‐9788
HOFMANN, JOSEPH MICHAEL           LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                                BIRMINGHAM       MI      48009‐5394
HOFMANN, JUDITH M                 3504 MEADOW HILL CIR                                                                                          HOLLY            MI      48442‐8841
HOFMANN, KENNETH P                435 RICHGOLD ST                                                                                               HENDERSON        NV      89012
HOFMANN, LYLA M                   1635 DUFFERIN AVE                                                                 WALLACEBURG ON CAN N8A‐
                                                                                                                    2X1
HOFMANN, MARY A                   982 SAINT JOSEPH LN                                                                                           MARYSVILLE       MI      48040‐1595
HOFMANN, NANCY L                  36827 STATE ROUTE 558                                                                                         SALEM            OH      44460‐9473
                             09-50026-mg           Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
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Name                         Address1                           Address2                        Address3                  Address4               City               State Zip
HOFMANN, RAYMOND             BROOKMAN ROSENBERG BROWN &         17TH FLR, ONE PENN SQUARE WEST,                                                  PHILADELPHIA        PA 19102
                             SANDLER                            30 SOUTH 15TH STREET
HOFMANN, ROLF H              865 TANBARK DR APT 201                                                                                              NAPLES             FL   34108‐7539
HOFMANN, ROY J               545 N 12TH RD                                                                                                       LOSTANT            IL   61334‐9510
HOFMANN, TED                 16664 SUNSET DR                                                                                                     LAKE MILTON        OH   44429‐9788
HOFMANN, THELMA              1204 N. CATHERINE                                                                                                   BAY CITY           MI   48706‐3612
HOFMANN, THELMA              1204 N CATHERINE ST                                                                                                 BAY CITY           MI   48706‐3612
HOFMANN, WILBUR H            3356 US HIGHWAY 63                                                                                                  WILLOW SPRINGS     MO   65793‐8108
HOFMANN, WILBUR H            138 HOPKINS RD                                                                                                      WILLIAMSVILLE      NY   14221‐4645
HOFMANN, WILLIAM G           1022 KENSINGTON AVE                                                                                                 GROSSE POINTE      MI   48230
                                                                                                                                                 PARK
HOFMANN/LYNCHBURG            3700 COHEN PL                                                                                                       LYNCHBURG          VA   24501‐5046
HOFMEISTER THOMAS (474465)   GEORGE & SIPES                     151 N DELAWARE ST STE 1700                                                       INDIANAPOLIS       IN   46204‐2503
HOFMEISTER, ARTHUR H         2908 GREGG DR                                                                                                       BAY CITY           MI   48706‐1225
HOFMEISTER, CONNIE L         6151 MOUNTAIN VISTA STREET #2318                                                                                    HENDERSON          NV   89014
HOFMEISTER, DALE L           505 S WENONA ST                                                                                                     BAY CITY           MI   48706‐4556
HOFMEISTER, DONALD F         709 AUGUSTA BLVD APT 4                                                                                              NAPLES             FL   34113‐7527
HOFMEISTER, GORDON C         272 KILLARNEY BEACH RD                                                                                              BAY CITY           MI   48706‐8110
HOFMEISTER, JAMES R          11050 HURON LINE RD                                                                                                 UNIONVILLE         MI   48767‐9628
HOFMEISTER, LEROY W          2106 MOCKINGBIRD LN                                                                                                 BOSSIER CITY       LA   71111‐5655
HOFMEISTER, PHILLIP L        206 CHADWICK ST                                                                                                     MARION             MI   49665‐8605
HOFMEISTER, POLLY R          1817 APPLE RIDGE CT                                                                                                 ROCHESTER HLS      MI   48306‐3206
HOFMEISTER, ROBERT J         3457 CEDAR CREEK CT                                                                                                 MAUMEE             OH   43537‐9135
HOFMEISTER, STANFORD K       419 EARLSTON ST                                                                                                     BOWLING GREEN      KY   42104‐7206
HOFMEISTER, THOMAS           GEORGE & SIPES                     151 N DELAWARE ST STE 1700                                                       INDIANAPOLIS       IN   46204‐2503
HOFMEISTER, TIMOTHY D        14615 ELLEN DR                                                                                                      LIVONIA            MI   48154‐5197
HOFNER JR, ROBERT W          140 HARPETH TRACE DR                                                                                                NASHVILLE          TN   37221‐3150
HOFNER, LANCE M              7140 CAMELOT DR                                                                                                     CANTON             MI   48187‐2516
HOFNER, LAWRENCE M           6535 DREXEL ST                                                                                                      DEARBORN HTS       MI   48127‐2260
HOFRICHTER, FLORENCE I       PO BOX 335                                                                                                          CEDAR LAKE         IN   46303‐0335
HOFRICHTER, FLORENCE I       POST OFFICE BOX 335                                                                                                 CEDAR LAKE         IN   46303‐0335
HOFROCK EDWARD C (652434)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                      NORFOLK            VA   23510
                                                                STREET, SUITE 600
HOFROCK, EDWARD C            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                      NORFOLK            VA   23510‐2212
                                                                STREET, SUITE 600
HOFSASS, KURT A              2356 COUNTY ROAD 24                                                                                                 SWAIN              NY   14884‐9717
HOFSASS, LISA A              208 SOUTH DR                                                                                                        ROCHESTER          NY   14612
HOFSASS, MARK S              4204 BOYNTON RD                                                                                                     WALWORTH           NY   14568‐9712
HOFSESS, STEPHEN D           625 HALF ACRE DR                                                                                                    MILFORD            MI   48380‐3425
HOFSTEADTER, ROBERT          GUY WILLIAM S                      PO BOX 509                                                                       MCCOMB             MS   39649‐0509
HOFSTETTER, ORRAN INC        PO BOX 237                         12024 E LINCOLNWAY                                                               ORRVILLE           OH   44667‐0237
HOFSTETTER, THOMAS E         10317 PIFER RD                                                                                                      WADSWORTH          OH   44281‐9561
HOFSTETTER, THOMAS J         114 NORTHGATE DR NE                                                                                                 WARREN             OH   44484‐5532
HOFSTRA UNIVERSITY           UCCE LEGAL STUDIES PROGRAM         250 HOFSTRA UNIVERSITY          UNIVERSITY COLLEGE HALL                          HEMPSTEAD          NY   11549‐0001
HOFSTRA UNIVERSITY           STUDENT ACCOUNTS OFFICE            205 MEMORIAL                                                                     HEMPSTEAD          NY   11550
HOFSTRA, JAMES M             2542 ANGELA ST                                                                                                      JENISON            MI   49428‐8178
HOFT, KARL R                 457 D ST SUNNY ACRES                                                                                                NIAGARA FALLS      NY   14304
HOFUS, DONNA A               243 PLYMOUTH AVE                                                                                                    GIRARD             OH   44420‐3247
HOFWEBER JR, AUGUST J        1864 CHIPPING WAY                                                                                                   BLOOMFIELD HILLS   MI   48302‐1710
HOG BROTHERS RECYCLING LLC   9607 DEARBORN ST                                                                                                    DETROIT            MI   48209‐2511
HOGABOOM JR, WILLIAM O       17 BLANCHARD BLVD                                                                                                   BRAINTREE          MA   02184‐1501
HOGABOOM, BEVERLY M          11900 S 34TH ST                                                                                                     VICKSBURG          MI   49097‐7801
HOGABOOM, NORMAN F           11900 S 34TH ST                                                                                                     VICKSBURG          MI   49097‐7801
HOGADONE, JAMES F            PO BOX 2586                                                                                                         PAHRUMP            NV   89041‐2586
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Name                                  Address1                                 Address2                           Address3               Address4                 City              State   Zip
HOGAN & HARTSON                       COLUMBIA SQUARE                          555 THIRTEENTH STREET N.W.                                                         WASHINGTON         DC     20004
HOGAN & HARTSON LLP                   555 THIRTEENTH STREET NW                                                                                                    WASHINGTON         DC     20004
HOGAN & HARTSON LLP                   555 13TH ST NW                                                                                                              WASHINGTON         DC     20004
HOGAN & HARTSON LLP                   ATT: SCOTT A. GOLDEN & BRIAN J GRIECO,   ATTY FOR NEWS AMERICA              875 THIRD AVENUE                                NEW YORK           NY     10022
                                      ESQ.                                     INCORPORATED
HOGAN & HARTSON LLP                   ATTN EDWARD C DOLAN                      555 THIRTEENTH STREET NW                                                           WASHINGTON        DC      20004‐1109
HOGAN ANTHONY (507528)                COON BRENT W                             PO BOX 4905                                                                        BEAUMONT          TX      77704‐4905
HOGAN AUTOMOTIVE                      1004 W BLUFF ST                                                                                                             FORT WORTH        TX      76102‐1809
HOGAN BLAIR E (453906)                KELLEY & FERRARO LLP                     1300 EAST NINTH STREET , 1901                                                      CLEVELAND         OH      44114
                                                                               BOND COURT BUILDING
HOGAN BROTHERS INC                    SEATON & HUSK LP                         2240 GALLOWS ROAD                                                                  VIENNA             VA     22182
HOGAN BROTHERS INC                    2240 GALLOWS ROAD                                                                                                           VIENNA             VA     22182
HOGAN CARLOS G (472071)               GLASSER AND GLASSER                      CROWN CENTER, 580 EAST MAIN                                                        NORFOLK            VA     23510
                                                                               STREET, SUITE 600
HOGAN CHEVROLET LIMITED               5000 SHEPPARD AVE E                                                                                SCARBOROUGH ON M1S 4L9
                                                                                                                                         CANADA
HOGAN DEMPSEY (445276)                BEVAN & ASSOCIATES                       10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD        OH      44067
                                                                               PROFESSIONAL BLDG
HOGAN DONNA MARIE                     HOGAN, DONNA MARIE                       10085 CARROLL CANYON ROAD                                                          SAN DIEGO          CA     92131
HOGAN DONNA MARIE                     HOGAN, TODD CLINTON                      ROSNER LAW & MANSFIELD             10085 CARROLL CANYON                            SAN DIEGO          CA     92131
                                                                                                                  ROAD
HOGAN DOUGLAS (445277)                CLIMACO LEFKOWITZ PECA WILCOX &          1228 EUCLID AVE , HALLE BLDG 9TH                                                   CLEVELAND         OH      44115
                                      GAROFOLI                                 FL
HOGAN GREEN                           524 NE 453 AVE                                                                                                              OLD TOWN           FL     32680‐3225
HOGAN HAROLD F (ESTATE OF) (656841)   COONEY & CONWAY                          120 NORTH LASALLE STREET , 30TH                                                    CHICAGO            IL     60602
                                                                               FLOOR
HOGAN I I, CHARLES W                  2236 KNOLL VIEW DR                                                                                                          BELOIT             WI     53511‐2743
HOGAN II, CHARLES W                   2236 KNOLL VIEW DR                                                                                                          BELOIT             WI     53511‐2743
HOGAN JAMES                           3446 PRIMROSE WAY 3446                                                                                                      PALM HARBOR        FL     34683
HOGAN JERRY A (439145)                GLASSER AND GLASSER                      CROWN CENTER, 580 EAST MAIN                                                        NORFOLK            VA     23510
                                                                               STREET, SUITE 600
HOGAN JR, DENNIS                      443 CAMELLA CIR                                                                                                             MCDONOUGH         GA      30252‐8917
HOGAN JR, DONALD C                    1427 CHATHAM DR                                                                                                             FLINT             MI      48505‐2591
HOGAN JR, JOHN F                      11151 108TH LN                                                                                                              LARGO             FL      33778‐3318
HOGAN LINDA B                         307 SPICYWOOD DR                                                                                                            MILTON            WV      25541‐1180
HOGAN PATRICIA                        6021 COOK RD                                                                                                                DAY HEIGHTS       OH      45150‐5590
HOGAN PATRICK J (404335)              ANGELOS PETER G LAW OFFICE               115 BROADWAY FRNT 3                                                                NEW YORK          NY      10006‐1638
HOGAN STACEY                          5170 TWIN LAKES LN                                                                                                          BARTOW            FL      33830‐2617
HOGAN SWITZER LEE                     C/O EDWARD O MOODY P A                   801 WEST 4TH STREET                                                                LITTLE ROCK       AR      72201
HOGAN TRANSPORTATION                  ELAINE HOGAN                             36475 READING AVE                                                                  WILLOUGHBY        OH      44094‐8208
HOGAN TRANSPORTS INC                  85 CORPORATE WOODS DR                                                                                                       BRIDGETON         MO      63044‐3809
HOGAN TRANSPORTS INC                  ANGELA HENSON                            1000 N. 14TH ST.                                                                   ST. LOUIS         MO      63106
HOGAN TRANSPORTS INC                  TOM SCHUTTINGER                          1000 N 14TH ST                                                                     SAINT LOUIS       MO      63106‐3827
HOGAN WILLIAM A                       PAUL REICH & MEYERS P C                  1608 WALNUT ST STE 500                                                             PHILADELPHIA      PA      19103‐5446
HOGAN WILLIAM A (317800)              YOUNG RILEY DUDLEY & DEBROTA             3815 RIVER CROSSING PKWY STE 340                                                   INDIANAPOLIS      IN      46240‐7808
HOGAN WILLIAM JACK (316624)           BROWN TERRELL HOGAN ELLIS                804 BLACKSTONE BLDG , 233 EAST                                                     JACKSONVILLE      FL      32202
                                      MCCLAMMA & YEGELWEL P.A.                 BAY STREET
HOGAN, AGNES                          24111 CIVIC CENTER DR APT 432                                                                                               SOUTHFIELD        MI      48033‐7436
HOGAN, ALFRED L                       1110 WALKER ST                                                                                                              MANSFIELD         OH      44906‐1942
HOGAN, ALLEN J                        5135 VIRGIE LN                                                                                                              ORCHARD LAKE      MI      48324‐2259
HOGAN, ANITA L                        5707 FLEMING RD                                                                                                             FLINT             MI      48504‐5002
HOGAN, ANTHONY                        COON BRENT W                             PO BOX 4905                                                                        BEAUMONT          TX      77704‐4905
HOGAN, ANTHONY W                      505 DIXIE HWY APT B6                                                                                                        CHICAGO HEIGHTS   IL      60411‐1771
HOGAN, BARBARA J                      PO BOX 735                                                                                                                  LAKE CITY         MI      49651‐0736
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Name                 Address1                        Address2                       Address3   Address4               City               State   Zip
HOGAN, BARBARA L     1712 CRIMSON DR                                                                                  TROY                MI     48083‐5536
HOGAN, BARNEY ANN    19279 GARY LN                                                                                    LIVONIA             MI     48152‐1132
HOGAN, BENJAMIN C    15375 ALDEN                                                                                      DETROIT             MI     48238‐2103
HOGAN, BENJAMIN C    15375 ALDEN ST                                                                                   DETROIT             MI     48238‐2103
HOGAN, BETH E        86 DELVIEW DR                                                                                    HALIFAX             PA     17032‐9656
HOGAN, BETTY A       1010 GOTT ST                                                                                     ANN ARBOR           MI     48103‐3154
HOGAN, BEVERLY A     31261 DAY LILY DR                                                                                ROCKWOOD            MI     48173‐8771
HOGAN, BEVERLY A     4908 EASTOVER AVE                                                                                FORT WORTH          TX     76119‐5126
HOGAN, BLAIR E       KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                     CLEVELAND           OH     44114
                                                     BOND COURT BUILDING
HOGAN, CARLOS G      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA     23510‐2212
                                                     STREET, SUITE 600
HOGAN, CARMEN M      2304 WHITEMORE PL                                                                                SAGINAW            MI      48602‐3529
HOGAN, CARROLL L     330 MERWIN AVE APT C9                                                                            MILFORD            CT      06460‐7116
HOGAN, CATHERINE L   2862 BARCLAY MESSERLY RD                                                                         SOUTHINGTON        OH      44470‐9719
HOGAN, CHARLES       1582 PIN HOOK RD.                                                                                HILLSBORO          OH      45133‐5133
HOGAN, CHARLES E     17 CEDAR ST                                                                                      WINCHESTER         MA      01890‐1909
HOGAN, CHARLIE C     2660 OLD MEMPHIS PIKE                                                                            TUSCUMBIA          AL      35674‐7251
HOGAN, CHRISTINE     4343 LOST PINE DR                                                                                TALLAHASSEE        FL      32305‐7395
HOGAN, CHRISTINE D   10 CROOKED PINE RD                                                                               PORT ORANGE        FL      32128‐6745
HOGAN, CLARA M       8855 OLD WAVERLY DR APT 203                                                                      MEMPHIS            TN      38125‐2683
HOGAN, CLARENCE      6 WHITE TER                                                                                      NEWARK             NJ      07108‐1236
HOGAN, CLAUDIUS A    902 HUNTERS WAY                                                                                  SANDUSKY           OH      44870‐7931
HOGAN, CLAY L        2731 FOREST AVE                                                                                  KANSAS CITY        MO      64109‐1225
HOGAN, CLEM H        3721 GLOUCESTER ST                                                                               FLINT              MI      48503‐4537
HOGAN, CONLEY E      9004 W 49TH TER                                                                                  MERRIAM            KS      66203‐1716
HOGAN, CONNIE D      1705 HUNTINGWOOD LANE                                                                            BLOOMFIELD HILLS   MI      48304
HOGAN, DANIEL C      8690 LAKEVIEW DR                                                                                 BARKER             NY      14012‐9645
HOGAN, DANIEL M      6345 LINDEN RD                                                                                   FENTON             MI      48430‐9255
HOGAN, DANIEL P      18450 GILMORE RD                                                                                 ARMADA             MI      48005‐4137
HOGAN, DANNY H       2633A COUNTRY HAVEN DR                                                                           THOMPSONS          TN      37179‐9702
                                                                                                                      STATION
HOGAN, DANNY L       15007 HIGHWAY B                                                                                  RICHMOND           MO      64085‐8119
HOGAN, DANNY W       438 FREEMAN RD                                                                                   DANVILLE           AL      35619‐7216
HOGAN, DARRYL Q      425 FREEMAN RD                                                                                   DANVILLE           AL      35619‐7217
HOGAN, DAVID J       3756 OAK MEADOW LN                                                                               LOWELL             MI      49331‐9560
HOGAN, DAWN          21160 STRAWBERRY HILLS DR                                                                        MACOMB             MI      48044‐2275
HOGAN, DEBORAH A     11671 ORCHARDVIEW DR                                                                             FENTON             MI      48430‐3508
HOGAN, DEBORAH S     PO BOX 2106                                                                                      DETROIT            MI      48202‐0106
HOGAN, DELIA G       1130 E BRISTOL ROAD                                                                              BURTON             MI      48529‐1127
HOGAN, DEMPSEY       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH      44067
                                                     PROFESSIONAL BLDG
HOGAN, DENNIS F      6303 HILL RD                                                                                     SWARTZ CREEK       MI      48473‐8202
HOGAN, DION J        36483 TOM BROWN CT                                                                               WESTLAND           MI      48185‐2630
HOGAN, DIXIE L       2509 SPRING GROVE DR                                                                             KOKOMO             IN      46902‐9273
HOGAN, DOLORES       438 SW TALQUIN LN                                                                                ST LUCI WEST       FL      34986
HOGAN, DONALD C      1427 CHATHAM DR                                                                                  FLINT              MI      48505‐2591
HOGAN, DONALD J      3 E JENNY LYNN CT                                                                                PITTSBURGH         PA      15239
HOGAN, DONALD J      523 THEO AVE                                                                                     LANSING            MI      48917‐2651
HOGAN, DONALD R      21450 CLARK LN                                                                                   BELLEVILLE         MI      48111‐9111
HOGAN, DONNA M       PO BOX 1075                                                                                      EMMITSBURG         MD      21727‐1075
HOGAN, DONNA MARIE   ROSNER LAW & MANSFIELD          10085 CARROLL CANYON ROAD                                        SAN DIEGO          CA      92131
HOGAN, DORIS         8463 PARSHALLVILLE RD                                                                            FENTON             MI      48430‐9211
HOGAN, DORSIE        4000 GLADY ROAD                                                                                  LYNCHBURG          OH      45142‐9223
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Name                     Address1                          Address2                          Address3   Address4               City               State Zip
HOGAN, DORSIE            4000 GLADY RD                                                                                         LYNCHBURG           OH 45142‐9223
HOGAN, DOUGLAS           CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                     CLEVELAND           OH 44115
                         GAROFOLI                          FL
HOGAN, DRASADRIA E       112 SAINT LOUIS CT                                                                                    KOKOMO             IN   46902‐5942
HOGAN, EDNA M            1001 SHAWHAN RD                   BOX 294 RR 2                                                        MORROW             OH   45152‐9697
HOGAN, EDWARD L          3779 RANSOMVILLE RD                                                                                   RANSOMVILLE        NY   14131‐9770
HOGAN, ELLAMAE K         5026 WOOD MANOR RUN                                                                                   FORT WAYNE         IN   46835‐8827
HOGAN, EVELYN L          6017 CEDARWOOD LN                                                                                     BRADENTON          FL   34203‐7313
HOGAN, FAY S             54 CRAWFORD                                                                                           PONTIAC            MI   48341‐2109
HOGAN, FERRILL           5392 SPOKANE ST                                                                                       DETROIT            MI   48204‐5025
HOGAN, FLORENCE A        5880 MARTUS RD                                                                                        NORTH BRANCH       MI   48461‐8278
HOGAN, FLORENCE A        5880 MARTUS RD.                                                                                       NORTH BRANCH       MI   48461‐8278
HOGAN, FRANCIS J         213 NORTHVIEW CT                                                                                      PEEKSKILL          NY   10566‐4440
HOGAN, FRANCIS P         13754 BROOKSIDE DR                                                                                    STERLING HTS       MI   48313‐2816
HOGAN, FRANK J           509 COUNTRYWOOD DR                                                                                    FRANKLIN           TN   37064‐5502
HOGAN, FREDERICK J       14907 ANNAPOLIS DR                                                                                    STERLING HEIGHTS   MI   48313‐3623
HOGAN, GABE R            5173 ROCK RUN                                                                                         WEST BLOOMFIELD    MI   48322‐2124

HOGAN, GEORGE S          PO BOX 114                        122 EAST LORD ST                                                    GAINES             MI   48436‐0114
HOGAN, GERALD            7428 COLERIDGE DR                 C/O PETER MORAKON                                                   FAYETTEVILLE       NC   28304‐2691
HOGAN, GERALD D          4207 GREENBROOK LN                                                                                    FLINT              MI   48507‐2225
HOGAN, GERALD J          1560 RICE RD                                                                                          ELMA               NY   14059‐9244
HOGAN, GERALD R          2331 GIRKIN RD                                                                                        BOWLING GREEN      KY   42101‐8581
HOGAN, GLADYS            912 N BELL ST                                                                                         KOKOMO             IN   46901‐3049
HOGAN, GRAZYNA           2635 SUNNYSIDE AVE                                                                                    LANGHORNE          PA   19053‐1962
HOGAN, GUY H             4900 NEOSHO AVE                                                                                       SHAWNEE MISSION    KS   66205‐1475

HOGAN, GWENDOLYN D       29335 WESTBROOK PKWY                                                                                  SOUTHFIELD         MI   48076‐1774
HOGAN, HAROLD A          15422 EAST HILLSIDE DRIVE                                                                             FOUNTAIN HLS       AZ   85268‐5806
HOGAN, HAROLD F          COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                      CHICAGO            IL   60602
                                                           FLOOR
HOGAN, HERBERT J         PO BOX 9                          3740 CHILDERS RD                                                    ORTONVILLE         MI   48462‐0009
HOGAN, HOWARD LIGGETTE   COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                             HOUSTON            TX   77002‐1751
HOGAN, IDELLA L.         3509 WHITEGATE DR                                                                                     TOLEDO             OH   43607‐2573
HOGAN, J D               606 S LANSING ST                                                                                      SAINT JOHNS        MI   48879‐2120
HOGAN, JACQUELINE        7530 S COUNTY RD 300 W                                                                                CLAYTON            IN   46118‐9010
HOGAN, JAMES             6403 GREENVIEW AVE                                                                                    DETROIT            MI   48228‐4765
HOGAN, JAMES D           G2112 N MORRISH RD                                                                                    FLUSHING           MI   48433
HOGAN, JAMES E           PO BOX 483                                                                                            NEWARK             TX   76071‐0483
HOGAN, JAMES F           4B SALMON RUN B                                                                                       HILTON             NY   14468
HOGAN, JAMES K           6017 CEDARWOOD LN                                                                                     BRADENTON          FL   34203‐7313
HOGAN, JAMES L           2915 COLUMBUS AVE                                                                                     SANDUSKY           OH   44870‐8021
HOGAN, JAMES T           2413 SCOTT RD                                                                                         NORTH BRANCH       MI   48461‐9770
HOGAN, JAMES W           4871 APPLETREE LN                                                                                     BAY CITY           MI   48706‐9280
HOGAN, JEAN M            421 OGDEN PARMA TL RD                                                                                 SPENCERPORT        NY   14559‐1151
HOGAN, JEANNINE C        4250 LAKE STISON DR                                                                                   WHITE LAKE         MI   48383‐3800
HOGAN, JENNIE L          PO BOX 303                                                                                            RUSSIAVILLE        IN   46979‐0303
HOGAN, JERALD W          2509 SPRING GROVE DR                                                                                  KOKOMO             IN   46902‐9273
HOGAN, JERRY A           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510‐2212
                                                           STREET, SUITE 600
HOGAN, JESSE L           724 SIR WINSTON PL                                                                                    FRANKLIN           TN   37064‐5437
HOGAN, JEWEL D           3637 CHARLOTTE ST                                                                                     KANSAS CITY        MO   64109‐2635
HOGAN, JOHN A            438 SW TALQUIN LN                                                                                     ST LUCIE WEST      FL   34986‐2061
HOGAN, JOHN E            12 NEWPORT RD                                                                                         MANAHAWKIN         NJ   08050‐5419
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Name                                  Address1                             Address2       Address3         Address4               City                 State   Zip
HOGAN, JOHN S                         2175 SYCAMORE CANYON RD                                                                     SANTA BARBARA         CA     93108‐1857
HOGAN, JONATHAN L                     1364 WESTWOOD DR                                                                            FLINT                 MI     48532‐2665
HOGAN, JOSEPH L                       18075 WISCONSIN ST                                                                          DETROIT               MI     48221‐2505
HOGAN, JOSEPH P                       422 SUSAN RD                                                                                SAINT LOUIS           MO     63129‐4836
HOGAN, JOYCE                          2163 TWILIGHT PASS                                                                          HOLT                  MI     48842‐7708
HOGAN, JUDITH K                       545 WESTGATE BLVD                                                                           YOUNGSTOWN            OH     44515‐3407
HOGAN, JULIE C                        6300 WHISPERING OAK DR                                                                      WASHINGTON            MI     48094‐3421
HOGAN, JUNE P                         5501 MAPLE PARK DR                                                                          FLINT                 MI     48507‐3904
HOGAN, KEITH A                        6340 SILVERBELL CT                                                                          CLAYTON               OH     45315
HOGAN, KENNETH E                      1117 COUNTY ROAD 5710                                                                       WILLOW SPRINGS        MO     65793‐8211
HOGAN, KENT L                         912 N BELL ST                                                                               KOKOMO                IN     46901‐3049
HOGAN, KENT LAMONT                    912 N BELL ST                                                                               KOKOMO                IN     46901‐3049
HOGAN, KEVIN S                        18955 GAULT ST                                                                              RESEDA                CA     91335‐3909
HOGAN, LAJJAN                         15491 MANSFIELD ST                                                                          DETROIT               MI     48227‐1904
HOGAN, LINDA B                        307 SPICYWOOD DR                                                                            MILTON                WV     25541‐1180
HOGAN, LINDA C                        3152 RABEEH DR                                                                              AUBURN HILLS          MI     48326‐2055
HOGAN, LINDA E                        22707 WOODRUFF RD                                                                           ROCKWOOD              MI     48173‐8711
HOGAN, LOLA B                         255 PLEASENT GROVE CIRCLE                                                                   MCDONOUGH             GA     30252
HOGAN, LOLA B                         255 PLEASANT GROVE CIR                                                                      MCDONOUGH             GA     30252‐3950
HOGAN, MARGARET C                     4901 BRYN MAWR DR                                                                           SYRACUSE              NY     13215‐2207
HOGAN, MARIAN H                       10811 SUSIE PL                                                                              SANTEE                CA     92071‐5030
HOGAN, MARIE C                        1155 BEACONSFIELD AVE                                                                       GROSSE POINTE         MI     48230‐1344
                                                                                                                                  PARK
HOGAN, MARILYN                        2608 LOCKSLEY ST                                                                            SUN CITY CENTER      FL      33573‐6532
HOGAN, MARJORIE A                     64 ANDREWS RD                                                                               DANVILLE             AL      35619‐7102
HOGAN, MARJORIE L                     9110 CHASE LAKE RD                                                                          FOWLERVILLE          MI      48836‐9761
HOGAN, MARTIN A                       4250 LAKE STISON DR                                                                         WHITE LAKE           MI      48383‐3800
HOGAN, MARTIN J PA/TRUSTEE FOR MARY   3613 MATTHES AVE                                                                            SANDUSKY             OH      44870‐5445
HOGAN
HOGAN, MARY                           4785 WEST SCHOOL RD                                                                         ROSCOMMON            MI      48653‐9216
HOGAN, MARY E                         403 WOODSIDE LANE                                                                           BAY CITY             MI      48708‐5550
HOGAN, MARY E                         403 WOODSIDE LN                                                                             BAY CITY             MI      48708‐5550
HOGAN, MARY K                         120 LAKES AT LITCHFIELD DR APT 103                                                          PAWLEYS ISLAND       SC      29585‐5524
HOGAN, MAX E                          709 GRANT ST                                                                                FENTON               MI      48430‐2058
HOGAN, MAXINE G                       2555 FOWLER AVE                                                                             OMAHA                NE      68111‐2014
HOGAN, MICHAEL C                      137 ROBERTS DR                                                                              HEATH                OH      43056‐9653
HOGAN, MICHAEL D                      9089 W BASSETT CT                                                                           LIVONIA              MI      48150‐3391
HOGAN, MICHAEL F                      4675 DAVIS PECK RD                                                                          FARMDALE             OH      44417‐9741
HOGAN, MICHAEL F                      2381 EDGEWATER DR.                                                                          CORTLAND             OH      44410‐4410
HOGAN, MICHAEL F                      636 BONNIE BRAE NE                                                                          WARREN               OH      44483‐4483
HOGAN, MICHAEL L                      8641 W BANCROFT ST                                                                          TOLEDO               OH      43617‐1907
HOGAN, MICHELE M                      21701 VISNAW ST                                                                             SAINT CLAIR SHORES   MI      48081‐1297

HOGAN, NANA R                         1158 S GALE CT                                                                              WISCONSIN DELLS      WI      53965‐8910
HOGAN, NATHAN A                       1982 HOLLYWOOD RD NW                                                                        ATLANTA              GA      30318‐1879
HOGAN, NOBUKO                         2407 BURNINGTREE LN                                                                         KOKOMO               IN      46902‐3153
HOGAN, NORMA E                        7645 RAGLAN DR., N.E.                                                                       WARREN               OH      44484‐1433
HOGAN, NORMA E                        7645 RAGLAN DR NE                                                                           WARREN               OH      44484‐1433
HOGAN, NORMA J                        1900 SAINT CHARLES CT                                                                       KOKOMO               IN      46902‐6122
HOGAN, PAMELA                         95 LIVINGSTONE LN                                                                           DECATUR              AL      35603‐5752
HOGAN, PATRICIA                       18637 BIRWOOD ST                                                                            DETROIT              MI      48221‐1905
HOGAN, PATRICIA J                     9094 E COLDWATER RD                                                                         DAVISON              MI      48423‐8936
HOGAN, PATRICIA L                     36483 TOM BROWN CT                                                                          WESTLAND             MI      48185‐2630
HOGAN, PATRICK G                      4516 HOLLOPETER RD                                                                          LEO                  IN      46765‐9780
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Name                    Address1                      Address2                            Address3                  Address4               City              State   Zip
HOGAN, PATRICK J        ANGELOS PETER G LAW OFFICE    115 BROADWAY FRNT 3                                                                  NEW YORK           NY     10006‐1638
HOGAN, PATRICK M        10091 SONORA DR                                                                                                    FENTON             MI     48430‐9361
HOGAN, PATSY A          PO BOX 6045                                                                                                        KOKOMO             IN     46904‐6045
HOGAN, PAUL A           14051 IROQUOIS WOODS DR                                                                                            FENTON             MI     48430‐1639
HOGAN, PAUL D           340 SHERIDAN AVE                                                                                                   SATELLITE BEACH    FL     32937‐3046
HOGAN, PEARL M          9004 W 49TH TERRACE                                                                                                MERRIAM            KS     66203‐1716
HOGAN, QUINCY L         815 IMANI CIR                                                                                                      TOLEDO             OH     43604‐8425
HOGAN, QUINCY LAMONT    815 IMANI CIR                                                                                                      TOLEDO             OH     43604‐8425
HOGAN, RALPH J          1 COURT ST APT 12O                                                                                                 NEWARK             NJ     07102‐2657
HOGAN, RAYMOND          ATTN LYNNE KIZIS ESQ          WILENTZ GOLDMAN AND SPITZER         90 WOODBRIDGE CENTER DR                          WOODBRIDGE         NJ     07095

HOGAN, RAYMOND          WILENTZ GOLDMAN & SPITZER     88 PINE STREET, WALL STREET PLAZA                                                    NEW YORK          NY      10005
HOGAN, REBA B.          107 LAMIE DR                                                                                                       LADSON            SC      29456
HOGAN, REGINALD         16723 BEAVERLAND ST                                                                                                DETROIT           MI      48219‐3703
HOGAN, ROBERT J         7645 RAGLAN DR NE                                                                                                  WARREN            OH      44484‐1433
HOGAN, ROBERT J         7645 RAGLAN DR. N.E.                                                                                               WARREN            OH      44484‐1433
HOGAN, ROBERT J         475 COUNTRY CLUB DR           # 223                                                                                STOCKBRIDGE       GA      30281
HOGAN, ROBERT L         506 E VAN WAGONER AVE                                                                                              FLINT             MI      48505‐6500
HOGAN, ROBERT W         4080 HYATT AVE NW                                                                                                  MASSILLON         OH      44646‐1434
HOGAN, ROSALIE M        1886 DALY DR                                                                                                       REESE             MI      48757‐9231
HOGAN, ROSALIE M        1886 DALEY DR                                                                                                      REESE             MI      48757‐9231
HOGAN, ROYCE A          PO BOX 15054                                                                                                       HATTIESBURG       MS      39404‐5054
HOGAN, SAM              309 RIVA RIDGE TRAIL                                                                                               CORBIN            KY      40701‐8511
HOGAN, SCOTT T          1054 E MANDEVILLE ST                                                                                               BURTON            MI      48529‐1125
HOGAN, SCOTT THOMAS     1054 E MANDEVILLE ST                                                                                               BURTON            MI      48529‐1125
HOGAN, SHEILA M         2633A COUNTRY HAVEN DR                                                                                             THOMPSONS         TN      37179‐9702
                                                                                                                                           STATION
HOGAN, SHIRLEY E        2462 CROWN ROAD                                                                                                    FILION            MI      48432‐9738
HOGAN, SHIRLEY E        2462 CROWN RD                                                                                                      FILION            MI      48432‐9738
HOGAN, SHIRLEY R        1117 COUNTY ROAD 5710                                                                                              WILLOW SPRINGS    MO      65793‐8211
HOGAN, STEVE E          5543 BUCKINGHAM AVE                                                                                                DETROIT           MI      48224‐3254
HOGAN, SUSAN N          PO BOX 9                                                                                                           ORTONVILLE        MI      48462‐0009
HOGAN, SWITZER LEE      MOODY EDWARD O                801 W 4TH ST                                                                         LITTLE ROCK       AR      72201‐2107
HOGAN, TERESA S         6122 W QUESTA DR                                                                                                   GLENDALE          AZ      85310‐2705
HOGAN, TERRENCE D       10203 ANDOVER CT                                                                                                   CLARKSTON         MI      48348‐2191
HOGAN, TERRY            PO BOX 178181                                                                                                      NASHVILLE         TN      37217‐8181
HOGAN, TERRY G          1243 MASSMAN DRIVE                                                                                                 NASHVILLE         TN      37217‐1756
HOGAN, TERRY L          48 CHELSEA RD                                                                                                      ROCHESTER         NY      14617‐2925
HOGAN, THOMAS           PORTER & MALOUF PA            4670 MCWILLIE DR                                                                     JACKSON           MS      39206‐5621
HOGAN, THOMAS E         529 SOUTH ST                                                                                                       LINDEN            MI      48451‐8945
HOGAN, THOMAS EDWARD    529 SOUTH ST                                                                                                       LINDEN            MI      48451‐8945
HOGAN, THOMAS J         6300 WHISPERING OAK DR                                                                                             WASHINGTON        MI      48094‐3421
HOGAN, THOMAS M         2208 SW KEYSTONE PL                                                                                                BLUE SPRINGS      MO      64014‐4620
HOGAN, THOMAS P         3917 E JACOBS DR                                                                                                   MILTON            WI      53563‐9653
HOGAN, TIMOTHY          SIMMONS FIRM                  PO BOX 521                                                                           EAST ALTON        IL      62024‐0519
HOGAN, TIMOTHY W        5263 CENTER ST                                                                                                     FAIRGROVE         MI      48733‐9703
HOGAN, TODD CLINTON     ROSNER LAW & MANSFIELD        10085 CARROLL CANYON ROAD                                                            SAN DIEGO         CA      92131
HOGAN, TOMMIE H         PO BOX 2711                                                                                                        MUNCIE            IN      47307‐0711
HOGAN, TONY R           25996 E NEW GARDEN RD                                                                                              ATHENS            AL      35613
HOGAN, TRACY S          4328 SWEETGUM WAY                                                                                                  FORT WORTH        TX      76133‐7527
HOGAN, TRACY SELESTER   4328 SWEETGUM WAY                                                                                                  FORT WORTH        TX      76133‐7527
HOGAN, TRALON L         4328 SWEETGUM WAY                                                                                                  FORT WORTH        TX      76133‐7527
HOGAN, TRUMAN D         2036 RED JACKET TRCE                                                                                               SPRING HILL       TN      37174‐5164
HOGAN, VERETHA          7235 FORRER ST                                                                                                     DETROIT           MI      48228‐3636
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Name                           Address1                        Address2                           Address3   Address4               City              State   Zip
HOGAN, VICKI L                 8622 WOODSMAN DR                                                                                     WASHINGTON         MI     48094‐1628
HOGAN, VICTORY L               519 E NORTH ST                                                                                       KOKOMO             IN     46901‐3056
HOGAN, VINCENT T               10300 N SHELBY AVE                                                                                   KANSAS CITY        MO     64154‐1775
HOGAN, VIRGINIA M              12496 FAIRBANKS RD                                                                                   LINDEN             MI     48451‐9414
HOGAN, WALTER M                1359 OXFORD RD                                                                                       BERKLEY            MI     48072‐2072
HOGAN, WANDA F                 2144 OAK VALLEY LN                                                                                   DALLAS             TX     75232‐2326
HOGAN, WANDA F                 164 COUNTY ROAD 1118                                                                                 CULLMAN            AL     35057‐6469
HOGAN, WILLIAM                 116 E RANKIN ST                                                                                      FLINT              MI     48505‐4932
HOGAN, WILLIAM                 BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG, 233 EAST                                        JACKSONVILLE       FL     32202
                               MCCLAMMA & YEGELWEL P.A.        BAY STREET
HOGAN, WILLIAM A               YOUNG RILEY DUDLEY & DEBROTA    3815 RIVER CROSSING PKWY STE 340                                     INDIANAPOLIS      IN      46240‐7808
HOGAN, WILLIAM E               2608 LOCKSLEY ST                                                                                     SUN CITY CENTER   FL      33573‐6532
HOGAN, WILLIAM E               1712 CRIMSON DR                                                                                      TROY              MI      48083
HOGAN, WILLIAM M               9688 DUNDEE AZALIA RD           P.O. BOX 44                                                          AZALIA            MI      48110‐9701
HOGAN, WILLIAM T               12401 WABASH RD                                                                                      MILAN             MI      48160‐9290
HOGAN, WILLIAM THOMAS          12401 WABASH RD                                                                                      MILAN             MI      48160‐9290
HOGAN, WILLIE                  1404 E 82ND ST                                                                                       CLEVELAND         OH      44103‐2944
HOGAN,MARK T                   641 DEWEY ST                                                                                         BIRMINGHAM        MI      48009‐3809
HOGAN‐KESSLER ELLEN            545 AVALON PL                                                                                        CORALVILLE        IA      52241‐3447
HOGANCAMP, WILLIAM M           3978 NORTH MONADNOCK ROAD                                                                            HERNANDO          FL      34442‐6519
HOGANCAMP, WILLIAM M           3978 N MONADNOCK RD                                                                                  HERNANDO          FL      34442‐6519
HOGANS, CAROLYN                16800 WYOMING ST APT 122                                                                             DETROIT           MI      48221‐2868
HOGANS, CAROLYN                16800 WYOMING                   APT. 122                                                             DETROIT           MI      48221‐2868
HOGANS, EMANUEL                324 IDLEWOOD RD                                                                                      WAYNESBORO        GA      30830‐5815
HOGANS, JAMES
HOGANS, LOWELL E               2433 ROBERT BURNS DR                                                                                 FORT WORTH         TX     76119‐2735
HOGANS, OTIS A                 17565 STOEPEL                                                                                        DETROIT            MI     48221
HOGANSON, GARY P               34986 PARTRIDGE CROSSING                                                                             RICHMOND           MI     48062‐5527
HOGANSON, GERALD G             5626 JANICE DR                                                                                       ORTONVILLE         MI     48462‐9521
HOGANSON, MARY                 4675 CULVER                                                                                          BRIGHTON           MI     48114‐6012
HOGANSON, MARY                 4675 CULVER RD                                                                                       BRIGHTON           MI     48114‐6012
HOGANSON, RAYMOND J            1320 ASHEBURY LN APT 128                                                                             HOWELL             MI     48843
HOGANSON, SHARON L             4535 CLYDE RD                                                                                        HOLLY              MI     48442‐9181
HOGARD, GAIL L                 1380 W JUDD RD                                                                                       FLINT              MI     48507
HOGARD, HELEN V                G5070 AUKER DRIVE                                                                                    FLINT              MI     48507‐4502
HOGARD, LAWRENCE W             1380 W JUDD RD                                                                                       FLINT              MI     48507‐3674
HOGARD, RACHELL                6500 N DORT HWY                                                                                      MT MORRIS          MI     48458‐2559
HOGARTH, JAMES C               6778 KELSEY HWY                                                                                      IONIA              MI     48846‐9433
HOGARTH, ROBERT J              5840 MILLINGTON RD                                                                                   MILLINGTON         MI     48746‐8705
HOGARTH, ROBERT O              10106 ORCHARD RIDGE CT                                                                               HOLLY              MI     48442‐8233
HOGARTY JR, WILLIAM J          19 PACE ST                                                                                           OLD BRIDGE         NJ     08857‐1521
HOGARTY, JOHN J                23 DOBSON RD                                                                                         OLD BRIDGE         NJ     08857‐1542
HOGBERG, JEAN G                2180 WILLOW LEAF DR                                                                                  ROCHESTER HILLS    MI     48309‐3736
HOGDAHL, ANNIE D               1701 N LAUREL DR                                                                                     MOUNT PROSPECT     IL     60056‐1650
HOGE ALBERT GLEN JR (429112)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA     23510
                                                               STREET, SUITE 600
HOGE EDWARD M (481218)         KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                        CLEVELAND         OH      44114
                                                               BOND COURT BUILDING
HOGE, ALBERT GLEN              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA     23510
                                                               STREET, SUITE 600
HOGE, DEBRA                    3345 BURNING BUSH RD                                                                                 BLOOMFIELD         MI     48301‐2167
                                                                                                                                    VILLAGE
HOGE, EDWARD M                 KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                         CLEVELAND         OH      44114
                                                               BOND COURT BUILDING
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Name                       Address1                          Address2                      Address3   Address4               City               State Zip
HOGE, FRED                 2465 MAPLE VIEW LN                                                                                WILLOUGHBY HILLS    OH 44094‐9613

HOGE, KURT V               3345 BURNING BUSH RD                                                                              BLOOMFIELD         MI   48301‐2167
                                                                                                                             VILLAGE
HOGE, LEGARE W             1366 MOUNTAIN LAKE DR                                                                             AUBURN             GA   30011‐2632
HOGE, MICHAEL L            1301 RIDGE ROAD                                                                                   AMBRIDGE           PA   15003‐1319
HOGE, ODELLA C             10213 W 92ND PL                                                                                   OVERLAND PARK      KS   66212‐4908
HOGE, THERESA H            9501 W LOOMIS RD APT 404                                                                          FRANKLIN           WI   53132‐8126
HOGELAND, KELLI L          1805 5TH STREET NORTHWEST                                                                         ATTALLA            AL   35954‐1322
HOGEN JAMES M (429113)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                             STREET, SUITE 600
HOGEN, JAMES M             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                             STREET, SUITE 600
HOGENDYK, ROBERT R         2424 GIBSON RD                                                                                    GRAND BLANC        MI   48439‐8549
HOGENDYK, ROBERT RUSSELL   2424 GIBSON RD                                                                                    GRAND BLANC        MI   48439‐8549
HOGENKAMP, EVELYN J        296 MACARTHUR DR                                                                                  WILLIAMSVILLE      NY   14221‐3733
HOGENKAMP, JOHN R          296 MACARTHUR DR                                                                                  WILLIAMSVILLE      NY   14221‐3733
HOGERHEIDE, MARSHA         5499 WINDERMERE DR                                                                                GRAND BLANC        MI   48439‐9631
HOGESTYN, DENISE           1615 SALT RD                                                                                      PENFIELD           NY   14526‐1829
HOGESTYN, KIRK C           39 ELLINGTON RD APT 48                                                                            ROCHESTER          NY   14616
HOGEY HOLTZ                2817 DUNMORE DR                                                                                   SAGINAW            MI   48603‐3212
HOGG CLEAD R (405419)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                             STREET, SUITE 600
HOGG JR, BRUCE R           30314 BLOSSOM ST                                                                                  ROSEVILLE          MI   48066‐4042
HOGG JR, ROOSEVELT         2902 E PIERSON RD                                                                                 FLINT              MI   48506‐1360
HOGG ROBERT JR             502 MABETH DR                                                                                     GREENSBURG         PA   15601
HOGG, ANDREW J             8024 VILLAGE HARBOR DRIVE                                                                         CORNELIUS          NC   28031‐3701
HOGG, AURELIA              11906 RIVERSIDE DR                                                                                PLYMOUTH           MI   48170‐1818
HOGG, BEATRICE A.          311 N 12TH STREET                 APT I                                                           MIAMISBURG         OH   45342
HOGG, CATHERINE M          5108 E EXCHANGE RD                                                                                BANCROFT           MI   48414‐9716
HOGG, CHARLES J            11906 RIVERSIDE DR                                                                                PLYMOUTH           MI   48170‐1818
HOGG, CLARENCE J           19940 PRAIRIE ST                                                                                  DETROIT            MI   48221‐1217
HOGG, CLEAD R              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                             STREET, SUITE 600
HOGG, ELBERT               12980 CRUM RD                                                                                     PLAINWELL          MI   49080‐9016
HOGG, ELOISE               73 EDISON ST                                                                                      DETROIT            MI   48202‐1533
HOGG, ELSIE M              1155 E DECAMP ST                                                                                  BURTON             MI   48529‐1105
HOGG, GEORGE F             658 BARBARA ST                                                                                    WESTLAND           MI   48185‐3201
HOGG, GWENDOLYN D          2821 CUMBERLAND RD                                                                                INDIANAPOLIS       IN   46229
HOGG, HENRY A              2330 MAPLE RD APT 234                                                                             WILLIAMSVILLE      NY   14221‐4058
HOGG, HUBERT               20 HEATHWOOD LANE                                                                                 HAMILTON           OH   45013‐4020
HOGG, JASON PAUL           206 12TH ST                                                                                       ALLIANCE           OH   44601
HOGG, JOHN                 9 LEHIGH AVE                                                                                      EDISON             NJ   08837‐3220
HOGG, JOHN A               3567 BETHLEHEM RD                                                                                 JESUP              GA   31546‐2629
HOGG, JOHN E               57515 8 MILE RD                                                                                   NORTHVILLE         MI   48167‐9138
HOGG, LARRY N              309 TANGLEWOOD DRIVE                                                                              MONTICELLO         AR   71655‐3819
HOGG, MARTHA               LEBLANC & WADDELL                 5353 ESSEN LN STE 420                                           BATON ROUGE        LA   70809‐0500
HOGG, MARY                 43 BARBARA ST                                                                                     MOUNT CLEMENS      MI   48043‐2466
HOGG, OMEGA F              20 HEATHWOOD LANE                                                                                 HAMILTON           OH   45013‐4020
HOGG, PAUL S               985 E. RAHN RD                                                                                    DAYTON             OH   45429‐5927
HOGG, PAUL S               985 E RAHN RD                                                                                     DAYTON             OH   45429‐5927
HOGG, ROBERT J             9215 BIG LAKE RD                                                                                  CLARKSTON          MI   48346‐1051
HOGG, ROBERT K             112 ROBINWOOD DR                                                                                  NEW MIDDLETOWN     OH   44442‐9721
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Name                           Address1                        Address2                      Address3   Address4               City             State   Zip
HOGG, ROOSEVELT                5602 HICKS LN                                                                                   OKLAHOMA CITY     OK     73129‐9281
HOGG, SHERIDAN R               45 LILAC DR                                                                                     WEST MIDDLESEX    PA     16159‐2527
HOGG, THERESA M                194 BROOKWOOD DR                                                                                GADSDEN           AL     35903‐2654
HOGG, THOMAS R                 9635 SUSIN LN                                                                                   CLARKSTON         MI     48348‐2449
HOGGAN HEALTH INDUSTRIES INC   8020 S 1300 W                   PO BOX 488                                                      WEST JORDAN       UT     84088‐9419
HOGGAN HEALTH INDUSTRIES INC   8020 S 1300 W                                                                                   WEST JORDAN       UT     84088‐9419
HOGGAN HEALTH/DRAPER           12411 SOUTH 265 WEST            PO BOX 957                                                      DRAPER            UT     84020
HOGGAN, JAMES M                1235 OROS AVE                                                                                   SALT LAKE CITY    UT     84124‐1313
HOGGARD, JAMES D               PO BOX 13204                                                                                    MESA              AZ     85216‐3204
HOGGARD, JAMES D               4765 HARPER RD                                                                                  HOLT              MI     48842‐9671
HOGGARD, JERRY P               PO BOX 532                                                                                      LAINGSBURG        MI     48848‐0532
HOGGARD, JERRY T               7972 23RD AVE                                                                                   LEMOORE           CA     93245‐9653
HOGGARD, THERESA ANN
HOGGARD, VIC A                 6063 ONYX RD                                                                                    BRIDGEPORT       MI      48722‐9518
HOGGARD, WARREN J              9961 N WILDERNESS RD                                                                            MOUNT VERNON     KY      40456‐6905
HOGGARTH, BEATRICE M           181 WHITE FAWN DR                                                                               DAYTONA BEACH    FL      32114‐1456
HOGGARTH, DAVID                2346 N MANISTEE RIVER RD                                                                        GRAYLING         MI      49738‐9133
HOGGATT, BOBBY J               7806 XAVIER AVENUE                                                                              CALIF CITY       CA      93505‐1871
HOGGATT, EDWIN E               3445 MIDDLE PATTON PARK ROAD                                                                    MARTINSVILLE     IN      46151‐8931
HOGGATT, GERALD R              1439 N FOREST AVE                                                                               BRAZIL           IN      47834‐6939
HOGGATT, HARRY N               1636 S 50TH ST                                                                                  KANSAS CITY      KS      66106‐2327
HOGGATT, JAMES H               10380 VILLAGE DR E                                                                              FORISTELL        MO      63348‐2481
HOGGATT, JAMES H.              10380 VILLAGE DR E                                                                              FORISTELL        MO      63348‐2481
HOGGATT, JR.,ROBERT            3827 KYZAR LOOP SE                                                                              BROOKHAVEN       MS      39601‐8983
HOGGATT, KATHRYN C             4262 221ST COURT SE #1089                                                                       ISSAQUAH         WA      98029
HOGGATT, ROBERT L              PO BOX 3622                                                                                     BROOKHAVEN       MS      39603‐7622
HOGGE CHARLE S SR (440362)     BILMS KEVIN P                   430 CRAWFORD ST STE 202                                         PORTSMOUTH       VA      23704‐3813
HOGGE JAMES E JR (342890)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA      23510
                                                               STREET, SUITE 600
HOGGE, CHARLES S               BILMS KEVIN P                   430 CRAWFORD ST STE 202                                         PORTSMOUTH       VA      23704‐3813
HOGGE, CHRISTOPHE R            6426 E RAFTRIVER ST                                                                             MESA             AZ      85215‐9765
HOGGE, GEORGE H                120 NW DEERFIELD RD                                                                             UNION CITY       OH      45390‐1614
HOGGE, JACKIE R                2112 BROOKSHIRE ST                                                                              ARLINGTON        TX      76010‐3127
HOGGE, JAMES E                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA      23510‐2212
                                                               STREET, SUITE 600
HOGGE, MARTHA F                2942 DWIGHT AVENUE                                                                              DAYTON           OH      45420‐2610
HOGGE, RAYMOND C               3781 STEEL AVE                                                                                  KINGMAN          AZ      86409‐0953
HOGGES, SHEDRETH               712 SHELLEY PKWY                                                                                BEREA            OH      44017‐1138
HOGGETT, VICTOR E              660 MOORMANS ARM RD                                                                             NASHVILLE        TN      37207‐3658
HOGGS, JETTIE M                1602 ESSLING ST                                                                                 SAGINAW          MI      48601‐1385
HOGGS, YVONNE E                4349 TRACE WOOD COURT                                                                           INDIANAPOLIS     IN      46254‐6243
HOGGS, YVONNE E                4349 TRACEWOOD COURT                                                                            INDIANAPOLIS     IN      46254
HOGHE, RUBY L                  4721 SHERLOCK PL                                                                                ST AUGUSTINE     FL      32086‐5646
HOGLAN, GARY D                 504 YORKSHIRE DR                                                                                EULESS           TX      76040‐4912
HOGLAN, GARY D.                504 YORKSHIRE DR                                                                                EULESS           TX      76040‐4912
HOGLAND KEITH                  8011 PINCKNEY RD                                                                                PINCKNEY         MI      48169‐8552
HOGLAND, DEREK K               2199 PINE HOLLOW TRL                                                                            BRIGHTON         MI      48114‐8959
HOGLAND, EDGAR W               2102 SPRING AVE SW                                                                              DECATUR          AL      35601‐5718
HOGLAND, KEITH C               8011 PINCKNEY RD                                                                                PINCKNEY         MI      48169‐8552
HOGLAND, MARK B                1342 BALLYSHANNON PKWY                                                                          ORLANDO          FL      32828‐8688
HOGLAND, NORMA                 LOT 17                          851 MOUNT PLEASANT ROAD                                         WAYCROSS         GA      31503‐8086
HOGLE, ARLENE E                1009 RIO DR                                                                                     GRAND BLANC      MI      48439‐8381
HOGLE, GENE FELIX              RT 1                                                                                            LAKEVIEW         MI      48850
HOGLE, JAMES M                 6164 SANCTUARY POINTE DR                                                                        GRAND BLANC      MI      48439‐9021
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Name                         Address1                        Address2                      Address3   Address4                 City               State   Zip
HOGLE, KEVIN A               19330 TAYLOR LAKE RD                                                                              HOLLY               MI     48442‐8925
HOGLE, LLOYD R               8578 W BERGEN RD                                                                                  LE ROY              NY     14482‐9340
HOGLE, MARK S                33626 COLONY PARK DR                                                                              FARMINGTON HILLS    MI     48331‐2730

HOGLE, RICHARD W             PO BOX 251                                                                                        BOLIVAR            MO      65613‐0251
HOGLE, SCOTT T               8578 W BERGEN RD                                                                                  LE ROY             NY      14482‐9340
HOGLE, SHELLEY M             19330 TAYLOR LAKE RD                                                                              HOLLY              MI      48442‐8925
HOGLE, ZOA L                 3205 ISLAND HWY                                                                                   CHARLOTTE          MI      48813‐9383
HOGLIN, DAVID N              465 RIVERBANK ST                                                                                  WYANDOTTE          MI      48192‐2627
HOGLUND BUS AND TRUCK CO     PO BOX 249                      INTERSTATE 94 AND S HWY 25                                        MONTICELLO         MN      55362‐0249
HOGLUND RICHARD J            DBA RJH CUSTOM CONSULTING       19830 MACK AVE                                                    GROSSE POINTE      MI      48236‐2506
                                                                                                                               WOODS
HOGLUND, BRIAN N             20750 MAYBURY PARK DR                                                                             NORTHVILLE         MI      48167‐0139
HOGLUND, CARL                5319 N JACKSON AVE                                                                                KANSAS CITY        MO      64119‐2751
HOGLUND, JEAN                20750 MAYBURY PARK DR                                                                             NORTHVILLE         MI      48167‐0139
HOGLUND, PETER K             PO BOX 10432                                                                                      JACKSON            WY      83002‐0432
HOGLUND, WILLIAM E           6999 GREENTREE DR                                                                                 NAPLES             FL      34108‐8528
HOGRAF, DONALD E             H2 NANNI DR                                                                                       WINSTED            CT      06098‐2115
HOGREFE, EUGENE INC          1600 OAKWOOD AVE                                                                                  NAPOLEON           OH      43545‐9388
HOGREFE, FRANKLIN H          1130 W RIVERVIEW AVE                                                                              NAPOLEON           OH      43545‐9247
HOGREFE, WERNER & BRIGITTE   HUNENSTRASSE 6                                                           D 51069 KOLN GERMANY
HOGSED, BLON L               3635 HIGHWAY 175                                                                                  HAYESVILLE         NC      28904‐6217
HOGSED, BLON L               3635 HWY 175                                                                                      HAYESVILLE         NC      28904‐6217
HOGSED, EDWARD               468 EDWARDS PKWY                                                                                  CLEVELAND          GA      30528‐8216
HOGSETT JR, JAMES W          3801 SHAFTSBURG RD                                                                                LAINGSBURG         MI      48848‐8731
HOGSETT, LEONARD A           918 BELLWOOD AVE                                                                                  BELLWOOD           IL      60104‐2107
HOGSETT, Z N                 11245 MOUNTAIN AVE                                                                                RIVERSIDE          CA      92505‐2619
HOGSTAD, JONATHAN M          614 S VERMONT AVE                                                                                 ROYAL OAK          MI      48067‐2941
HOGSTEN, ELINOR M            5725 FERBER ST                                                                                    SAN DIEGO          CA      92122‐3809
HOGSTEN, MELANIE R           6696 CELESTINE ST                                                                                 DAYTON             OH      45424
HOGSTON, BENNY               296 BEACHWAY ST                                                                                   WHITMORE LAKE      MI      48189‐9463
HOGSTON, DAVID M             513 NOKOMIS ST                                                                                    TECUMSEH           MI      49286‐1042
HOGSTON, ELL D               906 WINDING RIDGE DR                                                                              SOMERSET           KY      42503‐6268
HOGSTON, FAYE A              4428 ZIEGLER ST                                                                                   DEARBORN HTS       MI      48125‐3142
HOGSTON, JAMES A             4909 KIMPTON RD                                                                                   BRITTON            MI      49229‐9402
HOGSTON, JAMES A             560 N 1100 E                                                                                      MARION             IN      46952‐6607
HOGSTON, JAMES B             18368 DEXTER TRL                                                                                  GREGORY            MI      48137‐9440
HOGSTON, JAMES E             44833 ECORSE RD                                                                                   BELLEVILLE         MI      48111‐1187
HOGSTON, JAMES E             1241 DONITHON RD                                                                                  LOUISA             KY      41230‐8571
HOGSTON, RUTH EVEL           104 DESANDER DR                                                                                   LANSING            MI      48906
HOGSTON, RUTH D              605 MORRIS STREET                                                                                 GLENNVILLE         GA      30427‐1733
HOGSTON, RUTH D              605 MORRIS ST                                                                                     GLENNVILLE         GA      30427‐1733
HOGSTON, TERESA L            487 HOGSTON RD                                                                                    WEBBVILLE          KY      41180
HOGSTON, THURSTON W          105 NORTH ST                                                                                      YALE               MI      48097‐2955
HOGUE HENRY H (411204)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA      23510
                                                             STREET, SUITE 600
HOGUE JR, JOHN C             725 CLARKSON AVE                                                                                  DAYTON             OH      45407‐1210
HOGUE JR, MORGAN             1717 PECAN PARK DR                                                                                ARLINGTON          TX      76012‐3031
HOGUE JR, ROBERT C           10052 HEYDEN CT                                                                                   DETROIT            MI      48228‐1232
HOGUE JR, WILLIAM J          9356 JACKSON HWY                                                                                  CAVE CITY          KY      42127‐9127
HOGUE JR, WILLIAM JEFFREY    9356 JACKSON HWY                                                                                  CAVE CITY          KY      42127‐9127
HOGUE JR., KENNETH W         5399 STATE ROUTE 45                                                                               LEETONIA           OH      44431‐9733
HOGUE LOUISE                 C/O HUGUE HARLEN                216 HUNTER ST                                                     GLENVILLE          WV      26351‐1129
HOGUE SR, MICHAEL J          318 OAK KNOLL AVE                                                                                 NEWTON FALLS       OH      44444‐1735
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Name                    Address1                            Address2                       Address3   Address4               City                State   Zip
HOGUE STEPHANIE L       2800 LAYER RD SW                                                                                     WARREN               OH     44481‐9161
HOGUE TIMOTHY           253 OAK KNOLL AVE                                                                                    NEWTON FALLS         OH     44444‐1734
HOGUE, ADRIENE D        144 STABLESTONE DRIVE                                                                                BELLEVILLE            IL    62221‐6802
HOGUE, ADRIENE D        1900 PARKER RD                                                                                       FLORISSANT           MO     63033‐2134
HOGUE, ADRIENE DENISE   144 STABLESTONE DR                                                                                   BELLEVILLE            IL    62221
HOGUE, ALEX P           7913 HICKS AVENUE                                                                                    SAINT LOUIS          MO     63117‐2036
HOGUE, ANN E            405 GREEN VALLEY DR                                                                                  LIVINGSTON           TN     38570‐6067
HOGUE, ANNA G           4553 PENSACOLA                                                                                       MORAINE              OH     45439‐2825
HOGUE, BENJAMIN M       11711 ENGLESIDE ST                                                                                   DETROIT              MI     48205‐3319
HOGUE, BERNICE          2230 WHEATFIELD DR                                                                                   FLORISSANT           MO     63033‐6548
HOGUE, BILL G           1701 BOWERSOCK RD                                                                                    INDIAN RIVER         MI     49749‐9508
HOGUE, DANNY L          4374 E 200 S                                                                                         ANDERSON             IN     46017‐9728
HOGUE, DENTICE W        3615 HAMILTON PL                                                                                     ANDERSON             IN     46013‐5273
HOGUE, DEREK E          10019 ORIOLE CT                                                                                      MIAMISBURG           OH     45342
HOGUE, DONALD           GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW              MI     48604‐2602
                                                            260
HOGUE, DONALD G         537 N LIVINGSTON AVE                                                                                 INDIANAPOLIS        IN      46222‐3401
HOGUE, DONNA K          45216 JEANETTE AVE                                                                                   BELLEVILLE          MI      48111‐2479
HOGUE, DONNA KAY        45216 JEANETTE AVE                                                                                   BELLEVILLE          MI      48111‐2479
HOGUE, DORSEY           10412 E 69TH TER                                                                                     RAYTOWN             MO      64133‐6043
HOGUE, ELLEN B          1015 JAMIE STREET                                                                                    WATERLOO            WI      53594‐1187
HOGUE, ELLIS G          GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW             MI      48604‐2602
                                                            260
HOGUE, ESSIE            14677 KENTUCKY                                                                                       DETROIT             MI      48238‐1776
HOGUE, GARRETT L        7818 ISLAND CLUB DR APT E                                                                            INDIANAPOLIS        IN      46214‐4137
HOGUE, GARY L           3059 MAPLEWOOD DR                                                                                    SHARPSVILLE         PA      16150‐9251
HOGUE, GARY W           2458 CHARLES MORAN HWY                                                                               HORSE CAVE          KY      42749
HOGUE, GARY WAYNE       2458 CHARLES MORAN HWY                                                                               HORSE CAVE          KY      42749
HOGUE, GENEVA C         3025 REVLON DR                                                                                       KETTERING           OH      45420‐1244
HOGUE, GLORIA D         10109 PARKVIEW AVE                                                                                   CLEVELAND           OH      44104‐4713
HOGUE, HARRY H          36634 SAXONY RD                                                                                      FARMINGTON          MI      48335‐2940
HOGUE, HENRY H          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA      23510‐2212
                                                            STREET, SUITE 600
HOGUE, JERRY F          9613 MARINER CIR APT 12104                                                                           FORT WORTH          TX      76179‐6217
HOGUE, JOI T            4619 THORNLEIGH DR                                                                                   INDIANAPOLIS        IN      46226‐2169
HOGUE, JOI T            8221 DOGWOOD CIRCLE EAST DRIVE                                                                       INDIANAPOLIS        IN      46268‐3811
HOGUE, JONATHAN C       315 W CAMEL ST APT Q                                                                                 GREENSBORO          NC      27401
HOGUE, JUNIOR O         809 REAGAN CIR                                                                                       SEYMOUR             TN      37865‐7137
HOGUE, KATRINA M        1810 GARFIELD AVENUE                                                                                 BAY CITY            MI      48708‐7843
HOGUE, KATRINA M        1471 FROMM DR                                                                                        SAGINAW             MI      48638‐5427
HOGUE, KENNETH H        688 SARANAC DR                                                                                       WINTER SPRINGS      FL      32708
HOGUE, LYNDA K          25327 OLD HIGHWAY 49                                                                                 SAUCIER             MS      39574
HOGUE, MARGARET A       189 BASSWOOD CT                                                                                      ELK GROVE VILLAGE   IL      60007‐1781

HOGUE, MELBA J          9365 LISA ST                                                                                         ROMULUS             MI      48174‐1574
HOGUE, MICHAEL          5101 LINBAR DR APT H313                                                                              NASHVILLE           TN      37211‐1009
HOGUE, MILLARD B        2435 E 200 S                                                                                         ANDERSON            IN      46017‐2017
HOGUE, MILTON T         8602 RANCHO VISTA ST                                                                                 PARAMOUNT           CA      90723‐4582
HOGUE, OLLICE N         3317 KINGS LN                                                                                        NASHVILLE           TN      37218‐1620
HOGUE, PATRICK E        3006 INDUSTRY RD                                                                                     ROOTSTOWN           OH      44272‐9513
HOGUE, RANDALL M        206 DIAMOND OAKS DR                                                                                  HUDSON OAKS         TX      76087‐8723
HOGUE, ROBERT           14677 KENTUCKY ST                                                                                    DETROIT             MI      48238‐1776
HOGUE, ROBERT A         4709 SYCAMORE DR                                                                                     YPSILANTI           MI      48197‐8234
HOGUE, ROBERT A         3660 HOMEWOOD AVE                                                                                    HUBBARD             OH      44425‐2522
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Name                              Address1                             Address2                        Address3                   Address4               City               State   Zip
HOGUE, RUTH                       911 SAINT JOSEPH ST APT 602                                                                                            DALLAS              TX     75246
HOGUE, SCOTTIE                    1039 HUTCHINS AVE                                                                                                      GADSDEN             AL     35901
HOGUE, STACIE K                   69 S FREMONT ST                                                                                                        JANESVILLE          WI     53545‐2662
HOGUE, STEVEN R                   410 HARRISON ST                                                                                                        LEWISBURG           OH     45338‐9595
HOGUE, THOMAS A                   129 DANESMO0R                                                                                                          HOLLAND             OH     43528
HOGUE, THOMAS ALLEN               129 DANESMO0R                                                                                                          HOLLAND             OH     43528
HOGUE, TIMOTHY C                  253 OAK KNOLL AVE                                                                                                      NEWTON FALLS        OH     44444‐1734
HOGUE, VIEVA                      3578 BITTERSWEET DR                                                                                                    COLUMBIAVILLE       MI     48421‐8925
HOH, DOLORES                      5359 FEDERAL RD                                                                                                        CONESUS             NY     14435‐9556
HOH, FREDERICK B                  5359 FEDERAL RD                                                                                                        CONESUS             NY     14435
HOHEIMER JR., ALONZO              522 N RUSH ST                                                                                                          FAIRMOUNT           IN     46928‐1355
HOHEIMER, GORDON L                313 W 1ST ST                                                                                                           FAIRMOUNT           IN     46928‐1649
HOHEISEL, MARK                    2641 PLUM BROOK DR                                                                                                     BLOOMFIELD HILLS    MI     48304‐1766
HOHENBERGER, CLEON R              221 RUTH ANN DR                                                                                                        DEFIANCE            OH     43512‐1467
HOHENBERGER, GLORIA I             7124 POND VIEW CT                                                                                                      SPRING HILL         FL     34606‐3465
HOHENBERGER, JUDITH B             PO BOX 1850                                                                                                            TROPHY CLUB         TX     76262‐1850
HOHENBERGER, REX A                E124 COUNTY ROAD 13                                                                                                    HOLGATE             OH     43527‐9704
HOHENBERGER, TERRANCE A           419 DOUGLAS ST                                                                                                         DEFIANCE            OH     43512‐2305
HOHENBERGER, TERRANCE ALLEN       419 DOUGLAS ST                                                                                                         DEFIANCE            OH     43512‐2305
HOHENBERGER, THERESA J            PO BOX 714                                                                                                             ZEPHYRHILLS         FL     33539‐0714
HOHENBRINK JR, DANIEL A           19908 ROAD D                                                                                                           CONTINENTAL         OH     45831‐9640
HOHENBRINK JR, RICHARD L          8609 CROSSBANK DR                                                                                                      FORT WAYNE          IN     46816
HOHENBRINK JR, RICHARD LEE        8609 CROSSBANK DR                                                                                                      FORT WAYNE          IN     46816‐1833
HOHENBRINK, ANNIE M               1330 WATERVLIET AVE                                                                                                    DAYTON              OH     45420‐3078
HOHENBRINK, DENNIS J              14316 ROAD E                                                                                                           LEIPSIC             OH     45856‐9471
HOHENBRINK, DENNIS J              PO BOX 3                                                                                                               MILLER CITY         OH     45864‐0003
HOHENBRINK, RICHARD L             26069 STANDLEY RD                                                                                                      DEFIANCE            OH     43512‐8849
HOHENBRINK, RICHARD LEE           26069 STANDLEY RD                                                                                                      DEFIANCE            OH     43512‐8849
HOHENBRINK, TERRY C               720 N SNYDER RD                                                                                                        DAYTON              OH     45427‐1426
HOHENSEE, ROGER E                 5367 N MISHLER RD                                                                                                      HUNTINGTON          IN     46750‐9669
HOHENSINNER, SAMANTHA A           4018 S HOCKER AVE                                                                                                      INDEPENDENCE        MO     64055‐4721
HOHENSTEIN, B J                   15905 GARDNER RD                                                                                                       MOUNDS              OK     74047‐5952
HOHENSTEIN, BETTY J               101 OAK FOREST LOOP                                                                                                    SEARCY              AR     72143
HOHENSTEIN, CARIN L               5609 135TH PL SE                                                                                                       BELLEVUE            WA     98006‐4111
HOHENSTEIN, HARRY F               101 WESTERN HILLS DR                                                                                                   SEARCY              AR     72143‐6507
HOHENSTEIN, JANICE L              1600 E AVE                                                                                                             DAKOTA CITY         NE     68731‐3007
HOHENSTEIN, JOANN M               8468 MILLER RD                                                                                                         SWARTZ CREEK        MI     48473‐1248
HOHENSTEIN, MICHAEL A             2316 W HAPPY HOLLOW RD                                                                                                 JANESVILLE          WI     53546‐9042
HOHENSTEIN, RAMONA F              5114 CEMETERY RD                                                                                                       JANESVILLE          WI     53548‐9248
HOHENSTEIN, RAMONA F              5114 W CEMETERY RD                                                                                                     JANESVILLE          WI     53548‐9248
HOHENSTEIN, THOMAS M              116 RATHBONE RD                                                                                                        MARIETTA            OH     45750‐1439
HOHENZY JR, ANDREW H              715 LINDEN CT                                                                                                          BOLINGBROOK          IL    60440‐2620
HOHIMER, LARRY D                  301 N CHESTER AVE                                                                                                      FERRELVIEW          MO     64163‐1441
HOHL INDUSTRIAL                   6443 RIDINGS RD                                                                                                        SYRACUSE            NY     13206‐1104
HOHL INDUSTRIAL                   ATTN: DAVID HOHL                     770 RIVERVIEW BLVD                                                                TONAWANDA           NY     14150‐7880
HOHL INDUSTRIAL SERVICES CO IN    770 RIVERVIEW BLVD                                                                                                     TONAWANDA           NY     14150
HOHL INDUSTRIAL SERVICES CO INC   770 RIVERVIEW BLVD                                                                                                     TONAWANDA           NY     14150
HOHL INDUSTRIAL SERVICES INC      770 RIVERVIEW BLVD                                                                                                     TONAWANDA           NY     14150
HOHL INDUSTRIAL SERVICES INC      770 RIVER RD                                                                                                           TONAWANDA           NY     14150
HOHL INDUSTRIAL SERVICES INC      ATTN: CORPORATE OFFICER/AUTHORIZED   770 RIVER RD                                                                      TONAWANDA           NY     14150
                                  AGENT
HOHL INDUSTRIAL SERVICES, INC.    WATSON BENNETT COLLIGAN AND          ATTN: DAVID J. COLLIGAN, ESQ.   12 FOUNTAIN PLAZA, SUITE                          BUFFALO             NY     14202
                                  SCHECHTER                                                            600
HOHL MACH/BUFFALO                 1580 NIAGARA ST                                                                                                        BUFFALO             NY     14213‐1102
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Name                             Address1                           Address2               Address3   Address4                City              State   Zip
HOHL MACHINE & CONVEYOR CO INC   1580 NIAGARA ST                                                                              BUFFALO            NY     14213‐1102
HOHL, RICHARD W                  9170 DENTON HILL RD                                                                          FENTON             MI     48430‐9488
HOHL, VERNON R                   PO BOX 594                                                                                   PIERRON             IL    62273‐0594
HOHL, WILLARD R                  354 OCONEE AVE                                                                               WESTMINSTER        SC     29693‐6434
HOHLEN, LUCILLE R                8834 DOUGLAS AVE                                                                             RACINE             WI     53402‐9714
HOHLER ERIK                      HOHLER, ERIK                       55 PUBLIC SQ STE 650                                      CLEVELAND          OH     44113‐1909
HOHLER, RITA J                   133 E TUSCARAWAS TRL                                                                         SANDUSKY           OH     44870‐6172
HOHLER, SUSAN E                  4704 VENICE HEIGHTS BLVD APT 113                                                             SANDUSKY           OH     44870‐1576
HOHLSTEIN, WERNER K              2463 FARMBROOK TRL                                                                           OXFORD             MI     48370‐2303
HOHLT, LORRAINE R                1538 MATLOCK DR                                                                              FLORISSANT         MO     63031‐1512
HOHM, LAWRENCE W                 5790 SAVOY DR                                                                                WATERFORD          MI     48327‐2667
HOHMAN, HOWARD                   GUY WILLIAM S                      PO BOX 509                                                MCCOMB             MS     39649‐0509
HOHMAN, JOHN D                   16414 VINTAGE DR                                                                             FENTON             MI     48430‐8977
HOHMAN, JOHN T                   1060 WILSHIRE WAY                                                                            BRENTWOOD          TN     37027‐7484
HOHMAN, LESLIE A                 4193 CANEY                                                                                   COMMERCE TWP       MI     48382‐1842
HOHMAN, MICHAEL E                13230 FORK RD                                                                                BALDWIN            MD     21013‐9315
HOHMAN, RICHARD S                PO BOX 366552                                                                                BONITA SPRINGS     FL     34136‐6552
HOHMAN, ROBERT J                 7655 ORMES RD                                                                                VASSAR             MI     48768‐9678
HOHMAN, STANLEY G                18026 N CAVE CREEK RD LOT 111                                                                PHOENIX            AZ     85032‐1624
HOHMANN RAYMOND JR               3430 HIGHWAY 64 W                                                                            HAYESVILLE         NC     28904‐4551
HOHMANN'S AUTOMOTIVE, INC.       8917 CIRCLE DR                                                                               AUSTIN             TX     78736‐7907
HOHMANN, DAVID A                 2003 BUNKER HILL CT                                                                          ARRINGTON          TN     37014‐9744
HOHMANN, EDWARD J                1555 JIM FOX RD                                                                              GREENEVILLE        TN     37743‐4153
HOHN JR, VERNON L                PO BOX 8104                                                                                  FLINT              MI     48501‐8104
HOHN, BOBBY J                    814 W HEMPHILL RD                                                                            FLINT              MI     48507‐2546
HOHN, CHARLES D                  1026 ARROW CT                                                                                BOWLING GREEN      KY     42104‐4664
HOHN, GERALDINE M                2405 NORTH VASSAR ROAD                                                                       BURTON             MI     48509
HOHN, GERALDINE M                2405 N VASSAR RD                                                                             BURTON             MI     48509‐1383
HOHN, GREGORY B                  1251 CHATWELL DR APT 1251                                                                    DAVISON            MI     48423
HOHN, JEROME J                   717 LELAND ST                                                                                FLINT              MI     48507‐2431
HOHN, LANNY D                    2197 HAYWARD ST                                                                              CLIO               MI     48420‐1815
HOHN, LORRAINE V                 11669 SCHRAM ST                                                                              GRAND BLANC        MI     48439‐1317
HOHN, MARK R                     7361 VASSAR RD                                                                               GRAND BLANC        MI     48439‐7406
HOHN, MARY E                     2197 HAYWARD ST                                                                              CLIO               MI     48420‐1815
HOHN, PAUL S                     634 CLINTON ST                                                                               FLINT              MI     48507‐2539
HOHN, RONALD L                   7 FABULOSA LN                                                                                HOT SPRINGS        AR     71909‐6808
                                                                                                                              VILLAGE
HOHN, RUBY J                     PO BOX 8104                                                                                  FLINT              MI     48501‐8104
HOHN, WYNONA L                   845 MAJOR                                                                                    FLINT              MI     48507‐2562
HOHN, WYNONA L                   845 MAJOR ST                                                                                 FLINT              MI     48507‐2562
HOHNE, ANELLIA M                 PO BOX 7407                                                                                  PRINCETON          NJ     08543‐7407
HOHNE, DANIAL N                  PO BOX 7407                                                                                  PRINCETON          NJ     08543‐7407
HOHNE, JORG                      5176 BLAIR DR TROY                                                                           TROY               MI     48085
HOHNE, LENI M                    2107 SOUTH 23RD ST                                                                           QUINCY             IL     62301‐7061
HOHNE, LENI M                    2107 S 23RD ST                                                                               QUINCY             IL     62301‐7061
HOHNER AUTOMOTIVE                136 UNIVERSITY AVE E                                                 WATERLOO ON N2J 2W3
                                                                                                      CANADA
HOHNER JR, MERWYN G              C/O MARILYN HOHNER (TRUSTEE)       16987 CRYSTAL DR                                          MACOMB             MI     48042‐2913
HOHNER'SANTOS, BONNY S           S83W23825 ARTESIAN AVE                                                                       BIG BEND           WI     53103‐9498
HOHNER, MICHELLE L               15937 LAS PALMERAS AVE                                                                       LA MIRADA          CA     90638‐3423
HOHNHOLT, LARRY                  409 MEAD RD                                                                                  ROCHESTER HLS      MI     48306‐2845
HOHNKE, BRUCE W                  9890 GALATIAN DR                                                                             WHITMORE LAKE      MI     48189‐9112
HOHNKE, BRUCE WAYNE              9890 GALATIAN DR                                                                             WHITMORE LAKE      MI     48189‐9112
HOHNSTADT WILLIAM                5371 VINCENT TRL                                                                             SHELBY TOWNSHIP    MI     48316‐5258
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Name                                Address1                        Address2                        Address3   Address4               City               State   Zip
HOHNSTADT, FRED P                   5900 MEADOWS DR                                                                                   CLARKSTON           MI     48348‐2936
HOHNSTADT, HOWARD A                 55130 BELLE ROSE DR                                                                               SHELBY TWP          MI     48316‐5201
HOHNSTADT, WILLIAM E                5371 VINCENT TRL                                                                                  SHELBY TWP          MI     48316‐5258
HOHNSTREITER, DOROTHEE G            PO BOX 17                                                                                         MULLIKEN            MI     48861‐0017
HOHOLICK, THOMAS RICHARD            KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                      CLEVELAND           OH     44114
                                                                    BOND COURT BUILDING
HOHOLIK THOMAS RICHARD (459914) ‐   KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                     CLEVELAND          OH      44114
HOHOLICK THOMAS RICHARD                                             BOND COURT BUILDING
HOHREIN, JAMES J                    206 WESTMINSTER AVE                                                                               O FALLON            IL     62269‐2646
HOHSTADT, LUCILLE S                 46 BIRCHWOOD TER                                                                                  BRISTOL             CT     06010‐9127
HOHSTADT, LUCILLE S                 46 BERCHWOOD TERRACE                                                                              BRISTOL             CT     06010
HOHSTADT, PAUL E                    46 BIRCHWOOD TER                                                                                  BRISTOL             CT     06010‐9127
HOHVART, DUANE D                    4 CHEROKEE ST                                                                                     SHAWNEE             OK     74801‐5508
HOHWART, GEORGE J                   87‐127 KULALA PL                                                                                  WAIANAE             HI     96792‐3364
HOHWEILER, FRIEDA E                 2225 LAUREL DR                                                                                    POINT PLEASANT      NJ     08742‐5130
HOI HEI HO                          5008 W 158TH ST                                                                                   OVERLAND PARK       KS     66224‐3871
HOI KRETER                          9735 N 625 W                                                                                      FRANKTON            IN     46044‐9461
HOIBY, SARAH H                      111 E DUNLAP AVE STE 1‐302                                                                        PHOENIX             AZ     85020‐7813
HOIDEN, CHARLES T                   1321 E LOVEJOY ST                                                                                 BUFFALO             NY     14206‐1240
HOIG, GEORGE B                      2241 WOODWARD HTS APT 104                                                                         FERNDALE            MI     48220‐1594
HOIG, KENNETH A                     2162 RAMONA TRL                                                                                   GAYLORD             MI     49735‐9015
HOIG, KENNETH A                     3367 HAVENWOOD DR                                                                                 JOHANNESBURG        MI     49751‐9766
HOIL SKELTON                        9069 RHYAN RD                                                                                     WHITE LAKE          MI     48386‐4615
HOILAND, BONNIE J                   804 BLUFFCREEK LN APT 127                                                                         ARLINGTON           TX     76006
HOILE, JOHN R                       305 GROTE ST                                                                                      MAUSTON             WI     53948‐1113
HOILEVILL WILLIAMS                  2353 PROVIDENCE LN NW                                                                             CLEVELAND           TN     37312‐3789
HOIN, FRANCIS A                     3071 COURTZ ISLE APT 8                                                                            FLINT               MI     48532‐4209
HOIN, FRANK T                       6055 NILES DR                                                                                     TROY                MI     48098‐1834
HOIN, MICHELLE D                    28474 ALYCEKAY ST                                                                                 FARMINGTON HILLS    MI     48334‐3834

HOIN, PEGGY A                       19977 THOUSAND OAKS DR                                                                            CLINTON TWP        MI      48036‐1893
HOINACKI, BARRY G                   10449 S TROY ST                                                                                   CHICAGO            IL      60655‐2023
HOINES, TOM                         57306 BEECH AVE                                                                                   SLIDELL            LA      70461‐2235
HOINKA, MARK C                      23365 OUTWOOD ST                                                                                  SOUTHFIELD         MI      48033‐3450
HOISINGTON, DALE F                  2167 RICHWOOD RD                                                                                  AUBURN HILLS       MI      48326‐2527
HOISINGTON, DAWN M                  115 SARAHS WAY                                                                                    ORTONVILLE         MI      48462‐9179
HOISINGTON, DOROTHY M               13423 N WHEATON RD                                                                                GRAND LEDGE        MI      48837‐9712
HOISINGTON, EILEEN E                6106 MONTE BELLA PLACE                                                                            FRANKLIN           TN      37067‐5883
HOISINGTON, HENRY G                 13423 N WHEATON RD                                                                                GRAND LEDGE        MI      48837‐9712
HOISINGTON, ISABELLE F              2450 EMERSON AVE                                                                                  BLOOMFIELD         MI      48302‐0433
HOISINGTON, KIMBERLY                17591 DECKER RD                                                                                   RUSSELL            KS      67665
HOISINGTON, PATRICIA                2167 RICHWOOD                                                                                     AUBURN HILS        MI      48326
HOISINGTON, RONALD A                218 S HIGGINS ST                                                                                  BANCROFT           MI      48414‐9444
HOISINGTON, SHARON J                PO BOX 527                      920 WEST ST                                                       LAINGSBURG         MI      48848‐0527
HOISINGTON, TERRY G                 PO BOX 813                                                                                        VICTORVILLE        CA      92393‐0813
HOISINGTON, THOMAS C                24810 E RIVERSIDE DR                                                                              HILLMAN            MI      49746‐9620
HOIST LIFTRUCK MFG INC              6499 W 65TH ST                                                                                    BEDFORD PARK       IL      60638‐5118
HOIST, NORMA L                      APT 1                           2017 RAINTREE DRIVE                                               ELKHART            IN      46514‐4182
HOIT, WARREN                        SCHULTE J BRYAN                 PO BOX 517                                                        BURLINGTON         IA      52601‐0517
HOIUM, ANGELA K                     2405 PARTRIDGE LN                                                                                 JANESVILLE         WI      53546‐3148
HOIUM, CYNTHIA                      6439 BARRIE RD                                                                                    EDINA              MN      55435‐2301
HOIUM, JERRY L                      PO BOX 464                                                                                        ROANOKE            IN      46783‐0464
HOIUM, ORVILLE R                    10540 W WELSH RD                                                                                  JANESVILLE         WI      53548‐9148
HOIUM, RANDY A                      819 BIMINI LN                                                                                     FORT WAYNE         IN      46815‐7505
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Name                     Address1                           Address2              Address3      Address4               City               State Zip
HOIUM, RICHARD L         PO BOX 387                                                                                    JANESVILLE          WI 53547‐0387
HOIVIK GENELLE C         HOIVIK, GENELLE C                  7400 W STATE ST                                            WAUWATOSA           WI 53213‐2736
HOJJATKAFFASH
HOJNA JR, STANLEY B      1362 ROSS RD                                                                                  AVONMORE           PA   15618‐1016
HOJNA, AMELIA H          6212 WOODHALL ST                                                                              DETROIT            MI   48224‐3824
HOJNA, JOSEPH J          PO BOX 731                                                                                    LEWISTON           MI   49756‐0731
HOJNA, THEODORE E        3112 ALDEN DR                                                                                 STERLING HTS       MI   48310‐6034
HOJNACK, KENNETH L       15745 CAMERON ST                                                                              SOUTHGATE          MI   48195‐3246
HOJNACKI JR, MICHAEL E   1485 MERKLE ST                                                                                ORTONVILLE         MI   48462‐8609
HOJNACKI, ANTHONY P      4150 MAYVILLE RD                                                                              SILVERWOOD         MI   48760‐9705
HOJNACKI, CONSTANCE P    11154 PINE COURT                                                                              WASHINGTON TWP     MI   48094‐3723

HOJNACKI, CONSTANCE P    11154 PINE CT                                                                                 WASHINGTON TWP     MI   48094‐3723

HOJNACKI, DANIEL M       18875 CASS AVE APT 104                                                                        CLINTON TWP        MI   48038‐6405
HOJNACKI, DONALD J       9310 28TH ST SE                                                                               ADA                MI   49301‐9372
HOJNACKI, FRANK A        1629 WINTHROP LN                                                                              MONROE             NC   28110‐5205
HOJNACKI, FRANK J        6541 DRAPER RD                                                                                AKRON              NY   14001‐9338
HOJNACKI, FRANK JOSEPH   6541 DRAPER RD                                                                                AKRON              NY   14001‐9338
HOJNACKI, JULIA          30 SIMON ST                                                                                   BUFFALO            NY   14207‐1832
HOJNACKI, LAWRENCE P     28819 ARBOR                                                                                   FLAT ROCK          MI   48134‐9684
HOJNACKI, ROBERT W       43570 RIVERBEND DR N                                                                          CLINTON TWP        MI   48038‐2482
HOJNACKI, SUSAN M        182 ELLEN ST                                                                                  RIVERHEAD          NY   11901
HOJNICKI, GERALD C       2831 SYRACUSE ST                                                                              DEARBORN           MI   48124‐4526
HOJNOSKI, ANTHONY J      11730 METEOR DR                                                                               STERLING HEIGHTS   MI   48313‐5151
HOJNOWSKI, CHRISTINE J   3150 HARTFORD CT                                                                              ROCHESTER HILLS    MI   48306‐2904
HOJNOWSKI, JEROME W      3150 HARTFORD CT                                                                              ROCHESTER HILLS    MI   48306‐2904
HOJOON KANG              443 KENSINGTON DR APT 179                                                                     ROCHESTER HILLS    MI   48307‐4060
HOJSAK, JOSEPH           173 ARDELEAN DR                                                                               OWOSSO             MI   48867‐1213
HOK YUNG                 17 PROSPECT ST                                                                                STOUGHTON          MA   02072‐4155
HOKAMA, RENEE M          922 WILIWILI ST APT 301                                                                       HONOLULU           HI   96826
HOKANSON SHOMA           DBA ALLURE EVENT DESIGNS           4196 BRIDGEWATER CT                                        SAINT PAUL         MN   55127‐6984
HOKANSON, ALVIN C        1432 W REID RD                                                                                FLINT              MI   48507‐4641
HOKANSON, BLANCHARD M    17227 N 130TH AVE                                                                             SUN CITY WEST      AZ   85375‐5025
HOKANSON, FREDRICK       11274 HARWOOD RD                                                                              LAKE ODESSA        MI   48849‐9545
HOKANSON, GERALD G       6112 TALLSMAN DR NW                                                                           ALBUQUERQUE        NM   87120‐5400
HOKANSON, JACQUELINE M   4 GRESSER AVE                                                                                 LINDEN             NJ   07036‐3618
HOKANSON, LYLE H         8463 LAKE HWY                                                                                 VERMONTVILLE       MI   49096‐9719
HOKANSON, MICHAEL D      23696 LAZY ACRES LN                                                                           SEARS              MI   49679‐8192
HOKANSON, NEVA M         12811 E MELODY RD                                                                             GRAND LEDGE        MI   48837‐7900
HOKANSON, SUZANNE        340 WINDING ACRES LN                                                                          EATON RAPIDS       MI   48827‐8256
HOKANSON, TRAVIS M       336 WINDING ACRES LN                                                                          EATON RAPIDS       MI   48827‐8256
HOKE CRUMPLER            457 WARNER PARK RD                                                                            MANHATTAN          KS   66503‐3150
HOKE II, RICHARD F       1675 E 13 MILE RD APT 202                                                                     MADISON HEIGHTS    MI   48071‐5032

HOKE II, RICHARD FRANK   1675 E 13 MILE RD APT 202                                                                     MADISON HEIGHTS    MI   48071‐5032

HOKE JR, BENJAMIN S      21800 AVON RD                                                                                 OAK PARK           MI   48237‐2519
HOKE JR, PAUL R          418 OTTAWA LN                                                                                 PRUDENVILLE        MI   48651‐9713
HOKE JR, THEODORE J      6807 LOCUSTVIEW DR                                                                            HUBER HEIGHTS      OH   45424‐2724
HOKE JR, WILLIAM R       161 E US HIGHWAY 36                                                                           BAINBRIDGE         IN   46105‐9610
HOKE RICKY               HOKE, RICKY                        TRAVELERS INS.        PO BOX 3022                          FALL RIVER         MA   02722
HOKE STEPHENS JR         2805 DOUBLE SPRINGS CHURCH RD SW                                                              MONROE             GA   30656‐4044
HOKE TAYLOR              305 OLD PETROSS CIR                                                                           VIDALIA            GA   30474‐9435
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Name                              Address1                         Address2                Address3    Address4                  City               State   Zip
HOKE VICTOR B                     HOKE, VICTOR B                   6028 ETZEL AVENUE                                             ST LOUIS            MO     63112
HOKE VICTOR B                     HOKE, VICTOR B                   2262 SUNSHINE PLACE                                           COLUMBUS            OH     43232‐6548
HOKE, ALLENE                      1428 RIVERLINE TRL SE                                                                          MABLETON            GA     30126‐2885
HOKE, AUDREY W                    2700 ELIZABETH LAKE RD APT 625                                                                 WATERFORD           MI     48328‐3269
HOKE, BETTY B                     41 LINDEN LN                                                                                   ANDERSON            IN     46011‐1765
HOKE, CARL D                      511 N 600 E                                                                                    MARION              IN     46952‐9142
HOKE, DAVID E                     19 EDGEWOOD DR.                                                                                ARCANUM             OH     45304‐1431
HOKE, DAVID E                     19 EDGEWOOD DR                                                                                 ARCANUM             OH     45304‐1431
HOKE, DEBRA
HOKE, EDWARD                      MCELROY B THOMAS                 4809 COLE AVE STE 212                                         DALLAS             TX      75205‐5598
HOKE, FLOYD                       7866 SE INDEPENDENCE AVE                                                                       HOBE SOUND         FL      33455‐5907
HOKE, FRANKLIN W                  5385 COUNTRY TRL NW                                                                            WARREN             OH      44481‐9343
HOKE, GLORIA T                    1522 OAK KNOLL AVE SE                                                                          WARREN             OH      44484‐4953
HOKE, GORDON A                    109 FURNLEA DR                                                                                 GLEN BURNIE        MD      21060‐6611
HOKE, JAMES R                     6351 RIVER RD                                                                                  FLUSHING           MI      48433‐2565
HOKE, JERALD T                    445 UNION SCHOOL RD                                                                            MIDDLETOWN         NY      10941
HOKE, JOHN W                      4348 ORCHARD HILL DR                                                                           BLOOMFIELD HILLS   MI      48304‐3252
HOKE, LUTHER S                    624 JAMIE LN                                                                                   MANSFIELD          TX      76063‐7667
HOKE, LUTHER SCOTT                624 JAMIE LN                                                                                   MANSFIELD          TX      76063‐7667
HOKE, MARY F                      2907 RANDOLPH ST NW                                                                            WARREN             OH      44485‐2524
HOKE, MILDRED F                   1311 SURREY RD                                                                                 VANDALIA           OH      45377‐1646
HOKE, MILDRED F                   1311 SURREY ROAD                                                                               VANDALIA           OH      45377‐1646
HOKE, PAUL E                      482 ALLISON AVE                                                                                MANSFIELD          OH      44903‐1002
HOKE, RICHARD F                   17290 SHAFTSBURY AVE                                                                           DETROIT            MI      48219‐3591
HOKE, RICKY                       TRAVELERS INS.                   PO BOX 3022                                                   FALL RIVER         MA      02722‐3022
HOKE, RICKY
HOKE, ROSEMARY D                  10 HARD ST APT 904                                                                             NEW HAVEN          CT      06515‐1256
HOKE, ROSEMARY D                  10 HARD ST                       APT# 904                                                      NEW HAVEN          CT      06515
HOKE, RUBY M                      4189 WILLOWCREEK DRIVE                                                                         DAYTON             OH      45415‐1937
HOKE, RUBY M                      4189 WILLOW CREEK DR                                                                           DAYTON             OH      45415‐1937
HOKE, SHARON F                    1222 CADIZ ST                                                                                  MOBILE             AL      36693
HOKE, STANLEY E                   642 MCPHERSON ST                                                                               MANSFIELD          OH      44903‐1068
HOKE, STEPHANIE J                 1 RICHMOND TOWNE ST # 1                                                                        SOUTHFIELD         MI      48075‐3410
HOKE, TRACY
HOKE, VICTOR B                    315 WOODLAWN AVE APT 111                                                                       O FALLON           MO      63366
HOKE, VIRGINIA E                  12977 SH 109                                                                                   DELTA              OH      43515
HOKENSON, EDITH V.                2400 COLFAX ST.                                                                                EVANSTON           IL      60201
HOKES, IRMA J                     22145 W MCNICHOLS RD APT 11                                                                    DETROIT            MI      48219‐3233
HOKETT, MATT H                    122 STARKY RD                                                                                  HARTSELLE          AL      35640‐8260
HOKEY, JACK NEIL                  22438 HASKELL ST                                                                               TAYLOR             MI      48180‐2789
HOKINSON, HELENA                  5953 BROADWAY ST APT 119                                                                       LANCASTER          NY      14086‐9574
HOKINSON, HELENA                  5953 BROADWAY                    APT 119                                                       LANCASTER          NY      14086
HOKKANEN, JOHN E                  17703 2ND SAND BEACH RD                                                                        LANSE              MI      49946‐8362
HOKKANEN, JOHN E                  7980 DEBORA DR                                                                                 BRIGHTON           MI      48114‐9478
HOKU SCIENTIFIC, INC.             1299 ALA MOANA BLVD STE 220                                                                    HONOLULU           HI      96814‐4233
HOKU SCIENTIFIC, INC.             2153 N KING ST STE 300                                                                         HONOLULU           HI      96819‐4559
HOKU SCIENTIFIC, INC.             1200 ALA MOANA BLVD STE 220                                                                    HONOLULU           HI      95014‐4233
HOKU SCIENTIFIC, INC.             1075 OPAKAPAKA ST                                                                              KAPOLEI            HI      96707‐1887
HOKUBU KYUSHU ISUZU MOTORS LTD.   1‐6, NISHITSUKIGUMAHAKATA‐                                           FUKUOKA CITY JAPAN
HOKUTO CORP                       155 GOUNUSHI‐CHO                                                     KOMAKI CITY JP 485‐0823
                                                                                                       JAPAN
HOKUTO CORP                       39 WENDY CHES.                   BRANDEN ,ON,L5G3K2                  CANADA
HOKUTO CORPORATION                155 GONISHI‐CHO KOMAKI                                               AICHI 485‐0823 JAPAN
HOKUTO NORTH AMERICA INC
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Name                       Address1                         Address2                        Address3   Address4                 City             State Zip
HOKUTO NORTH AMERICA INC   39 WENDY CRESCENT                                                           LONDON CANADA ON N5X 3J6
                                                                                                       CANADA
HOLADAY JR, HERBERT M      2712 N WINSTON DR                                                                                    MUNCIE           IN    47304‐2181
HOLADAY JR, ROY W          8980 FIELDERS WAY                                                                                    MIDDLETOWN       OH    45042‐3053
HOLADAY, AMY ARLINE        4699 W SOUTHERN ST                                                                                   LECANTO          FL    34461‐8626
HOLADAY, CHAD W            100 ARCADIA DR                                                                                       MIDDLETOWN       OH    45042‐3930
HOLADAY, MICHELLE          3328 MINNEHAHA AVE APT 3                                                                             MINNEAPOLIS      MN    55406‐2452
HOLADAY, STEPHEN K         208 BREEZY LN                                                                                        KOKOMO           IN    46901‐3804
HOLADAY, TERRI T           1305 S PARK AVE TRLR 77                                                                              ALEXANDRIA       IN    46001‐2731
HOLADAY, WANDA S           208 BREEZY LN                                                                                        KOKOMO           IN    46901‐3804
HOLAHAN JAMES ESQ          103 MURPHY PL                                                                                        WEST HENRIETTA   NY    14586
HOLAHAN, DANIEL J          212 N CREEK XING                                                                                     ROCHESTER        NY    14612‐2742
HOLAHAN, DAVID R           6419 MAIN RD                                                                                         LOCKPORT         NY    14094‐9208
HOLAHAN, VIRGINIA B        9719 WATSON AVE.                                                                                     MIDDLEPORT       NY    14105‐9601
HOLAKOVSKY, LILLIAN        110 WEST BUTTERFIELD ROAD        UNIT 312 SOUTH                                                      ELMHURST         IL    60126
HOLALY, GERALD J           7408 LIVE OAK WAY                                                                                    BAKERSFIELD      CA    93308
HOLALY, MICHAEL G          13104 VILLAGE CT                                                                                     CLIO             MI    48420‐8263
HOLALY, RUBY V             1143 NORMANDY TERRACE DR                                                                             FLINT            MI    48532‐3550
HOLAN ROBERT               3212 WORMER DR                                                                                       WATERFORD        MI    48329‐2566
HOLAN, PHILLIP S           5108 RASPBERRY LN                                                                                    MINERAL RIDGE    OH    44440‐9432
HOLAN, ROBERT C            3212 WORMER DR                                                                                       WATERFORD        MI    48329‐2566
HOLANDA DELGADO            579 FORT WASHINGTON AVE APT 6E                                                                       NEW YORK         NY    10033‐1943
HOLANDA, JACKLYN A         924 GREYSTONE CT                                                                                     ANDERSON         IN    46011‐9786
HOLANDAY, JEREMIAS V       1832 HEATHER WAY                                                                                     DELANO           CA    93215‐4719
HOLAPPA, EVANGELINE        1168 WRIGHT DR                                                                                       CLAWSON          MI    48017‐1071
HOLASEK, CARLA D           11200 BOX RD                                                                                         LEXINGTON        OK    73051‐6721
HOLASEK, ROBERT P          11200 BOX RD                                                                                         LEXINGTON        OK    73051‐6721
HOLATA, ROBERT M           792 ARBORETUM CIR                                                                                    SAGAMORE HILLS   OH    44067‐2340
HOLAVA, NORMA K            170 EVERINGHAM RD                                                                                    SYRACUSE         NY    13205‐3233
HOLAVA, RONALD C           1137 GRANT BLVD                                                                                      SYRACUSE         NY    13203‐1114
HOLAWAY, JIMMY N           417 HOLLANDALE CIR APT E                                                                             ARLINGTON        TX    76010‐2326
HOLBACK, MICHAEL D         216 PETERSON AVE                                                                                     MARION           OH    43302‐4541
HOLBAN, FRANK P            11125 S. 84TH AVE                                                                                    PALOS HILLS      IL    60465
HOLBECK, DUANE E           5126 SAGAMORE DR                                                                                     SWARTZ CREEK     MI    48473‐8209
HOLBECK, LARRY L           6249 LUCAS RD                                                                                        FLINT            MI    48506‐1226
HOLBECK, RONALD L          134 N MILFORD RD BOX 105                                                                             HIGHLAND         MI    48357
HOLBECK, SHIRLEY A         6249 LUCAS RD                                                                                        FLINT            MI    48506‐1226
HOLBECK, SHIRLEY ANN       6249 LUCAS RD                                                                                        FLINT            MI    48506‐1226
HOLBEL, HILLARY J          4116 PARK FOREST DR                                                                                  FLINT            MI    48507‐2271
HOLBEL, JAMES B            4116 PARK FOREST DR                                                                                  FLINT            MI    48507‐2271
HOLBEN PROFESSIONAL        ENVIRONMENTAL HEALTH SERVICES    7758 BENTLEY HWY                                                    EATON RAPIDS     MI    48827‐9308
HOLBEN, BARBERREE P        315 N LA GRANGE RD APT 533                                                                           LA GRANGE PARK   IL    60526‐5007
HOLBEN, DONALD E           167 KENTON PL                                                                                        HAMBURG          NY    14075‐4309
HOLBEN, DONALD EUGENE      167 KENTON PL                                                                                        HAMBURG          NY    14075‐4309
HOLBERG, REX T             PO BOX 54                                                                                            DUCK RIVER       TN    38454‐0054
HOLBERG, ROBERT H          6480 W STOLL RD                                                                                      LANSING          MI    48906‐9327
HOLBERT GREGORY            808 DUNCAN CT                                                                                        TROTWOOD         OH    45426‐2728
HOLBERT NORMAN (445281)    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD       OH    44067
                                                            PROFESSIONAL BLDG
HOLBERT PROCTOR            2829 WILLOW GROVE HWY                                                                                ALLONS           TN    38541‐6813
HOLBERT, A. JO ANN         517 W 22ND ST                                                                                        ANDERSON         IN    46016‐4131
HOLBERT, BETTY L           30858 STEINHAUER ST                                                                                  WESTLAND         MI    48186‐9022
HOLBERT, CAROL             3140 LOCUST HOLW                                                                                     NOLENSVILLE      TN    37135‐7406
HOLBERT, CLETUS            134 OAKWOOD AVE                                                                                      FAIRBORN         OH    45324‐2826
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HOLBERT, DAVID L                     186 MANCHESTER DR                                                                                   MARYVILLE        TN     37803‐6560
HOLBERT, EARL G                      PO BOX 443                                                                                          MORTON           MS     39117‐0443
HOLBERT, EDWARD L                    990 PINE TREE RD                                                                                    LAKE ORION       MI     48362‐2556
HOLBERT, EMMA L                      915 JAKE DUKES RD.                                                                                  GRAND RIVERS     KY     42045‐9191
HOLBERT, ERIC F                      1025 E BOWIE ST                                                                                     FORT WORTH       TX     76104‐7217
HOLBERT, ERIC FITZGERALD             1025 E BOWIE ST                                                                                     FORT WORTH       TX     76104‐7217
HOLBERT, GERALD L                    30858 STEINHAUER ST                                                                                 WESTLAND         MI     48186‐9022
HOLBERT, JACKIE L                    20405 S COTTONWOOD DR                                                                               BELTON           MO     64012‐9127
HOLBERT, JOHN M                      4433 PINNACLE VIEW PL                                                                               LOUISVILLE       KY     40272‐5603
HOLBERT, MICHAEL T                   4064 MOHEGAN AVE                                                                                    HUBER HEIGHTS    OH     45424‐2825
HOLBERT, MICHAEL TODD                4064 MOHEGAN AVE                                                                                    HUBER HEIGHTS    OH     45424‐2825
HOLBERT, NORMAN                      BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD       OH     44067
                                                                       PROFESSIONAL BLDG
HOLBERT, RAY A                       1025 E BOWIE ST                                                                                     FORT WORTH      TX      76104‐7217
HOLBERT, TIMOTHY                     9881 DIXIE HWY                                                                                      CLARKSTON       MI      48348‐2418
HOLBERT, TIMOTHY K                   APT D                             1736 ARLIN PLACE                                                  FAIRBORN        OH      45324‐1970
HOLBERT, TOMMY                       3550 INDIANWOOD RD                                                                                  LAKE ORION      MI      48362‐1040
HOLBERT, WILLIS                      PO BOX 443                                                                                          MORTON          MS      39117‐0443
HOLBIC, HARRIET L                    3076 RAYWOOD ST                                                                                     FLINT           MI      48504‐1819
HOLBIN, BETTY R                      5045 W DODGE RD                                                                                     CLIO            MI      48420‐8503
HOLBIN, HARRY J                      3224 W MOTT AVE                                                                                     FLINT           MI      48504‐6917
HOLBIN, KATHLEEN A                   1227 14TH CIR SE                                                                                    LARGO           FL      33771‐3145
HOLBIN, LARRY A                      3173 N MCKINLEY RD                                                                                  FLUSHING        MI      48433‐1909
HOLBIN, LURINDA M                    PO BOX 114                                                                                          CLIO            MI      48420‐0114
HOLBIRD, FOSTER N                    540 MITCHELL RD                                                                                     IMBODEN         AR      72434‐9494
HOLBROOK AVE FEDERAL CREDIT UN       ACCT OF ROBERT A DUNN
HOLBROOK CARMA (492574)              BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH      44067
                                                                       PROFESSIONAL BLDG
HOLBROOK CHARLES                     DBA DIGITALWHEELZ LLC             9459 CLOCKTOWER LN                                                COLUMBIA        MD      21046‐1888
HOLBROOK CLAY (ESTATE OF) (489093)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH      44067
                                                                       PROFESSIONAL BLDG
HOLBROOK INSURANCE CENTER INC        40 S FRANKLIN ST                                                                                    HOLBROOK        MA      02343‐1421
HOLBROOK JR, ALFRED S                651 HAMMOND DR NE                                                                                   ATLANTA         GA      30328‐5231
HOLBROOK JR, GEORGE E                3503 BENMARK PL                                                                                     FLINT           MI      48506‐1944
HOLBROOK JR, JAMES L                 3865 HURT BRIDGE RD                                                                                 CUMMING         GA      30028‐9186
HOLBROOK JR, OVIE E                  880 BRIDAL LN                                                                                       LINCOLN         CA      95648
HOLBROOK JR, ROBERT L                2818 PLAINFIELD AVE                                                                                 FLINT           MI      48506‐1855
HOLBROOK JR, ROBERT LEE              2818 PLAINFIELD AVE                                                                                 FLINT           MI      48506‐1855
HOLBROOK JR, SAMUEL E                812 CLARENCE ST                                                                                     DANVILLE        IL      61832‐4866
HOLBROOK LISA & DONALD               14506 PERILLA AVE                                                                                   PARAMOUNT       CA      90723‐3626
HOLBROOK MANUFACTURING INC           STEVE SPORER                      288 HOLBROOK DRIVE                                                DETROIT         MI      48202
HOLBROOK MFG INC                     STEVE SPORER                      288 HOLBROOK DRIVE                                                DETROIT         MI      48202
HOLBROOK SR, DONALD E                3247 THIRTEEN COLONY MALL APT 3                                                                     MEMPHIS         TN      38115‐2948
HOLBROOK, AARON W                    5109 N MECHANICSBURG RD                                                                             MIDDLETOWN      IN      47356‐9787
HOLBROOK, ALAN H                     7800 S WALNUT ST                                                                                    MUNCIE          IN      47302‐8743
HOLBROOK, ALBERT E                   96 CARMEL CT                                                                                        CENTERVILLE     OH      45458‐2339
HOLBROOK, ANGELA                     15392 OSAGE ROAD                                                                                    APPLE VALLEY    CA      92307‐3644
HOLBROOK, ANNA J                     2323 LAVELLE RD                                                                                     FLINT           MI      48504‐2309
HOLBROOK, ARTHUR L                   7422 IRWINGROVE DR                                                                                  DOWNEY          CA      90241‐2163
HOLBROOK, BEATRICE MAE               36 PELTON AVE                                                                                       COLDWATER       MI      49036
HOLBROOK, BERNICE                    17156 EDDON                                                                                         MELVINDALE      MI      48122‐1222
HOLBROOK, BETTE KAYE                 8498 SAGINAW ST                                                                                     BIRCH RUN       MI      48415‐9032
HOLBROOK, BILL C                     2100 VILLAGE LN                                                                                     ROSWELL         GA      30075‐7603
HOLBROOK, BILLY G                    2323 LAVELLE RD                                                                                     FLINT           MI      48504‐2309
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Name                           Address1                            Address2                       Address3   Address4               City            State Zip
HOLBROOK, BRAD L               1911 ROSEBUD DR                                                                                      MARYVILLE        TN 37803‐9208
HOLBROOK, BRONSTON AMBROS      GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW          MI 48604‐2602
                                                                   260
HOLBROOK, BRUCE R              PO BOX 546                                                                                           WILLIAMSTON     MI   48895‐0546
HOLBROOK, BUFORD               924 WALNUT ST                                                                                        MILFORD         OH   45150
HOLBROOK, BURLIN               PO BOX 441                                                                                           CONOVER         OH   45317‐0441
HOLBROOK, CAMILEE V.           PO BOX 2634                                                                                          MANSFIELD       OH   44906‐0634
HOLBROOK, CARL E               3435 CADWALLADER SONK RD                                                                             CORTLAND        OH   44410‐9442
HOLBROOK, CHARLES F            38187 LITTLE MACK AVE                                                                                CLINTON TWP     MI   48036‐2324
HOLBROOK, CHARLES M            PO BOX 682                                                                                           ADAIRSVILLE     GA   30103‐0682
HOLBROOK, CHARLES W            4165 OAKWOOD TRL                                                                                     CUMMING         GA   30040‐5162
HOLBROOK, CHARLES W            2099 POPE RD                                                                                         IVANHOE         VA   24350‐3670
HOLBROOK, CHRISTOPHER D        8502 ASHPACHER RD                                                                                    DEFIANCE        OH   43512‐8428
HOLBROOK, CHRISTOPHER DONALD   8502 ASHPACHER RD                                                                                    DEFIANCE        OH   43512‐8428
HOLBROOK, CLAUDE W             12440 HAVERMALE RD                                                                                   FARMERSVILLE    OH   45325‐9233
HOLBROOK, CURTIS L             PO BOX 164                                                                                           CASTALIA        OH   44824‐0164
HOLBROOK, CURTIS W             PO BOX 549                                                                                           VIRGIE          KY   41572‐0549
HOLBROOK, DANIEL               923 SOMERSET LN                                                                                      FLINT           MI   48503‐2941
HOLBROOK, DARRELL C            479 BRIDLE LN N                                                                                      W CARROLLTON    OH   45449‐2119
HOLBROOK, DAVID                1409 W MURPHY LAKE RD                                                                                FOSTORIA        MI   48435‐9537
HOLBROOK, DAVID G              1436 STINSON ST                                                                                      OWOSSO          MI   48867‐1458
HOLBROOK, DAVID GUY            1436 STINSON ST                                                                                      OWOSSO          MI   48867‐1458
HOLBROOK, DEBRA L              218 1/2W MAIN                                                                                        GRAND LEDGE     MI   48837
HOLBROOK, DONALD L             359 STRATFORD CT                                                                                     DIMONDALE       MI   48821‐9779
HOLBROOK, DORA C               707 FLORIDA AVE APT C                                                                                LYNN HAVEN      FL   32444‐1766
HOLBROOK, DORIS D              355 MACKEY RD SE                                                                                     VIENNA          OH   44473‐9641
HOLBROOK, DORIS D              355 MACKEY DR                                                                                        VIENNA          OH   44473‐9641
HOLBROOK, DOROTHY M            4486 WHITE TREE CT                                                                                   COLUMBUS        OH   43228‐6449
HOLBROOK, DOROTHY S            5109 N MECHANICSBURG RD                                                                              MIDDLETOWN      IN   47356‐9787
HOLBROOK, EARL A               401 W MICHIGAN AVE APT 209                                                                           YPSILANTI       MI   48197‐5353
HOLBROOK, EARL L               6028 TALLADAY RD                                                                                     MILAN           MI   48160‐8838
HOLBROOK, EARL LESLIE          6028 TALLADAY RD                                                                                     MILAN           MI   48160‐8838
HOLBROOK, EDWARD L             405 HARBOR LANDING DR                                                                                MONETA          VA   24121‐4927
HOLBROOK, EDWIN                7960 S DEWITT RD                                                                                     DEWITT          MI   48820‐9756
HOLBROOK, EILEEN M             38037 CASTLE DR                                                                                      ROMULUS         MI   48174‐1015
HOLBROOK, EIOLET E             3622 TERRAPIN LN APT 1014                                                                            CORAL SPRINGS   FL   33067‐3167
HOLBROOK, ELMER L              2458 GIBSON ST.                                                                                      FLINT           MI   48503
HOLBROOK, ELNORE W             302 OAK RDG                                                                                          MASON           MI   48854‐2517
HOLBROOK, ELOISE G             325 PINEVIEW NE                                                                                      WARREN          OH   44484‐1495
HOLBROOK, ELOISE G             325 PINEVIEW DR NE                                                                                   WARREN          OH   44484‐1495
HOLBROOK, ESTILL R             8982 WESTBROOK RD                                                                                    BROOKVILLE      OH   45309‐8224
HOLBROOK, FLOYD E              2116 GARFIELD AVE                                                                                    LORAIN          OH   44055‐3432
HOLBROOK, GERALD               135 HOLBROOK HILL DR                                                                                 FRANKLIN        NC   28734‐0427
HOLBROOK, HAZEL L              P.O. BOX 321                                                                                         TUCKER          GA   30085‐0321
HOLBROOK, HAZEL L              4482 LAWRENCEVILLE RD                                                                                TUCKER          GA   30084‐3703
HOLBROOK, HAZEL L              PO BOX 321                                                                                           TUCKER          GA   30085‐0321
HOLBROOK, HEIDI T              2504 HEADLAND DR                                                                                     SAINT CHARLES   MO   63301‐1460
HOLBROOK, HELEN                2869 HIGHWAY 540                                                                                     JACKSON         KY   41339‐8275
HOLBROOK, HOWARD A             9743 N COUNTY ROAD 850 W                                                                             DALEVILLE       IN   47334‐9501
HOLBROOK, JACOB A              3404 PRIMROSE LN                                                                                     YPSILANTI       MI   48197‐3217
HOLBROOK, JAMES E              2044 HUNTINGTON AVE                                                                                  FLINT           MI   48507‐3517
HOLBROOK, JAMES H              1276 ROSALIE DR                                                                                      FENTON          MI   48430‐9642
HOLBROOK, JAMES P              2795 E CODY ESTEY RD                                                                                 PINCONNING      MI   48650‐9785
HOLBROOK, JERLLINE             CLUBVIEW APT 10C                                                                                     YAZOO CITY      MS   39194
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Name                       Address1                              Address2                       Address3   Address4               City             State Zip
HOLBROOK, JOHN A           2203 FRANCE LN                                                                                         CHEBOYGAN         MI 49721‐9408
HOLBROOK, JOHN ANTHONY     2203 FRANCE LN                                                                                         CHEBOYGAN         MI 49721‐9408
HOLBROOK, JOHN F           1009 STATE ROUTE 132                                                                                   CLARKSVILLE       OH 45113‐9672
HOLBROOK, JOHN F           1009 ST RT 132                                                                                         CLARKSVILLE       OH 45113‐9672
HOLBROOK, JOHN L           1601 W TREE LN                                                                                         MUNCIE            IN 47302‐8706
HOLBROOK, JOHN P           186 MARKLE RD                                                                                          BELLE VERNON      PA 15012‐3119
HOLBROOK, JOHN R           6048 TALLADAY RD                                                                                       MILAN             MI 48160‐8838
HOLBROOK, JOHN R           PO BOX 527 PO527                                                                                       GOSHEN            OH 45122
HOLBROOK, JOHN RAY         6048 TALLADAY RD                                                                                       MILAN             MI 48160‐8838
HOLBROOK, JOSEPH R         2717 E WHITEFEATHER RD                                                                                 PINCONNING        MI 48650‐8454
HOLBROOK, KIMBERLY         23115 ORLEANS PL                      APT 114                                                          SOUTHFIELD        MI 48033‐3346
HOLBROOK, LARRY E          7 TWIN HILLS DR                                                                                        MEALLY            KY 41234
HOLBROOK, LARRY J          974 PT LOOKOUT RD P O 708                                                                              AU GRES           MI 48703
HOLBROOK, LAVAUGHN         117 TILLIE LN                                                                                          NEW CARLISLE      OH 45344‐9138
HOLBROOK, LILLIAN L        197 W MARKET ST                       STE 200                                                          WARREN            OH 44481‐1024
HOLBROOK, LOIS G           1310 AVON PARK DR APT 3                                                                                FLINT             MI 48503‐2799
HOLBROOK, LOREN R          1709 WCR 600 SOUTH                                                                                     MUNCIE            IN 47302
HOLBROOK, LORETTA          436 CLINTON ST                                                                                         NILES             OH 44446‐2502
HOLBROOK, LOUISE           16 SOFTSHELL                                                                                           LENORE            KY 41831
HOLBROOK, LOUISE M         4924 BETHELVIEW RD                                                                                     CUMMING           GA 30040‐6556
HOLBROOK, MAGDALENE        405 CAMPBELL AVE                                                                                       YPSILANTI         MI 48198‐3801
HOLBROOK, MARGY A          3503 BENMARK PL                                                                                        FLINT             MI 48506‐1944
HOLBROOK, MARK D           5849 CATHEDRAL OAKS RD                                                                                 GOLETA            CA 93117‐1828
HOLBROOK, MARY             282 NEW HOPE RD                                                                                        LAWRENCEVILLE     GA 30045‐5893
HOLBROOK, MATTHEW C        20475 NICKE ST                                                                                         CLINTON TOWNSHIP MI 48035‐4054

HOLBROOK, MAURICE N        3425 RANGELEY ST APT 1                                                                                 FLINT             MI   48503‐2969
HOLBROOK, MAYNARD J        916 THORPE DR                                                                                          SANDUSKY          OH   44870‐1625
HOLBROOK, MEGHAN A         732B MANHATTAN BEACH BLVD                                                                              MANHATTAN BEACH   CA   90266‐4857

HOLBROOK, MEGHAN A         7563 CHAMINADE AVE                                                                                     WEST HILLS        CA   91304‐5385
HOLBROOK, MICHAEL A        314 SHEA ST                                                                                            GARLAND           TX   75040‐3759
HOLBROOK, MICHAEL G        1217 BRIAR PATCH LN                                                                                    BURTON            MI   48529‐2222
HOLBROOK, MICHAEL GORDON   1217 BRIAR PATCH LN                                                                                    BURTON            MI   48529‐2222
HOLBROOK, MURIEL M         735 W ALKALINE SPRINGS RD                                                                              VANDALIA          OH   45377‐1510
HOLBROOK, NANCY L          2100 VILLAGE LN                                                                                        ROSWELL           GA   30075‐7603
HOLBROOK, NOAH W           6641 STATE ROUTE 101 E                                                                                 CLYDE             OH   43410‐9730
HOLBROOK, NORMA J          5537 NORTH SHORELINE DR                                                                                PINCONNING        MI   48650
HOLBROOK, ORA T            GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH        PA   15219

HOLBROOK, OZIE             306 W PIERSON RD                                                                                       FLINT             MI   48505‐3349
HOLBROOK, PATRICK M        5571 N SHORE RD                                                                                        PINCONNING        MI   48650‐8408
HOLBROOK, PAUL D           1000 E GRAND RIVER AVE                                                                                 FOWLERVILLE       MI   48836‐9531
HOLBROOK, PAUL D           6905 W 52ND PL APT 2A                                                                                  MISSION           KS   66202‐1538
HOLBROOK, PAUL DAVID       6905 W 52ND PL APT 2A                                                                                  MISSION           KS   66202‐1538
HOLBROOK, PAUL W           129 MEADOW RIDGE RA                                                                                    STOCKBRIDGE       GA   30281
HOLBROOK, RALPH L          863 SUTHERLAND AVE                                                                                     JANESVILLE        WI   53545‐1629
HOLBROOK, RAMONA L         359 STRATFORD CT                                                                                       DIMONDALE         MI   48821‐9779
HOLBROOK, RANDALL R        203 4TH ST                                                                                             SAINT AUGUSTINE   FL   32080‐2908
HOLBROOK, RANDY Q          14844 CIRCLE DR                                                                                        CHOCTAW           OK   73020‐6225
HOLBROOK, RAY PHILLIP      23115 ORLEANS PL                      APT 114                                                          SOUTHFIELD        MI   48033‐3346
HOLBROOK, RAYFIELD         20012 KLINGER ST                                                                                       DETROIT           MI   48234‐1742
HOLBROOK, REBECCA D        1052 LANFORD CR                                                                                        LILBURN           GA   30047‐6619
HOLBROOK, RICHARD M        1893 HIGHLAWN RD                                                                                       DECATUR           IL   62521‐9411
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Name                          Address1                       Address2                       Address3                 Address4               City              State   Zip
HOLBROOK, RICHARD T           5032 N TOWER BEACH RD                                                                                         PINCONNING         MI     48650‐9716
HOLBROOK, RICKY J             PO BOX 190362                                                                                                 BURTON             MI     48519‐0362
HOLBROOK, ROBERT H            3260 WATSON GATE RD                                                                                           LOGANVILLE         GA     30052‐6211
HOLBROOK, RONALD L            1894 KINGEN DR                                                                                                GREENFIELD         IN     46140‐7194
HOLBROOK, RONNIE W            1472 SENECA DR                                                                                                XENIA              OH     45385‐4342
HOLBROOK, ROSIE B             4087 COTTAGE OAKS DR                                                                                          ACWORTH            GA     30101‐7322
HOLBROOK, SAMMIE              56 PINEWOOD ST                                                                                                SHELBY             OH     44875‐1757
HOLBROOK, SANDRA L            3039 DEVONSHIRE ST                                                                                            FLINT              MI     48504‐4305
HOLBROOK, SARAH L             3400 MARATHON ROAD                                                                                            COLUMBIAVILLE      MI     48421‐8975
HOLBROOK, SHARON L            4801 W GRAND RIVER AVE                                                                                        LANSING            MI     48906
HOLBROOK, SHERI L             38042 WESTVALE ST                                                                                             ROMULUS            MI     48174‐1045
HOLBROOK, SHIRLEY G           1701 FLAT ROCK RD                                                                                             STOCKBRIDGE        GA     30281‐2042
HOLBROOK, TAMIKA L            4834 BECKER DR                                                                                                DAYTON             OH     45417
HOLBROOK, TERRY W             PO BOX 52                                                                                                     NILES              OH     44446‐0052
HOLBROOK, THOMAS W            3842 EAST ST                                                                                                  SAGINAW            MI     48601‐5124
HOLBROOK, VERNON E            10950 BELTZ ROAD                                                                                              ATLANTA            MI     49709‐9110
HOLBROOK, VIRGINIA J.         364 E GRAHAM ST                                                                                               PRESTONSBURG       KY     41653‐7943
HOLBROOK, VIRGINIA J.         364 EAST GRAHAM STREET                                                                                        PRESTONSBURG       KY     41653
HOLBROOK, VIRGINIA R          24 HENRY ST                                                                                                   CLAREMONT          NH     03743‐3133
HOLBROOK, WILLARD O           8312 LOWER BURNINGTOWN RD                                                                                     FRANKLIN           NC     28734‐5907
HOLBROOK, WILLIAM J           17596 DEVONSHIRE ST                                                                                           RIVERVIEW          MI     48193‐7613
HOLBROOKS, AGNES LOUISE       PO BOX 151                                                                                                    FAIR PLAY          SC     29643‐0151
HOLBROOKS, BETTY J            PO BOX 604                                                                                                    SOCIAL CIRCLE      GA     30025‐0604
HOLBROOKS, BOBBY G            11425 MILLER RD                                                                                               SWARTZ CREEK       MI     48473‐8570
HOLBROOKS, BOBBY GENE         11425 MILLER RD                                                                                               SWARTZ CREEK       MI     48473‐8570
HOLBROOKS, BONNIE             1095 ROTH AVE                                                                                                 UNIVERSITY CITY    MO     63130‐2542
HOLBROOKS, CAROLYN N.         2175 SHARON RD                                                                                                CUMMING            GA     30041‐6851
HOLBROOKS, CAROLYN N.         2175 SHARON RD.                                                                                               CUMMING            GA     30041‐6851
HOLBROOKS, DELTON A           2175 SHARON RD                                                                                                CUMMING            GA     30041‐6851
HOLBROOKS, JAMES P            2341 TALLY DR                                                                                                 CUMMING            GA     30041‐7216
HOLBROOKS, MARIE              11425 MILLER RD                                                                                               SWARTZ CREEK       MI     48473‐8570
HOLBROOKS, MARIE A            11425 MILLER RD                                                                                               SWARTZ CREEK       MI     48473‐8570
HOLBROOKS, VICTOR E           1320 SAN AMARO RD                                                                                             JACKSONVILLE       FL     32207‐7538
HOLCIM INC                    MATTHEW ROOTBERG               6211 N ANN ARBOR RD                                                            DUNDEE             MI     48131‐9527
HOLCIM US INC                 6211 N ANN ARBOR RD                                                                                           DUNDEE             MI     48131‐9527
HOLCKNECHT, ALLEN J           1974 VALLEY BROOK RD                                                                                          STREETSBORO        OH     44241‐5829
HOLCOLM, MARY ANN             4026 PARK FOREST DR                                                                                           FLINT              MI     48507‐2259
HOLCOM, DENNIS R              PO BOX 223                                                                                                    SWEETSER           IN     46987‐0223
HOLCOMB DUNBAR                RE: MICHAEL DAWKINS            1312 UNIVERSITY AVENUE         POST OFFICE DRAWER 707                          OXFORD             MS     38655
HOLCOMB HARRY                 293 WESTWOOD CIR                                                                                              ELIZABETHTOWN      NC     28337
HOLCOMB JEFFERY               HOLCOMB, ALICIA                LUPARDUS TIMOTHY P             P O BOX 1680                                    PINEVILLE          WV     24874
HOLCOMB JEFFERY               HOLCOMB, JEFFREY               PO BOX 1680                                                                    PINEVILLE          WV     24874‐1680
HOLCOMB JR, IRA J             53438 STARLITE DR                                                                                             SHELBY TOWNSHIP    MI     48316‐2349
HOLCOMB JR, IRA JAMES         53438 STARLITE DR                                                                                             SHELBY TOWNSHIP    MI     48316‐2349
HOLCOMB RANDY (644131)        WATERS & KRAUS                 3219 MCKINNEY AVE ‐ STE 3000                                                   DALLAS             TX     75204
HOLCOMB SR, PAUL H            12A HUNTERS WOODS BLVD                                                                                        CANFIELD           OH     44406‐8764
HOLCOMB TRUCKING INC          PO BOX 400                                                                                                    ELSIE              MI     48831‐0400
HOLCOMB WALDRIP REAL ESTATE   DBA MCEVER BUSINESS CENTER     303 PEARL NIX PKWY                                                             GAINESVILLE        GA     30501‐3562
HOLCOMB WILLIAM               19377 KEYMAR WAY                                                                                              MONTGOMERY         MD     20886‐5012
                                                                                                                                            VILLAGE
HOLCOMB, ALICIA               LUPARDUS TIMOTHY P             PO BOX 1680                                                                    PINEVILLE         WV      24874‐1680
HOLCOMB, AMY                  5315 INGLEWOOD BLVD                                                                                           CULVER CITY       CA      90230‐5950
HOLCOMB, ANDREW A             7000 CLAMPTON CT                                                                                              CANTON            MI      48187‐2701
HOLCOMB, ANDREW ALLAN         7000 CLAMPTON CT                                                                                              CANTON            MI      48187‐2701
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Name                   Address1                      Address2            Address3         Address4               City            State   Zip
HOLCOMB, ANN           567 DIXIE LAKE LN                                                                         WASKOM           TX     75692‐5033
HOLCOMB, BARBARA A     12832 COBB LAKE RD                                                                        WAYLAND          MI     49348‐8837
HOLCOMB, BARBARA J     1132 SINGINGWOOD RD                                                                       SACRAMENTO       CA     95864‐7736
HOLCOMB, BENNY R       PO BOX 38                                                                                 GILLSVILLE       GA     30543‐0038
HOLCOMB, BETTY L       210 HURD ST                                                                               ST JOHNS         MI     48879‐2142
HOLCOMB, BILLY N       PO BOX 378                                                                                TIGER            GA     30576‐0378
HOLCOMB, BUDDY R       PO BOX 811                                                                                CARSON CITY      MI     48811‐0811
HOLCOMB, BURL W        2439 DAM RD                                                                               WEST BRANCH      MI     48661‐8728
HOLCOMB, CARL E        27727 COUNTY ROAD 36                                                                      GOSHEN           IN     46526‐7142
HOLCOMB, CARL W        2949 N COATS RD                                                                           OXFORD           MI     48371‐2219
HOLCOMB, CAROLYN V     4504 ODESSA DRIVE                                                                         MATTESON          IL    60443‐2982
HOLCOMB, CAROLYN V     4504 ODESSA DR                                                                            MATTESON          IL    60443‐2982
HOLCOMB, CHARLES E     3180 BECK BLVD                E146                                                        NAPLES           FL     34114‐1203
HOLCOMB, CHARLES R     7137 CEDAR HILL DR                                                                        GAINESVILLE      GA     30507‐9555
HOLCOMB, CHESTER J     3970 GRAVEL CREEK RD                                                                      NORTH BRANCH     MI     48461‐8812
HOLCOMB, CHLOE         7360 NW 8TH ST                                                                            MARGATE          FL     33063‐4029
HOLCOMB, CLAUDE E      8451 RIVEREST DRIVE                                                                       PORTLAND         MI     48875‐9692
HOLCOMB, CURTIS E      1367 CASTO BLVD                                                                           BURTON           MI     48509‐2011
HOLCOMB, DALE W        1665 DELWOOD AVE SW                                                                       GRAND RAPIDS     MI     49509‐1332
HOLCOMB, DANIEL T      601 W MILL ST                                                                             GALLATIN         MO     64640‐1248
HOLCOMB, DANIEL TODD   601 W MILL ST                                                                             GALLATIN         MO     64640‐1248
HOLCOMB, DELORES C     1022 PECAN GROVE PLACE                                                                    LAWERNCEVILLE    GA     30045‐5516
HOLCOMB, DEWAYNE D     4115 101ST ST W                                                                           BRADENTON        FL     34210‐1212
HOLCOMB, DORIS A       38533 ETHEL AVE                                                                           ZEPHRHILLS       FL     33540‐1616
HOLCOMB, DUANE H       11303 ASHLAND RD                                                                          WOOSTER          OH     44691‐7559
HOLCOMB, ELIZABETH K   2224 SAN MARCO LN                                                                         EDMOND           OK     73034‐2349
HOLCOMB, FRANCIS L     BOONE ALEXANDRA               205 LINDA DR                                                DAINGERFIELD     TX     75638‐2107
HOLCOMB, FRANK E       6922 FOREST GLEN CT                                                                       FORT WAYNE       IN     46815‐7905
HOLCOMB, GEORGE R      7631 BLOSSOMVIEW CT                                                                       HUBER HEIGHTS    OH     45424‐2420
HOLCOMB, GERALD E      1539 MANITOU LN                                                                           MIDDLEVILLE      MI     49333‐8492
HOLCOMB, GERALD W      9384 TECUMSEH                                                                             REDFORD          MI     48239‐2237
HOLCOMB, GLEN F        11 LAPIDARY LANE                                                                          JANESVILLE       WI     53548‐9127
HOLCOMB, GORDON W      141 ESCALON ST                                                                            CINCINNATI       OH     45216‐1704
HOLCOMB, HELEN J       10480 EAST HENDERSON RD                                                                   CORUNNA          MI     48817‐9791
HOLCOMB, HELEN J       10480 HENDERSON RD                                                                        CORUNNA          MI     48817‐9791
HOLCOMB, HIRAM W       18576 HURON RIVER DR                                                                      NEW BOSTON       MI     48164‐9356
HOLCOMB, HUBERT L      3920 BONNETT CREEK LN                                                                     HOSCHTON         GA     30548‐6200
HOLCOMB, HUGH H        401 SENIOR DR                                                                             LAWRENCEVILLE    GA     30044‐5464
HOLCOMB, JACK L        924 HOPEWELL RD                                                                           PORT DEPOSIT     MD     21904‐1314
HOLCOMB, JAMES B       8535 PLANK RD                                                                             MONTVILLE        OH     44064‐9796
HOLCOMB, JAMES E       611 BIMINI DR                                                                             SANDUSKY         OH     44870‐3992
HOLCOMB, JAMES P       674 CHARWOOD DR                                                                           CINCINNATI       OH     45244‐1315
HOLCOMB, JAMES R       2815 RIVULET RUN                                                                          FORT WAYNE       IN     46818‐8535
HOLCOMB, JAMES W       3243 E LINDY LN                                                                           OAK CREEK        WI     53154‐6542
HOLCOMB, JAMES W       2401 LOOP ROAD                                                                            TUSCALOOSA       AL     35405‐2028
HOLCOMB, JANIE
HOLCOMB, JEAN I.       23634 N ROCKLEDGE                                                                         NOVI            MI      48375‐3759
HOLCOMB, JEFF A        5814 PAWSON RD                                                                            TIPTON          MI      49287‐9763
HOLCOMB, JEFFREY       LUPARDUS TIMOTHY P            PO BOX 1680                                                 PINEVILLE       WV      24874‐1680
HOLCOMB, JILL M        1133 YEOMANS ST LOT 174                                                                   IONIA           MI      48846‐1969
HOLCOMB, JIMMY A       2676 THOMPSON STATION RD E    ROAD                                                        THOMPSONS       TN      37179‐9248
                                                                                                                 STATION
HOLCOMB, JOHN H        404 MICHIGAN AVE                                                                          ELYRIA          OH      44035‐7140
HOLCOMB, JOHN M        2673 DANSBURY CT                                                                          LAKE ORION      MI      48360‐1605
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Name                            Address1                        Address2                       Address3   Address4               City              State   Zip
HOLCOMB, JULIAN D               2470 W DENNEYS RD                                                                                DOVER              DE     19904‐4707
HOLCOMB, KATHERINE J            3088 N GROVE DR                                                                                  MONROE             MI     48162
HOLCOMB, KENT M                 4490 SIR RICHARD AVE                                                                             NORTH ROYALTON     OH     44133‐4135
HOLCOMB, L. G                   3598 PINE ST                                                                                     DORAVILLE          GA     30340‐2734
HOLCOMB, LINDA                  2232 BROAD STREET                                                                                NEW CASTLE         IN     47362‐3537
HOLCOMB, LINDA S                719 135TH AVENUE RR 2                                                                            WAYLAND            MI     49348‐9510
HOLCOMB, LOWELL D               715 S HAMILTON ST                                                                                OLATHE             KS     66061‐4625
HOLCOMB, M P ENGINEERING CORP   250 KAY INDUSTRIAL DRIVE                                                                         LAKE ORION         MI     48359‐2402
HOLCOMB, MARGARET M             8130 SOUTH WOOD DR. APT 201                                                                      GARRETTSVILLE      OH     44231‐1149
HOLCOMB, MARGARET M             8130 SOUTHWOOD DR APT 201                                                                        GARRETTSVILLE      OH     44231‐1149
HOLCOMB, MARTHA E               423 WALTHAM LN                                                                                   SUGAR HILL         GA     30518‐7821
HOLCOMB, MARY M                 8946 NORTH CENTRAL STREET                                                                        LAKE CITY          MI     49651‐9402
HOLCOMB, MAXY                   506 GLENWOOD AVE                                                                                 BUFFALO            NY     14208‐1916
HOLCOMB, MICHAEL JOHN           6843 SAGINAW ST                                                                                  NORTH BRANCH       MI     48461‐9300
HOLCOMB, MICHAEL P              6361 PEACH TREE CT                                                                               ROCHESTER HILLS    MI     48306‐3352
HOLCOMB, MICHAEL R              406 SMITHSTONE RD SE                                                                             MARIETTA           GA     30067‐6740
HOLCOMB, MICHAEL THOMAS         708 E BELLEVUE ST                                                                                LESLIE             MI     49251
HOLCOMB, NELSON P               539 GREENSBURG PIKE                                                                              WEST NEWTON        PA     15089‐2007
HOLCOMB, OKEY P                 PO BOX 334                                                                                       MIDDLEFIELD        OH     44062‐0334
HOLCOMB, OLIVIA M               5872 SUWANEE DAM RD                                                                              BUFORD             GA     30518‐5679
HOLCOMB, PATRICIA A             539 GREENSBURG PIKE                                                                              WEST NEWTON        PA     15089‐2007
HOLCOMB, PATRICK J              5681 N NEW LOTHROP RD                                                                            CORUNNA            MI     48817‐9750
HOLCOMB, PAUL B                 PO BOX 218                                                                                       TAYLOR             MI     48180‐0218
HOLCOMB, PAUL W                 5645 GOLFRIDGE RD                                                                                ALMA               MI     48801‐9636
HOLCOMB, PAULINE                726 E 5TH ST                                                                                     CONNERSVILLE       IN     47331‐2612
HOLCOMB, PETE M                 2224 SAN MARCO LN                                                                                EDMOND             OK     73034‐2349
HOLCOMB, RALPH C                3424 LONGVIEW AVE                                                                                ROCHESTER HLS      MI     48307‐5639
HOLCOMB, RANDY                  C/O WATERS & KRAUS LLP          3219 MCKINNEY AVE                                                DALLAS             TX     75204
HOLCOMB, RANDY                  WATERS & KRAUS                  3219 MCKINNEY AVE ‐ STE 3000                                     DALLAS             TX     75204
HOLCOMB, RICHARD C              104 BAYLAND DR UNIT 16                                                                           HAVRE DE GRACE     MD     21078‐4264
HOLCOMB, RICK B                 5515 AMBER WAY                                                                                   YPSILANTI          MI     48197‐8207
HOLCOMB, RICK BRUCE             5515 AMBER WAY                                                                                   YPSILANTI          MI     48197‐8207
HOLCOMB, RICKEY L               3646 PINECREST RD                                                                                INDIANAPOLIS       IN     46234‐1401
HOLCOMB, ROBERT B               910 NORMA DR                                                                                     CARO               MI     48723‐9253
HOLCOMB, ROGER M                13613 S 300 E                                                                                    KOKOMO             IN     46901‐7585
HOLCOMB, ROGER O                RR 1 BOX 49A4                                                                                    AUGUSTA            WV     26704‐9713
HOLCOMB, RONALD G               307 SHERRY ST                                                                                    ARLINGTON          TX     76010‐2208
HOLCOMB, RONALD J               4975 ELROD CIR                                                                                   CUMMING            GA     30041
HOLCOMB, ROY D                  6604 PEACHWOOD CT                                                                                ARLINGTON          TX     76016‐4232
HOLCOMB, RUSSELL W              1254 ROCK VALLEY DR                                                                              ROCHESTER          MI     48307‐6030
HOLCOMB, RUTH E                 5600 BIRCHLEAF PK CT                                                                             CENTERVILLE        VA     20120‐3427
HOLCOMB, SALLY
HOLCOMB, SIDNEY A               702 INNER DR                                                                                     TECUMSEH          MI      49286‐1433
HOLCOMB, STEVEN F               3311 STELLAR DRRD                                                                                JANESVILLE        WI      53545
HOLCOMB, SYLVIA L               4040 PULASKI DR 233                                                                              ZEPHYRHILLS       FL      33541
HOLCOMB, TERRY L                1212 NW SCENIC DR                                                                                GRAIN VALLEY      MO      64029‐7326
HOLCOMB, THERESA L              406 SMITHSTONE RD SE                                                                             MARIETTA          GA      30067‐6740
HOLCOMB, THOMAS E               281 ADAMS RD                                                                                     PORT DEPOSIT      MD      21904‐1432
HOLCOMB, THOMAS E               405 HOLCOMB RD                                                                                   GUNTERSVILLE      AL      35976‐5568
HOLCOMB, THOMAS E               10339 S SANDUSKY AVE                                                                             TULSA             OK      74137‐5918
HOLCOMB, TIM L                  851 VICTORY RD                                                                                   SPRINGFIELD       OH      45504‐3741
HOLCOMB, TONY D                 1168 SE CHILDERS RD                                                                              EVA               AL      35621‐7613
HOLCOMB, TYLER K                12116 AGANA ST                                                                                   ORLANDO           FL      32837‐9555
HOLCOMB, VERA R                 8027 GREENHOLLOW LN                                                                              DALLAS            TX      75240‐3815
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Name                               Address1                          Address2                           Address3                Address4                 City               State   Zip
HOLCOMB, VICTORIA S                5681 N NEW LOTHROP RD                                                                                                 CORUNNA             MI     48817‐9750
HOLCOMB, VIRGINIA A                10 STOREY LN                                                                                                          BATESVILLE          AR     72501‐8378
HOLCOMB, VIRGINIA D                9540 TAILS CREED RD                                                                                                   ELLIJAY             GA     30540‐9783
HOLCOMB, WARREN N                  6408 SHAMEL DR                                                                                                        INDIANAPOLIS        IN     46278‐1170
HOLCOMB, WILLARD E                 6424 ALAMO COURT                                                                                                      TECUMSEH            MI     49286‐9766
HOLCOMB, WILLARD E                 6424 ALAMO CT                                                                                                         TECUMSEH            MI     49286‐9766
HOLCOMB, WILLIAM A                 34750 THORNBROOK DR                                                                                                   FARMINGTON HILLS    MI     48335‐1453

HOLCOMB, WILLIAM D                 5225 OAKHILL DR                                                                                                       SWARTZ CREEK       MI      48473‐8607
HOLCOMB, WILLIAM N                 2161 W MANOR AVE                                                                                                      POLAND             OH      44514‐1543
HOLCOMB, WILLIAM R                 339 QUAKER BOTTOM RD                                                                                                  HAVRE DE GRACE     MD      21078‐1327
HOLCOMB‐HUBINGER LAURA             623 W PORTER ST                                                                                                       CROWN POINT        IN      46307‐3016
HOLCOMBE DWIGHT                    8 BLACK POINT BLVD                                                                                                    LUTSEN             MN      55612‐9547
HOLCOMBE JR, RAY M                 6133 PINE SPRINGS RD                                                                                                  MERIDIAN           MS      39305‐9753
HOLCOMBE WAYNE (445284)            CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                                    CLEVELAND          OH      44115
                                   GAROFOLI                          FL
HOLCOMBE, BRIAN L                  9370 CHERRYWOOD RD                                                                                                    CLARKSTON          MI      48348‐2502
HOLCOMBE, DARRIEL L                2326 AZALEA DR                                                                                                        LAWRENCEVILLE      GA      30043‐2629
HOLCOMBE, HARRY G                  9900 SUNRISE LAKES BLVD                                                                                               SUNRISE            FL      33322
HOLCOMBE, HOMER F                  1277 SHADOWLAWN DR NORTHEAST                                                                                          CONYERS            GA      30012‐4653
HOLCOMBE, HYDRICK R                4436 SAINT JOHNS AVE                                                                                                  DAYTON             OH      45406‐2329
HOLCOMBE, JASPER                   1735 PROVIDENCE PLACE DR                                                                                              ALPHARETTA         GA      30009‐3560
HOLCOMBE, JOHN H                   12140 COUNTY ROAD 32                                                                                                  LISMAN             AL      36912‐2738
HOLCOMBE, LINDA J                  3810 AVIS CT                                                                                                          DAYTON             OH      45406‐3632
HOLCOMBE, OLIVER L                 2778 WILLIAM CIR                                                                                                      DACULA             GA      30019‐1457
HOLCOMBE, REEDY                    9370 CHERRYWOOD RD                                                                                                    CLARKSTON          MI      48348‐2502
HOLCOMBE, THOMAS C                 441 SILVERVALE DR                                                                                                     ROCHESTER HILLS    MI      48309‐1157
HOLCOMBE, THOMAS E                 491 PARK HILLS XING                                                                                                   FAIRBORN           OH      45324‐7570
HOLCOMBE, WAYNE                    CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                                     CLEVELAND          OH      44115
                                   GAROFOLI                          FL
HOLCRAFT, BILLY J                  16437 MADISON RD                                                                                                      NAMPA              ID      83687‐8249
HOLCZMAN, MARGARET T               839 VALLEY VIEW DR                                                                                                    TRAVERSE CITY      MI      49684‐8744
HOLDA, SOPHIA                      10595 BUSHEY RD                                                                                                       ALPENA             MI      49707‐9205
HOLDASH, CHRIS L                   5121 TIPPWOOD CT                                                                                                      BOARDMAN           OH      44512‐3737
HOLDASH, PATRICIA R                5121 TIPPWOOD CT.                                                                                                     YOUNGSTOWN         OH      44512‐4512
HOLDAWAY JR, ROBERT H              362 N DAVIS RD                                                                                                        ELMA               NY      14059‐9555
HOLDAWAY JR, ROBERT HAROLD         362 N DAVIS RD                                                                                                        ELMA               NY      14059‐9555
HOLDAWAY MEDICAL SERVICES          CHARLESE BLAIR                    2500 CONSTANT COMMENT PL                                                            LOUISVILLE         KY      40299‐6323
HOLDBURG, JOHN A                   1559 S RIVERSIDE AVE APT 3A                                                                                           SAINT CLAIR        MI      48079‐5172
HOLDCO (CANADIAN SATELLITE RADIO   ATTN: LEGAL DEPARTMENT            CANADA TRUST TOWER BCE PLACE       161 BAY ST SUITE 2300   TORONTO ON M5J 2S1
HOLDINGS, INC., ET AL.)                                                                                                         CANADA
HOLDCRAFT, BOBBIE J                9255 FITZPATRICK CIR                                                                                                  STOCKTON           CA      95210‐1446
HOLDCRAFT, MELVIN R                541 NEW YORK DR APT 74                                                                                                FORT MYERS         FL      33905
HOLDCROFT, ETHEL                   3559 HORNER DR.                                                                                                       INDIANAPOLIS       IN      46239
HOLDCROFT, FREDERICK J             9961 SPRING CREEK CT                                                                                                  AVON               IN      46123‐8982
HOLDEMAN, ETHEL J                  5555 W VERMONT ST                                                                                                     INDIANAPOLIS       IN      46224‐8701
HOLDEMAN, ROBERT L                 2717 MAJESTIC OAK COURT                                                                                               BEAVERCREEK        OH      45431‐4320
HOLDEN CAUFIELD                    123 FAKE STREET                                                                                                       DALLAS             TX      75201
HOLDEN DARRELL                     HOLDEN, DARRELL                   3010 11TH AVE S. APT 5C                                                             GREAT FALLS        MT      59405‐5328
HOLDEN DAVID H (355934)            BARON & BUDD                      660 MADISON AVENUE                                                                  NEW YORK           NY      10065
HOLDEN ELLA B                      C/O EDWARD O MOODY P A            801 WEST 4TH STREET                                                                 LITTLE ROCK        AR      72201
HOLDEN III, ALBERT J               3515 CARNARVON AVE                                                                                                    BRISTOL            PA      19007‐2517
HOLDEN INDUSTRIES INC              41180 VINCENTI CT                                                                                                     NOVI               MI      48375‐1922
HOLDEN INDUSTRIES INC              5880 HILLSIDE AVE                                                                                                     CINCINNATI         OH      45233‐1524
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Name                               Address1                           Address2                        Address3         Address4                   City            State   Zip
HOLDEN JERRY                       13926 W CASA LINDA DR                                                                                          SUN CITY WEST    AZ     85375‐5505
HOLDEN JILL                        HOLDEN, JILL                       100 CENTURY PKWY STE 305                                                    MOUNT LAUREL     NJ     08054‐1182
HOLDEN JILL                        HOLDEN, JOHN                       100 CENTURY PKWY STE 305                                                    MOUNT LAUREL     NJ     08054‐1182
HOLDEN JR, AARON L                 1438 KINGSTON DR                                                                                               SAGINAW          MI     48638‐5477
HOLDEN JR, JACK H                  3800 ROLLING HILLS RD                                                                                          LAKE ORION       MI     48359‐1491
HOLDEN JR, WILLIAM E               5817 GLENN AVE                                                                                                 FLINT            MI     48505‐5105
HOLDEN LIMITED                     241 SALMON ST.                                                                      PORT MELBOURNE VICTORIA
                                                                                                                       3207 AUSTRALIA
HOLDEN LTD                         JOSEPH BENVENUTO                   HOLDEN SERVICE PARTS OPERATION 99 PRINCESS HWY                              BROWNSVILLE      TX     78523
HOLDEN LTD                         241 SALMON ST                                                                       PORT MELBOURNE VI 3207
                                                                                                                       AUSTRALIA
HOLDEN LTD                         **ALLIED VENDOR**                                                                   AUSTRALIA 3001 AUSTRALIA

HOLDEN LTD‐HOLDEN ENGINE OPERATION 191 SALMON ST                                                                       PORT MELBOURNE VI 3207
                                                                                                                       AUSTRALIA
HOLDEN LTD.                        MELBOURNE, AUSTRALIA                                                                AUSTRALIA
HOLDEN LTD.                                                                                                            MELBOURNE, AUSTRALIA
HOLDEN NEW ZEALAND LIMITED         TRENTHAM PLANT 1, PRIVATE BAG                                                       WELLINGTON NEW ZEALAND

HOLDEN NEW ZEALAND LIMITED á       646 GREAT SOUTH RD.                PETER KELEY á                                    ELLERSLIE AUCKLAND á NEW
                                                                                                                       ZEALAND
HOLDEN RUSSELL (459915)            KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                               CLEVELAND       OH      44114
                                                                      BOND COURT BUILDING
HOLDEN TERRY (487253)              MOTLEY RICE LLC                    312 S MAIN ST STE 200                                                       PROVIDENCE       RI     02903‐7109
HOLDEN THOMAS                      116 FOX HOLLOW DR                                                                                              MADISON          AL     35758‐6902
HOLDEN'S                           2055 S MILFORD RD                                                                                              MILFORD          MI     48381‐3155
HOLDEN'S AUTOMOTIVE                                                   2369 HIGHWAY 78 E                                                                            GA     30078
HOLDEN'S LIMITED                   MR. BERNARD LOTCHSCHUTZ, FINANCE   241 SALMON STREET                                PORT MELBOURNE VICTORIA
                                   DIRECTOR                                                                            3207 AUSTRALIA
HOLDEN'S MOTOR OVERSEAS CORP.,     UNITED AUSTRALIAN AUTOMOTIVE                                                        VICTORIA, AUSTRALIA
GENERAL MOTORS‐HOLDEN'S            INDUSTRIES LTD.
AUTOMOTIVE LTD
HOLDEN'S MOTOR OVERSEAS CORP.,     UNITED AUSTRALIAN AUTOMOTIVE                                                        VICTORIA, AUSTRALIA
GENERAL MOTORS‐HOLDEN'S            INDUSTRIES LTD.
AUTOMOTIVE LTD,
HOLDEN, AGNES                      997 CENTERVILLE HWY                                                                                            HOHENWALD       TN      38462‐5425
HOLDEN, ALBERT L                   2601 N TATNALL ST                                                                                              WILMINGTON      DE      19802‐3525
HOLDEN, BRADLEY A                  2133 E WHITTEMORE AVE                                                                                          BURTON          MI      48529‐1725
HOLDEN, BRADLEY ALLEN              2133 E WHITTEMORE AVE                                                                                          BURTON          MI      48529‐1725
HOLDEN, BRUCE G                    5514 JEROME LN                                                                                                 GRAND BLANC     MI      48439‐5114
HOLDEN, CARL O                     9115 SW 152ND PL                                                                                               DUNNELLON       FL      34432‐6764
HOLDEN, CRAIG S                    2124 MORELAND DR                                                                                               JANESVILLE      WI      53548‐0154
HOLDEN, DANIELLE C.                369 SOUTH EASTVIEW PARKWAY                                                                                     HAMILTON        OH      45011‐4720
HOLDEN, DARRELL                    3010 11TH AVE S APT 5C                                                                                         GREAT FALLS     MT      59405‐5328
HOLDEN, DAVID E                    374 BOYNE ST                                                                                                   NEW HUDSON      MI      48165‐9780
HOLDEN, DAVID H                    BARON & BUDD                       660 MADISON AVENUE                                                          NEW YORK        NY      10021
HOLDEN, DELORES K                  2211 TORRANCE AVE                                                                                              FLINT           MI      48506
HOLDEN, DENNIS C                   5505 E MCLELLAN RD UNIT 7                                                                                      MESA            AZ      85205
HOLDEN, DOLORES M                  4767 ALJO WAY                                                                                                  SACRAMENTO      CA      95838‐2001
HOLDEN, DORA D                     4143 HUNTER RD                                                                                                 FLINT           MI      48504‐1442
HOLDEN, ELLA B                     MOODY EDWARD O                     801 W 4TH ST                                                                LITTLE ROCK     AR      72201‐2107
HOLDEN, EMMA P                     2815 ATHENS AVE                                                                                                DAYTON          OH      45406‐4325
HOLDEN, EVELYN A                   504 LAMBERT DR                                                                                                 ST JOHNS        MI      48879‐2410
HOLDEN, FRANCIS A                  21274 STATE ROUTE 251                                                                                          LYNCHBURG       OH      45142‐9506
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Name                    Address1                          Address2            Address3         Address4                 City             State Zip
HOLDEN, GARY L          1928 LEHIGH AVE                                                                                 CINCINNATI        OH 45230‐1613
HOLDEN, GERALD A        5350 S BRENNAN DR                                                                               NEW BERLIN        WI 53146‐4419
HOLDEN, GRANT J         108 BARRETT ST                                                                                  GAINESVILLE       GA 30501‐1356
HOLDEN, HUGH L          950 GASKINS RD                                                                                  CINCINNATI        OH 45245‐2716
HOLDEN, IDEATH M        202 STAKE RD                                                                                    TABOR CITY        NC 28463‐1710
HOLDEN, JAMES R         5736 ATTICA RD                                                                                  ATTICA            MI 48412‐9775
HOLDEN, JAMES RONNIE    5736 ATTICA RD                                                                                  ATTICA            MI 48412‐9775
HOLDEN, JAMES T         26837 LAKEVUE DR APT 5                                                                          PERRYSBURG        OH 43551‐5316
HOLDEN, JAMES W         5360 MAPLETREE DR                                                                               FLINT             MI 48532‐3332
HOLDEN, JAMES WILLIAM   5360 MAPLETREE DR                                                                               FLINT             MI 48532‐3332
HOLDEN, JEAN A          8487 W 400 S                                                                                    RUSSIAVILLE       IN 46979‐9537
HOLDEN, JEFFERY D       343 GODDARD AVE                                                                                 BELEN             NM 87002
HOLDEN, JERRY R         4816 BELLINGHAM DR                                                                              INDIANAPOLIS      IN 46221‐3702
HOLDEN, JOHN E          903 S OAK ST                                                                                    SENECA            SC 29678‐3866
HOLDEN, JOHN K          3865 MILLSPRING RD                                                                              BLOOMFIELD        MI 48304‐3047
HOLDEN, JOHN L          4643 247TH ST                                                                                   LITTLE NECK       NY 11362‐1221
HOLDEN, JOYCE H         3901 KATHERINE ST                                                                               DEARBORN HEIGHTS MI 48125‐2613

HOLDEN, JUANITA         PO BOX 214894                                                                                   AUBURN HILLS      MI   48321‐4894
HOLDEN, JUANITA         3 FIRELITE LANE                                                                                 PONTIAC           MI   48340‐4894
HOLDEN, KATHIE A        2725 1/2 HARRIS AVE                                                                             NORWOOD           OH   45212‐3452
HOLDEN, KENNETH F       PO BOX 263                                                                                      NORTHVILLE        MI   48167‐0263
HOLDEN, LENETTE N       5269 ROWENA DR                                                                                  ROSCOE            IL   61073‐7221
HOLDEN, LEONA L         3120 HAROLD ST                                                                                  SAGINAW           MI   48601‐3158
HOLDEN, LEROY P         17391 DRESDEN ST                                                                                DETROIT           MI   48205‐3135
HOLDEN, LESTER J        325 E 5TH ST APT 8E                                                                             WILMINGTON        DE   19801‐4680
HOLDEN, LINDA           8367 WATERBURY CT                 APT# 102                                                      WEST CHESTER      OH   45069‐5069
HOLDEN, LINDA           8367 WATERBURY CT UNIT 102                                                                      WEST CHESTER      OH   45069‐7348
HOLDEN, MABLE M         10215 CHEROKEE ST                                                                               TAYLOR            MI   48180‐3239
HOLDEN, MARCELLA B      41 WICKOM AVE                                                                                   HAMILTON SQUARE   NJ   08690‐1635

HOLDEN, MARGARET        3431 CRAGMOOR                                                                                   TOLEDO            OH   43614‐3719
HOLDEN, MARGARET E.     1070 BROOKWOOD DR.                                                                              CHINA GROVE       NC   28023‐7485
HOLDEN, MARIE A         430 JOHNSON STREET                                                                              CHARLOTTE         MI   48813
HOLDEN, MARK E          174 CLARKS BRIDGE RD                                                                            GAINESVILLE       GA   30501‐1402
HOLDEN, MARSHALL        1669 MERCER AVENUE                                                                              HERMITAGE         PA   16148‐2312
HOLDEN, MARVIN L        12819 MEADOWDALE DR                                                                             SAINT LOUIS       MO   63138‐1544
HOLDEN, MARY 19362      10 PRINCESS PARK RD                                                    INGERSOLL ON N5C 1X8
                                                                                               CANADA
HOLDEN, MELVIN R        10650 HOLBORN COURT                                                                             SANTEE            CA   92071‐5003
HOLDEN, MICHAEL A       100 HOLIDAY PL                                                                                  NEWARK            DE   19702‐2315
HOLDEN, MICHAEL D       5449 ANTOINETTE DR                                                                              GRAND BLANC       MI   48439
HOLDEN, MILDRED I       743 BIRCHWOOD                                                                                   FLUSHING          MI   48433‐1332
HOLDEN, MILDRED I       743 BIRCHWOOD DR                                                                                FLUSHING          MI   48433‐1332
HOLDEN, NEVA E          P O RR#2 BOX53                                                                                  ST IGNACE         MI   49781
HOLDEN, NICHOLAS R      4689 MURRAY CORNER RD                                                                           FAYETTEVILLE      OH   45118‐9706
HOLDEN, OSCAR W         35455 HAZELWOOD ST                                                                              WESTLAND          MI   48186‐4135
HOLDEN, PAUL D          7411 GLASGOW RD                                                                                 WEEKI WACHEE      FL   34613‐7465
HOLDEN, PHYLLIS E       701 N DONALD ST                                                                                 SEYMOUR           TX   76380‐1635
HOLDEN, RANDY B         1727 UNIVERSITY DR                                                                              COLUMBIA          TN   38401‐6413
HOLDEN, RAYMOND         10390 ELMIRA ST                                                                                 DETROIT           MI   48204‐2572
HOLDEN, REUBEN L        729 CAMPBELL ST                                                                                 FLINT             MI   48507
HOLDEN, REUBEN L        3935 MURPHY LAKE RD                                                                             MILLINGTON        MI   48746‐9140
HOLDEN, RICHARD P       23165 SW WILLIAM AVE                                                                            SHERWOOD          OR   97140‐8472
                               09-50026-mg            Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                           Address1                        Address2                       Address3                  Address4                 City            State   Zip
HOLDEN, RICHARD S              APT 105                         925 ARDSLEY DRIVE                                                                 O FALLON         MO     63366‐7642
HOLDEN, RICHARD S              696 EASTLANS AVE                                                                                                  WARREN           OH     44404‐4502
HOLDEN, ROBERT A               533 S PINE MEADOW DR                                                                                              DEBARY           FL     32713‐2619
HOLDEN, ROBERT A               533 SOUTH PINE MEADOW                                                                                             DEBEARY          FL     32713‐2713
HOLDEN, ROBERT E               1748 CATHERINE DR                                                                                                 CLEARWATER       FL     33759‐2001
HOLDEN, RONNIE E               2705 FROSTWOOD DR                                                                                                 SHREVEPORT       LA     71108‐5523
HOLDEN, RONNIE EARL            2705 FROSTWOOD DR                                                                                                 SHREVEPORT       LA     71108‐5523
HOLDEN, RUSSELL                KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                                      CLEVELAND        OH     44114
                                                               BOND COURT BUILDING
HOLDEN, RUTH ALICE             15 LAUREL AVE                                                                                                     TERRYVILLE       CT     06786‐6426
HOLDEN, SCOTT A                2077 SOMERVILLE DR                                                                                                OXFORD           MI     48371‐5933
HOLDEN, TERRY D                2653 CATALINA BLVD                                                                                                NORTH            SC     29112‐8732
HOLDEN, THEODORE G             149 WERKLEY RD                                                                                                    TONAWANDA        NY     14150‐9228
HOLDEN, THOMAS D               3108 N NORTON RD                                                                                                  CULLOWHEE        NC     28723‐8736
HOLDEN, VICKI K                221B HUNTER DR                                                                                                    COLUMBIA         TN     38401‐5070
HOLDEN, VINCENT                2 EVLON CT                                                                                                        NEW CASTLE       DE     19720‐5421
HOLDEN, WILLIAM E              4618 BILLINGS ST                                                                                                  FLINT            MI     48505‐3526
HOLDEN, WILLIAM J              16913 ABBY CIR                                                                                                    NORTHVILLE       MI     48168‐4304
HOLDEN, WINFORD W              14 ROGERS DR                                                                                                      BRIDGETON        NJ     08302‐4426
HOLDENS AUTOMOTIVE LTD GMHA    PO BOX 4968WW                                                                            MELBOURNE VIC 3001
                                                                                                                        AUSTRALIA
HOLDENS AUTOMOTIVE LTD GMHA    PO BOX 4968WW RLSD                                                                       MELBOURNE VIC 3001
INCORPORATED IN VICTORIA                                                                                                AUSTRALIA
HOLDENS ENGINE CO              ENG OVERSEAS GM CORP            600 LORIMER ST                 PORT MELBOURNE 15408977   PORT MELBOURNE VC 3207
                                                                                                                        AUSTRALIA
HOLDER CHARLES W (360446)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                       NORFOLK          VA     23510
                                                               STREET, SUITE 600
HOLDER COURTNEY                45 LUZERNE ST                                                                                                     ROCHESTER        NY     14620
HOLDER DONNA                   HOLDER, DONNA                   5635 CHERRYWOOD DR                                                                GUNTERSVILLE     AL     35976‐9373
HOLDER JACQUELINE              438 SPACEWAY DR                                                                                                   SAN ANTONIO      TX     78239
HOLDER JAMES E (361270)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                       NORFOLK          VA     23510
                                                               STREET, SUITE 600
HOLDER JR, KENNETH B           30152 HOBNAIL CT                                                                                                  BEVERLY HILLS    MI     48025‐4743
HOLDER JR, WILNER R            716 WINDSOR PERRINEVILLE RD                                                                                       EAST WINDSOR     NJ     08520‐4740
HOLDER MATTRESS HOME COLLECT   ATTN: TIM MCASHLAN              1830 S REED RD                                                                    KOKOMO           IN     46902‐2403
HOLDER RICHARD H (337957)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                       NORFOLK          VA     23510
                                                               STREET, SUITE 600
HOLDER RICKY L (405525)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                       NORFOLK          VA     23510
                                                               STREET, SUITE 600
HOLDER ROBERT JR & JANICE      307 BROACH RD                                                                                                     DURHAM          NC      27703‐8976
HOLDER STACEY                  304 BRIDGERS HILL RD                                                                                              LONGVIEW        TX      75604‐9630
HOLDER TIMOTHY RYAN            1207 BALDWIN CIRCLE                                                                                               HOLLY           MI      48442‐9369
HOLDER, ALLEN A                PO BOX 201                                                                                                        BUFFALO         NY      14212‐0201
HOLDER, ANDY A                 4311 BAYBERRY CV                                                                                                  BELLBROOK       OH      45305‐1583
HOLDER, ANNETTE
HOLDER, ARTHUR E               1007 S TOOL DR                                                                                                    TOOL            TX      75143‐1963
HOLDER, BERT A                 1557 KENSINGTON AVE                                                                                               BUFFALO         NY      14215‐1431
HOLDER, BERTHA M               91413 SPAW LN                                                                                                     COOS BAY        OR      97420‐8768
HOLDER, BERTHA M               91413 SPAW LANE                                                                                                   COOS BAY        OR      97420‐8768
HOLDER, BETTE L                1715 MICHIGAN ST                                                                                                  MARTINSVILLE    IN      46151‐1816
HOLDER, BEVERLY                1700 SE 14TH ST                                                                                                   MOORE           OK      73160‐8030
HOLDER, BILL E                 1543 LAFAYETTE ST                                                                                                 JANESVILLE      WI      53546‐2407
HOLDER, BILLYE                 APT 107                         409 THOREAU TRAIL                                                                 HIGH RIDGE      MO      63049‐2562
HOLDER, BILLYE                 409 THOREAU TRL                 APT 107                                                                           HIGH RIDGE      MO      63049‐2562
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Name                   Address1                         Address2                      Address3   Address4               City               State   Zip
HOLDER, BOBBY JOE      SIMMONS FIRM                     PO BOX 521                                                      EAST ALTON           IL    62024‐0519
HOLDER, BUNA E         161 MARLOWE RD                                                                                   ROGERVSVILLE        TN     37857‐2979
HOLDER, CAROL A        2813 NEWARK AVE                                                                                  LANSING             MI     48911‐4543
HOLDER, CHANTELL P     1718 PEMBERTON LN APT B                                                                          INDIANAPOLIS        IN     46260
HOLDER, CHARLES D      8139 N HENRY RUFF RD                                                                             WESTLAND            MI     48185‐1702
HOLDER, CHARLES W      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                        STREET, SUITE 600
HOLDER, CHERYL S       5281 ALEXANDRIA PIKE                                                                             ANDERSON            IN     46012‐9573
HOLDER, CHRISTY C      4 PLUMAS DR                                                                                      OROVILLE            CA     95966‐9245
HOLDER, DAVID J        406 OVERLOOK DR                                                                                  SEYMOUR             TN     37865‐5535
HOLDER, DAVID L        860 SUMMER RD                                                                                    GREENWOOD           IN     46143‐1110
HOLDER, DAVID W        840 HULL AVE                                                                                     LEWISBURG           TN     37091‐4020
HOLDER, DAWN M         7125 CHESTER ST                                                                                  ANDERSON            IN     46013‐3929
HOLDER, DEBRA P        3114 BARNEY RD B                                                                                 KALAMAZOO           MI     49004
HOLDER, DONALD E       2250 MILLERS INLET RD                                                                            DANDRIDGE           TN     37725‐6755
HOLDER, DONALD L       47324 ROLAND ST                                                                                  SHELBY TOWNSHIP     MI     48317‐2945
HOLDER, DONNA          5635 CHERRYWOOD DR                                                                               GUNTERSVILLE        AL     35976‐9373
HOLDER, ELDA R         521 REMINGTON PT                 APT 101                                                         GREENWOOD           IN     46143‐8037
HOLDER, ELDA R         521 REMINGTON POINT              APT # 101                                                       GREENWOOD           IN     46143
HOLDER, FREDERICK L    3042 ARTESIAN LN                                                                                 NORTH FORT MYERS    FL     33917‐1528

HOLDER, GERALD J       15500 HICKORY RD                                                                                 NEWALLA             OK     74857‐7511
HOLDER, HELEN J        900 NE 17TH ST                                                                                   OKLAHOMA CITY       OK     73105‐8408
HOLDER, HELEN M        1543 LAFAYETTE ST                                                                                JANESVILLE          WI     53546‐2407
HOLDER, JAMES E        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510
                                                        STREET, SUITE 600
HOLDER, JAMES J        1505 BARBARA DR                                                                                  FLINT              MI      48505‐2502
HOLDER, JAMES L        1378 E JULIAH AVE                                                                                FLINT              MI      48505‐1734
HOLDER, JANET JOAN     20624 ROSEDALE DR                                                                                CLINTON TWP        MI      48035‐2280
HOLDER, JEANETTE B     PO BOX 158                                                                                       ALVATON            KY      42122‐0158
HOLDER, JOSHUA         2507 DRIFTWOOD DR                                                                                WATERFORD          MI      48329‐4809
HOLDER, JULIA R        645 WAHWAHTAYSEE                                                                                 MIO                MI      48647‐9772
HOLDER, KATIE M        3260 PINGREE ST                                                                                  DETROIT            MI      48206‐2104
HOLDER, LAVERNE W      4545 BLACKSTONE DR                                                                               INDIANAPOLIS       IN      46237‐2501
HOLDER, LELA M         438 N 11TH AVE                                                                                   BEECH GROVE        IN      46107‐1104
HOLDER, LOUISE         P.O. BOX 2207                                                                                    MONTGOMERY         AL      36102‐2207
HOLDER, LOUISE         PO BOX 2207                                                                                      MONTGOMERY         AL      36102‐2207
HOLDER, MARILYN E      3642 E 1600 N                                                                                    SUMMITVILLE        IN      46070‐9153
HOLDER, MARY DELORES   9248 MCFARLAND WAY                                                                               MOBILE             AL      36695‐6904
HOLDER, MCINNIS        PO BOX 289                                                                                       TURNER             AR      72383‐0289
HOLDER, MENDEN W       PO BOX 869                                                                                       FLINT              MI      48501‐0869
HOLDER, NANCY L        4714 S COLONIAL OAKS DR #503                                                                     MARION             IN      46953‐7308
HOLDER, NANCY P        6515 CHASE CREEK RUN                                                                             FORT WAYNE         IN      46804‐8706
HOLDER, NICKOLAS F     PO BOX 1675                                                                                      JACKSONVILLE       TX      75766‐1675
HOLDER, PAUL D         604 HIGHWAY 224 E                                                                                SWIFTON            AR      72471‐9100
HOLDER, PAUL T         7240 COLDWATER RD                                                                                FLUSHING           MI      48433‐9060
HOLDER, PAUL TIMOTHY   7240 COLDWATER RD                                                                                FLUSHING           MI      48433‐9060
HOLDER, PAULA B        2546 ROUNDTOP RD                                                                                 ELLIJAY            GA      30540‐7413
HOLDER, PAULA B.       2546 ROUNDTOP RD                                                                                 ELLIJAY            GA      30540‐7413
HOLDER, PEGGY          154 MEADOW POND CT                                                                               RUNAWAY BAY        TX      76426‐9710
HOLDER, PERRY G        655 PINE MEADOW DR                                                                               ZIONSVILLE         IN      46077‐1122
HOLDER, RALPH M        1266 W STATE ROAD 28                                                                             ALEXANDRIA         IN      46001‐8671
HOLDER, RANDY P        33 BRADSTREET RD APT 11                                                                          DAYTON             OH      45459
HOLDER, RAYNALD        123 UPHAM ST                                                                                     MOBILE             AL      36607‐3330
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Name                           Address1                           Address2                        Address3                 Address4               City               State   Zip
HOLDER, REBECCA P              1014 JOHN HENRY DEMPS RD                                                                                           SPARTA              TN     38583‐4919
HOLDER, RICHARD                928 W COUNTY RD 400 S                                                                                              KOKOMO              IN     46902
HOLDER, RICHARD H              C/O GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                     NORFOLK             VA     23510‐2212
                                                                  STREET, SUITE 600
HOLDER, RICHARD L              317 LAUREL SPRINGS PL                                                                                              PIKE ROAD           AL     36064
HOLDER, RICHARD L              8260 BEECH GROVE RD                                                                                                MARTINSVILLE        IN     46151‐8960
HOLDER, RICKY L                GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                     NORFOLK             VA     23510
                                                                  STREET, SUITE 600
HOLDER, RONALD                 1677 N TAMIAMI TRL                                                                                                 NORTH FORT MYERS    FL     33903‐5524

HOLDER, RONALD E               617 POPLAR ST                                                                                                      SAINT JOHNS        MI      48879‐8561
HOLDER, RONNIE W               440 ASHMOOR AVE                                                                                                    BOWLING GREEN      KY      42101‐3769
HOLDER, ROY P                  1955 WHITNEY RD SE                                                                                                 MONROE             GA      30655‐7447
HOLDER, ROYCE F                12520 N BERLING DR                                                                                                 MOORESVILLE        IN      46158‐7833
HOLDER, RUTH                   204 SOLOMON ST                                                                                                     MOORESVILLE        IN      46158‐1137
HOLDER, SADIE T                391 MIRAGE DR                                                                                                      KOKOMO             IN      46901‐7093
HOLDER, SHANNON G              88 CHAMBERLAIN ST                                                                                                  PONTIAC            MI      48342‐1410
HOLDER, SHANNON GAIL           88 CHAMBERLAIN ST                                                                                                  PONTIAC            MI      48342‐1410
HOLDER, SHERRY S               815 VANCEBURG DR                                                                                                   INDIANAPOLIS       IN      46241‐1760
HOLDER, STEVEN P               5611 COACH DR E APT G                                                                                              DAYTON             OH      45440
HOLDER, THOMAS D               3134 E LAKE LANSING RD                                                                                             EAST LANSING       MI      48823‐1569
HOLDER, THOMAS R               1114 MAPLE CREEK RIDGE                                                                                             LOGANVILLE         GA      30052‐7103
HOLDER, THOMAS REA             1114 MAPLE CREEK RIDGE                                                                                             LOGANVILLE         GA      30052‐7103
HOLDER, TIMOTHY R              1207 BALDWIN CIR                                                                                                   HOLLY              MI      48442‐9369
HOLDER, TIMOTHY RYAN           1207 BALDWIN CIR                                                                                                   HOLLY              MI      48442‐9369
HOLDER, TRAVIS E               3726 DENTON HWY                                                                                                    FORT WORTH         TX      76117‐2501
HOLDER, WALLACE                6002 MAPLEBROOK LN                                                                                                 FLINT              MI      48507‐4168
HOLDER, WILLIAM                223 REIDVILLE RD                                                                                                   WILLIAMSTON        SC      29697
HOLDER, WILLIAM G              1555 W GENESEE ST                                                                                                  LAPEER             MI      48446‐1829
HOLDER, WILLIAM H              204 SOLOMON ST                                                                                                     MOORESVILLE        IN      46158‐1137
HOLDER, WILLIAM L              4545 BLACKSTONE DR                                                                                                 INDIANAPOLIS       IN      46237‐2501
HOLDER, WILLIAM R              121 LEMONT LN                                                                                                      TULLAHOMA          TN      37388‐4623
HOLDER, WILLIE C               2719 W EUCLID ST                                                                                                   DETROIT            MI      48206‐3709
HOLDER, WILLIE J               9300 LAKE DR                                                                                                       NEW PORT RICHEY    FL      34654‐4625
HOLDER, WILMA                  600 CANEY VALLEY LOOP                                                                                              SURGOINSVILLE      TN      37873‐6314
HOLDER, WINSTON                498 CHARLOTTA AVE SE                                                                                               PALM BAY           FL      32909‐4137
HOLDER, WOODROW L              1014 JOHN HENRY DEMPS RD                                                                                           SPARTA             TN      38583‐4919
HOLDER, YOLANDA J              2853 CINTOIA DR                                                                                                    SPARKS             NV      89434‐2036
HOLDERBAUM, DAVID P            6462 E PIERSON RD                                                                                                  FLINT              MI      48506‐2258
HOLDERBAUM, JOHN T             7672 KITCHEN RD                                                                                                    WALES              MI      48027‐1513
HOLDERBAUM, KENNETH H          15647 NETTNEY RD                                                                                                   MUSSEY             MI      48014
HOLDERBAUM, RICK L             7504 SOUTHWICK DR                                                                                                  DAVISON            MI      48423‐9529
HOLDERBAUM, RUSSELL W          13425 IROQUOIS WOODS DR                                                                                            FENTON             MI      48430‐1635
HOLDERBAUM, SHIRLEY            9 BLACK CHERRY DR                                                                                                  HOMOSASSA          FL      34446‐4201
HOLDERBAUM‐CUNNINGHAM,         13181 DIXIE HWY                                                                                                    BIRCH RUN          MI      48415‐9308
GEORGENNA R
HOLDERBEIN CAROL FOR LOSS OF   SUCCESSOR IN INTEREST & WRONGFUL   C/O HAROWITZ & TIGERMAN LLP     450 SANSOME STREET 3RD                          SAN FRANCISCO       CA     94111‐3311
CONSORTIUM AS                  DEATH HEIR                                                         FLOOR
HOLDERER A STEVEN              1564 WALNUT RIDGE CIR                                                                                              CANTON             MI      48187‐3721
HOLDERER, TERESA A             PO BOX 9022                        C/O GME ZURICH                                                                  WARREN             MI      48090‐9022
HOLDERFIELD DAVID L (481219)   KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                                   CLEVELAND          OH      44114
                                                                  BOND COURT BUILDING
HOLDERFIELD, DAVID L           KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                                    CLEVELAND          OH      44114
                                                                  BOND COURT BUILDING
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Name                                   Address1                       Address2             Address3                Address4                City               State   Zip
HOLDERFIELD, KENNETH R                 7668 E LANDERSDALE RD                                                                               CAMBY               IN     46113‐8513
HOLDERFIELD, KENNETH R                 7668 EAST LANDERSDALE ROAD                                                                          CAMBY               IN     46113‐8513
HOLDERFIELD, RICKEY LEE                WEITZ & LUXENBERG              180 MAIDEN LANE                                                      NEW YORK            NY     10038
HOLDERIED, DAVID H                     2292 BELLE MEADE DR                                                                                 DAVISON             MI     48423‐2054
HOLDERITH, JOSEPH W                    4189 N COUNTY RD 150W                                                                               KOKOMO              IN     46901
HOLDERMAN JR, ROBERT E                 3785 WARRINGHAM AVE                                                                                 WATERFORD           MI     48329‐1385
HOLDERMAN, DIANN                       1688 HEATHWAY ST                                                                                    MONROE              MI     48161‐5904
HOLDERMAN, DIANN                       1688 HEATH WAY                                                                                      MONROW              MI     48161
HOLDERMAN, DORIS J.                    681 BRIGHT AVE                                                                                      VANDALIA            OH     45377‐1424
HOLDERMAN, DORIS J.                    681 BRIGHT AVENUE                                                                                   VANDALIA            OH     45377‐1424
HOLDERMAN, EUNICE I                    10014 DENALI RD NE                                                                                  ALBUQUERQUE         NM     87111‐1227
HOLDERMAN, JOHN A                      116 CENTER ST                                                                                       STRUTHERS           OH     44471‐2039
HOLDERMAN, JOSEPH M                    145 LAKEVIEW DRIVE                                                                                  GEORGETOWN          KY     40324‐9108
HOLDERMAN, LELAND B                    10014 DENALI RD NE                                                                                  ALBUQUERQUE         NM     87111‐1227
HOLDERMAN, MICHAEL D                   PO BOX 85                                                                                           LA FONTAINE         IN     46940‐0085
HOLDERMAN, RONALD A                    1210 S SKYLINE DR                                                                                   LIBERTY             MO     64068‐2735
HOLDERNESS, DIANE L                    1900 N HUGHES RD                                                                                    HOWELL              MI     48843‐9175
HOLDERNESS, JOHN B                     3624 PINE OAK AVE SW APT 2                                                                          WYOMING             MI     49509
HOLDERS OF 8 375% & 8 875% GTD NOTES   FISCAL AGENT DEUTSCHE BANK     ATTN COUPON PAYING   2 BLD KONRAD ADENAUER   L‐1115 LUXEMBOURG
DESCRIBED IN ANNEXED ATTACHMENT        LUXEMBOURG S A                 DEPARTMENT

HOLDFORD, MILDRED P                    209 MAPLE LEAF DR                                                                                   HUBBARD            OH      44425‐1531
HOLDGATE, KATHLEEN F                   PO BOX 2418                    14 LEWIS CT ‐                                                        NANTUCKET          MA      02584‐2418
HOLDING 692 TRUST                      9601 MCALLISTER FWY STE 1100                                                                        SAN ANTONIO        TX      78216‐4697
HOLDING JR, NORMAN A                   2219 IVY DR                                                                                         ANDERSON           IN      46011‐3826
HOLDING, AMP H                         4104 N REDDING RD                                                                                   MUNCIE             IN      47304‐1337
HOLDING, DAVID                         14720 S DEWITT RD                                                                                   LANSING            MI      48906‐9361
HOLDING, DAVID H                       9802 WILLA BONN CT                                                                                  NOBLESVILLE        IN      46062‐8929
HOLDING, DONNA M                       9802 WILLA BONN CT                                                                                  NOBLESVILLE        IN      46062‐8929
HOLDING, DORIS G                       234 RINGWOOD WAY                                                                                    ANDERSON           IN      46013‐4255
HOLDING, JOSEPH L                      4025 E 200 S                                                                                        ANDERSON           IN      46017‐9763
HOLDING, ROBERT L                      15480 MONICA ST                                                                                     DETROIT            MI      48238‐1351
HOLDINSKI, JOHN                        7520 WOODMONT AVE                                                                                   DETROIT            MI      48228‐4807
HOLDINSKI, JOHN                        7520 WOODMONT ST                                                                                    DETROIT            MI      48228‐4807
HOLDINSKI, MARK L                      26341 PENNIE ST                                                                                     DEARBORN HEIGHTS   MI      48125‐1432

HOLDINSKI, MARY D                      24146 ROSEWOOD AVE                                                                                  TAYLOR             MI      48180
HOLDINSKI, PAUL                        8652 SOUTHRIDGE DR                                                                                  HOWELL             MI      48843‐8084
HOLDORF JR, W A                        4600 NORTH M30 RT 1                                                                                 GLADWIN            MI      48624
HOLDORF, ANNA M                        2961 SAN MATEO DR                                                                                   MINDEN             NV      89423‐7811
HOLDORF, DANIEL E                      2086 E PARKWOOD AVE                                                                                 BURTON             MI      48529‐1764
HOLDORF, ERIC J                        27342 SUTHERLAND DR                                                                                 WARREN             MI      48088‐4831
HOLDORF, GEORGINA E                    4894 DEERWOOD DR                                                                                    LAKELAND           FL      33810‐3031
HOLDORF, GERALD H                      5370 FLORIA DR                                                                                      SWARTZ CREEK       MI      48473‐8826
HOLDORF, HENRY W                       2707 N LEXINGTON DR            APT 315                                                              JANESVILLE         WI      53545
HOLDORF, JANETTE K                     260 ARMSTRONG AVE                                                                                   FLUSHING           MI      48433‐9295
HOLDORF, JOHN R                        PO BOX 225                                                                                          DRUMMOND           WI      54832‐0225
HOLDORF, LANI J                        PO BOX 225                                                                                          DRUMMOND           WI      54832‐0225
HOLDORF, MARVIN C                      6402 STONEHEARTH PASS                                                                               GRAND BLANC        MI      48439‐9000
HOLDORF, MELVIN A                      260 ARMSTRONG AVE                                                                                   FLUSHING           MI      48433‐9295
HOLDOSH, MICHELE L                     1611 ASHFORD OAKS CT                                                                                WILDWOOD           MO      63038‐1365
HOLDREN FRANKLIN D (645096)            COADY LAW FIRM                 205 PORTLAND ST                                                      BOSTON             MA      02114
HOLDREN JR, RAY                        127 BENNETT AVE                                                                                     NORTH EAST         MD      21901‐6302
HOLDREN, ANNIE F.                      121 LAFAYETTE RD APT 311                                                                            SYRACUSE           NY      13205‐2908
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Name                         Address1                            Address2                       Address3   Address4               City            State   Zip
HOLDREN, CHARLES G           1255 BARCELONA DR 1                                                                                  AKRON            OH     44313
HOLDREN, DIANE G             5010 MEDLAR RD                                                                                       MIAMISBURG       OH     45342‐4746
HOLDREN, DON M               GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW          MI     48604‐2602
                                                                 260
HOLDREN, DONALD              13375 NC HIGHWAY 801                                                                                 MOUNT ULLA      NC      28125‐8650
HOLDREN, DORIS A             127 BENNETT AVE                                                                                      NORTH EAST      MD      21901‐6302
HOLDREN, FRANKLIN D          COADY LAW FIRM                      205 PORTLAND ST                                                  BOSTON          MA      02114
HOLDREN, FRANKLIN D          SIMON EDDINS & GREENSTONE           3232 MCKINNEY AVE STE 610                                        DALLAS          TX      75204‐8583
HOLDREN, LEONARD W           9400 S STILLHOUSE RD                                                                                 OAK GROVE       MO      64075‐8253
HOLDRIDGE, C M               542 GREENFIELD RD                                                                                    ABILENE         TX      79602‐6510
HOLDRIDGE, DANIEL K          6037 SPRINGPORT RD                                                                                   EATON RAPIDS    MI      48827‐8046
HOLDRIDGE, DONNA             PO BOX 442                                                                                           OWOSSO          MI      48867‐0442
HOLDRIDGE, HELEN             215 SUNFLOWER DR                                                                                     LIVERPOOL       NY      13088‐5646
HOLDS, JOHN M                240 COUNTY ROAD 473                                                                                  CASTROVILLE     TX      78009‐3419
HOLDSCLAW, GARNETT L         2201 E. 36TH ST                                                                                      CLEVELAND       OH      44115
HOLDSCLAW, GARNETT L         2201 EAST 36TH STREET                                                                                CLEVELAND       OH      44115‐3004
HOLDSWORTH, DAVID A          621 MOUNT VERNON RD                                                                                  CHEEKTOWAGA     NY      14215‐1911
HOLDSWORTH, MARK W           23461 MAJESTIC ST                                                                                    OAK PARK        MI      48237‐2219
HOLDSWORTH, THOMAS A         13582 JENNINGS RD                                                                                    COLLINS         NY      14034‐9768
HOLDWAY, WANDA L             5630 W 35TH ST #4                                                                                    CICERO          IL      60804‐4332
HOLDWICK, BRUCE J            7550 CORAL DR                                                                                        GRAND BLANC     MI      48439‐8590
HOLDWICK, DALE F             3353 HOSNER RD                                                                                       DRYDEN          MI      48428‐9783
HOLDWICK, GERALD J           940 DRAHNER RD                                                                                       LEONARD         MI      48367‐3815
HOLDWICK, JASON W            3666 WASHINGTON ST                                                                                   SNOVER          MI      48472‐9701
HOLDWICK, JASON WALTER       3666 WASHINGTON ST                                                                                   SNOVER          MI      48472‐9701
HOLDWICK, MARVIN L           3725 GUNTER TRL                                                                                      GRAYLING        MI      49738‐7799
HOLE IN THE WALL GANG FUND   555 LONG WHARF DRIVE                                                                                 NEW HAVEN       CT      06511
HOLE SR, ROBERT L            417 S MORGAN ST                                                                                      ROXBORO         NC      27573‐5154
HOLE, ANN M                  326 YORK VIEW LN NW                                                                                  COMSTOCK PARK   MI      49321‐8947
HOLE, CONNIE E               1055 INDIAN LAKES RD NW                                                                              SPARTA          MI      49345‐8549
HOLE, DENNIS A               11853 ARLINGTON RD                                                                                   BROOKVILLE      OH      45309‐9635
HOLE, ERVIN F                6440 KIES ST NE                                                                                      ROCKFORD        MI      49341‐9562
HOLE, JACQUELINE L           1049 WILLOW SPRINGS BLVD                                                                             BROWNSBURG      IN      46112‐1854
HOLE, JAMES E                5103 E KARLSWAY DR                                                                                   COLUMBUS        IN      47201‐8920
HOLE, LOREN E                1406 MAGNOLIA ST                                                                                     NEW SMYRNA      FL      32168‐7745
                                                                                                                                  BEACH
HOLE, NANCY C                625 CORONA AVE                                                                                       DAYTON          OH      45419
HOLE, SCOTT A                3009 S MADISON ST                                                                                    MUNCIE          IN      47302‐5137
HOLE, VERNON D               25768 CHEYENNE DR                                                                                    NOVI            MI      48374‐2362
HOLEC, ALICE A               4221 WEISS ST                                                                                        SAGINAW         MI      48603‐4147
HOLEC, ALICE A               4221 WEISS                                                                                           SAGINAW         MI      48603‐4147
HOLEC, JENNIFER M            579 WILSON AVE                                                                                       MOUNT MORRIS    MI      48458‐1552
HOLECEK, CHARLES A           11785 LANSING HWY                                                                                    DURAND          MI      48429
HOLECEK, MAXINE M            265 RUBY CT APT 1                                                                                    WEST BRANCH     MI      48661‐1165
HOLECKO, ELSIE V             975 CANFIELD RD.                                                                                     YOUNGSTOWN      OH      44511‐2352
HOLECKO, GERALD J            9973 STATE ROUTE 224                                                                                 DEERFIELD       OH      44411‐8703
HOLEK, ROBERT J              538 MILLSTONE DR                                                                                     LAWRENCE        KS      66049‐2350
HOLEK, WILLIAM J             PO BOX 175                                                                                           TONGANOXIE      KS      66086‐0175
HOLEMAN, ARTHURINE           4701 WEST HILLCREST                                                                                  DAYTON          OH      45406‐0202
HOLEMAN, ARTHURINE           4701 W HILLCREST AVE                                                                                 DAYTON          OH      45406
HOLEMAN, DENNIS M            27372 PARKVIEW BLVD APT 4302                                                                         WARREN          MI      48092‐2897
HOLEMAN, DONALD C            29336 CEDARWOOD                     #15                                                              ROSEVILLE       MI      48066
HOLEMAN, HENRY               THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD        SUITE 44                          CORAL GABLES    FL      33146
HOLEMAN, HOWARD L            4115 GRAYTON DR                                                                                      WATERFORD       MI      48328‐3426
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Name                     Address1                         Address2                   Address3             Address4                  City            State   Zip
HOLEMAN, KATHERINE       116 CEDAR RIDGE TRL                                                                                        ELM CITY         NC     27822‐8303
HOLEN, ALVIN W           1454 ROLLINS ST                                                                                            GRAND BLANC      MI     48439‐5177
HOLEN, BETTY             PO BOX 352                                                                                                 TOPINABEE        MI     49791‐0352
HOLERUD, DOUGLAS
HOLES, DONALD E          3395 RANDALL RD                                                                                            RANSOMVILLE     NY      14131‐9678
HOLESKO, EDWARD F        3421 STATE ROUTE 534                                                                                       NEWTON FALLS    OH      44444‐8759
HOLESKO, LISA M          717 RED HAWK TRL                                                                                           NEWTON FALLS    OH      44444‐1293
HOLESKO, ROBERT J        3970 HALLOCK YOUNG RD                                                                                      NEWTON FALLS    OH      44444‐8717
HOLESTINE, DOUGLAS E     2285 HEWITT GIFFORD RD SW                                                                                  WARREN          OH      44481‐9117
HOLET, JOHN A            707 E FORESTLAWN DR                                                                                        MIDLAND         MI      48640‐9036
HOLETON, JOHN A          2392 BARCLAY AVE                                                                                           SHELBY TWP      MI      48317‐3606
HOLEVA, JANET M          20497 DENBY                                                                                                REDFORD         MI      48240‐1203
HOLEVAC, GLENN FRANK     9063 LUEA LN                                                                                               SWARTZ CREEK    MI      48473‐1082
HOLEVAR, DOLORES E       612 OAK DRIVE                                                                                              MOUNT MORRIS    MI      48458
HOLEWA, RALPH H          843 HIGHBANKS DRIVE                                                                                        ALLEGAN         MI      49010‐1692
HOLEWA, RAYMOND A        7556 N 32ND ST                                                                                             RICHLAND        MI      49083‐9463
HOLEWA, ROBERT J         40418 22ND ST                                                                                              KALAMAZOO       MI      49009‐9215
HOLEWINSKI, ROBERT D     15 PITTMAN RD                                                                                              LYMAN           SC      29365‐9720
HOLEWINSKI, THOMAS J     10407 W 131ST ST                                                                                           PALOS PARK      IL      60464‐2225
HOLEWINSKI, VIVIAN M     1106 LYNSUE LN                                                                                             WATERFORD       MI      48327‐2453
HOLEWSKI, SANDRA         8810 S 15TH AVE                                                                                            OAK CREEK       WI      53154‐4004
HOLEY, ARVID J           803 CENTRAL AVE                                                                                            COON VALLEY     WI      54623‐9743
HOLEY, BRUCE M           4180 SWORD HWY                                                                                             CLAYTON         MI      49235‐9613
HOLEY, DONNA J           3601 CHRISTINE DR                                                                                          LANSING         MI      48911
HOLEY, HAZEN W           PMB299684‐3590 ROUND BOTTOM RD                                                                             CINCINNATI      OH      45244
HOLEY, LARRY E           6131 S MOUNT HOPE RD                                                                                       CARSON CITY     MI      48811‐9504
HOLEY, LORENE K          4039 VERMAAS AVE                                                                                           TOLEDO          OH      43612‐1815
HOLFELDER PETER          BAHNHOFSTR. 7                                                                                              MUGGENSTURM             76461
HOLFIELD, GREGORY D      PO BOX 1371                                                                                                SAINT PAUL      VA      24283‐1371
HOLFIELD, THOMAS D       6273 GARDEN CT                                                                                             WARREN          MI      48091‐3851
HOLFORD, ANNE L          5292 DIVISION AVE N                                                                                        COMSTOCK PARK   MI      49321
HOLFORD, CATHERINE S     101 CIRCLE DR                                                                                              ALEXANDRIA      IN      46001‐1020
HOLFORD, MARVIN G        5292 DIVISION AVE N                                                                                        COMSTOCK PARK   MI      49321‐9586
HOLFORD, RALPH           4975 CASCADE RD SE                                                                                         GRAND RAPIDS    MI      49546‐3763
HOLFORD, RALPH           4975 CASCADE S E                                                                                           GRAND RAPIDS    MI      49546‐3763
HOLFORD, ROBERT E        8327 S ISABELLA RD                                                                                         SHEPHERD        MI      48883‐9325
HOLFORD, SALLY K         3039 ALDEN NASH AVE SE                                                                                     LOWELL          MI      49331‐9599
HOLGATE METAL FAB INC    555 INDEPENDENCE DR                                                                                        NAPOLEON        OH      43545‐9656
HOLGER BARCHMANN         LESSINGSTRASSE 11                                                                                          DRESDEN                 01099
HOLGER CEBULLA           HUGO‐REMMERT‐STR 14                                                              38644 GOSLAR GERMANY
HOLGER DAUSEND           MENDENER STRASSE 100
HOLGER DRAMBERT          ANDREAS‐MARGUTH STR. 3           35510 BUTZBACH
HOLGER DRAMBERT          ANDREAS‐MARGUTH STR. 3
HOLGER FOELL             SANDGRUBENWEG 2                  74081 HEILBRONN
HOLGER HEIN              GRISSETSTR 11                                                                    74182 OBERSULM, GERMANY

HOLGER HILDEBRAND        ANDREAS‐MARGUTH STR. 3
HOLGER HILDEBRAND        ANDREAS‐MARGUTH STR. 3           35510 BUTZBACH
HOLGER JUNGCLAUS         ASTWEG 43                                                                        22523 HAMBURG GERMANY
HOLGER KORING            PO BOX 9022                      HOLGER KORING                                                             WARREN           MI     48090‐9022
HOLGER LAFRENZ           26906 KOERBER ST                                                                                           ST CLAIR SHRS    MI     48081‐2458
HOLGER LOCHHEED          ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521                EAST ALTON       IL     62024
                                                          ANGELIDES & BARNERD LLC
HOLGER M\MUELLER‐BURCK   C.CONVENTO 111                                                                                             LLUCMAJOR
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HOLGER MARTEN                      ZIMMERSTRASSE 30                                                                              22085 HAMBURG, GERMANY

HOLGER MARTEN                      ZIMMERSTRASSE 30                      22085 HAMBURG
HOLGER MERKS                       BENRATHER SCHLOSSALLEE 58                                                                     D‐40597 DUESSELDORF
                                                                                                                                 GERMANY
HOLGER MICHAELSEN                  ADELHEIDSTRASSE 14                    65185 WIESBADEN               GERMANY                                              WIESBADEN
HOLGER MICHAELSEN                  ADELHEIDSTRASSE 14                                                  65185 WIESBADEN GERMANY

HOLGER SADEK
HOLGER STOCK                       PARKSTRA▀E 1                                                                                                             LOHMAR             AK   53797
HOLGER STOCK                       PARKSTRABE 1                                                                                  LOHMAR GERMANY 53797
HOLGER STOCK                       PARKSTRA▀E 1                          D‐53797 LOHMAR
HOLGER TAUSCH                      BARENBLEEK 7                                                                                                              HAMBURG           DE   22179
HOLGER TSCHORSCH                   BURGST─DTER STRASSE 5                                                                                                    LIMBACH‐                09212
                                                                                                                                                            OBERFROHNA
HOLGER TSCHORSCH                   BURGSTAEDTER STRASSE 5                                                                        LIMBACH OBERFROHNA 09212
                                                                                                                                 GERMANY
HOLGER‐JOHANNES BRECKENFELDER      SEILHOF 31                                                                                    BREISACH 79206 GERMANY
HOLGUIN EDWARD                     HOLGUIN, EDWARD                       5055 WILSHIRE BLVD STE 300                                                         LOS ANGELES        CA   90036‐6101
HOLGUIN JR, GENARO                 1215 N GENESEE DR                                                                                                        LANSING            MI   48915‐1911
HOLGUIN, CLEMENTE                  5480 CENTURY PLAZA WAY                                                                                                   SAN JOSE           CA   95111‐1820
HOLGUIN, DAFNE LUJAN               AIKEN SCHENK HAWKINS & RICCIARDI PC   4742 N 24TH ST STE 100                                                             PHOENIX            AZ   85016‐4859

HOLGUIN, DIANA S                   211 MOUNT PLEASANT RD                                                                                                    BEDFORD            IN   47421
HOLGUIN, EDWARD                    KROHN & MOSS ‐ CA,                    5055 WILSHIRE BLVD STE 300                                                         LOS ANGELES        CA   90036‐6101
HOLGUIN, GRISELDA                  AIKEN SCHENK HAWKINS & RICCIARDI PC   4742 N 24TH ST STE 100                                                             PHOENIX            AZ   85016‐4859

HOLGUIN, JOE                       5028 LAKEFRONT DR                                                                                                        WICHITA FALLS      TX   76310
HOLGUIN, LORI H                    565 S COBBLESTONE CT                                                                                                     BLOOMINGTON        IN   47403‐8954
HOLGUIN, LORI HELAINE              565 S COBBLESTONE CT                                                                                                     BLOOMINGTON        IN   47403‐8954
HOLGUIN, PILAR A                   211 MOUNT PLEASANT RD                                                                                                    BEDFORD            IN   47421‐9665
HOLGUIN, RICARDO                   422 N CATHERINE ST                                                                                                       LANSING            MI   48917‐4904
HOLGUIN, ROBERTO                   403 WINDSOR LN                                                                                                           PORTAGE            MI   49002‐2916
HOLIAK, KENNETH A                  30409 WINTHROP DR                                                                                                        MADISON HEIGHTS    MI   48071‐5918

HOLIAN ASBESTOS OF WISCONSIN       PO BOX 940                            1110 S LAKE AVE                                                                    TWIN LAKES        WI    53181‐0940
HOLIAN ASBESTOS OF WISCONSIN       110 S LAKE AVE                                                                                                           TWIN LAKES        WI    53181‐9424
HOLIAN ASBESTOS OF WISCONSIN       PO BOX 940                                                                                                               TWIN LAKES        WI    53181‐0940
HOLIAN PATRICIA                    4769 FAIRWAY DR                                                                                                          AVON              OH    44011‐3306
HOLIBAUGH DAVID PAUL (429114)      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA    23510
                                                                         STREET, SUITE 600
HOLIBAUGH, DAVID PAUL              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                        NORFOLK            VA   23510
                                                                         STREET, SUITE 600
HOLIC JR, STEVEN E                  329 MALLARD COVE RD                                                                                                     MONETA            VA    24121‐2361
HOLIC, CATHI J                      552 SPRUCE DR                                                                                                           NAPERVILLE        IL    60540‐7233
HOLICK, ELIZABETH                   2304 GLENHEATH DR                                                                                                       DAYTON            OH    45440‐1904
HOLICKI, MARY K                     36 BLAIR HIGHLAND TRAILE                                                                                                MOUNT MORRIS      MI    48458
HOLICKI, SHARON                     3535 KELLAR AVE                                                                                                         FLINT             MI    48504‐2147
HOLIDAY CHEVROLET                   1009 HIGHWAY 82 W                                                                                                       WHITESBORO        TX    76273‐9589
HOLIDAY CHEVROLET BUICK PONTIAC GMC 321 N ROLLING MEADOWS DR                                                                                                FOND DU LAC       WI    54937‐9726

HOLIDAY CHEVROLET BUICK PONTIAC GMC 321 N ROLLING MEADOWS DR                                                                                                FOND DU LAC        WI   54937‐9726
CADILLAC
HOLIDAY CHEVROLET, INC.             COLLEEN MCDONALD                     18208 WOODBURY CT                                                                  NORTHVILLE         MI   48168‐8844
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Name                                   Address1                          Address2                   Address3   Address4                    City               State   Zip
HOLIDAY CHEVROLET, INC.                18208 WOODBURY CT                                                                                   NORTHVILLE          MI     48168‐6844
HOLIDAY CHEVROLET, L.L.C.              ALAN STARLING                     1001 E US HWY 192                                                 SAINT CLOUD         FL     34769
HOLIDAY CHEVROLET‐CADILLAC, INC.       WILLIAM HUDGINS                   543 SECOND ST                                                     WILLIAMSBURG        VA     23185‐4817
HOLIDAY CHEVROLET‐CADILLAC, INC.       543 SECOND ST                                                                                       WILLIAMSBURG        VA     23185‐4817
HOLIDAY CHEVROLET‐CADILLAC, INC.       SECOND ST. & ROUTE 143                                                                              WILLIAMSBURG        VA     23185
HOLIDAY COMPANIES                      LEE HACKER                        PO BOX 1224                                                       MINNEAPOLIS         MN     55440‐1224
HOLIDAY COMPANIES                      PO BOX 1224                                                                                         MINNEAPOLIS         MN     55440‐1224
HOLIDAY INN                            5665 E PICKARD ST                                                                                   MOUNT PLEASANT      MI     48858‐5013
HOLIDAY INN & SUITES CATERING OFFICE   116 PARK AVE W                                                                                      MANSFIELD           OH     44902‐1607

HOLIDAY INN BOXBOROUGH                 242 ADAMS PL                                                                                        BOXBOROUGH         MA      01719‐1735
HOLIDAY INN COUNTRYSIDE                6201 JOLIET RD                                                                                      COUNTRYSIDE        IL      60525‐3958
HOLIDAY INN CR/CROMW                   4 SEBETHE DR                                                                                        CROMWELL           CT      06416‐1015
HOLIDAY INN EXPRESS                    103 JOHNSTON PL                                                                                     CLINTON            MS      39056‐5911
HOLIDAY INN EXPRESS                    35270 WOODWARD AVE                                                                                  BIRMINGHAM         MI      48009‐0935
HOLIDAY INN EXPRESS WARREN             11500 E 11 MILE RD                                                                                  WARREN             MI      48089‐4590
HOLIDAY INN EXPRESS‐HERSHEY            610 WALTON AVE                                                                                      HUMMELSTOWN        PA      17036‐1852
HOLIDAY INN GATEWAY CENTER             5353 GATEWAY CTR                                                                                    FLINT              MI      48507‐3980
HOLIDAY INN KITCHENER‐WATERLOO         HOTEL & CONFERENCE CENTRE         30 FAIRWAY ROAD SOUTH                 KITCHENER CANADA ON N2A
                                                                                                               2N2 CANADA
HOLIDAY INN NORTH CAMPUS               3600 PLYMOUTH RD                                                                                    ANN ARBOR          MI      48105‐2660
HOLIDAY INN RALE/NC                    4810 PAGE ROAD                                                                                      DURHAM             NC      27703
HOLIDAY INN SELECT                     1500 N OPDYKE RD                                                                                    AUBURN HILLS       MI      48326‐2653
HOLIDAY INN SELECT NAPERVILLE          1801 N NAPER BLVD                 ATTN ACCOUNTING DEPT                                              NAPERVILLE         IL      60563‐1554
HOLIDAY INN VAN/NASH                   2613 W END AVE                                                                                      NASHVILLE          TN      37203‐1424
HOLIDAY INN WENTZVILLE                 900 CORPORATE PKWY                RAMADA INN WENTZVILLE                                             WENTZVILLE         MO      63385‐4822
HOLIDAY INN WEST                       100 BRITTANIA RD EAST                                                   MISSISSAGUA CANADA ON L4Z
                                                                                                               2G1 CANADA
HOLIDAY INN WOR/KNOX                   525 HENLEY ST                                                                                       KNOXVILLE          TN      37902‐2810
HOLIDAY INN YOUNGSTOWN SOUTH‐          7410 SOUTH AVE                                                                                      BOARDMAN           OH      44512‐5719
BOARDMAN
HOLIDAY INN/AIPORT N                   4441 HWY 114 & ESTERS BLVD                                                                          IRVING             TX      75063
HOLIDAY INN/AIPORT S                   4440 W AIRPORT FWY                                                                                  IRVING             TX      75062‐5821
HOLIDAY INN/ANN ARBR                   2900 JACKSON AVE                                                                                    ANN ARBOR          MI      48103‐2012
HOLIDAY INN/BELTSVIL                   4095 POWDER MILL RD                                                                                 BELTSVILLE         MD      20705‐3105
HOLIDAY INN/BOCA RAT                   1950 GLADES RD                                                                                      BOCA RATON         FL      33431‐7353
HOLIDAY INN/BRENTWOO                   PO BOX 2508                                                                                         BRENTWOOD          TN      37024‐2508
HOLIDAY INN/BROCKTON                   195 WESTGATE DR                                                                                     BROCKTON           MA      02301‐1815
HOLIDAY INN/CHARLOTT                   2707 LITTLE ROCK RD                                                                                 CHARLOTTE          NC      28214‐3020
HOLIDAY INN/CHEEKTOW                   4600 GENESEE ST                                                                                     CHEEKTOWAGA        NY      14225‐2406
HOLIDAY INN/COLUMBIA                   7900 WASHINGTON BLVD                                                                                JESSUP             MD      20794‐9447
HOLIDAY INN/COLUMBUS                   4560 HILTON CORPORATE DR                                                                            COLUMBUS           OH      43232‐4153
HOLIDAY INN/DANBURY                    80 NEWTOWN RD                                                                                       DANBURY            CT      06810‐4152
HOLIDAY INN/ERLANGER                   1717 AIRPORT EXCHANGE BLVD                                                                          ERLANGER           KY      41018‐3119
HOLIDAY INN/EXTON                      815 N POTTSTOWN PIKE                                                                                EXTON              PA      19341‐1561
HOLIDAY INN/FARMNGTN                   38123 WEST 10 MILE ROAD                                                                             FARMINGTON HILLS   MI      48335

HOLIDAY INN/FRANKLIN                   PO BOX 906                        I‐65 AT STATE HIGHWAY 96                                          FRANKLIN           TN      37065‐0906
HOLIDAY INN/FSTR CTY                   1221 CHESS DR                                                                                       FOSTER CITY        CA      94404‐1173
HOLIDAY INN/HANOVER                    7481 NNEW RIDGE ROAD                                                                                HANOVER            MD      21076
HOLIDAY INN/HARTFORD                   50 MORGAN ST                                                                                        HARTFORD           CT      06120‐2907
HOLIDAY INN/HUDSON                     240HINES HILL ROAD                                                                                  HUDSON             OH      44236
HOLIDAY INN/HUNTGTN                    7667 CENTER AVE                                                                                     HUNTINGTN BCH      CA      92647‐3073
HOLIDAY INN/I‐35                       I‐35 WEST AND 94TH STREET EXIT                                                                      BLOOMINGTON        MN      55431
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Name                                Address1                       Address2               Address3      Address4               City               State   Zip
HOLIDAY INN/INDNPLIS                2501 S HIGH SCHOOL RD                                                                      INDIANAPOLIS        IN     46241‐4919
HOLIDAY INN/INDPNDCE                6001 ROCKSIDE RD                                                                           INDEPENDENCE        OH     44131‐2209
HOLIDAY INN/JACKSON                 5075 I 55 N                                                                                JACKSON             MS     39206‐4301
HOLIDAY INN/KENNER                  2929 WILLIAMS BLVD                                                                         KENNER              LA     70062‐5434
HOLIDAY INN/LIONSVIL                ROUTE 100, BOX 1100                                                                        LIONVILLE           PA     19353
HOLIDAY INN/MADISON                 3521 EVANS ACRES ROAD                                                                      MADISON             WI     53718
HOLIDAY INN/MARIETTA                3445 PEACHTREE RD NE           STE 700                                                     ATLANTA             GA     30326‐1237
HOLIDAY INN/NASHVILL                2200 ELM HILL PIKE                                                                         NASHVILLE           TN     37214‐5116
HOLIDAY INN/NATICK                  1360 WORCESTER ST                                                                          NATICK              MA     01760‐1514
HOLIDAY INN/NEW ORLN                330 LOYOLA AVE                                                                             NEW ORLEANS         LA     70112‐1807
HOLIDAY INN/NEWARK                  160 HOLIDAY PLZ                                                                            NEWARK              NJ     07114‐3700
HOLIDAY INN/NEWHART                 1777 BURRSTONE RD                                                                          NEW HARTFORD        NY     13413‐1000
HOLIDAY INN/OAKLAND                 500 HEGENBERGER RD                                                                         OAKLAND             CA     94621‐1320
HOLIDAY INN/OAKLND P                4505 WOODSON RD                                                                            SAINT LOUIS         MO     63134‐3703
HOLIDAY INN/ORANGE P                100 PARK AVENUE                                                                            ORANGE PARK         FL     32073
HOLIDAY INN/ORLANDO                 6515 INTERNATIONAL DR                                                                      ORLANDO             FL     32819‐8217
HOLIDAY INN/OSHKOSH                 500 S KOELLER ST                                                                           OSHKOSH             WI     54902‐5548
HOLIDAY INN/PLEASANT                11950 DUBLIN CANYON RD                                                                     PLEASANTON          CA     94588‐2818
HOLIDAY INN/PORTSMOU                I‐95 & WOODBURY                                                                            PORTSMOUTH          NH     03801
HOLIDAY INN/ROSEMONT                5440 N RIVER RD                                                                            ROSEMONT             IL    60018‐5232
HOLIDAY INN/SAN DIEG                1355 N HARBOR DR                                                                           SAN DIEGO           CA     92101‐3321
HOLIDAY INN/SAN FRAN                275 S AIRPORT BLVD                                                                         SOUTH SAN           CA     94080‐6703
                                                                                                                               FRANCISCO
HOLIDAY INN/SARATOGA                BROADWAY AT CIRCULAR STREET                                                                SARATOGA SPRINGS    NY     12866

HOLIDAY INN/SCHAUMBG                1550 N ROSELLE RD                                                                          SCHAUMBURG         IL      60195‐3643
HOLIDAY INN/SOMERVLL                30 WASHINGTON ST                                                                           SOMERVILLE         MA      02143‐4446
HOLIDAY INN/SPRING H                ROUTE 1 BOX 27                                                                             SPRING HILL        TN      37174
HOLIDAY INN/TROY                    2537 ROCHESTER CT                                                                          TROY               MI      48083‐1875
HOLIDAY INN/WAUKESHA                2417 BLUE MOUND ROAD                                                                       WAUKESHA           WI      53186
HOLIDAY JR, JAMES E                 401 ENGLEWOOD AVE APT 1                                                                    BUFFALO            NY      14223‐2866
HOLIDAY JR, LARRY L                 483 W IROQUOIS RD                                                                          PONTIAC            MI      48341‐2020
HOLIDAY JR, LARRY LAWRENCE          483 W IROQUOIS RD                                                                          PONTIAC            MI      48341‐2020
HOLIDAY PAYLESS RENT A CAR          5903 MCCOY ROAD                                                                            ORLANDO            FL      32827
HOLIDAY SATURN, INC.                JUAN L. GONZALES               401 AUTO VISTA DR                                           QUARTZ HILL        CA      93551‐3711
HOLIDAY SATURN, INC.                ATTN: JUAN A. GONZALES         401 AUTO VISTA DRIVE                                        VICTORVILLE        CA      93551
HOLIDAY SERVICE CENTER & CAR WASH   1194 RTE 37 W                                                                              TOMS RIVER         NJ      08755

HOLIDAY TIRE & AUTOM INC            619 GREENSBORO RD                                                                          HIGH POINT         NC      27260‐2649
HOLIDAY VANS                        1902 E MICHIGAN AVE                                                                        YPSILANTI          MI      48198‐6078
HOLIDAY WORLD OF HOUSTON, LLC       28909 KATY FWY                                                                             KATY               TX      77494‐1000
HOLIDAY, ALFREDIA                   3217 CARTER ST                                                                             SAGINAW            MI      48601‐4053
HOLIDAY, ANNIE L                    2587 BRUNKOW CT                                                                            SAGINAW            MI      48601‐6729
HOLIDAY, ANNIE LOIS                 2587 BRUNKOW CT                                                                            SAGINAW            MI      48601‐6729
HOLIDAY, BETTY L                    2700 NARLOCH ST                                                                            SAGINAW            MI      48601‐1340
HOLIDAY, CARL E                     2102 WALNUT STREET                                                                         SAGINAW            MI      48601‐2033
HOLIDAY, CARL E                     2102 WALNUT ST                                                                             SAGINAW            MI      48601‐2033
HOLIDAY, CHARLES N                  501 PIERCE ST                                                                              SANDUSKY           OH      44870‐4724
HOLIDAY, CLIFFORD D                 515 SW SALINE ST                                                                           TOPEKA             KS      66606‐1921
HOLIDAY, CLYDE J                    713 W SPRUCE ST                                                                            DEMING             NM      88030‐3548
HOLIDAY, CLYDE J                    2755 LUNA RD SW                                                                            DEMING             NM      88030‐8064
HOLIDAY, DARRYL G                   91 BOUCK ST                                                                                TONAWANDA          NY      14150‐2024
HOLIDAY, DEXTER O                   2725 LARRY TIM DR                                                                          SAGINAW            MI      48601‐5615
HOLIDAY, DION D                     802 W RIDGEWAY AVE                                                                         FLINT              MI      48505
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Name                        Address1                       Address2            Address3         Address4               City              State   Zip
HOLIDAY, EDWIN J            3299 TIMBERVIEW ST                                                                         FLINT              MI     48532‐3756
HOLIDAY, GERWAN H           6291 WILLOW BROOKE DR                                                                      LIBERTY TWP        OH     45011‐0403
HOLIDAY, JAMES E            4619 ONONDAGA BLVD                                                                         SYRACUSE           NY     13219‐3301
HOLIDAY, JEREMY G           4510 OAKESTIA ST                                                                           COMMERCE           MI     48382‐3827
                                                                                                                       TOWNSHIP
HOLIDAY, JEREMY GENE        4510 OAKESTIA ST                                                                           COMMERCE           MI     48382‐3827
                                                                                                                       TOWNSHIP
HOLIDAY, JOHNIE L           8832 S RACINE AVE                                                                          CHICAGO           IL      60620‐3425
HOLIDAY, MARY E             38824 POLO CLUB DR             APT 102                                                     FARMINGTON        MI      48335‐5609
HOLIDAY, MARY E             515 SW SALINE ST                                                                           TOPEKA            KS      66606‐1921
HOLIDAY, MATTIE,            PORTER & MALOUF PA             4670 MCWILLIE DR                                            JACKSON           MS      39206‐5621
HOLIDAY, NANCY E            800 MICHIGAN AVE               APT 307                                                     LA PORTE          IN      46350‐3560
HOLIDAY, ODELL              8639 SAINT JOHN ST                                                                         SHELBY TOWNSHIP   MI      48317‐4361
HOLIDAY, ROMELL             1 ALLSPICE CT.                                                                             OWINGS MILLS      MD      21117‐1329
HOLIDAY, ROMELL             1 ALLSPICE CT                                                                              OWINGS MILLS      MD      21117‐1329
HOLIDAY, ROOSEVELT B        2824 AMBERWOOD PL              MAIL BOX 14                                                 KOKOMO            IN      46901‐1468
HOLIDAY, ROY C              PO BOX 6253                                                                                FORT WORTH        TX      76115‐0253
HOLIDAY, STEVEN F           14500 AGNES ST                                                                             SOUTHGATE         MI      48195‐1944
HOLIDAY, STEVEN FLOYD       14500 AGNES ST                                                                             SOUTHGATE         MI      48195‐1944
HOLIDAY, THOMAS L           PO BOX 160                                                                                 CHEROKEE          AL      35616‐0160
HOLIDAY, WILLIAM E          867 W HOSPITAL RD LOT 18                                                                   PAOLI             IN      47454‐9213
HOLIDAY‐GOLSON, LATRICE D   6020 DEER PARK PASS                                                                        GRAND BLANC       MI      48439‐9610
HOLIE, CHARLES E            13021 GIRARD AVE S                                                                         BURNSVILLE        MN      55337‐2405
HOLIEN, DWIGHT H            14351 PETERBORO DR                                                                         STERLING HTS      MI      48313‐2739
HOLIEN, HARLAN E            14748 DARWIN CT                SITE 210B                                                   SHELBY TWP        MI      48315‐3747
HOLIFIELD JR, JOHN B        55091 LEE RD                                                                               NEW HUDSON        MI      48165‐8516
HOLIFIELD JR, WILLIE        8049 WALDEN ST                                                                             DETROIT           MI      48213‐2381
HOLIFIELD, ALLEN R          11910 BLOCK RD                                                                             BIRCH RUN         MI      48415‐9467
HOLIFIELD, ANTHONY J        7393 NEFF RD                                                                               MOUNT MORRIS      MI      48458‐1821
HOLIFIELD, ANTHONY JAMES    7393 NEFF RD                                                                               MOUNT MORRIS      MI      48458‐1821
HOLIFIELD, BARRY            3609 RUTHERFORD DR                                                                         SPRING HILL       TN      37174‐2176
HOLIFIELD, BETTY L          6316 LAURENTIAN CT                                                                         FLINT             MI      48532‐2039
HOLIFIELD, BRUCE E          PO BOX 408                                                                                 SHERWOOD          OH      43556‐0408
HOLIFIELD, DANIEL E         8444 W ROLSTON RD                                                                          LINDEN            MI      48451‐9772
HOLIFIELD, DANNIE T         23715 STONEHENGE BLVD                                                                      NOVI              MI      48375‐3778
HOLIFIELD, DORIS M          2438 GREENE 625 RD                                                                         PARAGOULD         AR      72450‐8504
HOLIFIELD, DORIS M          2438 GREENE ROAD 625                                                                       PARAGOULD         AR      72450‐8504
HOLIFIELD, FULTON           19490 ROBSON ST                                                                            DETROIT           MI      48235‐1953
HOLIFIELD, GAYNELL J.       125 PAUL REVERE LN                                                                         FLINT             MI      48507‐5931
HOLIFIELD, HAZEL S          8299 S SEYMOUR RD                                                                          GAINES            MI      48436‐9799
HOLIFIELD, HAZEL S          8299 SEYMOUR RD                                                                            GAINES            MI      48436‐9799
HOLIFIELD, JERRY C          42957 WINDING POND TRL                                                                     BELLEVILLE        MI      48111‐7205
HOLIFIELD, JOHN A           PO BOX 5334                                                                                MANSFIELD         OH      44901‐5334
HOLIFIELD, LARRY C          3245 GRAVEL LICK RD                                                                        CASTLEWOOD        VA      24224
HOLIFIELD, LARRY C          PO BOX 582                                                                                 SAINT PAUL        VA      24283‐0582
HOLIFIELD, LETICIA A        412 DORCHESTER AVE                                                                         CINCINNATI        OH      45219‐3102
HOLIFIELD, LINDA            200 PINE LAKES DR W                                                                        LAPEER            MI      48446‐4503
HOLIFIELD, LODENA           PO BOX 628                                                                                 FOREST            MS      39074‐0628
HOLIFIELD, MARY E           2552 WEST BRITTON ROAD                                                                     PERRY             MI      48872
HOLIFIELD, MARY E           2552 W BRITTON RD                                                                          PERRY             MI      48872‐9603
HOLIFIELD, MILTON JOSEPH    WATSON LOUIS H JR              628 N STATE ST                                              JACKSON           MS      39202‐3303
HOLIFIELD, MINERVA M        1339 WESLEYAN RD                                                                           DAYTON            OH      45406‐4247
HOLIFIELD, MYRTLE L         2537 N 1ST ST                                                                              MILWAUKEE         WI      53212‐2804
HOLIFIELD, RODERICK K       18940 WHITCOMB ST                                                                          DETROIT           MI      48235‐2846
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Name                     Address1                       Address2                      Address3   Address4               City             State   Zip
HOLIFIELD, SANDY A       2604 43RD AVE                                                                                  MERIDIAN          MS     39307‐4269
HOLIFIELD, WAYNE         3181 SEYMOUR RD                                                                                SWARTZ CREEK      MI     48473‐9780
HOLIFIELD, WILLIAM V     300 LELAND TER NE                                                                              ATLANTA           GA     30317‐1411
HOLIHAN, DIANE           5953 COLE RD                                                                                   SAGINAW           MI     48601
HOLIHAN, DICK A          2386 E LAKE RD                                                                                 CLIO              MI     48420‐9147
HOLIHAN, ERNESTINE H     5053 N SMITH RD                                                                                OWOSSO            MI     48867‐9429
HOLIHAN, KYLE            28091 GALIEN DR                                                                                SOUTH LYON        MI     48178‐9761
HOLIHAN, MARGARET L      1003 CHESTNUT ST                                                                               SAGINAW           MI     48602‐1632
HOLIHAN, MICHAEL J       27936 DICKASON DR                                                                              VALENCIA          CA     91354‐1200
HOLIHAN, RAYMOND P       1003 CHESTNUT ST                                                                               SAGINAW           MI     48602‐1632
HOLIK, MICHAEL D         998 N GRAF RD                                                                                  CARO              MI     48723‐9682
HOLIMAN, L V             1515 ROACH ST                                                                                  INDIANAPOLIS      IN     46208‐5253
HOLIMAN, L V             1515 W ROACHE ST                                                                               INDIANAPOLIS      IN     46208‐5253
HOLIMAN, RONALD S        5591 E 46TH ST                                                                                 INDIANAPOLIS      IN     46226‐3351
HOLIMAN, WILLIS          6163 FRED DR                                                                                   CYPRESS           CA     90630‐3907
HOLINBAUGH ROBERT E      8268 LONGVIEW DR NE                                                                            WARREN            OH     44484‐1932
HOLINBAUGH, JAMES L      7292 ELM ST                                                                                    NEWTON FALLS      OH     44444‐9233
HOLINBAUGH, JOHN K       1185 NE 835 ST                                                                                 OLD TOWN          FL     32680‐8200
HOLINBAUGH, JOHN K       1185 NE 835TH ST                                                                               OLD TOWN          FL     32680‐8200
HOLINBAUGH, ROBERT E     8268 LONGVIEW DR NE                                                                            WARREN            OH     44484‐1932
HOLINBAUGH, WAYNE L      1263 NE 835 ST                                                                                 OLD TOWN          FL     32680‐8298
HOLINESS, TERESA U       26187 W OUTER DR                                                                               DETROIT           MI     48217‐1137
HOLINKO JR, MYKOLA       15625 HARRIS RD                                                                                DEFIANCE          OH     43512‐8091
HOLINKO MIKE             15625 HARRIS RD                                                                                DEFIANCE          OH     43512‐8091
HOLINKO, RETA J          1438 TERBURY RD                                                                                ALFRED STATION    NY     14803‐9785
HOLINSKI, HELEN          6649 WINONA AVE                                                                                ALLEN PARK        MI     48101‐2323
HOLINYJ, BEVERLY L       4097 BIG HOLLOW LN                                                                             JACKSONVILLE      FL     32277‐1630
HOLISE HALE              17523 FALLS RD                                                                                 UPPERCO           MD     21155‐9574
HOLISKY LAWRENCE         NO ADVERSE PARTY
HOLISKY, LAWRENCE E      7818 ROLLER RD                                                                                 SALEM            OH      44460‐9241
HOLIT DAVID L (466974)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA      23510
                                                        STREET, SUITE 600
HOLIT, DAVID L           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510‐2212
                                                        STREET, SUITE 600
HOLIWAY, HAROLD          222 WHIPPOORWILL DR                                                                            WRIGHT CITY      MO      63390‐1816
HOLIWAY, NANCY           3131 GOVERNORS AVE                                                                             DULUTH           GA      30096‐3593
HOLK III, WILLIAM H      3376 HOFFMAN NORTON RD NW                                                                      WARREN           OH      44481‐9425
HOLKA, ADRIANNE A        1419 BARDSHAR RD L                                                                             SANDUSKY         OH      44870
HOLKA, DENNIS M          2006 33RD ST                                                                                   BAY CITY         MI      48708‐3805
HOLKA, DONNA             500 S JACKSON ST                                                                               BAY CITY         MI      48708‐7369
HOLKA, DONNA             500 S JACKSON                                                                                  BAY CITY         MI      48708‐7369
HOLKA, KENNETH J         1318 WAXWING DR                                                                                DEWITT           MI      48820‐9544
HOLKA, MARGARET          1652 CASS AVENUE                                                                               BAY CITY         MI      48708‐8183
HOLKA, MARGARET          1652 CASS AVE                                                                                  BAY CITY         MI      48708‐8183
HOLKA, PATRICK J         1241 NE PARVIN RD APT 307                                                                      KANSAS CITY      MO      64116‐5033
HOLKA, PATRICK JOSEPH    1421 NE PARVIN RD APT 307                                                                      KANSAS CITY      MO      64116‐5033
HOLKA, STEPHEN P         3760 W ACOMA DR                                                                                PHOENIX          AZ      85053‐5409
HOLKO, ANN C             5396 OLE BANNER TRL                                                                            GRAND BLANC      MI      48439‐7705
HOLKO, CHARLES W         2559 WILSON SHARPSVILLE RD                                                                     CORTLAND         OH      44410‐9406
HOLKO, FRANK             6190 STATE ROUTE 46                                                                            CORTLAND         OH      44410‐9666
HOLKO, FRANK             6190 STATE RT 46 N.E.                                                                          CORTLAND         OH      44410‐9666
HOLKO, JAMES M           5396 OLE BANNER TRL                                                                            GRAND BLANC      MI      48439‐7705
HOLKO, JAMES MICHAEL     5396 OLE BANNER TRL                                                                            GRAND BLANC      MI      48439‐7705
HOLL, HELEN J            4111 WOODRIDGE DR                                                                              SANDUSKY         OH      44870‐7055
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Name                         Address1                          Address2                           Address3   Address4               City            State   Zip
HOLL, JERRY R                1733 SWAILES RD                                                                                        TROY             OH     45373‐9566
HOLL, NICHOLAS               303 LYNN RD                                                                                            CAMILLUS         NY     13031‐1216
HOLL, WILLIAM H              5286 KIMBERLY WOODS CIR                                                                                FLINT            MI     48504‐1126
HOLLABAUGH ROBERT (492034)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD       OH     44067
                                                               PROFESSIONAL BLDG
HOLLABAUGH, DIANA            2545 CHESTNUT ST                                                                                       GIRARD          OH      44420‐3106
HOLLABAUGH, DOUGLAS L        13303 BLUE SPRUCE CT                                                                                   LINDEN          MI      48451‐8864
HOLLABAUGH, DOUGLAS LYNN     13303 BLUE SPRUCE CT                                                                                   LINDEN          MI      48451‐8864
HOLLABAUGH, LILLIAN C        3102 HAINE DR APT 610                                                                                  HARLINGEN       TX      78550‐0808
HOLLABAUGH, ORIE D           190 SE CROSSPOINT DR                                                                                   PORT ST LUCIE   FL      34983‐3161
HOLLABAUGH, ROBERT           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                         NORTHFIELD      OH      44067
                                                               PROFESSIONAL BLDG
HOLLACE CONCANNON            ACCT OF BRIAN T CONCANNON         239 SENECA WAY                                                       BOLINGBROOK      IL     60440‐1738
HOLLADA, ROBERT E            162 CHRISTNER HOLLOW RD                                                                                FORT HILL        PA     15540‐2213
HOLLADAY DANIEL C (401944)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA     23510
                                                               STREET, SUITE 600
HOLLADAY, DANIEL A           145 PEPPERELL AVE                                                                                      HOUGHTON LAKE    MI     48629‐8900
HOLLADAY, DANIEL C           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA     23510‐2212
                                                               STREET, SUITE 600
HOLLADAY, GLENN K            4734 DRESDEN CT                                                                                        JACKSONVILLE    FL      32257‐1206
HOLLADAY, JIMMY L            13410 MISSOURI ROUTE A                                                                                 LIBERTY         MO      64068‐8122
HOLLADAY, WILLIAM O          3312 MANHATTAN AVE                                                                                     INDIANAPOLIS    IN      46241‐5414
HOLLADY MD                   213 N MERCER ST                                                                                        DURAND          MI      48429‐1418
HOLLAN, DALLAS V             676 ROBINDALE DR                                                                                       WAYNESVILLE     OH      45068‐9475
HOLLAN, DONALD R             1421 ROSEMONT BLVD                                                                                     DAYTON          OH      45410‐3120
HOLLAN,DALLAS V              676 ROBINDALE DR                                                                                       WAYNESVILLE     OH      45068‐9475
HOLLAND & HART               PO BOX 758                                                                                             DENVER          CO      80271‐0758
HOLLAND & KNIGHT             PO BOX 32092                      ACCOUNTS RECEIVABLE                                                  LAKELAND        FL      33802‐2092
HOLLAND & KNIGHT             450 MARTIN L KING JR AVE                                                                               LAKELAND        FL      33815‐1522
HOLLAND & KNIGHT             PO BOX 52687                                                                                           JACKSONVILLE    FL      32201‐2687
HOLLAND & KNIGHT             PO BOX 32092                      ACCOUNTS RECEVABLE                                                   LAKELAND        FL      33802‐2092
HOLLAND & KNIGHT LLP         50 N LAURA ST STE 3900                                                                                 JACKSONVILLE    FL      32202‐3622
HOLLAND & KNIGHT LLP         PO BOX 32092                      ACCOUNTS RECEIVABLE                                                  LAKELAND        FL      33802‐2092
HOLLAND & KNIGHT LLP         PO BOX 32092                                                                                           LAKELAND        FL      33802‐2092
HOLLAND ADAMS                BOX 103 145 W MAIN                                                                                     RUTLEDGE        GA      30663
HOLLAND ALENE                PO BOX 125                                                                                             STRAWBERRY      AR      72469‐0125
HOLLAND AMBER                HOLLAND, AMBER                    4480 E VIENNA RD                                                     CLIO            MI      48420
HOLLAND ARCHIE T (400748)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA      23510
                                                               STREET, SUITE 600
HOLLAND AWNING CO            10875 CHICAGO DRIVE                                                                                    ZEELAND         MI      49464‐8126
HOLLAND BRIAN                6078 E ROUGH ROCK DR                                                                                   TUCSON          AZ      85756‐9568
HOLLAND CHARLENE             1323 28TH AVE                                                                                          MOLINE          IL      61265‐6006
HOLLAND CHARLES              1413 PINEWOOD RD                                                                                       JACKSONVILLE    FL      32250‐2918
HOLLAND DIANE                1251 JOSLYN AVE                                                                                        PONTIAC         MI      48340‐2064
HOLLAND DOROTHY              7249 E 150 NORTH RD                                                                                    MC LEAN         IL      61754‐7509
HOLLAND DUANE A (445290)     CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                     CLEVELAND       OH      44115
                             GAROFOLI                          FL
HOLLAND ELMER (470137)       ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                           BALTIMORE       MD      21202
                                                               CHARLES CENTER 22ND FLOOR
HOLLAND GEORGE E (481220)    KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                        CLEVELAND       OH      44114
                                                               BOND COURT BUILDING
HOLLAND GEORGE F (429115)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA     23510
                                                               STREET, SUITE 600
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Name                              Address1                       Address2                        Address3       Address4                City              State Zip
HOLLAND GMBH                      HAUPTSTR 7                                                                    BERMBACH TH 98587
                                                                                                                GERMANY
HOLLAND GMBH ‐ WERKZEUGFABRIK     HAUPSTR 7 98587                                                               BERMBACH/THORINGEN
                                                                                                                GERMANY
HOLLAND GROUP LLC                 30800 TELEGRAPH RD                                                                                    BINGHAM FARMS      MI   48025‐4547
HOLLAND HERBERT ALLEN             C/O EDWARD O MOODY P A         801 WEST 4TH STREET                                                    LITTLE ROCK        AR   72201
HOLLAND HOMER WAYNE (ESTATE OF)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                            NORFOLK            VA   23510
(498264)                                                         STREET, SUITE 600
HOLLAND HOSPITAL                  PO BOX 77000                                                                                          DETROIT           MI    48277‐2000
HOLLAND I I I, URIAH              221 HANOVER AVENUE                                                                                    DAYTON            OH    45427‐2633
HOLLAND JAMES (459916)            BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD        OH    44067
                                                                 PROFESSIONAL BLDG
HOLLAND JAMES LAMAR (343879)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                            NORFOLK            VA   23510
                                                                 STREET, SUITE 600
HOLLAND JONES, KATRINA            1307 CASON TRL                                                                                        MURFREESBORO      TN    37128‐6749
HOLLAND JR, ALVAH K               2012 PEARL ST                                                                                         ANDERSON          IN    46016‐4449
HOLLAND JR, DUDLEY E              2921 US HIGHWAY 250                                                                                   GREENWICH         OH    44837‐9473
HOLLAND JR, FLOYD M               776 LEXINGTON ONT. RD                                                                                 MANSFIELD         OH    44903
HOLLAND JR, IRWIN J               25303 45 HWY SPUR BLDG 14      C/O DONALD V BIERMAN                                                   PLATTE CITY       MO    64079‐8354
HOLLAND JR, JAMES L               6343 BUCKINGHAM AVENUE                                                                                ALLEN PARK        MI    48101‐2330
HOLLAND JR, JAMES R               130 COUNTRY ROAD 3154                                                                                 DE BERRY          TX    75639
HOLLAND JR, LARRY D               1123 SMART RD                                                                                         MANSFIELD         OH    44903‐9667
HOLLAND JR, LUTHER L              5913 HAWK CT                                                                                          VENUS             TX    76084‐3223
HOLLAND JR, RALPH V               4991 LYLE RD                                                                                          COLUMBUS          OH    43229‐5307
HOLLAND JR, ROBERT                952 HUFFMAN RD                                                                                        BRIGHTON          TN    38011‐6634
HOLLAND JR, ROBERT W              11658 W LEWISVILLE RD                                                                                 CLOVERDALE        IN    46120‐9353
HOLLAND JUDITH                    7 MULBERRY BLUFF DR                                                                                   SAVANNAH          GA    31406‐3270
HOLLAND LUCILLE RENEE (479258)    BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD        OH    44067
                                                                 PROFESSIONAL BLDG
HOLLAND MARGARET                  170 S SPRING ST                                                                                       HOLLY SPRINGS     MS    38635‐3019
HOLLAND MARKS                     15445 ROXBORO DR                                                                                      MIDDLEBRG HTS     OH    44130‐8346
HOLLAND MARLANA                   2006 HIGHWAY 59                                                                                       GEORGE WEST       TX    78022‐3729
HOLLAND MCNEELY                   THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                            HOUSTON           TX    77017
HOLLAND NORMAN                    2272 N 1ST RD                                                                                         WELLSVILLE        KS    66092‐4028
HOLLAND PARK II LP                PO BOX 35201                                                                                          NEWARK            NJ    07193‐5201
HOLLAND PARK II LP                C\O LEND LEASE AAF FUND        C HOLLAND PARK II               PO BOX 26277                           NEW YORK          NY    10087‐6277
HOLLAND ROBERT                    HOLLAND, ROBERT                799 STEWART AVENUE                                                     COLUMBUS          OH    43206‐3046
HOLLAND ROBERT G (355033)         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                            NORFOLK           VA    23510
                                                                 STREET, SUITE 600
HOLLAND RONALD (142016)           FARACI & LANGE                 400 CROSSROADS BLDG , 45                                               ROCHESTER          NY   14614
                                                                 EXCHANGE STREET
HOLLAND SAMUEL (455367)           GEORGE & SIPES                 151 N DELAWARE ST STE 1700                                             INDIANAPOLIS      IN    46204‐2503
HOLLAND SPECIAL DELIVERY          3068 HIGHLAND BLVD                                                                                    HUDSONVILLE       MI    49426‐9455
HOLLAND STEVEN                    2110 NE 142ND AVE                                                                                     HUXLEY            IA    50124‐8723
HOLLAND T MICHAEL                 874 ARMISTEAD DR                                                                                      HAMILTON          OH    45013‐2027
HOLLAND THOMAS ABRAHAM (429116)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                            NORFOLK           VA    23510
                                                                 STREET, SUITE 600
HOLLAND TOWNSHIP TAX COLLECTOR    PO BOX 8127                                                                                           HOLLAND            MI   49422‐8127
HOLLAND TRANSFER CO AND           PO BOX 552                                                                                            STATESVILLE        NC   28687‐0552
DISTRIBUTION CENTER
HOLLAND TRICIA                    2 RISERO DR                                                                                           MISSION VIEJO     CA    92692
HOLLAND WALTER                    100 20TH ST                                                                                           BATTLE MOUNTAIN   NV    89820‐3310

HOLLAND, ADA L                    1875 JANET ST                                                                                         HARRISON           MI   48625‐8796
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Name                       Address1                        Address2                      Address3   Address4               City               State   Zip
HOLLAND, ALFRED            101 EAST AUSTIN AVENUE                                                                          FLINT               MI     48505‐2738
HOLLAND, ALFRED E          1636 20 MILE RD                                                                                 MARION              MI     49665‐8429
HOLLAND, ALFRED R          G‐4051 DALLAS ST                                                                                BURTON              MI     48519
HOLLAND, ALICE L           8203 NW MACE ROAD                                                                               KANSAS CITY         MO     64152‐4621
HOLLAND, ALICE L           8203 NW MACE RD                                                                                 KANSAS CITY         MO     64152‐4621
HOLLAND, ALLEN J           85 KEITH AVE                                                                                    CAMDEN              TN     38320‐6823
HOLLAND, ALMA J            29 W LONGFELLOW AVE                                                                             PONTIAC             MI     48340‐1827
HOLLAND, AMANDA A          8361 WASHINGTON VILLAGE DR                                                                      DAYTON              OH     45458
HOLLAND, AMBER             4480 E VIENNA RD                                                                                CLIO                MI     48420‐9753
HOLLAND, ANGELINE          2300 PLAZA AVE NE APT 515                                                                       WARREN              OH     44483‐3550
HOLLAND, ANN ALICE         2029 CAT CREEK RD.                                                                              FRANKLIN            NC     28734‐7183
HOLLAND, ANN H             1330 KRA NUR DR                                                                                 BURTON              MI     48509‐1633
HOLLAND, ANNETTE B         PO BOX 394                                                                                      WOOD DALE            IL    60191‐0394
HOLLAND, ANNIE M           G6239 BALLARD DR                                                                                FLINT               MI     48505
HOLLAND, ANTHONY L         11802 WOODSPOINTE DR                                                                            GRAND LEDGE         MI     48837‐9100
HOLLAND, ANTHONY T         4929 MANNING RD                                                                                 INDIANAPOLIS        IN     46228‐2054
HOLLAND, ARCHIE L          5639 HENSLEY RD                                                                                 LULA                GA     30554‐3251
HOLLAND, ARCHIE T          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                           STREET, SUITE 600
HOLLAND, ARNOLD W          12 GELBHAUS LN                                                                                  DAMASCUS           PA      18415‐3545
HOLLAND, ASHANDE'          1118 ASHLEY LAKES DR                                                                            NORCROSS           GA      30092‐5634
HOLLAND, AUTHOR            VARAS & MORGAN                  PO BOX 886                                                      HAZLEHURST         MS      39083‐0886
HOLLAND, BARBARA B         715 S ELM ST                                                                                    GARDNER            KS      66030‐1641
HOLLAND, BARBARA J         35203 BRIGHTON DR                                                                               STERLING HEIGHTS   MI      48310‐7410
HOLLAND, BARBARA L         PO BOX 248                      175 LAFAYETTE TRAIL                                             CHALK HILL         PA      15421‐0248
HOLLAND, BEN R             9809 CHASE ISLAND DR                                                                            SHREVEPORT         LA      71118‐4605
HOLLAND, BEN RAY           9809 CHASE ISLAND DR                                                                            SHREVEPORT         LA      71118‐4605
HOLLAND, BENJAMIN H        7 SIERRA CIRCLE                                                                                 HOT SPRINGS        AR      71909‐3222
HOLLAND, BERTHA            239 KUHNE BLVD                                                                                  TROY               MO      63379
HOLLAND, BETTY S           828 SMITH BREWER ROAD                                                                           LONDON             KY      40744
HOLLAND, BEVERLY           150 W. 174TH ST 9G                                                                              BRONX              NY      10453‐7504
HOLLAND, BEVERLY           150 W 174TH ST APT 9G                                                                           BRONX              NY      10453‐7504
HOLLAND, BEVERLY A         383 SHAGBARK TRL                                                                                SOMERVILLE         AL      35670‐3231
HOLLAND, BOBBIE J          6910 CEDAR GROVE RD                                                                             BIG SANDY          TN      38221‐5025
HOLLAND, CARLOS A          1326 MCCAMERON AVE                                                                              LOCKPORT           IL      60441‐2710
HOLLAND, CARMEN L          4835 FALCON GROVE DR                                                                            INDIANAPOLIS       IN      46254‐1987
HOLLAND, CARMEN LORRAINE   4835 FALCON GROVE DR                                                                            INDIANAPOLIS       IN      46254‐1987
HOLLAND, CAROLYN           100 HARTSOUGH ST                                                                                PLYMOUTH           MI      48170‐1915
HOLLAND, CATHERINE M       5724 SHANNON LN                                                                                 CLARKSTON          MI      48348‐5165
HOLLAND, CECIL C           12482 SE 173RD LN                                                                               SUMMERFIELD        FL      34491‐1813
HOLLAND, CECIL E           2909 S SHELEY RD                                                                                INDEPENDENCE       MO      64052‐3018
HOLLAND, CHARLENE          5495 LANCASTER HILL APT. 39                                                                     CLARKSTON          MI      48346
HOLLAND, CHARLES           3731 CLEVELAND AVE                                                                              KANSAS CITY        MO      64128‐2636
HOLLAND, CHARLES A         6655 JACKSON RD UNIT 722                                                                        ANN ARBOR          MI      48103‐9681
HOLLAND, CHARLES L         3661 PARMENTER RD                                                                               DURAND             MI      48429‐9757
HOLLAND, CHARLES P         PO BOX 355                                                                                      DALLAS             GA      30132‐0007
HOLLAND, CHARLES R         PO BOX 1012                                                                                     WELAKA             FL      32193‐1012
HOLLAND, CHERYL A          PO BOX 226                                                                                      NORTH SALEM        IN      46165‐0226
HOLLAND, CHRISTOPHER J     3520 NIXON RD                                                                                   POTTERVILLE        MI      48876‐9758
HOLLAND, CLARA J           3520 NIXON RD                                                                                   POTTERVILLE        MI      48876‐9758
HOLLAND, CLAUDE A          7642 S 250 E                                                                                    MARKLEVILLE        IN      46056‐9771
HOLLAND, CONNIE S          105 E ANN ARBOR AVE                                                                             PONTIAC            MI      48340‐1905
HOLLAND, CYNTHIA K         1360 FLUSHING RD                                                                                FLUSHING           MI      48433‐2295
HOLLAND, CYNTHIA KAY       1360 FLUSHING RD                                                                                FLUSHING           MI      48433‐2295
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Name                           Address1                          Address2                          Address3   Address4               City            State   Zip
HOLLAND, DALE L                1509 SAN ANTONIO CREEK RD                                                                             SANTA BARBARA    CA     93111‐1319
HOLLAND, DANA T                1474 MAHOGANY CHASE NW                                                                                ACWORTH          GA     30101‐7854
HOLLAND, DANA T                3118 SOUTH BAGGETT RD                                                                                 WINSTON          GA     30187‐1420
HOLLAND, DANIEL J              1340 W 97TH AVE                                                                                       CROWN POINT      IN     46307‐2460
HOLLAND, DANIEL L              944 WAUREGAN DR                                                                                       HOPE             MI     48628
HOLLAND, DANNIE E              8218 AUTUMN MILL LN                                                                                   INDIANAPOLIS     IN     46256‐3443
HOLLAND, DANNY R               14 RECORDS DR                                                                                         ANDERSON         IN     46013‐3703
HOLLAND, DAVID C               14636 PINE LAKE ST                                                                                    CLERMONT         FL     34711‐7170
HOLLAND, DAVID J               4649 PIER DR                                                                                          TROY             MI     48098‐4180
HOLLAND, DAVID L               1029 N EAST ST                                                                                        FENTON           MI     48430‐1585
HOLLAND, DELBERT L             3366 VAN CAMPEN RD                                                                                    FLINT            MI     48507‐3307
HOLLAND, DELMAR G              3881 VALACAMP AVE SE                                                                                  WARREN           OH     44484‐3314
HOLLAND, DELORES               3881 VALACAMP SE                                                                                      WARREN           OH     44484‐6838
HOLLAND, DENNIS M              5170 S CLARENDON ST                                                                                   DETROIT          MI     48204‐2922
HOLLAND, DOLORES J             1104 CRESTVIEW LN                                                                                     STEWARTSTOWN     PA     17363‐8383
HOLLAND, DONALD J              645 PINE ST                                                                                           HURST            TX     76053‐5529
HOLLAND, DONALD J              5517 CLUB HOUSE DR                                                                                    FORT WORTH       TX     76148‐4006
HOLLAND, DONALD J              8809 CARRIAGE LN                                                                                      PENDLETON        IN     46064‐9341
HOLLAND, DONALD S              9901 N ORACLE RD APT 3207                                                                             ORO VALLEY       AZ     85704‐7989
HOLLAND, DONALD S              502 PARK PL                                                                                           MARSHALL         TX     75672‐5862
HOLLAND, DONALD SCOTT          502 PARK PL                                                                                           MARSHALL         TX     75672‐5862
HOLLAND, DONALD TRUCKING INC   MAIN STREET RD                                                                                        KEOKUK            IA    52632
HOLLAND, DONALD W              12228 N ELMS RD                                                                                       CLIO             MI     48420‐9467
HOLLAND, DONNA M               PO BOX 24818                                                                                          MIDDLE RIVER     MD     21220‐0818
HOLLAND, DONNIE                3342 E 150 N                                                                                          ANDERSON         IN     46012‐9747
HOLLAND, DORIS M               PO BOX 242                                                                                            BARRYTON         MI     49305
HOLLAND, DOROTHY S             1119 JENNA DR                                                                                         DAVISON          MI     48423‐3603
HOLLAND, DOUGLAS M             9191 STEPHANIE ST                                                                                     DAYTON           OH     45458
HOLLAND, DUANE A               CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                     CLEVELAND        OH     44115
                               GAROFOLI                          FL
HOLLAND, DWIGHT                11701 CHANT LN UNIT 3                                                                                 ZIONSVILLE      IN      46077‐7011
HOLLAND, EDGAR W               1290 PLATINUM DR                                                                                      HOSCHTON        GA      30548‐1789
HOLLAND, EDNA M                155 LAUREL CIR                                                                                        LAVONIA         GA      30553‐2144
HOLLAND, EDNA S                486 HAMMERSTEIN RD LOT 181                                                                            WHEELERSBURG    OH      45694‐8018
HOLLAND, EDNA S                486‐181 HAMMERSTIEN RD                                                                                WHEELERSBURG    OH      45694‐8018
HOLLAND, ELBERT J              2871 N BOGAN RD 618                                                                                   BUFORD          GA      30519
HOLLAND, ELMER                 ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                           BALTIMORE       MD      21202
                                                                 CHARLES CENTER 22ND FLOOR
HOLLAND, ELMER                 6432 WHITAKER FARMS DR                                                                                INDIANAPOLIS    IN      46237‐8509
HOLLAND, ELMER G               11905 E JACKSON ST                                                                                    PARKER CITY     IN      47368‐9442
HOLLAND, ERNEST L              709 W 37TH ST                                                                                         ANDERSON        IN      46013‐4009
HOLLAND, ERNIE                 8872 FLEENER CT                                                                                       AVON            IN      46123‐8952
HOLLAND, EULA J.               47 WOODROW ST                                                                                         HAMILTON        OH      45013‐1556
HOLLAND, EVERETTE E            11825 LANSDOWNE ST                                                                                    DETROIT         MI      48224
HOLLAND, FLETCHER J            17231 RICHARD ST                                                                                      SOUTHFIELD      MI      48075‐2942
HOLLAND, FLORA                 17301 CICOTTE                                                                                         ALLEN PARK      MI      48101‐3118
HOLLAND, FLORA                 17301 CICOTTE AVE                                                                                     ALLEN PARK      MI      48101‐3118
HOLLAND, FLOYD D               PO BOX 3453                                                                                           SEBRING         FL      33871‐3453
HOLLAND, FRANK L               100 GRAYSON WAY                                                                                       GEORGETOWN      KY      40324‐8620
HOLLAND, FRANKLIN D            313 E SOUTH ST                                                                                        WEST UNION      OH      45693‐1415
HOLLAND, FREDERICK C           197 CEDARDALE AVE                                                                                     PONTIAC         MI      48341‐2723
HOLLAND, GARLAND B             3539 OAK KNOLL DR                                                                                     MARIETTA        GA      30068‐3943
HOLLAND, GARRY W               3717 S EWING ST                                                                                       INDIANAPOLIS    IN      46237‐1256
HOLLAND, GARY R                11869 S OLD TOWER RD                                                                                  BALDWIN         MI      49304‐8739
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Name                     Address1                        Address2                       Address3   Address4               City               State   Zip
HOLLAND, GENE A          3045 BURSON DR                                                                                   SHREVEPORT          LA     71118‐3707
HOLLAND, GEORGE          9317 E NACOMA DR                                                                                 SUN LAKES           AZ     85248‐7455
HOLLAND, GEORGE E        KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                     CLEVELAND           OH     44114
                                                         BOND COURT BUILDING
HOLLAND, GEORGE F        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA     23510‐2212
                                                         STREET, SUITE 600
HOLLAND, GEORGE H        3120 SAINT FLORENCE TER                                                                          OLNEY              MD      20832‐1631
HOLLAND, GERARD E        442 S PADDOCK ST                                                                                 PONTIAC            MI      48341‐3029
HOLLAND, GLORIA J        711 PRESTON CT                                                                                   ROCHESTER HILLS    MI      48307‐4596
HOLLAND, GREGORY A       2760 LEXINGTON AVE NW                                                                            WARREN             OH      44485‐1534
HOLLAND, GUIN E          129 BENNETT RD                                                                                   EVA                AL      35621‐8703
HOLLAND, GUY L           2862 RAINEY RD                                                                                   TEMPLE             GA      30179‐3122
HOLLAND, HAROLD F        1041 WHEATRIDGE CT                                                                               BURTON             MI      48509‐2373
HOLLAND, HAROLD H        5307 LIPPINCOTT RD                                                                               LAPEER             MI      48446‐9711
HOLLAND, HAROLD L        1409 RANCHO VISTA DR                                                                             MC KINNEY          TX      75070‐6336
HOLLAND, HARRIS C        1464 W 33RD ST                                                                                   INDIANAPOLIS       IN      46208‐4547
HOLLAND, HAYLEE A        502 PARK PLACE DR                                                                                MARSHALL           TX      75672
HOLLAND, HEATHER C       590 KIMBERLY APT 301                                                                             LAKE ORION         MI      48362
HOLLAND, HELEN L         2939 CLEMENT ST                                                                                  FLINT              MI      48504‐3041
HOLLAND, HENRIETTA       320 W IROQUOIS RD                                                                                PONTIAC            MI      48341‐1537
HOLLAND, HENRY M         96 ATRIUM DR                                                                                     BRICK              NJ      08723‐6279
HOLLAND, HERBERT ALLEN   MOODY EDWARD O                  801 W 4TH ST                                                     LITTLE ROCK        AR      72201‐2107
HOLLAND, HERBERT L       2326 107TH AVE                                                                                   OAKLAND            CA      94603‐4009
HOLLAND, HERMAN L        3011 SPOTTSWOOD CIR                                                                              MURFREESBORO       TN      37128‐5051
HOLLAND, HOMER WAYNE     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA      23510‐2212
                                                         STREET, SUITE 600
HOLLAND, INELL           329 W BAKER ST                                                                                   FLINT               MI     48505‐4102
HOLLAND, IOLENE          305 W MAIN ST APT A6                                                                             HARBOR SPRINGS      MI     49740‐1450
HOLLAND, IRENE           1625 S DRAPER STREET                                                                             INDIANAPOLIS        IN     46203
HOLLAND, IRENE           1625 DRAPER ST                                                                                   INDIANAPOLIS        IN     46203‐2813
HOLLAND, IRMA L          1410 PARKVIEW DR                                                                                 MONROE              LA     71202‐3050
HOLLAND, JACK H          APT 829                         36550 GRAND RIVER AVENUE                                         FARMINGTON          MI     48335‐3069
HOLLAND, JACKIE H        43600 NAVES CT                                                                                   CLINTON TOWNSHIP    MI     48038‐6421

HOLLAND, JAMAL D         1065 CROWN RIVER PKWY                                                                            MCDONOUGH          GA      30252‐4543
HOLLAND, JAMAL D.        1065 CROWN RIVER PKWY                                                                            MCDONOUGH          GA      30252‐4543
HOLLAND, JAMES           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH      44067
                                                         PROFESSIONAL BLDG
HOLLAND, JAMES D         422 INNWOOD RD                                                                                   SIMI VALLEY        CA      93065‐6816
HOLLAND, JAMES D         2306 PARADISE DR APT 123                                                                         RENO               NV      89512‐2799
HOLLAND, JAMES E         1631 BRANDYWINE DR                                                                               CHARLOTTESVILLE    VA      22901‐2801
HOLLAND, JAMES E         PO BOX 725                                                                                       LYNCH              KY      40855
HOLLAND, JAMES F         6529 THORNEYCROFT DR                                                                             SHELBY TWP         MI      48316‐3350
HOLLAND, JAMES H         960 CENTRAL DR                                                                                   LAKE ORION         MI      48362‐2321
HOLLAND, JAMES H         1416 MONTCLAIR ST                                                                                ARLINGTON          TX      76015‐1400
HOLLAND, JAMES L         4929 S GRAMERCY PL                                                                               LOS ANGELES        CA      90062‐2246
HOLLAND, JAMES L         911 CORD ST                                                                                      BALTIMORE          MD      21220‐4507
HOLLAND, JAMES LAMAR     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA      23510‐2212
                                                         STREET, SUITE 600
HOLLAND, JAMES M         1340 MUIR DR                                                                                     RENO                NV     89503‐2646
HOLLAND, JAMES M         PO BOX 218                                                                                       ROACHDALE           IN     46172‐0218
HOLLAND, JAMES P         214 S ALDER DR                                                                                   ORLANDO             FL     32807‐4975
HOLLAND, JAMES R         235 SHAW RD NW                                                                                   HARTSELLE           AL     35640‐2137
HOLLAND, JAMES ROBERT    235 SHAW RD NW                                                                                   HARTSELLE           AL     35640‐2137
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Name                       Address1                      Address2            Address3         Address4               City             State   Zip
HOLLAND, JAMES T           PO BOX 352                                                                                NEW LOTHROP       MI     48460‐0352
HOLLAND, JAMES V           11222 PFLUMM RD                                                                           LENEXA            KS     66215‐4811
HOLLAND, JANE S            122 BAYLEAF LN                                                                            MADISON           MS     39110‐9748
HOLLAND, JANETTE           18675 PARKLAND DR APT 503                                                                 SHAKER HEIGHTS    OH     44122‐3468
HOLLAND, JEANNETTE D       5038 TREEHILL RD                                                                          GRAND BLANC       MI     48439‐2052
HOLLAND, JEFFREY A         34 TOPEKA                                                                                 IRVINE            CA     92604‐2556
HOLLAND, JEFFREY A         1845 ANAHEIM AVE UNIT 13A                                                                 COSTA MESA        CA     92627‐5016
HOLLAND, JEFFREY A         635 NEWBURG RD                                                                            ALBION            MI     49224‐9208
HOLLAND, JERALD T          211 KATE DR                                                                               SIKESTON          MO     63801‐4904
HOLLAND, JERIMOND D        1902 SOUTHWOODS RD                                                                        ANDERSON          IN     46012‐2750
HOLLAND, JERRY B           4809 PALMER AVE                                                                           KANSAS CITY       MO     64129‐2056
HOLLAND, JERRY T           PO BOX 585                                                                                JUSTIN            TX     76247‐0585
HOLLAND, JESSYCA           5206 BLACKBERRY CREEK                                                                     BURTON            MI     48519‐1941
HOLLAND, JIM
HOLLAND, JIMMIE K          1102 LAKEVIEW DR                                                                          LAKE ODESSA      MI      48849‐1297
HOLLAND, JIMMY D           761 HIGHWAY 324                                                                           VINA             AL      35593‐3133
HOLLAND, JIMMY E           365 CREEKSIDE CT                                                                          ROSWELL          GA      30076
HOLLAND, JOAN E            3471 CREEK RD                                                                             YOUNGSTOWN       NY      14174‐1367
HOLLAND, JOANN             117 W YPSILANTI AVE                                                                       PONTIAC          MI      48340‐1874
HOLLAND, JOANN             P O BOX 146                                                                               MOSCOW           OH      45153‐0146
HOLLAND, JOANN             PO BOX 146                                                                                MOSCOW           OH      45153‐0146
HOLLAND, JOE B             159 REHOBOTH CHURCH RD                                                                    NEWBERN          TN      38059‐4431
HOLLAND, JOHN              PORTER & MALOUF PA            4670 MCWILLIE DR                                            JACKSON          MS      39206‐5621
HOLLAND, JOHN B            500 REED ST                                                                               ROANOKE          TX      76262‐6649
HOLLAND, JOHN C            3293 MEANDERWOOD DR                                                                       CANFIELD         OH      44406‐8634
HOLLAND, JOHN M            5038 TREEHILL RD                                                                          GRAND BLANC      MI      48439‐2052
HOLLAND, JOHN W            PO BOX 30122                                                                              JEWELL           OH      43530‐0122
HOLLAND, JOHNNIE R         209 LAKE ST APT 3                                                                         BEAVER DAM       WI      53916‐1251
HOLLAND, JOHNNY J          3305 CATON FARM RD                                                                        JOLIET           IL      60431‐1230
HOLLAND, JOHNNY M          12252 JERRIES LN                                                                          FLORISSANT       MO      63033‐4408
HOLLAND, JOSEPH H          8271 DENWOOD DR APT 1                                                                     STERLING HTS     MI      48312‐5968
HOLLAND, JOSEPH L          5540 HOLLISTER DR                                                                         INDIANAPOLIS     IN      46224‐3322
HOLLAND, JOSEPH R          245 TUMBLEWEED CT                                                                         MILLSAP          TX      76066‐3312
HOLLAND, JOYCE J           8809 CARRIAGE LN                                                                          PENDLETON        IN      46064‐9341
HOLLAND, JUANITA           7039 WINDRIDGE LANE                                                                       FLINT            MI      48507‐4693
HOLLAND, JUANITA           PO BOX 162                                                                                RICH SQUARE      NC      27869‐0162
HOLLAND, JUNE              249 E 24TH ST                                                                             RIVIERA BEACH    FL      33404‐4516
HOLLAND, JUNE              249 E. 24TH                                                                               RIVIERA BEACH    FL      33404‐4516
HOLLAND, KATHERINE         522 PRATER WAY                                                                            SPARKS           NV      89431‐4536
HOLLAND, KATHLEEN E        4649 PIER DR                                                                              TROY             MI      48098‐4180
HOLLAND, KATHRYN T         3445 CAPITOL WAY                                                                          HIGHLAND         MI      48356‐1605
HOLLAND, KATHRYN THERESA   3445 CAPITOL WAY                                                                          HIGHLAND         MI      48356‐1605
HOLLAND, KENNETH E         538 LANKAMP ST NW                                                                         GRAND RAPIDS     MI      49544‐1941
HOLLAND, KENNETH E         23808 CABBAGE RIDGE RD                                                                    ELKMONT          AL      35620‐7603
HOLLAND, KENNETH F         8755 HENRY RD                                                                             PINCKNEY         MI      48169‐9138
HOLLAND, KENNETH W         8115 FENDLER DR                                                                           INDIANAPOLIS     IN      46259‐9796
HOLLAND, KEVIN D           2613 W 39TH ST                                                                            ANDERSON         IN      46011‐5026
HOLLAND, KEVIN S           11117 NEW CUT RD                                                                          ATHENS           AL      35611‐6380
HOLLAND, L T               3716 36TH AVE                                                                             MERIDIAN         MS      39305‐3605
HOLLAND, LANNY M           9517 MARY DAVIS HOLLOW RD                                                                 ATHENS           AL      35614‐3215
HOLLAND, LARK              6325 30TH AVE SW                                                                          SEATTLE          WA      98126‐3166
HOLLAND, LARRY D           1067 SMART RD                                                                             MANSFIELD        OH      44903‐9667
HOLLAND, LARRY E           5076 MARK DAVID DR                                                                        SWARTZ CREEK     MI      48473‐8500
HOLLAND, LARRY E           2939 CLEMENT ST                                                                           FLINT            MI      48504‐3041
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Name                   Address1                          Address2          Address3         Address4               City              State   Zip
HOLLAND, LARRY EARLY   5076 MARK DAVID DR                                                                          SWARTZ CREEK       MI     48473‐8500
HOLLAND, LARRY R       11710 MANDARIN FOREST DR                                                                    JACKSONVILLE       FL     32223‐1798
HOLLAND, LARRY R       5528 IRISH RD                                                                               GRAND BLANC        MI     48439‐9754
HOLLAND, LAURENA M     6696 W KNOLLWOOD                                                                            WEST BLOOMFIELD    MI     48322‐3958

HOLLAND, LAWRENCE      28055 FONTANA DR                                                                            SOUTHFIELD        MI      48076‐2450
HOLLAND, LAWRENCE E    100 HARTSOUGH ST                                                                            PLYMOUTH          MI      48170‐1915
HOLLAND, LEE A         8900 CARROLL RD                                                                             BILOXI            MS      39532‐9703
HOLLAND, LEE R         2012 PUTNAM ST                                                                              SANDUSKY          OH      44870
HOLLAND, LEONE L       715 E SCOTT ST                                                                              GRAND LEDGE       MI      48837‐2049
HOLLAND, LINDA
HOLLAND, LINDA F       11480 LOCH NESS DR                                                                          HILLSBORO         OH      45133‐9372
HOLLAND, LINDA F       11480 LOCHNESS                                                                              HILLSBORO         OH      45133‐9372
HOLLAND, LINDA L       39086 GRANT ST                                                                              LISBON            OH      44432
HOLLAND, LINDA L
HOLLAND, LINDA M       1855 OWOSSO AVE                                                                             OWOSSO            MI      48867‐3940
HOLLAND, LINDA R       7532 S EVANSTON AVE                                                                         TULSA             OK      74136‐5615
HOLLAND, LINDA S       131 COUNTY ROAD 367                                                                         TRINITY           AL      35673‐4618
HOLLAND, LOIS G        750 CHESTNUT ST RM 128                                                                      GREENVILLE        OH      45331
HOLLAND, LONNIE R      3535 HIGHWAY T                                                                              ROSEBUD           MO      63091‐1714
HOLLAND, LOTTIE A      PO BOX 35                                                                                   EVA               TN      38333‐0035
HOLLAND, LOUIS W       10822 ELTZROTH RD                                                                           GOSHEN            OH      45122‐9639
HOLLAND, LOZY          PO BOX 176                                                                                  SPRING HILL       TN      37174‐0176
HOLLAND, LUTHER W      5772 PILGRIM DR                                                                             INDIANAPOLIS      IN      46254‐1087
HOLLAND, LUZ M         229 SEVILLE DR                                                                              ROCHESTER         NY      14617‐3831
HOLLAND, LYDLE B       3461 SAXON STREET                                                                           BURTON            MI      48519‐1049
HOLLAND, LYLE          220 S ROANOKE AVE                                                                           YOUNGSTOWN        OH      44515‐3549
HOLLAND, LYNN R        590 NEWPORT ST                                                                              DETROIT           MI      48215‐3212
HOLLAND, MAHLON J      24486 HOLLAND LN                                                                            ATHENS            AL      35613‐6635
HOLLAND, MARCIA        1115 BRENTON DR NW                                                                          KENNESAW          GA      30144‐2762
HOLLAND, MARGARET A    201 E ELIZABETH ST #305                                                                     FENTON            MI      48430
HOLLAND, MARGARET A    2420 COVE CIR NE                                                                            ATLANTA           GA      30319‐3704
HOLLAND, MARIE L       1530 W AVE K‐8 #54                                                                          LANCASTER         CA      93534
HOLLAND, MARIE M       22860 VALLEY VISTA CIR                                                                      WILDOMAR          CA      92595‐8336
HOLLAND, MARILYN L     840 E SULLIVAN LN                                                                           MARION            IN      46953‐5376
HOLLAND, MARILYN L     840 SULLIVAN LN                                                                             MARION            IN      46953‐5376
HOLLAND, MARION W      11188 DUFFIELD RD                                                                           MONTROSE          MI      48457‐9401
HOLLAND, MARK A        134 OLD FORGE CREEK CIR                                                                     MOUNTAIN CITY     TN      37683‐5155
HOLLAND, MARQUEETTA    1118 ASHLEY LAKES DR                                                                        NORCROSS          GA      30092‐5634
HOLLAND, MARTHA        1099 COUNTY ROAD 62                                                                         MOULTON           AL      35650‐4703
HOLLAND, MARY B        6200 LITTLE MOUNTAIN RD                                                                     CLOVER            SC      29710‐9171
HOLLAND, MARY E        1177 CARMEN STREET                                                                          BURTON            MI      48529‐1117
HOLLAND, MARY E        1177 CARMAN ST                                                                              BURTON            MI      48529‐1117
HOLLAND, MARY F        479 E PACES FERRY RD NE APT 304                                                             ATLANTA           GA      30305‐3308
HOLLAND, MARY L        1170 ALMUS RD                                                                               WINGO             KY      42088‐8817
HOLLAND, MARY R        605 GALBARTH                                                                                HENDERSON         TN      38340‐1109
HOLLAND, MAURICE E     19482 BURGESS                                                                               DETROIT           MI      48219‐1820
HOLLAND, MICHAEL C     10384 S LUCE RD                                                                             PERRINTON         MI      48871‐9751
HOLLAND, MICHAEL D     5806 TROY VILLA BLVD.                                                                       HUBER HEIGHTS     OH      45424‐2650
HOLLAND, MICHAEL D     801 N COLLEGE DR                                                                            CEDARTOWN         GA      30125‐2057
HOLLAND, MICHAEL J     30 ADAMS AVE                                                                                PERU              IN      46970‐1034
HOLLAND, MICHAEL L     1215 NE PRAIRIE LN                                                                          LEES SUMMIT       MO      64086‐5301
HOLLAND, MICHAEL R     5701 E GRAND RIVER AVE                                                                      PORTLAND          MI      48875‐9644
HOLLAND, MICHAEL W     12913 HARRISON DR                                                                           CARMEL            IN      46033‐9350
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Name                          Address1                       Address2                      Address3   Address4               City            State   Zip
HOLLAND, NATALIA I            20 SHORELANDS DR                                                                               MADISON          CT     06443‐2829
HOLLAND, NORVAL D             PO BOX 355                                                                                     GRAWN            MI     49637‐0355
HOLLAND, OCTAVINE G           1422 W COURT ST                                                                                FLINT            MI     48503‐5008
HOLLAND, OSCAR                21 STATION CIRCLE DR APT 2                                                                     CABOT            AR     72023‐9217
HOLLAND, OUIDA F              PO BOX 426                                                                                     ARMUCHEE         GA     30105‐0426
HOLLAND, PATRICK J            3711 KEMMAN AVE                                                                                BROOKFIELD        IL    60513‐1520
HOLLAND, PAUL R               3826 MAY CENTER RD                                                                             LAKE ORION       MI     48360‐2512
HOLLAND, PAUL S               8195 W MOUNT HOPE HWY                                                                          VERMONTVILLE     MI     49096‐8746
HOLLAND, R L                  423 PALO VERDE DR                                                                              LEESBURG         FL     34748‐8809
HOLLAND, RALPH F              2091 OAK RUN DR N                                                                              INDIANAPOLIS     IN     46260
HOLLAND, RANDALL W            2612 COUNTY ROAD 531                                                                           BURLESON         TX     76028‐2122
HOLLAND, RANDY                105 EAST ANN ARBOR AVENUE                                                                      PONTIAC          MI     48340‐1905
HOLLAND, RAYMOND G            1247 JONESVILLE LOCKHART HWY                                                                   UNION            SC     29379‐7713
HOLLAND, REDELL E             4 WINTHROP AVE                                                                                 TAUNTON          MA     02780
HOLLAND, RENNAE               8920 BRADY                                                                                     REDFORD          MI     48239‐1532
HOLLAND, RICHARD A            26 MARTA DR                                                                                    WILMINGTON       DE     19808‐4854
HOLLAND, RICHARD E            28635 34TH AVE                                                                                 MATTAWAN         MI     49071‐9740
HOLLAND, RICHARD H            715 S ELM ST                                                                                   GARDNER          KS     66030‐1641
HOLLAND, RICHARD W            3320 THORNTON DR                                                                               JANESVILLE       WI     53548‐9186
HOLLAND, RICHARD WAYNE        3320 THORNTON DR                                                                               JANESVILLE       WI     53548‐9186
HOLLAND, RICKIE D             2060 WOODLAKE DR                                                                               BENTON           LA     71006‐9372
HOLLAND, ROBERT               799 STEWART AVE                                                                                COLUMBUS         OH     43206‐3046
HOLLAND, ROBERT D             COLAVECCHI RYAN & COLAVECCHI   221 E MARKET ST                                                 CLEARFIELD       PA     16830‐2424
HOLLAND, ROBERT G             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                             STREET, SUITE 600
HOLLAND, ROBERT L             2240 W 53RD ST                                                                                 CLEVELAND       OH      44102‐4449
HOLLAND, ROBERT S             139 MARK TWAIN LN                                                                              ROTONDA WEST    FL      33947‐2142
HOLLAND, ROBERTA I            405 GIN RD                                                                                     FRIENDSHIP      TN      38034‐2019
HOLLAND, ROGER E              1102 S LOCUST ST                                                                               SWEET SPRINGS   MO      65351‐1519
HOLLAND, ROGER E              28601 ELMAKER RD                                                                               ALMA            MO      64001‐8155
HOLLAND, ROGER E              5912 DEAN RD                                                                                   ALMA            AR      72921‐8532
HOLLAND, ROGER L              5724 SHANNON LN                                                                                CLARKSTON       MI      48348‐5165
HOLLAND, ROLAND               FARACI & LANGE                 400 CROSSROADS BLDG, 45                                         ROCHESTER       NY      14614
                                                             EXCHANGE STREET
HOLLAND, RONALD G             419 E 14TH ST                                                                                  ANDERSON        IN      46016‐1846
HOLLAND, RONALD J             5393 TALL OAKS DR                                                                              FLINT           MI      48507‐3678
HOLLAND, RONALD W             44759 BROOKSIDE RD                                                                             PLYMOUTH        MI      48170‐3849
HOLLAND, ROSANNA B            33277 E 62ND ST                                                                                BROKEN ARROW    OK      74014‐8417
HOLLAND, ROSE                 610 WATER ST MAYO MANOR                                                                        NORTHFIELD      VT      05663
HOLLAND, ROSE I               1908 TEMPLEGATE DR                                                                             MCKINNEY        TX      75070
HOLLAND, ROSE I               APT 2001                       3440 CORINTH PARKWAY                                            CORINTH         TX      76208‐1304
HOLLAND, ROSEMARY C           1059 E MANDEVILLE ST                                                                           BURTON          MI      48529‐1124
HOLLAND, ROSEMARY CHRISTINE   1059 E MANDEVILLE ST                                                                           BURTON          MI      48529‐1124
HOLLAND, ROSEMARY D           535 W MAIN ST                                                                                  GRAND LEDGE     MI      48837‐1041
HOLLAND, ROY A                5439 RICHFIELD RD                                                                              FLINT           MI      48506‐2240
HOLLAND, RUBY                 C/O THE LIPMAN LAW FIRM        5915 PONCE DE LEON BLVD       SUITE 44                          CORAL GABLES    FL      33146
HOLLAND, RUTH E               2211 OLD SPRINGFIELD RD                                                                        VANDALIA        OH      45377‐9347
HOLLAND, RUTH J               3420 BARBEE DR                                                                                 DAYTON          OH      45406‐1105
HOLLAND, RUTH M               105 E ANN ARBOR AVE                                                                            PONTIAC         MI      48340‐1905
HOLLAND, SAMMIE               9353 S VANDERPOEL AVE                                                                          CHICAGO         IL      60643‐5853
HOLLAND, SAMUEL               60 WILLOW DR                                                                                   NEW ROCHELLE    NY      10805‐2307
HOLLAND, SAMUEL               GEORGE & SIPES                 151 N DELAWARE ST STE 1700                                      INDIANAPOLIS    IN      46204‐2503
HOLLAND, SARALEE A            812 E. MILL STREET             PO BOX 126                                                      SUMMITVILLE     IN      46070‐9717
HOLLAND, SCOTT E              3 BROADMOOR                                                                                    PRESCOTT        AZ      86305
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Name                       Address1                       Address2                      Address3   Address4               City            State   Zip
HOLLAND, SCOTTIE E         8900 CARROLL RD                                                                                BILOXI           MS     39532‐9703
HOLLAND, SHARON R          402 EDGEMONT CIR                                                                               VINTON           VA     24179‐1582
HOLLAND, SHARON R          5711 FAULCONBRIDGE RD                                                                          CHARLOTTE        NC     28227‐2520
HOLLAND, SHELBY J          PO BOX 2443                                                                                    CLEVELAND        GA     30528‐0044
HOLLAND, SHERRY E          2499 W MAPLE AVE 0                                                                             FLINT            MI     48507
HOLLAND, SHIRLEE A         154 MERANO ST                                                                                  DANVILLE         CA     94526‐1969
HOLLAND, SHIRLEY A         2206 WASHINGTON ROAD                                                                           LANSING          MI     48911
HOLLAND, STANLEY J         1130 INDIAN MOUND DR                                                                           ANDERSON         IN     46013‐1203
HOLLAND, STEPHEN E         2203 E 100 N                                                                                   KOKOMO           IN     46901‐3418
HOLLAND, STEPHEN M         980 HEATHERWOODE CIR                                                                           SPRINGBORO       OH     45066‐1533
HOLLAND, STERLING B        401 MINTWOOD WAY                                                                               GLENCOE          AL     35905‐1457
HOLLAND, STEVE L           164 CARDINAL CIR                                                                               LAWSON           MO     64062‐9314
HOLLAND, STEVEN W          1008 N RIVERSIDE AVE                                                                           SAINT CLAIR      MI     48079‐4268
HOLLAND, STOY R            206 RIDGEFIELD DR                                                                              BOSSIER CITY     LA     71111‐2369
HOLLAND, STOY REX          206 RIDGEFIELD DR                                                                              BOSSIER CITY     LA     71111‐2369
HOLLAND, T M               874 ARMISTEAD DR                                                                               HAMILTON         OH     45013‐2027
HOLLAND, TAMBRA A          204 CALUMET LN                                                                                 DAYTON           OH     45427‐1908
HOLLAND, TERRY M           5350 BARR RD                                                                                   CANTON           MI     48188‐2131
HOLLAND, TERRY N           1455 HURON LINE RD                                                                             UNIONVILLE       MI     48767
HOLLAND, THELMA L          203 OELKERS ST                                                                                 NORTH            NY     14120‐4027
                                                                                                                          TONAWANDA
HOLLAND, THERESA R         1228 E MULBERRY ST                                                                             KOKOMO           IN     46901‐4948
HOLLAND, THOMAS ABRAHAM    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                          STREET, SUITE 600
HOLLAND, THOMAS J          417 E 5TH ST                                                                                   MC DONALD       OH      44437‐1812
HOLLAND, THOMAS P          909 N OXFORD DR                                                                                MARION          IN      46952‐2518
HOLLAND, TIMOTHY B         112 MEYER AVE                                                                                  DAYTON          OH      45431‐1949
HOLLAND, TIMOTHY L         PO BOX 226                                                                                     NORTH SALEM     IN      46165‐0226
HOLLAND, TOMMY C           3075 SIERRA HWY APT 20                                                                         ROSAMOND        CA      93560‐7351
HOLLAND, TOMMY L           3018 FETLOCK DRIVE SOUTHWEST                                                                   MARIETTA        GA      30064‐4466
HOLLAND, VANCE D           839 POTOSI ST                                                                                  FARMINGTON      MO      63640‐3304
HOLLAND, VELMER D          9523 SANDY VALLEY ROAD                                                                         HILLSBORO       MO      63050‐2703
HOLLAND, VERNA M           5806 TROY VILLA BLVD.                                                                          HUBER HEIGHTS   OH      45424‐2650
HOLLAND, VERNON            PO BOX 144                                                                                     ARCHIBALD       LA      71218‐0144
HOLLAND, VERNON E          PO BOX 144                                                                                     ARCHIBALD       LA      71218‐0144
HOLLAND, VICKI L           223 E STATE ST                                                                                 PENDLETON       IN      46064‐1055
HOLLAND, VICTORIA K        3628 COLUMBUS AVE              APT 5                                                           ANDERSON        IN      46013
HOLLAND, VINCENT E         60 WALDO ST                                                                                    PONTIAC         MI      48341‐1224
HOLLAND, VINCENT E         442 S PADDOCK ST                                                                               PONTIAC         MI      48341‐3029
HOLLAND, VIOLET A          845 N. LEROY ST                                                                                FENTON          MI      48430
HOLLAND, VIOLET A          845 N LEROY ST                                                                                 FENTON          MI      48430‐2739
HOLLAND, W F               5390 JIMTOWN RD                                                                                E PALESTINE     OH      44413‐8746
HOLLAND, WILLIAM           PO BOX 147                                                                                     ASHER           KY      40803‐0147
HOLLAND, WILLIAM A         93 E EDGEWOOD DR                                                                               SPRINGPORT      IN      47386‐9746
HOLLAND, WILLIAM C         3863 HACK RD                                                                                   BRITTON         MI      49229‐9593
HOLLAND, WILLIAM CHARLES   3863 HACK RD                                                                                   BRITTON         MI      49229‐9593
HOLLAND, WILLIAM E         PO BOX 2443                                                                                    CLEVELAND       GA      30528‐0044
HOLLAND, WILLIAM F         38 DEBORAH AVE                                                                                 NEW CASTLE      DE      19720‐3453
HOLLAND, WILLIAM L         5080 FALCON CHASE LN NE                                                                        ATLANTA         GA      30342‐2181
HOLLAND, WILLIAM L         PO BOX 60751                                                                                   DAYTON          OH      45406‐0751
HOLLAND, WILLIE C          229 HOLLAND DR                                                                                 PIKEVILLE       TN      37367‐6208
HOLLAND, WILMA D           1902 SOUTHWOODS RD                                                                             ANDERSON        IN      46012‐2750
HOLLAND, WILMA F           5439 RICHFIELD RD                                                                              FLINT           MI      48506‐2240
HOLLAND, WOODROW           518 LONG STREET                                                                                HAMILTON        OH      45011
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Name                             Address1                          Address2                         Address3                     Address4               City            State   Zip
HOLLAND, ZEB F                   3486 SGUAWASSEE                                                                                                        FENTON           MI     48430
HOLLAND, ZONA                    3102 PLEASANT AVE                                                                                                      HAMILTON         OH     45015‐1741
HOLLAND, ZORA N                  17230 COLVIN ROAD                                                                                                      SAINT CHARLES    MI     48655‐9714
HOLLAND‐AUGUST, SANDRA L         3322 WOLCOTT ST                                                                                                        FLINT            MI     48504‐3200
HOLLAND‐AUGUST, SANDRA LEE       3322 WOLCOTT ST                                                                                                        FLINT            MI     48504‐3200
HOLLAND‐BLAYLOCK, LORETTA M      2909 HILLSIDE AVENUE                                                                                                   INDIANAPOLIS     IN     46218‐2718
HOLLAND‐HERRIMAN, DENISE S       2261 HOLLY TREE DR                                                                                                     DAVISON          MI     48423‐2065
HOLLANDER ALEXIS                 HOLLANDER, DAVID                  POWER & ASSOCIATES               1790 WILMINGTON PIKE SUITE                          GLEN MILLS       PA     19342
                                                                                                    200 THE SPEAKMAN HOUSE

HOLLANDER ALEXIS                 HOLLANDER, ALEXIS                 1790 WILMINGTON PIKE SUITE 200                                                       GLEN MILLS       PA     19342
                                                                   THE SPEAKMAN HOUSE
HOLLANDER, ALEXIS                POWER & ASSOCIATES                1790 WILMINGTON PIKE STE 200                                                         GLEN MILLS      PA      19342‐8121
HOLLANDER, DAVID                 POWER & ASSOCIATES                1790 WILMINGTON PIKE STE 200                                                         GLEN MILLS      PA      19342‐8121
HOLLANDER, KYLE T                122 VININGS BLVD.#122                                                                                                  O FALLON        MO      63366
HOLLANDER, MARLEAH D             6433 FORREST COMMONS BLVD                                                                                              INDIANAPOLIS    IN      46227‐2199
HOLLANDER, MICHAEL E             467 SUMMERFIELD DR                                                                                                     WESTLAND        MI      48185‐9636
HOLLANDER, NANCY M               6341 GATEWAY LN                                                                                                        KNOXVILLE       TN      37920‐5501
HOLLANDER, PATRICK J             9400 OTTOMON WAY                                                                                                       ORANGEVALE      CA      95662‐2845
HOLLANDER, RALPH R               1957 OAKLEIGH WOODS DR NW                                                                                              GRAND RAPIDS    MI      49504‐2590
HOLLANDER, SCOTT E               105 BROWN LANE                                                                                                         WAVERLY         IA      50677‐1317
HOLLANDER, TIMOTHY L             525 COUNTY ROUTE 39                                                                                                    MASSENA         NY      13662‐3455
HOLLANDER, WILLODEAN             473 BELTON ST                                                                                                          GARDEN CITY     MI      48135‐3137
HOLLANDERS, GEERTRUIDA M         1460 E MORGAN ST                                                                                                       MARTINSVILLE    IN      46151‐1750
HOLLANDS, CLARA A                103 W ROUEN DR                                                                                                         CHEEKTOWAGA     NY      14227‐2424
HOLLANDS, DARDA B                6470 KIPAPA RD                                                                                                         KAPAA           HI      96746‐8623
HOLLANDSWORTH LARRY (479259)     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                        NORTHFIELD      OH      44067
                                                                   PROFESSIONAL BLDG
HOLLANDSWORTH WALTER (479260)    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                        NORTHFIELD      OH      44067
                                                                   PROFESSIONAL BLDG
HOLLANDSWORTH WILLIAM (629806)   ANGELOS PETER G                   100 N CHARLES STREET , ONE                                                           BALTIMORE       MD      21201
                                                                   CHARLES CENTER
HOLLANDSWORTH, DENVER J          1837 BUTLERS CHAPEL RD                                                                                                 MARTINSBURG     WV      25403‐0971
HOLLANDSWORTH, DIANE G           1321 JEFFERSON DR                                                                                                      ENGLEWOOD       FL      34224‐4643
HOLLANDSWORTH, JERALD D          7127 TAFT RD                                                                                                           MECOSTA         MI      49332‐9554
HOLLANDSWORTH, JOSEPH K          2606 BRADWOOD RD                                                                                                       WILMINGTON      DE      19810
HOLLANDSWORTH, LARRY             BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                                         NORTHFIELD      OH      44067
                                                                   PROFESSIONAL BLDG
HOLLANDSWORTH, MAGDA             22819 NADINE CIRCLE A                                                                                                  TORRANCE        CA      90505‐2780
HOLLANDSWORTH, ROSEMARY          36 FILLMORE ST                                                                                                         DAYTON          OH      45410‐1844
HOLLANDSWORTH, WALTER            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                                         NORTHFIELD      OH      44067
                                                                   PROFESSIONAL BLDG
HOLLANDSWORTH, WILLIAM           ANGELOS PETER G                   100 N CHARLES STREET, ONE                                                            BALTIMORE       MD      21201
                                                                   CHARLES CENTER
HOLLANDSWORTH, WILLIAM J         124 MAGNOLIA RD                                                                                                        JOPPA           MD      21085‐4811
HOLLANS, LEWIS D                 316 SAVANNAH DR                                                                                                        JONESBORO       AR      72404‐8955
HOLLAR JR, WARREN L              2756 HUDSON AURORA RD                                                                                                  HUDSON          OH      44236‐2328
HOLLAR, CAROL B                  648 HUMPHREY AVE                                                                                                       BIRMINGHAM      MI      48009‐1721
HOLLAR, DOLORES K.               137 MOUNTVIEW CT.                                                                                                      MT. STERLING    OH      43143‐1220
HOLLAR, JAMES A                  14669 HIGH ST                                                                                                          MT STERLING     OH      43143‐9407
HOLLAR, MARIAN L                 1081 NORMANDY TERRACE DR                                                                                               FLINT           MI      48532‐3547
HOLLAR, VIRGINIA                 3300 WARRINGHAM AVE                                                                                                    WATERFORD       MI      48329‐3050
HOLLARMAN, JUDITH A              3509 MELODY LN W                                                                                                       KOKOMO          IN      46902‐7515
HOLLARS ANTHONY                  6445 W LOST CANYON DR D                                                                                                TUCSON          AZ      85745
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Name                         Address1                      Address2                  Address3   Address4               City            State   Zip
HOLLARS JR, JOSEPH R         121 MARGIE DR APT 1014                                                                    WARNER ROBINS    GA     31093
HOLLARS JR, JOSEPH RICHARD   121 MARGIE DR APT 1014                                                                    WARNER ROBINS    GA     31093
HOLLARS PAM                  1800 COLONIAL DR                                                                          MARTINSVILLE     IN     46151‐7279
HOLLARS, AGNES C             18307 CORTLAND AVE                                                                        PORT CHARLOTT    FL     33948
HOLLARS, DOOLEY              1312 W ROBERTS AVE                                                                        MARION           IN     46952‐1948
HOLLARS, JAMES O             2121 GREENSIDE DR                                                                         VALRICO          FL     33594‐3108
HOLLARS, JOHN C              2251 N 900 W 27                                                                           CONVERSE         IN     46919‐9335
HOLLARS, LOUISE              ROUTE 17 BOX 127                                                                          BEDFORD          IN     47421‐9452
HOLLARS, ORA EVELYN          5816 BLISSFIELD CT.                                                                       FORT WAYNE       IN     46818‐1602
HOLLARS, ORVAL T             327 B.J BLVD.                                                                             BEDFORD          IN     47421
HOLLARS, ORVAL T             327 B J BLVD                                                                              BEDFORD          IN     47421‐9141
HOLLARS, PAMELA A            1800 COLONIAL DR                                                                          MARTINSVILLE     IN     46151‐7279
HOLLARS, PAUL M              3482 S 700 E                                                                              MARION           IN     46953‐9555
HOLLARS, PAUL MICHAEL        3482 S 700 E                                                                              MARION           IN     46953‐9555
HOLLARS, ROBERT M            6821 CROWN DR                                                                             BROWNSBURG       IN     46112‐8463
HOLLARS, ROBERT T            PO BOX                                                                                    BEDFORD          IN     47421
HOLLARS, VIVIAN L            3006 GEORGE ST                                                                            ANDERSON         IN     46016‐5447
HOLLARS, WILLIAM C           3006 GEORGE ST                                                                            ANDERSON         IN     46016‐5447
HOLLAS TERRY                 8869 E 800 N                                                                              LOSANTVILLE      IN     47354
HOLLATZ, JAIME S             4536 OAKHURST RIDGE RD                                                                    CLARKSTON        MI     48348‐5071
HOLLATZ, JAIME S.            4536 OAKHURST RIDGE RD                                                                    CLARKSTON        MI     48348‐5071
HOLLATZ, STEPHEN R           4536 OAKHURST RIDGE RD                                                                    CLARKSTON        MI     48348‐5071
HOLLAWAY, BEULAH             8610 YOLANDA                                                                              DETROIT          MI     48234‐3322
HOLLAWAY, EVELYN J           2920 CELIAN DR                                                                            GRAND PRAIRIE    TX     75052‐8737
HOLLAWAY, LEFF M             181 FOREST DR                                                                             LEESBURG         FL     34788‐2646
HOLLAWAY, LEMESTS            5123 S UNION AVE                                                                          CHICAGO           IL    60609‐5234
HOLLAWAY, LISA C             7225 NW DONOVAN DR APT 1206                                                               KANSAS CITY      MO     64153‐2422
HOLLAWAY, MARIE W            911 3RD ST SE                                                                             CULLMAN          AL     35055‐3713
HOLLAWAY, MARIE W            911 3RD. STREET S.E.                                                                      CULLMAN          AL     35055‐3713
HOLLAWAY, NANCY H            1011 LITTLE TURTLE CIR                                                                    BIRMINGHAM       AL     35242‐3283
HOLLAWAY, OLGA G             5860 AMRAP DR                                                                             PARMA HEIGHTS    OH     44130‐1700
HOLLAWAY, TANNY R            654 WOODLAWN AVE                                                                          BUFFALO          NY     14211‐1235
HOLLE, ALLEN J               N48W27963 JERILANE CT                                                                     PEWAUKEE         WI     53072‐1742
HOLLE, DONALD W              30555 MOULIN AVE                                                                          WARREN           MI     48088‐3149
HOLLE, GLENN F               PO BOX 933                                                                                SHOW LOW         AZ     85902‐0933
HOLLE, J J                   3909 FORGE DR                                                                             TROY             MI     48083‐5927
HOLLE, J JARROD              3909 FORGE DR                                                                             TROY             MI     48083‐5927
HOLLE, SUSAN K               3909 FORGE DR                                                                             TROY             MI     48083‐5927
HOLLEBECK, CLIFFORD E        3343 WOODWIND DR NE                                                                       GRAND RAPIDS     MI     49525‐9752
HOLLEBRANDS, CYNTHIA A       15710 BEXLEY ST                                                                           CLINTON TWP      MI     48038‐3204
HOLLEBRANDS, JAY A           31541 IROQUOIS DR                                                                         WARREN           MI     48088‐1871
HOLLEBRANDS, PAMELA J        9027 POINT CHARITY DR                                                                     PIGEON           MI     48755‐9625
HOLLEE DODD                  2705 ROXBURY RD                                                                           COLUMBUS         OH     43219
HOLLEMAN JR, WILLIS B        345 COREY LN                                                                              ORTONVILLE       MI     48462‐9614
HOLLEMAN, ARNOLD D           C/O ROBERT KELDER             725 BALDWIN ST APT 3056                                     JENISON          MI     49428
HOLLEMAN, BONNIE S           1388 HAMMERBURD CT                                                                        FLINT            MI     48507
HOLLEMAN, DAVID A            1305 DEER TRACK TRL                                                                       GRAND BLANC      MI     48439‐8342
HOLLEMAN, JAY L              5533 SHERINGTON RD                                                                        FORT WAYNE       IN     46814‐7513
HOLLEMAN, JOHN T             10915 E GOODALL RD APT 377                                                                DURAND           MI     48429
HOLLEMAN, LEOKADIE           3702 WEST 80TH DRIVE                                                                      WESTMINSTER      CO     80031
HOLLEMAN, LEOKADIE           3702 W 80TH DR                                                                            WESTMINSTER      CO     80031‐3913
HOLLEMAN, LORETTA            125 BELLA VISTA DR #14                                                                    GRAND BLANC      MI     48439‐1588
HOLLEMAN, LOUIS H            711 PETUNIA LN                                                                            BELOIT           WI     53511‐1646
HOLLEMAN, SHEILA K           11087 W CHARNWOOD CT                                                                      SUN CITY         AZ     85351‐1519
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Name                            Address1                       Address2                      Address3   Address4               City              State   Zip
HOLLEMANS, BRIAN M              1440 BERKSHIRE DR SE                                                                           GRAND RAPIDS       MI     49508‐1421
HOLLEMANS, I F                  1440 BERKSHIRE DR SE                                                                           GRAND RAPIDS       MI     49508‐1421
HOLLEMANS, ROSE A               5883 LEISURE SOUTH DR SE                                                                       KENTWOOD           MI     49548‐6855
HOLLEMANS, STEVEN J             1701 HALL ST SE                                                                                GRAND RAPIDS       MI     49506‐3953
HOLLEMANS, THELMA D             200 JEAN ST SW                                                                                 WYOMING            MI     49548‐4253
HOLLEN JOHN T (429117)          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510
                                                               STREET, SUITE 600
HOLLEN ROGER                    8613 RANLEIGHT COURT                                                                           NEWBURGH           IN     47630‐3157
HOLLEN, CAROL L                 1608 E 30TH ST                                                                                 ANDERSON           IN     46016‐5611
HOLLEN, DONALD P                19412 57TH AVE                                                                                 CHIPPEWA FALLS     WI     54729‐9127
HOLLEN, GENE E                  2728 HALFORD ST                                                                                ANDERSON           IN     46016‐4831
HOLLEN, GRACE I                 6200 EP TRUE PKWY APT 152                                                                      WEST DES MOINES    IA     50266‐6204
HOLLEN, JOHN T                  GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                               STREET, SUITE 600
HOLLEN, OLIVIA F                3101 CLOISTER LANE                                                                             DAYTON            OH      45449‐3505
HOLLENBACK, DANIEL L            11329 ROLLING SPRINGS DR                                                                       CARMEL            IN      46033‐3633
HOLLENBACK, DENNIS R            300 JACKSON 32                                                                                 NEWPORT           AR      72112‐9515
HOLLENBACK, FRED L              9991 S BYRON RD                                                                                DURAND            MI      48429‐8908
HOLLENBACK, FRED LEE            9991 S BYRON RD                                                                                DURAND            MI      48429‐8908
HOLLENBACK, JACQUELINE L        5185 SEYMOUR ROAD                                                                              OWOSSO            MI      48867‐9454
HOLLENBACK, JACQUELINE L        5185 N SEYMOUR RD                                                                              OWOSSO            MI      48867‐9454
HOLLENBACK, JAMES L             13241 W TOWNLINE RD                                                                            SAINT CHARLES     MI      48655‐9772
HOLLENBACK, KENNETH L           5110 ROBERTS DR                                                                                FLINT             MI      48506‐1591
HOLLENBACK, LEROY               21 BRISTOL WAY                                                                                 LEWES             DE      19958‐4112
HOLLENBACK, PETER L             248 FRANKLIN ST                                                                                MOUNT MORRIS      MI      48458‐1170
HOLLENBACK, REBECCA E           13325 NEW LOTHROP ROAD                                                                         BYRON             MI      48418
HOLLENBACK, RONALD L            16471 LINCOLN RD                                                                               CHESANING         MI      48616‐9723
HOLLENBACK, SHEILA D.           PO BOX 219                                                                                     GRAND BLANC       MI      48480‐0219
HOLLENBANK, ROSEMARY H          3225 ROSEVIEW AVE S E                                                                          HUBBARD           OH      44425‐1359
HOLLENBANK, ROSEMARY H          3225 ROSEVIEW DR                                                                               HUBBARD           OH      44425‐1359
HOLLENBAUGH JR, JOHN E          37 CINNAMON DRIVE                                                                              CONOWINGO         MD      21918‐1445
HOLLENBAUGH, DAVID W            582 EVERGREEN DR                                                                               LOCKPORT          NY      14094‐9184
HOLLENBAUGH, ETHEL E            PO BOX 33                      108 N EAST STREET                                               GRATIS            OH      45330‐0033
HOLLENBAUGH, KARLA M            3727 E 3RD ST                                                                                  DAYTON            OH      45403‐2235
HOLLENBAUGH, LARRY E            6885 MOSES RD                                                                                  W ALEXANDRIA      OH      45381‐9521
HOLLENBAUGH, NORMAN C           4812 COTTAGE LN                                                                                LOCKPORT          NY      14094‐1640
HOLLENBAUGH, THOMAS S           3920 WELCKER DR.                                                                               WARREN            OH      44483‐4483
HOLLENBAUGH, WILMA L            PO BOX 292                                                                                     JAMESTOWN         CO      80455‐0292
HOLLENBAUGH,KARLA M             3727 E 3RD ST                                                                                  DAYTON            OH      45403‐2235
HOLLENBECK & SATHER SOUTH INC   PO BOX 1204                                                                                    STONE MOUNTAIN    GA      30086‐1204
HOLLENBECK JEFFREY              HOLLENBECK, JEFFREY            210 GRANT STREET SUITE 202                                      PITTSBURGH        PA      15219
HOLLENBECK JR, FRANK            4136 MARATHON RD                                                                               COLUMBIAVILLE     MI      48421‐8958
HOLLENBECK MARY                 28 CALVIN LN                                                                                   NEWBURGH          NY      12550‐1017
HOLLENBECK, ALLEN J             8063 E IMLAY CITY RD                                                                           IMLAY CITY        MI      48444‐9462
HOLLENBECK, BARRY F             6993 LAKEPORT DR                                                                               LAKEPORT          MI      48059‐2210
HOLLENBECK, BERT M              440 PRIMROSE LN                                                                                FLUSHING          MI      48433‐2610
HOLLENBECK, BRUCE R             1125 SIMCOE AVE                                                                                FLINT             MI      48507‐1599
HOLLENBECK, CAROL               425 CHESTNUT ST                                                                                FLUSHING          MI      48433‐1409
HOLLENBECK, DAVID L             13255 DUFFIELD RD                                                                              BYRON             MI      48418‐9010
HOLLENBECK, GENE M              2376 WILLOWDALE DR                                                                             BURTON            MI      48509‐2600
HOLLENBECK, JACK L              2113 KENTUCKY ST                                                                               MIDLAND           MI      48642‐5709
HOLLENBECK, JAMES J             2304 S LINCOLN ST                                                                              BAY CITY          MI      48708‐3814
HOLLENBECK, JOHN D              559 OAKBROOK CIR                                                                               FLUSHING          MI      48433‐1706
HOLLENBECK, KENT F              4626 WALTAN RD                                                                                 VASSAR            MI      48768‐8903
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Name                            Address1                            Address2                        Address3   Address4               City              State   Zip
HOLLENBECK, LINDA J             2376 WILLOWDALE DR                                                                                    BURTON             MI     48509‐2600
HOLLENBECK, LINDA JEAN          2376 WILLOWDALE DR                                                                                    BURTON             MI     48509‐2600
HOLLENBECK, MADELINE L          1923 LANCASTER ST                                                                                     GROSSE POINTE      MI     48236‐1608
HOLLENBECK, PATRICIA            2709 SIX MILE RD                                                                                      MARYVILLE          TN     37803‐2743
HOLLENBECK, PATRICIA            2709 6 MILE RD                                                                                        MARYVILLE          TN     37803‐2743
HOLLENBECK, PAUL                1630 S BYRON RD                                                                                       LENNON             MI     48449‐9669
HOLLENBECK, ROBERT L            5141 N STATE RD                                                                                       DAVISON            MI     48423‐8593
HOLLENBECK, ROGER               N8476 CTHC                                                                                            RIB LAKE           WI     54470
HOLLENBECK, ROGER E             PO BOX 311                                                                                            HAMBURG            MI     48139‐0311
HOLLENBECK, STEVE S             259 CLARK ST                                                                                          MONTROSE           MI     48457
HOLLENBECK, WILLIAM E           7368 LOBDELL RD                                                                                       LINDEN             MI     48451‐8765
HOLLENBERGER, JOHN E            20 LAKE SHORE DRIVE                                                                                   YOUNGSTOWN         OH     44511‐3552
HOLLENDER, ELLEN                204 MARKET STREET                                                                                     CORTLAND           OH     44410‐1035
HOLLENDER, ROGER A              2253 BURTON AVE                                                                                       ALLIANCE           OH     44601‐4635
HOLLENDER, WILLIAM J            410 BURWELL RD                                                                                        LEAVITTSBURG       OH     44430‐9649
HOLLENDERSKY, ERMA D            4889 WAKE ROBIN RD                                                                                    MENTOR             OH     44060‐1350
HOLLENHORST, LINDA M            4960 CATHEDRAL OAKS RD                                                                                SANTA BARBARA      CA     93111‐1502
HOLLENKAMP WILLIAM A (449466)   SIMMONS FIRM                        PO BOX 559                                                        WOOD RIVER          IL    62095‐0559
HOLLENKAMP, JOHN D              826 LANGLEY RD                                                                                        ROCHESTER HILLS    MI     48309‐1501
HOLLENKAMP, JOHN DANIEL         826 LANGLEY RD                                                                                        ROCHESTER HILLS    MI     48309‐1501
HOLLENKAMP, WILLIAM A           SIMMONS FIRM                        PO BOX 559                                                        WOOD RIVER          IL    62095‐0559
HOLLENQUEST, GALE               2849 TALL OAKS CT APT 22                                                                              AUBURN HILLS       MI     48326‐4170
HOLLENSHADE'S AUTO SERVICE      1501 E JOPPA RD                                                                                       TOWSON             MD     21286‐5912
HOLLENSHEAD, JOSEPH R           38406 BUTCHER RD                                                                                      LEETONIA           OH     44431‐9781
HOLLENSTEIN, JUDITH A           1704 KELLOGG AVE                                                                                      JANESVILLE         WI     53546‐6003
HOLLENSTEIN, KIRK P             3211 PARK AVE                                                                                         BELOIT             WI     53511‐1642
HOLLENSTEIN, RANDALL G          1539 S WILLARD AVE                                                                                    JANESVILLE         WI     53546‐5440
HOLLENSTINE, RANDALL J          48016 DEER TRAIL DR                                                                                   CANTON             MI     48187‐4745
HOLLER CHERIE                   HOLLER, CHERIE                      18289 WAKENDEN                                                    REDFORD            MI     48240
HOLLER CHEVROLET                1970 STATE ROAD 436                                                                                   WINTER PARK        FL     32792‐2245
HOLLER CHEVROLET                860 W FAIRBANKS AVE                                                                                   WINTER PARK        FL     32789‐4715
HOLLER CHEVROLET                402 OFFICE PLAZA DRIVE                                                                                TALLAHASSEE        FL     32301
HOLLER ENTERPRISES INC
HOLLER JR, MARVIN G             2009 WEBER HEIGHTS DR                                                                                 WASHINGTON        MO      63090‐6654
HOLLER KATHLEEN                 HOLLER, KATHLEEN                       42 DELAWARE AVE STE 300                                        BUFFALO           NY      14202‐3901
HOLLER OLDSMOBILE               MYERS FOREHAND & FULLER                402 OFFICE PLZ STE B                                           TALLAHASSEE       FL      32301
HOLLER RAYMOND E (486878)       GEORGE & SIPES                         151 N DELAWARE ST STE 1700                                     INDIANAPOLIS      IN      46204‐2503
HOLLER TOM                      4329 HOPKINS RD                                                                                       YOUNGSTOWN        OH      44511‐3711
HOLLER, ALFRED E                817 S CHIPMAN ST                                                                                      OWOSSO            MI      48867‐4153
HOLLER, CHERYL A                59 AGAR AVE                                                                                           HENRIETTA         NY      14467‐9326
HOLLER, CLEVA L                 27 CANDLEWOOD CT                                                                                      GERMANTOWN        OH      45327‐1203
HOLLER, DALE E                  26635 W 319TH ST                                                                                      PAOLA             KS      66071‐4648
HOLLER, DALE EUGENE             26635 W 319TH ST                                                                                      PAOLA             KS      66071‐4648
HOLLER, DALE S                  3670 COOK RD                                                                                          ROOTSTOWN         OH      44272‐9653
HOLLER, DEANNA O                1602 COLLAR PRICE RD.                                                                                 HUBBARD           OH      44425‐2919
HOLLER, GRACE A                 59 AGAR AVENUE                                                                                        HENRIETTA         NY      14467‐9326
HOLLER, GRACE A                 59 AGAR AVE                                                                                           HENRIETTA         NY      14467‐9326
HOLLER, J R                     15775 NADER CT                                                                                        CLINTON TWP       MI      48038‐4119
HOLLER, KATHLEEN                LIPSITZ GREEN FAHRINGER ROLL SALISBURY 42 DELAWARE AVE STE 300                                        BUFFALO           NY      14202‐3901
                                & CAMBRIA
HOLLER, KATHLEEN
HOLLER, LINDA M                 652 CLARISSA ST                                                                                       ROCHESTER          NY     14608
HOLLER, MARIE L                 35139 BAKEWELL ST                                                                                     WESTLAND           MI     48185‐2161
HOLLER, MERLE I                 9861 JUDDVILLE RD                                                                                     CORUNNA            MI     48817‐9796
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Name                          Address1                        Address2                       Address3                  Address4               City            State   Zip
HOLLER, PATRICIA A            60 ANDY LN                                                                                                      ROCHESTER        NY     14606‐4902
HOLLER, RAYMOND E             GEORGE & SIPES                  151 N DELAWARE ST STE 1700                                                      INDIANAPOLIS     IN     46204‐2503
HOLLER, RICHARD W             213 NE BROOKWOOD DR                                                                                             BLUE SPRINGS     MO     64014‐5906
HOLLER, ROBERT                910 S HARRISON ST                                                                                               ALEXANDRIA       IN     46001‐2619
HOLLER, ROBERT N              2704A CHILI AVENUE                                                                                              ROCHESTER        NY     14624‐4126
HOLLER, ROBERT P              183 NORTHWEST VESPER STREET                                                                                     BLUE SPRINGS     MO     64014‐2844
HOLLER, SALLY J               5782 ARTESIAN DR                                                                                                WATERFORD        MI     48327‐2805
HOLLER, SIDNEY R              4205 TONSING DR                                                                                                 RAVENNA          OH     44266‐9318
HOLLER, THOMAS J              4329 HOPKINS RD                                                                                                 YOUNGSTOWN       OH     44511‐3711
HOLLER,THOMAS J               4329 HOPKINS RD                                                                                                 YOUNGSTOWN       OH     44511‐3711
HOLLERBACH, HANS              27843 PALOMINO DR                                                                                               WARREN           MI     48093‐8328
HOLLERBACH, JAMES             256 RIVERVIEW DR                                                                                                COLDWATER        MI     49036‐9233
HOLLERBACH, RAYMOND F         28949 LEM CT                                                                                                    PERRYSBURG       OH     43551‐4603
HOLLERBACK, ELEANOR F         PO BOX 354                                                                                                      ALANSON          MI     49706‐0354
HOLLERBACK, EUGENE T          3023 DAVENPORT AVE                                                                                              SAGINAW          MI     48602‐3652
HOLLERBACK, IRMA              6770 MOWER RD                                                                                                   SAGINAW          MI     48601‐9782
HOLLERBACK, LAVERN J          1105 S LINE ST                                                                                                  CHESANING        MI     48616‐1469
HOLLERBACK, RONALD G          1107 RISING FAWN DR                                                                                             SAINT HELEN      MI     48656‐9543
HOLLERICH, LAURA              3450 E AIRPORT DR STE 300                                                                                       ONTARIO          CA     91761‐7669
HOLLERMAN ANNE                907 GILDER DR                                                                                                   NEW CASTLE       DE     19720‐7632
HOLLERN, CHARLES L            3075 S EDGAR RD                                                                                                 MASON            MI     48854‐9217
HOLLERN, DALE F               23 BACKACHE BND                                                                                                 ELWELL           MI     48832‐9700
HOLLERN, MARTIN J             4011 CASTLE LN N                                                                                                LAKE ISABELLA    MI     48893‐9368
HOLLERON, ROSE T              2155 BRIAR LN                                                                                                   BURTON           MI     48509‐1232
HOLLERUD, LESLIE K            405 HEIGHTS RD NW                                                                                               SAINT MICHAEL    MN     55376‐1006
HOLLES DODGE                  APT 15                          6125 14TH STREET WEST                                                           BRADENTON        FL     34207‐4604
HOLLEWA, KENNETH V            12884 COLUMBIA CT                                                                                               WASHINGTN TWP    MI     48094‐1745
HOLLEY ARMOND E               C/O EDWARD O MOODY P A          801 WEST 4TH STREET                                                             LITTLE ROCK      AR     72201
HOLLEY CHARLES L (504949)     (NO OPPOSING COUNSEL)
HOLLEY DERENBERGER            8668 W BOWLING GR LN RT 6                                                                                       LANCASTER       OH      43130
HOLLEY DIANE                  HOLLEY, DIANE                   211 ADAMS ST STE 600                                                            FAIRMONT        WV      26554‐2877
HOLLEY DIANE                  HOLLEY, IVAN H                  PO BOX 141                                                                      GRANT TOWN      WV      26574‐0141
HOLLEY HANES                  10705 LONGFELLOW TRCE                                                                                           SHREVEPORT      LA      71106‐9340
HOLLEY I I, OTTMAR L          7706 S ROYSTON RD                                                                                               EATON RAPIDS    MI      48827‐8597
HOLLEY JAMES M SR (516883)    WILENTZ GOLDMAN & SPITZER       88 PINE STREET , WALL STREET                                                    NEW YORK        NY      10005
HOLLEY JR., CARL P            2130 CAROLINA DR                                                                                                XENIA           OH      45385‐4610
HOLLEY LESLIE ANN             C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                                             LITTLE ROCK     AR      72201
HOLLEY MATTHEW                3445 WHITFIELD DR                                                                                               WATERFORD       MI      48329‐1159
HOLLEY PERFORMANCE            JAY MCFARLAND                   1801 RUSSELLVILLE RD                                                            BOWLING GREEN   KY      42101‐3542
HOLLEY PERFORMANCE PRODUCTS   REPLACEMENT PARTS DIV           1801 RUSSELLVILLE RD                                                            BOWLING GREEN   KY      42101‐3542
HOLLEY PERFORMANCE PRODUCTS   JAY MCFARLAND                   1801 RUSSELLVILLE RD.                                                           GALLATIN        TN      37066
HOLLEY PERFORMANCE PRODUCTS   1801 RUSSELLVILLE RD                                                                                            BOWLING GREEN   KY      42101‐3542
HOLLEY RAYMOND J (498265)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                     NORFOLK         VA      23510
                                                              STREET, SUITE 600
HOLLEY SR, JAMES              ATTN LYNNE KIZIS ESQ            WILENTZ GOLDMAN AND SPITZER    90 WOODBRIDGE CENTER DR                          WOODBRIDGE       NJ     07095

HOLLEY SR, LEWIS V            272B PROCTOR TRL                                                                                                BOWLING GREEN   KY      42101‐9120
HOLLEY, ADAM                  643 HIGHWAY 585                                                                                                 RAYVILLE        LA      71269‐6313
HOLLEY, ADAM K                643 HIGHWAY 585                                                                                                 RAYVILLE        LA      71269‐6313
HOLLEY, ARMOND E              147 PINE STREET                                                                                                 CLINTON         AR      72031‐7307
HOLLEY, ARMOND E              MOODY EDWARD O                  801 W 4TH ST                                                                    LITTLE ROCK     AR      72201‐2107
HOLLEY, ARNOLD E              4916 ROOSEVELT AVE                                                                                              MIDDLETOWN      OH      45044‐6226
HOLLEY, ARNOLD E              7446 SPINNAKER BLVD.                                                                                            ENGLEWOOD       FL      34224‐4224
HOLLEY, ARTHUR V              7400 ROCKRIDGE RD                                                                                               BALTIMORE       MD      21208‐5729
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Name                      Address1                        Address2                            Address3   Address4               City              State   Zip
HOLLEY, BARBARA L         1046 SUSSEX LN                                                                                        FLINT              MI     48532‐2654
HOLLEY, BEULAH C          424 BARHAM AVE                                                                                        HENDERSON          TN     38340
HOLLEY, CHARLES L         GUY WILLIAM S                   PO BOX 509                                                            MCCOMB             MS     39649‐0509
HOLLEY, CORDELIA          3325 CLIFTMONT AVE                                                                                    BALTIMORE          MD     21213
HOLLEY, CYNTHIA L         3525 SE 139TH ST.                                                                                     SUMEMRFIELD        FL     34491‐2133
HOLLEY, DEBRA L           4538 FRIENDLY HARBOR ST                                                                               BRADENTON          FL     34207
HOLLEY, DELBERT F         1081 W KURTZ AVE                                                                                      FLINT              MI     48505‐1203
HOLLEY, DELISHA C         1211 W COLDWATER RD                                                                                   FLINT              MI     48505‐4821
HOLLEY, DELISHA CAREN     1211 W COLDWATER RD                                                                                   FLINT              MI     48505‐4821
HOLLEY, DENNIS P          4 AMANDA STREET                                                                                       CRANSTON            RI    02920‐1502
HOLLEY, EDWARD            3 ANNA LANE                                                                                           BALLSTON LAKE      NY     12019‐9554
HOLLEY, ELIJAH S          21022 RING PL                                                                                         FERNDALE           MI     48220
HOLLEY, EMMA O            208 GRAMONT                                                                                           DAYTON             OH     45417‐1618
HOLLEY, EMMA O            208 GRAMONT AVE                                                                                       DAYTON             OH     45417‐2324
HOLLEY, ESTELLE L         1134 E MARENGO AVE                                                                                    FLINT              MI     48505‐3639
HOLLEY, EVAN M            604 FLEETFOOT AVENUE                                                                                  DAYTON             OH     45408‐1108
HOLLEY, FLORENCE M        147 PINE ST                                                                                           CLINTON            AR     72031
HOLLEY, GEORGIANNA        1623 HINTON RD                                                                                        CHESTER            SC     29706
HOLLEY, GLEDA
HOLLEY, GLORIA            7400 ROCKRIDGE RD                                                                                     BALTIMORE         MD      21208‐5729
HOLLEY, GLORIA M          712 KINGS PATH APT 2D                                                                                 BEL AIR           MD      21014‐3292
HOLLEY, HELEN             6585 AMELIA DR                                                                                        CINCINNATI        OH      45241‐1315
HOLLEY, JAMES E           1964 PARKHILL DR                                                                                      DAYTON            OH      45406‐2714
HOLLEY, JAMES J           1429 CROSS CREEK CIR                                                                                  KETTERING         OH      45429‐5756
HOLLEY, JAMES M           WILENTZ GOLDMAN & SPITZER       88 PINE STREET, WALL STREET PLAZA                                     NEW YORK          NY      10005
HOLLEY, JAMES R           14363 KNAPPER RIDGE COVE                                                                              HERRIMAN          UT      84096‐3556
HOLLEY, JAMES W           120 BROWNSMILL RD                                                                                     ELSBERRY          MO      63343‐1000
HOLLEY, JANIS             9133 WINTON RD APT 24                                                                                 CINCINNATI        OH      45231‐3840
HOLLEY, JESSIE            3784 COLLINWOOD LN                                                                                    WEST PALM BEACH   FL      33406‐4153

HOLLEY, JOAN              3088 ROUTE 34 B                                                                                       AURORA            NY      13026
HOLLEY, JOCELYN V         5617 WINTHROP BLVD                                                                                    FLINT             MI      48505‐5145
HOLLEY, JOE L             4051 CATAMARAN WAY SE APT 201                                                                         KENTWOOD          MI      49512‐9039
HOLLEY, JOHN R            3386 WHISPERING TREES DR        C/O PATRICIA BROEMSEN                                                 AMELIA            OH      45102‐2327
HOLLEY, JOSEPH N          3843 RUDYARD WAY                                                                                      LANSING           MI      48906‐9194
HOLLEY, JUSTIN E          10150 UPPER STATE LINE RD                                                                             VIVIAN            LA      71082‐9162
HOLLEY, KATHY E           4277 DELINA RD                                                                                        CORNERSVILLE      TN      37047‐5236
HOLLEY, KEITH L           6613 S KIMBERLY DR                                                                                    HOLLY             MI      48442‐8743
HOLLEY, LAWRENCE E        4626 HURFORD PL                                                                                       ASTON             PA      19014
HOLLEY, LEROY             8152 N ELMS RD                                                                                        FLUSHING          MI      48433‐8815
HOLLEY, LESLIE ANN        MOODY EDWARD O                  801 W 4TH ST                                                          LITTLE ROCK       AR      72201‐2107
HOLLEY, MARY E            7706 S ROYSTON RD                                                                                     EATON RAPIDS      MI      48827‐8597
HOLLEY, MARY F            150 AMBERBROOK CIR                                                                                    GRAYSON           GA      30017‐4036
HOLLEY, NATHANIEL L       2239 MAYFAIR RD                                                                                       DAYTON            OH      45405‐3220
HOLLEY, NORMA J           1922 OXFORD RD                                                                                        GROSSE POINTE     MI      48236‐1846
                                                                                                                                WOODS
HOLLEY, RALPH D           231 CROW ST                                                                                           MARION             LA     71260‐5048
HOLLEY, RAYMOND J         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA     23510‐2212
                                                          STREET, SUITE 600
HOLLEY, RENEE E           3600 EMMONS AVE                                                                                       ROCHESTER HILLS   MI      48307‐5621
HOLLEY, RENEE ELIZABETH   3600 EMMONS AVE                                                                                       ROCHESTER HILLS   MI      48307‐5621
HOLLEY, ROBERT D          4410 N MINTO DR                                                                                       MARION            IN      46952‐8628
HOLLEY, ROBERT G          2715 E MEMORIAL DR                                                                                    MUNCIE            IN      47302‐4781
HOLLEY, ROBERT M          7356 MCSMITH LN                                                                                       DAYTON            OH      45414‐2482
                                  09-50026-mg             Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                              Address1                         Address2                       Address3                 Address4                  City              State   Zip
HOLLEY, ROY L                     3121 RUST AVE                                                                                                      SAGINAW            MI     48601‐3171
HOLLEY, SHARON K                  4429 FILBURN LN                                                                                                    DAYTON             OH     45426‐1819
HOLLEY, SHERYL L                  11150 CHESTNUT ROAD                                                                                                HILLSBORO          OH     45133‐6343
HOLLEY, TERRY L                   2411 PULASKI HWY APT A3                                                                                            COLUMBIA           TN     38401‐4530
HOLLEY, THOMAS C                  15075 US HIGHWAY 24                                                                                                SHERWOOD           OH     43556‐9808
HOLLEY, TIMOTHY A                 3048 KINDLEWOOD LN                                                                                                 BAY CITY           MI     48706‐1270
HOLLEY, TYRONE L                  19128 SUNDERLAND RD                                                                                                DETROIT            MI     48219‐2714
HOLLEY, VELMA                     1421 CROSS CREEK CIRCLE                                                                                            KETTERING          OH     45429‐5756
HOLLEY, VESTA A                   41325 N BYASIDE DR                                                                                                 ANTIOCH             IL    50002‐8894
HOLLEY, WARREN                    PO BOX 27035                                                                                                       DETROIT            MI     48227‐0035
HOLLEY,ROBERT M                   7356 MCSMITH LN                                                                                                    DAYTON             OH     45414‐2482
HOLLFELDER, DONALD M              1198 STALEY RD                                                                                                     GRAND ISLAND       NY     14072‐2113
HOLLFELDER, SALLY E               PO BOX 131                                                                                                         GRAND ISLAND       NY     14072‐0131
HOLLFELDER, TERRY E               40 REDWAY RD                                                                                                       GRAND ISLAND       NY     14072‐2706
HOLLI B OLEJARCZYK                55410 WHITNEY DR                                                                                                   SHELBY TOWNSHIP    MI     48315‐6662
HOLLI C DESHANE                   229 PEBBLE BEACH RD NW                                                                                             ALEXANDRIA         MN     56308
HOLLI C WHITT                     87 W ALKALINE SPRINGS RD                                                                                           VANDALIA           OH     45377‐1870
HOLLI GALOVICH                    3088 DUPLEX RD                                                                                                     SPRING HILL        TN     37174‐9216
HOLLI MURPHY                      6807 LUDINGTON DR                                                                                                  FORT WAYNE         IN     46816‐4109
HOLLI OLEJARCZYK                  55410 WHITNEY DR                                                                                                   SHELBY TOWNSHIP    MI     48315‐6662
HOLLI R STEVENS                   80 WEST FACTORY ROAD                                                                                               SPRINGBORO         OH     45066
HOLLI STEVENS                     80 W FACTORY RD                                                                                                    SPRINGBORO         OH     45066‐1212
HOLLI TOMPKINS                    943 INDIANWOOD RD                                                                                                  LAKE ORION         MI     48362‐1324
HOLLIBAUGH, ANDREW L              18351 130TH AVE                                                                                                    LEROY              MI     49655‐8405
HOLLIBAUGH, GEORGE T              390 W STARZ RD                                                                                                     GIBSONIA           PA     15044‐7961
HOLLIBAUGH, GEORGE W              229 COLLEGE PARK DR                                                                                                MONROEVILLE        PA     15146‐1531
HOLLIBAUGH, ROBERT M              3810 BITTERN CT                                                                                                    RENO               NV     89508‐8436
HOLLIBUSH, KIM D                  35359 ROSSLYN ST                                                                                                   WESTLAND           MI     48185‐8508
HOLLIBUSH, TED W                  11572 LAKE SHORE DR                                                                                                FIFE LAKE          MI     49633‐9345
HOLLICE HIRE                      6900 E THOMPSON RD                                                                                                 INDIANAPOLIS       IN     46237‐3556
HOLLICK, ALBERT                   PO BOX 360                                                                                                         PERRYOPOLIS        PA     15473‐0360
HOLLICK, RICHARD L                223 RILEY CENTER RD                                                                                                RILEY              MI     48041‐4109
HOLLICK, ROBERT J                 306 DAVIS GREEN LN                                                                                                 SPRING HILL        TN     37174‐7568
HOLLICK, STEVEN                   PO BOX 1342                                                                                                        BONSALL            CA     92003‐1342
HOLLICKER, HAROLD D               PO BOX 146                                                                                                         EATON RAPIDS       MI     48827‐0146
HOLLICKER, JOHN A                 RR 5 BOX 95A                                                                                                       DANVILLE           PA     17821
HOLLIDAY                          115 W 2ND ST STE 200                                                                                               FORT WORTH         TX     76102‐3023
HOLLIDAY ANTHONY K                HOLLIDAY, ANTHONY K              611 WEST COURT STREET                                                             FLINT              MI     48503
HOLLIDAY AUTO RENTAL              1931 ROOSEVELT HWY                                                                                                 COLLEGE PARK       GA     30337‐4303
HOLLIDAY CLYDE H (442240)         SIMMONS FIRM                     PO BOX 559                                                                        WOOD RIVER          IL    62095‐0559
HOLLIDAY JOLIE E                  DBA JEH ENTERTAINMENT LLC        508 SHEFFIELD DR                                                                  RICHARDSON         TX     75081‐5610
HOLLIDAY JR, KENNETH E            401 MANOR DR APT B                                                                                                 KINGSPORT          TN     37660‐3470
HOLLIDAY JR, ROBERT R             8662 LITTLE SWIFT CIR                                                                                              JACKSONVILLE       FL     32256‐9643
HOLLIDAY JR., JIMMIE L            PO BOX 727                                                                                                         FLINT              MI     48501‐0727
HOLLIDAY JR., JIMMIE LEE          PO BOX 727                                                                                                         FLINT              MI     48501‐0727
HOLLIDAY KATHY GRIFFITH           OKAMOTO, KATHY                   GRIFFIN FIRM LLC                136 NORTH MAIN STREET                             ANDERSON           SC     29621
HOLLIDAY KATHY GRIFFITH           HOLLIDAY, KATHY GRIFFITH         136 N MAIN ST                                                                     ANDERSON           SC     29621‐5609
HOLLIDAY LOUIS (477228)           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                                        BALTIMORE          MD     21202
                                                                   CHARLES CENTER 22ND FLOOR
HOLLIDAY MILTON (493847)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                       NORFOLK            VA     23510
                                                                   STREET, SUITE 600
HOLLIDAY REMEDIATION TASK FORCE   LISA A EPPS & JAMES T. PRICE     SPENCER FANE BRITT & BROWNE LLP C/O DOEPKE‐HOLLIDAY     1000 WALNUT ST STE 1400   KANSAS CITY       MO      64106
                                                                                                   SUPERFUND SITE
HOLLIDAY REMEDIATION TASK FORCE   C/O W FORD LATHROP & GAGE LC     2345 GRAND BLVD                                                                   KANSAS CITY       MO      64108
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Name                              Address1                       Address2                   Address3   Address4               City            State   Zip
HOLLIDAY REMEDIATION TASK FORCE   WM F FORD LATHROP & GAGE       2345 GRAND BLVD STE 2800                                     KANSAS CITY      MO     64108‐2612
HOLLIDAY, ALVIN                   4301 E MINNESOTA ST                                                                         INDIANAPOLIS     IN     46203‐3446
HOLLIDAY, ANTHONY K               PO BOX 360318                                                                               DECATUR          GA     30036‐0318
HOLLIDAY, ANTHONY KARUSO          PO BOX 360318                                                                               DECATUR          GA     30036‐0318
HOLLIDAY, ANTHONY L               124 W FRONT ST                                                                              PEMBERVILLE      OH     43450‐7084
HOLLIDAY, BETTY M                 4733 E BLUE SPRUCE LN                                                                       GILBERT          AZ     85298‐4616
HOLLIDAY, BETTY W                 4524 S DIXON RD                                                                             KOKOMO           IN     46902‐4855
HOLLIDAY, BLAKE M                 52 BOURNE ST                                                                                THREE RIVERS     MA     01080‐1306
HOLLIDAY, BOBBIE J                4301 E MINNESOTA ST                                                                         INDIANAPOLIS     IN     46203‐3446
HOLLIDAY, BONNIE G                16888 HIGHWAY 52                                                                            BARNETT          MO     65011‐3370
HOLLIDAY, CANDYCE                 5951 TERRA BELLA LN                                                                         CAMARILLO        CA     93012‐8820
HOLLIDAY, CATHY A                 3463 AQUARIOUS CIR                                                                          OAKLAND          MI     48363‐2716
HOLLIDAY, CEOLA                   608 MILLER DR                                                                               EL DORADO        AR     71730‐6924
HOLLIDAY, CHARLES D               1109 PINGREE AVE                                                                            FLINT            MI     48503‐4219
HOLLIDAY, CLIFFORD R              45403 WINCHESTER CIR                                                                        MATTAWAN         MI     49071‐9717
HOLLIDAY, CLINTON H               1827 NORTH AVE NW                                                                           ATLANTA          GA     30318‐6442
HOLLIDAY, CLYDE                   SIMMONS FIRM                   PO BOX 559                                                   WOOD RIVER        IL    62095‐0559
HOLLIDAY, CORY J                  203 CHERRYTREE LN                                                                           COMMERCIAL PT    OH     43116‐9753
HOLLIDAY, DANIEL I                146 WOODS DR NE                                                                             MARIETTA         GA     30060‐1785
HOLLIDAY, DARLENE
HOLLIDAY, DEBORAH J               3410 MILLER RD                                                                              SANDUSKY        OH      44870‐9767
HOLLIDAY, DELAWN                  1910 PENBROOK LN                                                                            FLINT           MI      48507‐6035
HOLLIDAY, DENNIS N                PO BOX 623                     700 W. MAIN                                                  HARDIN          IL      62047‐0623
HOLLIDAY, DUANE L                 7383 SHERIDAN RD                                                                            FLUSHING        MI      48433‐9102
HOLLIDAY, EDGAR F                 1560 MIDDLETON PIKE                                                                         LUCKEY          OH      43443‐9733
HOLLIDAY, ELAINE R                13051 W BURKMILL RD                                                                         YORKTOWN        IN      47396
HOLLIDAY, G D                     8720 W CENTRAL AVE                                                                          SHIRLEY         IN      47384‐9626
HOLLIDAY, GARY A                  RT 3 BOX 61 D                                                                               FAYETTEVILLE    WV      25840
HOLLIDAY, GARY G                  175 BLUCHER CT                                                                              VANDALIA        OH      45377‐2901
HOLLIDAY, GARY S                  1910 PENBROOK LN                                                                            FLINT           MI      48507‐6035
HOLLIDAY, GEORGE C                2608 SANGSTER AVE                                                                           INDIANAPOLIS    IN      46218‐2642
HOLLIDAY, GERTRUDE                18425 SOUTH DR APT 154                                                                      SOUTHFIELD      MI      48076‐1131
HOLLIDAY, GERTRUDE                18425 SOUTH DR                 APT 154                                                      SOUTHFIELD      MI      48076
HOLLIDAY, HAROLD F                1828 DOVER ST                                                                               DELANO          CA      93215‐1338
HOLLIDAY, HAROLD FRANKLIN         1828 DOVER ST                                                                               DELANO          CA      93215‐1338
HOLLIDAY, HOWARD R                3410 MILLER RD                                                                              SANDUSKY        OH      44870‐9767
HOLLIDAY, JAMES D                 3125 INDEPENDENCE DR S                                                                      ELWOOD          IN      46036‐8999
HOLLIDAY, JAMES K                 201 SUMMIT ST                                                                               RIVER ROUGE     MI      48218‐1217
HOLLIDAY, JAMES L                 8787 W CHADWICK RD                                                                          DEWITT          MI      48820‐9119
HOLLIDAY, JANET I                 2155 TWILIGHT PASS                                                                          HOLT            MI      48842‐7708
HOLLIDAY, JEAN M                  5130 ABC RD LOT 24                                                                          LAKE WALES      FL      33859
HOLLIDAY, JEANNEEN                230 W BROADWAY ST                                                                           FORTVILLE       IN      46040‐1405
HOLLIDAY, JEFFERY A               2192 E COUNTY ROAD 1100 S                                                                   CLOVERDALE      IN      46120‐9198
HOLLIDAY, JEFFERY J               4105 DUPONT ST                                                                              FLINT           MI      48504
HOLLIDAY, JEFFERY J               2215 MOUNT ELLIOTT ST                                                                       FLINT           MI      48505
HOLLIDAY, JIMMIE L                959 BETHANY ST                                                                              SAGINAW         MI      48601‐1473
HOLLIDAY, JOAN M                  3699 INCA DOVE PLACE                                                                        SIERRA VISTA    AZ      85650‐5347
HOLLIDAY, JOAN M                  3699 S INCA DOVE PL                                                                         SIERRA VISTA    AZ      85650‐5347
HOLLIDAY, JOHN                    PORTER & MALOUF PA             4670 MCWILLIE DR                                             JACKSON         MS      39206‐5621
HOLLIDAY, JOHN BASS               22326 WOODLAKE DRIVE                                                                        MACOMB          MI      48044‐3053
HOLLIDAY, JOHN D                  13760 E STATE ROAD 48                                                                       MILAN           IN      47031‐9659
HOLLIDAY, JUANITA M               3122 ROTTERDAM DR                                                                           CLIO            MI      48420‐2318
HOLLIDAY, KATHY GRIFFITH          GRIFFIN FIRM LLC               136 N MAIN ST                                                ANDERSON        SC      29621‐5609
HOLLIDAY, KENNETH H               5951 TERRA BELLA LN                                                                         CAMARILLO       CA      93012‐8820
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Name                        Address1                          Address2                      Address3   Address4               City           State   Zip
HOLLIDAY, KEVIN H           25130 REDFIELD RD                                                                                 EDWARDSBURG     MI     49112‐9444
HOLLIDAY, LALLIE            1322 N 62ND PL                                                                                    KANSAS CITY     KS     66102‐1328
HOLLIDAY, LARRY L           1825 N E ST                                                                                       ELWOOD          IN     46036‐1332
HOLLIDAY, LAURIE J          1508 BIRD HAMMOND RD.                                                                             WINDER          GA     30680‐4266
HOLLIDAY, LORRAINE H        738 ESTATES BLVD #227                                                                             TRENTON         NJ     08619‐2627
HOLLIDAY, LOUIS             ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                       BALTIMORE       MD     21202
                                                              CHARLES CENTER 22ND FLOOR
HOLLIDAY, MABLE P           2547 E. HOLLAND                                                                                   SAGINAW         MI     48601‐2232
HOLLIDAY, MABLE P           2547 E HOLLAND AVE                                                                                SAGINAW         MI     48601‐2232
HOLLIDAY, MARGERY C
HOLLIDAY, MARY              396 WOODLAKE DR                                                                                   BRIGHTON       MI      48116‐2061
HOLLIDAY, MARY M            1215 BERCLAIR                                                                                     MEMPHIS        TN      38122‐1732
HOLLIDAY, MARY M            1215 BERCLAIR RD                                                                                  MEMPHIS        TN      38122‐1732
HOLLIDAY, MARY P            14685 ROSELAWN STREET                                                                             DETROIT        MI      48238
HOLLIDAY, MICHAEL S         4307 MILLER RD                                                                                    SANDUSKY       OH      44870‐8393
HOLLIDAY, MILTON            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA      23510‐2212
                                                              STREET, SUITE 600
HOLLIDAY, NEALEAS           595 LAURELWOOD DR                                                                                 TYRONE         GA      30290‐1924
HOLLIDAY, ORENE D           5107 TACOMA DR                                                                                    ARLINGTON      TX      76017‐1894
HOLLIDAY, PATRICIA A        4173 E 187TH ST                                                                                   CLEVELAND      OH      44122‐6962
HOLLIDAY, PHOEBE            1532 STANLEY ST                                                                                   SAGINAW        MI      48602‐1059
HOLLIDAY, R L COMPANY INC   7116 INDUSTRIAL PARK BLVD                                                                         MENTOR         OH      44060‐5314
HOLLIDAY, RALPH E           313 E NORTH ST                                                                                    TIPTON         IN      46072‐1447
HOLLIDAY, RALPH W           37531 NEUKOM AVE                                                                                  ZEPHYRHILLS    FL      33541‐9303
HOLLIDAY, RAYMOND E         43061 HARRIS RD                                                                                   BELLEVILLE     MI      48111‐9188
HOLLIDAY, RICHARD J         5503 E TWINBEACH RD                                                                               PORT CLINTON   OH      43452‐3165
HOLLIDAY, ROMONA            1907 33RD ST                                                                                      BAY CITY       MI      48708‐8147
HOLLIDAY, ROSA              6261 GREENVIEW PL                                                                                 BAY CITY       MI      48706‐9353
HOLLIDAY, ROSEMARY          5517 N 500 W                                                                                      WINCHESTER     IN      47394
HOLLIDAY, RUBY ANN Z        HC 40 BOX 24                                                                                      CRAWLEY        WV      24931‐8821
HOLLIDAY, RUSSELL
HOLLIDAY, RUSSELL S         2443 WASHINGTON RD                                                                                LANSING        MI      48911‐7216
HOLLIDAY, SHERI L           8319 S ATLEE ST                                                                                   DALEVILLE      IN      47334‐9640
HOLLIDAY, SHERI LYNN        8319 S ATLEE ST                                                                                   DALEVILLE      IN      47334‐9640
HOLLIDAY, STEVEN M          3463 AQUARIOUS CIR                                                                                OAKLAND        MI      48363‐2716
HOLLIDAY, THOMAS E          RR 2 BOX 380                                                                                      RONCEVERTE     WV      24970‐9528
HOLLIDAY, THOMAS E          PO BOX 943                                                                                        COAL CITY      WV      25823‐0943
HOLLIDAY, THOMAS E          1355 N AL MOSES RD                                                                                LAKE CITY      MI      49651‐9241
HOLLIDAY, TIMOTHY           OREILLY COLLINS & DANKO           1900 OFARRELL ST STE 360                                        SAN MATEO      CA      94403‐1329
HOLLIDAY, TIMOTHY           DAVIS LEVIN LIVINGSTON GRANDE     851 FORT STREET ‐ SUITE 400                                     HONOLULU       HI      96813
HOLLIDAY, VUNA D            8054 WHITCOMB ST                                                                                  DETROIT        MI      48228‐2235
HOLLIDAY, WANDA MCCLARY     J. KENDALL FEW, ATTORNEY AT LAW   850 WADE HAMPTON BLVD                                           GREENVILLE     SC      29609
HOLLIDAY, WANDA MCCLARY     RICHARDSON PATRICK WESTBROOK &    PO BOX 1368                                                     BARNWELL       SC      29812‐1368
                            BRICKMAN
HOLLIDAY, WANDA MCCLARY     GRAHAM LAW FIRM                   PO BOX 550                                                      FLORENCE        SC     29503‐0550
HOLLIDAY, WANDA MCCLARY     SABB RONNIE A                     PO BOX 88                                                       KINGSTREE       SC     29556‐0088
HOLLIDAY, WILLADEAN         112 E 75TH ST                                                                                     ANDERSON        IN     46013‐3902
HOLLIDAY, WILLIAM B         PO BOX 20681                                                                                      FERNDALE        MI     48220‐0681
HOLLIDAY, WILLIAM C         2409 HOLDEN DR                                                                                    ANDERSON        IN     46012‐9779
HOLLIDAY, WILLIAM G
HOLLIDAY, WILLIAM HUNTER
HOLLIDAY, WILLIAM L         PO BOX 22                                                                                         BUFFALO         NY     14209‐0022
HOLLIE BELLAMY‐RODGERS      7376 CORNWELL DR                                                                                  DAVISON         MI     48423‐9538
HOLLIE DEW                  19309 HUNTINGTON RD                                                                               DETROIT         MI     48219‐2729
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Name                         Address1                              Address2                         Address3   Address4               City           State   Zip
HOLLIE HATHAWAY              784 CHAMPION AVE W                                                                                       WARREN          OH     44483‐1316
HOLLIE HAWKEY                1161 HOLLANSBURG RICHMOND RD                                                                             NEW PARIS       OH     45347‐9112
HOLLIE J VANHOOSE            2660 COPPERSMITH AVE                                                                                     DAYTON          OH     45414‐2206
HOLLIE KING JR.              2763 BIRD RD                                                                                             ORTONVILLE      MI     48462‐8464
HOLLIE LARUE                 3138 W RIVERVIEW DR                                                                                      BAY CITY        MI     48706‐1347
HOLLIE PARTIN                8591 MULBERRY RD                                                                                         BAXTER          TN     38544‐4826
HOLLIE REYNOLDS              645 DIAMOND RD APT 1                                                                                     WOONSOCKET       RI    02895‐1481
HOLLIE TAYLOR                PO BOX 934                                                                                               ALVA            FL     33920‐0934
HOLLIE VANHOOSE              2660 COPPERSMITH AVE                                                                                     DAYTON          OH     45414‐2206
HOLLIE WEST                  609 WESTCLIFF DR                                                                                         EULESS          TX     76040‐4876
HOLLIE, JOHN                 11641 RUTHERFORD                                                                                         DETROIT         MI     48227
HOLLIE, JOHNNIE L            16250 PREVOST ST                                                                                         DETROIT         MI     48235‐3612
HOLLIE, MARY F               3715 GIDDINGS AVE SE                                                                                     GRAND RAPIDS    MI     49508‐5534
HOLLIE, NATHANIEL            3715 GIDDINGS AVE SE                                                                                     GRAND RAPIDS    MI     49508‐5534
HOLLIE, PHINIS C             2324 LINDA LN                                                                                            FORT WORTH      TX     76119‐4532
HOLLIE, SHEILA A             4257 CRENSHAW AVE                                                                                        FORT WORTH      TX     76105‐4231
HOLLIE, TONY B               19170 GRANVIEW APT 1                                                                                     DETROIT         MI     48219
HOLLIE‐LU JEAN LP            PO BOX 372155                                                                                            EL PASO         TX     79937‐2155
HOLLIER RITA                 695 WINCHESTER DR                                                                                        BRIDGE CITY     TX     77611‐3450
HOLLIER WAYNE (471004)       GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                       PITTSBURGH      PA     15219

HOLLIER, LAWRENCE E          80 SAINT LAWRENCE DR                                                                                     AUBURN HILLS   MI      48326‐1437
HOLLIER, WAYNE               C/O GOLDBERG PERSKY & WHITE P.C.      1030 FIFTH AVENUE                                                  PITTSBURGH     PA      15219
HOLLIES JR., GEORGE S        912 W 54TH ST                                                                                            MARION         IN      46953‐5728
HOLLIES JR., GEORGE SAMUEL   912 W 54TH ST                                                                                            MARION         IN      46953‐5728
HOLLIES, KENNETH J           1103 N DEWITT ST                                                                                         BAY CITY       MI      48706‐3621
HOLLIFIELD, BERNICE P        P O BOX 1102                                                                                             ELKTON         MD      21922
HOLLIFIELD, BERNICE P        PO BOX 1102                                                                                              ELKTON         MD      21922‐1102
HOLLIFIELD, BOBBY R          20137 BIGELOW ST                                                                                         ROSEVILLE      MI      48066‐2286
HOLLIFIELD, CHARLES E        1534 FAWN LAKE DR                                                                                        WEST BRANCH    MI      48661‐9074
HOLLIFIELD, LURA             48 CLEAR CREEK RD                                                                                        HAZARD         KY      41701‐7551
HOLLIFIELD, RANDALL L        4025 LAKEWAY BLVD                                                                                        BENTON         LA      71006‐9793
HOLLIFIELD, RAY D            21 PROSPECT ST                                                                                           METUCHEN       NJ      08840‐2249
HOLLIFIELD, RICHARD E        200 LONGVIEW DR                                                                                          BAYVILLE       NJ      08721‐3116
HOLLIFIELD, ROBERT A         4679 CADDINGTON ST                                                                                       ENON           OH      45323‐1718
HOLLIFIELD, ROXANNE          4475 15TH ST                                                                                             DETROIT        MI      48208‐2126
HOLLIFIELD, WILLIAM E        1901 COTTONWOOD ST                                                                                       ARLINGTON      TX      76014‐1628
HOLLIGAN, ROY L              1195 OLD ORCHARD DR                                                                                      OSCODA         MI      48750‐9243
HOLLIMAN JR, JOHN P          120 EMERSON STREET                                                                                       GADSDEN        AL      35901‐5412
HOLLIMAN KRISTIN             HOLLIMAN, KRISTIN                     120 WEST MADISON STREET , 10TH                                     CHICAGO        IL      60602
                                                                   FLOOR
HOLLIMAN SR, HARRY H         1108 N PUMPING STATION RD                                                                                OVETT          MS      39464‐3544
HOLLIMAN, CHARLES G          2730 ALPHA WAY                                                                                           FLINT          MI      48506‐1833
HOLLIMAN, DALE N             5437 W ROSEBUD CT SE APT 7                                                                               KENTWOOD       MI      49512‐9461
HOLLIMAN, DONALD R           8632 W COUNTY ROAD 550 N                                                                                 MIDDLETOWN     IN      47356‐9785
HOLLIMAN, DOYLE E            6150 COUNTRY CORNER LN                                                                                   TERRELL        TX      75161‐6100
HOLLIMAN, FLETTER H          422 ELLIS AVE                                                                                            JACKSON        MS      39209‐5248
HOLLIMAN, FLETTER H          PO BOX 20622                                                                                             JACKSON        MS      39209‐9209
HOLLIMAN, FRANCES L          PO BOX 1871                                                                                              INDEPENDECE    MO      64055
HOLLIMAN, IDA B              P.O. BOX 1444                                                                                            CAMDEN         AR      71711‐2444
HOLLIMAN, IDA B              PO BOX 1444                                                                                              CAMDEN         AR      71711‐2444
HOLLIMAN, JOHN               PORTER & MALOUF PA                    4670 MCWILLIE DR                                                   JACKSON        MS      39206‐5621
HOLLIMAN, NOONON G           450 E 4TH ST                                                                                             GREENVILLE     OH      45331‐2043
HOLLIMAN, PAUL B             4129 LAWNDALE AVE                                                                                        FLINT          MI      48504
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Name                             Address1                        Address2            Address3         Address4               City               State   Zip
HOLLIMAN, WOODROW W              6021 RIDGEVIEW DR                                                                           ANDERSON            IN     46013‐9641
HOLLIMON, CURTIS                 PORTER & MALOUF PA              4670 MCWILLIE DR                                            JACKSON             MS     39206‐5621
HOLLIMON, DIANE                  3648 HESS ST J                                                                              SAGINAW             MI     48601
HOLLIMON, EDWIN L                1237 MORGAN ST                                                                              MOULTON             AL     35650‐5575
HOLLIMON, MAGGIE                 3580 NETHERLAND AVE APT 1B                                                                  BRONX               NY     10463‐1672
HOLLIN CARTER                    3004OAKRIDGE DRIVE                                                                          DAYTON              OH     45417‐1554
HOLLIN HALL AUTOMOTIVE SERVICE   7926 FORT HUNT RD                                                                           ALEXANDRIA          VA     22308‐1203
STATION
HOLLIN KING                      3359 MOUND ST                                                                               BETHEL             OH      45106‐9344
HOLLIN, EDWIN J                  495 PINEVIEW RD                                                                             LEXINGTON          TN      38351‐7966
HOLLINER RUSH                    3180 BROOKSHEAR CIR                                                                         AUBURN HILLS       MI      48326‐2208
HOLLINESS, CLEVERDELL            16751 BELL AVE                                                                              EASTPOINTE         MI      48021‐3323
HOLLINGDALE, HERBERT E           PO BOX 545                                                                                  MILFORD            MI      48381‐0545
HOLLINGDALE, WANDA               507 WASHINGTON DR                                                                           MICHIGAN CTR       MI      49254‐1459
HOLLINGER INTERNATIONAL INC.
HOLLINGER, CHARLOTTE A           1120 PINEY POINT RD                                                                         SPRING CITY         TN     37381‐7381
HOLLINGER, CLAUDIA               3420 RANGELEY ST                                                                            FLINT               MI     48503‐2938
HOLLINGER, DANA J                PO BOX 3638                                                                                 JANESVILLE          WI     53547‐3638
HOLLINGER, DEBRA P               800 BRIAN AVE. N                                                                            LEHIGH ACRES        FL     33971
HOLLINGER, DEBRA P               800 BRIAN AVE N                                                                             LEHIGH ACRES        FL     33971‐1258
HOLLINGER, DOUGLAS A             1120 PINEY POINT RD                                                                         SPRING CITY         TN     37381
HOLLINGER, ELISABETH             17305 OLYMPIA                                                                               DETROIT             MI     48240‐2139
HOLLINGER, GARY D                RR 9                                                                                        KOKOMO              IN     46901
HOLLINGER, HAROLD E              18335 MANORWOOD W                                                                           CLINTON TOWNSHIP    MI     48038‐1256

HOLLINGER, JAMES
HOLLINGER, KENNETH E             2301 S OLD OAKS DR                                                                          BEAVERCREEK        OH      45431‐2407
HOLLINGER, LARRY J               3223 49TH ST                                                                                SARASOTA           FL      34235‐2206
HOLLINGER, MARK E                4425 SEXTON RD                                                                              CLEVELAND          OH      44105‐6007
HOLLINGER, MATTIE D              1366 W 1150 S                                                                               KOKOMO             IN      46901‐7526
HOLLINGER, PEGGY                 16331 GLYNN ROAD                                                                            CLEVELAND          OH      44112‐3549
HOLLINGER, PHYLLIS V             16901 HOLLY HILL DR                                                                         CLEVELAND          OH      44128‐2563
HOLLINGER, R D                   299 KENDRY                                                                                  BLOOMFIELD         MI      48302‐0440
HOLLINGER, R DONALD              299 KENDRY                                                                                  BLOOMFIELD         MI      48302‐0440
HOLLINGER, SYLVIA D              1241 ALVORD AVE                                                                             FLINT              MI      48507‐2311
HOLLINGER, TAMIKA T              2326 BROWNING DR                                                                            JANESVILLE         WI      53546‐1142
HOLLINGS, STEVEN P               20870 MELROSE ST                                                                            SOUTHFIELD         MI      48075‐5680
HOLLINGS, WILLIAM R              49459 YALE DR                                                                               MACOMB             MI      48044‐1781
HOLLINGSHEAD, CATHY              1448 S DELAWARE AVE                                                                         WELLSTON           OH      45692‐9781
HOLLINGSHEAD, COURTNEY
HOLLINGSHEAD, DONALD             140 E LAKE CT                                                                               LAGRANGE           OH      44050‐9477
HOLLINGSHEAD, EDWARD             7474 ROBIN DR                                                                               MAINEVILLE         OH      45039‐9616
HOLLINGSHEAD, HOWARD A           2067 S VAN BUREN RD                                                                         REESE              MI      48757‐9202
HOLLINGSHEAD, JANET M            2909 RONAN ST APT 4                                                                         MIDLAND            MI      48642‐4648
HOLLINGSHEAD, JANET M            2909 RONAN ST.                  APT 4                                                       MIDLAND            MI      48642
HOLLINGSHEAD, KEITH E            15562 WALNUT CT                                                                             BASEHOR            KS      66007
HOLLINGSHEAD, LEON V             10439 CROMWELL DR                                                                           DALLAS             TX      75229‐5949
HOLLINGSHEAD, LINDA              1670 WINSLOW RD                                                                             ATTICA             MI      48412‐9707
HOLLINGSHEAD, LINDA              3526 DEER CHASE                                                                             WILLIAMSPORT       TN      38487‐2168
HOLLINGSHEAD, LINDA              3526 DEERCHASE DRIVE                                                                        WILLIAMSPORT       TN      38487
HOLLINGSHEAD, MELVIN R           10111 WASHBURN RD                                                                           COLUMBIAVILLE      MI      48421‐8810
HOLLINGSHEAD, STEVE L            2443 LONE TREE RD                                                                           MILFORD            MI      48380‐2117
HOLLINGSHEAD, STEVE L            8167 P[INE ST                                                                               GERMFASK           MI      49836‐9067
HOLLINGSHEAD, STEVE L            8167 PINE ST                                                                                GERMFASK           MI      49836
                                     09-50026-mg           Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                                 Address1                       Address2                         Address3   Address4               City               State Zip
HOLLINGSHED, JOHNEVA                 13116 SANTA ROSA                                                                                  DETROIT             MI 48238‐5162
HOLLINGSWORTH DISTRIBUTION
HOLLINGSWORTH DISTRIBUTION           MELISA WEST                    14225 W WARREN AVE                                                 DEARBORN           MI   48126‐1456
HOLLINGSWORTH DISTRIBUTION           MELISA WEST                    14225 WEST WARREN AVE.                                             EAGAN              MN
HOLLINGSWORTH DISTRIBUTION SYS LLC   14225 W WARREN AVE                                                                                DEARBORN           MI   48126‐1456

HOLLINGSWORTH DISTRIBUTION SYS LLC   MELISA WEST                    14225 W WARREN AVE                                                 DEARBORN           MI   48126‐1456

HOLLINGSWORTH DISTRIBUTION SYS LLC   MELISA WEST                    14225 WEST WARREN AVE.                                             EAGAN              MN

HOLLINGSWORTH DISTRIBUTION SYSTEMS   14225 W WARREN AVE                                                                                DEARBORN           MI   48126‐1456
LLC
HOLLINGSWORTH III, FLOYD L           907 W MEADOWBROOK DR                                                                              MIDLAND            MI   48640‐3455
HOLLINGSWORTH INC                    14225 W WARREN AVE                                                                                DEARBORN           MI   48126‐1456
HOLLINGSWORTH JAMESINA               PO BOX 39514                                                                                      GREENSBORO         NC   27438‐9514
HOLLINGSWORTH JEANNIE ATKINS         C/O EDWARD O MOODY PA          801 WEST 4TH STREET                                                LITTLE ROCK        AR   72201
HOLLINGSWORTH LOGISTICS              14225 W WARREN AVE                                                                                DEARBORN           MI   48126‐1456
MANAGEMENT LLC
HOLLINGSWORTH ROBERT (ESTATE OF)     BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD         OH   44067
(489094)                                                            PROFESSIONAL BLDG
HOLLINGSWORTH ROBERT J               HOLLINGSWORTH, ROBERT          2 STATE STREET CROSSROADS BLDG                                     ROCHESTER          NY   14614
                                                                    4TH FLOOR
HOLLINGSWORTH SHANA              2670 GREENWAY                                                                                         HIGH RIDGE         MO   63049‐3533
HOLLINGSWORTH WOODROW W (640562) GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA   23510
                                                                    STREET, SUITE 600
HOLLINGSWORTH, ALICE M               208 NEWBERRY CV                                                                                   JONESBORO          AR   72404‐9114
HOLLINGSWORTH, ANN J                 11358 REED RD                                                                                     VERSAILLES         OH   45380‐9708
HOLLINGSWORTH, ARTHUR S              1269 LAKE VALLEY DR                                                                               FENTON             MI   48430‐1209
HOLLINGSWORTH, BARRY R               803 CANDLELIGHT DR APT 2B                                                                         BEL AIR            MD   21014‐2686
HOLLINGSWORTH, BECKY A               BOX 459 F RT 2                                                                                    FREDRICKTOWN       MO   63645
HOLLINGSWORTH, BERTHA L              814 PHILADELPHIA DR                                                                               KOKOMO             IN   46902‐4922
HOLLINGSWORTH, CARL D                PO BOX 499                                                                                        DALEVILLE          IN   47334‐0499
HOLLINGSWORTH, CARLA J               126 GILLETTE ST                                                                                   ROCHESTER          NY   14619
HOLLINGSWORTH, CAROLE J              319 S ELM ST                                                                                      WEST CARROLLTON    OH   45449‐1738

HOLLINGSWORTH, CECILIA L             10018 READING RD                                                                                  RICHMOND           TX   77469‐7326
HOLLINGSWORTH, CHARLES               9413 MANCHESTER AVE                                                                               KANSAS CITY        MO   64138‐4262
HOLLINGSWORTH, CHRISTA U             367 QUARTER HORSE LANE                                                                            LA GRANGE          OH   44050‐9610
HOLLINGSWORTH, CLARENCE              6339 WEST ROUTES 22 & 3                                                                           WILMINGTON         OH   45177
HOLLINGSWORTH, CLAUD                 PO BOX 1345                                                                                       E ST LOUIS         IL   62207
HOLLINGSWORTH, CLAUD                 5517 OLD MISSOURI RD                                                                              EAST SAINT LOUIS   IL   62207
HOLLINGSWORTH, CLIFTON               17529 EDINBOROUGH RD                                                                              DETROIT            MI   48219‐3516
HOLLINGSWORTH, CLORMAN OLIVER        9075 S TOMAHAWK TRL                                                                               MARKLEVILLE        IN   46056‐9735
HOLLINGSWORTH, CLYDE J               6305 SPRING CREEK DR                                                                              GUNTERSVILLE       AL   35976‐2840
HOLLINGSWORTH, CRAIG                 12122 HIGHWAY 129                                                                                 WINFIELD           AL   35594‐3124
HOLLINGSWORTH, CRAIG M               3691 EMBARCADERO ST                                                                               WATERFORD          MI   48329‐2240
HOLLINGSWORTH, DANIEL R              3641 S CLARKSVILLE RD                                                                             CLARKSVILLE        OH   45113
HOLLINGSWORTH, DAVID G               48 COUNTRY CREEK DR                                                                               MCLOUD             OK   74851‐8406
HOLLINGSWORTH, DELVIGNE R            925 S. CO. RD. 300 W.                                                                             KOKOMO             IN   46902
HOLLINGSWORTH, DENNIS L              405 SOUTH HOWARD STREET                                                                           SUMMITVILLE        IN   46070‐9755
HOLLINGSWORTH, DONALD G              4403 STELLO RD                                                                                    SAGINAW            MI   48609‐9775
HOLLINGSWORTH, EBONEY                7436 S KINGSTON AVE                                                                               CHICAGO            IL   60649‐5614
HOLLINGSWORTH, EBONEY                7436 S KINGSTON AVE                                                                               CHICAGO            IL   60649‐5614
HOLLINGSWORTH, EDWARD                1175 WILMINGTON RD                                                                                LEBANON            OH   45036‐8499
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Name                           Address1                          Address2                         Address3   Address4               City            State   Zip
HOLLINGSWORTH, EDWARD L        47205 SHERWOOD CT                                                                                    CANTON           MI     48188‐2395
HOLLINGSWORTH, EL & CO         CHRISTOPHER SHEPARD               3039 AIRPARK DR N                                                  FLINT            MI     48507‐3471
HOLLINGSWORTH, EL & CO         GARY HOUSE                        3039 AIRPARK DR N                                                  FLINT            MI     48507‐3471
HOLLINGSWORTH, ELIJAH          814 PHILADELPHIA DR                                                                                  KOKOMO           IN     46902‐4922
HOLLINGSWORTH, ELTON J         14060 HIGHWAY JJ                                                                                     VALLES MINES     MO     63087‐1002
HOLLINGSWORTH, EVA M           54 GUMLEY RD                                                                                         BLANCHESTER      OH     45107‐8756
HOLLINGSWORTH, EVA M           54 GUMLEY ROAD                                                                                       BLANCHESTER      OH     45107‐5107
HOLLINGSWORTH, GARL L          400 E 8TH ST                                                                                         TUSCUMBIA        AL     35674‐2505
HOLLINGSWORTH, GARY L          1012 HARVARD AVE                                                                                     FAIRBORN         OH     45324‐3708
HOLLINGSWORTH, GEORGE          139 E.M.S. T17 A L.M                                                                                 LEESBURG         IN     46538
HOLLINGSWORTH, GEORGE H        616 W 3RD ST                                                                                         MARION           IN     46952‐3747
HOLLINGSWORTH, GERALD L        611 W HOWARD ST                                                                                      MUNCIE           IN     47305‐2247
HOLLINGSWORTH, IRMA M          3652 HEIDELBERG                                                                                      DETROIT          MI     48207‐2436
HOLLINGSWORTH, JACKIE S        48 COUNTRY CREEK DR                                                                                  MCLOUD           OK     74851‐8406
HOLLINGSWORTH, JACQUELINE T    2927 STRATFORD DRIVE                                                                                 ST CHARLES       MO     63303‐6038
HOLLINGSWORTH, JAMES B         959 MISTLETOE RD                                                                                     ABBEVILLE        GA     31001‐5605
HOLLINGSWORTH, JANET K         FARACI LANGE LLP                  2 STATE STREET CROSSROADS                                          ROCHESTER        NY     14614
                                                                 BUILDING 4TH FLOOR
HOLLINGSWORTH, JOANN KIEGLEY   313 W 2ND ST                                                                                         ANDERSON        IN      46016‐2209
HOLLINGSWORTH, JOANN KIEGLEY   313 W 2ND STREET                                                                                     ANDERSON        IN      46016‐2209
HOLLINGSWORTH, JOE B           801 PINEHURST ST                                                                                     CLINTON         MS      39056‐4041
HOLLINGSWORTH, JOHN
HOLLINGSWORTH, JOHNNY          10467 CLEAR CREEK RD                                                                                 RICHWOODS       MO      63071‐2500
HOLLINGSWORTH, JUDITH A.       3018 EAST AVE                                                                                        BALTIMORE       MD      21234‐3105
HOLLINGSWORTH, KAREN M         12466 DUCK SPRINGS RD                                                                                ATTALLA         AL      35954‐8000
HOLLINGSWORTH, KAREN P         1196 GLEN SHAW ROAD                                                                                  EDMONTON        KY      42129‐9215
HOLLINGSWORTH, LEO             PO BOX 2101                                                                                          MUSCLE SHOALS   AL      35662‐2101
HOLLINGSWORTH, LIONEL          4215 MACKINAW ST                                                                                     SAGINAW         MI      48602‐3315
HOLLINGSWORTH, LLOYD H         1659 S RIDGEVIEW RD                                                                                  LOGANSPORT      IN      46947‐8256
HOLLINGSWORTH, LOYD E          628 BROOK DR 3                                                                                       GREENWOOD       IN      46143
HOLLINGSWORTH, MARGARET E      628 BROOK DR 3                                                                                       GREENWOOD       IN      46143
HOLLINGSWORTH, MARJORIE H      30 W 37TH STREET                                                                                     ANDERSON        IN      46013‐4202
HOLLINGSWORTH, MARJORIE H      30 W 37TH ST                                                                                         ANDERSON        IN      46013‐4202
HOLLINGSWORTH, MARK D          6824 WHITE OAK DR                                                                                    AVON            IN      46123‐9297
HOLLINGSWORTH, MARTHA K        1307 CLINT ST                                                                                        CARROLLTON      TX      75006
HOLLINGSWORTH, MICHELLE D      2621 TROLLIE LN APT 12                                                                               JACKSONVILLE    FL      32211‐3854
HOLLINGSWORTH, MIKE D          5522 MAPLEWOOD DR                                                                                    SPEEDWAY        IN      46224‐3332
HOLLINGSWORTH, MONTE A         172 SEWARD ST                                                                                        ROCHESTER       NY      14608‐2644
HOLLINGSWORTH, OMER L          1526 JOHNSON AVE                                                                                     ANDERSON        IN      46016‐1960
HOLLINGSWORTH, PAUL F          3605 CHERVIL DRIVE                                                                                   SAINT CHARLES   MO      63303‐6302
HOLLINGSWORTH, PEGGY A         72 MASSELIL DR APT 249                                                                               CARTERSVILLE    GA      30121
HOLLINGSWORTH, PHILIP L        5795 DOUGLAS WAY                                                                                     ANDERSON        IN      46013‐9626
HOLLINGSWORTH, PRYOR B         2938 S TAFT AVE                                                                                      INDIANAPOLIS    IN      46241‐5924
HOLLINGSWORTH, RANDY L         4321 SEIDEL PL                                                                                       SAGINAW         MI      48638‐5601
HOLLINGSWORTH, REBECCA L       616 W 3RD ST                                                                                         MARION          IN      46952‐3747
HOLLINGSWORTH, REBECCA LYNN    616 W 3RD ST                                                                                         MARION          IN      46952‐3747
HOLLINGSWORTH, RICHARD M       PO BOX 202                                                                                           SUMMITVILLE     IN      46070‐0202
HOLLINGSWORTH, ROBERT          1319 W MICHIGAN AVE                                                                                  LANSING         MI      48915
HOLLINGSWORTH, ROBERT
HOLLINGSWORTH, ROBERT          JOESPH REGAN                      2 STATE STREET CROSSROADS BLDG                                     ROCHESTER        NY     14614
                                                                 4TH FLOOR
HOLLINGSWORTH, ROBERT A        332 EDGEWOOD AVE                                                                                     KENMORE          NY     14223‐2526
HOLLINGSWORTH, ROBERT G        50 PUGH FLAT CHURCH ROAD                                                                             CADIZ            KY     42211‐8555
HOLLINGSWORTH, ROBERT J        7852 WAGNER LN                                                                                       IRA              MI     48023‐2449
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Name                         Address1                        Address2                      Address3   Address4               City            State   Zip
HOLLINGSWORTH, ROBERT L      PO BOX 6042                                                                                     SAGINAW          MI     48608‐6042
HOLLINGSWORTH, ROBIN E       1139 HAPEMAN ST 23                                                                              LANSING          MI     48915
HOLLINGSWORTH, SANDRA L      1513 AMBER LN                                                                                   GUNTERSVILLE     AL     35976‐2431
HOLLINGSWORTH, SAUNDRA J     3691 EMBARCADERO ST                                                                             WATERFORD        MI     48329‐2240
HOLLINGSWORTH, STEPHANIE R   5600 W KILGORE AVE TRLR 100                                                                     MUNCIE           IN     47304‐4755
HOLLINGSWORTH, STEPHANIE R   9515 WEST MORSE ST                                                                              YORKTOWN         IN     47396
HOLLINGSWORTH, TAMI J        203 E BRUCE AVE                                                                                 DAYTON           OH     45405
HOLLINGSWORTH, THOMAS W      3651 W HARRISON ST                                                                              SPRINGFIELD      MO     65802‐5702
HOLLINGSWORTH, TRACY D       35 SALEM DR                                                                                     SPRINGBORO       OH     45066
HOLLINGSWORTH, TRAVIS L      1119 S BEECHGROVE RD                                                                            WILMINGTON       OH     45177‐7687
HOLLINGSWORTH, VELMA J       303 KAYREAN PLZ                                                                                 HILLSBORO        OH     45133‐8563
HOLLINGSWORTH, VERNON R      2721 ROGER ST                                                                                   SEBRING          FL     33872‐4244
HOLLINGSWORTH, WENDELL S     10018 READING RD                                                                                RICHMOND         TX     77469‐7326
HOLLINGSWORTH, WILLIE J      3296 DARBY DR                                                                                   DOUGLASVILLE     GA     30135
HOLLINGSWORTH, WILLIE J      3296 DARBY DRIVE                                                                                DOUGLASVILLE     GA     30135‐3187
HOLLINGSWORTH, WOODROW W     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                             STREET, SUITE 600
HOLLINGSWORTH/DEARBO         14225 W WARREN AVE              ATTN: MELISA WEST                                               DEARBORN        MI      48126‐1456
HOLLINK, BARBARA J           6688 GREENWOOD PKWY                                                                             HILTON          NY      14468‐9122
HOLLINK, WILLIAM H           6687 GREENWOOD PARKWAY                                                                          HILTON          NY      14468
HOLLINS COLLEGE              PO BOX 9658                                                                                     ROANOKE         VA      24020‐1658
HOLLINS I I, GEORGE T        4176 ASPEN PL                                                                                   WEST SALEM      OH      44287‐9654
HOLLINS II, GEORGE T         4176 ASPEN PL                                                                                   WEST SALEM      OH      44287‐9654
HOLLINS JR, JERRY            28678 OAKWOOD ST                                                                                INKSTER         MI      48141‐3903
HOLLINS PEEPLES JR           15391 STANSBURY ST                                                                              DETROIT         MI      48227‐3271
HOLLINS, ALEX                4171 FLAKES MILL MANOR LN                                                                       ELLENWOOD       GA      30294‐1498
HOLLINS, ANDREA J            2714 STEVENSON ST                                                                               FLINT           MI      48504
HOLLINS, AUGUSTA             1010 PINE STREET                                                                                WEST MONROE     LA      71291‐4051
HOLLINS, BERT L              6805 FLEMING RD                                                                                 FLINT           MI      48504‐1610
HOLLINS, CAROL J             22290 KELLY RD                  APT 104                                                         EAST POINTE     MI      48021‐2662
HOLLINS, CAROL J             22290 KELLY RD APT 104                                                                          EASTPOINTE      MI      48021‐2662
HOLLINS, CHERYL              1648 GOLDEN LN                                                                                  YPSILANTI       MI      48198‐3660
HOLLINS, CONNIE LE           PO BOX 5104                                                                                     FOSTORIA        OH      44830‐5104
HOLLINS, DARCIA              7736 S WOLCOTT AVE                                                                              CHICAGO         IL      60620‐5229
HOLLINS, DEWITT              4000 BORDEAUX DR                                                                                SHREVEPORT      LA      71108‐4700
HOLLINS, DOMINIQUE KEITH     4724 CADILLAC BLVD                                                                              DETROIT         MI      48214‐1410
HOLLINS, DONNA R             6300 E 120TH TER                                                                                GRANDVIEW       MO      64030‐1210
HOLLINS, FLORENCE M          2210 OBRIEN RD                                                                                  MOUNT MORRIS    MI      48458‐2635
HOLLINS, FLORENCE MARIE      2210 OBRIEN RD                                                                                  MOUNT MORRIS    MI      48458‐2635
HOLLINS, GLADYS W            1141 COKER CIR                                                                                  JACKSON         MS      39213‐9516
HOLLINS, H L                 PO BOX 10248                                                                                    BOWLING GREEN   KY      42102‐7248
HOLLINS, H LEE               PO BOX 10248                                                                                    BOWLING GREEN   KY      42102‐7248
HOLLINS, HENRY L             4421 TAHOE DR                                                                                   FORT WORTH      TX      76119‐3835
HOLLINS, JAMES B             49 WEDGEWOODE LN                                                                                PONTIAC         MI      48340‐2273
HOLLINS, JAMES R             630 W BUNDY AVE                                                                                 FLINT           MI      48505‐2043
HOLLINS, JMARQUELLO
HOLLINS, JOHN R              9534 HUBBELL ST                                                                                 DETROIT         MI      48227‐2702
HOLLINS, JOSEPH P            66 GOMBER AVE                                                                                   CAMBRIDGE       OH      43725‐1222
HOLLINS, LARRY F             PO BOX 27431                                                                                    LANSING         MI      48909‐0431
HOLLINS, LEWIS F             11238 LAPEER RD                                                                                 DAVISON         MI      48423
HOLLINS, LOUISE              24400 CIVIC CENTER DR           APT 412                                                         SOUTHFIELD      MI      48033
HOLLINS, LOUISE              24400 CIVIC CENTER DR APT 412                                                                   SOUTHFIELD      MI      48033‐2548
HOLLINS, LUCRETIA A          11238 LAPEER RD                                                                                 DAVISON         MI      48423‐8118
HOLLINS, LUCRETIA ANN        11238 LAPEER RD                                                                                 DAVISON         MI      48423‐8118
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Name                               Address1                            Address2                   Address3                    Address4               City               State   Zip
HOLLINS, MALCOLM A                 14135 MANOR ST                                                                                                    DETROIT             MI     48238‐2253
HOLLINS, MALCOLM A.                12083 APPOLINE ST                                                                                                 DETROIT             MI     48227‐3814
HOLLINS, MANTORA                   250 LIBERTY UNIT 104                                                                                              BELLEVILLE          MI     48111
HOLLINS, MILTON L                  PO BOX 470                                                                                                        BRIDGEPORT          MI     48722‐0470
HOLLINS, MILTON L.                 PO BOX 470                                                                                                        BRIDGEPORT          MI     48722‐0470
HOLLINS, NATHANIEL                 421 BUCKHORN BEND LOOP RD                                                                                         MONROE              LA     71202
HOLLINS, PERCY L                   3119 JACQUELINE CT                                                                                                SAINT LOUIS         MO     63114‐3045
HOLLINS, PRUDENCE D                16905 WILDEMERE                                                                                                   DETROIT             MI     48221‐3335
HOLLINS, RAYMOND                   3521 RUBY LN                                                                                                      SAINT CHARLES       MO     63303‐6475
HOLLINS, REGINALD                  5776 PARKER ST                                                                                                    DETROIT             MI     48213‐2569
HOLLINS, REYNARD                   PO BOX 4958                                                                                                       EAST LANSING        MI     48826‐4958
HOLLINS, RICK L                    3745 BIRCHTREE LN                                                                                                 COLUMBUS            OH     43232‐4890
HOLLINS, ROBERT C                  1401 GINN WAY                                                                                                     LUFKIN              TX     75901‐6037
HOLLINS, ROSIE MOORE               217 GAGE ST                                                                                                       PONTIAC             MI     48342‐1640
HOLLINS, ROSIE MOORE               217 GAGE STREET                                                                                                   PONTIAC             MI     48342
HOLLINS, SARAH M                   3120 FALCON DR                                                                                                    BURTON              MI     48519‐1485
HOLLINS, SHONDA R                  1075 WEBSTER DR                                                                                                   JACKSON             MS     39213
HOLLINS, VANESSA B                 3081 VALERIE ARMS DRIVE                                                                                           DAYTON              OH     45405
HOLLINS, WALTER C                  17605 STONE VALLEY DR                                                                                             HAGERSTOWN          MD     21740‐7750
HOLLINS, WALTER CARVER             17605 STONE VALLEY DRIVE                                                                                          HAGERSTOWN          MD     21740‐7750
HOLLINS, WILLIAM H                 9526 LITTLEFIELD ST                                                                                               DETROIT             MI     48227‐3427
HOLLINS, WILLIE H                  2330 ELLSWORTH RD APT 301                                                                                         YPSILANTI           MI     48197‐4862
HOLLINS, ZOE J                     5776 PARKER ST                                                                                                    DETROIT             MI     48213‐2569
HOLLINSHEAD MENDELSON              BRESNAHAN & NIXON PC                310 GRANT ST STE 2901      310 GRANT ST ADD CHG                               PITTSBURGH          PA     15219‐2256
                                                                                                  11/27/02
HOLLINSHEAD MENDELSON BRESNAHAN & ATTN: CORPORATE OFFICER/AUTHORIZED   310 GRANT ST STE 2901      310 GRANT ST                                       PITTSBURGH          PA     15219‐2256
NIXON PC                          AGENT
HOLLINSHEAD, ALICE B              1221 DRURY CT APT C443                                                                                             MAYFIELD HEIGHTS   OH      44124‐7119

HOLLINSHED, LUNNELL                1908 WASHINGTON AVE                                                                                               KANSAS CITY        KS      66102‐2751
HOLLINSWORTH, JEANNIE ATKINS       MOODY EDWARD O                      801 W 4TH ST                                                                  LITTLE ROCK        AR      72201‐2107
HOLLINSWORTH, SILVESTA             200 CENTRE AVE APT 3M                                                                                             NEW ROCHELLE       NY      10805‐2628
HOLLIS A HOOVER                    7077 SHAFFER RD NW                                                                                                WARREN             OH      44481‐9408
HOLLIS ADAMS                       5406 KERMIT ST                                                                                                    FLINT              MI      48505‐2586
HOLLIS ADAMS                       516 STOCKDALE ST                                                                                                  FLINT              MI      48503‐5120
HOLLIS ALEXANDER                   3885 HIGHWAY 55 E                                                                                                 EVA                AL      35621‐8921
HOLLIS ARCHER                      10517 E 26TH TER S                                                                                                INDEPENDENCE       MO      64052‐3303
HOLLIS BARKER                      840 S BRIDGE ST                                                                                                   DEWITT             MI      48820
HOLLIS BASTIN                      1715 PLANTATION DR                                                                                                MARTINSVILLE       IN      46151‐3143
HOLLIS BRINKLOW                    40 CREIGHTON CT                                                                                                   MARTINSBURG        WV      25404‐7475
HOLLIS CAMPBELL                    418 6TH AVE                                                                                                       COLUMBIA           TN      38401‐2828
HOLLIS CAMPBELL                    4816 S MAZE DR                                                                                                    MUNCIE             IN      47302‐9060
HOLLIS CHAPMAN                     420 HILLCREST ST                                                                                                  MANSFIELD          TX      76063‐2116
HOLLIS COLLINS                     1800 HIGH MEADOW ST                                                                                               GLENN HEIGHTS      TX      75154‐8803
HOLLIS CROCKETT                    3993 GLENN RD                                                                                                     FRANKLIN           GA      30217‐7049
HOLLIS CROY                        46837 BENNETT CT                                                                                                  CANTON             MI      48187‐1421
HOLLIS D STEVENS                   33520 PARDO ST                                                                                                    GARDEN CITY        MI      48135‐1168
HOLLIS DANIEL                      645 GLADSTONE                                                                                                     DETROIT            MI      48202
HOLLIS DEXTER                      8156 NEW LOTHROP RD                                                                                               NEW LOTHROP        MI      48460‐9677
HOLLIS DICKERSON                   9145 SPRUCE AVE                                                                                                   NEWAYGO            MI      49337‐8884
HOLLIS DONALD                      2810 ROCKFORD LN                                                                                                  KOKOMO             IN      46902‐3202
HOLLIS DYE                         8033 COUNTRY CLUB DR                                                                                              BROOKSVILLE        FL      34613‐5721
HOLLIS FRANKLIN LEE                ATTN ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD PO BOX                          EAST ALTON         IL      62024
                                                                       ANGELIDES & BARNERD LLC    521
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Name                    Address1                       Address2                     Address3   Address4               City             State   Zip
HOLLIS HADEN            86 HINES RD                                                                                   LAUREL            MS     39443‐4929
HOLLIS HARRISON         CASCINO MICHAEL P              220 SOUTH ASHLAND AVE                                          CHICAGO            IL    60607
HOLLIS HAWTHORNE        349 JULIUS DAVIS LN                                                                           MARSHALL          TX     75672‐3350
HOLLIS HIBBARD          13551 PIERCE RD                                                                               BYRON             MI     48418‐9729
HOLLIS HOOVER           7077 SHAFFER RD NW                                                                            WARREN            OH     44481‐9408
HOLLIS HOUGHTALING      9334 E POTTER RD                                                                              DAVISON           MI     48423‐8156
HOLLIS IGOU             14315 E SPUR N                                                                                STOCKTON          MO     65785‐7288
HOLLIS III, HERBERT C   18399 COCHRAN BLVD                                                                            PORT CHARLOTTE    FL     33948‐3329
HOLLIS J GORTON         5092 E LAKE ROAD                                                                              LIVONIA           NY     14487‐‐ 92
HOLLIS JR, CLINTON      2430 HAMMEL ST                                                                                SAGINAW           MI     48601‐2435
HOLLIS JR, CORNELIUS    2269 E MOUNT MORRIS RD                                                                        MOUNT MORRIS      MI     48458‐8801
HOLLIS JR, JIMMY D      18035 LOUISVILLE RD                                                                           SMITHS GROVE      KY     42171‐8706
HOLLIS JR, JIMMY DALE   18035 LOUISVILLE RD                                                                           SMITHS GROVE      KY     42171‐8706
HOLLIS JR, WALTER       3033 PIQUA AVE                                                                                FORT WAYNE        IN     46806‐1016
HOLLIS KINDER           PO BOX 211                                                                                    HIGDEN            AR     72067‐0211
HOLLIS L CROY           46837 BENNETT CT                                                                              CANTON            MI     48187‐1421
HOLLIS LEWIS            1599 BRANDYWINE WAY                                                                           DUNEDIN           FL     34698‐6302
HOLLIS MCCABE JR        PO BOX 6924                                                                                   SAGINAW           MI     48608‐6924
HOLLIS MCCLENDON        20 S SCATTERFIELD RD                                                                          ANDERSON          IN     46012‐3103
HOLLIS NEWHOUSE         206 E PULASKI AVE                                                                             FLINT             MI     48505‐3314
HOLLIS O WESTMORELAND   1205 S HIGHWAY 14                                                                             GREER             SC     29650‐2412
HOLLIS OAKES            6331 BRUSH RUN                                                                                INDIANAPOLIS      IN     46268‐4030
HOLLIS PHILLIPS         1535 78TH ST                                                                                  NEWAYGO           MI     49337‐9204
HOLLIS REBECCA          7342 MEXICO RD                                                                                SAINT PETERS      MO     63376‐1307
HOLLIS SEXTON           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH     44236
HOLLIS SR., JOHN J      1230 BROENING HWY                                                                             BALTIMORE         MD     21224‐5527
HOLLIS STACEY           705 MORNINGSTAR DR                                                                            ELLWOOD CITY      PA     16117‐3018
HOLLIS STARR            747 S JEFFERSON ST                                                                            BROWNSBURG        IN     46112‐1674
HOLLIS STEVENS          33520 PARDO ST                                                                                GARDEN CITY       MI     48135‐1168
HOLLIS SUTHERLAND       1133 CARLSON DR                                                                               BURTON            MI     48509‐2305
HOLLIS SWINEA           2502 TRENTON PL                                                                               FLORENCE          AL     35630‐1727
HOLLIS WEBSTER          817 N CLINTON ST LOT 111                                                                      GRAND LEDGE       MI     48837‐1151
HOLLIS WESTMORELAND     1205 S HIGHWAY 14                                                                             GREER             SC     29650‐2412
HOLLIS WILMOTH          1563 LAURA ST 31                                                                              CLEARWATER        FL     33755
HOLLIS WILMOTH          1563 LAURA ST                                                                                 CLEARWATER        FL     33755‐6045
HOLLIS WOOLSEY          1411 MOHAWK DR                                                                                ARLINGTON         TX     76012‐4336
HOLLIS, ALICE D         609 OAKRIDGE CT                                                                               GRAND HAVEN       MI     49417‐2373
HOLLIS, ALTON           17526 WESTMORELAND RD                                                                         DETROIT           MI     48219‐3549
HOLLIS, ALVIN G         3093 PROMENADE CIRCLE                                                                         ANN ARBOR         MI     48108‐1559
HOLLIS, ALVIN GENE      3093 PROMENADE CIRCLE                                                                         ANN ARBOR         MI     48108‐1559
HOLLIS, ANDREW J        3712 HERITAGE PKWY                                                                            DEARBORN          MI     48124‐3152
HOLLIS, BARBARA J       456 HOWARD BROWN RD                                                                           WEST MONROE       LA     71292‐0286
HOLLIS, BARRY E         11378 GENEVA RD                                                                               CINCINNATI        OH     45240‐2410
HOLLIS, BENNY V         157 COUNTY ROAD 122                                                                           MOULTON           AL     35650‐7801
HOLLIS, BETTY J         602 N CLAY ST                                                                                 FRANKFORT         IN     46041‐1713
HOLLIS, BETTY J         602 N CLAY                                                                                    FRANKFORT         IN     46041‐1713
HOLLIS, BRIAN R         5830 PLUM HOLLOW DR            APT 12                                                         YPSILANTI         MI     48197‐8805
HOLLIS, BRIAN R.        9133 CHATWELL CLUB LN APT 8                                                                   DAVISON           MI     48423‐2878
HOLLIS, CAROL           15461 LAUDER ST                                                                               DETROIT           MI     48227‐2628
HOLLIS, CHARLES B       20 COURT S                                                                                    ELLENWOOD         GA     30294‐3253
HOLLIS, COUTIES D       370 WIMBLEDON RD NE                                                                           ATLANTA           GA     30324‐4823
HOLLIS, DANNY           45 CASEYS WAY                                                                                 COVINGTON         GA     30014‐7466
HOLLIS, DAVE D          PO BOX 29596                                                                                  SHREVEPORT        LA     71149‐9596
HOLLIS, DENISE E        1835 S ALTA VISTA AVE APT E                                                                   MONROVIA          CA     91016
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Name                   Address1                          Address2                Address3   Address4               City               State   Zip
HOLLIS, DENNIS J       2408 FALLS RIVER DR                                                                         LITHIA SPRINGS      GA     30122‐3015
HOLLIS, DEWEY F        2086 ALBERTA ST                                                                             WESTLAND            MI     48186‐4666
HOLLIS, DONALD A       LOT 15                            5780 WEST ERIE AVENUE                                     LORAIN              OH     44053‐1643
HOLLIS, DONALD A       651 PARKER RD                                                                               OCEANSIDE           CA     92058
HOLLIS, DONALD A       2810 ROCKFORD LN                                                                            KOKOMO              IN     46902‐3202
HOLLIS, DONALD L       PO BOX 235                                                                                  BUCHANAN            VA     24066
HOLLIS, DORTHA E       1010 HICKORY ST                                                                             LAWRENCEBURG        TN     38464‐3919
HOLLIS, EDITH H        PO BOX 146                                                                                  IDLEWILD            MI     49642‐0146
HOLLIS, EDNA B         50 PERRY PLACE APT. #50                                                                     PONTIAC             MI     48340
HOLLIS, ELBERT E       17680 RUNYON ST                                                                             DETROIT             MI     48234‐3823
HOLLIS, EMMETT E       PO BOX 282                                                                                  COURTLAND           AL     35618‐0282
HOLLIS, ERWIN W        9628 RESEDA BLVD APT 303                                                                    NORTHRIDGE          CA     91324‐2004
HOLLIS, FREDDA         515 W GRAND AVE APT 5A                                                                      DAYTON              OH     45405‐4412
HOLLIS, FREDDA         515 W. GRAND AVE #5A                                                                        DAYTON              OH     45405‐4412
HOLLIS, FREDERICK B    424 OLYMPIC AVE                                                                             BUFFALO             NY     14215‐2741
HOLLIS, FREDERICK E    1212 WINCHCOMBE DR                                                                          BLOOMFIELD HILLS    MI     48304‐1170
HOLLIS, FREDERICK E    15461 LAUDER ST                                                                             DETROIT             MI     48227‐2628
HOLLIS, GEOFFREY T     1891 ARMSTRONG RD                                                                           FAIRBORN            OH     45324‐9734
HOLLIS, GEORGE         4016 W RUE DE LAMOUR AVE                                                                    PHOENIX             AZ     85029‐1051
HOLLIS, GEORGE A       3518 N CHANDLER DR                                                                          HERNANDO            FL     34442‐3756
HOLLIS, GEORGE L       8200 PONTIAC LAKE RD APT 14                                                                 WHITE LAKE          MI     48386
HOLLIS, GEORGE R       7767 CLIFTON DR                                                                             SOUTH BRANCH        MI     48761‐9622
HOLLIS, GERALD W       8957 TWELVE OAKS DR                                                                         SHREVEPORT          LA     71118‐2309
HOLLIS, GERALD WAYNE   8957 TWELVE OAKS DR                                                                         SHREVEPORT          LA     71118‐2309
HOLLIS, GWENDOLYN      18537 NORWOOD ST                                                                            DETROIT             MI     48234‐1845
HOLLIS, HELEN I        305 LA JOLLA AVE                                                                            SUN CITY CTR        FL     33573‐6262
HOLLIS, HELEN I        307 S MAPLE ST                                                                              GREENTOWN           IN     46936‐1569
HOLLIS, HERBERT C      18399 COCHRAN BLVD                                                                          PORT CHARLOTTE      FL     33948‐3329
HOLLIS, HERBERT D      1770 JENKINS RD                                                                             BOWLING GREEN       KY     42101‐7834
HOLLIS, HUGH D         5532 STUART MILL RD.                                                                        DOUGLASVILLE        GA     30135
HOLLIS, J D            3372 OLD ELBERT RD                                                                          ROYSTON             GA     30662‐7547
HOLLIS, JACK D         259 FRIENDSHIP CT                                                                           ANDERSON            IN     46013‐1091
HOLLIS, JACQUELINE R   60 MONA CT                                                                                  SUMTER              SC     29154‐8696
HOLLIS, JAMES E        9420 SPENCER LAKE RD                                                                        SPENCER             OH     44275‐9780
HOLLIS, JAMES E        29731 ECORSE RD                                                                             ROMULUS             MI     48174‐3527
HOLLIS, JAMES H        307 BERT LN                                                                                 INKSTER             MI     48141‐1079
HOLLIS, JANET M        16170 ROANOKE ST APT 102                                                                    SOUTHFIELD          MI     48075‐5948
HOLLIS, JANICE J       10015 SOUTH MOODY                                                                           OAKLAWN              IL    60453‐721
HOLLIS, JASON T        37165 ELIZABETH LN                                                                          NEW BOSTON          MI     48164‐9672
HOLLIS, JEAN           PO BOX 430375                                                                               PONTIAC             MI     48343
HOLLIS, JENNIFER A     1656 LAFAYETTE BOULEVARD                                                                    LINCOLN PARK        MI     48146‐1749
HOLLIS, JEREMIAH       PO BOX 25821                                                                                TEMPE               AZ     95295‐5821
HOLLIS, JIMMY D        1084 WHALEN RD                                                                              BROWNSVILLE         KY     42210‐9252
HOLLIS, JIMMY DALE     1084 WHALEN RD                                                                              BROWNSVILLE         KY     42210‐9252
HOLLIS, JIMMY R        PO BOX 173                                                                                  PENDERGRASS         GA     30567‐0173
HOLLIS, JOAN G         1705 W BOULEVARD                                                                            KOKOMO              IN     46902‐6110
HOLLIS, JOHN C         20 MILLER ST                                                                                PONTIAC             MI     48341‐1735
HOLLIS, JOHN C         PO BOX 1640                                                                                 GARDEN CITY         MI     48136‐1640
HOLLIS, JOHNNY         786 RODNEY DR SW                                                                            ATLANTA             GA     30311‐2332
HOLLIS, JULIUS J       PO BOX 146                                                                                  IDLEWILD            MI     49642‐0146
HOLLIS, KAREN D        2608 SHEFFIELD DR                                                                           INDIANAPOLIS        IN     46229‐1429
HOLLIS, KAREN L        417 STRATFORD SQUARE BLVD APT 8                                                             DAVISON             MI     48423‐1666
HOLLIS, KAREN L        APT 8                             417 STRATFORD SQUARE                                      DAVISON             MI     48423‐1666
HOLLIS, KATHERINE L    5131 HELEN ST                                                                               DETROIT             MI     48211‐3344
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Name                       Address1                        Address2              Address3                    Address4               City              State Zip
HOLLIS, KATHLEEN E         812 E 21ST AVE                                                                                           NORTH KANSAS CITY MO 64116‐3310

HOLLIS, KEN D              198 CO RD 46                                                                                             MOUNT HOPE       AL   35651
HOLLIS, KENNETH F          301 BLUE HERON CT                                                                                        MIDDLETOWN       DE   19709‐2213
HOLLIS, KYNDALL S          G3358 EMERSON ST                                                                                         FLINT            MI   48504‐2440
HOLLIS, LARRY              2683 ALLEN RD                                                                                            MACON            GA   31216
HOLLIS, LARRY W            7918 ESSEN AVE                                                                                           PARMA            OH   44129‐3131
HOLLIS, LAURA N            876 SPENCE ST                                                                                            PONTIAC          MI   48340‐3057
HOLLIS, LAURA N            101 OAK CREEK LN                                                                                         PONTIAC          MI   48340‐2225
HOLLIS, LAVOKA             5404 N 92ND ST                                                                                           MILWAUKEE        WI   53225‐3417
HOLLIS, LAWRENCE K         24554 LYNDON                                                                                             REDFORD          MI   48239‐3305
HOLLIS, LAWRENCE KENNETH   24554 LYNDON                                                                                             REDFORD          MI   48239‐3305
HOLLIS, LAWRENCE M         661 SANDSTONE DR                                                                                         PERRYSBURG       OH   43551‐2088
HOLLIS, LOUISA             209 DUNOLLY LN                                                                                           FLORENCE         AL   35633‐3949
HOLLIS, MAMIE D            29537 CARLYSLE ST                                                                                        INKSTER          MI   48141‐2712
HOLLIS, MARCELLA S         307 N BRENTWOOD LANE                                                                                     MUNCIE           IN   47304‐3910
HOLLIS, MARK D             10260 SHACH CREEK RD                                                                                     EXCLSOR SPRGS    MO   64024‐5353
HOLLIS, MARY               329 S 28TH ST                                                                                            SAGINAW          MI   48601‐6343
HOLLIS, MARY A.            329 S. 28TH ST.                                                                                          SAGINAW          MI   48601‐6343
HOLLIS, MAURICE W          2206 FENTON RD                                                                                           FLINT            MI   48507‐1507
HOLLIS, MCARTHUR                                           HOLLIS, MCARTHUR      540 BROOKVIEW COURT, APT.                          AUBURN HILLS     MI   48326
                                                                                 101
HOLLIS, MCARTHUR           540 BROOKVIEW CT APT 101                                                                                 AUBURN HILLS     MI   48326‐4505
HOLLIS, MELVIN D           16784 HEATHER BLVD                                                                                       ROMULUS          MI   48174‐2965
HOLLIS, MICHAEL A          10904 FOSSIL HILL DRIVE                                                                                  WHITMORE LAKE    MI   48189‐8123
HOLLIS, MICHAEL B          720 W MCKINLEY AVE                                                                                       HAUGHTON         LA   71037‐9474
HOLLIS, MICHAL D           718 W MCKINLEY AVE                                                                                       HAUGHTON         LA   71037‐9474
HOLLIS, MICHAL DAVID       718 W MCKINLEY AVE                                                                                       HAUGHTON         LA   71037‐9474
HOLLIS, MICHELLE TONI      3203 HEATHERSTONE CT                                                                                     LAKE ORION       MI   48360‐1721
HOLLIS, NAOMI J            215 E 5TH ST APT 10                                                                                      LAWSON           MO   64062
HOLLIS, NAOMI J            APT 10                          215 EAST 5TH STREET                                                      LAWSON           MO   64062‐9392
HOLLIS, NATHANIEL W        239 HIGHLAND ST                                                                                          HIGHLAND PARK    MI   48203‐3404
HOLLIS, NOBLE F            209 DUNOLLY LN                                                                                           FLORENCE         AL   35633‐3949
HOLLIS, NONA B             4745 WALLACE RD                                                                                          OXFORD           OH   45056‐9048
HOLLIS, NONA B             4745 WALLACE ROAD                                                                                        OXFORD           OH   45056‐9048
HOLLIS, PAULINE L          15 HOLLY DR                                                                                              OLATHE           KS   66062‐1831
HOLLIS, PETER J            1051 BROOKLINE DR                                                                                        HUNTERSVILLE     NC   28078‐0617
HOLLIS, RAY                329 LAWVER LN                                                                                            DAYTON           OH   45431‐2235
HOLLIS, RAY A              PO BOX 4604                                                                                              AKRON            OH   44310‐0604
HOLLIS, RAY A              792 CARPENTER ST                                                                                         AKRON            OH   44310‐1947
HOLLIS, RICHARD            1321 HIGHWAY 292                                                                                         INMAN            SC   29349‐7322
HOLLIS, RICK E             3961 WESTLAKE RD                                                                                         CORTLAND         OH   44410‐9314
HOLLIS, ROBERT E           11405 KENNEBEC ST                                                                                        DETROIT          MI   48205‐3247
HOLLIS, ROBERT M           10660 FLAGSTONE DR                                                                                       MOBILE           AL   36608‐9438
HOLLIS, ROBERT M           3905 PELHAM DRIVE                                                                                        MOBILE           AL   36619‐4428
HOLLIS, ROBERT W           10490 E 1075 S                                                                                           GALVESTON        IN   46932
HOLLIS, ROBIN R            41 FILLIER ST # UP                                                                                       BEREA            OH   44017
HOLLIS, RONALD W           8124 56TH AVE                                                                                            PENTWATER        MI   49449‐8782
HOLLIS, ROY D              2866 SOUTHWEST ZACK WHEAT DR                                                                             POLO             MO   64671‐7743
HOLLIS, ROY D              2866 SW ZACK WHEAT DR                                                                                    POLO             MO   64671‐7743
HOLLIS, SAMMIE L           1001 W CARPENTER RD                                                                                      FLINT            MI   48505‐1039
HOLLIS, STANLEY F          26 BLUE SPRUCE DR                                                                                        O FALLON         MO   63366‐3307
HOLLIS, STANLEY J          3601 PARKSIDE DR                                                                                         PEARLAND         TX   77584‐3175
HOLLIS, SUSAN              181 NELSON FARM RD                                                                                       BRISTOL          CT   06010‐3182
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Name                          Address1                        Address2                       Address3   Address4               City             State   Zip
HOLLIS, TED W                 743 CHINQUAPIN DR                                                                                SHREVEPORT        LA     71106‐7200
HOLLIS, TED WAYNE             743 CHINQUAPIN DR                                                                                SHREVEPORT        LA     71106‐7200
HOLLIS, THELMA                3290 TALL OAK LANE                                                                               CANTON            MI     48188‐2664
HOLLIS, THERESA E             198 COUNTY ROAD 46                                                                               MOUNT HOPE        AL     35651‐9401
HOLLIS, THOMAS J              2603 W MAPLE RAPIDS RD                                                                           SAINT JOHNS       MI     48879‐9499
HOLLIS, THOMAS L              520 NW 20TH ST                                                                                   OKLAHOMA CITY     OK     73103‐1803
HOLLIS, TRACY                 313 WOOD ST                                                                                      GAFFNEY           SC     29341‐1648
HOLLIS, TRACY                 313 WOOD STREET                                                                                  GAFFNEY           SC     29341
HOLLIS, VERNON W              577 NATCHEZ TRACE DR                                                                             LEXINGTON         TN     38351‐1627
HOLLIS, VIVIAN CLARK          326 OREGON TRL                                                                                   MONROE            LA     71202‐3724
HOLLIS, WAYMON M              PO BOX 297 219 S COLLEGE ST                                                                      RICHMOND          MO     64085
HOLLIS, WAYMON M              16283 SWEET ST                                                                                   LAWSON            MO     64062‐8268
HOLLIS, WILLIAM D             138 MARK AVE                                                                                     PONTIAC           MI     48341‐1350
HOLLIS, WILLIE J              4742 KIMBERLY CT                                                                                 BRIDGEPORT        MI     48722‐9554
HOLLISTER III, R. R           1692 GARRY DR                                                                                    BELLBROOK         OH     45305‐1359
HOLLISTER INC                 2000 HOLLISTER DR                                                                                LIBERTYVILLE       IL    60048‐3746
HOLLISTER INCORPORATED        MICHAEL D LEE                   130 E RANDOLPH STREET, SUITE                                     CHICAGO            IL    60601
HOLLISTER JOSEPH C (361438)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA     23510
                                                              STREET, SUITE 600
HOLLISTER JR, DONALD N        443 WELCH RD                                                                                     NORTHVILLE        MI     48167‐1161
HOLLISTER JR, FREDERICK D     4638 HAYES RD                                                                                    HARRISON          MI     48625‐8950
HOLLISTER, ARLINDA Z          20551 BRAILE ST                                                                                  DETROIT           MI     48219‐1460
HOLLISTER, CATHERINE E        601 PORTSIDE DR                                                                                  VENICE            FL     34287‐6514
HOLLISTER, DALE B             10890 DEERWOOD CT SE                                                                             LOWELL            MI     49331‐9629
HOLLISTER, ERIC K             36568 UNION RD                                                                                   NEW BOSTON        MI     48164‐9218
HOLLISTER, FREDRICK D         4598 HAYES RD                                                                                    HARRISON          MI     48625‐9022
HOLLISTER, JAMES              4605 AUSTIN DR                                                                                   FORT WAYNE        IN     46806‐2583
HOLLISTER, JOSEPH C           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA     23510‐2212
                                                              STREET, SUITE 600
HOLLISTER, JUSTIN BERNARD     4605 AUSTIN DR                                                                                   FORT WAYNE        IN     46806‐2583
HOLLISTER, LESLIE M           11204 N WEBSTER RD                                                                               CLIO              MI     48420‐8235
HOLLISTER, MARK W             14006 MESQUITE ROAD                                                                              NORMAN            OK     73026‐8769
HOLLISTER, MERLIN L           W1037 COUNTY TT                                                                                  MONDOVI           WI     54755
HOLLISTER, NANCY C            495 W RANDALL ST                                                                                 COOPERSVILLE      MI     49404‐1389
HOLLISTER, PHILIP E           2800 BIGGERS DR                                                                                  THOMPSONS         TN     37179‐9272
                                                                                                                               STATION
HOLLISTER, RICHARD H          41 GRAND AVE                                                                                     TONAWANDA        NY      14150‐3318
HOLLISTER, ROGER E            6812 N LAKE RD                                                                                   OTTER LAKE       MI      48464‐9780
HOLLISTER, SARAH B            W1037 COUNTY TT                                                                                  MONDOVI          WI      54755
HOLLISTER, SHELBY J           PO BOX 52                                                                                        CRYSTAL          MI      48818‐0052
HOLLISTER, SHELBY J           746 BELDING P O BOX 52                                                                           CRYSTAL          MI      48818‐0052
HOLLISTER, WILLIE M           PO BOX 388                                                                                       BRINKLEY         AR      72021
HOLLMAN, PATRICE M            430 WOODBRIDGE DR                                                                                GRAND BLANC      MI      48439‐1142
HOLLMAN, RUTH                 1750 CALUMET WAY                                                                                 FAIRFIELD        OH      45014‐3764
HOLLMAN, SARAH C              30 KING AVE                                                                                      EWING            NJ      08638‐2120
HOLLMANN, DAVID W             3715 ANDOVER PL                                                                                  FORT WAYNE       IN      46804‐2671
HOLLMANN, DAVID W.            3715 ANDOVER PL                                                                                  FORT WAYNE       IN      46804‐2671
HOLLMIER ROBERT W             HOLLMIER, ROBERT W              2101 PARKS AVE STE 801                                           VIRGINIA BEACH   VA      23451‐4160
HOLLMIER ROBERT W             MOORE, SHERRI E                 2101 PARKS AVE STE 801                                           VIRGINIA BEACH   VA      23451‐4160
HOLLMIER, ROBERT W            STALLINGS & BISCHOFF PC         2101 PARKS AVE STE 801                                           VIRGINIA BEACH   VA      23451‐4160
HOLLMIG, ETHELDREDGE S        7401 NE 119TH PL                                                                                 EDMOND           OK      73013‐0495
HOLLMON, LOUELLA              1124 S REESE                                                                                     LIMA             OH      45804
HOLLO CONSTANCE               1017 BROOKVIEW BLVD                                                                              PARMA            OH      44134‐1749
HOLLO, ANN                    1226 N OLDEN AVE                                                                                 TRENTON          NJ      08638‐4909
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Name                         Address1                         Address2                      Address3   Address4               City              State   Zip
HOLLO, ROBERT                895 S MAIN ST                                                                                    LAPEER             MI     48446‐3044
HOLLOBAUGH, JAMIE L          PO BOX 274                                                                                       CHARLESTOWN        MD     21914‐0274
HOLLOBAUGH, PATRICIA S       201 S GLENHURST DR                                                                               BIRMINGHAM         MI     48009‐1554
HOLLOBAUGH, THOMAS J         642 MABEL ST                                                                                     YOUNGSTOWN         OH     44502‐2226
HOLLOCK, RAYMOND             6707 LUTHER ST                                                                                   NIAGARA FALLS      NY     14304‐4543
HOLLOCK, RAYMOND D           5716 W HILLS RD                                                                                  FORT WAYNE         IN     46804‐4355
HOLLOMAN JON R SR (429118)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510
                                                              STREET, SUITE 600
HOLLOMAN JR, WILLIE J        3032 LEXHAM LN                                                                                   ROCHESTER HILLS    MI     48309‐4393
HOLLOMAN MARLEE (429119)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510
                                                              STREET, SUITE 600
HOLLOMAN, ALFRED L           87 HUNTER ST                                                                                     OSSINING          NY      10562‐5441
HOLLOMAN, DAVID L            PO BOX 1147                                                                                      OXFORD            GA      30054‐1147
HOLLOMAN, GEORGIA M          477 ALAMEDA ST                                                                                   ALTADENA          CA      91001‐2952
HOLLOMAN, GLENN R            RR 1 BOX 427                                                                                     FLEMINGTON        MO      65650‐9625
HOLLOMAN, HENRY W            20261 FULLER AVE                                                                                 EUCLID            OH      44123‐2636
HOLLOMAN, JOAN E             21600 NICHOLAS AVENUE                                                                            EUCLID            OH      44123‐3066
HOLLOMAN, JON R              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA      23510‐2212
                                                              STREET, SUITE 600
HOLLOMAN, LORA A             399 E CLAREMONT ST                                                                               PASADENA           CA     91104‐2824
HOLLOMAN, LUCILLE B          PO BOX 1147                                                                                      OXFORD             GA     30054‐1147
HOLLOMAN, LUCILLE BENTON     PO BOX 1147                                                                                      OXFORD             GA     30054‐1147
HOLLOMAN, MARLEE             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                              STREET, SUITE 600
HOLLOMAN, MARY JO E          15 LANYARD AVE                                                                                   TROTWOOD          OH      45426‐3044
HOLLOMAN, PAULINE            C/O MOODY                        801 WEST FOURTH ST                                              LITTLE ROCK       AR      72201
HOLLOMAN, SHELIA JOANN       1332 BUSSERON STREET                                                                             VINCENNES         IN      47591
HOLLOMAN, SIMON
HOLLOMAN, WILLIAM F          14020 BISCAYNE BLVD APT 203                                                                      NORTH MIAMI        FL     33181
                                                                                                                              BEACH
HOLLOMAN, WILLIAM F          14020 BISCAYNE BLDV              APT 203                                                         NORTH MIAMI        FL     33181
                                                                                                                              BEACH
HOLLOMON PAULINE             C/O EDWARD O MOODY               801 WEST 4TH STREET                                             LITTLE ROCK       AR      72201
HOLLOMON, SADIE              41 BERRY ST                                                                                      ROCHESTER         NY      14609‐7119
HOLLON STEVEN D              HOLLON, STEVEN D                 10751 S SAGINAW ST STE F                                        GRAND BLANC       MI      48439‐8169
HOLLON, DAVID J              2606 W 41ST ST                                                                                   ANDERSON          IN      46011‐5019
HOLLON, FERN M               1548 BROOKHOLLOW DR                                                                              SPRINGFIELD       OH      45504‐1514
HOLLON, FRANK D              453 W SHORE DR                                                                                   LUCAS             OH      44843‐9583
HOLLON, GARY L               15772 KENNEBEC ST                                                                                SOUTHGATE         MI      48195‐3816
HOLLON, GEORGE M             382 E COLUMBIA RD                                                                                MASON             MI      48854‐9647
HOLLON, GERALD D             1623 ORCHARD LN                                                                                  ANDERSON          IN      46011‐3045
HOLLON, JACK D               1428 E 47TH ST                                                                                   ANDERSON          IN      46013‐2706
HOLLON, JO ELLEN             1428 E 47TH STREET,                                                                              ANDERSON          IN      46013
HOLLON, JOHN C               790 IRVING DR APT 154                                                                            CLARKSVILLE       IN      47129‐6662
HOLLON, ROGER D              382 E COLUMBIA RD                                                                                MASON             MI      48854
HOLLON, RUSHIA I             8083 MORNINGSTAR RD                                                                              FRANKLIN          OH      45005‐4069
HOLLON, VICKI L              1623 ORCHARD LN                                                                                  ANDERSON          IN      46011‐3045
HOLLON, WILLIE L             6230 U S 50                                                                                      HILLSBORO         OH      45133‐9102
HOLLON, WILLIE L             6230 US HIGHWAY 50                                                                               HILLSBORO         OH      45133‐9102
HOLLONQUEST JR, GERRY        955 WEST 33RD STREET                                                                             INDIANAPOLIS      IN      46208‐4504
HOLLONQUEST, WILLIE D        42 JOSEPH CT                                                                                     MILLBROOK         AL      36054
HOLLOPETER, LYNN             985 N BROOKSIDE DR                                                                               LEWISTON          NY      14092‐2209
HOLLOPETER, MARK L           173 NORTH MERIDIAN ROAD                                                                          MASON             MI      48854‐9640
HOLLOPETER, MARK L           173 N MERIDIAN RD                                                                                MASON             MI      48854‐9640
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Name                                Address1                        Address2                        Address3   Address4               City             State   Zip
HOLLOPETER, SCOTT J                 9088 OLD OAK DR                                                                                   GRAND BLANC       MI     48439‐8092
HOLLOW TRUCKING CO                  6280 RAWSONVILLE RD                                                                               BELLEVILLE        MI     48111‐2319
HOLLOW, DORAN D                     45410 DANBURY CT                                                                                  CANTON            MI     48188‐1046
HOLLOW, JOHN C                      2419 MARJORIE LN                                                                                  CLIO              MI     48420‐9152
HOLLOW, PAULA K                     2407 RTE 2 BOX 626A                                                                               MINFORD           OH     45653
HOLLOW, SUE A                       45410 DANBURY CT                                                                                  CANTON            MI     48188‐1046
HOLLOWAY BUICK PONTIAC GMC CADILLAC 500 US HIGHWAY 1 BYP                                                                              PORTSMOUTH        NH     03801‐4196

HOLLOWAY CHEVROLET                  17372 US HIGHWAY 34                                                                               FORT MORGAN       CO     80701‐4101
HOLLOWAY CODY                       PO BOX 1225                                                                                       ALTURAS           CA     96101‐1225
HOLLOWAY DAVID                      PAUL REICH & MYERS PC           1608 WALNUT STE 500                                               PHILADELPHIA      PA     19103‐5446
HOLLOWAY DOBSON & BACHMAN , PLLC    211 NORTH ROBINSON, SUITE 900                                                                     OKLAHOMA CITY     OK     73102

HOLLOWAY DOBSON BACHMAN &           1 LEADERSHIP SQ                 211 N ROBINSON STE 900                                            OKLAHOMA CITY     OK     73102
JENNINGS
HOLLOWAY DON (479261)               BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH      44067
                                                                    PROFESSIONAL BLDG
HOLLOWAY EYE CARE                   ATTN: BRENDA MOORE              91 N SAGINAW ST # 101                                             PONTIAC          MI      48342‐2165
HOLLOWAY FLOYD (445296)             BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH      44067
                                                                    PROFESSIONAL BLDG
HOLLOWAY GARY                       40851 EAST 116TH STREET                                                                           RICHMOND         MO      64085‐8100
HOLLOWAY I I I, LORENZO W           PO BOX 808                                                                                        HEPHZIBAH        GA      30815‐0808
HOLLOWAY JACK MILTON (439146)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA      23510
                                                                    STREET, SUITE 600
HOLLOWAY JAMEL                      HOLLOWAY, JAMEL                 7875 W 155TH TER                                                  OVERLAND PARK    KS      66223‐3082
HOLLOWAY JOE LOUIS                  C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                               LITTLE ROCK      AR      72201
HOLLOWAY JR, ALFRED E               PO BOX 83                                                                                         MANCHESTER       MI      48158‐0083
HOLLOWAY JR, AUSTIN E               1813 NOTTINGHAM WAY                                                                               TRENTON          NJ      08619‐3552
HOLLOWAY JR, GEORGE                 PO BOX 6012                                                                                       FORT WAYNE       IN      46896‐0012
HOLLOWAY JR, JOHN R                 2859 IRONWOOD DR                                                                                  GRAND PRAIRIE    TX      75052‐4219
HOLLOWAY JR, TERRY                  1944 PRESTWOLD PL                                                                                 MACHESNEY PARK   IL      61115‐7633
HOLLOWAY JR, WILLIAM                4100 S NATIVE CT                                                                                  YORKTOWN         IN      47396‐9124
HOLLOWAY KATHY                      HOLLOWAY, KATHY                 808 CARLTON ROAD                                                  WEST BABYLON     NY      11704‐7106
HOLLOWAY MARSHA                     410 SIEMERS DR                                                                                    CAPE GIRARDEAU   MO      63701‐4968
HOLLOWAY ODELL (662534)             BRAYTON PURCELL                 PO BOX 6169                                                       NOVATO           CA      94948‐6169
HOLLOWAY SAM                        PAUL REICH & MYERS PC           1608 WALNUT ST STE 500                                            PHILADELPHIA     PA      19103‐5446
HOLLOWAY SR, CARL J                 1231 CLOVERLAWN DR                                                                                PONTIAC          MI      48340‐1617
HOLLOWAY SR, LUCIUS                 877 ASH ST NE                                                                                     DAWSON           GA      39842‐1144
HOLLOWAY WALLAZE                    4197 WINDWARD DR                                                                                  LANSING          MI      48911‐2507
HOLLOWAY, ALGY W                    SHANNON LAW FIRM                100 W GALLATIN ST                                                 HAZLEHURST       MS      39083‐3007
HOLLOWAY, ALLEN L                   218 W POLK ST                                                                                     ALEXANDRIA       IN      46001‐1127
HOLLOWAY, ALMA J                    5905 OXLEY DR                                                                                     FLINT            MI      48504‐7096
HOLLOWAY, ALVIN J                   1421 CARNEGIE ST                                                                                  MCKEESPORT       PA      15132‐4702
HOLLOWAY, ANDRE                     9216 DEVONSHIRE RD                                                                                DETROIT          MI      48224‐2585
HOLLOWAY, ANDREW J                  101 S HOLLOWAY DR                                                                                 BYRON            MI      48418‐9796
HOLLOWAY, ANDREW TODD               4100 S NATIVE CT                                                                                  YORKTOWN         IN      47396‐9124
HOLLOWAY, ANGIE C                   4013 ALEESA DR SE                                                                                 WARREN           OH      44484‐2915
HOLLOWAY, ANGIE C                   4013 ALEESA DRIVE SE                                                                              WARREN           OH      44484‐2915
HOLLOWAY, ANITA P                   6900 BUNCOMBE RD LOT 6                                                                            SHREVEPORT       LA      71129‐9400
HOLLOWAY, ANTHONY E                 18489 WHITCOMB ST                                                                                 DETROIT          MI      48235‐2843
HOLLOWAY, ASHLEY                    138 CRESTVIEW DR                                                                                  WEST MONROE      LA      71291‐7553
HOLLOWAY, ASHLEY L                  304 UNION HILL RD                                                                                 LEOMA            TN      38468‐5694
HOLLOWAY, B J                       8304 NE 28TH ST                                                                                   SPENCER          OK      73084‐3618
HOLLOWAY, BENNY L                   561 COUNTY ROAD 1472                                                                              CULLMAN          AL      35058‐0606
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Name                        Address1                        Address2                       Address3   Address4               City              State   Zip
HOLLOWAY, BERRY U           PO BOX 253                                                                                       FARRELL            PA     16121‐0253
HOLLOWAY, BERTRAM LEONARD   BROGDON ROWE                    PO BOX 189                                                       STATESBORO         GA     30459‐0189
HOLLOWAY, BETTY J           10213 S 250 E                                                                                    MARKLEVILLE        IN     46056‐9725
HOLLOWAY, BETTY L           8450 GIPSY WAY                                                                                   RENO               NV     89506‐2106
HOLLOWAY, BEULAH            8610 YOLANDA ST                                                                                  DETROIT            MI     48234‐3322
HOLLOWAY, BEVERLY A         708 LARCH AVE                                                                                    SOUTH SAN          CA     94080‐1523
                                                                                                                             FRANCISCO
HOLLOWAY, BEVERLY J         39659 MUIRFIELD LN                                                                               NORTHVILLE         MI     48168‐3482
HOLLOWAY, BILLIE M          2733 BRANDON ST                                                                                  FLINT              MI     48503‐3469
HOLLOWAY, BILLY J           5435 OLE BANNER TRL                                                                              GRAND BLANC        MI     48439‐7641
HOLLOWAY, BOBBY W           6924 GRIGGS ST                                                                                   FOREST HILL        TX     76140‐1446
HOLLOWAY, BRADLEY W         421 SLEEPY HOLLOW DR                                                                             FLUSHING           MI     48433‐2146
HOLLOWAY, BRADLEY WILLIAM   421 SLEEPY HOLLOW DR                                                                             FLUSHING           MI     48433‐2146
HOLLOWAY, BRANDI
HOLLOWAY, BRENDA J          2006 SPAULDING RD                                                                                DOTHAN             AL     36301‐6021
HOLLOWAY, BRENDA J          1060 PHILLIPS DR                                                                                 MONTEREY           TN     38574‐8574
HOLLOWAY, BRENDA O          64 WARWICK ST                                                                                    EAST ORANGE        NJ     07017‐5021
HOLLOWAY, BRENDA O          3809 HEATHERMERE LANDING                                                                         DECATUR            GA     30034‐7311
HOLLOWAY, BRIAN C           1306 RAIN SONG                                                                                   SAN ANTONIO        TX     78260‐6616
HOLLOWAY, CARL G            38901 230TH ST E                                                                                 PALMDALE           CA     93591
HOLLOWAY, CARL L            2064 PORTSMOUTH DR                                                                               EL DORADO HILLS    CA     95762‐6901
HOLLOWAY, CARLTON E         PO BOX 1517                                                                                      WILMINGTON         DE     19899‐1517
HOLLOWAY, CAROL A           1618 HOLLYWOOD AVE                                                                               GROSSE POINTE      MI     48236‐1310
                                                                                                                             WOODS
HOLLOWAY, CAROLYN M         3051 N OAK CT                                                                                    DECATUR           GA      30034‐6967
HOLLOWAY, CAROLYN P         600 PLAZA DR                                                                                     MOORE             OK      73160‐2451
HOLLOWAY, CHARLES D         4123 N MONTREAL ST                                                                               MILWAUKEE         WI      53216‐1756
HOLLOWAY, CHARLES D         4473 FREEMAN CT                                                                                  NORCROSS          GA      30093‐3302
HOLLOWAY, CHRISTINE         9831 BROOKS BEND RD                                                                              LOUISVILLE        KY      40258
HOLLOWAY, CLARENCE H        7951 HUNTINGTON CIR N                                                                            HANOVER PARK      IL      60133‐2550
HOLLOWAY, CYENTHIA F        5624 OAK GROVE RD W                                                                              FORT WORTH        TX      76134‐2331
HOLLOWAY, CYENTHIA FAYE     5624 OAK GROVE RD W                                                                              FORT WORTH        TX      76134‐2331
HOLLOWAY, DAMONT M          APT 3116                        8900 CAMBRIDGE AVENUE                                            KANSAS CITY       MO      64138‐5437
HOLLOWAY, DANNY E           1331 LOWRIE LN                                                                                   OKLAHOMA CITY     OK      73159‐7711
HOLLOWAY, DANNY T           205 E HARRISON AVE                                                                               ROYAL OAK         MI      48067‐3233
HOLLOWAY, DARREL M          2025 MINERAL SPRINGS RD                                                                          CONWAY            SC      29527‐7417
HOLLOWAY, DAVID E           4249 SAVAGE STATION CIR                                                                          NEW PT RICHEY     FL      34653‐6135
HOLLOWAY, DAVID L           3388 CHANNEL DR                                                                                  MACY              IN      46951‐8569
HOLLOWAY, DEBRA M           3481 HIGHWAY T                                                                                   MARTHASVILLE      MO      63357‐2006
HOLLOWAY, DELENDER          3496 MELODY LN                                                                                   SAGINAW           MI      48601‐5629
HOLLOWAY, DELORES M         1231 CLOVERLAWN                                                                                  PONTIAC           MI      48340
HOLLOWAY, DESSIE L          451 9TH ST                                                                                       ELYRIA            OH      44035‐5838
HOLLOWAY, DIANA
HOLLOWAY, DON               BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD        OH      44067
                                                            PROFESSIONAL BLDG
HOLLOWAY, DONALD G          238 S DURAND RD                                                                                  CORUNNA           MI      48817
HOLLOWAY, EARNIE G          13542 STILLWELL RD                                                                               BONNER SPRINGS    KS      66012‐9519
HOLLOWAY, EDWARD A          149 S SUGAR CREEK RD                                                                             EATONTON          GA      31024‐5831
HOLLOWAY, EDWARD L          4650 BROWN RD                                                                                    DURAND            MI      48429‐9754
HOLLOWAY, ELIZABETH A.      14871 SYLVIA DRIVE                                                                               BROOK PARK        OH      44142‐3055
HOLLOWAY, ERMA L            P O BOX 3002                                                                                     ALLIANCE          OH      44601‐7002
HOLLOWAY, ERMA L            PO BOX 3002                                                                                      ALLIANCE          OH      44601‐7002
HOLLOWAY, ERMON M           24380 MYLER ST                                                                                   TAYLOR            MI      48180‐2135
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Name                    Address1                       Address2                       Address3              Address4               City            State Zip
HOLLOWAY, FLOYD         BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                                NORTHFIELD       OH 44067
                                                       PROFESSIONAL BLDG
HOLLOWAY, FRANCES       448 SHAWNEE LOT 22                                                                                         BUNN            NC   27508
HOLLOWAY, FRANCES E     208 WANA CIR SE                                                                                            MABLETON        GA   30126‐1941
HOLLOWAY, FRANCES E     208 WANA CIRCLE                                                                                            MABLETON        GA   30126‐1941
HOLLOWAY, FRANCES M     1942 LORD FITZWALTER DR.                                                                                   MIAMISBURG      OH   45342‐2048
HOLLOWAY, FRED L        2301 WALTHAM DR                                                                                            TROY            MI   48085‐3547
HOLLOWAY, FRED W        1002 TURNER LANE                                                                                           HAZLEHURST      MS   39083‐9083
HOLLOWAY, FRED W        1002 WH TURNER LN                                                                                          HAZLEHURST      MS   39083‐9197
HOLLOWAY, FREDDIE
HOLLOWAY, FREDERICK E   12263 COLDWATER RD             C/O DEBORAH SERBAN                                                          FLUSHING        MI   48433‐3402
HOLLOWAY, GARY D        PO BOX 28141                                                                                               KANSAS CITY     MO   64188‐0141
HOLLOWAY, GARY L        3315 MAYFIELD AVE                                                                                          ALTON           IL   62002
HOLLOWAY, GAY D         480 AIRPORT ROAD NORTHWEST                                                                                 WARREN          OH   44481‐9483
HOLLOWAY, GEORGE        PORTER & MALOUF PA             4670 MCWILLIE DR                                                            JACKSON         MS   39206‐5621
HOLLOWAY, GEORGE E      11310 KENNEBEC ST                                                                                          DETROIT         MI   48205‐3298
HOLLOWAY, GERALD A      9467 PERRY RD                                                                                              GOODRICH        MI   48438‐9745
HOLLOWAY, GERALD W      1006 S GRAND AVE                                                                                           LANSING         MI   48910‐1612
HOLLOWAY, HARRIS M      52 RICHMOND ST                                                                                             NEWARK          NJ   07103‐3424
HOLLOWAY, HARVEY L      703 S. HOLLY ST.                                                                                           MONTEREY        TN   38574‐1313
HOLLOWAY, HARVEY L      703 S HOLLY ST                                                                                             MONTEREY        TN   38574‐1313
HOLLOWAY, HELEN E       1675 SE 178TH LN                                                                                           SUMMERFIELD     FL   34491‐6750
HOLLOWAY, HELEN E       1675 SE 178 LANE                                                                                           SUMMERFIELD     FL   34491
HOLLOWAY, HELEN S       4113 TIDELAND                                                                                              BRIDGETON       MO   63044‐3438
HOLLOWAY, HELEN S       4113 TIDELAND DR                                                                                           BRIDGETON       MO   63044‐3438
HOLLOWAY, IDA           18048 SORRENTO                                                                                             DETROIT         MI   48235‐1438
HOLLOWAY, IRENE         225 SHETLAND DR                                                                                            NEW CASTLE      DE   19720‐8800
HOLLOWAY, IVORY         37 INTREPID CT                                                                                             PENSACOLA       FL   32506‐6822
HOLLOWAY, IVORY         37 INTREPID COURT                                                                                          PENSACOLA       FL   32506‐6822
HOLLOWAY, J V           19171 DEQUINDRE ST                                                                                         DETROIT         MI   48234‐1207
HOLLOWAY, JACK MILTON   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA   23510‐2212
                                                       STREET, SUITE 600
HOLLOWAY, JAMEL         7875 W 155TH TER                                                                                           OVERLAND PARK   KS   66223‐3082
HOLLOWAY, JAMELL D      8257953                        C/O INGENIX ATTN: RICHARD      12125 TECHNOLOGY DR                          EDEN PRAIRIE    MN   55344‐7302
HOLLOWAY, JAMES         PO BOX 1203                                                                                                CANTON          GA   30169‐1203
HOLLOWAY, JAMES A       2114 ARBUTUS ST                                                                                            JANESVILLE      WI   53546‐6159
HOLLOWAY, JAMES A       11108 GLISSADE DR                                                                                          CLINTON         MD   20735‐1078
HOLLOWAY, JAMES A       2304 DORAL CT                                                                                              ALBANY          GA   31707‐5056
HOLLOWAY, JAMES D       62 CARL CROLEY RD                                                                                          WILLIAMSBURG    KY   40769‐9138
HOLLOWAY, JAMES E       2733 BRANDON ST                                                                                            FLINT           MI   48503‐3469
HOLLOWAY, JAMES L       17869 LAWNVIEW AVE                                                                                         LAKE MILTON     OH   44429‐9567
HOLLOWAY, JAMES L       1510 E MORGAN ST                                                                                           MARTINSVILLE    IN   46151‐1752
HOLLOWAY, JAMES M       15836 CANDLE DR                                                                                            MACOMB          MI   48042‐2232
HOLLOWAY, JAMES M       161 CHAPEL CLIFF DR                                                                                        RAYMOND         MS   39154‐9571
HOLLOWAY, JAMES W       2896 BETHANY CH RD HWY 264                                                                                 SNELLVILLE      GA   30039
HOLLOWAY, JEANNETTA S   PO BOX 253                                                                                                 FARRELL         PA   16121‐0253
HOLLOWAY, JEANNETTA S   P. O. BOX 253                                                                                              FARRELL         PA   16121‐0253
HOLLOWAY, JEANNETTE R   10980 SW 62ND AVE                                                                                          OCALA           FL   34476‐4852
HOLLOWAY, JEFFERY D     1420 52ND AVE                                                                                              MERIDIAN        MS   39307‐5346
HOLLOWAY, JEFFREY J     4721 SW LEAFWING CIR                                                                                       LEES SUMMIT     MO   64082‐4947
HOLLOWAY, JEWEL         3764 CRANE                                                                                                 DETROIT         MI   48214‐1233
HOLLOWAY, JOAN          4820 SYLVAN DR                                                                                             DAYTON          OH   45427‐3048
HOLLOWAY, JOE LOUIS     MOODY EDWARD O                 801 W 4TH ST                                                                LITTLE ROCK     AR   72201‐2107
HOLLOWAY, JOE M         240 FLINT RIVER RD APT P11                                                                                 JONESBORO       GA   30238‐4759
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Name                      Address1                       Address2                         Address3   Address4               City            State   Zip
HOLLOWAY, JOHN A          403 BRADFORD CIR                                                                                  COLUMBIA         TN     38401‐5093
HOLLOWAY, JOHN C          400 LAMPLIGHTER DR                                                                                BOWLING GREEN    KY     42104‐6443
HOLLOWAY, JOHN C          2057 GARDENLAND AVE                                                                               NILES            OH     44446‐4519
HOLLOWAY, JOHN D          PEARLMAN TREVOR                SPB BUILDING, 3110 WEBB AVENUE                                     DALLAS           TX     75205
HOLLOWAY, JOHN I          5105 COBBLESTONE RD                                                                               WINSTON SALEM    NC     27106‐9670
HOLLOWAY, JOHN L          PO BOX 138                                                                                        PENNS GROVE      NJ     08069‐0138
HOLLOWAY, JOHN T          3172 S BLACKMOUNTAIN DR                                                                           INVERNESS        FL     34450‐8802
HOLLOWAY, JOHN W          609 N NORTON ST                                                                                   MARION           IN     46952‐2327
HOLLOWAY, JONATHAN
HOLLOWAY, JOSHUA D        2539 E UNIVERSITY ST                                                                              SAINT LOUIS     MO      63107‐3406
HOLLOWAY, JUANITA A       17671 ADDISON RD APT 2302                                                                         DALLAS          TX      75287‐7030
HOLLOWAY, KATHY           808 CARLTON RD                                                                                    WEST BABYLON    NY      11704‐7106
HOLLOWAY, KATHY M         302 SUSAN DR                                                                                      WEST MONROE     LA      71291‐1200
HOLLOWAY, KENNETH E       1936 UPPER IRON BRIDGE RD                                                                         OAKLAND         KY      42159‐9784
HOLLOWAY, KENNETH L       11052 I ODGE RD                                                                                   OTISVILLE       MI      48463
HOLLOWAY, KEVIN L         75 THE BLVD                                                                                       ONSTED          MI      49265‐9705
HOLLOWAY, LALETTA INET    1815 CORNELL AVE                                                                                  MC KEESPORT     PA      15132‐4502
HOLLOWAY, LAQUATA JOYCE   147 HATCH AVE                                                                                     COLDWATER       MI      49036‐1211
HOLLOWAY, LARRY           GUY WILLIAM S                  PO BOX 509                                                         MCCOMB          MS      39649‐0509
HOLLOWAY, LATASHA
HOLLOWAY, LEON L          7161 ELDERWOOD CIR                                                                                CLARKSTON       MI      48346‐1596
HOLLOWAY, LESLIE H        4510 QUEEN ANNE CT SE                                                                             MABLETON        GA      30126‐1432
HOLLOWAY, LESTER          C/O THE LIPMAN LAW FIRM        5915 PONCE DE LEON BLVD          SUITE 44                          CORAL GABLES    FL      33146
HOLLOWAY, LEWIS D         13082 STONY BROOK PASS                                                                            LINDEN          MI      48451‐8858
HOLLOWAY, LINDA S         1135 WOODVIEW DRIVE                                                                               CLARKSTON       MI      48348
HOLLOWAY, LLOYD D         725 ALBRECHT AVE.                                                                                 DAYTON          OH      45404‐1402
HOLLOWAY, LORRAINE W      4598 CARRIAGE CROSSING DR                                                                         JACKSONVILLE    FL      32258‐1393
HOLLOWAY, LOUIS E         3831 S KIGER RD                                                                                   INDEPENDENCE    MO      64055‐3747
HOLLOWAY, LOUIS W         PO BOX 223                                                                                        CHERRY LOG      GA      30522‐0223
HOLLOWAY, LOUISE          2141 W GRAND BLVD                                                                                 DETROIT         MI      48208‐1115
HOLLOWAY, LOUISE          2141 WEST GRAND BLVD                                                                              DETROIT         MI      48208‐1115
HOLLOWAY, MABEL M         402 NORTH 13TH ST                                                                                 SAGINAW         MI      48601‐1608
HOLLOWAY, MABEL M         402 N 13TH ST                                                                                     SAGINAW         MI      48601‐1608
HOLLOWAY, MARCEL          323 N WALNUT ST APT 104                                                                           LANSING         MI      48933‐1145
HOLLOWAY, MARCIA L        5148 E COUNTRY CLUB RD                                                                            LOGANSPORT      IN      46947‐8450
HOLLOWAY, MARGARET I      181 FOREST DR                                                                                     LEESBURG        FL      34788‐2646
HOLLOWAY, MARIAN R        4363 W DODGE RD                                                                                   CLIO            MI      48420‐8555
HOLLOWAY, MARIEDA         803 IRENE ST                                                                                      COVINGTON       TN      38019‐3304
HOLLOWAY, MARION          3635 HIGHWAY 169                                                                                  MOORINGSPORT    LA      71060‐9403
HOLLOWAY, MARION B        3635 HIGHWAY 169                                                                                  MOORINGSPORT    LA      71060‐9403
HOLLOWAY, MARJORIE K      5885 S STATE ROAD 267                                                                             LEBANON         IN      46052‐8152
HOLLOWAY, MARJORIE K      5885 S ST RD 267                                                                                  LEBANON         IN      46052‐8152
HOLLOWAY, MARK A          117 WEST 13TH STREET                                                                              ANDERSON        IN      46016‐1615
HOLLOWAY, MARK A          117 W 13TH ST                                                                                     ANDERSON        IN      46016
HOLLOWAY, MARTHA J        2214 GOLD POINT CIR N                                                                             HIXSON          TN      37343‐1823
HOLLOWAY, MARVIS J        4605 CINDERELLA LN                                                                                LAS VEGAS       NV      89102
HOLLOWAY, MARY E          APT 211                        12265 SOUTHWEST 151ST STREET                                       MIAMI           FL      33186‐5953
HOLLOWAY, MARY R          294 N FRONT AVE                P.O.BOX 296                                                        PIGGOTT         AR      72454‐2030
HOLLOWAY, MARY R          294 NORTH FRONT                P.O.BOX 296                                                        PIGGOTT         AR      72454‐2030
HOLLOWAY, MARY S          705 DUNDEE DRIVE                                                                                  MARYVILLE       TN      37803‐6755
HOLLOWAY, MICHAEL E       16295 HI LAND TRL                                                                                 LINDEN          MI      48451‐9087
HOLLOWAY, MICHAEL H       49 LEONARD HOLLOWAY RD                                                                            LAUREL          MS      39443‐5750
HOLLOWAY, MICHAEL H       2793 BETHEL LN                                                                                    BOWLING GREEN   KY      42103‐8554
HOLLOWAY, MICHAEL L       302 SUSAN DR                                                                                      WEST MONROE     LA      71291‐1200
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Name                    Address1                       Address2            Address3         Address4               City            State   Zip
HOLLOWAY, MICHAEL T     205 S COLONY DR APT B                                                                      SAGINAW          MI     48638
HOLLOWAY, MILDRED E     4909 6TH B ST E                                                                            BRADENTON        FL     34203‐4549
HOLLOWAY, MILTON        5905 OXLEY DR                                                                              FLINT            MI     48504‐7096
HOLLOWAY, MILTON N      4306 RUSKIN RD                                                                             WILMINGTON       DE     19802‐1319
HOLLOWAY, MINNIE L      1942 VERMONT ST.                                                                           GARY             IN     46407‐2830
HOLLOWAY, MINNIE O      4941 BECKER DR                                                                             DAYTON           OH     45427‐3021
HOLLOWAY, MURLE S       65 SCHAFFER DR                                                                             GAS CITY         IN     46933‐1641
HOLLOWAY, MYRTLE M      1478 PANCOAST RD                                                                           BARNEGAT         NJ     08005‐3023
HOLLOWAY, NORMAN        1307 MACINTOSH CIRCLE                                                                      TROTWOOD         OH     45426‐5426
HOLLOWAY, NOVELLA       619 BYRNE RD.                                                                              TOLEDO           OH     43607‐2802
HOLLOWAY, NOVELLA       619 N BYRNE RD                                                                             TOLEDO           OH     43607‐2802
HOLLOWAY, ODELL         BRAYTON PURCELL                PO BOX 6169                                                 NOVATO           CA     94948‐6169
HOLLOWAY, OPAL B        8935 EMERLDGATE DR                                                                         HUBER HEIGHTS    OH     45424‐6426
HOLLOWAY, OPAL B        8935 EMERALDGATE DR                                                                        HUBER HEIGHTS    OH     45424‐6426
HOLLOWAY, OTTO W        PO BOX 238                                                                                 MIDDLETON        MI     48856‐0238
HOLLOWAY, PAMELA S      455 E MCNEIL ST                                                                            CORUNNA          MI     48817‐1752
HOLLOWAY, PAMELA SUE    455 E MCNEIL ST                                                                            CORUNNA          MI     48817‐1752
HOLLOWAY, PATRICIA      4197 WINDWARD DRIVE                                                                        LANSING          MI     48911‐2507
HOLLOWAY, PATRICIA A    PO BOX 1203                                                                                CANTON           GA     30169‐1203
HOLLOWAY, PAUL S        PO BOX 255                                                                                 NEW CASTLE       NH     03854‐0255
HOLLOWAY, PINIE M       7120 RETTA MANSFIELD RD                                                                    MANSFIELD        TX     76063‐4701
HOLLOWAY, PRANEE        1331 LOWRIE LN                                                                             OKLAHOMA CITY    OK     73159‐7711
HOLLOWAY, PRISCILLA J   2521 SALEM AVE                                                                             DAYTON           OH     45406‐2930
HOLLOWAY, RALPH D       5944 HENDON AVE                                                                            DAYTON           OH     45431‐1531
HOLLOWAY, RAND W        1728 STONE RD APT 5                                                                        ROCHESTER        NY     14615‐1633
HOLLOWAY, REX           2548 W 1400 N                                                                              NORTH            IN     46962‐8365
                                                                                                                   MANCHESTER
HOLLOWAY, RICHARD L     5221 STATE RTE. #303                                                                       NEWTON FALLS    OH      44444
HOLLOWAY, ROBERT H      2701 GATEWOOD RD                                                                           COLUMBUS        OH      43219‐3362
HOLLOWAY, ROBERT J      811 W MAPLE RD                                                                             CLAWSON         MI      48017‐1185
HOLLOWAY, ROBERT L      14171 BALFOUR ST                                                                           OAK PARK        MI      48237‐4107
HOLLOWAY, ROBERT L      3233 S WASHINGTON AVE                                                                      LANSING         MI      48910‐2977
HOLLOWAY, RONALD L      13410 E CR 1100 N                                                                          DUNKIRK         IN      47336
HOLLOWAY, RONALD L      1500 N 1000 W                                                                              ANDERSON        IN      46012‐9800
HOLLOWAY, RONALD L      2768 WOODLAWN DR                                                                           ANDERSON        IN      46013‐9735
HOLLOWAY, ROY L         20 DONNA DR                                                                                PEDRICKTOWN     NJ      08067‐3301
HOLLOWAY, SANDRA L      16295 HI LAND TRL                                                                          LINDEN          MI      48451‐9087
HOLLOWAY, SARAH E       1925 BRIDGE ST                                                                             GRAND RAPIDS    MI      49504
HOLLOWAY, SHEILA R      1855 BARING BLVD APT 1401                                                                  SPARKS          NV      89434‐6776
HOLLOWAY, SKYLER        5750 GREENBRIAR RD                                                                         FRANKLIN        TN      37064‐9277
HOLLOWAY, STEPHANIE E   PO BOX 150256                                                                              ARLINGTON       TX      76015‐6256
HOLLOWAY, STEVE F       740 WISE ST                                                                                WATER VALLEY    MS      38965‐4675
HOLLOWAY, STEVEN D      4323 AUGUSTA MANOR CT                                                                      FLORISSANT      MO      63034‐3475
HOLLOWAY, SUE E         2450 PARKER RD                                                                             HOLLY           MI      48442‐8512
HOLLOWAY, SYLVIA M      3172 S BLACKMOUNTAIN DR                                                                    INVERNESS       FL      34450‐8802
HOLLOWAY, THERESA       1114 E IRWIN PL                                                                            TUCSON          AZ      85719‐1317
HOLLOWAY, THOMAS E      788 4TH AVE                                                                                PONTIAC         MI      48340‐2028
HOLLOWAY, THOMAS M      5750 GREENBRIAR RD                                                                         FRANKLIN        TN      37064‐9277
HOLLOWAY, TODD W        4100 S NATIVE CT                                                                           YORKTOWN        IN      47396‐9124
HOLLOWAY, TONISHIA L    34550 NANCY ST                                                                             WESTLAND        MI      48186
HOLLOWAY, TRUDI L       39530 STATE ROUTE 517                                                                      LISBON          OH      44432‐9357
HOLLOWAY, VERLIE M      169 BARBEE AVE                                                                             RIPLEY          TN      38063‐1801
HOLLOWAY, VERLIE M      169 BARBEE ST                                                                              RIPLEY          TN      38063‐1801
HOLLOWAY, VIOLET M      PO BOX 238                                                                                 MIDDLETON       MI      48856‐0238
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Name                           Address1                            Address2                 Address3   Address4               City             State Zip
HOLLOWAY, VIRGINIA K           6408 MEADOWLARK LN                                                                             BRADENTON         FL 34210‐4238
HOLLOWAY, WALTER               STATE FARM INSURANCE                PO BOX 2335                                                BLOOMINGTON        IL 61702‐2335
HOLLOWAY, WALTER J             34440 KENTUCKY                                                                                 CLINTON TOWNSHIP MI 48035‐5303

HOLLOWAY, WALTER L             3809 HEATHERMERE LANDING II                                                                    DECATUR           GA   30034
HOLLOWAY, WAYNE R              11404 ASSYRIA HWY                                                                              BELLEVUE          MI   49021‐9306
HOLLOWAY, WENDY A              1116 W 45TH ST                                                                                 LOS ANGELES       CA   90037‐2407
HOLLOWAY, WILLENA MARSHAY      3352 RIDGELAND DRIVE                                                                           JACKSON           MS   39212‐3935
HOLLOWAY, WILLIAM              4997 DEAVER COVE RD                                                                            BLAIRSVILLE       GA   30512‐0822
HOLLOWAY, WILLIAM              HODGE LAW FIRM, ATTORNEYS AT LAW    PO BOX 2765                                                SPARTANBURG       SC   29304‐2765

HOLLOWAY, WILLIAM A            602 KELLY LN                                                                                   ENGLEWOOD         OH   45322‐2004
HOLLOWAY, WILLIAM C            16060 STRAWTOWN AVE                                                                            NOBLESVILLE       IN   46060‐6975
HOLLOWAY, WILLIAM E            153 LUCKY DR                                                                                   COLDWATER         MI   49036‐8331
HOLLOWAY, WILLIAM G            448 COUNTY ROUTE 40                                                                            MASSENA           NY   13662‐3426
HOLLOWAY, WILLIAM H            212 E JEFFERSON ST                                                                             OSKALOOSA         KS   66066‐4005
HOLLOWAY, WILLIAM J            325 SAINT PAUL AVENUE                                                                          BOWLING GREEN     KY   42101‐6583
HOLLOWAY, WILLIAM R            12882 W PINE LAKE RD                                                                           SALEM             OH   44460‐9119
HOLLOWAY, WILLIAM R            PO BOX 782                                                                                     LAKE ORION        MI   48361‐0782
HOLLOWAY, WILLIE J             1183 E FERRY ST                                                                                BUFFALO           NY   14211‐1662
HOLLOWAY, YVONNE J             368 LAIRD ST                                                                                   MOUNT MORRIS      MI   48458‐8850
HOLLOWAY‐BARNES, YOLANDA G     3081 DOGWOOD AVE                                                                               DECATUR           GA   30034‐7314
HOLLOWAY‐MAYES, JUDY           102 TIMBERLAKE CR 102                                                                          ANTIOCH           TN   37013
HOLLOWAY‐STANLEY, MARY E       142 GOULDING AVE                                                                               BUFFALO           NY   14208‐1606
HOLLOWAY‐WALLACE, MARGARET A   27075 EVERETT ST                                                                               SOUTHFIELD        MI   48076‐3616
HOLLOWELL HUGH                 208 SAWGRASS DR                                                                                DOTHAN            AL   36303‐6805
HOLLOWELL JR, ULYSSES O        3800 HARVARD RD                                                                                DETROIT           MI   48224‐2342
HOLLOWELL, AARON D             25 W MANOR ST                                                                                  OXFORD            MI   48371‐6307
HOLLOWELL, ANGELITA C          20170 CAMERON ST                                                                               DETROIT           MI   48203‐1210
HOLLOWELL, BARBARA J           9545 SYRACUSE AVE                                                                              CLARKSTON         MI   48348‐3150
HOLLOWELL, BARBARA J           C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                     EDWARDSVILLE      IL   62025
                               ROWLAND PC
HOLLOWELL, BETTY LOUISE        1018 S ST                                                                                      BEDFORD           IN   47421‐2828
HOLLOWELL, BETTY LOUISE        1018 S STREET                                                                                  BEDFORD           IN   47421‐2828
HOLLOWELL, BEVERLY N           5900 COURTYARD CRES                                                                            INDIANAPOLIS      IN   46234‐3154
HOLLOWELL, DANNY D             62 BRANDON DR                                                                                  GOLETA            CA   93117‐1953
HOLLOWELL, DORIS               5496 CYPRESS LINKS BLVD                                                                        ELKTON            FL   32033‐4022
HOLLOWELL, EMILY F             8375 HIGHWAY 70                                                                                ARLINGTON         TN   38002‐7941
HOLLOWELL, EMILY FAYE          8375 HIGHWAY 70                                                                                ARLINGTON         TN   38002‐7941
HOLLOWELL, FLOYD               1023 E MACREE TER                                                                              FLORENCE          SC   29505
HOLLOWELL, FRANCES C           2604 DAN ST                                                                                    AUGUSTA           GA   30904‐3335
HOLLOWELL, FRIEDA H            8257 FENTON RD                      C/O S SARVER                                               GRAND BLANC       MI   48439‐8881
HOLLOWELL, GARY                9786 S 1100 W 90                                                                               MARION            IN   46952‐8811
HOLLOWELL, GEORGE F            301 S ELM ST                                                                                   EATON             IN   47338
HOLLOWELL, GEORGE FREDERICK    301 S ELM ST                                                                                   EATON             IN   47338
HOLLOWELL, HUGH W              208 SAWGRASS DR                                                                                DOTHAN            AL   36303‐6805
HOLLOWELL, JACQUELYN           19717 MARX                                                                                     DETROIT           MI   48203‐1381
HOLLOWELL, JACQUELYN           19717 MARX ST                                                                                  DETROIT           MI   48203‐1381
HOLLOWELL, JADA S              2725 W 16TH ST APT E6                                                                          ANDERSON          IN   46011‐3190
HOLLOWELL, JADA S              1227 FAVORITE ST                                                                               ANDERSON          IN   46013‐1314
HOLLOWELL, JAMES A             PO BOX 768                                                                                     MUNCIE            IN   47308‐0768
HOLLOWELL, JAMES A             4335 HIGHWAY 69A                                                                               CAMDEN            TN   38320‐5121
HOLLOWELL, JAMES R             24644 HELENE DR                                                                                TRENTON           MI   48183
HOLLOWELL, JOHNNIE M           2206 NEW HOPE RD                                                                               HERTFORD          NC   27944‐8850
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Name                                Address1                          Address2                    Address3   Address4                   City               State   Zip
HOLLOWELL, MARGARET A               6427 FRIENDSHIP CIR                                                                                 INDIANAPOLIS        IN     46268‐4021
HOLLOWELL, MICHAEL                  2812 MOUNDS ROAD                                                                                    ANDERSON            IN     46016‐5867
HOLLOWELL, MICHAEL A                9545 SYRACUSE AVE                                                                                   CLARKSTON           MI     48348‐3150
HOLLOWELL, MICHAEL A.               9545 SYRACUSE AVE                                                                                   CLARKSTON           MI     48348‐3150
HOLLOWELL, MICHAEL L.               2812 MOUNDS ROAD                                                                                    ANDERSON            IN     46016‐5867
HOLLOWELL, NEAL B                   5269 KAREN ISLE DR                                                                                  WILLOUGHBY          OH     44094‐4351
HOLLOWELL, PAMELA S                 155 BOUGHTON DR                                                                                     NEW CONCORD         KY     42076‐9338
HOLLOWELL, PAUL M                   1743 SW 155TH PLACE RD                                                                              OCALA               FL     34473‐8879
HOLLOWELL, RACHAEL N
HOLLOWELL, ROBERT                   215 JEANNE DR                                                                                       MEMPHIS            TN      38109‐4513
HOLLOWELL, RONALD J                 5496 CYPRESS LINKS BLVD                                                                             ELKTON             FL      32033‐4022
HOLLOWELL, SHIRLEY                  15864 TRACEY ST                                                                                     DETROIT            MI      48227‐3348
HOLLOWELL, TERRY I                  155 BOUGHTON DR                                                                                     NEW CONCORD        KY      42076‐9338
HOLLOWELL, TRAVIS                   115 CHEROKEE PARK ROAD                                                                              ELIZABETH CTY      NC      27909‐8509
HOLLOWITH F BLUE                    126 DUPONT AVE                                                                                      TONAWANDA          NY      14150‐7815
HOLLOWNICZKY, STEVE E               313 TOWNSHIP ROAD 350                                                                               SULLIVAN           OH      44880‐9745
HOLLS, MARY LOU                     6380 WORLINGTON RD                                                                                  BLOOMFIELD HILLS   MI      48301‐1546
HOLLSCHWANDTNER, PETER              1913 RIVER LAGOON TRCE                                                                              SAINT AUGUSTINE    FL      32092‐2417
HOLLUP, ROBERT F                    243 BOGGS RD                                                                                        CENTRAL            SC      29630‐9742
HOLLY A BUSH                        785 COMANCHE LN APT D                                                                               TIPP CITY          OH      45371
HOLLY A COMBS                       132 LANCE DR                                                                                        FRANKLIN           OH      45005
HOLLY A ELSWICK                     7423 BREWER RD                                                                                      FLINT              MI      48507‐4615
HOLLY A HEMMERICK                   1131 RUSH SCOTTSVILLE RD                                                                            RUSH               NY      14543‐9737
HOLLY A MCKENZIE                    5129 PENSACOLA BLVD                                                                                 MORAINE            OH      45439‐2942
HOLLY A PEARISO                     11606 TIMBER RIDGE DR                                                                               KEITHVILLE         LA      71047‐9046
HOLLY A SWEET                       5326 PINECREST                                                                                      AUSTINTOWN         OH      44515‐4046
HOLLY A TENAGLIO                    1418 CHURCHILL HUBBARD RD                                                                           YOUNGSTOWN         OH      44505‐1349
HOLLY ALEXANDER                     6266 E 200 S                                                                                        ELWOOD             IN      46036‐8471
HOLLY ALLISON DAVIS & ROSS EDWARD   212 HARBIN AVE                                                                                      WAXAHACHIE         TX      75165
DAVIS
HOLLY ALVORD                        124 5TH AVE                                                                                         N TONAWANDA         NY     14120‐4004
HOLLY AUTO PARTS                    436 COGSHALL ST                                                                                     HOLLY               MI     48442‐1756
HOLLY AUTO SERVICE                  531 ESSA RD                                                              BARRIE ON L4N 9E4 CANADA

HOLLY BANKS                         4046 SAINT MONICA DR                                                                                BALTIMORE          MD      21222‐3511
HOLLY BEDSOLE                       129 KESTREL CT                                                                                      HUMMELSTOWN        PA      17036‐8840
HOLLY BERGMANN                      ACCT OF ROBERT MARKUS             2513 COLLEGE HILL DR                                              SCHAUMBURG         IL      60173
HOLLY BOUSMAN                       1344 E 700 S                                                                                        LYNN               IN      47355‐9232
HOLLY BRIAN                         534 E PINE RIVER RD                                                                                 MIDLAND            MI      48640‐8387
HOLLY BROWN                         325 RINGNECK TRL                                                                                    WARSAW             IN      46580‐4998
HOLLY BROWN JR                      PO BOX 137                        4857 PLY‐SPRINGMILL RD                                            SHELBY             OH      44875‐0137
HOLLY CALHOUN                       507 WILSON RUN                                                                                      BRENTWOOD          TN      37027‐5916
HOLLY CAUSEY                        APT 706                           825 NORTH MERIDIAN STREET                                         GREENTOWN          IN      46936‐1278
HOLLY CHEVROLET                     6601 I 55 NORTH                                                                                     MARION             AR      72364
HOLLY CONT/SOUTHFIEL                20411 W 12 MILE RD STE 203                                                                          SOUTHFIELD         MI      48076‐6405
HOLLY COUCH                         309 AUSTIN TRAPHILL RD                                                                              ELKIN              NC      28621‐2556
HOLLY CRIPPS                        1832 STRATHMOOR AVE                                                                                 TOLEDO             OH      43614‐3921
HOLLY CURTIS                        9459 PERE MARQUETTE DR                                                                              GRAND BLANC        MI      48439‐8316
HOLLY D CLEVENGER                   350 LAKEVIEW DR                                                                                     FRANKLIN           OH      45005
HOLLY D JONES                       1734 ROBERTS LN NE                                                                                  WARREN             OH      44483
HOLLY DAVIS                         730 ROXBURY CT                                                                                      OXFORD             MI      48371‐1563
HOLLY DORR                          587 ROOSEVELT AVE                                                                                   MOUNT MORRIS       MI      48458‐1526
HOLLY E SPEAR                       2400 CURTIS RD                                                                                      NATIONAL CITY      MI      48748‐9630
HOLLY ELSWICK                       7423 BREWER RD                                                                                      FLINT              MI      48507‐4615
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Name                          Address1                         Address2             Address3        Address4               City               State   Zip
HOLLY FINANCIAL               4251 DAVISON RD # 6                                                                          BURTON              MI     48509‐1450
HOLLY GEORGE                  8276 NORMAN RD                                                                               IMLAY CITY          MI     48444‐9513
HOLLY GREATHOUSE JR           3202 ANNAMORIAH RD                                                                           CRESTON             WV     26141‐6038
HOLLY GRIFFES                 2110 N WILLIAMSTON RD                                                                        WILLIAMSTON         MI     48895‐9460
HOLLY GRIFFIN                 3298 JASPER CT                                                                               TROY                MI     48083‐5779
HOLLY HAMMETT                 1341 N. STUART RD                                                                            MANSFIELD           OH     44903
HOLLY HARDIN                  18 DORIS AVE                                                                                 O FALLON            MO     63368‐7008
HOLLY HINTZ                   PO BOX 9022                                                                                  WARREN              MI     48090‐9022
HOLLY HOFF                    10518 N CHARLEY BLUFF RD                                                                     MILTON              WI     53563‐8965
HOLLY HORNYAN                 4808 N 24TH ST UNIT 825                                                                      PHOENIX             AZ     85016‐9128
HOLLY HOUTMAN                 12380 BIRCHCREST DR                                                                          MILFORD             MI     48380‐2658
HOLLY J BAKER                 119 WEST CEDAR ROAD                                                                          MEDWAY              OH     45341
HOLLY J POE                   PO BOX 1101                                                                                  WEIRSDALE           FL     32195
HOLLY J SABINS                3401 COZY CAMP RD                                                                            MORAINE             OH     45439‐1125
HOLLY JESKE                   3325 CRITES ST                                                                               RICHLAND HLS        TX     76118‐7244
HOLLY JONES                   319 SHADOW RIDGE DR                                                                          HIGHLAND HEIGHTS    KY     41076‐8906

HOLLY KAGE                    2168 ORCHARD CREST ST                                                                        SHELBY TOWNSHIP     MI     48317‐4540
HOLLY KERSHAW
HOLLY KWOLEK                  7098 LONDON CT                                                                               CANTON             MI      48187‐3052
HOLLY L DOWNING               96 W MANSFIELD AVE                                                                           PONTIAC            MI      48340‐2656
HOLLY L DRUM                  136 SE 7TH AVE                                                                               MILTON FRWTR       OR      97862‐1104
HOLLY L GREER                 80 WEST MILL ST                                                                              SPRINGBORO         OH      45066‐1441
HOLLY L MOEBIUS               4300 SHROVER RD                                                                              DAYTON             OH      45429‐3024
HOLLY LAWSON                  1617 WHITCOMB AVE                                                                            ROYAL OAK          MI      48073‐4741
HOLLY LEMONDE                 129 W CORNELL AVE                                                                            PONTIAC            MI      48340‐2721
HOLLY M COMLEY                441 LITTLE LEAGUE DR                                                                         EATON              OH      45320
HOLLY M RANKIN                624 GRAMONT AVE.                                                                             DAYTON             OH      45407‐‐ 14
HOLLY MARTIN                  5640 PILLSBURY AVE S                                                                         MINNEAPOLIS        MN      55419‐1809
HOLLY MC CLURE                1207 PARK DR                                                                                 GREENWOOD          MO      64034‐9345
HOLLY MCCLUNG                 137 YORKTOWN RD                                                                              FRANKLIN           TN      37064‐3235
HOLLY MILEWSKI                11514 CREEKSIDE CT                                                                           STERLING HEIGHTS   MI      48312‐2022
HOLLY MYERS                   274 DUSTIN LANE                                                                              ORTONVILLE         MI      48462‐8889
HOLLY PEARISO                 11606 TIMBER RIDGE DR                                                                        KEITHVILLE         LA      71047‐9046
HOLLY PECK                    605 SKYLARK LN                                                                               JANESVILLE         WI      53546‐2907
HOLLY PENTECOST               2040 BENTON RD                                                                               CHARLOTTE          MI      48813‐9709
HOLLY PL/HOLLY MI             111 ROSETTE ST                   PO BOX 158                                                  HOLLY              MI      48442‐1304
HOLLY PLAGA                   10439 BLACKBERRY LN                                                                          HASLETT            MI      48840‐9127
HOLLY PLATING CO INC          1101 COPPER AVE                                                                              FENTON             MI      48430‐1770
HOLLY PLATING CO INC          111 ROSETTE ST                                                                               HOLLY              MI      48442‐1304
HOLLY PLATING CO INC          PAUL BUBNAR                      1100 COPPER                                                 MADISON HEIGHTS    MI      48071

HOLLY PLATING CO INC          STEVE OLEWINSKI                  1101 COPPER AVENUE                                          BRIGHTON            MI     48116
HOLLY PLATING CO INC.         STEVE OLEWINSKI                  1101 COPPER AVENUE                                          BRIGHTON            MI     48116
HOLLY PLATING COMPANY         111 ROSETTE ST                                                                               HOLLY               MI     48442‐1304
HOLLY PLATING COMPANY, INC.   PAUL BUBNAR                      1100 COPPER                                                 MADISON HEIGHTS     MI     48071

HOLLY R HALL                  137 GLENDOLA AVE NW                                                                          WARREN             OH      44483‐1244
HOLLY RANDALL                 10013 COUNTY ROAD 606                                                                        BURLESON           TX      76028‐2432
HOLLY ROBINSON                2227 HOLLY TREE DR                                                                           DAVISON            MI      48423‐2065
HOLLY S HATFIELD              1353 EPWORTH AVE                                                                             DAYTON             OH      45410
HOLLY SMITH                   7071 MAGNOLIA LN                                                                             WATERFORD          MI      48327‐4419
HOLLY SPEAR                   2400 CURTIS RD                                                                               NATIONAL CITY      MI      48748‐9630
HOLLY STEVENS                 1752 DREXEL AVE NW                                                                           WARREN             OH      44485‐2120
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HOLLY STRAKA               2372 IVY HILL DR                                                                                      COMMERCE              MI 48382‐1198
                                                                                                                                 TOWNSHIP
HOLLY SUNDSTROM PEREZ
HOLLY THOMPSON JR          4550 GOOD DR                                                                                          NEW ORLEANS          LA   70127‐3804
HOLLY TILLMAN              N1125 LAKE DR                                                                                         EDGERTON             WI   53534‐9135
HOLLY TOWNSHIP TREASURER   102 CIVIC DR                                                                                          HOLLY                MI   48442‐1505
HOLLY TUTTLE               BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS           OH   44236
HOLLY V CADDARETTE         6065 CURSON DR                                                                                        TOLEDO               OH   43612‐4012
HOLLY V DAVIS              PO BOX 993                                                                                            ALPHARETTA           GA   30009‐0993
HOLLY VAUGHN               5235 WAKEFIELD ROAD                                                                                   GRAND BLANC          MI   48439‐9186
HOLLY VESPER               18820 GEAUGA LAKE RD                                                                                  CHAGRIN FALLS        OH   44023‐4918
HOLLY WENDT                18731 DOLORES AVE                                                                                     LATHRUP VILLAGE      MI   48076‐2501
HOLLY ZARR                 13433 OWEN RD                                                                                         BROOKLYN             MI   49230‐9593
HOLLY ZEHEL                13060 LINDA VISTA ST                                                                                  BELLEVILLE           MI   48111‐2276
HOLLY ZIMMERMAN            2427 ZION RD                                                                                          COLUMBIA             TN   38401‐6043
HOLLY'S GARAGE             R.R.#3 ‐ 26 NOLAN RD                                                     KILLALOE ON K0J 2A0 CANADA

HOLLY, BERNARD J           2601 GWYNNDALE AVE                                                                                    BALTIMORE            MD   21207‐6137
HOLLY, BERNARD J           822 APPLETON ST                                                                                       BALTIMORE            MD   21217‐1025
HOLLY, BILLY L             1605 FAIRWAY DR                                                                                       JOHNSON CITY         TN   37601‐2613
HOLLY, CAMERON L           4299 4 MILE RD NE                                                                                     GRAND RAPIDS         MI   49525‐9794
HOLLY, DEWEY S             9575 WEBSTER RD                                                                                       FREELAND             MI   48623‐8603
HOLLY, DORIS E             1713 PINE STREET                                                                                      BIRMINGHAM           MI   48009‐1123
HOLLY, EDITH J             288 RAPID                                                                                             PONTIAC              MI   48341‐2255
HOLLY, EDWARD              3116 S WARING ST                                                                                      DETROIT              MI   48217‐1053
HOLLY, EDWARD              14825 WHITCOMB ST                                                                                     DETROIT              MI   48227‐2210
HOLLY, EDWARD J            11067 E MOUNT MORRIS RD LOT 75                                                                        DAVISON              MI   48423‐9358
HOLLY, ELJNORA F           2716 N 59TH ST                                                                                        KANSAS CITY          KS   66104‐1901
HOLLY, ERNEST L            14240 MANSFIELD ST                                                                                    DETROIT              MI   48227‐4905
HOLLY, GARY E              2735 SUNNYKNOLL AVE                                                                                   BERKLEY              MI   48072‐3613
HOLLY, HERMAN H            2844 APPLERIDGE ST                                                                                    YPSILANTI            MI   48198‐3311
HOLLY, ILA I               925 S MILLER RD                                                                                       SAGINAW              MI   48609‐5181
HOLLY, JAMES F             9085 GRENOBLE DR                                                                                      MILAN                MI   48160‐9755
HOLLY, JAMES M             1692 SAN MARCO RD                                                                                     MARCO ISLAND         FL   34145‐5163
HOLLY, JARRELL
HOLLY, JONATHAN D          13594 GRANDMONT AVE                                                                                   DETROIT              MI   48227‐1332
HOLLY, KAREN D             12052 SELLERTON DR                                                                                    FISHERS              IN   46037‐7812
HOLLY, LAVENIA E           2741 HAIG AVE                                                                                         KETTERING            OH   45419‐2124
HOLLY, LEATHA M            3043 FOREST CREEK CT                                                                                  ANN ARBOR            MI   48108‐5216
HOLLY, LOTA                1121 7TH ST S                                                                                         FARGO                ND   58103‐2711
HOLLY, MARK D              9170 WILLIS RD                                                                                        WILLIS               MI   48191‐9701
HOLLY, MARVINETTEK         2550 70TH AVE                                                                                         BATON ROUGE          LA   70807‐6001
HOLLY, MICHAEL L           20919 WINKEL ST                                                                                       SAINT CLAIR SHORES   MI   48081‐1132

HOLLY, MYRON E             635 CHERATON RD                                                                                       BALTIMORE            MD   21225‐1239
HOLLY, PATRICIA E          1372 N ORCHARD BEACH DR                                                                               PORT CLINTON         OH   43452‐2833
HOLLY, RICHARD L           2034 MAINE ST                                                                                         SAGINAW              MI   48602
HOLLY, RONALD M            1033 UPNOR RD                                                                                         BALTIMORE            MD   21212‐4021
HOLLY, RUTH A              5309 BURNING TREE DR E‐05                                                                             ORLANDO              FL   32811
HOLLY, SHARON D            1021 CAMERON RD                                                                                       BALTIMORE            MD   21212‐4002
HOLLY, TREVON R            3800 TUXEDO ST                                                                                        DETROIT              MI   48206‐1065
HOLLY, VICTOR E            2803 WILDPLUM DR                                                                                      ARLINGTON            TX   76015‐2030
HOLLY, ZOE A.              6500 BELDING RD NE                                                                                    ROCKFORD             MI   49341‐9625
HOLLYFIELD, CHARLES P      5880 SWEET BIRCH DRIVE                                                                                BEDFORD              OH   44146‐3070
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Name                            Address1                         Address2                      Address3   Address4               City              State Zip
HOLLYOAK, SHIRLEY A             1565 SAINT MARGARETS ROAD                                                                        ANNAPOLIS          MD 21409‐5554
HOLLYWOOD PONTIAC GMC TRUCK
HOLLYWOOD SERVICE CENTER        1803 MONROE AVE                                                                                  ROCHESTER         NY    14618‐1842
HOLLYWOOD TRIM/CLWSN            1177 W. MAPLE ROAD                                                                               CLAWSON           MI    48017
HOLLYWOOD, LILLIAN              2200 S OCEAN LN APT 1105                                                                         FORT LAUDERDALE   FL    33316‐3863
HOLLYWOOD, SUSAN D              73 GARDEN OVAL                                                                                   SPRINGFIELD       NJ    07081‐1823
HOLM AUTOMOTIVE CENTER, INC.    TIMOTHY HOLM                     2005 N BUCKEYE                                                  ABILENE           KS    67410
HOLM AUTOMOTIVE CENTER, INC.    2005 N BUCKEYE                                                                                   ABILENE           KS    67410
HOLM II, WILLIAM M              311 FREEDOM RD                                                                                   LAUREL            MS    39443‐7019
HOLM MD                         PO BOX 1772                                                                                      MANSFIELD         OH    44901‐1772
HOLM ORVILLE M (429120)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA    23510
                                                                 STREET, SUITE 600
HOLM, BARBARA A                 8578 TIM TAM TRAIL                                                                               FLUSHING          MI    48433‐8805
HOLM, CARLA J.                  4303 PRATT AVE                                                                                   GRAND BLANC       MI    48439‐9114
HOLM, CAROL A                   322 PRAIRIEWOOD CIR S                                                                            FARGO             ND    58103‐4607
HOLM, CARSTEN                   4822 RED HORIZON BLVD                                                                            INDIANAPOLIS      IN    46221‐3239
HOLM, CHRISTOPHER R             200 TURTLE CREEK DR                                                                              BRANDON           MS    39047
HOLM, DAVID L                   138 N LINCOLN ST                                                                                 WESTMONT          IL    60559‐1612
HOLM, DONNA M                   C/O GERALD PERNOT                763 CHARLES LANE              BOX 5                             STOUGHTON         WI    53589
HOLM, DORIS                     1788 AXTELL DRIVE                                                                                GRANTS PASS       OR    97527‐4759
HOLM, ERIC R                    3947 BROADMOOR CT                                                                                HOWELL            MI    48843‐7464
HOLM, EVERETT T                 2 BARRISTER CT                                                                                   BEAR              DE    19701‐1210
HOLM, GENEVIEVE S               1393 SUFFIELD AVE                                                                                BIRMINGHAM        MI    48009‐4823
HOLM, JEROME A                  1788 AXTELL DR                                                                                   GRANTS PASS       OR    97527‐4759
HOLM, LILA B                    664 ABBEY CT                     C/O JAMES P DAVIS                                               ROCHESTER HILLS   MI    48307‐4500
HOLM, ORVILLE M                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA    23510‐2212
                                                                 STREET, SUITE 600
HOLM, ROGER D                   6724 BALMORAL TER                                                                                CLARKSTON         MI    48346‐4508
HOLM, ROYCE A                   306 OPERA CT                                                                                     CENTREVILLE       MD    21617‐2396
HOLM, SALLY B                   135 HALL ST                                                                                      MANSFIELD         MA    02048‐3126
HOLM, STEVEN D                  4303 PRATT AVE                                                                                   GRAND BLANC       MI    48439‐9114
HOLM, TERRILL L                 108 ENGELHARDT DR                                                                                BAY CITY          MI    48706‐2814
HOLMAN AUTO GROUP, INC.         MELINDA HOLMAN                   1200 ROUTE 73                                                   MOUNT LAUREL      NJ    08054‐2214
HOLMAN AUTOMOTIVE GROUP         LAWRENCE MALINOWSKI, PRESIDENT   35300 FORD RD                                                   WESTLAND          MI    48185‐3173
HOLMAN AUTOMOTIVE GROUP, INC.   W. DANIEL MARTIN                 35100 FORD ROAD                                                 WESTLAND          MI    48185
HOLMAN CECIL                    62 TURNBURY DR                                                                                   BOSSIER CITY      LA    71111‐8203
HOLMAN ENTERPRISES              JOSEPH HOLMAN                    1311 ROUTE 73                                                   MOUNT LAUREL      NJ    08054‐2215
HOLMAN HOWARD EDWARD            C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                             LITTLE ROCK       AR    72201
HOLMAN II, JIMMY R              20 RIGHT ELEVATOR DR                                                                             BALTIMORE         MD    21220‐4538
HOLMAN JR, CORNELL              845 MALLORY DR                                                                                   ROCK HILL         SC    29730‐6058
HOLMAN JR, JAMES L              118 DUSTY ROSE DR                                                                                O FALLON          MO    63368‐6878
HOLMAN JR, JON D                947 WARD KOEBEL RD                                                                               OREGONIA          OH    45054‐9791
HOLMAN JR, WILLIAM C            7488 W SMITH RD                                                                                  MEDINA            OH    44256‐9132
HOLMAN JR,JON D                 947 WARD KOEBEL RD                                                                               OREGONIA          OH    45054‐9791
HOLMAN LESTER E (360437)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA    23510
                                                                 STREET, SUITE 600
HOLMAN MAUREEN                  HOLMAN, MAUREEN                  30 E BUTLER AVE                                                 AMBLER            PA    19002‐4514
HOLMAN MOTORS                   4387 ELICK LN                                                                                    BATAVIA           OH    45103‐1541
HOLMAN MOTORS, INC.             GREG HOLMAN                      4387 ELICK LN                                                   BATAVIA           OH    45103‐1541
HOLMAN MOTORS, INC.             4387 ELICK LN                                                                                    BATAVIA           OH    45103‐1541
HOLMAN RANDALL D (502853)       (NO OPPOSING COUNSEL)
HOLMAN ROBERT H SR (429121)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA    23510
                                                                 STREET, SUITE 600
HOLMAN ROBERT J                 58243 WINDSONG DR                                                                                ELKHART            IN   46517‐8649
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Name                                  Address1                       Address2                        Address3   Address4                    City            State Zip
HOLMAN SR, JAMES L                    690 TOBERMORY CT                                                                                      WENTZVILLE       MO 63385‐2868
HOLMAN WILLIAM (ESTATE OF) (478519)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD       OH 44067
                                                                     PROFESSIONAL BLDG
HOLMAN WILLIAM (ESTATE OF) (492575)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD      OH   44067
                                                                     PROFESSIONAL BLDG
HOLMAN, ARNE M                        221 YORK RD                                                                                           EDGERTON        WI   53534‐1603
HOLMAN, BERNICE J                     612 E 11TH ST                                                                                         RUSHVILLE       IN   46173‐1319
HOLMAN, BETTY                         PO BOX 1364                                                                                           O FALLON        MO   63366‐9164
HOLMAN, BOBBY D                       8012 42ND CT                                                                                          LYONS           IL   60534‐1166
HOLMAN, CAROL                         6‐2400 SANDWICH WEST PARKWAY                                              LASALLE ON CANADA N95 2S8

HOLMAN, CAROL                         995 BOUFFARD                                                              LASALLE OH N9J2Y1 CANADA

HOLMAN, CAROL                         4149 CARNEGIE ST                                                                                      WAYNE           MI   48184‐2136
HOLMAN, CEDRIC A                      PO BOX 19476                                                                                          SHREVEPORT      LA   71149‐0476
HOLMAN, CEDRIC ANDRE'                 PO BOX 19476                                                                                          SHREVEPORT      LA   71149‐0476
HOLMAN, CELESTE C                     3762 TIMAHOE CIR                                                                                      BALTIMORE       MD   21236‐2955
HOLMAN, CELESTE CHARMAINE             3762 TIMAHOE CIRCLE                                                                                   NOTTINGHAM      MD   21236‐2955
HOLMAN, CHARLES                       1013 N 16TH ST                                                                                        SAINT LOUIS     MO   63106‐3731
HOLMAN, CHARLES B                     1777 NEW HAMPSHIRE AVE                                                                                MARYSVILLE      MI   48040‐1730
HOLMAN, CHRISTOPHER C                 36215 SHAW DRIVE                                                                                      N RIDGEVILLE    OH   44039‐3959
HOLMAN, CLARSEY MAY                   58 CRAWFORD ST.                                                                                       ELLIJAY         GA   30540‐3135
HOLMAN, CLARSEY MAY                   58 CRAWFORD ST                                                                                        ELLIJAY         GA   30540‐3135
HOLMAN, CORDELLA                      201 NORTH STATE STREET                                                                                MUNCIE          IN   47303‐4370
HOLMAN, CORDELLA                      APT 261                        405 SOUTH MORRISON ROAD                                                MUNCIE          IN   47304‐4030
HOLMAN, CRYSTAL LYNIA                 180 TITUS ST                                                                                          IMLAY CITY      MI   48444‐4314
HOLMAN, CURTIS                        1512 TRILLIUM LN                                                                                      BOWLING GREEN   KY   42104‐5514
HOLMAN, CYNTHIA G                     1461 LANDIS CIRCLE                                                                                    BEL AIR         MD   21015‐8406
HOLMAN, DANIEL L                      314 CORKWOOD DR                                                                                       OXFORD          MI   48371‐4054
HOLMAN, DAVID C                       6044 WOODLAND HILLS DR                                                                                NASHVILLE       TN   37211‐8405
HOLMAN, DAVID E                       337 COMMERCE ST                                                                                       BENTON          AL   36785‐5424
HOLMAN, DAVID L                       7044 SEA STAR DR                                                                                      GRAND PRAIRIE   TX   75054‐7253
HOLMAN, DELIA L                       5114 N IVY RD NE                                                                                      ATLANTA         GA   30342
HOLMAN, DESSOLA                       2603 W BILLINGS ST                                                                                    COMPTON         CA   90220‐3907
HOLMAN, DOROTHY J                     1310 ASHBURN DR                                                                                       SANDUSKY        OH   44870‐4388
HOLMAN, EDWIN C                       1709 DARBYSHIRE DR                                                                                    DEFIANCE        OH   43512‐3307
HOLMAN, EVANGELINE V                  442 NW 18TH ST                                                                                        OKLAHOMA CITY   OK   73103
HOLMAN, FAYE E                        1911 OATES DR                                                                                         DALLAS          TX   75228‐4209
HOLMAN, GARVER                        928 KINNEY BLVD                                                                                       SAGINAW         MI   48601‐6136
HOLMAN, GEORGE V                      124 SW WIND RIDGE CIR                                                                                 LEES SUMMIT     MO   64081‐1786
HOLMAN, GERALD B                      5484 ORCHARD DR                                                                                       EAST CHINA      MI   48054‐4149
HOLMAN, GRACE V                       21871 BEVERLY ST                                                                                      OAK PARK        MI   48237‐2503
HOLMAN, GRACE V                       21871 BEVERLY                                                                                         OAK PARK        MI   48237‐2503
HOLMAN, HAROLD C                      1204 WILLOW SPRINGS BLVD                                                                              BROWNSBURG      IN   46112‐1857
HOLMAN, HELEN                         1600 ANTIETAM APT 1017                                                                                DETROIT         MI   48207
HOLMAN, HELEN D                       16494 EGO AVE                                                                                         EASTPOINTE      MI   48021‐3002
HOLMAN, HOWARD EDWARD                 MOODY EDWARD O                 801 W 4TH ST                                                           LITTLE ROCK     AR   72201‐2107
HOLMAN, J D                           1200 LOCUST GROVE RD                                                                                  COOKEVILLE      TN   38501‐6650
HOLMAN, JACKIE R                      4225 CLARK ST                                                                                         LEWISTON        MI   49756‐8119
HOLMAN, JAMES                         118 E 8TH ST                                                                                          GEORGETOWN      IL   61846‐1517
HOLMAN, JAMES AARON                   C/O EDWARD O MOODY P A         801 W 4TH ST                                                           LITTLE ROCK     AR   72201
HOLMAN, JAMES ARRON                   MOODY EDWARD O                 801 W 4TH ST                                                           LITTLE ROCK     AR   72201‐2107
HOLMAN, JAMES E                       2915 E 450 N                                                                                          MARION          IN   46952‐9041
HOLMAN, JAMES F                       PO BOX 192                                                                                            HUDSONVILLE     MI   49426‐0192
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Name                    Address1                        Address2                      Address3   Address4               City             State   Zip
HOLMAN, JAMES J         130 INDUSTRY ROAD                                                                               TELLICO PLAINS    TN     37385
HOLMAN, JAMES O         913 POSADOS DR                                                                                  EDMOND            OK     73012‐4247
HOLMAN, JAMES R         186 RIVER CHASE                                                                                 HOSCHTON          GA     30548‐1243
HOLMAN, JEREMY          205 JACOBS WAY                                                                                  SAINT PETERS      MO     63376‐7798
HOLMAN, JIMMY R         20 RIGHT ELEVATOR DR                                                                            BALTIMORE         MD     21220‐4538
HOLMAN, JOE D           4412 GARDEN DR                                                                                  ARLINGTON         TX     76001‐2920
HOLMAN, JOE L           3117 ODONNELL ST                                                                                BALTIMORE         MD     21224‐4934
HOLMAN, JOHN D          DALEY ROBERT                    707 GRANT ST STE 2500                                           PITTSBURGH        PA     15219‐1945
HOLMAN, JOHN J          1698 FLOWERY BRANCH RD                                                                          AUBURN            GA     30011‐2124
HOLMAN, JOHN R          PO BOX 137                                                                                      CASH              AR     72421‐0137
HOLMAN, JOHN T          3505 MELODY CT                                                                                  KOKOMO            IN     46902‐3937
HOLMAN, JOHN W          423 THUNDERBIRD TRL                                                                             CAROL STREAM       IL    60188‐1523
HOLMAN, JOHN W          1167 MADISON AVE SE STE 106                                                                     GRAND RAPIDS      MI     49507
HOLMAN, JOHNNY B        2524 W LAKE DR                                                                                  GREENFIELD        IN     46140‐8517
HOLMAN, JOYCE L         8092 LEANDER ST                                                                                 DETROIT           MI     48234‐4051
HOLMAN, LARRY D         PO BOX 174                                                                                      EUPORA            MS     39744‐0174
HOLMAN, LARRY H         G1138 JEFFERSON BLVD                                                                            FLINT             MI     48507
HOLMAN, LARRY HARDING   G1138 JEFFERSON BLVD                                                                            FLINT             MI     48507
HOLMAN, LARRY L         4055 BAYBROOK DR                                                                                WATERFORD         MI     48329‐3874
HOLMAN, LARRY R         205 SELHORST DR APT G1                                                                          OTTAWA            OH     45875‐1519
HOLMAN, LAWRENCE        419 W 6TH ST                                                                                    PORT CLINTON      OH     43452‐2101
HOLMAN, LESTER E        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510
                                                        STREET, SUITE 600
HOLMAN, MALLIE F        3642 S BOGAN RD                                                                                 BUFORD           GA      30519‐4306
HOLMAN, MARK D          314 CORKWOOD DRIVE                                                                              OXFORD           MI      48371‐4054
HOLMAN, MARY L          PO BOX 157                                                                                      FISHER           AR      72429‐0157
HOLMAN, MARY M          805 TROPHYWAY HUNTER RUN                                                                        BEAR             DE      19701
HOLMAN, MAUREEN D       12513 S COTTONWOOD DR                                                                           OLATHE           KS      66062‐1197
HOLMAN, MYRTLE          22102 EVERGREEN                                                                                 SOUTHFIELD       MI      48075‐3970
HOLMAN, NANCY P         1777 NEW HAMPSHIRE AVE                                                                          MARYSVILLE       MI      48040‐1730
HOLMAN, RANA AWAD       6416 COVINGTON RD APT D43                                                                       FORT WAYNE       IN      46804‐7356
HOLMAN, RANDALL D       C/O GEORGE & SIPES LLP          151 N DELAWARE ST STE 1700                                      INDIANAPOLIS     IN      46204
HOLMAN, RANDY J         13224 BRACEBRIDGE ST                                                                            BENTONVILLE      AR      72712‐9498
HOLMAN, RICHARD         10763 ARBOUR DR                                                                                 BRIGHTON         MI      48114‐9039
HOLMAN, RICHARD L       5300 E DESERT INN RD UNIT 220                                                                   LAS VEGAS        NV      89122‐4093
HOLMAN, RICHARD W       1925 SAFARI DR                                                                                  SAINT JOSEPH     MO      64506‐1720
HOLMAN, RILEY R         5318 JOHN R RD # 1                                                                              TROY             MI      48085
HOLMAN, RILEY R         5318 JOHN R RTE 1                                                                               TROY             MI      48085
HOLMAN, ROBERT E        1717 PINEHURST LN                                                                               FLOSSMOOR        IL      60422‐1964
HOLMAN, ROBERT H        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA      23510
                                                        STREET, SUITE 600
HOLMAN, ROBERT J        58243 WINDSONG DR                                                                               ELKHART          IN      46517‐8649
HOLMAN, ROBERT P        924 CLIFFSIDE DR                                                                                NEW CARLISLE     OH      45344‐2439
HOLMAN, ROGER D         1718 S BAYBERRY DR                                                                              MIAMISBURG       OH      45342‐2610
HOLMAN, ROSALIND D      690 TOBERMORY CT                                                                                WENTZVILLE       MO      63385‐2868
HOLMAN, ROSE A          341 CHERRY GROVE ROAD                                                                           CANTON           MI      48188
HOLMAN, RUSSELL E       4001 GLENHAVEN DR                                                                               LA CROSSE        WI      54601‐7531
HOLMAN, SHEILA M        97 LONG MEADOW DRIVE                                                                            ROCHESTER        NY      14621‐1105
HOLMAN, STEVEN E        4410 N RITTER AVE                                                                               INDIANAPOLIS     IN      46226‐3365
HOLMAN, SUSAN F         10462 GERA RD                                                                                   KING GEORGE      VA      22485‐3315
HOLMAN, THEODORE        PORTER & MALOUF PA              4670 MCWILLIE DR                                                JACKSON          MS      39206‐5621
HOLMAN, THOMAS J        4601 WHITE OAK RD                                                                               DUFF             TN      37729‐3223
HOLMAN, VERA B          1054 STAFFORD AVENUE                                                                            BRISTOL          CT      06010
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Name                          Address1                         Address2                        Address3            Address4                 City           State Zip
HOLMAN, WILLIAM               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                                 NORTHFIELD      OH 44067
                                                               PROFESSIONAL BLDG
HOLMAN, WILLIAM T             549 MANNING RD                                                                                                MOGADORE       OH   44260‐9587
HOLMAN, WILLIE D              1452 HOLLYWOOD ST                                                                                             DEARBORN       MI   48124‐4042
HOLMAN, YOLANDA A             1042 OXFORD RD                                                                                                PONTIAC        MI   48341‐2310
HOLMAS, JERINA                6611 KARL ROAD                                                                                                COLUMBUS       OH   43229
HOLMAS, JERINA                6611 KARL RD                                                                                                  COLUMBUS       OH   43229‐1369
HOLMATRO INC                  505 MCCORMICK DR                                                                                              GLEN BURNIE    MD   21061‐3254
HOLMBECK, ALLISON L           11701 BENT OAKS ST                                                                                            PARKER         CO   80138‐5705
HOLMBERG JR, WILLIAM P        25351 CATHEDRAL                                                                                               REDFORD        MI   48239‐1566
HOLMBERG JR, WILLIAM PAUL     25351 CATHEDRAL                                                                                               REDFORD        MI   48239‐1566
HOLMBERG, CARL H              1340 E RHORER RD                                                                                              BLOOMINGTON    IN   47401‐8857
HOLMBERG, GERALD M            1278 RAGWEED VALLEY RD                                                                                        ROYAL          AR   71968‐9529
HOLMBERG, GREGORY A           6439 N BOBTAIL DR                                                                                             MUNCIE         IN   47304‐9583
HOLMBERG, JAMES E             9515 W COUNTY ROAD 300 N                                                                                      MUNCIE         IN   47304‐8860
HOLMBERG, JEFF L              2520 E 750 S                                                                                                  FAIRMOUNT      IN   46928‐9706
HOLMBERG, MICHAEL A           15720 W COUNTY ROAD 700 N                                                                                     GASTON         IN   47342‐9362
HOLMBERG, RUSSELL W           407 CARPENTERTOWN MINE RD                                                                                     MT PLEASANT    PA   15666‐2912
HOLMBERG, SANDRA L            3214 OCEANLINE EAST DR                                                                                        INDIANAPOLIS   IN   46214‐4154
HOLMBLAD, PATRICIA            2270 PROBASCO WAY                                                                                             SPARKS         NV   89431‐3347
HOLMBURY INC                  6948 SPINACH DR                                                                                               MENTOR         OH   44060‐4958
HOLMCO INDUSTRIES             TOM DONNELLY X17                 PO BOX 188                      DIVISION OF ROBIN                            DAHLONEGA      GA   30533‐0004
                                                                                               INDUSTRIES
HOLME, ALAN R                 217 GLENMOOR DR                                                                                               ROCHESTER      MI   48307‐1729
HOLMEN, KENNETH E             84 MEADOWLARK AVE                                                                                             KASSON         MN   55944‐9609
HOLMEN, ROBERT L              7611 WILSON AVE SW                                                                                            BYRON CENTER   MI   49315‐9003
HOLMER, DAVID M               840 SAINT ANDREWS DRIVE                                                                                       AVON           IN   46123‐8993
HOLMER, FRED C                6028 VALLEY TRL                                                                                               DIMONDALE      MI   48821‐9552
HOLMER, JEANETTE              8305 PENNSYLVANIA AVE                                                                                         ST LOUIS       MO   63111‐3743
HOLMER, JOHN K                41 NEW ESTATE RD                                                                                              LITTLETON      MA   01460‐1107
HOLMES & THOMSON LLP          P O BOX 858                                                                                                   CHARLESTON     SC   29402
HOLMES ALEX                   221 RODNEY AVE                                                                                                BUFFALO        NY   14214‐2218
HOLMES ANDRE                  HOLMES, ANDRE                    1930 E MARLTON PIKE SUITE Q29                                                CHERRY HILL    NJ   08003
HOLMES AUTO SUPPLY                                             3301 BANKHEAD HWY                                                                           TX   79701
HOLMES AUTO SUPPLY            3301 BANKHEAD HWY                                                                                             MIDLAND        TX   79701‐6704
HOLMES BARBARA & KIMMEL &     30 E BUTLER AVE                                                                                               AMBLER         PA   19002‐4514
SILVERMAN
HOLMES BARBARA (665244)       BELLUCK & FOX LLP                546 5TH AVE #4                                                               NEW YORK       NY   10036‐5000
HOLMES CHEVROLET INC.         MAX HOLMES                       2501 SUNSET DR                                                               NORWALK        IA   50211‐9702
HOLMES CHEVROLET INC.         2501 SUNSET DR                                                                                                NORWALK        IA   50211‐9702
HOLMES CHRISTOPHER            HOLMES, CHRISTOPHER              120 WEST MADISON STREET 10TH                                                 CHICAGO        IL   60602
                                                               FLOOR
HOLMES COMMUNITY COLLEGE      BUSINESS OFFICE                  412 W RIDGELAND AVE                                                          RIDGELAND      MS   39157‐1815
HOLMES COUNTY TAX COLLECTOR   201 NORTH OKLAHOMA STREET                                                                                     BONIFAY        FL   32425
HOLMES COUNTY TREASURER       75 E CLINTON ST STE 105                                                                                       MILLERSBURG    OH   44654‐1283
HOLMES ELMER JR & KATHLEEN    2914 STANHOPEKELLOGSVL RD                                                                                     DORSET         OH   44032
HOLMES ERNEST                 900 BRIAR RIDGE DR                                                                                            KELLER         TX   76248
HOLMES ERNESTINE              1203 GREBE COURT                                                                                              MARTINSBURG    WV   25404‐3719
HOLMES FLOYD S (468049)       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                                   BALTIMORE      MD   21202
                                                               CHARLES CENTER 22ND FLOOR
HOLMES FREIGHT LINES INC      7878 1 STREET                                                                                                 OMAHA          NE   68127
HOLMES FREIGHT LINES INC      70 WARD RD                                                                           BRAMPTON CANADA ON L6S
                                                                                                                   4L5 CANADA
HOLMES GASTON (475480)        ERNSTER CLETUS P III             2700 POST OAK BLVD STE 1350                                                  HOUSTON        TX   77056‐5785
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Name                                 Address1                          Address2                         Address3   Address4               City           State   Zip
HOLMES III, GRANVILLE C              23685 N 75TH PL                                                                                      SCOTTSDALE      AZ     85255‐3451
HOLMES IRENE                         149 OLD SAWMILL RD                                                                                   LITTLE RIVER    SC     29566‐7707
HOLMES JACKIE M (439147)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA     23510
                                                                       STREET, SUITE 600
HOLMES JANA                          2 DUNN ST                                                                                            LAGUNA BEACH    CA     92677‐5703
HOLMES JEFFREY R                     HOLMES, JEFFREY R                 27240 TURNBERRY LANE SUITE 200                                     VALENCIA        CA     91355
HOLMES JIM (493848)                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA     23510
                                                                       STREET, SUITE 600
HOLMES JIMMY                         HOLMES, JIMMY                     145 THERMAN RD                                                     MENDAL HALL    MS      39114
HOLMES JOHN M (466975)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK        VA      23510
                                                                       STREET, SUITE 600
HOLMES JOSEPH (ESTATE OF) (506933)   SIMMONS FIRM                      PO BOX 521                                                         EAST ALTON     IL      62024‐0519
HOLMES JR, CHARLES                   377 98TH AVE                                                                                         OAKLAND        CA      94603‐2101
HOLMES JR, CONNOR                    4996 WORCHESTER ST                                                                                   DENVER         CO      80239‐4363
HOLMES JR, DAVE                      3968 HIGHWAY 22                                                                                      EDWARDS        MS      39066‐4130
HOLMES JR, FERRIS E                  9360 N ELMS RD                                                                                       CLIO           MI      48420‐8540
HOLMES JR, FREDDIE R                 69 BURLESON RD                                                                                       HARTSELLE      AL      35640‐4807
HOLMES JR, HICKMAN                   4262 KELLY CT                                                                                        FLUSHING       MI      48433‐2318
HOLMES JR, JOHN H                    15069 WHITCOMB ST                                                                                    DETROIT        MI      48227‐2607
HOLMES JR, JOSEPH E                  452 MCPHERSON ST                                                                                     MANSFIELD      OH      44903‐1079
HOLMES JR, JOSEPH W                  5379 COMPASS COVE PL                                                                                 FORT PIERCE    FL      34949‐8418
HOLMES JR, KERMIT                    14295 HESS RD                                                                                        HOLLY          MI      48442‐8239
HOLMES JR, KING S                    11824 HARBOR LN                                                                                      BELLEVILLE     MI      48111‐2406
HOLMES JR, KING SOLOMON              11824 HARBOR LN                                                                                      BELLEVILLE     MI      48111‐2406
HOLMES JR, LATRELLE W                2726 KELLAR AVE                                                                                      FLINT          MI      48504‐2780
HOLMES JR, LATRELLE W                4409 MAINES ST                                                                                       FLINT          MI      48505‐3647
HOLMES JR, LESTER L                  5098 PLEASANT DR                                                                                     BEAVERTON      MI      48612‐8769
HOLMES JR, PEARSON                   12001 BEAVERLAND                                                                                     DETROIT        MI      48239‐1359
HOLMES JR, ROBERT                    4109 LAWNDALE AVE                                                                                    FLINT          MI      48504‐3505
HOLMES JR, WALTER                    295 LEDFORD RD                                                                                       HARRISBURG     IL      62946‐4217
HOLMES JR, WALTER                    315 HAZEN ST                                                                                         MILPITAS       CA      95035‐2849
HOLMES JR, WALTER J                  26 WINDOM ST                                                                                         ALLSTON        MA      02134‐1221
HOLMES JR, WILLIAM                   246 BOX AVE                                                                                          BUFFALO        NY      14211‐1418
HOLMES JR, WILLIAM B                 7506 ANDERSONVILLE RD                                                                                WATERFORD      MI      48095
HOLMES KELLY                         PO BOX 6331                                                                                          SAGINAW        MI      48608‐6331
HOLMES LEON                          1841 DEAN RD                                                                                         JACKSONVILLE   FL      32216‐4520
HOLMES LEROY                         16145 BRAILE ST                                                                                      DETROIT        MI      48219‐3911
HOLMES LISA                          HOLMES, LISA A                    PO BOX 1831                                                        ALEXANDRIA     LA      71309‐1831
HOLMES LISA                          STATE FARM ASO LISA A HOLMES      201 JOHNSTON                                                       ALEXANDRIA     LA      71301
                                     05/14/2002
HOLMES MARY                          206 ALBANIA ST                                                                                       EDENTON         NC     27932‐1706
HOLMES MOTORS INC                    400 2ND ST                                                                                           IDA GROVE       IA     51445‐1303
HOLMES MOTORS, INC.                  JACK HOLMES                       400 2ND ST                                                         IDA GROVE       IA     51445‐1303
HOLMES MOTORS, INC.                  400 2ND ST                                                                                           IDA GROVE       IA     51445‐1303
HOLMES OLIVER (497707)               GELMAN JON L                      1700 STATE ROUTE 23 STE 120                                        WAYNE           NJ     07470‐7537
HOLMES PAUL H (429122)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA     23510
                                                                       STREET, SUITE 600
HOLMES QUICK & SAFE TRANSPORT        1024 11TH AVE                                                                                        PORT HURON     MI      48060‐3410
HOLMES RICHARD                       12821 W WARREN AVE                                                                                   LAKEWOOD       CO      80228‐4343
HOLMES ROGER                         225 LISA LANE                                                                                        PALESTINE      TX      75803‐8562
HOLMES SR, FREDDIE R                 1617 CENTER SPRINGS RD                                                                               SOMERVILLE     AL      35670‐4240
HOLMES SR, RONALD F                  201 S ASPEN CT                                                                                       WARREN         OH      44484
HOLMES TERENCE M DBA HOLMES          982 HAVENSPORT DR                                                                                    CINCINNATI     OH      45240‐1841
REPORTING SRVIC
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Name                     Address1                           Address2                       Address3   Address4               City               State Zip
HOLMES TIFFANY           HOLMES, TIFFANY                    120 WEST MADISON STREET 10TH                                     CHICAGO              IL 60602
                                                            FLOOR
HOLMES TRANS & AUTO      630 N CHESTNUT ST                                                                                   MONTICELLO         IA   52310‐1469
HOLMES VENIS             HOLMES, BRIANNA                    3911 FERDIE CV                                                   MEMPHIS            TN   38127‐4927
HOLMES VENIS             HOLMES, VENIS                      3911 FERDIE CV                                                   MEMPHIS            TN   38127‐4927
HOLMES WENDY             204 BELLA MATESE AVE                                                                                LAS VEGAS          NV   89183‐5606
HOLMES WILLIAM JR        1480 WOODRIDGE DR                                                                                   MIDDLETOWN         PA   17057‐3165
HOLMES WILLIE            502 CAMPBELL STREET                                                                                 FLORENCE           AL   35630‐4504
HOLMES, A                11033 SALEM DR                                                                                      SUN CITY           AZ   85351‐4316
HOLMES, AARON N          505 BORTON AVE                                                                                      ESSEXVILLE         MI   48732‐1117
HOLMES, ALAN G           6520 HADLEY HILLS CT                                                                                CLARKSTON          MI   48348‐1924
HOLMES, ALBERTA          1812 BRANDON WAY                                                                                    BESSEMER           AL   35022‐8304
HOLMES, ALETHA M         17531 W DESERT DAGE DR                                                                              GOODYEAR           AZ   85338‐5754
HOLMES, ALETHA M         754 HYMETTUS AVE                                                                                    ENCINITAS          CA   92024
HOLMES, ALEX             221 RODNEY AVE                                                                                      BUFFALO            NY   14214‐2218
HOLMES, ALICIA R         5415 WHITES FERRY RD LOT 20                                                                         WEST MONROE        LA   71291
HOLMES, ALMA I           730 YOUNGSTOWN WARREN RD APT 306                                                                    NILES              OH   44446‐3579

HOLMES, ALMA I           730 YOUNGSTOWN‐WARREN RD.          UNIT# 306                                                        NILES              OH   44446‐1943
HOLMES, ALPHONSO         351 NEWBURGH AVE                                                                                    BUFFALO            NY   14215
HOLMES, ALROMA MANNING   1832 LORA ST                                                                                        ANDERSON           IN   46013‐2744
HOLMES, AMY B            2 DUNBILT CT                                                                                        MANSFIELD          OH   44907‐1203
HOLMES, ANDRE E          20280 KENTFIELD STREET                                                                              DETROIT            MI   48219‐1447
HOLMES, ANDREW S         1061 CABOT DR                                                                                       FLINT              MI   48532
HOLMES, ANITA M          984 CECELIA DR                                                                                      ESSEXVILLE         MI   48732‐2104
HOLMES, ANNABELLE        10618 KILBOURN DR                                                                                   SAINT LOUIS        MO   63136‐5702
HOLMES, ANTWAN M         902 SUDBURY DR                                                                                      JOLIET             IL   60435‐3472
HOLMES, APOLLO A         3118 WESTAIRE CT                                                                                    COLUMBUS           OH   43232‐3604
HOLMES, ARLENE M         6820 STATE RD                                                                                       BANCROFT           MI   48414‐9420
HOLMES, ARLENE M         6820 S STATE RD                                                                                     BANCROFT           MI   48414‐9420
HOLMES, ARTHUR E         341 MOCKINGBIRD LN                                                                                  MADISON            MS   39110‐9560
HOLMES, ARTHUR R         3180 COLUMBRINA CIR C                                                                               PORT SAINT LUCIE   FL   34952
HOLMES, AVIS E           94 E BOSTON                                                                                         DETROIT            MI   48202‐1319
HOLMES, AVIS E           94 E BOSTON BLVD                                                                                    DETROIT            MI   48202‐1319
HOLMES, BARBARA          BELLUCK & FOX LLP                  546 5TH AVE #4                                                   NEW YORK           NY   10036‐5000
HOLMES, BARBARA          PO BOX 38823                                                                                        DETROIT            MI   48238‐0823
HOLMES, BARBARA A        4516 BERQUIST DR.                                                                                   DAYTON             OH   45426‐1804
HOLMES, BARBARA M        2610 NORTH LIBERTY ST.                                                                              VISALIA            CA   93292‐7644
HOLMES, BARBARA M        2610 N LIBERTY ST                                                                                   VISALIA            CA   93292‐7644
HOLMES, BARBARA R        2882 ‐ 30TH. RD.                                                                                    VER MILLION        KS   66544‐8689
HOLMES, BARBARA R        2882 30TH RD                                                                                        VERMILLION         KS   66544‐8689
HOLMES, BARBARA W        8510 BLACKHALL RD                                                                                   JONESBORO          GA   30236‐5455
HOLMES, BEATRICE         817 CHATHAM DR                                                                                      FLINT              MI   48505‐1948
HOLMES, BECKY A          3191 WOODVALLEY DR                                                                                  FLUSHING           MI   48433‐2226
HOLMES, BENJAMIN A       199 N COLLETT ST                                                                                    DANVILLE           IL   61832‐5961
HOLMES, BERNA D          120 OTTAWA DR                                                                                       PONTIAC            MI   48341‐1634
HOLMES, BERNARD          G‐6276 DETROIT STREET                                                                               MOUNT MORRIS       MI   48458
HOLMES, BERNICE M        18567 NUCLEAR PLANT RD                                                                              ATHENS             AL   35611
HOLMES, BERTHA L         C/O EDWARD O MOODY P A             801 W 4TH ST                                                     LITTLE ROCK        AR   72201
HOLMES, BERTHA L         MOODY EDWARD O                     801 W 4TH ST                                                     LITTLE ROCK        AR   72201‐2107
HOLMES, BETTY J          10787 W 00 NS                      C/O JOHN R HOLMES                                                KOKOMO             IN   46901‐8830
HOLMES, BETTY M          5098 PLEASANT DR                                                                                    BEAVERTON          MI   48612‐8769
HOLMES, BETTY R          1711 W HOBSON AVE                                                                                   FLINT              MI   48504‐7060
HOLMES, BILLIE R         8091 SW 109TH PLACE RD                                                                              OCALA              FL   34481
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Name                    Address1                         Address2                Address3    Address4               City               State   Zip
HOLMES, BILLY M         3504 MOUNT VERNON PL                                                                        INDIANAPOLIS        IN     46217‐3249
HOLMES, BOBBIE J        170 WESTWAY ST                                                                              PONTIAC             MI     48342‐2568
HOLMES, BRANDON M       7009 OAK HILL DR                                                                            WEST FARMINGTON     OH     44491‐8708

HOLMES, BRIAN P         15040 CORTZ RD                                                                              PETERSBURG          MI     49270‐9738
HOLMES, BRIANNA         3911 FERDIE CV                                                                              MEMPHIS             TN     38127‐4927
HOLMES, BRUCE E         54603 POCAHONTAS DR                                                                         SHELBY TWP          MI     48315‐1273
HOLMES, BRYAN T         14960 FAIRMOUNT DR                                                                          DETROIT             MI     48205
HOLMES, BRYAN TAVARES   14960 FAIRMOUNT DR                                                                          DETROIT             MI     48205
HOLMES, BURTON P        1717 E NEWTON AVE APT 5                                                                     MILWAUKEE           WI     53211‐2228
HOLMES, CALVIN J        19416 TILLMAN AVE                                                                           CARSON              CA     90746‐2432
HOLMES, CAROL M         301 ROSSITER ST                                                                             SHREVEPORT          LA     71105‐4805
HOLMES, CAROLE          3167 ADIRONDACK CT                                                                          WESTLAKE VILLAGE    CA     91362‐3504

HOLMES, CARR0LL W       PO BOX 894                                                                                  INDIANAPOLIS        IN     46206‐0894
HOLMES, CARTHOL B       384 WEST COUNTY ROAD 200 NORTH                                                              LOGANSPORT          IN     46947‐8754
HOLMES, CARY M          45740 PICKETT ST                                                                            CALLAHAN            FL     32011‐4080
HOLMES, CATHERINE       3017 SHERIDAN                                                                               DETROIT             MI     48214‐1795
HOLMES, CATHERINE       3017 SHERIDAN ST                                                                            DETROIT             MI     48214‐1795
HOLMES, CATHERINE D     PO BOX 37213                                                                                SHREVEPORT          LA     71133‐7213
HOLMES, CATHERINE M     1825 DELL RD                                                                                LANSING             MI     48911‐7135
HOLMES, CECIL L         17359 DRESDEN ST                                                                            DETROIT             MI     48205‐3135
HOLMES, CHARLENE J      3040 WATERCHASE WAY SW APT 204                                                              WYOMING             MI     49519‐5952
HOLMES, CHARLES         RR 3 BOX 4720                                                                               HAWKINSVILLE        GA     31036‐9249
HOLMES, CHARLES B       164 DURHAM AVE                                                                              BUFFALO             NY     14215‐3010
HOLMES, CHARLES B       6630 GULFPORT BLVD S                                                                        SOUTH PASADENA      FL     33707‐3918
HOLMES, CHARLES BRUCE   164 DURHAM AVE                                                                              BUFFALO             NY     14215‐3010
HOLMES, CHARLES C       PO BOX 191                                                                                  RICKMAN             TN     38580‐0191
HOLMES, CHARLES E       3527 PINOAK ST                                                                              CLARKSTON           MI     48348‐1375
HOLMES, CHARLES E       1600 N 77TH TER                                                                             KANSAS CITY         KS     66112‐2290
HOLMES, CHARLES R       8141 AMERICAN ST                                                                            DETROIT             MI     48204‐3416
HOLMES, CHARLES R       8510 BLACKHALL RD                                                                           JONESBORO           GA     30236‐5455
HOLMES, CHARLES T       1875 UNION LAKE RD                                                                          COMMERCE            MI     48382‐2247
                                                                                                                    TOWNSHIP
HOLMES, CHARLES W       379 S 650 E                                                                                 WHITESTOWN         IN      46075‐9764
HOLMES, CHARLES W       504 DEPEW ST                                                                                PEEKSKILL          NY      10566‐4608
HOLMES, CHARLOTTE A     3177 BRETHREN CHURCH RD                                                                     WHITE PINE         TN      37890‐4317
HOLMES, CHESTER         710 W EUCLID ST                                                                             DETROIT            MI      48202‐2029
HOLMES, CHRISTINE L     135 LANIER AVE.                                                                             JASPER             GA      30143‐2162
HOLMES, CHRISTOPHE W    304 THE WOODS                                                                               BEDFORD            IN      47421‐9378
HOLMES, CHRISTOPHER A   3444 PARAMOUNT LN                                                                           AUBURN HILLS       MI      48326‐3963
HOLMES, CINDIE L        5212 N RAISIN CENTER HWY                                                                    TECUMSEH           MI      49286‐9579
HOLMES, CLARENCE        109 VENETIAN BAY CIR                                                                        SANFORD            FL      32771‐7979
HOLMES, CLAYTON         PO BOX 575                                                                                  HAWKINSVILLE       GA      31036‐0575
HOLMES, CLEVELAND       LEBLANC & WADDELL                5353 ESSEN LN STE 420                                      BATON ROUGE        LA      70809‐0500
HOLMES, CLIFFORD W      5666 PINCKNEY RD                                                                            HOWELL             MI      48843‐7805
HOLMES, COLLEEN         29420 CANDLEWOOD LN                                                                         SOUTHFIELD         MI      48076
HOLMES, CURTIS          214 CLINTON ST                                                                              BUFFALO            NY      14204‐1739
HOLMES, CURTIS          150 KARLYN DR                                                                               NEW CASTLE         DE      19720‐1309
HOLMES, CYNTHIA M       2302 ROSENFIELD DR                                                                          FLINT              MI      48505‐1083
HOLMES, DAISY L         1137 BLOSSOM DR                                                                             THREE RIVERS       MI      49093
HOLMES, DANA J          228 EVERGREEN DR                                                                            POLAND             OH      44514‐3706
HOLMES, DANA J          4512 SQUIRREL TRAIL LN                                                                      CHARLOTTE          NC      28259‐6256
HOLMES, DANIEL          229 FELLOWS RD                                                                              FAIRPORT           NY      14450‐9154
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Name                       Address1                      Address2                Address3     Address4               City               State   Zip
HOLMES, DANIEL G           2655 SHARON CT                                                                            S.W WYOMING         MI     49501‐2953
HOLMES, DANNY K            1164 EASTBURG CT                                                                          RIPON               CA     95366‐3358
HOLMES, DAVID A            831 OAK CLUSTER CT                                                                        HOWELL              MI     48855‐7773
HOLMES, DAVID A            868 TOM OSBORNE RD                                                                        COLUMBIA            TN     38401‐6736
HOLMES, DAVID CHARLES      3080 LEATHERWOOD ROAD                                                                     BEDFORD             IN     47421‐8771
HOLMES, DAVID K            102 E CLEVELAND ST                                                                        ALEXANDRIA          IN     46001‐1023
HOLMES, DEANNA M           5011 UNIVERSITY AVE                                                                       SAINT JOSEPH        MO     64503‐2055
HOLMES, DEBORAH            300 LAKEWAY TER                                                                           SPRING HILL         TN     37174‐7551
HOLMES, DELMORE V          4359 COLLEGE AVE                                                                          SAINT LOUIS         MO     63107
HOLMES, DEMETRUS S         139 CIMARRON TRL APT 1053                                                                 IRVING              TX     75063‐8540
HOLMES, DENISE             10511 HALE HWY                                                                            EATON RAPIDS        MI     48827‐9726
HOLMES, DENISE             324 LENTZ ST                                                                              JEANNETTE           PA     15644‐1949
HOLMES, DENISE E           1328 WEST CRANDALL STREET                                                                 MITCHELL            IN     47446‐8005
HOLMES, DENISE L           10511 HALE HWY                                                                            EATON RAPIDS        MI     48827‐9726
HOLMES, DENNIS H           17690 COUNTY ROAD 612                                                                     ATLANTA             MI     49709‐8930
HOLMES, DERRING W          13066 DUNSTAN LN                                                                          GARDEN GROVE        CA     92843‐1136
HOLMES, DEVIN A.           9 HIDDEN VALLEY DR APT 19                                                                 TOLEDO              OH     43615
HOLMES, DIANNE L           18921 LAUDER ST                                                                           DETROIT             MI     48235‐2761
HOLMES, DIESHAWN L         6621 KINGS POINTE RD                                                                      GRAND BLANC         MI     48439‐8798
HOLMES, DIESHAWN LATRICE   6621 KINGS POINTE RD                                                                      GRAND BLANC         MI     48439‐8798
HOLMES, DON W              2700 DONNELATH PL                                                                         ALPHARETTA          GA     30009‐8718
HOLMES, DONALD C           696 LEESBURG ROAD                                                                         PELAHATCHIE         MS     39145‐9145
HOLMES, DONALD C           696 LEESBURG RD                                                                           PELAHATCHIE         MS     39145‐2749
HOLMES, DONALD M           1566 EARLHAM DR                                                                           DAYTON              OH     45406‐4733
HOLMES, DONNA F.           5164 MAPLEBROOK LN                                                                        FLINT               MI     48507‐4116
HOLMES, DORENE G           3627 PINOAK ST                                                                            CLARKSTON           MI     48348‐1375
HOLMES, DORIS C            4304 BROWN ST                                                                             ANDERSON            IN     46013‐4451
HOLMES, DORIS D            214 DOUGLAS N.E.                                                                          WARREN              OH     44483‐3405
HOLMES, DORIS D            214 DOUGLAS ST NE                                                                         WARREN              OH     44483‐3405
HOLMES, DOROTHY J          500 E 7TH ST APT 102                                                                      SPRINGTOWN          TX     76082‐2240
HOLMES, DOROTHY J          5300 N FM 51 LOT 8                                                                        WEATHERFORD         TX     76085‐9341
HOLMES, DOUGLAS J          11517 SHELL BARK LN                                                                       GRAND BLANC         MI     48439‐1382
HOLMES, DWIGHT A           6716 PLANTATION RD                                                                        FOREST HILL         TX     76140‐1222
HOLMES, DWIGHT ANAYA       6716 PLANTATION RD                                                                        FOREST HILL         TX     76140‐1222
HOLMES, EARLDINE           292 SMITH ST APT 326                                                                      CLIO                MI     48420‐2040
HOLMES, EDDIE              1738 MARTIN LUTHER KING DR                                                                EAST SAINT LOUIS     IL    62205‐1604
HOLMES, EDDIE              6733 KINGMAN DR                                                                           INDIANAPOLIS        IN     46256‐2329
HOLMES, EDGAR E            48 E HEATH ST                                                                             BALTIMORE           MD     21230‐4840
HOLMES, EDITH E.           1004 SUGAR CREEK CT                                                                       SAINT PETERS        MO     63376‐7421
HOLMES, EDWARD D           4729 FOREST HILLS DR                                                                      NOBLE               OK     73068‐8455
HOLMES, EDWARD F           APT 2                         118 NORTH MAIN STREET                                       POLAND              OH     44514‐5611
HOLMES, EDWARD F           118 N MAIN ST                                                                             POLAND              OH     44514
HOLMES, EDWARD M           600 W SUNSET DR APT 201                                                                   MILTON              WI     53563‐1073
HOLMES, EDWIN              GUY WILLIAM S                 PO BOX 509                                                  MCCOMB              MS     39649‐0509
HOLMES, EDWIN              SHANNON LAW FIRM              100 W GALLATIN ST                                           HAZLEHURST          MS     39083‐3007
HOLMES, ELDRIDGE           19483 STOUT ST                                                                            DETROIT             MI     48219
HOLMES, ELIZABETH H        18457 SUSSEX                                                                              DETROIT             MI     48235‐2837
HOLMES, ELIZABETH H        18457 SUSSEX ST                                                                           DETROIT             MI     48235‐2837
HOLMES, ELIZABETH L        317 E 5TH ST                                                                              FRANKLIN            OH     45005‐2407
HOLMES, EMMETT N           13604 LAKE RD                                                                             LYNNWOOD            WA     98087‐1706
HOLMES, ENA V              15710 SAINT MARYS ST                                                                      DETROIT             MI     48227‐1930
HOLMES, ERNESTINE          1203 GREBE CT                                                                             MARTINSBURG         WV     25404‐3719
HOLMES, ERNESTINE          1803 TIMBERLANE DR                                                                        FLINT               MI     48507‐1410
HOLMES, ERSIE              7937 STATE ROAD 54 W                                                                      SPRINGVILLE         IN     47462‐5157
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Name                      Address1                         Address2                      Address3   Address4               City               State   Zip
HOLMES, ESTHER R          664 KINGSLEY TRAIL                                                                               BLOOMFIELD HILLS    MI     48304
HOLMES, ESTHER R          1620 FRIENDLY                                                                                    PORTAGE             MI     49002‐1652
HOLMES, ESTHER R          1620 FRIENDLY AVE                                                                                PORTAGE             MI     49002‐1652
HOLMES, EULENE B          34999 SCHOOL ST                                                                                  WESTLAND            MI     48185‐8514
HOLMES, F J               11313 COLLEGE VIEW DR                                                                            SILVER SPRING       MD     20902‐2536
HOLMES, FAY               3095 LINDEN LN APT 209                                                                           FLINT               MI     48507‐1132
HOLMES, FAYE              PORTER & MALOUF PA               4670 MCWILLIE DR                                                JACKSON             MS     39206‐5621
HOLMES, FERDINAND         7458 NESHOBA RD                                                                                  GERMANTOWN          TN     38138‐2745
HOLMES, FLOYD R           63 ORCHID DR                                                                                     ROCHESTER           NY     14616‐1045
HOLMES, FLOYD S           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                       BALTIMORE           MD     21202
                                                           CHARLES CENTER 22ND FLOOR
HOLMES, FRANCES L         1310 SUTTON AVE                                                                                  FLINT              MI      48504‐3252
HOLMES, FRANCES T         16292 WILDFOX CT                                                                                 ROMULUS            MI      48174‐3000
HOLMES, FRANKIE S         12526 MAGBURY LN                                                                                 JACKSONVILLE       FL      32258‐4418
HOLMES, FRANKIE STEVE     12526 MAGBURY LN                                                                                 JACKSONVILLE       FL      32258‐4418
HOLMES, FREDDY            3177 BRETHREN CHURCH RD                                                                          WHITE PINE         TN      37890‐4317
HOLMES, FREDERICK         423 HENTSCHEL PL                                                                                 FERGUSON           MO      63135‐1542
HOLMES, FREDERICK B       9676 BOUCHER RD                                                                                  OTTER LAKE         MI      48464‐9415
HOLMES, FREDRIC S         VERNDALE APARTMENTS              811 MONTEVIDEO DRIVE          APT 22                            LANSING            MI      48917
HOLMES, FREDRIC S         APT 22                           811 MONTEVIDEO DRIVE                                            LANSING            MI      48917‐4825
HOLMES, GAIL M            3733 N MAIN STREET RD                                                                            HOLLEY             NY      14470‐9330
HOLMES, GALEN D           1325 OLIVE ST                                                                                    LEAVENWORTH        KS      66048‐2359
HOLMES, GALEN DEAN        1325 OLIVE ST                                                                                    LEAVENWORTH        KS      66048‐2359
HOLMES, GARY A            5163 WALNUT PARK DR                                                                              SANTA BARBARA      CA      93111‐1748
HOLMES, GARY D            605 W HEDGEWOOD DR                                                                               BLOOMINGTON        IN      47403‐4808
HOLMES, GARY D            3968 S MORRISTOWN PIKE                                                                           GREENFIELD         IN      46140‐8394
HOLMES, GARY L            1047 RANSOM DR                                                                                   FLINT              MI      48507‐4203
HOLMES, GARY L            GUY WILLIAM S                    PO BOX 509                                                      MCCOMB             MS      39649‐0509
HOLMES, GARY S            784 COLONIAL WAY                                                                                 GREENWOOD          IN      46142‐1812
HOLMES, GASTON            ERNSTER CLETUS P III             2700 POST OAK BLVD STE 1350                                     HOUSTON            TX      77056‐5785
HOLMES, GENE A            5403 S HEATHER DR                                                                                TEMPE              AZ      85283‐2200
HOLMES, GERALD B          34182 BIRCHWAY CIR                                                                               STERLING HEIGHTS   MI      48312‐5300
HOLMES, GERALD D          6115 S CORONADO TER                                                                              LECANTO            FL      34461‐9417
HOLMES, GERALD E          3344 LYONS ST                                                                                    EVANSTON           IL      60203‐1414
HOLMES, GERALD H          C/O JOHN YUN CONSERVATOR         7152 GATEWAY PARK DR                                            CLARKSTON          MI      48346‐2574
HOLMES, GERALD W          12073 N BERLING DR                                                                               MOORESVILLE        IN      46158‐7800
HOLMES, GERALDINE W.      281 OAKRIDGE DR                                                                                  CARTERSVILLE       GA      30121‐7378
HOLMES, GERTRUDE C        PO BOX 221                                                                                       GLEN RIDGE         NJ      07028‐0221
HOLMES, GERTRUDE E        108 HEATHER DR                   C/O DEBRA HOLMES                                                SHERWOOD           AR      72120‐3102
HOLMES, GINA L            18640 WHITE PINE CIR                                                                             HUDSON             FL      34667‐6670
HOLMES, GINA L            6918 MANNING RD                                                                                  MIAMISBURG         OH      45342‐5342
HOLMES, GLEN R            3440 PINE RDG                                                                                    BURTON             MI      48519‐2814
HOLMES, GLORIA J          12073 N BERLING DR                                                                               MOORESVILLE        IN      46158‐7800
HOLMES, GREGORY C         14634 ROSELAWN ST                                                                                DETROIT            MI      48238‐1892
HOLMES, GREGORY D         6656 HART LAKE RD                                                                                OTTER LAKE         MI      48464‐9701
HOLMES, GREGORY V         4031 BRADEN RD                                                                                   BYRON              MI      48418‐8810
HOLMES, GREGORY VINCENT   4031 BRADEN RD                                                                                   BYRON              MI      48418‐8810
HOLMES, HAROLD J          1757 LINDO ST                                                                                    BENICIA            CA      94510
HOLMES, HARRELL E         12600 SAN FERNANDO RD            110                                                             FYLMAR             CA      91342
HOLMES, HARRELL E         4440 SEPULVEDA BLVD APT 102                                                                      SHERMAN OAKS       CA      91403‐3954
HOLMES, HARRY R           249 REGINA AVE                                                                                   TRENTON            NJ      08619‐2205
HOLMES, HATTIE P          PO BOX 2364                                                                                      MOULTRIE           GA      31768
HOLMES, HEATHER R         6166 JOHNSON RD                                                                                  SPRINGFIELD        OH      45502‐9616
HOLMES, HELENA            8300 SHIELDS DR #103                                                                             SAGINAW            MI      48609‐8501
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Name                Address1                         Address2                      Address3   Address4               City             State   Zip
HOLMES, HENRIETTA   609 RIDGE RD APT 211                                                                             NEWTON FALLS      OH     44444‐1081
HOLMES, HERBERT     1917 SUNNY RIDGE RD S                                                                            DAYTON            OH     45414‐2334
HOLMES, HERBERT     904 E WELLINGTON AVE                                                                             FLINT             MI     48503‐2761
HOLMES, HORACE R    276 VICTORIA STA                                                                                 MAYLENE           AL     35114‐5405
HOLMES, HOWARD G    10834 LINCOLN DR                                                                                 HUNTINGTON        MI     48070‐1543
                                                                                                                     WOODS
HOLMES, HUGH A      1588 SANDRA ST                                                                                   OWOSSO           MI      48857‐1355
HOLMES, HUGH A      1588 SANDRA STREET                                                                               OWOSSO           MI      48867‐1355
HOLMES, IAN T       425 LAKE MICHIGAN DR NW                                                                          GRAND RAPIDS     MI      49534‐3353
HOLMES, INEATHA T   452 MCPHERSON ST                                                                                 MANSFIELD        OH      44903‐1079
HOLMES, INEZ        1400 26TH AVE S                                                                                  ST PETERSBURG    FL      33705‐3434
HOLMES, IRENE L     735 HARDING ST                                                                                   JANESVILLE       WI      53545‐1611
HOLMES, ISABELLA    1512 CORNELIA ST                                                                                 SAGINAW          MI      48601‐2905
HOLMES, JACK        GUY WILLIAM S                    PO BOX 509                                                      MCCOMB           MS      39649‐0509
HOLMES, JACK        PO BOX 34                                                                                        SAN LEANDRO      CA      94577‐0003
HOLMES, JACK R      18501 NE 29TH AVE                                                                                RIDGEFIELD       WA      98642‐9535
HOLMES, JACKIE M    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA      23510
                                                     STREET, SUITE 600
HOLMES, JAMES A     SHANNON LAW FIRM                 100 W GALLATIN ST                                               HAZLEHURST       MS      39083‐3007
HOLMES, JAMES C     1842 FARMDALE AVE                                                                                MINERAL RIDGE    OH      44440‐9521
HOLMES, JAMES C     1651 ROBERT RD                                                                                   COLUMBIA         TN      38401‐5425
HOLMES, JAMES E     7302 BRANT POINTE CIR                                                                            INDIANAPOLIS     IN      46217‐5367
HOLMES, JAMES E     1749 ROOSEVELT AVE                                                                               NILES            OH      44446‐4109
HOLMES, JAMES F     15 BOYDEN STREET EXT APT 7                                                                       WEBSTER          MA      01570‐2814
HOLMES, JAMES J     4111 71ST WAY NORTH                                                                              ST. PETERSBURG   FL      33709
HOLMES, JAMES J     1147B FRANKLIN RD                                                                                SCOTTSVILLE      KY      42164
HOLMES, JAMES M     223 E MACGREGOR CT                                                                               HIGHLAND         MI      48357‐3627
HOLMES, JAMES M     3035 WESTBROOK ST                                                                                SAGINAW          MI      48601‐6946
HOLMES, JAMES M     5036 CRAWFORDSVILLE RD                                                                           SPEEDWAY         IN      46224‐5665
HOLMES, JANET M     O‐425 LAKE MICHIGAN DR NW                                                                        GRAND RAPIDS     MI      49534‐3353
HOLMES, JANICE      3063 IVY HILL CIR UNIT B                                                                         CORTLAND         OH      44410‐9357
HOLMES, JAY L       128 OLIVER ST                                                                                    PONTIAC          MI      48342‐1551
HOLMES, JEAN        4 GREENBRIAR DR APT 211                                                                          NORTH READING    MA      01864
HOLMES, JEAN A      3669 BOSTON AVENUE S.E.                                                                          WARREN           OH      44484‐3714
HOLMES, JEFFREY A   2274 WARNER RD                                                                                   LANSDALE         PA      19446‐5853
HOLMES, JERRY       3432 GLENWOOD AVE                                                                                YOUNGSTOWN       OH      44511‐3222
HOLMES, JERRY W     324 BIG OAK DRIVE                                                                                MANCHESTER       TN      37355‐3384
HOLMES, JERRY W     324 BIG OAK DR                                                                                   MANCHESTER       TN      37355‐3384
HOLMES, JESSE L     2717 E HEBER WAY                                                                                 GREEN VALLEY     AZ      85614‐5695
HOLMES, JIM         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA      23510‐2212
                                                     STREET, SUITE 600
HOLMES, JIMMIE      1811 BURT ST                                                                                     SAGINAW          MI      48601‐1928
HOLMES, JIMMIE A    6200 LANGTON RD                                                                                  NEWPORT          MI      48166‐9600
HOLMES, JIMMIE E    80 E DAWES ST SPC 166                                                                            PERRIS           CA      92571‐3137
HOLMES, JIMMY       145 THURMAN RD                                                                                   MENDENHALL       MS      39114‐9042
HOLMES, JO E        1152 EDEN HILL RD                                                                                BEULAH           MI      49617‐9705
HOLMES, JO ELLEN    53 PEARL ST                                                                                      CARTERSVILLE     GA      30120‐2849
HOLMES, JO ELLEN    53 PEARLE STREET                                                                                 CARTERSVILLE     GA      30120‐2849
HOLMES, JOANN       3129 LIVINGSTON DR                                                                               SAGINAW          MI      48601
HOLMES, JOANNE M    1223 BEACH DR                                                                                    LAKE ORION       MI      48360‐1205
HOLMES, JOE D       3866 RENFROE RD                                                                                  TALLADEGA        AL      35160‐7171
HOLMES, JOENELL     2962 S ETHEL ST                                                                                  DETROIT          MI      48217‐1532
HOLMES, JOENELL     2962 ETHEL                                                                                       DETROIT          MI      48217‐1532
HOLMES, JOHN        2014 IOWA AVE                                                                                    SAGINAW          MI      48601‐5213
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Name                  Address1                      Address2                      Address3   Address4               City               State   Zip
HOLMES, JOHN          PO BOX 68                                                                                     ALABASTER           AL     35007‐2019
HOLMES, JOHN A        5913 NW 91ST TER                                                                              KANSAS CITY         MO     64154‐1919
HOLMES, JOHN A        252 E ARCH ST                                                                                 MANSFIELD           OH     44902‐7707
HOLMES, JOHN ANDREW   5913 NW 91ST TER                                                                              KANSAS CITY         MO     64154‐1919
HOLMES, JOHN B        3250 SOUTHSHORE DR APT 55C                                                                    PUNTA GORDA         FL     33955‐1934
HOLMES, JOHN L        20427 CHAREST ST                                                                              DETROIT             MI     48234‐1653
HOLMES, JOHN M        GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                    STREET, SUITE 600
HOLMES, JOHN R        17508 SOUTH STATE RD. D                                                                       BELTON             MO      64012
HOLMES, JOHN R        209 SCHROEDER GROVE DR                                                                        WENTZVILLE         MO      63385‐2981
HOLMES, JOHN S        1021 NE MAIN ST                                                                               PAOLI              IN      47454‐9233
HOLMES, JOHNNIE R     PO BOX 702                                                                                    FLORA              MS      39071‐0702
HOLMES, JOSEPH        SIMMONS FIRM                  PO BOX 521                                                      EAST ALTON         IL      62024‐0519
HOLMES, JOSEPH        4331 GEORGETOWN DR                                                                            ORLANDO            FL      32808‐6409
HOLMES, JOSEPH A      10511 HALE HWY                                                                                EATON RAPIDS       MI      48827‐9726
HOLMES, JOSEPH S      PO BOX 217                                                                                    OLIVIA             NC      28368‐0217
HOLMES, JOY A.        11625 SOMERSET AVE                                                                            DETROIT            MI      48224‐4104
HOLMES, JOY L         820 SUE CT                                                                                    SAGINAW            MI      48609‐4987
HOLMES, JOY M         7001 E 85TH STREET                                                                            TULSA              OK      74133‐5085
HOLMES, JOYCE W       34182 BIRCHWAY CIR                                                                            STERLING HEIGHTS   MI      48312‐5300
HOLMES, JUANITA       414 S 13TH                                                                                    SAGINAW            MI      48601‐1949
HOLMES, JUANITA L     641 PINELAND TRL                                                                              ORMOND BEACH       FL      32174‐2907
HOLMES, JUDITH C      2652 S. 125 WEST                                                                              LOGANSPORT         IN      46947
HOLMES, JULIUS M      6621 KINGS POINTE RD                                                                          GRAND BLANC        MI      48439‐8798
HOLMES, KAREN         833 INDEPENDENCE DR                                                                           WEBSTER            NY      14580‐2660
HOLMES, KAREN L       PO BOX 9505                                                                                   WYOMING            MI      49509‐0505
HOLMES, KAREN L       325 NORWOOD ST                                                                                ROCKFORD           MI      49341‐1027
HOLMES, KAREN R       9505 S STATE ROAD 5                                                                           SOUTH WHITLEY      IN      46787‐9761
HOLMES, KAREN RENIA   9505 S STATE ROAD 5                                                                           SOUTH WHITLEY      IN      46787‐9761
HOLMES, KATHERIN C.   911 LANCE AVE                                                                                 BALTIMORE          MD      21221‐5221
HOLMES, KATHLEEN J    690 WILLOW ST                                                                                 LOCKPORT           NY      14094‐4094
HOLMES, KEITH E       2100 PENNY LN                                                                                 AUSTINTOWN         OH      44515‐4933
HOLMES, KEITH L       1070 WEST 15TH STREET         NUMBER 257                                                      CHICAGO            IL      60608
HOLMES, KELLEY J      18436 SABINE DR                                                                               MACOMB             MI      48042‐6137
HOLMES, KELLY         PO BOX 6331                                                                                   SAGINAW            MI      48608
HOLMES, KELLY         5921 WILLOWBROOK DR                                                                           SAGINAW            MI      48638‐5488
HOLMES, KENNETH D     9514 TECHE WAY                                                                                SHREVEPORT         LA      71118‐4322
HOLMES, KENNETH F     2311 PASADENA ST                                                                              DETROIT            MI      48238‐2989
HOLMES, KENNETH L     9591 GEYSER AVE                                                                               NORTHRIDGE         CA      91324‐2218
HOLMES, KEVIN         294 SPENCE RD                                                                                 MONROE             LA      71203‐8111
HOLMES, KEVIN D       294 SPENCE RD                                                                                 MONROE             LA      71203‐8111
HOLMES, LARRY E       7320 S NEW LOTHROP RD                                                                         DURAND             MI      48429‐9459
HOLMES, LARRY G       1801 BELLVIEW DR                                                                              ATHENS             AL      35611‐4091
HOLMES, LARRY L       1520 CAMP ST                                                                                  SANDUSKY           OH      44870‐3161
HOLMES, LAURINE S     8536 MCVICKER AVE                                                                             BURBANK            IL      60459‐2510
HOLMES, LAWRENCE B    PO BOX 8056                                                                                   WEBSTER            NY      14580‐8056
HOLMES, LEE W         PO BOX 221                                                                                    FORISTELL          MO      63348‐0221
HOLMES, LEO           46 E SHEFFIELD AVE                                                                            PONTIAC            MI      48340‐1963
HOLMES, LEOLA         5921 WILLOWBROOK DR                                                                           SAGINAW            MI      48638‐5488
HOLMES, LEONARD       GUY WILLIAM S                 PO BOX 509                                                      MCCOMB             MS      39649‐0509
HOLMES, LEONARD       929 HORSETRAIL WAY                                                                            WAKE FOREST        NC      27587‐4605
HOLMES, LEONARD C     17245 MARYLAND ST                                                                             SOUTHFIELD         MI      48075‐2824
HOLMES, LEOTHA        9395 N BRAY RD                                                                                CLIO               MI      48420‐9728
HOLMES, LEROY         1438 NUGENT PL                                                                                CHESTER            PA      19013‐3218
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Name                      Address1                      Address2            Address3         Address4               City              State   Zip
HOLMES, LEROY             16325 WILLOW CT                                                                           ROMULUS            MI     48174‐3023
HOLMES, LEROY             16145 BRAILE ST                                                                           DETROIT            MI     48219‐3911
HOLMES, LEROY             SHANNON LAW FIRM              100 W GALLATIN ST                                           HAZLEHURST         MS     39083‐3007
HOLMES, LEROY K           424 N EIFERT RD                                                                           MASON              MI     48854‐9524
HOLMES, LILLIAN           2341 WILLARD ST                                                                           SAGINAW            MI     48602‐3426
HOLMES, LINDA             230 HUDSON AVE                                                                            HAMILTON           OH     45011‐4229
HOLMES, LINDA             4116 JENNIE LN                                                                            SWARTZ CREEK       MI     48473‐1549
HOLMES, LINDA M           93 N MAIN ST                                                                              MASSENA            NY     13662‐1131
HOLMES, LISA
HOLMES, LLOYD C           1354 E DOWNEY AVE                                                                         FLINT             MI      48505‐1732
HOLMES, LOIS              190 WESTWAY ST                                                                            PONTIAC           MI      48342‐2568
HOLMES, LOIS O            2125 MONROE AVE                                                                           ROCHESTER         NY      14618
HOLMES, LONNIE J          984 CECELIA DR                                                                            ESSEXVILLE        MI      48732‐2104
HOLMES, LORRAINE J        21528 FRANCIS ST                                                                          ST CLR SHORES     MI      48082‐1538
HOLMES, LOVIE             109 VENETIAN BAY CIR                                                                      SANFORD           FL      32771‐7979
HOLMES, LUCINDA           18045 FREELAND ST                                                                         DETROIT           MI      48235‐2570
HOLMES, LUDDIE M          5765 PINE SAP AVE                                                                         GRANT             FL      32949‐8220
HOLMES, LUEVEA S          1116 HAMMOND ST                                                                           LANSING           MI      48910‐1243
HOLMES, LYLE D            7963 GLEN OAKS DR NE                                                                      WARREN            OH      44484‐1575
HOLMES, LYNN A            58 FALLS TER                                                                              FAIR OAKS RANCH   TX      78015‐4482
HOLMES, M P               5090 ASH ST                                                                               FOREST PARK       GA      30050‐2330
HOLMES, MAE F             1562 AUDREY LN                                                                            SHREVEPORT        LA      71107‐5955
HOLMES, MARDESE T         PO BOX 260                                                                                FLINT             MI      48501‐0260
HOLMES, MARDESE THERESE   PO BOX 260                                                                                FLINT             MI      48501‐0260
HOLMES, MARGARET          233 WEST HIGH TERR                                                                        ROCHESTER         NY      14619‐1836
HOLMES, MARGARET          233 W HIGH TER                                                                            ROCHESTER         NY      14619‐1836
HOLMES, MARGARET G        106 E MAPLE ST                                                                            ALEXANDRIA        VA      22301‐2230
HOLMES, MARGARET J        PO BOX 27182                                                                              LAS VEGAS         NV      89126‐1182
HOLMES, MARGO J           8455 STRADA CT                                                                            WHITE LAKE        MI      48386‐4395
HOLMES, MARILYN A         PO BOX 553                                                                                TINLEY PARK       IL      60477‐0553
HOLMES, MARILYN P         696 WOODSTONE RD                                                                          LITHONIA          GA      30058‐5949
HOLMES, MARILYN T         PO BOX 68                                                                                 MARKLEVILLE       IN      46056‐0068
HOLMES, MARTHA J          12157 ARROWOOD DR                                                                         OTISVILLE         MI      48453‐9751
HOLMES, MARTHA J          4029 HORIZON DR                                                                           DAVISON           MI      48423‐8445
HOLMES, MARTIN J          3257 N WEST BRANCH DR                                                                     GLADWIN           MI      48624‐9737
HOLMES, MARY              1917 SUNNY RIDGE RD S                                                                     DAYTON            OH      45414‐2334
HOLMES, MARY              9556 OAKLAND ST                                                                           DETROIT           MI      48211‐1040
HOLMES, MARY              1917 S SUNNYRIDGE RD                                                                      DAYTON            OH      45414‐2334
HOLMES, MARY              9556 OAKLAND                                                                              DETROIT           MI      48211‐1040
HOLMES, MARY A            15069 WHITCOMB STREET,                                                                    DETROIT           MI      48227
HOLMES, MARY A.           29 ENTER TURN                                                                             WILLINGBORO       NJ      08046‐2333
HOLMES, MARY B            3603 ALBEMARLE RD.                                                                        JACKSON           MS      39213‐5552
HOLMES, MARY B            3603 ALBERMARLE RD                                                                        JACKSON           MS      39213‐5552
HOLMES, MARY B            189 HENDERSON ST                                                                          COLUMBIA          LA      71418‐3505
HOLMES, MARY E            6179 LEBEAU ST                                                                            MOUNT MORRIS      MI      48458
HOLMES, MARY JANE R       4750 ROCKWELL PLACE DRIVE                                                                 TOBACCOVILLE      NC      27050‐9594
HOLMES, MARY P            17 GABLEWING CIR                                                                          NEWTOWN           PA      18940‐3316
HOLMES, MARY S            4205 NW 192ND AVE                                                                         PORTLAND          OR      97229‐2905
HOLMES, MAY E             10829 26TH AVE NW                                                                         GRAND RAPIDS      MI      49544
HOLMES, MAYNARD C         941 SHELLBARK WAY                                                                         LADY LAKE         FL      32162‐4076
HOLMES, MELANY J          3929 HARBOR DRIVE                                                                         THE COLONY        TX      75056‐4628
HOLMES, MELVIN            168 HATCHNET DR                                                                           EATON             OH      45320‐2710
HOLMES, MELVIN            168 HATCHET DR                                                                            EATON             OH      45320‐2710
HOLMES, MELVIN
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Name                 Address1                           Address2                       Address3   Address4                    City             State   Zip
HOLMES, MELVIN C     190 WESTWAY ST                                                                                           PONTIAC           MI     48342‐2568
HOLMES, MELVIN L     814 CASA CT                                                                                              LOS BANOS         CA     93635
HOLMES, MICHAEL A    15 ARMS BLVD APT 10                                                                                      NILES             OH     44446‐5326
HOLMES, MICHAEL C    260 PRESTON CT                                                                                           FREMONT           CA     94536‐4390
HOLMES, MICHAEL J    18 CLIFTON AVE                                                                                           BATAVIA           NY     14020
HOLMES, MICHAEL J    7740 SENECA TRL                                                                                          TEMPERANCE        MI     48182‐1558
HOLMES, MICHAEL L    3009 N 9TH ST                                                                                            KANSAS CITY       KS     66101‐1113
HOLMES, MICHAEL S    5460 BANGOR AVE                                                                                          FLUSHING          MI     48433‐9000
HOLMES, MICHELLE D   83 LADY SAVANNAH DR                                                                                      DALLAS            GA     30157‐6779
HOLMES, MINNIE R     3142 CONGRESS DR                                                                                         KOKOMO            IN     46902‐8018
HOLMES, MORRIS       PO BOX 2392                                                                                              SAGINAW           MI     48605‐2392
HOLMES, MYRA K       650 HARLAN ST                                                                                            PLAINFIELD        IN     46168‐1318
HOLMES, MYRON V      1317 SHERMAN ST SE                                                                                       GRAND RAPIDS      MI     49506‐2613
HOLMES, MYRTLE       3511 TOWNSEND ST                                                                                         DETROIT           MI     48214‐5205
HOLMES, MYRTLE J     PO BOX 420442                                                                                            PONTIAC           MI     48342‐0442
HOLMES, MYRTLE J     P.O. BOX 420442                                                                                          PONTIAC           MI     48342‐0442
HOLMES, NANCY A      5618 DEERWOOD                                                                                            COMMERCE TWP      MI     48382‐1017
HOLMES, NANCY K      990 VIENNA AVE.                                                                                          NILES             OH     44446‐4446
HOLMES, NANCY K      1624 FIR ST                                                                                              WAYNESBORO        VA     22980‐2613
HOLMES, NANCY K      990 VIENNA AVE                                                                                           NILES             OH     44446‐2704
HOLMES, NANCY L      862 CYNTHIA CT                                                                                           NILES             OH     44446
HOLMES, NANNETTE M   3064 MCCOLLUM AVE                                                                                        FLINT             MI     48504
HOLMES, NEALIE L     14810 NORTHLAWN                                                                                          DETROIT           MI     48238‐1850
HOLMES, NITA C       3080 LEATHERWOOD RD                                                                                      BEDFORD           IN     47421
HOLMES, NORMA JANE   11300 124TH AVE N. LOT 154                                                                               LARGO             FL     33778‐2751
HOLMES, NORMAN
HOLMES, OLIVER       GELMAN JON L                       1700 STATE ROUTE 23            STE 120                                WAYNE             NJ     07470‐7537
HOLMES, OLIVER W     10 ROSARY PLACE MIDLETON                                                     COUNTY CORK 00000 IRELAND

HOLMES, OLLIE        16149 OHIO                                                                                               DETROIT          MI      48221‐2953
HOLMES, ORAN D       5626 LESLIE DR                                                                                           FLINT            MI      48504‐7021
HOLMES, ORVILLE J    PO BOX 144                                                                                               EATON RAPIDS     MI      48827‐0144
HOLMES, OTIS         9660 APPOLINE ST                                                                                         DETROIT          MI      48227‐3714
HOLMES, PATRICE D    1910 W PIERSON RD APT 189                                                                                FLINT            MI      48504
HOLMES, PATRICIA A   APT 4122                           355 EAST VISTA RIDGE MALL DR                                          LEWISVILLE       TX      75067‐4014
HOLMES, PATRICIA J   2961 PARKMOOR DR                                                                                         CONYERS          GA      30094‐3966
HOLMES, PATTY A      7394 STATE ROUTE 97 LOT 108                                                                              MANSFIELD        OH      44903‐8516
HOLMES, PAUL H       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                           NORFOLK          VA      23510‐2212
                                                        STREET, SUITE 600
HOLMES, PAULETTE     1400 N STATE HIGHWAY 360 APT 522                                                                         MANSFIELD        TX      76063‐3516
HOLMES, PENNY R      3280 SOUTHSHORE DR APT 81C                                                                               PUNTA GORDA      FL      33955‐1943
HOLMES, PENTER       204 HARRIS FERRY RD                                                                                      PINEVILLE        LA      71360
HOLMES, PERRY        351 PEARIDGE RD                                                                                          CANTON           GA      30114‐2018
HOLMES, RANDY S      4276 ENGLAND BEACH RD                                                                                    WHITE LAKE       MI      48383‐1721
HOLMES, REBECCA B    6200 LANGTON RD                                                                                          NEWPORT          MI      48166‐9600
HOLMES, RENE S       1012 N BLACKHAWK BLVD                                                                                    ROCKTON          IL      61072‐1504
HOLMES, REUBEN L     892 JOSEPH AVE                     APT 2                                                                 ROCHESTER        NY      14621‐3474
HOLMES, RHUEMUS L    229 WAINWRIGHT ST                                                                                        NEWARK           NJ      07112‐1226
HOLMES, RICHARD D    7050 SUNSET DR S APT 1508                                                                                SOUTH PASADENA   FL      33707‐6412
HOLMES, RICHARD E    2827 TIMBER EDGE DR                                                                                      COLUMBUS         NE      68601‐6323
HOLMES, RICHARD E    PO BOX 701574                                                                                            W VALLEY CITY    UT      84170‐1574
HOLMES, RICHARD G    4896 CHICAGO RD                                                                                          WARREN           MI      48092‐1481
HOLMES, RICHARD N    8990 CANADA RD                                                                                           BIRCH RUN        MI      48415‐9705
HOLMES, RICHARD T    19 JONES COURT                                                                                           GIRARD           OH      44420‐4420
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HOLMES, RICHARD T       19 JONES CT                                                                                       GIRARD              OH     44420‐2809
HOLMES, RICHARD W       2532 CONWOOD DR                                                                                   BEAVERCREEK         OH     45434‐6911
HOLMES, RICKY D         4308 TEAL CT                                                                                      MURFREESBORO        TN     37128‐4525
HOLMES, ROBERT D        PO BOX 182                                                                                        CANTON              GA     30169‐0182
HOLMES, ROBERT D        1003 KAYDEN LANE                                                                                  ESSEX               MD     21221‐5938
HOLMES, ROBERT E        15191 FORD RD APT 308                                                                             DEARBORN            MI     48126‐4696
HOLMES, ROBERT E        APT 306                            730 YOUNGSTOWN WARREN ROAD                                     NILES               OH     44446‐3579
HOLMES, ROBERT J        5304 ELDORADO DR                                                                                  BRIDGEPORT          MI     48722‐9591
HOLMES, ROBERT L        9656 NOBLE AVE                                                                                    NORTH HILLS         CA     91343‐2402
HOLMES, ROBERT L        502 E MOTT AVE                                                                                    FLINT               MI     48505‐5241
HOLMES, ROBERT M        8924 BUERK DR                                                                                     TEMPERANCE          MI     48182‐9479
HOLMES, ROBERT MERLIN   8924 BUERK DR                                                                                     TEMPERANCE          MI     48182‐9479
HOLMES, ROBERT R        15884 CARLISLE ST                                                                                 DETROIT             MI     48205‐1439
HOLMES, ROBERT R        5632 CASMERE ST                                                                                   DETROIT             MI     48212‐2803
HOLMES, ROBERT T        1651 N 25TH ST                                                                                    SAGINAW             MI     48601‐6112
HOLMES, ROBERT W        6150 GREEN BANK DR                                                                                GRAND BLANC         MI     48439‐9414
HOLMES, RODNEY B        4978 GEORGETOWN CT                                                                                CLARKSTON           MI     48346‐2735
HOLMES, ROGER A         5011 UNIVERSITY AVENUE                                                                            SAINT JOSEPH        MO     64503‐2055
HOLMES, ROGER G         9513 MAPLEWOOD CT                                                                                 DAVISON             MI     48423‐3500
HOLMES, RONALD D        1403 JEFFWOOD DR                                                                                  WATERFORD           MI     48327‐2032
HOLMES, RONALD F        5335 TURKEY POINT RD                                                                              NORTH EAST          MD     21901‐6233
HOLMES, RONALD R        15784 GILCHRIST ST                                                                                DETROIT             MI     48227‐1577
HOLMES, ROSA M          396 PARDEE RD                                                                                     ROCHESTER           NY     14609‐2847
HOLMES, ROSEZLIA        3913 NORTH FORDHAM PLACE                                                                          CINCINNATI          OH     45213‐2326
HOLMES, ROSEZLIA        3913 N FORDHAM PL                                                                                 CINCINNATI          OH     45213‐2326
HOLMES, ROY C           300 LAKEWAY TER                                                                                   SPRING HILL         TN     37174‐7551
HOLMES, ROY F           5741 STERLING AVE                                                                                 RAYTOWN             MO     64133‐3454
HOLMES, RUBY            MONAGHAN, THOMAS W                 60 NANEL DR APT B                                              GLASTONBURY         CT     06033‐2267
HOLMES, RUFUS B         1050 E 220TH ST                                                                                   BRONX               NY     10469‐1203
HOLMES, RUSSELL A       115 TURTLE BAY                                                                                    HURON               OH     44839‐1596
HOLMES, SABRINA J       1566 EARLHAM DR                                                                                   DAYTON              OH     45406‐4733
HOLMES, SANDRA          25310 SIAWASSER CR                 APT 104                                                        SOUTHFIELD          MI
HOLMES, SANDRA J        1800 ROBINSON RD                                                                                  CANTON              MS     39046‐9046
HOLMES, SANDRA Y        5580 JOYCE ANN DR                                                                                 DAYTON              OH     45415‐2947
HOLMES, SAQURET         WEITZ & LUXENBERG                  180 MAIDEN LANE                                                NEW YORK            NY     10038
HOLMES, SARAH B         8742 COYTH LN                                                                                     SHREVEPORT          LA     71106‐6300
HOLMES, SCOTT D         3191 WOODVALLEY DR                                                                                FLUSHING            MI     48433‐2226
HOLMES, SCOTT DOUGLAS   3191 WOODVALLEY DR                                                                                FLUSHING            MI     48433‐2226
HOLMES, SHARRON J       267 HIGHGATE AVE                                                                                  BUFFALO             NY     14215‐1023
HOLMES, SHIRLEY A       2305 55TH ST                                                                                      LUBBOCK             TX     79412‐2527
HOLMES, SHIRLEY J       4442 N RITTER AVE                                                                                 INDIANAPOLIS        IN     46226‐3365
HOLMES, SODONIA B       104 RITA CT                                                                                       JACKSON             MS     39213‐5131
HOLMES, STANLEY L       2788 DEFOORS FERRY RD NW APT 141                                                                  ATLANTA             GA     30318
HOLMES, STEPHANIE A     357 EASTWYCK CIR                                                                                  DECATUR             GA     30032‐6661
HOLMES, STEVEN A        3820 BROWN RD                                                                                     MILLINGTON          MI     48746‐9014
HOLMES, STEVEN ALLAN    3820 BROWN RD                                                                                     MILLINGTON          MI     48746‐9014
HOLMES, STEVEN L        7400 FLORAL ST                                                                                    WESTLAND            MI     48185‐2616
HOLMES, STEWART D       1825 DELL RD                                                                                      LANSING             MI     48911‐7135
HOLMES, SUE E           209 MILLICENT AVE                                                                                 BUFFALO             NY     14215‐2984
HOLMES, SUE E           1573 DAVE WILSON CIR                                                                              HOUSTON             AL     35572
HOLMES, SUE E           1617 CENTER SPRINGS RD                                                                            SOMERVILLE          AL     35670‐4240
HOLMES, TERRY M         PO BOX 131                                                                                        DE BERRY            TX     75639‐0131
HOLMES, TERRY R         32543 SPRUCEWOOD ST                                                                               FARMINGTON HILLS    MI     48334‐2763
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HOLMES, THEODIS            2986 BAILEY AVE                                                                                     BUFFALO            NY     14215‐2812
HOLMES, THERESA L          1409 YOUNG ST                                                                                       OWOSSO             MI     48867‐3360
HOLMES, THERESA LYNN       1409 YOUNG STREET                                                                                   OWOSSO             MI     48867‐3360
HOLMES, THOMAS             95 HAZEL PL                                                                                         BUFFALO            NY     14211‐2448
HOLMES, THOMAS D           1122 OCONEE BELL CT                                                                                 SENECA             SC     29672‐6848
HOLMES, THOMAS E           224 S RUSSELL ST                                                                                    DURAND             MI     48429‐1726
HOLMES, THOMAS J           20677 N 2350TH ST                                                                                   DENNISON            IL    62423‐2519
HOLMES, THOMAS J           5812 CONCORD ST                                                                                     PORTAGE            MI     49002‐1423
HOLMES, THOMAS P           10070 FIELDING ST                                                                                   DETROIT            MI     48228‐1283
HOLMES, THOMAS W           511 ELMHURST ST                                                                                     HAYWARD            CA     94544‐1129
HOLMES, THOMAS W           1055 WILDERNESS BLF                                                                                 TIPP CITY          OH     45371‐9221
HOLMES, TIFFANY            KROHN & MOSS ‐ IN               120 WEST MADISON STREET 10TH                                        CHICAGO             IL    60602
                                                           FLOOR
HOLMES, TIMOTHY D          11792 DAVISBURG RD                                                                                  DAVISBURG         MI      48350‐2627
HOLMES, TIMOTHY W          4170 LA VALSE ST APT 2302                                                                           GRAND PRAIRIE     TX      75052‐0252
HOLMES, TOMMIE L           1518 W DARTMOUTH ST                                                                                 FLINT             MI      48504‐2765
HOLMES, TOMMIE L           1203 BURT ST                                                                                        BRYAN             TX      77803‐4778
HOLMES, TONI C             2901 EARLHAM DRIVE                                                                                  DAYTON            OH      45406‐4254
HOLMES, TRACY A            1550 EAST NEW YORK 2 E                                                                              BROOKLYN          NY      11212
HOLMES, UDELL              3370 CREEKWOOD DR                                                                                   SAGINAW           MI      48601‐5601
HOLMES, ULYSSES            396 PARDEE RD                                                                                       ROCHESTER         NY      14609‐2847
HOLMES, VENIS              3911 FERDIE CV                                                                                      MEMPHIS           TN      38127‐4927
HOLMES, VERA MAE           620 N 130TH ST APT 251                                                                              SEATTLE           WA      98133‐7950
HOLMES, VERA MAE           620 N 130TH ST                  APT# 251                                                            SEATTLE           WA      98133
HOLMES, VERNON L           7855 CHERRYTREE LN                                                                                  NEW PORT RICHEY   FL      34653‐2107
HOLMES, VERNON P           1294 S. 525 W.                                                                                      DANVILLE          IN      46122
HOLMES, VETA D             2726 KELLAR AVE                                                                                     FLINT             MI      48504‐2780
HOLMES, VETA DIANNE        2726 KELLAR AVE                                                                                     FLINT             MI      48504‐2780
HOLMES, VICKI ALDRED       2009 SHARON ST                                                                                      DETROIT           MI      48209‐1432
HOLMES, VIRGINIA N         G6276 DETROIT ST                                                                                    MOUNT MORRIS      MI      48458
HOLMES, VIVIAN L           770 E AUSTIN AVE                                                                                    FLINT             MI      48505‐2214
HOLMES, VLADIMIR           3118 WESTAIRE CT                                                                                    COLUMBUS          OH      43232‐3604
HOLMES, WALTER J           24177 FORDSON HWY                                                                                   DEARBORN HTS      MI      48127‐1329
HOLMES, WANDA M            8400 SAINT FRANCIS DR APT 105                                                                       CENTERVILLE       OH      45458‐2788
HOLMES, WANDA S            1911 E MEADOW DR                                                                                    SPRINGFIELD       MO      65804‐4432
HOLMES, WILLA DEAN         7183 BALDWIN RD                                                                                     SWARTZ CREEK      MI      48473‐9134
HOLMES, WILLIAM C          3330 GLENBROOK DR                                                                                   BAY CITY          MI      48706‐2425
HOLMES, WILLIAM D          410 CRANE DR                                                                                        ENON              OH      45323‐9754
HOLMES, WILLIAM H          5035 W CURTIS RD                                                                                    COLEMAN           MI      48618‐7306
HOLMES, WILLIE E           414 S 13TH ST                                                                                       SAGINAW           MI      48601‐1949
HOLMES, WILLIE J           98 HOLMES WAY                                                                                       CECIL             AL      36013‐3534
HOLMES, WILLIE J           2327 STATE ST                                                                                       SAGINAW           MI      48602‐3964
HOLMES, WILLIE J           4716 WARRINGTON DR                                                                                  FLINT             MI      48504‐2081
HOLMES, WILLIE JAMES       2327 STATE ST                                                                                       SAGINAW           MI      48602‐3964
HOLMES, WILLIE M           904 E WELLINGTON AVE                                                                                FLINT             MI      48503‐2761
HOLMES, WILMA H            280 E 244TH ST APT 103                                                                              EUCLID            OH      44123‐1457
HOLMES, WILMON             486 KEARNEY PARK RD                                                                                 FLORA             MS      39071‐9403
HOLMES, WUANITA K          2006 PARK AVE                                                                                       BEDFORD           IN      47421‐4043
HOLMES, YOLANDA D          3895 CRESTVIEW AVE SE                                                                               WARREN            OH      44484‐3358
HOLMES, YVONNE B           PO BOX 835                                                                BAY ROBERTS NF A0A 1G0
                                                                                                     CANADA
HOLMES, ZELMA L            722 BRADFORD PL NE                                                                                  GRAND RAPIDS      MI      49525‐3310
HOLMES‐JENKINS, DANA R     5430 DEERBROOK CK CIR A21                                                                           TAMPA             FL      33624
HOLMES‐MATHIS, DEBORAH Y   3540 ESPACE CT                                                                                      FLORISSANT        MO      63034‐2230
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Name                        Address1                          Address2                           Address3   Address4                  City            State Zip
HOLMGARD, COLETTE           CIEL DE FABRON A3                 25 AVENUE JOSEPH GIORDAN                      NICE 06200 FRANCE
HOLMGREN CARL W             3940 N 169TH ST                                                                                           BROOKFIELD       WI   53005‐2144
HOLMGREN JR, ALBERT L       2285 ATLAS RD                                                                                             DAVISON          MI   48423‐8300
HOLMGREN, CARL W            3940 NORTH 169TH STREET                                                                                   BROOKFIELD       WI   53005‐2144
HOLMGREN, CARL W            3940 N 169TH ST                                                                                           BROOKFIELD       WI   53005‐2144
HOLMGREN, DENNIS W          8525 LAMIRA LN                                                                                            INDIANAPOLIS     IN   46234‐1845
HOLMGREN, JAMES W           10320 WALNUT SHRS DR BOX 644                                                                              FENTON           MI   48430
HOLMGREN, LORA M            2914 ANDREA DRIVE                                                                                         LANSING          MI   48906‐2603
HOLMGREN, LORA M            2914 ANDREA DR                                                                                            LANSING          MI   48906‐2603
HOLMGREN, ROBERT H          9524 S CALIFORNIA AVE                                                                                     EVERGREEN PK     IL   60805‐2737
HOLMGREN, SUSAN J           3940 N 169TH ST                                                                                           BROOKFIELD       WI   53005‐2144
HOLMGREN, SUSAN J           3940 NORTH 169TH STREET                                                                                   BROOKFIELD       WI   53005‐2144
HOLMGRENS BIL AB            BOX 5030                                                                        JONKOPING SWEDEN
HOLMI, TOIVO J              6106 S 121ST ST                                                                                           HALES CORNERS   WI    53130‐2310
HOLMLUND, BRIAN L           393 PLEASANT RIDGE DR                                                                                     CANTON          MI    48188‐1963
HOLMLUND, KLAS A            627 WARREN ST APT 2                                                                                       BROOKLYN        NY    11217‐2006
HOLMLUND, ROBIN E           393 PLEASANT RIDGE DR                                                                                     CANTON          MI    48188‐1963
HOLMON JR, DWIGHT           823 LARKIN AVE                                                                                            CREVE COEUR     MO    63141‐7738
HOLMON, MARSHA R            7903 SHAKER CT                                                                                            FORT WAYNE      IN    46804‐5709
HOLMON, SQUIRE              3424 CLARA AVE                                                                                            SAINT LOUIS     MO    63120‐1619
HOLMQUIST DANLEY (445300)   CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                        CLEVELAND       OH    44115
                            GAROFOLI                          FL
HOLMQUIST, DANLEY           CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                         CLEVELAND       OH    44115
                            GAROFOLI                          FL
HOLMQUIST, DANNY G          3213 WHITFIELD DR                                                                                         WATERFORD       MI    48329‐2778
HOLMQUIST, GEORGE W         PO BOX 38                                                                                                 THOMPSONVILLE   MI    49683‐0038
HOLMQUIST, HERBERT J        7226 LENNON RD                                                                                            SWARTZ CREEK    MI    48473‐9727
HOLMQUIST, JANET B          3882 NEWTOWN CT                                                                                           EAGAN           MN    55123‐1552
HOLMQUIST, MARILYN B        6909 BATEMAN FIELD DR                                                                                     WEST JORDAN     UT    84084‐2591
HOLMQUIST, RICKARD D        1565 LARKMORE LN                                                                                          GRASS LAKE      MI    49240‐8946
HOLMQUIST, SUZANNE J        1565 LARKMORE LN                                                                                          GRASS LAKE      MI    49240
HOLMQUIST, THOMAS H         5373 MILLER RD                                                                                            SWARTZ CREEK    MI    48473‐1510
HOLMQUIST, TOM L            7595 BOUMAN DR                                                                                            MIDDLEVILLE     MI    49333‐8672
HOLMQUIST, TOM L.           7595 BOUMAN DR                                                                                            MIDDLEVILLE     MI    49333‐8672
HOLMQUIST, WILHELMINA F     4227 S THOMPSONVILLE RD                                                                                   THOMPSONVILLE   MI    49683
HOLMS SERVICE STATION       1776 MERRICK AVE                                                                                          MERRICK         NY    11566
HOLMS, CLAIR R              10589 W VERNON RD                                                                                         LAKE            MI    48632‐9655
HOLMSTEAD, JOHN R           1804 22ND AVE                                                                                             MENOMINEE       MI    49858‐3528
HOLMSTRAND, JOHN A          16 WHITTLIN WAY                                                                                           TAYLORS         SC    29687‐6441
HOLMSTROM, DONALD E         607 KEMP CT                                                                                               GLADWIN         MI    48624‐1953
HOLMSTROM, KATHRYN K        348 REDWOOD BLVD                                                                                          DAYTON          OH    45440‐4509
HOLMUN, DARLA C             100 COLLIER RD                                                                                            AUBURN HILLS    MI    48326‐1402
HOLMUN, TONY L              100 COLLIER RD                                                                                            AUBURN HILLS    MI    48326‐1402
HOLNAGEL, BARBARA J         4703 BIANCHI DR                                                                                           AUBURN          MI    48611‐9558
HOLNAGEL, HILDA V           206 BURLEIGH CT                                                                                           LOUISVILLE      KY    40245‐4156
HOLNESS, AUDREY A           10465 TERRA LAGO DR                                                                                       WEST PALM BCH   FL    33412‐3025
HOLNESS, THERESA R          19038 HAZELTON DR                                                                                         MACOMB          MI    48042‐6236
HOLO‐KROME CO               31 BROOK ST                       PO BOX 333100                                                           WEST HARTFORD   CT    06110‐2300
HOLOBACH, HARLAND E         8322 COLDWATER RD                                                                                         FLUSHING        MI    48433‐1191
HOLOBACH, MELISSA M         6557 FOREST PARK DR                                                                                       TROY            MI    48098‐1954
HOLOBAUGH, GENE L           930 PONTIAC DR                                                                                            LAKE ORION      MI    48362‐2858
HOLOBAUGH, MARK S           599 CENTRAL DR                                                                                            LAKE ORION      MI    48362‐2310
HOLOBAUGH, THERESA A        599 CENTRAL DR                                                                                            LAKE ORION      MI    48362‐2310
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Name                           Address1                       Address2                        Address3   Address4               City              State Zip
HOLOBINKO, DON                 7235 CRAIGMERE DR                                                                                MIDDLEBURG         OH 44130‐5340
                                                                                                                                HEIGHTS
HOLOBINKO, WILLIAM             618 111TH AVE N                                                                                  NAPLES            FL   34108‐1826
HOLOCHER, JOHN F               942 S BRINKER AVE                                                                                COLUMBUS          OH   43204‐1724
HOLOD, ANN B                   2365 WESTVIEW DR                                                                                 CORTLAND          OH   44410‐9415
HOLOD, DAVID W                 34450 FORTUNE CT                                                                                 ELYRIA            OH   44039‐4416
HOLODAY, CHESTER G             18053 AIRPORT                                                                                    FRASER            MI   48026‐3132
HOLOKA, MICHAEL                237 HUSSA ST                                                                                     LINDEN            NJ   07036‐3021
HOLOMAN, ROBERT F              302 CARRIAGE DR                                                                                  WERNERSVILLE      PA   19565‐9462
HOLOMAN, VIOLA A               28 FRESCONI CT                                                                                   NEW CASTLE        DE   19720‐3020
HOLOTA, ALEXANDER D            576 DEMILLE RD                                                                                   LAPEER            MI   48446‐3052
HOLOTANKO I I I, ALEX          2635 WHITMAN DR                                                                                  WILMINGTON        DE   19808‐3736
HOLOTANKO III, ALEX            2635 WHITMAN DR                                                                                  WILMINGTON        DE   19808‐3736
HOLOVE, RENE                   1107 ROMAN DR                                                                                    FLINT             MI   48507‐4019
HOLOVICH, JASON M              1636 120TH AVE                                                                                   ALLEGAN           MI   49010
HOLOWATCH, EMORY               1766 WESTWOOD DR NW                                                                              WARREN            OH   44485‐1840
HOLOWAY JR., HUE L             173 VILLANOVA CIR                                                                                ELYRIA            OH   44035‐1540
HOLOWAY JR., HUE L.            173 VILLANOVA CIR                                                                                ELYRIA            OH   44035‐1540
HOLOWAY, KATHY L               173 VILLANOVA CIR                                                                                ELYRIA            OH   44035‐1540
HOLOWIECKI KATHY (445301)      BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                              PROFESSIONAL BLDG
HOLOWIECKI STANLEY (445302)    BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                              PROFESSIONAL BLDG
HOLOWKA, GLENN R               33250 DONNELLY ST                                                                                GARDEN CITY       MI   48135‐1142
HOLOWKA, MARIA                 50 WELLER DRIVE                                                                                  ROCHESTER         NY   14617‐1431
HOLOWKA, MARIA                 50 WELLER DR                                                                                     ROCHESTER         NY   14617‐1431
HOLOWKA, MARIA B               3000 CHARD                                                                                       WARREN            MI   48092‐3524
HOLOWKA, MARIA B               3000 CHARD AVE                                                                                   WARREN            MI   48092‐3524
HOLOWKA, STEPHEN               2011 FOREST DR                                                                                   INVERNESS         FL   34453‐3826
HOLOWNIA, HELEN                223 GAINSBOROUGH RD                                                                              HOLBROOK          NY   11741‐2835
HOLP DANIEL                    1443 BRIARWOOD CT                                                                                EUDORA            KS   66025‐7903
HOLRATH, MIKE
HOLROYD, ELIZABETH F           1290 BOYCE RD APT C411                                                                           PITTSBURGH        PA   15241‐3996
HOLROYD, FLOYD M               1742 S PEBBLE BEACH BLVD                                                                         SUN CITY CENTER   FL   33573‐5751
HOLSAPFEL JR, ROBERT L         3870 MONACA AVE                                                                                  YOUNGSTOWN        OH   44511‐2515
HOLSAPPLE JASON                HOLSAPPLE, JASON               22260 HAGGERTY RD STE 250                                         NORTHVILLE        MI   48167‐8985
HOLSAPPLE JASON                SMITH, AMY                     22260 HAGGERTY RD STE 250                                         NORTHVILLE        MI   48167‐8985
HOLSAPPLE PAUL K SR (451345)   SIMMONS FIRM                   PO BOX 559                                                        WOOD RIVER        IL   62095‐0559
HOLSAPPLE, CAROLYNNE B         2530 VANCE RD LOT 1                                                                              DAYTON            OH   45418‐2865
HOLSAPPLE, CHARLES E           7 PARK PL                                                                                        SAINT PETERS      MO   63376‐3146
HOLSAPPLE, DAVID E             6581 STATE ROUTE 722                                                                             ARCANUM           OH   45304‐9410
HOLSAPPLE, DORTHA G            4703 STRATFORD DR                                                                                ANDERSON          IN   46013‐4547
HOLSAPPLE, EARL R              709 S MAIN ST                                                                                    WEST MILTON       OH   45383‐1301
HOLSAPPLE, EARL R              709 S MAIN                                                                                       WEST MILTON       OH   45383‐1301
HOLSAPPLE, FRANK L             411 NORTH 6TH ST.#850                                                                            EMERY             SD   57332
HOLSAPPLE, HAROLD R            233 SOLON DR APT D                                                                               BALLWIN           MO   63021‐8810
HOLSAPPLE, JAMES C             4703 STRATFORD DRIVE                                                                             ANDERSON          IN   46013‐4547
HOLSAPPLE, JAMES W             9210 KESSLER ST                                                                                  OVERLAND PARK     KS   66212‐3945
HOLSAPPLE, JESSICA MARIE       10293 S COUNTY ROAD 675 E                                                                        CLOVERDALE        IN   46120‐9050
HOLSAPPLE, KAREN A             411 NORTH 6TH STREET #850                                                                        EMERY             SD   57332
HOLSAPPLE, MICHAEL E           840 LOUIE SMITH RD                                                                               WILLIAMS          IN   47470‐8760
HOLSAPPLE, PAUL K              SIMMONS FIRM                   PO BOX 559                                                        WOOD RIVER        IL   62095‐0559
HOLSAPPLE, PHYLLIS E           10213 S SANTA FE AVE                                                                             OKLAHOMA CITY     OK   73139‐8927
HOLSAPPLE, ROSE J              343 MEADOWBROOK                                                                                  BALLWIN           MO   63011
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Name                             Address1                            Address2                 Address3           Address4                City           State   Zip
HOLSAPPLE, SHIRLEY H             440 E LEXINGTON RD                                                                                      EATON           OH     45320‐1227
HOLSAPPLE, TIMOTHY A             5116 2 MILE RD                                                                                          BAY CITY        MI     48706‐3063
HOLSBEKE, KRISTA L               4109 THOREAU CIR                                                                                        FLOWER MOUND    TX     75022‐6072
HOLSBEKE, ROGER A                4109 THOREAU CIR                                                                                        FLOWER MOUND    TX     75022‐6072
HOLSCHEN HAROLD E (663902)       GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                          EDWARDSVILLE     IL    62025‐0959
                                 ANTOGNOLI
HOLSCHEN, HAROLD E               GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                          EDWARDSVILLE    IL     62025‐0959
                                 ANTOGNOLI
HOLSCHEN, HAROLD E               C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                              EDWARDSVILLE    IL     62025
                                 ROWLAND PC
HOLSCHER, LAURA                  608 WELLINGTON AVE                                                                                      LEHIGH ACRES   FL      33972
HOLSCLAW, KENNETH W              338 DAFFON DR                                                                                           INDIANAPOLIS   IN      46227‐2604
HOLSCLAW, MICHAEL A              326 CANEY DR                                                                                            JAMESTOWN      KY      42629‐8610
HOLSER, JAY H                    6860 LOCK HAVEN DR                                                                                      LOCKPORT       NY      14094
HOLSER, LOUIS J                  9875 BRIDGE LAKE RD                                                                                     CLARKSTON      MI      48348‐1626
HOLSER, TIMOTHY S                1250 E COOK RD                                                                                          GRAND BLANC    MI      48439‐8020
HOLSEY JR, NATHANIEL             400 ARTISAN WAY                                                                                         MARTINSBURG    WV      25401‐2972
HOLSEY, CHARLITA J               24885 BEECH RD                                                                                          SOUTHFIELD     MI      48033‐2826
HOLSHOUSER, ROBERT K             581 S FIG TREE LN                                                                                       PLANTATION     FL      33317‐3942
HOLSHUE, JOHN W                  101 PAINTER ST                                                                                          TRAFFORD       PA      15085‐1332
HOLSINGER JR, HOWARD G           3382 ROLSTON RD                                                                                         FENTON         MI      48430‐1065
HOLSINGER, DARLENE L             4445 LOIS LANE BX59                                                                                     GENESEE        MI      48437‐0059
HOLSINGER, DAVID K               1606 LYON ST                                                                                            SAGINAW        MI      48602
HOLSINGER, DEBORAH A             14111 W COUNTY ROAD 800 N                                                                               GASTON         IN      47342‐9377
HOLSINGER, DOLLIE R              4326 S.JEREMY'S LANDG DR                                                                                JACKSONVILLE   FL      32258
HOLSINGER, DONALD E              9247 CENTER RD                                                                                          FENTON         MI      48430‐9388
HOLSINGER, DONELLA C             9449 WILLARD RD                                                                                         MILLINGTON     MI      48746‐9326
HOLSINGER, EARNEST E             1852 WEST SECOND STREET                                                                                 XENIA          OH      45385‐4210
HOLSINGER, EARNEST E             1852 W 2ND ST                                                                                           XENIA          OH      45385‐4210
HOLSINGER, JOSHUA RALPH          199 PREAKNESS CT                                                                                        VANDALIA       OH      45377‐8729
HOLSINGER, LOIS A                RR 1 BOX 148                                                                                            SANDY HOOK     KY      41171‐9706
HOLSINGER, MICHAEL D             7355 JEFFREY CT                                                                                         LINDEN         MI      48451‐8612
HOLSINGER, MURA A                9247 CENTER RD                                                                                          FENTON         MI      48430‐9388
HOLSINGER, RONALD L              2012 PRUSSIA RD                                                                                         WAVERLY        OH      45690‐9418
HOLSO ROBERT D                   4153 E HUBER CIR                                                                                        MESA           AZ      85205‐4025
HOLSO, ROBERT D                  4153 E HUBER CIR                                                                                        MESA           AZ      85205‐4025
HOLSOMBECK, DONALD L             PO BOX 141035                                                                                           DETROIT        MI      48214‐5035
HOLSONBACK, OPAL E               203 OAK TRL NE                                                                                          HARTSELLE      AL      35640‐4336
HOLST BEGLEY                     1646 SPRINGPLACE RD                                                                                     LEWISBURG      TN      37091‐4440
HOLST, DEWEY A                   440 COUNTY ROAD 313                                                                                     FAYETTE        MO      65248‐9558
HOLST, GRANT R                   2050 87TH ST SW                                                                                         BYRON CENTER   MI      49315‐9263
HOLST, PAUL L                    41 SOUTH ST                                                                                             FRANKLIN       MA      02038‐3303
HOLST, RAYMOND N                 5973 LEISURE SOUTH DR SE                                                                                KENTWOOD       MI      49548‐6857
HOLST, ROBERT W                  1619 13TH AVE                                                                                           MONROE         WI      53566‐2457
HOLST, THOMAS W                  2792 HIGHWAY Z                                                                                          EOLIA          MO      63344‐2033
HOLSTAD, GAIL L.                 10331 GOLFSIDE DR                                                                                       GRAND BLANC    MI      48439‐9437
HOLSTAD, RICHARD E               6341 DARIEN WAY                                                                                         SPRING HILL    FL      34606‐3327
HOLSTE‐STIFTUNG OF RWTH AACHEN   DEPARTMENT 9.0 ‐                    MR. HENNING KATZ         TEMPLERGRABEN 55   52056 AACHEN GERMANY
UNIVERSITY                       STIFTUNGSVERWALTUNG‐
HOLSTE‐STIFTUNG RWTH AACHEN      TEMPLERGRABEN 55                    52056 AACHEN             GERMANY
UNIVERSITY
HOLSTEAD CHRISTOPHER             9719 BERNARD RD                                                                                         SANGER          TX     76266‐6046
HOLSTEAD, JILL
HOLSTED, ERNEST L                8179 N MCKINLEY RD                                                                                      FLUSHING        MI     48433‐8801
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Name                          Address1                       Address2                        Address3   Address4               City              State   Zip
HOLSTED, FLOYD C              PO BOX 3                                                                                         TRENTON            MO     64683‐0003
HOLSTED, LARRY L              PO BOX 513                                                                                       FALLING WTRS       WV     25419‐0513
HOLSTED, LARRY L              11334 RUNNELLS DR                                                                                CLIO               MI     48420‐8225
HOLSTEGE ROSS                 935 RILEY ST                                                                                     HUDSONVILLE        MI     49426‐9636
HOLSTEIN                      140 LOCKWOOD AVE STE 324                                                                         NEW ROCHELLE       NY     10801‐4909
HOLSTEIN EDWARD J & ILA MAE   3748 FOOTVILLE RICHMOND RD                                                                       DORSET             OH     44032‐9641
HOLSTEIN JR, DONALD B         229 LOUISIANA AVE                                                                                ELYRIA             OH     44035‐3428
HOLSTEIN ROGER P              8830 BROWNSFORD RD                                                                               FOUNTAIN RUN       KY     42133
HOLSTEIN, CARL G              518 CLAIR HILL DR                                                                                ROCHESTER HILLS    MI     48309‐2115
HOLSTEIN, CARL W              504 OXFORD                                                                                       HARRISON           AR     72601‐4625
HOLSTEIN, CARL W              504 OXFORD LN                                                                                    HARRISON           AR     72601‐4625
HOLSTEIN, DARLENE M           12128 LUCERNE                                                                                    REDFORD            MI     48239‐2543
HOLSTEIN, DAVID F             4 SHERWOOD DR                                                                                    HUNTINGTON         NY     11743‐5139
HOLSTEIN, DOUGLAS D           585 FANTASY LN                                                                                   ANDERSON           IN     46013‐1163
HOLSTEIN, HERBERT J           2301 MASTERS ST                                                                                  ORTONVILLE         MI     48462‐9039
HOLSTEIN, JAMES D             1261 E MARSHALL PL                                                                               LONG BEACH         CA     90807‐3711
HOLSTEIN, LINDA               95‐115 AWIKI PL                                                                                  MILILANI           HI     96789‐1853
HOLSTEIN, MARJORIE M          1000 TIMBER TRL                                                                                  GRAFTON            OH     44044‐1269
HOLSTEIN, MARSHA H            585 FANTASY LN                                                                                   ANDERSON           IN     46013‐1163
HOLSTEIN, MURL R              3023 E COUNTY ROAD 800 N                                                                         SPRINGPORT         IN     47386‐9400
HOLSTEIN, NANCY C             1208 CHARLESTON CT                                                                               NORTHVILLE         MI     48167‐1052
HOLSTEIN, RICHARD L           127 HICKORY CIR                                                                                  ELYRIA             OH     44035‐4759
HOLSTEIN, RICHARD R           9956 YALE RD                                                                                     DEERFIELD          OH     44411‐8769
HOLSTEIN, SEBASTIEN J         10298 STATE ROUTE 224                                                                            DEERFIELD          OH     44411‐8748
HOLSTEIN, THEODORE J          200 S COUNTY ROAD 400 E                                                                          MUNCIE             IN     47302‐9229
HOLSTEN MARK (499330)         LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                           MIAMI              FL     33143‐5163
HOLSTEN, DANNY R              1373 JEWELL RD                                                                                   MILAN              MI     48160‐9582
HOLSTEN, DARRELL L            805 N SPRING ST                                                                                  INDEPENDENCE       MO     64050‐2443
HOLSTEN, MARK                 THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES       FL     33146
HOLSTEN, MARK                 LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                           MIAMI              FL     33143‐5163
HOLSTEN, PHILIP R             4300 N LONERGAN LN                                                                               EAST DUBUQUE        IL    61025‐9432
HOLSTEN, PHYLLIS G            774 E GRAND BLVD                                                                                 YPSILANTI          MI     48198‐4131
HOLSTER, HAYES                1312 S VINE ST                                                                                   MUNCIE             IN     47302‐3457
HOLSTICK, ANGELA C            3702 HUNTER RIDGE LN                                                                             NORCROSS           GA     30092‐3751
HOLSTINE, JAMES H             409 BENFIELD RD                                                                                  DOTHAN             AL     36305‐5242
HOLSTINE, LOIS L              819 PEACOCK PLZ                                                                                  KEY WEST           FL     33040‐4255
HOLSTINE, MIKE L              7322 LAWRENCE ST                                                                                 GRAND BLANC        MI     48439‐9341
HOLSTON BOBBIE (445305)       BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH     44067
                                                             PROFESSIONAL BLDG
HOLSTON JR, BOBBIE            910 RIVERSIDE DR                                                                                 ELYRIA            OH      44035‐7047
HOLSTON ROBERT E (484857)     GEORGE & SIPES                 151 N DELAWARE ST STE 1700                                        INDIANAPOLIS      IN      46204‐2503
HOLSTON, BOBBIE               BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH      44067
                                                             PROFESSIONAL BLDG
HOLSTON, CHARLES L            735 HUNTCLUB BLVD                                                                                AUBURN HILLS      MI      48326‐3682
HOLSTON, DOUGLAS J            2322 7TH ST                                                                                      WYANDOTTE         MI      48192
HOLSTON, EARLE S              625 JOY LN                                                                                       MANSFIELD         TX      76063‐7649
HOLSTON, FLORA B              574 E MANSFIELD ST                                                                               PONTIAC           MI      48342
HOLSTON, HOLLISTINE C         3776 N RIVER RD                                                                                  FREELAND          MI      48623
HOLSTON, JERRY L              13001 YANKEE ST                                                                                  BELLVILLE         OH      44813‐9635
HOLSTON, KATHY R              735 HUNTCLUB BLVD                                                                                AUBURN HILLS      MI      48326‐3682
HOLSTON, KEVIN N              2650 S FORUM DR APT 22203                                                                        GRAND PRAIRIE     TX      75052‐7052
HOLSTON, KEVIN N              5255 PINE BROOK DR APT E                                                                         INDIANAPOLIS      IN      46254‐3540
HOLSTON, KIM J                21598 HIDDEN RIVERS DR S                                                                         SOUTHFIELD        MI      48075‐6144
HOLSTON, PAMELA E             825 VALLEYBROOKE DR                                                                              ARLINGTON         TX      76001‐7551
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Name                           Address1                          Address2                           Address3   Address4                City              State   Zip
HOLSTON, PHILLIP D             730 FLORENCE ST                                                                                         FORT ATKINSON      WI     53538‐1933
HOLSTON, ROBERT E              GEORGE & SIPES                    151 N DELAWARE ST STE 1700                                            INDIANAPOLIS       IN     46204‐2503
HOLSTON, RONNIE D              881 RUCKER LN                                                                                           MURFREESBORO       TN     37128‐4623
HOLSTON, STEVEN E              334 JACKSON ST                                                                                          FORT ATKINSON      WI     53538‐1632
HOLSTON, WILLIE E              115 WAXWING DR                                                                                          JACKSON            MS     39212‐2263
HOLSTON, YVONNE                913 WAYCROSS RD                                                                                         CINCINNATI         OH     45240‐3021
HOLSTON, ZACHARY T             54108 POCAHONTAS DR                                                                                     SHELBY TOWNSHIP    MI     48315‐1262
HOLSWORTH, DONNA L             10586 W OLIVER ST                                                                                       HOMOSASSA          FL     34448‐4636
HOLSWORTH, MARY E              P O BOX 452                                                                                             VESTABURG          MI     48891‐0452
HOLSWORTH, MARY E              PO BOX 452                                                                                              VESTABURG          MI     48891‐0452
HOLT ARTIS E JR (479262)       ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                            BALTIMORE          MD     21202
                                                                 CHARLES CENTER 22ND FLOOR
HOLT AUTO GROUP, LP            905 UNITY RD                                                                                            CROSSETT           AR     71635‐9444
HOLT AUTO GROUP, LP            BRIAN HOLT                        905 UNITY RD                                                          CROSSETT           AR     71635‐9444
HOLT BILL H (360631)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA     23510
                                                                 STREET, SUITE 600
HOLT BILLY                     3437 VASSAR ST                                                                                          DEARBORN           MI     48124
HOLT BROS. INC.                94 W MAIN ST                                                                                            MOHAWK             NY     13407‐1029
HOLT CHARLENE                  207 FALLENWOOD AVE                                                                                      DURHAM             NC     27713‐7133
HOLT CHARLES SR (408706)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA     23510
                                                                 STREET, SUITE 600
HOLT CLARENCE J (452643)       SIMMONS FIRM                      PO BOX 559                                                            WOOD RIVER        IL      62095‐0559
HOLT COUNTY COLLECTOR          PO BOX 572                                                                                              OREGON            MO      64473‐0572
HOLT COUNTY TREASURER          PO BOX 648                                                                                              ONEILL            NE      68763‐0648
HOLT DA INC
HOLT DONALD SR (470641)        CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                      CLEVELAND         OH      44115
                               GAROFOLI                          FL
HOLT DONNA                     619 LAUREL ST                                                                                           WARRENSBURG       MO      64093‐1315
HOLT ELIZABETH                 1228 N AMELIA ST                                                                                        ANAHEIM           CA      92807‐2404
HOLT EQUIPMENT COMPANY LLC     13090 AIKEN RD                    PO BOX 436317                                                         LOUISVILLE        KY      40223‐4746
HOLT EQUIPMENT COMPANY LLC     PO BOX 436317                                                                                           LOUISVILLE        KY      40253‐6317
HOLT FAMILY PRACTICE           4378 HOLT RD                                                                                            HOLT              MI      48842
HOLT FREIGHT INC               C/O 2147857 ONTARIO INC           7777 KEELE STREET #8‐108                      CONCORD CANADA ON L4K
                                                                                                               1Y7 CANADA
HOLT GORDON L (429123)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA     23510
                                                                 STREET, SUITE 600
HOLT HERLE J (343353)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA     23510
                                                                 STREET, SUITE 600
HOLT HOWARD                    39 WOODLAWN ST                                                                                          RANDOLPH          MA      02368‐4717
HOLT III, GARLAND M            4370 TULIP DR S                                                                                         MARTINSVILLE      IN      46151‐7594
HOLT III, THOMAS H             8163 MORTENVIEW DR                                                                                      TAYLOR            MI      48180‐2582
HOLT JADE                      14 7TH ST                                                                                               COLUMBUS          GA      31901‐2911
HOLT JOE (488471) ‐ HOLT JOE   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD        OH      44067
                                                                 PROFESSIONAL BLDG
HOLT JOHN N (408890)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA     23510
                                                                 STREET, SUITE 600
HOLT JR, ALFRED                5230 WENDWOOD ROAD SOUTHWEST                                                                            CONYERS           GA      30094‐4838
HOLT JR, ALLAN M               1735 GLEN CURTIS RD                                                                                     BALTIMORE         MD      21221‐2112
HOLT JR, ROBERT J              4356 S VERNON RD                                                                                        DURAND            MI      48429‐9766
HOLT JR, ROBERT JAMES          4356 S VERNON RD                                                                                        DURAND            MI      48429‐9766
HOLT JR, WILLIAM C             9839 E 200 N                                                                                            GREENTOWN         IN      46936‐9532
HOLT MELITA                    1117 MELINDA ROAD                                                                                       SAPULPA           OK      74066‐5831
HOLT PETER                     2191 LITTLE BLANCO RD                                                                                   BLANCO            TX      78606‐4764
HOLT ROBERT & ARLINE           12122 OLD STATE RD                                                                                      CHARDON           OH      44024‐9554
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Name                Address1                         Address2                    Address3                   Address4               City              State   Zip
HOLT SHAYNA M       HOLT, SHAYNA M                   8840 WARNER AVE STE 301                                                       FOUNTAIN VALLEY    CA     92708‐3234
HOLT TERRY D        DBA HOLT STRATEGIES LLC          8503 CYRUS PL                                                                 ALEXANDRIA         VA     22308‐2014
HOLT, A P           4911 WILLOW LN                                                                                                 MYRTLE BEACH       SC     29575‐4525
HOLT, AFEFE H       53062 CEDAR LAKE CT                                                                                            GRANGER            IN     46530‐5847
HOLT, AGNES F       11 BOLES AVE                                                                                                   WENTZVILLE         MO     63385
HOLT, ALVIE L       4223 CHARTER OAK DR                                                                                            FLINT              MI     48507‐5511
HOLT, ALVORIA       812 BROKEN BOW TRL APT 712                                                                                     INDIANAPOLIS       IN     46214‐2739
HOLT, ANTHONY L     3550 EMERALDCUT DR APT 11                                                                                      DAYTON             OH     45431
HOLT, ANTHONY LEE   3550 EMERALDCUT DR APT 11                                                                                      DAYTON             OH     45431
HOLT, ARTIS E       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                                     BALTIMORE          MD     21202
                                                     CHARLES CENTER 22ND FLOOR
HOLT, BARBARA       12821 HURON                                                                                                    TAYLOR            MI      48180‐4338
HOLT, BARBARA A     256 E 1ST ST                                                                                                   MANSFIELD         OH      44902‐7754
HOLT, BARBARA E     26344 YALE ST                                                                                                  INKSTER           MI      48141‐2663
HOLT, BERNARD L     5368 BEGONIA DR                                                                                                POLLOCK PINES     CA      95726‐9003
HOLT, BEULAH M      20533 MIDWAY BLVD.                                                                                             PORT CHARLOTTE    FL      33952‐4051
HOLT, BILL H        GLASSER AND GLASSER              CROWN CENTER                580 EAST MAIN STREET STE                          NORFOLK           VA      23510‐2212
                                                                                 600
HOLT, BILLY D       12821 HURON ST                                                                                                 TAYLOR            MI      48180‐4384
HOLT, BILLY J       4316 45TH ST                                                                                                   LUBBOCK           TX      79413‐3312
HOLT, BILLY P       3437 VASSAR ST                                                                                                 DEARBORN          MI      48124‐3582
HOLT, BILLY W       403 E SPRING ST                                                                                                DONIPHAN          MO      63935‐1459
HOLT, BOBBY J       5114 ADELLA ST                                                                                                 TOLEDO            OH      43613‐2704
HOLT, BONNIE M      PO BOX 267                                                                                                     BELMONT           WV      26134‐0267
HOLT, BRENDA L      1621 KOHLENBERG AVE                                                                                            NORTH PORT        FL      34288‐5806
HOLT, BRIAN         1404 NW 171ST ST                                                                                               EDMOND            OK      73012‐7408
HOLT, CALVIN J      645 BYLAND DR                                                                                                  BEECH GROVE       IN      46107‐2042
HOLT, CAROL A       313 PEARHILL                                                                                                   W.CARROLLTON      OH      45449
HOLT, CAROL A       313 PEARHILL DR                                                                                                DAYTON            OH      45449‐1548
HOLT, CAROL J       1263 GRAYSTONE DR                                                                                              DAYTON            OH      45427‐2142
HOLT, CARSON W      5100 W 600 S                                                                                                   NEW PALESTINE     IN      46163‐9530
HOLT, CHARLES       GLASSER AND GLASSER              CROWN CENTER                580 EAST MAIN STREET STE                          NORFOLK           VA      23510
                                                                                 600
HOLT, CHARLES E     15935 FORDNEY RD                                                                                               CHESANING         MI      48616‐9558
HOLT, CHARLES F     2121 DIVISION AVE                                                                                              DAYTON            OH      45414‐4003
HOLT, CHESTER R     6312 W OAKLAWN ST                                                                                              HOMOSASSA         FL      34446‐2320
HOLT, CHRIS J       5612 HEMPLE RD                                                                                                 MIAMISBURG        OH      45342‐1004
HOLT, CLARENCE J    SIMMONS FIRM                     PO BOX 559                                                                    WOOD RIVER        IL      62095‐0559
HOLT, CLIFFORD G    1535 SHELLEY DRIVE                                                                                             DAYTON            OH      45406‐4243
HOLT, CLIFFORD L    4407 SOFTWOOD LN                                                                                               DAYTON            OH      45424‐8028
HOLT, CONNIE J      1404 NW 171ST ST                                                                                               EDMOND            OK      73012‐7408
HOLT, CRAIG A       14 WOODCREST AVE                                                                                               DAYTON            OH      45405
HOLT, CYNTHIA       8870 DAVID ST                                                                                                  DETROIT           MI      48214‐1243
HOLT, DANNY L       404 BULLINGTON RD                                                                                              ATHENS            AL      35611‐2319
HOLT, DARRELL R     2114 S MONROE ST                                                                                               MUNCIE            IN      47302‐4220
HOLT, DARRELL RAY   2114 S MONROE ST                                                                                               MUNCIE            IN      47302‐4220
HOLT, DAURIS R      353 BOWLES BRIDGE RD                                                                                           HARTSELLE         AL      35640‐7706
HOLT, DAVID         7905 CREEKVIEW LN                                                                                              FORT WORTH        TX      76123‐2045
HOLT, DAVID A       3317 EMPIRE DR                                                                                                 ROCHESTER HILLS   MI      48309‐4092
HOLT, DAVID B       7501 ARTESIA BEACH RD                                                                                          SAINT HELEN       MI      48656‐9227
HOLT, DAVID B       PO BOX 194                                                                                                     CREAM RIDGE       NJ      08514‐0194
HOLT, DAVID D       3120 TIMBER VALLEY DR                                                                                          KOKOMO            IN      46902‐5061
HOLT, DAVID E       1341 NORTH CROOKED LAKE DRIVE                                                                                  LAKE              MI      48632‐9581
HOLT, DAVID M       PO BOX 441876                                                                                                  DETROIT           MI      48244‐1876
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Name                  Address1                          Address2                          Address3   Address4               City            State   Zip
HOLT, DAVID W         5311 HWY 379 SOUH                                                                                     JAMESTOWN        KY     42629
HOLT, DELLA           1915 BALDWIN AVE APT 323                                                                              PONTIAC          MI     48340‐1176
HOLT, DELLA           1915 BALDWIN AVE                  APT 323                                                             PONITAC          MI     48340‐1176
HOLT, DELLEASE        2001 STORY AVE APT 9H                                                                                 BRONX            NY     10473
HOLT, DENNIS          2525 KANLOW DR                                                                                        ANTIOCH          TN     37013‐3951
HOLT, DERRICK M       2208 E BERGIN AVE                                                                                     BURTON           MI     48529‐1782
HOLT, DERRICK MARK    2208 E BERGIN AVE                                                                                     BURTON           MI     48529‐1782
HOLT, DIANA           868 SALISBURY ROAD                                                                                    COLUMBUS         OH     43204‐4703
HOLT, DONALD          CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                     CLEVELAND        OH     44115
                      GAROFOLI                          FL
HOLT, DONALD F        9938 W CENTER ST                                                                                      ANDERSON        IN      46011‐9007
HOLT, DONALD F        9938 W. CENTER STREET                                                                                 ANDERSON        IN      46011‐9007
HOLT, DONALD N        15 HEATHER GLEN DR                                                                                    CROSSVILLE      TN      38558‐6438
HOLT, DORIS M         8790 SUMNER RD                                                                                        CHARDON         OH      44024‐9264
HOLT, DOUGLAS J       39 ARTHUR RD                                                                                          HILLSBOROUGH    NJ      08844‐2604
HOLT, DOUGLAS L       3293 W LYNDON AVE                                                                                     FLINT           MI      48504‐6968
HOLT, DOUGLAS LEROY   3293 W LYNDON AVE                                                                                     FLINT           MI      48504‐6968
HOLT, DREW D          3862 SLUSARIC ROAD                                                                                    N TONAWANDA     NY      14120‐9507
HOLT, EDWARD M        11050 W GLEN                                                                                          CLIO            MI      48420‐1989
HOLT, ELBERT E        2058 CHELAN ST                                                                                        FLINT           MI      48503‐4312
HOLT, ELNORA          910 MCKINLEY AVE                                                                                      FLINT           MI      48507
HOLT, EMMA R          8052 BROOK RIDGE DR                                                                                   FORT WORTH      TX      76120‐2620
HOLT, EMMA R          10201 CRAWFORD FARMS DR                                                                               KELLER          TX      76248‐8566
HOLT, ETHEL J         8163 MORTENVIEW DR                                                                                    TAYLOR          MI      48180‐2582
HOLT, FLORA A         84 FEDERAL HILL RD                                                                                    OXFORD          MA      01540‐1302
HOLT, FRANCES L       15810 BEECH DALY RD 395                                                                               TAYLOR          MI      48180‐6123
HOLT, FRANCES L       TRLR 292                          15810 BEECH DALY ROAD                                               TAYLOR          MI      48180‐6117
HOLT, FRANCIS K       577 BAY POINT DR                                                                                      GALLATIN        TN      37066
HOLT, GAIL S          1119 S MAIN ST                                                                                        FRANKLIN        OH      45005‐2736
HOLT, GARLAND M       2038 LIVINGSTON HWY                                                                                   CELINA          TN      38551‐3510
HOLT, GARY B          936 SILVERDENE PL                                                                                     NASHVILLE       TN      37206‐3539
HOLT, GARY E          2707 LYNN DR                                                                                          SANDUSKY        OH      44870‐5603
HOLT, GARY L          111 RAVENWOOD DR                                                                                      SPRINGFIELD     OH      45504‐3324
HOLT, GENEVIEVE A     2228 CREST ROAD                                                                                       BALTIMORE       MD      21209‐4207
HOLT, GINGER          22711 S STATE RT 7                                                                                    HARRISONVILLE   MO      64701‐3799
HOLT, GLENN H         2147 E FRANCES RD                                                                                     CLIO            MI      48420‐9767
HOLT, GLORIA F        2209 SWAYZE ST                                                                                        FLINT           MI      48503‐3377
HOLT, GLORIA F        2209 SWAYZE ST.                                                                                       FLINT           MI      48503‐3377
HOLT, GLORIA G        2475 W CLARK RD                                                                                       LANSING         MI      48906
HOLT, GORDON L        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA      23510‐2212
                                                        STREET, SUITE 600
HOLT, GRACE           824 STUYVESANT AVE FL 1                                                                               IRVINGTON       NJ      07111‐1802
HOLT, GRACE           824 STUYVESANT AVE                FIRST FLOOR                                                         IRVINGTON       NJ      07111
HOLT, GREGORY L       445 WEDGEWOOD ST                                                                                      COOKEVILLE      TN      38501‐1056
HOLT, HAROLD L        954 SALISBURY RD                                                                                      COLUMBUS        OH      43204‐1765
HOLT, HELEN J         PO BOX 43                                                                                             SHARPSVILLE     IN      46068‐0043
HOLT, HELEN L         3018 WEST BRANDED COURT                                                                               KOKOMO          IN      46901‐7005
HOLT, HELEN L         3018 BRANDED CT W                                                                                     KOKOMO          IN      46901‐7005
HOLT, HENRY B         1666 NEWTON AVE                                                                                       DAYTON          OH      45406‐4110
HOLT, HENRY W         1374 HOLIDAY LN E                                                                                     BROWNSBURG      IN      46112‐2017
HOLT, HERLE           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA      23510‐2212
                                                        STREET, SUITE 600
HOLT, HERMAN          11849 MAPLE TRL                                                                                       HILLSBORO       OH      45133‐8346
HOLT, HERMAN          11849 MAPLE TRAIL                                                                                     HILLSBORO       OH      45133‐8346
                          09-50026-mg         Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                      Address1                     Address2                      Address3   Address4               City            State   Zip
HOLT, HORACE              19017 MIDWAY RD                                                                              SOUTHFIELD       MI     48075‐4160
HOLT, HUSTON G            14792 CATLIN TILTON RD                                                                       DANVILLE          IL    61834‐5116
HOLT, ILA M               10509 RENE DR                                                                                CLIO             MI     48420‐1958
HOLT, ILA M               10509 RENE DRIVE                                                                             CLIO             MI     48420‐1958
HOLT, INA M               901 WEST WORTH STREET                                                                        GREENFIELD       IN     46140
HOLT, IVA L               112 BENWICK DR                                                                               CROSSVILLE       TN     38555
HOLT, IVAN D              9500 SIDEBROOK RD APT 302                                                                    OWINGS MILLS     MD     21117‐7594
HOLT, JACK A              5189 WINCHESTER PASS RD                                                                      LAPEER           MI     48446‐8037
HOLT, JACK C              26344 YALE ST                                                                                INKSTER          MI     48141‐2663
HOLT, JACK E              2900 DEPOT RD                                                                                SALEM            OH     44460‐9578
HOLT, JACKIE M            2069 CROWN AVE                                                                               NORWOOD          OH     45212‐2141
HOLT, JACQUELINE E        2014 E PROVINCIAL HOUSE DR                                                                   LANSING          MI     48910‐4809
HOLT, JACQUELINE ELAINE   2014 E PROVINCIAL HOUSE DR                                                                   LANSING          MI     48910‐4809
HOLT, JACQUETTA S         7 COVENTRY CT                                                                                EDMOND           OK     73012‐4510
HOLT, JAMES F             5342 N STATE ROAD 37                                                                         ORLEANS          IN     47452‐9259
HOLT, JAMES M             6037 E ATHERTON RD                                                                           BURTON           MI     48519‐1601
HOLT, JAMES R             15063 NELSON RD                                                                              SAINT CHARLES    MI     48655‐9767
HOLT, JAMES W             906 COTTINGHAM DR                                                                            MAINVILLE        OH     45039‐9685
HOLT, JASON T             1579 UNION GROVE CHURCH RD                                                                   AUBURN           GA     30011‐2870
HOLT, JEAN A              804 NW 15TH ST                                                                               BLUE SPRINGS     MO     64015‐2910
HOLT, JEAN ANNE           804 NW 15TH ST                                                                               BLUE SPRINGS     MO     64015‐2910
HOLT, JEFFREY D           1711 OLDE MILL CT                                                                            NEWBURGH         IN     47630
HOLT, JESSIE P            1359 BENNETT RD                                                                              BEDFORD          IN     47421‐7420
HOLT, JOANN P             PO BOX 490                                                                                   NAVASOTA         TX     77868‐0490
HOLT, JOEL                1122 AVOCET LN                                                                               KNOXVILLE        TN     37922
HOLT, JOHN C              225 NANCY LN APT 603                                                                         CUMMING          GA     30040‐9650
HOLT, JOHN C              G3160 BROWN ST                                                                               FLINT            MI     48532‐5108
HOLT, JOHN C              126 E PULASKI ST                                                                             SHAWNEE          OK     74804‐2950
HOLT, JOHN L              3 HOLT DR                                                                                    FINLEYVILLE      PA     15332‐4005
HOLT, JOHN N              GLASSER AND GLASSER          CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                       STREET, SUITE 600
HOLT, JOHN T              PO BOX 894                                                                                   ALTOONA         FL      32702‐0894
HOLT, JOHNNIE C           2741 S BERWICK AVE                                                                           INDIANAPOLIS    IN      46241‐5302
HOLT, JOHNNIE F           464 PINECREST DR                                                                             COLDWATER       MI      49036‐7757
HOLT, JONATHAN A          201 JACOBS DR APT C4                                                                         LAWRENCEBURG    TN      38464‐2501
HOLT, JOYCE               1728 CLEAR CREEK RD                                                                          ALMA            AR      72921‐7146
HOLT, JUDITH S            2400 HALLOCK YOUNG RD SW                                                                     WARREN          OH      44481‐9204
HOLT, JUNE M              1208 SURREY POINT DR SE                                                                      WARREN          OH      44484‐2851
HOLT, KAREN D             195 MARTIN ST                                                                                NEW HOPE        AL      35760‐9406
HOLT, KATHRYN R           4 COLUMBINE TRL                                                                              DEBARY          FL      32713‐2205
HOLT, KATHRYN R           4 COLUMBINE TRAIL                                                                            DEBARY          FL      32713‐2205
HOLT, KEENAN S            102 EDGEWOOD ST                                                                              BALTIMORE       MD      21229‐3020
HOLT, KEITH D             PO BOX 44961                                                                                 ATLANTA         GA      30336‐5961
HOLT, KEITH D             APT F4                       4355 CASCADE ROAD SOUTHWEST                                     ATLANTA         GA      30331‐2028
HOLT, KEITH L             2892 SAND CREEK HWY                                                                          ADRIAN          MI      49221‐9798
HOLT, KEITH LEROY         2892 SAND CREEK HWY                                                                          ADRIAN          MI      49221‐9798
HOLT, KENNETH             917 EAGLE DR                                                                                 JACKSON         MO      63755‐3227
HOLT, KENNETH C           370 MEYER RD                                                                                 AMHERST         NY      14226‐1034
HOLT, KENNETH E           15379 NORTHLAWN ST                                                                           DETROIT         MI      48238‐1855
HOLT, KENNETH M           237 OLD GOLDMINE RD                                                                          VILLA RICA      GA      30180‐3837
HOLT, KEVIN F             4280 HASTINGS DR                                                                             GRAND BLANC     MI      48439‐8087
HOLT, KIRBY               313 MATT ST                                                                                  SIKESTON        MO      63801‐9461
HOLT, KIRBY P             31511 RUSH ST                                                                                GARDEN CITY     MI      48135‐1757
HOLT, LAQUETTA            2121 DIVISION AVENUE                                                                         DAYTON          OH      45414‐4003
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Name                Address1                            Address2                       Address3   Address4               City               State   Zip
HOLT, LARRY D       1775 KIMBERLY DRIVE                                                                                  MARION              IN     46952‐9218
HOLT, LARRY M       23825 CEDAR RIDGE DR                                                                                 ROMULUS             MI     48174‐9329
HOLT, LARRY W       425 NORTHERN OAKS DR                                                                                 GROVELAND            IL    61535
HOLT, LAWRENCE W    3975 NORTH RIVER ROAD                                                                                FORT GRATIOT        MI     48059‐4151
HOLT, LEONARD       619 E PINE ST                                                                                        MUNCIE              IN     47303‐2059
HOLT, LEONARD M.    619 E PINE ST                                                                                        MUNCIE              IN     47303‐2059
HOLT, LEWIS L       2827 THOR ST                                                                                         DAYTON              OH     45404‐2638
HOLT, LIONEL C      427 N CEDAR ST                                                                                       LANSING             MI     48912‐1248
HOLT, LIONEL C      427 NORTH CEDAR STREET                                                                               LANSING             MI     48912‐1248
HOLT, LITHA         190 WAXWING RD                                                                                       NEWPORT             TN     37821‐8435
HOLT, LLOYD V       5345 E 100 N                                                                                         KOKOMO              IN     46901‐8313
HOLT, LOIS E        2173 S CENTER RD #224                                                                                BURTON              MI     48519‐1810
HOLT, LORETTA       PO BOX 60733                                                                                         DAYTON              OH     45406‐0733
HOLT, LOUIS         3109 STATION ST                                                                                      INDIANAPOLIS        IN     46218‐2161
HOLT, LOUISE R      2363 W NORTHWIND CT                                                                                  COLUMBUS            IN     47201
HOLT, LOWELL W      7513 ABBIE PLACE                                                                                     CINCINNATI          OH     45237‐2601
HOLT, LOWELL W      7513 ABBIE PL                                                                                        CINCINNATI          OH     45237‐2601
HOLT, LYNN D        5708 W US HIGHWAY 36                                                                                 GREENCASTLE         IN     46135‐8985
HOLT, LYNN DWIGHT   5708 W US HIGHWAY 36                                                                                 GREENCASTLE         IN     46135‐8985
HOLT, MADELINE M    3303 ROYAL OAK DR S                                                                                  MULBERRY            FL     33860‐8439
HOLT, MARGARET      4422 WAYNE CT S                                                                                      FORT WORTH          TX     76117‐4930
HOLT, MARGARET L    1115 STATE ST                                                                                        OWOSSO              MI     48867‐4252
HOLT, MARGARET L    1115 SOUTH STATE STREET                                                                              OWOSSO              MI     48867‐4252
HOLT, MARGARET M    PO BOX 40512                                                                                         DETROIT             MI     48240‐0512
HOLT, MARTA L       20252 JAMES RD                                                                                       NOBLESVILLE         IN     46062
HOLT, MARTHA J      12321 STANLEY RD                                                                                     COLUMBIAVILLE       MI     48421‐8804
HOLT, MARTIN F      261 TORTOISE BAY RD                                                                                  HIGDEN              AR     72067‐9107
HOLT, MARY A        3102 SHORT WAY                      RIVERVIEW REHABILITATION AND                                     DUNELALK            MD     21222
                                                        HEALTH CENTER
HOLT, MARY A        RIVERVIEW REHABILITATION AND HEALTH 3102 SHORT WAY                                                   DUNDALK            MD      21222
                    CENTER
HOLT, MARY A        225 N LAKEVIEW AVE                                                                                   STURGIS            MI      49091‐1198
HOLT, MARY E        14603 GRIGGS ST                                                                                      DETROIT            MI      48238‐1665
HOLT, MARY ELLEN    29 RIVER RD                                                                                          BARKHAMSTED        CT      06063‐3321
HOLT, MARY M        9263 LISCOM RD                                                                                       GOODRICH           MI      48438‐9267
HOLT, MELANIE J     2334 GOLDEN POND                                                                                     FENTON             MI      48430‐1097
HOLT, MICHAEL A     5724 HORRELL ROAD                                                                                    DAYTON             OH      45426‐2141
HOLT, MICHAEL G     4381 SCOTT HOLLOW RD                                                                                 CULLEOKA           TN      38451‐3141
HOLT, MICHAEL W     2534 N 110TH ST                                                                                      KANSAS CITY        KS      66109‐3683
HOLT, NATHAN B      530 SHORT CURVE RD                                                                                   GLEN BURNIE        MD      21061‐5143
HOLT, NATHAN B.     530 SHORT CURVE RD                                                                                   GLEN BURNIE        MD      21061‐5143
HOLT, NORA L        101 MECHANIC ST APT 301                                                                              PONTIAC            MI      48342
HOLT, OSBOURNE D    105 CHESTNUT DR                                                                                      EASLEY             SC      29642‐3004
HOLT, OTHIE L       6576 N DORT HWY                                                                                      FLINT              MI      48505
HOLT, PATRICIA E    1925 OTSEGO RD                                                                                       SAINT HELEN        MI      48656‐9723
HOLT, PATRICIA J    2733 BRETTON WOODS DR                                                                                COLUMBUS           OH      43231‐5911
HOLT, PATRICIA K    147 VICTORY RD                                                                                       HOUGHTON LAKE      MI      48629‐9656
HOLT, PATRICK K     110 SHEEP RD                                                                                         NEW LEBANON        OH      45345‐9216
HOLT, PAUL A        21440 ROOSEVELT AVE                                                                                  FARMINGTON HILLS   MI      48336‐5644

HOLT, PAUL ARTHUR   21440 ROOSEVELT AVE                                                                                  FARMINGTON HILLS    MI     48336‐5644

HOLT, PAULINE C     577 BAY POINT DR                                                                                     GALLATIN           TN      37066
HOLT, PAULINE H     4741 EAGLEVIEW DR                                                                                    KETTERING          OH      45429‐5533
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Name               Address1                      Address2            Address3         Address4               City             State   Zip
HOLT, PEGGY SUE    5199 ROBISON RD EAST                                                                      BLOOMINGTON       IN     47408‐9542
HOLT, PEGGY SUE    5199 E ROBINSON RD                                                                        BLOOMINGTON       IN     47408‐9542
HOLT, PERRY J      151 SALEM AVE NW                                                                          PORT CHARLOTTE    FL     33952‐9058
HOLT, PHAROH       4690 ALGONQUIN ST                                                                         DETROIT           MI     48215‐2021
HOLT, RAY          5901 CROSS CREEK DR                                                                       SWARTZ CREEK      MI     48473‐1484
HOLT, RICHARD S    2848 GLADSTONE ST                                                                         MORAINE           OH     45439‐1628
HOLT, ROBERT D     30440 E LAFAYETTE RD                                                                      STURGIS           MI     49091‐9542
HOLT, ROBERT E     2110 WESTFIELD AVE                                                                        BALTIMORE         MD     21214‐1048
HOLT, ROBERT G     435 S JESSIE ST                                                                           PONTIAC           MI     48341‐3020
HOLT, ROBERT L     1823 N GERMAN CHURCH RD                                                                   INDIANAPOLIS      IN     46229‐1913
HOLT, ROBERT L     4184 MARLOWE ST.                                                                          DAYTON            OH     45416‐5416
HOLT, ROBERT L     322 N BROADWAY ST                                                                         GREENFIELD        IN     46140‐1735
HOLT, ROBERT P     43985 TYLER RD                                                                            BELLEVILLE        MI     48111‐1344
HOLT, ROBERT R     39622 NESRUS ST                                                                           NOVI              MI     48377‐3735
HOLT, ROBERT R     715 SOUTH 98TH STREET                                                                     KANSAS CITY       KS     66111‐1551
HOLT, ROBERT R     715 S 98TH ST                                                                             EDWARDSVILLE      KS     66111‐1551
HOLT, ROBERTA J    760 GROVE DR                                                                              NAPLES            FL     34120‐1419
HOLT, RONNIE H     5706 PEMBROKE AVE                                                                         BALTIMORE         MD     21207‐6157
HOLT, RUBY P       1535 SHELLEY DR                                                                           DAYTON            OH     45406‐4243
HOLT, RUTH P       3167 PINETREE ST                                                                          PT CHARLOTTE      FL     33952‐6542
HOLT, RYAN         3601 IVY WOOD LN                                                                          BUFORD            GA     30519‐4473
HOLT, SANDRA L     2880 N 800 W                                                                              TIPTON            IN     46072‐8636
HOLT, SHIRLEY D    170 FROSTWOOD DR                                                                          CORTLAND          OH     44410‐1112
HOLT, SHIRRELL D   2725 N WINSTON DR                                                                         MUNCIE            IN     47304‐2182
HOLT, STELLA       2483 EGLESTON AVE                                                                         BURTON            MI     48509
HOLT, SUANN        19576 WITTY RD                                                                            ELMORE            OH     43416
HOLT, SUANN        19576 W WITTY RD                                                                          ELMORE            OH     43416‐9533
HOLT, SUSAN M      805 COMMUNITY AVE                                                                         ALBANY            GA     31705‐9577
HOLT, SYLVIA G     822 GARY DR                                                                               PLAINFIELD        IN     46168‐2210
HOLT, T'MEDA       1 IMPERIAL BLVD APT N120                                                                  SMYRNA            TN     37167‐4116
HOLT, TERRY W      31 AUGUSTA CIR                                                                            SAINT CLOUD       FL     34769‐2515
HOLT, THOMAS J     1185 W MAIN ST                                                                            ATWOOD            TN     38220‐2821
HOLT, TIM          15202 COUNTY ROAD K                                                                       NAPOLEON          OH     43545‐9525
HOLT, TIMOTHY A    214 N 1ST ST                                                                              SPRINGPORT        IN     47386
HOLT, TIMOTHY H    11480 E POTTER RD                                                                         DAVISON           MI     48423‐8158
HOLT, TONY M       1423 ELROD RD                                                                             BOWLING GREEN     KY     42104‐8513
HOLT, TYLER J      2085 RIVER ESTATE LN                                                                      STOUGHTON         WI     53589‐3331
HOLT, VELDON A     6555 STARFIRE LN                                                                          RENO              NV     89523‐1249
HOLT, VIRGINIA L   685 N 16TH ST                                                                             NOBLESVILLE       IN     46060‐1928
HOLT, VIRGINIA L   685 NORTH 16TH STREET                                                                     NOBLESVILLE       IN     46060‐1928
HOLT, VIRGINIA M   6576 N DORT HWY LOT 4                                                                     FLINT             MI     48505‐2365
HOLT, VIVIAN R     4820 ST RT 503                                                                            LEWISBURG         OH     45338‐8761
HOLT, VIVIAN R     1201 S WASHINGTON ST                                                                      KOKOMO            IN     46902‐6350
HOLT, VIVIAN R     4820 STATE ROUTE 503 N                                                                    LEWISBURG         OH     45338‐8761
HOLT, WANDA B      407 PAGELS CT                                                                             GRAND BLANC       MI     48439‐2424
HOLT, WAYNE E      805 COMMUNITY AVE                                                                         ALBANY            GA     31705‐9577
HOLT, WENDELL B    235 NORTH MAIN ST                                                                         SPRINGBORO        OH     45066‐5066
HOLT, WENDELL B    235 N MAIN ST                                                                             SPRINGBORO        OH     45066‐9255
HOLT, WILBURN L    2317 VIKING DR                                                                            INDEPENDENCE      MO     64057‐1328
HOLT, WILEY        11331 BRADEN RD                                                                           BYRON             MI     48418‐9742
HOLT, WILLIAM H    5753 APPLE RD                                                                             SEBRING           FL     33875‐6169
HOLT, WILLIAM L    603 CORDES ST                                                                             O FALLON          MO     63366‐2405
HOLT, WILLIAM M    1158 DOVES HOLLOW LN                                                                      TALLAHASSEE       FL     32304‐9387
HOLT, WILLIAM R    2316 CHESAPEAKE CT                                                                        TROY              MI     48098‐2478
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Name                             Address1                              Address2                        Address3                     Address4               City             State Zip
HOLT, WILLIE L                   227 BROWN ST SE                                                                                                           GRAND RAPIDS      MI 49507‐2501
HOLT, WILLIE R                   PO BOX 1122                                                                                                               JAMESTOWN         TN 38556‐1122
HOLT, YONG S                     160 MAGNOLIA RD                                                                                                           WHIGHAM           GA 39897‐3533
HOLT, ZEDOC A                    2125 BROOKHURST AVE                                                                                                       COLUMBUS          OH 43229‐1585
HOLT,CHRIS J                     5612 HEMPLE RD                                                                                                            MIAMISBURG        OH 45342‐1004
HOLT,DAVID A                     3317 EMPIRE DR                                                                                                            ROCHESTER HILLS   MI 48309‐4092
HOLT‐DUBOSE, PATRICIA A          541 TIMBER RIDGE DR                                                                                                       PENSACOLA         FL 32534‐9643
HOLT‐LAY, TERESA A.              3603 MACEDONIA RD                                                                                                         ADOLPHUS          KY 42120‐9715
HOLTAN, KENNETH L                2751 SIGNATURE CIR                                                                                                        PINCKNEY          MI 48169‐8169
HOLTBERG, DAVIEN R               20927 COUNTY ROAD 200                                                                                                     BELGRADE          MN 56312‐9702
HOLTCAMP LEONARD G JR (667165)   BRAYTON PURCELL                       PO BOX 6169                                                                         NOVATO            CA 94948‐6169
HOLTCAMP, EDWARD D               611 DADE LN                                                                                                               RICHMOND HEIGHTS OH 44143‐2627

HOLTCAMP, LEONARD G              BRAYTON PURCELL                       PO BOX 6169                                                                         NOVATO            CA   94948‐6169
HOLTE, ELMAE J                   BOX 223                                                                                                                   FOOTVILLE         WI   53537‐0223
HOLTE, GARY R                    6750 US HIGHWAY 27 N APT B1                                                                                               SEBRING           FL   33870‐1262
HOLTE, JEFFREY A                 APT 1218                              2803 TURNBERRY DRIVE                                                                ARLINGTON         TX   76006‐2350
HOLTE, MARY E                    6750 US HIGHWAY 27 N APT B1                                                                                               SEBRING           FL   33870‐1262
HOLTE, MERLYN A                  PO BOX 223                                                                                                                FOOTVILLE         WI   53537‐0223
HOLTE, RANDOLPH P                2474 N FAIRWAY LN                                                                                                         BLUFFTON          IN   46714‐9231
HOLTEL, PAUL L                   421 NW 56TH ST                                                                                                            NEWPORT           OR   97365‐1029
HOLTEN BRYAN & LANNDA BOTH       JAMES L GILBERT                       GILBERT OLLANIK & KOMYATTE PC   5400 WARD ROAD BLDG IV STE                          ARVADA            CO   80002
INDIVIDUALLY ET AL                                                                                     200
HOLTER ERNEST (651413)           BRAYTON PURCELL                       621 SW MORRISON ST STE 950                                                          PORTLAND          OR   97205‐3824
HOLTER JOSEPH (445308)           KELLEY & FERRARO LLP                  1300 EAST NINTH STREET , 1901                                                       CLEVELAND         OH   44114
                                                                       BOND COURT BUILDING
HOLTER, ERNEST                   BRAYTON PURCELL                       621 SW MORRISON ST STE 950                                                          PORTLAND          OR   97205‐3824
HOLTER, JOSEPH                   KELLEY & FERRARO LLP                  1300 EAST NINTH STREET, 1901                                                        CLEVELAND         OH   44114
                                                                       BOND COURT BUILDING
HOLTER, OLAN W                   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                        PITTSBURGH        PA   15219

HOLTER, PAUL R                   404 JERSEY AVE                                                                                                            HATTON            ND   58240‐4121
HOLTER, VIVIAN M                 35538 BELLWARE BLVD                                                                                                       PAW PAW           MI   49079‐9660
HOLTFORTH, GLEN I                8700 MONROE RD                        APT 15                                                                              DURAND            MI   48429‐1073
HOLTFORTH, JOHN A                9143 JORDAN LAKE RD                                                                                                       LAKE ODESSA       MI   48849
HOLTFRETER, CHARLES R            1913 WELKER AVE                                                                                                           TOLEDO            OH   43613‐2948
HOLTGRAVE, DONALD L              PO BOX 378                            805 CHURCH ST                                                                       GERMANTOWN        IL   62245‐0378
HOLTGREIVE, PAUL W               4482 RIVERCHASE DR                                                                                                        TROY              MI   48098‐5428
HOLTHAM JR, THOMAS W             81 LEISUREWOOD                                                                                                            AKRON             NY   14001‐9792
HOLTHAM, MICHAEL J               1017 EDDIE DR                                                                                                             LANSING           MI   48917‐9240
HOLTHAM, NORMAN L                284 MAIN ST                           APT 312                                                                             TONAWANDA         NY   14150‐3342
HOLTHAM, THOMAS E                4292 N FRANCIS SHORES AVE                                                                                                 SANFORD           MI   48657‐9365
HOLTHAUS, FRANKLYN D             4941 N ARBOR WOODS CT APT 308                                                                                             CINCINNATI        OH   45248‐1671
HOLTHAUS, GERALD B               8016 HOYING RD                                                                                                            ANNA              OH   45302‐9618
HOLTHAUS, MARION                 4910 GLEN SUMMIT DR                                                                                                       PERRY HALL        MD   21128‐9429
HOLTHAUS, NATHAN R               4684 HALDERMAN RD                                                                                                         WEST ALEXANDRIA   OH   45381

HOLTHAUS, ROBERT A               640 MOORMAN LN                                                                                                            BOWLING GREEN     KY   42101‐0738
HOLTHAUS, ROBERT M               4540 FITCH AVE                                                                                                            BALTIMORE         MD   21236‐3912
HOLTHENRICHS, ROBERT D           5567 STUMP RD                                                                                                             PIPERSVILLE       PA   18947‐1091
HOLTHER, KARL B                  877 HAYNOR RD                                                                                                             IONIA             MI   48846‐9566
HOLTHOF, EDWARD L                7544 ARBORCREST ST                                                                                                        PORTAGE           MI   49024‐5002
HOLTHUIS & ASSOCIATES            10540 MILL STATION RD                 PO BOX 1531                                                                         SEBASTOPOL        CA   95472‐9657
HOLTHUIS AND ASSOCIATES          PO BOX 1531                                                                                                               SEBASTOPOL        CA   95473‐1531
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Name                        Address1                        Address2                    Address3   Address4                    City              State   Zip
HOLTHUS, RENEE M            27867 ADDELIA ST 32                                                                                WARREN             MI     48093
HOLTKAMP JR, CHARLES F      16 BUCKINGHAM PL                                                                                   SAINT CHARLES      MO     63301‐1102
HOLTKAMP'S TRAILER REPAIR   3000 MOUNT PLEASANT ST                                                                             BURLINGTON          IA    52601‐2064
HOLTMAN TERRY W (415520)    SIMMONS FIRM                    PO BOX 559                                                         WOOD RIVER          IL    62095‐0559
HOLTMAN, DENNIS L           3820 ROCHELLE DR                                                                                   ARLINGTON          TX     76016‐3003
HOLTMAN, JAMES F            1600 OSBORNE RD                                                                                    DELTON             MI     49046‐7611
HOLTMAN, NANCY E            6032 W 32ND PL                                                                                     INDIANAPOLIS       IN     46224‐2105
HOLTMAN, RHONDA S           507 AUSTIN ACRES                                                                                   SULPHUR SPGS       TX     75482‐5093
HOLTMAN, ROBERT L           2502 MOLLER RD                                                                                     SPEEDWAY           IN     46224‐3343
HOLTMAN, TERRY W            SIMMONS FIRM                    PO BOX 559                                                         WOOD RIVER          IL    62095‐0559
HOLTMANN, DONALD F          840 SE 15TH AVE                                                                                    DEERFIELD BEACH    FL     33441‐5859
HOLTMEYER, JOHN F           8070 PARKWOOD DR                                                                                   FENTON             MI     48430‐9319
HOLTMEYER, RICHARD D        5197 SUMAC TRL                                                                                     LUPTON             MI     48635‐9726
HOLTMEYER, THOMAS E         9863 SW 63RD LOOP                                                                                  OCALA              FL     34481‐2593
HOLTOM, JOHN L              3417 8TH AVE N                                                                                     GREAT FALLS        MT     59401‐2232
HOLTON DILLINGHAM           24409 DARTMOUTH ST                                                                                 DEARBORN HTS       MI     48125‐1945
HOLTON GIBSON               58 RAY ST                                                                                          EWING              NJ     08638‐2347
HOLTON JR, PAUL E           27567 MARTIN FARM RD                                                                               MILTON             DE     19968‐3208
HOLTON NICOLE               976 E MAIN ST                                                                                      WEST POINT         MS     39773‐3244
HOLTON TRANSFER & STORAGE   3950 NW 3RD ST                                                                                     OKLAHOMA CITY      OK     73107‐6606
HOLTON, ALICE K             123 KENEC DR                                                                                       MIDDLETOWN         OH     45042‐4807
HOLTON, ARTHUR J            12091 COLLEGE ST                                                                                   DETROIT            MI     48205‐3313
HOLTON, BARBARA J           13965 WILD ROSE RD                                                                                 DIANA              TX     75640‐3105
HOLTON, BRUCE S             137 W GRAND LEDGE HWY                                                                              MULLIKEN           MI     48861‐9769
HOLTON, CATHERINE A         8 WYATT STREET E.               APT 114                                ELMIRA, ON N3B 2H7 CANADA

HOLTON, CHARLES B           PO BOX 1758                                                                                        WASKOM            TX      75692‐1758
HOLTON, DONALD E            866 N GAVORD RD                                                                                    STERLING          MI      48659‐9703
HOLTON, DORIS L             224 TROONSWAY RD                                                                                   WINSTON SALEM     NC      27127‐5748
HOLTON, DORIS L             224 TROONS WAY CIRCLE                                                                              WINSTON SALEM     NC      27127‐5748
HOLTON, EDDIE               PORTER & MALOUF PA              4670 MCWILLIE DR                                                   JACKSON           MS      39206‐5621
HOLTON, GEORGE A            315 OLSEN DR                                                                                       SHERIDAN          MI      48884‐9350
HOLTON, HANNELORE I         7850 E 108TH AVE                                                                                   CROWN POINT       IN      46307‐8260
HOLTON, HARRISON D          1757 N KINGSLEY DR              APT 106                                                            LOS ANGELES       CA      90027‐3711
HOLTON, HOMER               26507 KINGSWOOD DR                                                                                 OLMSTED FALLS     OH      44138‐2131
HOLTON, IRENE E             23124 WELLINGTON CRES APT 302                                                                      CLINTON TWP       MI      48036‐3565
HOLTON, JAMES R             1740 BIRD ROAD                                                                                     ORTONVILLE        MI      48462‐9082
HOLTON, JAMES R             7764 FISH LAKE RD                                                                                  HOLLY             MI      48442‐9149
HOLTON, JIMMY               1296 RICHARDSON RD                                                                                 CALHOUN           LA      71225‐9440
HOLTON, JIMMY C             1296 RICHARDSON RD                                                                                 CALHOUN           LA      71225‐9440
HOLTON, JOHN                8405 COURT AVE                                                                                     HAMLIN            WV      25523‐1317
HOLTON, KEVIN R             38230 PALMATEER RD 4                                                                               WESTLAND          MI      48186
HOLTON, LANA L              5010 ANN DRIVE                  P O BOX 60                                                         BATH              MI      48808‐0060
HOLTON, LANA L              5010 ANN DR                     P O BOX 60                                                         BATH              MI      48808‐9626
HOLTON, LYNN G              5065 CHESTNUT CT                                                                                   HUDSONVILLE       MI      49426‐1734
HOLTON, MADELL              P.O. BOX 9693                                                                                      BOWLING GREEN     KY      42102‐9693
HOLTON, MADELL              PO BOX 9693                                                                                        BOWLING GREEN     KY      42102‐9693
HOLTON, MARGARET A          1405 CLEARWATER ST                                                                                 FLATWOODS         KY      41139‐1807
HOLTON, MARGARET J          4950 W. GROVERS                 MILESTONE ASSISTED LIVING                                          GLENDALE          AZ      85308‐3329
HOLTON, MARGARET J          4950 W GROVERS AVE              MILESTONE ASSISTED LIVING                                          GLENDALE          AZ      85308‐3329
HOLTON, MARK W              3259 LYNTZ TOWNLINE RD SW                                                                          WARREN            OH      44481‐9282
HOLTON, MARTHA J            34195 MCBRIDE ST                                                                                   ROMULUS           MI      48174‐3433
HOLTON, MILLARD H           610 N EDGAR RD                                                                                     MASON             MI      48854‐9535
HOLTON, NICHOLAS J          4698 CYPRESS DR                                                                                    BRUNSWICK         OH      44212‐2815
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Name                              Address1                      Address2             Address3        Address4               City           State   Zip
HOLTON, PATRICIA A                986 SLOBEY ST SE                                                                          KENTWOOD        MI     49508‐4545
HOLTON, PAUL                      105 ESTATES DR                                                                            WEST MONROE     LA     71292‐2176
HOLTON, PAUL D                    105 ESTATES DR                                                                            WEST MONROE     LA     71292‐2176
HOLTON, R D                       471 WEST SHAWNEE ROAD                                                                     BARODA          MI     49101‐9775
HOLTON, RAYMOND J                 9464 LINDA DR                                                                             DAVISON         MI     48423‐1797
HOLTON, REUEL N                   11943 MULLIKEN RD             R#1                                                         MULLIKEN        MI     48861‐9759
HOLTON, RICHARD D                 33151 FORT RD 34                                                                          ROCKWOOD        MI     48173
HOLTON, RICKY L                   2659 S RANDOLPH ST                                                                        INDIANAPOLIS    IN     46203‐5431
HOLTON, ROBERT D                  4344 WOODVIEW DR E                                                                        SAGINAW         MI     48603‐8615
HOLTON, RODNEY G                  1671 COUNTY ROAD 1347                                                                     LINDEN          TX     75563‐3865
HOLTON, ROY F                     4759 E WEBB RD                                                                            YOUNGSTOWN      OH     44515‐1220
HOLTON, RUTH MAY                  9464 LINDA DRIVE                                                                          DAVISON         MI     48423‐1797
HOLTON, RUTH MAY                  9464 LINDA DR                                                                             DAVISON         MI     48423‐1797
HOLTON, THOMAS W                  9214 THREAD RIVER DR                                                                      GOODRICH        MI     48438‐8815
HOLTON, VEDA ELNORA               4344 WOODVIEW DRIVE EAST                                                                  SAGINAW         MI     48603‐8615
HOLTON, VICTOR H                  8389 SANDY HOOK DR                                                                        CLINTON         WA     98236‐8926
HOLTON, WARD O                    2235 VINCENT RD                                                                           OVID            MI     48866‐8701
HOLTON, WILLIAM T                 3259 LYNTZ AVE                                                                            LORDSTOWN       OH     44481
HOLTON, WILLIE                    4483 W 136TH ST                                                                           CLEVELAND       OH     44135‐2911
HOLTROP, NORMAN L                 692 VILLAGE LN                                                                            JENISON         MI     49428‐8373
HOLTS, ERNESTINE                  13915 WOODMONT AVE                                                                        DETROIT         MI     48227‐1323
HOLTSAPPLE, GLENN L               W799 DUNPHY RD                                                                            ALBANY          WI     53502‐9761
HOLTSBERG, KENNETH D              20B WOODURY RD                                                                            WAKEFIELD       MA     01886
HOLTSBERG, SHIRLEY L              20B WOODBURY RD.                                                                          WAKEFIELD       MA     01880
HOLTSBERRY, DENNIS A              PO BOX 373                                                                                PAULDING        OH     45879‐0373
HOLTSBERRY, JERRY C               2587 MURPHY LAKE RD                                                                       MILLINGTON      MI     48746‐9002
HOLTSBERRY, LORI A                5294 MILLINGTON RD                                                                        MILLINGTON      MI     48746‐9537
HOLTSBERRY, LORI ANN              5294 MILLINGTON RD                                                                        MILLINGTON      MI     48746‐9537
HOLTSBERRY, MICHAEL J             409 N SQUIRE ST                                                                           HOLGATE         OH     43527
HOLTSCHLAG JACK                   633 MONROE ST                                                                             QUINCY           IL    62301‐5350
HOLTSCHNEIDER, JOHN S             311 HIGH AVE                                                                              NILES           OH     44446‐3331
HOLTSCLAW, CARLENE                405 S 24TH ST                                                                             ELWOOD          IN     46036‐2526
HOLTSCLAW, CHERYL D               10930 WONDERLAND DR                                                                       INDIANAPOLIS    IN     46239‐1956
HOLTSCLAW, JERRY                  PO BOX 3                                                                                  OOLITIC         IN     47451‐0003
HOLTSCLAW, LARRY G                405 S 24TH ST                                                                             ELWOOD          IN     46036
HOLTSCLAW, LELA N                 7717 N COUNTY ROAD 500 WEST                                                               MIDDLETOWN      IN     47356‐9479
HOLTSCLAW, LEXIE R                1415 4TH ST                                                                               BEDFORD         IN     47421‐1721
HOLTSCLAW, MICHAEL L              302 16TH AVE                                                                              INDIAN ROCKS    FL     33785‐2824
                                                                                                                            BEACH
HOLTSLAG LORI                     CLARK, STEVEN                 29351 FAIRFIELD DR                                          WARREN          MI     48088
HOLTSLAG LORI                     HOLTSLAG, LORI                5095 PAULA                                                  CLARKSTON       MI     48346
HOLTSLAG, LORI                    5095 PAULA AVE                                                                            CLARKSTON       MI     48346‐2627
HOLTSLAG, LORI A                  5095 PAULA AVE                                                                            CLARKSTON       MI     48346‐2627
HOLTSLANDER JR, ROBERT E          1779 DEETER RD                PO BOX 223                                                  LUZERNE         MI     48636‐9771
HOLTSLANDER, BRETT F              719 BYRAM LAKE DR                                                                         LINDEN          MI     48451‐8704
HOLTSLANDER, DAVID E BLACKSMITH   5414 MCGRANDY RD                                                                          BRIDGEPORT      MI     48722‐9783
HOLTSLANDER, LESLIE               5529 NICHOLS RD                                                                           SWARTZ CREEK    MI     48473‐8524
HOLTSLANDER, LLOYD H              7455 PEPPERMILL DR                                                                        SWARTZ CREEK    MI     48473‐9467
HOLTSLANDER, SHIRLEY A            1779 DEETER ROAD              PO BOX 223                                                  LUZERNE         MI     48636‐9771
HOLTSLANDER, SHIRLEY A            1779 DEETER RD                PO BOX 223                                                  LUZERNE         MI     48636‐9771
HOLTSON, JAMES A                  1737 W MULBERRY ST                                                                        KOKOMO          IN     46901‐4267
HOLTY, JENNIE L                   1176 E COOPER DR                                                                          EDGERTON        WI     53534‐9022
HOLTY, ROBERT D                   1176 E COOPER DR                                                                          EDGERTON        WI     53534‐9022
HOLTYN JR, JOHN                   34 MCKENZIE CT                                                                            CHEEKTOWAGA     NY     14227‐3237
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Name                     Address1                             Address2                      Address3   Address4                      City                State   Zip
HOLTYN, DENNIS G         33240 ROSSLYN AVE                                                                                           GARDEN CITY          MI     48135‐3066
HOLTZ AUDREY             122 SILENT HOLLOW LN                                                                                        EBENSBURG            PA     15931‐5914
HOLTZ JAMES W (466976)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                            NORFOLK              VA     23510
                                                              STREET, SUITE 600
HOLTZ, ARTHUR W          1771 FROBISHER WAY                                                                                          SAN JOSE            CA      95124‐1724
HOLTZ, AUDREY M          515 OAKLAND AVE                                                                                             BIRMINGHAM          MI      48009‐5752
HOLTZ, BERTHA E          36119 DASCHER LA                                                                                            GRAND ISL           FL      32735‐9614
HOLTZ, BRUCE A           11544 N 200 W                                                                                               HUNTINGTON          IN      46750‐9758
HOLTZ, CARL J            4337 W TARAL TERRACE DR                                                                                     AU GRES             MI      48703‐9475
HOLTZ, CARL R            9815 SPRING ST                                                                                              RACINE              WI      53406‐2432
HOLTZ, CHERI L           1097 E TIPTON ST                                                                                            HUNTINGTON          IN      46750‐1648
HOLTZ, CHERI LYNN        1097 E TIPTON ST                                                                                            HUNTINGTON          IN      46750‐1648
HOLTZ, CLIFFORD I        5975 SKINNER HWY                                                                                            MANITOU BEACH       MI      49253‐9734
HOLTZ, CLIFFORD IRWIN    5975 SKINNER HWY                                                                                            MANITOU BEACH       MI      49253‐9734
HOLTZ, CYNTHIA E         1137 EVERGREEN TRL                                                                                          ADRIAN              MI      49221‐8454
HOLTZ, DAVID C           385 GILLETT RD                                                                                              SPENCERPORT         NY      14559‐2040
HOLTZ, DIANE M           9815 SPRING ST                                                                                              RACINE              WI      53406‐2432
HOLTZ, DONNIE L          9120 E CALLE LUNA                                                                                           GOLD CANYON         AZ      85218‐4688
HOLTZ, DOROTHEA F        APT 306                              6425 CLARENDON HILLS ROAD                                              WILLOWBROOK         IL      60527‐2128
HOLTZ, ELIZABETH B       1713 WANDERING RD                                                                                           KNOXVILLE           TN      37912‐5876
HOLTZ, ELWOOD A          10784 E OXBOW DR                                                                                            DEWEY               AZ      86327
HOLTZ, EMILY F           1145 LONG POND RD                                                                                           ROCHESTER           NY      14626‐1123
HOLTZ, FLOYD A           7200 POLISH RD # B                                                                                          PITTSVILLE          WI      54466‐9773
HOLTZ, FRANK             12919 SE 188TH ST                                                                                           RENTON              WA      98058‐7926
HOLTZ, FRANK             60 ANGELL AVENUE                                                              BEACONSFIELD QC H9W4V5
                                                                                                       CANADA
HOLTZ, FREDERICK A       307 CALOOSA WOODS LN                                                                                        SUN CITY CENTER     FL      33573‐6940
HOLTZ, FREDERICK C       23174 GRIST MILL CT                   A                                                                     OLMSTED FALLS       OH      44138‐3227
HOLTZ, GEORGE A          INGLESIDE, MT. PLEASANT S. ROBIN HOOD YORKSHIRE                               . GREAT BRITAIN
                         S BAY N.
HOLTZ, HENRIETTA M       425 PARK AVE                                                                                                MEDINA               NY     14103‐1517
HOLTZ, HOGEY A           2817 DUNMORE DR                                                                                             SAGINAW              MI     48603‐3212
HOLTZ, JAMES E           1 SUPERIOR TRL                                                                                              SWARTZ CREEK         MI     48473‐1614
HOLTZ, JAMES ELMER       1 SUPERIOR TRL                                                                                              SWARTZ CREEK         MI     48473‐1614
HOLTZ, JAMES H           28445 KENDALLWOOD DR                                                                                        FARMINGTON HILLS     MI     48334‐2632

HOLTZ, JAMES K           2550 LATTA RD                                                                                               ROCHESTER            NY     14612
HOLTZ, JAMES L           PO BOX 1289                                                                                                 GRIFFIN              GA     30224‐0032
HOLTZ, JAMES W           8145 RUMFORD RD                                                                                             INDIANAPOLIS         IN     46219‐3960
HOLTZ, JAMES W           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                            NORFOLK              VA     23510‐2212
                                                              STREET, SUITE 600
HOLTZ, JOSEPH B          1288 3RD AVE                                                                                                WATERVLIET           NY     12189‐3303
HOLTZ, JOSEPH B          1288 3RD AVENUE                                                                                             WATERVLIET           NY     12189‐3303
HOLTZ, JUDITH A          3360 CHARLWOOD DR                                                                                           ROCHESTER HILLS      MI     48306‐3618
HOLTZ, KEITH FRANKLIN    11544 N 200 W                                                                                               HUNTINGTON           IN     46750‐9758
HOLTZ, LEROY A           4572 S 61ST ST                                                                                              GREENFIELD           WI     53220‐3901
HOLTZ, MARY S            43330 LA BELLE PLACE                                                                                        ASHBURN              VA     20147‐5249
HOLTZ, NICHELLE S        PO BOX 1289                                                                                                 GRIFFIN              GA     30224‐0032
HOLTZ, PHILIP M          422 MCGREGOR                                                                                                SAGINAW              MI     48602
HOLTZ, PHYLLIS J         BOX 117                              5547 SHEPPARD LANE                                                     INTERCESSION CITY    FL     33848‐0117

HOLTZ, PHYLLIS J         PO BOX 117                           5547 SHEPPARD LANE                                                     INTERCESSION CITY    FL     33848‐0117

HOLTZ, RANDY L           1356 137TH LN NW                                                                                            ANDOVER             MN      55304‐4000
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Name                       Address1                          Address2                      Address3   Address4               City             State Zip
HOLTZ, ROBERT              420 SAN CARLOS ROAD                                                                               MINOOKA            IL 60447‐9311
HOLTZ, ROBERT A            3232 W HAPPY HOLLOW RD                                                                            JANESVILLE        WI 53546‐9045
HOLTZ, ROBERT C            226 S DUNBAR ST # 244                                                                             POTTERVILLE       MI 48876
HOLTZ, ROBERT L            290 HICKORY LANE                                                                                  LENNON            MI 48449
HOLTZ, ROY K               114 OLD COLONY AVE                                                                                TONAWANDA         NY 14150‐8522
HOLTZ, SALLY A             211 S TENNESSEE AVE                                                                               DANVILLE           IL 61832‐6542
HOLTZ, SALLY A             211 TENNESSEE AVE                                                                                 DANVILLE           IL 61832‐6542
HOLTZ, SUE                 11544 N 200 W                                                                                     HUNTINGTON        IN 46750‐9758
HOLTZ, TERRY D             24190 US HIGHWAY 12                                                                               STURGIS           MI 49091‐8224
HOLTZ, VELVET              8427 241ST AVENUE NORTHEAST                                                                       STACY             MN 55079‐9316
HOLTZ, WILLIAM F           S83W17311 WOODS RD                                                                                MUSKEGO           WI 53150‐8875
HOLTZAPPLE, WILLIAM H      5083 7 MILE RD                                                                                    BAY CITY          MI 48706‐9714
HOLTZCLAW III, CHARLES W   2100 ROSWELL RD NE ST200C‐503                                                                     MARIETTA          GA 30062
HOLTZCLAW, DOLORES         616 CHARWOOD DR                                                                                   CINCINNATI        OH 45244‐1315
HOLTZCLAW, DOLORES         616 CHARWOOD CIRCLE                                                                               CINCINNATI        OH 45244‐1315
HOLTZCLAW, EDWARD W        4024 ALEXANDER LN                                                                                 BATAVIA           OH 45103‐3304
HOLTZCLAW, KEN F           4147 BROOKFIELD DR                                                                                CINCINNATI        OH 45245‐1818
HOLTZCLAW, TRAVIS L        1825 SPARROW RDG                                                                                  HAUGHTON          LA 71037‐7498
HOLTZER, VICTOR A          1703 MARQUETTE ST                                                                                 SAGINAW           MI 48602
HOLTZLEITER, CATHERINE J   1736 FRANKTON ROAD                                                                                ANDERSON          IN 46011
HOLTZLEITER, CLARENCE R    11978 E 850 S 27 R 2                                                                              HARTFORD CITY     IN 47348
HOLTZLEITER, JON C         2117 KITCHEN DR                                                                                   ANDERSON          IN 46017‐9658
HOLTZLEITER, STEPHEN L     733 AMBER CT                                                                                      ANDERSON          IN 46012‐1422
HOLTZLEITER, VINCENT P     3204 JAY DR                                                                                       ANDERSON          IN 46012‐1218
HOLTZMAN JR, WILLIAM J     16568 CONGRESS DR                                                                                 CLINTON TOWNSHIP MI 48038‐2772

HOLTZMAN, ANDREW A         109 SQUIRE ST                                                                                     DAYTON            OH    45449‐1155
HOLTZMAN, BOYD A           4360 LAMBETH DR                                                                                   DAYTON            OH    45424‐5932
HOLTZMAN, JULIE A          109 SQUIRE ST                                                                                     W CARROLLTON      OH    45449‐1155
HOLTZMAN, MARY L           4360 LAMBETH DR                                                                                   HUBER HEIGHTS     OH    45424‐5932
HOLTZMAN,JULIE A           109 SQUIRE ST                                                                                     W CARROLLTON      OH    45449‐1155
HOLTZNER, ELIZABETH T      2952 GOLDEN FLEECE DR                                                                             PASADENA          MD    21122
HOLUB JOHN (403721)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA    23510
                                                             STREET, SUITE 600
HOLUB, BEVERLY A           160 CAMBRIDGE LN                                                                                  NEWTOWN           PA    18940‐3327
HOLUB, CAROL M             34505 W SHARONDALE DR                                                                             SOLON             OH    44139‐3046
HOLUB, CLARENCE A          1321 CROYDON ST                                                                                   IRVING            TX    75062‐7438
HOLUB, DOROTHY F           4041 WOODS END RD                                                                                 CRYSTAL LAKE       IL   60012‐3028
HOLUB, EDWARD J            3547 N CAMPBELL RD                                                                                LAS VEGAS         NV    89129‐6194
HOLUB, IRENE               1 SANTA ANA TRAIL SOUTH                                                                           CORRALES          NM    87048
HOLUB, IRENE               1 SANTA ANA TRL S                                                                                 CORRALES          NM    87048‐9625
HOLUB, JEFFREY H           26 OTTAWA CT                                                                                      JUSTICE            IL   60458‐1071
HOLUB, JEFFREY S           4301 S OAKLEY RD                                                                                  JANESVILLE        WI    53546‐8927
HOLUB, JOHN                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA    23510‐2212
                                                             STREET, SUITE 600
HOLUB, JOHN M              527 RAVENNA RD                                                                                    NEWTON FALLS      OH    44444‐1564
HOLUB, JUDITH A            463 FOREST PARK BLVD                                                                              JANESVILLE        WI    53545‐4109
HOLUB, LEONARD R           463 FOREST PARK BLVD                                                                              JANESVILLE        WI    53545‐4109
HOLUB, MICHAEL E           5364 SCOTT ST                                                                                     NEWTON FALLS      OH    44444‐1890
HOLUB, ROBERT J            1134 ALIMA TER                                                                                    LA GRANGE PK      IL    60526‐1361
HOLUB, ROGER T             2801 COPLAND BLVD                                                                                 TOLEDO            OH    43614‐5605
HOLUB, STEFANIE            104 KENNEBECK CT APT 3                                                                            NORMAL            IL    61761‐4773
HOLUBA, DANIEL J           PO BOX 1697                                                                                       CLEARWATER        FL    33757‐1697
HOLUBIK, BEVERLY J         11717 SPENCER RD                                                                                  SAGINAW           MI    48609‐9138
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Name                             Address1                         Address2                      Address3                   Address4                 City               State   Zip
HOLUBIK, CRAIG C                 2856 RODESILER HWY                                                                                                 DEERFIELD           MI     49238‐9795
HOLUBIK, LILLIAN M               617 SILVERTON ST                 ATT: DONALD HOLUBIK                                                               ORLANDO             FL     32808‐8133
HOLUBIK, LILLIAN M               ATT: DONALD HOLUBIK              617 SILVERTON ST                                                                  ORLANDO             FL     32808
HOLUBIK, RONALD M                1415 COOLIDGE AVE                                                                                                  SAGINAW             MI     48638‐6700
HOLUNGA, OLIVIA A                9500 COOLEY LAKE RD                                                                                                WHITE LAKE          MI     48386‐3940
HOLUP, PATRICIA A                106 RUTGERS RD                                                                                                     PISCATAWAY          NJ     08854‐3438
HOLUP, STEPHEN F                 5665 COUNTY ROAD 1635                                                                                              CULLMAN             AL     35058‐1233
HOLUPKA, JOANN M                 315 IDYLWILD ST NW                                                                                                 WARREN              OH     44483‐3313
HOLUPKO, COREY C                 34211 RYAN RD                                                                                                      STERLING HTS        MI     48310‐6365
HOLUPKO, LON M                   34211 RYAN RD                                                                                                      STERLING HEIGHTS    MI     48310‐6365
HOLUPKO, LON M.                  34211 RYAN RD                                                                                                      STERLING HEIGHTS    MI     48310‐6365
HOLUPKO‐NOVAK, VIRGINIA M        17450 WESTGROVE DR                                                                                                 MACOMB              MI     48042‐3534
HOLVA, BERNARD J                 303 1ST ST                                                                                                         ADAH                PA     15410‐1127
HOLVERSON KAREN                  3874 WALNUT AVE                                                                                                    SIMI VALLEY         CA     93063‐1028
HOLVERSON OLE H (439148)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                       NORFOLK             VA     23510
                                                                  STREET, SUITE 600
HOLVERSON, OLE H                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                       NORFOLK             VA     23510‐2212
                                                                  STREET, SUITE 600
HOLVEY JR, JOHN A                2800 N ORR RD                                                                                                      HEMLOCK             MI     48626‐8407
HOLVEY, GEORGE L                 320 S JAMES ST                                                                                                     LUDINGTON           MI     49431‐2106
HOLVOET DANNY                    ZOMNELAAM 98                                                                              9870 ZULTE BELGUIM
HOLWEG, ILENE M                  7201 E BRISTOL RD                                                                                                  DAVISON             MI     48423
HOLWEG, ROBERT R                 7120 E ATHERTON RD                                                                                                 DAVISON             MI     48423‐2404
HOLWEGNER CLIFFORD M (629559)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                       NORFOLK             VA     23510
                                                                  STREET, SUITE 600
HOLWEGNER, CLIFFORD M            GLASSER AND GLASSER              CROWN CENTER                  580 EAST MAIN STREET STE                            NORFOLK             VA     23510
                                                                                                600
HOLWERDA, BRADLEY J              1970 PARKWOOD ST                                                                                                   JENISON            MI      49428
HOLWERDA, JOHN S                 3039 MARYLAND AVE NE                                                                                               GRAND RAPIDS       MI      49525‐3004
HOLWERDA, NELLIE L               6623 WEST H AVENUE                                                                                                 KALAMAZOO          MI      49009‐8557
HOLWERDA, S J                    3841 CAUSEWAY DR NE                                                                                                LOWELL             MI      49331‐9407
HOLWERDA, SHARON A               6902 CLARK RD                                                                                                      BATH               MI      48808‐8720
HOLWICK, KENNETH E               1255 EASTVIEW DR                                                                                                   SALEM              OH      44460‐1227
HOLWIG, HELEN H                  2711 AURORA DR                   C/O LINDA M. PETERSON                                                             LANSING            MI      48910‐3708
HOLWITZ, MICHAEL R               27 TINTON FALLS RD                                                                                                 FARMINGDALE        NJ      07727‐3696
HOLY CROSS ANES PAIN             PO BOX 64605                                                                                                       BALTIMORE          MD      21264‐4605
HOLY CROSS HOSPITAL              PO BOX 64722                                                                                                       BALTIMORE          MD      21264‐4722
HOLY CROSS HOSPITAL              ACCT OF MARY ANN LE BLANC
HOLY CROSS PHARM                 11550 INDIAN HILLS RD                                                                                              MISSION HILLS       CA     91345
HOLY CROSS PHARMACY              11550 INDIAN HILLS ROAD, SUITE                                                                                     MISSION HILLS       CA     91345
HOLY FAMILY CATHOLIC CHURCH      ATTN: ROGER PASIONEK             1525 S WASHINGTON AVE                                                             SAGINAW             MI     48601‐2895
HOLY FAMILY COLLEGE CONTINUING   GRANT AND FRANKFORD AVENUES                                                                                        PHILADELPHIA        PA     19114
EDUCATION OFFICE
HOLY FAMILY SCHOOL               17 N CONVENT AVE                                                                                                   NAZARETH            PA     18064‐1324
HOLY NAMES COLLEGE               3500 MOUNTAIN BLVD                                                                                                 OAKLAND             CA     94619‐1627
HOLY SPIRIT CATHOLIC CHURCH      1035 N RIVER RD                                                                                                    SAGINAW             MI     48609‐6833
HOLY, ALICE V                    4521 BROOKVILLE ROAD                                                                                               INDIANAPOLIS        IN     46201‐4703
HOLY, CATHERINE E                419 PASADENA AVE                                                                                                   CREST HILL          IL     60403
HOLY, JEFFREY A                  767 FIFTH AVE 14TH FLR                                                                                             NEW YORK            NY     10153
HOLY, LEO R                      3929 W PORTAGE ST                                                                                                  MILWAUKEE           WI     53209‐1928
HOLYCROSS, FRANCES P             609 SOUTH STRINGTOWN ROAD                                                                                          COVINGTON           IN     47932‐8004
HOLYCROSS, FRANCES P             1901 W STATE RD 32                                                                                                 COVINGTON           IN     47932‐8170
HOLYCROSS, GARY D                205 W SOUTH ST                                                                                                     FAIRMOUNT           IL     61841‐6418
HOLYCROSS, GARY W                707 E 9TH ST                                                                                                       GEORGETOWN          IL     61846‐1205
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Name                                  Address1                       Address2                      Address3   Address4               City              State   Zip
HOLYCROSS, JANET                      224 E DIVISION AVE                                                                             OSCODA             MI     48750‐1609
HOLYCROSS, RAYMOND D                  1715 BATESTOWN RD                                                                              DANVILLE            IL    61832‐5301
HOLYFIELD KENNETH                     HOLYFIELD, KENNETH             55 PUBLIC SQ STE 650                                            CLEVELAND          OH     44113‐1909
HOLYFIELD, BRIAN L                    4211 E HILL RD                                                                                 GRAND BLANC        MI     48439‐7971
HOLYFIELD, DORIS                      PORTER & MALOUF PA             4670 MCWILLIE DR                                                JACKSON            MS     39206‐5621
HOLYFIELD, JENNIFER R                 3118 MCCLURE AVENUE                                                                            FLINT              MI     48506‐2536
HOLYFIELD, MATTHEW
HOLYFIELD, MATTHEW                    27141 NORFOLK ST                                                                               INKSTER           MI      48141‐2305
HOLYFIELD, WILMER R                   PO BOX 242                                                                                     STERLINGTON       LA      71280‐0242
HOLYOKE TIRE & AUTO                   1274 DWIGHT ST                                                                                 HOLYOKE           MA      01040‐2307
HOLYS, LORRAINE G                     1321 HILAND STREET                                                                             SAGINAW           MI      48601‐3433
HOLYS, LORRAINE G                     1321 HILAND ST                                                                                 SAGINAW           MI      48601‐3433
HOLZ CHEVROLET BUICK PONTIAC GMC CA   1717 UTAH ST                                                                                   WATERTOWN         WI      53094‐7405

HOLZ CHEVROLET BUICK PONTIAC GMC      1717 UTAH ST                                                                                   WATERTOWN          WI     53094‐7405
CADILLAC
HOLZ HENRY J (410763)                 GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510
                                                                     STREET, SUITE 600
HOLZ MOTORS, INC.                     JEROME HOLZ                    5961 S 108TH PL                                                 HALES CORNERS     WI      53130‐2501
HOLZ MOTORS, INC.                     5961 S 108TH PL                                                                                HALES CORNERS     WI      53130‐2501
HOLZ, ARTHUR V                        110 WEST ORCHARD SPRINGS                                                                       DAYTON            OH      45415‐3119
HOLZ, ARTHUR V                        110 W ORCHARD SPRINGS DR                                                                       DAYTON            OH      45415‐3119
HOLZ, HENRY J                         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA      23510‐2212
                                                                     STREET, SUITE 600
HOLZ, JEAN                            80 N PORTAGE PATH APT 1B4                                                                      AKRON             OH      44303‐1102
HOLZ, JEAN                            80 N PORTAGE PATH              APT 1B4                                                         AKRON             OH      44303
HOLZ, MARK S                          37994 WEBER RD                                                                                 RICHMOND          MI      48062‐3122
HOLZ, PATRICIA M                      8525 TIMBERLINE                                                                                UTICA             MI      48316‐4560
HOLZ, ROBERT C                        19114 HOMEWAY RD                                                                               CLEVELAND         OH      44135‐4034
HOLZ, RUTH H                          115 ROBIN HILL DR                                                                              RACINE            WI      53406‐3531
HOLZ, STEVEN L                        37994 WEBER RD                                                                                 RICHMOND          MI      48062‐3122
HOLZ, TODD A                          2843 ALLISON LN                                                                                HIGHLAND          MI      48357‐3162
HOLZ, TODD ALLEN                      2843 ALLISON LN                                                                                HIGHLAND          MI      48357‐3162
HOLZAPFEL, HERMAN A                   706 TOWNSEND ST                                                                                CAMBRIDGE         WI      53523‐9206
HOLZBACH, HAROLD J                    1592 NILES CORTLAND RD.                                                                        WARREN            OH      44484‐4484
HOLZBAUR, GAIL M                      2116 NUREMBERG BLVD                                                                            PUNTA GORDA       FL      33983
HOLZBAUR, W RUFUS                     2116 NUREMBERG BOULEVARD                                                                       PUNTA GORDA       FL      33983‐2650
HOLZEL LARRY                          HOLZEL, LARRY                  22260 HAGGERTY RD STE 250                                       NORTHVILLE        MI      48167‐8985
HOLZEL, KATY G                        2155 BLACKTHORN DR                                                                             BURTON            MI      48509‐1201
HOLZEM STEPHEN                        1401 ROCK LN                                                                                   WASHINGTON        MO      63090‐1419
HOLZEMER, THOMAS                      9769 EYOTA WAY                                                                                 ONAMIA            MN      56359‐7936
HOLZEN, DONALD J                      25335 AFTON ST                                                                                 SELFRIDGE ANGB    MI      48045‐3101
HOLZENTHAL, KATE B                    3928‐A SOUTHDOWN MANDALAY RD                                                                   HOUMA             LA      70360
HOLZER CLINIC INC                     90 JACKSON PIKE                                                                                GALLIPOLIS        OH      45631‐1560
HOLZER DONALD                         12095 AVENIDA CONSENTIDO                                                                       SAN DIEGO         CA      92128‐3246
HOLZER JOSEPH                         HOLZER, JOSEPH                 2464 BUCIDA DR                                                  SARASOTA          FL      43232
HOLZER KARL                           2670 WALBRIDGE RD                                                                              ROCHESTER HILLS   MI      48307‐4455
HOLZER, DANIEL                        329 WENTWORTH CT                                                                               MELBOURNE         FL      32934‐8022
HOLZER, DANIEL R                      2318 SPRUCE HILL DR                                                                            FARWELL           MI      48622‐9623
HOLZER, FRANK W                       PO BOX 9022                    C/O RAYONG                                                      WARREN            MI      48090‐9022
HOLZER, FRANZ X                       53401 SHELBY RD                                                                                SHELBY TOWNSHIP   MI      48316‐2262
HOLZER, JEFFREY S                     2081 ELKRIDGE CIR                                                                              HIGHLAND          MI      48356‐2483
HOLZER, JEFFREY SCOTT                 2081 ELKRIDGE CIR                                                                              HIGHLAND          MI      48356‐2483
HOLZER, JOSEPH                        2464 BUCIDA DR                                                                                 SARASOTA          FL      34232‐4202
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Name                                 Address1                        Address2                        Address3   Address4                City            State   Zip
HOLZER, KARL H                       2670 WALBRIDGE RD                                                                                  ROCHESTER HLS    MI     48307‐4455
HOLZER, PHILLIP R                    3730 CADBURY CIR APT 603                                                                           VENICE           FL     34293
HOLZER, PHYLLIS E                    5201 DESOTO RD APT 201                                                                             SARASOTA         FL     34235‐3623
HOLZER, RALPH W                      1440 ALBERTA AVE                                                                                   BURTON           MI     48509‐2111
HOLZER, RITA M                       6517 E MAPLE RD                                                                                    GRAND BLANC      MI     48439‐9009
HOLZER, RITA M                       6517 E MAPLE AVE                                                                                   GRAND BLANC      MI     48439‐9009
HOLZER, RUDY A                       108 CONCORD DR                                                                                     COLUMBIA         TN     38401‐7200
HOLZER, WALTER J                     3920 N. GREEN BAY RD. RM‐31                                                                        RACINE           WI     53404
HOLZER, WILLIAM G                    15 PIPER RD APT J117                                                                               SCARBOROUGH      ME     04074‐7552
HOLZERLAND, JOHN A                   505 ROCKY FLATS RD.                                                                                COSBY            TN     37722‐3805
HOLZHAUER AUTO & TRUCK SALES, INC.   BRAD HOLZHAUER                  17934 HOLZHAUER AUTOMALL DR                                        NASHVILLE         IL    62263‐3424

HOLZHAUER AUTO & TRUCK SALES, INC.   17934 HOLZHAUER AUTOMALL DR                                                                        NASHVILLE        IL     62263‐3424

HOLZHAUER MOTORS, LTD.               DANIEL WINCHELL                 1601 N 2ND ST                                                      CHEROKEE        IA      51012‐2231
HOLZHAUER MOTORS, LTD.               1601 N 2ND ST                                                                                      CHEROKEE        IA      51012‐2231
HOLZHAUER, DONALD E                  3803 COLLINGWOOD ST                                                                                MIDLAND         MI      48642
HOLZHAUER, MARJORIE F                1126 E 3RD ST                                                                                      MESA            AZ      85203‐8004
HOLZHAUER, PAUL W                    PO BOX 258                                                                                         ATTICA          OH      44807‐0258
HOLZHAUSEN, ALAN D                   5685 GOLF POINTE DR                                                                                CLARKSTON       MI      48348‐5148
HOLZHAUSEN, DARYL R                  2175 VAN DYKE                                                                                      IMLAY CITY      MI      48444
HOLZHAUSEN, DARYL R                  1016 BENNETT CEMETERY RD                                                                           CUSTER          KY      40115
HOLZHAUSEN, DONALD J                 4700 CLEAR LAKE SHORES                                                                             GRASS LAKE      MI      49240
HOLZHAUSEN, DONALD L                 7655 WERKNER RD                                                                                    CHELSEA         MI      48118‐9516
HOLZHAUSEN, GENE A                   600 W DEWEY RD                                                                                     OWOSSO          MI      48867‐8977
HOLZHAUSEN, MARK A                   10140 SCRIBNER RD                                                                                  BANCROFT        MI      48414‐9759
HOLZHAUSEN, VIRGINIA A               6 S CHERRY ST APT 22                                                                               LEBANON         OH      45036‐2602
HOLZHAUSEN, WILLIAM C                3831 EASTON RD RT 2                                                                                OWOSSO          MI      48867
HOLZHAUSER, MARIANNE                 2977 SUNSHINE                                                                                      WATERFORD       MI      48329‐2976
HOLZHAUSER, TAMMY R                  332 TOWSON DR NW                                                                                   WARREN          OH      44483‐1733
HOLZHAUSER, WARREN G                 13216 RT. 61                                                                                       COLLINS         OH      44826
HOLZHEU, BEVERLY S                   17527 CHERRY DR                                                                                    EDEN PRAIRIE    MN      55346‐1238
HOLZHEUER, BARBARA J                 710 UNION ST                                                                                       OWOSSO          MI      48867‐3949
HOLZHEUER, BARBARA J                 710 UNION AVENUE                                                                                   OWOSSO          MI      48867‐3949
HOLZHOFER, MARTIN D                  8649 S LOOMIS RD LOT 17                                                                            SHEPHERD        MI      48883‐9096
HOLZINGER, CARL F                    422 VALLEYCREST DR                                                                                 DAYTON          OH      45404‐2223
HOLZINGER, ERIC                      APT 26                          500 NEW YORK AVENUE                                                DUNEDIN         FL      34698‐7859
HOLZINGER, HEINRICH                  1205 ELIDA ST                                                                                      JANESVILLE      WI      53545‐1807
HOLZINGER, JOHN F                    5615 CLIFFSIDE CT                                                                                  BALTIMORE       MD      21225‐2938
HOLZINGER, RICHARD                   35922 500TH LN                                                                                     PALISADE        MN      56469‐2171
HOLZKE, HERMAN                       19945 CALUMET DR                                                                                   CLINTON TWP     MI      48038‐1457
HOLZL JOCHEN                         EDUARD ZIEGLER                  STR 29A                                    8522A DACHAU GERMANY
HOLZL, ANN E                         6720 PARK BLVD #81                                                                                 PINELLAS PK      FL     34665‐3020
HOLZMAN & HOLZMAN                    ACT OF K PATTERSON 96‐1294      20300 CIVIC CENTER DR STE 203                                      SOUTHFIELD       MI     48076
HOLZMAN AND HOLZMAN                  ACCT OF ADRIAN MILLER           20300 CIVIC CENTER DR STE 203                                      SOUTHFIELD       MI     48076
HOLZMAN AND HOLZMAN                  ACCT OF MARJOYCIE BAILEY WISE   20300 CIVIC CNTR DR STE 203                                        SOUTHFIELD       MI     48076
HOLZMAN LEROY R (354925)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510
                                                                     STREET, SUITE 600
HOLZMAN, FLORENCE S                  1721 DUNES CLUB PL                                                                                 AMELIA ISLAND    FL     32034‐6671
HOLZMAN, GARY L                      2743 CALEDONIA ST                                                                                  NEWFANE          NY     14108‐1301
HOLZMAN, LEROY R                     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510‐2212
                                                                     STREET, SUITE 600
HOLZMAN, RITTER & LUDUC              20300 CIVIC CENTER DR STE 203                                                                      SOUTHFIELD       MI     48076
HOLZMAN, ROBERT T                    1721 DUNES CLUB PL                                                                                 AMELIA ISLAND    FL     32034‐6671
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Name                            Address1                        Address2               Address3      Address4               City             State   Zip
HOLZMAN, THELMA I               2370 GRAYSTONE DRIVE                                                                        OKEMOS            MI     48864‐3239
HOLZMANN, DALE R                PO BOX 34                                                                                   SHANKSVILLE       PA     15560‐0034
HOLZOPFEL, JANE                 1206 S ZANE HWY                                                                             MARTINS FERRY     OH     43935‐1966
HOLZOPFEL, RONALD
HOLZSCHUH, LOUISE M             3253 CLARKSON PARMA T.L. RD.    C/O JOSEPH HOLZSCHUH                                        BROCKPORT        NY      14420‐4420
HOLZSCHUH, PHILLIP A            4506 CASTLE DR                                                                              MIDLAND          MI      48640‐3429
HOLZSCHUH, ROBERT J             1750 ELM TRACE ST                                                                           AUSTINTOWN       OH      44515‐4802
HOLZWARTH, ANNA                 1016 PLEASANTVIEW DR                                                                        FLUSHING         MI      48433‐1436
HOLZWARTH, CHARLENE D.          5131 CANAL AVE SW                                                                           WYOMING          MI      49418‐9370
HOLZWARTH, DALLAS L             300 E 12TH ST                                                                               MIO              MI      48647‐9642
HOLZWARTH, GARY F               10345 W PIERSON RD                                                                          FLUSHING         MI      48433‐9767
HOLZWARTH, JAMES C              7555 COUNTY ROAD 160                                                                        SALIDA           CO      81201‐8518
HOLZWARTH, RICHARD D            248 BROOKS LANDING DR                                                                       WINSTON SALEM    NC      27106‐4361
HOLZWARTH, RONALD W             440 WAKEFIELD RD                                                                            GOLETA           CA      93117‐2107
HOLZWORTH, ADAM L               782 HANLEY RD W                                                                             MANSFIELD        OH      44904‐1560
HOLZWORTH, BETTY D              1911 SW CAMPUS DR               #744                                                        FEDERAL WAY      WA      98023
HOLZWORTH, GEORGE E             10807 STACY RUN                                                                             FREDERICKSBURG   VA      22408‐8040
HOLZWORTH, HAROLD L             59 JUDY DR                                                                                  MARTINSVILLE     IN      46151‐4316
HOLZWORTH, JAMES D              5723 UP‐A‐WAY DRIVE                                                                         FREDERICKSBURG   VA      22407
HOLZWORTH, JUSTIN E             9555 MEADOWS ROAD                                                                           LOCUS GROVE      VA      22408‐9745
HOLZWORTH, MICHAEL L            442 N MCELROY RD                                                                            MANSFIELD        OH      44905‐2706
HOLZWORTH, ROBERT J             2118 BROOKSIDE LN                                                                           AURORA           IL      60502‐1370
HOLZWORTH, RODNEY C             5414 SW 315TH ST                                                                            FEDERAL WAY      WA      98023‐2035
HOLZWORTH, WENDOVER P           3607 TATTERSHALL DR                                                                         GREENSBORO       NC      27410‐9050
HOLZWORTH, WILLIAM J            1221 RANDY AVE                                                                              MANSFIELD        OH      44905‐2224
HOM JR., BOCK H                 1739 STOKESLEY RD                                                                           BALTIMORE        MD      21222‐4838
HOM QUEENIE                     5652 W FOLLEY ST                                                                            CHANDLER         AZ      85226‐4414
HOM, AMY B                      2051 PEARCE CIR                                                                             SALEM            OH      44460‐1884
HOM, AMY BIRK                   2051 PEARCE CIR                                                                             SALEM            OH      44460‐1884
HOM, DAVID                      29401 PARK PLACE DR                                                                         WARREN           MI      48093‐2329
HOMA BUFF                       205 CHURCHILL ST                                                                            DARLINGTON       SC      29532‐3705
HOMA PETER M (656215)           BELLUCK & FOX LLP               546 5TH AVE #4                                              NEW YORK         NY      10036‐5000
HOMA, ALFREDA                   33 SAINT FLORIAN ST                                                                         BUFFALO          NY      14207‐2320
HOMA, ALFREDA                   33 ST FLORIAN ST                                                                            BUFFALO          NY      14207‐2320
HOMA, BRENDA K                  667 LAURELWOOD DR SE                                                                        WARREN           OH      44484‐2420
HOMA, ELAINE                    5808 AMBOY ST                                                                               DEARBORN HTS     MI      48127‐2812
HOMA, LEONARD G                 5416 REDLAND DR                                                                             SAN DIEGO        CA      92115‐2212
HOMA, NANCY B                   656 YOUNGSTOWN KINGSVILL                                                                    VIENNA           OH      44473‐9605
HOMA, PAUL W                    656 YOUNGSTOWN KINGSVILLE                                                                   VIENNA           OH      44473‐9605
HOMA, PETER M                   BELLUCK & FOX LLP               5465 5TH AVE #4                                             NEW YORK         NY      10036‐5000
HOMA, WILLIAM M                 5808 AMBOY ST                                                                               DEARBORN HTS     MI      48127‐2812
HOMAC, RICHARD                  42 ROSEMEAD LN                                                                              CHEEKTOWAGA      NY      14227‐1329
HOMAC, ROBERT                   13321 1ST ST E B                                                                            MADEIRA BEACH    FL      33708
HOMAGE, FRANK                   758 E 348TH ST                                                                              EASTLAKE         OH      44095‐2420
HOMAN AUTO SALES, INC.          MARK HOMAN                      240 GATEWAY DR                                              WAUPUN           WI      53963‐2288
HOMAN CHEVROLET BUICK PONTIAC   240 GATEWAY DR                                                                              WAUPUN           WI      53963‐2288
HOMAN WAYNE (358003)            ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                         NEW YORK         NY      10006‐1638
HOMAN, ALLEN L                  PO BOX 25551                                                                                KANSAS CITY      MO      64119‐0851
HOMAN, ALLEN L                  29885 PLEASANT VALLEY RD                                                                    PAOLA            KS      66071‐4315
HOMAN, ALTA M                   1762 GARDEN DR                                                                              JANESVILLE       WI      53546‐5626
HOMAN, BETTY S                  26 WAINWRIGHT DR                                                                            DAYTON           OH      45431‐1360
HOMAN, BRIAN F                  1762 GARDEN DR                                                                              JANESVILLE       WI      53546‐5626
HOMAN, DALE
HOMAN, DAVID B                  4222 W HANOVER RD                                                                           JANESVILLE        WI     53548‐9204
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Name                       Address1                             Address2                           Address3   Address4                     City            State   Zip
HOMAN, DAVID E             115 NW HARLEM RD APT 284                                                                                        KANSAS CITY      MO     64116
HOMAN, DONALD C            1025 N PINE ST                                                                                                  JANESVILLE       WI     53548‐1542
HOMAN, DORIS               301 GLENWOOD DR APT I                                                                                           DEFIANCE         OH     43512
HOMAN, ELEANORE M          3830 MONACA AVE                                                                                                 YOUNGSTOWN       OH     44511‐2515
HOMAN, HAROLD
HOMAN, JEFFERY G           8 MOZART WAY                                                                                                    NEWARK          DE      19702‐3019
HOMAN, JEFFREY L           6455 FAUST DR                                                                                                   SHREVEPORT      LA      71129‐4309
HOMAN, JOHN F              16050 CAMBELL DR                                                                                                MACOMB          MI      48044‐2516
HOMAN, KEELA I             6017 NW 51ST TER                                                                                                KANSAS CITY     MO      64151
HOMAN, KEVIN M             1218 TERAPIN TRL                                                                                                JANESVILLE      WI      53545‐7812
HOMAN, KRISTY L            2728 E PLEASANT RD                                                                                              MILTON          WI      53563‐9471
HOMAN, LESTER              2307 STATE ST                                                                                                   CHESTER         IL      62233‐1145
HOMAN, MARK
HOMAN, MARY H              1005 E LINDEN AVE                                                                                               MIAMISBURG      OH      45342‐3463
HOMAN, RICHARD A           4465 HOLLY SHORES CT                                                                                            HOLLY           MI      48442‐1829
HOMAN, RICHARD ALLAN       4465 HOLLY SHORES CT                                                                                            HOLLY           MI      48442‐1829
HOMAN, ROBERT L            320 PECAN DR NE                                                                                                 DEMING          NM      88030‐9000
HOMAN, ROBERT L            320 PECAN DR                                                                                                    DEMING          NM      88030
HOMAN, ROSALIE             WILSON LAW                           PO BOX 69                                                                  SAINT MARYS     OH      45885‐0069
HOMAN, ROSALIE             JEFFRIES KUBE FORREST & MONTELEONE   1650 MIDLAND BUILDING , 101                                                CLEVELAND       OH      44115
                           CO L.P.A.                            PROSPECT AVENUE WEST
HOMAN, ROSALIE             LOWE EKLUND WAKEFIELD L.L.P.         610 SKYLIGHT OFFICE TOWER , 1660                                           CLEVELAND       OH      44113
                                                                WEST SECOND ST
HOMAN, ROY L               329 PENNSYLVANIA ST                                                                                             PARKER CITY      IN     47368‐9114
HOMAN, STEPHEN M           9234 YORKSHIRE DR                                                                                               SALINE           MI     48176‐9442
HOMAN, TONY
HOMAN, WAYNE               ANGELOS PETER G LAW OFFICE           115 BROADWAY FRNT 3                                                        NEW YORK        NY      10006‐1638
HOMAN, WILLIAM J           5675 CHIMMEY CIRCLE                  APT 1A                                                                     KATTERING       OH      45440‐5440
HOMAN, WILLIAM J           5675 CHIMNEY CIR APT 1A                                                                                         KETTERING       OH      45440‐4217
HOMANN ROLLIN L (472072)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                NORFOLK         VA      23510
                                                                STREET, SUITE 600
HOMANN VERNETTE            13 CREEKWOODS TRL                                                                                               HIGHLAND         IL     62249‐2826
HOMANN, CONSTANCE P        47 QUARRY RIDGE ROAD                                                                                            CLINTON          NJ     08809‐1224
HOMANN, ROBERT R           1075 FARMINGDALE RD                                                                                             JACKSON          NJ     08527‐1374
HOMANN, ROBERT R           47 QUARRY RIDGE ROAD                                                                                            CLINTON          NJ     08809‐1224
HOMANN, ROLLIN L           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA     23510‐2212
                                                                STREET, SUITE 600
HOMANS, CLARA B            613 WILSON AVE                                                                                                  MOUNT MORRIS    MI      48458
HOMANS, ROBERT R           3487 CASTLERIDGE DR                                                                                             TUCKER          GA      30084‐3908
HOMANS, ROSEMARY           1324 HOUSTON DRIVE                                                                                              SPWARTZ CREEK   MI      48473
HOMANS,JILL S              4190 LAKE RD                                                                                                    LONDON          OH      43140‐9563
HOMAR VANBUREN             3201 N TACOMA AVE                                                                                               INDIANAPOLIS    IN      46218‐2039
HOMBERG, VIRGINIA M        41600 JANET CIR                                                                                                 CLINTON TWP     MI      48038‐2053
HOMBERGER TRUCKING INC     1711 SAWMILL PKWY                                                                                               HURON           OH      44839‐2232
HOMBURG, ORVILLE F         4928 N OLD ORCHARD DR                                                                                           JANESVILLE      WI      53545‐9600
HOMBURGER                  WEINBERGSTRASSE 56 58                                                              ZURICH CH 8006
                                                                                                              SWITZERLAND
HOMCO DAMON J              4 CELESTIAL RIDGE DR                                                                                            SAINT PETERS    MO      63376
HOMCO, DAMON J             4 CELESTIAL RIDGE DR                                                                                            ST PETERS       MO      63376
HOMCO, DAMON J             4 CELESTIAL RDG                                                                                                 SAINT PETERS    MO      63376‐3068
HOMCO, JUELL B             469 HARDY RD                                                                                                    TROY            MO      63379‐5406
HOMCO, LISA S              4 CELESTIAL RDG                                                                                                 SAINT PETERS    MO      63376‐3068
HOME & PARK MOTORHOMES     JEFF HANEMAAYER                      100 SHIRLEY AVE                               KITCHENER, ON CANADA
                                                                                                              CANADA
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Name                            Address1                             Address2                     Address3    Address4                   City               State Zip
HOME BUILDERS & REMODELERS OF   3675 JAMES ST                                                                                            SYRACUSE            NY 13206‐2447
CENTRAL NEW YORK
HOME BUILDERS ASSN              4262 SOMERS DR                                                                                           BURTON             MI   48529‐2281
HOME BUILDERS ASSOCIATION OF    1911 INDIAN WOOD CIR STE A                                                                               MAUMEE             OH   43537‐4063
GREATER TOLEDO INC
HOME BUILDERS ASSOCIATION OF    1911 INDIAN WOOD CIR STE A                                                                               MAUMEE             OH   43537‐4063
GREATER TOLEDO, INC.
HOME BUILDERS ASSOCIATION OF    ATTN: CORPORATE OFFICER/AUTHORIZED   1911 INDIAN WOOD CIR STE A                                          MAUMEE             OH   43537‐4063
GREATER TOLEDO, INC.            AGENT
HOME BUILDING WORKSHOPS         28444 GITA ST                                                                                            LIVONIA            MI   48154‐4669
HOME CITY ICE CO INC, THE       2000 DR MARTIN LUTHER KING JR ST                                                                         INDIANAPOLIS       IN   46202‐1156
HOME CITY ICE/ POLAR ICE        PO BOX 111116                                                                                            CINCINNATI         OH   45211‐1116
HOME COMFORT NOW LLC            96 HOPE VALLEY RD                                                                                        AMSTON             CT   06231‐1310
HOME DEPOT                      2065 NIAGARA FALLS BLVD                                                                                  AMHERST            NY   14228‐3518
HOME DEPOT                      4245 E COURT ST                                                                                          BURTON             MI   48509‐1719
HOME DEPOT                      ATTN: SHANE SEGER                    1035 W ALEXIS RD                                                    TOLEDO             OH   43612‐4201
HOME DEPOT CANADA               ATTN: CORPORATE OFFICER/AUTHORIZED   2737 PACES FERRY RD          BLDG B‐10                              ATLANTA            GA   30339
                                AGENT
HOME DEPOT CANADA, THE          1700 VICTORIA ST E                                                            WHITBY ON L1N 9K6 CANADA

HOME DEPOT COMMERCIAL CREDIT    PO BOX 6536                                                                                              THE LAKES          NV   89163‐0001
HOME DEPOT INC, THE
HOME DEPOT INC, THE             1222 W HILL RD                                                                                           FLINT              MI   48507‐4762
HOME DEPOT OF CANADA INC        2737 PACES FERRY RD BLDG B‐10                                                                            ATLANTA            GA   30339
HOME DEPOT OF CANADA INC.       900‐1 CONCORDE GATE                  SUTE 900                                 NORTH YORK ON M3C 4H9
                                                                                                              CANADA
HOME DEPOT USA INC              1222 W HILL RD                                                                                           FLINT              MI   48507‐4762
HOME DEPOT USA INC
HOME DETAILS                    ATTN: MARCIA SUMMERVILLE             4193 GRONDINWOOD LN                                                 MILFORD            MI   48380‐4224
HOME DETAILS INC                4193 GRONDINWOOD LN                                                                                      MILFORD            MI   48380‐4224
HOME HEALTH OUTREACH            2251 N SQUIRREL RD                                                                                       AUBURN HILLS       MI   48326
HOME HEALTH SERVICES            1275 N HIGH ST                                                                                           HILLSBORO          OH   45133‐8273
HOME INFUSION AND DM            4020 GREENWOOD RD                                                                                        SHREVEPORT         LA   71109‐6411
HOME LUMBER COMPANY             8347 BLAKELAND DR                                                                                        LITTLETON          CO   80125‐9701
HOME MEDICAL CONSULT            PO BOX 251625                                                                                            WEST BLOOMFIELD    MI   48325‐1625

HOME MEDICAL SUPPLY,            8299 SLUSSER RD                                                                                          BATAVIA            NY   14020‐9447
HOME MOTORS                     1313 E MAIN ST                                                                                           SANTA MARIA        CA   93454‐4703
HOME PARAMOUNT PEST CONTROL     ANTHONY BATTAGLIA                    2011 ROCK SPRING RD                                                 FOREST HILL        MD   21050‐2600
HOME RUN INC                    1299 LAVELLE DR                                                                                          XENIA              OH   45385‐5675
HOME SAVINGS OF AMERICA         2500 PELLISSIER PL                                                                                       CITY OF INDUSTRY   CA   90601‐1505
HOME TECH CONSTRUCTION          ATTN: CHRISTOPHER CAUSEY             235 WREN LN                                                         JANESVILLE         WI   53546‐2987
HOMEFRONT TRANSPORT INC         PO BOX 37                                                                                                WEDRON             IL   60557‐0037
HOMEISTER II, RICHARD K         2481 20TH ST                                                                                             WYANDOTTE          MI   48192‐4425
HOMELAND DEFENSE JOURNAL INC    1421 JEFFERSON DAVIS HIGHWAY                                                                             ARLINGTON          VA   22202
                                JEFFERSON PLAZA STE 710
HOMELINK                        PO BOX 78492                                                                                             MILWAUKEE          WI   53278‐0492
HOMEN, JOHN A                   1830 MIAMI AVE                                                                                           KINGMAN            AZ   86401‐4023
HOMEN, STEPHANIE N              115 CRYSTAL AVENUE                                                                                       BUFFALO            NY   14220‐1841
HOMENKO, NICK                   8303 WHITTINGTON DR                                                                                      PARMA              OH   44129‐3513
HOMENOCK, BORIS                 21303 BARTH POND LN                                                                                      CREST HILL         IL   60403‐1523
HOMENT, BETTY A                 1342 S LINVILLE ST                                                                                       WESTLAND           MI   48186‐4156
HOMER ( FUGATE                  1113 DAYKET CIRCLE                                                                                       MIAMISBURG         OH   45342‐1917
HOMER A PENDLETON               1178 MERCY SEAT ROAD                                                                                     WESSON             MS   39191
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Name                                Address1                        Address2                     Address3   Address4               City            State   Zip
HOMER ACRES                         125 VALLEY VIEW DR                                                                             SCOTTSVILLE      KY     42164‐8375
HOMER ADDINGTON                     PO BOX 55163                                                                                   LEXINGTON        KY     40555‐5163
HOMER AKERS                         3044 S STATE ROUTE 48                                                                          LUDLOW FALLS     OH     45339‐8761
HOMER AMOS                          79 CRYSTAL LANE RT 1                                                                           BISMARCK          IL    61814
HOMER AND NADINE CARTER             6137 N DREXEL                                                                                  OKLAHOMA CITY    OK     73112
HOMER ANDERSON                      626 SAN BERNARDINO TRL                                                                         UNION            OH     45322‐3029
HOMER ARNOLD                        371 BECK RD APT 2115                                                                           WIXOM            MI     48393‐2113
HOMER BABCOCK JR                    7307 WESTWOOD DRIVE                                                                            ELLENTON         FL     34222‐3817
HOMER BALDWIN                       1930 WINGFIELD CIR                                                                             JACKSON          MS     39209‐7101
HOMER BARR                          4025 E BLANCHE DR                                                                              PHOENIX          AZ     85032‐4708
HOMER BENTLEY                       P.O. 192 STATE ROUTE 7                                                                         LACKEY           KY     41643
HOMER BERRY                         1415 E BRISTOL RD                                                                              BURTON           MI     48529‐2213
HOMER BETZ                          218 WHITE ST                                                                                   BLISSFIELD       MI     49228‐1344
HOMER BIGGS                         19175 OHIO ST                                                                                  DETROIT          MI     48221‐3225
HOMER BLOSS                         3775 BULL RUN LN                                                                               MARIANNA         FL     32446‐8309
HOMER BLUE                          2124 E ADELAIDE AVE                                                                            SAINT LOUIS      MO     63107‐1018
HOMER BOLTON                        303 RUGBY AVE                                                                                  JAMESTOWN        TN     38556‐3844
HOMER BOND                          G4186 CORUNNA RD                ECONOMY INN                                                    FLINT            MI     48532‐4314
HOMER BOSTON                        1600 LEE LN                                                                                    PLEASANT HILL    MO     64080‐1104
HOMER BOTTOMLEY JR                  2240 E HAWTHORNE ST                                                                            TUCSON           AZ     85719‐4940
HOMER BOWERSOCK                     6690 RALEY RD                                                                                  NEW WATERFORD    OH     44445‐9750
HOMER BOWMAN                        3871 BORDEAUX DR                                                                               PUNTA GORDA      FL     33950‐7911
HOMER BRADY                         G4461 VAN SLYKE RD                                                                             FLINT            MI     48507‐3541
HOMER BREEDEN                       420 CONNATSER LN                                                                               SEVIERVILLE      TN     37876‐6256
HOMER BROOKS                        2433 STOCKRIDGE AVE                                                                            BURTON           MI     48509
HOMER BROWN                         890 GREENWOOD ACRES DR                                                                         CUMMING          GA     30040‐8337
HOMER BROWN                         3936 N 00 EW                                                                                   KOKOMO           IN     46901‐5926
HOMER BROWNING                      820 SHEFFIELD RD                                                                               SHEFFIELD LK     OH     44054‐2135
HOMER BRUFFEY                       42926 BRUFFY LN                                                                                CALDWELL         OH     43724‐9631
HOMER BRYANT                        RR 1 BOX 561                                                                                   HARTS            WV     25524‐9623
HOMER C BUSLER & HOMER D BUSLER &   425 FORSYTHE STREET                                                                            BIRMINGHAM       AL     39214‐2619
GLENNA JO PHILO
HOMER C HARPER                      2372 STATE ROUTE 132                                                                           CLARKSVILLE     OH      45113‐9676
HOMER C ROGERS SR.                  118 MARTZ AVE                                                                                  DAYTON          OH      45403‐2621
HOMER CANTRELL                      3741 WINDY HILL CIR                                                                            GAINESVILLE     GA      30504‐5737
HOMER CASTLE                        5144 CRAWFORD TOMS RUN RD                                                                      BROOKVILLE      OH      45309‐9751
HOMER CHANDLER                      4502 MILL RUN RD                                                                               LEXINGTON       OH      44904‐9598
HOMER CHRISTOPHER                   BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.     OH      44236
HOMER CLAUDE MONEY SR               C/O WEITZ & LUXENBERG PC        700 BROADWAY                                                   NEW YORK CITY   NY      10003
HOMER CLAUDE MONEY SR               C/0 WEITZ & LUXENBERG PC        700 BROADWAY                                                   NEW YORK CITY   NY      10003
HOMER CLEMONS                       391 SCHOOL RD                                                                                  WILMINGTON      OH      45177‐8913
HOMER COLLINS                       703 E BROADWAY ST                                                                              THREE RIVERS    MI      49093‐1733
HOMER COPLEY                        4715 SCARFF RD                                                                                 NEW CARLISLE    OH      45344‐8663
HOMER COUCH                         10578 E 662 S                                                                                  UPLAND          IN      46989‐9432
HOMER CRENSHAW                      368 W 25TH ST                                                                                  INDIANAPOLIS    IN      46208‐5649
HOMER CROSBY                        2901 DUANE PALMER BLVD                                                                         SEBRING         FL      33876‐6333
HOMER CROWDER                       1064 JUDSON CT                                                                                 GREENCASTLE     IN      46135‐1426
HOMER CRUCE                         715 EDWARDS ST                                                                                 UNION CITY      TN      38261‐5335
HOMER CUMMINGS                      3690 KROES ST NE                                                                               ROCKFORD        MI      49341‐7434
HOMER CUMMINGS JR                   10979 ALPINE DR                                                                                LAKE            MI      48632‐9724
HOMER CURLEY                        5850 DOWNING DR                                                                                INDIANAPOLIS    IN      46228‐1636
HOMER D MULLINS                     3001 ACKERMAN BLVD                                                                             DAYTON          OH      45429
HOMER D TAYLOR                      4220 N GENESEE RD                                                                              FLINT           MI      48506‐1516
HOMER DAVIS                         18790 ALHAMBRA AVE                                                                             LATHRUP VLG     MI      48076‐2522
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Name                 Address1                        Address2                     Address3   Address4               City              State   Zip
HOMER DAVIS JR       1835 MOSSWOOD                                                                                  KINGSLAND          TX     78639‐6014
HOMER DE WATERS      718 TUMBLEWEED LN APT 201                                                                      CHARLOTTE          MI     48891‐7522
HOMER DECKER         5322 DILLON RD                                                                                 FLUSHING           MI     48433‐9706
HOMER DILLS          341 RAYMOND AVE NW                                                                             WARREN             OH     44483‐1155
HOMER DILLS          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
HOMER DORRIS         4401 TRUMBULL DR                                                                               FLINT              MI     48504‐3757
HOMER DUDLEY         1105 HIGHLAND DR                                                                               ARLINGTON          TX     76010‐7915
HOMER DUDLEY         1052 S WALNUT GROVE RD                                                                         MIDLOTHIAN         TX     76065‐6208
HOMER DYE            148 LIGHTNER LN                                                                                UNION              OH     45322‐2917
HOMER E BOSTON       1600 LEE LN                                                                                    PLEASANT HILL      MO     64080‐1104
HOMER E DILLS        341 RAYMOND ST.                                                                                WARREN             OH     44483
HOMER E FARRAR       C/O OBRIEN LAW FIRM             815 GEYER AVE                                                  SAINT LOUIS        MO     63104‐4047
HOMER E PENNINGTON   149 GRANT ST                                                                                   DAYTON             OH     45404‐1818
HOMER E WIMER        385 SHAFFER N.E.                                                                               WARREN             OH     44484‐1846
HOMER EATON          THE MADEKSHO LAW FIRM           8866 GULF FREEWAY STE 440                                      HOUSTON            TX     77017
HOMER ELKINS JR      19131 ROAD 1036                                                                                OAKWOOD            OH     45873‐9061
HOMER ELY            1591 OAKVIEW CIR SE                                                                            WINTER HAVEN       FL     33880‐4470
HOMER ERVIN          16811 SHEEHAN RD                                                                               BONNER SPRINGS     KS     66012‐8224
HOMER EVANS          501 COUNTY ROAD 121                                                                            MOULTON            AL     35650‐7871
HOMER F WILHELM      4142 N ELMS RD                                                                                 FLUSHING           MI     48433‐1832
HOMER FEAMSTER JR    14361 APPLETREE LN                                                                             FENTON             MI     48430‐1430
HOMER FISHER         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
HOMER FLIPPEN        529 E JAMIESON ST                                                                              FLINT              MI     48505‐4279
HOMER FOSTER         3163 AUTUMN RIDGE CT                                                                           DAYTON             OH     45414‐2311
HOMER FREDERICK      2713 S TIBBS AVE                                                                               INDIANAPOLIS       IN     46241‐5350
HOMER GARGUS         HC 79 BOX 2225                                                                                 PITTSBURG          MO     65724‐9735
HOMER GARRETT        3925 TEMPLETON RD NW                                                                           WARREN             OH     44481‐9129
HOMER GARRISON       26561 N 1210 EAST RD                                                                           DANVILLE            IL    61834‐5633
HOMER GEARY          23108 HARTLAND ST                                                                              WEST HILLS         CA     91307‐2504
HOMER GEHRET         9158 HEATHER LN                                                                                CENTERVILLE        OH     45458‐3751
HOMER GEORGE         323 E 113TH ST                                                                                 LOS ANGELES        CA     90061‐3019
HOMER GIBBS JR       259 HILLTOP LN                                                                                 GAINESBORO         TN     38562‐2702
HOMER GIBSON         500 W PAYTON ST LOT 24                                                                         GREENTOWN          IN     46936‐1157
HOMER GIFFORD JR     4890 WESTCHESTER DR APT 6                                                                      YOUNGSTOWN         OH     44515‐6514
HOMER GILIAM         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
HOMER GILMAN         7132 S DELANEY RD                                                                              OWOSSO             MI     48867‐8700
HOMER GLISSON        7493 MOUNT ZION BLVD                                                                           JONESBORO          GA     30236‐2415
HOMER GRAY           10107 BIRD RIVER RD                                                                            BALTIMORE          MD     21220‐1527
HOMER GREEN          197 GREEN APPLE LN                                                                             CARROLLTON         GA     30117‐9139
HOMER GREENE         18197 MARX ST                                                                                  DETROIT            MI     48203‐5401
HOMER GREENLER JR    1512 CALLE DEVANAR                                                                             LAKE SAN MARCOS    CA     92069

HOMER GRUBB          78 LINCOLN AVE                                                                                 BEDFORD           IN      47421‐1611
HOMER GUILD          855 W JEFFERSON ST LOT 51                                                                      GRAND LEDGE       MI      48837‐1379
HOMER HAMMOND        PO BOX 2                        11322 LAKE RD                                                  OTTER LAKE        MI      48464‐0002
HOMER HAMRICK        2239 ROSEMAR RD                                                                                TOLEDO            OH      43611‐1014
HOMER HARDY JR       3182 DREXEL ST                                                                                 DETROIT           MI      48215‐2461
HOMER HARPER         2372 STATE ROUTE 132                                                                           CLARKSVILLE       OH      45113‐9676
HOMER HARPST         739 ALEXANDER LN                                                                               VASSAR            MI      48768‐1450
HOMER HARRIS         13485 MAINE ST                                                                                 DETROIT           MI      48212‐1633
HOMER HARRISON       227 KRISMARK TRL                                                                               ANDERSON          SC      29621‐7827
HOMER HARVEY         5600 US HIGHWAY 117 N                                                                          BURGAW            NC      28425‐3725
HOMER HARVEY         47251 WOODWARD AVE APT 405                                                                     PONTIAC           MI      48342‐5025
HOMER HECK           2588 DERBY WAY                  C/O ANNA THELMA HECK                                           SEVIERVILLE       TN      37876‐7926
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Name                     Address1                        Address2                      Address3            Address4               City              State   Zip
HOMER HELEN S (450697)   SIMMONS FIRM                    PO BOX 559                                                               WOOD RIVER          IL    62095‐0559
HOMER HIGGINS            9729 GLADSTONE RD                                                                                        NORTH JACKSON      OH     44451‐9608
HOMER HOFFMAN            BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.        OH     44236
HOMER HOLCOMB            THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                              HOUSTON            TX     77017
HOMER HOLTON             26507 KINGSWOOD DR                                                                                       OLMSTED FALLS      OH     44138‐2131
HOMER HOOVER             5609 WAMPUM DR                                                                                           KOKOMO             IN     46902‐5470
HOMER HOSEY              5424 ROOT RD                                                                                             SPENCER            OH     44275‐9712
HOMER HOWARD             706 CHILHOWEE LN                                                                                         BEAN STATION       TN     37708‐6732
HOMER HUBBARD            2800 VANESSA AVE                                                                                         MCALLEN            TX     78503‐1145
HOMER HUDSON             960 TRUMAN DR                   P.O. BOX 3181                                                            MANCHESTER         GA     31816‐1188
HOMER HUNLEY             HC 62 BOX 778                                                                                            MIRACLE            KY     40856‐9708
HOMER HUNTER             1857 APPLEFIELD LN                                                                                       BONIFAY            FL     32425‐6525
HOMER HURTT              2634 UTICA RD                                                                                            LEBANON            OH     45036‐9706
HOMER JARRARD            602 SW NATURA BLVD APT D                                                                                 DEERFIELD BEACH    FL     33441‐3200
HOMER JEFFERSON          2845 N CAPITOL AVE                                                                                       INDIANAPOLIS       IN     46208‐5129
HOMER JENNINGS           625 MOORES LN                                                                                            NEW CASTLE         DE     19720‐3447
HOMER JEWEL MCGUIRE JR   BARON & BUDD PC                 THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                          DALLAS             TX     75219‐4281
HOMER JOHNSON            961 SE 301ST RD                                                                                          LEETON             MO     64761‐8262
HOMER JOHNSON JR         158 MIXON MATTHEWS LN                                                                                    ABBEVILLE          GA     31001‐7021
HOMER JONES              401 N 21ST ST                                                                                            SAGINAW            MI     48601‐1312
HOMER JONES              1515 RIDGE RD LOT 30                                                                                     YPSILANTI          MI     48198‐3393
HOMER JONES              2616 CADILLAC STREET                                                                                     DAYTON             OH     45439‐1603
HOMER JONES JR           111 CACTUS LN                                                                                            FORT WORTH         TX     76108‐9288
HOMER JUSTICE            110 COUNTRY PLACE LN                                                                                     BUTLER             TN     37640‐5539
HOMER KEENE              G4260 N JENNINGS RD                                                                                      FLINT              MI     48504
HOMER KING               PO BOX 1041                                                                                              BRENTWOOD          TN     37024‐1041
HOMER KIRBY              7366 CRYSTAL LAKE DR APT 5                                                                               SWARTZ CREEK       MI     48473‐8949
HOMER KNORR              1235 BLACK OAK DR               C/O JOHN KNORR                                                           CENTERVILLE        OH     45459‐5408
HOMER L CLEMONS          391 SCHOOL RD                                                                                            WILMINGTON         OH     45177‐8913
HOMER L INLOW            4307 WHICKHAM                                                                                            FULSHEAR           TX     77441
HOMER L MALLETTE         4063 RISEDORPH ST                                                                                        BURTON             MI     48509‐1039
HOMER L POWERS           6529 PROBLE CO. LINE RD.                                                                                 GERMANTOWN         OH     45327‐9417
HOMER L SIDENSTICK       5042 WOLFCREEK PIKE                                                                                      TROOTWOOD          OH     45426‐2422
HOMER L. HALE
HOMER LANGFORD           2357 FEDERAL RD                                                                                          XENIA             OH      45385‐7814
HOMER LARTIGUE JR        4143 THACKIN DR                                                                                          LANSING           MI      48911‐1920
HOMER LAWWELL            27919 SHOCK ST                                                                                           ST CLAIR SHRS     MI      48081‐3539
HOMER LEMON              4841 TREELINE DR                                                                                         BRUNSWICK         OH      44212‐4764
HOMER LEWELLEN           1812 N CROSS LAKES CIR APT D                                                                             ANDERSON          IN      46012‐4912
HOMER LOGAN              2813 SUNNYSIDE AVE                                                                                       NEW CASTLE        IN      47362‐2033
HOMER LOUIS SHARP        BARON & BUDD PC                 THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                          DALLAS            TX      75219‐4281
HOMER M BOWEN            1533 NAVAJO DRIVE                                                                                        XENIA             OH      45385‐4309
HOMER MAGEE JR           744 E BALTIMORE BLVD                                                                                     FLINT             MI      48505‐3520
HOMER MALLETTE           4063 RISEDORPH ST                                                                                        BURTON            MI      48509‐1039
HOMER MARQUIS            101 PINE PL                                                                                              BATESVILLE        MS      38606‐9343
HOMER MARQUIS JR         2005 S BROOKWOOD DR                                                                                      SHREVEPORT        LA      71118‐2744
HOMER MASON              12110 ALTON DR                                                                                           GRAFTON           OH      44044‐9529
HOMER MAYBERRY JR        4921 ENNISMORE DR                                                                                        CLARKSTON         MI      48346‐3624
HOMER MAYNARD            1534 JUNCTION ST                                                                                         DETROIT           MI      48209‐2108
HOMER MC GILL JR         10901 HERITAGE DR                                                                                        PORT RICHEY       FL      34668‐2119
HOMER MCCOLLUM           5316 SEYMOUR RD                                                                                          SWARTZ CREEK      MI      48473‐1032
HOMER MCCREE             17334 WISCONSIN ST                                                                                       DETROIT           MI      48221‐2502
HOMER MCLAMB             4351 SHENANDOAH PL                                                                                       MILTON            FL      32583‐2422
HOMER MILLER             330 WOODRUFF LAKE RD                                                                                     HIGHLAND          MI      48357‐3565
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Name                    Address1                       Address2               Address3      Address4               City              State   Zip
HOMER MONTAGNE          21724 GASCONY AVE                                                                          EASTPOINTE         MI     48021‐2527
HOMER MOORE             1049 PORTER RD                                                                             DECATUR            GA     30032‐1773
HOMER MOORE             15102 SORRENTO ST                                                                          DETROIT            MI     48227‐4055
HOMER MOSLEY JR         3264 JACQUE ST                                                                             FLINT              MI     48532‐3709
HOMER MURRAY            1818 JONES FLORER RD                                                                       BETHEL             OH     45106‐8525
HOMER N WELLMAN         1410 PARKMAN PL                                                                            DAYTON             OH     45434
HOMER NOLEN             2299 NEW MARKET RD                                                                         SARDINIA           OH     45171‐8429
HOMER NORRIS JR         1301 W MOTT AVE                                                                            FLINT              MI     48505‐2521
HOMER O GILLAM          1812 HICKORYDALE DR                                                                        DAYTON             OH     45406‐3128
HOMER OWENS             110 STONEGATE CT                                                                           BEDFORD            IN     47421‐6705
HOMER P KNORR           C/O JOHN KNORR                 1235 BLACK OAK DRIVE                                        CENTERVILLE        OH     45459
HOMER PARSONS           3551 CLOVERTREE LN                                                                         FLINT              MI     48532‐4708
HOMER PARSONS           2420 WAYNE AVE                                                                             DAYTON             OH     45420‐1831
HOMER PEARSON           117 CHEROKEE HILLS DR                                                                      PICKENS            SC     29671‐8617
HOMER PEELMAN           11411 MERIDIAN RD                                                                          BANNISTER          MI     48807‐9703
HOMER PENDERGRAST       312 FIREWOOD DR                                                                            ROSCOMMON          MI     48653‐8970
HOMER PENNINGTON        149 GRANT ST                                                                               DAYTON             OH     45404‐1818
HOMER PERRY             46000 GEDDES RD TRLR 342                                                                   CANTON             MI     48188‐2353
HOMER PETERS            604 DEL NORTE DR                                                                           RUIDOSO            NM     88345‐7279
HOMER PINKNEY           79 OAK HILL TER                                                                            FAYETTEVILLE       GA     30215‐8058
HOMER PORTER JR         1022 ENON RD                                                                               NEW CARLISLE       OH     45344‐8236
HOMER POSS              758 SIMCOE AVE                                                                             FLINT              MI     48507‐1679
HOMER POWERS            6529 PREBLE COUNTY LINE RD                                                                 GERMANTOWN         OH     45327‐9417
HOMER R BROOKS          2433 STOCKBRIDGE ST                                                                        BURTON             MI     48509
HOMER R MURRAY          1818 JONES FLORER RD                                                                       BETHEL             OH     45106‐8525
HOMER R SELLERS         WELTZ & LUXENBERG P C          700 BROADWAY                                                NEW YORK CITY      NY     10003
HOMER R STEWART JR      6860 HOOVER AVE.                                                                           DAYTON             OH     45427
HOMER RAMBY             5624 O NEALL RD                                                                            WAYNESVILLE        OH     45068‐9453
HOMER REED              PO BOX 524                                                                                 WENTZVILLE         MO     63385‐0524
HOMER RICE              8262 WELLS XING                                                                            WEST CHESTER       OH     45069‐2874
HOMER ROARK             1704 MATILDA ST NE                                                                         GRAND RAPIDS       MI     49503‐1352
HOMER ROGERS SR.        118 MARTZ AVE                                                                              DAYTON             OH     45403‐2621
HOMER RONALD (421087)   WEITZ & LUXENBERG              180 MAIDEN LANE                                             NEW YORK           NY     10038
HOMER ROSE              167 W MCLELLAN RD                                                                          BOWLING GREEN      KY     42101‐8889
HOMER ROUSH             16137 DUNN RD                                                                              EAST LIVERPOOL     OH     43920‐3912
HOMER RUIZ              4810 JARVIS ST                                                                             CORPUS CHRISTI     TX     78412‐2341
HOMER RUSSELL JR        9197 E 300 S                                                                               ZIONSVILLE         IN     46077‐9437
HOMER RUTH              1540 LINDAIRE LN E                                                                         MANSFIELD          OH     44906‐1830
HOMER SALISBURY         5200 N AUSTIN DR                                                                           MUNCIE             IN     47304‐5915
HOMER SANDERS           1629 N FRANKLIN ST                                                                         DANVILLE            IL    61832‐2363
HOMER SAUNDERS JR       1123 SW 28TH TER                                                                           CAPE CORAL         FL     33914‐4248
HOMER SEATON            81 COUNTY ROAD 106                                                                         MOUNTAIN HOME      AR     72653‐6239
HOMER SEITLER           7117 S ROYSTON RD                                                                          EATON RAPIDS       MI     48827‐8539
HOMER SEXTON            PO BOX 473                                                                                 BURLINGTON         IN     46915‐0473
HOMER SEXTON            3114 COURTFIELD DR                                                                         ROCHESTER HILLS    MI     48309‐4803
HOMER SHAW              5066 E COUNTY ROAD 750 N                                                                   PITTSBORO          IN     46167‐9418
HOMER SHIRKEY           295 E FITCHBURG RD                                                                         LESLIE             MI     49251‐9754
HOMER SHIVERS           803 N SPEARS ST                                                                            ALVARADO           TX     76009‐3263
HOMER SHORT             57 N WHITTIER PL                                                                           INDIANAPOLIS       IN     46219‐5713
HOMER SIDENSTICK        5042 WOLF CREEK PIKE                                                                       TROTWOOD           OH     45426‐2422
HOMER SMITH             768 BETHEL RD                                                                              CHESAPEAKE CITY    MD     21915‐1211
HOMER SMITH             520 COUNTY ROAD 312                                                                        SWEETWATER         TN     37874‐5121
HOMER SMITH             46 ORCHARD ST                                                                              RIVER ROUGE        MI     48218‐1567
HOMER SOUTHERLAND       345 E PRINCETON AVE                                                                        PONTIAC            MI     48340‐1958
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Name                     Address1                       Address2            Address3         Address4               City               State   Zip
HOMER SPAHLINGER         3087 EAGLE CREEK RD                                                                        LEAVITTSBURG        OH     44430‐9763
HOMER SPRADLIN           112 GOLDEN TREE LN                                                                         INDIANAPOLIS        IN     46227‐2551
HOMER STEWART JR         6860 HOOVER AVE                                                                            DAYTON              OH     45427‐1507
HOMER STORKAMP           2395 CALEDONIAN ST                                                                         CLERMONT            FL     34711‐6474
HOMER SUMMY              377 PLEASANT DR                                                                            ALIQUIPPA           PA     15001‐1322
HOMER SWANK              5079 HIGHPOINT DR                                                                          SWARTZ CREEK        MI     48473‐8914
HOMER SWEENEY            3205 OUTDOOR RD                                                                            MORAINE             OH     45439‐1315
HOMER T PORTER JR        1022 ENON RD                                                                               NEW CARLISLE        OH     45344
HOMER TAYLOR             4220 N GENESEE RD                                                                          FLINT               MI     48506‐1516
HOMER TAYLOR             34468 LEWIS ST                                                                             NORTH RIDGEVILLE    OH     44039‐1928

HOMER THOMAS             28476 MARQUETTE ST                                                                         GARDEN CITY        MI      48135‐2711
HOMER TOWNSHIP           2817 29 MILE ROAD                                                                          HOMER              MI      49245‐9516
HOMER TRIPP              7341 CROSSRIDGE DR                                                                         HOLLAND            OH      43528‐9063
HOMER TUCKER             351 PEACH DR                                                                               SHREVEPORT         LA      71106‐7658
HOMER VANLEER            1302 E MANOR ST                                                                            MUNCIE             IN      47303‐5020
HOMER VANN               1588 GARFIELD AVE                                                                          LINCOLN PARK       MI      48146‐2308
HOMER VAUGHN             4032 N MAIN ST APT 520                                                                     DAYTON             OH      45405‐1607
HOMER VENARD             2124 ROSEMONT BLVD                                                                         DAYTON             OH      45420‐2535
HOMER W HURTT            2634 UTICA ROAD                                                                            LEBANON            OH      45036‐9706
HOMER W LANGFORD         2357 FEDERAL RD.                                                                           XENIA              OH      45385‐7814
HOMER W PARSONS          2420 WAYNE AVE                                                                             DAYTON             OH      45420‐1831
HOMER W RYAN             675 PALLISTER ST                                                                           DETROIT            MI      48202‐2418
HOMER W VENARD           2124 ROSEMONT BOULEVARD                                                                    DAYTON             OH      45420‐2535
HOMER WEAVER             1320 ROARING FORK RD                                                                       CRESTON            NC      28615‐8973
HOMER WENSEL             4538 N 1000 W                                                                              SHARPSVILLE        IN      46068‐9251
HOMER WEST               201 OLD JONES RD                                                                           ALPHARETTA         GA      30004‐2391
HOMER WILDER             100 ROY JENKINS DR                                                                         CORBIN             KY      40701‐3913
HOMER WILEY              1029 TIMBERLAND TRAIL                                                                      BIRMINGHAM         AL      35215
HOMER WILHELM            4142 N ELMS RD                                                                             FLUSHING           MI      48433‐1832
HOMER WILLIAMS           228 JAMES MOORE CIR                                                                        JACKSON            GA      30233‐2421
HOMER WILLIAMS           275 COUNTY ROAD 578                                                                        CENTRE             AL      35960‐5659
HOMER WILLIAMS           700 N EPPINGTON DR                                                                         TROTWOOD           OH      45426‐2520
HOMER WILSON JR          RR 1 BOX 483                                                                               FLEMINGTON         MO      65650‐9632
HOMER WIMER              385 SHAFFER DR NE                                                                          WARREN             OH      44484‐1846
HOMER WITHROW            2201 NOCCALULA RD                                                                          GADSDEN            AL      35904‐3320
HOMER WOODARD            6482 ROCKBRIDGE RD                                                                         STONE MOUNTAIN     GA      30087‐4929
HOMER WULBRECHT          33556 MELDRUM ST                                                                           CHESTERFIELD       MI      48047‐3407
HOMER'S CHRISTIAN AUTO   1147 E MOHAVE ST                                                                           PHOENIX            AZ      85034‐5155
HOMER, ALICE             P.O. BOX 201                                                                               BENNINGTON         OK      74723‐0201
HOMER, ALICE             PO BOX 201                                                                                 BENNINGTON         OK      74723‐0201
HOMER, CHRISTINE G       1605 SHAKER HEIGHTS DR                                                                     BLOOMFIELD HILLS   MI      48304‐1149
HOMER, CONRAD P          1605 SHAKER HEIGHTS DR                                                                     BLOOMFIELD HILLS   MI      48304‐1149
HOMER, DONALD E          13628 WALNUT ST                                                                            BATH               MI      48808‐9725
HOMER, HELEN S           SIMMONS FIRM                   PO BOX 559                                                  WOOD RIVER         IL      62095‐0559
HOMER, LOA H             467 4TH AVE                                                                                SALT LAKE CITY     UT      84103‐3074
HOMER, MAE J             15300 S AIRPORT RD                                                                         LANSING            MI      48906‐9109
HOMER, RICHARD L         7948 E NOPAL AVE                                                                           MESA               AZ      85209‐6928
HOMER, RITA              19511 CATULPA                                                                              MOKENA             IL      60448‐8911
HOMER, RITA              19511 CATULPA ST                                                                           MOKENA             IL      60448‐8911
HOMER, ROBERT D          443 TALLMADGE AVE                                                                          KENT               OH      44240‐3465
HOMER, ROBERT L          15300 S AIRPORT RD                                                                         LANSING            MI      48906‐9109
HOMER, RONALD            WEITZ & LUXENBERG              180 MAIDEN LANE                                             NEW YORK           NY      10038
HOMER, SONJA B           7991 N HOLLISTER RD                                                                        ELSIE              MI      48831‐9621
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Name                            Address1                             Address2                      Address3   Address4               City             State   Zip
HOMER, THOMAS M                 1386 13TH ST                                                                                         MASS CITY         MI     49948‐9799
HOMER, VILLAGE OF               130 E MAIN ST                        P.O. BOX 155                                                    HOMER             MI     49245‐1137
HOMER, WILMA M                  13628 WALNUT                                                                                         BATH              MI     48808‐9725
HOMERE ALEXIS                   505 PRELUDE ST NW                                                                                    PALM BAY          FL     32907‐1061
HOMERICK, DENNIS A              778 N MCELROY RD                                                                                     MANSFIELD         OH     44905‐2218
HOMERLENE M. BEVAN              15355 STOLTZ ROAD                                                                                    DIAMOND           OH     44412‐9628
HOMERO HINOJOSA                 C/O THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX     77017
HOMERO ORTIZ                    4610 SCHANEN BLVD                                                                                    CORPUS CHRISTI    TX     78413‐3521
HOMERO SALINAS                  3249 S AVERS AVE                                                                                     CHICAGO            IL    60623‐4908
HOMERO TAMEZ                    274 W COLUMBIA AVE                                                                                   PONTIAC           MI     48340‐1710
HOMERO TREVINO                  2151 IOWA AVE                                                                                        SAGINAW           MI     48601‐5522
HOMES FOR KIDS                  PO BOX 683                                                                                           NILES             OH     44446‐0683
HOMES, HELEN L                  705 ABBOTT RD                                                                                        BUFFALO           NY     14220
HOMESLEY, DEBORAH J             403 APT A WALKER STREET                                                                              PIEDMONT          AL     36272
HOMESPUN ELEGANCE LTD           ATTN: SANDRA SULLIVAN                PO BOX 358                                                      FREDERICKSBURG    VA     22404‐0358
HOMESTAR LLC                    665 3RD ST STE 320                                                                                   SAN FRANCISCO     CA     94107‐1951
HOMESTEAD AUTO                  1857 STATE ROAD 33                                                                                   SAUKVILLE         WI     53080‐1622
HOMESTEAD MIAMI SPEEDWAY LLC    HOMESTEAD MOTORSPORTS COMPLEX        1 SPEEDWAY BLVD                                                 HOMESTEAD         FL     33035‐1500
HOMESTEAD PRODUCTS INC          2618 COOLIDGE RD                                                                                     COLEMAN           MI     48618‐9402
HOMESTEAD PRODUCTS INC          TIM EWERT                            2618 W. COOLIDGE RD.                                            LYONS             NY
HOMESTEAD PRODUCTS, INC.        TIM EWERT                            2618 W. COOLIDGE RD.                                            LYONS             NY
HOMESTEAD RESORT THE            PO BOX 2000                                                                                          HOT SPRINGS       VA     24445‐2000
HOMESTREET BANK                 1221 KAPIOLANI BLVD STE 644                                                                          HONOLULU          HI     96814‐3513
HOMETIME                        MATT DOLPH                           4355 PEAVEY ROAD                                                CHASKA            MN     55318
HOMETOWN AUTO CENTER            120 S PLUM ST                                                                                        MARYSVILLE        OH     43040‐1620
HOMETOWN AUTO CENTER            700 HOOK LN                                                                                          HARDINSBURG       KY     40143
HOMETOWN AUTO REPAIR            102 S 2ND AVE                                                                                        HADAR             NE     68701‐0228
HOMETOWN AUTOMOTIVE             711 W MAIN ST                                                                                        HENDERSON         TX     75652‐3053
HOMETOWN CHEVROLET              PO BOX 6309                                                                                          COLUMBUS          GA     31917‐6309
HOMETOWN GARAGE INC.            5 CYPRESS DR                                                                                         BURLINGTON        MA     01803‐4907
HOMETOWN MOTORS III, INC.       TERRY LAUGHRIDGE                     PO BOX 3368                                                     CARTERSVILLE      GA     30120‐1707
HOMETOWN PHARMACY OF            944 BALDWIN RD STE C                 DBA HOMETOWN PHARMACY                                           LAPEER            MI     48446‐3089
HOMETOWN SUBURBAN VENDING INC   ATTN: CORPORATE OFFICER/AUTHORIZED   5530 W 110TH ST STE 11                                          OAK LAWN           IL    60453‐2473
                                AGENT
HOMETOWN TIRE                   105 THOROUGHBRED DR                                                                                  DANVILLE          KY     40422‐1344
HOMEWOOD CORP
HOMEWOOD SUITES/BRNT            5107 PETER TAYLOR PARK DR                                                                            BRENTWOOD        TN      37027‐7544
HOMEWOOD, IRA MILO              COON & ASSOCS BRENT                  917 FRANKLIN ST STE 210                                         HOUSTON          TX      77002‐1751
HOMEWOOD, WILLIAM N             788 CAMELOT                                                                                          MOORE            OK      73160‐3506
HOMEWOOD, WILLIAM N             788 CAMELOT DR.                                                                                      MOORE            OK      73160‐3506
HOMEYER, FRED J                 10262 ECHO CIR                                                                                       FIRESTONE        CO      80504‐5700
HOMEYER, MICHAEL W              702 N WARFEL ST                                                                                      SALEM            MO      65560
HOMEYER, NANCY L                10262 ECHO CIR                                                                                       FIRESTONE        CO      80504‐5700
HOMEYER, NANCY L                10262 ECHO CIRCLE                                                                                    LONGMONT         CO      80504‐5700
HOMICH, CASSIE                  8243 ROSEMONT AVE                                                                                    DETROIT          MI      48228‐3116
HOMICH, DENNIS M                67 PHEASANT DR                                                                                       PALM COAST       FL      32164‐6781
HOMICH, MARY M                  176 SPRING ST                                                                                        MERIDEN          CT      06451‐5435
HOMICZ, BARBARA E               11120 WOODFIELD PKWY                                                                                 GRAND BLANC      MI      48439‐9452
HOMIE DAILEY                    1171 E HOME AVE                                                                                      FLINT            MI      48505‐3022
HOMIER, RICHARD W               22 AMMERMAN WAY                                                                                      CHESTER          NJ      07930
HOMIER, TRACY D                 22 AMMERMAN WAY                                                                                      CHESTER          NJ      07930
HOMIK, DOROTHY J                4436 SAINT MARTINS DR                                                                                FLINT            MI      48507‐3727
HOMIK, JOHN                     G‐6112 W COURT ST                                                                                    FLINT            MI      48532
HOMINSKY JR, FRANK L            4945 E 81ST ST                                                                                       GARFIELD HTS     OH      44125‐2017
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Name                              Address1                         Address2                        Address3   Address4                  City              State   Zip
HOMINY, JOHN E                    2010 LOVELAND MADEIRA RD APT 2                                                                        LOVELAND           OH     45140‐8974
HOMKA, HENRY                      102 S IRWINWOOD RD                                                                                    LANCASTER          NY     14086‐2822
HOMKO, DOLORES F                  8849 S MELVINA                                                                                        OAK LAWN            IL    60453‐1114
HOMKO, DOLORES F                  8849 MELVINA AVE                                                                                      OAK LAWN            IL    60453‐1114
HOMLER, MAX D                     915 SHERMAN ST                                                                                        FRANKTON           IN     46044‐9794
HOMME JR, THOMAS A                33 LINDHURST DR                                                                                       LOCKPORT           NY     14094‐5733
HOMME, LOIS ANN                   304 SW 78TH AVE.                                                                                      NORTH              FL     33068
                                                                                                                                        LAUDERDALE
HOMMEL TERRY                      4644 E GABLE CIR                                                                                      MESA               AZ     85206‐3338
HOMMEL, CHARLES W                 429 S 90TH ST                                                                                         MILWAUKEE          WI     53214‐1330
HOMMEL, JOSEPH D                  2710 W 100 S                                                                                          FRANKLIN           IN     46131‐8422
HOMMEL, JOSEPH P                  PO BOX 1722                                                                                           FRANKFORT          MI     49635‐1722
HOMMEL, LINDA C                   1805 MANSFIELD RD                                                                                     BIRMINGHAM         MI     48009‐7293
HOMMEL, STEPHEN A                 PO BOX 501                                                                                            BARGERSVILLE       IN     46106‐0501
HOMMEL‐ETAMIC AMERICA CORP        1505 W HAMLIN RD                                                                                      ROCHESTER HILLS    MI     48309‐3366
HOMMEL‐ETAMIC AMERICA CORPORATION 1505 W HAMLIN RD                                                                                      ROCHESTER HILLS    MI     48309‐3366

HOMMEL/NEW BRITAIN                1505 W HAMLIN RD                                                                                      ROCHESTER HILLS    MI     48309‐3366
HOMMELL, CAROL S                  835 W SMITH VALLEY RD                                                                                 GREENWOOD          IN     46142‐2058
HOMMELL, GARY E                   1810 HELENA AVE                                                                                       HARTLAND           MI     48353‐3773
HOMMELWERKE GMBH                  D‐78056 VS‐SCHWENNINGEN                                                     VS‐SCHWENNINGEN D‐78056
                                                                                                              GERMANY
HOMMEN, PETER                     6172 LONE OAK CIR                                                                                     GRAND BLANC       MI      48439‐9460
HOMMER SMITH                      1117 GLENWOOD DR                                                                                      COLUMBIA          TN      38401‐6705
HOMMERBOCKER, PEARL               3510 WEST HIGHWAY 4                                                                                   CENTURY           FL      32535‐2630
HOMMES, DANIEL                    PO BOX 214176                                                                                         AUBURN HILLS      MI      48321‐4176
HOMMES, DANIEL                    4394 MARY DR                                                                                          EDEN              NY      14057‐9698
HOMMES, FREDERICK A               5732 SANDBURN AVE                                                                                     SHELBY TOWNSHIP   MI      48316‐2437
HOMMES, RONALD J                  PO BOX 14910                                                                                          SAGINAW           MI      48601‐0910
HOMMES, SHARON M                  6102 ALMARI LN                                                                                        HARRISBURG        PA      17111‐4684
HOMMINGA TURNER                   1417 18TH ST                                                                                          BEDFORD           IN      47421‐4107
HOMNICK, DALE J                   11 QUAID AVE                                                                                          SAYREVILLE        NJ      08872‐1258
HOMOKI, JOSEPH                    426 DREXEL AVE                                                                                        AKRON             OH      44310‐1202
HOMOLA, BRENHILDE A               908 EVERGREEN ST                                                                                      HANCOCK           MI      49930‐1104
HOMOLA, EDWARD M                  2450 KROUSE RD LOT 526                                                                                OWOSSO            MI      48867‐8113
HOMOLA, ERNESTINE M               1155 VANDERCARR                                                                                       OWOSSO            MI      48867‐9780
HOMOLA, ERNESTINE M               1155 VANDECARR RD                                                                                     OWOSSO            MI      48867‐9780
HOMOLA, GEORGE R                  18 LAMONT PL                                                                                          BUFFALO           NY      14207‐1413
HOMOLA, JAMES E                   5400 LAKE DR                                                                                          OWOSSO            MI      48867‐8712
HOMOLA, JOHN L                    2618 COVE CAY DR APT 403                                                                              CLEARWATER        FL      33760‐1336
HOMOLA, KENNETH L                 5400 LAKE DR                                                                                          OWOSSO            MI      48867‐8712
HOMOLA, SANDRA KAY                2450 KROUSE RD                   LOT # 526                                                            OWOSSO            MI      48867‐8113
HOMOLA, SANDRA KAY                2450 KROUSE RD LOT 526                                                                                OWOSSO            MI      48867‐8113
HOMOLAK, JOHN P                   573 HORSE FERRY RD                                                                                    LAWRENCEVILLE     GA      30044‐5603
HOMOLKA, ALFRED                   17093 THYME CT                                                                                        PUNTA GORDA       FL      33955‐4400
HOMOLKA, ALFRED F                 20406 N FOUNTAIN CREST CT                                                                             SURPRISE          AZ      85374‐4560
HOMOLKA, DAWN M                   19865 COMANCHE DR                                                                                     MACOMB            MI      48042‐4270
HOMOLKA, RONALD J                 4275 TAYLOR CT                                                                                        BRUNSWICK         OH      44212‐2179
HOMOLO, GEORGE                    155 POND VIEW DR                                                                                      HAMBURG           PA      19526‐8380
HOMOLYA KENNETH (445311)          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD        OH      44067
                                                                   PROFESSIONAL BLDG
HOMOLYA, KENNETH                  BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                         NORTHFIELD        OH      44067
                                                                   PROFESSIONAL BLDG
HOMPSTEAD, ROBERT G               3445 2 MILE RD                                                                                        BAY CITY           MI     48706‐9222
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Name                         Address1                           Address2                      Address3   Address4               City              State   Zip
HOMRICH JR, RUDOLPH E        3635 144TH AVENUE R R 1                                                                            HAMILTON           MI     49419
HOMRICH JR., ROMAN J         1442 FREMONT AVE NW                                                                                GRAND RAPIDS       MI     49504‐3018
HOMRICH JR., ROMAN J.        1442 FREMONT AVE NW                                                                                GRAND RAPIDS       MI     49504‐3018
HOMRICH SR, ROMAN J          1631 LAMBERTON LAKE DR NE                                                                          GRAND RAPIDS       MI     49525‐2810
HOMRICH WRECKING INC         200 MATLIN RD                                                                                      CARLETON           MI     48117‐9397
HOMRICH, ARTHUR H            2885 84TH ST SE                                                                                    CALEDONIA          MI     49316‐9121
HOMRICH, BARBARA             3112 SANDLEWOOD DR                                                                                 DEFIANCE           OH     43512‐9664
HOMRICH, DENA L              1442 FREMONT AVE NW                                                                                GRAND RAPIDS       MI     49504‐3018
HOMRICH, JAMES E             5543 WOODS AVE                                                                                     TOLEDO             OH     43623‐1501
HOMRICH, JAMES ERIC          5543 WOODS AVE                                                                                     TOLEDO             OH     43623‐1501
HOMRICH, RUSSELL L           6453 TOPSIDE AVE                                                                                   FLOWERY BRANCH     GA     30542‐5698
HOMRICH, STELLA              6976 HOLLYHILL COURT SW                                                                            BYRON CENTER       MI     49315
HOMRICH, STELLA              6976 HOLLY HILL CT SW                                                                              BYRON CENTER       MI     49315‐8364
HOMRICH, STEPHEN E           PO BOX 208                                                                                         THOMPSONS          TN     37179‐0208
                                                                                                                                STATION
HOMRIGHAUSEN, LESTER O       13645 BOTKIN RD                                                                                    CENTERVILLE        KS     66014‐9204
HOMRIGHOUS, BARBARA ANN      358 DARTMOUTH ST APT 914                                                                           CARMEL             IN     46032‐6038
HOMSHER, CARL A              4076 LENNON RD                                                                                     FLINT              MI     48507‐1059
HOMSHER, CHARLES A           15279 RIVERSIDE ST                                                                                 LIVONIA            MI     48154‐5194
HOMSHER, CHARLES ANDREW      15279 RIVERSIDE ST                                                                                 LIVONIA            MI     48154‐5194
HOMSY, SAMIR M               3795 SWEETING ST                                                                                   CUMMING            GA     30041‐1303
HOMUTH SANDRA A              11702 DAVEY DR                                                                                     HUNTLEY            IL     60142‐7322
HOMYAK, DAVID E              4262 LAKE FOREST DR W D                                                                            ANN ARBOR          MI     48108
HON CHAN
HON SIU KAY
HON, MARGARET L              207 SECOND ST E                                                                                    CAMDEN POINT      MO      64018‐0098
HON, MARGARET L              PO BOX 98                                                                                          CAMDEN POINT      MO      64018‐0098
HON, SHERRY L                2901 S WALDEN ST                                                                                   AURORA            CO      80013‐6180
HONAKER DOUGLAS A (637455)   MICHIE HAMLETT LOWRY RASMUSSEN &   PO BOX 298                                                      CHARLOTTESVILLE   VA      22902‐0298
                             TWEEL, P.C.
HONAKER JR, ANDRE R          601 EDENBURG DR                                                                                    COLUMBIA          TN      38401‐5205
HONAKER JR, PAUL O           2722 LINDALE AVENUE                                                                                DAYTON            OH      45414‐5551
HONAKER ROGER (657753)       ZAMLER, MELLEN & SHIFFMAN          23077 GREENFIELD RD STE 557                                     SOUTHFIELD        MI      48075‐3727
HONAKER, ALFRED H            257 SUNRISE BLVD                                                                                   DEBARY            FL      32713‐3932
HONAKER, BERNARD             PO BOX 145                                                                                         FLUSHING          MI      48433‐0145
HONAKER, BERNARD E           25486 SMITH WAY                                                                                    MILTON            DE      19968‐2919
HONAKER, BILLY E             22 RICHARD RD                                                                                      NEW CASTLE        DE      19720‐1730
HONAKER, CURTIS H            1532 PLUM PL                                                                                       MANSFIELD         OH      44905‐2735
HONAKER, DOUGLAS A           MICHIE HAMLETT LOWRY RASMUSSEN &   PO BOX 298                                                      CHARLOTTESVILLE   VA      22902‐0298
                             TWEEL, P.C.
HONAKER, GLADYS N            5220 W LAKESHORE DR                                                                                PORT CLINTON      OH      43452‐9596
HONAKER, HARRY S             206 STROUD ST                                                                                      WILMINGTON        DE      19805‐4844
HONAKER, JAMES B             11869 W RIVER LANE RD                                                                              OAK HARBOR        OH      43449‐9407
HONAKER, JAMES D             24 W KAPOK DR                                                                                      NEWARK            DE      19702‐6112
HONAKER, JOAN M.             PO BOX 58                                                                                          WAYNESVILLE       OH      45068‐0058
HONAKER, JOAN M.             BOX 58                                                                                             WAYNESVILLE       OH      45068‐0058
HONAKER, JOHN M              914 N BRIDGE ST                                                                                    ELKTON            MD      21921‐4911
HONAKER, LINDA               PO BOX 2825                                                                                        LILLINGTON        NC      27546‐2825
HONAKER, MARGARET S          24 W KAPOK DR                                                                                      NEWARK            DE      19702‐6112
HONAKER, MILDRED V           4976 PLAIN CITY GEORGESVILLE RD                                                                    PLAIN CITY        OH      43064‐9523
HONAKER, ROBERT R            3005 BROOKSIDE DR                                                                                  COLUMBIA          TN      38401‐5003
HONAKER, ROGER               ZAMLER, MELLEN & SHIFFMAN          23077 GREENFIELD RD STE 557                                     SOUTHFIELD        MI      48075‐3727
HONAKER, SUSAN J             120 N PERRY ST                                                                                     VANDALIA          OH      45377‐2029
HONAKER, THOMAS P            APT E                              1300 CLOVER VALLEY WAY                                          EDGEWOOD          MD      21040‐2173
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Name                               Address1                            Address2                        Address3                Address4                    City            State   Zip
HONAKER, VIRGIL                    6715 RUSSETT CT                                                                                                         FLINT            MI     48504‐1675
HONALD HOWE                        6290 LAPEER RD                                                                                                          BURTON           MI     48509‐2450
HONALD W HOWE                      6290 LAPEER RD                                                                                                          BURTON           MI     48509‐2450
HONAMAN, DONNA J                   7335 S FENMORE RD                                                                                                       MERRILL          MI     48637‐9732
HONAMAN, KEITH A                   20610 GRABOWSKI RD                                                                                                      SAINT CHARLES    MI     48655‐9792
HONAMAN, LINDA                     21260 ITHACA RD                                                                                                         SAINT CHARLES    MI     48655‐9720
HONAMAN, LINDA                     21260 W ITHACA RD                                                                                                       ST CHARLES       MI     48655‐9720
HONAN, THERESA ANN                 APT 1515                            4263 LOSCO ROAD                                                                     JACKSONVILLE     FL     32257‐1454
HONCE, SONIA L                     6729 WESTAWAY DR                                                                                                        TROY             MI     48085‐1508
HONCHAR, PAULA G                   1269 CEDARLAND PLAZA DR                                                                                                 ARLINGTON        TX     76011
HONCHAR, PAULA GAIL                1269 CEDARLAND PLAZA DR                                                                                                 ARLINGTON        TX     76011
HONCHAR, ROBERT M                  1269 CEDARLAND PLAZA DR                                                                                                 ARLINGTON        TX     76011
HONCHELL, PEARL M                  1810‐1A COLONIAL VILLAGE WAY                                                                                            WATERFORD        MI     48328
HONCHELL, WANDA L                  4 CHESNEY CT                                                                                                            PALM COAST       FL     32137‐8356
HONCHELL, WANDA L                  4 CHESNEY COURT                                                                                                         PALM COAST       FL     32137‐8356
HONDA MOTOR CO LTD                 1 1 MINAMI AOYAMA 2 CROME           MINATO KU TOKYO                                         107 8556 JAPAN JAPAN
HONDA MOTOR CO LTD                 1919 TORRANCE BLVD                                                                                                      TORRANCE         CA     90501‐2722
HONDA MOTOR CO LTD                 ATTN: GENERAL MANAGER, AUTOMOBILE   1‐1 MINAMIAOYAMA                2‐CHOME                 MINATO‐KU TOKYO 107‐8556
                                   BUSINESS PLANNING OFFICE                                                                    JAPAN

HONDA MOTOR CO LTD                 PEPPER HAMILTON & SCHEETZ           3000 TWO LOGAN SQUARE, 18TH &                                                       PHILADELPHIA     PA     19103
                                                                       ARCH ST
HONDA MOTOR CO. AND XM SATELLITE   XM SATELLITALYE RADIO INC.          1500 ECKINGTON PL NE                                                                WASHINGTON       DC     20002‐2128
RADIO, INC.
HONDA MOTOR CO. AND XM SATELLITE   XM SATELLITE RADIO INC.             1500 ECKINGTON PLACE, NE                                                            WASHINGTON       D.     20002
RADIO, INC.
HONDA MOTOR CO., INC.              ATTN: GENERAL MANAGER, AUTOMOBILE   1‐1 MINAMIAOYAMA                2‐CHOME                 MINATO‐KU TOKYO 107‐8556
                                   BUSINESS PLANNING OFFICE                                                                    JAPAN

HONDA MOTOR CO., LTD.              JAPAN                                                                                       JAPAN
HONDA MOTOR CO., LTD.              ATTN: GENERAL MANAGER, AUTOMOBILE   1‐1 MINAMIAOYAMA                2‐CHOME                 MINATO‐KU TOKYO 107‐8556
                                   BUSINESS PLANNING OFFICE                                                                    JAPAN

HONDA R&D CO., LTD.                SHIGEAKI KAGAMI                     4630 SHIMOTAKANEZAWA            HAGA‐MACHI              HAGA‐GUN TOCHIGI 321‐3393
                                                                                                                               JAPAN
HONDA R&D CO., LTD.                NED S. MCCLURG                      777 JOSLYN AVE                  MAIL CODE 483‐720‐540                               PONTIAC          MI     48340‐2925
HONDA R&D CO., LTD.                4630 SHIMOTAKANEZAWA                HAGA‐MACHI                                              HAGA‐GUN TOCHIGI 321‐3393
                                                                                                                               JAPAN
HONDA R&D CO., LTD.                KATSUMI ICHIDA                      4630 SHIMOTAKANEZAWA            HAGA‐MACHI              HAGA‐GUN TOCHIGI 321‐3393
                                                                                                                               JAPAN
HONDA, CHRISTOPHER M               1005 W MOSS AVE                                                                                                         PEORIA          IL      61606‐1768
HONDA, CHRISTOPHER M               1005 WEST MOSS AVENUE                                                                                                   PEORIA          IL      61606‐1768
HONDA/ANNA                         1919 TORRANCE BLVD                                                                                                      TORRANCE        CA      90501‐2722
HONDA/ANNA                         101 S STANFIELD RD                  ATTN: BRAD ORTLOFF                                                                  TROY            OH      45373‐2332
HONDA/ANNA                         2400 HONDA PARKWAY                                                                                                      MARYSVILLE      OH      43040
HONDEL, ROBERT E                   8763 WATER ST                                                                                                           AMANDA          OH      43102‐9749
HONDERED KEN                       2300 CHIPPEWA ST                                                                                                        JENISON         MI      49428‐9135
HONDERICH, JAMES M                 12255 RIETHMILLER RD                                                                                                    GRASS LAKE      MI      49240‐9252
HONDLIK, MARIE J                   C/O RICHARD HONDLIK                 769 GREEN BAY DR                UNIT# 1                                             MAYVILLE        WI      53050
HONDO'S TAVERN                     ATTN: MARIA RODRIGUEZ               2025 LOWELL AVE                                                                     SAGINAW         MI      48601‐3465
HONDORP, CORAL E                   2759 LEONARD ST NW APT C4                                                                                               GRAND RAPIDS    MI      49504‐3767
HONDRAKIS, MILTON C                2208 FULTON ROAD N W                                                                                                    CANTON          OH      44709
HONDROS CAREER CENTERS             4807 EVANSWOOD DR                                                                                                       COLUMBUS        OH      43229
HONDROS COLLEGE                    4140 EXECUTIVE PKWY                                                                                                     WESTERVILLE     OH      43081‐3855
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Name                                 Address1                           Address2                       Address3   Address4               City              State   Zip
HONDROS, LUCIA C                     1970 FOX RUN                                                                                        TROY               OH     45373‐9544
HONDRU CHEVROLET PONTIAC             2005 S MARKET ST                                                                                    ELIZABETHTOWN      PA     17022‐9209
HONDRU CHEVROLET, INC.               PETER HONDRU                       2005 S MARKET ST                                                 ELIZABETHTOWN      PA     17022‐9209
HONDRU CHRYSLER INC.                 PETER HONDRU                       700 LANCASTER RD                                                 MANHEIM            PA     17545‐2314
HONDRU GMC                           700 LANCASTER RD                                                                                    MANHEIM            PA     17545‐2314
HONDUSKY JAN E                       HONDUSKY, JAN E                    711 EAST GENESEE STREET                                          SYRACUSE           NY     13210
HONDUSKY JAN E                       MURNANE BUILDING CONTRACTORS INC   360 SOUTH WARREN STREET HSBC                                     SYRACUSE           NY     13202
                                                                        CENTER FIFTH FLOOR
HONDUSKY, JAN
HONDUSKY, JAN E                      LAHM ROBERT E PLLC                 711 EAST GENESEE STREET                                          SYRACUSE          NY      13210
HONDUSKY, JAN E                      4 GARFIELD AVE                                                                                      MASSENA           NY      13662‐1239
HONDUSKY, JAN ERIK                   4 GARFIELD AVE                                                                                      MASSENA           NY      13662‐1239
HONDZINSKI, REED D                   5512 25 MILE RD                                                                                     SHELBY TOWNSHIP   MI      48316‐1679
HONE & SON TRUCKING CO               PO BOX 638                                                                                          SHORT CREEK       WV      26058‐0638
HONE, JERRY B                        2410 SERRAVALLE ST NW                                                                               UNIONTOWN         OH      44685‐5788
HONEA AARON O (429124)               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA      23510
                                                                        STREET, SUITE 600
HONEA ARTHUR L (401229)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA     23510
                                                                        STREET, SUITE 600
HONEA'S AUTOMOTIVE                   2600 WILLIAMS DR                                                                                    GEORGETOWN         TX     78628‐3252
HONEA, AARON O                       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA     23510‐2212
                                                                        STREET, SUITE 600
HONEA, ARTHUR L                      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA     23510‐2212
                                                                        STREET, SUITE 600
HONEA, CYNTHIA E                     1636 MONTANA AVE APT M                                                                              FLINT             MI      48506
HONEA, EDWARD A                      10750 ROUND LAKE DR                                                                                 MECOSTA           MI      49332‐9794
HONEA, EUGENE                        8033 MCCANDLISH RD                                                                                  GRAND BLANC       MI      48439‐7411
HONEA, GERALD                        GUY WILLIAM S                      PO BOX 509                                                       MCCOMB            MS      39649‐0509
HONEA, JAMES B                       1028 E REID RD                                                                                      GRAND BLANC       MI      48439‐8905
HONEA, JAMES BENJAMIN‐CAR            1028 E REID RD                                                                                      GRAND BLANC       MI      48439‐8905
HONEA, JESSIE A                      1322 SILVER CREEK AZLE RD APT 1                                                                     AZLE              TX      76020‐3898
HONEA, JUDITH LEE                    1354 MABEL AVE                                                                                      FLINT             MI      48506‐3268
HONEA, LLOYD W                       1421 JANE AVE                                                                                       FLINT             MI      48506‐3340
HONEA, NANCY J                       7361 PARK PL                                                                                        MECOSTA           MI      49332‐9610
HONEA, RICHARD P                     4416 WHEATLAND DR                                                                                   SWARTZ CREEK      MI      48473‐8256
HONEA, SHARON K                      4416 WHEATLAND DR                                                                                   SWARTZ CREEK      MI      48473‐8256
HONEA, THOMAS J                      2800 SIERRA DR                                                                                      FORT WORTH        TX      76116‐3914
HONEAS, JOHN F                       131 S 950 E                                                                                         GREENTOWN         IN      46936‐1312
HONECK JR, ALBERT L                  11124 BRISTOL RD                                                                                    LENNON            MI      48449‐9448
HONECK, CHARLES A                    4124 PEMBROKE DRIVE                                                                                 KENT              OH      44240‐6881
HONECK, LUCILLE M                    4415 W FILLMORE DR                                                                                  MILWAUKEE         WI      53219‐2357
HONECK, WILLIAM                      S106W16480 LOOMIS RD                                                                                MUSKEGO           WI      53150‐5509
HONECK, WILLIAM H                    1520 ALTURAS DR                                                                                     OWOSSO            MI      48867‐1404
HONEGGER, JOSEPH A                   PO BOX 296                                                                                          EAST AMHERST      NY      14051‐0296
HONEMAN VAN                          PO BOX 968                                                                                          TUCSON            AZ      85702‐0968
HONEMAN, DENISE M                    8757 OLD STATE AVENUE                                                                               FARWELL           MI      48622‐8708
HONEMAN, HAROLD R                    3759 RINGLE RD                                                                                      VASSAR            MI      48768‐9737
HONEMAN, JAMES A                     586 IDLEWILD CT SW                                                                                  BYRON CENTER      MI      49315‐8366
HONEMAN, JOHN L                      7371 PIERCE RD                                                                                      FREELAND          MI      48623‐9030
HONEMAN, LARRY C                     8757 OLD STATE AVE                                                                                  FARWELL           MI      48622‐8708
HONEMAN, ROBERT A                    183 N SCOTT DR                                                                                      FARWELL           MI      48622‐9732
HONEOYE FALLS FIRE DEPARTMENT        7 MONROE ST                                                                                         HONEOYE FALLS     NY      14472‐1019
HONEOYE FALLS LIMA MINI STORAGE CO   1162 ROCHESTER ST                                                                                   LIMA              NY      14485
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Name                             Address1                         Address2                      Address3   Address4               City              State   Zip
HONER JR, FRANK                  4633 E SHEENA DR                                                                                 PHOENIX            AZ     85032‐5523
HONER, W M                       16877 STATE HWY 171                                                                              RICHLAND CENTER    WI     53581‐5954
HONERLAW, GENE R                 11500 WHALLON CT                                                                                 CINCINNATI         OH     45246‐2928
HONERLAW, JANE L                 649 MASON MONTGOMERY ROAD                                                                        MASON              OH     45040‐1725
HONERLAW, JANE L                 649 S MASON MONTGOMERY RD                                                                        MASON              OH     45040‐1725
HONERLAW, RICHARD E              5055 LAKESIDE DR                                                                                 MASON              OH     45040‐1767
HONES, EDWARD P                  6116 RIVERVIEW DR                                                                                JACKSON            MI     49203‐5695
HONES, JOHN W                    3633 W 159TH ST                                                                                  CLEVELAND          OH     44111‐5704
HONES‐BURR, MARY M               950 LONG LAKE DR                                                                                 BRIGHTON           MI     48114‐7605
HONES‐BURR, MARY M.              3436 WATERSEDGE DR                                                                               BRIGHTON           MI     48114‐8119
HONEST‐1 AUTO CARE               1655 W WARM SPRINGS RD                                                                           HENDERSON          NV     89014‐4314
HONEY CREEK AUTOMOTIVE AND                                        1016 HONEY CREEK RD SE                                                             GA     30013
PERFORMANCE
HONEY EPPSE                      1716 TIFFIN AVE                                                                                  SANDUSKY          OH      44870‐1934
HONEY LOU PITSINGER              406 NORTH STREET                                                                                 EATON             OH      45320‐1568
HONEY, KEVIN T                   274 KEELER DR                                                                                    RIDGEFIELD        CT      06877‐1027
HONEY, RICHARD A                 502 W WILLIAM DR                                                                                 BROWNSBURG        IN      46112‐1557
HONEYCUTT JR, GROVER             490 CANE RIVER SCHOOL RD                                                                         BURNSVILLE        NC      28714‐8203
HONEYCUTT JR, ROBERT L           6939 HICKORY VIEW LN                                                                             CHATTANOOGA       TN      37421‐2559
HONEYCUTT PAMELA                 3733 SUNRISE OAKS DR                                                                             PORT ORANGE       FL      32129‐8651
HONEYCUTT RHODNEY                212 2ND ST NW                                                                                    HICKORY           NC      28601‐4933
HONEYCUTT ROY D (429125)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA      23510
                                                                  STREET, SUITE 600
HONEYCUTT THOMAS (ESTATE OF)     (NO OPPOSING COUNSEL)
(651473)
HONEYCUTT WALTER L JR (439149)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510
                                                                  STREET, SUITE 600
HONEYCUTT, ARLENE D              413 CANVASBACK RD                                                                                MOORESVILLE       NC      28117‐8111
HONEYCUTT, ARTA F                189 N MYRTLE                                                                                     JELLICO           TN      37762‐2323
HONEYCUTT, ARTA F                189 N MYRTLE AVE                                                                                 JELLICO           TN      37762‐2323
HONEYCUTT, BONNIE                4015 CATHERINE                                                                                   NORWOOD           OH      45212‐4029
HONEYCUTT, BRYAN L               33 W BROADWAY ST                                                                                 TIPP CITY         OH      45371‐1608
HONEYCUTT, CHRISTOPHER J         11142 APRILIA LN                                                                                 CORNELIUS         NC      28031‐8541
HONEYCUTT, CLEDITH A             6430 BALL RD                                                                                     ROMULUS           MI      48174‐3502
HONEYCUTT, DAISY                 3805 BULL VALLEY RD                                                                              MCHENRY           IL      60050‐7470
HONEYCUTT, DANA I                5305 ELMSTERD DRIVE                                                                              FLINT             MI      48532
HONEYCUTT, DAVID L               13281 N CLIO RD                                                                                  CLIO              MI      48420‐1024
HONEYCUTT, DAVID LYNN            13281 N CLIO RD                                                                                  CLIO              MI      48420‐1024
HONEYCUTT, DONALD R              6254 US ROUTE 40 LOT 4                                                                           TIPP CITY         OH      45371‐9424
HONEYCUTT, EARL R                PO BOX 292                                                                                       BIMBLE            KY      40915‐0292
HONEYCUTT, FLORENCE E            5314 MAD RIVER RD                                                                                DAYTON            OH      45429‐2030
HONEYCUTT, GAIL H.               5305 ELMSFORD DR                                                                                 FLINT             MI      48532‐4022
HONEYCUTT, GEORGIANN             408 NORTHWEST 73RD STREET                                                                        KANSAS CITY       MO      64118‐6530
HONEYCUTT, HELEN RACHEL          520 W 1450 N                                                                                     SUMMITVILLE       IN      46070‐9697
HONEYCUTT, JAMES R               5666 STUDEBAKER RD                                                                               TIPP CITY         OH      45371‐8705
HONEYCUTT, JERRY J               5559 E MARINA DR                                                                                 FT LAUDERDALE     FL      33312‐6476
HONEYCUTT, JERRY M               RR 4 BOX 4377                                                                                    JONESVILLE        VA      24263‐9288
HONEYCUTT, JERRY M               RR 4 BOX 4366C                                                                                   JONESVILLE        VA      24263‐9285
HONEYCUTT, JERRY M               ROUTE 4 PO BOX 4366C                                                                             JONESVILLE        VA      24263
HONEYCUTT, JO A                  1900 IDLEWILD DR APT D5                                                                          RENO              NV      89509‐1011
HONEYCUTT, JOHN A                549 JULIUS DAVIS LN                                                                              MARSHALL          TX      75672‐3352
HONEYCUTT, KEITH R               ROUTE 4 BOX 4376                                                                                 JONESVILLE        VA      24263‐9288
HONEYCUTT, KEITH R               RR 4 BOX 4376                                                                                    JONESVILLE        VA      24263‐9288
HONEYCUTT, LAWRENCE E            11159 HEATHROW AVE                                                                               SPRING HILL       FL      34609‐0232
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Name                           Address1                            Address2                      Address3                Address4                   City             State   Zip
HONEYCUTT, LINDA               327 RIVERWALK DR                                                                                                     HUTTO             TX     78634‐5504
HONEYCUTT, LINDA               1129 HOXBAR RD                                                                                                       ARDMORE           OK     73401‐8506
HONEYCUTT, MARK R              10315 N WYANDOTTE ST                                                                                                 KANSAS CITY       MO     64155‐3523
HONEYCUTT, PAUL E              1682 NORTH DALE ROAD                                                                                                 DAYTON            OH     45432‐3510
HONEYCUTT, PAUL E              1682 NORTHDALE RD                                                                                                    DAYTON            OH     45432‐3510
HONEYCUTT, RAY E               4029 WOODFOX DR                                                                                                      CHARLOTTE         NC     28277‐8615
HONEYCUTT, ROBERT B            27516 FLORAL ST                                                                                                      ROSEVILLE         MI     48066‐4320
HONEYCUTT, ROBERT L            11025 LEGACY LN                                                                                                      DAVISON           MI     48423‐9029
HONEYCUTT, ROBERT LEE          11026 LEGACY LN                                                                                                      DAVISON           MI     48423‐9026
HONEYCUTT, ROSETTI             164 N ALLEN                                                                                                          YPSILANTI         MI     48198‐4126
HONEYCUTT, ROSETTI             164 ALLEN RD                                                                                                         YPSILANTI         MI     48198‐4126
HONEYCUTT, ROY D               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                      NORFOLK           VA     23510‐2212
                                                                   STREET, SUITE 600
HONEYCUTT, RUSSELL K           1200 SW EUGENE ST                                                                                                    BLUE SPRINGS     MO      64015‐4216
HONEYCUTT, STANLEY B           1610 N SHELDON RD                                                                                                    CANTON           MI      48187‐3173
HONEYCUTT, STANLEY BRUCE       1610 N SHELDON RD                                                                                                    CANTON           MI      48187‐3173
HONEYCUTT, THOMAS              C/O BILBREY                         8724 PIN OAK ROAD                                                                EDWARDSVILLE     IL      62025
HONEYCUTT, THOMAS G            5588 E 200 S                                                                                                         MARION           IN      46953‐9140
HONEYCUTT, WALTER L            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA      23510‐2212
                                                                   STREET, SUITE 600
HONEYCUTT, WALTER O            5867 CHARLESGATE RD                                                                                                  HUBER HEIGHTS    OH      45424‐1118
HONEYCUTT, WILLIAM B           5314 MAD RIVER RD                                                                                                    DAYTON           OH      45429‐2030
HONEYMAN, BEVERLY              16 REGENT ST                                                                                                         LOCKPORT         NY      14094
HONEYMAN, DAVID A              16 REGENT ST                                                                                                         LOCKPORT         NY      14094‐5017
HONEYMAN, DOROTHEA A           9130 STATE ROUTE 55                                                                                                  LUDLOW FALLS     OH      45339‐8712
HONEYMAN, DOROTHEA A           9130 ST RT 55                                                                                                        LUDLOW FALLS     OH      45339‐8712
HONEYMAN, RAYMOND A            348 WALNUT ST                                                                                                        BAILEYVILLE      KS      66404
HONEYMAN, RICHARD              208 TATE AVE                                                                                                         ENGLEWOOD        OH      45322‐1620
HONEYMAR, MICHAEL G            12 MCGUIRK LN 113                                                                                                    WEST ORANGE      NJ      07052
HONEYSETT, ROGER W             3311 FIRETHORNE CT                                                                                                   FORT WAYNE       IN      46814‐8909
HONEYSUCKER, ROBERT            5017 SURREY CT                                                                                                       NORTH RICHLAND   TX      76180‐7810
                                                                                                                                                    HILLS
HONEYSUCKLE, JERRY F           14741 HIGHWAY 60                                                                                                     CABOOL           MO      65689‐9771
HONEYSUCKLE, MADONNA A         14741 HIGHWAY 60                                                                                                     CABOOL           MO      65689
HONEYWELL                      851 JACKSON ST                                                                                                       GREENVILLE       OH      45331‐1284
HONEYWELL                      8370 DOW CIRCLE                                                                                                      STRONGSVILLE     OH      44136
HONEYWELL ACS SERVICES         1140 W WARNER RD                    MAIL STOP 1233 ‐M                                                                TEMPE            AZ      85284‐2816
HONEYWELL ASCA INC             TIM BENSETTE                        FILTERS & SPARK PLUGS         305 ROMEO ST                                       BOYNE CITY       MI      49712
HONEYWELL ASCA INC             3333 UNITY DR                                                                             MISSISSAUGA ON L5L 3S6
                                                                                                                         CANADA
HONEYWELL ASCA INC             CONSUMER PRODUCTS DIVISION          305 ROMEO STREET SOUTH                                TORONTO CANADA ON N5A
                                                                                                                         6V4 CANADA
HONEYWELL ASCA INC             JP MORGAN CHASE                     4 CHASE METROTECH CENTER                                                         BROOKLYN          NY     11245‐0001
HONEYWELL ASCA INC.            3333 UNITY DR.                      MAILSTOP 2G11‐H10                                     MISSISSAUGA ON L5L 3S6
                                                                                                                         CANADA
HONEYWELL BUILDING SOLUTIONS   1140 W WARNER MS 1233‐M                                                                                              TEMPE             AZ     85284
HONEYWELL CO LTD               18F KUKIE CENTER BLDG               191 HAN‐GANGNO2‐QA YONGSAN‐                          SEOUL KR 140‐702 KOREA
                                                                   QU                                                   (REP)
HONEYWELL CO LTD               ATTN KANG MYUNGSUK                  18F KUKJE CENTER BLDG 191     HANGANGRO‐2GA YONGSAN‐ 140‐702 KOREA SOUTH KOREA
                                                                                                 GU SEOUL
HONEYWELL CONSUMER PRODUCTS    39 OLD RIDGEBURY RD                                                                                                  DANBURY           CT     06810‐5110
GROUP
HONEYWELL CONSUMER PRODUCTS    ATTN: MATTHEW BELK, GLOBAL CREDIT   39 OLD RIDGEBURY ROAD                                                            DANBURY           CT     06810‐5109
GROUP                          MANAGER
                                 09-50026-mg           Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                             Address1                             Address2                      Address3             Address4                City            State Zip
HONEYWELL CONSUMER PRODUCTS      ATTN PAULA CONWAY                    39 OLD RIDGEBURY ROAD                                                      DANBURY          CT 06801
GROUP
HONEYWELL CONSUMER PRODUCTS      ATTN: TIM SHAW ‐ GLOBAL CREDIT       234 EAST MAPLE ROAD                                                        TROY            MI   48083
GROUP ‐ FRICTION MATERIALS LLC   MANAGER
HONEYWELL CONTROLS LTD           COMPONETS DIV                        PO BOX 7401                   STATION A            TORONTO CANADA ON M5W
                                                                                                                         3C1 CANADA
HONEYWELL CONTROLS LTD.
HONEYWELL CPG                    28399 CEDAR PARK BLVD                                                                                           PERRYSBURG      OH   43551‐4864
HONEYWELL ENGINES SYS & SVCS     ATTN PHX LAB DEPT 47 PAUL JOBE       PO BOX 52181 M/S 302‐201                                                   PHOENIX         AZ   85072
HONEYWELL HOBBS                  1034 E ASH ST                                                                                                   SPRINGFIELD     IL   62703‐3551
HONEYWELL HOBBS EFT              ATTN: CORPORATE OFFICER/AUTHORIZED   13129 COLLECTION CENTER DR                                                 CHICAGO         IL   60693‐0131
                                 AGENT
HONEYWELL IAC/ATLNTA             1190 W. DRUID HILLS DRIVE                                                                                       ATLANTA         GA   30329
HONEYWELL INC                    2520 S WALNUT ST                                                                                                FREEPORT        IL   61032‐9528
HONEYWELL INC                    49116 WIXOM TECH DR                                                                                             WIXOM           MI   48393‐3563
HONEYWELL INC                    MASON SCHILLING & MASON CO LPA       11340 MONTGOMERY RD STE 210                                                CINCINNATI      OH   45249‐2377
HONEYWELL INC                    2500 W UNION HILLS DR                                                                                           PHOENIX         AZ   85027‐5139
HONEYWELL INC                    2520 S WALNUT RD                                                                                                FREEPORT        IL   61032‐9528
HONEYWELL INC                    101 COLUMBIA RD                                                                                                 MORRISTOWN      NJ   07960‐4640
HONEYWELL INC.                   JON SONCRANT                         MICRO SWITCH DIV‐32           2520 S WALNUT RD                             FREEPORT        IL   61032‐9528
HONEYWELL INDUSTRY SOLUTIONS     217 INTERNATIONAL CIRCLE                                                                                        HUNT VALLEY     MD   21030
HONEYWELL INDUSTRY SOLUTIONS     12541 COLLECTION CENTER DR                                                                                      CHICAGO         IL   60693‐0125
HONEYWELL INTERANTIONAL          512 VIGINAI DRIVE                                                                                               FT WASHINGTON   PA   19034
HONEYWELL INTERNATIONAL          101 COLUMBIA RD                                                                                                 MORRISTOWN      NJ   07960‐4658
HONEYWELL INTERNATIONAL          HONEYWELL INTERNATIONAL, INC, 101                                                                               MORRISTOWN      NJ   07962
                                 COLUMBIA, MORRISSTOWN
HONEYWELL INTERNATIONAL          JEFFREY GOOD                         1100 WORLDWIDE BLVD                                                        DETROIT         MI
HONEYWELL INTERNATIONAL INC      101 COLUMBIA RD                                                                                                 MORRISTOWN      NJ   07960‐4658
HONEYWELL INTERNATIONAL INC      2080 ARLINGATE LN                                                                                               COLUMBUS        OH   43228‐4112
HONEYWELL INTERNATIONAL INC      209 BREWER RD, RR 5                  PO BOX 13                                                                  DANVILLE        IL   61834
HONEYWELL INTERNATIONAL INC      21111 N 19TH AVE                                                                                                PHOENIX         AZ   85027‐2700
HONEYWELL INTERNATIONAL INC      2520 S WALNUT RD                                                                                                FREEPORT        IL   61032‐9528
HONEYWELL INTERNATIONAL INC      3201 LOMITA BLVD                                                                                                TORRANCE        CA   90505‐5015
HONEYWELL INTERNATIONAL INC      39 OLD RIDGEBURY RD                                                                                             DANBURY         CT   06810
HONEYWELL INTERNATIONAL INC      410 RICHARD A MAUTINO DR                                                                                        SPRING VALLEY   IL   61362‐1140
HONEYWELL INTERNATIONAL INC      900 W MAPLE RD                                                                                                  TROY            MI   48084‐5308
HONEYWELL INTERNATIONAL INC      CHRIS REAMSNYDER                     HONEYWELL CONSUMER PRODUCTS 1200 E. HIGHLAND                               AUBURN HILLS    MI   48326
HONEYWELL INTERNATIONAL INC      JAN ALBERTSON                        1551 MINERAL SPRINGS ROAD                                                  MALVERN         OH   44644
HONEYWELL INTERNATIONAL INC      KENT FAIRLESS                        ALLIED AUTOMOTIVE BRAKING SYST 3 TIBBITS AVENUE                            WESTMINSTER     MD   21157
HONEYWELL INTERNATIONAL INC      PATRICK GOOD                         HONEYWELL PRESTONE OPERATIONS 19500 MARINER AVE.                           ROCHESTER       MI   48039
HONEYWELL INTERNATIONAL INC      TIM BENSETTE                         1600 N UNION ST                ALLIED SIGNAL                               FOSTORIA        OH   44830‐1958
                                                                                                     FRAM/AUTOLITE
HONEYWELL INTERNATIONAL INC      TIM BENSETTE                         ALLIED SIGNAL FRAM/AUTOLITE    1600 N UNION ST                             HASTINGS        MI
HONEYWELL INTERNATIONAL INC      ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 9742 POSTAL STATION A                       TORONTO ON M5W 3M2
                                 AGENT                                                                                   CANADA
HONEYWELL INTERNATIONAL INC      JP MORGAN CHASE                    4 METROTECH CTR                                                              BROOKLYN        NY   11245‐0001
HONEYWELL INTERNATIONAL INC      JP MORGAN CHASE                    4 METROTECH CENTER                                                           BROOKLYN        NY   11245‐0001
HONEYWELL INTERNATIONAL INC      6935 GOLDEN RING RD                                                                                             BALTIMORE       MD   21237‐3033
HONEYWELL INTERNATIONAL INC      PO BOX 97001                                                                                                    REDMOND         WA   98073‐9701
HONEYWELL INTERNATIONAL INC      101 COLUMBIA ROAD, MORRIS TOWNSHIP                                                                              MORRISTOWN      NJ   07960

HONEYWELL INTERNATIONAL INC      2520 S WALNUT RD                                                                                                FREEPORT        IL   61032‐9528
HONEYWELL INTERNATIONAL INC      49116 WIXOM TECH DR                                                                                             WIXOM           MI   48393‐3563
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Name                            Address1                             Address2                      Address3                   Address4                    City               State Zip
HONEYWELL INTERNATIONAL INC     BLVD LAZARO CARDENAS 2545            COL PLUTARCO ELIAS CALLES                                MEXILCALI BJ 21396 MEXICO

HONEYWELL INTERNATIONAL INC     BRENDA HOFFMAN                       410 RICHARD A MAUTINO DR      INVENSYS PLC                                           SPRING VALLEY       IL   61362‐1140
HONEYWELL INTERNATIONAL INC     BRENDA HOFFMAN                       INVENSYS PLC                  410 RICHARD A MAUTINO                                  ELMA                NY
                                                                                                   DRIVE
HONEYWELL INTERNATIONAL INC     FERNANDO BORREGEROS S/N                                                                       CIUDAD JUAREZ CH 32630
                                                                                                                              MEXICO
HONEYWELL INTERNATIONAL INC     JEFFREY GOOD                         1100 WORLDWIDE BLVD                                                                  DETROIT             MI
HONEYWELL INTERNATIONAL INC     JEFFREY GOOD                         AUTOMOTIVE DIVISION           JACKSON‐MARTZ ST. PO BOX                               LISLE               IL   60532
                                                                                                   100
HONEYWELL INTERNATIONAL INC     JON SONCRANT                         MICRO SWITCH DIV‐32           CHICAGO & SPRING                                       WHITMORE LAKE       MI   48189
HONEYWELL INTERNATIONAL INC     KENT FAIRLESS                        FRICTION MATERIALS            3000 20TH STREET NE                                    DETROIT             MI   48216
HONEYWELL INTERNATIONAL INC     STUART GURNEY                        ELIZABETH ST POB 631                                     KNAGNAM‐KU,SEOUL KOREA
                                                                                                                              (REP)
HONEYWELL INTERNATIONAL INC     TIM BENSETTE                         FILTERS & SPARK PLUGS         305 ROMEO ST                                           BOYNE CITY          MI   49712
HONEYWELL INTERNATIONAL INC     11385 WAYNE DR                                                                                                            HOLLYWOOD           FL   33026‐3738
HONEYWELL INTERNATIONAL INC     18F KUKIE CENTER BLDG                191 HAN‐GANGNO2‐QA YONGSAN‐                              SEOUL 140‐702 KOREA (REP)
                                                                     QU
HONEYWELL INTERNATIONAL INC     KENT FAIRLESS                        3000 20TH ST NE               FRICTION MATERIALS                                     CLEVELAND          TN    37323‐5837
HONEYWELL INTERNATIONAL INC     3660 TECHNOLOGY DRIVE                                                                                                     MINNEAPOLIS        MN    55418
HONEYWELL INTERNATIONAL INC     BANK OF AMERICA                      12484 COLLECTION CENTER DR                                                           CHICAGO            IL    60693‐0124
HONEYWELL INTERNATIONAL INC     ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 848324                                                                        DALLAS             TX    75284‐8324
                                AGENT
HONEYWELL INTERNATIONAL INC     ATTN: CORPORATE OFFICER/AUTHORIZED   39 OLD RIDGEBURY ROAD                                                                DANBURY             CT   06810‐5103
                                AGENT
HONEYWELL INTERNATIONAL INC     ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 77440                                                                         DETROIT             MI   48278‐0001
                                AGENT
HONEYWELL INTERNATIONAL INC     ATTN THOMAS BYRNE CHIEF              101 COLUMBIA ROAD                                                                    MORRISTOWN          NJ   07962
                                ENVIRONMENTAL COUNSEL
HONEYWELL INTERNATIONAL INC     ATTN TANYA HOLCOMB                   101 COLUMBIA ROAD                                                                    MORRISTOWN          NJ   07962
HONEYWELL INTERNATIONAL INC     BENDIX FRICTION MATERIAL DIV         105 PAWTUCKET AVE                                                                    RUMFORD             RI   02916‐2422
HONEYWELL INTERNATIONAL INC     ATTN: CORPORATE OFFICER/AUTHORIZED   7000 19 MILE RD                                                                      STERLING HEIGHTS    MI   48314‐3210
                                AGENT
HONEYWELL INTERNATIONAL INC,
HONEYWELL INTERNATIONAL INC.    21111 N 19TH AVE                                                                                                          PHOENIX            AZ    85027‐2700
HONEYWELL INTERNATIONAL INC.    SHELLY LOFGREN                       MN65‐3620                                                                            MINNEAPOLIS        MN
HONEYWELL INTERNATIONAL INC.    101 COLUMBIA ROAD                                                                                                         MORRISTOWN         NJ    07962
HONEYWELL INTERNATIONAL INC.    101 COLUMBIA ROAD                                                                                                         MORRISTOWN         NJ    07962
HONEYWELL INTERNATIONAL INC.    ATTN THOMAS BYRNE CHIEF              101 COLUMBIA ROAD                                                                    MORRISTOWN         NJ    07962
                                ENVIRONMENTAL COUNSEL
HONEYWELL INTERNATIONAL INC.    ATTN: THOMAS BYRNE, CHIEF            101 COLUMBIA ROAD                                                                    MORRISTOWN          NJ   07962
                                ENVIRONMENTAL COUNSEL
HONEYWELL INTERNATIONAL INC.    ATTN: THOMAS BYRNE, CHIEF            101 COLUMBIA ROAD                                                                    MORRISTOWN          NJ   07962
                                ENVIRONMENTAL
HONEYWELL INTERNATIONAL INC.    ATTN: THOMAS BYRNE                   CHIEF ENVIRONMENTAL COUNSEL   101 COLUMBIA ROAD                                      MORRISTOWN          NJ   07962
HONEYWELL INTERNATIONAL, INC    ATT DEB MAINS ‐ C2C MANAGER          1140 W WARNER RD              M/S 1233‐M                                             TEMPE               AZ   85284
HONEYWELL INTERNATIONAL, INC.   ATTN: DIANNE HANSEN, SPECIALTY       1140 W. WARNER ROAD                                                                  TEMPE               AZ   85284‐2816
                                MATERIALS CREDIT MGR.
HONEYWELL INTERNATIONAL, INC.   101 COLUMBIA ROAD, MORRIS TOWNSHIP                                                                                        MORRISTOWN          NJ   07960

HONEYWELL INTL ‐ FMP GROUP      ATTN: TIM SHAW, HONEYWELL FM ‐       BENDIX MINTEX                 8 ELIZABETH STREET         BALLARAT, VIC 3350
(AUSTRALIA) PTY LTD             GLOBAL CREDIT MANAGER                                                                         AUSTRALIA
HONEYWELL JR, F R               201 W FREMONT AVE                                                                                                         LITTLETON           CO   80120‐4244
HONEYWELL LEBOW                 1728 MAPLELAWN DR                                                                                                         TROY                MI   48084‐4604
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Name                               Address1                              Address2                        Address3   Address4                    City               State Zip
HONEYWELL LIMITED
HONEYWELL OPTOELECTRONICA SA DE CV FERNANDO BORREGEROS S/N                                                          CIUDAD JUAREZ, CH 32630
                                                                                                                    MEXICO
HONEYWELL PRODUCTOS AUTOMOTRIC      BLVD LAZARO CARDENAS 2545            COL PLUTARCO ELIAS CALLES                  MEXILCALI BJ 21396 MEXICO

HONEYWELL SENSING & CONTROL         2520 SOUTH WALNUT ROAD                                                                                      FREEPORT           IL    61032‐9528
HONEYWELL SENSING & CONTROL         1100 AIRPORT RD                                                                                             SHELBY             NC    28150‐3639
HONEYWELL SENSOTEC INC              2080 ARLINGATE LN                                                                                           COLUMBUS           OH    43228‐4112
HONEYWELL TURBO TECHNOLOGIES        23326 HAWTHORNE BLVD STE 200                                                                                TORRANCE           CA    90505‐3756
HONEYWELL TURBO TECHNOLOGIES AS     GARRETT TURBOCHARGER DIV             3201 W LOMITA BLVD                                                     TORRANCE           CA    90505
TURBOCHARGES AS AUTOMOTIVE
HONEYWELL, INC.                     HONEYWELL PLAZA                                                                                             MINNEAPOLIS        MN    55408
HONEYWELL, JAMES M                  456 SANDEHURST DR                                                                                           GRAND BLANC        MI    48439‐1556
HONEYWELL, JOYCE L                  12472 BROOKLYN RD                                                                                           BROOKLYN           MI    49230
HONEYWELL, ROBERT R                 4275 W STATE RD                                                                                             LANSING            MI    48906‐9154
HONEYWELL, ROLLAND F                9585 JANE DR                                                                                                SAINT HELEN        MI    48656‐9309
HONEYWELL/EAST PROV                 DIVISION OF ALLIED AUTOMOTIVE        105 PAWTUCKET AVE.                         STRATFORD ON N5A 6V4
                                                                                                                    CANADA
HONEYWELL/EAST PROV                 305 ROMEO ST.                                                                   STRATFORD ON N5A6V4
                                                                                                                    CANADA
HONEYWELL/EAST PROV                 105 PAWTUCKET AVE                    DIVISION OF ALLIED AUTOMOTIVE                                          RUMFORD            RI    02916‐2422
HONEYWELL/EAST PROV                 851 JACKSON ST                                                                                              GREENVILLE         OH    45331‐1277
HONEYWELL/FRMNGTN HI                23938 RESEARCH DR                                                                                           FARMINGTON HILLS   MI    48335‐2629

HONEYWELL/MORRISTOWN                101 COLUMBIA RD                                                                                             MORRISTOWN          NJ   07960‐4640
HONEYWELL/MORRISTOWN                ATTN: CORPORATE OFFICER/AUTHORIZED   101 COLUMBIA RD                                                        MORRISTOWN          NJ   07960‐4640
                                    AGENT
HONEYWELL/SPRINGFIEL                1034 E ASH ST                                                                                               SPRINGFIELD        IL    62703‐3551
HONEYWOOD, KIANE L                  333 SUMMER RIDGE LN                                                                                         LAWRENCEVILLE      GA    30044‐3932
HONFI, LESLIE                       233 MURRAY AVE                                                                                              YARDVILLE          NJ    08620‐9763
HONG BAE                            29703 CITATION TRIANGLE              APT 10203                                                              FARMINGTON HILLS   MI    48331‐5833

HONG BANG INDUSTRIAL CO LTD         NO 28 HE SHUN DA ROAD LI SHUI        TOWN NANHAI FOSHAN CITY                    GUANGDONG CHINA CHINA

HONG BOK YOUNG                      N65W7265 CLEVELAND ST                                                                                       CEDARBURG          WI    53012‐1858
HONG DOAN                           PO BOX 9022                                                                                                 WARREN             MI    48090‐9022
HONG HAIPING                        1619 W GENEVA RD                                                                                            PEORIA             IL    61615‐1157
HONG JOSEPH                         1801 NW BIRDSDALE AVE                                                                                       GRESHAM            OR    97030‐4837
HONG KONG BANK OF CANADA            885 WEST GEORGIA STREET                                                         VANCOUVER BC V6C 3E9
                                                                                                                    CANADA
HONG KONG DRAGON BOAT FESTIVALIN    1720 WHITESTONE EXPY STE 303                                                                                WHITESTONE          NY   11357‐3000
NEW YORK INC
HONG KONG UNIVERSITY OF SCIENCE &
TECHNOLOGY (HKUST), CHINA
HONG L NGUYEN                       3729 UTICA DR.                                                                                              DAYTON             OH    45439
HONG L NGUYEN                       3347 VAGABOND LN                                                                                            DAYTON             OH    45424‐6241
HONG MICHAEL                        5407 NEWBERRY AVE                                                                                           MEMPHIS            TN    38115‐3651
HONG NGUYEN                         5531 PATTERSON DR                                                                                           TROY               MI    48085‐3926
HONG NGUYEN                         3729 UTICA DR                                                                                               DAYTON             OH    45439‐2549
HONG PAN                            PO BOX 9022                          C/O SHANGHAI                                                           WARREN             MI    48090‐9022
HONG VU‐LUU                         47907 HICKORY ST                     APT 30201                                                              WIXOM              MI    48393‐2724
HONG WENG                           31125 PORTSIDE DR APT 6205                                                                                  NOVI               MI    48377‐4207
HONG WILLIAM                        9414 EAGLE TRCE                                                                                             FAIRFAX STATION    VA    22039‐3315
HONG YANG                           1652 DEVONWOOD DR                                                                                           ROCHESTER HILLS    MI    48306‐3105
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Name                                Address1                        Address2                       Address3                   Address4                    City            State   Zip
HONG ZHANG                          1819 LEXINGTON DR                                                                                                     TROY             MI     48084‐5714
HONG, BONNIE J                      51 ANNE MARIE CT                                                                                                      HOLLISTER        CA     95023‐9357
HONG, BONNIE J                      51 ANN MARIE CT                                                                                                       HOLLISTER        CA     95023‐9357
HONG, CALVIN W                      PO BOX 824                                                                                                            BANNING          CA     92220‐0006
HONG, DUANE D                       4432 N ARTESIAN AVE                                                                                                   CHICAGO           IL    60625‐3002
HONG, HAROLD E                      51 ANNE MARIE CT                                                                                                      HOLLISTER        CA     95023‐9357
HONG, HYUNG‐JOO                     13732 PHEASANT DR                                                                                                     SHELBY TWP       MI     48315‐4816
HONG, KIEU C                        2955 DELI DR NE                                                                                                       GRAND RAPIDS     MI     49525‐3130
HONG, LIU                           2460 SPYGLASS DR                                                                                                      OAKLAND          MI     48363‐2460
HONG, LONG T                        5609 SHELDON DR                                                                                                       ALEXANDRIA       VA     22312‐6339
HONG, PHILLIP                       1110 S HUDSON AVE                                                                                                     LOS ANGELES      CA     90019‐1806
HONG, SANGHEE                       20784 HINKLE RD                                                                                                       NOBLESVILLE      IN     46062‐9745
HONG, SUNGCHIN                      3195 APPLERIDGE DR                                                                                                    ANN ARBOR        MI     48103‐9059
HONG‐HSIANG KUO                     6560 PARKVIEW DR                                                                                                      TROY             MI     48098‐5234
HONGACH, GEORGE E                   25 PINE CLOSE                                                                                                         SLEEPY HOLLOW    NY     10591‐1710
HONGBIN PU                          44900 LIGHTSWAY DR                                                                                                    NOVI             MI     48375‐3820
HONGEN, MARY                        6600 LAKE CLARK DR                                                                                                    LAKELAND         FL     33813‐4538
HONGHAO TAN                         2115 GLENCOE HILLS DR APT 7                                                                                           ANN ARBOR        MI     48108‐1035
HONGIMAN, MILLER, SCHWARTZ AND      223 S WASHINGTON SQ             SUITE 400                                                                             LANSING          MI     48933‐1807
COHN
HONGLEI ZHAO                        24624 HIGHLANDS DR                                                                                                    NOVI             MI     48375‐2622
HONGWELL TOYS LIMITED
HONGXUN GAO                         145 TELFORD DR                                                                                                        TROY             MI     48085‐1584
HONGYU WANG                         16547 JOHNSON CREEK DR                                                                                                NORTHVILLE       MI     48168‐8002
HONGYU YAN                          44610 DUNBARTON DR                                                                                                    NOVI             MI     48375‐3914
HONHAI PRECISION INDUSTRY CO LTD    NO 2 TZU YU ST                                                                            TUCHENG CITY 23678 TAIWAN

HONHAI PRECISION INDUSTRY CO LTD    NO 299 NANSONG RD WUSONGJIANG                                                             KUNSHAN JIANGSU CN 215361
                                                                                                                              CHINA (PEOPLE'S REP)

HONHAI PRECISION INDUSTRY CO LTD    NO 299 NANSONG RD WUSONGJIANG   INDUSTRIAL ZONE YUSHAN TOWN                               KUNSHAN JIANGSU CN 215361
                                                                                                                              CHINA (PEOPLE'S REP)

HONIG STEVE                         1412 N MOORPARK RD                                                                                                    THOUSAND OAKS    CA     91360‐5127
HONIG, RICHARD                      1669 MIDLAND RD                                                                                                       SAGINAW          MI     48638‐4336
HONIGMAN MIL/DETROIT                2290 FIRST NATIONAL BUILDING                                                                                          DETROIT          MI     48226
HONIGMAN MILLER FONS\OLD WAYNE      ADMINISTRATIVE ACCOUNT          2290 FIRST NATIONAL BLDG                                                              DETROIT          MI     48226
HONIGMAN MILLER FWCC                ADMINISTRATIVE ACCT S BANKS     2290 FIRST NATIONAL BLDG      6600 WOODWARD AVE                                       DETROIT          MI     48226
                                                                                                  UPDATE
HONIGMAN MILLER FWCC                ADMINISTRATION ACCT             2290 1ST NATIONAL BLDG        660 WOODWARD                                            DETROIT          MI     48226
HONIGMAN MILLER FWCC BURNS          ADMINISTRATIVE ACCOUNT          660 WOODWARD AVE              2290 FIRST NATIONAL BLDG                                DETROIT          MI     48226‐3409
HONIGMAN MILLER SCHWARTZ &          COHN CLIENT TRUST ACCT RSRG     660 WOODWARD AVE C\O L DURFEE 2290 FIRST NATIONAL BLDG                                DETROIT          MI     48226
HONIGMAN MILLER SCHWARTZ &          COHN LAW OFFICES                660 WOODWARD AVE              2290 FIRST NATIONAL                                     DETROIT          MI     48226‐3409
                                                                                                  BUILDING
HONIGMAN MILLER SCHWARTZ &          COHN TRUST ACCT C\O J DUNSKY    2290 FIRST NATIONAL BLDG                                                              DETROIT          MI     48226
HONIGMAN MILLER SCHWARTZ &          2290 FIRST NATIONAL BLDG                                                                                              DETROIT          MI     48226
HONIGMAN MILLER SCHWARTZ &          COHN CLIENT TRUST ACCT          C/O C DUNSKY HONIGMAN MILLER   2290 FIRST NATIONAL BANK                               DETROIT          MI     48226
                                                                                                   BLDG
HONIGMAN MILLER SCHWARTZ & COHN     2290 FIRST NATIONAL BLDG                                                                                              DETROIT          MI     48226

HONIGMAN MILLER SCHWARTZ & COHN   ATTN DONALD F BATY JR             2290 FIRST NATIONAL BLDG                                                              DETROIT          MI     48226
LLP
HONIGMAN MILLER SCHWARTZ AND COHN ATTN: JOEL S. ADELMAN, ESQUIRE    2290 FIRST NATIONAL BUILDING                                                          DETROIT          MI     48226
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Name                              Address1                             Address2                        Address3               Address4               City          State Zip
HONIGMAN MILLER SCHWARTZ AND COHN ROBERT B. WEISS                      2290 FIRST NATIONAL BUILDING    660 W. WOODWARD AVE.                          DETROIT        MI 48226

HONIGMAN MILLER SCHWARTZ AND COHN 660 WOODWARD AVE                     2290 FIRST NATIONAL BUILDING                                                  DETROIT       MI   48226‐3409

HONIGMAN MILLER SCHWARTZ AND COHN ATTN: ADAM L. KOCHENDERFER ESQ.      660 WOODWARD AVE., SUITE 2290                                                 DETROIT       MI   48226
LLP
HONIGMAN MILLER SCHWARTZ AND COHN 660 WOODWARD AVE                     2290 FIRST NATIONAL BUILDING                                                  DETROIT       MI   48226‐3409
LLP
HONIGMAN MILLER SCHWARTZ AND COHN ATTN: ROBERT B. WEISS                2290 FIRST NATIONAL BUILDING    660 W. WOODWARD AVE.                          DETROIT       MI   48226
LLP
HONIGMAN MILLER SCHWARTZ AND COHN (RE PERSONAL GUARANTYS ‐ CHIEFTAIN
LLP                                PRODUCTS)
HONIGMAN MILLER SCHWARTZ AND COHN ATTN: JUDY B. CALTON                 2290 FIRST NATIONAL BUILDING    660 WOODWARD AVE                              DETROIT       MI   48226
LLP
HONIGMAN MILLER SCHWARTZ AND COHN ATTY FOR GENERAL MOTORS              ATTN ROBERT B WEISS ESQ         2290 FIRST NATIONAL    660 WOODWARD AVENUE    DETROIT       MI   48226
LLP                                CORPORATION                                                         BUILDING
HONIGMAN MILLER SCHWARTZ AND COHN ATTY FOR GENERAL MOTORS              ATT: TRICIA A. SHERICK, ESQ.    2290 FIRST NATIONAL    660 WOODWARD AVENUE    DETROIT       MI   48226
LLP                                CORPORATION                                                         BUILDING
HONIGMAN MILLER SCHWARTZ AND COHN ATTY FOR GENERAL MOTORS              ATTN JOSEPH R SGROI ESQ         2290 FIRST NATIONAL    660 WOODWARD AVENUE    DETROIT       MI   48226
LLP                                CORPORATION                                                         BUILDING
HONIGMAN, KARL G                   3898 BLAKE RD                                                                                                     SEVILLE       OH   44273‐9730
HONIGMAN, MILLER, SCHWARTZ AND     JOHN D. PIRICH                      222 N WASHINGTON SQ STE 400                                                   LANSING       MI   48933‐1800
COHN
HONIKMAN, TERRENCE
HONIOUS, ROBERT T                  476 GREYSTONE DRIVE                                                                                               DAYTON        OH   45458‐4952
HONIOUS, WARREN S                  5726 LITTLE RICHMOND RD                                                                                           TROTWOOD      OH   45426‐3222
HONKALA, KEITH A                   47 CROMWELL DR                                                                                                    DEPEW         NY   14043‐4414
HONKALA, KIMBERLY A                635 DEERFIELD DR                                                                                                  N TONAWANDA   NY   14120‐1824
HONKAMP, FRED SALES CO             12419 W HAMPTON AVE STE 101                                                                                       BUTLER        WI   53007‐1701
HONKE, RICHARD A                   9000 FARMINGTON RD                                                                                                LIVONIA       MI   48150‐3649
HONKISZ, F J                       116 CREEMER AVE                                                                                                   ISELIN        NJ   08830‐2326
HONN, ARTHUR J                     11518 MASONIC BLVD                                                                                                WARREN        MI   48093‐1150
HONN, LEWIS A                      6004 GABRIEL                                                                                                      SHAWNEE       OK   74804‐9336
HONNERT LOUIS                      5769 CHEVIOT RD UNIT 36                                                                                           CINCINNATI    OH   45247
HONNICK, MITCHELL                  646 MILLER BEECH RD                                                                                               OWEGO         NY   13827‐4942
HONNOLD DONENE                     309 EAST 49TH STREET APT 4B                                                                                       NEW YORK      NY   10017
HONNOLD, R G                       223 W ELM                                                                                                         PENDLETON     IN   46064‐1115
HONOLD, DALE N                     4157 S BADOUR RD                                                                                                  MERRILL       MI   48637‐9311
HONOLULU BOARD OF WATER SUPPLY                                         1000 MAKOLU ST                                                                              HI   96782
HONOLULU FIRE DEPT                                                     93‐145 WAIPAHU DEPOT ST                                                                     HI   96797
HONOLULU FREIGHT SERVICE           1400 DATE ST                                                                                                      MONTEBELLO    CA   90640‐6323
HONOLULU MARATHON ASSOCIATION      C/O JEANETTE CHUN                   1635 CITRON ST                                                                HONOLULU      HI   96826
HONOMICHL, DAVID H                 28 S TAYLOR RD                                                                                                    BRANCH        MI   49402‐9221
HONOR MUREL JR 3RD ACTION          HONOR, MUREL
HONOR SMITH                        BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS    OH   44236
HONOR, GERTRUDE                    339 BRUCE ST                                                                                                      SYRACUSE      NY   13224‐1532
HONORABLE BRIAN K ZAHRA OFC        ATTN: BRIAN K ZAHRA                 3020 W GRAND BLVD # 14‐300                                                    DETROIT       MI   48202‐6020
HONORABLE CHARLES F. "SKIP" GRUBER OFFICE OF COUNTY COMMISSIONER,      201 E SECTION AVE                                                             FOLEY         AL   36535‐2769
                                   DISTRICT NO. 4
HONORABLE CHRISTOPHER M MURRAY     ATTN: CHRISTOPHER MURRAY            3020 W GRAND BLVD                                                             DETROIT       MI   48202‐6020
HONORABLE HELENE N WHITE           ATTN: HELENE N WHITE                3020 W GRAND BLVD                                                             DETROIT       MI   48202‐6020
HONORABLE KAREN FORT HOOD          ATTN: KAREN FT HOOD                 3020 W GRAND BLVD                                                             DETROIT       MI   48202‐6020
HONORABLE KATHLEEN JANSEN          ATTN: KATHLEEN JANSEN               3020 W GRAND BLVD                                                             DETROIT       MI   48202‐6020
HONORABLE KENNETH W SCHMIDT        ATTN: KENNETH W SCHMIDT             1230 WASHINGTON AVE                                                           BAY CITY      MI   48708‐5756
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Name                               Address1                           Address2                            Address3                  Address4                   City            State   Zip
HONORABLE KIRSTEN FRANK KELLY      ATTN: KIRSTEN FRANK KELLY          3020 W GRAND BLVD                                                                        DETROIT          MI     48202‐6020
HONORABLE KURTIS T WILDER          ATTN: KURTIS WILDER                3020 W GRAND BLVD                                                                        DETROIT          MI     48202‐6020
HONORABLE LARRY J STECCO           ATTN: LARRY J STECCO               11820 N SAGINAW ST                                                                       MT MORRIS        MI     48458‐1504
HONORABLE MARILYN KELLY            ATTN: MARILYN KELLY                3034 W GRAND BLVD # 8‐500                                                                DETROIT          MI     48202‐6010
HONORABLE MAURA D CORRIGAN         3034 W GRAND BLVD # 8‐500                                                                                                   DETROIT          MI     48202‐6010
HONORABLE MICHAEL J TALBOT         ATTN: MICHAEL J TALBOT             3020 W GRAND BLVD                                                                        DETROIT          MI     48202‐6020
HONORABLE ROBERT P YOUNG           3044 W GRAND BLVD                                                                                                           DETROIT          MI     48202‐3037
HONORABLE WILLIAM CAPRATHE         ATTN: KENNETH W SCHMIDT            1230 WASHINGTON AVE                                                                      BAY CITY         MI     48708‐5756
HONORACIA YOUNG                    321 EASTWOOD LN                                                                                                             LIBERTY          MO     64068‐2606
HONORE JR, EDWARD P                3800 BOULDER FOREST LN                                                                                                      ELLENWOOD        GA     30294‐1688
HONORIA SANTOS                     267 SPRING ST                                                                                                               OSSINING         NY     10562‐5709
HONORIS CONSULTADORIA E            R S FRANCISCO XAVIER 94                                                                          1400‐332 LISBON PORTUGAL
INFORMATICA LDA
HONORIS CONSULTADORIA E            R S FRANCISCO XAVIER 94                                                                                                     LISBON                  1400‐
INFORMATICA, LDA
HONORS                             28142 WOODWARD AVE                                                                                                          ROYAL OAK        MI     48067‐0934
HONOVICH, WILLIAM M                8 BAYBERRY DR                                                                                                               PEEKSKILL        NY     10566
HONOWAY, JULIA                     8046 STONY CT                      C/O RICHARD HONOWAY                                                                      WHITE LAKE       MI     48386‐4545
HONOWAY, RICHARD M                 8046 STONY CT                                                                                                               WHITE LAKE       MI     48386‐4545
HONOWAY, RONNIE I                  7437 ELMWOOD RD                                                                                                             CASS CITY        MI     48726‐8908
HONSA ERGONOMIC TECHNOLOGIES INC   1300 11TH ST W                                                                                                              MILAN            IL     61264‐2259

HONSAKER, JAMES A                  907 N. RIVER RD.                                                                                                            WARREN          OH      44483
HONSBERG LAMB                      SONDERWERKZEUGMASCHINEN GMBH       HASTENER STR 22 26                                            REMSCHEID D‐42855
                                                                                                                                    GERMANY
HONSBERG/REMSCHEID                 SONDERWERKZEUG MACHINEN GMBH       HASTNER ST. 22 ‐ 26                                           REMSCHEID D42855 GERMANY

HONSBERGER, BRUCE                  8405 BURDICK RD                                                                                                             AKRON            NY     14001‐9731
HONSBERGER, LYNN M                 8400 COUNTY RD                                                                                                              EAST AMHERST     NY     14051‐2304
HONSBERGER, SANDRA                 714 MERRICK DRIVE                                                                                                           SUGAR LAND       TX     77478‐3705
HONSCHKE, MICHAEL                  ATTN LYNNE KIZIS ESQ               WILENTZ GOLDMAN AND SPITZER         90 WOODBRIDGE CENTER DR                              WOODBRIDGE       NJ     07095

HONSCHKE, MICHAEL                  WILENTZ GOLDMAN & SPITZER          88 PINE STREET, WALL STREET PLAZA                                                        NEW YORK        NY      10005
HONSHELL, JOSHUA P                 107 DAPHNE CT                                                                                                               BOWLING GREEN   KY      42103‐6015
HONSHELL, JOSHUA PATRICK           107 DAPHNE CT                                                                                                               BOWLING GREEN   KY      42103‐6015
HONSICKLE, ETHEL                   6613 CHARING STREET                                                                                                         SIMI VALLEY     CA      93063‐3924
HONSOWITZ, MICHAEL H               13450 W HOWE RD                                                                                                             EAGLE           MI      48822‐9714
HONSTAIN, CHRISTOPHER M            707 PARKDALE AVE                                                                                                            ROYAL OAK       MI      48073‐5506
HONTHY, ANGELA M                   260 MORELAND DR                                                                                                             CANFIELD        OH      44406‐1025
HONTO, JOHNNY                      9201 LYON ST                                                                                                                DETROIT         MI      48209‐3602
HONTO, NANCY ANN                   20446 LENNON ST                                                                                                             HARPER WOODS    MI      48225‐1472
HONTO, STEVE                       753 N BECK RD                                                                                                               CANTON          MI      48187‐4808
HONTO, STEVE A                     753 N BECK RD                                                                                                               CANTON          MI      48187‐4808
HONTS, SHARON L                    1606 SUNSHINE ST                                                                                                            GLEN BURNIE     MD      21061
HONTZ CATHY                        35911 N 32ND DR                                                                                                             PHOENIX         AZ      85086‐2205
HONTZ, JIMMIE D                    PO BOX 166                                                                                                                  SUNRISE BEACH   MO      65079‐0166
HONTZ, MELINDA                     18676 W 153RD PL                                                                                                            OLATHE          KS      66062‐7035
HONTZ, ROGER A                     1204 S 53RD ST                                                                                                              KANSAS CITY     KS      66106‐1638
HONTZ, STEPHEN R                   8610 HIGHWAY D                                                                                                              NAPOLEON        MO      64074‐7109
HONU VICTORIA                      HONU, VICTORIA                     20725 86TH AVENUE SE                                                                     SNOHOMISH       WA      98296
HONU, VICTORIA                     20725 86TH AVE SE                                                                                                           SNOHOMISH       WA      98296‐3974
HONUS, ROBERT J                    PO BOX 133                                                                                                                  BERGLAND        MI      49910‐0133
HONZU, MARGERY A                   1301 DEFOREST RD SE                                                                                                         WARREN          OH      44484‐3503
HONZU, MARGERY ADRIANA             1301 DEFOREST RD SE                                                                                                         WARREN          OH      44484‐3503
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Name                           Address1                       Address2                        Address3   Address4               City            State   Zip
HOO, JOHN C                    24201 VANOWEN ST                                                                                 WEST HILLS       CA     91307‐2935
HOOBLER, DEBRAH I              591 SHERMAN DR                                                                                   FRANKLIN         OH     45005‐7102
HOOBLER, JAMES H               35 CHAMBERS AVE                                                                                  GREENVILLE       PA     16125‐1863
HOOCK, CATHERINE M             5120 N CAPAC RD                                                                                  CAPAC            MI     48014‐1917
HOOCK, CATHERINE M             5120 CAPAC RD                                                                                    MUSSEY           MI     48014‐1917
HOOCK, DEBORAH                 7430 COLDWATER RD                                                                                FLUSHING         MI     48433‐1120
HOOCK, FREDERIC R              7430 COLDWATER RD                                                                                FLUSHING         MI     48433
HOOD AUTOMOTIVE                501 S 1ST ST                                                                                     AMITE            LA     70422‐3201
HOOD CHEVROLET, LLC            WILLIAM HOOD                   69020 HIGHWAY 190 SERVICE RD                                      COVINGTON        LA     70433‐5180
HOOD CLARK                     17947 INKSTER RD                                                                                 ROMULUS          MI     48174‐9465
HOOD COLLEGE                   ACCOUNTING OFFICE              401 ROSEMONT AVE                                                  FREDERICK        MD     21701‐8524
HOOD COUNTY APPRAISAL DIST     PO BOX 819                                                                                       GRANBURY         TX     76048‐0819
HOOD CROOKS, LETA M            C/O, JANET YOUNG               368 SE 100 ROAD                                                   CLINTON          MO     64735
HOOD CROOKS, LETA M            368 SE 100TH RD                C/O, JANET YOUNG                                                  CLINTON          MO     64735‐9483
HOOD DARRELL (637456)          BRAYTON PURCELL                PO BOX 6169                                                       NOVATO           CA     94948‐6169
HOOD EDWARD                    HOOD, EDWARD                   UNKNOWN
HOOD FAMILY TRUST              8501 SW 89TH ST                                                                                  OKLAHOMA CITY   OK      73169‐1701
HOOD HOWARD                    HOOD, HOWARD                   N8050 H40                                                         NAUBINWAY       MI      49762
HOOD II, DELOS C               1869 HAVERHILL DR                                                                                LAPEER          MI      48446‐9792
HOOD III, FRANK                PO BOX 420762                                                                                    PONTIAC         MI      48342‐0762
HOOD III, HARLEY H             1065 TAMARACK TRL                                                                                CHARLOTTE       MI      48813‐8356
HOOD INDUSTRIES INC            580 TIFFT ST                   PO BOX 1065                                                       BUFFALO         NY      14220‐1813
HOOD INDUSTRIES INC            PO BOX 1065                                                                                      BUFFALO         NY      14220‐8065
HOOD JAMES (445315)            BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH      44067
                                                              PROFESSIONAL BLDG
HOOD JR, COLUMBUS              4025 S WASHINGTON RD                                                                             SAGINAW         MI      48601‐5160
HOOD JR, JAMES M               RR 1 BOX 4650                                                                                    DORA            MO      65637‐9412
HOOD JR, JOHN C                1714 CARROLL AVE                                                                                 BALTIMORE       MD      21227‐4111
HOOD JR, ROBERT E              8425 HOGAN RD                                                                                    FENTON          MI      48430‐9049
HOOD JR, WILLIAM H             2483 CLIFTON SPRINGS MNR                                                                         DECATUR         GA      30034‐3734
HOOD JR, WILLIE                619 N SHORE RD                                                                                   LITHONIA        GA      30058‐5992
HOOD MARIE L                   597 YERKE YOUNG RD                                                                               MINERAL RIDGE   OH      44440‐9320
HOOD MOTOR CO., L.L.C.         WILLIAM HOOD                   501 S 1ST ST                                                      AMITE           LA      70422‐3201
HOOD NORTHLAKE                 69020 HIGHWAY 190 SERVICE RD                                                                     COVINGTON       LA      70433‐5180
HOOD SHANDRA                   PO BOX 397                                                                                       LEESVILLE       LA      71496‐0397
HOOD TRANSPORTATION INC        RR 4 BOX 271                                                                                     RUSHVILLE       IL      62681‐9207
HOOD TRANSPORTATION SERVICES   PO BOX 14129                                                                                     FORT WORTH      TX      76117‐0129
HOOD, ADRIA P                  905 WEBB RD                                                                                      MINERAL RIDGE   OH      44440‐9757
HOOD, ALVIN                    825 W LACLEDE AVE                                                                                YOUNGSTOWN      OH      44511‐1455
HOOD, AMIE L                   220 W VAN BUREN ST                                                                               ALEXANDRIA      IN      46001‐1356
HOOD, ANDREW M                 3454 N DENNY ST                                                                                  INDIANAPOLIS    IN      46218‐1416
HOOD, ANITRA N                 26 MONTICELLO PL                                                                                 BUFFALO         NY      14214‐2712
HOOD, ANITRA NOELLE            26 MONTICELLO PL                                                                                 BUFFALO         NY      14214‐2712
HOOD, ANNA                     3208 BRIGHTON ST                                                                                 BALTIMORE       MD      21216
HOOD, B J                      155 COUNTY ROAD 529                                                                              TOWN CREEK      AL      35672‐3329
HOOD, BARBARA J                226 4TH ST                                                                                       BIG SANDY       TN      38221‐3526
HOOD, BENNIE R                 1623 LYON ST                                                                                     FLINT           MI      48503‐1192
HOOD, BESSIE B                 423 S 7TH ST                                                                                     SAGINAW         MI      48601
HOOD, BETTE M                  207 S PORTER ST                                                                                  SAGINAW         MI      48602‐2323
HOOD, BETTY J                  PO BOX 1312                                                                                      MOREHEAD        KY      40351‐5312
HOOD, BRENDA                   8012 LONESOME SPUR TRL                                                                           MCKINNEY        TX      75070
HOOD, BRENDA F                 19371 PATTON ST                                                                                  DETROIT         MI      48219‐2530
HOOD, BURLIN E                 300 OVERSTREET WAY APT 102                                                                       COLUMBUS        OH      43228‐4338
HOOD, CARL G                   61 WILPARK DR                                                                                    AKRON           OH      44312‐3585
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Name                  Address1                       Address2                       Address3   Address4               City              State Zip
HOOD, CAROL D         2213 MAPLEWOOD AVE                                                                              SAGINAW            MI 48601‐3604
HOOD, CELIA C         6497 JOHN R RD                                                                                  TROY               MI 48085‐1008
HOOD, CHARLES         1134 E 113TH ST                                                                                 CLEVELAND          OH 44108‐3740
HOOD, CHARLES A       653 S MADISON ST APT 17                                                                         ADRIAN             MI 49221‐3144
HOOD, CHARLES C       1168 E GRAND BLVD                                                                               FLINT              MI 48505‐1522
HOOD, CHARLES D       2901 HIGHWAY 36 W                                                                               HARTSELLE          AL 35640‐7400
HOOD, CHARLES E       23690 HILL AVE                                                                                  WARREN             MI 48091
HOOD, CHARLES F       4205 SNAPPER AVE                                                                                MILTON             FL 32583‐8578
HOOD, CHARLES J       3416 WOODRIDGE RD                                                                               CLEVELAND HEIGHTS OH 44121‐1532

HOOD, CHARLES R       445 ELM ST                                                                                      STRUTHERS         OH   44471‐1113
HOOD, CHARLOTTE A     16831 RUNIONS CREEK RD                                                                          BROADWAY          VA   22815‐2041
HOOD, CHRISTOPHER A   APT 102                        6606 COPPER RIDGE DRIVE                                          BALTIMORE         MD   21209‐2164
HOOD, CLAIRE E        C/O KEVIN HOOD                 4066 STATE ROUTE 127 NORTH                                       EATON             OH   45320‐5320
HOOD, CLAIRE E        4066 US ROUTE 127 N            C/O KEVIN HOOD                                                   EATON             OH   45320‐9245
HOOD, CLAYTON W       25206 SOUTHWOOD DR                                                                              SOUTHFIELD        MI   48075‐2081
HOOD, CLIFFORD W      305 BRAZIL DR                                                                                   HURST             TX   76054‐2412
HOOD, CLINTON         521 STOCKDALE ST                                                                                FLINT             MI   48503‐5119
HOOD, CYNTHIA A       4061 GREEN ISLE WAY APT 4                                                                       SAGINAW           MI   48603‐1413
HOOD, DANNY H         4601 OGEMA AVE                                                                                  FLINT             MI   48507‐2770
HOOD, DARRELL         BRAYTON PURCELL                PO BOX 6169                                                      NOVATO            CA   94948‐6169
HOOD, DARRELL D       APT 4106                       505 CYPRESS STATION DRIVE                                        HOUSTON           TX   77090‐1620
HOOD, DAVID A         61 BOENAU ST 2                                                                                  ALBANY            NY   12202
HOOD, DAVID B         1587 CO. ROAD #58                                                                               MOULTON           AL   35650
HOOD, DAVID G         49344 MORNING GLORY DR                                                                          MACOMB            MI   48044‐1839
HOOD, DAVID J         112 3RD AVE N                                                                                   LORETTO           TN   38469
HOOD, DAVID J         11616 PADRE WAY                                                                                 DUBLIN            CA   94568‐1329
HOOD, DELORES A       12636 ALVATON SCOTTSVILLE RD                                                                    ALVATON           KY   42122‐8735
HOOD, DELOS C         4620 SW 17TH AVE                                                                                CAPE CORAL        FL   33914‐6228
HOOD, DENNIS K        352 LEWIS DR                                                                                    RICHMOND          KY   40475
HOOD, DENTON H        2014 HARTWELL LN                                                                                FORT MILL         SC   29707‐5951
HOOD, DIANE E         7720 S LOCUST ST                                                                                CENTENNIAL        CO   80112‐2427
HOOD, DIANNE W        1750 GLENDALE AVE                                                                               SAGINAW           MI   48638‐4767
HOOD, DON R           1800 VZCR 1207                                                                                  CANTON            TX   75103
HOOD, DORIS E         1721 E. BANKHEAD RD.                                                                            WEATHERFORD       TX   76086‐4612
HOOD, DORIS E         1721 E BANKHEAD DR                                                                              WEATHERFORD       TX   76086‐4612
HOOD, DOROTHY C       2946 LAKE HARBIN RD                                                                             MORROW            GA   30260‐2143
HOOD, DOROTHY I       881 VERNITA DR                                                                                  LAKE ORION        MI   48362‐2457
HOOD, DOROTHY L       2263 BUXTON AVE                                                                                 NORWOOD           OH   45212‐2249
HOOD, DOROTHY L       1836 GOLETA AVE                                                                                 YOUNGSTOWN        OH   44504‐1326
HOOD, DULA            1247 HOGUE RD                                                                                   HAMILTON          OH   45013‐9323
HOOD, DWIGHT K        2535 E 42ND ST                                                                                  LORAIN            OH   44055‐3507
HOOD, EDWARD          14414 LISA DR                                                                                   MAPLE HEIGHTS     OH   44137‐4156
HOOD, EDWARD M        1099 COLLINGWOOD DRIVE                                                                          CARO              MI   48723‐1003
HOOD, EDWIN L         3105 MAGNOLIA DR                                                                                TROY              OH   45373‐8845
HOOD, ELEANOR         256 S CHESTER AVE              C/O ELEANOR M HOOD, EXECUTOR                                     INDIANAPOLIS      IN   46201‐4504
HOOD, ELLA J          411 CLEARVIEW ST SW                                                                             DECATUR           AL   35601‐6321
HOOD, ESSIE M         25206 SOUTHWOOD DR                                                                              SOUTHFIELD        MI   48075‐2081
HOOD, ESTHER R        P.O. 8267                                                                                       BOSSIER CITY      LA   71113
HOOD, FANNIE B        PO BOX 528                                                                                      MC MINNVILLE      TN   37111‐0528
HOOD, FRANCIS D       38508 SPARROW CT                                                                                DADE CITY         FL   33525‐1756
HOOD, FREDDY R        5714 COUNTY ROAD 59                                                                             MOULTON           AL   35650‐5962
HOOD, GARR            16324A PINE GROVE ROAD EXT N                                                                    BAY MINETTE       AL   36507‐8439
HOOD, GERALD T        34 SANJE CT                                                                                     CROSSVILLE        TN   38572‐6457
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Name                 Address1                             Address2                       Address3   Address4               City            State   Zip
HOOD, GILBERT W      325 E SEMINARY ST                                                                                     CHARLOTTE        MI     48813‐1627
HOOD, GLADYS         230 COLLINS INDUSTRIAL WAY APT 224                                                                    LAWRENCEVILLE    GA     30043‐8745
HOOD, GREGORY E      220 W VAN BUREN ST                                                                                    ALEXANDRIA       IN     46001
HOOD, HAROLD         PORTER & MALOUF PA                   4670 MCWILLIE DR                                                 JACKSON          MS     39206‐5621
HOOD, HAROLD E       G 2437 WOODLAND TRAIL                                                                                 FLINT            MI     48507
HOOD, HAROLD K       6078 MALZAHN DR                                                                                       SHELBY TWP       MI     48316‐2543
HOOD, HAROLD M       6350 E STATE ROAD 144                                                                                 MOORESVILLE      IN     46158‐6237
HOOD, HAROLD R       155 COUNTY ROAD 529                                                                                   TOWN CREEK       AL     35672‐3329
HOOD, HENRY          PO BOX 4526                                                                                           TOLEDO           OH     43610‐0526
HOOD, HOWARD         N8050 H40                                                                                             NAUBINWAY        MI     49762
HOOD, IRA L          1836 GOLETA AVE                                                                                       YOUNGSTOWN       OH     44504‐4504
HOOD, IRMA R         38 ALPINE PARK DR                                                                                     BRANDON          MS     39047‐9047
HOOD, ISAIAH         5202 E 46TH ST                                                                                        INDIANAPOLIS     IN     46226‐3225
HOOD, JACQUELINE J   6754 PINE CREEK DR                                                                                    TOLEDO           OH     43617‐1272
HOOD, JAMES          BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD       OH     44067
                                                          PROFESSIONAL BLDG
HOOD, JAMES EDWARD   C/O EDWARD O MOODY P A               801 W 4TH ST                                                     LITTLE ROCK     AR      72201
HOOD, JAMES EDWARD   MOODY EDWARD O                       801 W 4TH ST                                                     LITTLE ROCK     AR      72201‐2107
HOOD, JAMES O        8051 SYLVESTER ST                                                                                     DETROIT         MI      48214‐1132
HOOD, JAMES W        13919 COUNTY ROAD 7                                                                                   MOULTON         AL      35650‐5904
HOOD, JANICE M       APT A                                1218 MCPHERSON LANE                                              NORCROSS        GA      30093‐4269
HOOD, JEFFREY D      4012 CLOVERCROFT RD                                                                                   FRANKLIN        TN      37067‐5801
HOOD, JERRY L        36651 JODI AVE                                                                                        ZEPHYRHILLS     FL      33542‐1919
HOOD, JERRY W        7318 NAVY ST                                                                                          DETROIT         MI      48209‐1841
HOOD, JIMMIE L       14552 LANNETTE ST                                                                                     DETROIT         MI      48213‐1528
HOOD, JO A           5411 OAKRIDGE DR                                                                                      BEAVERTON       MI      48612‐8594
HOOD, JOAN K         2014 HARTWELL LN                                                                                      FORT MILL       SC      29707‐5951
HOOD, JOHN D         219 S MAIN ST                                                                                         EOLIA           MO      63344‐1103
HOOD, JOHN H         4905 PLUM TREE LN                                                                                     HAZELWOOD       MO      63042
HOOD, JOHN L         87 BRUSHY PATH                                                                                        ROCKMART        GA      30153‐6378
HOOD, JOHN W         16701 POPLAR STREET                                                                                   SOUTHGATE       MI      48195‐3900
HOOD, JOSEPH         1611 HEATHFIELD RD                                                                                    BALTIMORE       MD      21239‐3607
HOOD, JOSHUA         665 FARRAR CT                                                                                         DECATUR         GA      30032‐1204
HOOD, JUDITH         11590 WEST CO RD 200S                                                                                 PARKER CITY     IN      47368
HOOD, JULIA B        2271 CHEVY CHASE LANE                                                                                 DECATUR         GA      30032‐6124
HOOD, KAREN D        144 CREEKS XING                                                                                       RUSTON          LA      71270‐1764
HOOD, KEITH          2121 WINDY HILL RD APT 106                                                                            MARIETTA        GA      30060‐6413
HOOD, KEITH          4015 HERITAGE VALLEY LN SW                                                                            HIRAM           GA      30141‐6390
HOOD, KENNETH        1434 EASON ST NW                                                                                      ATLANTA         GA      30314‐2102
HOOD, KENNETH A      3018 LESLIE ST                                                                                        DETROIT         MI      48238‐3360
HOOD, KENNETH L      2839 FOSTER AVE                                                                                       ANN ARBOR       MI      48108‐1312
HOOD, LARRY E        1835 WINDING MEADOWS DR                                                                               MONROE          MI      48162‐5358
HOOD, LARRY H        4191 CARVER CIR                                                                                       ATLANTA         GA      30360‐2556
HOOD, LARRY J        179 SOUTHSIDE MOBILE PARK            P O BOX 56                                                       MONROE          GA      30655
HOOD, LARRY W        4385 N COUNTY ROAD 1000 E                                                                             BROWNSBURG      IN      46112‐9375
HOOD, LAWRENCE       18600 PINEHURST ST                                                                                    DETROIT         MI      48221‐1959
HOOD, LAWRENCE       1403 GALLAGHER ST                                                                                     SAGINAW         MI      48601‐3816
HOOD, LAWRENCE L     210 COTTONWOOD DR                                                                                     ANDERSON        IN      46012‐1006
HOOD, LAWRENCE LEE   210 COTTONWOOD DR                                                                                     ANDERSON        IN      46012‐1006
HOOD, LEROY          C/O EDWARD O MOODY P A               801 W 4TH ST                                                     LITTLE ROCK     AR      72201
HOOD, LEROY          MOODY EDWARD O                       801 W 4TH ST                                                     LITTLE ROCK     AR      72201‐2107
HOOD, LESHA D        3009 CANFIELD RD APT 11                                                                               YOUNGSTOWN      OH      44511‐2838
HOOD, LETICIA S      1065 TAMARACK TRAIL                                                                                   CHARLOTTE       MI      48813‐8356
HOOD, LUTHER         2434 PERKINS ST                                                                                       SAGINAW         MI      48601‐1572
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Name                    Address1                            Address2            Address3   Address4               City               State   Zip
HOOD, LYNDAL F          339 S STATE ROAD 29                                                                       FLORA               IN     46929‐8209
HOOD, M S               183 CONKLE RD                                                                             HAMPTON             GA     30228‐2706
HOOD, MARGARET R        14017 WATERS EDGE DRIVE                                                                   LOUISVILLE          KY     40245‐5251
HOOD, MARJORIE          7971 CABERFAE TRL                   C/O ANDREA HIRSCH                                     CLARKSTON           MI     48348‐3708
HOOD, MARVA A           3548 WOODY WAY                                                                            CANAL WINCHESTER    OH     43110

HOOD, MARY F            PO BOX 63                                                                                 COOPERSVILLE       MI      49404
HOOD, MARY L            PO BOX 141                                                                                MCLOUD             OK      74851‐0141
HOOD, MELANIE D         30 W HERRON DR                                                                            ALBION             IN      46701‐9585
HOOD, MICHAEL J         209 N MERCER ST                                                                           DURAND             MI      48429‐1418
HOOD, MICHAEL JOSEPH    209 N MERCER ST                                                                           DURAND             MI      48429‐1418
HOOD, MICHAEL R         997B HALLOCK YOUNG RD SW                                                                  WARREN             OH      44481‐9636
HOOD, MICHAEL R         PO BOX 295                                                                                RANDOLPH           OH      44265‐0296
HOOD, MIRANDA SHAY
HOOD, NATHAN C          23 ROSEBUD LN                                                                             MOUNT CLEMENS      MI      48043‐1474
HOOD, NOLIA             1787 FAYETTEVILLE CT SE                                                                   ATLANTA            GA      30316‐2908
HOOD, NORRIS M          19371 PATTON ST                                                                           DETROIT            MI      48219‐2530
HOOD, OLIVER J          820 SULLIVAN ST                                                                           DELTONA            FL      32725‐3502
HOOD, PAMELA S          7153 CEDAR LAKE RD                                                                        PINCKNEY           MI      48169‐8823
HOOD, PATRICIA G        9026 DENTVILLE RD                                                                         UTICA              MS      39175‐9533
HOOD, PATTI J           21404 LOONEY RD                                                                           ATHENS             AL      35613‐4042
HOOD, PAUL E            11520 W 200 S                                                                             PARKER CITY        IN      47368‐9292
HOOD, PAUL R            9822 W MAIN ST                                                                            LAPEL              IN      46051‐9760
HOOD, PAUL R            1834 MCPHAIL ST                                                                           FLINT              MI      48503‐4367
HOOD, PAULA K           6021 YALE ST                                                                              WESTLAND           MI      48185‐3167
HOOD, RAE D             1067 E BEARD RD                                                                           PERRY              MI      48872‐9521
HOOD, RALPH N           PO BOX 890576                                                                             OKLAHOMA CITY      OK      73189
HOOD, RANDY J           8234 S PEOGA RD                                                                           TRAFALGAR          IN      46181‐8996
HOOD, RAYMOND A         2247 SPRINGBROOK RD S                                                                     BOYNE FALLS        MI      49713‐9727
HOOD, RAYMOND C         8030 ELLERTON AVE                                                                         SAINT LOUIS        MO      63114‐5312
HOOD, RAYMOND M         9053 SOFTWATER WOODS DR 15                                                                CLARKSTON          MI      48348
HOOD, RENEE L           32073 RED CREEK DR                                                                        CHESTERFIELD       MI      48047‐4572
HOOD, ROBERT C          7619 STONES RIVER CT                                                                      INDIANAPOLIS       IN      46259‐6727
HOOD, ROBERT E          719 TURNBERRY DR                                                                          SAINT CLAIR        MI      48079‐4281
HOOD, ROBERT O          29329 E NOTTINGHAM CIR                                                                    WARREN             MI      48092‐2272
HOOD, RODGER D          319 W DAYTON ST                                                                           FLINT              MI      48505‐4108
HOOD, ROGER A           5020 STARR ST                                                                             NEWTON FALLS       OH      44444‐9409
HOOD, RONALD C          27438 MAYFAIR AVE                                                                         BROWNSTOWN TWP     MI      48183‐4815

HOOD, ROOSEVELT         PO BOX 67                                                                                 TRASKWOOD           AR     72167‐0067
HOOD, ROSEMARY B        115 PEBBLE VIEW DR                                                                        FRANKLIN            TN     37064‐2951
HOOD, ROY
HOOD, RUSSELL W         120 ISLAND AVENUE                                                                         LANSING            MI      48910‐1408
HOOD, RUSSELL WARREN    120 ISLAND AVENUE                                                                         LANSING            MI      48910‐1408
HOOD, SANDRA F          235 W WILLOW ST TRLR 8                                                                    ANDERSON           IN      46012‐1667
HOOD, SHARON L          2302 HIGHLAND RD                                                                          ANDERSON           IN      46012‐1922
HOOD, SHEILA V          849 OLYMPIAN CIR                                                                          DAYTON             OH      45427‐2737
HOOD, SOPHIA M          163 CHIPPEWA AVE                                                                          ROYAL OAK          MI      48073‐2576
HOOD, STANLEY B         766 DYE FORD RD                                                                           ALVATON            KY      42122‐9676
HOOD, STANLEY BERNARD   766 DYE FORD RD                                                                           ALVATON            KY      42122‐9676
HOOD, TAMMY EDWARDS     BEASLEY ALLEN CROW METHVIN PORTIS & PO BOX 4160                                           MONTGOMERY         AL      36103‐4160
                        MILES
HOOD, THERESA M         8301 RIVERLAND DR APT 6                                                                   STERLING HEIGHTS    MI     48314‐2454
HOOD, THOMAS H          10615 WHISTLER PKWY                                                                       HOLLY               MI     48442‐8591
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Name                                 Address1                            Address2                      Address3   Address4               City               State   Zip
HOOD, THOMAS J                       1914 N VERMONT AVE                                                                                  ROYAL OAK           MI     48073‐4256
HOOD, TODD A                         2107 FARNSLEY RD                                                                                    LOUISVILLE          KY     40216‐3661
HOOD, TOMMIE V                       39 COVINGTON RD                                                                                     BUFFALO             NY     14216‐2101
HOOD, TOMMIE VERNELL                 39 COVINGTON RD                                                                                     BUFFALO             NY     14216‐2101
HOOD, TOMMY W                        4451 CATALINA CIR                                                                                   EAST POINT          GA     30344‐6510
HOOD, TONDIA C                       4282 GLENNOAK CIR                                                                                   BYRAM               MS     39272‐9382
HOOD, VONZELL                        766 DYE FORD RD                                                                                     ALVATON             KY     42122‐9676
HOOD, WANDA L                        720 DRIFTWOOD CIR                                                                                   DANVILLE            IN     46122‐9021
HOOD, WILLIAM                        418 EMERSON AVE                                                                                     FARRELL             PA     16121‐1830
HOOD, WILLIAM B                      25620 DEER RIDGE TRL                                                                                WATERFORD           WI     53185‐4800
HOOD, WILLIAM C                      LAKE JEMIKI RD                      BOX 1350                                                        WALHALLA            SC     29691
HOOD, WILLIAM E                      29751 CITATION TRIANGLE APT 11103                                                                   FARMINGTON HILLS    MI     48331‐5834

HOOD, WILLIAM EDWARD                 29751 CITATION TRIANGLE APT 11103                                                                   FARMINGTON HILLS    MI     48331‐5834

HOOD, WILLIAM J                      19701 N TAMIAMI TRL                 #90                                                             N FT MYERS         FL      33903‐1209
HOOD, WILLIAM J                      19701 N TAMIAMI TRL #90                                                                             N FT MYERS         FL      33903‐1209
HOOD, WILLIAM J                      204 OAK RIDGE DR SE                                                                                 MARIETTA           GA      30060‐3412
HOOD, WILLIAM L                      9232 CANAL WAY                                                                                      WEST CHESTER       OH      45069‐2967
HOOD, WILLIE RUTH                    PO BOX 455                                                                                          YOUNGSTOWN         OH      44501
HOOD, WILSON                         144 CREEKS XING                                                                                     RUSTON             LA      71270‐1764
HOOD, WILSON G                       144 CREEKS XING                                                                                     RUSTON             LA      71270‐1764
HOOD, WOODROW                        511 CREGO BLVD                                                                                      SAGINAW            MI      48601‐6213
HOOD, ZEDIETH R                      16701 POPLAR ST                                                                                     SOUTHGATE          MI      48195‐3900
HOOD, ZEDIETH R                      16701 POPLER ST                                                                                     SOUTHGATE          MI      48195
HOOD,SHEILA V                        849 OLYMPIAN CIR                                                                                    DAYTON             OH      45417‐8837
HOOE HUGH P (352001)                 GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510
                                                                         STREET, SUITE 600
HOOE, HUGH P                         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                                         STREET, SUITE 600
HOOF, DOUGLAS                        7537 GIESE ST                                                                                       DETROIT            MI      48234
HOOF, KENNETH L                      9287 SE 172ND GARDEN ST                                                                             THE VILLAGES       FL      32162‐1801
HOOF, MICHAEL A                      7323 THOROUGHBRED DR APT 1D                                                                         FT WAYNE           IN      46804‐2349
HOOF, MICHAEL A                      609 MADISON AVE                                                                                     FORT ATKINSON      WI      53538‐1317
HOOF, TERI L                         609 MADISON AVE                                                                                     FORT ATKINSON      WI      53538‐1317
HOOF, TERI L                         7323 THOROUGHBRED DR APT 1D                                                                         FT WAYNE           IN      46804‐2349
HOOFMAN, MONROE D                    5349 DOE RUN DR                                                                                     IMPERIAL           MO      63052‐2174
HOOG RAYMOND (433995) ‐ TAYLOR TOM   FROST SCOTT C                       3102 OAK LAWN AVE                                               DALLAS             TX      75219

HOOG, FRANCIS H                      8518 PLAINFIELD RD                                                                                  CINCINNATI         OH      45236‐1823
HOOG, KENNETH                        108 ALDERBROOK DR                                                                                   MARQUETTE          MI      49855‐9201
HOOG, MINA L                         120 SKYLAR DRIVE N.E.                                                                               CLEAVELAND         TN      37312
HOOG, MINA L                         120 SKYLAR DR NE                                                                                    CLEVELAND          TN      37312‐7408
HOOGEBOOM, DONNA L                   3080 20 MILE RD                                                                                     KENT CITY          MI      49330‐9757
HOOGENBOOM, JOHN R                   7135 RAVINE RD                                                                                      KALAMAZOO          MI      49009‐9059
HOOGENBOOM, PHILLIP H                5296 LINDENWOOD ST                                                                                  KALAMAZOO          MI      49004‐1906
HOOGENDOORN, SHARLA
HOOGENSTRYD, GERRIT                  3300 WALTON BLVD                                                                                    ROCHESTER HLS       MI     48309‐1267
HOOGERHEIDE, GARY M                  22705 LAKE DR                                                                                       PIERSON             MI     49339‐9612
HOOGERHEIDE, GENEVA J                22705 LAKE DR                       C/O GARY HOOGERHEIDE                                            PIERSON             MI     49339‐9612
HOOGERHYDE, BETTY JANE               1316 LAMONT AVE NW                                                                                  GRAND RAPIDS        MI     49504‐2415
HOOGERHYDE, BETTY JANE               1316 LAMONT NW                                                                                      GRAND RAPIDS        MI     49504‐2415
HOOGERHYDE, JERRY L                  3440 PERRY AVE SW                                                                                   WYOMING             MI     49519‐3236
HOOGERHYDE, JOHN M                   7411 POLK ST                                                                                        HUDSONVILLE         MI     49426‐9521
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Name                               Address1                            Address2                      Address3   Address4               City               State   Zip
HOOGERHYDE, LEO J                  20708 US 27 N                                                                                       MARSHALL            MI     49068
HOOGERHYDE, MICHAEL T              3332 SHAWNEE TRL                                                                                    PINCKNEY            MI     48169‐9311
HOOGESTRAAT, MATTHEW               ROGERS & FLECK                      705 2ND AVE STE 1601                                            SEATTLE             WA     98104‐1711
HOOGEWIND, CYNTHIA KAY             2955 HOOGEWIND DR NW                                                                                GRAND RAPIDS        MI     49544‐9732
HOOGEWIND, JAMES                   3738 RICHMOND NW                                                                                    GRAND RAPIDS        MI     49544‐1213
HOOGEWIND, JAMES                   3738 RICHMOND ST NW                                                                                 GRAND RAPIDS        MI     49534‐1213
HOOGEWIND, MICHAEL L               2955 HOOGEWIND DR NW                                                                                GRAND RAPIDS        MI     49544‐9732
HOOGEWIND, ROGER D                 6736 KIES ST NE                                                                                     ROCKFORD            MI     49341‐9698
HOOGHUIS, GERRIT E                 415 N THORNBURG ST                                                                                  SANTA MARIA         CA     93458‐4033
HOOGLAND, PHILIP JULIUS            601 BEECH LANE                                                                                      NEW LENOX            IL    60451‐3325
HOOGSTRA, DONALD S                 600 CAROLINA VILLAGE RD UNIT 145                                                                    HENDERSONVILLE      NC     28792‐2825
HOOGVELD, JOHNY W                  2042 WOODGLEN ST                                                                                    SIMI VALLEY         CA     93065‐1133
HOOIE, SHANES W                    327 VICTORIA PARK DR                                                                                HOWELL              MI     48843‐1263
HOOIE, THOMAS M                    2991 MARGUERITE STREET                                                                              GADSDEN             AL     35903‐7666
HOOK BOLTON KIRKLAND & MCGHEE PA   3298 SUMMIT BLVD STE 22             JEFFERSON PARK OFFICE                                           PENSACOLA           FL     32503‐4350

HOOK CARL B JR (439150)            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510
                                                                       STREET, SUITE 600
HOOK CHARLEY (469558)              C/O PAUL HANLEY & HARLEY            1608 4TH ST STE 300                                             BERKELEY            CA     94710‐1749
HOOK DANIEL J (660194)             LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                      BIRMINGHAM          MI     48009‐5394
HOOK I I, EDWARD E                 11130 HORTON RD                                                                                     HOLLY               MI     48442‐9472
HOOK II, EDWARD E                  11130 HORTON RD                                                                                     HOLLY               MI     48442‐9472
HOOK INDUSTRIAL SALES INC          PO BOX 9177                                                                                         FORT WAYNE          IN     46899‐9177
HOOK OF SHELBYVILLE BOB            RE: HOOK OF SHELBYVILLE BOB         700 TAYLORSVILLE RD                                             SHELBYVILLE         KY     40065‐9121
HOOK OF SHELBYVILLE BOB            HOOK OF SHELBYVILLE BOB             700 TAYLORSVILLE RD                                             SHELBYVILLE         KY     40065‐9121
HOOK PETER JR                      520 LEEWARD AVENUE                                                                                  BEACH HAVEN         NJ     08008‐1329
HOOK, ALICE K                      526 W PHILADELPHIA BLVD                                                                             FLINT               MI     48505‐3267
HOOK, BEATRICE JEAN                5257 IRISH RD                                                                                       GRAND BLANC         MI     48439‐9727
HOOK, BETTY J                      812 EGRET CT.                                                                                       EDGEWATER           FL     32141‐4142
HOOK, BETTY J                      812 EGRET CT                                                                                        EDGEWATER           FL     32141‐4142
HOOK, CARL B                       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                                       STREET, SUITE 600
HOOK, CHARLES D                    PO BOX 117                                                                                          WEBSTER             FL     33597
HOOK, CHARLES J                    14066 OLETA ST                                                                                      SPRING HILL         FL     34609‐3082
HOOK, CHARLEY                      PAUL HANLEY & HARLEY                1608 4TH ST STE 300                                             BERKELEY            CA     94710‐1749
HOOK, CRAIG A                      6711 HATCHERY RD                                                                                    WATERFORD           MI     48327‐1129
HOOK, CYNTHIA J                    5153 WISHING WELL DR                                                                                GRAND BLANC         MI     48439‐4241
HOOK, DANIEL J                     LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                      BIRMINGHAM          MI     48009‐5394
HOOK, DAVID L                      406 WOODCREST LN                                                                                    FRANKLIN            TN     37067‐8532
HOOK, DENNIS N                     422 KRISTINE CT                                                                                     UPPER CHICHESTER    PA     19061‐3246

HOOK, DONALD L                     70750 ELDRED RD                                                                                     BRUCE TWP          MI      48065‐4234
HOOK, EDMOND D                     1312 W MICHIGAN AVE                                                                                 LANSING            MI      48915
HOOK, EVELYN                       1150 NE MULBERRY ST                 C/O TREASURE SCHALLENBERG                                       LEES SUMMIT        MO      64086‐5499
HOOK, FLAVIS M                     641 W SCHLEIER ST APT C1                                                                            FRANKENMUTH        MI      48734
HOOK, FREDERICK L                  204 HUNTINGDON DR                                                                                   LEESBURG           GA      31763‐5547
HOOK, GLEN                         503 ARCADIA DR                                                                                      HARBOR SPRINGS     MI      49740‐8409
HOOK, JACK W                       14615 HIDDEN GLEN WOODS                                                                             SAN ANTONIO        TX      78249‐1470
HOOK, JAMES W                      2879 COACHLITE DR                                                                                   TECUMSEH           MI      49286‐7515
HOOK, JUDITH D                     204 HUNTINGDON DR                                                                                   LEESBURG           GA      31763‐5547
HOOK, KAREN S                      4201 THORNRIDGE DRIVE                                                                               GRAND BLANC        MI      48439‐8825
HOOK, KENNETH H                    3001 KENMORE AVE                                                                                    DAYTON             OH      45420‐2235
HOOK, KEVIN J                      8841 CHALLENGER DRIVE                                                                               CHARLOTTE          NC      28213‐4085
HOOK, LOUIS A                      710 PIONEER TRL                                                                                     SAGINAW            MI      48604‐2221
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Name                          Address1                       Address2                      Address3   Address4               City               State   Zip
HOOK, LOUIS AVERY             3293 CHRISTY WAY S                                                                             SAGINAW             MI     48503‐7209
HOOK, MARY A                  3350 BRUNSWICK DRIVE                                                                           FLORISSANT          MO     63033‐1031
HOOK, MARY K                  6031 MERWIN CHASE RD.                                                                          BROOKFIELD          OH     44403‐9781
HOOK, MARY L                  1203 N. BOSART                                                                                 INDIANAPOLIS        IN     46201‐2815
HOOK, MARY L                  1203 N BOSART AVE                                                                              INDIANAPOLIS        IN     46201‐2815
HOOK, MICHAEL O               5153 WISHING WELL DR                                                                           GRAND BLANC         MI     48439‐4241
HOOK, MONTI L                 9433 N ELMS RD                                                                                 CLIO                MI     48420‐8540
HOOK, NAN J                   2 REED CIR                                                                                     MANSFIELD           TX     76063‐1520
HOOK, NAN J                   2 REED CIRCLE                                                                                  MANSFIELD           TX     76063
HOOK, NANCY L                 215 ORCHARD ST                                                                                 OTISVILLE           MI     48463‐9490
HOOK, ORIE O                  PO BOX 144                                                                                     DALEVILLE           IN     47334‐0144
HOOK, PHYLLIS J               419 OLIVE ST                                                                                   PLEASANT HILL       MO     64080‐1242
HOOK, RALPH L                 APT 308                        1001 NORTH STATE ROAD                                           DAVISON             MI     48423‐1169
HOOK, RANDY S                 4463 SUNSET DR                                                                                 LOCKPORT            NY     14094‐1221
HOOK, RICHARD E               5920 W NORTH DR                                                                                FRANKTON            IN     46044‐9486
HOOK, RICHARD J               6031 MERWIN CHASE RD.                                                                          BROOKFIELD          OH     44403‐9781
HOOK, ROBERT A                11810 E 266TH ST                                                                               ARCADIA             IN     46030‐9429
HOOK, ROBERT ALLEN            11810 E 266TH ST                                                                               ARCADIA             IN     46030‐9429
HOOK, ROBERT J                124 S BEECH ST                                                                                 FLUSHING            MI     48433‐2002
HOOK, ROBERT JAMES            124 S BEECH ST                                                                                 FLUSHING            MI     48433‐2002
HOOK, ROBERT W                8709 W BUTTERNUT RD                                                                            MUNCIE              IN     47304‐9714
HOOK, ROBERT WAYNE            8709 W BUTTERNUT RD                                                                            MUNCIE              IN     47304‐9714
HOOK, ROGER L                 2763 S CAMP 10 RD                                                                              ELMIRA              MI     49730‐9707
HOOK, ROSE I                  3480 CLEARWATER DR                                                                             DAVISON             MI     48423‐8719
HOOK, SHARON E                6325 POTTERY RD                                                                                WARNERS             NY     13164‐9760
HOOK, STEVEN                  9616 RUTHERFORD AVE                                                                            OAK LAWN             IL    60453‐2144
HOOK, STEVEN R                2273 GORNO ST                                                                                  TRENTON             MI     48183
HOOK, STUART I                623 E. LAKE ROAD                                                                               RUSHVILLE           NY     14544‐4544
HOOK, STUART I                623 EAST LAKE ROAD                                                                             RUSHVILLE           NY     14544
HOOK, SUE E                   34195 STATE ROUTE 172                                                                          LISBON              OH     44432‐8413
HOOK, THOMAS K                25675 DENNISON RD                                                                              FRANKLIN            MI     48025‐1908
HOOK, TIMOTHY L               505 DEVILS NECK ROAD                                                                           CORBIN              KY     40701‐4729
HOOK, VERNA P                 726 S STATE RD APT 95                                                                          DAVISON             MI     48423‐2816
HOOK, VIRGIL D                392 GLENBROOK LN                                                                               AVON                IN     46123‐4030
HOOK, WILLIAM A               71 TAPPAN ST                                                                                   BALDWINSVILLE       NY     13027‐9101
HOOK, WILLIAM R               2208 PARKLAND DR                                                                               MELBOURNE           FL     32904‐9125
HOOKE, RICHARD E              2733 COPPER CREEK DR APT 104                                                                   ARLINGTON           TX     76006
HOOKE, ROBERT E               116 BELCHER ST                                                                                 HOLBROOK            MA     02343‐1149
HOOKER ANDREW (507529)        COON BRENT W                   PO BOX 4905                                                     BEAUMONT            TX     77704‐4905
HOOKER AUTOMOTIVE             3036 W HARRIS AVE                                                                              SAN ANGELO          TX     76901‐3510
HOOKER GARY E (429126)        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510
                                                             STREET, SUITE 600
HOOKER JAROLD (515004)        BRAYTON PURCELL                PO BOX 6169                                                     NOVATO             CA      94948‐6169
HOOKER JOSEFINA               5251 E 42ND ST                                                                                 ODESSA             TX      79762‐5248
HOOKER JR, ALPHONSO           6819 PARKBELT DR                                                                               FLINT              MI      48505‐1938
HOOKER JR, EDWARD             4271 HARBORTOWNE DR APT 3                                                                      SAGINAW            MI      48603‐1458
HOOKER JR, HARRISON F         14780 CHEROKEE TRL                                                                             CLEVELAND          OH      44130‐6600
HOOKER MACHINE CONTROLS INC   2230 TARRY DR                                                                                  STERLING HEIGHTS   MI      48310‐5822
HOOKER, ANDREW                COON BRENT W                   PO BOX 4905                                                     BEAUMONT           TX      77704‐4905
HOOKER, ARTHUR W              9382 CORUNNA RD                                                                                SWARTZ CREEK       MI      48473‐9714
HOOKER, BRENDA JOY            PO BOX 352                                                                                     GRANDIN            MO      63943
HOOKER, CASSEL                12 DIGNITY CIR                                                                                 BUFFALO            NY      14211‐1002
HOOKER, CHARLES W             106 S CLARK ST RR2                                                                             ADRIAN             MO      64720
HOOKER, CHRISTINE B           PO BOX 141                                                                                     HUBBARD            OH      44425‐0141
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Name                     Address1                          Address2                      Address3   Address4               City            State   Zip
HOOKER, CLYDE F          8207 GREENSLOPE DR                                                                                AUSTIN           TX     78759‐8216
HOOKER, DANIEL H         36600 ANN ARBOR TRL                                                                               LIVONIA          MI     48150‐5501
HOOKER, DAVID L          8176 WASHBURN RD                                                                                  GOODRICH         MI     48438‐9276
HOOKER, DAWN             3621 RUTHERFORD DR                                                                                SPRING HILL      TN     37174‐2176
HOOKER, DORETHA C        6397 RUSTIC RIDGE TRL                                                                             GRAND BLANC      MI     48439‐4958
HOOKER, DOROTHY L        1430 WOODSIDE ST                                                                                  SAGINAW          MI     48601‐6657
HOOKER, EDDIE            PORTER & MALOUF PA                4670 MCWILLIE DR                                                JACKSON          MS     39206‐5621
HOOKER, ELMORE           1430 WOODSIDE ST                                                                                  SAGINAW          MI     48601‐6657
HOOKER, ELVIN E          1202 E HOBSON AVE                                                                                 FLINT            MI     48505‐3006
HOOKER, ETHEL            2438 W. LAKE ROAD                                                                                 CLIO             MI     48420‐8856
HOOKER, FRED             2520 CHURCH ST APT 106                                                                            OAKLAND          CA     94605‐2060
HOOKER, GARY             109 WOODCRAFT CT                                                                                  NASHVILLE        TN     37214‐4354
HOOKER, GARY E           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                           STREET, SUITE 600
HOOKER, GAYLORD L        502 E COUNTY ROAD M                                                                               EDGERTON         WI     53534‐9702
HOOKER, GERALD B         12520 TALMADGE RD NW                                                                              GRAND RAPIDS     MI     49534
HOOKER, GLEN             47 FOX HOUND DR                                                                                   GRAND BLANC      MI     48439‐8173
HOOKER, GREGORY D        60618 MARY LN                                                                                     SOUTH LYON       MI     48178‐9067
HOOKER, JAMARIO
HOOKER, JAMES D          25 CAROLANE TRAIL                                                                                 HOUSTON         TX      77024‐5120
HOOKER, JAMES DAVID      25 CAROLANE TRAIL                                                                                 HOUSTON         TX      77024‐5120
HOOKER, JANET B          11104 DELPHINIUM DR                                                                               FENTON          MI      48430‐3541
HOOKER, JAROLD           BRAYTON PURCELL                   PO BOX 6169                                                     NOVATO          CA      94948‐6169
HOOKER, JERRY H          3125 ROYAL RD                                                                                     JANESVILLE      WI      53546‐2219
HOOKER, JOHN B           827 SINCLAIR ST                                                                                   FENTON          MI      48430‐2234
HOOKER, JOHN D           PO BOX 157                                                                                        TAWAS CITY      MI      48764‐0157
HOOKER, KEMI S           2531 MACARTHUR DR                                                                                 ADRIAN          MI      49221‐4172
HOOKER, LARRY L          2817 NEAHTAWANTA RD                                                                               TRAVERSE CITY   MI      49686‐9710
HOOKER, LEON R           1628 MANDELL ST                                                                                   LANSING         MI      48911‐7050
HOOKER, LESTER           4928 POTOMAC DR                                                                                   FAIRFIELD       OH      45014‐1551
HOOKER, LINDA G          4155 SHAFTSBURG RD                                                                                LAINGSBURG      MI      48848‐8732
HOOKER, LINDA GALE       4155 SHAFTSBURG RD                                                                                LAINGSBURG      MI      48848‐8732
HOOKER, LINDA L          1728 SUSSEX ON BERKLEY                                                                            KOKOMO          IN      46901‐1855
HOOKER, LOUELLA
HOOKER, MARIE C          75 BAILEY RD                                                                                      HILTON          NY      14468‐9352
HOOKER, MARK K           5626 ALEXANDRIA PIKE                                                                              ANDERSON        IN      46012‐9509
HOOKER, MATTIE E         1608 S MARSHALL                                                                                   MIDDLETOWN      OH      45044‐6832
HOOKER, MCARTHUR         1526 VANCOUVER DR                                                                                 DAYTON          OH      45406‐4748
HOOKER, MELBA I          01763 FEEDER RD                                                                                   ST.MARY'S       OH      45885‐9309
HOOKER, NORMA E          1504 PONTIAC DRIVE                                                                                KOKOMO          IN      46902‐2557
HOOKER, NORMA E          1705 GREENACRES DR                                                                                KOKOMO          IN      46901
HOOKER, ORA LEE          4417 N AUDUBON RD                                                                                 INDIANAPOLIS    IN      46226‐3322
HOOKER, PATRICIA K       3304 SE 324 RD                                                                                    OSCEOLA         MO      64776‐8296
HOOKER, ROBERT M
HOOKER, RODGER L         1201 GOLDFINCH DR APT 8                                                                           PLANT CITY      FL      33563‐1001
HOOKER, SANDRA           465 JULIUS DAVIS LANE                                                                             MARSHALL        TX      75672‐3351
HOOKER, SCOTT A          33266 SEBASTIAN LANE DR                                                                           STERLING HTS    MI      48312‐6130
HOOKER, SHIRLEY K        19817 MAGNOLIA RD                                                                                 ALTOONA         FL      32702‐9353
HOOKER, STANFORD         715 LEEWARD WAY                                                                                   PALM HARBOR     FL      34685‐1624
HOOKER, STEVEN C         238 WAKELY TER                                                                                    BEL AIR         MD      21014‐5442
HOOKER, STEVEN CHESTER   238 WAKELY TER                                                                                    BEL AIR         MD      21014‐5442
HOOKER, TED D            3821 SIMOT RD                                                                                     EATON RAPIDS    MI      48827‐9630
HOOKER, TOMMIE D         382 PARKVIEW DR                                                                                   DYER            TN      38330‐1202
HOOKER, TROY E           2440 CHALYBEATE RD                                                                                SMITHS GROVE    KY      42171‐7248
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HOOKER, TROY EDWARD    2440 CHALYBEATE RD                                                                                               SMITHS GROVE    KY     42171‐7248
HOOKER, VIOLA          6819 PARKBELT DR                                                                                                 FLINT           MI     48505‐1938
HOOKER, WAVA J         7753 LAKE RIDGE DR                                                                                               WATERFORD       MI     48327‐4168
HOOKER, WILLIE D       4815 W AUGUSTA BLVD                                                                                              CHICAGO          IL    60651‐3220
HOOKER, WOODY D        6397 RUSTIC RIDGE TRL                                                                                            GRAND BLANC     MI     48439‐4958
HOOKER, WOODY DENNIS   6397 RUSTIC RIDGE TRL                                                                                            GRAND BLANC     MI     48439‐4958
HOOKEY, CHERYL L       1045 S 74TH ST                                                                                                   MESA            AZ     85208‐2726
HOOKEY, DANIEL E       1045 S 74TH ST                                                                                                   MESA            AZ     85208‐2726
HOOKOM, JAMES R        5093 PRENTIS DR                                                                                                  TROY            MI     48085‐3455
HOOKS III, ROOSEVELT   1910 S AVERILL AVE                                                                                               FLINT           MI     48503‐4404
HOOKS JR, CARL R       5029 GLENBORO DR SW                                                                                              WYOMING         MI     49519‐6543
HOOKS JR, HEZEKIAH     PO BOX 283                                                                                                       WENTZVILLE      MO     63385‐0283
HOOKS JR, TRYAM        3 SAINT ROBERTS DR                                                                                               STAFFORD        VA     22556‐3650
HOOKS JR, WILLIAM      16958 MORRISON STREET                                                                                            SOUTHFIELD      MI     48076‐2017
HOOKS, ALBERTHA B      PO BOX 909                                                                                                       WARREN          OH     44482‐0909
HOOKS, ALISHA          3510 S RHODES AVE APT 1409                                                                                       CHICAGO          IL    60653‐1370
HOOKS, ARTEL L         2486 MONTGOMERY AVE NW                                                                                           WARREN          OH     44485
HOOKS, BARBARA J       557 HARRIET ST                                                                                                   DAYTON          OH     45408‐2025
HOOKS, BOBBY J         1425 S LINDSAY RD UNIT 50                                                                                        MESA            AZ     85204
HOOKS, BOOKER T        25169 ROSS DR                                                                                                    REDFORD         MI     48239‐3364
HOOKS, BRADLEY S       12140 BALDWIN RD                                                                                                 GAINES          MI     48436‐9648
HOOKS, BRANDY N        26860 DARTMOUTH ST                                                                                               INKSTER         MI     48141‐3148
HOOKS, BRANDY N        6995 LAKEVIEW BLVD APT 2205                                                                                      WESTLAND        MI     48185‐2276
HOOKS, BRENDA J        41162 WYNDCHASE BLVD                                                                                             CANTON          MI     48188‐1997
HOOKS, BRENDA J        7986 FALLOW CT                                                                                                   ROMULUS         MI     48174‐5207
HOOKS, CARL J          1945 PORT WILLIAMS ROAD                                                                                          WILLIAMS        IN     47470‐8815
HOOKS, CARL JOSEPH     1945 PORT WILLIAMS ROAD                                                                                          WILLIAMS        IN     47470‐8815
HOOKS, CARL R          APT 137                                3375 NORTH LINDEN ROAD                                                    FLINT           MI     48504‐5722
HOOKS, CHAD ALLEN
HOOKS, CHARLES E       C/O J GARY NOVIELLO CPA PLLC           P O BOX 12197                                                             GLENDALE        AZ     85318
HOOKS, CHARLES E       C/O ERIE COUNTY DEPT OF SR. SERVICES   ADULT PROTECTION         95 FRANKLIN STREET ROOM                          BUFFALO         NY     14202
                                                                                       1304
HOOKS, CHARLOTTE F     5652 CRESTHAVEN LN                                                                                               TOLEDO         OH      43614‐1271
HOOKS, CLARENCE C      5088 BONNIE BRAE ST                                                                                              INDIANAPOLIS   IN      46228‐3034
HOOKS, CYNTHIA GRACE   PO BOX 721                                                                                                       INDIANAPOLIS   IN      46206‐0721
HOOKS, DANIEL C        11130 BURLINGTON ST APT 421                                                                                      SOUTHGATE      MI      48195‐2885
HOOKS, ESTHER C        1910 S AVERILL AVE                                                                                               FLINT          MI      48503‐4404
HOOKS, FLORZELL        1722 CLAIRMOUNT ST                                                                                               DETROIT        MI      48206‐2098
HOOKS, FLOYD           5423 W 80 S                                                                                                      KOKOMO         IN      46901‐8700
HOOKS, GENE C          909 GLENCREST LN                                                                                                 LONGVIEW       TX      75601‐4424
HOOKS, GEORGE          5221 HICKORY VALLEY RD                                                                                           HEISKELL       TN      37754‐3413
HOOKS, GLADYS L        25169 ROSS DR                                                                                                    REDFORD        MI      48239‐3364
HOOKS, HARRY L         7137 SPRING MORNING LN                                                                                           CHARLOTTE      NC      28227‐8790
HOOKS, HARRY LEE       7137 SPRING MORNING LN                                                                                           CHARLOTTE      NC      28227‐8790
HOOKS, HELEN           12714 WATTERSON AVENUE                                                                                           CLEVELAND      OH      44105‐4540
HOOKS, JAMES           3560 TAFFRAIL LN                       PO BOX 6107                                                               OXNARD         CA      93035‐1688
HOOKS, JAMES A         2702 CEDAR RD                                                                                                    CHESAPEAKE     VA      23323‐3903
HOOKS, JAMES Z         856 JAMESTOWN AVE                                                                                                ELYRIA         OH      44035‐1812
HOOKS, JANICE M        806 MT. OLIVET RD.                                                                                               KANNAPOLIS     NC      28083‐7211
HOOKS, JANICE M        806 MOUNT OLIVET RD                                                                                              KANNAPOLIS     NC      28083‐7211
HOOKS, JAYNE M         10347 ATABERRY DR                                                                                                CLIO           MI      48420‐1904
HOOKS, JOHN L          1164 N GROW RD                                                                                                   STANTON        MI      48888‐9722
HOOKS, JONATHAN I      1348 BURDSAL PKWY                                                                                                INDIANAPOLIS   IN      46208‐5233
HOOKS, JUANITA A       673 AURORA DR                                                                                                    YOUNGSTOWN     OH      44505‐1109
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HOOKS, KARLEE A           10347 ATABERRY DR                                                                                      CLIO               MI 48420‐1904
HOOKS, LEE
HOOKS, LILLIAN            2011 EWALD CIR                                                                                         DETROIT           MI   48238‐2723
HOOKS, LOIS J             1643 W. KESSLER BLVD.                                                                                  INDIANAPOLIS      IN   46208
HOOKS, LOIS J             1643 KESSLER BOULEVARD WEST DR                                                                         INDIANAPOLIS      IN   46228‐1958
HOOKS, MARIE A            2260 ALTA WEST RD                                                                                      MANSFIELD         OH   44903‐9146
HOOKS, MARJORIE L         16430 PK LAKE RD LOT #29                                                                               E LANSING         MI   48823‐9457
HOOKS, MARJORIE L         16430 PARK LAKE RD LOT 29                                                                              EAST LANSING      MI   48823‐9457
HOOKS, MARK L             10347 ATABERRY DR                                                                                      CLIO              MI   48420‐1904
HOOKS, MICHAEL L          PO BOX 7424                                                                                            FLINT             MI   48507‐0424
HOOKS, NEEMA A            7059 WEST BLVD APT 238                                                                                 BOARDMAN          OH   44512‐4334
HOOKS, RAYMOND D          4402 NEWCASTLE CIR                                                                                     LITHONIA          GA   30038‐3507
HOOKS, REBECCA J          1155 RIVIERA DR                                                                                        FLINT             MI   48507‐3361
HOOKS, RICHARD C          8310 LAKESIDE CT APT 1A                                                                                FORT WAYNE        IN   46816‐4822
HOOKS, ROBERT             364 VENTURA DR                                                                                         YOUNGSTOWN        OH   44505‐1146
HOOKS, ROBERT M           12363 MARGARET DR                                                                                      FENTON            MI   48430‐8850
HOOKS, ROBERT MICHAEL     12363 MARGARET DR                                                                                      FENTON            MI   48430‐8850
HOOKS, SHELIA L           2936 S BASSETT ST                                                                                      DETROIT           MI   48217‐1515
HOOKS, TEDDY L            3247 LAKE OF THE PINES DR                                                                              LAKE              MI   48632‐8907
HOOKS, TIFFINI S          52 OXFORD AVE                                                                                          DAYTON            OH   45402‐6148
HOOKS, TIMOTHY R          3240 WASHINGTON SOUTH RD                                                                               MANSFIELD         OH   44903‐7337
HOOKS, TOMMIE H           2916 WIMBRERLY DR                     APT C                                                            DECATUR           AL   35603‐1091
HOOKS, TOMMIE H           2916 WIMBERLY DR SW APT C                                                                              DECATUR           AL   35603‐4553
HOOKS, VIRGINIA C         5316 ASH ST                                                                                            FOREST PARK       GA   30297‐3917
HOOKS, WANDA              4130 N 125TH TER                                                                                       KANSAS CITY       KS   66109‐5120
HOOKS, WILLIAM M          1142 S ROSE                                                                                            MESA              AZ   85204‐5306
HOOKS, WILMA ANNE         PO BOX 13544                                                                                           FORT WAYNE        IN   46869‐3544
HOOKS, WILMA B            261 BRADEN FLATS LN                                                                                    BRICEVILLE        TN   37710‐2204
HOOKS‐HENLEY, CAROL D     1418 W GRAND AVE                                                                                       DAYTON            OH   45402‐6057
HOOKSTEAD, DEANN A        9445 N LIMA CENTER RD                                                                                  WHITEWATER        WI   53190‐3228
HOOKSTEAD, JESSICA J      9027 NORTH BOWERS LAKE ROAD                                                                            MILTON            WI   53563‐9029
HOOKSTEAD, JODI A         9027 N BOWERS LAKE RD                                                                                  MILTON            WI   53563‐9029
HOOKSTEAD, RANDALL S      9027 N BOWERS LAKE RD                                                                                  MILTON            WI   53563‐9029
HOOKSTEAD, WILLIAM D      9445 N LIMA CENTER RD                                                                                  WHITEWATER        WI   53190‐3228
HOOL, BEATRICE            5945 S HURDS CORNER RD                                                                                 MAYVILLE          MI   48744‐9511
HOOL, BEATRICE            5945 HURDS CORNER RD                                                                                   MAYVILLE          MI   48744‐9511
HOOL, JANET               2387 4 MILE RD                                                                                         KAWKAWLIN         MI   48631‐9120
HOOL, JANET R             2387 4 MILE RD                                                                                         KAWKAWLIN         MI   48631‐9120
HOOL, JUNIOR C            4036 COLUMBIAVILLE RD                                                                                  COLUMBIAVILLE     MI   48421‐9633
HOOL, LORRI               11880 WHISPERING OAK LN                                                                                SHELBY TOWNSHIP   MI   48315‐1169
HOOLAHAN PAUL (490532)    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH        PA   15219

HOOLAHAN, PAUL            GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH        PA   15219

HOOLAHAN, SCOTT P         148 EAGLE ROCK AVE                                                                                     OXNARD            CA   93035‐4507
HOOLE, MARY L             2518 PAVICH DR                                                                                         COUNCIL BLUFFS    IA   51501‐7576
HOOLE, MARY L             2518 PAVICH ROAD                                                                                       COUNCIL BLUFFS    IA   51501
HOOLE, ROBERT EDWARD      2309 GREENWALD ST APT 2209                                                                             BELLEVUE          NE   68123
HOOLE, ROBERT W           3324 STATE RD                                                                                          GLENNIE           MI   48737‐9774
HOOLEHAN, CHRISTOPHER J   3 FARM FIELD RIDGE RD                                                                                  SANDY HOOK        CT   06482‐1080
HOOLEHAN, JOHN J          1505 MAYFIELD DR                                                                                       ROYAL OAK         MI   48067‐1151
HOOLEON CORP/CORNVIL      PO BOX 201                                                                                             CORNVILLE         AZ   86325‐0201
HOOLEY, MARI C            104 BLERIOT PL                                                                                         GRAND PRAIRIE     TX   75051‐2108
HOOLEY, STEVEN R          11308 STONY CREEK RD                                                                                   MILAN             MI   48160‐9577
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Name                                  Address1                         Address2                        Address3   Address4               City              State   Zip
HOOLEY, VERA A                        1820 S AVERY AVE                                                                                   MIDWEST CITY       OK     73130‐6620
HOOLIHAN, MELVIN F                    2700 ELIZABETH LAKE RD APT 431                                                                     WATERFORD          MI     48328‐3285
HOOMAN PONTIAC BUICK GMC, INC.        ATTN: HOOMAN M. NISSANI          6101 W SLAUSON AVE                                                CULVER CITY        CA     90230‐6419
HOOMAN PONTIAC GMC BUICK INC          6101 W SLAUSON AVE                                                                                 CULVER CITY        CA     90230‐6419
HOOMAN PONTIAC GMC BUICK, INC.        HOOMAN M. NISSANI                6101 W SLAUSON AVE                                                CULVER CITY        CA     90230‐6419
HOOMAN PONTIAC GMC BUICK, INC.        HOOMAN NISSANI                   6101 W SLAUSON AVE                                                CULVER CITY        CA     90230‐6419
HOOMAN PONTIAC GMC BUICK, INC.        6101 W SLAUSON AVE                                                                                 CULVER CITY        CA     90230‐6419
HOOMANS, JOHN T                       1084 LAWRENCE RD                                                                                   HILTON             NY     14468‐9759
HOON JR., JAMES M                     1565 EDGEWOOD ST NE                                                                                WARREN             OH     44483‐4123
HOON KIM                              2030 BARON                                                                                         ROCHESTER HILLS    MI     48307‐4322
HOON, ROBERT C                        3519 CHAMPLAIN AVE                                                                                 YOUNGSTOWN         OH     44502‐3121
HOOP, CHESTER C                       2227 S COUNTY ROAD 300 E                                                                           DANVILLE           IN     46122‐8598
HOOP, DENISE                          5605 SUMMER SIDE LN                                                                                SARASOTA           FL     34231‐8303
HOOP, JAMES O                         2304 CARDINAL AVE                                                                                  DAYTON             OH     45414‐3336
HOOP, MARY E                          445 ELK LAKE RESORT RD.                                                                            OWENTON            KY     40359
HOOP, ROBERT E                        2202 LEVERN ST                                                                                     FLINT              MI     48506‐3457
HOOPAUGH, MARY L                      336 GREENWOOD DRIVE                                                                                LILBURN            GA     30047‐5053
HOOPER CHARLES (ESTATE OF) (489095)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH     44067
                                                                       PROFESSIONAL BLDG
HOOPER ENGLUND & WEIL                 STE 2150                         1001 SOUTHWEST 5TH AVENUE                                         PORTLAND          OR      97204‐2150
HOOPER HEATH III                      350 W MAIN ST                                                                                      ELKTON            MD      21921‐5213
HOOPER JR, CORNELIUS                  PO BOX 210435                                                                                      AUBURN HILLS      MI      48321‐0435
HOOPER JR, FRED                       19151 PENNINGTON DR                                                                                DETROIT           MI      48221‐1620
HOOPER JR, GREER                      1245 FRIENDSHIP RD                                                                                 CEDARTOWN         GA      30125‐4664
HOOPER JR, JAMES                      535 S WARREN AVE APT 402                                                                           SAGINAW           MI      48607‐1690
HOOPER JR, JOHN V                     14490 DOEBLER DR                                                                                   SHELBY TOWNSHIP   MI      48315‐6123
HOOPER JR, THOMAS B                   13484 OLD HIGHWAY 76                                                                               MORGANTON         GA      30560‐3458
HOOPER JR., CHARLES R                 2525 OAKRIDGE DRIVE                                                                                DAYTON            OH      45417‐1520
HOOPER MAC/GOODLTVLL                  PO BOX 254                       208 SPACE PARK NORTH                                              GOODLETTSVILLE    TN      37070‐0254
HOOPER MICKEY                         39004 COLISEUM BLVD                                                                                ALEXANDRIA        LA      71303
HOOPER WILLIE J (143487)              PERLBERGER LAW ASSOCIATES        401 E CITY AVE STE 200                                            BALA CYNWYD       PA      19004‐1117
HOOPER, ALFRED                        8827 MARYGROVE DR                                                                                  DETROIT           MI      48221‐2947
HOOPER, ANNABELLE                     18270 BILTMORE ST                                                                                  DETROIT           MI      48235‐3222
HOOPER, ANNE M                        191 PRESIDIO DR                                                                                    ORTONVILLE        MI      48462‐9479
HOOPER, ANNIE M                       12000 SUSSEX ST                                                                                    DETROIT           MI      48227‐2029
HOOPER, ANNIE M                       12000 SUSSEX                                                                                       DETROIT           MI      48227‐2029
HOOPER, BARBARA A                     4969 DAYTON LIBERTY RD                                                                             DAYTON            OH      45418‐1945
HOOPER, BETH A                        20111 CHURCH CT                                                                                    HARPER WOODS      MI      48225‐1736
HOOPER, BOOKER T                      PO BOX 161                                                                                         MARTHAVILLE       LA      71450‐0161
HOOPER, BRIAN D                       13193 BOARDWALK DR                                                                                 BRUCE TWP         MI      48065‐4484
HOOPER, CALVIN R                      54 SAND CREEK RD                                                                                   TIFTON            GA      31793‐6935
HOOPER, CHARLES O                     706 COVERLY RD                                                                                     WILMINGTON        DE      19802‐1910
HOOPER, CHRISTOPHER D                 809 CARNATION LN                                                                                   MATTESON          IL      60443‐1943
HOOPER, CLARENCE S                    10030 BRAILE ST                                                                                    DETROIT           MI      48228‐1274
HOOPER, CLYDE                         PO BOX 512                       114 UNION ST.                                                     JOHNSON CREEK     WI      53038‐0512
HOOPER, CORNELIUS                     697 JAMESTOWN RD                                                                                   AUBURN HILLS      MI      48326‐3416
HOOPER, DANIEL J                      1309 MEADOWLANDS CIR                                                                               SEVIERVILLE       TN      37876‐0275
HOOPER, DAVID B                       681 JOSLYN RD                                                                                      LAKE ORION        MI      48362‐2119
HOOPER, DAVID L                       1503 DILLON ST                                                                                     SAGINAW           MI      48601‐1329
HOOPER, DAVID L                       3408 RIDGEWAY DR                                                                                   ANDERSON          IN      46012‐9695
HOOPER, DEBBIE L                      PO BOX 486                                                                                         LELAND            MS      38756‐0486
HOOPER, DENNIS                        3819 RIDGEFIELD RD                                                                                 LANSING           MI      48906‐3554
HOOPER, DIAMOND T                     435 RICHARD JORDAN LOOP                                                                            ROBELINE          LA      71469‐4315
HOOPER, DONALD E                      2354 MOFFETT RD                                                                                    LUCAS             OH      44843‐9774
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Name                     Address1                              Address2       Address3       Address4               City              State   Zip
HOOPER, DOROTHY M        120 TUSCARORAS TRL                                                                         PRUDENVILLE        MI     48651‐9729
HOOPER, EARCINE          7946 S ESSEX AVE                                                                           CHICAGO             IL    60617
HOOPER, ELLIOTT D        2813 GRANITE RD                                                                            WOODSTOCK          MD     21163‐1127
HOOPER, ELLIOTT DORIAN   2813 GRANITE RD                                                                            WOODSTOCK          MD     21163‐1127
HOOPER, ESTELLE M        18156 GOLDWIN ST                                                                           SOUTHFIELD         MI     48075‐1944
HOOPER, EULALIAH T       3037 SAINT CLAIR DR                                                                        ROCHESTER HILLS    MI     48309‐3936
HOOPER, EULALIAH T       3037 ST. CLAIR DR.                                                                         ROCHESTER HILLS    MI     48309‐3936
HOOPER, EUTTA L          924 ALLGOOD RD                                                                             STONE MTN          GA     30083‐5005
HOOPER, EVELYN           10380 BIG LAKE RD                                                                          DAVISBURG          MI     48350‐3600
HOOPER, FRANCES C        2956 VINING RIDGE LN                                                                       DECATUR            GA     30034‐4191
HOOPER, FRANK J          3126 BERT KOUNS INDUSTRIAL LOOP APT                                                        SHREVEPORT         LA     71118‐2904
                         138
HOOPER, FRED             3826 SHARON DR                                                                             POWDER SPRINGS    GA      30127‐2726
HOOPER, FRED E           8239 BENSON RD                                                                             MOUNT MORRIS      MI      48458‐1445
HOOPER, GARY C           9090 STUB RD                                                                               ORWELL            OH      44076‐9370
HOOPER, GERALD L         4400 BROADWAY RD                                                                           SPRINGFIELD       OH      45502‐7700
HOOPER, GERALDINE        15818 RUTHERFORD ST                                                                        DETROIT           MI      48227‐1972
HOOPER, GRANDSON         12951 BURT RD                         APT 7                                                DETROIT           MI      48223
HOOPER, GREGORY A        16126 KENTUCKY ST                                                                          DETROIT           MI      48221
HOOPER, HAROLD           BOONE ALEXANDRA                       205 LINDA DR                                         DAINGERFIELD      TX      75638‐2107
HOOPER, HELEN B          905 W ALPHA PKWY APT 209                                                                   WATERFORD         MI      48328‐2760
HOOPER, HELEN B          815 KEITH ST                                                                               OXFORD            MI      48371‐4538
HOOPER, HERBERT          18031 DELAWARE ST                                                                          ROSEVILLE         MI      48066‐4680
HOOPER, INA J            PO BOX 560246                                                                              ORLANDO           FL      32856‐0246
HOOPER, JACKIE           56507 MCFALL PL                                                                            HANNIBAL          MO      63401‐7779
HOOPER, JACQUELINE       809 CARNATION LN                                                                           MATTESON          IL      60443‐1943
HOOPER, JAMES F          918 DORNELL AVE                                                                            LANSING           MI      48910‐5362
HOOPER, JAMES L          9174 LITTLEFIELD ST                                                                        DETROIT           MI      48228‐2548
HOOPER, JEANETTE W       125 COBLER RD                                                                              COLLINSVILLE      TX      76233‐3101
HOOPER, JEFFREY          1422 HIGHVIEW DR APT H308                                                                  COLUMBIA          TN      38401‐9402
HOOPER, JESSE R          3314 DECAMP RD                                                                             YOUNGSTOWN        OH      44511‐1246
HOOPER, JESSIE L         11811 CHAMPAIGN AVE                                                                        WARREN            MI      48089‐4607
HOOPER, JOE              21001 ANDOVER RD                                                                           SOUTHFIELD        MI      48076‐3191
HOOPER, JOEL J           191 PRESIDIO DR                                                                            ORTONVILLE        MI      48462‐9479
HOOPER, JOHN D           114 DRESDEN AVE                                                                            PONTIAC           MI      48340‐2543
HOOPER, JOHN G           8 FOX HOLLOW RD                                                                            JOSHUA            TX      76058‐4869
HOOPER, JOHN L           215 LANCELOT LN                                                                            DUBLIN            GA      31021‐6409
HOOPER, JOSHUA           502 SHERRY DR                                                                              COLUMBIA          TN      38401‐6117
HOOPER, JUNE L           975 W MICHIGAN AVE                                                                         SOUTHERN PINES    NC      28387‐4450
HOOPER, KATHRYN J        527 MANZER RD                                                                              BEAVERTON         MI      48612‐8557
HOOPER, KATHRYN J        527 MANZER ROAD                                                                            BEAVERTON         MI      48612‐8557
HOOPER, KATHY D          121 POPHAM RD                                                                              TAYLORSVILLE      GA      30178
HOOPER, KATIE R          3715 BRINKMORE RD                                                                          CLEVELAND HTS     OH      44121‐1341
HOOPER, KENNETH J        406 MALIBU CANYON DR                                                                       COLUMBIA          TN      38401‐6801
HOOPER, LARRY D          1216 N UNION AVE                                                                           SALEM             OH      44460‐1355
HOOPER, LAURA M          3119 S OLD 11 APT 7                                                                        ORFORDVILLE       WI      53576
HOOPER, LEO D            120 TUSCARORAS TRL                                                                         PRUDENVILLE       MI      48651‐9729
HOOPER, LEROY D          PO BOX 46069                                                                               MOUNT CLEMENS     MI      48046‐6069
HOOPER, LIANE J          4776 OAK TWIG WAY                                                                          CARMICHAEL        CA      95608‐1170
HOOPER, MARGARET J       50118 HELFER BLVD                                                                          WIXOM             MI      48393‐3231
HOOPER, MARLENE M        30 N ELLICOTT ST                                                                           WILLIAMSVILLE     NY      14221‐5539
HOOPER, MARVIN W         3125 WYOMING AVE                                                                           FLINT             MI      48506‐2559
HOOPER, MARY C.          16190 SUNSET WAY                                                                           LINDEN            MI      48451
HOOPER, MARY M           6301 MADISON AVE                                                                           INDIANAPOLIS      IN      46227‐4893
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Name                          Address1                     Address2                        Address3   Address4               City             State   Zip
HOOPER, MIA D                 8827 MARYGROVE DR                                                                              DETROIT           MI     48221‐2947
HOOPER, MICHAEL C             3911 GLENGATE DR                                                                               ARLINGTON         TX     76016‐4710
HOOPER, MICHAEL R             5135 CECELIA ANN AVE                                                                           CLARKSTON         MI     48346‐3907
HOOPER, MILDRED               8827 MARYGROVE                                                                                 DETROIT           MI     48221‐2947
HOOPER, NATHANIEL             23401 WILDWOOD ST                                                                              OAK PARK          MI     48237‐2424
HOOPER, NYLE J                3007 HERMOSA RD                                                                                SANTA BARBARA     CA     93105‐3315
HOOPER, OLIVINE H             269 FARMINGTON AVE                                                                             PLAINVILLE        CT     06062‐1335
HOOPER, PATRICIA A            24 COMNER AVE.                                                                                 NEW BRUNSWICK     NJ     08901‐8901
HOOPER, PATRICIA A            24 CAMNER AVE                                                                                  NEW BRUNSWICK     NJ     08901
HOOPER, PATRICIA S            PO BOX 240                                                                                     KEMPTON           IN     46049‐0240
HOOPER, RAYMOND               48 PEGGY GREEN LN                                                                              PICKERINGTON      OH     43147‐9576
HOOPER, RAYMOND H             PO BOX 232                                                                                     GRANT             MI     49327‐0232
HOOPER, RHONDA R              7219 COSNER DR                                                                                 HUBER HEIGHTS     OH     45424‐3338
HOOPER, RICHARD A             1901 ORANGE ST                                                                                 INDIANAPOLIS      IN     46203‐2068
HOOPER, RICHARD A             1956 RINIEL RD                                                                                 LENNON            MI     48449‐9316
HOOPER, RICHARD C             39284 VENETIAN DR                                                                              SELFRIDGE ANGB    MI     48045‐5714
HOOPER, RICO C                17355 MANSFIELD ST                                                                             DETROIT           MI     48235‐3525
HOOPER, ROBERT E              4 CARRIAGE HILL DR                                                                             LONG VALLEY       NJ     07853‐3004
HOOPER, ROBIN M               359 PICNIC HILL                                                                                JACKSON           KY     41339
HOOPER, ROGER                 706 PENN CT                                                                                    MURFREESBORO      TN     37128‐4801
HOOPER, ROGER L               4037 NORTH 155TH LANE                                                                          GOODYEAR          AZ     85338‐5338
HOOPER, ROGER L               4037 N 155TH LN                                                                                GOODYEAR          AZ     85395‐8817
HOOPER, RONALD L              PO BOX 1004                                                                                    CEDAR GLEN        CA     92321‐1004
HOOPER, RONALD LEO            PO BOX 1004                                                                                    CEDAR GLEN        CA     92321‐1004
HOOPER, RONALD R              2251 PARKWOOD DR NW                                                                            WARREN            OH     44485‐2330
HOOPER, ROYCE A               3042 YORK RD                                                                                   ROCHESTER HLS     MI     48309‐3941
HOOPER, RUSSELL O             8868 CAYUGA DR                                                                                 NIAGARA FALLS     NY     14304
HOOPER, SALLY A               4486 OAK GROVE RD                                                                              NORTH BRANCH      MI     48461‐8933
HOOPER, SAMUEL L              2716 TAUSEND ST                                                                                SAGINAW           MI     48601‐4555
HOOPER, SHELIA D              PO BOX 23561                                                                                   DETROIT           MI     48223‐0561
HOOPER, STUART                3200 BELFORD RD                                                                                HOLLY             MI     48442‐9450
HOOPER, THOMAS H              3814 BEECHWOOD AVE                                                                             FLINT             MI     48506‐3121
HOOPER, TIMOTHY J             2583 BARTLETT RD                                                                               PLEASANT LAKE     MI     49272‐9647
HOOPER, TIMOTHY N             520 N MAIN ST                                                                                  FORT ATKINSON     WI     53538‐1423
HOOPER, VAN B                 5740 CHAMBERLAIN AVE                                                                           SAINT LOUIS       MO     63112‐2807
HOOPER, VIRGINIA G            3432 CELESTIAL WAY                                                                             N. FORT MYERS     FL     33903‐1431
HOOPER, WALTER K              1201 WEST CEDAR              D9                                                                GLADWIN           MI     48624
HOOPER, WAYNE M               7422 LIBERTY RD                                                                                FAIRVIEW          TN     37062‐8318
HOOPER, WILBERT C             15818 RUTHERFORD ST                                                                            DETROIT           MI     48227‐1972
HOOPER, WILLIAM R             14131 W BERG RD                                                                                ORFORDVILLE       WI     53576‐9757
HOOPER, WILLIAM T             1091 COUNTY ROAD 1659                                                                          CULLMAN           AL     35058‐7285
HOOPER, WILLIE J              PERLBERGER LAW ASSOCIATES    401 E CITY AVE STE 200                                            BALA CYNWYD       PA     19004‐1117
HOOPER,CHRISTOPHER D          809 CARNATION LN                                                                               MATTESON           IL    60443‐1943
HOOPES, CHARLES W             11020 WATERLOO MUNITH RD                                                                       MUNITH            MI     49259‐9661
HOOPES, CHARLES WILLIAM       11020 WATERLOO MUNITH RD                                                                       MUNITH            MI     49259‐9661
HOOPES, DAVID R               35727 SE SQUAW MOUNTAIN RD                                                                     ESTACADA          OR     97023‐9545
HOOPES, LAVERE R              1163 N BLACKMOOR DR                                                                            MURRELLS INLET    SC     29576‐8909
HOOPES, MICHAEL J             6379 LONGWOOD DR                                                                               MURRELLS INLET    SC     29576‐8956
HOOPINGARNER JR, JAMES L      6264 HILLSBORO RD                                                                              DAVISBURG         MI     48350‐3518
HOOPINGARNER RAMON (473085)   KELLEY & FERRARO LLP         1300 EAST NINTH STREET , 1901                                     CLEVELAND         OH     44114
                                                           BOND COURT BUILDING
HOOPINGARNER, DIANNA L        6264 HILLSBORO RD                                                                              DAVISBURG         MI     48350‐3518
HOOPINGARNER, GLEN E          451 E MADISON AVE                                                                              PENDLETON         IN     46064‐1228
HOOPINGARNER, HAROLD J        4380 COOPER RD                                                                                 INDIANAPOLIS      IN     46228‐3119
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Name                       Address1                          Address2                        Address3   Address4               City              State Zip
HOOPINGARNER, RAMON        KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                      CLEVELAND          OH 44114
                                                             BOND COURT BUILDING
HOOPLE I I I, WILLIAM G    11698 KINNEVILLE RD                                                                                 EATON RAPIDS      MI   48827‐9766
HOOPLE, DANNY L            1831 MICHIGAN AVE                                                                                   SOUTH MILWAUKEE   WI   53172

HOOPLE, ELIZABETH M        824 N AINGER RD                                                                                     CHARLOTTE         MI   48813‐8859
HOOPLE, ELIZABETH MARIE    824 N AINGER RD                                                                                     CHARLOTTE         MI   48813
HOOPLE, FRANK A            10975 SLOAN RD R 1                                                                                  HUBBARDSTON       MI   48845
HOOPLE, MARJORIE I         4282 PROMENADE BLVD                                                                                 PLANT CITY        FL   33563‐1344
HOOPLE, WILLIAM G          824 N AINGER RD                                                                                     CHARLOTTE         MI   48813
HOOPMAN, NORMA N           8700 RILEY DR APT 315                                                                               LITTLE ROCK       AR   72205‐6517
HOOPS ROBERT L             C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                                     EDWARDSVILLE      IL   62025
HOOPS JR, CLYDE D          1815OHLTOWN‐MCDONALDRD                                                                              NILES             OH   44446
HOOPS MICHAEL              1408 WESTERN BLVD                                                                                   JACKSONVILLE      NC   28546‐6661
HOOPS MICHAEL J            11270 SEACRIST RD                                                                                   SALEM             OH   44460‐9114
HOOPS, CLYDE D             12364 GOSHEN RD                                                                                     SALEM             OH   44460‐9139
HOOPS, DARCY M             6259 GOLFVIEW DR                                                                                    BURTON            MI   48509‐1312
HOOPS, DAVE S              6067 E FRANCES RD                                                                                   MOUNT MORRIS      MI   48458‐9754
HOOPS, DIANE L             11270 SEACRIST RD                                                                                   SALEM             OH   44460‐9114
HOOPS, DIANE M             3932 S COUNTY ROAD D                                                                                JANESVILLE        WI   53548‐9159
HOOPS, DIANE M             3932 AFTON RD                                                                                       JANESVILLE        WI   53548‐9159
HOOPS, GREGORY A           10191 S BAY DR                                                                                      LAINGSBURG        MI   48848‐9785
HOOPS, JAMES R             208 MILLWOOD RD                                                                                     REIDSVILLE        NC   27320‐7320
HOOPS, JAMES R             17 PLANTERS WOOD TRL                                                                                GREENSBORO        NC   27407‐5418
HOOPS, JEFFREY S           13285 GOLDEN CIR                                                                                    FENTON            MI   48430‐1011
HOOPS, KAY C               986 CHUKKA DRIVE                                                                                    DAYTON            OH   45458
HOOPS, MICHAEL J           11270 SEACRIST RD                                                                                   SALEM             OH   44460‐9114
HOOPS, WARREN L            149 PARKER RD                                                                                       LA FOLLETTE       TN   37766‐6362
HOOPS, WILLIAM F           8267 DUFFIELD RD                                                                                    GAINES            MI   48436‐9624
HOOPS, WILLIAM F.          8267 DUFFIELD RD                                                                                    GAINES            MI   48436‐9624
HOORN, JAMES M             21651 CURRIE RD                                                                                     NORTHVILLE        MI   48167‐9798
HOORN, JEFFREY J           55400 AUTUMN RIDGE DR                                                                               NORTHVILLE        MI   48167‐9360
HOORNAERT, ACHIEL H        188 SHAKER BEND RD                                                                                  AUBURN            KY   42206‐8722
HOORNAERT, JOAN E          500 LEELAND HEIGHTS BLVD E                                                                          LEHIGH ACRES      FL   33936‐6720
HOORNAERT, RHEBA L         621 EVERGREEN LN                                                                                    NEW BRAUNFELS     TX   78130‐6679
HOORNSTRA, DAVID L         411 S GROVER AVE LOT 3                                                                              ALMA              MI   48801‐2899
HOOS, ESTELLE Y            2452 MEADOWCROFT DR                                                                                 BURTON            MI   48519‐1270
HOOS, HENRY R              111 GREENWICH DR                                                                                    WALKERSVILLE      MD   21793‐9121
HOOS, MARY K               111 GREENWICH DR                                                                                    WALKERSVILLE      MD   21793‐9121
HOOSE     N, JUANITA V     453 KIRKWOOD DR                                                                                     FAIRBORN          OH   45324‐4429
HOOSE, ANNIE L             44830 JUDD RD                                                                                       BELLEVILLE        MI   48111‐9108
HOOSE, CATHERINE           2249 SPRING CREEK CIR NE                                                                            PALM BAY          FL   32905‐4038
HOOSE, DARWIN P            2 E TILDEN DR                     GH 6C                                                             BROWNSBURG        IN   46112‐1648
HOOSE, DENNIS L            12503 JOEL DR                                                                                       CLIO              MI   48420‐1839
HOOSE, LORAN               FRANK LAW FIRM                    26645 W 12 MILE RD STE 207                                        SOUTHFIELD        MI   48034‐7812
HOOSE, MICHELLE
HOOSE, PATRICK R           W18708 CORD H42                                                                                     GERMFASK          MI   49836
HOOSE, PEGGY P             2 E TILDEN DR # GH6C                                                                                BROWNSBURG        IN   46112
HOOSE, RAY E               309 PINE ST                                                                                         DIMONDALE         MI   48821‐9630
HOOSE, WILLIAM M           3810 E SANILAC RD                                                                                   CARO              MI   48723‐9428
HOOSER JR, ARLA D          725 PARKVALE LN                                                                                     GRAND PRAIRIE     TX   75052‐5216
HOOSER SHARRELL (445316)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                             PROFESSIONAL BLDG
HOOSER, DREW               8613 SILVER CREEK RD                                                                                FORT WORTH        TX   76108‐1046
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Name                                 Address1                         Address2                         Address3   Address4               City               State   Zip
HOOSER, IRMA                         665 RANCOCAS RD                                                                                     WESTAMPTON          NJ     08060‐5626
HOOSER, ROBERT E                     9411 N OAK HILL LN                                                                                  MOORESVILLE         IN     46158
HOOSER, ROBERT F                     1459 W CUMMINS MEADOW XING                                                                          MOORESVILLE         IN     46158‐7146
HOOSER, ROBERTA                      P O BOX 1431                                                                                        BUFFALO             NY     14240‐1431
HOOSER, ROBERTA                      PO BOX 1431                                                                                         BUFFALO             NY     14240‐1431
HOOSER, SHARRELL                     BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD          OH     44067
                                                                      PROFESSIONAL BLDG
HOOSIER BURN CAMP                    12912 INDIANAPOLIS RD                                                                               YODER               IN     46798‐9733
HOOSIER ENERGY                       TAMMY GEISKING                   7398 N STATE ROAD 37                                               BLOOMINGTON         IN     47404‐9424
HOOSIER FREIGHT CORP                 PO BOX 266                                                                                          CORYDON             IN     47112‐0266
HOOSIER GASKET CORP                  2400 ENTERPRISE PARK PL                                                                             INDIANAPOLIS        IN     46218‐4291
HOOSIER GASKET CORP                  TOM MC CONNELL                   2400 ENTERPRISE PARK PLACE                                         ANN ARBOR           MI
HOOSIER GASKET CORP.                 TOM MC CONNELL                   2400 ENTERPRISE PARK PLACE                                         ANN ARBOR           MI
HOOSIER GLASS CO INC                 562 S POST RD                                                                                       INDIANAPOLIS        IN     46239‐9741
HOOSIER HEIGHTS LLC                  5100 S ROGERS ST                                                                                    BLOOMINGTON         IN     47403‐4650
HOOSIER HILLS CREDIT UNION           630 LINCOLN AVE                                                                                     BEDFORD             IN     47421‐2116
HOOSIER HILLS CREDIT UNION           ATTN: GEORGE MC NICHOLS          630 LINCOLN AVE                                                    BEDFORD             IN     47421‐2197
HOOSIER JIFFY PRINT                  1417 W KEM RD                                                                                       MARION              IN     46952‐1856
HOOSIER MACHINE & WELDING INC        ATTN: RANDY ROUTIER              PO BOX 21204                                                       INDIANAPOLIS        IN     46221‐0204
HOOSIER MAILING EQUIPMENT INC        NOT AVAILABLE                    971 N DELAWARE ST                                                  INDIANAPOLIS        IN     46202‐3377
HOOSIER MOTOR CO INC                 3502 E MICHIGAN BLVD                                                                                MICHIGAN CITY       IN     46360‐6525
HOOSIER NATIONAL FOREST              811 CONSTITUTION AVE             ROSS H TAYLOR                                                      BEDFORD             IN     47421‐9538
HOOSIER PC CORPORATION               ATTN RICK YANEY                  1301 LINCOLN AVE                                                   BEDFORD             IN     47421
HOOSIER PRESS INC                    1027 MERIDIAN ST                                                                                    ANDERSON            IN     46016
HOOSIER RACING TIRE                  65465 US 31                                                                                         LAKEVILLE           IN     46536
HOOSIER RUBBER & TRANSMISSION CORP   2002 LAFAYETTE RD                PO BOX 22427 UPTD PER LTR 7/17                                     INDIANAPOLIS        IN     46222‐2325

HOOSIER SAFETY SHOE                5960 E 25TH ST                                                                                        INDIANAPOLIS        IN     46218‐4117
HOOSIER SPLINE & BROACH CORP       1401 TOUBY PIKE                                                                                       KOKOMO              IN     46901‐2503
HOOSIER SPLINE BROACH CORP         1401 TOUBY PIKE                    PO BOX 538                                                         KOKOMO              IN     46901‐2503
HOOSIER SPLINE/KOKOM               PO BOX 538                         1401 TOUBY PIKE                                                    KOKOMO              IN     46903‐0538
HOOSIER UPLANDS WOMENS HEALTH FAIR 500 W MAIN ST                                                                                         MITCHELL            IN     47446‐1411

HOOSIER, ALMA C                      108 N. 9TH                                                                                          SAGINAW            MI      48601‐1703
HOOSIER, ALMA C                      108 N 9TH ST                                                                                        SAGINAW            MI      48601‐1703
HOOSIER, HERMAN L                    6158 HOOSIER LN                                                                                     TROUTDALE          VA      24378‐2427
HOOSIER, JIMMY F                     29379 JEB STUART HWY                                                                                DAMASCUS           VA      24236‐4215
HOOSIER, JUDY A                      2205 ALPHA                                                                                          LANSING            MI      48910
HOOSIER, PEGGY A                     201 PRAIRIE DRIVE                                                                                   LEXINGTON          NC      27292
HOOSIER, RUSSELL D                   33560 WESTHAMPTON LN                                                                                OCEAN VIEW         DE      19970
HOOSON, RUTH E                       3905 ANGUS LN                                                                                       MORAINE CITY       OH      45439
HOOSSAINY, TAUHIRA                   2136 PAWNEE DR SE                                                                                   MARIETTA           GA      30067‐7361
HOOSTAL, JOHN M                      751 REX BLVD., N.W.                                                                                 WARREN             OH      44483‐3162
HOOSTAL, JOHN M                      751 REX BLVD NW                                                                                     WARREN             OH      44483‐3162
HOOSTAL, STEVEN A                    1420 LA LOMA DR                                                                                     SAN MARCOS         CA      92078‐4737
HOOT MCINERNEY CADILLAC INC          37777 S GRATIOT AVE                                                                                 CLINTON TOWNSHIP   MI      48036‐2706

HOOT, BONNIE L                       2338 W GRAND RIVER RD                                                                               OWOSSO              MI     48867‐8703
HOOT, DOUGLAS G                      94 QUAIL HOLLOW LN                                                                                  FRANKLIN            NC     28734‐0319
HOOTEN JOHN P & BOAND HARRY          HOOTEN FAMILY TRUST 84 & BOAND   44 919 GOLF CENTER PKWY STE 7                                      INDIO               CA     92201
HOOTEN RONALD (465091)               BILBREY & HYLIA                  8724 PIN OAK RD                                                    EDWARDSVILLE        IL     62025‐6822
HOOTEN, ARNOLD R                     1247 S MORELAND AVE                                                                                 INDIANAPOLIS        IN     46241‐4123
HOOTEN, BERNARD L                    86 MORGAN DR                                                                                        MCDONOUGH           GA     30253‐3325
HOOTEN, CHARLES L                    1112 E US HIGHWAY 69                                                                                POINT               TX     75472‐5876
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Name                       Address1                         Address2                      Address3       Address4               City              State   Zip
HOOTEN, CHERYL L           1070 GINGHAMSBURG FREDERICK RD                                                                       TIPP CITY          OH     45371‐8984
HOOTEN, DENISE F           2411 PULASKI HWY APT P138                                                                            COLUMBIA           TN     38401‐4595
HOOTEN, DONALD W           326 GREENLEE DR                                                                                      INDIANAPOLIS       IN     46234‐2547
HOOTEN, EDDIE B            3891 REX RD                                                                                          REX                GA     30273‐1392
HOOTEN, JACQUELYN M        4918 SHADOW PINE DR                                                                                  CHARLOTTE          NC     28269‐5139
HOOTEN, KENNETH D          639 SOUTH LINCOLN STREET                                                                             HINSDALE            IL    60521‐4426
HOOTEN, KENNETH R          4918 SHADOW PINE DR                                                                                  CHARLOTTE          NC     28269‐5139
HOOTEN, KENNETH R.         4918 SHADOW PINE DR                                                                                  CHARLOTTE          NC     28269‐5139
HOOTEN, RICHARD E          1401 S MAPLE AVE                                                                                     FAIRBORN           OH     45324‐3534
HOOTEN, ROBIN G            8716 WOODSTREAM DR                                                                                   FORT WAYNE         IN     46804‐6564
HOOTEN, ROBIN GERRARD      8716 WOODSTREAM DR                                                                                   FORT WAYNE         IN     46804‐6564
HOOTEN, RONALD             BILBREY & HYLIA                  8724 PIN OAK RD                                                     EDWARDSVILLE        IL    62025‐6822
HOOTEN, THOMAS H           101 BIG HOLLY CT                                                                                     STEVENSVILLE       MD     21666‐3333
HOOTEN, WILMER S           20005 US HIGHWAY 27                                                                                  CLERMONT           FL     34715‐9009
HOOTEN, WILMER S           20005 HIGHWAY 27                                                                                     CLERMONT           FL     34715‐9009
HOOTER, BRADLEY W          208 JOANN LN                                                                                         COLUMBIA           LA     71418
HOOTER, BRANDON            227 DAY RD                                                                                           MONROE             LA     71203‐8602
HOOTER, BRANDON W          227 DAY RD                                                                                           MONROE             LA     71203‐8602
HOOTER, KOREY A            227 DAY RD                                                                                           MONROE             LA     71203‐8602
HOOTMAN, JASON W           119 EAST SMITH STREET                                                                                HICKSVILLE         OH     43526‐1110
HOOTMAN, LINDA L           9026 COUNTY ROAD 230                                                                                 CECIL              OH     45821
HOOTMAN, ROBERT E          9026 ROAD 230                                                                                        CECIL              OH     45821‐9304
HOOTMAN, STEPHEN B         9849 LAKE RD                                                                                         HICKSVILLE         OH     43526‐9775
HOOTON DONALD R (352004)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA     23510
                                                            STREET, SUITE 600
HOOTON, ANDREW O           PO BOX 773                                                                                           HUMBOLDT           AZ     86329
HOOTON, BETTY H            1302 WOODLAND DR                                                                                     PALESTINE          TX     75801‐5278
HOOTON, DONALD R           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA     23510‐2212
                                                            STREET, SUITE 600
HOOTON, GEORGE E           2180 CHARNWOOD DR                                                                                    TROY              MI      48098‐5201
HOOTON, JOEL S             31549 RIVERBEND DR                                                                                   CHESTERFIELD      MI      48047‐5944
HOOTON, JULIE E            2383 BEVINGTON RD                                                                                    ROCHESTER HLS     MI      48309‐2937
HOOTON, LARRY J            11872 HIGHLAND RD                                                                                    HIGHLAND          IL      62249‐1338
HOOTON, MARK G             2383 BEVINGTON RD                                                                                    ROCHESTER HILLS   MI      48309‐2937
HOOTON, MAVIS A            C/O MAVIS ALENE HOOTON           4700 MORRIS AVENUE                                                  FORT WORTH        TX      76103
HOOTON, MAVIS A            4700 MORRIS AVE                  C/O MAVIS ALENE HOOTON                                              FORT WORTH        TX      76103‐3425
HOOTON, RIC G              9015 KINGSLEY DR                                                                                     ONSTED            MI      49265‐9495
HOOTON, ROBERT L           32684 JAMES ST                                                                                       GARDEN CITY       MI      48135‐1614
HOOTS JR, WILLIAM F        2722 SMALLHOUSE RD                                                                                   BOWLING GREEN     KY      42104‐4350
HOOTS, BILLIE K            1305 S REISNER ST                                                                                    INDIANAPOLIS      IN      46221‐1634
HOOTS, EULA T              1305 S REISNER ST                                                                                    INDIANAPOLIS      IN      46221‐1634
HOOTS, JEFFERY D           529 LAKE POINT DR                                                                                    LITTLE ELM        TX      75068‐8424
HOOTS, MARY E              34311 PEMBROKE AVE                                                                                   LIVONIA           MI      48152‐1202
HOOVEN, EMILOU L           2326 OAKWOOD DR                                                                                      ANDERSON          IN      46011‐2847
HOOVEN, HERBERT            9 WATERLOO ST                                                                                        READVILLE         MA      02136‐2013
HOOVEN, RONALD J           5807 BRIAR HILL DR                                                                                   MILFORD           OH      45150‐2005
HOOVEN, THELMA             5807 BRAIR HILL DR                                                                                   MILFORD           OH      45150‐2005
HOOVEN, THELMA             5807 BRIAR HILL DR                                                                                   MILFORD           OH      45150‐2005
HOOVER & WELLS INC         2011 SEAMAN ST                   PO BOX 8398                                                         TOLEDO            OH      43605‐1960
HOOVER & WELLS INC         2011 SEAMAN ST                                                                                       TOLEDO            OH      43605‐1960
HOOVER ART                 BRAYTON PURCELL                  222 RUSH LANDING ROAD         P O BOX 6169                          NOVATO            CA      94948
HOOVER CAPERTON            60 S PARK GROVE RD                                                                                   LAWRENCEBURG      TN      38464‐6113
HOOVER CAROLE              2 BRATENAHL PL APT 1F                                                                                CLEVELAND         OH      44108‐1187
HOOVER CAROLYN             3218 OZARK ST                                                                                        WEST PLAINS       MO      65775‐5381
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Name                                Address1                              Address2                        Address3            Address4               City            State Zip
HOOVER CRAIN                        PO BOX 100                            95 WASHINGTON ST                                                           RISON            AR 71665‐0100
HOOVER EARL L (429127)              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA 23510
                                                                          STREET, SUITE 600
HOOVER GERALD (445317)              BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD      OH   44067
                                                                          PROFESSIONAL BLDG
HOOVER HARRIS                       6475 RACHELLEN AVE                                                                                               HUBBARD         OH   44425‐2451
HOOVER HAWTHORNE                    924 73RD AVE                                                                                                     OAKLAND         CA   94621‐2908
HOOVER HULL LLP                     111 MONUMENT CIRCLE CHASE             TOWER                                                                      INDIANAPOLIS    IN   46204
HOOVER III, WILLIAM E               17 BOWES CIR                                                                                                     HUDSON          NH   03051‐3269
HOOVER INSTITUTION ARCHIVES         STANFORD UNIVERSITY                   434 GALVEZ MALL                                                            STANFORD        CA   94305‐6003
HOOVER JACKIE D (488472)            BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD      OH   44067
                                                                          PROFESSIONAL BLDG
HOOVER JASON                        HOOVER, JASON                         30 E BUTLER AVE                                                            AMBLER          PA   19002‐4514
HOOVER JEFFREY                      42 BRANDYWINE CT                                                                                                 RICHBORO        PA   18954‐2063
HOOVER JR, DONALD L                 4802 PUMPKIN VINE DR                                                                                             KOKOMO          IN   46902‐2855
HOOVER JR, E S                      115 CHIPPEWA TRL                                                                                                 PRUDENVILLE     MI   48651‐9733
HOOVER JR, ED L                     PO BOX 58                                                                                                        BETHANY         LA   71007‐0058
HOOVER JR, HAROLD                   PO BOX 783                                                                                                       WORTINGTON      OH   43085
HOOVER JR, LUTHER T                 1531 LAKEWOOD DR                                                                                                 BOLIVAR         MO   65613‐3300
HOOVER JR, LYLE C                   9200 RIVER RD APT 4                                                                                              CLAY            MI   48001‐4018
HOOVER JR, LYLE C                   9200 NORTH RIVER RD                   APT 4                                                                      ALGONAC         MI   48001
HOOVER JR, MARCUS H                 459 S KELVIN RD                                                                                                  GOLDEN VALLEY   AZ   86413‐7792
HOOVER JR, WILLIAM P                417 E 4TH ST                                                                                                     HARTFORD CITY   IN   47348‐2915
HOOVER KENNETH M JR (503420)        METZGER LAW GROUP                     401 E OCEAN BLVD STE 800                                                   LONG BEACH      CA   90802‐4967
HOOVER KENNETH M JR (503420) ‐      (NO OPPOSING COUNSEL)
HOOVER LILLIANA G
HOOVER LARRY                          2200 DRURY LN                                                                                                  MISSION HILLS   KS   66208‐1232
HOOVER LYNNE W                        PO BOX 19667                                                                                                   OKLAHOMA CITY   OK   73144‐0667
HOOVER MARY J (642821)                PAUL HANLEY & HARLEY                1608 4TH ST STE 300                                                        BERKELEY        CA   94710‐1749
HOOVER MOTOR COMPANY, INC.            FREDERICK FISHER                    50 E PENN AVE                                                              WERNERSVILLE    PA   19565‐1629
HOOVER MOTOR COMPANY, INC.            50 E PENN AVE                                                                                                  WERNERSVILLE    PA   19565‐1629
HOOVER PHILLIP L                      HOOVER, PHILLIP L                   5473 BLAIR RD STE 200                                                      DALLAS          TX   75231‐4168
HOOVER PHILLIP L                      HOOVER, ROSALIE                     5473 BLAIR RD STE 200                                                      DALLAS          TX   75231‐4168
HOOVER PRECISION PRODUCTS INC         2200 PENDLEY RD                                                                                                CUMMING         GA   30041‐6448
HOOVER PRECISION PRODUCTS INC         PO BOX 899                                                                                                     CUMMING         GA   30028‐0899
HOOVER PRECISION PRODUCTS INC         500 JONESBOROUGH RD                                                                                            ERWIN           TN   37650‐4018
HOOVER RAY                            HOOVER, GLORIA                      310 GRANT ST STE 530                                                       PITTSBURGH      PA   15219‐2201
HOOVER RAY                            HOOVER, RAY                         310 GRANT ST STE 530                                                       PITTSBURGH      PA   15219‐2201
HOOVER RAYMOND (657148)               BIFFERATO GENTILOTTI & BIDEN        PO BOX 2165                                                                WILMINGTON      DE   19899‐2165
HOOVER ROBERT J (430381)              NESS MOTLEY LOADHOLT RICHARDSON &   PO BOX 365                                                                 BARNWELL        SC   29812‐0365
                                      POOLE
HOOVER SHIPMAN                        3325 WESTBROOK ST                                                                                              SAGINAW         MI   48601‐6986
HOOVER SHONDA                         HOOVER, SHONDA                      975 JONES AVE.                                                             GRACEVILLE      FL   32440
HOOVER SINGLETARY                     6207 5TH ST NW                                                                                                 WASHINGTON      DC   20011‐1336
HOOVER SMITH                          514 SHADYHURST DR                                                                                              FORT WAYNE      IN   46825‐3437
HOOVER SR PAUL (459918) ‐ HOOVER PAUL DUFFY & ASSOCS JOHN J               23823 LORAIN RD                                                            NORTH OLMSTED   OH   44070

HOOVER SUNNY                        HOOVER, SUNNY                         5055 WILSHIRE BLVD STE 300                                                 LOS ANGELES     CA   90036‐6101
HOOVER SUNNY                        HOOVER, SUSAN                         5055 WILSHIRE BLVD STE 300                                                 LOS ANGELES     CA   90036‐6101
HOOVER TERRY                        4012 W DODGE RD                                                                                                  CLIO            MI   48420‐8525
HOOVER UNIVERSAL INC                7144 W PARK RD                                                                                                   SHREVEPORT      LA   71129‐2802
HOOVER UNIVERSAL INC                JERRY GILBERT                         PO BOX 899                      BALL & ROLLER DIV                          CUMMING         GA   30028‐0899
HOOVER UNIVERSAL INC                JERRY GILBERT                         BALL & ROLLER DIV               P.O. BOX 899                               JACKSON         MI   49203
HOOVER WHITEHEAD JR                 3074 E FRANCES RD                                                                                                CLIO            MI   48420‐9716
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Name                           Address1                       Address2                Address3     Address4               City               State   Zip
HOOVER'S TRUCK & AUTO REPAIR                                  1264 W MARKET ST                                                                PA     17404
HOOVER, ALICE E                1518 BORN TRAIL                                                                            LANSING             MI     48911‐7016
HOOVER, ALICE E                1518 BORN TRL                                                                              LANSING             MI     48911‐7016
HOOVER, ALICE L                6616 N HUNTINGTON RD                                                                       MARION              IN     46952‐9648
HOOVER, ALICE L                6616 NORTH HUNTINGTON ROAD                                                                 MARION              IN     46952‐9648
HOOVER, ALLEN S                7077 SHAFFER RD NW                                                                         WARREN              OH     44481‐9408
HOOVER, ANDREW J               36698 LAW RD                                                                               GRAFTON             OH     44044‐9658
HOOVER, ART                    BRAYTON PURCELL                PO BOX 6169                                                 NOVATO              CA     94948‐6169
HOOVER, BARBARA A              118 WAYNE DR                                                                               HARRISBURG          PA     17112‐2961
HOOVER, BARBARA A              165 CLEVELAND AVE                                                                          DEFIANCE            OH     43512‐3453
HOOVER, BERNICE                STE 250                        1310 EAST 96TH STREET                                       INDIANAPOLIS        IN     46240‐3690
HOOVER, BERTHA G               8100 E 196TH ST                                                                            NOBLESVILLE         IN     46062‐9091
HOOVER, BETTY J                20178 E COLLEGE PL                                                                         AURORA              CO     80013
HOOVER, BETTY L                816 S 317TH ST                                                                             FEDERAL WAY         WA     98003‐5332
HOOVER, BRENDA G               5336 DUFFIELD RD                                                                           FLUSHING            MI     48433‐9765
HOOVER, BRIANNA M.             7040 LOU MAC DR                                                                            SWARTZ CREEK        MI     48473‐9718
HOOVER, BRUCE C                3013 E 6TH AVE                                                                             COLUMBUS            OH     43219‐2808
HOOVER, BRUCE F                919 W CROSS ST                                                                             ANDERSON            IN     46011‐2111
HOOVER, CALVIN G               11619 PEELMAN DR                                                                           LENNON              MI     48449‐9656
HOOVER, CARL D                 GENERAL DELIVERY                                                                           HOLDEN              MO     64040‐9999
HOOVER, CAROL                  87 E HURST DR                                                                              TROY                MI     48085‐1510
HOOVER, CAROL                  87 HURST                                                                                   TROY                MI     48085‐1510
HOOVER, CAROL A                21682 SHEFFIELD DR                                                                         FARMINGTON HILLS    MI     48335‐5461

HOOVER, CAROL A                8576 INDIAN CREEK DR                                                                       POLAND             OH      44514‐3387
HOOVER, CAROL M                21861 BOHN RD                                                                              BELLEVILLE         MI      48111‐9210
HOOVER, CAROLYN                2140 GRICE LN                                                                              KETTERING          OH      45429‐4154
HOOVER, CAROLYN R              4250 JOYCE AVE.                                                                            WATERFORD          MI      48329‐4113
HOOVER, CAROLYN R              4250 JOYCE AVE                                                                             WATERFORD          MI      48329‐4113
HOOVER, CECIL G                814 NE SWAN RD                                                                             LEES SUMMIT        MO      64086‐5547
HOOVER, CHARLES A              1244 ARROWHEAD DR                                                                          BURTON             MI      48509‐1424
HOOVER, CHARLES E              2035 FRONT ST                                                                              FENTON             MI      48430‐1124
HOOVER, CHARLES F              320 W NORMAN AVE                                                                           DAYTON             OH      45405‐3340
HOOVER, CHARLES J              PO BOX 162                                                                                 FORT HOWARD        MD      21052‐0162
HOOVER, CHARLES T              2816 THOMPSON DR                                                                           BOWLING GREEN      KY      42104‐4360
HOOVER, CHARMAIN M             11464 BERKSHIRE DR                                                                         CLIO               MI      48420‐1783
HOOVER, CHASE                  3580 8TH AVE NE                                                                            NAPLES             FL      34120‐4963
HOOVER, CHERYL A               PO BOX 28                                                                                  KOKOMO             IN      46903‐0028
HOOVER, CHERYL K               6126 PEBBLE BEACH DR           E                                                           SHREVEPORT         LA      71129‐4128
HOOVER, CHERYL KIM             6126 PEBBLE BEACH DR           E                                                           SHREVEPORT         LA      71129‐4128
HOOVER, CLARE R                G‐4177 BOB WHITE DR                                                                        FLINT              MI      48506‐1702
HOOVER, CLIFFORD M             11550 COTTONWOOD AVE                                                                       SAND LAKE          MI      49343
HOOVER, CLYDE E                328 GLEN WOODS TRL                                                                         GAYLORD            MI      49735‐8147
HOOVER, COLETTE                4802 PUMPKIN VINE DR                                                                       KOKOMO             IN      46902‐2855
HOOVER, DALE E                 11 W LIBERTY LN                                                                            DANVILLE           IL      61832‐1358
HOOVER, DANNY J                PO BOX 352                                                                                 DALEVILLE          IN      47334‐0352
HOOVER, DARIN                  8292 ROMAINE DR                                                                            SANDY              UT      84070‐0468
HOOVER, DARLA O                5121 STATE ROUTE 45                                                                        BRISTOLVILLE       OH      44402‐9608
HOOVER, DAVID A                5449 BEAR CREEK PASS                                                                       AUBURN             IN      46706‐9138
HOOVER, DAVID A                1019 N MAIN ST                                                                             AUBURN             IN      46706‐1229
HOOVER, DAVID A                9901 PENDLETON PIKE LOT 145                                                                INDIANAPOLIS       IN      46236‐4700
HOOVER, DAVID B                R R 13                         BOX 464                                                     MUNCIE             IN      47303
HOOVER, DAVID C                9379 WOODSIDE TRL                                                                          SWARTZ CREEK       MI      48473‐8534
HOOVER, DAVID J                9020 AKRON CANFIELD RD                                                                     CANFIELD           OH      44406‐9754
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Name                    Address1                            Address2                       Address3   Address4               City            State   Zip
HOOVER, DAVID P         460 N. TWP ROAD #183                                                                                 REPUBLIC         OH     44867
HOOVER, DAVID P         5565 CLARK RD                                                                                        BATH             MI     48808‐8729
HOOVER, DAVID PAUL      5565 CLARK RD                                                                                        BATH             MI     48808‐8729
HOOVER, DAVID T         133 ARROW ROAD LOT#252                                                                               HILTON HEAD      SC     29928
HOOVER, DAVID W         8576 INDIAN CREEK DR                                                                                 POLAND           OH     44514‐3387
HOOVER, DAWN J          30591 LYNN COURT                                                                                     CHESTERFIELD     MI     48051‐1256
HOOVER, DAWN J          30591 LYNN CT                                                                                        CHESTERFIELD     MI     48051‐1256
HOOVER, DELBERT R       1 COUNTRY LN APT F104               VILLAS OF BROOKHAVEN                                             BROOKVILLE       OH     45309‐7202
HOOVER, DELMA           4812 MILLER ROAD                                                                                     LILBURN          GA     30047‐5333
HOOVER, DELMA           4812 MILLER RD SW                                                                                    LILBURN          GA     30047‐5333
HOOVER, DENNIS H        2358 CANTERWOOD                                                                                      HIGHLAND         MI     48357‐4228
HOOVER, DENNIS W        7471 N BRAY RD                                                                                       MOUNT MORRIS     MI     48458‐8830
HOOVER, DENNIS WAYNE    7471 N BRAY RD                                                                                       MOUNT MORRIS     MI     48458‐8830
HOOVER, DIANA L         2112 SHEFFIELD AVE                                                                                   ANDERSON         IN     46011‐1348
HOOVER, DON L           3600 ARDEN CREEK CT                                                                                  BETHLEHEM        GA     30620‐4677
HOOVER, DON LEE         3600 ARDEN CREEK CT                                                                                  BETHLEHEM        GA     30620‐4677
HOOVER, DON R           455 E 400 N                                                                                          WINDFALL         IN     46076‐9428
HOOVER, DONALD A        7121 PARK ST                                                                                         SHAWNEE          KS     66216‐3710
HOOVER, DONALD ALBERT   7121 PARK ST                                                                                         SHAWNEE          KS     66216‐3710
HOOVER, DONALD E        1756 KENILWORTH ST                                                                                   HOLIDAY          FL     34691‐4639
HOOVER, DONALD H        3 BRISTOL                                                                                            CUBA             NY     14727
HOOVER, DOROTHY         HOOVER, MICHAEL L. & CHASE HOOVER   3580 8TH AVE NE                                                  NAPLES           FL     34120‐4963

HOOVER, DOROTHY J       PO BOX 427                                                                                           STANDISH        MI      48658
HOOVER, DOROTHY M       1902 PARK                                                                                            ST CHARLES      MO      63301‐4733
HOOVER, DOROTHY M       1902 PARK AVE                                                                                        SAINT CHARLES   MO      63301‐4733
HOOVER, DOYLE A         1480 GRAHAM RD                                                                                       MANSFIELD       OH      44903‐7763
HOOVER, DWIGHT G        715 LOOKOUT DR                                                                                       COLUMBIA        TN      38401‐6189
HOOVER, EARL J          98 CEDAR ST                                                                                          WILMINGTON      DE      19808‐4931
HOOVER, EARL L          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA      23510‐2212
                                                            STREET, SUITE 600
HOOVER, EDITH E         1676 NORTHDALE RD.                                                                                   DAYTON          OH      45432‐3510
HOOVER, EDWARD A        3815 E STATE ROAD 236                                                                                ANDERSON        IN      46017‐9788
HOOVER, EDWARD L        1481 RIVERCREST DR                                                                                   PERRYSBURG      OH      43551‐1095
HOOVER, EDWARD L        6126 PEBBLE BEACH DR                                                                                 SHREVEPORT      LA      71129‐4128
HOOVER, ELAINE M        633 CANRIGHT ST NE                                                                                   GRAND RAPIDS    MI      49525‐2115
HOOVER, ELMER           35542 JOHN ST                                                                                        WAYNE           MI      48184‐2371
HOOVER, ELMER L         113 LOYD DR                                                                                          BATTLE CREEK    MI      49015‐2833
HOOVER, FLOYD J         5094 YOUNGSTOWN PL                                                                                   SAGINAW         MI      48601‐9308
HOOVER, FRANCIS J       362 GARDEN CIRCLE DR E                                                                               MANTECA         CA      95336‐9475
HOOVER, FRANKIE J       919 HAWPATCH ST                                                                                      LAGRANGE        IN      46761‐2268
HOOVER, FREDA H         222 W. BARBER ST                                                                                     HARTFORD CITY   IN      47348‐1636
HOOVER, FREDA H         222 W BARBER ST                                                                                      HARTFORD CITY   IN      47348‐1636
HOOVER, FREDERICK G     3411 RIDGECREST DR                                                                                   RENO            NV      89512‐1443
HOOVER, GAIL P          2 REFLECTION DR                                                                                      HUDSON          NH      03051‐6416
HOOVER, GAR P           4324 BRENDA DR                                                                                       ANDERSON        IN      46013‐1402
HOOVER, GARY L          2408 RIDGEWOOD DR                                                                                    ANDERSON        IN      46012‐4358
HOOVER, GEORGE F        2262 TANGLEWOOD DR                                                                                   SALEM           OH      44460‐2527
HOOVER, GERALD          BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD      OH      44067
                                                            PROFESSIONAL BLDG
HOOVER, GERALD L        5336 DUFFIELD RD                                                                                     FLUSHING         MI     48433‐9765
HOOVER, GERALD LYNN     5336 DUFFIELD RD                                                                                     FLUSHING         MI     48433‐9765
HOOVER, GERALDINE E     16939 DUNBLAINE AVE                                                                                  BEVERLY HILLS    MI     48025‐4101
HOOVER, GLORIA          ARTHUR BLOOM                        114 SMITHFILED ST STE2                                           PITTSBURGH       PA     15222‐2249
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Name                     Address1                      Address2            Address3         Address4               City               State   Zip
HOOVER, GLORIA           117 BADGER HILL ROAD                                                                      PORTERSVILLE        PA     16051‐2001
HOOVER, GRADEN E         8042 LONGVIEW DR NE                                                                       WARREN              OH     44484‐1927
HOOVER, GRETTA C         10846 VAUGHN RD                                                                           HIRAM               OH     44234‐9750
HOOVER, HAROLD J         8432 COUNTRY VIEW LN                                                                      PLAIN CITY          OH     43064‐8400
HOOVER, HARVEY L         44 EAST THIRD ST                                                                          XENIA               OH     45385‐3424
HOOVER, HARVEY L         44 E 3RD ST                                                                               XENIA               OH     45385‐3424
HOOVER, HELEN W          1000 GRANT ST.                                                                            FRANKTON            IN     46044‐9323
HOOVER, HELEN W          1000 GRANT ST                                                                             FRANKTON            IN     46044‐9323
HOOVER, HERBERT          201 CLOVERDALE COURT                                                                      NASHVILLE           TN     37214‐3003
HOOVER, HERBERT E        3563 PINECREST RD                                                                         INDIANAPOLIS        IN     46234‐1417
HOOVER, HERBERT W        11464 BERKSHIRE DR                                                                        CLIO                MI     48420
HOOVER, HOLLIS A         7077 SHAFFER RD NW                                                                        WARREN              OH     44481‐9408
HOOVER, HOLLIS ANN       7077 SHAFFER RD NW                                                                        WARREN              OH     44481‐9408
HOOVER, HOMER E          5609 WAMPUM DR                                                                            KOKOMO              IN     46902‐5470
HOOVER, HOWARD S         2139 BURNING TREE CIR                                                                     SEBRING             FL     33872
HOOVER, HYLE L           1745 W SANTEE HWY                                                                         CHARLOTTE           MI     48813‐8663
HOOVER, IRVIN R          CBC 949 BOX 3122                                                                          COLUMBIA            SC     29230
HOOVER, JACK L           15124 CLEAR SPRING RD                                                                     WILLIAMSPORT        MD     21795‐3057
HOOVER, JACOB V          3351 WHITES BRIDGE RD                                                                     LOWELL              MI     49331‐9221
HOOVER, JAMES A          441 OLIVER DR                                                                             ELIZABETH           PA     15037‐1070
HOOVER, JAMES B          1130 E COUNTY RD 450 N                                                                    KOKOMO              IN     46901
HOOVER, JAMES D          1006 COLUMBUS BLVD                                                                        KOKOMO              IN     46901‐1973
HOOVER, JAMES D          4290 E COLDWATER RD                                                                       FLINT               MI     48506‐1052
HOOVER, JAMES D          P.O. BOX 1648                                                                             ANDOVER             OH     44003‐4003
HOOVER, JAMES D          PO BOX 1648                                                                               ANDOVER             OH     44003‐1648
HOOVER, JAMES E          13203 STATE ROUTE 111                                                                     DEFIANCE            OH     43512‐9045
HOOVER, JAMES K          8064 JORDAN RD                                                                            GRAND BLANC         MI     48439‐9726
HOOVER, JAMES L          1829 LEMONT DR                                                                            POLAND              OH     44514‐1422
HOOVER, JAMES L          4384 E ROLSTON RD                                                                         LINDEN              MI     48451‐8439
HOOVER, JAMES M          3449 KROEHLER DR                                                                          HILLIARD            OH     43026‐1723
HOOVER, JAMES W          23 CAMELOT DR                                                                             DANVILLE             IL    61832‐7320
HOOVER, JANET J          2615 W 18TH ST                                                                            ANDERSON            IN     46011‐4024
HOOVER, JANET LOUISE     8432 COUNTRY VIEW LN                                                                      PLAIN CITY          OH     43064‐8400
HOOVER, JASON M          3370 MORNINGVIEW TER                                                                      BLOOMFIELD HILLS    MI     48301
HOOVER, JERRY A          4518 DIXIE BLVD                                                                           SHREVEPORT          LA     71129‐2610
HOOVER, JERRY A          2205 W ELDORA DR                                                                          MARION              IN     46952‐1047
HOOVER, JERRY A          976 N BOLTON AVE                                                                          INDIANAPOLIS        IN     46219‐4536
HOOVER, JIMMIE D         2004 S YORK RD                                                                            YORKTOWN            IN     47396‐1057
HOOVER, JOAN             5124 WEST CHURCHILL COURT                                                                 MUNCIE              IN     47304‐5323
HOOVER, JOAN             5124 W CHURCHILL CT                                                                       MUNCIE              IN     47304‐5323
HOOVER, JOANN L          2010 BAIRD AVE                                                                            WILMINGTON          DE     19808‐5202
HOOVER, JOE F            11145 JUNIPER CT                                                                          WASHINGTON          MI     48094‐3722
HOOVER, JOHN C           2016 ROAD 15                                                                              LEIPSIC             OH     45856‐9465
HOOVER, JOHN L           3893 ANOKA DR                                                                             WATERFORD           MI     48329‐2101
HOOVER, JOHN LEONARD     1476 MCEWEN ST                                                                            BURTON              MI     48509‐2163
HOOVER, JOHN R           304 S FRANKLIN ST                                                                         DUNKIRK             IN     47336‐1210
HOOVER, JOHN R           1963 PONDVIEW CT                                                                          ROCHESTER HLS       MI     48309‐3304
HOOVER, JOHN S           27217 GROVELAND ST                                                                        ROSEVILLE           MI     48066‐4321
HOOVER, JON G            2306 WOODLAWN LN                                                                          ADRIAN              MI     49221‐9122
HOOVER, JON P            18595 N STATE ROAD 9                                                                      SUMMITVILLE         IN     46070‐9098
HOOVER, JORDON DONOVAN   14760 S MUNCH RD                                                                          PERRY               MI     48872‐9564
HOOVER, JOSEPH M         36698 LAW RD                                                                              GRAFTON             OH     44044‐9658
HOOVER, JOYCE M          3068 KENT RD #410‐C                                                                       STOW                OH     44224
HOOVER, JUANITA J        201 CLOVERDALE COURT                                                                      NASHVILLE           TN     37214
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Name                      Address1                           Address2                   Address3              Address4               City            State   Zip
HOOVER, JUDITH E          1908 E CARTER ST                                                                                           KOKOMO           IN     46901‐5664
HOOVER, JULIA A           1609 SABRE TOOTH CT                                                                                        IMPERIAL         MO     63052‐3800
HOOVER, JULIE A           178 WOLFE AVE                                                                                              MANSFIELD        OH     44907‐1350
HOOVER, KATHRYN E         5421 GARD RD                                                                                               WAYNESVILLE      OH     45068‐9438
HOOVER, KEITH C           9119 MARSH ROAD                                                                                            PLAINWELL        MI     49080‐8821
HOOVER, KENNETH E         40 PRELL DR                                                                                                ALAMOGORDO       NM     88310
HOOVER, KENNETH L         7246 FARNHAM RD                    C/O ELLEN M BROWN                                                       MEMPHIS          NY     13112‐8767
HOOVER, KENNETH M         METZGER LAW GROUP                  401 E OCEAN BLVD STE 800                                                LONG BEACH       CA     90802‐4967
HOOVER, KEVIN L           2048 RICHFIELD DR APT D                                                                                    KETTERING        OH     45420‐2056
HOOVER, L H
HOOVER, LARRY D           3317 N CENTER RD                                                                                           FLINT           MI      48506
HOOVER, LARRY DEAN        3317 N CENTER RD                                                                                           FLINT           MI      48506
HOOVER, LARRY N           2115 TARTAN RD                                                                                             ANDERSON        IN      46012‐9650
HOOVER, LARRY R           1210 OREGON WAY                                                                                            ANDERSON        IN      46012‐5513
HOOVER, LAWRENCE          PORTER & MALOUF PA                 4670 MCWILLIE DR                                                        JACKSON         MS      39206‐5621
HOOVER, LEE               PO BOX 244                                                                                                 BLACK LICK      PA      15716‐0244
HOOVER, LILLIANA G        C/O METZGER LAW GROUP              401 E OCEAN BLVD STE 800                                                LONG BEACH      CA      90802
HOOVER, LINDA L           GREENE KETCHUM BAILEY AND TWEEL    PO BOX 2389                419 ELEVENTH STREET                          HUNTINGTON      WV      25724‐2389
HOOVER, LINDA S           524 KARNS DR APT C                                                                                         VANDALIA        OH      45377
HOOVER, LONA J            15978 N STATE ROAD 13                                                                                      ELWOOD          IN      46036‐8765
HOOVER, LOUIS R           240 SIR RICHARD CT                                                                                         LAS VEGAS       NV      89110‐4867
HOOVER, LYNNE             47790 HARBOR DR                                                                                            CHESTERFIELD    MI      48047‐3440
HOOVER, LYNNE W           PO BOX 19667                                                                                               OKLAHOMA CITY   OK      73144
HOOVER, MARGARET J        3332 TIQUEWOOD                                                                                             COMMERCE TWP    MI      48382‐1463
HOOVER, MARILOU A         519 GLENDALE DRIVE                                                                                         LEBANON         IN      46052
HOOVER, MARILYN C         5286 PENTWATER DR                                                                                          HOWELL          MI      48843‐6457
HOOVER, MARK E            8293 N LINDEN RD                                                                                           MOUNT MORRIS    MI      48458‐9325
HOOVER, MARTHA M          5322 WEST BESSINGER ROAD                                                                                   AU GRES         MI      48703‐9613
HOOVER, MARVIN L          1919 ALBANY ST                                                                                             BEECH GROVE     IN      46107‐1405
HOOVER, MARY              26 WESTWOOD ST                                                                                             NEW LONDON      OH      44851‐1011
HOOVER, MARY              10191 JUDD ROAD                                                                                            WILLIS          MI      48191
HOOVER, MARY              10191 JUDD RD                                                                                              WILLIS          MI      48191‐9748
HOOVER, MARY B            8970 CHURCH ST BOX 4                                                                                       TUSCOLA         MI      48769
HOOVER, MARY C            18122 FM 471 S                                                                                             NATALIA         TX      78059‐2216
HOOVER, MARY D            617 COUNTY ROAD 901                                                                                        MIDWAY          AR      72651‐9254
HOOVER, MARY J            PAUL HANLEY & HARLEY               1608 4TH ST STE 300                                                     BERKELEY        CA      94710‐1749
HOOVER, MARY L            9379 WOODSIDE TRAIL                                                                                        SWARTZ CREEK    MI      48473
HOOVER, MARY T            213 VENUS DR                                                                                               LAFAYETTE       LA      70501‐2519
HOOVER, MELISSA D         6126 PEBBLE BEACH DR                                                                                       SHREVEPORT      LA      71129‐4128
HOOVER, MICHAEL A         176 VAN BUREN CIR                                                                                          DAVISON         MI      48423‐8563
HOOVER, MICHAEL ALAN      176 VAN BUREN CIR                                                                                          DAVISON         MI      48423‐8563
HOOVER, MICHAEL D         1240 LAKEMERE AVE                                                                                          BOWLING GREEN   KY      42103‐6013
HOOVER, MICHAEL DOUGLAS   1240 LAKEMERE AVE                                                                                          BOWLING GREEN   KY      42103‐6013
HOOVER, MICHAEL J         1811 IOWA AVE                                                                                              WEST MIFFLIN    PA      15122‐3933
HOOVER, MICHAEL R         5421 GARD RD                                                                                               WAYNESVILLE     OH      45068‐9438
HOOVER, MICHAEL W         1908 E CARTER ST                                                                                           KOKOMO          IN      46901‐5664
HOOVER, MIKE E            4225 OLD SALEM RD                                                                                          ENGLEWOOD       OH      45322‐2635
HOOVER, MILDRED F         29482 OSTREICH RD                                                                                          BROWNSTOWN      MI      48173‐9745
HOOVER, MYRL D            5240 MADISON CT                                                                                            SWARTZ CREEK    MI      48473‐9468
HOOVER, NANCY P           1210 OREGON WAY                                                                                            ANDERSON        IN      46012
HOOVER, NICOLE L          573 VAN TRESS DR                                                                                           FAIRBORN        OH      45324
HOOVER, NOEL S            7154 SANDPIPER STREET                                                                                      PORTAGE         MI      49024‐7409
HOOVER, PATRICIA A        3161 GREEN CORNERS RD                                                                                      LAPEER          MI      48446‐9682
HOOVER, PATRICK M         34257 LA MOYNE ST                                                                                          LIVONIA         MI      48154‐2621
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Name                  Address1                            Address2                Address3   Address4               City            State   Zip
HOOVER, PAUL          DUFFY & ASSOCS JOHN J               23823 LORAIN RD                                           NORTH OLMSTED    OH     44070
HOOVER, PEARL E       1530 OLD MILL LANE                                                                            LANSING          MI     48911‐7069
HOOVER, PHILLIP       20467 TARA CIR                                                                                TROUP            TX     75789‐5003
HOOVER, PHILLIP L     TRACY FIRM                          5473 BLAIR RD STE 200                                     DALLAS           TX     75231‐4168
HOOVER, QUINTER A     3225 FAIRWAY DRIVE                                                                            KETTERING        OH     45409‐1213
HOOVER, RACHEL E      18231 DELAWARE AVE                                                                            REDFORD          MI     48240‐1929
HOOVER, RALPH H       137 CHAPEL HILL DR NW                                                                         WARREN           OH     44483‐1179
HOOVER, RAY           BLOOM ARTHUR & ASSOCIATES           114 SMITHFIELD ST       STE 2                             PITTSBURGH       PA     15222‐2249
HOOVER, RAYMOND L     1579 SURREY RD                                                                                TROY             OH     45373‐1127
HOOVER, REBECCA S     215 S MCCANN ST                                                                               KOKOMO           IN     46901‐5265
HOOVER, REX B         1263 E CHADWICK RD                                                                            DEWITT           MI     48820‐9770
HOOVER, RICHARD A     418 MILL POND ROAD SOUTHEAST                                                                  LUDOWICI         GA     31316‐5748
HOOVER, RICHARD E     2635 JONES RD                                                                                 JACKSONVILLE     FL     32220‐1227
HOOVER, RICHARD F     8265 CARIBOU TRL                                                                              CLARKSTON        MI     48348‐4515
HOOVER, RICHARD L     630 MAIN ST                                                                                   ITHACA           OH     45304‐9412
HOOVER, RICHARD L     785 ECHO LN                                                                                   KOKOMO           IN     46902‐2606
HOOVER, RICHARD R     148 MORGAN AVE                                                                                ELYRIA           OH     44035‐2638
HOOVER, RICHARD Z     404 FINCH ST                                                                                  SANDUSKY         OH     44870‐3747
HOOVER, ROBERT B      1229 COLUMBIANA‐LISBON              LOT NUMBER 105                                            COLUMBIANA       OH     44408
HOOVER, ROBERT D      8964 W DEBORAH CT                                                                             LIVONIA          MI     48150‐3359
HOOVER, ROBERT D      8329 W 119TH TER                                                                              OVERLAND PARK    KS     66213‐1225
HOOVER, ROBERT E      4095 HOWARD RD                                                                                PETOSKEY         MI     49770‐9505
HOOVER, ROBERT F      22 S MUSTIN DR                                                                                ANDERSON         IN     46012‐3154
HOOVER, ROBERT H      317 E DIAMOND WAY                                                                             MORRICE          MI     48857‐8742
HOOVER, ROBERT J      NESS MOTLEY LOADHOLT RICHARDSON &   PO BOX 365                                                BARNWELL         SC     29812‐0365
                      POOLE
HOOVER, ROBERT J      617 COUNTY ROAD 901                                                                           MIDWAY          AR      72651‐9254
HOOVER, ROBERT L      669 CRESCENT WAY                                                                              GALION          OH      44833‐3117
HOOVER, ROBERT O      11055B MUSHROOM ROAD NORTHWEST                                                                BEACH CITY      OH      44608‐9431

HOOVER, ROBERT O      981 BARBERRY RD                                                                               HOWARD CITY     MI      49329‐8960
HOOVER, RODERICK E    2767 PASCO LN SE                                                                              ATLANTA         GA      30316‐4231
HOOVER, RODNEY L      11040 E BRISTOL RD                                                                            DAVISON         MI      48423‐8733
HOOVER, RODNEY LEE    11040 E BRISTOL RD                                                                            DAVISON         MI      48423‐8733
HOOVER, ROGER D       22 RUDY RD                                                                                    MANSFIELD       OH      44903‐8967
HOOVER, ROGER DAVID   22 RUDY RD                                                                                    MANSFIELD       OH      44903‐8967
HOOVER, RONALD L      127 W NORTH E ST                                                                              GAS CITY        IN      46933‐1128
HOOVER, RONALD W      9381 JEAN CT                                                                                  FENTON          MI      48430‐8431
HOOVER, ROSALIE       TRACY FIRM                          5473 BLAIR RD STE 200                                     DALLAS          TX      75231‐4168
HOOVER, SHARON L      4220 LEHMAN ROAD                                                                              DEWITT          MI      48820‐8011
HOOVER, SHARON L      4220 W LEHMAN RD                                                                              DEWITT          MI      48820‐8011
HOOVER, SHELIA K      1006 COLUMBUS BLVD                                                                            KOKOMO          IN      46901‐1973
HOOVER, SHONDA        975 JONES AVE                                                                                 GRACEVILLE      FL      32440‐1242
HOOVER, TERRI A       4074 VICTORIA PARK DR                                                                         SAN JOSE        CA      95136‐2033
HOOVER, TERRY E       710 CRYSTAL ROCK AVE                                                                          SANDUSKY        OH      44870‐9627
HOOVER, TERRY J       625 PARK VW                                                                                   CLIO            MI      48420‐1400
HOOVER, TERRY J       4012 W DODGE RD                                                                               CLIO            MI      48420‐8525
HOOVER, TERRY L       2822 N WEBSTER ST                                                                             KOKOMO          IN      46901‐5867
HOOVER, THOMAS E      4905 WOODRIDGE DR                                                                             YOUNGSTOWN      OH      44515‐4947
HOOVER, TIMOTHY J     573 VAN TRESS DRIVE                                                                           FAIRBORN        OH      45324‐5560
HOOVER, TIMOTHY R     3017 SHERIDAN ST                                                                              ANDERSON        IN      46016‐5989
HOOVER, VIRGINIA M    PO BOX 54                                                                                     SEQUIM          WA      98382
HOOVER, WANDA SUE     519 SUMMIT DR                                                                                 RICHARDSON      TX      75081‐5121
HOOVER, WILLIAM C     6233 BANDOLERO DR                                                                             EL PASO         TX      79912‐1922
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Name                             Address1                         Address2          Address3          Address4               City            State   Zip
HOOVER, WILLIAM R                6728 CHARLESGATE RD                                                                         HUBER HEIGHTS    OH     45424‐7077
HOOVER, WOODROW C                11321 MADISON RD                                                                            HUNTSBURG        OH     44046‐9706
HOOVER,CAROLYN                   2140 GRICE LN                                                                               KETTERING        OH     45429‐4154
HOOVER,KEVIN L                   2048 RICHFIELD DR APT D                                                                     KETTERING        OH     45420‐2056
HOOVER,MIKE E                    4225 OLD SALEM RD                                                                           ENGLEWOOD        OH     45322‐2635
HOOVER‐GUTZKE, CHARLOTTE         8356 FRANCES RD                                                                             FLUSHING         MI     48433‐8810
HOOVER/ERWIN                     PO BOX 899                                                                                  CUMMING          GA     30028‐0899
HOOVER/WASHINGTON                110 SE 3RD ST                                                                               WASHINGTON       IN     47501‐3207
HOOVERSON, CAROLINE L            9514 W ROLLING HILLS DR                                                                     SUN CITY         AZ     85351‐2457
HOOVERSON, GARY R                204 HIGH ST                                                                                 CLINTON          WI     53525‐9476
HOOVERSON, GARY R                1610 345TH AVE                                                                              FREDERIC         WI     54837‐4212
HOOYMAN, HERMAN G                5242 UNIVERSITY DR                                                                          SANTA BARBARA    CA     93111‐1733
HOP ENERGY, LLC                  BILL WEBER                       4 RED OAK LANE                                             WHITE PLAINS     NY     10604
HOP TRAN                         48741 STONERIDGE DR                                                                         NORTHVILLE       MI     48168‐8597
HOP, AILEEN                      6696 N WENTWARD CT                                                                          HUDSONVILLE      MI     49426‐9250
HOP, DONALD J                    6323 SPRINGMONT DR                                                                          HUDSONVILLE      MI     49426‐8702
HOP, DOUGLAS A                   409 STANDISH DR                                                                             WAYLAND          MI     49348‐9502
HOP, GLENN A                     38732 VULCAN CIR                                                                            ZEPHYRHILLS      FL     33542‐1642
HOP, HERMINA                     2571 EDSON DR                                                                               HUDSONVILLE      MI     49426‐9472
HOPAK, KRISTI D                  37701 LAKESHORE DR                                                                          HARRISON         MI     48045‐2850
                                                                                                                             TOWNSHIP
HOPAK, STANLEY                   1813 ROCKCREEK LN                                                                           FLINT            MI     48507‐2233
HOPCIA, JEFFREY A                99 MCINTOSH DR                                                                              LOCKPORT         NY     14094‐5129
HOPCIA, MICHAEL H                11428 HERITAGE POINT DR                                                                     HUDSON           FL     34667‐5786
HOPCIAN, LEONARD L               1987 MANCHESTER BLVD                                                                        GROSSE POINTE    MI     48236‐1921
                                                                                                                             WOODS
HOPCRAFT, GARY C                 1542 SUZANNE CT                                                                             FLUSHING        MI      48433‐1863
HOPE ( FALCON                    22608 YOLO ST                                                                               HAYWARD         CA      94541‐6242
HOPE A WOODS                     800 PENNSYLVANIA AVE                                                                        MC DONALD       OH      44437‐1844
HOPE ADRIENNE NEWCOMB            9245 1/2 DOHENY ROAD                                                                        LOS ANGELES     CA      90069
HOPE AUTOMOTIVE                  3815 LEXINGTON BLVD                                                                         MISSOURI CITY   TX      77459‐2824
HOPE AUTOMOTIVE, INC.            INTERCOMPANY
HOPE B BUSH                      32688 SEAVIEW LOOP                                                                          MILLSBORO       DE      19966
HOPE BARTELMAY                   5905 HERONS BLVD                                                                            YOUNGSTOWN      OH      44515‐5815
HOPE BRANCH                      5501 DUNCAN RD APT 318                                                                      FORT SMITH      AR      72903‐3266
HOPE BUTLER                      421 E MOTT AVE                                                                              FLINT           MI      48505‐5209
HOPE C WEISBROT REV TRUST        HOPE C WEISBROT TTEE & STANLEY   U/A/D 5/3/1996    2551 NW 103 AVE                          SUNRISE         FL      33322
                                 WEISBROT TTEE
HOPE CENTER                      518 HARRIET ST                                                                              YPSILANTI       MI      48197‐5358
HOPE COLLEGE                     BUSINESS OFFICE                  PO BOX 9000                                                HOLLAND         MI      49422‐9000
HOPE D DAVENPORT, JR.            366 6TH ST                                                                                  CAMPBELL        OH      44405‐1245
HOPE DANIELS                     3119 N 39TH DR                                                                              PHOENIX         AZ      85019‐4105
HOPE DAVENPORT                   14B HOLLY DR APT 24                                                                         GIRARD          OH      44420
HOPE DIAZ                        127 W NORTH ST                                                                              LANSING         MI      48906‐4337
HOPE DUGGAN & SILVA              C\O MIAMI COMMERCIAL CTR         PO BOX 25743                                               MIAMI           FL      33102
HOPE DURANTE
HOPE E VARGO                     1092 E CORNELL AVE                                                                          FLINT           MI      48505‐1613
HOPE EBERLE                      9796 S COUNTY ROAD 75 W                                                                     MADISON         IN      47250‐8196
HOPE ENGINEERING SERVICES & CO   2820 INDEPENDENCE DR                                                                        BRIGHTON        MI      48114‐9214
HOPE FIELDS                      2437 S 700 E                                                                                MARION          IN      46953‐9554
HOPE FOR THE CITY                4350 BAKER RD                    STE 400                                                    MINNETONKA      MN      55343‐8628
HOPE GANN                        4601 MAYFIELD DR                                                                            KOKOMO          IN      46901‐3955
HOPE GLOB/CUMBERLAND             50 MARTIN ST                                                                                CUMBERLAND      RI      02864‐5335
HOPE GLOBAL                      50 MARTIN ST                                                                                CUMBERLAND      RI      02864‐5335
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Name                                Address1                        Address2                      Address3             Address4                 City               State Zip
HOPE GLOBAL OF DETROIT              1401 ABBOTT ST                                                                                              DETROIT             MI 48216‐1946
HOPE H WILLIAMS                     2190 HARSHMAN RD.               APT. 2                                                                      DAYTON              OH 45424‐6611
HOPE HELLEBUYCK                     27313 PRINCETON ST                                                                                          SAINT CLAIR SHORES MI 48081‐1718

HOPE HENRY A (342895)               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA   23510
                                                                    STREET, SUITE 600
HOPE HICKS                          2617 MINERVA STREET                                                                                         WARREN            MI    48091‐1877
HOPE HOSPICE                        9470 HEALTHPARK CIR                                                                                         FORT MYERS        FL    33908‐3600
HOPE IND. DE MEXICO S DE RL         CHRIS DEIGNAN                   C/O LOERA CUSTOMS BROKERAGE   5845 E 14TH STREET                            CLEVELAND         OH    44144
HOPE IND/MEXICO                     HERMANOS ALDAMA 1115‐A INT 4    COL SAN MIGUEL CP                                  LEON MX 37390 MEXICO
HOPE INDUSTRIES DE MEXICO S DE RL   HERMANOS ALDAMA 1115‐A INT 4                                                       LEON MX 37390 MEXICO
HOPE INDUSTRIES DE MEXICO S DE RL   CHRIS DEIGNAN                   C/O LOERA CUSTOMS BROKERAGE   5845 E 14TH STREET                            CLEVELAND         OH    44144
HOPE INDUSTRIES DE MEXICO S DE RL   HERMANOS ALDAMA 1115‐A INT 4    COL SAN MIGUEL CP                                  LEON 37390 MEXICO
HOPE JORDAN                         PO BOX 166                                                                                                  JACKSBORO          TN   37757‐0166
HOPE L CASHU                        288 CASHU LANE                  PO BOX 65                                                                   MINERAL SPRING     PA   16855
HOPE L JORDAN                       BOX 166 SIOUX TRAIL                                                                                         JACKSBORO          TN   37757‐0166
HOPE LANDEROS                       12530 HERRICK AVE                                                                                           SYLMAR             CA   91342‐4706
HOPE MAJESKE                        PO BOX 1552                                                                                                 ROYAL OAK          MI   48068‐1552
HOPE MCCLOAT                        326 MITCHELL AVE                                                                                            MATTYDALE          NY   13211‐1742
HOPE MORRIS                         603 DARTMOUTH ST                                                                                            DEWITT             MI   48820‐9505
HOPE MOTOR COMPANY
HOPE N REUBER                       4405 HANEY WAY                                                                                              LOUISVILLE        KY    40272
HOPE NETWORK SOUTHEAST              ATTN: CRISTAL EASON             35 W HURON ST # 302                                                         PONTIAC           MI    48342‐2123
HOPE PATRICK W                      1773 TRILLIUM CT                                                                                            AVON              IN    46123‐8651
HOPE PILLEN                         13010 IRISH RD                                                                                              OTISVILLE         MI    48463‐9439
HOPE PLISKOW                        148 E. ELMWOOD AVENUE           APT. 104                                                                    CLAWSON           MI    48107‐1636
HOPE POPLAR                         1187 RIVER VALLEY DR APT 11                                                                                 FLINT             MI    48532‐2952
HOPE REDDICK                        4431 TIEDEMAN RD                                                                                            BROOKLYN          OH    44144‐2329
HOPE ROBEY                          2200 ELIZAVILLE RD                                                                                          LEBANON           IN    46052‐1274
HOPE SAWYER                         7105 VICKSBURG CIR                                                                                          SHELBY TWP        MI    48317‐4263
HOPE SCROGGINS                      2102 E HIGHLAND AVE                                                                                         MUNCIE            IN    47303‐3324
HOPE SEAGER                         1568 WATER ST                                                                                               OLCOTT            NY    14126
HOPE SMITH                          592 HOLLY CORNER RD                                                                                         FREDERICKSBRG     VA    22406‐5361
HOPE SWINDELL                       12245 AVALON DR                                                                                             GRAFTON           OH    44044‐9527
HOPE THOMAS                         2282 SALT SPRINGS RD                                                                                        MC DONALD         OH    44437‐1114
HOPE VALLEY INDUSTRIES              MIKE DURKAY                     PO BOX 207                                                                  PERU              IN    46970‐0207
HOPE VALLEY INDUSTRIES              PO BOX 479                                                                                                  EXETER            RI    02822‐0505
HOPE VALLEY INDUSTRIES INC          222 EXETER RD                                                                                               NORTH KINGSTOWN   RI    02852‐6406

HOPE VANTIEM                        2519 BETA LN                                                                                                FLINT             MI    48506‐1840
HOPE WALKER                         1665 RIVA RIDGE DR APT 2                                                                                    MANSFIELD         OH    44904‐2007
HOPE WOODS                          800 PENNSYLVANIA AVE                                                                                        MC DONALD         OH    44437‐1844
HOPE Y SIMS                         2336 BRECKLINRIDGE RD                                                                                       JACKSON           MS    39204
HOPE, ALMA E                        10782 SPARKLING WATERS COURT                                                                                SOUTH LYON        MI    48178
HOPE, ANGELA V                      1519 COLUMBIA DR                                                                                            GLENN HEIGHTS     TX    75154‐8131
HOPE, ANGELA VERNA                  1519 COLUMBIA DR                                                                                            GLENN HEIGHTS     TX    75154‐8131
HOPE, BILL J                        801 CAVE MILL RD                                                                                            BOWLING GREEN     KY    42104‐4684
HOPE, BOYD                          1543 BRAMAN AVE                                                                                             FORT MEYERS       FL    33901‐6815
HOPE, BRIAN D                       4809 POCAHONTAS LN                                                                                          LAKELAND          FL    33810‐3640
HOPE, CHARLENE G                    2437 SHAWNEE TRL                                                                                            OKEMOS            MI    48864‐2500
HOPE, CLARENCE A                    4490 RIDGE ROAD                                                                                             CORTLAND          OH    44410‐9781
HOPE, CLARENCE A                    4490 RIDGE RD                                                                                               CORTLAND          OH    44410‐9781
HOPE, DIXIE E                       5923 W DIVISION RD                                                                                          TIPTON            IN    46072‐8482
HOPE, DOUGLAS                       318 SPRY ISLAND RD                                                                                          JOPPA             MD    21085‐5424
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Name                          Address1                       Address2                      Address3   Address4               City            State   Zip
HOPE, DOUGLAS R               PO BOX 92                                                                                      HADLEY           MI     48440‐0092
HOPE, ETHELREDA J             20981 CONCORD ST                                                                               SOUTHFIELD       MI     48076‐3119
HOPE, FRANK R                 725 RUNNING DEER DR                                                                            COLUMBIA         TN     38401‐8003
HOPE, HENRY A                 GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                             STREET, SUITE 600
HOPE, HENRY K                 2528 RUSHBROOK DR                                                                              FLUSHING        MI      48433‐2564
HOPE, JAMES T                 11501 S VILLA CT APT 1A                                                                        ALSIP            IL     60803
HOPE, JAMES T                 2021 BURTON AVE                                                                                HOLT            MI      48842‐1310
HOPE, JANICE J                209 W 37TH ST                                                                                  ANDERSON        IN      46013‐4206
HOPE, JEANETTE K              801 CAVE MILL RD                                                                               BOWLING GREEN   KY      42104‐4684
HOPE, JOHN P                  716 E COLUMBIA AVE                                                                             PONTIAC         MI      48340‐2049
HOPE, JOSEPH G                1094 SW CAIRO AVE                                                                              PORT ST LUCIE   FL      34953‐3213
HOPE, JOSEPHINE SWANNEE       4396 SPRINGBROOK DR                                                                            SWARTZ CREEK    MI      48473‐1704
HOPE, KEVIN PAUL              309 ELMWOOD DR                                                                                 DAVISON         MI      48423‐1449
HOPE, LUCILLE                 1954 S FINN RD                                                                                 MUNGER          MI      48747‐9707
HOPE, MABLE F                 4490 RIDGE RD                                                                                  CORTLAND        OH      44410‐9781
HOPE, MABLE F                 4490 RIDGE RD.                                                                                 CORTLAND        OH      44410‐9781
HOPE, MERLE D                 APT 1501                       2200 1ST STREET                                                 ALAMOGORDO      NM      88310‐3422
HOPE, MINNIE B                10300 THREE CHOPT RD APT 211                                                                   HENRICO         VA      23233
HOPE, MINNIE M                2605 SO 23RD ST                                                                                SAGINAW         MI      48601‐4215
HOPE, MINNIE M                2605 S 23RD ST                                                                                 SAGINAW         MI      48601‐4215
HOPE, OSCAR R                 239 TERRY JAK DR                                                                               WEST BEND       WI      53090‐7500
HOPE, PHILIP A                23 SILVER SPUR LN                                                                              BELL CANYON     CA      91307‐1138
HOPE, QUEEN E                 1119 BRITTNEY WAY                                                                              NORCROSS        GA      30093‐4827
HOPE, RICHARD                 5923 W DIVISION RD                                                                             TIPTON          IN      46072‐8482
HOPE, ROBERT F                201 REGINA DR                                                                                  CLAIRTON        PA      15025‐3141
HOPE, RONALD H                1611 S WHITNEY RD                                                                              BEAVERTON       MI      48612‐9442
HOPE, RUSSEL O                1260 SUTTON AVE                                                                                FLINT           MI      48504‐3244
HOPE, RUSSEL OTTO             1260 SUTTON AVE                                                                                FLINT           MI      48504‐3244
HOPE, RUSSELL N               22131 LOVE ST                                                                                  ST CLAIR SHRS   MI      48082‐2479
HOPE, STANLEY B               37 BROOKHAVEN DR                                                                               TROTWOOD        OH      45426‐3102
HOPE, STANLEY BURL            37 BROOKHAVEN DR                                                                               TROTWOOD        OH      45426‐3102
HOPE, SWANNEE J               4396 SPRINGBROOK DR                                                                            SWARTZ CREEK    MI      48473‐1704
HOPE, TERRY F                 PO BOX 68                                                                                      GREENBUSH       MI      48738‐0068
HOPE, TERRY FREDRICK          PO BOX 68                                                                                      GREENBUSH       MI      48738‐0068
HOPE, THOMAS M                440 RIVARD BLVD                                                                                WATERFORD       MI      48327
HOPE, THOMAS W                3930 HERR FIELDHOUSE RD                                                                        SOUTHINGTON     OH      44470‐9543
HOPE, WILLIAM H               11820 HALL RD                                                                                  LAURA           OH      45337‐9647
HOPE‐GOODLOW, HATTIE B        1010 OWEN ST                                                                                   SAGINAW         MI      48601‐2547
HOPECK, JOYCE                 4201 GLENMAWR AVE                                                                              COLUMBUS        OH      43224‐1910
HOPEN, GLEN C                 22108 STATE ROUTE B                                                                            STE GENEVIEVE   MO      63670‐9091
HOPEN, HOWARD E               48 ANTHONY RD                                                                                  MIDDLETOWN      MO      63359‐2233
HOPETON HENDRICKS
HOPEWELL TIRE & AUTO.         3500 JEFFERSON RD                                                                              ATHENS          GA      30607‐1481
HOPEWELL WESLEYAN CHRISTIAN   1550 W ALEXIS RD                                                                               TOLEDO          OH      43612‐4047
HOPEWELL, MARCIA C            445 FIELD ST APT 413                                                                           DETROIT         MI      48214‐2359
HOPEWELL, ROY L               3216 WARREN DR                                                                                 WATERFORD       MI      48329‐3545
HOPF PHIL                     3807 FERNWOOD CT                                                                               DAYTON          OH      45440‐4092
HOPF, WILLIAM J               415 VIRGINIA AVE                                                                               JERSEY CITY     NJ      07304‐1106
HOPFE CHARLES                 13943 SOUND OVERLOOK DR N                                                                      JACKSONVILLE    FL      32224‐1379
HOPFE, CHARLES P              13943 SOUND OVERLOOK DR N                                                                      JACKSONVILLE    FL      32224‐1379
HOPFE, MARY ANN               13943 SOUND OVERLOOK DR N                                                                      JACKSONVILLE    FL      32224‐1379
HOPFER EDWARD                 1361 HARMONY RD                                                                                WINNEMUCCA      NV      89445‐3543
HOPFER, GREGORY D             3424 WOODSIDE RD                                                                               ALEXANDRIA      VA      22310‐2122
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Name                                 Address1                          Address2                        Address3                    Address4               City              State   Zip
HOPFINGER, ALAN E                    1624 S STATE ROUTE 19                                                                                                OAK HARBOR         OH     43449‐9659
HOPFINGER, DONALD A                  107 ENGELHARDT DR                                                                                                    BAY CITY           MI     48706
HOPGOOD JR, JOSEPH D                 2236 HALFORD ST                                                                                                      ANDERSON           IN     46016‐3733
HOPGOOD, CHARLES W                   3553 GLENWOOD PL                                                                                                     CINCINNATI         OH     45229‐2717
HOPGOOD, FLOYD A                     12205 EAST 21ST STREET                                                                                               INDIANAPOLIS       IN     46229‐9764
HOPGOOD, VIRGINIA S                  1043 MALIBU DR                                                                                                       MARIETTA           GA     30066‐2856
HOPKIN, DOROTHY L                    PO BOX 28549                                                                                                         DETROIT            MI     48228‐0549
HOPKIN, FLORENCE MARIE               175 MARGARET ST                                                                                                      SANDUSKY           MI     48471‐1489
HOPKINS #, SANDRA E                  2177 DOOLEY TOWN RD                                                                                                  STATHAM            GA     30666‐2104
HOPKINS & CARLEY LC                  300 S 1ST ST STE 210                                                                                                 SAN JOSE           CA     95113‐2837
HOPKINS & HUEBNER PC                 TERRACE CENTER                    2700 GRAND AVE STE 111                                                             DES MOINES          IA    50312‐5215
HOPKINS ALLAN (445318)               BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD         OH     44067
                                                                       PROFESSIONAL BLDG
HOPKINS AUTOMOTIVE INC.              5102 E 62ND ST                                                                                                       INDIANAPOLIS       IN     46220‐5313
HOPKINS CECIL G (626574)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK            VA     23510
                                                                       STREET, SUITE 600
HOPKINS COUNTY                       ATTN: ELIZABETH WELLER            LINEBARGER GOGGAN BLAIR &       2323 BRYAN ST, SUITE 1600                          DALLAS             TX     75201
                                                                       SAMPSON LLP
HOPKINS COUNTY SHERIFF               56 N MAIN ST                                                                                                         MADISONVILLE      KY      42431‐1940
HOPKINS COUNTY TAX OFFICE            118 MAIN ST                                                                                                          SULPHUR SPRINGS   TX      75482‐2705
HOPKINS DENNIS MICHAEL               PO BOX 474                                                                                                           WHITTAKER         MI      48190‐0474
HOPKINS EDDIE JR (445319)            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD        OH      44067
                                                                       PROFESSIONAL BLDG
HOPKINS ERIC                         HOPKINS, ERIC                     5055 WILSHIRE BLVD STE 300                                                         LOS ANGELES       CA      90036‐6101
HOPKINS ERIC                         HOPKINS, MICHELLE                 5055 WILSHIRE BLVD STE 300                                                         LOS ANGELES       CA      90036‐6101
HOPKINS EXPRESS FREIGHT INC          PO BOX 81056                                                                                                         CLEVELAND         OH      44181‐0056
HOPKINS FELIX I                      HOPKINS, FELIX I                  6658 KINLOCH ST                                                                    WINNSBORO         LA      71295‐2614
HOPKINS III, FLOYD B                 208 OGDEN PARMA TOWN LINE RD                                                                                         SPENCERPORT       NY      14559‐1655
HOPKINS III, JOSEPH H                4606 BEECHER ROAD                                                                                                    FLINT             MI      48532
HOPKINS JACK (445320)                BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD        OH      44067
                                                                       PROFESSIONAL BLDG
HOPKINS JAMES F JR (477229)          ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                                         BALTIMORE         MD      21202
                                                                       CHARLES CENTER 22ND FLOOR
HOPKINS JOHN C (455135)              ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                                           WILMINGTON        DE      19801‐1813
HOPKINS JR, CLARENCE M               4818 CANTERBURY LN                                                                                                   FLINT             MI      48504
HOPKINS JR, FLOYD W                  1814 N PONTIAC DR                                                                                                    JANESVILLE        WI      53545‐0650
HOPKINS JR, JOE                      1422 HILLVIEW DR                  APT # I207                                                                         COLUMBIA          TN      38401
HOPKINS JR, JOE                      3926 TAYLORS STORE ROAD                                                                                              HAMPSHIRE         TN      38461‐4549
HOPKINS JR, JOE                      1422 HIGHVIEW DR APT I207                                                                                            COLUMBIA          TN      38401‐9417
HOPKINS JR, JOHN R                   461 LOCKRIDGE LN                                                                                                     LAWRENCEVILLE     GA      30045‐6136
HOPKINS JR, MELVIN                   610 APPLE HILL LN                                                                                                    ROCHESTER HILLS   MI      48306‐4204
HOPKINS JR, NATHANIEL P              210 CENTER ST                                                                                                        SARANAC           MI      48881‐9729
HOPKINS JR, OSCAR                    127 WICKHAM FARM DR                                                                                                  UNION             OH      45322‐2948
HOPKINS JR., A. C                    27 MOULTON RD                                                                                                        DUXBURY           MA      02332‐3920
HOPKINS KATY                         HOPKINS, KATY                     5901 CEDAR LAKE RD S                                                               MINNEAPOLIS       MN      55416‐1488
HOPKINS KEITH                        PO BOX 39                                                                                                            BURNS             WY      82053‐0039
HOPKINS LEO Y (ESTATE OF) (501715)   LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                                            MIAMI             FL      33143‐5163
HOPKINS MAE                          24371 HOLLYVILLE RD                                                                                                  MILLSBORO         DE      19966‐2601
HOPKINS MANUFACTURING CORP           428 PEYTON ST                                                                                                        EMPORIA           KS      66801‐3722
HOPKINS MFG CORP                     BOB LAVINGTON                     428 PEYTON ST                                                                      EMPORIA           KS      66801‐3722
HOPKINS MFG CORP                     BOB LAVINGTON                     428 PEYTON                                                                         WATERLOO          IA      50704
HOPKINS MFG/428 PYTN                 428 PEYTON ST                                                                                                        EMPORIA           KS      66801‐3722
HOPKINS MFG/EMPORIA                  PO BOX 1157                       428 PEYTON ST                                                                      EMPORIA           KS      66801‐1157
HOPKINS MOTOR CO INC                 1518 W US HIGHWAY 90                                                                                                 LAKE CITY         FL      32055‐6121
                                         09-50026-mg              Doc 7123-18 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
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Name                                     Address1                          Address2                       Address3           Address4               City              State   Zip
HOPKINS MOTOR CO., INC.                  JOHN HOPKINS                      1518 W US HIGHWAY 90                                                     LAKE CITY          FL     32055‐6121
HOPKINS MOTOR CO., INC.                  1518 W US HIGHWAY 90                                                                                       LAKE CITY          FL     32055‐6121
HOPKINS MOTOR COMPANY INC                402 OFFICE PLZ STE B                                                                                       TALLAHASSEE        FL     32301‐8303
HOPKINS OLIVER M                         EARLY LUDWICK & SWEENEY L.L.C.    ONE CENTURY TOWER, 11TH FLOOR 265 CHURCH STREET                          NEW HAVEN          CT     06508‐1866
HOPKINS OPAL INEZ (ESTATE OF) (664766)   ODOM & ELLIOTT                    PO BOX 1868                                                              FAYETTEVILLE       AR     72702‐1868

HOPKINS PATRICIA                         6 S FILLMORE ST                                                                                            BEVERLY HILLS      FL     34465‐3622
HOPKINS PONTIAC OLDS GMC TRUCK INC       402 OFFICE PLZ STE B                                                                                       TALLAHASSEE        FL     32301‐8303

HOPKINS PONTIAC‐GMC, INC.                JOHN HOPKINS                      4909 HIGHWAY 90                                                          MARIANNA           FL     32446‐6841
HOPKINS PONTIAC‐GMC, INC.                4909 HIGHWAY 90                                                                                            MARIANNA           FL     32446‐6841
HOPKINS RALPH & JANN                     8517 E GRANDVIEW ST                                                                                        MESA               AZ     85207‐4114
HOPKINS RENEE                            HOPKINS, RENEE                    1060 1ST AVE STE 400                                                     KING OF PRUSSIA    PA     19406‐1336
HOPKINS ROBERT I (439151)                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA     23510
                                                                           STREET, SUITE 600
HOPKINS SAMUEL WILSON                    WILSON, SAMUEL WILSON             8447 CONCORD PL                                                          SAINT LOUIS       MO      63147‐1911
HOPKINS SR, GLENN L                      2032 ROULAIN RD                                                                                            ODENVILLE         AL      35120‐6920
HOPKINS SR, ROBERT A                     8305 N WARWICK CT                                                                                          YPSILANTI         MI      48198‐8406
HOPKINS WILLIAM F (347298)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                              NORFOLK           VA      23510
                                                                           STREET, SUITE 600
HOPKINS, ADELE                           89 CARR ST                                                                                                 PONTIAC           MI      48342‐1708
HOPKINS, ADELINE                         4070 MAYNARD RD                                                                                            DELAWARE          OH      43015‐8574
HOPKINS, AGNES A                         1040 KALAMAZOO AVE                                                                                         PETOSKEY          MI      49770‐3221
HOPKINS, AGNES T                         2349 W 86TH ST APT 257                                                                                     INDIANAPOLIS      IN      46260‐1971
HOPKINS, ALAN S                          13550 12 MILE RD NE                                                                                        GREENVILLE        MI      48838‐8319
HOPKINS, ALLAN                           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                             NORTHFIELD        OH      44067
                                                                           PROFESSIONAL BLDG
HOPKINS, ALLAN D                         7929 MAPLE GROVE RD                                                                                        CHARLEVOIX        MI      49720
HOPKINS, ALLEN N                         472 MOUNT NEBO RD                                                                                          FALKVILLE         AL      35622‐5316
HOPKINS, ANDREA B                        7865 INW ROANRAIGE RD.                                                                                     KANSAS CITY       MO      64151
HOPKINS, ANGELA G                        1437 FRYE RD                                                                                               COLUMBIA          TN      38401‐7282
HOPKINS, ANITA M                         415 BURDEL DRIVE                                                                                           WILMINGTON        OH      45177‐2905
HOPKINS, ANITA M                         415 BURDEL DR                                                                                              WILMINGTON        OH      45177‐2905
HOPKINS, ANNIE L                         108 W AINSWORTH ST                                                                                         YPSILANTI         MI      48197‐5337
HOPKINS, ANNIE R                         32 E 102ND ST                                                                                              CHICAGO           IL      60628‐2014
HOPKINS, AVERON D                        2030 RAVINE ST                                                                                             JANESVILLE        WI      53548‐3446
HOPKINS, BARBARA E                       7125 N 28TH AVE                                                                                            PHOENIX           AZ      85051‐8462
HOPKINS, BARBARA K                       8713 EAGLEVIEW CT                                                                                          FORT WORTH        TX      76179‐3017
HOPKINS, BARBARA N                       5389 TIMOR TRL                                                                                             LITHONIA          GA      30038‐2881
HOPKINS, BARBARA N                       5389 TIMOR TRAIL                                                                                           LITHONIA          GA      30038‐2881
HOPKINS, BELINDA R                       5631 DACOSTA ST                                                                                            DEARBORN HTS      MI      48127‐2415
HOPKINS, BENITA C                        3639 MEADOW VIEW DR                                                                                        KOKOMO            IN      46902‐5070
HOPKINS, BENJAMIN J                      3114 BUNDY ST                                                                                              SAGINAW           MI      48601‐4307
HOPKINS, BETTY C                         2820 N LOCKE ST                                                                                            KOKOMO            IN      46901‐1512
HOPKINS, BETTY CHRISTENS                 4522 ROSEMOUNT AVE                                                                                         GRAND PRAIRIE     TX      75052
HOPKINS, BETTY CHRISTENS                 4522 ROSEMONT AVE                                                                                          GRAND PRAIRIE     TX      75052‐3572
HOPKINS, BILLY J                         3072 E MOUNT MORRIS RD                                                                                     MOUNT MORRIS      MI      48458‐8991
HOPKINS, BILLY J                         COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                  HOUSTON           TX      77002‐1751
HOPKINS, BILLY W                         4872 E HADLEY RD                                                                                           MOORESVILLE       IN      46158‐6617
HOPKINS, BOBBIE J                        8233 BAILEY ST                                                                                             TAYLOR            MI      48180‐2148
HOPKINS, BOBBIE JEAN                     P.O. BOX 113                                                                                               IRENE             TX      76650‐0113
HOPKINS, BOBBIE JEAN                     PO BOX 113                                                                                                 IRENE             TX      76650‐0113
HOPKINS, BOBBY G                         5500 MURLAND HOLW                                                                                          WHITE LAKE        MI      48383‐1346
HOPKINS, BOBBY G                         2335 S FENTON RD                                                                                           HOLLY             MI      48442‐8333
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Name                      Address1                          Address2                      Address3   Address4               City             State   Zip
HOPKINS, BRAD L           4916 LORE DR                                                                                      WATERFORD         MI     48329‐1643
HOPKINS, BRETT A          4037 COOK RD                                                                                      SWARTZ CREEK      MI     48473‐9138
HOPKINS, BRIAN D          5180 ATLAS RD                                                                                     GRAND BLANC       MI     48439‐9707
HOPKINS, BRIAN D.         5180 ATLAS RD                                                                                     GRAND BLANC       MI     48439‐9707
HOPKINS, BRIAN K          PO BOX 513                                                                                        ROANOKE           IN     46783‐0513
HOPKINS, BRIAN K          12016 WINTERS RD                                                                                  ROANOKE           IN     46783‐9637
HOPKINS, BRUCE D          9919 DIXIE HWY                                                                                    CLARKSTON         MI     48348‐2419
HOPKINS, BURTON L         8984 CHAMPIONSHIP DR                                                                              DAVISON           MI     48423‐8656
HOPKINS, CALVIN C         7170 CATTAIL SW                                                                                   BYRON CENTER      MI     49315‐8117
HOPKINS, CARL W           469 CHERRY CREEK CIR                                                                              SHADY SPRING      WV     25918‐8722
HOPKINS, CARL W           547 CAT TRACK RD                                                                                  WEATHERFORD       TX     76085‐8117
HOPKINS, CARLTON M        25 TOWN AND COUNTRY DR                                                                            CARTERSVILLE      GA     30120‐4008
HOPKINS, CAROL            3505 GENEVIEVE AVE N                                                                              OAKDALE           MN     55128‐3069
HOPKINS, CAROL L          1995 CREEK RD. ROUTE 98                                                                           ATTICA            NY     14011
HOPKINS, CAROL S          1412 HILLSDALE DRIVE                                                                              DAVISON           MI     48423‐2326
HOPKINS, CAROLINE M       1816 MASURY RD.                                                                                   MASURY            OH     44438‐9703
HOPKINS, CAROLINE M       1816 MASURY RD                                                                                    MASURY            OH     44438‐9703
HOPKINS, CAROLYN S        498 BEE LICK RD                                                                                   BRODHEAD          KY     40409‐8915
HOPKINS, CECIL G          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510‐2212
                                                            STREET, SUITE 600
HOPKINS, CEOLAR           9048 S RACINE AVE                                                                                 CHICAGO           IL     60620‐3520
HOPKINS, CEOLAR           9048 S. RACINE                                                                                    CHICAGO           IL     60620‐3520
HOPKINS, CHARLA
HOPKINS, CHARLES B        3218 KINGS LANE                                                                                   BURTON           MI      48529‐1168
HOPKINS, CHARLES E        2370 BROOKFIELD ST                                                                                CANTON           MI      48188‐1821
HOPKINS, CHARLES G        7855 CLARK RD                                                                                     BATH             MI      48808‐9447
HOPKINS, CHARLES GEORGE   7855 CLARK RD                                                                                     BATH             MI      48808‐9447
HOPKINS, CHARLES J        836 SOMERSET CT                                                                                   TRENTON          OH      45067‐1490
HOPKINS, CHARLES L        32 MINERAL DR                                                                                     INWOOD           WV      25428‐4323
HOPKINS, CHARLES S        125 SNOW CHIEF DR                                                                                 HAVRE DE GRACE   MD      21078‐2578
HOPKINS, CHARLES W        214 LAWSON AVE                                                                                    CEDARTOWN        GA      30125‐2321
HOPKINS, CHERYL J         111 VERSTREET DR                                                                                  ROCHESTER        NY      14616‐4103
HOPKINS, CHESTER L        2 BLAIRGOWRIE DR                                                                                  BELLA VISTA      AR      72715‐5718
HOPKINS, CINDY            1570 DAWNVILLE BEAVERDALE RD NE   RD NE                                                           DALTON           GA      30721‐6811
HOPKINS, CLARENCE M       1344 WEAVERVILLE STREET                                                                           CHULA VISTA      CA      91913‐1645
HOPKINS, CLINTON W        PO BOX 683                                                                                        KENNETT          MO      63857‐0683
HOPKINS, CLYDE A          3212 PARKWOOD AVE                                                                                 SAGINAW          MI      48601‐4415
HOPKINS, CLYDE W          680 CAMERON AVE                                                                                   PONTIAC          MI      48340‐3202
HOPKINS, CONSTANCE M      3948 ADRIAN DR SE                                                                                 WARREN           OH      44484‐2749
HOPKINS, CRAIG H          4032 SPRING HUE LN                                                                                DAVISON          MI      48423‐8900
HOPKINS, DALE L           1904 OHIO AVE                                                                                     ANDERSON         IN      46016‐2106
HOPKINS, DALE R           122 KATIE ST                                                                                      MADISONVILLE     TN      37354‐7760
HOPKINS, DANIEL H         901 STANLEY AVE                                                                                   PONTIAC          MI      48340‐2561
HOPKINS, DAVID L          519 FLETCHER ST                                                                                   OWOSSO           MI      48867‐3407
HOPKINS, DAVID L          1874 GENTIAN DR SE                                                                                KENTWOOD         MI      49508‐6408
HOPKINS, DAVID S          3919 FOREST AVE                                                                                   NORWOOD          OH      45212‐3930
HOPKINS, DEBRA A          11648 DICK RD                                                                                     GREENVILLE       MI      48838‐9415
HOPKINS, DEBRA A          PO BOX 144                                                                                        GREENVILLE       MI      48838‐0144
HOPKINS, DELORES          9742 HARBOUR PL APT 706                                                                           PENSACOLA        FL      32506
HOPKINS, DELPHINE         1419 S 16TH ST                                                                                    SAGINAW          MI      48601‐2219
HOPKINS, DENNIS E         1708 PHEASANT RIDGE TRL                                                                           KNOXVILLE        TN      37922‐5500
HOPKINS, DENNIS E         227 N JOHN ST                                                                                     PENDLETON        IN      46064‐1059
HOPKINS, DENNIS M         PO BOX 474                                                                                        WHITTAKER        MI      48190‐0474
HOPKINS, DENNIS MICHAEL   PO BOX 474                                                                                        WHITTAKER        MI      48190‐0474
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Name                      Address1                       Address2                     Address3   Address4               City             State   Zip
HOPKINS, DEWANDA S        8617 GAMBIER HARBOUR                                                                          PASADENA          MD     21122‐6536
HOPKINS, DEWANDA SHERRY   8617 GAMBIER HARBOUR                                                                          PASADENA          MD     21122‐6536
HOPKINS, DIANE F          913 WOLDRIDGE DR                                                                              COLUMBIA          TN     38401‐3036
HOPKINS, DONA I           2623 WOODLAWN ST                                                                              WOLVERINE LAKE    MI     48390‐1973
HOPKINS, DONALD C         5447 E SOUTHERN AVE                                                                           INDIANAPOLIS      IN     46203‐5629
HOPKINS, DONALD E         6545 HILLCREST DR                                                                             HOLLY             MI     48442‐8748
HOPKINS, DONALD F         5210 MOCERI LN                                                                                GRAND BLANC       MI     48439‐4330
HOPKINS, DONALD H         1812 CASPIAN DR                                                                               CULLEOKA          TN     38451‐2085
HOPKINS, DONALD M         10844 COUNTY ROAD 23                                                                          MOUNT HOPE        AL     35651‐9758
HOPKINS, DONNA L          7117 GLEN TERRA DR                                                                            LANSING           MI     48917‐8833
HOPKINS, DONNA LOUISE     7117 GLEN TERRA DRIVE                                                                         LANSING           MI     48917‐8833
HOPKINS, DONNA M          PO BOX 61                                                                                     COMMODORE         PA     15729‐0061
HOPKINS, DONNA M          1400 BRIGADOON CT APT 1                                                                       TRAVERSE CITY     MI     49686
HOPKINS, DONNA M          BOX 61 RD. 1                                                                                  COMMODORE         PA     15729‐0061
HOPKINS, DOROTHY          PO BOX 13445                                                                                  ROCHESTER         NY     14613‐0445
HOPKINS, DOROTHY          RR 1 BOX 145                                                                                  ELIZABETHTOWN      IL    62931‐9714
HOPKINS, DOROTHY A        399 PIN OAK CIR                                                                               ELYRIA            OH     44035‐8921
HOPKINS, DOROTHY M        298 OLD 122                                                                                   LEBANON           OH     45036‐2411
HOPKINS, DOROTHY M        298 OLD 122 RD                                                                                LEBANON           OH     45036‐2411
HOPKINS, DOROTHY S        13620 BARDON RD                                                                               PHOENIX           MD     21131‐1518
HOPKINS, DORSEY W         3338 ANDERSON RD                                                                              MORROW            OH     45152‐8356
HOPKINS, DUSTIN E         6365 JENNINGS RD                                                                              SWARTZ CREEK      MI     48473‐8814
HOPKINS, EDGAR            4506 MARBLE HALL RD                                                                           BALTIMORE         MD     21239‐3935
HOPKINS, EDITH M          26074 HIGHWAY 50 W                                                                            MABEN             MS     39750‐9326
HOPKINS, ELAINE M         135 LOCUST DR                                                                                 ERIN              TN     37061‐5055
HOPKINS, ERIC             KROHN & MOSS ‐ CA,             5055 WILSHIRE BLVD STE 300                                     LOS ANGELES       CA     90036‐6101
HOPKINS, ERNEST L         534 SOMERSET DR                                                                               FLUSHING          MI     48433‐1918
HOPKINS, ESTHER           3340 HOSPITAL RD                                                                              SAGINAW           MI     48608
HOPKINS, ETHEL M          719 HOFFMAN AVE                                                                               TRENTON           NJ     08618‐2905
HOPKINS, EUGENE W         1486 DISC DR                                                                                  SPARKS            NV     89436‐3699
HOPKINS, EUNICE E         2200 CLEVELAND AVE APT 2220                                                                   MIDLAND           MI     48640‐5591
HOPKINS, EVERETT L        8305 CAMELOT CT                                                                               MOUNT MORRIS      MI     48458‐8827
HOPKINS, EVERETT S        10 PINE STREET                                                                                OAKFIELD          NY     14125
HOPKINS, F L
HOPKINS, FANNIE V         1344 WEAVERVILLE STREET                                                                       CHULA VISTA      CA      91913
HOPKINS, FLOYD            2170 BOTT STREET                                                                              YOUNGSTOWN       OH      44505‐4505
HOPKINS, FLOYD            PO BOX 506                                                                                    MARION           AL      36756
HOPKINS, FRANK W          2250 CARROLLTON AVE                                                                           INDIANAPOLIS     IN      46205‐4518
HOPKINS, FRANKLIN R       2261 W                         300 S                                                          HARTFORD CITY    IN      47348
HOPKINS, FRANKLIN R       PO BOX 1438                                                                                   MARION           IN      46952‐7838
HOPKINS, GARRY D          1013 W THOMAS L PKWY                                                                          LANSING          MI      48917‐2123
HOPKINS, GARY
HOPKINS, GARY D           121 TURTLE RUN RD                                                                             TURTLETOWN       TN      37391
HOPKINS, GARY E           512 N 10TH ST                                                                                 GAS CITY         IN      46933‐1311
HOPKINS, GARY G           34566 SHALLOT DR                                                                              WINCHESTER       CA      92596‐8857
HOPKINS, GEORGE W         103 DANRAY DR                                                                                 RICHMOND         VA      23227‐1944
HOPKINS, GERALD G         725 BALDWIN STREET             APT 3006                                                       JENISON          MI      49428
HOPKINS, GERALD K         7904 OLD MAYNARDVILLE PIKE                                                                    KNOXVILLE        TN      37938‐2619
HOPKINS, GERALD P         1938 FAIRVIEW RD                                                                              GLENMOORE        PA      19343‐2639
HOPKINS, GERRY A          APT 15                         6321 SAINT ANDREWS DRIVE                                       CANFIELD         OH      44406‐9581
HOPKINS, GERRY A          6321 SAINT ANDREWS DR          APARTMENT 15                                                   CANSFIELD        OH      44406
HOPKINS, GILBERT P        9895 BUNTON RD                                                                                WILLIS           MI      48191‐9615
HOPKINS, GLORIA E         1215 NIBLICK CR                                                                               DALLAS           TX      75232‐3431
HOPKINS, GLORIA E         1215 NIBLICK CIR                                                                              DALLAS           TX      75232‐3431
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Name                  Address1                         Address2                       Address3   Address4               City            State   Zip
HOPKINS, GRAHAM       1307 BUSH CREEK DR                                                                                GRAND BLANC      MI     48439‐1618
HOPKINS, GREGORY W    285 SUMMERFORD RD                                                                                 DANVILLE         AL     35619‐6941
HOPKINS, GUY A        1564 S DELL PT                                                                                    HOMOSASSA        FL     34448‐1421
HOPKINS, GUY A        1564 DELL PT.                                                                                     HOMOSASSA        FL     34448‐1421
HOPKINS, HAROLD E     417 N 6TH ST                                                                                      MIDLOTHIAN       TX     76065‐2605
HOPKINS, HELEN L      7847 LOIS CIR APT 313                                                                             DAYTON           OH     45459‐3696
HOPKINS, HELEN L      7847 LOIS CIR. #313                                                                               DAYTON           OH     45459‐3696
HOPKINS, HORACE A     31443 BARTON ST                                                                                   GARDEN CITY      MI     48135‐1360
HOPKINS, HORACE M     975 WESTERN AVE                                                                                   MONROE           MI     48161‐1821
HOPKINS, HORTENSE     204 MALITO CT                                                                                     CHULA VISTA      CA     91911‐5901
HOPKINS, IDA N        4818 CANTERBURY LN                                                                                FLINT            MI     48504‐2096
HOPKINS, IRELLA M     PO BOX 428                       C/O BELLONS                                                      LAINGSBURG       MI     48848‐0428
HOPKINS, IVA E        11510 NASHVILLE HWY                                                                               NASHVILLE        MI     49073‐9301
HOPKINS, J S          1269 E PRINCETON AVE                                                                              FLINT            MI     48505‐1754
HOPKINS, J W          193 ANASTASIA DR                                                                                  KISSIMMEE        FL     34759‐3746
HOPKINS, JACK         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD       OH     44067
                                                       PROFESSIONAL BLDG
HOPKINS, JAMES        421 36TH ST                                                                                       BAY CITY        MI      48708‐8334
HOPKINS, JAMES        1251 10TH CT SW                                                                                   LARGO           FL      33770‐4402
HOPKINS, JAMES        3245 TUXEDO                                                                                       DETROIT         MI      48206‐1027
HOPKINS, JAMES        RR 1 BOX 145                                                                                      ELIZABETHTOWN   IL      62931‐9714
HOPKINS, JAMES        APT 703                          4701 CHRYSLER DRIVE                                              DETROIT         MI      48201‐1468
HOPKINS, JAMES C      11537 NORBOURNE DR                                                                                CINCINNATI      OH      45240‐2115
HOPKINS, JAMES E      7725 M 32 E                                                                                       JOHANNESBURG    MI      49751‐9762
HOPKINS, JAMES E      4725 HEMMETER CT APT 8                                                                            SAGINAW         MI      48603‐3838
HOPKINS, JAMES F      ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                        BALTIMORE       MD      21202
                                                       CHARLES CENTER 22ND FLOOR
HOPKINS, JAMES L      6117 COVENTRY DRIVE                                                                               SWARTZ CREEK    MI      48473‐8822
HOPKINS, JAMES R      121 HAGEN ST                                                                                      BUFFALO         NY      14211‐1911
HOPKINS, JAMES T      755 TAKAMARAK TRL                                                                                 HOPE            MI      48628‐9600
HOPKINS, JAMES W      PO BOX 535                                                                                        KODAK           TN      37764‐0535
HOPKINS, JAN M        2077 PEPPER RIDGE DR                                                                              SHREVEPORT      LA      71115‐9412
HOPKINS, JANET L      690 W CHEESEMAN RD                                                                                SAINT LOUIS     MI      48880
HOPKINS, JANET M      6313 CARNATION RD                                                                                 DAYTON          OH      45449‐3057
HOPKINS, JANET M      980 N GLENVIEW CT                                                                                 PALATINE        IL      60067‐0627
HOPKINS, JANETTE      3657 OAK KNOLL BLVD                                                                               OAKLAND         CA      94605‐4457
HOPKINS, JANICE       709 FILLMORE ST                                                                                   GARY            IN      46402‐2111
HOPKINS, JEAN         160 72ND ST                                                                                       NIAGARA FALLS   NY      14304‐4022
HOPKINS, JEAN C       3351 LYNNE AVE                                                                                    FLINT           MI      48506
HOPKINS, JEAN C.      2087 W RIDGE DR                                                                                   DAVISON         MI      48423‐2128
HOPKINS, JERI S       2657 S COUNTY ROAD 625 E                                                                          PLAINFIELD      IN      46168‐8103
HOPKINS, JERRY A      235 COUNTY ROAD 65                                                                                MOULTON         AL      35650‐6078
HOPKINS, JERRY L      4007 TRIPLETT FORK ROAD                                                                           GASSAWAY        WV      26624‐6193
HOPKINS, JOANN        546 MALLET PL E                                                                                   GAHANNA         OH      43230‐6801
HOPKINS, JOANN        546 MALLET PLACE EAST                                                                             GAHANNA         OH      43230‐6801
HOPKINS, JOANNE S     1814 S WINDING WAY                                                                                ANDERSON        IN      46011‐3861
HOPKINS, JOCELYN M.   44159 COTTISFORD ST                                                                               NORTHVILLE      MI      48167‐8923
HOPKINS, JOHN A       844 GOLF DR APT 102                                                                               PONTIAC         MI      48341
HOPKINS, JOHN A.      850 GOLF DR APT 102                                                                               PONTIAC         MI      48341
HOPKINS, JOHN B       11491 SNOWS LAKE RD                                                                               GREENVILLE      MI      48838‐9419
HOPKINS, JOHN C       ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                         WILMINGTON      DE      19801‐1813
HOPKINS, JOHN P       4675 DEARTH RD                                                                                    FRANKLIN        OH      45005‐9759
HOPKINS, JOHN R       461 LOCKRIDGE LN                                                                                  LAWRENCEVILLE   GA      30045‐6136
HOPKINS, JOHN W       263 MAIN ST                                                                                       GRIFTON         NC      28530‐9117
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Name                      Address1                      Address2                     Address3   Address4               City             State   Zip
HOPKINS, JOHN W           12775 BANNACK RD                                                                             DILLON            MT     59725
HOPKINS, JOSEPH S         6122 DONNYBROOK DR                                                                           DAYTON            OH     45459‐1804
HOPKINS, JOYCE F          8984 CHAMPIONSHIP DR                                                                         DAVISON           MI     48423‐8656
HOPKINS, JOYCE L          6028 LAKE DRIVE                                                                              MECOSTA           MI     49332‐9653
HOPKINS, JOYCE L          6028 LAKE DR                                                                                 MECOSTA           MI     49332‐9653
HOPKINS, JR, ROBERT A     8305 N WARWICK CT                                                                            YPSILANTI         MI     48198‐8406
HOPKINS, JUDY R           1235 GRIMES RD                                                                               MANSFIELD         OH     44903‐8226
HOPKINS, JUNE M           466 BOOTH ST                                                                                 GRAND LEDGE       MI     48837‐1202
HOPKINS, KATY             HAUER FARGIONE AND LOVE PA    5901 CEDAR LAKE RD S                                           MINNEAPOLIS       MN     55416‐1488
HOPKINS, KAY              408 BOOTH ST                                                                                 GRAND LEDGE       MI     48837‐1202
HOPKINS, KELLIE H         7397 WHITNEY DR                                                                              PINSON            AL     35126‐4007
HOPKINS, KENNETH          629 POINT OF VIEW DR                                                                         COLUMBIA          TN     38401‐9238
HOPKINS, KENNETH L        466 BOOTH ST                                                                                 GRAND LEDGE       MI     48837‐1202
HOPKINS, KENNETH L        1976 MYRTLE DR NE                                                                            MARIETTA          GA     30066‐2024
HOPKINS, KENNETH W        413 E COLLEGE ST                                                                             ODESSA            MO     64076‐1652
HOPKINS, KENT M           12081 FRANCESCA DR                                                                           GRAND BLANC       MI     48439‐1565
HOPKINS, LARRY D          45465 25TH ST E SPC 124                                                                      LANCASTER         CA     93535
HOPKINS, LARRY E          7606 WELLINGTON RD                                                                           BRIGHTON          MI     48116‐8592
HOPKINS, LATASHA DENISE   3636 LYNN ST                                                                                 FLINT             MI     48503‐7004
HOPKINS, LAWRENCE E       1035 W MAIN ST SPC 65                                                                        MESA              AZ     85201‐7160
HOPKINS, LEANNE           13 SE 14TH AVE                                                                               CAPE CORAL        FL     33990‐1705
HOPKINS, LEO Y            LIPMAN DAVID M                5901 SW 74TH ST STE 304                                        MIAMI             FL     33143‐5163
HOPKINS, LEONARD C        6276 DUNNS FALLS RD                                                                          ENTERPRISE        MS     39330‐9411
HOPKINS, LILLIE           4707 WARRINGTON                                                                              FLINT             MI     48504‐2080
HOPKINS, LINDA G          8712 CASTLEROCK CT                                                                           LAUREL            MD     20723‐2702
HOPKINS, LINDA L.         4133 FILTER RD                                                                               HARRISON          MI     48625‐9711
HOPKINS, LINDA S          626 SILOAM RD # A                                                                            MAGEE             MS     39111‐8713
HOPKINS, LISA M           3914 DEANNA DR                                                                               KOKOMO            IN     46902‐4709
HOPKINS, LOMA             1539 LINCOLN AVE                                                                             CLOVIS            CA     93611‐2029
HOPKINS, LUCILLE          8305 N WARWICK CT                                                                            YPSILANTI         MI     48198‐8406
HOPKINS, LUCY A           PO BOX 565                                                                                   LUCASVILLE        OH     45648‐0565
HOPKINS, LUELLA L         8487 SAN CAPISTRANO WAY                                                                      BUENA PARK        CA     90620‐3020
HOPKINS, LUTHERA K        1416 CHERRY HILL LN                                                                          KOKOMO            IN     46902‐3134
HOPKINS, LYNN             1620 CLIFTON ROAD                                                                            YELLOW SPRINGS    OH     45387‐9703
HOPKINS, LYNN             1620 CLIFTON RD                                                                              YELLOW SPRINGS    OH     45387‐9703
HOPKINS, MAE M            295 SOUTHLAND DR                                                                             LONDON            KY     40744‐9192
HOPKINS, MARGARET G       4126 MINERVA DR                                                                              FLINT             MI     48504‐1467
HOPKINS, MARGARET G       8595 FOSTORIA ROAD                                                                           FOSTORIA          MI     48435‐9708
HOPKINS, MARIETTA         39047 N RUSTY LN                                                                             SAN TAN VLY       AZ     85140‐4135
HOPKINS, MARJORIE         14653 BRYCE ROAD                                                                             MUSSEY            MI     48014‐3107
HOPKINS, MARJORIE A       1805 SUMAN AVE                                                                               DAYTON            OH     45403‐3140
HOPKINS, MARL             1005 SUNCREST DR 5                                                                           FLINT             MI     48504
HOPKINS, MARVIN D         6313 CARNATION RD                                                                            DAYTON            OH     45449‐3057
HOPKINS, MARY             1465 FOLKSTONE CT                                                                            ANN ARBOR         MI     48105‐2847
HOPKINS, MARY A           11461 N MERIDIAN RD                                                                          MERRILL           MI     48637‐9623
HOPKINS, MARY E           11669 CRANE CT                                                                               MORENO VALLEY     CA     92557‐6203
HOPKINS, MARY L           624 S GREEN ST                                                                               BROWNSBURG        IN     46112‐1611
HOPKINS, MARY L           444 CHERRY ST FRNT                                                                           WAVERLY           OH     45690‐1276
HOPKINS, MICHAEL K        304 FOX CT                                                                                   CARMEL            IN     46032‐5197
HOPKINS, MICHAEL L        10788 N CLINTON TRL                                                                          SUNFIELD          MI     48890‐9700
HOPKINS, MICHAEL W        2974 E EASTRIDGE DR                                                                          MARION            IN     46953‐5616
HOPKINS, MICHELE
HOPKINS, MICHELLE         KROHN & MOSS ‐ CA,            5055 WILSHIRE BLVD STE 300                                     LOS ANGELES      CA      90036‐6101
HOPKINS, MILTON M         2806 EDEN RD                                                                                 HAMERSVILLE      OH      45130‐8701
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Name                      Address1                         Address2                         Address3   Address4               City            State   Zip
HOPKINS, MITCHEL F        11510 NASHVILLE HWY                                                                                 NASHVILLE        MI     49073‐9301
HOPKINS, MORRIS           3334 SWEETBRIER RD                                                                                  ALBANY           GA     31701‐7517
HOPKINS, NAOMI M          1920 NW OBRIEN CIR # B                                                                              LEES SUMMIT      MO     64081‐1679
HOPKINS, NATHANIEL H      904 NEAL AVE                                                                                        DAYTON           OH     45406‐5258
HOPKINS, NORMA J          3276 KRISTIN CT                                                                                     COLUMBUS         OH     43231‐3162
HOPKINS, NORMA J          50 W WILSON ST                                                                                      CICERO           IN     46034‐9587
HOPKINS, NORMA J          50 WILSON ST                                                                                        CICERO           IN     46034‐9587
HOPKINS, OLA              417 NORTH 6TH                                                                                       MIDLOTHIAN       TX     76065‐2605
HOPKINS, OLIVER M         EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                     NEW HAVEN        CT     06508‐1866
                                                           265 CHURCH STREET
HOPKINS, OPAL INEZ        ODOM & ELLIOTT                   P O DRAWER 1868                                                    FAYETTEVILLE    AR      72702
HOPKINS, ORA A            2377 PATRICK PL                                                                                     BEAVERCREEK     OH      45431
HOPKINS, PATRICIA R       193 ANASTASIA DR                                                                                    KISSIMMEE       FL      34759‐3746
HOPKINS, PATRICK E        7397 WHITNEY DR                                                                                     PINSON          AL      35126‐4007
HOPKINS, PEGGY A          5011 STONEHENGE DR                                                                                  PORTAGE         MI      49024‐5736
HOPKINS, PETER D          4070 MAYNARD RD                                                                                     DELAWARE        OH      43015‐8574
HOPKINS, PHILLIP M        9521 GERA RD                                                                                        BIRCH RUN       MI      48415‐9218
HOPKINS, PHYLLIS A        512 N 10TH ST                                                                                       GAS CITY        IN      46933‐1311
HOPKINS, PHYLLIS W        2202 MAIN ST                                                                                        ANDERSON        IN      46016‐4371
HOPKINS, PRESTON J        16 PRINCETON CT                                                                                     ZEELAND         MI      49464‐2082
HOPKINS, RALPH            1692 PATTERSON RD                                                                                   SOMERSET        KY      42503
HOPKINS, RALPH A          135 LOCUST DR                                                                                       ERIN            TN      37061‐5055
HOPKINS, RICHARD A        4181 W ROOSEVELT RD                                                                                 PERRINTON       MI      48871‐9506
HOPKINS, RICHARD H        200 TIMBERLANE TER                                                                                  EULESS          TX      76039‐2216
HOPKINS, RICHARD J        16206 HEALY LAKE RD                                                                                 THOMPSONVILLE   MI      49683‐9218
HOPKINS, RICHARD L        6677 LONG HWY                                                                                       EATON RAPIDS    MI      48827‐9399
HOPKINS, RICHARD R        8497 KINGSLAND HWY                                                                                  EATON RAPIDS    MI      48827‐9330
HOPKINS, RICHARD S        12943 NETTLES DR                                                                                    NEWPORT NEWS    VA      23606‐1210
HOPKINS, RICHARD T        678 TAYLOR RD                                                                                       ONAWAY          MI      49765‐9528
HOPKINS, ROBERT A         8305 N WARWICK CT                                                                                   YPSILANTI       MI      48198‐8406
HOPKINS, ROBERT ANTHONY   8305 N WARWICK CT                                                                                   YPSILANTI       MI      48198‐8406
HOPKINS, ROBERT B         OMR 499 BOX 754                                                                                     APO             AE      09751‐0008
HOPKINS, ROBERT B         CMR 489 BOX 754                  APO                                                                                AE      09751‐0008
HOPKINS, ROBERT D         498 BEE LICK ROAD                                                                                   BRODHEAD        KY      40409‐8915
HOPKINS, ROBERT D         498 BEE LICK RD                                                                                     BRODHEAD        KY      40409‐8915
HOPKINS, ROBERT G         20300 FORT ST APT 141                                                                               RIVERVIEW       MI      48193‐4550
HOPKINS, ROBERT I         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA      23510‐2212
                                                           STREET, SUITE 600
HOPKINS, ROBERT J         5048 WHITES CREEK PIKE                                                                              WHITES CREEK    TN      37189‐9139
HOPKINS, ROBERT P         4220 ARLEN DR                                                                                       HARTLAND        MI      48353‐1204
HOPKINS, ROBERT P         133 LAUREN DR                                                                                       NICHOLASVILLE   KY      40356‐2628
HOPKINS, RODNEY A         712 WOODBRAIR LANE                                                                                  SAINT CHARLES   MO      63366
HOPKINS, ROGER D          170 TORY PNES NA                                                                                    SPRINGBORO      OH      45066
HOPKINS, ROGER W          2022 TARTAN RD                                                                                      ANDERSON        IN      46012‐9438
HOPKINS, RONALD           5858 E MOLLOY RD STE 164                                                                            SYRACUSE        NY      13211‐2006
HOPKINS, RONALD B         19298 TODD DR                                                                                       CLINTON TWP     MI      48038‐4725
HOPKINS, ROSE M           PO BOX 367                                                                                          RUTLAND         VT      05702‐0367
HOPKINS, ROSIE            17160 MELROSE ST                                                                                    SOUTHFIELD      MI      48075
HOPKINS, ROSINE M         1421 SUSSEX RD                                                                                      BALTIMORE       MD      21221‐6034
HOPKINS, RUDY C           1321 ISLAND AVE NW                                                                                  PALM BAY        FL      32907‐7810
HOPKINS, RUTH E.          35315 GLEN ST                                                                                       WESTLAND        MI      48186‐4369
HOPKINS, RUTH P           10022 OAKLAND ST                                                                                    DALTON          NY      14836‐9759
HOPKINS, RUTH S           3771 EAGLE CREEK RD NW                                                                              LEAVITTSBURG    OH      44430‐9778
HOPKINS, SALLY MARIE      142 RIVERTRAIL RD                                                                                   BAY CITY        MI      48706‐1805
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Name                      Address1                        Address2            Address3         Address4               City               State   Zip
HOPKINS, SALLY MARIE      142 RIVER TRAIL DR                                                                          BAY CITY            MI     48706‐1805
HOPKINS, SAMUEL W         3212 SULLIVAN AVE                                                                           SAINT LOUIS         MO     63107‐2620
HOPKINS, SANDY            473 CALIFORNIA AVE                                                                          PONTIAC             MI     48341‐2510
HOPKINS, SARAH L          6137 RAINTREE BND                                                                           LITHONIA            GA     30058‐8942
HOPKINS, SCOTT R          4227 WOOD ACRE DR                                                                           BELLBROOK           OH     45305‐1344
HOPKINS, SHERRYL L        7960 MUSKET ST                                                                              INDIANAPOLIS        IN     46256‐2806
HOPKINS, SHIRLEY          3750 CHARTRIDGE DR                                                                          CANAL WINCHESTER    OH     43110‐8773

HOPKINS, SHIRLEY A        81 PEARIDGE LN                                                                              CANTON             GA      30114‐2010
HOPKINS, SHIRLEY A        8305 CAMELOT CT                                                                             MOUNT MORRIS       MI      48458‐8827
HOPKINS, SHIRLEY ANN      2068 ELDORA ST                                                                              LEMON GROVE        CA      91945‐3708
HOPKINS, SHIRLEY ANN      2068 EL DORA STREET                                                                         LEMON GROVE        CA      91945‐3708
HOPKINS, STANFORD W       50 VIRGINIA ST                                                                              PONTIAC            MI      48342‐1374
HOPKINS, STARLING J       2302 TUNSTILL ROAD SW                                                                       HARTSELLE          AL      35640
HOPKINS, STEPHEN A        1068 CEDARVIEW LN                                                                           FRANKLIN           TN      37067‐4068
HOPKINS, STEPHEN ALBERT   1068 CEDARVIEW LN                                                                           FRANKLIN           TN      37067‐4068
HOPKINS, STEPHEN L        PO BOX 53                       417 SECOND AVE                                              WORTHINGTON        KY      41183‐0053
HOPKINS, STEPHEN P        1915 SHERMAN AVE APT 13                                                                     MADISON            WI      53704‐5982
HOPKINS, STEPHEN P        220 N ZAPATA HWY STE 11                                                                     LAREDO             TW      78043‐4464
HOPKINS, STEVEN H         448 PRINCETON ROAD                                                                          HARRISBURG         PA      17111‐3561
HOPKINS, STEVEN L         8729 N CLINTON TRL                                                                          MULLIKEN           MI      48861‐9744
HOPKINS, SUE F            133 LAUREN DR                                                                               NICHOLASVILLE      KY      40356‐2628
HOPKINS, TAMARA J         9386 HENDERSON RD                                                                           OTISVILLE          MI      48463‐9743
HOPKINS, TERRIE H         925 BRYANT DRIVE                                                                            ATTALLA            AL      35954‐6005
HOPKINS, TERRIL L         2020 ROSEMONT BLVD                                                                          DAYTON             OH      45420‐2533
HOPKINS, THELMA S         3938 SEAGATE DR                                                                             MELBOURNE           FL     32904‐9108
HOPKINS, THERESA          5194 JOHNSON SOUR                                                                           LOGANVILLE         GA      30052
HOPKINS, THERESA A        10081 W OUTER DR                                                                            DETROIT            MI      48223‐2236
HOPKINS, THERESA M        999 OLD SAN JOSE RD SPC 39                                                                  SOQUEL             CA      95073‐9795
HOPKINS, THOMAS           697 CHELSEA DR                                                                              SANFORD            NC      27332‐8547
HOPKINS, THOMAS D         5343 W G H AVE                                                                              KALAMAZOO          MI      49009
HOPKINS, THOMAS E         260 GARLAND AVE APT H                                                                       ROCHESTER          NY      14611‐1058
HOPKINS, TILO M           30200 STEPHENSON HWY                                                                        MADISON HTS        MI      48071‐1512
HOPKINS, TIMOTHY L        99 E SUFFOLK CT                                                                             FLINT              MI      48507‐4253
HOPKINS, TIMOTHY R        130 E FITZSIMMONS RD                                                                        OAK CREEK          WI      53154‐5128
HOPKINS, TOMMIE           PORTER & MALOUF PA              4670 MCWILLIE DR                                            JACKSON            MS      39206‐5621
HOPKINS, TRUMAN L         259 FALL CIR                                                                                WEST PALM BEACH     FL     33410‐6303

HOPKINS, VAUGHN S         24 LAUREL AVE                                                                               NEWARK             DE      19711‐4797
HOPKINS, VERA T           PO BOX 920                                                                                  LOTUS              CA      95651‐0920
HOPKINS, VERNON D         9386 HENDERSON RD                                                                           OTISVILLE          MI      48463‐9743
HOPKINS, VICTOR           5631 DACOSTA ST                                                                             DEARBORN HTS       MI      48127‐2415
HOPKINS, VICTOR A         5631 DACOSTA ST                                                                             DEARBORN HTS       MI      48127‐2415
HOPKINS, VIOLA R          41127 RUGGLES RD                                                                            TECUMSEH           OK      74873‐7452
HOPKINS, VIRGINIA L       608 TURNBERRY CT                                                                            WINTER HAVEN       FL      33884‐1246
HOPKINS, VIRGINIA M       PO BOX 1492                                                                                 ELYRIA             OH      44036‐1492
HOPKINS, VIRGINIA M       P.O. BOX 1492                                                                               ELYRIA             OH      44036‐1492
HOPKINS, WALTER           1105 ISLAND PARK BLVD APT 407                                                               SHREVEPORT         LA      71105
HOPKINS, WALTER L         3455 HUNTERS TRCE                                                                           LITHONIA           GA      30038‐1633
HOPKINS, WALTER R         APT 227                         400 GRIMES ROAD                                             SICKLERVILLE       NJ      08081‐1958
HOPKINS, WANDA            PO BOX 624                                                                                  NAPOLEON           OH      43545‐0624
HOPKINS, WILLA D          1402 APPLETREE DR                                                                           TROTWOOD           OH      45426‐5003
HOPKINS, WILLIAM          23057 NORFOLK ST                                                                            DETROIT            MI      48219‐1185
HOPKINS, WILLIAM B        211 HEMPFIELD AVE                                                                           GREENVILLE         PA      16125‐1221
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Name                             Address1                                Address2                      Address3   Address4               City              State Zip
HOPKINS, WILLIAM F               851 KENILWORTH AVE                                                                                      COSHOCTON          OH 43812‐2367
HOPKINS, WILLIAM F               GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510‐2212
                                                                         STREET, SUITE 600
HOPKINS, WILLIAM H               2801 JACKSON BLUFF RD                                                                                   MARIANNA          FL   32446
HOPKINS, WILLIAM S               1506 WAVERLY DR                                                                                         TROY              MI   48098‐2675
HOPKINS, WILLIAM W               6028 LAKE DR                                                                                            MECOSTA           MI   49332‐9653
HOPKINS, WILLIE                  6148 FLOWERDAY DR                                                                                       MOUNT MORRIS      MI   48458‐2812
HOPKINS, WILLIS                  3003 GARDENIA ST                                                                                        FORT WORTH        TX   76119‐4711
HOPKINS‐KING TANNYA              6613 12TH AVE W                                                                                         BRADENTON         FL   34209‐4574
HOPKINS‐SPARROW, SIMONA L        1131 DODSON DR                                                                                          LEWISBURG         TN   37091‐2181
HOPKINS‐SPARROW, SIMONA L        820 HULL AVE                                                                                            LEWISBURG         TN   37091‐4020
HOPKINSON HOWARD II              HOPKINSON, HOWARD                       810 S CASINO CENTER BLVD                                        LAS VEGAS         NV   89101‐6719
HOPKINSON II, HARRY L            7364 BURGUNDY ST                                                                                        CANTON            MI   48187‐1414
HOPKINSON, HOWARD                KROHN & MOSS ‐ NV                       810 S CASINO CENTER BLVD                                        LAS VEGAS         NV   89101‐6719
HOPKINSON, TRACEY M              1311 W COOK RD                                                                                          GRAND BLANC       MI   48439‐9364
HOPKINSON, TRACEY MARIE          1311 W COOK RD                                                                                          GRAND BLANC       MI   48439‐9364
HOPKINSVILLE COMMUNITY COLLEGE   PO BOX 2100                                                                                             HOPKINSVILLE      KY   42241‐2100
HOPKO, JEROME P                  720 NORTHVIEW DR                                                                                        KODAK             TN   37764‐1965
HOPKO, REGINA H                  1454 MAZDA AVE NE                                                                                       WARREN            OH   44483‐3966
HOPKO, ROBERT M                  590 WOODROW CT                                                                                          WERNERSVILLE      PA   19565‐9224
HOPKO, SHARON L                  1392 W WIELAND RD                                                                                       LANSING           MI   48906‐6800
HOPMAN ROBERT                    16375 SE SAGER RD                                                                                       HAPPY VALLEY      OR   97086‐5509
HOPMAN, MARVIN R                 6292 WALKER DR                                                                                          TROY              MI   48085‐1349
HOPP JENNY                       HOPP, JENNY                             3000 TOWN CENTER SUITE 2510                                     SOUTHFIELD        MI   48075
HOPP MARK                        HOPP, MARK                              120 W MADISON ST 10TH FLOOR                                     CHICAGO           IL   60602
HOPP, BERT A                     11411 SANDY BOTTOM RD NE R                                                                              ROCKFORD          MI   49341
HOPP, BEVERLY K                  11411 SANDY BOTTOM RD NE                                                                                ROCKFORD          MI   49341‐9529
HOPP, DANIEL J                   1254 SOUTH PACKARD AVENUE                                                                               BURTON            MI   48509‐2342
HOPP, DAVID C                    3421 BOWERS RD                                                                                          ATTICA            MI   48412‐9392
HOPP, DAVID J                    11280 DENNISON RD                                                                                       MILAN             MI   48160‐9252
HOPP, DAVID L                    1583 JOHN PAUL CT                                                                                       OXFORD            MI   48371‐4469
HOPP, DONALD W                   250 E RIDGE RD                                                                                          BAY CITY          MI   48708‐9163
HOPP, ERNEST G                   3625 PALMER DR                                                                                          ROCKY RIVER       OH   44116‐3764
HOPP, GEORGE P                   2720 W JONQUIL AVE                                                                                      MCALLEN           TX   78501‐6247
HOPP, GLENN D                    2650 THIRTY ONE MILE                                                                                    WASHINGTON        MI   48095
HOPP, HENRY J                    5100 RANDOL MILL RD APT 1315                                                                            FORT WORTH        TX   76112‐1524
HOPP, JENNY                      LAW OFFICES OF LEE B. STEINBERG, P.C.   3000 TOWN CTR STE 2510                                          SOUTHFIELD        MI   48075

HOPP, JENNY L                    3421 BOWERS RD                                                                                          ATTICA            MI   48412‐9392
HOPP, JOYCE C                    11280 DENNISON RD                                                                                       MILAN             MI   48160‐9252
HOPP, KENNETH C                  5595 HOLLOW CORNERS RD                                                                                  DRYDEN            MI   48428‐9759
HOPP, LARRY A                    2314 GLEN VALLEY DR NW                                                                                  GRAND RAPIDS      MI   49544‐1730
HOPP, LARRY A.                   2314 GLEN VALLEY DR NW                                                                                  GRAND RAPIDS      MI   49544‐1730
HOPP, LARRY H                    2520 31 MILE RD                                                                                         WASHINGTON        MI   48095‐1001
HOPP, LESTER R                   1114 BLOOMER RD                                                                                         ROCHESTER HILLS   MI   48307‐2313
HOPP, MARK                       KROHN & MOSS ‐ KS                       120 W MADISON ST 10TH FLOOR                                     CHICAGO           IL   60602
HOPP, MICHAEL L                  APT 109                                 30 WEST OAKLEY DRIVE NORTH                                      WESTMONT          IL   60559‐6114
HOPP, RICHARD G                  9160 S LOWELL RD                                                                                        DEWITT            MI   48820‐8016
HOPP, ROBERT A                   5090 CREEK DR                                                                                           STERLING HTS      MI   48314‐3000
HOPP, ROBERT C                   4182 S MILL RD                                                                                          DRYDEN            MI   48428‐9342
HOPP, RUBY R                     4224 LIRON AVE APT 103                                                                                  FORT MYERS        FL   33916‐7822
HOPP, THOMAS W                   4085 VILLAGER DR                                                                                        ORION             MI   48359‐1885
HOPP, WILLIAM H                  6600 PORTAGE LAKE RD LOT 176                                                                            MUNITH            MI   49259‐9622
HOPPE FRED                       7401 NW 105TH ST                                                                                        MALCOLM           NE   68402‐9700
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Name                       Address1                           Address2                Address3     Address4               City               State   Zip
HOPPE HENRY T              1727 VICTORIA CIR                                                                              VERO BEACH          FL     32967‐7294
HOPPE HOLLY                417 S VAN BUREN ST                                                                             GREEN BAY           WI     54301‐3928
HOPPE JR, WILLIAM J        12159 SHARP RD                                                                                 LINDEN              MI     48451‐9405
HOPPE JR, WILLIAM JOSEPH   12159 SHARP RD                                                                                 LINDEN              MI     48451‐9405
HOPPE, ADELE               640 PLOMOSA CT                                                                                 FREMONT             CA     94539‐7773
HOPPE, ANNA F              3856 CEDAR LOOP                                                                                CLARKSTON           MI     48348‐1412
HOPPE, BETTY L             5684 PINE TREE LOT 111                                                                         MILLINGTON          MI     48746
HOPPE, BRUCE W             219 CHESWICK CT                                                                                NASHVILLE           TN     37215‐3217
HOPPE, CARL                7437 DOVER DR                                                                                  YPSILANTI           MI     48197‐2927
HOPPE, CARL                8897 TANGLEWOOD RD                                                                             TEMPERANCE          MI     48182‐9248
HOPPE, CARL A              441 HENNING ST                                                                                 SEBEWAING           MI     48759‐1067
HOPPE, CARL M              8428 REESE RD                                                                                  BIRCH RUN           MI     48415‐9725
HOPPE, CURTIS J            2839 CEDAR LN                                                                                  BAY CITY            MI     48706‐2612
HOPPE, DAVID J             34 BENDER DR                                                                                   ORCHARD PARK        NY     14127‐2366
HOPPE, DEBORAH             1773 TRILLIUM CT                                                                               AVON                IN     46123‐8651
HOPPE, DENNIS R            5695 COLLING RD                                                                                UNIONVILLE          MI     48767
HOPPE, DEWEY L             832 W. HISTORICAL 8TH ST.                                                                      ANDERSON            IN     46016
HOPPE, DOUGLAS F           2595 W ERIE RD                                                                                 TEMPERANCE          MI     48182‐9433
HOPPE, GEORGE              5703 BELLEVIEW ST                                                                              EAST CHINA          MI     48054‐4112
HOPPE, GEORGINA O          11460 COLONIAL WOODS DR                                                                        CLIO                MI     48420‐1594
HOPPE, HARRY R             3590 WASHBURN RD                                                                               VASSAR              MI     48768‐9558
HOPPE, HARRY R             3590 WASHBURN                                                                                  VASSAR              MI     48768‐0271
HOPPE, HENRY M             34580 CREW ROAD                                                                                POMEROY             OH     45769‐9715
HOPPE, HENRY T             1727 VICTORIA CIR                                                                              VERO BEACH          FL     32967‐7294
HOPPE, JEFFREY J           2201 BONE RD                                                                                   HOLLY               MI     48442‐9106
HOPPE, JOHN                640 PLOMOSA CT                                                                                 FREMONT             CA     94539‐7773
HOPPE, JOYCE A             3590 WASHBURN RD                                                                               VASSAR              MI     48768‐9558
HOPPE, KENNETH C           PO BOX 560                                                                                     TOPINABEE           MI     49791
HOPPE, MARTHA E            1304 MERRILL AVE                                                                               LINCOLN PARK        MI     48146‐3357
HOPPE, MICHAEL A           425 WALDEN DR                                                                                  OTSEGO              MI     49078‐9652
HOPPE, NANCY               160 TUOLUMNE DR                                                                                FREMONT             CA     94539‐7753
HOPPE, PATRICK W           1773 TRILLIUM CT                                                                               AVON                IN     46123‐8651
HOPPE, PAUL H              514 ELM ST                                                                                     MOUNT MORRIS        MI     48458‐1916
HOPPE, PAUL HENRY          514 ELM STREET                                                                                 MOUNT MORRIS        MI     48458‐1916
HOPPE, RALPH H             611 ELM ST                                                                                     MOUNT MORRIS        MI     48458‐1917
HOPPE, ROBERT A            4670 BAKER RD                                                                                  BRIDGEPORT          MI     48722‐9596
HOPPE, ROBERT G            6031 TIERRA ENTRADA                                                                            NORTH FORT MYERS    FL     33903‐1334

HOPPE, ROGER L             8420 DEADSTREAM RD                                                                             HONOR              MI      49640‐9773
HOPPE, RUSSELL D           1414 ESTERS RD APT 1037                                                                        IRVING             TX      75061‐0518
HOPPE, RUSSELL D           APT 1037                           1414 ESTERS ROAD                                            IRVING             TX      75061‐0518
HOPPE, RUTH A              5628 GLASGOW DR                                                                                TROY               MI      48085‐3155
HOPPE, SUSAN M             25 PATRICIA AVE                                                                                FERGUSON           MO      63135‐2955
HOPPE, TAMMY L             3245 RIO DR APT 504                                                                            FALLS CHURCH       VA      22041‐2123
HOPPE, TRAVIS A            2103 WINDING WAY LN                                                                            ALLEN              TX      75002‐2652
HOPPE, VERA E              C/O CAROL HASKELL                  22482 HILLCREST DRIVE                                       WOODHAVEN          MI      48183‐1419
HOPPE, VERA E              22482 HILLCREST DR                 C/O CAROL HASKELL                                           WOODHAVEN          MI      48183‐1419
HOPPE, WAYNE A             3543 W 80 N                                                                                    KOKOMO             IN      46901‐3853
HOPPE, WILLIAM J           1148 GRANT ST                                                                                  NOBLESVILLE        IN      46060‐1943
HOPPE, WILLIAM JOHN        1148 GRANT ST                                                                                  NOBLESVILLE        IN      46060‐1943
HOPPENJAN, MARGARET        1839 ALTA VISTA AVE                                                                            WAUWATOSA          WI      53213‐2321
HOPPENJAN, RITA J          3436 BOND PLACE                                                                                JANESVILLE         WI      53548‐5816
HOPPENJAN, RITA J          3436 BOND PL                                                                                   JANESVILLE         WI      53548‐5816
HOPPENJANS, JAMES E        9853 CHERBOURG DR                                                                              UNION              KY      41091‐7686
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Name                            Address1                           Address2                         Address3   Address4               City                 State   Zip
HOPPENRATH, FRANK O             1427 WILLOW WALK PKWY                                                                                 ELWOOD                IN     46036‐1396
HOPPENRATH, KENNETH C           3143 ELM AVE                                                                                          BROOKFIELD             IL    60513‐1305
HOPPER BRADLEY DAVID (492035)   BARON & BUDD                       3102 OAK LANE AVE , SUITE 1100                                     DALLAS                TX     75219
HOPPER ENGINEERING ASSOCIATES   300 VISTA DEL MAR                                                                                     REDONDO BEACH         CA     90277‐5845
HOPPER EUGENE (636167)          BRAYTON PURCELL                    PO BOX 6169                                                        NOVATO                CA     94948‐6169
HOPPER FLORMAN M (401953)       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK               VA     23510
                                                                   STREET, SUITE 600
HOPPER II, TIMOTHY H            6655 JACKSON RD UNIT 175                                                                              ANN ARBOR            MI      48103‐9582
HOPPER II, TIMOTHY HARMON       6655 JACKSON RD UNIT 175                                                                              ANN ARBOR            MI      48103‐9582
HOPPER JR, ARTHUR C             3497 ADKINS RD                                                                                        CLIMAX SPRINGS       MO      65324‐2333
HOPPER JR, GILBERT              8929 DALLASBURG RD                                                                                    MORROW               OH      45152‐9525
HOPPER JR, RUSSELL E            1650 SOUTH CANFIELD ROAD                                                                              EATON RAPIDS         MI      48827‐9301
HOPPER JR, WILLIAM G            3256 S GRAHAM RD                                                                                      SAGINAW              MI      48609‐9733
HOPPER PEGGI                    5005 22ND AVE NE                                                                                      TACOMA               WA      98422‐2066
HOPPER ROBERT B (401523)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK              VA      23510
                                                                   STREET, SUITE 600
HOPPER VERNON (481800)          GEORGE & SIPES                     151 N DELAWARE ST STE 1700                                         INDIANAPOLIS         IN      46204‐2503
HOPPER, A S                     8050 HOSBROOK RD STE 111                                                                              CINCINNATI           OH      45236‐2907
HOPPER, AMBER E                 4111 CHANCELLOR DR                                                                                    THOMPSONS            TN      37179‐5311
                                                                                                                                      STATION
HOPPER, AMBROSE G               1474 EATON DR                                                                                         MONROE                MI     48162‐3321
HOPPER, ANNABELLE               23248 PORT ST                                                                                         SAINT CLAIR SHORES    MI     48082‐2095

HOPPER, AUBREY J                13387 HENDERSON RD                                                                                    OTISVILLE            MI      48463‐9719
HOPPER, BETTY L                 2131 N OHIO ST                                                                                        KOKOMO               IN      46901‐1661
HOPPER, BOBBY J                 9252 SAVANNA DR                                                                                       SHREVEPORT           LA      71118‐3215
HOPPER, BRADLEY DAVID           BARON & BUDD                       3102 OAK LANE AVE, SUITE 1100                                      DALLAS               TX      75219
HOPPER, BRUCE J                 600 S LINN ST                                                                                         BAY CITY             MI      48706‐4949
HOPPER, CLABOURN                PO BOX 437                                                                                            PAW PAW              MI      49079‐0437
HOPPER, DAVID E                 19113 BENT OAK DR                                                                                     WARRENTON            MO      63383‐7291
HOPPER, DAVID W                 2428 N PONTIAC DR                                                                                     JANESVILLE           WI      53545‐0338
HOPPER, DAVID W                 502 N 30TH ST                                                                                         GADSDEN              AL      35904‐1553
HOPPER, DENZEL H                8169 WHITECLIFT LN                                                                                    GRAND BLANC          MI      48439‐9561
HOPPER, DENZIL B                1822 SOUTHWOODS RD                                                                                    ANDERSON             IN      46012‐2748
HOPPER, DONALD G                208 BELMONT DR                                                                                        ROMEOVILLE           IL      60446‐1402
HOPPER, DORIS I                 5128 W SCOTT DR                                                                                       GREENWOOD            IN      46142‐9751
HOPPER, EDNA F                  4521 N.W. 68 CT LOT K‐10                                                                              COCONUT CREEK        FL      33073
HOPPER, EDWARD O                8535 OAKES RD                                                                                         ARCANUM              OH      45304‐8904
HOPPER, ELSON G                 718 EL RIO                                                                                            NORTH PORT           FL      34287‐2557
HOPPER, ELSON G                 215 LANE 101A HAMILTON LK LOT 19                                                                      HAMILTON             IN      46742‐9447
HOPPER, EMOGENE M               4027 OLD HWY 63 BOX 1                                                                                 SPEEDWELL            TN      37870
HOPPER, EUGENE                  BRAYTON PURCELL                    PO BOX 6169                                                        NOVATO               CA      94948‐6169
HOPPER, EVELYN L                100 OLIVE AVE                                                                                         ARBYRD               MO      63821
HOPPER, FLORMAN M               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK              VA      23510‐2212
                                                                   STREET, SUITE 600
HOPPER, GALEN D                 5086 W JASON RD                                                                                       SAINT JOHNS          MI      48879‐9253
HOPPER, GENE E                  1740 WILLOW CREEK DR                                                                                  LANSING              MI      48917‐8848
HOPPER, GEORGE C                9105 HICKORYWOOD ST                                                                                   WHITE LAKE           MI      48386‐4047
HOPPER, GERALD R                8123 NORTHBURY DR                                                                                     FORT WAYNE           IN      46818‐1842
HOPPER, GORDON L                915 BROOKSIDE DR                                                                                      GRAND LEDGE          MI      48837‐1357
HOPPER, GORDON L                1840 REDBUD LANE                                                                                      LANSING              MI      48917‐7634
HOPPER, GURNIE R                223 LANCELOT WAY                                                                                      LAWRENCEVILLE        GA      30045‐4758
HOPPER, HAROLD H                8600 CIRCLE DR                                                                                        LONDON               OH      43140‐9668
HOPPER, HAROLD R                305 DONALD TER                                                                                        MYRTLE CREEK         OR      97457‐7448
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Name                   Address1                         Address2                      Address3   Address4               City              State   Zip
HOPPER, HELEN          2489 SPRUCE ST                                                                                   GIRARD             OH     44420‐3152
HOPPER, HELEN E        2489 SPRUCE STREET                                                                               GIRARD             OH     44420
HOPPER, JAMES C        4650 MUSKET WAY                                                                                  COLUMBUS           OH     43228‐1327
HOPPER, JAMES C        1723 EVA RD                                                                                      EVA                AL     35621‐7107
HOPPER, JAMES S        1324 SILVERTREE DR                                                                               GALLOWAY           OH     43119‐9050
HOPPER, JASON E        11039 REYNOLDS RD                                                                                LEWISBURG          OH     45338‐9724
HOPPER, JEFFREY N      45562 MONTMORENCY DR                                                                             MACOMB             MI     48044‐6014
HOPPER, JEREMY SCOTT   1514 WADSWORTH ST SOUTHEAST                                                                      DECATUR            AL     35601‐3336
HOPPER, JOHN L         6371 PLEASANT RIVER DR                                                                           DIMONDALE          MI     48821‐9739
HOPPER, JOHN M         1005 17TH ST NW                                                                                  PUYALLUP           WA     98371‐3967
HOPPER, JUDY A         9437 E COUNTY ROAD 900 S                                                                         GALVESTON          IN     46932‐9114
HOPPER, JULIA M        13901 OLIVE VIEW LN UNIT 51                                                                      SYLMAR             CA     91342‐7500
HOPPER, KAREN J        188 SINGAPORE ISLAND RD                                                                          LEESBURG           FL     34788‐2968
HOPPER, KENNETH W      1400 N MOORE AVE                                                                                 TYLER              TX     75702‐4125
HOPPER, LARRY D        5014‐413 WALNUT STREET                                                                           GREEN COVE         FL     32043
                                                                                                                        SPRINGS
HOPPER, LARRY L        11141 GREENMONT COURT                                                                            SOUTH LYON        MI      48178‐6609
HOPPER, LEON A         747 VERMILYA AVE                                                                                 FLINT             MI      48507‐1724
HOPPER, LINDA JANET    82 BELLWOOD DR                                                                                   SWARTZ CREEK      MI      48473‐8284
HOPPER, LISA M         4375 RUPPRECHT RD                                                                                VASSAR            MI      48768‐9501
HOPPER, LISA M         1164 NORTON ST                                                                                   BURTON            MI      48529‐1157
HOPPER, LOWELL R       322 WILSON TOWN RD                                                                               RUSSELL SPRINGS   KY      42642‐8812
HOPPER, LOY F          1165 HERRINGTON DR                                                                               MONROE            MI      48161‐5509
HOPPER, LOY J          1404 KARNES AVE                                                                                  DEFIANCE          OH      43512‐3027
HOPPER, MARGARET M     23730 FILMORE ST                                                                                 TAYLOR            MI      48180‐2361
HOPPER, MARK L         7273 TARRAGON COURT                                                                              WEST CHESTER      OH      45069‐5542
HOPPER, MARLENE L      1060 SW 46TH AVE APT 206                                                                         POMPANO BEACH     FL      33069‐0996
HOPPER, MARLENE L      APT 206                          1060 SOUTHWEST 46TH AVENUE                                      POMPANO BEACH     FL      33069‐0996
HOPPER, MARY           5174 WEMBLY CT                                                                                   STERLING HTS      MI      48310‐2069
HOPPER, MARY A         9612 LOG CABIN TRAIL                                                                             WHITE LAKE        MI      48386‐3024
HOPPER, MARY C         915 COUNTY RD 1030                                                                               CULLMAN           AL      35057‐6215
HOPPER, MARY C         915 COUNTY ROAD 1030                                                                             CULLMAN           AL      35057‐6215
HOPPER, MARY K         12317 HENDERSON RD                                                                               OTISVILLE         MI      48463‐9728
HOPPER, MARY M         4313 WILLOW BEND RD SE                                                                           DECATUR           AL      35603‐5312
HOPPER, MICHELLE A     414 AVENUE O SW                                                                                  MOORE HAVEN       FL      33471
HOPPER, MILDRED        912 N LANE                                                                                       DEFIANCE          OH      43512‐1419
HOPPER, MILDRED        912 NORTHLANE ST                                                                                 DEFIANCE          OH      43512‐1419
HOPPER, NORMA R        1074 W WEBB RD                                                                                   DE WITT           MI      48820‐8396
HOPPER, PATRICIA M     5128 WORCHESTER DR                                                                               SWARTZ CREEK      MI      48473‐1229
HOPPER, PELHAM A       8666 CEDAR CT                                                                                    YPSILANTI         MI      48198‐3206
HOPPER, PENNY          4177 LORRAINE AVENUE                                                                             SAGINAW           MI      48604‐1636
HOPPER, RANDY S        27844 MORAN ST                                                                                   HARRISON TWP      MI      48045‐2931
HOPPER, RICHARD L      188 SINGAPORE ISLAND RD                                                                          LEESBURG          FL      34788‐2968
HOPPER, ROBERT B       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA      23510‐2212
                                                        STREET, SUITE 600
HOPPER, RODNEY G       533 FORREST PARK CIR                                                                             FRANKLIN          TN      37064‐5326
HOPPER, RONALD L       1025 WICKFORD DR                                                                                 KALAMAZOO         MI      49009‐7973
HOPPER, RUSSELL E      10620 S US HIGHWAY 27                                                                            DEWITT            MI      48820‐8429
HOPPER, SALLY          1825 LAMBERT ST                                                                                  INDIANAPOLIS      IN      46221‐1515
HOPPER, SHARON G       10806 N MORRISON RD                                                                              SPOKANE           WA      99217‐9635
HOPPER, STANLEY L      292 N 600 W                                                                                      ANDERSON          IN      46011‐8744
HOPPER, STEPHEN D      PO BOX 330583                                                                                    PACOIMA           CA      91333
HOPPER, STEVEN D       747 VERMILYA AVE                                                                                 FLINT             MI      48507
HOPPER, TERESA A       PO BOX 497                                                                                       SHARPSVILLE       IN      46068
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Name                   Address1                          Address2                     Address3   Address4               City              State   Zip
HOPPER, THOMAS         23562 MOUNTAIN MEADOWS CT                                                                        LAWRENCEBURG       IN     47025‐8127
HOPPER, THOMAS B       1477 S OAK RD                                                                                    DAVISON            MI     48423‐9140
HOPPER, THOMAS L       11094 UPTON ST                                                                                   SPRING HILL        FL     34608‐2860
HOPPER, TIMOTHY J      9612 LOG CABIN TRL                                                                               WHITE LAKE         MI     48386‐3024
HOPPER, VERNON         GEORGE & SIPES                    151 N DELAWARE ST STE 1700                                     INDIANAPOLIS       IN     46204‐2503
HOPPER, VERNON D       2504 ARROWHEAD RD                                                                                SOLOMON            KS     67480‐8601
HOPPER, VERONIKA       1834 STATE ROUTE 129                                                                             SOUTH BRISTOL      ME     04568‐4206
HOPPER, WANDA V        221 OLD CARRIAGE DR                                                                              ENGLEWOOD          OH     45322‐1186
HOPPER, WESLEY G       1907 MORNINGSIDE DR                                                                              JANESVILLE         WI     53546‐1212
HOPPER, WILBERT J      509 W MIDLAND ST                                                                                 BAY CITY           MI     48706‐4366
HOPPER, WILLIAM G      3585 W BURT RD                                                                                   BURT               MI     48417
HOPPER, WILLIAM G      10260 COACHMAN CT                                                                                DAVISON            MI     48423‐1481
HOPPER, WILLIAM T      RR 6 BOX 6677                                                                                    AVA                MO     65608
HOPPER,DEREK JORDON    2101 CUMBERLAND AVE                                                                              WEST LAFAYETTE     IN     47906
HOPPER,EDWARD O        8535 OAKES RD                                                                                    ARCANUM            OH     45304‐8904
HOPPER,JASON E         11039 REYNOLDS RD                                                                                LEWISBURG          OH     45338‐9724
HOPPERS, ROGER D       46672 HULING ST                                                                                  SHELBY TOWNSHIP    MI     48317‐3920
HOPPERT, BRIAN P       1713 YARGERVILLE RD                                                                              LA SALLE           MI     48145‐9507
HOPPERT, BRIAN PAUL    1713 YARGERVILLE RD                                                                              LA SALLE           MI     48145‐9507
HOPPERT, DEBRA B       1713 YARGERVILLE RD                                                                              LA SALLE           MI     48145‐9507
HOPPERT, MELISSA RAE   1713 YARGERVILLE RD                                                                              LA SALLE           MI     48145‐9507
HOPPES EARL            25 MEADVILLE DR                                                                                  ONANCOCK           VA     23417‐1820
HOPPES, ANTHONY E      500 E GRAND LEDGE HWY                                                                            GRAND LEDGE        MI     48837‐9735
HOPPES, BOBBY R        920 W 300 N                                                                                      ANDERSON           IN     46011‐2022
HOPPES, BRIAN E        8086 DIANE DR                                                                                    PORTLAND           MI     48875‐9720
HOPPES, BRIAN EUGENE   8086 DIANE DR                                                                                    PORTLAND           MI     48875‐9720
HOPPES, CAROLYN J      412 E WALNUT ST.                  P O BOX 344                                                    SUMMITVILLE        IN     46070‐9305
HOPPES, CAROLYN J      412 E WALNUT ST                   P O BOX 344                                                    SUMMITVILLE        IN     46070‐9305
HOPPES, DONNA C        2713 W HUNTSVILLE RD                                                                             PENDLETON          IN     46064‐8558
HOPPES, F JANE         1420 LAWRENCE WAY                                                                                ANDERSON           IN     46013‐5604
HOPPES, F JANE         1810 E JUNIPER AVE                                                                               PHOENIX            AZ     85022‐5218
HOPPES, FANNIE A       1428 E 60TH ST #115                                                                              ANDERSON           IN     46013‐3059
HOPPES, GERALDINE M    7765 KNOX RD                                                                                     PORTLAND           MI     48875‐9779
HOPPES, GLEN E         12 COBBLESTONE BLVD                                                                              GAS CITY           IN     46933
HOPPES, GLORIA F.      908 ALHAMBRA DRIVE                                                                               ANDERSON           IN     46012‐4221
HOPPES, HELEN L        822 WOODLAWN AVE APT C                                                                           MONTICELLO         IN     47960‐1784
HOPPES, JACK P         1554 FRONTIER DR                                                                                 MELBOURNE          FL     32940‐6749
HOPPES, JEFFREY K      498 ODD FELLOWS HALL RD                                                                          PULASKI            TN     38478‐8205
HOPPES, JUANITA C      C/O DOUG BENNETT 117 WEST MAINE                                                                  CHESTERFIELD       IN     46017
HOPPES, LARRY J        37 COLONY RD                                                                                     ANDERSON           IN     46011‐2252
HOPPES, LARRY JOE      37 COLONY RD                                                                                     ANDERSON           IN     46011‐2252
HOPPES, LARRY R        1304 N 400 E                                                                                     ANDERSON           IN     46012‐9106
HOPPES, LUCY J         5384 TORREY RD.                                                                                  FLINT              MI     48507‐3808
HOPPES, LUCY J         5384 TORREY RD                                                                                   FLINT              MI     48507‐3808
HOPPES, LUKE A         3495 KEEFER HWY                                                                                  LYONS              MI     48851‐9722
HOPPES, MARJORIE       3774 EATON RD                                                                                    HAMILTON           OH     45013‐9685
HOPPES, MARY L         828 GREEN ST                                                                                     PORTLAND           MI     48875‐1309
HOPPES, MARY L         828 GREEN STREET                                                                                 PORTLAND           MI     48875
HOPPES, MAX A          2713 W HUNTSVILLE RD                                                                             PENDLETON          IN     46064‐8558
HOPPES, NICHOLAS R     6376 BLUE WATER HWY                                                                              MUIR               MI     48860‐9704
HOPPES, PATRICK R      6269 PECK LAKE RD                                                                                PORTLAND           MI     48875‐9628
HOPPES, RANDY C        6376 BLUE WATER HWY                                                                              MUIR               MI     48860‐9704
HOPPES, RICHARD H      9085 KEEFER HWY                                                                                  PORTLAND           MI     48875‐9712
HOPPES, SCOTT H        9821 CUTLER RD                                                                                   PORTLAND           MI     48875‐9431
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Name                                    Address1                             Address2                          Address3   Address4               City            State   Zip
HOPPES, TED C                           108 TANGLEWOOD DR                                                                                        ANDERSON         IN     46012‐1023
HOPPES, TERRI L                         500 E GRAND LEDGE HWY                                                                                    GRAND LEDGE      MI     48837‐9735
HOPPES, THOMAS A                        8150 DAVID HWY                                                                                           LYONS            MI     48851‐9796
HOPPES, THOMAS A.                       8150 DAVID HWY                                                                                           LYONS            MI     48851‐9796
HOPPES, TRACY L                         175 BIRCH LN                                                                                             PULASKI          TN     38478‐7458
HOPPES, WESLEY C                        6376 BLUE WATER HWY                                                                                      MUIR             MI     48860‐9704
HOPPING GREEN & SAMS                    119 S MONROE ST # 300                                                                                    TALLAHASSEE      FL     32301‐1529
HOPPING GREEN & SAMS                    ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 6526                                                         TALLAHASSEE      FL     32314‐6526
                                        AGENT
HOPPLE, LORRAINE R                      3162 WATSON RD                                                                                           ST LOUIS        MO      63139‐2451
HOPPONEN KENNETH T (429128)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA      23510
                                                                             STREET, SUITE 600
HOPPONEN, KENNETH T                     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA     23510‐2212
                                                                             STREET, SUITE 600
HOPPOUGH, JERROLD F                     16199 140TH AVE                                                                                          LEROY           MI      49655‐8283
HOPPS, FLORENCE R                       211 EASTER ST                                                                                            BAKERSFIELD     CA      93307‐2825
HOPPS, MARY J                           4730 MORNINGSIDE DR                                                                                      BAY CITY        MI      48706‐2722
HOPPS, VIRGINIA                         3319 REGENCY DR                                                                                          ORION           MI      48359‐1159
HOPPY, PAUL H                           1 WALNUT CREEK TRL                                                                                       LANCASTER       NY      14086
HOPSHIRE FRANK JR (492036)              BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH      44067
                                                                             PROFESSIONAL BLDG
HOPSHIRE FRANK SR (492037)              BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH      44067
                                                                             PROFESSIONAL BLDG
HOPSON JR, JAMES L                      PO BOX 5834                                                                                              YOUNGSTOWN      OH      44504‐4504
HOPSON RANDAL                           1804 DUNHILL CIR                                                                                         GLENVIEW        IL      60025‐7618
HOPSON WILLIE JR (ESTATE OF) (667781)   COONEY & CONWAY                      120 NORTH LASALLE STREET , 30TH                                     CHICAGO         IL      60602
                                                                             FLOOR
HOPSON, ADRIANE L                       5716 W BETTY LN                                                                                          MILWAUKEE       WI      53223‐2920
HOPSON, ALFONZA                         3070 E STANLEY RD                                                                                        MOUNT MORRIS    MI      48458‐8805
HOPSON, ANN E                           424 E MOORE TOWER RD                                                                                     FOREST          MS      39074
HOPSON, ARTHUR L                        167 BROOKLINE AVE                                                                                        YOUNGSTOWN      OH      44505‐2532
HOPSON, BRENDA S                        5335 S GLEN OAK DR                                                                                       SAGINAW         MI      48603
HOPSON, BRENDA S                        577 BLANKS RD                                                                                            PORTERVILLE     MS      39352‐6597
HOPSON, BRIAN E                         29612 SOMERSET DR                                                                                        SOUTHFIELD      MI      48076‐5065
HOPSON, BUCKNER B                       1500 LAKEWOOD DR E                                                                                       MUSCLE SHOALS   AL      35661‐4613
HOPSON, CALLIE A                        8825 ALLMAN RD                                                                                           LENEXA          KS      66219‐2726
HOPSON, CANDIS M                        489 OAK LAWN DR                                                                                          FAIRBORN        OH      45324‐2785
HOPSON, DAVID                           577 BLANKS RD                                                                                            PORTERVILLE     MS      39352‐6597
HOPSON, DWIGHT L                        1427 PRAIRIE DEPOT                                                                                       INDIANAPOLIS    IN      46241‐2970
HOPSON, ELISA                           3722 PERCY KING RD                                                                                       WATERFORD       MI      48329‐1361
HOPSON, FRANK                           1014 DELAWARE AVE                                                                                        BUFFALO         NY      14209‐1606
HOPSON, GARY D                          16235 ROANOKE ST APT 201                                                                                 SOUTHFIELD      MI      48075‐5938
HOPSON, GRAYLING L                      806 SOUTHARD ST                      APT 1B                                                              TRENTON         NJ      08638
HOPSON, GREGORY E                       PO BOX 17361                                                                                             DAYTON          OH      45417‐0361
HOPSON, HARPOLE                         3501 SUNCREST DR                                                                                         FLINT           MI      48504
HOPSON, HELEN R                         2943 CONCORD ST                                                                                          FLINT           MI      48504‐3039
HOPSON, JAMES L                         23 JOHNS WOODS DR                                                                                        ROCKFORD        IL      61103‐1608
HOPSON, JEFFREY L                       7621 SHENANDOAH AVE                                                                                      ALLEN PARK      MI      48101‐2480
HOPSON, JERRY L                         3473 SULLIVAN LN                                                                                         MILLBROOK       AL      36054‐3729
HOPSON, JIMMIE R                        2929 ORE VALLEY DR                                                                                       HARTLAND        MI      48353‐2813
HOPSON, JR.,JAMES L                     PO BOX 5834                                                                                              YOUNGSTOWN      OH      44504‐0834
HOPSON, KENNETH                         262 SIDNEY ST                                                                                            DUNDEE          MI      48131
HOPSON, KENNETH S                       PO BOX 359                                                                                               ARK             VA      23003
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Name                                  Address1                          Address2                          Address3   Address4               City              State Zip
HOPSON, LEVERN                        6520 BUTLER RD SW                                                                                     SOUTH BOARDMAN     MI 49680‐9617

HOPSON, LUCY A                        4051 ANNELLEN RD                                                                                      BALTIMORE         MD    21215‐7216
HOPSON, MATTHEW L                     9392 JAMES DR                                                                                         COLLINSVILLE      MS    39325‐9687
HOPSON, MAVIS C                       15 W FERRY ST                                                                                         MIAMISBURG        OH    45342‐2396
HOPSON, MERRELL R                     200 OAK HAVEN DR                                                                                      KELLER            TX    76248‐4624
HOPSON, PATRICIA R                    388 SPRING CREEK RD                                                                                   FLORA             MS    39071‐9779
HOPSON, PATRICIA R                    534 PURVIS RD                                                                                         FLORA             MS    39071‐9071
HOPSON, R B                           4102 15TH ST S                                                                                        FARGO             ND    58104‐6357
HOPSON, RALPH L                       3347 N EMERSON AVE APT 57                                                                             INDIANAPOLIS      IN    46218‐2471
HOPSON, RICHARD K                     3722 PERCY KING RD                                                                                    WATERFORD         MI    48329‐1361
HOPSON, ROBERT E                      2140 HIGHWAY 19 S                                                                                     MERIDIAN          MS    39301‐8214
HOPSON, RUBY C                        PO BOX 6394                                                                                           YOUNGSTOWN        OH    44501‐6394
HOPSON, SHAFFER L                     8825 ALLMAN RD                                                                                        LENEXA            KS    66219‐2726
HOPSON, SHEILA N                      35 FARNHAM SQ                                                                                         PARLIN            NJ    08859‐2312
HOPSON, TERRY L                       7755 CONSERVANCY RD                                                                                   GERMANTOWN        OH    45327‐8731
HOPSON, THOMAS C                      224 CHURCH ST                                                                                         BELLEVILLE        MI    48111‐2628
HOPSON, VIRGIE I                      8828 DAY ROAD                                                                                         MONROE            MI    48162‐9120
HOPSON, VIRGIE I                      8828 DAY RD                                                                                           MONROE            MI    48162‐9120
HOPSON, WARREN J                      8845 SETH CV                                                                                          MEMPHIS           TN    38133‐3824
HOPSON, WAYNE                         NIX PATTERSON & ROACH             205 LINDA DR                                                        DAINGERFIELD      TX    75638‐2107
HOPSON, WILLIE                        COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                      CHICAGO           IL    60602
                                                                        FLOOR
HOPSON, WILLIE L                      3625 CASSIUS ST                                                                                       FLINT             MI    48505‐4084
HOPTER ALLEN (465608)                 EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                             NEW YORK          NY    10017‐6530
HOPTER, ALLEN                         EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                             NEW YORK          NY    10017‐6530
HOPTON, DOROTHY                       1351 N SEYMOUR RD                                                                                     FLUSHING          MI    48433‐9405
HOPTON, DOROTHY                       1351 NORTH SEYMOUR RD                                                                                 FLUSHING          MI    48433‐9405
HOPTON, RONALD E                      10026 GRAND BLANC RD                                                                                  GAINES            MI    48436‐9761
HOPTRY, LARRY L                       72 TAMARAC DR                                                                                         LEXINGTON         OH    44904‐1129
HOPWOOD, CHARLES E                    5936 DUNN RD SW                                                                                       MABLETON          GA    30126‐4012
HOPWOOD, DENNIS E                     6230 LAKE FOREST DR                                                                                   GRAND BLANC       MI    48439‐9713
HOPWOOD, GLEN E                       251 DOREMUS AVE                                                                                       WATERFORD         MI    48328‐2821
HOPWOOD, JAMES C                      19770 MERRIMAN RD                                                                                     LIVONIA           MI    48152‐1759
HOPWOOD, RAYMOND K                    135 GAINES LOOP WEST                                                                                  BOAZ              AL    35956‐8200
HOR, WEI‐MIN                          30 GERALD AVE                                                                                         CLAWSON           MI    48017‐1932
HORA, GAYLE                           973 COOK RD                                                                                           NEW GALILEE       PA    16141‐3111
HORACE A CARPENTER TRUST U/A/D        C/O HORACE E CARPENTER            2701 REGENCY OAKS BLVD APT N105                                     CLEARWATER        FL    33759‐1529
7/11/1970
HORACE A MITCHELL                     1500 BROADWAY STE 1500                                                                                LUBBOCK            TX   79401
HORACE A MITCHELL SOLE & SEPARATE     1500 BROADWAY STE 1207                                                                                LUBBOCK            TX   97401
HORACE A MITCHELL SOLE AND SEPARATE   1500 BROADWAY STE 1207                                                                                LUBBOCK            TX   79401

HORACE ALLEN JR                       2306 SANTA BARBARA DR                                                                                 FLINT             MI    48504‐2020
HORACE ANDERSON                       1108 ORANGE BLOSSOM DR                                                                                MOUNT MORRIS      MI    48458‐2824
HORACE ANDERSON                       1299 E CORNELL AVE                                                                                    FLINT             MI    48505‐1750
HORACE ASHE                           2017 STANLEY CHRISTIAN RD                                                                             MONROE            GA    30655‐8512
HORACE B WARDEN                       5069 KEY WEST DRIVE                                                                                   HUBER HEIGHTS     OH    45424
HORACE BAKER                          2210 SANTA BARBARA DR                                                                                 FLINT             MI    48504‐2077
HORACE BANKS                          11350 S WALLACE ST                                                                                    CHICAGO           IL    60628‐4730
HORACE BELL                           2232 JUNIPER CT                                                                                       SHELBY TOWNSHIP   MI    48316‐1049
HORACE BENJAMIN                       1319 KENHILL AVE                                                                                      BALTIMORE         MD    21213‐3830
HORACE BLACKWELL                      10208 SHILOH DR                                                                                       FESTUS            MO    63028‐4718
HORACE BLAIR                          3420 DEARBORN AVE                                                                                     FLINT             MI    48507‐1897
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Name                  Address1                        Address2                     Address3   Address4               City               State   Zip
HORACE BOYER          716 DOWNER AVE                                                                                 LANSING             MI     48912‐4302
HORACE BROOKS         1128 MEADOW LN                                                                                 ANDERSON            IN     46011‐2446
HORACE BROWN          1604 CLARION TER                                                                               FT WASHINGTON       MD     20744‐2819
HORACE BRUMMETT       1050 W DITTEMORE RD                                                                            BLOOMINGTON         IN     47404‐9413
HORACE BURGAMY JR     44124 RICHMOND RD                                                                              CANTON              MI     48187‐1920
HORACE BUTLER JR      3102 NEAL CT                                                                                   CUMMING             GA     30041‐6107
HORACE BYFIELD        35 LEGENDS WAY                                                                                 ROCHESTER           NY     14612‐2395
HORACE BYNES          5462 BROOKWOOD LN                                                                              RICHMOND            CA     94803‐3883
HORACE CARLILE        2160 RAINEY RD                                                                                 TEMPLE              GA     30179‐3125
HORACE CARTER         1427 COBB AVE                                                                                  KALAMAZOO           MI     49007‐2453
HORACE CARTER         310 LAUREL WAY                                                                                 COVINGTON           GA     30016‐8717
HORACE CASTLEMAN      215 S WOODLAND HEIGHTS DR                                                                      RECTOR              AR     72461‐1543
HORACE CHAMPION       1668 LAKEVIEW RD                                                                               LAVONIA             GA     30553‐4056
HORACE CHEFFIN        399 ORGAN TRAIL                                                                                MONROE              LA     71202
HORACE COBB           112 HICKORY LN                                                                                 MONROE              LA     71203‐2223
HORACE COHRAN         5241 HOLLYHOCK RD                                                                              DOUGLASVILLE        GA     30135‐5280
HORACE CUGLE I I I    1208 ELSING RD                                                                                 BALTIMORE           MD     21221‐6310
HORACE CUMMINS JR     75 CHROLOTTE HWY                                                                               MULLIKEN            MI     48861
HORACE CURRY JR       1720 DYKHOUSE AVE                                                                              GRAND HAVEN         MI     49417‐2808
HORACE D GORE         60 TROUSDALE FERRY PIKE                                                                        GORDONSVILLE        TN     38563
HORACE DAILEY         3522 SENECA ST                                                                                 FLINT               MI     48504‐3702
HORACE DEVANCE        315 S OUTER DR                                                                                 SAGINAW             MI     48601‐6333
HORACE DOBSON         24071 MARLOW ST                                                                                OAK PARK            MI     48237‐1973
HORACE DONIGAN        5201 WOODHAVEN CT APT 605                                                                      FLINT               MI     48532‐4173
HORACE DUBOSE         C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                      HOUSTON             TX     77007
                      BOUNDAS LLP
HORACE DURST          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH      44236
HORACE E COFFEY       3827 BOW ST NE                                                                                 CLEVELAND          TN      37312
HORACE E CUMMINS JR   75 CHARLOTTE ST                                                                                MULLIKEN           MI      48861‐9701
HORACE ELLISON JR     2251 ROYAL PALM AVE                                                                            DEFIANCE           OH      43512‐3535
HORACE F RITCHIE      6065 GRACE K DR                                                                                WATERFORD          MI      48329‐1326
HORACE FISHER         9972 48TH PL N                                                                                 SAINT PETERSBURG   FL      33708‐3630

HORACE FLEETWOOD      1017 S MCDONOUGH ST                                                                            DECATUR            GA      30030‐4935
HORACE FLOYD          1605 SALES LANDING RD                                                                          CAMDEN             TN      38320‐7615
HORACE FRANKLIN       5314 ALTON RD                                                                                  MIAMI BEACH        FL      33140‐2015
HORACE FRANKLIN       4696 CLACK RD                                                                                  AUBURN             GA      30011‐2232
HORACE FREEMAN        18601 MOORESVILLE RD                                                                           ATHENS             AL      35613‐5413
HORACE G FRANKLIN     5314 ALTON RD                                                                                  MIAMI BEACH        FL      33140
HORACE GAYTON         PO BOX 514                                                                                     DAWSONVILLE        GA      30534‐0010
HORACE GRINLAW        5720 IVANREST AVE SW                                                                           WYOMING            MI      49418‐9710
HORACE HARDING        808 CLINTON ST BOX 4173                                                                        DELAWARE CITY      DE      19706
HORACE HARGROVE       7767 TROTTERS PARK ST                                                                          YPSILANTI          MI      48197‐1861
HORACE HARPER         8487 N BRAY RD                                                                                 MOUNT MORRIS       MI      48458‐8987
HORACE HENDERSON      114 COMANCHE DR                                                                                TERRY              MS      39170
HORACE HICKS          18441 GREENWALD DR                                                                             SOUTHFIELD         MI      48075‐5864
HORACE HOPKINS        31443 BARTON ST                                                                                GARDEN CITY        MI      48135‐1360
HORACE HOPKINS        975 WESTERN AVE                                                                                MONROE             MI      48161‐1821
HORACE HOWELL JR      446 S. MAPLE, BOX 86                                                                           MAPLE RAPIDS       MI      48853
HORACE HUEY JR        WEITZ & LUXENBERG PC            700 BROADWAY                                                   NEW YORK CITY      NY      10003
HORACE HUGHES         4925 LONGSTREET PL                                                                             BOSSIER CITY       LA      71112‐4754
HORACE J MARIANO      900 MEADOW DR                                                                                  LEWISVILLE         TX      75077
HORACE J. MARIANO     900 MEADOW DR.                                                                                 LEWISVILLE         TX      75077
HORACE JACKSON JR     733 MELLEN DR                                                                                  ANDERSON           IN      46013‐5042
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Name                              Address1                        Address2                    Address3   Address4               City              State   Zip
HORACE JARBER                     14611 WARWICK STREET                                                                          DETROIT            MI     48223‐2246
HORACE JOHNSON                    5583 MAPLE PARK DR                                                                            FLINT              MI     48507‐3904
HORACE JONES                      230 RIDGECREST RD                                                                             SYRACUSE           NY     13214‐1540
HORACE JONES                      2324 W ROOSEVELT RD             GARDEN NORTH                                                  BROADVIEW           IL    60155
HORACE JONES                      1337 DUNHAM ST SE                                                                             GRAND RAPIDS       MI     49506‐2631
HORACE K HUDSON                   4774 HALL CENTER ROAD                                                                         WALWORTH           NY     14568‐9758
HORACE KILGORE                    3266 HIDDEN FOREST DR                                                                         SNELLVILLE         GA     30078‐7800
HORACE KING                       3230 SALEM DR                                                                                 ROCHESTER HILLS    MI     48306‐2931
HORACE L COOPER                   806 N PAUL LAURENCE DUNBAR ST                                                                 DAYTON             OH     45407‐‐ 19
HORACE LANGDON III                5119 ROSSWAY DR                                                                               FLINT              MI     48506‐1511
HORACE LEAKS                      1802 CASCADE PARK DR SW                                                                       ATLANTA            GA     30331‐2262
HORACE LEE                        6685 JEWELL BENNETT RD                                                                        DAWSONVILLE        GA     30534‐4126
HORACE LEE                        9935 MANGOS DR                                                                                SAN RAMON          CA     94583‐3037
HORACE LEWIS                      1114 CLEVELAND HEIGHTS BLVD                                                                   CLEVELAND HTS      OH     44121‐1822
HORACE MACK JR                    1430 AUSEON AVE                                                                               OAKLAND            CA     94621‐1524
HORACE MANN SERVICE CORPORATION   KAREN PHILLIPS                  1 HORACE MANN PLZ                                             SPRINGFIELD         IL    62715‐0001

HORACE MARTIN                     4140 S LIVERPOOL WAY                                                                          AURORA            CO      80013‐7462
HORACE MARTIN                     5116 TILLMAN ST                                                                               DETROIT           MI      48208‐1942
HORACE MASTERS                    2679 GOLDEN AVE                                                                               DACULA            GA      30019‐1447
HORACE MATTINGLEY                 203 S OHIO ST                                                                                 ARCHIE            MO      64725‐9500
HORACE MC DUFFIE JR               PO BOX 531                                                                                    DANVILLE          IL      61834‐0531
HORACE MCGEE                      3227 SKANDER DR                                                                               FLINT             MI      48504‐1231
HORACE MILLER                     933 WILDWOOD DR                                                                               MELBOURNE         FL      32940‐1504
HORACE MINARD                     1201 VALDEZ WAY                                                                               FREMONT           CA      94539‐3660
HORACE MITCHELL                   HORACE A MITCHELL               1500 BROADWAY STE 1207                                        LUBBOCK           TX      79401
HORACE MITCHELL                   1500 BROADWAY STE 1207                                                                        LUBBOCK           TX      79401
HORACE MOON                       103 BURTON DR                                                                                 ROCKMART          GA      30153‐2101
HORACE MOORE                      1934 MCPHAIL ST                                                                               FLINT             MI      48503‐4328
HORACE MORGAN                     PO BOX 307                                                                                    ROSEVILLE         MI      48066‐0307
HORACE MULLINAX                   2341 PENDLEY RD                                                                               CUMMING           GA      30041‐6454
HORACE NEWSOM                     471 DALL PASO                                                                                 ROBINSON          TX      76706
HORACE NEWSOM TTEE                OPAL NEWSOM TRUST U/W           471 DALL PASO                                                 ROBINSON          TX      76706
HORACE NILES                      PO BOX 672                                                                                    FLINT             MI      48501‐0672
HORACE ODELL                      2792 MAYFAIR RD                                                                               AKRON             OH      44312‐5412
HORACE ORR                        4789 BENNETT RD                                                                               BUFORD            GA      30519‐1805
HORACE P CURRY JR                 WEITZ & LUXENBERG PC            700 BROADWAY                                                  NEW YORK CITY     NY      10003
HORACE PAINTER                    212 JAMES RD                                                                                  GAFFNEY           SC      29341‐4013
HORACE PAIR                       1080 LOST CT                                                                                  HAMPTON           GA      30228‐1597
HORACE PELOQUIN                   106 PELLETIER AVE                                                                             WOONSOCKET        RI      02895‐5728
HORACE PEREIRA                    7 LINDEN AVE                                                                                  CUMBERLAND        RI      02864‐6509
HORACE PERSON                     11407 WHITEHORN ST                                                                            ROMULUS           MI      48174‐1481
HORACE PERSON                     3308 SPRING VALLEY DR                                                                         FLINT             MI      48504‐1716
HORACE PLOTT                      278 FERGUSON RD                                                                               MURPHY            NC      28906‐3791
HORACE PRINTUP                    1570 SIGMAN RD NW                                                                             CONYERS           GA      30012‐3926
HORACE R TILLER                   700 SUNSET RD                                                                                 ROSEDALE          VA      24280‐3569
HORACE RITCHIE                    6065 GRACE K DR                                                                               WATERFORD         MI      48329‐1326
HORACE ROBINSON                   3995 BIRDIE DR                                                                                DOUGLASVILLE      GA      30134‐4264
HORACE S MOORE                    1934 MCPHAIL ST                                                                               FLINT             MI      48503‐4328
HORACE SANDERS JR                 6028 HIGHLAND ROAD                                                                            CLEVELAND         OH      44143‐2014
HORACE SATTERFIELD                295 CORPORATE BLVD APT 204                                                                    NORFOLK           VA      23502‐4950
HORACE SCOTT                      2130 N EVERETT RD                                                                             ROSCOMMON         MI      48653‐8543
HORACE SHAW                       THE MADEKSHO LAW FIRM           8866 GULF FREEWAY STE 440                                     HOUSTON           TX      77017
HORACE STROZIER                   817 E ALMA AVE                                                                                FLINT             MI      48505‐2225
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Name                                 Address1                         Address2                    Address3                     Address4                     City               State   Zip
HORACE STROZIER                      3293 WINWOOD DR                                                                                                        FLINT               MI     48504‐1252
HORACE THOMAS                        5183 MAINSTREET PARK DR                                                                                                STONE MTN           GA     30088‐2441
HORACE THOMPSON                      18847 ANGLIN ST                                                                                                        DETROIT             MI     48234‐1405
HORACE THOMPSON                      854 BAY ST                                                                                                             PONTIAC             MI     48342‐1902
HORACE THOMPSON                      854 BAY CITY                                                                                                           PONTIAC             MI     48342
HORACE TILLER                        700 SUNSET RD                                                                                                          ROSEDALE            VA     24280‐3569
HORACE TRAMBLE                       12793 LIMBERLOST DR                                                                                                    CARMEL              IN     46033‐9790
HORACE TRUITT                        APT 120                          2189 GLORY LANE                                                                       YPSILANTI           MI     48197‐5046
HORACE W MARTIN                      4140 S LIVERPOOL WAY                                                                                                   AURORA              CO     80013‐7462
HORACE WALLACE                       27451 SUTHERLAND ST                                                                                                    SOUTHFIELD          MI     48076‐7434
HORACE WARDEN                        5069 KEY WEST DR                                                                                                       HUBER HEIGHTS       OH     45424‐5924
HORACE WASHINGTON                    2712 LYNNWOOD AVE                                                                                                      SAGINAW             MI     48601‐7426
HORACE WEATHERS                      109 CRESENT CIR                                                                                                        MADISON             AL     35758‐2303
HORACE WEBB                          4225 SHADY LN                                                                                                          INDIANAPOLIS        IN     46226‐3341
HORACE WOOD                          3719 SHOALS ST                                                                                                         WATERFORD           MI     48329‐2265
HORACE YOUNG JR                      1542 BUCK RUN RD                                                                                                       WILMINGTON          OH     45177‐6524
HORACE ZEIGLER                       25415 GRAND CONCOURSE ST                                                                                               SOUTHFIELD          MI     48075‐1799
HORACE, THEODOSIA                    9631 LA SALLE                                                                                                          LOS ANGELES         CA     90047‐3840
HORACE, VIOLA J                      9901 JEAN DR                                                                                                           RICHMOND            VA     23237‐3743
HORACEK, BETTY L                     5616 EAST AVE                                                                                                          COUNTRYSIDE          IL    60525‐7208
HORACIO CONSTANZI                    NECOCHEA 1041                    MARTINEZ                                                 PROVINCIA DE BUENOS AIRES,
                                                                                                                               ARGENTINA
HORACIO FERNANDEZ                    252 MANCHESTER AVENUE                                                                                                  NORTH HALEDON       NJ     07508
HORACIO FIGUEIREDO                   RUA DA FAIA N 13                                                                          QUINAT DO FREIXO PORTO
                                                                                                                               4300 PORTUGAL
HORACIO FIGUEIREDO                   RUA DA FAIA N 13                 QUINTA DO FREIXO                                         PORTO 4300 PORTUGAL
HORACIO GARZA                        THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                                             HOUSTON            TX      77017
HORACIO GUERRA                       2309 ZINNIA ST                                                                                                         MISSION            TX      78574‐7913
HORACIO HUERTA                       8648 NW WAUKOMIS DR                                                                                                    KANSAS CITY        MO      64154‐2423
HORACIO LAREDO                       3063 DALEY DR                                                                                                          TROY               MI      48083‐5412
HORACIO MARCHETTI                    6765 STONEGATE DR                                                                                                      TEMPERANCE         MI      48182‐2217
HORACIO MIRETTI                      555 WYNGATE DR                                                                                                         ROCHESTER          MI      48307‐6014
HORACIO O FERREA N A DIV             ZEKE URRUTIA X203                FERREA RACING COMPONENTS    2600 NW 55TH COURT STE 238                                GRAND RAPIDS       MI      49548

HORACIO O FERREA NAD INC             FERREA RACING COMPONENTS         2600 NW 55TH CT STE 238                                                               FORT LAUDERDALE     FL     33309‐2676
HORACIO O FERREA NORTH AMERICA       2600 NW 55TH CT STE 234                                                                                                FORT LAUDERDALE     FL     33309‐2676
HORACIO O FERREA NORTH AMERICA DIV   ZEKE URRUTIA X203                FERREA RACING COMPONENTS    2600 NW 55TH COURT STE 238                                GRAND RAPIDS        MI     49548

HORACIO RESENDEZ                     1009 W IRVING ST                                                                                                       RIO GRANDE CITY     TX     78582‐5110
HORACIO SANCHEZ
HORACIO VILLARREAL                   405 SIR JOHN CT                                                                                                        FRANKLIN            TN     37064‐5436
HORAH, ROBERT M                      PO BOX 310                                                                                                             BUFORD              GA     30515‐0310
HORAH, ROBERT MICHAEL                PO BOX 310                                                                                                             BUFORD              GA     30515‐0310
HORAHAN, EILEEN M                    2730 S WALKER AVE                                                                                                      SAN PEDRO           CA     90731‐5647
HORAK                                PO BOX 670039                                                                                                          DALLAS              TX     75367‐0039
HORAK JR, JOHN J                     16501 HI LAND TRL                                                                                                      LINDEN              MI     48451‐9089
HORAK, COLLEEN S                     838 E VILLAGE CIRCLE DR S                                                                                              PHOENIX             AZ     85022‐4815
HORAK, EMMA C                        8100 S HARLEM AVE                                                                                                      BRIDGEVIEW          IL     60455‐1690
HORAK, EMMA C                        3544 W 115TH PL                                                                                                        CHICAGO             IL     60655
HORAK, JAMES J                       640 CURWOOD RD                                                                                                         OWOSSO              MI     48867‐2172
HORAK, JAMES L                       4379 CHABLIS DR                                                                                                        STERLING HEIGHTS    MI     48314‐1847
HORAK, MARY L                        413 CYPRESS RD                                                                                                         ROCHESTER HILLS     MI     48309‐2200
HORAK, MICHAEL J                     2050 ESCOTT RD                                                                                                         OWOSSO              MI     48867‐9600
HORAK, MICHAEL JAMES                 2050 ESCOTT RD                                                                                                         OWOSSO              MI     48867‐9600
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Name                    Address1                        Address2                      Address3   Address4               City               State   Zip
HORAL, THOMAS J         PO BOX 82232                                                                                    ROCHESTER           MI     48308‐2232
HORAN & HORAN LLP       FIFTY MAIN STREET SUITE 1000                                                                    WHITE PLAINS        NY     10606
HORAN DONALD            3520 1ST AVE S                                                                                  GREAT FALLS         MT     59401
HORAN JOHN A (413696)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510
                                                        STREET, SUITE 600
HORAN JR, JAMES P       1585 QUEEN ANNES GATE                                                                           WESTLAKE           OH      44145‐2637
HORAN, ANN L            1032 TERRACE BLVD                                                                               EWING              NJ      08618‐1904
HORAN, DODD             245 CHOPTANK RD                                                                                 STAFFORD           VA      22556‐6451
HORAN, DOROTHY T        101 WILDFLOWER RD                                                                               LEVITTOWN          PA      19057‐3224
HORAN, DOUGLAS          51 GLOUCESTER COURT                                                                             NEWINGTON          CT      06111‐4507
HORAN, EDWARD J         134 CENTER ST                                                                                   MEYERSDALE         PA      15552
HORAN, GERALD F         1397 SQUIRREL RUN                                                                               SAINT JOHNS        MI      48879‐8243
HORAN, JACQUELINE A.    19 WILLIAMS ST.                                                                                 MASSENA            NY      13662‐2415
HORAN, JACQUELINE A.    19 WILLIAMS ST                                                                                  MASSENA            NY      13662‐2415
HORAN, JAMES A          958 MONARCH WAY                                                                                 KELLER             TX      76248‐5265
HORAN, JOHN A           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510‐2212
                                                        STREET, SUITE 600
HORAN, JOHN F           PO BOX 51586                                                                                    BOWLING GREEN      KY      42102‐5886
HORAN, JOSEPH M         307 RIVERMOOR DR                                                                                MOGADORE           OH      44260‐1559
HORAN, KIERAN J         9 FIVE CORNERS RD                                                                               CENTERVILLE        MA      02632‐3123
HORAN, LEANN B          75 WOODY LN                                                                                     ROCHESTER          NY      14625‐1315
HORAN, LISA M           25142 FARMINGTON RD                                                                             FARMINGTON HILLS   MI      48336‐1030

HORAN, MARGARET E       69 ALBEMARLE DR                                                                                 CLAYTON            NC      27527‐4217
HORAN, MARY E           PO BOX 51586                                                                                    BOWLING GREEN      KY      42102‐5886
HORAN, MARY J           4065 LOCKPORT RD                                                                                SANDBORN           NY      14132‐9107
HORAN, MAUREEN G        33 IDA LN                                                                                       NORTH BABYLON      NY      11703‐1403
HORAN, MOLLY K          42061 MARY KAY DR                                                                               CLINTON TWP        MI      48038‐4504
HORAN, MOLLY KATHLEEN   42061 MARY KAY DR                                                                               CLINTON TWP        MI      48038‐4504
HORAN, NANCY A          217 OUTLOOK ST                                                                                  PITTSBURGH         PA      15227‐2701
HORAN, NORMAN N         13520 W HIGHWAY 318                                                                             WILLISTON          FL      32696‐4422
HORAN, PATRICK M        1711 NORTH STOCKTON HILL ROAD   # 358                                                           KINGMAN            AZ      86401
HORAN, PHILIP P         1280 DOGWOOD DR                                                                                 GREENSBORO         GA      30642‐3936
HORAN, ROBERT M         414 THREE RIVERS N                                                                              FORT WAYNE         IN      46802‐1314
HORAN, ROBERT MICHAEL   408 THREE RIVERS NORTH                                                                          FORT WAYNE         IN      46802‐1314
HORAN, ROSEMARY L       10138 GLENN ABBEY LN                                                                            FISHERS            IN      46037‐8975
HORAN, THOMAS J         14550 N LOST ARROW DR                                                                           TUCSON             AZ      85755‐7128
HORAN, THOMAS J         802 SOUTH 24TH STREET                                                                           LARAMIE            WY      82070‐4921
HORAN, VAIL             215 N CANAL RD LOT 78                                                                           LANSING            MI      48917‐8668
HORANBURG, DANIEL W     2845 BROWN RD                                                                                   NEWFANE            NY      14108‐9713
HORANBURG, MARTIN R     6137 PROSPECT ST                                                                                NEWFANE            NY      14108‐1312
HORANBURG, VIRGINIA D   TRLR 11                         6021 KETCHUM AVENUE                                             NEWFANE            NY      14108‐1050
HORANBURG, WARREN B     PO BOX 80371                                                                                    LANSING            MI      48908‐0371
HORANEY, DANIEL         10001 FRONTAGE RD               SP98                                                            SOUTH GATE         CA      90280
HORANYI, JOHN           926 LAWNWOOD AVE.                                                                               KETTERING          OH      45429‐5544
HORATIO E JONES         30 WATERSVIEW DRIVE                                                                             JACKSON            MS      39212
HORATIO JONES           30 WATERSVIEW DR                                                                                JACKSON            MS      39212‐5630
HORATIU GERMAN          2621 WILLARD DR                                                                                 TROY               MI      48085‐4038
HORAY, JOHN J           11145 W SPRAGUE RD                                                                              N ROYALTON         OH      44133‐1264
HORBACH CHRISTOPHER W   3138 W PEAR TREE LN                                                                             CRAWFORDSVILLE     IN      47933‐8557
HORBACK, GAIL F         34179 PEMBROKE AVE                                                                              LIVONIA            MI      48152‐1202
HORBACZ THOMAS          12 ORCHARD DR                                                                                   FLEMINGTON         NJ      08822‐1527
HORBAL, LINDA J         21962 144TH CIR                                                                                 ROGERS             MN      55374‐9111
HORBAL, PAUL            6060 CANDLER DR                                                                                 SHELBY TOWNSHIP    MI      48316‐3220
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Name                       Address1                             Address2                        Address3   Address4               City            State   Zip
HORBANIUK, ANNE            1114 GLOURIE DR                                                                                        HOUSTON          TX     77055‐7506
HORBATIUK, STEVEN R        RT 1BOX BOX 2421RT                                                                                     ALTON            MO     65606
HORBATT, HEATHER R         1254 TIMBER RIDGE CT                                                                                   MILFORD          MI     48380‐3662
HORBATT, KEVIN R           1254 TIMBER RIDGE CT                                                                                   MILFORD          MI     48380‐3662
HORBEY, JENNIFER C         1709 FREELAND RD                                                                                       FREELAND         MD     21053‐9580
HORBIANSKI, MARY T         12333 SUMPTER RD                                                                                       CARLETON         MI     48117‐9555
HORBIANSKI, ROBERT M       10407 BARAGA ST                                                                                        TAYLOR           MI     48180‐3759
HORCEY, ANTHONY L          226 EAST BROADWAY APT. 3E                                                                              SALEM            NJ     08079
HORCEY, ANTHONY LEVI       226 EAST BROADWAY APT. 3E                                                                              SALEM            NJ     08079
HORCH JR, RAYMOND W        547 YATES STREET BOX 92                                                                                WILLIAMSPORT     OH     43164
HORCH, VIRGINIA A          3319 CLUBVIEW DRIVE                                                                                    N FT MYERS       FL     33917‐2005
HORCHA, JAMES J            5503 NEWBERRY RD                                                                                       DURAND           MI     48429‐9172
HORCHA, SCOTT P            4345 GENOA DR                                                                                          LUNA PIER        MI     48157‐9776
HORCHA, SCOTT PAUL         4345 GENOA DR                                                                                          LUNA PIER        MI     48157‐9776
HORCHAR, CHARLES E         434 S MIMBRES PL                                                                                       BENSON           AZ     85602‐7645
HORCHAR, CHARLES E         434 MIMBRES PLACE                                                                                      BENSON           AZ     85602‐7645
HORCHAR, WILLIAM F         29923 GREENS CT                                                                                        MENIFEE          CA     92584‐8835
HORCHEM, REX D             65 HASKELL DR                                                                                          CLEVELAND        OH     44108‐1176
HORCHLER, BRENDA J         126 6TH ST E                                                                                           TIERRA VERDE     FL     33715‐2243
HORCHLER, DAVID D          126 6TH ST E                                                                                           TIERRA VERDE     FL     33715‐2243
HORCHY, KATHLEEN A         15400 HOLLAND RD                                                                                       BROOK PARK       OH     44142‐3342
HORCSOG, CHESTER L
HORCSOG, DESTINY
HORCSOG, KELLY A           FITZSIMMONS NUNN & FITZSIMMONS        300 REYNOLDS ARCADE BUILDING                                     ROCHESTER       NY      14608
HORD JAMES                 1865 S EASTGATE DR                                                                                     DECATUR         IL      62521‐3905
HORD WILLIS III            4497 FM 1456 RD                                                                                        BELLVILLE       TX      77418
HORD, BESS                 5390 PARK RD APT 3                                                                                     FORT MYERS      FL      33908‐4663
HORD, BOBBY G              469 POND SPRINGS RD                                                                                    KINGSPORT       TN      37664‐5252
HORD, ELMO L               19056 HUNTERS POINTE DR                                                                                STRONGSVILLE    OH      44136‐8422
HORD, GEOFFREY D           177 LONDONDERRY LN                                                                                     GETZVILLE       NY      14068‐1174
HORD, JANACRA A            509 HILLSDALE CT                                                                                       KOKOMO          IN      46901‐3650
HORD, JOANN S              494 STILLWOOD DR                                                                                       MANCHESTER      TN      37355‐7343
HORD, THOMAS J             5289 RIVER CORNERS RD                                                                                  SPENCER         OH      44275‐9768
HORD, WILLIAM G            6334 RAY RD                                                                                            SWARTZ CREEK    MI      48473‐9122
HORDE, ANDREW              24240 GARDNER ST                                                                                       OAK PARK        MI      48237‐1512
HORDEN, KIRK R             6691 BAY GLADWIN COUNTY LINE RD                                                                        BENTLEY         MI      48613‐9710
HORDYK, DAVID L            7450 DIVISION AVE N                                                                                    COMSTOCK PARK   MI      49321‐9518
HORDYK, KAREN A            10915 56TH AVE                                                                                         ALLENDALE       MI      49401‐8353
HORDYNSKY, LEON R          7426 DIBROVA DR                                                                                        BRIGHTON        MI      48116
HORECKI, CARL J            9841 HAWTHORNE GLEN DR                                                                                 GROSSE ILE      MI      48138‐2114
HORECKI, JOYCE K           6644 RIDGEVIEW DR                                                                                      CLARKSTON       MI      48346‐4456
HORECKI, RICHARD T         6644 RIDGEVIEW DR                                                                                      CLARKSTON       MI      48346‐4456
HORECKI, RONALD E          6829 GREENVIEW LANE                                                                                    ENGLEWOOD       FL      34224‐7676
HORECKY, STEPHEN J         40 BEAVER HILL RD                                                                                      ELMSFORD        NY      10523
HORECNY, PAUL J            1336 EAST AVE                                                                                          BERWYN          IL      60402‐1208
HOREIN, CURTIS J           4695 DOGWOOD LN                                                                                        BROWNSBURG      IN      46112‐8759
HOREJS, MARY L             105 BEACH ST                                                                                           JOLIET          IL      60436‐1701
HOREJS, MARY L             105 BEACH STREET                                                                                       JOLIET          IL      60436‐1701
HOREJSI, GEORGE C          88 MADRID PL                                                                                           FREMONT         CA      94539‐3034
HOREN MICHAEL              C/O GOLDBERG PERSKY & WHITE PC        1030 FIFTH AVENUE                                                PITTSBURG       PA      15219
HOREN MICHAEL J (656216)   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH      PA      15219

HOREN, JEZRAH              11378 N PHEASANT RUN                                                                                   FAIRLAND         IN     46126‐9572
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Name                                Address1                              Address2                       Address3   Address4                 City             State Zip
HOREN, MICHAEL J                    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                       PITTSBURGH        PA 15219

HORENCIA BARAJAS                    1344 GAGE ST                                                                                             SAGINAW          MI   48601‐2706
HORENKAMP, HERMAN G                 4505 PARKER RD APT 262                                                                                   FLORISSANT       MO   63033‐4277
HORENZIAK, CHRISTOPHER J            4575 OAK GROVE DR                                                                                        CLARKSTON        MI   48346‐4040
HORENZIAK, PAUL L                   4626 KINGSTON RD                                                                                         KINGSTON         MI   48741‐8750
HORENZIAK, ROBERT T                 12771 BASELL DR                                                                                          HEMLOCK          MI   48626‐7402
HORENZIAK, RUTH A                   5845 CROWBERRY TRAIL NORTH                                                                               SAGINAW          MI   48603‐1668
HORENZIAK, WALTER L                 8900 DOWNING RD                                                                                          BIRCH RUN        MI   48415‐9201
HORETSKI LYNDA                      HORETSKI, LYNDA                       725 S ADAMS RD STE L‐124                                           BIRMINGHAM       MI   48009‐6998
HORETSKI LYNDA                      STATE FARM MUTUAL AUTOMOBILE          725 SOUTH ADAMS ROAD SUITE                                         BIRMINGHAM       MI   48009
                                    INSURANCE COMPANY                     L124
HORETSKI, LYNDA
HORETSKI, LYNDA                     EDWARD L. JOHNSON                     725 S ADAMS RD STE L‐124                                           BIRMINGHAM       MI   48009‐6998
HORETSKI, STEVEN J                  8788 RUSHSIDE DR                                                                                         PINCKNEY         MI   48169‐8536
HORETZKO, MARIE                     8090 25TH ST                                                                                             WHITE CITY       OR   97503
HOREY, MICHAEL M                    126A FOXBERRY DR                                                                                         GETZVILLE        NY   14068‐1013
HOREY, MICHAEL MARTIN               126A FOXBERRY DR                                                                                         GETZVILLE        NY   14068‐1013
HORG SR, DENNIS A                   9473 KITTERMAN RD                                                                                        MARK CENTER      OH   43536‐9724
HORGAN, CAROL M                     2307 E MAIN ST                                                                                           MILLVILLE        NJ   08332‐6439
HORGAN, CATHERINE N                 14176 NORBORNE                                                                                           REDFORD          MI   48239‐2941
HORGAN, DAVID J                     9860 MILBURN ST                                                                                          LIVONIA          MI   48150‐2924
HORGAN, ELEANORE M                  19701 ANGLIN                                                                                             DETROIT          MI   48234‐1476
HORGAN, GERALDINE A                 4095 EASTPORT DR                                                                                         BRIDGEPORT       MI   48722
HORGAN, JAMES P                     810 RIVER BEND RD                                                                                        MAMMOTH SPRING   AR   72554‐9781

HORGAN, JEREMY V                    9860 MILBURN ST                                                                                          LIVONIA          MI   48150‐2924
HORGAN, LUCILLE E                   7744 NORTHCROSS APT N 219                                                                                AUSTIN           TX   78757
HORGAN, MICHAEL J                   39 EAGLE AVE                                                                                             SWARTZ CREEK     MI   48473
HORGAN, PENNY M                     10077 E LIPPINCOTT BLVD                                                                                  DAVISON          MI   48423‐9151
HORGAN, TIMOTHY A                   PO BOX 58                                                                                                CAVALIER         ND   58220‐0058
HORGEA, DANIEL J                    24341 ROCKFORD ST                                                                                        DEARBORN         MI   48124‐1329
HORGER, DONALD V                    516 LOCKE ST                                                                                             EAST TAWAS       MI   48730‐1146
HORGER, GERALDINE M                 6039 SHADOWLAWN                                                                                          DEARBORN HGTS    MI   48127‐2967
HORGER, GLENDA J                    185 HORGER ST                                                                                            LEESBURG         AL   35983‐3828
HORHAY, DEBRA                       166 SILVERBROOK RD                                                                                       MCADOO           PA   18237‐3109
HORHN, CLIFTON A                    21021 LAKE SHORE BLVD                                                                                    EUCLID           OH   44123
HORHN, J C                          230 LENA FLOYD RD                                                                                        PHILADELPHIA     MS   39350‐4924
HORHN, ROSA                         16509 INDIANA ST                                                                                         DETROIT          MI   48221‐2903
HORIATIS, JACK P                    2600 N SOUTHPORT AVE                  APT 106                                                            CHICAGO          IL   60614‐1264
HORIBA AUTOMOTIVE TEST SYSTEMS      1115 NORTH SERVICE RD W                                                         OAKVILLE ON L6M 1N1
                                                                                                                    CANADA
HORIBA AUTOMOTIVE TEST SYSTEMS      2890 JOHN R RD                                                                                           TROY             MI   48083‐2353
HORIBA AUTOMOTIVE TEST SYSTEMS CORP 2890 JOHN R RD                        FRMLY HORIBA INSTRUMENTS INC                                       TROY             MI   48083‐2353

HORIBA INST/ANN ARBR                5900 HINES DR                                                                                            ANN ARBOR        MI   48108‐7900
HORIBA INSTRUMENTS INC              5900 HINES DR                                                                                            ANN ARBOR        MI   48108‐7900
HORIBA JOBIN YVON INC               3880 PARK AVE                                                                                            EDISON           NJ   08820‐3012
HORIBA LTD                          2890 JOHN R RD                                                                                           TROY             MI   48083‐2353
HORIBA LTD                          5900 HINES DR                                                                                            ANN ARBOR        MI   48108‐7900
HORIGAN, MARY                       2256 KENYA LN                                                                                            PUNTA GORDA      FL   33983
HORIGAN, TODD J                     3129 E PLEASANT RUN DR                                                                                   SHELBYVILLE      IN   46176‐9267
HORIKAWA DEBBI                      3819 LOTUS DR                                                                                            WATERFORD        MI   48329
HORIKAWA, DEBRA A                   3919 LOTUS DR                                                                                            WATERFORD        MI   48329‐1391
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Name                              Address1                             Address2                         Address3               Address4                  City            State   Zip
HORINE, ARLEEN                    11135 TRENTMAN ROAD                                                                                                    FORT WAYNE       IN     46816‐9431
HORINE, FLOYD S                   16979 N STATE ROAD 9                                                                                                   SUMMITVILLE      IN     46070‐9517
HORINE, FLOYD STEPHEN             16979 N STATE ROAD 9                                                                                                   SUMMITVILLE      IN     46070‐9517
HORINE, JAMES A                   1374 S 300 W                                                                                                           HUNTINGTON       IN     46750‐9116
HORINE, JOHN E                    10860 E 1000 S                                                                                                         UPLAND           IN     46989‐9754
HORINE, ROBERT E                  858 LAKENGREN DR                                                                                                       EATON            OH     45320‐2542
HORISK, JAMES A                   36452 OLD MILL BRIDGE RD                                                                                               FRANKFORD        DE     19945‐3409
HORISKI BARBARA                   PO BOX 330                                                                                                             CLARKSTON        MI     48347‐0330
HORISKI, SHARON R                 5119 WOODBERRY DR                                                                                                      SHELBY TWP       MI     48316‐4173
HORISZNY, JOHN                    1058 ARDEN LN                                                                                                          BIRMINGHAM       MI     48009‐2961
HORITSKI, JOSEPH T                8471 FRITH RD                                                                                                          COLUMBUS         MI     48063
HORIUCHI, ROGER H                 876 CURTIS ST APT 609                                                                                                  HONOLULU         HI     96813
HORIXON STEEL CO                  8150 E 13 MI RD`                                                                                                       WARREN           MI     48093
HORIZON & GEIGER SVC INC          ATTN: MARK AKINS                     320 CENTURY BLVD                                                                  WILMINGTON       DE     19808‐6270
HORIZON AIR INC                   1706 BEACON HILL RD                                                                                                    LEXINGTON        KY     40504‐2213
HORIZON CLEANING SYSTEMS INC      18750 FORT ST APT 20                                                                                                   RIVERVIEW        MI     48193‐7407
HORIZON ENVIRONMENTAL CORP        4771 50TH ST SE STE 1                                                                                                  GRAND RAPIDS     MI     49512‐5403
HORIZON ENVIRONMENTAL CORP        4595 BROADMOOR AVE SE STE 200                                                                                          GRAND RAPIDS     MI     49512‐5448
HORIZON ENVIRONMENTAL CORP        ATTN: ALAN GREENBERG                 3011 W GRAND BLVD # 1700                                                          DETROIT          MI     48202‐3000
HORIZON ENVIRONMENTAL CORPORATION SUITE 1700 FISHER BUILDING           3011 W GRAND BLVD                                                                 DETROIT          MI     48202

HORIZON EXPRESS                    5805 BELLEFONTAINE RD                                                                                                 HUBER HEIGHTS   OH      45424‐4138
HORIZON H&S FREIGHTWAYS INC        PO BOX 20706                                                                                                          MILWAUKEE       WI      53220‐0706
HORIZON INC                        18750 FORT ST APT 20                                                                                                  RIVERVIEW       MI      48193‐7407
HORIZON MILLWORK MANUFACTURING     35660 CLINTON ST                                                                                                      WAYNE           MI      48184‐2051

HORIZON ONE FEDERAL CU             ATTN: ANN GARMON                    610 DROVER ST                                                                     INDIANAPOLIS     IN     46221‐1225
HORIZON SOLUTIONS                  2005 BRIGHTON HENRIETTA TOWN LINE   TOWNLINE                                                                          ROCHESTER        NY     14623‐2509
                                   RD
HORIZON SOLUTIONS CORP             PO BOX 92203                        2005 BRIGHTON HENRIETTA TOWN L                                                    ROCHESTER        NY     14692‐0203
HORIZON SOLUTIONS LLC              2005 BRIGHTON HENRIETTA TOWN LINE                                                                                     ROCHESTER        NY     14623‐2509
                                   RD
HORIZON STEEL CO                   1808 HOLSTE RD                                                                                                        NORTHBROOK       IL     60062‐7703
HORIZON STEEL COMPANY              1808 HOLSTE RD                                                                                                        NORTHBROOK       IL     60062‐7703
HORIZON TECHNOLOGY GROUP           TONYA DIEKMAN                       TIFFEN DIVISION                  1988 COUNTY ROAD 593                             BADEN‐           DE
                                                                                                                                                         WURTTENBERG
HORIZON TECHNOLOGY GROUP           20400 SUPERIOR RD                                                                                                     TAYLOR           MI     48180‐5362
HORIZON TECHNOLOGY LLC             20400 SUPERIOR RD                                                                                                     TAYLOR           MI     48180‐5362
HORIZONS LAW GROUP LLC &           TERINA TOTTS                        7400 W STATE ST                                                                   WAUWATOSA        WI     53213‐2736
HORKEY, DENNIS A                   1620 CROMWELL AVE                                                                                                     FLINT            MI     48503‐2053
HORKEY, DENNIS ANTHONY             1620 CROMWELL AVE                                                                                                     FLINT            MI     48503‐2053
HORKEY, DENNIS C                   417 HOLLAND RD                                                                                                        FLUSHING         MI     48433‐2115
HORKEY, DENNIS CHARLES             417 HOLLAND RD                                                                                                        FLUSHING         MI     48433‐2115
HORKEY, JOHN M                     3025 W BELOIT NEWARK RD                                                                                               BELOIT           WI     53511‐8675
HORKEY, MICHAEL T                  5200 CRESTWOOD DR                                                                                                     GRAND BLANC      MI     48439‐4328
HORKEY, MICHAEL T                  5339 CAPPLEMAN LOOP                                                                                                   BROOKSVILLE      FL     34601
HORKHEIMER, MICHAEL
HORKMAN, MARVEL                    P O BOX 889                                                                                                           RAVENSDALE      WA      98051
HORKOS CORP                        2‐24‐20 KUSADO‐CHO FUKUYAMA‐S                                                               HIROSHIMA JP 720‐8650
                                                                                                                               JAPAN
HORKY STANLEY J                    DBA PROGRAM INITIATIVES LLC         4251 LOCUST VALLEY LN                                                             OXFORD           MI     48370‐1403
HORKY, ROBERT W                    3308 GOVE DR                                                                                                          TECUMSEH         MI     49286‐9563
HORKY, STANLEY J                   4251 LOCUST VALLEY LN                                                                                                 OXFORD           MI     48370‐1403
HORKY, THOMAS M                    208 FRANKLIN ST                                                                                                       BLISSFIELD       MI     49228‐1105
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Name                                  Address1                          Address2                        Address3                     Address4                   City              State   Zip
HORLACHER, CAROL A                    85 LAKE AVENUE                    PO BOX 213                                                                              BROCTON            NY     14716
HORLACHER, LLOYD C                    1203 WESLEY CT                                                                                                            THORNTOWN          IN     46071‐8955
HORLACHER, MARK A                     7517 N SUGAR CREEK RD                                                                                                     THORNTOWN          IN     46071‐9166
HORLD E TAYLOR                        3948 S 1100 E                                                                                                             GREENTOWN          IN     46936‐8952
HORLD TAYLOR                          3948 S 1100 E                                                                                                             GREENTOWN          IN     46936‐8952
HORLOCKER, JAMES R                    48666 SUTTON BAY CT                                                                                                       SHELBY TOWNSHIP    MI     48315‐4281
HORM, KENNETH E                       2826 MAHAN DENMAN RD NW                                                                                                   BRISTOLVILLE       OH     44402‐8704
HORMAN, AUSTIN K                      1730 HENRYTON RD                                                                                                          MARRIOTTSVL        MD     21104‐1421
HORMEL FOODS CORPORATION              2 HORMEL PL                                                                                                               AUSTIN             MN     55912‐3673
HORMEL FOODS CORPORATION              PAUL JACOBSON                     1 HORMEL PL                                                                             AUSTIN             MN     55912‐3673
HORMEL FOODS CORPORATION
HORMEL FOODS CORPORATION              1 HORMEL PLACE, AUSITN                                                                                                    AUSTIN            MN      55912
HORMEL FOODS, LLC                     2 HORMEL PL                                                                                                               AUSTIN            MN      55912‐3673
HORMEL, HERMAN D                      PO BOX 342                                                                                                                MAYVILLE          MI      48744‐0342
HORMEL, SHIRLEY E                     5804 SHERIDAN RD                                                                                                          VASSAR            MI      48768‐9596
HORMEL, TIMOTHY M                     PO BOX 293                                                                                                                MAYVILLE          MI      48744‐0293
HORMELL, WILLIAM T                    8916 W HACKBERRY LN                                                                                                       LAPEL             IN      46051‐9739
HORMER, KRISTINE
HORMIZ, JACLIN                        2610 SAWGRASS ST                                                                                                          EL CAJON           CA     92019‐4550
HORN BRADY                            11411 ROLLING MEADOW DR                                                                                                   FENTON             MI     48430‐8802
HORN DELMAR (644816)                  BROOKMAN ROSENBERG BROWN &        17TH FLR, ONE PENN SQUARE WEST,                                                         PHILADELPHIA       PA     19102
                                      SANDLER                           30 SOUTH 15TH STREET
HORN GERALD (445324)                  KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                                           CLEVELAND         OH      44114
                                                                        BOND COURT BUILDING
HORN HARRISON D                       HORN, HARRISON D                  1950 SAWTELLE BLVD STE 245                                                              LOS ANGELES        CA     90025‐7017
HORN HARRISON D                       WILLIAMS, LYNN R                  CONSUMER LEGAL SERVICES         1950 SAWTELLE BLVD ‐ SUITE                              LOS ANGELES        CA     90025
                                                                                                        245
HORN IRVING C (466977)                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                             NORFOLK            VA     23510
                                                                        STREET, SUITE 600
HORN JAMES N (417651)                 PERSKY JOEL                       4901 TOWNE CENTRE ROAD , STE                                                            SAGINAW            MI     48604
HORN JOHN H SR (429129)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                             NORFOLK            VA     23510
                                                                        STREET, SUITE 600
HORN JR, FRANK H                      3285 W 1100 N                                                                                                             ALEXANDRIA        IN      46001‐8432
HORN JR, HENRY                        26445 SPRAGUE RD                                                                                                          COLUMBIA STA      OH      44028‐9591
HORN JR, JAMES L                      300 SHADY SHORES DR                                                                                                       MABANK            TX      75156‐7506
HORN JR, JOHN H                       423 MARYLAND AVE                                                                                                          BALTIMORE         MD      21221‐6706
HORN JR, RICHARD A                    6909 EMMONS DR                                                                                                            O FALLON          MO      63368‐1501
HORN JR, ROBERT M                     1603 MELL CORK RD                                                                                                         EDMONTON          KY      42129‐8415
HORN JR, WILLIAM R                    44 STEPHEN ST                                                                                                             MOORESVILLE       IN      46158‐7917
HORN JR., JOHN S                      1000 LA GUARDIA LN                                                                                                        RENO              NV      89511‐7741
HORN LAVERNE                          67 PARDEE AVE                                                                                                             LANCASTER         NY      14086‐2658
HORN MICHELLE                         HORN, MICHELLE                    1115 WASHINGTON                                                                         NEW WINDSOR       NY      12553
HORN MURDOCK COLE                     2800 LIVERNOIS RD STE 400                                                                                                 TROY              MI      48083‐1228
HORN NORMAN                           PO BOX 5236                                                                                                               JASPER            TX      75951‐7702
HORN PAUL (ESTATE OF) (510916) ‐ HORN BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                           NORTHFIELD        OH      44067
PAUL                                                                    PROFESSIONAL BLDG
HORN PLASTICS                         DEBBIE CLARK X                    114 INDUSTRIAL DRIVE                                         TOWN OF MOUNT ROYAL ON
                                                                                                                                     CANADA
HORN PLASTICS INC                     114 INDUSTRIAL DR                                                                              WHITBY CANADA ON L1N 5Z8
                                                                                                                                     CANADA
HORN RAYMOND W PHD                    DBA NEUROPSYCHOLOGY ASSOCIATES    10293 N MERIDIAN ST STE 210                                                             INDIANAPOLIS       IN     46290‐1079
HORN RONALD                           1513 FOX RUN                                                                                                              TECUMSEH           MI     49286‐1608
HORN SR., JOHN S                      1000 LA GUARDIA LN                                                                                                        RENO               NV     89511‐7741
HORN SR., JOHN STEWERT                1000 LA GUARDIA LN                                                                                                        RENO               NV     89511‐7741
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Name                  Address1                        Address2                          Address3   Address4               City               State   Zip
HORN STEFANIE         5 TIMBER RIDGE DR                                                                                   CORAM               NY     11727‐2430
HORN WAYNE            27243 BROWN ST                                                                                      FLAT ROCK           MI     48134‐1671
HORN, A ALVERA        17 CELANOVA LN                                                                                      HOT SPRINGS         AR     71909‐3520
                                                                                                                          VILLAGE
HORN, ADRIAN R        18846 CLUSTER OAKS DR                                                                               MAGNOLIA           TX      77355‐1978
HORN, ALICE M         147 N RIVER CT APT 325          CLINTON PLACE APT                                                   MOUNT CLEMENS      MI      48043‐1965
HORN, ALICE M         147 N RIVER CT                  APT# 325                                                            MT CLEMENS         MI      48043‐970
HORN, ALMA D          4623 CHILON WAY                                                                                     SANTA BARBARA      CA      93110‐1713
HORN, ANGELA L        28 N HEDGES ST                                                                                      DAYTON             OH      45403
HORN, ARBIN W         230 PALMER DR                                                                                       FAIRBORN           OH      45324‐5644
HORN, ARTHUR R        116 SHADY REST DR                                                                                   WAYNESVILLE        NC      28785‐2433
HORN, BERNARD E       3113 DAVIS RD                                                                                       ATTICA             MI      48412‐9734
HORN, BERNARD G       PO BOX 232                                                                                          FRANKTON           IN      46044‐0232
HORN, BILL R          1815 CANADA FLAT RD                                                                                 COOKEVILLE         TN      38501
HORN, BILLIE J        2930 EAST ROSS RD                                                                                   TIPP CITY          OH      45371‐9213
HORN, BILLIE J        2930 ROSS RD                                                                                        TIPP CITY          OH      45371‐9213
HORN, BILLIE L        PO BOX 687                                                                                          INWOOD             WV      25428‐0687
HORN, BILLY L         1781 UNIONVILLE DEASON RD                                                                           BELL BUCKLE        TN      37020‐4523
HORN, BOBBY J         PO BOX 160                                                                                          ROCKY GAP          VA      24366‐0160
HORN, BRADY C         11411 ROLLING MEADOW DR                                                                             FENTON             MI      48430‐8802
HORN, BRUCE A         5242 N CANAL RD                                                                                     DIMONDALE          MI      48821‐8742
HORN, BUDDY L         2298 HIGHWAY 6                                                                                      NATCHITOCHES       LA      71457‐7272
HORN, CAROL J         35330 BLUE SPRUCE DR                                                                                FARMINGTON HILLS   MI      48335‐4614

HORN, CAROLE S        300 E NORTH GROVE RD                                                                                MAYVILLE           MI      48747
HORN, CAROLE S        5469 BARNWOOD DR                                                                                    GURNEE             IL      60031‐1061
HORN, CAROLYN M       1000 LA GUARDIA LN                                                                                  RENO               NV      89511‐7741
HORN, CHARLES D       1234 HUDSON DR                                                                                      HOWELL             MI      48843‐6843
HORN, CHARLES D       1813 VANDERBILT DR                                                                                  LOVELAND           OH      45140‐2031
HORN, CHARLES R       3814 SPRINGLAKE VILLAGE CT                                                                          KISSIMMEE          FL      34744‐8907
HORN, CHARLIE CLYDE   SHANNON LAW FIRM                100 W GALLATIN ST                                                   HAZLEHURST         MS      39083‐3007
HORN, CHRISTOPHER K   1080 FAIRGROUND ST                                                                                  PLYMOUTH           MI      48170‐1967
HORN, CLIFFORD D      2280 N GEECK RD                                                                                     CORUNNA            MI      48817‐9709
HORN, CLIFFORD DANA   2280 N GEECK RD                                                                                     CORUNNA            MI      48817‐9709
HORN, COLLEEN A       390 HERMANN ST                                                                                      SAN FRANCISCO      CA      94117‐3417
HORN, COLLEEN G       1818 OAK TREE LANE                                                                                  ARLINGTON          TX      76013‐3926
HORN, CRYSTAL D       16145 LINCOLN AVE                                                                                   EASTPOINTE         MI      48021
HORN, CYNTHIA A       34716 FOUNTAIN BLVD                                                                                 WESTLAND           MI      48185‐9434
HORN, CYNTHIA C       1010 AIRPORT ST                                                                                     CARTHAGE           TX      75633‐2102
HORN, DAVID C         4464 STATE ROUTE EE                                                                                 FARMINGTON         MO      63640‐7416
HORN, DAVID R         163 HENRY VIII DRIVE                                                                                FLINT              MI      48507‐4215
HORN, DELBERT         2215 E CENTERVILLE STATION RD                                                                       CENTERVILLE        OH      45459‐5544
HORN, DELMAR          BROOKMAN ROSENBERG BROWN &      17TH FLR, ONE PENN SQUARE WEST,                                     PHILADELPHIA       PA      19102
                      SANDLER                         30 SOUTH 15TH STREET
HORN, DIANE L         2504 BURLINGTON PL                                                                                  STOCKTON            CA     95209‐4040
HORN, DION E          5507 LONG LEAF DR                                                                                   WICHITA FALLS       TX     76310‐3470
HORN, DOLORES L       2153 CHRISTOPHER ST                                                                                 ADRIAN              MI     49221‐9475
HORN, DONALD J        131 SWIFT DEER TRL                                                                                  PRUDENVILLE         MI     48651‐9561
HORN, DONALD L        4371 W 1000 N                                                                                       ALEXANDRIA          IN     46001‐8576
HORN, DORA J          8186 KENSINGTON BLVD            BLDG 9 APT 763                                                      DAVISON             MI     48423
HORN, DOROTHY M       125 CUTTLE E 42                                                                                     MARYSVILLE          MI     48040
HORN, EARL P          5197 JACKSON ST                                                                                     TRENTON             MI     48183‐4598
HORN, EDWARD F        32886 RUEHLE AVE                                                                                    WARREN              MI     48093‐1032
HORN, EDWARD T        38896 WYOMING DRIVE                                                                                 ROMULUS             MI     48174‐5006
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Name                Address1                          Address2                          Address3   Address4               City               State   Zip
HORN, EDWARD W      36864 BLANCHARD BLVD APT 304                                                                          FARMINGTON          MI     48335‐2952
HORN, ELDON C       3440 HAWTHORNE DR                                                                                     FLINT               MI     48503‐4649
HORN, ELDREN G      PO BOX 278                                                                                            RICH CREEK          VA     24147‐0278
HORN, EMERY C       34527 FLEET RD                                                                                        GLADE SPRING        VA     24340‐5903
HORN, EMORY J       PO BOX 237                                                                                            WARREN              IN     46792‐0237
HORN, ERIN          754 CRANSBERRY DR                                                                                     WEST CARROLLTON     OH     45449‐1520

HORN, ERNIE L       2504 BURLINGTON PL                                                                                    STOCKTON           CA      95209‐4040
HORN, ETTA B.       144 DIANA LN E                                                                                        FAIRBORN           OH      45324‐4450
HORN, ETTA B.       144 DIANA LANE, E.                                                                                    FAIRBORN           OH      45324‐4450
HORN, EUGENE A      221 LAKEVIEW DR LOT 20                                                                                GLADWIN            MI      48624‐8450
HORN, EVAGENE       2901 PARMAN RD R1                                                                                     DANSVILLE          MI      48819
HORN, FRANCES M     1 GIBBONS CT                                                                                          NORTH              NY      14120‐2759
                                                                                                                          TONAWANDA
HORN, FRED A        PO BOX 415                                                                                            SUTTER CREEK       CA      95685‐0415
HORN, GARY D        PO BOX 328                                                                                            LINCOLN            MI      48742‐0328
HORN, GARY L        115 HELTON RD                                                                                         LAKEVIEW           AR      72642‐7087
HORN, GARY L        6649 AMY DR                                                                                           CLARKSTON          MI      48348‐4507
HORN, GARY L        5274 FRIEDA DR                                                                                        FAIRFIELD          OH      45014‐3312
HORN, GEORGE E      717 JACKSON AVE                                                                                       CARTHAGE           TN      37030‐1335
HORN, GEORGE W      33876 COACHWOOD DR                                                                                    STERLING HTS       MI      48312‐6514
HORN, GEORGE W      11753 ALMY RD                                                                                         LAKEVIEW           MI      48850‐9406
HORN, GERALD        42325 CRESTWOOD                                                                                       CLINTON TOWNSHIP   MI      48038‐5052

HORN, GERALD B      3063 DAVIS RD                                                                                         ATTICA             MI      48412‐9643
HORN, GERALD L      163 PINE MOUNTAIN CT                                                                                  MILLBROOK          AL      36054‐2159
HORN, GERALD R      7677 HILLBRIDGE DR                                                                                    FREELAND           MI      48623‐8738
HORN, GERALD V      34007 GARFIELD RD                                                                                     FRASER             MI      48026‐4001
HORN, GLINDA D      917 PRIMROSE DR                                                                                       WEST CARROLLTON    OH      45449‐2027

HORN, HAROLD E      8283 WILSON RD                                                                                        MONTROSE            MI     48457‐9139
HORN, HARRISON D    CONSUMER LEGAL SERVICES           1950 SAWTELLE BLVD STE 245                                          LOS ANGELES         CA     90025‐7017
HORN, HARRY W       27243 BROWN ST                                                                                        FLAT ROCK           MI     48134‐1671
HORN, HELEN I       50 CARRIAGE DR APT 1                                                                                  ORCHARD PARK        NY     14127‐1830
HORN, HELEN M       4355 BLUE SPRINGS RD.                                                                                 SPARTA              TN     38583‐2828
HORN, HILMAN R      1895 CLEAR CREEK RD                                                                                   NICHOLASVILLE       KY     40356‐8924
HORN, HUBERT H      1393 READY AVE                                                                                        BURTON              MI     48529‐2051
HORN, INEZ S        6821 W. CR 400 N.                                                                                     MUNCIE              IN     47304‐9580
HORN, IRENE C       74500 COON CREEK ROAD                                                                                 ARMADA              MI     48005‐3008
HORN, IRVING C      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA     23510‐2212
                                                      STREET, SUITE 600
HORN, J B           8329 MEADOWLARK DR                                                                                    FRANKLIN           OH      45005‐4216
HORN, JACK          3800 MINOT AVE                                                                                        FORT WORTH         TX      76133‐2944
HORN, JACK E        7705 W CAMABRAW PARK LN                                                                               AKRON              IN      46910‐9614
HORN, JACOB D       PO BOX 461                                                                                            BIG PINEY          WY      83113
HORN, JACOB E       367 E ALLEN ST APT 37                                                                                 CASTLE ROCK        CO      80108
HORN, JACOB T       22074 GASCONY AVE                                                                                     EASTPOINTE         MI      48021‐2529
HORN, JAMES A       5514 WOODRUFF SHORE DR                                                                                BRIGHTON           MI      48116‐8379
HORN, JAMES ALLEN   5514 WOODRUFF SHORE DR                                                                                BRIGHTON           MI      48116‐8379
HORN, JAMES E       4029 E COUNTY ROAD 67                                                                                 ANDERSON           IN      46017‐9548
HORN, JAMES L       1818 OAK TREE LN                                                                                      ARLINGTON          TX      76013‐3926
HORN, JAMES N       PERSKY JOEL                       4901 TOWNE CENTRE ROAD, STE 310                                     SAGINAW            MI      48604
HORN, JAMES T       511 COLONIAL DRIVE                                                                                    BEAVER CREEK       OH      45434‐5809
HORN, JAMIE         1513 FOX RUN                                                                                          TECUMSEH           MI      49286‐1608
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Name                Address1                          Address2                       Address3        Address4               City              State Zip
HORN, JEFFERY W     754 CRANSBERRY DR                                                                                       WEST CARROLLTON    OH 45449‐1520

HORN, JERRY F       5252 OAKWOOD DR                                                                                         NORTH             NY   14120‐9618
                                                                                                                            TONAWANDA
HORN, JERRY H       6099 MEADOWWOOD LN                                                                                      GRAND BLANC       MI   48439‐9174
HORN, JESSIE M      180 MEADOW DR                                                                                           ELYRIA            OH   44035‐1838
HORN, JOANNE E      1012 WASHINGTON ST                                                                                      EATON             OH   45320‐1554
HORN, JOHN A        256 RIVER OAK DR                                                                                        EATONTON          GA   31024‐7201
HORN, JOHN G        3916 ST. CLAIR DR.                                                                                      ROCHESTER HLS     MI   48309
HORN, JOHN H        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK           VA   23510‐2212
                                                      STREET, SUITE 600
HORN, JOSEPH F      534 NEWBURNE POINTE                                                                                     BLOOMFIELD        MI   48304‐1410
HORN, JR.,LEE       8781 SEAMAN RD                                                                                          GASPORT           NY   14067‐9442
HORN, JUNIOR B      5274 FRIEDA DR                                                                                          FAIRFIELD         OH   45014‐3312
HORN, KATHERINE     809 E MAIN ST APT 928                                                                                   LEXINGTON         SC   29072‐3692
HORN, KATHREN       495 MILL CREEK RD                                                                                       LOUISA            KY   41230‐7651
HORN, KENNETH C     3885 N FORDNEY RD                                                                                       HEMLOCK           MI   48626‐8476
HORN, KENNETH L     3440 HAWTHORNE DR                                                                                       FLINT             MI   48503‐4649
HORN, KENNETH LEE   3440 HAWTHORNE DR                                                                                       FLINT             MI   48503‐4649
HORN, KENNETH R     12518 EAST 25TH STREET                                                                                  TULSA             OK   74129‐5819
HORN, LARRY W       10365 DENTON CREEK DR                                                                                   FENTON            MI   48430‐3522
HORN, LARRY WAYNE   10365 DENTON CREEK DR                                                                                   FENTON            MI   48430‐3522
HORN, LAURA L       2795 WEST GREENS DRIVE                                                                                  LITTLETON         CO   80123‐2983
HORN, LEE C         6800 GOLF COURSE BLVD                                                                                   PUNTA GORDA       FL   33982
HORN, LEE C         PO BOX 128                                                                                              OLCOTT            NY   14126‐0128
HORN, LEON D        15627 PARKLANE ST                                                                                       LIVONIA           MI   48154‐2356
HORN, LOREN D       719 E COUNTY ROAD 900 N                                                                                 BRAZIL            IN   47834‐8309
HORN, LORRAINE C    HOPKINS COURT APARTMENTS          APT 151                        2250 N FRENCH                          GETZVILLE         NY   14068
HORN, MAMIE D       APT 6                             512 DAYTONA PARKWAY                                                   DAYTON            OH   45406‐2021
HORN, MARGARET D    323 WATERFORD DR                                                                                        CATAULA           GA   31804‐2021
HORN, MARION        4401 OLD COLONY DR                                                                                      FLINT             MI   48507‐3537
HORN, MARK E        165 THISTLE LN                                                                                          FITZGERALD        GA   31750‐7348
HORN, MARK R        3101 ELISABETH ANNE TER                                                                                 MOORE             OK   73160‐7541
HORN, MARK W        168 ADDISON MEADOWS CT 8                                                                                LEONARD           MI   48367
HORN, MARTHA        105 BEACON POINT PKWY S                                                                                 FLUSHING          MI   48433‐1888
HORN, MARY          PORTER & MALOUF PA                4670 MCWILLIE DR                                                      JACKSON           MS   39206‐5621
HORN, MICHAEL A     36796 THINBARK STREET                                                                                   WAYNE             MI   48184‐1139
HORN, MICHAEL E     4175 MAPLE BLVD                                                                                         WEST BLOOMFIELD   MI   48323‐1268

HORN, MICHELLE      1115 WASHINGTON GRN                                                                                     NEW WINDSOR       NY   12553‐6917
HORN, NORMA J       PO BOX 401                                                                                              CARSON CITY       MI   48811‐0401
HORN, NORMA J       P.O. BOX 401                                                                                            CARSON CITY       MI   48811‐0401
HORN, PATRICIA A    PO BOX 628                        810 FOREST AVE.                                                       FRANKFORT         MI   49635‐0628
HORN, PATRICK W     1713 FARRINGTON DR                                                                                      KETTERING         OH   45420‐1386
HORN, PAUL          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                          NORTHFIELD        OH   44067
                                                      PROFESSIONAL BLDG
HORN, PETER A       11361 KINGSLEY DR                                                                                       GRAND BLANC       MI   48439‐1225
HORN, PETER F       104‐2 HIGHGROVE CT                                                                                      PAWLEYS ISLAND    SC   29585
HORN, PETER F       #2                                104 HIGH GROVE COURT                                                  PAWLEYS ISL       SC   29585‐5794
HORN, PHILLIP B     PO BOX 948                                                                                              CICERO            IN   46034‐0948
HORN, PHYLLIS J     4413 EBERLY AVE                                                                                         BROOKFIELD        IL   60513
HORN, RALPH E       1715 HARRYS BRANCH RD                                                                                   WHITEWOOD         VA   24657‐9471
HORN, RANDALL J     9591 DADE RD                                                                                            LYNCHBURG         OH   45142
HORN, RANSOM M      147 N RIVER CT APT 428            CLINTON PLACE APTS                                                    MOUNT CLEMENS     MI   48043‐1970
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Name                    Address1                              Address2                       Address3   Address4               City              State   Zip
HORN, RAYMOND D         26 HASTINGS RD                                                                                         YARDVILLE          NJ     08620‐1522
HORN, RAYMOND E         776 E COLUMBIA AVE                                                                                     PONTIAC            MI     48340‐2049
HORN, RAYMOND E         12464 MANTILLA RD                                                                                      SAN DIEGO          CA     92128
HORN, RICHARD A         RR 1 BOX 84                                                                                            BATCHTOWN           IL    62006‐9713
HORN, RICHARD L         3790 KINCADE DRIVE                                                                                     PLACERVILLE        CA     95667‐9255
HORN, RICHARD L         RR=1                                                                                                   WALKER             MO     64790
HORN, RICKY J           5057 WISHING WELL DR                                                                                   GRAND BLANC        MI     48439‐4239
HORN, ROBERT A          400 LEXINGTON AVE                                                                                      EATON              OH     45320‐1524
HORN, ROBERT D          G‐4401 OLD COLONY DRIVE                                                                                FLINT              MI     48507
HORN, ROBERT J          960 CAMERON CIR                                                                                        MONROE             MI     48161‐9098
HORN, ROBERT J          5066 SILVERDOME DR                                                                                     DAYTON             OH     45414‐3642
HORN, ROBERT M          525 PIEDMONT LAKE RD                                                                                   PINE MOUNTAIN      GA     31822‐3616
HORN, ROBERT W          PO BOX 442                                                                                             POCASSET           MA     02559‐0442
HORN, ROBERT W          271 SHETLAND CT                                                                                        SAN JACINTO        CA     92582‐3240
HORN, ROGER S           12142 PINE ROW LN                                                                                      GRAND BLANC        MI     48439‐1621
HORN, RONALD            3694 STATE ROUTE 14                                                                                    ROOTSTOWN          OH     44272‐9793
HORN, RONALD D          6416 W LAKE RD                                                                                         CLIO               MI     48420‐8241
HORN, RONALD G          1513 FOX RUN DR.                                                                                       TECUMSEH           MI     49286
HORN, RONNIE H          736 COUNTY ROAD 507                                                                                    SAINT THOMAS       MO     65076‐3015
HORN, ROY F             GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH         PA     15219

HORN, RUBY J            56 RICE ST                                                                                             IRVINE            KY      40336‐1326
HORN, RUTH E            65 MEADE ST                                                                                            BUCKHANNON        WV      26201‐2676
HORN, SARA E            19077 DIJON AVE                                                                                        EASTPOINTE        MI      48021‐2014
HORN, SCOTT D           20046 LONGRIDGE RD                                                                                     NORTHVILLE        MI      48167‐2903
HORN, SHANNON
HORN, SHARON            807 SO CHANTILLY RD                                                                                    MOSCOW MILLS      MO      63362‐3051
HORN, SHARON            807 S CHANTILLY RD                                                                                     MOSCOW MILLS      MO      63362‐3051
HORN, SHARON D          673 TENNYSON                                                                                           ROCHESTER HILLS   MI      48307‐4250
HORN, SHARON DIANE      673 TENNYSON                                                                                           ROCHESTER HILLS   MI      48307‐4250
HORN, SOLOMON           PO BOX 33                                                                                              LENNON            MI      48449‐0033
HORN, SOPHORNARITH      131 SUGARBERRY DR                                                                                      NEW CASTLE        DE      19720‐7628
HORN, STEPHEN A         10 ROSE BUSH LN                                                                                        BLUFFTON          SC      29909‐6067
HORN, STEVEN C          6452 BRIDLE LN                                                                                         HIGHLAND          MI      48356‐1200
HORN, STEVEN C          2991 TES DR                                                                                            HIGHLAND          MI      48356‐2355
HORN, SUKI              131 SUGARBERRY DR                                                                                      NEW CASTLE        DE      19720‐7628
HORN, TERRY L           16845 JONES RD                                                                                         GRAND LEDGE       MI      48837‐9633
HORN, TERRY LEE         16845 JONES RD                                                                                         GRAND LEDGE       MI      48837‐9633
HORN, TRUMAN U          4908 STATE HIGHWAY 72                                                                                  JACKSON           MO      63755‐7497
HORN, VIOLA A           3217 CLARENCE DR                                                                                       SAINT CHARLES     MO      63301‐0187
HORN, VIOLA A           3217 CLARANCE                                                                                          ST CHARLES        MO      63301‐0187
HORN, VIRGINIA ALLISO   4403 CRANBROOK DRIVE                                                                                   ARLINGTON         TX      76016‐5117
HORN, VIRGINIA M        50227 CHERRY TREE LN                                                                                   SHELBY TWP        MI      48317‐1416
HORN, WALTER E          PO BOX 118                                                                                             PRUDENVILLE       MI      48651‐0118
HORN, WILLA F           995 MICHAELS RD.                                                                                       TIPP CITY         OH      45371‐2143
HORN, WILLIAM N         5135 REID RD                                                                                           SWARTZ CREEK      MI      48473‐9418
HORN, WILLIAM R         14 BAYSIDE CT                                                                                          LAKE ST LOUIS     MO      63367‐1339
HORN, WILLIAM R         5309 TAHIA DR                                                                                          LOUISVILLE        KY      40216‐1442
HORN, WILLIAM T         APT 3                                 355 DAVISON ROAD                                                 LOCKPORT          NY      14094‐4777
HORN, WILLIAM T         355 DAVISON RD APT 3                                                                                   LOCKPORT          NY      14094
HORN,JEFFERY W          754 CRANSBERRY DR                                                                                      WEST CARROLLTON   OH      45449‐1520

HORN‐FORD, SARAH J      887 BARREN OAKS DR                                                                                     PONTIAC            MI     48341‐2369
HORNACEK KENNETH J      MECHANICAL METHODS                    4324 SKELTON RD                                                  COLUMBIAVILLE      MI     48421‐9780
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Name                      Address1                         Address2         Address3         Address4               City           State   Zip
HORNACEK, BETTY           3263 MORRISH RD                                                                           FLUSHING        MI     48433‐2212
HORNADAY RON              116 COURTNEY LN                                                                           MOORESVILLE     NC     28117‐9254
HORNADAY, BLANCHE H       6822 FLEMING RD                                                                           FLINT           MI     48504‐1620
HORNADAY, BLANCHE HELEN   6822 FLEMING RD                                                                           FLINT           MI     48504‐1620
HORNADAY, DANIEL R        4778 CATARACT COURTS DR                                                                   CLOVERDALE      IN     46120‐9285
HORNADAY, DARRELL D       4250 ARVILLE ST APT 166                                                                   LAS VEGAS       NV     89103
HORNADAY, DAVID D         6822 FLEMING RD                                                                           FLINT           MI     48504‐1620
HORNADAY, DAVID L         2013 DELANCEY DR                                                                          NORMAN          OK     73071‐3873
HORNADAY, DAVID L         850 AVALON RD APT 2                                                                       LAWRENCE        KS     66044‐2474
HORNADAY, JAMES R         4470 S PARK AVE                                                                           SPRINGFIELD     MO     65810
HORNADAY, JERRY F         11284 BRENTWOOD AVE                                                                       ZIONSVILLE      IN     46077‐9306
HORNADAY, MARY L          10814 W SR 42                                                                             STILESVILLE     IN     46180
HORNADAY, MARY L          10814 W STATE ROAD 42                                                                     STILESVILLE     IN     46180‐9687
HORNADAY, MICHAEL A       1996 GERRARD AVE                                                                          SPEEDWAY        IN     46224‐5620
HORNADAY, MURIEL I        236 22ND AVE NW                                                                           GREAT FALLS     MT     59404‐1428
HORNADAY, PAUL L          3617 S 131ST EAST AVE                                                                     TULSA           OK     74134
HORNADAY, RONALD G        6425 RED DAY RD                                                                           MARTINSVILLE    IN     46151‐6630
HORNADAY, THOMAS E        PO BOX 1117                                                                               WASKOM          TX     75692‐1117
HORNADY TRUCK LINE INC    PO BOX 846                                                                                MONROEVILLE     AL     36461‐0846
HORNAGE, CURTIS           800 NICHOLS BLVD APT 3                                                                    SPARKS          NV     89434‐5328
HORNAGOLD, ALAN F         33 OAKLAND HILLS PL                                                                       ROTONDA WEST    FL     33947‐2234
HORNAK MYLAN H            3074 WALTON AVE                                                                           FLINT           MI     48504‐4202
HORNAK, DENISE M          4241 S PINE AVE                                                                           MILWAUKEE       WI     53207‐5137
HORNAK, DENNIS            4241 S PINE AVE                                                                           MILWAUKEE       WI     53207‐5137
HORNAK, DENNIS            184 MONDOU RD                                                                             HOT SPRINGS     AR     71901‐1901
HORNAK, F R               7407 FERDEN RD                                                                            CHESANING       MI     48616‐9738
HORNAK, HELEN C           6239 FAIRWAY PINES COURT 2                                                                BAY CITY        MI     48706‐9350
HORNAK, JAMES S           11205 SHERIDAN RD                                                                         BURT            MI     48417‐9438
HORNAK, KATHERINE         11175 SHERIDAN RD                                                                         BURT            MI     48417‐9406
HORNAK, KENNETH J         9485 DITCH RD                                                                             CHESANING       MI     48616‐9712
HORNAK, MYLAN H           3074 WALTON AVE                                                                           FLINT           MI     48504‐4202
HORNAK, ROBERT S          19879 GALLAHAD DR                                                                         MACOMB          MI     48044‐1756
HORNAK, TONY J            13433 S SEYMOUR RD                                                                        MONTROSE        MI     48457‐9613
HORNBACK JR, WILBURN      3136 SUBURBAN DR                                                                          DAYTON          OH     45432‐2524
HORNBACK RON              2750 KEMP RD                                                                              BEAVERCREEK     OH     45431‐2639
HORNBACK, ALBERT L        4819 TENTH STREET E              #128                                                     BRADENTON       FL     34203
HORNBACK, DELLA C         7604 S SUN MOR DR                                                                         MUNCIE          IN     47302‐9433
HORNBACK, FRANK E         2158 BURNSIDE RD                                                                          NORTH BRANCH    MI     48461‐9630
HORNBACK, GARLAND S       12211 S OLD RD                                                                            MUNCIE          IN     47302‐8714
HORNBACK, GERTRUDE M      2101 CEDAR BEND DR APT 101                                                                GRAND BLANC     MI     48439
HORNBACK, GLEN E          825 S LILLEY RD                                                                           CANTON          MI     48188‐1105
HORNBACK, HAROLD E        419 N 5TH ST                                                                              MIDDLETOWN      IN     47356‐1003
HORNBACK, LEONARD A       4804 S 500 E                                                                              KOKOMO          IN     46902‐9385
HORNBACK, MICHAEL E       4538 DARKE PREBLE                COUNTY LINE RD                                           LEWISBURG       OH     45338‐5338
HORNBACK, MICHAEL E       4538 PREBLE DARKE COUNTY LN RD                                                            LEWISBURG       OH     45338‐9592
HORNBACK, RICKEY D        104 NORTH QUENTIN ST                                                                      DAYTON          OH     45403‐5403
HORNBACK, RICKEY D        104 N QUENTIN AVE                                                                         DAYTON          OH     45403‐1749
HORNBACK, RONALD D        2750 KEMP RD                                                                              DAYTON          OH     45431‐2639
HORNBACK, WALTER R        307 NICHOLS RD                                                                            PALATKA         FL     32177‐2623
HORNBACKER JR, FLOYD P    1139 BIRCHWOOD DR                                                                         TROY            MI     48083‐1807
HORNBACKER, NIKKI G       2805 DENISE DR                                                                            TROY            MI     48085‐3944
HORNBACKER, SCOTT R       2805 DENISE DR                                                                            TROY            MI     48085‐3944
HORNBAKER, CALVIN E       BOONE ALEXANDRA                  205 LINDA DR                                             DAINGERFIELD    TX     75638‐2107
HORNBEAK CITY CLERK       PO BOX 265                                                                                HORNBEAK        TN     38232‐0265
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Name                                 Address1                         Address2               Address3      Address4                     City            State   Zip
HORNBEAK, ELBERT A                   # 16                             3404 WOODFRONT DRIVE                                              INDIANAPOLIS     IN     46222‐2080
HORNBEAK, LOIS A                     PO BOX 22254                                                                                       INDIANAPOLIS     IN     46222
HORNBEAK, RAYMOND E                  1049 N PERSHING AVE                                                                                INDIANAPOLIS     IN     46222‐3123
HORNBECK, ALAN                       2108 SHULER PL                                                                                     THOMPSONS        TN     37179‐5033
                                                                                                                                        STATION
HORNBECK, BELITA A
HORNBECK, BRUCE A                    1606 VICTOR AVE                                                                                    LANSING          MI     48910‐6510
HORNBECK, BRYAN R                    5009 S RANGELINE RD                                                                                ANDERSON         IN     46017‐2123
HORNBECK, CAROL                      1507 POPLAR AVE                                                                                    ROYAL OAK        MI     48073‐3245
HORNBECK, DEBORAH M                  2108 SHULER PLACE                                                                                  THOMPSONS        TN     37179
                                                                                                                                        STATION
HORNBECK, EULA M                     3340 PONTIAC LK DR                                                                                 WATERFORD       MI      48328‐2537
HORNBECK, EULA M                     3340 PONTIAC LAKE RD                                                                               WATERFORD       MI      48328‐2537
HORNBECK, GARRY G                    1148 W 550 S                                                                                       ANDERSON        IN      46013‐9775
HORNBECK, HARLEY J                   1814 ABBE RD S                                                                                     ELYRIA          OH      44035‐8204
HORNBECK, JAMES C                    427 SONG BIRD ST                                                                                   ELYRIA          OH      44035‐8380
HORNBECK, LARRY R                    5021 S RANGELINE RD                                                                                ANDERSON        IN      46017‐2123
HORNBECK, LEE J                      3390 ADAMS SHORE DR                                                                                WATERFORD       MI      48329‐4283
HORNBECK, LUCILLE J                  4607 WESTGRAND BLVD NORTH WEST                                                                     GRAND RAPIDS    MI      49534
HORNBECK, MARK C                     3231 WARRINGHAM AVE                                                                                WATERFORD       MI      48329‐3165
HORNBECK, MONICA L                   1830 DELL RD                                                                                       LANSING         MI      48911
HORNBECK, ROBERT W                   360 W 40TH ST APT 214                                                                              HOLLAND         MI      49423‐5624
HORNBERGER JOYCE                     6709 CHICAGO RD                                                                                    WARREN          MI      48092‐1659
HORNBERGER, CHRISTOPHER J            5890 MARBLE DR                                                                                     TROY            MI      48085‐3921
HORNBERGER, DALE L                   2165 FIRETHORN RD                                                                                  MIDDLE RIVER    MD      21220‐4836
HORNBERGER, DARYLE B                 205 NEIL ST                                                                                        NILES           OH      44446‐1750
HORNBERGER, VELETTA R                1240 DEFOREST RD SE                                                                                WARREN          OH      44484‐3529
HORNBLOWER, JOYCE R                  110 COLISEUM CROSSING            #160                                                              HAMPTON         VA      23666‐5971
HORNBLOWER, THOMAS J                 110 COLISEUM CROSSING #160                                                                         HAMPTON         VA      23666
HORNBROOK JR, KENNETH A              5105 W 11TH ST                                                                                     SPEEDWAY        IN      46224‐6912
HORNBROOK, BARBARA M                 1449 CLAIRWOOD DR                                                                                  BURTON          MI      48509‐1509
HORNBROOK, GAYLE R                   743 MOUNTAIN PINE DR                                                                               GREENWOOD       IN      46143‐7674
HORNBROOK, RENE D                    1458 CLAIRWOOD DR                                                                                  BURTON          MI      48509‐1503
HORNBUCKLE, ANTWAN L                 27 GERSHWIN CR                                                                                     BEAR            DE      19702
HORNBUCKLE, BETTY J                  122 PATRICIA DR                                                                                    KOKOMO          IN      46902‐5113
HORNBUCKLE, CLIFFORD                 5215 MOUNT VERNON RD                                                                               GAINESVILLE     GA      30506‐2773
HORNBUCKLE, VERONICA A               27 GERSHWIN CIR                                                                                    NEWARK          DE      19702‐3040
HORNBUGOR, PAULINE                   O‐2215 LAKE MICHIGAN DR NW                                                                         GRAND RAPIDS    MI      49534‐9578
HORNBY HOBBIES LTD.
HORNBY, LORRAINE L                   1061 W ROUND LAKE RD                                                                               DEWITT           MI     48820‐9722
HORNBY, MARY A                       4102 OAKWOODS ROAD                                                                                 HARRISON         MI     48625‐8406
HORNBY, MARY A                       4102 OAK WOODS RD                                                                                  HARRISON         MI     48625‐8406
HORNBY, MYRON W                      11286 S DEWITT RD                                                                                  DEWITT           MI     48820‐7601
HORNBY, RITA M                       500 MURDOCK ST                                                        FORT ERIE ON CANADA L2A1S4

HORNE AUTO CENTER, INC.               ROBERT HORNE                    651 W DEUCE OF CLUBS                                              SHOW LOW         AZ     85901‐5811
HORNE AUTO CENTER, INC.               651 W DEUCE OF CLUBS                                                                              SHOW LOW         AZ     85901‐5811
HORNE BUICK PONTIAC GMC               2030 HIGHWAY 60                                                                                   GLOBE            AZ     85501‐9607
HORNE CEPHAS                          736 SOUTHAMPTON ST                                                                                AUBURN HILLS     MI     48326‐3540
HORNE CHEVROLET                       ROBERT HORNE                    225 E MAIN STREET                                                 SPRINGERVILLE    AZ     85938
HORNE CHEVROLET                       225 E MAIN STREET                                                                                 SPRINGERVILLE    AZ     85938
HORNE CHEVROLET                       ATT: ROBERT HORNE               225 E MAIN ST                                                     SPRINGERVILLE    AZ     85938
HORNE CHEVROLET OF SPRINGERVILLE, LLC ROBERT HORNE                    225 E MAIN STREET                                                 SPRINGERVILLE    AZ     85938
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Name                                Address1                          Address2                      Address3   Address4               City            State Zip
HORNE DAVID R (626575)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA 23510
                                                                      STREET, SUITE 600
HORNE DODGE CHRYSLER JEEP NISSAN, LLC ROBERT HORNE                    2030 HIGHWAY 60                                                 GLOBE           AZ   85501‐9607

HORNE I I, FREDERICK J              20560 BISHOP DR                                                                                   BROWNSTOWN      MI   48183‐7614
HORNE JR, BENNIE                    330 E PULASKI AVE                                                                                 FLINT           MI   48505‐3355
HORNE JR, GREGORY A                 3210 WESTMONT AVE                                                                                 LANSING         MI   48906‐2548
HORNE JR, HAROLD B                  552 PAGE STREET                                                                                   FLINT           MI   48505‐4728
HORNE LAWRENCE MICHAEL              5608 DAKOTA ST                                                                                    ZEPHYRHILLS     FL   33542‐1958
HORNE TRUCKING CO INC               13101 ECKLES RD BLDG 1 STE 21                                                                     PLYMOUTH        MI   48170
HORNE TRUCKING INC                  ATTN: HAROLD HORNE                13101 ECKLES RD # 21                                            PLYMOUTH        MI   48170‐4245
HORNE, ALAN D                       3815 BLUE RIDGE BLVD                                                                              INDEPENDENCE    MO   64052‐2345
HORNE, ANDRA L                      PO BOX 5066                                                                                       KOKOMO          IN   46904‐5066
HORNE, ANGELA L                     906 THAMES CT                                                                                     MURFREESBORO    TN   37129‐5298
HORNE, ANNIE L                      20557 STOUT                                                                                       DETROIT         MI   48219‐1428
HORNE, ANNIE L                      20557 STOUT ST                                                                                    DETROIT         MI   48219‐1428
HORNE, ARLESTER                     2525 CRAFT RD                                                                                     WALSTONBURG     NC   27888
HORNE, BARBARA J                    144 SINCLAIR DR                                                                                   EATONTON        GA   31024‐7619
HORNE, BETTY J                      12409 CRABAPPLE LN                                                                                GRAND LEDGE     MI   48837‐8907
HORNE, BEVERLY A                    7004 CLIPPER DRIVE                                                                                GRAND PRAIRIE   TX   75054‐7225
HORNE, CEPHAS                       736 SOUTHAMPTON ST                                                                                AUBURN HILLS    MI   48326‐3540
HORNE, CHARLEANA                    29322 WELLINGTON RD W 111                                                                         SOUTHFIELD      MI   48034
HORNE, CHARLES                      1856 LONG HOLLOW RD                                                                               NICKELSVILLE    VA   24271‐2689
HORNE, CHARLES E                    8611 BEECHDALE ST                                                                                 DETROIT         MI   48204‐4671
HORNE, CHRISTOPHER                  1716 CREEKSTONE DR                                                                                COLUMBIA        TN   38401‐6715
HORNE, CLARICE                      2039 GALLERY CT                                                                                   INDIANAPOLIS    IN   46229‐4302
HORNE, CLAUDE RUTLEDGE              SHANNON LAW FIRM                  100 W GALLATIN ST                                               HAZLEHURST      MS   39083‐3007
HORNE, DAMON G                      1149 MAPLEWOOD LN                                                                                 CROWLEY         TX   76036‐4306
HORNE, DAMON G.                     1149 MAPLEWOOD LN                                                                                 CROWLEY         TX   76036‐4306
HORNE, DARRLY K                     17397 CORNELL RD                                                                                  SOUTHFIELD      MI   48075
HORNE, DAVID R                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA   23510‐2212
                                                                      STREET, SUITE 600
HORNE, E J                          4003 RYMARK CT                                                                                    TROTWOOD        OH   45415‐1423
HORNE, E J                          4003 RYMARK COURT                                                                                 CLAYTON         OH   45415‐5415
HORNE, ELEANOR C                    357 W ROBERT AVE                                                                                  HAZEL PARK      MI   48030‐1738
HORNE, ELIZABETH                    3329 IRISH LN                                                                                     DECATUR         GA   30032‐5924
HORNE, ELIZABETH A                  7141 CHATLAKE DR                                                                                  HUBER HEIGHTS   OH   45424‐3257
HORNE, ERNEST L                     46256 HECKER DR                                                                                   UTICA           MI   48317‐5763
HORNE, EUWELL C                     9498 OAK RD                                                                                       OTISVILLE       MI   48463‐9789
HORNE, FELICIA F                    PO BOX 5183                                                                                       FLINT           MI   48505‐0183
HORNE, FRANCIS M                    PO BOX 5066                                                                                       KOKOMO          IN   46904‐5066
HORNE, FREDERICK J                  5150 KING RD                                                                                      LEWISTON        MI   49756
HORNE, GARY A                       14018 GARFIELD                                                                                    REDFORD         MI   48239‐2887
HORNE, GENE T                       211 N GRENER AVE                                                                                  COLUMBUS        OH   43228‐1358
HORNE, GEORGE C                     1321 SWANN RD                                                                                     YOUNGSTOWN      NY   14174‐9759
HORNE, GLORIA A                     PO BOX 1368                                                                                       TUCKER          GA   30085‐1368
HORNE, HAROLD A                     7238 ANDERSONVILE                                                                                 WATERFORD       MI   48095
HORNE, HARRIET A                    PO BOX 2075                                                                                       SUN CITY        AZ   85372‐2075
HORNE, HATTIE G                     119 MELTON HILL CIRCLE                                                                            CLINTON         TN   37716
HORNE, HEATHER R                    PO BOX 572                                                                                        LAGRANGE        OH   44050‐0572
HORNE, HOWARD W                     1123 MADISON 9284                                                                                 FREDERICKTOWN   MO   63645‐8942
HORNE, JAMES F                      3378 N BELSAY RD                                                                                  FLINT           MI   48506‐2271
HORNE, JAMES J                      PO BOX 497                                                                                        BLACK ROCK      AR   72415‐0497
HORNE, JAMES L                      301 PARKER LN                                                                                     KINGSPORT       TN   37660‐6924
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Name                      Address1                        Address2                Address3    Address4               City              State   Zip
HORNE, JAMES M            3913 WALNUT GROVE LN.                                                                      BEAVERCREEK        OH     45440‐5440
HORNE, JAMES PAUL         2700 N WASHINGTON ST TRLR 196                                                              KOKOMO             IN     46901‐7809
HORNE, JEANNE             56 PLEASANT ST                                                                             WHITMAN            MA     02382‐2118
HORNE, JEANNE             56 PLEASANT STREET                                                                         WHITMAN            MA     02382
HORNE, JOE L              5432 FAIRVIEW DR                                                                           GRAND BLANC        MI     48439‐5150
HORNE, JOHN H             3789 TYLER ST                                                                              DETROIT            MI     48238
HORNE, JOSEPH A           9300 RHYTHM RD                                                                             MIDWEST CITY       OK     73130‐6318
HORNE, JOSEPH A           14 BUTTERCUP LN                                                                            MEDWAY             MA     02053‐2313
HORNE, JOSEPH J           907 DEL SOL DR                                                                             BOULDER CITY       NV     89005‐2322
HORNE, JOYCE A            12027 S SAGINAW ST APT 5                                                                   GRAND BLANC        MI     48439‐1458
HORNE, KATHERINE A        5608 DAKOTA ST                                                                             ZEPHYRHILLS        FL     33542‐1958
HORNE, KATHERINE A        2134 S GENESEE RD                                                                          BURTON             MI     48519‐1230
HORNE, KENNETH D          59 CHESTNUT DR                                                                             ELKTON             MD     21921‐4017
HORNE, LARRY              3914 E 31ST ST                                                                             INDIANAPOLIS       IN     46218
HORNE, LAWRENCE M         5608 DAKOTA ST                                                                             ZEPHYRHILLS        FL     33542‐1958
HORNE, LAWRENCE MICHAEL   5608 DAKOTA ST                                                                             ZEPHYRHILLS        FL     33542‐1958
HORNE, LEE M              224 JUPITER ROAD                                                                           NEWARK             DE     19711‐3029
HORNE, LEE M              224 JUPITER RD                                                                             NEWARK             DE     19711‐3029
HORNE, LENORA M           2205 LYNTZ TOWNLINE RD SW                                                                  WARREN             OH     44481‐9760
HORNE, LENORA M           2205 LYNTZ RD                                                                              WARREN             OH     44481‐4481
HORNE, LEO                2716 SENECA ST                                                                             FLINT              MI     48504‐7133
HORNE, LEONARD            3367 SPRING VALLEY DR                                                                      FLINT              MI     48504‐1715
HORNE, LOIS L             HC 68 BOX 800                                                                              INEZ               KY     41224‐9507
HORNE, LUCILLE G          88 W WALTON BLVD                                                                           PONTIAC            MI     48340‐1158
HORNE, LUCRETIA V         14225 MERRIWEATHER                                                                         WARREN             MI     48089‐2106
HORNE, LYNELL G.          4749 STANTEEN DR                                                                           SAN ANTONIO        TX     78263‐9663
HORNE, MADELON J          8401 ANNWOOD RD                 BARDMOOR COUNTRY CLUB                                      LARGO              FL     33777‐2027
HORNE, MARIE I            6535 GARLAND ST. GARLAND ST.                                                               ARVADA             CO     80004
HORNE, MARION R           302 SMYRNA AVE                                                                             WILMINGTON         DE     19809‐1239
HORNE, MARVIN L           3412 BEGOLE ST                                                                             FLINT              MI     48504‐2410
HORNE, MARY ELLEN         462 SYDNEY DRIVE                                                                           SALINE             MI     48176‐9158
HORNE, MARY G             2401 S FLYING Q LN                                                                         TUCSON             AZ     85713‐6784
HORNE, MICHAEL C          9498 OAK RD                                                                                OTISVILLE          MI     48463‐9789
HORNE, MICHAEL D          28446 ABERDEEN ST                                                                          SOUTHFIELD         MI     48076‐2918
HORNE, PAMELA F           107 SIDCO DR                                                                               COLUMBIA           TN     38401‐4598
HORNE, PATTIE T           1962 SKY FARM AVE                                                                          VICKSBURG          MS     39180‐9180
HORNE, PAUL               133 W DAKOTA                                                                               DETROIT            MI     48203‐5238
HORNE, PAUL L             6379 GREEN VALLEY LN                                                                       LOCKPORT           NY     14094‐8839
HORNE, PAUL LARRY         6379 GREEN VALLEY LN                                                                       LOCKPORT           NY     14094‐8839
HORNE, QUANDA             1235 SELDEN ST                                                                             DETROIT            MI     48201‐1519
HORNE, QUANDIA            1235 SELDEN ST                                                                             DETROIT            MI     48201
HORNE, QUANDIA            16 KINGSWAY RD APT D                                                                       ASHEBORO           NC     27203
HORNE, RANDY C            203 LEE ROAD 859                                                                           SMITHS             AL     36877‐3179
HORNE, ROBERT L           21709 F ST                                                                                 REHOBOTH BEACH     DE     19971‐8427
HORNE, ROBERT L           326 WHITE ST                                                                               FLINT              MI     48505‐4130
HORNE, ROBIN A            515 SAGEBRUSH DR                                                                           KOKOMO             IN     46901‐7002
HORNE, RONELLE            8409 W RUTH AVE                                                                            PEORIA             AZ     85345
HORNE, ROSE               406 ROLAND CT                                                                              GROSSE POINTE      MI     48236‐2823
                                                                                                                     FARMS
HORNE, RUTH               388 WOODSIDE CT APT 12                                                                     ROCHESTER HILLS    MI     48307‐4177
HORNE, SHIRLEY            2525 CRAFT RD                                                                              WALSTONBURG        NC     27888
HORNE, STEVEN W           217 MOULTRIE COURT                                                                         BOWLING GREEN      KY     42103‐7089
HORNE, TANYA D            3351 WINDLAND DR                                                                           FLINT              MI     48504‐1764
HORNE, TASHANNAH E        14101 RILEY ST APT 1702                                                                    OVERLAND PARK      KS     66223‐3959
